                       Case 18-12241-CSS              Doc 26      Filed 10/05/18        Page 1 of 1739



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                          Chapter 11

         MATTRESS FIRM INC., et al.,1                                    Case No. 18-12241 (BLS)

                                    Debtors.                             (Joint Administration Requested)


                  CERTIFICATION OF DEBTORS’ CONSOLIDATED LIST OF CREDITORS

                  In accordance with Rule 1007(a) of the Federal Rules of Bankruptcy Procedure and Rule

         1007-2(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States

         Bankruptcy Court for the District of Delaware (the “Local Rules”), a list of creditors (the “List”)

         of Mattress Firm Inc. and its affiliated debtors and debtors and debtors in possession in the

         above-captioned chapter 11 cases (collectively the “Debtors”) is filed by attachment hereto.

                  The List has been prepared, on a consolidated basis, from the Debtors’ books and

         records. The undersigned hereby certifies that the List contains the names and addresses of all

         creditors of the Debtors that could be ascertained after diligent inquiry, based on a review of the

         Debtors’ books and records, and is consistent with the information contained therein. To the

         extent practicable, the List complies with Local Rule 1007-2(a). The Debtors reserve the right to

         amend or supplement the List as necessary.

                  Although the information contained in the List is based on a review of the Debtors’ books

         and records, the Debtors have not completed a comprehensive legal and/or factual investigation

         with regard to possible defenses of the Debtors and their estates to any claims of the potential

         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, for which the Debtors have requested joint administration, a complete list of the Debtors and the last four
         digits of their federal tax identification numbers is not provided herein. This information may be obtained on the
         website of the Debtors’ noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for
         the Debtors.


01:23676581.1
                     Case 18-12241-CSS          Doc 26     Filed 10/05/18     Page 2 of 1739



         claimants included in the List. In addition, certain of the parties included in the List may not

         hold outstanding claims as of the date hereof, and therefore may not be creditors of the Debtors

         and their estates for purposes of these chapter 11 cases. Therefore, the List does not, and should

         not be deemed or otherwise construed to, constitute either (i) a waiver of any defenses of the

         Debtors and their estates to any claims that may be asserted against the Debtors and their estates

         or (ii) an acknowledgement or admission of the validity, priority, or amount of any claims that

         may be asserted against the Debtors and their estates.



         Dated: October 5, 2018                    /s/ Hendré Ackermann
                                                   Hendré Ackermann
                                                   Chief Operating Officer and Chief Financial Officer

                                                   Mattress Firm, Inc., and Certain of Its Debtor Affiliates




01:23676581.1
                         Case
1 800 PACK RAT 6154 WALLACE     18-12241-CSS      Doc 26
                                         1 TRADE LOGISTICS      Filed 10/05/18   Page
                                                                                   1003 of 1739
                                                                                      EAST, LLC
PO BOX 1139                               PO BOX 2355                               C/O RUSHMORE PROPERTIES, LLC
WALLACE, NC 28466                         GRAPEVINE, TX 76099                       162 W. HUBBARD STREET, 4TH FLOOR
                                                                                    CHICAGO, IL 60654




100 EAST, LLC                             1000 W GRAY REALTY LTD                    10009 FIELD ROAD, INC.
PO BOX 776196                             3217 MONTROSE BLVD STE 200                C/O MID-ATLANTIC PETROLEUM
CHICAGO, IL 60677-6196                    HOUSTON, TX 77006                         PROPERTIES, LLC
                                                                                    9101 RIVER ROAD
                                                                                    CARLOS HORCASITAR
                                                                                    POTOMAC, MD 20854


10090 OLDE US 20, LTD.                    101 & SCOTTSDALE LLC                      101 & SCOTTSDALE LLC
1428 ALBON ROAD                           15475 N 84TH ST                           C/O YAM PROPERTIES
HOLLAND, OH 43528                         SCOTTSDALE, AZ 85260                      15750 N. NORTHSIGHT BOULEVARD
                                                                                    SCOTTSDALE, AZ 85260




101 S STATE RD 7 LLC                      1020 CHANDLER, LLC                        1020 CHANDLER, LLC
1427 CALRKVIEW RD STE 500                 ATTN: TOM TAIT                            ATTN: TOM TAIT
BALTIMORE, MD 21209                       3131 E. CAMELBACK ROAD, SUITE 310         6807 N. PEPPER TREE LANE
                                          PHOENIX, AZ 85016                         PARADISE VALLEY, AZ 85253-3346




1020 RAND LLC                             103 - WASTE PRO - FT. PIERCE              103 - WASTE PRO - FT. PIERCE
ATTN: YOULANDA TORRES                     4100 SELVITZ RD                           P.O. BOX 865185
2760 N UNIVERSITY DR                      FT. PIERCE, FL 34981                      ORLANDO, FL 32886-5185
DAVIE, FL 33024




1048 NORTH SHEPHERD PARTNERS              1048 NORTH SHEPHERD, LTD.                 10500 W. COLFAX AVE, LLC
C/O CENTRAL MANAGEMENT INC                C/O CENTRAL MANAGEMENT                    2085 SOUTH HOLLY STREET
820 GESSNER SUITE 1525                    820 GESSNER, SUITE 1525                   DENVER, CO 80222
HOUSTON, TX 77024                         HOUSTON, TX 77024




10500 WEST COLFAX LLC                     107 - WASTE PRO - JACKSONVILLE            107 - WASTE PRO - JACKSONVILLE
ATTN: KEITH LEHRER                        2940 STRICKLAND ST                        P.O. BOX 865200
2085 S HOLLY ST                           JACKSONVILLE, FL 32254                    ORLANDO, FL 32886-5200
DENVER, CO 80222




1081 WASHINGTON STREET LLC                1083 MCDONALD LLC                         109 - WASTE PRO - FT MYERS
C/O MIKE SOKOLOWSKI TRUSTEE               1481 47TH ST                              13110 RICKENBACKER PARKWAY
PO BOX 920595                             BROOKLYN, NY 11219                        FT MYERS, FL 33913
NEEDHAM, MA 02492




109 - WASTE PRO - FT MYERS                10915 SUMMERFIELD LLC                     10ZIG TECHNOLOGY
P.O. BOX 865208                           VITO FAVIA                                23309 N 17TH DR STE 100
ORLANDO, FL 32886-5208                    1250 N DEARBORN STE 22A                   PHOENIX, AZ 85027
                                          CHICAGO, IL 60610




1100 CONCORD AVENUE LLC                   111 - WASTE PRO - LAKE CITY               111 - WASTE PRO - LAKE CITY
MYRON ZIMMERMAN INVESTMENTS               401 NW WALDO ST                           P.O. BOX 865506
1388 SUTTER STE 918                       LAKE CITY, FL 32055                       ORLANDO, FL 32886
SAN FRANCISCO, CA 94109
111 REALTY COMPANY       Case    18-12241-CSS      Doc
                                          1120 RETAIL, LLC26   Filed 10/05/18        Page 4RETAIL,
                                                                                       1120 of 1739LLC
ATTN: DENNIS HARTIN                        C/O FORESITE REALTY MGMT LLC                 C/O FORESITE REALTY MGMT LLC
60 CUTTER MILL ROAD, SUITE 303             5600 RIVER RD STE 925                        5600 RIVER RD STE 925
GREAT NECK, NY 11021                       DES PLAINES, IL 60018                        ROSEMONT, IL 60018




11200 SAN JOSE BOULEVARD, LLC              113 CYPRESS GARDENS BOULEVARD                11301 NORTHPOINT LLC
C/O BSS PROPERTIES INC.                    OWNER LLC                                    207 N MILWAUKEE ST
114 WEST STREET                            C/O GRIFFIN BROCK                            MILWAUKEE, WI 53202
WILMINGTON, MA 01887                       1065 2ND AVENUE, 14C
                                           NEW YORK, NY 10022



1134 GRANVILLE LLC                         115 - WASTE PRO - PALM BEACH                 115 - WASTE PRO - PALM BEACH
C/O GIDEON ASSET MANAGEMENT, LLC           411 TALL PINES RD                            P.O. BOX 865217
1430 BROADWAY, SUITE 704                   WEST PALM BEACH, FL 33413                    ORLANDO, FL 32886-5217
ATTN: AZIZ SYED
NEW YORK, NY 10018



11505 OLIVE, LLC                           116 - WASTE PRO - PENSACOLA                  116 - WASTE PRO - PENSACOLA
7700 FORSYTH BLVD., SUITE 100              5861 COMMERCE RD                             P.O. BOX 865220
CLAYTON, MO 63105                          MILTON, FL 32583                             ORLANDO, FL 32886-5220




11865 HWY ONE ASSOCIATES LLC               11865 US HIGHWAY ONE ASSOCIATES, L.L.C.      119 - WASTE PRO - POMPANO
ATTN: REED MAGID                           220 CELESTIAL WAY, SUITE 4                   3102 NW 16TH TERRACE
60 E MALL DR                               JUNO BEACH, FL 33408                         POMPANO BEACH, FL 33064
MELVILLE, NY 11747




119 - WASTE PRO - POMPANO                  120 WEST 72ND STREET HOLDINGS LLC            1202 WBP REALTY ASSOCIATES LLC
P.O. BOX 865228                            11 EAST 26TH ST. STE 1300                    50 BROADWAY, STE 801
ORLANDO, FL 32886-5228                     NEW YORK, NY 10010                           NEW YORK, NY 10004




1202 WBP REALTY ASSOCIATES LLC             121 - WASTE PRO - CLEARWATER                 121 - WASTE PRO - CLEARWATER
C/O THE COTSWOLD GROUP, INC.               5170 126TH AVENUE NORTH                      P.O. BOX 865233
550 MAMARONECK AVENUE, SUITE 411           CLEARWATER, FL 33760                         ORLANDO, FL 32886-5233
HARRISON, NY 10528-1634




125 KEMPER REALTY LLC                      125 KEMPER REALTY LLC                        1276 LEX OWNER, LLC
2540 VILLAGE COMMON DRIVE                  PO BOX 6182                                  ATTN: ACCTS RECIEVABLE
ERIE, PA 16506                             HERMITAGE, PA 16148-0922                     560 FIFTH AVE
                                                                                        NEW YORK, NY 10036




1276 LEX OWNER, LLC                        1276 LEX OWNER, LLC                          1290 JOHNSON FERRY PARTNERS LLC
ATTN: CHIEF FINANCIAL OFFICER              ATTN: LEGAL DEPARTMENT                       3713 PEACHTREE RD NE
560 FIFTH AVENUE                           560 FIFTH AVENUE                             ATLANTA, GA 30319
NEW YORK, NY 10036                         NEW YORK, NY 10036




1290 JOHNSON FERRY PARTNERS LLC            131 HARBISON BOULEVARD, LLC                  131 HARBISON BOULEVARD, LLC
C/O HT GROUP LLC                           39 DOGWOOD RD                                C/O BILTMORE PROPERTY GROUP
PO BOX 191228                              ASHEVILLE, NC 28806                          10 BROOK ST SUITE 205
ATLANTA, GA 31119                                                                       ASHEVILLE, NC 28803
                        Case
131 HARBISON BOULEVARD, LLC        18-12241-CSS     Doc
                                            1316 NORTH    26LLCFiled 10/05/18
                                                       HILLS,                       Page 5NORTH
                                                                                      1316 of 1739
                                                                                                HILLS, LLC
C/O CSC                                      C/O COLLIERS INTERNATIONAL                C/O COLLIERS INTERNATIONAL
10 BROOK ST SUITE 205                        400 W. CAPITOL AVE, SUITE 1200            PO BOX 3546
ASHEVILLE, NC 28803                          LITTLE ROCK, AR 72201                     LITTLE ROCK, AR 72203




133 MALL DRIVE LLC                           13363 SMITH ROAD, LLC, GERSCH             136TH STREET ASSOCIATES, LLC
540 SUNRISE BAY RD                           PROPERTIES                                1425 WALNUT STREET
NEENAH, WI 54956                             , LLC & SMILE SMITH MN HOLDINGS LLC       PHILADELPHIA, PA 19102
                                             C/O RICHARD GEISENFELD
                                             8498 S. DANEBORG CIRCLE
                                             SALT LAKE CITY, UT 84121


136TH STREET ASSOCIATES, LLC                 1380 MANAGEMENT COMPANY LLC               1400 ROUTE 300 LLC & GILSPRIDE, INC.
C/O LEGACY BANK OF FL 10006617               DBA EQUIPMENT SAVERS                      ATTN: MS. MARY PAT GARRITY
2300 GLADES RD STE 140W                      1380 ZUNI ST                              31 SEVILLE AVENUE
BOCA RATON, FL 33431                         DENVER, CO 80204                          RYE, NY 10580




1400 SW CANAL BOULEVARD, LLC                 14005-B RESEARCH BOULEVARD, LLC           14005-B RESEARCH BOULEVARD, LLC
ATTN: JOHNNIE ("RUSTY") E. ERTLE             C/O LATIPAC PROPERTY MANAGEMENT INC.      LATIPAC PROPERTY MGMT INC
2813 NW ANDERSON COURT                       1612 W 5TH STREET                         PO BOX 162304
BEND, OR 97701                               AUSTIN, TX 78703                          AUSTIN, TX 78716




1408 SOUTH, LLC                              1408 SOUTH, LLC                           1411 REALTY LLC
4333 EDGEWOOD ROAD NE                        C/O LANDQWEST PROPERTY                    1411 SAND LAKE RD
1614 COLONIAL BOULEVARD, SUITE 101           1614 COLONIAL BLVD STE 101                ORLANDO, FL 32800-9
CEDAR RAPIDS, IA 52499                       FORT MYERS, FL 33907




1411 REALTY LLC                              141ST SHOPPING CENTER                     1420-22 CHESTNUT STREET ASSOCIATES LP
C/O KALEB USA                                ATTN: SIDNEY PERTNOY                      C/O PMC PROPERTY GROUP
8725 WHITE IBIS COURT                        14115 SOUTH DIXIE HIGHWAY, SUITE L        1608 WALNUT ST STE 1400
ORLANDO, FL 32836                            MIAMI, FL 33176                           PHILADELPHIA, PA 19103




14278 BISCAYNE LLC                           1488-2978 SC, LP                          1488-2978 SC, LP
ATTN: JERROLD BLAIR                          C/O REGENCY CENTERS CORPORATION           C/O REGENCY CENTERS CORPORATION
2875 N.E. 191ST STREET 702B                  3700 BUFFALO SPEEDWAY, SUITE 560          ONE INDEPENDENT DRIVE, SUITE 114
AVENTURA, FL 33180                           ATTN: PROPERTY MANAGEMENT                 ATTN: LEASE ADMINISTRATION
                                             HOUSTON, TX 77098                         JACKSONVILLE, FL 32202



1488-2978 SC, LP                             150 E 58TH STREET                         1556 PARTNERS
C/O REGENCY CENTERS CORPORATION              PO BOX 371486                             C/O RLW CONSULTING
ONE INDEPENDENT DRIVE, SUITE 114             PITTSBURGH, PA 15250-7486                 7776 FARMINGTON BOULEVARD, 38155
ATTN: LEGAL DEPARTMENT                                                                 GERMANTOWN, TN 38183
JACKSONVILLE, FL 32202



1556 PARTNERS                                159 W. PUTNAM AVENUE LLC                  159 W. PUTNAM AVENUE LLC
C/O ROBERT L WENNER                          ATTN: ELIZABETH P. RESNICK                C/O E. RETTIE
205 LAKE VALLEY DR                           P.O. BOX 347                              P.O. BOX 347
MAUMELLE, AR 72113                           OLD GREENWICH, CT 06870-0347              OLD GREENWICH, CT 06870




1592 ROCKVILLE PIKE, LLC                     15TH DISTRICT AGRICULTURAL ASSOC          1630 WESTCHESTER REALTY CO.
C/O RAPPAPORT MANAGEMENT COMPANY             1142 SOUTH P STREET                       MANAGEMENT OFFICE
8405 GREENSBORO DRIVE, 8TH FLOOR             BAKERSFIELD, CA 93307                     1250 E HALLANDALE BEACH BLVD
MCLEAN, VA 22102                                                                       HALLANDALE, FL 33009
1643 CONNECTICUT AVENUE,Case
                         LLC    18-12241-CSS      Doc 26 AVENUE,
                                         1643 CONNECTICUT    Filed LLC
                                                                    10/05/18   Page
                                                                                 1666 of 1739
                                                                                    REALTY ASSOCIATES, LLC
C/O CADENCE MANAGEMENT, LLC              EAGLE BANK CORP C/O ATTN: TELLERS        C/O JEM REALTY MANAGEMENT, INC.
8380 GREENSBORO DRIVE, SUITE 308         8245 BOONE BLVD STE 100                  1430 BROADWAY, SUITE 1103
MCLEAN, VA 22102                         VIENNA, VA 22182                         ATTN: ALAN JEMAL AND WALTER KARWAN
                                                                                  NEW YORK, NY 10018



16770 SOUTHWEST FREEWAY, LLC             16770 SOUTHWEST FREEWAY, LLC             16770 SOUTHWEST FREEWAY, LLC
ATTN: AUGUSTO MARIANI                    ATTN: PETER MANNARINO                    CITIBANK
13 EAST 12TH STREET                      13 EAST 12TH STREET                      ATTN: BRENDA MCRAE
NEW YORK, NY 10003                       NEW YORK, NY 10003                       79 5TH AVE
                                                                                  NEW YORK, NY 10003



1682 KOELLER LLC                         1682 KOELLER LLC                         17070 COLLINS AVENUE SHOPPING CTR,
C/O NIFONA REALTY                        C/O NIFONG REALTY                        LTD.
2181 S. ONEIDA STREET 1                  2181 S. ONEIDA STREET 1                  & R.K. HALLANDALE LIMITED PARTNERSHIP
GREEN BAY, WI 54304                      GREEN BAY, WI 54304                      C/O RK CENTERS
                                                                                  17100 COLLINS AVENUE, SUITE 225
                                                                                  SUNNY ISLES BEACH, FL 33160


1729 STREET REALTY CORP                  1729 STREET REALTY CORP                  1775 PARTNERS LTD
ATTN: SAM FRANKEL                        ATTN: SAM FRANKEL                        C/O WOODBRANCH MGMT
506 DEKALB AVENUE                        PO BOX 50075                             4265 SAN FELIPE STE 550
BROOKLYN, NY 11205                       BROOKLYN, NY 11205                       HOUSTON, TX 77027




1775 WASHINGTON ST HOLDINGS LLC          17TH STREET PTRN                         180 HERALD-PALLADIUM
PO BOX 74746                             1720 SE 16TH AVE BLDG 200                C/O PAXTON MEDIA GROUP
CLEVELAND, OH 44194-4746                 OCALA, FL 34471                          PO BOX 1960
                                                                                  PADUCAH, KY 42002-1960




1-800 DRY CLEAN                          1-800-PACK-RAT (6003-HOUSTON TX)         1807 POST ROAD LLC
1500 W ELCAMINO AVE 7                    11640 NORTHPARK DR. STE 200              45 MAIN STREET, SUITE 804
SACRAMENTO, CA 95833                     WAKE FOREST, NC 27587                    BROOKLYN, NY 11201




1807 POST ROAD LLC                       1821 E. HAMMER LANE, LLC                 183-620, LP
PO BOX 786327                            2625 F. COFFEE ROAD, SUITE 244           515 CONGRESS AVENUE, SUITE 2325
PHILADELPHIA, PA 19178-6327              MODESTO, CA 95355                        AUSTIN, TX 78701




183-620, LP                              183-620, LP                              185 E LAKE ST LLC
623 W 38TH ST STE 310                    C/O LATIPAC PROPERTY MGMT                503 N MARION
AUSTIN, TX 78705                         PO BOX 162304                            OAK PARK, IL 60302
                                         AUSTIN, TX 78716




185 SPRINGS FIREPLACE ROAD, INC.         185 SPRINGS FIREPLACE ROAD, INC.         185 SPRINGS FIREPLACE ROAD, INC.
ATTN: PHILIP SIEGEL                      JOE SIEGEL                               SIEGEL & SITLER
150 MOTOR PARKWAY, SUITE 401             119 VIERA DRIVE                          150 MOTOTR PKWY 401
HAUPPAUGE, NY 11788                      PALM BEACH GARDENS, FL 33418             HAUPPAUGE, NY 11788




1855 PARK LLC                            186 ELKHART TRUTH                        19 PROPS LLC
2323 SOUTH BASCOM AVENUE, SUITE 150      C/O PAXTON MEDIA GROUP                   211 E WATER ST STE 201
CAMPBELL, CA 95008                       PO BOX 1960                              KALAMAZOO, MI 49007
                                         PADUCAH, KY 42002-1960
19 PROPS LLC            Case   18-12241-CSS
                                        19 PROPS Doc
                                                 LLC 26      Filed 10/05/18   Page 7SOUTH
                                                                                1900 of 1739
                                                                                          BRENTWOOD, LLC
C/O CHEMICAL BANK DEPT 9515             C/O PLAZACORP                            ATTN: MRS. VIRGINIA ECKHARDT
PO BOX 30516                            200 W MICHGAN AVE, #201                  630 PINE RISE DRIVE
LANSING, MI 48909                       KALAMAZOO, MI 49007                      ST. LOUIS, MO 63017




192 INVESTORS LLC                       192 INVESTORS LLC                        1920 EASTERN BOULEVARD, LLC
5312 PACIFIC HIGHWAY E                  ATTN: JEFF HOGAN, PRESIDENT              ATTN: TIMOTHY W. SCOTT, III
TACOMA, WA 98424                        DEVELOPMENT                              1550 TIMOTHY ROAD
                                        5512 PACIFIC HIGHWAY EAST                ATHENS, GA 30606
                                        FIFE, WA 98424



1920 EASTERN BOULEVARD, LLC             1957 HOLDINGS, INC.                      1970 STUART FLORIDA LLC
C/O TRINITY ACCOUNTING GROUP            1216 WASHINGTON STREET                   VITO FAVIA
PO BOX 1983                             ORLANDO, FL 32805                        1250 N DEARBORN STE 22A
ATHENS, GA 30606                                                                 CHICAGO, IL 60610




1990 ASSOCIATES                         1990 ASSOCIATES                          1993 PULASKI HIGHWAY, LLC
460 NW 131 AVE                          PO BOX 552170                            2701 NW VAUGHN ST 5TH FL
PLANTATION, FL 33325                    DAVIE, FL 33355                          PORTLAND, OR 97210




1993 PULASKI HIGHWAY, LLC               1993 PULASKI HIGHWAY, LLC                1999 MADISON FERBER ASSOC, LLC
ATTN: BRUCE BALICK                      PO BOX 3488                              151 SAWGRASS CORNERS DRIVE, SUITE 202
113 QUINTYNNES DRIVE                    PORTLAND, OR 97208                       PONTE VEDRA BEACH, FL 32082
WILMINGTON, DE 19807




1CMM TRUCKING LLC                       1E INC                                   1E LIMITED
502 WEATHERSPOON LN                     ATTN: ROSEMARY WEHBE                     CP HOURSE 97
SMITHFIELD, NC 27577                    5 PENN PLAZA9TH FLOOR                    107 UXBRIDGE RD.
                                        NEW YORK, NY 10001                       LONDON W5 5TL
                                                                                 UNITED KINGDOM



1E LIMITED                              1GM TRUCKING CORP                        1JJA
MAIL CODE 11046                         53 HANSON PL                             3729 BROOKLYN AVE
PO BOX 11839                            SAYVILLE, NY 11782                       BROOKLYN, MD 21225
NEWARK, NJ 07101-8138




1S 555 ROUTE 83 LLC                     1ST CLASS LOGISTIC SOLUTIONS LLC         1ST CONSTITUTION BANK
6431 TENNESSEE AVE                      320 BROOKES DR STE 202                   C/O 800 ANSWER
WILLOWBROOK, IL 60527                   HAZELWOOD, MO 63042                      PO BOX 634
                                                                                 CRANBURY, NJ 08512




1ST FIRE & SECURITY INC                 2 GOOSES LLC                             200 ASSOCIATES, LLC
610 1ST STREET                          201 US RT 1 PMB 212                      200 WEST 16TH STREET
VERO BEACH, FL 32962                    SCARBOROUGH, ME 04074                    NEW YORK, NY 10011




200 ASSOCIATES, LLC                     2000 DALLAS PARKWAY, LLC                 2000 HARVARD AVENUE HOLDINGS
C/O ORIN MGMT CORP                      C/O ALTON LLC                            AIRPORT SQUARE
PO BOX 1168                             2731 S I-35 SERVICE RD                   10580 N MCCARRAN BLVD 115-510
FLUSHING, NY 11354                      MOORE, OK 73160                          RENO, NV 89503
                        Case 18-12241-CSS
2004 WESTWOOD CENTER BUILDING B LTD            DocROYAL
                                      2006 PRESTON   26 PARTNERS
                                                           Filed 10/05/18
                                                                    LP        Page 8PRESTON
                                                                                2006 of 1739ROYAL PARTNERS LP
C/O HARTWELL HOLDING CO LTD           12222 MERIT DR STE 1710                    8350 N CENTRAL EXPRESSWAY STE 1725
P O BOX 17065                         DALLAS, TX 75251                           DALLAS, TX 75206
SAN ANTONIO, TX 78217




2010 PALM POINTE LIMITED PARTNERSHIP   2011 FALLS CREEK LIMITED PARTNERSHIP      2011 PORT ORANGE ASSOC LLC
3114 EAST 81ST                         C/O GBR PROPERTIES, INC.                  THE FERBER COMPANY
TULSA, OK 74137                        ATTN AP DEPT                              151 SAWGRASS CORNERS DR 202
                                       3114 EAST 81ST STREET                     PONTE VEDRA BEACH, FL 32082
                                       TULSA, OK 74137



2013 MASSEY BOULEVARD, LLC             2013 MASSEY BOULEVARD, LLC                20141 N FREEWAY LLC
ATTN: MIKE RHODES, RENAL               PO BOX 4217                               CO HUNINGTON PROPERTIES INC
REPRESENTATIVE                         HAGERSTOWN, MD 21741-4217                 109 N POST OAK LN STE 550
11535 HOPEWELL ROAD                                                              HOUSTON, TX 77024
HAGERSTOWN, MD 21741



2015 ARLINGTON TOWNE CENTRE LLLP       2015 ARLINGTON TOWNE CENTRE LLLP          202 WASHINGTON CORP
4100 SOUTH COOPER STREET               C/O GBR PROPERTIES, INC.                  UNLMTD REAL ESTATE GROUP LLC
ARLINGTON, TX 76015                    3114 E 81ST STREET                        200 WASHINGTON ST 5TH FL
                                       TULSA, OK 74137                           HOBOKEN, NJ 07030




2027 WESTERN AVENUE LLC                2027 WESTERN AVENUE LLC                   2040 COLISEUM DRIVE LLC
1258 CENTRAL AVENUE                    C/O LIA REALTY GROUP                      C/O COLISEUM CROSSING ASSOCIATES LLC
ALBANY, NY 12205                       2080 WESTERN AVE STE 115                  41 OLD OYSTER POINT ROAD, SUITE A
                                       GUILDERLAND, NY 12084                     NEWPORT NEWS, VA 23602




2040 COLISEUM DRIVE LLC                205 COMMERCE, LLC                         205 PLACE ASSOCIATES, LLC
C/O COLISEUM CROSSING ASSOCIATES LLC   200 INTERNATIONAL WAY                     C/O GRAMOR DEVELOPMENT
PO BOX 120410                          SPRINGFIELD, OR 97477                     19767 SW 72ND AVENUE, SUITE 100
NEWPORT NEWS, VA 23612                                                           TUALATIN, OR 97062




205 PLACE ASSOCIATES, LLC              205 WALT WHITMAN, LLC                     2061 JERICHO LLC
C/O GRAMOR DEVELOPMENT                 C/O ANDY FRIED                            C/O PARKIT MANAGEMENT
UNIT 1127 PO BOX 2369                  6105 BLUE STONE RD APT 211                250 W 26TH ST, 4TH FLOOR
PORTLAND, OR 97208-2369                SANDY SPRINGS, GA 30328                   ATTN: GARY SPINDLER
                                                                                 NEW YORK, NY 10001



20TH STREET ASSOCIATES R.L.L.P.        2115 DIXWELL ASSOCIATES LLC               2119 BRANDON, LLC
1260 ALANTON DR                        ATTN: STEVE BREINER                       ATTN: SR. V.P., RETAIL DEVELOPMENT
VIRGINIA BEACH, VA 23454               3200 PARK AVENUE, 9E2                     4107 W. SPRUCE STREET, SUITE 100
                                       BRIDGEPORT, CT 06604                      TAMPA, FL 33607




2119 BRANDON, LLC                      2119 BRANDON, LLC                         2121 INVESTMENTS LLC
C/O EQUITY INC                         C/O EQUITY INC                            6300 NE 1 AVE STE 100
445 HUTCHINSON AVENUE, SUITE 800       4653 TRUEMAN BLVD STE 100                 FORT LAUDERDALE, FL 33334
ATTN: PROPERTY MANAGEMENT              HILLIARD, OH 43026
COLUMBUS, OH 43235



21840 EUREKA LLC                       21ST CENTURY FOX AMERICA INC              21ST CENTURY MEDIA CONNECTICUT
ATTN: NICK MOSCHOURIS                  330 MARKET ST                             PO BOX 780154
28454 WOODWARD AVENUE                  PHILADELPHIA, PA 19106                    PHILADELPHIA, PA 19178-0154
ROYAL OK, MI 48067
21ST CENTURY MEDIA PHILLYCase   18-12241-CSS
                           CLUSTER               Doc 26CORP.
                                         220 WASHINGTON     Filed 10/05/18   Page 9PLAZA
                                                                               2205 of 1739
                                                                                         DRIVE OWNERS ASSOC.
PO BOX 780154                            C/O UNLMTD REAL ESTATE GROUP           ATTN: LINDSAY BLEECKER
PHILADELPHIA, PA 19178-0154              200 WASHINGTON STREET, 5TH FLOOR       2204 PLAZA DR STE 130
                                         HOBOKEN, NJ 07030                      ROCKLIN, CA 95765




229 MAIN STREET SOUTH, LLC              229 MAIN STREET SOUTH, LLC              22ND CENTURY MEDIA LLC
C/O INDUSTRIAL DEVELOPMENT GROUP, LLC   P.O. BOX 1910                           11516 W 183RD ST
2 MATTOON ROAD                          WATERBURY, CT 06722-1910                ORLAND PARK, IL 60467
P.O. BOX 1910
WATERBURY, CT 06722-1910



22ND CENTURY MEDIA                      22ND DISTRICT AGRICULTURAL              22ND DISTRICT AGRICULTURAL
11516 W 183RD PLACE                     ASSOCIATION                             ASSOCIATION
UNIT SW CONDO 3                         ATTN: VAN MILLER                        CONCESSIONS OFFICE DEL MAR
ORLAND PARK, IL 60467                   2260 JIMMY DURANTE BLVD                 FAIRGROUNDS
                                        DELMAR, CA 92014                        PO BOX 1088
                                                                                SOLANA BEACH, CA 92075


22ND HARRISON, LLC                      22ND HARRISON, LLC                      230 BEACH STREET LAND TRUST
C/O PICOR COMMERCIAL REAL ESTATE        C/O PICOR COMMERCIAL REAL ESTATE        C/O ICORR PROPERTIES INTERNATIONAL
SERVICES                                SERVICES                                LLC
1100 N WILMOT STE 200                   5151 E. BROADWAY #115                   2 N. TAMIAMI TRAIL, SUITE 100
TUCSON, AZ 85712                        TUCSON, AZ 85711                        ATTN: SUSANNE ARBAGY
                                                                                SARASOTA, FL 34236


230 BEACH STREET LAND TRUST             2319 IH-35 LLC                          235 BOSTON POST ROAD, LLC
PORT RICHEY PLAZA/ ICORR PROP. INTRNL   303 COLORADO ST STE 2675                C/O CROSSPOINT ASSOCIATES, INC.
LLC                                     AUSTIN, TX 78701                        300 THIRD AVENUE, SUITE 2
2 N. TAMIAMI TRAIL, SUITE 100                                                   WALTHAM, MA 02451-7563
ATTN: SUSANNE ARBAGY
SARASOTA, FL 34236


24 HOUR FITNESS USA INC                 24 HOURS MOVING INC                     2401 LAWRENCE AVENUE BUILDING CORP.
PO BOX 51018                            4852 TOP LINE DR                        ATTN: GEORGE P. ANAGNOST
LOS ANGELES, CA 90051                   DALLAS, TX 75247                        210 WEST GOETHE STREET, APT. 4C
                                                                                CHICAGO, IL 60610-7423




2420 SOUTH STEMMONS LP                  2496 ECR LLC                            2496 ECR LLC
DEPT 103532 20852 4622                  ATTN: HECTOR R VINAS                    SARA L. VINAS
PO BOX 951923                           2760 N UNIVERSITY DRIVE                 2760 N UNIVERSITY DRIVE
CLEVELAND, OH 44193                     DAVIE, FL 33024                         DAVIE, FL 33024




2496 ECR LLC                            250 EAST HOUSTON STREET ASSOCIATES      252 MILL CORP.
YOLANDA TORRES                          L.P.                                    C/O GERONIMO PROPERTIES
2760 N UNIVERSITY DRIVE                 PO BOX 4536                             975 MERRIAM AVENUE, SUITE 213
DAVIE, FL 33024                         NEW YORK, NY 10163                      LEOMINSTER, MA 01453




255 MALL LLC                            255 MALL LLC                            2550 COTTMAN AVENUE PARTNERS LP
ATTN: DANNY FURRER                      PO BOX 303                              ATTN: JERRY ROSENTHAL
7 PENN PLAZA - 11TH FLOOR               EMERSON, NJ 07630                       426 PRIMROSE DR
NEW YORK, NY 10001                                                              LANSDALE, PA 19446




2550 COTTMAN AVENUE PARTNERS LP         2580 MCLEOD PARTNERS LLC                2580 MCLEOD PARTNERS LLC
ATTN: JERRY ROSENTHAL                   24925 VISTA VERANDA                     3713 PEACHTREE RD NE
426 PRIMROSE DR                         WOODLAND HILLS, CA 91367                ATLANTA, GA 30319
UPPER GWYNEDD, PA 19446
2633 MCKINNEY AVE LLC   Case   18-12241-CSS     DocLLC
                                        2700 ELSTON, 26     Filed 10/05/18      Page 10MEDICAL
                                                                                   2711 of 1739CENTER PARTNERS
2100 MCKINNEY AVE STE 1550               C/O NOVAK DEVELOPMENT COMPANY              7101 SHARONDALE CT STE 600
DALLAS, TX 75201                         3423 NORTH DRAKE AVENUE                    BRENTWOOD, TN 37027
                                         CHICAGO, IL 60618




2711 MEDICAL CENTER PARTNERS             2727 WEST BELLEVIEW DEVELOPMENT LLC        2727 WEST BELLEVIEW DEVELOPMENT LLC
ATTN: H. JASON PHILLIPS                  C/O ARMSTRONG CAPITAL DEVELOPMENT          C/O ARMSTRONG COMMERCIAL SERVICES
1100 WILLIS BRANCH ROAD                  4643 S ULSTER ST STE 240                   4950 S YOSEMITE ST STE F2-366
GOODLETTSVILLE, TN 37072                 DENVER, CO 80237                           GREENWOOD VILLAGE, CO 80111-1350




2727 WEST BELLEVIEW DEVELOPMENT LLC      276 HIGHLAND AVENUE SALEM LLC              277 ASSOCIATES LLC
C/O ARMSTRONG COMMERCIAL SERVICES,       29 BUCK SKIN DR                            277 CANAL ST
LLC                                      WESTON, MA 02493                           NEW YORK, NY 10013
4643 SOUTH ULSTER STREET, SUITE 240
DENVER, CO 80237



277 ASSOCIATES LLC                       277 CANAL ASSOCIATES, LLC                  280 EAST HOUSTON STREET ASSOCIATES LP
C/O UNITED AMERICAN LAND LLC             C/O UNITED AMERICAN LAND, LLC              C/O DERMOT REALTY MGMT CO LP
430 W BROADWAY 3RD FLOOR                 73 SPRING STREET                           729 7TH AVENUE, 15TH FLOOR
NEW YORK, NY 10012                       JASON LABOZ                                NEW YORK, NY 10019
                                         NEW YORK, NY 10012



280 EAST HOUSTON STREET ASSOCIATES LP    2800 BROADWAY ASSOCIATES LLC               281 TPC LTD
C/O THE DERMOT COMPANY L.P.              C/O JSM MANAGEMENT CORP.                   500 WEST 5TH ST STE 700
729 7TH AVENUE, 15TH FLOOR               71-25 AUSTIN STREET                        AUSTIN, TX 78701
NEW YORK, NY 10019                       FOREST HILLS, NY 11375




28TH DISTRICT AGRICULTURAL ASSOC.        28TH RETAIL LLC                            290 REAL ESTATE FUND LP
DBA SAN BERNARDINO COUNTY FAIR           C/O DEAN CALLAN & COMPANY                  8441 GULF FREEWAY STE 212
14800 7TH ST                             1510 28TH STREET, SUITE 200                HOUSTON, TX 77017
VICTORVILLE, CA 92395                    BOULDER, CO 80303




2995 NORTH RESERVE STREET OWNER LLC      2995 NORTH RESERVE STREET OWNER LLC        2M SOLUTIONS LLC
C/O BOB AND CARLAS LLC                   C/O BOB AND CARLA'S LLC                    DBA SANNON DENISE MCCOY
475 WEST 22ND STREET, NO. 3              475 WEST 22ND STREET, NO. 3                2751 PARKWAY COVE
NEW YORK, NY 10011                       NEW YORK, NY 10011                         LITHONIA, GA 30058




2-MEN HOUSTON, LLC                       2PLUS OF TEXAS INC DBA STAR                2SCALE DESIGN INC
DBA TWO MEN AND A TRUCK                  PO BOX 53120                               8609 ROLLINS DR
7935 B WRIGHT RD                         HOUSTON, TX 77052-3120                     AUSTIN, TX 78738
HOUSTON, TX 77041




3 GIRLS CATERING LLC                     300 ELDEN STREET LIMITED PARTNERSHIP       300 ELDEN STREET LLC
3210 E CHINDEN BLVD STE 131              C/O SUGAR OAK REALTY                       C/O SUGAROAK MGMT SVCS
EAGLE, ID 83616                          481 CARLISLE DRIVE                         481 CARLISLE DR
                                         HERNDON, VA 20170-4830                     HERNDON, VA 20170




301 FORDHAM ASSOCIATES LLC               305 & 307 OGDEN AVENUE, LLC                3071 - 5333 MATTRESS KING, LLC
C/O HARBOR GROUP MGMT CO                 ATTN: SIANG CHIN                           1435 WHITE HAWK RANCH DRIVE
55 BROADWAY STE 205                      101 ALMA STREET, #205                      BOULDER, CO 80303
NEW YORK, NY 10006                       PALO ALTO, CA 94301
309 315 11TH ST LLC    Case      18-12241-CSS    Doc
                                          309 MOODY    26 LLC
                                                    STREET Filed 10/05/18         Page 11 of
                                                                                     309315    1739
                                                                                            11TH ST LLC
839 RIFLE CAMP RD                          C/O GOLDSTEIN ASSOCIATES LLC               C/O ASCENDENT RE GROUP
WOODLAND PARK, NJ 07424                    244 GANO ST                                401 E LAS OLAS BLVD STE 130 342
                                           PROVIDENCE, RI 02906                       FORT LAUDERDALE, FL 33301




30AIP FAYETTEVILLE LLC                     30AIP TRUSSVILLE LLC                       30AIP TRUSSVILLE LLC
SOUTHEASTERN RETAIL DEVELOPMENT LLC        2050 CR HWY 30A W STE M1228                SOUTHEASTERN RETAIL DEVELOPMENT LLC
PO BOX 660491                              SANTA ROSA BEACH, FL 32459                 PO BOX 660491
BIRMINGHAM, AL 35266                                                                  BIRMINGHAM, AL 35266




30TH AND BROADWAY LLC                      3130 N ROCK LLC                            3169 N. LINCOLN, LLC
MYRON ZIMMERMAN INVESTMENTS                1313 N WEBB RD STE 240                     C/O JEROME H. MEYER & CO.
1388 SUTTER STE 918                        WICHITA, KS 67206                          640 NORTH LASALLE STREET, SUITE 605
SAN FRANCISCO, CA 94109-5468                                                          CHICAGO, IL 60654




3208 LLC                                   3231 POWER DRIVE, LLC                      324 EAST 86TH STREET LLC
C/O ALICE PROCTER                          890 JOHNNY DODDS BOULEVARD, BUILDING       C/O RITA GREENE
PO BOX 3484                                2C                                         25 WEST 81ST ST APT 9D
GREENSBORO, NC 27402                       ATTN: A. PALMER OWINGS, SR.                NEW YORK, NY 10024
                                           MT. PLEASANT, SC 29464



329 FIRST AVE LLC                          32ND DISTRICT AGRICULTURAL ASSOC           33 MANAGEMENT LLC
EVAN CYPRUS                                OC FAIR & EVENT CTR                        357 W. CHICAGO, SUITE 100
521 MADISON AVE, 8TH FLOOR                 88 FAIR DRIVE                              ATTN: RICK STORCK
NEW YORK, NY 10022                         COSTA MESA, CA 92626                       CHICAGO, IL 60654




330 HOOHANA, LLC                           330 NW 71ST ST LLC                         3346 GATEWAY, LLC
C/O FERGUS & COMPANY                       ATTN: ZACHARY FISHER                       ATTN: RICHARD BOYLES
125 MERCHANT STREET, SUITE 200             11010 LAKE GROVE BLVD STE 100-313          840 BELTLINE ROAD, SUITE 202
P.O. BOX 3100                              MORRISVILLE, NC 27560                      SPRINGFIELD, OR 97477
HONOLULU, HI 96813



336 E. 86 LLC                              34 MARKETPLACE LLC                         34TH ST COMMERCIAL PROPERTIES LLC
C/O KENBAR MANAGEMENT                      772 WHALERS WAY 200                        C/O NGKF
1500 LEXINGTON AVENUE                      FORT COLLINS, CO 80525                     125 PARK AVE
ATTN: CORNELIUS E. SIGETY                                                             NEW YORK, NY 10017
NEW YORK, NY 10029



34TH STREET COMMERCIAL PROPERTIES          34TH STREET COMMERCIAL PROPERTIES          3503 RP CEDAR HILL PLEASANT RUN LP
LLC                                        LLC                                        C/O RETAIL PROPERTIES OF AMERICA, INC.
ATTN: IRA FISHMAN                          C/O NEWMARK & CO. REAL ESTATE INC          2021 SPRING ROAD, SUITE 200
1040 AVENUE OF THE AMERICAS, 3RD           125 PARK AVE, 11TH FLOOR                   ATTN: PRESIDENT - WESTERN DIVISION
FLOOR                                      NEW YORK, NY 10017                         OAK BROOK, IL 60523
NEW YORK, NY 10018


3503 RP CEDAR HILL PLEASANT RUN LP         35-38 COMMERCIAL LLC                       355 FREDERICK LLC
C/O RPAI SOUTHWEST MANAGEMENT LLC          299 BEDFORD AVENUE                         C/O MARYLAND FINANCIAL INVESTORS INC
2021 SPRING ROAD, SUITE 200                BROOKLYN, NY 11211                         2800 QUARRY LAKE DR STE 340
ATTN: SVP/ DIRECTOR                                                                   BALTIMORE, MD 21209
OAK BROOK, IL 60523



3550 W. RENO, LLC                          3550 W. RENO, LLC                          3550 W. RENO, LLC
ATTN: TIMOTHY BRECHEEN                     ATTN: TIMOTHY CHRISLIP                     ATTN: TIMOTHY CHRISLIP
604 NW 160TH STREET                        10944 JENKINS COURT                        10944 JENKINS COURT
EDMOND, OK 73013                           EDMOND, OK 73013                           SAN ANTONIO, FL 33576
                        Case
35TH DISTRICT AGRICULTURAL      18-12241-CSS     Doc
                                         3600 LONG    26RD Filed
                                                   BEACH   LLC   10/05/18          Page 12NOSTRAND
                                                                                      3626 of 1739REALTY LLC
ASSOCIATION                               C/O LIGHTHOUSE REALTY PARTNERS              85 FORESTDALE RD
MERCED COUNTY FAIR                        70 E SUNRISE HWY STE 610                    ROCKVILLE CENTRE, NY 11570
900 MARTIN LUTHER KING JR WAY             VALLEY STREAM, NY 11581
MERCED, CA 95341



3635 FOREST PARK LIMITED PARTNERSHIP      3650 8TH STREET BECKNELL INVESTORS,         36-51 MAIN STREET REALTY CORP
1000 CHESTERFIELD BUSINESS PRKWY STE      LLC                                         C/O MEHRAN PROPERTY MANAGEMENT
200                                       C/O BECKNELL INDUSTRIAL OPERATING           33 E CARVER STREET, SUITE 5
CHESTERFIELD, MO 63005                    PARTNERSHIP, LP                             ATTN: ALEX MEHRAN JR.
                                          2750 EAST 146TH STREET, SUITE 200           HUNTINGTON, NY 11743
                                          CARMEL, IN 46033


368 HARBINSON PARTNERS, LLC               380 & 289, L.P.                             380 & 289, L.P.
C/O NICHOLAS J MARINO GEN. MNGR           C/O BLUE STAR LAND                          C/O LINCOLN PROPERTY COMPANY
75 KINGSLAND AVE                          8000 WARREN PARKWAY, BUILDING 1, SUITE      2000 MCKINNEY AVENUE, SUITE 1000
CLIFTON, NJ 07014                         100                                         ATTN: STEPHEN G. SEITZ
                                          ATTN: GEORGE MITCHELL                       DALLAS, TX 75201
                                          FRISCO, TX 75034


380 & 289, L.P.                           380 & 289, L.P.                             380 TOWNE CROSSING LP
C/O LPC RETAIL ACCOUNTING                 ONE COWBOYS WAY                             2058 WEST UNIVERSITY DRIVE
2000 MCKINNEY AVE STE 1000                FRISCO, TX 75034                            MCKINNEY, TX 75071
DALLAS, TX 75201




380 TOWNE CROSSING LP                     380 TOWNE CROSSING LP                       381 EISENHOWER DRIVE, LLC
C/O JULIE HANNA                           C/O WEBER & CO                              ATTN: MARK SALVO
180 LAGRANGE ST                           16000 DALLAS PKWY STE 300                   14 BACK RIVER NECK ROAD
WEST ROXBURY, MA 02132                    ATTN: JOHN R. WEBER                         ESSEX, MD 21221
                                          DALLAS, TX 75248



383 ARMY TRAIL LLC                        385 PROVIDENCE HIGHWAY REAL ESTATE          39 FEDERAL ROAD LLC
C/O ADELPHIA PROPERTIES                   LLC                                         15 LEEWARD LN
1314 KENSINGTON RD 4974                   C/O JULIE HANNA                             RIVERSIDE, CT 06878
HINSDALE, IL 60523                        180 LAGRANGE ST
                                          WEST ROXBURY, MA 02132



3981 LLC                                  3C LOGISTIX LLC                             3C LOGISTIX LLC
ATTN: VLADIMIR KATS                       318 E KENDALL DR UNIT 101                   PO BOX 1187
8801 E. WOODLAND ROAD                     YORKVILLE, IL 60560                         PLAINFIELD, IL 60544
TUCSON, AZ 85749




3COAST TECHNOLOGY TRANSFER INC            3RD PARTNER BROADCASTING INC                401 - WASTE PRO - BIRMINGHAM
P.O. BOX 890646                           DBA KYBGFM RADIO STATION                    140 GOODRICH DR
HOUSTON, TX 77289-0646                    PO BOX 60571                                BIRMINGHAM, AL 35217
                                          LAFAYETTE, LA 70596




401 - WASTE PRO - BIRMINGHAM              401-611 SOUTH BROAD ST HLDS LP              401-611 SOUTH BROAD ST HLDS LP
P.O. BOX 865256                           2098 WEST CHESTER PIKE                      307 FELLOWSHIP RD STE 300
ORLANDO, FL 32886-5256                    STE 201                                     MT LAUREL, NJ 08054
                                          BROOMALL, PA 19008




420 BEECHER RIDGE CORP                    421 LINCOLN LLC                             421 LINCOLN LLC
ATTN: JEFF SANTILLI                       614 N ALTA DRIVE                            ATTN: ROCHELLE MAIZE
420 BEECHER RD STE B                      BEVERLY HILLS, CA 90210                     614 N ALTA DR
GAHANNA, OH 43230                                                                     BEVERLY HILLS, CA 90210
430 ARMY TRAIL RD LLC     Case 18-12241-CSS
                                        430 WESTDoc
                                                 ARMY26
                                                      TRAILFiled
                                                           RD LLC10/05/18        Page 13SOUTH
                                                                                    4321 of 1739
                                                                                              TRAIL, LLC
1891 E 21ST ST                            1891 E 21ST STREET                         919 NORSOTA WAY
BROOKLYN, NY 11229                        BROOKLYN, NY 11229                         SARASOTA, FL 34242




4357 S FRANKLIN LLC                       4357 S FRANKLIN LLC                        439 BPR LLC
162 W GRAND AVE STE 200                   C/O MILLCO INVESTMENTS ATTN A              ATTN: STEPHEN J. DOWLER, MEMBER
CHICAGO, IL 60654                         DUBINSKY                                   P. O. BOX 431
                                          5215 OLD ORCHARD RD STE 130                MADISON, CT 06443
                                          SKOKIE, IL 60077



43RD & PULASKI LLC                        4401 LOVERS LANE JOINT VENTURE             445 TOWNLINE INVESTMENTS, LLC
C/O KEEN REALTY & MGMT LLC                C/O BOLANZ & MILLER REALTORS, INC.         C/O TERRACO, INC.
3732 N BROADWAY                           2626 MYRTLE SPRINGS AVE, SUITE 100         3201 OLD GLENVIEW ROAD, SUITE 300
CHICAGO, IL 60613                         DALLAS, TX 75220                           WILMETTE, IL 60091




4480 NORTH US HIGHWAY 89, LLC             45 FRANKLIN REALTY TRUST                   45 SOUTH YORK ASSOC LLC
C/O J.L. SMITH COMPANY                    C/O THE FINCH GROUP                        1000 SOUTH OYSTER BAY RD
1320 NORTH 16TH AVENUE, SUITE A           65 FRANKLIN ST                             HICKSVILLE, NY 11801
ATTN: SCOTT SMITH                         BOSTON, MA 02110
YAKIMA, WA 98902



4505 RM LLC                               4545 KENNEDY LLC                           4555 GARTH RD LP
INLAND MADISON LLC                        P.O. BOX 85                                4721 GARTH RD STE C-2
1001 FOURIER DR STE 100                   WEST PALM BEACH, FL 33402                  BAYTOWN, TX 77521
MADISON, WI 53717-1958




4555 GARTH RD LP                          4747 SPG ARBOR WALK LP                     4769 SUNRISE HIGHWAY LLC
ATTN: PAUL DANZIGER                       P.O. BOX 741748                            69 E SUNRISE HWY
440 LOUISIANA STREET, SUITE 1212          ATLANTA, GA 30374-1748                     LINDENHURST, NY 11757
HOUSTON, TX 77002




4770 CLEVELAND AVE LLC                    4770 GM PROPERTY LLC                       48-11 QUEENS BOULEVARD LLC
5515 BRYSON DR                            21121 NE 24TH CT                           430 PARK AVE 2ND FL
NAPLES, FL 34109                          MIAMI, FL 33180                            NEW YORK, NY 10022




48-11 QUEENS BOULEVARD LLC                4821 ROBINHOOD DRIVE LLC                   4821 ROBINHOOD DRIVE LLC
C/O MIDWOOD MANAGEMENT CORP               C/O G M S MANAGEMENT                       C/O G M S MANAGEMENT
430 PARK AVENUE, 2ND FLOOR                4645 RICHMNOND ROAD, #101                  4645 RICHMNOND ROAD, 101
NEW YORK, NY 10022                        WARRENSVILLE, OH 44128                     WARRENSVILLE, OH 44128




4821 ROBINHOOD DRIVE LLC                  4826 GREENVILLE LLC                        4826 GREENVILLE LLC
DBA ROBINHOOD PLAZA SHOPPING CTR          ATTN: COREY DUHON                          NEXBANK SSB/ATTN: LOAN DEPT
4645 RICHMOND RD STE 101                  4403 NORTH CENTRAL EXPRESSWAY, SUITE       2515 MCKINNEY AVE STE 1100
WARRENSVILLE HEIGHTS, OH 44128            110                                        DALLAS, TX 75201
                                          DALLAS, TX 75205



498-5TH AVENUE LLC                        4-D PROPERTIES                             4WARRANTY CORPORATION
PO BOX 317                                2870 N SWAN ROAD, SUITE 100                10151 DEERWOOD PARK BLVD
CEDARHURST, NY 11516                      TUCSON, AZ 85712                           BLDG 100 5TH FL
                                                                                     JACKSONVILLE, FL 32256
4WARRANTY CORPORATIONCase         18-12241-CSS     Doc
                                           5 EASTSIDE   26 LLC
                                                      STORES Filed 10/05/18      Page  14 of 1739
                                                                                    5 EASTSIDE STORES LLC
PO BOX 44130                                C/O CREIGHTEN COMPANIES, LLC             C/O CREIGHTEN COMPANIES, LLC
JACKSONVILLE, FL 32231-4130                 900 SW PINE ISLAND ROAD, SUITE 202       900 SW PINE ISLAND ROAD, SUITE 202
                                            CAPE CORAL, CA 33991                     CAPE CORAL, FL 33991




5 SPRINGS BOTTLED WATER INC                 5 STAR RED CARPET DELIVERY LLC           501 - WASTE PRO - ASHEVILLE
P.O. BOX 4265                               5540 NW 31ST AVE APT 109                 138 TAVISTOCK ROAD
BURLINGTON, NC 27215                        FORT LAUDERDALE, FL 33309                ARDEN, NC 28704




501 - WASTE PRO - ASHEVILLE                 502 - WASTE PRO - CONCORD                502 - WASTE PRO - CONCORD
P.O. BOX 865259                             185 MANOR AVE SW                         P.O. BOX 865505
ORLANDO, FL 32886-5259                      CONCORD, NC 28025                        ORLANDO, FL 32886




5020 BURNET LLC                             5048 BAYOU REALTY LLC                    50TH & O LLC
1200 S OLD STAGECOACH RD                    C/O HEIMAT LP                            KENT C. THOMPSON, MANAGING MEMBER
KYLE, TX 78640                              173 BURNELL PLACE                        P.O. BOX 6896
                                            ATTN: TONI REICHMANN                     LINCOLN, NE 68506
                                            DAVIDSON, NC 28036-7874



5100 BELT LINE ROAD INVESTORS LLC           5100 BELT LINE ROAD INVESTORS LLC        5100 BELTLINE RD. INVESTORS LLC
2425 E CAMELBACK RD                         PO BOX 732952                            C/O VESTAR
PHOENIX, AZ 85016                           DALLAS, TX 75373-2952                    816 FOCH STREET
                                                                                     FORT WORTH, TX 76107




5100 BELTLINE RD. INVESTORS LLC             5-113, LLC                               5130 HOVIS ROAD LLC
PO BOX 732952                               1414 ATWOOD AVE                          C/O BEACON INDUSTRIAL LLC
DALLAS, TX 75373-2952                       JOHNSTON, RI 02919                       610 E MOREHEAD ST STE 260AR
                                                                                     CHARLOTTE, NC 28202




517 LYNNWAY LLC                             5205 LIMITED PARTNERSHIP                 52ND DAA SACRAMENTO COUNTY FAIR
ATTN: RON COSTA                             1105 INDUSTRIAL BLVD                     PO BOX 15028
315 LYNNWAY                                 SUGAR LAND, TX 77478                     SACRAMENTO, CA 95815
LYNN, MA 01905




530 WEST LANCASTER AVE LLC                  53070                                    5325 WINDWARD PARKWAY LLC
110 BRITTANY WAY                            W2312 WILSON-LIMA RD                     50 BOATHOUSE ST
BLUE BELL, PA 19422                         OOSTBURG, WI 53070                       BLUFFTON, SC 29910




5325 WINDWARD PARKWAY LLC                   5333 MATTRESS KING, LLC                  533NC LLC
C/O VANTAGE REALTY PARTNERS                 DAVID DOLAN                              ATTN: DIANE GRUEZKE
619 EDGEWOOD AVE SE STE 200                 1435 WHITE HAWK RANCH DR                 PO BOX 9122
ATTN: ROBERT HOPKINS                        BOULDER, CO 80303                        METAIRIE, LA 70055
ATLANTA, GA 30312



5449 SUNSET LLC                             553NC, LLC                               557 RT 130 IN EWT LLC
ATTN: WILSON KIBLER                         ATTN: DR. FREDERICK GRUEZKE              26 COPPERDALE LN
PO BOX 11312                                221 BEVERLY DRIVE                        HUNTINGTON, NY 11743
COLUMBIA, SC 29211                          METAIRIE, LA 70001
                        Case
55TH DISTRICT COURT-INGHAM CO   18-12241-CSS     Doc
                                         5601 WEST    26
                                                   MAIN     Filed 10/05/18
                                                        PROPERTIES LLC       Page 15SOUTH
                                                                                5612 of 1739
                                                                                          PARKER ROAD ASSOCIATES
700 BUHL AVE                              ATTN: MICHAEL SEELYE                   LLC
MASON, MI 48854                           3820 STADIUM DRIVE                     ARTHUR LEWIS GEN PTR
                                          KALAMAZOO, MI 49008                    101 STONEHURST CT
                                                                                 MARTINEZ, CA 94553



566 BROAD STREET LLC                      570 ZANG STREET, LLC                   570 ZANG STREET, LLC
ATTN: ROBERT A TOMAINO                    ATTN: ALVIN ESTEVEZ                    PO BOX 18264
14 GULL POINT ROAD                        200 LIPAN STREET                       DENVER, CO 80218
MONMOUTH BEACH, NJ 07750                  FORT LAUDERDALE, FL 33308




5702 JOHNSTON LLC                         5702 JOHNSTON LLC                      575 BPR-ORANGE, INC.
806 E ST MARY BLVD                        806 E ST. MARY BLVD                    D/B/A 575 POST PROPERTIES
LAFAYETTE, LA 70503                       LAFAYETTE, LA 70503                    17 SOUTH MAIN STREET
                                                                                 WEST HARTFORD, CT 06107




575 POST PROPERTIES                       575 POST PROPERTIES                    5803 NW LOOP 410 LLC
575 BOSTON POST RD                        PO BOX 540 W                           ATTN: PRIYA LAKHANI
ORANGE, CT 06477                          17 S MAIN ST                           46 GERALDINE ROAD
                                          WEST HARTFORD, CT 06107                ENGLEWOOD CLIFFS, NJ 07632




5959 VAN ALSTINE ASSOCIATES               5959 VAN ALSTINE ASSOCIATES            5959 VAN ALSTINE ASSOCIATES
1355 MARKET ST 140                        1355 MARKET ST 140                     1510 SE DISCOVER LANE
1355 MARKET ST 140                        SAN FRANCISCO, CA 94103                WARRENTON, OR 97148
SAN FRANCISCO, CA 94103




5C SUGARLAND PLAZA LP                     5TH DISTRICT COURT - ST JOSEPH         6 HOME DEPOT DR LLC
C/O WULFE MANAGEMENT SERVICES INC         811 PORT ST                            139 FRONT STREET
1800 POST OAK BLVD SUITE 400              SAINT JOSEPH, MI 49085                 FALL RIVER, MA 02721
HOUSTON, TX 77056




60 HAMPTON ROAD LLC                       600 BROADWAY APARTMENTS LLC            600 BROADWAY APARTMENTS LLC
ATTN: ANITA BISHOPE-SQUIRES               C/O KLEIN ENTERPRISES                  MARKETPLACE AT FELLS POINT
88 SUNSET BEACH ROAD                      1777 REISERSTOWN ROAD, SUITE 245       622 S BROADWAY
SAG HARBOR, NY 11963                      BALTIMORE, MD 21208                    BALTIMORE, MD 21231




600 ROCK, LLC                             6034 AZLE AVE LLC                      6034 AZLE AVE LLC
150 EAST 58TH STREET                      P.O. BOX 310300                        PROPERTY 121410
PENTHOUSE, NY 10155                       DES MOINES, IA 50331                   PO BOX 310300
                                                                                 DES MOINES, IA 50331




6034 AZLE AVENUE, LLC                     604 - WASTE PRO - NEW ORLEANS          604 - WASTE PRO - NEW ORLEANS
C/O PRINCIPAL REAL ESTATE INVESTORS,      920 KENNER AVE                         P.O. BOX 865268
LLC                                       KENNER, LA 70062                       ORLANDO, FL 32886-5268
801 GRAND AVENUE
ATTN: CENTRAL STATES EQUITIES TEAM
DES MOINES, IA 50392


6040 20TH STREET LLC                      610 BUFFALO CROSSING LLC               6100 WEST PARK PLANO TX LLC
75 909 HIONA ST                           ATTN: D RANDALL STEPP                  C/O CREST COMMERCIAL REAL ESTATE INC
HOLUALOA, HI 96725                        5300 CAMP BOWIE BLVD                   9330 LBJ FREEWAY STE 1080
                                          FORT WORTH, TX 76107                   DALLAS, TX 75243
                         Case
611 - WASTE PRO - JONESBORO     18-12241-CSS      Doc
                                         611 - WASTE   26- JONESBORO
                                                     PRO     Filed 10/05/18   Page
                                                                                 61316  of 1739
                                                                                     - WASTE PRO - BATON ROUGE
31 ROMINE AVE                             P.O. BOX 689                            6468 HIGHWAY 73
HOXIE, AR 72433                           WALNUT RIDGE, AR 72476-0689             GEISMAR, LA 70734




613 - WASTE PRO - BATON ROUGE             6183 COMMACK LLC                        6183 COMMACK LLC
P.O. BOX 865515                           591 STEWART AVE STE 100                 C/O PLISKIN REALTY AND DEVELOPMENT,
ORLANDO, FL 32886-5515                    GARDEN CITY, NY 11530                   INC.
                                                                                  591 STEWART AVENUE, SUITE 100
                                                                                  GARDEN CITY, NY 11530



61ST STREET, LP                           6200 GR LLC                             6200 GR LLC
2415 W. ALABAMA, SUITE 205                ATTN: SARA VINAS                        ATTN: YOLANDA TORRES
HOUSTON, TX 77098                         2760 N. UNIVERSITY DRIVE                2760 N. UNIVERSITY DRIVE
                                          DAVIE, FL 33024                         DAVIE, FL 33024




6200 STATE STREET PLAZA, LLC              625 S COLORADO LLC                      6316 E INDEPENDENCE BLVD LLC
C/O ASSET MANAGEMENT SERVICES             NEG PROPERTY SERVICES INC               6622 E BROAD ST STE A
488 EAST WINCHESTER STREET, SUITE 325     6218 NORTH FEDERAL HWY                  DOUGLASVILLE, GA 30133
ATTN: GREG STRONG                         ATTN: NANCY GLUSMAN
MURRAY, UT 84107                          FORT LAUDERDALE, FL 33308



6316 E INDEPENDENCE BLVD LLC              6350 SHOPPERS LLC                       65 REALTY VENTURES LLC
PO BOX 70                                 C/O REALTY MASTERS                      C/O CHARLES RIVER REALTY GROUP LLC
DOUGLASVILLE, GA 30133                    1015 NW 9TH AVE                         1461 VFW PARKWAY
                                          FORT LAUDERDALE, FL 33311               ATTN: JUSTIN FERRIS
                                                                                  WEST ROXBURY, MA 02132



65 REALTY VENTURES LLC                    65 REALTY VENTURES LLC                  652 BROADWAY CORP
C/O CHARLES RIVER REALTY GROUP            PO BOX 262                              C/O CORNERSTONE MANAGEMENT
PO BOX 262                                NORWOOD, MA 02062                       SYSTEMS
NORWOOD, MA 02062                                                                 271 MADISON AVENUE, SUITE 800
                                                                                  NEW YORK, NY 10016



655 SOUTH GRAND AVENUE OWNER LLC          655 SOUTH GRAND AVENUE OWNER LLC        6570 MAYFIELD LLC
C/O CLARION PARTNERS                      PO BOX 847367                           28050 BELGRAVE RD
1717 MCKINNEY AVENUE, SUITE 1900          LOS ANGELES, CA 90084-7367              PEPPER PIKE, OH 44124
DALLAS, TX 75211




660 EAST LLC                              660 ROCK LLC                            6610-6840 W. KELLOGGS, LLC
VILLAGE PARK AT ROCHBOROUGH APTS          150 EAST 58TH ST 39 TH FL               C/O PAN AMERICAN REALTY LLC
1300 SOVEREIGN ROW                        NEW YORK, NY 10155                      9515 PLAZA CIRCLE DRIVE
OKLAHOMA CITY, OK 73108                                                           EL PASO, TX 79927




664 LYNN LLC                              664 LYNN LLC                            669 SUNRISE REALTY
664 PHOENIX DR                            ATTN: JEFFREY L. STEIN                  1000 SOUTH OYSTER BAY RD
VIRGINIA BEACH, VA 23452-7490             5607 GLENRIDGE ROAD, SUITE 200          HICKSVILLE, NY 11801
                                          ATLANTA, GA 30342




67, LLC                                   67, LLC                                 6703 LIMITED LIABILITY COMPANY
ATTN: FRED SCHINZ                         C/O PROGRESSIVE MANAGEMENT OF           7820 W LITTLE YORK
543 HARBOR BOULEVARD, SUITE 301           AMERICA                                 HOUSTON, TX 77040
DESTIN, FL 32541                          970 GULF SHORE DRIVE
                                          ATTN: ANGEL NAZARY
                                          DESTIN, FL 32541
6800 GLENWOOD, LLC        Case 18-12241-CSS     Doc 26AVENUE
                                        6828 WISCONSIN    Filed
                                                              LLC10/05/18        Page
                                                                                    69 17 of 1739LP
                                                                                       GRANDVIEW
P.O. BOX 37663                            PO BOX 8500-9567                           ATTN: LESLIE PERRY SLOAN
RALEIGH, NC 27627                         PHILADELPHIA, PA 19178-9567                8208 LONG CANYON DR
                                                                                     AUSTIN, TX 78730




6950 WISCONSIN AVENUE LLC                 69TH STREET PROPERTIES, LP                 700 STRATFORD ROAD PARTNERS LLC
C/O ARUT KOSEIAN                          C/O WRDC                                   121 N CRUTCHFIELD ST
12 LEATHERLEAF COURT                      123 COULTER AVENUE, SUITE 200              PO BOX 341
GAITHERSBURG, MD 20878                    ARDMORE, PA 19003                          DOBSON, NC 27017




700 STRATFORD ROAD PARTNERS, LLC          700 STRATFORD ROAD PARTNERS, LLC           700 STRATFORD ROAD PARTNERS, LLC
121 N CRUTCHFIELD ST                      ATTN: C. PATRICK CROSBY, JR.               MICHELLE S. GOUGH
PO BOX 341                                121 N CRUTCHFIELD, ST.                     121 N CRUTCHFIELD, ST.
DOBSON, NC 27017                          DOBSON, NC 27017                           DOBSON, NC 27017




700 WIN-ASHLAND LLC                       700 WIN-ASHLAND LLC                        700 WIN-ASHLAND LLC
2600 DAUPHIN ST                           AMBER DEDEAUX                              ATTN: EMILY MILLER
MOBILE, AL 36606                          2600 DAUPHIN STREET                        2600 DAUPHIN ST
                                          MOBILE, AL 36606                           MOBILE, AL 36606




700 WIN-ASHLAND LLC                       717 SOUTH WILLOW STREET REALTY TRUST       72 ASSOCIATES LLC
ATTN: JOHN VALLAS                         PO BOX 197                                 PF PASBJERG DEVELOPMENT CO
2600 DAUPHIN STREET                       MELVIN VILLAGE, NH 03850                   PO BOX 384
MOBILE, AL 36606                                                                     SHORT HILLS, NJ 07078-0384




72 POINT INC                              724 R 202 ASSOCIATES LLC                   7290 LEMON GRASS DRIVE
231 FRONT ST STE125                       C/O STEINER EQUITIES GROUP INC             35 PARK STREET
BROOKLYN, NY 11201                        75 EISENHOWER PKWY STE 150                 TENAFLY, NJ 07670
                                          ROSELAND, NJ 07068




7300 MADISON ST LLC                       744 ARKANSAS PROPERTIES LLC                744 ARKANSAS PROPERTIES LLC
JASON SKOURIS                             301 A BROGDON RD                           4051 ST. ANDREWS SQ.,STE 200
503 N. MARION STREET                      SUWANEE, GA 30024                          DULUTH, GA 30096
OAK PARK, IL 60302




745 ROUTE 46 INVESTORS TIC I LLC          745 ROUTE 46 INVESTORS TIC I               745 ROUTE 46 INVESTORS TIC II LLC
116 ROUTE 22                              116 ROUTE 22                               ATTN: BRUCE JEFFERY
116 ROUTE 22                              PLAINFIELD, NJ 07060                       166 ROUTE 22
PLAINFIELD, NJ 07060                                                                 NORTH PLAINFIELD, NJ 07060




745 ROUTE 46 INVESTORS TIC III LLC        750 NORTH RUSH APARTMENTS LLC              750 NORTH RUSH APARTMENTS LLC
ATTN: BRUCE JEFFERY                       750 N RUSH                                 C/O PLANNED PROPERTY MGMT
166 ROUTE 22                              CHICAGO, IL 60611                          1333 N KINGSBURY
NORTH PLAINFIELD, NJ 07060                                                           CHICAGO, IL 60642




750 WEST BRIAR, LLC                       759 MANHATTAN LLC                          75TH DISTRICT COURT
C/O REALTY MORTGAGE COMPANY               C/O REDSKY CAPITAL                         COURTHOUSE
928 WEST DIVERSITY PARKWAY                3 HOPE STREET                              301 W MAIN ST
ATTN: MR. HAROLD RIDER, JR.               BROOKLYN, NY 11211                         MIDLAND, MI 48640
CHICAGO, IL 60614
76 BLANDING LLC        Case 18-12241-CSS     DocLLC
                                     76 BLANDING  26 Filed          10/05/18   Page
                                                                                  76 18 of 1739
                                                                                     BLANDING LLC
C/O ATLANTIC COMMERCIAL PROPERTIES,  CONCORDE 1, SUITE 250                         PO BOX 2047
INC.                                 JACKSONVILLE, FL 32257                        PONTE VEDRA BEACH, FL 32004
8761 PERIMETER PARK BOULEVARD, SUITE
200
JACKSONVILLE, FL 32216


76 FLEET (WEX BANK)                      770 REAL ESTATE CORP                      7708 W BELL ROAD LLC
PO BOX 6293                              1019 SOUTHERN BLVD                        1700 W CORTLAND ST STE 201
CAROL STREAM, IL 60197-6293              BRONX, NY 10459                           CHICAGO, IL 60622




7708 W BELL ROAD LLC                     7708 W BELL ROAD LLC                      78 NEP LTD
ATTN: KELLY ARORA                        ATTN: LEASE ADMIN                         3102 MAPLE AVE STE 500
700 E. OGDEN AVENUE, SUITE 305           9340 NORTH 105TH PLACE                    DALLAS, TX 75021
CHICAGO, IL 60559                        SCOTTSDALE, AZ 85258




78 NEP LTD                               791 SR 135 LLC                            7951 BURNET ROAD LLC
CENCOR 4890 002954                       ATTN: STEVE SCHOOLCRAFT                   ATTN: LINDA OPRENDEK
3102 MAPLE AVE STE 500                   586 SOUTH STATE ROAD 135, SUITE G         1601 W 38TH ST STE 206
DALLAS, TX 75021                         GREENWOOD, IN 46142                       AUSTIN, TX 78731




7953, LLC                                7MILES GLOBAL AD SOLUTIONS LLC            7MILES GLOBAL AD SOLUTIONS LLC
7953 WASHINGTON WOODS DR.                303 SPRING ST                             PO BOX 21386
DAYTON, OH 45459                         NEW YORK, NY 10013                        NEW YORK, NY 10087-1386




7TH & GREENWOOD, LLC                     7TH STREET EAST LLC                       800 JEFFCO CORP
61370 CULTUS LAKE COURT                  41 GLEN DRIVE                             35 CROOKED HILL RD STE 202
BEND, OR 97702                           MILL VALLEY, CA 94941                     COMMACK, NY 11725




800 JEFFCO CORP                          8085 RED BUG LLP                          8085 RED BUG LLP
35 CROOKED HILL, SUITE 202               1615 CALIFORNIA STREET STE 707            1615 CALIFORNIA STREET, #707
COMMACK, NY 11725                        DENVER, CO 80202                          DENVER, CO 80202




810 LEXINGTON LLC                        814 ELM STREET                            8302 MARKET STREET LLC
ATTN: SCOTT LERMAN                       P.O. BOX 147                              ATTN: DENISE MARKEE
872 MADISON AVE, 7A                      MANCHESTER, NH 03105                      230 OHIO ST STE 200
NEW YORK, NY 10021                                                                 OSHKOSH, WI 54902




8319 COUNTY ROAD 44 LLC                  8350 WESTHEIMER LLC                       8350 WESTHEIMER LLC
5332 NW 77TH TERRACE                     8343 DOUGLAS AVE STE 100                  C/O LATIPAC COMMERCIAL INC
CORAL SPRINGS, FL 33067                  DALLAS, TX 75225                          PO DRAWER 887
                                                                                   STAFFORD, TX 77497




84 SOUTH CP DAVEWROC LLC, 84 SOUTH CP    84-86 S CENTRAL AVE ASSOCIATES LLC        860 NEW LOUDON LLC
HSTONE, LLC                              925 CENTRAL AVE STE 203                   C/O LIA REALTY GROUP
C/O SEVILLE REAL ESTATE SERVICES, INC.   HARTSDALE, NY 10530                       2080 WESTERN AVE STE 115
92 SOUTH CENTRAL AVENUE, SUITE 203                                                 GUILDERLAND, NY 12084
HARTSDALE, NY 10530
860 NEW LOUDON, LLC     Case 18-12241-CSS     DocCO26
                                      8612 REALTY   LLC Filed 10/05/18        Page 19PULASKI
                                                                                 8643 of 1739HIGHWAY LLC
1258 CENTRAL AVENUE                     7500 4TH AVE A-5                          1125 CROMWELL BRIDGE RD
ALBANY, NY 12205                        BROOKLYN, NY 11209                        TOWSON, MD 21286




866 CHALCEDONY STREET HOA               8700 WADSWORTH LLC                        88 QUEENS LLC
                                        C/O JOHN PORPP COM GROUP                  C/O AAG MGMT INC
                                        6565 S DAYTON ST 3000                     421 7TH AVE 15TH FLOOR
                                        GREENWOOD VILLAGE, CO 80111               NEW YORK, NY 10001




8990 MIRAMAR LANDING LP                 8X8 INC                                   8X8 INC
C/O MIRA INVESTMENTS                    2125 ONEL DR                              2125 ONEL DRIVE
8400 MIRAMAR ROAD, SUITE 270            SAN JOSE, CA 95131                        SAN JOSE, CA 95131
SAN DIEGO, CA 92126




8X8 INC                                 9 NINETY 9 LOAM AND MATERIALS LLC         900 CENTRAL AVENUE LLC
DEPT 848080                             231 MAPLE ST                              C/O NIGRO COMPANIES
LOS ANGELES, CA 90084-8080              BELLINGHAM, MA 02019                      20 CORPORATE WOOD BLVD
                                                                                  ALBANY, NY 12211




9-13 ROUTE 206 LLC                      9-13 ROUTE 206, LLC                       916 PLEASANT GROVE BLVD. LLC
C/O MARTIN COMPANIES                    C/O MARTIN COMPANIES                      C/O ADVISORS COMMERCIAL RE
PO BOX 158                              P.O. BOX 158                              2000 E LAMAR BLVD STE 710
NEWTON, NJ 07860                        NEWTON, NJ 07860                          ARLINGTON, TX 76006




916 PLEASANT GROVE, LLC                 92-96 SASSCO LLC                          935 EAST SEMORAN LLC
C/O ADVISORS COMMERCIAL REAL ESTATE     ATTN: STEVEN SASSO                        17806 WESTBAY CT
255 N. CENTER STREET, SUITE 200         58-08 MYRTLE AVE                          WINTER GARDEN, FL 34787-9430
ATTN: RYAN DIXON                        RIDGEWOOD, NY 11385
ARLINGTON, TX 76011



946 ORLEANS RD HOLDING LLC              946 ORLEANS RD HOLDING LLC                95 FLRPT, LLC & WR-I XV
C/O CWCAPITAL ASSET MGTM                PO BOX 13550 SITE O                       7978 COOPER CREEK BOULEVARD, SUITE
7501 WISCONSIN AVE STE 500 W            PHILADELPHIA, PA 19101                    100
BETHESDA, MD 20814                                                                ATTN: LEGAL DEPARTMENT
                                                                                  UNIVERSITY PARK, FL 34201



95 FLRPT, LLC & WR-I XV                 95 FLRPT, LLC & WR-I XV                   95 FLRPT, LLC & WR-I XV
ATTN: LEASE ADMINISTRATION              ATTN: LEGAL DEPARTMENT                    PO BOX 823201
570 DELAWARE AVENUE                     7978 COOPER CREEK BOULEVARD, SUITE        PHILADELPHIA, PA 19182-3201
BUFFALO, NY 14202                       100
                                        UNIVERSITY PARK, FL 34201



95 FLRPTLLC & WR-I XV                   9507 IRIS LLC                             9507 IRIS LLC
PO BOX 823201                           ATTN: GIOVANNI GIAMMARCO                  C/O SS ENTERPRISES-ACCOUNTING
PHILADELPHIA, PA 19182-3201             1423 FLORESTA PLACE                       1423 FLORESTA PL
                                        PACIFIC PALISADES, CA 90272-2350          PACIFIC PALISADES, CA 90272-2350




960 NORTHWEST HWY LLC                   969 ASSOCIATES LLC                        969 ASSOCIATES LLC
8430 W BRYN MAWR AVE STE 850            C/O HOFFMAN INVESTMENT PARTNERS LLC       C/O HOFFMAN INVESTMENT PARTNERS LLC
CHICAGO, IL 60631-3448                  P.O. BOX 3580                             P.O. BOX 3580
                                        STAMFORD, CT 06901                        STAMFORD, CT 06905
9745 INTERESTS LTD.       Case 18-12241-CSS     Doc 26 LLCFiled 10/05/18
                                        9847 OKEECHOBEE                      Page
                                                                                A &20  of 1739 INC
                                                                                    A ACQUISITION
12602 INTERESTS LTD.                      1245 S GRAND AVE                      544 CENTRAL DR STE 110
5959 RICHMOND SUITE 440                   PASADENA, CA 91105                    VIRGINIA BEACH, VA 23454
HOUSTON, TX 77057




A & A AWNINGS & STORM SHUTTERS            A & A FIRE & SAFETY CO LLC            A & A GREENBRIAR INVESTMENTS LLC
544-110 CENTRAL DR                        PO BOX 6960                           C/O LIVE OAK-GOTTESMAN LLC
VIRGINIA BEACH, VA 23454                  SHERWOOD, AR 72124                    2705 BEE CAVE RD STE 230
                                                                                AUSTIN, TX 78746




A & B PROPERTIES                          A & L REPAIR SERVICES                 A & M ENTERPRISES, LP
MAIL CODE 61103                           6921 NW 4 PLACE                       P.O. BOX 7427
PO BOX 1300                               MARGATE, FL 33063                     ROANOKE, VA 24019
HONOLULU, HI 96807-1300




A & M ENVIRONMENTAL LLC                   A & W CLEANING                        A BETTER CHOICE LOCK & KEY
6536 SUPPLY ROW                           PO BOX 10792                          DBA A PROFESSIONAL LOCKS
HOUSTON, TX 77011                         SPOKANE, WA 99209-0792                940 N. ALMA SCHOOL RD STE. 112
                                                                                CHANDLER, AZ 85224




A BURRUS                                  A CLEARVUE LLC                        A EXCELLENT SERVICE INC
10201 S. MAIN STREET                      PO BOX 207                            9121 N MILITARY TRAIL STE 103
HOUSTON, TX 77025                         CORAOPOLIS, PA 15108                  PALM BEACH GARDENS, FL 33410




A EXCELLENT SERVICE INC                   A FIRE AND SECURITY SERVICE INC       A GRAPHICS
PO BOX 11214                                                                    3101 WARD BLVD
POMPANO BEACH, FL 33061                                                         WILSON, NC 27893




A I LONGVIEW LLC                          A J YOST                              A LOT A CLEAN INC
1750 NW NAITO PKWY STE 106                6400 HUNT RD                          416 SE FLEETWAY CR
PORTLAND, OR 97209                        PT ST JOHN, FL 32927                  LEES SUMMIT, MO 64081




A LOT A CLEAN INC                         A ROCKET MOVING & STORAGE INC         A ROYAL FLUSH, LTD
PO BOX 284                                3401 CORDER ST                        TOM DANIELS 626 LARKWOOD
LEES SUMMIT, MO 64063                     HOUSTON, TX 77021                     SAN ANTONIO, TX 78209-2918




A S 70 HWY 59 FM 762 LP                   A SPEEDY CASH CAR TITLE LOAN LLC      A STORAGE ON WHEELS INC
AS 70 BRAZOS TC DEPT 2449                 M. KENT MECHAM                        5085 CECILE AVE
PO BOX 122449                             7830 N 23RD AVE                       LAS VEGAS, NV 89115
DALLAS, TX 75312-2294                     PHOENIX, AZ 85021-6875




A TEAM MOVERS                             A TEAM MOVING & STORAGE               A VITAL SIGNS UNLIMITED INC
1505 E BURNSVILLE PARKWAY UNIT 209        1309 SUMMIT AVE STE 16                PO BOX 2005
BURNSVILLE, MN 55337                      PLANO, TX 75074                       COUNCIL BLUFFS, IA 51502-2005
A&A GENPRO INC            Case 18-12241-CSS    Doc 26INVESTMENTS
                                        A&A GREENBRIAR  Filed 10/05/18
                                                                 LLC       Page 21PROPERTIES
                                                                              A&B   of 1739 INC
2870 GESSNER DR ST C14                   2705 BEE CAVE RD 230                 MAIL CODE 61261
HOUSTON, TX 77080                        AUSTIN, TX 78746                     PO BOX 1300
                                                                              HONOLULU, HI 96807-1300




A&B PROPERTIES                           A&B SECURITY GROUP INC               A&B SECURITY GROUP INC
ATTN: JASON SOUKI, SENIOR PROPERTY       3201 W SAHARA                        P.O. BOX 27230
MANAGER                                  LAS VEGAS, NV 89102                  LAS VEGAS, NV 89126
822 BISHOP STREET
HONOLULU, HI 96813



A&D MAINTENANCE LEASING AND REPAIRS      A&E THE GRAPHICS COMPLEX             A&E THE GRAPHICS COMPLEX
INC                                      600 N CENTRAL EXPRESSWAY             PO BOX 27286
118 WYANDANCH AVE                        RICHARDSON, TX 75080                 HOUSTON, TX 77227
WYANDANCH, NY 11798




A&G REALTY PARTNERS LLC                  A&J FIRE EXTINGUISHER CORP           A&K 400 ROUTE 17 NORTH LLC
                                         PO BOX 170016                        27 MANOR DR
                                         BROOKLYN, NY 11217                   RAMSEY, NJ 07446




A&M JANITORIAL SERVICE                   A. DUIE PYLE INC                     A. RAMON GARCIA
3417 44TH STREET                         PO BOX 564                           10201 S. MAIN STREET
SACRAMENTO, CA 95817                     WEST CHESTER, PA 19381-0564          HOUSTON, TX 77025




A. STANLEY ROSENBLUM AND                 A.B. WINDOW CLEANING                 A.F. JONNA DEVELOPMENT AND
JUDY ROSENBLUM                           38340 INNOVATION CT STE D402         MANAGEMENT CO, LLC
& ALAN L. KOSTEN AND SUSAN KOSTEN        MURRIETA, CA 92563                   4036 TELEGRAPH ROAD, SUITE 201
2025 MILLER FARMS ROAD                                                        BLOOMFIELD HILLS, MI 48302
GERMANTOWN, TN 38138



A.R.T. FURNITURE INC                     A-1 CUSTOM CRATING INC               A-1 FIRE & SAFETY EQUIPMENT CO
1165 AUTO CENTER DR                      3208 PINEWOOD DR                     6701 IMPERIAL DRIVE
ONTARIO, CA 91761                        ARLINGTON, TX 76010                  WACO, TX 76712




A-1 FIRE EQUIPMENT CORP                  A-1 FIRE EQUIPMENT CORP              A-1 HYDRAULIC SERVICE INC.
3619 NW 2ND AVE                          PO BOX 370926                        2100 ROOSEVELT AVE.
MIAMI, FL 33127                          MIAMI, FL 33127                      NATIONAL CITY, CA 91950-6538




A-1 LOCK AND SAFE SERVICE                A-1 LOCKSMITH SERVICE                A-1 LOCKSMITH
6020-B PASEO DEL NORTE                   4400 DORCHESTER RD STE 104           2685 WALNUT HILL LANE
CARLSBAD, CA 92011                       NORTH CHARLESTON, SC 29405-6863      DALLAS, TX 75229-5615




A2BPLANNING/BOSTON                       A2L TECHNOLOGIES, INC                AA CARDIFF LLC
25 BANTRY DR                             10220 HARNEY ROAD NE                 52 VANDERBILT AVE STE 403
WEYMOUTH, MA 02189                       THONOTOSASSA, FL 33592               NEW YORK, NY 10017
AA MANAGEMENT, INC.     Case 18-12241-CSS    Doc
                                      AA MARTEL   26 LLC
                                                HOWELL Filed 10/05/18    Page
                                                                            AA22 of 1739
                                                                              MARTEL HOWELL LLC
MARONE GURIEL                          31 WEST 34TH ST STE 1012             31 WEST 34TH STREET, SUITE 1012
421 SEVENTH AVE                        NEW YORK, NY 10001                   NEW YORK, NY 10001
NEW YORK, NY 10001




AA MARTEL HOWELL LLC                   AAA FIRE SAFETY & ALARM INC          AAA LOCKSMITH
52 VANDERBILT AVE STE 403              377 NORTH MARSHALL WAY STE 8         888 GREENTREE ROAD
NEW YORK, NY 10017                     LAYTON, UT 84041                     PITTSBURGH, PA 15220




AAA LOCKSMITHS AND ALARM COMPANY       AAA MOVING & STORAGE INC             AAA QUALITY SERVICES
1613 WADE HAMPTON BLVD                 747 E SHIP CREEK AVE                 P.O. BOX 17067
GREENVILLE, SC 29609                   ANCHORAGE, AK 99501                  HONOLULU, HI 96817




AAA WINDOW CLEANING                    AAC CONSOLIDATED PROPERTIES LLC      AAC CONSOLIDATED PROPERTIES LLC
3991 W FOUNTAIN RD                     5950 FAIRVIEW RD STE 800             5950 FAIRVIEW RD STE 800
JOPLIN, MO 64801                       CHARLOTTE, NC 28210                  CHARLOTTE, NC 28210-3194




AAG MANAGEMENT, INC.                   AAG PEROULAS & KERAMIDAS             AALIYAH REED
DAVID GROSSMAN                         C/O PEROS REALTY                     10201 S. MAIN STREET
421 7TH AVENUE                         PO BOX 52008                         HOUSTON, TX 77025
NEW YORK, NY 10001                     KNOXVILLE, TN 37950-2008




AAMBASSADOR LIMOUSINE &                AAREN RAGLAND                        AARON AGUILAR
TRANSPORTATION, INC                    10201 S. MAIN STREET                 10201 S. MAIN STREET
6105 BEVERLYHILL SUITE 101             HOUSTON, TX 77025                    HOUSTON, TX 77025
HOUSTON, TX 77057




AARON ALBRECHT                         AARON ASTON                          AARON BACK
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




AARON BATHORY                          AARON BLAND                          AARON BOMER
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




AARON BOWEN                            AARON BOYKIN                         AARON BRETH
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




AARON BROADWATER                       AARON BROCK                          AARON BROWN
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025
AARON CANADA            Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                      AARON CASTANEDA                Page 23 of
                                                                        AARON   1739
                                                                              CHAVENSON
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




AARON CHRISTENSEN                     AARON COLLIER                     AARON CONNELLY
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




AARON CORMIER                         AARON CRAWFORD                    AARON D MACKEL
10201 S. MAIN STREET                  10201 S. MAIN STREET              3908 SOUTHERN AVENUE
HOUSTON, TX 77025                     HOUSTON, TX 77025                 BALTIMORE, MD 21206




AARON D NELSON                        AARON DAVIS                       AARON DAY
13450 HAMPTON PARK CT                 10201 S. MAIN STREET              10201 S. MAIN STREET
FORT MYERS, FL 33913                  HOUSTON, TX 77025                 HOUSTON, TX 77025




AARON DIXON                           AARON DUNGAN-HUGHES               AARON DURDAN
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




AARON ESPE                            AARON FAIROOZ                     AARON FANCHER
10201 S. MAIN STREET                  DBA FAIROOZ IMAGING LLC           10201 S. MAIN STREET
HOUSTON, TX 77025                     1901 EUCLID AVE                   HOUSTON, TX 77025
                                      DALLAS, TX 75206




AARON FLIPPEN                         AARON FRAZIER                     AARON GILMORE
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




AARON GRANQUIST                       AARON GROUNDS                     AARON HATCH
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




AARON HERNANDEZ                       AARON HUDSON                      AARON HUMPHREY
10201 S. MAIN STREET                  10201 S. MAIN STREET              5525 1ST ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 ZEPHYRHILLS, FL 33542




AARON HUNTER                          AARON HUTTO                       AARON J FLEMING
10201 S. MAIN STREET                  10201 S. MAIN STREET              4608 E NAVAJO AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                 TAMPA, FL 33617
AARON JAMES INTENDENCIACase   18-12241-CSS    Doc 26
                                       AARON JOHNSON      Filed 10/05/18   Page 24 of
                                                                              AARON   1739
                                                                                    JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AARON JOHNSONHOUSE                     AARON KING                             AARON LEWIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AARON LEWIS                            AARON LEWIS                            AARON LUCKETT
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AARON MACHADO                          AARON MACHADO                          AARON MARKUS HECK
11685 BIG CANYON LANE                  AV. REMIGIO FALCAO BARRETO 191         231 16TH AVE NE
SAN DIEGO, CA 92131                    S. PEDRO 2090698                       SAINT PETERSBURG, FL 33704
                                       FIGUEIRA DA FOZ.




AARON MARQUARDT                        AARON MAY                              AARON MEJIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AARON MILLER                           AARON MOLLOY                           AARON NIEMCZYK
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AARON NUNES                            AARON PACE                             AARON PANNELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AARON PETTIFORD                        AARON PICKNEY                          AARON PINKSTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AARON POWELL                           AARON RODRIGUEZ                        AARON ROMO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AARON ROSADO                           AARON ROWAND                           AARON SANCHEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
AARON SMITHMIER         Case 18-12241-CSS    Doc 26
                                      AARON SPRAGUE        Filed 10/05/18    Page 25 of
                                                                                AARON   1739
                                                                                      STRONG
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




AARON SUDIA                           AARON THIESFELD                           AARON THOMAS
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




AARON TOWNER                          AARON TRAYLOR                             AARON VALDEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




AARON VAUGHN                          AARON WALDMAN                             AARON WHITE
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




AARON WHITT                           AARON WIGGINS                             AARON WILDER
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




AARON WILLIAMS                        AARON WILLIS                              AARON WILSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




AARON WOJTOWICZ                       AARON WOOD                                AARONS GRANT & HABIF LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET                      3500 PIEDMONT RD STE 600
HOUSTON, TX 77025                     HOUSTON, TX 77025                         ATLANTA, GA 30305




AARONS INC.                           AARONS INC.                               AARON'S INC.
ATTN: LEGAL DEPARTMENT                ATTN: VP, REAL ESTATE & CONSTRUCTION      ATTN: VP, REAL ESTATE & CONSTRUCTION
400 GALLERIA PARKWAY, SE, SUITE 300   400 GALLERIA PARKWAY, SE, SUITE 300       400 GALLERIA PARKWAY, SE, SUITE 300
ATLANTA, GA 30339                     ATLANTA, GA 30339                         ATLANTA, GA 30339




AARONS INC.                           AARONS WINDOW CLEANING                    AAROW INC.
SALO LOCKBOX DEPOSITORY               1215 S. KIHEI RD., STE 0-829              4312 VALETA ST.
PO BOX 102746                         KIHEI, HI 96753                           SAN DIEGO, CA 92107
ATLANTA, GA 30368-2746




AASD TAX OFFICE                       AASON ALMS                                AAT GATEWAY MARKETPLACE, LLC
STEVENS BLDG                          1447 CASA GRANDE ST                       C/O AMERICAN ASSETS TRUST
200R E CRAWFORD AVE                   PASADENA, CA 91104                        MANAGEMENT, LLC
ALTOONA, PA 16602                                                               11455 EL CAMINO REAL, SUITE 200
                                                                                ATTN: PROPERTY MANAGEMENT (RETAIL)
                                                                                SAN DIEGO, CA 92130
AB RICHARDS INC        Case 18-12241-CSS
                                     ABB INC Doc 26      Filed 10/05/18   Page 26 of
                                                                             ABBAS   1739
                                                                                   SMITH
PO BOX 72                             DBA MEDLIFT                            10201 S. MAIN STREET
COMMACK, NY 11725                     PO BOX 1249                            HOUSTON, TX 77025
                                      CALHOUN CITY, MS 38916




ABBE NOVACK                           ABBY BICKLER                           ABBY LUDENS
566 COMMONWEALTH AVE 504              1041 N POPLAR COURT                    10201 S. MAIN STREET
BOSTON, MA 02215                      CHANDLER, AZ 85226                     HOUSTON, TX 77025




ABBY OGDEN                            ABBY TORRES RODRIGUEZ                  ABBY WILLIAMS
1033 RED OAK DR                       10201 S. MAIN STREET                   10201 S. MAIN STREET
PLAINFIELD, IN 46168                  HOUSTON, TX 77025                      HOUSTON, TX 77025




ABC FIRE EQUIPMENT CORP.              ABC NATIONAL TELEVISION SALES INC      ABC SUPPLY CO INC
5370 JAEGER ROAD                      ATTN: LINDA CHEN                       ONE ABC PARKWAY
NAPLES, FL 34109                      77 WEST 66TH ST 19TH FLOOR             BELOIT, WI 53512
                                      NEW YORK, NY 10023




ABC WRECKER & TOWING INC              ABDALLAH KHALIL                        ABDEL LAABIDI
PO BOX 2937                           10201 S. MAIN STREET                   10201 S. MAIN STREET
KITTY HAWK, NC 27949                  HOUSTON, TX 77025                      HOUSTON, TX 77025




ABDELHADI QAWNEH                      ABDESLAM AIT TASTIFT                   ABDESSELAM ZEROUALI
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ABDIEL GONZALEZ                       ABDIEL SOLIS                           ABDO ALSAYEDI
10201 S. MAIN STREET                  10201 S. MAIN STREET                   1934 YATES AVENUE
HOUSTON, TX 77025                     HOUSTON, TX 77025                      BRONX, NY 10469




ABDON ACOSTA                          ABDUL AMIN                             ABDUL BUKSH
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ABDUL FALL                            ABDUL-KARIM MUHAMMAD                   ABDULLAEVA INTERNATIONAL TRADE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   COMPANY
HOUSTON, TX 77025                     HOUSTON, TX 77025                      DBA DMA SLEEP & BEYOND
                                                                             14611 EL MOLINO ST
                                                                             FONTANA, CA 92335



ABDULLAH ABDULWAHAB                   ABE DAUPHIN                            ABEL MIRABAL
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
ABERDEEN MARKETPLACE INC  Case 18-12241-CSS
                                        ABERDEENDoc   26 FiledINC.
                                                  MARKETPLACE,      10/05/18      Page 27 of 1739
                                                                                     ABERFELDY I LIMITED PARTNERSHIP
C/O CARL M. FREEMAN COMPANIES           C/O CARL M. FREEMAN COMPANIES                 901 S MOPAC EXPRESSWAY 285 BLDG. 4
111 ROCKVILLE PIKE, SUITE 1100          11 1 ROCKVILLE PIKE, SUITE 1100               AUSTIN, TX 78746
ATTN: LOUIE ANDRAKAKOS                  ATTN: LOUIE ANDRAKAKOS
ROCKVILLE, MD 20850                     ROCKVILLE, MD 20850



ABERFELDY PROPERTIES, INC.               ABERNATHY & TIMBERLAKE INVESTMENT            ABERNATHY, DARRELL
C/O TIG REAL ESTATE SERVICES, INC.       GROUP                                        15103 WOODLAWN AVE
901 S. MOPAC EXPRESSWAY                  1505 LAKES PARKWAY, SUITE 190                DOLTON, IL 60419-2816
BUILDING 4, SUITE 285                    LAWRENCEVILLE, GA 30043
AUSTIN, TX 78746



ABG EPE IP LLC                           ABIGAIL DOBRAS                               ABIGAIL HANNA
ATTN: BRIDGETTE FITZPATRICK              10201 S. MAIN STREET                         10201 S. MAIN STREET
1411 BROADWAY, 4TH FLOOR                 HOUSTON, TX 77025                            HOUSTON, TX 77025
NEW YORK, NY 10018




ABIGAIL LAMMEL JOHNSON                   ABIGAIL PRICE                                ABIGAIL STREICHER
23 UPPER LAKE COURT                      10201 S. MAIN STREET                         10201 S. MAIN STREET
CHICO, CA 95928                          HOUSTON, TX 77025                            HOUSTON, TX 77025




ABILENE REPORTER NEWS                    ABILENE SQUARE LLC                           ABILENE SQUARE LLC
PO BOX 630849                            1615 CALIFORNIA ST 419                       677 LAFAYETTE ST
CINCINNATI, OH 45263-0849                DENVER, CO 80202                             DENVER, CO 80218




ABIMBOLA FOLAGBADE                       ABINGDON PLAZA, LLC                          ABINGDON PLAZA, LLC
10201 S. MAIN STREET                     2800 QUARRY LAKE DR STE 340                  C/O MFI MANAGEMENT
HOUSTON, TX 77025                        BALTIMORE, MD 21209                          2800 QUARRY LAKE DR, SUITE 320
                                                                                      BALTIMORE, MD 21209




ABIOLA SOLOMON                           ABP PEARL HIGHLANDS, LLC                     ABP PEARL HIGHLANDS, LLC
10201 S. MAIN STREET                     C/O A&B PROPERTIES                           MAIL CODE 61261
HOUSTON, TX 77025                        822 BISHOP STREET                            PO BOX 1300
                                         HONOLULU, HI 96813                           HONOLULU, HI 96807-1300




ABR INVESTMENT, LLC                      ABR INVESTMENT, LLC                          ABRAHAM HAZAN
C/O LAMINACK PIRTLE & MARTINES, LLP      C/O SCHULTEN WARD TURNER & WEISS, LLP        P.O. BOX 317
ATTN: THOMAS W. PIRTLE                   ATTN: KEVIN L. WARD                          CEDARHURST, NY 11516
5020 MONTROSE BOULEVARD, 9TH FLOOR       260 PEACHTREE STREET, N.W., SUITE 2700
HOUSTON, TX 77006                        ATLANTA, GA 30303



ABRAHAM HER                              ABRAHAM MANGANA                              ABRAHAM VARGHESE
10201 S. MAIN STREET                     10201 S. MAIN STREET                         10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                            HOUSTON, TX 77025




ABRAM ROY LLP                            ABRAMS & BAYLISS LLP                         ABRAMS WILLOWBROOK I & II, LP
21550 OXNARD STREET, SUITE 570           20 MONTCHANIN RD STE 200                     C/O GORDON PARTNERS PROPERTY MGMT
ATTN: STEVEN ABRAM                       WILMINGTON, DE 19807                         4900 WOODWAY DRIVE, SUITE 1125
WOODLAND HILLS, CA 91367                                                              HOUSTON, TX 77056
                       Case
ABRAMS WILLOWBROOK I AND   II LP 18-12241-CSS      Doc 26 Filed
                                          ABRIEL JONES             10/05/18    Page 28 of 1739
                                                                                  ABSOLUTE BUSINESS CONNECTIONS INC
C/O GORDON PARTNERS PROPERTY              10201 S. MAIN STREET                     JAF STATION
MANAGEMENT                                HOUSTON, TX 77025                        PO BOX 3249
4900 WOODWAY DRIVE, SUITE 1125                                                     NEW YORK, NY 10116-3249
HOUSTON, TX 77056



ABSOLUTE BUSINESS CONNECTIONS INC       ABSOLUTE INDUSTRIAL SOLUTIONS              ABU NASSER
TEMPAY                                  PO BOX 99104                               106 S GIRARD TER
PO BOX 75357                            HOUSTON, TX 77261                          HATFIELD, PA 19440
CHICAGO, IL 60675-5357




ABUL KASHEM                             ABUYO INC DBA SELECT HUB                   AC COWESETT PURCHASER LLC
10201 S. MAIN STREET                    5925 S LEWISTON ST                         PO BOX 601281
HOUSTON, TX 77025                       CENTENNIAL, CO 80016                       CHARLOTTE, NC 28260-1281




AC ELECTRICAL SYSTEMS INC               AC I TOMS RIVER LLC                        ACADEMY COMER LLC
636 A N MILLER                          PO BOX 11524                               C/O JORGE ESPINOZA
SPRINGFIELD, MO 65802                   NEWARK, NJ 07101-4524                      3434 47TH STREET, SUITE 220
                                                                                   BOULDER, CO 80301




ACADEMY CORNER LLC                      ACADEMY FIRE PROTECTION INC.               ACADEMY LOCKSMITH
ATTN: JORGE ESPINOZA                    58-29 MASPETH AVE.                         4887 EAST LA PALMA AVENUE STE. 701
2260 LINDEN AVE                         MASPETH, NY 11378                          ANAHEIM, CA 92807-2056
BOULDER, CO 80304




ACADEMY OF COUNTRY MUSIC                ACADIA BARTOW AVENUE LLC                   ACADIA BARTOW AVENUE, LLC
5500 BALBOA BOULEVARD                   PROPERTY 0070                              C/O ACADIA REALTY TRUST
ENCINO, CA 91316                        PO BOX 415980                              411 THEODORE FREMD AVENUE, SUITE 300
                                        BOSTON, MA 02241                           ATTN: GENERAL COUNSEL
                                                                                   RYE, NY 10580



ACADIA BARTOW AVENUE, LLC               ACADIA BARTOW AVENUE, LLC                  ACADIA BRENTWOOD LLC
C/O ACADIA REALTY TRUST                 PROPERTY 0070                              0206-004877
411 THEODORE FREMD AVENUE, SUITE 300    PO BOX 415980                              PO BOX 415980
ATTN: PROPERTY MANAGEMENT               BOSTON, MA 02241                           BOSTON, MA 02241
RYE, NY 10580



ACADIA BRENTWOOD, LLC                   ACADIA BRENTWOOD, LLC                      ACADIA GOLD COAST LLC
0206-004877                             C/O ACADIA REALTY TRUST                    0171-004829
PO BOX 415980                           411 THEODORE FREMD AVENUE, SUITE 300       PO BOX 415980
BOSTON, MA 02241                        ATTN: GENERAL COUNSEL                      BOSTON, MA 02241
                                        RYE, NY 10580



ACADIA GOLD COAST LLC                   ACADIA GOLD COAST LLC                      ACADIA MARKET SQUARE LLC
C/O ACADIA REALTY TRUST                 C/O ACADIA REALTY TRUST                    0076-004070
411 THEODORE FREMD AVENUE, SUITE 300    411 THEODORE FREMD AVENUE, SUITE 300       PO BOX 415980
ATTN: LEGAL DEPARTMENT                  ATTN: PROPERTY MANAGEMENT                  BOSTON, MA 02241-5980
RYE, NY 10580                           RYE, NY 10580



ACADIA MARKET SQUARE, LLC               ACADIA MARKET SQUARE, LLC                  ACADIA MARKET SQUARE, LLC
C/O ACADIA REALTY TRUST                 C/O ACADIA REALTY TRUST                    PO BOX 415980
411 THEODORE FREMD AVENUE, SUITE 300    411 THEODORE FREMD AVENUE, SUITE 300       BOSTON, MA 02241-5980
ATTN: GENERAL COUNSEL                   ATTN: PROPERTY MANAGEMENT
RYE, NY 10580                           RYE, NY 10580
                       CaseLLC18-12241-CSS
ACADIA MCB HOLDING COMPANY                     Doc 26
                                       ACADIA REALTY       Filed
                                                      LIMITED    10/05/18
                                                              PARTNERSHIP     Page 29 ofREALTY
                                                                                 ACADIA  1739LIMITED PARTNERSHIP
1311 MAMARONECK AVE STE 260            1311 MAMARONECK AVE STE 260                C/O ACADIA REALTY TRUST
WHITE PLAINS, NY 10605                 WHITE PLAINS, NY 10605                     411 THEODORE FREMD AVENUE, SUITE 300
                                                                                  ATTN: LEGAL DEPARTMENT
                                                                                  RYE, NY 10580



ACADIA REALTY LIMITED PARTNERSHIP      ACADIA REALTY LIMITED PARTNERSHIP          ACADIA REALTY LIMITED PARTNERSHIP
C/O ACADIA REALTY TRUST                C/O ACADIA REALTY TRUST                    C/O ACADIA REALTY TRUST
411 THEODORE FREMD AVENUE, SUITE 300   411 THEODORE FREMD AVENUE, SUITE 300       411 THEODORE FREMD AVENUE, SUITE 300
ATTN: PROPERTY MANAGEMENT              DANNY ANNIBALE                             KRISTEN CHARLES
RYE, NY 10580                          RYE, NY 10580                              RYE, NY 10580



ACADIA REALTY LIMITED PARTNERSHIP      ACADIA REALTY LIMITED PARTNERSHIP          ACADIA REALTY TRUST
DBA RD BLOOMFIELD ASSOCIATES LP        PO BOX 415980                              ATTN: RYAN SEGAL
411 THEODORE FREMD AVE SUITE 300       BOSTON, MA 02241-5980                      411 THEODORE FREMD AVENUE, SUITE 300
RYE, NY 10580                                                                     RYE, NY 10580




ACADIA REALTY TRUST                    ACADIA REALTY TRUST                        ACADIA STRATEGIC OPPORTUNITY FUND IV
C/O ACADIA REALTY TRUST                HEATHER MOORE, SVP, ASSOCIATE              LLC
411 THEODORE FREMD AVENUE, SUITE 300   COUNSEL                                    411 THEODORE FREMD AVE STE 300
DANNY ANNIBALE                         411 THEODORE FREMD AVENUE, SUITE 300       RYE, NY 10580
RYTE, NY 10580                         RYE, NY 10580



ACC ACCOUNTING DEPARTMENT              ACC BUSINESS                               ACC WATER BUSINESS
535 RT 38 STE 320                                                                 P.O. BOX 16869
CHERRY HILL, NJ 08002                                                             ATLANTA, GA 30321-0869




ACCEL NETWORKS                         ACCELLOS INC                               ACCESS ENSEIGNES-SIGNS INC
DEPT 3327                              PO BOX 856691                              2351 BOUL. FERNAND-LAFONTAINE
PO BOX 123327                          MINNEAPOLIS, MN 55485-6691                 LONGUEUIL, PQ J4N 1N7
DALLAS, TX 75312-3327                                                             CANADA




ACCESS INFORMATION HOLDINGS LLC        ACCESS INFORMATION PROTECTED               ACCESS POINT INC
DBA FILEMINDERS OF HAWAII/ACCESS       PO BOX 398315                              PO BOX 382828
6818 PATTERSON PASS RD STE A           SAN FRANCISCO, CA 94139-8315               PITTSBURGH, PA 15251-8828
LIVERMORE, CA 94550




ACCESS POINT                           ACCESS POINT                               ACCESS PRINTED MEDIA CORP
10201 S MAINT ST                       28800 ORCHARD LAKE ROAD                    19226 66TH AVE SO. L-103
HOUSTON, TX 77025                      FARMINGTON HILLS, MI 48334                 KENT, WA 98032




ACCESS STAFFING LLC                    ACCESS STAFFING LLC                        ACCESSPLANVIEW
25 MELVILLE PARK RD STE 115            PO BOX 75334                               7028 HILLWOOD
MELVILLE, NY 11747                     CHICAGO, IL 60675-5334                     GARLAND, TX 75048




ACCO MATERIAL HANDLING SOLUTIONS INC   ACCO MATERIAL HANDLING SOLUTIONS           ACCOUNTEMPS
PO BOX 792                             DEPT CH 16736                              2613 CAMINO RAMON
YORK, PA 17405-0792                    PALATINE, IL 60055-6736                    SAN RAMON, CA 94583
ACCOUNTEMPS             Case   18-12241-CSS   DocNOW
                                        ACCOUNTING 26       Filed 10/05/18   Page 30 of 1739
                                                                                ACCOUNTING PRINCIPALS
PO BOX 743295                           14241 DALLAS PARKWAY STE 550             DBA AJILON PROFESSIONAL STAFFING
LOS ANGELES, CA 90074-3295              DALLAS, TX 75254                         DEPT CH 14031
                                                                                 PALATINE, IL 60055




ACCOUNTING WITH TAMARA SWORD INC        ACCOUNTIX INC                            ACCRUENT
4300 BAY AREA BLVD 1730                 1129 STATE ST STE 30A                    DEPT 3636
HOUSTON, TX 77058                       SANTA BARBARA, CA 93101                  PO BOX 123636
                                                                                 DALLAS, TX 75312-3636




ACCURA SYSTEMS OF TUCSON                ACCURATE AUTO REPAIR INC                 ACCU-TIME SYSTEMS INC
6365 E GRANT RD                         74 S CENTRAL AVE                         PO BOX 417267
TUCSON, AZ 85715                        HARTSDALE, NY 10530-2313                 BOSTON, MA 02241-7267




ACCUTRONIC SECURITY SYSTEMS INC         ACCUTRONIC SYSTEMS INC                   ACE AMERICAN INSURANCE COMPANY
184 S LIVINGSTON AVE STE 9 142          184 S LIVINGSTON AVE STE 9 142           436 WALNUT STREET
LIVINGSTON, NJ 07039                    LIVINGSTON, NJ 07039                     PHILADELPHIA, PA 19105




ACE DISPOSAL INCORPORATED               ACE DISPOSAL INCORPORATED                ACE FIRE SYSTEMS INC
2274 SOUTH TECHNOLOGY DR                P.O. BOX 2608                            2620 WESTERN AVE
WEST VALLEY CITY, UT 84119              SALT LAKE CITY, UT 84110                 LAS VEGAS, NV 89109




ACE GLASS                               ACE INC                                  ACE INDUSTRIAL PROPERTIES INC
908 SILVERDALE                          805 SEVARD AVE                           1900 E COLLEGE AVE 3RD FL
CONROE, TX 77301                        CLEARWATER, FL 33764                     CUDAHY, WI 53110




ACE MART RESTAURANT SUPPLY              ACE SOLID WASTE INC                      ACE STAR DISTRIBUTORS
5811 CHIMNEY ROCK                       6601 MCKINLEY ST NW                      OZARKA WATER
HOUSTON, TX 77081                       RAMSEY, MN 55303                         PO BOX 415
                                                                                 JUDSON, TX 75660




ACE WORLD WIDE                          ACES IRRIGATION MAINT IN                 ACF LAKEWOOD 11 LLC
1900 E COLLEGE AVE                      11721 S HAMLIN AVE                       12411 VENTURA BLVD
CUDAHY, WI 53110                        ALSIP, IL 60803                          STUDIO CITY, CA 91604




ACF LAKEWOOD 11, LLC                    ACF LAKEWOOD PROPERTY MGMT, INC.         ACF PROPERTY MANAGEMENT, INC.
C/O ACF LAKEWOOD PROPERTY               1801 WEST OLYMPIC BOULEVARD              12411 VENTURA BOULEVARD
MANAGEMENT, INC.                        PASADENA, CA 91199-1399                  STUDIO CITY, CA 91604
1801 W. OLYMPIC BOULEVARD
FILE #1399
PASADENA, CA 91199-1399


ACI INCOME FUND II LTP                  ACIS INNOVATIVE SOLUTIONS INC            ACKERMAN & CO.
600 EAST COLONIAL DR STE 100            PO BOX 3274                              10 GLENLAKE PARKWAY, SUITE 1000
ORLANDO, FL 32803                       MC KINNEY, TX 75070                      ATLANTA, GA 30328
                       Case
ACKERMAN SECURITY SYSTEMS     18-12241-CSS
                                       A-CLEAN Doc 26CLEANING
                                               WINDOW   Filed 10/05/18       Page 31 ALARM
                                                                                ACME of 1739
                                                                                           COMPANY
PO BOX 933374                           PO BOX 13414                            PO BOX 883
ATLANTA, GA 31193-3374                  SHAWNEE MISSION, KS 66282               RIFLE, CO 81650




ACME SECURITY SYSTEMS                   ACNIELSEN CORPORATION                   ACORN
1660 FACTOR AVE                         DBA NIELSEN MEDIA RESEARCH              PO BOX 23965
SAN LEANDRO, CA 94577-5618              85 BROAD ST                             LOS ANGELES, CA 90023-0965
                                        NEW YORK, NY 10004




ACP METRO TOWNE CENTER LLC              ACP SERVICE PLUMBING LLC                ACRE MANAGEMENT
4530 E SHEA BLVD STE 100                32101 NE KELLY RD                       4465 KIPLING STREET, SUITE 106
PHOENIX, AZ 85028                       YACOLT, WA 98675                        WHEAT RIDGE, CO 80033




ACTION FIRE PROS                        ACTION LOCK & KEY                       ACTION MONITORING SERVICE LLC
P.O. BOX 0797                           800 W LAKE ST STE 122-124               PO BOX 68045
WAXAHACHIE, TX 75168-0797               ROSELLE, IL 60172                       NASHVILLE, TN 37206




ACTION SECURITY SYSTEMS INC             ACTION WINDOW CLEANING & MORE           ACTIVATE PROMOTIONAL MARKETING LLC
C/O AFA REDEMPTION CENTER               13110 BIRCH DR 148-249                  DBA ACTIVATE PROMOTIONS MARKETING
1646 W CHESTER PIKE STE 31              OMAHA, NE 68164                         13325 S POINT BLVD STE 100
WEST CHESTER, PA 19382                                                          CHARLOTTE, NC 28273




ACWMA - CITATION PROCESSING CENTER      ACWMA - CITATION PROCESSING CENTER      ACWORTH STATION INC.
1537 WEBSTER ST                         P.O. BOX 7275                           P.O. BOX 100589
OAKLAND, CA 94612                       NEWPORT BEACH, CA 92658-7275            ATLANTA, GA 30384-0589




ACWORTH TUSKAWILLA LLC                  ACWORTH TUSKAWILLA LLC                  ACWORTH TUSKAWILLA LLC
13208 LANTERN HOLLOW DR                 14601 PETTIT WAY                        C/O SANDMAR PROPERTIES LLC
NORTH POTOMAC, MD 20878                 POTOMAC, MD 20854                       14601 PETTIT WAY
                                                                                POTOMAC, MD 20854




ACWORTH TUSKAWILLA LLC                  ADA COUNTY SHERIFFS OFFICE              ADA COUNTY TREASURER/TAX
PO BOX 936123                           CIVIL SECTION                           ATTN: PROPERTY TAX DEPT.
ATLANTA, GA 31193-6123                  7180 BARRISTER DR                       PO BOX 2868
                                        BOISE, ID 83704-9217                    BOISE, ID 83701




ADA COUNTY                              ADA COUNTY                              ADA COUNTY
1769 N LAKES AVE STE 100                ATTN: TAX COLLECTOR                     PROCESSING CENTER
MERIDIAN, ID 83646                      PO BOX 2868                             PO BOX 140017
                                        BOISE, ID 83701-2868                    GARDEN CITY, ID 83714




ADA G RIPPON                            ADA G. RIPPON                           ADA GROUP LLC
1354 W 1690 S                           1354 W. 1690 S                          4001 CARMICHAEL RD STE 570
SAINT GEORGE, UT 84770-1267             ST. GEORGE, UT 84770-1267               MONTGOMERY, AL 36106
ADA ORTIZ               Case 18-12241-CSS    Doc 26
                                      ADA YANG           Filed 10/05/18   Page 32 PURINTON
                                                                             ADAH of 1739
10201 S. MAIN STREET                  6400 73RD AVE N                        10201 S. MAIN STREET
HOUSTON, TX 77025                     BROOKLYN CENTER, MN 55428              HOUSTON, TX 77025




ADALBERTO BARBOSA                     ADAM A ALAMAN                          ADAM ARTHUR
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM BADER                            ADAM BAKER                             ADAM BAKER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM BARNHIZER                        ADAM BARTHALT                          ADAM BEENE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM BENIGNI                          ADAM BIGLOSZYNSKI                      ADAM BLANK
50 SANDWELL PL                        1365 S 96TH ST                         10201 S. MAIN STREET
SPRING, TX 77389                      WEST ALLIS, WI 53214                   HOUSTON, TX 77025




ADAM BROCK                            ADAM BUCKHOLZ                          ADAM CALDWELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM CALLAHAN                         ADAM COHEN                             ADAM COOK
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM COUCH                            ADAM DARE                              ADAM DENSMORE
PO BOX 592                            10201 S. MAIN STREET                   10201 S. MAIN STREET
HARTLAND, WI 53029                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM DIAMANTOPOULOS                   ADAM DIAMONTOPOLOUS                    ADAM DUVEL
15314 OAK LAKE GLEN DRIVE             1107 S. PETERS ST,                     10201 S. MAIN STREET
SUGAR LAND, TX 77498                  APT 403                                HOUSTON, TX 77025
                                      NEW ORLEANS, LA 70130




ADAM EDLUND                           ADAM EIDEMILLER INC                    ADAM EIDEMILLER, INC.
10201 S. MAIN STREET                  ATTN: DANIEL PAINTER                   ATTN: DANIEL PAINTER
HOUSTON, TX 77025                     56 SHERATON DRIVE, SUITE 100           56 SHERATON DRIVE, SUITE 100
                                      GREENSBURG, PA 15601                   GREENSBURG, PA 15601
ADAM EVANS               Case 18-12241-CSS    Doc 26
                                       ADAM FREMLIN        Filed 10/05/18   Page 33 FRIEDMAN
                                                                               ADAM of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ADAM GAGE                              ADAM GLAZIK                             ADAM GONZALEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ADAM GRANQUIST                         ADAM HAMBY                              ADAM HANDELMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ADAM HARPER                            ADAM HEARNS                             ADAM HIGGINS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ADAM HOLLACHER                         ADAM J QUIROZ                           ADAM JACKSON
10201 S. MAIN STREET                   7424 AMELIA RD                          10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77055                       HOUSTON, TX 77025




ADAM JORDAN                            ADAM KOONTZ                             ADAM KUMLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ADAM LAMBERD                           ADAM LANGSNER                           ADAM LAWRENCE
2822 LEOPOLD LANE                      10201 S. MAIN STREET                    771 E. BUTLER RD. 401
RICHLAND, WA 99352                     HOUSTON, TX 77025                       MOULDIN, SC 29662




ADAM LETNER                            ADAM LEWIS                              ADAM LEWIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ADAM LIPPERT                           ADAM LUNA                               ADAM MCCALL
10201 S. MAIN STREET                   5430 ALVERN CIRCLE APT I201             10201 S. MAIN STREET
HOUSTON, TX 77025                      LOS ANGELES, CA 90045                   HOUSTON, TX 77025




ADAM MIELE                             ADAM MILLER                             ADAM MIOC
413 NEELY FARM DR                      10201 S. MAIN STREET                    10201 S. MAIN STREET
SIMPSONVILLE, SC 29680                 HOUSTON, TX 77025                       HOUSTON, TX 77025
ADAM MOLLER            Case 18-12241-CSS    Doc 26
                                     ADAM MULLIS        Filed 10/05/18   Page 34 MURRAY
                                                                            ADAM of 1739
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM NIMER                           ADAM ODEGARD                           ADAM PLATANIA
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM POLINS                          ADAM PURDY                             ADAM RODRIGUEZ
10201 S. MAIN STREET                 10201 S. MAIN STREET                   4242 N CAPISTRANO DR APT 189
HOUSTON, TX 77025                    HOUSTON, TX 77025                      DALLAS, TX 75287




ADAM ROSEMAN                         ADAM RUSSO                             ADAM SAMIA
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM SAMPSON                         ADAM SCHWARTZ                          ADAM SILVA
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM SMOODY                          ADAM STUNGIS                           ADAM TAZI
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM THOMPSON                        ADAM VANDER VEEN                       ADAM VANDERHEYDEN
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM VIGLIOTTA                       ADAM WAGNER                            ADAM WESSLING
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM WHITTON                         ADAM WILMOT                            ADAM WINTERHOUSE
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ADAM WOODCOCK                        ADAM WRIGHT                            ADAMS CLERK AND RECORDER
10201 S. MAIN STREET                 10201 S. MAIN STREET                   C/O STAN MARTIN
HOUSTON, TX 77025                    HOUSTON, TX 77025                      PO BOX 5011
                                                                            BRIGHTON, CO 80601
ADAMS COUNTY COLORADOCase 18-12241-CSS     Doc 26COOPERATIVE
                                   ADAMS ELECTRIC       Filed 10/05/18      Page 35 of
                                                                               ADAMS   1739 COOPERATIVE
                                                                                     ELECTRIC
4430 S ADAMS CO PKWY 2ND FLOOR STE 700 E WOOD ST                               PO BOX 247
C2436                              CAMP POINT, IL 62320                        CAMP POINT, IL 62320-0247
BRIGHTON, CO 80601-8219




ADAMS MILTON AVE PROPERTY LLC         ADAMS OUTDOOR ADVERTISING                ADAMS OUTDOOR ADVERTISING
700 RAYOVAC DR STE 205                102 E BADGER RD                          PO BOX 809140
MADISON, WI 53711-2476                MADISON, WI 53713                        CHICAGO, IL 60680




ADAMS PROPERTIES INC                  ADAMS PROPERTIES INC                     ADAMS RADIO GROUP DP
C/O GENESIS REAL ESTATE ADVISERS      C/O GENESIS REAL ESTATE ADVISERS         WGBG-FM
800 MOUNT VERNON HWY NE, SUITE 410    800 MOUNT VERNON HWY. NE, SUITE 410      119 NAYLOR MILL RD STE 10A
SANDY SPRINGS, GA 30328               SANDY SPRINGS, GA 30328                  SALISBURY, MD 21801




ADAMS RADIO GROUP DP                  ADAMS RADIO GROUP DP                     ADAMS RADIO OF DELMARVA PENINSULA
WOCQ-FM                               WZBH-FM                                  LLC
119 NAYLOR MILL RD STE 10A            119 NAYLOR MILL RD STE 10A               119 NAYLOR MILL RD STE 10A
SALISBURY, MD 21801                   SALISBURY, MD 21801                      SALISBURY, MD 21801




ADAMS RADIO OF DELMARVA PENINSULA     ADAMS RADIO OF DELMARVA PENINSULA        ADAMS
LLC                                   LLC                                      ATTN: PROPERTY TAX DEPT.
16233 KENYON AVE STE 220              WKHI-FM                                  4430 S ADAMS COUNTY PKWY STE W2000B
LAKEVILLE, MN 55044                   119 NAYLOR MILL RD STE 10A               BRIGHTON, CO 80601-8212
                                      SALISBURY, MD 21801



ADAMS-MILTON AVENUE PROPERTY, LLC     ADAN CASTILLO                            ADAPTIVE SOUND TECH INC
700 RAYOVAC DRIVE, SUITE 205          10201 S. MAIN STREET                     1475 SOUTH BASCOM AVE
MADISON, WI 53711                     HOUSTON, TX 77025                        CAMPBELL, CA 95008




ADAR JUPITER LLC                      ADAR JUPITER LLC                         ADAR JUPITER, LLC
2875 NE 191ST ST STE 800              C/O TRANSWESTERN                         C/O TRANSWESTERN
AVENTURA, FL 33180                    3063 MERCY DR STE G                      3063 MERCY DR STE G
                                      ORLANDO, FL 32808                        ORLANDO, FL 32808




ADARION BIVINS                        ADC GROUP, INC.                          ADCETERA DESIGN STUDIO INC
10201 S. MAIN STREET                  7801 CANTERBURY TERRACE                  DBA ADCETERA
HOUSTON, TX 77025                     MC KINNEY, TX 75070                      3000 LOUISIANA ST
                                                                               HOUSTON, TX 77006




ADD KINGS CROSSING LLC                ADD KINGS CROSSING, LLC                  ADDICKS FIRE & SAFETY
4514 COLE AVENUE, SUITE 1100          4514 COLE AVENUE, SUITE 1100             1800 SHERWOOD FOREST STE B1
DALLAS, TX 75205                      DALLAS, TX 75205                         HOUSTON, TX 77043




ADDISON FRANKLIN                      ADDISON PATRICK                          ADDISON POLICE DEPARTMENT
316 FRY ST APT 229                    10201 S. MAIN STREET                     4799 AIRPORT PKWY
DENTON, TX 76201                      HOUSTON, TX 77025                        ADDISON, TX 75001
                       Case
ADDISON SAFETY GROUP INC      18-12241-CSS   Doc
                                       ADDMORE    26 Filed
                                               EQUIPMENT     10/05/18
                                                         COMPANY        Page 36 ofEMPLOYMENT
                                                                           ADECCO  1739      SERVICES INC
560 N HWY 25                           PO BOX 3624                          DEPT CH 14091
TRAVELERS REST, SC 29690               LITTLE ROCK, AR 72203                PALATINE, IL 60055-4091




ADELA TRUDEL                           ADELAIDE MAGGARD                     ADELE BROWN TRUSTS
10201 S. MAIN STREET                   10201 S. MAIN STREET                 C/O PACIFIC CENTURY TRUST
HOUSTON, TX 77025                      HOUSTON, TX 77025                    130 MERCHANT ST STE 330 (DEPT722)
                                                                            HONOLULU, HI 96802-3170




ADELE FONTAINE                         ADELE MONTOYA                        ADELYNN MAYNES
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




ADEN MOHAMED HARD                      ADEOLA AJAYI                         ADEOLA OKE
760 14TH ST SOUTH 25                   10201 S. MAIN STREET                 10201 S. MAIN STREET
SAINT CLOUD, MN 56301                  HOUSTON, TX 77025                    HOUSTON, TX 77025




ADESSO INC                             ADETOKUNBOH AMOKOMOWO                ADEWALE ADENIJI
21 PENN PLAZA STE 909                  10201 S. MAIN STREET                 10201 S. MAIN STREET
NEW YORK, NY 10001                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ADG TRANSPORTATION                     ADIL SHEIKH                          ADILENE GARDUNO
24616 BIRDSONG RD                      10201 S. MAIN STREET                 10201 S. MAIN STREET
SMITHTON, MO 65350                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ADILENE HERRERA                        ADINA LEE                            ADISA NICKERSON
1846 PETERSON LN                       10201 S. MAIN STREET                 10201 S. MAIN STREET
SANTA ROSA, CA 95403                   HOUSTON, TX 77025                    HOUSTON, TX 77025




ADLEY PIERRE-ANTOINE                   ADM SPRING PINES LLC                 ADMIRAL LINEN AND UNIFORM SERVICE INC
10201 S. MAIN STREET                   1330 POST OAK BLVD STE 2525          2030 KIPLING ST
HOUSTON, TX 77025                      HOUSTON, TX 77056                    HOUSTON, TX 77098-1532




ADNA TRNJANIN                          ADNAAN JAMAL                         ADNAN SAJID
11304 SE 10TH ST APT I3                10201 S. MAIN STREET                 10201 S. MAIN STREET
VANCOUVER, WA 98664                    HOUSTON, TX 77025                    HOUSTON, TX 77025




ADOBE SYSTEMS INCORPORATED             ADOBE SYSTEMS INCORPORATED           ADOLFO ARAICA
29322 NETWORK PLACE                    345 PARK AVE                         10201 S. MAIN STREET
CHICAGO, IL 60673-1293                 SAN JOSE, CA 95110                   HOUSTON, TX 77025
ADOLFO COLMENERO       Case 18-12241-CSS     Doc 26
                                     ADONIS ABDULLAH      Filed 10/05/18   Page 37 ofBLACK
                                                                              ADONIS  1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ADP INC                               ADP INC                                 ADP INC
1851 RESLER DRIVE                     PO BOX 12513                            PO BOX 842875
EL PASO, TX 79912                     EL PASO, TX 79912                       BOSTON, MA 02284-2875




ADPLEX                                ADRA ANTHONY                            ADRIAL GODFREY
DEPT 276901                           10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 67000                          HOUSTON, TX 77025                       HOUSTON, TX 77025
DETROIT, MI 48267




ADRIAN ANDERSON                       ADRIAN ARNOLD                           ADRIAN BACCHUS
10201 S. MAIN STREET                  803 KAW ST APT F                        10201 S. MAIN STREET
HOUSTON, TX 77025                     PERRY, OK 73077                         HOUSTON, TX 77025




ADRIAN BAILEY                         ADRIAN BARKLEY                          ADRIAN BEARDEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ADRIAN CHATMON                        ADRIAN FOWLIN                           ADRIAN GORRELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ADRIAN HART                           ADRIAN JACKSON                          ADRIAN LAIRD
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ADRIAN LOPEZ                          ADRIAN LUSARDI                          ADRIAN MANRIQUE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ADRIAN MEDINA                         ADRIAN PELZER                           ADRIAN RODRIGUEZ DIAZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ADRIAN ROYCE FAJARDO MATUTE           ADRIAN THOMAS                           ADRIAN VENDRELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
ADRIAN VIDAL              Case 18-12241-CSS     Doc 26
                                        ADRIAN VINES          Filed 10/05/18   Page 38 ofWILLIAMS
                                                                                  ADRIAN  1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




ADRIAN WINT                              ADRIAN WOOTEN                             ADRIAN ZAMUDIO
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




ADRIANA A OVANESSIAN                     ADRIANA CHAVEZ                            ADRIANA PEREZ
2036 ERIN WAY                            10201 S. MAIN STREET                      10201 S. MAIN STREET
GLENDALE, CA 91206                       HOUSTON, TX 77025                         HOUSTON, TX 77025




ADRIANA VEGA                             ADRIANNA MCLEOD                           ADRIANNA PEREZ
6100 WOODLAKE PKWY APT 406               10201 S. MAIN STREET                      10201 S. MAIN STREET
SAN ANTONIO, TX 78244                    HOUSTON, TX 77025                         HOUSTON, TX 77025




ADRIEL SIMEONE                           ADRIENN PARSONS                           ADRIENNE HARMON-BECKWITH
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




ADRIENNE SONNIER                         ADRIENNE THOMAS                           ADRINNA CAMPANELLI
10201 S. MAIN STREET                     20698 SANDY DR                            10201 S. MAIN STREET
HOUSTON, TX 77025                        MC CALLA, AL 35111                        HOUSTON, TX 77025




ADRIUAN HAMPTON                          ADROIT PARTNERTS LLC                      ADROIT PARTNERTS LLC
1241 CASTLE DR APT 2020                  10497 TOWN & COUNTY WAY STE 430           PO BOX 75343
GARLAND, TX 75040                        HOUSTON, TX 77024                         CHICAGO, IL 60675-5343




ADRYANNA E FEWELL                        ADS HEATING & COOLING LLC                 ADS SECURITY LP
100 FAIRVIEW CIRCLE                      218 WRIGHTSVILLE AVE                      3929 WESLEY ST
ASHLAND CITY, TN 37015                   EAST DUBLIN, GA 31027                     MYRTLE BEACH, SC 29579




ADS SECURITY LP                          ADT SECURITY SERVICES INC.                ADT SECURITY SERVICES INC-1
PO BOX 531687                            P.O. BOX 371956                           PO BOX 371967
ATLANTA, GA 30353-1687                   PITTSBURGH, PA 15250-7956                 PITTSBURGH, PA 15250-7967




ADT SECURITY SERVICES                    ADT US HOLDINGS                           ADVANCE DISPOSAL CO. INC
PO BOX 371878                            1501 YAMATO RD                            17105 MESA ST
PITTSBURGH, PA 15250-7878                BOCA RATON, FL 33431                      HESPERIA, CA 92345
ADVANCE DISPOSAL CO. INCCase   18-12241-CSS
                                        ADVANCEDoc 26 PUBLISHERS
                                                MAGAZINE Filed 10/05/18
                                                                   INC         Page 39 of 1739
                                                                                  ADVANCE MAGAZINE PUBLISHERS INC
P.O. BOX 400997                          DBA CONDE NAST                            ONE WORLD TRADE CENTER
HESPERIA, CA 92340-0997                  PO BOX 88965                              NEW YORK, NY 10007
                                         CHICAGO, IL 60695-1965




ADVANCE OHIO                             ADVANCE REAL ESTATE                       ADVANCED ALARM SERVICE INC
DEPT 77571                               1000 CHESTERFIELD BUSINESS PKWY STE       1253 OKEECHOBEE RD STE B1
PO BOX 77000                             200                                       WEST PALM BEACH, FL 33401
DETROIT, MI 48277-0571                   CHESTERFIELD, MO 63005




ADVANCED CASTER & WHEEL                  ADVANCED COMFORT TECHNOLOGIES INC         ADVANCED COMMERCIAL ROOFING
8606 NE 138TH ST                         ATTN: CHIEF FINANCIAL OFFICER             PO BOX 8280
KIRKLAND, WA 98034                       DBA INTELLIBED                            CHAMPAIGN, IL 61826
                                         3676 W CALIFORNIA AVE, STE D-100
                                         SALT LAKE CITY, UT 84104



ADVANCED CONTAINER SERVICE INC           ADVANCED CONTAINER SERVICE                ADVANCED DATA SALES, INC
P.O. BOX 205                             1715 TURNING BASIN                        119 E RHAPSODY
SCOTCH PLAINS, NJ 07076                  BLDG A                                    SAN ANTONIO, TX 78216
                                         HOUSTON, TX 77029




ADVANCED DISPOSAL SERVICES               ADVANCED DISPOSAL                         ADVANCED DISPOSAL
SOLID WASTE MIDWEST LLC A2               90 FORT WADE ROAD                         P.O. BOX 74008047
PO BOX 6484                              STE 200                                   CHICAGO, IL 60674-8047
CAROL STREAM, IL 60197-6484              PONTE VEDRA, FL 32081




ADVANCED DISPOSAL                        ADVANCED DISPOSAL                         ADVANCED FIRE AND SECURITY INC
P.O. BOX 74008053                        P.O. BOX 743019                           2701 GATEWAY DR
CHICAGO, IL 60674-8053                   ATLANTA, GA 30374-3019                    POMPANO BEACH, FL 33069




ADVANCED FIRE AND SECURITY INC           ADVANCED LIGHTING SERVICES INC            ADVANCED PROTECTION SVC INC
PO BOX 668370                            940 EMPIRE MESA WAY                       PO BOX 2665
POMPANO BEACH, FL 33066                  HENDERSON, NV 89011                       PASCO, WA 99302




ADVANCED REAL ESTATE SERVICES INC        ADVANCED ROOFING INC                      ADVANCED SERVICE SOLUTIONS INC
DBA ARES GROUP                           ACCOUNTING DEPT                           DBA ADVANCED MONITORING INC
2600 S OCEAN BLVD UNIT 4B                311 E VAN EMMON RD STE 100                11 S THIRD ST
BOCA RATON, FL 33432                     YORKVILLE, IL 60560                       HAMMONTON, NJ 08037




ADVANCED SERVICE SOLUTIONS INC           ADVANTAGE COMMERCIAL REAL ESTATE          ADVANTAGE EXPRESS
PO BOX 573                               P.O. BOX 206514                           1225 E CROSBY RD A17
HAMMONTON, NJ 08037                      LOUISVILLE, KY 40250                      CARROLLTON, TX 75006




ADVANTAGE FIXTURES RETAIL GROUP INC      ADVANTAGE HOLDINGS 3B LLC                 ADVANTAGE HOLDINGS 3B, LLC
P.O. BOX 632209                          DBA ADVANTAGE HOLDINGS LLC                DBA ADVANTAGE HOLDINGS LLC
IRVING, TX 75063                         2525 S BRENTWOOD BLVD STE 103             2525 S BRENTWOOD BLVD STE 103
                                         SAINT LOUIS, MO 63144                     SAINT LOUIS, MO 63144
                       Case
ADVANTAGE HOLDINGS 3B, LLC         18-12241-CSS    Doc
                                            ADVANTAGE   26 Filed
                                                      HOLDINGS WEST10/05/18
                                                                    VALLEY LLC Page 40 of 1739
                                                                                  ADVANTAGE HOLDINGS WEST VALLEY, LLC
DBA ADVANTAGE HOLDINGS LLC                   2525 S BRENTWOOD BLVD STE 103          2525 SOUTH BRENTWOOD, SUITE 103
2525 S BRENTWOOD BLVD STE 103                SAINT LOUIS, MO 63144                  SAINT LOUIS, MO 63144
ST. LOUIS, MO 63144




ADVANTAGE HOLDINGS WEST VALLEY, LLC          ADVANTAGE III INCORPORATED LLC         ADVANTAGE III INCORPORATED, LLC
2525 SOUTH BRENTWOOD, SUITE 103              1816 SEA SHELL COURT                   1816 SEA SHELL COURT
ST. LOUIS, MO 63144                          WINDSOR, CO 80550                      WINDSOR, CO 80550




ADVANTAGE TITLE AGENCY INC                   ADVENT SECURITY CORPORATION            ADVISORS COMMERCIAL REAL ESTATE
ADVANTAGE TITLE                              101 ROESCH AVE                         255 N. CENTER STREET, SUITE 200
201 OLD COUNTRY RD STE 200                   ORELAND, PA 19075                      ATTN: JODY HAWKINS
MELVILLE, NY 11747                                                                  ARLINGTON, TX 76011




ADVISORS COMMERCIAL REAL ESTATE              AEC PINES DEVELOPMENT LTD              AED BRANDS LLC
255 N. CENTER STREET, SUITE 200              PARTNERSHIP                            95 CHASTAIN RD NW STE 302
ATTN: RYAN DIXON                             DBA WINDSOR PINES                      KENNESAW, GA 30144
ARLINGTON, TX 76011                          1 AEC PARKWAY
                                             RICHMOND HEIGHTS, OH 44143



AED SOFT INC                                 AEISHA SPENCER                         AEJ ASSOCIATES
8752 NW 106 TERRACE                          10201 S. MAIN STREET                   C/O JUSTER DEVELOPMENT CO
HIALEAH GARDENS, FL 33018                    HOUSTON, TX 77025                      ATTN: GARY JUSTER
                                                                                    120 WHITE PLAINS ROAD, SUITE 110
                                                                                    TARRYTOWN, NY 10591-5410



AEJ ASSOCIATES                               AERIAL NIES                            AEROTEK PROFESSIONAL SERVICES
CO JUSTER DEVELOPMENT CO                     10201 S. MAIN STREET                   3689 COLLECTION CTR DR
ATTN: GARY JUSTER                            HOUSTON, TX 77025                      CHICAGO, IL 60693
120 WHITE PLAINS ROAD, SUITE 110
TARRYTOWN, NY 10591



AESTIMO INC                                  AETNA BEHAVORIAL HEALTH LLC            AETNA
955 DAIRY ASHFORD STE 204                    BOX 3791                               PNC BANK-LOCKBOCK
HOUSTON, TX 77079                            PO BOX 8500                            PO BOX 31001-1427
                                             PHILADELPHIA, PA 19178-3791            PASADENA, CA 91107




AETNA                                        AETNA                                  AEV TRUCKING LLC
PO BOX 804735                                PO BOX 88863                           12701 DUCKETTOWN RD
CHICAGO, IL 60680-4108                       CHICAGO, IL 60695                      LAUREL, MD 20708




AEV TRUCKING LLC                             AEW CORE PROPERTY TRUST US INC         AEW PROPERTIES LLC
143 WERT AVE A                               DBA CPT THE LANDING LLC                1177 N GREEN MOUNT RD STE 201
HAMILTON, NJ 08610                           C/O AEW CAPITAL MANAGEMENT LPTWO       O FALLON, IL 62269
                                             SEAPORT LANE
                                             BOSTON, MA 02210-2021



AF LIMITED PARTNERSHIP                       AF LIMITED PARTNERSHIP                 AFA PROTECTIVE SYSTEMS INC
C/O NELLIS CORP/TENANT CODE:ANNSLE           C/O NELLIS CORPORATION                 PO BOX 21030
75 REMITTANCE DR DEPT 6870                   6001 MONTROSE ROAD, SUITE 600          NEW YORK, NY 10087-1030
CHICAGO, IL 60675-6870                       POTOMAC, MD 20854
                      Case
AFC PROPERTY MANAGEMENT, INC.18-12241-CSS     Doc 26 Filed
                                      AFCO INSURANCE            10/05/18   Page 41 of 1739
                                                                              AFCO
12411 VENTURA BOULEVARD               14 WALL STREET STE 8A19                 DEPT. 0809
STUDIO CITY, CA 91604                 NEW YORK, NY 10005                      P.O. BOX 120001
                                                                              DALLAS, TX 75312-0809




AFFINITY INSURANCE LTD                AFFINITY SOLUTIONS INC                  AFFINITY4
2ND FLOOR GENESIS BUILDING            1500 CORDOVA RD STE 302                 PO BOX 248884
GEORGE TOWN KY11001                   FORT LAUDERDALE, FL 33316               OKLAHOMA CITY, OK 73124-8884
CYM




AFFIPERF LIMITED                      AFFORDABLE FIRE PROTECTION INC          AFFORDABLE LOCK & SECURITY SOLUTIONS
HAVAS HOUSE HERMITAGE CT              540 HAMILTON AVE                        PO BOX 17944
HERMITAGE LN                          LINWOOD, NJ 08221                       TAMPA, FL 33682-7944
MAIDSTONE ME16 9NT
UNITED KINGDOM



AFFORDABLE MATTRESS & FURNITURE       AFFORDABLE MATTRESS & FURNITURE         AFFORDABLE WAREHOUSE EQUIP INC.
1200 SWITZER AVE                      608 WEST AVENUE                         PO BOX 38458
ST LOUIS, MO 63147-1840               NORWALK, CT 06850                       OLMSTED FALLS, OH 44138




AFI COLUMBUS LLC                      AFI COLUMBUS, LLC                       AFI COLUMBUS, LLC
276 ARCH ST                           276 ARCH ST                             C/O PEGASUS ASSET MANAGEMENT
OCEANSIDE, NY 11572                   OCEANSIDE, NY 11572                     1901 AVENUE OF THE STARS, SUITE 630
                                                                              LOS ANGELES, CA 90067




AFIAA ELSTON LOGAN LLC                AFIAA ELSTON LOGAN LLC                  AFIN ASSET MANAGEMENT
2310 W LOGAN BLVD                     C/O MID-AMERICA ASSET MGMT INC          200 DRYDEN ROAD, SUITE 100
CHICAGO, IL 60647                     ONE PARKVIEW PLAZA 9TH FLOOR            DRESHER, PA 19025
                                      OAKBROOK TERRACE, IL 60181




AFIN ASSET MANAGEMENT                 AFLAC-REMITTANCE PROCESSING SERV        AFL-CIO BUILDING INVESTMENT TRUST
200 DRYDEN ROAD, SUITE 1100           1932 WYNNTON RD                         BIT INVESTMENT SEVENTY-NINE LLC
DRESHER, PA 19025                     COLUMBUS, GA 31999-0797                 PO BOX 741006
                                                                              LOS ANGELES, CA 90074-1006




AFL-CIO BUILDING INVESTMENT TRUST     AFNI INSURANCE SERVICES                 AFRICA FULLER
BIT INVESTMENT SEVENTY-NINE LLC       PO BOX 3068                             10201 S. MAIN STREET
PO BOX 748831                         BLOOMINGTON, IL 61702-3068              HOUSTON, TX 77025
LOS ANGELES, CA 90074-8831




AFRISHA LAVINE                        AFS LLC                                 AFS LOGISTICS LLC
10201 S. MAIN STREET                  ATTN: ACCOUNTS RECEIVABLE               DBA AFS LLC
HOUSTON, TX 77025                     PO BOX 1986                             670 EMBERWOOD DR
                                      SHREVEPORT, LA 71166-1986               SHREVEPORT, LA 71106




AFS                                   AFTON RIDGE JOINT VENTURE LLC           AFTON RIDGE JOINT VENTURE LLC
ADVANCED FIRE & SECURITY              32716 COLLECTION CENTER DR              P.O. BOX 602127
210 WEST DRIVE                        CHICAGO, IL 60693                       CHARLOTTE, NC 28260-2127
GREENSBURG, PA 15601
AG RENO INVESTMENTS LLCCase   18-12241-CSS
                                       AG RENODoc  26 Filed
                                              INVESTMENTS LLC 10/05/18        Page
                                                                                 AG42 of INVESTMENTS
                                                                                    RENO  1739       LLC
PO BOX 478                              PO BOX 478                                PO BOX 478
SALT LAKE CITY, UT 84110                SALT LAKE CITY, UT 84110                  SALT LAKE CITY, UT 84110-0478




AGATHA TRAN                             AGEM PROPERTIES                           AGERA ENERGY
10201 S. MAIN STREET                    109 49TH STREET                           555 PLEASANTVILLE ROAD
HOUSTON, TX 77025                       ATTN: KENT WOOD                           S-107
                                        HOLMES BEACH, FL 34217                    BRIARCLIFF MANOR, NY 10510




AGERA ENERGY                            AGFINITY                                  AGILITY RECOVERY SOLUTIONS
P.O. BOX 20277                          PO BOX 338                                PO BOX 600091
WACO, TX 76702                          260 FACTORY RD                            RALEIGH, NC 27675-6091
                                        EATON, CO 80615




AGM MAYFAIR PLAZA LLC                   AGM MAYFAIR PLAZA, LLC, AJM MAYFAIR       AGREE BATON ROUGE LA LLC
ATTN: AUGUST MANDARA                    PLAZA, LLC & EJB MAYFAIR PLAZA, LLC       31850 NORTHWESTERN HIGHWAY
234 BENNETT AVE                         ATTN: AUGUSTO MANDARA                     FARMINGTON HILLS, MI 48334
STATEN ISLAND, NY 10312                 234 BENNETT AVE
                                        STATEN ISLAND, NY 10312



AGREE BATON ROUGE LA LLC                AGREE BATON ROUGE LA, LLC                 AGREE BATON ROUGE LA, LLC
C/O AGREE LTD PARTNERSHIP               31850 NORTHWESTERN HIGHWAY                C/O AGREE LTD PARTNERSHIP
70 E LONG LAKE RD                       FARMINGTON HILLS, MI 48334                70 E LONG LAKE RD
BLOOMFIELD HILLS, MI 48304                                                        BLOOMFIELD HILLS, MI 48304




AGREE JOPLIN MO LLC                     AGREE JOPLIN MO LLC                       AGREE JOPLIN MO LLC
31850 N WESTERN HGHWY                   C/O AGREE LTD PARTNERSHIP                 C/O AGREE LTD PARTNERSHIP
FARMINGTON HILLS, MI 48334              70 E LONG LAKE RD                         70 E. LONG LAKE RD.
                                        BLOOMFIELD HILLS, MI 48304                BLOOMFIELD HILLS, MI 48304




AGREE LIMITED PARTNERSHIP               AGREE LIMITED PARTNERSHIP                 AGREE LIMITED PARTNERSHIP
31850 NORTHWESTERN HWY                  70 E. LONG LAKE ROAD                      70 E. LONG LAKE ROAD
FARMINGTON HILLS, MI 48334              BLOOMFIELD HILLS, MI 48304                BLOOMFIELD, MI 48304




AGREE LIMITED PARTNERSHIP               AGREE LIMITED PARTNERSHIP                 AGREE LIMITED PARTNERSHIP
AGREE REALTY CORP                       AGREE REALTY CORP                         ATTN: ACCT DEPT
70 E LONG LAKE RD                       70 E. LONG LAKE ROAD                      70 E LONG LAKE RD
BLOOMFIELD HILLS, MI 48304              BLOOMFIELD HILLS, MI 48304                BLOOMFIELD HILLS, MI 48304




AGREE LIMITED PARTNERSHIP               AGREE LIMITED PARTNERSHIP                 AGREE LIMITED PARTNERSHIP
ATTN: ACCT DEPT                         ATTN: ACCT DEPT                           ATTN: LAITH HERMIZ
70 E. LONG LAKE ROAD                    70 E. LONG LAKE ROAD                      70 E. LONG LAKE ROAD
BLOOMFIELD HILLS, MI 48304              BLOOMFIELD, MI 48304                      BLOOMFIELD HILLS, MI 48304




AGREE LIMITED PARTNERSHIP               AGREE LIMITED PARTNERSHIP                 AGREE LIMITED PARTNERSHIP
ATTN: LEASE ACCOUNTING                  ATTN: LEASE ACCOUNTING                    ATTN: RAY LAVIGNE
70 E LONG LAKE RD                       70 E. LONG LAKE ROAD                      70 E. LONG LAKE ROAD
BLOOMFIELD HILLS, MI 48304              BLOOMFIELD HILLS, MI 48304                BLOOMFIELD HILLS, MI 48304
AGREE LIMITED PARTNERSHIPCase   18-12241-CSS     Doc 26
                                         AGREE LIMITED     Filed 10/05/18
                                                       PARTNERSHIP          Page 43 of
                                                                               AGREE    1739PARTNERSHIP
                                                                                     LIMITED
ATTN: ROB COHON                           ATTN: ROB COHON                       C/O AGREE LTD PARTNERSHIP
70 E LONG LAKE RD                         70 E. LONG LAKE ROAD                  70 E LONG LAKE RD
BLOOMFIELD HILLS, MI 48304                BLOOMFIELD HILLS, MI 48304            BLOOMFIELD HILLS, MI 48304




AGREE LIMITED PARTNERSHIP                 AGREE LIMITED PARTNERSHIP             AGREE REALTY CORPORATION
C/O AGREE LTD PARTNERSHIP                 C/O AGREE REALTY CORPORATION          31850 NORTHWESTERN HIGHWAY
70 E. LONG LAKE ROAD                      70 E. LONG LAKE ROAD                  FARMINGTON HILLS, MI 48334
BLOOMFIELD HILLS, MI 48304                BLOOMFIELD HILLS, MI 48304




AGREE REALTY CORPORATION                  AGREE, LP                             AGS ANSONIA LLC
ATTN: ACCT DEPT                           C/O AGREE REALTY CORP                 501 MADISON AVENUE
70 E. LONG LAKE RD.                       70 E. LONG LAKE RD.                   FL 6
BLOOMFIELD HILLS, MI 48304                BLOOMFIELD HILLS, MI 48304            NEW YORK, NY 10022




AGS ANSONIA LLC                           AGS ANSONIA, LLC                      AGUSTIN CORDERO
501 MADISON AVENUE, SUITE 603             501 MADISON AVENUE, SUITE 603         10201 S. MAIN STREET
NEW YORK, NY 10022                        NEW YORK, NY 10022                    HOUSTON, TX 77025




AGUSTIN SERIZE                            AHBAB SHAHID                          AHDREUNA WILDER
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




AHKEEM WALKER                             AHMAD ELBANNA                         AHMED KHIDEIR
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




AHMED MAHMOOD                             AHMED MAHMOUD                         AHMED SHATNAWI
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




AHRC NYC NEW PROJECTS INC                 AHRC NYC NEW PROJECTS INC             AI LONGVIEW LLC
83 MAIDEN LN                              ATTN: RAFEL SALIM                     C/O ELLIOTT ASSOCIATES, INC.
NEW YORK, NY 10038                        83 MAIDEN LN                          901 NE GILSON STREET
                                          NEW YORK, NY 10038                    PORTLAND, OR 97232




AIA SERVICES                              AIA/MY CORPORATE EXPRESSIONS          AIDAN CLARK
AIA SERVICES LLC NDS                      ATTN: ACCT REC                        10201 S. MAIN STREET
PO BOX 31001-1900                         PO BOX 872                            HOUSTON, TX 77025
PASADENA, CA 91110                        NEENAH, WI 54957-0872




AIDIN HODZIC                              AIKEN COUNTY TREASUR                  AIKEN COUNTY
10201 S. MAIN STREET                      PO BOX 919                            ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                         AIKEN, SC 29802-0919                  PO BOX 919
                                                                                AIKEN, SC 29802-0919
                       Case
AIKEN ELECTRIC COOPERATIVE INC 18-12241-CSS     Doc 26
                                        AIKEN ELECTRIC       Filed 10/05/18
                                                        COOPERATIVE  INC      Page  44
                                                                                 AILI   of 1739
                                                                                      ARMAS
2790 WAGENER ROAD                       PO BOX 417                                10201 S. MAIN STREET
AIKEN, SC 29803                         AIKEN, SC 29802-0417                      HOUSTON, TX 77025




AIM MEDIA INDIANA OPERATING LLC          AIM MEDIA MIDWEST OPERATING LLC          AIM MEDIA MIDWEST
2980 N NATIONAL RD                       4500 LYONS RD                            PO BOX 5360
COLUMBUS, IN 47201                       MIAMISBURG, OH 45342                     MCALLEN, TX 78502-5360




AIM MEDIA TEXAS OPERATING LLC            AIM PROPERTY MANAGEMENT                  AIMAN-SMITH & MARCY, A PC
ODESSA AMERICAN                          1212 K STREET                            7677 OAKPORT ST STE 1150
PO BOX 3958                              MODESTO, CA 95354                        OAKLAND, CA 94621
MCALLEN, TX 78502




AIMEE ATKINSON                           AIMEE DUPLANTY                           AIMEE SLATER
10201 S. MAIN STREET                     1112 MULKEY LN                           10201 S. MAIN STREET
HOUSTON, TX 77025                        DENTON, TX 76209                         HOUSTON, TX 77025




AIMEE VAILLANCOURT                       AIMMIE MAGANA                            AINOR SIGNS INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                     5443 STATIONERS WAY
HOUSTON, TX 77025                        HOUSTON, TX 77025                        SACRAMENTO, CA 95842




AIR AD PROMOTIONS INC                    AIR CONDITIONING INNOVATIVE              AIR CRAFT INC
PO BOX 202066                            SOLUTIONS INC                            1916 PICADILLY DR
ARLINGTON, TX 76006                      PO BOX 3274                              ROUND ROCK, TX 78664
                                         MC KINNEY, TX 75070




AIR EXPRESS INTERNATIONAL INC            AIR FLO HEATING COMPANY                  AIR SOLUTIONS HEATING & COOLING INC
DHL GLOBAL FORWARDING                    221 WEST CEDAR ST                        2575 EDISON AVE
1801 NW 82ND AVE                         SEQUIM, WA 98382                         JACKSONVILLE, FL 32204
DORAL, FL 33126




AIR TEX MECH INC                         AIR TEX MECH INC                         AIRAM VALDES
1724 TOWNHURST DR                        PO BOX 1024                              10201 S. MAIN STREET
HOUSTON, TX 77043                        HOUSTON, TX 77253                        HOUSTON, TX 77025




AIRBRUSH IMAGES, INC.                    AIRE MASTER OF AMERICA INC               AIREL BAGGETT
851 N. FM 3083                           PO BOX 2310                              10201 S. MAIN STREET
CONROE, TX 77303                         NIXA, MO 65714                           HOUSTON, TX 77025




AIRGAS INC DBA AIRGAS USA LLC            AIRGAS INC                               AIRGAS SOUTHWEST INC
P.O. BOX 532609                          DBA AIRGAS USA LLC                       259 N RADNOR CHESTER RD
ATLANTA, GA 30353-2609                   PO BOX 802576                            RADNOR, PA 19317
                                         CHICAGO, IL 60680-2576
AIRGAS SOUTHWEST INC      Case 18-12241-CSS     Doc
                                        AIRGAS USA   26
                                                   LLC       Filed 10/05/18   Page 45 ofUSA
                                                                                 AIRGAS  1739
                                                                                            LLC
PO BOX 676015                            P.O. BOX 31000                           P.O. BOX 7423
DALLAS, TX 75267-6015                    HONOLULU, HI 96849-5494                  PASADENA, CA 91109-7423




AIRPORT ASSOCIATES LP                    AIRPORT ASSOCIATES LP                    AIRPORT ASSOCIATES, LP
GOODMAN MGMT                             636 OLD YORK RD 2ND FLR                  636 OLD YORK RD 2ND FLR
636 OLD YORK RD 2ND FLR                  JENKINTOWN, PA 19046                     JENKINTOWN, PA 19046
JENKINTOWN, PA 19046




AIRPORT ASSOCIATES, LP                   AIRPORT ASSOCIATES, LP                   AIRPORT CENTER LLC
C/O GOODMAN PROPERTIES, INC.             GOODMAN MGMT                             C/O FOURSQUARE PROPERTIES
636 OLD YORK ROAD, 2ND FLOOR             636 OLD YORK RD 2ND FLR                  5850 AVENIDA ENCINAS, SUITE A
ATTN: BRUCE A. GOODMAN                   JENKINTOWN, PA 19046                     ATTN: JEFFREY M. VITEK
JENKINTOWN, PA 19046                                                              CARLSBAD, CA 92008



AIRPORT CENTER LLC                       AIRPORT CENTER LLC                       AIRPORT CENTER, LLC
C/O FOURSQUARE PROPERTIES                P.O. BOX 30015 DEPT 50                   C/O FOURSQUARE PROPERTIES
5850 AVENIDA ENCINAS, SUITE A            SALT LAKE CITY, UT 84130                 5850 AVENIDA ENCINAS, SUITE A
ATTN: JEFFREY M. VITEK                                                            ATTN: JEFFREY M. VITEK
CARLSBAD, CA 92009                                                                CARLSBAD, CA 92009



AIRPORT GLASS INC                        AIRPORT ROAD LLC                         AIRPORT ROAD, LLC
10124 TILLEY RD S                        467 HENDERSONVILLE RD                    467 HENDERSONVILLE RD
OLYMPIA, WA 98512                        ATTN: WILLIAM C BURGIN                   ATTN: WILLIAM C BURGIN
                                         ASHEVILLE, NC 28803                      ASHEVILLE, NC 28803




AISHA GARBA                              AISHAH ANSARI                            AISHAH BONNER
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




AIVEA CORPORATION                        AJ DAVILA                                AJ GLASCO
1600 NW COMPTON DR 209                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HILLSBORO, OR 97006                      HOUSTON, TX 77025                        HOUSTON, TX 77025




AJ HARMIER                               AJ HEWITT                                AJ LOFTUS
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




AJ MIREK                                 AJ REALTY DEVELOPMENT CO LLC             AJ REALTY DEVELOPMENT COMPANY LLC
10201 S. MAIN STREET                     C/O ROXANN MGMT CORP                     ATTN: JOHN RAMSEN, ESQ
HOUSTON, TX 77025                        PO BOX 560                               7110 REPUBLIC AIRPORT, 3RD FLOOR
                                         FARMINGDALE, NY 11735                    FARMINGDALE, NY 11735




AJ SAUSEDA                               AJ THOMPSON                              AJ WALKA BROWN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
AJAH HALL                 Case 18-12241-CSS     Doc 26
                                        AJAI BALLARD        Filed 10/05/18     Page 46
                                                                                  AJK   of 1739
                                                                                      HOLDINGS LLC
10201 S. MAIN STREET                     2591 PIEDMONT RD NE 1413                  ATTN: JOHN KALYVIARIS
HOUSTON, TX 77025                        ATLANTA, GA 30324                         20922 N RAND RD
                                                                                   KILDEER, IL 60047




AJK HOLDINGS, LLC                        AJL EQUITY LLC                            AJL EQUITY, LLC
ATTN: JOHN KALYVIARIS                    8333 DOUGLAS AVE., SUITE 310              8333 DOUGLAS AVE., SUITE 310
20922 N RAND RD                          DALLAS, TX 75225                          DALLAS, TX 75225
KILDEER, IL 60047




AKAL MANAGEMENT LLC                      AKAMAI TECHNOLOGIES INC                   AKB WEST CHESTER LLC
MOHAMMAD SALLAH                          GENERAL POST OFFICE                       ATTN: AVNISH BANSAL
13516 NARROW LEAF COURT                  PO BOX 26590                              8204 SQUIRREL HOLLOW RIDGE
CLARKSVILLE, MD 21029                    NEW YORK, NY 10087-6590                   WEST CHESTER, OH 45069




AKEEN SUAREZ                             AKERMAN SENTERFITT & EIDSON PA            AKIL FLOWERS
1734 FREDRICKS BURG AVE                  PO BOX 4906                               10201 S. MAIN STREET
LAKELAND, FL 33803                       ORLANDO, FL 32802                         HOUSTON, TX 77025




AKIN SENYURT                             AKIRA RICHARD                             AKIVA LINDSEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




AKRON BEACON JOURNAL                     AKRON BEACON JOURNAL                      AKRON UTILITIES BUSINESS OFFIC
PO BOX 3661                              THE BEACON JOURNAL PUBLISHING CO          146 SOUTH HIGH ST
AKRON, OH 44309-3661                     44 E EXCHANGE ST                          ROOM 211
                                         AKRON, OH 44328                           AKRON, OH 44308




AKRON UTILITIES BUSINESS OFFIC           A-L 95 CREEKSIDE TOWN CENTER LP           A-L 95 CREEKSIDE TOWN CENTER LP
P.O. BOX 3674                            C/O NEWQUEST PROPERTIES                   MSC 185
AKRON, OH 44309-3674                     8827 W SAM HOUSTON PARKWAY N, SUITE       PO BOX 2956
                                         200                                       SAN ANTONIO, TX 78299
                                         ATTN: PROPERTY MANAGEMENT
                                         HOUSTON, TX 77040


A-L 95 CREEKSIDE TOWN CENTER, L.P.       A-L 95 CREEKSIDE TOWN CENTER, L.P.        A-L 95 CREEKSIDE TOWN CENTER, L.P.
C/O NEWQUEST PROPERTIES                  C/O NEWQUEST PROPERTIES                   MSC 185
8827 W SAM HOUSTON PARKWAY N, SUITE      8827 W SAM HOUSTON PARKWAY N, SUITE       PO BOX 2956
200                                      200                                       SAN ANTONIO, TX 78299
ATTN: PROPERTY MANAGEMENT                ATTN: PROPERTY MANAGEMENT
HOUSTON, TX 77040                        HOUSTON, TX 78299


AL BURNETTE                              AL CARRILLO                               AL DE LA CRUZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




AL GRADY                                 AL HENDERSON                              AL MCINTYRE
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025
AL MELENDEZ             Case 18-12241-CSS     Doc 26
                                      AL PATRICK           Filed 10/05/18   Page
                                                                               AL 47 of 1739
                                                                                  PATRICK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AL SANKARY & REZA MIRZADEH PTR         AL SAVERINO                             AL SMITH
DBA STERLING PROPERTIES                10201 S. MAIN STREET                    10201 S. MAIN STREET
C/O CENTRA PROPERTY MGMT               HOUSTON, TX 77025                       HOUSTON, TX 77025
1612 SUMMIT AVENUE SUITE 200
FORT WORTH, TX 76102



ALABAMA COMMUNITY NEWSPAPERS           ALABAMA DEPARTMENT OF REVENUE           ALABAMA DEPARTMENT OF REVENUE
PO BOX 25818                           ATTN: BUSINESS LICENSE DEPT.            ATTN: FRANCHISE TAX DEPT.
RICHMOND, VA 23260-5818                PO BOX 327431                           P O BOX 322790
                                       MONTGOMERY, AL 36132-7431               MONTGOMERY, AL 36132-7790




ALABAMA DEPARTMENT OF REVENUE          ALABAMA DEPARTMENT OF REVENUE           ALABAMA DEPARTMENT OF REVENUE
ATTN: INCOME TAX DEPT.                 ATTN: SALES & USE TAX DEPT.             ATTN: UNCLAIMED PROPERTY DEPT.
P O BOX 322790                         PO BOX 327431                           PO BOX 327740
MONTGOMERY, AL 36132-7790              MONTGOMERY, AL 36132-7431               MONTGOMERY, AL 36132-7740




ALABAMA DEPARTMENT OF REVENUE          ALABAMA DEPARTMENT OF REVENUE           ALABAMA DEPT OF REVENUE
BUSINESS PRIVILEGE TAX UNIT            COLLECTION SERVICES DIVISION            FOREIGN AUDIT SECTION
PO BOX 327431                          PO BOX 327820                           PO BOX 327740
MONTGOMERY, AL 36132-7431              MONTGOMERY, AL 36132-7820               MONTGOMERY, AL 36132-7740




ALABAMA DEPT OF REVENUE                ALABAMA MEDIA GROUP                     ALABAMA POWER CO
INDIVIDUAL & CORPORATE TAX DIVISION    PO BOX 77000                            600 18TH ST N
50 N RIPLEY ST                         DEPT 77571                              BIRMINGHAM, AL 35203
MONTGOMERY, AL 36104                   DETROIT, MI 48277-0571




ALABAMA POWER CO                       ALABASTER CLEANERS                      ALACHUA COUNTY TAX COLLECTOR
P.O. BOX 242                           1239 VICENTE ST                         ATTN: PROPERTY TAX DEPT.
BIRMINGHAM, AL 35292                   SAN FRANCISCO, CA 94116                 5830 NW 34TH BLVD
                                                                               GAINESVILLE, FL 32653-2115




ALAGASCO                               ALAINA KACZMARSKI                       ALAINA M RICHTSTEIG
P.O. BOX 2224                          20 N THROOP ST                          78055 DUCKWOOD TRAIL
BIRMINGHAM, AL 35246-0022              CHICAGO, IL 60607                       YULEE, FL 32097




ALAKAI MECHANICAL CORPORATION          ALAMANCE COUNTY TAX COLLECTOR           ALAMANCE COUNTY TAX COLLECTOR
2655 WAIWAI LOOP                       124 W ELM ST                            P.O. BOX 580472
HONOLULU, HI 96819                     GRAHAM, NC 27253-2802                   CHARLOTTE, NC 28258-0472




ALAMANCE CROSSING CMBS LLC             ALAMANCE CROSSING CMBS LLC              ALAMANCE CROSSING CMBS, LLC
CBL CENTER, STE 500                    PO BOX 74492                            C/O CBL & ASSOCIATES MANAGEMENT, INC.
2030 HAMILTON PL BLVD                  CLEVELAND, OH 44194-4492                2030 HAMILTON PLACE BOULEVARD
CHATTANOOGA, TN 37421-6038                                                     CBL CENTER, SUITE 500
                                                                               CHATTANOOGA, TN 37421
ALAMANCE CROSSING CMBS,Case
                        LLC   18-12241-CSS    Doc
                                       ALAMANCE    26 Filed
                                                CROSSING LLC 10/05/18   Page 48 of 1739
                                                                           ALAMANCE CROSSING LLC
PO BOX 746209                          1080 PIPER LN                        P.O. BOX 74492
ATLANTA, GA 30353-6209                 BURLINGTON, NC 27215                 CLEVELAND, OH 44194




ALAMANCE                               ALAMEDA COUNTY FAIRS ASSOC INC       ALAMEDA COUNTY TAX COLLECTOR
ATTN: PROPERTY TAX DEPT.               4501 PLEASANTON AVE                  ATTN: PROPERTY TAX DEPT.
118 W HARDEN ST                        PLEASANTON, CA 94566                 1221 OAK ST
GRAHAM, NC 27253                                                            OAKLAND, CA 94612-4285




ALAMEDA COUNTY WATER DISTRICT          ALAMEDA COUNTY WATER DISTRICT        ALAMEDA MUNICIPAL POWER
ATTN OFFICE OF THE GENERAL MANAGER     P.O. BOX 45676                       2000 GRAND ST
43885 S GRIMMER BLVD                   SAN FRANCISCO, CA 94145-0676         ALAMEDA, CA 94501
FREMONT, CA 94538




ALAMEDA MUNICIPAL POWER                ALAMO CROSSING                       ALAMO QUARRY
PO BOX 511427                          CRP HOLDINGS T-2 LP                  11455 EL CAMINO REAL STE 200
LOS ANGELES, CA 90051                  PO BOX 915252                        SAN DIEGO, CA 92130-2047
                                       DALLAS, TX 75391-5252




ALAMO QUARRY                           ALAMO STONECREST HOLDINGS, LLC       ALAN & SUSAN KOSTEN
PO BOX 842936                          C/O AMERICAN ASSETS TRUST            DBA PREMIER MGMT CO
SAN DIEGO, CA 92130                    MANAGEMENT, LLC                      C/O LURIE & ASSO LLC
                                       11455 EL CAMINO REAL 200             2650 THOUSAND OAKS BLVD STE 2350
                                       SAN DIEGO, CA 92130                  MEMPHIS, TN 38118



ALAN ADAMS                             ALAN AXMAN                           ALAN BARNES
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




ALAN BIBER                             ALAN BOYER                           ALAN BUDWILL
10201 S. MAIN STREET                   10201 S. MAIN STREET                 545 EAGLE COVE DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                    FRIDAY HARBOR, WA 98250




ALAN CACERES                           ALAN COHEN                           ALAN DABLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




ALAN DAVIS                             ALAN DOWNING                         ALAN FIELDS
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




ALAN FUHREMANN                         ALAN GLATZEL                         ALAN GREENBERG
2501 CATHEDRAL OAKS PLACE              10201 S. MAIN STREET                 10201 S. MAIN STREET
PLANT CITY, FL 33565                   HOUSTON, TX 77025                    HOUSTON, TX 77025
ALAN HAVER             Case   18-12241-CSS    Doc 26
                                       ALAN HOFFMAN       Filed 10/05/18   Page 49JACKSON
                                                                              ALAN of 1739
10860 WASHINGTON BAY DRIVE             10201 S. MAIN STREET                   10201 S. MAIN STREET
FISHERS, IN 46037                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALAN K TOBIA                           ALAN KANE                              ALAN KLAVON
3309 MONTELENA COURT                   10201 S. MAIN STREET                   10201 S. MAIN STREET
MODESTO, CA 95355                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALAN LEPORE                            ALAN MORRIS                            ALAN MURILLO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALAN OJEDA                             ALAN P. GARUBBA, ATTORNEY AT LAW       ALAN QUICHO
10201 S. MAIN STREET                   115 CUMBERLAND PARKWAY, UNIT 1         10201 S. MAIN STREET
HOUSTON, TX 77025                      MECHANICSBURG, PA 17055                HOUSTON, TX 77025




ALAN RASKIN                            ALAN RICHMAN                           ALAN ROMULUS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALAN S PHILLIPS                        ALAN SCHATZ                            ALAN VANDERWERF
4800 KELLER SPRINGS RD 1343            10201 S. MAIN STREET                   10201 S. MAIN STREET
ADDISON, TX 75001                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALAN VENTURA                           ALAN WINGENDER                         ALAN ZELLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALANA ASHWORTH                         ALANA LYNN                             ALANA MCCOY
10201 S. MAIN STREET                   622 S LATAH ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                      BOISE, ID 83705                        HOUSTON, TX 77025




ALANA TROTTER                          ALANNA TROY                            ALARM ELECTRONICS & COMMUNICATIONS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   11025 N DEER HILL LN
HOUSTON, TX 77025                      HOUSTON, TX 77025                      PRESCOTT, AZ 86305




ALARMS AZ                              ALASKA DEPT OF COMMERCE                ALASKA DEPT OF REVENUE
PO BOX 42867                           PO BOX 110806                          550 W 7TH AVE
PHOENIX, AZ 85080-2867                 JUNEAU, AK 99811-0806                  STE 500
                                                                              ANCHORAGE, AK 99501-3555
ALASKA DEPT OF REVENUE Case      18-12241-CSS    Doc 26 INC.
                                          ALASKA MATTRESS, Filed 10/05/18     Page 50 ofMATTRESS,
                                                                                 ALASKA  1739 INC.
PO BOX 110420                              940 E. 36TH AVENUE                    C/O DURRELL LAW GROUP P.C.
JUNEAU, AK 99811-0420                      ANCHORAGE, AK 99503                   ATTN: SUSAN L. BEACH
                                                                                 1400 WEST BENSON BLVD., STE. 370
                                                                                 ANCHORAGE, AK 99503



ALASKA STATE FAIR INC                      ALATAX                                ALAYNA PUTSCHER
2075 GLENN HWY                             ATTN: SALES & USE TAX DEPT.           530 E 100 S 104
PALMER, AK 99645                           50 NORTH RIPLEY STREET                SALT LAKE CITY, UT 84102
                                           MONTGOMERY, AL 36104




ALAYNA ROBINSON                            ALAYSIA CHANCELLOR                    ALBA VILLAGE REGENCY LLC
401 MAJESTIC CT                            10201 S. MAIN STREET                  NORTHGATE MARKETPLACE
PEACHTREE CITY, GA 30269                   HOUSTON, TX 77025                     PO BOX 31001-0740
                                                                                 PASADENA, CA 91110-0740




ALBA VILLAGE REGENCY, LLC                  ALBA VILLAGE REGENCY, LLC             ALBA VILLAGE REGENCY, LLC
C/O REGENCY CENTER CORPORATION             C/O REGENCY CENTER CORPORATION        C/O REGENCY CENTERS CORPORATION
ONE INDEPENDENT DRIVE, SUITE 114           ONE INDEPENDENT DRIVE, SUITE 114      5335 SW MEADOWS, SUITE 295
ATTN: LEASE ADMINISTRATION                 ATTN: LEGAL DEPARTMENT                ATTN: ASHLEY GARRON
JACKSONVILLE, FL 32202-5019                JACKSONVILLE, FL 32202-5019           LAKE OSWEGO, OR 97035



ALBA VILLAGE REGENCY, LLC                  ALBAN TARDIF                          ALBANELLY DIAZ
NORTHGATE MARKETPLACE                      10201 S. MAIN STREET                  10201 S. MAIN STREET
PO BOX 31001-0740                          HOUSTON, TX 77025                     HOUSTON, TX 77025
PASADENA, CA 91110-0740




ALBANY INDUSTRIES INC                      ALBANY INDUSTRIES INC                 ALBANY MUNICIPAL COURT
504 N GLENFIELD RD                         PO BOX 1000 DEP 993                   240 PINE AVE
NEW ALBANY, MS 38652                       MEMPHIS, TN 38148-0993                ALBANY, GA 31701




ALBANY TIMES UNION                         ALBANY UTILITES                       ALBANY UTILITES
PO BOX 80068                               P.O. BOX 1788                         PUBLIC WORKS DEPT
PRESCOTT, AZ 86304-8068                    ALBANY, GA 31702-1788                 1900 N MONROE ST
                                                                                 ALBANY, GA 31701




ALBANY UTILITES                            ALBANY WATER GAS & LIGHT              ALBEMARLE CROSSING II LLC
UTILITY OPERATIONS DEPT                    P.O. BOX 1788                         PO BOX 36799
1726 LILY POND RD                          ALBANY, GA 31702-1788                 CHARLOTTE, NC 28236-6799
ALBANY, GA 31701




ALBEMARLE CROSSING II, LLC                 ALBEMARLE CROSSING II, LLC            ALBEMARLE CROSSING II, LLC
C/O COLLETT & ASSOCIATES                   C/O COLLETT & ASSOCIATES              PO BOX 36799
1111 METROPOLITAN AVENUE, #700             1111 METROPOLITAN AVENUE, 700         CHARLOTTE, NC 28236-6799
ATTN: JOHN COLLETT                         ATTN: KIM FOX
CHARLOTTE, NC 28204                        CHARLOTTE, NC 28202



ALBEMARLE ELECTRIC MEMBERSHIP CORP         ALBEMARLE                             ALBERT DOMINGUEZ
P.O. BOX 69                                ATTN: PROPERTY TAX DEPT.              11281 HERON BAY BLVD 3123
HERTFORD, NC 27944-0069                    P.O. BOX 190                          CORAL SPRINGS, FL 33076
                                           ALBEMARLE, NC 28002
ALBERT FAULKNER         Case   18-12241-CSS     Doc 26 Filed 10/05/18
                                        ALBERT FORSYTHE                 Page 51 ofFRANCIS
                                                                           ALBERT  1739
1511 CHESTNUT ST                        10201 S. MAIN STREET                10201 S. MAIN STREET
BOWLING GREEN, KY 42101                 HOUSTON, TX 77025                   HOUSTON, TX 77025




ALBERT FRIEND                           ALBERT HERRERA                      ALBERT JOHNSTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




ALBERT KIRK                             ALBERT LEONETTI                     ALBERT LEWIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




ALBERT MATA                             ALBERT OUTDOOR ADVERTISING          ALBERT QUINTERO
10201 S. MAIN STREET                    6510 LBJ FREEWAY STE 100            DBA AM MOVERS LLC
HOUSTON, TX 77025                       DALLAS, TX 75240                    8823 LOOP 540
                                                                            BEASLEY, TX 77417




ALBERT SALADINO                         ALBERT SNOW                         ALBERT STANISH
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




ALBERT VOGT                             ALBERT WERTHAUSER                   ALBERT ZAPPITELLI
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




ALBERTA DEVELOPMENT                     ALBERTO ALVAREZ                     ALBERTO FERNANDEZ
5750 DTC PARKWAY, SUITE 210             10201 S. MAIN STREET                10201 S. MAIN STREET
GREENWOOD VILLAGE, CO 80111             HOUSTON, TX 77025                   HOUSTON, TX 77025




ALBERTO PAGAN                           ALBERTO ROMERO                      ALBERTO TORRES
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




ALBION FIRE DISTRICT                    ALC ARCHITECTURE                    ALCOTT ESTATES, LP
PO BOX 579                              1119 E STATE ST STE 120             C/O PACIFIC VIEW COMPANIES
ALBION, RI 02802                        EAGLE, ID 83616-6028                8100 LA MESA BOULEVARD, #101
                                                                            LA MESA, CA 91942




ALCOTT ESTATES, LP                      ALDINE ISD                          ALDO MAZUL
C/O PACIFIC VIEW COMPANIES              PO BOX 203989                       10201 S. MAIN STREET
8100 LA MESA BOULEVARD, 101             HOUSTON, TX 77216-3989              HOUSTON, TX 77025
LA MESA, CA 91942
ALDON WILSON           Case 18-12241-CSS
                                     ALDRICH,Doc
                                             JEAN 26      Filed 10/05/18   Page 52 of
                                                                              ALEAH   1739
                                                                                    COTTEN
10201 S. MAIN STREET                  3610 GAVIOTA DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                     RUSKIN, FLORIDA 33573-6701              HOUSTON, TX 77025




ALEC BROWN                            ALEC FAIRBANKS                          ALEC GARCIA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ALEC HEFT                             ALEC MIRMOHAMED                         ALEC RYAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ALEC WENZEL                           ALECIA LARRIER                          ALECIA LUMZY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ALECIA SMITH                          ALEESYA BURTON                          ALEEYAH ELDER
10201 S. MAIN STREET                  4484 PEACHTREE RD NE 445                10201 S. MAIN STREET
HOUSTON, TX 77025                     ATLANTA, GA 30319                       HOUSTON, TX 77025




ALEJANDRA HERNANDEZ                   ALEJANDRA RODRIGUEZ                     ALEJANDRO AGUILERA ROJAS
10201 S. MAIN STREET                  542 EASTLAKE ST.                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77023                       HOUSTON, TX 77025




ALEJANDRO BARREDA                     ALEJANDRO BAUTISTA                      ALEJANDRO CASTILLO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ALEJANDRO CHAVEZ                      ALEJANDRO CHEGUE                        ALEJANDRO GUARDADO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ALEJANDRO GUERRA                      ALEJANDRO M WELER                       ALEJANDRO RODRIGUEZ
10201 S. MAIN STREET                  7709 W 36TH AVE UNIT 1                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HIALEAH, FL 33018                       HOUSTON, TX 77025




ALEJANDRO SANCHEZ                     ALEJANDRO SULBARAN                      ALEKSANDR VOLK
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
ALEMAYEHU MINILIK      Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                     ALERE TOXICOLOGY               Page 53 of
                                                                       ALERT    1739
                                                                             FIRST AID SERVICE
10201 S. MAIN STREET                 PRODUCTS DIVISION                  PO BOX 75523
HOUSTON, TX 77025                    BOX 536506                         COLORADO SPRINGS, CO 80970
                                     PITTSBURGH, PA 15253-5907




ALESHIA HALBERT                      ALEVIZOS CONCORD TRUST INC         ALEVIZOS CONCORD TRUST, INC
10201 S. MAIN STREET                 ATTN: ROBERT ALEVIZOS              ATTN: ROBERT ALEVIZOS
HOUSTON, TX 77025                    2 LAKE ROAD                        2 LAKE ROAD
                                     WELLESLEY, MA 02482                WELLESLEY, MA 02482




ALEX ALMEIDA                         ALEX ALVARADO                      ALEX AMEZQUITA-CASTRO
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEX BALDWIN                         ALEX BELLINI                       ALEX BIRCH
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEX BOWE BOWE                       ALEX CARLIN                        ALEX CHARLES
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEX CHAVEZ                          ALEX CLAUSEN                       ALEX COLEMAN
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEX COLEMAN                         ALEX DAVIS                         ALEX DIAZ
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEX ELDRIDGE                        ALEX ESTEVEZ                       ALEX FALK
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEX FEIRMAN                         ALEX FERLAND                       ALEX FINK
10201 S. MAIN STREET                 10201 S. MAIN STREET               222 SOUTH CENTER ST
HOUSTON, TX 77025                    HOUSTON, TX 77025                  COLLINSVILLE, IL 62234




ALEX GAISWINKLER                     ALEX GALLIPO                       ALEX GARCIA
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025
ALEX GARRETT            Case 18-12241-CSS     Doc 26
                                      ALEX GILLIS         Filed 10/05/18   Page 54GRANINA
                                                                              ALEX of 1739
328 SW 34TH ST APT 24                  10201 S. MAIN STREET                   2868 LAW MILL RD
GAINESVILLE, FL 32607                  HOUSTON, TX 77025                      WANTAGH, NY 11793




ALEX GREGORY                           ALEX GUTIERREZ                         ALEX HAMILTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX HARTMAN                           ALEX HOLMAN                            ALEX HOTTMANN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX IDES                              ALEX JOHNSON                           ALEX JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX KASTELIC                          ALEX KHAMISTOS                         ALEX KHAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX KOSKA                             ALEX KULICK                            ALEX KUZMINCHUK
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX KWIATKOWSKI                       ALEX LAMOURT                           ALEX LAVALLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX LAVIAN                            ALEX LECLERC                           ALEX LEE
344 WEST 72ND ST 5A                    10201 S. MAIN STREET                   10201 S. MAIN STREET
NEW YORK, NY 10023                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX LEE                               ALEX LIST                              ALEX MACEDA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   11901 4TH ST APT 5301
HOUSTON, TX 77025                      HOUSTON, TX 77025                      SAINT PETERSBURG, FL 33716




ALEX MAREFKA                           ALEX MARTINEZ                          ALEX MCDANIEL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
ALEX MEREDITH          Case 18-12241-CSS     Doc 26
                                     ALEX MILLER         Filed 10/05/18   Page 55PACKETT
                                                                             ALEX of 1739
10201 S. MAIN STREET                  3733 3C MORRIS FARM DR                 10201 S. MAIN STREET
HOUSTON, TX 77025                     GREENSBORO, NC 27409                   HOUSTON, TX 77025




ALEX PEMBERTON                        ALEX POIRIER                           ALEX POOLE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX PUTNAM                           ALEX QUINTANA                          ALEX RAETTIG
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX REMINICK                         ALEX RIBBLE                            ALEX RODRIGUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX RODRIGUEZ                        ALEX ROSENTAL                          ALEX SAFONOV
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX SANDOVAL                         ALEX SAVELIEV                          ALEX SCHWIMMER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX SHEPPARD                         ALEX STEIN                             ALEX STENGER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX THOMAS                           ALEX THOMPSON REALTY INC               ALEX TYLER PETTIT
10201 S. MAIN STREET                  PO BOX 24325                           1835 WEST 3RD ST
HOUSTON, TX 77025                     SAINT SIMONS ISLAND, GA 31522          WATERLOO, IA 50701




ALEX WEISS                            ALEX WEISS                             ALEX WHITT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ALEX WILLIAMS                         ALEX YBARRA                            ALEX ZAPATA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
ALEXA BRYANT           Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                     ALEXA CHENOWETH                           Page 56 of
                                                                                  ALEXA   1739
                                                                                        SMITH
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




ALEXANDER AGUILA                      ALEXANDER BERRY                             ALEXANDER BROWN
10201 S. MAIN STREET                  603 HUSKE STREET                            10201 S. MAIN STREET
HOUSTON, TX 77025                     FAYETTEVILLE, NC 28305                      HOUSTON, TX 77025




ALEXANDER CAMACHO                     ALEXANDER CROWN                             ALEXANDER DANESI
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




ALEXANDER DEITCH, ET AL.              ALEXANDER DEITCH, ET AL.                    ALEXANDER DERSCHEID
C/O LAMINACK PIRTLE & MARTINES, LLP   C/O SCHULTEN WARD TURNER & WEISS, LLP       10201 S. MAIN STREET
ATTN: THOMAS W. PIRTLE                ATTN: KEVIN L. WARD                         HOUSTON, TX 77025
5020 MONTROSE BOULEVARD, 9TH FLOOR    260 PEACHTREE STREET, N.W., SUITE 2700
HOUSTON, TX 77006                     ATLANTA, GA 30303



ALEXANDER EVANS                       ALEXANDER FOX                               ALEXANDER GOUNKO
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




ALEXANDER GRUBER                      ALEXANDER HIDALGO                           ALEXANDER HORTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




ALEXANDER HUNTER                      ALEXANDER JOHNSON                           ALEXANDER LEFEBRE
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




ALEXANDER MORALES DEIDA               ALEXANDER PARTY RENTALS                     ALEXANDER PIERSANTE-HORN
10201 S. MAIN STREET                  1127 ANDOVER PARK W BLDG. D                 10201 S. MAIN STREET
HOUSTON, TX 77025                     SEATTLE, WA 98188                           HOUSTON, TX 77025




ALEXANDER PUTZ                        ALEXANDER RAMIREZ                           ALEXANDER ROYSTON, LLP
10201 S. MAIN STREET                  10201 S. MAIN STREET                        ATTN: WILLIAM H. MATHIEU
HOUSTON, TX 77025                     HOUSTON, TX 77025                           1121 FLOYD STREET
                                                                                  COVINGTON, GA 30014




ALEXANDER SCHEIN                      ALEXANDER SCOTT                             ALEXANDER SHELTON
3016 N HARLEM UNIT 3                  10201 S. MAIN STREET                        10201 S. MAIN STREET
CHICAGO, IL 60634                     HOUSTON, TX 77025                           HOUSTON, TX 77025
ALEXANDER STEWART         Case 18-12241-CSS    Doc
                                        ALEXANDER   26 Filed 10/05/18
                                                  STRONG                Page 57 of 1739
                                                                           ALEXANDER VELEZ
10201 S. MAIN STREET                    10746 N CYPRESS                    10201 S. MAIN STREET
HOUSTON, TX 77025                       CEDAR HILLS, UT 84062              HOUSTON, TX 77025




ALEXANDER WEST                          ALEXANDER WILLIAMS                 ALEXANDER ZEIGER
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEXANDERA TEDESCO                      ALEXANDRA ACOSTA ZAPATA            ALEXANDRA ARZOLA
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEXANDRA ASALEE MONROE                 ALEXANDRA BROWN                    ALEXANDRA CIORRA
307 6TH AVE                             10201 S. MAIN STREET               10201 S. MAIN STREET
COLUMBIA, TN 38401                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEXANDRA CLAUSEN                       ALEXANDRA CORTES                   ALEXANDRA CRUZ
246 PUTNAM ST                           10201 S. MAIN STREET               10201 S. MAIN STREET
HARTFORD, CT 06106                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEXANDRA DWYER                         ALEXANDRA FLAHERTY                 ALEXANDRA KIMES
14427 TWIN ELM WOODS                    10201 S. MAIN STREET               10201 S. MAIN STREET
SAN ANTONIO, TX 78249                   HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEXANDRA LEAPHART                      ALEXANDRA MARCANO                  ALEXANDRA RENTALS
10201 S. MAIN STREET                    10201 S. MAIN STREET               813 DIPPING LANE
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77076




ALEXANDRA ROSALES                       ALEXANDRA SHIMER-JOHNSON           ALEXANDRA SOTO
2302 W LOOP 289 APT 707                 10201 S. MAIN STREET               10201 S. MAIN STREET
LUBBOCK, TX 79407                       HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEXANDRE DECASTRO                      ALEXANDREA FABIAN                  ALEXANDRIA BAXTER
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




ALEXANDRIA DALTON                       ALEXANDRIA DESANTIAGO              ALEXANDRIA ESPINOZA
426 N. BELMAR AVE                       10201 S. MAIN STREET               2101 LAYARD AVE APT 1
INDIANAPOLIS, IN 46219                  HOUSTON, TX 77025                  RACINE, WI 53404
ALEXANDRIA MCCARY         Case 18-12241-CSS    DocRENEW
                                        ALEXANDRIA 26 ENTERPRISES
                                                        Filed 10/05/18   Page 58 of 1739
                                                                            ALEXANDRIA RENEW ENTERPRISES
10201 S. MAIN STREET                     1800 LIMERICK ST                    P.O. BOX 26428
HOUSTON, TX 77025                        ALEXANDRIA, VA 22314                ALEXANDRIA, VA 22313-6428




ALEXANDRIA WINTERBURN                    ALEXANDRIA                          ALEXCIA HAMPTON
47 CROSS POINTE                          ATTN: PROPERTY TAX DEPT.            10201 S. MAIN STREET
GREENVILLE, SC 29607                     P.O. BOX 1925                       HOUSTON, TX 77025
                                         LAKE CHARLES, LA 70602-1925




ALEXI SCHAEFER                           ALEXIA BARROW                       ALEXIA MCGHEE
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




ALEXION PROPERTIES LLC                   ALEXIS ALAMO                        ALEXIS DAVILA
ATTN: DINO ALEX                          10201 S. MAIN STREET                10201 S. MAIN STREET
690 BRAEBURN DR                          HOUSTON, TX 77025                   HOUSTON, TX 77025
INVERNESS, IL 60067




ALEXIS DAVIS                             ALEXIS DERBIGNY                     ALEXIS DESARIO
2200 E PRESERVE WAY 108                  10201 S. MAIN STREET                10201 S. MAIN STREET
MIRAMAR, FL 33025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




ALEXIS FIORE                             ALEXIS JACKSON                      ALEXIS JOHNSON
5 BEAVER CIRCLE                          10201 S. MAIN STREET                10201 S. MAIN STREET
STRATFORD, NJ 08084                      HOUSTON, TX 77025                   HOUSTON, TX 77025




ALEXIS LABINE                            ALEXIS MATEO                        ALEXIS MCCARY
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




ALEXIS MONTANO                           ALEXIS PEKAS                        ALEXIS PERALTA
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




ALEXIS POZDOL                            ALEXIS ROBINSON                     ALEXIS ROYSTER
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




ALEXIS SALAZAR                           ALEXIS SANABRIA                     ALEXIS STALCUP
                                         10201 S. MAIN STREET                10201 S. MAIN STREET
                                         HOUSTON, TX 77025                   HOUSTON, TX 77025
ALEXIS VEGA              Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                       ALEXIS WOODFORK-HINTON                  Page 59 of
                                                                                  ALEXIS   1739
                                                                                         Y BENNING
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10350 BARON DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                           SAN DIEGO, CA 92126




ALEXSANDER SHTARKMAN                   ALEXY MUNOZ-MENA                            ALF HAMD LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                        5109 80TH ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                           LUBBOCK, TX 79424




ALF HAMD LLC                           ALFONSO IBAREZ                              ALFONSO RIVERA
C/O COLDWELL BANKER COMMERCIAL         10201 S. MAIN STREET                        10201 S. MAIN STREET
4918 S LOOP 289                        HOUSTON, TX 77025                           HOUSTON, TX 77025
LUBBOCK, TX 79414




ALFONSO RODRIGUEZ                      ALFONSO VIDRIO                              ALFRED FRIEDLANDER JOEL & LAWRENCE
10201 S. MAIN STREET                   10201 S. MAIN STREET                        LEVY
HOUSTON, TX 77025                      HOUSTON, TX 77025                           C/O RPI MGMT CO LLC
                                                                                   5333 GULFTON
                                                                                   HOUSTON, TX 77081



ALFRED FRIEDLANDER JOEL &              ALFRED KRIST DBA BRUNSWICK EQUITY LLC       ALFRED MARRAPESE
LAWRENCE LEVY                          13500 PEARL RD STE 139-369                  1433-A SAN JUAN CT
C/O RPI MGMT CO LLC                    STRONGSVILLE, OH 44136                      CLEARWATER, FL 33756
5333 GULFTON
HOUSTON, TX 77081



ALFRED MUNGER                          ALFRED PALAFOX                              ALFRED PAUL THOMAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                        6221 N WHALEBACK PL
HOUSTON, TX 77025                      HOUSTON, TX 77025                           TUCSON, AZ 85750




ALFRED TATE SMITH                      ALFRED TOWNES                               ALFRED WALSH
1300 TRIBUTE CENTER DR                 10201 S. MAIN STREET                        10201 S. MAIN STREET
RALEIGH, NC 27612                      HOUSTON, TX 77025                           HOUSTON, TX 77025




ALFREDO B VAZQUEZ                      ALFREDO CASAS                               ALFREDO CHAVEZ
11253 NW 15 PLACE                      10201 S. MAIN STREET                        10201 S. MAIN STREET
PEMBROKE PINES, FL 33026               HOUSTON, TX 77025                           HOUSTON, TX 77025




ALFREDO GALARZA                        ALFREDO HERNANDEZ                           ALFREDO HERNANDEZ
10201 S. MAIN STREET                   2321 MAPLE DR                               2619 WILSHIRE
HOUSTON, TX 77025                      LITTLE ELM, TX 75068                        HOUSTON, TX 77023




ALFREDO RODRIGUEZ                      ALFREDO RUFFOLO                             ALFREDO VILLASMIL
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025
ALGIA CLARK                Case 18-12241-CSS    Doc 26
                                         ALGON WRIGHT       Filed 10/05/18   Page 60 of 1739
                                                                                ALGONQUIN COMMONS
10201 S. MAIN STREET                     10201 S. MAIN STREET                   C/O MID-AMERICA ASSET MANAGEMENT,
HOUSTON, TX 77025                        HOUSTON, TX 77025                      INC.
                                                                                ONE PARKVIEW PLAZA, 9TH FLOOR
                                                                                OAKBROOK TERRACE, IL 60181



ALGONQUIN WOODSCREEK PARTNERS LLC        ALHAMBRA & SIERRA SPRINGS              ALI AL ASADI
MCVICKERS DEV                            P.O. BOX 660579                        10201 S. MAIN STREET
2150 E LAKECOOK RD STE 320               DALLAS, TX 75266-0579                  HOUSTON, TX 77025
BUFFALO GROVE, IL 60089




ALI ATTAI                                ALI BIGGS                              ALI FISHER
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




ALI HEFFRON                              ALI KASAM                              ALI MAHMOUD
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




ALI NOBLE                                ALIAKBER YUSUFALI                      ALICE BOSWELL
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




ALICE DEROUX                             ALICE ROWE                             ALICE YOUNG
803 S LARK ELLEN AVE                     10201 S. MAIN STREET                   10201 S. MAIN STREET
WEST COVINA, CA 91791                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ALICIA ASSOCIATES                        ALICIA AUSTIN                          ALICIA BELTRAN
ATTN: JOSEPH HEINEY                      10201 S. MAIN STREET                   1529 E BROOKSIDE
1811 OCEAN PARKWAY, UNIT 2E              HOUSTON, TX 77025                      ONTARIO, CA 91761
BROOKLYN, NY 11223




ALICIA BETH MESSERSMITH                  ALICIA CHEW                            ALICIA CONDE
4315 RANDON LANE                         DBA ALICIA TENISE LLC                  2401 S BAGDAD RD B
MERRITT ISLAND, FL 32952                 1133 N 4TH ST APT 408                  LEANDER, TX 78641
                                         PHILADELPHIA, PA 19123




ALICIA EDMUNDS                           ALICIA GARZA                           ALICIA HALL
10201 S. MAIN STREET                     10201 S. MAIN STREET                   504 WILSHIRE DR
HOUSTON, TX 77025                        HOUSTON, TX 77025                      BELLEVUE, NE 68005




ALICIA HARRIS                            ALICIA LEATHERWOOD                     ALICIA LEFEBVRE
3330 SOUTHWESTERN RD CR222               10201 S. MAIN STREET                   16338 PATRIOT WAY
MANVEL, TX 77578                         HOUSTON, TX 77025                      WEST GREENWICH, RI 02817
ALICIA LIPPARD           Case 18-12241-CSS     Doc 26
                                       ALICIA MAY           Filed 10/05/18   Page 61 of
                                                                                ALICIA    1739
                                                                                       MILETIC
10201 S. MAIN STREET                    10201 S. MAIN STREET                     100 BARCLAY DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                        NUTLEY, NJ 07110




ALICIA MONTANO                          ALICIA MOSER                             ALICIA PALMER
3633 E 28TH ST                          2945 LETA LN                             10201 S. MAIN STREET
TUCSON, AZ 85713                        SACRAMENTO, CA 95821                     HOUSTON, TX 77025




ALICIA PAYNE                            ALICIA PHAN                              ALICIA RIVERA
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ALICIA SCOTT                            ALICJA MORAWSKA-RANEY                    ALIEF ISD TAX OFFICE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     P.O. BOX 368
HOUSTON, TX 77025                       HOUSTON, TX 77025                        ALIEF, TX 77411




ALIEU ABDULLAH                          ALIGHT SOLUTIONS LLC                     ALIGN STRATEGIC PARTNERS LLC
10201 S. MAIN STREET                    PO BOX 95135                             ATTN: ACCTS RECV.
HOUSTON, TX 77025                       CHICAGO, IL 60694-5135                   221 N LASALLE STE 1307
                                                                                 CHICAGO, IL 60601




ALINA LEMBERG                           ALINA MCLENDON                           ALINA OLSEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




A-LINE FIRE AND SAFETY, INC             ALISA ALBRECHTA                          ALISHA BURRELL
2100 SOUTH ST                           10201 S. MAIN STREET                     10201 S. MAIN STREET
LEESBURY, FL 34748                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ALISHA GARCIA                           ALISHA JOHNSON                           ALISHA LOVELACE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ALISHA MILLER                           ALISON AHEARN                            ALISON BALL
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ALISON GELLES                           ALISON OWENS                             ALISSA ROWE
789 WEST END AVE                        1335 WHITE BEAR AVE                      10201 S. MAIN STREET
NEW YORK, NY 10025                      SAINT PAUL, MN 55106                     HOUSTON, TX 77025
                       Case
ALIXPARTNERS HOLDINGS LLP      18-12241-CSS     Doc 26
                                        ALIXPARTNERS LLP Filed 10/05/18   Page 62 MATTHEWS
                                                                             ALIYA of 1739
909 THIRD AVE FL 29-30                   PO BOX 5838                         10201 S. MAIN STREET
NEW YORK, NY 10022                       CAROL STREAM, IL 60197-5838         HOUSTON, TX 77025




ALIYA MATTHEWS                           ALIYA TISDOM                        ALIYAH DELACRUZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




ALL ABOUT DOORS INC                      ALL AMERICAN ASHPHALT &             ALL AMERICAN FIRE PROTECTION OF
PO BOX 48793                             CONSTRUCTION INC                    FAYETTEVILLE INC
FORT WORTH, TX 76148                     PO BOX 1405                         159 S MAIN ST
                                         TOPEKA, KS 66601                    SPRING LAKE, NC 28390




ALL AMERICAN FIRE PROTECTION OF          ALL AMERICAN LOCKSMITH              ALL BASES REALTY LLC
FAYETTEVILLE INC                         PO BOX 851131                       C/O EAST WEST REALTY
PO BOX 437                               MESQUITE, TX 75185                  P.O. BOX 1766
SPRING LAKE, NC 28390                                                        FORT LEE, NJ 07024




ALL BASES REALTY LLC                     ALL BRIGHT SANITATION               ALL BRIGHT SANITATION
C/O EAST WEST REALTY                     1835 W UNION AVE, STE 9             P.O. BOX 2270
PO BOX 1766                              ENGLEWOOD, CO 80110-5565            ENGLEWOOD, CO 80150-2270
FORT LEE, NJ 07024




ALL COPY PRODUCTS INC                    ALL DOORS                           ALL FLEET SERVICES INC
4141 COLORADO BLVD                       PO BOX 1411                         PO BOX 16253
DENVER, CO 80216                         PASCO, WA 99301                     GREENVILLE, SC 29606




ALL IN 1 POSTER CO INC                   ALL PALLET RECYCLING                ALL PRO BROADCASTING RIVERSIDE
8521 WHITAKER ST                         PO BOX 290677                       242 E AIRPORT DR STE 106
BUENA PARK, CA 90621                     WETHERSFIELD, CT 06129              SAN BERNARDINO, CA 92408




ALL PRO FREIGHT CARRIERS INC             ALL SAINTS REAL ESTATE              ALL STAR BBQ AND BURGERS
PO BOX 72449                             DBA REALTY MASTERS OF FL            16814 GREEN QUAIL
CLEVELAND, OH 44192                      4400 BAYOU BLVD STE 58 B            MISSOURI CITY, TX 77489
                                         PENSACOLA, FL 32503




ALL STATE ACCESS LOCK & SECURITY         ALL STATES MALL SERVICES II         ALL STATES SERVICES
2670 N BERKELEY LAKE RD NW STE 14        P.O. BOX 93717                      P.O. BOX 93717
DULUTH, GA 30096                         LAS VEGAS, NV 89193                 LAS VEGAS, NV 89193




ALL STATES SERVICES                      ALL TEC AUDIO & SECURITY INC        ALL2GETHER PRINTING & SIGNS
P.O. BOX 94258                           PO BOX 906                          2520 NW 16TH LN
LAS VEGAS, NV 89193                      CYPRESS, TX 77410                   POMPANO BEACH, FL 33064
                        Case
ALLAN A. SEBANC AND BEVERLY    18-12241-CSS
                            M. SEBANC   ALLAN A. Doc  26TRUSTEE
                                                 SEBANC,    Filed OF
                                                                  10/05/18
                                                                     THE GST     Page 63 of
                                                                                    ALLAN   1739
                                                                                          CAMPBELL
AS TRUSTEE OF THE GST-EXEMPT BYPASS     EXEMPT                                      10201 S. MAIN STREET
TRUST                                   TRUST FOR STACEY S. DOBOS                   HOUSTON, TX 77025
105 STONEPINE RD                        ATTN: ALLAN A. SEBANC, TRUSTEE
ALLEN SEBANC                            105 STONEPINE RD
HILLSBOROUGH, CA 94010                  HILLSBOROUGH, CA 94010


ALLAN COHN                               ALLAN D. HULME                             ALLAN FEE
10201 S. MAIN STREET                     79 SUMMIT AVE.                             521 STADIUM PLACE S 2401
HOUSTON, TX 77025                        SAN RAFAEL, CA 94901                       SEATTLE, WA 98104




ALLAN GARUBBA                            ALLAN HARTOG                               ALLAN LIMA
115 CUMBERLANG PKWY, UNIT 1              10201 S. MAIN STREET                       10201 S. MAIN STREET
MECHANICSBURG, PA 17055                  HOUSTON, TX 77025                          HOUSTON, TX 77025




ALLAN LONG                               ALLAN LOPEZ                                ALLAN OOMMEN
WHSE MANAGER-JACKSONVILLE                10201 S. MAIN STREET                       10201 S. MAIN STREET
1653 MORNINGSIDE DR                      HOUSTON, TX 77025                          HOUSTON, TX 77025
MIDDLEBURG, FL 32068




ALLAN SCHILLER                           ALLAN SEBANC                               ALLAN WALKER
10201 S. MAIN STREET                     105 STONE PINE RD                          10201 S. MAIN STREET
HOUSTON, TX 77025                        HILLSBOROUGH, CA 94010-6573                HOUSTON, TX 77025




ALLCARE PRODUCTS                         ALLEGAN COUNTY AGRICULTURAL SOCIETY        ALLEGHENY COUNTY TREASURER
4611 KATY FREEWAY                        ALLEGAN COUNTY FAIR                        PO BOX 643385
HOUSTON, TX 77007                        PO BOX 10                                  PITTSBURGH, PA 15264-3385
                                         ALLEGAN, MI 49010




ALLEGHENY VALLEY TRANSFER                ALLEGIANCE FRISCO LP                       ALLEGIANCE STAFFING
1512 LEBANON CHURCH RD                   C/O INTEGRAL REAL ESTATE SERVICES LLC      PO BOX 4356
PITTSBURGH, PA 15234                     16200 DALLAS PKWY STE 245                  DEPT 1903
                                         DALLAS, TX 75248                           HOUSTON, TX 77210-4356




ALLEGIS GROUP HOLDINGS INC               ALLEN & LOUCKS VENTURE LP                  ALLEN AMERICANS
AEROTEK INC                              CO SHAMROCK R E SERVICES LLC               200 E STACY RD STE 1350
7301 PARKWAY DR                          105 NORTH BENGE                            ALLEN, TX 75002
HANOVER, MD 21076                        MC KINNEY, TX 75069




ALLEN BLOCK                              ALLEN CONNER                               ALLEN HAYNES
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




ALLEN HOLLAWAY                           ALLEN MCKENZIE                             ALLEN PARK PLAZA, LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                       ATTN: NICK SANDIHA
HOUSTON, TX 77025                        HOUSTON, TX 77025                          31000 NORTHWESTERN HIGHWAY, SUITE 200
                                                                                    FARMINGTON HILLS, MI 48334
ALLEN PIMIENTA           Case 18-12241-CSS     Doc 26
                                       ALLEN RANDALL       Filed 10/05/18   Page 64 of
                                                                               ALLEN   1739
                                                                                     ROBBINS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ALLEN RODGERS                           ALLEN WEST CENTER LLC                  ALLEN WEST CENTER LLC
10201 S. MAIN STREET                    4036 TELEGRAPH RD STE 201              ATTN: FLORA PETROUS
HOUSTON, TX 77025                       BLOOMFIELD HILLS, MI 48302             4036 TELEGRAPH RD STE 201
                                                                               BLOOMFIELD HILLS, MI 48302




ALLEN WEST CENTER LLC                   ALLIANCE COMMERCIAL PROPERTY MGMT      ALLIANCE COMPANY LLC
C/O A.F. JONNA DEVELOPMENT &            ALLEN PHIPPS                           3975 N RAILROAD AVE
MANAGEMENT COMPANY, L.L.C.              1400 WEST NORTHWOOD STREET             MEARS, MI 49436
4036 TELEGRAPH ROAD, SUITE 301          GREENSBORO, NC 27408
ATTN: JORDAN JONNA
BLOOMFIELD HILLS, MI 48302


ALLIANCE FOR AUDITED MEDIA              ALLIANCE MATERIAL HANDLING INC         ALLIANCE PENSION CONSULTANTS LLC
PO BOX 74008818                         PO BOX 62050                           1751 LAKE COOK RD STE 400
CHICAGO, IL 60674-8818                  BALTIMORE, MD 21264                    DEERFIELD, IL 60015




ALLIANCE PROPERTY SYSTEMS               ALLIANCE SYSTEMS GROUP                 ALLIANCE TOWN CENTER I LP
ATTN: MARTHA PALMER                     8004 SOUTH MADISON ST                  C/O TRADEMARK MANAGEMENT LTD
P.O. BOX 19439                          BURR RIDGE, IL 60527                   PO BOX 301501
PLANTATION, FL 33318                                                           DALLAS, TX 75303-1501




ALLIANCE TOWN CENTER I LP               ALLIANCE TOWN CENTER I, LP             ALLIANCE TOWN CENTER I, LP
C/O TRADEMARK MNGMT LTD                 C/O INVESCO ADVISORS, INC.             C/O TRADEMARK MANAGEMENT LTD
PO BOX 203707                           2001 ROSS AVENUE, SUITE 3400           PO BOX 203707
HOUSTON, TX 77216                       ATTN: CHRIS CLEGHORN                   HOUSTON, TX 77216
                                        FORT WORTH, TX 76107



ALLIANCE TOWN CENTER I, LP              ALLIANCE TOWN CENTER I, LP             ALLIANT ENERGY WPL
C/O TRADEMARK MANAGEMENT LTD            C/O TRADEMARK PROPERTY COMPANY         300 E SHERIDAN AVE
PO BOX 301501                           1701 RIVER RUN SUITE 500               CENTERVILLE, IA 52544
DALLAS, TX 75303-1501                   ATTN: ATC INVESTORS LP
                                        FORT WORTH, TX 76107



ALLIANT ENERGY WPL                      ALLIANT ENERGY                         ALLIANT INSURANCE SERVICES INC
P.O. BOX 3062                           300 E SHERIDAN AVE                     701 B STREET 6TH FL
CEDAR RAPIDS, IA 52406-3062             CENTERVILLE, IA 52544                  SAN DIEGO, CA 92101




ALLIE NICKERSON                         ALLIE VERRY                            ALLIED FIRE PROTECTION INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                   2845 N NORFOLK
HOUSTON, TX 77025                       HOUSTON, TX 77025                      MESA, AZ 85215




ALLIED FORCES                           ALLIED INDUSTRIAL EQUIPMENT            ALLIED INSURANCE
P.O. BOX 1205                           9388 DIELMAN INDUSTRIAL DR.            PO BOX 514540
CHANDLER, AZ 85244                      SAINT LOUIS, MO 63132                  LOS ANGELES, CA 90051-4540
                       Case
ALLIED NATIONAL MATTRESS INC   18-12241-CSS     Doc 26 Filed 10/05/18
                                        ALLIED PROPERTIES               Page 65 of
                                                                           ALLIED   1739 CONSTRUCTION INC
                                                                                  RESIDENTIAL
117 W FARMERS RD                        4737 CONCORD PIKE                  745 MCKENDRICK SW
SEAGOVILLE, TX 75159                    WILMINGTON, DE 19803               GRAND RAPIDS, MI 49503




ALLIED VAN LINES, INC.                  ALLIED WASTE SERVICES 535          ALLIED WASTE SERVICES 770
24272 NETWORK PLACE                     P.O. BOX 78829                     P.O. BOX 9001154
CHICAGO, IL 60673-1272                  PHOENIX, AZ 85062-8829             LOUISVILLE, KY 40290-1154




ALLIED WORLD                            ALLISON ADEKUNBI                   ALLISON ATWOOD
199 WATER STREET                        10201 S. MAIN STREET               10201 S. MAIN STREET
24TH FLOOR                              HOUSTON, TX 77025                  HOUSTON, TX 77025
NEW YORK, NY 10038




ALLISON CONKLIN                         ALLISON CRAWFORD                   ALLISON GRUBBS
10201 S. MAIN STREET                    417 S JOHNSON                      10201 S. MAIN STREET
HOUSTON, TX 77025                       KENNEWICK, WA 99336                HOUSTON, TX 77025




ALLISON HACKLER                         ALLISON HOWE                       ALLISON KELLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET               804 NE 2ND ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                  BLUE SPRINGS, MO 64014




ALLISON KENNEDY                         ALLISON LIPPERT                    ALLISON LURIE
10201 S. MAIN STREET                    106 WINTER BROKE LN                259 S HARVARD BLVD 304
HOUSTON, TX 77025                       SIMPSONVILLE, SC 29681             LOS ANGELES, CA 90065




ALLISON MAIRE MADLE                     ALLISON N. FURMAN, P.C.            ALLISON PERKINS
9850 BROOKLYNS WAY NORTH                260 MADISON AVENUE, 15TH FLOR      10201 S. MAIN STREET
SEMMES, AL 36575                        NEW YORK, NY 10016                 HOUSTON, TX 77025




ALLISON ROSS                            ALLISON SIMMONS                    ALLISON STINNETT
10201 S. MAIN STREET                    10201 S. MAIN STREET               9118 CAMBON CT
HOUSTON, TX 77025                       HOUSTON, TX 77025                  SPRING VALLEY, CA 91977




ALLISON TIGNOR                          ALLISON UBELHOR                    ALLISON ULBERHER
10201 S. MAIN STREET                    10201 S. MAIN STREET               87 AUGUSTA CIR APT 5
HOUSTON, TX 77025                       HOUSTON, TX 77025                  JACKSON, TN 38305




ALLISON WHEELOCK                        ALLISONS HELPING HANDS             ALLMAN ELECTRIC CORP
10201 S. MAIN STREET                    9850 BROOKLYNS WAY NORTH           PO BOX 64996
HOUSTON, TX 77025                       SEMMES, AL 36575                   FAYETTEVILLE, NC 28306
ALLORI RAMIREZ           Case 18-12241-CSS    DocMARKETING
                                       ALLOY MEDIA 26 Filed 10/05/18   Page 66 of 1739
                                                                          ALLRETAILJOBS.COM
10201 S. MAIN STREET                   151 W 26TH ST 11TH FL               DBA JOBSINLOGISTICS.COM
HOUSTON, TX 77025                      NEW YORK, NY 10001                  17501 BISCAYNE BLVD STE 530
                                                                           NORTH MIAMI BEACH, FL 33160




ALLSTATE PAYMENT PROCESSING CENTER     ALLSTATE                            ALLSTREAM
PO BOX 650271                          PO BOX 650514                       7550 BIRCHMOUNT RD
DALLAS, TX 75265-0271                  DALLAS, TX 75265-0514               MARKHAM, ON L3R 6C6
                                                                           CANADA




ALLSTREAM                              ALLSTREAM                           ALLTRAN MEDIA LLC
MS 310155                              PO BOX 2966                         1584 MAGAZINE ST
P.O. BOX 54172                         MILWAUKEE, WI 53201-2966            NEW ORLEANS, LA 70130
SEATTLE, WA 98124-5472




ALLWOOD FURNITURE                      ALLY CARUSO                         ALLY RINEHART
1310 A ODDFELLOW RD                    10201 S. MAIN STREET                10201 S. MAIN STREET
FORT WALTON BEACH, FL 32547            HOUSTON, TX 77025                   HOUSTON, TX 77025




ALLY VAN NOORD                         ALLYN BROTHERTON                    ALLYSON GRIMES
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




ALMA JASSO                             ALMA KREBILL                        ALMA LORENA MALO
21825 ELAINE AVE                       10201 S. MAIN STREET                4045 VIA ENCINAS
HAWAIIAN GARDENS, CA 90716             HOUSTON, TX 77025                   CYPRESS, CA 90630




ALMA MCMILLAN                          ALMA TRUJILLO                       ALMADEN RANCH LLC
10201 S. MAIN STREET                   1736 E LA CADENA                    ATTN: HITOMI WADA
HOUSTON, TX 77025                      RIVERSIDE, CA 92507                 PO BOX 5368
                                                                           SAN JOSE, CA 95150




ALMADEN RANCH, LLC                     ALMADEN RANCH, LLC                  ALMO CORPORATION
ATTN: HITOMI WADA                      C/O ARCADIA DEVELOPMENT CO.         PO BOX 536251
P.O. BOX 5368                          P.O. BOX 5368                       PITTSBURGH, PA 15253-5904
SAN JOSE, CA 95150                     ATTN: CATHY CONSOLINO
                                       SAN JOSE, CA 95150



ALMYNE MURPHY                          ALOHA ISLE MOVING INC.              ALONZO BROOKS
10201 S. MAIN STREET                   PO BOX 17865                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HONOLULU, HI 96817                  HOUSTON, TX 77025




ALONZO HERNANDEZ                       ALONZO HILL                         ALORI PROPERTIES-EALDEN OAKS LTD
10201 S. MAIN STREET                   10201 S. MAIN STREET                509 OAKLAND AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                   AUSTIN, TX 78703
                      Case
ALPHA CHI OMEGA GAMMU MU      18-12241-CSS
                                       ALPHA IV Doc 26 LLC
                                                PARTNERS Filed 10/05/18      Page 67 of
                                                                                ALPHA    1739
                                                                                      IV PARTNERS, LLC
1007 W CARSON ST                        C/O DIVERSIFIED PARTNERS                 C/O DIVERSIFIED PARTNERS
MUNCIE, IN 47303                        7500 E. MCDONALD DRIVE, SUITE 100A       7500 E. MCDONALD DRIVE, SUITE 100A
                                        SCOTTSDALE, AZ 85250                     SCOTTSDALE, AZ 85250




ALPHA LOCK SECURITY                     ALPHA MEDIA BAKERSFIELD                  ALPHA MEDIA COLUMBIA
14456 MIDWAY                            3651 PEGASUS DR STE 107                  PO BOX 9127
DALLAS, TX 75244                        BAKERSFIELD, CA 93308                    COLUMBIA, SC 29290-0127




ALPHA MEDIA DAYTON DBA WGTZ-FM          ALPHA MEDIA DAYTON DBA WROU-FM           ALPHA MEDIA KTFM-FM
717 E DAVID RD                          717 E DAVID RD                           4050 EISENHAUER RD
DAYTON, OH 45429                        DAYTON, OH 45429                         SAN ANTONIO, TX 78218




ALPHA MEDIA LLC DBA KBTE-FM             ALPHA MEDIA LLC DBA KCLB-FM              ALPHA MEDIA LLC DBA KDES-FM
33 BRIERCROFT OFFICE PARK               1321 N GENE AUTRY TRAIL                  1321 N GENE AUTRY TRAIL
LUBBOCK, TX 79412                       PALM SPRINGS, CA 92262                   PALM SPRINGS, CA 92262




ALPHA MEDIA LLC DBA KDGL-FM             ALPHA MEDIA LLC DBA KKUU-FM              ALPHA MEDIA LLC DBA KLLL-FM
1321 GENE AUTRY TRAIL                   1321 N GENE AUTRY TRAIL                  33 BRIERCROFT OFFICE PARK
PALM SPRINGS, CA 92262                  PALM SPRINGS, CA 92262                   LUBBOCK, TX 79412




ALPHA MEDIA LLC DBA KMMX-FM             ALPHA MEDIA LLC DBA KNWZ-AM              ALPHA MEDIA LLC DBA KONE-FM
33 BRIERCROFT OFFICE PARK               1321 N GENE AUTRY TRAIL                  33 BRIERCROFT OFFICE PARK
LUBBOCK, TX 79412                       PALM SPRINGS, CA 92262                   LUBBOCK, TX 79412




ALPHA MEDIA LLC DBA KOYE-FM             ALPHA MEDIA LLC KBAY-FM                  ALPHA MEDIA LLC KEZR-FM
210 S BROADWAY                          190 PARK CENTER PLAZA 200                190 PARK CENTER PLAZA 200
TYLER, TX 75702                         SAN JOSE, CA 95113                       SAN JOSE, CA 95113




ALPHA MEDIA LLC WDJX-FM                 ALPHA MEDIA LLC WMJM-FM                  ALPHA MEDIA LLC WXMA-FM
520 S FOURTH ST STE 200                 520 S FOURTH ST STE 200                  520 S FOURTH ST STE 200
LOUISVILLE, KY 40202                    LOUISVILLE, KY 40202                     LOUISVILLE, KY 40202




ALPHA MEDIA LLC                         ALPHA MEDIA LLC                          ALPHA MEDIA LLC
190 PARK CENTER PLAZA 200               4050 EISENHAUER RD                       520 S FOURTH ST 2ND FLOOR
SAN JOSE, CA 95113                      SAN ANTONIO, TX 78218                    LOUISVILLE, KY 40202




ALPHA MEDIA LLC                         ALPHA MEDIA LLC                          ALPHA MEDIA LLC
616 AMELIA ST                           717 E DAVID RD                           DBA KLKL KTAL KDKS KBTT KOKA
FREDERICKSBURG, VA 22401                DAYTON, OH 45429                         208 N THOMAS DR
                                                                                 SHREVEPORT, LA 71107
ALPHA MEDIA LLC            Case 18-12241-CSS    DocLOUISVILLE
                                         ALPHA MEDIA 26 Filed 10/05/18   Page 68 of
                                                                            ALPHA   1739
                                                                                  MEDIA PALM SPRINGS
PO BOX 9127                              520 S FOURTH ST 2ND FLOOR           1321 N GENE AUTRY TRAIL
COLUMBIA, SC 29290-0127                  LOUISVILLE, KY 40202                PALM SPRINGS, CA 92262




ALPHA MEDIA PORTLAND                     ALPHA MEDIA SAN FRANCISCO           ALPHA MEDIA SAN JOSE
1211 SW FIFTH AVE 6TH FL                 555 MASON ST STE 245                190 PARK CENTER PLAZA 200
PORTLAND, OR 97204                       VACAVILLE, CA 95688                 SAN JOSE, CA 95113




ALPHA OPPORTUNITY FUND 1 LLC             ALPHA SERVICES CORPORATION          ALPHA SYSTEMS
10689 N PENNSYLVANIA ST STE 100          4535 SUNBELT DR                     C/O HUNKAR DATA & BAR CODE SYSTEMS
INDIANAPOLIS, IN 46280                   ADDISON, TX 75001                   PO BOX 634880
                                                                             CINCINNATI, OH 45263-4880




ALPHA TRUCK SERVICE                      ALPHA WASTE INDUSTRIES              ALPHA WASTE INDUSTRIES
3536 SHARRON DR                          343 CITY LAKE RD                    P.O. BOX 1359
POWDER SPRINGS, GA 30127                 LEXINGTON, NC 27295                 WELCOME, NC 27374




ALPHABET ACQUISITION CORP DBA KSCS FM    ALPHAGRAPHICS                       ALPHONSE COTIERE
PO BOX 643638                            1322 BLUE OAKS BLVD STE 100         10201 S. MAIN STREET
CINCINNATI, OH 45264-3638                ROSEVILLE, CA 95678                 HOUSTON, TX 77025




ALPHONZO HOSKINS                         ALPIA INTERSTATE PLAZA LTD          ALPIA INTERSTATE PLAZA, LTD.
10201 S. MAIN STREET                     C/O REATA PROPERTY MGMT             ATTN: J.B. RICHTER
HOUSTON, TX 77025                        1100 NE LOOP 410 STE 400            4940 BROADWAY, SUITE 140
                                         SAN ANTONIO, TX 78209               SAN ANTONIO, TX 78209




ALPIA INTERSTATE PLAZA, LTD.             ALPINE FURNITURE                    ALPINE TOWNSHIP SEWER DEPT
C/O REATA PROPERTY MGMT                  13930 GANNET ST                     5255 ALPINE AVENUE NW
1100 NE LOOP 410 STE 400                 SANTA FE SPRINGS, CA 90670          COMSTOCK PARK, MI 49321
SAN ANTONIO, TX 78209




ALPINE VALLEY                            ALSAYEDI, ABDO                      ALSCO INC
10341 JULIAN DR                          1934 YATES AVE                      2030 KIPLING ST
CINCINNATI, OH 45215                     BRONX, NY 10461-1838                HOUSTON, TX 77098




ALSID 878 LLC                            ALSID 878 LLC                       ALSID 878 LLC
6 STATE ST                               ATTN: TAMMY L HIGGINS CPA           C/O EPSTEIN PROPERTIES
PO BOX 2400                              PO BOX 2400                         6 SLATE STREET, P.O. BOX 2400
BANGOR, ME 04402-2400                    BANGOR, ME 04402-2400               ATTN: TAMMY HIGGINS
                                                                             BANGOR, ME 04402



ALSTON & BIRD LLP                        ALSTON & BIRD LLP                   ALTA ENTERPRISES 2 LLC
1201 W PEACHTREE ST                      PO BOX 933124                       PO BOX 546
ATLANTA, GA 30309-3424                   ATLANTA, GA 31193-3124              GLEN ECHO, MD 20812
ALTAF BAHORA              Case 18-12241-CSS     Doc 26
                                        ALTAF BAHORA         Filed 10/05/18   Page 69 of 1739
                                                                                 ALTAMONTE PROMENADE ASSOCIATES
706 GERVAISE COURT                       706 GERVAISE CT                         540 NORTH STATE ROAD 434, SUITE 530
BRENTWOOD, TN 37027                      BRENTWOOD, TN 37027                     ALTAMONTE SPRINGS, FL 32714




ALTAMONTE PROMENADE ASSOCIATES           ALTERMAN -- TOWN CENTER, LLC            ALTERMAN COMMERCIAL REAL ESTATE
CO J WAYNE MILLER CO                     C/O THE SHOPPING CENTER GROUP, LLC      ATTN: MICHAEL ALTERMAN
540 N HIGHWAY 434 STE 530                300 GALLERIA PARKWAY, 12TH FLOOR        2970 PEACHTREE ROAD NW, SUITE 805
ALTAMONTE SPRINGS, FL 32714              ATTN: NATHAN SCHWARTZ                   ATLANTA, GA 30305
                                         ATLANTA, GA 30339



ALTERMAN COMMERICAL REAL ESTATE          ALTERMAN TOWN CENTER GROUP              ALTERNATIVE WINDOW CLEANING
PO BOX 191228                            C/O THE SHOPPING CENTER GROUP           PO BOX 25404
ATLANTA, GA 31119                        300 GALLERIA PKWY 12TH FLOOR            SHAWNEE MISSION, KS 66225
                                         ATLANTA, GA 30339




ALTERYX INC                              ALTHEA C SWINEY                         ALTHEA PETERSON-VALDEZ
PO BOX 101802                            715 SANDERLING                          10201 S. MAIN STREET
PASADENA, CA 91189-1802                  SAN ANTONIO, TX 78245                   HOUSTON, TX 77025




ALTICE MEDIA SOLUTIONS CORP              ALTO SERRAMONTE LLC                     ALTO SERRAMONTE LLC
PO BOX 392090                            170 PACIFIC AVE STE 42                  ATTN: DAVID MIEGER, PROPERTY MANAGER
PITTSBURGH, PA 15251-9090                SAN FRANCISCO, CA 94111                 170 PACIFIC AVENUE, 42
                                                                                 SAN FRANCISCO, CA 94111




ALTO XPRESS                              ALTON CITY TREASURER                    ALTON LLC
2867 SURVEYOR ST                         101 E 3RD, 102                          2731 S I-35 SERVICE ROAD
POMONA, CA 91768                         ALTON, IL 62002                         MOORE, OK 73160




ALTON MCKEEVER                           ALTOONA MIRROR                          ALTOONA WATER AUTHORITY
10201 S. MAIN STREET                     301 CAYUGA AVE                          900 CHESTNUT AVE
HOUSTON, TX 77025                        PO BOX 2008                             ALTOONA, PA 16603
                                         ALTOONA, PA 16603




ALTOONA WATER AUTHORITY                  ALTRES STAFFING INC.                    ALTUS GROUP US INC
P.O. BOX 3150                            PO BOX 1410                             910 RIDGEBROOK RD STE 200
ALTOONA, PA 16603-3150                   HONOLULU, HI 96807                      SPARKS, MD 21152




ALTUS GROUP US INC                       ALTUS-HITZERT LLC                       ALURE INTERNATIONAL LLC
PO BOX 12419                             1610 DES PERES RD STE 320               DBA JOB FAIR GIANT
NEWARK, NJ 07101-3519                    SAINT LOUIS, MO 63131                   2501 S TELEGRAPH RD ST L280
                                                                                 BLOOMFIELD HILLS, MI 48302




ALURE INTERNATIONAL LLC                  ALVAREZ & MARSAL GLOBAL FORENSIC        ALVARO OLGUIN
MICHIGAN EXPO EXPERTS                    & DISPUTE SRVS LLC                      10201 S. MAIN STREET
PO BOX 7687                              ATTN: LIZ CARRINGTON                    HOUSTON, TX 77025
BLOOMFIELD HILLS, MI 48302               600 MADISON AVE 8TH FL
                                         NEW YORK, NY 10022
ALVIN ANDERSON           Case 18-12241-CSS     Doc 26
                                       ALVIN BORGE         Filed 10/05/18   Page 70 MORGAN
                                                                               ALVIN of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ALVIN ROGERS                            ALVIR BAJREKTAREVIC                    ALVIS WHEELER
10201 S. MAIN STREET                    1620 BARTRAM RAOD 2306                 6147 INDIGO CROSSING RD
HOUSTON, TX 77025                       JACKSONVILLE, FL 32207                 ROCKLEDGE, FL 32955




ALY MILLIM                              ALY NELSON                             ALY WASHINGTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ALYAA ALBU MOHAMMED                     ALYDA TAMAYO                           ALYISHA SUTHERLAND
10201 S. MAIN STREET                    1425 MEDINA AVE                        2201 NW 122 ST 2304
HOUSTON, TX 77025                       CORAL GABLES, FL 33134                 OKLAHOMA CITY, OK 73120




ALYSE FULLER                            ALYSHEANA ST. JULES                    ALYSON LAWRENIA
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ALYSON LUMENELLO SHENK                  ALYSON PELLETIER                       ALYSON PELLETIER
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ALYSSA A POPIELA                        ALYSSA BERGER                          ALYSSA JOHNSON
10548 GREENFORD DR                      10201 S. MAIN STREET                   403 COUNTRY AIRE DR
SAN DIEGO, CA 92126                     HOUSTON, TX 77025                      ROUND ROCK, TX 78664




ALYSSA NICCOLE BANALES                  ALYSSA POPIELA                         ALYSSA REYES
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ALYSSA SIFUENTES                        ALYSSA SMITH                           ALYSSA STEVENSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ALYSSE MANDEVILLE                       AMA ASANTE                             AMALIA RIVERA
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025
AMAN RAI                Case 18-12241-CSS
                                      AMANDA Doc  26
                                             ANN LAU      Filed 10/05/18   Page 71 ofARTHURS
                                                                              AMANDA  1739
10201 S. MAIN STREET                   11255 MONTGOMERY AVE                   10201 S. MAIN STREET
HOUSTON, TX 77025                      GRANADA HILLS, CA 91344                HOUSTON, TX 77025




AMANDA AUSTIN                          AMANDA BAILEY                          AMANDA BLACK-NAU
10201 S. MAIN STREET                   2597 B LYNN LAKE CIR S                 128 W OAKLEY ST
HOUSTON, TX 77025                      SAINT PETERSBURG, FL 33712             FLINT, MI 48503




AMANDA BONSIGNORE                      AMANDA BORDO                           AMANDA BORGES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AMANDA BRYANT                          AMANDA BRYANT                          AMANDA BURD
3290 VALLEY BEND ROAD                  3290 VALLEY BEND ROAD                  30015 VICKI LN
ATLANTA, GA 30349                      COLLEGE PARK, GA 30349                 LEBANON, OR 97355




AMANDA CORONADO                        AMANDA DSILVA                          AMANDA DUMONT
10201 S. MAIN STREET                   10201 S. MAIN STREET                   36 WASHINGTON AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                      ASHEVILLE, NC 28804




AMANDA DUVAL                           AMANDA E SATANEK                       AMANDA FIFFE
10201 S. MAIN STREET                   1316 ARBOR KNOLL BLVD                  10201 S. MAIN STREET
HOUSTON, TX 77025                      ANTIOCH, TN 37013                      HOUSTON, TX 77025




AMANDA FLOWER                          AMANDA FORD                            AMANDA GAITAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AMANDA GILLESPIE                       AMANDA GONZALEZ                        AMANDA GOULD
6434 W ADMIRAL WAY                     1411 PINNACLE FALLS                    10201 S. MAIN STREET
FLORENCE, AZ 85132                     SAN ANTONIO, TX 78260                  HOUSTON, TX 77025




AMANDA GRAHAM                          AMANDA GRIFFIN                         AMANDA HADT
10201 S. MAIN STREET                   13127 TRAVIS VIEW LOOP                 10201 S. MAIN STREET
HOUSTON, TX 77025                      AUSTIN, TX 78732                       HOUSTON, TX 77025




AMANDA HALEY                           AMANDA HINOJOSA                        AMANDA HOBSON
5536 NW 37TH ST.                       10201 S. MAIN STREET                   10201 S. MAIN STREET
WARR ACRES, OK 73122                   HOUSTON, TX 77025                      HOUSTON, TX 77025
AMANDA HOFFLER, LP       Case 18-12241-CSS
                                       AMANDA Doc     26 Filed
                                                HOOD-ROSE        10/05/18   Page 72 ofHURLEY
                                                                               AMANDA  1739
222 CENTRAL PARK AVE, SUITE 2100       10201 S. MAIN STREET                    10201 S. MAIN STREET
VIRGINIA BEACH, VA 23462               HOUSTON, TX 77025                       HOUSTON, TX 77025




AMANDA JENNINGS                        AMANDA JORDAN                           AMANDA JUDD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AMANDA KING                            AMANDA LYNCH                            AMANDA MARLOW
10201 S. MAIN STREET                   1042 NW SOUTH SHORE DR                  10201 S. MAIN STREET
HOUSTON, TX 77025                      KANSAS CITY, MO 64151                   HOUSTON, TX 77025




AMANDA MARTER                          AMANDA MCLEOD                           AMANDA MCPHAIL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AMANDA MCTIGUE                         AMANDA MCWHORTER                        AMANDA MYERS
2515 LARCHMONT                         10201 S. MAIN STREET                    10201 S. MAIN STREET
MESQUITE, TX 75150                     HOUSTON, TX 77025                       HOUSTON, TX 77025




AMANDA NAMAN                           AMANDA OSTER                            AMANDA OWENS
10201 S. MAIN STREET                   845 COLGROVE ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                      WATERLOO, IN 46793                      HOUSTON, TX 77025




AMANDA PESTA                           AMANDA PORTER                           AMANDA R CORMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    1414 E ALFRED ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       TAVARES, FL 32778




AMANDA RANDALL                         AMANDA ROBBINS                          AMANDA RODRIGUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    6516 N GREENVIEW
HOUSTON, TX 77025                      HOUSTON, TX 77025                       CHICAGO, IL 60626




AMANDA RUIZ                            AMANDA SIMS                             AMANDA STRIBLING
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AMANDA SWAIN                           AMANDA SWAIN                            AMANDA SWARTZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
AMANDA THOMPSON         Case 18-12241-CSS
                                      AMANDA Doc
                                             TILDEN26     Filed 10/05/18     Page 73 ofTUCKER
                                                                                AMANDA  1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




AMANDA WERNER                          AMANDA WILLIAMS                          AMANDA WILSON
939 S HILL ST                          10201 S. MAIN STREET                     10201 S. MAIN STREET
LOS ANGELES, CA 90015                  HOUSTON, TX 77025                        HOUSTON, TX 77025




AMANDA WOLF                            AMANDA YORK                              AMANI BAHA
11836 PORTOFINO DR                     10201 S. MAIN STREET                     20418 SPOONWWOD DR
AUSTIN, TX 78732                       HOUSTON, TX 77025                        ATASCOCITA, TX 77346




AMAR GHAI                              AMARI NEWMAN                             AMARILIS CANALS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




AMARIS CARTER                          AMATO BROTHERS ENTERPRISES INC           AMATO BROTHERS ENTERPRISES, INC.
10201 S. MAIN STREET                   PO BOX 60041                             C/O ELLIOTT ASSOCIATES, INC.
HOUSTON, TX 77025                      DEPT 200                                 901 NE GILSON STREET
                                       CITY OF INDUSTRY, CA 91716-0041          PORTLAND, OR 97232




AMATO BROTHERS ENTERPRISES, INC.       AMAURI COPELAND                          AMAURY SEVERINO
PO BOX 60041                           10201 S. MAIN STREET                     10201 S. MAIN STREET
DEPT 200                               HOUSTON, TX 77025                        HOUSTON, TX 77025
CITY OF INDUSTRY, CA 91716-0041




AMAZING WINDOW CLEANING CO.            AMAZON                                   AMBASSADOR CROSSING PHASE 2 LLC
P.O. BOX 216                                                                    ATTN: DENNIS SWOBODA
BAINBRIDGE, IN 46105                                                            2415 W. ALABAMA STREET, SUITE 205
                                                                                HOUSTON, TX 77098




AMBASSADOR CROSSING PHASE 2 LLC        AMBASSADOR LAFAYETTE PROPERTIES LLC      AMBER APONTE
ATTN: MICHAEL C. AINBINDER             C/O HT GROUP LLC                         10201 S. MAIN STREET
2415 W. ALABAMA STREET, SUITE 205      3713 PEACHTREE RD NE                     HOUSTON, TX 77025
HOUSTON, TX 77098                      ATLANTA, GA 30319




AMBER BEACH                            AMBER BLACKWELL                          AMBER BURDA
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




AMBER CARTER                           AMBER CARTER                             AMBER CHAVEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
AMBER DENTON              Case 18-12241-CSS    Doc 26
                                        AMBER EVANS        Filed 10/05/18   Page 74 of
                                                                               AMBER   1739
                                                                                     FLETCHER
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




AMBER FULLER                            AMBER GARBER                           AMBER GARBER
3305 NW 42ND                            10201 S. MAIN STREET                   10201 S. MAIN STREET
OKLAHOMA CITY, OK 73112                 HOUSTON, TX 77025                      HOUSTON, TX 77025




AMBER GATH                              AMBER GILLESPIE                        AMBER HILL
226 HOBBS ST                            10201 S. MAIN STREET                   10201 S. MAIN STREET
PLAINFIELD, IN 46168                    HOUSTON, TX 77025                      HOUSTON, TX 77025




AMBER HUTTLESTON                        AMBER JOHNSON                          AMBER LANDERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   1075 NORTHFIELD CT
HOUSTON, TX 77025                       HOUSTON, TX 77025                      ROSWELL, GA 30076




AMBER LATIMER                           AMBER LITTLEJOHN                       AMBER LOCKETT
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




AMBER LOCKHART                          AMBER M GARTLAND                       AMBER MAYFIELD
10201 S. MAIN STREET                    4053 SE 139TH STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       SUMMERFIELD, FL 34491                  HOUSTON, TX 77025




AMBER MCFADDEN                          AMBER MILLS                            AMBER MUTCHLER
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




AMBER PETERS                            AMBER RIVERA                           AMBER ROBISON BUNKE
4124 CARRIAGE CIRCLE                    10201 S. MAIN STREET                   10201 S. MAIN STREET
SARASOTA, FL 34241                      HOUSTON, TX 77025                      HOUSTON, TX 77025




AMBER ROOF                              AMBER RUVALCABA                        AMBER SCHINTZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   13277 HUMBOLDT AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                      BURNSVILLE, MN 55337




AMBER SPENCER                           AMBER TILLEY                           AMBER TINNON
10201 S. MAIN STREET                    2716 CRESTWOOD COURT                   10201 S. MAIN STREET
HOUSTON, TX 77025                       TEMPLE, TX 76502                       HOUSTON, TX 77025
AMBER TREMAIN            Case 18-12241-CSS    Doc 26
                                       AMBER WHITE         Filed 10/05/18      Page 75 of
                                                                                  AMBER   1739
                                                                                        ZUEHL
10201 S. MAIN STREET                   5444 PRINCESS VIEW PLACE                   2160 FIRETHORN PATH
HOUSTON, TX 77025                      SAN DIEGO, CA 92120                        SPRING BRANCH, TX 78070




AMBERIA WELLER                         AMBIUS (98)                                AMBIUS LLC 21
10201 S. MAIN STREET                   PO BOX 14086                               P.O.BOX 95409
HOUSTON, TX 77025                      READING, PA 19612                          PALATINE, IL 60095-0409




AMBJ I LLC                             AMBREIEL JONES                             AMCAP COWESETT II LLC
PO BOX 4077                            10201 S. MAIN STREET                       1281 EAST MAIN ST STE 200
MURRELLS INLET, SC 29576               HOUSTON, TX 77025                          STAMFORD, CT 06902




AMCAP COWESETT II LLC                  AMCAP COWESETT II LLC                      AMCAP COWESETT II LLC
BENEFIT TEACHERS INS & ANNUITY ASSOC   C/O AMCAP INCORPORATED                     C/O AMCAP, INC.
OF AMERICA                             333 LUDLOW STREET, 8TH FLOOR, SOUTH        333 LUDLOW STREET, 8TH FLOOR, SOUTH
PO BOX 603573                          TOWER                                      TOWER
CHARLOTTE, NC 28260-3573               ATTN: LEASE ADMINISTRATOR                  ATTN: LEASE ADMINISTRATOR
                                       STAMFORD, CT 06902                         STAMFORD, CT 06902


AMCAP HARMONY LLC                      AMCAP HARMONY LLC                          AMCAP HARMONY LLC
C/O AMCAP INCORPORATED                 C/O AMCAP, INC.                            C/O AMCAP, INC.
44 COOK ST STE 710                     333 LUDLOW STREET, 8TH FLOOR, SOUTH        44 COOK ST STE 710
DENVER, CO 80206                       TOWER                                      DENVER, CO 80206
                                       ATTN: LEASE ADMINISTRATOR
                                       STAMFORD, CT 06902


AMCAP INC.                             AMCAP INC.                                 AMCAP MCALISTER LLC
333 LUDLOW STREET, 8TH FLOOR, SOUTH    950 SOUTH CHERRY LAND, SUITE 1120          303 VETERANS AIR PARK LANE STE 6180
TOWER                                  DENVER, CO 80246                           MIDLAND, TX 79705
STAMFORD, CT 06902




AMCAP MCALISTER LLC                    AMCAP NORTHPOINT II LLC C/O AMCAP INC      AMCAP NORTHPOINT II LLC
4403 N CENTRAL EXPRESSWAY STE 110      1281 E MAIN ST 200                         C/O AMCAP INC
DALLAS, TX 75205                       STAMFORD, CT 06902                         333 LEDLOW ST 8TH FLOOR S TOWER
                                                                                  ATTN: ASSET MANAGER
                                                                                  STAMFORD, CT 06902



AMCAP NORTHPOINT II LLC                AMCAP NORTHPOINT II LLC                    AMCAP NORTHPOINT II LLC
C/O AMCAP INC                          C/O AMCAP, INC.                            C/O AMCAP, INC.
PO BOX 829756                          1281 E MAIN ST 200                         333 LEDLOW ST 8TH FLOOR S TOWER
PHILADELPHIA, PA 19182-9756            STAMFORD, CT 06902                         ATTN: ASSET MANAGER
                                                                                  STAMFORD, CT 06902



AMCAP NORTHPOINT LLC                   AMCAP TIFFANY PLAZA LLC                    AMCAP TIFFANY PLAZA, LLC
C/O COPACO MGMT OFFICE                 44 COOK ST 710                             44 COOK ST 710
335 COTTAGE GROVE RD                   DENVER, CO 80206                           DENVER, CO 80206
BLOOMFIELD, CT 06002




AMCAP TIFFANY PLAZA, LLC               AMCAP UTAH COWESETT LLC                    AMCAP VA SHOPPING CENTER LP
C/O AMCAP, INC.                        1281 E MAIN ST STE 200                     DBA AMCAP TIFFANY LLC
333 LUDLOW ST., 8TH FLOOR, S. TOWER    STAMFORD, CT 06902                         C/O AMCAP INC1281 E MAIN ST STE 200
STAMFORD, CT 06902                                                                STAMFORD, CT 06902
AMCAP, INC.             Case 18-12241-CSS     Doc 26LLC Filed 10/05/18
                                      A-MCB ARUNDEL                             Page 76 ofINC1739
                                                                                   AMCOR
333 LUDLOW STREET, 8TH FLOOR, SOUTH   ATTN: LEASE ADMIN C/O ACADIA REALTY           192 QUALITY DR. NW
TOWER                                 1311 MAMARONECK AVE STE 260                   THOMSON, GA 30824
STAMFORD, CT 06902                    WHITE PLAINS, NY 10605




AMELIA GONZALES                        AMELIA JIMENEZ                               AMENDOLA, ANTHONY
10201 S. MAIN STREET                   1102 HWY 30 EAST                             1635 BARD LN
HOUSTON, TX 77025                      NEW ALBANY, MS 38652                         EAST MEADOW, NY 11554-1501




AMEREN ILLINOIS                        AMEREN ILLINOIS                              AMEREN MISSOURI
2105 E STATE RT 104                    P.O. BOX 88034                               1901 CHOUTEAU AVE
PAWNEE, IL 62558                       CHICAGO, IL 60680                            ST LOUIS, MO 63104




AMEREN MISSOURI                        AMERICA NET LEASE PORTFOLIO I DST            AMERICA NET LEASE PORTFOLIO I DST
P.O. BOX 88068                         110026                                       C/O BMO HARRIS BANK-110026
CHICAGO, IL 60680-1068                 30 S WACKER STE 2750                         PO BOX 790051
                                       CHICAGO, IL 60606                            SAINT LOUIS, MO 63179




AMERICA NET LEASE PORTFOLIO I DST      AMERICAN ASSETS TRUST LP                     AMERICAN ASSETS TRUST MANAGEMENT,
C/O COVINGTON REALTY PARTNERS, LLC -   C/O AAT GATEWAY MARKETPLACE LLC              LLC
110026                                 11455 EL CAMINO REAL STE 200                 11455 EL CAMINO REAL, SUITE 200
30 SOUTH WACKER DRIVE, SUITE 2750      SAN DIEGO, CA 92130                          SAN DIEGO, CA 92130-2047
CHICAGO, IL 60606



AMERICAN BANKERS INSURANCE CO.         AMERICAN BUILDERS & CONTRACTORS              AMERICAN CAMP ASSN NY & NJ
PO BOX 29861                           SUPPLY CO INC                                108 W 39TH ST 15TH FL
DEPT. ABIC-10111                       DBA ABC SUPPLY CO INC                        NEW YORK, NY 10018
PHOENIX, AZ 85038-9861                 ONE ABC PARKWAY
                                       BELOIT, WI 53512-0838



AMERICAN COMMUNICATION SOLUTION INC    AMERICAN CONSTRUCTION                        AMERICAN CONSUMER SHOWS, INC
1855 SOUTH SANTA CRUZ ST               INVESTIGATIONS LTD                           6901 JERICHO TPKE, SUITE 250
ANAHEIM, CA 92805                      602 SAWYEER ST STE 200                       SYOSSET, NY 11791-4626
                                       HOUSTON, TX 77007-7510




AMERICAN CUSTOMER CARE INC.            AMERICAN DISPOSAL CO. INC - DIST. 2111       AMERICAN DISPOSAL CO. INC - DIST. 2111
DEPT 260                               10370 CENTRAL PARK DR                        P.O. BOX 60248
PO BOX 150473                          MANASSAS, VA 20110                           LOS ANGELES, CA 90060-0248
HARTFORD, CT 06115-0473




AMERICAN ELECTRIC & DATA INC           AMERICAN ELECTRIC POWER                      AMERICAN ELECTRIC POWER
112 ST CHARLES ST                      1 RIVERSIDE PLAZA                            P.O. BOX 24002
PO BOX 340                             COLUMBUS, OH 43215-2372                      CANTON, OH 44701-4002
NEW MELLE, MO 63365-0340




AMERICAN ELECTRIC POWER                AMERICAN ELECTRIC POWER                      AMERICAN EXPRESS
P.O. BOX 24417                         P.O. BOX 24418                               ATTN: PAYMENT PROCESSING
CANTON, OH 44701-4417                  CANTON, OH 44701-4418                        P.O. BOX 650448
                                                                                    DALLAS, TX 75265
AMERICAN EXPRESS       Case     18-12241-CSS    Doc
                                         AMERICAN    26 Filed 10/05/18
                                                  EXPRESS                        Page 77 of 1739
                                                                                    AMERICAN EXPRESS
ATTN: PAYMENT PROCESSING                 P.O. BOX 360001                            P.O. BOX 360001
P.O. BOX 650448                          FORT LAUDERDALE, FL 33336-0001             FT. LAUDERDALE, FL 33336-0001
DALLAS, TX 75265-0448




AMERICAN FAMILY MUTUAL INSURANCE CO.     AMERICAN FORKLIFT RENTAL & SUPPLY          AMERICAN FORKLIFT RENTAL & SUPPLY
                                         599 KISSIMME AVE                           PO BOX 444
                                         OCOEE, FL 34761                            GOTHA, FL 34734




AMERICAN FURNITURE HALL OF FAME          AMERICAN GENERAL MEDIA BAKERSFIELD         AMERICAN GLOBAL LOGISTICS LLC
202 NEAL PLACE                           PO BOX 2700                                3399 PEACHTREE RD NE STE 1130
HIGH POINT, NC 27262                     BAKERSFIELD, CA 93303                      ATLANTA, GA 30326




AMERICAN GLOBAL LOGISTICS LLC            AMERICAN HERITAGE BILLIARDS                AMERICAN HOLE N ONE, INC
PO BOX 116308                            PO BOX 74704                               55 SCOTT STREET
ATLANTA, GA 30368-6308                   CLEVELAND, OH 44194-4704                   BUFORD, GA 30518




AMERICAN HOMES 4 RENT LLC                AMERICAN INSTITUTE OF CERTIFIED            AMERICAN INTEGRATED SECURITY GROUP
30601 AGOURA RD STE 200                  PUBLIC ACCOUNTANTS                         15-01 132ND ST
AGOURA HILLS, CA 91301                   220 LEIGH FARM RD                          COLLEGE POINT, NY 11356
                                         DURHAM, NC 27707-8110




AMERICAN LEATHER INC.                    AMERICAN LIGHT & POWER                     AMERICAN LIGHT & POWER
4501 MOUNTAIN CREEK PKWY                 15810 PARK TEN PL, STE 380                 P.O. BOX 660846
DALLAS, TX 75236                         HOUSTON, TX 77084                          DALLAS, TX 75266-0846




AMERICAN MARKETING & PUBLISHING LLC      AMERICAN MARKETING ASSOCIATION             AMERICAN MATERIAL HANDLING CO INC
PO BOX 801                               UNIVERSITY OF HOUSTON                      9013 HWY 165/PO BOX 17878
DE KALB, IL 60115                        4800 CALHOUN RD                            NORTH LITTLE ROCK, AR 72117
                                         HOUSTON, TX 77004




AMERICAN MATERIAL HANDLING CO INC        AMERICAN MIRROR                            AMERICAN NATIONAL MANUFACTURING INC
PO BOX 17878                             PO BOX 1277                                252 MARIAH CIRCLE
NORTH LITTLE ROCK, AR 72117              GALAX, VA 24333                            CORONA, CA 92879




AMERICAN NATIONAL MANUFACTURING INC      AMERICAN REALTY ADVISORS                   AMERICAN REALTY ADVISORS
252 MARIAH CIRCLE                        515 S. FLOWER STREET, 49TH FLOOR           STANLEY L. IEZMAN, CHAIRMAN & CEO
CORONA, CA 92879-1751                    ATTN: JAY MATTHES                          801 NORTH BRAND BOULEVARD, SUITE 800
                                         LOS ANGELES, CA 90071                      GLENDALE, CA 91203




AMERICAN REALTY CAPITAL OPER PRT V, LP   AMERICAN REALTY CAPITAL OPER PRTNR IV      AMERICAN REALTY CAPITAL OPER PRTNR V
ATTN: JESSE C. GALLOWAY                  LP                                         LP
405 PARK AVENUE, 14TH FLOOR              ARC MFVALGA001, LLC                        106 YORK RD
NEW YORK, NY 10022                       200 DRYDEN ROAD, SUITE 1100                JENKINTOWN, PA 19046
                                         AMERICAN FINANCE OPERATING
                                         PARTNERSHIP
                                         DRESHER, PA 19025
AMERICAN REALTY CAPITALCase  18-12241-CSS
                       OPER PRTNR V   AMERICANDoc  26 CAPITAL
                                                REALTY   FiledOPER
                                                               10/05/18
                                                                   PRTNR V    Page 78 of 1739
                                                                                 AMERICAN REALTY CAPITAL OPER PRTNR V
LP                                    LP                                          LP
ARC AAANGIN001 LLC                    ARC MFHLDMI001 LLC                          DBA ARC MFAKNSC001 LLC
PO BOX 205972                         106 YORK RD                                 106 YORK RD
DALLAS, TX 75320-5972                 JENKINTOWN, PA 19046                        JENKINTOWN, PA 19046



AMERICAN REALTY CAPITAL OPER PRTNR V   AMERICAN REALTY CAPITAL OPER PRTNR V       AMERICAN REALTY CAPITAL OPER PRTNR V
LP                                     LP                                         LP
DBA ARC MFFNCAL001 LLC                 DBA ARC MFHLDMI001 LLC                     DBA ARC MFMDNID001 LLC
106 YORK RD                            106 YORK RD                                106 YORK RD
JENKINTOWN, PA 19046                   JENKINTOWN, PA 19046                       JENKINTOWN, PA 19046



AMERICAN REALTY CAPITAL OPER PRTNR V   AMERICAN REALTY CAPITAL OPERATING          AMERICAN REALTY CAPITAL OPERATING
LP                                     PARTNERSHIP III LP                         PARTNERSHIP III LP
DBA ARC MFSGWMI001 LLC                 106 YORK RD                                DBA ARC MFBSEID0001 LLC
106 YORK RD                            JENKINTOWN, PA 19046                       PO BOX 847373
JENKINTOWN, PA 19046                                                              DALLAS, TX 75284-7373



AMERICAN REALTY CAPITAL OPERATING      AMERICAN REALTY CAPITAL OPERATING          AMERICAN REALTY CAPITAL OPERATING
PARTNERSHIP III LP                     PARTNERSHIP IV LP                          PARTNERSHIP IV LP
DBA ARC MFFNCS001 LLC                  ARC MFDTNFLOO1 LLC                         DBA ARC MFDTNFL001 LLC
PO BOX 847373                          PO BOX 847390                              106 YORK RD
DALLAS, TX 75284-7373                  DALLAS, TX 75284-7390                      JENKINTOWN, PA 19046



AMERICAN REALTY CAPITAL OPERATING      AMERICAN REALTY CAPITAL OPERATING          AMERICAN REALTY CAPITAL OPERATING
PARTNERSHIP IV LP                      PARTNERSHIP IV LP                          PARTNERSHIP IV LP
DBA ARC MFSPNWA002 LLC                 DBA ARC MFSPNWAOOCLLC                      DBA ARC MFWKAIN001 LLC
106 YORK RD                            PO BOX 847390                              106 YORK RD
JENKINTOWN, PA 19046                   DALLAS, TX 75284-7390                      JENKINTOWN, PA 19046



AMERICAN REALTY CAPITAL OPERATING      AMERICAN REALTY CAPITAL OPERATING          AMERICAN REALTY CAPITAL PROPERTIES
PARTNERSHIP IV LP                      PARTNERSHIP                                C/O VEREIT, INC.
DBA ARCMFDPEAL001 LLC                  106 YORK RD                                2325 EAST CAMELBACK ROAD, SUITE 1100
106 YORK RD                            JENKINTOWN, PA 19046                       PHOENIX, AZ 85016
JENKINTOWN, PA 19046



AMERICAN REALTY CAPITAL RETAIL OPER    AMERICAN REALTY CAPITAL RETAIL             AMERICAN REALTY CAPITAL
PRTNSHP LP                             OPER PRTNSHP LP                            200 DRYDEN ROAD, SUITE 1100
DBA ARC SSSEBFL001 LLC                 DBA ARC SSSEBFL001 LLC                     DRESHER, PA 19025
106 YORK RD                            106 YORK RD
JENKINTOWN, PA 19046                   JENKINTOWN, PA 19046



AMERICAN REALTY CAPITAL                AMERICAN REALTY CAPTIAL OPERATING          AMERICAN REALTY CAPTIAL OPERATING
ATTN: JESSE C. GALLOWAY                PARTNERSHIP IV LP                          PARTNERSHIP IV LP
405 PARK AVENUE, 14TH FLOOR            ARC MFDTNFLOO1 LLC                         DBA ARC MFDTNFL001 LLC
NEW YORK, NY 10022                     PO BOX 847390                              106 YORK RD
                                       DALLAS, TX 75284-7390                      JENKINTOWN, PA 19046



AMERICAN REALTY OPERATING              AMERICAN REGISTRY FOR INTERNET             AMERICAN REPUBLICAN
PARTNERSHIP V LP                       NUMBERS LTD                                REPUBLICAN AMERICAN
DBA ARC MFKXVTN002 LLC                 PO BOX 232290                              389 MEADOW ST
106 YORK RD                            CENTREVILLE, VA 20120                      WATERBURY, CT 06702
JENKINTOWN, PA 19046



AMERICAN RETAIL SUPPLY                 AMERICAN RLTY CPT PROPERTIES INC           AMERICAN RLTY CPT PROPERTIES INC
6205 S 231ST ST                        2325 EAST CAMELBACK ROAD, SUITE 1100       CHRISTINA MAYO / ID: PT4719
KENT, WA 98032                         PHOENIX, AZ 85016                          PO BOX 840990
                                                                                  DALLAS, TX 75284-0990
AMERICAN RLTY CPT RETAILCase  18-12241-CSS
                         OPER LP       AMERICANDoc
                                                 RLTY26    Filed OPER
                                                      CPT RETAIL 10/05/18
                                                                      LP    Page 79 of 1739
                                                                               AMERICAN ROYAL ASSOCIATION
405 PARK AVE                           ARC CLORLFL00 LLC                        1701 AMERICAN ROYAL COURT
NEW YORK, NY 10022                     PO BOX 847187                            KANSAS CITY, MO 64102
                                       DALLAS, TX 75284-7181




AMERICAN SHOWS INC.                    AMERICAN SOLUTIONS FOR BUSINESS          AMERICAN TECHNOLOGY CONSULTING LLC
4 VIA VERDE                            8479 SOLUTIONS CENTER                    P.O. BOX 4040
RANCHO MIRAGE, CA 92270                CHICAGO, IL 60677                        OMAHA, NE 68104




AMERICAN TRAILER & STORAGE             AMERICAN TRANSPORTATION REPAIR           AMERICAN UNITED LIFE INSURANCE CO
6900 E 39TH ST                         4320 B ST NW                             ATTN: ACCT CONTROL
KANSAS CITY, MO 64129                  AUBURN, WA 98071-2204                    5761 RELIABLE PARKWAY
                                                                                CHICAGO, IL 60686-0054




AMERICAN WATER & ENERGY SAVERS         AMERICAN WATER                           AMERICANA LLC DBA PRUDENTIAL
4431 NORTH DIXIE HIGHWAY               P.O. BOX 8090                            AMERICANA GROUP REALTORS
BOCA RATON, FL 33431                   SURPRISE, AZ 85374                       P.O. BOX 93778
                                                                                LAS VEGAS, NV 89193




AMERICANEAGLE.COM INC                  AMERICOR INVESTMENT                      AMERICOR INVESTMENT
2600 S RIVER RD                        7595 EAST MCDONALD DR. #130              7595 EAST MCDONALD DR. 130
DES PLAINES, IL 60018                  SCOTTSDALE, AZ 85250                     SCOTTSDALE, AZ 85250




AMERIGAS                               AMERIGAS                                 AMERIGON MICROCLIMATE
460 N GULPH RD                         PO BOX 660288                            21680 HAGGERTY ROAD SUITE 101
KING OF PRUSSIA, PA 19406              DALLAS, TX 75266-0288                    NORTHVILLE, MI 48160




AMERIPRIDE SERVICES INC.               AMERIWASTE LEAGUE CITY                   AMERIWASTE LEAGUE CITY
P.O. BOX 728                           3894 E HWY 6                             P.O. BOX 2074
BEMIDJI, MN 56619-0728                 ALVIN, TX 77512                          ALVIN, TX 77512-2074




AMERIWASTE OF TEXAS ,LLC               AMEY WILLIS                              AMFM TEXAS BROADCASTING LP
P.O. BOX 1351                          10201 S. MAIN STREET                     KODA-FM
ALVIN, TX 77512                        HOUSTON, TX 77025                        PO BOX 847572
                                                                                DALLAS, TX 75284-7572




AMFM TX BROADCASTING LP                AMHED COLON                              AMHERST AMA REALTY VENTURES LLC
KTRHAM KODAFM KBMEAM                   10201 S. MAIN STREET                     PO BOX 262
20880 STONE OAK PKWY                   HOUSTON, TX 77025                        NORWOOD, MA 02062
SAN ANTONIO, TX 78258




AMHERST AMA REALTY VENTURES, LLC       AMHERST AMA REALTY VENTURES, LLC         AMHERST CROSSING AMA REALTY
C/O CHARLES RIVER REALTY GROUP         PO BOX 262                               VENTURES LLC
1461 VFW PARKWAY                       NORWOOD, MA 02062                        C/O CHARLES RIVER REALTY GROUP
WEST ROXBURY, MA 02132                                                          P.O. BOX 262
                                                                                NORWOOD, MA 02062
AMIE KULHANEK             Case 18-12241-CSS     Doc 26
                                        AMIE RAGSDALE         Filed 10/05/18   Page 80WILLIS
                                                                                  AMIE of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                     1307 HOLBECH LN
HOUSTON, TX 77025                        HOUSTON, TX 77025                        CHANNELVIEW, TX 77530




AMIEL TINES                              AMIR KAZAN                               AMIR LAMBERT
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




AMIR WRIGHT                              AMIREX REALTY SERVICES, INC.             AMIREX REALTY SERVICES, INC.
10201 S. MAIN STREET                     AMIR AHANCHIAN, OWNER                    LAURIE
HOUSTON, TX 77025                        7880 SAN FELIPE, SUITE 120               7880 SAN FELIPE, SUITE 120
                                         HOUSTON, TX 02647                        HOUSTON, TX 77063




AMJ INC.                                 AMJAD CHAUDHRY                           AMJNC ENTERPRISES LLC
502 NW 16TH AVE                          10201 S. MAIN STREET                     10012 MOORES CHAPEL LOOP
GAINESVILLE, FL 32601                    HOUSTON, TX 77025                        CHARLOTTE, NC 28214




AMMAR FITOURI                            AMMON TGIF LLC                           AMMON TGIF LLC
10201 S. MAIN STREET                     1631 WILLOW ST STE 200                   ATTN: TOM LOESWICK
HOUSTON, TX 77025                        SAN JOSE, CA 95125                       765 COLLEEN DRIVE
                                                                                  SAN JOSE, CA 95123




AMMON TGIF, LLC                          AMMON TGIF, LLC                          AMMON TGIF, LLC
1631 WILLOW ST STE 200                   ATTN: TOM LOESWICK                       ATTN: TOM LOESWICK
SAN JOSE, CA 95125                       765 COLLEEN DRIVE                        765 COLLEEN DRIVE
                                         SAN JOSE, CA 95123                       SAN JOSE, CA 95213




AMOS HAN                                 AMOS VANN                                AMOS WATTON
4339 OMEGA AVE                           10201 S. MAIN STREET                     10201 S. MAIN STREET
CASTRO VALLEY, CA 94546                  HOUSTON, TX 77025                        HOUSTON, TX 77025




AMOS WILLIAMS                            AMPARO CARRION                           AMPLIENCE INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                     135 WEST 29TH ST STE 404
HOUSTON, TX 77025                        HOUSTON, TX 77025                        NEW YORK, NY 10001




AMREIT COURTYARD LP                      AMREIT INC                               AMREIT MACARTHUR PAD SITES LP
8 GREENWAY PLAZA STE 1000                8 GREENWAY PLAZA STE 1000                8 GREENWAY PLAZA STE 1000
HOUSTON, TX 77046                        HOUSTON, TX 77046                        HOUSTON, TX 77046




AMRINDER SINGH                           AMRIT SARAN                              AMS BILLING SERVICE
10201 S. MAIN STREET                     10201 S. MAIN STREET                     6915 15TH ST E STE 204
HOUSTON, TX 77025                        HOUSTON, TX 77025                        SARASOTA, FL 34243-7203
AMSTERDAM ASSOCIATES Case     18-12241-CSS    Doc 26 SERVICES
                                       AMTECH ELEVATOR Filed 10/05/18      Page 81ALLISON
                                                                              AMY  of 1739GRAY
200 EAST 66TH ST STE B-1105            PO BOX 730437                           3 BESSOM ST 123
NEW YORK, NY 10065                     DALLAS, TX 75373-0437                   MARBLEHEAD, MA 01945




AMY BALAAM                             AMY BLANKENSHIP LLC DBA SHOP WITH       AMY BOLTJES
10201 S. MAIN STREET                   STYLE                                   10201 S. MAIN STREET
HOUSTON, TX 77025                      345 E 86TH ST 15D                       HOUSTON, TX 77025
                                       NEW YORK, NY 10028




AMY BOLTJES                            AMY BRIGHAM                             AMY CARO-BROWN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AMY DILLON                             AMY DOTY                                AMY ELIZABETH WHITMER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AMY EVERIDGE                           AMY GRAY                                AMY HOBBS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    222 EMMITT AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                       MADISON, TN 37115




AMY HOTA                               AMY HOYT                                AMY K WORKMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    520 LOVES RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                       CORTLAND, IL 60112




AMY KELLER                             AMY KELLEY                              AMY KIRKLAND
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AMY KUTCHINSKI                         AMY MCCARTHY                            AMY MILLER
1204 MIDDLECREEK                       12458 CALETA WAY                        10201 S. MAIN STREET
FRIENDSWOOD, TX 77546                  SAN DIEGO, CA 92128                     HOUSTON, TX 77025




AMY MOLL KISPERT                       AMY N GUTIERREZ                         AMY PAINE
248 HAYWOOD KNOLLS DR                  3416 NE 43RD ST.                        10201 S. MAIN STREET
HENDERSONVILLE, NC 28791               KANSAS CITY, MO 64117                   HOUSTON, TX 77025




AMY PIERSON                            AMY POTHIER                             AMY R KELLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    804 NE 2ND ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       BLUE SPRINGS, MO 64014
AMY SHARP               Case 18-12241-CSS    Doc 26
                                      AMY THOMAS          Filed 10/05/18   Page 82THOMASSON
                                                                              AMY  of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




AMY WORKMAN                           AMY YOUNG                               AMY YOUNGBERG
10201 S. MAIN STREET                  3510 LONGVIEW DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                     CORINTH, TX 76210                       HOUSTON, TX 77025




ANA BAILEY                            ANA BRAXTON                             ANA CAROLINA VIEIRA REGO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ANA DOMINGUEZ PACHECO                 ANA HERNANDEZ                           ANA HIDALGO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ANA MUNGUIA                           ANA NUNEZ                               ANA RIVAS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ANA SAUNDERS                          ANA SOTELO                              ANA VALDEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1794 VALENTINE AVE. APT. 3E
HOUSTON, TX 77025                     HOUSTON, TX 77025                       BRONX, NY 10458




ANA VALDEZ                            ANA VILLELA                             ANABEL GONZALEZ
C/O JAGHAB, JAGHAB & JAGHAB, P.C.     10201 S. MAIN STREET                    2741 S KOSTNER AVE
ATTN: GONZALO LANDAVERDE              HOUSTON, TX 77025                       CHICAGO, IL 60623
176 MINEOLA BLVD
MINEOLA, NY 11501



ANABELL SANTIAGO                      ANAHEIM BROADCASTING RIVERSIDE          ANAHEIM BROADCASTING RIVERSIDE
10201 S. MAIN STREET                  C/O KCAL                                C/O KOLA
HOUSTON, TX 77025                     1940 ORANGE TREE LN STE 200             1940 ORANGE TREE LN STE 200
                                      REDLANDS, CA 92374                      REDLANDS, CA 92374




ANAIS ELIZALDE                        ANAND RAMSARAN                          ANANI LAWSON
507 W LA HABRA BLVD                   10201 S. MAIN STREET                    10201 S. MAIN STREET
LA HABRA, CA 90631                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ANASTASIA DRAGOMIROVA                 ANASTASIOS KRITIKAKIS                   ANASTASIOS VASILAKOS
10201 S. MAIN STREET                                                          1064 85TH STREET
HOUSTON, TX 77025                                                             BROOKLYN, NY 11228
ANASTASYA NAK              Case 18-12241-CSS
                                         ANCHOR Doc 26 Filed
                                                ASSOCIATES LLC 10/05/18    Page 83 ofASSOCIATES
                                                                              ANCHOR  1739      LLC
10201 S. MAIN STREET                      3825 EDWARDS ROAD, SUITE 630         ATTN: JOY JONES
HOUSTON, TX 77025                         CINCINNATI, OH 45209                 3805 EDWARDS RD 410
                                                                               CINCINNATI, OH 45209




ANCHOR FINANCIAL SERV OF ROLAND LLC       ANCHOR JANITORIAL SERVICE            ANCHOR REALTY
104 W RAY FINE BLVD STE 1                 7739 S KALISPELL CT                  2148A MARKET STREET
ROLAND, OK 74954                          ENGLEWOOD, CO 80112                  SAN FRANCISCO, CA 94114




ANCHOR SAFETY INC                         ANCHOR SIGN                          ANDERSEN MATERIAL HANDLING
4016 WEST MARSHALL AVE                    P.O. BOX 22737                       30575 ANDERSEN COURT
LONGVIEW, TX 75604                        CHARLESTON, SC 29413                 WIXOM, MI 48393-1015




ANDERSEN MATERIAL HANDLING                ANDERSON CITY UTILITIES              ANDERSON CITY UTILITIES
PO BOX 1015                               CITY HALL - GROUND FL                P.O. BOX 2100
WIXOM, MI 48393-1015                      120 E 8TH FL                         ANDERSON, IN 46018-2100
                                          ANDERSON, IN 46016




ANDERSON COMMONS, LLC                     ANDERSON COUNTY TREASURER            ANDERSON HERRERA CONTRERA
C/O AUSTIN NELSON PROPERTY                C/O TAX DEPT                         10201 S. MAIN STREET
SOLUTIONS, LLC                            PO BOX 8002                          HOUSTON, TX 77025
530 HOWELL ROAD, #200                     ANDERSON, SC 29622-8002
GREENVILLE, SC 29615



ANDERSON INDEPENDENT MAIL                 ANDERSON J MUNOZ                     ANDERSON JOSEPH
DEPT 888049                               9619 FONTAINBLEAU BLVD APT 312       10201 S. MAIN STREET
KNOXVILLE, TN 37995-8049                  MIAMI, FL 33172                      HOUSTON, TX 77025




ANDERSON LOCK & SAFE                      ANDERSON PENA                        ANDERSON PROPANE SVC INC
6146 NORTH 35TH AVE STE 101               10201 S. MAIN STREET                 11905 TIDEWATER TRL
PHOENIX, AZ 85017                         HOUSTON, TX 77025                    FREDERICKSBURG, VA 22408-7314




ANDERSON PROPANE SVC INC                  ANDERSON TANNER, STEPHANIE           ANDERSON
P.O. BOX 300                              C/O THE BAINER LAW FIRM              ATTN: PROPERTY TAX DEPT.
FREDERICKSBURG, VA 22404                  ATTN: MATTHEW BAINER                 601 S MAIN ST
                                          1901 HARRISON ST., SUITE 1100        ANDERSON, SC 29624
                                          OAKLAND, CA 94612



ANDERSON, ZACH                            ANDESA BREEZE CO. INC                ANDI DORFMAN
7755 SE CLACKAMAS RD                      4705 SE WINTER HAVEN CT              96 PERRY ST APT B8
MILWAUKIE, OR 97267-4406                  STUART, FL 34997                     NEW YORK, NY 10014




ANDI DORFMAN                              ANDI FOO                             ANDI OREILLY
DBA AUTHENTIC TALENT & LITERARY MGMT      10201 S. MAIN STREET                 144 NAVAJO LN
42 PERRY ST 2C                            HOUSTON, TX 77025                    TOPANGA, CA 90290
NEW YORK, NY 10014
ANDIES INC              Case 18-12241-CSS     Doc 26 Filed 10/05/18 Page
                                      ANDIES INC                            84 ofINC.
                                                                          ANDIE'S,  1739
C/O COHEN COMMERCIAL MANAGEMENT LLC   C/O COHEN COMMERCIAL MANAGEMENT LLC C/O COHEN COMMERCIAL MANAGEMENT LLC
712 US HIGHWAY ONE, SUITE 205         912 NW 132 AVE                      712 US HIGHWAY ONE, SUITE 205
NORTH PALM BEACH, FL 33408            SUNRISE, FL 33325                   NORTH PALM BEACH, FL 33408




ANDIE'S, INC.                         ANDOVER HOLDING COMPANY LLC          ANDOVER HOLDING COMPANY, LLC
C/O COHEN COMMERCIAL MANAGEMENT LLC   PO BOX 3797                          1385 HANCOCK STREET
912 NW 132 AVE                        BOSTON, MA 02241-3797                QUINCY, MA 02169
SUNRISE, FL 33325




ANDOVER HOLDING COMPANY, LLC          ANDOVER                              ANDRAE KATES
PO BOX 3797                           ATTN: PROPERTY TAX DEPT.             10201 S. MAIN STREET
BOSTON, MA 02241-3797                 PO BOX 99                            HOUSTON, TX 77025
                                      ANDOVER, MA 01810




ANDRE AKINS                           ANDRE ANDERSON                       ANDRE BATES
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ANDRE BENJAMIN                        ANDRE BISHOP                         ANDRE BLUITT
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ANDRE BOVAN                           ANDRE CARTWRIGHT                     ANDRE COVINGTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                 6587 W. WRENWOOD LN.
HOUSTON, TX 77025                     HOUSTON, TX 77025                    FRESNO, CA 93723




ANDRE CREAR                           ANDRE D WARE                         ANDRE DAVILA
10201 S. MAIN STREET                  6114 DORSETT ST                      10201 S. MAIN STREET
HOUSTON, TX 77025                     DOUGLASVILLE, GA 30134               HOUSTON, TX 77025




ANDRE DUNN                            ANDRE ENRIQUEZ                       ANDRE GARLIC
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ANDRE GENTLES                         ANDRE GUY                            ANDRE JONES
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ANDRE LOPEZ                           ANDRE MEEKS                          ANDRE MILLER
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025
ANDRE THOMPSON         Case 18-12241-CSS    Doc 26
                                     ANDRE WHYTE        Filed 10/05/18   Page 85 of
                                                                            ANDRE   1739
                                                                                  WILLIAMS
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDRE WITHERSPOON                    ANDREA BIBELHEIMER                      ANDREA BRANDON
10201 S. MAIN STREET                 10201 S. MAIN STREET                    4113 N KINSLEY AVE
HOUSTON, TX 77025                    HOUSTON, TX 77025                       RICHMOND, VA 23224




ANDREA BROWN                         ANDREA BYES                             ANDREA CALOGERO
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDREA CANDIDO                       ANDREA CONN                             ANDREA ETHERIDGE
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDREA FUENTES                       ANDREA GREENLAW                         ANDREA HUERTA
10201 S. MAIN STREET                 28 CEDAR RIDGE RD                       10201 S. MAIN STREET
HOUSTON, TX 77025                    JEFFERSON, ME 04348                     HOUSTON, TX 77025




ANDREA LEE                           ANDREA LOPEZ PRICKETT                   ANDREA MEISENHEIMER
10201 S. MAIN STREET                 201 FINSBURY LN                         10201 S. MAIN STREET
HOUSTON, TX 77025                    LA GRANGE PARK, IL 60526                HOUSTON, TX 77025




ANDREA MIDDLETON                     ANDREA NAGY KASZA                       ANDREA OBST
622 DEAVERVIEW RD 2                  10201 S. MAIN STREET                    10201 S. MAIN STREET
ASHEVILLE, NC 28806                  HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDREA PERRY                         ANDREA RESENDEZ                         ANDREA RODRIGUEZ
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDREA SIROIS                        ANDREA SMITH                            ANDREA VERNON
10201 S. MAIN STREET                 10201 S. MAIN STREET                    200 BROTHERS BLVD APT 2101
HOUSTON, TX 77025                    HOUSTON, TX 77025                       RED OAK, TX 75154




ANDREA WILLIAMS                      ANDREA WILLIAMS                         ANDREA WYATT
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025
ANDREAS TSIROPOULOS      Case 18-12241-CSS
                                       ANDRENEDoc  26
                                               SILVERA     Filed 10/05/18   Page 86 ofBLANCO
                                                                               ANDRES  1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                   9725 FONTAINBLEAU BLVD A204
HOUSTON, TX 77025                       HOUSTON, TX 77025                      MIAMI, FL 33172




ANDRES EIGUREN                          ANDRES ESCABOR                         ANDRES GOMEZ
2428 W STATE ST                         4412 HIGHRIDGE DR                      1251 NW 20TH ST APT 705
BOISE, ID 83702                         THE COLONY, TX 75056                   MIAMI, FL 33142




ANDRES GONZALEZ                         ANDRES GONZALEZ                        ANDRES HERNANDEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDRES MARTINEZ                         ANDRES MEDINA-AVALOS                   ANDRES RODRIGUEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDRES SANTILLAN                        ANDRES TROCHEZ                         ANDREW ADAMES
DBA SANTILLAN TRUCKING                  10201 S. MAIN STREET                   10201 S. MAIN STREET
112 E GLADE AVE                         HOUSTON, TX 77025                      HOUSTON, TX 77025
MESA, AZ 85210




ANDREW AGGREY                           ANDREW APOLENCIA                       ANDREW BALTERA
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW BELOW                            ANDREW BILLETZ                         ANDREW BONOMO
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW BOSHE                            ANDREW BOSSERT                         ANDREW BOTELLO
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW BOWDEN JENKINS                   ANDREW BOWDEN                          ANDREW BRACCO
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW BURT                             ANDREW CANNIOTO                        ANDREW CARTER
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025
ANDREW CARTER          Case 18-12241-CSS
                                     ANDREW Doc
                                            DAVIS26      Filed 10/05/18   Page 87 of DAVIS
                                                                             ANDREW  1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW DAVIS                          ANDREW DAVIS                           ANDREW DICARLO
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW DICICCO                        ANDREW DUCZER                          ANDREW DUNN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW DUTKIEWICZ                     ANDREW EARNHARDT                       ANDREW EARNHARDT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW FARWIG                         ANDREW FENAUGHTY                       ANDREW FERGUSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW FERNANDEZ                      ANDREW FIORI                           ANDREW FLECK
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW FOSS                           ANDREW FOX                             ANDREW FREEMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   3422 ST CLAUDE AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                      NEW ORLEANS, LA 70117




ANDREW FRICK                          ANDREW FRIEDRICH                       ANDREW G KACZMARCZYK
10201 S. MAIN STREET                  10201 S. MAIN STREET                   DBA AURATEK INTERNATIONAL
HOUSTON, TX 77025                     HOUSTON, TX 77025                      1630 N MAIN ST 325
                                                                             WALNUT CREEK, CA 94596




ANDREW GETTINGS                       ANDREW GOMEZ                           ANDREW GONZALEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW GOUMILLOUT                     ANDREW GUTIERREZ                       ANDREW HAINLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
ANDREW HALE             Case 18-12241-CSS
                                      ANDREW Doc 26
                                             HALPERN      Filed 10/05/18   Page 88 of HARDRATH
                                                                              ANDREW  1739
10201 S. MAIN STREET                   DBA AH HA                              10201 S. MAIN STREET
HOUSTON, TX 77025                      514 MUSKINGUM AVE                      HOUSTON, TX 77025
                                       PACIFIC PALISADES, CA 90272




ANDREW HARRIS                          ANDREW HART                            ANDREW HEINZ
9200 CENTENNIAL DR                     3146 OAK RD 113                        10201 S. MAIN STREET
FORT WORTH, TX 76244                   WALNUT CREEK, CA 94597                 HOUSTON, TX 77025




ANDREW HELTON                          ANDREW HICKS                           ANDREW HOLMES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW HOPKINS                         ANDREW HOWERTON                        ANDREW IIAMS
1036 GILMAN DR                         10201 S. MAIN STREET                   10201 S. MAIN STREET
DALY CITY, CA 94015                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW J DICICCO                       ANDREW JACKSON                         ANDREW KAISER
PO BOX 13331                           10201 S. MAIN STREET                   10201 S. MAIN STREET
OFFUTT AF B, NE 68113                  HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW KATZ                            ANDREW KELLY                           ANDREW KETTERER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW KIRKPATRICK                     ANDREW KLEIN                           ANDREW KRISKE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   415 WELLWROD WAY
HOUSTON, TX 77025                      HOUSTON, TX 77025                      ROSWELL, GA 30075




ANDREW KRISS                           ANDREW KUHLMANN DBA KUHLMANN LLC       ANDREW KURVINK
10201 S. MAIN STREET                   75 W LOCKWOOD AVE SUITE 1              10201 S. MAIN STREET
HOUSTON, TX 77025                      SAINT LOUIS, MO 63119                  HOUSTON, TX 77025




ANDREW LAURITA                         ANDREW LEE                             ANDREW LEWIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW LINDBERG                        ANDREW M GARRISON GARRISON             ANDREW MARTIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
ANDREW MARTINEZ        Case 18-12241-CSS
                                     ANDREW Doc 26 Filed 10/05/18
                                            MAXFIELD                Page 89 of MCCOMBS
                                                                       ANDREW  1739
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANDREW MCCOMBS                       ANDREW MEEKINS                    ANDREW MERCER
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANDREW MILLER                        ANDREW MIRANDA                    ANDREW MOLOSKY
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANDREW MONTANEZ                      ANDREW MORRISON                   ANDREW MUNRO
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANDREW MUNRO                         ANDREW MYKYTIUK                   ANDREW NELSON
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANDREW NORMAN                        ANDREW O NEIL                     ANDREW P CHRISTIANSON
10201 S. MAIN STREET                 10201 S. MAIN STREET              103 GROVE ST UNIT 348
HOUSTON, TX 77025                    HOUSTON, TX 77025                 ROCKLAND, MA 02370




ANDREW PALOCK                        ANDREW PARKER                     ANDREW PARKER
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANDREW PATTON                        ANDREW PAUL                       ANDREW PAVOLA
1307 W ARIES RD                      10201 S. MAIN STREET              1385 W BROWINING WAY
EDMOND, OK 73003                     HOUSTON, TX 77025                 CHANDLER, AZ 85286




ANDREW PENA                          ANDREW PENDERGAST                 ANDREW PENDLETON
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANDREW PESETSKY                      ANDREW PETERS                     ANDREW PRIGMORE
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025
ANDREW REUTHER         Case 18-12241-CSS
                                     ANDREW Doc  26
                                            RISPALJE     Filed 10/05/18   Page 90 of RODARTE
                                                                             ANDREW  1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW ROE                            ANDREW ROSEN                           ANDREW RUGGIERO
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW RUMNEY                         ANDREW RUTLEDGE                        ANDREW S. MARGOLIS, ESQ.
10201 S. MAIN STREET                  10201 S. MAIN STREET                   431 SPRAGUE ROAD
HOUSTON, TX 77025                     HOUSTON, TX 77025                      NARBERTH, PA 19072




ANDREW SAINT                          ANDREW SCHMIDT                         ANDREW SCHNEID
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW SCHREINER                      ANDREW SHEIKOWITZ                      ANDREW SIMANU
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW SPEDDEN                        ANDREW SPONSLER                        ANDREW STAMPER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW STAUBS                         ANDREW STEELE                          ANDREW STRAND
10201 S. MAIN STREET                  15646 CHUCKAWA LN SE                   10201 S. MAIN STREET
HOUSTON, TX 77025                     YELM, WA 98597-9002                    HOUSTON, TX 77025




ANDREW SVAGDYS                        ANDREW TARKINGTON                      ANDREW THOMAS
10201 S. MAIN STREET                  116 VIRGINIA ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                     RACINE, WI 53405                       HOUSTON, TX 77025




ANDREW TOWNE                          ANDREW TRAYNOR                         ANDREW VALLES
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ANDREW VAN LUVANEE                    ANDREW VAN WILPE                       ANDREW VRABLIC
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
ANDREW WEISS             Case 18-12241-CSS
                                       ANDREW Doc  26
                                              WILKINS      Filed 10/05/18   Page 91 of WILLIAMS
                                                                               ANDREW  1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDREW WILLIAMS                         ANDREW WILLIAMS                         ANDREW WISNE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDREW WITHERELL                        ANDREW WOLF                             ANDREW WOODRIDGE
10201 S. MAIN STREET                                                            10201 S. MAIN STREET
HOUSTON, TX 77025                                                               HOUSTON, TX 77025




ANDREW ZEHNTER                          ANDREWS & BARTH, PC                     ANDREWS & HAMILTON CO INC
10201 S. MAIN STREET                    ATTN: ANGELA R. MAVERICK                2201-141 SOUTH WILMINGTON ST
HOUSTON, TX 77025                       8235 DOUGLAS AVENUE, SUITE 1120         RALEIGH, NC 27603
                                        DALLAS, TX 75225




ANDREWS, ELLEN                          ANDREY IVANYUGO                         ANDREYA IBARRA
2217 ROUNTREE DR                        10201 S. MAIN STREET                    10201 S. MAIN STREET
SAINT LOUIS, MO 63136-6136              HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDRIA RIVERA                           ANDRILITA RODRIGUEZ                     ANDY ANDERSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDY BERTHELOT                          ANDY CHAPLE                             ANDY COLWELL
C/O HOBART O. PARDUE LLC                10201 S. MAIN STREET                    10201 S. MAIN STREET
P.O. BOX 369                            HOUSTON, TX 77025                       HOUSTON, TX 77025
SPRINGFIELD, LA 70462




ANDY CRUZ                               ANDY ESTEVEZ                            ANDY GUTIERREZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDY HILL                               ANDY HUMPFER                            ANDY KERNER
24807 JORDANS WAY                       10201 S. MAIN STREET                    10201 S. MAIN STREET
SAN ANTONIO, TX 78260                   HOUSTON, TX 77025                       HOUSTON, TX 77025




ANDY KISSEBERTH                         ANDY LEHTONEN                           ANDY MARTINEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
ANDY PEREZ             Case 18-12241-CSS    Doc 26
                                     ANDY POTASH           Filed 10/05/18   Page 92 RICHTER
                                                                               ANDY of 1739PHOTOGRAPHY
10201 S. MAIN STREET                 10201 S. MAIN STREET                      713 19TH AVE NE
HOUSTON, TX 77025                    HOUSTON, TX 77025                         MINNEAPOLIS, MN 55418




ANDY SINGLETON                       ANDY SMAJLAJ                              ANDY STEBBING COUNTY TREASURER
10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025




ANDY THRUSH                          ANDY TUNISON                              ANDY ZABRODSKY
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




ANDYS PLUMBING                       ANETTE LONGWORTH                          ANGEL ALCALA
GARY & MATHEW ANDERSON               1741 HERMES ST                            10201 S. MAIN STREET
PO BOX 1745                          SAN DIEGO, CA 92154                       HOUSTON, TX 77025
CYPRESS, TX 77410




ANGEL ALVARES                        ANGEL ARREDONDO                           ANGEL CASTILLO
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




ANGEL CHIA                           ANGEL FIGUEROA                            ANGEL FLEITES
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




ANGEL GARCIA                         ANGEL GARCIA                              ANGEL GARRIGA
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




ANGEL GARZA                          ANGEL GONZALEZ                            ANGEL GONZALEZ
                                     10201 S. MAIN STREET                      10201 S. MAIN STREET
                                     HOUSTON, TX 77025                         HOUSTON, TX 77025




ANGEL GRAY                           ANGEL HERNANDEZ                           ANGEL MONTALVO
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




ANGEL MORALES CRESPO                 ANGEL MORALES                             ANGEL PEREZ
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025
ANGEL RIVERA           Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                     ANGEL RODRIGUEZ                Page 93 of
                                                                       ANGEL   1739
                                                                             SANDOVAL
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANGEL SIFUENTES                      ANGEL SOLER                       ANGEL ZARAGOZA
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANGELA AMA                           ANGELA BANKS-PETE                 ANGELA BEASLEY
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANGELA BLEIBTREY                     ANGELA BOTTINI-GROVE              ANGELA BRADEN
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANGELA BRANNON                       ANGELA BRASHER                    ANGELA CARNEY
10201 S. MAIN STREET                 18 N HILLVIEW DR                  10201 S. MAIN STREET
HOUSTON, TX 77025                    SAINT PETERS, MO 63376            HOUSTON, TX 77025




ANGELA CHAMPION                      ANGELA CLARK                      ANGELA CLIFFORD
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANGELA COOLING                       ANGELA CORREIA                    ANGELA DILJAK
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANGELA EMANI                         ANGELA ENNIS                      ANGELA FAUTT
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANGELA GOODMAN                       ANGELA HARDY                      ANGELA HAYES
10201 S. MAIN STREET                 10201 S. MAIN STREET              3360 JEANNE DR
HOUSTON, TX 77025                    HOUSTON, TX 77025                 CLEVELAND, OH 44134




ANGELA JACKSON                       ANGELA JOHNSON                    ANGELA KOMENDANT
10201 S. MAIN STREET                 1019 E DIAMOND WAY                10201 S. MAIN STREET
HOUSTON, TX 77025                    SANDY, UT 84094                   HOUSTON, TX 77025
ANGELA M PALOMBI        Case 18-12241-CSS    Doc
                                      ANGELA M    26 Filed 10/05/18
                                               WHEELER                Page 94 ofMANNING
                                                                         ANGELA  1739
                                      6147 INDIGO CROSSING DR            10201 S. MAIN STREET
                                      ROCKLEDGE, FL 32955                HOUSTON, TX 77025




ANGELA MCGUIRE                        ANGELA PETTS                       ANGELA ROBINSON
1705 MESQUITE RD                      8016 QUEENSFERRY LANE              10201 S. MAIN STREET
SOUTHLAKE, TX 76092                   JACKSONVILLE, FL 32244             HOUSTON, TX 77025




ANGELA ROCK                           ANGELA ROGERS                      ANGELA ROTONDO
26008 110TH AVE E                     10201 S. MAIN STREET               10201 S. MAIN STREET
GRAHAM, WA 98338                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ANGELA ROTONDO                        ANGELA SANDERS                     ANGELA SCOTT
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANGELA SHAFFER                        ANGELA STEWART                     ANGELA VANG
10201 S. MAIN STREET                  10201 S. MAIN STREET               119 W 9TH ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                  STOCKTON, CA 95206




ANGELA WHEELER                        ANGELEETA SOSNOWSKI                ANGELIA GLISSON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANGELIA WADLEY                        ANGELICA CABRERA                   ANGELICA CASAREZ
10201 S. MAIN STREET                  10104 N DARTMOUTH AVE              10201 S. MAIN STREET
HOUSTON, TX 77025                     TAMPA, FL 33612                    HOUSTON, TX 77025




ANGELICA GARZON                       ANGELIKA MERCADO                   ANGELIKA TYMESKO
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANGELINA COUNTY                       ANGELINA                           ANGELIQUE THOMAS
PO BOX 1344                           ATTN: PROPERTY TAX DEPT.           10201 S. MAIN STREET
LUFKIN, TX 75902-1344                 PO BOX 1344                        HOUSTON, TX 77025
                                      LUFKIN, TX 75902-1344




ANGELO BARBOSA                        ANGELO DAMATO                      ANGELO DEJULIO
300 E ROUND GROVE RD APT 2021         10201 S. MAIN STREET               10201 S. MAIN STREET
LEWISVILLE, TX 75067                  HOUSTON, TX 77025                  HOUSTON, TX 77025
ANGELO FARAG            Case 18-12241-CSS
                                      ANGELOSDoc 26 Filed
                                              LAWN-SCAPE OF LA10/05/18   Page 95 of 1739
                                                                            ANGELYN CHESTANG
10201 S. MAIN STREET                    P.O. BOX 86715                      10201 S. MAIN STREET
HOUSTON, TX 77025                       BATON ROUGE, LA 70879-6715          HOUSTON, TX 77025




ANGI JAMERSON                           ANGIE ALVES                         ANGIE ARRAMBIDE
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




ANGIE BROENNIMANN                       ANGIE GONZALEZ                      ANGIE HATTON
1526 S HICKORY ST4016 OCEAN DR.         10201 S. MAIN STREET                1395 SAFETY COURT NE
FOND DU LAC, WI 54937                   HOUSTON, TX 77025                   BELMONT, MI 49306




ANGIE LEIJA                             ANGIE OTTENSCHOT                    ANGIE PREMA
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




ANGIE TORRES                            ANGIEMARIE HAMILTON                 ANGLER RETAIL CONSTRUCTION LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                DBA ROBERT E APPLE
HOUSTON, TX 77025                       HOUSTON, TX 77025                   6514 RIVER MILL DR
                                                                            SPRING, TX 77379




ANGLER RETAIL CONSTRUCTION TX LLC       ANH NGUYEN                          ANIA FAWAD
5519 LOUETTA RD E                       10201 S. MAIN STREET                10201 S. MAIN STREET
SPRING, TX 77379                        HOUSTON, TX 77025                   HOUSTON, TX 77025




ANIBAL LAZCANO                          ANICHA BOADA ABREU                  ANICIA MENDIOLA
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




ANIKA LLOYD                             ANISCHA DUAH                        ANISEH SALEM
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




ANISSA SALAS                            ANITA BISHOP-SQUIRES                ANITA RAPP
1606 82ND ST APT 1922                   88 SUNSET BEACH RD                  10201 S. MAIN STREET
LUBBOCK, TX 79423                       SAG HARBOR, NY 11963                HOUSTON, TX 77025




ANITA RECTOR                            ANITA SCHNEIDER                     ANITA THOMPSON
10201 S. MAIN STREET                    125 NORTH CANYON BLVD               10201 S. MAIN STREET
HOUSTON, TX 77025                       MONROVIA, CA 91016                  HOUSTON, TX 77025
ANITA VALENTY          Case 18-12241-CSS     Doc 26
                                     ANITRA PEARSON         Filed 10/05/18   Page 96 of 1739
                                                                                ANJALIYAH ECHEMENDIA
10201 S. MAIN STREET                  DBA NITRAA B
HOUSTON, TX 77025                     5900 GREENBRIAR LOOP
                                      JASPER, AL 35503




ANJANETTE GONZALEZ                    ANJEL SOLORIO                              ANJELICA MADRIGAL
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




ANJELYCA COSTON                       ANKA MARGARETIC                            ANKA MARGARETIC
10201 S. MAIN STREET                  335 MAIN STREET                            C/O CAPITAL MANAGEMENT SERVICES
HOUSTON, TX 77025                     LOS ALTOS, CA 94022                        3026 INDIAN SPRING ROAD
                                                                                 PARADISE, CA 95969




ANKA MARGARETIC                       ANN BENJAMIN                               ANN BOYARSKY
DBA CAPITOL MGMT SVCS INC             10201 S. MAIN STREET                       10201 S. MAIN STREET
PO BOX 147                            HOUSTON, TX 77025                          HOUSTON, TX 77025
PARADISE, CA 95967




ANN CRUSCH                            ANN DEFEO                                  ANN FREEMAN
10201 S. MAIN STREET                  C/O THE LEAL LAW FIRM, P.A.                3801 N MERIDIAN APT 1109
HOUSTON, TX 77025                     ATTN: ALBERTO LEAL                         INDIANAPOLIS, IN 46708
                                      9314 FOREST HILL BLVD #62
                                      WELLINGTON, FL 33411



ANN GROCE                             ANN GUILIANO                               ANN KEMP
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




ANN LILLEBERG                         ANN MALER                                  ANN MARIE JONES
2220 MILLS AVENUE                     10201 S. MAIN STREET                       6 HIDDEN ACRES AVE
ALTON, IL 62002                       HOUSTON, TX 77025                          WEST YARMOUTH, MA 02673




ANN MARIE PARADIS                     ANN MAUREEN KEMP                           ANN RIVERA-VILLEGAS
19 FORDHAM ST                         1380 OLD CLARKSVILLE PIKE                  10201 S. MAIN STREET
ARLINGTON, MA 02474                   PLEASANT VIEW, TN 37146                    HOUSTON, TX 77025




ANN VAN DEN NEST                      ANN WILLIAMS                               ANNA DAOUD
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




ANNA GOODMAN                          ANNA GRIESDORN                             ANNA GUTIERREZ
10201 S. MAIN STREET                  7123 THRUSH VIEW LN 29                     1200 W RODERICK AVE
HOUSTON, TX 77025                     SAN ANTONIO, TX 78209                      OXNARD, CA 93030
ANNA HALBROOKS         Case      18-12241-CSS    Doc 26
                                          ANNA HARRISON      Filed 10/05/18   Page 97 M.
                                                                                 ANNA ofWHITWORTH
                                                                                         1739
291 PLANTATION CENTRE DR N 806            10201 S. MAIN STREET                   131 GREENBROOK DR
MACON, GA 31210                           HOUSTON, TX 77025                      STOUGHTON, MA 02072




ANNA PAREDES                              ANNA WHITESIDE                         ANNA WHITNEY
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




ANNA WINTERBURN                           ANNA ZAMBORSKY                         ANNABELLES CHOCOLATE
386 ELLENBORO HENREITTA RD                10201 S. MAIN STREET                   6240 PLEASANT VALLEY RD
ELLENBORO, NC 28040                       HOUSTON, TX 77025                      EL DORADO, CA 95623




ANNALISA LUDWIG                           ANNALISA LUNSFORD                      ANNE ARUNDEL COUNTY
10201 S. MAIN STREET                      10201 S. MAIN STREET                   ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                         HOUSTON, TX 77025                      PO BOX 427
                                                                                 ANNAPOLIS, MD 21404-0427




ANNE ARUNDEL COUNTY                       ANNE ARUNDEL COUNTY                    ANNE GALLAGHER
TAX COLLECTOR-OFFICE OF FINANCE           TAX COLLECTOR-OFFICE OF FINANCE        10201 S. MAIN STREET
44 CALVERT ST                             PO BOX 427                             HOUSTON, TX 77025
ANNAPOLIS, MD 21401                       ANNAPOLIS, MD 21404-0427




ANNE GRAVES                               ANNE HUERTO                            ANNE MALCOLMSON
10201 S. MAIN STREET                      14427 OSBORNE ST                       10201 S. MAIN STREET
HOUSTON, TX 77025                         PANORAMA CITY, CA 91402                HOUSTON, TX 77025




ANNE NEIDIVER                             ANNE STANELLE                          ANNE WILLIAMS
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




ANNEL MONTES                              ANNELLE BLACKWELL                      ANNEMARIE WOOD
10201 S. MAIN STREET                      10201 S. MAIN STREET                   1 CHAPARRAL RD
HOUSTON, TX 77025                         HOUSTON, TX 77025                      NANUET, NY 10954




ANNETTE ALICE CORMIER                     ANNETTE CAVAZOS                        ANNETTE HAAG
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




ANNETTE HEDRICK                           ANNETTE MARISSA WOOTEN                 ANNETTE QUINN
10201 S. MAIN STREET                      10201 S. MAIN STREET                   1683 HICKORY LN
HOUSTON, TX 77025                         HOUSTON, TX 77025                      PROVO, UT 84604
ANNETTE TAYLOR            Case 18-12241-CSS
                                        ANNETTEDoc 26 Filed 10/05/18
                                               TIMMERMAN               Page 98 of WIRTH
                                                                          ANNETTE 1739
1813 N BELVEDERE WAY                    10201 S. MAIN STREET              10201 S. MAIN STREET
LAYTON, UT 84041                        HOUSTON, TX 77025                 HOUSTON, TX 77025




ANNGUILLA WEST LLC                      ANNIE BAKER                       ANNIE JOHNSON
C/O ROBERT LYNN MGMT                    10201 S. MAIN STREET              10201 S. MAIN STREET
4851 LBJ FWY 10TH FLOOR                 HOUSTON, TX 77025                 HOUSTON, TX 77025
DALLAS, TX 75244




ANNIE LEE                               ANNIE STRAIN                      ANNIE TOTH
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




ANNY LILLY RUDE                         ANNY LILLY RUDE                   ANNYETTA BERNARD
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




ANOTHER GARAGE AND GATE INC             ANQUAN CHERRY                     ANS GATOR CORP
3371 NW 51 ST STE A                     10201 S. MAIN STREET              600 DRUID ROAD EAST
MIAMI, FL 33142                         HOUSTON, TX 77025                 CLEARWATER, FL 33756




ANSBACH GHOUSE PLLC                     ANSE ST LOUIS                     ANSIRA PARTNERS INC.
12655 N CENTRAL EXPWY STE 335           10201 S. MAIN STREET              8396 SOLUTIONS CENTER
DALLAS, TX 75243                        HOUSTON, TX 77025                 CHIACAGO, IL 60677-8003




ANSLEY HANGER                           ANSON E. ECHEVARY                 ANSONIA SHOPPING CENTER LLC
5 CRYSTAL SPRINGS RD APT 419            41 W KANAI ST                     501 MADISON AVE 6TH FL
GREENVILLE, SC 29615                    KAHULUI, HI 96732                 NEW YORK, NY 10022




ANSONIA                                 ANSWERNET INC                     ANT DELIVERY INC
ATTN: PROPERTY TAX DEPT.                100 OXMOOR RD                     4830 S 137TH ST LOT 103
PO BOX 253                              BIRMINGHAM, AL 35209              OMAHA, NE 68137
ANSONIA, CT 06401




ANTAR SABREE                            ANTHONEE FRANCIS                  ANTHONEY MOORE
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




ANTHONIE JONES                          ANTHONIO DONIA                    ANTHONY ACOSTA
10201 S. MAIN STREET                    10201 S. MAIN STREET              3414 W DONATELLO DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                 PHOENIX, AZ 85086
ANTHONY AGNEW          Case 18-12241-CSS
                                     ANTHONYDoc 26 Filed 10/05/18
                                             AMENDOLA               Page 99 of 1739
                                                                       ANTHONY AZEVEDO
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANTHONY BAKER                        ANTHONY BELPEDIO                  ANTHONY BENDERS
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANTHONY BINION                       ANTHONY BISHOP                    ANTHONY BRATTON
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANTHONY BRINDLEY                     ANTHONY BRISCO                    ANTHONY BROWN
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANTHONY BROWN                        ANTHONY BROWN                     ANTHONY BRUMLEY
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANTHONY BURTON                       ANTHONY CAPITANO                  ANTHONY CAPPIELLO
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANTHONY CARRATU                      ANTHONY CASTLEMAN                 ANTHONY CELLI
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANTHONY CHADWICK                     ANTHONY COLEMAN                   ANTHONY CORRAL
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025




ANTHONY COX                          ANTHONY DAVIS                     ANTHONY DEMARCO
13100 HARRIET AVE S.                 10201 S. MAIN STREET              10201 S. MAIN STREET
APT-164                              HOUSTON, TX 77025                 HOUSTON, TX 77025
BURNSVILLE, MN 55337




ANTHONY DENNIS                       ANTHONY EBHAMEN                   ANTHONY FALASCA
10201 S. MAIN STREET                 10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                 HOUSTON, TX 77025
ANTHONY FERNANDEZ      Case 18-12241-CSS    Doc
                                      ANTHONY    26 Filed 10/05/18
                                              FERRANDO               PageANTHONY
                                                                          100 of FIELDS
                                                                                  1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANTHONY FISHER                        ANTHONY FLORIANI                   ANTHONY FLOURNOY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANTHONY FRESCO                        ANTHONY G CHIVALLATI               ANTHONY GAGLIARDI
10201 S. MAIN STREET                  22 E BAYLIES RD                    10201 S. MAIN STREET
HOUSTON, TX 77025                     CHARLTON, MA 01507                 HOUSTON, TX 77025




ANTHONY GARCIA                        ANTHONY GARCIA                     ANTHONY GAY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANTHONY GERMANI                       ANTHONY GIORDANO                   ANTHONY GONZALES
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANTHONY GREGUS                        ANTHONY GRIGALIUNAS                ANTHONY HARRELL
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANTHONY HAWKINS                       ANTHONY HICKS                      ANTHONY HODGES
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANTHONY HOENIE                        ANTHONY HUBERT                     ANTHONY HUNT
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ANTHONY IABONI                        ANTHONY INCE                       ANTHONY J HOLDEN
10201 S. MAIN STREET                  10201 S. MAIN STREET               DBA HOLDEN TOWER INVESTEMENTS LLC
HOUSTON, TX 77025                     HOUSTON, TX 77025                  5721 GEORGE RD
                                                                         LITHONIA, GA 30058




ANTHONY JAMES                         ANTHONY JENKINS                    ANTHONY JOHNSON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025
ANTHONY JOHNSON        Case 18-12241-CSS    Doc
                                      ANTHONY    26
                                              JONES      Filed 10/05/18   PageANTHONY
                                                                               101 of JONES
                                                                                       1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTHONY KRITIKOS                      ANTHONY KUBISH                          ANTHONY L GARETTO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    916 E 168TH ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                       SOUTH HOLLAND, IL 60473




ANTHONY LANNUTTI                      ANTHONY LASTER                          ANTHONY LATIMORE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTHONY LAVITA                        ANTHONY LAX                             ANTHONY LILLY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTHONY LINDSAY                       ANTHONY LOCK AND SAFE                   ANTHONY MARCHETTI
10201 S. MAIN STREET                  1280 S POWERLINE RD 9                   10201 S. MAIN STREET
HOUSTON, TX 77025                     POMPANO BEACH, FL 33069                 HOUSTON, TX 77025




ANTHONY MCGOWAN                       ANTHONY MCMICHAEL                       ANTHONY MEANS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTHONY MICHAEL                       ANTHONY MILLER                          ANTHONY MONTANO
10201 S. MAIN STREET                  OPERATIONS MANAGER-CAROLINA COAST       10201 S. MAIN STREET
HOUSTON, TX 77025                     150 SABINE STREET UNIT 459              HOUSTON, TX 77025
                                      HOUSTON, TX 77007




ANTHONY MOSELY                        ANTHONY MUTZ                            ANTHONY NGO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTHONY NGUYEN                        ANTHONY OWENS                           ANTHONY PAPARELLO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTHONY PATNODE                       ANTHONY PATTERSON                       ANTHONY PECK
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
ANTHONY PRATT          Case 18-12241-CSS    Doc
                                      ANTHONY     26 Filed 10/05/18
                                              PRIDGEN                 PageANTHONY
                                                                           102 of RAMIREZ
                                                                                  1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




ANTHONY REINL                         ANTHONY RETENSKI                    ANTHONY RODGERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




ANTHONY RODRIGUEZ                     ANTHONY ROSENE                      ANTHONY ROSS
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




ANTHONY RUSCIANO                      ANTHONY S GENNUSA JR DBA STAR       ANTHONY SCOTT
10201 S. MAIN STREET                  LOGISTICS                           10201 S. MAIN STREET
HOUSTON, TX 77025                     1539 S MASON RD 3                   HOUSTON, TX 77025
                                      KATY, TX 77450




ANTHONY SCOTT                         ANTHONY SETTEMBRE                   ANTHONY SIFUENTES
10201 S. MAIN STREET                  10201 S. MAIN STREET                1909 RALPH C CRAIG LN
HOUSTON, TX 77025                     HOUSTON, TX 77025                   AUSTIN, TX 78748




ANTHONY SMITH                         ANTHONY SMITH-WELLS                 ANTHONY SPINNATO
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




ANTHONY STITT                         ANTHONY TANNER                      ANTHONY VALENTE
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




ANTHONY VALENZUELA                    ANTHONY VAN HOUTEN                  ANTHONY VELEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




ANTHONY VITALE                        ANTHONY W COGGINS                   ANTHONY WARREN
10201 S. MAIN STREET                  1397 MISTY RIDGE COURT              10201 S. MAIN STREET
HOUSTON, TX 77025                     HAMPTON, GA 30228                   HOUSTON, TX 77025




ANTHONY WELLS                         ANTHONY WHITE                       ANTHONY WILLIAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025
ANTHONY WILMORE        Case 18-12241-CSS    Doc
                                      ANTHONY    26 Filed 10/05/18
                                              WILSON                        PageANTHONY
                                                                                 103 of WILSON
                                                                                        1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




ANTHONY WINT                          ANTHONY WORMACK                           ANTI-DEFAMATION LEAGUE
10201 S. MAIN STREET                  10201 S. MAIN STREET                      605 3RD AVE, 9TH FLOOR
HOUSTON, TX 77025                     HOUSTON, TX 77025                         NEW YORK, NY 10158-3560




ANTI-DEFAMATION LEAGUE                ANTIOCH COMMERCIAL LLC                    ANTIOCH COMMERCIAL LLC
605 THIRD AVENUE                      170 GREEN LEAF DR                         170 GREEN LEAF DRIVE
NEW YORK, NY 10158-3560               HINSDALE, IL 60523                        HINSDALE, IL 60523




ANTIOCH COMMERCIAL LLC                ANTIONETTE GRIGNON                        ANTIONETTE WHALEN
170 GREEN LEAF DRIVE                  10201 S. MAIN STREET                      15420 LA MANCHA DR 2153D
OAKBROOK TERRACE, IL 60523            HOUSTON, TX 77025                         DALLAS, TX 75248




ANTJUAN TAYLOR                        ANTOINE CLARK                             ANTOINE DAVIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




ANTOINE JENNINGS                      ANTOINE JOHNSON- DBA BTA ASSOCIATES       ANTOINE LIU
2408 SW MORNING SIDE DR               LLC                                       10201 S. MAIN STREET
BLUE SPRINGS, MO 64015                2100 ALUMINUM AVE SUITE 108               HOUSTON, TX 77025
                                      HAMPTON, VA 23661




ANTOINE SUMMERS                       ANTON ZHLOBA                              ANTONE ALLEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




ANTONE LAWRENCE                       ANTONEA TAYLOR                            ANTONIO ALLEYNE
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




ANTONIO ALVAREZ                       ANTONIO AMARAL                            ANTONIO BRITT DBA ACA EXPRESS
10201 S. MAIN STREET                  10201 S. MAIN STREET                      9482 DEER CROSSING LANE
HOUSTON, TX 77025                     HOUSTON, TX 77025                         JONESBORO, GA 30236




ANTONIO DEGUGAS                       ANTONIO DICKERSON                         ANTONIO DOZIER
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025
ANTONIO FRANCIS        Case 18-12241-CSS
                                      ANTONIODoc 26
                                              GAMBLE      Filed 10/05/18   PageANTONIO
                                                                                104 ofGARIBAY
                                                                                       1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    3026 CANYON CREEK DR.
HOUSTON, TX 77025                      HOUSTON, TX 77025                       SAN ANGELO, TX 76904




ANTONIO GONZALEZ                       ANTONIO JARVIS                          ANTONIO JENKINS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTONIO JIMENEZ                        ANTONIO JOHNSON                         ANTONIO JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTONIO KELLY                          ANTONIO KING                            ANTONIO LOPEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTONIO MEJIA                          ANTONIO MURRAY                          ANTONIO PAYNE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTONIO PEREZ                          ANTONIO PEREZ-JAQUEZ                    ANTONIO PERRY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTONIO PETERKIN                       ANTONIO R PERKINS                       ANTONIO REYES
10201 S. MAIN STREET                   105 BEN HAMBY RD                        10201 S. MAIN STREET
HOUSTON, TX 77025                      GREENVILLE, SC 29615                    HOUSTON, TX 77025




ANTONIO RODRIGUEZ                      ANTONIO SAINZ                           ANTONIO SERGI
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTONIO STRATOS                        ANTONIO TROUPE                          ANTONIO URBINA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ANTONIO VALENCIA                       ANTRELL PENDER                          ANTRON WILLIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
ANTUAN ZENO             Case 18-12241-CSS    Doc
                                       ANTWAHAN  26 Filed 10/05/18
                                                WELLS                     PageANTWAIN
                                                                               105 ofFOX
                                                                                      1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ANTWAN ALEXANDER                       ANTWAN MCKISSET                        ANTWINE WOOD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ANULFO VASQUEZ                         ANY SPA AND POOL SERVICE               ANYBILL FINANCIAL SERVICES INC
10201 S. MAIN STREET                   3066 ASH WAY                           1801 PENNSYLVANIA AVE STE 700
HOUSTON, TX 77025                      SEDRO WOOLLEY, WA 98284                WASHINGTON, DC 20006




ANYTHING HEAVY MOVERS LLC              AO OF FLORIDA LLC                      AO OF FLORIDA LLC
9393 E PALO BREA BEND STE 2035         6831 EAST 32ND STREET, SUITE 300       ATTN: GARY EDWARDS
SCOTTSDALE, AZ 85255                   ATTN: GARY EDWARDS                     6831 EAST 32ND STREET, SUITE 300
                                       INDIANAPOLIS, IN 46226                 INDIANAPOLIS, IN 46226




AO OF FLORIDA LLC                      AOG                                    AOG
ATTN: JAN LAUGHLIN                     115 N 12TH ST                          DEPARTMENT 05-071
6831 EAST 32ND ST STE 300              FORT SMITH, AR 72902-2414              P.O. BOX 3488
INDIANAPOLIS, IN 46226                                                        TUPELO, MS 38803-3488




AON RISK SERVICES SOUTHWEST INC        AON UK LIMITED                         AP PARCEL 1 LOT 3 LLC
75 REMITTANCE DR STE 1943                                                     SOMERSET CONSTRUCTION CO
CHICAGO, IL 60675-1943                                                        4816 DEL RAY AVE
                                                                              BETHESDA, MD 20814




AP POB BANNOCKBURN LLC                 AP POB BANNOCKBURN, LLC                AP POB BANNOCKBURN, LLC
PO BOX 6624                            ATTN: WILLIAM DOUGLAS ARCHER           C/O CBRE, INC.
CAROL STREAM, IL 60197-6624            13747 MONTFORT DRIVE, SUITE 100        700 COMMERCE DRIVE, SUITE 450
                                       DALLAS, TX 75240                       ATTN: GAVIN SMITH
                                                                              DALLAS, TX 75230



AP TECHNOLOGY                          APACHE 3 LLC                           APACHE MILLS INC
5973 ANEVIDA ENCINAS STE 140           C/O THE EQUITY GROUP                   197 ROYAL DR
CARLSBAD, CA 92008                     6018 S. DURANGO DR., SUITE 110         CALHOUN, GA 30701
                                       LAS VEGAS, NV 89113




APACHE MILLS INC                       APACHE STRUCTURES LLC                  APEX BILLING SOLUTIONS
PO BOX 907                             C/O BLACKSTONE CAPITAL GROUP           901 FRONT AVE, STE 208
CALHOUN, GA 30703                      2919 WILSHIRE BLVD                     COLUMBUS, GA 31901-2752
                                       SANTA MONICA, CA 90403




APEX BILLING SOLUTIONS                 APEX INSULATION LLC                    APEX UNLIMITED NC, INC
PO BOX 84077                           14065 ASTON ST                         21 BROWNDALE ROAD
COLUMBUS, GA 31908-4077                HOUSTON, TX 77040                      ASHEVILLE, NC 28805
                      Case
APG MEDIA OF CHESAPEAKE LLC    18-12241-CSS     Doc
                                         APG-EAST LLC 26     Filed 10/05/18   PageAPIPS
                                                                                   106INC
                                                                                        of 1739
PO BOX 600                                THE GREENEVILLE SUN                     DBA ACTA INVESTIGATIONS
EASTON, MD 21601                          103 W SUMMER ST                         101 SOUTHWESTERN BLVD SUITE 216
                                          GREENEVILLE, TN 37743                   SUGAR LAND, TX 77478




APOL AGONCILLO                            APOLLO LOGISTICS LLC                    APOLLON PLAZA LLC
10201 S. MAIN STREET                      425 S 48TH ST STE 103                   13865 S DIXIE HWY STE 302
HOUSTON, TX 77025                         TEMPE, AZ 85281-7221                    MIAMI, FL 33176




APP NETA INC                              APP OF FLORIDA LLC                      APPALACHIAN POWER
285 SUMMER ST 4TH FL                      CO GREENFIELD DEVELPOMENT COMPANY       1 RIVERSIDE PLAZA
BOSTON, MA 02210                          6831 EAST 32ND STREET STE 300           COLUMBUS, OH 43215
                                          INDIANAPOLIS, IN 46226




APPALACHIAN POWER                         APPLE CLEANING & MAINTENANCE INC.       APPLE INC
PO BOX 24413                              604 A 42ND AVE NORTH                    PO BOX 846095
CANTON, OH 44701-4413                     NASHVILLE, TN 37209                     DALLAS, TX 75284-6095




APPLE VALLEY MALL LLC                     APPLE VALLEY MALL, LLC                  APPLEGATE & THORNE - THOMSEN
C/O KGI PROPERTIES, LLC                   C/O KGI PROPERTIES, LLC                 ATTN: STEVEN FRIEDLAND
10 MEMORIAL BOULEVARD, SUITE 901          10 MEMORIAL BOULEVARD, SUITE 901        626 W. JACKSON BOULEVARD, SUITE 400
ATTN: KAREN BODELL                        ATTN: KAREN BODELL                      CHICAGO, IL 60661
PROVIDENCE, RI 02903                      PROVIDENCE, RI 02903



APPLEWOOD SHOPPING CENTER LLC             APPLEWOOD SHOPPING CENTER, LLC          APPLIED COMPUTER SOLUTIONS
C/O PROVIDENCE GROUP MANAGEMENT           C/O PROVIDENCE GROUP MANAGEMENT         ACS (US) INC
SERVICES                                  SERVICES                                PO BOX 101721
1616 CAMDEN RD STE 550                    1616 CAMDEN ROAD, SUITE 550             PASADENA, CA 91189-1721
CHARLOTTE, NC 28203                       CHARLOTTE, NC 28203



APPLIED PREDICTIVE TECHNOLOGIES INC       APPRENTICE PERSONNEL                    APPROVED FIRE PREVENTION CORP
4250 NORTH FAIRFAX DR 11TH FL             800 S BROADWAY STE 100                  380 WEST MAIN ST
ARLINGTON, VA 22203                       WICHITA, KS 67211                       BABYLON, NY 11702




APQC                                      APRIL AMOS                              APRIL ASHCRAFT
123 NORTH POST OAK LN 3RD FL              10201 S. MAIN STREET                    1329 WOLF SWAMP RD
HOUSTON, TX 77024-7797                    HOUSTON, TX 77025                       JACKSONVILLE, NC 28546




APRIL AVERY                               APRIL BAPTIST                           APRIL BELCZAK
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




APRIL BIVINS                              APRIL CHUMLEY                           APRIL CURRIE
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025
APRIL GARCIA            Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                       APRIL HERNANDEZ                PageAPRIL
                                                                           107HERNANDEZ-MCDUFF
                                                                                of 1739
10201 S. MAIN STREET                   4719 MEADOWTHORN CT                10201 S. MAIN STREET
HOUSTON, TX 77025                      FRIENDSWOOD, TX 77546              HOUSTON, TX 77025




APRIL HOLMES                           APRIL KADIJAH                      APRIL KHAUTE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




APRIL KIRK                             APRIL MCMURRAY                     APRIL MOORE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




APRIL NUNLEY                           APRIL PACE                         APRIL ROBLEDO
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




APRIL STARNATER                        APRIL THOMAS                       APRIL WASHINGTON
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




APS                                    APS                                APTO SOLUTIONS INC
400 N 5TH ST                           P.O. BOX 2906                      1910 MACARTHUR BLVD
PHOENIX, AZ 85004                      PHOENIX, AZ 85062-2906             ATLANTA, GA 30318




AQEELAH MATEEN                         AQIL CHAUDHRI                      AQUA ILLINOIS INC
10201 S. MAIN STREET                   10201 S. MAIN STREET               1000 S SCHUYLER AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                  KANKAKEE, IL 60901-5026




AQUA ILLINOIS INC                      AQUA NEW JERSEY                    AQUA NEW JERSEY
P.O. BOX 1229                          10 BLACK FOREST RD                 P.O. BOX 1229
NEWARK, NJ 07101-1229                  HAMILTON, NJ 08691                 NEWARK, NJ 07101-1229




AQUA OH                                AQUA OH                            AQUA PENNSYLVANIA
C/O AQUA AMERICA INC                   P.O. BOX 1229                      C/O AQUA AMERICA INC
762 W LANCASTER AVE                    NEWARK, NJ 07101-1229              762 W LANCASTER AVE
BRYN MAWR, PA 19010                                                       BRYN MAWR, PA 19010




AQUA PENNSYLVANIA                      AQUA TEXAS                         AQUA TEXAS
P.O. BOX 1229                          C/O AQUA AMERICA INC               P.O. BOX 1229
NEWARK, NJ 07101-1229                  762 W LANCASTER AVE                NEWARK, NJ 07101-1229
                                       BRYN MAWR, PA 19010
AQUANATURE              Case 18-12241-CSS    Doc
                                       AQUARION   26 COFiled
                                                WATER   OF CT10/05/18          PageAQUARION
                                                                                    108 of 1739
                                                                                            WATER CO OF CT
445 PLACERADO AVE                       200 MONROE TPKE                            P.O. BOX 10010
AUBURN, CA 95603                        MONROE, CT 06468                           LEWISTON, ME 04243-9427




AQUATECHNIQUES LTD                      AQUILA COMMERCIAL LLC                      AQUILA MANAGEMENT SERVICES
180 MILLER PLACE                        1717 WEST 6TH ST STE 450                   BRADLEY KIDD, CPM, SR. PM
HICKSVILLE, NY 11801                    AUSTIN, TX 78703                           1717 W. 6TH STREET, SUITE 400
                                                                                   AUSTIN, TX 78703




AR SUN LIFE/CB RICHARD ELLIS            AR. DEPT OF FINANCE AND ADMINISTRATION     ARA MONTGOMERY LLC
C/O CB RICHARD ELLIS                    OFFICE OF STATE REVENUE ADMIN.             C/O ANTHONY ABRAHAM ENT
8390 E CRESCENT PKWY STE 300            1509 W 7TH ST                              ATT MR WARREN BRYER
GREENWOOD VILLAGE, CO 80111             LITTLE ROCK, AR 72201                      1320 S DIXIE HIGHWAY STE 241
                                                                                   CORAL GABLES, FL 33144



ARA MONTGOMERY, LLC                     ARABIAN HORSE ASSOCIATION OF ARIZONA       ARACELI SANCHES
C/O ANTHONY ABRAHAM ENT                 PO BOX 13865                               10201 S. MAIN STREET
ATT MR WARREN BRYER                     SCOTTSDALE, AZ 85267                       HOUSTON, TX 77025
1320 S DIXIE HIGHWAY STE 241
CORAL GABLES, FL 33144



ARACELY AMBRIZ                          ARADO REALTY SVC INC                       ARAM TRANSPORT INC
10201 S. MAIN STREET                    PO BOX 408200
HOUSTON, TX 77025                       CHICAGO, IL 60640




ARAMARK AUS WEST LOCKBOX                ARAMARK CORPORATION                        ARAMARK REFRESHMENT SERVICES LLC
PO BOX 101179                           1511 TONNELLE AVE                          11800 STATESVILLE RD
PASADENA, CA 91189-1179                 NORTH BERGEN, NJ 07047                     HUNTERSVILLE, NC 28078




ARAMARK REFRESHMENT SERVICES LLC        ARAMARK REFRESHMENT SERVICES LLC           ARAMARK REFRESHMENT SERVICES LLC
1515 E HADLEY ST STE100                 2120 HUTTON SR STE 100                     9627 PREMIER PKWY
PHOENIX, AZ 85034                       CARROLLTON, TX 75006                       MIRAMAR, FL 33025




ARAMARK REFRESHMENT SERVICES            ARAMARK REFRESHMENT SERVICES               ARAMARK REFRESHMENT SERVICES
1299 COLLIER RD NW                      1511 TONNELLE AVE                          2809 A FIRESTONE DR
ATLANTA, GA 30318                       NORTH BERGEN, NJ 07047                     GREENSBORO, NC 27406




ARAMARK REFRESHMENT SERVICES            ARAMARK REFRESHMENT SERVICES               ARAMARK REFRESHMENTS
4300 HIGHLANDS PKWY STE D               9950 FALLBROOK PINES                       10510 TWIN LAKES PKWY
SMYRNA, GA 30082                        HOUSTON, TX 77064                          CHARLOTTE, NC 28269




ARAMARK UNIFORM & CAREER APPAREL        ARAMARK                                    ARAMINGO AVE ASSOC LLC
GROUP INC                               22512 NETWORK PL                           1000 SOUTH OYSTER BAY RD
115 NORTH FIRST STREET                  CHICAGO, IL 60673-1225                     HICKSVILLE, NY 11801
BURBANK, CA 91502
                       Case LLC
ARAMINGO AVENUE ASSOCIATES, 18-12241-CSS      Doc 26 Filed
                                      ARAMIS HOWARD              10/05/18     PageARAPAHOE
                                                                                   109 of 1739
                                                                                           COUNTY TREASURER
1000 SOUTH OYSTER BAY RD              10201 S. MAIN STREET                        ATTN: PROPERTY TAX DEPT.
HICKSVILLE, NY 11801                  HOUSTON, TX 77025                           5334 S PRINCE ST
                                                                                  LITTLETON, CO 80120-1136




ARASELIE ANAYA                         ARBITRON INC                               ARBOLEDA, JORGE, LUIS TORRES, ET AL.
10201 S. MAIN STREET                   9705 PATUXENT WOODS DR.                    C/O HELEN F. DALTON & ASSOCIATES, P.C.
HOUSTON, TX 77025                      COLUMBIA, MD 21046                         ATTN: ROMAN AVSHALUMOV
                                                                                  69-12 AUSTIN ST.
                                                                                  FOREST HILLS, NY 11375



ARBON EQUIPMENT CORP                   ARBOR MATERIAL HANDLING INC                ARBOR WALK MALL, LLC
25464 NETWORK PLACE                    2465 MARYLAND RD                           C/O M.S. MANAGEMENT ASSOCIATES, INC.
CHICAGO, IL 60673                      WILLOW GROVE, PA 19090                     225 WEST WASHINGTON STREET
                                                                                  INDIANAPOLIS, IN 46204




ARBORETUM RETAIL LLC                   ARBORETUM RETAIL LLC                       ARBORETUM RETAIL, LLC
5950 FAIRVIEW RD., STE 800             PO BOX 535482                              5950 FAIRVIEW RD., STE 800
CHARLOTTE, NC 28210                    ATLANTA, GA 30353-5482                     CHARLOTTE, NC 28210




ARC AAANGIN001, LLC                    ARC AAANGIN001, LLC                        ARC AAANGIN001, LLC
C/O AMERICAN REALTY CAPITAL            C/O AMERICAN REALTY CAPITAL                C/O AMERICAN REALTY CAPITAL
2325 EAST CAMELBACK ROAD, SUITE 1100   405 PARK AVENUE, 14TH FLOOR                405 PARK AVENUE, 14TH FLOOR
ATTN: RUTH CAVALLUCCI                  ATTN: JESSE GALLOWAY                       NEW YORK, NY 10022
PHOENIX, AZ 85016                      NEW YORK, NY 10022



ARC BBLVSNV001, LLC                    ARC CAFEHLD001, LLC                        ARC CLORLFL00 LLC
C/O CBC ADVISORS ASSET SERVICES        C/O VEREIT, INC.                           405 PARK AVENUE, 15TH FLOOR
7455 ARROYA CROSSING PARKWAY, SUITE    2325 EAST CAMELBACK ROAD, SUITE 1100       NEW YORK, NY 10022
220                                    PHOENIX, AZ 85016
LAS VEGAS, NV 89113



ARC JCLOUKY001, LLC                    ARC LLC                                    ARC MFAKNSC001, LLC
C/O LINCOLN PROPERTY COMPANY           785 E CENTRAL AVE                          C/O AMERICAN REALTY CAPITAL
2000 MCKINNEY AVE, SUITE #1000         SUTHERLIN, OR 97479                        PROPERTIES
DALLAS, TX 75201                                                                  38 WASHINGTON SQUARE
                                                                                  NEWPORT, RI 02840



ARC MFBFLUT001, LLC                    ARC MFBLGKY001, LLC                        ARC MFBSEID001, LLC
C/O VEREIT, INC.                       C/O AR CAPITAL                             C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100   7621 LITTLE AVENUE, SUITE 200              2325 EAST CAMELBACK ROAD, SUITE 1100
ATTN: RUTH CAVALLUCCI                  CHARLOTTE, NC 28226                        PHOENIX, AZ 85016
PHOENIX, AZ 85016



ARC MFCBSIN001, LLC                    ARC MFDPEAL001 LLC                         ARC MFDTNAL001 LLC
C/O VEREIT, INC.                       C/O VEREIT, INC.                           C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100   2325 EAST CAMELBACK ROAD, SUITE 1100       2325 EAST CAMELBACK ROAD, SUITE 1100
ATTN: RUTH CAVALLUCCI                  ATTN: RUTH CAVALLUCCI                      ATTN: RUTH CAVALLUCCI
PHOENIX, AZ 85016                      PHOENIX, AZ 85016                          PHOENIX, AZ 85016



ARC MFDTNFLOO1 LLC                     ARC MFEVLIN001, LLC                        ARC MFFNCAL001, LLC
C/O VEREIT, INC.                       C/O VEREIT, INC.                           C/O AMERICAN REALTY CAPITAL
2325 EAST CAMELBACK ROAD, SUITE 1100   2325 EAST CAMELBACK ROAD, SUITE 1100       405 PARK AVENUE, 14TH FLOOR
ATTN: RUTH CAVALLUCCI                  ATTN: RUTH CAVALLUCCI                      ATTN: JESSE GALLOWAY
PHOENIX, AZ 85016                      PHOENIX, AZ 85016                          NEW YORK, NY 10022
ARC MFFNCSC001, LLC     Case   18-12241-CSS    Doc 26 LLC
                                         ARC MFGVLNC001, Filed 10/05/18         PageARC
                                                                                     110  of 1739
                                                                                        MFKXVTN001
C/O AMERICAN REALTY CAPITAL              C/O VEREIT, INC.                           C/O VEREIT, INC.
405 PARK AVENUE, 14TH FLOOR              2325 EAST CAMELBACK ROAD, SUITE 1100       2325 EAST CAMELBACK ROAD, SUITE 1100
ATTN: RUTH CAVALLUCCI                    ATTN: RUTH CAVALLUCCI                      ATTN: RUTH CAVALLUCCI
NEW YORK, NY 10022                       PHOENIX, AZ 85016                          PHOENIX, AZ 85016



ARC MFLFTLA001, LLC                      ARC MFNDLTX001 LLC                         ARC MFRGRAR001, LLC
C/O VEREIT, INC.                         C/O VEREIT, INC.                           C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100     2325 EAST CAMELBACK ROAD, SUITE 1100       2325 EAST CAMELBACK ROAD, SUITE 1100
PHOENIX, AZ 85016                        PHOENIX, AZ 85016                          ATTN: RUTH CAVALLUCCI
                                                                                    PHOENIX, AZ 85016



ARC MFRKHSC001, LLC                      ARC MFRKHSCOO1 LLC                         ARC MFRLHNC001, LLC
C/O VEREIT, INC.                         C/O VEREIT, INC.                           C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100     2325 EAST CAMELBACK ROAD, SUITE 1100       2325 EAST CAMELBACK ROAD, SUITE 1100
ATTN: RUTH CAVALLUCCI                    ATTN: RUTH CAVALLUCCI                      ATTN: RUTH CAVALLUCCI
PHOENIX, AZ 85016                        PHOENIX, AZ 85016                          PHOENIX, AZ 85016



ARC MFSPNWAOO1 LLC                       ARC MFTSEFL001 LLC                         ARC MFTSEFL002, LLC
C/O VEREIT, INC.                         C/O VEREIT, INC.                           C/O AMERICAN FINANCIAL OPERATING
2325 EAST CAMELBACK ROAD, SUITE 1100     2325 EAST CAMELBACK ROAD, SUITE 1100       PARTNERSHIP, L.P.
PHOENIX, AZ 85016                        ATTN: RUTH CAVALLUCCI                      200 DRYDEN ROAD, SUITE 1100
                                         PHOENIX, AZ 85016                          DRESHER, PA 19025



ARC MFWMTNC001, LLC                      ARC MFWSNNC001, LLC                        ARC PCBIRAL001, LLC
C/O VEREIT, INC.                         C/O VEREIT, INC.                           C/O AMERICAN REALTY CAPITAL
2325 EAST CAMELBACK ROAD, SUITE 1100     2325 EAST CAMELBACK ROAD, SUITE 1100       2325 EAST CAMELBACK ROAD, SUITE 1100
ATTN: RUTH CAVALLUCCI                    ATTN: RUTH CAVALLUCCI                      ATTN: RUTH CAVALLUCCI
PHOENIX, AZ 85016                        PHOENIX, AZ 85016                          PHOENIX, AZ 85016



ARC PROPERTIES OPER PTNR LP              ARC PROPERTIES OPER PTNR LP                ARC PROPERTIES OPER PTNR LP
2325 EAST CAMELBACK ROAD, SUITE 1100     DBA ARCP MF FLINT MI LLC                   DBA COLE MF GARDEN CITY ID LLC
PHOENIX, AZ 85016                        PO BOX 847745 ID AC0991                    2325 E CAMELBACK RD STE 1100
                                         DALLAS, TX 75284-7745                      PHOENIX, AZ 85016




ARC PROPERTIES OPER PTNR LP              ARC PROPERTIES OPER PTNR LP                ARC PROPERTIES OPER PTNR LP
DBA COLE MF GOSHEN IN LLC                DBA COLE MF PHOENIX AZ LLC                 DBA COLE MT S BEND IN LLC
2325 E CAMELBACK RD STE 1100             2325 E CAMELBACK RD STE 1100               2325 E CAMELBACK RD STE 1100
PHOENIX, AZ 85016                        PHOENIX, AZ 85016                          PHOENIX, AZ 85016




ARC PROPERTIES OPERATING                 ARC PROPERTIES OPERATING                   ARC PROPERTIES OPERATING
PARTNERSHIP LP                           PARTNERSHIP LP                             PARTNERSHIP LP
DBA ARCP MF FLINT MI LLC                 DBA COLE MF PHOENIX AZ LLC                 DBA COLE MT S BEND IN LLC
PO BOX 847745 ID AC0991                  2325 E CAMELBACK RD STE 1100               2325 E CAMELBACK RD STE 1100
DALLAS, TX 75284-7745                    PHOENIX, AZ 85016                          PHOENIX, AZ 85016



ARC PROPERTY TRUST, INC.                 ARC PSFKFK001, LLC                         ARC RGCHRNC001, LLC
1401 BROAD STREET                        C/O AMERICAN REALTY CAPITAL                405 PARK AVENUE, 14TH FLOOR
CLINTON, NJ 07013                        2325 EAST CAMELBACK ROAD, SUITE 1100       ATTN: GENERAL COUNSEL
                                         ATTN: RUTH CAVALLUCCI                      NEW YORK, NY 10022
                                         PHOENIX, AZ 85016



ARC SSSEBFL001 LLC                       ARC                                        ARC
C/O LINCOLN PROPERTY COMPANY             106 YORK RD                                2325 E CAMELBACK RD STE 1100
111 N. MAGNOLIA AVENUE, SUITE 500        JENKINTOWN, PA 19046                       PHOENIX, AZ 85016
ORLANDO, FL 32801
ARC                      Case 18-12241-CSS
                                        ARC    Doc 26      Filed 10/05/18   PageARC
                                                                                 111 of 1739
405 PARK AVE 15 FL                      405 PARK AVENUE, 15TH FLOOR             ARC MFRKHSC001 LLC
NEW YORK, NY 10022                      NEW YORK, NY 10022                      106 YORK RD
                                                                                JENKINTOWN, PA 19046




ARC                                     ARC                                     ARC
ARC MFRKHSCOO1 LLC                      ATTN: GENERAL COUNSEL                   C/O AMERICAN FINANCE OPERATING
PO BOX 847373                           405 PARK AVENUE, 14TH FLOOR             PARTNERSHIP, LP
DALLAS, TX 75284-7373                   NEW YORK, NY 10022                      200 DRYDEN ROAD, SUITE 1100
                                                                                DRESHER, PA 19025



ARC                                     ARC                                     ARC
C/O AMERICAN FINANCIAL OPERATING        C/O AMERICAN REALTY CAPITAL             C/O AMERICAN REALTY CAPITAL
PARTNERSHIP, LP                         OPERATING PARTNERSHIP IV LP             OPERATING PARTNERSHIP IV LP
200 DRYDEN ROAD, SUITE 1100             106 YORK RD                             200 DRYDEN RD STE 1100
DRESHER, PA 19025                       JENKINTOWN, PA 19046                    DRESHER, PA 19025



ARC                                     ARC                                     ARC
C/O AMERICAN REALTY CAPITAL OPERATING   C/O AMERICAN REALTY CAPITAL OPERATING   C/O AMERICAN REALTY CAPITAL
PARTNERSHIP IV LP                       PARTNERSHIP IV LP                       PROPERTIES
106 YORK RD                             200 DRYDEN RD STE 1100                  38 WASHINGTON SQUARE
JENKINTOWN, PA 19046                    DRESHER, PA 19025                       NEWPORT, RI 02840



ARC                                     ARC                                     ARC
C/O AMERICAN REALTY CAPITAL             C/O AMERICAN REALTY CAPITAL             C/O AMERICAN REALTY CAPITAL
2325 EAST CAMELBACK ROAD, SUITE 1100    405 PARK AVENUE, 14TH FLOOR             405 PARK AVENUE, 14TH FLOOR
ATTN: RUTH CAVALLUCCI                   ATTN: JESSE GALLOWAY                    ATTN: RUTH CAVALLUCCI
PHOENIX, AZ 85016                       NEW YORK, NY 10022                      NEW YORK, NY 10022



ARC                                     ARC                                     ARC
C/O AMERICAN REALTY CAPITAL             C/O AR CAPITAL                          C/O CBC ADVISORS ASSET SERVICES
405 PARK AVENUE, 14TH FLOOR             7621 LITTLE AVENUE, SUITE 200           7455 ARROYA CROSSING PARKWAY, SUITE
NEW YORK, NY 10022                      CHARLOTTE, NC 28226                     220
                                                                                LAS VEGAS, NV 89113



ARC                                     ARC                                     ARC
C/O LINCOLN PROPERTY COMPANY            C/O LINCOLN PROPERTY COMPANY            C/O VEREIT, INC
111 N. MAGNOLIA AVENUE, SUITE 500       2000 MCKINNEY AVE, SUITE 1000           2325 EAST CAMELBACK ROAD, SUITE 1100
ORLANDO, FL 32801                       DALLAS, TX 75201                        ATTN: RUTH CAVALLUCCI
                                                                                PHOENIX, AZ 85016



ARC                                     ARC                                     ARC
CO WELLS FARGO BANK NATIONAL            DEPT880044/ID:081221                    PO BOX 192224
ASSOCIATION                             PO BOX 29650                            SAN FRANCISCO, CA 94119-2224
PO BOX 203845                           PHOENIX, AZ 85038-9650
DALLAS, TX 75320-3845



ARC                                     ARC                                     ARC
PO BOX 205972                           PO BOX 505231                           PO BOX 780221
DALLAS, TX 75320-5972                   SAINT LOUIS, MO 63150                   PHILADELPHIA, PA 19178-0221




ARC                                     ARC                                     ARC
PO BOX 785747                           PO BOX 785747                           PO BOX 841813
PHILADELPHIA, PA 19178                  PHILADELPHIA, PA 19178-5747             DALLAS, TX 75284-1813
ARC                      Case 18-12241-CSS
                                        ARC   Doc 26       Filed 10/05/18   PageARC
                                                                                 112 of 1739
PO BOX 842107                          PO BOX 842107                            PO BOX 842394
DALLAS, TX 75284                       DALLAS, TX 75284-0545                    DALLAS, TX 75284-7350




ARC                                    ARC                                      ARC
PO BOX 847181                          PO BOX 847373                            PO BOX 847390
DALLAS, TX 75284-7181                  DALLAS, TX 75284-7373                    DALLAS, TX 75284-7390




ARC                                    ARC                                      ARCADIA DEVELOPMENT CO.
PO BOX 848556                          PO BOX 865094                            ATTN: HITOMA WADA
DALLAS, TX 75284-8556                  ORLANDO, FL 32886                        P.O. BOX 5368
                                                                                SAN JOSE, CA 95150




ARCADIA HUB HOLDING I, LLC             ARCADIA HUB HOLDINGS I LLC               ARCADIA MANAGEMENT GROUP, INC.
C/O REEF REAL ESTATE SERVICES          C/O REEF REAL ESTATE SERVICES INC        ATTN: LARYN HILL
1620 FIFTH AVENUE, SUITE 770           1620 FIFTH AVENUE, SUITE 770             P.O. BOX 10
SAN DIEGO, CA 92101                    SAN DIEGO, CA 92101                      SCOTTSDALE, AZ 85252-0010




ARCADIA MANAGEMENT GROUP, INC.         ARCADIA MANAGEMENT GROUP, INC.           ARCADIA MANAGEMENT GROUP, INC.
P.O. BOX 10                            P.O. BOX 10                              P.O. BOX 10
ATTN: JENNIFER PADDISON                ATTN: JILL GENESSY                       ATTN: RANDY OWEN
SCOTTSDALE, AZ 85252                   SCOTTSDALE, AZ 85252                     SCOTTSDALE, AZ 85252




ARCELIA ARVIZU STALDER                 ARCH CHEMICALS INC                       ARCH STAFFING GROUP INC
808 BONITA ST                          PO BOX 742925                            1420 W MOCKINGBIRD LN STE 400
MONROVIA, CA 91016                     ATLANTA, GA 30374-2925                   DALLAS, TX 75247




ARCHER & GREINER PC                    ARCHER COMMERCIAL CONSTRUCTION           ARCHIE LEE WALKER
ONE CENTENNIAL SQUARE                  6230 BUSCH BLVD 232                      522 NW 69 TERR
HADDONFIELD, NJ 08033-0968             COLUMBUS, OH 43229                       MARGATE, FL 33063




ARCHITECTURAL COMPONENET SERVICES      ARCHITECTURAL FLOORS                     ARCITERRA COMPANIES, LLC
INC                                                                             TYMARA POOLE
PO BOX 21805                                                                    2701 EAST CAMELBACK ROAD, SUITE 150
MESA, AZ 85277-1805                                                             PHOENIX, AZ 85016




ARCITERRA GROUP, LLC                   ARCITERRA SHOPPES AT ALABASTER           ARCITERRA SHOPPES AT ALABASTER
2720 EAST CAMELBACK ROAD, SUITE 220    75 REMITTANCE DR DEPT 6930               C/O ARCITERRA COMPANIES, LLC
PHOENIX, AZ 85016                      CHICAGO, IL 60675                        2701 EAST CAMELBACK ROAD, SUITE 150
                                                                                PHOENIX, AZ 85016




ARCP MF AUGUSTA ME LLC                 ARCP MF AUGUSTA ME LLC                   ARCP MF CINCINNATI OH LLC
C/O VEREIT, INC.                       PO BOX 840990                            C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100   DALLAS, TX 75284-0990                    2325 EAST CAMELBACK ROAD, SUITE 1100
PHOENIX, AZ 85016                                                               ATTN: RUTH CAVALLUCCI
                                                                                PHOENIX, AZ 85016
                        Case
ARCP MF CINCINNATI OH LLC      18-12241-CSS
                                         ARCP MFDoc 26 UTFiled
                                                 DRAPER  LLC   10/05/18         PageARCP
                                                                                     113MFofDRAPER
                                                                                             1739 UT, LLC
PO BOX 840990                            DEPT 880043                                C/O AMERICAN REALTY CAPITAL
DALLAS, TX 75284-0990                    PO BOX 29650                               2325 EAST CAMELBACK ROAD, SUITE 1100
                                         PHOENIX, AZ 85038-9650                     ATTN: RUTH CAVALLUCCI
                                                                                    PHOENIX, AZ 85016



ARCP MF DRAPER UT, LLC                   ARCP MF FAIRVIEW PARK OH LLC               ARCP MF FAIRVIEW PARK OH LLC
DEPT 880043                              2325 EAST CAMELBACK ROAD, SUITE 1100       DEPT 880046
PO BOX 29650                             PHOENIX, AZ 85016                          PO BOX 29650
PHOENIX, AZ 85038-9650                                                              PHOENIX, AZ 85038-9650




ARCP MF FLINT MI, LLC                    ARCP MF FLINT MILLER MI LLC                ARCP MF FLINT MILLER MI LLC
C/O ARC PROPERTIES OPERATING             C/O AC0981                                 C/O AMERICAN REALTY CAPITAL
PARTNERSHIP LP                           PO BOX 847745                              2325 EAST CAMELBACK ROAD, SUITE 1100
2325 EAST CAMELBACK ROAD, SUITE 1100     DALLAS, TX 75284-7745                      ATTN: RUTH CAVALLUCCI
PHOENIX, AZ 85016                                                                   PHOENIX, AZ 85016



ARCP MF GOLDSBORO NC LLC                 ARCP MF GOLDSBORO NC LLC                   ARCP MF HUBER HEIGHTS OH LLC
C/O AMERICAN REALTY CAPITAL              PO BOX 847390                              2325 EAST CAMELBACK ROAD, SUITE 1100
2325 EAST CAMELBACK ROAD, SUITE 1100     DALLAS, TX 75284-7390                      PHOENIX, AZ 85016
ATTN: RUTH CAVALLUCCI
PHOENIX, AZ 85016



ARCP MF HUBER HEIGHTS OH LLC             ARCP MF LAKE CITY FL LLC                   ARCP MF LAKE CITY FL LLC
PO BOX 840990                            C/O AMERICAN REALTY CAPITAL                DEPT 880043PO BOX 29650
DALLAS, TX 75284-0990                    PROPERTIES                                 PHOENIX, AZ 85038-9650
                                         2325 EAST CAMELBACK ROAD, SUITE 1100
                                         ATTN: RUTH CAVALLUCCI
                                         PHOENIX, AZ 85016


ARCP MF LAKELAND FL LLC                  ARCP MF LAKELAND FL LLC                    ARCP MF MIDDLETOWN OH, LLC
2325 E. CAMELBACK ROAD, SUITE 1100       PO BOX 840990                              C/O VEREIT, INC.
PHOENIX, AZ 85016                        DALLAS, TX 75284-0990                      2325 EAST CAMELBACK ROAD, SUITE 1100
                                                                                    ATTN: RUTH CAVALLUCCI
                                                                                    PHOENIX, AZ 85016



ARCP MF NEW BERN NC LLC                  ARCP MF NEW BERN NC LLC                    ARCP MF PAINESVILLE TOWNSHIP OH LLC
C/O AMERICAN REALTY CAPITAL              PO BOX 840990                              C/O AMERICAN REALTY CAPITAL
2325 EAST CAMELBACK ROAD, SUITE 1100     DALLAS, TX 75284                           2325 EAST CAMELBACK ROAD, SUITE 1100
ATTN: RUTH CAVALLUCCI                                                               ATTN: RUTH CAVALLUCCI
PHOENIX, AZ 85016                                                                   PHOENIX, AZ 85016



ARCP MF PAINESVILLE TOWNSHIP OH LLC      ARCP MF PORT CHARLOTTE FL LLC              ARCP MF PORT CHARLOTTE FL LLC
PO BOX 847745                            2325 EAST CAMELBACK ROAD, SUITE 1100       PO BOX 840990
DALLAS, TX 75284                         PHOENIX, AZ 85016                          DALLAS, TX 75284-0990




ARCP MF RALEIGH NC LLC                   ARCP MF RALEIGH NC LLC                     ARCP MIDDLETOWN OH LLC
C/O VEREIT, INC.                         DEPT 880043 ID PT5021                      PO BOX 841123
2325 EAST CAMELBACK ROAD, SUITE 1100     PO BOX 29650                               DALLAS, TX 75284-1123
ATTN: RUTH CAVALLUCCI                    PHOENIX, AZ 85038
PHOENIX, AZ 85016



ARCP MT AUSTELL GA, LLC                  ARCP MT HAGERSTOWN MD LLC                  ARCP MT HAGERSTOWN MD, LLC
C/O VEREIT, INC.                         PO BOX 840990                              C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100     DALLAS, TX 75284                           2325 EAST CAMELBACK ROAD, SUITE 1100
PHOENIX, AZ 85016                                                                   PHOENIX, AZ 85016
                    Case
ARCP MT HAGERSTOWN MD, LLC    18-12241-CSS
                                        ARCP MTDoc 26 OKFiled
                                                LAWTON   LLC 10/05/18          PageARCP
                                                                                    114MTofMANITOWOC
                                                                                            1739     WI LLC
PO BOX 840990                           C/O VEREIT, INC.                           P.O. BOX 841123
DALLAS, TX 75284                        2325 EAST CAMELBACK ROAD, SUITE 1100       DALLAS, TX 75284-1123
                                        ATTN: ASSET MANAGER
                                        PHOENIX, AZ 85016



ARCP MT MANITOWOC WI LLC                ARCP MT MANITOWOC WO, LLC                  ARCP MT MORGANTON NC LLC
PO BOX 841123                           C/O VEREIT, INC.                           PT4958
DALLAS, TX 75284-1123                   2325 EAST CAMELBACK ROAD, SUITE 1100       PO BOX 841123
                                        PHOENIX, AZ 85016                          DALLAS, TX 75284-1123




ARCP MT MORGANTOWN NC, LLC              ARCP MT MORGANTOWN NC, LLC                 ARCP MT SPRINGFIELD OH LLC
C/O VEREIT, INC.                        C/O VEREIT, INC.                           C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100    COLE CREDIT PROPERTY TRUST IV, INC.        2325 EAST CAMELBACK ROAD, SUITE 1100
PHOENIX, AZ 85016                       2325 EAST CAMELBACK ROAD, SUITE 1100       PHOENIX, AZ 85016
                                        PHOENIX, AZ 85016



ARCP MT SPRINGFIELD OH LLC              ARCP MT VIENNA WV LLC                      ARCP MT VIENNA WV, LLC
PO BOX 840990                           PO BOX 840990                              C/O VEREIT, INC.
DALLAS, TX 75284-0990                   DALLAS, TX 75284                           2325 EAST CAMELBACK ROAD, SUITE 1100
                                                                                   ATTN: RUTH CAVALLUCCI
                                                                                   PHOENIX, AZ 85016



ARCP MT VIENNA WV, LLC                  ARCP SY BURLINGTON NC LLC                  ARCP SY BURLINGTON NC, LLC
PO BOX 840990                           PO BOX 841123                              C/O VEREIT, INC.
DALLAS, TX 75284                        DALLAS, TX 75284                           2325 EAST CAMELBACK ROAD, SUITE 1100
                                                                                   ATTN: ASSET MANAGER
                                                                                   PHOENIX, AZ 85016



ARCP SY BURLINGTON NC, LLC              ARCP SY JOLIET IL LLC                      ARCP SY JOLIET IL, LLC
PO BOX 841123                           PO BOX 841123                              7621 LITTLE AVENUE, SUITE 200
DALLAS, TX 75284                        DALLAS, TX 75284                           CHARLOTTE, NC 28226




ARCP SY JOLIET IL, LLC                  ARCP SY ROANOKE NC, LLC                    ARCP SY ROANOKE RAPIDS NC LLC
PO BOX 841123                           C/O VEREIT, INC.                           LOCKBOX DEPT 880046 PO BOX 29650
DALLAS, TX 75284                        2325 EAST CAMELBACK ROAD, SUITE 1100       PHOENIX, AZ 85038-9650
                                        PHOENIX, AZ 85016




ARCT MT LAWTON OK LLC                   ARCTRUST EQUITIES                          ARCTRUST PROPERTIES, INC.
LOCKBOX                                 NEIL DOORHAM                               NEIL DOORNHEIM
29058 NETWORK PLACE                     1401 BROAD STREET                          1401 BROAD STREET
CHICAGO, IL 60673-1290                  CLIFTON, NJ 07013                          CLIFTON, NJ 07013




ARDEN FAIR ASSOCIATES                   ARDEN FAIR MALL                            ARDES JOHNSON
PO BOX 849473                           MACERICH MGMT CO AS AGENT                  10201 S. MAIN STREET
LOS ANGELES, CA 90084-9473              FOR ARDEN FAIR ASSCPO BOX 849473           HOUSTON, TX 77025
                                        LOS ANGELES, CA 90084-9473




AREA DISPOSAL SERVICE INC               AREP BAYTOWN II PARTNERS LP                AREP BAYTOWN II PARTNERS, LP
P.O. BOX 9071                           AMIREX REALTY SERVICES LLC                 AMIREX REALTY SERVICES LLC
PEORIA, IL 61612-9071                   7880 SAN FELIPE STE 120                    7880 SAN FELIPE STE 120
                                        HOUSTON, TX 77063                          HOUSTON, TX 77063
AREP BAYTOWN II PARTNERS,Case
                           LP 18-12241-CSS       Doc
                                        AREP III BT LLC26 Filed   10/05/18   PageAREP
                                                                                  115IIIof
                                                                                        BT 1739
                                                                                           LLC
C/O AMIREX REALTY SERVICES, LLC         250 MIRON DRIVE                          ATTN: TIM HUGHES
7880 SAN FELIPE, SUITE 120              ATTN: TIM HUGHES                         250 MIRON DR
HOUSTON, TX 77063                       SOUTHLAKE, TX 76092                      SOUTHLAKE, TX 76092




AREP III BT LLC                         AREP III BT LLC                          ARETE MATTRESS PARTNERS LLC
ATTN: TIM HUGHES                        C/O COPAKEN BROOKS                       4202 LINDO LOOP
250 MIRON DRIVE                         1100 WALNUT STE 2000                     ROUND ROCK, TX 78681
SOUTHLAKE, TX 76092                     KANSAS CITY, MO 64106




ARETE MATTRESS PARTNERS LLC             ARGENT LEAF LLC                          ARGONAUT INVESTMENTS
MATTRESS FIRM                           2633 MCKINNEY AVE STE 130-369            LISA LLAMAS, SR., PROPERTY MANAGER
320 S JORDAN CREEK PKWY 150             DALLAS, TX 75204                         101 LARKSPUR LANDING CIRCLE, SUITE 120
WEST DES MOINES, IA 50266                                                        LARKSPUR, CA 94939




ARGYLE EQUIPMENT LLC                    ARI VILLASANA                            ARIA LOGISTICS LLC
P.O. BOX 718                            10201 S. MAIN STREET                     95 CEDAR LANE STE 5
JUSTIN, TX 76247                        HOUSTON, TX 77025                        ENGLEWOOD, NJ 07631




ARIA TABATABAEI YAZDI                   ARIAN DANIELS                            ARIANA E MARTINEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                     5619 SYCAMORE CANYON DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                        KISSIMMEE, FL 34758




ARIANA LUGO                             ARIANA RODRIGUEZ                         ARIEF JAFFER
10201 S. MAIN STREET                                                             10201 S. MAIN STREET
HOUSTON, TX 77025                                                                HOUSTON, TX 77025




ARIEL ADAMES                            ARIEL AMOS                               ARIEL CARL
10201 S. MAIN STREET                                                             10201 S. MAIN STREET
HOUSTON, TX 77025                                                                HOUSTON, TX 77025




ARIEL DOMINGUEZ                         ARIEL FRALEY                             ARIEL GARCIA MONTERREY
10201 S. MAIN STREET                    113 COUNTRY LN                           10201 S. MAIN STREET
HOUSTON, TX 77025                       BELMONT, NC 28012                        HOUSTON, TX 77025




ARIEL MOHR                              ARIEL ORINGER-BROWNS                     ARIEL WEIGEL
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ARIELLE FISHER                          ARIES FREIGHT SYSTEMS LP                 ARIF SIDDIQUI
10201 S. MAIN STREET                    PO BOX 4652                              10201 S. MAIN STREET
HOUSTON, TX 77025                       DEPT 689                                 HOUSTON, TX 77025
                                        HOUSTON, TX 77210-4652
ARIJ HAQ               Case 18-12241-CSS     Doc 26
                                      ARIK MATATOV       Filed 10/05/18   PageARILEX
                                                                               116 of  1739 ASSOCIATES LLC
                                                                                     TROPICANA
10201 S. MAIN STREET                  C/O LAW OFFICE OF JEFFREY NEIMAN        5960 S JONES BLVD
HOUSTON, TX 77025                     ATTN: JEFFREY NEIMAN                    LAS VEGAS, NV 89118
                                      57 W. 57TH ST., 4TH FLOOR
                                      NEW YORK, NY 10019



ARILEX TROPICANA ASSOCIATES LLC       ARILEX TROPICANA ASSOCIATES LLC         ARILEX TROPICANA ASSOCIATES, LLC
C/O MDL GROUP                         C/O MDL GROUP                           C/O MDL GROUP
3065 S JONES BLVD STE 201             5960 S JONES BLVD                       3065 S JONES BLVD STE 201
LAS VEGAS, NV 89146                   LAS VEGAS, NV 89118                     LAS VEGAS, NV 89118




ARILEX TROPICANA ASSOCIATES, LLC      ARILEX TROPICANA ASSOCIATES, LLC        ARIN
C/O MDL GROUP                         C/O MDL GROUP                           PO BOX 759477
3065 S JONES BLVD STE 201             5960 SOUTH JONES BOULEVARD              BALTIMORE, MD 21275
LAS VEGAS, NV 89146                   LAS VEGAS, NV 89118




ARIS SALCE                            ARIS TSOUMBAKOPOULOS                    ARISON PENA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ARISSA BRYANT                         ARISTOTLE SALCEDO                       ARIZONA CORPORATION COMMISSION
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1300 W WASHINGTON ST 1ST FL
HOUSTON, TX 77025                     HOUSTON, TX 77025                       PHOENIX, AZ 85007-2946




ARIZONA DAILY STAR DBA TUCSON         ARIZONA DEPARTMENT OF REVENUE           ARIZONA DEPARTMENT OF REVENUE
NEWSPAPERS                            ATTN: BUSINESS LICENSE DEPT.            ATTN: SALES & USE TAX DEPT.
P.O. BOX 677365                       PO BOX 29032                            P.O. BOX 29085
DALLAS, TX 75267-7365                 PHOENIX, AZ 85038-9032                  PHOENIX, AZ 85038-9085




ARIZONA DEPARTMENT OF REVENUE         ARIZONA DEPARTMENT OF REVENUE           ARIZONA DEPT OF REVENUE
ATTN: UNCLAIMED PROPERTY DEPT.        LICENSE & REGISTRATION SECTION          1600 W. MONROE
PO BOX 29032                          PO BOX 29032                            PHOENIX, AZ 850072650
PHOENIX, AZ 85038-9032                PHOENIX, AZ 85038-9085




ARIZONA DEPT OF REVENUE               ARIZONA DEPT OF REVENUE                 ARIZONA DIAMONDBACKS
LICENSE & REGISTRATION SECTION        UNCLAIMED PROPERTY UNIT                 401 E JEFFERSON ST
PO BOX 29032                          1600 W MONROE ST DIV. CODE 10           PHOENIX, AZ 85004
PHOENIX, AZ 85038-9032                PHOENIX, AZ 85007




ARIZONA DOCUMENT DESTRUCTION          ARIZONA EXTERMINATING CO                ARIZONA FIRE PROTECTION INC
3209 S 36TH ST                        PO BOX 61175                            8550 N 91ST AVE 60
PHOENIX, AZ 85040                     PHOENIX, AZ 85082                       PEORIA, AZ 85345




ARIZONA LOTUS CORP                    ARIZONA MOTOR VEHICLE DIVISION          ARIZONA RESIDENTIAL & COMMERCIAL
TUCSON                                4005 N 1ST AVE                          SERVICES LLC
3871 N COMMERCE DR                    PHOENIX, AZ 85031                       PO BOX 1792
TUCSON, AZ 85705                                                              FLAGSTAFF, AZ 86002
                       Case
ARIZONA STATE FAIR-ARIZONA    18-12241-CSS
                           EXPOSITION   ARIZONADoc
                                                WATER26COMPANY
                                                           Filed   10/05/18   PageARK
                                                                                   117  of 1739
                                                                                      MOVER AND DELIVERY
& STATE FAIR-DBA                        PO BOX 29098                              3138 HARRISON PIKE
1826 W MCDOWELL RD                      PHOENIX, AZ 85038-9098                    CLEVELAND, TN 37311
PHOENIX, AZ 85007




ARKANSAS DEMOCRAT-GAZETTE INC            ARKANSAS DEPARTMENT OF FINANCE           ARKANSAS DEPT OF FINANCE
PO BOX 2221                              & ADMINISTRATION                         & ADMINISTRATION
BUSINESS OFFICE-RETAIL DISPLAY           P.O. BOX 3861                            PO BOX 8123
LITTLE ROCK, AR 72203                    LITTLE ROCK, AR 72203-3861               LITTLE ROCK, AR 72203-8123




ARKANSAS DEPT OF WORKFORCE SERV          ARKANSAS OKLAHOMA GAS CORPORATION        ARLEEN PARKER
PO BOX 8007                              P.O. BOX 2415                            10201 S. MAIN STREET
LITTLE ROCK, AR 72203-8007               FORT SMITH, AR 72902-2415                HOUSTON, TX 77025




ARLENA WEEKS                             ARLENE FAALNIK                           ARLENE KLEIN
10201 S. MAIN STREET                     1935 ALPHA RD APT 213                    C/O RONALD COOPER
HOUSTON, TX 77025                        GLENDALE, CA 91208                       11301 RIDGE MIST TERRACE
                                                                                  POTOMAC, MD 20854




ARLENE THOMPSON                          ARLINGTON COUNTY TREASURER               ARLINGTON COUNTY TREASURER
10201 S. MAIN STREET                     2100 CLARENDON BLVD, STE 201             ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                        ARLINGTON, VA 22201                      PO BOX 1757
                                                                                  MERRIFIELD, VA 22116-1754




ARLINGTON COUNTY TREASURER               ARLINGTON COUNTY TREASURER               ARLINGTON GREEN LLC
ATTN: PROPERTY TAX DEPT.                 BUSINESS LICENSE TAX PROGRAM             12995 STONECREEK DR
PO BOX 1757                              PO BOX 1757                              PICKERINGTON, OH 43147
MERRIFIELD, VA 22116-1757                MERRIFIELD, VA 22116-1757




ARLINGTON GREEN, LLC                     ARLINGTON HEIGHTS PROMENADE              ARLINGTON UTILITIES
ATTN: REAL ESTATE DEPT.                  PARTNERSHIP                              P.O. BOX 90020
12295 STONE CREEK DRIVE                  ATTN: PREMA PLAMOOTIL                    ARLINGTON, TX 76004-3020
PICKERINGTON, OH 43147                   122 CIRCLE RIDGE DRIVE
                                         BURR RIDGE, IL 60527



ARLINGTON UTILITIES                      ARMADA HOFFLER PROPERTIES, INC.          ARMADILLO LOCK & SAFE
WATER UTILITIES                          JANA SVOBODOVA, ASSET MANAGER            PO BOX 821583
101 W ABRAM ST, 1ST FL, CITY HALL        222 CENTRAL PARK AVENUE, SUITE 700       DALLAS, TX 75382
ARLINGTON, TX 76010                      VIRGINIA BEACH, VA 23462




ARMAND JACKSON                           ARMANDO CUEVAS                           ARMANDO FLORES
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




ARMANDO MELGAR                           ARMANDO MORALES                          ARMANDO MORENO
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
ARMANDO ROA              Case 18-12241-CSS    Doc
                                        ARMANDO    26
                                                SAENZ       Filed 10/05/18    PageARMANDO
                                                                                   118 of SOLIS
                                                                                          1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




ARMANI JOHNSON                           ARMEN LIVING                             ARMON BISHOP
10201 S. MAIN STREET                     11732 ROSCOE BLVD                        10201 S. MAIN STREET
HOUSTON, TX 77025                        SUN VALLEY, CA 91352                     HOUSTON, TX 77025




ARMOND ROLLINS                           ARMONDO WEBB-WILLIAMS                    ARMOR DOOR AND KEY, LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                     4014 CHOUTEAU
HOUSTON, TX 77025                        HOUSTON, TX 77025                        ST. LOUIS, MO 63110




ARMOUR FAMILY PROPERTIES/ FT O LLC       ARMOUR FAMILY PROPERTIES/ FT O LLC       ARMOUR FAMILY PROPERTIES/FT.O, LLC
ATTN: C. LARRY ARMOUR                    THE WALLS GROUP                          ATTN: C. LARRY ARMOUR
2127 OOLTEWAH-RINGGOLD ROAD              401 CHESTNUT ST STE 200                  2127 OOLTEWAH-RINGGOLD ROAD
OOLTEWAH, TN 37363                       CHATTANOOGA, TN 37402                    OOLTEWAH, TN 37363




ARMOUR FAMILY PROPERTIES/FT.O, LLC       ARMSTRONG COMMERCIAL SERVICES, LLC       ARMTEK LLC
THE WALLS GROUP                          4950 S. YOSEMITE STREET, F2-366          MERCEDES BENZ-ATTN: EUGENE PEPE
401 CHESTNUT ST STE 200                  GREENWOOD VILLAGE, CO 80111-1350         50 BANK ST
CHATTANOOGA, TN 37402                                                             WHITE PLAINS, NY 10606




ARMTEK, LLC                              ARNETTA OLIVER                           ARNETTE DAVIS
50 BANK STREET                           10201 S. MAIN STREET                     10201 S. MAIN STREET
WHITE PLAINS, NY 10606                   HOUSTON, TX 77025                        HOUSTON, TX 77025




ARNOLD CANTU                             ARNOLD FITNESS EXPO                      ARNOLD GULLIVER
10201 S. MAIN STREET                     1215 WORTHINGTON WOODS BLVD              10201 S. MAIN STREET
HOUSTON, TX 77025                        WORTHINGTON, OH 43085                    HOUSTON, TX 77025




ARNOLD LM PROPERTIES LLC                 ARNOLD LM PROPERTIES LLC                 ARNOLD MACHINERY COMPANY
C/O LENETTE REALTY CO.                   C/O LENETTE REALTY CO.                   PO BOX 30020
1401 S. BRENTWOOD BOULEVARD, SUITE 520   1401 S. BRENTWOOD BOULEVARD, SUITE 520   SALT LAKE CITY, UT 84130
SAINT LOUIS, MO 63144                    ST. LOUIS, MO 63144




ARNOLD NEWCOMB                           ARNOLD SCOTT HARRIS P.C.                 ARNOLD VELEZ
204 HAYWOOD ST                           111 W JACKSON BLVD STE 600               10201 S. MAIN STREET
ASHEVILLE, NC 28802                      CHICAGO, IL 60604                        HOUSTON, TX 77025




ARNULFO DAVILA                           ARODAL SUPPLIES                          ARON CHANDLER
10201 S. MAIN STREET                     P.O. BOX 98945                           10201 S. MAIN STREET
HOUSTON, TX 77025                        DES MOINES, WA 98198                     HOUSTON, TX 77025
ARON DE LA ROSA         Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                       ARON PERRUCHON                      PageAROUND
                                                                                119 ofTHE
                                                                                       1739
                                                                                          CLOCK A/C SVCLLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    11840 NW 41ST STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       CORAL SPRINGS, FL 33065




AROUND THE CORNER AUTO                 ARRIOLA PAVING INC                      ARRON CULLER
6103 US 31 SOUTH                       845 WAKEFIELD DR                        10201 S. MAIN STREET
SOUTH BEND, IN 46614                   HOUSTON, TX 77018                       HOUSTON, TX 77025




ARRON SHORT                            ARRON WATSON                            ARRON WATSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ARROW POINT MANAGEMENT INC             ARROWASTE INC.                          ARROWASTE INC.
DBA WINDOW GENIE                       1296 CHICAGO DR                         P.O. BOX 828
4684 E ARROW POINT CT                  JENISON, MI 49429                       JENISON, MI 49429
BATTLE GROUND, IN 47920




ARROWHEAD CENTER 01 LLC                ARROWHEAD CENTER 01, LLC                ARROWHEAD OWNERS ASSOC INC
C/O AFC PROPERTY MANAGEMENT, INC.      C/O AFC PROPERTY MANAGEMENT, INC.       PO BOX 5065
12411 VENTURA BOULEVARD                12411 VENTURA BOULEVARD                 HIGH POINT, NC 27262
STUDIO CITY, CA 91604                  STUDIO CITY, CA 91604




ARROWHEAD PROMENADE LLC                ARROWHEAD PROMENADE LLC                 ARROWHEAD PROMENADE
C/O PACIFIC CAPITAL MGMT               DEPT 34920                              C/O PACIFIC CAPITAL MGMT
3741 DOUGLAS BLVD STE 100              PO BOX 39000                            3741 DOUGLAS BLVD STE 100
ROSEVILLE, CA 95661                    SAN FRANCISCO, CA 94139                 ROSEVILLE, CA 95661-4526




ARROWHEAD PROMENADE, LLC               ARROWHEAD PROMENADE, LLC                ARROWHEAD PROMENADE, LLC
C/O PACIFIC CAPITAL MANAGEMENT         C/O PACIFIC CAPITAL MGMT                C/O PACIFIC CAPITAL MGMT
1400 ROCKY RIDGE DRIVE, SUITE 150      3741 DOUGLAS BLVD STE 100               3741 DOUGLAS BLVD STE 100
ATTN: JOSIE COLLIER                    ROSEVILLE, CA 95661                     ROSEVILLE, CA 95661-4526
ROSEVILLE, CA 95661



ARROWHEAD PROMENADE, LLC               ARROWOOD/RIVERVIEW MEDICAL CENTER       ARROWRIDGE BOULEVARD LLC
DEPT 34920                             1393 CELANESE ROAD                      301 S COLLEGE ST STE 2800
PO BOX 39000                           ROCK HILL, SC 29732                     CHARLOTTE, NC 28202
SAN FRANCISCO, CA 94139




ARROWRIDGE BOULEVARD LLC               ARROWRIDGE BOULEVARD, LLC               ARROWROCK II PRESTONWOOD LLC
C/O CHILDRESS KLEIN PROPERTIES         C/O CHILDRESS KLEIN PROPERTIES          C/O GATEWAY COMMERCIAL MNGMT SERV
301 S COLLEGE ST STE 2800              301 S. COLLEGE STREET, SUITE 2800       101 S HANLEY RD STE 1400
CHARLOTTE, NC 28202                    ATTN: LINDSAY SMITH                     SAINT LOUIS, MO 63105
                                       CHARLOTTE, NC 28202



ARROWROCK II PRESTONWOOD VILLAGE       ARROWROCK WESTOVER VILLAGE LP           ARROWROCK WESTOVER VILLAGE LP
C/O SUMMIT REALTY VENTURES             101 S HANLEY RD 1400                    C/O GATEWAY COMMERCIAL MNGMT SERV
101 SOUTH HANLEY ROAD, SUITE1400       SAINT LOUIS, MO 63105                   101 S HANLEY RD STE 1400
ST. LOUIS, MO 63105                                                            SAINT LOUIS, MO 63105
ARRVID CARLSON         Case 18-12241-CSS     Doc 26
                                      ART ACOSTA           Filed 10/05/18       PageART
                                                                                     120  of 1739
                                                                                        ATTACK MERRY JO SCHOOLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                        626 W CAVALCADE
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77009




ART ATTACK                              ART DE LA TORRE                             ART GARCIA
626 W CAVALCADE                         10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77009                       HOUSTON, TX 77025                           HOUSTON, TX 77025




ART MISAGHI                             ART PRESTO                                  ART THOU
10201 S. MAIN STREET                    10201 S. MAIN STREET                        1533 SOLANO AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                           BERKELEY, CA 94707




ARTABAN THERAPEDIC SA DE CV             ARTAVIOUS MARSH                             ARTEM VASYLENKO
SAN IGNACIO 202 LAS PINTAS DE ABAJO     10201 S. MAIN STREET                        10201 S. MAIN STREET
TLAQUEPAQUE, JAL 45619                  HOUSTON, TX 77025                           HOUSTON, TX 77025
MEXICO




ARTESIA BRYANT                          ARTESIAN                                    ARTESIAN
10201 S. MAIN STREET                    664 CHURCHMANS RD                           P.O. BOX 15069
HOUSTON, TX 77025                       NEWARK, DE 19702                            WILMINGTON, DE 19886-5069




ARTHUR BARLEY                           ARTHUR DROTZER                              ARTHUR GOLDNER & ASSOCIATES, INC.
10201 S. MAIN STREET                    10201 S. MAIN STREET                        707 SKOKIE BOULEVARD, SUITE 100
HOUSTON, TX 77025                       HOUSTON, TX 77025                           NORTHBROOK, IL 60062




ARTHUR HARMON                           ARTHUR HAYES                                ARTHUR IHEJIRIKA
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




ARTHUR JONES                            ARTHUR LASSITER                             ARTHUR LEE
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




ARTHUR MORGAN BROWN, III & BANK OF HI   ARTHUR MORGAN BROWN, III & BANK OF HI       ARTHUR MOSHER
C/O BANK OF HAWAII                      C/O BANK OF HAWAII                          10201 S. MAIN STREET
PO BOX 3170                             PO BOX 3170                                 HOUSTON, TX 77025
TRUST REAL ESTATE DEPT. #722            TRUST REAL ESTATE DEPT. 722
HONOLULU, HI 96802                      HONOLULU, HI 96802



ARTHUR MOYA                             ARTHUR PHILLIPS                             ARTHUR ROBINSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025
ARTHUR VAN KIRK         Case 18-12241-CSS
                                       ARTHURDoc 26 WENONAH
                                             WICHMAN Filed 10/05/18
                                                            LLC           PageARTHUR
                                                                               121 ofWICHMAN
                                                                                      1739 WENONAH, LLC
10201 S. MAIN STREET                   2885 SANFORD AVE SW 26405              2885 SANFORD AVE SW #26405
HOUSTON, TX 77025                      GRANDVILLE, MI 49418                   GRANDVILLE, MI 49418




ARTIA PERRY                            ARTICO LITE INC                        ARTICULATE GLOBAL INC
10201 S. MAIN STREET                   8621 SE POWELL BLVD                    244 5TH AVE STE. 2960
HOUSTON, TX 77025                      PORTLAND, OR 97266                     NEW YORK, NY 10001




ARTICULATE GLOBAL INC                  ARTIE ZUMBRO                           ARTINES ALIOSKA
DEPT 3747                              10201 S. MAIN STREET                   10201 S. MAIN STREET
PO BOX 123747                          HOUSTON, TX 77025                      HOUSTON, TX 77025
DALLAS, TX 75312-3747




ARTIS WORTHY                           ARTISANS CUSTOMS MEMORY MATTRESS       ARTURO BARRERA
                                       2200 S.HAMILTON SUITE 3                10201 S. MAIN STREET
                                       SAGINAW, MI 48602                      HOUSTON, TX 77025




ARTURO BURGOS                          ARTURO E GABRINTINA                    ARTURO FLORES
10201 S. MAIN STREET                   8432 BURNET AVE                        10201 S. MAIN STREET
HOUSTON, TX 77025                      NORTH HILLS, CA 91343                  HOUSTON, TX 77025




ARTURO GONZALEZ                        ARTURO LOPEZ                           ARTURO MENDOZA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ARTURO MONTOYA                         ARTURO PARRA-ROMAN                     ARTURO SALAZAR
210 S BELLE AVE                        10201 S. MAIN STREET                   10201 S. MAIN STREET
CORONA, CA 92882                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ARTURO SERRANO                         ARTURO TUCKER                          ARTURO VALLES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ARTURO VEGA                            ARTURO YBARRA                          ARUNDEL CROSSING II LLC
10201 S. MAIN STREET                   306 E ANTONIO ST                       C/O STRS OHIO
HOUSTON, TX 77025                      UVALDE, TX 78801                       PO BOX 633864
                                                                              CINCINNATI, OH 45263-3864




ARUNDEL CROSSING II, LLC               ARUNDEL CROSSING II, LLC               ARVEE LLC
C/O STRS OHIO                          C/O STRS OHIO                          1051 RESERVOIR AVE
275 EAST BROAD STREET                  PO BOX 633864                          CRANSTON, RI 02910
ATTN: REAL ESTATE MANAGER              CINCINNATI, OH 45263-3864
COLUMBUS, OH 45236-4290
ARVEE, LLC                Case 18-12241-CSS      Doc
                                         A-S 115 SH    2610 LP
                                                    146-IH   Filed 10/05/18    PageA-S
                                                                                     122
                                                                                       115 of
                                                                                           SH 1739
                                                                                              146-IH 10, LP
1051 RESERVOIR AVE                         MSC 900                                  C/O NEWQUEST PROPERTIES
CRANSTON, RI 02910                         PO BOX 4960                              8827 W. SAM HOUSTON PKWY N., SUITE 200
                                           HOUSTON, TX 77210                        ATTN: LEGAL DEPARTMENT
                                                                                    HOUSTON, TX 77040



A-S 115 SH 146-IH 10, LP                   A-S 115 SH 146-IH 10, LP                 A-S 116 NORTH TARRANT PARKWAY-
C/O NEWQUEST PROPERTIES                    MSC 900                                  PRECINCT LINE LP
8827 W. SAM HOUSTON PKWY N., SUITE 200     PO BOX 4960                              PO BOX 732505
ATTN: PROPERTY MANAGEMENT                  HOUSTON, TX 77210                        DALLAS, TX 75373
HOUSTON, TX 77040



A-S 116 NORTH TARRANT PARKWAY-             A-S 116 NORTH TARRANT PARKWAY-           A-S 92 HWY 59-READUBG ROAD LP
PRECINCT LINE, L.P.                        PRECINCT LINE, L.P.                      8807 W SAM HOUSTON PKWY N 200
C/O NEWQUEST PROPERTIES                    PO BOX 732505                            HOUSTON, TX 77040
8827 W. SAM HOUSTON PKWY N., SUITE 200     DALLAS, TX 75373
HOUSTON, TX 77040



AS 93 SH 130 SH 45 LP                      A-S 93 SH 130-SH 45 LP                   A-S 93 SH 130-SH 45, LP
DEPT 862                                   DEPT 862                                 C/O NEWQUEST PROPERTIES
PO BOX 4346                                PO BOX 4346                              8827 W. SAM HOUSTON PKWY N., SUITE 200
HOUSTON, TX 77210                          HOUSTON, TX 77210                        ATTN: LEGAL DEPARTMENT
                                                                                    HOUSTON, TX 77040



A-S 93 SH 130-SH 45, LP                    A-S SH130 -SH45 LP                       ASA CARLTON INC
C/O NEWQUEST PROPERTIES                    8807 W SAM HOUSTON PKWY N STE 300        5224 PALMERO COURT
8827 W. SAM HOUSTON PKWY N., SUITE 200     HOUSTON, TX 77040                        BUFORD, GA 30518
ATTN: PROPERTY MANAGEMENT
HOUSTON, TX 77040



ASA LOGISTICS LLC                          ASA WILLIAMS                             ASAAD ALSOUQI
1105 SCHROCK RD STE 200                    10201 S. MAIN STREET                     10201 S. MAIN STREET
COLUMBUS, OH 43229                         HOUSTON, TX 77025                        HOUSTON, TX 77025




ASAD LAMOT                                 ASANTE DAWKINS                           ASAPH SANCHEZ
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025




ASCAP                                      ASCAP                                    ASCENDENT REAL ESTATE GROUP
21678 NETWORK PLACE                        PO BOX 331608-7515                       401 E LAS OLAS BLVD, SUITE 130 342
CHICAGO, IL 60673-1216                     NASHVILLE, TN 37203                      FORT LAUDERDALE, FL 33301




ASCENDNET INC                              ASCENSION PARISH-SALES TAX AUTHORITY     ASCENSION PARISH-SALES TAX AUTHORITY
21415 W GREENFIELD AVE                     ATTN: PROPERTY TAX DEPT.                 ATTN: SALES & USE TAX DEPT.
NEW BERLIN, WI 53146                       PO BOX 118                               P. O. BOX 1718
                                           GONZALES, LA 70707                       GONZALES, LA 70707




ASCENT                                     ASCWHOLESALE INC                         ASG SECURITY
10-12 EASTCHEAP                            409 FAIRWAY BLUFF DR                     12301 KILN CT
LONDON EC3M 1AJ                            WYLIE, TX 75098                          BELTSVILLE, MD 20705
UNITED KINGDOM
ASG SECURITY              Case 18-12241-CSS    Doc 26
                                         ASG WATAUGA      Filed
                                                     PAVILION,   10/05/18
                                                               LTD.         PageASG
                                                                                 123  of 1739
                                                                                    WATAUGA PAVILION, LTD.
PO BOX 650837                             15105 COLLECTIONS CENTER DRIVE         C/O INLAND SOUTHWEST MANAGEMENT,
DALLAS, TX 75265-0837                     CHICAGO, IL 60693-5105                 LLC # 5010
                                                                                 2901 BUTTERFIELD ROAD
                                                                                 OAK BROOK, IL 60523



ASG WATUNGA PAVILLION LTD                 ASH MESHRIKY                           ASHANTEE RAYNER
15105 COLLECTIONS CENTER DRIVE            10201 S. MAIN STREET                   10201 S. MAIN STREET
CHICAGO, IL 60693-5105                    HOUSTON, TX 77025                      HOUSTON, TX 77025




ASHANTI A BENNETT                         ASHANTI HARRIS                         ASHBY & GEDDES, P.A.
10823 BRICKSIDE CT                        10201 S. MAIN STREET                   ATTN: WILLIAM BOWDEN
RIVERVIEW, FL 33579                       HOUSTON, TX 77025                      500 DELAWARE AVENUE, 8TH FLOOR
                                                                                 WILMINGTON, DE 19801




ASHBY STREET OUTDOOR LLC                  ASHEBORO COMMONS II LLLP               ASHER MEDIA INC
PO BOX 1452                               270 W NEW ENGLAND AVE                  15303 DALLAS PARKWAY SUITE1300
SEARCY, AR 72145-1452                     WINTER PARK, FL 32789                  ADDISSON, TX 75001




ASHEVILLE CITIZEN TIMES                   ASHEVILLE CITIZEN TIMES                ASHLAND MAINTENANCE ORG
P.O. BOX 677564                           PO BOX 2090                            45-15 BARNETT AVE
DALLAS, TX 75267-7564                     14 O HENRY AVE                         SUNNYSIDE, NY 11104
                                          ASHEVILLE, NC 28802




ASHLAND PROPANE INC                       ASHLEE CUEVAS                          ASHLEE FARNEY
PO BOX 1108                               10201 S. MAIN STREET                   10201 S. MAIN STREET
SOUTH HOLLAND, IL 60473                   HOUSTON, TX 77025                      HOUSTON, TX 77025




ASHLEE GURNEA                             ASHLEE MARROQUIN                       ASHLEE OSTROFF
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




ASHLEIGH DEASEY                           ASHLEIGH MILLER                        ASHLEIGH WILLIAMS
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




ASHLEY ANDERSON                           ASHLEY ANDERSON                        ASHLEY APARTMENTS
10201 S. MAIN STREET                      10201 S. MAIN STREET                   DBA OAKMONT PROPERTIES
HOUSTON, TX 77025                         HOUSTON, TX 77025                      225 HIGHLAND AVE
                                                                                 SAN RAFAEL, CA 94901




ASHLEY APPLEBY                            ASHLEY ARNOLD                          ASHLEY ARTHMANN
PO BOX 343205                             6208 THURGOOD AVE                      10201 S. MAIN STREET
HOMESTEAD, FL 33035                       AUSTIN, TX 78721                       HOUSTON, TX 77025
ASHLEY BAILEY            Case 18-12241-CSS
                                        ASHLEY Doc  26
                                               BAYLOR       Filed 10/05/18   PageASHLEY
                                                                                  124 of  1739
                                                                                        BLEIBTREY
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY BOULEY                            ASHLEY BOWERS                           ASHLEY BROOKS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY BROOKS                            ASHLEY BRUMMETT                         ASHLEY CAMACHO
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY CARREL                            ASHLEY COBLE                            ASHLEY COURTEMANCHE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY CRAWFORD                          ASHLEY DAVILA                           ASHLEY DUFRESNE
10201 S. MAIN STREET                     3608 CREST HILL DR                      10201 S. MAIN STREET
HOUSTON, TX 77025                        FLOWERY BRANCH, GA 30542                HOUSTON, TX 77025




ASHLEY FITZPATRICK                       ASHLEY FLEMINGS                         ASHLEY FRUM
3788 RICHMOND AVE 1334                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77046                        HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY GLEITER                           ASHLEY GRENINGER                        ASHLEY HAHN
                                         317 LIVE OAK LOOP                       10201 S. MAIN STREET
                                         CENTRAL POINT, OR 97502                 HOUSTON, TX 77025




ASHLEY HOPKINS                           ASHLEY HUTCHISON                        ASHLEY J ALLISON
10201 S. MAIN STREET                     10201 S. MAIN STREET                    DBA ALLISON ENTERPRISE LLC
HOUSTON, TX 77025                        HOUSTON, TX 77025                       10150 S GALAXY AVE
                                                                                 YUMA, AZ 85367




ASHLEY JOHNSON                           ASHLEY JOHNSTON                         ASHLEY JONES
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY JONES                             ASHLEY JONES                            ASHLEY KLASS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025
ASHLEY LAWSON           Case 18-12241-CSS
                                       ASHLEY Doc
                                              LEE 26      Filed 10/05/18   PageASHLEY
                                                                                125 of   1739
                                                                                      LIGHT
191 CALLINE MAYES RUN                  10201 S. MAIN STREET                    10201 S. MAIN STREET
BUDA, TX 78610                         HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY LITTLE                          ASHLEY LOFRIA                           ASHLEY LOPEZ-ROSADO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY MANN                            ASHLEY MARSDALE                         ASHLEY MARTIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY MCQUEEN                         ASHLEY MUSOGA                           ASHLEY NELSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY PARK PROPERTY OWNER LLC         ASHLEY PARK PROPERTY OWNER LLC          ASHLEY PARK PROPERTY OWNER, LLC
370 NEWNAN CROSSING BYPASS             PO BOX 101148                           C/O BAYER PROPERTIES
NEWNAN, GA 30263                       ATLANTA, GA 30392-1148                  2222 ARLINGTON AVE S
                                                                               BIRMINGHAM, AL 35205




ASHLEY PARK PROPERTY OWNER, LLC        ASHLEY PHILLIPS                         ASHLEY PLEASANT
PO BOX 101148                          10201 S. MAIN STREET                    10201 S. MAIN STREET
ATLANTA, GA 30392-1148                 HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY RENAUD OCONNOR                  ASHLEY RIDINGER                         ASHLEY ROETZEL
80 AQUEDUCT ST                         10201 S. MAIN STREET                    10201 S. MAIN STREET
AKRON, OH 44303                        HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY RUANO                           ASHLEY RYAN MEDLEY                      ASHLEY SHINN
10201 S. MAIN STREET                   18317 39TH DR SE                        10201 S. MAIN STREET
HOUSTON, TX 77025                      BOTHELL, WA 98012                       HOUSTON, TX 77025




ASHLEY SIMON                           ASHLEY SMITH                            ASHLEY SNIDER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY SOLMO                           ASHLEY STARKS                           ASHLEY STEPHENS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
ASHLEY STOKES            Case 18-12241-CSS
                                        ASHLEY Doc 26
                                               THOMAS      Filed 10/05/18   PageASHLEY
                                                                                 126 of  1739
                                                                                       THOMPSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    14278 S MORNING LIGHT DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HERRIMAN, UT 84096




ASHLEY THOMPSON                         ASHLEY THORNER                          ASHLEY THORNER
735 TULIP GROVE RD 345                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HERMITAGE, TN 37076                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY TINDELL                          ASHLEY TORRES                           ASHLEY TULLI
10201 S. MAIN STREET                    10201 S. MAIN STREET                    1004 SW WARRIORS CIRCLE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       BLUE SPRINGS, MO 64015




ASHLEY VALENTINE                        ASHLEY WALLER                           ASHLEY WEARLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLEY WILUSZ                           ASHLEY YODER                            ASHLEY ZAZWIRSKY
10201 S. MAIN STREET                    3412 NW 25TH ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                       OKLAHOMA CITY, OK 73107                 HOUSTON, TX 77025




ASHLEY ZICKERFOOSE                      ASHLIEE PEIFFER                         ASHLY COLLINS
11336 ALTAMONT DR                       10201 S. MAIN STREET                    10201 S. MAIN STREET
FRISCO, TX 75033                        HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHLY ELLIS                             ASHLYN BROOKS                           ASHLYN HUFF
10201 S. MAIN STREET                    10201 S. MAIN STREET                    4101 B DIXIE CT
HOUSTON, TX 77025                       HOUSTON, TX 77025                       GREENVILLE, NC 27858




ASHLYNN DRURY                           ASHLYNNE JAMES                          ASHMALY DIAZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




ASHNAH SAM                              ASHRAF MESHRIKY                         ASHTON GILDON
13455 WOODFOREST BLVD 37                20 GEORGE ST                            10201 S. MAIN STREET
HOUSTON, TX 77015                       SPORTSWOOD, NJ 08884                    HOUSTON, TX 77025




ASHTON WOODALL                          ASHWAUBENON WATER & SEWER UTIL          ASHWAUBENON WATER & SEWER UTIL
10201 S. MAIN STREET                    2155 HOLMGREN WAY                       P.O. BOX 187
HOUSTON, TX 77025                       ASHWAUBENON, WI 54304                   GREEN BAY, WI 54305-0187
                        Case
ASHWAUBENON WATER & UTILITY       18-12241-CSS      Doc 26
                                            ASI BUSINESS      Filed 10/05/18
                                                         SOLUTIONS              PageASIA
                                                                                     127   of 1739
                                                                                         COATS
P.O. BOX 187                                 13701 HUTTON DR STE 102                10201 S. MAIN STREET
GREEN BAY, WI 54305-0187                     DALLAS, TX 75234                       HOUSTON, TX 77025




ASIA COOPER                                  ASIA D BROWN                           ASIA WALCOTT
10201 S. MAIN STREET                         25 S LADAW AVE APT 76                  10201 S. MAIN STREET
HOUSTON, TX 77025                            MILLVILLE, NJ 08332                    HOUSTON, TX 77025




ASIANE WILLIAMS                              ASIF IQBAL                             ASONE INC
10201 S. MAIN STREET                         10201 S. MAIN STREET                   P.O. BOX 206
HOUSTON, TX 77025                            HOUSTON, TX 77025                      UNION HALL, VA 24176




ASOTIN COUNTY BUILDING & PLANNING            ASOTIN COUNTY PUD 1                    ASOTIN COUNTY PUD 1
PO BOX 610                                   1500 SCENIC WAY                        P.O. BOX 605
ASOTIN, WA 99402                             CLARKSTON, WA 99403                    CLARKSTON, WA 99403-0605




ASOTIN COUNTY PUD                            ASOTIN COUNTY                          ASOTIN
P.O. BOX 605                                 C/O TREASURER                          ATTN: PROPERTY TAX DEPT.
CLARKSTON, WA 99403-0605                     PO BOX 99                              PO BOX 99
                                             ASOTIN, WA 99402                       ASOTIN, WA 99402




ASP REALTY, INC.                             ASP REALTY, INC.                       ASPEN CLEANING & MAID SERVICES INC
C/O SUPERVALU INC.                           C/O SUPERVALU INC.                     3574 HOLLAND ROAD
11840 VALLEY VIEW ROAD                       11840 VALLEY VIEW ROAD                 VIRGINIA BEACH, VA 23452
ATTN: BUSINESS LAW (#345/62453)              ATTN: BUSINESS LAW (345/62453)
EDEN PRAIRIE, MN 55344                       EDEN PRAIRIE, MN 55344



ASPEN FIREPLACE & PATIO INC                  ASPEN HILL VENTURE LLP                 ASPEN HILL VENTURE, LLP
5156 SINCLAIR RD                             C/O THE TOWER COMPANIES                C/O THE TOWER COMPANIES
COLUMBUS, OH 43229                           2000 TOWER OAKS BOULEVARD, 9TH FLOOR   2000 TOWER OAKS BOULEVARD, 9TH FLOOR
                                             ROCKVILLE, MD 20852                    ROCKVILLE, MD 20852




ASPEN WASTE SYSTEMS INC. MN                  ASPEN WASTE SYSTEMS INC. MO            ASPEN WASTE SYSTEMS INC.
2951 WEEKS AVE SE                            2951 WEEKS AVE SE                      P.O. BOX 3050
MINNEAPOLIS, MN 55414                        MINNEAPOLIS, MN 55414                  DES MOINES, IA 50316




ASPREA GRIFFIN                               ASSAD NADERI                           ASSEMBLY CONTRACTOR & CO INC
10201 S. MAIN STREET                         10201 S. MAIN STREET                   PO BOX 10
HOUSTON, TX 77025                            HOUSTON, TX 77025                      CRANDALL, GA 30711




ASSESSOR & COLLECTOR OF TAXES                ASSET ACCEPTANCE LLC                   ASSET MANAGEMENT SERVICES
GRAYSON COUNTY                               PO BOX 939050                          ATTN: SHAUNA LYNN
                                             SAN DIEGO, CA 92193-9050               488 EAST WINCHESTER STREET, SUITE 325
                                                                                    MURRAY, UT 84107
                        Case 18-12241-CSS
ASSET MANAGEMENT SOLUTIONS                    Doc 26 ASOCIATES,INC
                                       ASSET PROTECTION  Filed 10/05/18       PageASSICURAZIONI
                                                                                   128 of 1739GENERALI SPA
8200 S. QUEBEC STREET, SUITE A3-223    2305 OLD MILTON PKWY                       34132 TRIESTE
CENTENNIAL, CO 80112                   ALPHARETTA, GA 30009                       PIAZZA DUCA DEGLI ABRUZZI 2
                                                                                  ITALY




ASSOCIATED CONSULTANTS INC DBA         ASSOCIATED COURIER                         ASSOCIATED FIRE PROTECTION INC
RETRO TAX                              DBA STREET FLEET ALLIANCE TRANS            PO BOX 28022
3730 WASHINGTON BLVD                   2340 COUNTRY RD C W STE 180                RALEIGH, NC 27611-8022
INDIANAPOLIS, IN 46205                 ROSEVILLE, MN 55113




ASSOCIATED FIRE PROTECTION LLC         ASSOCIATED FIRE PROTECTION LLC             ASSOCIATED INVESTORS GROUP, LLC
3680 HIGHWAY 76                        PO BOX 864                                 ATTN: DAN OLSON
YOUNG HARRIS, GA 30582                 YOUNG HARRIS, GA 30582                     16150 41 AVENUE NE
                                                                                  LAKE FOREST PARK, WA 98155




ASSOCIATED INVESTORS GROUP, LLC        ASSOCIATED PRESS                           ASSOCIATED
RYAN OLSON, PROPERTY MANAGER           PO BOX 414212                              INTEGRATED SUPPLY CHAIN SOLUTIONS
9515 NE 13TH STREET                    BOSTON, MA 02241-4212                      7954 SOLUTIONS CENTER
CLYDE HILL, WA 98004                                                              CHICAGO, IL 60677




ASSOCIATION CAREER NETWORK             ASSOCIATION SERVICES OF WASHINGTION        ASSURANT EMPLOYEE BENEFITS
DEPT 0155                              INC                                        2323 GRAND BLVD
PO BOX 120155                          DBA ASW ARCHBRIGHT                         KANSAS CITY, MO 64108
DALLAS, TX 75312-0155                  PO BOX 20309
                                       SEATTLE, WA 98102-1309



ASSURANT EMPLOYEE BENEFITS             ASSURANT EMPLOYEE BENEFITS                 ASSURED DOCUMENT DESTRUCTION INC
ADMINISTRATIVE SERVICES                PO BOX 807009                              8050 S ARVILLE ST STE 105
26097 NETWORK PLACE                    KANSAS CITY, MO 64184-7009                 LAS VEGAS, NV 89139
CHICAGO, IL 60673-1260




ASTON PROPERTIES                       ASUNCION ALVAREZ                           ASURINT
610 MOREHEAD STREET, SUITE 100         10201 S. MAIN STREET                       1111 SUPERIOR AVE E STE 2100
CHARLOTTE, NC 28202                    HOUSTON, TX 77025                          CLEVELAND, OH 44114




ASW                                    AT BELLEVILLE CROSSING IL-INLINE LLC       AT CASTLETON IN OWNER LLC
5601 6TH AVE S STE 400                 2720 E. CAMELBACK RD., STE 220             2701 E CAMELBACK RD STE 150
SEATTLE, WA 98108                      PHOENIX, AZ 85016                          PHOENIX, AZ 85016




AT CASTLETON IN OWNER, LLC             AT MF VEGAS LLC                            AT&T 105320
C/O ARCITERRA GROUP, LLC               2720 E CAMELBACK RD 220                    PO BOX 105320
2720 EAST CAMELBACK ROAD, SUITE 220    PHOENIX, AZ 85016                          ATLANTA, GA 30348
PHOENIX, AZ 85016




AT&T CUSTOM WORK ORDER DEPT            AT&T CWO                                   AT&T LONG DISTANCE
ATTN: SUSIE COLBERT-CURTIS             220 WISCONSIN AVE FL 2                     P.O. BOX 5017
909 CHESTNUT 9TH FLOOR                 WAUKESHA, WI 53186                         CAROL STREAM, IL 60197-5017
SAINT LOUIS, MO 63101
AT&T MOBILITY 537104     Case 18-12241-CSS     Doc 26
                                        AT&T MOBILITY II LLC Filed 10/05/18   PageAT&T
                                                                                   129MOBILITY
                                                                                       of 1739
P.O. BOX 537104                            ATTN: MOBILITY NATIONAL ACCOUNTS       NATIONAL BUSINESS SERVICES
ATLANTA, GA 30353-7104                     PO BOX 97075                           P.O. BOX 9004
                                           RICHMOND, WA 98073-9775                CAROL STREAM, IL 60197-9004




AT&T MOBILITY                              AT&T MOBILITY                          AT&T UVERSE
P.O. BOX 6463                              SEI PROCESSING                         C/O AT&T SERVICES INC; KAREN A
CAROL STREAM, IL 60197-6463                PO BOX 5085                            CAVAGNARO
                                           CAROL STREAM, IL 60197-5085            ONE AT&T WAY, RM 3A104
                                                                                  BEDMINSTER, NJ 07921



AT&T UVERSE                                AT&T U-VERSE(SM)                       AT&T
P.O. BOX 5014                              P.O. BOX 5014                          700 HILLTOP DR
CAROL STREAM, IL 60197-5014                CAROL STREAM, IL 60197-5014            ITASCA, IL 60143-1326




AT&T                                       AT&T                                   AT&T
ATTN: CUSTOMER WORK DEPT.                  C/O AT&T SERVICES INC; KAREN A         P.O. BOX 105068
4119 BROADWAY ST. ROOM 740                 CAVAGNARO                              ATLANTA, GA 30348-5068
SAN ANTONIO, TX 78209                      ONE AT&T WAY, RM 3A104
                                           BEDMINSTER, NJ 07921



AT&T                                       AT&T                                   AT&T
P.O. BOX 105262                            P.O. BOX 105320                        P.O. BOX 105414
ATLANTA, GA 30348-5262                     ATLANTA, GA 30348-5320                 ATLANTA, GA 30348-5414




AT&T                                       AT&T                                   AT&T
P.O. BOX 5001                              P.O. BOX 5019                          P.O. BOX 5020
CAROL STREAM, IL 60197-5001                CAROL STREAM, IL 60197-5019            CAROL STREAM, IL 60197-5020




AT&T                                       AT&T                                   AT&T
P.O. BOX 5025                              P.O. BOX 5080                          P.O. BOX 5083
CAROL STREAM, IL 60197-5025                CAROL STREAM, IL 60197-5080            CAROL STREAM, IL 60197-5083




AT&T                                       AT&T                                   AT&T
P.O. BOX 660921                            P.O. BOX 8100                          PO BOX 105503
DALLAS, TX 75266-0921                      AURORA, IL 60507-8100                  ATLANTA, GA 30348-5503




AT&T-5025                                  ATALLAH ALMAOUI                        ATASCOCITA 1692 LLC
P.O. BOX 5025                              10201 S. MAIN STREET                   PO BOX 82565
CAROL STREAM, IL 60197-5025                HOUSTON, TX 77025                      GOLETA, CA 93118




ATASCOCITA 1692, LLC                       ATASCOCITA 1692, LLC                   ATB FURNISHED HOUSING SF INC
C/O KIMCO REALTY CORPORATION               PO BOX 82565                           1480 SW 3RD ST STE C6
3333 NEW HYDE PARK ROAD, SUITE 100         GOLETA, CA 93118                       POMPANO BEACH, FL 33069
NEW HYDE PARK, NY 11042
ATB PROPERTIES LLC     Case 18-12241-CSS     Doc 26 LLCFiled 10/05/18
                                      ATB PROPERTIES,                      PageATC
                                                                                130   of 1739
                                                                                   INVESTOR LP
JANET BERNADICOU                        ATTN: JANET BERNADICOU                 PO BOX 301501
470 ARLINGTON WAY                       470 ARLINGTON WAY                      DALLAS, TX 75303-1501
MENLO PARK, CA 94025                    MENLO PARK, CA 94025




ATC INVESTOR, LP                        A-TECH SERCICES LLC                    ATENCIO, BILL
C/O TRADEMARK PROPERTY COMPANY          PO BOX 14113                           1503 S OSWEGO CT
1701 RIVER RUN #500                     GREENVILLE, SC 29610                   AURORA, CO 80012-5201
FORT WORTH, TX 76107




ATHENA PROPERTY MANAGEMENT              ATHENA PROPERTY MANAGEMENT             ATHENA ZUCCO
730 EL CAMINO WAY, SUITE 200            JENNIFER SULPIZIO                      10201 S. MAIN STREET
TUSTIN, CA 92780                        17600 COLLIER AVENUE, SUITE A100       HOUSTON, TX 77025
                                        LAKE ELSINORE, CA 92530




ATHENS LEASING CO                       ATHENS-CLARKE CO DEPT OF FINANCE       ATHENS-CLARKE COUNTY WATER
ATTN: BEN MURRAY                        BUSINESS TAX OFFICE                    BUSINESS OFFICE
120 EPPS BRIDGE RD                      PO BOX 1748                            P.O. BOX 1948
ATHENS, GA 30606                        ATHENS, GA 30603                       ATHENS, GA 30603-1948




ATHLETIC MOVING COMPANY                 ATIF MADYUN                            ATKINS & OGLE LAW OFFICES LLC
112 RYAN AVE                            10201 S. MAIN STREET                   105 RIVER VISTA DR
MOBILE, AL 36607                        HOUSTON, TX 77025                      BUFFALO, WV 25508-5373




ATL INC                                 ATLANTA FALCONS STADIUM CO             ATLANTIC ANESTHESIA INC
3370 ROSEDALE ROAD                      DBA MERCEDES-BENZ STADIUM              134 BUSINESS PARK DR
IRWIN, OH 43029                         ATTN: AMBREE STANCIL                   VIRGINIA BEACH, VA 23462
                                        1 AMB DR NW
                                        ATLANTA, GA 30313



ATLANTIC ANESTHESIA INC                 ATLANTIC BROADBAND                     ATLANTIC CENTER FORT GREENE ASSOC LP
C/O VIRGINIA BEACH GEN DISTRICT COURT   P.O. BOX 371801                        C/O FOREST CITY ENTERPRISES
2425 NIMMO PARKWAY                      PITTSBURGH, PA 15250                   50 PUBLIC SQUARE, SUITE 700
VIRGINIA BEACH, VA 23456-9057                                                  CLEVELAND, OH 44113-2203




ATLANTIC CENTER FORT GREENE ASSOC LP    ATLANTIC CITY ELECTRIC                 ATLANTIC CITY ELECTRIC
PO BOX 72579                            500 N WAKEFIELD DR                     P.O. BOX 13610
CLEVELAND, OH 44192                     NEWARD, DE 19702                       PHILADELPHIA, PA 19101




ATLANTIC COMMERCE LLC                   ATLANTIC COMMERCE, LLC                 ATLANTIC COMMERCIAL PROPERTIES, INC.
PO BOX 9091                             P.O. BOX 9091                          ATTN: KATHLEEN HULLINGER
RANCHO SANTA FE, CA 92067               RANCHO SANTA FE, CA 92067              8761 PERIMETER PARK BOULEVARD, SUITE
                                                                               106
                                                                               JACKSONVILLE, FL 32216



ATLANTIC COMMONS COMMERCIAL LLC         ATLANTIC COMMONS COMMERCIAL, LLC       ATLANTIC COMMONS COMMERCIAL, LLC
ATTN: LEGAL DEPARTMENT                  ATTN: LEGAL DEPARTMENT                 ATTN: MICHAEL FRIEDMAN
1600 SAWGRASS CORPORATE PARKWAY,        1600 SAWGRASS CORPORATE PARKWAY,       1600 SAWGRASS CORPORATE PARKWAY,
SUITE 400                               SUITE 400                              SUITE 400
SUNRISE, FL 33323                       SUNRISE, FL 33323                      SUNRISE, FL 33323
                        Case LLC
ATLANTIC DEVELOPMENT GROUP,  18-12241-CSS     Doc
                                       ATLANTIC    26 Filed 10/05/18
                                                FURNITURE                  PageATLANTIC
                                                                                131 of FURNITURE
                                                                                        1739
AMADO HERNANDEZ                        10 GREENFIELD RD                        PO BOX 287
183 MADISON AVE, SUITE 1601            SOUTH DEERFIELD, MA 01373               SOUTH DEERFIELD, MA 01373
NEW YORK, NY 10016




ATLANTIC INC                         ATLANTIC REALTY DEVELOPMENT CORP          ATLAS COPCO USA HOLDINGS INC
10018 SANTA FE SPRINGS RD            90 WOODBRIDGE CENTER DR, SUITE 600        DBA SCALES INDUSTRIAL TECHNOLOGIES
SANTA FE SPRINGS, CA 90670           WOODBRIDGE, NJ 07095                      LLC
                                                                               7 CAMPUS DR STE 200
                                                                               PARSIPPANY, NJ 07054



ATLAS DISPOSAL                       ATLAS DISPOSAL                            ATLAS DOOR REPAIR INC
7550 INDUSTRIAL CT                   P.O. BOX 511241                           DBA ATLAS DOOR REPAIR COM
ALPHARETTA, GA 30009                 LOS ANGELES, CA 90051-3039                23900 W INDUSTRIAL DR S STE 1
                                                                               PLAINFIELD, IL 60585




ATLAS LOGISTICS INC                  ATLAS PALLETS LLC                         ATLAS ROOFING COMPANY
PO BOX 952340                        131 N KINGS RD                            ATLAS GROUP ENTERPRISES, INC.
SAINT LOUIS, MO 63195                NAMPA, ID 83687                           P.O. BOX 565
                                                                               FOREST PARK, GA 30298




ATLAS SIGN INDUSTRIES                ATLAS STAFFING INC                        ATLAS VAN LINES INC
1077 W BLUE HERON BLVD               920 N ARGONNE RD 308                      1212 ST GEORGE RD
WEST PALM BEACH, FL 33404            SPOKANE VALLEY, WA 99212                  EVANSVILLE, IN 47711




ATLASSIAN PTY LTD                    ATLASSIAN PTY LTD                         ATMF CRANBROOK VILLAGE, LLC
32151 COLLECTIONS CENTER DRIVE       LEVEL 6                                   6735 TELEGRAPH ROAD, SUITE 110
CHICAGO, IL 60693-0321               341 GEORGE ST                             ATTN: DEBBIE WOSIK
                                     SYDNEY, NSW 02000                         BLOOMFIELD HILLS, MI 48301
                                     AUSTRALIA



ATMOS ENERGY                         ATMOS ENERGY                              ATS COMMUNICATIONS INC.
P.O. BOX 790311                      THREE LINCOLN CENTRE, STE 1800            2500 ANNALISA DR. STE 200
ST. LOUIS, MO 63179-0311             5430 LBJ FREEWAY                          CONCORD, CA 94520
                                     DALLAS, TX 75240




ATSI                                 ATSI                                      ATT OST MARKETPLACE LLC
8100 WESTGLEN DR                     ALPHA TELECOMMUNICATION ASSOCIATES,       1790 E RIVER ROAD STE 310
HOUSTON, TX 77063                    INC.                                      TUCSON, AZ 85718
                                     8100 WESTGLEN DR.
                                     HOUSTON, TX 77063



ATTLEBORO                            ATTORNEY RECOVERY SYSTEMS INC             ATTORNEYS FOR DISABLED AMERICANS
ATTN: PROPERTY TAX DEPT.             18757 BURBANK BLVD 300                    GROUP LLC
PO BOX 844514                        TARZANA, CA 91356                         DBA ADA GROUP LLC
BOSTON, MA 02284-4514                                                          4001 CARMICHAEL RD STE 570
                                                                               MONTGOMERY, AL 36106



ATTUNITY INC                         ATWELL CURTIS & BROOKS LTD                ATYA KHAN
70 BLANCHARD RD                      204 STONEHINGE LANE                       10201 S. MAIN STREET
BURLINGTON, MA 01803                 PO BOX 363                                HOUSTON, TX 77025
                                     CARLE PLACE, NY 11514
AUBREY BLACKWOOD        Case 18-12241-CSS
                                       AUBREYDoc  26LLC Filed 10/05/18
                                             FAMILY                      PageAUBREY
                                                                              132 ofJEMMOTT
                                                                                      1739
10201 S. MAIN STREET                    7161 KENDALLWOOD DR                  10201 S. MAIN STREET
HOUSTON, TX 77025                       DALLAS, TX 75240                     HOUSTON, TX 77025




AUBREY SCOTT DANIELS                    AUBURN EVENTS INC                    AUBURN PLAZA LLC
2004 FOUNTAIN ST                        PO BOX 248                           TRI COMMERCIAL
FLATWOODS, KY 41139                     AUBURN, CA 95604-0248                2209 PLAZA DR STE 100
                                                                             ROCKLIN, CA 95765




AUBURN PLAZA, LLC                       AUBURN PLAZA, LLC                    AUBURN WATER DISTRICT
ATTN: HAYDEN STONE                      C/O TRI COMMERCIAL                   75 CHURCH ST
5600 CUSHING PARKWAY                    2209 PLAZA DR STE 100                AUBURN, MA 01501
FREMONT, CA 94538                       ROCKLIN, CA 95765




AUBURN WATER DISTRICT                   AUBURNDALE PROPERTIES, INC.          AUDEE MITRA
P.O. BOX 187                            50 TICE BOULEVARD, SUITE 320         10201 S. MAIN STREET
AUBURN, MA 01501-0187                   WOODCLIFF LAKE, NJ 07677             HOUSTON, TX 77025




AUDIO ELECTRONICS INC                   AUDIO VISUAL RESOURCE INC            AUDIT BUREAU OF CIRCULATIONS
722 EAST 2ND ST                         973 HALL ST                          DEPT 20-8026
MERIDIAN, ID 83642                      SAN CARLOS, CA 94070                 PO BOX 5998
                                                                             CAROL STREAM, IL 60197-5998




AUDIT RESOURCES LLC                     AUDREY C COLE                        AUDREY GODWIN
4140 E BASELINE RD STE 101              5021 MARCUS DR                       415 TAMARA DR
MESA, AZ 85206                          FLOWER MOUND, TX 75028               GEORGETOWN, TX 78628




AUDREY INMAN                            AUDREY LANE LLC                      AUDREY LANE LLC
10201 S. MAIN STREET                    1250 N DEARBORN STE 22A              ATTN: PROPERTY MANAGEMENT/LEGAL
HOUSTON, TX 77025                       CHICAGO, IL 60610                    700 HILLTOP
                                                                             ITASCA, IL 60477




AUDREY NELSON                           AUDREY ONORATI                       AUDREY POLCHE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




AUDREY SHEPPARD                         AUDRIE GUERRA                        AUDUBON TITLE
10201 S. MAIN STREET                    7601 QUIET TRACE LN                  ATTN: RYAN SCATADEL
HOUSTON, TX 77025                       PEARLAND, TX 77581                   4130 CANAL STREET
                                                                             NEW ORLEANS, LA 70119




AUDY PENA                               AUGEO AFFINITY INS SERVICE INC       AUGEO AFFINITY INS SERVICE INC
10201 S. MAIN STREET                    11 OVAL DR STE 168                   2561 TERRITORIAL RD
HOUSTON, TX 77025                       ISLANDIA, NY 11749                   SAINT PAUL, MN 55114
AUGUST GATCHALIAN        Case 18-12241-CSS
                                        AUGUSTDoc
                                              WEST26
                                                  FILMSFiled 10/05/18      PageAUGUSTA
                                                                                133 of PLANNING
                                                                                        1739 & DEVELOPMENT DEPT
10201 S. MAIN STREET                    6033 W CENTURY BANK                    PO BOX 9270
HOUSTON, TX 77025                       LOS ANGELES, CA 90045                  AUGUSTA, GA 30916-9270




AUGUSTA SHOPPES LLC                     AUGUSTA SHOPPES LLC                    AUGUSTA SHOPPES LLC
14601 PETTIT WAY                        AUGUSTA/TUSKAVILLA LLC                 C/O SANDMAR PROPERTIES LLC
POTOMAC, MD 20854                       PO BOX 936120                          14601 PETTIT WAY
                                        ATLANTA, GA 31193                      ATTN: SHANNON VAN WINTER
                                                                               POTOMAC, MD 20854



AUGUSTA STATION INC                     AUGUSTA UTILITIES DEPT                 AUGUSTA UTILITIES DEPT
P.O. BOX 100595                         452 WALKER ST, STE 100                 P.O. BOX 1457
ATLANTA, GA 30384-0595                  AUGUSTA, GA 30901                      AUGUSTA, GA 30903-1457




AUGUSTA                                 AUGUSTINE AMPONSAH KUSI                AUGUSTINE FAGALCHUGRAD
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                   10201 S. MAIN STREET
16 CONY ST                              HOUSTON, TX 77025                      HOUSTON, TX 77025
AUGUSTA, ME 04330




AUGUSTO CABANGBANG                      AUGUSTO MANDARA                        AULUKISTA LLC
10201 S. MAIN STREET                    234 BENNETT AVE                        5015 BUSINESS PARK BLVD STE 3000
HOUSTON, TX 77025                       STATEN ISLAND, NY 10312                ANCHORAGE, AK 99503




AULUKISTA LLC                           AULUKISTA, LLC                         AULUKISTA, LLC
AULUKISTA LLC-LFARMS                    5015 BUSINESS PARK BLVD STE 3000       AULUKISTA LLC-LFARMS
PO BOX 84345                            ANCHORAGE, AK 99503                    PO BOX 84345
SEATTLE, WA 98124-5645                                                         SEATTLE, WA 98124-5645




AULUKISTA, LLC                          AUM                                    AUM
C/O WYSE REAL ESTATE ADVISORS           2211 S YORK RD, STE 320                P.O. BOX 6436
810 SE BELMONT STREET, SUITE 100        OAK BROOK, IL 60523                    CAROL STREAM, IL 60197-6436
PORTLAND, OR 97214




AUNDRIA HERNANDEZ                       AURATEK INTERNATIONAL                  AURIEL DENTON
10201 S. MAIN STREET                    1630 N MAIN ST 325                     10201 S. MAIN STREET
HOUSTON, TX 77025                       WALNUT CREEK, CA 94596                 HOUSTON, TX 77025




AURORA MARKETPLACE LP                   AURORA MEDIA GROUP LLC                 AURORA PLAZA
8430 W BRYN MAWR AVE STE 850            12100 E ILIFF AVE 102                  C/O NATIONAL SHOPPING PLAZAS, INC.
CHICAGO, IL 60631-3448                  AURORA, CO 80014                       200 WEST MADISON STREET, SUITE 4200
                                                                               CHICAGO, IL 60606-3465




AURORA SENTINEL                         AURORA WATER                           AUSTACO REAL ESTATE PARTNERS LTD
DBA AURORA MEDIA GROUP                  15151 E ALAMEDA PKWY STE 1200          DIRK DOZIER
12100 E ILIFF AVE 102                   AURORA, CO 80012-1553                  PO BOX 160667
AURORA, CO 80014                                                               AUSTIN, TX 78716-0667
                      Case 18-12241-CSS
AUSTACO REAL ESTATE PARTNERS LTD.    AUSTACO Doc
                                              REAL26    Filed
                                                    ESTATE    10/05/18
                                                           PARTNERS LTD.   PageAUSTELL
                                                                                134 ofNATURAL
                                                                                       1739 GAS SYSTEM
DIRK DOZIER                          DIRK DOZIER                               2838 JOE JERKINS BLVD.
PO BOX 160667                        PO BOX 160667                             P.O. BOX 685
AUSTIN, TX 78716                     AUSTIN, TX 78716-0667                     AUSTELL, GA 30196-8068




AUSTEN COOPER                          AUSTEN MERRYMAN                         AUSTIN AMERICAN STATESMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    COX MEDIA GROUP
HOUSTON, TX 77025                      HOUSTON, TX 77025                       PO BOX 645255
                                                                               CINCINNATI, OH 45264-5255




AUSTIN AUTOMOBILE DEALERS ASSOCATION   AUSTIN BARRETT                          AUSTIN BEEDE
823 CONGRESS AVE STE 230               10201 S. MAIN STREET                    10201 S. MAIN STREET
AUSTIN, TX 78701                       HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTIN CASTILLO                        AUSTIN COLON                            AUSTIN COOPER
8518 FATHOM CIR APT 111                10201 S. MAIN STREET                    10201 S. MAIN STREET
AUSTIN, TX 78750                       HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTIN DALE                            AUSTIN DANNER                           AUSTIN DAY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTIN DELIVERY                        AUSTIN ETHERIDGE                        AUSTIN FRIEDMAN
401 MONUMENT RD APT 86                 10201 S. MAIN STREET                    10201 S. MAIN STREET
JACKSONVILLE, FL 32225                 HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTIN GEER                            AUSTIN GRAY                             AUSTIN HONEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTIN HUDGINS                         AUSTIN LEWIS                            AUSTIN LINDSEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTIN LYONS                           AUSTIN MARSH                            AUSTIN MARTIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTIN MATHIS                          AUSTIN MCCLINTON                        AUSTIN MCFADDEN
10201 S. MAIN STREET                   500 NW 3RD ST                           10201 S. MAIN STREET
HOUSTON, TX 77025                      HUBBARD, TX 76648                       HOUSTON, TX 77025
AUSTIN MILLER          Case 18-12241-CSS     Doc 26
                                      AUSTIN MILLER        Filed 10/05/18   PageAUSTIN
                                                                                 135 of  1739
                                                                                       MORROW
10201 S. MAIN STREET                    10201 S. MAIN STREET                    16912 SABERTOOTH DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                       ROUND ROCK, TX 78681




AUSTIN NELSON PROPERTY SOLUTIONS, LLC   AUSTIN ORSO                             AUSTIN PARKER
WILLIAM S. NELSON, III, CPM             10201 S. MAIN STREET                    10201 S. MAIN STREET
530 HOWELL ROAD, 200                    HOUSTON, TX 77025                       HOUSTON, TX 77025
GREENVILLE, SC 29615




AUSTIN PAULSON                          AUSTIN PEACOCK                          AUSTIN POLAND
10201 S. MAIN STREET                    10201 S. MAIN STREET                    3566 BLUEBONNET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       CORPUS CHRISTI, TX 78408




AUSTIN POLICE DEPT-ALARM UNIT           AUSTIN REESE                            AUSTIN RONCONE
PO BOX 684279                           10201 S. MAIN STREET                    10201 S. MAIN STREET
AUSTIN, TX 78768-4279                   HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTIN RUMMEL                           AUSTIN SEAFORD                          AUSTIN SMITH
10201 S. MAIN STREET                    123 N MAIN ST                           10201 S. MAIN STREET
HOUSTON, TX 77025                       GLEN CARBON, IL 62034                   HOUSTON, TX 77025




AUSTIN SMITH                            AUSTIN SMITH                            AUSTIN SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTIN SPEIGHT                          AUSTIN SUTTON                           AUSTIN TRAILS INVESTORS LP
10201 S. MAIN STREET                    10201 S. MAIN STREET                    8300 N FM 620 BLDG K STE 100
HOUSTON, TX 77025                       HOUSTON, TX 77025                       AUSTIN, TX 78726




AUSTIN WENDEL                           AUSTIN YOUNG                            AUSTINE ANUFORO
1405 BRIAR CT                           10201 S. MAIN STREET                    10201 S. MAIN STREET
PEARLAND, TX 77581                      HOUSTON, TX 77025                       HOUSTON, TX 77025




AUSTON LAMBETH                          AUSTON LAMBETH                          AUTHENTIC BRANDS GROUP LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                    ATTN: BRIDGETTE FITZPATRICK
HOUSTON, TX 77025                       HOUSTON, TX 77025                       1411 BROADWAY, 4TH FLOOR
                                                                                NEW YORK, NY 10018




AUTHORIZED CONSULTING INC               AUTOMATIC FIRE SYSTEMS OF AUGUSTA       AUTOMATIC GATE INSTALLATIONS
4411 BEE RIDGE RD 489                   PO BOX 5630                             1116 DELL AVE
SARASOTA, FL 34233                      AUGUSTA, GA 30916                       CAMPBELL, CA 95008
                       Case
AUTOMATIC IRRIGATION DESIGN   18-12241-CSS    DocSPRINKLER
                                        AUTOMATIC  26 Filed    10/05/18
                                                           OF TEXAS INC     PageAUTOMATION
                                                                                 136 of 1739
                                                                                           PERSONNEL SERVICES INC
333 BALDWIN RD                           PO BOX 382091                          PO BOX 830941
HEMPSTEAD, NY 11550                      DUNCANVILLE, TX 75138                  BIRMINGHAM, AL 35283




AUTREY TILLY                             AUTRY, BONNIE                          AUTUMN FAUGHN
10201 S. MAIN STREET                     1403 SE 2ND ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                        GRESHAM, OR 97080-8009                 HOUSTON, TX 77025




AUTUMN GONZALES                          AUTUMN KILPATRICK                      AUTUMN LAKES APARTMENTS &
9738 WIND DANCER                         10201 S. MAIN STREET                   TOWNHOMES
SAN ANTONIO, TX 78251                    HOUSTON, TX 77025                      DBA WEST MICHIGAN VENTURES
                                                                                1109 HIDDEN LAKES DR
                                                                                MISHAWAKA, IN 46544



AUTUMN LUCUS                             AUTUMN MACKERT                         AUTUMN POOLE
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




AUTUMN SMITH                             AUTUMN SMOYER                          AVA ANISE ADAMS
6519 WOODLAKE VILLAGE CT APT C           10201 S. MAIN STREET                   80 BANKS AVE
MIDLOTHIAN, VA 23112                     HOUSTON, TX 77025                      ROCKVILLE CENTRE, NY 11570




AVALARA INC                              AVANADE INC                            AVANADE INC
DEPT CH 16781                            24104 NETWORK PLACE                    818 STEWART ST STE 400
PALATINE, IL 60055-6781                  CHICAGO, IL 60673-1241                 SEATTLE, WA 98101




AVANTE PROPERTIES, LLC                   AVANTE PROPERTIES, LLC                 AVANTI LINENS INC
CHRISTOPHER J. ARMSTRONG, PRESIDENT      KELLY S. KNOLL, COMMERCIAL ASSET       234 MOONACHIE RD
120 E LAKESIDE STREET                    MANAGER                                MOONACHIE, NJ 07074-1307
MADISON, WI 53715                        120 E LAKESIDE STREET
                                         MADISON, WI 53715



AVENTURA TITLE INSURANCE                 AVERITT EXPRESS INC                    AVERY COUSINS
CORPORATION                              REF 0804595                            543 MOSSWOOD SHOALS
AVENTURA CORPORATE CENTER                PO BOX 102159                          STONE MOUNTAIN, GA 30087
20803 BISCAYNE BOULEVARD, SUITE 301      ATLANTA, GA 30368-2159
ATTN: ALAN J. MARCUS
AVENTURA, FL 33180


AVERY CRUMP                              AVERY DENNISON                         AVERY GRANT
10201 S. MAIN STREET                     15178 COLLECTION CENTER DR             1807 QUAIL GROVE LN
HOUSTON, TX 77025                        CHICAGO, IL 60693                      MISSOURI CITY, TX 77459




AVERY JONES                              AVERY STUCK                            AVIATION LIMOUSINE & TRANSPORTATION
10201 S. MAIN STREET                     10201 S. MAIN STREET                   P.O. BOX 37262
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77237
AVIGDOR LANDMAN        Case 18-12241-CSS
                                      AVIGDORDoc  26 Filed 10/05/18
                                              LANDMAN                       PageAVISON
                                                                                 137 of  1739
                                                                                       YOUNG
3446 SW 8TH ST                        LANDMAN INVESTMENTS                       1315 ASHLEY RIVER ROAD
MIAMI, FL 33135                       3446 SW 8TH ST 1ST FL OFFICE              CHARLESTON, SC 29407
                                      MIAMI, FL 33135




AVISON YOUNG-NORTH CAROLINA LLC       AVISON YOUNG-NORTH CAROLINA LLC           AVISSAR-DIENER LLC
127 WEST HARGETT STREET, SUITE 100    5440 WADE PARK BOULEVARD, SUITE 200       C/O AVIS-R COMPANY
RALEIGH, NC 27607                     RALEIGH, NC 27607                         1616C ROCKVILLE PIKE
                                                                                ROCKVILLE, MD 20852




AVISSAR-DIENER LLC                    AVISTA                                    AVM DEVELOPMENT INC
C/O AVIS-R COMPANY                    1411 E MISSION AVE                        867 HARBOUR PL
1616C ROCKVILLE PIKE                  SPOKANE, WA 99252-0001                    SUGAR LAND, TX 77478
ROCKVILLE, MD 20852




AVNISH BANSAL DBA AKB WEST CHESTER    AVNISH BANSAL                             AVNISH BANSAL
LLC                                   8204 SQUIRREL HOLLOW RIDGE                DBA AKB WEST CHESTER LLC
8204 SQUIRREL HOLLOW RIDGE            WEST CHESTER, OH 45069                    8204 SQUIRREL HOLLOW RIDGE
WEST CHESTER, OH 45069                                                          WEST CHESTER, OH 45069




AVON IN LLC                           AVON IN, LLC                              AVON
C/O COBRIS PROPERTIES, LLC            C/O COBRIS PROPERTIES, LLC                ATTN: PROPERTY TAX DEPT.
102 BROWNING LANE, BUILDING B         102 BROWNING LANE, BUILDING B             PO BOX 611
CHERRY HILL, NJ 08003                 CHERRY HILL, NJ 08003                     MEDFORD, MA 02155-0007




AVONDALE SELF STORAGE LLC             AVPE LLC                                  AVSI GROUP LLC
1530 W COMMERCE AVE                   3936 S SEMORAN BLVD                       4464 W 12TH ST
GILBERT, AZ 85233                     ORLANDO, FL 32822-4015                    HOUSTON, TX 77055




AVSI GROUP LLC                        AWAB BAKHSHI                              AXA MATRIX RISK CONSULTANTS US INC
PO BOX 926273                         10201 S. MAIN STREET                      WASHINGTON PARK II
HOUSTON, TX 77292                     HOUSTON, TX 77025                         7887 WASHINGTON VILLAGE DR STE 150
                                                                                DAYTON, OH 45459




AXCELER                               AXCELER                                   AXEL ESTRADA MUNOZ
600 UNICORN PARK DR                   POWER TOOLS, INC.                         10201 S. MAIN STREET
WOBURN, MA 01801                      600 UNICORN PARK DRIVE                    HOUSTON, TX 77025
                                      WOBURN, MA 01801




AXIEL LOPEZ                           AXIOM CONSULTING PARTNERS LLC             AXIOM PROPERTIES & DEVELOPMENT INC
10201 S. MAIN STREET                  161 N CLARK ST. STE 4700                  1700 E FT LOWELL STE 107
HOUSTON, TX 77025                     CHICAGO, IL 60601                         TUCSON, AZ 85719




AXIOM STAFFING GROUP                  AXIS INSURANCE COMPANY                    AXIS JET
2475 NORTHWINDS PKWY STE 575          11680 GREAT OAKS WAY                      6133 FREEPORT BLVD
ALPHARETTA, GA 30009                  SUITE 500                                 SACRAMENTO, CA 95822-3509
                                      ALPHARETTA, GA 30022
AXONIFY INC               Case 18-12241-CSS
                                         AYANNA Doc  26 Filed 10/05/18
                                                D. MCLEAN                   PageAYANNA
                                                                                 138 ofMCLEAN
                                                                                        1739
460 PHILLIP ST                           DISTRICT MANAGER-PHOENIX               10201 S. MAIN STREET
STE 300                                  PO BOX 467481                          HOUSTON, TX 77025
WATERLOO, ON N2L 5J2                     ATLANTA, GA 31146
CANADA



AYANNI RAMOS                             AYCE MANAGEMENT INC                    AYCEE CARTER
11184 WALNUT AVE                         1170 HAYNES BRIDGE RD STE 205          10201 S. MAIN STREET
BLOOMINGTON, CA 92316                    ALPHARETTA, GA 30009                   HOUSTON, TX 77025




AYESHA PANDEY                            AYLA JOHNSON                           AYNASA INC
10201 S. MAIN STREET                     1621 BAXTER SPRINGS DR                 19199 SOUTH DIXIE HIGHWAY
HOUSTON, TX 77025                        JUSTIN, TX 76247                       CUTLER BAY, FL 33157-7703




AYNASA, INC                              AYNASA, INC                            AYOADE ADEMILUYI
19199 SOUTH DIXIE HIGHWAY                8345 NW 66 STREET, #B5176              10201 S. MAIN STREET
CUTLER BAY, FL 33157-7703                MIAMI, FL 33166                        HOUSTON, TX 77025




AYODEJI ADENIYI-AJAYI                    AYORINDE ILORI-FABORO                  AYRES GROUP
10201 S. MAIN STREET                     10201 S. MAIN STREET                   355 BRISTOL STREET, SUITE A
HOUSTON, TX 77025                        HOUSTON, TX 77025                      COSTA MESA, CA 92626




AYRTON BEIERLE                           AYSHIA YOUNG                           AYZHA HAZELWOOD
10201 S. MAIN STREET                     2101 VERNICE DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                        COPPERAS COVE, TX 76522                HOUSTON, TX 77025




AZ INVESTMENTS LLC                       AZ PAV LLC                             AZ PAV LLC
CO COLLIERS INTERNATIONAL                ERIC ROSENBERG                         PO BOX 5938
PO BOX 3546                              P.O. BOX 5938                          AUSTIN, TX 78763
LITTLE ROCK, AR 72203                    AUSTIN, TX 78763




AZ77 LLC                                 AZALAYA CARTER                         AZALEA MANAGEMENT & LEASING
C/O THE RH JOHNSON COMPANY               10201 S. MAIN STREET                   PO BOX 9527
4520 MADISON AVE, SUITE 300              HOUSTON, TX 77025                      ASHEVILLE, NC 28815
ATTN: LISA RANDALL
KANSAS CITY, MO 64111



AZCO PARTNERS                            AZCO PARTNERS, GATEWAY SHOPPING        AZCO PARTNERS, GATEWAY SHOPPING
REGENCY CENTER LP-GATEWAY SHPG           CENTER                                 CENTER
CNTR                                     C/O REGENCY CENTERS, LP                C/O REGENCY CENTERS, LP
PO BOX 644019                            150 MONUMENT ROAD, SUITE 406           ONE INDEPENDENT DRIVE, SUITE 114
PITTSBURGH, PA 15264-4019                BALA CYNWYD, PA 19004                  JACKSONVILLE, FL 32202



AZEDIN TRNJANIN                          AZEJM LAND HOLDINGS LLC                AZFAR NAEEM
11304 SE 10TH ST APT I3                  C/O GILBERT BIRD LAW FIRM PC           10201 S. MAIN STREET
VANCOUVER, WA 98664                      ATTN: RYAN BIRD                        HOUSTON, TX 77025
                                         10575 N. 114TH STREET, SUITE 115
                                         SCOTTSDALE, AZ 85259
AZG NORTHERN LLC           Case 18-12241-CSS
                                          AZID ALI Doc 26      Filed 10/05/18   PageAZIZ
                                                                                     139   of 1739
                                                                                         HLAL
1129 S OAKLAND STE 101                     10201 S. MAIN STREET                     10201 S. MAIN STREET
MESA, AZ 85206                             HOUSTON, TX 77025                        HOUSTON, TX 77025




AZJAUNA T HAMPTON                          AZOSE COMMERCIAL PROPERTIES              AZOSE COMMERCIAL PROPERTIES
4274 DUCKCREEK DR 12-103                   ATTN: FANNIE WU                          ATTN: KAREN STEPHENS
GARLAND, TX 75043                          8451 SE 68TH STREET, SUITE 200           8451 SE 68TH STREET, SUITE 200
                                           MERCER ISLAND, WA 98040                  MERCER ISLAND, WA 98040




AZOSE COMMERCIAL PROPERTIES                AZPB LIMITED PARTNERSHIP                 B & H LAND TRUST
ATTN: KIM BJORKLUND                        DBA ARIZONA DIAMONDBACKS                 1 SLEIMAN PARKWAY, SUITE 230
8451 SE 68TH STREET, SUITE 200             401 E JEFFERSON ST                       JACKSONVILLE, FL 32216
MERCER ISLAND, WA 98040                    PHOENIX, AZ 85004




B & K ENTERPRISES INC                      B & L REALTY ASSOCIATES IV LLC           B & P LOCKSMITH INC
924 E JUNEAU AVE STE 622                   C&H DEV CO                               160 CLAIRTON BLVD
MILWAUKEE, WI 53202                        43 PANORAMIC WAY                         PITTSBURGH, PA 15236
                                           WALNUT CREEK, CA 94595




B & R TRAILER RENTAL LLC                   B & T DEVELOPERS LLC                     B & T DEVELOPERS LLC
1904 HARDEE RD                             10514 DOVE CHASE CIR                     ATTN: TONY MANLEY
KINSTON, NC 28504                          LOUISVILLE, KY 40299                     10514 DOVE CHASE CIR
                                                                                    LOUISVILLE, KY 40299




B F SAUL REAL ESATE INVESTMENT TRUST       B ONE & SONS INC                         B&C FIRE SAFETY INC
1592 ROCKVILLE PIKE LLC                    394 HENDRICKSON AVE                      823 NAVY ST
7501 WISCONSIN AVE STE 1500E               VALLEY STREAM, NY 11580                  FORT WALTON BEACH, FL 32547-2129
BETHESDA, MD 20814




B&D INVESTMENTS OF GAINESVILLE LLC         B&G HAMPSTEAD LLC                        B&G HAMPSTEAD LLC
200 OCEAN AVE STE 202                      ADAM KAFTOL                              C/O SHOPPING CENTER MGMT INC
MELBOURNE BEACH, FL 32951                  1829 REISTERSTOWN ROAD, SUITE 440        1829 REISTERSTOWN RD STE 440
                                           BALTIMORE, MD 21282                      PIKESVILLE, MD 21208




B&L REALTY ASSOCIATES IV, LLC              B&S SUPPLY CO INC                        B&T DEVELOPERS, LLC
C/O C&H DEVELOPMENT CO.                    3725 W THOMAS RD                         ATTN: ANTHONY F. MANLEY
43 PANORAMIC WAY                           PHOENIX, AZ 85019                        10514 DOVE CHASE CIRCLE
WALNUT CREEK, CA 94595                                                              LOUISVILLE, KY 40299




B. & K. ENTERPRISES, INC.                  B2B TECHNICAL INC                        B33 AIRPORT SQUARE LLC
ATTN: ANN ZUEHLKE                          33 WALT WHITMAN RD STE 102               4001 SOUTH DECATUR BLVD, SUITE 6
924 E. JUNEAU AVENUE, SUITE 622            HUNTINGTON STATION, NY 11746             LAS VEGAS, NV 89103
MILWAUKEE, WI 53202




B33 WESTBROOK JV LLC                       B33 WESTBROOK JV LLC                     BAAYORK DINGLE
4001 SOUTH DECATUR BLVD, SUITE 6           DBA B33 WESTBROOK PLAZA LLC              59-51 56TH DRIVE
LAS VEGAS, NV 89103                        4001 S DECATUR BLVD STE 6                MASPETH, NY 11378
                                           LAS VEGAS, NV 89103
BAAYORK DINGLE         Case   18-12241-CSS     Doc
                                        BABBITTS INC 26      Filed 10/05/18   PageBABBITTS
                                                                                   140 of INC
                                                                                           1739
C/O BELOVIN & FRANZBLAU LLP              3111 DAMASCUS RD                         PO BOX 3551
ATTN: MITCHELL FRANZBLAU                 AUGUSTA, GA 30909                        AUGUSTA, GA 30909
2311 WHITE PLAINS ROAD
BRONX, NY 10467-8106



BABSON MACEDONIA PARTNERS LLC            BABSON MACEDONIA PARTNERS, LLC           BABSON MACEDONIA PARTNERS, LLC
DEB MCFADDEN                             C/O OSBORNE CAPITAL GROUP                DEB MCFADDEN
7670 TYLER BLVD                          7670 TYLER BOULEVARD                     7670 TYLER BLVD
MENTOR, OH 44060                         ATTN: LANCE F. OSBORNE                   MENTOR, OH 44060
                                         MENTOR, OH 44060



BABST CALLAND                            BACCHUS TRUCKING SERVICES INC            BACK 9 MOVERS LLC
ATTN: JUSTIN ACKERMAN, ESQ               130-06 140TH ST                          3520 OKEMOS ROAD STE 6
TWO GATEWAY CENTER, 7TH FLOOR            JAMAICA, NY 11436                        OKEMOS, MI 48864
PITTSBURGH, PA 15222




BACKFLOW SPECIALIST INC                  BACKFLOW SPECIALISTS INC                 BACKWARDS BUILDING LLC
63 GREELEY AVE                           63 GREELEY AVE                           ATTN: JEANNIE WHITENACK
SAYVILLE, NY 11782-2604                  SAYVILLE, NY 11782-2604                  13356 METCALF AVE
                                                                                  OVERLAND PARK, KS 66213




BACKYARD BRANDS INC                      BACON UNIVERSAL COMPANY INC              BACON, CAROL
401 S ENTERPRISE BLVD                    918 AHUA ST                              109 UPPER COUNTY ROAD B29
LEBANON, IN 46052                        HONOLULU, HI 96819                       SOUTH DENNIS, MA 02660




BADGER LOGISTICS INC                     BADGER WOLVERINE LLC                     BADIA BROWN
13802 E 33RD PL STE A                    1201 EAST HILLSBORO BLVD                 10201 S. MAIN STREET
AURORA, CO 80011                         DEERFIELD BEACH, FL 33441                HOUSTON, TX 77025




BAEV LASALLE ROUND ROCK UNIVERSITY       BAEV LASALLE ROUND ROCK UNIVERSITY       BAEV LASALLE US HOLDINGS INC
BLVD LLC                                 BLVD LLC                                 DBA BAEV LASALLE ROUNDROCK
C/O BARSHOP & OLES COMPANY               PO BOX 71622                             UNIVERSITY BLVD LLC
801 CONGRESS, SUITE 300                  CHICAGO, IL 60694                        200 E RANDOLPH DR STE 4400
AUSTIN, TX 78701                                                                  CHICAGO, IL 60601



BAGGAGE PLUS                             BAIG BAIG                                BAIHP HOLDINGS LLC
P.O. BOX 770508                          10201 S. MAIN STREET                     200 S MICHIGAN AVE STE 1850
HOUSTON, TX 77215-0508                   HOUSTON, TX 77025                        CHICAGO, IL 60604




BAILEY CASELLO                           BAILEY                                   BAIRD HOLM LLP
10201 S. MAIN STREET                     9701 E ILIFF AVE 2536                    1700 FARNAM ST STE 1500
HOUSTON, TX 77025                        DENVER, CO 80231                         OMAHA, NE 68102




BAKER HOSTETLER LLP                      BAKER ROOFING COMPANY                    BAKER ROOFING COMPANY
ATTN: EBEN P. CLARK                      4937 CLEVELAND ST                        BAKER ROOFING OF NORFOLK LLC
1801 CALIFORNIA ST., 4400                VIRGINIA BEACH, VA 23462                 4937 CLEVELAND ST
DENVER, CO 80202                                                                  VIRGINIA BEACH, VA 23462
BAKER STOREY MCDONALDCase     18-12241-CSS
                         PROPERTIES             Doc 26
                                        BAKER STOREY       Filed PROPERTIES
                                                       MCDONALD  10/05/18      PageBAKER
                                                                                    141 STOREY
                                                                                         of 1739
                                                                                               MCDONALD PROPERTIES
ATTN: CHARLES WARNER                    ATTN: FELISSA DAUGHERTY                    ATTN: SHELDON GRIFFIN
3011 ARMORY DRIVE, SUITE 120            3011 ARMORY DRIVE, SUITE 120               3001 ARMORY DRIVE, SUITE 250
NASHVILLE, TN 37204                     NASHVILLE, TN 37204                        NASHVILLE, TN 37205




BAKERSFIELD FARP                         BAKHTIAR KHAN                             BALBOA CAPITAL CORP
PO BOX 749899                            10201 S. MAIN STREET                      2010 MAIN ST STE 1100
LOS ANGELES, CA 90074-9899               HOUSTON, TX 77025                         IRVINE, CA 92614




BALBOA CAPITAL CORP                      BALBOA CAPITAL                            BALBOA CAPITAL
2010 MAIN ST STE 1100                    P.O. BOX 79445                            PO BOX 844803
IRVINE, CA 92614-7203                    CITY OF INDUSTRY, CA 91716-9445           LOS ANGELES, CA 90084-4803




BALDRICA ADVERTISING AND MARKETING       BALDWIN EMC                               BALDWIN BROTHERS, INC.
INC                                      P.O. BOX 220                              2540 VILLAGE COMMON DRIVE
5660 CORPORATE WAY                       SUMMERDALE, AL 36580                      ERIE, PA 16506
WEST PALM BEACH, FL 33407




BALDWIN CO. REVENUE COMMISSIONER         BALDWIN COUNTY SALES & USE TAX DEPT       BALDWIN COUNTY SALES & USE TAX DEPT
TAX ASSESSOR COLLECTOR                   ATTN: PROPERTY TAX DEPT.                  ATTN: SALES & USE TAX DEPT.
PO BOX 538517                            PO BOX 189                                PO BOX 189
ATLANTA, GA 30353-8517                   ROBERTSDALE, AL 36567                     ROBERTSDALE, AL 36567




BALDWIN COUNTY                           BALDWIN COUNTY                            BALDWIN EMC
PO BOX 459                               SALES USE & LICENSE TAX DEPT              19600 STATE HWY 59
BAY MINETTE, AL 36507                    PO BOX 189                                SUMMERDALE, AL 36580
                                         ROBERTSDALE, AL 36567-0189




BALDWIN EMC                              BALDWIN PARK PLAZA LLC                    BALDWIN PARK PLAZA, LLC
P.O. BOX 220                             DBA RJR VISTA GROVE                       DBA RJR VISTA GROVE
SUMMERDALE, AL 36580                     717 N HARWOOD ST STE 300                  14785 PRESTON ROAD SUITE 750
                                         DALLAS, TX 75201                          DALLAS, TX 75254




BALDWIN PARK PLAZA, LLC                  BALERS INC.                               BALESTRI, KATHY
DBA RJR VISTA GROVE                      5104 THATCHER RD.                         14306 KOSTNER AVE
717 N HARWOOD ST STE 300                 DOWNERS GROVE, IL 60515                   MIDLOTHIAN, IL 60445-2640
DALLAS, TX 75201




BALL STATE UNIVERSITY CAREER CENTER      BALL STATE UNIVERSITY                     BALL STATE UNIVERSITY
ATTN: KRISTY FIX                         2000 W UNIVERSITY AVE                     LUCINA HALL ROOM 245
2000 W UNIVERSITY AVE                    MUNCIE, IN 47306                          MUNCIE, IN 47306
MUNCIE, IN 47306




BALL STATE UNIVERSITY                    BALL STATE UNIVERSITY-WB309               BALLEJOS, EMILIO
OFFICE OF BURSAR & LOAN ADMIN            CENTER FOR PROFESSIONAL SELLING           2001 SOUTH AVE
2000 W UNIVERSITY AVE                    2000 W UNVERSITY AVE                      SACRAMENTO, CA 95838-4021
MUNCIE, IN 47306-0725                    MUNCIE, IN 47306
BALOURDOS & MIKUZIS, LLPCase 18-12241-CSS     DocCITY
                                       BALTIMORE    26FIREFiled
                                                           DEPT   10/05/18   PageBALTIMORE
                                                                                  142 of 1739
                                                                                           COUNTY MARYLAND
ATTN: MICHAEL BALOURDOS, ESQ.          FIRE PREVENTION BUREAU                    PO BOX 64076
535 N. MICHIGAN AVENUE, SUITE 200      PO BOX 17119                              BALTO, MD 21264-4076
CHICAGO, IL 60611                      BALTIMORE, MD 21297




BALTIMORE COUNTY MD                     BALTIMORE SUN MEDIA GROUP                BALWIN TRUCKING LLC
OFFICE OF BUDGET AND FINANCE            PO BOX 3132                              11 REVERE DR APT 3
400 WASHINGTON AVE RM 152               BOSTON, MA 02241-3132                    BLOOMFIELD, CT 06002
TOWSON, MD 21204




BAMBAM BLANKENSHIP                      BAMIDELE AKINDELE                        BAN TARA HOLDINGS II LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                     C/O COMMERCIAL MGNMT
HOUSTON, TX 77025                       HOUSTON, TX 77025                        84 ST CROIX TRAIL S
                                                                                 LAKELAND, MN 55043




BAN TARA HOLDINGS II, LLC               BANCROFT INVESTMENTS                     BANDSTAND MUSIC INC
C/O COMMERCIAL MGNMT                    PO BOX 25                                2302 PACIFIC AVE S
84 ST CROIX TRAIL S                     RANCHO SANTA FE, CA 92067                TACOMA, WA 98402
LAKELAND, MN 55043




BANG ADVERTISING INC.                   BANGOR GAS COMPANY                       BANGOR NATURAL GAS
101 E. PARK RD. STE. 600                P.O. BOX 980                             498 MAINE AVE
PLANO, TX 75074                         BANGOR, ME 04402-0980                    BANGOR, ME 04401




BANGOR NATURAL GAS                      BANGOR PUBLISHING CO                     BANGOR PUBLISHING COMPANY
P.O. BOX 980                            DBA BANGOR DAILY NEWS                    PO BOX 11033
BANGOR, ME 04402-0980                   491 MAIN ST.                             LEWISTON, ME 04243-9401
                                        BANGOR, ME 04401




BANGOR WATER DISTRICT                   BANGOR WATER DISTRICT                    BANGOR
614 STATE ST                            P.O. BOX 1129                            ATTN: PROPERTY TAX DEPT.
BANGOR, ME 04402-1129                   BANGOR, ME 04402-1129                    73 HARLOW ST
                                                                                 BANGOR, ME 04401




BANJAMIN HATCH                          BANK OF AMERICA LOCKBOX 004673           BANK OF AMERICA
10201 S. MAIN STREET                    PO BOX 419326                            2000 CLAYTON ROAD
HOUSTON, TX 77025                       BOSTON, MA 02241-9326                    BUILDING D - 6TH FLOOR
                                                                                 MAIL CODE: CA4-704-06-08
                                                                                 CONCORD, CA 94520-2425



BANK OF AMERICA, N.A.                   BANK OF HAMPTON ROADS                    BANK OF HAWAII CORP.
ATTN: MATTHEW PRATT                     ATTN: ACCOUNTS RECEIVABLE                ATTN: KRISTEL NEWLAND
2000 CLAYTON ROAD                       641 LYNNHAVEN PKWY                       130 MERCHANT STREET
BUILDING D - 6TH FLOOR                  VIRGINIA BEACH, VA 23452                 FLOOR 16
CONCORD, CA 94520-2425                                                           HONOLULU, HI 96813



BANK OF HAWAII CORP.                    BANK OF HAWAII CORP.                     BANK OF HAWAII CORP.
ATTN: NAOMI MASUDA                      ATTN: ROD PEROFF                         ATTN: SCOTT TABER
130 MERCHANT STREET                     130 MERCHANT STREET                      130 MERCHANT STREET
FLOOR 16                                FLOOR 16                                 FLOOR 16
HONOLULU, HI 96813                      HONOLULU, HI 96813                       HONOLULU, HI 96813
BANKOLE AGBAJE         Case 18-12241-CSS
                                      BANNERDoc   26 Filed 10/05/18
                                            LIFE INSURANCE                PageBAO-TUONG
                                                                               143 of 1739
                                                                                        NGUYEN
10201 S. MAIN STREET                  PO BOX 740526                           10201 S. MAIN STREET
HOUSTON, TX 77025                     ATLANTA, GA 30374-0526                  HOUSTON, TX 77025




BAOYUE LU                             BAR ELECTRIC                            BARACK FERRAZZANO KIRSCHBAUM
10201 S. MAIN STREET                  PO BOX 1033                             & NAGELBERG LLP
HOUSTON, TX 77025                     ROUND ROCK, TX 78680                    ATTN: SUZANNE BESSETTE-SMITH
                                                                              200 WEST MADISON STREET, SUITE 3900
                                                                              CHICAGO, IL 60606



BARACK FERRAZZANO KIRSCHBAUM          BARATTO BROTHERS CONSTRUCTION INC       BARBARA ALVAREZ
& NAGELBERG LLP                       13872 SHAFER RD                         10201 S. MAIN STREET
ATTN: THOMAS H. PAGE                  CROSSLAKE, MN 56442                     HOUSTON, TX 77025
200 WEST MADISON STREET, SUITE 3900
CHICAGO, IL 60606-3465



BARBARA BEARROWS                      BARBARA BERGER                          BARBARA CARTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BARBARA DAWSON                        BARBARA DEVINE                          BARBARA EVANS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BARBARA EVERK                         BARBARA FAGRELL                         BARBARA HARRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    30090 HAYES LN
HOUSTON, TX 77025                     HOUSTON, TX 77025                       JUNCTION CITY, OR 97448




BARBARA JACKSON                       BARBARA LINDON                          BARBARA PEYTON KING
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BARBARA ROY                           BARBARA SICURANZA                       BARBARA SOUTH
372 13TH ST                           10201 S. MAIN STREET                    10201 S. MAIN STREET
PLAINWELL, MI 49080                   HOUSTON, TX 77025                       HOUSTON, TX 77025




BARBARA VOGEL                         BARBARA WALKER                          BARBARA WICKHAM
10201 S. MAIN STREET                  870846 S 3350 RD                        10201 S. MAIN STREET
HOUSTON, TX 77025                     WELLSTON, OK 74881                      HOUSTON, TX 77025




BARBARA WILCOX                        BARBARA ZELM SOUCY                      BARBERS HILL ISD
616 EDFIELD DRIVE                     891 LEE ST                              PO BOX 1108
HOHENWALD, TN 38462                   LAKEWOOD, CO 80215                      MONT BELVIEU, TX 77580-1108
BARBI HUDSON            Case 18-12241-CSS    Doc
                                       BARBOUR    26LAWNFiled
                                               CUTS      CARE 10/05/18
                                                              & SNOW        PageBARCA
                                                                                 144 LOUNGER
                                                                                      of 1739
10201 S. MAIN STREET                    REMOVAL                                 CAPITAL BUSINESS CREDIT LLC
HOUSTON, TX 77025                       3891 ENSLEY ST                          PO BOX 100895
                                        LAFAYETTE, IN 47909                     ATLANTA, GA 30384-4174




BARCLAY GROUP                           BARCLAY/PLEASANT VALLEY LLC             BARCLAY/PLEASANT VALLEY, LLC
2390 E. CAMELBACK ROAD, SUITE 200       C/O BARCLAY GROUP                       C/O BARCLAY GROUP
PHOENIX, AZ 85016                       2390 E. CAMELBACK ROAD, SUITE 200       2390 E. CAMELBACK ROAD, SUITE 200
                                        PHOENIX, AZ 85016                       PHOENIX, AZ 85016




BARCLAYS BANK PLC                       BARCLAYS BANK PLC                       BARCLAYS BANK PLC
700 PRIDES CROSSING                     700 PRIDES CROSSING                     745 7TH AVE
2ND FLOOR                               NEWARK, DE 19713                        NEW YORK, NY 10019
NEWARK, DE 19713




BARCLAYS BANK PLC                       BARCLAYS BANK PLC, AS ABL ADMIN AGENT   BARCLAYS BANK PLC, AS COLLATERAL
BANK DEBT MANAGEMENT GROUP              745 7TH AVENUE                          AGENT
745 SEVENTH AVENUE                      NEW YORK, NY 10019                      745 7TH AVENUE
8TH FLOOR                                                                       NEW YORK, NY 10019
NEW YORK, NY 10019



BARCLAYS BANK PLC, AS TERM LOAN         Barclays                                Barclays
ADMIN AGENT                             ATTN: Erik Hoffman                      ATTN: Joe Jordan
745 7TH AVENUE                          700 Prides Crossing                     745 Seventh Avenue
NEW YORK, NY 10019                      2nd Floor                               New York, NY 10019
                                        Newark, DE 19713



BARCODES INC                            BARCODES INC                            BARDALES, JACKELYN
200 W MONROE ST STE 1050                PO BOX 0776                             105 COMSTOCK DR
CHICAGO, IL 60606                       CHICAGO, IL 60690-0776                  JOLIET, IL 60435




BARNETT & SONS FLAGPOLE SERVICES        BARNOW AND ASSOCIATES PC                BARNSTABLE
5420 RIDGEWOOD RD W                     1 N LASALLE ST SUITE 4600               ATTN: PROPERTY TAX DEPT.
SPRINGFIELD, OH 45503                   CHICAGO, IL 60602                       PO BOX 742
                                                                                READING, MA 01867-0405




BARNWELL CONSULTING LLC                 BARNWELL HOUSE OF TIRES INC             BARON REALTY
3475 LENOX RD STE 650                   65 JETSON LANE                          P.O. BOX 2007
ATLANTA, GA 30326                       CENTRAL ISLIP, NY 11722                 LAKELAND, FL 33806




BARONHOFFS MOVING INC                   BAROWSKY REAL ESTATE INC                BAROWSKY REAL ESTATE, INC.
1521 WESTIN PLACE                       PO BOX 10308                            NED BAROWSKY
KNOXVILLE, TN 37922                     HOLYOKE, MA 01040                       98 LOWER WESTFIELD ROAD
                                                                                HOLYOKE, MA 01040




BAROWSKY REAL ESTATE, INC.              BARRACUDA NETWORKS INC                  BARRET MCCORMICK
PO BOX 10308                            DEPT. LA 22762                          10201 S. MAIN STREET
HOLYOKE, MA 01040                       PASADENA, CA 91185-2762                 HOUSTON, TX 77025
BARRET STINTZI          Case 18-12241-CSS
                                       BARRET Doc  26
                                              STINTZI      Filed 10/05/18    PageBARRETT
                                                                                  145 ofJOHNSTON
                                                                                         1739 MARTIN & GARRISON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     414 UNION ST STE 900
HOUSTON, TX 77025                       HOUSTON, TX 77025                        NASHVILLE, TN 37219




BARRETT LLC                             BARRETT LLC                              BARRETT OUTDOOR COMMUNICATIONS INC
123 S 3RD AVE STE 27                    C/O WHITE LEASURE DEVELOPMENT CO         381 HIGHLAND ST
SANDPOINT, ID 83864                     PO BOX 1277                              WEST HAVEN, CT 06516
                                        BOISE, ID 83701




BARRINGTON ROCK CREEK LP                BARROW COUNTY                            BARROW COUNTY-TAX COMMISSIONER
ATTN: CASHIER                           ATTN: PROPERTY TAX DEPT.                 30 N. BROAD ST
903 N 47TH ST                           30 N BROAD ST                            WINDER, GA 30680
ROGERS, AR 72756                        WINDER, GA 30680




BARROW, ALLIE                           BARROWS NORTH AMERICA INC                BARRY BABBS
9810 ORANGEVALE DR                      100 AVENUE OF THE AMERICAS 17TH FL       126 W FOREST AVE
SPRING, TX 77379-4399                   NEW YORK, NY 10013                       ROSELLE, IL 60172




BARRY EDELSTEIN                         BARRY HARVEY                             BARRY HEYMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BARRY HILL                              BARRY HOLMES-GOSS                        BARRY MASON
14311 WELLS PORT DR                     10201 S. MAIN STREET                     10201 S. MAIN STREET
AUSTIN, TX 78728                        HOUSTON, TX 77025                        HOUSTON, TX 77025




BARRY MYERS                             BARRY OLESKE                             BARRY QUAIL
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BARRY RODNEY                            BARRY ROSENBERG                          BARRY SHINDRUK
10201 S. MAIN STREET                    10201 S. MAIN STREET                     87016 GREEN RIDGE DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                        VENETA, OR 97487




BARRY SOMERFIELD                        BARRY TOWNE FF HOLDINGS LLC              BARSHOP & OLES COMPANY
10201 S. MAIN STREET                    C/O M D MANAGEMENT INC.                  801 CONGRESS AVE, SUITE 300
HOUSTON, TX 77025                       P.O. BOX 129                             AUSTIN, TX 78701
                                        SHAWNEE MISSION, KS 66201




BART FULLER                             BART ZEHREN                              BARTHOLOMEW COUNTY TREASURER
                                        10201 S. MAIN STREET                     ATTN: PROPERTY TAX DEPT.
                                        HOUSTON, TX 77025                        PO BOX 1986
                                                                                 COLUMBUS, IN 47202
                    Case 18-12241-CSS
BARTHOLOMEW COUNTY TREASURER               Doc 26NICKERSON
                                   BARTHOLOMEW        Filed 10/05/18     PageBARTON
                                                                              146 ofLYNNHAVEN
                                                                                      1739 LLC
PO BOX 1986                        10201 S. MAIN STREET                      CO CBRE HAMPTON ROADS
COLUMBUS, IN 47202                 HOUSTON, TX 77025                         150 W MAIN ST STE 1100
                                                                             NORFOLK, VA 23510




BARTOW COUNTY TAX COMMISSIONER       BARTOW                                  BASE, INC.
135 W CHEROKEE AVE STE 217A          ATTN: PROPERTY TAX DEPT.                D/B/A PARTNERS ON THE PIKE, LLC
CARTERSVILLE, GA 30120-3181          PO BOX 1069                             C/O BASE, INC.
                                     BARTOW, FL 33831                        5181 CARTERS CREEK PIKE
                                                                             THOMPSONS STATION, TN 37179



BASHIR SHAKUR                        BASIL SAMUELS                           BASIL TSOLAKIS
10201 S. MAIN STREET                 10201 S. MAIN STREET                    1900 STREET ROAD
HOUSTON, TX 77025                    HOUSTON, TX 77025                       BENSALEM, PA 19020




BASIN DISPOSAL OF PASCO              BASIN DISPOSAL OF PASCO                 BASIN HAULAGE INC.
2021 N COMMERCIAL AVE                P.O. BOX 3850                           57-01 FLUSHING AVE
PASCO, WA 99301                      PASCO, WA 99302-3850                    MASPETH, NY 11378




BASIN HAULAGE INC.                   BASS, DUNKLIN, LITTLE, MCCULLOUGH       BASSET PROPERTY COMPANY, INC.
P.O. BOX 790058                      & SMITH PLLC                            1815 W FIRST AVENUE, SUITE 122
MIDDLE VILLAGE, NY 11379             ATTN: ANDREW M. MCCULLOUGH, ESQ.        MESA, AZ 85202
                                     6302 FAIRVIEW ROAD, SUITE 580
                                     CHARLOTTE, NC 28210



BASSETT FURNITURE                    BASSETT MIRROR CO INC                   BASSETT MIRROR CO INC
1551 CARL D SILVER PARKWAY           PO BOX 60756                            PO BOX 627
FREDERICKSBURG, VA 22401             CHARLOTTE, NC 28260                     BASSETT, VA 24055




BASTROP COUNTY                       BASTROP JUNCTION LM LP                  BASTROP JUNCTION LM LP
TAX ASSESSOR COLLECTOR               C/O PYRAMID PROPERTIES                  PO BOX 684548
PO BOX 579                           1717 WEST 6TH STREET, SUITE 380         AUSTIN, TX 78768
BASTROP, TX 78602-0579               AUSTIN, TX 78703




BASTROP JUNCTION LM, LP              BASTROP JUNCTION LM, LP                 BASTROP RETAIL PARTNERS LP DBA BCSC
C/O PYRAMID PROPERTIES               PO BOX 684548                           LLC
1717 WEST 6TH STREET, SUITE 380      AUSTIN, TX 78768                        100 E ANDERSON LN STE 200
AUSTIN, TX 78703                                                             AUSTIN, TX 78752




BASTROP RETAIL PARTNERS, L.P.        BASTROP                                 BATES AIR CONDITIONING & SERVICE CO INC
DBA BCSC LLC                         ATTN: PROPERTY TAX DEPT.                4101 AIRLINE DR
100 E. ANDERSON LANE, SUITE 200      PO BOX 579                              HOUSTON, TX 77022
AUSTIN, TX 78752                     BASTROP, TX 78602




BATLINER RECYCLING - SHAWNEE KS      BATON ROUGE WATER CO                    BATON ROUGE WATER CO
320 N MCCORMICK AVE                  8755 GOODWOOD BLVD                      P.O. BOX 96025
OKLAHOMA CITY, OK 73127              BATON ROUGE, LA 70806-7916              BATON ROUGE, LA 70896-9025
BATTAGLIA BROTHERS      Case     18-12241-CSS    Doc
                                           BATTAGLIA   26 Filed 10/05/18
                                                     BROTHERS                   PageBATTERY
                                                                                     147 of&1739
                                                                                            CHARGER SERVICE INC
C/O COATES & SOWARDS, INC.                 COATES & SOWARDS INC                     PO BOX 33656
591 W. HAMILTON AVE, SUITE 100             591 W HAMILTON AVE STE 100               SAN ANTONIO, TX 78265
CAMPBELL, CA 95008                         CAMPBELL, CA 95008




BATTERY SHOP OF NEW ENGLAND INC            BATTLEFIELD INDUSTRIAL PARK ASSOC, LLP   BATTLEFIELD INDUSTRIAL PARK ASSOC, LLP
40 SILVA LN                                ATTN: COMMERCIAL ACCT                    C/O THALHIMER
DRACUT, MA 01826                           PO BOX 5160                              222 CENTRAL PARK AVE, SUITE 1820
                                           GLEN ALLEN, VA 23058                     ATTN: MELODY ALMONTE
                                                                                    VIRGINIA BEACH, VA 23462



BATTLEFIELD LEADERSHIP LLC                 BATTLEFIELD LEADERSHIP LLC               BATTLEFIELD MARKETPLACE ASSOC, LLC
1020 FOREST GLEN                           C/O CHRIS POLLARD                        C/O PALMS ASSOCIATES
NEW WINDSOR, NY 12553                      787 STATE RTE 17M 1298                   397 LITTLE NECK ROAD, BLDG 3400, SUITE
                                           MONROE, NY 10949                         200
                                                                                    VIRGINIA BEACH, VA 23452



BATTLEGROUD VENTURES LLC                   BATTLEGROUND TIRE & WRECKER SERVICE      BAWABEH BROTHERS NO. 2, LLC
ATTN: NAN HASTY                            INC                                      539 EASTERN PARKWAY, 3RD FLOOR
1845 ST. JULIAN PLACE                      6204 S NC 62                             BROOKLYN, NY 11216
COLUMBIA, SC 29204                         BURLINGTON, NC 27215




BAXTER LAND SURVEYING CO INC               BAXTER MN (14230 DELLWOOD N) LLC         BAY ALARM COMPANY
2204 DEVINE ST                             1400 16TH ST STE 300                     PO BOX 7137
COLUMBIA, SC 29205                         OAK BROOK, IL 60523                      SAN FRANCISCO, CA 94120-7137




BAY AREA RECYCLING FOR CHARITIES           BAY CITIES REFUSE INC.                   BAY CITY REALTY LLC
8025 S GOOD HARBOR TRAIL                   2525 GARDEN TRACT RD.                    10689 NORTH PENNSYLVANIA STREET,
CEDAR, MI 49621                            RICHMOND, CA 94801                       SUITE 100
                                                                                    INDIANAPOLIS, IN 46280




BAY COUNTY TAX COLLECTOR                   BAY DISPOSAL & RECYCLING                 BAY DISPOSAL
PO BOX 2285                                2224 SPRINGFIELD AVENUE                  465 E INDIAN RIVER ROAD
PANAMA CITY, FL 32402                      NORFOLK, VA 23523                        NORFOLK, VA 23523




BAY PLAZA COMMUNITY CENTER LLC             BAY PLAZA COMMUNITY CENTER LLC           BAY PLAZA COMMUNITY CENTER LLC
C/O PRESTIGE PROPERTIES &                  C/O PRESTIGE PROPERTIES &                PRESTIGE PROPERTY & DEVELOP CO
DEVELOPMENT CO                             DEVELOPMENT CO.                          PO BOX 209
546 FIFTH AVE, 15TH FL                     546 FIFTH AVENUE, 15TH FLOOR             LAUREL, NY 11948
NEW YORK, NY 10036                         ATTN: LEASE ACCOUNTING
                                           NEW YORK, NY 10036


BAY STATE CORPORATE SERVICES INC           BAY                                      BAYARD ADVERTISING AGENCY INC
6 BEACON STREET STE 510                    ATTN: PROPERTY TAX DEPT.                 1430 BROADWAY 20TH FL
BOSTON, MA 02108                           860 W. 11TH ST.                          NEW YORK, NY 10018
                                           PANAMA CITY, FL 32401




BAYBROOK MUD 1                             BAYBROOK M.U.D. 1                        BAYBROOK SQUARE CENTER REIT LLC
P.O. BOX 1368                              P.O. BOX 2749                            DBA TX BAYBROOK SQUARE CNTR LP
FRIENDSWOOD, TX 77549-1368                 SPRING, TX 77383                         801 GRAND AVE
                                                                                    DES MOINES, IA 50392-5000
BAYCAL LUFKIN PARTNERSCase
                       LLC    18-12241-CSS     Doc 26 Filed
                                        BAYER PROPERTIES         10/05/18      PageBAYLEE
                                                                                    148 of  1739
                                                                                          VANHOOSE
C/O NETCO INVESTMENTS INC               2222 ARLINGTON AVE S                       10201 S. MAIN STREET
1800 PRESTON PARK BLVD STE 104          BIRMINGHAM, AL 35205                       HOUSTON, TX 77025
PLANO, TX 75093




BAYLOR LARIAT ADVERTISING               BAYONNE CROSSING                           BAYONNE CROSSING
ONE BEAR PLACE 97330                    15961 COLLECTIONS CENTER DR                C/O CAMERON GROUP LLC
WACO, TX 76798-7330                     CHICAGO, IL 60693                          814 W GENESEE ST
                                                                                   SKANEATELES, NY 13152




BAYOU CITY EVENT CENTER                 BAYOU WALK DUNHILL LTD                     BAYPORT TRAILER REPAIR INC
CRAIG HOWARD                            C/O WOODMONT                               5501 WEST 70TH PLACE
9401 KNIGHT RD                          2100 WEST 7TH ST                           BEDFORD PARK, IL 60638
HOUSTON, TX 77045                       FORT WORTH, TX 76107




BAYROCK CENTRAL LLC                     BAYROCK INVESTMENT CO                      BAYSHORE SHOPPING CENTER PROPERTY
1307 W MOREHEAD ST STE 208              1307 W MOREHEAD ST STE 208                 OWNER LLC
CHARLOTTE, NC 28208                     CHARLOTTE, NC 28208                        8343 DOUGLAS AVE STE 200
                                                                                   DALLAS, TX 75225




BAYSHORE SHOPPING CENTER PROPERTY       BAYSHORE SHOPPING CENTER PROPERTY          BAYSHORE SHOPPING CTR PROP OWN
OWNER LLC                               OWNER LLC                                  P.O. BOX 678557
C/O AIG GLOBAL REAL ESTATE CORP.        PO BOX 678557                              DALLAS, TX 75267-8557
80 PINE STREET, 4TH FLOOR               DALLAS, TX 75267-8557
NEW YORK, NY 10005



BAYSHORE TOWN CENTER                    BAYSHORE TOWN CENTER                       BAYSIDE MANAGEMENT GROUP INC
ATTN: SCOTT LASLO                       DEPT 5000                                  880 JENNIE COURT
5800 BAYSHORE DRIVE, SUITE A-256        PO BOX 304                                 BELLMORE, NY 11710
GLENDALE, WI 53217                      EMERSON, NJ 07630




BAYSIDE MANAGEMENT GROUP INC            BAYSIDE MANAGEMENT GROUP INC               BAYTOWN PLAZA LP PHASE 2
880 JENNIE COURT                        C/O 7-ELEVEN                               3501 SW FAIRLAWN SUITE 200
BELLMORE, NY 11710                      140 CHURCH STREET                          TOPEKA, KS 66614
                                        ATTN: ANOOP SAREEN
                                        NEW YORK, NY 10007



BAYWAY VILLAGE II LTD                   BAZAARVOICE                                BB DOWNS LLC
9219 KATY FREEWAY STE 291               PO BOX 671654                              2805 W HORATIO ST - ATTN: OFFICE
HOUSTON, TX 77024                       DALLAS, TX 75267-1654                      TAMPA, FL 33609




BB DOWNS LLC                            BBB PROPERTIES OF MERRITT ISLAND LLC       BBB PROPERTIES OF MERRITT ISLAND, LLC
ATTN: DAVID DONOFRIO                    C/O THE SHOPPING CENTER GROUP LLC          ATTN: CHARLOTTE HOUSER
2011 W. CLEVELAND STREET, SUITE E       300 GALLERIA PARKWAY 12TH FLOOR            137 S. COURTENAY PARKWAY, 762
TAMPA, FL 33606                         ATLANTA, GA 30339                          MERRITT ISLAND, FL 32952




BBB PROPERTIES OF MERRITT ISLAND, LLC   BBR SANFORD LLC                            BBR SANFORD LLC
C/O THE SHOPPING CENTER GROUP LLC       C/O BORDEN AVENUE CORPORATION              NDB COMMERCIAL REAL ESTATE INC
300 GALLERIA PARKWAY 12TH FLOOR         2109 BORDEN AVENUE, SEVENTH FLOOR          700 EXPOSITION PLACE STE 131
ATLANTA, GA 30339                       ATTN: MORTIMER KLAUS                       RALEIGH, NC 27615
                                        LONG ISLAND, NY 11101
BC DOWNERS GROVE LLC Case      18-12241-CSS    Doc GROVE
                                         BC DOWNERS 26 Filed
                                                         LLC 10/05/18    PageBC149 of 1739
                                                                                DOWNERS GROVE, LLC
PO BOX 1243                              ECF PROPERTIES LLC                  C/O CORE ACQUISITIONS
NORTHBROOK, IL 60065                     400 SKOKIE BLVD STE 800             200 S. WACKER DR. STE 1325
                                         NORTHBROOK, IL 60062                ATTN: ADAM FIRSEL
                                                                             CHICAGO, IL 60606



BC DOWNERS GROVE, LLC                    BC DOWNERS GROVE, LLC               BC REAL INVESTMENTS LLC
ECF PROPERTIES LLC                       PO BOX 1243                         43609 LUCKETTS BRIDGE CIRCLE
400 SKOKIE BLVD STE 800                  NORTHBROOK, IL 60065                ASHBURN, VA 20148
NORTHBROOK, IL 60062




BCB COMMUNITY BANK                       BCB GROUP IINVESTMENTS & DIB        BCB GROUP INVESTMENTS - TRAMONTO
595 AVENUE C                             GROUP INVESTMENTS                   MARKETPLACE, LLC
BAYONNE, NJ 07002                        7500 E MCDONALD DR STE 100A         C/O DIVERSIFIED PARTNERS, LLC
                                         SCOTTSDALE, AZ 85250                7500 E. MCDONALD DRIVE, SUITE 100A
                                                                             SCOTTSDALE, AZ 85250



BCFT LLC                                 BCI TECHNOLOGIES                    BCP INVESTORS LLC
9901 EXPRESS DR STE B                    1202 N GREAT SOUTHWEST PKWY         1616 WHETSTONE WAY
HIGHLAND, IN 46322                       GRAND PRAIRIE, TX 75050             BALTIMORE, MD 21230




BCP INVESTORS, LLC                       BCP INVESTORS, LLC                  BCS MF CLINTON HIGHWAY PARTNERHIP
1616 WHETSTONE WAY                       ATTN: MARK SAPPERSTEIN              ATTN: HARRY CALL
BALTIMORE, MD 21230                      1500 WHETSTONE WAY, SUITE 101       6312 KINGSTON PIKE STE C
                                         BALTIMORE, MD 21230                 KNOXVILLE, TN 37919




BCS MF HENDERSONVILLE LLC                BCS MF PACE LLC                     BCS MF WYTHEVILLE LLC
10442 LOVELL CENTER DR                   10442 LOVELL CENTER DR              ATTN: MARC SMITH
KNOXVILLE, TN 37922                      KNOXVILLE, TN 37922                 10442 LOVELL CENTER DR
                                                                             KNOXVILLE, TN 37922




BCS TRANSPORT LLC                        BCSC LLC                            BCWS
10049 PARK MEADOWS DR 49308              100 E ANDERSON LN STE 200           130 HIGH ST
LONE TREE, CO 80124                      AUSTIN, TX 78752                    HAMILTON, OH 45011




BCWS                                     BCWSA                               BCWSA
P.O. BOX 742640                          1275 ALMSHOUSE RD                   P.O. BOX 3895
CINCINNATI, OH 45274-2640                WARRINGTON, PA 18976                LANCASTER, PA 17604-3895




BD/W/1775 LLC                            BDC PROMENADE SHOPS LLC             BDC PROMENADE SHOPS LLC
4650 DONALD ROSS RD STE 200              BLACKWOOD DEVELOPMENT CO INC        C/O BLACKWOOD DEVELOPMENT CO INC
PALM BEACH GARDENS, FL 33418             7301 BOULDER VIEW LN                7301 BOULDER VIEW LN
                                         RICHMOND, VA 23225                  RICHMOND, VA 23225




BDC PROMENADE SHOPS, LLC                 BDG 4 INV LLC                       BDG 4TH INV, LLC
C/O BLACKWOOD DEVELOPMENT CO, INC        ATTN: DARLENE FEEKS                 ATTN: CARLOS A. YEPES, MANAGER
7301 BOULDER VIEW LN                     6654-78 AVE                         6654 78TH AVENUE NORTH
RICHMOND, VA 23225                       PINELLAS PARK, FL 33781             PINELLAS PARK, FL 33781
BDG 4TH INV, LLC          Case 18-12241-CSS    Doc PLAZA
                                         BDG GOTHAM 26 Filed
                                                         LLC 10/05/18    PageBDI
                                                                              150   of 1739
                                                                                 TRANSFER
ATTN: DARLENE FEEKS                      P.O. BOX 2004                       P.O. BOX 4270
6654-78 AVE                              HICKSVILLE, NY 11802                PASCO, WA 99302-4270
PINELLAS PARK, FL 33781




BDO                                      BEA POSTER                          BEACH BOOK INC.
2929 ALLEN PARKWAY 20TH FL               10201 S. MAIN STREET                P.O. BOX 1500
HOUSTON, TX 77019                        HOUSTON, TX 77025                   KILL DEVIL HILLS, NC 27948




BEACHES ENERGY SERVICES                  BEACON MEDICAL GROUP                BEAL INDUSTRIAL PRODUCTS
ELEVEN NORTH THIRD STREET                100 E WAYNE ST STE 500              7513-E CONNELLEY DR
JACKSONVILLE BEACH, FL 32250-6951        SOUTH BEND, IN 46601                HANOVER, MD 21076




BEAN BAG BOYS INC                        BEANPOT BROADCASTING                BEAR CHESLEY
P.O. BOX 827                             30 HOW ST                           10201 S. MAIN STREET
LEXINGTON, SC 29071                      HAVERHILL, MA 01830                 HOUSTON, TX 77025




BEAR VALLEY PARTNERS & WESTERN           BEAR VALLEY PARTNERS                BEARHFTI
SIGNATURE PROPERTIES, INC.               1915-A EAST KATELLA AVE             P.O. BOX 980578
1915-A EAST KATELLA AVENUE               ORANGE, CA 92867                    WEST SACRAMENTO, CA 95798
ORANGE, CA 92867




BEASLEY MEDIA GROUP INC AUGUSTA          BEASLEY MEDIA GROUP INC             BEASLEY MEDIA GROUP INC
4051 JIMMIE DYESS PKWY                   D/B/A WBZ-FM                        WJBR-FM
AUGUSTA, GA 30909                        55 WILLIAM T MORRISSEY BLVD         812 PHILADELPHIA PIKE
                                         BOSTON, MA 02125                    WILMINGTON, DE 19809




BEASLEY MEDIA GROUP                      BEATRICE E VELEZ                    BEATRICE E VELEZ
2920 S DURANGO DR                        13120 SW 92 AVE APT B105            7750 SW 132 PL
LAS VEGAS, NV 89117                      MIAMI, FL 33176                     MIAMI, FL 33183




BEATRICE TORRES                          BEATRIZ AGOSTO                      BEATRIZ SOTO
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




BEATTY LIMITED PARTNERSHIP               BEATTY LIMITED PARTNERSHIP          BEATTY MANAGEMENT COMPANY
C/O BEATTY MGMT CO                       C/O BEATTY MANAGEMENT COMPANY       6824 ELM STREET, SUITE 200
6824 ELM STREET STE 200                  6824 ELM STREET, SUITE 200          MCLEAN, VA 22101
MCLEAN, VA 22101                         MCLEAN, VA 22101




BEAU BENTLEY                             BEAU BOX PROPERTY MANAGEMENT        BEAU JONES
10201 S. MAIN STREET                     P.O. BOX 66865                      10201 S. MAIN STREET
HOUSTON, TX 77025                        ATTN: PATTI PIZZOLATO               HOUSTON, TX 77025
                                         BATON ROUGE, LA 70896
BEAUMONT ENTERPRISE Case      18-12241-CSS
                                        BEAVER Doc 26 Filed
                                               DAM WATER UTILITY10/05/18     PageBEAVER
                                                                                  151 ofNEWSPAPER
                                                                                          1739 INC
P.O. BOX 80097                           205 S LINCOLN AVE                       BEAVER COUNTY TIMES
PRESCOTT, AZ 86304-8097                  BEAVER DAM, WI 53916                    P.O. BOX 360238
                                                                                 PITTSBURGH, PA 15251-6238




BEAVERTON POLICE ALARM UNIT              BEAZLEY INSURANCE COMPANY, INC.         BEBE FURNITURE
P.O. BOX 4755                            1270 AVENUE OF THE AMERICAS             2020 E ORANGETHORPE AVE
BEAVERTON, OR 97076-4755                 SUITE 1200                              ANAHEIM, CA 92806
                                         NEW YORK, NY 10020




BECAR VENTURE                            BECAR VENTURE                           BECCA BERGER
C/O BEESON PROPERTIES                    C/O BEESON PROPERTIES                   10201 S. MAIN STREET
550 WAUGH DRIVE                          550 WAUGH DRIVE                         HOUSTON, TX 77025
HOUSTON, TX 77019                        HOUSTON, TX 77019-2002




BECCA BRADLEY                            BECCA SHIEH                             BECKER GURIAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                    ATTN: MARTIN BECKER
HOUSTON, TX 77025                        HOUSTON, TX 77025                       513 CENTRAL AVENUE
                                                                                 HIGHLAND PARK, IL 60035




BECKER, BRIAN                            BECKETT RAWLINGS                        BECKI REIFEL
13071 AULDEN AVE                         10201 S. MAIN STREET                    10201 S. MAIN STREET
ROSEMOUNT, MN 55068-2289                 HOUSTON, TX 77025                       HOUSTON, TX 77025




BECKIE SMITH                             BECKNELL INDUSTRIAL OPERATING           BECKY ABBRUZZETTI
10201 S. MAIN STREET                     PARTNER                                 10201 S. MAIN STREET
HOUSTON, TX 77025                        2750 EAST 146TH STREET, SUITE 200       HOUSTON, TX 77025
                                         CARMEL, IN 46033




BECKY CLARKE                             BECKY DEWEY                             BECKY HERRON
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




BECKY ROBERTS                            BED CHEK LLC                            BEDARD, CHASE
10201 S. MAIN STREET                     DEPT R 88                               16149 MEANDER CREEK WAY
HOUSTON, TX 77025                        P.O. BOX 830525                         NAMPA, ID 83651-5116
                                         BIRMINGHAM, AL 35283




BEDFORD COMPANY TRUST                    BEDGEAR LLC                             BEDGEAR
ATTN: JOHN HURLEY                        110 BI COUNTING BLVD STE 101            110 BI COUNTY BLVD STE 101
P.O. BOX 569                             FARMINGDALE, NY 11735                   FARMINGDALE, NY 11735
HUMAROCK, MA 02047




BEDJET LLC                               BEDROOM DISTRIBUTORS INC                BEDROOM DISTRIBUTORS INC
217 GODDARD ROW                          D/B/A DONCO TRADING CO                  D/B/A DONCO TRADING CO
NEWPORT, RI 02840                        6801 SNOWDEN RD                         6801 SNOWDEN RD
                                         FORT WORTH, TX 76028                    FORT WORTH, TX 76140
BEDTIME PRODUCTS, LLC     Case 18-12241-CSS
                                         BEDTIMEDoc 26 Filed
                                                 PRODUCTS, LLC 10/05/18        PageBEE
                                                                                    152  of GALLERIA
                                                                                       CAVE 1739 I LP
4691 TRANSIT RD.                          7660 TRANSIT ROAD                        LPC AAF BEECAVE GALLERIA I
WILLIAMSVILLE, NY 14221                   WILLIAMSVILLE, NY 14221                  P.O. BOX 974806
                                                                                   DALLAS, TX 75397-4806




BEE CAVE GALLERIA III LLC                 BEE CAVE GALLERIA III LLC                BEEBE LANDSCAPE SERVICES INC
12918 SHOPS PARKWAY STE 600               P.O. BOX 974807                          102 WINKLER RD
BEE CAVE, TX 78738                        DALLAS, TX 75397                         EAST WINDSOR, CT 06088




BEEBE LANDSCAPE SERVICES INC              BEECH GROVE CITY COURT                   BEECHCRAFT CORPORATION
P.O. BOX 735                              340 E CHURCHMAN AVE                      P.O. BOX 2942
EAST WINDSOR, CT 06088-0735               BEECHGROVE, IN 46107                     WICHITA, KS 67201-2942




BEECHNUT ST INC C/O PROP COMM MGMT        BEECHNUT ST INC C/O PROP COMM MGMT       BEEFAM LLC
CO                                        CO                                       PEGASUS ASSET MGMT LLC-ATTN JUSTIN H.
1800 BERING DR STE 550                    P.O. BOX 771149                          1901 AVENUE OF THE STARS STE 630
HOUSTON, TX 77057                         HOUSTON, TX 77215                        LOS ANGELES, CA 90067




BEEFAM, LLC                               BEEMER & ASSOCIATES XXIII LLC            BEESON PROPERTIES
PEGASUS ASSET MGMT LLC-ATTN JUSTIN H.     7880 GATE PARKWAY SUITE 300              550 WAUGH DRIVE
1901 AVENUE OF THE STARS STE 630          JACKSONVILLE, FL 32256                   HOUSTON, TX 77019
LOS ANGELES, CA 90067




BEFORE & AFTER REMODELING &               BEGINRIGHT INC                           BEHJATPOUR, GHOLAM
CONSTRUCTION                              DEPT 34401                               11621 CHARTER OAK CT #101
16215 PEACH BLUFF LANE                    P.O. BOX 39000                           RESTON, VA 20190-4514
CYPRESS, TX 77429                         SAN FRANCISCO, CA 94139




BEHNAM HAMIDI                             BEHRENS MOVING COMPANY INC               BE-JAY MUSEE
10201 S. MAIN STREET                      500 W RAWSON AVE                         10201 S. MAIN STREET
HOUSTON, TX 77025                         OAK CREEK, WI 53154-1495                 HOUSTON, TX 77025




BEJJANI & ASSOCIATES                      BEK DEVELOPERS LLC                       BEK DEVELOPERS LLC
PIERRE BEJJANI                            2000 AUBURN DRIVE, SUITE 440             3900 PARK EAST DRIVE, SUITE 200
2117 CHENEVERT STREET, SUITE I            BEACHWOOD, OH 44122                      BEACHWOOD, OH 44122
HOUSTON, TX 77003




BEKINS VAN LINES INC                      BEKKAH WILSON                            BEKRI SULIMAN
8010 CASTLETON RD                         10201 S. MAIN STREET                     10201 S. MAIN STREET
INDIANAPOLIS, IN 46250-0800               HOUSTON, TX 77025                        HOUSTON, TX 77025




BELCAN SERVICES GROUP II LTD              BELCAN SERVICES GROUP II LTD             BELDEN PARK DELAWARE LLC
PARTNERSHIP                               PARTNERSHIP                              C/O STARK ENTERPRISES
1424 SOLUTIONS CENTER                     LOCKBOX 771424                           1350 WEST 3RD STREET
CHICAGO, IL 60677-1004                    1424 SOLUTIONS CENTER                    CLEVELAND, OH 44113
                                          CHICAGO, IL 60677-1004
BELDEN PARK JV LLC     Case 18-12241-CSS
                                      BELDEN Doc
                                             PARK 26
                                                  JV LLCFiled 10/05/18         PageBELDEN
                                                                                    153 of  1739
                                                                                          PARK JV LLC
1350 W 3RD ST                            D/B/A BELDENPARK DELAWARE LLC             D/B/A BELDENPARK DELAWARE LLC
CLEVELAND, OH 44113                      P.O. BOX 72240                            P.O. BOX 72240
                                         CLEVELAND, OH 44192-0002                  CLEVELAND, OH 44192-0002




BELFORT ASSETS                           BELICIA POWELL                            BELINDA BOSLER
8350 N. CENTRAL EXPRESSWAY, SUITE 1725   10201 S. MAIN STREET                      10201 S. MAIN STREET
DALLAS, TX 75206                         HOUSTON, TX 77025                         HOUSTON, TX 77025




BELINDA IRWIN                            BELINDA LAKE                              BELINDA OUK
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




BELKIN BURDEN WENIG AND GOLDMAN LLP      BELL COUNTY                               BELL FINANCE
270 MADISON AVE                          TAX APPRAISAL DISTRICT                    916 SO 4TH ST
NEW YORK, NY 10016                       P.O. BOX 390                              CHICKASHA, OK 73018
                                         BELTON, TX 76513-0390




BELL MOUNTAIN ENTERPRISES                BELL TOWER VILLAGE LLC                    BELL, SHA QUEZE
D/B/A HI DESERT ALARM BARSTOW ALARM      C/O SAFCO CAPITAL CORP                    2418 HERMOSA DR
16637 MOJAVE DR                          1850 S SEPULVEDA BLVD 200                 TAMPA, FLORIDA 33619-5941
VICTORVILLE, CA 92395                    LOS ANGELES, CA 90025




BELL/UPCHURCH SEBRING PROPERTY LLC       BELL/UPCHURCH SEBRING PROPERTY, LLC       BELLA HOFFMAN
ATTN: MARY GRIESEMER                     ATTN: MARY GRIESEMER                      567 POPLAR AVE
1439 S. POMPANO PARKWAY, SUITE 300       1439 S. POMPANO PARKWAY, SUITE 300        ANTIOCH, IL 60002
POMPANO BEACH, FL 33069                  POMPANO BEACH, FL 33069




BELLA TERRA DUNHILL LLC                  BELLA TERRA DUNHILL LLC                   BELLA TERRA TRS OWNER LLC
3100 MONTICELLO STE 300                  P.O. BOX 204405                           C/O SHOPS AT BELLA TERRA OWNER, LP
DALLAS, TX 75205                         DALLAS, TX 75320-4405                     P.O. BOX 733171
                                                                                   DALLAS, TX 75373-3171




BELLA TERRA TRS OWNER, LLC               BELLE ISLE STATION LP                     BELLEVILLE NEWS-DEMOCRAT
C/O SHOPS AT BELLA TERRA OWNER, LP       UCR ASSET SERVICES                        P.O. BOX 427
P.O. BOX 733171                          8080 PARK LANE STE 800                    BELLEVILLE, IL 62222-0427
DALLAS, TX 75373-3171                    DALLAS, TX 75231




BELLEVUE CITY TREASURER                  BELLEVUE CITY TREASURER                   BELLEVUE CORNER PROPERTIES, LLC
450 110TH AVE NE                         P.O. BOX 1500                             C/O KEMPER DEVELOPMENT COMPANY
BELLEVUE, WA 98004                       HEMET, CA 92546-1500                      575 BELLEVUE SQUARE
                                                                                   BELLEVUE, WA 98004




BELLEVUE CORNER PROPERTIES, LLC          BELLEVUE DOWNTOWN ASSOCIATION             BELLEVUE FARP
C/O KEMPER DEVELOPMENT COMPANY           400 108TH AVE NE 110                      P.O. BOX 740664
575 BELLEVUE WAY NE                      BELLEVUE, WA 98004                        LOS ANGELES, CA 90074-0664
BELLEVUE, WA 98004
                       Case
BELLO INTERNATIONAL CORP      18-12241-CSS    Doc
                                        BELLTONE   26 Filed
                                                 PRODUCTS INC 10/05/18         PageBELLWETHER
                                                                                    154 of 1739
                                                                                              HOLDINGS, LLC
P.O. BOX 102480                         P.O. BOX 1309                              15710 LINDBERGH LANE
ATLANTA, GA 30368-2480                  KENWOOD, CA 95452                          WELLINGTON, FL 33414




BELMONT PARK ENTERTAINMENT LLC          BELOIT DAILY NEWS                          BELOIT UTILITIES
3125 OCEAN FRONT WALK                   149 STATE ST                               2400 SPRINGBROOK CT
SAN DIEGO, CA 92109                     BELOIT, WI 53511                           BELOIT, WI 53511




BELOIT UTILITIES                        BELOIT UTILITIES                           BELOIT
555 WILLOWBROOK RD                      P.O. BOX 2941                              ATTN: PROPERTY TAX DEPT.
BELOIT, WI 53511                        MILWAUKEE, WI 53201-2941                   2400 SPRINGBROOK CT
                                                                                   BELOIT, WI 53511




BELTERRA LOT 3C LTD                     BELTERRA LOT 3C, LTD                       BELTON MO PROPERTIES LLC
C/O ENDEAVOR REAL ESTATE GROUP LTD      C/O ENDEAVOR REAL ESTATE GROUP, LTD.       7007 LONGVIEW ROAD
500 W 5TH ST STE 700                    500 W 5TH ST STE 700                       KANSAS CITY, MO 64134
AUSTIN, TX 78701                        AUSTIN, TX 78701




BELTON MO PROPERTIES LLC                BELTWAY MARKETPLACE LLC                    BELTWAY MARKETPLACE LLC
BLOCK REAL ESTATE SERVICES LLC          8350 W SAHARA AVE 210                      ATTN: HASKEL INY AND MATT HUSS
700 W 47TH ST STE 200                   LAS VEGAS, NV 89117                        8350 W. SAHARA AVENUE, SUITE 210
KANSAS CITY, MO 64112                                                              LAS VEGAS, NV 89117




BELTWAY MARKETPLACE LLC                 BELTWAY PLAZA MERCHANTS ASSOC.             BELTWAY PLAZA MERCHANTS ASSOCIATION
ATTN: JOHN MURILLO                      4912 DEL RAY AVE                           4912 DEL RAY AVE
8350 W. SAHARA AVENUE, SUITE 210        BETHESDA, MD 20814                         BETHESDA, MD 20814
LAS VEGAS, NV 89117




BELVA BODEY                             BELZ INVESTCO G.P.                         BELZ INVESTCO G.P.
263 ALICE RD                            ATTN: ACCOUNTING DEPT.                     C/O BELZ ENTERPRISES
PORT ANGELES, WA 98363                  100 PEABODY PLACE STE 1400                 100 PEABODY PLACE, SUITE 1400
                                        MEMPHIS, TN 38103                          ATTN: RONALD A. BELZ
                                                                                   MEMPHIS, TN 38103



BEMBOOM HEATING AND COOLING LLC         BEMERS                                     BEN ANDREWS
5703 BUS 50W                            210 COMMERCE STREET                        10201 S. MAIN STREET
JEFFERSON CITY, MO 65109                GLASTONBURY, CT 06033                      HOUSTON, TX 77025




BEN BAILEY                              BEN BARRACLOUGH                            BEN BOUILLON
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




BEN BROWN                               BEN BUNTING                                BEN CLARKE
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025
BEN DEL BOSQUE         Case 18-12241-CSS     Doc 26
                                      BEN FAHNDRICH        Filed 10/05/18   PageBEN
                                                                                 155  of 1739
                                                                                    FRICHTL
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




BEN GABBE PHOTOGRAPHY                 BEN GILMORE                               BEN GREENWALD
ATTN: BEN GABBE                       10201 S. MAIN STREET                      10201 S. MAIN STREET
305 EAST 40TH ST APT 8W               HOUSTON, TX 77025                         HOUSTON, TX 77025
NEW YORK, NY 10016




BEN HAUSER                            BEN HOGAN                                 BEN HUYNH
10201 S. MAIN STREET                  15145 SEA EAGLE LN                        10201 S. MAIN STREET
HOUSTON, TX 77025                     FRISCO, TX 75035                          HOUSTON, TX 77025




BEN INGRAM                            BEN JAFFEE                                BEN LA GRANGE
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




BEN LLORENTE                          BEN LOPEZ                                 BEN MARSH
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




BEN MOSCROP                           BEN MOTZ                                  BEN PARKS
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025




BEN PENNO                             BEN RAINWATER                             BEN RODRIGUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




BEN SEALE                             BEN SOUTHERN                              BEN WAKEFIELD
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




BEN WALLER                            BEN WANG                                  BEN WILCHER
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




BEN WILSON                            BEN WUEST                                 BENASTAL LARONCE
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025
BENCHMARK BANK           Case 18-12241-CSS    DocBANK
                                        BENCHMARK 26 Filed 10/05/18          PageBENCHMARK
                                                                                  156 of 1739
                                                                                           BANK
5700 LEGACY DR STE A10                  C/O BENCHMARK PREFERRED                  C/O BENCHMARK PREFERRED MGMT, LLC
PLANO, TX 75024                         MANAGEMENT, LLC                          5700 LEGACY DRIVE, SUITE 10
                                        5700 LEGACY DRIVE, SUITE 10              PLANO, TX 75024
                                        PLANO, TX 75024



BENCHMARK CASCADES LLC                  BENCHMARK ELECTRIC LLC                   BENCHMARK MANAGEMENT CORP.
4053 MAPLE RD STE 200                   P.O. BOX 3497                            ATTN: DEBORAH SLISZ
AMHERST, NY 14226                       LOGANVILLE, GA 30052                     4053 MAPLE ROAD, 200
                                                                                 AMHERST, NY 14226




BENCHMARK MANAGEMENT CORP.              BENCHMARK PREFERRED MGMT, LLC            BEND CABLE NCC
ATTN: MICHELLE HAGER                    5700 LEGACY DRIVE, SUITE 10              P.O. BOX 3350
4053 MAPLE ROAD, 200                    PLANO, TX 75024                          BOSTON, MA 02241
AMHERST, NY 14226




BEND RADIO                              BENDERSON DEVELOPMENT                    BENDERSON PROPERTIES INC & WRI ASSOC
345 SW CYBER DR STE 101-103             ATTN: SHARON ALCORN                      LTD
BEND, OR 97702                          7978 COOPER CREEK BLVD, SUITE 100        7978 COOPER CREEK BLVD, STE 100
                                        UNIVERSITY PARK, FL 34201                UNIVERSITY PARK, FL 34201




BENDERSON PROPERTIES INC & WRI ASSOC    BENDERSON PROPERTIES INC & WRI ASSOC     BENDERSON PROPERTIES INC
LTD                                     LTD                                      7978 COOPER CREEK BLVD, STE 100
C/O BENDERSON PROPERTIES, INC.          P.O. BOX 823201                          UNIVERSITY PARK, FL 34201
570 DELAWARE AVENUE                     PHILADELPHIA, PA 19182-3201
BUFFALO, NY 14202



BENDERSON PROPERTIES INC                BENDERSON PROPERTIES, INC.               BENDERSON PROPERTIES, INC.
P.O. BOX 823201                         570 DELAWARE AVENUE                      ATTN: JENNIFER ROLL
PHILADELPHIA, PA 19182-3201             BUFFALO, NY 14202                        570 DELAWARE AVENUE
                                                                                 BUFFALO, NY 14202




BENDERSON PROPERTIES, INC.              BENDERSON PROPERTIES, INC.               BENDERSON WAINBERG ASSOCIATES LP
ATTN: LEASE ADMINISTRATION              ATTN: LEGAL DEPARTMENT                   P.O. BOX 373612
570 DELAWARE AVENUE                     7978 COOPER CREEK BLVD., SUITE 100       CLEVELAND, OH 44193
BUFFALO, NY 14202                       UNIVERSITY PARK, FL 34201




BENEDICT SUNG                           BENEDICTA OGBEBOR                        BENEFIT CONCEPTS INC OF RHODE ISLAND
10201 S. MAIN STREET                    10201 S. MAIN STREET                     20 RISHO AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                        EAST PROVIDENCE, RI 02914-1287




BENEFIT CONCEPTS                        BENEFIT RESOURCES INC                    BENEFORD ANGELL
20 RISHO AVE                            1545 RIVER PARK DRIVE, SUITE 3           10201 S. MAIN STREET
EAST PROVIDENCE, RI 02914-1287          SACRAMENTO, CA 95815                     HOUSTON, TX 77025




BENESCH FRIEDLANDER COPLAN &            BENETZ, PAUL                             BENEVOLENT HEALTHCARE FOUNDATION
ARONOFF LLP                             807 MEETING HOUSE CT                     BENEVOLENT HEALTHCARE OF NASHVILLE
ATTN: ADAM N. SAURWEIN, ESQ.            CINNAMINSON, NJ 80773-325                LLC
200 PUBLIC SQUARE, SUITE 2300                                                    10377 E GEDDES
CLEVELAND, OH 44114-2378                                                         ENGLEWOOD, CO 80112
BENEVOLENT HEALTHCARECase        18-12241-CSS
                          FOUNDATION               Doc HEALTHCARE
                                           BENEVOLENT   26 Filed 10/05/18      PageBENFIELD
                                                                                    157 of SANITATION
                                                                                            1739      SERVICE
OF NASHVILLE, LLC                          FDTN NASHVILLE, LLC                     282 SCOTTS CREEK RD
9055 E. MINERAL CIRCLE, SUITE 110          9055 E. MINERAL CIRCLE, SUITE 110       STATESVILLE, NC 28625
CENTENNIAL, CO 80112                       CENTENNIAL, CO 80112




BENI KOSASHVILI                           BENITEZ, JESUS                           BENITO SALGADO
10201 S. MAIN STREET                      409 MINER ST                             10201 S. MAIN STREET
HOUSTON, TX 77025                         BENSENVILLE, IL 60106-2656               HOUSTON, TX 77025




BENJAMIN A GABBE                          BENJAMIN ADAMS                           BENJAMIN B EDLER
D/B/A BEN GABBE PHOTOGRAPHY               10201 S. MAIN STREET
305 EAST 40TH ST APT 8W                   HOUSTON, TX 77025
NEW YORK, NY 10016




BENJAMIN BROCK                            BENJAMIN CHERTOW                         BENJAMIN COLEMAN
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




BENJAMIN DIANGELO                         BENJAMIN DOEHRMAN                        BENJAMIN DURHAM
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




BENJAMIN EVANS LAW FIRM LLC               BENJAMIN FERGUSON                        BENJAMIN FISHBEIN
ATTN: BENJAMIN F. EVANS                   1114 ALVINGTON CT                        10201 S. MAIN STREET
7733 FORSYTH BOULEVARD, 11TH FLOOR        ROCKWALL, TX 75032                       HOUSTON, TX 77025
ST. LOUIS, MO 63105




BENJAMIN FOGLE                            BENJAMIN FREIGER                         BENJAMIN FRIEGER
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




BENJAMIN GARRITSON                        BENJAMIN GELDMAKER                       BENJAMIN GINSBURG
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




BENJAMIN GIVENS                           BENJAMIN JACKSON                         BENJAMIN JANTZEN
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




BENJAMIN KERRIGAN                         BENJAMIN LONERGAN                        BENJAMIN LUDINGTON
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025
BENJAMIN MCELHANEY      Case 18-12241-CSS    Doc
                                       BENJAMIN    26 Filed 10/05/18
                                                NELSON                 PageBENJAMIN
                                                                            158 of OWSIANIECKI
                                                                                    1739
10201 S. MAIN STREET                   8620 GILBERT STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      PHILADELPHIA, PA 19150              HOUSTON, TX 77025




BENJAMIN PAGE                          BENJAMIN PARKER                     BENJAMIN PARKS
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




BENJAMIN PHILPOT                       BENJAMIN PIEHL                      BENJAMIN PITTMAN
10201 S. MAIN STREET                   417 BRITTANY LANE                   10201 S. MAIN STREET
HOUSTON, TX 77025                      ELYRIA, OH 44035                    HOUSTON, TX 77025




BENJAMIN RANDAL VOGEL                  BENJAMIN RICHARDS                   BENJAMIN RODRIGUEZ
4914 KENLAKE GROVE DR                  10201 S. MAIN STREET                10201 S. MAIN STREET
KINGWOOD, TX 77345                     HOUSTON, TX 77025                   HOUSTON, TX 77025




BENJAMIN SCHROEDER                     BENJAMIN SHAW                       BENJAMIN SHEPHERD
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




BENJAMIN STETLER                       BENJAMIN STICKELL                   BENJAMIN STITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




BENJAMIN STOFLE                        BENJAMIN THOMAS                     BENJAMIN TRAPP
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




BENJAMIN VASSALLO                      BENJAMIN WARD                       BENNET WILLIAMS COMMERCIAL
10201 S. MAIN STREET                   10201 S. MAIN STREET                3528 CONCORD ROAD
HOUSTON, TX 77025                      HOUSTON, TX 77025                   YORK, PA 17402




BENNETT GOLDEN                         BENNIE AUSTIN                       BENNIE MCCOY
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




BENNIE PAYNE                           BENNY DELBOSQUE                     BENNY SHIRLEY
10201 S. MAIN STREET                                                       10201 S. MAIN STREET
HOUSTON, TX 77025                                                          HOUSTON, TX 77025
BENOIT, SHEANA           Case 18-12241-CSS    Doc
                                        BENSALEM   26 Filed 10/05/18
                                                 TOWNSHIP                      PageBENTON
                                                                                    159 ofCHARTER
                                                                                           1739 TOWNSHIP
356 S 11TH ST                             2400 BYBERRY RD                          1725 TERRITORIAL RD STE B
NEWARK, NJ 71031-913                      BENSALEM, PA 19020                       BENTON HARBOR, MI 49022




BENTON COUNTY TAX COLLECTOR               BENTON COUNTY TREASURER                  BENTON COUNTY
215 E CENTRAL AVE RM 101                  5600 W CANAL DR STE A                    TAX COLLECTOR
BENTONVILLE, AR 72712                     KENNEWICK, WA 99336-2327                 P.O. BOX 964
                                                                                   CORVALLIS, OR 97339




BENTON EXPRESS INC                        BENTON FRANKLIN FAIR                     BENTON PUD
1045 S.RIVER IND BLVD S.E. PO BOX 16709   1500 S OAK ST                            2721 W 10TH AVE
ATLANTA, GA 30321                         KENNEWICK, WA 99337                      KENNEWICK, WA 99336-0270




BENTON                                    BEONCA MITCHELL                          BERBERIAN PROPERTIES, LLC, BFC
ATTN: PROPERTY TAX DEPT.                  10201 S. MAIN STREET                     PROPERTIES AND AMITY FARMS
P.O. BOX 964                              HOUSTON, TX 77025                        515 LYELL DRIVE, SUITE 101
CORVALLIS, OR 97339                                                                MODESTO, CA 95356




BERDIE GILLIS                             BERDINE BACHELOR                         BERENDO PARTNERS LP
10201 S. MAIN STREET                      10201 S. MAIN STREET                     FLORIDA BLUE JAY LLC
HOUSTON, TX 77025                         HOUSTON, TX 77025                        95 NORTH COUNTY ROAD
                                                                                   PALM BEACH, FL 33480




BERENDO PARTNERS, L.P.                    BERENDO PARTNERS, L.P.                   BERENICE VILLARREAL
ATTN: ADRIANNE SILVER                     FLORIDA BLUE JAY LLC                     10201 S. MAIN STREET
95 NORTH COUNTY ROAD                      95 NORTH COUNTY ROAD                     HOUSTON, TX 77025
PALM BEACH, FL 33480                      PALM BEACH, FL 33480




BERENS, FERNANDEZ & ASSOCIATES PA         BERGENFIELD FIRE PREVENTION BUREAU       BERGER CONSTRUCTION
2100 PONCE DELEON BLVD                    198 N WASHINGTON AVE                     386 BREWER RD
PENTHOUSE 2                               BERGENFIELD, NJ 07621                    SAXONBURG, PA 16056
CORAL GABLES, FL 33134




BERGINC WINDOW CLEANING                   BERHEIMER TAX ADMINISTRATOR              BERKELEY COUNTY SHERIFF
5612 RANCHERO WAY                         325-A N. POTTSTOWN PIKE                  400 WEST STEPHEN ST SUITE 209
CARMICHAEL, CA 95608                      EXTON, PA 19341                          MARTINSBURG, WV 25401




BERKELEY COUNTY TREASURER - TAX DEPT      BERKELEY COUNTY TREASURER                BERKELEY COUNTY WATER & SANITATION
P.O. BOX 6122                             P.O. BOX 6122                            P.O. BOX 580139
MONCKS CORNER, SC 29461-6120              MONCKS CORNER, SC 29461-6120             CHARLOTTE, NC 28258-0139




BERKELEY COUNTY WTR & SANITATN            BERKELEY COUNTY WTR & SANITATN           BERKELEY ELECTRIC COOP INC
212 OAKLEY PLANTATION RD                  P.O. BOX 580139                          551 REMBERT C DENNIS BLVD
MONCKS CORNER, SC 29461                   CHARLOTTE, NC 28258-0139                 PO BOX 1234
                                                                                   MONCKS CORNER, SC 29461
BERKELEY ELECTRIC COOPCase
                       INC      18-12241-CSS    Doc
                                          BERKELEY    26 Filed
                                                   ELECTRIC      10/05/18
                                                            COOPERATIVE INC   PageBERKELEY
                                                                                   160 of 1739
                                                                                           LAND CO INC
P.O. BOX 530812                            SEDC                                   D/B/A BLC II LLC
ATLANTA, GA 30353-0812                     P.O. BOX 530812                        321 HARTZ AVE STE 200
                                           ATLANTA, GA 30353-0812                 DANVILLE, CA 94526




BERKELEY RESEARCH GROUP                    BERKELEY                               BERKOWITZ DEVELOPMENT GROUP
2200 POWELL STREET, STE 1200               ATTN: PROPERTY TAX DEPT.               ATTN: ANA PEREIRA
EMERYVILLE, CA 94608                       1947 CENTER ST                         2665 S BAYSHORE DRIVE, SUITE 1200
                                           BERKELEY, CA 94704                     MIAMI, FL 33133




BERKS EARNED INCOME TAX BUREAU             BERKSHIRE BLANKET INC                  BERKSHIRE BROADCASTING CORP
1125 BERKSHIRE BLVD STE 115                44 E. MAIN ST                          98 MILL PLAIN RD
WYOMISSING, PA 19610                       WARE, MA 01082                         DANBURY, CT 06811




BERKSHIRE CROSSING RETAIL LLC              BERKSHIRE CROSSING RETAIL LLC          BERKSHIRE CROSSING RETAIL LLC
C/O BRIXMOR PROPERTY GROUP                 C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP
2 TOWER BRIDGE, ONE FAYETTE ST, SUITE      450 LEXINGTON AVE                      450 LEXINGTON AVENUE, 13TH FLOOR
150                                        NEW YORK, NY 10017                     ATTN: LEGAL DEPARTMENT
ATTN: REGIONAL COUNSEL                                                            NEW YORK, NY 10170
CONSHOHOCKEN, PA 19428


BERKSHIRE CROSSING RETAIL LLC              BERKSHIRE CROSSING RETAIL LLC          BERKSHIRE GAS CO
C/O BRIXMOR PROPERTY GROUP                 C/O BRIXMOR PROPERTY GROUP             115 CHESHIRE RD
P.O. BOX 645351                            P.O. BOX 645351                        PITTSFIELD, MA 01201
CINCINNATI, OH 45264                       CINCINNATI, OH 45264-5351




BERKSHIRE GAS CO                           BERKSHIRE OCALA LLC                    BERKSHIRE SHOPPING CENTER LLC
P.O. BOX 9241                              C/O 41 TAYLOR ST 4TH FLOOR             C/O HAWLEY REALTY
CHELSEA, MA 02150-9241                     SPRINGFIELD, MA 01103                  30 GERMANTOWN RD
                                                                                  DANBURY, CT 06810




BERKSHIRE SHOPPING CENTER, LLC             BERKSHIRE SHOPPING CENTER, LLC         BERLIN PARTNERS LLC
C/O HAWLEY MANAGEMENT CO., INC.            C/O HAWLEY REALTY                      C/O INTERSTATE COMMERCIAL RE, INC.
30 GERMANTOWN RD                           30 GERMANTOWN RD                       14000 HORIZON WAY, SUITE 100
DANBURY, CT 06810                          DANBURY, CT 06810                      ATTN: RYAN TURNER
                                                                                  MOUNT LAUREL, NJ 08054



BERLIN PARTNERS, LLC                       BERMUDA WATER COMPANY                  BERNADETTE MORALES
C/O INTERSTATE COMMERCIAL REAL             P.O. BOX 11025                         10201 S. MAIN STREET
ESTATE, INC.                               LEWISTON, ME 04243-9476                HOUSTON, TX 77025
14000 HORIZON WAY, SUITE 100
ATTN: RYAN TURNER
MOUNT LAUREL, NJ 08054


BERNARD BROWN-WELLS                        BERNARD BRYSON                         BERNARD SPADY
10201 S. MAIN STREET                       10201 S. MAIN STREET                   1161 SANDDUNE LN APT 102
HOUSTON, TX 77025                          HOUSTON, TX 77025                      MELBOURNE, FL 32935




BERNARD TOTH                               BERNARD VODZAK                         BERNARDO CABRERA
10201 S. MAIN STREET                       10201 S. MAIN STREET                   9036 NW 114TH TERRACE
HOUSTON, TX 77025                          HOUSTON, TX 77025                      HIALEAH GARDENS, FL 33018
BERNARDS INC           Case   18-12241-CSS    Doc 26
                                        BERNARDS           Filed 10/05/18       PageBERNEL
                                                                                     161 of  1739
                                                                                           INC
P.O. BOX 890011                         BB & T                                      501 WEST SOUTHERN AVE
CHARLOTTE, NC 28289-0011                P.O. BOX 890011                             ORANGE, CA 92865
                                        CHARLOTTE, NC 28289-0011




BERNICE ROSENFELD                       BERNIE SUNDY                                BERNS OCKNER & GREENBERGER LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                        3733 PARK EAST DR SUITE 200
HOUSTON, TX 77025                       HOUSTON, TX 77025                           BEACHWOOD, OH 44122




BERRETT PEST CONTROL SERVICES INC       BERRY MOORE                                 BERSAM DEVELOPMENT COMPANY
708 EASY STREET                         10201 S. MAIN STREET                        1301 N TAMIAMI TRAIL STE 613
GARLAND, TX 75042                       HOUSTON, TX 77025                           SARASOTA, FL 34236




BERSAM DEVELOPMENT COMPANY              BERT H JACOBSON                             BERT JACKSON
P.O. BOX 1921                           180 COLVIN CENTER                           10201 S. MAIN STREET
NOKOMIS, FL 34274                       OKLAHOMA STATE UNIVERSITY                   HOUSTON, TX 77025
                                        STILLWATER, OK 74078-1004




BERTHA KOEIMAN                          BERWYN GATEWAY PARTNERS II, LLC             BERWYN GATEWAY PARTNERS II, LLC
10201 S. MAIN STREET                    C/O KEYSTONE VENTURES, LLC                  C/O KEYSTONE VENTURES, LLC
HOUSTON, TX 77025                       420 CLINTON PLACE                           420 CLINTON PLACE
                                        RIVER FOREST, IL 60305                      RIVER PLACE, IL 60305




BERWYN GATEWAY PERTNERS III LP          BESSIE PICKETT                              BEST BUY BUSINESS ADVANTAGE
C/O KEYSTONE VENTURES, LLC              1076 MISSION CIRCLE                         P.O. BOX 731247
420 CLINTON PLACE                       FAIRFIELD, CA 94534                         DALLAS, TX 75373-1247
RIVER FOREST, IL 60305




BEST CARE CLEANING SVC                  BEST CHOICE DELIVERY INC                    BEST COMPANIES GROUP
CADENA CONS HOLDINGS                    11422 REEDER ST                             1500 PAXTON ST
PO BOX 273191                           OVERLAND PARK, KS 66210                     HARRISBURG, PA 17104
HOUSTON, TX 77277-3191




BEST DELIVERY AND MOVING                BEST HR RESOURCES LLC                       BEST MATTRESS CO INC
200 SHUGART STREET                      22136 WESTHEIMER PKWY 748                   3019 DECKER DR
CHATTANOOGA, TN 37415                   KATY, TX 77450                              SOUTH PARK, PA 15129




BEST METAL RECYCLING INC                BEST PROPERTIES                             BEST RETAIL SOLUTIONS
15122 63RD ST NORTH                     ATTN: JAN SNYDER                            P.O. BOX 94079
CLEARWATER, FL 33760                    2580 SIERRA BOULEVARD, SUITE E              SOUTHLAKE, TX 76092
                                        SACRAMENTO, CA 95825




BEST WAY DISPOSAL INC - BURLINGTON KY   BEST WAY DISPOSAL INC - BURLINGTON KY       BEST WAY DISPOSAL INC - KALAMAZOO MI
1389 PRODUCTION DR                      P.O. BOX 4040                               2314 MILLER RD
BURLINGTON, KY 41005                    KALAMAZOO, MI 49003-4040                    KALAMAZOO, MI 49001
                        Case 18-12241-CSS
BEST WAY DISPOSAL INC - KALAMAZOO MI   BEST WAYDoc  26 Filed
                                                 DISPOSAL        10/05/18
                                                          INC - MODOC IN        PageBEST
                                                                                     162WAY
                                                                                         of DISPOSAL
                                                                                            1739 INC - MODOC IN
P.O. BOX 4040                          7256 W CO RD 600 S                           P.O. BOX 421669
KALAMAZOO, MI 49003-4040               MODOC, IN 47358                              INDIANAPOLIS, IN 46242-1669




BEST WAY DISPOSAL INC - WATERVLIET MI   BEST WAY DISPOSAL INC - WATERVLIET MI       BETA HOLDINGS LP
7901 DAN SMITH RD                       P.O. BOX 4040                               18827 BOTHELL WAY NE, SUITE 110
WATERVLIET, MI 49098                    KALAMAZOO, MI 49003-4040                    BOTHELL, WA 98011




BETA HOLDINGS, LP                       BETH A KOENEMANN                            BETH BEACH
18827 BOTHELL WAY NE, SUITE 110         29182 BOBOLINK DR                           10201 S. MAIN STREET
BOTHELL, WA 98011                       LAGUNA NIGUEL, CA 92677                     HOUSTON, TX 77025




BETH BRIDGES                            BETH BURNS                                  BETH FAULCONER
10201 S. MAIN STREET                    10201 S. MAIN STREET                        1547 ALTAMONT AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                           SAN JOSE, CA 95125




BETH GILLES                             BETH GLASENER GIPSON                        BETH HERMANSADER
10201 S. MAIN STREET                    3416 DEERVIEW DR                            10201 S. MAIN STREET
HOUSTON, TX 77025                       MURFREESBORO, TN 37128                      HOUSTON, TX 77025




BETH INMAN                              BETH MCGUIRE                                BETH NULLMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




BETH WARD                               BETHANEY TEN EYCK                           BETHANIE MACKINTOSH
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




BETHANY CIEKOT                          BETHANY CORBIN                              BETHANY DUVALL
10201 S. MAIN STREET                    3214 DEWAR DR 201                           10201 S. MAIN STREET
HOUSTON, TX 77025                       ROCK SPRINGS, WY 82901                      HOUSTON, TX 77025




BETHANY HELTON                          BETHANY HOWARD                              BETHANY MORGAN
10201 S. MAIN STREET                    702 PAM ST                                  10201 S. MAIN STREET
HOUSTON, TX 77025                       WARSAW, IN 46580                            HOUSTON, TX 77025




BETHANY TAYLOR                          BETSY BURDETTE                              BETSY ROBERTS
195 E 5TH ST APT 2403                   10201 S. MAIN STREET                        10201 S. MAIN STREET
SAINT PAUL, MN 55101                    HOUSTON, TX 77025                           HOUSTON, TX 77025
BETSY SCHWABACHER          Case 18-12241-CSS    Doc
                                          BETTAWAY   26PALLET
                                                   BAW     Filed 10/05/18
                                                              SYSTEMS INC   PageBETTER
                                                                                 163 of  1739 BUREAU OF
                                                                                       BUSINESS
10201 S. MAIN STREET                       110 SYLVANIA PLACE                   GREATER HAMPTON ROADS, INC
HOUSTON, TX 77025                          SOUTH PLAINFIELD, NJ 07080           586 VIRGINIAN DRIVE
                                                                                NORFOLK, VA 23505




BETTIE CEPHAS                              BETTINA BELTRAN- TEAL                BETTY BAXTER
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




BETTY BORJA-MARTIN                         BETTY DEVLIN                         BETTY GARZA
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




BETTY HALL                                 BETTY JOHNSON                        BETTY TRANSPORTATION LLC
10201 S. MAIN STREET                       10201 S. MAIN STREET                 20513 CAROUSEL CIR
HOUSTON, TX 77025                          HOUSTON, TX 77025                    BOCA RATON, FL 33434




BEUSCHEL SALES INC                         BEV COLEMAN-SMITH                    BEV ELOGE
2835 14 MILE RD NW                         10201 S. MAIN STREET                 3301 E 18TH ST
SPARTA, MI 49345                           HOUSTON, TX 77025                    SIOUX FALLS, SD 57103




BEVERLEY ESTATE CORP.                      BEVERLY CHARLES                      BEVERLY DOWNS
2800 S TEXAS AVE STE 401                   10201 S. MAIN STREET                 10201 S. MAIN STREET
BRYAN, TX 77802                            HOUSTON, TX 77025                    HOUSTON, TX 77025




BEVERLY ESTATES CORP                       BEVERLY ESTATES CORP                 BEVERLY FURTADO
C/O OLDHAM GOODWIN GRP LLC                 D/B/A BEVERLEY ESTATES               10201 S. MAIN STREET
2800 S TEXAS AVE STE 401                   2800 S TEXAS AVE STE 401             HOUSTON, TX 77025
BRYAN, TX 77802                            BRYAN, TX 77802




BEVERLY GRAHAM                             BEVERLY HLLLS AUTO GLASS INC         BEVERLY HLLLS GLASS
41 ROSEBUD RD                              D/B/A BEVERLY HILLS GLASS            9150 W JEWELL AVE 9
DADEVILLE, AL 36853                        9150 W JEWELL AVE 9                  LAKEWOOD, CO 80232
                                           LAKEWOOD, CO 80232




BEVERLY JENKINS                            BEVERLY PARAGONA                     BEVERLY
975 E 1175 SO 1                            126 MOUNTAIN AVE APT 2               ATTN: PROPERTY TAX DEPT.
FRUIT HEIGHTS, UT 84037                    REVERE, MA 02151                     P.O. BOX 178
                                                                                MEDFORD, MA 02155-0002




BEXAR COUNTY CHIEF ASSESSOR-               BEXAR COUNTY WCID 10                 BEXAR COUNTY
COLLECTOR                                  8601 MIDCROWN DR                     TAX ASSESSOR - COLLECTOR
ATTN: PROPERTY TAX DEPT.                   WINDCREST, TX 78239                  P.O. BOX 2903
P.O. BOX 2903                                                                   SAN ANTONIO, TX 78299-2903
SAN ANTONIO, TX 78299-2903
BEXARMET WATER DISTRICT Case       18-12241-CSS
                                             BEYONDDoc  26 Filed 10/05/18
                                                   THIS DAY                       PageBEZHAN
                                                                                       164 ofBAHRAMI
                                                                                               1739
P.O. BOX 245994                              P.O. BOX 269                             10201 S. MAIN STREET
SAN ANTONIO, TX 78224-5994                   GASTONIA, NC 28053                       HOUSTON, TX 77025




BF TRANSPORTATION LLC                        BFBA                                     BFW/PIKE ASSOCIATES LLC
6880 S SOUTHFIELD BLVD STE 104               83 SCRIPPS DR STE 210                    3300 ENTERPRISE PKWY
OAK CREEK, WI 53154                          SACRAMENTO, CA 95825                     BEACHWOOD, OH 44122




BFW/PIKE ASSOCIATES LLC                      BG STAFFING INC                          BGE
DEPT: 345579-20618-57084                     BG STAFF SERVICES                        2 CENTER PLAZA
P.O. BOX 373612                              P.O. BOX 660282                          110 W FAYETTE ST
CLEVELAND, OH 44193                          DALLAS, TX 75266-0282                    BALTIMORE, MD 21201




BGE                                          BGL INC                                  BH MEDIA GROUP HOLDINGS INC
P.O. BOX 13070                               6075 STATE STREET SUBURBAN GARBAGE       D/B/A TRI CITIES SW VA REGIONAL GROUP
PHILADELPHIA, PA 19101-3070                  SERV                                     PO BOX 609
                                             SALEM, OR 97301                          BRISTOL, VA 24203




BH MEDIA GROUP INC                           BH MEDIA GROUP INC                       BH THOMAS
THE FREE LANCE STAR                          THE PRESS OF ATLANTIC CITY               D/B/A SUN SERVIES JANITORIAL
616 AMELIA ST                                1000 W WASHINGTON AVE                    P.O. BOX 8726
FREDERICKSBURG, VA 22401                     PLEASANTVILLE, NJ 08232                  FORT WORTH, TX 76124




BHAKTI SHAH                                  BHARAT THAKRAL                           BHC BIG V, LLC; BS BIG V, LLC;
10201 S. MAIN STREET                         10201 S. MAIN STREET                     BHRA BIG V, LLC
HOUSTON, TX 77025                            HOUSTON, TX 77025                        C/O BLUEBERRY HILL MANAGEMENT CORP.
                                                                                      100 DUTCH HILL ROAD, SUITE 340
                                                                                      ORANGEBURG, NY 10962



BHC BIG V, LLC; BS BIG V, LLC;               BHP-CHERRYDALE LLC                       BHP-CHERRYDALE LLC
C/O BLUEBERRY HILL MANAGEMENT                C/O RIVERWOOD PROPERTIES LLC             C/O RIVERWOOD PROPERTIES LLC
CORP.BHRA BIG V, LLC                         3350 RIVERWOOD PKWY SE STE 450           P.O. BOX 724506
C/O BLUEBERRY HILL MANAGEMENT CORP.          ATLANTA, GA 30339                        ATLANTA, GA 31139
100 DUTCH HILL ROAD, SUITE 340
ORANGEBURG, NY 10962


BHP-CHERRYDALE, LLC                          BHP-CHERRYDALE, LLC                      BIAGIANI PROPERTIES, INC.
C/O RIVERWOOD PROPERTIES, LLC                C/O RIVERWOOD PROPERTIES, LLC            333 W. EL CAMINO REAL, SUITE 240
3350 RIVERWOOD PKWY SE STE 450               P.O. BOX 724506                          SUNNYVALE, CA 94087
ATLANTA, GA 30339                            ATLANTA, GA 31139




BIAGIANI PROPERTIES, INC.                    BIANCA CAMPOS                            BIANCA DAVIS
333 W. EL CAMINO REAL, SUITE 240             10201 S. MAIN STREET                     10201 S. MAIN STREET
SUNNYVALE, CA 94087-1969                     HOUSTON, TX 77025                        HOUSTON, TX 77025




BIANCA DIAZ                                  BIANCA GREEN                             BIANCA JONES
10201 S. MAIN STREET                         10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                            HOUSTON, TX 77025                        HOUSTON, TX 77025
BIANCA RADFORD          Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                       BIANCA RAWLINGS                    PageBIANCO
                                                                                165 of 1739
                                                                                     PROPERTIES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   680 CRAIG RD, 240
HOUSTON, TX 77025                      HOUSTON, TX 77025                      CREVE COEUR, MO 63141




BIANCO PROPERTIES                      BIANCO PROPERTIES                      BIBB COUNTY TAX COMMISSIONER
P.O. BOX 411273                        P.O. BOX 411273                        PO BOX 4724
680 CRAIG RD STE 240                   680 CRAIG RD STE 240                   MACON, GA 31208
CREVE COEUR, MO 63141                  CREVE COUEUR, MO 63141




BIBEAU & COMPANY                       BIC-MTS PARTNERS                       BICOASTAL MEDFORD
ATTN: ART BIBEAU                       C/O BOYLE INVEST CO                    3624 AVION DR
340 FORE STREET                        5900 POPLAR AVE STE 100                MEDFORD, OR 97504
PORTLAND, ME 04101                     MEMPHIS, TN 38119




BICOASTAL MEDIA EUGENE                 BICOR PROCESSING CORP                  BIDDEFORD
1500 VALLEY RIVER DR STE 350           362 DEWITT AVE                         ATTN: PROPERTY TAX DEPT.
EUGENE, OR 97401                       BROOKLYN, NY 11207                     PO BOX 0235
                                                                              BRATTLEBORO, VT 05302-0235




BIEN NTWARI                            BIENVENIDO PAYANO                      BIG "O" CENTER LP
10201 S. MAIN STREET                   10201 S. MAIN STREET                   C/O VENTURE WEST INC
HOUSTON, TX 77025                      HOUSTON, TX 77025                      6007 E GRANT RD
                                                                              TUCSON, AZ 85712




BIG CREEKWOOD COMMONS LLC              BIG CREEKWOOD COMMONS LLC              BIG CREEKWOOD COMMONS, LLC
1100 WALNUT ST STE 2000                P.O. BOX 748653                        1100 WALNUT ST STE 2000
KANSAS CITY, MO 64106                  LOS ANGELES, CA 90074-8653             KANSAS CITY, MO 64106




BIG CREEKWOOD COMMONS, LLC             BIG CREEKWOOD COMMONS, LLC             BIG CREEKWOOD COMMONS, LLC
C/O RED PROPERTY MANAGEMENT, LLC       C/O RED PROPERTY MANAGEMENT, LLC       C/O RED PROPERTY MANAGEMENT, LLC
840 NW BLUE PARKWAY, SUITE B           840 NW BLUE PARKWAY, SUITE B           ONE EAST WASHINGTON STREET, SUITE 300
ATTN: KATHY NIETZKE                    ATTN: KATHY NIETZKE                    ATTN: DIRECTOR - LEGAL
LEES SUMMIT, MO 64086                  LEE'S SUMMIT, MO 64086                 PHOENIX, AZ 85004



BIG CREEKWOOD COMMONS, LLC             BIG FRED INVESTMENTS LLC               BIG FRED INVESTMENTS, LLC
P.O. BOX 748653                        4023 KENNETT PIKE, SUITE 458           4023 KENNETT PIKE, SUITE 458
LOS ANGELES, CA 90074-8653             WILMINGTON, DE 19807                   GREENVILLE, DE 19807




BIG FRED INVESTMENTS, LLC              BIG ROCK REALTY LLC                    BIG SKY MATTRESS, LLC
4023 KENNETT PIKE, SUITE 458           ATTN: PENNY SPRAGUE                    1975 CATTAIL STREET
WILMINGTON, DE 19807                   161 JOHN ROBERTS RD                    BOZEMAN, MT 59718
                                       SOUTH PORTLAND, ME 04106




BIG SKY MATTRESS, LLC                  BIG TREE FURNITURE & IND INC           BIG TREE FURNITURE INC
D/B/A MATTRESS FIRM                    760 S VAIL AVE                         P.O. BOX 100895
1546 TEMPEST CT 102                    MONTEBELLO, CA 90640                   ATLANTA, GA 30384
BOZEMAN, MT 59718
                        Case 18-12241-CSS
BIG VINEYARD VILLAGE, LLC                      Doc 26
                                       BIG VINEYARD        Filed
                                                     VILLAGE, LLC 10/05/18   PageBIKES
                                                                                   166BLUES
                                                                                       of 1739
                                                                                            AND BBQ
C/O RED DEVELOPMENT,LLC                P.O. BOX 95724                            P.O. BOX 713
ONE EAST WASHINGTON ST SUITE 300       LAS VEGAS, NV 89193-5724                  FAYETTEVILLE, AR 72702
PHOENIX, AZ 85004




BILAL ALSAIFY                           BILGE YILDIZ                             BILL ADAMS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BILL ANSEL                              BILL ATENCIO                             BILL BAILEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     8067 S. BAKER WAY
HOUSTON, TX 77025                       HOUSTON, TX 77025                        AURORA, CO 80016




BILL BYERS                              BILL CHENOWETH                           BILL COLLINS
P.O. BOX 501                            10201 S. MAIN STREET                     10201 S. MAIN STREET
ROCKVILLE, MN 56369                     HOUSTON, TX 77025                        HOUSTON, TX 77025




BILL COOK                               BILL COSTILLO                            BILL COX
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BILL CRENSHAW                           BILL DAMICO                              BILL DICKINSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BILL DOLLISON                           BILL DOWNEY                              BILL DRITSOULAS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BILL DRURY                              BILL ECKELS                              BILL ENSLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BILL FERGUSON                           BILL FLEMING                             BILL FORD
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BILL GREENMAN                           BILL HALL                                BILL HARRINGTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
BILL HEUBER            Case 18-12241-CSS      Doc 26
                                      BILL HILDEBRAND     Filed 10/05/18   PageBILL
                                                                                 167  of 1739
                                                                                    HULSE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BILL JACHETTA                          BILL JACHETTA                           BILL JONES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BILL KENDRICK                          BILL LAFAIRE                            BILL LATHAM
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BILL LEPORE                            BILL LOWRY                              BILL MARQUIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BILL MILLER                            BILL MORRIS                             BILL OCONNELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BILL PAGE                              BILL SABELLA                            BILL SABODOR
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BILL SENTER                            BILL SIEVE                              BILL SOUCY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BILL STRICKLAND                        BILL THE DOOR GUY                       BILL TIDBALL
10201 S. MAIN STREET                   23 BAYONNE AVE
HOUSTON, TX 77025                      CENTRAL ISLIP, NY 11722




BILL WATERS                            BILL WESCOTT                            BILL WHITESIDES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BILL WORLEY                            BILL YOUNG                              BILLERICA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                      HOUSTON, TX 77025                       365 BOSTON RD
                                                                               BILLERICA, MA 01810
BILLIE KATANOVICH        Case 18-12241-CSS      Doc 26 Filed 10/05/18
                                        BILLIE WASHINGTON                    PageBILLIE
                                                                                   168WILLIAMS
                                                                                        of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BILLINGSLEY 121 COPPEL LTD              BILLINGSLEY 121 COPPEL LTD               BILLINGSLEY ML5050 LTD
1722 ROUTH ST STE 1313                  D/B/A MFIRM A LLC                        6800 WINDHAVEN PKWY STE 133
DALLAS, TX 75201                        1722 ROUTH ST STE 1313                   THE COLONY, TX 75056
                                        DALLAS, TX 75201




BILLINGSLEY PROPERTY SERVICES           BILLIPS & BENJAMIN LLP                   BILLY BUTLER
4100 INTERNATIONAL PKWY STE 1100        ONE TOWER CREEK                          10201 S. MAIN STREET
CARROLLTON, TX 75007                    3101 TOWERCREEK PARKWAY, SUITE 190       HOUSTON, TX 77025
                                        ATLANTA, GA 30339




BILLY CASTROGIOVANNI                    BILLY COLE                               BILLY ELLING
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BILLY JOE HOWARD                        BILLY LOUCKS                             BILLY MENTZEL
1301 MAX COPELAND DR                    10201 S. MAIN STREET                     10201 S. MAIN STREET
MARBLE FALLS, TX 78654                  HOUSTON, TX 77025                        HOUSTON, TX 77025




BILLY ROBB                              BILLY STOOTS                             BILLY WARREN LADASSOR
10201 S. MAIN STREET                    10201 S. MAIN STREET                     731 MCCALL WAY
HOUSTON, TX 77025                       HOUSTON, TX 77025                        PHILOMATH, OR 97370




BILTMORE PROPERTY GROUP                 BINAS MAMUDOSKA                          BINGHAM GREENEBAUM DOLL LLP
10 BROOK ST SUITE 205                   10201 S. MAIN STREET                     3913 SOLUTIONS CENTER
ASHEVILLE, NC 28803                     HOUSTON, TX 77025                        CHICAGO, IL 60677-3009




BINGHAM GREENEBAUM DOLL LLP             BINGHAM GREENEBAUM DOLL LLP              BINGHAM MCCUTCHEN LLP
ATTN: TANDY C. PATRICK                  ATTN: TANDY C. PATRICK                   ONE FEDERAL STREET
3500 PNC TOWER                          3500 PNC TOWER                           BOSTON, MA 02110-1726
101 SOUTH FIFTH ST                      101 SOUTH FIFTH ST
LOUISVILLE, KY 40202                    LOUISVILLE, KY 40203



BINGHAM                                 BINNIE MEDIA                             BINNIE MEDIA
P.O. BOX 3486                           126 DANIEL ST STE 200                    P.O. BOX 417738
BOSTON, MA 02241-3486                   PORTSMOUTH, NH 03801                     BOSTON, MA 02241




BIO SLEEP CONCEPT INC                   BIO SLEEP CONCEPT INC                    BIRAMA DIENG
P.O. BOX 52948                          P.O. BOX 52948                           10201 S. MAIN STREET
RIVERSIDE, CA 92517                     RIVERSIDE, CA 92517-3948                 HOUSTON, TX 77025
                       Case
BIRCH COMMUNICATIONS (ECI)       18-12241-CSS
                                           BIRCH Doc 26      Filed 10/05/18        PageBIRCH
                                                                                         169 of 1739
P.O. BOX 105066                            320 INTERSTATE NORTH PKWY SE                P.O. BOX 105066
ATLANTA, GA 30348-5066                     ATLANTA, GA 30339                           ATLANTA, GA 30348-5066




BIRCHER EXTERMINATING SERVICES INC         BIRD TRADE CENTER, LLC                      BIRD XPRESS
335 W. MELINDA LN                          777 ARTHUR GODFREY ROAD 400                 2197 S EUECKER
PHOENIX, AZ 85207                          MIAMI BEACH, FL 33140                       LEWISVILLE, TX 75067




BIRMINGHAM LOGISTICS LLC                   BIRNBAUM PROPERTY COMPANY                   BIRNBAUM PROPERTY
129 THORNBERRY DR                          200 CONCORD PLAZA, SUITE 860                PJ PFEIFFER
BIRMINGHAM, AL 35242                       ATTN: JOANN DUNCAN, DIR OF PROPERTY         8000 IH 10W, 200
                                           MGMT                                        SAN ANTONIO, TX 78230
                                           SAN ANTONIO, TX 78216



BIROL HASAN                                BIS CORPORATION                             BISHOP TECHNOLOGIES INC
10201 S. MAIN STREET                       C/O UCR ASSET SRVC BELLE ISLE STATION       518 S ROUTE 31 PMB327
HOUSTON, TX 77025                          8080 PARK LN STE 800                        MC HENRY, IL 60050
                                           DALLAS, TX 75007




BISHOPBEALE                                BISHOPS CORNER (E&A) LLC                    BISHOP'S CORNER (E&A) LLC
250 N ORANGE AVENUE, SUITE 1500            DEPT 2358                                   C/O EDENS LIMITED PARTNERSHIP
ORLANDO, FL 32801                          P.O. BOX 842724                             1221 MAIN STREET, SUITE 1000
                                           BOSTON, MA 02284                            ATTN: LEGAL DEPARTMENT
                                                                                       COLUMBIA, SC 29201



BISHOP'S CORNER (E&A) LLC                  BISHOP'S CORNER (E&A) LLC                   BISMAR CABRALES
C/O EDEN'S LIMITED PARTNERSHIP             DEPT 2358                                   10201 S. MAIN STREET
1221 MAIN STREET, SUITE 1000               P.O. BOX 842724                             HOUSTON, TX 77025
ATTN: LEGAL DEPARTMENT                     BOSTON, MA 02284
COLUMBIA, SC 29201



BISON MEDIA INC DBA KSKY-AM                BISON MEDIA INC DBA KSKY-AM                 BISON MEDIA INC
6400 N BELT LINE RD 120                    SALEM MEDIA GROUP INC (DALLAS)              KBIQ-FM
IRVING, TX 75063                           P.O. BOX 206590                             7150 CAMPUS DR STE 150
                                           DALLAS, TX 75320-6590                       COLORADO SPRINGS, CO 80920




BIT ALAMEDA RETAIL OWNER, LLC              BIT INVESTMENT TWENTY-SEVEN LLC             BIT INVESTMENT TWENTY-SEVEN LLC
C/O PNC REALTY INVESTORS, INC.             BIT INVESTMENT SEVENTY-NINE LLC             C/O DEBORAH R CHAMBLISS
ONE EAST PRATT STREET, 5TH FLOOR EAST      P.O. BOX 748831                             ONE E PRATT ST, 5TH FL E
ATTN: ASSET MANAGEMENT                     LOS ANGELES, CA 90074-8831                  BALTIMORE, MD 21202
BALTIMORE, MD 21202



BIT INVESTMENT TWENTY-SEVEN, LLC           BIT INVESTMENT TWENTY-SEVEN, LLC            BIT INVESTMENT TWENTY-SEVEN, LLC
C/O PNC BANK, NA, TRUSTEE                  C/O PNC BANK, NATIONAL ASSOCIATION,         C/O PNC REALTY INVESTORS
ONE EAST PRATT STREET, 5TH FLOOR EAST      TRUSTEE                                     800 17TH STREET NW, 12TH FLOOR
ATTN: BIT NOTICE RECIPIENT                 ONE EAST PRATT STREET, 5TH FLOOR EAST       ATTN: ASSET MANAGEMENT
BALTIMORE, MD 21202                        ATTN: BIT NOTICE RECIPIENT                  WASHINGTON, DC 20006
                                           BALTIMORE, MD 21202


BIT INVESTMENT TWENTY-SEVEN, LLC           BIXBY IRVINGTON, LLC                        BJ ADAMS REAL ESTATE MANAGEMENT, LTD.
P.O. BOX 414697                            C/O HATHAWAY MANAGEMENT, INC.               ATTN: TOM HEASLIP
BOSTON, MA 02241-4697                      3525 NW DIMPLE HILL ROAD                    P.O. BOX 752
                                           CORVALLIS, OR 97330                         HARRISON, NY 10528
BJ MOSS                Case 18-12241-CSS      Doc 26 Filed
                                      BJJKA INVESTMENTS LLC 10/05/18          PageBJORN
                                                                                   170 FABER
                                                                                        of 1739
10201 S. MAIN STREET                   GRAND RAPIDS ONE LLC                       10201 S. MAIN STREET
HOUSTON, TX 77025                      17751 SAMPSON LN                           HOUSTON, TX 77025
                                       HUNTINGTON BEACH, CA 92647




BJPG LLC - DBA GLADDEN WATER           BK 249 LTD                                 BK 249, LTD
P.O. BOX 455                           ATTN: LUCY LANDERS                         ATTN: LUCY LANDERS
EXCELSIOR, MN 55331                    3700 BUFFALO SPEEDWAY STE 1020             3700 BUFFALO SPEEDWAY STE 1020
                                       HOUSTON, TX 77098                          HOUSTON, TX 77098




BK PROPERTIES LLC                      BK PROPERTIES, LLC                         BK SYSTEMS INC
C/O BLOCK REAL ESTATE SERVICES, LLC    C/O BLOCK REAL ESTATE SERVICES, LLC        27 SHEEP DAVIS RD
700 WEST 47TH STREET, SUITE 200        700 WEST 47TH STREET, SUITE 200            PEMBROKE, NH 03275
KANSAS CITY, MO 64112                  KANSAS CITY, MO 64112




BKA HOME IMPROVEMENT                   BL&M PROPERTIES                            BL&M PROPERTIES
1069 SANDY VALLEY RD                   C/O PACIFIC COMMERCIAL MANAGEMENT,         C/O PACIFIC COMMERCIAL MGMT INC
HENDERSONVILLE, TN 37075               INC.                                       2725 CONGRESS ST STE 1-E
                                       2725 CONGRESS STREET, SUITE 1-E            SAN DIEGO, CA 92110
                                       SAN DIEGO, CA 92110



BLACK BONGO LIMITED PARTNERSHIP        BLACK CREEK DIVERSIFIED PROPERTY           BLACK CREEK GROUP
7850 INDUSTRIAL RD 502                 FUND                                       ATTN: ELIOT FIERBERG, VP OF LEASING,
LAS VEGAS, NV 89139                    518 17TH STREET, SUITE 1700                RETAIL
                                       DENVER, CO 80202                           518 17TH STREET, SUITE 1700
                                                                                  DENVER, CO 80202



BLACK HILLS ENERGY                     BLACK HILLS ENERGY                         BLACK LAKE VILLAGE LLC
C/O BLACK HILLS CORP                   P.O. BOX 6001                              C/O BUSINESS PROP DEVELOP
7001 MOUNT RUSHMORE RD                 RAPID CITY, SD 57709-6001                  22020 17TH AVE SE STE 200
RAPID CITY, SD 57702                                                              BOTHELL, WA 98021




BLACK LAKE VILLAGE LLC                 BLACK LAKE VILLAGE                         BLACK PEST PREVENTION
C/O BUSINESS PROPERTY DEVELOPMENT      C/O BUSINESS PROP DEVELOP                  605 SPRINGBROOK RD.
22020 17TH AVENUE SE, SUITE 200        22020 17TH AVE SE STE 200                  CHARLOTTE, NC 28217
BOTHELL, WA 98021                      BOTHELL, WA 98021




BLACK REALTY MANAGEMENT, INC.          BLACK REALTY MANAGEMENT, INC.              BLACK RIVER ELECTRIC COOP
ATTN: MARY ASHAR, ADMIN ASSISTANT      ATTN: TOM HIX, PROPERTY MANAGER            1121 N PIKE W
107 SOUTH HOWARD STREET, SUITE 600     107 SOUTH HOWARD STREET, SUITE 600         SUMTER, SC 29153
SPOKANE, WA 99201                      SPOKANE, WA 99201




BLACK RIVER ELECTRIC COOP              BLACK RIVER ELECTRIC COOPERATIVE INC       BLACK SAND CAPITAL DBA GOOD OAK MGMT
P.O. BOX 130                           P.O. BOX 130                               6736 N DESERT HILLS RD
SUMTER, SC 29151-0130                  SUMTER, SC 29151-0130                      PARADISE VALLEY, AZ 85253




BLACK SAND CAPITAL LLC                 BLACK WOLF MOVING AZ                       BLACKBAUD INC
GOOD OAK MANAGEMENT INC                D/B/A TWO MEN AND A TRUCK                  2000 DANIEL ISLAND DR.
6736 NORTH DESERT HILLS RD             3773 W INA RD STE 174                      CHARLESTON, SC 29492
PARADISE VALLEY, AZ 85253              TUCSON, AZ 85741
BLACKBAUD INC          Case 18-12241-CSS    Doc
                                      BLACKBOB   26 LLC
                                               CORNER Filed 10/05/18       PageBLACKBOB
                                                                                171 of 1739
                                                                                        CORNER LLC
P.O. BOX 930256                        605 W 47TH ST                           C/O BLOCK & COMPANY, INC.
ATLANTA, GA 31193                      STE 200                                 605 WEST 47TH STREET STE 200
                                       KANSAS CITY, MO 64112                   KANSAS CITY, MO 64112




BLACKBOB CORNER, LLC, A KANSAS LLC     BLACKLINE SYSTEMS INC.                  BLACKLINE SYSTEMS INC.
C/O BLOCK & COMPANY, INC.              21300 VICTORY BLVD 12TH FLOOR           DEPT LA 23816
605 WEST 47TH STREET, SUITE 200        WOODLAND HILLS, CA 91367                PASADENA, CA 91185
ATTN: PROPERTY MANAGER
KANSAS CITY, MO 64112



BLACKMON, CECILE                       BLACKSTONE NEES PARTNERS LP             BLACKSTONE NEES PARTNERS, LP
5212 S 83RD ST                         C/O DIVERSIFIED DEVELOPMENT GROUP       C/O DIVERSIFIED DEVELOPMENT GROUP
TAMPA, FLORIDA 33619-7108              7519 N. INGRAM AVENUE, SUITE 104        7519 N. INGRAM AVENUE, SUITE 104
                                       FRESNO, CA 93711                        FRESNO, CA 93711




BLAIR DESIGN & CONSTRUCTION, INC       BLAIR HAWLEY                            BLAIR KELLY
P.O. BOX 2566                          10201 S. MAIN STREET                    1511 BARCLAY
ALTOONA, PA 16603                      HOUSTON, TX 77025                       CARROLLTON, TX 75007




BLAIR LEWIS                            BLAIR NOYES                             BLAISE DEUTSCH
10201 S. MAIN STREET                   10201 S. MAIN STREET                    2421 DELMAR DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                       PLANO, TX 75075




BLAKE BARNES                           BLAKE BARNETT                           BLAKE BOWDEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BLAKE BRICKEY                          BLAKE CARMAN                            BLAKE DYSON
317 AVERY JORDAN CV                    10201 S. MAIN STREET                    10201 S. MAIN STREET
SOUTHAVEN, MS 38671                    HOUSTON, TX 77025                       HOUSTON, TX 77025




BLAKE EASLEY                           BLAKE GREGORY                           BLAKE HANNAH
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BLAKE HEFLIN                           BLAKE KIRVEN                            BLAKE LEBLANC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    DISTRICT MANAGER-ATLANTA
HOUSTON, TX 77025                      HOUSTON, TX 77025                       803 LAZARUS DRIVE
                                                                               WOODSTOCK, GA 30188




BLAKE LESSARD                          BLAKE LOUKOTA                           BLAKE RICHMOND LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    P.O. BOX 3306
HOUSTON, TX 77025                      HOUSTON, TX 77025                       DULUTH, GA 30096
BLAKE RICHMOND LLC         Case 18-12241-CSS     Doc 26
                                          BLAKE ROBERTS      Filed 10/05/18   PageBLAKE
                                                                                   172 ROUSSEAU
                                                                                        of 1739
P.O. BOX 3306                             10201 S. MAIN STREET                    10201 S. MAIN STREET
DULUTH, GA 30096-9998                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BLAKE TAYLOR                              BLAKE UNDERWOOD                         BLAKELY PROPERTIES LLC
10201 S. MAIN STREET                      10201 S. MAIN STREET                    810 N LILAC DR STE 212
HOUSTON, TX 77025                         HOUSTON, TX 77025                       GOLDEN VALLEY, MN 55422




BLAKELY PROPERTIES LLC                    BLAKELY PROPERTIES, LLC                 BLAKELY PROPERTIES, LLC
C/O LINVILL PROPERTIES, INC.              810 N LILAC DR STE 212                  C/O LINVILL PROPERTIES, INC.
2210 EAST 117TH ST                        GOLDEN VALLEY, MN 55422                 2210 EAST 117TH ST
BURNSVILLE, MN 55337                                                              BURNSVILLE, MN 55337




BLANCA HINOJOSA                           BLANCA PONCE                            BLANCO WILCZYNSKI PLLC
10201 S. MAIN STREET                      10201 S. MAIN STREET                    2095 E BIG BEAVER RD STE 400
HOUSTON, TX 77025                         HOUSTON, TX 77025                       TROY, MI 48083




BLANCO WILCZYNSKI PLLC                    BLANDING PARTNERS LLC                   BLATT HASENMILLER LEIBSKER & MOORE
IOLTA CLIENT TRUST ACCOUNT                ATTN: KADEN COMPANIES                   LLC
2095 E BIG BEAVER RD STE 400              6100 DUTCHMANS LN 6TH FLOOR             10 S LASALLE ST STE 2200
TROY, MI 48083                            LOUISVILLE, KY 40205                    CHICAGO, IL 60603-1069




BLAZE R VILLORIA                          BLC II LLC                              BLCS, LLC
                                          C/O ASSET MNGTM SOLUTIONS LTD           117 EAST LOUISA STREET, SUITE 230
                                          8200 S QUEBEC ST STE A3-223             SEATTLE, WA 98102
                                          CENTENNIAL, CO 80112




BLDG.WORKS-USA                            BLENDEX INDUSTRIAL CORPORATION          BLF LEASING LLC
P.O. BOX 166828                           135 BANGOR ST                           D/B/A WAREHOUSE EQUIPMENT SOLUTIONS
IRVING, TX 75016-6828                     LINDENHURST, NY 11757                   1400 W SHADY GROVE RD
                                                                                  GRAND PRAIRIE, TX 75050




BLIND WHOLESALER LLC                      BLINDS TO GO (US) INC                   BLIPPAR LLC
6351 HINSON ST STE D                      ATTN: LEGAL DEPARTMENT                  236 W 30TH ST
LAS VEGAS, NV 89118                       3510 ST. JOSEPH BOULEVARD EAST          8TH FLOOR
                                          MONTREAL, QC H1X 1W6                    NEW YORK, NY 10001
                                          CANADA



BLISS COMM INC                            BLISSFUL REAL ESTATE                    BLITT AND GAINES P.C
D/B/A THE JANESVILLE GAZETTE              1850 N ALAFAYA TRAIL                    661 W GLENN AVE
P.O. BOX 5001                             ORLANDO, FL 32826                       WHEELING, IL 60090
JANESVILLE, WI 53547-5001




BLOCK & COMPANY, INC.                     BLOCK ASSET MANAGEMENT                  BLOCK KFR LLC
ATTN: ROB EPSTEIN                         605 W 47TH STREET SUITE 200             14600 WESTON PARKWAY STE 200
605 W 47TH ST, SUITE 200                  KANSAS CITY, MO 64112                   CARY, NC 27513
KANSAS CITY, MO 64112
BLOCK KFR LLC         Case        18-12241-CSS     DocLLC
                                            BLOCK KFR,  26       Filed 10/05/18    PageBLOCK
                                                                                        173 KFR,
                                                                                             of 1739
                                                                                                 LLC
6350 QUADRANGLE DR STE 205                  14600 WESTON PARKWAY STE 200               C/O GFD MANAGEMENT, INC.
CHAPEL HILL, NC 27517                       CARY, NC 27513                             6350 QUADRANGLE DRIVE, SUITE 205
                                                                                       CHAPEL HILL, NC 27517




BLOCK REAL ESTATE SERVICES, LLC             BLOODWORTH, CARROLL, P.C.                  BLOOMBERG BNA
ATTN: COLLEEN LEWIS                         ATTN: LAURIE A. CARROLL, ESQ.              P.O. BOX 17009
8349 MELROSE DRIVE                          10000 NORTH CENTRAL EXPY, SUITE 1050       BALTIMORE, MD 21297-1009
LENEXA, KS 66214                            DALLAS, TX 75231




BLOOMFIELD SHOPS TWO LLC                    BLOOMINGDALE COURT LLC                     BLOSSMAN GAS & APPLIANCE
C/O DRAKE ASSET MANAGEMENT                  867625 RELIABLE PKWY                       3500 ASSOCIATE DR.
7800 E. UNION AVENUE, SUITE 410             0313/BEDEX                                 GREENSBORO, NC 27405
DENVER, CO 80237                            CHICAGO, IL 60686-0076




BLOSSMAN GAS & APPLIANCE                    BLOUNT COUNTY CLERK                        BLOUNT COUNTY TRUSTEE
PO BOX 1110                                 345 COURT STREET                           347 COURT ST. COURTHOUSE
OCEAN SPRINGS, MS 39566-1110                MARYVILLE, TN 37804                        MARYVILLE, TN 37804-5906




BLOUNT                                      BLOW UP LLC                                BLUE RIDGE INVESTMENT PROP
ATTN: PROPERTY TAX DEPT.                    D/B/A KKEA-AM                              1619 SCHAEFFER RD STE. 100
347 COURT ST. COURTHOUSE                    P.O. BOX 913                               KNOXVILLE, TN 37932
MARYVILLE, TN 37804-5906                    HONOLULU, HI 96808




BLUE DIAMOND ENTERPRISES                    BLUE GOODRICH                              BLUE GREEN INVESTMENTS LLC
447 CATTAIL IVES RD                         10201 S. MAIN STREET                       101 W MAIN STREET STE 345
LAWRENCEVILLE, GA 30045                     HOUSTON, TX 77025                          NORFOLK, VA 23510




BLUE HORSESHOE SOLUTIONS INC                BLUE MERCED R 1414 LLC                     BLUE MOUNTAIN IPG ASSOCIATES LP
11939 N MERIDIAN ST STE 300                 252 S. BEVERLY DRIVE                       C/O GOLDENBERG MGMT
CARMEL, IN 46032                            BEVERLY HILLS, CA 90212                    630 SENTRY PKWY STE 300
                                                                                       BLUE BELL, PA 19422




BLUE MOUNTAIN IPG ASSOCIATES LP             BLUE MOUNTAIN IPG ASSOCIATES LP            BLUE MOUNTAIN WATER COOP
70 PORTLAND RD                              C/O GOLDENBERG MANAGEMENT, INC             P.O. BOX 373
W CONSHOHOCKEN, PA 19428                    630 SENTRY PARKWAY, SUITE 300              MYERSTOWN, PA 17067
                                            BLUE BELL, PA 19422




BLUE MOUNTAIN WATER COOP                    BLUE REALTY CORP                           BLUE REALTY CORP
PO BOX 373                                  1697 BROADWAY                              ATTN: PETER A HUERTAS
MYERSTTOWN, PA 17067                        BROOKLYN, NY 11207                         300 CADMAN PLAZA W 8TH FL
                                                                                       BROOKLYN, NY 11201




BLUE REALTY CORP.                           BLUE REALTY CORP.                          BLUE RIDGE ELEC COOP INC
ATTN: JASON MAALOULY                        ATTN: PETER A HUERTAS                      734 W MAIN ST
368 VETERANS MEMORIAL HIGHWAY, SUITE        300 CADMAN PLAZA W 8TH FL                  PICKENS, SC 29671
7                                           BROOKLYN, NY 11201
COMMACK, NY 11725
                       Case 18-12241-CSS
BLUE RIDGE ELECTRIC COOPERATIVE INC           DocHOME
                                      BLUE RIDGE    26 FASHIONS
                                                        Filed 10/05/18
                                                                INC       PageBLUE
                                                                               174RIDGE
                                                                                    of 1739
                                                                                        PROPERTY MANAGEMENT
P.O. BOX 530812                       15761 TAPIA ST                          ATTN: ROYCE HAWLEY
ATLANTA, GA 30353-0812                IRWINDALE, CA 91706                     5826 SAMET DRIVE, SUITE 105
                                                                              HIGH POINT, NC 27265




BLUE RIDGE SURVEYING INC              BLUE ROAD VENTURES                      BLUE SPRINGS SAFETY STORAGE SOUTH
P.O. BOX 8072                         2 PRUDENTIAL PLAZA                      LLC
GALLATIN, TN 37066                    180 N. STETSON AVENUE, SUITE 2880       COLLIERS INTERNATIONAL
                                      CHICAGO, IL 60601                       4520 MAIN STREET STE 1000
                                                                              KANSAS CITY, MO 64111



BLUE WAVE PRODUCTS INC                BLUE WAVE PRODUCTS INC                  BLUE WOLF GROUP LLC
4200 NORTHSIDE PKWY BLDG 14 STE 250   C/O SPLASHNET                           11 E 26TH ST 21ST FL
ATLANTA, GA 30327                     1745 WALLACE AVE                        NEW YORK, NY 10010
                                      SAINT CHARLES, IL 60174




BLUE WOLF GROUP LLC                   BLUEBERRY HILL MANAGEMENT CORP          BLUEBERRY HILL MANAGEMENT CORP
ACCT DEPT                             100 DUTCH HILL RD                       100 DUTCH HILL ROAD, SUITE 340
11 EAST 26TH ST 21ST FLOOR            ORANGEBURG, NY 10962                    ORANGEBURG, NY 10962
NEW YORK, NY 10010




BLUEBERRY HILL MANAGEMENT CORP        BLUEBERRY HILL MANAGEMENT CORP          BLUEBONNET ELECTRIC COOP INC
ATTN: HOWARD JOSEPHS                  ATTN: RUTH JOSEPHS                      P.O. BOX 240
100 DUTCH HILL ROAD, SUITE 340        100 DUTCH HILL ROAD, SUITE 340          GIDDINGS, TX 78942-0240
ORANGEBURG, NY 10962                  ORANGEBURG, NY 10962




BLUEBONNET ELECTRIC COOP INC          BLUEDOT SAFES                           BLUEFIN PAYMENT SYSTEMS LLC
PO BOX 729                            2707 N GAREY AVE                        225 BROADHOLLOW RD STE 305W
155 ELECTRIC AVE                      POMONA, CA 91767                        MELVILLE, NY 11747
BASTROP, TX 78602




BLUEJAY MANAGEMENT LLC                BLUEROCK DEVELOPMENT LLC                BLUEROCK DEVELOPMENT, LLC
301 MILL ROAD, SUITE L6               ATTN: JOSEPH N SCHUEMANN                ATTN: JOSEPH N SCHUEMANN
HEWLETT, NY 11557                     3408 S ORANGE AVE STE B                 3408 S ORANGE AVE STE B
                                      ORLANDO, FL 32806                       ORLANDO, FL 32806




BLUESTONE & HOCKLEY REAL ESTATE       BLUESTONE & HOCKLEY REALTY INC          BLUEWATER BROADCASTING CO LLC
SERVICES                              D/B/A BLUESTONE & HOCKLEY RE SERVICES   4101 WALL STREET
9320 SE BARBUR BOULEVARD, SUITE 300   9320 SW BARBUR BLVD STE 300             MONTGOMERY, AL 36106
PORTLAND, OR 97219                    PORTLAND, OR 97219




BLUEWATER BROADCASTING CO             BLYTHE GRATES                           BM REAL ESTATE LLC
4101 WALL STREET                      7715 LEMMONWOOD DR                      50-855 WASHINGTON ST STE. C 234
MONTGOMERY, AL 36106                  DALLAS, TX 75231                        LA QUINTA, CA 92253




BMD PORTERS VALE LLC                  BMFARMERS LOGISTICS                     BMP NORTHEAST HOLDINGS LLC
D/B/A SP PORTERS VALE LLC             3310 N HUGHMONT RD                      D/B/A BMP NORTHEAST LLC
301 N BROADWAY STE 300                FAYETTEVILLE, AR 72704                  595 SOUTH BROADWAY, SUITE 200
MILWAUKEE, WI 53202                                                           DENVER, CO 80209
BMP NORTHEAST LLC     Case      18-12241-CSS    Doc 26INC. Filed 10/05/18
                                          BMP PARTNERS,                         PageBMS
                                                                                     175  of ESTATE
                                                                                        REAL 1739 SOLUTIONS LLC
C/O CFPM, LLC                              4923 WEST 34TH STREET                    344 PENCARROW CIRCLE
595 SOUTH BROADWAY, SUITE 200              HOUSTON, TX 77092-6605                   MADISONVILLE, LA 70447
DENVER, CO 80209




BNY MELLON/SM 152-0544                     BO AMBROSE                               BO HICKMON
TRUST REAL ESTATE ADMIN                    10201 S. MAIN STREET                     10201 S. MAIN STREET
P.O. BOX 130                               HOUSTON, TX 77025                        HOUSTON, TX 77025
PITTSBURGH, PA 15230-0130




BO MORRIS                                  BOA 2004-2 HOMER ADAMS PARKWAY LLC       BOAKYE AGYEMANG
10201 S. MAIN STREET                       DTM REAL ESTATE SVCS LLC                 10201 S. MAIN STREET
HOUSTON, TX 77025                          P.O. BOX 776281                          HOUSTON, TX 77025
                                           CHICAGO, IL 60677




BOARD OF COUNTY COMMISSIONER               BOARD OF COUNTY SUPERVISORS              BOARD OF PUBLIC WORKS
ATTN: BUSINESS TAX DEPT                    PRINCE WILLIAM COUNTY VIRGINIA           210 E FREDERICK ST
PO BOX 3715                                1 COUNTY COMPLEX COURT                   GAFFNEY, SC 29340
WEST PALM BEACH, FL 33402                  PRINCE WILLIAM, VA 22192




BOARD OF PUBLIC WORKS                      BOARD OF WATER & LIGHT                   BOARD OF WATER SUPPLY
P.O. BOX 64                                P.O. BOX 13007                           630 S BERETANIA ST.
GAFFNEY, SC 29342                          LANSING, MI 48901-3007                   HONOLULU, HI 96843-0001




BOARDWALK INVESTMENTS, LLC                 BOB ALLEN                                BOB AUGUSTITUS
210 N BASSETT STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
MADISON, WI 53703                          HOUSTON, TX 77025                        HOUSTON, TX 77025




BOB CAPOZZI                                BOB CASTANO                              BOB CHAPMAN
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025




BOB CRADDOCK                               BOB FROEBER                              BOB GANNON
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025




BOB GORSICH                                BOB GREER                                BOB JOHNSON
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025




BOB KELLER                                 BOB KISIEL                               BOB LAFURNO
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025
BOB LAMONT             Case 18-12241-CSS     Doc 26
                                      BOB LEMOND         Filed 10/05/18   PageBOB
                                                                               176  of MIRA
                                                                                  MIRA 1739
                                      10201 S. MAIN STREET                    10201 S. MAIN STREET
                                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BOB MOORE                             BOB MUHLER                              BOB NIST
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1395-D HIGH POINT WAY NW
HOUSTON, TX 77025                     HOUSTON, TX 77025                       DELRAY BEACH, FL 33445




BOB OLEE FARMS INC                    BOB OLEE FARMS INC                      BOB O'LEE FARMS, INC.
5731 SINCLAIR RD                      C/O EQUITY LLC                          5731 SINCLAIR ROAD
COLUMBUS, OH 43229                    4653 TRUEMAN BLVD STE100                COLUMBUS, OH 43229
                                      HILLIARD, OH 43026




BOB O'LEE FARMS, INC.                 BOB POLAND                              BOB RHOADES
C/O EQUITY LLC                        10201 S. MAIN STREET                    10201 S. MAIN STREET
4653 TRUEMAN BLVD STE100              HOUSTON, TX 77025                       HOUSTON, TX 77025
HILLIARD, OH 43026




BOB RUSZKOWSKI                        BOB SCHMIDT                             BOB SCHNEPP
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BOB SELLERS                           BOB SHELBY                              BOB TAVERNA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BOB WHEELER                           BOB WHITE                               BOB WILKEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BOB WILLIAMS                          BOB YOUNG                               BOBAN ZIVOVIC
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BOBB LLC                              BOBBI ELKAMELY                          BOBBI JO WINNEBERGER
515 N STATE ST 2660                   5757 W HEFNER RD 213                    10201 S. MAIN STREET
CHICAGO, IL 60654                     OKLAHOMA CITY, OK 73162                 HOUSTON, TX 77025




BOBBI JO WINNEBERGER                  BOBBULLHEAD AZ LLC                      BOBBULLHEAD AZ LLC
10201 S. MAIN STREET                  C/O NORMAN BOBROW & CO., INC.           D/B/A NORMAN BOBROW & CO
HOUSTON, TX 77025                     ATTN: WAYNE BOBROW                      ATTN: WAYNE BOBROW
                                      488 MADISON AVE 19TH FL                 488 MADISON AVE 19TH FL
                                      NEW YORK, NY 10022                      NEW YORK, NY 10022
BOBBY ALLEN              Case 18-12241-CSS     Doc 26
                                        BOBBY BERRY        Filed 10/05/18   PageBOBBY
                                                                                 177 BLACKWELL
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




BOBBY BROKSCHMIDT                       BOBBY DUERR                             BOBBY EPSTEIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




BOBBY FOSTER                            BOBBY GOLDSMITH                         BOBBY KEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




BOBBY L DUCKWALL SR                     BOBBY MARTINEZ                          BOBBY MATHEW
397 CHALYBEATE RD APT A                 10201 S. MAIN STREET                    10201 S. MAIN STREET
SMITHS GROVE, KY 42171                  HOUSTON, TX 77025                       HOUSTON, TX 77025




BOBBY MCFARLAND                         BOBBY QUERAM                            BOBBY RICHARDSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




BOBBY STA ANA                           BOBBY STEPHENS                          BOBBY UTTAL
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




BOBBY WILDER                            BOBCRESTWOOD IL LLC                     BOBCRESTWOOD IL LLC
10201 S. MAIN STREET                    C/O NORMAN BOBROW & CO                  C/O NORMAN BOBROW & CO. INC.
HOUSTON, TX 77025                       ATTN: ZEV BOBROW                        ATTN: ZEV BOBROW
                                        488 MADISON AVE 19TH FLOOR              488 MADISON AVE 19TH FLOOR
                                        NEW YORK, NY 10022                      NEW YORK, NY 10022



BOBRI ROBERTS                           BOBS MASTER SAFE & LOCK INC             BOBTAIL EXPRESS
3507 20TH ST                            5631 MADISON AVE                        7820 W LITTLE YORK
LEWISTON, ID 83501                      INDIANAPOLIS, IN 46227                  HOUSTON, TX 77040




BOCA PARK PARCELS LLC                   BOCAR LY                                BOCC HILLSBOROUGH COUNTY WATER
9440 W SAHARA BLVD 240                  10201 S. MAIN STREET                    DEPT
LAS VEGAS, NV 89117                     HOUSTON, TX 77025                       P.O. BOX 342456
                                                                                TAMPA, FL 33694-2456




BOCC                                    BOCC                                    BODERICK EARL MCNEIL
OFFICE OF FIRE PREVENTION               P.O. BOX 342456                         904 WHITNEY CHASE
1040 S FLORIDA AVE                      TAMPA, FL 33694-2456                    STONE MOUNTAIN, GA 30088
ROCKLEDGE, FL 32955
BOGDAN CLINE            Case 18-12241-CSS     Doc 26
                                       BOGIN, MUNNS     Filed
                                                    & MUNNS,    10/05/18
                                                             P.A.            PageBOHDAN
                                                                                  178 ofYANIN
                                                                                         1739
10201 S. MAIN STREET                     ATTN: SPENCER R. MUNNS, ESQ.            10201 S. MAIN STREET
HOUSTON, TX 77025                        2601 TECHNOLOGY DRIVE                   HOUSTON, TX 77025
                                         ORLANDO, FL 32804




BOHLER ENGINEERING NY PLLC               BOHLER ENGINEERING                      BOILER ENTERPRISES LLP
2929 EXPRESSWAY DR N STE 120             35 TECHNOLOGY DR                        C/O BELLEAIR DEVELOPMENT
HAUPPAUGE, NY 11749                      WARREN, NJ 07059                        6654 78TH AVE N
                                                                                 PINELLAS PARK, FL 33782




BOISE CAPITAL PARTNERS II LLC            BOISE CITY UTILITY BILLING              BOISE CITY UTILITY BILLING
C/O THORNTON OLIVER KELLER               P.O. BOX 2600                           PO BOX 500
250 S FIFTH ST 2ND FLOOR                 BOISE, ID 83701-2600                    BOISE, ID 83701
BOISE, ID 83702




BOISE MALL LLC                           BOISE MALL LLC                          BOISE MALL LLC
GGP LIMITED PARTNERSHIP SDS 12           SELECT COMMERCIAL PROPERTY              SELECT COMMERCIAL PROPERTY
3074 PO BOX 86                           P.O. BOX 4067                           PO BOX 4067
MINNEAPOLIS, MN 55486                    BOISE, ID 83711                         BOISE, ID 83711




BOISE TOWNE SQUARE LP                    BOISE TOWNE SQUARE LP                   BOISE TOWNE SQUARE LP
C/O BROOKFIELD PROPERTIES                COMMERCIAL PROPERTY SERVICES LLC        P.O. BOX 5600
350 NORTH ORLEANS, STE 300               P.O. BOX 4067                           BISMARCK, ND 58506-5600
CHICAGO, IL 60654-1607                   BOISE, ID 83711




BOISE TOWNE SQUARE, LP                   BOISE TOWNE SQUARE, LP                  BOISE TOWNE SQUARE, LP
ATTN: MARIA DIMARUCUT                    C/O SELECT PROPERTIES LLC               COMMERCIAL PROPERTY SERVICES LLC
P.O. BOX 7250                            P.O. BOX 4067                           P.O. BOX 4067
NEWPORT BEACH, CA 92658                  ATTN: LINDA B. COCKERHAM                BOISE, ID 83711
                                         BOISE, ID 83711



BOLD ENTERPRISES                         BONANZA, INC.                           BONAVISTA MANAGEMENT, LLC
3540 W NEW HAVEN                         WYNDI DEBES, EXECUTIVE DIRECTOR         950 N. 72ND STREET, SUITE 100
WEST MELBOURNE, FL 32904                 3500 N. ROCK RD., BLDG 1000             SEATTLE, WA 98103
                                         WICHITA, KS 67226




BOND CC OAKLAND LLC                      BOND STREET FUND 1 LLC                  BOND STREET FUND 10 LLC
D/B/A BOND TOUHY LLC                     C/O ROI PROPERTY MANAGERS LLC           909 MONTGOMERY ST STE 200
350 W HUBBARD ST STE 450                 300 E COFFEE ST                         SAN FRANCISCO, CA 94133
CHICAGO, IL 60654                        GREENVILLE, SC 29601




BOND STREET FUND 10 LLC                  BOND STREET FUND 11 LLC                 BOND STREET FUND 11 LLC
C/O BOND STREET MANAGEMENT GROUP,        909 MONTGOMERY ST STE 200               C/O BOND STREET MANAGEMENT GROUP,
LLC                                      SAN FRANCISCO, CA 94133                 LLC
701 EAST BAY STREET, SUITE 515                                                   701 EAST BAY STREET, SUITE 515
CHARLESTON, SC 29403                                                             CHARLESTON, SC 29403



BOND STREET FUND 12 LLC                  BOND STREET FUND 12, LLC                BOND STREET FUND 5 LLC
C/O BOND STREET MANAGEMENT GROUP,        C/O BOND STREET MANAGEMENT GROUP,       909 MONTGOMERY ST STE 200
LLC                                      LLC                                     SAN FRANCISCO, CA 94133
701 EAST BAY STREET, SUITE 515           701 EAST BAY STREET, SUITE 515
CHARLESTON, SC 29403                     CHARLESTON, SC 29403
BOND STREET FUND 5 LLC Case 18-12241-CSS     Doc 26
                                      BOND STREET       Filed
                                                  FUND 5, LLC 10/05/18     PageBOND
                                                                                179STREET
                                                                                    of 1739
                                                                                          FUND 5, LLC
C/O BOND STREET MANAGEMENT GROUP,     909 MONTGOMERY ST STE 200                C/O BOND STREET MANAGEMENT GROUP,
LLC                                   SAN FRANCISCO, CA 94133                  LLC
701 EAST BAY STREET, SUITE 515                                                 701 EAST BAY STREET, SUITE 515
CHARLESTON, SC 29403                                                           CHARLESTON, SC 29403



BOND STREET FUND 8 LLC                 BOND STREET FUND 8, LLC                 BOND STREET MANAGEMENT GROUP, LLC
C/O BOND STREET MANAGEMENT GROUP,      C/O BOND STREET MANAGEMENT GROUP,       C/O BOND STREET MANAGEMENT GROUP,
LLC                                    LLC                                     LLC
701 EAST BAY STREET, SUITE 515         701 EAST BAY STREET, SUITE 515          701 EAST BAY STREET, SUITE 515
CHARLESTON, SC 29403                   CHARLESTON, SC 29403                    CHARLESTON, SC 29403



BONIAL ENTERPRISES NORTH AMERICA INC   BONIFACE OGBA                           BONITA R BECKER
525 W MONROE ST STE 510                10201 S. MAIN STREET                    523 S SUZANNE ST
CHICAGO, IL 60661                      HOUSTON, TX 77025                       RIDGECREST, CA 93555




BONITA SPRINGS UTILITIES INC           BONITA SPRINGS UTILITIES INC            BONNETT FAIRBOURN FRIEDMAN & BALINT,
11900 E TERRY ST                       P.O. BOX 11689                          PC
BONITA SPRINGS, FL 34135               NAPLES, FL 34101-1689                   ATTN: MIKE WIDENER, ESQ.
                                                                               2901 N. CENTRAL AVENUE, SUITE 1000
                                                                               PHOENIX, AZ 85012



BONNEVILLE BILLING & COLLECTIONS       BONNEVILLE DENVER                       BONNEVILLE DENVER
P.O. BOX 150621                        7800 E ORCHARD RD                       KKFN-FM
OGDEN, UT 84415                        GREENWOOD VILLAGE, CO 80111             P.O. BOX 1160
                                                                               SALT LAKE CITY, UT 84110-1160




BONNEVILLE DENVER                      BONNEVILLE DENVER                       BONNEVILLE INTERNATIONAL CORP
KOSI-FM                                KYGO-FM                                 KRSP-FM
P.O. BOX 1160                          P.O. BOX 1160                           P.O. BOX 1160
SALT LAKE CITY, UT 84110-1160          SALT LAKE CITY, UT 84110-1160           SALT LAKE CITY, UT 84110-1160




BONNEVILLE INTERNATIONAL CORP          BONNEVILLE INTERNATIONAL CORP           BONNEVILLE SEATTLE
KSFI-FM                                P.O. BOX 1160                           1820 EASTLAKE AVE E
P.O. BOX 1160                          SALT LAKE CITY, UT 84110-1160           SEATTLE, WA 98102-3711
SALT LAKE CITY, UT 84110-1160




BONNEYS CORNER ASSOCIATES LLP          BONNEY'S CORNER ASSOCIATES, LLP         BONNI FRANZ
999 WATERSIDE DR STE 1400              C/O HARVEY LINDSAY COMMERCIAL RE        10201 S. MAIN STREET
NORFOLK, VA 23510-3300                 999 WATERSIDE DRIVE, SUITE 1400         HOUSTON, TX 77025
                                       NORFOLK, VA 23510-3300




BONNIE ANTHONY                         BONNIE AUTRY                            BONNIE EDDINGER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    P.O. BOX 82
HOUSTON, TX 77025                      HOUSTON, TX 77025                       WALDENBURG, AR 72475




BONNIE LA MORI                         BONNIE ZELDIN                           BONNITIA SMITH-SANCHEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
BOOKS-A-MILLION INC.    Case 18-12241-CSS    Doc 26COLLECTOR
                                       BOONE COUNTY   Filed 10/05/18           PageBOONE
                                                                                    180 of 1739COLLECTOR
                                                                                         COUNTY
ATTN: KIM JONES                        ATTN: INCOME TAX DEPT.                      ATTN: PROPERTY TAX DEPT.
402 INDUSTRIAL LANE                    801 EAST WALNUT RM 118                      801 EAST WALNUT RM 118
BIRMINGHAM, AL 35211                   COLUMBIA, MO 65201-4890                     COLUMBIA, MO 65201-4890




BOONE COUNTY FISCAL COURT              BOONE COUNTY FISCAL COURT                   BOONE COUNTY SHERIFFS DEPARTMENT
C/O OCCUPATIONAL LICENSE DEPT          P.O. BOX 457                                ATTN: MICHAEL A. HELMIG
P.O. BOX 457                           FLORENCE, KY 41022-0457                     P.O. BOX 198
FLORENCE, KY 41022                                                                 BURLINGTON, KY 41005




BOONE COUNTY                           BOONES LANDSCAPING LLC                      BOONES LANDSCAPING LLC
ROGER B WILSON BOONE CTY GOV CTR       2203 NICHOLAS CROSSING                      P.O. BOX 563
801 EAST WALNUT RM 118                 CONROE, TX 77304                            CONROE, TX 77305
COLUMBIA, MO 65201-4890




BOONTON INVESTORS LLC                  BOONTON INVESTORS LLC                       BOONTOON INVESTORS, LLC
820 MORRIS TURNPIKE                    P.O. BOX 746                                820 MORRIS TURNPIKE
SHORT HILLS, NJ 07078                  SHORT HILLS, NJ 07078                       SHORT HILLS, NJ 07078




BOOST MEDIA                            BOOTIE SHOE COVER INC.                      BOOZ CANTAVE
237 KEARNY ST 387                      5616 N.E. 55TH CIRCLE                       10201 S. MAIN STREET
SAN FRANCISCO, CA 94108                VANCOUVER, WA 98661                         HOUSTON, TX 77025




BOP DENTON PLAZA LLC                   BOP DENTON PLAZA LLC                        BOPHA BUN
REF: DP159                             REF: DP159                                  10201 S. MAIN STREET
2328 W JOPPA RD STE 200                2328 W JOPPA RD STE 200                     HOUSTON, TX 77025
LUTHERVILLE TIMONIUM, MD 21093         LUTHERVILLE, MD 21093




BORAAM INSUSTRIES INC                  BORDENTOWN SEWERAGE AUTHORITY               BORDENTOWN SEWERAGE AUTHORITY
IL 60060                               954 FARNSWORTH AVE                          P.O. BOX 396
                                       BORDENTOWN, NJ 08505                        BORDENTOWN, NJ 08505




BORIS FERNANDEZ                        BORIS H. FAVOR DBA SUMTER DEL SRV LLC       BORIS TAPIA
10201 S. MAIN STREET                   350 SEMINOLE RD                             10201 S. MAIN STREET
HOUSTON, TX 77025                      SUMTER, SC 29150                            HOUSTON, TX 77025




BOROUGH OF BROOKHAVEN                  BOROUGH OF BROOKHAVEN-TAX                   BOROUGH OF BUTLER ELECTRIC
C/O MRRS LLC                           COLLECTION                                  1 ACE ROAD
P.O. BOX 1391                          504 CAMELOT DR                              BUTLER, NJ 07405
MEDIA, PA 19063                        BROOKHAVEN, PA 19015-1504




BOROUGH OF CHAMBERSBURG                BOROUGH OF CHAMBERSBURG                     BOROUGH OF CHAMBERSBURG
100 S SECOND ST                        100 SOUTH SECOND ST                         P.O. BOX 1009
P. O. BOX 1009                         CHAMBERSBURG, PA 17201                      CHAMBERSBURG, PA 17201-0909
CHAMBERSBURG, PA 17201
BOROUGH OF EATONTOWNCase     18-12241-CSS    Doc
                                       BOROUGH    26 Filed 10/05/18
                                               OF GLASSBORO               PageBOROUGH
                                                                               181 of OF
                                                                                      1739
                                                                                         GLASSBORO
MERCANTILE LICENSE                     1 SOUTH MAIN ST                        ATTN: TAWANA BRYANT
47 BROAD ST                            GLASSBORO, NJ 08028-2592               1 SOUTH MAIN ST
EATONTOWN, NJ 07724                                                           GLASSBORO, NJ 08028-2592




BOROUGH OF HANOVER                     BOROUGH OF HASBROUCK HEIGHTS           BOROUGH OF HOMESTEAD
44 FREDERICK ST                        ATTN: CONCHITA PARKER-CTC              221 E 7TH AVE
HANOVER, PA 17331                      320 BOULEVARD                          HOMESTEAD, PA 15120
                                       HASBROUCK HEIGHTS, NJ 07604




BOROUGH OF IRWIN                       BOROUGH OF KINNELON SEWER UTIL         BOROUGH OF KINNELON SEWER UTIL
424 MAIN STREET                        130 KINNELON RD                        130 KINNELON ROAD
IRWIN, PA 15642                        KINNELON, NJ 07405                     KINNELON, NJ 07405




BOROUGH OF LANSDALE                    BOROUGH OF LANSDALE                    BOROUGH OF LAWNSIDE
1 VINE ST, STE 201                     CODE ENFORCEMENT                       4 DR MLK JR RD
LANSDALE, PA 19446                     1 VINE ST STE 201                      LAWNSIDE, NJ 08045
                                       LANSDALE, PA 19446




BOROUGH OF MORRIS PLAINS               BOROUGH OF PARAMUS                     BOROUGH OF PLEASANT HILLS TAX
ATTN: FIRE MARSHAL-FIRE PREV. BUREAU   FIRE PREVENTION BUREAU                 COLLECTOR
531 SPEEDWELL AVE                      1 JOCKISH SQUARE                       P.O. BOX 10931
MORRIS PLAINS, NJ 07950                PARAMUS, NJ 07652                      PITTSBURGH, PA 15236




BOROUGH OF PLEASANT HILLS              BOROUGH OF PLEASANT HILLS-ZONING       BOROUGH OF QUAKERTOWN
P.O. BOX 10931                         DEPT                                   35 N THIRD ST
PITTSBURGH, PA 15236                   410 E BRUCETON RD                      QUAKERTOWN, PA 18951
                                       PITTSBURGH, PA 15236




BOROUGH OF QUAKERTOWN                  BOROUGH OF SHREWSBURY-CLERK            BOROUGH OF SOMERVILLE
CODE ENFORCEMENT                       419 SYCAMORE AVE                       BOROUGH HALL
35 N THIRD ST                          SHREWSBURY, NJ 07702                   25 W END AVE
QUAKERTOWN, PA 18951                                                          SOMERVILLE, NJ 08876




BOROUGH OF SOMERVILLE                  BOROUGH OF TOTOWA                      BOROUGH OF TOTOWA
BUREAU OF FIRE PREVENTION              537 TOTOWA RD AT CHERBA PLACE          MUNICIPAL BUILDING
25 WEST END AVE                        TOTOWA, NJ 07515                       537 TOTOWA ROAD
SOMERVILLE, NJ 08876                                                          TOTOWA, NJ 07512




BOROUGH OF WATCHUNG                    BOROUGH OF WEST MIFFLIN                BOROUGH OF WESTWOOD
BUREAU OF FIRE PREVENTION              LEGAL TAX SERVICE INC                  FIRE PREVENTION BUREAU
15 MOUNTAIN BLVD                       1020 LEBANON RD                        101 WASHINGTON AVE
WATCHUNG, NJ 07069                     WEST MIFFLIN, PA 15122                 WESTWOOD, NJ 07675




BOROUGH OF WOODLAND PARK               BORY DORK                              BOS RETAIL 1 LLC
BUREAU OF FIRE PREVENTION              10201 S. MAIN STREET                   C/O NATIONAL DEVELOPMENT
5 BROPHY LANE                          HOUSTON, TX 77025                      2310 WASHINGTON ST
WOODLAND PARK, NJ 07424                                                       NEWTON, MA 02462
BOS RETAIL 1 LLC      Case      18-12241-CSS     DocI, LLC
                                          BOS RETAIL   26     Filed 10/05/18    PageBOSSIER
                                                                                     182 ofCITY
                                                                                            1739- PARISH
C/O NATIONAL DEVELOPMENT                   C/O ZURICH ALTERNATIVE ASSET MGMT         ATTN: SALES & USE TAX DEPT.
2310 WASHINGTON ST                         150 GREENWICH STREET - 4 WTC 52ND         P.O. BOX 71313
NEWTON, MA 02462                           FLOOR                                     BOSSIER CITY, LA 71171-1313
                                           ATTN: ASSET MANAGEMENT
                                           NEW YORK, NY 10007


BOSSIER CITY - PARISH                      BOSSIER CITY UTILITIES DEPT               BOSSIER CITY UTILITIES DEPT
P.O. BOX 71313                             3223 OLD SHED RD                          P.O. BOX 5337
BOSSIER CITY, LA 71171-1313                BOSSIER CITY, LA 71111                    BOSSIER CITY, LA 71171-5337




BOSSIER PARISH SHERIFF                     BOSSTON PROWELL                           BOSTER, DEREK
PROPERTY TAX DEPT                          10201 S. MAIN STREET                      7461 DAYTONA STREET, #5
P.O. BOX 850                               HOUSTON, TX 77025                         LEMON GROVE, CA 91945
BENTON, LA 71006-0850




BOSTON ARTIFICIAL LIMB CO INC              BOSTON BARRICADE COMPANY                  BOSTON BRICE
44 MIDDLESEX TURNPIKE                      1161 19TH ST                              10201 S. MAIN STREET
BURLINGTON, MA 01803                       VERO BEACH, FL 32960                      HOUSTON, TX 77025




BOSTON HERALD INC                          BOSTON HERALD                             BOSTON MATHIS
THE BOSTON HERALD                          P.O. BOX 55843                            10201 S. MAIN STREET
70 FARGO ST STE 600                        BOSTON, MA 02205-5843                     HOUSTON, TX 77025
BOSTON, MA 02210-2142




BOSTON PRIVATE BANK & TRUST CO -           BOSTON PRIVATE BANK & TRUST CO            BOSTON PRIVATE BANK & TRUST CO
TRUSTEE                                    160 BOVET ROAD SUITE 220                  TRUSTEE FOR JEAN LE ROY TRUST
TRUSTEE FOR JEAN LE ROY TRUST              SAN MATEO, CA 94402                       P.O. BOX 5197
P.O. BOX 5197                                                                        SAN MATEO, CA 94402
SAN MATEO, CA 94402



BOSTON TRADER 2121 LLC                     BOSTON TRADER 2121, LLC                   BOSTON TRADER 2121, LLC
DIVERSIFIED REALTY CO                      ATTN: CHAD MAXEY                          DIVERSIFIED REALTY CO
6300 NE 1 AVE STE 100                      4303 FIRST TERRACE, SUITE 2               6300 NE 1 AVE STE 100
FORT LAUDERDALE, FL 33334                  OAKLAND PARK, FL 33334                    FORT LAUDERDALE, FL 33334




BOSTON TRAILER LLC                         BOSTON WTR AND SWR COMMISSION             BOSTON WTR AND SWR COMMISSION
635 MANLEY ST                              980 HARRISON AVE                          P.O. BOX 55466
WEST BRIDGEWATER, MA 02379                 BOSTON, MA 02119                          BOSTON, MA 02205-5466




BOSTON                                     BOULDER CNTY FAIR LIVESTOCK SHOW &        BOULDER COUNTY TREASURER
ATTN: PROPERTY TAX DEPT.                   RODEO                                     P.O. BOX 471
P.O. BOX 9715                              9595 NELSON RD STE 200                    BOULDER, CO 80306-0471
BOSTON, MA 02114                           LONGMONT, CO 80501




BOULDER                                    BOULEVARD SHOPS CORPORATION               BOULEVARD SHOPS CORPORATION
ATTN: PROPERTY TAX DEPT.                   C/O ROSENTHAL PROPERTIES LLC              C/O ROSENTHAL PROPERTIES, LLC
P.O. BOX 791                               1945 OLD GALLOWS RD STE 300               1945 OLD GALLOWS RD, SUITE 300
BOULDER, CO 80302                          VIENNA, VA 22182                          VIENNA, VA 22182
                       Case
BOURKE, FLANAGAN & ASATO   P.C.   18-12241-CSS
                                            BOUSEHDoc 26
                                                  BORDA        Filed 10/05/18    PageBOUTIQUE
                                                                                      183 of 1739
                                                                                              DESIGN NY
ATTN: KERIN REA GUIDERA, ESQ.               28517 SANTA CATARINA RD                  C/O HOSPITALITY MEDIA GROUP A/R
21 SOUTH MAIN STREET                        SANTA CLARITA, CA 91350                  11262 CORNELL PARK DR
SOUTHAMPTON, NY 11968                                                                CINCINNATI, OH 45242




BOWLES VILLAGE CENTER                       BOWLING GREEN MUNI UTILITIES             BOWLING GREEN MUNI UTILITIES
C/O JORDAN PERLMUTTER & CO                  801 CENTER ST                            P.O. BOX 10360
PO BOX 480070                               PO BOX 10300                             BOWLING GREEN, KY 42102-0360
DENVER, CO 80202                            BOWLING GREEN, KY 42102-7300




BOWLING GREEN MUNICIPAL UTILITIES           BOWMAN LANDSCAPE SERVICES                BOWMANS LAWN SERVICE INC
P.O. BOX 10300                              1509 COOPER FALLS LN                     6209 REIN ST
BOWLING GREEN, KY 42101                     RALEIGH, NC 27614                        RALEIGH, NC 27613




BOWSER AUTOMOTIVE INC                       BOX INC                                  BOX INC
251 CLAIRTON BLVD                           900 JEFFERSON AVE                        DEPT 34666
PITTSBURGH, PA 15236-1401                   REDWOOD CITY, CA 94063                   P.O. BOX 39000
                                                                                     SAN FRANCISCO, CA 94139




BOXVALE ASSOCIATES                          BOXVALE ASSOCIATES                       BOY SCOUT TROOP 204
C/O S.W. BAJUS, LTD                         C/O S.W. BAJUS, LTD                      P.O. BOX 880
ATTN: STEPHEN W. BAJUS                      ATTN: STEPHEN W. BAJUS                   LA GRANGE, TX 78945
595 EAST LANCASTER AVE, SUITE 303           595 EAST LANCASTER AVE, SUITE 303
ST. DAVIDS, PA 19087                        WAYNE, PA 19087



BOYD FLOTATION INC                          BOYD FLOTATION INC                       BOYD MAYES
D/B/A BOYD SPECIALTY SLEEP                  D/B/A BOYD SPECIALTY SLEEP               10201 S. MAIN STREET
2440 ADIE RD                                P.O. BOX 840001                          HOUSTON, TX 77025
MARYLAND HEIGHTS, MO 63043                  KANSAS CITY, MO 64184-0001




BOYD SPECIALTY SLEEP                        BOYD SPECIALTY SLEEP                     BOYER LAKE POINTE LC
2440 ADIE ROAD                              P.O. BOX 840001                          101 SOUTH 200 EAST STE 200
MARYLAND HEIGHTS, MO 63043                  KANSAS CITY, MO 64184-0001               SALT LAKE CITY, UT 84111-3104




BOYER LAKE POINTE LC                        BOYER LAKE POINTE LC                     BOYER LAKE POINTE LC
90 SOUTH 400 WEST STE 200                   C/O THE BOYER COMPANY                    C/O THE BOYER COMPANY
SALT LAKE CITY, UT 84101                    90 SOUTH 400 WEST, SUITE 200             90 SOUTH 400 WEST, SUITE 200
                                            ATTN: JOLENE RASMUSSEN                   ATTN: SCOTT VERHAAREN
                                            SALT LAKE CITY, UT 84101                 SALT LAKE CITY, UT 84101



BOYER PROPERTIES, INC.                      BOYLE INVESTMENT COMPANY                 BOYLE INVESTMENT COMPANY
9901 EXPRESS DRIVE                          ATTN: GRANT KINNETT                      ATTN: TRACY SINNOTT
HIGHLAND, IN 46322                          2000 MERIDIAN BOULEVARD, SUITE 250       2000 MERIDIAN BOULEVARD, SUITE 250
                                            FRANKLIN, TN 37067                       FRANKLIN, TN 37067




BOYNTON BEACH FIRE RESCUE                   BOYNTON PLAZA SHOPPING CENTER INC        BOZZUTO MANAGEMENT CO.
C/O CITY OF BOYNTON BEACH                   1600 NE MIAMI GARDENS DR                 6406 IVY LANE, STE 700
ATTN: FIRE INSPECTION FEES                  ATTN LEGAL DEPT                          ATTN: PROPERTY MGR 1301 U STREET NW
PO BOX 310                                  NORTH MIAMI BEACH, FL 33179              GREENBELT, MD 20770
BOYNTON BEACH, FL 33425-0310
BOZZUTO MANAGEMENT CO.Case     18-12241-CSS     Doc
                                         BP BARRY    26LLC Filed 10/05/18
                                                  ROAD                          PageBP184 of ROAD
                                                                                       BARRY 1739LLC
6870 RICHMOND HIGHWAY                     14553 SHERWOOD STREET                     C/O RUBENSTEIN REAL ESTATE CO LC
ALEXANDRIA, VA 22306                      LEAWOOD, KS 66224                         6310 LAMAR STE 220
                                                                                    OVERLAND PARK, KS 66202




BP BARRY ROAD, LLC                        BP BARRY ROAD, LLC                        BP BARRY ROAD, LLC
14553 SHERWOOD STREET                     C/O RUBENSTEIN REAL ESTATE CO., LC        C/O RUBENSTEIN REAL ESTATE CO., LC
LEAWOOD, KS 66224                         6310 LAMAR SUITE 220                      6310 LAMAR SUITE 220
                                          OVERLAND PARK, KS 66202                   OVERLAND PARK, KS 66283




BP ENVIRONMENTAL SERVICE INC              BP ENVIRONMENTAL SERVICES INC             BP SWC 22ND AND HARRISON LLC
P.O. BOX 188                              P.O. BOX 188                              3915 E BROADWAY BLVD 1ST FL
CHALFONT, PA 18914                        CHALFONT, PA 18914                        TUCSON, AZ 85711




BP SWC 22ND AND HARRISON LLC              BPP-1, LLC                                B-PRIME REALTY LLC
ATTN: PROPERTY MNGR 22ND HARRISON         C/O VISTA PROPERTY COMPANY, LLC           825 BEACON ST, STE 1
3915 E BROADWAY BLVD 1ST FL               8350 NORTH CENTRAL EXPY, SUITE 1750       NEWTON CENTRE, MA 02459-1834
TUCSON, AZ 85711                          DALLAS, TX 75206




B-PRIME REALTY LLC                        B-PRIME REALTY LLC                        BPSH LLC
C/O INVESTMENT PROPERTIES LTD             C/O INVESTMENT PROPERTIES LTD             8200 ROBERTS DR STE 150
825 BEACON STREET, SUITE 1                825 BEACON STREET, SUITE 1                ATLANTA, GA 30350
ATTN: ROBERT WALSH                        ATTN: ROBERT WALSH
NEWTON CENTRE, MA 02459                   NEWTON CENTRE, MA 02459-1834



BRACKSTEN PAYNE-CASTRO                    BRAD BAILEY                               BRAD BARBER
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025




BRAD BENTLEY                              BRAD CARY                                 BRAD CONWAY
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025




BRAD COX                                  BRAD CULBERSON                            BRAD ELSOM
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025




BRAD FARQUHAR                             BRAD FREEMAN                              BRAD GRAHAM
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025




BRAD GREEN                                BRAD HOLLINGSWORTH                        BRAD HOWARD
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025
BRAD KEEN              Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      BRAD LANCASTER                 PageBRAD
                                                                          185MCKINNEY
                                                                              of 1739
                                      10201 S. MAIN STREET               10201 S. MAIN STREET
                                      HOUSTON, TX 77025                  HOUSTON, TX 77025




BRAD MORRIS                           BRAD NERHEIM                       BRAD ROBINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRAD ROGERS                           BRAD RUHLAND                       BRAD SCHONERT
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRAD SHEEHAN                          BRAD SOMMERSET                     BRAD STUART
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRAD UNDERWOOD                        BRAD VETSCH                        BRAD WELBOURNE
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRAD WELBOURNE                        BRAD WILSON                        BRAD WOODS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRADDOCK & LOGAN VENTURE GRP          BRADEN PROPS                       BRADEN WOOLDRIDGE
EVERGREEN MGMT GRP                    10201 S. MAIN STREET               10201 S. MAIN STREET
P.O. BOX 1751                         HOUSTON, TX 77025                  HOUSTON, TX 77025
DANVILLE, CA 94526-6755




BRADENTON HERALD INC                  BRADENTON HERALD                   BRADFORD MANAGEMENT
102 MANATEE AVE WEST                  P.O. BOX 921                       PNC BANK LOCKBOX 676488
P.O. BOX 921                          BRADENTON, FL 34206-0921           1200 EAST CAMPBELL RD STE 108
BRADENTON, FL 34206                                                      RICHARDSON, TX 75081




BRADFORD SCHILLER                     BRADFORD STEELE                    BRADFORD VERNON IV, LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET               30 S. WACKER DRIVE, SUITE 2850
HOUSTON, TX 77025                     HOUSTON, TX 77025                  CHICAGO, IL 60606




BRADLEY ARANT BOULT CUMMINGS LLP      BRADLEY AUSTIN                     BRADLEY BAKER
1600 DIVISION STREET, STE 700         10201 S. MAIN STREET               7703 CLARK DR
NASHVILLE, TN 37203                   HOUSTON, TX 77025                  CORINTH, TX 76210
BRADLEY BECK           Case 18-12241-CSS    Doc
                                      BRADLEY    26 Filed 10/05/18
                                              BENDELE                         PageBRADLEY
                                                                                   186 ofBLATTER
                                                                                          1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




BRADLEY BORDEN                        BRADLEY BROWN                               BRADLEY C AUSTIN DBA AUSTIN DELIVERY
10201 S. MAIN STREET                  10201 S. MAIN STREET                        401 MONUMENT RD APT 86
HOUSTON, TX 77025                     HOUSTON, TX 77025                           JACKSONVILLE, FL 32225




BRADLEY CAMPBELL                      BRADLEY COMPANY                             BRADLEY COMPANY
10201 S. MAIN STREET                  112 W. JEFFERSON BOULEVARD, SUITE 300       STANLEY PHILLIPS
HOUSTON, TX 77025                     SOUTH BEND, IN 46601                        111 E. LUDWIG ROAD, SUITE 101
                                                                                  FORT WAYNE, IN 46825




BRADLEY COUNTY TRUSTEE                BRADLEY DULL                                BRADLEY ELZEN
155 NORTH OCOEE ST RM 104             10201 S. MAIN STREET                        10201 S. MAIN STREET
CLEVELAND, TN 37311-5068              HOUSTON, TX 77025                           HOUSTON, TX 77025




BRADLEY FRIEDBERG                     BRADLEY GREEN                               BRADLEY HOOKS
10201 S. MAIN STREET                  10201 S. MAIN STREET                        4838 PLEASANT PLAINS DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                           FRIENDSWOOD, TX 77546




BRADLEY HURST                         BRADLEY J ANDERSON                          BRADLEY J BAUMGART
10201 S. MAIN STREET                  811 NW BOULDER POINT PLACE                  9980 HEMLOCK
HOUSTON, TX 77025                     ANKENY, IA 50023                            OVERLAND PARK, KS 66212




BRADLEY JONES                         BRADLEY KEEN                                BRADLEY KEEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




BRADLEY KNAPP                         BRADLEY MADDOX                              BRADLEY MCCURDY
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




BRADLEY MCDADE                        BRADLEY MCQUEARY                            BRADLEY MOON
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




BRADLEY POPE                          BRADLEY RAMMER                              BRADLEY REYNOLDS
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025
BRADLEY ROBBINS        Case 18-12241-CSS    Doc
                                      BRADLEY    26 Filed 10/05/18
                                              ROBINSON                     PageBRADLEY
                                                                                187 ofROOT
                                                                                       1739
10201 S. MAIN STREET                                                           10201 S. MAIN STREET
HOUSTON, TX 77025                                                              HOUSTON, TX 77025




BRADLEY SOUTHERN                      BRADLEY SPANN                            BRADLEY SPEAKMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




BRADLEY STOTT                         BRADLEY TARATOOT ROBERT OHAYON & R       BRADLEY TOLER
10201 S. MAIN STREET                  CLARK                                    10201 S. MAIN STREET
HOUSTON, TX 77025                     ATTN: BRAD TARATOOT                      HOUSTON, TX 77025
                                      1562 LENOX ROAD
                                      ATLANTA, GA 30306



BRADLEY VAN VOORHIS                   BRADLEY VANHOY                           BRADLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                     ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                     HOUSTON, TX 77025                        155 NORTH OCOEE ST RM 104
                                                                               CLEVELAND, TN 37311-5068




BRADLY COVINGTON                      BRADON DOCTOR                            BRADSHAW MOUNTAIN ENVIRONMENTAL
10201 S. MAIN STREET                  10201 S. MAIN STREET                     INC.
HOUSTON, TX 77025                     HOUSTON, TX 77025                        505 W MCDOWELL RD.
                                                                               BLDG A
                                                                               PHOENIX, AZ 85003



BRADY ARNDT                           BRADY GEHRET                             BRADY HARTUNG
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




BRADY SCHRANK                         BRADY SLAASTED                           BRAIN MCCAIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




BRAINARD DEVELOPMENT LLC              BRAINARD DEVELOPMENT LLC                 BRAINARD DEVELOPMENT, LLC
P.O. BOX 30938                        P.O. BOX 30938                           C/O CRESCENDO COMMERCIAL
CLEVELAND, OH 44130                   MIDDLEBURG HEIGHTS, OH 44130             6929 WEST 130TH STREET
                                                                               CLEVELAND, OH 44130




BRAINARD DEVELOPMENT, LLC             BRAINTREE ELECTRIC LIGHT DEPT            BRAINTREE ELECTRIC LIGHT DEPT
P.O. BOX 30938                        150 POTTER RD                            P.O. BOX 859180
MIDDLEBURG HEIGHTS, OH 44130          BRAINTREE, MA 02184                      BRAINTREE, MA 02185-9180




BRAINTREE WATER AND SEWER             BRAINTREE WATER AND SEWER                BRAINYAK INC
150 POTTER RD                         P.O. BOX 850637                          D/B/A GUTCHECK
BRAINTREE, MA 02184                   BRAINTREE, MA 02185-0637                 633 17TH ST STE 1300
                                                                               DENVER, CO 80202
BRAITHWAITE GLOBAL INC   Case 18-12241-CSS
                                        BRAKERDoc 26 LP Filed 10/05/18
                                              DOMAIN                          PageBRAKER
                                                                                   188 ofDOMAIN
                                                                                          1739 LP
P.O. BOX 538042                          5950 BERKSHIRE LN STE 200                C/O PELOTON COMMERCIAL R E
ATLANTA, GA 30353-8029                   DALLAS, TX 75225                         221 W SIXTH ST STE 100
                                                                                  AUSTIN, TX 78701




BRANCH ARCHITECTURAL LAB LLC             BRANCH BARTLETT ASSOCIATES LP            BRANCH BARTLETT ASSOCIATES LP
D/B/A L P ARCHITECTURE                   C/O BRANCH PROPERTIES, LLC               C/O BRANCH RETAIL PARTNERS LP
2138 N. CLEVELAND MASSILLON RD.          3340 PEACHTREE ROAD, NE, SUITE 600       DEPT 7048
AKRON, OH 44333                          ATLANTA, GA 30326                        P.O. BOX 740209
                                                                                  ATLANTA, GA 30374



BRANCH BARTLETT ASSOCIATES, LP           BRANCH BARTLETT ASSOCIATES, LP           BRANCH PROPERTIES, LLC
C/O BRANCH PROPERTIES, LLC               C/O BRANCH RETAIL PARTNERS LP            ATTN: KATRINA GRIGGS
3340 PEACHTREE ROAD, NE, SUITE 600       DEPT 7048                                3340 PEACHTREE ROAD, NE, SUITE 600
ATLANTA, GA 30326                        P.O. BOX 740209                          ATLANTA, GA 30326
                                         ATLANTA, GA 30374



BRAND REGISTRATION OFFICE UG             BRANDAN CONNER                           BRANDED CITIES PHOENIX LLC
CO ID US819895                           10201 S. MAIN STREET                     2850 E CAMELBACK RD STE 110
20 F ST 7TH FL                           HOUSTON, TX 77025                        PHOENIX, AZ 85016
WASHINGTON, DC 20001




BRANDEE BAKER                            BRANDEE DENTON                           BRANDEE HUGHEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




BRANDEN AZIZEH                           BRANDEN CONDY                            BRANDEN ROSS
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




BRANDEN SCHULZE                          BRANDEN TAGALAN                          BRANDENN THOMPSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




BRANDI COLVIN                            BRANDI HAYES                             BRANDI LEA PATTON
2216 PECK ST                             10201 S. MAIN STREET                     3206 44TH ST
MUSKEGON HEIGHTS, MI 49444               HOUSTON, TX 77025                        LUBBOCK, TX 79413




BRANDI MORRIS                            BRANDI NICOLE                            BRANDI OFFT
D/B/A WEAVER CREEK APARTMENTS LLC        10201 S. MAIN STREET                     10201 S. MAIN STREET
5100 S MAIN AVE                          HOUSTON, TX 77025                        HOUSTON, TX 77025
SPRINGFIELD, MO 65810




BRANDI PERRY                             BRANDI RASCOE                            BRANDI REEDY-MANLEY
504 CASTLEWOOD DR                        10201 S. MAIN STREET                     10201 S. MAIN STREET
MC KINNEY, TX 75071                      HOUSTON, TX 77025                        HOUSTON, TX 77025
BRANDI SCHUTT          Case 18-12241-CSS     Doc 26
                                      BRANDI SCHUTT      Filed 10/05/18   PageBRANDI
                                                                               189 of  1739
                                                                                     WILLIAMS
3051 EAGLE ST                         D/B/A THOUGHTS BY B                     10201 S. MAIN STREET
SAN DIEGO, CA 92103                   3051 EAGLE ST                           HOUSTON, TX 77025
                                      SAN DIEGO, CA 92103




BRANDI WRIGHT                         BRANDICE BAYLY                          BRANDICE HORNE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRANDIE COX                           BRANDOLYN MACK                          BRANDON A RIDDLE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    250 SPRING BROOK DRIVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       MANSFIELD, TX 76063




BRANDON ANDERSON                      BRANDON ANDERSON                        BRANDON ARRINGTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRANDON AVILES                        BRANDON BAILEY                          BRANDON BAINES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRANDON BARSHINGER                    BRANDON BECKER                          BRANDON BECVAR
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRANDON BELL                          BRANDON BELL                            BRANDON BELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRANDON BERRY                         BRANDON BIRCHFIELD                      BRANDON BISHOP
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRANDON BONILLA                       BRANDON BRAMMER                         BRANDON BUELOW
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRANDON BURKE                         BRANDON BURKS                           BRANDON C TORRES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    4270 NW 89 AVENUE NO 206
HOUSTON, TX 77025                     HOUSTON, TX 77025                       CORAL SPRINGS, FL 33065
BRANDON C WARMAN         Case 18-12241-CSS    Doc
                                        BRANDON    26 Filed 10/05/18
                                                CANAVAN                PageBRANDON
                                                                            190 of CAPERS
                                                                                   1739
6533 E MEDALIST CIRCLE                  10201 S. MAIN STREET               10201 S. MAIN STREET
PLANO, TX 75023                         HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON COFIELD                         BRANDON COSCE                      BRANDON CURRY
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON DAVIDSON                        BRANDON DAVIS                      BRANDON DAWSON
1485 B JOHNSTOWN LN                     3236 HARCOURT APT 303              10201 S. MAIN STREET
WHEATON, IL 60189                       MEMPHIS, TN 38119                  HOUSTON, TX 77025




BRANDON DEL PESCO                       BRANDON DENNIS                     BRANDON FLENOR
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON GATES                           BRANDON GILL                       BRANDON GINTHER
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON GLEASON                         BRANDON GOFF                       BRANDON GOFF
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON GRAVES                          BRANDON GRAVES                     BRANDON GREENE
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON GREENE                          BRANDON GREERE                     BRANDON HALL
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON HAMMOND                         BRANDON HARMON                     BRANDON HARRIS
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON HARRISON                        BRANDON HARTSFIELD                 BRANDON HEARD
10201 S. MAIN STREET                    10201 S. MAIN STREET               3609 MOUNTAIN HEAD LN APT C
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOOVER, AL 35216
BRANDON HENDERSON       Case 18-12241-CSS    Doc
                                       BRANDON    26
                                               HICKS         Filed 10/05/18   PageBRANDON
                                                                                   191 of HOOKS
                                                                                          1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON HUCKSTEP                       BRANDON JOHNSON                            BRANDON KAZINEC
1800 NE 114TH ST APT 1107              10201 S. MAIN STREET                       10201 S. MAIN STREET
MIAMI, FL 33181                        HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON KELLEY                         BRANDON KELLY                              BRANDON KERNS
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON KNIGHT                         BRANDON KRISKE                             BRANDON LECHNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON LEON                           BRANDON LILJESTRAND                        BRANDON LOCKE
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON M DIODATO                      BRANDON M GIOTTA                           BRANDON MARIANO
702 CORNELL AVE                        36 RYDER AVE                               10201 S. MAIN STREET
DREXEL HILL, PA 19026                  DIX HILLS, NY 11746                        HOUSTON, TX 77025




BRANDON MARTINEZ                       BRANDON MATTHEWS                           BRANDON MEALER
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON MEEK                           BRANDON MONTES                             BRANDON MORGAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON MORRIS                         BRANDON MORTON                             BRANDON MULENBURG
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON MULHOLLAND                     BRANDON NGUYEN                             BRANDON NIX
10201 S. MAIN STREET                   10422 CHELSEA BROOK LN                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77089                          HOUSTON, TX 77025
BRANDON PERRY          Case 18-12241-CSS    Doc
                                      BRANDON    26 Filed 10/05/18
                                              PETERS                 PageBRANDON
                                                                          192 of PETRY
                                                                                 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON PORTER                        BRANDON POWELL                     BRANDON PRICE
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON RADAR                         BRANDON RAMIREZ                    BRANDON REPPUCCI
161 DARBY WAY                         10201 S. MAIN STREET               10201 S. MAIN STREET
WEST COLUMBIA, SC 29170               HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON RONE                          BRANDON RUPP                       BRANDON SARAHS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON SATTERFIELD                   BRANDON SCHWENK                    BRANDON SCOTT
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON SHAFER                        BRANDON SITES                      BRANDON SKOK
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON SPENCER                       BRANDON STOHRER                    BRANDON STOKES
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON SWANK                         BRANDON TELL                       BRANDON THOMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRANDON TOMLIN                        BRANDON TROTTER                    BRANDON TYLER
10201 S. MAIN STREET                  7131 E GILBERT                     10201 S. MAIN STREET
HOUSTON, TX 77025                     WICHITA, KS 67207                  HOUSTON, TX 77025




BRANDON WARNER                        BRANDON WARREN                     BRANDON WARREN
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025
BRANDON WARSHAWSKY     Case 18-12241-CSS    Doc
                                      BRANDON   26 Filed 10/05/18
                                              WEAVER                          PageBRANDON
                                                                                   193 of WELBOURNE
                                                                                          1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON WEYANT                         BRANDON WHEELINGTON                        BRANDON WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON WILLIAMS                       BRANDON WILLIAMS                           BRANDON WILSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON WISNISKE                       BRANDON WISSNER                            BRANDON WOLFE
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDON WOODS                          BRANDON WRIGHT                             BRANDON WRIGHT
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDPOINT                             BRANDT NEWCOMER                            BRANDT YOUNG
850 5TH ST S                           10201 S. MAIN STREET                       10201 S. MAIN STREET
HOPKINS, MN 55343                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDY BOBB                            BRANDY COOPER                              BRANDY DAWSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDY EMORY                           BRANDY HUERTA                              BRANDY JONES
298 HAZEL MILL RD                      10201 S. MAIN STREET                       10201 S. MAIN STREET
ASHEVILLE, NC 28806                    HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDY JOYNER                          BRANDY MCCLAIN                             BRANDY WALLS
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRANDYWINE SQUARE LLC                  BRANDYWINE SQUARE LLC                      BRANDYWINE SQUARE LLC
C/O ACADIA REALTY TRUST                C/O ACADIA REALTY TRUST                    P.O. BOX 510552
411 THEODORE FREMD AVENUE, SUITE 300   411 THEODORE FREMD AVENUE, SUITE 300       PHILADELPHIA, PA 19175-0552
ATTN: LEGAL DEPARTMENT                 ATTN: PROPERTY MANAGEMENT
RYE, NY 10580                          RYE, NY 10580
BRANNAN HOWELL           Case 18-12241-CSS    Doc
                                        BRANNAN    26 Filed 10/05/18
                                                STATHAM                     PageBRANNON
                                                                                 194 of CROSSING
                                                                                        1739 PARTNERS LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                    1300 PEACHTREE INDUSTRIAL BLVD 3209
HOUSTON, TX 77025                       HOUSTON, TX 77025                       SUWANEE, GA 30024




BRANNON CROSSING PARTNERS LLC           BRANNON CROSSING PARTNERS LLC           BRANNON CROSSING PARTNERS, LLC
3264 SATURN CT                          C/O LA VISTA ASSOCIATES, INC.           1300 PEACHTREE INDUSTRIAL BLVD 3209
PEACHTREE CORNERS, GA 30092             3475 PIEDMONT ROAD NE, SUITE 1150       SUWANEE, GA 30024
                                        ATTN: REGIS JACKSON
                                        ATLANTA, GA 30305



BRANNON CROSSING PARTNERS, LLC          BRANNON OZARK                           BRANNON SOUTH PARTNERS LLC
C/O LA VISTA ASSOCIATES, INC.           10201 S. MAIN STREET                    2300 PEACHTREE RD. NW STE A-101
3475 PIEDMONT ROAD NE, SUITE 1150       HOUSTON, TX 77025                       ATLANTA, GA 30309
ATTN: REGIS JACKSON
ATLANTA, GA 30305



BRANNON SOUTH PARTNERS LLC              BRANSON SHOPPES DEVELOPMENT CO          BRANSON SHOPPES DEVELOPMENT CO
3520 PIEDMONT ROAD SUITE 125            1201 ASHLAND RD APT 1405                P.O. BOX 844106
ATLANTA, GA 30305                       COLUMBIA, MO 65201                      KANSAS CITY, MO 64108-4106




BRANT, ANDREW                           BRANTLEY RETAIL PLACE LLC               BRANTLEY RETAIL PLACE LLC
BRIGHTON, MI 48116                      ARMCO/ATTN: JESIA COBB-ACCOUNTING       ARMCO/ATTN: JESIA COBB-ACCOUNTING
                                        210 SANDY SPRINGS PLACE                 210 SANDY SPRINGS PLACE
                                        ATLANTA, GA 30328                       SANDY SPRINGS, GA 30328




BRASK MALL SERVICES I                   BRASK MALL SERVICES I                   BRASK MALL SERVICES II
P.O. BOX 800335                         PO BOX 800335                           P.O. BOX 55287
HOUSTON, TX 77280-0335                  HOUSTON, TX 77280                       HOUSTON, TX 77255-5287




BRASK MALL SERVICES II                  BRATTLEBORO                             BRAUER MATERIAL HANDLING SYSTEMS INC
PO BOX 55287                            ATTN: PROPERTY TAX DEPT.                226 MOLLY WALTON DR
HOUSTON, TX 77255                       230 MAIN ST STE 109                     HENDERSONVILLE, TN 37075
                                        BRATTLEBORO, VT 05301




BRAUNTEZ FAIR                           BRAVO GRAPHICS INC                      BRAXSTON TAYLOR
10201 S. MAIN STREET                    3436 ALEMEDA ST STE 234                 10201 S. MAIN STREET
HOUSTON, TX 77025                       FORT WORTH, TX 76102                    HOUSTON, TX 77025




BRAXTON BLOCKER                         BRAXTON COLE                            BRAXTON CRAWFORD
10201 S. MAIN STREET                    3268 CYPRESS LN                         10201 S. MAIN STREET
HOUSTON, TX 77025                       GULF BREEZE, FL 32563                   HOUSTON, TX 77025




BRAXTON DELIVERY GROUP LLC              BRAXTON ROBERSON                        BRAZORIA CO MUD 6
639 GARDEN WALK BLVD 1235               10201 S. MAIN STREET                    P.O. BOX 1368
COLLEGE PARK, GA 30349                  HOUSTON, TX 77025                       FRIENDSWOOD, TX 77549-1368
                       Case 18-12241-CSS
BRAZORIA COUNTY TAX ASSESSOR-         BRAZOSDoc    26 Filed WEST
                                              COMMUCICATIONS 10/05/18
                                                                 LLC              PageBRAZOS
                                                                                       195 ofCOUNTY
                                                                                              1739 CHIEF APPRAISER
COLLECTOR                             KQRX-FM                                         ATTN: PROPERTY TAX DEPT.
ATTN: PROPERTY TAX DEPT.              PO BOX 9400                                     4151 COUNTY PARK CT
P O BOX 1586                          MIDLAND, TX 79708                               BRYAN, TX 77802-1430
LAKE JACKSON, TX 77566



BRAZOS COUNTY                            BRAZOS TC -- PARTNERSHIP A, LP               BRAZOS TC -- PARTNERSHIP A, LP
ATTN: TAX ASSESSOR-COLLECTOR             C/O NEWQUEST PROPERTIES                      C/O NEWQUEST PROPERTIES
4151 COUNTY PARK CT                      8827 W. SAM HOUSTON PKWY N., SUITE 200       8827 W. SAM HOUSTON PKWY N., SUITE 200
BRYAN, TX 77802-1430                     ATTN: LEGAL DEPARTMENT                       ATTN: PROPERTY MANAGEMENT
                                         HOUSTON, TX 77040                            HOUSTON, TX 77040



BRAZOS TC SOUTH PARTNERSHIP A, L.P.      BRAZOS TC SOUTH PARTNERSHIP A, L.P.          BRAZOS TC SOUTH PARTNERSHIP A, L.P.
C/O NEWQUEST PROPERTIES                  C/O NEWQUEST PROPERTIES                      P.O. BOX 4896
8827 W. SAM HOUSTON PKWY N., SUITE 200   8827 W. SAM HOUSTON PKWY N., SUITE 200       HOUSTON, TX 77210-4896
ATTN: LEGAL DEPARTMENT                   ATTN: PROPERTY MANAGEMENT
HOUSTON, TX 77040                        HOUSTON, TX 77040



BRAZOS TC SOUTH PARTNERSHIP A, LP        BRAZOS VALLEY COMMUNICATIONS DBA             BRAZOS VALLEY COMMUNICATIONS LTD
C/O NEWQUEST PROPERTIES                  KTAM-AM                                      1240 E VILLA MARIA RD
8827 W. SAM HOUSTON PARKWAY N., SUITE    1240 E VILLA MARIA RD                        BRYAN, TX 77802
200                                      BRYAN, TX 77805
ATTN: PROPERTY MANAGEMENT
HOUSTON, TX 77040


BRAZOS VALLEY COMMUNICATIONS             BRAZOSPORT FACTS                             BRC GREENSBORO RETAIL LLC
D/B/A KTAM-AM                            SOUTHERN NEWSPAPERS                          ATTN: MATT DIACHENKO
P.O. BOX 3069                            P.O. BOX 549                                 5826 SAMET DR STE 105
BRYAN, TX 77805                          CLUTE, TX 77531                              HIGH POINT, NC 27265




BRC MATTRESS DELIVERY INC                BRC WENDOVER SHOPPES LLC                     BRC WENDOVER SHOPPES, LLC
651 SOUTHERN BLVD APT 5E                 C/O BLUE RIDGE PROPERTY MANAGEMENT           C/O BLUE RIDGE PROPERTY MANAGEMENT
BRONX, NY 10455                          5826 SAMET DRIVE, SUITE 105                  5826 SAMET DRIVE, SUITE 105
                                         ATTN: STEPHANIE DEFRATIS                     ATTN: STEPHANIE DEFRATIS
                                         HIGH POINT, NC 27265                         HIGH POINT, NC 27265



BRE DDE TOWNSHIP MARKETPLACE             BRE DDR BELDEN PK LLC                        BRE DDR BELDEN PK LLC
P.O. BOX 92419                           3300 ENTERPRISE PKWY                         DEPT 1073102141254792
CLEVELAND, OH 54431                      BEACHWOOD, OH 44122                          P.O. BOX 92419
                                                                                      CLEVELAND, OH 44193




BRE DDR BR CORNERSTAR CO LLC             BRE DDR BR CORNERSTAR CO LLC                 BRE DDR BR FORUM FL LLC
C/O DDR CORP.                            DEPT 342091                                  DEPT 342861 25290 58002
3300 ENTERPRISE PARKWAY                  P.O. BOX 205387                              P.O. BOX 205387
ATTN: EXECUTIVE VICE PRESIDENT -         DALLAS, TX 75320                             DALLAS, TX 75320-5387
LEASING
BEACHWOOD, OH 44122


BRE DDR BR MCALISTER TX LLC              BRE DDR BR MCALISTER TX LLC                  BRE DDR BR MCALISTER TX LLC
C/O DDR CORP.                            C/O THE CORPORATION TRUST CO                 DEPT 345085
3300 ENTERPRISE PARKWAY                  1209 ORANGE ST, WILMINGTON                   P.O. BOX 205387
ATTN: ERIC STALEY                        NEW CASTLE, DE 19801                         DALLAS, TX 75320
BEACHWOOD, OH 44122



BRE DDR BR NORTHOPINT FL LLC             BRE DDR BR NORTHOPINT FL LLC                 BRE DDR BR NORTHPOINT FL LLC
3300 ENTERPRISE PKWY                     DEPT 344805                                  C/O DDR CORP.
BEACHWOOD, OH 44122                      P.O. BOX 205387                              3300 ENTERPRISE PARKWAY
                                         DALLAS, TX 75320                             ATTN: EXECUTIVE VICE PRESIDENT-LEASING
                                                                                      BEACHWOOD, OH 44122
BRE DDR BR PENINSULA DECase
                        LLC     18-12241-CSS
                                          BRE DDRDoc  26 Filed
                                                  BR PRESCOTT     10/05/18
                                                              AZ LLC            PageBRE
                                                                                     196  ofBR1739
                                                                                        DDR    PRESCOTT AZ LLC
ATTN: SARA HANKO                           C/O CT CORPORATION SYSTEM                C/O DDR CORP.
3300 ENTERPRISE PKWY                       3800 N CENTRAL AVE, STE 460              3300 ENTERPRISE PARKWAY
BEACHWOOD, OH 44122                        PHOENIX, AZ 85012                        ATTN: EXECUTIVE VICE PRESIDENT-LEASING
                                                                                    BEACHWOOD, OH 44122



BRE DDR BR PRESCOTT AZ LLC                 BRE DDR BR PRESCOTT AZ LLC               BRE DDR BR ROSWELL GA LLC
DEPT 344194                                DEPT 344194                              DEPT 108290
P.O. BOX 205387                            PO BOX 205387                            P.O. BOX 205387
DALLAS, TX 75320                           DALLAS, TX 75320                         DALLAS, TX 75320




BRE DDR BR SAN TAN II AZ LLC               BRE DDR BR SAN TAN II AZ LLC             BRE DDR BR WAUWATOSA WI LLC
C/O CORPORATION TRUST CENTER               DEPT 341892                              DEPT 344538 25060 59215
1209 ORANGE ST                             P.O. BOX 205387                          P.O. BOX 205387
WILMINGTON, DE 19801                       DALLAS, TX 75320                         DALLAS, TX 75320




BRE DDR CONNECTICUT COMMONS LLC            BRE DDR CONNECTICUT COMMONS LLC          BRE DDR CONNECTICUT COMMONS LLC
3300 ENTERPRISE PKWY                       C/O DDR CORP.                            C/O DDR CORP.
BEACHWOOD, OH 44122                        3300 ENTERPRISE PARKWAY                  3300 ENTERPRISE PARKWAY
                                           ATTN: EVP - LEASING                      ATTN: GENERAL COUNSEL
                                           BEACHWOOD, OH 44122                      BEACHWOOD, OH 44122



BRE DDR CONNECTICUT COMMONS LLC            BRE DDR CORNERSTAR CO LLC                BRE DDR CORNERSTAR CO LLC
DEPT 388301-21431-55541                    3300 ENTERPRISE PKWY                     DEPT 342091 25125 57765
P.O. BOX 951982                            BEACHWOOD, OH 44122                      P.O. BOX 205387
CLEVELAND, OH 44193                                                                 DALLAS, TX 75320-5387




BRE DDR CROCODILE FALCON RIDGE TOWN        BRE DDR CROCODILE SILVER SPRING SQ       BRE DDR CROCODILE SILVER SPRING SQ
C/O DDR CORP                               TRUST                                    TRUST
3300 ENTERPRISE PKWY                       6416 CARLISLE PIKE                       DEPT 366967 21445 61670
ATTN: EVP- LEASEING                        MECHANICSBURG, PA 17050-2393             P.O. BOX 932666
BEACHWOOD, OH 44122                                                                 CLEVELAND, OH 44193



BRE DDR HARBISON COURT LLC                 BRE DDR HARBISON COURT LLC               BRE DDR HARBISON COURT LLC
C/O CORPORATION SERVICE COMPANY            C/O DDR CORP.                            DEPT 323587 61407 75457
251 LITTLE FALLS DR, WILMINGTON            3300 ENTERPRISE PARKWAY                  P.O. BOX 9183418
NEW CASTLE, PA 19808                       ATTN: EXECUTIVE VICE PRESIDENT-LEASING   CHICAGO, IL 60691-3418
                                           BEACHWOOD, OH 44122



BRE DDR IVA SOUTHMONT PA LLC               BRE DDR IVA SOUTHMONT PA LLC             BRE DDR IVA SOUTHMONT PA LLC
C/O DDR CORP.                              C/O DDR CORP.                            C/O THE CORPORATION TRUST CO
3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PARKWAY                  1209 ORANGE ST
ATTN: EVP - LEASING                        ATTN: GENERAL COUNSEL                    WILMINGTON, DE 19801
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122



BRE DDR IVA SOUTHMONT PA LLC               BRE DDR MEREIAM TOWN CENTER LLC          BRE DDR PARKER PAVILIONS LLC
DEPT 366310 25500 61202                    DEPT 1017582140854558                    C/O DDR CORP.
P.O. BOX 780437                            P.O. BOX 92419                           3300 ENTERPRISE PARKWAY
PHILADELPHIA, PA 19178                     CLEVELAND, OH 44193                      BEACHWOOD, OH 44122




BRE DDR PARKER PAVILLIONS LLC              BRE DDR PARKER PAVILLIONS LLC            BRE DDR PIONEER HILLS LLC
C/O DDR CORP.                              DEPT 4021822141554938                    3300 ENTERPRISE PKWY
3300 ENTERPRISE PARKWAY                    P.O. BOX 392419                          BEACHWOOD, OH 44122
BEACHWOOD, OH 44122                        CLEVELAND, OH 44193
                       Case
BRE DDR PIONEER HILLS LLC       18-12241-CSS
                                          BRE DDRDoc  26HOLDINGS
                                                  RETAIL   Filed III10/05/18
                                                                     LLC         PageBRE
                                                                                      197  ofRETAIL
                                                                                         DDR  1739HOLDINGS III LLC
DEPT 4021912140154299                      3300 ENTERPRISE PARKWAY                    BRE DDR BR PENINSULA DE LLC
P.O. BOX 392419                            BEACHWOOD, OH 44122                        3300 ENTERPRISE PKWY
CLEVELAND, OH 44193                                                                   BEACHWOOD, OH 44122




BRE DDR RETAIL HOLDINGS III LLC            BRE DDR RETAIL HOLDINGS III LLC            BRE DDR RETAIL HOLDINGS III LLC
D/B/A BRE DDR BR CORNERSTAR CO LLC         D/B/A BRE DDR BR MCALISTER TX LLC          D/B/A BRE DDR BR NORTHOPINT FL LLC
3300 ENTERPRISE PKWY                       3300 ENTERPRISE PKWY                       3300 ENTERPRISE PKWY
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122




BRE DDR RETAIL HOLDINGS III LLC            BRE DDR RETAIL HOLDINGS III LLC            BRE DDR RETAIL HOLDINGS III LLC
D/B/A BRE DDR BR PRESCOTT AZ LLC           D/B/A BRE DDR BR ROSWELL GA LLC            D/B/A BRE DDR BR SAN TAN II AZ LLC
3300 ENTERPRISE PKWY                       3300 ENTERPRISE PKWY                       3300 ENTERPRISE PARKWAY
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122




BRE DDR RETAIL HOLDINGS III LLC            BRE DDR RETAIL HOLDINGS III LLC            BRE DDR RETAIL HOLDINGS III LLC
D/B/A BRE DDR BR SAN TAN II AZ LLC         D/B/A BRE DDR BR STONEBRIDGE GA LLC        DEPT 345068
3300 ENTERPRISE PKWY                       3300 ENTERPRISE PKWY                       P.O. BOX 205387
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122                        DALLAS, TX 75320




BRE DDR RETAIL HOLDINGS LLC                BRE DDR RETAIL HOLDINGS LLC                BRE DDR TOWNE CENTER LLC
D/B/A BRE MERRIAM TOWN CENTER LLC          D/B/A BRE TOWNE CENTER LLC                 DEPT 103711 21336 47230
345 PARK AVE                               345 PARK AVE                               P.O. BOX 931663
NEW YORK, NY 10154                         NEW YORK, NY 10154                         CLEVELAND, OH 44193




BRE DDR WOODFIELD VILLAGE, LLC             BRE DDR WOODFIELD VILLAGE, LLC             BRE DDR WOODFIELD VILLAGE, LLC
C/O DDR CORP.                              C/O DDR CORP.                              DEPT 341207-21419-00057108
3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PARKWAY                    P.O. BOX 392472
ATTN: EXECUTIVE VICE PRESIDENT             ATTN: GENERAL COUNSEL                      CLEVELAND, OH 44193
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122



BRE DDR WOODFIELD VILLAGE, LLC             BRE HOLMES                                 BRE KERN
DPT 3286962141955087                       10201 S. MAIN STREET                       10201 S. MAIN STREET
P.O. BOX 92472                             HOUSTON, TX 77025                          HOUSTON, TX 77025
CLEVELAND, OH 44193




BRE NON CORE ASSETS INC                    BRE NON CORE TRACKING 2 LLC                BRE PENTAGON RETAIL HOLDINGS A INC
D/B/A BRE NON CORE 2 OWNER PROSPECT        P.O. BOX 742739                            3300 ENTERPRISE PKWY
LLC                                        ATLANTA, GA 30374-2739                     BEACHWOOD, OH 44122
1 FAYETTE ST STE 150
CONSHOHOCKEN, PA 19428



BRE RC 1890 RANCH TX LP                    BRE RC 1890 RANCH TX LP                    BRE RC ALAMO RANCH TX LP
C/O SHOPCORE PROPERTIES, LP                C/O SHOPCORE PROPERTIES, LP                2711 CENTERVILLE RD, STE 400
10920 VIA FRONTERA, SUITE 220              307 FELLOWSHIP ROAD, SUITE 116             WILMINGTON, DE 19808
ATTN: LEGAL DEPARTMENT                     ATTN: OFFICE OF THE GENERAL COUNSEL
SAN DIEGO, CA 92127                        MT. LAUREL, NJ 08054



BRE RC ALAMO RANCH TX LP                   BRE RC ALAMO RANCH TX LP                   BRE RC ALAMO RANCH TX LP
C/O SHOPCORE PROPERTIES, LP                C/O SHOPCORE PROPERTIES, LP                P.O. BOX 845660
10920 VIA FRONTERA, SUITE 220              307 FELLOWSHIP ROAD, SUITE 116             LOS ANGELES, CA 90084
ATTN: LEGAL DEPARTMENT                     ATTN: OFFICE OF THE GENERAL COUNSEL
SAN DIEGO, CA 92127                        MT. LAUREL, NJ 08054
BRE RC CINCO RANCH TX LPCase    18-12241-CSS     Doc 26
                                          BRE RC CINCO     Filed
                                                       RANCH TX LP 10/05/18            PageBRE
                                                                                            198RCof 1739 WVA LLC
                                                                                                 COMMONS
C/O SHOPCORE PROPERTIES, LP                C/O SHOPCORE PROPERTIES, LP                     C/O SHOPCORE PROPERTIES, LP
10920 VIA FRONTERA, SUITE 220              2 LIBERTY PLACE, 50 S. 16TH ST, STE. 3325       10920 VIA FRONTERA, SUITE 220
ATTN: LEGAL DEPARTMENT                     ATTN: OFFICE OF THE GENERAL COUNSEL             ATTN: LEGAL DEPARTMENT
SAN DIEGO, CA 92127                        PHILADELPHIA, PA 19102                          SAN DIEGO, CA 92127



BRE RC COMMONS WVA LLC                     BRE RC EXETER PA LP                             BRE RC EXETER PA LP
C/O SHOPCORE PROPERTIES, LP                C/O BLACKSTONE REAL ESTATE PARTNERS             C/O SHOPCORE PROPERTIES, LP
TWO LIBERTY PLACE, SUITE 3325              345 PARK AVENUE                                 10920 VIA FRONTERA, SUITE 220
ATTN: LEGAL DEPARTMENT                     ATTN: G CUTAIA, J TURCHIN, & A DRASITES         ATTN: LEGAL DEPARTMENT
PHILADELPHIA, PA 19102                     NEW YORK, NY 10154                              SAN DIEGO, CA 92128



BRE RC EXETER PA LP                        BRE RC MONROE MP PA LP                          BRE RC MONROE MP PA LP
P.O. BOX 845660                            C/O SHOPCORE PROPERTIES, LP                     C/O SHOPCORE PROPERTIES, LP
LOS ANGELES, CA 90084-5660                 10920 VIA FRONTERA, SUITE 220                   307 FELLOWSHIP ROAD, SUITE 116
                                           ATTN: LEGAL DEPARTMENT                          ATTN: OFFICE OF THE GENERAL COUNSEL
                                           SAN DIEGO, CA 92127                             MT. LAUREL, NJ 08054



BRE RC MONROE MP PA LP                     BRE RC RETAIL PARENT LLC                        BRE RC RETAIL PARENT LLC
P.O. BOX 27627                             10920 VIA FRONTERA                              17140 BERNARDO CENTER DR STE 300
SAN DIEGO, CA 92198-7627                   SAN DIEGO, CA 92127                             SAN DIEGO, CA 92128




BRE RC RETAIL PARENT LLC                   BRE RC RETAIL PARENT LLC                        BRE RC RETAIL PARENT LLC
BRE RC 1890 RANCH TX LP                    BRE RC BIRD CREEK TX LP                         BRE RC CINCO RANCH TX LP
P.O. BOX 845660                            P.O. BOX 845660                                 P.O. BOX 845660
LOS ANGELES, CA 90084                      LOS ANGELES, CA 90084                           LOS ANGELES, CA 90084




BRE RC RETAIL PARENT LLC                   BRE RC RETAIL PARENT LLC                        BRE RC RETAIL PARENT LLC
BRE RC SOUTHPARK I TX LP                   BRE RC SOUTHPARK II TX LP                       BRE RC SOUTHPARK II TX LP
P.O. BOX 845660                            10920 VIA FRONTERA STE 220                      P.O. BOX 845660
LOS ANGELES, CA 90084                      SAN DIEGO, CA 92127                             LOS ANGELES, CA 90084




BRE RC RETAIL PARENT LLC                   BRE RC RETAIL PARENT LLC                        BRE RC RETAIL PARENT LLC
BRE RC STASSNEY TX LP                      C/O BRE RC COMMONS WV LLC                       D/B/A BRE RC COMMONS WV LLC
P.O. BOX 845660                            PO BOX 27627                                    10920 VIA FRONTERA STE 220
LOS ANGELES, CA 90084                      SAN DIEGO, CA 92198-1627                        SAN DIEGO, CA 92127




BRE RC RETAIL PARENT LLC                   BRE RC RETAIL PARENT LLC                        BRE RC RETAIL PARENT LLC
D/B/A BRE RC COMMONS WV LLC                D/B/A CINCO RANCH TX                            D/B/A RIVERPARK SC TX
P.O. BOX 27627                             P.O. BOX 845660                                 17140 BERNARDO CENTER DR 300
SAN DIEGO, CA 92198-1627                   LOS ANGELES, CA 90084                           SAN DIEGO, CA 92128




BRE RC RETAIL PARENT LLC                   BRE RC RETAIL PARTNERS LLC                      BRE RC RETAIL PARTNERS LLC
P.O. BOX 845660                            C/O SHOPCORE PROPERTIES, LP                     C/O SHOPCORE PROPERTIES, LP
LOS ANGELES, CA 90084                      10920 VIA FRONTERA, SUITE 220                   307 FELLOWSHIP ROAD, SUITE 116
                                           ATTN: LEGAL DEPARTMENT                          ATTN: OFFICE OF THE GENERAL COUNSEL
                                           SAN DIEGO, CA 92127                             MT. LAUREL, NJ 08054



BRE RC RIVERPARK SC TX LP                  BRE RC RIVERPARK SC TX LP                       BRE RC SOUTHPARK I TX LP
C/O SHOPCORE PROPERTIES, LP                P.O. BOX 845660                                 C/O SHOPCORE PROPERTIES, LP
TWO LIBERTY PLACE, SUITE 3325              LOS ANGELES, CA 90084-5660                      10920 VIA FRONTERA, SUITE 220
50 SOUTH 16TH STREET                                                                       ATTN: LEGAL DEPARTMENT
PHILADELPHIA, PA 19102                                                                     SAN DIEGO, CA 92127
BRE RC SOUTHPARK I TX LPCase 18-12241-CSS      Doc 26 Filed
                                       BRE RC SOUTHPARK   II TX LP 10/05/18   PageBRE
                                                                                   199RCof 1739 II TX LP
                                                                                        SOUTHPARK
C/O SHOPCORE PROPERTIES, LP            C/O SHOPCORE PROPERTIES, LP                C/O SHOPCORE PROPERTIES, LP
307 FELLOWSHIP ROAD, SUITE 116         10920 VIA FRONTERA, SUITE 220              307 FELLOWSHIP ROAD, SUITE 116
ATTN: OFFICE OF THE GENERAL COUNSEL    ATTN: LEGAL DEPARTMENT                     ATTN: OFFICE OF THE GENERAL COUNSEL
MT. LAUREL, NJ 08054                   SAN DIEGO, CA 92127                        MT. LAUREL, NJ 08054



BRE RC SOUTHPARK II TX LP                BRE RC TOWNE CROSSING VA LLC             BRE RC TOWNE CROSSING VA LLC
C/O SHOPCORE PROPERTIES, LP              C/O SHOPCORE PROPERTIES, LP              C/O SHOPCORE PROPERTIES, LP
PO BOX 845660                            10920 VIA FRONTERA, SUITE 220            10920 VIA FRONTERA, SUITE 220
LOS ANGELES, CA 90084-5660               ATTN: LEGAL DEPARTMENT                   ATTN: LEGAL DEPARTMENT
                                         SAN DIEGO, CA 92127                      SAN DIEGO, CA 92128



BRE RC TOWNE CROSSING VA LLC             BRE RC TOWNE CROSSING VA LLC             BRE RETAIL RESIDUAL NC OWNER LP
C/O SHOPCORE PROPERTIES, LP              P.O. BOX 757008                          C/O BRIXMOR PROPERTY GROUP
10920 VIA FRONTERA, SUITE 220            BALTIMORE, MD 21275-7008                 450 LEXINGTON AVENUE, 13TH FLOOR
SAN DIEGO, CA 92128                                                               ATTN: OFFICE OF GENERAL COUNSEL
                                                                                  NEW YORK, NY 10017



BRE RETAIL RESIDUAL NC OWNER LP          BRE TARPON SOUTH PLAZA LLC               BRE TARPON SOUTH PLAZA LLC
P.O. BOX 645346                          C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP
CINCINNATI, OH 45264-5346                450 LEXINGTON AVENUE, 13TH FLOOR         P.O. BOX 645324
                                         NEW YORK, NY 10017                       CINCINNATI, OH 45264-5324




BRE TARPON SOUTH PLAZA                   BRE THRONE GARNER TOWN SQUARE LLC        BRE THRONE GARNER TOWNE CENTER SQ
D/B/A BRE SE RETAIL HOLDINGS             C/O BRE THRONE APPLEGATE RANCH FBO       LLC
P.O. BOX 645324                          BOFA                                     2600 TIMBER DR
CINCINNATI, OH 45264                     62772 COLLECTION CENTER DR               GARNER, NC 27529
                                         CHICAGO, IL 60693-0627



BRE THRONE GARNER TOWNE CENTER SQ        BRE THRONE GARNER TOWNE CENTER SQ        BRE THRONE GARNER TOWNE SQUARE LLC
LLC                                      LLC                                      C/O BRIXMOR PROPERTY GROUP
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP               450 LEXINGTON AVENUE, 13TH FLOOR
P.O. BOX 645344                          P.O. BOX 645344                          NEW YORK, NY 10170
CINCINNATI, OH 45264                     CINCINNATI, OH 45264-5344



BRE THRONE HOLDINGS LLC                  BRE THRONE PRESTON PARK LLC              BRE THRONE PRESTON PARK LLC
D/B/A BRE THRONE GARNER TOWNE            BRE THRONE APPLEGATE RCH FBO BOA         C/O BLACKSTONE
SQUARE L                                 62772 COLLECTION CENTER DR               345 PARK AVE 42ND FLR
C/O BLACKSTONE                           CHICAGO, IL 60693                        NEW YORK, NY 10154
345 PARK AVE 42ND FLR
NEW YORK, NY 10154


BRE THRONE WADSWORTH CROSSING LLC        BRE THRONE WADSWORTH CROSSING LLC        BREANA CICERO
C/O BRIXMOR PROP GROUP/ID:1843024        C/O BRIXMOR PROPERTY GROUP               10201 S. MAIN STREET
P.O. BOX 645344                          450 LEXINGTON AVENUE, 13TH FLOOR         HOUSTON, TX 77025
CINCINNATI, OH 45264-5344                ATTN: GENERAL COUNSEL
                                         NEW YORK, NY 10170



BREANA DAVIS                             BREANA MARSHALL                          BREANN HOLLAWAY
10201 S. MAIN STREET                     P.O. BOX 8372                            10201 S. MAIN STREET
HOUSTON, TX 77025                        HUNTINGTON BEACH, CA 92615               HOUSTON, TX 77025




BREANNA CRUTCHFIELD                      BREANNA REYES                            BREANNA STIWINTER
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
BREANNA STOTT          Case 18-12241-CSS
                                      BREDDRDoc
                                            CROC26   Filed
                                                 FALCON     10/05/18
                                                        RIDGE TOWN CNT I PageBREDDR
                                                                              200 ofLAKE
                                                                                      1739
                                                                                         WALDEN SQUARE LLC
10201 S. MAIN STREET                    LLC                                    DEPT 379741-21410-62568
HOUSTON, TX 77025                       DEPT 407356-21452-65817                P.O. BOX 392419
                                        P.O .BOX 932684                        CLEVELAND, OH 44193
                                        CLEVELAND, OH 44193



BREE COOK                               BREE DYER                              BREE NORTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




BREEANNA KELLER                         BREGMAN, BERBERT, SCHWARTZ & GILDAY,   BREHM ENTERPRISES
10201 S. MAIN STREET                    LLC                                    10855 FIRST STREET
HOUSTON, TX 77025                       ATTN: LARRY BERBERT, ESQ.              STANWOOD, MI 49346
                                        7315 WISCONSIN AVENUE, SUITE 800W
                                        BETHESDA, MD 20814



BREIA SMALLEY                           BRENDA ARNOLD                          BRENDA AVILA
10201 S. MAIN STREET                    10201 S. MAIN STREET                   2948 ASTORIA CIR
HOUSTON, TX 77025                       HOUSTON, TX 77025                      CORONA, CA 92879




BRENDA BANCHS                           BRENDA BRENNAN                         BRENDA DRAGO
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




BRENDA ELLIOTT                          BRENDA HATHAWAY                        BRENDA HO
118 ENTRADA CIRCLE                      10201 S. MAIN STREET                   10201 S. MAIN STREET
AMERICAN CANYON, CA 94503               HOUSTON, TX 77025                      HOUSTON, TX 77025




BRENDA LAFORTE                          BRENDA LAKHANI                         BRENDA PUGA
10201 S. MAIN STREET                    2209 WINDY RIDGE CT                    10201 S. MAIN STREET
HOUSTON, TX 77025                       PLANO, TX 75025                        HOUSTON, TX 77025




BRENDA RANDLES MEE                      BRENDA SANCHEZ                         BRENDA SHEPHERD
3417 W ELK BUGLE LN                     10201 S. MAIN STREET                   170 DUNLAP ST
MERIDIAN, ID 83646                      HOUSTON, TX 77025                      NEW MARTINSVILLE, WV 26155




BRENDA SWEET                            BRENDA YAP                             BRENDAN BURKE
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




BRENDAN CUNNINGHAM                      BRENDAN FLORIAN                        BRENDAN LOGSDON
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025
BRENDAN MCCALL          Case 18-12241-CSS    Doc
                                       BRENDAN    26 Filed 10/05/18
                                               MCCONNELL                  PageBRENDAN
                                                                               201 of MCGAGIN
                                                                                      1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




BRENDAN MORAN                          BRENDAN PARKER                         BRENDAN PARKER
1235 RESERVE WAY 306                   10201 S. MAIN STREET                   10201 S. MAIN STREET
NAPLES, FL 34105                       HOUSTON, TX 77025                      HOUSTON, TX 77025




BRENDEN CHILDERS                       BRENDEN MCCLANAHAN                     BRENDEN SUOMINEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




BRENDON BARRIENTOS                     BRENDON DORAN                          BRENDON FABISH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




BRENDON JOHNSTON                       BRENDON RYAN                           BRENHAM BANNER PRESS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   2430 STRINGER
HOUSTON, TX 77025                      HOUSTON, TX 77025                      BRENHAM, TX 77833




BRENHAM BANNER-PRESS                   BRENHAM CROSSROADS PARTNERS I LP       BRENHAM CROSSROADS PARTNERS LP
P.O. BOX 585                           C/O HUNINGTON PROP INC                 C/O HUNINGTON PROP INC
BRENHAM, TX 77834                      3773 RICHMOND AVE STE 800              3773 RICHMOND AVE STE 800
                                       HOUSTON, TX 77046                      HOUSTON, TX 77046




BRENHAM CROSSROADS PARTNERS LP         BRENIETTA BOOKER                       BRENNA MOORE
C/O HUNINGTON PROPERTIES, INC.         10201 S. MAIN STREET                   10201 S. MAIN STREET
3773 RICHMOND AVENUE, SUITE 800        HOUSTON, TX 77025                      HOUSTON, TX 77025
HOUSTON, TX 77046




BRENNAN & CLARK LTD LLC                BRENNAN COOK                           BRENNAN THOMPSON
721 E MADISON ST                       10201 S. MAIN STREET                   10201 S. MAIN STREET
VILLA PARK, IL 60181                   HOUSTON, TX 77025                      HOUSTON, TX 77025




BRENNAN, DAIN, LE RAY, WIEST,          BRENNEN VANDERMEER                     BRENSEKE WELDING
TORPY & GARNER, P.C.                   10201 S. MAIN STREET                   915 LONG ISLAND AVE
ATTN: JOSEPH R. TORPY, ESQ             HOUSTON, TX 77025                      DEER PARK, NY 11729
129 SOUTH STREET, 3RD FLOOR
BOSTON, MA 02111



BRENT BADERTSCHER                      BRENT BAKER                            BRENT BASILIERE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
BRENT BATTERMAN        Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      BRENT BATTERMAN                PageBRENT
                                                                          202 COLLINS
                                                                               of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRENT FARRIS                          BRENT FITTS                        BRENT FUDGE
2356 RED OAK DR                       10201 S. MAIN STREET               10201 S. MAIN STREET
SANTA ROSA, CA 95403                  HOUSTON, TX 77025                  HOUSTON, TX 77025




BRENT FUDGE                           BRENT GAGNE                        BRENT HASKIN
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRENT HIGHLEY                         BRENT MCNIEL                       BRENT PERKINS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRENT RAZOR                           BRENT WIDENER                      BRENTLEY GIBSON
10201 S. MAIN STREET                  2002 RAINBOW LANE                  10201 S. MAIN STREET
HOUSTON, TX 77025                     WENATCHEE, WA 98801                HOUSTON, TX 77025




BRENTON BASEY                         BRENTON BELCHER                    BRENTON MAYNARD
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




BRENTON MCCOY                         BRENTON REID                       BRENTWOOD LAND PARTNERS LLC
4601 VILLAGE LN                       10201 S. MAIN STREET               C/O KITE REALTY GROUP
BAYTOWN, TX 77520                     HOUSTON, TX 77025                  62256 COLLECTIONS CENTER DRIVE
                                                                         CHICAGO, IL 60693-0622




BRENTWOOD PLAZA LLC                   BRENTWOOD PLAZA LLC                BRENTWOOD PLAZA LLC
C/O PAGANO CO                         C/O PAGANO CO                      C/O PAGANO COMPANIES
55 HARRISTOWN RD                      55 HARRISTOWN RD                   55 HARRISTOWN ROAD
GLEN ROCK, NJ 07452                   GLENROCK, NJ 07452                 GLEN ROCK, NJ 07452




BRET E. BERNAL                        BRET SWANSON                       BRET WRIGHT
5452 STETSON MEADOWS DR               10201 S. MAIN STREET               10201 S. MAIN STREET
COLORADO SPRINGS, CO 80922            HOUSTON, TX 77025                  HOUSTON, TX 77025




BRET ZUELICH                          BRETT AGLER                        BRETT D HEMPHILL
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025
BRETT DECUIR           Case 18-12241-CSS     Doc 26
                                      BRETT FOWLER       Filed 10/05/18       PageBRETT
                                                                                   203 GAMBOL
                                                                                        of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




BRETT HEMPHILL                        BRETT K OUBRE LLC                           BRETT MCFEELY
10201 S. MAIN STREET                  344 PENCARROW CIRCLE                        10201 S. MAIN STREET
HOUSTON, TX 77025                     MADISONVILLE, LA 70447                      HOUSTON, TX 77025




BRETT MEADE                           BRETT PARKS                                 BRETT PETERSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




BRETT ROBERTSON                       BRETT STEPHENS                              BRETT THORNTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




BRETT WILLIAMS                        BRETT WILLIAMS                              BRETT WILLS
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




BREVAN ITA                            BREVARD CNTY BOARD OF CNTY C                BREVARD COUNTY TAX COLLECTOR
10201 S. MAIN STREET                  OMMISSIONERS-FIRE PREVNT BUREAU             P.O. BOX 2500
HOUSTON, TX 77025                                                                 TITUSVILLE, FL 32781-2500




BREVARD COUNTY                        BRFI GATEWAY LLC                            BRFI GATEWAY LLC
ATTN: PROPERTY TAX DEPT.              1161 SAN VICENTE BOULEVARD, SUITE 900       11611 SAN VICENTE BLVD STE 900
P.O .BOX 2500                         LOS ANGELES, CA 90049                       LOS ANGELES, CA 90049
TITUSVILLE, FL 32781-2500




BRFI GATEWAY LLC                      BRFI GATEWAY LLC                            BRI JOHNSON
C/O JLL RETAIL                        P.O. BOX 3577 DEPT P                        10201 S. MAIN STREET
655 REDWOOD HIGHWAY, SUITE 177        SEATTLE, WA 98124-3577                      HOUSTON, TX 77025
MILL VALLEY, CA 94941




BRIA BOYKINS                          BRIAN ADAMCZAK                              BRIAN ADAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




BRIAN AGEE                            BRIAN AND KAREN DEBERRY                     BRIAN ARCHER
10201 S. MAIN STREET                  P.O. BOX 1362                               10201 S. MAIN STREET
HOUSTON, TX 77025                     PLACERVILLE, CA 95667                       HOUSTON, TX 77025
BRIAN ARNOLD           Case 18-12241-CSS     Doc 26
                                      BRIAN ARNOLD       Filed 10/05/18   PageBRIAN
                                                                               204AUL
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN AUSTIN                          BRIAN BANDARRA                          BRIAN BARTOLIN
10201 S. MAIN STREET                  115 N WESTWINDS CIRCLE                  10201 S. MAIN STREET
HOUSTON, TX 77025                     THE WOODLANDS, TX 77382                 HOUSTON, TX 77025




BRIAN BATES                           BRIAN BATTEAST                          BRIAN BAXTER
10201 S. MAIN STREET                  53103 BRACHEN FERN CT                   10201 S. MAIN STREET
HOUSTON, TX 77025                     SOUTH BEND, IN 46637                    HOUSTON, TX 77025




BRIAN BENDY                           BRIAN BERRUTO                           BRIAN BILBY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN BIRD                            BRIAN BOBO                              BRIAN BOCK
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN BROOKS                          BRIAN BROWN                             BRIAN BURRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN BURTON                          BRIAN BYRNE                             BRIAN C PECHT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    2154 NORTH BELL AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       CHICAGO, IL 60647




BRIAN CALKINS                         BRIAN CAMPBELL                          BRIAN CHAMNISS
10201 S. MAIN STREET                  CAMPBELL EXTREME CLEAN                  10201 S. MAIN STREET
HOUSTON, TX 77025                     9402 E DALLAS ST                        HOUSTON, TX 77025
                                      MESA, AZ 85207




BRIAN CLARKE                          BRIAN COGBURN                           BRIAN COLEMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN COLLINS                         BRIAN CORRIVEAU                         BRIAN CURRAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
BRIAN CWEREN            Case    18-12241-CSS     Doc 26
                                          BRIAN DAVIS        Filed 10/05/18   PageBRIAN
                                                                                   205DAVIS
                                                                                        of 1739
C/O THE CWEREN LAW FIRM                   10201 S. MAIN STREET                    10201 S. MAIN STREET
ATTN: BRIAN CWEREN                        HOUSTON, TX 77025                       HOUSTON, TX 77025
3311 RICHMOND AVE., SUITE 305
HOUSTON, TX 77098



BRIAN DENHAM                              BRIAN DERKSEN                           BRIAN DIAZ
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN DOBBS                               BRIAN DOUGLAS                           BRIAN DOWNEY
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN DUNBAR                              BRIAN E. HOOPER                         BRIAN EMERSON
10201 S. MAIN STREET                      ATTN: AREA MANAGER-HUNTSVILLE           10201 S. MAIN STREET
HOUSTON, TX 77025                         1025 DOCKSIDE DRIVE 508                 HOUSTON, TX 77025
                                          HUNSTVILLE, AL 35824




BRIAN FALK                                BRIAN FARRIS                            BRIAN FERRIS
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN FIFIELD                             BRIAN FLORES                            BRIAN FRANKEL
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN FREIGER                             BRIAN FURTADO                           BRIAN GARLAND
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN GAULT                               BRIAN GIPSON                            BRIAN GOODYEAR
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN GOTSCH                              BRIAN GRAHAM                            BRIAN GREEN
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN GRIERSON                            BRIAN GUSTIN                            BRIAN HALLMAN
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025
BRIAN HAM              Case 18-12241-CSS     Doc 26
                                      BRIAN HAMEN        Filed 10/05/18   PageBRIAN
                                                                               206HELTON
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN HOOK                            BRIAN HUDGENS                           BRIAN HUGHES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN JIMENEZ                         BRIAN JOLLIFFE                          BRIAN JONES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN KANYA                           BRIAN KELLER                            BRIAN KESTNER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN KLINE                           BRIAN KOSKI                             BRIAN KWIETNIEWSKI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN LANDON                          BRIAN LAROCHE                           BRIAN LEITER
10201 S. MAIN STREET                  9870 SW DENNEY RD                       627 WEBB DR
HOUSTON, TX 77025                     BEAVERTON, OR 97008                     SPARTANBURG, SC 29303




BRIAN LEON                            BRIAN LINDSEY                           BRIAN LOFTUS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN LONDON                          BRIAN M GOTSCH                          BRIAN MABE
10201 S. MAIN STREET                                                          10201 S. MAIN STREET
HOUSTON, TX 77025                                                             HOUSTON, TX 77025




BRIAN MAGLIETTI                       BRIAN MALONE                            BRIAN MASKERI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN MCDONALD                        BRIAN MCGEE                             BRIAN MCNEAL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
BRIAN MCNEMAR          Case 18-12241-CSS     Doc 26
                                      BRIAN MILLER       Filed 10/05/18   PageBRIAN
                                                                               207MITCHELL
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN MONTAGUE                        BRIAN MONTGOMERY                        BRIAN MUCCI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN MURPHY                          BRIAN MURPHY                            BRIAN N TREVISANI
113 SHEFFORD CT                       628 AMARANTH BLVD                       4799 GANYMEAD CT
GREER, SC 29650                       MILL VALLEY, CA 94941                   NAPLES, FL 34105




BRIAN NATH                            BRIAN NIEVES                            BRIAN OCONNOR
10201 S. MAIN STREET                  10201 S. MAIN STREET                    220 W RAPP RD 102
HOUSTON, TX 77025                     HOUSTON, TX 77025                       TALENT, OR 97540




BRIAN ODUM                            BRIAN OLOUGHLIN                         BRIAN ONEILL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN ORTIZ                           BRIAN PARKER                            BRIAN PARNELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN PATRICK                         BRIAN PEEBLES                           BRIAN PETRAGLIA
10201 S. MAIN STREET                  3905 44TH AVE S                         10201 S. MAIN STREET
HOUSTON, TX 77025                     MINNEAPOLIS, MN 55406-3515              HOUSTON, TX 77025




BRIAN PISCITELLO                      BRIAN R. CRISWELL                       BRIAN REAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN RHODES                          BRIAN ROACH                             BRIAN ROBINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN ROBINSON                        BRIAN ROGAN                             BRIAN RUSSELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    8 HEMLOCH DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                       JIM THORPE, PA 18229
BRIAN SARCHET           Case 18-12241-CSS     Doc 26
                                       BRIAN SELIGMAN      Filed 10/05/18   PageBRIAN
                                                                                 208SERGEN
                                                                                      of 1739
                                        10201 S. MAIN STREET                    10201 S. MAIN STREET
                                        HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN SHORT                             BRIAN SILVERS                           BRIAN SMITH
10201 S. MAIN STREET                    13223 CHAMPIONS CUP WAY                 10201 S. MAIN STREET
HOUSTON, TX 77025                       DAYTON, TX 77535                        HOUSTON, TX 77025




BRIAN SNIDER                            BRIAN STEPHENSON                        BRIAN STEVENS
10201 S. MAIN STREET                    914 S 9TH AVE                           10201 S. MAIN STREET
HOUSTON, TX 77025                       YAKIMA, WA 98902                        HOUSTON, TX 77025




BRIAN STONE                             BRIAN SUSSMAN                           BRIAN SZAROWICZ
10201 S. MAIN STREET                    P.O. BOX 3970                           10201 S. MAIN STREET
HOUSTON, TX 77025                       LOS ALTOS, CA 94024                     HOUSTON, TX 77025




BRIAN TENORE                            BRIAN THAYER                            BRIAN TRADING COMPANY
2353 BARRETT GREEK PKWY                 10201 S. MAIN STREET                    6440 W 20TH AVE
MARIETTA, GA 30068                      HOUSTON, TX 77025                       HIALEAH, FL 33016




BRIAN TRAVALI                           BRIAN TRAVIS                            BRIAN TRENT
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN TRUONG                            BRIAN UPCHURCH                          BRIAN VALENTINE
1788 GIGAR TER                          10201 S. MAIN STREET                    10201 S. MAIN STREET
WEST COVINA, CA 91792                   HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN VALENTINE                         BRIAN VALLES                            BRIAN VERDUGO
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




BRIAN W ADERHOLD                        BRIAN W ADERHOLD-DBA LAKE CITY          BRIAN W CHARROUX
4239 SOUTH LONG VALLEY DR               VENDING
WEST VALLEY, UT 84128-6550              12808 TIMBER RUN DR
                                        RIVERTON, UT 84096




BRIAN W LOFTUS                          BRIAN W LOFTUS                          BRIAN WANG
151 COYOTE PASS UNIT 14                 778 BEAL PKWY                           10201 S. MAIN STREET
PANAMA CITY BEACH, FL 32413             FORT WALTON BEACH, FL 82547             HOUSTON, TX 77025
BRIAN WEIBLE            Case 18-12241-CSS     Doc 26
                                       BRIAN WEIBLE       Filed 10/05/18      PageBRIAN
                                                                                   209WILLIAMS
                                                                                        of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRIAN WILSON                           BRIAN WOOD                                 BRIAN WOODWARD
555 CORTONA DR.                        10201 S. MAIN STREET                       10201 S. MAIN STREET
WEST LAKE HILLS, TX 78746              HOUSTON, TX 77025                          HOUSTON, TX 77025




BRIANA KATHER                          BRIANA SOBOTTA                             BRIANA TREADWELL
1209 N ISABEL ST                       10201 S. MAIN STREET                       10201 S. MAIN STREET
GLENDALE, CA 91207                     HOUSTON, TX 77025                          HOUSTON, TX 77025




BRIANNA AAMOLD                         BRIANNA BOWEN                              BRIANNA FISCHER
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRIANNA ROGERS                         BRIANNA SHANHOLTZER                        BRIANNA WHEELER
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




BRIAR GROUP LIMITED PARTNERSHIP        BRIARCLIFF ASSOCIATES LLC                  BRIARCLIFF ASSOCIATES LLC
27750 STANSBURY, SUITE 200             161 ORCHARD RD                             40 TECHNOLOGY PKWY S 30D
FARMINGTON HILLS, MI 48334             BRIARCLIFF, NY 10510                       NORCROSS, GA 30052




BRIARCLIFF ASSOCIATES LLC              BRICE & GARVIN INC                         BRICE GAHAGANS
C/O HEYWARD FAMILY BUSINESS            110 ETHELTON                               10201 S. MAIN STREET
1 VENEZIA                              WHITE PLAINS, NY 10603                     HOUSTON, TX 77025
NEWPORT COAST, CA 92657




BRICE LETTKEMAN                        BRICK PIONEER LLC                          BRICK PIONEER LLC
10201 S. MAIN STREET                   REF: MLS LOAN 030297702                    87 WASHINGTON STREET
HOUSTON, TX 77025                      P.O. BOX 829612                            ATTN: NICOLE LEART
                                       PHILADELPHIA, PA 19182                     MORRISTOWN, NJ 07960




BRICK PIONEER LLC                      BRICK TOWNSHIP BUREAU OF FIRE SAFETY       BRICK TOWNSHIP MUA
ATTN: NICOLE LEART                     253 BRICK BLVD 2ND FLOOR                   1551 HIGHWAY 88 WEST
87 WASHINGTON STREET                   BRICK TOWNSHIP, NJ 08723                   BRICK, NJ 08724-2399
MORRISTOWN, NJ 07960




BRICK TOWNSHIP MUA                     BRICKHOUSE SECURITY INC                    BRICKPOINT PROPERTIES, INC.
1551 HIGHWAY 88                        980 AVENUE OF THE AMERICAS 3RD FLOOR       TWO MAIN STREET, SUITE 200
WEST BRICK, NJ 08724                   NEW YORK, NY 10018                         STONEHAM, MA 02180
                     Case
BRIDFORD GREENSBORO LLC       18-12241-CSS     Doc
                                        BRIDFORD   26 Filed
                                                 GREENSBORO   10/05/18
                                                            LLC                PageBRIDGE
                                                                                    210 of  1739 LLC
                                                                                          HOLDINGS
1234 E 17TH ST                          ATTN: T. DOLLANDER C/O DIVERSIFIED         107 S. MERAMEC AVE
SANTA ANA, CA 92701                     PTNRS                                      ST LOUIS, MO 63105
                                        7500 E MCDONALD DR STE 100A
                                        SCOTTSDALE, AZ 85250



BRIDGEPORT                              BRIDGESTONE AMERICAS INC                   BRIDGET BARRY
ATTN: PROPERTY TAX DEPT.                D/B/A FIRESTONE BLDG PRODUCTS CO LLC       10201 S. MAIN STREET
325 CONGRESS ST                         200 4TH AVE SOUTH                          HOUSTON, TX 77025
BRIDGEPORT, CT 06604                    NASHVILLE, TN 37201




BRIDGET JONES                           BRIDGET LEWIS                              BRIDGET NORTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




BRIDGET ROCKWELL                        BRIDGEVILLE BOROUGH                        BRIDGEWATER FALLS STATION LLC
10201 S. MAIN STREET                    C/O JORDAN TAX SERVICES                    3385 PRINCETON RD
HOUSTON, TX 77025                       102 RAHWAY RD                              FAIRFIELD TOWNSHIP, OH 45011
                                        MCMURRAY, PA 15317-3349




BRIDGEWATER FALLS STATION LLC           BRIDGEWATER GROUP ADVISORS INC             BRIDGEWATER TOWNSHIP
NW 6319                                 D/B/A AAF BROOKHILL TOWNE CENTER           BUREAU OF FIRE PREVENTION
P.O .BOX 1450                           9570 SW BARBUR BLVD                        100 COMMONS WAY
MINNEAPOLIS, MN 55485-6319              PORTLAND, OR 97219                         BRIDGEWATER, NJ 08807




BRIE LUNSFORD                           BRIEN JEFFERSON                            BRIEN JEFFERSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




BRIGETTE WHEELER                        BRIGHAM YOUNG UNIVERSITY                   BRIGHT HOUSE NETWORKS
10201 S. MAIN STREET                    D/B/A THE DAILY UNIVERSE                   P.O. BOX 30574
HOUSTON, TX 77025                       112 BRMB                                   TAMPA, FL 33630-3574
                                        PROVO, UT 84602




BRIGHT SECURITY                         BRIGHTEDGE TECHNOLOGIES INC                BRIGHTHOUSE FINANCIAL
P.O. BOX 37                             989 E HILLSDALE BLVD STE 300               P.O. BOX 371310
AUSTIN, TX 78767                        FOSTER CITY, CA 94404                      PITTSBURGH, PA 15250-7310




BRIGHTHOUSE LIFE INSURANCE COMPANY      BRIGHTON THE DAY                           BRIGHTRIDGE
11225 NORTH COMMUNITY HOUSE RD          7415 CAILLET ST                            2600 BOONES CREEK RD
CHARLOTTE, NC 28277                     DALLAS, TX 75209                           JOHNSON CITY, TN 37615




BRIGHTRIDGE                             BRIGHTWAVE MARKETING INC                   BRIGID KENNY
P.O. BOX 2058                           3340 PEACHTREE RD NE STE 400               10201 S. MAIN STREET
JOHNSON CITY, TN 37605-2058             ATLANTA, GA 30326                          HOUSTON, TX 77025
BRIGITTE MUELLER         Case 18-12241-CSS      Doc
                                        BRILLIANT    26 Filed
                                                  PROMOTIONAL   10/05/18
                                                              PRODUCTS INC PageBRINA
                                                                                211GRACIK
                                                                                     of 1739
10201 S. MAIN STREET                     10161 HARWIN STE 125                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77036                    HOUSTON, TX 77025




BRINCO MECHANICAL MGMT SERVICES INC      BRINES REFRIGERATION HEATING &       BRINKS INCORPORATED
125 SOUTH MAIN ST                        COOLING                              555 DIVIDEND DR
FREEPORT, NY 11520                       26400 SOUTH FIELD RD                 COPPELL, TX 75019
                                         LATHROP VILLAGE, MI 48076




BRINKS INCORPORATED                      BRION MAKOWSKI                       BRISCOE A CARR
P.O. BOX 101031                          10201 S. MAIN STREET                 6207 TEMPLE ST APT B
ATLANTA, GA 30392-1031                   HOUSTON, TX 77025                    LITHIA SPRINGS, GA 30122




BRISTOL MAY                              BRISTOL MAY                          BRISTOL SIGN CO INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                 P.O. BOX 16938
HOUSTON, TX 77025                        HOUSTON, TX 77025                    BRISTOL, VA 24209-6938




BRISTOL TAX COLLECTOR                    BRISTOL TENNESSEE ESSENTIAL SV       BRISTOL TENNESSEE ESSENTIAL SV
P.O. BOX 1040                            10201 S MAINT ST                     2470 VOLUNTEER PARKWAY
BRISTOL, CT 06011-1040                   HOUSTON, TX 77025                    BRISTOL, TN 37620




BRISTOL TENNESSEE ESSENTIAL SV           BRISTOL                              BRITA ALABURDA
P.O. BOX 549                             ATTN: PROPERTY TAX DEPT.             10201 S. MAIN STREET
BRISTOL, TN 37621-0549                   497 CUMBERLAND ST                    HOUSTON, TX 77025
                                         BRISTOL, VA 24201




BRITEVERIFY                              BRITE-WAY WINDOW SERVICE             BRITNEY POOLE
4725 PIEDMONT ROW DR STE 420             P.O. BOX 6628                        10201 S. MAIN STREET
CHARLOTTE, NC 28210                      TYLER, TX 75711                      HOUSTON, TX 77025




BRITTAN HAIR                             BRITTANI BRICKEY                     BRITTANIE AMSDEN
10201 S. MAIN STREET                     317 AVERY JORDAN CV                  10201 S. MAIN STREET
HOUSTON, TX 77025                        SOUTHAVEN, MS 38671                  HOUSTON, TX 77025




BRITTANY AAMOLD                          BRITTANY ALLEN                       BRITTANY ANIMASHAUN
10201 S. MAIN STREET                     6328 LONGRIDGE AVE                   10201 S. MAIN STREET
HOUSTON, TX 77025                        VAN NUYS, CA 91401                   HOUSTON, TX 77025




BRITTANY BIVENS                          BRITTANY BONSIGNORE                  BRITTANY BROWN
10201 S. MAIN STREET                     11618 W 77TH ST                      10201 S. MAIN STREET
HOUSTON, TX 77025                        LENEXA, KS 66214                     HOUSTON, TX 77025
BRITTANY BROWN             Case 18-12241-CSS     Doc
                                          BRITTANY    26 Filed 10/05/18
                                                   BURKHALTER              PageBRITTANY
                                                                                212 of COSBY
                                                                                        1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                 510 REACH DR
HOUSTON, TX 77025                         HOUSTON, TX 77025                    BIRMINGHAM, AL 35242




BRITTANY COSTELLO                         BRITTANY COVELL                      BRITTANY COVELL
10201 S. MAIN STREET                      3505 REYNARD WAY 36                  ATTN: RICHARD SPIRRA & GORDON & REES
HOUSTON, TX 77025                         SAN DIEGO, CA 92103                  101 W BROADWAY STE 2000
                                                                               SAN DIEGO, CA 92101




BRITTANY DALEY                            BRITTANY DOUGLAS                     BRITTANY DURAN
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




BRITTANY ECKLUND                          BRITTANY GOODMAN                     BRITTANY GORSICH
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




BRITTANY HAND                             BRITTANY HEAL                        BRITTANY HEGWOOD
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




BRITTANY HOUSE                            BRITTANY JESCAVAGE                   BRITTANY KALLON
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




BRITTANY MAKI                             BRITTANY MANNIE                      BRITTANY MIRACLE
1801 RIO GRANDE UNIT 207                  10201 S. MAIN STREET                 10201 S. MAIN STREET
AUSTIN, TX 78701                          HOUSTON, TX 77025                    HOUSTON, TX 77025




BRITTANY MORGAN-BLANTON                   BRITTANY NEWSON                      BRITTANY NIX
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




BRITTANY NUNES                            BRITTANY OCONNOR                     BRITTANY PANKIEWICZ
10201 S. MAIN STREET                      10201 S. MAIN STREET                 5576 W WOODHAVEN DR
HOUSTON, TX 77025                         HOUSTON, TX 77025                    MC CORDSVILLE, IN 46055




BRITTANY PAPA                             BRITTANY PARKER DBAWHITE GLOVE       BRITTANY PARKER
10201 S. MAIN STREET                      LOGISTICS                            1206 TOPSIDE RD
HOUSTON, TX 77025                         205 OAKDALE ST                       LOUISVILLE, TN 37777
                                          MARYVILLE, TN 37801
BRITTANY PARSONS       Case 18-12241-CSS     Doc
                                      BRITTANY    26
                                               PEREZ      Filed 10/05/18   PageBRITTANY
                                                                                213 of PETERSON
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BRITTANY PHAM                          BRITTANY RANKIN                         BRITTANY RASBERRY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BRITTANY RUSH                          BRITTANY SNEED                          BRITTANY THOMPSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BRITTANY WARD                          BRITTANY WAYNE                          BRITTANY WESTBROOK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BRITTANY WESTBROOK                     BRITTANY WESTFALL                       BRITTANY WHITE
10201 S. MAIN STREET                   26886 SHELTER COVE COURT                12701 N PENN AVE APT 268N
HOUSTON, TX 77025                      SUN CITY, CA 92585                      OKLAHOMA CITY, OK 73120




BRITTANY WILLIAMSON                    BRITTANY WORCESTER                      BRITTANY YOUMANS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BRITTNEE BASKIN                        BRITTNEY FRANKLIN                       BRITTNEY GARCIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BRITTNEY KARASEK                       BRITTNEY MOSS                           BRITTNEY PARKS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BRITTNEY PETITTA                       BRITTNEY R BOWN                         BRITTNEY SNOW
10201 S. MAIN STREET                   6209 NW CHEYENNE AVE                    10201 S. MAIN STREET
HOUSTON, TX 77025                      LAWTON, OK 73505                        HOUSTON, TX 77025




BRITTNEY TILLERY                       BRITTON BOWNS                           BRITTON CENTAMORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
BRIXMOR ARBOR FAIRE OWNERCase
                            LP18-12241-CSS
                                        BRIXMOR Doc  26FAIRE
                                                 ARBOR    Filed  10/05/18
                                                             OWNER  LP      PageBRIXMOR
                                                                                 214 ofARBOR
                                                                                        1739FAIRE OWNER LP
C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP              SUPER LLC
3636 NOBEL DRIVE, SUITE 300             450 LEXINGTON AVENUE, 13TH FLOOR        P.O. BOX 74230
ATTN: LEGAL                             ATTN: OFFICE OF GENERAL COUNSEL         CLEVELAND, OH 44194-4230
SAN DIEGO, CA 92122                     NEW YORK, NY 10170



BRIXMOR ARBOR FAIRE OWNER, LP           BRIXMOR CROSS KEYS COMMONS LLC          BRIXMOR CROSS KEYS COMMONS LLC
C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP
450 LEXINGTON AVENUE, 13TH FLOOR        P.O. BOX 645349                         P.O. BOX 645349
ATTN: OFFICE OF GENERAL COUNSEL         CINCINNATI, OH 45264                    CINCINNATI, OH 45264-5349
NEW YORK, NY 10170



BRIXMOR GA APOLLO III PA LP             BRIXMOR GA CHAMBERLAIN PLAZA LLC        BRIXMOR GA CHAMBERLAIN PLAZA LLC
P.O. BOX 742739                         C/O BRIXMOR PROPERTY GROUP              C/O CENTRO GA WATERBURY LLC
ATLANTA, GA 30374-2739                  450 LEXINGTON AVENUE, 13TH FLOOR        P.O. BOX 713465
                                        ATTN: GENERAL COUNSEL                   CINCINNATI, OH 45271
                                        NEW YORK, NY 10170



BRIXMOR GA CHAMBERLAIN PLAZA LLC        BRIXMOR GA CHICOPEE MARKETPLACE LLC     BRIXMOR GA CHICOPEE MARKETPLACE LLC
C/O CENTRO GA WATERBURY LLC             450 LEXINGTON AVE, 13TH FL              C/O BRIXMOR PROPERTY GROUP
P.O. BOX 713465                         NEW YORK, NY 10017                      450 LEXINGTON AVENUE, 13TH FLOOR
CINCINNATI, OH 45271-3465                                                       ATTN: GENERAL COUNSEL
                                                                                NEW YORK, NY 10170



BRIXMOR GA CHICOPEE MARKETPLACE LLC     BRIXMOR GA CHICOPEE MARKETPLACE LLC     BRIXMOR GA CONYERS PHASE II OWNER
C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP              LLC
P.O. BOX 645324                         P.O. BOX 645324                         BRIXMOR PROPERTY GROUP
CINCINNATI, OH 45264                    CINCINNATI, OH 45264-5324               P.O. BOX 645341
                                                                                CINCINNATI, OH 45264-5341



BRIXMOR GA SOUTHLAND SHOPPING           BRIXMOR GA SOUTHLAND SHOPPING CTR       BRIXMOR GA SOUTHLAND SHOPPING CTR
CENTRE LLC                              LLC                                     LLC
C/O BRIXMOR PROPERTY GROUP              6944 W 130TH ST                         ID: 5237097
450 LEXINGTON AVENUE, 13TH FLOOR        MIDDLEBURG HEIGHTS, OH 44130            P.O. BOX 713447
ATTN: GENERAL COUNSEL                                                           CINCINNATI, OH 45271-3447
NEW YORK, NY 10170


BRIXMOR GA STRATFORD COMMONS LP         BRIXMOR GA STRATFORD COMMONS LP         BRIXMOR HALE ROAD LLC
C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP
450 LEXINGTON AVENUE, 13TH FLOOR        P.O. BOX 645341                         P.O. BOX 645341
NEW YORK, NY 10017                      CINCINNATI, OH 45264-5341               CINCINNATI, OH 45264




BRIXMOR HALE ROAD LLC                   BRIXMOR HANOVER SQUARE SC LLC           BRIXMOR HANOVER SQUARE SC LLC
C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP
P.O. BOX 645341                         P.O .BOX 645346                         1003 HOLCOMB WOODS PARKWAY
CINCINNATI, OH 45264-5351               CINCINNATI, OH 45264-5346               ATTN: VICE PRESIDENT OF LEGAL SERVICES
                                                                                ROSWELL, GA 30076



BRIXMOR HANOVER SQUARE SC LLC           BRIXMOR HANOVER SQUARE SC LLC           BRIXMOR HOLDINGS 1 SPE LLC
C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP              6944 W 130TH ST
450 LEXINGTON AVENUE, 13TH FLOOR        P.O .BOX 645346                         MIDDLEBURG HEIGHTS, OH 44130
NEW YORK, NY 10170                      CINCINNATI, OH 45264




BRIXMOR HOLDINGS 1 SPE LLC              BRIXMOR HOLDINGS 11 SPE LLC             BRIXMOR HOLDINGS 11 SPE LLC
C/O BRIXMOR PROPERTY GROUP              C/O SUPER LLC                           450 LEXINGTON AVE, 13TH FL
P. O. BOX 645324                        P.O. BOX 74242                          NEW YORK, NY 10017
CINCINNATI, OH 45264-5324               CLEVELAND, OH 44194-4242
BRIXMOR HOLDINGS 11 SPECase
                        LLC    18-12241-CSS    Doc
                                         BRIXMOR    26 11
                                                 HOLDINGS Filed
                                                            SPE, 10/05/18
                                                                 LLC              PageBRIXMOR
                                                                                       215 ofHOLDINGS
                                                                                              1739 11 SPE, LLC
C/O SUPER LLC                             C/O BRIXMOR PROPERTY GROUP                  C/O SUPER LLC
P.O. BOX 74242                            450 LEXINGTON AVENUE, 13TH FLOOR            P.O. BOX 74242
CLEVELAND, OH 44194                       ATTN: OFFICE OF GENERAL COUNSEL             CLEVELAND, OH 44194
                                          NEW YORK, NY 10170



BRIXMOR HOLDINGS 11 SPE, LLC              BRIXMOR HOLDINGS 6 SPE LLC                  BRIXMOR HOLDINGS 6 SPE LLC
C/O SUPER LLC                             C/O BRIXMOR PROPERTY GROUP                  450 LEXINGTON AVE, 13TH FL
P.O. BOX 74242                            PO BOX 645349                               NEW YORK, NY 10017
CLEVELAND, OH 44194-4242                  CINCINNATI, OH 45264-5349




BRIXMOR HOLDINGS 6 SPE LLC                BRIXMOR HOLDINGS 6 SPE, LLC                 BRIXMOR HOLDINGS 6 SPE, LLC
C/O BRIXMOR PROPERTY GROUP                C/O BRIXMOR PROPERTY GROUP                  C/O BRIXMOR PROPERTY GROUP
PO BOX 645349                             40 SKOKIE BOULEVARD, SUITE 600              450 LEXINGTON AVENUE, 13TH FLOOR
CINCINNATI, OH 45264                      ATTN: REGIONAL COUNSEL                      ATTN: LEGAL DEPARTMENT
                                          NORTHBROOK, IL 60062                        NEW YORK, NY 10170



BRIXMOR HOLDINGS 6 SPE, LLC               BRIXMOR HOLDINGS 6 SPE, LLC                 BRIXMOR HOLDINGS II SPE, LLC
C/O BRIXMOR PROPERTY GROUP                C/O BRIXMOR PROPERTY GROUP                  C/O BRIXMOR PROPERTY GROUP
PO BOX 645349                             PO BOX 645349                               3636 NOBEL DR., SUITE 300
CINCINNATI, OH 45264                      CINCINNATI, OH 45264-5349                   SAN DIEGO, CA 92122




BRIXMOR HOLDINGS II SPE, LLC              BRIXMOR INNES STREET LLC                    BRIXMOR IVYRIDGE SC LLC
C/O BRIXMOR PROPERTY GROUP                P.O. BOX 645351                             C/O BRIXMOR PROPERTY GROUP
450 LEXINGTON AVENUE, 13TH FLOOR          CINCINNATI, OH 45264-5351                   P.O. BOX 74250
ATTN: GENERAL COUNSEL                                                                 CLEVELAND, OH 44194-4250
NEW YORK, NY 10017



BRIXMOR IVYRIDGE SC LLC                   BRIXMOR IVYRIDGE SC, LLC                    BRIXMOR IVYRIDGE SC, LLC
PO BOX 74250                              C/O BRIXMOR PROPERTY GROUP                  C/O BRIXMOR PROPERTY GROUP
CLEVELAND, OH 44194                       450 LEXINGTON AVENUE, 13TH FLOOR            P.O. BOX 74250
                                          ATTN: GENERAL COUNSEL                       CLEVELAND, OH 44194
                                          NEW YORK, NY 10170



BRIXMOR IVYRIDGE SC, LLC                  BRIXMOR MANCHESTER I LLC                    BRIXMOR MANCHESTER I LLC
C/O BRIXMOR PROPERTY GROUP                C/O BRIXMOR PROPERTY GROUP                  C/O BRIXMOR PROPERTY GROUP
P.O. BOX 74250                            2 TOWER BRIDGE, ONE FAYETTE ST, SUITE       450 LEXINGTON AVENUE, 13TH FLOOR
CLEVELAND, OH 44194-4250                  150                                         ATTN: GENERAL COUNSEL
                                          ATTN: REGIONAL COUNSEL                      NEW YORK, NY 10170
                                          CONSHOHOCKEN, PA 19428


BRIXMOR MANCHESTER II LLC                 BRIXMOR MANCHESTER II LLC                   BRIXMOR NEW CENTRE LLC
C/O BRIXMOR PROPERTY GROUP                C/O BRIXMOR PROPERTY GROUP                  C/O BRIXMOR PROPERTY GROUP
P.O. BOX 64534                            P.O. BOX 64534                              P.O. BOX 645351
CINCINNATI, OH 45264                      CINCINNATI, OH 45264-5349                   CINCINNATI, OH 45264




BRIXMOR NEW CENTRE LLC                    BRIXMOR OLD BRIDGE LLC                      BRIXMOR OLD BRIDGE LLC
C/O BRIXMOR PROPERTY GROUP                C/O BRIXMOR PROPERTY GROUP                  C/O BRIXMOR PROPERTY GROUP
P.O. BOX 645351                           420 LEXINGTON AVENUE, 7TH FLOOR             P.O. BOX 645346
CINCINNATI, OH 45264-5351                 ATTN: OFFICE OF GENERAL COUNSEL             CINCINNATI, OH 45264
                                          NEW YORK, NY 10170



BRIXMOR OLD BRIDGE LLC                    BRIXMOR OPERATING PARTNERSHIP LP            BRIXMOR OPERATING PARTNERSHIP LP
C/O BRIXMOR PROPERTY GROUP                BRIXMOR STONE MOUNTAIN LLC                  BRIXMOR STONE MOUNTAIN LLC
P.O. BOX 645346                           P.O. BOX 74234                              PO BOX 74234
CINCINNATI, OH 45264-5346                 CLEVELAND, OH 44194-4234                    CLEVELAND, OH 44194-4234
                       Case 18-12241-CSS
BRIXMOR OPERATING PARTNERSHIP LP      BRIXMOR Doc  26 Filed
                                                OPERATING      10/05/18
                                                          PARTNERSHIP LP        PageBRIXMOR
                                                                                     216 ofOPERATING
                                                                                            1739     PARTNERSHIP LP
D/B/A BRIXMOR GA STRATFORD COMMONS    D/B/A BRIXMOR/IA CLEARWATER MALL LLC          D/B/A NEW PLAN OF ARLINGTON HEIGHTS
LP                                    ONE FAYETTE ST STE 150                        ONE FAYETTE ST STE 150
ONE FAYETTE ST STE 150                CONSHOHOCKEN, PA 19428                        CONSHOHOCKEN, PA 19428
CONSHOHOCKEN, PA 19428



BRIXMOR OPERATING PARTNERSHIP LP        BRIXMOR OPERATING PRTN LP                   BRIXMOR OPERATING PRTN LP
ONE FAYETTE ST STE 150                  D/B/A BRIXMOR GA CONYERS PHASE II           D/B/A BRIXMOR INNES STREET LLC
CONSHOHOCKEN, PA 19428                  OWNER                                       ONE FAYETTE ST STE 150
                                        ONE FAYETTE ST STE 150                      CONSHOHOCKEN, PA 19428
                                        CONSHOHOCKEN, PA 19428



BRIXMOR OPERATING PRTN LP               BRIXMOR PROPERTY GROUP                      BRIXMOR PROPERTY GROUP
D/B/A BRIXMOR SPE 5 LLC                 1003 HOLCOMB WOODS PARKWAY                  3440 PRESTON RIDGE ROAD, SUITE 425
ONE FAYETTE ST STE 150                  ROSWELL, GA 30076                           ALPHARETTA, GA 30005
CONSHOHOCKEN, PA 19428




BRIXMOR PROPERTY GROUP                  BRIXMOR PROPERTY GROUP                      BRIXMOR PROPERTY GROUP
40 SKOKIE BOULEVARD, SUITE 600          450 LEXINGTON AVENUE, 13TH FLOOR            450 LEXINGTON AVENUE, 13TH FLOOR
NORTHBROOK, IL 60062                    2 TOWER BRIDGE, ONE FAYETTE ST, SUITE       ATTN: GENERAL COUNSEL
                                        150                                         NEW YORK, NY 10017
                                        NEW YORK, NY 10170



BRIXMOR PROPERTY GROUP                  BRIXMOR PROPERTY GROUP                      BRIXMOR PROPERTY GROUP
450 LEXINGTON AVENUE, 13TH FLOOR        ATTN: EARL EBERTS                           ATTN: ELIZABETH MURPHY
ATTN: GENERAL COUNSEL                   450 LEXINGTON AVENUE, 13TH FLOOR            40 SKOKIE BOULEVARD, SUITE 600
NEW YORK, NY 10170                      NEW YORK, NY 10017                          NORTHBROOK, IL 60062




BRIXMOR PROPERTY GROUP                  BRIXMOR PROPERTY GROUP                      BRIXMOR PROPERTY GROUP
ATTN: GARY TURNER                       ATTN: MIKE COSTA                            ATTN: PAIGE KEARNS
1003 HOLCOMB WOODS PKWY                 111 MIDDLESEX TURNPIKE, 2ND FLOOR           450 LEXINGTON AVENUE, 13TH FLOOR
ROSWELL, GA 30076                       BURLINGTON, MA 01803                        NEW YORK, NY 10017




BRIXMOR PROPERTY GROUP                  BRIXMOR PROPERTY GROUP                      BRIXMOR PROPERTY OWNER II LLC
ATTN: STEPHANIE DUNBAR                  P.O. BOX 645324                             450 LEXINGTON AVENUE, 13TH FLOOR
450 LEXINGTON AVENUE, 13TH FLOOR        CINCINNATI, OH 45264                        NEW YORK, NY 10017
NEW YORK, NY 10170




BRIXMOR PROPERTY OWNER II LLC           BRIXMOR PROPERTY OWNER II, LLC              BRIXMOR RESIDUAL SHOPPES AT FOX RUN
C/O BRIXMOR PROPERTY GROUP              450 LEXINGTON AVENUE, 13TH FLOOR            LLC
P.O. BOX 645351                         NEW YORK, NY 10017                          C/O BRIXMOR PROPERTY GROUP
CINCINNATI, OH 45264                                                                P.O. BOX 645324
                                                                                    CINCINNATI, OH 45264-5324



BRIXMOR RESIDUAL SHOPPES AT FOX RUN     BRIXMOR RESIDUAL SHOPPES AT FOX RUN         BRIXMOR RESIDUAL SHOPPES AT FOX RUN
LLC                                     LLC                                         LLC
C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP                  C/O BRIXMOR PROPERTY GROUP
2 TOWER BRIDGE, ONE FAYETTE ST, SUITE   450 LEXINGTON AVENUE, 13TH FLOOR            450 LEXINGTON AVENUE, 13TH FLOOR
150                                     ATTN: GENERAL COUNSEL                       ATTN: LEGAL DEPARTMENT
ATTN: REGIONAL COUNSEL                  NEW YORK, NY 10170                          NEW YORK, NY 10170
CONSHOHOCKEN, PA 19428

BRIXMOR RESIDUAL SHOPPES AT FOX RUN     BRIXMOR SLATER STREET LLC                   BRIXMOR SLATER STREET, LLC
LLC                                     C/O BRIXMOR PROPERTY GROUP                  C/O BRIXMOR PROPERTY GROUP
C/O BRIXMOR PROPERTY GROUP              P.O. BOX 645349                             450 LEXINGTON AVENUE, 13TH FLOOR
P.O. BOX 645324                         CINCINNATI, OH 45264-5349                   ATTN: GENERAL COUNSEL
CINCINNATI, OH 45264                                                                NEW YORK, FL 10170
BRIXMOR SLATER STREET, Case
                         LLC   18-12241-CSS    Doc
                                         BRIXMOR    26 Filed
                                                 SOUTHPORT     10/05/18
                                                           CENTRE LLC       PageBRIXMOR
                                                                                 217 ofSOUTHPORT
                                                                                        1739     CENTRE LLC
C/O BRIXMOR PROPERTY GROUP               450 LEXINGTON AVE, 13TH FL             C/O BRIXMOR PROPERTY GROUP
P.O. BOX 645349                          NEW YORK, NY 10017                     450 LEXINGTON AVENUE, 13TH FLOOR
CINCINNATI, OH 45264-5349                                                       ATTN: GENERAL COUNSEL
                                                                                NEW YORK, NY 10170



BRIXMOR SOUTHPORT CENTRE LLC             BRIXMOR SOUTHPORT CENTRE LLC           BRIXMOR SPE 1 LLC
C/O BRIXMOR PROPERTY GROUP               P.O. BOX 30907                         C/O BRIXMOR PROPERTY GROUP
P.O. BOX 645344                          NEW YORK, NY 10087-0907                P.O. BOX 645346
CINCINNATI, OH 45264-5344                                                       CINCINNATI, OH 45264-5346




BRIXMOR SPE 4 LLC                        BRIXMOR SPE 4 LLC                      BRIXMOR SPE 4 LP
450 LEXINGTON AVENUE, 13TH FLOOR         C/O CENTRO HERITAGE SPE 4 LLC          C/O BRIXMOR PROPERTY GROUP
ATTN: GENERAL COUNSEL                    P.O. BOX 30906                         450 LEXINGTON AVENUE, 13TH FLOOR
NEW YORK, NY 10170                       NEW YORK, NY 10087-0906                ATTN: GENERAL COUNSEL
                                                                                NEW YORK, NY 10017



BRIXMOR SPE 4 LP                         BRIXMOR SPE 5 LLC                      BRIXMOR SPE 5 LLC
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP
P.O. BOX 645349                          40 SKOKIE BOULEVARD, SUITE 600         40 SKOKIE BOULEVARD, SUITE 600
CINCINNATI, OH 45264-5349                ATTN: REGIONAL COUNSEL                 ATTN: VP, LEGAL DEPARTMENT
                                         NORTHBROOK, IL 60062                   NORTHBROOK, IL 60062



BRIXMOR SPE 5 LLC                        BRIXMOR SPE 5 LLC                      BRIXMOR SPE 5 LLC
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP
450 LEXINGTON AVENUE, 13TH FLOOR         450 LEXINGTON AVENUE, 13TH FLOOR       450 LEXINGTON AVENUE, 13TH FLOOR
ATTN: GENERAL COUNSEL                    ATTN: LEGAL DEPARTMENT                 ATTN: OFFICE OF GENERAL COUNSEL
NEW YORK, NY 10017                       NEW YORK, NY 10017                     NEW YORK, NY 10017



BRIXMOR SPE 5 LLC                        BRIXMOR SPE 5 LLC                      BRIXMOR SPE 6 LLC
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP
P.O. BOX 645346                          P.O. BOX 645346                        450 LEXINGTON AVENUE, 13TH FLOOR
CINCINNATI, OH 45264                     CINCINNATI, OH 45264-5346              ATTN: GENERAL COUNSEL
                                                                                NEW YORK, NY 10170



BRIXMOR SPE 6 LLC                        BRIXMOR SPE 6 LLC                      BRIXMOR SPRADLIN FARM LLC
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP
P.O. BOX 645344                          P.O. BOX 645344                        P.O. BOX 645344
CINCINNATI, OH 45264                     CINCINNATI, OH 45264-5344              CINCINNATI, OH 45264-5344




BRIXMOR STOCKBRIDGE VILLAGE              BRIXMOR STOCKBRIDGE VILLAGE            BRIXMOR STONE MOUNTAIN LLC
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP
1003 HOLCOMB WOODS PARKWAY               450 LEXINGTON AVENUE, 13TH FLOOR       P.O. BOX 645321
ATTN: VP LEGAL SERVICES                  ATTN: GENERAL COUNSEL                  CINCINNATI, OH 45264-5321
ROSWELL, GA 30076                        NEW YORK, NY 10170



BRIXMOR STONE MOUNTAIN, LLC              BRIXMOR STONE MOUNTAIN, LLC            BRIXMOR STONE MOUNTAIN, LLC
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP
1003 HOLCOMB WOODS PARKWAY               1003 HOLCOMB WOODS PARKWAY             450 LEXINGTON AVENUE, 13TH FLOOR
ATTN: JEFFREY BOLES                      ATTN: REGIONAL COUNSEL                 ATTN: GENERAL COUNSEL
ROSWELL, GA 30076                        ROSWELL, GA 30076                      NEW YORK, NY 10017



BRIXMOR STONE MOUNTAIN, LLC              BRIXMOR TARPON MALL LLC                BRIXMOR TARPON MALL, LLC
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP
P.O. BOX 645321                          P.O. BOX 645324                        450 LEXINGTON AVENUE, 13TH FLOOR
CINCINNATI, OH 45264-5321                CINCINNATI, OH 45264-5324              ATTN: GENERAL COUNSEL
                                                                                NEW YORK, NY 10017
                       Case 18-12241-CSS
BRIXMOR TARPON MALL, LLC              BRIXMOR Doc   26 MALL,
                                                TARPON   Filed
                                                             LLC10/05/18     PageBRIXMOR
                                                                                  218 ofUC
                                                                                         1739
                                                                                           GREENVILLE LLC
C/O BRIXMOR PROPERTY GROUP            C/O BRIXMOR PROPERTY GROUP                 C/O BRIXMOR PROPERTY GROUP
450 LEXINGTON AVENUE, 13TH FLOOR      P.O. BOX 645324                            450 LEXINGTON AVENUE, 13TH FLOOR
NEW YORK, NY 10017                    CINCINNATI, OH 45264-5324                  ATTN: GENERAL COUNSEL
                                                                                 NEW YORK, NY 10170



BRIXMOR UC GREENVILLE LLC              BRIXMOR UC GREENVILLE LP                  BRIXMOR WENDOVER PLACE LLC
C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP                C/O BRIXMOR PROPERTY GROUP
P.O. BOX 645349                        P.O. BOX 645349                           P.O. BOX 645344
CINCINNATI, OH 45264-5349              CINCINNATI, OH 45264-5349                 CINCINNATI, OH 45264-5344




BRIXMOR/IA CLEARWATER MALL LLC         BRIXMOR/IA CLEARWATER MALL LLC            BRIXMOR/IA QUENTIN COLLECTION LLC
C/O BRIXMOR PROPERTY GROUP             LOCKBOX ACCT - PO BOX 713451              P.O. BOX 713439
450 LEXINGTON AVENUE, 13TH FLOOR       CINCINNATI, OH 45271-3451                 CINCINNATI, OH 45271-3439
ATTN: GENERAL COUNSEL
NEW YORK, NY 10017



BRIXTON FLETCHER, LLC                  BRIXTON-ALTO HIGHLAND LLC                 BRIXTON-ALTO HIGHLAND LLC
C/O BRIXTON CAPITAL                    4435 EASTGATE MALL RD STE 310             P.O. BOX 507416
120 S. SIERRA AVENUE, SUITE 200        SAN DIEGO, CA 92121                       SAN DIEGO, CA 92150-7146
ATTN: ASSET MANAGER
SOLANA BEACH, CA 92075



BRIYANAH BROWN                         BROAD AND CASSEL                          BROAD CREEK PH I LLC
10201 S. MAIN STREET                   ATTN: LEIGH A. WILLIAMS, ESQ.             C/O DIVARIS PROPERTY MGMT CORP
HOUSTON, TX 77025                      390 NORTH ORANGE AVENUE, SUITE 1400       ONE COLUMBUS CENTER STE 700
                                       ORLANDO, FL 32801                         VIRGINIA BEACH, VA 23462




BROAD CREEK PH I LLC                   BROAD CREEK PH I, LLC                     BROAD CREEK PH I, LLC
C/O DIVARIS PROPERTY MGMT CORP         222 CENTRAL PARK AVE, SUITE 2100          C/O DIVARIS PROPERTY MGMT CORP
ONE COLUMBUS CENTER STE 700            VIRGINIA BEACH, VA 23462                  ONE COLUMBUS CENTER STE 700
VIRGINIA BEACH, VA 23462                                                         VIRGINIA BEACH, VA 23462




BROADBELL LLC                          BROADCAST COMPANY OF THE AMERICAS         BROADCAST COMPANY OF THE AMERICAS
C/O CADENCE CAPITAL INV LLC            LLC                                       SD
8480 E ORCHARD RD STE 4350             PO BOX 928333                             PO BOX 92833
GREENWOOD VILLAGE, CO 80111            SAN DIEGO, CA 92192                       SAN DIEGO, CA 92192




BROADCAST MUSIC INC                    BROADCAST MUSIC INC                       BROADCAST ONE LLC
10 MUSIC SQUARE EAST                   PO BOX 630893                             PO BOX 11398
NASHVILLE, TN 37203                    CINCINNATI, OH 45263-0893                 HUNTSVILLE, AL 35814




BROADFEET MANAGEMENT LLC               BROADFEET MANAGEMENT LLC                  BROADFEET MANAGEMENT, LLC
110 JERICHO TPKE                       110 JERICHO TURNPIKE                      ATTN: WENDY CHAN
NEW HYDE PARK, NY 11040                NEW HYDE PARK, NY 11040                   110 JERICHO TURNPIKE, 2ND FLOOR
                                                                                 NEW HYDE PARK, NY 11040




BROADLEAF GROUP LLC                    BROADLEAF GROUP                           BROADPAN PROPERTIES LLC
P.O. BOX 12607                         THE BROADLEAF GROUP LLC                   WESSEX COMMERCIAL MGMT
ALEXANDRIA, LA 71315                   13100 WORTHAM CTR DR STE 150              P.O. BOX 44033
                                       HOUSTON, TX 77065                         PHOENIX, AZ 85064
BROADRIDGE ICS             Case 18-12241-CSS    DocPROPERTY
                                          BROADSEAM 26 Filed  10/05/18LLCPageBROADVIEW
                                                            MANAGEMENT        219 of 1739
                                                                                       NETWORKS
P.O. BOX 416423                            6128 SANTA MARGARITO DR           P.O. BOX 70268
BOSTON, MA 02241-6423                      FORT PIERCE, FL 34951             PHILADELPHIA, PA 19176-0268




BROADVIEW                                  BROADWAY CENTER                   BROADWAY CRAYCROFT LLC
800 WESTCHESTER AVE                        C/O PICOR                         5151 E BROADWAY STE 115
RYE BROOK, NY 10573                        1100 N WILMOT STE 200             TUCSON, AZ 85711
                                           TUCSON, AZ 85712




BROADWAY CROSSINGS II LLC                  BROADWAY CROSSINGS II, LLC        BROADWAY CROSSINGS II, LLC
C/O TKG MANAGEMENT, INC.                   C/O TKG MANAGEMENT, INC.          C/O TKG MANAGEMENT, INC.
211 NORTH STADIUM, SUITE 201               211 NORTH STADIUM, SUITE 201      211 NORTH STADIUM, SUITE 201
ATTN: LEGAL                                ATTN: LEGAL                       ATTN: PROPERTY MANAGEMENT
COLUMBIA, MO 65203                         COLUMBIA, MO 65203                COLUMBIA, MO 65203



BROADWAY ENIGMA LLC                        BROADWAY ENIGMA, LLC              BROADWAY FOSTER LLC
10216 BEECHNUT ST                          10216 BEECHNUT ST                 CHODY REAL ESTATE CORP
HOUSTON, TX 77072                          HOUSTON, TX 77072                 401 N MICHIGAN AVE 24TH FL
                                                                             CHICAGO, IL 60611




BROADWAY MAINTENANCE LLC                   BROADWAY MARKETPL AT DDD          BROADWAY MEDIA LLC
999 SOUTH OYSTER BAY RD STE 200            P.O. BOX 173861                   50 W BROADWAY STE 200
BETHPAGE, NY 11714                         DENVER, CO 80217-3861             SALT LAKE CITY, UT 84101




BROADWAY MEDIA LLC                         BROADWAY MEDIA LLC                BROADWAY NATIONAL SIGN & LIGHTING LLC
KUDD-FM                                    KXRK-FM                           1900 OCEAN AVE
50 W BROADWAY STE 200                      50 W BROADWAY STE 200             RONKONKOMA, NY 11779
SALT LAKE CITY, UT 84101                   SALT LAKE CITY, UT 84101




BROADWAY POWERCENTER GROUP LLC             BROADWAY STATION LLC              BROADWAY STATION LLC
6298 E. GRANT RD 100                       33340 COLLECTION CENTER DR        C/O PHILLIPS EDISON & COMPANY
TUCSON, AZ 85712                           CHICAGO, IL 60693-0333            11501 NORTHLAKE DRIVE
                                                                             CINCINNATI, OH 45249




BROCK CASTILLO                             BROCK HALL                        BROCK SIMMONS
8518 FATHOM CIRCLE APT 111                 10201 S. MAIN STREET              10201 S. MAIN STREET
AUSTIN, TX 78750                           HOUSTON, TX 77025                 HOUSTON, TX 77025




BROCK SIMPSON                              BROCKINGTON ENTERPRISE LLC        BROCKTON FRAZIER
10201 S. MAIN STREET                       9611 BROOKDALE DR. STE 100-127    10201 S. MAIN STREET
HOUSTON, TX 77025                          CHARLOTTE, NC 28215               HOUSTON, TX 77025




BROCKTON PEARCE FRAZIER                    BRODERICK JAY                     BRODERICK TYE
C/O ERACLIDES GELMAN                       10201 S. MAIN STREET              10201 S. MAIN STREET
12500 BRANTLEY COMMONS CT STE 101          HOUSTON, TX 77025                 HOUSTON, TX 77025
FORT MYERS, FL 33907
                      Case
BRODHEAD CREEK REGIONAL  AUTH18-12241-CSS
                                       BRODHEADDoc  26 REGIONAL
                                                  CREEK  Filed 10/05/18
                                                                AUTH         PageBRODYCO,
                                                                                  220 of 1739
                                                                                          INC.
410 MILL CREEK RD                      410 MILL CREEK ROAD                       ATTN: JERIANN SEXTON
EAST STROUDSBURG, PA 18301-1126        EAST STROUDSBURG, PA 18301                530 SE GREENVILLE BLVD., SUITE 200
                                                                                 GREENVILLE, NC 27858




BROGDON CONCESSIONS INC                 BROKAW VENTURES II LLC                   BROKAW VENTURES II, LLC
P.O. BOX 294                            555 TWIN DOLPHIN DRIVE, SUITE 600        ATTN: CARY WILDER
OCEANSIDE, CA 92049                     REDWOOD CITY, CA 94065                   555 TWIN DOLPHIN DRIVE, SUITE 600
                                                                                 REDWOOD CITY, CA 94065




BROKAW VENTURES II, LLC                 BROKAW VENTURES II, LLC                  BROMLEY PORTSMOUTH LLC
ATTN: DAVE DOLLINGER                    ATTN: KIM GROVER                         C/O QUINCY & CO., INC.
555 TWIN DOLPHIN DRIVE, SUITE 600       555 TWIN DOLPHIN DRIVE, SUITE 600        144 GOULD STREET, SUITE 152
REDWOOD CITY, CA 94065                  REDWOOD CITY, CA 94065                   ATTN: RICHARD P. QUINCY, SR., MANAGER
                                                                                 NEEDHAM, MA 02494



BROMLEY-PORTSMOUTH LLC/RCQ-             BROMONT PAVILION MIDSTAR MASTER LP       BRON TAPES OF CALIFORNIA INC
PORTSMOUTH                              RE: NORTH HILLS VILLAGE                  P.O. BOX 5304
C/O QUINCY & CO., INC.                  P.O. BOX 227283                          DENVER, CO 80217
144 GOULD STREET, SUITE 152             DALLAS, TX 75222-7283
ATTN: RICHARD P. QUINCY, SR., MANAGER
NEEDHAM HEIGHTS, MA 02494


BRONSON MARCUM                          BROOKE BARBEIRO                          BROOKE BEAM
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BROOKE BROWN                            BROOKE DODDS                             BROOKE FOX
10201 S. MAIN STREET                    14057 STONEWOOD CT                       3008 45TH AVE SW
HOUSTON, TX 77025                       FISHERS, IN 46037                        SEATTLE, WA 98116




BROOKE HEIN                             BROOKE HOPAUF                            BROOKE MILLER WHITELEY
10201 S. MAIN STREET                    125 NW 20TH PLACE 203                    10201 S. MAIN STREET
HOUSTON, TX 77025                       PORTLAND, OR 97209                       HOUSTON, TX 77025




BROOKE PORTLEY                          BROOKE PRESCOTT                          BROOKE ROTENBERRY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




BROOKE SAGE                             BROOKE SPETH                             BROOKFIELD CITY
323 BELLE VALLEY DR                     3830 ST PAUL AVE                         ATTN: PROPERTY TAX DEPT.
BELLEVUE, TN 37209                      LINCOLN, NE 68504                        P.O. BOX 1296
                                                                                 BROOKFIELD, WI 53008-1296




BROOKFIELD                              BROOKHILL MANAGEMENT CORP.               BROOKHILL TOWNE CENTER
ATTN: PROPERTY TAX DEPT.                501 MADISON AVENUE, 18TH FLOOR           9570 SW BARBUR BLVD STE 311
P.O. BOX 1296                           NEW YORK, NY 10022                       PORTLAND, OR 97219
BROOKFIELD, WI 53008-1296
                      CaseLLC
BROOKLINE INVESTMENT GROUP 18-12241-CSS      DocREAL
                                     BROOKLINE    26 ESTATE
                                                       Filed& INVESTMENTS
                                                              10/05/18      PageBROOKLINE
                                                                                 221 of 1739
P.O. BOX 5273                        ATTN: NIDAL HADDAD                         ATTN: PROPERTY TAX DEPT.
HINSDALE, IL 60523                   171 N. ABERDEEN                            333 WASHINGTON ST 1ST FL ROOM 104
                                     CHICAGO, IL 60607                          BROOKLINE, MA 02445




BROOKLYNN WOOTEN                        BROOKS GAMBLE                           BROOKS GEAR
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




BROOKS HARTMANN                         BROOKS SERVICES                         BROOKSIDE (E&A) LLC
10201 S. MAIN STREET                    PO BOX 841                              DEPT 2143
HOUSTON, TX 77025                       SHEBOYGAN, WI 53082                     P.O. BOX 442
                                                                                LAUREL, NY 11948




BROOKSIDE (E&A) LLC                     BROOKSIDE (E&A), LLC                    BROOKSIDE (E&A), LLC
1221 MAIN ST, STE 1000                  C/O EDENS LIMITED PARTNERSHIP           DEPT 2143
COLUMBIA, SC 29201                      1221 MAIN STREET, SUITE 1000            P.O. BOX 442
                                        ATTN: LEGAL DEPARTMENT                  LAUREL, NY 11948
                                        COLUMBIA, SC 29201



BROOKSIDE INVESTORS LLC                 BROOKSIDE INVESTORS LLC                 BROOKSIDE INVESTORS LLC
29200 NORTHWESTERN HWY STE 450          ATTN: ALAN BASKINS                      ATTN: KAREN SANDERS
SOUTHFIELD, MI 48034                    29200 NORTHWESTERN HIGHWAY, SUITE 450   29200 NORTHWESTERN HIGHWAY, SUITE 450
                                        SOUTHFIELD, MI 48034                    SOUTHFIELD, MI 48034




BROOKSIDE INVESTORS, LLC                BROOKSTONE                              BROOKSVILLE CORTEZ LLC
29200 NORTHWESTERN HIGHWAY, SUITE 450   ONE INOVATION WAY                       400 PERRINE RD STE 405
ATTN: ALAN BASKINS                      MERRIMACK, NH 03060                     OLD BRIDGE, NJ 08857
SOUTHFIELD, MI 48034




BROOKSVILLE CORTEZ LLC                  BROOKWOOD MOUNTAIN VIEW HOUSTON,        BROOKWOOD MOUNTAIN VIEW
C/O CROSSMAN & COMPANY                  LLC                                     HOUSTON, LLC
3333 S ORANGE AVE, SUITE 201            C/O RUBICON MANAGEMENT, LLC             C/O RUBICON MANAGEMENT, LLC
ORLANDO, FL 32806                       3281 ROCKY CREEK DRIVE, SUITE 100       3281 ROCKY CREEK DRIVE, SUITE 100
                                        MISSOURI CITY, TX 77459                 MISSOURI CITY, TX 77459



BROOKWOOD SQUARE LLC                    BROOKWOOD SQUARE LLC                    BROOKWOOD SQUARE, LLC
2028 HARRISON ST, 202                   D/B/A JBL ASSET MGMT LLC ATTN           C/O JBL ASSET MANAGEMENT, LLC
HOLLYWOOD, FL 33020                     ACCOUNTING                              2028 HARRISON STREET - SUITE 202
                                        2028 HARRISON ST STE 202                HOLLYWOOD, FL 33020
                                        HOLLYWOOD, FL 33020



BROOKWOOD, LLC                          BROOMFIELD SHOPS TWO LLC                BROTHERS PRODUCE INC
C/O MIDWAY PROPERTIES                   C/O DRAKE ASSET MGMT LLC                PO BOX 1207
8424 EVERGREEN LANE                     7800 E UNION AVE STE 410                FRIENDSWOOD, TX 77549
DARIEN, IL 60561                        DENVER, CO 80237




BROTHERS PROPERTY MGMT CORP             BROWARD COUNTY TAX COLLECTOR            BROWARD COUNTY TAX COLLECTOR
TWO ALHAMBRA PLAZA STE 1280             1800 NW 66TH AVE STE 100                ATTN: PROPERTY TAX DEPT.
CORAL GABLES, FL 33134                  PLANTATION, FL 33313-4523               115 S ANDREWS ROOM A-100
                                                                                FORT LAUDERDALE, FL 33301
BROWARD COUNTY         Case    18-12241-CSS   Doc
                                         BROWARD INTL26  Filed PARK
                                                      COMMERCE 10/05/18
                                                                    LP       PageBROWMAN
                                                                                  222 of 1739
                                                                                         DEVELOPMENT COMPANY, INC.
115 S ANDREWS ROOM A-100                 1700 STUTZ DRIVE 25                     ATTN: BRIAN AITA
FORT LAUDERDALE, FL 33301                TROY, MI 48084                          1556 PARKSIDE DRIVE
                                                                                 WALNUT CREEK, CA 94596




BROWMAN DEVELOPMENT COMPANY, INC.        BROWMAN DEVELOPMENT COMPANY, INC.       BROWN AND ASSOCIATES
EDWARD TUNG                              SCOTT BOHRER, LEASE ADMINISTRATOR       7687 W 88TH AVENUE
1556 PARKSIDE DRIVE                      1556 PARKSIDE DRIVE                     ARVADA, CO 80005
WALNUT CREEK, CA 94596                   WALNUT CREEK, CA 94597




BROWN AND GOULD LLP                      BROWN BROADCASTING SERVICE INC          BROWN BROADCASTING SERVICE INC
7316 WISCONSIN AVE STE 200               88 BENEVOLENT ST                        D/B/A WBRU-FM
BETHESDA, MD 20814                       PROVIDENCE, RI 02906                    88 BENEVOLENT ST
                                                                                 PROVIDENCE, RI 02906




BROWN COUNTY TREASURER                   BROWN FAMILY COMMERCIAL LEASE LIQ       BROWN FAMILY COMMERCIAL LEASE
ATTN: PROPERTY TAX DEPT.                 TRUST                                   LIQ TRUST
P.O. BOX 23600                           C/O DONALD H. BROWN                     C/O DONALD H. BROWN
GREEN BAY, WI 54305-3600                 4820 WHISPERING PINE WAY                4820 WHISPERING PINE WAY
                                         MAPLES, FL 34103                        MAPLES, FL 34103



BROWN FAMILY COMMERCIAL LEASE            BROWN FAMILY COMMERCIAL LEASE           BROWN FAMILY PROPERTIES LLC
LIQ TRUST                                LIQUIDATING TRUST DTD 4/24/10           C/O SIGNATURE BANK
C/O DONALD H. BROWN                      C/O DONALD H. BROWN                     360 MOTOR PARKWAY, SUITE 150
4820 WHISPERING PINE WAY                 4820 WHISPERING PINE WAY                ATTN: JESSICA
NAPLES, FL 34103                         NAPLES, FL 34103                        HAUPPAUGE, NY 11788



BROWN FAMILY PROPERTIES LLC              BROWN FAMILY PROPERTIES LLC             BROWN FAMILY TRUST
SIGNATURE BANK                           SIGNATURE BANK                          COLLIERS INTERNATIONAL TAMPA BAY
360 MOTOR PKWY STE 150                   360 MOTOR PKWY STE 150                  311 PARK PLACE BLVD STE 600
ATTN: JESSICA                            ATTN: JESSICA                           CLEARWATER, FL 33759
HAUPPAUGE, NY 11788                      HAUPPAUGE, NY 11788-9840



BROWN FINK BOYCE & ASTLE LLP             BROWN INVESTMENT PROPERTIES INC         BROWN INVESTMENT PROPERTIES, INC.
83 SCRIPPS DR STE 210                    P.O. BOX 930                            ATTN: SCOTT KUTOS
SACRAMENTO, CA 95825                     GREENSBORO, NC 27402                    440 WEST MARKET STREET
                                                                                 GREENSBORO, NC 27401




BROWN INVESTMENT PROPERTIES, INC.        BROWN LOGISTICS SOLUTIONS INC           BROWN MANAGEMENT, LLC
P.O. BOX 930                             2100 CLOVERLEAF ST E                    SANDRA MEMOLI
GREENSBORO, NC 27402                     COLUMBUS, OH 43232-4101                 245 GREEN VILLAGE ROAD
                                                                                 CHATHAM TOWNSHIP, NJ 07928-0901




BROWN REALTY EIGHT LLC                   BROWN REALTY EIGHT, LLC                 BROWN REALTY EIGHT, LLC
C/O BROWN MANAGEMENT LLC                 C/O BROWN MANAGEMENT LLC                C/O BROWN MANAGEMENT LLC
245 GREEN VILLAGE ROAD                   245 GREEN VILLAGE ROAD                  245 GREEN VILLAGE ROAD
CHATHAM TOWNSHIP, NJ 07928-0901          CHATHAM TOWNSHIP, NJ 07928              CHATHAM TOWNSHIP, NJ 07928-0901




BROWNSBURG DEVELOPMENT LLC               BROWNSBURG DEVELOPMENT LLC              BROWNSBURG DEVELOPMENT LLC
8463 CASTLEWOOD DRIVE, SUITE 200         ATTN: CRAIG MAY                         NORTHFIELD COMMONS II
ATTN: CRAIG MAY                          8463 CASTLEWOOD DRIVE, SUITE 200        8463 CASTLEWOOD DRIVE, SUITE 200
INDIANAPOLIS, IN 46250                   INDIANAPOLIS, IN 46250                  INDIANAPOLIS, IN 46250
BROWNSTEIN HYATT FARBER  Case  18-12241-CSS
                            SCHRECK, LLP BROYHILLDoc   26 Filed
                                                   HERITAGE       10/05/18
                                                            HOME GROUP LLC    PageBRTM
                                                                                   223PARTNERSHIP
                                                                                       of 1739 C/O MIKE ROBERTS
ATTN: ROBERT KAUFMANN                    D/B/A BROYHILL FURNITURE                 10029 PARKSIDE DRIVE
410 17TH STREET, SUITE 2200              P.O. BOX 842386                          KNOXVILLE, TN 37922
DENVER, CO 80202                         BOSTON, MA 02284




BRTM PARTNERSHIP                        BRTM PARTNERSHIP                          BRUBAKER & COMPANY CONTRACTING LLC
10029 PARKSIDE DRIVE                    C/O MIKE ROBERTS                          4137 WILLYS PKWY
KNOXVILLE, TN 37922                     10029 PARKSIDE DRIVE                      TOLEDO, OH 43612
                                        KNOXVILLE, TN 37922




BRUCE A GOODMAN                         BRUCE ATKINSON                            BRUCE BROUGH
C/O GOODMAN PROPERTIES                  10201 S. MAIN STREET                      10201 S. MAIN STREET
636 OLD YORK RD 2ND FLOOR               HOUSTON, TX 77025                         HOUSTON, TX 77025
JENKINTOWN, PA 19046




BRUCE BROWN                             BRUCE BURNETT                             BRUCE CAIRNS
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




BRUCE DANIELSON                         BRUCE EASTERDAY                           BRUCE FOX
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




BRUCE GOTHARD                           BRUCE GREENHALGH                          BRUCE GRISSOM
10201 S. MAIN STREET                    10201 S. MAIN STREET                      9612 PARK HIGHLANDS DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                         DALLAS, TX 75238




BRUCE H CARTER TRUSTEE                  BRUCE H WIENER                            BRUCE H WIENER
ATLANTIC CAPITAL BANK / TRINET          120 UNIVERSITY AVE                        120 UNIVERSITY AVE
P.O. BOX 1929                           LOS ALTOS, CA 94022                       LOS ALTOS, CA 94023
DALTON, GA 30722-1929




BRUCE H WIENER                          BRUCE H. CARTER LIVING TRUST              BRUCE HARRIS DBA WINDOW GUY
120 UNIVERSITY AVENUE                   838 SAN LUIS ROAD                         3655 MORGAN DR
LOS ALTOS, CA 94023                     BERKELEY, CA 94707                        WEIRTON, WV 26062




BRUCE HOFFMANN                          BRUCE KERR                                BRUCE KIRBY
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




BRUCE LASKEY                            BRUCE LEVY AND TERRA CONSULTING II,       BRUCE LEVY
10201 S. MAIN STREET                    LLC                                       17831 MONTE VISTA DRIVE
HOUSTON, TX 77025                       C/O BLIZZARD & NABERS, LLP                BOCA RATON, FL 33496
                                        ATTN: EDWARD BLIZZARD
                                        5020 MONTROSE BLVD, SUITE 410
                                        HOUSTON, TX 77006
BRUCE LUJAN             Case 18-12241-CSS     Doc 26
                                       BRUCE LUNDEEN      Filed 10/05/18     PageBRUCE
                                                                                  224 LUNDEEN
                                                                                       of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




BRUCE MICHALSKI                        BRUCE MILLER                              BRUCE MITCHELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




BRUCE NOWAK                            BRUCE PERKINS                             BRUCE PHELPS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




BRUCE PICKETT                          BRUCE REED                                BRUCE REIBEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




BRUCE ROBINSON                         BRUCE SCHENDEL                            BRUCE STINE
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




BRUCE SUMNER                           BRUCE THORNTON AIR CONDITIONING INC       BRUCE TRAWICK
10201 S. MAIN STREET                   128 SLATON RD                             10201 S. MAIN STREET
HOUSTON, TX 77025                      LUBBOCK, TX 79404-5202                    HOUSTON, TX 77025




BRUCE WILSON                           BRUCE WILSON                              BRUCKNERS TRUCK SALES
C/O WILSON GRADING AND HAULING         D/B/A WILSON GRADING & HAULING            CORPORATE BILLING LLC
PO BOX 137                             8065 MAHAN GAP RD                         DEPT 959 PO BOX 1000
OOLTEWAH, TN 37363                     OOLTEWAH, TN 37363                        MEMPHIS, TN 38148-0959




BRUEMMER, EMI                          BRUNSWICK ALTAMA LLC                      BRUNSWICK COUNTY REVENUE DEPT
737 FRANCISCO BL E # 399               ATTN: BECKY ADAMS                         PO BOX 580335
SAN RAFAEL, CA 94901-4007              550 S MAIN STREET STE 300                 CHARLOTTE, NC 28258-0335
                                       GREENVILLE, SC 29601




BRUNSWICK ELEC MEMBERSHIP CORP         BRUNSWICK ELEC MEMBERSHIP CORP            BRUNSWICK EQUITY LLC
795 OCEAN HWY W                        MAIL PROCESSING CENTER                    13500 PEARL RD STE 139-369
SUPPLY, NC 28462                       P.O. BOX 580348                           STRONGSVILLE, OH 44136
                                       CHARLOTTE, NC 28258-0348




BRUNSWICK EQUITY LLC                   BRUNSWICK EQUITY LLC                      BRUNSWICK GLYNN COUNTY JOINT
ATTN: ALFRED KRIST                     ATTN: ALFRED KRIST                        1703 GLOUCESTER ST
13500 PEARL ROAD, SUITE 139-369        13500 PEARL ROAD, SUITE 139-369           BRUNSWICK, GA 31520
STRONGSVILLE, OH 44136                 STRONGSVILLE, OH 44146
BRUNSWICK GLYNN COUNTY Case
                        JOINT18-12241-CSS     DocGLYNN
                                       BRUNSWICK   26 COUNTY
                                                        Filed 10/05/18   PageBRUNSWICK
                                                                              225 of 1739
                                                                                       NEWS PUBLISHING CO INC
P.O. BOX 628396                        1703 GLOUCESTER ST                    D/B/A THE BRUNSWICK NEWS
ORLANDO, FL 32862-8396                 BRUNSWICK, GA 31520                   3011 ALTAMA AVEPO BOX 1557
                                                                             BRUNSWICK, GA 31521




BRUNSWICK REGIONAL WATER & SWR        BRUNSWICK REGIONAL WATER & SWR         BRUNSWICK
516 VILLAGE RD                        P.O. BOX 2230                          ATTN: PROPERTY TAX DEPT.
LELAND, NC 28451                      LELAND, NC 28451-2230                  PO BOX 550
                                                                             BRUNSWICK, GA 31521-0550




BRUTON & BERUBE PLLC                  BRUTON & BERUBE PLLC                   BRYAN ALTMAN
100 MAIN STREET STE 230               798 CENTRAL AVE                        10201 S. MAIN STREET
DOVER, NH 02831                       DOVER, NH 03820                        HOUSTON, TX 77025




BRYAN ANDREAS                         BRYAN BALDYGA                          BRYAN BARNER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




BRYAN BORSH                           BRYAN CAMACHO                          BRYAN COLLEGE STATION COMM, INC.
10201 S. MAIN STREET                  10201 S. MAIN STREET                   D/B/A BRYAN-COLLEGE STATION EAGLE
HOUSTON, TX 77025                     HOUSTON, TX 77025                      P.O. BOX 3000
                                                                             BRYAN, TX 77805




BRYAN COLLINS                         BRYAN COOPER                           BRYAN COPUS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




BRYAN COPUS                           BRYAN CROFUT                           BRYAN FREEMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




BRYAN GASKIN                          BRYAN GENTRY                           BRYAN GROSS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




BRYAN GUY                             BRYAN HALLEY                           BRYAN HARPER
                                      10201 S. MAIN STREET                   10201 S. MAIN STREET
                                      HOUSTON, TX 77025                      HOUSTON, TX 77025




BRYAN HENRIQUEZ                       BRYAN HEPWORTH                         BRYAN HORNE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
BRYAN HURTADO          Case 18-12241-CSS     Doc 26
                                      BRYAN IVES         Filed 10/05/18   PageBRYAN
                                                                               226 IVES
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRYAN JOHNSON                         BRYAN KAPPMEYER                         BRYAN KAPSHO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRYAN KENT                            BRYAN KUNIN                             BRYAN L QUICK
                                      10201 S. MAIN STREET                    5525 SOUTH 900 E STE 235
                                      HOUSTON, TX 77025                       SALT LAKE CITY, UT 84117




BRYAN M DAVIS                         BRYAN MCROBBIE                          BRYAN MEDEL
3836 GLENLAKE SPRINGS CT                                                      10201 S. MAIN STREET
KENNESAW, GA 30144                                                            HOUSTON, TX 77025




BRYAN MERRITS                         BRYAN MESTRIL                           BRYAN NELSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRYAN OAKLEY                          BRYAN OLCOTT                            BRYAN PAUL FREEMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    915 GRACE AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       BURLINGTON, NC 27217




BRYAN PAUL FREEMAN                    BRYAN PERRY                             BRYAN PUTERBAUGH
D/B/A FREEMAN MANAGEMENT LLC          10201 S. MAIN STREET                    10201 S. MAIN STREET
915 GRACE AVE                         HOUSTON, TX 77025                       HOUSTON, TX 77025
BURLINGTON, NC 27217




BRYAN R ROGERS                        BRYAN ROONEY                            BRYAN SANDERS
D/B/A DESIGN CONCEPTS & GRAPHICS      10201 S. MAIN STREET                    10201 S. MAIN STREET
3 BRIARWOOD CIRCLE                    HOUSTON, TX 77025                       HOUSTON, TX 77025
RICHARDSON, TX 75080




BRYAN SCHELL                          BRYAN SCHELL                            BRYAN SIMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRYAN SKIPWITH                        BRYAN VELASQUEZ                         BRYAN VINCENT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
BRYAN WILKERSON        Case 18-12241-CSS
                                      BRYANA Doc 26
                                             STUBBS      Filed 10/05/18   PageBRYAN-COLLEGE
                                                                               227 of 1739STATION EAGLE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    PO BOX 3000
HOUSTON, TX 77025                     HOUSTON, TX 77025                       BRYAN, TX 77805




BRYANNA HOLLIS                        BRYANT MACKEY                           BRYANT WELCH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRYANT WILLIAMS                       BRYANT WOODS                            BRYCE BARNEY
10201 S. MAIN STREET                                                          10201 S. MAIN STREET
HOUSTON, TX 77025                                                             HOUSTON, TX 77025




BRYCE BLACKWELL                       BRYCE DUNHAM ZEMBERI                    BRYCE DUNHAM-ZEMBERI
10201 S. MAIN STREET                  12686 LA TORTOLA                        10201 S. MAIN STREET
HOUSTON, TX 77025                     SAN DIEGO, CA 92129                     HOUSTON, TX 77025




BRYCE E NEWTON                        BRYCE PARKER                            BRYCE ROBERTS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRYCE STRAUB                          BRYCE TOWNSEND                          BRYCE WILLIAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRYCE WILLIAMSON                      BRYCE WILLIAMSON                        BRYCE WINKLER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




BRYCE WOOD                            BRYENNE STOWE                           BRYN HENRIE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    827 E 620 N
HOUSTON, TX 77025                     HOUSTON, TX 77025                       PROVO, UT 84606




BRYON BLEASDALE                       BRYON RICHTER                           BRYSON ISENHART
11203 APISON PIKE                     10201 S. MAIN STREET                    10201 S. MAIN STREET
APISON, TN 37302                      HOUSTON, TX 77025                       HOUSTON, TX 77025




BRYSON MCCUEN                         BRYSON SMITH                            BRYTON ROBERTSON
10201 S. MAIN STREET                  70 BAYLOR                               10201 S. MAIN STREET
HOUSTON, TX 77025                     PUEBLO, CO 81005                        HOUSTON, TX 77025
BSG HOMEWOOD LLC       Case 18-12241-CSS      Doc 26 LLCFiled 10/05/18
                                      BSG HOMEWOOD,                       PageBSG
                                                                               228  of 1739 LLC
                                                                                  HOMEWOOD,
SHINER MANAGEMENT GROUP INC           C/O SHINER MANAGEMENT GROUP, INC.       C/O SHINER MANAGEMENT GROUP, INC.
3201 OLD GLENVIEW RD STE 235          3201 OLD GLENVIEW RD STE 235            3201 OLD GLENVIEW ROAD, SUITE 301
WILMETTE, IL 60091                    WILMETTE, IL 60091                      WILMETTE, IL 60091




BSI                                    BSM THORNTON LLC                       BSM THORNTON LLC
255 CALIFORNIA ST 10TH FLOOR           3001 ARMORY DRIVE 250                  C/O BAKER STOREY MCDONALD
SAN FRANCISCO, CA 94111-4916           NASHVILLE, TN 37204                    3001 ARMORY DRIVE, SUITE 250
                                                                              ATTN: CARL STOREY
                                                                              NASHVILLE, TN 37204



BSM THORNTON, LLC                      BSM WHITESBURG PLAZA LLC               BSM WHITESBURG PLAZA LLC
C/O BAKER STOREY MCDONALD              C/O BAKER STOREY MCDONALD              C/O BAKER STOREY MCDONALD
3001 ARMORY DRIVE, SUITE 250           PROPERTIES                             PROPERTIES
ATTN: CARL STOREY                      P.O. BOX 935621                        P.O. BOX 935621
NASHVILLE, TN 37204                    ATLANTA, GA 31193-5621                 NASHVILLE, TN 37204



BSM WHITESBURG PLAZA, LLC              BSM WHITESBURG PLAZA, LLC              BSM WHITESBURG PLAZA, LLC
3011 ARMORY DR., SUITE 120             C/O BAKER STOREY MCDONALD              C/O BAKER STOREY MCDONALD
NASHVILLE, TN 37204                    PROPERTIES                             PROPERTIES
                                       P.O. BOX 935621                        P.O. BOX 935621
                                       ATLANTA, GA 31193-5621                 NASHVILLE, TN 37204



BSS PROPERTIES INC.                    BTA ASSOCIATES LLC                     BTA MIDDLETOWN LLC
114 WEST STREET                        2100 ALUMINUM AVE SUITE 108            955 WASHINGTON ST
WILMINGTON, MA 01887                   HAMPTON, VA 23661                      MIDDLETOWN, CT 06457




BTC II HOLDCO LLC                      BTC II HOLDCO LLC                      BTC II HOLDCO LLC
518 17TH ST STE 1700                   518 17TH ST                            C/O IPT AGUA MANSA COMMERCE CENTER
DENVER, CO 80202                       DENVER, CO 80202                       LLC
                                                                              518 17TH STREET, SUITE 1700
                                                                              DENVER, CO 80202



BTCIP II                               BTES                                   BTISSAM AIT LASRY
P.O. BOX 95534                         PO BOX 549                             10201 S. MAIN STREET
GRAPEVINE, TX 76099-9703               BRISTOL, TN 37621-0549                 HOUSTON, TX 77025




BTMI LTD                               BTMI LTD                               BTMI LTD.
1045 FIFTH AVENUE, 6TH FLOOR           ATTN: JOANNE PISANO, ESQ.              1045 FIFTH AVENUE, 6TH FLOOR
NEW YORK, NY 10028                     1250 CENTRAL PARK AVENUE               NEW YORK, NY 10028
                                       YONKERS, NY 10704




BTS BOWLING GREEN LLC                  BTS DOTHAN MF LLC                      BTS DOTHAN MF LLC
ATTN: GARY B CRESS                     P.O. BOX 1260                          P.O. BOX 680176
P.O. BOX 1260                          RIDGELAND, MS 39158                    PRATTVILLE, AL 36068
RIDGELAND, MS 39158




BTS LLC DBA BTS BOWLING GREEN LLC      BTS MONTGOMERY MF LLC                  BUCHANAN CO COLLECTOR OF REVENUE
P.O. BOX 1260                          P.O. BOX 1260                          411 JULES ST, 123
RIDGELAND, MS 39158                    RIDGELAND, MS 39157                    ST. JOSEPH, MO 64501
BUCHANAN CONSTRUCTION   Case  18-12241-CSS
                         SERVICES INC   BUCHANANDoc 26 Filed 10/05/18       PageBUCK
                                                                                 229BUCKMASTER
                                                                                     of 1739
P.O. BOX 6782                           ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET
COLUMBIA, SC 29260-6782                 P.O. BOX 6782                           HOUSTON, TX 77025
                                        COLUMBIA, SC 29260-6782




BUCK OWENS PRODUCTIONS BAKERSFIELD    BUCK WAGNER                               BUCKEYE BROADBAND
3223 SILLECT AVE                      10201 S. MAIN STREET                      P.O. BOX 10027
BAKERSFIELD, CA 93308                 HOUSTON, TX 77025                         TOLEDO, OH 43699-0027




BUCKEYE BUSINESS PRODUCTS INC         BUCKEYE                                   BUCKEYE
P.O. BOX 392340                       4111 TALMADGE RD                          P.O. BOX 10027
CLEVELAND, OH 44193                   TOLEDO, OH 43623                          TOLEDO, OH 43699-0027




BUCKHEAD WALK ASSOCIATES LLC          BUD FORRESTER                             BUDGET JANITORIAL
CO SOUTHPROP INC                      10201 S. MAIN STREET                      3111 S VALLEY VIEW E132
6000 LAKE FORREST DR STE 235          HOUSTON, TX 77025                         LAS VEGAS, NV 89102
ATLANTA, GA 30328




BUDGET SERVICES LLC                   BUDGET VAN LINES INC                      BUDGET WINDOW & CARPTE CLEANING
3111 S VALLEY VIEW E132               5150 WILSHIRE BLVD STE 400                D/B/A BUDGET JANITORIAL
LAS VEGAS, NV 89102                   LOS ANGELES, CA 90036                     3111 S VALLEY VIEW J - 103
                                                                                LAS VEGAS, NV 89102




BUENA-HAYDEN LLC                      BUFFALO-MOORESVILLE II LP                 BUFFALO-MOORESVILLE II LP
C/O RTG PROPERTY MANAGEMENT           C/O DDR CORP                              C/O DDR CORP
808 SW ALDER STREET, SUITE 200        3300 ENTERPRISE PKWY                      3300 ENTERPRISE PKWY
PORTLAND, OR 97205                    BEACHWOOD, OH 44122                       BEACHWOOD, OH 44122




BUFKIN PARTNERS LTD                   BUILDERS MARKETING GROUP                  BUILDERS PROPERTY MANAGEMENT GROUP
D/B/A LONGVIEW TRUCK CENTER           26895 ALISO CREEK RD B-801                JOSH TURNER
3132 HWY 31 N                         ALISO VIEJO, CA 92656                     1081 S. GLENDALE
LONGVIEW, TX 75603                                                              WICHITA, KS 67208




BUILDING 6S LLC.                      BUILDING BROTHERS INC                     BUILDING INDUSTRY ASSOC OF SE
COLLIERS INTERNATIONAL                43-07 48 AVENUE                           MICHIGAN
4520 MAIN ST STE 1000                 WOODSIDE, NY 11377                        2075 WALNUT LAKE RD
KANSAS CITY, MO 64111                                                           WEST BLOOMFIELD, MI 48323




BUILDING INDUSTRY ASSOC. OF           BUILDING INDUSTRY ASSOCIATION OF          BUILDINGSTARS OPERATIONS INC
GREATER LOUISVILLE                    HAWAII                                    11489 PAGE SERVICE DR
1000 N HURSTBOURNE PKWY               94-487 AKOKI ST STE 213                   SAINT LOUIS, MO 63146-3529
LOUISVILLE, KY 40223                  WAIPAHU, HI 96797




BULGER SAFE & LOCK INC                BULLDOG II-KN LLC                         BULLDOG II-KN LLC
11502 LAKE CITY WAY NE                400 PERIMETER CENTER TERRACE, SUITE       C/O ROOMS TO GO
SEATTLE, WA 98125                     800                                       400 PERIMETER CENTER TERRACE, SUITE
                                      C/O ROOMS TO GO                           800
                                      ATTN: JEFFREY H. FINKEL                   ATTN: JEFFREY H. FINKEL
                                      ATLANTA, GA 30346                         ATLANTA, GA 30346
BULLDOG TRUCKING        Case 18-12241-CSS     Doc 26
                                       BULLETPROOF        Filed 10/05/18   PageBULLETPROOFONLINE.COM
                                                                                230 of 1739
20750 A OSTRICH DRIVE                  1840 41ST AVE 102-333                   1840 41ST AVE 102-333
LEBANON, MO 65536                      CAPITOLA, CA 95010                      CAPITOLA, CA 95010




BULLFIRM LLC                           BULLFIRM LLC                            BULLFIRM LLC
C/O ACRE                               C/O ACRE                                C/O BERG LAW FIRM
P.O. BOX 206514                        PO BOX 206514                           311 TOWNEPARK CIRCLE
LOUISVILLE, KY 40250                   LOUISVILLE, KY 40250                    LOUISVILLE, KY 40243




BULLOCK ENTERPRISES INC                BULLOCK ENTERPRISES INC                 BULLSEYE/PROVIDENCE SQUARE INC
1050 BUCKHEAD CROSSING                 3612 SANDY PLAINS RD                    C/O BULLSEYE PROPERTIES, INC.
WOODSTOCK, GA 30189                    MARIETTA, GA 30066                      4411 BEE RIDGE ROAD, SUITE 501
                                                                               SARASOTA, FL 34233




BULLSEYE/PROVIDENCE SQUARE, INC.       BUMPER TO MUDFLAP TRUCK SERVICES LLC    BUNCHER COMPANY
C/O BULLSEYE PROPERTIES, INC.          P.O. BOX 737                            1300 PENN AVE, STE 300
4411 BEE RIDGE ROAD, SUITE 501         SUMMERVILLE, SC 29484                   PITTSBURGH, PA 15222
SARASOTA, FL 34233




BUNCHER COMPANY                        BUNCOMBE COUNTY TAX DEPT                BUREAU OF ELECTRONIC & APPLIANCE
P.O. BOX 768                           94 COXE AVE                             REPAIR
PITTSBURGH, PA 15230-0768              ASHEVILLE, NC 28801-3620                4244 S. MARKET CT. STE D
                                                                               SACRAMENTO, CA 95834-1243




BUREAU OF FIRE PREVENTION              BUREAU OF FIRE PREVENTION               BUREAU OF FIRE PREVENTION
BORDENTOWN TOWNSHIP FIRE DISTRICT 1    BOROUGH OF NORTHVALE                    DISTRICT 3-OLD BRIDGE TOWNSHIP
PO BOX 11372                           116 PARIS AVE                           913 ENGLISHTOWN RD
YARDVILLE, NJ 08620                    NORTHVALE, NJ 07647                     OLD BRIDGE, NJ 08857




BUREAU OF FIRE PREVENTION              BUREAU OF FIRE PREVENTION               BUREAU OF FIRE PREVENTION
HAMPTON TOWNSHIP                       MIDDLE TOWNSHIP DISTRICT 1              ROCKAWAY TOWNSHIP
1 RUMSEY WAY                           115 MECHANIC ST                         OFFICE OF THE FIRE OFFICIAL
NEWTON, NJ 07860                       CAPE MAY COURT HOUSE, NJ 08210          65 MOUNT HOPE RD
                                                                               ROCKAWAY, NJ 07866



BUREAU OF FIRE PREVENTION              BUREAU OF HOME FURNISHINGS              BUREAU OF MOTOR VEHICLES
TOWNSHIP OF WASHINGTON-FIRE OFFICIAL   4244 S MARKET CT STE D                  PO BOX 100
PO BOX 8176                            SACRAMENTO, CA 95834-1243               WINCHESTER, IN 47394-0100
TURNERSVILLE, NJ 08012




BURGER KING CORPORATION                BURGER KING CORPORATION                 BURGESS INVESTMENTS LLC
GBS 3RD FLOOR-BUSINESS ANALYSTS        GBS 3RD FLOOR-BUSINESS ANALYSTS         ATTN: WALTER BURGESS
5505 BLUE LAGOON DR                    5505 BLUE LAGOON DR                     1143 F WOODRUFF RD
MIAMI, FL 33126                        MIAMI, FL 33166                         GREENVILLE, SC 29607




BURGESS INVESTMENTS, LLC               BURGESS INVESTMENTS, LLC                BURGMEIERS HAULING INC
40 LOCKWOOD AVENUE                     ATTN: SCOTT BURGESS                     1356 OLD SIXTH AVENUE RD
ATTN: SCOTT BURGESS                    40 LOCKWOOD AVENUE                      ALTOONA, PA 16601
GREENVILLE, SC 29607                   GREENVILLE, SC 29607
BURGMEIERS HAULING INCCase    18-12241-CSS     Doc
                                        BURKE CO TAX26   Filed 10/05/18
                                                     COLLECTOR                  PageBURKE
                                                                                     231 of 1739
P.O. BOX 929                             P.O. BOX 219                               ATTN: PROPERTY TAX DEPT.
ALTOONA, PA 16603                        MORGANTON, NC 28680-0219                   P.O. BOX 219
                                                                                    MORGANTON, NC 28680




BURKETTS                                 BURKHARD SHEPPARD                          BURL JOHNSON
8520 YOUNGER CREEK DRIVE                 10201 S. MAIN STREET                       620 DOYLE AVE APT 5
SACRAMENTO, CA 95828                     HOUSTON, TX 77025                          WEST HOMESTEAD, PA 15120




BURLESON GATEWAY STATION LMTD            BURLESON GATEWAY STATION LMTD              BURLINGTON CROSSROADS (E&A) LLC
PRTNRSHIP                                PRTNRSHIP                                  DEPT 2144
P.O. BOX 82565                           P.O. BOX 82565                             P.O. BOX 822315
DEPT CODE STXB0496C                      DEPT CODE STXB0496C                        PHILADELPHIA, PA 19182
GOLETA, CA 93118-2565                    GOLETA, CA 93118-2565



BURLINGTON CROSSROADS (E&A), LLC         BURLINGTON CROSSROADS (E&A), LLC           BURLINGTON CROSSROADS (E&A), LLC
C/O EDENS LIMITED PARTNERSHIP            C/O EDEN'S LIMITED PARTNERSHIP             DEPT 2144
1221 MAIN STREET, SUITE 1000             1221 MAIN STREET, SUITE 1000               P.O. BOX 822315
ATTN: LEGAL DEPARTMENT                   ATTN: LEGAL DEPARTMENT                     PHILADELPHIA, PA 19182
COLUMBIA, SC 29201                       COLUMBIA, SC 29201



BURLINGTON ELECTRIC DEPARTMENT           BURLINGTON ELECTRIC DEPARTMENT             BURLINGTON TOWNSHIP
585 PINE ST                              P.O. BOX 5119                              BUREAU OF FIRE PREVENTION
BURLINGTON, VT 05401                     BURLINGTON, VT 05402-5119                  1601 BURLINGTON BYPASS
                                                                                    BURLINGTON, NJ 08016




BURLINGTON                               BURNET CENTRAL APPRAISAL DISTRICT          BURNET
ATTN: PROPERTY TAX DEPT.                 ATTN: CHIEF APPRAISER                      ATTN: PROPERTY TAX DEPT.
833 S SPRUCE ST                          PO BOX 908                                 PO BOX 908
BURLINGTON, WA 98233                     BURNET, TX 78611                           BURNET, TX 78611




BURNSCRAFT MANUFACTURING                 BURNT MILLS                                BURRTEC WASTE & RECYCLING SVCS/5518
D/B/A NATIONAL FENCE CO                  C/O FW FOUR CORNERS                        9890 CHERRY AVE
14802 WILLIS ST                          P.O. BOX 824848                            FONTANA, CA 92335
HOUSTON, TX 77039                        PHILADELPHIA, PA 19182




BURRTEC WASTE & RECYCLING SVCS/5518      BURRTEC WASTE INDUSTRIES INC               BURRTEC WASTE INDUSTRIES INC
P.O. BOX 5518                            9890 CHERRY AVE                            P.O. BOX 6240
BUENA PARK, CA 90622-5518                FONTANA, CA 92335                          BUENA PARK, CA 90622-6240




BURRTEC WASTE INDUSTRIES INC. - 5938     BURRTEC WASTE INDUSTRIES INC. - 5938       BURRTEC WASTE INDUSTRIES INC. - 6520
9890 CHERRY AVE                          P.O. BOX 5938                              9890 CHERRY AVE
FONTANA, CA 92335                        BUENA PARK, CA 90622-5938                  FONTANA, CA 92335




BURRTEC WASTE INDUSTRIES INC. - 6520     BURSEY & ASSOCIATES P.C.                   BURTON AMOS
P.O. BOX 515136                          6740 N ORACLE RD STE 151                   10201 S. MAIN STREET
LOS ANGELES, CA 90051-5136               TUCSON, AZ 85704                           HOUSTON, TX 77025
BURTON PROPERTY GROUPCase 18-12241-CSS        Doc
                                       BUSINESS     26 Filed
                                                LICENSES  LLC   10/05/18      PageBUSINESS
                                                                                   232 of PROPERTY
                                                                                           1739    DEVELOPMENT, LLC
ATTN: DAWN ORR                         21 ROBERT PITT DRIVE SUITE 310             ATTN: PAMALA GASAWAY
41 WEST I-65 SERVICE ROAD N, SUITE 310 MONSEY, NY 10952                           22020 17TH AVENUE SE, SUITE 200
MOBILE, AL 36608                                                                  BOTHELL, WA 98021




BUSINESS TRUST DIVISION OF CHARLES     BUSINESS WIRE INC.                         BUTERA ELECTRIC INC
SCHWAB BANK                            DEPARTMENT 34182                           4618 W PARKVIEW CIRCLE
P.O. BOX 202770                        P.O. BOX 39000                             GLENDALE, AZ 85310
AUSTIN, TX 78720                       SAN FRANCISCO, CA 94139




BUTLER COUNTY CLERK OF COURTS          BUTLER COUNTY WATER & SEWER                BUTLER COUNTY
315 HIGH STREET STE 550                P.O. BOX 742640                            PARCEL 56-10-23E-0000
HAMILTON, OH 45011-9826                CINCINNATI, OH 45274-2640                  P.O. BOX 385
                                                                                  LYDORA, PA 16045




BUTLER EAGLE                           BUTLER RETAIL ASSOCIATES LLC               BUTLER RETAIL ASSOCIATES, LLC
P.O. BOX 271                           C/O RIVERVIEW MGMT CO                      1765 MERRIMAN ROAD
BUTLER, PA 16003-0271                  1765 MERRIMAN RD                           AKRON, OH 44313
                                       AKRON, OH 44313




BUTLER SPECIALTY COMPANY               BUTLER TOWNSHIP                            BUTTE COUNTY
8157 SOLUTIONS CTR                     ATTN: FIRE MARSHALS OFFICE                 ATTN: PROPERTY TAX DEPT.
CHICAGO, IL 60677                      290 SOUTH DUFFY RD                         25 COUNTY CTR DR STE 125
                                       BUTLER, PA 16001                           OROVILLE, CA 95965




BUTTE COUNTY                           BUTTSWELL CORP                             BUXTON COMPANY
ATTN: TAX COLLECTOR                    1660 SARNO RD STE 111                      2651 S POLARIS DR
25 COUNTY CTR DR STE 125               MELBOURNE, FL 32935                        FORT WORTH, TX 76137
OROVILLE, CA 95965




BUYSAFE                                BUZZ OATES MANAGEMENT SERVICES, INC.       BUZZELL, KATIE
1611 N KENT ST 803                     ATTN:COURTNEY OATES, LAND RE ANALYST       16 PEARL ST
ARLINGTON, VA 22209                    555 CAPITOL MALL, SUITE 900                WINDSOR LOCKS, CT 60961-422
                                       SACRAMENTO, CA 95814




BV MUD LLC                             BV MUD LLC                                 BV POINCIANA LLC
C/O J.A. KENNEDY REAL ESTATE COMPANY   C/O J.A. KENNEDY REAL ESTATE COMPANY       ATTN: JESSICA WHITCHER
7155 S. RAINBOW BLVD., SUITE 200       7155 S. RAINBOW BLVD., SUITE 200           2300 CURLEW RD STE 100
ATTN: AUDRA ROTHKEGEL                  ATTN: AUDRA ROTHKEGEL                      PALM HARBOR, FL 34683
LAS VEGAS, NV 89118                    LAS VEGAS, NV 91118



BVK LONDON SQUARE LLC                  BVK LONDON SQUARE LLC                      BVMC FLOWER MOUND LLC
C/O JONES LANG LASALLE                 P.O. BOX 865347                            ATTN: SUSAN POTTER
13550 SW 120TH STREET, SUITE 502       ORLANDO, FL 32886-5347                     P.O. BOX 51298
MIAMI, FL 33186                                                                   IDAHO FALLS, ID 83405




BVU                                    BVU                                        BW A1A INC
15022 LEE HIGHWAY                      P.O. BOX 8100                              P.O. BOX 648007
BRISTOL, VA 24202                      BRISTOL, VA 24203-8100                     VERO BEACH, FL 32964-8007
BW A-1-A, INC.           Case 18-12241-CSS
                                        BW LAKEDoc 26JOGFiled
                                                WORTH    LLC 10/05/18     PageBWC
                                                                               233STATE
                                                                                    of 1739
                                                                                        INSURANCE FUND
114 NE 1ST AVE                          GROVE GATE FINANCIAL LLC/SHIRLY       30 WEST SPRING STREET
DELRAY BEACH, FL 33444                  HEDGES                                COLUMBUS, OH 43125-2256
                                        TWO S UNIVERSITY DR STE 325
                                        FORT LAUDERDALE, FL 33324



BWC STATE INSURANCE FUND                BWISE INC                             BWISE INC
CORPORATE PROCESSING DEPT.              1450 BROADWAY 38TH FLOOR              BANK OF AMERICA-BWISE INTERNAL CONT
P.O.BOX 710977                          NEW YORK, NY 10018                    P.O. BOX 842034
COLUMBUS, OH 43271-0977                                                       DALLAS, TX 75284-2034




BYBLOS DEVELOPMENT INC                  BYBLOS DEVELOPMENT INC.               BYBLOS VILLAGES, LLC
7932 W SAND LAKE RD STE 102             7932 W SAND LAKE RD STE 102           7932 WEST SAND LAKE ROAD, SUITE 102
ORLANDO, FL 32819                       ORLANDO, FL 32819                     ATTN: DENI DAVIS
                                                                              ORLANDO, FL 32819




BYBLOS VILLAGES, LLC                    BYRON BLEASDALE                       BYRON BYRON
ATTN: DENI DAVIS                        10201 S. MAIN STREET                  10201 S. MAIN STREET
7932 W SAND LAKE RD STE 102             HOUSTON, TX 77025                     HOUSTON, TX 77025
ORLANDO, FL 32819




BYRON BYRON                             BYRON ENNIS                           BYRON FOY
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




BYRON GILLEY                            BYRON GUIN                            BYRON LEMUS
10201 S. MAIN STREET                    2331 BRIGHT MEADOW DR.                265 EL DORADO BLVD 1819
HOUSTON, TX 77025                       MISSOURI CITY, TX 77489               WEBSTER, TX 77598




BYRON MITCHELL                          BYRON N ROMAN                         BYRON SEABROOK
10201 S. MAIN STREET                    D/B/A ROMAN DELIVERY SERVICES         10201 S. MAIN STREET
HOUSTON, TX 77025                       4947 DAHLIA TERRACE                   HOUSTON, TX 77025
                                        SAN ANTONIO, TX 78218




BYRON UMBLES                            BYRON WHITE                           BYUNG KEON SUNG
10201 S. MAIN STREET                    10201 S. MAIN STREET                  WOOLSEY STATION
HOUSTON, TX 77025                       HOUSTON, TX 77025                     P.O. BOX 5788
                                                                              ASTORIA, NY 11105




BYUNG KEUN SONG                         BYZANTINE INC                         BYZANTINE, INC.
WOOLSEY STATION                         P.O. BOX 1567                         P.O. BOX 1567
P.O. BOX 5788                           BEAVER FALLS, PA 15010                BEAVER FALLS, PA 15010
LONG ISLAND CITY, NY 11105




C & A ASSOCIATES, LLC                   C & A ASSOCIATES, LLC                 C & H DEVELOPMENT CO.
122 ISLE DRIVE                          93 DEEPWOOD ROAD                      43 PANORAMIC WAY
PALM BEACH GARDENS, FL 33418            EASTON, CT 06612                      WALNUT CREEK, CA 94595
C & M BACKFLOW TESTING Case   18-12241-CSS
                                        C AND RDoc 26 Filed
                                               MANAGEMENT LLC 10/05/18      PageC 234 of 1739
                                                                                  H ROBINSON WORLDWIDE INC
P.O. BOX 901                            730 11TH STREET NW, 6TH FLOOR           P.O. BOX 9121
ROCKLIN, CA 95677                       WASHINGTON, DC 20001-4510               MINNEAPOLIS, MN 55480




C P VENTURES SIX LLC                    C P VENTURES SIX LLC                    C R CRAWFORD CONSTRUCTION LLC
191 PEACHTREE ST NE STE 500             P.O. BOX 277890                         1102S HAPPY HOLLOW RD
ATLANTA, GA 30303-1740                  ATLANTA,, GA 30384-7890                 FAYETTEVILLE, AR 72701




C T CENTER S.C., L.P.                   C&A ASSOCIATES LLC                      C&A ASSOCIATES LLC
C/O KIMCO REALTY CORPORATION            122 ISLE DR                             93 DEEPWOOD RD
3333 NEW HYDE PARK ROAD, SUITE 100      PALM BEACH GARDENS, FL 33418            EASTON, CT 06612
NEW HYDE PARK, NY 11042-0020




C&C POTRANCO WEST-27 LP                 C&C POTRANCO WEST-27 LP                 C&C POTRANCO WEST-27, LP
3605 HILLBROOK DR                       C/O BIRNBAUM PROPERTY COMPANY           3605 HILLBROOK DR
AUSTIN, TX 78731                        ATTN JOANN DUNCAN DIR OF PROPERTY       AUSTIN, TX 78731
                                        MGMT
                                        200 CONCORD PLAZA STE 860
                                        SAN ANTONIO, TX 78216


C&C POTRANCO WEST-27, LP                C&C POTRANCO WEST-27, LP                C&H DEVELOPMENT CO.
C/O BIRNBAUM PROPERTY COMPANY           C/O BIRNBAUM PROPERTY COMPANY           ATTN: BASIL CHRISTOPOULOS
200 CONCORD PLAZA, SUITE 860            ATTN JOANN DUNCAN                       43 PANORAMIC WAY
ATTN: JOANN DUNCAN, DIRECTOR            200 CONCORD PLAZA STE 860               WALNUT CREEK, CA 94595
SAN ANTONIO, TX 78216                   SAN ANTONIO, TX 78216



C&H DEVELOPMENT                         C. DANNY WALLER                         C. RAY DRIGGERS
43 PANORAMIC WAY                        D/B/A OIL PRO 2 GO                      10201 S. MAIN STREET
WALNUT CREEK, CA 94595                  2111 36TH ST                            HOUSTON, TX 77025
                                        LUBBOCK, TX 79412




C.C. OCALA JOINT VENTURE                C.J. LEWIS                              C.J. REPORTING
GAITWAY PLAZA LLC                       10201 S. MAIN STREET                    BILLING OFFICE
1656 PAYSPHERE CIRCLE                   HOUSTON, TX 77025                       9 HAMMOND STREET
CHICAGO, IL 60674                                                               WORCESTER, MA 01610




C.R. PLASTIC PRODUCTS INC               C.T. OREILLY                            C.W. DEMARY SERVICES, INC
1172 ERIE ST                            10201 S. MAIN STREET                    1055 DUBLIN ROAD
STRATFORD, ON N4Z OA1                   HOUSTON, TX 77025                       COLUMBUS, OH 43215
CANADA




C/O ADELPHIA PROPERTIES                 C/O PAN AMERICAN REALTY LLC             C/O SONABANK
1314 KESINGTON RD 4974                  9515 PLAZA CIRCLE DRIVE                 10 W WASHINGTON ST
HINSDALE, IL 60523                      EL PASO, TX 79927                       MIDDLEBURG, VA 20118-0778




C0035 ACXIOM LIVERAMP INC               C2NG LLC                                C2NG, LLC
4057 COLLECTION CENTER DR               117 E LOUISA ST 230                     117 E LOUISA ST 230
CHICAGO, IL 60693                       SEATTLE, WA 98102                       SEATTLE, WA 98102
C2NG, LLC             Case 18-12241-CSS     Doc SOLUTIONS
                                     C3 PREMEDIA  26 Filed       10/05/18   PageC3235 of 1739
                                                                                   PREMEDIA SOLUTIONS
3302 FUHRMAN AVENUE EAST, SUITE 300  1601 SUMMIT AVE STE 103                    P.O. BOX 781822
SEATTLE, WA 98102                    PLANO, TX 75074                            PHILADELPHIA, PA 19178-1822




C4 ELION LLC                          C4 ELION LLC                              C4 ELION, LLC
C/O CROSLAND SOUTHEAST                P.O. BOX 6230                             C/O CROSLAND SOUTHEAST
201 S. COLLEGE STREET, SUITE 1300     ORLANDO, FL 32802                         201 S. COLLEGE STREET, SUITE 1300
CHARLOTTE, NC 28244                                                             CHARLOTTE, NC 28244




C4 ELION, LLC                         C4 ELION, LLC                             C4 MOLIOR LLC
C/O FOUNDRY COMMERCIAL                P.O. BOX 6230                             ATTN: FRANK MANNETTA
121 WEST TRADE STREET, SUITE 2500     ORLANDO, FL 32802                         P.O. BOX 6230
CHARLOTTE, NC 28202                                                             ORLANDO, FL 32802




C4 MOLIOR LLC                         C4 MOLIOR LLC                             C4 MOLIOR LLC
C/O CNL COMMERCIAL RE                 C/O CNL COMMERCIAL REAL ESTATE            C/O CROSLAND SOUTHEAST
P.O. BOX 6230                         P.O. BOX 6230                             201 S. COLLEGE STREET, SUITE 1300
ORLANDO, FL 32802-6230                ORLANDO, FL 32802-6230                    ATTN: PETER B. PAPPAS
                                                                                CHARLOTTE, NC 28244



C4 MOLIOR, LLC                        C4 MOLIOR, LLC                            C4 MOLIOR, LLC
ATTN: FRANK MANNETTA                  C/O CNL COMMERCIAL RE                     C/O CROSLAND SOUTHEAST
P.O. BOX 6230                         P.O. BOX 6230                             201 S. COLLEGE STREET, SUITE 1300
ORLANDO, FL 32802                     ORLANDO, FL 32802-6230                    ATTN: PETER B. PAPPAS
                                                                                CHARLOTTE, NC 28244



C4 MOLIOR, LLC                        CA FLORIDA HOLDINGS INC                   CA FLORIDA HOLDINGS LLC
C/O FOUNDRY COMMERCIAL                P.O. BOX 102801                           D/B/A FLORIDA TIMES UNION
420 S. ORANGE AVENUE, SUITE 950       ATLANTA, GA 30368                         P.O. BOX 121261 DEPT 1261
ORLANDO, FL 32801                                                               DALLAS, TX 75312-1261




CA STATE DISBURSEMENT UNIT            CABARRUS COUNTY SHERIFFS OFFICE           CABARRUS COUNTY TAX COLLECTOR
P.O. BOX 989067                       P.O. BOX 525                              P.O. BOX 580347
WEST SACRAMENTO, CA 95798-9067        CONCORD, NC 28056-0525                    CHARLOTTE, NC 28258-0347




CABARRUS COUNTY TAX COLLECTOR         CABARRUS                                  CABELL COUNTY SHERIFF
P.O. BOX 707                          ATTN: PROPERTY TAX DEPT.                  ATTN: CABELL COUNTY COURTHOUSE
CONCORD, NC 28026-0707                P.O. BOX 707                              P.O. BOX 2114
                                      CONCORD, NC 28026-0707                    HUNTINGTON, WV 25721-2114




CABERNET SUNSETS LLC                  CABERNET SUNSETS, LLC                     CABERNET SUNSETS, LLC
1400 ROCKY RIDGE DR STE 280           1400 ROCKY RIDGE DRIVE, SUITE 280         ATTN: MARY CARSON
ROSEVILLE, CA 95661                   ROSEVILLE, CA 95661                       152 KETTLE ROCK COURT
                                                                                FOLSOM, CA 95630




CABLEONE ADVERTISING                  CABLEVISION LIGHTPATH INC                 CABLEVISION MEDIA SALES CORP
ATTN : ADVERTISING DEPARTMENT         P.O. BOX 360111                           P.O. BOX 392090
3173 CLEARWATER DR                    PITTSBURGH, PA 15251                      PITTSBURGH, PA 15251-9090
PRESCOTT, AZ 86305
CABLEVISION             Case 18-12241-CSS     Doc 26
                                       CABLEVISION       Filed 10/05/18       PageCABOT
                                                                                   236 IIofTX1M02
                                                                                            1739TX1W06 W08 LP
1111 STEWART AVE                       P.O. BOX 360111                            C/O CABOT IND VALUE FUND II OPER PRTN
BETHPAGE, NY 11714                     PITTSBURGH, PA 15251                       LP
                                                                                  DEPT 81402
                                                                                  P.O. BOX 201814
                                                                                  DALLAS, TX 75320-1814


CABOT INDL VALUE FUND III OP LP        CABOT INDL VALUE FUND IV OP LP             CABOT INDL VALUE FUND OP. LP
C/O TRANSWESTERN                       P.O. BOX 845288                            LOCKBOX 774057
P.O. BOX 530600                        DALLAS, TX 75284-5288                      4057 SOLUTIONS CENTER
ATLANTA, GA 30353                                                                 CHICAGO, IL 60677-4000




CABOT INDUSTRIAL VALUE FUND II OP LP   CABOT INDUSTRIAL VALUE FUND II OP LP       CABOT IV CO1M02 LLC
DEPT 81402                             ONE BEACON ST                              ONE BEACON ST 17TH FL
P.O. BOX 201814                        BOSTON, MA 02108                           BOSTON, MA 02108
DALLAS, TX 75320-1814




CACH LLC                               CACHE COUNTY ASSESSOR                      CACHE VALLEY PUBLISHING LLC
C/O LAW OFFICE OF JOE PEZZUTO LLC      179 N MAIN STE 205                         A WASHINGTON LLC
4411 SOUTH 40TH ST STE D-11            LOGAN, UT 84321                            D/B/A CACHE VALLEY PUBLISHING
PHOENIX, AZ 85040                                                                 75 WEST 300 N
                                                                                  LOGAN, UT 84321



CACHE VALLEY PUBLISHING                CACHE                                      CACHERIS WASHINGTON
C/O LOGAN HERALD                       ATTN: PROPERTY TAX DEPT.                   10201 S. MAIN STREET
P.O. BOX 1570                          179 N MAIN STE 205                         HOUSTON, TX 77025
POCATELLO, ID 83204                    LOGAN, UT 84321




CADDO PARISH SHERIFFS OFFICE           CADDON MCWILLIAMS                          CADE HOWELL
ATTN: TAX DEPARTMENT                   1260 S ASH ST                              8186 SEDGEFIELD DR
P.O. BOX 20905                         HOBART, IN 46342                           PENSACOLA, FL 32507
SHREVEPORT, LA 71120




CADEN HORGAN                           CADENCE KEEN INNOVATIONS INC               CADENCE MANAGEMENT, LLC
1716 DELAWARE ST                       1645 PALM BEACH LAKES BLVD STE 380         8380 GREENSBORO DRIVE, SUITE 308
HUNTINGTON BEACH, CA 92648             WEST PALM BEACH, FL 33401                  MCLEAN, VA 22102




CAERNARVON TOWNSHIP AUTHORITY          CAERNARVON TOWNSHIP AUTHORITY              CAESAR BROWN
3307 MAIN ST                           P.O. BOX 188                               10201 S. MAIN STREET
MATGANTOWN, PA 19543                   MORGANTOWN, PA 19543-0188                  HOUSTON, TX 77025




CAFE CORP                              CAFE CORP                                  CAFÉ CORP.
801 ARNOLD AVE STE 1L                  801 ARNOLD AVE, SUITE 1L                   801 ARNOLD AVE, SUITE 1L
POINT PLEASANT BEACH, NJ 08742         POINT PLEASANT BEACH, NJ 08742             POINT PLEASANT BEACH, NJ 08742




CAGWIN & DORWARD LANDSCAPE             CAHILL GORDON & REINDEL LLP                CAHLEY THOMPSON
CONTRACTORS                            EIGHTY PINE ST                             10201 S. MAIN STREET
PO BOX 1600                            NEW YORK, NY 10005-1702                    HOUSTON, TX 77025
NOVATO, CA 94948-1600
CAILA QUINN            Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      CAIRO LARGAESPADA                       PageCAIT
                                                                                   237   of 1739
                                                                                       CARIGNAN
348 E 76H ST APT 3C                   10201 S. MAIN STREET                        10201 S. MAIN STREET
NEW YORK, NY 10021                    HOUSTON, TX 77025                           HOUSTON, TX 77025




CAITLIN BAGNALL                       CAITLIN BENDECK                             CAITLIN BENNETT
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




CAITLIN CRIST                         CAITLIN FLYNN                               CAITLIN FRAZIER
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




CAITLIN GOODWYN                       CAITLIN PROEFRIEDT                          CAITLIN SMITH
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




CAITLIN WATERS                        CAITLIN WELCH                               CAITLYNN LEVEILLE
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




CAITLYNN MACEO                        CAL PARTNERS LLC                            CAL STIEWIG
7720 OCONNOR DR 5701                  KIM WARD                                    10201 S. MAIN STREET
ROUND ROCK, TX 78681                  400 N STATE ST STE 400                      HOUSTON, TX 77025
                                      CHICAGO, IL 60654




CALAH GOWDY                           CALCASIEU PARISH - SHERIFF & TAX COLL       CALCASIEU PARISH TAX COLLECTOR
10201 S. MAIN STREET                  P.O. BOX 1450                               ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                     LAKE CHARLES, LA 70602-1450                 P.O. DRAWER 2050
                                                                                  LAKE CHARLES, LA 70602




CALCASIEU PARISH TAX COLLECTOR        CALE JACOB JANNER                           CALEB BREWER
ATTN: SALES & USE TAX DEPT.           6616 W 69TH ST                              10201 S. MAIN STREET
P.O. DRAWER 2050                      OVERLAND PARK, KS 66204                     HOUSTON, TX 77025
LAKE CHARLES, LA 70602




CALEB CANOY                           CALEB CARNEY                                CALEB HARRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




CALEB HAYES                           CALEB HILL                                  CALEB JONES
10201 S. MAIN STREET                  WESTGATE MARKETPLACE DEVELOPERS             10201 S. MAIN STREET
HOUSTON, TX 77025                     LLC                                         HOUSTON, TX 77025
                                      7725 W RENO STE 398
                                      OKLAHOMA CITY, OK 73127
CALEB KERR             Case 18-12241-CSS     Doc 26WILSON
                                      CALEB MICHAEL    Filed 10/05/18       PageCALEB
                                                                                 238 MINERD
                                                                                      of 1739
10201 S. MAIN STREET                   11596 MAIN ST                            10201 S. MAIN STREET
HOUSTON, TX 77025                      MASON, TN 38049                          HOUSTON, TX 77025




CALEB MORROW                           CALEB ROSENTHAL                          CALEB SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CALEB THEISS                           CALEB VAN DEN EINDE                      CALEB WILSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CALI DAVIS                             CALI HOLMES                              CALIBER EQUIPMENT INC
10201 S. MAIN STREET                   10201 S. MAIN STREET                     8433 ERLE ROAD
HOUSTON, TX 77025                      HOUSTON, TX 77025                        MECHANICSVILLE, VA 23116




CALIFORNIA AMERICAN WATER              CALIFORNIA AMERICAN WATER                CALIFORNIA BOARD OF EQUALIZATION
655 W BROADWAY, 1410                   P.O. BOX 7150                            450 N ST
SAN DIEGO, CA 92101                    PASADENA, CA 91109-7150                  PO BOX 942879
                                                                                SACRAMENTO, CA 95814




CALIFORNIA BOARD OF EQUALIZATION       CALIFORNIA BOARD OF EQUALIZATION         CALIFORNIA BOARD OF EQUALIZATION
ATTN: BUSINESS LICENSE DEPT.           ATTN: FRANCHISE TAX DEPT.                ATTN: INCOME TAX DEPT.
P.O. BOX 942879                        P.O. BOX 942879                          P.O. BOX 942879
SACRAMENTO, CA 94279-0056              SACRAMENTO, CA 94250-5873                SACRAMENTO, CA 94250-5873




CALIFORNIA BOARD OF EQUALIZATION       CALIFORNIA BOARD OF EQUALIZATION         CALIFORNIA CHAMBER OF COMMERCE
ATTN: SALES & USE TAX DEPT.            ATTN: UNCLAIMED PROPERTY DEPT.           P.O. BOX 537016
P.O. BOX 942879                        P.O. BOX 942879                          SACRAMENTO, CA 95853-7016
SACRAMENTO, CA 94279-7070              SACRAMENTO, CA 94279-0056




CALIFORNIA DEPT OF TAX & FEE ADM       CALIFORNIA EXPOSITION & STATE FAIR       CALIFORNIA FRANCHISE TAX BOARD
ATTN: ENVIRONMENTAL FEE DEPT.          ATTN: MARKETION DEPT                     121 SPEAR ST
450 N STREET                           P.O. BOX 15649                           STE 400
SACRAMENTO, CA 94279                   SACRAMENTO, CA 95852                     SAN FRANCISCO, CA 94105-1584




CALIFORNIA FRANCHISE TAX BOARD         CALIFORNIA FRANCHISE TAX BOARD           CALIFORNIA FRANCHISE TAX BOARD
1515 CLAY ST                           300 S SPRING ST                          3321 POWER INN RD
STE 305                                STE 5704                                 STE 250
OAKLAND, CA 94612-1445                 LOS ANGELES, CA 90013-1265               SACRAMENTO, CA 95826-3893




CALIFORNIA FRANCHISE TAX BOARD         CALIFORNIA FRANCHISE TAX BOARD           CALIFORNIA FRANCHISE TAX BOARD
600 W SANTA ANA BLVD                   7575 METROPOLITAN DR                     BANKRUPTCY SECTION MS A340
STE 300                                STE 201                                  PO BOX 2952
SANTA ANA, CA 92701-4543               SAN DIEGO, CA 92108-4421                 SACRAMENTO, CA 95812-2952
                       Case
CALIFORNIA FRANCHISE TAX     18-12241-CSS
                         BOARD                 DocNEWSPAPER
                                       CALIFORNIA    26 Filed   10/05/18
                                                              PARTNERSHIP   PageCALIFORNIA
                                                                                 239 of 1739
                                                                                           NEWSPAPER PARTNERSHIP
PO BOX 942867                          BAY AREA NEWS GROUP                      BAY AREA NEWS GROUP
SACRAMENTO, CA 94257                   P.O. BOX 513120                          P.O. BOX 513120
                                       LOS ANGELES, CA 90051-1120               LOS ANGELES, CA 90054-0880




CALIFORNIA NEWSPAPER PARTNERSHIP        CALIFORNIA NEWSPAPER PARTNERSHIP        CALIFORNIA SEC OF STATE
D/B/A SOUTHERN CALIFORNIA NEWS GROUP    P.O. BOX 513120                         BUSINESS PROGRAMS DIVISION
P.O. BOX 54880                          LOS ANGELES, CA 90051-1120              P.O. BOX 944260
LOS ANGELES, CA 90054-0880                                                      SACRAMENTO, CA 94244-2600




CALIFORNIA STATE TEACHERS RETIREMENT    CALIFORNIA STATE UNIVERSITY             CALIFORNIA STATE UNIVERSITY
SYS                                     SACRAMENTO-CAREER CENTER                SACRAMENTO-CAREER CENTER
P.O. BOX 310300                         C/O SHANNON AINGER-SACRAMENTO STATE     C/O SHANNON AINGER-SACRAMENTO STATE
DES MOINES, IA 50331-0300               6000 J STREETLASSEN HALL 1013           6000 J STREETLASSEN HALL 1013
                                        SACRAMENTO, CA 95819                    SACRAMENTO, CA 95819-6064



CALIFORNIA WATER SERVICE                CALIFORNIA WATER SERVICE                CALIFORNIA WATER SERVICE
720 NORTH FIRST STREET                  P.O. BOX 51967                          P.O. BOX 940001
SAN JOSE, CA 95112                      LOS ANGELES, CA 90051-6267              SAN JOSE, CA 95194




CALIFORNIA WATER SERVICE                CALIGO CROSSING LLC                     CALL ONE
P.O. BOX 940001                         P.O. BOX 532937                         P.O. BOX 87618
SAN JOSE, CA 95194-0001                 ATLANTA, GA 30353-2937                  DEPT 10278
                                                                                CHICAGO, IL 60680-0618




CALLAHANS EXPRESS DELIVERY INC          CALLEY JONES                            CALLEY MUELLER
22243 INDIANWOOD WAY                    10201 S. MAIN STREET                    10201 S. MAIN STREET
EUSTIS, FL 32736                        HOUSTON, TX 77025                       HOUSTON, TX 77025




CALLIE BARCUS                           CALTEX PLASTICS                         CALTIM LTD
3451 CHAPEL OAKS DR 1605                2380 EAST 51ST ST                       ATTN: TIMOTHY HARRIS
COPPELL, TX 75019                       VERNON, CA 90058                        365 SAWDUST RD
                                                                                SPRING, TX 77380




CALTRONICS BUSINESS SYSTEMS             CALUCO LLC                              CALUMET LAND GROUP LLC
10491 OLD PLACERVILLE RD STE 150        702 JESSIE ST                           N 8418 N SHORE RD
SACRAMENTO, CA 95827                    SAN FERNANDO, CA 91340                  MENASHA, WI 54952




CALVERT COUNTY GOVERNMENT MD            CALVERT COUNTY TREASURER                CALVERT COUNTY TREASURER
CALVERT COUNTY TREASURER                175 MAIN ST                             WATER & SEWERAGE DIVISION
P.O BOX 2909                            PRINCE FREDERICK, MD 20678              175 MAIN ST
PRINCE FREDERICK, MD 20678                                                      PRINCE FREDERICK, MD 20678




CALVERT                                 CALVIN COATS                            CALVIN FLEMING
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                    10201 S. MAIN STREET
P.O BOX 2909                            HOUSTON, TX 77025                       HOUSTON, TX 77025
PRINCE FREDERICK, MD 20678
CALVIN FOSSETT         Case 18-12241-CSS     Doc 26 & Filed
                                      CALVIN GIORDANO       10/05/18
                                                      ASSOCIATES INC   PageCALVIN
                                                                            240 of  1739
                                                                                  JOHNSON
10201 S. MAIN STREET                   1800 ELLER DRIVE SUITE 600          10201 S. MAIN STREET
HOUSTON, TX 77025                      FORT LAUDERDALE, FL 33316           HOUSTON, TX 77025




CALVIN JOINER                          CALVIN LIU                          CALVIN MILLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CALVIN PORCHER                         CALVIN PRESTON                      CALVIN TERRELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CALVIN TUBBS                           CALYSSA COLLIER                     CAM WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




CAMALA DONOVAN                         CAMBRIDGE CHARLOTTE LLC             CAMBRIDGE MANAGEMENT, LTD.
10201 S. MAIN STREET                   831 E. MOREHEAD ST. STE 245         WILLIAM R. OSWALD
HOUSTON, TX 77025                      CHARLOTTE, NC 28202                 15255 S. 94TH AVENUE, SUITE 400
                                                                           ORLAND PARK, IL 60462




CAMBRIDGE                              CAMDEN 1214 LLC                     CAMDEN 1214, LLC
ATTN: PROPERTY TAX DEPT.               2301 N. DUPONT HWY                  2301 N. DUPONT HWY
P.O. BOX 399142                        NEW CASTLE, DE 19720                NEW CASTLE, DE 19720
CAMBRIDGE, MA 02139




CAMDEN COUNTY MUA                      CAMDEN COUNTY MUA                   CAMDEN TOWN CENTER REALTY LLC
1645 FERRY AVE                         P.O. BOX 1105                       C/O CHARLES E. OWENSBY
CAMDEN, NJ 08104                       BELLMAWR, NJ 08099-5105             19653 ISLAND COURT DR
                                                                           BOCA RATON, FL 33434




CAMDEN VERBEKE                         CAMDEN-WYOMING SWR & WTR AUTH       CAMDEN-WYOMING SWR & WTR AUTH
10201 S. MAIN STREET                   P.O. BOX 405                        PO BOX 405
HOUSTON, TX 77025                      CAMDEN-WYOMING, DE 19934            CAMDEN, DE 19934




CAMELBACK COLONNADE SPE LLC            CAMELBACK COLONNADE SPE LLC         CAMELOT STRATEGIC MARKETING & MEDIA
11411 N TATUM BLVD                     OPERATING ACCOUNT                   8140 WALNUT HILL LN STE 700
PHOENIX, AZ 85028                      P.O. BOX 95273                      DALLAS, TX 75231
                                       LAS VEGAS, NV 89193-5273




CAMERON BATSCHKE                       CAMERON BATSON                      CAMERON BROWN
10201 S. MAIN STREET                   1910 37TH ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                      LUBBOCK, TX 79412                   HOUSTON, TX 77025
CAMERON BROWN          Case 18-12241-CSS    Doc
                                      CAMERON    26 Filed 10/05/18
                                              BRYSON                 PageCAMERON
                                                                          241 of CARLYSLE
                                                                                 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CAMERON CARR                          CAMERON CLINTON                    CAMERON CULLY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CAMERON DUNHAM                        CAMERON GEACH                      CAMERON HALL
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CAMERON HARRIS                        CAMERON HOUSLEY                    CAMERON IKERD
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CAMERON JAMES HERREN                  CAMERON MCILQUHAM                  CAMERON MEYER
                                      10201 S. MAIN STREET               10201 S. MAIN STREET
                                      HOUSTON, TX 77025                  HOUSTON, TX 77025




CAMERON MOORE                         CAMERON PALMER                     CAMERON PARTNERS LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET               C/O CRE CONSULTANTS
HOUSTON, TX 77025                     HOUSTON, TX 77025                  12140 CARISSA COMMERCE COURT, SUITE
                                                                         102
                                                                         FORT MYERS, FL 33966



CAMERON PARTNERS, LLC                 CAMERON QUINN                      CAMERON RILEY
C/O CRE CONSULTANTS                   10201 S. MAIN STREET               10201 S. MAIN STREET
12140 CARISSA COMMERCE COURT, SUITE   HOUSTON, TX 77025                  HOUSTON, TX 77025
102
FORT MYERS, FL 33966



CAMERON SMITH                         CAMERON SOSO                       CAMERON VILLAGE, LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET               C/O REGENCY CENTERS CORPORATION
HOUSTON, TX 77025                     HOUSTON, TX 77025                  ONE INDEPENDENT DRIVE, SUITE 114
                                                                         ATTN: LEASE ADMINISTRATION
                                                                         JACKSONVILLE, FL 32202



CAMERON WILLIAMS                      CAMERON WILSON                     CAMILLA FORNES
10201 S. MAIN STREET                  10201 S. MAIN STREET               1125 WHITESTONE RIDGE
HOUSTON, TX 77025                     HOUSTON, TX 77025                  ALPHARETTA, GA 30005




CAMILLE BRADSTREET                    CAMILLE BRAUN                      CAMILLE CHAMBERS
10201 S. MAIN STREET                  10201 S. MAIN STREET               5002 COQUINA CT
HOUSTON, TX 77025                     HOUSTON, TX 77025                  MIDLAND, TX 79707
CAMILLE MURPHY          Case 18-12241-CSS
                                       CAMINO Doc  26MARKETPLACE,
                                              A LAGO    Filed 10/05/18
                                                                  LLC           PageCAMINO
                                                                                     242 of  1739
                                                                                           VERDE LLC
20 NE 110TH TERRACE                     C/O W.M. GRACE DEVELOPMENT CO               15475 N 84TH ST
KANSAS CITY, MO 64155                   7575 N.16TH ST 1                            SCOTTSDALE, AZ 85260
                                        PHOENIX, AZ 85020




CAMINUS EZIRIM                          CAMMERON HARRIS                             CAMPBELL CAMPBELL EDWARDS & CONROY
10201 S. MAIN STREET                    1922 DEERHURST LN                           P.C.
HOUSTON, TX 77025                       HOUSTON, TX 77088                           CLIENT ID 800058
                                                                                    P.O. BOX 55008
                                                                                    BOSTON, MA 02205-5008



CAMPBELL CAMPBELL EDWARDS & CONROY      CAMPBELL CORNER LLC                         CAMPBELL COUNTY FISCAL COURT
P.C.                                    KEN HUNT/ BETH TRIMBLE                      P.O. BOX 645245
ONE CONSTITUTION RD 3RD FLOOR           100 CALLOWAY COURT                          CINCINNATI, OH 45264
CHARLESTOWN, MA 02129                   PADUCAH, KY 42001




CAMPBELL COUNTY SHERIFFS OFFICE         CAMPBELL COUNTY                             CAMPBELL RESOURCES LTD
1098 MONMOUTH ST STE 216                ATTN: INCOME TAX DEPT.                      D/B/A CAMPBELL TRAVEL
NEWPORT, KY 41071                       P.O. BOX 72958                              14800 LANDMARK BLVD 155
                                        NEWPORT, KY 41072                           DALLAS, TX 75254




CAMPBELL                                CAMPUS COMMUNICATION INC                    CAMRYN NICOLE PRENGER
ATTN: PROPERTY TAX DEPT.                D/B/A THE INDEPENDENT FLORIDA ALLIGAT       218 WILLIAMSBURG CIR
P.O. BOX 72958                          P.O. BOX 14257                              LA PLATA, MD 20646
NEWPORT, KY 41072                       GAINESVILLE, FL 32604-2257




CAMYO TURNER                            CANADA & ASSOCIATES SAFETY TRAINING         CANADIAN COUNTY TREASURER
5315 HARMONY AVE 306                    LLC                                         201 N CHOCTAW AVE STE 4
NORTH HOLLYWOOD, CA 91601               441 S TREADAWAY BLVD                        EL RENO, OK 73036-2607
                                        ABILENE, TX 79602




CANADIAN                                CANCALA ASSOCIATES LLC                      CANCALA ASSOCIATES LLC
ATTN: PROPERTY TAX DEPT.                2642 FAWNLAKE TRAIL                         C/O BLISSFUL REAL ESTATE
201 N CHOCTAW AVE STE 4                 ORLANDO, FL 32828                           1850 N ALAFAYA TRAIL STE 1A
EL RENO, OK 73036-2607                                                              ORLANDO, FL 32826




CANCALA ASSOCIATES, LLC                 CANCALA ASSOCIATES, LLC                     CANDACE BROOKS
2642 FAWNLAKE TRAIL                     C/O BLISSFUL REAL ESTATE                    10201 S. MAIN STREET
ORLANDO, FL 32828                       1850 N ALAFAYA TRAIL STE 1A                 HOUSTON, TX 77025
                                        ORLANDO, FL 32826




CANDACE BURNS                           CANDACE CHAMPION                            CANDACE DOVEY
10201 S. MAIN STREET                    3445 GARDENVIEW WAY                         10201 S. MAIN STREET
HOUSTON, TX 77025                       TALLAHASSEE, FL 32309                       HOUSTON, TX 77025




CANDACE FAYER                           CANDACE MARTINEZ                            CANDACE OLIVER
1378 VIMLA WAY                          10201 S. MAIN STREET                        1622 HWY 41
XENIA, OH 45385                         HOUSTON, TX 77025                           RINGGOLD, GA 30736
CANDACE SCOTT              Case 18-12241-CSS    Doc
                                          CANDACE    26 Filed 10/05/18
                                                  SPENCER                    PageCANDACE
                                                                                  243 of STEPHENSON
                                                                                         1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




CANDI JORDAN                              CANDI RILEY                            CANDICE CARILLO
10201 S. MAIN STREET                      10201 S. MAIN STREET                   410 ANDOVER DR
HOUSTON, TX 77025                         HOUSTON, TX 77025                      BURBANK, CA 91504




CANDICE COONRADT                          CANDICE COX                            CANDICE FRANKLIN
1503 CENTRAL AVE                          10201 S. MAIN STREET
SARASOTA, FL 34236                        HOUSTON, TX 77025




CANDICE JONES                             CANDICE KING                           CANDICE ROSE
1301 LAKESIDE RD                          10201 S. MAIN STREET                   10201 S. MAIN STREET
VIRGINIA BEACH, VA 23455                  HOUSTON, TX 77025                      HOUSTON, TX 77025




CANDLERIDGE LIMITED PARTNERSHIP           CANE & CAB TRUCKING INC                CANIMEX INC
WOODCREST MGMT                            94-531 ANA AINA PLACE                  285 ST GEORGES ST
3113 S UNIVERSITY DR 600                  WAIPAHU, HI 96797-2859                 DRUMMONDVILLE, PQ J2C 4H3
FORT WORTH, TX 76109                                                             CANADA




CANIT NORTHCHASE L.P.                     CANNADY, MARVA                         CANNING CONSTRUCTIONS, INC.
P.O. BOX 4408 - DEPT 344                  655 RIVER HAVEN DR                     6815 ROLLING BOULDER
HOUSTON, TX 77210-4408                    EAST DUNDEE, IL 60118-1042             LAS VEGAS, NV 89149




CANNON BROTHERS A/C & HEATING INC         CANNON STONE STARBUCKS PLAZA LLC       CANON SOLUTIONS AMERICA INC
5492 OLD HWY 78                           900 SW PINE ISLAND RD STE 202          15004 COLLECTIONS CENTER DR
MEMPHIS, TN 38118                         CAPE CORAL, FL 33991                   CHICAGO, IL 60693




CANON SOLUTIONS AMERICA INC               CANTEEN REFRESHMENT SERVICES           CANTERBURY INTERNATIONAL INC
300 COMMERCE SQUARE BLVD                  P.O. BOX 50196                         D/B/A TWO MEN AND A TRUCK
BURLINGTON, NJ 08016                      LOS ANGELES, CA 90074                  3555 VALLEY DR
                                                                                 PITTSBURGH, PA 15234




CANTEY & COMPANY INC                      CANTEY & COMPANY INC                   CANTEY & COMPANY, INC.
3300 HARRISON ROAD                        ATTN: BILLY CANTEY                     3300 HARRISON ROAD
COLUMBIA, SC 29205                        3300 HARRISON RD                       COLUMBIA, SC 29205
                                          COLUMBIA, SC 29205




CANTON CITY INCOME TAX                    CANTON CITY UTILITIES                  CANTON CITY UTILITIES
KIM R PEREZ                               626 30TH ST NW                         626- 30TH ST NW
P.O. BOX 9940                             CANTON, OH 44709                       CANTON, OH 44709
CANTON, OH 44711-9940
                         Case
CANTON PLACE RETAIL II, LLC     18-12241-CSS
                                          CANTONDoc 26
                                                PLACE     Filed
                                                      RETAIL       10/05/18
                                                             II, LLC            PageCANTON
                                                                                     244 ofWEST
                                                                                            1739LLC
210 SANDY SPRINGS PLACE                    ATTN: ROBERT CRIM, JR.                   17 SOUTH MAIN STREET
ATTN: ROBERT CRIM, JR.                     210 SANDY SPRINGS PLACE                  W HARTFORD, CT 06107
ATLANTA, GA 30328                          ATLANTA, GA 30328




CANTON WEST LLC                            CANTON WEST LLC                          CANTON WEST, LLC
ATTN: ABRAHAM KAOUD                        ATTN: BARBARA DUFFY                      17 SOUTH MAIN STREET
17 SOUTH MAIN STREET                       17 SOUTH MAIN STREET                     ATTN: ABRAHAM KAOUD
WEST HARTFORD, CT 06107                    WEST HARTFORD, CT 06107                  WEST HARTFORD, CT 06107




CANTON                                     CANTRELL BROWN                           CANTRELL RIDGE HOLDINGS, LLC, HIGHWAY
ATTN: PROPERTY TAX DEPT.                   10201 S. MAIN STREET                     9
151 ELIZABETH ST                           HOUSTON, TX 77025                        HOLDINGS, LLC, JOE & KATHERINE NANCE
CANTON, GA 30114                                                                    C/O COLLIERS INTERNATIONAL
                                                                                    1 ALLIED DRIVE, SUITE 1500
                                                                                    LITTLE ROCK, AR 72203


CANTRELL RIDGE HOLDINGS, LLC, HIGHWAY      CANUTE FORBES                            CANYON COUNTY TAX COLLECTOR
9                                          10201 S. MAIN STREET                     P.O. BOX 730
HOLDINGS, LLC, JOE & KATHERINE NANCE       HOUSTON, TX 77025                        CALDWELL, ID 83606
C/O COLLIERS INTERNATIONAL
P.O. BOX 3546
LITTLE ROCK, AR 72203


CANYON CREEK PHASE TWO LLC                 CANYON CREEK PHASE TWO, LLC              CANYON CROSSING DUNHILL LLC
2733 EAST PARLEYS WAY, SUITE 300           2733 EAST PARLEYS WAY, SUITE 300         P.O. BOX 844779
SALT LAKE CITY, UT 84109                   SALT LAKE CITY, UT 84109                 LOS ANGELES, CA 90084-4779




CANYON CROSSING DUNHILL, LLC               CANYON CROSSING DUNHILL, LLC             CANYON PARK PROPERTIES LLC
C/O DUNHILL PARTNERS                       P.O. BOX 844779                          ATTN: TRACY HOLMAN
3100 MONTICELLO, SUITE 300                 LOS ANGELES, CA 90084-4779               22020 17TH AVE SE STE 200
DALLAS, TX 75205                                                                    BOTHELL, WA 98021




CANYON PARK PROPERTIES, LLC                CANYON PARK PROPERTIES, LLC              CANYON
ATTN: TRACY HOLMAN                         C/O BUSINESS PROPERTY DEVELOPMENT,       ATTN: PROPERTY TAX DEPT.
22020 17TH AVE SE STE 200                  LLC                                      P.O. BOX 730
BOTHELL, WA 98021                          22020 17TH AVENUE SE, SUITE 200          CALDWELL, ID 83606
                                           ATTN: ROGER M. BELANICH
                                           BOTHELL, WA 98021


CAP INDEX INC                              CAPACITY 7                               CAPE COD BROADCASTING
150 JOHN ROBERT THOMAS DR                  11175 CICERO DR BLDG 200 STE 100         737 WEST MAIN ST
EXTON, PA 19341                            ALPHARETTA, GA 30022                     HYANNIS, MA 02601




CAPE COD MEDIA GROUP                       CAPE FEAR PUBLIC UTILITY AUTH            CAPE FEAR PUBLIC UTILITY AUTHORITY
P.O. BOX 223532                            235 GOVERNMENT CENTER DRIVE              235 GOVERNMENT CENTER DR
PITTSBURGH, PA 15251-2532                  WILMINGTON, NC 28403                     WILMINGTON, NC 28403




CAPE FEAR PUBLIC UTILITY AUTHORITY         CAPE PUBLICATIONS INC                    CAPELLA PARTNERS PFLUGERVILLE LLC
235 GOVERNMENT CENTER DR                   D/B/A FLORIDA TODAY PAYMENT CENTER       6836 BEE CAVE RD 330
WILMINGTON, NC 28403-1638                  P.O. BOX 677592                          AUSTIN, TX 78746
                                           DALLAS, TX 75267-7592
CAPITAL - HIGHWAY 35 LTD.Case   18-12241-CSS
                                          CAPITALDoc 26 Filed
                                                 ASSOCIATES     10/05/18
                                                            MANAGEMENT, LLC PageCAPITAL
                                                                                 245 ofBUSINESS
                                                                                        1739 CREDIT LLC
C/O CENCOR REALTY SVC INC                  5400 TRINITY ROAD, SUITE 105        BIG TREE FURNITURE
P.O. BOX 660394 ID4220-942219              RALEIGH, NC 27607                   P.O. BOX 100895
DALLAS, TX 75266-0394                                                          ATLANTA, GA 30384-4174




CAPITAL CARPETS AND FINE FLOORS INC        CAPITAL CITY LAWN CARE, LLC         CAPITAL CITY BEE CAVES LTD
702 SPRING CYPRESS RD D                    2922 S TEN MILE DR.                 C/O PYRAMID PROPERTIES INC
SPRING, TX 77373                           JEFFERSON CITY, MO 65109            P.O. BOX 684548
                                                                               AUSTIN, TX 78768




CAPITAL CITY PRESS                         CAPITAL CITY PRESS                  CAPITAL COLLECTIONS LLC
7290 BLUEBONNET BLVD                       THE ADVOCATE                        1221 VAN NESS 2ND FLOOR
BATON ROUGE, LA 70810                      P.O. BOX 613                        FRESNO, CA 93721
                                           BATON ROUGE, LA 70821-0613




CAPITAL COLLECTIONS LLC                    CAPITAL CONTRACTORS INC             CAPITAL DEVELOPMENT COMPANY
P.O. BOX 289                               25049 NETWORK PLACE                 3709 GRIFFIN LANE SE
FRESNO, CA 93708                           CHICAGO, IL 60673-1250              ATTN: CHRIS BLUME
                                                                               OLYMPIA, WA 98501




CAPITAL DEVELOPMENT COMPANY                CAPITAL DEVELOPMENT COMPANY         CAPITAL DEVELOPMENT COMPANY
3709 GRIFFIN LANE SE                       ATTN: CHRIS BLUME                   ATTN: CONTROLLER
OLYMPIA, WA 98501                          3709 GRIFFIN LANE SE                3709 GRIFFIN LANE SE
                                           OLYMPIA, WA 98501                   OLYMPIA, WA 98501




CAPITAL DEVELOPMENT COMPANY                CAPITAL FIRE PROTECTION             CAPITAL GRILLE HOLDINGS INC
P.O. BOX 3487                              P.O. BOX 12782                      D/B/A CAPITAL GRILLE
LACEY, WA 98509                            WILMINGTON, NC 28405                1000 DARDEN CENTER DR.
                                                                               ORLANDO, FL 32809




CAPITAL GRILLE                             CAPITAL GROWTH BUCHALTER, INC.      CAPITAL GROWTH BUCHALTER, INC.
310 W WISCONSIN AVE                        ATTN: CHAD POST                     ATTN: NEIL OWENS
MILWAUKEE, WI 53203                        361 SUMMIT BOULEVARD, SUITE 110     361 SUMMIT BOULEVARD, SUITE 110
                                           BIRMINGHAM, AL 35243                BIRMINGHAM, AL 35243




CAPITAL GROWTH BUCHALTER, INC.             CAPITAL MALL LP                     CAPITAL NETWORK SOLUTIONS INC
ATTN: RASHMIN VIRANI                       P.O. BOX 398007                     8950 CAL CENTER DR STE 341
361 SUMMIT BOULEVARD, SUITE 110            SAN FRANCISCO, CA 94139-8007        SACRAMENTO, CA 95826
BIRMINGHAM, AL 35243




CAPITAL NEWSPAPERS                         CAPITAL OF TEXAS JOINT VENTURE      CAPITAL OF TEXAS JOINT VENTURE
P.O. BOX 725                               7557 RAMBLER RD STE 570             C/O DICK FERRELL & CO.
RACINE, WI 53401                           DALLAS, TX 75231                    7557 RAMBLER ROAD, SUITE 570
                                                                               ATTN: DICK FERRELL
                                                                               DALLAS, TX 75231



CAPITAL OF TEXAS JOINT VENTURE             CAPITAL OF TX JOINT VENTURE         CAPITAL OF TX JOINT VENTURE
C/O GOODWIN MNGMT                          7557 RAMBLER RD STE 570             C/O GOODWIN MNGMT
11149 RESEARCH BLVD 100                    DALLAS, TX 75231                    11149 RESEARCH BLVD 100
AUSTIN, TX 78759                                                               AUSTIN, TX 78759
                       Case 18-12241-CSS
CAPITAL ONE SERVICES LLC              CAPITALDoc   26 Filed
                                              ONE SERVICES LLC 10/05/18   PageCAPITAL
                                                                               246 ofONE
                                                                                      1739
                                                                                         SERVICES LLC
275 BROAD HOLLOW ROAD, 1ST FLOOR      ATTN: REAL ESTATE ADM                   ATTN: REAL ESTATE ADM
ATTN: REAL ESTATE ADMINISTRATION      275 BROAD HOLLOW ROAD, 1ST FLOOR        P.O. BOX 2111
MELVILLE, NY 11747                    MELVILLE, NY 11747                      HICKSVILLE, NY 11802




CAPITAL REAL ESTATE VENTURES INC.      CAPITAL REALTY GROUP                   CAPITAL SHOWCASE
815 J STREET 202                       NANCY BENEDIKT                         5301 MADISON AVE STE 203
SAN DIEGO, CA 92101                    86 RT. 59                              SACRAMENTO, CA 95841
                                       SPRING VALLEY, NY 10977




CAPITAL STRATEGY GROUP INC             CAPITAL WASTE SERVICES                 CAPITAL WASTE SERVICES
777 SOUTH FLAGLER DR                   1010 GERVAIS ST, STE 300               P.O. BOX 148
WEST TOWER STE 800                     COLUMBIA, SC 29201                     COLUMBIA, SC 29202
WEST PALM BEACH, FL 33401




CAPITAL/HIGHWAY 35, LTD.               CAPITOL COFFEE SYSTEMS INC             CAPITOL LAND COMPANY
C/O THE WEITZMAN GROUP                 1113 CAPITAL BLVD                      ATTN: DAN CAPPS
4200 N. LAMAR BLVD., SUITE 200         RALEIGH, NC 27603                      P.O. BOX 419121
AUSTIN, TX 78756                                                              ST. LOUIS, MO 63141




CAPITOL LIGHTING COMPANY               CAPITOL LIGHTING COMPANY               CAPITOL LIGHTING COMPANY
365 ROUTE 10                           365 ROUTE 10                           ATTN: MAX LEBERSFELD
ATTN: MAX LEBERSFELD                   EAST HANOVER, NJ 07936                 365 ROUTE 10
EAST HANOVER, NJ 07936                                                        EAST HANOVER, NJ 07936




CAPITOL MANAGEMENT SERVICES, INC.      CAPITOL MANAGEMENT SEVCICES            CAPITOL VENTURES LLC
P.O. BOX 147                           PO BOX 147                             C/O PROSPECT ENTERPRISES LLC
PARADISE, CA 95967                     PARADISE, CA 95967                     433 SOUTH MAIN STREET, SUITE 328
                                                                              W HARTFORD, CT 06110




CAPITOL VENTURES LLC                   CAPITOL VENTURES LLC                   CAPITOL VENTURES, LLC
444 NORTH MICHIGAN AVE, STE 3250       C/O PROSPECT ENTERPRISES LLC           C/O PROSPECT ENTERPRISES, LLC
CHICAGO, IL 60611                      433 SOUTH MAIN STREET, SUITE 328       433 SOUTH MAIN STREET, SUITE 328
                                       W HARTFORD, CT 06110                   WEST HARTFORD, CT 06110




CAPLACO THREE INC                      CAPLACO THREE INC                      CAPLACO THREE, INC.
C/O CAPITOL LAND COMPANY               C/O CAPITOL LAND COMPANY               C/O CAPITOL LAND COMPANY
P.O. BOX 419121                        P.O. BOX 419121                        PO BOX 419121
SAINT LOUIS, MO 63141                  ST. LOUIS, MO 63141                    ST. LOUIS, MO 63141




CAPO INDUSTRIES LTD                    CAPREF BROOKWOOD VILLAGE LLC           CAPREF BROOKWOOD VILLAGE LLC
1200 CORPORATE DR                      ATTN: PROPERTY MANAGEMENT              P.O. BOX 713934
BURLINGTON, ON L7L5R6                  780 BROOKWOOD VILLAGE                  CINCINNATI, OH 45271-3934
CANADA                                 BIRMINGHAM, AL 35209




CAPROCK WASTE - DISTRICT 5114          CAPROCK WASTE - DISTRICT 5114          CAPSHINE, LLC
5813 E FM 40                           P.O. BOX 660177                        ATTN: TIM SOTOODEH
LUBBOCK, TX 79403                      DALLAS, TX 75266-0177                  24143 HILLVIEW ROAD
                                                                              LOS ALTOS, CA 94024
CAPSHINE, LLC         Case 18-12241-CSS    Doc
                                     CAPSTAR    26OPERATING
                                             RADIO   Filed 10/05/18
                                                            COMPANY     PageCAPSTAR
                                                                             247 ofRADIO
                                                                                    1739OPERATING COMPANY
CAROLINE KARL                         3900 11TH AVE                         600 BEACON PKWY WEST STE 400
24143 HILLVIEW ROAD                   TUSCALOOSA, AL 35401                  BIRMINGHAM, AL 35209
LOS ALTOS, CA 94024




CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY
IHEART HONOLULU                       IHEART INDIANAPOLIS                   IHEART NASHVILLE
650 IWILEI RD STE 400                 6161 FALL CREEK RD                    P.O. BOX 842354
HONOLULU, HI 96817                    INDIANAPOLIS, IN 46220                DALLAS, TX 75284-2354




CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY
IHEART TUCSON                         IHEARTMEDIA KSSK-FM                   IHEARTMEDIA KVET-FM
3202 N ORACLE                         650 IWILEI RD STE 400                 20880 STONE OAK PKWY
TUCSON, AZ 85705                      HONOLULU, HI 96817                    SAN ANTONIO, TX 78258




CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY
IHEARTMEDIA WASH-FM                   IHEARTMEDIA WBIG-FM                   IHEARTMEDIA WEND-FM
1801 ROCKVILLE PIKE                   1801 ROCKVILLE PIKE                   P.O. BOX 406372
ROCKVILLE, MD 20852                   ROCKVILLE, MD 20852                   ATLANTA, GA 30384-6372




CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY
IHEARTMEDIA WHQC-FM                   IHEARTMEDIA WIBA-AM                   IHEARTMEDIA WKZP-FM
P.O. BOX 406372                       2651 S FISH HATCHERY RD               P.O. BOX 406372
ATLANTA, GA 30384-6372                MADISON, WI 53711                     ATLANTA, GA 30384-6372




CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY
IHEARTMEDIA WMKS-FM                   IHEARTMEDIA WPGB-FM                   IHEARTMEDIA WSNE-FM
20880 STONE OAK PKWY                  20880 STONE OAK PKWY                  20880 STONE OAK PKWY
SAN ANTONIO, TX 78258-7460            SAN ANTONIO, TX 78258                 SAN ANTONIO, TX 78258




CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY
IHEARTMEDIA WWDC-FM                   IHEARTMEDIA                           IHEARTMEDIA
1801 ROCKVILLE PIKE                   20880 STONE OAK PKWY                  POB 406372
ROCKVILLE, MD 20852                   SAN ANTONIO, TX 78258                 ATLANTA, GA 30384-6372




CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY
KCDA-FM                               KEZAFM KKIXFM KMXFFM KIGLFM           KEZA-FM
P.O. BOX 419499                       2049 E JOYCE BLVD STE 101             2049 E JOYCE BLVD STE 101
BOSTON, MA 02241-9499                 FAYETTEVILLE, AR 72703                FAYETTEVILLE, AR 72703




CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY
KQOD-FM                               KRBB-FM                               KUBT-FM
FILE 56107                            20880 STONE OAK PKWY                  FILE 56107
LOS ANGELES, CA 90074-6107            SAN ANTONIO, TX 78258                 LOS ANGELES, CA 90074-6107




CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY       CAPSTAR RADIO OPERATING COMPANY
P.O. BOX 406372                       P.O. BOX 847572                       WDAS-FM
ATLANTA, GA 30384-6372                DALLAS, TX 75284-7572                 111 PRESIDENTIAL BLVD STE 100
                                                                            BALA CYNWYD, PA 19004
                      Case
CAPSTAR RADIO OPERATING     18-12241-CSS
                        COMPANY       CAPSTAR Doc   26OPERATING
                                                RADIO    Filed 10/05/18
                                                                COMPANY         PageCAPSTAR
                                                                                     248 ofRADIO
                                                                                            1739OPERATING COMPANY
WHJY-FM                               WIBA-FM                                       WMAD-FM
20880 STONE OAK PKWY                  2651 S FISH HATCHERY RD                       2651 S FISH HATCHERY RD
SAN ANTONIO, TX 78258                 MADISON, WI 53711                             MADISON, WI 53711




CAPSTAR RADIO OPERATING COMPANY          CAPSTAR RADIO OPERATING COMPANY            CAPSTAR RADIO OPERATING COMPANY
WRFF-FM                                  WTSO-AM                                    WUSL-FM
111 PRESIDENTIAL BLVD STE 100            2651 S FISH HATCHERY RD                    111 PRESIDENTIAL BLVD STE 100
BALA CYNWYD, PA 19004                    MADISON, WI 53711                          BALA CYNWYD, PA 19004




CAPSTAR RADIO OPERATING COMPANY          CAPTAIN HOOK-AUSTIN INC.                   CAPTAIN HOOK-AUSTIN INC.
WZEE-FM                                  7300 DAFFAN LANE                           P.O. BOX 170164
2651 S FISH HATCHERY RD                  AUSTIN, TX 78724                           AUSTIN, TX 78717
MADISON, WI 53711




CAPTIVE FINANCE SOLUTIONS LLC            CAPTIVE RESOURCES INSURANCE                CAPVIEW INCOME & VALUE FUND IV LP
120 E LAKE STREET                        SERVICES                                   P.O. BOX 847719
#207                                                                                DALLAS, TX 75284-7719
SANDPOINT, ID 83864




CAPVIEW INCOME & VALUE FUND IV, L.P.     CAPVIEW INCOME & VALUE FUND IV, L.P.       CARA FOUTS
5910 N. CENTRAL EXPRESSWAY, SUITE 1625   P.O. BOX 847719                            10201 S. MAIN STREET
DALLAS, TX 75206                         DALLAS, TX 75284-7719                      HOUSTON, TX 77025




CARA PHILLIPS                            CARA URBANIAK                              CARAUSTAR RECOVERED FIBER GROUP
10201 S. MAIN STREET                     10201 S. MAIN STREET                       531 ROSELANE ST NW
HOUSTON, TX 77025                        HOUSTON, TX 77025                          STE 650
                                                                                    MARIETTA, GA 30060




CARAUSTAR RECOVERED FIBER GROUP          CARBONDALE WATER & SEWER                   CARBONDALE WATER & SEWER
P.O. BOX 935010                          200 S ILLINOIS AVE                         P.O. BOX 2947
ATLANTA, GA 31193-5010                   CARBONDALE, IL 62902                       CARBONDALE, IL 62902-2947




CARBONS GOLDEN MALTED                    CARDELL CORNER                             CARDINAL SIGN CORPORATION
P.O. BOX 129                             10201 S. MAIN STREET                       2629 DEAN DRIVE
CONCORDVILLE, PA 19331-0128              HOUSTON, TX 77025                          VIRGINIA BEACH, VA 23452




CARDINE ROBERTS                          CARDONE TRAINING TECHNOLOGIES INC          CARDONE TRAINING TECHNOLOGIES INC
13825 S QUAIL RUN DR                     18909 NE 29TH AVE                          300 71ST ST STE 620
PLAINFIELD, IL 60544                     AVENTURA, FL 33180                         MIAMI, FL 33141




CAREER BUILDER LLC.                      CAREERPLUG LLC                             CARELYN MARTELL
13047 COLLECTION CENTER DR               ATTN: CLINTON W SMITH                      10201 S. MAIN STREET
CHICAGO, IL 60693-0130                   2525 WALLINGWOOD DR BLDG 6 STE 601         HOUSTON, TX 77025
                                         AUSTIN, TX 78746
CAREY CACKO            Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      CAREY JACOBSON                 PageCARGAS
                                                                          249 ofSYSTEM
                                                                                 1739 INC
10201 S. MAIN STREET                  7202 SUMMITVIEW AVE A10            1310 MARSHALL AVE
HOUSTON, TX 77025                     YAKIMA, WA 98908                   LANCASTER, PA 17601




CARIANN DEJONG                        CARIBE ELECTRIC CONTRACTOR         CARIBE S ELECTRIC INC
10201 S. MAIN STREET                  261 W 27 STREET                    1770 W 40TH ST BAY 3
HOUSTON, TX 77025                     HIALEAH, FL 33010                  HIALEAH, FL 33012




CARIE CREEKMORE                       CARIN GIGA                         CARIN THORNTON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CARIS ALLEN                           CARISSA BURCHARDT                  CARISSA GROSS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CARL ANDERSON COMPANY                 CARL ARNOLD                        CARL BARNETT
7040 PENNSYLVANIA AVE                 10201 S. MAIN STREET               10201 S. MAIN STREET
FINLEYVILLE, PA 15332                 HOUSTON, TX 77025                  HOUSTON, TX 77025




CARL BIRKHOLZ                         CARL BISHOP                        CARL BOLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CARL BOLUFE                           CARL BUCHHOLZ                      CARL BUCHNER
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CARL BUZ                              CARL CARPENTER                     CARL CHAMPIER
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CARL EPPS                             CARL ETIENNE                       CARL HOUT
10201 S. MAIN STREET                  10201 S. MAIN STREET               110 SILVER CREEK DR.
HOUSTON, TX 77025                     HOUSTON, TX 77025                  CANTON, GA 30114




CARL J GRECO PC                       CARL LYON                          CARL NEWNUM
PRORFESSIONAL ARTS BUILDING           10201 S. MAIN STREET               606 S CLAYTON ST
327 N WASHINGTON AVE 4TH FLOOR        HOUSTON, TX 77025                  BLOOMINGTON, IL 61701
SCRANTON, PA 18403
CARL PARKER            Case 18-12241-CSS     Doc 26
                                      CARL R JOHNSON      Filed 10/05/18   PageCARL
                                                                                250RHONE
                                                                                    of 1739
10201 S. MAIN STREET                   1506 RICE TERRACE                       10201 S. MAIN STREET
HOUSTON, TX 77025                      NORTHPORT, FL 34286                     HOUSTON, TX 77025




CARL WALKER                            CARL WAYMACK                            CARL WRONSKI
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CARLA DIAZ                             CARLA THREADGILL                        CARLANDA REDFEARN
10201 S. MAIN STREET                   7263 PUCKETT RANCH RD                   10201 S. MAIN STREET
HOUSTON, TX 77025                      NEW BADEN, TX 77870                     HOUSTON, TX 77025




CARLICIA WITT                          CARLIE GILBERT                          CARLIN DEVORSS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CARLISS DAVIS                          CARLITOS ZABALA                         CARLOS A COTO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    415 WASHINGTON AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                       INVERNESS, FL 34450




CARLOS A JOSEPH                        CARLOS AMADOR                           CARLOS BRYANT
1209 CALIBRE CREEK PKWY                10201 S. MAIN STREET                    66 SUMMER ST
ROSWELL, GA 30076                      HOUSTON, TX 77025                       HYDE PARK, MA 02136




CARLOS CABRET                          CARLOS CATALAN                          CARLOS CEDANO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CARLOS COELHO                          CARLOS COLLADO                          CARLOS ENRIQUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CARLOS ESTRADA                         CARLOS FERREYRA                         CARLOS FIELD CARRILLO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CARLOS FLORES                          CARLOS FRANCO                           CARLOS FRITZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
CARLOS FRITZ           Case 18-12241-CSS
                                      CARLOSDoc 26
                                            GALLO          Filed 10/05/18   PageCARLOS
                                                                                 251 ofGUTIERREZ
                                                                                        1739
10201 S. MAIN STREET                  8038 PINE FALLS DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77095                         HOUSTON, TX 77025




CARLOS HENNINGSEN                     CARLOS HERNANDEZ                          CARLOS JAIMES
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARLOS LOERA                          CARLOS MALDANADO                          CARLOS MEJIA ESPINOZA
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARLOS MENDOZA TEJADA                 CARLOS MONTERO                            CARLOS MYERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARLOS OLIVA                          CARLOS ORDAZ                              CARLOS OTTO
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARLOS PELAEZ                         CARLOS PINEDA                             CARLOS PRIETO
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARLOS RAMIREZ                        CARLOS REID                               CARLOS RODRIGUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARLOS ROSAS                          CARLOS RUIZ                               CARLOS RUIZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARLOS SIMPSON                        CARLOS TORRES                             CARLOS VAZQUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARLOS VERRETT                        CARLOS WASHINGTON                         CARLOS WATSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025
CARLOS XILOJ           Case 18-12241-CSS
                                      CARLOSDoc 26
                                            ZABALA         Filed 10/05/18   PageCARLSON
                                                                                 252 of LYNCH
                                                                                         1739CLIENT TRUST ACCOUNT
10201 S. MAIN STREET                  10201 S. MAIN STREET                      ATTN: CARLSON LYNCH
HOUSTON, TX 77025                     HOUSTON, TX 77025                         1133 PENN AVE 5TH FLOOR
                                                                                PITTSBURGH, PA 15222




CARLSON LYNCH SWEET KILPELA           CARLSON-ENG FAMILY INVESTMENTS LLC        CARLSON-ENG FAMILY INVESTMENTS LLC
AND CARPENTER LLP                     117 COMMODORE LANE                        117 COMMODORE LANE
P.O. BOX 7635                         SMITHFIELD, VA 23430                      SMITHFIELD, VA 23430-2315
NEW CASTLE, PA 16107




CARLSON-ENG FAMILY INVESTMENTS LLC    CARLTON BALDWIN                           CARLTON C JONES TRUSTEE
117 COMMODORE LN                      10201 S. MAIN STREET                      NATIONAL WESTERN LIFE INSURANCE CO
SMITHFIELD, VA 23430-2315             HOUSTON, TX 77025                         ATTN: MORTGAGE LOAN DEPTPO BOX
                                                                                209080
                                                                                AUSTIN, TX 78720



CARLTON C JONES TRUSTEE               CARLTON C. JONES                          CARLTON HORN
P.O. BOX 5332                         P.O. BOX 5332                             10201 S. MAIN STREET
BERKELEY, CA 94705                    BERKELEY, CA 94705                        HOUSTON, TX 77025




CARLTON PETERSON                      CARLY ENGELBART                           CARLY PURDY
10201 S. MAIN STREET                  10201 S. MAIN STREET                      2816 STONEBROOK RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                         EDMOND, OK 73003




CARLY YOUNG                           CARLYLECYPRESS LEESBURG I LLC             CARLYLE-CYPRESS TUSCALOOSA I LLC
203 E RYEGATE DR                      P.O. BOX 392639                           P.O. BOX 824768
MERIDIAN, ID 83646                    PITTSBURGH, PA 15251-929                  PHILADELPHIA, PA 19182




CARLYLE-CYPRESS TUSCALOOSA I, LLC     CARLYLE-CYPRESS TUSCALOOSA I, LLC         CARMEL MOUNTAIN PLAZA
C/O CUSHMAN & WAKEFIELD               P.O. BOX 824768                           11455 EL CAMINO REAL STE 200
2101 L STREET, NW                     PHILADELPHIA, PA 19182                    SAN DIEGO, CA 92130
ATTN: KEVIN MCLEWEE
WASHINGTON, DC 20037



CARMELA ROMAN                         CARMELA VERDUGO                           CARMELLA LEWIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARMELO GARCIA                        CARMEN BROWN                              CARMEN JARA
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




CARMEN LOPEZ                          CARMEN PEARCY                             CARMEN SMALL
10201 S. MAIN STREET                  14713 ALDER RD                            10201 S. MAIN STREET
HOUSTON, TX 77025                     EAST CLEVELAND, OH 44112                  HOUSTON, TX 77025
CARMEN WINDSOR          Case 18-12241-CSS    DocLYNCH
                                       CARMICHAEL 26 INC
                                                      Filed 10/05/18   PageCARMICHAEL
                                                                            253 of 1739
                                                                                      LYNCH
10201 S. MAIN STREET                   P.O. BOX 7247-7385                  110 N 5TH ST
HOUSTON, TX 77025                      PHILADELPHIA, PA 19170-7385         MINNEAPOLIS, MN 55403




CARNEGIE MANAGEMENT AND                CARNOT AGBOMENOU                    CAROL A FLETCHER
DEVELOPMENT CORPORATION                10201 S. MAIN STREET                3606 VILLAGE PINE DR
27500 DETROIT ROAD, SUITE 300          HOUSTON, TX 77025                   KINGWOOD, TX 77339
WESTLAKE, OH 44145




CAROL ADAM                             CAROL ALLISON                       CAROL BACON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CAROL BINGHAM                          CAROL COMPO                         CAROL CRABTREE
10201 S. MAIN STREET                   68684 HIGHLAND CT                   10201 S. MAIN STREET
HOUSTON, TX 77025                      WASHINGTON, MI 48095                HOUSTON, TX 77025




CAROL GUARINO                          CAROL HOY                           CAROL JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CAROL L ABERNATHY                      CAROL L COLOSIMO                    CAROL LEON
D/B/A CLA ASSOCIATES LLC               3210 SAWYER CIRCLE                  10201 S. MAIN STREET
1505 LAKES PKWY STE 190                DELTONA, FL 32738                   HOUSTON, TX 77025
LAWRENCEVILLE, GA 30043




CAROL LEON                             CAROL PENA                          CAROL RALSTON
10201 S. MAIN STREET                   420 N BRIGHTON ST                   10201 S. MAIN STREET
HOUSTON, TX 77025                      BURBANK, CA 91506                   HOUSTON, TX 77025




CAROL ROOP                             CAROL YENTER                        CAROLE KATZ LLC
C/O RJR PROPERTIES                     10201 S. MAIN STREET                129 GILDA AVE
4334 CHANCERY PARK DR                  HOUSTON, TX 77025                   PITTSBURGH, PA 15217
FAIRFAX, VA 22030




CAROLE KATZ LLC                        CAROLE KEYS                         CAROLE RIOS
411 SEVENTH AVE STE 1425               10201 S. MAIN STREET                52-390 TRIPOLI WAY
PITTSBURGH, PA 15219-1905              HOUSTON, TX 77025                   COACHELLA, CA 92236




CAROLINA DRY HEAT SANITATION           CAROLINA DRY HEAT SANTIATION        CAROLINA DRY HEAT SANTIATION
132 MEADOW FIELDS CT.                  P.O. BOX 1133                       P.O. BOX 4551
COLFAX, NC 27235                       KNIGHTDALE, NC 27545                ARCHDALE, NC 27263
                        Case
CAROLINA FIRE DEFENSE, INC.    18-12241-CSS     Doc
                                         CAROLINA FIRE26   Filed COMPANY
                                                       EQUIPMENT 10/05/18INC PageCAROLINA
                                                                                  254 of HANDLING
                                                                                          1739 LLC
9400 S. TRYON STREET                      P.O. BOX 5644                        P.O. BOX 890352
CHARLOTTE, NC 28273                       GREENVILLE, SC 29606                 CHARLOTTE, NC 28289-0352




CAROLINA HOLDINGS, INC                    CAROLINA INTERNATIONAL TRUCKS INC    CAROLINA LEON-FERREIRA
40 W BROAD STREET, 410                    P.O. BOX 12228                       10201 S. MAIN STREET
GREENVILLE, SC 29601                      GREENVILLE, SC 29612                 HOUSTON, TX 77025




CAROLINA MATERIAL HANDLING INC            CAROLINA MATTRESS GUILD INC          CAROLINA MEDIA GROUP
2209 PATTERSON COURT                      385 NORTH DR                         WBBB-FM
GREENSBORO, NC 27407-2593                 THOMASVILLE, NC 27360                3012 HIGHWOODS BLVD STE 200
                                                                               RALEIGH, NC 27604




CAROLINA MEDIA GROUP                      CAROLINA PLACE PROPERTIES LLC        CAROLINA PLACE PROPERTIES LLC
WQDR-FM                                   1001 E TELECOM DR                    7795 NW BEACON SQUARE BLVD 201
3012 HIGHWOODS BLVD STE 200               BOCA RATON, FL 33431                 BOCA RATON, FL 33487
RALEIGH, NC 27604




CAROLINA PUBLISHING                       CAROLINA SUHENDRA                    CAROLINA WASTE & RECYCLING LLC
P.O. BOX 25697                            10201 S. MAIN STREET                 4285 PACE ST
RICHMOND, VA 23260-5697                   HOUSTON, TX 77025                    NORTH CHARLESTON, SC 29405




CAROLINE A NICK                           CAROLINE BAKER                       CAROLINE BUCHALTER
6323 TAHITIAN DRIVE                       10201 S. MAIN STREET                 10201 S. MAIN STREET
BRADENTON, FL 34207                       HOUSTON, TX 77025                    HOUSTON, TX 77025




CAROLINE ISAAC                            CAROLINE LILLY                       CAROLINE MAYES
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




CAROLINE NGO                              CAROLINE ROBERTS                     CAROLINE SNYDER
10201 S. MAIN STREET                      13825 S QUAIL RUN DR                 10201 S. MAIN STREET
HOUSTON, TX 77025                         PLAINFIELD, IL 60544                 HOUSTON, TX 77025




CAROLINE VANCE WOOD                       CAROLINE                             CAROLYN CICCATELLI
10201 S. MAIN STREET                      ATTN: PROPERTY TAX DEPT.             10201 S. MAIN STREET
HOUSTON, TX 77025                         P.O. BOX 458                         HOUSTON, TX 77025
                                          DENTON, MD 21629




CAROLYN CLIFFORD                          CAROLYN J. ROGERS DBA CJ REPORTING   CAROLYN KILPATRICK
10400 S TRIPP AVE                         P.O. BOX 1373                        10201 S. MAIN STREET
OAK LAWN, IL 60453                        ANDOVER, MA 01810                    HOUSTON, TX 77025
CAROLYN LEE              Case 18-12241-CSS    Doc
                                        CAROLYN    26
                                                MENO       Filed 10/05/18    PageCAROLYN
                                                                                  255 of PULASKI
                                                                                          1739
114 STRATFORD DR                        10201 S. MAIN STREET                     10201 S. MAIN STREET
SLIDELL, LA 70458                       HOUSTON, TX 77025                        HOUSTON, TX 77025




CAROLYN TENAGLIA                        CAROLYNN FEWELL                          CARPET LAND INC
69 HALE ST 2                            100 FAIRVIEW CIRCLE                      6432 BALTIMORE NATIONAL PIKE
BEVERLY, MA 01915                       ASHLAND CITY, TN 37015                   CATONSVILLE, MD 21228




CARPET LAND INC                         CARR BUSINESS SYSTEMS INC                CARRERA LLC
6432 BALTIMORE NATIONAL PIKE            PO BOX 28330                             C/O BRODYCO, INC.
BALTIMORE, MD 21228                     NEW YORK, NY 10087-8330                  530 SE GREENVILLE BLVD., SUITE 200
                                                                                 ATTN: H. J. BRODY
                                                                                 GREENVILLE, NC 27858



CARRERA, LLC                            CARRERA, LLC                             CARRIE BURKETT
C/O BRODYCO, INC.                       C/O BRODYCO, INC.                        10201 S. MAIN STREET
530 SE GREENVILLE BLVD., SUITE 200      530 SE GREENVILLE BLVD., SUITE 200       HOUSTON, TX 77025
ATTN: CRISSY CODY                       ATTN: H. J. BRODY
GREENVILLE, NC 27858                    GREENVILLE, NC 27858



CARRIE COLBERG                          CARRIE CURRY                             CARRIE DUFF
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




CARRIE FORD                             CARRIE GRAVES                            CARRIE HEATH
10201 S. MAIN STREET                    18818 FM 442                             10510 PENELOPE PL APT 204
HOUSTON, TX 77025                       NEEDVILLE, TX 77461                      NEW PORT RICHEY, FL 34654




CARRIE IBRAHIM                          CARRIE MCCRAY                            CARRIE MELICK D/B/A CLEAR VIEW
19406 STILLHOUSE DRIVE                  10201 S. MAIN STREET                     WINDOW CLEANING
TOMBALL, TX 77375                       HOUSTON, TX 77025                        11275 US 98 W STE 6 147
                                                                                 MIRAMAR BEACH, FL 32550




CARRIE MELICK D/B/A CLEAR VIEW          CARRIE MITCHELL                          CARRIE PATTERSON
WINDOW CLEANING                         3503 GREEN VIEW AVE                      10201 S. MAIN STREET
5237 KERVIN RD                          RAINBOW CITY, AL 35906                   HOUSTON, TX 77025
CRESTVIEW, FL 32539




CARRIE STONE                            CARRIE WELLS                             CARRIE-ANN FREDERICKS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




CARRINGTON JOHNSON                      CARROLL COUNTY TAX OFFICE                CARROLL ELECTRIC COOP CORP
7024 BLUE SKY DR                        423 COLLEGE ST ROOM 401                  920 HWY 62 SPUR
LOCUST GROVE, GA 30248                  CARROLLTON, GA 30117-0338                PO BOX 4000
                                                                                 BERRYVILLE, AR 72616
CARROLL ELECTRIC COOP Case
                        CORP   18-12241-CSS    Doc
                                         CARROLL    26 COOPERATIVE
                                                 ELECTRIC Filed 10/05/18      PageCARROLL
                                                                                   256 ofINDEPENDENT
                                                                                          1739       FUEL LLC
P.O. BOX 4000                             CORPORATION                             2700 LOCH RAVEN RD
BERRYVILLE, AR 72616-4000                 P.O. BOX 4000                           BALTIMORE, MD 21218
                                          BERRYVILLE, AR 72616




CARROLL INDEPENDENT FUEL LLC              CARROLL PROPERTY LLC                    CARROLL PROPERTY, LLC
P.O. BOX 64686                            6726 CANTERBURY LANE                    6726 CANTERBURY LANE
BALTIMORE, MD 21264-4686                  EDEN PRAIRIE, MN 55346                  EDEN PRAIRIE, MN 55346




CARROLL                                   CARROLL-NASLUND DISPOSAL SERVICE INC.   CARROLL-NASLUND DISPOSAL SERVICE INC.
ATTN: PROPERTY TAX DEPT.                  2809 TURNING POINTE LOOP                P.O. BOX 418
423 COLLEGE ST ROOM 401                   CLARKSTON, WA 99403                     LEWISTON, ID 83501-0418
CARROLLTON, GA 30117-0338




CARROLLTON FARMERS BRANCH ISD             CARROLLWOOD CENTER HOLDINGS LLC         CARROLLWOOD COMMONS OUTPARCEL
P.O. BOX 110611                           C/O RPM REALTY MANAGEMENT LLC           CORP
CARROLLTON, TX 75011-0611                 145020 N DALE MABRY HWY STE 333         3333 NEW HYDE PARK RD STE 100
                                          TAMPA, FL 33618                         NEW HYDE PARK, NY 11042-0020




CARROLLWOOD PARTNERS, LLC                 CARSON QUINN                            CARSON VALLEY CENTER LLC
C/O IDEAL MANAGEMENT COMPANY              10201 S. MAIN STREET                    KROENKE GRP
12568 SW 88TH STREET                      HOUSTON, TX 77025                       211 N STADIUM BLVD STE 201
ATTN: ROSA MESA                                                                   COLUMBIA, MO 65203
MIAMI, FL 33186



CARSON VALLEY CENTER, L.L.C.              CARTER BROADCAST GROUP INC              CARTER BROADCASTING INC
C/O THE KROENKE GROUP                     KPRS-FM                                 11131 COLORADO AVE
211 NORTH STADIUM BOULEVARD, SUITE 201    11131 COLORADO AVE                      KANSAS CITY, MO 64137
COLUMBIA, MO 65203                        KANSAS CITY, MO 64137




CARTER FRANCISCO                          CARTER GIBBS                            CARTER KALMBACH
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




CARTER MCCARTER                           CARTER MITCHELL                         CARTER PUBLISHING CO INC
10201 S. MAIN STREET                      10201 S. MAIN STREET                    KERNERSVILLE NEWS
HOUSTON, TX 77025                         HOUSTON, TX 77025                       P.O. BOX 337
                                                                                  KERNERSVILLE, NC 27285




CARTERA COMMERCE INC                      CARTERET COUNTY TAX COLLECTOR           CARTERET
ONE CRANBERRY IDILL STE 203               302 COURTHOUSE SQUARE                   ATTN: PROPERTY TAX DEPT.
LEXINGTON, MA 02421                       BEAUFORT, NC 28516-6709                 302 COURTHOUSE SQUARE
                                                                                  BEAUFORT, NC 28516




CARTERS TRUCKING SERVICE                  CARVELL PRINTING INC                    CARVER, MARCEL
8275 BRIDGEWATER PLACE                    1791 TRIBUTE ROAD SUITE A               2313 N MAIN ST STE 105
RIVERDALE, GA 30296                       SACRAMENTO, CA 95815                    HIGH POINT, NC 27262-7865
CARWOOD SKYPARK, LLC Case    18-12241-CSS     Doc 26
                                       CARY BUDNICK       Filed 10/05/18   PageCARY
                                                                                257BURCH
                                                                                    of 1739
C/O KNORR MANAGEMENT, INC.             10201 S. MAIN STREET                    10201 S. MAIN STREET
5525 REBECCA WAY                       HOUSTON, TX 77025                       HOUSTON, TX 77025
CORNING, CA 96021




CARY DIXON                             CARY KOZAK                              CARY KOZAK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CARY SMITH                             CARY STROME                             CARYN FRANCETIC
10201 S. MAIN STREET                   4000 PIERCE STREET 198                  1126 E JUANITA AVE
HOUSTON, TX 77025                      RIVERSIDE, CA 92505                     GILBERT, AZ 85234




CAS POLLER, LLC                        CAS POLLER, LLC                         CASA DORINDA APARTMENTS LP
210 SANDY SPRINGS PLACE NE             210 SANDY SPRINGS PLACE NE              CASA MIRAVISTA APARTMENTS LP
ATLANTA, GA 30328                      SANDY SPRINGS, GA 30328                 C/O YUBA CITY MARKET PLACE/CLOVER
                                                                               ATTN: SUZANNE MURPHY; P.O. BOX 1260
                                                                               SUMMERLAND, CA 93067



CASA DORINDA APARTMENTS LP             CASA DORINDA APARTMENTS LP              CASA GRANDE VALLEY
CASA MIRAVISTA APARTMENTS LP           P.O. BOX 1260                           200 W 2ND ST
C/O YUBA CITY MARKET PLACE/CLOVER      SUMMERLAND, CA 93067                    CASA GRANDE, AZ 85122
PROPERTY MGMT INC-P.O. BOX 1260
SUMMERLAND, CA 93067



CASA JOHNSON                           CASA MIRAVISTA APARTMENTS LP            CASABIANCA FURNITURE LLC
10201 S. MAIN STREET                   P.O. BOX 1260                           16260 NW 49TH AVE
HOUSTON, TX 77025                      SUMMERLAND, CA 93067                    MIAMI GARDENS, FL 33014




CASABIANCA                             CASANA FURNITURE COMPANY LTD            CASANA FURNITURE COMPANY LTD
16260 NW 49TH AVE                      90 LEXINGTON PARK                       DEPT CH 17747
MIAMI GARDENS, FL 33014                WINNINPEG, MB R2G 4H2                   PALATINE, IL 60055-7747
                                       CANADA




CASANDRA KAES                          CASARA LUCIA                            CASAUNDRA FIELDS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CASCADE COVE                           CASCADE ELECTRIC INC                    CASCADE NATURAL GAS CORP
1465 NORTHSIDE DR STE 128              2940 S PALO VERDE RD                    P.O. BOX 5600
ATLANTA, GA 30318                      TUCSON, AZ 85713                        BISMARCK, ND 58506-5600




CASCADE NATURAL GAS CORP               CASCADE NATURAL GAS CORP                CASCADE NATURAL GAS CORPORATION
P.O. BOX 990065                        PO BOX 5600                             P.O. BOX 990065
BOISE, ID 83799-0065                   BISMARCK, ND 58506-5600                 BOISE, ID 83799-0065
CASCADE NATURAL GAS       Case 18-12241-CSS    Doc
                                         CASCADE    26 REAL
                                                 PACIFIC Filed 10/05/18
                                                            ESTATE SERVICES PageCASCADE
                                                                                 258 of STATION
                                                                                         1739 RETAIL CENTER LLC
PO BOX 5600                                LLC                                   9721 NE CASCADES PARKWAY
BISMARCK, ND 58506-5600                    2005 MILDRED STREET WEST              PORTLAND, OR 97220
                                           FIRCREST, WA 98466




CASCADE STATION RETAIL CENTER LLC          CASCADE STATION RETAIL CENTER LLC     CASCADE STATION RETAIL CENTER, LLC
DEPT. 2092                                 DEPT. 2092                            ATTN: JEAN PAUL WARDY
P.O. BOX 29675                             P.O. BOX 29675                        7455 SW BRIDGEPORT ROAD, SUITE 205
PHOENIX, AZ 85038                          PHOENIX, AZ 85038-9675                TIGARD, OR 97224




CASCADE STATION RETAIL CENTER, LLC         CASCADE STATION RETAIL CENTER, LLC    CASELLA WASTE SERVICES
DEPT. 2092                                 DEPT. 2092                            25 GREENS HILL LN
P.O. BOX 29675                             P.O. BOX 29675                        RUTLAND, VT 05701
PHOENIX, AZ 85038                          PHOENIX, AZ 85038-9675




CASELLA WASTE SERVICES                     CASELLA WASTE SYSTEMS - MAJOR ACCT    CASEY ART
P.O. BOX 1372                              SVCS                                  10201 S. MAIN STREET
WILLISTON, VT 05495-1372                   P.O. BOX 1383                         HOUSTON, TX 77025
                                           WILLISTON, VT 05495-1383




CASEY BAKER                                CASEY BLEIER                          CASEY BOUND
10201 S. MAIN STREET                       10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                     HOUSTON, TX 77025




CASEY CAIL                                 CASEY EDWARDS                         CASEY FEARS
8301 WHITE STALLION TRAIL                  10201 S. MAIN STREET                  10201 S. MAIN STREET
MCKINNEY, TX 75071                         HOUSTON, TX 77025                     HOUSTON, TX 77025




CASEY GUSTAFSON                            CASEY HALL                            CASEY HENSON
10201 S. MAIN STREET                       10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                     HOUSTON, TX 77025




CASEY HUGHES                               CASEY JAYROE                          CASEY K COIL
10201 S. MAIN STREET                       10201 S. MAIN STREET                  194 HOLLYWOOD STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                     FITCHBURG, MA 01420




CASEY LOCK & KEY INC                       CASEY MCCABE                          CASEY MOREAU
1117 SE 33RD ST                            10201 S. MAIN STREET                  10201 S. MAIN STREET
BENTONVILLE, AR 72712                      HOUSTON, TX 77025                     HOUSTON, TX 77025




CASEY NORDMEYER                            CASEY PURTA                           CASEY R MOORE
2249 NW 37TH                               10201 S. MAIN STREET                  607 BRYDEN DR. APT A
OKLAHOMA CITY, OK 73112                    HOUSTON, TX 77025                     LEWISTON, ID 83501
CASEY ROBERTS            Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                        CASEY SCHUSTER                     PageCASEY
                                                                                259 SIMS
                                                                                     of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                   9904 CARMEL VALLEY DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                      FRISCO, TX 75035




CASEY SOUTH                             CASEY ST CLAIR                         CASEY SULLIVAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




CASEY SULLIVAN                          CASEY VANSCHOUBROEK                    CASEY WALSH
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




CASEY WOOD                              CASEY ZUBER                            CASEY ZUBER
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




CASEY-ANN CHARLES                       CASEYVILLE TOWNSHIP SEWER SYSTEM       CASEYVILLE TOWNSHIP SEWER
10201 S. MAIN STREET                    1 ECOLOGY DRIVE                        10001 BUNKUM RD
HOUSTON, TX 77025                       OFALLON, IL 62269                      FAIRVIEW HEIGHTS, IL 62208




CASEYVILLE TOWNSHIP SEWER               CASI ASPHALT & CONCRETE                CASPER MARTINEZ
P.O. BOX 1900                           PO BOX 329                             10201 S. MAIN STREET
FAIRVIEW HEIGHTS, IL 62208              COMMERCE CITY, CO 80037                HOUSTON, TX 77025




CASS COUNTY COLLECTOR OF REVENUE        CASS                                   CASSANDRA DAHL
2725 CANTRELL RD                        ATTN: PROPERTY TAX DEPT.               10201 S. MAIN STREET
HARRISONVILLE, MO 64701-4004            2725 CANTRELL RD                       HOUSTON, TX 77025
                                        HARRISONVILLE, MO 64701-4004




CASSANDRA GAUDET                        CASSANDRA GROMOLL                      CASSANDRA HARBERTS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   2116 VIA VIEJO
HOUSTON, TX 77025                       HOUSTON, TX 77025                      SAN CLEMENTE, CA 92673




CASSANDRA J MONROE                      CASSANDRA MCCOLLUM                     CASSANDRA OWSIANIECKI
307 6TH AVE                             10201 S. MAIN STREET                   10201 S. MAIN STREET
COLUMBIA, TN 38401                      HOUSTON, TX 77025                      HOUSTON, TX 77025




CASSANDRA PENLEY                        CASSANDRA PETERSON                     CASSANDRA SOTO
134 AMBERWOOD DR                        10201 S. MAIN STREET                   10201 S. MAIN STREET
FORT STEWART, GA 31315                  HOUSTON, TX 77025                      HOUSTON, TX 77025
CASSANDRA VEGA         Case 18-12241-CSS    DocWHITE
                                      CASSANDRA 26 Filed 10/05/18          PageCASSIDY
                                                                                260 ofBEASOCK
                                                                                       1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                     1573 QUATRAIN LN
HOUSTON, TX 77025                     HOUSTON, TX 77025                        SEBASTIAN, FL 32958




CASSIDY CAMP                          CASSIDY FUNK                             CASSIDY MARTINEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                     1034 12TH ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                        IMPERIAL BEACH, CA 91932




CASSIDY RUSSELL                       CASSIDY TIRE & SERVICE                   CASSIDY TURLEY COMMERCIAL RE SERVICE
10201 S. MAIN STREET                  200 S CHURCH ST                          INC
HOUSTON, TX 77025                     ADDISON, IL 60101                        CUSHMAN & WAKEFIELD
                                                                               55 WESTPORT PLAZA STE 600
                                                                               SAINT LOUIS, MO 63146



CASSIDY WILLIAMS                      CASSIE BALES                             CASSIE BARFIELD
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




CASSIE BARNETT                        CASSIE KARST                             CASSIE MCGOOGAN
PO BOX 523                            10201 S. MAIN STREET                     10201 S. MAIN STREET
WAKARUSA, IN 46573                    HOUSTON, TX 77025                        HOUSTON, TX 77025




CASSIE ROBERTS                        CASSIE SILVA                             CASSIE VANOYAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




CASSIE WEBB                           CASSITTY TERRILL                         CASSONDRA GWINN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




CASSONDRA PEREZ                       CASSOPOLIS ST ELKHART LLC                CASTAGNOLO PROPERTIES INC
313 WABENA CT                         901 WABASH AVE STE 300                   C/O SMITH COMMERCIAL MGMT INC
MINOOKA, IL 60447                     TERRE HAUTE, IN 47807                    18640 SUTTER BOULEVARD SUITE 300
                                                                               MORGAN HILL, CA 95037




CASTAGNOLO PROPERTIES INC             CASTAGNOLO PROPERTIES                    CASTETON SHOPPES LP
C/O SMITH COMMERCIAL MGMT INC         C/O SMITH COMMERCIAL MANAGEMENT LLC      ATTN: ACCOUNTS RECEIVABLE
18640 SUTTER BOULEVARD SUITE 300      18640 SUTTER BOULEVARD SUITE 300         177 E WASHINGTON ST STE 300
MORGAN HILL, CA 95037-8110            MORGAN HILL, CA 95037                    INDIANAPOLIS, IN 46204




CASTLE & COOKE COMMERCIAL INC         CASTLE & COOKE COMMERCIAL INC            CASTLE & COOKE COMMERCIAL-CA, INC.
10000 STOCKDALE HIGHWAY STE 300       10000 STOCKDALE HIGHWAY, SUITE 300       ATTN: VP - COMMERCIAL DEVELOPMENT
BAKERSFIELD, CA 93311                 BAKERSFIELD, CA 93311                    10000 STOCKDALE HIGHWAY, SUITE 300
                                                                               BAKERSFIELD, CA 93311
CASTLETON S.C. LLC       Case 18-12241-CSS    DocSHOPPES,
                                        CASTLETON 26 FiledLP 10/05/18           PageCASTLETON
                                                                                     261 of 1739
                                                                                              SQUARE LLC
P.O. BOX 5942                           117 EAST WASHINGTON STREET, SUITE 300       1359 MOMENTUM PLACE
HICKSVILLE, NY 11802                    INDIANAPOLIS, IN 46204                      CHICAGO, IL 60689-5311




CASTLETON SQUARE MALL                   CASTO DW II LLC                             CASTO DW II LLC
6020 EAST 82ND STREET                   ATTN: KELLY FENIMORE, PROPERTY MGR.         C/O CASTO
INDIANAPOLIS, IN 46250                  250 CIVIC CENTER DRIVE, SUITE 500           250 CIVIC CENTER DRIVE, SUITE 500
                                        COLUMBUS, OH 43215                          ATTN: LEGAL DEPT./LEASING
                                                                                    COLUMBUS, OH 43215



CASTO DW II LLC                         CASTO SOUTHEAST REALTY SERVICES LLC         CASTO
C/O CASTO                               5391 LAKEWOOD RANCH BLVD, SUITE 100         ATTN: DAVID BRUNNER
P.O. BOX 1450                           SARASOTA, FL 34240                          2601 WESTON PARKWAY, SUITE 201
COLUMBUS, OH 43216                                                                  CARY, NC 27513




CASTO                                   CASTO-OAKBRIDGE VENTURE LTD                 CASTO-OAKBRIDGE VENTURE, LTD
ATTN: KELLY FENIMORE, PROPERTY MGR.     P.O. BOX 1450                               C/O CASTO SOUTHEAST REALTY SERVICES
250 CIVIC CENTER DRIVE, SUITE 500       COLUMBUS, OH 43216                          LLC
COLUMBUS, OH 43215                                                                  401 N. CATTLEMEN ROAD, SUITE 108
                                                                                    ATTN: LEGAL DEPARTMENT
                                                                                    SARASOTA, FL 34232


CASTO-OAKBRIDGE VENTURE, LTD            CASTO-OAKBRIDGE VENTURE, LTD                CATALINA HERNANDEZ
C/O CASTO                               P.O. BOX 1450                               10201 S. MAIN STREET
ATTN: KRISTANE MURRAY                   COLUMBUS, OH 43216                          HOUSTON, TX 77025
191 WEST NATIONWIDE BOULEVARD, SUITE
200
COLUMBUS, OH 43215-2568


CATALINA MARKETING CORP                 CATALPA GROUP INC                           CATAWBA COUNTY TAX COLLECTOR
P.O. BOX 620000                         3027245 RUE ALEXANDRA                       ATTN: PROPERTY TAX DEPT.
ORLANDO, FL 32891-8484                  MONTREAL, QC H2R 2Y9                        P.O. BOX 368
                                        CANADA                                      NEWTON, NC 28658-0368




CATAWBA COUNTY TAX COLLECTOR            CATELLUS ALAMEDA RETAIL LLC                 CATELLUS MARKET DISTRICT LLC RR10
P.O. BOX 368                            P.O. BOX 741006                             P.O. BOX 396013
NEWTON, NC 28658-0368                   LOS ANGELES, CA 90074-1006                  SAN FRANCISCO, CA 94139




CATELLUS MARKET DISTRICT LLC            CATELLUS PC BLOCK PAD, LLC                  CATHARINE GARIANO
66 FRANKLIN ST STE 200                  C/O CATELLUS DEVELOPMENT CORP.              10201 S. MAIN STREET
OAKLAND, CA 94607                       66 FRANKLIN STREET, SUITE 200               HOUSTON, TX 77025
                                        ATTN: SENIOR VICE PRESIDENT
                                        OAKLAND, CA 94607



CATHAY HOLDINGS LLC                     CATHERINE (KATHY) RILEY                     CATHERINE ALFORD
C/O MOODY RAMBIN PROPERTY CO            10201 S. MAIN STREET                        3355 GARDEN AVE
12850 MEMORIAL DRIVE STE 1105           HOUSTON, TX 77025                           ROYAL OAK, MI 48073
HOUSTON, TX 77024




CATHERINE GONZALES                      CATHERINE GORMLEY                           CATHERINE LEEDS
10201 S. MAIN STREET                    421 GOLDENROD                               1117 N IOWA ST
HOUSTON, TX 77025                       KYLE, TX 78640                              SOUTH BEND, IN 46628
CATHERINE LERRO          Case 18-12241-CSS    DocMARCH
                                        CATHERINE 26 CPA
                                                       Filed 10/05/18      PageCATHERINE
                                                                                262 of 1739
                                                                                         MAXWELL
643 GRAVEL PINE                         743 VISTA GRANDE RD                    340 MAJOR RD
COLLEGEVILLE, PA 19426                  EL CAJON, CA 92019                     CLEVELAND, TX 77328




CATHERINE MCCAFFREY                     CATHERINE MILLS                        CATHERINE PACELLA
10201 S. MAIN STREET                    10201 S. MAIN STREET                   16 SPRUCE ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                      ORANGEBURG, NY 10962




CATHERINE PINEDO                        CATHERINE PRISK                        CATHERINE SITES
4550 JERICHO RD                         10201 S. MAIN STREET                   10201 S. MAIN STREET
CORPUS CHRISTI, TX 78413                HOUSTON, TX 77025                      HOUSTON, TX 77025




CATHIE BANCROFT                         CATHLENE COLEMAN OBANION               CATHRYNE MASON
10201 S. MAIN STREET                    3014 FALLBROOK COURT                   10201 S. MAIN STREET
HOUSTON, TX 77025                       PEARLAND, TX 77584                     HOUSTON, TX 77025




CATHY A MORROW                          CATHY A MORROW                         CATHY ALVINE
D/B/A BIG DADDY WILDLIFE REMOVAL        D/B/A BIG DADDY WILDLIFE REMOVAL       10201 S. MAIN STREET
3053 WADLOW ST                          3053 WADLOW ST                         HOUSTON, TX 77025
PITTSBURGH, PA 15212                    PITTSBURGH, PA 15212




CATHY BRUENNIG                          CATHY COCHEFSKI                        CATHY DELUCCHI
10201 S. MAIN STREET                    150 PARISH RD APT 938                  10201 S. MAIN STREET
HOUSTON, TX 77025                       ROANOKE, TX 76262                      HOUSTON, TX 77025




CATHY HAUSLEIN                          CATHY HAUSLEIN                         CATHY UPSHAW
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




CATHY WILSON                            CATIE CADMAN                           CATIE EDWARDS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




CATIE JOHNSON                           CATINA SMALLWOOD                       CATON FARM PLAZA
10201 S. MAIN STREET                    7687 GOSBROOK LN                       15941 S HARLEM AVE PMB 108
HOUSTON, TX 77025                       MEMPHIS, TN 38125                      TINLEY PARK, IL 60477




CATON FARM PLAZA                        CATOOSA COUNTY TAX COMMISSIONER        CATOOSA UTILITY DISTRICT AUTH
8430 W BRYN MAWR AVE STE 850            796 LAFAYETTE ST                       1058 OLD MILL RD
CHICAGO, IL 60631                       RINGGOLD, GA 30736                     PO BOX 750
                                                                               RINGGOLD, GA 30736
CATOOSA UTILITY DISTRICTCase
                         AUTH   18-12241-CSS    Doc
                                          CATOOSA     26 DISTRICT
                                                  UTILITY   Filed AUTHORITY
                                                                  10/05/18          PageCATOOSA
                                                                                         263 of 1739
P.O. BOX 750                               P.O. BOX 750                                 ATTN: PROPERTY TAX DEPT.
RINGGOLD, GA 30736                         RINGGOLD, GA 30736-0750                      796 LAFAYETTE ST
                                                                                        RINGGOLD, GA 30736




CATRINA ZEDD                               CATT HOAGLAND                                CAY BOA LLC
10201 S. MAIN STREET                       10201 S. MAIN STREET                         C/O CARLOS YEPES
HOUSTON, TX 77025                          HOUSTON, TX 77025                            6654 78TH AVE N
                                                                                        PINELLAS PARK, FL 33781




CAY BOA, LLC                               C-B FAMILY INVESTMENT CO                     CB PASO, LLC
6654 78TH STREET NORTH                     ATTN: PETER M CARLSON                        C/O MIMCO, INC.
PINELLAS PARK, FL 33781                    117 COMMODORE LN                             6500 MONTANA
                                           SMITHFIELD, VA 23430                         EL PASO, TX 79925




CB RICHARD ELLIS, INC.                     CB SPRING CYPRESS LLC                        CB SPRING CYPRESS, LLC
2800 POST OAK BOULEVARD, SUITE 2300        ATTN: RICHARD BLOUNT                         ATTN: RICHARD BLOUNT
HOUSTON, TX 77056                          4500 WILLIAMS DRIVE, SUITE 212 PMB 279       4500 WILLIAMS DRIVE, SUITE 212 PMB 279
                                           GEORGETOWN, TX 78633                         GEORGETOWN, TX 78633




CBC ADVISORS ASSET SERVICES                CBC SUN COAST PARTNERS                       CBC SUN COAST PARTNERS
SHANNON GODFREY                            ATTN: GRAYSON POWELL                         ATTN: JANIE SCHEPKER
7455 ARROYO CROSSING PARKWAY, SUITE        1430 COMMONWEALTH DRIVE, SUITE 102           1430 COMMONWEALTH DRIVE, SUITE 102
220                                        WILMINGTON, NC 28403                         WILMINGTON, NC 28403
LAS VEGAS, NV 89113



CBEYOND DBA CBEYOND                        CBEYOND                                      CBIC
COMMUNICATIONS LLC                         P.O. BOX 848432                              P.O. BOX 9271
320 INTERSTATE NORTH PARKWAY               DALLAS, TX 75284-8432                        SEATTLE, WA 98109
ATLANTA, GA 30339




CBL & ASSOCIATES LIMITED PARTNERSHIP       CBL & ASSOCIATES LIMITED PARTNERSHIP         CBL & ASSOCIATES MANAGEMENT INC
D/B/A ALAMANCE CROSSING CMBS LLC           D/B/A PEARLAND OP PARCEL 8 LLC               2030 HAMILTON PLACE BLVD
2030 HAMILTON PLACE BLVD STE500            2030 HAMILTON PLACE BLVD STE500              CHATTANOOGA, TN 37421
CHATTANOOGA, TN 37421-6000                 CHATTANOOGA, TN 37421-6000




CBL & ASSOCIATES MANAGEMENT, INC.          CBL & ASSOCIATES MANAGEMENT, INC.            CBL FRIENDLY CENTER CMBS LLC
2030 HAMILTON PLACE BOULEVARD              2030 HAMILTON PLACE BOULEVARD                2030 HAMILTON BLVD STE 500
CBL CENTER, SUITE 500                      CBL CENTER, SUITE 500                        CHATTANOOGA, TN 37421-6000
ATTN: DIANE DODDS                          ATTN: DIANE DODDS
CHATTANOOGA, TN 37421                      CHATTANOOGA, TN 37421-6000



CBL FRIENDLY CENTER CMBS LLC               CBL FRIENDLY CENTER CMBS LLC                 CBL PROPERTY MANAGEMENT
2030 HAMILTON PLACE BLVD STE 500           P.O. BOX 74480                               GINA KYER
CHATTANOOGA, TN 37421-6000                 CLEVELAND, OH 44194-4480                     2030 HAMILTON PLACE BLVD., SUITE 500
                                                                                        CHATTANOOGA, TN 37421-6000




CBRE - ASSET SERVICES                      CBRE INC                                     CBRE
ATTN:TERRY GALLANT, RE MANAGER             P.O. BOX 740935 LOC CODE 2015                1333 MAIN STREET, SUITE 210
777 EAST WISCONSIN AVE, SUITE 3150         LOS ANGELES, CA 90074-0935                   COLUMBIA, SC 29201
MILWAUKEE, WI 53202
CBRE                   Case 18-12241-CSS
                                      CBRE Doc 26        Filed   10/05/18    PageCBRE
                                                                                  264 of 1739
8500 KEYSTONE CROSSING, SUITE 170     ATTN: JAMIE ODONNELL                       ATTN: LISA MAILLIARD
INDIANAPOLIS, IN 46240                2415 E. CAMELBACK ROAD                     2415 E. CAMELBACK ROAD
                                      PHOENIX, AZ 85016                          PHOENIX, AZ 85016




CBRE                                   CBRE                                      CBRE
ATTN: SUSIE DETMER, SVP                C/O SUSO 4 MOORESVILLE CS LP              C/O SUSO 4 WEST VALLEY LP
1420 FIFTH AVENUE,SUITE 1700           810 TYVOLA RD, SUITE 114                  2 TOWER CENTER BOULEVARD, 20TH FLOOR
SEATTLE, WA 98101                      ATTN: BETH OVERCASH                       ATTN: LAURIE HAEG
                                       CHARLOTTE, NC 28217                       EAST BRUNSWICK, NJ 08816



CBRE/ASSET SERVICES                    CBS INC                                   CBS RADIO ATLANTA
ATTN: MARGARET LANG                    D/B/A CBS TELEVISION STATIONS GROUP       P.O. BOX 32136
777 EAST WISCONSIN AVE, SUITE 3150     1700 BROADWAY 11TH FLOOR                  NEW YORK, NY 10087
MILWAUKEE, WI 53202                    NEW YORK, NY 10019




CBS RADIO BALTIMORE                    CBS RADIO CLEVELAND                       CBS RADIO CLEVELAND
P.O. BOX 33171                         22286 NETWORK PLACE                       WKRK-FM
NEWARK, NJ 07188-0171                  CHICAGO, IL 60673-1222                    22291 NETWORK PLACE
                                                                                 CHICAGO, IL 60673




CBS RADIO CLEVELAND                    CBS RADIO EAST HOLDINGS CORP              CBS RADIO EAST INC
WQAL-FM                                WBZ-AM                                    22577 NETWORK PL
22289 NETWORK PLACE                    1170 SOLIDERS FIELD RD                    CHICAGO, IL 60673
CHICAGO, IL 60673                      BOSTON, MA 02134




CBS RADIO EAST INC                     CBS RADIO EAST INC                        CBS RADIO EAST
WIP-FM                                 WOGL-FM                                   PITTSBURG EAST
400 MARKET ST 9TH FLOOR                400 MARKET ST 9TH FLOOR                   P.O. BOX 13404
PHILADELPHIA, PA 19106                 PHILADELPHIA, PA 19106                    NEWARK, NJ 07188-0404




CBS RADIO INC                          CBS RADIO INC                             CBS RADIO INC
1423 CLARKVIEW RD STE 100              840 N CENTRAL AVE                         D/B/A WJFK-FM
BALTIMORE, MD 21209                    PHOENIX, AZ 85004                         1015 HALF ST SE STE 200
                                                                                 WASHINGTON, DC 20003




CBS RADIO INC                          CBS RADIO INC                             CBS RADIO INC
WIAD-FM                                WJZ-FM                                    WLZL-FM
4200 PARLIAMENT PLACE STE 300          1423 CLARKVIEW RD STE 100                 4200 PARLIAMENT PLACE STE 300
LANHAM, MD 20706                       BALTIMORE, MD 21209                       LANHAM, MD 20706




CBS RADIO INC                          CBS RADIO INC                             CBS RADIO INC(WIAD FM)
WLZL-FM                                WPGC-FM                                   P.O. BOX 32095
P.O. BOX 32095                         4200 PARLIAMENT PLACE STE 300             NEW YORK, NY 10087-2095
NEW YORK, NY 10087-2095                LANHAM, MD 20706




CBS RADIO INC(WPGC-FM)                 CBS RADIO INC.                            CBS RADIO LAS VEGAS
P.O. BOX 32095                         P.O. BOX 100180                           P.O. BOX 100111
NEW YORK, NY 10087-2095                PASADENA, CA 91189-0180                   PASADENA, CA 91189
CBS RADIO OF BOSTON    Case   18-12241-CSS     Doc
                                        CBS RADIO   26 Filed 10/05/18
                                                  SACRAMENTO                 PageCBS
                                                                                  265  of 1739
                                                                                     RADIO SEATTLE
WZLX-FM                                 5244 MDISON AVE.                         1000 DEXTER AVE N STE 100
83 LEO M BIRMINGHAM PKWY                SACRAMENTO, CA 95841                     SEATTLE, WA 98109
BOSTON, MA 02135




CBS RADIO SEATTLE                       CBS RADIO STATIONS (WBMX-FM)             CBS RADIO STATIONS INC
P.O. BOX 100247                         20 GUEST ST 3RD FL                       51 WEST 52ND ST
PASADENA, CA 91189-0247                 BRIGHTON, MA 02135                       NEW YORK, NY 10019




CBS RADIO STATIONS INC                  CBS RADIO STATIONS INC                   CBS RADIO STATIONS INC
C/O CBS CORP TAX DEPT                   CBS PITTSBURG                            D/B/A KLOL-FM
51 WEST 52ND ST                         651 HOLIDAY DR                           24 GREENWAY PLAZA STE 1900
NEW YORK, NY 10019                      PITTSBURGH, PA 15220                     HOUSTON, TX 77046




CBS RADIO STATIONS INC                  CBS RADIO STATIONS INC                   CBS RADIO STATIONS INC
WBZ-FM                                  WTDY-FM                                  WWMX-FM
83 LEO M BIRMINGHAM PKWY                C/O CORPORATE TAX DEPT51 WEST 52ND ST    1423 CLARKVIEW RD STE 100
BOSTON, MA 02135                        NEW YORK, NY 10019                       BALTIMORE, MD 21209




CBS RADIO STATIONS INC                  CBS RADIO STATIONS INC(WTDY-FM)          CBS RADIO STATIONS INC(WXTU-FM)
WXTU-FM                                 P.O. BOX 28938                           P.O. BOX 28931
C/O CORPORATE TAX DEPT51 WEST 52ND ST   NEW YORK, NY 10087-8938                  NEW YORK, NY 10087-8931
NEW YORK, NY 10019




CBS RADIO STATIONS WZLX-FM              CBS RADIO STATIONS                       CBS RADIO STATIONS
P.O. BOX 33197                          KLUC-FM                                  KMLE-FM
NEWARK, NJ 07188                        P.O. BOX 100111                          P.O. BOX 730824
                                        PASADENA, CA 91189-0111                  DALLAS, TX 75373-0824




CBS RADIO STATIONS                      CBS RADIO STATIONS                       CBS RADIO STATIONS
KMXB-FM                                 KOOL-FM                                  KXNT-AM
P.O. BOX 100111                         P.O. BOX 730824                          P.O. BOX 100111
PASADENA, CA 91189-0111                 DALLAS, TX 75373-0824                    PASADENA, CA 91189-0111




CBS RADIO STATIONS                      CBS RADIO STATIONS                       CBS RADIO STATIONS
KXQQ-FM                                 KZON-FM                                  WVEE-FM
P.O. BOX 100111                         P.O. BOX 730824                          P.O. BOX 32136
PASADENA, CA 91189-0111                 DALLAS, TX 75373-0824                    NEW YORK, NY 10087-2136




CBS RADIO STATIONS                      CBS RADIO STATIONS(WBZ-AM)               CBS RADIO TEXAS INC
WZGC-FM                                 P.O. BOX 33081                           P.O. BOX 730224
P.O. BOX 32136                          NEWARK, NJ 07188                         DALLAS, TX 75373
NEW YORK, NY 10087-2136




CBS RADIO TX INC DBA KLUV FM            CBS RADIO TX INC DBA KRLD AM             CBS RADIO TX INC DBA KRLD FM
4131 N CENTRAL EXPRESSWAY STE 1000      4131 N CENTRAL EXPRESSWAY STE 1000       P.O. BOX 730224
DALLAS, TX 75204                        DALLAS, TX 75204                         DALLAS, TX 75373-0224
CBS RADIO TX INC DBA KVILCase
                          FM  18-12241-CSS      Doc
                                        CBS RADIO  TX 26    Filed
                                                      INC DBA      10/05/18
                                                              KVIL FM            PageCBS
                                                                                      266  of 1739
                                                                                         RADIO WJMK CHICAGO
4131 N CENTRAL EXPRESSWAY STE 1000      P.O. BOX 730224                              LOCKBOX 22520 NETWORK PL
DALLAS, TX 75204                        DALLAS, TX 75205                             CHICAGO, IL 60673




CBS RADIO WLIF INC                       CBS RADIO WLIF INC                          CBS RADIO WSCR/WXRT CHICAGO
PO BOX 33171                             WLIF-FM                                     LOCKBOX 22520 NETWORK PL
NEWARK, NJ 07188-0171                    1423 CLARKVIEW RD STE 100                   CHICAGO, IL 60673
                                         BALTIMORE, MD 21209




CBS RADIO WUSN CHICAGO                   CBS RADIO                                   CBS RADIO
LOCKBOX 22520 NETWORK PL                 D/B/A WTIC-FM                               KEGYFM KYXYFM
CHICAGO, IL 60673                        10 EXECUTIVE DR                             8033 LINDA VISTA RD
                                         FARMINGTON, CT 06032                        SAN DIEGO, CA 92111




CBS RADIO                                CBS RAIOD TX INC DBA KJKK FM                CBS SAN DIEGO
P.O. BOX 730844                          4131 N CENTRAL EXPRESSWAY STE 1000          P.O. BOX 100876
DALLAS, TX 75373                         DALLAS, TX 75204                            PASADENA, CA 91189-0876




CBS SAN FRANCISCO                        CBS STATIONS GROUP OF TX INC DBA KTXT       CBS STATIONS GROUP OF TX INC
865 BATTERY STREET                       TV                                          D/B/A KTVT DALLAS
SAN FRANCISCO, CA 94111                  5233 BRIDGE ST                              5233 BRIDGE ST
                                         FORT WORTH, TX 76103-1350                   FORT WORTH, TX 76103-1350




CBS TELEVISION STATIONS                  CBS TV STATIONS INC. DBA KCNC-TV            CBS5
P.O. BOX 33091                           1044 LINCOLN ST                             P.O. BOX 100067
NEWARK, NJ 07188                         CHICAGO, IL 60673                           PASADENA, CA 91189-0067




CC FUND 1 NORTHERN LLC                   CC FUND 1 NORTHERN LLC                      CC PERRY
C/O OAK REALTY PARTNERS INC              C/O OAK REALTY PARTNERS                     10201 S. MAIN STREET
1155 KELLY JOHNSON BLVD STE 302          1155 KELLY JOHNSON BLVD STE 302             HOUSTON, TX 77025
COLORADO SPRINGS, CO 80920               COLORADO SPRINGS, CO 80920




CCA RETAIL TWO LLC                       CCA TOOELE TOWNE CENTER LLC                 CCA TOOELE TOWNE CENTER LLC
C/O TIERRA GROUP INC.                    5670 WILSHIRE BLVD STE 1250                 P.O. BOX 10
10210 NE 8TH STREET, SUITE 208           LOS ANGELES, CA 90036                       SCOTTSDALE, AZ 85252
ATTN: VIVIAN PETERSON, PRESIDENT
BELLEVUE, WA 98004



CCA-DIVISION OF TAXATION                 CCA-TOOELE TOWNE CENTER, LLC                CCA-TOOELE TOWNE CENTER, LLC
PO BOX 94723                             ATTN: STEVEN USDAN                          P.O. BOX 10
CLEVELAND, OH 44101-4723                 5670 WILSHIRE BLVD., SUITE 1250             SCOTTSDALE, AZ 85252
                                         LOS ANGELES, CA 90036




CCB VIII ROCK ROAD, LLC                  CCB VIII ROCK ROAD, LLC                     CCCI AIRPORT SQUARE LLC
C/O CENTERCO PROPERTIES LLC              C/O CENTERCO PROPERTIES LLC                 COMPASS ROCK REAL ESTATE
11628 OLD BALLAS RD 200                  11628 OLD BALLAS RD 200                     6018 PLUMAS STREET E
SAINT LOUIS, MO 63141                    ST. LOUIS, MO 63141                         RENO, NV 98519
CCH INCORPORATED        Case   18-12241-CSS    Doc 26 LLC
                                         CCHH BURLINGAME Filed 10/05/18        PageCCLB
                                                                                    267LLC
                                                                                         of 1739
P.O. BOX 4307                            HYATT REGENCY SAN FRANCISCO AIRPORT       253 ROUTE 46 WEST
CAROL STREAM, IL 60197-4307              1333 BAYSHORE HWY                         SADDLE BROOK, NJ 07663
                                         BURLINGAME, CA 94010




C-COVE 90 LOT ID LTD                     CCP & FSG L.P.                            CCP & FSG LP
500 WEST 5TH ST STE 700                  1500 SANSOM STREET, STE 300               120 EAST LANCASTER AVE, SUITE 101
AUSTIN, TX 78701                         PHILADELPHIA, PA 19102                    ARDMORE, PA 19003




CCR TRI CITIES III LLC                   CCSF TV                                   CCSO
2823 W LEWIS ST                          P.O. BOX 79517                            ALARM PERMITS
PASCO, WA 99302                          CITY OF INDUSTRY, CA 91716                2223 KAEN RD
                                                                                   OREGON CITY, OR 97045




CD BONNER                                CD II PROPERTIES LLC                      CD X-PRESS INC
10201 S. MAIN STREET                     ATTN: JERRY NEAL                          P.O. BOX 249
HOUSTON, TX 77025                        P.O. BOX 99                               BETHEL, OH 45106
                                         DEMOREST, GA 30535




CD, II PROPERTIES, LLC                   CD, II PROPERTIES, LLC                    CDA ENTERPRISES LLC
1080 HISTORIC HIGHWAY 441                ATTN: JERRY NEAL                          6847 83RD AVE SE
DEMOREST, GA 30535                       P.O. BOX 99                               MERCER ISLAND, WA 98040
                                         DEMOREST, GA 30535




CDA ENTERPRISES LLC                      CDA ENTERPRISES LLC                       CDA ENTERPRISES LLC
ATTN: MICHAEL J. DELAY, CO-MANAGER       C/O BLACK REALTY MANAGEMENT, INC.         C/O BLACK REALTY MGMNT INC
1617 S. ROCKY RIDGE DRIVE                107 SOUTH HOWARD STREET, SUITE 600        107 S HOWARD ST STE 600
SPOKANE, WA 99212                        SPOKANE, WA 99201-3818                    SPOKANE, WA 99201-3818




CDM WITCHDUCK ASSOCIATES, LLC            CDM WITCHDUCK ASSOCIATES, LLC             CDM360
ATTN: DWIGHT MITCHUM                     PO BOX                                    P.O. BOX 17304
P.O. BOX                                 DWIGHT MITCHUM                            SUGAR LAND, TX 77496
VIRGINIA BEACH, VA 23454                 VIRGINIA BEACH, VA 23454




CDW DIRECT INC                           CDW DIRECT, LLC                           CE BOULEVARD PHASE II LLC
300 N MILWAUKEE AVE                      P.O. BOX 75723                            ATTN: RAMZI HASSAN
VERNON HILLS, IL 60061                   CHICAGO, IL 60675-5723                    14400 S JOHN HUMPHREY DR, SUITE 200
                                                                                   ORLAND PARK, IL 60462




CE BOULEVARD PHASE II LLC                CE BOULEVARD PHASE II LLC                 CEA
C/O EDWARDS REALTY COMPANY               C/O EDWARDS REALTY COMPANY                HEMPFIELD TOWNSHIP/ATTN: TIMOTHY
14400 S JOHN HUMPHREY DR, SUITE 200      14400 SOUTH JOHN HUMPHREY DR, SUITE       BROWN
ORLAND PARK, IL 60462                    200                                       1633 ROUTE 51 STE 100
                                         ORLAND PARK, IL 60462                     JEFFERSON HILLS, PA 15025



CEASER HUNT                              CEASOR HORNE                              CEB INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                      1919 NORTH LYNN ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                         ARLINGTON, VA 22209
CEB INC               Case      18-12241-CSS    Doc
                                          CEBALLOS,   26 Filed 10/05/18
                                                    NELSON                          PageCECCHIN
                                                                                         268 ofPLUMBING
                                                                                                1739 & HEATING INC.
3393 COLLECTIONS CENTER DR                4051 DENMAN ST, APT 685                       4N275 CAVALRY DR
CHICAGO, IL 60693                         ELMHURST, NY 11373-1668                       BLOOMINGDALE, IL 60108




CECELIA P KAPITAN                         CECELIA SHANNON                               CECILIA FERRARA
4 PINELLAS CT                             10201 S. MAIN STREET                          10201 S. MAIN STREET
SIMPSONVILLE, SC 29680                    HOUSTON, TX 77025                             HOUSTON, TX 77025




CECILIA GREEN                             CECILIA VALADEZ SALAS                         CECILY SOPRIS
10201 S. MAIN STREET                      18934 LUSITANO DR                             967 NEWTON ST
HOUSTON, TX 77025                         BLOOMINGTON, CA 92316                         DENVER, CO 80204




CEDAR ENTERPRISES LLC                     CEDAR ENTERPRISES LLC                         CEDAR ENTERPRISES, LLC
C/O GEO DEVELOPMENT CORP.                 C/O GEO DEVELOPMENT CORP.                     C/O GEO DEVELOPMENT CORP.
1340 N. GREAT NECK RD, STE 1272-354       1340 N. GREAT NECK ROAD, SUITE 1272-354       1340 N. GREAT NECK RD, STE 1272-354
ATTN: JOHN GEORGHIOU                      ATTN: JOHN GEORGHIOU                          ATTN: JOHN GEORGHIOU
VIRGINIA BEACH, VA 23454                  VIRGINIA BEACH, VA 23454                      VIRGINIA BEACH, VA 23454



CEDAR PARK TOWN CENTER LP                 CEDAR QUARTERMASTER LLC                       CEDAR QUARTERMASTER LLC
2415 W ALABAMA ST STE 205                 C/O CEDAR REALTY TRUST, INC.                  2350 W OREGON AVE
HOUSTON, TX 77098                         44 SOUTH BAYLES AVENUE                        PHILADELPHIA, PA 14145-4122
                                          PORT WASHINGTON, NY 11050




CEDAR QUARTERMASTER, LLC                  CEDAR QUARTERMASTER, LLC                      CEDAR REALTY TRUST
C/O CEDAR REALTY TRUST, INC.              C/O CEDAR REALTY TRUST, INC.                  ATTN: MEREDITH FALES
44 SOUTH BAYLES AVENUE                    44 SOUTH BAYLES AVENUE                        44 S BAYLES AVENUE, SUITE 304
ATTN: GENERAL COUNSEL                     ATTN: VICE PRESIDENT                          PORT WASHINGTON, NY 11050
PORT WASHINGTON, NY 11050                 PORT WASHINGTON, NY 11050



CEDAR REALTY TRUST                        CEDAR TREXLER LLC                             CEDAR TREXLER LLC
ATTN: OLEN CLARK                          2350 W OREGON AVE                             44 S BAYLES AVENUE, SUITE 304
44 S BAYLES AVENUE, SUITE 304             PHILADELPHIA, PA 14145-4122                   PORT WASHINGTON, NY 11050
PORT WASHINGTON, NY 11050




CEDAR-PALMYRA LLC                         CEDAR-PALMYRA LLC                             CEDAR-PALMYRA, LLC
44 S BAYLES AVENUE, SUITE 304             2350 W OREGON AVE                             C/O CEDAR-PALMYRA TRUST
PORT WASHINGTON, NY 11050                 PHILADELPHIA, PA 14145-4122                   44 S BAYLES AVENUE, SUITE 304
                                                                                        PORT WASHINGTON, NY 11050




CEDAR-REVERE, LLC                         CEDAR-REVERE, LLC                             CEDAR-REVERE, LLC
44 S BAYLES AVENUE, SUITE 304             C/O CEDAR REALTY TRUST PARTNERSHIP,           C/O CEDAR REALTY TRUST PARTNERSHIP,
PORT WASHINGTON, NY 11050                 L.P.                                          L.P.
                                          44 SOUTH BAYLES AVENUE, SUITE 304             44 SOUTH BAYLES AVENUE, SUITE 304
                                          ATTN: COO (THE SHOPS AT SUFFOLK               ATTN: GENERAL COUNSEL
                                          DOWNS)                                        PORT WASHINGTON, NY 11050
                                          PORT WASHINGTON, NY 11050

CEDAR-REVERE, LLC                         CEDAR-TREXLER LLC                             CEDAR-TREXLER, LLC
CEDAR SHOPPING CENTERS PARTNERSHIP        C/O CEDAR SHOPPING CENTER INC                 C/O CEDAR REALTY TRUST, INC.
LP                                        44 SOUTH BAYLES AVENUE, SUITE 304             44 SOUTH BAYLES EVE, SUITE 304
44 S BAYLES AVENUE, SUITE 304             PORT WASHINGTON, NY 11050                     PORT WASHINGTON, NY 11050
PORT WASHINGTON, NY 11050
CEDAR-TREXLER, LLC    Case 18-12241-CSS      Doc 26 Filed
                                     CEDRIC CLARK             10/05/18   PageCEDRIC
                                                                              269 of  1739
                                                                                    HALL
C/O CEDAR SHOPPING CENTER INC        10201 S. MAIN STREET                    10201 S. MAIN STREET
44 SOUTH BAYLES AVENUE, SUITE 304    HOUSTON, TX 77025                       HOUSTON, TX 77025
PORT WASHINGTON, NY 11050




CEDRIC PUGH                         CEI ROOFING TEXAS LLC                    CELEBRATE FAIRFAX INC
10201 S. MAIN STREET                2510 COCKRELL AVE                        12000 GOVERNMENT CENTER PKWY
HOUSTON, TX 77025                   DALLAS, TX 75215                         STE 247
                                                                             FAIRFAX, VA 22035




CELEO MORENO                        CELESTE JOHNSON                          CELESTINO MORENO
10201 S. MAIN STREET                10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                        HOUSTON, TX 77025




CELI BRADFORD                       CELLULAR SALES                           CELSO VALDES
10201 S. MAIN STREET                6513 KINGSTON PIKE, STE 106              8075 SW 107TH AVE NO 105
HOUSTON, TX 77025                   KNOXVILLE, TN 37919                      MIAMI, FL 33173




CELWYN COMPANY INC                  CELWYN COMPANY INC                       CELWYN COMPANY, INC
961 ROUTE 52                        ROCKRIDGE FARM                           ATTN: SALVATORE CAPPUZO
CARMEL, NY 10512                    961 ROUTE 52                             961 ROUTE 52
                                    CARMEL, NY 10512                         CARMEL, NY 10512




CELWYN COMPANY, INC                 CELY SANTIAGO                            CEM DOMANIC
ROCKRIDGE FARM                      10201 S. MAIN STREET                     10201 S. MAIN STREET
961 ROUTE 52                        HOUSTON, TX 77025                        HOUSTON, TX 77025
CARMEL, NY 10512




CEMAL ERYILMAZ                      CENCOR REALTY SERVICES                   CENCOR REALTY SERVICES
10201 S. MAIN STREET                3102 MAPLE AVE                           4200 N. LAMAR BLVD, SUITE 200
HOUSTON, TX 77025                   STE 500                                  AUSTIN, TX 78765
                                    DALLAS, TX 75201-1262




CENCOR REALTY SERVICES              CENTCOM VISTA GROVE LP                   CENTCOM/VANTAGE MCKINNEY LLC
P.O. BOX 82565                      2403 S STEMMONS FWY STE 104              2000 MCKINNEY AVE STE 600
GOLETA, CA 93118-2565               LEWISVILLE, TX 75067                     DALLAS, TX 75201




CENTCOM/VANTAGE MCKINNEY LLC        CENTCOM/VANTAGE MCKINNEY, LLC            CENTCOM/VANTAGE MCKINNEY, LLC
2999 TURTLE CREEK BLVD-ATTN ACC     100 CRESCENT COURT, 7TH FLOOR            2000 MCKINNEY AVE STE 600
DALLAS, TX 75219                    DALLAS, TX 75201                         DALLAS, TX 75201




CENTCOM/VANTAGE MCKINNEY, LLC       CENTENNIAL BROADCASTING II LLC           CENTENNIAL SQUARE LLC
2999 TURTLE CREEK BLVD-ATTN ACC     1914 MIMOSA ST                           10877 WILSHIRE BLVD STE 1105
DALLAS, TX 75219                    FREDERICKSBURG, VA 22405                 LOS ANGELES, CA 90024
CENTENNIAL UTILITIES     Case   18-12241-CSS
                                          CENTER Doc 26 Filed 10/05/18
                                                 ASSOCIATES                     PageCENTER
                                                                                     270 ofDEVELOPMENTS
                                                                                             1739       OREG LLC
200 CIVIC HEIGHTS CIRCLE                  1146 FREEPORT ROAD, P.O. BOX 38427        C/O CEDAR HILLS CROSSING
CIRCLE PINES, MN 55014                    PITTSBURGH, PA 15238                      1701 SE COLUMBIA RIVER DR
                                                                                    VANCOUVER, WA 98661




CENTER DEVELOPMENTS OREG. II LLC          CENTER DEVELOPMENTS OREG., LLC            CENTER FOR PERSONAL PROTECTION &
C/O CEDAR HILLS CROSSING                  C/O CEDAR HILLS CROSSING                  SAFETY
1701 SE COLUMBIA RIVER DR                 1701 SE COLUMBIA RIVER DR                 108 N WASHINGTON ST STE 200
VANCOUVER, WA 98661                       VANCOUVER, WA 98661                       SPOKANE, WA 99201




CENTER LINE CONTRACTING CORP              CENTER TOWNSHIP WATER & SANITARY          CENTER TOWNSHIP WATER & SANTRY
11596 THREE BRIDGE BRANCH RD              AUTH                                      224 CENTER GRANGE RD
CORDOVA, MD 21625                         224 CENTER GRANGE ROAD                    ALIQUIPPA, PA 15001
                                          ALIQUIPPA, PA 15001-1498




CENTERCAL LLC                             CENTERCAL PROPERTIES, LLC                 CENTERCO CONCORD LLC
D/B/A/ STATION PARK CENTERCAL LLC         1600 EAST FRANKLIN AVENUE                 ATTN: ANDREW SILBERFEIN
P.O. BOX 410041                           EL SEGUNDO, CA 90245                      222 WEST HILLS ROAD
SALT LAKE CITY, UT 84141-0041                                                       NEW CANAAN, CT 06840




CENTERCO CONCORD LLC                      CENTERCO PROPERTIES LLC                   CENTERCORP RETAIL PROPERTIES INC
ATTN: ANDREW SILBERFEIN                   ATTN: DEBI BLACHARD                       C/O CENTDERDERRY LLC
222 WEST HILLS ROAD                       11628 OLD BALLAS ROAD, SUITE 200          600 LORING AVE
NEW CANAAN, CT 06840                      ST. LOUIS, MO 63141                       SALEM, MA 01970




CENTERCORP RETAIL PROPERTIES, INC         CENTEREACH COMMONS REALTY LLC             CENTEREACH COMMONS REALTY LLC
C/O CENTDERDERRY LLC                      ATTN: VLADIMIR VILLAREAL                  P.O. BOX 368
600 LORING AVE                            150 GREAT NECK ROAD, SUITE 304            EMERSON, NJ 07630
SALEM, MA 01970                           GREAT NECK, NY 11021




CENTERLINE COMMUNICATIONS LLC             CENTERPOINT ENERGY                        CENTERPOINT ENERGY
95 RYAN DR STE 1                          1111 LOUISIANA STREET                     P.O. BOX 4583
RAYNHAM, MA 02767                         HOUSTON, TX 77002                         HOUSTON, TX 77210-4583




CENTERPOINT ENERGY                        CENTERPOINT ENERGY                        CENTERPOINT OWNER LLC
P.O. BOX 4671                             P.O. BOX 4981                             1808 SWIFT DIRVE
HOUSTON, TX 77210-4671                    HOUSTON, TX 77210-4981                    OAK BROOK, IL 60523




CENTERPOINT OWNER LLC                     CENTERPOINT OWNER LLC                     CENTERPOINTE PARTNERS LLC
C/O STONEMAR REALTY MANAGEMENT            C/O STONEMAR REALTY MGMT                  C/O LORMAX STERN DVLPMNT CO
32 UNION SQUARE EAST, SUITE 1100          P.O. BOX 11538                            6755 DALY RD
NEW YORK, NY 10003                        NEWARK, NJ 07101-4538                     WEST BLOOMFIELD, MI 48322




CENTERTON SQUARE LLC                      CENTERTON SQUARE OWNERS LLC               CENTERTON SQUARE OWNERS, LLC
TENANT ID: 400301HO2368                   C/O PRESTIGE PROPERTIES & DEV CO., INC.   C/O PRESTIGE PROPERTIES & DEV CO., INC.
P.O. BOX 809144                           546 FIFTH AVENUE, 15TH FLOOR              546 FIFTH AVENUE, 15TH FLOOR
CHICAGO, IL 60680                         NEW YORK, NY 10036                        NEW YORK, NY 10036
                      Case URGENT
CENTRA CARE FLORIDA HOSPITAL 18-12241-CSS
                                       CENTRADoc    26TRUCKS
                                              ILLINOIS   FiledINC10/05/18   PageCENTRAL
                                                                                 271 ofALARM
                                                                                        1739INC
CARE                                   200 WEST NORTHTOWN RD                    P.O. BOX 5506
2600 WESTHALL LN                       NORMAL, IL 61761                         TUCSON, AZ 85703
BOX 300
MAITLAND, FL 32751



CENTRAL APPRAISAL DISTRICT OF           CENTRAL COLLECTION AGENCY               CENTRAL DELIVERY LLC
TAYLOR COUNTY                           ATTN: DIVISION OF TAXATION              6654 W 152ND ST
P.O. BOX 1800                           205 W SAINT CLAIR AVE                   OVERLAND PARK, KS 66223
1534 S TREADAWAY                        CLEVELAND, OH 44113-1503
ABILENE, TX 79604



CENTRAL FLORIDA EXPRESSWAY              CENTRAL FLORIDA WINDOW CLEANING         CENTRAL GEORGIA EMC
AUTHORITY                               P.O. BOX 238117                         923 S MULBERRY ST
P.O. BOX 585070                         PORT ORANGE, FL 32123                   JACKSON, GA 30233
ORLANDO, FL 32858-5070




CENTRAL GEORGIA EMC                     CENTRAL HOUSTON CIVIC IMPROVEMENT       CENTRAL HOUSTON CIVIC IMPROVEMENT
SEDC                                    INC                                     INC
P.O. BOX 530812                         909 FANNIN SUITE 1650                   FREEDOM OVER TEXAS
ATLANTA, GA 30353-0812                  HOUSTON, TX 77010                       ATTN SUSAN E CHRISTIAN901 BAGBY
                                                                                1ST FLOOR MEZZANINE LEVEL
                                                                                HOUSTON, TX 77002


CENTRAL HUDSON GAS & ELEC CORP          CENTRAL HUDSON GAS & ELEC CORP          CENTRAL ILLINOIS TRUCKS, INC.
284 SOUTH AVE                           284 SOUTH AVE                           D/B/A CITGROUP, INC.
POUGHKEEPSIE, NY 12601                  POUGHKEEPSIE, NY 12601-4839             200 WEST NORTHTOWN ROAD
                                                                                NORMAL, IL 61761




CENTRAL KENTUCKY HAULING                CENTRAL KENTUCKY HAULING                CENTRAL KEY & SAFE CO INC
604 BIZZELL DR STE 250                  604 BIZZELL DRIVE                       305 N MARKET
LEXINGTON, KY 40510                     STE 250                                 WICHITA, KS 67202
                                        LEXINGTON, KY 40510




CENTRAL LINE PROPERTIES, LLC            CENTRAL LINE PROPERTIES. LLC            CENTRAL LINE PROPERTIES. LLC
5220 SUMMERLIN COMMONS BLVD             509 W NORTH ST                          5220 SUMMERLIN COMMONS BLVD
STE 500                                 RALEIGH, NC 27603-1414                  STE 500
FORT MYERS, FL 33907                                                            FORT MYERS, FL 33907




CENTRAL LINE PROPERTIES. LLC            CENTRAL LOAN ASSETS X LP                CENTRAL LOGISTIC SERVICES INC
5220 SUMMERLIN COMMONS BLVD             12222 MERIT DR STE 1710                 1850 CENTENNIAL AVE
STE 500                                 DALLAS, TX 75251                        HASTINGS, NE 68901
STE 500FORT MYERS, FL 33907




CENTRAL MAINE POWER                     CENTRAL MAINE POWER                     CENTRAL MISSOURI NEWSPAPERS INC. E
83 EDISON DRIVE                         P.O. BOX 847810                         D/B/A NEWS TRIBUN
AUGUSTA, ME 04336                       BOSTON, MA 02284-7810                   P.O. BOX 420, 210 MONROE ST
                                                                                JEFFERSON CITY, MO 65102




CENTRAL OREGON BUILDERS ASSOCIATION     CENTRAL PARK RETAIL LLC                 CENTRAL PARK RETAIL LLC
1051 NE 4TH ST                          8405 GREENSBORO DR STE 830              P.O. BOX 757022
BEND, OR 97701                          MCLEAN, VA 22102                        BALTIMORE, MD 21275
CENTRAL PARK RETAIL LLCCase   18-12241-CSS    Doc
                                        CENTRAL PARK26   Filed
                                                     RETAIL, LLC 10/05/18    PageCENTRAL
                                                                                  272 ofPARK
                                                                                         1739RETAIL, LLC
P.O. BOX 757022                          8405 GREENSBORO DR STE 830              C/O FREDERICKSBURG 35, LLC
BALTIMORE, MD 21275-7022                 MCLEAN, VA 22102                        8405 GREENSBORO DRIVE, 8TH FLOOR
                                                                                 MCLEAN, VA 22102-5121




CENTRAL PARK RETAIL, LLC                 CENTRAL PARK RETAIL, LLC                CENTRAL PARK RETAIL, LLC
C/O THE RAPPAPORT COMPANIES              C/O THE RAPPAPORT COMPANIES             P.O. BOX 757022
8405 GREENSBORO DR STE 830               8405 GREENSBORO DRIVE, SUITE 830        BALTIMORE, MD 21275
MCLEAN, VA 22102-5121                    MCLEAN, VA 22102-5121




CENTRAL PARK RETAIL, LLC                 CENTRAL PARKING SYSTEM                  CENTRAL PLAINS LLC
P.O. BOX 757022                          P.O. BOX 790402                         4464 SPRING HILL DRIVE
BALTIMORE, MD 21275-7022                 SAINT LOUIS, MO 63179-0402              SCHNECKSVILLE, PA 18078




CENTRAL PLAINS LLC                       CENTRAL PLAINS LLC                      CENTRAL REALTY HOLDINGS LLC WWG LLC
1860 CATASAUQUA RD                       ATTN: GASPARE DICARLO                   &
BETHLEHEM, PA 18018                      4464 SPRING HILL DRIVE                  MARY ASHMORE, MARY MCGEE AND
                                         SCHNECKSVILLE, PA 18078                 CARROLL CLARK
                                                                                 C/O GOLDSMITH COMPANY
                                                                                 451 HAYWOOD ROAD
                                                                                 GREENVILLE, SC 29607

CENTRAL RIM LLC                          CENTRAL SECURITY SERVICES INC           CENTRAL SECURITY
45 ANSLEY DR                             27630 COMMERCE CENTER DRIVE STE D       410 SW COLUMBIA ST STE 120
NEWNAN, GA 30263                         TEMECULA, CA 92590                      BEND, OR 97702




CENTRAL SOUTHWEST TEXAS                  CENTRAL STATION INC (450)               CENTRAL SUPPLY & METAL
DEVELOPMENT LLC                          BILLING CENTER                          D/B/A BAARDSEN/KRAHN ENTERPRISES INC
2711 W ANDERSON LN STE 200               PO BOX 610220                           1425 E WASHINGTON ST STE A
AUSTIN, TX 78757                         BIRMINGHAM, AL 35261-0220               PHOENIX, AZ 85034




CENTRAL TEXAS REFUSE                     CENTRAL TEXAS REFUSE                    CENTRAL TRANSPORT LLC
P.O. BOX 18685                           PO BOX 18685                            12225 STEPHENS RD
AUSTIN, TX 78760-8685                    AUSTIN, TX 78760-8685                   WARREN, MI 48089




CENTRAL TRANSPORT                        CENTRAL VALLEY SCHOOL DISTRICT          CENTRAL VERMONT SC LLC
P.O. BOX 33299                           ATTN: COLLECTOR                         69 COLLEGE ST
DETROIT, MI 48232                        704 PINE ST                             P.O. BOX 6
                                         ALIQUIPPA, PA 15001                     BURLINGTON, VT 05402




CENTRAL VERMONT SC, LLC                  CENTRAL VERMONT SC, LLC                 CENTRAL WASHINGTON FAIR ASSOCIATION
69 COLLEGE ST                            69 COLLEGE ST                           1301 S FAIR AVE
P.O. BOX 6                               P.O. BOX 6                              YAKIMA, WA 98901
BURLINGTON, VT 05401                     BURLINGTON, VT 05402




CENTRAL WINDOW CLEANING                  CENTRE DAILY TIMES                      CENTRE POINTE AT CITRUS LLC
P.O. BOX 1772                            CENTRE DAILY TIMES-A                    C/O I.C.I REAL ESTATE
JUPITER, FL 33468                        PO BOX 511014                           3641 W. KENNEDY BLVD. STE. A
                                         LIVONIA, MI 48151                       TAMPA, FL 33609
CENTRE POINTE AT CITRUSCase
                         LLC   18-12241-CSS
                                         CENTREDoc 26 Filed
                                               TECHNOLOGIES INC.10/05/18   PageCENTRECORP
                                                                                273 of 1739
                                                                                          MANAGEMENT SERVICES
C/O I.C.I REAL ESTATE                     C/O TEXAS CAPITAL BANK               LLLP
3641 W. KENNEDY BLVD. STE. A              PO BOX 679069                        4400 A NORTH FREEWAY, SUITE 900
TAMPA, FL 33609                           DALLAS, TX 75267-9069                HOUSTON, TX 77022




CENTRECORP MANAGEMENT SERVICES            CENTRECORP MANAGEMENT SERVICES       CENTREVILLE SQUARE PROJECT LP
LLLP                                      LLLP                                 3201 JERMANTOWN RD STE 700
ATTN: KRISSY VENNERMAN                    ATTN: SIMON SMITH, VP LEASING        FAIRFAX, VA 22030-2879
1250 CAROLINE STREET, SUITE 220           2851 JOHN STREET, SUITE 1
ATLANTA, GA 30307                         MARKHAM, ON L3R 5R7
                                          CANADA


CENTREVILLE SQUARE PROJECT LP             CENTREX PROPERTIES INC               CENTREX PROPERTIES
C/O A.J. DWOSKIN & ASSOCIATES, INC.       4040 ED DRIVE STE 201                4040 ED DRIVE, SUITE 201
3201 JERMANTOWN ROAD, SUITE 700           RALEIGH, NC 27612                    RALEIGH, NC 27612
FAIRFAX, VA 22030-2879




CENTRO BRADLEY SPE3 LLC                   CENTRO HERITAGE INNER ST             CENTRO HERITAGE SPE 6 LLC
23676 NETWORK PLACE                       GENERAL POST OFFICE                  LEASE ID 4132043-GENRAL POST OFFICE
21500009                                  P.O. BOX 30905                       P.O. BOX 30907
CHICAGO, IL 60673-1240                    NEW YORK, NY 10087-0905              NEW YORK, NY 10087-0907




CENTRO MEDIA, INC                         CENTRO NP HOLDINGS 1 SPE LLC         CENTRO NP HOLDINGS 10 SPE LLC
222 W. HUBBARD ST,. STE 400               P.O. BOX 533337                      C/O CENTRO PROPERTIES GROUP
CHICAGO, IL 60654                         CHARLOTTE, NC 28290-3337             P.O. BOX 74234
                                                                               CLEVELAND, OH 44194-4234




CENTRO NP HOLDINGS 10 SPE, LLC            CENTRO NP HOLDINGS 10 SPE, LLC       CENTRO NP HOLDINGS 2 SPE LLC
C/O BRIXMOR PROPERTY GROUP                C/O CENTRO PROPERTIES GROUP          P.O. BOX 713443
450 LEXINGTON AVENUE, 13TH FLOOR          P.O. BOX 74234                       CINCINNATI, OH 45271-3443
ATTN: OFFICE OF GENERAL COUNSEL           CLEVELAND, OH 44194-4234
NEW YORK, NY 10017



CENTRO WATT                               CENTRO/IA CLEARWATER MALL LLC        CENTRO/IA CLEARWATER MALL LLC
MANSELL CROSSING                          420 LEXINGTON AVE 7TH FL             C/O CENTRO/IA SOUTHFIELD PLAZA LLC
P.O. BOX 933331                           NEW YORK, NY 10170                   LOCKBOX ACCOUNT-PO BOX 713451
ATLANTA, GA 31193                                                              CINCINNATI, OH 45271-3451




CENTURION ATL LLC 412129273               CENTURION ATL LLC 412129273          CENTURION-ATL, LLC
7937 ENTRADA DE LUZ EAST                  PO BOX 147                           15630 RISING RIVER PL. N.
SAN DIEGO, CA 92127                       PARADISE, CA 95967                   SAN DIEGO, CA 92127




CENTURION-ATL, LLC                        CENTURION-ATL, LLC                   CENTURY CARRIERS INC
7937 ENTRADA DE LUZ EAST                  PO BOX 147                           55 ENGINEERS LANE
SAN DIEGO, CA 92127                       PARADISE, CA 95967                   FARMINGDALE, NY 11735




CENTURY EQUITIES INC                      CENTURY FIRE PROTECTION LLC          CENTURY LINK INC.-91155
1233 MAIN STREET, SUITE 1500              2450 MEADOWBROOK PARKWAY             P.O. BOX 91155
WHEELING, WV 26003                        DULUTH, GA 30096                     SEATTLE, WA 98111-9255
CENTURY LINK            Case   18-12241-CSS    Doc
                                         CENTURY     26 LTD
                                                 ON TIME  Filed 10/05/18       PageCENTURY
                                                                                    274 of PROPERTIES
                                                                                            1739      XVIII LIMITED
P.O. BOX 4300                             18610 NW 87TH AVE STE 204                 PARTNERSHIP
CAROL STREAM, IL 60197-4300               MIAMI, FL 33015                           ATTN: DEBORAH KENNEDY
                                                                                    1233 MAIN STREET, SUITE 1500
                                                                                    WHEELING, WV 26003



CENTURY PROPERTIES XVIII LIMITED          CENTURY PROPERTIES XXIV LP                CENTURYLINK
PARTNERSHIP                               C/O CENTURY EQUITIES INC                  100 CENTURYLINK DRIVE
ATTN: DEBORAH KENNEDY                     1233 MAIN STREET, SUITE 1500              MONROE, LA 71203
1233 MAIN STREET, SUITE 1500              WHEELING, WV 26003
WHEELING, WV 26033



CENTURYLINK                               CENTURYLINK                               CENTURYLINK
BUSINESS SERVICES                         P.O. BOX 1319                             P.O. BOX 2961
P.O. BOX 52187                            CHARLOTTE, NC 28201-1319                  PHOENIX, AZ 85062-2961
PHOENIX, AZ 85072-2187




CENTURYLINK                               CENTURYLINK                               CENTURYLINK
P.O. BOX 4300                             P.O. BOX 91154                            P.O. BOX 91155
CAROL STREAM, IL 60197-4300               SEATTLE, WA 98111-9254                    SEATTLE, WA 98111-9255




CENTURYTEL                                CENTURYTEL                                CENVEO ST LOUIS
100 CENTURLINK DR                         P.O. BOX 4300                             101 WORKMAN COURT
MONROE, LA 71203                          CAROL STREAM, IL 60197-4300               EUREKA, MO 63026




CERIDIAN HCM INC                          CERIDIAN                                  CERMAK PLAZA ASSOCIATES LLC
3311 E OLD SHAKOPEE RD                    P.O. BOX 10989                            C/O CONCORDIA REALTY MANAGEMENT,
MINNEAPOLIS, MN 55425                     NEWARK, NJ 07193                          INC.
                                                                                    1010 JORIE BOULEVARD, SUITE 36
                                                                                    ATTN: MR. MICHAEL J. FLIGHT
                                                                                    OAK BROOK, IL 60523


CERMAK PLAZA ASSOCIATES, LLC              CERNA, CARLOS                             CERRITOS PROMENADE LLC
C/O CONCORDIA REALTY MANAGEMENT,          13815 MYSTIC ST                           ATTN: ERIC STRAUSS
INC.                                      WHITTIER, CA 90605-3048                   P.O. BOX 1299
1010 JORIE BOULEVARD, SUITE 36                                                      LAKE FOREST, CA 92609-1299
ATTN: MR. MICHAEL J. FLIGHT
OAK BROOK, IL 60523


CERRITOS PROMENADE LLC                    CERRITOS PROMENADE, LLC                   CERRITOS PROMENADE, LLC
C/O AMERICA WEST PROPERTIES INC           C/O AMERICA WEST PROPERTIES INC           C/O AMERICA WEST PROPERTIES INC
P.O. BOX 1299                             22541 ASPAN STREET, SUITE H               P.O. BOX 1299
LAKE FOREST, CA 92609-1299                ATTN: NATHALIE BRESSLER                   LAKE FOREST, CA 92609-1299
                                          LAKE FOREST, CA 92630



CERTENT INC                               CERTIFIED CUSTOMIZED STAFFING DEPT 101    CERTIFIED CUSTOMIZED STAFFING
4683 CHABOT DR SUITE 260                  PO BOX 2265                               116 W WASHINGTON
PLEASANTON, CA 94588                      HOUSTON, TX 77252-2265                    WEBSTER, TX 77598




CERTIFIED ELECTRICAL SERVICE              CERTIFIED EMPLOYMENT GROUP                CERTIFIED FIRE PROTECTION INC
10511 WINDSOR LN B 109                    P.O. BOX 970                              P.O. BOX 820791
HOUSTON, TX 77031                         SAN JOSE, CA 95108                        NORTH RICHLAND HILLS, TX 76182
CERTIFIED TRANSLATORS &Case  18-12241-CSS
                        INTERPRETERS          Doc
                                       CERTILMAN   26 ADLER
                                                 BALIN  Filed   10/05/18
                                                             & HYMAN LLP   PageCERVELLI
                                                                                275 of MANAGEMENT
                                                                                        1739      CORP
C/O FERRIN ACCOUNTING                  90 MERRICK AVE                          ARMEN TACMIZYAN
600 MAIN ST                            EAST MEADOW, NY 11554                   1 MARINA PLAZA 304
PLATTE CITY, MO 64079                                                          NORTH BERGER, NJ 07047




CESAR BROOKS                           CESAR MARTINEZ                          CESAR MERCADO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CESAR ORTIZ ALBARRACIN                 CESAR RAMIREZ                           CESAR ROSARIO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CESAR SAUCEDO                          CESAR SOBRINHO                          CESAR TROY MORIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    5319 WHITEMORE ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       FULSHEAR, TX 77441




CESARE - JONES LLC                     CESARE SCOTT                            CESARE-JONES, LLC
2512 OAK VIEW COURT                    10201 S. MAIN STREET                    2512 OAK VIEW COURT
BAKERSFIELD, CA 93311                  HOUSTON, TX 77025                       BAKERSFIELD, CA 93311




CEWAR COMPANY LTD                      CEWAR COMPANY, LTD.                     CF PARTNERS LLC
C/O CARNEGIE MGMTT AND DEVELOPMENT     C/O CARNEGIE MGMT AND DEVELOPMENT       424 WARDS CORNER RD STE 220
CORP                                   CORP                                    LOVELAND, OH 45140
27500 DETROIT ROAD, SUITE 300          27500 DETROIT ROAD, SUITE 300
ATTN: RUSTOM R KHOURI                  ATTN: RUSTOM R KHOURI
WESTLAKE, OH 44145                     WESTLAKE, OH 44145


CF PARTNERS LLC                        CF POTTSGROVE ASSOCIATES LP             CFH REALTY II/SUNSET VALLE, L.P.
C/O TIPTON INTERESTS INC               C/O CEDAR REALTY TRUST INC              C/O KIMCO REALTY CORPORATION
6279 TRI RIDGE BLVD STE 340            44 S BAYLES AVE STE 304                 3333 NEW HYDE PARK ROAD, SUITE 100
LOVELAND, OH 45140                     PORT WASHINGTON, NY 11050               NEW HYDE PARK, NY 11042-0020




CFH REALTY III                         CFH REALTY III/SUNSET VALLEY LP         CFH REALTY III/SUNSET VALLEY LP
P.O. BOX 82565                         2100 MCKINNEY AVE                       P.O. BOX 82565
DEPT CODE: STXH 1378A                  DALLAS, TX 75201                        GOLETA, CA 93118-2565
GOLETA, CA 93118-2565




CFPM, LLC                              CFS OF NORTH TEXAS                      CFT DEVELOPMENTS LLC
595 SOUTH BROADWAY, SUITE 200          409 FAIRWAY BLUFF DR                    ATTN: LEGAL DEPARTMENT
DENVER, CO 80209                       WYLIE, TX 75098                         1683 WALNUT GROVE AVENUE
                                                                               ROSEMEAD, CA 91770




CFT DEVELOPMENTS, LLC                  CFT NV DEVELOPMENTS LLC                 CFT NV DEVELOPMENTS, LLC
ATTN: LEGAL DEPARTMENT                 ATTN: LEGAL DEPARTMENT                  ATTN: LEGAL DEPARTMENT
1683 WALNUT GROVE AVENUE               1683 WALNUT GROVE AVENUE                1683 WALNUT GROVE AVENUE
ROSEMEAD, CA 91770                     ROSEMEAD, CA 91770                      ROSEMEAD, CA 91770
CFVC DELIVERY LLC      Case 18-12241-CSS     Doc 26
                                      CGA DELIVERY LLC Filed 10/05/18       PageCGG
                                                                                 276  of 1739
                                                                                    HOME FASHIONS
2429 W YUMA ST                         6917 EMMONS DR                           179 SAW MILL RIVER RD
PHOENIX, AZ 85009                      OFALLEN, MO 63368                        YONKERS, NY 10701




CGP 2703 W DEYOUNG ST MF LLC           CGP 2703 W DEYOUNG ST MF LLC             CGP BRIMFIELD MF LLC
ATTN: DAVID WESTMORELAND               C/O CAPITAL GROWTH BUCHALTER, INC.       ATTN: LAUREN WEBB
361 SUMMIT BOULEVARD, SUITE 110        361 SUMMIT BOULEVARD, SUITE 110          361 SUMMIT BOULEVARD, SUITE 110
BIRMINGHAM, AL 35243                   ATTN: ROBERT BUCHALTER                   BIRMINGHAM, AL 35243
                                       BIRMINGHAM, AL 35243



CGP DERBY MF LLC                       CGP GULF SHORES MF LLC                   CGP HANOVER MF LLC
ATTN: LAUREN WEBB                      ATTN: LAUREN WEBB                        C/O CAPITAL GROWTH BUCHALTER, INC.
361 SUMMIT BOULEVARD, SUITE 110        361 SUMMIT BOULEVARD, SUITE 110          361 SUMMIT BOULEVARD, SUITE 110
BIRMINGHAM, AL 35243                   BIRMINGHAM, AL 35243                     ATTN: ROBER BUCHALTER
                                                                                BIRMINGHAM, AL 35243



CGP HANOVER MF LLC                     CGP HANOVER MF, LLC                      CGP HANOVER MF, LLC
C/O CAPITAL GROWTH BUCHALTER, INC.     ATTN: RASHMIN VIRANI                     C/O CAPITAL GROWTH BUCHALTER, INC.
ATTN: RASHMIN VIRANI                   361 SUMMIT BOULEVARD, SUITE 110          361 SUMMIT BOULEVARD, SUITE 110
361 SUMMIT BOULEVARD, SUITE 110        BIRMINGHAM, AL 35243                     ATTN: ROBER BUCHALTER
BIRMINGHAM, AL 35243                                                            BIRMINGHAM, AL 35243



CGP JASPER MF LLC                      CGP JASPER MF LLC                        CGP JASPER MF, LLC
C/O CAPITAL GROWTH BUCHALTER, INC.     C/O CAPITAL GROWTH BUCHALTER, INC.       C/O CAPITAL GROWTH BUCHALTER, INC.
ATTN: DAVID WESTMORELAND               ATTN: LAUREN WEBB                        ATTN: DAVID WESTMORELAND
361 SUMMIT BOULEVARD, SUITE 110        361 SUMMIT BOULEVARD, SUITE 110          361 SUMMIT BOULEVARD, SUITE 110
BIRMINGHAM, AL 35243                   BIRMINGHAM, AL 35243                     BIRMINGHAM, AL 35243



CGP JASPER MF, LLC                     CGP LEAGUE CITY MF LTD                   CGP LEAGUE CITY MF LTD
C/O CAPITAL GROWTH BUCHALTER, INC.     C/O CAPITAL GROWTH BUCHALTER, INC.       C/O CAPITAL GROWTH BUCHALTER, INC.
ATTN: LAUREN WEBB                      ATTN: LAUREN WEBB                        ATTN: RASHMIN VIRANI
361 SUMMIT BOULEVARD, SUITE 110        361 SUMMIT BOULEVARD, SUITE 110          361 SUMMIT BOULEVARD, SUITE 110
BIRMINGHAM, AL 35243                   BIRMINGHAM, AL 35243                     BIRMINGHAM, AL 35243



CGP MARION MF LLC                      CGP MAUMELLE MF LLC                      CGP MIRAMAR MF LLC
ATTN: DAVID WESTMORELAND               ATTN: RASHMIN VIRANI                     ATTN: RASHMIN VIRANI
361 SUMMIT BOULEVARD, SUITE 110        361 SUMMIT BOULEVARD, SUITE 110          361 SUMMIT BOULEVARD, SUITE 110
BIRMINGHAM, AL 35243                   BIRMINGHAM, AL 35243                     BIRMINGHAM, AL 35243




CGP SAN ANTONIO MF LLC                 CGP WILLMAR MF, LLC                      CGP WILLMAR MF, LLC
ATTN: RASHMIN VIRANI                   ATTN: LAUREN WEBB                        C/O CAPITAL GROWTH BUCHALTER, INC.
361 SUMMIT BOULEVARD, SUITE 110        361 SUMMIT BOULEVARD, SUITE 110          361 SUMMIT BOULEVARD, SUITE 110
BIRMINGHAM, AL 35243                   BIRMINGHAM, AL 35243                     BIRMINGHAM, AL 35243




CGP WILMAR MF LLC                      CGP WILMAR MF LLC                        CGS&M MAYFIELD HEIGHTS LLC
361 SUMMIT BOULEVARD, SUITE 110        ATTN: LAUREN WEBB                        900 CUMMINGS CNTR STE 226-U
BIRMINGHAM, AL 35243                   361 SUMMIT BOULEVARD, SUITE 110          BEVERLY, MA 01915
                                       BIRMINGHAM, AL 35243




CGS&M MAYFIELD HEIGHTS LLC             CGS3 LAW FIRM                            CH REALTY FUND I
ATTN: CLIFFORD RUCKER                  12750 HIGH BLUFF DRIVE, SUITE 250        VIRGINIA BEACH LANDSTOWN LLC
900 CUMMINGS CENTER, SUITE 309-V       ATTN: FERNANDO LANDA, ESQ.               3819 MAPLE AVENUE
BEVERLY, MA 01915                      SAN DIEGO, CA 92130                      DALLAS, TX 75219
CH REALTY FUND I/VIRGINIACase
                          BEACH18-12241-CSS      Doc
                                         CH REALTY      26 Filed
                                                    III WEXFORD LP   10/05/18    PageCH277 of 1739
                                                                                        REALTY III/ LONG GATE LLC
LANDSTOWN LLC                            P.O. BOX 82565                               DEPT CODE: SMDE1376A
3819 MAPLE AVENUE                        GOLETA, CA 93118-2565                        P.O. BOX 6203
DALLAS, TX 75219                                                                      HICKSVILLE, NY 11801




CH REALTY III/LONG GATE LLC               CH REALTY III/LONG GATE LLC                 CH REALTY III/LONG GATE, LLC
C/O KIMCO REALTY CORPORATION              DEPT CODE: SMDE1376A                        C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, SUITE 100        P.O. BOX 6203                               3333 NEW HYDE PARK ROAD, SUITE 100
ATTN: LEGAL DEPARTMENT                    HICKSVILLE, NY 11801                        ATTN: LEGAL DEPARTMENT
NEW HYDE PARK, NY 11042                                                               NEW HYDE PARK, NY 11042



CH REALTY III/WEXFORD, LP                 CH REALTY VI/R AUSTIN BOARDWALK LP          CH REALTY VI/R HOUSTON WOOD RIDGE LP
C/O KIMCO REALTY CORPORATION              C/O THE RETAIL CONNECTION                   ATTN: ASSET MANAGER -- WOOD RIDGE
3333 NEW HYDE PARK ROAD, SUITE 100        221 W 6TH STREET, SUITE 1030                PLAZA
NEW HYDE PARK, NY 11042                   AUSTIN, TX 78701                            3819 MAPLE AVENUE
                                                                                      DALLAS, TX 75219



CH REALTY VI/R HOUSTON WOOD RIDGE LP      CH REALTY VI/R HOUSTON WOOD RIDGE LP        CH REALTY VI/R HOUSTON WOOD RIDGE LP
C/O WEISS REALTY MANAGEMENT LLC           D/B/A WOOD RIDGE PLAZA SHOPPING             MSC 700
730 N. POST OAK ROAD, SUITE 350           CENTER                                      P.O. BOX 4328
ATTN: SID WEISS                           3819 MAPLE AVE                              HOUSTON, TX 77210
HOUSTON, TX 77024                         DALLAS, TX 75219



CH REALTY VI/R PITTSBURGH COLLIER LP      CH REALTY VIR AUSTIN BOARDWALK LP           CH REALTY VIR AUSTIN BOARDWALK LP
P.O. BOX 849728                           3819 MAPLE AVE                              P.O. BOX 674145
DALLAS, TX 75284-9728                     DALLAS, TX 75172                            DALLAS, TX 75267




CH RETAIL FUND I PLANO LUNA LP            CH RETAIL FUND I                            CH RETAIL FUND I
P.O. BOX 671632                           3819 MAPLE AVE                              AUSTIN BEE CAVES WEST LP
DALLAS, TX 75267-1632                     DALLAS, TX 75219                            P.O. BOX 671542
                                                                                      DALLAS, TX 75267-1542




CH RETAIL FUND I                          CH RETAIL FUND I                            CH RETAIL FUND I
C/O BROADWAY SQUARE                       CHICAGO BROADWAY SQUARE LLC                 CHICAGO BROADWAY SQUARE LLC
P.O. BOX 674407                           ATTN: KATHRYN SUGRUE                        C/O BROADWAY SQUARE
DALLAS, TX 75267                          3819 MAPLE AVENUE                           P.O. BOX 674407
                                          DALLAS, TX 75219                            DALLAS, TX 75267-4407



CH RETAIL FUND I                          CH RETAIL FUND I                            CH RETAIL FUND I
CHICAGO LAKE BLUFF LOT IV LLC             CHICAGO LAKE BLUFF LOT IV LLC               CHICAGO REGAL SHOWPLACE LLC
C/O SHINER MANAGEMENT GROUP, INC.         P.O. BOX 674409                             P.O. BOX 674404
3201 OLD GLENVIEW ROAD, SUITE 301         DALLAS, TX 75267-4409                       DALLAS, TX 75267-4404
WILMETTE, IL 60091



CH RETAIL FUND I                          CH RETAIL FUND I                            CH RETAIL FUND I
CHICAGO TOUHY MARKETPLACE, LLC            CHICAGO TOUHY MARKETPLACE, LLC              DALLAS MCKINNEY AVENUE LP
C/O MID-AMERICA ASSET MANAGEMENT,         P.O. BOX 851565                             ATTN: ASSET MANAGER
INC.                                      RICHARDSON, TX 75085                        3819 MAPLE AVENUE
ONE PARKVIEW PLAZA, 9TH FLOOR                                                         DALLAS, TX 75201
OAKBROOK TERRACE, IL 60181


CH RETAIL FUND I                          CH RETAIL FUND I                            CH RETAIL FUND I
DALLAS MCKINNEY AVENUE LP                 HOUSTON GRAY MONTROSE LP                    KANSAS CITY DEER CREEK WOODS LLC
P.O. BOX 671203                           P.O. BOX 671467                             INWOOD NATIONAL BANK
DALLAS, TX 75267-1203                     DALLAS, TX 75267-1467                       P.O. BOX 852706
                                                                                      RICHARDSON, TX 75085
CH RETAIL FUND I      Case        18-12241-CSS     Doc
                                            CH RETAIL    26I
                                                      FUND     Filed 10/05/18        PageCH278 of 1739
                                                                                            RETAIL FUND I
MINNEAPOLIS MAPLE GROVE LLC                  MINNEAPOLIS MAPLE GROVE LLC                  ST PETERSBURG ROYAL PALMS LLC
3819 MAPLE AVENUE                            P.O. BOX 674415                              ATTN: ASSET MANAGER
DALLAS, TX 75219                             DALLAS, TX 75267-4415                        3819 MAPLE AVENUE
                                                                                          DALLAS, TX 75219



CH RETAIL FUND I                             CH RETAIL FUND I                             CH RETAIL FUND I
ST PETERSBURG ROYAL PALMS LLC                VIRGINIA BEACH LANDSTOWN                     VIRGINIA BEACH LANDSTOWN
INWOOD NATIONAL BANK                         3819 MAPLE AVE                               INWOOD NATIONAL BANK 3282218
P.O. BOX 852764                              DALLAS, TX 75219                             P.O. BOX 852853
RICHARDSON, TX 75085                                                                      RICHARDSON, TX 75085



CH RETAIL FUND I/AUSTIN MUELLER LP           CH RETAIL FUND I/AUSTIN MUELLER, LP          CH RETAIL FUND I/AUSTIN MUELLER, LP
P.O. BOX 671519                              ATTN: ASSET MANAGER                          P.O. BOX 671519
DALLAS, TX 75267-1519                        3819 MAPLE AVENUE                            DALLAS, TX 75267-1519
                                             DALLAS, TX 75219




CH RETAIL FUND I/CHARLOTTE TERRACES          CH RETAIL FUND I/CHARLOTTE TERRACES          CH RETAIL FUND I/CHARLOTTE TERRACES
LLC                                          LLC                                          LLC
C/O CH RETAIL ACQUISITIONS, LLC              C/O NEWMARK GRUBB KNIGHT FRANK MGMT          INWOOD NATIONAL BANK
3819 MAPLE AVENUE                            2907 PROVIDENCE ROAD, SUITE 302              P.O. BOX 852994
ATTN: ASSET MANAGER - CHARLOTTE              ATTN: PROPERTY MANAGER                       RICHARDSON, TX 75085
TERRACES                                     CHARLOTTE, NC 28211
DALLAS, TX 75219

CH RETAIL FUND I/CHICAGO BROADWAY            CH RETAIL FUND I/CHICAGO LAKE BLUFF          CH RETAIL FUND I/CHICAGO TOUHY
SQUARE, LLC                                  LOT IV, LLC                                  MARKETPLACE, LLC
3819 MAPLE AVENUE                            C/O SHINER MANAGEMENT GROUP, INC.            C/O MID-AMERICA ASSET MGMT, INC.
ATTN: KATHRYN SUGRUE                         3201 OLD GLENVIEW ROAD, SUITE 301            ONE PARKVIEW PLAZA, 9TH FLOOR
DALLAS, TX 75219                             WILMETTE, IL 60091                           OAKBROOK TERRACE, IL 60181



CH RETAIL FUND I/DALLAS MCKINNEY             CH RETAIL FUND I/HOUSTON UPTOWN              CH RETAIL FUND I/KANSAS CITY DEER
AVENUE, L.P.                                 CROSSING                                     CREEK
3819 MAPLE AVENUE                            3819 MAPLE AVE                               3819 MAPLE AVE
ATTN: ASSET MGR-DALLAS MCKINNEY AVE          DALLAS, TX 75219                             DALLAS, TX 75219
DALLAS, TX 75201



CH RETAIL FUND I/MADISON GAMMON RD           CH RETAIL FUND I/MADISON GAMMON ROAD         CH RETAIL FUND I/MINNEAPOLIS MAPLE
LLC                                          LLC                                          GROVE, LLC
ONE PARKVIEW PLAZA 9TH FL                    MID-AMERICA ASSET MGMT INC                   3819 MAPLE AVENUE
OAKBROOK TERRACE, IL 60181                   ONE PARKVIEW PLAZA 9TH FL                    DALLAS, TX 75219
                                             OAKBROOK TERRACE, IL 60181



CH RETAIL FUND I/PLANO LUNA, LP              CH RETAIL FUND I/ST. PETERSBURG ROYAL        CH RETAIL FUND II
C/O DUWEST REALTY                            PALMS, LLC                                   DURHAM SHILOH CROSSINGS LLC
4403 N CENTRAL EXPRESSWAY                    3819 MAPLE AVENUE                            3819 MAPLE AVE
DALLAS, TX 75205                             ATTN: ASSET MANAGER                          DALLAS, TX 75219
                                             DALLAS, TX 75219



CH RETAIL FUND II                            CH RETAIL FUND II                            CH RETAIL FUND II
DURHAM SHILOH CROSSINGS LLC                  HOUSTON RAYFORD CROSSING LP                  HOUSTON RAYFORD CROSSING, LP
CH RETAIL FUND II/NYC CHRISTIE PLACE LLC     3819 MAPLE AVE                               C/O THE WEITZMAN GROUP
P.O. BOX 840739                              DALLAS, TX 75219                             P.O. BOX 840739
DALLAS, TX 75284-0739                                                                     DALLAS, TX 75284



CH RETAIL FUND II                            CH RETAIL FUND II                            CH RETAIL FUND II
SALT LAKE CITY PLAZA LLC                     SALT LAKE CITY PLAZA LLC                     SALT LAKE LEGACY PLAZA LLC
3819 MAPLE AVE                               P.O. BOX 840739                              3819 MAPLE AVE
DALLAS, TX 75219                             DALLAS, TX 75284                             DALLAS, TX 75219
                        Case
CH RETAIL FUND II/HOUSTON     18-12241-CSS
                          RAYFORD              Doc
                                        CH RETAIL    26II/SALT
                                                  FUND      Filed 10/05/18
                                                               LAKE CITY       PageCH279 of 1739
                                                                                      RETAIL I / ATLANTA ATWATER LLC
CROSSING, LP                            PLAZA LLC                                   3819 MAPLE AVE
C/O THE WEITZMAN GROUP                  3819 MAPLE AVENUE                           DALLAS, TX 75219
P.O. BOX 840739                         DALLAS, TX 75219
DALLAS, TX 75284



CH RETAIL I / ATLANTA ATWATER LLC       CH RETAIL I/HOUSTON GRAY MONTROSE LP        CH RETAIL/ATLANTA ATWATER LLC
P.O. BOX 852703                         P.O. BOX 671467                             3819 MAPLE AVENUE
RICHARDSON, TX 75085                    DALLAS, TX 75267-1467                       ATTN: ASSET MANAGER
                                                                                    DALLAS, TX 75219




CH RETAIL/ATLANTA ATWATER LLC           CHAANINE VENTURES LLC                       CHAANINE VENTURES LLC
ATTN: ASSET MANAGER                     2660 NC HIGHWAY 101                         ATTN: KRISTIE CHAANINE
3819 MAPLE AVENUE                       ATTN: KRISTIE CHAANINE                      2660 NC HIGHWAY 101
DALLAS, TX 75219                        BEAUFORT, NC 28516                          BEAUFORT, NC 28516




CHAANINE VENTURES LLC                   CHABLAIS CARTER                             CHAD BRANDON
ATTN: KRISTIE CHAANINE                  3002 NW MILL PLACE                          2504 S E 3RD
P.O. BOX 598                            BLUE SPRINGS, MO 64015                      HOXIE, AR 72433
MOREHEAD CITY, NC 28557




CHAD BUKY                               CHAD CUNDIFF                                CHAD CUTCHALL
7349 BRAZOS AVE                         10201 S. MAIN STREET                        10201 S. MAIN STREET
FORT WORTH, TX 76116                    HOUSTON, TX 77025                           HOUSTON, TX 77025




CHAD DOWNS                              CHAD EASTERLY                               CHAD GILLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




CHAD HALEY                              CHAD HANSON                                 CHAD HEIM
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




CHAD HENDERSON                          CHAD HUDSON                                 CHAD JOHNSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




CHAD JOHNSON                            CHAD JONES                                  CHAD LACHANCE
10201 S. MAIN STREET                    10201 S. MAIN STREET                        346B FEGAN DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                           SAN CLEMENTE, CA 92672




CHAD MIDSTOKKE                          CHAD MILLER                                 CHAD MUNSHOWER
3143 HALLGREEN DR                       10201 S. MAIN STREET                        10201 S. MAIN STREET
CLARKSTON, WA 99403                     HOUSTON, TX 77025                           HOUSTON, TX 77025
CHAD OLSEN             Case 18-12241-CSS    Doc 26
                                      CHAD REINKEN      Filed
                                                   DBA CGA    10/05/18
                                                            DELIVERY LLC   PageCHAD
                                                                                280SILVA
                                                                                    of 1739
10201 S. MAIN STREET                    6917 EMMONS DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                       OFALLEN, MO 63368                      HOUSTON, TX 77025




CHAD SLATER                             CHAD SOYKA                             CHAD UDENBERG
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




CHAD WALSH                              CHAD WHALEY                            CHADD LARSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




CHADDRICK DAVIS                         CHAD-ROY WAGSTAFFE                     CHADWICK JOHNSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




CHADWICK ROBERTSON                      CHAEUN INTRIAGO                        CHAIA LEWIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




CHAIKEN LEGAL GROUP PC                  CHAIN STORE GUIDES LLC                 CHAITANYA KANUMUKULA
5001 LBJ FREEWAY STE 925                P.O. BOX 741318                        10201 S. MAIN STREET
DALLAS, TX 75244                        ATLANTA, GA 30374-1318                 HOUSTON, TX 77025




CHAMBERS COUNTY MUD 1                   CHAMBERS COUNTY                        CHAMBERS
103 KERRY RD.                           ATTN: TAX ASSESSOR-COLLECTOR           ATTN: PROPERTY TAX DEPT.
HIGHLANDS, TX 77562-3801                PO BOX 519                             PO BOX 519
                                        ANAHUAC, TX 77514-0519                 ANAHUAC, TX 77514-0519




CHAMBERSBURG MZL LLC                    CHAMBLEE RETAIL INVESTMENTS LLC        CHAMBON ELECTRIC INC
C/O WINSLOW PROPERTY MGMT LLC           P.O. BOX 535626                        110 SUMMIT AVE
80 HAYDEN AVE                           ATLANTA, GA 30353-5626                 CHATHAM, NJ 07928
LEXINGTON, MA 02421




CHAMP LEWIS JR                          CHAMP LEWIS                            CHAMPION AWARDS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   12175 FOLSON BLVD STE D
HOUSTON, TX 77025                       HOUSTON, TX 77025                      RANCHO CORDOVA, CA 95742




CHAMPION CLEANING SERVICE               CHAMPION ENERGY LLC                    CHAMPION ENERGY LLC
5174 MCGINNIS FERRY RD. 165             1500 RANKIN RD, STE 200                4723 SOLUTIONS CENTER
ALPHARETTA, GA 30005                    HOUSTON, TX 77073                      CHICAGO, IL 60677-4007
                       Case
CHAMPION ENERGY SERVICES LLC18-12241-CSS     Doc
                                      CHAMPION     26 SERVICES
                                                ENERGY   Filed 10/05/18
                                                                 LLC        PageCHAMPION
                                                                                 281 of 1739
                                                                                         ENERGY SERVICES LLC
1500 RANKIN RD STE 200                1500 RANKIN RD, STE 200                   774723
HOUSTON, TX 77073                     HOUSTON, TX 77073                         4723 SOLUTIONS CENTER
                                                                                CHICAGO, IL 60677-4007




CHAMPION ENERGY SERVICES LLC           CHAMPION ENERGY SERVICES, LLC            CHAMPION GLENDORA LLC
P.O. BOX 4190                          ATTN: DANIEL BOOTH, MANAGING COUNSEL     11620 WILSHIRE BLVD 1150
HOUSTON, TX 77210-4190                 1500 RANKIN ROAD, SUITE 200              LOS ANGELES, CA 90025
                                       HOUSTON, TX 77073




CHAMPION GLENDORA LLC                  CHAMPION LOGISTICS GROUP TRANS DIV       CHAMPION UTILITY BILLING SERVICES
C/O JONES LANG LASALLE                 200 CHAMPION WAY                         5929 SE FEDERAL HWY PMB 361
655 REDWOOD HWY STE 177                NORTHLAKE, IL 60164                      STUART, FL 34997-7871
MILL VALLEY, CA 94941




CHAMPION UTILITY BILLING SVCS          CHAMPION UTILITY BILLING SVCS            CHAMPION WASTE SERVICES LLC.
5671 SE CROOKED OAK AVE                5929 SE FEDERAL HWY PMB 361              2400 VINSON ST
HOBE SOUND, FL 33455                   STUART, FL 34997-7871                    DALLAS, TX 75212




CHAMPION WASTE SERVICES LLC.           CHAMPIONS MUD                            CHAN SAECHAO
P.O. BOX 565808                        11111 KATY FWY 725                       10201 S. MAIN STREET
DALLAS, TX 75247                       HOUSTON, TX 77079-2197                   HOUSTON, TX 77025




CHANCE HOUSTON                         CHANCE MCCROSKEY                         CHANCE SURATT
10201 S. MAIN STREET                   10201 S. MAIN STREET                     4109 AUDRAS WAY E 1223
HOUSTON, TX 77025                      HOUSTON, TX 77025                        FORT WORTH, TX 76116




CHANDA WALKER                          CHANDEN JOHNSON                          CHANDLER BARGER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     16231 ALPINE PLACE
HOUSTON, TX 77025                      HOUSTON, TX 77025                        LA MIRADA, CA 90638




CHANDLER FESTIVAL SPE LLC              CHANDLER FESTIVAL SPE, LLC               CHANDLER FESTIVAL SPE, LLC
P.O. BOX 96004                         C/O RED DEVELOPMENT, LLC                 P.O. BOX 96004
LAS VEGAS, NV 89193-6004               ONE EAST WASHINGTON STREET, SUITE 300    LAS VEGAS, NV 89193-6004
                                       PHOENIX, AZ 85004




CHANDLER IH 35 RETAIL LTD              CHANDLER IH 35 RETAIL LTD                CHANDLER PAULES
10001 REUNION PLACE STE 230            801 CONGRESS AVE STE 300                 10201 S. MAIN STREET
SAN ANTONIO, TX 78216                  AUSTIN, TX 78701                         HOUSTON, TX 77025




CHANDLER REESE                         CHANDLER SIGNS LP LLP                    CHANDLER VILLAGE CENTER
10201 S. MAIN STREET                   14201 SOVEREIGN RD STE 101               C/O RED DEVELOPMENT LLC
HOUSTON, TX 77025                      FORT WORTH, TX 76155                     ONE EAST WASHINGTON ST, STE 300
                                                                                PHOENIX, AZ 85004
CHANDLER VILLAGE CENTERCase   18-12241-CSS    Doc
                                        CHANDLER    26 CENTER,
                                                 VILLAGE Filed 10/05/18
                                                                LLC             PageCHANDLER
                                                                                     282 of 1739
                                                                                             VILLAGE CENTER, LLC
P.O. BOX 743728                          C/O AMERICAN REALTY CAPITAL                C/O RED DEVELOPMENT, LLC
ATLANTA, GA 30374-3728                   PROPERTIES, INC.                           LIGHTON TOWER
                                         2325 EAST CAMELBACK ROAD, SUITE 1100       7500 COLLEGE BOULEVARD, SUITE 750
                                         PHOENIX, AZ 85016                          OVERLAND PARK, KS 66210



CHANDRA LIVESEY                          CHANDRA WILLIAMS                           CHANDRESH SHAH
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




CHANEL MACCARONI                         CHANEL MORALEZ                             CHANEL THRASH
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




CHANELL SINKFIELD                        CHANELL SINKFIELD                          CHANELLE ROUSSEAU
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




CHANG RUTHENBERG & LONG                  CHANH NGUYEN                               CHANNELLE GASKINS
620 COOLIDGE DR STE 100                  10201 S. MAIN STREET                       10201 S. MAIN STREET
FOLSOM, CA 95630                         HOUSTON, TX 77025                          HOUSTON, TX 77025




CHANNING WILSON                          CHANO HERNANDEZ                            CHANSON TONGPALAN MOKE
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




CHANTAL CAPPUCCIO                        CHANTAL WHITE                              CHANTEL GAFFNEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                       146 BEACH 59TH ST. APT. 602
HOUSTON, TX 77025                        HOUSTON, TX 77025                          ARVERNE, NY 11692




CHANTEL GAFFNEY                          CHANTELLE FRENCH                           CHAPARRAL CITY WATER COMPANY
C/O LAW OFFICE OF GEORGE A.              3924 N WICCA WAY                           12021 PANORAMA DR
CONSTANTINE P.C.                         CASA GRANDE, AZ 85122                      FOUNTAIN HILLS, AZ 85268
ATTN: GEORGE CONSTANTINE
33-43 VERNON BLVD.
LONG ISLAND CITY, NY 11106


CHAPEL SQUARE BUILDING B LLC             CHAPEL SQUARE BUILDING B LLC               CHAPEL SQUARE BUILDING B, LLC
C/O HOFFMAN COMMERICAL REAL ESTATE       P.O. BOX 714260                            C/O HOFFMAN COMMERICAL REAL ESTATE
8000 MARYLAND AVENUE, SUITE 240          CINCINNATI, OH 45271-4260                  8000 MARYLAND AVENUE, SUITE 240
ST. LOUIS, MO 63105                                                                 ST. LOUIS, MO 63105




CHAPTER 13 TRUSTEE DBA M ELAINA          CHAPTER 13 TRUSTEE                         CHARILIS ABREU
MASSEY                                   P.O. BOX 730                               10201 S. MAIN STREET
P.O. BOX 1717                            MEMPHIS, TN 38101-0730                     HOUSTON, TX 77025
BRUNSWICK, GA 31521-1717
CHARISSE PIMPER        Case     18-12241-CSS
                                          CHARITYDoc
                                                 COOK26       Filed 10/05/18     PageCHARITY
                                                                                      283 ofFUNDRAISING
                                                                                             1739
940 SKIPTON DR.                           850 N QUINN AVE                            96 LINWOOD PLAZA 226
NORTH SALT LAKE, UT 84054                 GILBERT, AZ 85234                          FORT LEE, NJ 07024




CHARLA CHENAULT                           CHARLEASE JACOBS                           CHARLENE FLOWERS
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025




CHARLENE KRIENER                          CHARLENE M GIRTEN TRUSTEE                  CHARLENNE RODRIGUEZ-SANTIAGO
10201 S. MAIN STREET                      10054 SKYBRIDGE DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                         CINCINNATI, OH 45252                       HOUSTON, TX 77025




CHARLES A WARDLAW                         CHARLES ABSHIRE                            CHARLES ADCOCK
8414 PROVIDENT ST                         10201 S. MAIN STREET                       10201 S. MAIN STREET
PHILADELPHIA, PA 19150                    HOUSTON, TX 77025                          HOUSTON, TX 77025




CHARLES AND ALAN SILKOFF                  CHARLES AVERY                              CHARLES AWAGAH
93 DEEPWOOD RD                            2504 VENTURE DR                            10201 S. MAIN STREET
EASTON, CT 06612                          GAINESVILLE, GA 30506                      HOUSTON, TX 77025




CHARLES B LEMPESIS                        CHARLES BARBER                             CHARLES BARTSCH
D/B/A CHARLES B LEMPESIS CHTD             10201 S. MAIN STREET                       10201 S. MAIN STREET
1950 BELLERIVE LN 110                     HOUSTON, TX 77025                          HOUSTON, TX 77025
COEUR DALENE, ID 83814




CHARLES BENDER JR                         CHARLES BENNET                             CHARLES BIRD
15311 MIMEBARK WAY                        422 STE 80 AIRPORT RD                      10201 S. MAIN STREET
AUSTIN, TX 78724                          ARDEN, NC 28704                            HOUSTON, TX 77025




CHARLES BLEDSOE                           CHARLES BRAHIER                            CHARLES BRECHEEN
10201 S. MAIN STREET                      D/B/A EMERALD COAST EXPRESS DELIVERY       10201 S. MAIN STREET
HOUSTON, TX 77025                         OF PENSAC                                  HOUSTON, TX 77025
                                          6468 BERRYHILL RD
                                          MILTON, FL 32570-6818



CHARLES BUTLER                            CHARLES BUTLER                             CHARLES C PLUMMER
10201 S. MAIN STREET                      10201 S. MAIN STREET                       2554 LANCASTER RD
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HAYWARD, CA 94542




CHARLES CARR                              CHARLES CARROLL                            CHARLES CARROLL
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025
CHARLES CARTER         Case 18-12241-CSS    Doc
                                      CHARLES    26 Filed 10/05/18
                                              CHANDLER               PageCHARLES
                                                                          284 ofCHITAVA
                                                                                 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES CLIFTON                       CHARLES CLYMORE                    CHARLES COCITA
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES COOLIDGE                      CHARLES COTTON                     CHARLES COUNTY GOVERNMENT
10201 S. MAIN STREET                  10201 S. MAIN STREET               P.O. BOX 1630
HOUSTON, TX 77025                     HOUSTON, TX 77025                  LA PLATA, MD 20646-1630




CHARLES COUNTY GOVERNMENT             CHARLES COUNTY MD                  CHARLES COUNTY SUBSIDIARY LLC
WATER AND SEWER OPERATIONS AND        CHARLES COUNTY TREASURER           CHARLES COUNTY PLAZA
MAINTENANCE                           P.O. BOX 2607                      P.O. BOX 100632
5310 HAWTHORNE RD                     LA PLATA, MD 20646                 ATLANTA, GA 30384
LA PLATA, MD 20646



CHARLES COUNTY SUBSIDIARY LLC         CHARLES COWARD                     CHARLES CRAIG
CHARLES COUNTY PLAZA                  18407 NEW LONDON AVE               10201 S. MAIN STREET
P.O. BOX 100632                       LAND O LAKES, FL 34338             HOUSTON, TX 77025
ATLANTA, GA 30384-0632




CHARLES CUMMINGS                      CHARLES CUTFORTH                   CHARLES D MITCHUM JR
10201 S. MAIN STREET                  10201 S. MAIN STREET               CDM WITCHDUCK ASSOCIATES LLC
HOUSTON, TX 77025                     HOUSTON, TX 77025                  999 WATERSIDE DR STE 1400
                                                                         NORFOLK, VA 23510




CHARLES DAUSEY                        CHARLES DAVID                      CHARLES DILLON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES DORSEY                        CHARLES DRUMMOND                   CHARLES E HUBER JR.
10201 S. MAIN STREET                  10201 S. MAIN STREET               12860 CASTLETON COURT
HOUSTON, TX 77025                     HOUSTON, TX 77025                  CREVE COEUR, MO 63141




CHARLES EBERHARDT                     CHARLES EWING                      CHARLES FLEMING
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES FOSTER                        CHARLES G JOHNSON JR               CHARLES GALATIS
10201 S. MAIN STREET                  4102 JEFFERSON CIRCLE SOUTH        10201 S. MAIN STREET
HOUSTON, TX 77025                     CHAMBLEE, GA 30341                 HOUSTON, TX 77025
CHARLES GANSKY           Case 18-12241-CSS    Doc
                                        CHARLES    26 Filed 10/05/18
                                                GOODMAN                PageCHARLES
                                                                            285 ofGRIER
                                                                                   1739
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES HAMMER                          CHARLES HARRELL                    CHARLES HARRISON
10201 S. MAIN STREET                    4501 WESTLAKE DR 10                10201 S. MAIN STREET
HOUSTON, TX 77025                       AUSTIN, TX 78746                   HOUSTON, TX 77025




CHARLES HERMAN                          CHARLES HIDDEMEN                   CHARLES IHEDIWA
32588 HAVER HILL DRIVE                  10201 S. MAIN STREET               10201 S. MAIN STREET
SOLON, OH 44139                         HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES J FORET & BRINEY FORET CORRY    CHARLES J. BICKIMER TRUSTEE        CHARLES JACKSON
413 TRAVIS ST STE 200                   C/O BRUCE STRUMPF, INC.            10201 S. MAIN STREET
PO DRAWER 51367                         2120 DREW STREET                   HOUSTON, TX 77025
LAFAYETTE, LA 70505                     CLEARWATER, FL 33765




CHARLES JOHNSON                         CHARLES JONES                      CHARLES KAST
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES KENNEDY                         CHARLES KEYES                      CHARLES KNIPPER
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES LALLO                           CHARLES LAM                        CHARLES LENDVOYI
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES LOMELI TAX COLLECTOR            CHARLES MACEY                      CHARLES MCCAW
ATTN: SOLANO COUNTY TREASURY            10201 S. MAIN STREET               10201 S. MAIN STREET
PO BOX 7407                             HOUSTON, TX 77025                  HOUSTON, TX 77025
SAN FRANCISCO, CA 94120-7407




CHARLES MCKINNON                        CHARLES METELLUS                   CHARLES MILLER
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES MILLER                          CHARLES MOORE                      CHARLES MORE
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025
CHARLES MOTT           Case 18-12241-CSS    Doc
                                      CHARLES     26 DBA
                                              N JENKINS Filed 10/05/18 PageCHARLES
                                                            CHRONOGISTIX    286 ofOBERHOLTZER
                                                                                   1739
10201 S. MAIN STREET                   348 UNION ACADEMY RD                10201 S. MAIN STREET
HOUSTON, TX 77025                      SPRINGFIELD, SC 29146               HOUSTON, TX 77025




CHARLES PEDEN                          CHARLES PELOUZE                     CHARLES PLOPPER
10201 S. MAIN STREET                   10201 S. MAIN STREET                2716 NE 30 PL., 4
HOUSTON, TX 77025                      HOUSTON, TX 77025                   FORT LAUDERDALE, FL 33306




CHARLES POOL REAL ESTATE               CHARLES POOL REAL ESTATE, INC.      CHARLES PRICE
ATTN: ED POOL                          ATTN: ED POOL                       10201 S. MAIN STREET
3505 NORTH ST                          3505 NORTH ST                       HOUSTON, TX 77025
NACODOCHES, TX 75965                   NACOGDOCHES, TX 75965




CHARLES PRUITT                         CHARLES QUINNETTE                   CHARLES R PLOPPER
10201 S. MAIN STREET                   10201 S. MAIN STREET                2716 NE 30TH PLACE APT 4
HOUSTON, TX 77025                      HOUSTON, TX 77025                   FORT LAUDERDALE, FL 33306




CHARLES R. EITEL                       CHARLES RAY DRIGGERS                CHARLES RIVER REALTY GROUP
2513 SPICEBUSH LANE                    1014 AMESBURY DR                    1461 VFW PARKWAY
NAPLES, FL 34105                       MURPHY, TX 75094                    WEST ROXBURY, MA 02132




CHARLES RIVER REALTY GROUP             CHARLES RIVER REALTY GROUP          CHARLES ROBERTSON
ATTN: MICHAEL ARGIROS                  P.O. BOX 262                        10201 S. MAIN STREET
1461 VFW PARKWAY                       NORWOOD, MA 02062                   HOUSTON, TX 77025
WEST ROXBURY, MA 02132




CHARLES ROWE                           CHARLES RUSSELL                     CHARLES SANSONE
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHARLES SCOTT                          CHARLES SEVERING                    CHARLES SHEETS
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHARLES SHELTON                        CHARLES SIMMONS                     CHARLES SIMMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHARLES SINGLETON                      CHARLES SMITH                       CHARLES SNOW
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025
                      Case
CHARLES SOURMAIDIS & MARIA   18-12241-CSS    Doc
                                       CHARLES    26 Filed 10/05/18
                                               SOURMALDIS             PageCHARLES
                                                                           287 ofSTAAL
                                                                                  1739
SOURMAIDIS                             PO BOX 351                         10201 S. MAIN STREET
P.O. BOX 351                           ADAMSVILLE, RI 02801               HOUSTON, TX 77025
ADAMSVILLE, RI 02801




CHARLES STEPHENSON                     CHARLES SWANNER                    CHARLES SYPERT
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES T. ADKINS                      CHARLES THOMAS                     CHARLES THOMAS
2927 SHARON ROAD                       10201 S. MAIN STREET               10201 S. MAIN STREET
CHARLOTTE, NC 28211                    HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES TORREZ                         CHARLES VOYLES                     CHARLES W JONES
10201 S. MAIN STREET                   10201 S. MAIN STREET               P.O. BOX 2075
HOUSTON, TX 77025                      HOUSTON, TX 77025                  JASPER, TX 75951




CHARLES W. JONES                       CHARLES WATTS                      CHARLES WESLEY MIKESKA
P.O. BOX 2075                          10201 S. MAIN STREET               D/B/A PROLINE RENTALS
JASPER, TX 75951                       HOUSTON, TX 77025                  P.O. BOX 651
                                                                          SAN ANGELO, TX 76902




CHARLES WEST                           CHARLES WHITE                      CHARLES WHITE
2329 HAMMOND CT                        10201 S. MAIN STREET               10201 S. MAIN STREET
ELLENWOOD, GA 30294                    HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES WILKINSON                      CHARLES WILLIAMS                   CHARLES WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




CHARLES WILLIAMS                       CHARLES WILLIS                     CHARLES WITT
10201 S. MAIN STREET                   1413 BANBURY RD                    10201 S. MAIN STREET
HOUSTON, TX 77025                      KALAMAZOO, MI 49001                HOUSTON, TX 77025




CHARLES WORELY                         CHARLES WORTHINGTON                CHARLES ZEIKLE
10201 S. MAIN STREET                   10201 S. MAIN STREET               2604 NW FAWN DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                  BLUE SPRINGS, MO 64015




CHARLESTON 54 LLC                      CHARLESTON 54 LLC                  CHARLESTON CO TREASURER
10260 TULA LANE                        ATTN: JAMES C HOFFMAN              P.O. BOX 100231
CUPERTINO, CA 95014                    P.O. BOX 880                       COLUMBIA, SC 29202
                                       CUPERTINO, CA 95015
                        Case 18-12241-CSS
CHARLESTON COUNTY TREASURER                    Doc COUNTY
                                       CHARLESTON   26 Filed   10/05/18
                                                          TREASURER        PageCHARLESTON
                                                                                288 of 1739
                                                                                          COUNTY
P.O. BOX 100242                        P.O. BOX 878                            4045 BRIDGE VIEW DRIVE
COLUMBIA, SC 29202-3242                CHARLESTON, SC 29402-0863               NORTH CHARLESTON, SC 29405-7464




CHARLESTON COUNTY                      CHARLESTON NEWSPAPERS HOLDINGS LP       CHARLESTON RADIO GROUP
ATTN: PROPERTY TAX DEPT.               D/B/A CHARLESTON NEWSPAPERS
4045 BRIDGE VIEW DRIVE                 P.O. BOX 2993
NORTH CHARLESTON, SC 29405-7464        CHARLESTON, WV 25330




CHARLESTON SANTITARY BOARD & CITY OF   CHARLESTON WATER SYSTEM                 CHARLESTON WATER SYSTEM
CHARLESTON FEES                        103 ST PHILIP ST                        P.O. BOX 568
P.O. BOX 7949                          CHARLESTON, SC 29403                    CHARLESTON, SC 29402-0568
CHARLESTON, WV 25356-0949




CHARLEY EWERT                          CHARLEY WORTHEY                         CHARLIE BAKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHARLIE CANIONERO                      CHARLIE DAVIES                          CHARLIE DRAKE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    15 SHRIVER AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                       MASSILLON, OH 44646




CHARLIE EITEL                          CHARLIE GAMBESKI                        CHARLIE INSALACA
C/O ZUCKERMAN SPAEDER LLP              10201 S. MAIN STREET                    10201 S. MAIN STREET
ATTN: M. SANDY WEINBERG                HOUSTON, TX 77025                       HOUSTON, TX 77025
101 EAST KENNEDY BLVD, SUITE 120
TAMPA, FL 33602-5838



CHARLIE LLOYD                          CHARLIE OHALLORAN                       CHARLIE PRATER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    220 SKYLANE BLVD
HOUSTON, TX 77025                      HOUSTON, TX 77025                       MADISON, AL 35757




CHARLIE STEWART                        CHARLIE STOKINGER                       CHARLIE SWAIN PLUMBING
10201 S. MAIN STREET                   10201 S. MAIN STREET                    6299 JOHNSON ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOLLYWOOD, FL 33024-5931




CHARLIE THOMAS                         CHARLIE TILLMAN                         CHARLIE WHITTEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHARLOTTE ALBEMARLE LLC                CHARLOTTE ALBERMARLE LLC                CHARLOTTE CO TAX COLLECTOR
C/O ARCTRUST EQUITIES                  C/O ARCTRUST EQUITIES                   18500 MURDOCK CIRCLE
1401 BROAD STREET                      1401 BROAD STREET                       PORT CHARLOTTE, FL 33948
ATTN: BRUCE NELSON                     ATTN: BRUCE NELSON
CLIFTON, NJ 07013                      CLIFTON, NJ 07013
CHARLOTTE COSSELL       Case   18-12241-CSS    DocCOUNTY
                                         CHARLOTTE 26 Filed
                                                         BOARD10/05/18
                                                               OF COUNTY PageCHARLOTTE
                                                                              289 of 1739
                                                                                       COUNTY TAX COLLECTOR
552 COSSELL LANE                          COMM                                  18500 MURDOCK CIRCLE
CONNELLSVILLE, PA 15425                   18400 MURDOCK CIRCLE                  PORT CHARLOTTE, FL 33948
                                          PORT CHARLOTTE, FL 33948




CHARLOTTE COUNTY UTILITIES                CHARLOTTE COUNTY UTILITIES            CHARLOTTE DAVIDSON
P.O. BOX 516000                           UTILITIES DEPT                        10201 S. MAIN STREET
PUNTA GORDA, FL 33951-6000                EAST PORT ENVIRONMENTAL CAMPUS        HOUSTON, TX 77025
                                          25550 HARBOR VIEW RD, STE 1
                                          PORT CHARLOTTE, FL 33980



CHARLOTTE HARBOR WATER ASSOC              CHARLOTTE HARBOR WATER ASSOCIATION    CHARLOTTE HARRELL LLC DBA HARRELL
2515 HIGHLANDS ROAD                       2515 HIGHLANDS RD                     SQUARE
PUNTA GORDA, FL 33983-3100                PUNTA GORDA, FL 33983-3100            P.O. BOX 1504
                                                                                MT PLEASANT, SC 29465




CHARLOTTE JAMES                           CHARLOTTE MARCHAL                     CHARLOTTE ONEY
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




CHARLOTTE REED                            CHARLOTTE                             CHARLYNE FOREMAN
2831 EAST EATON DR                        ATTN: PROPERTY TAX DEPT.              29981 VACATION DR
TERRE HAUTE, IN 47802                     P.O. BOX 31032                        CANYON LAKE, CA 92587
                                          CHARLOTTE, NC 28231-1032




CHARMAIN JONES                            CHARTER BUSINESS                      CHARTER COMMUNICATIONS HOLDINGS LLC
10201 S. MAIN STREET                      P.O. BOX 790429                       12405 POWERSCOURT DRIVE
HOUSTON, TX 77025                         ST. LOUIS, MO 63179-0429              SAINT LOUIS, MO 63131-3674




CHARTER COMMUNICATIONS                    CHARTER COMMUNICATIONS                CHARTER COMMUNICATIONS
P.O. BOX 742600                           P.O. BOX 742613                       P.O. BOX 742614
CINCINNATI, OH 45274-2600                 CINCINNATI, OH 45274-2613             CINCINNATI, OH 45274-2614




CHARTER CUYAHOGA LLC                      CHARTER PROPERTIES                    CHARTER REALTY MANAGEMENT CORP.
P.O. BOX 204227                           ATTN: DEBBY MILICHICHI                ATTN: COLLEEN STRIPP,OFFICE SUPPORT
AUGUSTA, GA 30917-4227                    4080 GRAFTON STREET, SUITE 200        800 WESTCHESTER AVENUE, SUITE S-632
                                          DUBLIN, CA 94568                      RYE BROOK, NY 10573




CHARTER REALTY MANAGEMENT CORP.           CHARTER REALTY MANAGEMENT CORP.       CHARTER REALTY MANAGEMENT CORP.
ATTN: LISA KING - LEASE COORDINATOR       ATTN: MYLES OSTROFF, PM               ATTN:ANTHONY LUDDEN, PM
800 WESTCHESTER AVENUE, SUITE S-632       800 WESTCHESTER AVENUE, SUITE S-632   800 WESTCHESTER AVENUE, SUITE S-632
RYE BROOK, NY 10573                       RYE BROOK, NY 10573                   RYE BROOK, NY 10573




CHARTER TOWNSHIP OF FLINT                 CHARTER TOWNSHIP OF MERIDIAN          CHARTER TOWNSHIP OF MERIDIAN
ATTN: CITY TREASURER                      ATTN: UTILITY BILLING DEPT            MERIDIAN TOWNSHIP, PUBLIC UTILITIES
1490 S DYE RD                             P.O. BOX 1400                         SERVICES
FLINT, MI 48532                           OKEMOS, MI 48805-1400                 5151 MARSH RD
                                                                                OKEMOS, MI 48864
CHARTER              Case       18-12241-CSS    Doc 26
                                          CHARTER            Filed 10/05/18   PageCHARTER/SPECTRUM
                                                                                   290 of 1739
CHARTER COMMUNICATIONS                    P.O. BOX 742614                         CHARTER COMMUNICATIONS
HEADQUARTERS                              CINCINNATI, OH 45274-2614               HEADQUARTERS
12405 POWERSCOURT DR                                                              12405 POWERSCOURT DR
ST LOUIS, MO 63131                                                                ST LOUIS, MO 63131



CHARTER/SPECTRUM                          CHARTERWOOD MUD                         CHARTIS-NATIONAL UNION FIRE INSURANCE
P.O. BOX 742600                           ATTN: TAX ASSESSOR COLLECTOR            COMPANY OF PITTSBURG
CINCINNATI, OH 45274-2600                 11111 KATY FWY 725                      P.O. BOX 35657
                                          HOUSTON, TX 77079-2197                  NEWARK, NJ 07193




CHAS P YOUNG CO.                          CHAS P YOUNG COMPANY                    CHAS ULRICH
7810 SOLUTION CENTER                      35 W WACKER DR                          10201 S. MAIN STREET
CHICAGO, IL 60677-7008                    CHICAGO, IL 60601                       HOUSTON, TX 77025




CHAS. HAWKINS CO INC/CORFAC INTL          CHASE ANDERSON                          CHASE AUTO FINANCE
760 MELROSE AVENUE                        10201 S. MAIN STREET                    P.O. BOX 78070
NASHVILLE, TN 37211                       HOUSTON, TX 77025                       PHOENIX, AZ 85062




CHASE BARBRICK                            CHASE BEDARD                            CHASE CARD SERVICES
10201 S. MAIN STREET                      10201 S. MAIN STREET                    CARDMEMBER SERVICE
HOUSTON, TX 77025                         HOUSTON, TX 77025                       PO BOX 94014
                                                                                  PALATINE, IL 60094




CHASE CUPP                                CHASE DUTY                              CHASE FAULKNER-PARCHMENT
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




CHASE GOMEZ                               CHASE GOODVIN                           CHASE GUGENHEIM
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




CHASE JOHNSON                             CHASE LEMMONS                           CHASE MCCULLOUGH
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




CHASE MILLER                              CHASE MURTIE                            CHASE PENROSE
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




CHASE PROPERTIES LTD.                     CHASE RENWICK                           CHASE RICHISON
3333 RICHMOND ROAD, SUITE 320             10201 S. MAIN STREET                    10201 S. MAIN STREET
BEACHWOOD, OH 44122                       HOUSTON, TX 77025                       HOUSTON, TX 77025
CHASE SATTERTHWAITE    Case 18-12241-CSS     Doc 26
                                      CHASE SHERK        Filed 10/05/18   PageCHASE
                                                                               291 TAYLOR
                                                                                    of 1739
                                                                                          BORGSTEDT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    6915 ENNS LN
HOUSTON, TX 77025                     HOUSTON, TX 77025                       SPRING, TX 77379




CHASE VENTURES, LLC                   CHASE WHITWORTH                         CHASE WILKS
                                      10201 S. MAIN STREET                    10201 S. MAIN STREET
                                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHASTITY WOODS                        CHATTANOOGA CITY TREASURER              CHATTANOOGA FIRE PROTECTION
10201 S. MAIN STREET                  P.O. BOX 191                            1818 BROAD ST
HOUSTON, TX 77025                     CHATTANOOGA, TN 37401-0191              CHATTANOOGA, TN 37408




CHATTANOOGA FIRE PROTECTION           CHATTANOOGA FIRE PROTECTION, INC        CHATTANOOGA GAS
P.O. BOX 948                          1818 BROAD STREET                       6125 PRESERVATION DR
CHATTANOOGA, TN 37401                 CHATTANOOGA, TN 37408                   CHATTANOOGA, TN 37416




CHATTANOOGA GAS                       CHATTANOOGA PUBLISHING COMPANY          CHATTANOOGA TIMES FREE PRESS
P.O. BOX 5408                         P.O. BOX 2252                           400 E 11TH ST
CAROL STREAM, IL 60197-5408           BIRMINGHAM, AL 35246-3029               CHATTANOOGA, TN 37403




CHAUDHRY NAWAZ                        CHAUNCEY LEWIS                          CHAVARRO BROWN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    6610 CRESCENT MOON CT APT 201
HOUSTON, TX 77025                     HOUSTON, TX 77025                       RALEIGH, NC 27606




CHAVAS NICKELSON                      CHAVIS BYRD                             CHAVONTE FRANKLIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHAZ LAMPERT                          CHECK CENTER                            CHEILA SARDUY
10201 S. MAIN STREET                  P.O. BOX 6008                           10201 S. MAIN STREET
HOUSTON, TX 77025                     PETALUMA, CA 94955-6008                 HOUSTON, TX 77025




CHEITOS TRUCKING INC                  CHELLE CYR                              CHELSEA BRENNAN
707 TOURNAMENT LANE                   10201 S. MAIN STREET                    10201 S. MAIN STREET
KISSIMMEE, FL 34759                   HOUSTON, TX 77025                       HOUSTON, TX 77025




CHELSEA DRAUGHON                      CHELSEA EPPLER                          CHELSEA FARRELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
CHELSEA FORMAN         Case 18-12241-CSS    Doc
                                      CHELSEA     26 Filed 10/05/18
                                              GUTIERREZ               PageCHELSEA
                                                                           292 ofHOLDER
                                                                                  1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




CHELSEA HUGGINS                       CHELSEA JOHNSON                     CHELSEA JOHNSTON
1433 SAN JUAN CT A                    10201 S. MAIN STREET                10201 S. MAIN STREET
CLEARWATER, FL 33756                  HOUSTON, TX 77025                   HOUSTON, TX 77025




CHELSEA LARSON                        CHELSEA LEE                         CHELSEA MASSA
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




CHELSEA NICHOLLS                      CHELSEA TAYLOR                      CHELSEY DURESSEAU
31110 PARK BLVD                       1905 BLAKE ST                       10201 S. MAIN STREET
NUEVO, CA 92567                       OLLA, LA 71465                      HOUSTON, TX 77025




CHELSEY JIMENEZ                       CHELSEY PERCIVAL                    CHELSEY TAHAN
10201 S. MAIN STREET                  7707 S I H 35 APT 1210              10201 S. MAIN STREET
HOUSTON, TX 77025                     AUSTIN, TX 78744                    HOUSTON, TX 77025




CHELSEY VAN DEVEER                    CHELSIE ANTELOPE                    CHELSY HUNT
10201 S. MAIN STREET                  1604 CARLISLE COURT                 10201 S. MAIN STREET
HOUSTON, TX 77025                     OKLAHOMA CITY, OK 73120             HOUSTON, TX 77025




CHELTZI RAMIREZ                       CHEM TEL INC                        CHEN ENTERPRISES LTD
10201 S. MAIN STREET                  1305 N FLORIDA AVE                  1610 CHARDONNAY RIDGE
HOUSTON, TX 77025                     TAMPA, FL 33602                     APTOS, CA 95003




CHENISE GARCIA                        CHERELL SIMMONS                     CHERI BERTHOLD
10201 S. MAIN STREET                  10201 S. MAIN STREET                5003 DEER CREELE CT
HOUSTON, TX 77025                     HOUSTON, TX 77025                   SPRING HILL, TN 37174




CHERI FRANCO                          CHERIE HUDDLESTON                   CHERIE WILLIAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




CHERILYNN MCNEASE                     CHERINE THOMAS                      CHERISE MUSHORN
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025
CHERLEEN DANGCULOS       Case 18-12241-CSS    Doc
                                        CHEROKEE   26 SC
                                                 COUNTY Filed 10/05/18
                                                           TREASURER           PageCHEROKEE
                                                                                    293 of 1739
                                                                                            COUNTY TAX COMMISSIONER
7778 NAUTILUS SHELL ST                   P.O. BOX 1267                             ATTN: PROPERTY TAX DEPT.
LAS VEGAS, NV 89139                      GAFFNEY, SC 29342-1267                    2780 MARIETTA HWY
                                                                                   CANTON, GA 30114




CHEROKEE MAIN STREET II LLC              CHEROKEE MAIN STREET II LLC               CHERON BURNS
RIVERBEND CTR RH LEDBETTER PRO           RIVERBEND CTR RH LEDBETTER PRO            6103 ROCKPORT LN
106 E 8TH AVE                            106 E 8TH AVE                             CITRUS HEIGHTS, CA 95621
ROME, GA 30161                           ROME, GA 30161-5204




CHERRY CREEK RADIO TRI CITIES            CHERRY HILL FIRE DEPARTMENT               CHERRY HILL RETAIL PARTNERS LLC
P.O. BOX 2623                            ATTN: FIRE MARSHALS OFFICE                C/O EDGEWOOD PROPERTIES
PASCO, WA 99302                          1100 MARLKRESS RD                         1260 STELTON RD
                                         CHERRY HILL, NJ 08003-2340                PISCATAWAY, NJ 08854




CHERRY HILL RETAIL PARTNERS LLC          CHERRY PETERSEN LANDRY ALBERT LLP         CHERRY ROAD-ROCK HILL LLC
C/O EDGEWOOD PROPERTIES                  ATTN: DAN WALLS AND JERRY LOTT            C/O ASTON PROPERTIES INC
1260 STELTON RD                          8350 NORTH CENTRAL EXPY, SUITE 1500       610 E MOREHEAD STE 100
PISCATAWAY, NJ 08854                     DALLAS, TX 75206                          CHARLOTTE, NC 28202




CHERRY TREE CROSSING II, LLC             CHERRY TREE CROSSING LLC                  CHERRY VALLEY ASSOCIATES LLC
C/O CBRE                                 8500 KEYSTONE CROSSING 170                C/O THE FEIL ORGANIZATION
8500 KEYSTONE CROSSING, SUITE 170        INDIANAPOLIS, IN 46240                    7 PENN PLAZA, SUITE 1100
INDIANAPOLIS, IN 46240                                                             ATTN: RANDALL BRISKIN
                                                                                   NEW YORK, NY 10001



CHERRY VALLEY ASSOCIATES LLC             CHERRY VALLEY ASSOCIATES, LLC             CHERRY VIERNES
JEFFREY MANAGEMENT CORP                  C/O THE FEIL ORGANIZATION                 1901 HOLLY TRAIL
7 PENN PLAZA STE 1100                    7 PENN PLAZA, SUITE 1100                  CEDAR PARK, TX 78613
NEW YORK, NY 10001                       ATTN: RANDALL BRISKIN
                                         NEW YORK, NY 10001



CHERWELL SOFTWARE LLC                    CHERYL A CRUZ                             CHERYL BOLTON
P.O. BOX 912982                          3333 RUFFIN RD 6W                         10201 S. MAIN STREET
DENVER, CO 80291-2982                    SAN DIEGO, CA 92123                       HOUSTON, TX 77025




CHERYL BROTHERS                          CHERYL GARTNER                            CHERYL HENDERSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                      13471 AMBER LANE
HOUSTON, TX 77025                        HOUSTON, TX 77025                         FARMINGTON, AR 72730




CHERYL HOLKAN                            CHERYL IPPOLITI                           CHERYL KELLEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




CHERYL KERRIGAN                          CHERYL MCQUILLIN                          CHERYL NITTA
21306 HICKORY ST                         10201 S. MAIN STREET                      95 SEABOROUGH
ELKHORN, NE 68022                        HOUSTON, TX 77025                         NEWPORT BEACH, CA 92660
CHERYL REYNOLDS          Case 18-12241-CSS
                                        CHERYL Doc  26 Filed 10/05/18
                                               SULLIVAN                     PageCHERYL
                                                                                 294 ofWOODS
                                                                                        1739
4100 W THORNTON                         10201 S. MAIN STREET                    10201 S. MAIN STREET
HEMET, CA 92545                         HOUSTON, TX 77025                       HOUSTON, TX 77025




CHERYLL SHUBERT                         CHESAPEAKE UTILITIES                    CHESAPEAKE UTILITIES
1739 FOXON RD                           909 SILVER LAKE BLVD                    P.O. BOX 826531
NORTH BRANFORD, CT 06471                DOVER, DE 19904                         PHILADELPHIA, PA 19182-6531




CHESARY ARTIS                           CHESCA DARGIN                           CHESED LLC
1115 W DAVIDSON AVE                     10201 S. MAIN STREET                    ATTN: DR. CRAIG HERMAN
GASTONIA, NC 28052                      HOUSTON, TX 77025                       4550 NORTH BAY ROAD
                                                                                MIAMI BEACH, FL 33140




CHESED LLC                              CHESED, LLC                             CHESIREE TERRY
ATTN: DR. CRAIG HERMAN                  4550 NORTH BAY ROAD                     10201 S. MAIN STREET
4550 NORTH BAY ROAD                     ATTN; DR. CRAIG HERMAN                  HOUSTON, TX 77025
MIAMI, FL 33140                         MIAMI, FL 33140




CHESSLIE R NEAL                         CHESTER WATER AUTHORITY                 CHESTER WATER AUTHORITY
1211 NW 36TH PLACE                      415 WELSH ST                            P.O. BOX 71346
CAPE CORAL, FL 33993                    CHESTER, PA 19013                       PHILADELPHIA, PA 19176-1346




CHESTERFIELD COUNTY                     CHESTERFIELD COUNTY                     CHESTERFIELD COUNTY
ATTN: PROPERTY TAX DEPT.                OFFICE OF COMMISSIONER OF REVENUE       UTILITIES DEPT
P.O. BOX 124                            P.O. BOX 124                            9840 GOVERNMENT CENTER PARKWAY
CHESTERFIELD, VA 23832-0908             CHESTERFIELD, VA 23832-0908             CHESTERFIELD, VA 23832




CHESTERFIELD OBSERVER                   CHESTNUT CAMBRONNE PA                   CHESTNUT PLAZA LP
P.O. BOX 1616                           17 WASHINGTON AVE N STE 300             38 GLEN COVE ROAD
MIDLOTHIAN, VA 23113                    MINNEAPOLIS, MN 55401                   ATTN: ROBERT ARNOLD
                                                                                GREENVALE, NY 11548




CHESTNUT PLAZA LP                       CHET HOERNER                            CHET MCATEER
ATTN: ROBERT ARNOLD                     10201 S. MAIN STREET                    10201 S. MAIN STREET
38 GLEN COVE ROAD                       HOUSTON, TX 77025                       HOUSTON, TX 77025
GREENVALE, NY 11548




CHET PROUDMAN                           CHETAN SHARMA                           CHEVRON/TEXACO UNIVERSAL CARD
10201 S. MAIN STREET                    10201 S. MAIN STREET                    P.O. BOX 70995
HOUSTON, TX 77025                       HOUSTON, TX 77025                       CHARLOTTE, NC 28272-0995




CHEVY BROWN                             CHEVY SHIPE                             CHEYENNE BARNES
10201 S. MAIN STREET                    10201 S. MAIN STREET                    114 SAWYER CIRCLE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       SCOTTS VALLEY, CA 95066
CHEYENNE CHAPMAN       Case 18-12241-CSS    Doc
                                      CHEYENNE   26 Filed 10/05/18
                                               DRUEDING                   PageCHEYENNE
                                                                               295 of 1739
                                                                                       FEATHERSTONE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHEYENNE FRONTIER DAYS INC            CHEYENNE SIMMONS                        CHEYPRIA LOPRINO
P.O. BOX 2477                         10201 S. MAIN STREET                    10201 S. MAIN STREET
CHEYENNE, WY 82003                    HOUSTON, TX 77025                       HOUSTON, TX 77025




CHI GWOOD LLC                         CHI HIEU PHAN                           CHI IHEDIWA
C/O CAROLINA HOLDINGS INC             306 FALKIRK DR                          10201 S. MAIN STREET
P.O. BOX 25909                        WARNER ROBINS, GA 31088                 HOUSTON, TX 77025
GREENVILLE, SC 29616




CHI LI                                CHI LITTLE ROCK LLC                     CHI THAO
10201 S. MAIN STREET                  C/O CAROLINA HOLDINGS INC               618 GOTHAM DR
HOUSTON, TX 77025                     P.O. BOX 25909                          STOCKTON, CA 95210
                                      GREENVILLE, SC 29616




CHIARA RIVERA                         CHIC RETREAT                            CHICAGO APARTMENT PLACE INC
10201 S. MAIN STREET                  12615 W SR 238                          3654 N LINCOLN AVE
HOUSTON, TX 77025                     LAKE BUTLER, FL 32054                   CHICAGO, IL 60613




CHICAGO DEPT OF FINANCE               CHICAGO DEPT OF REVENUE                 CHICAGO EXHIBITORS CORPORATION
121 N LASALLE ST RM 107A              PAYMENT PROCESSING DIVISION-CITY HALL   MARKET PLACE SHOPPING CENTER
CHICAGO, IL 60602                     121 N LASALLE ST RM 800                 P.O. BOX 6105
                                      CHICAGO, IL 60602-1288                  HICKSVILLE, NY 11802-6105




CHICAGO EXHIBITORS CORPORATION        CHICAGO EXHIBITORS CORPORATION          CHICAGO FM RADIO ASSETS
P.O. BOX 6105                         PO BOX 6105                             CUMULUS CHICAGO WLSFM
HICKSVILLE, NY 11802                  HICKSVILLE, NY 11802                    3578 MOMENTUM PLACE
                                                                              CHICAGO, IL 60689




CHICAGO MATTRESS COMPANY              CHICAGO METROPOLITAN FIRE               CHICAGO PROFESSIONAL SPORTS LP
4107 W KINZIE ST                      PREVENTION CO                           D/B/A CHICAGO BULLS
CHICAGO, IL 60624                     CMFP-DEPT SK5                           1901 W MADISON STREET
                                      P.O. BOX 750                            CHICAGO, IL 60612
                                      ELMHURST, IL 60126



CHICAGO TRIBUNE                       CHICO STAGE LIGHTING CO                 CHICOPEE ELECTRIC LIGHT
14839 COLLECTIONS CENTER DR           100 LANDMARK DR                         725 FRONT ST.
CHICAGO, IL 60693                     CHICO, CA 95973                         CHICOPEE, MA 01020-1776




CHICOPEE                              CHIDUO KANU                             CHIEDU OKONJI
ATTN: PROPERTY TAX DEPT.              10201 S. MAIN STREET                    10201 S. MAIN STREET
P.O. BOX 1570                         HOUSTON, TX 77025                       HOUSTON, TX 77025
SPRINGFIELD, MA 01101-1570
CHIEN LIM               Case 18-12241-CSS     Doc 26
                                       CHIEW SAETERN       Filed 10/05/18   PageCHIGOZIE
                                                                                 296 of ENENDU
                                                                                         1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CHILD SUPPORT ENFORCEMENT              CHILDREN AT RISK INC                     CHILDRENS HOME SOCIETY OF FLORIDA
STATE DISBURSEMENT BRANCH              2900 WESLAYAN ST STE 400                 1485 S. SEMORAN BLVD STE 1448
P.O. BOX 1860                          HOUSTON, TX 77207                        WINTER PARK, FL 32792
HONOLULU, HI 96805-1860




CHILDRENS PRODUCTS LLC                 CHILDRESS KLEIN PROPERTIES               CHILDRESS KLEIN PROPERTIES, INC.
CIT                                    ATTN: LINDSAY SMITH                      ATTN: AFTON RIDGE PROPERTY MANAGER
P.O. BOX 1036                          301 S. COLLEGE STREET, SUITE 2800        301 S. COLLEGE STREET, SUITE 2800
CHARLOTTE, NC 28201                    CHARLOTTE, NC 28202                      CHARLOTTE, NC 28202-6021




CHINA DINER LIMITED PARTNERSHIP        CHINWUDE ARACHIE                         CHIODA QUALITY WINDOW CLEANING
511 E. JOHN CARPENTER FWY STE 200      4550 N CLAREDON                          1300 VIRGINIA AVE APT 218
IRVING, TX 75060-2                     APT 1603 N                               MC KEESPORT, PA 15135
                                       CHICAGO, IL 60640




CHIODA WINDOW CLEANING                 CHIOMA MYRICK                            CHIP CUTTLE
105 ROBERTA ST                         10201 S. MAIN STREET                     10201 S. MAIN STREET
BUTLER, PA 16001                       HOUSTON, TX 77025                        HOUSTON, TX 77025




CHIP LUCK                              CHIP WITHROW                             CHIVON SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CHLAM LLC                              CHLIC                                    CHLOE ABARCA
C/O PAGE COMM REALTY SVCS LLC          P.O. BOX 644546                          10201 S. MAIN STREET
P.O. BOX 2318                          PITTSBURGH, PA 15264-4546                HOUSTON, TX 77025
GILBERT, AZ 85299-2318




CHLOE DARNELL                          CHM RIVERGATE LLC                        CHMH LOS BANOS LLC
10201 S. MAIN STREET                   6312 KINGSTON PIKE STE C                 800 S BROADWAY STE 200
HOUSTON, TX 77025                      KNOXVILLE, TN 37919                      WALNUT CREEK, CA 94596




CHMH LOS BANOS LLC                     CHMH LOS BANOS, LLC                      CHODY REAL ESTATE CORP
800 S. BROADWAY, SUITE 200             800 S. BROADWAY, SUITE 200               401 N. MICHIGAN AVE STE 2400
WALNUT CREEK, CA 94596                 WALNUT CREEK, CA 94596                   CHICAGO, IL 60611




CHODY REAL ESTATE CORP.                CHOICE CAREER FAIRS                      CHOICE LONG ISLAND INC.
ATTN: ERIKA VLASAK                     9101 W SAHARA AVE 105 F30                PO BOX 75343
401 N. MICHIGAN AVENUE, 24TH FLOOR     LAS VEGAS, NV 89117                      CHICAGO, IL 60675-5343
CHICAGO, IL 60611
CHOICE SOLUTIONS LLC Case     18-12241-CSS
                                        CHOICE Doc 26
                                               WASTE      Filed 10/05/18
                                                     OF FLORIDA INC           PageCHONG
                                                                                   297 of
                                                                                        KIM1739
7015 COLLEGE BLVD SUITE 300              2805 E OAKLAND PARK BLVD SUITE 464       10201 S. MAIN STREET
OVERLAND PARK, KS 66211                  FORT LAUDERDALE, FL 33306                HOUSTON, TX 77025




CHOPTANK ELECTRIC COOP                   CHOPTANK ELECTRIC COOP                   CHR HOLDINGS INC DBA STAFF RIGHT INC
24820 MEETING HOUSE RD                   P.O. BOX 430                             P.O. BOX 2515
(ROUTES 404 & 328)                       DENTON, MD 21629-0430                    CARTERSVILLE, GA 30120
DENTON, MD 21629




CHRIS ALLARD                             CHRIS ALTOVINO                           CHRIS AXELSEN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




CHRIS BAKANE                             CHRIS BARFIELD                           CHRIS BAYACK
10201 S. MAIN STREET                     10201 S. MAIN STREET                     5815 FOREST TRAILS DR.
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77084




CHRIS BENOIT                             CHRIS BENSON                             CHRIS BEST
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




CHRIS BLADOW                             CHRIS BOARD                              CHRIS BOBIN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     347 5TH AVE 1102
HOUSTON, TX 77025                        HOUSTON, TX 77025                        NEW YORK, NY 10016




CHRIS BOLIN                              CHRIS BORDANARO                          CHRIS BOWIE
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




CHRIS BROWN                              CHRIS CANADA                             CHRIS CAREY
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




CHRIS CARROLL                            CHRIS CASEY                              CHRIS CASTILLO
11503 MARTINSVILLE                       10201 S. MAIN STREET                     10201 S. MAIN STREET
BAKERSFIELD, CA 93312                    HOUSTON, TX 77025                        HOUSTON, TX 77025




CHRIS CAUSEY                             CHRIS CHAPMAN                            CHRIS CLAGETT
10201 S. MAIN STREET                     10201 S. MAIN STREET                     621 N PENNSYLVANIA ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                        MOSES LAKE, WA 98837
CHRIS CLARK            Case 18-12241-CSS     Doc 26
                                      CHRIS CONKLIN      Filed 10/05/18   PageCHRIS
                                                                               298CONKLIN
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS CORBEIL                         CHRIS CORBETT                           CHRIS COTE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS CRANDALL                        CHRIS CROFT                             CHRIS CROSBY
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025




CHRIS CUSH                            CHRIS DAVIS                             CHRIS DEBAUN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS DEMAIDA                         CHRIS DEMIAN                            CHRIS DOSTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS DOUGLAS                         CHRIS DRIVER                            CHRIS DUDA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS DUNCAN                          CHRIS E. OSUJI                          CHRIS EDGE-JOHNSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS ESTEVEZ                         CHRIS FLEET                             CHRIS FOURNIER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS FOWLER-HOFFMAN                  CHRIS FREED                             CHRIS FREI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS FUGER                           CHRIS GALINDO                           CHRIS GELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
CHRIS GEORGE           Case 18-12241-CSS     Doc 26
                                      CHRIS GERALD       Filed 10/05/18   PageCHRIS
                                                                               299GONZALES
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS GORE                            CHRIS GRAHAM                            CHRIS GREEN
DISTRICT MANAGER-GREENSBORO           10201 S. MAIN STREET                    10201 S. MAIN STREET
8408 WHISPER RIDGE PLACE              HOUSTON, TX 77025                       HOUSTON, TX 77025
RALEIGH, NC 27613




CHRIS GREEN                           CHRIS GRIER                             CHRIS HAKES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS HALL                            CHRIS HAMBURGER                         CHRIS HAMMER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS HARRIS                          CHRIS HARTIN                            CHRIS HELD DBA EARLY BIRD LANDSCAPE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    7206 RED BUSH CT
HOUSTON, TX 77025                     HOUSTON, TX 77025                       INDIAN TRAIL, NC 28079




CHRIS HENDERSON                       CHRIS HENFER                            CHRIS HODGES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS HOFFMAN                         CHRIS HUDSON                            CHRIS HUPCHICK
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS JOHNSON                         CHRIS JONES                             CHRIS JORDAN
10201 S. MAIN STREET                                                          10201 S. MAIN STREET
HOUSTON, TX 77025                                                             HOUSTON, TX 77025




CHRIS KESTER                          CHRIS KETNER                            CHRIS KUHN
1203 SHEPPARD DR                      10201 S. MAIN STREET                    3604 SW 10TH ST TERRACE
WYLIE, TX 75098                       HOUSTON, TX 77025                       BLUE SPRINGS, MO 64015




CHRIS LADD                            CHRIS LEWIS                             CHRIS LINKE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
CHRIS LOLL             Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      CHRIS LONGNECKER               PageCHRIS
                                                                          300MofPATTEN
                                                                                 1739DBA SKYLINE SIGNS
10201 S. MAIN STREET                  10201 S. MAIN STREET               4227 GLEN RIDGE DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                  ARLINGTON, TX 76016




CHRIS MAHNICH                         CHRIS MAKRIS                       CHRIS MANOS
105 BEN HAMBY RD                      10201 S. MAIN STREET               10201 S. MAIN STREET
GREENVILLE, SC 29615                  HOUSTON, TX 77025                  HOUSTON, TX 77025




CHRIS MANZKE                          CHRIS MCBEE                        CHRIS MCCARTHY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CHRIS MCCRORY                         CHRIS MCDEVITT                     CHRIS MCKAY
MARKET MANAGERCOLUMBIA                10201 S. MAIN STREET               10201 S. MAIN STREET
551 RIVER HILL CIRCLE 222             HOUSTON, TX 77025                  HOUSTON, TX 77025
COLUMBIA, SC 29210




CHRIS MCKINNEY                        CHRIS MENA                         CHRIS MEYER
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CHRIS MICHAELS                        CHRIS MICKENS                      CHRIS MILLER
8440 DUNMORE CT SE                    10201 S. MAIN STREET               10201 S. MAIN STREET
ADA, MI 49301                         HOUSTON, TX 77025                  HOUSTON, TX 77025




CHRIS MITCHELL                        CHRIS MUILENBURG                   CHRIS N CLARK
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025




CHRIS NEWTON                          CHRIS PAGLIONE                     CHRIS PAGNAC
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




CHRIS PENNINGTON                      CHRIS PHILLIPS                     CHRIS PITINO
10201 S. MAIN STREET                  13919 GRAFTON BRIDGE LN            10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77047                  HOUSTON, TX 77025




CHRIS POLLARD                         CHRIS POPE                         CHRIS RAHL
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025
CHRIS RALPHS           Case 18-12241-CSS     Doc 26
                                      CHRIS RANSFORD      Filed 10/05/18   PageCHRIS
                                                                                301ROBERSON
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS ROBERTS                          CHRIS ROBINSON                          CHRIS RODGERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS RUSS                             CHRIS RYAN                              CHRIS SCOTT
10201 S. MAIN STREET                   3896 VERANDA CT                         10201 S. MAIN STREET
HOUSTON, TX 77025                      MELBOURNE, FL 32901                     HOUSTON, TX 77025




CHRIS SHAW                             CHRIS SINCLAIR                          CHRIS SNODDERLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS STONE                            CHRIS SWALLOW                           CHRIS THOLKE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS THON                             CHRIS TOLIVER                           CHRIS TOPPINS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS VANGARVEN                        CHRIS VASQUEZ                           CHRIS VOGIAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS WAKIN                            CHRIS WALLACE                           CHRIS WASHINGTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS WHITE                            CHRIS WIDMAN                            CHRIS WILDE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    12521 SE 16TH ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       VANCOUVER, WA 98683




CHRIS WILHELM                          CHRIS WILLIAMS                          CHRIS WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
CHRIS WILLIAMS-BONNETT Case   18-12241-CSS     Doc 26
                                        CHRIS WILMETH      Filed 10/05/18   PageCHRIS
                                                                                 302WITTMANN
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS YORK                              CHRIS YOUNG                             CHRIS YOUNG
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRIS YOW                               CHRISANNA BROWN                         CHRISSY LEWIS
10201 S. MAIN STREET                    157 OWENS FARM RD                       10201 S. MAIN STREET
HOUSTON, TX 77025                       MOORESVILLE, NC 28115                   HOUSTON, TX 77025




CHRISTA FISH                            CHRISTA HENRY                           CHRISTAL BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRISTAL WILLIAMS                       CHRISTAPHER HANKS                       CHRISTEN PARISE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRISTEN STATON                         CHRISTEN VERNER                         CHRISTI PASQUALETTO
10201 S. MAIN STREET                    10721 CR 250                            10201 S. MAIN STREET
HOUSTON, TX 77025                       CLYDE, TX 79510                         HOUSTON, TX 77025




CHRISTI RIOS                            CHRISTIAN BEST                          CHRISTIAN BEZIAT
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRISTIAN BROOKS                        CHRISTIAN CLARK                         CHRISTIAN CO CIRCUIT COURT ASSOC
10201 S. MAIN STREET                    10201 S. MAIN STREET                    COURT DIV 1
HOUSTON, TX 77025                       HOUSTON, TX 77025                       110 W ELM ST RM 203
                                                                                OZARK, MO 65721




CHRISTIAN COUNTY SHERIF                 CHRISTIAN DAVILA                        CHRISTIAN DAVIS
216 W 7TH ST                            10201 S. MAIN STREET                    10201 S. MAIN STREET
HOPKINSVILLE, KY 42240                  HOUSTON, TX 77025                       HOUSTON, TX 77025




CHRISTIAN DAYE                          CHRISTIAN FRANCO                        CHRISTIAN GONZALEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
CHRISTIAN GONZALEZ     Case 18-12241-CSS     Doc
                                      CHRISTIAN   26 Filed 10/05/18
                                                GUTIERREZ             PageCHRISTIAN
                                                                           303 of 1739
                                                                                    GUZMAN
10201 S. MAIN STREET                  96 WINIFRED ST W                    10201 S. MAIN STREET
HOUSTON, TX 77025                     SAINT PAUL, MN 55107                HOUSTON, TX 77025




CHRISTIAN HANE                        CHRISTIAN HYNES                     CHRISTIAN JOY RIVERA
10201 S. MAIN STREET                  3322 FARREL HILL ST                 10201 S. MAIN STREET
HOUSTON, TX 77025                     FRESNO, TX 77545                    HOUSTON, TX 77025




CHRISTIAN MACK                        CHRISTIAN MARSH                     CHRISTIAN MARTIN
10201 S. MAIN STREET                  3015 W STEEPBANK                    10201 S. MAIN STREET
HOUSTON, TX 77025                     SUGAR LAND, TX 77479                HOUSTON, TX 77025




CHRISTIAN MCDUFFIE                    CHRISTIAN MENDIORO                  CHRISTIAN MICHAELS
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTIAN MORELAND                    CHRISTIAN NELSON                    CHRISTIAN PERRY
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTIAN RIVERA                      CHRISTIAN SCHOTT                    CHRISTIAN SONANDER
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTIAN SOOGA                       CHRISTIAN TRUJILLO                  CHRISTIAN VALENTIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTIAN VILLA                       CHRISTIAN VILLICANA                 CHRISTIAN VOYLES
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTIAN WINN                        CHRISTIAN                           CHRISTIANJAMES CHATMAN
10201 S. MAIN STREET                  ATTN: PROPERTY TAX DEPT.            10201 S. MAIN STREET
HOUSTON, TX 77025                     216 W 7TH ST                        HOUSTON, TX 77025
                                      HOPKINSVILLE, KY 42240




CHRISTIE BAKEMAN                      CHRISTIE JOHNSTON                   CHRISTIN KNIGHT
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025
CHRISTINA BETTERLEY     Case 18-12241-CSS     Doc
                                       CHRISTINA   26 Filed 10/05/18
                                                 BROWN                 PageCHRISTINA
                                                                            304 of 1739
                                                                                     BUCE
10201 S. MAIN STREET                   401 SAMARA ST APT 11                10201 S. MAIN STREET
HOUSTON, TX 77025                      SPARTANBURG, SC 29303               HOUSTON, TX 77025




CHRISTINA BYRNE                        CHRISTINA CANO                      CHRISTINA CHAISON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTINA HILL                         CHRISTINA HINES                     CHRISTINA HUNEKE
10201 S. MAIN STREET                   10201 S. MAIN STREET                14475 RUSSO RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                   CASTROVILLE, CA 95012




CHRISTINA JACKSON                      CHRISTINA JARA                      CHRISTINA KNOX
10201 S. MAIN STREET                   10201 S. MAIN STREET                516 W PARKSIDE DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                   GREENSBURG, IN 47240




CHRISTINA LANKFORD                     CHRISTINA LEE                       CHRISTINA LEE
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTINA PAVOLA                       CHRISTINA PAYNE                     CHRISTINA PETERSEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                411 CARPENTER HILL RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                   FOLSOM, CA 95630




CHRISTINA ROHRER                       CHRISTINA ROHRER                    CHRISTINA RUSS
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTINA SANABRIA                     CHRISTINA SEELA                     CHRISTINA SINGLETON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTINA SKIER                        CHRISTINA WALTON                    CHRISTINA WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTINA ZIENKIEWICZ                  CHRISTINE ALESCI                    CHRISTINE BLAKESLEE
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025
CHRISTINE BOBIN           Case 18-12241-CSS     Doc
                                         CHRISTINE    26 Filed 10/05/18
                                                   BRINKLEY               PageCHRISTINE
                                                                               305 of 1739
                                                                                        BROWN
453 EAST 14TH ST 3A                       D/B/A BEST HR RESOURCES LLC         10201 S. MAIN STREET
NEW YORK, NY 10009                        2806 MANITO CIRCLE                  HOUSTON, TX 77025
                                          KATY, TX 77450




CHRISTINE CHILCOTE                        CHRISTINE CONARD                    CHRISTINE CRAIN
10201 S. MAIN STREET                      891 ELIZABETH ST                    9691 SWALLOW LN
HOUSTON, TX 77025                         ELGIN, IL 60120                     GARDEN GROVE, CA 92841




CHRISTINE DEL CAMPO                       CHRISTINE ESPOSITO                  CHRISTINE FARIELLO
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTINE GARDNER                         CHRISTINE GARONIAK                  CHRISTINE GUERRA
10201 S. MAIN STREET                      10201 S. MAIN STREET                10864 TIERRA SANTA BLVD
HOUSTON, TX 77025                         HOUSTON, TX 77025                   SAN DIEGO, CA 92124




CHRISTINE HOLMES                          CHRISTINE KOVACS                    CHRISTINE LEE
10201 S. MAIN STREET                      10201 S. MAIN STREET                6777 KIRBY LAWNS CV
HOUSTON, TX 77025                         HOUSTON, TX 77025                   MEMPHIS, TN 38119




CHRISTINE LESIAK                          CHRISTINE LEVITAN                   CHRISTINE MASON
10201 S. MAIN STREET                      2834 NACHES HEIGHTS RD              10201 S. MAIN STREET
HOUSTON, TX 77025                         YAKIMA, WA 98908                    HOUSTON, TX 77025




CHRISTINE PARK                            CHRISTINE PEREZ                     CHRISTINE PERRONE
2828 W LINCOLN AVE APT 214                3932 R STREET                       534 TURKEY CREEK RD
ANAHEIM, CA 92801                         OMAHA, NE 68107                     LEICESTER, NC 28748




CHRISTINE PETERSON                        CHRISTINE STAATSBURG                CHRISTINE THOMPSON
8701 S 82ND COURT                         170 AVENIDA LA PATA                 10201 S. MAIN STREET
HICKORY HILLS, IL 60457                   SAN CLEMENTE, CA 92673              HOUSTON, TX 77025




CHRISTINE THOMPSON                        CHRISTINE TRAN                      CHRISTINE WIGUNA
10201 S. MAIN STREET                      10201 S. MAIN STREET                5924 N WALNUT GROVE AVE
HOUSTON, TX 77025                         HOUSTON, TX 77025                   SAN GABRIEL, CA 91775




CHRISTINE WINTER RAMSEY                   CHRISTION HICKS                     CHRISTNOR CADET
13 KINGS LN                               10201 S. MAIN STREET                10201 S. MAIN STREET
VENETIA, PA 15367                         HOUSTON, TX 77025                   HOUSTON, TX 77025
CHRISTOPHER ABERNATHYCase   18-12241-CSS     Doc 26
                                      CHRISTOPHER     Filed 10/05/18
                                                  ALSOBROOKS           PageCHRISTOPHER
                                                                            306 of 1739ARMOND
10201 S. MAIN STREET                  39157 CRADDOCK LN                    1142 WEST 78TH ST
HOUSTON, TX 77025                     PEARL RIVER, LA 70452                CHICAGO, IL 60620




CHRISTOPHER ATOKI                     CHRISTOPHER BARNABY                  CHRISTOPHER BAYACK
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER BECNEL                    CHRISTOPHER BEST                     CHRISTOPHER BOLSTER
10201 S. MAIN STREET                  7007 W INDIAN SCHOOL RD              10201 S. MAIN STREET
HOUSTON, TX 77025                     PHOENIX, AZ 85033                    HOUSTON, TX 77025




CHRISTOPHER BOURASSA                  CHRISTOPHER BOYCE                    CHRISTOPHER BRADSHAW
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER BREWER                    CHRISTOPHER BROWN                    CHRISTOPHER CANTORE
10201 S. MAIN STREET                  10201 S. MAIN STREET                 4511 VISTA RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                    SAN DIEGO, CA 92116




CHRISTOPHER CAREL                     CHRISTOPHER CARLSON                  CHRISTOPHER CARTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER CASAMENTO                 CHRISTOPHER CASPER                   CHRISTOPHER CAULFIELD
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER CIANO                     CHRISTOPHER COGDELL                  CHRISTOPHER CONE
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER COOK                      CHRISTOPHER COPELAND                 CHRISTOPHER COSITORE
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER CRANDALL                  CHRISTOPHER CRINER                   CHRISTOPHER CROSBY
1901 JONATHAN CREEK RD                10201 S. MAIN STREET                 10201 S. MAIN STREET
WAYNESVILLE, NC 28785                 HOUSTON, TX 77025                    HOUSTON, TX 77025
CHRISTOPHER D ROBINSONCase     18-12241-CSS     Doc 26
                                         CHRISTOPHER      Filed
                                                     DANIEL     10/05/18
                                                            MORALES        PageCHRISTOPHER
                                                                                307 of 1739DAVIS
1537 N WOODS LAKE CT                      8219 SUMMER REEF DR                  5218 VALLEY VIEW LN
DULUTH, GA 30096                          HOUSTON, TX 77095                    LA PORTE, TX 77571




CHRISTOPHER DE LUCIA                      CHRISTOPHER DENNIS                   CHRISTOPHER DIEHL
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER DOUGLAS                       CHRISTOPHER DOYLE                    CHRISTOPHER EDGHILL
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER ELDRIDGE                      CHRISTOPHER FAISON                   CHRISTOPHER FERNANDEZ
146 WAILUPE CR                            10201 S. MAIN STREET                 10201 S. MAIN STREET
HONOLULU, HI 96821                        HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER FISH                          CHRISTOPHER FLORES                   CHRISTOPHER FOSS
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER FOWLER                        CHRISTOPHER FRENCH                   CHRISTOPHER FUIT
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER G FARRIS DBA THE WINDOW       CHRISTOPHER GARING                   CHRISTOPHER GLASPER
GUY                                       10201 S. MAIN STREET                 10201 S. MAIN STREET
55 E 590 NORTH                            HOUSTON, TX 77025                    HOUSTON, TX 77025
HURRICANE, UT 84737




CHRISTOPHER GORE                          CHRISTOPHER GRANT                    CHRISTOPHER GRAVES
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER H. KIM & DEBBIE S. KIM        CHRISTOPHER HAIGHT                   CHRISTOPHER HANSEN
D/B/A THE KIM FAMLIY TRUST                10201 S. MAIN STREET                 10201 S. MAIN STREET
4607 LAKEVIEW CANYON ROAD 288             HOUSTON, TX 77025                    HOUSTON, TX 77025
WESTLAKE VILLAGE, CA 91361




CHRISTOPHER HARDISON                      CHRISTOPHER HAYES                    CHRISTOPHER HAYES
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025
CHRISTOPHER HIGGHMAN Case    18-12241-CSS     Doc 26
                                       CHRISTOPHER     Filed 10/05/18
                                                   HOLBROOK             PageCHRISTOPHER
                                                                             308 of 1739HOLMAN
3525 RICHMOND DR                       10201 S. MAIN STREET                 10201 S. MAIN STREET
COLORADO SPRINGS, CO 80922             HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER HORNE                      CHRISTOPHER HUNTE                    CHRISTOPHER INGALLS
10422 HUEBNER RD BOX 2401              10201 S. MAIN STREET                 10201 S. MAIN STREET
SAN ANTONIO, TX 78240                  HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER INSALACA                   CHRISTOPHER J MORRIS                 CHRISTOPHER J VITEK
10201 S. MAIN STREET                   1956 W 48TH ST                       12505 DANBURY WAY
HOUSTON, TX 77025                      CLEVELAND, OH 44102                  ROSEMOUNT, MN 55068




CHRISTOPHER JACKSON                    CHRISTOPHER JACKSON                  CHRISTOPHER JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER JOHNSON                    CHRISTOPHER JOHNSON                  CHRISTOPHER JONAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER JONES                      CHRISTOPHER JONES                    CHRISTOPHER JONES
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER JONES                      CHRISTOPHER JONES                    CHRISTOPHER KARLAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER KARR                       CHRISTOPHER KELLEY                   CHRISTOPHER KIK
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER KINNEY                     CHRISTOPHER KIRK                     CHRISTOPHER KLINE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER L HODGES                   CHRISTOPHER LA ROSA                  CHRISTOPHER LAMBRIGHT
14417 COTTINGHAM CT                    57 DART ST                           10201 S. MAIN STREET
BATON ROUGE, LA 70817                  EAST ROCKAWAY, NY 11518              HOUSTON, TX 77025
CHRISTOPHER LANUTO     Case 18-12241-CSS     Doc 26
                                      CHRISTOPHER      Filed 10/05/18
                                                  LIGHTSEY              PageCHRISTOPHER
                                                                             309 of 1739LIMA
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER LOPEZ                      CHRISTOPHER M MARSH                  CHRISTOPHER MACKLIN
10201 S. MAIN STREET                   24 STONEHEARTH LN                    10201 S. MAIN STREET
HOUSTON, TX 77025                      INDIAN HEAD PARK, IL 60525           HOUSTON, TX 77025




CHRISTOPHER MACKO                      CHRISTOPHER MARTINEZ                 CHRISTOPHER MARTINEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER MAYER                      CHRISTOPHER MAYHEW                   CHRISTOPHER MCCRORY
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER MCHENRY                    CHRISTOPHER MCKOY                    CHRISTOPHER MCPHEE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER MEDLIN                     CHRISTOPHER METOYER                  CHRISTOPHER MIDDLETON
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER MILLER                     CHRISTOPHER MISEK                    CHRISTOPHER MITTEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER MONTGOMERY                 CHRISTOPHER MOORE                    CHRISTOPHER MOORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER MOSELEY                    CHRISTOPHER NAVARRO                  CHRISTOPHER NEAL
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER NETRO                      CHRISTOPHER NEVER                    CHRISTOPHER NEWELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025
CHRISTOPHER NGUYEN     Case 18-12241-CSS     Doc 26
                                      CHRISTOPHER      Filed 10/05/18
                                                  NIESNER               PageCHRISTOPHER
                                                                             310 of 1739PAGLIARO
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER PECK                       CHRISTOPHER PETERSON                 CHRISTOPHER PETERSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER PHILLIPS                   CHRISTOPHER PHIPPS                   CHRISTOPHER PLANT
11900 OAKMOOR PKWY 336                 10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77051                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER PLUNKETT                   CHRISTOPHER POOLE                    CHRISTOPHER R GRAVUER
10201 S. MAIN STREET                   10201 S. MAIN STREET                 1174 LOWELL AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                    ANDALUSIA, PA 19020




CHRISTOPHER RAMIREZ                    CHRISTOPHER RAYMOND                  CHRISTOPHER REGA
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER RIBOT                      CHRISTOPHER RIGGS                    CHRISTOPHER RITA
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER ROBERTS                    CHRISTOPHER ROCHA                    CHRISTOPHER ROJAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER SARGENT                    CHRISTOPHER SCARBOROUGH              CHRISTOPHER SCHENCK
1224 N MODOC 6                         10201 S. MAIN STREET                 10201 S. MAIN STREET
MEDFORD, OR 97504                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER SELVIK                     CHRISTOPHER SHAW                     CHRISTOPHER SIMKO
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




CHRISTOPHER SINCLAIR                   CHRISTOPHER SLANEY                   CHRISTOPHER SMITH
                                       10201 S. MAIN STREET                 10201 S. MAIN STREET
                                       HOUSTON, TX 77025                    HOUSTON, TX 77025
CHRISTOPHER STANGE     Case 18-12241-CSS     Doc 26
                                      CHRISTOPHER     Filed 10/05/18
                                                  STARKS               PageCHRISTOPHER
                                                                            311 of 1739STARZYK
10201 S. MAIN STREET                   101 N ROARING SPRINGS RD 8202       10201 S. MAIN STREET
HOUSTON, TX 77025                      WESTWORTH VILLAGE, TX 76114         HOUSTON, TX 77025




CHRISTOPHER STEVENS                    CHRISTOPHER STEWART                 CHRISTOPHER STOTT
10201 S. MAIN STREET                   845 E 9TH ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                      COLORADO CITY, TX 79512             HOUSTON, TX 77025




CHRISTOPHER T COOK                     CHRISTOPHER THACKER                 CHRISTOPHER THOMAS
5549 WENONAH DR                        10201 S. MAIN STREET                13611 JASMINE CREEK LN
DALLAS, TX 75209                       HOUSTON, TX 77025                   ROSHARON, TX 77583




CHRISTOPHER THOMPSON                   CHRISTOPHER TORRES                  CHRISTOPHER VALLEJOS
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTOPHER VASQUEZ                    CHRISTOPHER VILLANUEVA              CHRISTOPHER VOLPP
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTOPHER W POORE                    CHRISTOPHER WALTON                  CHRISTOPHER WEIR
115 BURLINGTON CT                      10373 W LUPINE ST                   10201 S. MAIN STREET
DOTHAN, AL 36305                       BOISE, ID 83704                     HOUSTON, TX 77025




CHRISTOPHER WHEELER                    CHRISTOPHER WHITE                   CHRISTOPHER WHITTAKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




CHRISTOPHER WILKINS                    CHRISTOPHER WILLIAMS                CHRISTOPHER WILLIAMSON
2850 OAK RD 9206                       3900 MARCHESTER WAY APT B           10201 S. MAIN STREET
PEARLAND, TX 77584                     GREENSBORO, NC 27417                HOUSTON, TX 77025




CHRISTOPHER WIMMER                     CHRISTOPHER WOLFE                   CHRISTOPHER WULLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                1412 SW 10 STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   FORT LAUDERDALE, FL 33312




CHRISTOPHER WYATT                      CHRISTOPHER YARBROUGH               CHRISTOPHER YOUNG
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025
CHRISTOPHER ZAJAC      Case 18-12241-CSS     Doc1755
                                      CHRISTOWN  26 LLCFiled 10/05/18       PageCHRISTOWN
                                                                                 312 of 1739
                                                                                          1755 LLC
10201 S. MAIN STREET                   C/O KIMCO REALTY CORPORATION             PO BOX 82565
HOUSTON, TX 77025                      3333 NEW HYDE PARK ROAD, SUITE 100       DEPT CODE SAZP1755
                                       NEW HYDE PARK, NY 11042                  GOLETA, CA 93118-2565




CHRISTOWN 1755, LLC                    CHRISTPHER BOEHM                         CHRISTY A GOFORTH
C/O KIMCO REALTY CORPORATION           8501 WALNUT DR                           11702 EGRETS POINT DR
3333 NEW HYDE PARK ROAD, SUITE 100     LOS ANGELES, CA 90046                    CHARLOTTE, NC 28278
NEW HYDE PARK, NY 11042




CHRISTY SHERRICK                       CHRISTY TOWNSEND                         CHRYSA GUIFFRE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CHRYSHNA CLINTON                       CHRYSTAL MCCANS                          CHRYSTAL STATEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     111 QUEEN ANNE
HOUSTON, TX 77025                      HOUSTON, TX 77025                        MADISON, TN 37115




CHRYSTLE HEIDER                        CHS GA LIMITED PARTNERSHIP               CHS-GA LIMITED PARTNERSHIP
10201 S. MAIN STREET                   ATTN: DON MARINO                         ATTN: DON MARINO
HOUSTON, TX 77025                      P.O. BOX 52428                           P.O. BOX 52428
                                       ATLANTA, GA 30355                        ATLANTA, GA 30355




CHS-GA LIMITED PARTNERSHIP             CHUCK BUSH                               CHUCK CAMPBELL
P.O. BOX 52428                         10201 S. MAIN STREET                     10201 S. MAIN STREET
ATTN: DON MARINO                       HOUSTON, TX 77025                        HOUSTON, TX 77025
ATLANTA, GA 30355




CHUCK CARROLL                          CHUCK GRIER                              CHUCK GRUBMAN
10201 S. MAIN STREET                                                            10201 S. MAIN STREET
HOUSTON, TX 77025                                                               HOUSTON, TX 77025




CHUCK HARRELL                          CHUCK HICKS                              CHUCK HOWARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CHUCK JONES                            CHUCK KEY                                CHUCK LANE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CHUCK LEPOW                            CHUCK NYCE                               CHUCK PAZDERNY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
CHUCK REDDY             Case 18-12241-CSS    Doc 26
                                       CHUCK REILLY         Filed 10/05/18     PageCHUCK
                                                                                    313 of  1739
                                                                                         WILLIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




CHUMP DEALER PRODUCTIONS INC            CHUMP DEALER PRODUCTIONS INC               CHUNCY MOORE
2245 LA AMATISTA RD                     5572 HAVENRIDGE WAY                        10201 S. MAIN STREET
DEL MAR, CA 92014                       SAN DIEGO, CA 92130                        HOUSTON, TX 77025




CHURCH LANE SHOPS LLC                   CHURCH RANCH LLC                           CHURN CREEK CENTER LLC
C/O MARYLAND FINANCIAL INVESTORS        1333 W 120TH AVE STE 110                   C/O KNORR MANAGEMENT, INC.
2800 QUARRY LAKE DRIVE, SUITE 340       WESTMINSTER, CO 80234                      1401 1/2 SOLANO STREET
ATTN: MELISSA EISNER                                                               CORNING, CA 96021
BALTIMORE, MD 21209



CHURN CREEK CENTER, LLC                 CHYENNE BERRIEN                            CI WARNER-ROBBINS LLC
C/O KNORR MANAGEMENT, INC.              10201 S. MAIN STREET                       C/O FICKLING MANAGEMENT SERVICES, LLC
1401 1/2 SOLANO STREET                  HOUSTON, TX 77025                          577 MULBERRY STREET, SUITE 1100
CORNING, CA 96021                                                                  MACON, GA 31202




CI WARNER-ROBBINS LLC                   CI WARNER-ROBBINS, LLC                     CIARA ALSTON
C/O FICKLING MANAGEMENT SERVICES, LLC   C/O FICKLING MANAGEMENT SERVICES, LLC      160 TYLER AVE
577 MULBERRY STREET, SUITE 1100         577 MULBERRY STREET, SUITE 1100            CARTERET, NJ 07008
MACON, GA 31202-9421                    MACON, GA 31202




CIARRA YATES                            CICELY BODWIN                              CICUIT COURT OF JACKSON CO AT
10201 S. MAIN STREET                    10201 S. MAIN STREET                       KANSAS CITY LOC
HOUSTON, TX 77025                       HOUSTON, TX 77025                          PO BOX 219533
                                                                                   KANSAS CITY, MO 64121




CIEARA IBARRA                           CIERA BOWIE                                CIERA NETHERTON
10201 S. MAIN STREET                                                               10201 S. MAIN STREET
HOUSTON, TX 77025                                                                  HOUSTON, TX 77025




CIERRA CADORE                           CIERRA DALEBROUX                           CIERRA GONZALES
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




CIFRINO-MASSACHUSETTS AVENUE REALTY     CIGNA BEHAVIORAL HEALTH INC                CIGNITI TECHNOLOGIES INC
LLC                                     P.O. BOX 1450 NW 7307                      433 E LAS COLINAS BLVD STE 1300
540 GALLIVAN BLVD                       MINNEAPOLIS, MN 55485-7307                 IRVING, TX 75039
BOSTON, MA 02124




CIII ML-CFC06-3 WALNUT HILL PLAZA       CIII ASSET MANAGEMENT LLC                  CIII MSCI 2007 IQ15 BRIDGEVIEW
C/O KEYPOINT PARTNERS LLC               D/B/A CIII MSCI 2007 IQ15 BRIDGEVIEW       ONE OAKBROOK TERRACE STE 600
ONE BURLINGTON WOODS DR                 ONE OAKBROOK TERRACE STE 600               OAKBROOK TERRACE, IL 60181
BURLINGTON, MA 01803                    OAKBROOK TERRACE, IL 60181
                         Case
CIIIML-CFC06-3 WALNUT HILL PLAZA18-12241-CSS      Doc 26 Filed
                                          CIJI BURNETT           10/05/18   PageCIM
                                                                                 314  of 1739
                                                                                    GROUP
ONE BURLINGTON WOODS DR                   10201 S. MAIN STREET                  ILARIA OUTHOUSE, CPM
BURLINGTON, MA 01803                      HOUSTON, TX 77025                     4131 NORTH CENTRAL EXPRESSWAY, SUITE
                                                                                448
                                                                                DALLAS, TX 75204



CIMA COLLINA WINERY LLC                CIMARRON MUD                             CIMCO REALTY LLC
3344 PAUL DAVIS DR STE 6               11111 KATY FWY 725                       240 A NEWBURY ST
MARINA, CA 93933                       HOUSTON, TX 77079-2197                   BOSTON, MA 02116-2504




CIMCO REALTY LLC                       CIMCO REALTY LLC                         CIMINELLI REAL ESTATE CORPORATION
913 BOYLSTON STREET, UNIT #1           913 BOYLSTON STREET, UNIT 1              50 FOUNTAIN PLAZA, STE 500
BOSTON, MA 02115                       BOSTON, MA 02115                         BUFFALO, NY 14202




CIN PALM BEACH LLC                     CINCINNATI BELL                          CINCINNATI BELL
9130 S DADELAND BLVD STE 1509          221 E FOURTH ST                          P.O. BOX 748003
MIAMI, FL 33156                        CINCINNATI, OH 45202                     CINCINNATI, OH 45274




CINCINNATI INCOME TAX DIVISION         CINCINNATI USA REGIONAL CHAMBER          CINCINNATI USA REGIONAL CHAMBER
P.O. BOX 634580                        3 EAST FOURTH ST                         P.O. BOX 630511
CINCINNATI, OH 45263-4580              CINCINNATI, OH 45202                     CINCINNATI, OH 45263-0511




CINCO MUD 12                           CINCO RANCH PROPERTY LP                  CINCY LIFE SAFETY SYSTEMS, LLC
ATTN: TAX ASSESSOR-COLLECTOR           4845 HWY 6 NORTH                         7594 CHRISTINE DRIVE
P.O. BOX 3155                          HOUSTON, TX 77084                        CINCINNATI, OH 45241
HOUSTON, TX 77253-3155




CINDI BROWN                            CINDI MCTIERNAN                          CINDY BICKHAUS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CINDY DUNTEMAN                         CINDY FERRELL                            CINDY FOY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CINDY HONG                             CINDY KEENAN                             CINDY PURNELL-GREENE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CINDY REYES                            CINDY SMITH                              CINDY STALEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
CINDY TRAIDMAN         Case    18-12241-CSS     Doc 26
                                         CINDY TRAN         Filed 10/05/18   PageCINNAMINSON
                                                                                  315 of 1739FIRE DISTRICT
173 JASMINE CT                           10201 S. MAIN STREET                     1621 RIVERTON RD
MOUNTAIN VIEW, CA 94043                  HOUSTON, TX 77025                        CINNAMINSON, NJ 08077




CINNAMINSON SEWER AUTHORITY              CINNAMINSON SEWER AUTHORITY              CINNAMINSON TOWNSHIP
1621 RIVERTON RD                         1621 RIVERTON RD.                        MUNICIPAL CLERK
CINNAMINSON, NJ 08077-2335               CINNAMINSON, NJ 08077-2335               1621 RIVERTON RD
                                                                                  CINNAMINSON, NJ 08077




CINTAS CORPORATION 391                   CINTAS CORPORATION NO 2                  CINTAS CORPORATION
P.O. BOX 630803                          D/B/A METRO DOOR                         CINTAS LOC 82
CINCINNATI, OH 45263                     3500 SUNRISE HWY BLDG 100 STE 210        P.O. BOX 650838
                                         PO BOX 9001                              DALLAS, TX 75265-0838
                                         GREAT RIVER, NY 11739-9001



CINTAS CORPORATION                       CINTAS CORPORATION                       CINTAS DOCUMENT MANAGEMENT
P.O. BOX 29059                           P.O. BOX 740855                          CINTAS CORPORATON
PHOENIX, AZ 85038-9059                   CINCINNATI, OH 45274                     P.O. BOX 633842
                                                                                  CINCINNATI, OH 45263




CINTAS F75/F94                           CINTAS FAS LOCKBOX 636525                CINTAS FIRE PROTECTION -LOC 335
3292 MOMENTUM PLACE                      P.O. BOX 636525                          P.O. BOX 636525
CHICAGO, IL 60689-5332                   CINCINNATI, OH 45263-6525                CINCINNATI, OH 45263-6525




CINTAS R.U.S. LP                         CINTAS                                   CINTHIA FLORES
D/B/A CINTAS CORPORATION                 P.O. BOX 631025                          10201 S. MAIN STREET
P.O. BOX 650838                          CINCINNATI, OH 45263-1025                HOUSTON, TX 77025
DALLAS, TX 75265-0838




CINTHYA ESCALERA                         CINTHYA VALLEJO CHAVEZ                   CIP RODRIGUEZ
6098 MONTEREY HWY 202                    1356 EAST 50TH ST                        10201 S. MAIN STREET
SAN JOSE, CA 95138                       LOS ANGELES, CA 90011                    HOUSTON, TX 77025




CIRCLE GRAPHICS INC                      CIRCLE GRAPHICS                          CIRCLE PARKING INC
120 9TH AVE                              P.O. BOX 670707                          4018 BRANDYWINE ST NW
LONGMONT, CO 80501                       DALLAS, TX 75267-0707                    WASHINGTON, DC 20016




CIRCUIT CLERK GREENE CO                  CIRCUIT COURT CLERK                      CIRCUIT COURT PARKING TAG OFFI
1010 N BOONVILLE                         P.O. BOX 707                             P.O. BOX 78
SPRINGFIELD, MO 65802                    WHEATON, IL 60187-0707                   PORTLAND, OR 97207-0178




CIRE EQUITY                              CIRE INVESTMENT SERVICES, INC.           CISCO SYSTEMS CAPITAL CORP
PECAN RETAIL I, LLC                      530 B STREET, SUITE 2050                 C/O PROPERTY TAX ALLIANCE INC
9744 W. NORTHERN AVENUE 1360             SAN DIEGO, CA 92101                      P.O. BOX 311746
PEORIA, AZ 85345                                                                  NEW BRAUNFELS, TX 78131-1746
                       Case
CISCO SYSTEMS CAPITAL CORP     18-12241-CSS     Doc 26CAPITAL
                                         CISCO SYSTEMS   Filed  10/05/18 PageCISCO
                                                              CORPORATION     316 WEBEX
                                                                                   of 1739
                                                                                        LLC.
P.O. BOX 742927                          170 W TASMAN DRIVE                   16720 COLLECTIONS CENTER DR
LOS ANGELES, CA 90074-2927               MS SJ13-3                            CHICAGO, IL 60693
                                         SAN JOSE, CA 95134




CIT GROUP/COMMERCIAL SERVICES INC        CIT                                  CITADEL BROADCASTING CO
P.O. BOX 1036                            21146 NETWORK PLACE                  CUMULUS BATON ROUGE WEMX-FM
CHARLOTTE, NC 28201                      CHICAGO, IL 60673-1211               631 MAIN ST
                                                                              BATON ROUGE, LA 70801




CITADEL BROADCASTING CO                  CITADEL BROADCASTING KNOXVILLE       CITADEL CROSSING ASSOCIATES
CUMULUS-BATON ROUGE                      3640 MOMENTUM PLACE                  5850 CANOGA AVE, SUITE 650
3631 MOMENTUM PLACE                      CHICAGO, IL 60689-5336               ATTN: PATRICK NESBITT
CHICAGO, IL 60689                                                             WOODLAND HILLS, CA 91367




CITADEL CROSSING ASSOCIATES              CITADEL CROSSING ASSOCIATES          CITATION MANAGEMENT GROUP INC.
ATTN: PATRICK NESBITT                    P.O. BOX 912460                      NANCY CASTRO, LEASE ADMINISTRATOR
5850 CANOGA AVE, SUITE 650               DENVER, CO 80291                     5512 PACIFIC HIGHWAY EAST
WOODLAND HILLS, CA 91367                                                      FIFE, WA 98424




CITIBANK N.A.                            CITIBANK N.A.                        CITIBANK N.A.
C/O CITI REALTY SERVICES A/R             C/O CITI REALTY SERVICES A/R         C/O CITI REALTY SERVICES
P.O. BOX 7247-6970                       P.O. BOX 7247-6970                   710 RIVERPOINT COURT, 0268
PHILADELPHIA, PA 19170                   PHILADELPHIA, PA 19170-6970          ATTN: REAL ESTATE DIRECTOR
                                                                              WEST SACRAMENTO, CA 95605



CITIBANK NA                              CITIBANK NA                          CITIBANK NA
3950 REGENT BLVD., S2A-267               3950 REGENT BLVD., S2B-240           3950 REGENT BLVD., S2B-240
IRVING, TX 75063                         IRVING, NY 75063                     IRVING, TX 75063




CITIBANK NA                              CITIBANK, N.A.                       CITI-CARGO & STORAGE CO INC
ONE RXR PLAZA LL                         C/O CITI REALTY SERVICES             900 APOLLO RD
UNIONDALE, NY 11530                      710 RIVERPOINT COURT, #0268          EAGAN, MN 55121
                                         ATTN: REAL ESTATE DIRECTOR
                                         WEST SACRAMENTO, CA 95605



CITICASTER COMPANY                       CITICASTER COMPANY                   CITICASTERS CO
WPOC-FM                                  WZFT-FM                              D/B/A WBULFM WKQQFM WLAPAM
711 WEST 40TH ST 350                     711 W 40TH ST STE 350                20880 STONE OAK PKWY
BALTIMORE, MD 21211                      BALTIMORE, MD 21211                  SAN ANTONIO, TX 78258




CITICASTERS CO                           CITICASTERS CO                       CITICASTERS CO
IHEART ATLANTA                           IHEART DENVER                        IHEART SALT LAKE CITY
20880 STONE OAK PKWY                     20880 STONE OAK PKWY                 4053 COLLECTIONS CENTER DR
SAN ANTONIO, TX 78258                    SAN ANTONIO, TX 78258                CHICAGO, IL 60693




CITICASTERS CO                           CITICASTERS CO                       CITICASTERS CO
KEGL-FM                                  P.O. BOX 419499                      P.O. BOX 847572
P.O. BOX 847572                          BOSTON, MA 02241-9499                DALLAS, TX 75284-7572
DALLAS, TX 75284-7572
CITICASTERS CO            Case 18-12241-CSS     DocINC.
                                         CITIGROUP,  26      Filed 10/05/18    PageCITIMARK
                                                                                    317 ofMANAGEMENT
                                                                                            1739     CO., INC.
WUBL-FM                                   ATTN: GENERAL COUNSEL REAL ESTATE        ATTN: KURT KREILEN
20880 STONE OAK PKWY                      ONE COURT SQUARE, 45TH FLOOR             350 EAST NEW YORK ST, SUITE 200
SAN ANTONIO, TX 78258                     LONG ISLAND CITY, NY 11120               INDIANAPOLIS, IN 46204




CITIZEN TRIBUNE                           CITIZENS BANK, N.A.                      CITIZENS COMMERCIAL BANK
P.O. BOX 625                              3475 PIEDMONT ROAD                       ATTN: CAROLYN TAYLOR
MORRISTOWN, TN 37815                      SUITE 1260                               3475 PIEDMONT ROAD
                                          ATLANTA, GA 30305                        SUITE 1260
                                                                                   ATLANTA, GA 30305



CITIZENS COMMERCIAL BANK                  CITIZENS ENERGY GROUP                    CITIZENS ENERGY GROUP
ATTN: LISA FINN                           2020 N MERIDIAN ST                       P.O. BOX 7056
3475 PIEDMONT ROAD                        INDIANAPOLIS, IN 46202                   INDIANAPOLIS, IN 46207-7056
SUITE 1260
ATLANTA, GA 30305



CITIZENS FIRST BANK                       CITIZENS GAS                             CITIZENS WATER
ATTN: EDWIN GALLOWAY                      P.O. BOX 7056                            ATTN: PAYMENT PROCESSING
1805 CAMPBELL LANE                        INDIANAPOLIS, IN 46207-7056              P.O. BOX 1990
BOWLING GREEN, KY 42104                                                            INDIANAPOLIS, IN 46206-1990




CITRIX SYSTEMS INC                        CITRIX SYSTEMS                           CITRIX SYSTEMS, INC.
PO BOX 931686                             FILE 50264                               C/O WILEY REIN LLP
ATLANTA, GA 31193-1686                    LOS ANGELES, CA 90074-0264               ATTN: DAVID WESLOW
                                                                                   1776 K STREET NW
                                                                                   WASHINGTON, DC 20006



CITRUS CENTER CLINTON HILL, LLC           CITRUS CENTER CLINTON HILL, LLC          CITRUS CENTER HILL, LLC
C/O GULF COAST COMM, LLC D/B/A            C/O GULF COAST COMMERCIAL, LLC DBA       C/O TIME EQUITIES, INC
HYBRIDGE                                  HYBRIDGE                                 55 FIFTH AVE. , FL 15TH FLOOR
119 NORTH 11TH STREET, SUITE 300B         119 NORTH 11TH STREET, SUITE 300B        ATTN: AMI ZIFF
ATTN: CHRIS DOWD                          ATTN: CHRIS DOWD                         NEW YORK, NY 10003
TAMPA, FL 33602                           TAMPA, FL 33602


CITRUS CO TAX COLLECTOR                   CITRUS COUNTY BOARD OF COUNTY            CITRUS COUNTY BOARD OF COUNTY
210 N APOPKA AVE 100                      COMMISSION                               COMMISSION
INVERNESS, FL 34450                       P.O. BOX 1870                            SOLID WASTE MANAGEMENT
                                          LECANTO, FL 34460                        230 W. GULF TO LAKE HWY.
                                                                                   LECANTO, FL 34461



CITRUS COUNTY UTILITIES                   CITRUS COUNTY UTILITIES                  CITRUS HEIGHTS WATER DISTRICT
3600 W. SOVEREIGN PATH                    P.O. BOX 1870                            6230 SYLVAN ROAD
LECANTO, FL 34461                         LECANTO, FL 34460                        CITRUS HEIGHTS, CA 95610-5610




CITRUS HEIGHTS WATER DISTRICT             CITRUS PARK CAPITAL LLC                  CITRUS PARK CAPITAL LLC
DEPT. LA 23168                            C/O MORGAN PROPERTY GROUP                C/O MORGAN PROPERTY GROUP
PASADENA, CA 91185-3168                   13024 BALLANTYNE CORPORATE PLACE STE     13024 BALLANTYNE CORPORATE PLACE,
                                          250                                      SUITE 250
                                          ATTN: STEVEN CARTER                      ATTN: STEVEN CARTER
                                          CHARLOTTE, NC 28277                      CHARLOTTE, NC 28277


CITRUS PUBLISHING INC                     CITRUS PUBLISHING INC                    CITRUS
1624 N MEADOWCREST BLVD                   LANDMARK COMMUNITY NEWSPAPER             ATTN: PROPERTY TAX DEPT.
CRYSTAL RIVER, FL 34429                   P.O. BOX 788                             210 N APOPKA AVE 100
                                          SHELBYVILLE, KY 40066-0788               INVERNESS, FL 34450
                      Case
CITY & COUNTY OF BROOMFIELD    18-12241-CSS      Doc 26
                                         CITY & COUNTY     Filed 10/05/18
                                                       OF BROOMFIELD             PageCITY
                                                                                      318   of 1739
                                                                                          & COUNTY OF DENVER
ATTN: PROPERTY TAX DEPT.                  SALES TAX ADM DIVISION                     ATTN: PROPERTY TAX DEPT.
P.O. BOX 407                              P.O. BOX 407                               201 W COFLAX AVE DEPT 403
BROOMFIELD, CO 80038                      BROOMFIELD, CO 80038                       DENVER, CO 80202-5329




CITY & COUNTY OF DENVER                   CITY & COUNTY OF HONOLULU - TREASURY       CITY & COUNTY OF HONOLULU - TREASURY
DEPT OF FINANCE TREASURY DIV              530 S. KING STREET ROOM 115                DEPARTMENT OF ENVIRONMENTAL
P.O. BOX 660860                           HONOLULU, HI 96813                         SERVICES - REFUSE DIVISION
DALLAS, TX 75266                                                                     1000 ULUOHIA ST, STE 201
                                                                                     KAPOLEI, HI 96707



CITY & COUNTY OF HONOLULU                 CITY AND COUNTY OF BROOMFIELD              CITY AND COUNTY OF DENVER
530 S. KING STREET ROOM 115               ATTN: SALES & USE TAX DEPT.                MANAGER OF FINANCE
HONOLULU, HI 96813                        P.O. BOX 810067                            DEPT OF FINANCE TREASURY DIV
                                          DENVER, CO 80281-0067                      P.O. BOX 660860
                                                                                     DALLAS, TX 75266



CITY AND COUNTY OF DENVER                 CITY AND COUNTY OF HONOLULU                CITY AND COUNTY OF HONOLULU
PO BOX 17420                              BOARD OF WATER SUPPLY                      DEPARTMENT OF ENVIRONMENTAL
DENVER, CO 80217-0420                     630 SOUTH BERETANIA STREET                 SERVICES - WASTE WATER SYSTEMS
                                          HONOLULU, HI 96843                         1000 ULUOHIA ST, STE 308
                                                                                     KAPOLEI, HI 96707



CITY AND COUNTY OF HONOLULU               CITY AND COUNTY OF SAN FRANCISCO           CITY AND COUNTY OF SUMTER
P.O. BOX 135037                           C/O DEPT OF PUBLIC WORKS                   ATTN:BUSINESS LICENSE DEPT
HONOLULU, HI 96801-5037                   1155 MARKET ST 3RD FL                      P.O. BOX 1449
                                          SAN FRANCISCO, CA 94103                    SUMTER, SC 29151




CITY CENTER PARKING                       CITY CERTIFIED                             CITY FINANCE SERVICES
DEPT LA 24224                                                                        ATTN: BUSINESS LICENSE
PASADENA, CA 91185-4224                                                              801 ANDERSON ST
                                                                                     BRISTOL, TN 37620




CITY FUEL                                 CITY FUEL                                  CITY MEQUON - TREASURER
67 WILLOW ST                              P.O. BOX 5260                              11333 N CEDARBURG RD 60W
MANCHESTER, NH 03103                      MANCHESTER, NH 03108                       MEQUON, WI 53092-1930




CITY NEW SMYRNA BEACH                     CITY NEW SMYRNA BEACH                      CITY OF LODI
210 SAMS AVE                              CITY MAINTENANCE OPERATIONS DEPT           ATTN: FINANCE DEPT
NEW SMYRNA BEACH, FL 32168                124 INDUSTRIAL PARK AVENUE                 PO BOX 3006
                                          NEW SMYRNA BEACH, FL 32168                 LODI, CA 95241




CITY OF ABBEVILLE                         CITY OF ABERDEEN                           CITY OF ABERDEEN
P.O. BOX 427                              ATTN: FINANCE DEPT                         ATTN: TREASURER OF ABERDEEN
ABBEVILLE, AL 36310                       200 E MARKET ST                            60 N PARKE ST
                                          ABERDEEN, WA 98520-5207                    ABERDEEN, MD 21001




CITY OF ABILENE WATER SERVICE OFFICE      CITY OF ABILENE                            CITY OF ABILENE
P.O. BOX 3479                             P.O. BOX 3479                              WATER OFFICE
ABILENE, TX 79604-3479                    ABILENE, TX 79604-3479                     534 CYPRESS ST
                                                                                     ABILENE, TX 79601
CITY OF ABILENE           Case 18-12241-CSS
                                         CITY OF Doc 26 Filed 10/05/18
                                                 ACWORTH                 PageCITY
                                                                              319 OFof 1739
                                                                                    AIKEN
WATER UTILITES DEPT                       P.O. BOX 636                       P.O. BOX 1608
209 E HWY 80                              ACWORTH, GA 30101-0636             AIKEN, SC 29802
ABILENE, TX 79604




CITY OF AIKEN                             CITY OF AIKEN                      CITY OF AKRON
P.O. BOX 2458                             WATER, SEWER & STORMWATER          ATTN: UTILITIES BUSINESS OFFICE
AIKEN, SC 29802-2458                      135 LAURENS ST SW                  P.O. BOX 3674
                                          AIKEN, SC 29801                    AKRON, OH 44309-3674




CITY OF AKRON, OH - INCOME TAX DIVISION   CITY OF ALABASTER                  CITY OF ALABASTER
1 CASCADE PLAZA 11TH FLOOR                ATTN: SALES & USE TAX DEPT.        DEPT CS 1
AKRON, OH 44308                           P.O. BOX 830525                    P.O. BOX 830525
                                          BIRMINGHAM, AL 35283               BIRMINGHAM, AL 35283




CITY OF ALABASTER                         CITY OF ALAMEDA                    CITY OF ALAMOSA DBA SALES TAX RETURN
DEPT 3005                                 ATTN: FINANCE DEPT                 P.O. BOX 419
P.O. BOX 11407                            2263 SANTA CLARA AVEROOM 230       ALAMOSA, CO 81101-0419
BIRMINGHAM, AL 35246-3005                 ALAMEDA, CA 94501




CITY OF ALBANY                            CITY OF ALBEMARLE                  CITY OF ALBEMARLE
C/O TREASURER DIVISION                    P.O. BOX 190                       PUBLIC UTILITIES DEPT
P O BOX 447                               ALBEMARLE, NC 28002                144 N SECOND ST
ALBANY, GA 31702-0447                                                        ALBEMARLE, NC 28002




CITY OF ALCOA UTILITIES                   CITY OF ALCOA UTILITIES            CITY OF ALCOA UTILITIES
P.O. BOX 9610                             UTILITIES & BILLING                WATER & WASTEWATER SERVICES
ALCOA, TN 37701-9610                      223 ASSOCIATES BLVD                CITY OF ALCOA SERVICE CENTER
                                          ALCOA, TN 37701                    725 UNIVERSAL ST
                                                                             ALCOA, TN 37701



CITY OF ALCOA                             CITY OF ALCOA                      CITY OF ALEXANDER CITY
223 ASSOCIATES BLVD                       C/O OFFICE OF TREASURER            P.O. BOX 552
ALCOA, TN 37701-1943                      223 ASSOCIATES BLVD                ALEXANDER CITY, AL 35011
                                          ALCOA, TN 37701-1943




CITY OF ALEXANDRIA                        CITY OF ALEXANDRIA                 CITY OF ALEXANDRIA
ATTN: BUSINESS OFFICE                     ATTN: REVENUE ADMIN DIVISION       ATTN: TREASURY OFFICE - CITY HALL
PO.. BOX 71                               P.O. BOX 34850                     301 KING ST ROOM 1510
ALEXANDRIA, LA 71309                      ALEXANDRIA, VA 22334-0850          ALEXANDRIA, VA 22314




CITY OF ALEXANDRIA                        CITY OF ALEXANDRIA                 CITY OF ALEXANDRIA
ELECTRIC DISTRIBUTION                     GAS DISTRIBUTION DEPT              P.O. BOX 1925
PO BOX 71                                 PO BOX 71                          LAKE CHARLES, LA 70602-1925
ALEXANDRIA, LA 71309                      ALEXANDRIA, LA 71309




CITY OF ALEXANDRIA                        CITY OF ALEXANDRIA                 CITY OF ALEXANDRIA
P.O. BOX 34901                            WASTEWATER DEPT                    WATER PRODUCTION & DISTRIBUTION
ALEXANDRIA, VA 22334-0901                 PO BOX 71                          PO BOX 71
                                          ALEXANDRIA, LA 71309               ALEXANDRIA, LA 71309
CITY OF ALLENTOWN      Case 18-12241-CSS
                                      CITY OF Doc  26 Filed 10/05/18
                                              ALLENTOWN                      PageCITY
                                                                                  320 OFof 1739 (TAXES)
                                                                                        ALPHARETTA
ATTN: BUREAU OF REVENUE & AUDIT       ATTN: BUREAU OF REVENUE & AUDIT            P.O. BOX 349
435 HAMILTON ST RM 215                435 HAMILTON ST RM 215
ALLENTOWN, PA 18101                   ALLENTOWN, PA 18101-1685




CITY OF ALPHARETTA                    CITY OF ALPHARETTA                         CITY OF ALTAMONTE SPRINGS
ATTN: BUSINESS LICENSES & CODE        ATTN: FINANCE DEPARTMENT                   225 NEWBURYPORT AVE
ENFORCEMENT                           P.O. BOX 349                               ALTAMONTE SPRINGS, FL 32700-1
2 PARK PLAZA                          ALPHARETTA, GA 30009-0349
ALPHARETTA, GA 30009



CITY OF ALTAMONTE SPRINGS             CITY OF ALTON                              CITY OF AMERICAN FORK
225 NEWBURYPORT AVE                   101 E THIRD 102                            51 E MAIN
ALTAMONTE SPRINGS, FL 32701-3697      ALTON, IL 62002                            AMERICAN FORK, UT 84003




CITY OF AMMON                         CITY OF AMMON                              CITY OF AMMON
2135 SOUTH AMMON RD                   SANITATION DEPT, 2135 SOUTH AMMON RD       WASTE WATER DEPT, 2135 SOUTH AMMON
AMMON, ID 83406                       AMMON, ID 83406                            RD
                                                                                 AMMON, ID 83406




CITY OF AMMON                         CITY OF ANDALUSIA                          CITY OF ANDERSON
WATER DEPT, 2135 SOUTH AMMON RD       P.O. BOX 429                               601 S MAIN ST
AMMON, ID 83406                       ANDALUSIA, AL 36420                        ANDERSON, SC 29624




CITY OF ANN ARBOR TREASURER MI        CITY OF ANN ARBOR TREASURER MI             CITY OF ANNISTON
LARCOM CITY HALL                      P.O. BOX 77000                             ATTN: SALES & USE TAX DEPT.
301 E HURON ST, 1ST FL                DETROIT, MI 48277-0610                     P.O. BOX 2168
ANN ARBOR, MI 48104                                                              ANNISTON, AL 36202




CITY OF ANNISTON                      CITY OF ANSONIA                            CITY OF ANTIOCH
PO BOX 2168                           ATTN: TAX COLLECTOR                        ATTN: BUSINESS LICENSE DIVISION
ANNISTON, AL 36202                    P.O. BOX 253                               P.O. BOX 5007
                                      ANSONIA, CT 06401                          ANTIOCH, CA 94531-5007




CITY OF APACHE JUNCTION               CITY OF APEX                               CITY OF APOPKA
ATTN: TAX & LICENSING DIVISION        P.O. BOX 250                               120 E MAIN ST
300 E SUPERSTITION BLVD               APEX, NC 27502                             APOPKA, FL 32703
APACHE JUNCTION, AZ 85119




CITY OF APPLE VALLEY                  CITY OF APPLETON - FINANCE DEPT            CITY OF APPLETON
ATTN: UTILITY BILLING DEPT            P.O. BOX 2519                              P.O. BOX 1217
7100 147TH ST W                       APPLETON, WI 54912-2519                    APPLETON, WI 54912-1217
APPLE VALLEY, MN 55124-9016




CITY OF ARLINGTON                     CITY OF ARLINGTON                          CITY OF ARLINGTON
ATTN: PROPERTY TAX DEPT.              P.O. BOX 90020                             P.O. BOX 90231
P.O. BOX 90231                        ARLINGTON, TX 76004                        ARLINGTON, TX 76004-3231
ARLINGTON, TX 76004-3231
CITY OF ARLINGTON-TEXASCase
                       POLICE18-12241-CSS
                              DEPT     CITY OF Doc  26
                                               ARNOLD     Filed 10/05/18   PageCITY
                                                                                321 OFof 1739- TAX & AUDIT DIVISION
                                                                                      ARVADA
ATTN: AUTOMATED RED LIGHT              2101 JEFFCO BLVD                         P.O. BOX 8101
ENFORCEMENT                            ARNOLD, MO 63010                         ARVADA, CO 80001
P.O. BOX 742503
CINCINNATI, OH 45274



CITY OF ARVADA                         CITY OF ASHEBORO                         CITY OF ASHEBORO
ATTN: SALES & USE TAX DEPT.            P.O. BOX 1106                            P.O. BOX 2628
P.O. BOX 8101                          ASHEBORO, NC 27204-1106                  ASHEBORO, NC 27204-2628
ARVADA, CO 80001




CITY OF ASHEBORO                       CITY OF ASHEBORO                         CITY OF ASHEVILLE
PUBLIC WORKS DIVISION                  WATER RESOURCES DIVISION                 C/O METROPOLITAN SEWERAGE DISTRICT
1312 N FAYETTEVILLE ST                 CITY HALL, 146 N CHURCH ST               2028 RIVERSIDE DR
ASHBORO, NC 27203                      ASHBORO, NC 27204                        ASHEVILLE, NC 28804




CITY OF ASHEVILLE                      CITY OF ASHEVILLE                        CITY OF ASHEVILLE
P.O. BOX 602467                        P.O. BOX 733                             WATER RESOURCES DEPT
CHARLOTTE, NC 28260-2467               ASHEVILLE, NC 28802                      70 COOURT PLAZA, CITY HALL, MEZZANINE
                                                                                LEVEL
                                                                                ASHEVILLE, NC 28802



CITY OF ASHEVILLE-BUS/OCC LICE         CITY OF ASHLAND, KY                      CITY OF ASHTABULA
P.O. BOX 7148                                                                   ATTN: INCOME TAX DEPT
ASHEVILLE, NC 28802                                                             P.O. BOX 601
                                                                                ASHTABULA, OH 44005-0601




CITY OF ASHTABULA                      CITY OF ASHTABULA                        CITY OF ASPEN
P.O. BOX 2210                          SEWER & TRASH BILLING                    ATTN: BUSINESS LICENSE
ASHTABULA, OH 44005-2210               4717 MAN AVE                             P.O .BOX 912510
                                       ASHTABULA, OH 44004                      DENVER, CO 80291-2510




CITY OF ASPEN                          CITY OF ASPEN                            CITY OF ATHENS
ATTN: SALES & USE TAX DEPT.            C/O SALES TAX RETURN                     PO BOX 1089
P.O. BOX 912513                        P.O. BOX 912513                          ATHENS, AL 35612
DENVER, CO 80291                       DENVER, CO 80291-2513




CITY OF ATLANTA- WATER DEPARTMENT      CITY OF ATLANTA- ZONING DEPT             CITY OF ATLANTA
P.O. BOX 105275                        555 TRINITY AVE SUITE 1350               CITY HALL SOUTH
ATLANTA, GA 30348-5275                 ATLANTA, GA 30335                        55 TRINITY AVE SW
                                                                                ATLANTA, GA 30303




CITY OF ATLANTA                        CITY OF ATLANTA                          CITY OF ATTLEBORO
DEPT OF PUBLIC WORKS                   WATERSHED MANAGEMENT DEPT                ATTN: OFFICE OF THE CITY COLLECTOR
55 TRINITY AVE, SW                     72 MARIETTA ST                           P.O. BOX 844514
ATLANTA, GA 30303                      ATLANTA, GA 30303                        BOSTON, MA 02284-4514




CITY OF ATTLEBORO                      CITY OF AUBURN                           CITY OF AUBURN
CITY HALL                              25 W MAIN ST                             ATTN: PROPERTY TAX DEPT.
77 PARK ST                             AUBURN, WA 98001                         144 TICHNER AVE 6
ATTLEBORO, MA 02703                                                             AUBURN, AL 36830
CITY OF AUBURN          Case    18-12241-CSS
                                          CITY OF Doc 26
                                                  AUBURN     Filed 10/05/18   PageCITY
                                                                                   322 OFof 1739
                                                                                         AUBURN
ATTN: SALES & USE TAX DEPT.               P.O. BOX 34599                          REVENUE OFFICE
144 TICHNER AVE 6                         SEATTLE, WA 98124-1599                  144 TICHNER AVE 6
AUBURN, AL 36830                                                                  AUBURN, AL 36830




CITY OF AUBURN                            CITY OF AUBURN                          CITY OF AUGUSTA TAX COLLECTORS OFFICE
WATER & SEWER                             WATER WORKS BOARD                       16 CONY ST
1501 W SAMFORD AVE                        1501 W SAMFORD AVE                      AUGUSTA, ME 04330-5200
AUBURN, AL 36832                          AUBURN, AL 36832




CITY OF AURORA - TAX LICENSING DIVISION   CITY OF AURORA                          CITY OF AURORA
P.O. BOX 33001                            15151 E ALAMEDA PKWY                    ATTN: SALES & USE TAX DEPT.
AURORA, CO 80041                          AURORA, CO 80012                        15151 E ALAMEDA PKY 1100
                                                                                  AURORA, CO 80012




CITY OF AURORA                            CITY OF AURORA                          CITY OF AURORA
LICENSING OFFICE 1ST FLOOR                P.O. BOX 1004                           P.O. BOX 2697
15151 E ALAMEDA PKY 1100                  AURORA, CO 80040                        AURORA, IL 60507-2697
AURORA, CO 80012




CITY OF AURORA                            CITY OF AUSTIN                          CITY OF AUSTIN
WATER DEPT                                P.O. BOX 2267                           P.O. BOX 2267
15151 E ALAMEDA PKWY                      AUSTIN, TX 78783-2267                   AUSTIN,, TX 78783-2267
AURORA, CO 80012




CITY OF AUSTIN                            CITY OF AUSTIN                          CITY OF AVENTURA
SEWER DEPT                                WATER DEPT                              19200 WEST COUNTRY CLUB DR
2006 E 4TH ST                             2006 E 4TH ST                           AVENTURA, FL 33180
AUSTIN, TX 78701                          AUSTIN, TX 78701




CITY OF AVON                              CITY OF AVONDALE                        CITY OF BAKERSFIELD CA
ATTN: SALES & USE TAX DEPT.               ATTN: SALES TAX                         GARBAGE/RECYCLING DEPT
P.O. BOX 611                              11465 W CIVIC CENTER DRIVE270           4101 TRUXTUN AVE
MEDFORD, MA 02155-0007                    AVONDALE, AZ 85323-6808                 BAKERSFIELD, CA 93309




CITY OF BAKERSFIELD                       CITY OF BAKERSFIELD                     CITY OF BALTIMORE DIR FINANCE
P.O. BOX 2057                             P.O. BOX 2057                           ATTN: REVENUE COLLECTIONS
BAKERSFIELD, CA 93303                     BAKERSFIELD, CA 93303-2057              P.O. BOX 17535
                                                                                  BALTIMORE, MD 21297-1535




CITY OF BALTIMORE DIR FINANCE             CITY OF BANGOR TREASURY OFFICE          CITY OF BANGOR TREASURY DEPARTMENT
CITY HALL - ROOM 250                      73 HARLOW ST                            73 HARLOW ST
100 N HOLLIDAY ST                         BANGOR, ME 04401-5118                   BANGOR, ME 04401
BALTIMORE, MD 21202




CITY OF BANGOR                            CITY OF BANGOR                          CITY OF BANNING
ATTN: TREASURY DEPARTMENT                 WASTEWATER TREATMENT PLANT              P.O. BOX 998
73 HARLOW STREET                          760 MAIN                                BANNING, CA 92220
BANGOR, ME 04401                          BANGOR, ME 04401
CITY OF BARTLETT          Case 18-12241-CSS
                                         CITY OF Doc 26
                                                 BARTOW       Filed 10/05/18   PageCITY
                                                                                    323 OFof 1739
                                                                                          BARTOW
6400 STAGE RD                             ATTN: CITY CLERKS OFFICE                 ELECTRIC DEPT
P.O. BOX 341148                           PO BOX 1069                              CITY HALL, 450 N WILSON AVE
BARTLETT, TN 38184                        BARTOW, FL 33831                         BARTOW, FL 33830




CITY OF BARTOW                            CITY OF BARTOW                           CITY OF BARTOW
P.O. BOX 1069                             PUBLIC WORKS                             SOLID WASTE DEPT
BARTOW, FL 33831-1069                     300 E CHURCH ST                          2060 EAST HWY 60
                                          BARTOW, FL 33830                         BARTOW, FL 33830




CITY OF BARTOW                            CITY OF BATAVIA                          CITY OF BATAVIA
WATER DEPT                                100 N ISLAND AVE                         PUBLIC WORKS - ELECTRIC
P.O. BOX 1069                             BATAVIA, IL 60510                        200 N RADDANT RD
BARTOW, FL 33831-1069                                                              BATAVIA, IL 60510




CITY OF BATAVIA                           CITY OF BATAVIA                          CITY OF BATON ROUGE-PARISH OF
PUBLIC WORKS - SEWER                      PUBLIC WORKS - WATER                     EAST BR/DEPT OF FINANCE-
200 N RADDANT RD                          200 N RADDANT RD                         REVENUE DIVISION P.O. BOX 2590
BATAVIA, IL 60510                         BATAVIA, IL 60510                        BATON ROUGE, LA 70821-2590




CITY OF BAXTER                            CITY OF BAXTER                           CITY OF BAXTER
P.O. BOX 2626                             PUBLIC WORKS - SEWER                     PUBLIC WORKS - WATER
BAXTER, MN 56425                          13190 MEMORYWOOD DR                      13190 MEMORYWOOD DR
                                          BAXTER, MN 56425                         BAXTER, MN 56425




CITY OF BAY CITY                          CITY OF BAY CITY                         CITY OF BAY CITY
ATTN: TREASURERS OFFICE                   ATTN: TREASURERS OFFICE                  ELECTRIC DEPT
301 WASHINGTON AVE                        301 WASHINGTON AVE                       900 S WATER ST
BAY CITY, MI 48708-5837                   BAY CITY, MI 48708-5866                  BAY CITY, MI 48708




CITY OF BAY CITY                          CITY OF BAY CITY                         CITY OF BAY CITY
SANITATION DEPT                           SEWER MAINTENANCE DEPT                   WATER DISTRIBUTION/METERING
301 WASHINGTON AVE, STE 413               2905 N WATER ST                          301 WASHINGTON AVE, STE 403
BAY CITY, MI 48708                        BAY CITY, MI 48708                       BAY CITY, MI 48708




CITY OF BAY MINETTE                       CITY OF BAYONNE                          CITY OF BAYTOWN (TAXES)
301 DOLIVE ST                             FIRE PREVENTION BUREAU                   P.O. BOX 301460
BAY MINETTE, AL 36507                     630 AVENUE C                             DALLAS, TX 75303-1460
                                          BAYONNE, NJ 07002




CITY OF BAYTOWN                           CITY OF BAYTOWN                          CITY OF BAYTOWN
ATTN: SIGN INSPECTOR                      P.O. BOX 301460                          PUBLIC WORKS
2401 MARKET ST                            DALLAS, TX 75303-1460                    2401 MARKET ST
BAYTOWN, TX 77520                                                                  BAYTOWN, TX 77520




CITY OF BEAUMONT                          CITY OF BEAUMONT                         CITY OF BEAUMONT
P.O. BOX 521                              WATER ADMINISTRATION, WATER/SEWER        WATER PRODUCTION, WATER QUALITY
BEAUMONT, TX 77704-0521                   MAINTENANCE                              CONTROL
                                          1350 LANGHAM                             1550 PINE
                                          BEAUMONT, TX 77707                       BEAUMONT, TX 77703
                        Case 18-12241-CSS
CITY OF BEAVER DAM TREASURER           CITY OF Doc  26 Filed 10/05/18
                                               BEAVERTON                   PageCITY
                                                                                324 OFof 1739
                                                                                      BEAVERTON
205 S LINCOLN AVE                      OPERATONS/MAINTENANCE                   P.O. BOX 4755
BEAVER DAM, WI 53916-2323              THE BEAVERTON BUILDING, 12725 SW        BEAVERTON, OR 97076-4755
                                       MILIKAN WAY
                                       BEAVERTON, OR 97005



CITY OF BEAVERTON                      CITY OF BELLEVUE                        CITY OF BELLEVUE
WATER UTILITIES                        P.O. BOX 1500                           P.O. BOX 34372
THE BEAVERTON BUILDING, 12725 SW       HEMET, CA 92546                         SEATTLE, WA 98124-1372
MILIKAN WAY
BEAVERTON, OR 97005



CITY OF BELLINGHAM                     CITY OF BELOIT                          CITY OF BELTON, MISSOURI
ATTN: FINANCE DEPT                     2400 SPRINGBROOK CT                     506 MAIN STREET
210 LOTTIE ST                          BELOIT, WI 53511                        BELTON, MO 64012
BELLINGHAM, WA 98225




CITY OF BEND                           CITY OF BEREA                           CITY OF BERKELEY
PO BOX 1348                            212 CHESTNUT ST                         1947 CENTER ST
BEND, OR 97709-1348                    BEREA, KY 40403                         BERKELEY, CA 94704




CITY OF BERWYN                         CITY OF BERWYN                          CITY OF BERWYN
6700 26TH ST                           6700 W 26TH ST                          WATER DEPT
BERWYN, IL 60402                       BERWYN, IL 60402-0701                   6700 26TH ST
                                                                               BERWYN, IL 60402




CITY OF BEVERLY                        CITY OF BIDDEFORD                       CITY OF BIDDEFORD
ATTN: PAYMENT PROCESSING               205 MAIN ST                             P.O. BOX 0235
P.O. BOX 178                           BIDDEFORD, ME 04005                     BRATTLEBORO, VT 05302-0235
MEDFORD, MA 02155-0002




CITY OF BIDDEFORD                      CITY OF BIRMINGHAM                      CITY OF BIRMINGHAM
P.O. BOX 586                           710 N 20TH ST RM TL-100 CITY HALL       ATTN: SALES & USE TAX DEPT.
BIDDEFORD, ME 04005-0586               BIRMINGHAM, AL 35203-2227               P.O. BOX 830638
                                                                               BIRMINGHAM, AL 35283-0638




CITY OF BLACK HAWK                     CITY OF BLACK HAWK                      CITY OF BLAINE UTILITIES
ATTN: SALES & USE TAX DEPT.            C/O SALES TAX RETURN                    9380 CENTRAL AVE NE
P.O. BOX 68                            P.O. BOX 68                             BLAINE, MN 55434
BLACK HAWK, CO 80422                   BLACK HAWK, CO 80422




CITY OF BLAINE UTILITIES               CITY OF BLAINE UTILITIES                CITY OF BLAINE
PUBLIC WORKS - SEWER                   PUBLIC WORKS - WATER                    CO 21ST CENTURY BANK
1801 101ST AVE, NE                     1801 101ST AVE, NE                      9380 CENTRAL AVE NE
BLAINE, MN 55449                       BLAINE, MN 55449                        MINNEAPOLIS, MN 55434




CITY OF BLOOMINGTON UTILITES           CITY OF BLOOMINGTON UTILITIES           CITY OF BLOOMINGTON UTILITIES
ATTN: ACCOUNTS RECEIVABLE              ATTN: ACCOUNTS RECEIVABLE               UTILITIES
P.O. BOX 2500                          P.O. BOX 2500                           600 E MILLER DR
BLOOMINGTON, IN 47402-2500             BLOOMINGTON, IN 47402-2500              BLOOMINGTON, IN 47401
                        Case
CITY OF BLUE SPRINGS UTIL BILL    18-12241-CSS
                                            CITY OF Doc  26 Filed
                                                    BLUE SPRINGS-     10/05/18
                                                                  UTILITY BILLING    PageCITY
                                                                                          325 OFof 1739
                                                                                                BLUE SPRINGS
WATER & SEWER                                 P.O. BOX 219253                            903 WEST MAIN STREET
903 W MAIN ST                                 KANSAS CITY, MO 64121-9253                 BLUE SPRINGS, MO 64015
BLUE SPRINGS, MO 64015




CITY OF BLUE SPRINGS-TAXES                    CITY OF BOCA RATON                         CITY OF BOCA RATON
903 W MAIN ST                                 ATTN: BUSINESS TAX AUTHORITY               ATTN: UTILITIES PROCESSING CENTER
BLUE SPRINGS, MO 64015                        201 W PALMETTO RD                          P.O. BOX 31042
                                              BOCA RATON, FL 33432-3795                  TAMPA, FL 33631-3042




CITY OF BOCA RATON                            CITY OF BOCA RATON                         CITY OF BORDENTOWN
P.O. BOX 402053                               UTILITY SERVICES                           ATTN: WATER DEPARTMENT
ATLANTA, GA 30384-2053                        BOCA RATON CITY HALL, 201 W PALMETTO       324 FARNSWORTH AVENUE
                                              PARK RD                                    BORDENTOWN, NJ 08505
                                              BOCA RATON, FL 33432



CITY OF BORDENTOWN                            CITY OF BOSSIER CITY                       CITY OF BOSSIER CITY
WATER DEPT                                    ATTN: PROPERTY TAX DEPT.                   ATTN: TAX DIVISION
324 FARNSWORTH AVE                            P.O. BOX 5399                              P.O. BOX 5399
BORDENTOWN, NJ 08505                          BOSSIER CITY, LA 71171-5399                BOSSIER CITY, LA 71171-5399




CITY OF BOSTON                                CITY OF BOTHELL COMMUNITY                  CITY OF BOULDER- FINANCE DEPT
ATTN: TREASURY DEPT                           DEVELOPMENT                                P.O. BOX 791
P.O. BOX 9715                                 ATTN: NEW BUSINESS LICENSES                BOULDER, CO 80302
BOSTON, MA 02114                              18415 101ST AVE NE
                                              BOTHELL, WA 98011



CITY OF BOULDER UTILITY BILLING               CITY OF BOULDER                            CITY OF BOULDER
P.O. BOX 2140                                 1777 BROADWAY                              ATTN: SALES & USE TAX DEPT.
BOULDER, CO 80306-2140                        B OULDER, CO 80302                         P.O. BOX 791
                                                                                         BOULDER, CO 80302




CITY OF BOULDER                               CITY OF BOUNTIFUL UTILITIES                CITY OF BOUNTIFUL UTILITIES
P.O. BOX 791                                  BOUNTIFUL CITY HALL                        P.O. BOX 140101
BOULDER, CO 80302                             790 S 100 EAST                             SALT LAKE CITY, UT 84114-0101
                                              BOUNTIFUL, UT 84010




CITY OF BOUNTIFUL                             CITY OF BOWIE MD                           CITY OF BOWIE
790 S 100 E                                   ATTN: FINANCE DEPT                         ATTN: WATER & SEWER SYSTEM
BOUNTIFUL, UT 84010                           15901 EXCALIBUR RD                         15901 EXCALIBUR RD
                                              BOWIE, MD 20716                            BOWIE, MD 20716




CITY OF BOWIE                                 CITY OF BOWLING GREEN KY                   CITY OF BOWLING GREEN
WATER & SEWER SYSTEM, 15901                   P.O. BOX 643791                            P.O. BOX 1410
EXCALIBUR RD                                  CINCINNATI, OH 45264-3791                  BOWLING GREEN, KY 42102-1410
BOWIE, MD 20716




CITY OF BOYNTON BEACH                         CITY OF BOYNTON BEACH                      CITY OF BOYNTON BEACH
ATTN: CASHIERS-FIRE INSPECTION FEES           C/O BUSINESS TAX DIVISION                  P.O. BOX 190
P.O. BOX 310                                  100 E BOYNTON BLVD                         BOYNTON BEACH, FL 33425-0190
BOYNTON BEACH, FL 33425-0310                  BOYNTON BEACH, FL 33425-0190
CITY OF BOYNTON BEACH Case       18-12241-CSS
                                           CITY OF Doc 26 UTILITIES
                                                   BRANSON Filed 10/05/18       PageCITY
                                                                                     326 OFof 1739 UTILITIES
                                                                                           BRANSON
WATER UTILITIES                            110 W MADDUX SUITE 200                    110 W MADDUX ST STE 200
3301 QUANTUM BLVD, STE 101                 BRANSON, MO 65616                         BRANSON, MO 65616
BOYNTON BEACH, FL 33426




CITY OF BRANSON UTILITIES                  CITY OF BRANSON                           CITY OF BRECKENRIDGE
110 W MADDUX                               110 W MADDUX SUITE 200                    ATTN: SALES & USE TAX DEPT.
SUITE 200                                  BRANSON, MO 65616                         P.O. BOX 8629
BRANSON, MO 65616                                                                    BRECKENRIDGE, CO 80424




CITY OF BREMERTON                          CITY OF BRENTWOOD                         CITY OF BRENTWOOD
ATTN: TAX & LICENSE DIVISION               150 CITY PARK WAY                         2348 BRENTWOOD BLVD.
345 SIXTH ST STE 600                       BRENTWOOD, CA 94513                       BRENTWOOD, MO 63144
BREMERTON, WA 98337-1873




CITY OF BRENTWOOD                          CITY OF BRENTWOOD                         CITY OF BRENTWOOD
P.O. BOX 7194                              P.O. BOX 788                              UTILITY BILLING
PASADENA, CA 91109-7194                    BRENTWOOD, TN 37024-0788                  CITY HALL, 150 CITY PARK WAY
                                                                                     BRENTWOOD, CA 94513




CITY OF BRIDGEPORT                         CITY OF BRIGHTON                          CITY OF BRIGHTON
ATTN: TAX COLLECTOR                        ATTN: FINANCE DEPT SALES TAX              ATTN: SALES & USE TAX DEPT.
325 CONGRESS ST                            500 SO. 4TH AVE                           500 SO. 4TH AVE
BRIDGEPORT, CT 06604                       BRIGHTON, CO 80601                        BRIGHTON, CO 80601




CITY OF BRISTOL TN FINANCE DPT             CITY OF BRISTOL TN FINANCE DPT            CITY OF BRISTOL
801 ANDERSON ST                            P.O. BOX 1348                             ATTN: COMMISSIONER OF THE REVENUE
ROOM 203                                   BRISTOL, TN 37621-1348                    497 CUMBERLAND ST
BRISTOL, TN 37620                                                                    BRISTOL, VA 24201




CITY OF BRISTOL-TENNESSEE                  CITY OF BROOKHAVEN                        CITY OF BROOKHAVEN
FINANCE DEPT                               200 ASHFORD CENTER NORTH SUITE 150        4362 PEACHTREE RD
P.O. BOX 1348                              ATLANTA, GA 30338                         ATLANTA, GA 30319
BRISTOL, TN 37621-1348




CITY OF BRUNSWICK                          CITY OF BRUNSWICK                         CITY OF BRYANT
ATTN: BUSINESS LICENSE DEPT                ATTN: INCOME TAX DEPT                     312 ROYA LN
P.O. BOX 550                               P.O. BOX 816                              BRYANT, AR 72022
BRUNSWICK, GA 31521-0550                   BRUNSWICK, OH 44212-0816




CITY OF BUDA TX                            CITY OF BUDA TX                           CITY OF BUDA
405 E LOOP ST                              P.O. BOX 1380                             405 E LOOP ST
BUILDING 100                               BUDA, TX 78610-1380                       BUILDING 100
BUDA, TX 78610                                                                       BUDA, TX 78610




CITY OF BUDA                               CITY OF BUFORD GA                         CITY OF BUFORD
P.O. BOX 1380                              UTILITY DEPT                              2300 BUFORD HWY
BUDA, TX 78610-1380                        2300 BUFORD HWY                           BUFORD, GA 30518
                                           BUFORD, GA 30518
CITY OF BUFORD            Case 18-12241-CSS
                                         CITY OF Doc 26
                                                 BUFORD      Filed 10/05/18      PageCITY
                                                                                      327 OFof 1739 CITY
                                                                                            BULLHEAD
2300 BUFORD HWY                           UTILITY DEPT                               ATTN: FINANCE DEPT
BUFORD, GA 30518-6144                     2300 BUFORD HWY                            P.O. BOX 23189
                                          BUFORD, GA 30518                           BULLHEAD CITY, AZ 86439




CITY OF BULLHEAD CITY                     CITY OF BULLHEAD CITY                      CITY OF BURIEN
ATTN: FINANCE DEPT                        WATER RESOURCES DIVISION                   400 SW 152ND ST STE 300
P.O. BOX 23189                            2355 TRANE RD                              BURIEN, WA 98166
BULLHEAD CITY, AZ 86439-3189              BULLHEAD CITY, AZ 86429




CITY OF BURIEN                            CITY OF BURLESON UTILITY BILLING           CITY OF BURLESON
P.O. BOX 314                              141 WEST RENRO ST                          141 W RENFRO
SEAHURST, WA 98062                        BURLESON, TX 76028-4261                    BURLESON, TX 76028




CITY OF BURLESON                          CITY OF BURLINGTON - TAX DEPARTMENT        CITY OF BURLINGTON
PUBLIC WORKS                              P.O. BOX 1358                              833 S SPRUCE ST
725 SE JOHN JONES DR                      BURLINGTON, NC 27216                       BURLINGTON, WA 98233
BURLESON, TX 76028-4296




CITY OF BURLINGTON                        CITY OF BURLINGTON                         CITY OF CALLAWAY
P.O. BOX 1358                             UTILITIES SERVICES                         ATTN: BUSINESS TAX DEPARTMENT
BURLINGTON, NC 27216-1358                 237 W MAPLE AVE                            6601 E HWY 22
                                          BURLINGTON, NC 27215                       CALLAWAY, FL 32404




CITY OF CALLAWAY                          CITY OF CALUMET CITY                       CITY OF CAMBRIDGE
WATER/SEWER DIVISION                      204 PULASKI RD                             CITY HALL
6601 E HWY 22                             CALUMET CITY, IL 60409                     P.O. BOX 399142
CALLAWAY, FL 32404                                                                   CAMBRIDGE, MA 02139




CITY OF CANON CITY DBA SALES TAX          CITY OF CANON CITY                         CITY OF CANON CITY
RETURN                                    ATTN: SALES & USE TAX DEPT.                P.O. BOX 17946
P.O. BOX 17946                            P.O. BOX 17946                             DENVER, CO 80217-0946
DENVER, CO 80217-0946                     DENVER, CO 80217-0946




CITY OF CANTON                            CITY OF CANTON, OH - INCOME TAX DIVISION   CITY OF CAPE CORAL
ATTN: BUSINESS LICENSE DEPT               P.O. BOX 9940                              P.O. BOX 31526
151 ELIZABETH ST                          CANTON, OH 44711                           TAMPA, FL 33631-3526
CANTON, GA 30114




CITY OF CAPE CORAL                        CITY OF CAPE GIRARDEAU                     CITY OF CAPE GIRARDEAU
UTILITIES DEPT                            ATTN: BUSINESS LICENSE DEPT.               ATTN: PROPERTY TAX DEPT.
1015 CULTURAL PARK BLVD                   PO BOX 617                                 PO BOX 617
CAPE CORAL, FL 33990                      CAPE GIRARDEAU, MO 63702-0617              CAPE GIRARDEAU, MO 63702




CITY OF CAPITOLA                          CITY OF CARBONDALE                         CITY OF CARLSBAD
420 CAPITOLA AVE                          ATTN: SALES & USE TAX DEPT.                1635 FARADAY AVE
CAPITOLA, CA 95010                        511 COLORADO AVE                           CARLSBAD, CA 92008
                                          CARBONDALE, CO 81623-4001
CITY OF CARLSBAD          Case 18-12241-CSS
                                         CITY OF Doc 26 Filed 10/05/18
                                                 CARROLLTON                  PageCITY
                                                                                  328 OFof 1739
                                                                                        CARROLLTON
1635 FARADAY AVENUE                      ALARM PERMITS                            P.O. BOX 115120
CARLSBAD, CA 92008                       PO BOX 115125                            CARROLLTON, TX 75011-5120
                                         CARROLLTON, TX 75011-5125




CITY OF CARROLLTON                       CITY OF CARROLLTON                       CITY OF CARROLLTON
P.O. BOX 1949                            P.O. BOX 1949                            UTILITIES DEPT
CARROLLTON, GA 30112                     CARROLLTON, GA 30112-0037                CITY HALL, 315 BRADLEY ST, 1ST FL
                                                                                  CARROLLTON, GA 30112




CITY OF CARTERSVILLE UTILITIES           CITY OF CARTERSVILLE UTILITIES           CITY OF CARTERSVILLE
1 N ERWIN ST                             P.O. BOX 1390                            P.O. BOX 1390
CARTERSVILLE, GA 30120                   CARTERSVILLE, GA 30120-1390              CARTERSVILLE, GA 30120




CITY OF CARTERSVILLE                     CITY OF CASA GRANDE                      CITY OF CASSELBERRY
P.O. BOX 1390                            ATTN: FINANCE DEPT                       ATTN: BUSINESS TAX RECEIPT DIV
CARTERSVILLE, GA 30120-1390              510 E FLORANCE BLVD                      95 TRIPLET LAKE DR
                                         CASA GRANDE, AZ 85122                    CASSELBERRY, FL 32707-3399




CITY OF CASSELEBERRY                     CITY OF CATHEDRAL CITY                   CITY OF CEDAR HILL
P.O. BOX 180819                          BUSINESS LICENSE                         ATTN: UTILITY BILLING
95 TRIPLET LAKE DR.                      68-700 AVENIDA LALO GUERRERO             285 UPTOWN BLVD. BLDG 100
CASSELEBERRY, FL 32707                   CATHEDRAL CITY, CA 92234                 CEDAR HILL, TX 75104-3526




CITY OF CEDAR HILL                       CITY OF CENTENNIAL - REMITTANCE CENTER   CITY OF CENTENNIAL
UTILITY BILLING, 285 UPTOWN BLVD. BLDG   P.O. BOX 17383                           ATTN: SALES & USE TAX DEPT.
100                                      DENVER, CO 80217                         P.O. BOX 17383
CEDAR HILL, TX 75104-3526                                                         DENVER, CO 80217




CITY OF CENTERVILLE                      CITY OF CENTRAL FINANCE DEPT             CITY OF CENTRAL CITY
ATTN: INCOME TAX DEPT                    P.O. BOX 249                             ATTN: SALES & USE TAX DEPT.
100 W SPRING VALLEY RD                   CENTRAL CITY, CO 80427                   P.O. BOX 249
CENTERVILLE, OH 45458-3759                                                        CENTRAL CITY, CO 80427




CITY OF CENTRAL CITY                     CITY OF CENTRE                           CITY OF CERRITOS
D/B/A SALES TAX RETURN                   401 EAST MAIN STREET                     BUSINESS LICENSE DIVISION
P.O. BOX 249                             CENTRE, AL 35960                         P.O. BOX 3130
CENTRAL CITY, CO 80427-0249                                                       CERRITOS, CA 90703-3130




CITY OF CHAMBLEE                         CITY OF CHANDLER                         CITY OF CHANDLER
5468 PEACHTREE ROAD                      MAIL STOP 701                            MS 701 P.O. BOX 4008
CHAMBLEE, GA 30341-2330                  P.O. BOX 15001                           CHANDLER, AZ 85244-4008
                                         CHANDLER, AZ 85244




CITY OF CHANDLER                         CITY OF CHANDLER                         CITY OF CHARLESTON
P.O. BOX 52158                           UTILITY ACCOUNT SERVICES                 915 QUARRIER ST STE 4
PHOENIX, AZ 85072-2158                   175 S ARIZONA AVE                        CHARLESTON, WV 25301
                                         CHANDLER, AZ 85225
CITY OF CHARLESTON     Case     18-12241-CSS
                                          CITY OF Doc 26 Filed
                                                  CHARLOTTE- BILLING10/05/18
                                                                     CENTER      PageCITY
                                                                                      329 OFof 1739 REVENUE
                                                                                            CHARLOTTE
P.O. BOX 22009                             P.O. BOX 1316                             ATTN: COLLECTION DIVISION
CHARLESTON, SC 29413-2009                  CHARLOTTE, NC 28201-1316                  ZONING CITATION PAYMENT
                                                                                     600 E FOURTH STREET
                                                                                     CHARLOTTE, NC 28202



CITY OF CHARLOTTE                          CITY OF CHARLOTTE                         CITY OF CHARLOTTE
CFD FIRE PREVENTION DEPT                   CHARLOTTE WATER                           FIRE DEPARTMENT
441 BEAUMONT AVE                           CHARLOTTE-MECKLENBURG GOVT CENTER         500 DALTON AVE
CHARLOTTE, NC 28204                        600 E 4TH ST                              CHARLOTTE, NC 28206
                                           CHARLOTTE, NC 28202



CITY OF CHARLOTTE                          CITY OF CHARLOTTE                         CITY OF CHARLOTTESVILLE
P.O. BOX 1316                              P.O. BOX 31032                            FINANCE DEPT-UTILITY BILLING OFFICE
CHARLOTTE, NC 28201-1316                   CHARLOTTE, NC 28231-1032                  P.O. BOX 591
                                                                                     CHARLOTTESVILLE, VA 22902




CITY OF CHATTANOOGA                        CITY OF CHATTANOOGA                       CITY OF CHATTANOOGA
ATTN: OFFICE OF CITY TREASURY              ATTN: WASTE RESOURCES DIVISION            PUBLIC WORKS
101 E 11TH ST 100                          P.O. BOX 591                              1250 MARKET ST
CHATTANOOGA, TN 37402                      CHATTANOOGA, TN 37401-0591                CHATANOOGA, TN 37402




CITY OF CHEHALIS                           CITY OF CHERRY HILLS VILLAGE              CITY OF CHERRY HILLS VILLAGE
1321 S MARKET BLVD                         ATTN: SALES & USE TAX DEPT.               D/B/A SALES TAX RETURN
CHEHALIS, WA 98532                         2450 E QUINCY AVE                         2450 E QUINCY AVE
                                           CHERRY HILLS VILLAGE, CO 80113-4955       CHERRY HILLS VILLAGE, CO 80113-4955




CITY OF CHESAPEAKE - TAX                   CITY OF CHESAPEAKE                        CITY OF CHESAPEAKE
BARBARA O. CARRAWAY, TREASURER             ATTN: FRANCIS X KING, COMM OF REVENUE     ATTN: PROPERTY TAX DEPT.
P.O. BOX 16495                             P.O. BOX 15285                            P.O. BOX 15285
CHESAPEAKE, VA 23328-6495                  CHESAPEAKE, VA 23328-5285                 CHESAPEAKE, VA 23328-5285




CITY OF CHESTERFIELD                       CITY OF CHICAGO ADMINISTRATIVE            CITY OF CHICAGO DEPT OF FINANCE
690 CHESTERFIELD PKWY W                    HEARING                                   P.O. BOX 6289
CHESTERFIELD, MO 63017                     P.O. BOX 71429                            CHICAGO, IL 60680-6289
                                           CHICAGO, IL 60694-1429




CITY OF CHICAGO                            CITY OF CHICAGO                           CITY OF CHICAGO
ATTN: DEPT OF FINANCE                      ATTN: DEPT OF REVENUE                     ATTN: DEPT OF REVENUE
121 N LASALLE ST RM 107A                   121 N. LASALLE ROOM 107A                  8108 INNOVATION WAY
CHICAGO, IL 60602                          CHICAGO, IL 60602                         CHICAGO, IL 60682




CITY OF CHICAGO                            CITY OF CHICAGO                           CITY OF CHICO
ATTN: PUBLIC WAY USE UNIT                  ATTN: SALES & USE TAX DEPT.               P.O. BOX 3420
CITY HALL 121 N LASALLE ST RM 800          8108 INNOVATION WAY                       CHICO, CA 95927-3420
CHICAGO, IL 60602                          CHICAGO, IL 60682




CITY OF CHICOPEE                           CITY OF CHILLICOTHE                       CITY OF CHINO UTILITY
P.O. BOX 1570                              ATTN: INCOME TAX DEPARTMENT               PO BOX 667
SPRINGFIELD, MA 01101-1570                 P.O. BOX 457                              CHINO, CA 91708-0667
                                           CHILLICOTHE, OH 45601-0457
CITY OF CHINO          Case 18-12241-CSS
                                      CITY OF Doc
                                              CHINO26      Filed 10/05/18   PageCITY
                                                                                 330 OFof 1739
                                                                                       CHULA VISTA
ATTN: BUSINESS LICENSE DIVISION       UTILITIES DEPT                            276 FOURTH AVE
P.O. BOX 667                          13220 CENTRAL AVE                         CHULA VISTA, CA 91910
CHINO, CA 91708-0667                  CHINO, CA 91710




CITY OF CINCINNATI                     CITY OF CITRUS HEIGHTS                   CITY OF CLANTON
P.O. BOX 634580                        6360 FOUNTAIN SQUARE DR                  P.O. BOX 580
CINCINNATI, OH 45263-4580              CITRUS HEIGHTS, CA 95621                 CLANTON, AL 35046




CITY OF CLARKSTON                      CITY OF CLARKSTON                        CITY OF CLARKSVILLE
829 5TH STREET                         PUBLIC WORKS                             ATTN: TAX COLLECTOR
CLARKSTON, WA 99403                    829 5TH ST                               P.O. BOX 928
                                       CLARKSTON, WA 99403-2696                 CLARKSVILLE, TN 37041-0928




CITY OF CLARKSVILLE                    CITY OF CLAYTON                          CITY OF CLEARWATER CUSTOMER
ONE PUBLIC SQUARE                      10 NORTH BEMISTON AVE                    P.O. BOX 30020
CLARKSVILLE, TN 37040                  CLAYTON, MO 63105                        TAMPA, FL 33630-3020




CITY OF CLEARWATER                     CITY OF CLEARWATER                       CITY OF CLERMONT
100 S MYRTLE AVE STE 210               PUBLIC UTILITIES                         685 W MONTROSE ST
CLEARWATER, FL 33756                   1650 N ARCTURAS AVE, BUILDING C          CLERMONT, FL 34711
                                       CLEARWATER, FL 33765-1945




CITY OF CLERMONT                       CITY OF CLERMONT                         CITY OF CLEVELAND (TAXES)
CITY HALL                              P.O. BOX 120219
685 MONTROSE ST                        CLERMONT, FL 34712-0219
CLERMONT, FL 34711




CITY OF CLEVELAND DIV OF WATER         CITY OF CLEVELAND DIV OF WATER           CITY OF CLEVELAND DIVISION OF WATER
1201 LAKESIDE AVE                      P.O. BOX 94540                           P.O. BOX 94540
CLEVELAND, OH 44114                    CLEVELAND, OH 44101-4540                 CLEVELAND, OH 44101-4540




CITY OF CLEVELAND                      CITY OF CLIFTON                          CITY OF CLIFTON
P.O. BOX 1519                          900 CLIFTON AVE                          CLIFTON FIRE DEPT
CLEVELAND, TN 37364-1519               CLIFTON, NJ 07013                        900 CLIFTON AVE
                                                                                CLIFTON, NJ 07013




CITY OF CLINTON                        CITY OF CLOVIS                           CITY OF COCOA
2267 NORTH 1500 WEST                   ATTN: BUSINESS LICENSE                   P.O. BOX 1270
CLINTON CITY, UT 84015                 1033 FIFTH ST                            COCOA, FL 32923-1270
                                       CLOVIS, CA 93612




CITY OF COCOA                          CITY OF COCONUT CREEK                    CITY OF COCONUT CREEK
UTILITIES DEPT                         4800 W COPANS RD                         P.O. BOX 79101
351 SHEARER BLVD                       COCONUT CREEK, FL 33063                  BALTIMORE, MD 21279-0101
COCOA, FL 32922
CITY OF COCONUT CREEK Case      18-12241-CSS
                                          CITY OF Doc 26 CROSSING
                                                  COCONUT Filed 10/05/18      PageCITY
                                                                                   331 OFof 1739D ALENE
                                                                                         COEUR
WATER DEPT                                ATTN: BUSINESS TAX DEPARTMENT           701 EAST MULLAN AVE
CITY HALL, 4800 W COPANS RD               4800 WEST COPANS ROAD                   COEUR DE ALENE, ID 83814-8964
COCONUT CREEK, FL 33063                   COCONUT CREEK, FL 33063




CITY OF COEUR DALENE                      CITY OF COLONIAL HEIGHTS                CITY OF COLONIAL HEIGHTS
701 EAST MULLAN AVE                       ATTN: BILLING & COLLECTIONS             PUBLIC WORKS
COEUR DALENE, ID 83814-3964               P.O. BOX 3401                           201 JAMES AVE
                                          COLONIAL HEIGHTS, VA 23834-9001         COLONIAL HEIGHTS, VA 23834




CITY OF COLORADO SPRINGS                  CITY OF COLORADO SPRINGS                CITY OF COLTON
ATTN: CITY CLERKS OFFICE                  DEPARTMENT 2408                         ATTN: DEVELOPMENT SERVICES DEPT
30 S NEVADA AVE STE 101                   DENVER, CO 80256                        659 N LA CADENA DR
COLORADO SPRINGS, CO 80901-1575                                                   COLTON, CA 92324




CITY OF COLTON                            CITY OF COLUMBIA LICENSE DIVISION       CITY OF COLUMBIA MISSOURI
ELECTRIC DEPT                             P.O. BOX 147                            701 E BROADWAY
150 S 10TH ST                             COLUMBIA, SC 29217                      P.O. BOX 1676
COLTON, CA 92324                                                                  COLUMBIA, MO 65205




CITY OF COLUMBIA MISSOURI                 CITY OF COLUMBIA MISSOURI               CITY OF COLUMBIA MISSOURI
SEWER DIVISION                            SOLID WASTE ADMINISTRATION              WATER & LIGHT
4900 GILLESPIE BRIDGE RD                  5700 PEABODY RD                         CITY HALL, 701 E BROADWAY
COLUMBIA, MO 65201                        COLUMBIA, MO 65202                      COLUMBIA, MO 65205




CITY OF COLUMBIA                          CITY OF COLUMBIA                        CITY OF COLUMBIA
1339 MAIN ST                              700 N GARDEN ST                         701 E BROADWAY
COLUMBIA, SC 29201                        COLUMBIA, TN 38401                      P.O. BOX 1676
                                                                                  COLUMBIA, MO 65205




CITY OF COLUMBIA                          CITY OF COLUMBIA                        CITY OF COLUMBIA
ATTN: BUSINESS LICENSE OFFICE             ATTN: PROPERTY TAX DEPT.                WATER, SEWER & STORMWATER
P.O. BOX 6015                             P.O. BOX 7997                           1339 MAIN ST
COLUMBIA, MO 65205                        COLUMBIA, SC 29202-7997                 COLUMBIA, SC 29202




CITY OF COLUMBIANA                        CITY OF COLUMBUS TREASURER              CITY OF COLUMBUS-CITY TREASURER
107 MILDRED ST                            ATTN: LICENSE SECTION                   ATTN: INCOME TAX DIVISION
COLUMBIANA, AL 35051                      DEPT OF PUBLIC SAFETY                   P.O. BOX 182158
                                          4252 GROVES RD                          COLUMBUS, OH 43218-2158
                                          COLUMBUS, OH 43232



CITY OF COMMERCE CITY - SALES/USE TAX     CITY OF COMMERCE CITY                   CITY OF COMMERCE CITY
5291 E 60TH AVE                           ATTN: SALES & USE TAX DEPT.             D/B/A SALES TAX RETURN
COMMERCE CITY, CO 80022                   5291 E 60TH AVE                         7887 EAST 60TH AVE
                                          COMMERCE CITY, CO 80022                 COMMERCE CITY, CO 80022-4199




CITY OF CONCORD                           CITY OF CONCORD                         CITY OF CONCORD
ATTN: FINANCE DEPT                        ATTN: GENERAL SERVICES                  ATTN: COLLECTIONS
1950 PARKSIDE DR MS/06                    311 N STATE ST                          P.O. BOX 580469
CONCORD, CA 94519-2578                    CONCORD, NH 03301                       CHARLOTTE, NC 28258-0469
CITY OF CONCORD          Case 18-12241-CSS
                                        CITY OF Doc 26 Filed 10/05/18
                                                CONCORD                    PageCITY
                                                                                332 OFof 1739
                                                                                      CONCORD
ATTN: FIRE PREVENTION                   ATTN: TAX DEPT                         ELECTRIC SYSTEMS
P.O. BOX 308                            P.O. BOX 308                           635 ALFRED BROWN JR COURT SW
CONCORD, NC 28026-0308                  CONCORD, NC 28026-0308                 CONCORD, NC 28025




CITY OF CONCORD                         CITY OF CONCORD                        CITY OF CONROE
WASTEWATER SERVICES                     WATER RESOURCES                        P.O. BOX 3066
635 ALFRED BROWN JR COURT SW            635 ALFRED BROWN JR COURT SW           CONROE, TX 77305-3066
CONCORD, NC 28025                       CONCORD, NC 28025




CITY OF CONROE                          CITY OF CONWAY UTIL BILLG DEPT         CITY OF CONWAY UTIL BILLG DEPT
PUBLIC WORKS                            1000 2ND AVE                           P.O. BOX 1507
401 SGT ED HOLCOMB BLVD S               CONWAY, SC 29526                       CONWAY, SC 29258-1507
CONROE, TX 77304




CITY OF CONWAY UTIL BILLG DEPT          CITY OF CONWAY                         CITY OF CONWAY
P.O. BOX 1507                           ATTN: UTILITY BILLING DEPARTMENT       ATTN: UTILITY BILLING DEPARTMENT
CONWAY, SC 29528-1507                   P.O. BOX 1507                          P.O. BOX 1507
                                        CONWAY, SC 29528-1075                  CONWAY, SC 29528-1507




CITY OF CONYERS                         CITY OF CONYERS                        CITY OF CONYERS-LICENSE
1174 SCOTT STREET                       PROPERTY TAX DIVISION                  P.O. BOX 1259
CONYERS, GA 30012                       P.O. BOX 1259                          CONYERS, GA 30012
                                        CONYERS, GA 30012




CITY OF CONYERS-TAX                     CITY OF COOKEVILLE                     CITY OF COOKEVILLE
P.O. BOX 1259                           ELECTRIC DEPT                          P.O. BOX 998
CONYERS, GA 30012                       55 W DAVIS RD                          COOKEVILLE, TN 38503-0998
                                        COOKEVILLE, TN 38506




CITY OF COOKEVILLE                      CITY OF COON RAPIDS                    CITY OF COPPELL COPPEL ISD
WATER & SEWER DEPT                      11155 ROBINSON DR NW                   ATTN: TAX ASSESSOR COLLECTOR
1860 S JEFFERSON AVE                    COON RAPIDS, MN 55433-3761             P.O. BOX 9478
COOKEVILLE, TN 38506                                                           COPPELL, TX 75019-9478




CITY OF CORAL GABLES                    CITY OF CORAL GABLES                   CITY OF CORAL SPRINGS - BUS LIC
427 BILTMORE WAY STE 100                P.O. BOX 141549                        9551 W. SAMPLE RAOD
CORAL GABLES, FL 33134                  CORAL GABLES, FL 33114-1549            CORAL SPRINGS, FL 33065




CITY OF CORAL SPRINGS                   CITY OF CORAL SPRINGS                  CITY OF CORONA
FIRE INSPECTIONS DIV                    P.O. BOX 754501                        ATTN: DEPARTMENT OF WATER & POWER
2801 CORAL SPRINGS DRIVE                CORAL SPRINGS, FL 33075-4501           P.O. BOX 6040
CORAL SPRINGS, FL 33065-3800                                                   ARTESIA, CA 90702-6040




CITY OF CORONA                          CITY OF CORTEZ-SALES AND USE TAX       CITY OF CORVALLIS
PUBLIC WORKS                            210 EAST MAIN                          ATTN: FINANCE-ACCTS RECV.
400 S VINCENTIA AVE                     CORTEZ, CO 81321                       P.O. BOX 1083
CORONA, CA 92882                                                               CORVALLIS, OR 97339-1083
CITY OF COSTA MESA     Case   18-12241-CSS
                                        CITY OF Doc 26 BLUFFS
                                                COUNCIL  Filed 10/05/18   PageCITY
                                                                               333 OFof 1739
                                                                                     COUNTRYSIDE
P.O. BOX 1200                            P.O. BOX 26364                       5550 EAST AVE
COSTA MESA, CA 92628-1200                COLORADO SPRINGS, CO 80936           COUNTRYSIDE, IL 60525




CITY OF COUNTRYSIDE                      CITY OF COVINGTON                    CITY OF COVINGTON
WATER DEPT, 5550 E AVE                   16720 SE 271ST ST.                   PLANNING & ZONING
COUNTRYSIDE, IL 60525                    COVINGTON, WA 98042                  P.O. BOX 1527
                                                                              COVINGTON, GA 30015




CITY OF COVINGTON                        CITY OF CRANSTON                     CITY OF CRANSTON
PUBLIC WORKS                             ATTN: TAX COLLECTOR                  CRANSTON CITY HALL
16720 SE 271 ST, STE 100                 P.O. BOX 1177                        869 PARK AVENUE
COVINGTON, WA 98042                      PROVIDENCE, RI 02901-1177            CRANSTON, RI 02910




CITY OF CRESTED BUTTE                    CITY OF CRESTVIEW                    CITY OF CREVE COEUR (TAXES)
ATTN: SALES & USE TAX DEPT.              P.O. BOX 1209                        300 N. NEW BALLAS ROAD
P.O. BOX 39                              CRESTVIEW, FL 32536                  CREVE COEUR, MO 63141
CRESTED BUTTE, CO 81224




CITY OF CREVE COEUR                      CITY OF CRYSTAL LAKE                 CITY OF CRYSTAL LAKE
300 N. NEW BALLAS ROAD                   P.O. BOX 1139                        SEWER & STORM WATER MGMT
CREVE COEUR, MO 63141                    CRYSTAL LAKE, IL 60039-1139          100 W WOODSTOCK ST
                                                                              CRYSTAL LAKE, IL 60014




CITY OF CRYSTAL LAKE                     CITY OF CRYSTAL RIVER                CITY OF CRYSTAL RIVER
WATER DIVISION                           123 NORTHWEST HIGHWAY 19             123 NW HIGHWAY 19
100 W WOODSTOCK ST                       CRYSTAL RIVER, FL 34428              CRYSTAL RIVER, FL 34428-3930
CRYSTAL LAKE, IL 60014




CITY OF CRYSTAL RIVER                    CITY OF CUDAHY- TREASURER            CITY OF CULLMAN
PUBLIC WORKS, 123 NW HWY 19              P.O. BOX 100510                      P.O. BOX 278
CRYSTAL RIVER, FL 34428                  CUDAHY, WI 53110-6108                CULLMAN, AL 35056-7106




CITY OF CUMMING                          CITY OF CUMMING                      CITY OF CUPERTINO
100 MAIN ST                              P.O. BOX 669300                      10300 TORRE AVE
CUMMING, GA 30040                        CUMMING, GA 30028                    CUPERTINO, CA 95014-3255




CITY OF CUYAHOGA FALLS                   CITY OF CUYAHOGA FALLS               CITY OF CUYAHOGA FALLS
ATTN: INCOME TAX DEPT                    ATTN: INCOME TAX DEPT                ELECTRIC
2310 2ND ST                              2310 2ND ST                          2310 SECOND ST
CUYAHOGA FALLS, OH 44221                 CUYAHOGA FALLS, OH 44221-4922        CUYAHOGA FALLS, OH 44221




CITY OF CUYAHOGA FALLS                   CITY OF CUYAHOGA FALLS               CITY OF DACONO
SEWER                                    WATER                                ATTN: SALES & USE TAX DEPT.
2310 SECOND ST                           2310 SECOND ST                       512 CHERRY ST P.O. BOX 186
CUYAHOGA FALLS, OH 44221                 CUYAHOGA FALLS, OH 44221             DACONO, CO 80514
CITY OF DACONO          Case   18-12241-CSS
                                         CITY OF Doc  26
                                                 DALLAS        Filed 10/05/18   PageCITY
                                                                                     334 OFof 1739
                                                                                           DALLAS
ATTN: SALES TAX                           CITY HALL 2D SOUTH                        WATER UTILITIES
512 CHERRY ST P.O. BOX 186                DALLAS, TX 75277                          DALLAS CITY HALL, 1500 MARILLA ST
DACONO, CO 80514                                                                    RM 4A NORTH
                                                                                    DALLAS, TX 75201



CITY OF DALLAS/FIRE REINSPECTION          CITY OF DALTON                            CITY OF DALTON
1551 BAYLOR ST 400                        ATTN: OFFICE OF CITY CLERK                OCCUPATIONAL TAX
DALLAS, TX 75226                          300 W WAUGH ST 317                        P.O. BOX 1205
                                          DALTON, GA 30722-1205                     DALTON, GA 30722-1205




CITY OF DALY CITY                         CITY OF DALY CITY                         CITY OF DANBURY TAX COLLECTOR
ATTN: ALARM PROGRAM COORDINATOR           ATTN: ALARM PROGRAM COORDINATOR           ATTN: PROPERTY TAX DEPT.
333 90TH ST                               333 90TH ST                               P.O. BOX 237
DALY CITY, CA 94015                       DALY CITY, CA 94015-1895                  DANBURY, CT 06813




CITY OF DANBURY                           CITY OF DANIA BEACH                       CITY OF DANIA BEACH
ATTN: TAX COLLECTOR                       100 W DANIA BEACH BLVD                    LOCAL BUSINESS TAX RECEIPT DIVISION
P.O. BOX 237                              DANIA BEACH, FL 33004                     100 W DANIA BEACH BLVD
DANBURY, CT 06813                                                                   DANIA BEACH, FL 33004




CITY OF DANIA BEACH                       CITY OF DANIA BEACH-TAX                   CITY OF DANVILLE VIRGINIA
P.O. BOX 1708                             P.O. BOX 1708                             ATTN: TAX COLLECTOR
DANIA BEACH, FL 33004                     DANIA BEACH, FL 33004                     P.O. BOX 3308
                                                                                    DANVILLE, VA 24543-3308




CITY OF DANVILLE                          CITY OF DANVILLE                          CITY OF DANVILLE
427 PATTON ST                             DIVISION OF CENTRAL COLLECTIONS           P.O. BOX 480
DANVILLE, VA 24541                        P.O. BOX 3308                             DANVILLE, VA 24543
                                          DANVILLE, VA 24543-3308




CITY OF DAPHNE                            CITY OF DAPHNE                            CITY OF DARIEN
ATTN: SALES & USE TAX DEPT.               P.O. BOX 1047                             1702 PLAINFIELD
P.O. BOX 1047                             DAPHNE, AL 36526-1047                     DARIEN, IL 60561
DAPHNE, AL 36526-1047




CITY OF DAVIS                             CITY OF DAYTON INCOME TAX DEPARTMENT      CITY OF DAYTON
23 RUSSELL BLVD                           P.O. BOX 2806                             P.O. BOX 2806
DAVIS, CA 95616                           CINCINNATI, OH 45401-2806                 CINCINNATI, OH 45401-2806




CITY OF DAYTONA BEACH                     CITY OF DECATUR                           CITY OF DECATUR
DEPT OF PLANNING & DEVELOPMENT            ATTN: SALES & USE TAX DEPT.               BUSINESS LICENSE DEPT R-5
P.O. BOX 2451                             P.O. BOX 830525                           P.O. BOX 830525
DAYTONA BEACH, FL 32115                   BIRMINGHAM, AL 35283                      BIRMINGHAM, AL 35283




CITY OF DECATUR                           CITY OF DEERFIELD BEACH                   CITY OF DEERFIELD BEACH
P.O. BOX 220                              150 NE SECOND AVENUE                      PLANNING AND ZONING DIVISION
DECATUR, GA 30031                         DEERFIELD BEACH, FL 33441-3598            150 NE SECOND AVENUE
                                                                                    DEERFIELD BEACH, FL 33441
CITY OF DEERFIELD BEACHCase   18-12241-CSS
                                        CITY OF Doc 26 BEACH
                                                DEERFIELD Filed 10/05/18   PageCITY
                                                                                335 OFof 1739
                                                                                      DEFIANCE
RECYCLING & SOLID WASTE                  WATER & UTILITIES                     P.O. BOX 425
401 SW 4 ST                              150 NE 2ND AVE                        DEFIANCE, OH 43512
DEERFIELD BEACH, FL 33441                DEERFIELD BEACH, FL 33441




CITY OF DEFIANCE                         CITY OF DEFIANCE                      CITY OF DEFIANCE, OH
SEWER DEPT                               WATER DEPT                            ATTN: INCOME TAX DIVISION
631 PERRY ST                             631 PERRY ST                          P.O. BOX 669
DEFIANCE, OH 43512                       DEFIANCE, OH 43512                    DEFIANCE, OH 43512




CITY OF DEKALB                           CITY OF DEKALB                        CITY OF DELAND / BTR
P.O. BOX 787                             UTILITY BILLING                       P.O. BOX 2919
DE KALB, IL 60115-0787                   200 S 4TH ST                          DELAND, FL 32721-2919
                                         DEKALB, IL 60115




CITY OF DELAND                           CITY OF DELAND                        CITY OF DELAVAN WATER & SEWER
120 S FLORIDA AVE                        P.O. BOX 2919                         P.O. BOX 465
DELAND, FL 32720                         DELAND, FL 32721-2919                 DELAVAN, WI 53115




CITY OF DELTA                            CITY OF DELTA                         CITY OF DENTON
ATTN: SALES & USE TAX DEPT.              ATTN: SALES TAX RETURN                221 N ELM ST
P.O. BOX 19                              P.O. BOX 19                           DENTON, TX 76201-4107
DELTA, CO 81416-0019                     DELTA, CO 81416-0019




CITY OF DENTON                           CITY OF DENTON                        CITY OF DENTON
P.O. BOX 660150                          SEWER                                 WASTE MANAGEMENT
DALLAS, TX 75266-0150                    901-B TEXAS ST                        1525 S MAYHILL RD
                                         DENTON, TX 76209                      DENTON, TX 76208




CITY OF DENTON                           CITY OF DERBY UTILITIES               CITY OF DERBY UTILITIES
WATER                                    EL PASO WATER COMPANY INC             UTILITY BILLING
901-B TEXAS ST                           611 N MULBERRY RD STE 300             611 MULBERRY, STE 300
DENTON, TX 76209                         DERBY, KS 67037-3591                  DERBY, KS 67037




CITY OF DERBY                            CITY OF DES MOINES                    CITY OF DES MOINES
611 MULBERRY RD STE 300                  21630 11TH AVE S ST A                 P.O. BOX 314
DERBY, KS 67037                          DES MOINES, WA 98198                  SEAHURST, WA 98062




CITY OF DES PERES                        CITY OF DES PLAINES                   CITY OF DES PLAINES
12325 MANCHESTER RD                      1420 MINER ST                         SEWER SYSTEM DIVISION
DES PERES, MO 63131                      DES PLAINES, IL 60016                 1420 MINER ST
                                                                               DES PLAINES, IL 60016




CITY OF DES PLAINES                      CITY OF DESTIN                        CITY OF DICKSON
WATER SYSTEM DIVISION                    4200 INDIAN BAYOU TRAIL               600 E WALNUT ST
1420 MINER ST                            DESTIN, FL 32541                      DICKSON, TN 37055
DES PLAINES, IL 60016
CITY OF DONNELLY        Case   18-12241-CSS
                                         CITY OF Doc 26 Filed 10/05/18
                                                 DONNELLY                 PageCITY
                                                                               336 OFof 1739
                                                                                     DORA
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX RETURN         1485 SHARON BLVD
P.O. BOX 725                             P.O. BOX 725                         DORA, AL 35062
DONNELLY, ID 83615-0725                  DONNELLY, ID 83615-0725




CITY OF DORAL (TAXES)                    CITY OF DORAL                        CITY OF DOTHAN
PO BOX 864662                            PO BOX 864662                        P.O. BOX 2128
ORLANDO, FL 32886-4662                   ORLANDO, FL 32886-4662               DOTHAN, AL 36302-2128




CITY OF DOUGLASVILLE                     CITY OF DOVER UTILITY                CITY OF DOVER UTILITY
P.O. BOX 219                             ELECTRIC DEPT                        P.O. BOX 15040
DOUGLASVILLE, GA 30133                   5 E REED ST                          WILMINGTON, DE 19886-5040
                                         DOVER, DE 19903




CITY OF DOVER UTILITY                    CITY OF DOVER                        CITY OF DRAPER - BUSINESS LICENSING
PUBLIC WORKS                             PLANNING & INSPECTIONS               1020 E PIONEER RD
CITY HALL, 15 LOOCKERMAN PLAZA           P.O. BOX 475                         DRAPER, UT 84020
DOVER, DE 19901                          DOVER, DE 19903-0475




CITY OF DRIGGS                           CITY OF DRIGGS                       CITY OF DUBLIN INCOME TAX DEPARTMENT
ATTN: SALES & USE TAX DEPT.              C/O CITY CLERK                       P.O. BOX 9062
P.O. BOX 48                              P.O. BOX 48                          DUBLIN, OH 43017-0962
DRIGGS, ID 83422-0048                    DRIGGS, ID 83422-0048




CITY OF DUBLIN                           CITY OF DUBLIN                       CITY OF DUBLIN
100 CIVIC PLAZA                          P.O. BOX 690                         P.O. BOX 690
DUBLIN, CA 94568                         DUBLIN, GA 31040                     DUBLIN, GA 31040-0690




CITY OF DUBLIN                           CITY OF DUBLIN                       CITY OF DUNWOODY
SANITATION                               WATER DEPT                           4800 ASHFORD DUNWOODY RD
100 S CHURCH ST                          100 S CHURCH ST                      ATLANTA, GA 30338
DUBLIN, GA 31021                         DUBLIN, GA 31021




CITY OF DURANGO                          CITY OF DURANGO                      CITY OF DURHAM FIRE DEPT
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.          C/O FIRE RECOVERY USA LLC
949 E SECOND AVE                         949 E SECOND AVE                     P.O. BOX 935667
DURANGO, CO 81301                        DURANGO, CO 81301-5109               ATLANTA, GA 31193-5667




CITY OF DURHAM                           CITY OF DURHAM                       CITY OF DURHAM
101 CITY HALL PL                         BUSINESS LICENSE UNIT                P.O. BOX 30041
DURHAM, NC 27701                         101 CITY HALL PLAZA                  DURHAM, NC 27702-3041
                                         DURHAM, NC 27701




CITY OF DURHAM                           CITY OF DURHAM-OCC/BUS LICENSE       CITY OF DURHAM-TAX
WATER MANAGEMENT                         BUSINESS LICENSE UNIT                P.O. BOX 30041
101 CITY HALL PLAZA                      101 CITY HALL PLAZA                  DURHAM, NC 27702-3041
DURHAM, NC 27701                         DURHAM, NC 27701
CITY OF EASLEY           Case 18-12241-CSS
                                        CITY OF Doc  26 Filed 10/05/18
                                                EAST POINT                 PageCITY
                                                                                337 OFof 1739
                                                                                      EAST POINT
P.O. BOX 466                             2777 EAST POINT STREET                EAST POINT POWER
EASLEY, SC 29641                         EAST POINT, GA 30344-3240             1526 E FORREST AVE, STE 400
                                                                               EAST POINT, GA 30344




CITY OF EDEN PRAIRIE                     CITY OF EDEN PRAIRIE                  CITY OF EDGEWATER
8080 MITCHEL ROAD                        PUBLIC WORKS                          ATTN: SALES & USE TAX DEPT.
EDEN PRAIRIE, MN 55344                   8080 MITCHELL RD                      2401 SHERIDAN BLVD
                                         EDEN PRAIRIE, MN 55344                EDGEWATER, CO 80214-1329




CITY OF EDINA UTILITY BILLING            CITY OF EDMOND                        CITY OF EDMOND
4801 WEST 50TH STREET                    EDMOND ELECTRIC                       P.O. BOX 268927
EDINA, MN 55424-1330                     2004 OLD TIMBERS DR                   EDMOND, OK 73126-8927
                                         EDMOND, OK 73034




CITY OF EDMOND                           CITY OF EDMOND                        CITY OF EDWARDSVILLE
TRASH DEPT                               WATER RESOURCES                       118 HILLSBORO AVENUE
2004 OLD TIMBERS DR                      801 S POST RD                         EDWARDSVILLE, IL 62025
EDMOND, OK 73034                         ARCADIA, OK 73007




CITY OF EDWARDSVILLE                     CITY OF EL CAJON                      CITY OF EL CAMPO UTILITIES
P.O. BOX 407                             ATTN: FINANCE- BUSINESS LICENSE       315 E. JACKSON
EDWARDSVILLE, IL 62025                   P.O .BOX 511378                       EL CAMPO, TX 77437
                                         LOS ANGELES, CA 90051-7933




CITY OF EL CAMPO UTILITIES               CITY OF EL CAMPO UTILITIES            CITY OF EL CERRITO
WASTE COLLECTION                         WATER & SEWER                         10890 SAN PABLO AVE
618 E MONSERATTE                         618 E MONSERATTE                      EL CERRITO, CA 94530
EL CAMPO, TX 77437                       EL CAMPO, TX 77437




CITY OF ELGIN                            CITY OF ELIZABETH CITY (TAXES)        CITY OF ELIZABETH CITY
150 DEXTER COURT                         P.O. BOX 347                          CUSTOMER SERVICE DEPT- CITY OF
ELGIN, IL 60120                          ELIZABETH CITY, NC 27907-0347         ELIZABETH
                                                                               P.O. BOX 347
                                                                               ELIZABETH CITY, NC 27907-0347



CITY OF ELIZABETH CITY                   CITY OF ELIZABETH CITY                CITY OF ELIZABETHTOWN
P.O. BOX 347                             PUBLIC UTILITIES                      ATTN: DIRECTOR OF FINANCE
ELIZABETH CITY, NC 27907-0347            410 PRITCHARD ST                      P.O. BOX 550
                                         ELIZABETH CITY, NC 27909              ELIZABETHTOWN, KY 42702




CITY OF ELK GROVE                        CITY OF ELLENSBURG                    CITY OF ELLENSBURG
8401 LAGUNA PALMS WAY                    501 N. ANDERSON ST.                   UTILITIES
ELK GROVE, CA 95758                      ELLENSBURG, WA 98926                  501 N ANDERSON ST
                                                                               ELLENSBURG, WA 98926




CITY OF ELLISVILLE                       CITY OF ELMHURST                      CITY OF ELYRIA
1 WEIS AVE                               209 N YORK ST                         P.O. BOX 94594
ELLISVILLE, MO 63011                     ELMHURST, IL 60126                    CLEVELAND, OH 44101-4594
CITY OF ELYRIA          Case 18-12241-CSS
                                       CITY OF Doc  26
                                               ELYRIA      Filed 10/05/18      PageCITY
                                                                                    338 OFof 1739
                                                                                          EMERYVILLE
WASTEWATER                              WATER DISTRIBUTION                         1333 PARK AVE.
1194 GULF RD                            851 GARDEN ST                              EMERYVILLE, CA 94608
ELYRIA, OH 44101                        ELYRIA, OH 44101




CITY OF ENCINITAS                       CITY OF ENGLEWOOD - REVENUE DIVISION       CITY OF ENGLEWOOD
505 S. VULCAN AVE                       P.O. BOX 2900                              ATTN: SALES & USE TAX DEPT.
ENCINITAS, CA 92024                     ENGLEWOOD, CO 80150-2900                   P.O. BOX 2900
                                                                                   ENGLEWOOD, CO 80150




CITY OF ENGLEWOOD                       CITY OF ENGLEWOOD                          CITY OF ENGLEWOOD/LEA
P.O. BOX 2900                           UTILITIES DEPT                             FIRE PREVENTION BUREAU
ENGLEWOOD, CO 80150                     ENGLEWOOD CIVIC CENTER, 1000               81 SOUTH VAN BRUNT ST.
                                        ENGLEWOOD PKWY                             ENGLEWOOD, NJ 07631
                                        ENGLEWOOD, CO 80110



CITY OF ENTERPRISE                      CITY OF ESCONDIDO                          CITY OF ESCONDIDO
P.O. BOX 311000                         1163 N CENTRE CITY PWY                     201 N BROADWAY
ENTERPRISE, AL 36331                    ESCONDIDO, CA 92026                        ESCONDIDO, CA 92025




CITY OF ESCONDIDO                       CITY OF ESCONDIDO                          CITY OF EUFAULA
CITY HALL                               P.O. BOX 460009                            P.O. BOX 219
201N BROADWAY                           ESCONDIDO, CA 92046-0009                   EUFAULA, AL 36027
ESCONDIDO, CA 92025




CITY OF EUSTIS                          CITY OF EUSTIS                             CITY OF EUSTIS
DEVELOPMENT SERVICES                    P.O. BOX 1946                              WASTEWATER DEPT
PO DRAWER 68                            EUSTIS, FL 32727-1946                      10 N GROVE ST
EUSTIS, FL 32727-0068                                                              EUSTIS, FL 32726




CITY OF EUSTIS                          CITY OF EVANS DBA SALES TAX DIV            CITY OF EVANS
WATER                                   P.O. BOX 912324                            ATTN: BUSINESS & SALES TAX OFFICE
10 N GROVE ST                           DENVER, CO 80291-2324                      1100 37TH STREET
EUSTIS, FL 32726                                                                   EVANS, CO 80620




CITY OF EVANS                           CITY OF EVANSTON                           CITY OF EVERETT
ATTN: SALES & USE TAX DEPT.             2100 RIDGE AVE ROOM 3500                   2930 WETMORE AVE
1100 37TH STREET                        EVANSTON, IL 60201-2798                    EVERETT, WA 98201
EVANS, CO 80620




CITY OF EVERETT                         CITY OF EVERETT                            CITY OF FAIRFIELD
484 BROADWAY                            P.O. BOX 94430                             1000 WEBSTER STREET
EVERETT, MA 02149                       SEATTLE, WA 98124-6730                     FAIRFIELD, CA 94533-4883




CITY OF FAIRFIELD                       CITY OF FAIRHOPE                           CITY OF FAIRLAWN
C/O FAIRFIELD INCOME TAX DEPT           ATTN: REVENUE OFFICER                      ATTN: DIVISION OF TAXATION
701 WESSEL DRIVE                        P.O. BOX 429                               P.O. BOX 5433
FAIRFIELD, OH 45014                     FAIRHOPE, AL 36533                         FAIRLAWN, OH 44334
CITY OF FAIRVIEW HEIGHTSCase   18-12241-CSS
                                         CITY OF Doc  26 Filed 10/05/18
                                                 FALKVILLE                 PageCITY
                                                                                339 OFof 1739
                                                                                      FALL RIVER MA
10025 BUNKUM ROAD                        ATTN: SALES & USE TAX DEPT.           P.O. BOX 844515
FAIRVIEW HEIGHTS, IL 62208               P.O. BOX 407                          BOSTON, MA 02284
                                         FALKVILLE, AL 35622




CITY OF FALL RIVER MA                    CITY OF FALL RIVER MA                 CITY OF FALL RIVER
SEWER SYSTEM DIVISION                    WATER                                 P.O. BOX 844515
ONE GOVERNMENT CENTER, ROOM 308          ONE GOVERNMENT CENTER, ROOM 308       BOSTON, MA 02284
FALL RIVER, MA 02722                     FALL RIVER, MA 02722




CITY OF FALLS CHURCH                     CITY OF FALLS CHURCH                  CITY OF FAYETTEVILLE
TREASURER CITY OF FALLS CHURCH           TREASURER CITY OF FALLS CHURCH        113 WEST MOUNTAIN ST
300 PARK AVE STE 103E                    P.O. BOX 7425                         FAYETTEVILLE, AR 72701
FALLS CHURCH, VA 22046                   MERRIFIELD, VA 22116-7425




CITY OF FAYETTEVILLE                     CITY OF FAYETTEVILLE                  CITY OF FAYETTEVILLE
113 WEST MOUNTAIN ST                     240 GLYNN STREET SOUTH                433 HAY ST
FAYETTEVILLE, AR 72701-6083              HWY 85                                PO DRAWER D
                                         FAYETTEVILLE, GA 30214                FAYETTEVILLE, NC 28302-1746




CITY OF FAYETTEVILLE                     CITY OF FEDERAL HEIGHTS DEPT OF       CITY OF FEDERAL HEIGHTS
UTILITY BILLING                          FINANCE                               ATTN: SALES & USE TAX DEPT.
133 W MTN ST                             2380 W 90TH AVE                       2380 W 90TH AVE
FAYETTEVILLE, AR 72701                   FEDERAL HEIGHTS, CO 80260-6718        FEDERAL HEIGHTS, CO 80260




CITY OF FEDERAL WAY-BUSINESS L           CITY OF FERNANDINA BEACH              CITY OF FERNANDINA BEACH
33325 8TH AVE S                          204 ASH ST                            P.O. BOX 16115
FEDERAL WAY, WA 98003-6221               FERNANDINA BEACH, FL 32034            FERNANDINA BEACH, FL 32035




CITY OF FERNANDINA BEACH                 CITY OF FERNANDINA BEACH              CITY OF FINDLAY
WASTEWATER DEPT                          WATER DEPT                            ATTN: INCOME TAX DEPARTMENT
204 ASH ST                               204 ASH ST                            P.O. BOX 862
FERNANDINA BEACH, FL 32034               FERNANDINA BEACH, FL 32034            FINDLAY, OH 45839-0862




CITY OF FINDLAY                          CITY OF FINDLAY                       CITY OF FINDLAY
ATTN: WATER AND WASTEWATER DEPT          SEWER MAINTENANCE                     WATER DISTRIBUTION
136 N BLANCHARD ST                       1201 S RIVER RD                       136 N BLANCHARD ST
FINDLAY, OH 45840-5894                   FINDLAY, OH 45840-2557                FINDLAY, OH 45840-5808




CITY OF FLAGSTAFF                        CITY OF FLAGSTAFF                     CITY OF FLAGSTAFF
ATTN: SALES TAX DIVISION                 ATTN: SALES TAX DIVISION              ATTN: SALES TAX DIVISION
211 W ASPEN AVE                          211 WEST ASPEN AVE                    211 WEST ASPEN AVE
FLAGSTAFF, AZ 86001                      FLAGSTAFF, AZ 86001                   FLAGSTAFF, AZ 86001-5359




CITY OF FLAGSTAFF                        CITY OF FLAGSTAFF                     CITY OF FLAGSTAFF
P.O. BOX 80000                           PUBLIC WORKS                          WATER SERVICE
PRESCOTT, AZ 86304-8000                  211 W ASPEN AVE                       211 W ASPEN AVE
                                         FLAGSTAFF, AZ 86001                   FLAGSTAFF, AZ 86001
CITY OF FLINT - OFFICE OF Case   18-12241-CSS
                          THE CITY CLERK   CITY OF Doc
                                                   FLINT 26   Filed
                                                         INCOME      10/05/18
                                                                TAX DEPT-CORP   PageCITY
                                                                                     340 OFof 1739
                                                                                           FLINT MICHIGAN
1101 S SAGINAW ST                          SECTION                                   P.O. BOX 1950
FLINT, MI 48502                            P.O. BOX 529                              FLINT, MI 48501
                                           EATON RAPIDS, MI 48827




CITY OF FLINT MICHIGAN                    CITY OF FLINT MICHIGAN                     CITY OF FLORENCE (SC)
SEWER DEPT                                WATER DEPT                                 ATTN: BUSINESS LICENSE OFFICE
P.O. BOX 1950                             P.O. BOX 1950                              324 W EVANS ST
FLINT, MI 48501                           FLINT, MI 48501                            FLORENCE, SC 29501




CITY OF FLORENCE                          CITY OF FLORENCE                           CITY OF FLORENCE
180 N IRBY ST. ZZ                         324 W EVANS ST                             ATTN: FINANCE DEPT
FLORENCE, SC 29501                        FLORENCE, SC 29501                         8100 EWING BLVD
                                                                                     FLORENCE, KY 41042




CITY OF FLORENCE                          CITY OF FLORENCE                           CITY OF FLORENCE
ATTN: BUSINESS LICENSE DEPT               ATTN: INCOME TAX DEPT.                     ATTN: PROPERTY TAX DEPT.
180 N IRBY ST                             P.O. BOX 1327                              P.O. BOX 1327
FLORENCE, SC 29501-3431                   FLORENCE, KY 41022-1327                    FLORENCE, KY 41022-1327




CITY OF FLORENCE                          CITY OF FLORENCE                           CITY OF FLORENCE
P.O. BOX 1327                             P.O. BOX 602756                            PO BOX 98
FLORENCE, KY 41022-1327                   CHARLOTTE, NC 28260-2756                   FLORENCE, AL 35631




CITY OF FLORENCE                          CITY OF FLORENCE                           CITY OF FLORIDA CITY
TRASH                                     WATER & SEWER                              404 W PALM DR. BLDG. 4
324 W EVANS ST                            324 W EVANS ST                             FLORIDA CITY, FL 33034
FLORENCE, SC 29501                        FLORENCE, SC 29501




CITY OF FLORIDA CITY                      CITY OF FLORIDA CITY                       CITY OF FLORISSANT
404 WEST PALM DR BLDG 3                   CITY HALL                                  955 RUE ST. FRANCOIS
FLORIDA CITY, FL 33034                    404 WEST PALM DR                           FLORISSANT, MO 63031
                                          FLORIDA CITY, FL 33034




CITY OF FLOWERY BRANCH                    CITY OF FLOWERY BRANCH                     CITY OF FLOWERY BRANCH
5517 MAIN STREET                          CITY CLERK                                 WATER/WASTEWATER
P.O. BOX 757                              P.O. BOX 757                               5572 ATLANTA HIGHWAY
FLOWERY BRANCH, GA 30542                  FLOWERY BRANCH, GA 30542-0013              FLOWERY BRANCH, GA 30542




CITY OF FOLSOM                            CITY OF FOND DU LAC                        CITY OF FOND DU LAC
ALARM ADMIN PROGRAM                       P.O. BOX 830                               WASTEWATER TREATMENT
P.O. BOX 398101                           FOND DU LAC, WI 54936-0830                 700 DOTY ST
SAN FRANCISCO, CA 94139-8101                                                         FOND DU LAC, WI 54935




CITY OF FOND DU LAC                       CITY OF FONTANA                            CITY OF FOREST ACRES
WATER UTILITY                             ATTN: BUSINESS LICENSE                     5209 N TRENHOLM RD
109 N MACY ST                             8353 SIERRA AVE                            FOREST ACRES, SC 29206
FOND DU LAC, WI 54935                     FONTANA, CA 92335
CITY OF FORT COLLINS DBACase
                         SALES18-12241-CSS
                              TAX       CITY OF Doc   26 Filed 10/05/18
                                                FORT COLLINS                PageCITY
                                                                                 341 OFof 1739
                                                                                       FORT COLLINS
DEPT                                    ATTN: SALES & USE TAX DEPT.             P.O. BOX 1580
P.O. BOX 440                            P.O. BOX 1580                           FORT COLLINS, CO 80522-1580
FORT COLLINS, CO 80522                  FORT COLLINS, CO 80522-1580




CITY OF FORT LAUDERDALE                  CITY OF FORT LAUDERDALE                CITY OF FORT LAUDERDALE
ATTN: BUSINESS TAX DIVISION              ATTN: TREASURY-FIRE INSPECTIONS        ATTN: MUNICIPAL SERVICES
100 N ANDREWS AVE 1ST FL                 PO BOX 31687                           P.O. BOX 31687
FORT LAUDERDALE, FL 33301                TAMPA, FL 33631-3687                   TAMPA, FL 33631-3687




CITY OF FORT MYERS FL                    CITY OF FORT MYERS FL                  CITY OF FORT MYERS
P.O. BOX 30185                           PUBLIC WORKS                           ALARM CLERK/COMMUNITY AFFAIRS DIV.
TAMPA, FL 33630-3185                     2200 SECOND ST                         2210 WIDMAN WAY
                                         FORT MYERS, FL 33901                   FORT MYERS, FL 33901




CITY OF FORT MYERS                       CITY OF FORT MYERS                     CITY OF FORT MYERS
ATTN: ALARM CLERK/COMMUNITY AFFAIRS      ATTN: BUSINESS TAX DEPARTMENT          ATTN: PAYMENT PROCESSING CENTER
DIV.                                     1825 HENDRY STREET, SUITE 101          PO BOX 30185
2210 WIDMAN WAY                          FORT MYERS, FL 33901                   TAMPA, FL 33630-3185
FORT MYERS, FL 33901



CITY OF FORT MYERS                       CITY OF FORT MYERS                     CITY OF FORT MYERS
P.O. BOX 30185                           P.O. BOX 340                           PUBLIC WORKS
TAMPA, FL 33630-3185                     FORT MYERS, FL 33902                   2200 SECOND ST
                                                                                FORT MYERS, FL 33901




CITY OF FORT OGLETHORPE                  CITY OF FORT PIERCE                    CITY OF FORT SMITH
P.O. BOX 5509                            ATTN: CITY CLERK OFFICE                ATTN: COLLECTIONS DEPARTMENT
FORT OGLETHORPE, GA 30742                P.O. BOX 1480                          P.O. BOX 1908
                                         FORT PIERCE, FL 34954-1480             FORT SMITH, AR 72902




CITY OF FORT WALTON BEACH                CITY OF FORT WALTON BEACH              CITY OF FORT WORTH
105 MIRACLE STRIP PKWY SW                107 MIRACLE STRIP PKWY SW              FW FD REVENUE
FORT WALTON BEACH, FL 32548              FORT WALTON BEACH, FL 32548-6614       505 W FELIX ST
                                                                                FORT WORTH, TX 76115




CITY OF FRANKFORT LICENSE FEE DIVISION   CITY OF FRANKFORT-DIR OF FINANCE       CITY OF FRANKLIN - TREASURER
P.O. BOX 697                             ATTN: LICENSE FEE DIVISION             P.O. BOX 78694
FRANKFORT, KY 40602                      P.O. BOX 697                           MILWAUKEE, WI 53278-0694
                                         FRANKFORT, KY 40602-0697




CITY OF FRANKLIN PROPERTY TAX OFFICE     CITY OF FRANKLIN                       CITY OF FREDERICKSBURG
ATTN: TAX COLLECTOR                      9229 W LOOMIS RD                       126 W MAIN ST
P.O. BOX 306100                          FRANKLIN, WI 53132-9728                FREDERICKSBURG, TX 78624
NASHVILLE, TN 37230-6100




CITY OF FREDERICKSBURG                   CITY OF FREDERICKSBURG                 CITY OF FREDERICKSBURG
715 PRINCESS ANNE ST                     ATTN: TREASURER                        UTILITY BILLING
P.O. BOX 644                             P.O. BOX 967                           715 PRINCESS ANNE ST, ROOM 113
FREDERICKSBURG, VA 22404-0644            FREDERICKSBURG, VA 22404-0967          FREDERICKSBURG, VA 22401
CITY OF FREMONT            Case 18-12241-CSS
                                          CITY OF Doc 26 Filed 10/05/18
                                                  FREMONT                           PageCITY
                                                                                         342 OFof 1739BUSINESS TAX
                                                                                               FRESNO
ATTN: REVENUE DIVISION                    PO BOX 5006                                   P.O. BOX 45017
39550 LIBERTY ST                          FREMONT, CA 94537-5006                        FRESNO, CA 93718-5017
FREMONT, CA 94538




CITY OF FRESNO UTILITIES                  CITY OF FRESNO                                CITY OF FRESNO
P.O. BOX 2069                             P.O. BOX 2069                                 P.O. BOX 2069
FRESNO, CA 93718                          FRESNO, CA 93718                              FRESNO, CA 93718-2069




CITY OF FRESNO                            CITY OF FRESNO                                CITY OF FRISCO
PUBLIC UTILITIES                          SEWER & WASTEWATER                            ATTN: SALES & USE TAX DEPT.
2600 FRESNO ST                            2600 FRESNO ST                                P.O. BOX 2730
FRESNO, CA 93721                          FRESNO, CA 93721                              FRISCO, TX 75034




CITY OF FRISCO                            CITY OF FRISCO                                CITY OF FRISCO
P.O. BOX 2730                             UTILITY BILLING                               WATER RESOURCES
FRISCO, TX 75034                          CITY HALL, 6101 FRISCO SQUARE BLVD, 1ST       11300 RESEARCH RD
                                          FL                                            FRISCO, TX 75033
                                          FRISCO, TX 75034



CITY OF FRUITLAND PARK                    CITY OF FRUITLAND PK UTIL DEPT                CITY OF FRUITLAND
ATTN: UTILITY DEPT                        PUBLIC WORKS                                  506 W BERCKMAN ST
506 W BERCKMAN ST                         601 W FOUNTAIN ST                             FRUITLAND PARK, FL 34731
FRUITLAND PARK, FL 34731                  FRUITLAND PARK, FL 34731




CITY OF FRUITLAND                         CITY OF FT LAUDERDALE                         CITY OF FT LAUDERDALE
PUBLIC WORKS                              P.O. BOX 31687                                WATER & SEWER
601 W FOUNTAIN ST                         TAMPA, FL 33631-3687                          P.O. BOX 31687
FRUITLAND PARK, FL 34731                                                                TAMPA, FL 33631-3687




CITY OF FULTONDALE ALABAMA                CITY OF GADSDEN                               CITY OF GAFFNEY
P.O. BOX 699                              ATTN: REVENUE DEPT                            P.O. BOX 2109
FULTONDALE, AL 35068-0699                 P.O. BOX 267                                  GAFFNEY, SC 29342
                                          GADSDEN, AL 35902




CITY OF GAINESVILLE                       CITY OF GAINESVILLE                           CITY OF GAINESVILLE
200 E UNIVERSITY AVE                      ATTN: TAX OFFICE                              P.O. BOX 490
GAINSVILLE, FL 32601                      P.O. BOX 2496                                 GAINESVILLE, FL 32627
                                          GAINSEVILLE, GA 30503-2496




CITY OF GAINESVILLE                       CITY OF GAINSVILLE- PUBLIC UTILITIES          CITY OF GAITHERSBURG
P.O. BOX 779                              P.O. BOX 779                                  31 S SUMMIT AVE
GAINESVILLE, GA 30503                     GAINESVILLE, GA 30503-0779                    GAITHERSBURG, MD 20877-2038




CITY OF GALLATIN TAX COLLECTOR            CITY OF GALLATIN                              CITY OF GARDEN CITY
RECORDERS OFFICE                          132 WEST MAIN ST                              6015 N GLENWIID ST
132 W MAIN ST ROOM 111                    GALLATIN, TN 37066                            GARDEN CITY, ID 83714-1347
GALLATIN, TN 37066-3232
CITY OF GARDEN CITY       Case 18-12241-CSS
                                         CITY OF Doc 26CITYFiled 10/05/18
                                                 GARDEN                     PageCITY
                                                                                 343 OFof 1739
                                                                                       GARDENDALE
6015 N GLENWOOD ST                        PUBLIC WORKS                          P.O. BOX 889
GARDEN CITY, ID 83714                     6015 N GLENWOOD ST                    GARDENDALE, AL 35071
                                          GARDEN CITY, ID 83714-1347




CITY OF GARLAND                           CITY OF GARLAND                       CITY OF GARLAND
ATTN: TAX OFFICE                          ELECTRIC DEPT                         P.O. BOX 461508
P.O. BOX 462010                           200 N FIFTH ST                        GARLAND, TX 75046-1508
GARLAND, TX 75046-2010                    GARLAND, TX 75040




CITY OF GARLAND                           CITY OF GARLAND                       CITY OF GASTONIA (TAXES)
SEWER DEPT                                WATER DEPT                            P.O. BOX 580068
200 N FIFTH ST                            200 N FIFTH ST                        CHARLOTTE, NC 28258-0068
GARLAND, TX 75040                         GARLAND, TX 75040




CITY OF GASTONIA                          CITY OF GASTONIA                      CITY OF GASTONIA
P.O. BOX 1748                             P.O. BOX 580068                       UTILITY CUSTOMER SERVICE
GASTONIA, NC 28053-1748                   CHARLOTTE, NC 28258-0068              GARLAND BUSINESS CENTER, 1ST FL
                                                                                150 S YORK ST
                                                                                GASTONIA, NC 28052



CITY OF GENEVA                            CITY OF GENEVA                        CITY OF GENEVA
109 JAMES STREET                          15 S 1ST STREET                       ELECTRIC DIVISION
GENEVA, IL 60134                          GENEVA, IL 60134                      22 S FIRST ST
                                                                                GENEVA, IL 60134




CITY OF GEORGETOWN                        CITY OF GEORGETOWN                    CITY OF GEORGETOWN
ELECTRIC                                  P.O. BOX 1430                         SEWER
P.O. BOX 1430                             GEORGETOWN, TX 78627-1430             P.O. BOX 1430
GEORGETOWN, TX 78627-1430                                                       GEORGETOWN, TX 78627-1430




CITY OF GEORGETOWN                        CITY OF GEORGETOWN                    CITY OF GEORGETOWN
TRASH                                     UTILITY SYSTEMS                       WATER
P.O. BOX 1430                             300-1 INDUSTRIAL AVE                  P.O. BOX 1430
GEORGETOWN, TX 78627-1430                 GEORGETOWN, TX 78626                  GEORGETOWN, TX 78627-1430




CITY OF GERMANTOWN                        CITY OF GILBERT                       CITY OF GILROY
P.O. BOX 38809                            90 E CIVIC CENTER DR                  ATTN: BUSINESS LICENSE DIVISION
GERMANTOWN, TN 38183-0809                 GILBERT, AZ 85296                     7351 ROSANNA ST
                                                                                GILROY, CA 95020-6197




CITY OF GLADSTONE                         CITY OF GLADSTONE, MISSOURI           CITY OF GLADSTONE, MISSOURI
ATTN: OFFICE OF COLLECTOR                 ATTN: CITY TAX COLLECTOR              ATTN: CITY TAX COLLECTOR
P.O. BOX 10719                            7010 N HOLMES STREET                  GLADSTONE, MO 64118
GLADSTONE, MO 64188-0719                  GLADSTONE, MO 64118




CITY OF GLADSTONE-OCC/BUS LICE            CITY OF GLENDALE - TAX DEPT           CITY OF GLENDALE- CITY TREASURER
P.O. BOX 10719                            950 S BIRCH ST                        5909 N MILWAUKEE RIVER PKWY
GLADSTONE, MO 64188-0719                  GLENDALE, CO 80246                    GLENDALE, WI 53209-3815
CITY OF GLENDALE          Case 18-12241-CSS
                                         CITY OF Doc 26 Filed 10/05/18
                                                 GLENDALE                  PageCITY
                                                                                344 OFof 1739
                                                                                      GLENDALE
5850 W GLENDALE AVE                      ATTN: PROPERTY TAX DEPT.              ATTN: SALES & USE TAX DEPT.
GLENDALE, AZ 85301-2563                  5850 W GLENDALE AVE                   5850 W GLENDALE AVE
                                         GLENDALE, AZ 85301-2563               GLENDALE, AZ 85301-2563




CITY OF GLENDALE                         CITY OF GLENWOOD SPRINGS              CITY OF GLENWOOD SPRINGS
PRIVILEGE TAX SECTION                    101 W 8TH ST                          ATTN: SALES & USE TAX DEPT.
P.O. BOX 800                             P.O. BOX 458                          P.O. BOX 458
GLENDALE, AZ 85311-800                   GLENWOOD SPRINGS, CO 81602            GLENWOOD SPRINGS, CO 81602




CITY OF GOLDEN FINANCE DEPT              CITY OF GOLDEN                        CITY OF GOLDEN
911 10TH ST                              ATTN: SALES & USE TAX DEPT.           P.O. BOX 5885
GOLDEN, CO 80401                         P.O. BOX 5885                         DENVER, CO 80217-5885
                                         DENVER, CO 80217




CITY OF GOLDSBORO                        CITY OF GOLDSBORO                     CITY OF GOLDSBORO
P.O. BOX 1324                            PO DRAWER A                           PUBLIC WORKS
CHARLOTTE, NC 28201-1324                 GOLDSBORO, NC 27533                   200 N CENTER ST
                                                                               GOLDSBORO, NC 27530




CITY OF GONZALES                         CITY OF GONZALES                      CITY OF GOODYEAR
120 SOUTH IRMA BLVD                      UTILITIES                             195 N 145TH AVE BLDG D
GONZALES, LA 70737                       GONZALES MUNICIPAL BLDG, 820 ST       GOODYEAR, AZ 85338
                                         JOSEPH ST
                                         GONZALES, TX 78629



CITY OF GOODYEAR                         CITY OF GOOSE CREEK                   CITY OF GOOSE CREEK
ATTN: FINANCE DEPT-BUSINESS              P.O. DRAWER 1768                      PO DRAWER 1768
REGISTRATION                             GOOSE CREEK, SC 29445-1768            GOOSE CREEK, SC 29445
190 N LITHCFIELD RD
GOODYEAR, AZ 85338



CITY OF GOOSE CREEK                      CITY OF GRAND JUNCTION                CITY OF GRAND JUNCTION
WATER DEPT                               ATTN: SALES & USE TAX RETURN          ATTN: SALES & USE TAX DEPT.
519 N GOOSE CREEK BLVD                   250 NORTH 5TH ST                      250 NORTH 5TH ST
GOOSE CREEK, SC 29445                    GRAND JUNCTION, CO 81501-2668         GRAND JUNCTION, CO 81501-2668




CITY OF GRAND JUNCTION                   CITY OF GRAND JUNCTION                CITY OF GRAND JUNCTION
ATTN: SALES & USE TAX RETURN             P.O. BOX 1809                         SEWER DEPT
250 NORTH 5TH ST                         GRAND JUNCTION, CO 81502-1809         250 N 5TH ST
GRAND JUNCTION, CO 81501-2668                                                  GRAND JUNCTION, CO 81501




CITY OF GRAND JUNCTION                   CITY OF GRAND PRAIRIE                 CITY OF GRAND RAPIDS TREASURER
WATER DEPT                               P.O. BOX 534045                       300 MONROE AVE NW RM 220
250 N 5TH ST                             GRAND PRAIRIE, TX 75053               GRAND RAPIDS, MI 49503-2296
GRAND JUNCTION, CO 81501




CITY OF GRAND RAPIDS                     CITY OF GRAND RAPIDS                  CITY OF GRANDVIEW
300 MONROE AVE NW                        WATER SYSTEM                          1200 MAIN ST
GRAND RAPIDS, MI 49503                   300 MONROE AVENUE NW                  GRAND VIEW, MO 64030
                                         GRAND RAPIDS, MI 49503
CITY OF GRANTS PASS     Case 18-12241-CSS
                                       CITY OF Doc 26PASS
                                               GRANTS   Filed 10/05/18   PageCITY
                                                                              345 OFof 1739PASS
                                                                                    GRANTS
101 NORTHWEST A ST                       101 NW A ST                         PUBLIC WORKS DEPT
GRANTS PASS, OR 97526                    GRANTS PASS, OR 97526-2091          101 NW A ST
                                                                             GRANTS PASS, OR 97526




CITY OF GRAPEVINE WATER DEPT             CITY OF GRAPEVINE WATER DEPT        CITY OF GRAPEVINE
P.O. BOX 2503                            WATER & WASTEWATER UTILITIES        P.O. BOX 2503
GRAPEVINE, TX 76099-2503                 501 SHADY BROOK DR                  GRAPEVINE, TX 76099
                                         GRAPEVINE, TX 76051




CITY OF GREELEY DBA SALES TAX RETURN     CITY OF GREELEY                     CITY OF GREENBELT
1000 10TH ST                             ATTN: SALES & USE TAX DEPT.         25 CRESCENT RD
GREELEY, CO 80631-3808                   1000 10TH ST                        GREENBELT, MD 20770-1891
                                         GREELEY, CO 80631




CITY OF GREENFIELD - TREASURERS OFFICE   CITY OF GREENSBORO (TAXES)          CITY OF GREENSBORO
P.O. BOX 20739                           P.O. BOX 26120                      P.O. BOX 26118
GREENFIELD, WI 53220-0739                GREENSBORO, NC 27402-6120           GREENSBORO, NC 27402-6118




CITY OF GREENSBORO                       CITY OF GREENSBORO                  CITY OF GREENVILLE
P.O. BOX 26120                           P.O.BOX 1170                        ATTN: BUSINESS LICENSE APPLICATION
GREENSBORO, NC 27402-6120                GREENSBORO, NC 27402-1170           P.O. BOX 2207
                                                                             GREENVILLE, SC 29602




CITY OF GREENVILLE                       CITY OF GREENVILLE                  CITY OF GREENWOOD VILLAGE
ATTN: PROPERTY TAX DEPT.                 P.O. BOX 7207                       ATTN: SALES & USE TAX DEPT.
P.O. BOX 2207                            GREENVILLE, NC 27835-7207           P.O. BOX 910841
GREENVILLE, SC 29602                                                         DENVER, CO 80274




CITY OF GREENWOOD VILLAGE                CITY OF GREER SC                    CITY OF GRESHAM
ATTN: SALES & USE TAX RETURN             301 E POINSETT ST                   1333 NW EASTMAN PKWY
P.O BOX 910841                           GREER, SC 29651                     GRESHAM, OR 97030
DENVER, CO 80274




CITY OF GRESHAM                          CITY OF GRESHAM                     CITY OF GRETNA
ATTN: BUSINESS LICENSE SECTION           P.O. BOX 2260                       P.O. BOX 404
1333 NW EASTMAN PKWY                     PORTLAND, OR 97208-2260             GRETNA, LA 70054
GRESHAM, OR 97030




CITY OF GRETNA                           CITY OF GRIFFIN                     CITY OF GRIFFIN
P.O. BOX 404                             100 S HILL STREET                   ATTN: BUSINESS LICENSE DEPT
GRETNA, LA 70054-0404                    GRIFFIN, GA 30224                   P.O. BOX T 100 S HILL ST 3RD FL
                                                                             GRIFFIN, GA 30224




CITY OF GRIFFIN                          CITY OF GULF BREEZE                 CITY OF GULF BREEZE
PUBLIC WORKS, 100 S HILL STREET          1070 SHORELINE DR                   1070 SHORELINE DR
GRIFFIN, GA 30224                        GULF BREEZE, FL 32561               GULF BREEZE, FL 35262-0640
CITY OF GULF BREEZE     Case 18-12241-CSS
                                       CITY OF Doc  26 Filed 10/05/18
                                               GULF SHORES              PageCITY
                                                                             346 OFof 1739
                                                                                   GULF SHORES
UTILITY SERVICES DEPT                   1905 W 1ST ST                       ATTN: SALES & USE TAX DEPT.
1070 SHORELINE DR                       GULF SHORES, AL 36547               P.O. BOX 4089
GULF BREEZE, FL 32561                                                       GULF SHORES, AL 36547-4089




CITY OF GULF SHORES                     CITY OF GULFPORT                    CITY OF GULFPORT
P.O. BOX 4089                           P.O. BOX 1780                       P.O. BOX 22564
GULF SHORES, AL 36547-4089              GULFPORT, MS 39502                  JACKSON, MS 39225-2564




CITY OF GUNNISON                        CITY OF GUNNISON                    CITY OF GUNTERSVILLE
ATTN: SALES & USE TAX DEPT.             ATTN: SALES TAX RETURN              341 GUNTER AVE
P.O. BOX 239                            P.O. BOX 239                        GUNTERSVILLE, AL 35976
GUNNISON, CO 81230-0239                 GUNNISON, CO 81230-0239




CITY OF GYPSUM                          CITY OF HACKENSACK FIRE DEPT        CITY OF HALLANDALE BEACH
ATTN: SALES & USE TAX DEPT.             205 STATE ST                        400 S FEDERAL HWY
P.O. BOX 130                            HACKENSACK, NJ 07601                HALLANDALE BEACH, FL 33009
GYPSUM, CO 81637




CITY OF HALLANDALE BEACH                CITY OF HAMILTON                    CITY OF HAMILTON
ATTN: FINANCE DEPT                      ATTN: DIVISION OF TAXATION          ATTN: PROPERTY TAX DEPT.
400 S FEDERAL HWY                       345 HIGH STREET STE 310             345 HIGH STREET SUITE 410
HALLANDALE BEACH, FL 33009              HAMILTON, OH 45011                  HAMILTON, OH 45011




CITY OF HAMMOND (TAXES)                 CITY OF HAMMOND UTILITY DEPT        CITY OF HAMMOND UTILITY DEPT
P.O. BOX 2788                           P.O. BOX 2788                       WATER & SEWER
HAMMOND, LA 70404                       HAMMOND, LA 70404-2788              310 E CHARLES ST
                                                                            HAMMOND, LA 70401




CITY OF HAMMOND                         CITY OF HAMMOND                     CITY OF HAMPTON
P.O. BOX 2788                           TRASH/STEETS                        ATTN: TREASURER
HAMMOND, LA 70404                       310 E CHARLES ST                    P.O. BOX 3800
                                        HAMMOND, LA 70401                   HAMPTON, VA 23663-3800




CITY OF HAMPTON                         CITY OF HAMPTON                     CITY OF HANFORD UTILITY SVC
ATTN: TREASURER                         FINANCE DEPT 7TH FL                 315 N. DOUTY STREET
P.O. BOX 636                            22 LINCOLN ST                       HANFORD, CA 93230
HAMPTON, VA 23669                       HAMPTON, VA 23669




CITY OF HANFORD UTILITY SVC             CITY OF HANFORD                     CITY OF HANFORD
PUBLIC WORKS                            315 N DOUTY ST                      317 N DOUTHY ST
315-321 NORTH DOUTY STREET              HANFORD, CA 93230                   HANFORD, CA 93230
HANFORD, CA 93230




CITY OF HANFORD                         CITY OF HAPPY VALLEY                CITY OF HARKER HEIGHTS
ATTN: UTILITY DEPT                      16000 SE MISTY DR                   305 MILLERS CROSSING
315 N DOUTY ST                          HAPPY VALLEY, OR 97086-6299         HARKER HEIGHTS, TX 76548
HANFORD, CA 93230
CITY OF HARKER HEIGHTS Case      18-12241-CSS
                                           CITY OF Doc  26 Filed
                                                   HARRISONBURG   10/05/18
                                                                TREASURER         PageCITY
                                                                                       347 OFof 1739
                                                                                             HARRISONBURG VA
WATER & UTILITY SERVICES                    PO BOX 1007                               P.O. BOX 1007
305 MILLERS CROSSING                        HARRISONBURG, VA 22803-1007               HARRISONBURG, VA 22803-1007
HARKER HEIGHTS, TX 76548




CITY OF HARRISONBURG VA                     CITY OF HARRISONBURG                      CITY OF HARRISONBURG
PUBLIC UTILITIES                            409 S MAIN ST                             ATTN: COMMISSIONER OF REVENUE
409 S MAIN ST                               HARRISONBURG, VA 22801                    409 S MAIN ST
HARRISONBURG, VA 22801                                                                HARRISONBURG, VA 22801




CITY OF HARRISONBURG                        CITY OF HARTFORD                          CITY OF HARTSELLE
REFUSE & RECYCLING                          203 W MAIN                                200 SPARKMAN ST NW
2055 BEERY RD                               HARTFORD, AL 36344                        HARTSELLE, AL 35640
HARRISONBURG, VA 22803




CITY OF HARTSELLE                           CITY OF HAWTHORNE                         CITY OF HAYWARD
ATTN: SALES & USE TAX DEPT.                 4455 W 126TH ST                           777 B STREET
200 SPARKMAN ST NW                          HAWTHORNE, CA 90250                       HAYWARD, CA 94541-5007
HARTSELLE, AL 35640




CITY OF HEATH UTILITIES DEPT                CITY OF HEATH UTILITIES DEPT              CITY OF HEATH
1287 HEBRON RD                              UTILITY SERVICES DEPT                     1287 HEBRON ROAD
HEATH, OH 43056-1096                        200 LAURENCE DR                           HEATH, OH 43056
                                            HEATH, TX 75032




CITY OF HEATH                               CITY OF HEDWIG VILLAGE                    CITY OF HEFLIN
ATTN: INCOME TAX DEPARTMENT                 955 PINEY PT RD                           P.O. BOX 128
1287 HEBRON RD                              HEDWIG VILLAGE, TX 77024                  HEFLIN, AL 36264
HEATH, OH 43056-1004




CITY OF HELENA                              CITY OF HENAGAR                           CITY OF HENDERSON
ATTN: SALES & USE TAX DEPT.                 P.O. BOX 39                               240 WATER STREET
816 HWY 52E                                 HENAGAR, AL 35978                         P.O. BOX 95050
HELENA, AL 35080                                                                      HENDERSON, NV 89009




CITY OF HENDERSON                           CITY OF HENDERSONVILLE WATER & SEWER      CITY OF HENDERSONVILLE
ATTN: PROPERTY TAX DEPT.                    P.O. BOX 603068                           101 MAPLE DR NORTH
240 WATER STREETP.O. BOX 95050              CHARLOTTE, NC 28260-3068                  HENDERSONVILLE, TN 37075
HENDERSON, NV 89009




CITY OF HENDERSONVILLE                      CITY OF HENDERSONVILLE                    CITY OF HERMITAGE
145 5TH AVE E                               C/O HENDERSONVILLE UTILITY DISTRICT       ATTN: BUSINESS LICENSE TAX RETURN
HENDERSONVILLE, NC 28792                    125 INDIAN LAKE RD                        800 N HERMITAGE RD
                                            HENDERSONVILLE, TN 37075                  HERMITAGE, PA 16148




CITY OF HERMITAGE                           CITY OF HERMITAGE                         CITY OF HESPERIA WATER DIST
P.O. BOX 6078                               WATER POLLUTION CONTROL                   9700 SEVENTH AVE
HERMITAGE, PA 16148-1078                    ADMINISTRATION BUILDING                   HESPERIA, CA 92345
                                            2133 BROADWAY ROAD
                                            HERMITAGE, PA 16148
CITY OF HESPERIA WATER Case
                       DIST   18-12241-CSS
                                        CITY OF Doc 26 Filed 10/05/18
                                                HESPERIA                       PageCITY
                                                                                    348 OFof 1739
                                                                                          HESPERIA
9700 SEVENTH AVE.                       9700 SEVENTH AVE                           WATER DISTRICT
HESPERIA, CA 92345                      HESPERIA, CA 92345                         9700 SEVENTH AVE
                                                                                   HESPERIA, CA 92345




CITY OF HIALEAH                         CITY OF HIALEAH                            CITY OF HICKORY
501 PALM AVE.                           ATTN: BUSINESS LICENSE DIV                 P.O. BOX 398
HIALEAH, FL 33010                       PO BOX 918661                              HICKORY, NC 28603
                                        ORLANDO, FL 32891-8661




CITY OF HICKORY                         CITY OF HICKORY                            CITY OF HICKORY(TAXES)
P.O. BOX 580069                         PUBLIC UTILITIES                           P.O. BOX 398
CHARLOTTE, NC 28258-0069                76 N CENTER ST                             HICKORY, NC 28603
                                        HICKORY, NC 28601




CITY OF HIGH POINT                      CITY OF HIGH POINT                         CITY OF HIGH POINT-OC/BUS LICE
211 S HAMILTON                          P.O. BOX 10039                             P.O. BOX 10039
HIGH POINT, NC 27261                    211 S HAMILTON ST                          211 S HAMILTON ST
                                        HIGH POINT, NC 27261-3039                  HIGH POINT, NC 27261-3039




CITY OF HIGHLAND HEIGHTS                CITY OF HIGHLAND PARK                      CITY OF HILLSBORO
5827 HIGHLAND RD                        1707 ST JOHNS AVE                          150 E MAIN ST
HIGHLAND HEIGHTS, OH 44143              HIGHLAND PARK, IL 60035                    HILLSBORO, OR 97123-4028




CITY OF HIRAM                           CITY OF HOBART(IN)                         CITY OF HOLLY SPRINGS
217 MAIN ST                             414 MAIN ST                                P.O. BOX 990
HIRAM, GA 30141-3249                    HOBART, IN 46342                           HOLLY SPRINGS, GA 30142




CITY OF HOLLYWOOD                       CITY OF HOLLYWOOD                          CITY OF HOLLYWOOD
ATTN: BUSINESS TAX PAYMENT CENTER       ATTN: UTILITY BILL PROCESSING CENTER       CASHIERS OFFICE CITY HALL, ROOM 103
P.O. BOX 229187                         P.O. BOX 229187                            2600 HOLLYWOOD BLVD
HOLLYWOOD, FL 33022-9187                HOLLYWOOD, FL 33022-9187                   HOLLYWOOD, FL 33022




CITY OF HOLYOKE                         CITY OF HOLYOKE                            CITY OF HOMESTEAD
ATTN: PROPERTY TAX DEPT.                P.O. BOX 4135                              100 CIVIC COURT
P.O. BOX 4135                           WOBURN, MA 01888-4135                      HOMESTEAD, FL 33030
WOBURN, MA 01888-4135




CITY OF HOMESTEAD                       CITY OF HOMEWOOD                           CITY OF HOOVER
P.O. BOX 900430                         P.O. BOX 59666                             ATTN: SALES & USE TAX DEPT.
HOMESTEAD, FL 33090-0430                HOMEWOOD, AL 35259                         P O BOX 11407
                                                                                   HOOVER, AL 35246-0144




CITY OF HOOVER                          CITY OF HOOVER                             CITY OF HOPKINSVILLE
P.O. BOX 11407                          P.O. BOX 360628                            P.O. BOX 707
HOOVER, AL 35246-0144                   BIRMINGHAM, AL 35236                       HOPKINSVILLE, KY 42241
CITY OF HOPKINSVILLE-DIRCase   18-12241-CSS
                         OF FINANCE      CITY OF Doc  26 Filed
                                                 HOQUIAM         10/05/18    PageCITY
                                                                                  349 OFof
                                                                                        HOT1739
                                                                                            SPRINGS
P.O. BOX 707                             ATTN: FINANCE DEPT                      P.O. BOX 6300
HOPKINSVILLE, KY 42241-0707              609 8TH ST                              HOT SPRINGS, AR 71902
                                         HOQUIAM, WA 98550




CITY OF HOT SPRINGS                    CITY OF HOUSTON - ARA ALARM               CITY OF HOUSTON BLDG INSPECTIONS
P.O. BOX 66743                         ADMINISTRATION                            MECHANICAL SEC. ELEVATOR GROUP
SAINT LOUIS, MO 63166-6743             P.O. BOX 203887                           P.O. BOX 2688
                                       HOUSTON, TX 77216-3887                    HOUSTON, TX 77252-2688




CITY OF HOUSTON FIRE PERMIT OFFICE     CITY OF HOUSTON SIGN ADMINISTRATION       CITY OF HOUSTON
P.O. BOX 3625                          P.O. BOX 2688                             1400 LUBBOCK ST
HOUSTON, TX 77253                      HOUSTON, TX 77252-2688                    HOUSTON, TX 77002




CITY OF HOUSTON                        CITY OF HOUSTON                           CITY OF HOUSTON
P.O. BOX 1560                          PUBLIC WORKS                              WATER
HOUSTON, TX 77251                      901 BAGBY                                 901 BAGBY
                                       HOUSTON, TX 77002                         HOUSTON, TX 77002




CITY OF HUBER HEIGHTS - INCOME TAX     CITY OF HUBER HEIGHTS                     CITY OF HUBER HEIGHTS
DEPT                                   UNITED WATER                              WATER & WASTEWATER
P.O. BOX 24309                         P.O. BOX 24099                            6244 CHAMBERBURG RD
DAYTON, OH 45424                       HUBER HEIGHTS, OH 45424-0099              HUBER HEIGHTS, OH 45424




CITY OF HUEYTOWN                       CITY OF HUEYTOWN                          CITY OF HUNTINGTON BEACH
ATTN: SALES & USE TAX DEPT.            REVENUE DIVISION
P.O BOX 3650                           P.O. BOX 3650
HUEYTOWN, AL 35023                     HUEYTOWN, AL 35023




CITY OF HUNTSVILLE FINANCE DEPT        CITY OF HUNTSVILLE LICENSE DIVISION       CITY OF HUNTSVILLE
P.O. BOX 308                           P.O. BOX 308                              ATTN: SALES & USE TAX DEPT.
HUNTSVILLE, AL 35804-0308              HUNTSVILLE, AL 35804                      P.O. BOX 308
                                                                                 HUNTSVILLE, AL 35804




CITY OF HURST                          CITY OF HURST                             CITY OF INDEPENDENCE UTILITIES
1505 PRECINT LINE RD.                  PUBLIC WORKS                              P.O. BOX 219362
HURST, TX 76054-3302                   1505 PRECINCT LINE RD                     KANSAS CITY, MO 64121-9362
                                       HURST, TX 76054




CITY OF INDEPENDENCE                   CITY OF INDIAN TRAIL                      CITY OF INDIANAPOLIS
P.O. BOX 1019                          P.O. BOX 2430                             ATTN: OFFICE OF FINANCE & MGMT
INDEPENDENCE, MO 64051-0519            INDIAN TRAIL, NC 28079                    200 E WASHINGTON ST
                                                                                 INDIANAPOLIS, IN 46204




CITY OF INDIANAPOLIS                   CITY OF INVERNESS                         CITY OF INVERNESS
ATTN: REVENUE RECOVERY UNIT            212 W MAIN ST                             ATTN: FINANCE DEPT
2260 CITY COUNTY BUILDING200 E         INVERNESS, FL 34450                       212 W MAIN ST
WASHINGTON ST                                                                    INVERNESS, FL 34450
INDIANAPOLIS, IN 46204
CITY OF INVERNESS      Case     18-12241-CSS
                                          CITY OF Doc  26 Filed 10/05/18
                                                  IRONDALE                       PageCITY
                                                                                      350 OFof 1739
                                                                                            IRONDALE
PUBLIC WORKS, 212 W MAIN ST               ATTN: SALES & USE TAX DEPT.                P.O. BOX 100188
INVERNESS, FL 34450                       P.O. BOX 100188                            IRONDALE, AL 35210
                                          IRONDALE, AL 35210




CITY OF IRVING MUNICIPAL SVCS             CITY OF IRVING MUNICIPAL SVCS              CITY OF IRVING UTILITY BILLING
P.O. BOX 152288                           SOLID WASTE SERVICES                       P.O. BOX 152288
IRVING, TX 75015-2288                     110 E HUNTER FERRELL RD                    IRVING, TX 75015
                                          IRVING, TX 75060




CITY OF IRVING                            CITY OF IRVING                             CITY OF ISSAQUAH
P.O. BOX 152288                           SOLID WASTE SERVICES                       ALARM TRACKING & BILLING SRVS
IRVING, TX 75015                          110 E HUNTER FERRELL RD                    P.O. BOX 26364
                                          IRVING, TX 75060                           COLORADO SPRINGS, CO 80936




CITY OF ISSAQUAH                          CITY OF ISSAQUAH                           CITY OF JACKSON - TAX COLLECTOR
ATTN: BUSINESS TAXES                      P.O. BOX 26364                             101 E MAIN ST STE 101
P.O. BOX 1307                             COLORADO SPRINGS, CO 80936                 JACKSON, TN 38301-6207
ISSAQUAH, WA 98027-0051




CITY OF JACKSON                           CITY OF JACKSONVILLE BEACH                 CITY OF JACKSONVILLE FIRE AND RESCUE
PO BOX 2508                               11 NORTH THIRD ST                          DEPT
JACKSON, TN 38302                         JACKSONVILLE BEACH, FL 32250               515 N. JULIA STREET SUITE 213
                                                                                     JACKSONVILLE, FL 32202




CITY OF JACKSONVILLE NC FINANCE DEPT      CITY OF JACKSONVILLE UTILITY BILLING       CITY OF JACKSONVILLE
P.O. BOX 128                              P.O. BOX 128                               231 E FORSYTH ST STE 141
JACKSONVILLE, NC 28541                    JACKSONVILLE, NC 28541-0128                JACKSONVILLE, FL 32202




CITY OF JACKSONVILLE                      CITY OF JACKSONVILLE                       CITY OF JANESVILLE
ATTN: PLANNING AND DEVELPOMENT DEPT       ATTN: TAX COLLECTOR                        18 N JACKSON ST
214 N HOGAN ST                            231 E FORSYTH ST STE 141                   P.O. BOX 5005
JACKSONVILLE, FL 32202                    JACKSONVILLE, FL 32202                     JANESVILLE, WI 53547-5005




CITY OF JANESVILLE                        CITY OF JASPER AL                          CITY OF JASPER AL
UTILITY BILLING                           400 W 19TH ST                              P.O. BOX 1669
18 N JACKSON ST, CITY HALL, MAIN FL       JASPER, AL 35501                           JASPER, AL 35502
JACKSONVILLE, FL 32202




CITY OF JASPER                            CITY OF JASPER                             CITY OF JEFFERSON
ATTN: SALES & USE TAX DEPT.               P.O. BOX 1589                              320 E. MCCARTY ST.
P.O. BOX 1589                             JASPER, AL 35502                           JEFFERSON CITY, MO 65101-3193
JASPER, AL 35502




CITY OF JEFFERSONTOWN KENTUCKY            CITY OF JEFFERSONTOWN                      CITY OF JOHNSON CITY
P.O. BOX 991458                           10416 WATTERSON TRAIL                      ATTN: BUSINESS LICENSE
JEFFERSONTOWN, KY 40269-1458              JEFFERSONTOWN, KY 40299                    P.O. BOX 2150
                                                                                     JOHNSON CITY, TN 37605
CITY OF JOHNSON CITY    Case     18-12241-CSS
                                           CITY OF Doc
                                                   JOLIET26      Filed 10/05/18   PageCITY
                                                                                       351 OFof 1739
                                                                                             JOLIET
C/O CITY RECORDER                           P.O. BOX 5001                             PUBLIC UTILITIES
P.O. BOX 2227                               JOLIET, IL 60434-5001                     150 W JEFFERSON ST
JOHNSON CITY, TN 37605-2227                                                           JOLIET, IL 60432




CITY OF JONESBORO                           CITY OF JOPLIN                            CITY OF JOPLIN
COLLECTING DEPT                             602 S MAIN                                ATTN: UTILITY BILLING
P.O. BOX 1845                               JOPLIN, MO 64801                          602 S MAIN ST
JONESBORO, AR 72403-1845                                                              JOPLIN, MO 64801-2606




CITY OF KANNAPOLIS                          CITY OF KANNAPOLIS                        CITY OF KANSAS CITY MISSOURI
P.O. BOX 1190                               WATER SEWER & STORMWATER                  P.O. BOX 843825
KANNAPOLIS, NC 28082-1190                   1401 BEHTPAGE RD                          KANSAS CITY, MO 64184-3825
                                            KANNAPOLIS, NC 28081




CITY OF KANSAS CITY MO                      CITY OF KEENE                             CITY OF KEENE
ATTN: CITY TREASURER                        P.O. BOX 544                              PUBLIC WORKS
P.O. BOX 840101                             KEENE, NH 03431-0544                      350 MARLBORO ST
KANSAS CITY, MO 64184-0101                                                            KEENE, NH 03431




CITY OF KELLER                              CITY OF KELLER                            CITY OF KELSO
P.O. BOX 427                                WATER WASTEWATER & DRAINAGE               P.O. BOX 819
KELLER, TX 76244                            1100 BEAR CREEK PKWY                      KELSO, WA 98626
                                            KELLER, TX 76244




CITY OF KENNER - TAX DEPT                   CITY OF KENNER                            CITY OF KENNESAW
1801 WILLIAMS BLVD                          1801 WILLIAMS BLVD                        2529 J.O. STEPHENSON AVE
KENNER, LA 70062-6261                       BLDG B SUITE 105                          KENNESAW, GA 30144
                                            KENNER, LA 70062




CITY OF KENNEWICK                           CITY OF KENNEWICK                         CITY OF KENNEWICK
210 W 6TH AVE                               P.O. BOX 6108                             PUBLIC WORKS
KENNEWICK, WA 99336                         KENNEWICK, WA 99336-0108                  1010 E CHEMICAL DR
                                                                                      KENNEWICK, WA 99336




CITY OF KENOSHA TREASURER                   CITY OF KENOSHA                           CITY OF KENT - UTILITY BILLING
625-52ND STREET ROOM 105                    DEPT OF COMMUNITY DEVEL.                  FIRST FL, CENTENNIAL BLDG, 400 W GOWE
KENOSHA, WI 53140                           625 52ND ST ROOM 100                      ST
                                            KENOSHA, WI 53140                         KENT, WA 98032




CITY OF KENT - UTILITY BILLING              CITY OF KENT FINANCE                      CITY OF KENT
P.O. BOX 84665                              220 4TH AVE SOUTH                         ATTN: CUSTOMER SERVICES
SEATTLE, WA 98124-5965                      KENT, WA 98032-5895                       220 4TH AVE SOUTH
                                                                                      KENT, WA 98032-5895




CITY OF KENTWOOD                            CITY OF KETCHUM                           CITY OF KETCHUM
4900 BRETON AVE SE                          ATTN SALES TAX RETURN                     ATTN: SALES & USE TAX DEPT.
P.O. BOX 8848                               P.O. BOX 2315                             P.O. BOX 2315
KENTWOOD, MI 49518                          KETCHUM, ID 83340-2315                    KETCHUM, ID 83340
CITY OF KEY WEST            Case 18-12241-CSS
                                           CITY OF Doc  26 Filed 10/05/18
                                                   KEY WEST                         PageCITY
                                                                                         352 OFof 1739UTILITIES
                                                                                               KILLEEN
3104 FLAGLER AVE                            ATTN: BUSINESS LICENSE DEPT                  P.O. BOX 549
KEY WEST, FL 33040                          P.O. BOX 1409                                KILLEEN, TX 75640-0549
                                            KEY WEST, FL 33041




CITY OF KILLEEN UTILITIES                   CITY OF KILLEEN UTILITY COLLECTION           CITY OF KIMBERLY
WATER & SEWER                               DEPARTMENT                                   P.O. BOX 206
805 W JASPER RD                             P.O. BOX 549                                 KIMBERLY, AL 35091
KILLEEN, TX 76542                           KILLEEN, TX 76540-0549




CITY OF KINGMAN                             CITY OF KINGMAN                              CITY OF KINGSPORT
310 N 4TH ST                                310 NORTH 4TH ST                             225 W CENTER ST
KINGMAN, AZ 86401                           KINGMAN, AZ 86401-5817                       KINGSPORT, TN 37660




CITY OF KINGSPORT                           CITY OF KINSTON DEPT OF PUBLIC SAFETY        CITY OF KINSTON
P.O. BOX 880                                P.O. BOX 339                                 P.O. BOX 3049
KINGSPORT, TN 37662-0880                    KINSTON, NC 28502                            KINSTON, NC 28502-3049




CITY OF KINSTON                             CITY OF KIRKLAND                             CITY OF KIRKLAND
PUBLIC SERVICES                             123 5TH AVE                                  WATER DEPT
207 E KING ST                               KIRKLAND, WA 98033-6189                      123 5TH AVE
KINSTON, NC 28502                                                                        KIRKLAND, WA 98033




CITY OF KNOXVILLE                           CITY OF KNOXVILLE                            CITY OF LA JUNTA
ATTN: PROPERTY TAX OFFICE                   P.O. BOX 1028                                601 COLORADO AVE
P.O. BOX 15001                              KNOXVILLE, TN 37901                          P.O. BOX 489
KNOXVILLE, TN 37901-5001                                                                 LA JUNTA, CO 81050




CITY OF LA JUNTA                            CITY OF LA MESA                              CITY OF LA QUINTA
ATTN: SALES & USE TAX DEPT.                 ATTN: BUSINESS LICENSE SECTION               ATTN: BUSINESS LICENCE DIVISION
P.O. BOX 489                                8130 ALLISON AVE                             78-495 CALLE TAMPICO
LA JUNTA, CO 81050                          LA MESA, CA 91942                            LA QUINTA, CA 92253




CITY OF LA VERNE                            CITY OF LACEY                                CITY OF LAFAYETTE DBA FINANCE DEPT
3660 D STREET                               420 COLLEGE ST. SE                           SALES TAX DIV
LA VERNE, CA 91750                          LACEY, WA 98503-1238                         P.O. BOX 250
                                                                                         LAFAYETTE, CO 80026-0250




CITY OF LAFAYETTE LA                        CITY OF LAFAYETTE                            CITY OF LAFAYETTE
P.O. BOX 4024                               ATTN: SALES & USE TAX DEPT.                  ATTN: UTILITY BILLING OFFICE
LAFAYETTE, LA 70502                         P.O. BOX 1688                                P.O. BOX 1688
                                            LAFAYETTE, IN 47902-1688                     LAFAYETTE, IN 47902-1688




CITY OF LAFAYETTE                           CITY OF LAGRANGE                             CITY OF LAGRANGE
UTILITY BILLING OFFICE                      200 RIDLEY AVE ROOM 202                      P.O. BOX 4410
20 N 6TH ST                                 LAGRANGE, GA 30240                           LA GRANGE, GA 30241-0088
LAFAYETTE, IN 47901
                        Case
CITY OF LAKE CHARLES WATER     18-12241-CSS
                            DIVISION     CITY OF Doc  26 Filed
                                                 LAKE CHARLES       10/05/18   PageCITY
                                                                                    353 OFof 1739
                                                                                          LAKE CHARLES
P.O. BOX 1727                            326 PUJO ST                               ATTN: DEPARTMENT OF FINANCE
LAKE CHARLES, LA 70602-1727              LAKE CHARLES, LA 70601                    P.O. BOX 3706
                                                                                   LAKE CHARLES, LA 70602-3706




CITY OF LAKE CHARLES                    CITY OF LAKE CITY                          CITY OF LAKE CITY
ATTN: PROPERTY TAX DEPT.                P.O. BOX 1687                              PUBLIC WORKS
P.O. BOX 3706                           LAKE CITY, FL 32056-1687                   180 NE GUM SWAMP RD
LAKE CHARLES, LA 70602-3706                                                        LAKE CITY, FL 32055




CITY OF LAKE ELSINORE                   CITY OF LAKE GENEVA                        CITY OF LAKE JACKSON
130 S MAIN ST                           626 GENEVA ST                              25 OAK DR.
LAKE ELSINORE, CA 92530                 LAKE GENEVA, WI 53147                      LAKE JACKSON, TX 77566




CITY OF LAKE WALES                      CITY OF LAKE WALES                         CITY OF LAKELAND
201 W CENTRAL AVE                       P.O. BOX 1320                              ATTN: BUSINESS TAX OFFICE - CITY HALL
LAKE WALES, FL 33853                    LAKE WALES, FL 33859-1320                  228 S MASSACHUSETTS AVE
                                                                                   LAKELAND, FL 33801-5012




CITY OF LAKES                           CITY OF LAKEWOOD - DEPT OF FINANCE         CITY OF LAKEWOOD REVENUE DIV
ATTN: MINNEAPOLIS - HEALTH DEPARTMENT   480 S ALLISON PKWY                         P.O. BOX 17479
P.O. BOX 857005                         LAKEWOOD, CO 80226-3127                    DENVER, CO 80217-0479
MINNEAPOLIS, MN 55485-7005




CITY OF LAKEWOOD                        CITY OF LAKEWOOD                           CITY OF LAMAR CO SALES/USE TAX RETURN
6000 MAIN STREET SW                     ATTN: SALES & USE TAX DEPT.                102 E PARMENTER ST
LAKEWOOD, WA 98499-5027                 6000 MAIN STREET SW                        LAMAR, CO 81052
                                        LAKEWOOD, WA 98499-5027




CITY OF LAMAR                           CITY OF LANCASTER PA                       CITY OF LANCASTER PA
ATTN: SALES & USE TAX DEPT.             120 N DUKE ST                              P.O. BOX 1020
102 E PARMENTER ST                      LANCASTER, PA 17608                        LANCASTER, PA 17608-1020
LAMAR, CO 81052




CITY OF LANCASTER                       CITY OF LANCASTER                          CITY OF LANCASTER, OH - INCOME TAX
ATTN: PROPERTY TAX DEPT.                ATTN: PROPERTY TAX DEPT.                   DEPARTMENT
P.O. BOX 128                            P.O. BOX 729                               P.O. BOX 128
LANCASTER, OH 43130                     LANCASTER, SC 29721-0729                   LANCASTER, OH 43130




CITY OF LARGO                           CITY OF LARKSPUR                           CITY OF LARKSPUR
OCCUPATIONAL LICENSES                   ATTN: BUSINESS LICENSE OFFICE              ATTN: SALES & USE TAX DEPT.
P.O. BOX 296                            438 E SHAW AVE BOX 367                     438 E SHAW AVE BOX 367
LARGO, FL 33779-0296                    FRESNO, CA 93710                           FRESNO, CA 93710




CITY OF LAS VEGAS (TAXES)               CITY OF LAS VEGAS ANNUAL SEWER             CITY OF LAS VEGAS
                                        SERVICE FEES                               ATTN: BUSINESS LICENSE DIVISION
                                        P.O. BOX 52794                             P.O. BOX 748018
                                        PHOENIX, AZ 85072-2794                     LOS ANGELES, CA 90074-8018
CITY OF LAS VEGAS       Case   18-12241-CSS
                                         CITY OF Doc  26 Filed 10/05/18
                                                 LAUDERHILL                   PageCITY
                                                                                   354 OFof 1739
                                                                                         LAUDERHILL-UTILITY
DEPT OF PLAN & BUS. LIC                  5581 W OAKLAND PARK BLVD                  5581 W OAKLAND PARK BLVD
P.O. BOX 748018                          FORT LAUDERDALE, FL 33313-1411            LAUDERHILL, FL 33313
LOS ANGELES, CA 90074-8018




CITY OF LAUREL                           CITY OF LAVA HOT SPRINGS                  CITY OF LAWRENCE
8103 SANDY SPRING RD                     ATTN: SALES & USE TAX DEPT.               6 E 6TH ST
LAUREL, MD 20707                         P.O. BOX 187                              LAWRENCE, KS 66044
                                         LAVA HOT SPRINGS, ID 83246




CITY OF LAWRENCE                         CITY OF LAWTON                            CITY OF LAWTON
P.O. BOX 1757                            212 SW 9TH ST                             212 SW 9TH ST
LAWRENCE, KS 66044-8757                  LAWTON, OK 73501                          LAWTON, OK 73501-3944




CITY OF LAWTON                           CITY OF LAYTON                            CITY OF LEAGUE CITY
212 SW 9TH STREET                        ATTN: COMMERCIAL & ECONOMIC DVPMT         300 W WALKER
LAWTON, OK 73501                         437 N WASATCH DR                          LEAGUE CITY, TX 77573
                                         LAYTON, UT 84041




CITY OF LEAGUE CITY                      CITY OF LEBANON AUTHORITY                 CITY OF LEBANON TN
P.O. BOX 2008                            2311 RIDGEVIEW RD                         200 N CASTLE HEIGHTS AVE
LEAGUE CITY, TX 77574                    LEBANON, PA 17042                         LEBANON, TN 37087




CITY OF LEBANON TN                       CITY OF LEBANON UTILITIES                 CITY OF LEBANON
ATTN: COMMISSIONER OF FINANCE            200 N CASTLE HEIGHTS AVE STE 117          200 N CASTLE HEIGHTS AVE STE 124
200 CASTLE HEIGHTS AVE N                 LEBANON, TN 37087                         LEBANON, TN 37087
LEBANON, TN 37087-2740




CITY OF LEEDS                            CITY OF LEES SUMMIT                       CITY OF LEESBURG
ATTN: SALES & USE TAX DEPT.              I-470 & 350 HIGHWAY (SUMMIT WOODS)        ATTN: BUSINESS TAX OFFICE
1040 PARK DR                             220 SE GREEN, P.O. BOX 1600               P.O. BOX 490630
LEEDS, AL 35094                          LEES SUMMIT, MO 64063                     LEESBURG, FL 34749




CITY OF LENEXA                           CITY OF LENEXA                            CITY OF LENEXA
12350 W 87 STREET PKWY                   17101 W 87TH ST PKWY                      FALSE ALARM REDUCTION PROGRAM
P.O. BOX 14888                           LENEXA, KS 66219                          P.O. BOX 873123
LENEXA, KS 66285-4888                                                              KANSAS CITY, MO 64187-3123




CITY OF LEOMINSTER                       CITY OF LEOMINSTER                        CITY OF LEWISTON ID
25 WEST ST                               P.O. BOX 457                              215 D ST, STE B
LEOMINSTER, MA 01453                     WORCESTER, MA 01613-0457                  LEWISTON, ID 83501




CITY OF LEWISTON ID                      CITY OF LEWISTON                          CITY OF LEWISTON
P.O. BOX 617                             215 D ST, STE B                           C/O BUSINESS LICENSES
LEWISTON, ID 83501                       LEWISTON, ID 83501                        P.O. BOX 617
                                                                                   LEWISTON, ID 83501
CITY OF LEWISTON           Case 18-12241-CSS
                                          CITY OF Doc  26 Filed 10/05/18
                                                  LEWISVILLE                PageCITY
                                                                                 355 OFof 1739
                                                                                       LIMA OH INCOME TAX DIV
C/O BUSINESS LICENSES                      P.O. BOX 299002                       P.O. BOX 155
P.O. BOX 617                               LEWISVILLE, TX 75029-9002             LIMA, OH 45802-0155
LEWISTON, ID 83501-0617




CITY OF LIMA UTILITIES                     CITY OF LIMA UTILITIES                CITY OF LINCOLN ALARM PROGRAM
50 TOWN SQ                                 P.O. BOX 183199                       ALARM PROGRAM
LIMA, OH 45801                             COLUMBUS, OH 43218-3199               P.O. BOX 140876
                                                                                 IRVING, TX 75014-0876




CITY OF LINCOLN                            CITY OF LINCOLN                       CITY OF LINCOLN
600 SIXTH ST                               ALARM REGISTRATION PROGRAM            P.O. BOX 541073
LINCOLN, CA 95648                          555 S 10TH ST BOX 26                  LOS ANGELES, CA 90054-1073
                                           LINCOLN, NE 68508-2803




CITY OF LINEVILLE                          CITY OF LITTLE ROCK                   CITY OF LITTLETON
P.O. BOX 247                               TREASURY MANAGEMENT DIV               2255 W BERRY AVE
LINEVILLE, AL 36266-0247                   500 WEST MARKHAM ST STE 100           LITTLETON, CO 80120
                                           LITTLE ROCK, AR 72201-1497




CITY OF LITTLETON                          CITY OF LITTLETON                     CITY OF LIVERMORE
ATTN: SALES & USE TAX DEPT.                ATTN: SALES/ USE TAX RETURN           1052 S LIVERMORE AVE
2255 W BERRY AVE                           P.O. BOX 1305                         LIVERMORE, CA 94550-4899
LITTLETON, CO 80120                        ENGLEWOOD, CO 80150-1305




CITY OF LIVERMORE                          CITY OF LOCKPORT                      CITY OF LOCKPORT
PLEASANTON FIRE DEPT                       222 E NINTH ST                        ONE LOCKS PLAZA
3560 NEVADA ST                             LOCKPORT, IL 60441                    LOCKPORT, NY 14094
PLEASANTON, CA 94566




CITY OF LODI                               CITY OF LODI                          CITY OF LOGAN UT
221 W PINE ST                              P.O. BOX 3006                         290 N 100 W
LODI, CA 95240                             LODI, CA 95241-1910                   LOGAN, UT 84321




CITY OF LOGAN UT                           CITY OF LOGAN                         CITY OF LONE TREE
P.O. BOX 328                               DIVISION OF BUSINESS LICENSING        ATTN: TAX DEPT
LOGAN, UT 84323-0328                       290 N 100 W                           P.O. BOX 17987
                                           LOGAN, UT 84321                       DENVER, CO 80217-0987




CITY OF LONE TREE                          CITY OF LONGMONT                      CITY OF LONGMONT
P.O. BOX 911882                            350 KIMBARK ST                        ATTN: SALES & USE TAX DEPT.
DENVER, CO 80291                           LONGMONT, CO 80501                    350 KIMBARK ST
                                                                                 LONGMONT, CO 80501




CITY OF LONGMONT                           CITY OF LONGVIEW WATER UTIL           CITY OF LONGVIEW WATER UTIL
UTILITY BILLING                            300 W COTTON ST                       P.O. BOX 1952
350 KIMBARK ST                             LONGVIEW, TX 75601                    LONGVIEW, TX 75606-1952
LONGMONT, CO 80501
CITY OF LONGVIEW          Case 18-12241-CSS
                                         CITY OF Doc 26 Filed 10/05/18
                                                 LONGVIEW                PageCITY
                                                                              356 OFof 1739
                                                                                    LONGVIEW
300 W COTTON ST                          FINANCE DEPT                        P.O. BOX 1952
LONGVIEW, TX 75601                       P.O. BOX 128                        LONGVIEW, TX 75606
                                         LONGVIEW, WA 98632




CITY OF LONGVIEW-POLICE DEPT             CITY OF LORAIN WATER                CITY OF LORAIN WATER
ATTN: ALARM COORDINATOR                  1106 W 1ST STREET                   UTILITIES
302 W COTTON ST                          LORAIN, OH 44052-1434               1106 FIRST ST
LONGVIEW, TX 75601                                                           LORAIN, OH 44052




CITY OF LORAIN                           CITY OF LORAIN-WATER                CITY OF LOS BANOS
ATTN: INCOME TAX DEPT                    ATTN: UTILITIES DEPT                520 J STREET
605 W 4TH ST                             1106 W 1ST ST                       LOS BANOS, CA 93635
LORAIN, OH 44052-1605                    LORAIN, OH 44052-1434




CITY OF LOS BANOS                        CITY OF LOUISVILLE                  CITY OF LOUISVILLE
520 J STREET                             ATTN: SALES & USE TAX DEPT.         ATTN: SALES & USE TAX DEPT.
LOS BANOS, CA 93635-4281                 749 MAIN ST                         749 MAIN ST
                                         LOUISVILLE, CO 80027                LOUISVILLE, CO 80027-1829




CITY OF LOVELAND DBA SALES TAX ADM       CITY OF LOVELAND                    CITY OF LOVELAND
P.O. BOX 0845                            ATTN: REVENUE DIVISION              ATTN: SALES & USE TAX DEPT.
LOVELAND, CO 80539-0845                  500 E THIRD STE 110                 P.O. BOX 3500
                                         LOVELAND, CO 80537                  LOVELAND, CO 80539-3500




CITY OF LOVELAND                         CITY OF LOVELAND                    CITY OF LOVELAND
P.O. BOX 3500                            P.O. BOX 845                        WATER & POWER
LOVELAND, CO 80539-3500                  LOVELAND, CO 80539                  200 N WILSON AVE
                                                                             LOVELAND, CO 80538




CITY OF LOWELL                           CITY OF LUFKIN                      CITY OF LUFKIN
P.O. BOX 969                             300 E SHEPHERD                      P.O. BOX 190
LOWELL, MA 01853                         LUFKIN, TX 75902                    LUFKIN, TX 75902




CITY OF LUMBERTON                        CITY OF LUMBERTON                   CITY OF LUMBERTON
500 N CEDAR ST                           ELECTRIC UTILITIES DEPT             PUBLIC WORKS
P.O. BOX 1388                            500 N CEDAR ST                      215 S CEDAR ST
LUMBERTON, NC 28359-1388                 LUMBERTON, NC 28358                 LUMBERTON, NC 28358




CITY OF LYNCHBURG                        CITY OF LYNCHBURG                   CITY OF LYNN
P.O. BOX 858                             P.O. BOX 9000                       ATTN: COLLECTORS OFFICE
LYNCHBURG, VA 24505-0858                 LYNCHBURG, VA 24505-9000            3 CITY HALL SQUARE ROOM 204
                                                                             LYNN, MA 01901-1028




CITY OF LYNNWOOD                         CITY OF MACON                       CITY OF MADEIRA
P.O. BOX 5008                            P.O. BOX 247                        ATTN: INCOME TAX DEPT
LYNNWOOD, WA 98046                       MACON, GA 31202-0247                7141 MIAMI AVE
                                                                             MADEIRA, OH 45243-2616
                       Case
CITY OF MADISON TREASURER        18-12241-CSS
                                           CITY OF Doc  26
                                                   MADISON       Filed 10/05/18   PageCITY
                                                                                       357 OFof 1739 UTILITIES
                                                                                             MANASSAS
P.O. BOX 2999                               ATTN: SALES & USE TAX DEPT.               8500 PUBLIC WORKS DR
MADISON, WI 53701-2999                      P.O. BOX 99                               MANASSAS, VA 20110
                                            MADISON, AL 35758




CITY OF MANASSAS UTILITIES                  CITY OF MANASSAS                          CITY OF MANCHESTER (TAXES)
P.O. BOX 192                                ATTN: TREASURER                           ONE CITY HALL PLAZA
MANASSAS, VA 20108-0192                     P.O. BOX 512                              MANCHESTER, NH 03101
                                            MANASSAS, VA 20108-0512




CITY OF MANCHESTER                          CITY OF MANCHESTER                        CITY OF MANCHESTER
14318 MANCHESTER RD.                        ATTN: PROPERTY TAX DEPT.                  ONE CITY HALL PLAZA
MANCHESTER, MO 63011                        ONE CITY HALL PLAZA                       MANCHESTER, NH 03101
                                            MANCHESTER, NH 03101




CITY OF MANHATTAN                           CITY OF MANHATTAN                         CITY OF MANKATO
1101 POYNTZ AVE                             CUSTOMER SERVICE                          INTERGOVERNMENTAL CENTER
MANHATTAN, KS 66502                         P.O. BOX 309                              10 CIVIC CENTER PLAZA
                                            MANHATTAN, KS 66505-0309                  MANKATO, MN 56001




CITY OF MANKATO                             CITY OF MANKATO                           CITY OF MANSFIELD
P.O. BOX 3368                               P.O. BOX 860055                           ATTN: INCOME TAX DEPARTMENT
MANKATO, MN 56002-3368                      MINNEAPOLIS, MN 55486-0055                P.O. BOX 577
                                                                                      MANSFIELD, OH 44901-0577




CITY OF MANTECA - FINANCE DEPT              CITY OF MANTECA                           CITY OF MANTECA
1001 W CENTER ST                            1001 W CENTER ST                          CITY HALL 1001 W CENTER ST
MANTECA, CA 95337                           MANTECA, CA 95337                         MANTECA, CA 95337




CITY OF MAPLE GROVE                         CITY OF MAPLE GROVE                       CITY OF MAPLEWOOD MO
12800 ARBOR LAKES PKWY N                    P.O. BOX 1180                             1830 COUNTY RD B EAST
MAPLE GROVE, MN 55369-7064                  MAPLE GROVE, MN 55311-6180                MAPLEWOOD, MN 55109




CITY OF MAPLEWOOD                           CITY OF MARANA                            CITY OF MARATE
7601 MANCHESTER ROAD                        ATTN: FINANCE DEPARTMENT                  901 NW 66TH AVE
MAPLEWOOD, MO 63143                         11555 W CIVIC CENTER DR                   MARGATE, FL 33063
                                            MARANA, AZ 85653




CITY OF MARGATE                             CITY OF MARGATE                           CITY OF MARGATE
5790 MARGATE BLVD                           901 NW 66TH AVE                           901 NW 66TH AVE
MARGATE, FL 33063                           MARGATE, FL 33063                         MARGATE, FL 38026




CITY OF MARGATE                             CITY OF MARGATE                           CITY OF MARGATE
MARGATE FIRE DEPT                           MARGATE FIRE DEPT                         P.O. BOX 30318
1811 BANKS RD                               600 ROCK ISLAND RD                        TAMPA, FL 33630-3318
MARGATE, FL 33063                           MARGATE, FL 33063
CITY OF MARGATE          Case 18-12241-CSS
                                        CITY OF Doc  26 Filed 10/05/18
                                                MARIETTA                 PageCITY
                                                                              358 OFof 1739WATER & SEWER
                                                                                    MARION
WATER BILLING                            205 LAWRENCE ST BOX 609             1102 TOWER SQUARE PLAZA
5790 MARGATE BLVD                        MARIETTA, GA 30061-0609             MARION, IL 62959
MARGATE, FL 33063




CITY OF MARION                           CITY OF MARLBOROUGH                 CITY OF MARSHFIELD
P.O. BOX 959                             P.O. BOX 735                        ATTN: FINANCE DEPT
MARION, AL 36756                         READING, MA 01867-0405              630 S CENTRAL AVE STE 502
                                                                             MARSHFIELD, WI 54449




CITY OF MARTINSVILLE                     CITY OF MARTINSVILLE                CITY OF MARTINSVILLE-TREASURER
55 W CHURCH ST                           P.O. BOX 1023                       P.O. BOX 1222
MARTINSVILLE, VA 24112                   MARTINSVILLE, VA 24114-1023         MARTINSVILLE, VA 24114




CITY OF MASSILLON, OH - INCOME TAX       CITY OF MATTESON                    CITY OF MATTHEW
DEPARTMENT                               4900 VILLAGE COMMONS                3940 GRANDVIEW AVE
P.O. BOX 910                             MATTESON, IL 60443                  LOUISVILLE, KY 40207
MASSILLON, OH 44648




CITY OF MCCALL                           CITY OF MCCALL                      CITY OF MCDONOUGH
216 E PARK ST                            ATTN: SALES & USE TAX DEPT.         C/O OCCUPATIONAL TAX DEPT
MCCALL, ID 83638                         216 E PARK ST                       136 KEYS FERRY ST
                                         MCCALL, ID 83638                    MC DONOUGH, GA 30253-3213




CITY OF MCHENRY                          CITY OF MEBANE                      CITY OF MEBANE
333 S GREEN ST                           106 E WASHINGTON STREET             106 E. WASHINGTON ST.
MCHENRY, IL 60050                        MEBANE, NC 27302                    MEBANE, FL 27302




CITY OF MEBANE                           CITY OF MEBANE                      CITY OF MEBANE
107 E WASHINGTON STREET                  108 E WASHINGTON STREET             109 E WASHINGTON STREET
MEBANE, NC 27303                         MEBANE, NC 27304                    MEBANE, NC 27305




CITY OF MEBANE                           CITY OF MEBANE                      CITY OF MEBANE
110 E WASHINGTON STREET                  111 E WASHINGTON STREET             112 E WASHINGTON STREET
MEBANE, NC 27306                         MEBANE, NC 27307                    MEBANE, NC 27308




CITY OF MEBANE                           CITY OF MEDFORD FINANCE DEPT        CITY OF MEDFORD MA
TAX DEPT                                 200 S. IVY STREET                   85 GEORGE P HASSETT DR.
106 E WASHINGTON ST                      MEDFORD, OR 97501                   MEDFORD, MA 02155
MEBANE, NC 27302




CITY OF MEDFORD                          CITY OF MELBOURNE UTILITIES         CITY OF MELBOURNE UTILITIES
ATTN: FINANCE DEPT                       900 E STRAWBRIDGE AVE               901 E STRAWBRIDGE AVE
411 W 8TH ST 380                         MELBOURNE, FL 32901                 MELBOURNE, FL 32902
MEDFORD, OR 97501
                       Case
CITY OF MELBOURNE UTILITIES   18-12241-CSS
                                        CITY OF Doc 26 Filed 10/05/18
                                                MELBOURNE               PageCITY
                                                                             359 OFof 1739
                                                                                   MEMPHIS-TREASURER
P.O. BOX 17                             P.O. BOX 17                         P.O. BOX 185
MELBOURNE, FL 32902-0017                MELBOURNE, FL 32902                 MEMPHIS, TN 38101-0185




CITY OF MENIFEE                         CITY OF MENLO PARK                  CITY OF MERCED
29714 HAUN RD                           CIVIC CENTER                        678 W 18TH ST DEPT BL
MENIFEE, CA 92586                       701 LAUREL ST                       MERCED, CA 95340
                                        MENLO PARK, CA 94025




CITY OF MERCED                          CITY OF MERCED                      CITY OF MERCED
678 W. 18TH STREET                      678 WEST 18TH STREET                679 WEST 18TH STREET
MERCED, CA 95340                        MERCED, CA 95340                    MERCED, CA 95341




CITY OF MERCED                          CITY OF MERCER ISLAND               CITY OF MERIDEN TAX COLLECTOR
680 WEST 18TH STREET                    9611 SE 36TH ST                     P.O. BOX 150431
MERCED, CA 95342                        MERCER ISLAND, WA 98040             HARTFORD, CT 06115-0431




CITY OF MERIDIAN ID                     CITY OF MERIDIAN                    CITY OF MERIDIAN
611 23RD AVENUE                         601 23RD AVENUE                     602 23RD AVENUE
MERIDIAN, MS 39311                      MERIDIAN, MS 39301                  MERIDIAN, MS 39302




CITY OF MERIDIAN                        CITY OF MERIDIAN                    CITY OF MERIDIAN
603 23RD AVENUE                         604 23RD AVENUE                     605 23RD AVENUE
MERIDIAN, MS 39303                      MERIDIAN, MS 39304                  MERIDIAN, MS 39305




CITY OF MERIDIAN                        CITY OF MERIDIAN                    CITY OF MERIDIAN
606 23RD AVENUE                         607 23RD AVENUE                     608 23RD AVENUE
MERIDIAN, MS 39306                      MERIDIAN, MS 39307                  MERIDIAN, MS 39308




CITY OF MERIDIAN                        CITY OF MERIDIAN                    CITY OF MERIDIAN
609 23RD AVENUE                         610 23RD AVENUE                     P.O. BOX 670
MERIDIAN, MS 39309                      MERIDIAN, MS 39310                  CALDWELL, ID 83606-0670




CITY OF MERRIAM                         CITY OF MESA                        CITY OF MESA
9001 W 62ND ST                          ATTN: PROPERTY TAX DEPT.            LICENSING OFFICE
MERRIAM, KS 66202-2815                  P O BOX 16350                       PO BOX 1466
                                        MESA, AZ 85211-6350                 MESA, AZ 85211-1466




CITY OF MESA                            CITY OF MESQUITE                    CITY OF MESQUITE
P.O. BOX 1878                           1527 N GALLOWAY AVE                 1528 N GALLOWAY AVE
MESA, AZ 85211-1878                     MESQUITE, TX 75149                  MESQUITE, TX 75150
CITY OF MESQUITE         Case 18-12241-CSS
                                        CITY OF Doc 26 Filed 10/05/18
                                                MESQUITE                PageCITY
                                                                             360 OFof 1739
                                                                                   MESQUITE
1529 N GALLOWAY AVE                     1530 N GALLOWAY AVE                 1531 N GALLOWAY AVE
MESQUITE, TX 75151                      MESQUITE, TX 75152                  MESQUITE, TX 75153




CITY OF MESQUITE                        CITY OF MESQUITE                    CITY OF METHUEN RE/PP
1532 N GALLOWAY AVE                     P.O. BOX 850287                     PO BOX 397
MESQUITE, TX 75154                      MESQUITE, TX 75185-0287             MEDFORD, MA 02155-0004




CITY OF MIAMI                           CITY OF MIAMI                       CITY OF MIAMI
444 SW 2ND AVENUE 6TH FLOOR             DEPT OF FINANCE                     PO BOX 105206
MIAMI, FL 33130                         PO BOX 330708                       ATLANTA, GA 30348-5206
                                        MIAMI, FL 33233




CITY OF MIAMISBURG - INC TAX DEPT       CITY OF MIAMISBURG                  CITY OF MIDDLETON TREASURER
10 N 1ST ST                             PO BOX 6401415                      7426 HUBBARD AVE
MIAMISBURG, OH 45342                    CINCINNATI, OH 45264-1415           MIDDLETON, WI 53562




CITY OF MIDDLETON                       CITY OF MIDDLETON                   CITY OF MIDDLETON
7426 HUBBARD AVENUE                     7427 HUBBARD AVENUE                 INCOME TAX DEPT
MIDDLETON, WI 53562                     MIDDLETON, WI 53563                 1 DONHAM PLAZA
                                                                            MIDDLETOWN, OH 45042




CITY OF MIDDLETOWN                      CITY OF MIDDLETOWN                  CITY OF MIDDLETOWN
245 DEKOVEN DRIVE                       246 DEKOVEN DRIVE                   P.O. BOX 740402
MIDDLETOWN, CT 06457                    MIDDLETOWN, CT 06458                CINCINNATI, OH 45274-0402




CITY OF MIDDLETOWN                      CITY OF MIDLAND                     CITY OF MIDLAND
TAX COLLECTOR                           300 N LORAINE                       301 N LORAINE
245 DEKOVEN DR                          MIDLAND, TX 79701                   MIDLAND, TX 79702
MIDDLETOWN, CT 06457




CITY OF MIDLAND                         CITY OF MIDLAND                     CITY OF MIDLAND
302 N LORAINE                           303 N LORAINE                       304 N LORAINE
MIDLAND, TX 79703                       MIDLAND, TX 79704                   MIDLAND, TX 79705




CITY OF MIDLAND                         CITY OF MIDLAND                     CITY OF MIDLAND
305 N LORAINE                           ATTN: CITY TREASURER                P.O. BOX 1152
MIDLAND, TX 79706                       PO BOX 1647                         300 N. LORAINE
                                        MIDLAND, MI 48641-1647              MIDLAND, TX 79702




CITY OF MIDLAND                         CITY OF MIDVALE                     CITY OF MIDWEST CITY
WATER DEPARTMENT                        7505 S HOLDEN ST                    100 N MIDWEST BOULEVARD
P.O. BOX 1647                           MIDVALE CITY, UT 84047              MIDWEST CITY, OK 73110
MIDLAND, MI 48641-1647
CITY OF MIDWEST CITY   Case      18-12241-CSS
                                           CITY OF Doc 26 CITY
                                                   MIDWEST   Filed 10/05/18   PageCITY
                                                                                   361 OFof 1739 CITY
                                                                                         MIDWEST
101 N MIDWEST BOULEVARD                     102 N MIDWEST BOULEVARD               P.O. BOX 268896
MIDWEST CITY, OK 73111                      MIDWEST CITY, OK 73112                OKLAHOMA CITY, OK 73126-8896




CITY OF MILFORD                             CITY OF MILFORD                       CITY OF MILFORD
70 WEST RIVER STREET                        71 WEST RIVER STREET                  72 WEST RIVER STREET
MILFORD, CT 06460                           MILFORD, CT 06461                     MILFORD, CT 06462




CITY OF MILFORD                             CITY OF MILFORD-TAX COLLECTOR         CITY OF MILLEDGEVILLE
P.O. BOX 159                                PO BOX 3025                           119 E HANCOCK ST
MILFORD, DE 19963                           MILFORD, CT 06460                     MILLEDGEVILLE, GA 31061




CITY OF MILLEDGEVILLE                       CITY OF MILLEDGEVILLE                 CITY OF MILLEDGEVILLE
119 E HANCOCK ST                            120 E HANCOCK ST                      121 E HANCOCK ST
MILLEDGEVILLE, GA 31061-3413                MILLEDGEVILLE, GA 31062               MILLEDGEVILLE, GA 31063




CITY OF MILLEDGEVILLE                       CITY OF MILLVILLE UTILITY DEPT        CITY OF MILLVILLE UTILITY DEPT
PO BOX 1900                                 12 SOUTH HIGH ST                      12 SOUTH HIGH ST
MILLEDGEVILLE, GA 31059-1900                MILLVILLE, NJ 08332                   P.O. BOX 609
                                                                                  MILLVILLE, NJ 08332-0609




CITY OF MILLVILLE UTILITY DEPT              CITY OF MILLVILLE UTILITY DEPT        CITY OF MILPITAS
13 SOUTH HIGH ST                            14 SOUTH HIGH ST                      BUSINESS LICENSE OFFICE
MILLVILLE, NJ 08333                         MILLVILLE, NJ 08334                   455 EAST CALAVERAS BLVD
                                                                                  MILPITAS, CA 95035-5479




CITY OF MILTON                              CITY OF MILWAUKEE                     CITY OF MIRAMAR FIRE RESCUE
FINANCE DEPT                                OFFICE OF THE CITY TREASURER          14801 SW 27TH ST
2006 HERITAGE WALK                          PO BOX 78776                          MIRAMAR, FL 33027
MILTON, GA 30004                            MILWAUKEE, WI 53278-0776




CITY OF MIRAMAR                             CITY OF MIRAMAR                       CITY OF MIRAMAR
2300 CIVIC CENTER PLACE                     2301 CIVIC CENTER PLACE               BUSINESS TAX OFFICE
MIRAMAR, FL 33025                           MIRAMAR, FL 33026                     2300 CIVIC CENTER PLACE
                                                                                  MARIMAR, FL 33025




CITY OF MIRAMAR                             CITY OF MISHAWAKA                     CITY OF MOBILE
P.O. BOX 105595                             600 E 3RD ST                          901 KELLY ST
ATLANTA, GA 30348-5595                      MISHAWAKA, IN 46544                   MOBILE, AL 36604




CITY OF MOBILE                              CITY OF MOBILE                        CITY OF MOBILE
C/O REVENUE DEPT                            CITY OF MOBILE MOTOR POOL             PO DRAWER 161009
PO BOX 3065                                 770 GAYLE STREET                      MOBILE, AL 36616
MOBILE, AL 36652-3065                       MOBILE, AL 36604
CITY OF MOBILE          Case     18-12241-CSS
                                           CITY OF Doc 26 Filed 10/05/18
                                                   MODESTO                 PageCITY
                                                                                362 OFof 1739
                                                                                      MODESTO
REVENUE DEPT 1530                          1010 10TH ST                        1011 10TH ST
PO BOX 11407                               MODESTO, CA 95354                   MODESTO, CA 95355
BIRMINGHAM, AL 35246-1530




CITY OF MODESTO                            CITY OF MODESTO                     CITY OF MONROE
P.O. BOX 3442                              P.O. BOX 767                        300 W CROWELL STREET
MODESTO, CA 95353                          MODESTO, CA 95353-0767              MONROE, NC 28112




CITY OF MONROE                             CITY OF MONROE                      CITY OF MONROE
301 W CROWELL STREET                       302 W CROWELL STREET                303 W CROWELL STREET
MONROE, NC 28113                           MONROE, NC 28114                    MONROE, NC 28115




CITY OF MONROE                             CITY OF MONROE                      CITY OF MONROEVILLE
304 W CROWELL STREET                       P.O. BOX 69                         PO BOX 147
MONROE, NC 28116                           MONROE, NC 28111-0069               MONROEVILLE, AL 36461




CITY OF MONTCLAIR                          CITY OF MONTCLAIR                   CITY OF MONTEVALLO
5111 BENITO STREET                         P.O. BOX 2308                       541 MAIN ST
MONTCLAIR, CA 91763                        MONTCLAIR, CA 91763-0808            MONTEVALLO, AL 35115




CITY OF MONTGOMERY                         CITY OF MONTGOMERY                  CITY OF MONTICELLO
ATTN: SALES & USE TAX DEPT.                CO COMPASS BANK                     505 WALNUT ST STE 1
PO BOX 1111                                PO BOX 830469                       MONTICELLO, MN 55362
MONTGOMERY, AL 36101                       BIRMINGHAM, AL 35283-0469




CITY OF MONTICELLO                         CITY OF MONTICELLO                  CITY OF MONTPELIER
505 WALNUT ST                              506 WALNUT ST                       39 MAIN ST
MONTICELLO, MN 55362                       MONTICELLO, MN 55363                MONTPELIER, VT 05602-2950




CITY OF MONTPELIER                         CITY OF MONTPELIER                  CITY OF MONTROSE
39 MAIN STREET                             40 MAIN ST                          433 S 1ST ST
CITY HALL MONTPELIER, VT 05602             MONTPELIER, VT 05602-2951           MONTROSE, CO 81401




CITY OF MONTROSE                           CITY OF MONTROSE                    CITY OF MONTROSE
434 S 1ST ST                               435 S 1ST ST                        ATTN: SALES & USE TAX DEPT.
MONTROSE, CO 81402                         MONTROSE, CO 81403                  PO BOX 790
                                                                               MONTROSE, CO 81402-0790




CITY OF MOORE OK                           CITY OF MOORE                       CITY OF MOORE
304 N BROADWAY                             301 N BROADWAY                      302 N BROADWAY
MOORE, OK 73160-5133                       MOORE, OK 73160-5130                MOORE, OK 73160-5131
CITY OF MOORE           Case 18-12241-CSS
                                       CITY OF Doc 26
                                               MOORE          Filed 10/05/18   PageCITY
                                                                                    363 OFof 1739 HILL
                                                                                          MORGAN
303 N BROADWAY                          ATTN: PROPERTY TAX DEPT.                   17575 PEAK AVE
MOORE, OK 73160-5132                    P.O. BOX 6830                              MORGAN HILL, CA 95037
                                        MOORE, OK 73153-0830




CITY OF MORGAN HILL                     CITY OF MORGANTON                          CITY OF MORGANTON
ALARM PROGRAM                           305 E UNION ST                             306 E UNION ST
PO BOX 141715                           STE A100                                   STE A101
IRVING, TX 75014-1715                   MORGANTON, NC 28655                        MORGANTON, NC 28656




CITY OF MORGANTON                       CITY OF MORGANTON                          CITY OF MORRISTOWN
307 E UNION ST                          PO BOX 3448                                PO BOX 1654
STE A102                                MORGANTON, NC 28680-3448                   MORRISTOWN, TN 37816
MORGANTON, NC 28657




CITY OF MORROW PUBLIC WORKS-            CITY OF MORROW PUBLIC WORKS-               CITY OF MORROW
SANITATION                              SANITATION                                 1500 MORROW ROAD
6311 C MURPHY DR                        6311-C MURPHY DRIVE                        MORROW, GA 30260-1654
MORROW, GA 30260                        MORROW, GA 30260




CITY OF MOSES LAKE                      CITY OF MOSES LAKE                         CITY OF MOSES LAKE
321 S BALSAM                            322 S BALSAM                               323 S BALSAM
MOSES LAKE, WA 98837                    MOSES LAKE, WA 98838                       MOSES LAKE, WA 98839




CITY OF MOSES LAKE                      CITY OF MOULTON                            CITY OF MOUNDVILLE
PO DRAWER 1579                          720 SEMINARY ST                            PO BOX 98
MOSES LAKE, WA 98837                    MOULTON, AL 35650                          MOUNDVILLE, AL 35474




CITY OF MOUNTAIN BROOK                  CITY OF MOUNTAIN VIEW FAAP                 CITY OF MOUNTAIN VIEW
ATTN: SALES & USE TAX DEPT.             PO BOX 742282                              500 CASTRO ST
56 CHURCH ST                            LOS ANGELES, CA 90074-2282                 MOUNTAIN VIEW, CA 94041
MOUNTAIN BROOK, AL 35213




CITY OF MOUNTAIN VIEW                   CITY OF MOUNTAIN VIEW                      CITY OF MOUNTAIN VIEW
501 CASTRO ST                           502 CASTRO ST                              503 CASTRO ST
MOUNTAIN VIEW, CA 94042                 MOUNTAIN VIEW, CA 94043                    MOUNTAIN VIEW, CA 94044




CITY OF MOUNTAIN VIEW                   CITY OF MOUNTAIN VIEW                      CITY OF MOUNTAIN VILLAGE
BUSINESS LICENSE                        P.O. BOX 743338                            ATTN: SALES & USE TAX DEPT.
PO BOX 7540                             LOS ANGELES, CA 90074-3338                 455 MTN VILLAGE BLVD A
MOUNTAIN VIEW, CA 94039-7540                                                       MTN VILLAGE, CO 81435-9459




CITY OF MT JULIET PROPERTY TAX OFFICE   CITY OF MT JULIET                          CITY OF MT JULIET
FINANCE DIRECTOR                        2425 N MT JULIET RD                        ATTN: PROPERTY TAX DEPT
PO BOX 679                              MT JULIET, TN 37122                        PO BOX 618
MT. JULIET, TN 37121-0679                                                          MOUNT JULIET, TN 37121
                      Case
CITY OF MURFREESBORO TAX    18-12241-CSS
                         COLLECTOR    CITY OF Doc 26 Filed
                                              MURFREESBORO        10/05/18   PageCITY
                                                                                  364 OFof 1739MUNICIPAL COURT
                                                                                        MURPHY
P.O. BOX 1139                         300 NW BROAD ST                            206 NORTH MURPHY RD
MURFREESBORO, TN 37133-1139           MURFREESBORO, TN 37130                     MURPHY, TX 75094




CITY OF MURRAY                        CITY OF MURRIETA                           CITY OF MYRTLE BEACH
C/O BUSINESS LICENSING                1 TOWN SQUARE                              937 BROADWAY ST
4646 S 500 W                          MURRIETA, CA 92562                         PO BOX 2468
MURRAY, UT 84123                                                                 MYRTLE BEACH, SC 29578




CITY OF MYRTLE BEACH                  CITY OF MYRTLE BEACH                       CITY OF N CANTON PUBLIC UTIL
938 BROADWAY ST                       BUSINESS LICENSE DIVISION                  145 N MAIN STREET
PO BOX 2469                           P.O. BOX 2468                              NORTH CANTON, OH 44720-2501
MYRTLE BEACH, SC 29579                921 N OAK STREET
                                      MYRTLE BEACH, SC 29578-2468



CITY OF N CANTON PUBLIC UTIL          CITY OF N CANTON PUBLIC UTIL               CITY OF NACOGDOCHES
145 NORTH MAIN ST                     146 NORTH MAIN ST                          202 EAST PILLAR STREET
NORTH CANTON, OH 44720                NORTH CANTON, OH 44721                     NACOGDOCHES, TX 75961




CITY OF NACOGDOCHES                   CITY OF NACOGDOCHES                        CITY OF NACOGDOCHES
203 EAST PILLAR STREET                204 EAST PILLAR STREET                     P.O. BOX 635090
NACOGDOCHES, TX 75962                 NACOGDOCHES, TX 75963                      NACOGDOCHES, TX 75963-5090




CITY OF NAMPA                         CITY OF NAMPA                              CITY OF NAMPA
401 3RD ST SO                         411 3RD ST S                               412 3RD ST S
NAMPA, ID 83651-3721                  NAMPA, ID 83651                            NAMPA, ID 83652




CITY OF NAMPA                         CITY OF NAMPA                              CITY OF NAMPA
413 3RD ST S                          414 3RD ST S                               415 3RD ST S
NAMPA, ID 83653                       NAMPA, ID 83654                            NAMPA, ID 83655




CITY OF NAMPA                         CITY OF NAPA                               CITY OF NAPA
416 3RD ST S                          BUSINESS LICENSE                           PO BOX 660
NAMPA, ID 83656                       PO BOX 516534                              NAPA, CA 94559
                                      LOS ANGELES, CA 90051-0590




CITY OF NAPERVILLE                    CITY OF NAPERVILLE                         CITY OF NAPERVILLE
400 S EAGLE ST                        400 S EAGLE ST                             401 S EAGLE ST
NAPERVILLE, IL 60540                  PO BOX 3020                                NAPERVILLE, IL 60541
                                      NAPERVILLE, IL 60566-7020




CITY OF NAPERVILLE                    CITY OF NAPERVILLE                         CITY OF NAPERVILLE
402 S EAGLE ST                        403 S EAGLE ST                             404 S EAGLE ST
NAPERVILLE, IL 60542                  NAPERVILLE, IL 60543                       NAPERVILLE, IL 60544
CITY OF NAPERVILLE     Case 18-12241-CSS
                                      CITY OF Doc 26 Filed 10/05/18
                                              NAPERVILLE                  PageCITY
                                                                               365 OFof 1739
                                                                                     NAPERVILLE
405 S EAGLE ST                        406 S EAGLE ST                          407 S EAGLE ST
NAPERVILLE, IL 60545                  NAPERVILLE, IL 60546                    NAPERVILLE, IL 60547




CITY OF NAPERVILLE                    CITY OF NAPERVILLE                      CITY OF NAPERVILLE
408 S EAGLE ST                        409 S EAGLE ST                          P.O. BOX 4231
NAPERVILLE, IL 60548                  NAPERVILLE, IL 60549                    CAROL STREAM, IL 60197-4231




CITY OF NAPLES FLORIDA                CITY OF NAPLES                          CITY OF NAPLES
FINANCE DEPT-BUSINESS TAX RECEIPT     735 8TH ST S                            P.O. BOX 12124
735 8TH ST SOUTH                      NAPLES, FL 34102                        NAPLES, FL 34101-2124
NAPLES, FL 34102




CITY OF NEDERLAND                     CITY OF NEDERLAND                       CITY OF NEDERLAND
207 N 12TH ST                         208 N 12TH ST                           209 N 12TH ST
NEDERLAND, TX 77627                   NEDERLAND, TX 77628                     NEDERLAND, TX 77629




CITY OF NEDERLAND                     CITY OF NEPTUNE BEACH                   CITY OF NEPTUNE BEACH
P.O. BOX 967                          116 FIRST ST                            116 FIRST STREET
NEDERLAND, TX 77627                   NEPTUNE BEACH, FL 32266                 NEPTUNE BEACH, FL 32266




CITY OF NEPTUNE BEACH                 CITY OF NEW BERLIN                      CITY OF NEW BERN PAYMENTS
117 FIRST ST                          3805 S CASPER DR                        300 POLLOCK ST
NEPTUNE BEACH, FL 32267               NEW BERLIN, WI 53151                    NEW BERN, NC 28560




CITY OF NEW BERN PAYMENTS             CITY OF NEW BERN PAYMENTS               CITY OF NEW BERN PAYMENTS
301 POLLOCK ST                        302 POLLOCK ST                          303 POLLOCK ST
NEW BERN, NC 28561                    NEW BERN, NC 28562                      NEW BERN, NC 28563




CITY OF NEW BERN PAYMENTS             CITY OF NEW BERN PAYMENTS               CITY OF NEW BERN PAYMENTS
304 POLLOCK ST                        305 POLLOCK ST                          306 POLLOCK ST
NEW BERN, NC 28564                    NEW BERN, NC 28565                      NEW BERN, NC 28566




CITY OF NEW BERN PAYMENTS             CITY OF NEW BERN                        CITY OF NEW LENOX
P.O. BOX 63005                        TAX COLLECTOR                           1 VETERANS PKWY
CHARLOTTE, NC 28263-3005              PO BOX 1129                             NEW LENOX, IL 60451
                                      NEWBERN, NC 28563-1129




CITY OF NEW ORLEANS                   CITY OF NEW ORLEANS                     CITY OF NEW PORT RICHEY
BUREAU OF THE TREASURY                DEPT OF FINANCE/BUREAU OF REVENUE       5919 MAIN ST
1300 PERDIDO ST RM 1W34               PO BOX 61840                            NEW PORT RICHEY, FL 34652-2785
NEW ORLEANS, LA 70112-2125            NEW ORLEANS, LA 70161-1840
                      Case
CITY OF NEW SMYRNA BEACH     18-12241-CSS
                                       CITY OF Doc  26 Filed
                                               NEW SMYRNA     10/05/18
                                                          BEACH          PageCITY
                                                                              366 OFof
                                                                                    NEW1739
                                                                                         SMYRNA BEACH
210 SAMS AVE                            211 SAMS AVE                         212 SAMS AVE
NEW SMYRNA BEACH, FL 32168              NEW SMYRNA BEACH, FL 32169           NEW SMYRNA BEACH, FL 32170




CITY OF NEW SMYRNA BEACH                CITY OF NEW YORK FINANCE             CITY OF NEWARK
213 SAMS AVE                            COMMISSIONER                         920 BROAD ST RM B 17
NEW SMYRNA BEACH, FL 32171              PECK SLIP STATION                    NEWARK, NJ 07102
                                        PO BOX 2307
                                        NEW YORK, NY 10272



CITY OF NEWARK-PAYROLL TAX              CITY OF NEWNAN                       CITY OF NEWPORT NEWS
PO BOX 15118                            OCCUPATIONAL TAXES                   C/O REX A DAVIS CLERK
NEWARK, NJ 07192                        PO BOX 1193                          2400 WASHINGTON AVE
                                        NEWNAN, GA 30264                     NEWPORT NEWS, VA 23607-4389




CITY OF NEWPORT NEWS                    CITY OF NEWPORT NEWS-TREASURER       CITY OF NEWPORT
COMMISIONER OF REVENUE                  PO BOX 975                           C/O DEPT OF FINANCE
2400 WASHINGTON                         NEWPORT NEWS, VA 23607-0975          PO BOX 1090
NEWPORT NEWS, VA 23607                                                       NEWPORT, KY 41071-0900




CITY OF NEWTON                          CITY OF NEWTON                       CITY OF NEWTON
1000 COMMONWEALTH AVE                   1001 COMMONWEALTH AVE                ATTN: PROPERTY TAX DEPT.
NEWTON CENTRE, MA 02459                 NEWTON CENTRE, MA 02460              PO BOX 9137
                                                                             NEWTON, MA 02460-9137




CITY OF NILES                           CITY OF NILES                        CITY OF NORCROSS
INCOME TAX DEPT                         PUBLIC UTILITIES                     OCCUPATION TAX DEPARTMENT
34 W STATE ST                           34 WEST STATE ST                     65 LAWRENCEVILLE ST
NILES, OH 44446                         NILES, OH 44446-5036                 NORCROSS, GA 30071-2556




CITY OF NORFOLK TREASURER               CITY OF NORFOLK                      CITY OF NORFOLK
NORFOLK FIRE MARSHAL                    ATTN: PROPERTY TAX DEPT.             PO BOX 3215
100 BROOKE AVE STE 400                  100 BROOKE AVE STE 400               NORFOLK, VA 23514-3215
NORFOLK, VA 23510                       NORFOLK, VA 23510




CITY OF NORMAN                          CITY OF NORMAN                       CITY OF NORMAN
201 W GRAY ST                           202 W GRAY ST                        203 W GRAY ST
NORMAN, OK 73069                        NORMAN, OK 73070                     NORMAN, OK 73071




CITY OF NORMAN                          CITY OF NORMAN                       CITY OF NORMAN
204 W GRAY ST                           205 W GRAY ST                        206 W GRAY ST
NORMAN, OK 73072                        NORMAN, OK 73073                     NORMAN, OK 73074




CITY OF NORMAN                          CITY OF NORTH AUGUSTA                CITY OF NORTH AUGUSTA
P.O. BOX 5599                           100 GEORGIA AVE PO BOX 6400          100 GEORGIA AVE
NORMAN, OK 73070-5599                   NORTH AUGUSTA, SC 29861              NORTH AUGUSTA, SC 29841
CITY OF NORTH AUGUSTA Case     18-12241-CSS
                                         CITY OF Doc 26
                                                 NORTH    Filed 10/05/18
                                                       AUGUSTA                PageCITY
                                                                                   367 OFof 1739
                                                                                         NORTH CANTON
101 GEORGIA AVE                           102 GEORGIA AVE                         INCOME TAX DEPT
NORTH AUGUSTA, SC 29842                   NORTH AUGUSTA, SC 29843                 145 N MAIN STREET
                                                                                  NORTH CANTON, OH 44720-2501




CITY OF NORTH CHARLESTON                  CITY OF NORTH LAS VEGAS                 CITY OF NORTH LAS VEGAS
4045 BRIDGE VIEW DR                       2250 LAS VEGAS BLVD NORTH STE 110       2250 LAS VEGAS BOULEVARD NORTH
N CHARLESTON, SC 29405-7464               NORTH LAS VEGAS, NV 89030               NORTH LAS VEGAS, NV 89030




CITY OF NORTH LAS VEGAS                   CITY OF NORTH LAS VEGAS                 CITY OF NORTH LAUDERDALE
2251 LAS VEGAS BOULEVARD NORTH            UTILITIES DEPARTMENT                    701 SOUTHWEST 71ST AVE
NORTH LAS VEGAS, NV 89031                 P.O. BOX 360118                         NORTH LAUDERDALE, FL 33068
                                          NORTH LAS VEGAS, NV 89036-0118




CITY OF NORTH LAUDERDALE                  CITY OF NORTH LAUDERDALE                CITY OF NORTH LAUDERDALE
702 SOUTHWEST 71ST AVE                    703 SOUTHWEST 71ST AVE                  704 SOUTHWEST 71ST AVE
NORTH LAUDERDALE, FL 33069                NORTH LAUDERDALE, FL 33070              NORTH LAUDERDALE, FL 33071




CITY OF NORTH LAUDERDALE                  CITY OF NORTH LAUDERDALE                CITY OF NORTH LITTLE ROCK
ATTN: COMMUNITY DEVEL. DEPT               PO BOX 152546                           CITY CLERK & COLLECTORS OFFICE
701 SW 71ST AVE                           CAPE CORAL, FL 33915-2546               PO BOX 5757
NORTH LAUDERDALE, FL 33068                                                        NORTH LITTLE ROCK, AR 72119




CITY OF NORTH MIAMI BEACH                 CITY OF NORTH MIAMI BEACH               CITY OF NORTH MIAMI BEACH
17011 NE 19TH AVE                         17012 NE 19TH AVE                       17013 NE 19TH AVE
N MIAMI BEACH, FL 33162                   N MIAMI BEACH, FL 33163                 N MIAMI BEACH, FL 33164




CITY OF NORTH MIAMI BEACH                 CITY OF NORTH MIAMI BEACH               CITY OF NORTH MIAMI BEACH
17014 NE 19TH AVE                         17015 NE 19TH AVE                       P.O. BOX 600427
N MIAMI BEACH, FL 33165                   N MIAMI BEACH, FL 33166                 NORTH MIAMI BEACH, FL 33160-0427




CITY OF NORTH MIAMI BEACH                 CITY OF NORTH MIAMI                     CITY OF NORTH MIAMI
TAX PROCESSING CENTER                     776 NE 125 ST                           777 NE 125 ST
17050 NE 19 AVE                           NORTH MIAMI, FL 33161                   NORTH MIAMI, FL 33162
MIAMI, FL 33162




CITY OF NORTH MIAMI                       CITY OF NORTH MIAMI                     CITY OF NORTH MIAMI
CITY CLERKS OFFICE                        CODE COMPLIANCE OFFICE                  P.O. BOX 31489
PO BOX 619085                             12330 NE 8TH AVE                        TAMPA, FL 33631-3489
NORTH MIAMI, FL 33261-9085                NORTH MIAMI, FL 33161




CITY OF NORTH MYRTLE BEACH                CITY OF NORTH MYRTLE BEACH              CITY OF NORTH MYRTLE BEACH
1018 2ND AVE SOUTH                        1018 SECOND AVENUE SOUTH                1019 SECOND AVENUE SOUTH
NORTH MYRTLE BEACH, SC 29582              NORTH MYRTLE BEACH, SC 29582            NORTH MYRTLE BEACH, SC 29583
                       Case
CITY OF NORTH MYRTLE BEACH     18-12241-CSS
                                         CITY OF Doc 26
                                                 NORTH     Filed
                                                       MYRTLE    10/05/18
                                                              BEACH          PageCITY
                                                                                  368 OFof 1739
                                                                                        NORTH MYRTLE BEACH
1020 SECOND AVENUE SOUTH                  1021 SECOND AVENUE SOUTH               1022 SECOND AVENUE SOUTH
NORTH MYRTLE BEACH, SC 29584              NORTH MYRTLE BEACH, SC 29585           NORTH MYRTLE BEACH, SC 29586




CITY OF NORTH MYRTLE BEACH                CITY OF NORTH MYRTLE BEACH             CITY OF NORTH MYRTLE BEACH
1023 SECOND AVENUE SOUTH                  1024 SECOND AVENUE SOUTH               UTILITY BILLING
NORTH MYRTLE BEACH, SC 29587              NORTH MYRTLE BEACH, SC 29588           1016 2ND AVE. SOUTH
                                                                                 NORTH MYRTLE BEACH, SC 29582




CITY OF NORTH PORT                        CITY OF NORTH RICHLAND HILLS           CITY OF NORTHAMPTON
4970 CITY HALL BLVD.                      P.O. BOX 961092                        CITY CLERKS OFFICE
NORTH PORT, FL 34286                      FORT WORTH, TX 76161                   210 MAIN ST ROOM 4
                                                                                 NORTHAMPTON, MA 01060




CITY OF NORTHAMPTON                       CITY OF NORTHGLENN                     CITY OF NORTHGLENN
PO BOX 4121                               ATTN: SALES & USE TAX DEPT.            FINANCE DEPT
WOBURN, MA 01888-4121                     PO BOX 5305                            PO BOX 5305
                                          DENVER, CO 80217-5305                  DENVER, CO 80217-5305




CITY OF NORTHLAKE                         CITY OF NORTHLAKE                      CITY OF NORTHLAKE
55 E NORTH AVE                            56 E NORTH AVE                         DEPT OF BUILDING & INSPECTIONAL SVCS
NORTHLAKE, IL 60164                       NORTHLAKE, IL 60165                    55 E NORTH AVE
                                                                                 NORTHLAKE, IL 60164




CITY OF NORTHPORT                         CITY OF NORTHWOOD                      CITY OF NORTON SHORES
ATTN: SALES & USE TAX DEPT.               INCOME TAX DEPARTMENT                  4814 HENRY ST
PO BOX 569                                6000 WALES RD                          NORTON SHORES, MI 49441
NORTHPORT, AL 35476                       NORTHWOOD, OH 43619-1449




CITY OF NORTON SHORES                     CITY OF NORTON SHORES                  CITY OF NORTON SHORES
4815 HENRY ST                             ATTN: CITY TREASURER                   DEPT OF PUBLIC WORKS
NORTON SHORES, MI 49442                   2743 HENRY ST 302                      DIV OF WATER & SEWER
                                          MUSKEGON, MI 49441-3509                4814 HENRY ST
                                                                                 NORTON SHORES, MI 49441-3509



CITY OF NORWALK CT TAX COLLECTOR          CITY OF NORWOOD OH                     CITY OF NORWOOD
125 EAST AVE                              INCOME TAX DEPT                        DEPT 004
NORWALK, CT 06851                         4645 MONTGOMERY RD                     PO BOX 7587
                                          NORWOOD, OH 45212-2607                 LOUISVILLE, KY 40257-0587




CITY OF NORWOOD                           CITY OF NOVATO                         CITY OF OAK CREEK - TREASURER
EARNINGS TAX DEPT                         922 MACHIN AVE                         PO BOX 27
LOCK BOX LOC 00332                        NOVATO, CA 94945                       OAK CREEK, WI 53154-0027
CINCINNATI, OH 45264




CITY OF OAK CREEK-TREASURER               CITY OF OAK RIDGE MUNICIPAL BLDG       CITY OF OAK RIDGE NORTH TX
8040 S 6TH ST                             BUSINESS OFFICE                        27424 ROBINSON ROAD
OAK CREEK, WI 53154                       PO BOX 1                               OAK RIDGE NORTH, TX 77385
                                          OAK RIDGE, TN 37831-0001
CITY OF OAK RIDGE NORTHCase
                        TX     18-12241-CSS
                                         CITY OF Doc  26 NORTH
                                                 OAK RIDGE Filed TX
                                                                  10/05/18   PageCITY
                                                                                  369 OFof
                                                                                        OAK1739
                                                                                            RIDGE NORTH TX
27425 ROBINSON ROAD                       27426 ROBINSON ROAD                    27427 ROBINSON ROAD
OAK RIDGE NORTH, TX 77386                 OAK RIDGE NORTH, TX 77387              OAK RIDGE NORTH, TX 77388




CITY OF OAK RIDGE NORTH                   CITY OF OAK RIDGE                      CITY OF OAK RIDGE
ATTN: BUILDING DEPT                       P.O. BOX 4189                          PUBLIC WORKS DEPT
27424 ROBINSON RD                         OAK RIDGE, TN 37831-4189               100 WOODBURY LN
CONROE, TX 77385-8957                                                            OAK RIDGE, TN 37830




CITY OF OAK RIDGE                         CITY OF OAKBROOK TERRACE               CITY OF OAKBROOK TERRACE
UTILITY BUSINESS OFFICE                   17 W 275 BUTTERFIELD RD                17W275 BUTTERFIELD ROAD
200 S TULANE AVE                          OAKBROOK TERRACE, IL 60181             OAKBROOK TERRACE, IL 60181
OAK RIDGE, TN 37831-0001




CITY OF OAKBROOK TERRACE                  CITY OF OAKLAND - FALSE ALARM          CITY OF OAKLAND PARK
33514 TREASURY CENTER                     P.O. BOX 101513                        3650 NE 12 AVENUE
CHICAGO, IL 60694-3500                    PASADENA, CA 91189-0005                OAKLAND PARK, FL 33334




CITY OF OAKLAND                           CITY OF OCALA                          CITY OF OCALA
250 FRANK H OGAWA PLAZA 1320              110 SE WATULA AVE                      111 SE WATULA AVE
OAKLAND, CA 94612                         OCALA, FL 34471                        OCALA, FL 34472




CITY OF OCALA                             CITY OF OCALA                          CITY OF OCALA
112 SE WATULA AVE                         113 SE WATULA AVE                      114 SE WATULA AVE
OCALA, FL 34473                           OCALA, FL 34474                        OCALA, FL 34475




CITY OF OCALA                             CITY OF OCALA                          CITY OF OCALA
115 SE WATULA AVE                         116 SE WATULA AVE                      117 SE WATULA AVE
OCALA, FL 34476                           OCALA, FL 34477                        OCALA, FL 34478




CITY OF OCALA                             CITY OF OCALA                          CITY OF OCALA
118 SE WATULA AVE                         119 SE WATULA AVE                      120 SE WATULA AVE
OCALA, FL 34479                           OCALA, FL 34480                        OCALA, FL 34481




CITY OF OCALA                             CITY OF OCEANSIDE                      CITY OF OCEANSIDE
201 SE 3RD ST                             300 N. COAST HIGHWAY                   300 NORTH COAST HWY
OCALA, FL 34471-2174                      OCEANSIDE, CA 92054                    OCEANSIDE, CA 92054




CITY OF OCEANSIDE                         CITY OF OCEANSIDE                      CITY OF OCOEE
301 NORTH COAST HWY                       CASHIERS                               150 N LAKESHORE DR
OCEANSIDE, CA 92055                       P.O. BOX 513106                        OCOEE, FL 34761
                                          LOS ANGELES, CA 90051-1106
CITY OF OCOEE           Case 18-12241-CSS
                                       CITY OF Doc 26 Filed
                                               OCONOMOWOC-   10/05/18
                                                           TREASURER    PageCITY
                                                                             370 OFof
                                                                                   OF1739
                                                                                      LAVA HOT SPRINGS
P.O. BOX 70                             PO BOX 27                           ATTN: CITY CLERK
OCOEE, FL 34761-0070                    OCONOMOWOC, WI 53066-0027           PO BOX 187
                                                                            LAVA HOT SPRINGS, ID 83246




CITY OF OFALLON WATER DEPT              CITY OF OFALLON WATER DEPT          CITY OF OFALLON WATER DEPT
100 NORTH MAIN ST                       101 NORTH MAIN ST                   255 S LINCOLN AVE
OFALLON, MO 63366                       OFALLON, MO 63367                   O FALLON, IL 62269-2139




CITY OF OFALLON                         CITY OF OKLAHOMA CITY               CITY OF OKLAHOMA CITY
100 NORTH MAIN ST                       P.O. BOX 26570                      POLICE DEPT- PERMIT & ID SECTION
OFALLON, MO 63366                       OKLAHOMA CITY, OK 73126-0570        PO BOX 268837
                                                                            OKLAHOMA CITY, OK 73126-8837




CITY OF OLATHE                          CITY OF OLIVE BRANCH                CITY OF OLYMPIA UTIL BILLING
FALSE ALARM REDUCTION UNIT              ATTN: BUSINESS LICENSE              OLYMPIA CITY HALL
PO BOX 768                              9200 PIGEON ROOST                   602 4TH AVE EAST
OLATHE, KS 66051                        OLIVE BRANCH, MS 38654              OLYMPIA, WA 98507-1968




CITY OF OLYMPIA UTIL BILLING            CITY OF OLYMPIA                     CITY OF OLYMPIA
OLYMPIA CITY HALL                       ACCOUNTS RECEIVABLE                 ACCTS. RECEIVABLE
603 4TH AVE EAST                        PO BOX 7966                         PO BOX 1967
OLYMPIA, WA 98507-1969                  OLYMPIA, WA 98507-7966              OLYMPIA, WA 98507




CITY OF OLYMPIA                         CITY OF OLYMPIA                     CITY OF OLYMPIA
C/O ALARM TRACKING & BILLING SRVS       CITY TREASURER                      OLYMPIA CITY HALL
PO BOX 26364                            PO BOX 2009                         601 4TH AVE EAST
COLORADO SPRINGS, CO 80936              OLYMPIA, WA 98507-2009              OLYMPIA, WA 98507-1967




CITY OF OMAHA                           CITY OF OMAHA                       CITY OF ONEONTA
FALSE ALARM REDUCTION PROGRAM           PO BOX 30159                        202 3RD AVE E
PO BOX 30205                            OMAHA, NE 68103-1259                ONEONTA, AL 35121
OMAHA, NE 68103-1305




CITY OF ONTARIO                         CITY OF OPELIKA                     CITY OF ORANGE BEACH
LICENSE DIVISION                        PO BOX 390                          ATTN: SALES & USE TAX DEPT.
303 EAST B STREET                       OPELIKA, AL 36803-0390              PO BOX 1159
ONTARIO, CA 91764                                                           ORANGE BEACH, AL 36561




CITY OF ORANGE CITY                     CITY OF OREGON DIV OF WATER         CITY OF OREGON DIV OF WATER
205 E GRAVES AVE                        5330 SEAMAN ROAD                    5330 SEAMAN ROAD
ORANGE CITY, FL 32763                   OREGON, OH 43616                    OREGON, OH 43616-2633




CITY OF OREGON DIV OF WATER             CITY OF OREM                        CITY OF OREM
5331 SEAMAN ROAD                        56 N STATE ST                       57 N STATE ST
OREGON, OH 43617                        OREM, UT 84057                      OREM, UT 84058
CITY OF OREM             Case 18-12241-CSS
                                        CITY OF Doc
                                                OREM26     Filed 10/05/18       PageCITY
                                                                                     371 OFof 1739
                                                                                           OREM
58 N STATE ST                            59 N STATE ST                              ADMINISTRATIVE SERVICES DEPT
OREM, UT 84059                           OREM, UT 84060                             56 N STATE ST
                                                                                    OREM, UT 84057




CITY OF ORLANDO-PERMITTING SERVICES      CITY OF ORMOND BEACH UTILITY BILLING       CITY OF ORMOND BEACH
DIV                                      P.O. BOX 217                               22 S BEACH ST RM 104
P.O. BOX 4990                            ORMOND BEACH, FL 32175-0217                ORMOND BEACH, FL 32174
ORLANDO, FL 32802-4990




CITY OF ORMOND BEACH                     CITY OF ORMOND BEACH                       CITY OF ORMOND BEACH
22 SOUTH BEACH ST                        23 SOUTH BEACH ST                          24 SOUTH BEACH ST
ORMOND BEACH, FL 32174                   ORMOND BEACH, FL 32175                     ORMOND BEACH, FL 32176




CITY OF OSHKOSH                          CITY OF OSHKOSH                            CITY OF OWENSBORO
215 CHURCH AVE                           ATTN: PROPERTY TAX DEPT.                   OCCUPATIONAL TAX ADMINISTRATOR
PO BOX 1130                              P.O. BOX 1128                              PO BOX 10008
OSHKOSH, WI 54903-1130                   OSHKOSH, WI 54903-1128                     OWENSBORO, KY 42302




CITY OF OWENSBORO                        CITY OF OXFORD ELECTRIC DEPT               CITY OF OXFORD
PO BOX 638                               300 MCELROY DR                             107 COURTHOUSE SQUARE
OWENSBORO, KY 42302-0638                 OXFORD, MS 38655                           OXFORD, MS 38655




CITY OF OXFORD                           CITY OF OXFORD                             CITY OF PALM COAST
ELECTRIC DEPARTMENT                      UTILITY DEPT                               160 LAKE AVE
P.O. BOX 965                             MUNICIPAL BLDG, 15 S COLLEGE AVE           PALM COAST, FL 32164
CITY OF OXFORD, MS 38655                 OXFORD, MS 38655




CITY OF PALM COAST                       CITY OF PALM DESERT                        CITY OF PALMER
UTILITY DEPT                             BUSINESS LICENSE                           231 W EVERGREEN AVE
2 UTILITY DRIVE                          73-510 FRED WARING DR                      PALMER, AK 99645
PALM COAST, FL 32137-7366                PALM DESERT, CA 92260




CITY OF PALO ALTO UTILITIES              CITY OF PALO ALTO UTILITIES                CITY OF PALO ALTO
250 HAMILTON AVE                         P.O. BOX 7026                              POLICE DEPT-ATTN ALARM OFFICER
PALO ALTO, CA 94301                      SAN FRANCISCO, CA 94120-7026               275 FOREST AVE
                                                                                    PALO ALTO, CA 94301




CITY OF PALO ALTO                        CITY OF PANAMA CITY BEACH                  CITY OF PANAMA CITY
PUBLIC WORKS DEPT                        116 S ARNOLD RD                            ATTN: LICENSE DEPT
250 HAMILTON AVE                         PANAMA CITY, FL 32413                      PO BOX 1880
PALO ALTO, CA 94301                                                                 PANAMA CITY, FL 32402-1880




CITY OF PANAMA CITY                      CITY OF PANAMA CITY                        CITY OF PANAMA CITY
PUBLIC WORKS DEPT                        UTILITIES ADMINISTRATION                   UTILITY SERVICE DEPARTMENT
849 E 11TH ST                            11 HARRISON AVE, UNIT A                    P.O. BOX 2487
PANAMA CITY, FL 32401                    PANAMA CITY, FL 32401                      PANAMA CITY, FL 32402-2487
CITY OF PARK RIDGE    Case 18-12241-CSS
                                     CITY OF Doc   26 Filed 10/05/18
                                              PARKER                          PageCITY
                                                                                   372 OFof 1739
                                                                                         PARKLAND
DEPT OF COMMUNITY                    ATTN: SALES & USE TAX DEPT.                  6600 UNIVERSITY DR
PRESERVATION & DELEVLOPMENT          20120 E. MAINSTREET                          PARKLAND, FL 33067
505 BUTLER PLACE                     PARKER CITY, CO 80138
PARK RIDGE, IL 60068



CITY OF PARMA DIVISION OF TAXATION   CITY OF PASADENA PERMIT DEPT                 CITY OF PASADENA
6611 RIDGE RD                        PO BOX 672                                   100 N GARLFIELD AVE N106
PARMA, OH 44129-5530                 PASADENA, TX 77501                           PO BOX 7115
                                                                                  PASADENA, CA 91109




CITY OF PASADENA                     CITY OF PASCO                                CITY OF PEABODY
1114 DAVIS                           PO BOX 293                                   ATTN: PROPERTY TAX DEPT.
PASADENA, TX 77056                   PASCO, WA 99301                              PO BOX 3047
                                                                                  PEABODY, MA 01961-3047




CITY OF PEACHTREE CITY               CITY OF PEACHTREE CORNERS CITY HALL          CITY OF PEARLAND
ATTN: OCCUPATIONAL TAX DEPT.         BUSINESS LICENSE DEPT                        P.O. BOX 206022
151 WILLOWBEND ROAD                  310 TECHNOLOGY PARKWAY                       DALLAS, TX 75320-6022
PEACHTREE, GA 30269                  PEACHTREE CORNERS, GA 30092




CITY OF PEARLAND                     CITY OF PELHAM - BUSINESS TAX DIVISION       CITY OF PELHAM
WATER BILLING DEPT                   PO BOX 1238                                  ATTN: SALES & USE TAX DEPT.
3519 LIBERTY DR                      PELHAM, AL 35124                             PO BOX 1238
PEARLAND, TX 77581                                                                PELHAM, AL 35124




CITY OF PELL CITY                    CITY OF PEMBROKE PINES                       CITY OF PEMBROKE PINES
ATTN: SALES & USE TAX DEPT.          LBTR DIV.                                    P.O. BOX 269005
1905 FIRST AVE NORTH                 601 CITY CENTER WAY 4TH FL                   PEMBROKE PINES, FL 33026
PELL CITY, AL 35125                  PEMBROKE PINES, FL 33025




CITY OF PEMBROKE PINES               CITY OF PENSACOLA                            CITY OF PENSACOLA
UTILITIES DIVISION                   2757 N. PALAFOX ST.                          PENSACOLA ENERGY
8300 S PALM DR                       PENSACOLA, FL 32501                          222 WEST MAIN ST
PEMBROKE PINES, FL 33025                                                          PENSACOLA, FL 32502




CITY OF PENSACOLA                    CITY OF PEORIA                               CITY OF PEORIA
PO BOX 12910                         8401 W.MONROE ST                             DEPT OF FINANCE
PENSACOLA, FL 32521-0015             PEORIA, AZ 85345                             419 FULTON ST
                                                                                  PEORIA, IL 61602




CITY OF PERU                         CITY OF PERU                                 CITY OF PERU
ELECTRIC DEPT                        P.O. BOX 299                                 PUBLIC WORKS DEPT
4005 PLANK RD                        PERU, IL 61354-0299                          1901 4TH ST
PERU, IL 61354                                                                    PERU, IL 61354




CITY OF PETALUMA                     CITY OF PHENIX CITY - DEPT OF FINANCE        CITY OF PHILADELPHIA PA
P.O.BOX 61                           601 12TH ST                                  DEPT OF REVENUE
PETALUMA, CA 94952                   PHENIX CITY, AL 36867                        PO BOX 1049
                                                                                  PHILADELPHIA, PA 19105-1049
CITY OF PHILADELPHIA    Case   18-12241-CSS
                                         CITY OF Doc  26 Filed 10/05/18
                                                 PHILADELPHIA             PageCITY
                                                                               373 OFof 1739
                                                                                     PHILADELPHIA
DEPT OF REVENUE                          DEPT OF REVENUE                      WATER DEPT
PO BOX 1660                              PO BOX 8409                          1101 MARKET ST, 5TH FL
PHILADELPHIA, PA 19105-1660              PHILADELPHIA, PA 19101-8409          PHILADELPHIA, PA 19107




CITY OF PHOENIX TREASURER                CITY OF PHOENIX                      CITY OF PHOENIX
BUSINESS LICENSE DEPT                    P.O. BOX 29100                       P.O. BOX 29690
PO BOX 2005                              PHOENIX, AZ 85038-9100               PHOENIX, AZ 85038-9690
PHOENIX, AZ 85001-2005




CITY OF PHOENIX                          CITY OF PHOENIX                      CITY OF PIEDMONT
PO BOX 29115                             WATER SERVICES                       ATTN: SALES & USE TAX DEPT.
PHOENIX, AZ 85038-9115                   200 W WASHINGTON ST                  PO BOX 112
                                         PHOENIX, AZ 85003                    PIEDMONT, AL 36272




CITY OF PINELLAS PARK                    CITY OF PINELLAS PARK                CITY OF PINELLAS PARK
6051 78TH AVE N                          P.O. BOX 1337                        UTILITY DIVISION
PINELLAS PARK, FL 33781                  PINELLAS PARK, FL 33780-1337         5141 78TH AVE N
                                                                              PINELLAS PARK, FL 33781




CITY OF PITTSBURGH                       CITY OF PITTSFIELD                   CITY OF PLANO UTILITIES
CITY TREASURER LS-1 TAX                  PO BOX 981063                        P.O. BOX 861990
PO BOX 642606                            BOSTON, MA 02298-1063                PLANO, TX 75086-1990
PITTSBURGH, PA 15264-2606




CITY OF PLANO                            CITY OF PLANT CITY - C               CITY OF PLANT CITY
PO BOX 860358                            UTILITIES DEPT                       BUSINESS TAX DIVISION
PLANO, TX 75086-0358                     1500 W VICTORIA ST                   PO BOX C
                                         PLANT CITY, FL 33563                 PLANT CITY, FL 33564-9003




CITY OF PLANT CITY                       CITY OF PLANTATION                   CITY OF PLEASANT HIL
SOLID WASTE DEPT                         400 NW 73 AVE                        POLICE DEPT ALARM ADMIN
1802 SPOONER DR                          PLANTATION, FL 33317                 330 CIVIC DR
PLANT CITY, FL 33563                                                          PLEASANT HILL, CA 94523




CITY OF PLEASANT HILL                    CITY OF PLEASANTON                   CITY OF POCATELLO
BUSINESS LICENSE OFFICE                  PO BOX 520                           P.O. BOX 4169
100 GREGORY LN                           PLEASANTON, CA 94566                 POCATELLO, ID 83205
PLEASANT HILL, CA 94523-3323




CITY OF POCATELLO                        CITY OF POMPANO BEACH FIRE           CITY OF POMPANO BEACH
UTILITY BILLING                          PREVENTION                           P.O. BOX 1300
911 N 7TH AVE                            PO BOX 734015                        POMPANO BEACH, FL 33061
POCATELLO, ID 83201                      DALLAS, TX 75373




CITY OF POMPANO BEACH                    CITY OF POMPANO BEACH                CITY OF PORT ORANGE
PO BOX 908                               UTILITES DEPT                        P.O. BOX 291037
POMPANO BEACH, FL 33061-0908             100 W ATLANTIC BLVD                  PORT ORANGE, FL 32129-1037
                                         POMPANO BEACH, FL 33060
CITY OF PORT ORANGE      Case   18-12241-CSS
                                          CITY OF Doc
                                                  PORT 26   Filed 10/05/18
                                                       ORANGE                 PageCITY
                                                                                   374 OFof 1739
                                                                                         PORT ORANGE
PUBLIC UTILITIES DEPT                      PUBLIC WORKS DEPT                      UTILITY CUSTOMER SERVICE
1000 CITY CENTER CIR, 2ND FL               407 VIRGINIA AVE                       1000 CITY CENTER CIRCLE
PORT ORANGE, FL 32129                      PORT ORANGE, FL 32127                  PORT ORANGE, FL 32129-4144




CITY OF PORT RICHEY                        CITY OF PORT ST LUCIE                  CITY OF PORT ST LUCIE
BUSINESS TAX RECPT DEPT                    P.O. DRAWER 8987                       UTILITY SYSTEMS DEPT, CITY HALL, RM 169
6333 RIDGE RD                              PORT ST LUCIE, FL 34985-8987           121 SW PORT ST LUCIE BLVD
PORT RICHEY, FL 34668                                                             PORT ST LUCIE, FL 34984




CITY OF PORT ST. LUCIE                     CITY OF PORTAGE                        CITY OF PORTAGE
BUSINESS TAX DIVISION                      7900 S WESTNEGE AVE                    TRANSPORTATION & UTILITIES
121 SW PORT ST. LUCIE BLVD-BLDG B          PORTAGE, MI 49002                      7719 S WESTNEDGE AVE
PORT ST. LUCIE, FL 34984                                                          PORTAGE, MI 49002




CITY OF PORTERVILLE                        CITY OF PORTLAND OREGON                CITY OF PORTLAND
291 NORTH MAIN ST                          ATTN: GENERAL AR                       1120 SW 5TH AVE RM 1250
PORTERVILLE, CA 93257-3737                 PO BOX 5066                            PORTLAND, OR 97204
                                           PORTLAND, OR 97208-5066




CITY OF PORTLAND                           CITY OF PORTLAND                       CITY OF PORTLAND
BUREAU OF DEVEL SERVICES                   P.O. BOX 4216                          PO BOX 8834
1900 SW 4TH AVE STE 5000                   PORTLAND, OR 97208-4216                PORTLAND, OR 97207-8834
PORTLAND, OR 97201




CITY OF PORTLAND                           CITY OF PORTLAND                       CITY OF PORTSMOUTH
PORTLAND FIRE & RESCUE                     PORTLAND WATER BUREAU                  DEPT OF PUBLIC WORKS
1300 SE GIDEON ST                          664 N TILLAMOOK ST                     680 PEVERLY HILL RD
PORTLAND, OR 97202-2419                    PORTLAND, OR 97227                     PORTSMOUTH, NH 03801




CITY OF PORTSMOUTH                         CITY OF PORTSMOUTH-TAX COLLECTOR       CITY OF POULSBO
P.O. BOX 6660                              1 JUNKINS AVE                          200 NE MOE ST
PORTSMOUTH, NH 03802-6660                  PORTSMOUTH, NH 03801                   POULSBO, WA 98370




CITY OF PRATTVILLE                         CITY OF PRATTVILLE                     CITY OF PRESCOTT VALLEY
ATTN: SALES & USE TAX DEPT.                PRATTVILLE WATER WORKS                 7501 E CIVIC CIRCLE
PO BOX 680190                              114 E MAIN ST                          PRESCOTT VALLEY, AZ 86314
PRATTVILLE, AL 36068                       PRATTVILLE, AL 36067




CITY OF PRESCOTT                           CITY OF PRESCOTT                       CITY OF PRESCOTT
P.O. BOX 80067                             SALES TAX DEPT                         SOLID WASTE ADMIN
PRESCOTT, AZ 86304-8067                    PO BOX 2077                            201 S CORTEZ
                                           PRESCOTT, AZ 86302-2077                PRESCOTT, AZ 86303




CITY OF PRESCOTT                           CITY OF PRESCOTT                       CITY OF PRESCOTT
UTILITIES - SUNDOG WWTP                    UTILITIES - WATER OPERATIONS           UTILITY BILLING
1500 SUNDOG RANCH RD                       1481 SUNDOG RANCH RD                   201 S CORTEZ
PRESCOTT, AZ 86302                         PRESCOTT, AZ 86302                     PRESCOTT, AZ 86302
CITY OF PRICEVILLE       Case   18-12241-CSS
                                          CITY OF Doc  26 Filed
                                                  PROVIDENCE      10/05/18
                                                             TAX COLLECTOR        PageCITY
                                                                                       375 OFof 1739
                                                                                             PROVO
ATTN: SALES & USE TAX DEPT.                PO BOX 9100                                351 W CENTER
242 MARCO DR                               PROVIDENCE, RI 02940-9100                  PROVO, UT 84601
PRICEVILLE, AL 35603-5459




CITY OF PUEBLO                             CITY OF PUYALLUP                           CITY OF PUYALLUP
ATTN: SALES & USE TAX DEPT.                ACCOUNTS RECEIVABLE                        PO BOX 314
PO BOX 1427                                PO BOX 1232                                SEAHURST, WA 98062
PUEBLO, CO 81002-1427                      PUYALLUP, WA 98371-0187




CITY OF PUYALLUP                           CITY OF PUYALLUP                           CITY OF QUINCY
SEATTLE HILL ROAD                          UTILITY BILLING                            COLLECTOR OF TAXES
P.O. BOX 35160                             333 S MERIDIAN, FL 3                       PO BOX 9138
SEATTLE, WA 98124-5160                     PUYALLUP, WA 98371                         QUINCY, MA 02269-9138




CITY OF QUINCY                             CITY OF RALEIGH FIRE INSPECTIONS DIV       CITY OF RALEIGH
DEPT OF UTILITIES                          PO BOX30213                                P.O. BOX 71081
730 MAINE ST                               RALEIGH, NC 27622                          CHARLOTTE, NC 28272-1081
QUINCY, IL 62301-4053




CITY OF RALEIGH                            CITY OF RALEIGH                            CITY OF RANCHO CORDOVA
PO BOX 590                                 PUBLIC UTILITIES DEPT                      2729 PROSPECT PARK DR
RALEIGH, NC 27602-0590                     222 W HARGETT ST                           RANCHO CORDOVA, CA 95670
                                           RALEIGH, NC 27601




CITY OF RANCHO CUCAMONGA                   CITY OF RANCHO CUCAMONGA                   CITY OF RANSON
10500 CIVIC CENTER DR                      MUNICIPAL UTILITY                          312 S MILDRED ST
RANCHO CUCAMONGA, CA 91730                 P.O. BOX 4499                              RANSON, WV 25438-1621
                                           RANCHO CUCAMONGA, CA 91729-4499




CITY OF REDDING                            CITY OF REDDING                            CITY OF REDDING-496081
PO BOX 496071                              PUBLIC WORKS UTILITIES                     P.O. BOX 496081
REDDING, CA 96049                          20055 VIKING WAY, BLDG 3                   REDDING, CA 96049-6081
                                           REDDING, CA 96003




CITY OF REDLANDS                           CITY OF REDMOND                            CITY OF REDMOND
FINANCE REVENUE DIVISION                   411 SW 9TH ST                              PO BOX 3745
PO BOX 3005                                REDMOND, OR 97756                          SEATTLE, WA 98124-3745
REDLANDS, CA 92373




CITY OF REDMOND                            CITY OF REDWOOD CITY- 841201               CITY OF REDWOOD CITY
UTILITY BILLING DEPT                       P.O. BOX 841201                            PO BOX 3355
411 SW 9TH ST                              LOS ANGELES, CA 90084-1201                 REDWOOD CITY, CA 94064
REDMOND, OR 97756




CITY OF REDWOOD CITY                       CITY OF REDWOOD CITY                       CITY OF RENO ALARM PROGRAM
PO BOX 3629                                PUBLIC WORKS DEPT                          PO BOX 142857
REDWOOD CITY, CA 94064-3629                1017 MIDDLEFIELD RD                        IRVING, TX 75014
                                           REDWOOD CITY, CA 94063
CITY OF RENO               Case 18-12241-CSS
                                          CITY OF Doc
                                                  RENO 26    Filed 10/05/18   PageCITY
                                                                                   376 OFof 1739
                                                                                         RENTON
PO BOX 1900                                PO BOX 26364                           1055 SOUTH GRADY WAY
RENO, NV 89505                             COLORADO SPRINGS, CO 80936             RENTON, WA 98057




CITY OF REVERE TAX COLLECTOR               CITY OF REVERE                         CITY OF RICHARDSON
281 BROADWAY                               COLLECTOR OF TAXES                     411 W ARAPAHO
REVERE, MA 02151-5027                      281 BROADWAY                           RICHARDSON, TX 75080-4551
                                           REVERE, MA 02151-5027




CITY OF RICHARDSON                         CITY OF RICHLAND                       CITY OF RICHLAND
P.O. BOX 831907                            505 SWIFT BLVD                         P.O. BOX 34811
411 W ARAPAHO                              RICHLAND, WA 50994-27390               SEATTLE, WA 98124-1811
RICHARDSON, TX 50863




CITY OF RICHMOND HEIGHTS                   CITY OF RICHMOND                       CITY OF RICHMOND
1330 S BIG BEND BLVD                       239 W MAIN ST                          C/O FINANCE DEPARTMENT
RICHMOND HEIGHTS, MO 63117                 RICHMOND, KY 04045                     PO BOX 1268
                                                                                  RICHMOND, KY 40476-1268




CITY OF RICHMOND                           CITY OF RICHMOND                       CITY OF RIDGWAY
DEPT OF PUBLIC UTILITIES                   FINANCE- BUSINESS LICENSE              ATTN: SALES & USE TAX DEPT.
PO BOX 26060                               450 CIVIC CENTER PLAZA                 PO BOX 10
RICHMOND, VA 23274-0001                    PO BOX 4046                            RIDGWAY, CO 81432-0010
                                           RICHMOND, CA 94804



CITY OF RIFLE                              CITY OF RIFLE                          CITY OF RIFLE
ATTN: SALES & USE TAX DEPT.                PO BOX 4739                            WATER & WASTEWATER UTILITIES
PO BOX 1908                                GRAND JUNCTION, CO 81502-4739          100 HOSPITAL HILL RD
RIFLE, CO 81650                                                                   RIFLE, CO 81650




CITY OF RIVERBANK                          CITY OF RIVERDALE                      CITY OF RIVERSIDE PUBLIC UTIL
6707 THIRD ST                              BUSINESS LICENSE DEPT                  3900 MAIN STREET
RIVERBANK, CA 95367-2305                   4600 S WEBER RIVER DR                  RIVERSIDE, CA 92522-0144
                                           RIVERDALE, UT 84405




CITY OF RIVERSIDE PUBLIC UTIL              CITY OF ROANOKE TREASURER              CITY OF ROANOKE
3901 ORANGE ST                             ATTN: TAX COLLECTOR                    ATTN: PROPERTY TAX DEPT.
RIVERSIDE, CA 92501                        PO BOX 1451                            215 CHURCH AVE SW RM 251
                                           ROANOKE, VA 24007-1451                 ROANOKE, VA 24011




CITY OF ROANOKE                            CITY OF ROBERTSDALE                    CITY OF ROCK HILL
ATTN: PROPERTY TAX DEPT.                   ATTN: SALES & USE TAX DEPT.            PO BOX 11646
PO BOX 20409                               PO BOX 429                             ROCK HILL, SC 29731
ROANOKE, VA 24018                          ROBERTSDALE, AL 36567-0429




CITY OF ROCK HILL                          CITY OF ROCK HILL                      CITY OF ROCKHILL
PO BOX 63039                               UTILITIES                              PLANNING & DEVELOPMENT DEPT
CHARLOTTE, NC 28263-3039                   155 JOHNSTON ST                        PO BOX 11706
                                           ROCK HILL, SC 29730                    ROCK HILL, SC 29731-1706
CITY OF ROCKLEDGE       Case 18-12241-CSS
                                       CITY OF Doc 26ALARM
                                               ROCKLIN  Filed 10/05/18
                                                            PROGRAM      PageCITY
                                                                              377 OFof 1739
                                                                                    ROCKLIN
1600 HUNTINGTON LANE                    PO BOX 140727                        C/O ATB SERVICES
ROCKLEDGE, FL 32955                     IRVING, TX 75014-0727                PO BOX 26364
                                                                             COLORADO SPRINGS, CO 80936




CITY OF ROCKLIN                         CITY OF ROCKLIN-CA                   CITY OF ROCKLIN-CO
FALSE ALARM REDUCTION PROGRAM           3970 ROCKLIN ROAD                    P.O. BOX 26364
PO BOX 398488                           ROCKLIN, CA 95677-2720               COLORADO SPRINGS, CO 80936
SAN FRANCISCO, CA 94139-8488




CITY OF ROCKVILLE                       CITY OF ROCKY MOUNT                  CITY OF ROCKY MOUNT
111 MARYLAND AVE                        P.O. BOX 1180                        PUBLIC UTITLITIES
ROCKVILLE, MD 20850-2364                ROCKY MOUNT, NC 27802-1180           331 S FRANKLIN ST
                                                                             ROCKY MOUNT, NC 27802




CITY OF ROGERS                          CITY OF ROHNERT PARK                 CITY OF ROHNERT PARK
CITY CLERKS OFFICE                      UTILITY DEPT                         UTILITY DEPT, 130 AVRAM AVE
301 W. CHESTNUTT                        130 AVRAM AVE                        ROHNERT PARK, CA 94927
ROGERS, AR 72756                        ROHNERT PARK, CA 94927




CITY OF ROME                            CITY OF ROOSEVELT PARK               CITY OF ROSEVILLE
PO BOX 1433                             900 OAKS RIDGE RD                    2660 CIVIC CENTER DR
ROME, GA 30162-1433                     MUSKEGON, MI 49441                   ROSEVILLE, MN 55113




CITY OF ROSEVILLE                       CITY OF ROSEVILLE-45807              CITY OF ROSWELL
8839 N CEDAR AVE 212                    P.O. BOX 45807                       FINANCIAL SERVICES DIVISION
FRESNO, CA 93720-1832                   SAN FRANCISCO, CA 94145-0807         38 HILL STREET STE 130
                                                                             ROSWELL, GA 30075-4537




CITY OF RUTLAND                         CITY OF RUTLAND                      CITY OF SACRAMENTO POLICE ALRAM UNIT
1 STRONGS AVE                           CITY HALL PO BOX 969                 5770 FREEPORT BLVD 100
RUTLAND, VT 05702                       RUTLAND, VT 05702-0969               SACRAMENTO, CA 95822




CITY OF SACRAMENTO                      CITY OF SAGINAW TREASURER            CITY OF SAGINAW
915 I ST. RM. 1214                      C/O INCOME TAX OFFICE                FIRE ALARM REDUCTION PROGRAM
SACRAMENTO, CA 95814                    1315 S WASHINGTON AVE                PO BOX 26364
                                        SAGINAW, MI 48601-2599               COLORADO SPRINGS, CO 80936




CITY OF SAINT PETERS                    CITY OF SALINAS                      CITY OF SALISBURY MD
P.O. BOX 9                              FINANCE DEPT                         125 N DIVISION ST
SAINT PETERS, MO 63376-0090             PO BOX 1996                          SALISBURY, MD 21801-4940
                                        SALINAS, CA 93902




CITY OF SALISBURY                       CITY OF SALISBURY                    CITY OF SALT LAKE CITY
132 N MAIN ST                           P.O. BOX 740600                      PO BOX 145458
SALISBURY, NC 28144                     ATLANTA, GA 30374-0600               SALT LAKE CITY, UT 84114-5458
CITY OF SAN ANGELO WATER Case   18-12241-CSS
                                          CITY OF Doc  26 Filed
                                                  SAN ANGELO WATER10/05/18   PageCITY
                                                                                  378 OFof
                                                                                        SAN1739
                                                                                            ANTONIO
CITY HALL ANNEX, FIRST FL                  P.O. BOX 5820                         C/O DEVELOPMENT SERVICES DEPT
301 W BEAUREGARD AVE                       SAN ANGELO, TX 76902-5820             PO BOX 839966
SAN ANGELO, TX 76903                                                             SAN ANTONIO, TX 78283-3966




CITY OF SAN ANTONIO                        CITY OF SAN ANTONIO                   CITY OF SAN BERNADINO ALARM
SAN ANTONIO MUNICIPAL COURT                SAN ANTONIO POLICE DEPT.              P.O. BOX 140576
401 S FRIO ST                              ALARMS INVESTIGATION OFFICE           IRVING, TX 75014-0576
SAN ANTONIO, TX 78207                      PO BOX 839948
                                           SAN ANTONIO, TX 78283-3948



CITY OF SAN BERNARDINO MUN WTR             CITY OF SAN BERNARDINO MUN WTR        CITY OF SAN BERNARDINO-1318
1350 SOUTH E STREET                        P.O. BOX 710                          P.O. BOX 1318
SAN BERNARDINO, CA 92408                   SAN BERNARDINO, CA 92402-0710         SAN BERNARDINO, CA 92402-1318




CITY OF SAN DIEGO CITY TREASUR             CITY OF SAN DIEGO CITY TREASUR        CITY OF SAN DIEGO TREASURER
1200 THIRD AVE                             P.O. BOX 129020                       POLICE DEPT MS 735
STE 100                                    SAN DIEGO, CA 92112-9020              PO BOX 121431
SAN DIEGO, CA 92101                                                              SAN DIEGO, CA 92112




CITY OF SAN DIEGO                          CITY OF SAN DIEGO                     CITY OF SAN JOSE
OFFICE OF CITY TREASURER                   PUBLIC UTILITIES DEPARTMENT           200 E SANTA CLARA ST 1ST FL TOWER
PO BOX 121536                              P.O. BOX 129020                       SAN JOSE, CA 95113-1905
SAN DIEGO, CA 92112-1536                   SAN DIEGO, CA 92112-9020




CITY OF SAN JOSE                           CITY OF SAN LEANDRO                   CITY OF SAN MARCOS
BUSINESS TAX & REG PERMIT DEPT 34370       FINANCE DEPT                          ALARM PROGRAM
PO BOX 39000                               835 EAST 14TH ST                      P.O. BOX 140336
SAN FRANCISCO, CA 94139-0001               SAN LEANDRO, CA 94577                 IRVING, TX 75014




CITY OF SAN MARCOS                         CITY OF SAN MARCOS                    CITY OF SAN MARCOS
BUSINESS LICENSING                         ELECTRIC                              IDS REAL ESTATE GRP
1 CIVIC CENTER DR                          630 E HOPKINS                         PO BOX 511350
SAN MARCOS, CA 92069-2918                  SAN MARCOS, TX 78666                  LOS ANGELES, CA 90051-7905




CITY OF SAN MARCOS                         CITY OF SAN MARCOS                    CITY OF SAN MARCOS
PMAM CORPORATION                           SEWER                                 UTILITY BILLING/ COLLECTIONS DE
                                           630 E HOPKINS                         636 E HOPKINS ST.
                                           SAN MARCOS, TX 78666                  SAN MARCOS, TX 78666-6314




CITY OF SAN MARCOS                         CITY OF SAN MATEO                     CITY OF SAN RAFAEL
WATER                                      330 W 20TH AVE                        1400 FIFTH AVENUE
630 E HOPKINS                              SAN MATEO, CA 94403                   SAN RAFAEL, CA 94901
SAN MARCOS, TX 78666




CITY OF SAND CITY                          CITY OF SANDPOINT                     CITY OF SANDY SPRINGS
1 SYLVAN PARK                              ATTN: SALES & USE TAX DEPT.           BUSINESS OCCUPATIONAL TAX DIV
SAND CITY, CA 93955                        1123 LAKE ST                          7840 ROSWELL RD BLDG 500
                                           SANDPOINT, ID 83864-1714              SANDY SPRINGS, GA 30350
                       Case
CITY OF SANFORD BUSINESS TAX      18-12241-CSS
                                            CITY OF Doc 26 Filed 10/05/18
                                                    SANFORD                       PageCITY
                                                                                       379 OFof 1739
                                                                                             SANFORD
P.O. BOX 1788                               300 N PARK AVE                            P.O. BOX 2847
SANFORD, FL 32772-1788                      SANFORD, FL 32771                         SANFORD, FL 32772




CITY OF SANFORD                             CITY OF SANTA CLARA MUNICIPAL UTILITIES   CITY OF SANTA CLARA
PO BOX 63060                                P.O. BOX 49067                            1500 WARBURTON AVE
SANFORD, NC 28263-3060                      SAN JOSE, CA 95161-9067                   SANTA CLARA, CA 95050




CITY OF SANTA CRUZ MUNIE UTIL               CITY OF SANTA CRUZ MUNIE UTIL             CITY OF SANTA CRUZ
212 LOCUST ST                               P.O. BOX 682                              155 CENTER STREET
STE D                                       SANTA CRUZ, CA 95061-0682                 SANTA CRUZ, CA 95060
SANTA CRUZ, CA 95060




CITY OF SANTA CRUZ                          CITY OF SANTA ROSA                        CITY OF SANTA ROSA
FINANCE DEPT                                ALARM PERMITS                             C/O MUNISERVICES LLC
809 CENTER ST RM 101                        965 SONOMA AVE                            PO BOX 1556
SANTA CRUZ, CA 95060                        SANTA ROSA, CA 95404                      SANTA ROSA, CA 95402




CITY OF SANTA ROSA                          CITY OF SANTA ROSA-UTIL                   CITY OF SANTEE
WATER DEPT                                  P.O. BOX 1658                             10601 MAGNOLIA AVE
SANTA ROSA CITY HALL, 100 SANTA ROSA        SANTA ROSA, CA 95402-1658                 SANTEE, CA 92071
AVE
SANTA ROSAA, CA 95404



CITY OF SARALAND                            CITY OF SARASOTA                          CITY OF SCHENECTADY
943 SARALAND BLVD S                         LOCAL BUSINESS TAX                        105 JAY STREET
SARALAND, AL 36571                          1565 1ST ST2ND FLR ANNEX BLDG             SCHENECTADY, NY 12305
                                            SARASOTA, FL 34236




CITY OF SCOTTSDALE                          CITY OF SCOTTSDALE                        CITY OF SCOTTSDALE
3939 N DRINKWATER BLVD                      P.O. BOX 1300                             P.O. BOX 52799
SCOTTSDALE, AZ 85251                        SCOTTSDALE, AZ 85252                      PHOENIX, AZ 85072-2799




CITY OF SCOTTSDALE                          CITY OF SCOTTSDALE                        CITY OF SCOTTSDALE
PO BOX 1570                                 PO BOX 1586                               PO BOX 1949
SCOTTSDALE, AZ 85242-1570                   SCOTTSDALE, AZ 85252-1586                 SCOTTSDALE, AZ 85252-1949




CITY OF SCOTTSDALE                          CITY OF SEATTLE                           CITY OF SEATTLE
REVENUE RECOVERY                            600 FOURTH AVE                            PO BOX 34214
7447 E INDIAN SCHOOL RD STE 110             SEATTLE, WA 98104                         SEATTLE, WA 98124-4214
SCOTTSDALE, AZ 85251




CITY OF SEATTLE                             CITY OF SEATTLE                           CITY OF SEATTLE
PO BOX 34907                                PO BOX 35178                              SEATTLE DEPT OF TRANSPORTATION
SEATTLE, WA 98124-1907                      SEATTLE, WA 98124-5178                    PO BOX 34996
                                                                                      SEATTLE, WA 98124-4996
CITY OF SEBASTIAN        Case 18-12241-CSS
                                        CITY OF Doc  26 UTILITIES
                                                SEBRING    Filed DEPARTMENT
                                                                  10/05/18 PageCITY
                                                                                380 OFof 1739
                                                                                      SEBRING
1225 MAIN ST                              321 NORTH MANGO ST.                    LOCAL BUSINESS TAX
SEBASTIAN, FL 32958                       SEBRING, FL 33870                      368 S. COMMERCE AVE.
                                                                                 SEBRING, FL 33870




CITY OF SEBRING                           CITY OF SEBRING                        CITY OF SEGUIN
SOLID WASTE                               UTILITIES                              UTILITIES BILLING
1421 HAWTHORNE DR                         321 N MANGO ST                         205 N RIVER
SEBRING, FL 33870                         SEBRING, FL 33870                      SEGUIN, TX 78155




CITY OF SEGUIN                            CITY OF SEMINOLE                       CITY OF SEVIERVILLE
UTILITIES BILLING,205 N RIVER             9199 113TH ST N                        120 GARY WADE BLVD
SEGUIN, TX 78155                          SEMINOLE, FL 33772                     SEVIERVILLE, TN 37862




CITY OF SEVIERVILLE                       CITY OF SHAWNEE - CITY CLERKS OFFICE   CITY OF SHELTON TAX COLLECTOR
P.O. BOX 5500                             11110 JOHNSON DR.                      PO BOX 273
SEVIERVILLE, TN 37864-5500                SHAWNEE, KS 66203                      SHELTON, CT 06484-0273




CITY OF SHELTON                           CITY OF SHENANDOAH                     CITY OF SHENANDOAH
525 W COTA ST                             29955- I-45 NORTH                      PUBLIC WORKS DEPT
SHELTON, WA 98584                         SHENANODOAH, TX 77381-1195             19955 I-45
                                                                                 SHANANDOAH, TX 77381




CITY OF SHERIDAN                          CITY OF SHERWOOD OREGON                CITY OF SHREVEPORT
ATTN: SALES & USE TAX DEPT.               22560 SW PINE ST                       P.O. BOX 30065
PO BOX 173301                             SHERWOOD, OR 97140                     SHREVEPORT, LA 71153-5510
DENVER, CO 80217-3301




CITY OF SHREVEPORT                        CITY OF SHREVEPORT                     CITY OF SHREVEPORT-REVENUE DIVISION
PO BOX 30168                              WATER & SEWERAGE                       PO BOX 30040
SHREVEPORT, LA 71130-0002                 505 TRAVIS ST, STE 580                 SHREVEPORT, LA 71130-0040
                                          SHREVEPORT, LA 71101




CITY OF SIERRA VISTA                      CITY OF SIERRA VISTA                   CITY OF SIERRA VISTA
1011 N CORONADO DR                        401 GIULIO CESARE AVE.                 P.O. BOX 52413
SIERRA VISTA, AZ 85635                    SIERRA VISTA, AZ 85635                 PHOENIX, AZ 85072-2413




CITY OF SIMPSONVILLE                      CITY OF SLIDELL                        CITY OF SLIDELL
118 N.E. MAIN STREET                      P.O. BOX 828                           PUBLIC UTILITIES
SIMPSONVILLE, SC 29681                    SLIDELL, LA 70459                      SLIDELL CITY HALL, 2055 SECOND ST
                                                                                 SLIDELL, LA 70458




CITY OF SLOCOMB                           CITY OF SMITHS STATION                 CITY OF SMYRNA
ADMIN ASSISTANT                           CITY CLERK                             PO BOX 1226
PO BOX 1147                               PO BOX 250                             SMYRNA, GA 30081
SLOCOMB, AL 36375                         SMITHS STATION, AL 36877
CITY OF SNELLVILLE      Case 18-12241-CSS
                                       CITY OF Doc  26 VILLAGE
                                               SNOWMASS   Filed 10/05/18   PageCITY
                                                                                381 OFof 1739OH
                                                                                      SOLON,
DEPT OF PLANNING & DEVELOPMENT         ATTN: SALES & USE TAX DEPT.             INCOME TAX DEPARTMENT
2342 OAK RD 2ND FLOOR                  PO BOX 5010                             PO BOX 74058
SNELLVILLE, GA 30078-2361              SNOWMASS VILLAGE, CO 81615              CLEVELAND, OH 44194




CITY OF SOMERS POINT                   CITY OF SOMERS POINT                    CITY OF SOMERVILLE
CITY HALL-CLERKS OFFICE                PO BOX 157                              OFFICE OF THE TAX COLLECTOR
1 W NEW JERSEY AVE                     SOMERS POINT, NJ 08244                  PO BOX 197
SOMERS POINT, NJ 08244                                                         SOMERVILLE, MA 02143-0197




CITY OF SOUTH CHARLESTON               CITY OF SOUTH JORDAN                    CITY OF SOUTH MIAMI
PO BOX 8597                            1600 W TOWNE CENTER DR                  6130 SUNSET DR
SOUTH CHARLESTON, WV 25303             SOUTH JORDAN, UT 84095                  LICENSE DEPT 2ND FLOOR
                                                                               SOUTH MIAMI, FL 33143




CITY OF SOUTH PORTLAND                 CITY OF SOUTH PORTLAND                  CITY OF SOUTH SAN FRANCISCO
ATTN: PROPERTY TAX DEPT.               PO BOX 9422                             FINANCE DEPT
PO BOX 6700                            SOUTH PORTLAND, ME 04116-9422           PO BOX 711
LEWISTON, ME 04243-6700                                                        SOUTH SAN FRANCISCO, CA 94083




CITY OF SOUTHAVEN                      CITY OF SOUTHAVEN                       CITY OF SOUTHLAKE WATER UTIL
5813 PEPPER CHASE DR                   8710 NORTHWEST DR                       1400 MAINT ST SUITE 200
SOUTHAVEN, MS 38671-7404               SOUTHHAVEN, MS 38671-2410               SOUTHLAKE, TX 76092-7640




CITY OF SPANISH FORT                   CITY OF SPARKS                          CITY OF SPARKS
7361 SPANISH FORT BLVD                 808 W SPOKANE FALLS BLVD                P.O. BOX 857
SPANISH FORT, AL 36527                 SPOKANE, WA 99256-0001                  SPARKS, NV 89432-0857




CITY OF SPARKS                         CITY OF SPARTANBURG                     CITY OF SPOKANE UTILITIES
PO BOX 141388                          ATTN: PROPERTY TAX DEPT.                808 W SPOKANE FALLS BLVD.
IRVING, TX 75014                       PO DRAWER 1749                          SPOKANE, WA 99256-0001
                                       SPARTANBURG, SC 29304




CITY OF SPOKANE VALLEY FARU            CITY OF SPOKANE                         CITY OF SPOKANE
PO BOX 94173                           808 W SPOKANE FALLS BLVD                ATTN: PROPERTY TAX DEPT.
SEATTLE, WA 98124-6473                 SPOKANE, WA 99256-0001                  808 W SPOKANE FALLS BLVD
                                                                               SPOKANE, WA 99256-0001




CITY OF SPRING HILL                    CITY OF SPRING HILL                     CITY OF SPRINGDALE
BUSINESS TAX OFFICE                    BUSINESS TAX OFFICE                     SPRINGDALE TAX COMMISSION
199 TOWN CENTER PKWY                   PO BOX 789                              11700 SPRINGFIELD PIKE
SPRING HILL, TN 37174                  SPRING HILL, TN 37174-0789              SPRINGDALE, OH 45246




CITY OF SPRINGFIELD                    CITY OF SPRINGFIELD                     CITY OF SPRINGFIELD
DEPT OF FINANCE-LICENSE DIVISION       INCOME TAX DEPARTMENT                   LICENSE DIVISION OF FINANCE
PO BOX 8368                            76 E HIGH ST                            840 N BOONVILLE
SPRINGFIELD, MO 65801                  SPRINGFIELD, OH 45502-1214              SPRINGFIELD, MO 65801
CITY OF SPRINGFIELD     Case 18-12241-CSS
                                       CITY OF Doc  26 Filed 10/05/18
                                               SPRINGFIELD-INCOME TAX DIVISIONPageCITY
                                                                                   382 OFof
                                                                                         ST1739
                                                                                            AUGUSTINE
PO BOX 4124                               PO BOX 5200                             50 BRIDGE ST
WOBURN, MA 01888-4124                     SPRINGFIELD, OH 45501-5200              SAINT AUGUSTINE, FL 32084-4334




CITY OF ST CHARLES MISSOURI               CITY OF ST CHARLES                      CITY OF ST CLOUD MN
200 NORTH SECOND STREET                   200 N 2ND ST                            P.O. BOX 1501
ST. CHARLES, MO 63301                     SAINT CHARLES, MO 63301-2891            SAINT CLOUD, MN 56302-1501




CITY OF ST CLOUD                          CITY OF ST CLOUD                        CITY OF ST CLOUD
1300 9TH ST                               P.O. BOX 31304                          PUBLIC SERVICES
SAINT CLOUD, FL 34769                     TAMPA, FL 33631-3304                    1300 9TH ST
                                                                                  ST CLOUD, FL 34769




CITY OF ST GEORGE                         CITY OF ST GEORGE                       CITY OF ST JOSEPH UTIL BILLING
175 E 200 N                               P.O. BOX 1750                           1100 FREDERICK AVE
ST GEORGE, UT 84770                       SAINT GEORGE, UT 84771                  ST JOSEPH, MO 64501




CITY OF ST JOSEPH UTILITY BILLING         CITY OF ST JOSEPH                       CITY OF ST LOUIS
P.O. BOX 411458                           1100 FREDERICK AVE                      COLLECTOR OF REVENUE
KANSAS CITY, MO 64141-1458                SAINT JOSEPH, MO 64501                  PO BOX 66877
                                                                                  SAINT LOUIS, MO 63166-6877




CITY OF ST LOUIS-COLLECTOR OF REVENUE     CITY OF ST MATTHEWS                     CITY OF ST PETERS
EARNINGS TAX DIVISION                     PO BOX 7097                             ONE ST PETERS CENTRE BLVD
1200 MARKET ST ROOM 410 CITY HALL         LOUISVILLE, KY 40257-0097               SAINT PETERS, MO 63376
SAINT LOUIS, MO 63103-2807




CITY OF ST PETERSBURG                     CITY OF ST PETERSBURG                   CITY OF ST PETERSBURG
P.O. BOX 33034                            SANITATION                              WATER RESOURCES
ST. PETERSBURG, FL 33733-8034             175 FIFTH ST N                          175 FIFTH ST N
                                          ST PETERSBURG, FL 33701                 ST PETERSBURG, FL 33701




CITY OF ST. LOUIS                         CITY OF ST. LOUIS                       CITY OF ST. PETERSBURG
COLLECTOR OF REVENUE                      MARVIS T THOMPSON ESQ LIC COLLEC        P.O. BOX 2842
PO BOX 66877                              PO BOX 78158                            ST. PETERSBURG, FL 33731
SAINT LOUIS, MO 63166                     SAINT LOUIS, MO 63178




CITY OF STAFFORD                          CITY OF STAMFORD TAX COLLECTOR          CITY OF STAMFORD WPCA
FINANCE DEPT                              PO BOX 50                               111 HARBOR VIEW AVE, BLDG 11
2610 SOUTH MAIN                           STAMFORD, CT 06904-0050                 STAMFORD, CT 06902
STAFFORD, TX 77477




CITY OF STAMFORD WPCA                     CITY OF STATESVILLE                     CITY OF STATESVILLE
P.O. BOX 8063                             301 S CENTER ST                         P.O. BOX 1111
BRIDGEPORT, CT 06601-4063                 STATESVILLE, NC 28687-1111              STATESVILLE, NC 28687
                        Case 18-12241-CSS
CITY OF STEAMBOAT SPRINGS              CITY OF Doc  26 Filed
                                               STERLING            10/05/18   PageCITY
                                                                                   383 OFof 1739
                                                                                         STILLWATER
ATTN: SALES & USE TAX DEPT.            SALES & USE TAX RETURN                     ELECTRIC
PO BOX 772869                          PO BOX 4000                                723 S LEWIS ST
STEAMBOAT SPRINGS, CO 80477-2869       STERLING, CO 80751-0400                    STILLWATER, OK 74074




CITY OF STILLWATER                     CITY OF STILLWATER                         CITY OF STILLWATER
P.O. BOX 1449                          TRASH                                      WATER RESOURCES
STILLWATER, OK 61449                   723 S LEWIS ST                             723 S LEWIS ST
                                       STILLWATER, OK 74074                       STILLWATER, OK 74074




CITY OF STOCKTON - CA                  CITY OF STOCKTON A/R                       CITY OF STOCKTON
BUSINESS LICENSE DIVISION              REVENUE SERIVICE                           BURGLAR ALARM PERMIT RENEWAL
PO BOX 1570                            PO BOX 2107                                22 E MARKET ST
STOCKTON, CA 95201-1570                STOCKTON, CA 95201                         STOCKTON, CA 95202-2876




CITY OF STOCKTON                       CITY OF STOCKTON                           CITY OF STONECREST
P.O. BOX 2590                          PUBLIC WORKS DEPT                          ATTN: BUSINESS LICENSE DEPT
OMAHA, NE 68103-2590                   425 N EL DORADO ST                         3120 STONECREST BLVD 1ST FL STE 190
                                       STOCKTON, CA 95202                         STONECREST, GA 30038




CITY OF STOW                           CITY OF STUART                             CITY OF SUFFOLK COMMUNITY
INCOME TAX DIVISION                    121 SW FLAGER AVE                          DEVELOPMENT
PO BOX 1668                            STUART, FL 34994                           442 W WASHINGTON ST
STOW, OH 44224-0668                                                               SUFFOLK, VA 23434




CITY OF SUFFOLK                        CITY OF SUFFOLK                            CITY OF SUFFOLK
C/O ALARM TRACKING AND BILLING         C/O TREASURER                              PO BOX 142557
P.O. BOX 26364                         PO BOX 1459                                IRVING, TX 75014
COLORADO SPRINGS, CO 80936             SUFFOLK, VA 23439-1459




CITY OF SUFFOLK, VIRGINIA              CITY OF SUGAR LAND                         CITY OF SUGAR LAND
CITY TREASURER                         2700 TOWN CENTER BLVD NORTH                P.O. BOX 5029
P O BOX 1583                           SUGAR LAND, TX 77479                       SUGAR LAND, TX 77487-5029
SUFFOLK, VA 23439-1583




CITY OF SUMTER                         CITY OF SUMTER                             CITY OF SUN VALLEY ID - CITY CLERK
21 N MAIN ST                           P.O. BOX 310                               PO BOX 416
SUMPTER, SC 29150                      SUMTER, SC 29151-0310                      SUN VALLEY, ID 83353-0416




CITY OF SUN VALLEY                     CITY OF SUN VALLEY                         CITY OF SUNNYVALE - UTILITIES
ATTN: SALES & USE TAX DEPT.            C/O BUSINESS TAX DIVISION                  P.O. BOX 4000
PO BOX 416                             PO BOX 416                                 SUNNYVALE, CA 94088-4000
SUN VALLEY, ID 83353                   SUN VALLEY, ID 83353




CITY OF SUNNYVALE                      CITY OF SUNNYVALE                          CITY OF SUNRISE
456 W OLIVE AVE                        PO BOX 3707                                1601 NW 136 AVE BLDG A
SUNNYVALE, CA 94086                    SUNNYVALE, CA 94088-3707                   SUNRISE, FL 33323
CITY OF SUNRISE           Case 18-12241-CSS
                                         CITY OF Doc  26
                                                 SUNRISE     Filed 10/05/18   PageCITY
                                                                                   384 OFof 1739
                                                                                         SUNRISE
P.O. BOX 31432                            SANITATION                              UTILITIES
TAMPA, FL 33631-3432                      10770 W OAKLAND PARK BLVD               777 SAWGRASS CORPORATE PKWY
                                          SUNRISE, FL 33351                       SUNRISE, FL 33325




CITY OF SUNSET HILLS                      CITY OF SURPRISE                        CITY OF SURPRISE
3939 S. LINDBERGH                         ATTN: TAX AND LICENSING                 BUSINESS LICENSE OFFICE
SUNSET HILLS, MO 63127                    12425 W BELL ROAD D-100                 16000 N CIVIC CENTER
                                          SURPRISE, AZ 85374-9002                 SURPRISE, AZ 85374




CITY OF SURPRISE                          CITY OF SURPRISE                        CITY OF SWEETWATER
P.O. BOX 29078                            UTILITIES                               C/O BUSINESS TAX DIVISION
PHOENIX, AZ 85038-9078                    777 SAWGRASS CORPORATE PKWY             500 SW 109TH AVE
                                          SUNRISE, FL 33325                       SWEETWATER, FL 33174




CITY OF SYLVANIA                          CITY OF TACOMA                          CITY OF TACOMA
INCOME TAX DEPARTMENT                     747 MARKET ST                           FINANCE DEPT/ TAX & LICENSE DIV
6730 MONROE ST STE 202                    TACOMA, WA 98402                        PO BOX 11640
SYLVANIA, OH 43560-1948                                                           TACOMA, WA 98411-6640




CITY OF TALLAHASSEE                       CITY OF TALLAHASSEE                     CITY OF TAMPA UTILITIES
435 N MACOMB ST RELAY BOX                 C/O REVENUE DIVISION BOX A-4            306 E JACKSON ST
TALLAHASSEE, FL 32301                     300 S ADAMS ST                          TAMPA, FL 33602
                                          TALLAHASSEE, FL 32301




CITY OF TAMPA UTILITIES                   CITY OF TAMPA                           CITY OF TARPON SPRINGS
P.O. BOX 30191                            BUSINESS TAX DIVISION                   324 E. PINE ST.
TAMPA, FL 33630-3191                      PO BOX 2200                             TARPON SPRINGS, FL 34689-4004
                                          TAMPA, FL 33601




CITY OF TARPON SPRINGS                    CITY OF TARPON SPRINGS                  CITY OF TARPON SPRINGS
ATTN : COLLECTION CENTER                  SANITATION, 324 E. PINE ST.             WATER & WASTEWATER, 324 E. PINE ST.
P.O. BOX 5004                             TARPON SPRINGS, FL 34689-4004           TARPON SPRINGS, FL 34689-4004
TARPON SPRINGS, FL 34688-5004




CITY OF TAYLORSVILLE                      CITY OF TELLURIDE                       CITY OF TEMECULA
2600 WEST TAYLORSVILLE BLVD               ATTN: SALES & USE TAX DEPT.             41000 MAIN STREET
TAYLORSVILLE, UT 84129                    P.O. BOX 397                            TEMECULA, CA 92590
                                          TELLURIDE, CO 81435




CITY OF TEMPE                             CITY OF TEMPE                           CITY OF TEMPE
P.O. BOX 29617                            TAX & LICENSE DIVISION                  WATER & WASTEWATER, 324 E. PINE ST.
PHOENIX, AZ 85038-9617                    PO BOX 5002                             TARPON SPRINGS, FL 34689-4004
                                          TEMPE, AZ 85280




CITY OF TEMPE-TAX & LICENSE DIVISION      CITY OF TEMPLE                          CITY OF TEMPLE
FORMS PROCESSING CENTER                   401 N 3RD ST                            P.O. BOX 878
PO BOX 29618                              TEMPLE, TX 76501                        TEMPLE, TX 76503-0878
PHOENIX, AZ 85038-9618
CITY OF THE COLONY       Case 18-12241-CSS
                                        CITY OF Doc  26 Filed
                                                THE DALLES        10/05/18
                                                           CITY HALL         PageCITY
                                                                                  385 OFof
                                                                                        THE1739
                                                                                            DALLES CITY HALL
PO BOX 560008                             P.O. BOX 1790                           THE DALLES CITY HALL
THE COLONY, TX 75056                      THE DALLES, OR 97058-8008               313 COURT ST
                                                                                  THE DALLES, OR 97058




CITY OF THOMASVILLE                       CITY OF THORNTON SALES TAX DIV          CITY OF THORNTON
TAX DEPT                                  PO BOX 910222                           ATTN: SALES & USE TAX DEPT.
PO BOX 1397                               DENVER, CO 80291-0222                   9500 CIVIC CENTER DR
THOMASVILLE, GA 31799                                                             DENVER, CO 80229




CITY OF THORNTON                          CITY OF TIGARD                          CITY OF TIMNATH
TAX AUDITOR                               BUSINESS LICENSE                        ATTN: SALES & USE TAX DEPT.
9500 CIVIC CENTER DR                      13125 SW HALL BLVD                      PO BOX 29048
DENVER, CO 80229                          PORTLAND, OR 97223                      PHOENIX, AZ 85038-9048




CITY OF TITUSVILLE                        CITY OF TITUSVILLE                      CITY OF TITUSVILLE
555 S WASHINGTON AVE                      ATTN: BUSINESS TAX                      P.O. BOX 2807
TITUSVILLE, FL 32796                      PO BOX 2806                             TITUSVILLE, FL 32781-2807
                                          TITUSVILLE, FL 32781




CITY OF TOLEDO DEPT PUBL UTIL             CITY OF TOLEDO                          CITY OF TOLEDO
420 MADISON AVE, STE 100                  DEPT OF PUBLIC UTILITIES                INCOME TAX DEPARTMENT
TOLEDO, OH 43604                          PO BOX 10017                            1 GOVERNMENT CTR STE 2070
                                          TOLEDO, OH 43699-0017                   TOLEDO, OH 43604-2217




CITY OF TOLLESON- LICENSING               CITY OF TOMBALL                         CITY OF TOOELE
9555 W VAN BUREN                          501 JAMES                               90 NORTH MAIN ROOM 227
TOLLESON, AZ 85353                        TOMBALL, TX 77375                       TOOELE, UT 84074




CITY OF TOPEKA PLANNING DEPARTMENT        CITY OF TOPEKA                          CITY OF TOPEKA
620 SE MADISON UNIT 11                    215 SE 7TH ST                           P.O. BOX 3566
TOPEKA, KS 66607-1118                     TOPEKA, KS 66603                        TOPEKA, KS 66601-3566




CITY OF TORRANCE REVENUE DIVISION         CITY OF TORRINGTON                      CITY OF TRACY
3031 TORRANCE BLVD                        140 MAIN ST RM 134                      333 CIVIC CENTER PLAZA
TORRANCE, CA 90503                        TORRINGTON, CT 06790                    TRACY, CA 95376




CITY OF TRACY                             CITY OF TRINITY                         CITY OF TROY
TRACY POLICE DEPT-ATTN: RECORDS UNIT      ATTN: SALES & USE TAX DEPT.             UTILITY BILLING
1000 CIVIC CENTER DR                      35 PRESTON DR                           100 S MARKET ST
TRACY, CA 95376                           TRINITY, AL 35673                       TROY, OH 45373-3376




CITY OF TROY                              CITY OF TRUSSVILLE                      CITY OF TUCKER
UTILITY BILLING, 100 S MARKET ST          P.O. BOX 159, 131 MAIN STREET           CITY HALL
TROY, OH 45373-3376                       TRUSSVILLE, AL 35173                    4119 ADRIAN ST
                                                                                  TUCKER, GA 30084
                      Case
CITY OF TUCSON COLLECTIONS    18-12241-CSS
                                        CITY OF Doc 26
                                                TUCSON      Filed 10/05/18   PageCITY
                                                                                  386 OFof 1739
                                                                                        TUCSON
P.O. BOX 27320                          LICENSE SECTION                          LICENSE SECTION
TUCSON, AZ 85726-7320                   CITY HALL, 1ST FL                        P.O. BOX 27210
                                        255 W ALAMEDA                            TUCSON, AZ 85726-7210
                                        TUCSON, AZ 85701



CITY OF TUCSON                          CITY OF TUCSON                           CITY OF TUCSON
LICENSE SECTION                         P.O. BOX 28804                           POLICE DEPT/ALARM UNIT
PO BOX 27210                            TUCSON, AZ 85726-8804                    1310 W MIRACLE MILE
TUCSON, AZ 85726-7210                                                            TUCSON, AZ 85705




CITY OF TUKWILA                         CITY OF TULLAHOMA                        CITY OF TUMWATER
6200 SOUTHCENTER BLVD.                  BUSINESS LICENCE                         B&O TAX RETURN
TUKWILA, WA 98188                       PO BOX 807                               555 ISRAEL RD SW
                                        TULLAHOMA, TN 37388                      TUMWATER, WA 98501




CITY OF TUPELO                          CITY OF TURLOCK                          CITY OF TURLOCK
PO BOX 1485                             BUSINESS LICENSE                         WATER SEWER & GARBAGE SERVICE
TUPELO, MS 38804                        156 S BROADWAY STE 114                   156 S BROADWAY, STE 270
                                        TURLOCK, CA 95380-5456                   TURLOCK, CA 95380




CITY OF TUSCALOOSA REVENUE DEPT         CITY OF TUSCALOOSA                       CITY OF TUSCALOOSA
PO BOX 2089                             ATTN: PROPERTY TAX DEPT.                 ATTN: SALES & USE TAX DEPT.
TUSCALOOSA, AL 35403                    PO BOX 2089                              PO BOX 2089
                                        TUSCALOOSA, AL 35403                     TUSCALOOSA, AL 35403




CITY OF TUSCON                          CITY OF TUSKEGEE                         CITY OF TWIN FALLS
PO BOX 27320                            PO BOX 830687                            P.O. BOX 2469
TUCSON, AZ 85726                        TUSKEGEE, AL 36083                       TWIN FALLS, ID 83303-2469




CITY OF TWIN FALLS                      CITY OF TYLER                            CITY OF TYLER
UTLILTY DEPT                            P.O. BOX 336                             WATER BUSINESS OFFICE
103 MAIN AVE E                          TYLER, TX 75710                          511 W LOCUST
TWIN FALLS, ID 83301                                                             TYLER, TX 75702




CITY OF UNION CITY                      CITY OF UNIVERSITY PARK                  CITY OF UNIVERSITY PARK
ADMIN SERV DEPT REV DIV                 3800 UNIVERSITY BLVD                     PO BOX 650823
340009 ALVARDO NILES RD                 UNIVERSITY PARK, TX 75205                DEP 41363
UNION CITY, CA 94587                                                             DALLAS, TX 75265-0823




CITY OF UPLAND                          CITY OF VA. BEACH                        CITY OF VACAVILLE
BUSINESS SUPPORT CENTER                 TREASURER-MUNICIPAL CENTER-BLDG 1        650 MERCHANT STREET
8839 N CEDAR AVE 212                    2401 COURTHOUSE DR.                      VACAVILLE, CA 95696-6178
FRESNO, CA 93720                        VIRGINIA BEACH, VA 23456-9018




CITY OF VAIL                            CITY OF VALDOSTA                         CITY OF VALDOSTA
ATTN: SALES & USE TAX DEPT.             1016 MYRTLE ST                           ATTN: BUSINESS LICENSE OFFICE
75 S FRONTAGE RD                        VALDOSTA, GA 31601                       P.O. BOX 1125
VAIL, CO 81657                                                                   VALDOSTA, GA 31603-1125
CITY OF VALLEJO FAP      Case 18-12241-CSS
                                        CITY OF Doc  26
                                                VALLEJO       Filed 10/05/18   PageCITY
                                                                                    387 OFof 1739
                                                                                          VALLEJO
PO BOX 742536                            555 SANTA CLARA ST                        WATER DEPT
LOS ANGELES, CA 90074                    VALLEJO, CA 94590                         202 FLEMING HILL RD
                                                                                   VALLEJO, CA 94589




CITY OF VALLEJO-UTILITIES                CITY OF VALLEY                            CITY OF VALPARAISO
PO BOX 54537                             20 FOB JAMES DRIVE                        FIRE DEPT
LOS ANGELES, CA 90054-0537               VALLEY, AL 36854                          2605 CUMBERLAND DR
                                                                                   VALPARAISO, IN 46383




CITY OF VANCOUVER                        CITY OF VANCOUVER-UTILITIES               CITY OF VERO BEACH UTILITIES
FINANCIAL SERVICES                       PO BOX 8875                               1053 20TH PL
PO BOX 8995                              VANCOUVER, WA 98666-8875                  VERO BEACH, FL 32960
VANCOUVER, WA 98668-8995




CITY OF VERO BEACH UTILITIES             CITY OF VERO BEACH                        CITY OF VERO BEACH
P.O. BOX 1180                            1053 20TH PL                              PO BOX 1389
VERO BEACH, FL 32961-1180                VERO BEACH, FL 32960                      VERO BEACH, FL 32961-1389




CITY OF VICTOR ID - C/O CITY CLERK       CITY OF VICTOR                            CITY OF VICTORVILLE
PO BOX 122                               ATTN: SALES & USE TAX DEPT.               14343 CIVIC DR
VICTOR, ID 83455-0122                    PO BOX 122                                VICTORVILLE, CA 92393-5001
                                         VICTOR, ID 83455-0122




CITY OF VICTORVILLE                      CITY OF VIENNA - OFFICE OF THE            CITY OF VIRGINIA BEACH FIRE DEPT
PO BOX 5001                              TREASURER                                 21 MUNICIPLE CTR
VICTORVILLE, CA 92392                    PO BOX 5097                               VIRGINIA BEACH, VA 23456-9099
                                         VIENNA, WV 26105




CITY OF VIRGINIA BEACH TREASURER         CITY OF VIRGINIA BEACH TREASURER          CITY OF VIRGINIA BEACH
ATTN: BUSINESS LICENSE DEPT.             ATTN: PROPERTY TAX DEPT.                  2401 COURTHOUSE DR, BUILDING 1
2401 COURTHOUSE DR                       2401 COURTHOUSE DR                        VIRGINIA BEACH, VA 23456
VIRGINIA BEACH, VA 23456-9002            VIRGINIA BEACH, VA 23456-9002




CITY OF VIRGINIA BEACH                   CITY OF VISALIA                           CITY OF VISALIA
MUNCIPAL CENTER-BLDG 1                   707 W ACEQUIA AVE                         BUSINESS LICENSE DIVISION
2401 COURTHOUSE DR                       VISALIA, CA 93291                         PO BOX 4002
VIRGINIA BEACH, VA 23456-9018                                                      VISALIA, CA 93278




CITY OF VISALIA                          CITY OF VISALIA-51159                     CITY OF VISALIA-POLICE DEPT
PO BOX 5078                              P.O. BOX 51159                            303 SOUTH JOHNSON ST
VISALIA, CA 93278                        LOS ANGELES, CA 90051-5459                VISALIA, CA 93291




CITY OF VISTA                            CITY OF WACO WATER OFFICE                 CITY OF WACO WATER OFFICE
ATTN: BUSINESS LICENSE DEPT              425 FRANKLIN AVE                          P.O. BOX 2649
200 CIVIC CENTER DR                      WACO, TX 76701                            WACO, TX 76702-2649
VISTA, CA 92084
CITY OF WAITE PARK       Case 18-12241-CSS
                                        CITY OF Doc
                                                WAITE26
                                                      PARK Filed 10/05/18   PageCITY
                                                                                 388 OFof 1739
                                                                                       WALKER
19 13TH AVENUE N                          PO BOX 339                            4243 REMEMBRANCE RD NW
WAITE PARK, MN 56387                      WAITE PARK, MN 56387                  WALKER, MI 49534




CITY OF WALNUT CREEK                      CITY OF WALTHAM                       CITY OF WALTHAM
1666 NORTH MAIN ST.                       610 MAIN ST                           TREASURER/COLLECTORS OFFICE
WALNUT CREEK, CA 94596                    WALTHAM, MA 02452                     PO BOX 540190
                                                                                WALTHAM, MA 02454-0190




CITY OF WARNER ROBINS                     CITY OF WARNER ROBINS                 CITY OF WARNER ROBINS
202 N. DAVIS DRIVE PMB 718                700 WATSON BLVD                       OCCUPATIONAL TAX DIVISION
WARNER ROBINS, GA 31093                   WARNER ROBINS, GA 31093               PO BOX 8629
                                                                                WARNER ROBINS, GA 31095




CITY OF WARRENTON                         CITY OF WARRENTON                     CITY OF WARWICK TAX COLLECTORS
225 S MAIN ST                             ATTN: UTILITIES RECEIVABLE            CITY HALL ANNEX BLDG
WARRENTON, OR 97146                       P.O. BOX 250                          3275 POST RD
                                          WARRENTON, OR 97146-0250              WARWICK, RI 02886




CITY OF WARWICK TAX COLLECTORS            CITY OF WATSONVILLE UTILITIES         CITY OF WATSONVILLE UTILITIES
TAX PAYMENTS                              250 MAIN ST                           P.O. BOX 149
PO BOX 981027                             WATSONVILLE, CA 95076                 WATSONVILLE, CA 95077-0149
BOSTON, MA 02298




CITY OF WATSONVILLE                       CITY OF WAUKESHA - TREASURER          CITY OF WAUSAU- TREASURER
250 MAIN ST.                              201 DELAFIELD ST                      PO BOX 3051
WATSONVILLE, CA 95076                     WAUKESHA, WI 53188-3693               MILWAUKEE, WI 53201-3051




CITY OF WAUWATOSA WATER                   CITY OF WAUWATOSA WATER               CITY OF WAUWATOSA
7725 W NORTH AVE                          BIN 88445                             ATTN: PROPERTY TAX DEPT.
WAUWATOSA, WI 53213                       MILWAUKEE, WI 53288-0445              BIN 360
                                                                                MILWAUKEE, WI 53288-0360




CITY OF WAYCROSS                          CITY OF WAYCROSS                      CITY OF WEATHERFORD
417 PENDLETON ST                          PO DRAWER 99                          303 PALO PINTO ST
WAYCROSS, GA 31502-0099                   WAYCROSS, GA 31502-0099               WEATHERFORD, TX 76086




CITY OF WEATHERFORD                       CITY OF WEAVER                        CITY OF WEBSTER
P.O. BOX 255                              ATTN: SALES & USE TAX DEPT.           101 PENNSYLVANIA AVE.
WEATHERFORD, TX 76086-0255                CITY OF WEAVER P. O. BOX 934668       WEBSTER, TX 77598
                                          ATLANTA, GA 31193-4668




CITY OF WEBSTER                           CITY OF WENTZVILLE                    CITY OF WEST ALLIS
PUBLIC WORKS                              BUSINESS LICENSE DEPT.                WATER/SEWER UTILITY BILLING
855 MAGNOLIA AVE                          1001 SCHROEDER CREEK BLVD             7525 W GREENFIELD AVE
WEBSTER, TX 77598                         WENTZVILLE, MO 63385                  WEST ALLIS, WI 53214-4648
                         Case
CITY OF WEST ALLIS-TREASURER    18-12241-CSS
                                          CITY OF Doc
                                                  WEST 26
                                                       BEND -Filed 10/05/18
                                                              TREASURER         PageCITY
                                                                                     389 OFof 1739
                                                                                           WEST JORDAN
7525 W GREENFIELD AVE                      1115 S MAIN ST                           8000 S REDWOOD RD
WEST ALLIS, WI 53214-4648                  WEST BEND, WI 53095-4605                 WEST JORDAN, UT 84088




CITY OF WEST JORDAN                        CITY OF WEST JORDAN                      CITY OF WEST MELBOURNE
PO BOX 550                                 UTILITY BILLING, 8000 S REDWOOD RD       C/O BUSINESS TAX RECEIPTS
WEST JORDAN, UT 84084-0550                 WEST JORDAN, UT 84088                    PO BOX 120009
                                                                                    WEST MELBOURNE, FL 32912-0009




CITY OF WEST MELBOURNE                     CITY OF WEST MELBOURNE                   CITY OF WEST PALM BEACH FIRE RESCUE
FIRE PREVENTION                            UTILITY SERVICE                          PO BOX 3366
2240 MINTON RD                             2240 MINTON RD, 1ST FL                   WEST PALM BEACH, FL 33402
WEST MELBOURNE, FL 32904                   WEST MELBOURNE, FL 32904-4917




CITY OF WEST PALM BEACH                    CITY OF WEST PALM BEACH                  CITY OF WEST PALM BEACH
401 CLEMATIS ST                            CONSTRUCTION SERVICE DEPT                P.O. BOX 3506
WEST PALM BEACH, FL 33401                  401 CLEMATIS ST                          WEST BALM BEACH, FL 33402-3506
                                           WEST PALM BEACH, FL 33401




CITY OF WEST PALM BEACH                    CITY OF WEST SACRAMENTO                  CITY OF WEST VALLEY
PO BOX 3147                                1110 WEST CAPITOL AVE                    C/O BUSINESS LICENSE OFFICE
WEST PALM BEACH, FL 33402                  WEST SACRAMENTO, CA 95691                3600 CONSTITUTION BLVD
                                                                                    WEST VALLEY, UT 84119




CITY OF WESTFIELD                          CITY OF WESTMINSTER                      CITY OF WESTMINSTER
PO BOX 9249                                4800 W 92ND AVE                          ATTN: SALES & USE TAX DEPT.
CHELSEA, MA 02150-9249                     WESTMINSTER, CO 80031                    PO BOX 17107
                                                                                    DENVER, CO 80217-7107




CITY OF WESTMINSTER                        CITY OF WESTMINSTER                      CITY OF WESTON
C/O TAX DEPT                               P.O. BOX 17040                           17200 ROYAL PALM BOULEVARD
56 W MAIN ST                               DENVER, CO 80217-0040                    WESTON, FL 33326
WESTMINSTER, MD 21157-4844




CITY OF WESTPORT                           CITY OF WHEAT RIDGE - TAX DIVISION       CITY OF WHEAT RIDGE
PO BOX 505                                 7500 W 29TH AVE                          ATTN: SALES & USE TAX DEPT.
WESTPORT, WA 98595                         WHEAT RIDGE, CO 80033                    PO BOX 912758
                                                                                    DENVER, CO 80291-2758




CITY OF WHEATON                            CITY OF WHEATON                          CITY OF WHITEVILLE
303 W WESLEY ST                            PO BOX 727                               C/O COLUMBUS CO TAX OFFICE
WHEATON, IL 60187                          WHEATON, IL 60187                        PO BOX 1468
                                                                                    WHITEVILLE, NC 28472-1468




CITY OF WHITEVILLE                         CITY OF WHITEVILLE                       CITY OF WICHITA FALLS
P.O. BOX 607                               PUBLIC WORKS                             1300 7TH ST
WHITEVILLE, NC 28472                       24 HILL PLAZA                            WICHITA FALLS, TX 76301
                                           WHITEVILLE, NC 28472
CITY OF WICHITA FALLS    Case   18-12241-CSS
                                          CITY OF Doc  26
                                                  WICHITA     Filed 10/05/18   PageCITY
                                                                                    390 OFof 1739
                                                                                          WICHITA
P.O. BOX 1440                              P.O. BOX 2922                           PUBLIC WORKS & UTILITIES
WICHITA FALLS, TX 76307-7532               WICHITA, KS 67201-2922                  455 N MAIN, 8TH FL
                                                                                   WICHITA, KS 67202




CITY OF WILDWOOD WATER UTILITY             CITY OF WILDWOOD                        CITY OF WILDWOOD
4400 NEW JERSEY AVENUE                     100 N MAIN STREET                       UTILITY DEPT
WILDWOOD, NJ 08260                         WILDWOOD, FL 34785-4047                 100 N MAIN STREET
                                                                                   WILDWOOD, FL 34785-4047




CITY OF WILLIAMSBURG                       CITY OF WILMINGTON                      CITY OF WILSON
PO BOX 245                                 COLLECTIONS DIVISION                    COLLECTION DIVISION
WILLIAMSBURG, VA 23187                     PO BOX 1810                             P.O. BOX 2407
                                           WILMINGTON, NC 28402-1810               WILSON, NC 27894-2407




CITY OF WILSON                             CITY OF WILSON                          CITY OF WILSON
ELECTRIC                                   GAS                                     PO BOX 10
1800 HERRING AVE                           1800 HERRING AVE                        WILSON, NC 27894
WILSON, NC 27894                           WILSON, NC 27894




CITY OF WILSON                             CITY OF WILSON                          CITY OF WILSONVILLE BILLING
WATER RESOURCES                            WILSON ENERGY                           P.O. BOX 5310
208 NASH ST NE                             1800 HERRING AVE                        PORTLAND, OR 97228-5310
WILSON, NC 27894                           WILSON, NC 27894




CITY OF WILSONVILLE                        CITY OF WILSONVILLE                     CITY OF WINCHESTER
TRANSIT TAX DEPT                           UTILITY BILLING                         COMMISSIONER OF THE REVENUE
PO BOX 765                                 29799 SW TOWN CENTER LOOP E             PO BOX 546
WILSONVILLE, OR 97070                      WILSONVILLE, OR 97070                   WINCHESTER, VA 22604




CITY OF WINCHESTER                         CITY OF WINDCREST                       CITY OF WINDER
PO BOX 263                                 8601 MIDCROWN                           35 E MIDLAND AVE
WINCHESTER, VA 22604-0263                  WINDCREST, TX 78239                     WINDER, GA 30680




CITY OF WINDER                             CITY OF WINDSOR                         CITY OF WINSTON SALEM
45 EAST ATHENS STREET                      ATTN: SALES & USE TAX DEPT.             UTILITIES
P.O. BOX 568                               275 BROAD ST                            101 N MAIN ST
WINDER, GA 30680                           WINDSOR, CT 06095                       WINSTON-SALEM, NC 27102




CITY OF WINSTON-SALEM                      CITY OF WINSTON-SALEM                   CITY OF WINSTON-SALEM
PO BOX 2511                                REVENUE DEPT                            REVENUE DIV.
WINSTON SALEM, NC 27102                    PO BOX 2756                             100 E FIRST ST, STE 121
                                           WINSTON SALEM, NC 27102-2756            WINSTON-SALEM, NC 27101




CITY OF WINSTON-SALEM                      CITY OF WINTER GARDEN                   CITY OF WINTER HAVEN
REVENUE DIV.                               300 W PLANT ST                          490 THIRD STREET NW
P.O. BOX 580055                            WINTER GARDEN, FL 34787-2769            WINTER HAVEN, FL 33881
CHARLOTTE, NC 28258-0055
CITY OF WINTER HAVEN    Case   18-12241-CSS
                                         CITY OF Doc  26HAVEN
                                                 WINTER    Filed 10/05/18       PageCITY
                                                                                     391 OFof 1739PARK
                                                                                           WINTER
P.O. BOX 2277                             UTILITY ACCOUNT SERVICES                  401 PARK AVENUE S
WINTER HAVEN, FL 33883-2277               551 THIRD ST NW                           WINTER PARK, FL 32789
                                          WINTER HAVEN, FL 33881




CITY OF WINTER PARK                       CITY OF WINTER PARK                       CITY OF WINTER PARK
ATTN: SALES & USE TAX DEPT.               ELECTRIC SERVICES                         TRASH
P.O. BOX 1986                             401 S PARK AVE                            401 S PARK AVE
WINTER PARK, FL 32790-1986                WINTER PARK, FL 32789                     WINTER PARK, FL 32789




CITY OF WINTER PARK                       CITY OF WISCONSIN RAPIDS - TRESURER       CITY OF WOBURN
WATER & WASTEWATER                        CITY HALL 444 W GRAND AVE                 PO BOX 227
401 S PARK AVE                            WISCONSIN RAPIDS, WI 54495-2780           WOBURN, MA 01801
WINTER PARK, FL 32789




CITY OF WOOD VILLAGE                      CITY OF WOODBURN                          CITY OF WOODBURY
2055 NE 238TH DRIVE                       270 MONTGOMERY ST                         8301 VALLEY CREEK RD.
WOOD VILLAGE, OR 97060                    WOODBURN, OR 97071                        WOODBURY, MN 55125




CITY OF WOODBURY                          CITY OF WOODHAVEN                         CITY OF WOODLAND PARK REV DEPT
PUBLIC WORKS                              CITY CLERKS OFFICE                        PO BOX 9045
2301 TOWER DR                             21869 WEST RD                             WOODLAND PARK, CO 80866-9045
WOODBURY, MN 55125                        WOODHAVEN, MI 48183




CITY OF WOODLAND PARK                     CITY OF WOODSTOCK TAX DEPT                CITY OF WOODSTOCK
ATTN: SALES & USE TAX DEPT.               12453 HIGHWAY 92                          ATTN: WATER DEPARTMENT
300 FIRST STREET                          WOODSTOCK, GA 30188-3698                  12453 HIGHWAY 92
WOODLAND, CA 95695                                                                  WOODSTOCK, GA 30188-3698




CITY OF WOODSTOCK                         CITY OF WOONSOCKET-CITY CLERK             CITY OF WORCESTER
PUBLIC WORKS                              PO BOX B                                  PO BOX 15602
12453 HWY 92                              169 MAIN ST                               WORCESTER, MA 01615-0602
WOODSTOCK, GA 30188                       WOONSOCKET, RI 02895




CITY OF WORCESTER                         CITY OF WORCESTER                         CITY OF YAKIMA UTILITY ACCTS
SEWER                                     WATER                                     129 N 2ND ST.
76 E WORCESTER ST                         76 E WORCESTER ST                         YAKIMA, WA 98901-2632
WORCESTER, MA 01604                       WORCESTER, MA 01604




CITY OF YAKIMA                            CITY OF YAKIMA                            CITY OF YAKIMA
P.O. BOX 22720                            WASTEWATER DEPT                           WATER
YAKIMA, WA 98907-2720                     2220 E VIOLA                              129 N SECOND ST
                                          YAKIMA, WA 98901                          YAKIMA, WA 98901




CITY OF YONKERS                           CITY OF YONKERS                           CITY OF YPSILANTI
DEPT 116021 P.O. BOX 5211                 PUBLIC WORKS DEPT                         ASSESSING DEPT
BINGHAMTON, NY 13902-5211                 40 S BROADWAY, RM 311                     ONE SOUTH HURON
                                          YONKERS, NY 10701                         YPSILANTI, MI 48197
CITY OF YUBA CITY        Case 18-12241-CSS
                                        CITY OF Doc 26
                                                YUKON         Filed 10/05/18   PageCITY
                                                                                    392 OFof 1739
                                                                                          YUKON
1201 CIVIC CENTER BLVD                   PUBLIC WORKS                              SANITATION SERVICES
YUBA CITY, CA 95993                      1035 INDUSTRIAL DR                        501 ASH AVE
                                         YUKON, OK 73099                           YUKON, OK 73099




CITY OF YUKON                            CITY OF ZANESVILLE - INC TAX DEPT         CITY OF ZEPHYRHILLS
TERRI PEAK- UTILITY BILLING DEPT.        401 MARKET ST                             5335 8TH STREET
P.O. BOX 850500                          ZANESVILLE, OH 43701                      ZEPHYRHILLS, FL 33542
YUKON, OK 73085-0500




CITY OF ZILWAUKEE                        CITY RESCUE MISSION OF SAGINAW INC        CITY TREASURER
319 TITTABAWASEE                         1021 BURT ST                              55 W CHURCH ST
SAGINAW, MI 48604                        SAGINAW, MI 48607                         MARTINSVILLE, VA 24112




CITY TREASURER                           CITY TREASURER                            CITY TREASURER-PHOENIX AZ
EMPLOYER WITHHOLDING TAX                 P.O. BOX 1023                             SALES TAX RETURN
PO BOX 182489                            MARTINSVILLE, VA 24114-1023               PO BOX 29125
COLUMBUS, OH 43218-2489                                                            PHOENIX, AZ 85038-9125




CITY UTILITIES OF SPRINGFIELD            CITY UTILITIES                            CITY UTILITIES
P.O. BOX 551                             301 E CENTRAL ST                          505 E NORTH AVE
SPRINGFIELD, MO 65801                    SPRINGFIELD, MO 65802                     CAROL STREAM, IL 60188




CITY UTILITIES                           CITY VIEW CATERING, INC                   CITY VIEW TOWNE CROSSING SHOPPING
P.O. BOX 4632                            1005 ST. EMANUEL SUITE 9                  CENTER FORT WORTH, TX LP
CAROL STREAM, IL 60197-4632              HOUSTON, TX 77003                         270 COMMERCE DRIVE
                                                                                   ATTN: WILLIAM SONDERICKER
                                                                                   ROCHESTER, NY 14623



CITY VIEW TOWNE CROSSING SHOPPING        CITY VIEW TOWNE CROSSING SHPNG            CITY VIEW TOWNE CROSSING SHPNG
CENTER FORT WORTH, TX LP                 301 E CENTRAL ST                          FORT WORTH TX LP
ATTN: WILLIAM SONDERICKER                SPRINGFIELD, MO 65802                     PO BOX 93070
270 COMMERCE DRIVE                                                                 ROCHESTER, NY 14692
ROCHESTER, NY 14623



CITY WATER & LIGHT                       CITY WATER & LIGHT                        CITY WATER LIGHT & POWER
400 E MONROE AVE                         P.O. BOX 1289                             CASHIERS OFFICE
JONESBORO, AR 72401                      JONESBORO, AR 72403-1289                  MUNICIPAL CENTER WEST
                                                                                   SPRINGFIELD, IL 62757-0001




CITY WATER LIGHT & POWER                 CITY WIDE FIRE PROTECTION SERVICES CO.    CITY WIDE FIRE PROTECTION
ROOM 101, MUNICIPAL CENTER WEST          2919 W IRVING PARK RD.                    P.O. BOX 242020
SPRINGFIELD, IL 62757-0001               CHICAGO, IL 60618                         SAN ANTONIO, TX 78224




CITY WIDE MECHANICAL, INC.               CITY WIDE WINDOW CLEANING INC             CITY/COUNTY OF DENVER
P.O. BOX 710655                          P.O. BOX 790                              201 W COFLAX AVE DEPT 403
DALLAS, TX 75371                         ANOKA, MN 55303                           DENVER, CO 80202-5329
                       Case
CITY-COUNTY TAX COLLECTOR       18-12241-CSS     Doc TAX
                                          CITY-COUNTY 26 COLLECTOR
                                                           Filed 10/05/18         PageCIVIL
                                                                                       393ENGINEERING
                                                                                            of 1739 CONSULTANTS INC
P.O. BOX 1400                              PO BOX 32728                               1225 JOHNSON FERRY RD SUITE 855
CHARLOTTE, NC 28201-1400                   CHARLOTTE, NC 28231-2728                   MARIETTA, GA 30068




CIYT OF LOUISVILLE                         CJ ADAMS                                   CJ COCHRANE
749 MAIN ST                                10201 S. MAIN STREET                       10201 S. MAIN STREET
LOUISVILLE, CO 80027                       HOUSTON, TX 77025                          HOUSTON, TX 77025




CJ EVANS                                   CJ JENKINS                                 CJ ROBINSON
10201 S. MAIN STREET                       10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                          HOUSTON, TX 77025




CJS CONSTRUCTION                           CJUF II MARQE CO LP                        CJUF III INTRACOASTAL LLC
PO BOX 2058                                C/O FIDELIS REALTY PARTNERS                CO CREC
MANSFIELD, TX 76033                        19 BRIAR HOLLOW LN STE 100                 2121 PONCE DE LEON BLVD STE 1250
                                           HOUSTON, TX 77027                          CORAL GABLES, FL 33134




CJUF III INTRACOASTAL LLC                  CK & JMK WINDWARD VILLAGE PLAZA, LLC       CK ALLEN
CONTINENTAL REAL ESTATE COMPANIES          C/O PENN HODGE, LLC                        10201 S. MAIN STREET
COMMERCIAL PROPERTIES CORP                 4080 MCGINNIS FERRY RD 1402                HOUSTON, TX 77025
PO BOX 535713                              ALPHARETTA, GA 30005
ATLANTA, GA 30353-5713



CK PROPERTIES LLC                          CK PROPERTIES, LLC                         CK PROPERTIES, LLC
4041 PERIWINKLE BLUE LANE                  5023 FIRST COAST HIGHWAY                   ATTN: FREDRIKA V.COX
RALEIGH, NC 27612                          ATTN: FREDRIKA V.COX                       5023 FIRST COAST HIGHWAY
                                           FERNANDINA BEACH, FL 32034                 FERNANDINA BEACH, FL 32034




CK RIVERGATE SHOPPING CENTER LLC           CKL LIMITED PARTNERSHIP                    CKL LIMITED PARTNERSHIP
P.O. BOX 601986                            ATTN: ARLENE CHUI                          ATTN: ARLENE CHUI
CHARLOTTE, NC 28260-1986                   12411 CRAYSIDE LN                          23221 FOREST CANYON DRIVE
                                           SARATOGA, CA 95070                         DIAMOND BAR, CA 91765




CKL LIMITED PARTNERSHIP                    CKL LIMITED PARTNERSHIP                    CKS-JAC LLC
ATTN: ARLENE CHUI                          P.O. BOX 5195                              1615 ADMIRALS HILL
P.O. BOX 5195                              ATTN: ARLENE CHUI                          VIENNA, VA 22182
DIAMOND BAR, CA 91765                      DIAMOND BAR, CA 91765




CKS-JAC LLC                                CL THOMAS HOLDINGS LLC                     CL THOMAS HOLDINGS, LLC
C/O CKS-VCC LLC                            PO BOX 1876                                9701 U.S. HIGHWAY 59 NORTH
6732 CEDAR SPRING ROAD                     VICTORIA, TX 77902                         VICTORIA, TX 77905
SUNHIL SAMHIL
CENTREVILLE, VA 20121



CLA ASSOCIATES, LLC                        CLA ASSOCIATES, LLC                        CLACKAMAS CO JUSTICE CENTER
1505 LAKES PARKWAY, SUITE 190              ATTN: JEREMY YARBROUGH                     PO BOX 7548
ATTN: JEREMY YARBROUGH                     1505 LAKES PARKWAY, SUITE 190              SPRINGFIELD, OR 97475
LAWRENCEVILLE, GA 30043                    LAWRENCEVILLE, GA 30043
                        Case 18-12241-CSS
CLACKAMAS COUNTY TAX COLLECTOR                 DocRIVER
                                       CLACKAMAS    26 WATER
                                                        Filed   10/05/18   PageCLACKAMAS
                                                                                394 of 1739
                                                                                         RIVER WATER
ATTN: PROPERTY TAX DEPT.               16770 SE 82ND DR                        P.O. BOX 3277
PO BOX 6100                            CLAKAMAS, OR 97015                      PORTLAND, OR 97208-3277
PORTLAND, OR 97228-6100




CLAIR KERR                             CLAIR N KERR                            CLAIRE BENEDETTO
10201 S. MAIN STREET                   510 ERICA ST                            10201 S. MAIN STREET
HOUSTON, TX 77025                      ESCONDIDO, CA 92027                     HOUSTON, TX 77025




CLAIRE LANE LAND TRUST                 CLAIRE NDEGE                            CLAIRE TANSLEY
1 SLEIMAN PARKWAY, SUITE 214           10201 S. MAIN STREET                    10201 S. MAIN STREET
JACKSONVILLE, FL 32216                 HOUSTON, TX 77025                       HOUSTON, TX 77025




CLAIRE WINTJE                          CLAIRESA RUCKER                         CLALLAM COUNTY PUD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    104 HOOKER RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                       SEQUIM, WA 98382




CLALLAM COUNTY PUD                     CLALLAM COUNTY TREASURER                CLALLAM
P.O. BOX 1000                          223 E 4TH ST STE 3                      ATTN: PROPERTY TAX DEPT.
CARLSBORG, WA 98324-1000               PORT ANGELES, WA 98362-3000             223 E 4TH ST STE 3
                                                                               PORT ANGELES, WA 98362-3000




CLARA HIMES                            CLARA KINZIE                            CLARE MCLEOD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CLAREMONT EAP                          CLARENCE CRAWFORD                       CLARENCE DAWSON
1050 MARINA VILLAGE PKWY 203           10201 S. MAIN STREET                    10201 S. MAIN STREET
ALAMEDA, CA 94501                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CLARENCE FOUNTAIN                      CLARENCE HALL                           CLARENCE JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CLARENCE MAHAFFEY                      CLARENCE WILLIAMS                       CLARICE DANIEL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CLARION PARTNERS, LLC                  CLARISA MIRANDA                         CLARISSA JOSE
601 S. FIGUEROA STREET, SUITE 3400     10201 S. MAIN STREET                    9751 CAMINITO DOHA
LOS ANGELES, CA 90017                  HOUSTON, TX 77025                       SAN DIEGO, CA 92131
CLARIX TECHNOLOGIES INCCase   18-12241-CSS     Doc 26 LLC
                                        CLARK COMMONS,  Filed 10/05/18        PageCLARK
                                                                                   395 COMMONS,
                                                                                        of 1739 LLC
1000 PITTSFORD VICTOR RD                C/O SILBERT REALTY & MANAGEMENT CO,       C/O SILBERT REALTY & MANAGEMENT
PITTSFORD, NY 14534                     INC.                                      COMPANY, INC.
                                        152 LIBERTY CORNER ROAD, SUITE 203        152 LIBERTY CORNER ROAD, SUITE 203
                                        WARREN, NJ 07059                          WARREN, NJ 07059



CLARK COUNTY ASSESSOR                   CLARK COUNTY BUSINESS LICENSE             CLARK COUNTY BUSINESS LICENSE
ATTN: PROPERTY TAX DEPT.                ATTN: PROPERTY TAX DEPT.                  ATTN: PROPERTY TAX DEPT.
500 S. GRAND CENTRAL PKWY, 2ND FLOOR    500 S GRAND CENTRAL PKWY 3RD FL           500 S. GRAND CENTRAL PKWY, 2ND FLOOR
P O BOX 551401                          PO BOX 551810                             P O BOX 551401
LAS VEGAS, NV 89155-1425                LAS VEGAS, NV 89155-1810                  LAS VEGAS, NV 89155-1425



CLARK COUNTY TREASURER                  CLARK COUNTY TREASURER                    CLARK DUNCAN & MORRIS
ATTN: PROPERTY TAX DEPT.                ATTN: TAX COLLECTOR                       PO BOX 17304
P O BOX 5000                            PO BOX 1508                               SUGAR LAND, TX 77496
VANCOUVER, WA 98666                     JEFFERSONVILLE, IN 47131-1508




CLARK HAMILTON                          CLARK HILL PLC                            CLARK JASPER HEBRON
10201 S. MAIN STREET                    ATTN: DAVID L. LANSKY, ESQ.               10201 S. MAIN STREET
HOUSTON, TX 77025                       14850 NORTH SCOTTSDALE ROAD, SUITE 500    HOUSTON, TX 77025
                                        SCOTTSDALE, AZ 85254




CLARK PHIPPS                            CLARK PUBLIC UTILITIES                    CLARK PUBLIC UTILITIES
10201 S. MAIN STREET                    8600 NE 117TH AVE                         HOME & GARDEN IDEA FAIR
HOUSTON, TX 77025                       VANCOUVER, WA 98668                       1200 FORT VANCOUVER WAY
                                                                                  VANCOUVER, WA 98663




CLARK PUBLIC UTILITIES                  CLARK REGIONAL WASTEWATER DISTRICT        CLARK RIESS
P.O. BOX 8989                           P.O. BOX 8955                             4705 SUMMERHILL DR.
VANCOUVER, WA 98668                     VANCOUVER, WA 98668-8955                  CUMMING, GA 30040




CLARK SCHOPFLIN                         CLARK TOWNSHIP SEWER UTILITY              CLARK TRULL
3701 PANCAKE HILL DR.                   430 WESTFIELD AVENUE                      7458 COXPIKE
SHASTA LAKE, CA 96019                   CLARK, NJ 07066                           FAIRVIEW, TN 37062




CLARK, JOHN                             CLARKCOURT 1 GP                           CLARKCOURT 1 GP
1105 WESTWOOD DR                        C/O ROBBINS PROPERTIES 1 LLC              C/O ROBBINS PROPERTIES 1 LLC
TULLAHOMA, TN 37388-2835                2200 21ST AVE S STE 309                   3100 W END AVE STE 1070
                                        NASHVILLE, TN 37212                       NASHVILLE, TN 37203




CLARKCOURT 1                            CLARKE COUNTY TAX COMMISSIONER            CLARKSBURG VILLAGE CENTER, LLC
11200 EASUM ROAD                        ATTN: PROPERTY TAX DEPT.                  C/O METRO MANAGEMENT SERVICES LLC
LOUISVILLE, KY 40299                    P O BOX 1768                              8230 LEESBURG PIKE, SUITE 620
                                        ATHENS, GA 30603                          VIENNA, VA 22182




CLARKSTOWN BUILDING INSPECTOR           CLARKSVILLE DEPT OF ELECTRIC              CLARKSVILLE DEPT OF ELECTRIC
10 MAPLE AVENUE                         2021 WILMA RUDOLPH BLVD                   P.O. BOX 31449
NEW CITY, NY 10956                      CLARKSVILLE, TN 37040                     CLARKSVILLE, TN 37040-0025
                        Case
CLARKSVILLE DEPT. OF ELECTRIC   18-12241-CSS    Doc DISPOSAL
                                          CLARKSVILLE 26 Filed
                                                             LLC 10/05/18
                                                                 - DIST 6034   PageCLARKSVILLE
                                                                                    396 of 1739DISPOSAL LLC - DIST 6034
P.O. BOX 31449                             50 N REYNOLDS ST                         P.O. BOX 660177
CLARKSVILLE, TN 37040-0025                 CLARKSVILLE, TN 37040                    DALLAS, TX 75266-0177




CLARKSVILLE DYNASTY, LLC                   CLARKSVILLE GAS & WATER DEPT.            CLARKSVILLE GAS & WATER
C/O PROVIDENCE DEVELOPMENT, LLC            P.O. BOX 31329                           2215 MADISON ST
8463 CASTLEWOOD DRIVE                      CLARKSVILLE, TN 37040-0023               CLARKSVILLE, TN 37043
ATTN: CRAIG A. MAY
INDIANAPOLIS, IN 46250



CLASS A INVESTORS POST OAK LP              CLASSIC BRANDS LLC                       CLASSIC BRANDS LLC
3411 RICHMOND AVE STE 200                  C/O CLASSIC FULFILLLMENT                 C/O DENISE ZIPPELLI
HOUSTON, TX 77046                          PO BOX 83035                             8214 WELLMOOR COURT
                                           CHICAGO, IL 60691                        JESSUP, MD 20794




CLASSIC BRANDS LLC                         CLASSIC PRODUCTIONS INC                  CLATSOP
PO BOX 829810                              DBA ARNOLD FITNESS EXPO                  ATTN: PROPERTY TAX DEPT.
PHILADELPHIA, PA 19182-9810                1215 WORTHINGTON WOODS BLVD              820 EXCHANGE STE 210
                                           WORTHINGTON, OH 43085                    ASTORIA, OR 97103




CLAUDE A MCLEAN JR                         CLAUDE CARTER                            CLAUDE CORVINGTON
PO BOX 467481                              10201 S. MAIN STREET                     10201 S. MAIN STREET
ATLANTA, GA 31146                          HOUSTON, TX 77025                        HOUSTON, TX 77025




CLAUDE CRAMER                              CLAUDE KHOTE                             CLAUDE L HOLSAPPLE & SON INC
10201 S. MAIN STREET                       10201 S. MAIN STREET                     2510 ELECTRONIC LN STE 906
HOUSTON, TX 77025                          HOUSTON, TX 77025                        DALLAS, TX 75220




CLAUDE MCLEAN JR                           CLAUDIA LEVINE                           CLAUDIA MARTINEZ
PO BOX 467481                              10201 S. MAIN STREET                     10201 S. MAIN STREET
ATLANTA, GA 31146                          HOUSTON, TX 77025                        HOUSTON, TX 77025




CLAUDIA P CERON                            CLAUDIA PERALES-GARCIA                   CLAUDIA SEQUEIRA
5815 GULF FWY                              501 WEST ELM ST                          10201 S. MAIN STREET
HOUSTON, TX 77023                          LEXINGTON, NE 68850                      HOUSTON, TX 77025




CLAUDIA TAYLOR                             CLAUDIA TUDON                            CLAUDIA VICIEDO
10201 S. MAIN STREET                       10201 S. MAIN STREET                     99-11 62ND RD
HOUSTON, TX 77025                          HOUSTON, TX 77025                        REGO PARK, NY 11374




CLAUDINE JOSE JAMINAL                      CLAUDIO REYNA                            CLAUDIO SOSA
1465 C ST 3607                             10201 S. MAIN STREET                     C/O SAN ANTONIO FIELD OFFICE
SAN DIEGO, CA 92101                        HOUSTON, TX 77025                        5410 FREDERICKSBURG RD., SUITE 200
                                                                                    SAN ANTONIO, TX 78229
CLAUDIO VEGA             Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                        CLAY ARMSTRONG                     PageCLAY
                                                                                397COUNTY
                                                                                    of 1739
                                                                                          CIRCUIT CLERK
10201 S. MAIN STREET                    10201 S. MAIN STREET                   11 S WATER
HOUSTON, TX 77025                       HOUSTON, TX 77025                      LIBERTY, MO 64068




CLAY COUNTY TAX COLLECTOR               CLAY COUNTY TAX COLLECTOR              CLAY COUNTY UTILITY AUTHORITY
ADMINISTRATION BLDG                     PO BOX 218                             3176 OLD JENNINGS RD.
1 COURTHOUSE SQUARE                     GREEN COVE SPRINGS, FL 32043           MIDDLEBURG, FL 32068
LIBERTY, MO 64068-2368




CLAY DEWEES                             CLAY ELECTRIC COOP INC                 CLAY ELECTRIC COOP INC
10201 S. MAIN STREET                    10 CITRUS DR                           P.O. BOX 308
HOUSTON, TX 77025                       KEYSTONE HEIGHTS, FL 32656-0308        KEYSTONE HEIGHTS, FL 32656-0308




CLAY JONES                              CLAY RETZER                            CLAY VAUGHAN
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025




CLAY WILSON                             CLAY                                   CLAYBON BETTS
10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.               10201 S. MAIN STREET
HOUSTON, TX 77025                       11 S WATER                             HOUSTON, TX 77025
                                        LIBERTY, MO 64068




CLAYBURN HVACR INC                      CLAYSON PANTON                         CLAYTON BRINZA
1808 N HIGH AVE                         10201 S. MAIN STREET                   10201 S. MAIN STREET
FAYETTEVILLE, AR 72704                  HOUSTON, TX 77025                      HOUSTON, TX 77025




CLAYTON CO FIRE & EMERGENCY SERVICES    CLAYTON CO FIRE & EMERGENCY SERVICES   CLAYTON COSTELLO
FIRE RECOVERY USA                       PO BOX 742874                          10201 S. MAIN STREET
PO BOX 935667                           RIVERDALE, GA 30274                    HOUSTON, TX 77025
ATLANTA, GA 31193-5667




CLAYTON COUNTY FIRE DEPT                CLAYTON COUNTY TAX COMMISSIONER        CLAYTON COUNTY WATER AUTH
7810 HWY 85                             ADMINSITRATION ANNEX 3, 2ND FL         1600 BATTLE CREEK RD
RIIVERDALE, GA 30274                    121 SOUTH MCDONOUGH STREET             MORROW, GA 30260-4302
                                        JONESBORO, GA 30236




CLAYTON COUNTY WATER AUTH               CLAYTON COUNTY WATER AUTHORITY         CLAYTON DAVIS
P.O. BOX 117195                         1600 BATTLE CREEK ROAD                 10201 S. MAIN STREET
ATLANTA, GA 30368-7195                  MORROW, GA 30260-4302                  HOUSTON, TX 77025




CLAYTON EVANS                           CLAYTON HALEY                          CLAYTON HALEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025
CLAYTON HARDWICK         Case 18-12241-CSS    Doc
                                        CLAYTON     26 Filed 10/05/18
                                                HIGHTOWER                     PageCLAYTON
                                                                                   398 ofLANGHOFF
                                                                                          1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                      1104 EAGLE AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                         COLLEGE STATION, TX 77845




CLAYTON SIMPSON                         CLAYTON VAUGHAN                           CLAYTON YOUNG
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




CLAYTON                                 CLEA LUSHAJ                               CLEAN METRO INC
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                      228 HEATHER RIDGE DR
10 NORTH BEMISTON AVE                   HOUSTON, TX 77025                         GASTON, SC 29053
CLAYTON, MO 63105




CLEAN METRO INC                         CLEANING RESOURCES SYSTEMS INC            CLEANNET OF DALLAS FT WORTH
PO BOX 771                              DBA FLOORMASTERS MANTENANCE S             800 W AIRPORT FRWY STE 720
GASTON, SC 29053                        PO BOX 20510                              IRVING, TX 75062
                                        HOUSTON, TX 77225




CLEANSERV INC                           CLEANWAY A DIVISION OF CINTAS             CLEAR BLUE SERVICE INC
155 E SHAW AVE STE 306                  400 WEST MAIN ST STE 300                  DBA THE SHOP
FRESNO, CA 93710                        RIVERHEAD, NY 11901                       1393 BELLEAIR RD
                                                                                  CLEARWATER, FL 33756




CLEAR CHANNEL BROADCASTING INC          CLEAR CHANNEL BROADCASTING INC.           CLEAR CHANNEL BROADCASTING
PO BOX 847572                           DBA KFMK FM                               PO BOX 847654
DALLAS, TX 75284-7572                   PO BOX 847117                             DALLAS, TX 75284-7654
                                        DALLAS, TX 75284




CLEAR CHANNEL BROADCASTING, INC.        CLEAR CHANNEL OUTDOOR                     CLEAR CHANNEL PORTLAND
P.O. BOX 847450                         P.O. BOX 847247                           5670 COLLECTIONS CENTER DR
DALLAS, TX 75284-7450                   DALLAS, TX 75284-7247                     CHICAGO, IL 60693




CLEAR CHANNEL SEATTLE                   CLEAR CREEK BROTHERS MANAGEMENT,          CLEAR CREEK BROTHERS MANAGEMENT,
12067 COLLECTIONS CENTER DR             LLC                                       LLC
CHICAGO, IL 60693                       ATTN: ALYCE HOPPER                        ATTN: ED FAHEY
                                        101 EAST MATTHEWS STREET, SUITE 500       101 EAST MATTHEWS STREET, SUITE 500
                                        MATTHEWS, NC 28105                        MATTHEWS, NC 28105



CLEAR CREEK ISD TAX OFFICE              CLEAR CUT LANDSCAPING-CHARLIE DIXON       CLEAR IMAGE WINDOWS
P.O. BOX 650395                         1675 OAKVIEW WAY                          PO BOX 181497
DALLAS, TX 75265-0395                   ROCK HILL, SC 29730                       ARLINGTON, TX 76096




CLEAR LAKE CENTER LP                    CLEAR LAKE CENTER, L.P.                   CLEAR LINK TECHNOLOGIES LLC
C/O UNITED EQUITIES INC                 C/O UNITED EQUITIES, INC.                 ATTN: CHIEF FINANCIAL OFFICER
4545 BISSONNET ST STE 100               4545 BISSONNET, SUITE 100                 5202 W DOUGLAS CORRIGAN WAY STE 300
BELLAIRE, TX 77401                      BELLAIRE, TX 77401                        SALT LAKE CITY, UT 84116
CLEAR SKY GROUP LLC      Case 18-12241-CSS
                                        CLEARLYDoc 26 INC.
                                                HOLDINGS Filed 10/05/18   PageCLEARLY
                                                                               399 ofWINDOWS
                                                                                      1739
PO BOX 36                                DBA CLEARLY WINDOWS                  ANS INC
ADDISON, TX 75001                        1701 E EMPIRE STE 360-260            PO BOX 4543
                                         BLOOMINGTON, IL 61704                CAROL STREAM, IL 60197-4543




CLEARPOINT TECHNOLOGY, INC.              CLEARVIEW BUILDING SERRVICES         CLEAR-VU OF VERO INC
5204 JACKSON STREET                      6440 SW 42ND ST                      2450 1ST PLACE
HOUSTON, TX 77004                        DAVIE, FL 33314                      VERO BEACH, FL 32962




CLEARWATER SHOPPES, LP                   CLECO POWER LLC                      CLEGGS TERMITE & PEST CONTROL LLC
DEPT 78956                               P.O. BOX 660228                      1520 INDUSTRIAL CENTER CIRCLE
PO BOX 78000                             DALLAS, TX 75266-0228                CHARLOTTE, NC 28213
DETROIT, MI 48278-0956




CLEGGS TERMITE & PEST CONTROL LLC        CLEMENTS FENCE CO. INC.              CLEOFAS SOTO IV
PO BOX 560005                            1007 KATYLAND DR                     246 CRANE CREST DR
CHARLOTTE, NC 28256                      KATY, TX 77493                       NEW BRAUNFELS, TX 78130




CLERK FULTON CTY SUPERIOR CT             CLERK OF CIRCUIT COURT               CLERK OF CIRCUIT COURT
STATE OF GEORGIA                         1 W MARKET ST ROOM 104               100 N CALVERT ST ROOM 627
ATLANTA, GA 30334                        SNOW HILL, MD 21863                  BALTIMORE, MD 21202




CLERK OF CIRCUIT COURT                   CLERK OF CIRCUIT COURT               CLERK OF CIRCUIT COURT
100 W PATRICK ST                         11 N WASHINGTON ST STE 16            14735 MAIN ST
FREDERICK, MD 21701                      EASTON, MD 21601                     UPPER MARLBORO, MD 20772-9987




CLERK OF CIRCUIT COURT                   CLERK OF CIRCUIT COURT               CLERK OF CIRCUIT COURT
175 MAIN ST                              20 W COURTLAND ST                    24 SUMMIT AVE
PRINCE FREDERICK, MD 20678               BEL AIR, MD 21014                    HAGERSTOWN, MD 21740




CLERK OF CIRCUIT COURT                   CLERK OF CIRCUIT COURT               CLERK OF CIRCUIT COURT
401 BOSLEY AVE                           41605 COURTHOUSE DR                  50 MARYLAND AVE ROOM 1300
TOWSON, MD 21204-6754                    PO BOX 676                           ROCKVILLE, MD 20850
                                         LEONARDTOWN, MD 20650




CLERK OF CIRCUIT COURT                   CLERK OF CIRCUIT COURT               CLERK OF CIRCUIT COURT
55 NORTH COURT ST                        8 CHURCH CIRCLE ROOM H-101           9250 BENDIX RD
WESTMINSTER, MD 21157-5155               ANNAPOLIS, MD 21401                  COLUMBIA, MD 21045




CLERK OF CIRCUIT COURT                   CLERK OF CIRCUIT COURT               CLERK OF CIRCUIT COURT
PO BOX 198                               PO BOX 458                           PO BOX 970
SALISBURY, MD 21803-0198                 DENTON, MD 21629                     200 CHARLES ST
                                                                              LA PLATA, MD 20646
CLERK OF CIRCUIT COURT Case     18-12241-CSS     Doc
                                          CLERK OF    26 Filed 10/05/18
                                                   COURTS                      PageCLERK
                                                                                    400 OF
                                                                                         of THE
                                                                                            1739COMBINED COURT
WESTMINSTER COUNTY                        CODE ENFORCEMENT INTERGOV SVCS DIV       100 JEFFERSON COUNTRY PKWY
55 N COURT ST                             111 NW 1ST ST STE 1750                   GOLDEN, CO 80401
WESTMINSTER, MD 21157-5155                MIAMI, FL 33128-1981




CLERK OF THE COURTS-JIM LARIA             CLERMONT COLLEGE STATION LLC             CLERMONT COUNTY SEWER DISTRICT
217 SOUTH HIGH ST                         C/O EQUITY, LLC                          LOCATION 00515
AKRON, OH 44308                           4653 TRUEMAN BOULEVARD, SUITE 100        CINCINNATI, OH 45264-0515
                                          HILLIARD, OH 43026




CLERMONT COUNTY WTR RESOURCES             CLERMONT COUNTY WTR RESOURCES            CLERMONT HEIGHTS PLAZA LLC
4400 HASKELL LN                           LOCATION 00515                           1ST COMMERCIAL BANK OF FLORIDA
BATAVIA, OH 45103                         CINCINNATI, OH 45264-0001                945 S. ORANGE AVE
                                                                                   ORLANDO, FL 32806




CLERMONT HEIGHTS PLAZA LLC                CLEVE PERSON                             CLEVELAND COUNTY TREASURER
7701 DEBEAUBIEN DR                        10201 S. MAIN STREET                     201 S JONES STE 100
ORLANDO, FL 32835                         HOUSTON, TX 77025                        NORMAN, OK 73069-6076




CLEVELAND DAILY BANNER                    CLEVELAND NEWSPAPERS INC                 CLEVELAND UTILITIES
P.O. BOX 3600                             PO BOX 1469                              2450 GUTHRIE AVE NW
CLEVELAND, TN 37320                       JASPER, AL 35501                         CLEVELAND, TN 37311




CLEVELAND UTILITIES                       CLEVELAND                                CLIF CHARLES
P.O. BOX 2730                             ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET
CLEVELAND, TX 37320-2730                  P.O. BOX 1519                            HOUSTON, TX 77025
                                          CLEVELAND, TN 37364-1519




CLIFF BLUM                                CLIFF COOK                               CLIFF MARKEL
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




CLIFF NELSON                              CLIFFORD BULLER                          CLIFFORD ENTITIES, LLC
10201 S. MAIN STREET                      410 BELL AVE 3                           C/O GOODALE & BARBIERI COMPANY
HOUSTON, TX 77025                         SACRAMENTO, CA 95838                     818 W. RIVERSIDE AVE, SUITE 300
                                                                                   SPOKANE, WA 99201




CLIFFORD FRANKS                           CLIFFORD GORDON                          CLIFFORD LEE
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




CLIFFORD PULLOM                           CLIFFORD R HITT                          CLIFFORD WILLIAMS
10201 S. MAIN STREET                      1013 MANCHERSTER WAY                     10201 S. MAIN STREET
HOUSTON, TX 77025                         ROSWELL, GA 30075                        HOUSTON, TX 77025
CLIFTON AUDAIN           Case 18-12241-CSS
                                        CLIFTONDoc 26
                                               BOYKIN         Filed 10/05/18     PageCLIFTON
                                                                                      401 ofROBERTSON
                                                                                             1739
10201 S. MAIN STREET                       10201 S. MAIN STREET                      511 CARRIAGE WALK CT
HOUSTON, TX 77025                          HOUSTON, TX 77025                         STONE MOUNTAIN, GA 30087-5925




CLIFTON TOWNE CENTER LLC                   CLIFTON TOWNE CENTER LLC                  CLINGEN CALLOW & MCLEAN, LLC
C/O GABRELLAIN ASSOCIATES                  C/O GABRELLIAN ASSOCIATES                 ATTN: PHILLIP J SALERNO II
95 NORTH STATE RT 17                       95 NORTH STATE ROUTE 17                   2300 CABOT DRIVE, SUITE 500
PARAMUS, NJ 07652                          PARAMUS, NJ 07652                         LISLE, IL 60532




CLINT CLARK                                CLINT EVANS                               CLINT PITTMAN
10201 S. MAIN STREET                       10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                         HOUSTON, TX 77025




CLINT RINESMITH                            CLINT VICKERY                             CLINTHQUE THORNTON
10201 S. MAIN STREET                       10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                         HOUSTON, TX 77025




CLINTON BULLOCK                            CLINTON CITY CORP                         CLINTON CITY CORP
10201 S. MAIN STREET                       ATTN: PROPERTY TAX DEPT.                  PUBLIC WORKS DEPT - WATER
HOUSTON, TX 77025                          2267 NORTH 1500 WEST                      1711 W 1740 NORTH
                                           CLINTON, UT 84015                         CLINTON, UT 84015




CLINTON CITY CORP                          CLINTON COBB                              CLINTON HILL EQUITIES LLC
SEWER DEPT                                 1519 2ND ST                               C/O TIME EQUITIES INC
2267 N 1500 W                              LEAGUE CITY, TX 77573                     55 FIFTH AVENUE 15TH FLOOR
CLINTON CITY, UT 84015                                                               NEW YORK, NY 10003




CLINTON INGRAM                             CLINTON KEETON                            CLINTON KRYSA
10201 S. MAIN STREET                       10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                         HOUSTON, TX 77025




CLINTON L DAVIDSON                         CLINTON PINES LLC                         CLINTON PINES, LLC
80 ZIRCON DR                               SOMONSET PROPERTY MGMT                    1178 W. LEGACY CROSSING BLVD., SUITE 100
RENO, NV 89521                             1178 W LEGACY CROSSING BLVD STE 100       ATTN: SPENCER WRIGHT
                                           CENTERVILLE, UT 84014                     CENTERVILLE, UT 84014




CLINTON PINES, LLC                         CLINTON RHODES                            CLINTON SMITH
ATTN: SPENCER WRIGHT                       10201 S. MAIN STREET                      10201 S. MAIN STREET
1178 W. LEGACY CROSSING BLVD., SUITE 100   HOUSTON, TX 77025                         HOUSTON, TX 77025
CENTERVILLE, UT 84014




CLINTON STREET CROSSING                    CLINTON WELDING SUPPLY                    CLISE AGENCY INC
1428 ALBON RD                              40 JERICHO TURNPIKE                       WASHINGTON SECURITIES CO
HOLLAND, OH 43528                          JERICHO, NY 11753                         1700 SEVENTH AVE STE 1800
                                                                                     SEATTLE, WA 98101
CLIVE TAYLOR            Case 18-12241-CSS    Doc 26
                                       CLOCKTOWER      FiledOUTPARCEL
                                                  LAGRANGE   10/05/18LLC PageCLORE
                                                                              402 ENTERPRISES
                                                                                   of 1739
10201 S. MAIN STREET                    2970 PEACHTREE RD STE 500            19 W PIKE ST
HOUSTON, TX 77025                       ATLANTA, GA 30305                    HOUSTON, PA 15342




CLORE PRINTING                          CLOSED CIRCUIT SPECIALISTS INC       CLOTHESLINE CLEANERS
19 W PIKE ST                            9538 HILLSIDE DRIVE                  244 S ORCHARD
HOUSTON, PA 15342                       CHAMPLIN, MN 55316                   BOISE, ID 83705




CLOVER INDUSTRIAL LLC                   CLOVER PROPERTY MANAGEMENT           CLOVER RILEY
PO BOX 1205                             P.O. BOX 1260                        10201 S. MAIN STREET
HOLMES BEACH, FL 34218-1205             ATTN: SUZANNE MURPHY                 HOUSTON, TX 77025
                                        SUMMERLAND, CA 93067




CLOVERLEAF GROUP                        CLOVERLEAF GROUP                     CLOVIS I LLC
ATTN: RUTH A. MOSCHEL                   JOY PARKER                           PO BOX 3329
666 DUNDEE ROAD, SUITE 901              666 DUNDEE RD., SUITE 901            SEAL BEACH, CA 90740
NORTHBROOK, IL 60062                    NORTHBROOK, IL 60062-2735




CLOVIS I, LLC                           CLOVIS-HERNDON CENTER II LLC         CLOVIS-HERNDON CENTER II, LLC
C/O PROPERTY MANAGEMENT ADVISORS        7088 NORTH FIRST ST.                 C/O PAYNTER REALTY INVESTMENTS, INC.
1234-B EAST 17TH STREET                 FRESNO, CA 93720                     17671 IRVINE BOULEVARD, SUITE 204
ATTN: LOIS RODRIGUEZ                                                         TUSTIN, CA 92780
SANTA ANA, CA 92701



CLOWNS UNLIMITED                        CLPF MARKETPLACE LLC                 CLPF MARKETPLACE LLC
PO BOX 6177                             230 PARK AVE                         P.O. BOX 32038
KENT, WA 98064                          12TH FL                              NEW YORK, NY 10087-9468
                                        NEW YORK, NY 10169




CLPF-MARKETPLACE LLC                    CLPF-MARKETPLACE, LLC                CLP-SPF ROOKWOOD COMMONS LLC
230 PARK AVE                            C/O NEW ENGLAND DEVELOPMENT          P.O. BOX 373051
12TH FL                                 75 PARK PLAZA, THIRD FLOOR           CLEVELAND, OH 44193
NEW YORK, NY 10169                      BOSTON, MA 02116




CLS BACKGROUND INVESTIGATIONS           CLS ENTERPRISES OF LOCKPORT INC      CLUB CENTRE LLC
13010 W 159TH ST 1S                     15012 W LONG MEADOW DR.              678 REISERSTOWN ROAD
HOMER GLEN, IL 60491                    LOCKPORT, IL 60441                   BALTIMORE, MD 21208




CLUBOURN CENTER LLC                     CLYBOURN CENTER, LLC                 CLYBOURN COMMONS
LOCKBOX 2257                            1229 N. BRANCH, SUITE 206            C/O REGENCY CENTERS LP
PO BOX 782257                           CHICAGO, IL 60642                    1568 SOLUTIONS CENTER
PHILADELPHIA, PA 19178-2257                                                  CHICAGO, IL 60677-1005




CLYDE ALLEN II                          CLYDE HENRY                          CLYDE MAGNO
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025
CLYDE ROBERSON           Case 18-12241-CSS     Doc 26
                                        CLYDE SIMMONS      Filed 10/05/18   PageCLYDE
                                                                                 403 WILLIAMS
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    250 PHARR RD.
HOUSTON, TX 77025                       HOUSTON, TX 77025                       ATLANTA, GA 30305




CM SERVICE INC                          CMA REALTY LLC                          CMA REALTY, LLC
981 BING ST                             AMERICAN PROP. GROUP OF SARASOTA INC    C/O AMERICAN PROPERTY GROUP
SAN CARLOS, CA 94070                    7750 S TAMIAMI TRAIL                    7750 S. TAMIAMI TRAIL
                                        SARASOTA, FL 34231                      SARASOTA, FL 34231




CMAC CAPITAL GROUP                      CMC ACQUISITION CORP                    CMC ACQUISITION CORP
1010 MUSTANG DR                         DBA CAPITOL MARKETING CONCEPTS          DBA CAPITOL MARKETING CONCEPTS
FRIENDSWOOD, TX 77546                   696 1ST AVENUE N STE 400                951 HORNET DR
                                        SAINT PETERSBURG, FL 33701-3610         HAZELWOOD, MO 63042




CMC REAL ESTATE PROGRAM(L6)             CMC REAL ESTATE PROGRAM(L6)             CMC REAL ESTATE PROGRAM(L6)
10925 REED HARTMAN HWY                  PO BOX 3125                             PO BOX 713928
CINCINNATI, OH 45242                    ANN ARBOR, MI 48106                     CINCINNATI, OH 45271




CMC-TV                                  CMG - AJC                               CMG PB
10227 INTERNATIONAL BLVD.               PO BOX 645433                           PO BOX 645098
OAKLAND, CA 94603                       CINCINNATI, OH 45264-5433               CINCINNATI, OH 45264-5098




CMG-AUSTIN                              CMG-OHIO                                CMH SERVICES
PO BOX 645255                           PO BOX 645274                           929 BERRY SHOALS RD
CINCINNATI, OH 45264-5255               CINCINNATI, OH 45264-5274               DUNCAN, SC 29334




CMH SERVICES                            CMI                                     CMM HOLDINGS, LLC
PO BOX 6                                COLONIAL MILLS INC                      C/O HANVEY PROPERTY MANAGEMENT
COLUMBIA, SC 29202                      560 MINERAL SPRING AVE                  217 CEDAR STREET, PMB 159
                                        PAWTUCKET, RI 02862-0246                SANDPOINT, ID 83864




CMP KC CORPORATION                      CMS BRISTOL PARTNERSHIP LLC             CMS COMMUNICATIONS INC
CUMULUS KANSAS CITY                     10407 LOVELL CENTER DR                  14521 OLD KATY RD SUITE 234
3671 MOMENTUM PLACE                     KNOXVILLE, TN 37922                     HOUSTON, TX 77079
CHICAGO, IL 60689-5336




CMS SOLUTIONS                           CMT APPLETON LLC                        CMT ASHTABULA LLC
PO BOX 790372                           ATTN: DOUG COMPTON                      3805 EDWARDS RD STE 410
SAINT LOUIS, MO 63179                   3805 EDWARDS RD STE 410                 CINCINNATI, OH 45209
                                        CINCINNATI, OH 45209




CMT ASHWAUBENON LLC                     CMT COLUMBUS LLC                        CMT COUNTRYSIDE LLC
DOUG COMPTON                            ATTN: CHARLES TOWNSEND                  3805 EDWARDS RD STE 410
3805 EDWARDS RD STE 410                 3805 EDWARDS RD STE 410                 CINCINNATI, OH 45209
CINCINNATI, OH 45209                    CINCINNATI, OH 45209
CMT ELYRIA LLC         Case    18-12241-CSS     Doc 26LLCFiled 10/05/18
                                         CMT EVANSVILLE                   PageCMT
                                                                               404  of 1739
                                                                                  FAIRVIEW LLC
3805 EDWARDS RD STE 410                  ATTN: DOUGLAS COMPTON                ATTN: DOUGLAS COMPTON
CINCINNATI, OH 45209                     3805 EDWADS RD STE 410               3805 EDWARDS RD STE 410
                                         CINCINNATI, OH 45209                 CINCINNATI, OH 45209




CMT FLORENCE LLC                         CMT GOSHEN LLC                       CMT GRANDVIEW LLC
3825 EDWARDS RD STE 630                  ATTN: DOUGLAS COMPTON                3805 EDWARDS RD STE 410
CINCINNATI, OH 45209                     3805 EDWARDS RD STE 410              CINCINNATI, OH 45209
                                         CINCINNATI, OH 45209




CMT GRANDVIEW LLC                        CMT KENTWOOD LLC                     CMT LORAIN LLC
3825 EDWARDS RD STE 630                  DOUG COMPTON                         3825 EDWARDS RD STE 630
CINCINNATI, OH 45209                     3805 EDWARDS RK STE 410              CINCINNATI, OH 45209
                                         CINCINNATI, OH 45209




CMT MIDDLETOWN LLC                       CMT MIDDLETOWN LLC                   CMT MISHAWAKA LLC
3825 EDWARDS RD STE 630                  ATTN: JON BYBEE                      ATTN: DOUG COMPTON
CINCINNATI, OH 45209                     3805 EDWARDS RD STE 410              3805 EDWARDS RD STE 410
                                         CINCINNATI, OH 45209                 CINCINNATI, OH 45209




CMT MUNCIE LLC                           CMT PARKERSBURG LLC                  CMT SCHERERVILLE LLC
3805 EDWARDS RD STE 410                  3805 EDWARDS RD STE 410              ATTN: DOUGLAS COMPTON
CINCINNATI, OH 45209                     CINCINNATI, OH 45209                 3805 EDWARDS RD STE 410
                                                                              CINCINNATI, OH 45209




CMT SOUTH BEND LLC                       CMT SPEEDWAY LLC                     CMT SPEEDWAY, LLC
3805 EDWARDS RD STE 410                  3805 EDWARDS RD STE 410              C/O RUBENSTEIN REAL ESTATE CO., LC
CINCINNATI, OH 45209                     OVERLAND PARK, KS 66202              6310 LAMAR, SUITE 220
                                                                              OVERLAND PARK, KS 66202




CMT SUNBURY LLC                          CMT SUNBURY LLC                      CMT TERRE HAUTE LLC
3825 EDWARDS ROAD, SUITE 630             ATTN: DOUG COMPTON                   3825 EDWARDS RD STE 630
ATTN: DOUG COMPTON                       3825 EDWARDS ROAD, SUITE 630         CINCINNATI, OH 45209
CINCINNATI, OH 45209                     CINCINNATI, OH 45209




CMT TERRE HAUTE LLC                      CMT TIC                              CMT TROY LLC
ATTN: JON BYBEE                          C/O NICKLIES DEVELOPMENT             3825 EDWARDS RD STE 630
3805 EDWARDS RD STE 410                  6060 DUTCHMANS LANE, SUITE 110       CINCINNATI, OH 45209
CINCINNATI, OH 45209                     LOUISVILLE, KY 40205




CMT WEST CHESTER LLC                     CMT WOODBURY LLC                     CMY HOFFMAN ESTATES LLC
3805 EDWARDS RD STE 410                  ATTN: CHARLES TOWNSEND               3805 EDWARDS RD STE 410
CINCINNATI, OH 45209                     3805 EDWARDS RD STE 410              CINCINNATI, OH 45209
                                         CINCINNATI, OH 45209




CNL COMMERCIAL REAL ESTATE               CNPA ADVERTISING SERVICES            CNTRL RIM HOLDINGS LLC DBA CNTRL RIM
PO BOX 6230                              2000 O STREET STE 120                45 ANSLEY DR
ORLANDO, FL 32802-6230                   SACRAMENTO, CA 95811-5299            NEWNAN, GA 30263
                       Case
CNTRL RIM HOLDINGS LLC DBA   18-12241-CSS
                           CNTRL RIM          Doc 26CAPITAL
                                       CO INVESTMENT   Filed  10/05/18
                                                            PARTNERS LP   PageCOACHELLA
                                                                               405 of 1739
                                                                                        VALLEY WATER DIST
PO BOX 10184                                                                  51501 TYLER ST
UNIONDALE, NY 11555                                                           COACHELLA, CA 92236




COACHELLA VALLEY WATER DISTRICT        COANN KURFMAN                          COAST REAL ESTATE SERVICES
P.O. BOX 5000                          10201 S. MAIN STREET                   ATTN: TAMRA HARBO
COACHELLA, CA 92236-5000               HOUSTON, TX 77025                      2829 RUCKER AVENUE, SUITE 100
                                                                              EVERETT, WA 98201




COAST SIGN                             COAST SPAS MANUFACTURING INC           COASTAL COURIER SERVICES LLC
1500 WEST EMBASSY ST                   6315-202 STREET                        218 BOURNE BLVD SUITE C
ANAHEIM, CA 92802                      LANGLEY, BC V2Y 1N1                    SAVANNAH, GA 31408
                                       CANADA




COASTAL COURIER SERVICES LLC           COASTAL FIRE PROTECTION COMPANY        COASTAL PUBLICATIONS INC
PO BOX 418                             3728 COOK BLVD                         DBA THE SAG HARBOR EXPRESS
POOLER, GA 31322                       CHESAPEAKE, VA 23323-1604              22 DIVISION ST
                                                                              SAG HARBOR, NY 11963




COASTAL REAL ESTATE                    COASTER COMPANY OF AMERICA             COASTLINE WINDOW CLEANNING, INC
2829 RUCKER AVENUE                     12928 SANDOVAL ST                      12244 TREELINE AVE STE 7
EVERETT, WA 98201                      SANTA FE SPRINGS, CA 90670             FORT MYERS, FL 33913-8503




COAST-TO-COAST CAREER FAIRS LLC        COAST-TO-COAST CAREER FARIS LLC        COATES & SOWARDS, INC.
8550 WEST DESERT INN STE 102 553       DBA EAST COAST CAREER FAIRS            JASON SOWARDS
LAS VEGAS, NV 89117                    228 PARK AVE SOUTH STE 37945           591 W. HAMILTON AVE., SUITE 100
                                       NEW YORK, NY 10003                     CAMPBELL, CA 95008




COBALT REALTY, LLC                     COBB COUNTY BUSINESS LICENSE           COBB COUNTY FAIR ASSOCIATION INC
11001 HIGHLAND ROAD                    P.O. BOX 649                           NORTH GEORGIA STATE FAIR
BATON ROUGE, LA 70810                  MARIETTA, GA 30061-0649                PO BOX 777
                                                                              KENNESAW, GA 30156




COBB COUNTY MAGISTRATE COURT           COBB COUNTY TAX COMMISSIONER           COBB COUNTY WATER SYSTEM
32 WADDELL ST                          ATTN: PROPERTY TAX DEPT.               660 S COBB DR
MARIETTA, GA 30090                     P.O. BOX 100127                        MARIETTA, GA 30060
                                       MARIETTA, GA 30061-7027




COBB COUNTY WATER SYSTEM               COBB COUNTY                            COBB EMC
PO BOX 580440                          ATTN: PROPERTY TAX DEPT.               1000 EMC PARKWAY
CHARLOTTE, NC 28258-0440               P.O BOX 649                            MARIETTA, GA 30060
                                       MARIETTA, GA 30061-0649




COBB EMC                               COBB ENERGY                            COBB OPPORTUNITY INVESTORS LLC
P.O. BOX 105082                        P.O. BOX 369                           300 GALLERIA PARKWAY 12TH FL
ATLANTA, GA 30348-5082                 MARIETTA, GA 30061-0369                ATLANTA, GA 30339
COBB                  Case      18-12241-CSS    Doc 26
                                          COBBLESTONE PLAZAFiled 10/05/18
                                                            AT BOYNTON LLC & PageCOBBLESTONE
                                                                                  406 of 1739PLAZA AT BOYNTON LLC
ATTN: PROPERTY TAX DEPT.                   SPRINGS EQUITY, LLLP                   & SPRINGS EQUITY, LLLP
736 WHITLOCK AVENUE                        C/O SPRINGS EQUITY, LLLP               270 W. NEW ENGLAND AVENUE
MARIETTA, GA 30064                         270 W. NEW ENGLAND AVENUE              ATTN: CEO
                                           ATTN: CEO                              WINTER PARK, FL 32789
                                           WINTER PARK, FL 32789


COBRIS PROPERTIES LLC                      COBURG STATION LLC                     COBURG STATION LLC
102 BROWNING LANE, BUILDING B              C/O VAUGHN MANAGEMENT LLC              MS 18
CHERRY HILL, NJ 08003                      1290 HOWARD AVENUE, SUITE 309          PO BOX 4300
                                           BURLINGAME, CA 94010                   PORTLAND, OR 97208-4300




COCA-COLA REFRESHMENTS USA INC             COCA-COLA SOUTHWEST BEVERAGES LLC      COCCA DEVELOPMENT LTD
COCA-COLA REFRESHMENTS                     PO BOX 744010                          100 DEBARTOLO PLACE
PO BOX 403390                              ATLANTA, GA 30384-4010                 SUITE 400
ATLANTA, GA 30384-3390                                                            BOARDMAN, OH 44512




COCCA DEVELOPMENT LTD                      COCCA DEVELOPMENT, LTD.                COCCA DEVELOPMENT, LTD.
ACCOUNTING SUPERVISOR                      100 DEBARTOLO PLACE, SUITE 400         KELLY A.COCCA
100 DEBARTOLO PLACE STE 400                KELLY A.COCCA                          100 DEBARTOLO PLACE, SUITE 400
YOUNGSTOWN, OH 44512                       BOARDMAN, OH 44512                     BOARDMAN, OH 44512




COCHISE COUNTY TREASURER                   COCHISE                                COCONINO COUNTY TREASURER
PO BOX 1778                                ATTN: PROPERTY TAX DEPT.               ATTN: PROPERTY TAX DEPT.
BISBEE, AZ 85603-2778                      PO BOX 1778                            110 E CHERRY AVE
                                           BISBEE, AZ 85603-2778                  FLAGSTAFF, AZ 86001-4627




COCONUT CAY SHOPPES LLC                    COCONUT POINT TOWN CENTER, LLC         COCONUT POINT TOWN CENTER, LLC
COCONUT CAY SHOPPES                        225 WEST WASHINGTON ST                 225 WEST WASHINGTON STREET
2924 DAVIE RD STE 202                      INDIANAPOLIS, IN 46204                 INDIANAPOLIS, IN 46204
DAVIE, FL 33314




COCONUT POINT TOWN CENTER, LLC             COCONUT POINT TOWN CENTER, LLC         COCOPLUM ASSOCIATES
C/O M S MGMT ASSOCIATES INC                PO BOX 643913                          8441 COOPER CREEK BLVD.
225 WEST WASHINGTON ST                     PITTSBURGH, PA 15264-3913              UNIVERSITY PARK, FL 34201
INDIANAPOLIS, IN 46204




COCOPLUM ASSOCIATES                        COCOPLUM ASSOCIATES                    CODCOMM INC
C/O BENDERSON PROPERTIES, INC.             P.O. BOX 823201                        WPXC-FM
570 DELAWARE AVENUE                        PHILADELPHIA, PA 19182-3201            PO BOX 470
BUFFALO, NY 14202                                                                 SOUTHBOROUGH, MA 01772




CODDING ENTERPRISES                        CODEY LINDQUIST                        CODIE DENTON
P.O. BOX 3550                              10201 S. MAIN STREET                   10201 S. MAIN STREET
ROHNERT PARK, CA 94928                     HOUSTON, TX 77025                      HOUSTON, TX 77025




CODY BRIDGES                               CODY BRIDGES                           CODY BROOKS
10201 S. MAIN STREET                       10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                      HOUSTON, TX 77025
CODY DANET                Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                         CODY DIEFFENBAUGHER            PageCODY
                                                                             407DUGGER
                                                                                 of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




CODY FLYNN                               CODY HARRISON                      CODY JAMES
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




CODY JAMES                               CODY JOHNSON                       CODY JONES
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




CODY KELLY                               CODY KEMP                          CODY LOUCKS
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




CODY MACKENZIE                           CODY MACKLIN                       CODY MASON
367 SE CLEVELAND AVE 12                  62 N AMERICAN ST                   10201 S. MAIN STREET
BEND, OR 97702                           WOODBURRY, NJ 08081                HOUSTON, TX 77025




CODY MASTERSON                           CODY MAYS                          CODY MCGOWAN
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




CODY MILLER                              CODY MITCHELL                      CODY NASH
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




CODY OLDFIELD                            CODY PAGAN                         CODY RINKE
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




CODY RUSSELL                             CODY STAFFING INC                  CODY WILLIS
10201 S. MAIN STREET                     3100 MAIN ST                       10201 S. MAIN STREET
HOUSTON, TX 77025                        VANCOUVER, WA 98663                HOUSTON, TX 77025




CODY WIRE                                CODY WOJCIK                        COE GUTIERREZ
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025
COEN REALTY TRUST       Case 18-12241-CSS    Doc 26
                                       COEN REALTY TRUSTFiled 10/05/18       PageCOEUR
                                                                                  408 of 1739PRESS
                                                                                       DALENE
82 SMITH DRIVE                          ATTN: PATRICK COEN                       PO BOX 7000
ATTN: PATRICK COEN                      82 SMITH DRIVE                           COEUR D ALENE, ID 83816
WESTWOOD, MA 02090                      WESTWOOD, MA 02090




COFE ZM DADELAND LLC                    COFE ZM DADELAND LLC                     COFE ZM DADELAND LLC
1500 SAN REMO AVE STE 145               7700 N. KENDALL DRIVE, SUITE 705         PO BOX 865087
CORAL GABLES, FL 33156                  MIAMI, FL 33156                          ORLANDO, FL 32886




COFFEE COUNTY TN CLERK                  COFFEE                                   COGENCY GLOBAL INC
1327 MCARTHUR ST STE 1                  ATTN: PROPERTY TAX DEPT.                 10 E 40TH ST 10TH FL
MANCHESTER, TN 37355                    1327 MCARTHUR ST STE 1                   NEW YORK, NY 10016
                                        MANCHESTER, TN 37355




COGENT COMMUNICATIONS INC               COHAB REALTY LLC                         COHEN AND PADDA LLP
PO BOX 791087                           MAIL TELLER-FIRST NIAGARA BANK N.A       4240 W FLAMINGO RD STE 220
BALTIMORE, MD 21279-1087                PO BOX 195                               LAS VEGAS, NV 89103
                                        HARLEYSVILLE, PA 19438




COHEN AND PADDA LLP                     COHEN COMMERCIAL MANAGEMENT, LLC         COHEN, KIMBERLY
711 SOUTH 4TH STREET                    P.O. BOX 14127                           6601 STALFORD RD
LAS VEGAS, NV 89101                     NORTH PALM BEACH, FL 33408               COUNTRYSIDE, IL 60525-7507




COLBERT OSEI-OWUSU                      COLBY FRANKLIN                           COLBY OTTEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




COLBY PADDIO                            COLCHESTER PLAZA ASSOCIATES, LLC         COLCHESTER PLAZA ASSOCIATES, LLC
10201 S. MAIN STREET                    3663 US HWY 9, SUITE 202                 3663 US HWY 9, SUITE 202
HOUSTON, TX 77025                       OLD BRIDGE, NJ 08857                     OLD BRIDGE, NJ 08857-3517




COLDWELL BANK COMM.                     COLDWELL BANKER COMMERCIAL LENHART       COLDWELL BANKER COMMERCIAL
(THOMPSON REALTY GROUP)                 PO BOX 1111                              CHERYL PALMER, PROPERTY MANAGEMENT
620 NORTH 48TH STREET, SUITE 101        LONGVIEW, TX 75606                       ASST
LINCOLN, NE 68504                                                                4918 S. LOOP 289
                                                                                 LUBBOCK, TX 79414



COLE CO COLLECTOR                       COLE CREDIT PROPERTY TRUST IV INC        COLE CREDIT PROPERTY TRUST IV INC
311 E. HIGH ST.                         2325 E CAMELBACK RD, 10TH FL             ARCP MT AUSTELL GA LLC/ID:PT4761
JEFFERSON CITY, MO 65101                PHOENIX, AZ 85016                        PO BOX 840990
                                                                                 DALLAS, TX 75284-0990




COLE CREDIT PROPERTY TRUST IV INC       COLE CREDIT PROPERTY TRUST IV INC        COLE CREDIT PROPERTY TRUST IV INC
COLE MT MOBILE AL LLC                   COLE MTWAITE PARK MN LLC                 DBA ARCP MF NEW BERN NC LLC
2325 E CAMELBACK RD STE 1100            2325 E CAMELBACK RD STE 1100             2325 E CAMELBACK RD STE110
PHOENIX, AZ 85016                       PHOENIX, AZ 85016                        PHOENIX, AZ 85016
                       CaseIV18-12241-CSS
COLE CREDIT PROPERTY TRUST   INC              Doc PROPERTY
                                       COLE CREDIT  26 Filed   10/05/18
                                                             TRUST  IV INC     PageCOLE
                                                                                    409CREDIT
                                                                                        of 1739
                                                                                              PROPERTY TRUST V INC
DBA ARCP MT AUSTELL GA LLC             VERIET MT ASTABULA OH LLC/ID:PT4A68         DBA ARCP MF DRAPER UT LLC
2325 E CAMELBACK RD STE 1100           PO BOX 841123                               2325 E CAMELBACK RD STE 1100
PHOENIX, AZ 85016                      DALLAS, TX 75284                            PHOENIX, AZ 85016




COLE CREDIT PROPERTY TRUST V INC        COLE CREDIT PROPERTY TRUST V INC           COLE CREDIT PROPERTY TRUST V INC
DBA ARCP MF LAKE CITY FL LLC            DBA ARCP MF RALEIGH NC LLC                 DBA ARCT MT LAWTON OK LLC
2325 E CAMELBACK RD STE 1100            2325 E CAMELBACK RD STE 1100               2325 E CAMELBACK RD STE 1100
PHOENIX, AZ 85016                       PHOENIX, AZ 85016                          PHOENIX, AZ 85016




COLE FAISON MT BETHLEHEM GA LLC         COLE FAISON MT BETHLEHEM GA LLC            COLE FARMER
121 W TRADE STREET STE 2700             CO COLE REAL ESTATE INVESTMENTS            10201 S. MAIN STREET
CHARLOTTE, NC 28202-5399                2325 E CAMELBACK RD STE 1100               HOUSTON, TX 77025
                                        PHOENIX, AZ 85016




COLE MF BRUNSWICK GA LLC                COLE MF BRUNSWICK GA LLC                   COLE MF BRUNSWICK GA, LLC
COLE OPERATING PARTNERSHIP IV LP        ID PT4250                                  C/O VEREIT, INC.
2325 E CAMELBACK RD STE 1100            PO BOX 840990                              2325 EAST CAMELBACK ROAD, SUITE 1100
PHOENIX, AZ 85016                       DALLAS, TX 75284-0990                      ATTN: RUTH CAVALLUCCI
                                                                                   PHOENIX, AZ 85016



COLE MF DANVILLE VA LLC                 COLE MF DANVILLE, LLC                      COLE MF FAIRVIEW HEIGHTS IL LLC
ID PT4517                               C/O VEREIT, INC.                           ID: PT3A01
PO BOX 840990                           2325 EAST CAMELBACK ROAD, SUITE 1100       PO BOX 561525
DALLAS, TX 75284-0990                   PHOENIX, AZ 85016                          DENVER, CO 80256-1525




COLE MF FAIRVIEW HEIGHTS IL, LLC        COLE MF GADSDEN AL, LLC                    COLE MF GARDEN CITY ID LLC
C/O VEREIT, INC.                        C/O VEREIT, INC.                           ID AC0120
2325 EAST CAMELBACK ROAD, SUITE 1100    2325 EAST CAMELBACK ROAD, SUITE 1100       PO BOX 847390
ATTN: RUTH CAVALLUCCI                   PHOENIX, AZ 85016                          DALLAS, TX 75284-7373
PHOENIX, AZ 85016



COLE MF GARDEN CITY, LLC                COLE MF GOSHEN IN LLC                      COLE MF GOSHEN IN LLC
C/O VEREIT, INC.                        C/O VEREIT, INC.                           ID AC0126
2325 EAST CAMELBACK ROAD, SUITE 1100    2325 EAST CAMELBACK ROAD, SUITE 1100       PO BOX 847390
PHOENIX, AZ 85016                       PHOENIX, AZ 85016                          DALLAS, TX 75284-7390




COLE MF JONESBORO AR LLC                COLE MF JONESBORO AR, LLC                  COLE MF MELBOURNE FL LLC
ID PT4030                               C/O VEREIT, INC.                           ID: PT3A34
PO BOX 840990                           2325 EAST CAMELBACK ROAD, SUITE 1100       PO BOX 732931
DALLAS, TX 75284-0990                   ATTN: RUTH CAVALLUCCI                      DALLAS, TX 75373-2931
                                        PHOENIX, AZ 85016



COLE MF MELBOURNE FL. LLC               COLE MF NAMPA ID, LLC                      COLE MF NAPA ID LLC
C/O VEREIT, INC.                        C/O VEREIT, INC.                           ID PT4511
2325 EAST CAMELBACK ROAD, SUITE 1100    2325 EAST CAMELBACK ROAD, SUITE 1100       PO BOX 840990
ATTN: RUTH CAVALLUCCI                   PHOENIX, AZ 85016                          DALLAS, TX 75284-0990
PHOENIX, AZ 85016



COLE MF PHOENIX AZ LLC                  COLE MF PHOENIX AZ, LLC                    COLE MF PINEVILLE NC LLC
ID C10037 DEPT 880046                   C/O VEREIT, INC.                           ID PT4045
PO BOX 29650                            2325 EAST CAMELBACK ROAD, SUITE 1100       PO BOX 840990
PHOENIX, AZ 85038-9650                  PHOENIX, AZ 85016                          DALLAS, TX 75284-0990
COLE MF PINEVILLE NC, LLCCase 18-12241-CSS      Doc 26 ALFiled
                                        COLE MFGADSDEN       LLC    10/05/18    PageCOLE
                                                                                     410MOSAIC
                                                                                         of 1739
                                                                                               JV S ELGIN IL LLC
C/O VEREIT, INC.                        ID C10020 DEPT 880046                        ID: JV3MOS
2325 EAST CAMELBACK ROAD, SUITE 1100    PO BOX 29650                                 25667 NETWORK PLACE
PHOENIX, AZ 85016                       PHOENIX, AZ 85038-9650                       CHICAGO, IL 60673




COLE MT AURORA (BRIARWOOD) CO LLC        COLE MT BEAVERCREEK OH LLC                  COLE MT BEAVERCREEK OH LLC
C/O COLE RE                              C/O VEREIT, INC.                            ID:PT4316
2325 E CAMELBACK RD STE 1100             2325 EAST CAMELBACK ROAD, SUITE 1100        PO BOX 732895
PHOENIX, AZ 85016                        PHOENIX, AZ 75373                           DALLAS, TX 75373-2895




COLE MT BURLESON TX LLC                  COLE MT CANTON MARKETPLACE LLC              COLE MT CANTON MARKETPLACE, LLC
PROPERTY ACCT                            C/O COLE R E INVESTMENTS                    ATTN: CINDY PHILLIPS
2325 E CAMELBACK RD STE 1100             PO BOX 732179                               4555 MANSELL ROAD, SUITE 300
PHOENIX, AZ 85016                        DALLAS, TX 75373-2179                       ALPHARETTA, GA 30022




COLE MT CANTON MARKETPLACE, LLC          COLE MT CAPE CORAL FL LLC                   COLE MT CAPE CORAL FL, LLC
C/O VEREIT, INC.                         2325 E CAMELBACK RD STE 1100                DEPARTMENT 7100
2325 EAST CAMELBACK ROAD, SUITE 1100     PHOENIX, AZ 85016                           CAROLE STREAM, IL 60122-7100
ATTN: ASSET MANAGER
PHOENIX, AZ 85016



COLE MT FAIRVIEW HEIGHTS IL LLC          COLE MT FLAGSTAFF AZ LLC                    COLE MT FLAGSTAFF AZ, LLC
C/O COLE R E INVESTMENTS                 DEPT 880075/ID:PT3101                       C/O VEREIT, INC.
ATTN PROPERTY MNGMT                      PO BOX 29650                                2325 EAST CAMELBACK ROAD, SUITE 1100
2325 E CAMELBACK RD STE 1100             PHOENIX, AZ 85038-9650                      ATTN: ASSET MANAGER
PHOENIX, AZ 85016                                                                    PHOENIX, AZ 85016



COLE MT FLOWERY BRANCH GA LLC            COLE MT FOLSOM CA LP                        COLE MT FOLSOM CA, LP
C/O COLE RE INVEST.                      ID: PT3440                                  C/O VEREIT, INC.
2325 E CAMELBACK RD STE 1100             PO BOX 203231                               2325 EAST CAMELBACK ROAD, SUITE 1100
PHOENIX, AZ 85016                        DALLAS, TX 75320-3231                       ATTN: RA ANNE LLANG
                                                                                     PHOENIX, AZ 85016



COLE MT FORT MYERS FL LLC                COLE MT HARKER HEIGHTS TX LLC               COLE MT HARKER HEIGHTS TX LLC
C/O COLE R E INV ATTN ASSET MGR          2325 E CAMELBACK RD, STE 1100               C/O VEREIT, INC.
2325 E CAMELBACK RD STE 1100             PHOENIX, AZ 85016                           2325 EAST CAMELBACK ROAD, SUITE 1100
PHOENIX, AZ 85016                                                                    PHOENIX, AZ 85016




COLE MT HARKER HEIGHTS TX LLC            COLE MT HUMBLE TX LLC                       COLE MT MOBILE AL LLC
PO BOX 732383                            C/O COLE REAL ESTATE INVST                  ID: PT4A79
DALLAS, TX 75373-2383                    PO BOX 975660                               CCPT4 - B OF A LOCKBOX 2PO BOX 841123
                                         DALLAS, TX 75397-5660                       DALLAS, TX 75284-1123




COLE MT MOBILE AL, LLC                   COLE MT NPOINT CAPE CORAL FL LLC            COLE MT OSWEGO IL, LLC
C/O VEREIT, INC.                         C/O COLE REAL ESTATE INVESTMENTS            ATTN: PROPERTY MANAGEMENT
2325 EAST CAMELBACK ROAD, SUITE 1100     2325 E CAMELBACK RD STE 1100                1415 WEST 22ND STREET
PHOENIX, AZ 85016                        PHOENIX, AZ 85016                           TOWER FLOOR, SUITE 1206
                                                                                     OAK BROOK, IL 60523



COLE MT OSWEGO IL, LLC                   COLE MT PRESCOTT AZ LLC                     COLE MT RIVERDALE UT, LLC
C/O COLE REAL ESTATE INVESTMENTS         ATTN: PROPERTY ACCT                         C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100     2325 CAMELBACK RD STE 1100                  2325 EAST CAMELBACK ROAD, SUITE 1100
ATTN: ASSET MANAGER                      PHOENIX, AZ 85016                           ATTN: ASSET MANAGER
PHOENIX, AZ 85016                                                                    PHOENIX, AZ 85016
COLE MT ROCKY MOUNT NCCase
                       LLC      18-12241-CSS
                                          COLE MTDoc 26MOUNT
                                                  ROCKY   Filed
                                                             NC,10/05/18
                                                                LLC                PageCOLE
                                                                                        411MTofROSWELL
                                                                                                1739 GA LLC
PT4394                                    C/O VEREIT, INC.                             2325 E CAMELBACK RD STE 1100
PO BOX 840990                             2325 EAST CAMELBACK ROAD, SUITE 1100         PHOENIX, AZ 85016
DALLAS, TX 75284-0990                     PHOENIX, AZ 85016




COLE MT S BEND IN LLC                     COLE MT SAN JOSE CA LP                       COLE MT SAN JOSE CA LP
ID: AC0085                                91 CURTNER AVE                               PO BOX 732178
PO BOX 847390                             SAN JOSE, CA 95125                           DALLAS, TX 75373-2178
DALLAS, TX 75284-7390




COLE MT SAN JOSE CA, LP                   COLE MT SAN MARCOS TX, LLC                   COLE MT SOUTH BEND IN LLC
C/O VEREIT, INC.                          C/O VEREIT, INC.                             C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100      2325 EAST CAMELBACK ROAD, SUITE 1100         2325 EAST CAMELBACK ROAD, SUITE 1100
ATTN: ASSET MANAGER                       ATTN: ASSET MANAGER                          ATTN: RUTH CAVALLUCCI
PHOENIX, AZ 85016                         PHOENIX, AZ 85016                            PHOENIX, AZ 85016



COLE MT SPRING HILL FL LLC                COLE MT SUNSET VALLEY TX LLC DBA             COLE MT SUNSET VALLEY TX LLC
C/O COLE RE INVESTMENTS                   COLE REIT III OPERATING PARTNERSHIP LP       DEPARTMENT 7122
2325 E CAMELBACK RD, STE 1100             2325 E CAMELBACK RD STE 1100                 CAROL STREAM, IL 60122-7122
PHOENIX, AZ 85016                         PHOENIX, AZ 85016




COLE MT SUNSET VALLEY TX, LLC             COLE MT VIERA FI LLC                         COLE MT VIERA FL LLC
C/O VEREIT, INC.                          PT4390                                       C/O CIM GROUP, LLC
2325 EAST CAMELBACK ROAD, SUITE 1100      PO BOX 840990                                2325 EAST CAMELBACK ROAD, 10TH FLOOR
ATTN: ASSET MANAGER                       DALLAS, TX 75284-0990                        PHOENIX, AZ 85016
PHOENIX, AZ 85016



COLE MT WAITE PARK MN, LLC                COLE MT WAUWATOSA WI LLC                     COLE MT WESTERN LLC
C/O VEREIT, INC.                          2325 E CAMELBACK RD STE 1100                 DEPT 6115
2325 EAST CAMELBACK ROAD, SUITE 1100      PHOENIX, AZ 85016                            CAROL STREAM, IL 60122
ATTN: SOFIA TOBAR
PHOENIX, AZ 85016



COLE MT WINTER GARDEN LLC                 COLE MT WOODBURY MN LLC                      COLE MT WOODBURY MN LLC
DEPARTMENT 7120                           C/O VEREIT, INC.                             DEPT 880046 ID: C10036
CAROL STREAM, IL 60122-7120               2325 EAST CAMELBACK ROAD, SUITE 1100         PO BOX 29650
                                          ATTN: CFO                                    PHOENIX, AZ 85038-9850
                                          PHOENIX, AZ 85016



COLE MTWAITE PARK MN LLC                  COLE OD ALCOA TN LLC                         COLE OPER PRTN IV LP
ID: PT4A76                                CO COLE REAL ESTATE INVESTMENTS              DBA COLE MF NAPA ID LLC
CCPT4-B OF A LOCKBOX 2                    2325 E CAMELNACK RD STE 1100                 2325 E CAMELBACK RD STE 1100
PO BOX 841123                             PHOENIX, AZ 85016                            PHOENIX, AZ 85016
DALLAS, TX 75284-1123



COLE OPERATING PARTNERSHIP IV LP          COLE OPERATING PARTNERSHIP IV LP             COLE OPERATING PARTNERSHIP IV LP
COLE MT RIVERDALE UT LLC/ID:PT4494        DBA ARCP MF AUGUSTA ME LLC                   DBA ARCP MF CINCINNATI OH LLC
PO BOX 840990                             2325 E CAMELBACK RD STE 1100                 2325 E CAMELBACK RD STE 1100
DALLAS, TX 75284-0990                     PHOENIX, AZ 85016                            PHOENIX, AZ 85016




COLE OPERATING PARTNERSHIP IV LP          COLE OPERATING PARTNERSHIP IV LP             COLE OPERATING PARTNERSHIP IV LP
DBA ARCP MF HUBER HEIGHTS OH LLC          DBA ARCP MF LAKELAND FL LLC                  DBA ARCP MF PORT CHARLOTTE FL LLC
2325 E CAMELBACK RD STE 1100              2325 E CAMELBACK RD STE 1100                 2325 E CAMELBACK RD STE 1100
PHOENIX, AZ 85016                         PHOENIX, AZ 85016                            PHOENIX, AZ 85016
                       CaseIV18-12241-CSS
COLE OPERATING PARTNERSHIP    LP               Doc 26 PARTNERSHIP
                                       COLE OPERATING    Filed 10/05/18
                                                                    IV LP       PageCOLE
                                                                                     412OPERATING
                                                                                         of 1739 PRTNSHIP IV LP
DBA COLE MF DANVILLE VA LLC            DBA COLE MT ROCKY MOUNT NC LLC               DBA ARCP MT VIENNA WV LLC
2325 E CAMELBACK RD STE 1100           2325 E CAMELBACK RD STE 1100                 2325 E CAMELBACK RD STE 1100
PHOENIX, AZ 85016                      PHOENIX, AZ 85016                            PHOENIX, AZ 85016




COLE RE INCOME STRATEGY OPER            COLE RE INCOME STRATEGY OPER                COLE RE INCOME STRATEGY OPER
PRTNSHIP LP                             PRTNSHIP LP                                 PRTNSHIP LP
DBA ARCP MF FAIRVIEW PARK OH LLC        DBA COLE MFGADSDEN AL LLC                   DBA COLE MT WOODBURY MN LLC
2325 E CAMELBACK RD STE 1100            2325 E CAMELBACK RD STE 1100                2325 E CAMELBACK RD STE 1100
PHOENIX, AZ 85016                       PHOENIX, AZ 85016                           PHOENIX, AZ 85016



COLE REAL ESTATE INCOME STRATEGY        COLE REICHEK PLLC                           COLE REIT III OPER PRTN LP
LOCKBOX DEPT 880046                     2911 TURTLE CREEK BLVD 300                  DBA COLE MT ROSWELL GA LLC
PO BOX 29650                            DALLAS, TX 75219                            2325 E CAMELBACK RD STE 1100
PHOENIX, AZ 85038-9650                                                              PHOENIX, AZ 85016




COLE REIT III OPERATING PARNERSHIP LP   COLE REIT III OPERATING PARNERSHIP LP       COLE REIT III OPERATING PARNERSHIP LP
C/O COLE MT SAN MARCOS TX LLC           DBA ARCP MF FLINT MILLER MI LLC             DBA ARCP MF PAINESVILLE TOWNSHIP OH
DEPT 7450                               2325 E CAMELBACK RD STE 1100                LLC
CAROL STREAM, IL 60122-7450             PHOENIX, AZ 85016                           2325 E CAMELBACK RD STE 1100
                                                                                    PHOENIX, AZ 85016



COLE REIT III OPERATING PARNERSHIP LP   COLE REIT III OPERATING PARNERSHIP LP       COLE REIT III PARTNERSHIP LP
DBA COLE MT BURLESON TX LLC             DBA COLE MT ST LOUIS MO LLC                 DBA COLE MT GILBERT SAN TAN AZ
2325 E CAMELBACK RD STE 1100            2325 EAST CAMELBACK RD STE 1100             2325 E CAMELBACK RD STE 1100
PHOENIX, AZ 85016                       PHOENIX, AZ 85016                           PHOENIX, AZ 85016




COLE REIT III PARTNERSHIP LP            COLE ROAD BOISE LLC                         COLE ROOFING COMPANY INC
DBA COLE MT GILBERT SAN TAN AZ          1411 N 24TH ST                              3915 COOLIDGE AVE
PO BOX 29383                            BOISE, ID 83702-2307                        BALTIMORE, MD 21229
PHOENIX, AZ 85038




COLE SMITH                              COLE                                        COLE/FAISON MT BETHLEHEM GA, LLC
10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.                    ATTN: PROPERTY MANAGEMENT
HOUSTON, TX 77025                       311 E. HIGH ST.                             4555 MANSELL ROAD, SUITE 300
                                        JEFFERSON CITY, MO 65101                    ALPHARETTA, GA 30022




COLE/FAISON MT BETHLEHEM GA, LLC        COLE/FAISON MT BETHLEHEM GA, LLC            COLEEN HANDELSMAN
C/O VEREIT, INC.                        C/O VEREIT, INC.                            6320 STIRRUP RD
2325 EAST CAMELBACK ROAD, SUITE 1100    2325 EAST CAMELBACK ROAD, SUITE 1100        CINCINNATI, OH 45244
ATTN: ASSET MANAGER                     ATTN: ASSET MANAGER, ID: JV3FAI
PHOENIX, AZ 85016                       PHOENIX, AZ 85016



COLEMAN AMERICAN MOVING SERVICES        COLEMAN BEARD                               COLES WINDOW CLEANING
PO BOX 150387                           10201 S. MAIN STREET                        5208 N ELGIN
OGDEN, UT 84415-0387                    HOUSTON, TX 77025                           SPOKANE, WA 99205




COLESVILLE JOINT VENTURE LLP            COLESVILLE JOINT VENTURE LLP                COLESVILLE JOINT VENTURE LLP
4425-B LOWELL ST NW                     C/O HBW GROUP                               C/O HBW GROUP
WASHINGTON, DC 20016                    1055 1ST STREET, SUITE 200                  1055 FIRST ST STE 250
                                        ROCKVILLE, MD 20850                         ROCKVILLE, MD 20850
COLETTE KING           Case 18-12241-CSS     Doc 26
                                      COLEY ELLIS        Filed 10/05/18   PageCOLEY
                                                                               413 YOUNG
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    6922 ROUNDLEAF DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                       JACKSONVILLE, FL 32258




COLGATE PAPER STOCK CO. INC.          COLGIN PROPERTIES LLC                   COLGIN PROPERTIES, LLC
12 INDUSTRIAL DRIVE                   C/O SL NUSBAUM REALTY CO                C/O S.L. NUSBAUM REALTY CO.
NEW BRUNSWICK, NJ 08901               PO BOX 3580                             P.O. BOX 2491
                                      NORFOLK, VA 23514                       NORFOLK, VA 23501




COLIN ANGELE                          COLIN AZZAM                             COLIN CASHMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




COLIN CHANEY                          COLIN GRIMM                             COLIN JOHNSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




COLIN LOWTHER                         COLIN MACKENZIE                         COLIN MCILQUHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




COLIN RILEY                           COLIN SCOTT                             COLIN VUYK
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




COLISEUM CROSSING ASSOCIATES LLC      COLISEUM CROSSING ASSOCIATES LLC.       COLISEUM SQUARE LLC
41 OLD OYSTER POINT RD STE A          C/O ROBERT BROWN ASSOCIATES, INC.       DEPT. 5000
NEWPORT NEWS, VA 23602                P.O. BOX 120410                         PO BOX 304
                                      NEWPORT NEWS, VA 23612-0410             EMERSON, NJ 07630




COLLADO, MARIA                        COLLADO, MARIA                          COLLECTION TECHNOLOGY INC
55-33 MYRTLE AVE. APT 1               C/O BADER & YAKAITIS LLP                PO BOX 2017
RIDGEWOOD, NY 10018-3308              ATTN: JEFFREY BADER                     MONTEREY PARK, CA 91754-2017
                                      1430 BROADWAY, SUITE 1802
                                      NEW YORK, NY 10018



COLLECTOR OF REVENUE                  COLLECTOR OF TAXES-EAST HAVEN           COLLECTOR OF TAXES-WALLINGFORD
41 S CENTRAL AVENUE                   PO BOX 120306                           PO BOX 5003
ST LOUIS, MO 63105                    EAST HAVEN, CT 06512-0306               WALLINGFORD, CT 06492-7503




COLLECTOR OF WETHERSFIELD             COLLEEN BARRETT                         COLLEEN BERRY
PO BOX 150452                         10201 S. MAIN STREET                    4906 N. TOPPING AVE.
HARTFORD, CT 06115-0452               HOUSTON, TX 77025                       KANSAS CITY, MI 64119
COLLEEN DEROCHEY           Case 18-12241-CSS    Doc
                                          COLLEEN    26 Filed 10/05/18
                                                  HANDELSMAN                     PageCOLLEEN
                                                                                      414 ofLELAY-SMALL
                                                                                             1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025




COLLEEN MOORE                             COLLEEN ROBBINS-COOK                       COLLEEN SPALLINO
10201 S. MAIN STREET                      8222 2ND ST                                10201 S. MAIN STREET
HOUSTON, TX 77025                         TERREBONNE, OR 97760                       HOUSTON, TX 77025




COLLEEN SULLIVAN                          COLLEEN TARZIAN                            COLLEGE CENTER, LLC
10201 S. MAIN STREET                      10201 S. MAIN STREET                       P.O. BOX 17529
HOUSTON, TX 77025                         HOUSTON, TX 77025                          FERNANDINA BEACH, FL 32035




COLLEGE GATEWAY LLC                       COLLEGE GATEWAY, LLC                       COLLEGE STATION UTILITIES
CASCADE PACIFIC REAL ESTATE               P.O. BOX 473                               ELECTRIC SERVICES
2005 MILDRED ST W                         REDMOND, WA 98073                          1101 TEXAS AVE
FIRCREST, WA 98466                                                                   COLLEGE STATION, TX 77840




COLLEGE STATION UTILITIES                 COLLEGE STATION UTILITIES                  COLLEGE STATION UTILITIES
P.O. BOX 10230                            TRASH & RECYCLING                          WATER SERVICES DEPT
COLLEGE STATION, TX 77842-0230            1101 TEXAS AVE                             1101 TEXAS AVE
                                          COLLEGE STATION, TX 77840                  COLLEGE STATION, TX 77840




COLLETT & ASSOCIATES                      COLLETT & ASSOCIATES, LLC                  COLLETT CAPITAL
SID WELCH                                 KIMBERLY K. FOX, LEASE ADMIN MANAGER       BOBBI JO CONIGLIARO
1111 METROPOLITAN AVENUE, SUITE 700       1111 METROPOLITAN AVENUE, SUITE 700        1111 METROPOLITAN AVENUE, SUITE 700
CHARLOTTE, NC 28204                       CHARLOTTE, NC 28204                        CHARLOTTE, NC 28204




COLLETT, STEPHEN                          COLLETTE & ASSOCIATES                      COLLETTE ALTHOUSE
603 RIVERS EDGE ROAD                      JEFF LOHMANN                               10201 S. MAIN STREET
ASHEVILLE, NC 28805-8780                  1111 METROPOLITAN AVENUE. SUITE 700        HOUSTON, TX 77025
                                          CHARLOTTE, NC 28204-3424




COLLIER COUNTY TAX COLLECTOR              COLLIER COUNTY TAX COLLECTOR               COLLIER COUNTY UTILITIES
3291 E. TAMIAMI TR.                       ATTN: PROPERTY TAX DEPT.                   4420 MERCANTILE AVE
NAPLES, FL 34112-5758                     2800 N HORSESHOE DR                        NAPLES, FL 34104
                                          NAPLES, FL 34104




COLLIER COUNTY UTILITIES                  COLLIER GENERAL SERVICES INC               COLLIER TOWN SHOPPES LLC
P.O. BOX 11809                            3433 FOWLER ST                             5812 DARLINGTON RD
NAPLES, FL 34101-1809                     FORT MYERS, FL 33901                       PITTSBURGH, PA 15217




COLLIER TOWNSHIP                          COLLIERS ARKANSAS INC                      COLLIERS INTERNATIONAL HLDGS (USA) INC
ATTN: BUILDING & CODES DEPT               DBA COLLIERS INTERNATIONAL                 SHELLY SINGH
2418 HILLTOP RD STE 100                   PO BOX 3546                                666 FIFTH AVENUE, 4TH FLOOR
PRESTO, PA 15142                          LITTLE ROCK, AR 72203                      NEW YORK, NY 10103
COLLIERS INTERNATIONAL Case  18-12241-CSS
                       NEW JERSEY      COLLIERSDoc  26 Filed
                                                INTERNATIONAL       10/05/18    PageCOLLIERS
                                                                                     415 of INTERNATIONAL
                                                                                             1739
MORRIS CORPORATE CENTER 1              1 ALLED DR                                   1 ALLIED DRIVE, SUITE 1500
300 INTERPACE PARKWAY BLDG. C, 3RD     STE 1500                                     P.O. BOX 3546
FLOOR                                  LITTLE ROCK, AR 72202                        LITTLE ROCK, AR 72203-3546
RICHARD MADISON
PARSIPPANY, NJ 07054


COLLIERS INTERNATIONAL                 COLLIERS INTERNATIONAL                       COLLIERS INTERNATIONAL
400 W. CAPITOL AVE, SUITE 1200         4204 S. PINNACLE HILLS PKWY, SUITE 102       55 E CAMPERDOWN WAY 600
LITTLE ROCK, AR 72201                  ATTN: MEGAN MURDOCK                          GREENVILLE, SC 29601
                                       ROGERS, AR 72203




COLLIERS INTERNATIONAL                 COLLIERS INTERNATIONAL                       COLLIERS INTERNATIONAL
9987 CRAVER ROAD, SUITE 430            ATTN: KRIS TIEGREEN                          ATTN: MEGAN MURDOCK
CINCINNATI, OH 45242                   14785 PRESTON ROAD SUITE 750                 4204 S. PINNACLE HILLS PKWY, SUITE 102
                                       DALLAS, TX 75254                             ROGERS, AR 72203




COLLIERS INTERNATIONAL                 COLLIERS INTERNATIONAL                       COLLIERS INTERNATIONAL—ATLANTA, LLC
ATTN: RADLEY HENDRIXSON                MARY BROWN                                   C/O LEWIS BRISBOIS BISGAARD & SMITH LLP
523 3RD AVENUE SOUTH                   8800 LYRA DRIVE, SUITE 650                   ATTN: WILLIAM S. HELFAND
NASHVILLE, TN 37210                    COLUMBUS, OH 43240                           24 GREENWAY PLAZA, SUITE 1400
                                                                                    HOUSTON, TX 77046



COLLIERS INTL MGMT - ATLANTA, LLC      COLLIERS INTL MGMT - ATLANTA, LLC            COLLIERS INTL RE MGMT SERVICES (HI), LLC
1230 PEACHTREE STREET NE               1230 PEACHTREE STREET NE                     ATTN: MARK D. BRATTON
PROMENADE, SUITE 800                   PROMENADE, SUITE 800                         P.O. BOX 257
ATTN: ALBERTA WALLER                   ATTN: KAITLIN WAGNER                         HONOLULU, HI 96809
ATLANTA, GA 30309                      ATLANTA, GA 30309



COLLIERS INTL SOUTH CAROLINA, INC      COLLIERS NEVADA MANAGEMENT, LLC              COLLIERS NEVADA MANAGEMENT, LLC
P.O. BOX 11610                         5520 KIETZKE LANE, SUITE 300                 ATTN: ANGELA FOSTER
1301 GERVAIS ST, STE 600929201         ATTN: ROBERT LACHANCE                        1851 MT. DIABLO BLVD, SUITE 200
COLUMBIA,, SC 29211-1610               RENO, NV 89511                               WALNUT CREEK, CA 94596




COLLIERS TRI STATE MANAGEMENT          COLLIN ANDERSEN                              COLLIN BREWER
MORRIS CORPORATE CENTER 1              10201 S. MAIN STREET                         10201 S. MAIN STREET
300 INTERPACE PARKWAY BLDG. C, 3RD     HOUSTON, TX 77025                            HOUSTON, TX 77025
FLOOR
PARSIPPANY, NJ 07054



COLLIN COUNTY                          COLLIN CREEK ASSOCIATE LLC                   COLLIN CREEK ASSOCIATES, LLC
ATTN: PROPERTY TAX DEPT.               PROPERTY:628510                              C/O FRP ACQUISITIONS
PO BOX 8046                            PO BOX 310300                                5207 MCKINNEY AVENUE, SUITE 22
MC KINNEY, TX 75070                    DES MOINES, IA 50331-0300                    DALLAS, TX 75202




COLLIN CREEL                           COLLIN FISSELL                               COLLIN SCHEFFLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                         7540 TRANSOM CT
HOUSTON, TX 77025                      HOUSTON, TX 77025                            TAMPA, FL 33607




COLLIN SODERQUIST                      COLLINGTON PLAZA STATION LLC                 COLLINGTON PLAZA STATION, LLC
10201 S. MAIN STREET                   PO BOX 645414                                C/O PHILLIPS EDISON & COMPANY
HOUSTON, TX 77025                      PITTSBURGH, PA 15264                         11501 NORTHLAKE DRIVE
                                                                                    ATTN: ROBERT F. MYERS, COO
                                                                                    CINCINNATI, OH 45249
COLLOECTOR OF TAXES Case      18-12241-CSS
                                        COLLYN Doc
                                               SPAID26     Filed 10/05/18   PageCOLMONT
                                                                                 416 of PORTAGE
                                                                                        1739 LLC
LACKAWANNA COUNTY                       10201 S. MAIN STREET                    8954 HILL DR
PO BOX 709                              HOUSTON, TX 77025                       NORTH HUNTINGDON, PA 15642
SCRANTON, PA 18501-0709




COLMONT PORTAGE, LLC                    COLON, CELINDA                          COLONIAL HEIGHTS
8954 HILL DRIVE                         8889 W. OLYMPIC BLVD                    ATTN: PROPERTY TAX DEPT.
NORTH HUNTINGDON, PA 15642              BEVERLY HILLS, CA 90211-3628            201 JAMES AVE PO BOX 3401
                                                                                COLONIAL HEIGHTS, VA 23834




COLONIAL HEIGHTS                        COLONIAL LIFE INSURANCE                 COLONIAL LLC
COMMISSIONER OF THE REVENUE             PO BOX 903                              PO BOX 148
201 JAMES AVE PO BOX 3401               COLUMBIA, SC 29202-0903                 HIGH POINT, NC 27261
COLONIAL HEIGHTS, VA 23834




COLONIAL PALMS PLAZA                    COLONIAL PALMS PLAZA                    COLONIES CROSSROADS, INC.
925 SOUTH FEDERAL HWY, SUITE 700        URBAN RETAIL PROPERRTIES LLC            ATTN: DANIEL RICHARDS
BOCA RATON, FL 33432                    111 E WACKER DR STE 2400                3595-1 INLAND EMPIRE BLVD, SUITE 1200
                                        CHICAGO, IL 60601                       ONTARIO, CA 91764




COLONY 5 PARTNERS LLC                   COLONY PLACE VILLAGE LLC                COLONY PLACE VILLAGE, LLC
11540 E US HIGHWAY 92                   CAMBRIDGE SAVINGS BANK                  C/O SAXON PARTNERS LLC
SEFFNER, FL 33584                       PO BOX 984001                           25 RECREATION PARK DRIVE, SUITE 204
                                        BOSTON, MA 02298                        ATTN: DONALD S. SMITH
                                                                                HINGHAM, MA 02043



COLOR COLORADO INVESTMENT COMPANY,      COLOR COLORADO INVESTMENT COMPANY,      COLOR GRAPHICS OF VA BEACH
LLC                                     LLC                                     355 INDEPENDENCE BLVD
C/O ELEVATE COMMERCIAL REAL ESTATE      C/O ELEVATE COMMERCIAL REAL ESTATE      VIRGINIA BEACH, VA 23462
6600 EAST BERRY AVE                     7430 EAST CALEY AVENUE, SUITE 315
CENTENNIAL, CO 80111                    CENTENNIAL, CO 80111



COLORADO BLUE FOX LLC                   COLORADO CITY OF COLORADO SPRINGS       COLORADO CITY OF LONE TREE
9471 IRVINE CENTER DR 100               ATTN: SALES & USE TAX DEPT.             ATTN: SALES & USE TAX DEPT.
IRVINE, CA 92618                        DEPARTMENT 2408                         PO BOX 911882
                                        DENVER, CO 80256                        DENVER, CO 80291




COLORADO COLLEGE                        COLORADO COMMUNITY MEDIA                COLORADO DEPARTMENT OF REVENUE
14 E CACHE LA POUDRE ST                 9137 RIDGELINE BLVD STE 210             ATTN: BUSINESS LICENSE DEPT.
COLORADO SPRINGS, CO 80903-3243         HIGHLANDS RANCH, CO 80129               1375 SHERMAN ST
                                                                                DENVER, CO 80261-0013




COLORADO DEPARTMENT OF REVENUE          COLORADO DEPARTMENT OF REVENUE          COLORADO DEPT OF LABOR AND
ATTN: SALES & USE TAX DEPT.             ATTN: UNCLAIMED PROPERTY DEPT.          EMPLOYMENT
1375 SHERMAN ST                         1375 SHERMAN ST                         PO BOX 956
DENVER, CO 80261-0013                   DENVER, CO 80261-0013                   DENVER, CO 80201-0956




COLORADO DEPT OF REVENUE                COLORADO DEPT OF REVENUE                COLORADO DEPT OF REVENUE
1375 SHERMAN ST                         ATTN: NORMAN TOWNLEY-TAX AGENT          DMV-TITLES SECTIONS
DENVER, CO 80261                        PO BOX 13200                            1375 SHERMAN ST
                                        DENVER, CO 80201-4600                   DENVER, CO 80203
                      Case
COLORADO DEPT OF REVENUE         18-12241-CSS    Doc
                                           COLORADO   26 OF Filed
                                                    DEPT          10/05/18
                                                            TREASURY                 PageCOLORADO
                                                                                          417 of 1739
                                                                                                  GARDEN FOUNDATION
PO BOX 17087                                UNCLAIMED PROPERTY DIVISION                  DBA COLORADO GARDEN & HOME SHOW
DENVER, CO 80217-0087                       1580 LOGAN ST 500                            959 S KIPLING PARKWAY STE 100
                                            DENVER, CO 80203                             LAKEWOOD, CO 80226




COLORADO MOUNTAIN NEWS MEDIA                COLORADO MOUNTAIN NEWS MEDIA                 COLORADO SPRINGS GAZETTE LLC
CUSTOMER PAYMENT CENTER                     DBA SUMMIT DAILY NEWS                        THE GAZETTE
PO BOX 1888                                 PO BOX 1888                                  30 E PIKES PEAK AVE SUITE 100
CARSON CITY, NV 89702-1888                  CARSON CITY, NV 89702-1888                   COLORADO SPRINGS, CO 80903




COLORADO SPRINGS RADIO                      COLORADO SPRINGS SKY SOX INC                 COLORADO SPRINGS UTILITIES
BROADCASTERS INC                            4385 TUTT BLVD                               111 S CASCADE AVE
1805 E CHEYENNE RD                          COLORADO SPRINGS, CO 80922                   COLORADO SPRINGS, CO 80903
COLORADO SPRINGS, CO 80905




COLORADO SPRINGS UTILITIES                  COLORADO STATE FAIR                          COLORADO STATE TREASURER
PO BOX 340                                  1001 BEULAH AVE                              PO BOX 956
COLORADO SPRINGS, CO 80901                  PUEBLO, CO 81004                             DENVER, CO 80201-0956




COLORADOAN MEDIA GROUP                      COLTEN MASON                                 COLTON CHANEY
PO BOX 677316                               10201 S. MAIN STREET                         10201 S. MAIN STREET
DALLAS, TX 75267-7316                       HOUSTON, TX 77025                            HOUSTON, TX 77025




COLTON HENDRICKS                            COLTON PUBLIC UTILITIES                      COLTON PUBLIC UTILITIES
10201 S. MAIN STREET                        ELECTRIC DEPT                                P.O. BOX 1367
HOUSTON, TX 77025                           650 N LA CADENA DR                           COLTON, CA 92324-0831
                                            COLTON, CA 92324




COLUMBIA BASIN LLC                          COLUMBIA CAMERON VILLAGE LLC                 COLUMBIA COLLECTIONS SERVICE
DBA BDI TRANSFER                            DBA CAMERON VILLAGE                          PO BOX 22709
PO BOX 4270                                 P.O. BOX 534243                              PORTLAND, OR 97269-2149
PASCO, WA 99302                             ATLANTA, GA 30353-4243




COLUMBIA COUNTY TAX COLLECTOR               COLUMBIA CROSSING I, LLC                     COLUMBIA CROSSINGS I LLC
135 NE HERNANDO AVE STE 125                 C/O KIMCO REALTY CORPORATION                 DEPT CODE:SMDC0201C
LAKE CITY, FL 32055                         3333 NEW HYDE PARK ROAD, SUITE 100           PO BOX 6203
                                            ATTN: LEGAL DEPARTMENT                       HICKSVILLE, NY 11802
                                            NEW HYDE PARK, NY 11042



COLUMBIA CROSSINGS I LLC                    COLUMBIA DAILY TRIBUNE                       COLUMBIA DEVELOPMENT GROUP
SMDC0201C PLOT 24                           PO BOX 798                                   GARNERS FERRY, LLC
PO BOX 6203                                 COLUMBIA, MO 65205-0798                      1845 ST. JULIAN PLACE
HICKSVILLE, NY 11802-6203                                                                COLUMBIA, SC 29204




COLUMBIA DOBBIN CENTER, LLC                 COLUMBIA DRUID HILLS LLC                     COLUMBIA GAS OF KENTUCKY
C/O ROSENTHAL PROPERTIES, LLC               COLUMBIA RETAIL MGMT                         C/O CORPORATION SERVICE CO
1945 OLD GALLOWS RD, SUITE 300              1355 TERRELL MILL RD BLDG 1478 STE 200       421 W MAIN ST
VIENNA, VA 22182                            MARIETTA, GA 30067                           FRANKFORT, KY 40601
                      Case
COLUMBIA GAS OF KENTUCKY       18-12241-CSS    Doc
                                         COLUMBIA GAS26
                                                      OF MAFiled 10/05/18        PageCOLUMBIA
                                                                                      418 of 1739
                                                                                              GAS OF MA
P.O. BOX 742523                           C/O CORPORATION SERVICE CO                 C/O CORPORATION SERVICE CO
CINCINNATI, OH 45274                      7 ST PAUL ST, STE 820                      84 STATE ST
                                          BALTIMORE, MD 21202                        BOSTON, MA 02109




COLUMBIA GAS OF MA                        COLUMBIA GAS OF MARYLAND                   COLUMBIA GAS OF MARYLAND
P.O. BOX 742519                           C/O CORPORATION SERVICE CO                 P.O. BOX 742519
CINCINNATI, OH 42574-2519                 7 ST PAUL ST, STE 820                      CINCINNATI, OH 45274-2519
                                          BALTIMORE, MD 21202




COLUMBIA GAS OF OHIO                      COLUMBIA GAS OF OHIO                       COLUMBIA GAS OF PENNSYLVANIA
C/O CSC - LAWYERS INCORPORATING           P.O. BOX 742510                            C/O CORPORATION SERVICE CO
SERVICE                                   CINICINNATI, OH 45274-2510                 2595 INTERSTATE DR, STE 103
50 W BROAD ST, STE 1800                                                              HARRISBURG, PA 17110
COLUMBUS, OH 43215



COLUMBIA GAS OF PENNSYLVANIA              COLUMBIA GAS OF VIRGINIA INC.              COLUMBIA GAS OF VIRGINIA
P.O. BOX 742537                           P.O. BOX 742529                            1111 E MAIN ST, 16TH FL
CINCINNATI, OH 45274-2537                 CINCINNATI, OH 45274-2529                  RICHMOND, VA 23219




COLUMBIA II BURNT MILLS SHOPPING          COLUMBIA II BURNT MILLS SHOPPING CTR       COLUMBIA II BURNT MILLS SHOPPING CTR
CENTER LLC                                LLC                                        LLC
C/O REGENCY CENTERS CORPORATION           C/O REGENCY CENTERS CORPORATION            PO BOX 824848
ONE INDEPENDENT DRIVE, SUITE 114          ONE INDEPENDENT DRIVE, SUITE 114           PHILADELPHIA, PA 19182
ATTN: LEASE ADMINISTRATION                ATTN: LEGAL DEPARTMENT
JACKSONVILLE, FL 32202                    JACKSONVILLE, FL 32202


COLUMBIA LAND DEVELOPMENT CO              COLUMBIA LAND DEVELOPMENT CO.              COLUMBIA PARTNERS LLC
ATTN: JAY L PIERMAN                       12343 MULBERRY CIRCLE                      ATTN: JOE PARAMORE
12343 MULBERRY CIRCLE                     ATTN: JAY L. PIERMAN                       607 BRIARWOOD DR
STRONGSVILLE, OH 44149                    STRONGSVILLE, OH 44149                     MYRTLE BEACH, SC 29572




COLUMBIA PARTNERS LLC                     COLUMBIA PARTNERS, LLC                     COLUMBIA POWER & WATER SYSTEMS
DBA SUMTER PARAMOUNT                      607 BRIARWOOD DRIVE, SUITE 5               201 PICKENS LN
607 BRIARWOOD DRIVE, SUITE 5              MYRTLE BEACH, SC 29572                     COLUMBIA, TN 38401
MYRTLE BEACH, SC 29572




COLUMBIA POWER & WATER SYSTEMS            COLUMBIA REGENCY RETAIL OVERTON PK         COLUMBIA RESOURCE GROUP LLC
P.O. BOX 379                              PLAZA                                      2200 ALASKAN WAY SUITE 300
COLUMBIA, TN 38402                        2600 CITADEL PLAZA DR                      SEATTLE, WA 98121
                                          HOUSTON, TX 77008-1362




COLUMBIA RETAIL DULLES LLC                COLUMBIA RETAIL DULLES, LLC                COLUMBIA RETAIL DULLES, LLC
PO BOX 643551                             C/O REGENCY CENTERS CORPORATION            C/O REGENCY CENTERS CORPORATION
PITTSBURGH, PA 15264-3551                 1919 GALLOWS ROAD, SUITE 1000              ONE INDEPENDENT DRIVE, SUITE 114
                                          ATTN: PROPERTY MANAGEMENT                  ATTN: LEASE ADMINISTRATION
                                          VIENNA, VA 22182                           JACKSONVILLE, FL 32202-5019



COLUMBIA RETAIL DULLES, LLC               COLUMBIA RETAIL MANAGEMENT, INC.           COLUMBIA TECH CENTER L.L.C.
C/O REGENCY CENTERS CORPORATION           MARYELLEN YANCEY, PM                       UNIT 37 CT513 SLEEPC01
ONE INDEPENDENT DRIVE, SUITE 114          1355 TERRELL MILL RD                       PO BOX 4800
ATTN: LEGAL DEPARTMENT                    BUILDING 1478, SUITE 200                   PORTLAND, OR 97208
JACKSONVILLE, FL 32202-5019               MARIETTA, GA 30067
                       Case 18-12241-CSS
COLUMBIA TECH CENTER, LLC             COLUMBUSDoc   26TREASURER
                                                 CITY    Filed 10/05/18         PageCOLUMBUS
                                                                                     419 of 1739
                                                                                             CITY TREASURER
C/O PACIFIC REALTY ASSOCIATES, LP     P.O. BOX 182882                               PUBLIC UTILITIES
PORTLAND, OR 97224                    COLUMBUS, OH 43218-2882                       GOVERNMENT CENTER, 111 N FRONT ST
                                                                                    COLUMBUS, OH 43215




COLUMBUS CITY UTILITIES                   COLUMBUS CITY UTILITIES                   COLUMBUS CO TAX OFFICE
1111 MCCLURE RD                           P.O. BOX 1987                             111 WASHINGTON ST
COLUMBUS, IN 47201                        COLUMBUS, IN 47202-1987                   WHITEVILLE, NC 28472




COLUMBUS CONSOLIDATED GOVERNMENT          COLUMBUS COUNTY                           COLUMBUS DEPARTMENT OF PUBLIC
FINANCE DEPT-REVENUE DIVISION             C/O TAX ADMINISTRATION                    UTILITIES
OCCUPATION TAX SECTION                    125 WASHINGTON ST. SUITE A                P.O. BOX 182882
PO BOX 911                                WHITEVILLE, NC 28472-3315                 COLUMBUS, OH 43218-2882
COLUMBUS, GA 31902-0911



COLUMBUS LIGHT & WATER DEPT               COLUMBUS LIGHT AND WATER DEPT             COLUMBUS LIGHT AND WATER DEPT
P.O. BOX 949                              420 4TH AVE S                             P.O. BOX 22806
COLUMBUS, MS 39703                        COLUMBUS, MS 39703-0949                   JACKSON, MS 39225-2806




COLUMBUS NORTH ASSOCIATES                 COLUMBUS NORTH ASSOCIATES                 COLUMBUS NORTH ASSOCIATES, LP
1946 S COLUMBUS BLVD                      350 SENTRY PKWY                           350 SENTRY PARKWAY, BLDG 630, SUITE 300
PHILADELPHIA, PA 19148                    BLDG 630 STE 300                          ATTN: PROPERTY MANAGER - ANNE
                                          BLUE BELL, PA 19422                       ESPENSHADE
                                                                                    BLUE BELL, PA 19422



COLUMBUS NORTH ASSOCIATES, LP             COLUMBUS RETAIL PORTFOLIO LLC             COLUMBUS SQUARE ASSOCIATES
ATTN: PROPERTY MANAGER - ANNE             C/O COLLIERS INTERNATIONAL                7606 LEAFWOOD DRIVE
ESPENSHADE                                8800 LYRA DRIVE, SUITE 650                NORFOLK, VA 23518
350 SENTRY PARKWAY, BLDG 630, SUITE 300   ATTN: LAURA NEIDIG
BLUE BELL, PA 19422                       COLUMBUS, OH 43240



COLUMBUS SQUARE ASSOCIATES                COLUMBUS WATER WORKS                      COLUMBUS WATER WORKS
ATTN: RUBY RENESIS                        1421 VETERANS PKWY                        P.O. BOX 1600
7606 LEAFWOOD DR.                         COLUMBUS, GA 31902-1600                   COLUMBUS, GA 31902-1600
NORFOLK, VA 23518




COM4 GLOBAL INC                           COMAL COUNTY TAX OFFICE                   COMANCHE
20130 LAKEVIEW CTR PLZ STE 400            ATTN: PROPERTY TAX DEPT.                  ATTN: PROPERTY TAX DEPT.
ASHBURN, VA 20147                         P.O. BOX 659480                           315 SW 5TH STREET ROOM 300
                                          SAN ANTONIO, TX 78265-9480                LAWTON, OK 73501




COMAR MANAGEMENT, INC.                    COMBINED COMMUNICATIONS BEND              COMBINED COMMUNICATIONS INC
ATTN: JONATHAN HALLE                      PO BOX 5037                               PO BOX 5037
2900 LINDEN LANE, SUITE 300               BEND, OR 97708                            BEND, OR 97708
SILVER SPRING, MD 20910




COMBINED PROPERTIES INC                   COMBINED PROPERTIES INC                   COMBINED PROPERTIES, INC.
C/O CHARLES COUNTY SUBSIDIARY             C/O CHARLES COUNTY SUBSIDIARY             CAROLISSA SMITH, RPA
1025 THOMAS JEFFERSON ST. NW, STE 700 E   1025 THOMAS JEFFERSON ST. NW, SUITE       1025 THOMAS JEFFERSON ST. NW, STE 700 E
ATTN: LEGAL DEPARTMENT                    700 EAST                                  WASHINGTON, DC 20007
WASHINGTON, DC 20007                      ATTN: LEGAL DEPARTMENT
                                          WASHINGTON, DC 20007
                       Case 18-12241-CSS
COMBINED PROPERTIES, INC.                      Doc
                                        COMBINED     26 Filed
                                                  PROPERTY      10/05/18
                                                            SERVICES GROUP   PageCOMBINED
                                                                                  420 of 1739
                                                                                          WAREHOUSE COMPANY LLC
JARELL TILLERY                          INC                                      5000 S CENTRAL AVE
1025 THOMAS JEFFERSON ST. NW, STE 700 E 2901 BUTTERFIELD RD                      CHICAGO, IL 60638
WASHINGTON, DC 20007                    OAK BROOK, IL 60523




COMCAST AD DELIVERY                     COMCAST CABLE COMMUNICATIONS MGMT.       COMCAST CABLE COMMUNICATIONS MGMT.
13431 COLLECTIONS CENTER DR             LLC                                      LLC
CHICAGO, IL 60693                       1701 JOHN F KENNEDY BLVD                 PO BOX 37601
                                        PHILADELPHIA, PA 19103                   PHILADELPHIA, PA 19101-0601




COMCAST CABLE                           COMCAST PORTLAND                         COMCAST SEATTLE
P.O. BOX 105184                         PO BOX 742637                            PO BOX 742637
ATLANTA, GA 30348-5184                  LOS ANGELES, CA 90074-2637               LOS ANGELES, CA 90074-2637




COMCAST SPORTSNET NEW ENGLAND           COMCAST SPORTSNET NEW ENGLAND            COMCAST SPORTSNET PHILADELPHIA LP
42 THIRD AVE                            PO BOX 1525                              BOX 3296
BURLINGTON, MA 01803                    NEW YORK, NY 10008-1525                  PO BOX 8500
                                                                                 PHILADELPHIA, PA 19178-3296




COMCAST SPOTLIGHT LLC                   COMCAST SPOTLIGHT LP                     COMCAST SPOTLIGHT
PO BOX 415949                           PO BOX 742637                            12964 COLLECTIONS CTR DR
BOSTON, MA 02241                        LOS ANGELES, CA 90074                    CHICAGO, IL 60693




COMCAST SPOTLIGHT                       COMCAST                                  COMCAST
PO BOX 742637                           500 S GRAVERS RD                         P.O. BOX 3001
LOS ANGELES, CA 90074                   STE 3000                                 SOUTHEASTERN, PA 19398
                                        PLYMOUTH MEETING, PA 19462




COMCAST                                 COMCAST                                  COMCAST
P.O. BOX 34744                          P.O. BOX 37601                           P.O. BOX 530098
SEATTLE, WA 98124-1744                  PHILADELPHIA, PA 19101                   ATLANTA, GA 30353-0098




COMCAST                                 COMCAST                                  COMED
P.O. BOX 660618                         PO BOX 7500                              ATTN BANKRUPTCY SECTION/REVENUE
DALLAS, TX 75266-0618                   SOUTHEASTERN, PA 19396-7500              MANAGEMENT
                                                                                 2100 SWIFT DR
                                                                                 OAKBROOK, IL 60523



COMED                                   COMFORT RESEARCH LLC                     COMFORT REVOLUTION LLC
P.O. BOX 6111                           1719 ELIZABETH AVE NW                    PO BOX 1290
CAROL STREAM, IL 60197-6111             GRAND RAPIDS, MI 49504                   EATONTOWN, NJ 07724




COMFORT SOLUTIONS OF TX                 COMFORT SUITES CLOVIS                    COMFORT SYSTEMS USA
4250 CAMBRIDGE                          143 CLOVIS AVE                           2655 FORTUNE CIRCLE W STE E
FORT WORTH, TX 76155                    CLOVIS, CA 93612                         INDIANAPOLIS, IN 46241
COMFORT SYSTEMS USA Case    18-12241-CSS    Doc
                                      COMFORT    26 USA
                                              SYSTEMS Filed 10/05/18        PageCOMFORTAIRE
                                                                                 421 of 1739BEDDING
6875 W GALVESTON STREET               981 BING ST                               PO BOX 9219
CHANDLER, AZ 85226                    SAN CARLOS, CA 94070                      GREENVILLE, SC 29604




COMMERCE BANK, NA                     COMMERCE LIMITED PARTNERSHIP #9005        COMMERCE LIMITED PARTNERSHIP 9005
45 MELVILLE PARK ROAD                 C/O COMMERCE GROUP                        530 ALEXANDER AVENUE
MELVILLE, NY 11747                    1280 WEST NEWPORT CENTER DRIVE            DREXEL HILL, PA 19026
                                      DEERFIELD BEACH, FL 33442




COMMERCE LIMITED PARTNERSHIP 9005     COMMERCE LIMITED PARTNERSHIP 9005         COMMERCE PARK JV LLC
C/O COMMERCE GROUP                    C/O KAPLIN STEWART MELOFF REITER &        94 DANBURY RD. UNIT 11
1280 WEST NEWPORT CENTER DRIVE        STEIN P.C.                                RIDGEFIELD, CT 06877
DEERFIELD BEACH, FL 33442             ATTN: BARBARA ANISKO
                                      910 HARVEST DRIVE
                                      BLUE BELL, PA 19422-0765


COMMERCE PARK JV, LLC                 COMMERCE PARTNERSHIP 9505                 COMMERCE PARTNERSHIP 9505
94 DANBURY ROAD, SUITE 11             C/O COMMERCE GROUP                        C/O COMMERCE GROUP
RIDGEFIELD, CT 06877                  1280 WEST NEWPORT CENTER DRIVE            ATTN MARTIN E OBOYLE
                                      ATTN: MARTIN O'BOYLE                      1280 W NEWPORT CENTER DR
                                      DEERFIELD BEACH, FL 33442                 DEERFIELD BEACH, FL 33442



COMMERCE PRINTING SERVICE             COMMERCENTER 22 LLC                       COMMERCIAL ADVISORS ASSET SVCS
322 NORTH 12 ST                       13191 CROSSROADS PKWY N 6TH FL            5101 WHEELIS DR STE 320
SACRAMENTO, CA 95811                  CITY OF INDUSTRY, CA 91746                MEMPHIS, TN 38117




COMMERCIAL BATTERY LLC                COMMERCIAL BUILDERS ALLIANCE LLC          COMMERCIAL CARTAGE CO INC
PO BOX 8237                           4802 E RAY ROAD STE 23-239                PO BOX 322
TYLER, TX 75711                       PHOENIX, AZ 85044                         HOUSTON, TX 77001




COMMERCIAL CLEANING MANAGEMENT INC    COMMERCIAL COFFEE SERVICE                 COMMERCIAL DESIGN MGMT
PO BOX 3652                           8460 S THOMAS AVE                         PO BOX 19062
CRESTLINE, CA 92325                   BRIDGEVIEW, IL 60455                      SUGAR LAND, TX 77496-9062




COMMERCIAL FIRE                       COMMERCIAL INVESTMENT ADVISORS            COMMERCIAL INVESTMENT REAL ESTATE
2465 ST JOHNS RD S                    ATTN: JUSTIN ZAHN                         275 S. BEVERLY DRIVE, SUITE 212
JACKSONVILLE, FL 32246                7825 E. GELDING DRIVE, SUITE 104          ATTN: CANDICE ROBERSON
                                      SCOTTSDALE, AZ 85260                      BEVERLY HILLS, CA 90212




COMMERCIAL INVESTMENT REAL ESTATE     COMMERCIAL INVESTMENT REAL ESTATE         COMMERCIAL PROPERTIES, INC.
275 S. BEVERLY DRIVE, SUITE 212       275 S. BEVERLY DRIVE, SUITE 212           CECIL YATES, DIRECTOR OF PM
ATTN: JON YEE                         ATTN: KATIE KLOOS                         7025 N SCOTTSDALE RD., SUITE 220
BEVERLY HILLS, CA 90212               BEVERLY HILLS, CA 90212                   SCOTTSDALE, AZ 85253




COMMERCIAL PROPERTY MAINTENANCE INC   COMMERCIAL PROPERTY RESOURCES             COMMERCIAL PROPERTY SW FLORIDA LLC
LAWN KING LANDSCAPING                 ATTN: CYNDI BORSELLINO                    5220 SUMMERLIN COMMONS BLVD, SUITE
10 OLD CLAIRTON RD STE 12A 242        13091 POND SPRINGS ROAD, SUITE 350B       500
PITTSBURGH, PA 15236                  AUSTIN, TX 78729                          FORT MYERS, FL 33907
                        Case 18-12241-CSS
COMMERCIAL REALTY MANAGEMENT,  LLC              Doc REFUSE
                                       COMMERCIAL    26 Filed  10/05/18
                                                           SERVICE - CO      PageCOMMERCIAL
                                                                                  422 of 1739
                                                                                            REFUSE SERVICE - CO
11421 CRONHILL DRIVE, SUITE G          725 23 1/2 ROAD                           P.O. BOX 3268
OWINGS MILLS, MD 21117                 GRAND JUNCTION, CO 81502                  GRAND JUNCTION, CO 81505




COMMERICAL REAL ESTATE MANAGEMENT      COMMISSION JUNCTION INC                   COMMISSION OF LABOR
LLC                                    774140                                    STATE OFFICE BUILDING CAMPUS
JASON SKOURIS                          4140 SOLUTIONS CENTER                     BUILDING 12 RM 185C
503 N. MARION STREET                   CHICAGO, IL 60677                         ALBANY, NY 12240
OAK PARK, IL 60302



COMMISSIONER OF MOTOR VEHICLES         COMMISSIONER OF TAXATION AND FINANCE      COMMISSIONERS OF CARROLL COUNTY
REG RENEWAL CENTER                     NYS ASSESSMENT RECEIVABLES                C/O COLLECTIONS OFFICE
207 GENESS ST STE 6                    PO BOX 4127                               225 N CENTER ST
UTICA, NY 13501-5899                   BINGHAMTON, NY 13902-4127                 WESTMINSTER, MD 21157-5108




COMMISSIONERS OF PUBLIC WORKS          COMMISSIONERS OF PUBLIC WORKS             COMMODORE CHANDLER
121 W COURT AVE                        P.O. BOX 549                              10201 S. MAIN STREET
GREENWOOD, SC 29646-2748               GREENWOOD, SC 29648                       HOUSTON, TX 77025




COMMONS AT ISSAQUAH INC.               COMMONS AT ISSAQUAH, INC.                 COMMONWEALTH OF KENTUCKY
P.O. BOX 749809                        C/O MADISON MARQUETTE REAL SERVICES       DIVISION OF UNEMPLOYMENT INSURANCE
LOS ANGELES, CA 90074                  401 BROADWAY EAST, SUITE 223              PO BOX 948
                                       SEATTLE, WA 98102                         FRANKFORT, KY 40602-0948




COMMONWEALTH OF MASSACHUSETTS          COMMONWEALTH OF MASSACHUSETTS             COMMONWEALTH OF MASSACHUSETTS
ATTN: UNCLAIMED PROPERTY DEPT.         DEPT OF PUBLIC HEALTH                     STATE TREASURY
1 ASHBURTON PLACE 12TH FLOOR           305 SOUTH ST                              C/O UNCLAIMED PROPERTY DIVISION
BOSTON, MA 02108                       JAMAICA PLAIN, MA 02130                   PO BOX 414478
                                                                                 BOSTON, MA 02241-4478



COMMONWEALTH OF PENNSYLVANIA           COMMONWEALTH OF PENNSYLVANIA              COMMONWEALTH OF PENNSYLVANIA
ATTN: BUSINESS LICENSE DEPT.           ATTN: SALES & USE TAX DEPT.               ATTN: UNCLAIMED PROPERTY DEPT.
PO BOX 280413                          PO BOX 280413                             PO BOX 280413
HARRISBURG, PA 17128-0413              HARRISBURG, PA 17128-0413                 HARRISBURG, PA 17128-0413




COMMONWEALTH OF VIRGINIA               COMMONWEALTH VIRGINIA                     COMMUNICATIONS SUPPLY CORP
ATTN: UNCLAIMED PROPERTY DEPT.         1957 W MORELAND ST                        3462 SOLUTION CENTER DR
PO BOX 2478                            RICHMOND, VA 23230                        CHICAGO, IL 60677-3004
RICHMOND, VA 23218-2478




COMMUNITY CARE URGENT CARE             COMMUNITY DEVELOPMENT DIVISION            COMMUNITY INFORMATION TRUST
& FAMILY PRACTICE                      CODE ADMINISTRATION DIVISION              INVESTORS REALTY INC
1595 YELLOWSTONE AVE                   129 N SND ST 2ND FL                       11301 DAVENPORT ST
POCATELLO, ID 83201                    YAKIMA, WA 98901                          OMAHA, NE 68154




COMMUNITY REALTY CO INC                COMMUNITY REALTY COMPANY                  COMMUNITY TELEVISION OF COLORADO LLC
11161 NEW HAMPSHIRE AVE STE 200        6305 IVY LANE, SUITE 820                  DBA KDVR FOX 31
SILVER SPRING, MD 20904                GREENBELL, MD 20770                       100 E SPEER BLVD
                                                                                 DENVER, CO 80203
                       Case
COMMUNITY WASTE DISPOSAL INC 18-12241-CSS      DocWATER
                                       COMMUNITY    26 COMPANY
                                                          Filed 10/05/18
                                                                   OF GREEN   PageCOMMUNITY
                                                                                   423 of 1739
                                                                                            WATER GREEN VALLEY
2010 CALIFORNIA CROSSING               VALLEY                                     1501 S LA CANADA DR
DALLAS, TX 75220                       1501 S LA CANADA DR                        GREEN VALLEY, AZ 85622-1600
                                       GREEN VALLEY, AZ 85622-1600




COMM-WORKS LLC                          COMPAS GROUP USA                          COMPASS GLOBAL LOGISTICS
1405 XENIUM LANE N STE 120              DBA CANTEEN REFRESHMENT SERVICES          PO BOX 8458
PLYMOUTH, MN 55441                      2400 YORKMOUNT RD                         THE WOODLANDS, TX 77387
                                        CHARLOTTE, NC 28217




COMPETITRACK INC                        COMPLETE SOLUTIONS & SOURCING INC.        COMPLIANCE SAFETY SYSTEMS
PO BOX 29220                            P.O. BOX 461                              PO BOX 1030
NEW YORK, NY 10087-9220                 MONTROSE, NY 10548                        MIDLOTHIAN, TX 76065




COMPONENTONE LLC                        COMPORIUM                                 COMPORIUM
201 S HIGHLAND AVE 3RD FL               330 EAST BLACK STREET                     P.O. BOX 1042
PITTSBURGH, PA 15206                    ROCK HILL, SC 29730                       ROCK HILL, SC 29731-7042




COMPTROLLER OF MARYLAND                 COMPTROLLER OF MARYLAND                   COMPTROLLER OF MARYLAND
ATTN: BUSINESS LICENSE DEPT.            ATTN: SALES & USE TAX DEPT.               ATTN: UNCLAIMED PROPERTY DEPT.
110 CARROLL ST                          110 CARROLL ST                            110 CARROLL ST
ANNAPOLIS, MD 21411-0001                ANNAPOLIS, MD 21411-0001                  ANNAPOLIS, MD 21411-0001




COMPTROLLER OF MARYLAND                 COMPTROLLER OF MARYLAND                   COMPTROLLER OF MARYLAND
COMPLIANCE DIV-BUSINESS TAX             REVENUE ADMINISTRATION CENTER             UNCLAIMED PROPERTY UNIT
COLLECTION                              110 CARROLL ST                            PO BOX 17161
301 W PRESTON ST RM 409                 ANNAPOLIS, MD 21411-0001                  BALTIMORE, MD 21297-1161
BALTIMORE, MD 21201



COMPUTER ALERT SYSTEMS INC              COMPUTERSHARE INC                         COMPUTEX INC
27570 COMMERCE CENTER DR STE 119        DEPT CH 19228                             5355 W SAM HOUSTON PKWY STE 390
TEMECULA, CA 92590                      PALATINE, IL 60055-1471                   HOUSTON, TX 77041




COMPUTRAIN BUSINESS SOLUTIONS LTD       COMRAS COMPANY                            COMTRON SYSTEMS INC
6800 W LOOP SOUTH STE 400               1261 20TH STREET AT WEST AVENUE           PO BOX 13470
BELLAIRE, TX 77401                      MIAMI BEACH, FL 33139                     PALM DESERT, CA 92255-3470




CONAT, JOLEEN                           CONCORD PROPERTY CORP.                    CONCORD PUBLISHING HOUSE
5070 BLAIR SLACK                        KAREN RUIZ                                ATTN: ACCOUNTING DEPT
WENATCHEE, WA 98801                     401 EAST SONTERRA BLVD., SUITE 114        301 BROADWAY
                                        SAN ANTONIO, TX 78258                     PO BOX 699
                                                                                  CAPE GIRARDEAU, MO 63702



CONCORDIA REALTY MANAGEMENT, INC.       CONCUR TECHNOLOGIES INC                   CONDATA GLOBAL
ATTN: MR. MICHAEL J. FLIGHT             62157 COLLECTIONS CENTER DRIVE            9830 W 190TH ST STE M
1010 JORIE BOULEVARD, SUITE 36          CHICAGO, IL 60693                         MOKENA, IL 60448-5603
OAK BROOK, IL 60523
                       Case
CONDITIONED AIR DESIGN INC    18-12241-CSS
                                        CONDONDoc  26
                                               TOBIN     Filed
                                                     SLADEK    10/05/18
                                                            THORNTON PLLC PageCONDURRE
                                                                               424 of 1739
                                                                                       SECURITY SYSTEMS
11104 WEST BECHER ST                     8080 PARK LANE, SUITE 700                9111 KATY FWY 225
WEST ALLIS, WI 53227                     ATTN: BILL SLADEK                        HOUSTON, TX 77024
                                         DALLAS, TX 75231




CONEDISON SOLUTIONS                      CONEXIS                                  CONFIDA PI LLC
100 SUMMIT LAKE DR                       PO BOX 660212                            PO BOX 340934
SUITE 210                                DALLAS, TX 75266-0212                    AUSTIN, TX 78734
VALHALLA, NY 10595




CONGRESSIONAL VILLAGE ASSOCIATES LLC     CONGRESSIONAL VILLAGE ASSOCIATES LLC     CONGRESSIONAL VILLAGE ASSOCIATES LLC
C/O SONABANK                             6290 MONTROSE RD                         ATTN LAURA BARNES
10 W WASHINGTON ST                       ROCKVILLE, MD 20852                      6290 MONTROSE RD
MIDDLEBURG, VA 20118-0778                                                         ROCKVILLE, MD 20852




CONI PUGH                                CONLEY PUBLISHING GROUP LTD              CONLEY SERVICES LLC
10201 S. MAIN STREET                     DBA CONLEY SERVICES LLC                  PO BOX 3001
HOUSTON, TX 77025                        115 MONROE ST                            BEAVER DAM, WI 53916-3001
                                         PO BOX 3001
                                         BEAVER DAM, WI 53916



CONNECTED ACQUISITION SERVICES, LLC      CONNECTED MANAGEMENT SERVICES, LLC       CONNECTICUT DEPT OF REVENUE
2525 MCKINNON STREET, SUITE 700          SUSANA GANDARA                           SERVICES
DALLAS, TX 75201                         2525 MCKINNON STREET, SUITE 710          25 SIGNOURNEY ST
                                         7TH FLOOR                                HARTFORD, CT 06106
                                         DALLAS, TX 75201



CONNECTICUT DEPT OF REVENUE              CONNECTICUT DEPT OF REVENUE              CONNECTICUT NATURAL GAS CORP
SERVICES                                 SERVICES                                 ATTN JULIETTE MORLE
25 SIGOURNEY ST, SUITE 2                 OPERATIONS DIVISION - INCOME TAX TEAMS   76 MEADOW ST
HARTFORD, CT 06106-5032                  450 COLUMBUS BLVD., STE 1                EAST HARTFORD, CT 06108
                                         HARTFORD, CT 06103-5032



CONNECTICUT NATURAL GAS CORP             CONNECTICUT ZOOLOGICAL SOCIETY INC       CONNER COMMERCIAL PROP LLC
P.O. BOX 9245                            CONNECTICUTS BEARDSLEY ZOO               6401 CARMEL ROAD, SUITE 203
CHELSEA, MA 02150-9245                   1875 NOBLE AVE                           CHARLOTTE, NC 28226
                                         BRIDGEPORT, CT 06610




CONNER KAUFFMAN                          CONNER MICKLEY                           CONNER WILBURN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     3004 PIONEER WAY
HOUSTON, TX 77025                        HOUSTON, TX 77025                        ROUND ROCK, TX 78665




CONNER, GABRIELLE                        CONNEXUS ENERGY                          CONNEXUS ENERGY
PO BOX 2386                              14601 RAMSEY BLVD                        P.O. BOX 1808
GRESHAM, OR 97030                        RAMSEY, MN 55303                         MINNEAPOLIS, MN 55480-1808




CONNIE ALEXANDER                         CONNIE BARANCO                           CONNIE ENGLAND
15546 W SUPAI CIR                        10201 S. MAIN STREET                     10201 S. MAIN STREET
GOODYEAR, AZ 85338                       HOUSTON, TX 77025                        HOUSTON, TX 77025
CONNIE G GONZALEZ        Case 18-12241-CSS
                                        CONNIE Doc  26
                                               HARRIS       Filed 10/05/18   PageCONNIE
                                                                                  425 of  1739
                                                                                        HARRISON
10201 S. MAIN STREET                     10201 S. MAIN STREET                    1367 BRIDGES CREEK CT
HOUSTON, TX 77025                        HOUSTON, TX 77025                       GEORGETOWN, KY 40324




CONNIE KEMPFFER                          CONNIE PACHECO                          CONNIE TRAGESER
10201 S. MAIN STREET                     1900 WESTVIEW BLVD 515                  10201 S. MAIN STREET
HOUSTON, TX 77025                        CONROE, TX 77304                        HOUSTON, TX 77025




CONNOISSEUR FROM ARAMARK                 CONNOISSEUR MEDIA LLC DBA WPLR-FM       CONNOISSEUR MEDIA WKJY-FM
NRG PARK                                 440 WHEELERS FARMS RD 302               234 AIRPORT PLAZA STE 5
8701 KIRBY DR                            MILFORD, CT 06461                       FARMINGDALE, NY 11735
HOUSTON, TX 77054




CONNOISSEUR MEDIA                        CONNOR DAVIS                            CONNOR DURBIN
107 PAXINOSA ROAD WEST                   10201 S. MAIN STREET                    10201 S. MAIN STREET
EASTON, PA 18040                         HOUSTON, TX 77025                       HOUSTON, TX 77025




CONNOR GILROY                            CONNOR HOOPER                           CONNOR LOCKE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




CONNOR MURPHY                            CONNOR THOMPSON                         CONOR MAGEE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




CONOR MCCABE                             CONOR PARSONS                           CONRAD DATE & RYLAND, LLC
705 OAKSTONE DR                          10201 S. MAIN STREET                    1300 NATIONAL DR, SUITE 100
ROSWELL, GA 30075                        HOUSTON, TX 77025                       ATTN: ETHAN CONRAD
                                                                                 SACRAMENTO, CA 95831




CONRAD DATE & RYLAND, LLC                CONRAD THOMAS                           CONRADS DISPOSAL INC.
ATTN: ETHAN CONRAD                       10201 S. MAIN STREET                    5176 WATERLOO ROAD
1300 NATIONAL DR, SUITE 100              HOUSTON, TX 77025                       ATWATER, OH 44201
SACRAMENTO, CA 95831




CONRAN AYERS                             CONROE MARKET PLACE                     CONROE MARKETPLACE S.C., L.P.
DISTRICT MANAGER-CHARLESTON              P.O. BOX 82565                          C/O KIMCO REALTY CORPORATION
129 ISHERWOOD DR.                        GOLETA, CA 93118-2565                   3333 NEW HYDE PARK ROAD, SUITE 100
GOOSE CREEK, SC 29445                                                            NEW HYDE PARK, NY 11042




CONROE MARKETPLACE                       CONROY MILLENIA PARTNERS LLP            CONROY MILLENIA PARTNERS LLP
C/O KIMCO REALTY; ATTN LEVIE JOHNSON,    250 N ORANGE AVE STE 1500               600 E. COLONIAL DRIVE, #100
PROPERTY MANAGER                         ORLANDO, FL 32801                       ORLANDO, FL 32803
10260 WESTHEIMER STE 470
HOUSTON, TX 77042
                      Case
CONROY MILLENIA PARTNERS LLP   18-12241-CSS
                                         CONROYDoc 26 Filed 10/05/18
                                               SIMBERG                      PageCONSERVICE
                                                                                 426 of 1739
ATTN: JAKE SCHRIMSHER                    3440 HOLLYWOOD BLVD 2ND FLOOR          750 SOUTH GATEWAY DRIVE
600 E COLONIAL DR 100                    HOLLYWOOD, FL 33021                    RIVER HEIGHTS, UT 84321
ORLANDO, FL 32803




CONSERVICE                               CONSILIO HOLDINGS INC                  CONSILIO LLC
P.O. BOX 4718                            DBA CONSILIO LLC                       1828 L ST NW STE 1070
LOGAN, UT 84323-4718                     1828 L ST NW STE 1070                  WASHINGTON, DC 20036
                                         WASHINGTON, DC 20036




CONSITITUTION STATE SERVICES LLC         CONSITITUTION STATE SERVICES LLC       CONSOLIDATED BEDDING
385 WASHINGTON ST                        C/O BANK OF AMERICA                    75 REMITTANCE DRIVE, SUITE 3218
SAINT PAUL, MN 55102                     7529 COLLECTIONS CNTR DR               CHICAGO, IL 60654
                                         CHICAGO, IL 60693




CONSOLIDATED COMMUNICATIONS              CONSOLIDATED COMMUNICATIONS            CONSOLIDATED EDISON CO OF NY
P.O. BOX 66523                           PO BOX 3188                            ATTN BANKRUPTCY GROUP
ST. LOUIS, MO 63166-6523                 MILWAUKEE, WI 53201-3188               4 IRVING PL, RM 1875-S
                                                                                NEW YORK, NY 10003




CONSOLIDATED EDISON CO OF NY             CONSOLIDATED FIRE PROTECTION INC       CONSOLIDATED LOAN CO
JAF STATION                              17461 DERIAN AVE STE 114               425 PINE AVE
P.O. BOX 1701                            IRVINE, CA 92614                       ALBANY, GA 31701
NEW YORK, NY 10116-1701




CONSOLIDATED TAX COLLECTIONS             CONSOLIDATED UTILITY DISTRICT          CONSOLIDATED UTILITY DISTRICT
OF WASHINGTON COUNTY                     709 NEW SALEM HWY                      OF RUTHERFORD COUNTY
TAX ASSESOR-COLLECTOR                    MURFREESBORO, TN 37129                 P.O. BOX 249
PO BOX 2199                                                                     MURFREESBORO, TN 37133-0249
BRENHAM, TX 77834-2199



CONSOLIDATED WASTE LLC                   CONSOLIDATED                           CONSTANCE BROOKS
650 W BOUGH LN STE 150-204               121 SOUTH 17TH ST                      10201 S. MAIN STREET
HOUSTON, TX 77024                        MATTOON, IL 61938                      HOUSTON, TX 77025




CONSTANCE C MOSES                        CONSTANCE KELLY DANIELS                CONSTANCE LUCERO VALENZUELA
2618 SAN MIGUEL DR STE 519               6066 FARMWOOD WAY                      642 VALLEY OAK DR
NEWPORT BEACH, CA 92660                  MABLETON, GA 30126                     VACAVILLE, CA 95687




CONSTANCE RHOADES                        CONSTANCE RICARDO                      CONSTANCE WRAY-GAVDARD
10201 S. MAIN STREET                     10201 S. MAIN STREET                   961 MATLEY LANE 120
HOUSTON, TX 77025                        HOUSTON, TX 77025                      RENO, NV 89502




CONSTANT YUNG                            CONSTANTINE S GLICAS                   CONSTELLATION NEWENERGY GAS DV
10201 S. MAIN STREET                     330 HAMILTON ST                        C/O EXELON CORPORATION
HOUSTON, TX 77025                        LEOMINSTER, MA 01453                   10 S DEARBORN ST. 48TH FL
                                                                                CHICAGO, IL 60680
CONSTELLATION NEWENERGYCase
                         GAS18-12241-CSS
                             DV               Doc 26NEWENERGY
                                      CONSTELLATION       Filed 10/05/18
                                                                 INC        PageCONSTELLATION
                                                                                 427 of 1739NEWENERGY INC
P.O. BOX 4911                         ATTN C BRADLEY BURTON                     PO BOX 4640
HOUSTON, TX 77210-4911                1310 POINT ST. 12TH FL                    CAROL STREAM, IL 60197-4640
                                      BALTIMORE, MD 21231




CONSTELLATION                          CONSTELLATION                            CONSTRUCT DATA PUBLISHERS
1310 POINT ST                          PO BOX 5472                              SUCHE MYTO 1
BALTIMORE, MD 21231                    CAROL STREAM, IL 60197-5472              811 03
                                                                                BRATISLAVA
                                                                                SLOVAKIA



CONSTRUCTION ASSOCIATES OF SPOKANE     CONSTRUCTION CODE CONSULTANTS, LLC       CONSTRUCTION CODE ENFORCEMENT
INC                                    1296 EAST FM 942                         MEMPHIS & SHELBY COUNTY
2834 N PERRY ST                        LIVINGSTON, TX 77351                     6465 MULLINS STATION
SPOKANE, WA 99207                                                               MEMPHIS, TN 38134




CONSTRUCTION NETWORK INC               CONSUELO GONZALEZ                        CONSUMERAFFAIRS
PO BOX 1654                            135 BIRCH PILL DR                        PO BOX 670661
JONESBORO, AR 72403                    ALPHARETTA, GA 30022                     DALLAS, TX 75267




CONSUMERS CHOICE AWARD                 CONSUMERS ENERGY                         CONSUMERS ENERGY
MARKET DATA SYSTEMS                    ATTN LEGAL DEPT                          PAYMENT CENTER
2451 CUMBERLAND PKWY STE 3517          ONE ENERGY PLAZA                         PO BOX 740309
ATLANTA, GA 30339                      JACKSON, MI 49201                        CINCINNATI, OH 45274-0309




CONSUMERS UNIFIED LLC                  CONTENTLY INC                            CONTESSA SMITH
297 KINGSBURY GRADE 1025               598 BROADWAY 4TH FL                      10201 S. MAIN STREET
MAILBOX 4470                           NEW YORK, NY 10012                       HOUSTON, TX 77025
STATE LINE, NV 89449-4470




CONTINENTAL 27 FUND LP                 CONTINENTAL 44 FUND LP                   CONTINENTAL 45 FUND L.P.
ATTN: SHARON BAUTER                    W134 N8675 EXEC PKWY                     W134 N8675 EXECUTIVE PKWY
W134 N 8675 EXECUTIVE PKWY             MENOMONEE FALLS, WI 53051                MENOMONEE FALLS, WI 53051-3310
MENOMONEE FALLS, WI 53051




CONTINENTAL COLLECTION AGENCY LTD      CONTINENTAL FUND LP                      CONTINENTAL RANCH DEVELOPMENT LLC
PO BOX 24022                           ATTN: SHARON BAUTER                      6088 W ARIZONA PAVILIONS DR 1
DENVER, CO 80224-0022                  W134 N8675 EXECUTIVE PRKWY               TUCSON, AZ 85743
                                       MENOMONEE FALLS, WI 53051




CONTINENTAL REALTY CORPORATION         CONTINENTAL RETAIL PROPERTY SERVICES     CONTINUING EDUCATION OF THE BAR
1427 CLARKVIEW ROAD, SUITE 500         150 EAST BROAD STREET, SUITE 800         2100 FRANKLIN ST STE 500
BALTIMORE, MD 21209                    ATTN: SHAYLA MOFFIT                      OAKLAND, CA 94612
                                       COLUMBUS, OH 43215




CONTINUUM CONCEPTS LLC                 CONTOUR PRODUCTS INC                     CONTRA COSTA COUNTY TAX COLLECTOR
204 SILVERADO TRAIL                    1430 W POINTE DR STE K                   ATTN: PROPERTY TAX DEPT.
KELLER, TX 76248                       CHARLOTTE, NC 28214                      PO BOX 7002
                                                                                SAN FRANCISCO, CA 94120-7002
                       Case
CONTRA COSTA WATER DISTRICT    18-12241-CSS    Doc
                                         CONTROL    26 FiledINC
                                                 TECHNOLOGIES 10/05/18        PageCONTROL
                                                                                   428 of TECHNOLOGIES
                                                                                          1739
1331 CONCORD AVE                         101 FAIRCHILD AVE STE 5                  121 PARK AVE STE 10
CONCORD, CA 94524-2099                   PLAINVIEW, NY 11803                      WILLISTON, VT 05495




CONVERGEONE INC                          CONVERGEONE INC                          CONVEY COMPLIANCE SYSTEMS LLC
3344 HIGHWAY 149                         NW 5806                                  P.O. BOX 347977
EAGON, MN 55121                          PO BOX 1450                              PITTSBURGH, PA 15251-4977
                                         MINNEAPOLIS, MN 55485-5806




CONVEYOR SERVICES                        CONWAY 104 VENTURE LLC                   CONWAY CORP
3331 IVANDELL AVE                        ATTN: CINDY MIRT                         650 LOCUST STREET
DALLAS, TX 75211                         1332 MAIN ST STE 30                      CONWAY, AR 72034
                                         COLUMBIA, SC 29201




CONWAY CORP                              CON-WAY FREIGHT INC                      CON-WAY FREIGHT INC
P.O. BOX 99                              2211 OLD EARHART RD                      PO BOX 5160
CONWAY, AR 72033-0099                    ANN ARBOR, MI 48105                      PORTLAND, OR 97208-5160




CONWAY POTTER                            CONXEO                                   CONYERS LLC
10201 S. MAIN STREET                     580 WHITE PLAINS RD STE 620              DBA VENTUREPOINT PROP
HOUSTON, TX 77025                        TARRYTOWN, NY 10591-5181                 4685 MACARTHUR CT STE 375
                                                                                  NEWPORT BEACH, CA 92660




CONYERS, LLC                             COOK BROOKS JOHNSON PLLC                 COOK BROWN LLP
3334 E. COAST HWY, SUITE 520             7800 NORTH MOPAC EXPRESSWAY, SUITE       2407 J STREET 2ND FLOOR
CORONA DEL MAR, CA 92625                 215                                      SACRAMENTO, CA 95816
                                         ATTN: MICHAEL L. COOK
                                         AUSTIN, TX 78759



COOK COUNTY TREASURER                    COOKE COMMUNICATIONS NORTH               COOKE COMMUNICATIONS
PO BOX 805436                            CAROLINA LLC                             3420 NORTHSIDE DR
CHICAGO, IL 60680-4116                   PROCESSING CENTER                        KEY WEST, FL 33041
                                         PO BOX 1967
                                         GREENVILLE, NC 27835-1967



COOKE COMMUNICATIONS                     COOKEVILLE CITY CLERK                    COOKS PEST CONTROL CO.
PO BOX 1800                              PO BOX 998                               P.O. BOX 1789
KEY WEST, FL 33041-1800                  COOKEVILLE, TN 38503-0998                POWELL, TN 37849




COOL SPRINGS CROSSING, LTD.              COOLEST GRAPHICS DBA ACCESS PRINTING     COOLIDGE PUBLIC RELATIONS INC
C/O CBL & ASSOCIATES PROPERTIES, INC.    19219 WEST VALLEY HWY STE M-106          YC HOME GARDEN AND RECREATION SHOW
CBL CENTER, SUITE 500                    KENT, WA 98032                           PO BOX 3231
2030 HAMILTON PLACE BOULEVARD                                                     YUBA CITY, CA 95992
CHATTANOOGA, TN 37421



COOLSPRINGS CROSSING LTD                 COOLSPRINGS CROSSING LTD                 COOPER CONSULTING PARTNERS
ATTN GRANT HUSKEY, DIRECTOR OF           CBL 0107                                 12200 PRESTON RD.
LEASING                                  PO BOX 955607                            DALLAS, TX 75230
INTERSTATE 65 & GALLERIA BLVD            ST LOUIS, MO 63195-5607
FRANKLIN, TN 37067
COOPER COOPER            Case 18-12241-CSS
                                        COOPERDoc
                                              POINT26   Filed 10/05/18
                                                    ASSOCIATES                PageCOOPER
                                                                                   429 ofPOINT
                                                                                          1739 ASSOCIATES
10201 S. MAIN STREET                     C/O WIG PROPERTIES, LLC                  SEATAC DEVELOPMENT CO
HOUSTON, TX 77025                        4811 - 134TH PLACE SE                    4811 134TH PLACE S EAST
                                         BELLEVUE, WA 98006                       BELLEVUE, WA 98006




COOPER POINT JOINT VENTURE, LP           COOPERS PAINT AND BODY SHOP              COORAEZ KESHVANI
C/O JOHN T. EVANS COMPANY, INC.          6391 3RD ST                              10201 S. MAIN STREET
8350 N CENTRAL EXPRESSWAY, SUITE 300     KEY WEST, FL 33040                       HOUSTON, TX 77025
DALLAS, TX 75206




COPACHELLA VALLEY WATER DISTRICT         COPE ENGINEERING PLLC                    COPENHAVER, LISA, ANN LILLEBERG, ET AL.
PO BOX 5000                              8922 CROES DR                            C/O KASPER LAW FIRM, LLC
COACHELLA, CA 92236-5000                 HOUSTON, TX 77055                        ATTN: KEVIN KASPER
                                                                                  3930 OLD HWY. 94 S., SUITE 105
                                                                                  SAINT CHARLES, MO 63304



COPESAN SERVICES INC                     COPLAY-WHITEHALL SEWER AUTH              COPPER PLAZA
PO BOX 8442                              3213 MACARTHUR ROAD                      HSC REALTY LLC
CAROL STREAM, IL 60197-8442              WHITEHALL, PA 18052-2921                 520 POST OAK BLVD STE 380
                                                                                  HOUSTON, TX 77027




COPPERWOOD VILLAGE LP                    COPPERWOOD VILLAGE LP                    COPPERWOOD VILLAGE LP
ATTN COOPER MILTON                       C/O KIMCO REALTY CORPORATION             PO BOX 82565
3333 NEW HYDE PARK RD                    3333 NEW HYDE PARK ROAD, SUITE 100       DEPT CODE STXH 1355/LMATTFI00
NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042-0020             GOLETA, CA 93118-2565




COPYTRONICS INC                          COPYTRONICS INC                          CORA BAKER
2461 ROLAC RD                            PO BOX 5489                              3710 E THUNDERHEART TR
JACKSONVILLE, FL 32207                   JACKSONVILLE, FL 32247                   GILBERT, AZ 85297




CORAL POINT PLAZA                        CORAL POINT PLAZA                        CORAL POINT PLAZA
8420 W FLAGLER ST 214                    8420 W FLAGLER ST 216                    8420 W. FLAGLER STREET, SUITE 216
MIAMI, FL 33144                          MIAMI, FL 33144                          MIAMI, FL 33144




CORAL R MARSHALL                         CORAL REEF, LLC                          CORAL RIDGE NE 35 DRIVE LLC
PO BOX 8372                              C/O GREGORY COMMERCIAL                   6218 N FEDERAL HWY
HUNTINGTON BEACH, CA 92615               3415 WESTMINSTER SUITE 2016              FORT LAUDERDALE, FL 33308
                                         DALLAS, TX 75205




CORAL RIDGE NE 35 DRIVE, LLC             CORAL SANCHEZ                            CORAL SPRINGS FIRE DEPARTMENT
6218 NORTH FEDERAL HIGHWAY               10201 S. MAIN STREET                     2801 CORAL SPRINGS DR
FORT LAUDERDALE, FL 33308                HOUSTON, TX 77025                        CORAL SPRINGS, FL 33065




CORAL SPRINGS IMPROVEMENT DIST           CORAL WALK FL LLC                        CORAL WALK FL LLC
10300 NW MANOR CORAL                     C/O SCHOTTENSTEIN PG LLC                 C/O SCHOTTENSTEIN PROPERTY GROUP
CORAL SPRINGS, FL 33071                  DEP L3619                                LLC
                                         COLUMBUS, OH 43260-3619                  4300 E. FIFTH AVENUE
                                                                                  ATTN: EXECUTIVE VP GENERAL COUNSEL
                                                                                  COLUMBUS, OH 43219
CORAL WALK FL LLC       Case 18-12241-CSS
                                       CORBIN Doc    26 Filed
                                                MITCHELL         10/05/18   PageCORCENTRIC
                                                                                 430 of 1739
                                                                                           INC
C/O SCHOTTENSTEIN PROPERTY GROUP       10201 S. MAIN STREET                     DBA CORCENTRIC LLC
LLC                                    HOUSTON, TX 77025                        62861 COLLECTIONS CENTER DR
4300 E. FIFTH AVENUE                                                            CHICAGO, IL 60693
ATTN: EXECUTIVE VP OF LEASING
COLUMBUS, OH 43219


CORD CHASE                             CORD MOVING & STORAGE                    CORD ROBERTS
10201 S. MAIN STREET                   4101 RIDER TRAIL NORTH                   10201 S. MAIN STREET
HOUSTON, TX 77025                      EARTH CITY, MO 63045                     HOUSTON, TX 77025




CORDANO COMPANY                        CORDARRYL SIMS                           CORDARRYL SIMS
1112 11TH STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
SACRAMENTO, CA 95828                   HOUSTON, TX 77025                        HOUSTON, TX 77025




CORDAVEOUS BROWN                       CORDELIA STARNES                         CORDELL & ASSOCIATES INC
10201 S. MAIN STREET                   10201 S. MAIN STREET                     1045 WINTHORPE PARK DR.
HOUSTON, TX 77025                      HOUSTON, TX 77025                        ALPHARETTA, GA 30009




CORE ACQUISITIONS                      CORE DESIGN STUDIO                       CORE PROPERTY MANAGEMENT, LLC
STEVE HRBEK                            312 BAYLAND AVE                          ATTN: CHAD LUND
200 S. WACKER DRIVE, SUITE 1325        HOUSTON, TX 77009                        800 VANDERBILT BEACH ROAD
CHICAGO, IL 60606                                                               NAPLES, FL 34108




CORE PROPERTY MANAGEMENT, LLC          CORE STUDIO LLC                          COREA BATEY
JOE TURNBAUGH, SR. PM                  312 BAYLAND AVE                          8316 BLACKFOOT TR
410 PEACHTREE PARKWAY, SUITE 4165      HOUSTON, TX 77009                        JONESBORO, GA 30236
CUMMING, GA 30041




COREE GRAHAM                           CORELAND COMPANIES                       CORENTHIA CUNNINGHAM
10201 S. MAIN STREET                   17542 E 17TH STREET, SUITE 420           2157 RAMBLEWOOD DR
HOUSTON, TX 77025                      ATTN: LP TAYLOR                          AUGUSTA, GA 30906
                                       TUSTIN, CA 92780




CORESTAFF SUPPORT SERVICES INC         COREY ALLEN                              COREY BERGAMO
ATTN: ART WENDA                        10201 S. MAIN STREET                     10201 S. MAIN STREET
3414 PEACHTREE RD NE SUITE 375         HOUSTON, TX 77025                        HOUSTON, TX 77025
ATLANTA, GA 30326




COREY CAMPBELL                         COREY COVINGTON                          COREY CRAM
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




COREY DAVIS                            COREY DUPREE                             COREY GRIMES
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
COREY HILL              Case 18-12241-CSS    Doc 26
                                       COREY HILL         Filed 10/05/18   PageCOREY
                                                                                431 of 1739
                                                                                     HOUSTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




COREY J JOHNSON                        COREY JOHNSON                           COREY JOHNSON
1602 CARDINAL ST APT 214B              10201 S. MAIN STREET                    10201 S. MAIN STREET
NACOGDOCHES, TX 75961                  HOUSTON, TX 77025                       HOUSTON, TX 77025




COREY KEPPER                           COREY MANNING                           COREY MARTIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




COREY MURRAY                           COREY NEWTON                            COREY OLSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




COREY PARKER                           COREY RACHEL                            COREY ROBINSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




COREY UNDERWOOD                        COREY WAGONER                           COREY WASHINGTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    3043 REMINGTON ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       ATLANTA, GA 30344




COREY WILLIAMS                         COREY WILLIAMS                          CORINA HUERTA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CORINA TEJEDA                          CORINNA OLIPHANT                        CORINTHIAN REAL ESTATE, INC.
721 CENTER ST                          WHSE MANAGER-LAS VEGAS                  3217 MONTROSE BOULEVARD, SUITE 228
PASADENA, TX 77506                     3370 ST ROSE PKWY APT 135               HOUSTON, TX 77006
                                       HENDERSON, NV 89052




CORION LANDSCAPE MANAGEMENT            CORKY REINEKE                           CORLISS A. REINEKE
PO BOX 3188                            20110 COUNTY LINE RD                    20110 COUNTY LINE ROAD
FERNDALE, WA 98248                     EDGERTON, MO 64444                      EDGERTON, MO 64444




CORLIVING DISTRIBUTION LLC             CORNELL CAPITAL, LLC                    CORNELL CAPITAL, LLC
705 S 94TH AVE                         29735 SW TOWN CENTER LOOP W.            ATTN: SHAWN NILLI, NW RUGS
TOLLESON, AZ 85353                     ATTN: SHAWN NILLI, NW RUGS              29735 SW TOWN CENTER LOOP W.
                                       WILSONVILLE, OR 97070                   WILSONVILLE, OR 97070
CORNELL ROBERTSON       Case 18-12241-CSS    Doc
                                       CORNELL     26 Filed 10/05/18
                                               UNIVERSITY                     PageCORNER
                                                                                   432 ofII LTD
                                                                                            1739
2330 N 44TH ST                         341 PINE TREE RD                           3665A ROUTE 112
MILWAUKEE, WI 53210                    ITHACA, NY 14850                           CORAM, NY 11727




CORNER PARTNERS INC                    CORNER REAL ESTATE SERVICES                CORNERSTONE CAPITAL MANAGEMENT,
625 DEERFIELD RD 140                   4300 N. CENTRAL EXPRESSWAY, STE 255        LTD.
DEERFIELD, IL 60015                    ATTN: RYAN DAVIS                           310 SOUTH WILLIAMS BLVD, SUITE 180
                                       DALLAS, TX 75206                           TUCSON, AZ 85711




CORNERSTONE PROPERTIES -               CORNERSTONE PROPERTIES -                   CORNERSTONE TINLEY PARK LLC
HUNTINGTON, LLC                        HUNTINGTON, LLC                            60 REVERE DRIVE, SUITE 700
641 SIXTH STREET                       ATTN: KEITH A. MCGUIRE                     NORTHBROOK, IL 60062
ATTN: KEITH A. MCGUIRE                 641 SIXTH STREET
HUNTINGTON, WV 25701                   HUNTINGTON, WV 25701



CORO REALTY ADVISORS, LLC              CORONADO COMMERCEPLEX IV                   CORPORATE COST CONTROL INC
ATTN: JOHN LUNDEEN, III                9061 SANTA MONICA BLVD                     PO BOX 1180
3715 NORTHSIDE PARKWAY                 LOS ANGELES, CA 90069                      LONDONDERRY, NH 03053
BUILDING 400, SUITE 100
ATLANTA, GA 30327



CORPORATE CREATIONS INTERNATIONAL      CORPORATE EXECUTIVE BOARD CEB              CORPORATE PROPERTY INVESTORS
INC                                    3393 COLLECTIONS CENTER DR                 THE RETAIL PROPERTY TRUST
11380 PROSPERITY FARMS RD STE 221E     CHICAGO, IL 60693                          PO BOX 35467
PALM BEACH GARDENS, FL 33410                                                      NEWARK, NJ 07193




CORPORATE SERVICES CONSULTANTS LLC     CORPORATE SERVICES CONSULTANTS LLC         CORPORATION SERVICE COMPANY
1015 N GAY ST                          P.O. BOX 1048                              2711 CENTERVILLE ROAD
DANDRIDGE, TN 37725                    DANDRIDGE, TN 37725                        WILMINGTON, DE 19808




CORPORATION SERVICE COMPANY            CORRINA BOWEN                              CORRINE WEINER
PO BOX 13397                           8621 N MOUNT TABOR RD                      26575 MONT CALABASAS DR
PHILADELPHIA, PA 19101-3397            ELLETTSVILLE, IN 47429                     CALABASAS, CA 91302




CORRY SMITH                            CORSICANA BEDDING INC                      CORSICANA BEDDING INC
10201 S. MAIN STREET                   ATTN: CHIEF FINANCIAL OFFICER              ATTN: CHIEF FINANCIAL OFFICER
HOUSTON, TX 77025                      1420 W MOCKINGBIRD LN                      PO BOX 1050
                                       DALLAS, TX 75247                           CORSICANA, TX 75151




CORSICANA BEDDING INC                  CORTAVIUS JAMES                            CORTEZ ALLEN
PO BOX 1050                            10201 S. MAIN STREET                       10201 S. MAIN STREET
CORSICANA, TX 75151                    HOUSTON, TX 77025                          HOUSTON, TX 77025




CORTEZ BOULEVARD CROSSING LLC          CORTEZ BOULEVARD CROSSING LLC              CORTEZ COMMONS LLC
18167 US HIGHWAY 19 NORTH, SUITE 600   ATTN: ZABRINA RODRIGUEZ                    1071 W MORSE BLVD STE 100
CLEARWATER, FL 33764                   18167 US HIGHWAY 19 NORTH, SUITE 600       WINTER PARK, FL 32789
                                       CLEARWATER, FL 33764
CORTEZ DAVIS           Case 18-12241-CSS     Doc 26
                                      CORTIC CRISS        Filed 10/05/18   PageCORTLANDT
                                                                                433 of 1739
                                                                                         TOWN CENTER LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    C/O ACADIA REALTY TRUST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       411 THEODORE FREMD AVENUE, SUITE 300
                                                                               ATTN: LEGAL DEPARTMENT
                                                                               RYE, NY 10580



CORTLANDT TOWN CENTER LLC              CORTLANDT TOWN CENTER LLC               CORVALLIS MARKET CENTER, LLC
C/O NYLIFE REAL ESTATE HOLDINGS, LLC   PO BOX 419326                           C/O REGENCY CENTERS
51 MADISON AVENUE                      BOSTON, MA 02241-9326                   5335 SW MEADOWS - SUITE 295
ATTN: ASSET MANAGEMENT GROUP                                                   ATTN: ASHLEY GARRON
NEW YORK, NY 10010                                                             LAKE OSWEGO, OR 97035



CORWIN NIXON RIVERS LLC                CORWIN NIXON RIVERS LLC                 CORY DARROW
C/O REI EQUITY PARTNERS 8 LLC          C/O REI EQUITY PARTNERS 8, LLC          10201 S. MAIN STREET
5 RIVER RD STE 105                     5 RIVER ROAD, SUITE 105                 HOUSTON, TX 77025
WILTON, CT 06897                       WILTON, CT 06877




CORY DAVIS                             CORY ENGEL                              CORY GRIZZARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CORY HAMILTON                          CORY HANEY                              CORY HARRIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CORY HEDIN                             CORY HOFFMAN                            CORY JONES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CORY KINCHEN                           CORY KINNIEBREW                         CORY LEE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CORY LEMOINE                           CORY LUDENS                             CORY NELSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    3810 CREEKVIEW CIRCLE
HOUSTON, TX 77025                      HOUSTON, TX 77025                       ATLANTA, GA 30349




CORY PARKS                             CORY RIZZA                              CORY ROOT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




CORY SAYLOR                            CORY SIMPSON                            CORY SPRATLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
CORY TARWATER           Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                       CORY WARSHAWSKY                       PageCORY
                                                                                  434WATERS
                                                                                      of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




CORY WHITMAN                           CORY YOUNG                                CORYELL COUNTY
10201 S. MAIN STREET                   10201 S. MAIN STREET                      PO BOX 6
HOUSTON, TX 77025                      HOUSTON, TX 77025                         GATESVILLE, TX 76528-0006




CORYELL                                COSERV                                    COSERV
ATTN: PROPERTY TAX DEPT.               7701 S STEMMONS                           PO BOX 650785
PO BOX 6                               CORINTH, TX 76210                         DALLAS, TX 75265-0785
GATESVILLE, TX 76528-0006




COSHENA VI LTD                         COSHENA VI, LTD.                          COSMO BARTOLI
COMMERCIAL PROPERTY RESOURCES          C/O COMMERCIAL PROPERTY RESOURCES         10201 S. MAIN STREET
PO BOX 170730                          13091 POND SPRINGS ROAD, SUITE 350B       HOUSTON, TX 77025
AUSTIN, TX 78717                       AUSTIN, TX 78729




COSMO CARBONE                          COSTA VERDE                               COSTA VERDE
10201 S. MAIN STREET                   8720 COSTA VERDE BLVD                     REGENCY CENTERS LP
HOUSTON, TX 77025                      SAN DIEGO, CA 92122                       PO BOX 31001 0740
                                                                                 PASADENA, CA 91110




COSTAR REALTY INFORMATION INC          COSTAR REALTY INFORMATION INC             COSTNER CREATIVE LLC
2563 COLLECTION CENTER DR              POBOX 791123                              5426 DUMFRIES DR
CHICAGO, IL 60693                      BALTIMORE, MD 21279-1123                  HOUSTON, TX 77096




COTTON AZ LLC                          COTTON, NECTARRINA                        COTTONWOOD SQUARE LLC
NEW BELL TOWER LLC                     2329 EVETER DR UNIT B                     11361 OLIVE BLVD
7000 E BELLEVIEW AVE STE 300           LAS VEGAS, NV 89156-6064                  CREVE COEUR, MO 63141
GREENWOOD VILLAGE, CO 80111




COUNSEL PRESS INC                      COUNTRY FLOWERS AND GIFT                  COUNTRY GLEN LLC
PO BOX 65019                           1169 NIMMO PKWY STE 244                   143 OLD COUNTRY RD
BALTIMORE, MD 21264-5019               VIRGINIA BEACH, VA 23456                  CARLE PLACE, NY 11514




COUNTRY GLEN LLC                       COUNTRY INN & SUITES MERIDIAN             COUNTRY SIDE CENTER CORONA, L.P.
143 OLD COUNTRY ROAD                   3355 EAST PINE AVE.                       C/O AYRES GROUP
CARLE PLACE, NY 11514                  MERIDIAN, ID 83642                        355 BRISTOL STREET, SUITE A
                                                                                 COSTA MESA, CA 92626




COUNTRYWOOD 1031 LLC (82.3233%)        COUNTRYWOOD 1031 LLC (82.3233)            COUNTRYWOOD DST
C/O INLAND CONTINENTAL PROPERTY        C/O INLAND CONTINENTAL PROPERTY MGMT      2901 BUTTERFIELD RD
MANAGEMENT                             2901 BUTTERFIELD ROAD                     OAK BROOK, IL 60523
2901 BUTTERFIELD ROAD                  OAK BROOK, IL 60523
OAK BROOK, IL 60523
COUNTRYWOOD DST          Case 18-12241-CSS
                                        COUNTYDoc 26 Filed
                                              DEVELOPMENT    10/05/18
                                                          ASSOCIATES LLC PageCOUNTY
                                                                              435 ofDEVELOPMENT
                                                                                     1739       ASSOCIATES, LLC
BOX 936039                                RD 12 WESCOATS CORNER                33712 WESCOATS ROAD, UNIT 5
ATLANTA, GA 31193-6039                    PO BOX 212                           LEWES, DE 19958
                                          LEWES, DE 19958




COUNTY OF ADAMS STORMWATER                COUNTY OF ADAMS                      COUNTY OF ALAMANCE
STORMWATER MGMT DIVISION                  4430 S ADAMS COUNTY PARKWAY          118 W HARDEN ST
4430 S ADAMS COUNTY PKWY STE W2000B       SUITE W2000B                         GRAHAM, NC 27253
BRIGHTON, CO 80601-8212                   BRIGHTON, CO 80601-8212




COUNTY OF ALBEMARLE                       COUNTY OF AUTAUGA                    COUNTY OF BARROW
ASSESSMENTS DIVISION                      176 W 5TH ST
401 MCINTIRE RD ROOM 133                  PRATTVILLE, AL 36067
CHARLOTTESVILLE, VA 22902-4579




COUNTY OF BOONE                           COUNTY OF BREVARD OFFICE OF TAX      COUNTY OF CAMPBELL
BOONE CO COLLECTOR OF REV                 COLECTOR                             C/O CAMPBELL COUNTY FISCAL COURT
801 E WALNUT RM 118                       400 SOUTH ST, 6TH FLOOR              PO BOX 72958
COLUMBIA, MO 65201-4890                   TITUSVILLE, FL 32780                 NEWPORT, KY 41072




COUNTY OF CAPE GIRARDEAU                  COUNTY OF COLLIER                    COUNTY OF COLUMBIA TAX COLLECTOR
COUNTY COLLECTOR                          BOARD OF COUNTY COMMISSIONERS        135 NE HERNANDO AV STE125
1 BARTON SQ SUITE 303                     2800 N HORSESHOE DR                  LAKE CITY, FL 32055-4006
JACKSON, MO 63755                         NAPLES, FL 34104




COUNTY OF CULLMAN                         COUNTY OF CUYAHOGA                   COUNTY OF DEKALB
ATTN: SALES & USE TAX DEPT.               1219 ONTARIO ST                      ATTN: SALES & USE TAX DEPT.
PO BOX 2220                               CLEVELAND, OH 44113-1021             PO BOX 105942
CULLMAN, AL 35056-2220                                                         ATLANTA, GA 30348-5942




COUNTY OF DEKALB                          COUNTY OF DICKSON                    COUNTY OF DURHAM (TAXES)
INTERNAL AUDIT AND LICENSING              4 COURT SQUARE
PO BOX 100020                             CHARLOTTE, TN 37036
DECATUR, GA 30031-7020




COUNTY OF DUVAL                           COUNTY OF ELMORE                     COUNTY OF ESCAMBIA COUNTY TAX
C/O MICHAEL CORRIGAN                      JUDGE OF PROBATE                     COLLECTOR
TAX COLLECTOR231 E. FORSYTH ST ROOM       PO BOX 280                           PO BOX 1312
130                                       WETUMPKA, AL 36092                   PENSACOLA, FL 32591
JACKSONVILLE, FL 32202-3370



COUNTY OF ETOWAH                          COUNTY OF FAIRFAX                    COUNTY OF FAIRFAX
PROBATE JUDGE BOBBY JUNKINS               DEPT OF TAX ADMIN                    DEPT OF TAX ADMIN
PO BOX 187                                PO BOX 10201                         PO BOX 10203
GADSDEN, AL 35902                         FAIRFAX, VA 22035-0201               FAIRFAX, VA 22035-0203




COUNTY OF FAIRFAX                         COUNTY OF FORSYTH                    COUNTY OF FRANKLIN
FIRE MARSHALS OFFICE                      BUSINESS LICENSE DEPT                855 DINAH SHORE BLVD STE 3
12099 GOVERNMENT CENTER PKWY 3RD          110 E MAIN ST STE 100                WINCHESTER, TN 37398
FLOOR                                     CUMMING, GA 30040
FAIRFAX, VA 22035
COUNTY OF GLOUCESTER Case      18-12241-CSS
                                         COUNTYDoc 26 Filed 10/05/18
                                               OF GREENE                       PageCOUNTY
                                                                                    436 ofOF1739
                                                                                             GREENE
C/O CIRCUIT COURT CLERK                   C/O TREASURER                            COLLECTOR OF REVENUE
7400 JUSTICE DRIVE ROOM 327               69 GREENE ST                             940 N BOONVILLE AVE
GLOUCESTER, VA 23061                      XENIA, OH 45385                          SPRINGFIELD, MO 65802




COUNTY OF GREENE                          COUNTY OF GREENVILLE ALARM BILLING       COUNTY OF HAMILTON
COMMISSIONER OF REVENUE                   4 MCGEE ST                               138 E COURT ST
PO BOX 438                                GREENVILLE, SC 29601                     CINCINNATI, OH 45202
STANARDSVILLE, VA 22973




COUNTY OF HAWAII - SOLID WASTE DIVISION   COUNTY OF HAWAII WASTEWATER DIV          COUNTY OF HENRICO
345 KEKUANAOA ST STE 41                   COUNTY DIRECTOR OF FINANCE               4301 E PARHAM RD
HILO, HI 96720                            25 AUPUNI ST RM 210                      HENRICO, VA 23228
                                          HILO, HI 96720




COUNTY OF HENRICO                         COUNTY OF HENRICO-VIRGINIA               COUNTY OF INDIAN RIVER
PO BOX 3369                               DEPT OF FINANCE                          BOARD OF COUNTY COMMISSIONERS
RICHMOND, VA 23228-9769                   PO BOX 90790                             1801 27TH ST
                                          LOCKBOX 4732                             VERO BEACH, FL 32960
                                          HENRICO, VA 23228-0790



COUNTY OF JAMES CITY                      COUNTY OF JAMES CITY-TREASURER           COUNTY OF JEFFERSON
PO BOX 283                                P.O.BOX 8701                             COLLECTOR OF REVENUE
WILLIAMSBURG, VA 23187-0283               WILLIAMSBURG, VA 23187-8701              PO BOX 100
                                                                                   HILLSBORO, MO 63050




COUNTY OF KAUAI FINANCE DEPT              COUNTY OF KNOX                           COUNTY OF LEHIGH
4444 RICE ST A-466                        KNOX CO CLERK                            LEHIGH COUNTY FISCAL OFFICE
LIHUE, HI 96766                           PO BOX 1566                              17 S 7TH ST ROOM 119
                                          KNOXVILLE, TN 37901                      ALLENTOWN, PA 18101-2400




COUNTY OF LEXINGTON                       COUNTY OF LOUDOUN                        COUNTY OF MAUI - SOLID WASTE DIVISION
212 SOUTH LAKE DR STE 102                 ATTN: PROPERTY TAX DEPT.                 ONE MAIN PLAZA 2200 MAIN ST STE 200
LEXINGTON, SC 29072                       PO BOX 1000                              WAILUKU, HI 96793-1640
                                          LEESBURG, VA 20177-1000




COUNTY OF MECKLENBURG                     COUNTY OF MONROE                         COUNTY OF MONTGOMERY
C/O CITY COUNTY TAX COLLECTOR             BUSINESS LICENSE DEPT                    TAX ASSESOR-COLLECTOR
PO BOX 1400                               PO BOX 1129                              400 N SAN JACINTO
CHARLOTTE, NC 28201-1400                  KEY WEST, FL 33041-1129                  CONROE, TX 77301-2823




COUNTY OF MORGAN                          COUNTY OF ORANGE                         COUNTY OF ORANGE
ATTN: SALES & USE TAX DEPT.               C/O SCOTT RANDOLPH                       PO BOX 545100
PO BOX 696                                PO BOX 2551                              ORLANDO, FL 32854-5100
DECATUR, AL 35602                         ORLANDO, FL 32802




COUNTY OF OSCEOLA TAX COLLECTOR           COUNTY OF ROANOKE VIRGINIA               COUNTY OF ROANOKE
PO BOX 422105                             ATTN: TAX COLLECTOR                      PO BOX 20409
KISSIMMEE, FL 34742-2105                  PO BOX 791269                            ROANOKE, VA 24018
                                          BALTIMORE, MD 21279-1269
                      Case
COUNTY OF RUSSELL-JUDGE     18-12241-CSS
                        OF PROBATE    COUNTYDoc    26 Filed
                                              OF SACRAMENTO    10/05/18   PageCOUNTY
                                                                               437 ofOF1739
                                                                                        SAINT CLAIR
PO BOX 700                            700 H STREET RM 1710                    ATTN: SALES & USE TAX DEPT.
PHENIX CITY, AL 36868                 SACRAMENTO, CA 95814                    P O BOX 23980
                                                                              BELLEVILLE, IL 62223




COUNTY OF SEVIER                     COUNTY OF STARK                          COUNTY OF SUMMIT
125 COURT AVE STE 202E               110 CENTRAL PLAZA S SUITE 210            PO BOX 128
SEVIERVILLE, TN 37862                CANTON, OH 44702                         COALVILLE, UT 84017




COUNTY OF TANEY                      COUNTY OF TAZEWELL                       COUNTY OF VOLUSIA TAX COLLECTOR
PO BOX 278                           11 S 4TH ST STE 124                      123 W INDIANA AVE RM 103
FORSYTH, MO 65653                    PEKIN, IL 61554                          DELAND, FL 32720




COUNTY OF VOLUSIA                    COUNTY OF YORK TREASURER                 COUNTY OF YORK TREASURER
ATTN: PROPERTY TAX DEPT.             ATTN CANDICE D KELLEY                    P.O. BOX 10
PO BOX 23237                         120 ALEXANDER HAMILTON BLVD              YORKTOWN, VA 23690
TAMPA, FL 33623-2237                 YORKTOWN, VA 23690




COUNTY OF YORK VIRGINIA              COUNTY OF YORK                           COUNTY WASTE - 8010
ANN H. THOMAS, COMMISSIONER OF THE   TREASURER                                1927 ROUTE 9
REV                                  P.O. BOX 251                             CLIFTON PARK, NY 12065
P O BOX 189                          YORKTOWN, VA 23690-0251
YORKTOWN, VA 23690-0189



COUNTY WASTE - 8010                  COUPONCABIN LLC                          COUPONCABIN LLC
P.O. BOX 8010                        1319 119TH ST                            9445 INDIANAPOLIS BLVD STE 157
CLIFTON PARK, NY 12065-8010          WHITING, IN 46394                        HIGHLAND, IN 46322




COURIER TIMES INC                    COURIER-POST                             COURISTAN INC
PO BOX 360276                        GANNETT NJ                               PO BOX 9464
PITTSBURGH, PA 15251-6276            PO BOX 677304                            UNIONDALE, NY 11555-9464
                                     DALLAS, TX 75267-7304




COURT COLLECTIONS USA                COURTESY FORD LINCOLN INC                COURTNEY BOYAR
1820 W CARSON ST 202-181             1600 YELLOWSTONE                         10201 S. MAIN STREET
TORRANCE, CA 90501                   POCATELLO, ID 83201                      HOUSTON, TX 77025




COURTNEY CORCORAN                    COURTNEY CURRY                           COURTNEY ESTABROOK
10201 S. MAIN STREET                 10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                        HOUSTON, TX 77025




COURTNEY FREEMAN                     COURTNEY GARCIA                          COURTNEY GRAVES
1911 MANGER LN                       10201 S. MAIN STREET                     3354 RODGERDALE DRIVE 227
ANDERSON, IN 46011                   HOUSTON, TX 77025                        HOUSTON, TX 77042
COURTNEY GROSSER       Case 18-12241-CSS    Doc
                                      COURTNEY   26 Filed 10/05/18
                                               HAYWARD               PageCOURTNEY
                                                                          438 of 1739
                                                                                  HOWELL
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




COURTNEY HYLTON                       COURTNEY INDUSTRIAL BATTERY        COURTNEY IRIZARRY
10201 S. MAIN STREET                  6522 N 40TH ST                     10201 S. MAIN STREET
HOUSTON, TX 77025                     MILWAUKEE, WI 53209                HOUSTON, TX 77025




COURTNEY KITCHEN                      COURTNEY KOLKMAN                   COURTNEY LAKE
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




COURTNEY LEWIS                        COURTNEY MARTELL                   COURTNEY MATTHEWS
10201 S. MAIN STREET                  10201 S. MAIN STREET               110 MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                  WESTON, GA 31832




COURTNEY MCCARTHY                     COURTNEY MCWHORTER                 COURTNEY MEACHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET               2684 MORGANTOWN RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                  RUSSELLVILLE, KY 42276




COURTNEY OLIVER                       COURTNEY PATTON                    COURTNEY PUGH
10201 S. MAIN STREET                  10201 S. MAIN STREET               11070 KATY FWY 1211
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77043




COURTNEY SMITH                        COURTNEY STUDER                    COURTNEY THOMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025




COURTNEY WALKER                       COURTNEY WARREN                    COURTNEY WHERRY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




COURTNEY WRIGHT                       COURTNIE MARTINDALE                COVARIO INC DBA RIO SEO INC
10201 S. MAIN STREET                  10201 S. MAIN STREET               9255 TOWNE CENTRE DRIVE STE 600
HOUSTON, TX 77025                     HOUSTON, TX 77025                  SAN DIEGO, CA 92121




COVENTRY II DDR PHX SPE LLC           COVERALL NORTH AMERICA INC         COVERALL OF OREGON
FBO JEFFERIES LOANCORE LLC            2955 MOMENTUM PLACE                9115 SW OLESON RD STE 308
PO BOX 931092                         CHICAGO, IL 60689                  PORTLAND, OR 97223
CLEVELAND, OH 44193
                     Case
COVERALL OF WASHINGTON         18-12241-CSS     Doc 26 Filed
                                         COVEY COMMERCIAL       10/05/18
                                                          REAL ESTATE         PageCOVINGTON
                                                                                   439 of 1739
                                                                                            & BURLING LLP
PO BOX 88696                              SERVICES                                620 EIGTH AVE
TUKWILA, WA 98138                         5800 ARMADA DRIVE, SUITE 200            NEW YORK, NY 10018
                                          CARLSBAD, CA 92008




COVINGTON & BURLING LLP                   COVINGTON ESPLANADE LLC                 COVINGTON ESPLANADE LLC
ATTN: ACCT DEPT                           27027 185TH AVE SE                      PO BOX 101197
1201 PENNSYLVANIA AVE NW                  COVINGTON, WA 98042                     PASADENA, CA 91189-1197
WASHINGTON, DC 20004-2401




COVINGTON ESPLANADE, LLC                  COVINGTON FLASH VENTURE LLC             COVINGTON HOLDINGS LLC
C/O CLARION PARTNERS LLC                  THE TRILOGY GROUP LLC                   1313 N MARKET ST
601 S. FIGUEROA STREET, SUITE 3400        6400 POWERS FERRY RD NW STE 100         WILMINGTON, DE 19894-0001
ATTN: RETAIL ASSET MANAGER                ATLANTA, GA 30339
LOS ANGELES, CA 90017



COVINGTON HOLDINGS LLC                    COVINGTON REALTY PARTNERS, LLC          COWBOY OUTFITTERS USA
C/O JSH PROPERTIES, INC.                  ATTN: STEVE WHITE                       1501 BEXAR CROSSING
923 POWELL AVENUE SW, SUITE 101           30 SOUTH WACKER DRIVE, SUITE 2750       SAN ANTONIO, TX 78232
RENTON, WA 98057                          CHICAGO, IL 60606




COWETA COUNTY TAX COMMISSIONER            COWETA FAYETTE EMC                      COWETA FAYETTE EMC
ATTN: PROPERTY TAX DEPT.                  807 COLLINSWORTH RD                     SEDC
P O BOX 195                               PALMETTO, GA 30268                      P.O. BOX 530812
NEWNAN, GA 30264-0195                                                             ATLANTA, GA 30353-0812




COWLES PUBLISHING COMPANY                 COWLITZ COUNTY PUD                      COWLITZ
THE SPOKESMAN REVIEW                      961 12TH AVENUE                         ATTN: PROPERTY TAX DEPT.
999 W RIVERSIDE AVENUE                    LONGVIEW, WA 98632                      207 FOURTH AVE N ROOM 202
SPOKANE, WA 99201                                                                 KELSO, WA 98626-4192




COX BUSINESS SERVICES                     COX BUSINESS                            COX COMMUNICATIONS PHOENIX
PO BOX 2742                               PO BOX 771911                           PO BOX 53249
OMAHA, NE 68103-2742                      DETROIT, MI 48277-1911                  PHOENIX, AZ 85072-3249




COX COMMUNICATIONS                        COX MEDIA - HAMPTON ROADS               COX MEDIA GROUP
DEPT 781121                               PO BOX 404328                           DBA PALM BEACH NEWSPAPER
PO BOX 78000                              ATLANTA, GA 30384                       2751 SOUTH DIXIE HWY
DETROIT, MI 48278-1121                                                            WEST PALM BEACH, FL 33405-1233




COX MEDIA LLC                             COX MEDIA SAN DIEGO                     COX OHIO ADVERTISING DAYTON
FILE 50470                                FILE 50456                              1611 S. MAIN STREET
LOS ANGELES, CA 90074-0470                LOS ANGELES, CA 90074                   DAYTON, OH 45409




COX RADIO ATLANTA                         COX RADIO DAYTON                        COX RADIO INC
1601 PEACHTREE ST NE                      PO BOX 83192                            PO BOX 83193
ATLANTA, GA 30309                         CHICAGO, IL 60691-0192                  CHICAGO, IL 60691
COX TEXAS NEWSPAPERS LP  Case   18-12241-CSS
                                          COX   Doc 26     Filed 10/05/18   PageCOX
                                                                                 440 of 1739
PO BOX 645255                            ATTN COLLECTIONS                       DEPT 781121
CINCINNATI, OH 45264-5255                1550 W DEER VALLEY RD                  P.O. BOX 78000
                                         PHOENIX, AZ 85027                      DETROIT, MI 48278-1121




COX                                      COX/DIRECT MARKETING SOLUTIONS         COY LAGOMARSINO
P.O. BOX 66523                           1333 W BROADWAY RD                     10201 S. MAIN STREET
ST. LOUIS, MO 63166-6523                 TEMPE, AZ 85282                        HOUSTON, TX 77025




COYOTE LOGISTICS                         COZART TOWNES                          COZZIA USA LLC
PO BOX 742636                            679 E WOODDOCK DR                      14515 E DON JULIAN RD
ATLANTA, GA 30374-2636                   SAINT PAUL, MN 55125                   CITY OF INDUSTRY, CA 91746




COZZIA USA LLC                           CP NEW HOPE LTD                        CP VENTURE FIVE AMC LLC
861 S OAK PARK RD                        ATTN: ACCOUNTS RECEIVABLE              PO BOX 277901
COVINA, CA 91724                         500 W 5TH ST STE 700                   ATLANTA, GA 30384-7901
                                         AUSTIN, TX 78701




CP1                                      CPC JACKSONVILLE SJTC LLC              CPC JACKSONVILLE SJTC, LLC
NLA UG DEERFIELD LLC                     800 VANDERBILT BEACH RD                C/O CORE PROPERTY MGMT, LLC
250 WASHINGTON ST                        NAPLES, FL 34108                       410 PEACHTREE PARKWAY, SUITE 4165
PRATTVILLE, AL 36067                                                            ATTN: JOHN GRAHAM
                                                                                CUMMING, GA 30041



CPC JACKSONVILLE SJTC, LLC               CPF ALAMO CROSSING LLC                 CPF ALAMO CROSSING LLC
C/O CORE PROPERTY MGMT, LLC              C/O STREAM REALTY PARTNERS             DBA CORNERSTONE HOLDING LP
410 PEACHTREE PARKWAY, SUITE 4165        PO BOX 732453                          ONE FINANCIAL PLAZA STE 1700
ATTN: LEASE ADMINISTRATION               DALLAS, TX 75373                       HARTFORD, CT 06103
NAPLES, FL 31408



CPI SECURITY SYSTEMS                     CPL BUSINESS                           CPL BUSINESS
4200 SANDY PORTER ROAD                   P.O. BOX 642665                        P.O. BOX 70220
CHARLOTTE, NC 28273                      PITTSBURGH, PA 15264-2665              PITTSBURGH, PA 19176-0220




CPP CEEKSIDE AT COLFAX LLC               CPS ENERGY                             CPS ENERGY
1120 N LINCOLN ST STE 1607               ATTN BANKRUPTCY SECTION                PO BOX 2678
DENVER, CO 80203-2141                    145 NAVARRO, MAIL DROP 110909          SAN ANTONIO, TX 78289-0001
                                         SAN ANTONIO, TX 78205




CPT ARLINGTON HEIGHTS 1, LP              CPT ARLINGTON HEIGHTS 1, LP            CPT ARLINGTON HIGHLANDS 1 LP
C/O FAIRBURNE PROPERTIES                 C/O FAIRBURNE PROPERTIES               1999 BRYAN ST STE 900
1 EAST WACKER DRIVE, SUITE #2900         1 EAST WACKER DRIVE, SUITE 2900        DALLAS, TX 75201-3140
CHICAGO, IL 60601                        CHICAGO, IL 60601




CPT ARLINGTON HIGHLANDS 1 LP             CPT SETTLERS MARKET LLC                CPT SETTLERS MARKET, LLC
PO BOX 206250                            C/O ROSENTHAL PROPERTIES LLC           C/O AEW CAPITAL MANAGEMENT, LP
DALLAS, TX 75320-6250                    1945 OLD GALLOWS RD STE 300            TWO SEAPORT LANE, WORLD TRADE CTR
                                         VIENNA, VA 22182                       EAST
                                                                                ATTN: ASSET MANAGER, SETTLERS MARKET
                                                                                BOSTON, MA 02210
                       Case 18-12241-CSS
CPT SETTLERS MARKET, LLC              CPT THEDoc    26 LLCFiled
                                               LANDING            10/05/18     PageCPT
                                                                                    441THEofLANDING
                                                                                              1739 LLC
C/O ROSENTHAL PROPERTIES, LLC         828 N 10TH PL                                C/O VESTAR PROPERTY MANAGEMENT
1945 OLD GALLOWS ROAD, SUITE 300      RENTON, WA 98057-5538                        2425 E CAMELBACK RD STE 750
VIENNA, VA 22182                                                                   PHOENIX, AZ 85013




CPT THE LANDING, LLC                    CPYR SHOPPING CENTER LLC                   CQS CAPITAL LLC
C/O VESTAR DEVELOPMENT CO.              C/O JBG ROSENFELD RETAIL PROPERTIES,       12413 DEERVIEW DR.
2425 EAST CAMELBACK ROAD, SUITE 750     LLC                                        NOBLESVILLE, IN 46060
PHOENIX, AZ 85013                       4445 WILLARD AVE, SUITE 700
                                        CHEVY CHASE, MD 20815



CR&R INCORPORATED                       CR&R INCORPORATED                          CRABTREE, RHONDA
P.O. BOX 7183                           STANTON 11292 WESTERN AVE                  6424 JASPER WAY
PASADENA, CA 91109-7183                 STANTON, CA 90680                          CARLSBAD, CA 92009-5200




CRAFTSMAN LABEL INC                     CRAFTSMEN CONTRACTORS LLC                  CRAFTSMEN CONTRACTORS LLC
13101 SE 84TH AVE STE B                 801 BARROW ST STE 410                      DRAWER 2298
CLACKAMAS, OR 97015-6920                HOUMA, LA 70360                            PO BOX 5935
                                                                                   TROY, MI 48007




CRAIG ALAN SCHILLER                     CRAIG ALLEN                                CRAIG AUSTIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




CRAIG AUSTIN                            CRAIG BAGLEY                               CRAIG BARNARD
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




CRAIG BAUM                              CRAIG BIDDLE                               CRAIG CHANCEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




CRAIG CIOTTI                            CRAIG CROSSING 1031 LLC                    CRAIG D WALLEY
10201 S. MAIN STREET                    PO BOX 204420                              573 S 6TH ST
HOUSTON, TX 77025                       DALLAS, TX 75320-4420                      COLUMBUS, OH 43206




CRAIG DADY                              CRAIG DANTONIO                             CRAIG DEEKEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




CRAIG DORN                              CRAIG DRESS                                CRAIG GEURIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                       705 OXFORD LAKES CT
HOUSTON, TX 77025                       HOUSTON, TX 77025                          MILTON, GA 30004
CRAIG HAMMOND          Case 18-12241-CSS     Doc 26
                                      CRAIG HARRISON      Filed 10/05/18     PageCRAIG
                                                                                  442 HILL
                                                                                       of 1739
10201 S. MAIN STREET                   13032 FOREST CENTRE COURT                 10201 S. MAIN STREET
HOUSTON, TX 77025                      LOUISVILLE, KY 40223                      HOUSTON, TX 77025




CRAIG LAPORTA                          CRAIG LEVY                                CRAIG LEWIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




CRAIG MCANDREWS                        CRAIG MCLEAN                              CRAIG MCNEASE
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




CRAIG MIDDLETON                        CRAIG MILLER                              CRAIG MORGAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




CRAIG P. FILICE                        CRAIG P. FILICE                           CRAIG PERALTA
7888 WREN AVENUE, SUITE D143           ATTN: CRAIG FILICE                        6863 CAMROSE DR
ATTN: CRAIG FILICE                     7888 WREN AVENUE, SUITE D143              LOS ANGELES, CA 90068
GILROY, CA 95020                       GILROY, CA 95020




CRAIG PFISTER                          CRAIG PHILLIPS                            CRAIG PIERCE
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




CRAIG PTASZENSKI                       CRAIG RAINEY                              CRAIG REIMER
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




CRAIG SIMON                            CRAIG T CLIFFORD                          CRAIG THOMAS
10201 S. MAIN STREET                   C/O CLIFFORD ENTERPRISES PROP. MGMT       10201 S. MAIN STREET
HOUSTON, TX 77025                      818 W RIVERSIDE AVE 660                   HOUSTON, TX 77025
                                       SPOKANE, WA 99201




CRAIG TUCKER                           CRAIG WIENKE                              CRAIG WOLF
10201 S. MAIN STREET                   7415 N DONNELLY                           10201 S. MAIN STREET
HOUSTON, TX 77025                      KANSAS CITY, MO 64158                     HOUSTON, TX 77025




CRAIGHEAD COUNTY TAX COLLECTOR         CRANBERRY SQUARE LLC                      CRANBERRY TOWNSHIP
ATTN: PROPERTY TAX DEPT.               C/O SAUL CENTERS, INC.                    2525 ROCHESTER RD STE 400
511 UNION ST STE 107                   7501 WISCONSIN AVENUE, SUITE 1500E        CRANBERRY TWP, PA 16066
JONESBORO, AR 72401-2863               BETHESDA, MD 20814
                       Case 18-12241-CSS
CRANBERRY TWP PYMNT PROCESSING                DocTWP
                                      CRANBERRY     26 PYMNT
                                                         Filed 10/05/18
                                                             PROCESSING   PageCRANBERY
                                                                               443 of 1739
                                                                                       SQUARE LLC
2525 ROCHESTER RD                     P.O. BOX 6075                           PO BOX 38042
STE 400                               HERMITAGE, PA 16148-1075                BALTIMORE, MD 21297
CRANBERRY, PA 16066-6499




CRANBROOK VILLAGE LIMITED              CRANBROOK VILLAGE LIMITED              CRANE & NORCROSS
PARTNERSHIP                            PARTNERSHIP                            TWO N LASALLE ST STE 900
C/O ATMF CRANBROOK VILLAGE, LLC        C/O ATMF CRANBROOK VILLAGE, LLC        CHICAGO, IL 60602-4059
6735 TELEGRAPH ROAD, SUITE 110         6735 TELEGRAPH ROAD, SUITE 110
BLOOMFIELD HILLS, MI 48301             BLOOMFIELD HILLS, MI 48301-3143



CRANFILL SUMNER & HARTZOG LLP          CRANFILL SUMNER & HARTZOG LLP          CRANSTON
5420 WADE PARK BLVD STE 300            PO BOX 27808                           ATTN: PROPERTY TAX DEPT.
RALEIGH, NC 27607                      RALEIGH, NC 27611-7808                 869 PARK AVENUE
                                                                              CRANSTON, RI 02910




CRAVEN COUNTY TAX COLLECTOR            CRAVEN SHAFFER NORTH BAY VILLAGE LLC   CRAZY MONKEY INC
ATTN: PROPERTY TAX DEPT.               VR                                     NEUMAN & ASSOC
226 POLLOCK ST                         ATTN: N BAY VILLAGE LLC PROP MGR       16255 VENTURA BLVD STE 920
NEW BERN, NC 28560-4981                2121 PONCE DE LEON BLVD STE 1250       ENCINO, CA 91436
                                       CORAL GABLES, FL 33134



CRC IV REIT LLC                        CRCC                                   CRE CONSULTANTS
CR WESR ASHLEY LLC                     5050 TILGHMAN STREET ATE 120           12140 CARISSA COMMERCE COURT, SUITE
1427 CLARKVIEW RD STE 500              ALLENTOWN, PA 18104                    102
BALTIMORE, MD 21209                                                           FORT MYERS, FL 33966




CREATIVE CIRCLE LLC                    CREATIVE FLOORS COMMERCIAL LLC         CREATIVE IMAGES BY MARGIE
PO BOX 74008799                        830 SR 436                             4301 FRUITVALE AVE 153
CHICAGO, IL 60674-8799                 CASSELBERRY, FL 32707                  BAKERSFIELD, CA 93308




CREATIVE KITCHEN LLC                   CRECY VAUGHNS                          CREDIT SUISSE AG, CAYMAN ISLANDS
1633 BONNIE BRAE                       10201 S. MAIN STREET                   BRANCH
HOUSTON, TX 77006                      HOUSTON, TX 77025                      AS COLLATERAL AGENT
                                                                              11 MADISON AVENUE
                                                                              NEW YORK, NY 10010



CREEKSIDE CENTER PARTNERS LTD          CREEKSIDE TIC LLC                      CREEKSTONE FW LLC
9801 WESTHEIMER STE 250                C/O BROWN AND ASSOCIATES               66010 JOSEPH STREET
HOUSTON, TX 77042                      7687 W 88TH AVE                        ATTN; JOSEPH HENDRICKS
                                       ARVADA, CO 80005                       VANDALIA, MN 49095




CREEKSTONE/JUBAN I, LLC                CREEKSTONE/JUBAN I, LLC                CREEKWOOD COMMONS LLC
6765 CORPORATE BOULEVARD               ATTN: STEPHEN D. KELLER                COPAKEN BROOKS - LOCKBOX
ATTN: STEPHEN D. KELLER                6765 CORPORATE BOULEVARD               P.O. BOX 413952
BATON ROUGE, LA 70809                  BATON ROUGE, LA 70809                  KANSAS CITY, MO 64141




CREF X LV CROSSROADS LLC               CREF X LV CROSSROADS LLC               CREIGHTON COMMERCIAL DEVELOPMENT
C/O VESTAR DEVELOPMENT CO.             CITIZENS BANK NA                       900 SW PINE ISLAND ROAD, SUITE 202
2225 VILLAGE WALK DRIVE, SUITE 171     PO BOX 515749                          CAPE CORAL, CA 33991
ATTN: NATALIE ALLRED                   LOS ANGELES, CA 90051-5749
HENDERSON, NV 89052
CRES INCORPORATED       Case 18-12241-CSS      Doc 26 Filed
                                       CRES, INCORPORATED        10/05/18     PageCRES,
                                                                                   444INCORPORATED
                                                                                        of 1739
C/O COLLIERS INTERNATIONAL-LB UNIT 551 192 LEXINGTON AVENUE                       ATTN: JEFF SILVER
PO BOX 4857                            ATTN: JEFF SILVER                          192 LEXINGTON AVENUE
PORTLAND, OR 97208-4857                NEW YORK, NY 10016                         NEW YORK, NY 10016




CRES, INCORPORATED                     CRESCENDO COMMERCIAL                       CRESHAWN BRADFORD
C/O COLLIERS INTERNATIONAL             6929 WEST 130TH STREET                     10201 S. MAIN STREET
666 FIFTH AVENUE, 4TH FLOOR            CLEVELAND, OH 44130                        HOUSTON, TX 77025
NEW YORK, NY 10103




CRESHAWN BRADFORD                      CREST COMMERCIAL REAL ESTATE               CREST COMMERCIAL REAL ESTATE, INC.
10201 S. MAIN STREET                   9319 LBJ FREEWAY, SUITE 106                9330 LBJ FREEWAY, SUITE 1080
HOUSTON, TX 77025                      DALLAS, TX 75243                           ATTN: ALLISON EDWARDS
                                                                                  DALLAS, TX 75243




CREST PROPERTIES LLC                   CREST PROPERTY LLC                         CRESTVIEW COLLECTION
WASHINGTON FEDERAL                     C/O WASHINGTON FEDERAL                     4300 CONCORDE RD
5430 LBJ FWY STE 100                   5430 LBJ FREEWAY, SUITE 100                MEMPHIS, TN 38118
DALLAS, TX 75205                       DALLAS, TX 75205




CRESTVIEW HILLS TOWN CENTER, LLC       CRESTVIEW HILLS TOWN CENTER, LLC           CRESTVIEW HILLS
C/O JEFFREY R. ANDERSON REAL ESTATE,   C/O JEFFREY R. ANDERSON REAL ESTATE,       ATTN: INCOME TAX DEPT.
INC                                    INC.                                       3825 EDWARDS RD STE 200
3825 EDWARDS ROAD, SUITE 200           3825 EDWARDS ROAD, SUITE 200               CINCINNATI, OH 45209
CINCINNATI, OH 45209                   CINCINNATI, OH 45209



CRETON DIXON                           CRG EVENTS                                 CRH CALIFORNIA WATER INC
10201 S. MAIN STREET                   2200 ALASKAN WAY SUITE 300                 DBA CULLIGAN OF ONTARIO
HOUSTON, TX 77025                      SEATTLE, WA 98121                          1925 BURGUNDY PL
                                                                                  ONTARIO, CA 91761




CRH OHIO LTD DBA CULLIGAN OF           CRI WEST CARMEL, LLC                       CRICKET COX (KRISTINA)
CLEVELAND                              C/O CASTO                                  1045 CLAIRBORNE DR.
4722 SPRING RD                         250 CIVIC CENTER DRIVE, SUITE 500          ALPHARETTA, GA 30009
BROOKLYN HEIGHTS, OH 44131             ATTN: LEGAL DEPT./LEASING
                                       COLUMBUS, OH 43215



CRICKET GOFORTH                        CRICKET GOFORTH                            CRIM & ASSOCIATES
10201 S. MAIN STREET                   10201 S. MAIN STREET                       ATTN: ROBERT CRIM, JR.
HOUSTON, TX 77025                      HOUSTON, TX 77025                          210 SANDY SPRINGS PLACE
                                                                                  ATLANTA, GA 30328




CRIS RAMIREZ                           CRISER DEVELOPMENT LLC                     CRISP LADEW FIRE LIFE SAFETY SYSTEMS
10201 S. MAIN STREET                   PO BOX 782466                              5201 SAUNDERS RD
HOUSTON, TX 77025                      WICHITA, KS 67278                          FORT WORTH, TX 76119




CRISSY HENDERSON                       CRISTA MEDIA SEATTLE                       CRISTA MINISTRIES
10201 S. MAIN STREET                   19303 FREMONT AVE N                        19303 FREMONT AVE N
HOUSTON, TX 77025                      SEATTLE, WA 98133                          SEATTLE, WA 98133
CRISTA MINISTRIES        Case 18-12241-CSS
                                        CRISTALDoc
                                                 PEREZ26 Filed   10/05/18   PageCRISTHIAN
                                                                                 445 of 1739
                                                                                          BALDERAS
CRISTA MEDIA SPIRIT 105.9 KFMK-FM       10201 S. MAIN STREET                    10201 S. MAIN STREET
3600 N CAPITAL OF TX HWY STE A 200      HOUSTON, TX 77025                       HOUSTON, TX 77025
AUSTIN, TX 78746




CRISTHIAN VILLALOBOS                   CRISTIAN DENNIS-VEGA                     CRISTIAN RODRIGUEZ-BOLANOS
DBA VILLALOBOS TRUCKING                10201 S. MAIN STREET                     10201 S. MAIN STREET
2429 W YUMA ST                         HOUSTON, TX 77025                        HOUSTON, TX 77025
PHOENIX, AZ 85009




CRISTIAN SALAS                         CRISTINA ARQUETTE                        CRISTINA BRYANT
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CRISTINA GARCIA                        CRISTINA GUTIERREZ                       CRISTINA HETRICK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




CRISTINA MOORE                         CRISTINA SIKICH                          CRISTOBAL MARIN
517 SISKIN PL                          10201 S. MAIN STREET                     10201 S. MAIN STREET
WOODLAND HILLS, CA 91365               HOUSTON, TX 77025                        HOUSTON, TX 77025




CRISTOFER WILLIAMS                     CRISTOPHER ESCOBAR                       CRITICAL START LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                     6100 TENNYSON PKWY STE 250
HOUSTON, TX 77025                      HOUSTON, TX 77025                        PLANO, TX 75024




CRM MANAGER LLC                        CRM SERVICES CORPORATION                 CRO BTC PHOENIX ASSOC. LLC
5 GREAT VALLEY PARKWAY                 DBA CRM MANAGER LLC                      16842 N 7TH ST 7
MALVERN, PA 19355                      5 GREAT VALLEY PARKWAY                   PHOENIX, AZ 85022
                                       MALVERN, PA 19355




CRO BTC PHOENIX ASSOC. LLC             CRO BTC PHOENIX ASSOCIATES, LLC          CROMWELL FIRE DIST-WATER DIV
P.O. BOX 749962                        C/O NEXUS DEVELOPMENT CORPORATION        ONE WEST STREET
LOS ANGELES, CA 90074-9962             16842 NORTH 7TH STREET, SUITE 7          CROMWELL, CT 06416-2123
                                       PHOENIX, AZ 85022




CROMWELL TAX COLLECTOR                 CRONIN, ROBERT                           CRONIN, ROBERT
TAX DEPARTMENT                         588 THORN RUN RD.                        ATTN: PAUL SCHOFIELD, JR.
41 WEST ST                             MOON TOWNSHIP, PA 15108                  850 WEST CHESTER PIKE #2055
CROMWELL, CT 06416                                                              HAVERTOWN, PA 19083




CRONOS PAYROLL SERVICES                CRONOS PAYROLL SERVICES                  CROOKED HILL ASSOCIATES
73 SIMCOE ST UNIT 306                  CRONOS CONSULTING GROUP                  C/O GORMAN ASSOCIATES
TORONTO, ON M5J 1W9                    15388 24TH AVE 202                       PO BOX 988 25235 MAIN RD
CANADA                                 SURREY, BC V4A 2J2                       CUTCHOGUE, NY 11935
                                       CANADA
                      Case 18-12241-CSS
CROOKED HILL ASSOCIATES              CROOKEDDoc
                                              RUN26
                                                  LLC Filed 10/05/18        PageCROOKED
                                                                                 446 of RUN
                                                                                        1739LLC
NANCY ESHELMAN/MARY LOUISE GAGLIANO  7900 WESTPARK DR STE T420                  7900 WESTPARK DRIVE, SUITE T420
25235 MAIN ROAD                      MCLEAN, VA 22102-4216                      MCLEAN, VA 22102-4216
CUTCHOGUE, NY 11935




CROSBIE MANAGEMENT SERVICES             CROSBY LUPE LP                          CROSLAND BARNES GROUP
2000 S. COLORADO BOULEVARD, SUITE 110   LUTHER PROPERTIES LLC                   5960 FAIRVIEW ROAD, SUITE 200
DENVER, CO 80222                        3903-A BELLAIRE BLVD                    CHARLOTTE, NC 28210
                                        HOUSTON, TX 77025




CROSS COUNTRY EXPRESS LLC               CROSS COUNTRY PLAZA, LLC                CROSS COUNTRY PLAZA, LLC
126 CLIPPER CT                          C/O CORO REALTY ADVISORS, LLC           C/O CORO REALTY ADVISORS, LLC; ATTN:
ROCKWALL, TX 75032                      3715 NORTHSIDE PARKWAY                  MR. JOHN LUNDEEN
                                        400 NORTHCREEK, SUITE 100               3715 NORTHSIDE PARKWAY
                                        ATLANTA, GA 30327                       400 NORTHCREEK, SUITE 100
                                                                                ATLANTA, GA 30327


CROSSBAY ASSOCIATES LLC                 CROSSBAY ASSOCIATES, LLC                CROSSBAY ASSOCIATES, LLC
PO BOX 100153                           3512 QUENTIN RD, SUITE 204              ATTN: REAL ESTATE DEPARTMENT
BROOKLYN, NY 11210                      ATTN: REAL ESTATE DEPARTMENT            3512 QUENTIN RD, SUITE 204
                                        BROOKLYN, NY 11234                      BROOKLYN, NY 11234




CROSSCHECK INC                          CROSSING HOBART I LLC                   CROSSING HOBART I LLC
PO BOX 6008                             4300 E FIFTH AVE                        DEPT 2632
PETALUMA, CA 94954-6008                 COLUMBUS, OH 43219                      COLUMBUS, OH 43260-2632




CROSSING AT CLACKAMAS LLC               CROSSING AT CLACKAMAS, LLC              CROSSING AT CLACKAMAS, LLC
C/O NAI ELLIOTT                         25000 STAFFORD SUMMIT CT.               JIM ROBINSON
901 NE GLISAN ST                        JIM ROBINSON                            25000 STAFFORD SUMMIT CT.
PORTLAND, OR 97232                      WEST LINN, CT 97068                     WEST LINN, OR 97068




CROSSINGS 11K, LLC                      CROSSINGS AT HOBART-I, LLC              CROSSMAN & COMPANY
6801 SPRING CREEK ROAD                  C/O SCHOTTENSTEIN PROPERTY GROUP,       3333 S. ORANGE AVE, SUITE 201
ROCKFORD, IL 61114                      LLC                                     ORLANDO, FL 32806
                                        4300 EAST 5TH AVENUE
                                        ATTN: EXECUTIVE VICE PRESIDENT,
                                        LEASING
                                        COLUMBUS, OH 43219

CROSSPOINT ASSOCIATES, INC.             CROSSPOINT REALTY SERVICES, INC.        CROSSPOINTE DEVELOPERS LLC
300 THIRD AVENUE, SUITE 2               303 SACRAMENTO STREET, 3RD FLOOR        PO BOX 746
WALTHAM, MA 02451-7563                  SAN FRANCISCO, CA 94111                 SHORT HILLS, NJ 07078




CROSSPOINTE DEVELOPERS, LLC             CROSSROAD PARTNERS                      CROSSROADS ASSOCIATE, LLC
820 MORRIS TURNPIKE                     100 E 7TH ST STE 401                    C/O EQUITY MANAGEMENT GROUP, INC.
SHORT HILLS, NJ 07078                   KANSAS CITY, MO 64106                   840 E. HIGH STREET
                                                                                ATTN: JASON TAYLOR
                                                                                LEXINGTON, KY 40502



CROSSROADS CANADA, LLC                  CROSSROADS HEMET, LLC                   CROSSROADS IMPROV LLC
C/O LARSEN BAKER, LLC                   C/O STRATA PROPERTIES                   DLC MGMT CORP
6298 E. GRANT RD, SUITE 100             4631 TELLER AVENUE, SUITE 150           PO BOX 5122
ATTN: MELISSA LAL                       NEWPORT BEACH, CA 92660                 WHITE PLAINS, NY 10602
TUCSON, AZ 85712
CROSSROADS IMPROVEMENTSCase 18-12241-CSS
                          OWNER LLC          Doc 26
                                      CROSSROADS         Filed 10/05/18
                                                   IMPROVEMENTS, LLC        PageCROSSROADS
                                                                                 447 of 1739
                                                                                           PARTNERS
DLC MGMT CORP                         C/O DLC MANAGEMENT CORPORATION            100 E. 7TH STREET, SUITE 401
PO BOX 5122                           580 WHITE PLAINS ROAD                     ATTN: SANDRA HAYDEN
WHITE PLAINS, NY 10602                ATTN: ADAM IFSHIN                         KANSAS CITY, MO 64106
                                      TARRYTOWN, NY 10591



CROSSROADS PARTNERS                    CROSSROADS PLAZA 1743, LP                CROSSROADS PLAZA 1743, LP
ATTN: SANDRA HAYDEN                    C/O KIMCO REALTY CORPORATION             C/O KIMCO REALTY CORPORATION
100 E. 7TH STREET, SUITE 401           3333 NEW HYDE PARK ROAD, SUITE 100       6060 PIEDMONT ROW DRIVE SOUTH, SUITE
KANSAS CITY, MO 64106                  NEW HYDE PARK, NY 11042-0020             200
                                                                                ATTN: DEBI WHITE
                                                                                CHARLOTTE, NC 28287


CROSSROADS RETAIL 287 LP               CROSSROADS RETAIL INVESTORS LLC          CROSSROADS SHOPPING CENTER
3890 W NORTHWEST HWY STE 100           C/O KRAEMER DVLPMNT LLC                  FEDERAL REALTY INV TRUST
DALLAS, TX 75220                       7601 UNIVERSITY AVE STE 202              PO BOX 8500-9320
                                       MIDDLETON, WI 53562                      PHILADELPHIA, PA 19178-9320




CROSSTOWN CAPITAL PARTNERS             CROSSTOWN REAL ESTATE ADVISORS           CROSSWING DISTRIBUTORS INC
3543 N. PULASKI                        3543 N PULASKI RD                        DBA LE BLEU OF CHARLESTON
CHICAGO, IL 60641                      CHICAGO, IL 60641                        717 LEE STATE PARK RD
                                                                                PO BOX 1050
                                                                                LAMAR, SC 29069



CROW WING COUNTY                       CROW WING POWER                          CROWE LLP
326 LAUREL ST STE 22                   PO BOX 507                               PO BOX 71570
BRAINERD, MN 56401                     BRAINERD, MN 56401-0507                  CHICAGO, IL 60694-1570




CROWN CASTLE FIBER LLC                 CROWN CASTLE INTERNATIONAL CORP          CROWN CREDIT COMPANY
PO BOX 28730                           1220 AUGUSTA DR STE 600                  40 S WASHINGTON STREET
NEW YORK, NY 10087-8730                HOUSTON, TX 77057                        NEW BREMEN, OH 45869




CROWN EQUIPMENT CORP                   CROWN EQUIPMENT CORPORATION              CROWN GROUP LLC
PO BOX 641173                          44 SOUTH WASHINGTON STREET               BARRONS TOWER PLACE
CINCINNATI, OH 45264-1173              NEW BREMEN, OH 45869                     3105 NORTHWOODS PLACE
                                                                                NORCROSS, GA 30071




CROWN GROUP, LLC                       CROWN LIFT TRUCKS (LEASE)                CROWN LIFT TRUCKS
C/O LA VISTA ASSOCIATES, INC.          2 N FRANKLIN ST                          PO BOX 641173
3475 PIEDMONT ROAD, NE, SUITE 1150     NEW BREMEN, OH 45869                     CINCINNATI, OH 45264-1173
ATLANTA, GA 30305




CROWN MARK INC                         CROWN POINT RC LLC                       CROWN POINT RC, LLC
10881 S SAM HOUSTON PKWY W             ATTN: ADAM KARON                         4729 E. SUNRISE DRIVE, #464
HOUSTON, TX 77031                      4729 E SUNRISE DR 464                    ATTN: ADAM KARON
                                       TUCSON, AZ 85718                         TUCSON, AZ 85718




CROWN POINT RC, LLC                    CROWN PROPERTY MANAGEMENT LLC            CRP BOONE LLC
5910 S. UNIVERSITY BOULEVARD, C-18     552 N. COLORADO ST. SUITE 101            NAN HASTY
ATTN: STEVE SCANNELL                   KENNEWICK, WA 99336                      1845 ST JULIAN PLACE
GREENWOOD VILLAGE, CO 80121                                                     COLUMBIA, SC 29204
CRP HOLDINGS T-2 LP   Case    18-12241-CSS     Doc 26
                                        CRP WINSTON SALEMFiled
                                                          III LLC 10/05/18    PageCRP/ARROW
                                                                                   448 of 1739
                                                                                            ROCKWALL LLC
ONE INTERNATIONAL PLACE                  1845 ST JULIAN PLACE                     I N B ACCT 3228043
STE 2750-T2                              COLUMBIA, SC 29204                       P.O. BOX 7126
BOSTON, MA 02110                                                                  DALLAS, TX 75209




CRP/TRC LEESBURG RETAIL OWNER LLC        CRP/TRC LEESBURG RETAIL OWNER, LLC       CRP-AIKEN LLC
LOCKBOX 392639                           C/O RAPPAPORT MANAGEMENT COMPANY         ATTN: NAN HASTY
PITTSBURGH, PA 15251-9298                8405 GREENSBORO DR., 8TH FLOOR           1845 ST. JULIAN PLACE
                                         MCLEAN, VA 22102                         COLUMBIA, SC 29204




CRP-APEX II LLC                          CRP-CHESTERFIELD LLC                     CRP-FORT JACKSON LLC
HUNTER & ASSOCIATES                      1845 ST. JULIAN PLACE                    1845 ST JULIAN PLACE
127 W HARGETT ST 100                     COLUMBIA, SC 29204                       COLUMBIA, SC 29204
RALEIGH, NC 27601




CRP-JACKSONVILLE II LLC                  CRST INTERNATIONAL                       CRST SPECIALIZED TRANSPORTATION INC
1845 ST. JULIAN PLACE                    PO BOX 71573                             5001 US HIGHWAY 30 W
COLUMBIA, SC 29204                       CHICAGO, IL 60694                        FORT WAYNE, IN 46818




CRUZ, RICARDO                            CRWWD                                    CRWWD
609 LAKEVIEW DR                          8000 NE 52ND CT                          P.O. BOX 3855
CORAL SPRINGS, FLORIDA 33071-4049        VANCOUVER, WA 98665                      SEATTLE, WA 98124-3855




CRYS BENNETT                             CRYSTAL ARZATE                           CRYSTAL BARAJAS
10201 S. MAIN STREET                     10201 S. MAIN STREET                     1046 W 106 ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                        LOS ANGELES, CA 90044




CRYSTAL BARBER                           CRYSTAL BARNES                           CRYSTAL BENNETT
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




CRYSTAL BROWN                            CRYSTAL CALABRESE                        CRYSTAL CLEAR LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                     130 E SELWOOD LANE
HOUSTON, TX 77025                        HOUSTON, TX 77025                        COLUMBIA, SC 29212




CRYSTAL CLEAR WINDOW WASHING             CRYSTAL COLE                             CRYSTAL FELTON-ANKERBERG
3033 HILLVILLE RD                        10201 S. MAIN STREET                     10201 S. MAIN STREET
WHITEVILLE, TN 38075                     HOUSTON, TX 77025                        HOUSTON, TX 77025




CRYSTAL FRIENDS                          CRYSTAL GREEN GREEN                      CRYSTAL HAMLIN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
                      Case 18-12241-CSS
CRYSTAL HUDSON - DBA HUDSONS         CRYSTALDocJUHL26   Filed      10/05/18   PageCRYSTAL
                                                                                   449 ofKENNER
                                                                                          1739
CONTRACTING                          10201 S. MAIN STREET                         10201 S. MAIN STREET
2106 BIRCH AVE                       HOUSTON, TX 77025                            HOUSTON, TX 77025
LEWISTON, ID 83501




CRYSTAL LAKE 31 & 14 LLC               CRYSTAL LAKE 31 & 14 LLC                   CRYSTAL LIVELY
9440 ENTERPRISE DRIVE                  ATTN: PROPERTY MANAGER                     10201 S. MAIN STREET
ATTN: PROPERTY MANAGER                 9440 ENTERPRISE DRIVE                      HOUSTON, TX 77025
MOKENA, IL 60448                       MOKENA, IL 60448




CRYSTAL LUCAS                          CRYSTAL MANNING                            CRYSTAL MUCKLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




CRYSTAL ONEIL                          CRYSTAL PETERSON                           CRYSTAL PETERSON
9575 BAYMEADOWS CIR W                  10201 S. MAIN STREET                       10201 S. MAIN STREET
APT 2211                               HOUSTON, TX 77025                          HOUSTON, TX 77025
JACKSONVILLE, FL 32256




CRYSTAL PROPERTIES INC                 CRYSTAL PROPERTIES, INC.                   CRYSTAL RUBIO
146 HIGHWAY 138 STE 376                146 HIGHWAY 138, #376                      7467 DEL ROSA AVE
MONROE, GA 30655                       MONROE, GA 30655                           SAN BERNARDINO, CA 92410




CRYSTAL SIMPSON                        CRYSTAL SISNEROS                           CRYSTAL SMITH
10201 S. MAIN STREET                   70 BAYLOR ST                               10201 S. MAIN STREET
HOUSTON, TX 77025                      PUEBLO, CO 81005                           HOUSTON, TX 77025




CRYSTAL SOOKRAM                        CRYSTAL SPRINGS                            CRYSTAL SPRINGS
10201 S. MAIN STREET                   5660 NEW NORTHSIDE DR STE 500              PO BOX 660579
HOUSTON, TX 77025                      ATLANTA, GA 30328                          DALLAS, TX 75266-0579




CRYSTAL TERRY                          CRYSTAL TOWNSEND                           CRYSTAL WEBSTER
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




CRYSTAL WITHERELL                      CRYSTAL WITHERELL                          CS COLLEGE PARKWAY LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                       C/O SELECT STRATEGIES
HOUSTON, TX 77025                      HOUSTON, TX 77025                          5770 HOFFNER AVENUE, SUITE 102
                                                                                  ORLANDO, FL 32822




CS COLLEGE PARKWAY LLC                 CS UNIVERSITY PLACE I LLC                  CSBA-TV
C/O THE CORNFELD GROUP                 C/O CASTO                                  PO BOX 79535
3850 HOLLYWOOD BLVD STE 400            PO BOX 1450                                CITY OF INDUSTRY, CA 91716
HOLLYWOOD, FL 33021                    COLUMBUS, OH 43216
CSC FRANKLIN VILLAGE, LPCase    18-12241-CSS     Doc 26
                                          CSC FRANKLIN      Filed
                                                       VILLAGE, LP 10/05/18        PageCSD
                                                                                        450  of 1739
                                                                                           ADDISON EK LLC
C/O CEDAR REALTY TRUST, L.P.               C/O CEDAR REALTY TRUST, L.P.                C/O MID-AMERICA ASSET MANAGEMENT,
44 SOUTH BAYLES AVENUE, #304               44 SOUTH BAYLES AVENUE, 304                 INC.
PORT WASHINGTON, NY 11050                  PORT WASHINGTON, NY 11050                   ONE PARKVIEW PLAZA, 9TH FLOOR
                                                                                       OAKBROOK TERRACE, IL 60181



CSD ADDISON EK LLC                         CSF ENTERPRISES INC                         CSFB 1998-C2 TX FACILITIES LLC
C/O MID-AMERICA ASSET MGMT INC             12420 SW 45 ST                              DBA THE WOODMONT COMPANY
ONE PARKVIEW PLAZA, 9TH FLOOR              MIAMI, FL 33175                             2100 W 7TH ST
VILLA PARK, IL 60181                                                                   FORT WORTH, TX 76107




CSFBM 2007-C2 CONYERS COMMONS LLC          CSHV HCG RETAIL LLC                         CSHV HCG RETAIL LLC
PO BOX LBX 978778                          C/O UCR ASSET SERVICES                      UCR ASSET SERVICE
DALLAS, TX 75397-8778                      12700 HILL COUNTRY BLVD., SUITE T-100       PO BOX 205361
                                           BEE CAVE, TX 78738                          DALLAS, TX 75320-5361




CSHV HCG RETAIL LLC                        CSHV QUARRY LLC                             CSHV WOODLANDS L.P.
UCR ASSET SERVICES                         PO BOX 70542                                C/O HEITMAN CAPITAL MGMT LLC
PO BOX 205361                              CHICAGO, IL 60673                           LOCKBOX 730137
DALLAS, TX 75320-5361                                                                  DALLAS, TX 75373-0137




CSHV WOODLANDS LP                          CSHV WOODLANDS LP                           CSHV WOODLANDS, LP
C/O WULFE MGMNT SRVCS INC                  CO HEITMAN CAPITAL MANAGEMENT LLC           C/O WULFE & CO.
1800 POST OAK BLVD, 6 BLVD PLACE STE 400   LOCKBOX 730006                              1800 POST OAK BLVD, 6 BLVD PLACE STE 400
HOUSTON, TX 77056                          DALLAS, TX 75373-0006                       ATTN: PROPERTY MANAGEMENT
                                                                                       HOUSTON, TX 77056



CSI DEV LLC                                CSI MEDIA LLC                               CSM SHOPS INC
DBA DUNLAWTON SQUARE SC                    120 WRIGHT ST                               C/O CSM INVESTORS INC
7201 1ST AVE SOUTH                         PO BOX 367                                  500 WASHINGTON AVE S STE 3000
SAINT PETERSBURG, FL 33707                 DELAVAN, WI 53115                           MINNEAPOLIS, MN 55415




CSMC 2006-C5 RETAIL 2014 LP                CSMC 2006-C5 RETAIL 2015, LP                CSMC 2006-C5 RETAIL 418 LLC
SHOPPES AT PITTSBURGH MILLS BLDG           C/O MCKINLEY, INC.                          CNL COMMERCIAL REAL ESTATE
PO BOX 6076                                320 N. MAIN STREET                          121 W TRADE ST STE 2500
HICKSVILLE, NY 11802-6076                  ANN ARBOR, MI 48104                         CHARLOTTE, NC 28202-5399




CSOFT TECHNOLOGIES LL                      C-SPAN 1 PROPERTIES LLC                     CSPAN 1 PROPERTY, LLC
12941 NORTH FREEWAY STE 500                13355 NOEL RD STE 1645                      C/O WICK PHILLIPS GOULD & MARTIN LLP
HOUSTON, TX 77060                          DALLAS, TX 75240                            ATTN: JEFFREY HELLBERG JR.
                                                                                       3131 MCKINNEY AVE., SUITE 100
                                                                                       DALLAS, TX 75204



C-SPAN-2 LLC                               CSSA                                        CSU-MONTEREY BAY
13355 NOEL ROAD, SUITE 1645                C/O JIAOJIAO ZHANG                          FINANCIAL AID OFFICE (SSB 3RD FL)
DALLAS, TX 75240                           401 GEORGE BUSH DR                          100 CAMPUS CENTER
                                           COLLEGE STATION, TX 77840-2811              SEASIDE, CA 93955




CSW BB KILLEEN LLC                         CSW BB KILLEEN LLC                          CSW GREENLAWN LLC
210 BARTON SPRINGS RD STE 500              CO COMM PRPTY RCS ATTN DARCY                1703 W 5TH ST STE 850
AUSTIN, TX 78704                           SHORMAN                                     AUSTIN, TX 78703
                                           12845 RESEARCH BLVD E
                                           AUSTIN, TX 78750
CSW GREENLAWN LLC     Case 18-12241-CSS      Doc 26 LLC
                                     CSW PFLUGERVILLE   Filed 10/05/18   PageCSW
                                                                              451WALDEN
                                                                                  of 1739
                                                                                        PARK LLC
C/O LATIPAC PROPERTY MGMT INC        ATTN: KATIE CARLISLE                    1703 WEST 5TH ST STE 850
PO BOX 162304                        2711 W ANDERSON LN STE 200              AUSTIN, TX 78703
AUSTIN, TX 78716                     AUSTIN, TX 78757




CT CENTER S.C. LP                     CT CORPORATION                         CT KENNEDY MARKETPLACE LLC
P.O. BOX 82565                        P.O. BOX 4349                          C/O JBL ASSET MANAGEMENT LLC
DEPT CODE STXH 1086B                  CAROL STREAM, IL 60197-4349            2028 HARRISON ST STE 202
GOLETA, CA 93118-2565                                                        HOLLYWOOD, FL 33020




CT KENNEDY MARKETPLACE, LLC           CT KENNEDY MARKETPLACE, LLC            CT LIEN SOLUTIONS
2028 HARRISON STREET, SUITE 202       ATTN: DIRECTOR LEASING                 PO BOX 301133
ATTN: DIRECTOR LEASING                2028 HARRISON STREET, SUITE 202        DALLAS, TX 75303
HOLLYWOOD, FL 33020                   HOLLYWOOD, FL 33020




CT PRO COMPLY                         CT TRAINA INC                          CTC BEAVERTON LLC
39922 TREASURY CENTER                 SRSA                                   9400 SW BARNES STE 400
CHICAGO, IL 60694-9900                PO BOX 113130                          PORTLAND, OR 97225
                                      METAIRIE, LA 70011




CTC BEAVERTON, LLC                    CTC GILBERT PHASE 1 LLC                CTC
C/O CAPSHINE, LLC                     2425 E CAMELBACK RD STE 750            PO BOX 2747
24143 HILLVIEW ROAD                   PHOENIX, AZ 85016                      BAXTER, MN 56425-2747
ATTN: RASOUL M. OSKOUY
LOS ALTOS, CA 94024



CTK ASSET SERVICES LLC                CTPF TANGLEWOOD COURT CORP             CTPF TANGLEWOOD COURT CORPORATION
ATTN: JIM HARAN                       FILE 2029                              C/O AMERICAN REALTY ADVISORS
564 S. WASHINGTON STREET              1801 W OLYMPIC BLVD                    515 S. FLOWER STREET, 49TH FLOOR
NAPERVILLE, IL 60540                  PASADENA, CA 91199-2029                ATTN: STANLEY L. IEZMAN
                                                                             LOS ANGELES, CA 90071



CUCAMONGA VALLEY WTR DISTRICT         CUCAMONGA VALLEY WTR DISTRICT          CUDAHY POLICE DEPARTMENT
10440 ASHFORD ST                      P.O. BOX 51788                         5050 S LAKE DR
RANCHO CUCAMONGA, CA 91730-2799       LOS ANGELES, CA 90051-6088             CUDAHY, WI 53110




CUDAHY                                CULLFIRM LLC                           CULLFIRM LLC
ATTN: PROPERTY TAX DEPT.              C/O ROBBINS PROPERTIES                 DBA ROBBINS PROPERTIES I
PO BOX 100510                         3100 WEST END AVE., SUITE 1070         3100 W END AVE 1070
CUDAHY, WI 53110-6108                 NASHVILLE, TN 37203                    NASHVILLE, TN 37203




CULLIGAN CINCINNATI OH                CULLIGAN OF CLEVELAND                  CULLIGAN OF ONTARIO
3900 WILMINGTON PIKE                  PO BOX 2932                            PO BOX 2903
KETTERING, OH 45429                   WICHITA, KS 67201                      WICHITA, KS 67201-2903




CULLIGAN                              CULLINAN PROPERTIES, LTD.              CULLMAN COUNTY
28 EAGLE RD                           ATTN: MICHAEL WEAVER                   REVENUE COMMISSIONER
DANBURY, CT 06810                     745 MCCLINTOCK, SUITE 100              PO BOX 2220
                                      BURR RIDGE, IL 60527                   CULLMAN, AL 35056-2220
CULLMAN POWER BOARD      Case 18-12241-CSS    Doc
                                        CULLMAN    26 BOARD
                                                POWER   Filed 10/05/18      PageCULLMAN
                                                                                 452 of 1739
106 SECOND AVE NE                        PO BOX 1680                            ATTN: PROPERTY TAX DEPT.
CULLMAN, AL 35055                        CULLMAN, AL 35056-1680                 PO BOX 2220
                                                                                CULLMAN, AL 35056-2220




CULPEPER                                 CUMBERLAND COUNTY TAX COLLECTION       CUMBERLAND MALL ASSOCIATES
ATTN: PROPERTY TAX DEPT.                 PO BOX 538313                          ATTN: GENERAL MANAGER
400 S MAIN ST STE 105                    ATLANTA, GA 30353-8313                 3849 S. DELSEA DRIVE
CULPEPER, VA 22701                                                              VINELAND, NJ 08360




CUMBERLAND MALL ASSOCIATES               CUMBERLAND MALL ASSOCIATES             CUMBERLAND
C/O PREIT SERVICES, LLC                  PO BOX 933149                          ATTN: PROPERTY TAX DEPT.
200 SOUTH BROAD STREET, 3RD FLOOR        CLEVELAND, OH 44193                    PO BOX 538313
ATTN: GENERAL COUNSEL                                                           ATLANTA, GA 30353-8313
PHILADELPHIA, PA 19102



CUMMINS INC DBA CUMMINS POWER            CUMMINS NPOWER LLC                     CUMMINS POWER SYSTEMS
SYSTEMS                                  NW 7686                                PO BOX 786567
155 RITTENHOUSE CIR                      PO BOX 1450                            PHILADELPHIA, PA 19178-6567
BRISTOL, PA 19007                        MINNEAPOLIS, MN 55485




CUMULUS ALLENTOWN                        CUMULUS APPLETON                       CUMULUS ATLANTA
3630 MOMENTUM PLACE                      3590 MOMENTUM PLACE                    WWWQ-FM
CHICAGO, IL 60689-5336                   CHICAGO, IL 60689-5335                 3664 MOMENTUM PLACE
                                                                                CHICAGO, IL 60689-5336




CUMULUS BATON ROUGE                      CUMULUS BIRMINGHAM                     CUMULUS BOISE
WEMX-FM                                  3632 MOMENTUM PLACE                    3633 MOMENTUM PLACE
3631 MOMENTUM PLACE                      CHICAGO, IL 60689-5336                 CHICAGO, IL 60689-5336
CHICAGO, IL 60689-5336




CUMULUS BRIDGEPORT                       CUMULUS BROADCASTING                   CUMULUS BROADCASTING
3594 MOMENTUM PLACE                      810 VICTORIA ST                        WJAD-FM
CHICAGO, IL 60689-5335                   GREEN BAY, WI 54304                    1104 W BROAD AVE
                                                                                ALBANY, GA 31707




CUMULUS BROADCASTING                     CUMULUS- CHARLESTON                    CUMULUS CHICAGO
WKAK-FM                                  WIWF-FM                                PO BOX 645217
1104 W BROAD AVE                         3635 MOMENTUM PLACE                    CINCINNATI, OH 45264-5217
ALBANY, GA 31707                         CHICAGO, IL 60689-5336




CUMULUS COLUMBIA                         CUMULUS DALLAS                         CUMULUS EUGENE
3663 MOMENTUM PLACE                      PO BOX 643638                          1200 EXECUTIVE PKWY STE 400
CHICAGO, IL 60689-5336                   CINCINNATI, OH 45264-3638              EUGENE, OR 97401




CUMULUS FAYETTEVILLE                     CUMULUS FRESNO                         CUMULUS GRAND RAPIDS
3598 MOMENTUM PLACE                      1071 W SHAW AVE                        3639 MOMENTUM PLACE
CHICAGO, IL 60689                        FRESNO, CA 93711                       CHICAGO, IL 60689
CUMULUS GREENBAY         Case 18-12241-CSS    Doc
                                        CUMULUS    26 Filed 10/05/18
                                                HARRISBURG             PageCUMULUS
                                                                            453 of HOUSTON
                                                                                   1739
3606 MOMENTUM PLACE                     3607 MOMENTUM PLACE                9801 WESTHEIMER 700
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336             HOUSTON, TX 77042




CUMULUS HUDSON VALLEY                   CUMULUS HUNTSVILLE                 CUMULUS INDIANAPOLIS
PO BOX 643213                           3608 MOMENTUM PLACE                WFMS-FM
CINCINNATI, OH 45264-3213               CHICAGO, IL 60689-5336             3666 MOMENTUM PLACE
                                                                           CHICAGO, IL 60689-5336




CUMULUS INDIANAPOLIS                    CUMULUS INDIANAPOLIS               CUMULUS LEXINGTON
WJJK-FM                                 WRWM-FM                            3610 MOMENTUM PLACE
3666 MOMENTUM PLACE                     3666 MOMENTUM PLACE                CHICAGO, IL 60689-5336
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336




CUMULUS LITTLE ROCK                     CUMULUS MEDIA ATLANTA              CUMULUS MEDIA INC
3643 MOMENTUM PLACE                     3664 MOMENTUM PLACE                WLTO-FM
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689                  300 W VINE ST STE 300
                                                                           LEXINGTON, KY 40507




CUMULUS MEDIA INC                       CUMULUS MEDIA INC                  CUMULUS MEDIA MEMPHIS
WLXX-FM                                 WXZZ-FM                            3644 MOMENTUM PL
300 W VINE ST STE 300                   300 W VINE ST STE 300              CHICAGO, IL 60689
LEXINGTON, KY 40507                     LEXINGTON, KY 40507




CUMULUS MEDIA PARTNERS                  CUMULUS MEMPHIS                    CUMULUS MEMPHIS
5989 SUSQUEHANNA PLAZA DR               WGKX-FM                            WXMX-FM
YORK, PA 17406                          3644 MOMENTUM PLACE                3644 MOMENTUM PLACE
                                        CHICAGO, IL 60689-5336             CHICAGO, IL 60689-5336




CUMULUS MODESTO                         CUMULUS MONTGOMERY                 CUMULUS NASHVILLE TN
3656 MOMENTUM PLACE                     3615 MOMENTUM PLACE                3617 MOMENTUM PLACE
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336             CHICAGO, IL 60689




CUMULUS NEW LONDON                      CUMULUS NEW YORK                   CUMULUS OKLAHOMA CITY
3647 MOMENTUM PLACE                     3583 MOMENTUM PLACE                3649 MOMENTUM PLACE
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5335             CHICAGO, IL 60689-5336




CUMULUS PROVIDENCE                      CUMULUS RADIO CHICAGO              CUMULUS RADIO CORP
3651 MOMENTUM PLACE                     3578 MOMENTUM PLACE                KRRQ-FM
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689                  2642 MOMENTUM PLACE
                                                                           CHICAGO, IL 60689-5336




CUMULUS RADIO CORP                      CUMULUS RADIO CORPORATION          CUMULUS RADIO CORPORATION
KSMB-FM                                 CUMULUS COLORADO SPRINGS           CUMULUS PROVIDENCE WWLI-FM
3642 MOMENTUM PLACE                     6805 CORPORATE DR STE 130          1502 WAMPANOAG TRAIL
CHICAGO, IL 60689-5336                  COLORADO SPRINGS, CO 80919         RIVERSIDE, RI 02915-1018
                       Case
CUMULUS RADIO CORPORATION     18-12241-CSS    Doc
                                        CUMULUS    26CORPORATION
                                                RADIO   Filed 10/05/18   PageCUMULUS
                                                                              454 of RADIO
                                                                                     1739INDIANAPOLIS
CUMULUS TUCSON                          WWKX-FM                              3666 MOMENTUM PLACE
3659 MOMENTUM PLACE                     1502 WAMPANOAG TRAIL                 CHICAGO, IL 60689-5336
CHICAGO, IL 60689-5336                  RIVERSIDE, RI 02915-1018




CUMULUS RADION CORP                     CUMULUS RADION CORP                  CUMULUS RADION CORP
KARN                                    KIPR                                 KURB
3643 MOMENTUM PLACE                     3643 MOMENTUM PLACE                  3643 MOMENTUM PLACE
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336               CHICAGO, IL 60689-5336




CUMULUS RADION CORP                     CUMULUS RENO                         CUMULUS SALT LAKE CITY
WTCB WOMG WISW WLXC WNKT                3652 MOMENTUM PLACE                  3654 MOMENTUM PLACE
1301 GERVAIS ST STE 700                 CHICAGO, IL 60689-5336               CHICAGO, IL 60689-5336
COLUMBIA, SC 29201




CUMULUS SAN FRANCISCO                   CUMULUS SPRINGFIELD                  CUMULUS WASHINGTON DC WRQX-FM
750 BATTERY ST 3RD FLOOR                3655 MOMENTUM PLACE                  3585 MOMENTUM PL
SAN FRANCISCO, CA 94111                 CHICAGO, IL 60689-5336               CHICAGO, IL 60689-5335




CUMULUS WILKES BARRE                    CUMULUS WORCESTER                    CUMULUS-ALBANY
3660 MOMENTUM PLACE                     250 COMMERCIAL ST                    WJAD-FM
CHICAGO, IL 60689-5336                  WORCESTER, MA 01608                  3587 MOMENTUM PLACE
                                                                             CHICAGO, IL 60689-5335




CUMULUS-ALBANY                          CUMULUS-ATLANTA                      CUMULUS-CINCINNATI
WKAK-FM                                 WKHX-FM                              WRRM-FM
3587 MOMENTUM PLACE                     3664 MOMENTUM PLACE                  3669 MOMENTUM PLACE
CHICAGO, IL 60689-5335                  CHICAGO, IL 60689                    CHICAGO, IL 60689-5336




CUMULUS-COLORADO SPRINGS                CUMULUS-COLORADO SPRINGS             CUMULUS-COLORADO SPRINGS
KATC-FM                                 KCSF-AM                              KKFM-FM
3662 MOMENTUM PLACE                     3662 MOMENTUM PLACE                  3662 MOMENTUM PLACE
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336               CHICAGO, IL 60689-5336




CUMULUS-COLORADO SPRINGS                CUMULUS-COLORADO SPRINGS             CUMULUS-COLORADO SPRINGS
KKMG-FM                                 KKPK-FM                              KVOR-AM
3662 MOMENTUM PLACE                     3662 MOMENTUM PLACE                  3662 MOMENTUM PLACE
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336               CHICAGO, IL 60689-5336




CUMULUS-GREEN BAY                       CUMULUS-KANSAS CITY                  CUMULUS-KANSAS CITY
WQLH-FM                                 KCFX-FM                              KCMO-AM
3606 MOMENTUM PLACE                     3671 MOMENTUM PLACE                  3671 MOMENTUM PLACE
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336               CHICAGO, IL 60689-5336




CUMULUS-NASHVILLE                       CUMULUS-NASHVILLE                    CUMULUS-NASHVILLE
WGFX-FM                                 WKDF-FM                              WQQK-FM
3617 MOMENTUM PLACE                     3617 MOMENTUM PLACE                  3617 MOMENTUM PLACE
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336               CHICAGO, IL 60689-5336
CUMULUS-NASHVILLE        Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                        CUMULUS-NASHVILLE                PageCUMULUS-SALT
                                                                              455 of 1739LAKE CITY
WSM-FM                                  WWTN-FM                              KUBL-FM
3617 MOMENTUM PLACE                     3617 MOMENTUM PLACE                  3654 MOMENTUM PLACE
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336               CHICAGO, IL 60689-5336




CUMULUS-TUCSON                          CUMULUS-TUCSON                       CUMULUS-WASHINGTON DC WQRX-FM
KHYT-FM                                 KIIM-FM                              3585 MOMENTUM PLACE
3659 MOMENTUM PLACE                     3659 MOMENTUM PLACE                  CHICAGO, IL 60689-5335
CHICAGO, IL 60689-5336                  CHICAGO, IL 60689-5336




CUNDARI PROPERTIES                      CUNDARI PROPERTIES                   CURBSIDE INC
1139 STREET RD                          1139 STREET ROAD                     15686 E BATAVIA DR
SOUTHAMPTON, PA 18966                   SOUTHAMPTON, PA 18966                AURORA, CO 80011




CURBSIDE INC                            CURBSIDE RECYCLING & SHREDDING       CURLEW 19, LLC
DBA CURBSIDE DATACONTROL INC            15686 E BATAVIA DR                   2801 LEPRECHAUN LANE
15686 E BATAVIA DR                      AURORA, CO 80011                     ATTN: HALE DIMETRY
AURORA, CO 80011                                                             PALM HARBOR, FL 34683




CURLEW 19, LLC                          CURLEW LAKE LLC                      CURLEW LAKE LLC
ATTN: HALE DIMETRY                      2705 VIA MURANO, #128                ATTN: JUSTIN YOUNG
2801 LEPRECHAUN LANE                    ATTN: JUSTIN YOUNG                   2705 VIA MURANO, 128
PALM HARBOR, FL 34683                   CLEARWATER, FL 33764                 CLEARWATER, FL 33764




CURLEW LAKE LLC                         CURNELIUS BLACKMON                   CURRIE CAPITAL INC.
ATTN: JUSTIN YOUNG                      10201 S. MAIN STREET                 C/O INSITE REAL ESTATE LLC
31013 US HIGHWAY 19 NORTH               HOUSTON, TX 77025                    1400 16TH ST STE 300
PALM HARBOR, FL 34684                                                        OAK BROOK, IL 60523-8852




CURRIE CAPITAL, INC.                    CURT CARTIER                         CURT F BOWDWIN
4588 17TH STREET                        4811 W 18TH AVE                      1537 NORTHWOODS LAKE CT
SAN FRANCISCO, CA 94114                 KENNEWICK, WA 99338                  DULUTH, GA 30096




CURT SANFRATELLA                        CURTIS ADAMS                         CURTIS ASP
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




CURTIS BASCUE                           CURTIS BUFORD                        CURTIS COWAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




CURTIS CROPPER                          CURTIS DUNFORD                       CURTIS HAMILTON
10201 S. MAIN STREET                    211 WYMOUNT TERRACE                  10201 S. MAIN STREET
HOUSTON, TX 77025                       PROVO, UT 84604                      HOUSTON, TX 77025
CURTIS HARDING          Case 18-12241-CSS     Doc 26
                                       CURTIS JACKSON       Filed 10/05/18     PageCURTIS
                                                                                    456 ofLEE1739
                                                                                              BRAXTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                       1625 ROOSEVELT AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                          MEMPHIS, TN 38127




CURTIS LEWIS                            CURTIS MANNS                               CURTIS ROSS
118 WARRENCLIFF DR                      10201 S. MAIN STREET                       10201 S. MAIN STREET
MONACA, PA 15061                        HOUSTON, TX 77025                          HOUSTON, TX 77025




CURTIS SIMPSON                          CURTIS SMITH                               CURTIS TAYLOR
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




CURTIS WILLIAMS                         CURTIS WILSON                              CURTISS BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




CURTISS CHRISTOPHER                     CURVATURE                                  CUSHMAN & WAKEFIELD U.S., INC.
10201 S. MAIN STREET                    6500 HOLLISTER AVE STE 210                 721 EMERSON ROAD, SUITE 300
HOUSTON, TX 77025                       SANTA BARBARA, CA 93117                    ST. LOUIS, MO 63141




CUSHMAN & WAKEFIELD                     CUSHMAN & WAKEFIELD                        CUSHMAN & WAKEFIELD
325 JOHN MCCONNELL BLVD., SUITE 450     ATTN: ACCOUNTS RECEIVABLE                  KEVIN MCLEWEE
COLUMBUS, OH 43215                      55 WESTPORT PLAZA STE 500                  2101 L STREET, NW
                                        SAINT LOUIS, MO 63146                      WASHINGTON, DC 20037




CUSHMAN & WAKEFIELD                     CUSHMAN & WAKEFIELD                        CUSHMAN & WAKEFIELD
MARINA JOEL, MACC                       NORTHMARQ REAL ESTATE SERVICES             TORI SHEAHAN, SR. PROPERTY MANAGER
5220 SUMMERLIN COMMONS BLVD., SUITE     ATTN: PROP. MGR. FISCHER MARKETPLACE       2555 E. CAMELBACK ROAD, 440
500                                     3500 AMERICAN BLVD. W, SUITE 200           PHOENIX, AZ 85016
FORT MYERS, FL 33907                    BLOOMINGTON, MN 55431



CUSHMAN & WAKEFIELD, U.S., INC.         CUSHMAN & WAKEFIELD, U.S., INC.            CUSHMAN AND WAKEFIELD
ATTN: JEANETTE HORTON                   EMILY CREEK, PROPERTY ADMINISTRATOR        1290 AVENUE OF THE AMERICAS
3015 CARRINGTON MILL BOULEVARD, STE     3015 CARRINGTON MILL BOULEVARD, STE        NEW YORK, NY 10104-6178
410                                     410
MORRISVILLE, NC 27560                   MORRISVILLE, NC 27560



CUSHMAN WAKEFIELD                       CUSTOM DESIGNS                             CUSTOM ELECTRICAL CONTRACTORS INC
900 WILSHIRE BLVD, STE 2400             5815 GULF FREEWAY                          210 BRYANT ST
ATTN: JAMES LEE                         HOUSTON, TX 77023                          DENVER, CO 80219
LOS ANGELES, CA 90017




CUSTOM FUNDRAISING SOLNS COLUMBUS       CUSTOM FUNDRAISING SOLNS KANSAS            CUSTOM FUNDRAISING SOLUTIONS-
LLC                                     CITY LLC                                   CORPORATE
7727 HOLDERMAN ST                       8012 WESTGATE DR                           30628 DETROIT RD 248
LEWIS CENTER, OH 43035                  LENEXA, KS 66215                           WESTLAKE, OH 44145
                      Case 18-12241-CSS
CUSTOM FUNDRAISING SOLUTIONS         CUSTOMDoc    26 Filed
                                             FUNDRAISING      10/05/18
                                                          SOLUTIONS          PageCUTLER
                                                                                  457 of  1739 INC
                                                                                        ASSOCIATES
201 US RT 1 PMB 212                  CENTRAL TEXAS                               45 S SHERIDAN RD
SCARBOROUGH, ME 04074                520 COUNTY RD 108 UNIT 2                    LAKE FOREST, IL 60045
                                     HUTTO, TX 78634




CUTLER ASSOCIATES INC                    CUTTER JOHNSON JOHNSON                  CUX INC
726 RIOMAR DR                            10201 S. MAIN STREET                    2 MARKET PLAZA WAY STE 5
VERO BEACH, FL 32963                     HOUSTON, TX 77025                       MECHANICSBURG, PA 17055




CV SHOPPING CENTER ASSOC. LLC            CV SHOPPING CENTER ASSOCIATES LLC       CV SHOPPING CENTER ASSOCIATES LLC
PO BOX 75843                             C/O PROPERTY MANAGEMENT SERVICES        PO BOX 75843
BALTIMORE, MD 21275-5854                 6420 MONTROSE ROAD                      BALTIMORE, MD 21275-5854
                                         ROCKVILLE, MD 20852




CVB INC DBA MALOUF                       CVENT INC                               CVP-SAHUARITA PLAZA LLC
ATTN: CHIEF FINANCIAL OFFICER            PO BOX 822699                           PO BOX 843893
1525 W 2960 S                            PHILADELPHIA, PA 19182-2699             LOS ANGELES, CA 90084-3893
LOGAN, UT 84321




CVS/CAREMARK CORP                        CVSC LLC                                CVSC, LLC
PO BOX 1525                              CASCADE VILLAGE PHASE I                 C/O SIMA MANAGEMENT CORPORATION
WOONSOCKET, RI 02895-1525                PO BOX 944018                           1231 STATE STREET #B
                                         CLEVELAND, OH 44194-4018                SANTA BARBARA, CA 93101




CVSC, LLC                                CW & ASSOCIATES                         CW CHICK LTD
C/O SIMA MANAGEMENT CORPORATION          DBA DATAFLOW SERVICES                   502 BAYLOR ST
1231 STATE STREET B                      15851 DALLAS PRKWY STE 900              AUSTIN, TX 78703
SANTA BARBARA, CA 93101                  ADDISON, TX 75001




CW MOONEY LLC                            CW MOONEY LLC                           CW NOM LLC
201 BARTON SPRINGS RD                    C/O JOE MOONEY                          C/O REIT MGMNT & RESEARCH DEPT 110
AUSTIN, TX 78704                         4114 BURNEY DR                          PO BOX 826458
                                         AUSTIN, TX 78704                        PHILADELPHIA, PA 19182




CW NOM LLC                               CW PARK HILLS PLAZA LP                  CW PARK HILLS PLAZA LP
TWO NEWTON PLACE 255 WASHINGTON ST       BRIXMOR PROPERTY GROUP                  C/O BRIXMOR PROPERTY GROUP
NEWTON, MA 02458                         PO BOX 645321                           450 LEXINGTON AVENUE, 13TH FLOOR
                                         CINCINNATI, OH 45264-5321               ATTN: OFFICE OF THE GENERAL COUNSEL
                                                                                 NEW YORK, NY 10170



CW PARK HILLS PLAZA LP                   CW-MOONEY, LLC                          CW-MOONEY, LLC
C/O BRIXMOR PROPERTY GROUP               4114 BURNEY DRIVE                       ATTN: JOE MOONEY
ONE FAYETTE STREET, SUITE 150            ATTN: JOE MOONEY                        4114 BURNEY DRIVE
ATTN: VICE PRESIDENT OF LEGAL SERVICES   AUSTIN, TX 78731                        AUSTIN, TX 78731
CONSHOHOCKEN, PA 19428



CW-MOONEY, LLC                           CW-NHSL-TV                              CY POLLARD
ATTN: LISA HOUSTON                       3460 SILVERBELL RD.                     10201 S. MAIN STREET
4114 BURNEY DRIVE                        CHICO, CA 95973                         HOUSTON, TX 77025
AUSTIN, TX 78731
CYBERSOURCE CORPORATIONCase   18-12241-CSS     Doc 26
                                        CYBIL FORKNER      Filed 10/05/18   PageCY-CHAMP
                                                                                 458 of 1739
                                                                                         PUD
PO BOX 742842                           10201 S. MAIN STREET                    TAX ASSESSOR COLLECTOR
LOS ANGELES, CA 90074-2842              HOUSTON, TX 77025                       11111 KATY FWY 725
                                                                                HOUSTON, TX 77079-2197




CYDELLA WARREN                          CYNDI BASNIGHT                          CYNDI FLEMMING
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




CYNDI RODRIGUEZ                         CYNETHIA CROOM                          CYNHIA M GABRINTINA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    8432 BURNET AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       NORTH HILLS, CA 91343




CYNTHIA ALLEN                           CYNTHIA HEIKEL                          CYNTHIA HENGSTLER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    2742 SUMMER LN
HOUSTON, TX 77025                       HOUSTON, TX 77025                       EUGENE, OR 97404-2454




CYNTHIA JOHNSON                         CYNTHIA JONES                           CYNTHIA LOUINE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




CYNTHIA LUPER                           CYNTHIA MCCORMICK                       CYNTHIA MORALES
10201 S. MAIN STREET                    3151 FM 2446                            10201 S. MAIN STREET
HOUSTON, TX 77025                       FRANKLIN, TX 77856                      HOUSTON, TX 77025




CYNTHIA RIVERA                          CYNTHIA SALAZAR                         CYNTHIA SELVECKI
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




CYPRESS EQUITIES                        CYPRESS EQUITIES                        CYPRESS FAIRBANKS ISD
ATTN: AMY GARRETT                       ATTN: TRISHA BANGS                      TAX ASSESSOR COLLECTOR
780 BROOKWOOD VILLAGE                   8343 DOUGLAS AVENUE, SUITE 200          ANITA HENRY RTA
BIRMINGHAM, AL 35209                    DALLAS, TX 75225                        P O BOX 203908
                                                                                HOUSTON, TX 77216-3908



CYPRESS HILL MUD 1                      CYPRESS MEDIA                           CYPRESS PROPERTIES
PO BOX 1368                             DBA BELLEVILLE NEWS-DEMOCRAT            2191 E. BAYSHORE ROAD
FRIENDSWOOD, TX 77549-1368              120 S ILLINOIS ST                       PALO ALTO, CA 94303
                                        BELLEVILLE, IL 62220




CYPRESS WATERS RETAIL NO 4 LLC          CYPRESS WATERS RETAIL NO. 4, LLC        CYPRESSWOOD COMMONS
1722 ROUTH ST STE 1313                  1722 ROUTH STREET, SUITE 770            C/O SAMCO PROPERTIES INC
DALLAS, TX 75201                        DALLAS, TX 75201                        455 FAIRWAY DRIVE SUITE 301
                                                                                DEERFIELD BEACH, FL 33441
CYRIEL ROTEN & ERNA VAESCase    18-12241-CSS      Doc 26
                                          CYRIL LARTIGUE     Filed 10/05/18      PageCYRUS
                                                                                      459 NofNOWIA-PAHLAVI
                                                                                              1739
VA RICHMOND 929                           9806 COPPER CREEK DR                       345 FOREST WAY CIRCLE APT 201
PO BOX 27572                              AUSTIN, TX 78729                           ALTAMONTE SPRINGS, FL 32701
RICHMOND, VA 23261-7572




CYRUS WARDWELL                            CYS VENTURES LLC                           CYS VENTURES LLC
10201 S. MAIN STREET                      334 TINDALLS COURT                         PO BOX 5160
HOUSTON, TX 77025                         SUFFOLK, VA 23436                          GLEN ALLEN, VA 23058




CYZNER PROPERTIES                         CZARR FREEMAN                              D & B REAL ESTATE VENTURE LLC
192 ROUTE 22 WEST                         10201 S. MAIN STREET                       8039 WASHINGTON VILLAGE DR
GREEN BROOK, NJ 08812                     HOUSTON, TX 77025                          DAYTON, OH 45458




D & H ENTERPRISES                         D ANDRE MCDOE                              D AQ CORPORATION
109 BARTLETT LANE                         10201 S. MAIN STREET                       DAUM COMMERCIAL RE SERVICES
HENDERSONVILLE, TN 37075                  HOUSTON, TX 77025                          801 S FIGUEROA ST STE 600
                                                                                     LOS ANGELES, CA 90017




D BRIDGE RETAIL INVESTMENTS LLC           D BRIDGE RETAIL INVESTMENTS LLC            D MAGAZINE PARTNERS LP
1545 FARADAY AVENUE                       ATTN: ALEX ZIKAKIS                         750 N SAINT PAUL ST STE 2100
ATTN: ALEX ZIKAKIS                        1545 FARADAY AVENUE                        DALLAS, TX 75201
CARLSBAD, CA 92008                        CARLSBAD, CA 92008




D MALL LLC                                D MALL, LLC                                D MALL, LLC
PO BOX 211149                             621 NW FRONTAGE ROAD, SUITE 315            ATTN: JOHN D. ENGLER, JR.
AUGUSTA, GA 30917                         ATTN: JOHN D. ENGLER, JR.                  621 NW FRONTAGE ROAD, SUITE 315
                                          AUGUSTA, GA 30907                          AUGUSTA, GA 30907




D&A MATTRESS INC.                         D&A, INC.                                  D&A, INC.
4378 ALEXANDER NE                         3705 ELLISON DRIVE NW                      7840 PICHACHO HILLS
ALBUQUERQUE, NM 87107                     ALBUQUERQUE, NM 87048                      EL PASO, TX 79912




D&A, INC.                                 D&B                                        D&N DEVELOPMENT LLC
9521 VISCOUNT                             PO BOX 75434                               NICK BROWN
EL PASO, TX 79925                         CHICAGO, IL 60675-5434                     700-131 EXPOSITION PLACE
                                                                                     RALEIGH, NC 27615




D. NOBLIN INC.                            D.B. FITZPATRICK & CO., INC.               D.J. WARTERS
312 AIRPORT ROAD                          ATTN: COMMERCIAL MORTGAGE                  10201 S. MAIN STREET
PEARL, MS 39208                           PORTFOLIO MGR                              HOUSTON, TX 77025
                                          800 W. MAIN STREET, SUITE 1200
                                          BOISE, ID 83702



D.M. DISPOSAL CO INC - DISTRICT 2140      D.M. DISPOSAL CO INC - DISTRICT 2140       D.M. RECYCLING CO. - DISTRICT 2111
4822 70TH AVE E                           P.O. BOX 60248                             4822 70TH AVE E
FIFE, WA 98424                            LOS ANGELES, CA 90060-0248                 FIFE, WA 98424
                         Case
D.M. RECYCLING CO. - DISTRICT   18-12241-CSS
                              2111                Doc 26 L.L.C.
                                          D.W. ASSOCIATES,  Filed   10/05/18     PageD2460
                                                                                        LAW of 1739
                                                                                            GROUP P.L.
P.O. BOX 60248                            C/O TATE PROPERTIES, LC                     ATTN: JOHN T. DIAMANDIS
LOS ANGELES, CA 90060-0248                P.O. BOX 1153                               3239 HENDERSON BOULEVARD, SECOND
                                          ATTN: STEPHEN TATE                          FLOOR
                                          CENTERVILLE, UT 84014                       TAMPA, FL 33609



D2D BROOKWOOD SQUARE LLC.                D3 ALBANY LLC                                D3 ALEXANDRIA LLC
P.O. BOX 3040                            3841 GREEN HILLS VILLAGE DR STE 400          3841 GREEN HILLS VILLAGE DR STE 400
DULUTH, GA 30096                         NASHVILLE, TN 37215                          NASHVILLE, TN 37215




D3 BOWLING GREEN LLC                     D3 BULLHEAD CITY LLC                         D3 CALLAWAY LLC
ATTN: MELANIE DAVENPORT                  3841 GREEN HILLS VILLAGE DR STE 400          3841 GREEN HILLS VILLAGE DR STE 400
3841 GREEN HILLS VILLAGE DR STE 400      NASHVILLE, TN 37215                          NASHVILLE, TN 37215
NASHVILLE, TN 37215




D3 CALLAWAY, LLC                         D3 COLORADO SPRINGS LLC                      D3 COLUMBUS LLC
3841 GREEN HILLS VILLAGE DRIVE, SUITE    3841 GREEN HILLS VILLAGE DR STE 400          ATTN: LIBBY OWENS
400                                      NASHVILLE, TN 37215                          3841 GREEN HILLS VILLAGE DR 400
NASHVILLE, TN 37215                                                                   NASHVILLE, TN 37215




D3 COMSTOCK PARK LLC                     D3 COMSTOCK PARK, LLC                        D3 CULLMAN LLC
MARK MCDONALD                            3841 GREEN HILLS VILLAGE DRIVE, SUITE        3841 GREEN HILLS VILLAGE DR STE 400
3841 GREEN HILLS VILLAGE DR STE 400      400                                          NASHVILLE, TN 37215
NASHVILLE, TN 37215                      NASHVILLE, TN 37215




D3 DAPHNE LLC                            D3 DELAND LLC                                D3 ELIZABETHTOWN LLC
C/O OLDARE MCDONALDS LLC                 3841 GREEN HILLS VILLAGE DR STE 400          3841 GREEN HILLS VILLAGE DR STE 400
3841 GREEN HILLS VILLAGE DR 400          NASHVILLE, TN 37215                          NASHVILLE, TN 37215
NASHVILLE, TN 37215




D3 GULF BREEZE LLC                       D3 GULF BREEZE, LLC                          D3 LUMBERTON LLC
ATTN: KATHERINE MCDONALD                 3841 GREEN HILLS VILLAGE DRIVE, SUITE        3841 GREEN HILLS VILLAGE DR STE 400
3481 GREEN HILLS VILLAGE DR STE 400      400                                          NASHVILLE, TN 37215
NASHVILLE, TN 37215                      NASHVILLE, TN 37215




D3 LUMBERTON, LLC                        D3 MACHESNEY PARK LLC                        D3 MAGNOLIA LLC
3841 GREEN HILLS VILLAGE DRIVE, SUITE    3841 GREEN HILLS VIALLAGE DR STE 400         ATTN: MARK MCDONALD
400                                      NASHVILLE, TN 37215                          3841 GREEN HILLS VILLAGE DR STE 400
NASHVILLE, TN 37215                                                                   NASHVILLE, TN 37215




D3 MIDLAND LLC                           D3 MILLEDGEVILLE LLC                         D3 MONTGOMERY LLC
3841 GREEN HILLS VILLAGE DR STE 400      3841 GREEN HILLS VILLAGE DR STE 400          MARK MCDONALD
NASHVILLE, TN 37215                      NASHVILLE, TN 37215                          3841 GREEN HILLS VILLAGE DRSTE 400
                                                                                      NASHVILLE, TN 37215




D3 MT JULIET LLC                         D3 MURFREESBORO LLC                          D3 OVERLAND PARK, LLC
3841 GREEN HILLS VILLAGE DR 400          3841 GREEN HILLS VILLAGE DR STE 400          3841 GREEN HILLS VILLAGE DRIVE, SUITE
NASHVILLE, TN 37215                      NASHVILLE, TN 37215                          400
                                                                                      ATTN: MARK MCDONALD
                                                                                      NASHVILLE, TN 37215
D3 OVERLAND PARK, LLC Case 18-12241-CSS        Doc 26
                                        D3 PENSACOLA  LLC Filed 10/05/18           PageD3461 of 1739
                                                                                          PERKINS LLC
ATTN: MARK MCDONALD                     3841 GREEN HILLS VILLAGE DR STE 400            MARK MCDONALD
3841 GREEN HILLS VILLAGE DRIVE, STE 400 NASHVILLE, TN 37215                            3841 GREEN HILLS VILLAGE DR STE 400
NASHVILLE, TN 37215                                                                    NASHVILLE, TN 37215




D3 PLEASANT PRAIRIE LLC                  D3 PRATTVILLE LLC                             D3 RICHMOND LLC
3841 GREEN HILLS VILLAGE DR STE 400      3841 GREEN HILLS VILLAGE DR STE 400           3841 GREEN HILLS VILLAGE DR STE 400
NASHVILLE, TN 37215                      NASHVILLE, TN 37215                           NASHVILLE, TN 37215




D3 SLIDELL, LLC                          D3 SLIDELL, LLC                               D3 SPRINGS LLC
3841 GREEN HILLS VILLAGE DRIVE, SUITE    ATTN: MARK MCDONALD                           3841 GREEN HILLS VILLAGE DR STE 400
400                                      3841 GREEN HILLS VILLAGE DRIVE, STE 400       NASHVILLE, TN 37215
ATTN: MARK MCDONALD                      NASHVILLE, TN 37215
NASHVILLE, TN 37215



D3 STILL WATER LLC                       D3 WICHITA LLC                                D3 ZANESVILLE LLC
ATTN: MARK MCDONALD                      3841 GREEN HILLS VILLAGE DR STE 400           ATTN: MARK MCDONALD
2841 GREEN HILLS VILLAGE DR STE 400      NASHVILLE, TN 37215                           3841 GREEN HILLS VILLAGE DR STE 400
NASHVILLE, TN 37215                                                                    NASHVILLE, TN 37215




DACA-ARC JCLOUKY001 LLC                  DACA-ARC RGCHRNC001 LLC                       DACAR MANAGEMENT, LLC
PO BOX 74550                             PO BOX 74660                                  ATTN: ELIZABETH THALMAN
CLEVELAND, OH 44194-4550                 CLEVELAND, OH 44194                           336 E. DANIA BEACH BOULEVARD
                                                                                       DANIA, FL 33004




DACE RENN                                DACHEL MIQUELI                                DACIA MORALES
10201 S. MAIN STREET                     10201 S. MAIN STREET                          10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                             HOUSTON, TX 77025




DADE LIFT PARTS & EQUIPMENT              DAE ROGERS                                    DAHLEM ENTERPRISES INC.
12612 NW SOUTH RIVER DRIVE               10201 S. MAIN STREET                          1531 ORMSBY STATION COURT
MEDLEY, FL 33178                         HOUSTON, TX 77025                             LOUISVILLE, KY 40223-4019




DAHLEM REALTY COMPANY, INC.              DAILY CITIZEN-NEWS                            DAILY HAMPSHIRE GAZETTE
1531 ORMSBY STATION CT.                  NORTH GEORGIA NEWSPAPER GROUP                 PO BOX 299
LOUISVILLE, KY 40223                     PO BOX 1167                                   NORTHAMPTON, MA 01061
                                         DALTON, GA 30722-1116




DAILY HERALD COMMUNICATIONS              DAILY JOURNAL                                 DAILY NEWS LP
PO BOX 742548                            2575 N MORTON ST                              ATTN: JIM LONEK FINANCE DEPT
CINCINNATI, OH 45274-2548                PO BOX 699                                    125 THEODORE CONRAD DR
                                         FRANKLIN, IN 46131                            JERSEY CITY, NJ 07305-4698




DAILY NEWS RECORD                        DAILY NEWS RECORD                             DAILY NEWS
231 S LIBERTY ST                         PO BOX 193                                    813 COLLEGE STREET
HARRISONBURG, VA 22803                   HARRISONBURG, VA 22803                        BOWLING GREEN, KY 42101
DAILY NEWS            Case     18-12241-CSS     DocMEDIA
                                         DAILY PRESS 26 GROUP
                                                         Filed 10/05/18   PageDAILY
                                                                               462PRESS
                                                                                    of 1739
PO BOX 90012                             7505 WARWICK BLVD                    PO BOX 100611
BOWLING GREEN, KY 42102-9012             NEWPORT NEWS, VA 23607               ATLANTA, GA 30384-0611




DAILY REPUBLIC INC                       DAILY REPUBLIC INC                   DAILY TIMES
1250 TEXAS ST                            PO BOX 47                            307 E HARPER AVE
FAIRFIELD, CA 94533                      FAIRFIELD, CA 94533                  MARYVILLE, TN 37804




DAIMEN CARTER                            DAINE THOMPSON                       DAISY HERNANDEZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




DAISY MARIN                              DAITIARA BROWN                       DAJA POPE
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




DAJA SMITH                               DAJION BOGAN                         DAKOTA COLWELL
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




DAKOTA ELECTRIC ASSOC                    DAKOTA ELECTRIC ASSOC                DAKOTA HALLUM
4300 220TH ST. W                         P.O. BOX 64427                       10201 S. MAIN STREET
FARMINGTON, MN 55024                     ST PAUL, MN 55164-0427               HOUSTON, TX 77025




DAKOTA KNIGHT                            DAKOTA LONG                          DAKOTA MATTRESS VENTURES
10201 S. MAIN STREET                     10201 S. MAIN STREET                 1420 N MINNESOTA AVE
HOUSTON, TX 77025                        HOUSTON, TX 77025                    SIOUX FALLS, SD 57104




DAKOTA MATTRESS VENTURES                 DAKOTA MATTRESS VENTURES, LLC        DAKOTA RATLIFF
DBA MATTRESS FIRM                        76 PALM BLVD                         705 CEVILLE RD
76 PALM BLVD                             MISSOURI CITY, TX 77459              DENTON, TX 76208
MISSOURI CITY, TX 77459




DAKOTA WHITE                             DAKTRONICS INC                       DAKTRONICS INC
10201 S. MAIN STREET                     201 DAKTRONICS DR PO BOX 5128        SDS-12-2222 PO BOX 86
HOUSTON, TX 77025                        BROOKINGS, SD 57006-5128             MINNEAPOLIS, MN 55486




DALE BACKES                              DALE CARLSEN                         DALE CRAWFORD
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025
DALE DAVIS             Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      DALE E ANDERSON                         PageDALE
                                                                                   463EDGREN
                                                                                       of 1739
10201 S. MAIN STREET                  PMB 364                                     10201 S. MAIN STREET
HOUSTON, TX 77025                     16420 SE MCGILIVARY STE 103                 HOUSTON, TX 77025
                                      VANCOUVER, WA 98683




DALE EMERSON                          DALE FISHER                                 DALE JONES
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




DALE KRAUSZ                           DALE LACKEY                                 DALE PAVOLA
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




DALE R CARLSON                        DALE RAMPHAL                                DALE RICHARDSON
2207 PLAZA DRIVE                      10201 S. MAIN STREET                        10201 S. MAIN STREET
STE 200                               HOUSTON, TX 77025                           HOUSTON, TX 77025
ROCKLIN, CA 95765




DALE ST ONGE                          DALE WARDEN                                 DALE WILSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




DALE WOLFE                            DALES INC                                   DALES INC
10201 S. MAIN STREET                  2055 GARRETT WAY STE 2                      PO BOX 4026
HOUSTON, TX 77025                     POCATELLO, ID 83201                         POCATELLO, ID 83205




DALE'S INC.                           DALES INC.                                  DALEY, RICHARD
P.O. BOX 4026                         RICH KIRKHAM                                2525 S 11TH ST
POCATELLO, ID 83201                   2055 GARRETT WAY, BUILDING 1, SUITE 2       PHILADELPHIA, PA 19148-4405
                                      POCATELLO, ID 83201




DALI MERCER                           DALINDA MEFFORD                             DALLAS BUSINESS JOURNAL
10201 S. MAIN STREET                  10201 S. MAIN STREET                        P.O. BOX 840190
HOUSTON, TX 77025                     HOUSTON, TX 77025                           DALLAS, TX 75284-0190




DALLAS COUNTY                         DALLAS CROW                                 DALLAS ELECTRIC CO INC
ATTN: PROPERTY TAX DEPT.              10201 S. MAIN STREET                        510 N RAVINIA DR
P O BOX 139066                        HOUSTON, TX 77025                           PO BOX 210368
DALLAS, TX 75313-9066                                                             DALLAS, TX 75211




DALLAS PIGFORD                        DALLAS WALLS                                DALLASITES101
10201 S. MAIN STREET                  10201 S. MAIN STREET                        3718 FAIRFAX AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                           DALLAS, TX 75209
DALLEN AMES              Case 18-12241-CSS
                                        DALLON Doc  26
                                               ELTING       Filed 10/05/18   PageDALON
                                                                                  464 PERRICONE
                                                                                       of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DALSAN PROPERTIES                        DALTON ALLARD                           DALTON ANDERSON
2001 PRESTON ROAD                        10201 S. MAIN STREET                    10201 S. MAIN STREET
PLANO, TX 75093                          HOUSTON, TX 77025                       HOUSTON, TX 77025




DALTON DALTON                            DALTON HILL                             DALTON HILL
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DALTON MARTIN                            DALTON SMITH                            DALTON UTILITIES
10201 S. MAIN STREET                     10201 S. MAIN STREET                    1200 VD PARROTT JR PKWY
HOUSTON, TX 77025                        HOUSTON, TX 77025                       DALTON, GA 30721




DALTON UTILITIES                         DALTON WILHELM                          DALWORTH RESTORATION INC
PO BOX 745147                            10201 S. MAIN STREET                    12750 S PIPELINE RD
ATLANTA, GA 30374-5147                   HOUSTON, TX 77025                       EULESS, TX 76040




DALY CONSTRUCTION                        DALYN RUG COMPANY                       DAMAGE RECOVERY UNIT
7616 SOQUEL WAY                          PO BOX 1031                             PO BOX 801770
CITRUS HEIGHTS, CA 95610                 DALTON, GA 30722-1031                   KANSAS CITY, MO 64180-1770




DAMAGE RECOVERY UNIT                     DAMAGE RECOVERY UNIT                    DAMANTE CONSULTING GROUP
PO BOX 842264                            PO BOX 843369                           ATTN: RICHARD DAMANTE
DALLAS, TX 75284-2264                    KANSAS CITY, MO 64184-3369              44 WEST DUNSTON ROAD
                                                                                 SALEM, NH 03079




DAMARCUS WADE                            DAMEN HICKS                             DAMEON BROWN
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DAMEON HALL                              DAMEON POUNDS                           DAMERE DEMAREST
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DAMETRIUS KING                           DAMIAN BREDESON                         DAMIAN COOPER
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025
DAMIAN DARDEN          Case 18-12241-CSS
                                      DAMIAN Doc
                                             FRYER26      Filed 10/05/18   PageDAMIAN
                                                                                465 of  1739
                                                                                      HAMPTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAMIAN HOLLOWAY                        DAMIAN MOODY                            DAMIAN MORTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAMIAN PENLEY                          DAMIAN RODRIGUEZ                        DAMIAN RODRIGUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAMIAN RUDD                            DAMIAN YOUNG                            DAMICO BUILDING GROUP LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    1717 STUTZ DR STE B
HOUSTON, TX 77025                      HOUSTON, TX 77025                       TROY, MI 48084-4509




DAMICO DEVELOPMENT, INC                DAMIEN GOODWIN                          DAMIEN MATA
1717 STUTZ DR.                         10201 S. MAIN STREET                    1019 HARBOUR LANE NE
TROY, MI 48084                         HOUSTON, TX 77025                       KEIZER, OR 97303




DAMIEN SHOWELL                         DAMIEN SMITH                            DAMIEN WOODS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAMILARE EHINOLA                       DAMION BAKER                            DAMION GREEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAMION HALLSTROM                       DAMION HICKSON                          DAMIR TUFAIL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAMMY KOLE                             DAMON DEGUZMAN                          DAMON DUMOND
10201 S. MAIN STREET                   7985 SW 195 ST                          10201 S. MAIN STREET
HOUSTON, TX 77025                      CUTLER BAY, FL 33157                    HOUSTON, TX 77025




DAMON FRANKLIN                         DAMON SLATER                            DAMON WARREN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
DAMON WASHINGTON       Case 18-12241-CSS     Doc 26
                                      DAN BARRA          Filed 10/05/18   PageDAN
                                                                               466  of 1739
                                                                                  BECK
607 CHEYENNE                          10201 S. MAIN STREET                    10201 S. MAIN STREET
MADISON, TN 37115                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DAN BEINING                           DAN BENNETT                             DAN CHAPUT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1425 NATALIE LN SPT 305
HOUSTON, TX 77025                     HOUSTON, TX 77025                       ANN ARBOR, MI 48105




DAN CLARK                             DAN CRAMER                              DAN DUNNING
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DAN ECKES                             DAN ERCEG                               DAN ERICKSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1901 STOWE AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       ARDEN HILLS, MN 55112




DAN FLORES                            DAN FRIEDMAN                            DAN GEPNER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DAN GRIFFITHS                         DAN HILLS                               DAN HORNSTEIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DAN JARVIS                            DAN JULIO                               DAN L LATHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                    DBA A HANDYMAN SERVICES LLC
HOUSTON, TX 77025                     HOUSTON, TX 77025                       3141 S NEWTON AVE
                                                                              SPRINGFIELD, MO 65807-5638




DAN LAVOIE                            DAN LIN                                 DAN LOWMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DAN LUCKOM                            DAN MARTINEZ                            DAN MATUTE
10201 S. MAIN STREET                  919 NW 134 PL                           10201 S. MAIN STREET
HOUSTON, TX 77025                     MIAMI, FL 33182                         HOUSTON, TX 77025




DAN MOORE                             DAN MOORE                               DAN PATTERSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
DAN RITTER             Case 18-12241-CSS     Doc 26
                                      DAN RIVERS         Filed 10/05/18   PageDAN
                                                                               467  of 1739
                                                                                  ROWLEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DAN RUSSELL                           DAN SIERRA                              DAN STAPLES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DAN SUAREZ                            DAN T. CHAPMAN & SUSAN A. CHAPMAN       DAN WARD
10201 S. MAIN STREET                  4272 W. ALLUVIAL                        3409 ASHLEAF DR
HOUSTON, TX 77025                     FRESNO, CA 93722                        CARROLLTON, TX 75007




DAN WATSON                            DAN WAYDA                               DAN WILLIAMS CONSTRUCTION
10201 S. MAIN STREET                  10201 S. MAIN STREET                    486 CHASE RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                       COLUMBUS, OH 43214




DAN WILSON                            DANA ANDREWS                            DANA BARROW
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DANA D ARRIOLA                        DANA KAUFMAN                            DANA KOTTMAN
PO BOX 754                            10201 S. MAIN STREET                    6519 NW HIGH POINT DR.
CYPRESS, TX 77410                     HOUSTON, TX 77025                       TOPEKA, KS 66618




DANA M TUCKER                         DANA MONTEITH                           DANA PETERSEN
6649 BROADOAK 21                      1524 ONYX CREEK DR                      1880 MONTEREY PINES DR
BEAUMONT, TX 77713                    CARY, NC 27518                          ROSEVILLE, CA 95747




DANADA SQUARE W SHOPPING CENTER       DANADA SQUARE WEST SHOPPING CENTER      DANAE BOOKER
PO BOX 730521                         LLC                                     10201 S. MAIN STREET
DALLAS, TX 75373                      C/O CBRE, INC.                          HOUSTON, TX 77025
                                      8080 PARK LANE, SUITE 800
                                      DALLAS, TX 75231



DANDRA MAXEY                          DANDRA SYKES                            DANDRE MAYS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    916 NE 65TH
HOUSTON, TX 77025                     HOUSTON, TX 77025                       OKLAHOMA CITY, OK 73105




DANE CONGLETON                        DANE HEREDIA                            DANELIA IODENCE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
DANESSA GRACE           Case 18-12241-CSS    Doc
                                       DAN-FOAM APS26      Filed 10/05/18   PageDAN-FOAM
                                                                                 468 of 1739
                                                                                         APS
10201 S. MAIN STREET                    C/O RUMBERGER KIRK & CALDWELL           C/O SEYFARTH SHAW LLP
HOUSTON, TX 77025                       ATTN: SUZANNE BARTO HILL                ATTN: EDWARD MALUF
                                        LINCOLN PLAZA SUITE 1400                620 EIGHTH AVENUE
                                        ORLANDO, FL 32802-1873                  NEW YORK, NY 10018



DAN-FOAM APS                            DAN-FOAM APS                            DANHECHAR LLC
C/O SEYFARTH SHAW LLP                   C/O SEYFARTH SHAW LLP                   OLD NATIONAL BANK WEALTH MGMT
ATTN: ROBERT CARTY JR.                  ATTN: WILLIAM BERKOWITZ                 2801 E BUICK CADILLAC BLVD
700 MILAM STREET, SUITE 1400            TWO SEAPORT LANE, SUITE 300             BLOOMINGTON, IN 47401
HOUSTON, TX 77002                       BOSTON, MA 02210



DANHECHAR, LLC                          DANHECHAR, LLC                          DANI AGUIRRE
ATTN: H. DAN ENSLOW                     P.O. BOX 5055                           10201 S. MAIN STREET
P.O. BOX 5055                           ATTN: H. DAN ENSLOW                     HOUSTON, TX 77025
BLOOMINGTON, IN 47407-5055              BLOOMINGTON, IN 47407-5055




DANI LUJAN                              DANI RELAZ                              DANIALLE HAYS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIE VAN DER MERWE                     DANIEL ADARAMOLA                        DANIEL AGUILAR
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL ALONSO                           DANIEL ANDERSON                         DANIEL ANNIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    3777 EDWARD RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                       REX, GA 30273




DANIEL ARIGANELLO                       DANIEL BAKER                            DANIEL BAKER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL BARATT                           DANIEL BENEQUISTA                       DANIEL BERRY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL BISSELL                          DANIEL BORREGO                          DANIEL BRADTKE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL BREGLIO                          DANIEL BRENNER                          DANIEL BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
DANIEL BROWN           Case 18-12241-CSS     Doc 26
                                      DANIEL BUCKLEY      Filed 10/05/18   PageDANIEL
                                                                                469 of  1739
                                                                                      BUFFINGTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL BURT                            DANIEL BUZZ                             DANIEL CAMERO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL CERTUCHE                        DANIEL CHAPDELAINE                      DANIEL CHAZIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    C/O RIALTO MANAGEMENT CORP
HOUSTON, TX 77025                      HOUSTON, TX 77025                       872 MADISON AVE 2A
                                                                               NEW YORK, NY 10021




DANIEL CLARKE                          DANIEL COBURN                           DANIEL COELHO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL CORONA                          DANIEL CRUZ                             DANIEL CURTIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL DEANE                           DANIEL DEFRANCO                         DANIEL DIAZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL DIETZ                           DANIEL DISMUKE                          DANIEL DONALDSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL DOWD                            DANIEL DUKKER                           DANIEL DUNCAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL EISEN                           DANIEL ENRIQUEZ                         DANIEL ESPINOZA JR
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10901 MIST LANE 4307
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77070




DANIEL EVANS                           DANIEL FERNANDEZ                        DANIEL FERNANDEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
DANIEL FLORES          Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      DANIEL FORWARD                 PageDANIEL
                                                                          470 of  1739
                                                                                GAMBLE
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DANIEL GAMMEL                         DANIEL GEORGE                      DANIEL GETMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DANIEL GONZALEZ                       DANIEL GRANT                       DANIEL GRECO
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DANIEL GREER                          DANIEL GUNN                        DANIEL HARGROVES
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DANIEL HAWKINS                        DANIEL HEERING                     DANIEL HILL
10201 S. MAIN STREET                  10201 S. MAIN STREET               1914 HOKUNNI PLACE
HOUSTON, TX 77025                     HOUSTON, TX 77025                  LIHUE, HI 96766




DANIEL HUBER                          DANIEL JACKMAN                     DANIEL JENKINS
10201 S. MAIN STREET                  8053 LODGEPOLE DR                  10201 S. MAIN STREET
HOUSTON, TX 77025                     SANDY, UT 84094                    HOUSTON, TX 77025




DANIEL JIMENEZ                        DANIEL JORDAN                      DANIEL KALLAL
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DANIEL KAMENMAN                       DANIEL KUZON                       DANIEL KWOCZKA
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DANIEL LANGER                         DANIEL LANGHAM                     DANIEL LANGO
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DANIEL LAROCCA                        DANIEL LE                          DANIEL LILLY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025
DANIEL LOUWSMA         Case 18-12241-CSS     Doc 26
                                      DANIEL LUGO         Filed 10/05/18   PageDANIEL
                                                                                471 of  1739
                                                                                      MACKEY
10201 S. MAIN STREET                  DBA DL DELIVER                           10201 S. MAIN STREET
HOUSTON, TX 77025                     1160 WYATT RD TRLR C2                    HOUSTON, TX 77025
                                      BURLINGTON, NC 27217-8196




DANIEL MAES                           DANIEL MAGGARD                           DANIEL MARTINEZ
10201 S. MAIN STREET                  2382 MT VERNON DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                     SUMTER, SC 29154                         HOUSTON, TX 77025




DANIEL MATA                           DANIEL MATTERN                           DANIEL MAYNULET
10201 S. MAIN STREET                  11945 143RD ST APT 7222                  10201 S. MAIN STREET
HOUSTON, TX 77025                     LARGO, FL 33774                          HOUSTON, TX 77025




DANIEL MCCAFFREY                      DANIEL MCDERMOTT                         DANIEL MCGAHEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




DANIEL MCGUIRE                        DANIEL MCGUIRE                           DANIEL MCGUIRE
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




DANIEL MCGUIRE                        DANIEL MEDEIROS                          DANIEL MENDEZ ORTIZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




DANIEL MERRIFIELD                     DANIEL MICHAUD                           DANIEL MILLS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




DANIEL MINGHELLI                      DANIEL MONALDI                           DANIEL MONCUSE
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




DANIEL MOORE                          DANIEL MORATAYA                          DANIEL MOTZ
DBA ECOPURE BOTTLED WATER LLC         10201 S. MAIN STREET                     10201 S. MAIN STREET
255 N HYDRAULIC                       HOUSTON, TX 77025                        HOUSTON, TX 77025
WICHITA, KS 67214




DANIEL NARGISO                        DANIEL NIEVES                            DANIEL ORLANDO
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025
DANIEL ORTIZ           Case 18-12241-CSS     Doc 26
                                      DANIEL OSUNA       Filed 10/05/18   PageDANIEL
                                                                               472 of  1739
                                                                                     PAGET
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL PARDEN                         DANIEL PENATE                           DANIEL PENLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL PERDUE                         DANIEL PETTICREW                        DANIEL PHALEN-DEE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL PIACENTINO                     DANIEL PIERRE LOUIS                     DANIEL PINEDO
10201 S. MAIN STREET                  2351 NW 104TH TERR                      4550 JERICHO RD
HOUSTON, TX 77025                     MIAMI, FL 33147                         CORPUS CHRISTI, TX 78413




DANIEL PINHO                          DANIEL PINTO                            DANIEL POWERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL PRINDES                        DANIEL PROPERTIES LLC                   DANIEL PRUSZKA
10201 S. MAIN STREET                  PO BOX 44033                            10201 S. MAIN STREET
HOUSTON, TX 77025                     WESSEX CO                               HOUSTON, TX 77025
                                      PHOENIX, AZ 85064




DANIEL PUGH                           DANIEL RAMIREZ                          DANIEL RAMOS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL REILLY                         DANIEL REILLY                           DANIEL ROBERTO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL ROBERTS                        DANIEL ROBINSON                         DANIEL RODRIGUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL RUIZ DBA HOUSTON SPA MOVERS    DANIEL RUST                             DANIEL RYMAN
22215 SPRING CROSSING DR              10201 S. MAIN STREET                    10201 S. MAIN STREET
SPRING, TX 77373                      HOUSTON, TX 77025                       HOUSTON, TX 77025
DANIEL SANBURG         Case 18-12241-CSS     Doc 26 GARIBAY
                                      DANIEL SANCHEZ  Filed 10/05/18   PageDANIEL
                                                                            473 of  1739
                                                                                  SCHEIDECKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                8008 DALTONSHIRE DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                   OAK RIDGE, NC 27310




DANIEL SCHEPPS                         DANIEL SCRIBNER                     DANIEL SEGARRA
10201 S. MAIN STREET                   10201 S. MAIN STREET                4635 KIPLING ST 7
HOUSTON, TX 77025                      HOUSTON, TX 77025                   WHEAT RIDGE, CO 80033




DANIEL SEIFU                           DANIEL SHANNON                      DANIEL SHEPARDSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIEL SHOCKLEY                        DANIEL SIGNS INC                    DANIEL SOMAR
10201 S. MAIN STREET                   109 CALUMET DR                      10201 S. MAIN STREET
HOUSTON, TX 77025                      BIRMINGHAM, AL 35242                HOUSTON, TX 77025




DANIEL SOTO DBA DAN DELIVERY INC       DANIEL SPALIARAS                    DANIEL STOW
318 VANNA CT.                          10201 S. MAIN STREET                10201 S. MAIN STREET
HILLSIDE, IL 60162                     HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIEL SUCCAR                          DANIEL TAQUINO                      DANIEL TAYLOR
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIEL TAYLOR                          DANIEL TEDOR                        DANIEL THOMAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIEL TIESI                           DANIEL TRUMBLE                      DANIEL TUCKER
10201 S. MAIN STREET                   9 GAY ST                            10201 S. MAIN STREET
HOUSTON, TX 77025                      NEWNAN, GA 30263                    HOUSTON, TX 77025




DANIEL TURNER                          DANIEL VALENTIN                     DANIEL VILLASENOR
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIEL VILLATORO                       DANIEL W PHIPPS                     DANIEL W PHIPPS
10201 S. MAIN STREET                   318 N COLLEGE                       318 N. COLLEGE STREET
HOUSTON, TX 77025                      AUBURN, AL 36831-2225               AUBURN, AL 36830
DANIEL W PHIPPS        Case   18-12241-CSS     Doc 26
                                        DANIEL WALKER      Filed 10/05/18   PageDANIEL
                                                                                 474 of  1739
                                                                                       WEBER
DBA LIBERTY PROPERTIES                  10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 2225                             HOUSTON, TX 77025                       HOUSTON, TX 77025
AUBURN, AL 36831




DANIEL WHITE                            DANIEL WILLIAM MACKEY                   DANIEL WILSON
10201 S. MAIN STREET                    913 WOODROW AVE                         10201 S. MAIN STREET
HOUSTON, TX 77025                       BAKERSFIELD, CA 93308                   HOUSTON, TX 77025




DANIEL WITT                             DANIEL WOOD                             DANIEL YORK
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIEL ZARAGOZA                         DANIEL ZETLAW                           DANIELE BICHEL
10201 S. MAIN STREET                    10201 S. MAIN STREET                    27817 JADE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       MISSION VIEJO, CA 92691




DANIELLA GARCIA                         DANIELLE AYER                           DANIELLE BAGLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    89 EUTAW AVE APT 3
HOUSTON, TX 77025                       HOUSTON, TX 77025                       LYNN, MA 01902




DANIELLE BESSONE-JERARD                 DANIELLE BOSTON                         DANIELLE BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIELLE BROWN                          DANIELLE CARTER                         DANIELLE CASEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIELLE CURTO                          DANIELLE CUTTONE                        DANIELLE DENMON
8410 147TH ST CT E                      173 FAIRWAY RD                          170 WILDFLOWER DR
PUYALLUP, WA 98375                      LAKE ZURICH, IL 60047                   JACKSONVILLE, AR 72076




DANIELLE EVANS                          DANIELLE FEKAY                          DANIELLE FERRARA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANIELLE FORSTER                        DANIELLE HALL                           DANIELLE HARTER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    4911 HWY 90
HOUSTON, TX 77025                       HOUSTON, TX 77025                       MILTON, FL 32571
DANIELLE HOWARD        Case 18-12241-CSS     Doc
                                      DANIELLE    26 Filed 10/05/18
                                               JARMON                 PageDANIELLE
                                                                           475 of M1739
                                                                                    CORDES
10201 S. MAIN STREET                  10201 S. MAIN STREET                120 HARVEST DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                   ALIQUIPPA, PA 15001




DANIELLE MACK                         DANIELLE MEDLOCK                    DANIELLE MESA
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIELLE MONROE                       DANIELLE MONTECALVO                 DANIELLE MOORE
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIELLE NASSER                       DANIELLE POSTMA                     DANIELLE POWDRELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIELLE ROTHFELD                     DANIELLE SASSE                      DANIELLE SCIALLO
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIELLE SILVER                       DANIELLE SWEENEY                    DANIELLE TAYLOR
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




DANIELLE WHEELER                      DANIELLE WILLIS                     DANIELLE WOLF
3348 E CARMEL AVE                     10201 S. MAIN STREET                112005 2422 S ONIDA ST
MESA, AZ 85204                        HOUSTON, TX 77025                   GREEN BAY, WI 54304




DANIELLE WONG                         DANILO PERDOMO                      DANITA DAVIS
275 S ARROYO PKWY APT 617             10201 S. MAIN STREET                10201 S. MAIN STREET
PASADENA, CA 91105                    HOUSTON, TX 77025                   HOUSTON, TX 77025




DANMARC ELECTRIC INC                  DANNI MANN                          DANNI THOMPSON
162 ALHAMBRA DR                       10201 S. MAIN STREET                10201 S. MAIN STREET
PUEBLO, CO 81005                      HOUSTON, TX 77025                   HOUSTON, TX 77025




DANNY AGUILAR                         DANNY BONADUCE                      DANNY CARDER
10201 S. MAIN STREET                  1236 3RD AVE N                      10201 S. MAIN STREET
HOUSTON, TX 77025                     SEATTLE, WA 98109                   HOUSTON, TX 77025
DANNY CHAVEZ            Case 18-12241-CSS     Doc 26
                                       DANNY HAMILTON      Filed 10/05/18   PageDANNY
                                                                                 476 HOLMES
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANNY LAWRENCE                          DANNY MCCRAY                            DANNY MEJIA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANNY PALACIOS                          DANNY PODOBNIK                          DANNY PYATT
3015 STARSIDE DR                        10201 S. MAIN STREET                    10201 S. MAIN STREET
BAKERSFIELD, CA 93312                   HOUSTON, TX 77025                       HOUSTON, TX 77025




DANNY QUINONES                          DANNY SANCHEZ                           DANNY SARELAS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANNY SIMMS                             DANNY TANNERY                           DANNY VAZQUEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANNY WILSON                            DANS PAPERS LLC                         DANS SERVICE PLUS LLC
10201 S. MAIN STREET                    158 COUNTY RD 39 BLDG A                 4801 N 32ND AVE
HOUSTON, TX 77025                       SOUTHAMPTON, NY 11968                   WAUSAU, WI 54401




DANTE BLACKMON                          DANTE DUNHAM                            DANTE LASTRA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    4520 E LA SALLE ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                       PHOENIX, AZ 85040




DANTE MAGRO                             DANTE MONTILLA                          DANTE PIURE NAVAS
10201 S. MAIN STREET                    5900 N BRAESWOOD DR 225                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77074                       HOUSTON, TX 77025




DANTE STANLEY                           DANTE WAUGH                             DANTES PAYNE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DANVILLE REGISTER & BEE                 DANVILLE SANITARY DISTRICT              DANVILLE SANITARY DISTRICT
PO BOX 25908                            16161 GRAPE CREEK RD                    PO BOX 81
RICHMOND, VA 23260-5908                 DANVILLE, IL 61834                      DANVILLE, IL 61834-0081
                        Case 18-12241-CSS
DANVILLE VA (194 HOLT GARRISON) LLC           Doc
                                       DANVILLE      26 LLC
                                                VENTURE    Filed   10/05/18    PageDANVILLE
                                                                                    477 of 1739
1400 16TH ST. STE 300                  1332 MAIN ST STE 30                         ATTN: PROPERTY TAX DEPT.
HINSDALE, IL 60523                     COLUMBIA, SC 29201                          PO BOX 480
                                                                                   DANVILLE, VA 24543




DANYELLE HOLMES                          DANZEL WASHINGTON                         DAPHNE HARRISON
201 WEST STARK RD                        10201 S. MAIN STREET                      10201 S. MAIN STREET
SEAGOVILLE, TX 75159                     HOUSTON, TX 77025                         HOUSTON, TX 77025




DAPHNE PONCE                             DAPHNE SCHRAGE                            DAPHNE UTILITES
10201 S. MAIN STREET                     10201 S. MAIN STREET                      900 DAPHNE AVE
HOUSTON, TX 77025                        HOUSTON, TX 77025                         DAPHNE, AL 36526




DAPHNE UTILITES                          DAPHNEY STEPHEN                           DAPHYNE BOWENS
P.O. BOX 580051                          10201 S. MAIN STREET
CHARLOTTE, NC 28258-0051                 HOUSTON, TX 77025




DAPTIV                                   DAR NORTHCHASE LLC                        DAR NORTHCHASE LLC
DEPT 3122                                C/O UNILEV MANAGEMENT CORPORATION         C/O UNILEV MANAGEMENT CORPORATION
LOS ANGELES, CA 90084-3122               ONE RIVERWAY #100                         ONE RIVERWAY 100
                                         ATTN: MGT AGT-NORTHCHASE PLZ SHPPNG       ATTN: MGT AGT-NORTHCHASE PLZ SHPPNG
                                         CTR                                       CTR
                                         HOUSTON, TX 77056                         HOUSTON, TX 77056


DAR NORTHCHASE LLC                       DAR PROPERTIES TWO LLC                    DAR PROPERTIES TWO LLC
DEPT 344                                 3529 MARQUETTE ST                         C/O PETER M. CARRELL & COMPANY, INC.
PO BOX 4408                              DALLAS, TX 75225                          115 S. KENTUCKY STREET
HOUSTON, TX 77210                                                                  MCKINNEY, TX 75069




DARA DUNN                                DARALYN HOLMES                            DARAY SIMMS
10201 S. MAIN STREET                     90 N 200 E                                1100 ROSEMONT DR
HOUSTON, TX 77025                        PROVO, UT 84606                           DE SOTO, TX 75115




DARBY KELLY                              DARCEY BENJAMIN                           DARCY HENDRIX
1511 BARCLAY                             170 BANCROFT ST APT B                     3056 TILLMAN RD
CARROLLTON, TX 75007                     IMLAY CITY, MI 48444                      NORFOLK, VA 23513




DARCY MICHAEL CASHIN                     DARCY MICHAEL CASHING                     DARE COUNTY WATER DEPT
1030 WHITEFISH HILLS DRIVE               1030 WHITEFISH HILLS DR                   ATTN KEN FLATT, DIRECTOR
WHITEFISH, MT 59937                      WHITEFISH, MT 59937                       954 MARSHALL C COLLINS DR, PO BOX 1000
                                                                                   MANTEO, NC 27954




DARE COUNTY WATER DEPT                   DARE COUNTY WATER                         DARE
P.O. BOX 538321                          PO BOX 1334                               ATTN: PROPERTY TAX DEPT.
ATLANTA, GA 30353-8321                   CHARLOTTE, NC 28201                       PO BOX 1000
                                                                                   MANTEO, NC 27954-1000
DAREAN RHODES            Case 18-12241-CSS     Doc 26
                                        DAREN ADAMS        Filed 10/05/18   PageDAREN
                                                                                 478 DAVIS
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DARGAN FRANKS                           DARIA CAREY                             DARIA RUSSELL
2164 BRIGHTON ST                        10201 S. MAIN STREET                    10201 S. MAIN STREET
PHILADELPHIA, PA 19149                  HOUSTON, TX 77025                       HOUSTON, TX 77025




DARIAN BURSLEY                          DARIAN DAILEY                           DARIEN BAKER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DARIEN COBLE                            DARIEN WILLIAMS                         DARIN CHANDLER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DARIN EDWARDS                           DARIN FORDE                             DARIN KOCIEMBA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DARIN MENGARELLI                        DARIN WILLIAMS                          DARIO ALTAMIRANO
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DARIO MEJIA                             DARIO PROPERTIES LTD                    DARIUS BELL
10201 S. MAIN STREET                    C/O BIJAN BONAKCHI                      10201 S. MAIN STREET
HOUSTON, TX 77025                       12300 IH-10WEST                         HOUSTON, TX 77025
                                        SAN ANTONIO, TX 78230




DARIUS BURDEN                           DARIUS HAMBY                            DARIUS HAUGABROOK
10201 S. MAIN STREET                    10201 S. MAIN STREET                    772 POINTE S PKWY APT 1904
HOUSTON, TX 77025                       HOUSTON, TX 77025                       JONESBORO, GA 30238




DARIUS JACKSON                          DARIUS JAEKEL                           DARIUS JOHNSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DARIUS NESBY                            DARIUS SHELTON                          DARIUS SMITH
10201 S. MAIN STREET                    1206 COLLIER POINT LN                   10201 S. MAIN STREET
HOUSTON, TX 77025                       FRESNO, TX 77545                        HOUSTON, TX 77025
DARIUS SMITH           Case 18-12241-CSS
                                      DARIUSZDoc 26
                                             CORBEY      Filed 10/05/18   PageDARK
                                                                               479HORSE
                                                                                   of 1739
                                                                                        BENEFITS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    607 PRAIRIE LAKE DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                       CASSELBERRY, FL 32730




DARLA GALOVIC                         DARLENE ALONZO                          DARLENE LATHROP
16890 OAK MANOR DR                    10201 S. MAIN STREET                    1749 PARKNELL LANE
WESTFIELD, IN 46074                   HOUSTON, TX 77025                       PORT WASHINGTON, WI 53074




DARLENE RANDRUP                       DARLENE REIDY                           DARNELL ALSTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARNELL THORNTON                      DAROM PLAZA ASSOCIATES                  DARON BROWN
10201 S. MAIN STREET                  C/O ELIAT MANAGEMENT CO.                10201 S. MAIN STREET
HOUSTON, TX 77025                     650 S. ORCAS, SUITE 210                 HOUSTON, TX 77025
                                      SEATTLE, WA 98108




DARON TURCOTTE                        DARRAL SCHLIENTZ                        DARREL SPICZKA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    17657 WEST ASTER DRIVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       SURPRISE, AZ 85388




DARREL WORMLEY                        DARRELL ABERNATHY                       DARRELL DIXON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARRELL MINA                          DARRELL MOORE                           DARRELL PEEL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARRELL PERKINS                       DARRELL WYATT                           DARREN BARROW
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARREN BRIDGES                        DARREN CARTER                           DARREN CHILDERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARREN DAWSON                         DARREN FULCER                           DARREN GALLICHIO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
DARREN HARTLEY         Case 18-12241-CSS
                                      DARRENDoc 26 Filed 10/05/18
                                            JOHNSON                       PageDARREN
                                                                               480 ofKRESS
                                                                                      1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARREN MCQUIETER                      DARREN RUBIN                            DARREN RYSAVY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARREN SORLEY                         DARREN WILLIAMS                         DARREN YOUNG
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARRIEN CAUGHORN                      DARRIN LUNDY                            DARRY SAECHAO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARRYL BAGLEY                         DARRYL CAPLE                            DARRYL COLEMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARRYL FLEMING                        DARRYL FRAZIER                          DARRYL GARTH
10201 S. MAIN STREET                  8041 S GREEN ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                     CHICAGO, IL 60620                       HOUSTON, TX 77025




DARRYL HAMILTON                       DARRYL LAMB                             DARRYL MCINTYRE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARRYL MILLER                         DARRYL RODRIGUEZ                        DARTAE GAINES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DARTMOUTH MARKETPLACE ASSOCIATES      DARTMOUTH MARKETPLACE ASSOCIATES,       DARVIET JOHNSON
LLC                                   LLC                                     10201 S. MAIN STREET
1800 LAKE PARK DR STE 103             1800 LAKE PARK DR, SUITE 103            HOUSTON, TX 77025
SMYRNA, GA 30080                      SMYRNA, GA 30080




DARWIN SANDERS                        DARYA WIERZBOWSKI                       DARYEL SCHNELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
DARYL FLOOD RELOCATIONCase
                       INC   18-12241-CSS     Doc 26
                                       DARYL KEENAN        Filed 10/05/18   PageDARYL
                                                                                 481 YOW
                                                                                      of 1739
PO BOX 731088                          10201 S. MAIN STREET                     10201 S. MAIN STREET
DALLAS, TX 75373-1088                  HOUSTON, TX 77025                        HOUSTON, TX 77025




DARYUS HENDERSON                       DASH FAMILY 2009 TRUST                   DASH FAMILY 2009 TRUST
10201 S. MAIN STREET                   5467 BAHIA LANE                          C/O DAVID ROTTENBERG-TRUSTEE
HOUSTON, TX 77025                      ATTN: DAVID ROTTENBERG, TRUSTEE          5467 BAHIA LN
                                       LA JOLLA, CA 92037                       LA JOLLA, CA 92037




DASH FAMILY 2009                       DASHA KENLAN                             DASHAWN PALMER
5467 BAHIA LANE                        7236 GALON GLEN RD                       10201 S. MAIN STREET
ATTN: DAVID ROTTENBERG                 RALEIGH, NC 27613                        HOUSTON, TX 77025
LA JOLLA, CA 92037




DASHEA LEWIS                           DASHEONA MINGO                           DASKO LABEL
10201 S. MAIN STREET                   3030 THOMAS LANE                         PO BOX 546
HOUSTON, TX 77025                      AUGUSTA, GA 30906                        SEEKONK, MA 02771




DASPIN & AUMENT, LLP                   DASPIN & AUMENT, LLP                     DAT NGHIEM
ATTN: JAMES H. MARSHALL, ESQ.          ATTN: NICOLE RUDMAN BROWN                10201 S. MAIN STREET
227 WEST MONROE STREET, SUITE 3500     227 WEST MONROE STREET, SUITE 3500       HOUSTON, TX 77025
CHICAGO, IL 60606                      CHICAGO, IL 60606




DAT TRAN                               DATA BRAINS INC                          DATA CLEAN CORPORATION
10201 S. MAIN STREET                   822 N A1A HWY STE 310                    PO BOX 128
HOUSTON, TX 77025                      PONTE VEDRA, FL 32082                    GLENVIEW, IL 60025




DATA FOUNDRY                           DATA MASON SOFTWARE LLC                  DATAFLOW SERVICES
P.O. BOX 730396                        PO BOX 732078                            DEPT 0544
DALLAS, TX 75373-0396                  DALLAS, TX 75373-2078                    PO BOX 120544
                                                                                DALLAS, TX 75312-0544




DATAMAX SYSTEM SOLUTIONS INC           DATAPIPE INC                             DATAPIPE INC
6251 PARK OF COMMERCE BLVD STE B       10 EXCHANGE PLACE 12TH FL                PO BOX 36477
BOCA RATON, FL 33487                   JERSEY CITY, NJ 07302                    NEWARK, NJ 07188-6477




DATASOURCE                             DATASOURCE                               DATAVAIL CORPORATION
1400 UNIVERSAL AVE                     DEP. 730023/PO BOX 660919                11800 RIDGE PARKWAY STE 125
KANSAS CITY, MO 64120                  DALLAS, TX 75266-0919                    BROOMFIELD, CO 80021




DATAWATCH CORPORATION                  DATEL SOFTWARE SOLUTIONS LLC             DAUDI PONSIANO
271 MILL RD                            PO BOX 337                               27402 WOODED CANYON DR.
QUOROM OFFICE PARK                     MURRYSVILLE, PA 15668                    KATY, TX 77494
CHELMSFORD, MA 01824
                        Case 18-12241-CSS
DAUM COMMERCIAL REAL ESTATE                    Doc 26 Filed
                                       DAVE BOONE             10/05/18   PageDAVE
                                                                              482BRUMMETT
                                                                                  of 1739
SERVICES                               10201 S. MAIN STREET                  10201 S. MAIN STREET
ATTN: LAUREN OVERMAN                   HOUSTON, TX 77025                     HOUSTON, TX 77025
1702 E HIGHLAND AVE STE 120
PHOENIX, AZ 85016



DAVE CLEMENS                         DAVE FRIEDLANDER                        DAVE GARECHT
1900 NE 3RD ST                       10201 S. MAIN STREET                    10201 S. MAIN STREET
BEND, OR 97701                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVE GRENIER                         DAVE HOLMES                             DAVE KAPLAN
345 VIA DEL SOL DR                   678 MANOR LANE                          10201 S. MAIN STREET
DAVENPORT, FL 33896                  MANTECA, CA 95336                       HOUSTON, TX 77025




DAVE KELLER                          DAVE KENDRICK                           DAVE KITSBERG
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVE KLEBER                          DAVE KNOPP                              DAVE KUBLER
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVE LIDDIARD                        DAVE MACKOWSKI                          DAVE NARVAEZ
514 BRYDEN AVE                       10201 S. MAIN STREET                    10201 S. MAIN STREET
LEWISTON, ID 83501                   HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVE PENROD                          DAVE POLLOCK                            DAVE PRICE
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVE PUTKA                           DAVE RICKARDS                           DAVE SHANK JANITORIAL SERVICE
10201 S. MAIN STREET                 14375 CHEYENNE TR.                      16775 SHANK ROAD
HOUSTON, TX 77025                    POWAY, CA 92064                         ANDERSON, CA 96007




DAVE SHAW                            DAVE SKILLMAN                           DAVE SPOSITO
10201 S. MAIN STREET                 10201 S. MAIN STREET                    4812 S MYRTLE ST
HOUSTON, TX 77025                    HOUSTON, TX 77025                       SPOKANE, WA 99223




DAVE TILLETT                         DAVE TYRYFTER                           DAVE WEST
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025
DAVE WOOD              Case    18-12241-CSS     Doc 26
                                         DAVIA FULMORE       Filed 10/05/18   PageDAVID
                                                                                   4832016
                                                                                        of 1739
                                                                                           LLC
DBA DNW LLC                              10201 S. MAIN STREET                     C/O OLDHAM GOODWIN GROUP LLC
12845 RESEARCH BLVD STE E                HOUSTON, TX 77025                        2800 S TEXAS AVE STE 401
AUSTIN, TX 78750                                                                  BRYAN, TX 77802




DAVID A AND BATIA HOFSTADTER             DAVID A BUHR                             DAVID A GARLAND
5410 RHODES AVENUE, APT. 209             54005 188 ST
VALLEY VILLAGE, CA 91607                 MANKATO, MN 56001




DAVID A HOFSTADTER AND BATIA             DAVID A. SMALL                           DAVID ABEL
HOFSTADTER                               501 ELM STREET                           10201 S. MAIN STREET
5410 RHODES AVE APT 209                  DALLAS, TX 75202                         HOUSTON, TX 77025
VALLEY VILLAGE, CA 91607




DAVID ABEL                               DAVID ACRES                              DAVID AJEMIAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




DAVID ALDRIDGE                           DAVID ALTMAN                             DAVID AMSTUTZ
10201 S. MAIN STREET                     110 EAST DELAWARE PLACE APT 501          10201 S. MAIN STREET
HOUSTON, TX 77025                        CHICAGO, IL 60611                        HOUSTON, TX 77025




DAVID ANIMADU                            DAVID ANTIGUA                            DAVID ARAICA
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




DAVID ASKEW JR.                          DAVID B HANNA                            DAVID B JOECKEL JR
10201 S. MAIN STREET                     7106 ROYALGREEN DR                       DBA THE JOECKEL LAW OFFICE
HOUSTON, TX 77025                        CINCINNATI, OH 45244                     219 S MAIN ST STE 301
                                                                                  FORT WORTH, TX 76104




DAVID BACHELOR                           DAVID BADEAU                             DAVID BAEZ RODRIGUEZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




DAVID BAILEY                             DAVID BAKER                              DAVID BARANOWSKI
10201 S. MAIN STREET                                                              10201 S. MAIN STREET
HOUSTON, TX 77025                                                                 HOUSTON, TX 77025




DAVID BARRETT                            DAVID BEDNARZ                            DAVID BEDRITIS
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
DAVID BENNETT           Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                       DAVID BERGERON                 PageDAVID
                                                                           484BEZIAT
                                                                                of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID BIASIOLLI                        DAVID BINGHAM                      DAVID BLATT
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID BOCCHINO                         DAVID BONILLA                      DAVID BORNSTEIN
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID BRANDON                          DAVID BRIGGS                       DAVID BRIGHT
1236 NE FLORENCE AVE                   10201 S. MAIN STREET               10201 S. MAIN STREET
LEES SUMMIT, MO 64086                  HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID BROWN                            DAVID BRUENI                       DAVID BUCKLEW
10201 S. MAIN STREET                   884 E ROYAL RIDGE DR.              10201 S. MAIN STREET
HOUSTON, TX 77025                      TUCSON, AZ 85755                   HOUSTON, TX 77025




DAVID BURGAR                           DAVID BURNS                        DAVID BUTLER
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID BYE                              DAVID C STEVENS                    DAVID CAMPOS-PEREZ
10201 S. MAIN STREET                   11101 NEWCASTLE AVE                10201 S. MAIN STREET
HOUSTON, TX 77025                      GRANADA HILLS, CA 91344            HOUSTON, TX 77025




DAVID CAPPABIANCA                      DAVID CARAFIOL                     DAVID CARRASQUILLO
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID CARTER                           DAVID CASTRO                       DAVID CHAN
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID CHANCEY                          DAVID CHEGE                        DAVID CHENAULT
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025
DAVID CHIODA DBA CHIODACase  18-12241-CSS
                        WINDOW                 Doc 26 Filed
                                       DAVID CLARK            10/05/18   PageDAVID
                                                                              485CLARK
                                                                                   of 1739
CLEANING                               10201 S. MAIN STREET                  10201 S. MAIN STREET
105 ROBERTA ST                         HOUSTON, TX 77025                     HOUSTON, TX 77025
BUTLER, PA 16001




DAVID CLAYCOMB                       DAVID COLLEGE                           DAVID CONNELL
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID CONTRERAS                      DAVID CORDOVA                           DAVID CORONADO
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID CORRIPIO                       DAVID COVINGTON                         DAVID COWARD
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID CROWE                          DAVID CULL                              DAVID DALTON
10201 S. MAIN STREET                 10201 S. MAIN STREET                    WHSE MANAGER-CHARLESTON
HOUSTON, TX 77025                    HOUSTON, TX 77025                       1945 HUBBELL DR
                                                                             MT PLEASANT, SC 29466




DAVID DAVILA                         DAVID DAVIS                             DAVID DAVIS, REAL ESTATE ASSET
10201 S. MAIN STREET                 10201 S. MAIN STREET                    MANAGER
HOUSTON, TX 77025                    HOUSTON, TX 77025                       868 N CONCORD STREET, 2ND FLOOR
                                                                             MAC D1005-020
                                                                             CONCORD, NC 28025



DAVID DAWSON                         DAVID DEE                               DAVID DELBIANCO
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID DELEON INC                     DAVID DELEON                            DAVID DIBBLE
10346-1/2 RIVERSIDE DR               10201 S. MAIN STREET                    10201 S. MAIN STREET
TOLUCA LAKE, CA 91602                HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID DICKEL III                     DAVID DOMINQUEZ                         DAVID DREWS
10201 S. MAIN STREET                 10201 S. MAIN STREET                    12439 N 29TH DR.
HOUSTON, TX 77025                    HOUSTON, TX 77025                       PHOENIX, AZ 85029




DAVID DUNCAN                         DAVID E RUTHERFORD                      DAVID E SINGERMAN
10201 S. MAIN STREET                 5625 MANZANITA AVE 22                   5211 PROCTOR LANDING NW
HOUSTON, TX 77025                    CARMICHAEL, CA 95608                    ACWORTH, GA 30101
DAVID EDWARDS            Case 18-12241-CSS     Doc 26
                                        DAVID ELLOS        Filed 10/05/18   PageDAVID
                                                                                 486ENAV
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID ESTRADA                           DAVID EVANS                             DAVID FERN
6923 NOAH CT 102                        10201 S. MAIN STREET                    10201 S. MAIN STREET
CALDWELL, ID 83607                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID FERNANDEZ                         DAVID FLORES                            DAVID FORD CROSSING
10201 S. MAIN STREET                    10201 S. MAIN STREET                    C/O RAPPAPORT MANAGEMENT COMPANY
HOUSTON, TX 77025                       HOUSTON, TX 77025                       8405 GREENSBORO DRIVE, 8TH FLOOR
                                                                                MCLEAN, VA 22102-5121




DAVID FORD                              DAVID FRANCISCO                         DAVID FRANK
2205 RIVA ROW APT 2204                  10201 S. MAIN STREET                    10201 S. MAIN STREET
SPRING, TX 77380                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID FROMAYAN                          DAVID FUENTES VIDAL                     DAVID GALAHITY
10201 S. MAIN STREET                    17220 NW 53RD AVE                       10201 S. MAIN STREET
HOUSTON, TX 77025                       MIAMI GARDENS, FL 33055                 HOUSTON, TX 77025




DAVID GAMER                             DAVID GARCIA                            DAVID GARCIA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID GARLAND                           DAVID GEIGER                            DAVID GILLENS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID GOLDSTEIN                         DAVID GOLDSTEIN                         DAVID GOLDSTEIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID GOMEZ                             DAVID GOTCHIE                           DAVID GRAVES
6523 CATALINA LANE                      10201 S. MAIN STREET                    10201 S. MAIN STREET
TAMARAC, FL 33321                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID GRAY                              DAVID GREENE                            DAVID GRENIER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
DAVID GRIGGS           Case 18-12241-CSS     Doc 26
                                      DAVID GROSBY        Filed 10/05/18       PageDAVID
                                                                                    487H.ofCOLE
                                                                                            1739
10201 S. MAIN STREET                  900 LENORA 306                               COON & COLE, LLC
HOUSTON, TX 77025                     SEATTLE, WA 98121                            401 WASHINGTON AVE, SUITE 501
                                                                                   TOWSON, MD 21204




DAVID HALL                            DAVID HALLORAN                               DAVID HARAGAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                         10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                            HOUSTON, TX 77025




DAVID HARMON                          DAVID HARRIS                                 DAVID HARRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                         10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                            HOUSTON, TX 77025




DAVID HARRISON                        DAVID HATTON                                 DAVID HEIMERMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                         10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                            HOUSTON, TX 77025




DAVID HENRIOTT                        DAVID HENSLEY                                DAVID HERNANDEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                         10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                            HOUSTON, TX 77025




DAVID HICKEY                          DAVID HINTO                                  DAVID HOBBS
10201 S. MAIN STREET                  520 N RICHARD JACKSON BLVD                   10201 S. MAIN STREET
HOUSTON, TX 77025                     GV 808                                       HOUSTON, TX 77025
                                      PANAMA CITY BEACH, FL 32407




DAVID HOLLAND                         DAVID HOLLAWAY                               DAVID HOLMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                         10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                            HOUSTON, TX 77025




DAVID HOWELL                          DAVID HUBER                                  DAVID HUYNH
3930 ACCENT DR 2618                   9426 MATHOG RD                               10201 S. MAIN STREET
DALLAS, TX 75287                      RIVERVIEW, FL 33578                          HOUSTON, TX 77025




DAVID ILDEFONSO                       DAVID J & MARILYN B MARTIN IRREV TRUST       DAVID J ETTL
10201 S. MAIN STREET                  DBA PLANTATION SQUARE SHOPPING               315 N 36TH AVE
HOUSTON, TX 77025                     CENTER                                       YAKIMA, WA 98902
                                      1201 BUCK JONES RD
                                      RALEIGH, NC 27606



DAVID J JAMISON                       DAVID JACKSON                                DAVID JACOBSON
DBA ALLIED LANDSCAPING & DESIGN       10201 S. MAIN STREET                         10201 S. MAIN STREET
732 ARVIN RD                          HOUSTON, TX 77025                            HOUSTON, TX 77025
VIRGINIA BEACH, VA 23464
DAVID JAMES              Case 18-12241-CSS     Doc 26
                                        DAVID JANES        Filed 10/05/18   PageDAVID
                                                                                 488JIMENEZ
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID JOHNSON                           DAVID JONES                             DAVID KAPIJ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID KARTHEISER                        DAVID KEISER                            DAVID KELLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID KERVIN                            DAVID KILPATRICK                        DAVID KING
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID KIRCH                             DAVID KITA                              DAVID KNIGHTS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID KOWALSKI                          DAVID KUNSMAN                           DAVID L HAIGHT
10201 S. MAIN STREET                    10201 S. MAIN STREET                    DBA ORLANDO FLORIDA FORKLIFT LLC
HOUSTON, TX 77025                       HOUSTON, TX 77025                       6716 WHISPERING PINES RD
                                                                                ORLANDO, FL 32824




DAVID L MCCLEES                         DAVID L SKELTON - TRUSTEE               DAVID L. LANSKY, ESQ.
DBA RUMERY LLC                          PO BOX 1301                             DICKINSON WRIGHT PLLC
340 FORE ST                             MEMPHIS, TN 38101-1301                  1850 NORTH CENTRAL AVENUE, SUITE 1400
PORTLAND, ME 04103                                                              PHOENIX, AZ 85016




DAVID L. PERDUE                         DAVID LAMBERT                           DAVID LAMBERT
9161 LIBERTY MILLS RD.                  10201 S. MAIN STREET                    10201 S. MAIN STREET
SOMERSET, VA 22972                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID LATHAM                            DAVID LAUFER                            DAVID LEE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID LEE                               DAVID LENTINI                           DAVID LEWIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
DAVID LIERMAN          Case 18-12241-CSS      Doc 26
                                      DAVID LIKAR         Filed 10/05/18   PageDAVID
                                                                                489LILIENTHAL
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID LIN                              DAVID LINDON                            DAVID LINEBERRY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID LIST                             DAVID LITT                              DAVID LITTLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID LIVINGSTON                       DAVID LONGO                             DAVID LOVE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID M ALVAREZ                        DAVID M MARTINEZ                        DAVID M WEBSTER
410 N ELM ST APT B                     5015 FORSTER AVE                        5416 SUTTON PLACE
TOPPENISH, WA 98948                    SCHILLER PARK, IL 60176                 THE COLONY, TX 75056




DAVID MAGGARD                          DAVID MAK                               DAVID MALKIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID MANN                             DAVID MANN                              DAVID MARLOW
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID MARTIN                           DAVID MARTINEZ                          DAVID MARTINEZ
                                       10201 S. MAIN STREET                    10201 S. MAIN STREET
                                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID MASLAR                           DAVID MCKEE                             DAVID MCKNELLY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID MELLO                            DAVID MENDOZA AGUILAR                   DAVID MEYER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
DAVID MILBY             Case 18-12241-CSS     Doc 26
                                       DAVID MILHONE      Filed 10/05/18   PageDAVID
                                                                                490MILLMAN
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID MONTGOMERY                       DAVID MOODY                             DAVID MOORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID MORRISON                         DAVID MOSES III                         DAVID MOSKOS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID MUNASINGHE                       DAVID MUZZY                             DAVID NADLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID NAFAR                            DAVID NELSON                            DAVID NELSON
7 SHERWYN LANE                         10201 S. MAIN STREET                    10201 S. MAIN STREET
CREVE COEUR, MO 63141                  HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID NOLAND                           DAVID NOLTE                             DAVID NORTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID OHNSTAD                          DAVID OLIVER                            DAVID ONEILL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID ORWIG                            DAVID PACE                              DAVID PACHECO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DAVID PACKER                           DAVID PALI                              DAVID PAQUETTE
10201 S. MAIN STREET                   39 TRANQUIL GLADE PL                    10201 S. MAIN STREET
HOUSTON, TX 77025                      THE WOODLANDS, TX 77381                 HOUSTON, TX 77025




DAVID PARK                             DAVID PAULUS                            DAVID PELLEGRINI
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
DAVID PENA CONSULTING   Case 18-12241-CSS     Doc 26
                                       DAVID PENROD         Filed 10/05/18   PageDAVID
                                                                                  491PEREZ
                                                                                       of 1739
2834 OAT HARVEST CT                    9030 W SAHARA                             10201 S. MAIN STREET
HOUSTON, TX 77038                      LAS VEGAS, NV 89117                       HOUSTON, TX 77025




DAVID PETERSEN                         DAVID PIRRELLO                            DAVID PLAGMAN
10201 S. MAIN STREET                   5702 VICTOR ST APT 5                      10201 S. MAIN STREET
HOUSTON, TX 77025                      DALLAS, TX 75214                          HOUSTON, TX 77025




DAVID PORTER                           DAVID PRATT JR                            DAVID PUTMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DAVID RACKLEY                          DAVID RAYMOND                             DAVID RECORDS
425 NW 26TH APT 4                      503 W HOSIER COURT AVE                    10201 S. MAIN STREET
OKLAHOMA CITY, OK 73103                BLOOMINGTON, IN 47404                     HOUSTON, TX 77025




DAVID REEVES                           DAVID REEVES                              DAVID REYNOLDS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DAVID RICHARD                          DAVID RICHARDS                            DAVID RIVERA
110 BAMOO                              110 BAMBOO DR                             10201 S. MAIN STREET
MANDAN, ND 58554                       KINGSLAND, GA 31548                       HOUSTON, TX 77025




DAVID ROACH                            DAVID ROBERT BRONDOLO                     DAVID ROBINSON
10201 S. MAIN STREET                   4 AMHERST COURT                           10201 S. MAIN STREET
HOUSTON, TX 77025                      ROCKVILLE CENTRE, NY 11570                HOUSTON, TX 77025




DAVID ROBINSON                         DAVID RODRIGUEZ                           DAVID ROGERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DAVID ROGERS                           DAVID ROOKS                               DAVID ROSANNA
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DAVID ROTHSTEIN                        DAVID ROTTENBERG                          DAVID RUIZ
1200 DAVIS ST 20                       5467 BAHIA LANE                           10201 S. MAIN STREET
SAN LEANDRO, CA 94577                  LA JOLLA, CA 92037                        HOUSTON, TX 77025
DAVID S BYRUM           Case 18-12241-CSS
                                       DAVID S.Doc 26ENTERPRISES
                                               BROWN    Filed 10/05/18   PageDAVID
                                                                              492SACRIDER
                                                                                   of 1739
C/O SONIC DRIVE IN                      100 PAINTERS MILL ROAD, PH           10201 S. MAIN STREET
1536 N MAIN ST                          OWINGS MILLS, MD 21117               HOUSTON, TX 77025
SUFFOLK, VA 23434




DAVID SALMANSON                         DAVID SANCHEZ                        DAVID SCHLESINGER
L3 REALTY GROUP                         10201 S. MAIN STREET                 10201 S. MAIN STREET
6640 PINE TREE LANE                     HOUSTON, TX 77025                    HOUSTON, TX 77025
MIAMI BEACH, FL 33141-4531




DAVID SCHUYLER                          DAVID SCHWARTZ                       DAVID SEALS
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




DAVID SHANKS                            DAVID SHEIKH                         DAVID SHEPARDSON
3000 ALTAMESA BOULEVARD, SUITE 300      10201 S. MAIN STREET                 10201 S. MAIN STREET
FORT WORTH, TX 76133                    HOUSTON, TX 77025                    HOUSTON, TX 77025




DAVID SHOOK                             DAVID SILVERMAN                      DAVID SILVERSTEIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




DAVID SIMMONS                           DAVID SKJERVEN                       DAVID SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




DAVID SOLOW                             DAVID SORIANO                        DAVID SPARLING
10201 S. MAIN STREET                    10201 S. MAIN STREET                 4315 SWISS AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                    DALLAS, TX 75204




DAVID SPENCER                           DAVID STALLWORTH                     DAVID STEELE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




DAVID STEINBERG                         DAVID STONE                          DAVID STUART
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




DAVID SULLIVAN                          DAVID TAHAN                          DAVID TAVARI
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025
DAVID THIBAULT         Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      DAVID THOMPSON                 PageDAVID
                                                                          493TOM
                                                                               of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID TOMLINSON                       DAVID TOOLIN                       DAVID TORRES
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID UNSWORTH                        DAVID VANDERHOFF                   DAVID VANDEVENDER
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID VAUGHN                          DAVID VOYAK                        DAVID W PEARSON TRUSTEE
5032 SUNBROOK WAY                     10201 S. MAIN STREET               1450 HUDSON AVE
ACWORTH, GA 30101                     HOUSTON, TX 77025                  SAINT HELENA, CA 94574




DAVID W YALDO PC                      DAVID WACHENDORFER                 DAVID WAMPLER
ATTN: DAVID YALDO                     10201 S. MAIN STREET               10201 S. MAIN STREET
4036 TELEGRAPH ROAD, SUITE 201        HOUSTON, TX 77025                  HOUSTON, TX 77025
BLOOMFIELD HILLS, MI 48302




DAVID WEATHERS                        DAVID WEIBEL                       DAVID WELLS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID WILKINS                         DAVID WILLIAMS                     DAVID WILLIAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID WILLIAMS                        DAVID WILLIAMS                     DAVID WILSON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID WILSON                          DAVID WILSON                       DAVID WITT
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DAVID WITTENBERG                      DAVID WOODS                        DAVID WOODSON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025
DAVID WOODSON             Case 18-12241-CSS     Doc 26
                                         DAVID WRIGHT       Filed 10/05/18    PageDAVID
                                                                                   494WYSOCKI
                                                                                        of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




DAVID YANKOWSKI                          DAVID YINGST                             DAVID YOUNGBLOOD
10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025




DAVIDSON COMMONS 1682, LP                DAVIDSON COMMONS 1682, LP                DAVIDSON COUNTY CLERK
C/O KIMCO REALTY CORPORATION             C/O KIMCO REALTY CORPORATION             700 2ND AVENUE SOUTH
3333 NEW HYDE PARK ROAD, SUITE 100       3333 NEW HYDE PARK ROAD, SUITE 100       NASHVILLE, TN 37210
NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042-0020




DAVIDSON COUNTY GENERAL SESSIONS         DAVIESS COUNTY SHERIFF                   DAVIESS
COURT                                    212 ST ANN ST                            ATTN: PROPERTY TAX DEPT.
JUSTICE A.A. BIRCH BUILDING              OWENSBORO, KY 42303-4146                 212 ST ANN ST
408 SECOND AVE N STE 2110                                                         OWENSBORO, KY 42303-4146
NASHVILLE, TN 37219-6304



DAVIS 2016 LLC                           DAVIS COUNTY UTAH                        DAVIS CREIGHTON CORP
C/O OLDHAM GOODWIN GROUP, LLC            C/O ASSESSORS OFFICE                     ATTN: OFFICE
2800 S. TEXAS AVENUE, SUITE 401          PO BOX 618                               2805 W HORATIO ST
BRYAN, TX 77802                          FARMINGTON, UT 84025-0618                TAMPA, FL 33609




DAVIS DOOR SERVICE INC                   DAVIS FORD CROSSING LLC                  DAVIS FORD CROSSING LLC
2021 S GRAND ST                          8405 GREENSBORO DR                       P.O. BOX 789530
SEATTLE, WA 98144-4526                   MCLEAN, VA 22102                         PHILADELPHIA, PA 19178-9530




DAVIS NET LEASE NO 1 LP                  DAVIS OLUKU                              DAVIS STREET TRANSFER STATION
2290 WEST PIKE 100                       10201 S. MAIN STREET                     C/O WASTE MANAGEMENT
WESLACO, TX 78596                        HOUSTON, TX 77025                        2615 DAVIS ST
                                                                                  SAN LEANDRO, CA 94577




DAVIS STREET TRANSFER STATION            DAVIS WHITWORTH                          DAVIS WRIGHT TREMAINE LLP
P.O. BOX 541065                          10201 S. MAIN STREET                     1201 THIRD AVE STE 2200
LOS ANGELES, CA 90054-1065               HOUSTON, TX 77025                        SEATTLE, WA 98101-3045




DAVIS                                    DAVIS-CREIGHTON, CORP.                   DAVON JONES
ATTN: PROPERTY TAX DEPT.                 C/O DMD PROPERTIES, INC.                 10201 S. MAIN STREET
23 RUSSELL BLVD                          2805 W. HORATIO STREET                   HOUSTON, TX 77025
DAVIS, CA 95616                          TAMPA, FL 33609




DAVON PERKINS                            DAVONE WHITEHEAD                         DAVONTE MACKLIN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
DAVOS MANFIELD LLC     Case 18-12241-CSS    Doc 26 LLC
                                      DAVOS MANSFIELD Filed 10/05/18           PageDAVY
                                                                                    495WALLACE
                                                                                        of 1739
58 HIGHGATE STREET                     PO BOX 920732                               10201 S. MAIN STREET
NEEDHAM, MA 02495                      NEEDHAM, MA 02492                           HOUSTON, TX 77025




DAVYN HUNTER                           DAWN ALLEN                                  DAWN BROOKS
10201 S. MAIN STREET                   117 QUARTER MILE WAY                        10201 S. MAIN STREET
HOUSTON, TX 77025                      NICHOLASVILLE, KY 40356                     HOUSTON, TX 77025




DAWN CARR                              DAWN DIRK                                   DAWN KUNKEL
1403 PIKE DR                           10201 S. MAIN STREET                        10201 S. MAIN STREET
BRISTOL, IN 46507                      HOUSTON, TX 77025                           HOUSTON, TX 77025




DAWN LANCOUR                           DAWN TRIPOLI                                DAWN WADE
10201 S. MAIN STREET                   10201 S. MAIN STREET                        DISTRICT MANAGER-PHOENIX
HOUSTON, TX 77025                      HOUSTON, TX 77025                           1040 E OSBORN RD UNIT 403
                                                                                   PHOENIX, AZ 85014




DAWN WHITE                             DAWNISHA BYRDSELL                           DAWSON COUNTY TAX COMMISSIONER
5444 PRINCESS VIEW PLACE               10201 S. MAIN STREET                        25 JUSTICE WAY STE 1222
SAN DIEGO, CA 92120                    HOUSTON, TX 77025                           DAWSONVILLE, GA 30534-3454




DAWSON COUNTY                          DAWSON COUNTY                               DAWSON STEWART
ATTN: PROPERTY TAX DEPT.               PLANNING & DEVELOPMENT                      10201 S. MAIN STREET
25 JUSTICE WAY STE 2322                25 JUSTICE WAY STE 2322                     HOUSTON, TX 77025
DAWSONVILLE, GA 30534                  DAWSONVILLE, GA 30534




DAWSON, PAMELA                         DAWSONVILLE PROMENADE LLC                   DAWSONVILLE PROMENADE LLC
199 MORNINGMIST CT                     3350 RIVERWOOD PKWY SE                      C/O RIVERWOOD PROPERTIES LLC
SAN MARCOS, TX 78666-8789              STE 450                                     PO BOX 724506
                                       ATLANTA, GA 30339                           ATLANTA, GA 31139




DAWSONVILLE PROMENADE LLC              DAWSONVILLE PROMENADE, LLC                  DAY ELEVATOR AND LIFT
RIVERWOOD PROPERTIES LLC               210 INTERSTATE NORTH CIRCLE SE, SUITE       50 HEMPSTEAD GARDENS DR
3350 RIVERWOOD PKWY STE 450            50                                          WEST HEMPSTEAD, NY 11552
ATLANTA, GA 30339                      ATLANTA, GA 30339




DAY ONE EXPRESS CORP                   DAYMOND BAILEY                              DAYNA CANNARELLA
57-36 WALDRON ST                       10201 S. MAIN STREET                        10201 S. MAIN STREET
CORONA, NY 11368                       HOUSTON, TX 77025                           HOUSTON, TX 77025




DAYON SIMS                             DAYQUAN UZZELL                              DAYROLD RODRIGUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025
DAYSHAWN DEADWYLER       Case 18-12241-CSS     Doc 26
                                        DAYSI CASTRO       Filed 10/05/18   PageDAYT
                                                                                 496CONSTRUCTION
                                                                                     of 1739     INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                    595 N 1250 W STE4
HOUSTON, TX 77025                       HOUSTON, TX 77025                       CENTERVILLE, UT 84014




DAYTON ATWORTH                          DAYTON FREIGHT/KELLEY LOGISTICS         DAYTON MARKET
10201 S. MAIN STREET                    PO BOX 340                              3879 COLLECTIONS CENTER DRIVE
HOUSTON, TX 77025                       VANDALIA, OH 45377                      CHICAGO, IL 60693




DAYTON POWER & LIGHT CO                 DAYTON POWER & LIGHT CO                 DAYTONA BEACH NEWS-JOURNAL
1065 WOODMAN DR                         P.O. BOX 740598                         PO BOX 919423
DAYTON, OH 45432                        CINCINNATI, OH 45274-0598               ORLANDO, FL 32891




DAYVILLE FIRE DISTRICT                  DAYVILLE PROPERTY DEVELOPMENT LLC       DAYVILLE PROPERTY DEVELOPMENT, LLC
PO BOX 307                              15961 COLLECTIONS CENTER DR             C/O KITE REALTY GROUP, LP
DAYVILLE, CT 06241                      CHICAGO, IL 60693                       30 SOUTH MERIDIAN, SUITE 1100
                                                                                ATTN: VP PROPERTY OPERATIONS
                                                                                INDIANAPOLIS, IN 46204



DAZMAN FORUM I LLC                      DAZMAN FORUM I, LLC                     DBA INTERNATIONAL ENVIRONMETAL EQUIP
6237 PRESIDENTAL CT STE 130             1630 WEST HILLSBORO BOULEVARD           POBOX 8617
FORT MYERS, FL 33919                    DEERFIELD BEACH, FL 33442               HOUSTON, TX 77249




DBA-BETTER THAN BOTTLES                 DBK CONCEPTS                            DBM GROUP
SERGIO FRANCIAMORE                      12905 SW 129 AVE                        5 PETERS CANYON STE 150
PO BOX 2612                             MIAMI, FL 33186                         IRVINE, CA 92606
LAND O LAKE, FL 34639




DBRA RED WOODBURY LLC                   DBRA RED WOODBURY LLC                   DC COTTON
1345 AVE OF THE AMERICAS 46FL           PO BOX 638083                           10201 S. MAIN STREET
NEW YORK, NY 10105                      CINCINNATI, OH 45263-8083               HOUSTON, TX 77025




DC OFICE OF TAX & REV                   DC RADIO ASSETS LLC                     DC TREASURER
CORP EST FRANCHISE TAX                  WRQX-FM AKA CUMULUS BROADCASTING        CLERK OFFICE OF ADMINISTRATIVE
PO BOX 96019                            LLC                                     HEARINGS
WASHINGTON, DC 20090                    4400 JENIFER ST NW 4TH FL               ONE JUDICIARY SQUARE
                                        WASHINGTON, DC 20015                    441 4TH ST NW STE 450 N
                                                                                WASHINGTON, DC 20001


DC TREASURER                            DC USA OPERATING CO LLC                 DC USA OPERATING CO., LLC
OFFICE OF FINANCE & TREASURY            C/O GRID PROPERTIES INC                 C/O GRID PROPERTIES, INC.
UNCLAIMED PROPERTY UNIT                 2309 FREDERICK DOUGLAS BLVD             2309 FREDERICK DOUGLASS BOULEVARD
1101 4TH ST SW STE 800W                 NEW YORK, NY 10027                      NEW YORK, NY 10027
WASHINGTON, DC 20024



DC WATER AND SEWER AUTHORITY            DC WATER                                DCI COMMUNICATIONS INC
CUSTOMER SERVICE DEPT                   5000 OVERLOOK AVE SW                    12004 NE 4TH PLAIN RD STE D254
PO BOX 97200                            WASHINGTON, DC 20032                    VANCOUVER, WA 98682
WASHINGTON, DC 20090
DCT INDUSTRIAL TRUST INC.Case   18-12241-CSS     Doc 26
                                          DCT INDUSTRIAL     Filed 10/05/18   PageDCT
                                                                                   497  ofFARMS
                                                                                      OTA  1739LLC
518 17TH STREET, SUITE 800                BRENNA BURBANK, PROP SERVICE            C/O DCT INDUSTRIAL TRUST, INC.
DENVER, CO 80202                          COORDINATOR                             701 FIFTH AVENUE, SUITE 2830
                                          701 FIFTH AVENUE, SUITE 2830            ATTN: PROPERTY MANAGEMENT
                                          SEATTLE, WA 98104                       SEATTLE, WA 98104



DCT OTA FARMS LLC                         DCT OTA FARMS, LLC                      DCT/SPF PINNACLE IX LLC
C/O DCT PROPERTY MGMT LLC                 C/O DCT INDUSTRIAL TRUST INC.           518 17TH STREET, SUITE 800
DEPT 1379                                 555 17TH AVENUE, SUITE 3700             ATTN: LEGAL DEPARTMENT
DENVER, CO 80256                          ATTN: LEGAL DEPARTMENT                  DENVER, CO 80202
                                          DENVER, CO 80202



DCT/SPF PINNACLE IX LLC                   DCT/SPF PINNACLE IX LLC                 DCT/SPF PINNACLE IX LLC
ATTN: LEGAL DEPARTMENT                    C/O DCT INDUSTRIAL TRUST INC.           DCT/SPF INDUSTRIAL OPERATING
518 17TH STREET, SUITE 800                518 17TH STREET, SUITE 800              DEPT 1330
DENVER, CO 80202                          ATTN: PROPERTY MANAGEMENT               DENVER, CO 80256
                                          DENVER, CO 80202



DCTN3 314 MF MELBOURNE FL LLC             DCTN3 337 ABILENE TX LLC                DCTN3 337.1 ABILENE TX, LLC
620 E. SOUTHLAKE BLVD                     ATTN: ACCOUNTING DEPT                   C/O N3 REAL ESTATE
SOUTHLAKE, TX 76092                       1240 N KIMBALL AVE                      1240 N. KIMBALL AVENUE
                                          SOUTHLAKE, TX 76092                     SOUTHLAKE, TX 76092




DCTN3 342 MOBILE AL LLC                   DCTN3 342 MOBILE AL, LLC                DCTN3 342 MOBILE AL, LLC
ATTN: ACCOUNTING DEPT                     ATTN: ACCOUNTING DEPT                   C/O N3 REAL ESTATE
1240 N KIMBALL AVE                        1240 N KIMBALL AVE                      1240 N. KIMBALL AVENUE
SOUTHLAKE, TX 76092                       SOUTHLAKE, TX 76092                     SOUTHLAKE, TX 76092




DCTN3 360 SAHUARITA AZ LLC                DCTN3 362 PITTSBURGH PA LLC             DCTN3 362 PITTSBURGH PA, LLC
620 E SOUTHLAKE BLVD                      ATTN: ACCOUNTING DEPT                   C/O N3 REAL ESTATE
SOUTHLAKE, TX 76092                       1240 N KIMBALL AVE                      1240 N. KIMBALL AVENUE
                                          SOUTHLAKE, TX 76092                     SOUTHLAKE, TX 76092




DCTN3 366 SAN ANGELO TX LLC               DCTN3 366 SAN ANGELO TX LLC             DCTN3 366 SAN ANGELO TX, LLC
ATTN: ACCOUNTING DEPT                     C/O N3 REAL ESTATE                      C/O N3 REAL ESTATE
1240 N KIMBALL AVE                        1240 N KIMBALL AVE                      620 E. SOUTHLAKE BOULEVARD
SOUTHLAKE, TX 76092                       SOUTHLAKE, TX 76092                     SOUTHLAKE, TX 76092




DCTN3 368 ASHEVILLE NC LLC                DCTN3 368 ASHEVILLE NC, LLC             DCTN3 373 SOUTHLAKE TX LLC
ATTN: ACCOUNTING DEPT                     C/O N3 REAL ESTATE                      1240 N KIMBALL AVE
1240 N KIMBALL AVE                        1240 N. KIMBALL AVENUE                  SOUTHLAKE, TX 76092
SOUTHLAKE, TX 76092                       SOUTHLAKE, TX 76092




DCTN3 373 SOUTHLAKE TX LLC                DCTN3 373 SOUTHLAKE TX, LLC             DCTN3 433 BURLESON BLVD
C/O N3 REAL ESTATE                        C/O N3 REAL ESTATE                      1240 N KIMBALL AVE
1240 N. KIMBALL AVENUE                    1240 N. KIMBALL AVENUE                  SOUTHLAKE, TX 76092
ATTN: JAN DAVIDSON/KACI DUPLANTIS         ATTN: JAN DAVIDSON/KACI DUPLANTIS
SOUTHLAKE, TX 76092                       SOUTHLAKE, TX 76092



DCTN3 433 BURLESON TX, LLC                DD/RP BAYTOWN LP                        DDCB INC
C/O N3 REAL ESTATE                        C/O DIRECT DEVELOPMENT                  2771 LAWRENCEVILLE HWY STE 210
1240 N. KIMBALL AVENUE                    5310 HARVEST HILL RD STE 250            DECATUR, GA 30033
SOUTHLAKE, TX 76092                       DALLAS, TX 75230
DDI MEDIA              Case   18-12241-CSS     Doc
                                        DDR 2008    26 LLC
                                                 PORTOLIO Filed 10/05/18   PageDDR
                                                                                498  ofPORTOLIO
                                                                                   2008 1739 LLC
721 EMERSON RD SUITE 200                 DBA DDR FORT UNION I & II LLC         DBA DDR RIVERDALE SOUTH LLC
SAINT LOUIS, MO 63141                    3300 ENTERPRISE PARKWAY               3300 ENTERPRISE PARKWAY
                                         BEACHWOOD, OH 44122                   BEACHWOOD, OH 44122




DDR 2008 PORTOLIO LLC                    DDR ARROWHEAD CROSSING OP LLC         DDR ARROWHEAD CROSSING OP LLC
DBA DDR RIVERDALE SOUTH LLC              C/O DDR CORP.                         C/O DDR CORP.
P.O. BOX 92320                           3300 ENTERPRISE PARKWAY               3300 ENTERPRISE PARKWAY
CLEVELAND, OH 44193                      ATTN: EVP - LEASING                   ATTN: GENERAL COUNSEL
                                         BEACHWOOD, OH 44122                   BEACHWOOD, OH 44122



DDR ARROWHEAD CROSSING OP LLC            DDR ARROWHEAD CROSSING OP LLC         DDR ASSET MANAGEMENT LLC
C/O DDR                                  DEPT 393457 21274 63926               3300 ENTERPRISE PARKWAY
3300 ENTERPRISE PKWY                     PO BOX 373416                         BEACHWOOD, OH 44122
BEACHWOOD, OH 44122                      CLEVELAND, OH 44193




DDR BELGATE LP                           DDR BELGATE LP                        DDR BELGATE LP
3300 ENTERPRISE PARKWAY                  C/O DDR CORP.                         C/O DDR CORP.
BEACHWOOD, OH 44122                      3300 ENTERPRISE PARKWAY               3300 ENTERPRISE PARKWAY
                                         ATTN: EVP-LEASING                     ATTN: EXECUTIVE VICE PRESIDENT-LEASING
                                         BEACHWOOD, OH 44122                   BEACHWOOD, OH 44122



DDR BERMUDA SQUARE LLC                   DDR BROOKSIDE LLC                     DDR BROOKSIDE, LLC
DEPT 323587-20584-56310                  DEPT 341990-21300-57438               C/O DDR CORP.
PO BOX 951049                            26052 NETWORK PLACE                   3300 ENTERPRISE PARKWAY
CLEVELAND, OH 44193                      CHICAGO, IL 60673-1259                ATTN: EXECUTIVE VICE PRESIDENT
                                                                               BEACHWOOD, OH 44122



DDR BROOKSIDE, LLC                       DDR CAROLINA PAVILION LP              DDR CAROLINA PAVILION, LP
C/O DDR CORP.                            C/O DDR CORP.                         C/O DDR CORP.
3300 ENTERPRISE PARKWAY                  3300 ENTERPRISE PARKWAY               3300 ENTERPRISE PARKWAY
ATTN: GENERAL COUNSEL                    BEACHWOOD, OH 44122                   ATTN: EVP-LEASING
BEACHWOOD, OH 44122                                                            BEACHWOOD, OH 44122



DDR CAROLINA PAVILION, LP                DDR CAROLINA PAVILION, LP             DDR CORP CROCODILE FALCON RIDGE
C/O DDR CORP.                            ID107310-2112456060                   3300 ENTERPRISE PARKWAY
3300 ENTERPRISE PARKWAY                  PO BOX 37685                          BEACHWOOD, OH 44122
ATTN: EXECUTIVE VICE PRESIDENT-LEASING   BALTIMORE, MD 21297
BEACHWOOD, OH 44122



DDR CORP DEVELOPERS DIVERSIFIED          DDR CORP                              DDR CORP
REALTY CORPORATION DBA DDR T             ATTN: GENERAL COUNSEL                 DBA DDR DB SA VENTURES LP
3300 ENTERPRISE PARKWAY                  3300 ENTERPRISE PARKWAY               3300 ENTERPRISE PARKWAY
BEACHWOOD, OH 44122                      BEACHWOOD, OH 44122                   BEACHWOOD, OH 44122




DDR CORP                                 DDR CORP                              DDR CORP
DBA DDR SOUTHEAST SOUTHLAKE LP           DBA GS BRENTWOOD LLC                  DDR ARROWHEAD CROSSING OP LLC
3300 ENTERPRISE PKWY                     3300 ENTERPRISE PKWY                  3300 ENTERPRISE PKWY
BEACHWOOD, OH 44122                      BEACHWOOD, OH 44122                   BEACHWOOD, OH 44122




DDR CORP                                 DDR CORP                              DDR CORP
DDR DB KYLE LP                           DDR ORLAND PARK HD LLC                DDR SOUTHEAST WENDOVER LP
3300 ENTERPRISE PARKWAY                  3300 ENTERPRISE PKWY                  3300 ENTERPRISE PKWY
BEACHWOOD, OH 44122                      BEACHWOOD, OH 44122                   BEACHWOOD, OH 44122
DDR CORP.             Case       18-12241-CSS    Doc 26
                                           DDR CORP.          Filed 10/05/18   PageDDR
                                                                                    499  of 1739 CENTER LLC
                                                                                       CROSSROADS
3300 ENTERPRISE PARKWAY                    RICHARD FORREST                         C/O DDR CORP.
ATTN: STEVE PETROVSKI                      3300 ENTERPRISE PARKWAY                 3300 ENTERPRISE PARKWAY
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122                     ATTN: EXECUTIVE VICE PRESIDENT -
                                                                                   LEASING
                                                                                   BEACHWOOD, OH 44122


DDR CROSSROADS CENTER LLC                  DDR CROSSROADS CENTER LLC               DDR CROSSROADS CENTER LLC
C/O DDR CORP.                              C/O DDR                                 DEPT 390666 60116 73392
3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PKWY                    PO BOX 9183404
ATTN: GENERAL COUNSEL                      BEACHWOOD, OH 44122                     CHICAGO, IL 60691-3404
BEACHWOOD, OH 44122



DDR DB KYLE LP                             DDR DB KYLE LP                          DDR DB KYLE LP
C/O DDR                                    DEPT 348849 21064 59585                 DEPT 355475 21064 40416
3300 ENTERPRISE PKWY                       PO BOX 83400                            PO BOX 83400
BEACHWOOD, OH 44122                        CHICAGO, IL 60691-3400                  CHICAGO, IL 60691-3400




DDR DB SA VENTURES L.P.                    DDR DB SA VENTURES L.P.                 DDR DB SA VENTURES L.P.
3300 ENTERPRISE PARKWAY                    ATTN: EXECUTIVE VICE PRESIDENT -        ATTN: GENERAL COUNSEL
ATTN: EXECUTIVE VICE PRESIDENT -           LEASING                                 3300 ENTERPRISE PARKWAY
LEASING                                    3300 ENTERPRISE PARKWAY                 BEACHWOOD, OH 44122
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122



DDR DB SA VENTURES L.P.                    DDR DB SA VENTURES L.P.                 DDR DB SA VENTURES L.P.
C/O DDR                                    DEPT 341258-20339-00057210              DEPT. 103649-20340-4812
3300 ENTERPRISE PKWY                       PO BOX 931835                           PO BOX 931835
BEACHWOOD, OH 44122                        CLEVELAND, OH 44193                     CLEVELAND, OH 44193




DDR DB STONE OAK LP                        DDR DOUGLASVILLE PAVILION LLC           DDR DOUGLASVILLE PAVILION, LLC
DEPT 107310-21051-00006130                 DEPT 107310 21138 50838                 C/O DDR CORP.
PO BOX 392365                              PO BOX 9183404                          3300 ENTERPRISE PARKWAY
CLEVELAND, OH 44193                        CHICAGO, IL 60691-3404                  ATTN: EVP - LEASING
                                                                                   BEACHWOOD, OH 44122



DDR DOUGLASVILLE PAVILION, LLC             DDR FORT UNION I & II LLC               DDR GRESHAM STATION LLC
C/O DDR CORP.                              CO DDR CORP                             3300 ENTERPRISE PARKWAY
3300 ENTERPRISE PARKWAY                    ATTN EXECUTIVE VICE PRESIDENT LEASING   ATTN: EXECUTIVE VP - LEASING
ATTN: GENERAL COUNSEL                      3300 ENTERPRISE PARKWAY                 BEACHWOOD, OH 44122
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122



DDR GRESHAM STATION LLC                    DDR GRESHAM STATION LLC                 DDR GUILFORD LLC
C/O DDR                                    DEPT 394051 61195 75834                 C/O DDR CORP
3300 ENTERPRISE PKWY                       PO BOX 9183404                          3300 ENTERPRISE PARKWAY
BEACHWOOD, OH 44122                        CHICAGO, IL 60691-3404                  ATTN: EXECUTIVE VICE PRESIDENT -
                                                                                   LEASING
                                                                                   BEACHWOOD, OH 44122


DDR HOMESTEAD LLC                          DDR HOMESTEAD LLC                       DDR HOMESTEAD LLC
C/O DDR                                    DEPT 103712 20106 34600                 DEPT 103712 20106 34600
3300 ENTERPRISE PKWY                       3300 ENTERPRISE PARKWAY                 PO BOX 931650
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122                     CLEVELAND, OH 44193




DDR INDEPENDENCE COMMONS LLC               DDR INDEPENDENCE COMMONS LLC            DDR INDEPENDENCE COMMONS LLC
3300 ENTERPRISE PARKWAY                    ATTN: EVP - LEASING                     DEPT 101758 21122 49041
ATTN: EVP - LEASING                        3300 ENTERPRISE PARKWAY                 PO BOX 644493
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122                     PITTSBURGH, PA 15264-4493
                      CaseLLC
DDR MDT INDEPENDC. COMMONS 18-12241-CSS
                                     DDR MDTDoc   26 Filed
                                              LAKEPOINT       10/05/18
                                                         CROSSING LP            PageDDR
                                                                                     500  ofLAKEPOINT
                                                                                        MDT  1739 CROSSING LP
P.O. BOX 92472                       C/O CENCOR REALTY SERVICE INC AGENT            LAKEPOINTE CROSSING
DEPT. 184391391017                   PO BOX 660394                                  3102 MAPLE AVE STE 500
CLEVELAND, OH 44193                  DALLAS, TX 75266-0394                          DALLAS, TX 75201




DDR MDT MERRIAM TOWN CTR. LLC            DDR MDT MURFREESBORO TOWNE CTR             DDR MDT PERIMETER POINTE LLC
DEPT. 101758-20859-1512                  20844-4907                                 C/O DDR CORP.
P.O. BOX 92419                           P.O. BOX 931663                            3300 ENTERPRISE PARKWAY
CLEVELAND, OH 44193                      CLEVELAND, OH 44193                        BEACHWOOD, OH 44122




DDR MDT PERIMETER POINTE LLC             DDR MDT RIVERDALE VILLAGE OUTER RING       DDR MERRIAM VILLAGE LLC
DEPT: 21079 37719 102317                 LLC                                        C/O DDR CORP.
26536 NETWORK PLACE                      PO BOX 951982                              3300 ENTERPRISE PARKWAY
CHICAGO, IL 60673-1265                   DEPT 103712-21433-00055642                 ATTN: EVP - LEASING
                                         CLEVELAND, OH 44193                        BEACHWOOD, OH 44122



DDR MERRIAM VILLAGE LLC                  DDR MERRIAM VILLAGE LLC                    DDR MIAMI AVENUE LLC
C/O DDR CORP.                            DEPT 359461-21076-00060615                 103712 20112 34889
3300 ENTERPRISE PARKWAY                  PO BOX 931650                              PO BOX 931650
ATTN: EVP - LEASING; ID # XX-XXXXXXX     CLEVELAND, OH 44193                        CLEVELAND, OH 44193
BEACHWOOD, OH 44122



DDR MIAMI AVENUE, LLC                    DDR MILLENIA PLAZA LLC                     DDR MILLENIA PLAZA LLC
C/O DDR CORP.                            3300 ENTERPRISE PARKWAY                    DEPT 391514 61174 75158
3300 ENTERPRISE PARKWAY                  BEACHWOOD, OH 44122                        PO BOX 9183418
ATTN: EXECUTIVE VICE PRESIDENT-LEASING                                              CHICAGO, IL 60691-3418
BEACHWOOD, OH 44122



DDR ORLAND PARK HD LLC                   DDR PALM VALLEY PAVILLIONS LLC             DDR PROPERTY MANAGEMENT LLC
ATTN: SARA HANKO                         DEPT 371698 21177 62021                    3300 ENTERPRISE PARKWAY
3300 ENTERPRISE PKWY                     PO BOX 46066                               BEACHWOOD, OH 44122
BEACHWOOD, OH 44122                      HOUSTON, TX 77210-6066




DDR SAU RETAIL FUND LLC DBA DDR SAU      DDR SAU RETAIL FUND LLC                    DDR SAU RETAIL FUND LLC
ATLANTA BROOKHAVEN LLC                   DBA DDR SAU ATLANA BROOKHAVEN LLC          DBA DDR SAU ATLANTA BROOKHAVEN LLC
C/O DDR                                  3300 ENTERPRISE PKWY                       DEPT 386713 30327 43208
3300 ENTERPRISE PKWY                     BEACHWOOD, OH 44122                        PO BOX 83221
BEACHWOOD, OH 44122                                                                 CHICAGO, IL 60691-0221



DDR SEABROOK LLC                         DDR SEABROOK LLC                           DDR SEABROOK LLC
C/O DDR CORP.                            C/O DDR CORP.                              C/O DDR
3300 ENTERPRISE PARKWAY                  3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PKWY
ATTN: EXECUTIVE VICE PRESIDENT           ATTN: GENERAL COUNSEL                      BEACHWOOD, OH 44122
BEACHWOOD, OH 44122                      BEACHWOOD, OH 44122



DDR SEABROOK LLC                         DDR SOUTHEAST EDGEWATER LLC                DDR SOUTHEAST EDGEWATER LLC
DEPT 353890 60111 74520                  C/O DDR                                    DEPT 303588 30230 18573
PO BOX 9183418                           3300 ENTERPRISE PKWY                       PO BOX 83400
CHICAGO, IL 60691-3418                   BEACHWOOD, OH 44122                        CHICAGO, IL 60691-3400




DDR SOUTHEAST EDGEWATER LLC              DDR SOUTHEAST EDGEWATER, LLC               DDR SOUTHEAST EDGEWATER, LLC
PO BOX 809303                            C/O DDR CORP.                              C/O DDR CORP.
CHICAGO, IL 60680                        3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PARKWAY
                                         ATTN: EVP - LEASING                        ATTN: GENERAL COUNSEL
                                         BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122
DDR SOUTHEAST FOUNTAINS  Case
                           LLC   18-12241-CSS    Doc 26FOUNTAINS,
                                           DDR SOUTHEAST Filed 10/05/18
                                                                  L.L.C.          PageDDR
                                                                                       501  of 1739WENDOVER LLC
                                                                                          SOUTHEAST
DEPT 342491-30352-00060050                 C/O DDR CORP.                              DEVELPORS DIVERSIFIED REALTY CORP.
26536 NETWORK PLACE                        3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PKWY
CHICAGO, IL 60673-1265                     BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122




DDR SOUTHEAST WENDOVER LP                  DDR SUNSET HILLS LLC                       DDR SUNSET HILLS, LLC
DEPT 373113 30137 40733                    C/O DDR CORP                               DEPT 107310,20189,8698
PO BOX 951049                              ATTN EXECUTIVE VICE PRESIDENT LEASING      P O BOX 951049
CLEVELAND, OH 44193                        3300 ENTERPRISE PARKWAY                    CLEVELAND, OH 44193
                                           BEACHWOOD, OH 44122



DDR TANASBOURNE TOWN CENTER, LLC           DDR TERRACES SP LLC                        DDR TUCSON SPECTRUM II LLC
C/O DDR CORP.                              DEPT 328941 21090 41960                    DEPT 355260 61113 74124
3300 ENTERPRISE PARKWAY                    PO BOX 83252                               PO BOX 9183404
ATTN: EVP - LEASING                        CHICAGO, IL 60691-0252                     CHICAGO, IL 60691-3404
BEACHWOOD, OH 44122



DDR WINTER GARDEN LLC                      DDR WINTER GARDEN LLC                      DDRA AHWATUKEE FOOTHILLS LLC
C/O DDR CORP.                              DEPT 3373632114651879                      PO BOX 373362
3300 ENTERPRISE PARKWAY                    PO BOX 37691                               CLEVELAND, OH 44193-5082
BEACHWOOD, OH 44122                        BALTIMORE, MD 21297-3691




DDRA COMMUNITY CENTERS EIGHT LP            DDRA COMMUNITY CENTERS EIGHT, L.P.         DDRA TANASBOURNE TOWN CENTER LLC
DEPT. 347692-20155-59485                   C/O DDR CORP.                              C/O DDR
PO BOX 951049                              3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PKWY
CLEVELAND, OH 44193                        ATTN: EXECUTIVE VICE PRESIDENT -           BEACHWOOD, OH 44122
                                           LEASING
                                           BEACHWOOD, OH 44122


DDRA TANASBOURNE TOWN CENTER LLC           DDRC GATEWAY LLC                           DDRC GATEWAY LLC
PO BOX 373767                              104810-20129-4910                          3300 ENTERPRISE PARKWAY
CLEVELAND, OH 44193                        PO BOX 951378                              BEACHWOOD, OH 44122
                                           CLEVELAND, OH 44193




DDRC GATEWAY LLC                           DDRC PDK SALISBURY PHASE III LLC           DDRC PDK SALISBURY PHASE III LLC
C/O DDR                                    C/O DDR                                    P.O. BOX 951049
3300 ENTERPRISE PKWY                       3300 ENTERPRISE PKWY                       CLEVELAND, OH 44193
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122




DDRM APPLE BLOSSOM CORNERS LLC             DDRM APPLE BLOSSOM CORNERS LLC             DDRM APPLE BLOSSOM CORNERS LLC
C/O DDR                                    C/O DEVELOPERS DIVERSIFIED REALTY CO       C/O DEVELOPERS DIVERSIFIED REALTY CO
3300 ENTERPRISE PKWY                       3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PARKWAY
BEACHWOOD, OH 44122                        ATTN: EXECUTIVE VICE PRESIDENT             ATTN: GENERAL COUNSEL
                                           BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122



DDRM APPLE BLOSSOM CORNERS LLC             DDRM APPLE BLOSSOM CORNERS LLC             DDRM HILLTOP PLAZA LP
C/O DEVELOPERS DIVERSIFIED REALTY          DEPT 323587-21251-00039902                 C/O DDR
CORPORATION                                PO BOX 534461                              3300 ENTERPRISE PKWY
3300 ENTERPRISE PARKWAY                    ATLANTA, GA 30353                          BEACHWOOD, OH 44122
ATTN: EXECUTIVE VICE PRESIDENT
BEACHWOOD, OH 44122


DDRM HILLTOP PLAZA LP                      DDRM HILLTOP PLAZA LP                      DDRM HILLTOP PLAZA LP
C/O DEVELOPERS DIVERSIFIED REALTY CO       C/O DEVELOPERS DIVERSIFIED REALTY CO       C/O DEVELOPERS DIVERSIFIED REALTY
3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PARKWAY                    CORPORATION
ATTN: EVP - LEASING                        ATTN: GERNERAL COUNSEL                     3300 ENTERPRISE PARKWAY
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122                        ATTN: EVP - LEASING
                                                                                      BEACHWOOD, OH 44122
DDRM HILLTOP PLAZA LP      Case 18-12241-CSS    Doc 26 COMMONS
                                          DDRM NORTHLAKE Filed 10/05/18
                                                                LLC              PageDDRM
                                                                                      502PROPERTIES
                                                                                          of 1739 LLC
DEPT 105224 21246 30763                   DEPT 380117-21202-62586                    C/O DDR CORP.
PO BOX 534455                             PO BOX 534461                              3300 ENTERPRISE PARKWAY
ATLANTA, GA 30353-4455                    ATLANTA, GA 30353-4461                     ATTN: EVP-LEASING
                                                                                     BEACHWOOD, OH 44122



DDRM PROPERTIES LLC                       DDRM PROPERTIES LLC                        DDRM PROPERTIES LLC
C/O DDR CORP.                             DDRM NORTHLAKE COMMONS LLC                 DDRM NORTHLAKE COMMONS LLC
3300 ENTERPRISE PARKWAY                   3300 ENTERPRISE PKWY                       DEPT 380117-21202-00062586PO BOX 534626
ATTN: EXECUTIVE VICE PRESIDENT-LEASING    BEACHWOOD, OH 44122                        ATLANTA, GA 30353-4626
BEACHWOOD, OH 44122



DDRM RIVERDALE SHOPS LLC                  DDRM RIVERDALE SHOPS LLC                   DDRM RIVERDALE SHOPS LLC
C/O DDR CORP                              C/O DDR                                    DEPT 104810 21212 57083
3300 ENTERPRISE PARKWAY                   3300 ENTERPRISE PKWY                       PO BOX 534461
ATTN: EXECUTIVE VICE PRESIDENT            BEACHWOOD, OH 44122                        ATLANTA, GA 30353-4461
BEACHWOOD, OH 44122



DD-RP BAYTOWN, LP                         DDR-SAU ATLANTA BROOKHAVEN LLC             DDR-SAU ATLANTA BROOKHAVEN
5310 HARVEST HILL ROAD, SUITE 250         DEPT 386713 30327 43208                    C/O DDR SAV RETAIL FUND, LLC
DALLAS, TX 75230                          PO BOX 83221                               3300 ENTERPRISE PARKWAY
                                          CHICAGO, IL 60691-0221                     ATTN: EVP - LEASING
                                                                                     BEACHWOOD, OH 44122



DDR-SAU RETAIL FUND LLC                   DDRTC CORE RETAIL FUND LLC DBA DDRTC       DDRTC CORE RETAIL FUND LLC DBA DDRTC
DBA DDR-SAU GREER N HAMPTON MKT LLC       RIVER RIDGE LLC                            WESTSIDE CENTER LLC
DEPT 107310 30325 39972                   C/O DDR                                    C/O DDR
P.O. BOX 83221                            3300 ENTERPRISE PKWY                       3300 ENTERPRISE PKWY
CHICAGO, IL 60691-0221                    BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122



DDRTC CORE RETAIL FUND LLC                DDRTC CORE RETAIL FUND, LLC DBA DDRTC      DDRTC CORE RETAIL FUND, LLC
DBA DDRTC RIVER RIDGE LLC                 WESTSIDE CENTRE, LLC                       DBA DDRTC WESTSIDE CTR LLC; C/O DDR
PO BOX 534420                             C/O DDR CORP.                              CORP
ATLANTA, GA 30353-4420                    3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PARKWAY
                                          ATTN: EXECUTIVE VICE PRESIDENT-LEASING     ATTN: EVP-LEASING
                                          BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122


DDRTC CORE RETAL FUND LLC                 DDRTC DOUGLASVILLE PAVILION LLC            DDRTC FAYETTE I & II LLC
DBA DDRTC WESTSIDE CENTER LLC             DEPT 107310 30416 20430                    C/O DDR
DEPT 323797 30386 39541                   P O BOX 534414                             3300 ENTERPRISE PKWY
PO BOX 534420                             ATLANTA, GA 30353-4414                     BEACHWOOD, OH 44122
ATLANTA, GA 30353-4420



DDRTC FAYETTE I & II LLC                  DDRTC RIVER RIDGE LLC                      DDRTC RIVER RIDGE LLC
DEPT 103711 30417 33299                   C/O DDR CORP.                              DEPT. 30387-38744
PO BOX 534420                             3300 ENTERPRISE PARKWAY                    PO BOX 534410
ATLANTA, GA 30353-4420                    ATTN: EXECUTIVE VICE PRESIDENT-LEASING     ATLANTA, GA 30353-4414
                                          BEACHWOOD, OH 44122



DDRTC STONEBRIDGE SQUARE LLC              DDRTC WOODSTOCK SQUARE LLC                 DDRTC WOODSTOCK SQUARE, LLC
P.O. BOX 534414                           P.O. BOX 534410                            3300 ENTERPRISE PARKWAY
ATLANTA, GA 30353-4414                    DEPT 108290 30406 20369                    ATTN: EVP - LEASING
                                          ATLANTA, GA 30353-4410                     BEACHWOOD, OH 44122




DDRTC WOODSTOCK SQUARE, LLC               DE ANDRE BAINS                             DE ANZA PROPERTIES 1 LLC
ATTN: EVP - LEASING                       20202 GROSS HOLLOW LN                      3003 W ALABAMA ST
3300 ENTERPRISE PARKWAY                   KATY, TX 77449                             HOUSTON, TX 77098
BEACHWOOD, OH 44122
                       Case
DE ANZA PROPERTIES 1 LLC        18-12241-CSS
                                          DE ANZADoc 26 Filed
                                                 PROPERTIES 1 LLC 10/05/18   PageDE503 ofPROPERTIES
                                                                                    ANZA  1739      1, LLC
920 WEST FREMONT AVE                       PO BOX 207098                          45755 NORTHPORT LOOP WEST
SUNNYVALE, CA 94087                        DALLAS, TX 75320                       FREMONT, CA 94538




DE COURCY & COMPANY LLC                    DE LA VEGA CORPORATION                 DE LAGE LANDEN FINANCIAL SERVICES, INC
1882 PRINCETON AVE STE 1                   CAMILLE SHANNON                        P.O. BOX 41602
COLLEGE PARK, GA 30337                     4514 COLE AVENUE, SUITE 1100           PHILADELPHIA, PA 19101-1602
                                           DALLAS, TX 75205




DE PASQUALE BROS INC                       DE RITO PAVILIONS 140 LLC              DEA PROPERTIES-4 LLC
DBA DPBI MAPLEWOOD LLC                     ATTN: ROSE POLONSKY                    ATTN: DALE E. ANDERSON
12 BREAKNECK HILL RD                       3200 E CAMELBACK RD STE 175            PMB 364, 16420 SE MCGILLIVARY, SUITE 103
LINCOLN, RI 02865                          PHOENIX, AZ 85018                      VANCOUVER, WA 98683




DEA PROPERTIES-4 LLC                       DEAD RIVER CO                          DEAN & JEANETTE ENGEL
PMB 364, 16420 SE MCGILLIVARY, SUITE 103   P.O. BOX 11000                         240 GLENN ABBEY COURT
ATTN: DALE E. ANDERSON                     LEWISTON, ME 04243-9402                PRESTO, PA 15142
VANCOUVER, WA 98683




DEAN BAKER                                 DEAN BARROWS                           DEAN CALLAN AND CO
10201 S. MAIN STREET                       10201 S. MAIN STREET                   C/O PROPERTY MGMT SVCS
HOUSTON, TX 77025                          HOUSTON, TX 77025                      1510 28TH ST STE 200
                                                                                  BOULDER, CO 80303




DEAN CANNONE                               DEAN DIETRICH                          DEAN ENGEL
10201 S. MAIN STREET                       10201 S. MAIN STREET                   240 GLENN ABBEY COURT
HOUSTON, TX 77025                          HOUSTON, TX 77025                      PRESTO, PA 15142




DEAN HASKE                                 DEAN HENRICH                           DEAN MYERS
1411 55TH AVE W                            4207 E 26TH AVE                        4427 WHISTLING DUCK LN
BRADENTON, FL 34207                        SPOKANE, WA 99223                      FULSHEAR, TX 77441




DEAN RALLY                                 DEAN VAN HOUT                          DEAN W. ENGEL & JEANETTE ENGEL
1193 CHURCH ST                             10201 S. MAIN STREET                   240 GLENN ABBEY COURT
SAN FRANCISCO, CA 94114                    HOUSTON, TX 77025                      PRESTO, PA 15142




DEAN WOODLAND                              DEANA CARLSON                          DEANDRA JOHNSON
10201 S. MAIN STREET                       10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                      HOUSTON, TX 77025




DEANDRA NIXON                              DEANDRAE FORTE                         DEANDRE SMITH
10201 S. MAIN STREET                       10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                      HOUSTON, TX 77025
DEANDRE STURDIVANT     Case 18-12241-CSS    Doc
                                      DEANDRE    26 Filed 10/05/18
                                              TAYLOR                 PageDEANDRE
                                                                          504 of WILLIAMS
                                                                                 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DEANDREA GREEN                        DEANGELA HARRIS                    DEANGELO BLACKMON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DEANGELO LOMAS                        DEANGELO NASH                      DEANGELO STRINGER
10201 S. MAIN STREET                  5140 N 39TH ST                     10201 S. MAIN STREET
HOUSTON, TX 77025                     MILWAUKEE, WI 53209                HOUSTON, TX 77025




DEANNA ANDERSON                       DEANNA CARR                        DEANNA LOMELI
10201 S. MAIN STREET                  10201 S. MAIN STREET               740 GALVIN LN
HOUSTON, TX 77025                     HOUSTON, TX 77025                  FILLMORE, CA 93015




DEANNA MUDRYCK                        DEANNA RICHARDSON                  DEANNA RINEY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DEANNE HELTON                         DEATRICK GREEN                     DEB ENTERPRISES LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET               3545 GRANDVIEW PKWY APT 122
HOUSTON, TX 77025                     HOUSTON, TX 77025                  BIRMINGHAM, AL 35243




DEB NELSON                            DEB NELSON                         DEB STOCKMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




DEB WHITE                             DEB YATES-DAVIS                    DEBBIE BARRA
10201 S. MAIN STREET                  10201 S. MAIN STREET               10 FAULKNER AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                  WILMINGTON, MA 01887




DEBBIE BROWN                          DEBBIE CLAPPER                     DEBBIE DIXON
418 E MISSION 8                       27620 RON RIDGE DR                 10201 S. MAIN STREET
SPOKANE, WA 99202                     SANTA CLARITA, CA 91350            HOUSTON, TX 77025




DEBBIE HAYES                          DEBBIE JAMES-BUSH                  DEBBIE KINDRED
10201 S. MAIN STREET                  10201 S. MAIN STREET               204 W OAKVIEW DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                  AZUSA, CA 91702
DEBBIE LAUDERBACK        Case 18-12241-CSS     Doc 26
                                        DEBBIE MASSIMI      Filed 10/05/18   PageDEBBIE
                                                                                  505 of  1739
                                                                                        MASSIMI
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DEBBIE NORWOOD                           DEBBIE ORFINO                           DEBBIE PERREIRA
1027 S 41ST ST                           1606 MAPLE ST                           10201 S. MAIN STREET
SPRINGFIELD, OR 97478                    SOUTH PASADENA, CA 91030                HOUSTON, TX 77025




DEBBIE RAISOR                            DEBBIE REINHARDT                        DEBBIE ROBERTS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    16871 HOSKINS LN A
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HUNTINGTON BEACH, CA 92649




DEBBIE RODRIGUES                         DEBBIE SKOWRON                          DEBBIE SMITH
398 MOONCREST CT                         10201 S. MAIN STREET                    6915 OTONO CT NW
NEWBURY PARK, CA 91320                   HOUSTON, TX 77025                       ALBUQUERQUE, NM 87120




DEBBY SHAFER                             DEBERA STAHR                            DEBI FUSSELL
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DEBI STROWD                              DEBORA ALVEY                            DEBORA POMEROY
1014 HADRIAN ST                          10201 S. MAIN STREET                    10201 S. MAIN STREET
IRVING, TX 75062                         HOUSTON, TX 77025                       HOUSTON, TX 77025




DEBORAH A NELSON                         DEBORAH BAER                            DEBORAH BAILEY
                                         10201 S. MAIN STREET                    9701 E ILIFF AVE 2536
                                         HOUSTON, TX 77025                       DENVER, CO 80231




DEBORAH CORPENING                        DEBORAH EAKES                           DEBORAH FAUST-IRWING
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DEBORAH FLIEGER DAWSON                   DEBORAH GIRON                           DEBORAH HURLEY
10935 CULVER BLVD                        10201 S. MAIN STREET                    10201 S. MAIN STREET
CULVER CITY, CA 90230                    HOUSTON, TX 77025                       HOUSTON, TX 77025




DEBORAH KIRSCHKE                         DEBORAH LEONE                           DEBORAH LEWIS
17315 AUTUMN FIELD CT                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77095-4751                   HOUSTON, TX 77025                       HOUSTON, TX 77025
DEBORAH MACARTHUR       Case 18-12241-CSS    Doc
                                       DEBORAH    26 Filed 10/05/18
                                               MORGAN-NELSON          PageDEBORAH
                                                                           506 of PAREDES
                                                                                  1739
15551 OAK SPRINGS RD                   10201 S. MAIN STREET               10201 S. MAIN STREET
CHINO HILLS, CA 91709                  HOUSTON, TX 77025                  HOUSTON, TX 77025




DEBORAH SAPP                           DEBORAH SIEM                       DEBORAH STRILKAUSKAS
10201 S. MAIN STREET                   17200 WEST BELL RD                 10201 S. MAIN STREET
HOUSTON, TX 77025                      APT 520                            HOUSTON, TX 77025
                                       SURPRISE, AZ 85374




DEBORAH WALDINGER                      DEBORAH WALKER                     DEBRA ABRAMSON
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DEBRA ALBERGO                          DEBRA BERKOWITZ                    DEBRA BROWN
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DEBRA CROWDER                          DEBRA CUMPIAN                      DEBRA FLETCHER
10201 S. MAIN STREET                   2013 JOHN ST A                     10201 S. MAIN STREET
HOUSTON, TX 77025                      PASADENA, TX 77502                 HOUSTON, TX 77025




DEBRA JOHNSON                          DEBRA KAUFFMANN                    DEBRA LANWAY
10201 S. MAIN STREET                   10201 S. MAIN STREET               15910 SE 292ND ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  KENT, WA 98042




DEBRA MALUCELLI                        DEBRA MATER                        DEBRA MCMURRAY
10201 S. MAIN STREET                   2403 S 62ND ST                     10201 S. MAIN STREET
HOUSTON, TX 77025                      MILWAUKEE, WI 53219                HOUSTON, TX 77025




DEBRA MORRIS                           DEBRA PARISE                       DEBRA SANTANA
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DEBRA SCHWARTZ                         DEBRA SELIO                        DEBRA SHEPARD
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DEBRA STONE                            DEBRA SWAN                         DEBRA TANDY
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025
DEBRA WOLCOTT          Case 18-12241-CSS
                                      DEBRICKDoc 26 Filed
                                              MANAGEMENT CO. 10/05/18     PageDECA
                                                                               507 of 1739
10201 S. MAIN STREET                   C/O RICHARD SCHROEDER                  DBA KIN COMMUNITY
HOUSTON, TX 77025                      PO BOX 829                             6300 ARIZONA CIRCLE
                                       DOVER, NJ 07801                        LOS ANGELES, CA 90045




DECATUR ONE LLC                        DECATUR ONE LLC                        DECATUR UTILITIES
17751 SAMPSON LANE                     4685 MACARTHUR COURT STE 375           1002 CENTRAL PKWY SW
HUNTINGTON BEACH, CA 92647             NEWPORT BEACH, CA 92660                PO BOX 2232
                                                                              DECATUR, AL 35609




DECATUR UTILITIES                      DECORATIVE PLANTS INC.                 DECOSTA LANDSCAPING & LAWNCARE
PO BOX 2232                            2920 DAIRY ASHFORD                     PO BOX 165
DECATUR, AL 35609                      HOUSTON, TX 77082                      FELLSMERE, FL 32948




DEDERICK PAPIERNIK                     DEDERICK STEWART                       DEDHAM MUNICIPAL TAX COLLECTOR
10201 S. MAIN STREET                   10201 S. MAIN STREET                   ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                      HOUSTON, TX 77025                      PO BOX 4103
                                                                              WOBURN, MA 01888-4103




DEDHAM WESTWOOD WATER DISTRICT         DEDHAM WESTWOOD WATER DISTRICT         DEDRIC DAVIS
50 ELM ST                              P.O. BOX 240                           10201 S. MAIN STREET
DEDHAM, MA 02026                       READING, MA 01867-0340                 HOUSTON, TX 77025




DEDRICK BROOKS                         DEDRICK OLIVER                         DEDRICK WHITE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




DEE & DEE MANAGEMENT, LLC              DEE DAVENPORT                          DEE DEE ANDERT
3820 NOSTRAND AVE, SUITE 103           10201 S. MAIN STREET                   10201 S. MAIN STREET
BROOKLYN, NY 11235                     HOUSTON, TX 77025                      HOUSTON, TX 77025




DEE DEE DAVIS                          DEE GRIGSBY                            DEE HAYWARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




DEE MCDUFFIE-BASILE                    DEEDRA RACK                            DEEDRA SPENCER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




DEEP GREEN WASTE & RECYCLING INC       DEEP GREEN WASTE & RECYCLING INC       DEEP ROCK
3225 SHALLOWFORD RD NE 400             P.O. BOX 530008                        PO BOX 660579
STE 1020                               ATLANTA, GA 30353-0008                 DALLAS, TX 75266-0579
MARIETTA, GA 30062
DEEPAK LADKANI           Case 18-12241-CSS    DocBROADCASTING
                                        DEER CREEK 26 Filed 10/05/18
                                                              LLC               PageDEER
                                                                                     508CREEK
                                                                                         of 1739
                                                                                              MEDIA CHICO
10201 S. MAIN STREET                    2654 CRAMER LN                              2654 CRAMER LN
HOUSTON, TX 77025                       CHICO, CA 95928                             CHICO, CA 95928




DEFEO, ANNA MARIE                       DEFFENBAUGH DISPOSAL                        DEFINITY PEST SERVICES LLC
C/O THE LEAL LAW FIRM, P.A.             PO BOX 3249                                 8235 FOREST LN
ATTN: ALBERTO LEAL                      SHAWNEE, KS 66203-0249                      DALLAS, TX 75243
9314 FOREST HILL BLVD 62
WELLINGTON, FL 33411



DEGAMA SYSTEMS INC                      DEGEORGE PROPERTIES I, LLC                  DEGEORGE PROPERTIES I, LLC
999 WEST HASTINGS ST BOX 38             C/O DEGEORGE REAL ESTATE SERVICES,          C/O DEGEORGE REAL ESTATE SERVICES,
SUITE 1300                              INC.                                        INC.
VANCOUVER, BC V6C 2W2                   5700 WOODWAY DRIVE, #200                    5700 WOODWAY DRIVE, 200
CANADA                                  HOUSTON, TX 77057                           HOUSTON, TX 77057



DEGEORGE REAL ESTATE SERVICES, INC.     DEGNAN 33 LLC                               DEGNAN 33, LLC & DEGNAN 37, LLC
JAMES B. DEGEORGE, JR.                  C/O MCGAREY GROUP                           10866 WASHINGTON BOULEVARD, SUITE 122
5700 WOODWAY DRIVE, 200                 PO BOX 93778                                NORMA MANRIQUE
HOUSTON, TX 77057                       LAS VEGAS, NV 89193-3778                    CULVER CITY, CA 90230




DEGNAN 33, LLC & DEGNAN 37, LLC         DEGNAN 33, LLC & DEGNAN 37, LLC             DEGREGORIA PROPERTIES LLC
C/O MCGAREY GROUP                       NORMA MANRIQUE                              C/O CERVELLI MANAGEMENT CORP
PO BOX 93778                            10866 WASHINGTON BOULEVARD, SUITE 122       1 MARINA PLAZA #304
LAS VEGAS, NV 89193-3778                CULVER CITY, CA 90230                       NORTH BERGER, NJ 07047




DEGREGORIA PROPERTIES LLC               DEI PROPERTY MANAGEMENT LLC                 DEIBBYS CARDOSO
C/O CERVELLI MANAGEMENT CORP            433 SOUTH MAIN STREET, SUITE 218            9041 SW 156TH ST 122
ONE MARINE PLAZA STE 304                WEST HARTFORD, CT 06110                     MIAMI, FL 33157
NORTH BERGEN, NJ 07047




DEIDRA SATTERLEE                        DEIDRE TAYLOR                               DEIRDRES ORTA
207 GOURGUES ST.                        10201 S. MAIN STREET                        10201 S. MAIN STREET
HAHNVILLE, LA 70057                     HOUSTON, TX 77025                           HOUSTON, TX 77025




DEJA ALEXANDER                          DEJA WALKER                                 DEJAN BARESIC
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




DEJON JOSEPH                            DEK MORSE OUTLOT LLC                        DEK MORSE OUTLOT LLC
10201 S. MAIN STREET                    150 E BROAD ST                              C/O CONTINENTAL REAL ESTATE
HOUSTON, TX 77025                       COLUMBUS, OH 43215                          COMPANIES
                                                                                    35 N 4TH ST STE 400
                                                                                    COLUMBUS, OH 43215



DEK MORSE OUTLOT, LLC                   DEKALB ASSOCIATES, LLC                      DEKALB COUNTY FINANCE
C/O CONTINENTAL RETAIL PROPERTY         C/O ARTHUR GOLDNER & ASSOCIATES, INC.       1300 COMMERCE DR
SERVICES                                707 SKOKIE BOULEVARD, SUITE 100             DECATUR, GA 30030
150 EAST BROAD STREET, SUITE 800        NORTHBROOK, IL 60062
ATTN: PROPERTY MANAGEMENT
COLUMBUS, OH 43215
DEKALB COUNTY FINANCE Case     18-12241-CSS
                                         DEKALB Doc 26GA SANITATION
                                                COUNTY   Filed 10/05/18   PageDEKALB
                                                                               509 of  1739GA SANITATION
                                                                                     COUNTY
P.O. BOX 71224                           1300 COMMERCE DR                     P.O. BOX 105942
CHARLOTTE, NC 28272-1224                 DECATUR, GA 30030                    ATLANTA, GA 30348-5942




DEKALB COUNTY REMITTANCE                 DEKALB COUNTY REMITTANCE             DEKALB COUNTY TAX COMMISSIONER
1300 COMMERCE DR                         P.O. BOX 71224                       P.O. BOX 100004
DECATUR, GA 30030                        CHARLOTTE, NC 28272-1224             DECATUR, GA 30031-7004




DEKALB COUNTY                            DEKALB                               DEL BURCHFIELD
PO BOX 105942                            ATTN: PROPERTY TAX DEPT.             10201 S. MAIN STREET
ATLANTA, GA 30348-5942                   PO BOX 105942                        HOUSTON, TX 77025
                                         ATLANTA, GA 30348-5942




DEL CAMPO SQUARE LLC                     DEL CAMPO SQUARE LLC                 DEL CAMPO SQUARE LLC
3671 SOUTH MAIN STREET                   9767 PACMA VISTA WAY                 ATTN: AYSHA MOMIN
ATTN: AYSHA MOMIN                        BOCA RATON, FL 33428                 3671 SOUTH MAIN STREET
BOCA RATON, FL 33428                                                          STAFFORD, TX 77477




DEL PASO NO MARKET VENTURE               DEL PASO VENTURE                     DELAGNES, LINDER & DUEY, LLP
C/O BUZZ OATES MGMT SVCS                 C/O BUZZ OATES MGMT SVCS             ATTN: NATALIE DELAGNES TALBOTT, ESQ
8615 ELDER CREEK RD                      555 CAPITOL MALL 9TH FLOOR           300 MONTGOMERY STREET 1050
SACRAMENTO, CA 95828                     SACRAMENTO, CA 95814                 SAN FRANCISCO, CA 94104




DELAINA DOLORES SARDEN                   DELANA BELLAH                        DELANEY MANUFACTURING LLC
189 TYLER RIDGE                          14440 N WILDWOOD LN                  3103 29TH AVE E
JONESBORO, GA 30238                      ANAHEIM, CA 92801                    BRADENTON, FL 34208




DELANEY MANUFACTURING LLC                DELANIA BAKER                        DELANO BROWNE
8151 BLAIKIE CT                          4603 MORNING GLORY CT                10201 S. MAIN STREET
SARASOTA, FL 34240                       MISSOURI CITY, TX 77459              HOUSTON, TX 77025




DELANO JOSIAH                            DELAVAN CITY TREASURER               DELAWARE COUNTY TREASURER
10201 S. MAIN STREET                     PO BOX 465                           100 W MAIN ST ROOM 102
HOUSTON, TX 77025                        DELAVAN, WI 53115-0465               MUNCIE, IN 47305-2881




DELAWARE COUNTY TREASURER                DELAWARE DIVISION OF REVENUE         DELAWARE DIVISION OF REVENUE
PO BOX 1886                              20653 DUPONT BLVD                    540 S DUPONT HIGHWAY
MEDIA, PA 19063-8886                     STE 2                                DOVER, DE 19901
                                         GEORGETOWN, DE 19947




DELAWARE DIVISION OF REVENUE             DELAWARE DIVISION OF REVENUE         DELAWARE SECRETARY OF STATE
820 N FRENCH ST                          ATTN: UNCLAIMED PROPERTY DEPT.       DIVISIONS OF CORPORATIONS, TAX DIVISION
WILMINGTON, DE 19801                     PO BOX 8750                          401 FEDERAL ST, STE 4
                                         WILMINGTON, DE 19899-8750            P.O. BOX 898
                                                                              DOVER, DE 19903
DELAWARE SECRETARY OFCase      18-12241-CSS
                         TREASURY        DELAWAREDoc 26 ESCHEATOR
                                                   STATE    Filed 10/05/18      PageDELAWARE
                                                                                     510 of 1739
ATTN: OFFICE, MANAGING AGENT OF          FINANCE DEPT- UNCLAIMED PROP. OFFICE       ATTN: BUSINESS LICENSE DEPT.
GENERAL AGENT                            820 N FRENCH ST 8TH FLOOR                  100 W MAIN ST ROOM 102
820 SILVERLAKE BLVD, SUITE 100           WILMINGTON, DE 19801                       MUNCIE, IN 47305-2881
DOVER, DE 19904



DELAWARE                                 DELBERT ELLIOTT                            DELBERT MILLER
ATTN: FRANCHISE TAX DEPT.                10201 S. MAIN STREET                       10201 S. MAIN STREET
PO BOX 1886                              HOUSTON, TX 77025                          HOUSTON, TX 77025
MEDIA, PA 19063-8886




DELENN KERKHOF                           DELEON, CHARLES                            DELETA MCDUFFIE-BASILE
1900 S CLARK ST APT 409                  13991 BRAZIL COURT                         102 TOMMY TERRACE
CHICAGO, IL 60616                        FORT PIERCE, FLORIDA 34951-4202            WARNER ROBINS, GA 31088




DELIA G BOLANOS                          DELINAH ROBINSON                           DELIVERY PROFESSIONALS INC
3738 W COQUINA WAY                       10201 S. MAIN STREET                       30305 W BELLVIEW ST
WESTON, FL 33332                         HOUSTON, TX 77025                          BUCKEYE, AZ 85396




DELIVERY SOLUTIONS LLC                   DELIVERY TODAY INC                         DELL BUSINESS CREDIT
PO BOX 771755                            8016 PERRY HWY SUITE 1                     PO BOX 5275
EAGLE RIVER, AK 99577                    PITTSBURGH, PA 15237                       CAROL STREAM, IL 60197-5275




DELL FINANCIAL SERVICES LLC              DELL FINANCIAL SERVICES LLC                DELL MARKETING L.P.
MAIL STOP-PS2DF-23                       PAYMENT PROCESSING CENTER                  C/O DELL USA L.P.
ONE DELL WAY                             PO BOX 6547                                PO BOX 676021
ROUND ROCK, TX 78682                     CAROL STREAM, IL 60197-6547                DALLAS, TX 75267-6021




DELL MARKETING LP                        DELL SOFTWARE INC                          DELL SOFTWARE INC
ATTN: DELL USA LP                        5 POLARIS WAT                              PO BOX 731381
PO BOX 910916                            ALISO VIEJO, CA 92656                      DALLAS, TX 75373-1381
PASADENA, CA 91110-0916




DELLA DENNIS                             DELLA DENNIS                               DELLE DONNE & ASSOCIATES INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                       200 CONTINENTAL DR STE 200
HOUSTON, TX 77025                        HOUSTON, TX 77025                          NEWARK, DE 19713




DELLE DONNE & ASSOCIATES, LLC            DELMAR COMMONS, LLC                        DELMARVA BROADCASTING CO
200 CONTINENTAL DRIVE, SUITE 200         101 ROBINO CT, SUITE 405                   2727 SHIPLEY ROAD
NEWARK, DE 19713                         NEWPORT, DE 19804                          WILMINGTON, DE 19810




DELMARVA POWER                           DELMARVA POWER                             DELOITTE & TOUCHE LLP
C/O EXELON CORPORATION                   P.O. BOX 13609                             PO BOX 844708
10 S DEARBORN ST. 48TH FL                PHILADELPHIA, PA 19101                     DALLAS, TX 75284
CHICAGO, IL 60680
DELONGCHAMP, SCOTT      Case   18-12241-CSS
                                         DELPHIADoc 26 Filed
                                                CONSULTING INC 10/05/18   PageDELPHINE
                                                                               511 of JAMES
                                                                                       1739
825 W QUEEN CREEK RD 2014                250 E. BROAD STREET STE 1150         DBA DELPHINE JAMES ATTORNEY AT LAW
CHANDLER, AZ 85248-3220                  COLUMBUS, OH 43215                   2626 SOUTH LOOP WEST STE 402
                                                                              HOUSTON, TX 77054




DELTA BAY INVESTMENTS, LLC               DELTA BAY INVESTMENTS, LLC           DELTA CHARTER TOWNSHIP
ATTN: MIGUEL LOPEZ                       P.O. BOX 524294                      TREASURERS OFFICE
P.O. BOX 524294                          ATTN: MIGUEL LOPEZ                   7710 W SAGINAW HWY
MIAMI, FL 33152                          MIAMI, FL 33152                      LANSING, MI 48917-8974




DELTA CHTR TWNSHP                        DELTA ENTERPRISE CORP                DELTA FAIR & MUSIC FESTIVAL
ATTN: PROPERTY TAX DEPT.                 DBA DELTA CHILDREN                   PO BOX 1327
7710 W SAGINAW HWY                       114 WEST 26TH ST                     CORDOVA, TN 38088
LANSING, MI 48917-9712                   NEW YORK, NY 10001




DELTA MONTROSE ELECTRIC ASSN             DELTA MONTROSE ELECTRIC ASSN         DELTA MONTROSE ELECTRIC ASSOCIATION
11925 6300 RD                            P.O. BOX 1608                        PO BOX 1608
MONTROSE, CO 81401                       MONTROSE, CO 81402-1608              MONTROSE, CO 81402-1608




DELTORIA GALLANT                         DELUX TRANSPORTATION                 DELVAL PROPERTIES, INC.
10201 S. MAIN STREET                     WILLETS MANAGEMENT SYSTEMS INC       C/O TORNETTA REALTY CORP
HOUSTON, TX 77025                        62 B MAIN ST                         910 GERMANTOWN PIKE
                                         PORT WASHINGTON, NY 11050            PLYMOUTH MEETING, PA 19462




DELVIN ALMONTE                           DEMANDWARE INC                       DEMAR KENNERLY
10201 S. MAIN STREET                     5 WALL ST                            10201 S. MAIN STREET
HOUSTON, TX 77025                        BURLINGTON, MA 01803                 HOUSTON, TX 77025




DEMARCUS BEAUFORD                        DEMARION GREEN                       DEMARIS JOHNSON
809 CHEROKEE AVE                         10201 S. MAIN STREET                 10201 S. MAIN STREET
ATLANTA, GA 30315                        HOUSTON, TX 77025                    HOUSTON, TX 77025




DEMARIUS MATTHEWS                        DEMARLO BRUCE                        DEMASK TATE
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




DEMCO                                    DEMCO                                DEMETREE ALPHA TRUST
16262 WAX ROAD                           DEPARTMENT 1340                      1350 ORANGE AVE 100
GREENWELL SPRINGS, LA 70739              PO BOX 2153                          WINTERPARK, FL 32789
                                         BIRMINGHAM, AL 35287-1340




DEMETRIA CONTRERAS                       DEMETRIA J. FALANA                   DEMETRIE OAKES
5015 LADD AVE                            DISTRICT MANAGER-RALEIGH             10201 S. MAIN STREET
LOS ANGELES, CA 90032                    1124 HARP STREET                     HOUSTON, TX 77025
                                         RALEIGH, NC 27604
DEMETRIO BALDINI        Case 18-12241-CSS    DocGEROLIMATOS
                                       DEMETRIOS 26 Filed 10/05/18   PageDEMETRIS
                                                                          512 of DONALDSON
                                                                                  1739
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




DEMETRIUS MAYS                         DEMETRIUS WHITSON                 DEMETRIUS WINN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




DEMETRUS WILLINGHAM                    DEMI PERSONS                      DEMIAN NAVARRO
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




DEMOND WALLACE                         DEMOREO DANIELS                   DEMPSTER HARLEM VENTURE LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET              C/O LAMILINE INC
HOUSTON, TX 77025                      HOUSTON, TX 77025                 134 N LASALLE ST STE 1206
                                                                         CHICAGO, IL 60602




DEMPSTER HARLEM VENTURE, LLC           DEMYRRON JACKSON                  DEN RETAIL 1 LLC
C/O LAMILINE INC.                      10201 S. MAIN STREET              150 GREENWICH STREET - FOUR WORLD
134 NORTH LASALLE STREET, SUITE 1206   HOUSTON, TX 77025                 TRADE CENTER, 52ND FLOOR
CHICAGO, IL 60602                                                        NEW YORK, NY 10007




DEN RETAIL 1 LLC                       DEN RETAIL 1 LLC                  DENA BELCHER
150 GREENWICH STREET                   PO BOX 745888                     10201 S. MAIN STREET
FOUR WORLD TRADE CENTER, 52ND FLOOR    LOS ANGELES, CA 90074             HOUSTON, TX 77025
NEW YORK, NY 10007




DENA INGRAM                            DENAAL THOMPSON                   DENAH CAVACO
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




DENARIA SKANNAL                        DENEE VERMILLION                  DENEHM GADISON
9326 FAIRWOOD DR                       10201 S. MAIN STREET              10201 S. MAIN STREET
KANSAS CITY, MO 64138                  HOUSTON, TX 77025                 HOUSTON, TX 77025




DENICE CLIFFE                          DENICE KAIN                       DENICE SCOTT
10201 S. MAIN STREET                   10201 S. MAIN STREET              3306 EAGLE CREST DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                 CORONA, CA 92881




DENIRTIA HAYWARD                       DENIS MASLESA                     DENIS SPAHIC
6415 S LAKE HOUSTON PRKWY APT 210      10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77049                      HOUSTON, TX 77025                 HOUSTON, TX 77025
DENISE A FERRIMAN     Case    18-12241-CSS     Doc 26
                                        DENISE ARESTAD      Filed 10/05/18   PageDENISE
                                                                                  513 of  1739
                                                                                        BROWN
722 OLD EAGLE SCHOOL RD                 10201 S. MAIN STREET                     10201 S. MAIN STREET
WAYNE, PA 19087                         HOUSTON, TX 77025                        HOUSTON, TX 77025




DENISE JENNINGS                         DENISE LUCKETT                           DENISE LYCKLAND
3075 VAN SANSUL AVE 3                   10201 S. MAIN STREET                     10201 S. MAIN STREET
SAN JOSE, CA 95128                      HOUSTON, TX 77025                        HOUSTON, TX 77025




DENISE MCMILLAN                         DENISE MCNEILL                           DENISE SEGRETO
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DENISE SHAW                             DENISE SIMS                              DENISE STARK
5816 NW 62ND TERR.                      10201 S. MAIN STREET                     10201 S. MAIN STREET
WARR ACRES, OK 73122                    HOUSTON, TX 77025                        HOUSTON, TX 77025




DENISE Y WALLACK                        DENISHA WILLIAMS                         DENITRIA HAYWARD
2710 SYLVAN ST                          10201 S. MAIN STREET                     2022 NORTH LOBDELL AVE 107
LITTLE CANADA, MN 55117                 HOUSTON, TX 77025                        BATON ROUGE, LA 70806




DENIZ AYRAL                             DENIZ H AYRAL                            DENNIS ANDERSON
10201 S. MAIN STREET                    8700 FRONT BEACH RD 2306                 10201 S. MAIN STREET
HOUSTON, TX 77025                       PANAMA CITY BEACH, FL 32407              HOUSTON, TX 77025




DENNIS BASS                             DENNIS DEMAR                             DENNIS FERNANDEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DENNIS FIGUEROA                         DENNIS FRANKLIN                          DENNIS H KANAGIE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     620 SINGLEY AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                        RUNNEMEDE, NJ 08078




DENNIS HLIBOKI                          DENNIS HYNES                             DENNIS IYELIH
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DENNIS J. WALKER                        DENNIS KOOBIR                            DENNIS KYNE
2432 W. BENJAMIN HOLT DRIVE             3103 BAYBERRY WAY                        10201 S. MAIN STREET
STOCKTON, CA 95207                      MARGATE, FL 33063                        HOUSTON, TX 77025
DENNIS LARYEA          Case 18-12241-CSS     Doc 26
                                      DENNIS LINDSEY      Filed 10/05/18   PageDENNIS
                                                                                514 of  1739
                                                                                      LONERGAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DENNIS LONGSTREET                      DENNIS LORTIE                           DENNIS LOZELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DENNIS MURPHY                          DENNIS NOVAK                            DENNIS OBRIEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DENNIS ORDANSA                         DENNIS PATCHIN                          DENNIS QUIMBY
10201 S. MAIN STREET                   2209 WEST STRATTON AVE                  10201 S. MAIN STREET
HOUSTON, TX 77025                      SPOKANE, WA 99208                       HOUSTON, TX 77025




DENNIS R WILLIAMS II                   DENNIS ROGERS                           DENNIS ROSETH
                                       1102 EUCLID 4                           10201 S. MAIN STREET
                                       SANTA MONICA, CA 90403                  HOUSTON, TX 77025




DENNIS ROY PETERSON & GAYLE MELINDA    DENNIS ROY PETERSON & GAYLE MELINDA     DENNIS RYZA
PETERSON REVOCABLE TRUST & EQUITY      PETERSON REVOCABLE TRUST                10201 S. MAIN STREET
CONSULTANTS REAL ESTATE INC.           & EQUITY CONSULTANTS REAL ESTATE INC.   HOUSTON, TX 77025
3210 MAC DUFF DRIVE                    3210 MAC DUFF DRIVE
GRANITE BAY, CA 95661                  GRANITE BAY, CA 95661



DENNIS S DYER                          DENNIS SCIANNA                          DENNIS SHANNON
3796 EAGLE HAMMOCK DRIVE               10201 S. MAIN STREET                    2320 W SYLVESTER ST APT A20
SARASOTA, FL 34240                     HOUSTON, TX 77025                       PASCO, WA 99301




DENNIS SIPSY                           DENNIS SMITH                            DENNIS SWANBERG
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DENNIS VAN HORN                        DENNIS WEISS JR                         DENNIS WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DENNIS WILLIAMS                        DENNIS WYATT                            DENNIS ZEZAS
10201 S. MAIN STREET                   16900 MELISSA ANN DRIVE                 10201 S. MAIN STREET
HOUSTON, TX 77025                      LUTZ, FL 33558                          HOUSTON, TX 77025
DENNY LEIGHTON         Case 18-12241-CSS     Doc 26
                                      DENNY, GEORGE        Filed 10/05/18    PageDENO
                                                                                  515Pof 1739
                                                                                      DIKEOU
10201 S. MAIN STREET                    13 VILLAGE GRN APT E                     DIKEOU REALTY
HOUSTON, TX 77025                       BUDD LAKE, NJ 78281-313                  543 N WYMORE RD STE 106
                                                                                 MAITLAND, FL 32751




DENO P. DIKEOU                          DENO SINGH                               DENO VELIS & ANGELINA VELIS
543 N. WYMORE ROAD, SUITE 106           10201 S. MAIN STREET                     4205 POTOMAC AVE
MAITLAND, FL 32751                      HOUSTON, TX 77025                        DALLAS, TX 75205




DENTAVIOUS MOSS                         DENTON CO DEPT OF EMERGENCY SVC          DENTON COUNTRY L.I.D 1
10201 S. MAIN STREET                    9060 TEASLEY LN                          11111 KATY FWY 725
HOUSTON, TX 77025                       DENTON, TX 76210                         HOUSTON, TX 77079-2197




DENTON COUNTY TAX ASSESSOR              DENTON EVANS                             DENTON REAL ESTATE LLC
COLLECTOR                               10201 S. MAIN STREET                     4445 ALPHA ROAD, SUITE 109
PO BOX 90223                            HOUSTON, TX 77025                        DALLAS, TX 75244
DENTON, TX 76202-5223




DENTON RED LIGHT PHOTO ENFORCEMENT      DENTON                                   DENTONS US LLP
PROG                                    ATTN: PROPERTY TAX DEPT.                 DEPT 3078
PAYMENT CENTER                          P.O. BOX 660150                          CAROL STREAM, IL 60132-3078
PO BOX 1904                             DALLAS, TX 75266-0150
DENTON, TX 76202



DENVER FIRE DEPARTMENT                  DENVER FIRE DEPARTMENT                   DENVER FIRE DEPARTMENT
745 W COLFAX AVE                        ATTN: INSPECTIONS                        PO BOX 40385
DENVER, CO 80204                        PO BOX 733422                            DENVER, CO 80204
                                        DALLAS, TX 75373-3422




DENVER MATTRESS CO., LLC                DENVER MATTRESS CO., LLC                 DENVER PUBL WORKS MGR FINANCE
C/O SCOTT DOUGLASS & MCCONNICO L.L.P.   C/O SCOTT DOUGLASS & MCCONNICO, L.L.P.   201 W COLFAX AVE
ATTN: STEVE WINGARD                     ATTN: STEVE WINGARD                      DEPT 608
303 COLORADO STREET, SUITE 2400         303 COLORADO STREET, SUITE 2400          DENVER, CO 80202
AUSTIN, TX 78701-3234                   AUSTIN, TX 78701-3234



DENVER PUBL WORKS MGR FINANCE           DENVER WATER                             DENVER WATER
P.O. BOX 17827                          1600 W 12TH AVE                          PO BOX 173343
DENVER, CO 80217                        DENVER, CO 80204-3412                    DENVER, CO 80217-3343




DENVER WESTWORD                         DENVER                                   DENZEL DOLLARD
PO BOX 5970                             ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET
DENVER, CO 80217                        PO BOX 173343                            HOUSTON, TX 77025
                                        DENVER, CO 80217-3343




DENZIL LAWN AND LANDSCAPE               DEON BOBBITT                             DEON CARTER
9006 WESTPORT RD                        10201 S. MAIN STREET                     10201 S. MAIN STREET
LOUISVILLE, KY 40242                    HOUSTON, TX 77025                        HOUSTON, TX 77025
DEON EGLESTON          Case 18-12241-CSS    Doc 26
                                      DEON HARRIS        Filed 10/05/18    PageDEON
                                                                                516HARVEY
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




DEON SILANSKY                         DEON WILLIAMS                            DEONA MARKHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                     1201 LIVE OAK ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                        DYERSBURG, TN 38024-1631




DEONDRE SMITH-KING                    DEONNA CONTRERAS                         DEONNA JACKSON
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025




DEONTA TATE                           DEONTRE MELTON                           DEPARTMENT OF ENVIROMENTAL SERVICES
10201 S. MAIN STREET                  10201 S. MAIN STREET                     1000 ULUOHIA ST STE 308
HOUSTON, TX 77025                     HOUSTON, TX 77025                        KAPOLEI, HI 96707




DEPARTMENT OF INDUSTRIAL RELATIONS    DEPARTMENT OF MOTOR VEHICLES             DEPARTMENT OF STATE LANDS (DSL)
DOSH- ELEVATOR PERMITS                REGISTRATION OPS. DIV. MS H875           ATTN: UNCLAIMED PROPERTY DEPT.
PO BOX 511232                         PO BOX 932370                            775 SUMMER ST. NE, SUITE 100
LOS ANGELES, CA 90051-3030            SACRAMENTO, CA 94232-3700                SALEM, OR 97301-1279




DEPARTMENT OF STATE-NEW YORK          DEPARTMENT OF WATER SUPPLY               DEPENDABILL SOLUTIONS LLC
DIVISION OF LICENSING SERVICES        345 KEKUANAO ST STE 20                   5885 CUMMING HIGHWAY
PO BOX 22001                          HILO, HI 96720                           SUITE 108-309
ALBANY, NY 12201-2001                                                          SUGAR HILL, GA 30518




DEPENDABILL SOLUTIONS LLC             DEPENDABLE DELIVERY SERVICE              DEPENDABLE FIRE EQUIP INC
P.O. BOX 935135                       8104 THREE SPRINGS TRAIL                 100 NORTH LE BARON ST
ATLANTA, GA 31193-5135                GREENVILLE, SC 29615                     WAUKEGAN, IL 60085




DEPG STROUD ASSOCIATES I LLP          DEPG STROUD ASSOCIATES LP                DEPOT LAND INVESTMENT LLC
C/O LEGEND PROPERTIES INC             C/O LEGEND PROPERTIES, INC.              10554 OCEAN HWY
580 W GERMANTOWN PIKE STE 103         580 W. GERMANTOWN PIKE, SUITE 103        PAWLEYS ISLAND, SC 29585
PLYMOUTH MEETING, PA 19462            PLYMOUTH MEETING, PA 19462




DEPT LB VILLAGE MERCHANTS ASSOC       DEPT OF EMP & ECONOMIC DEVELOPMENT       DEPT OF FINANCE
DBA SPECTRUM COMMERICAL               332 MINNESOTA ST                         TREASURY DIV-MGR OF FINANCE
1873 S BELLAIRE ST STE 300            SAINT PAUL, MN 55101-1651                PO BOX 660859
DENVER, CO 80222                                                               DALLAS, TX 75266-0859




DEPT OF INDUSTRIAL RELATIONS          DEPT OF LABOR AND INDUSTRIES             DEPT OF MOTOR VEHICLES
C/O GEORGE ASHKHARIA                  PO BOX 34974                             3925 F MICHAEL BLVD
PO BOX 420603                         SEATTLE, WA 98124-1974                   MOBILE, AL 36616
SAN FRANCISCO, CA 94142-0603
DEPT OF PUBLIC SAFETY Case 18-12241-CSS
                                     DEPT OFDoc  26 STATE
                                             REVENUE    FiledOF10/05/18
                                                                SO CAROLINAPageDEPT
                                                                                517OFofSTATE
                                                                                         1739HEALTH SERVICES
750 PIEDMONT RD SOUTH ENTRANCE       PO BOX 125                                PO BOX 149347
COLUMBUS, OH 43224                   COLUMBIA, SC 29214                        AUSTIN, TX 78756




DEPT OF WEIGHTS AND MEASURES            DEPT. OF LABOR & INDUSTRIES             DEPTFORD TOWNSHIP MUA
PO BOX 1089                             P.O. BOX 24106                          1011 COOPER ST
RIVERSIDE, CA 92502-1089                SEATTLE, WA 98124-6524                  DEPTFORD, NJ 08096




DEPTFORD TOWNSHIP MUA                   DEQUAN SMITH                            DEQUE SYSTEM INC
P.O. BOX 5428                           10201 S. MAIN STREET                    2121 COOPERATIVE WAY STE 210
DEPTFORD, NJ 08096                      HOUSTON, TX 77025                       HERNDON, VA 20171




DEQUINTA WATSON                         DEREK ARQUETTE                          DEREK BARR
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK BARTON-ODRO                       DEREK BEDARD                            DEREK BOSTER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK BROWN                             DEREK BRYANT                            DEREK CARR
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK COMPO                             DEREK CREWSE                            DEREK DEEM
68684 HIGHLAND CT                       10201 S. MAIN STREET                    10201 S. MAIN STREET
WASHINGTON, MI 48095                    HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK DEYERMAND                         DEREK FIZEL                             DEREK GRAYBILL
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK GREEN                             DEREK GUTTERY                           DEREK HALLUM
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK HOLMES                            DEREK JAVAR                             DEREK JUAREZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    16290 SW 68TH TERRACE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       MIAMI, FL 33193
DEREK KING               Case 18-12241-CSS     Doc 26
                                        DEREK KRYNSKI      Filed 10/05/18   PageDEREK
                                                                                 518 LAHAIR
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK MOORE                             DEREK MURRAY                            DEREK NELSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK NEWCOME                           DEREK PIAZZA                            DEREK RICE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK ROBINSON                          DEREK RONZO                             DEREK RUEGER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK S LAHAIR                          DEREK TILLEY                            DEREK TUCKER
23423 GOLDKING CROSS COURT              10201 S. MAIN STREET                    10201 S. MAIN STREET
SPRING, TX 77373                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK TURNER                            DEREK UHDEN                             DEREK WILLIAMS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DEREK WINSTON                           DERIC BASS                              DERIC D BASS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    3310 SUN HILL LANE APT 202
HOUSTON, TX 77025                       HOUSTON, TX 77025                       RALEIGH, NC 27610




DERIC KUYKENDALL                        DERICK ASHCRAFT                         DERIK BUSHNELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DERITO TALKING STICK NORTH LLC          DERITO TALKING STICK NORTH LLC          DERITO TALKING STICK NORTH LLC
3200 E CAMELBACK RD STE 175             9120 E TALKING STICK WAY STE E1         PO BOX 845541
PHOENIX, AZ 85018                       SCOTTSDALE, AZ 85250                    LOS ANGELES, CA 90084-5541




DERITO TALKING STICK NORTH, LLC         DERITO TALKING STICK SOUTH LLC          DERITO TALKING STICK SOUTH LLC
9120 E. TALKING STICK WAY, SUITE E1     3200 E CAMELBACK RD STE 175             9120 E TALKING STICK WAY STE E1
SCOTTSDALE, AZ 85250                    PHOENIX, AZ 85018                       SCOTTSDALE, AZ 85250
                        Case
DERITO TALKING STICK SOUTH,   LLC18-12241-CSS      Doc 26 Filed
                                           DERON AVERY            10/05/18   PageDERON
                                                                                  519 of 1739
                                                                                       WREN
9120 E. TALKING STICK WAY, SUITE E1        10201 S. MAIN STREET                  10201 S. MAIN STREET
SCOTTSDALE, AZ 85250                       HOUSTON, TX 77025                     HOUSTON, TX 77025




DERREL BARRETT                          DERRELL TITUS                            DERRICK BAKER
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DERRICK BOOTH                           DERRICK COX                              DERRICK DESROSIERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DERRICK ENCINAS                         DERRICK HONEYCUTT                        DERRICK HORSLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DERRICK HUBBARD                         DERRICK JONES                            DERRICK KING
497 E. MARKET ST                        10201 S. MAIN STREET                     PO BOX 12519
XENIA, OH 43585                         HOUSTON, TX 77025                        COLUMBIA, SC 29211




DERRICK MUHAMMAD                        DERRICK REEVES                           DERRICK REINSMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DERRICK ROBINSON                        DERRICK SHEPHERD                         DERRICK SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DERRICK SMITH                           DERRICK SMITH-COMPTON                    DERRICK WARE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DERRICK WEST                            DERRICK WHEELER                          DERRICK WILLIAMS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DERRICK WILLIAMS                        DERRICK WINBUSH                          DERRIG HALSTED, LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                     C/O DERRIG MANAGEMENT, INC.
HOUSTON, TX 77025                       HOUSTON, TX 77025                        1843 W. IRVING PARK ROAD
                                                                                 ATTN: SEAN PATRICK DERRIG
                                                                                 CHICAGO, IL 60613
DERRIG MANAGEMENT, INC.Case     18-12241-CSS
                                          DERRIUSDoc  26 Filed 10/05/18
                                                  JACKSON                        PageDERRYK
                                                                                      520 ofSCARVERS
                                                                                             1739
ATTN: SEAN DERRIG                         10201 S. MAIN STREET                       10201 S. MAIN STREET
1843 W. IRVING PARK ROAD                  HOUSTON, TX 77025                          HOUSTON, TX 77025
CHICAGO, IL 60613




DES MOINES REGISTER & TRIBUNE             DES MOINES REGISTER                        DES STAFFING SERVICES INC
COMPANY                                   PO BOX 677357                              DES EMPLOYMENT GROUP
400 LOCUST ST STE 500                     DALLAS, TX 75267-7357                      1300 CUMMINS RD STE 200
DES MOINES, IA 50309                                                                 DES MOINES, IA 50315




DESCARTES SYSTEMS (USA) LLC               DESCARTES SYSTEMS (USA) LLC                DESCHUTES COUNTY TAX COLLECTOR
2030 POWERS FERRY RD SE STE 350A          PO BOX 404037                              ATTN: PROPERTY TAX DEPT.
BLDG 500                                  ATLANTA, GA 30384-4037                     1300 NW WALL ST STE 200
ATLANTA, GA 30339                                                                    BEND, OR 97703




DESCO - PROPERTY MANAGER                  DESEREA NORIEGA                            DESERT SUN PUBLISHING LLC
BECKER PROPERTIES, INC.                   10201 S. MAIN STREET                       PO BOX 677368
1832 BAYONNE STREET                       HOUSTON, TX 77025                          DALLAS, TX 75267-7368
SARASOTA, FL 34231




DESERT WATER AGENCY                       DESERT WATER AGENCY                        DESHANNA WASHINGTON
1200 S GENE AUTRY TRAIL                   PO BOX 1710                                619 E 84TH ST 2W
PALM SPRINGS, CA 92264                    PALM SPRINGS, CA 92263-1710                CHICAGO, IL 60619




DESHAUDA NIXON                            DESHAWN CUSHION                            DESHAWN MONROE
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025




DESI RODGERS                              DESIE CLARKE                               DESIGN AND LOGIC
10201 S. MAIN STREET                      10201 S. MAIN STREET                       4A COURT STREET S STE 3
HOUSTON, TX 77025                         HOUSTON, TX 77025                          THUNDER BAY, ON P7B 2W4
                                                                                     CANADA




DESIGN CONCEPTS & GRAPHICS                DESIGN CONDITIONS LLC                      DESIGN SPACE
3 BRIARWOOD CIRCLE                        PO BOX 431                                 PO BOX 31001-1566
RICHARDSON, TX 75080                      INDIAN TRAIL, NC 28079-0431                PASADENA, CA 91110-1566




DESIGNER DECAL INC.                       DESIMONE TRUST                             DESIREE C FENN
1120 E 1ST AVE.                           C/O INTEGRATED REAL ESTATE SERVICES,       862 E SOUTHLAKE DR 17F
SPOKANE, WA 99202                         LLC                                        MURRAY, UT 84107
                                          1015 THIRD AVENUE, SUITE 900
                                          SEATTLE, WA 98124



DESIREE HOLTZ                             DESIREE JOHNSON                            DESIREE JOHNSON
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025
DESIREE MCGUIRE          Case 18-12241-CSS
                                        DESIREEDoc 26 Filed 10/05/18
                                               SIEGFRIED               PageDESMOND
                                                                            521 of JONES
                                                                                   1739
10201 S. MAIN STREET                    DBA DESIREE HARTSOCK LLC           10201 S. MAIN STREET
HOUSTON, TX 77025                       10058 13TH AVE NW                  HOUSTON, TX 77025
                                        SEATTLE, WA 98177




DESMOND NELSON                          DESMOND ROBERTSON                  DESMOND WEBB
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




DESMOND WITHERSPOON                     DESMOND WRINCH                     DESOTO COUNTY TAX COLLECTOR
10201 S. MAIN STREET                    10201 S. MAIN STREET               ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       HOUSTON, TX 77025                  365 LOSHER STREET
                                                                           HERNANDO, MS 38632




DESREEN WEST                            DESROCHES PARTNERS LLP             DESTIN WATER USERS INC
10201 S. MAIN STREET                    840 GESSNER STE 350                218 MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77024                  DESTIN, FL 32541




DESTIN WATER USERS INC                  DESTINATION MARKETING              DESTINI ALEXANDER
PO BOX 308                              6808 220TH ST SW STE 300           1091 SUMMER BROOK DR
DESTIN, FL 32540-0308                   MOUNTLAKE, WA 98043                COLLEGE PARK, GA 30349




DESTINI MORGAN                          DESTINIE LUCKOW                    DESTINY BURRELL
3427 LAND ST                            10201 S. MAIN STREET               10201 S. MAIN STREET
EAST RIDGE, TN 37412                    HOUSTON, TX 77025                  HOUSTON, TX 77025




DESTINY CLARK                           DESTINY CLEM                       DESTINY DILLS
10201 S. MAIN STREET                    10201 S. MAIN STREET               291 COUNTY RD 3040
HOUSTON, TX 77025                       HOUSTON, TX 77025                  BONHAM, TX 75418




DESTINY MCMILLAN                        DESTON SNEAD                       DESZERAY DOUGHERTY
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




DETIA SOLOMON SOLOMON                   DETONIO THOMAS-PINKNEY             DETREK STAFFORD
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




DEUN ABNEY                              DEVAN SMITH                        DEVAN STROWDER
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025
DEVANTE J YOUNG YOUNG Case    18-12241-CSS     Doc 26
                                        DEVCO 8E/IW          Filed 10/05/18     PageDEVCON
                                                                                     522 ofCOMMONS
                                                                                            1739     LLC
10201 S. MAIN STREET                    17207 N PERIMETER DR STE 200                PO BOX 185
HOUSTON, TX 77025                       SCOTTSDALE, AZ 85255                        BRATTLEBORO, VT 05302-0185




DEVCON COMMONS                          DEVELOPERS DIVERSIFIED RLTY CORP            DEVILLE -- THF -- MASSILLON OUTPARCELS,
C/O DEI PROPERTY MANAGEMENT LLC         DBA GSII BROOK HIGHLAND LLC                 LLC
433 SOUTH MAIN STREET, SUITE 218        DEPT: 107310-20262-32697                    211 N. STADIUM BOULEVARD, SUITE 201
WEST HARTFORD, CT 06110                 P.O. BOX 951049                             COLUMBIA, MO 65203
                                        CLEVELAND, OH 44193



DEVILLE -- THF                          DEVILLE DEVELOPMENT, LLC                    DEVILLE DEVELOPMENT, LLC
MASSILLON OUTPARCELS, LLC               3951 CONVENIENCE CIRCLE NW, SUITE 301       ATTN: ROBERT BROWN
211 N. STADIUM BOULEVARD, SUITE 201     ATTN: ROBERT BROWN                          3951 CONVENIENCE CIRCLE NW, SUITE 301
COLUMBIA, MO 65203                      CANTON, OH 44718                            CANTON, OH 44718




DEVILLE THF MASSILLON OUTPARCELS LLC    DEVIN ALLEN                                 DEVIN BERNARD
211 N STADIUM BLVD STE 201              13520 SAN LUIS AVE                          10201 S. MAIN STREET
COLUMBIA, MO 65203                      CHINO, CA 91710                             HOUSTON, TX 77025




DEVIN BRANDES                           DEVIN BURNS                                 DEVIN ECK
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




DEVIN GREEN                             DEVIN GREER                                 DEVIN HOUSLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




DEVIN HUNTER                            DEVIN JORDAN                                DEVIN LEE
10201 S. MAIN STREET                    515 EH CRUMP BLVD                           10201 S. MAIN STREET
HOUSTON, TX 77025                       MEMPHIS, TN 38126                           HOUSTON, TX 77025




DEVIN LENAHAN                           DEVIN MOYE                                  DEVIN PUCKETT
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




DEVIN REEFER                            DEVIN RODRIGUEZ                             DEVIN SAUNDERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




DEVIN SIMS                              DEVLON DUNN                                 DEVMAR PARTNERS LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                        2005 STRADELLA RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                           LOS ANGELES, CA 90077
DEVMAR PARTNERS LLC     Case 18-12241-CSS
                                       DEVMARDoc 26 Filed
                                             PARTNERS, LLC 10/05/18   PageDEVNULL
                                                                           523 ofOCOEE
                                                                                  1739LLC
ATTN ACCOUNTING MCM                    2005 STRADELLA ROAD                C/O GRANDSTAFF COMMERCIAL MGMT
2034 COTNER AVE 200                    LOS ANGELES, CA 90077              4192 CONROY RD STE 110
LOS ANGELES, CA 90025                                                     ORLANDO, FL 32839




DEVON BAKER                            DEVON BARNES                       DEVON BRADLEY
10201 S. MAIN STREET                   630 MASSELIN AVE                   10201 S. MAIN STREET
HOUSTON, TX 77025                      LOS ANGELES, CA 90036              HOUSTON, TX 77025




DEVON HILL                             DEVON LYNCH                        DEVON MONGILLO
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DEVON MORRIS                           DEVON RUCKER                       DEVON SYLVIA
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DEVON TRADER                           DEVON WEAVER                       DEVONNA STADLER
10201 S. MAIN STREET                   2836 FILLMORE ST 26                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOLLYWOOD, FL 33020                HOUSTON, TX 77025




DEVONTA MCKNIGHT                       DEVONTA PAGE                       DEVONTE HILL
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DEVONTE ROBERSON                       DEVORA VILLARREAL                  DEVYN D OALIS
10201 S. MAIN STREET                   10201 S. MAIN STREET               3955 CHELSEA AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                  KANSAS CITY, MO 64130




DEVYN OATIS                            DEVYON DURHAM                      DEWANNA THIERRY
10201 S. MAIN STREET                   10201 S. MAIN STREET               1514 COCHRAN AVE 2
HOUSTON, TX 77025                      HOUSTON, TX 77025                  LOS ANGELES, CA 90019




DEWBERRY CAPITAL CORPORATION           DEWEY BOYNTON                      DEWEY HUMPHRIES
ATTN: STEVEN HUIE                      801 N 48TH AVE                     10201 S. MAIN STREET
1545 PEACHTREE STREET, SUITE 250       YAKIMA, WA 98908                   HOUSTON, TX 77025
ATLANTA, GA 30309




DEWEY MAYHEW                           DEWEY PROPERTIES LLC               DEWEY TYLER EDDLEMON
10201 S. MAIN STREET                   C/O PFEFFERLE MGNMT                604 POND CT
HOUSTON, TX 77025                      200 E WASHINGTON ST STE 2A         COVINGTON, LA 70435
                                       APPLETON, WI 54911
DEWITT MARSHALL          Case 18-12241-CSS    Doc 26
                                        DEX MEDIA           Filed 10/05/18   PageDEXTER
                                                                                  524 ofCALHOUN
                                                                                          1739
10201 S. MAIN STREET                    ACCT REC DEPT                            10201 S. MAIN STREET
HOUSTON, TX 77025                       PO BOX 619009                            HOUSTON, TX 77025
                                        DFW AIRPORT, TX 75261




DEXTER FRIDAY                           DEXTER HOWARD II                         DEXTER MARTIN
PO BOX 502226                           10201 S. MAIN STREET                     10201 S. MAIN STREET
INDIANAPOLIS, IN 46268                  HOUSTON, TX 77025                        HOUSTON, TX 77025




DEXTER MCKEE                            DEZ ORTIZ                                DEZARAE SCHARTIGER
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DEZELL WILLIAMS                         DEZER INTRACOASTAL MALL LLC              DEZER MUSEUM HOLDINGS LLC
10201 S. MAIN STREET                    C/O CREC                                 C/O DMH BISCAYNE N LLC
HOUSTON, TX 77025                       2121 PONCE DE LEON BLVD STE 1250         18001 COLLINS AVE 31ST FL
                                        CORAL GABLES, FL 33134                   SUNNY ISLES BEACH, FL 33160




DEZMEON TRAVIS                          DEZMOND HARRINGTON                       DEZRA DEVERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DFP PROPERTIES 1 LLC                    DFP1 PROPERTIES, LLC                     DFW SHREDDING INC.
NORTHBRIDGE MGMT & CONSULTING LLC       C/O NORTHBRIDGE MANAGEMENT &             1101 OHIO DR. SUITE 116
PO BOX 249                              CONSULTING                               PLANO, TX 75093
DENTON, TX 76202                        212 S. ELM STREET
                                        DENTON, TX 76201



DFW SHREDDING INC.                      DG MECHANICAL CORP                       DG27TH LLC
PO BOX 794392                           13341 SOUTHWEEST HWY                     DEMICHELE COMPANY
DALLAS, TX 75379                        ORLAND PARK, IL 60462                    2060 N HUMBOLDT AVE STE 250
                                                                                 MILWAUKEE, WI 53212




DHAKOTAH ORMAN                          DHAMAL BUTLER LLC                        DHAMAL BUTLER LLC
10201 S. MAIN STREET                    8 PLYMOUTH LANE                          8 PLYMOUTH LN
HOUSTON, TX 77025                       DARIEN, CT 06820                         DARIEN, CT 06820




DHARANI CHANDRAN RAMACHANDRAN           DHASONE RILEY                            DHEER GULATI
10201 S. MAIN STREET                    1338 ROCKY RIDGE BLVD.                   10201 S. MAIN STREET
HOUSTON, TX 77025                       DOUGLASVILLE, GA 30134                   HOUSTON, TX 77025




DHL GLOBAL FORWARDING                   DHX-DEPENDABLE HAWAIIN EXPRESS INC       DI MANAGEMENT
5955 CORE RD FMC 315 NF                 PO BOX 513370                            5575 S. SERMORAN BLVD., SUITE 5012
STE 520 CHB 3305                        LOS ANGELES, CA 90051                    ORLANDO, FL 32822
CHARLESTON, SC 29406
DI MONTE & LIZAK, LLC    Case   18-12241-CSS      Doc 26 Filed 10/05/18
                                          DIA HILDENBRAND                           PageDIAKON
                                                                                         525 of  1739
                                                                                               LOGISTICS
ATTN: LEE T. POTERACKI, ESQ.              10201 S. MAIN STREET                          7673 COPPERMINE DR
216 HIGGINS ROAD                          HOUSTON, TX 77025                             MANASSAS, VA 20109
PARK RIDGE, IL 60068




DIAL ONE ELECTRICAL SERVICES INC          DIAL REALTY - CHEYENNE MOUNTAIN II, LLC       DIAL REALTY - CHEYENNE MOUNTAIN II, LLC
11812 N LAMAR BLVD                        11506 NICHOLAS STREET, SUITE 100              ATTN: LISA NAYLON
AUSTIN, TX 78753                          ATTN: LISA NAYLON                             11506 NICHOLAS STREET, SUITE 100
                                          OMAHA, NE 68154                               OMAHA, NE 68154




DIAL REALTY CHEYENNE MTN CTR              DIALOGTECH INC                                DIALOGTECH INC
102 N CASCADE AVE STE 550                 300 W ADAMS STE 900                           75 REMITTANCE DR DEPT 6234
COLORADO SPRINGS, CO 80903                CHICAGO, IL 60606                             CHICAGO, IL 60675-6234




DIAMANTE COVINGTON                        DIAMOND BROWN                                 DIAMOND COLES
10201 S. MAIN STREET                      10201 S. MAIN STREET                          10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                             HOUSTON, TX 77025




DIAMOND CONTRACTORS INC                   DIAMOND DUDLEY                                DIAMOND GILCRIST
4224 NE PORT DR                           10201 S. MAIN STREET                          10201 S. MAIN STREET
LEES SUMMIT, MO 64064                     HOUSTON, TX 77025                             HOUSTON, TX 77025




DIAMOND SOFA                              DIAMOND THOMPSON                              DIAMOND WARM SPRINGS
6565 E WASHINGTON BLVD                    10201 S. MAIN STREET                          PO BOX 742359
COMMERCE, CA 90040                        HOUSTON, TX 77025                             LOS ANGELES, CA 90074




DIANA AGEE                                DIANA ALLEN                                   DIANA BERMAN
10201 S. MAIN STREET                      6328 LONGRIDGE AVE                            10201 S. MAIN STREET
HOUSTON, TX 77025                         VAN NUYS, CA 91401                            HOUSTON, TX 77025




DIANA BONNETT                             DIANA BOSSART                                 DIANA BUTGEREIT
10201 S. MAIN STREET                      10201 S. MAIN STREET                          10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                             HOUSTON, TX 77025




DIANA CAPERA                              DIANA CHRISS                                  DIANA EDGE
9725 FONTAINBLEAU BLVD A204               10201 S. MAIN STREET                          10201 S. MAIN STREET
MIAMI, FL 33172                           HOUSTON, TX 77025                             HOUSTON, TX 77025




DIANA GONZALEZ                            DIANA HERNANDEZ                               DIANA JOHNSON
10201 S. MAIN STREET                      6656 KLUMP AVE APT 4                          10201 S. MAIN STREET
HOUSTON, TX 77025                         NORTH HOLLYWOOD, CA 91606                     HOUSTON, TX 77025
DIANA JORGE            Case 18-12241-CSS
                                      DIANA L Doc 26
                                              MOYES         Filed 10/05/18   PageDIANA
                                                                                  526MofSACA,
                                                                                          1739ESQ.
10201 S. MAIN STREET                   25310 WINDING WILLOW LANE                 501 ARKANSAS STREET
HOUSTON, TX 77025                      SPRING, TX 77373                          SAN FRANCISCO, CA 94107




DIANA MARIA NGUYEN                     DIANA MARRERO                             DIANA MENDOZA
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DIANA MENDOZA                          DIANA MOYES                               DIANA PINEDA
10201 S. MAIN STREET                   25310 WINDING WILLOW LN                   10201 S. MAIN STREET
HOUSTON, TX 77025                      SPRING, TX 77373                          HOUSTON, TX 77025




DIANA POLLICINO                        DIANA RAMSEY                              DIANA RAZO
10201 S. MAIN STREET                   10201 S. MAIN STREET                      6630 HELIOTROPE AVE A
HOUSTON, TX 77025                      HOUSTON, TX 77025                         BELL, CA 90201




DIANA ROUSE                            DIANA SAMBUCETTI                          DIANA SANSHYYEVA
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DIANA WILLIAMS                         DIANA YANG                                DIANE A TICE
10201 S. MAIN STREET                   6308 81ST AVE N                           14212 TOBIASSON RD
HOUSTON, TX 77025                      BROOKLYN CENTER, MN 55445                 POWAY, CA 92064




DIANE CARROLL                          DIANE FINNEY                              DIANE FOSTER (HEDMAN)
                                       10201 S. MAIN STREET                      90 BRACKEN FERN RD
                                       HOUSTON, TX 77025                         MARSTONS MILLS, MA 02648




DIANE GODFREY                          DIANE HANRATTY                            DIANE KENNEDY
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DIANE KOWALSKI                         DIANE L GODFREY                           DIANE LINDENMUTH
10201 S. MAIN STREET                   16561 185TH ST E                          10201 S. MAIN STREET
HOUSTON, TX 77025                      HASTINGS, MN 55033                        HOUSTON, TX 77025




DIANE MACPHAIDEN                       DIANE MAHON                               DIANE PAJER
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025
DIANE PETERS            Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                       DIANE ROSENBERG                         PageDIANE
                                                                                    527TAYLOR
                                                                                         of 1739
4744 FALLWOOD DR                       832 S CENTRAL AVE                           2988 SOUTH ST
BATON ROUGE, LA 70817                  CHICAGO, IL 60644                           EAST TROY, WI 53120




DIANE VIEIRA                           DIANNA KHUN                                 DIANNA MOYES
10201 S. MAIN STREET                   C/O FORREST LAMOTHE MAZOW                   25310 WINDING WILLOW LN
HOUSTON, TX 77025                      MCCULLOUGH                                  SPRING, TX 77373
                                       YASI & YASI P.C.
                                       2 SALEM GREEN, SUITE 2
                                       SALEM, MA 01970


DIANNE BELLOLI                         DIANNE MASSINGTON                           DIAZ SERVICE
10201 S. MAIN STREET                   10201 S. MAIN STREET                        1918-A N TWIN OAKS VALLEY RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                           SAN MARCOS, CA 92069




DICK BATCHELDER                        DICK BROADCASTING INC                       DICK BROADCASTING INC
10201 S. MAIN STREET                   WKRR-FM                                     WKZL-FM
HOUSTON, TX 77025                      192 E LEWIS ST                              192 E LEWIS ST
                                       GREENSBORO, NC 27406                        GREENSBORO, NC 27406




DICK SHIRLEY CHEVROLET INC             DICKINSON WRIGHT PLLC                       DICKINSON, WRIGHT, MARISCAL & WEEKS
2616 ALAMANCE RD                       ATTN: DAVID L. LANSKY, ESQ.                 ATTN: DAVID L. LANSKY, ESQ.
PO BOX 480                             1850 NORTH CENTRAL AVENUE, SUITE 1400       2901 NORTH CENTRAL AVENUE, SUITE 200
BURLINGTON, NC 27216-0480              PHOENIX, AZ 85004                           PHOENIX, AZ 85012-2705




DICKS/LAKEVILLE SANITATION INC.        DICKS/LAKEVILLE SANITATION INC.             DICKSON CITY BOROUGH
8984 215TH ST W                        P.O. BOX 769                                901 ENTERPRISE ST
LAKEVILLE, MN 55044-8338               LAKEVILLE, MN 55044                         DICKSON CITY, PA 18519




DICKSON ELECTRIC SYSTEM                DICKSON ELECTRIC SYSTEM                     DICKSON
236 COWAN RD                           PO BOX 627                                  ATTN: PROPERTY TAX DEPT.
DICKSON, TN 37055                      DICKSON, TN 37056-0627                      600 E WALNUT ST
                                                                                   DICKSON, TN 37055




DIEBOLD                                DIEBOLD                                     DIEDE CONSTRUCTION INC
5995 MAYFAIR RD                        P.O. BOX 643543                             PO BOX 1007
CANTON, OH 44720                       PITTSBURGH, PA 15264-3543                   WOODBRIDGE, CA 95258




DIEDERICK HAERENS                      DIEDRA GRACE                                DIESEL DIRECT INC
10201 S. MAIN STREET                   10201 S. MAIN STREET                        PO BOX 135
HOUSTON, TX 77025                      HOUSTON, TX 77025                           RANDOLPH, MA 02368




DIGBY ASSOCIATES LIMITED PARTNERSHIP   DIGBY ASSOCIATES LP                         DIGBY ASSOCIATES
C/O SANDERS EQUITIES LLC               C/O SANDERS EQUITIES                        375 N BROADWAY PENTHOUSE
41 W PUTNAM AVE                        41 W. PUTNAM AVENUE                         JERICHO, NY 11753
GREENWICH, CT 06830                    GREENWICH, CT 06830
DIGI CRAFT AGENCY, LLC Case     18-12241-CSS     Doc
                                          DIGICERT INC 26     Filed 10/05/18   PageDIGITAL
                                                                                    528 of    1739
                                                                                           FIRST MEDIA
509 SOUTH CHICKSAW TRAIL, 169              2801 N THANKSGIVING WAY STE 500          PO BOX 62000
ORLANDO, FL 32825                          LEHI, UT 84043                           COLORADO SPRINGS, CO 80962




DIGITAL INTELLIGENCE SYSTEMS LLC           DIGITAL INTELLIGENCE SYSTEMS LLC         DIGITAL TO STORE LTD
8270 GREENSBORO DR STE 1000                WELLS FARGO BUSINESS CREDIT-WFRF
MCLEAN, VA 22102                           PO BOX 203678
                                           DALLAS, TX 75320




DIGITEC OFFICE SOLUTIONS INC               DIGUIJAY SINGH                           DIJON HENRY
12560 REED RD STE 200                      1823 GRACE AVE 208                       10201 S. MAIN STREET
SUGAR LAND, TX 77478                       LOS ANGELES, CA 90028                    HOUSTON, TX 77025




DIKA MATTESON LLC                          DILIP DATTANI                            DILLARD ENTERPRISES INC
ROSE PLAZA EDGEMARK ASSET                  10201 S. MAIN STREET                     FISH WINDOW CLEANING
2215 YORK RD STE 503                       HOUSTON, TX 77025                        P.O. BOX 151
OAK BROOK, IL 60523                                                                 PORTER, TX 77365




DILLON BARNARD                             DILLON BOUCHER                           DILLON BUSKER
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025




DILLON DUNN                                DILLON LALONDE                           DILLON PAUL
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025




DILLON PEREGO                              DILLON RIDGE MARKETPLACE III LLC         DILLON RIDGE MARKETPLACE III, LLC
10201 S. MAIN STREET                       C/O MILLER RE INV                        C/O MILLER REAL ESTATE INVESTMENTS
HOUSTON, TX 77025                          6900 E BELLEVIEW AVE STE 300             6900 W. BELLEVIEW AVENUE, SUITE 300
                                           GREENWOOD VILLAGE, CO 80111              GREENWOOD VILLAGE, CO 80111




DILON WILSON                               DIME HIGH III LLC                        DIMENSION DATA NORTH AMERICA INC
10201 S. MAIN STREET                       35 N FOURTH ST 4TH FLOOR                 PO BOX 392387
HOUSTON, TX 77025                          COLUMBUS, OH 43215                       PITTSBURGH, PA 15251-9387




DIMITRY SEDGHIYAR                          DIMMOCK SQUARE MARKETPLACE LLC           DIMMOCK SQUARE MARKETPLACE, LLC
10201 S. MAIN STREET                       C/O BLACKWOOD DEVELOPMENT CO INC         C/O AMANDA HOFFLER, LP
HOUSTON, TX 77025                          7301 BOULDER VIEW LN                     222 CENTRAL PARK AVE, SUITE 2100
                                           RICHMOND, VA 23225                       ATTN: ASSET MANAGEMENT
                                                                                    VIRGINIA BEACH, VA 23462



DINA RUIZ                                  DINAPOLI, VINCENT                        DINAVEL ENTERPRISES
10201 S. MAIN STREET                       702 W FINGERBOARD RD                     C/O CONTINENTAL DEVELOPERS LLC
HOUSTON, TX 77025                          STATEN ISLAND, NY 10305-2630             1604 WALNUT ST 4TH FLOOR
                                                                                    PHILADELPHIA, PA 19103
DINESH CHANDRA           Case 18-12241-CSS
                                        DINH LE Doc 26      Filed 10/05/18       PageDINH
                                                                                      529NGUYEN
                                                                                          of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                           HOUSTON, TX 77025




DINIUS & ASSOCIATES PLLC                 DINO CORELLA                                DINSMORE & SHOHL, LLP
5680 E FRANKLIN RD STE 130               10201 S. MAIN STREET                        1900 CHEMED CENTER
NAMPA, ID 83687                          HOUSTON, TX 77025                           255 EAST FIFTH STREET
                                                                                     ATTN: RICHARD B. TRANTER, ESQ.
                                                                                     CINCINNATI, OH 45202



DION DAWSON                              DION GORHAM                                 DION RUFF
10201 S. MAIN STREET                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                           HOUSTON, TX 77025




DIONDRE JONES                            DIONDRE MOFFETT                             DIONE JACKSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                           HOUSTON, TX 77025




DIONNE BATEAST                           DIORIS GERMOSEN                             DIRE WOLF INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                        66-17 WOODHAVEN BLVD
HOUSTON, TX 77025                        HOUSTON, TX 77025                           REGO PARK, NY 11374




DIRECT APPS INC DBA DIRECT TECHNOLOGY    DIRECT CONNECT LOGISTIX INC                 DIRECT CONNECT LOGISTIX
ACCOUNTS RECEIVABLE                      212 W 10TH ST STE D-405                     314 W MICHIGAN ST
3009 DOUGLAS BLVD STE 300                INDIANAPOLIS, IN 46202                      INDIANAPOLIS, IN 46202
ROSEVILLE, CA 95661




DIRECT ENERGY BUSINESS                   DIRECT ENERGY BUSINESS                      DIRECT MEDIA USA
ATTN J. LOVE                             P.O. BOX 642665                             72 SHARP ST C-12
1001 LIBERTY AVE FL 13                   PITTSBURGH, PA 15264-2665                   HINGHAM, MA 02043
PITTSBURGH, PA 15222




DIRECTIONS RESEARCH INC                  DIRECTOR OF BUDGET AND FINANCE              DIRECTOR OF FINANCE BALTIMORE
PO BOX 71-3885                           DEPT OF LABOR & INDUSTRIAL REL.-HIOSH       BUREAU OF REVENUE COLLECTIONS
COLUMBUS, OH 43271-3885                  830 PUNCHBOWL ST ROOM 423                   200 HOLLIDAY ST
                                         HONOLULU, HI 96813                          BALTIMORE, MD 21202-3618




DIRECTOR OF FINANCE                      DIRECTV                                     DIRECTV
COUNTY OF FAIRFAX VA                     2230 E IMPERIAL HWY, FL 10                  P.O. BOX 66523
12000 GOVERNMENT CENTER PKWY             EL SEGUNDO, CA 90245-3504                   ST. LOUIS, MO 63166-6523
FAIRFAX, VA 22035




DIRECTV                                  DIRECTV                                     DIRK LARSON
PO BOX 105249                            PO BOX 60036                                10201 S. MAIN STREET
ATLANTA, GA 30348-5249                   LOS ANGELES, CA 90060-0036                  HOUSTON, TX 77025
DIRON PROPERTIES, LLC Case      18-12241-CSS     Doc 26 LLC
                                          DIRON PROPERTIES, Filed 10/05/18         PageDIRT
                                                                                        530   of 1739
                                                                                            FREE CARPET &
842 MOUNT ZION CHURCH ROAD                 ATTN: RONALD RITTER                         UPHOLSTERY CLEANING, INC.
ATTN: RONALD RITTER                        842 MOUNT ZION CHURCH ROAD                  P.O. BOX 86
CASAR, NC 28020                            CASAR, NC 28020                             BARKER, TX 77413




DISALVO, JACQUELINE                        DISC RESTORER INC                           DISC RESTORER, INC.
18 COURT STREET                            ATTN: MIKE BELL                             2076 WINDWARD WAY
BROOKLYN, NY 11241                         2076 WINDWARD WAY                           VERO BEACH, FL 32963
                                           VERO BEACH, FL 32963




DISCOVERY BENEFITS INC                     DISCOVERY BENEFITS                          DISCOVERY WORLD FURNITURE
4321 20TH AVE SW                           PO BOX 9528                                 2963 STONEWALL PLACE
FARGO, ND 58103                            FARGO, ND 58106-9528                        SANFORD, FL 32773




DISPATCH CONSUMER SHOWS                    DISPATCH TRACK                              DISPOSALL
5300 CROSSWIND DR                          467 SARATOGA AVE 621                        3941 BRYN MAWR ST
COLUMBUS, OH 43228                         SAN JOSE, CA 95129                          ORLANDO, FL 32808




DISPOSALL                                  DISTRIBUTION FUNDING LLC                    DISTRICT COURT OF MADISON CO
P.O. BOX 161417                            4545 AIRPORT WAY                            100 NORTH SIDE SQUARE
ALTAMONTE SPRINGS, FL 32716                DENVER, CO 80239                            HUNTSVILLE, AL 35801




DISTRICT HEIGHTS SHOPPING CENTER LLC       DISTRICT HEIGHTS SHOPPING CENTER, LLC       DISTRICT OF COLUMBIA
1954 GREENSPRING DR                        C/O KIMCO REALTY CORPORATION                1101 4TH STREET, SW
STE 330                                    3333 NEW HYDE PARK ROAD, SUITE 100          SUITE 270
TIMONIUM, MD 21093                         NEW HYDE PARK, NY 11042-0020                WASHINGTON, DC 20024




DISTRICT OF COLUMBIA                       DISTRICT OF COLUMBIA                        DIV OF CORP-FRANCHISE TAX DEPT
ATTN: UNCLAIMED PROPERTY DEPT.             OFFICE OF TAX AND REVENUE                   401 FEDERAL ST
1101 4TH ST SW 270                         ATTN: SALES & USE TAX DEPT.                 STE 4
WASHINGTON, DC 20024                       1101 4TH ST SW 270                          DOVER, DE 19901-3639
                                           WASHINGTON, DC 20024



DIVARIS PROPERTY MANAGEMENT CORP           DIVARIS PROPERTY MANAGEMENT CORP            DIVARIS PROPERTY MANAGEMENT
ATTN: LEASE ADMIN                          SARAH A. ETHERIDGE, ASST DIRECTOR           SARAH ETHERIDGE
ONE COLUMBUS CENTER, SUITE 700             4525 MAIN STREET, SUITE 900                 2101 REXFORD ROAD, SUITE 330E
VIRGINIA BEACH, VA 23462                   VIRGINIA BEACH, VA 23462                    CHARLOTTE, NC 28211




DIVARIS PROPERTY MANAGEMENT                DIVERSE LOGISTICS AND DISTRIBUTION INC      DIVERSE POWER
TERESA COLTHARP                            201 E KENNEDY BLVD STE 950                  1400 SOUTH DAVIS RD
2101 REXFORD ROAD, SUITE 330E              TAMPA, FL 33602                             PO BOX 160
CHARLOTTE, NC 28211                                                                    LAGRANGE, GA 30241




DIVERSE POWER                              DIVERSIFIED DEVELOPMENT GROUP               DIVERSIFIED INVESTMENT COMPANY
PO BOX 160                                 7519 N. INGRAM AVENUE, SUITE 104            30240 RANCHO VIEJO ROAD, SUITE B
LA GRANGE, GA 30241-0003                   FRESNO, CA 93711                            ATTN: JACK TARR
                                                                                       SAN JUAN CAPISTRANO, CA 92675
                       Case 18-12241-CSS
DIVERSIFIED INVESTMENT COMPANY                DocINVESTMENT
                                      DIVERSIFIED  26 FiledCOMPANY
                                                               10/05/18   PageDIVERSIFIED
                                                                               531 of 1739PARTNERS, LLC
ATTN: DENISSE HUMMEL                  ATTN: JACK TARR                          ATTN: KELLY GANTNER
30240 RANCHO VIEJO RD STE B           30240 RANCHO VIEJO ROAD, SUITE B         7500 E. MCDONALD DRIVE, SUITE 100A
SAN JUAN CAPISTRANO, CA 92675         SAN JUAN CAPISTRANO, CA 92675            SCOTTSDALE, AZ 85250




DIVERSIFIED PARTNERS, LLC              DIVERSIFIED RACK & SHELVING INC         DIVERSIFIED REALTY CO.
ATTN: LARRY BROWN                      603 ROUTE 130 NORTH                     6300 NE 1ST AVENUE, SUITE 100
7500 E. MCDONALD DRIVE, SUITE 100A     EAST WINDSOR, CT 08520-2618             FORT LAUDERDALE, FL 33334
SCOTTSDALE, AZ 85250




DIVERSIFIED REALTY DEVELOPMENT CO      DIVERSIFIED                             DIVIDEND CAPITAL DIVERSIFIED PROP FUND
ATTN: ALAN J GOLDBERG                  PO BOX 426                              518 17TH STREET, 17TH FLOOR
2700 W CYPRESS CREEK RD SUITE C105     MARATHON, WI 54448                      DENVER, CO 80202
FORT LAUDERDALE, FL 33309




DIVIDEND CAPITAL TOTAL REALTY          DIVISION II CONSTRUCTION INC            DIVISION II CONSTRUCTION INC
OPERATING                              1230 N ANITA AVE                        PO BOX 85250
518 17TH ST STE 1700                   TUCSON, AZ 85705                        TUCSON, AZ 85754
DENVER, CO 80202




DIVONTE GOODWIN                        DIWATA VIDA P SAZON                     DIXIE ELECTRIC COOPERATIVE
10201 S. MAIN STREET                   2414 N TUSTIN AVE                       9100 ATLANTA HWY
HOUSTON, TX 77025                      SANTA ANA, CA 92705                     MONTGOMERY, AL 36117




DIXIE ELECTRIC COOPERATIVE             DIXIE SAFE AND LOCK                     DIXON ELECTRIC INC
DEPARTMENT 1340                        7920 GULF FREEWAY                       516 W FOURTH ST
PO BOX 2153                            HOUSTON, TX 77017                       LEXINGTON, KY 40508
BIRMINGHAM, AL 35287-1340




DJ ALLEN                               DJ DUGAN                                DJ ELLIOT
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




DJ JOHNSON                             DJ PATTERSON                            DJ ROBINSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DJ SMALLEY                             DJ WILLIAMS                             DJD PARTNERS 10 LLC
14664 THEBES ST                        10201 S. MAIN STREET                    SDS 12 3003
SAN DIEGO, CA 92129                    HOUSTON, TX 77025                       PO BOX 86
                                                                               MINNEAPOLIS, MN 55486-3003




DJD PARTNERS 10, LLC                   DJENANE DUROSIER                        DJM CAPITAL PARTNERS INC
4350 BAKER ROAD, SUITE 400             10201 S. MAIN STREET                    60 S MARKET STREET, SUITE 1120
MINNETONKA, MN 55343                   HOUSTON, TX 77025                       SAN JOSE, CA 95113
DJM NNN I, LLC        Case 18-12241-CSS
                                     DJM NNNDoc
                                             I, LLC26   Filed 10/05/18     PageDJM
                                                                                532  ofIII,1739
                                                                                   NNN      LLC
60 SOUTH MARKET STREET, SUITE 1120   ATTN: DENNIS WOLOHAN                       60 S MARKET STREET, SUITE 1120
ATTN: DENNIS WOLOHAN                 60 SOUTH MARKET STREET, SUITE 1120         SAN JOSE, CA 95113
SAN JOSE, CA 95113                   SAN JOSE, CA 95113




DJM NNN III, LLC                       DKC STUART LANDINGS LLC                  DKC STUART LANDINGS, LLC
C/O DJM CAPITAL PARTNERS INC           FKA KSH STUART LANDINGS LLC              431 FAIRWAY DRIVE, SUITE 201
60 S MARKET STREET, SUITE 1120         ATTN: LEGAL DEPARTMENT                   ATTN: PRESIDENT
SAN JOSE, CA 95113                     431 FAIRWAY DRIVE, SUITE 201             DEERFIELD BEACH, FL 33441
                                       DEERFIELD BEACH, FL 33441



DKC STUART LANDINGS, LLC               DKC STUART LANDINGS, LLC                 DLC MANAGEMENT CORPORATION
ATTN: BEA WILLIAMS                     ATTN: PRESIDENT                          190 EAST STACY ROAD, SUITE 1508
431 FAIRWAY DRIVE, SUITE 201           431 FAIRWAY DRIVE, SUITE 201             ALLEN, TX 75002
DEERFIELD BEACH, FL 33441              DEERFIELD BEACH, FL 33441




DLP CONSTRUCTION CO. INC               DLZ TRANSPORTATION INC                   DM COMMERCIAL CLEANING SERVICES
5935 SHILOH RD E STE 200               SEAL TRUCKING                            PO BOX 250
ALPHARETTA, GA 30005                   1908 KELLOGG WAY                         DAVENPORT, FL 33836
                                       RANCHO CORDOVA, CA 95670




DM TRANSPORTATION                      DMD PROPERTIES, INC.                     DMGI LLC
6203 SHEED RD.                         2805 W. HORATIO STREET                   11279 PERRY HWY
CINCINNATI, OH 45247                   TAMPA, FL 33609                          STE 509
                                                                                WEXFORD, PA 15090




DMGI, LLC                              DMGI, LLC                                DMH BISCAYNE NORTH, LLC
C/O GIGLIOTTI PROPERTIES               C/O GIGLIOTTI PROPERTIES                 C/O DEZER MUSEUM HOLDINGS, LLC
11279 PENNY HIGHWAY                    11279 PENNY HWY STE 509                  18001 COLLINS AVENUE, 31ST FLOOR
WEXFORD, PA 15090                      WEXFORD, PA 15090                        ATTN: LEGAL DEPARTMENT
                                                                                SUNNY ISLES BEACH, FL 33160



DMITRI KNAPP                           DMITRI SUSHCHIK DBA EARTH MOVERS LLC-    DMK VOLVO PARKWAY LLC
10201 S. MAIN STREET                   1511 HILLTOP DR                          289 INDEPENDENCE BLVD STE 300
HOUSTON, TX 77025                      ANDERSON, SC 29621                       VIRGINIA BEACH, VA 23462




DMK VOLVO PARKWAY, LLC                 DMV RENEWAL                              DNS, LLC
C/O SUBURBAN CAPITAL, INC.             PO BOX 942894                            4408 N. 12TH STREET, SUITE 200
3600 PACIFIC AVENUE                    SACRAMENTO, CA 94294-0894                ATTN: URI SHEMESH
VIRGINIA BEACH, VA 23451                                                        PHOENIX, AZ 85014




DNS, LLC                               DNW, LLC                                 DOAK MATHIAS
ATTN: URI SHEMESH                      C/O COMMERCIAL PROPERTY RESOURCES        10201 S. MAIN STREET
4408 N. 12TH STREET, SUITE 200         P.O. BOX 170730                          HOUSTON, TX 77025
PHOENIX, AZ 85014                      AUSTIN, TX 78717




DOC SHIELDS                            DOCK BROTHERS CONSTRUCTION               DOCK DEMENT
10201 S. MAIN STREET                   1939 E MCDANIEL                          10201 S. MAIN STREET
HOUSTON, TX 77025                      SPRINGFIELD, MO 65802                    HOUSTON, TX 77025
DOCTORS EXPRESS           Case 18-12241-CSS    Doc 26
                                         DOCUCENTER         Filed 10/05/18   PageDOCUMATIONS
                                                                                  533 of 1739INC
1467 WOODRUFF RD C                       2303 SMITH ST STE 201                   231 E RHAPSODY
GREENVILLE, SC 29607                     HOUSTON, TX 77006                       SAN ANTONIO, TX 78216




DOCUSIGN INC                             DOCUSIGN INC                            DOEL FUENTES
1301 2ND AVE SUITE 2000                  DEPT 3428                               10201 S. MAIN STREET
SEATTLE, WA 98101                        PO BOX 123428                           HOUSTON, TX 77025
                                         DALLAS, TX 75312-3428




DOES                                     DOLAN BLAIR                             DOLLI KELLY
PO BOX 96664                             10201 S. MAIN STREET                    10201 S. MAIN STREET
WASHINGTON, DC 20090                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DOLORES MARTINEZ                         DOLPHIN GAS SYSTEM INC                  DOLPHUS PIERCE
10201 S. MAIN STREET                     1614 NE 205 TERRACE                     10201 S. MAIN STREET
HOUSTON, TX 77025                        MIAMI, FL 33179                         HOUSTON, TX 77025




DOM MURFF                                DOMINGO RODRIGUEZ                       DOMINIC AARON
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DOMINIC ADAMS                            DOMINIC BEGA                            DOMINIC DEFUSO
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DOMINIC LITTLETON                        DOMINIC MAUGERI DUDA                    DOMINIC OBRIGKEIT
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DOMINIC ORSO                             DOMINIC ROMERO                          DOMINIC SPEARS
10201 S. MAIN STREET                     201 W 5TH ST 18TH FL                    565 CANBERRA DR
HOUSTON, TX 77025                        AUSTIN, TX 78701                        WESTFIELD, IN 46074




DOMINIC VICKERS                          DOMINIC WEST                            DOMINIC WIRTH
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DOMINICK NELLUM                          DOMINICK TREEMARCHI                     DOMINICK VILLANO
10201 S. MAIN STREET                     835 NIMICK AVE                          10201 S. MAIN STREET
HOUSTON, TX 77025                        MONACA, PA 15061                        HOUSTON, TX 77025
DOMINION EAST OHIO      Case   18-12241-CSS     Doc
                                         DOMINION    26 OHIO
                                                  ENERGY Filed 10/05/18      PageDOMINION
                                                                                  534 of ENERGY
                                                                                          1739 OHIO
PO BOX 26785                             120 TREDEGAR ST                         P.O. BOX 26785
RICHMOND, VA 23261-6785                  RICHMOND, VA 23219                      RICHMOND, VA 23261-6785




DOMINION ENERGY VIRGINIA                 DOMINION ENERGY VIRGINIA                DOMINION ENERGY
120 TREDEGAR ST                          P.O. BOX 26543                          120 TREDEGAR ST
RICHMOND, VA 23219                       RICHMOND, VA 23290-0001                 RICHMOND, VA 23219




DOMINION ENERGY                          DOMINION HOPE                           DOMINION NORTH CAROLINA POWER
P.O. BOX 26785                           PO BOX 26783                            120 TREDEGAR ST
RICHMOND, VA 23261-6785                  RICHMOND, VA 23261-6783                 RICHMOND, VA 23219




DOMINION NORTH CAROLINA POWER            DOMINION SQUARE CULPEPPER LLC           DOMINION VIRGINIA POWER
P.O. BOX 26543                           C/O ASTON PROPERTIES                    120 TREDEGAR ST
RICHMOND, VA 23290-0001                  610 E. MOREHEAD STREET, SUITE 100       RICHMOND, VA 23219
                                         CHARLOTTE, NC 28202




DOMINION VIRGINIA POWER                  DOMINIQUE DISHMAN                       DOMINIQUE FRIAS
PO BOX 26543                             10201 S. MAIN STREET                    10201 S. MAIN STREET
RICHMOND, VA 23290-0001                  HOUSTON, TX 77025                       HOUSTON, TX 77025




DOMINIQUE GLICK                          DOMINIQUE JACKSON                       DOMINIQUE LEE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DOMINIQUE LIVINGSTON                     DOMINIQUE MCNEAL                        DOMINIQUE OMOREGIE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    3943 W GRENSHAW ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                       CHICAGO, IL 60624




DOMINIQUE SERAPHIN                       DOMINIQUE STEVENS                       DOMINIQUE TRISTAN
10201 S. MAIN STREET                                                             10201 S. MAIN STREET
HOUSTON, TX 77025                                                                HOUSTON, TX 77025




DOMINIQUE VAUGHAN                        DOMINIQUE WALKER                        DOMINOS PIZZA
10201 S. MAIN STREET                     10201 S. MAIN STREET                    30 FRANK LLOYD WRIGHT DRIVE
HOUSTON, TX 77025                        HOUSTON, TX 77025                       ANN ARBOR, MI 48106-0997




DOMINOS PIZZA                            DOMINQUE SERAPHIN                       DOMITALIA USA
PO BOX 949                               2721 POLK ST                            2960 S MCCALL RD STE 204
ANN ARBOR, MI 48106-0997                 HOUSTON, TX 77003                       ENGLEWOOD, FL 34224
DOMONIQUE WALKER       Case   18-12241-CSS    Doc ALVAREZ
                                        DON ANGELO 26 Filed 10/05/18          PageDON
                                                                                   535  of 1739
                                                                                      BEAN
10155 S ST LAWRENCE AVE                 10201 S. MAIN STREET                      10201 S. MAIN STREET
CHICAGO, IL 60628                       HOUSTON, TX 77025                         HOUSTON, TX 77025




DON GALLIGAN                            DON GIZA                                  DON GREEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




DON GUY                                 DON KUMAR                                 DON MITCHELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




DON OLSON                               DON ONEIL                                 DON POSMAN
10201 S. MAIN STREET                    3623 12TH AVE W                           10201 S. MAIN STREET
HOUSTON, TX 77025                       SEATTLE, WA 98119                         HOUSTON, TX 77025




DON SCHLEGEL                            DON SUMNERS CPA RTA                       DON WALKER
9913 FAIRWAY CIRCLE                     TAX ASSESSOR COLLECTOR                    10201 S. MAIN STREET
LEESBURG, FL 34748                      PO BOX 4622                               HOUSTON, TX 77025
                                        HOUSTON, TX 77210-4622




DONAHUE FITZGERALD LLP                  DONAHUE SCHRIBER REALTY GROUP LP          DONAHUE SCHRIBER REALTY GROUP LP
1999 HARRISON STREET, 25TH FLOOR        200 EAST BAKER ST                         ATTN: DSRG LP-KEIZER STATION I
OAKLAND, CA 94612                       STE 100                                   PO BOX 6157
                                        COSTA MESA, CA 92626                      HICKSVILLE, NY 11802-6157




DONAHUE SCHRIBER REALTY GROUP LP        DONAHUE SCHRIBER REALTY GROUP LP          DONAHUE SCHRIBER REALTY GROUP, L.P
DSRG-ORCHARD WALK EAST                  ROCKLIN HOLDINGS LP                       200 EAST BAKER STREET, SUITE 100
PO BOX 6157                             PO BOX 6157                               ATTN: MR. JACK STEINHAUER
HICKSVILLE, NY 11802                    HICKSVILLE, NY 11802                      COSTA MESA, CA 92626




DONAHUE SCHRIBER REALTY GROUP, L.P      DONAHUE SCHRIBER REALTY GROUP, L.P        DONAHUE SCHRIBER REALTY GROUP, L.P
ATTN: MR. JACK STEINHAUER               ATTN: MS. SHERLY BEAMER                   SARAH ELLIOTT
200 EAST BAKER STREET, SUITE 100        3501 DEL PASO ROAD, SUITE 100             1451 RIVER PARK DRIVE, SUITE 110
COSTA MESA, CA 92626                    SACRAMENTO, CA 95835                      SACRAMENTO, CA 95815




DONAHUE SCHRIBER REALTY GROUP, L.P      DONAHUE SCHRIBER REALTY GROUP, L.P.       DONAHUE SCHRIBER REALTY GROUP, L.P.
SHARON COONEY                           C/O DONAHUE SCHRIBER REALTY GROUP,        C/O DONAHUE SCHRIBER
1451 RIVER PARK DRIVE, SUITE 110        LP                                        3501 DEL PASO ROAD, 100
SACRAMENTO, CA 95815                    200 EAST BAKER STREET, SUITE 100          ATTN: PROPERTY MANAGER
                                        ATTN: ASSET MANAGEMENT                    SACRAMENTO, CA 95835
                                        COSTA MESA, CA 92626


DONAHUE SCHRIBER REALTY GROUP, LP       DONAHUE SCHRIBER REALTY GROUP, LP         DONAHUE SCHRIBER
200 E. BAKER STREET, SUITE 100          200 EAST BAKER STREET, SUITE 100          ATTN: PROPERTY MANAGER
COSTA MESA, CA 92626                    ATTN: PROPERTY MANAGER                    3501 DEL PASO ROAD, 100
                                        COSTA MESA, CA 92626                      SACRAMENTO, CA 95835
DONAHUE SCHRIBER        Case   18-12241-CSS
                                         DONALDDoc 26 IIFiled 10/05/18
                                               A MCCRAY                  PageDONALD
                                                                              536 ofBREWSTER
                                                                                     1739
ATTN: PROPERTY MANAGER                   92 PATUXENT MOBILE ESTATES          10201 S. MAIN STREET
5082 N. PALM AVENUE, SUITE A             LOTHIAN, MD 20711                   HOUSTON, TX 77025
FRESNO, CA 93704




DONALD CAREY                             DONALD CHUN                         DONALD CLAY
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




DONALD DEVILLEZ                          DONALD DEVILLEZ                     DONALD DEWEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




DONALD DITOLLA                           DONALD DOMINY                       DONALD DONATO
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




DONALD GERMAN                            DONALD HARVEY                       DONALD HERT
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




DONALD HOUSTON                           DONALD HURLEY                       DONALD JOHNSTON
10201 S. MAIN STREET                     743 SPRING VALLEY DR                10201 S. MAIN STREET
HOUSTON, TX 77025                        MEDFORD, OR 97501                   HOUSTON, TX 77025




DONALD KAESER                            DONALD KOGER                        DONALD KORUS
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




DONALD KROPFF                            DONALD LEVINE                       DONALD LEWANDOWSKI
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




DONALD LYONS                             DONALD MACKILLOP                    DONALD MAHOMES
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




DONALD MALDONADO                         DONALD MARTIN                       DONALD P MEENA & LILIAN B MEENA TRUST
11911 SW 200 ST                          10201 S. MAIN STREET                26528 OAK TERRACE PL.
MIAMI, FL 33177                          HOUSTON, TX 77025                   VALENCIA, CA 91381
DONALD P MEENA & LILLIANCase  18-12241-CSS
                         B MEENA TRUST  DONALDDoc    26 & LILLIAN
                                                P MEENA    Filed B10/05/18
                                                                   MEENA TRUSTPageDONALD
                                                                                    537 ofPALMER
                                                                                             1739
26528 OAK TERRACE PL                    26528 OAK TERRACE PLACE                   10201 S. MAIN STREET
VALENCIA, CA 91381-0741                 VALENCIA, CA 91381                        HOUSTON, TX 77025




DONALD PERYER                            DONALD PORTER                             DONALD R GREEN
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10045 NE 1ST 224
HOUSTON, TX 77025                        HOUSTON, TX 77025                         BELLEVUE, WA 98004




DONALD R GREEN                           DONALD R GREEN                            DONALD RAYSICK
10045 NE 1ST ST                          9631 E LOBO                               10201 S. MAIN STREET
BELLEVUE, WA 98004-5654                  MESA, AZ 85209                            HOUSTON, TX 77025




DONALD ROBERTS                           DONALD SANFORD                            DONALD SIMPSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




DONALD SMITHERMAN                        DONALD STROUD                             DONALD SWIFT
10201 S. MAIN STREET                     1311 NW FERRIS                            10201 S. MAIN STREET
HOUSTON, TX 77025                        LAWTON, OK 73507                          HOUSTON, TX 77025




DONALD THOMAS                            DONALD WARREN                             DONALD WEAKLEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




DONALD WOLFF                             DONALD WRIGHT                             DONALDSON, LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                      1400 W 94TH ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                         BLOOMINGTON, MN 55431




DONALDSON, LLC                           DONALDSON, LLC                            DONATILO ROMERO
4808 DESERT PLATEAU DRIVE                ATTN: LANE DONALDSON                      10201 S. MAIN STREET
ATTN: LANE DONALDSON                     4808 DESERT PLATEAU DRIVE                 HOUSTON, TX 77025
PASCO, WA 99301                          PASCO, WA 99301




DONAVAN HUBSON                           DONCO TRADING CO                          DONDADA INC
10201 S. MAIN STREET                     6801 SNOWDEN RD                           1145 WAVERLY PLACE
HOUSTON, TX 77025                        FORT WORTH, TX 76028                      SCHENECTADY, NY 12303




DONICA BATTS                             DONLIA JONES                              DONN MARTIN
1550 ORQUESTA COURT                      739 CRESTWOOD DR                          10201 S. MAIN STREET
COLTON, CA 92324                         GARNER, NC 27529                          HOUSTON, TX 77025
DONNA AMON              Case 18-12241-CSS    Doc 26
                                       DONNA ANDREE         Filed 10/05/18   PageDONNA
                                                                                  538 of 1739
                                                                                       ARANGUA
10201 S. MAIN STREET                   511 S HIGHLAND                            10201 S. MAIN STREET
HOUSTON, TX 77025                      OAK PARK, IL 60304                        HOUSTON, TX 77025




DONNA BARNES                           DONNA BOND                                DONNA C. DELIA
8 MAYFLOWER                            10201 S. MAIN STREET                      72 EARLE AVE
ALISO VIEJO, CA 92656                  HOUSTON, TX 77025                         LYNBROOK, NY 11563




DONNA CHILDRESS                        DONNA CHRISTENSEN                         DONNA COLEMAN
6059 CR 1046                           10201 S. MAIN STREET
CELESTE, TX 75423                      HOUSTON, TX 77025




DONNA DELIA                            DONNA DOLINGER                            DONNA GILLESPIE
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DONNA GRANATO                          DONNA HORNER                              DONNA KAMINSKY
100 HUDSON ST 4C                       10201 S. MAIN STREET                      10201 S. MAIN STREET
NEW YORK, NY 10013                     HOUSTON, TX 77025                         HOUSTON, TX 77025




DONNA KATHER                           DONNA KNOLL                               DONNA M HUGGINS
18 CALENDULA                           10201 S. MAIN STREET                      3410 NW 177TH TERRACE
RANCHO SANTA MARGARITA, CA 92688       HOUSTON, TX 77025                         MIAMI, FL 33056




DONNA MCMURTRAY                        DONNA MEIERDIRK                           DONNA OLSEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DONNA RHYNE                            DONNA ROSECRANS                           DONNA RUIZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DONNA RUSHING                          DONNA SMITH MOSELEY                       DONNA SUTTON
3709 A ST JOHNS CT                     14500 VAN NUYS BLVD 4                     10201 S. MAIN STREET
WILMINGTON, NC 28403                   PANORAMA CITY, CA 91402                   HOUSTON, TX 77025




DONNA THOMPSON                         DONNA WHITEHURST                          DONNELL JOHNSON
60137 CHESAPEAKE DR                    10201 S. MAIN STREET                      10201 S. MAIN STREET
JOSHUA TREE, CA 92252                  HOUSTON, TX 77025                         HOUSTON, TX 77025
DONNELL WALSTON        Case 18-12241-CSS
                                      DONNIE Doc 26
                                             MURPHY      Filed 10/05/18   PageDONNIE
                                                                               539 of  1739
                                                                                     SCOTT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DONNIE THATCHER                       DONNIE WATSON                           DONNIE WILSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DONNY BISCARDI                        DONNY BLANCHARD                         DONOVAN & WATKINS LP
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1400 POST OAK BLVD STE 200
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77056




DONOVAN GOODE                         DONOVAN GORDON                          DONOVAN KHAMORO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DONOVAN MCDONALD                      DONOVAN MULLINS                         DONOVAN NEALY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DONOVAN NEWBY                         DONOVAN TYSON                           DONOVAN WILLIAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DONS MOBILE WASH LLC                  DONTAE ONEAL                            DONTE BLAKNEY
8920 W HOPE ROAD                      10201 S. MAIN STREET                    10201 S. MAIN STREET
SPOKANE, WA 99224                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DONTE BRYANT                          DONTE FERNANDO                          DONTE JONES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




DONTRON INC                           DONYALE DAVIS                           DOOLEY & MACK CONSTRUCTORS
6336 CALUMET AVE                      6240 DEWAR WAY                          OF GEORGIA, INC.
HAMMOND, IN 46324                     NORTH HIGHLANDS, CA 95660               4550 ATWATER COURT, SUITE 204
                                                                              BUFORD, GA 30518




DOOR KING                             DORA QUINONES                           DORAL POINTE LLC
2209 HURFUS DR                        10201 S. MAIN STREET                    DELTA BAY INVESTMENTS
HOUSTON, TX 77092                     HOUSTON, TX 77025                       ATTN MIGUEL LOPEZ
                                                                              8236 NW 30TH TERRACE
                                                                              DORAL, FL 33122
DORAN GREENE            Case 18-12241-CSS    Doc 26
                                       DORCHESTER      Filed
                                                  COUNTY     10/05/18
                                                         TREASURER            PageDORCHESTER
                                                                                   540 of 1739
                                                                                             COUNTY WATER & SEWER
10201 S. MAIN STREET                    PO BOX 63058                              235 DEMING WAY
HOUSTON, TX 77025                       CHARLOTTE, NC 28263                       SUMMERVILLE, SC 29483-4753




DORCHESTER CTY WTR & SWR DEPT           DORCHESTER                                DOREEN BLOISE
235 DEMING WAY                          ATTN: PROPERTY TAX DEPT.                  10201 S. MAIN STREET
SUMMERVILLE, SC 29483                   PO BOX 63058                              HOUSTON, TX 77025
                                        CHARLOTTE, NC 28263




DOREEN RALSTON                          DOREEN SERPER                             DORIAN FOX
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




DORIAN KARTHAUSER                       DORIAN PRUITT                             DORIEN PARKER
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




DORIS COLLADO                           DORIS PICO                                DORLEE RINKOV
10201 S. MAIN STREET                    10201 S. MAIN STREET                      5515 LIVERPOOL COURT
HOUSTON, TX 77025                       HOUSTON, TX 77025                         OAK PARK, CA 91377




DORMAN ENTERPRISES LLC                  DORMEO OCTASPRING                         DORN, CRAIG
C/O FMK MANAGEMENT LLC                  THE CIT GRP COMMERCIAL SERVICES INC       PO BOX 1118
14039 SHERMAN WAY STE 206               PO BOX 1036                               NEW ROCHELLE, NY 10802-1118
LOS ANGELES, CA 91405                   CHARLOTTE, NC 28201-1036




DOROTHEA NEW                            DOROTHY BROCK                             DOROTHY HARBERTS
240 E CASTLE HARBOUR                    10201 S. MAIN STREET                      2116 VIA VIEJO
FRIENDSWOOD, TX 77546                   HOUSTON, TX 77025                         SAN CLEMENTE, CA 92673




DOROTHY MOAT                            DOROTHY NELLA                             DOROTHY TRAN
310 WOODLAND TRL                        10201 S. MAIN STREET                      4429 FLORIDA ST
LADY LAKE, FL 32159                     HOUSTON, TX 77025                         SAN DIEGO, CA 92116




DOROTHYDELAND LLC                       DOROTHYDELAND LLC                         DORTHIA DAVIS-FARMER
54-18 BROADWAY                          C/O OLYMPUS REALTY CORP                   10201 S. MAIN STREET
WOODSIDE, NY 11377                      54-18 BROADWAY                            HOUSTON, TX 77025
                                        WOODSIDE, NY 11377




DOSH HOLDINGS INC                       DOTHAN UTILITIES                          DOTHAN UTILITIES
13501 GALLERIA CIRCLE STE 240           125 N ST ANDREWS ST                       PO BOX 6728
AUSTIN, TX 78738                        DOTHAN, AL 36303                          DOTHAN, AL 36302
DOTTIE BOYLE             Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                        DOTUN FATINIKUN                     PageDOUBLE
                                                                                 541 ofDUCK,
                                                                                        1739 INC.
10201 S. MAIN STREET                    10201 S. MAIN STREET                     7320 SOUTHWEST FREEWAY, SUITE 115
HOUSTON, TX 77025                       HOUSTON, TX 77025                        ATTN: TAT HOI FUNG
                                                                                 HOUSTON, TX 77074




DOUBLE DUCK, INC.                       DOUBLE DUCK, INC.                        DOUBLE EAGLE SPORTS AND EVENTS
ATTN: TAT HOI FUNG                      DORRIS FONG                              DBA AZTEC EVENTS & TENTS
7320 SOUTHWEST FREEWAY, SUITE 115       7320 SOUTHWEST FREEWAY, SUITE 115        601 W 6TH ST
HOUSTON, TX 77074                       HOUSTON, TX 77074                        HOUSTON, TX 77007




DOUBLE J R D                            DOUBLE JRD LLC                           DOUG ALLMAN
3008 STATE HWY 31 N                     1927 SHADOW PARK ST                      10201 S. MAIN STREET
LONGVIEW, TX 75603                      SAN ANTONIO, TX 78232                    HOUSTON, TX 77025




DOUG BALDWIN                            DOUG BEAN & ASSOCIATES                   DOUG BELDEN- TAX COLLECTOR
10201 S. MAIN STREET                    810 SE BELMONT STREET, SUITE 100         PO BOX 30012
HOUSTON, TX 77025                       PORTLAND, OR 97214                       TAMPA, FL 33630-3012




DOUG BROWN                              DOUG CHRISTIE                            DOUG COMER
10201 S. MAIN STREET                    10201 S. MAIN STREET                     3242 SAN TOMAS DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                        OCEANSIDE, CA 92056




DOUG DODDS                              DOUG DYER                                DOUG ENGBROCK
8375 LIBERTY AVE.                       10201 S. MAIN STREET
ROHNERT PARK, CA 94928                  HOUSTON, TX 77025




DOUG GORDON                             DOUG HARRISON                            DOUG HOOVER
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DOUG KALPAKOFF                          DOUG MALITO                              DOUG MOORE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DOUG MORGAN & CO INC                    DOUG PENTERMAN                           DOUG RITTER
                                        10201 S. MAIN STREET                     10201 S. MAIN STREET
                                        HOUSTON, TX 77025                        HOUSTON, TX 77025




DOUG WEAVER                             DOUG WHITMAN                             DOUGHERTY COUNTY MAGISTRATE COURT
10201 S. MAIN STREET                    10201 S. MAIN STREET                     PO BOX 1827
HOUSTON, TX 77025                       HOUSTON, TX 77025                        ALBANY, GA 31702
                      Case
DOUGHERTY COUNTY TAX DEPT     18-12241-CSS    DocEQUIPMENT
                                        DOUGHERTY 26 Filed CO10/05/18
                                                              INC       PageDOUGHERTY
                                                                             542 of 1739
240 PINE AVE STE 100                    PO BOX 601439                       ATTN: PROPERTY TAX DEPT.
PO BOX 1827                             CHARLOTTE, NC 28260                 240 PINE AVE STE 100 PO BOX 1827
ALBANY, GA 31702-1827                                                       ALBANY, GA 31702-1827




DOUGLAS CAMPBELL                        DOUGLAS COUNTY COLORADO             DOUGLAS COUNTY TAX COLLECTOR
10201 S. MAIN STREET                    OFFICE OF THE CO TREASURER          ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       PO BOX 1208                         P.O. BOX 1177
                                        CASTLE ROCK, CO 80104-1208          DOUGLASVILLE, GA 30133




DOUGLAS COUNTY TAX COLLECTOR            DOUGLAS COUNTY TREASURER            DOUGLAS DEGRAFF
PO BOX 3000                             PO BOX 2855                         10201 S. MAIN STREET
MINDEN, NV 89423                        OMAHA, NE 68103-2855                HOUSTON, TX 77025




DOUGLAS DEVLEOPMENT CORP.               DOUGLAS DOUGHTY                     DOUGLAS EDLIN
702 H STREET, NW, SUITE 400             10201 S. MAIN STREET                10201 S. MAIN STREET
WASHINGTON, DC 20001                    HOUSTON, TX 77025                   HOUSTON, TX 77025




DOUGLAS ELLIMAN                         DOUGLAS ENGBROCK                    DOUGLAS FAIRMAN
                                        10201 S. MAIN STREET                10201 S. MAIN STREET
                                        HOUSTON, TX 77025                   HOUSTON, TX 77025




DOUGLAS GOODWIN                         DOUGLAS HESTER                      DOUGLAS JOHNSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




DOUGLAS JULIANO                         DOUGLAS MORGAN                      DOUGLAS MOTTLEY
10201 S. MAIN STREET                    9423 CHURCHLAKE CIRCLE              10201 S. MAIN STREET
HOUSTON, TX 77025                       MISSOURI CITY, TX 77459             HOUSTON, TX 77025




DOUGLAS REALTY & DEVELOPMENT INC        DOUGLAS RIEGLER                     DOUGLAS ROLLO
4821 CORONADO PWKY                      10201 S. MAIN STREET                10201 S. MAIN STREET
CAPE CORAL, FL 33904                    HOUSTON, TX 77025                   HOUSTON, TX 77025




DOUGLAS ROSERO                          DOUGLAS SEVERSON                    DOUGLAS SIMMONS
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




DOUGLAS SPRING                          DOUGLAS TOTTEN                      DOUGLAS TRADE SHOWS
10201 S. MAIN STREET                    10201 S. MAIN STREET                PO BOX 1087
HOUSTON, TX 77025                       HOUSTON, TX 77025                   KANEOHE, HI 96744
DOUGLAS VENEY            Case 18-12241-CSS    Doc
                                        DOUGLAS     26 DUROCHER
                                                VINCENT Filed 10/05/18        PageDOUGLAS
                                                                                   543 of W1739
                                                                                            SIMMONS
10201 S. MAIN STREET                     331 EUREKA ST.                           1845 E LOCUST PLACE
HOUSTON, TX 77025                        REDLANDS, CA 92373                       CHANDLER, AZ 85286




DOUGLAS WAGNER                           DOUGLAS WEGENER                          DOUGLAS WOMAC DBA IMMANUEL
10201 S. MAIN STREET                     10201 S. MAIN STREET                     EXPRESS LLC
HOUSTON, TX 77025                        HOUSTON, TX 77025                        309 MAGNOLIA HILL RD
                                                                                  KATHLEEN, GA 31047




DOUGLAS WRIGHT                           DOVAL INVESTMENT INC                     DOVELL WINDOW CLEANING
10201 S. MAIN STREET                     4000 N OCEAN SUITE 303                   PO BOX 142232
HOUSTON, TX 77025                        SINGER ISLAND, FL 33404                  GAINESVILLE, FL 32614-2232




DOW JONES LOCAL MEDIA GROUP              DOWN DECOR INC                           DOWN HOME INC
DBA SEACOAST MEDIA GROUP                 1 KOVACH DR                              DOWN DECOR INC
PO BOX 223592                            CINCINNATI, OH 45215                     1 KOVACH DR
PITTSBURGH, PA 15251-2592                                                         CINCINNATI, OH 45215




DOWNEAST ENERGY                          DOWNEAST ENERGY                          DOWNERS GROVE SANITARY DIST
18 SPRING ST                             PO BOX 11016                             2710 CURTISS ST
BRUNSWICK, ME 04011                      LEWISTON, ME 04243-9467                  PO BOX 1412
                                                                                  DOWNERS GROVE, IL 60515-0703




DOWNERS GROVE SANITARY DISTRICT          DOWNTOWN WOODINVILLE LLC                 DOWNTOWN WOODINVILLE LLC
PO BOX 1412                              2720 3RD AVE                             TRF PACIFIC LLC
DOWNERS GROVE, IL 60515-0703             SEATTLE, WA 98121                        2608 2ND AVE 100
                                                                                  SEATTLE, WA 98121




DOWNTOWN WOODINVILLE, LLC                DOYLE ODELL                              DOYLE RUSSELL
C/O TRF PACIFIC LLC                      10201 S. MAIN STREET                     10201 S. MAIN STREET
2620 2ND AVENUE                          HOUSTON, TX 77025                        HOUSTON, TX 77025
ATTN: LAURIE SHARP
SEATTLE, WA 98121



DOYLE SHRUM                              DOYLESTOWN TOWNSHIP MUNIE AUTH           DOYLESTOWN TOWNSHIP MUNIE AUTH
10201 S. MAIN STREET                     425 WELLS RD                             425 WELLS ROAD
HOUSTON, TX 77025                        DOYLESTOWN, PA 18901                     DOYLESTOWN, PA 18901




DP MEDIA NETWORK LLC                     DPBI MAPLEWOOD LLC                       DPF CHESTER LLC
PO BOX 62000                             C/O R&W REALTY CO                        C/O BLACK CREEK GROUP
COLORADO SPRINGS, CO 80962               12 BREAKNECK HILL RD                     518 17TH STREET, SUITE 1700
                                         LINCOLN, RI 02865                        DENVER, CO 80202




DPF CHESTER LLC                          DPF MASHPEE LLC                          DPF MASHPEE LLC
PO BOX 809144                            C/O CHARTER REALTY MANAGEMENT CORP       PO BOX 809144
CHICAGO, IL 60680-9144                   800 WESTCHESTER AVE, SUITE S-632         CHICAGO, IL 60680
                                         RYE BROOK, NY 10573
DPI BUILDINGS LLC       Case      18-12241-CSS    DocDIVISION
                                            DPW WATER 26 Filed 10/05/18         PageDPW
                                                                                     544WATER
                                                                                         of 1739
                                                                                              DIVISION
ATTN: CAMERON KASPEREIT                     10 N ENTERPRISE DR                      P.O. BOX 1758
4141 HIGHLINE BLVD STE 180                  ALBANY, NY 12204                        ALBANY, NY 12201-1758
OKLAHOMA CITY, OK 73108




DR CASH INC                                 DR GLOBAL DIRECT                        DR PEPPER BOTTLING CO OF TEXAS
5559 NATIONAL TURNPIKE                      9625 W 76TH ST.                         PO BOX 910433
LOUISVILLE, KY 40214                        EDEN PRAIRIE, MN 55344                  DALLAS, TX 75391




DR PEPPER SNAPPLE GROUP INC                 DR POWLEDGE OCCUPATIONAL MEDICINE       DR SNOOZE
5301 LEGACY DR                              PC                                      PO BOX 772517
PLANO, TX 75024                             DBA VALLEY OCCUPATIONAL MEDICINE        OCALA, FL 34477
                                            512-B MCDOWELL AVE NE
                                            ROANOKE, VA 24016



DR. SUJAY KANSAGRA                          DRA G&I FUND IX INDUSTRIAL LLC          DRA G&I FUND IX INDUSTRIAL LLC
9429 COLLINGDALE WAY                        220 EAST 42ND ST 27TH FL                PO BOX 206790
RALEIGH, NC 27617                           NEW YORK, NY 10017                      DALLAS, TX 75320




DRAGON DISPOSAL LLC                         DRAGON DISPOSAL LLC                     DRAGOS COPY & PRINT CENTER INC
5207 N BLACK CANYON HWY                     P.O. BOX 25414                          3538 HWY 365
PHOENIX, AZ 85015                           SCOTTSDALE, AZ 85255                    NEDERLAND, TX 77627




DRAKE ASSET MANAGEMENT LLC                  DRAKE DURRETT                           DRAKE HOLLY WOLTJER
7800 E. UNION AVENUE, SUITE 410             10201 S. MAIN STREET                    10201 S. MAIN STREET
DENVER, CO 80237                            HOUSTON, TX 77025                       HOUSTON, TX 77025




DRAKE LOHI 2 LLC                            DRAKE REAL ESTATE SERVICES, INC.        DRAKE REAL ESTATE SERVICES, INC.
496 S BROADWAY                              496 SOUTH BROADWAY                      7800 E. UNION AVENUE, SUITE 410
DENVER, CO 80209                            DENVER, CO 80209                        DENVER, CO 80237




DRAKE STATESVILLE LLC                       DRAKE STATESVILLE LLC                   DRAKE STATESVILLE, LLC
1100 E MOREHEAD ST                          C/O PRIMAX SERVICES LLC                 2501-B PLANTATION CENTER DRIVE
CHARLOTTE, NC 28204                         1100 E MOREHEAD ST                      MATTHEWS, SC 28105
                                            CHARLOTTE, NC 28204




DRAKE STATESVILLE, LLC                      DRAKKAR BELISLE                         DRAKOS FAMILY PARTNERSHIP
C/O PRIMAX SERVICES LLC                     10201 S. MAIN STREET                    3755 CORPORATE WOODS DRIVE
1100 E MOREHEAD ST                          HOUSTON, TX 77025                       ATTN: ALLEN HAWKINS
CHARLOTTE, NC 28204                                                                 BIRMINGHAM, AL 35242




DRAKOS FAMILY PARTNERSHIP                   DRAKOS FAMILY PARTNERSHIP               DRAMEKA GRIGGS
5407 HIGHWAY 280                            ATTN: ALLEN HAWKINS                     10201 S. MAIN STREET
HOOVER, AL 35242                            3755 CORPORATE WOODS DRIVE              HOUSTON, TX 77025
                                            BIRMINGHAM, AL 35242
                      Case
DRAPER CITY CORPORATION      18-12241-CSS
                                       DRAPERDoc  26 Filed 10/05/18
                                             CITY CORPORATION                PageDRAWBRIDGE
                                                                                  545 of 1739
                                                                                            INC.
1020 E PIONEER RD                      1020 E PIONEER RD                         C/O WEB CREDIT SERVICES L.L.C.
(12400 SOUTH)                          DRAPER, UT 84020                          ATTN: JEFF JACKSON
DRAPER, UT 84020                                                                 9350 WILSHIRE BLVD., SUITE 203
                                                                                 BEVERLY HILLS, CA 90212



DRE BLACKMON BLACKMON                  DREAM MAKERS SLEEP PRODUCTS               DREAMHOST WEBHOSTING
10201 S. MAIN STREET                   7122 NW 74TH AVENUE                       417 ASSOCIATED RD 257
HOUSTON, TX 77025                      MIAMI, FL 33166                           BREA, CA 92821




DREAMLAND OF ASHEVILLE ASSOC.          DREAMLAND OF ASHEVILLE ASSOC., LLC        DREAMSPACE PROPERTIES LLC
BOONE COUNTY NATIONAL BANK             C/O THE KROENKE GROUP                     15941 S HARLEM AVE PMB 108
P.O. BOX 10155                         211 N. STADIUM BOULEVARD, SUITE 201       TINLEY PARK, IL 60477
COLUMBIA, MO 65205                     COLUMBIA, MO 65203




DREAMSPACE PROPERTIES, LLC             DREAMSPACE PROPERTIES, LLC                DRECO FRAZIER
15941 S HARLEM AVE PMB 108             C/O CAMBRIDGE MANAGEMENT, LTD.            10201 S. MAIN STREET
TINLEY PARK, IL 60477                  15255 S. 94TH AVENUE, SUITE 400           HOUSTON, TX 77025
                                       ORLAND PARK, IL 60462




DREMON JOHNSON                         DREW AGUON                                DREW ANNE DONALDSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                      5339 LINDA VISTA DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                         LA CANADA, CA 91011




DREW BLANKE                            DREW BLAZKA                               DREW BRACK
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DREW DANBURG                           DREW FARAG                                DREW FLECK
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




DREW HINDES                            DREW JOHNSTONE                            DREW KUBO
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DREW MARDER                            DREW ROSE                                 DREW SPYSINSKI
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




DREW TYDEMAN                           DREW VOKOS                                DREW WILLIAMS
1650 LONG ISLAND DR                    10201 S. MAIN STREET                      10201 S. MAIN STREET
EUGENE, OR 97401                       HOUSTON, TX 77025                         HOUSTON, TX 77025
DREW YEATES            Case 18-12241-CSS
                                      DREWANDoc 26
                                             NUGENT      Filed 10/05/18     PageDREXEL
                                                                                 546 of  1739
                                                                                       OAK CREEK WI LLC
1025 SABLE CROSSING                   10201 S. MAIN STREET                      THOMPSON THRIFT DEVEL INC
SUWANEE, GA 30024                     HOUSTON, TX 77025                         901 WABASH AVE 300
                                                                                TERRE HAUTE, IN 47807




DREYON MORRIS                         DRITAN NEZA                               DRIVE MEDICAL DESIGN
10201 S. MAIN STREET                  C/O MORGAN LEVINE DOLAN P.C.              99 SEAVIEW BLVD
HOUSTON, TX 77025                     ATTN: JARED LEVINE                        PORT WASHINGTON, NY 11050
                                      11 BROADWAY, SUITE 615
                                      NEW YORK, NY 10004



DRIVING JACKS                         DROGA5 LLC                                DROGA5 STUDIOS LLC
ATTN: DRIVING JACKS 5K COMMITTEE      120 WALL ST 11TH FLOOR                    DBA SECOND CHILD
SFA STATION BOX 13029                 NEW YORK, NY 10005                        120 WALL ST 2ND FLOOR
NACOGDOCHES, TX 75962                                                           NEW YORK, NY 10005




DRONZJIAH MATTHEWS                    DRU JONES                                 DRUMMOND & DRUMMOND, LLP
10201 S. MAIN STREET                  10201 S. MAIN STREET                      ATTN: PAUL PECK, ESQ.
HOUSTON, TX 77025                     HOUSTON, TX 77025                         ONE MONUMENT WAY
                                                                                PORTLAND, ME 04101




DRURY DISPLAYS INC DBA DDI MEDIA      DS INVESTMENT OLIVE BRANCH LLC            DS LONE TREE PLAZA, LLC
8315 DRURY INDUSTRIAL PKWY            NORTH POINT PROPERTIES LLC                200 EAST BAKER STREET, SUITE 100
SAINT LOUIS, MO 63114                 4510 OVERBROOK WAY                        ATTN: MR. JACK STEINHAUER
                                      CUMMING, GA 30041                         COSTA MESA, CA 92626




DS LONE TREE PLAZA, LLC               DS SERVICES OF AMERICA                    DS TOWN & COUNTRY LLC
ATTN: MR. JACK STEINHAUER             PO BOX 403628                             DBA DS TOWN & COUNTRY VILLAGE LLC
200 EAST BAKER STREET, SUITE 100      ATLANTA, GA 30384-3628                    200 E BAKER ST STE 100
COSTA MESA, CA 92626                                                            COSTA MESA, CA 92626




DS TOWN & COUNTRY VILLAGE LLC         DS TOWN & COUNTRY, LLC                    DS TOWN & COUNTRY, LLC
PO BOX 6157                           C/O DONAHUE SCHRIBER REALTY GROUP,        C/O DONAHUE SCHRIBER
HICKSVILLE, NY 11802-6157             LP                                        3501 DEL PASO ROAD, 100
                                      200 EAST BAKER STREET, SUITE 100          SACRAMENTO, CA 95835
                                      ATTN: ASSET MANAGEMENT
                                      COSTA MESA, CA 92626


DS VILLAGE OAKS LP                    DS VILLAGE OAKS LP                        DS VILLAGE OAKS, LP
200 E BAKER ST E                      PO BOX 6157                               C/O DONAHUE SCHRIBER REALTY GROUP,
COSTA MESA, CA 92626                  HICKSVILLE, NY 11802-6157                 LP
                                                                                200 EAST BAKER STREET, SUITE 100
                                                                                ATTN: ASSET MANAGEMENT
                                                                                COSTA MESA, CA 92626


DSEAN BAKER                           DSHS                                      DSI LOGISTICS INC
10201 S. MAIN STREET                  CASH RECEIPTS BRANCH                      595 TAMARACK AVE UNIT D
HOUSTON, TX 77025                     MC 2003 P O BOX 149347                    BREA, CA 92821
                                      AUSTIN, TX 78714-9347




DSL TRUCKING LLC                      DSM COMMERCIAL REAL ESTATE SERVICES       DSM REALTY
30 NUTMEG LN APT 304                  910 SOUTH CHAPEL STREET, SUITE 100        875 EAST ST
EAST HARTFORD, CT 06118               NEWARK, DE 19713                          TEWKSBURY, MA 01876
DSM REALTY              Case 18-12241-CSS      DocTREE
                                       DSRG - LONE 26 PLAZA
                                                       FiledCORP
                                                             10/05/18        PageDSRG
                                                                                  547LPof- COUNTRYSIDE
                                                                                           1739        MARKETPLACE
875 EAST STREET                         P.O. BOX 6157                            C/O DONAHUE SCHRIBER REALTY GROUP,
TEWKSBURY, MA 01876                     HICKSVILLE, NY 11802-6157                LP
                                                                                 200 EAST BAKER STREET, SUITE 100
                                                                                 ATTN: ASSET MANAGEMENT
                                                                                 COSTA MESA, CA 92626


DSRG-LAGUNA CROSSROADS LP DBA           DSRG-NATOMAS MARKETPLACE CORP            DTC GP LLC
DONAHUE SCHRIBER REALTY GRP LP          PO BOX 6157                              2808 FAIRMONT ST STE 100
PO BOX 6157                             HICKSVILLE, NY 11802-6157                DALLAS, TX 75201
HICKSVILLE, NY 11802-6157




DTD DEVCO 8W, LLC                       DTD-DEVCO 8W LLC                         DTE ENERGY
C/O DESERT TROON COMPANIES              21020 N PIMA RD                          414 S MAIN ST
7669 E. PINNACLE PEAK RD, STE 250       SCOTTSDALE, AZ 85255-6617                STE 200
SCOTTSDALE, AZ 85255                                                             ANN ARBOR, MI 48104




DTE ENERGY                              DTH PUBLISHING CORP                      DTL-SGW LLC
PO BOX 740786                           DBA THE DAILY TAR HEEL                   C/O TROON MGMT CO
CINCINNATI, OH 45274-0786               151 E ROSEMARY ST                        7669 E PINNACLE PEAK RD STE 250
                                        CHAPEL HILL, NC 27514                    SCOTTSDALE, AZ 85255-3222




DTL-SGW, LLC & DTR1C-SGW, LLC           DTR1C-SGW, LLC                           DTZ CORPORATE SERVICES
C/O TROON MANAGEMENT COMPANY            C/O TROON MANAGEMENT COMPANY             55 WESTPORT PLAZA STE 600
7669 PINNACLE PEAK ROAD, SUITE 250      7669 PINNACLE PEAK ROAD, SUITE 250       SAINT LOUIS, MO 63146
SCOTTSDALE, AZ 85255                    SCOTTSDALE, AZ 85255




DU PAGE COUNTY COLLECTOR                DUAINE CHENEY-EVERETT                    DUAL CAROLINAS OF RALEIGH
PO BOX 4203                             10201 S. MAIN STREET                     ATTN: CAROL SCHAFER
CAROL STREAM, IL 60197-4203             HOUSTON, TX 77025                        209 DAVID DRIVE
                                                                                 LADSON, SC 29456




DUANE A WATSON REVOCABLE TRUST          DUANE C FELTON                           DUANE CRESSE
PO BOX 54-1707                          ATTORNEY FOR CARL NAPOLITANO             10201 S. MAIN STREET
MERRITT ISLAND, FL 32954                805 CASTLETON                            HOUSTON, TX 77025
                                        STATEN ISLAND, NY 10310




DUANE DAVIS                             DUANE EASTWOOD                           DUANE ELLER
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DUANE GEE                               DUANE GLENN                              DUANE GOWINS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




DUANE GRUMMER                           DUANE HUMPHREY HUMPHREY                  DUANE MCGOWAN
82 BLACKHAWK CLUB CT                    10201 S. MAIN STREET                     10201 S. MAIN STREET
DANVILLE, CA 94506                      HOUSTON, TX 77025                        HOUSTON, TX 77025
DUANE MORRIS LLP        Case 18-12241-CSS     Doc 26
                                       DUANE REALTY       Filed 10/05/18
                                                      & DEVELOPMENT LLC     PageDUBLIN
                                                                                 548 of  1739HERALD
                                                                                       COURIER
PAYMENT PROCESSING 30 S 17TH ST        PO BOX 22249                             PO DRAWER B CSS
PHILADELPHIA, PA 19103-4196            LOUISVILLE, KY 40252-2249                DUBLIN, GA 31040




DUCKS ROOFING CO INC                   DUDLEY PIGG                              DUERR, BOBBY
403 HANBURY AVE                        10201 S. MAIN STREET                     1533 TENNESSEE WALKER DR
PORTSMOUTH, VA 23702                   HOUSTON, TX 77025                        ROSWELL, GA 30075-3172




DUGGAN SHADWICK DOERR & KURLBAUM       DUJARRIC, JULIA                          DUKE 3070, LLC
LLC                                    5723 BERGENLINE AVE                      C/O COMMERCIAL REALTY MANAGEMENT,
ATTN: JAY SHADWICK                     WEST NEW YORK, NJ 70931-216              LLC
11040 OAKMONT STREET                                                            11421 CRONHILL DRIVE, SUITE G
OVERLAND PARK, KS 66210                                                         OWINGS MILLS, MD 21117



DUKE CONSTRUCTION LP                   DUKE ENERGY PROGRESS                     DUKE ENERGY PROGRESS
75 REMITTANCE DR STE 3230              ATTN LYNN COLOMBO                        PO BOX 1003
CHICAGO, IL 60675-3230                 550 S TRYON ST, DEC45A                   CHARLOTTE, NC 28201
                                       CHARLOTTE, NC 28202




DUKE ENERGY                            DUKE ENERGY                              DUKE ENERGY
ATTN LYNN COLOMBO                      P.O. BOX 1326                            P.O. BOX 70516
550 S TRYON ST, DEC45A                 CHARLOTTE, NC 28201-1326                 CHARLOTTE, NC 28272-0516
CHARLOTTE, NC 28202




DUKE ENERGY                            DUKE ENERGY                              DUKE REALTY CORPORATION
P.O. BOX 9001084                       PO BOX 1004                              1301 W. 22ND STREET, SUITE 800
LOUISVILLE, KY 40290-1084              CHARLOTTE, NC 28201-1004                 OAK BROOK, IL 60523




DUKE REALTY LIMITED PARTNERSHIP        DUKE REALTY LIMITED PARTNERSHIP          DUKE REALTY LP
ATTN: FCP002                           C/O DUKE REALTY CORPORATION              DUKE REALTY CORP
75 REMITTANCE DR STE 3205              3005 CARRINGTON MILL BLVD, STE 100       75 REMITTANCE DR STE 3205
CHICAGO, IL 60675-3205                 ATTN: RALEIGH MARKET - VP                CHICAGO, IL 60675-3205
                                       MORRISVILLE, NC 27650



DUKE SCANLAN & HALL PLLC               DUKE SCANLAN & HALL PLLC                 DUKE SECURED FINANCIGN 2009 - UNM, LLC
1087 W RIVER ST STE 300                PO BOX 7387                              C/O DUKE REALTY CORPORATION
BOISE, ID 83702                        BOISE, ID 83707                          1301 W. 22ND STREET, SUITE 800
                                                                                ATTN: MINNEAPOLIS MARKET - VP
                                                                                OAK BROOK, IL 60523



DUKE SECURED FINANCING 2009-UNM LLC    DULANY ANNING                            DULLES 28 CENTRE RETAIL GROUP LLC
DUKE REALTY CORPORATION                905 ROOKWOOD DR                          22000 DULLES RETAIL PLAZA
75 REMITTANCE DRIVE STE 1194           CINCINNATI, OH 45208                     DULLES, VA 20166
CHICAGO, IL 60675-1194




DULLES 28 CENTRE RETAIL GROUP, LLC     DUNCAN BLACK & ASSOCIATES, PLC           DUNCAN LEARY
C/O LERNER CORPORATION                 ATTN: DUNCAN M. BLACK, ESQ.              10201 S. MAIN STREET
2000 TOWER OAKS BOULEVARD, 8TH FLOOR   8229 BOONE BOULEVARD, SUITE 630          HOUSTON, TX 77025
ATTN: LEGAL DEPARTMENT                 VIENNA, VA 22182
ROCKVILLE, MD 20852
DUNCAN MWC, LLC         Case   18-12241-CSS
                                         DUNCANDoc
                                               MWC,26
                                                   LLC Filed 10/05/18            PageDUNCAN
                                                                                      549 ofWALTER
                                                                                             1739
100 PARK AVENUE, SUITE 1200              ATTN: DENNIS C. DAN                         10201 S. MAIN STREET
ATTN: DENNIS C. DAN                      100 PARK AVENUE, SUITE 1200                 HOUSTON, TX 77025
OKLAHOMA CITY, OK 73102                  OKLAHOMA CITY, OK 73102




DUNCAN, KEVIN                            DUNHAM ROAD LP                              DUNHILL PROPERTY MGMT SERVICES, INC.
P.O. BOX 1611                            ATTN: LAURIE MOLYNEAUX                      ATTN: JULIE DAVIS
JULIAN, CA 92036-2479                    45 DUNHAM RD                                1661 EL MONTE VISTA AVENUE, Q-107
                                         BILLERICA, MA 01824                         VACAVILLE, CA 95688




DUNHILL PROPERTY MGMT SERVICES, INC.     DUNHILL PROPERTY MGMT SERVICES, INC.        DUNK & BRIGHT FURN CO INC
C/O CANYON CROSSING                      JENNIFER BEHLMER                            2648 S SALINA ST
13920 CITY CENTER DRIVEM SUITE 200       3100 MONTICELLO AVENUE, SUITE 300           SYRACUSE, NY 13205
PATRICIA PRINGGOSUSANTO                  DALLAS, TX 75205
CHINO HILLS, CA 91790



DUNK & BRIGHT WAREHOUSE                  DUNN DEVELOPMENT CO.                        DUNN DEVELOPMENT COMPANY
4530 STEELWAY BLVD S                     5711 N. WEST AVE.                           5711 N. WEST AVENUE
LIVERPOOL, NY 13090                      FRESNO, CA 93711-2366                       ATTN: GARY S. DUNN
                                                                                     FRESNO, CA 93711




DUNN DEVELOPMENT COMPANY                 DUNN NOBLE PALMER, LLC                      DUNN, WILLIAM AS EXECUTOR TO ESTATE
ATTN: GARY S. DUNN                       1665 VALLEY CENTER PARKWAY, SUITE 110       OF HELEN DUNN
5711 N. WEST AVENUE                      BETHLEHEM, PA 18017                         C/O KOMIE & MORROW LLP
FRESNO, CA 93711                                                                     ATTN: CHRISTOPHER MORROW
                                                                                     7703 NORTH LAMAR BLVD., SUITE 410
                                                                                     AUSTIN, TX 78752


DUNNS MILL ROAD RETAIL, LLC              DUNNS MILL ROAD RETAIL, LLC                 DUPAGE COUNTY PUBLIC WORKS
C/O GOODMAN PROPERTIES, INC.             C/O STARWOOD PROPERTY TRUST                 ATTN FREDERIC BACKFIELD
636 OLD YORK ROAD, 2ND FLOOR             1601 WASHINGTON STREET, SUITE 700           421 N COUNTY FARM RD
ATTN: BRUCE A. GOODMAN                   ATTN: LEGAL DEPARTMENT                      WHEATON, IL 60187
JENKINTOWN, PA 19046                     MIAMI BEACH, FL 33139



DUPAGE COUNTY PUBLIC WORKS               DUPONT, RACHEL                              DUQUE TRANSPORTATION
P.O. BOX 4751                            6806 S SONORAN BLOOM AVE                    3364 CLEAN WATER DR
CAROL STREAM, IL 60197-4751              TUCSON, AZ 85756-3039                       HAMILTON, OH 45011




DUQUESNE LIGHT CO                        DUQUESNE LIGHT CO                           DUQUESNE LIGHT COMPANY
411 7TH AVE                              C/O BERNSTEIN-BURKLEY PC                    PAYMENT PROCESSING CENTER
PITTSBURGH, PA 15219                     707 GRANT ST, STE 2200, GULF TOWER          PO BOX 10
                                         PITTSBURGH, PA 15219                        PITTSBURGH, PA 15230-0010




DURBIN PARK PAVILION, LLC                DURHAM COUNTY TAX COLLECTOR                 DURHAM
C/O GATLIN DEVELOPMENT COMPANY           P.O. BOX 30090                              ATTN: PROPERTY TAX DEPT.
1301 RIVERPLACE BLVD., SUITE 1900        DURHAM, NC 27702-3090                       101 CITY HALL PLAZA
ATTN: LEGAL DEPARTMENT                                                               DURHAM, NC 27701
JACKSONVILLE, FL 32207



DURHMAN & BASSETT REALTY GROUP, INC.     DURO-LAST ROOFING INC                       DURWARD MARKS
ATTN: FRED POLANSKY                      525 MORLEY DR                               10201 S. MAIN STREET
100 E. ANDERSON LANE, SUITE 200          SAGINAW, MI 48601                           HOUSTON, TX 77025
AUSTIN, TX 78752
DUSTAN HIATT            Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                       DUSTIN ALEXANDER               PageDUSTIN
                                                                           550 of  1739
                                                                                 BOEHM
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DUSTIN BRYAN                           DUSTIN CANNON                      DUSTIN DOWNS
10201 S. MAIN STREET                   1213 PITCAIRN DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                      PFLUGERVILLE, TX 78660             HOUSTON, TX 77025




DUSTIN FRANK                           DUSTIN G LATTA                     DUSTIN GORDON
PO BOX 585                                                                10201 S. MAIN STREET
BIG LAKE, MN 55309                                                        HOUSTON, TX 77025




DUSTIN HANSEN                          DUSTIN ISHAM                       DUSTIN JAMES
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DUSTIN JONES                           DUSTIN LATTA                       DUSTIN LONG
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DUSTIN LUNDBERG                        DUSTIN MEDILUS                     DUSTIN MOSS
10201 S. MAIN STREET                   3724 GALLOWTREE AVE                10201 S. MAIN STREET
HOUSTON, TX 77025                      NORTH LAS VEGAS, NV 89081          HOUSTON, TX 77025




DUSTIN NELSON                          DUSTIN NEWTON                      DUSTIN POWLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DUSTIN R GREENMAN                      DUSTIN RODGERS                     DUSTIN SCHRAEDER
733 8TH AVE                            10201 S. MAIN STREET               10201 S. MAIN STREET
SAUK RAPIDS, MN 56379                  HOUSTON, TX 77025                  HOUSTON, TX 77025




DUSTIN SHIFFLETT                       DUSTIN SIMS                        DUSTIN SNAPP
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




DUSTIN STALOCH                         DUSTIN TAYLOR                      DUSTIN UPHOFF
1302 JANDRAS LN SE                     10201 S. MAIN STREET
ATLANTA, GA 30316                      HOUSTON, TX 77025
DUSTIN VANGARVEN         Case 18-12241-CSS     Doc 26
                                        DUSTIN WEAVER      Filed 10/05/18   PageDUSTIN
                                                                                 551 of  1739
                                                                                       WHITSITT
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DUSTIN WILLIS                           DUSTIN WILSON                           DUSTIN WRIGHT
10201 S. MAIN STREET                    3202 GLENLOCH PLACE                     10201 S. MAIN STREET
HOUSTON, TX 77025                       LAWRENCEVILLE, GA 30044                 HOUSTON, TX 77025




DUSTIN WRIGHT                           DUSTY JORGE                             DUVAL COUNTY TAX COLLECTOR
10201 S. MAIN STREET                    10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       HOUSTON, TX 77025                       231 E. FORSYTH ST ROOM 130
                                                                                JACKSONVILLE, FL 32202-3370




DUVALL & FALL, P.C.                     DUWEST REALTY                           DVA ASSOCIATES, LLC
ATTN: LESA C. DUVALL                    4403 N. CENTRAL EXPRESSWAY 110          401 WESTPORT AVE
4911 EAST 56TH STREET                   DALLAS, TX 75205                        ATTN: DAVID AITORO
INDIANAPOLIS, IN 46220                                                          NORWALK, CT 06851




DVA ASSOCIATES, LLC                     DVW PROPERTIES LLC                      DVW PROPERTIES, LLC
ATTN: DAVID AITORO                      C/O SATUS GROUP LLC                     C/O SATUS GROUP, LLC
401 WESTPORT AVE                        202 S LAKE AVE STE 300                  202 S. LAKE AVENUE, SUITE 300
NORWALK, CT 06851                       PASADENA, CA 91101                      PASADENA, CA 91101




DW ASSOCIATES LLC                       DWAINE GILREATH                         DWAYNE BRADLEY
C/O TATE PROPERTIES                     10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 1153                             HOUSTON, TX 77025                       HOUSTON, TX 77025
CENTERVILLE, UT 84014




DWAYNE DOWNS                            DWAYNE DYER                             DWAYNE INNES
10201 S. MAIN STREET                    14364 200TH ST                          10201 S. MAIN STREET
HOUSTON, TX 77025                       LITTLE FALLS, MN 56345                  HOUSTON, TX 77025




DWAYNE JAMES                            DWAYNE JAMES                            DWAYNE JONES
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DWAYNE KEY                              DWAYNE LARRY                            DWAYNE MARSH
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




DWAYNE MASON                            DWAYNE MCCRAINE                         DWAYNE PALMER
10201 S. MAIN STREET                    2502 N ROCKY POINT DR STE 890           10201 S. MAIN STREET
HOUSTON, TX 77025                       TAMPA, FL 33607                         HOUSTON, TX 77025
DWAYNE ROBINSON         Case 18-12241-CSS
                                       DWAYNEDoc
                                             WALL26       Filed 10/05/18   PageDWAYNE
                                                                                552 ofWATSON
                                                                                       1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DWAYNE WEAVER                          DWAYNE WORLEY                           DWELL HOME INC
421 E 8TH AVE APT 201                  10201 S. MAIN STREET                    5555 AUTO MALL PKWY
HOMESTEAD, PA 15120                    HOUSTON, TX 77025                       FREMONT, CA 94538




DWIGHT BAKER                           DWIGHT DAVIS                            DWIGHT DUNNING
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DWIGHT FANTROY                         DWIGHT OWENS                            DWIGHT OWENS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DWULET AND DWULET GP & RONALD P.       DWULET AND DWULET GP & RONALD P.        DX MSO PLLC DBA AFC URGENT CARE
ELVIDGE, ET AL HOLIDAY GALLERIA        ELVIDGE, ET AL HOLIDAY GALLERIA         1025 PEERLESS XING NW
C/O HOLIDAY GALLERIA                   C/O HOLIDAY GALLERIA                    CLEVELAND, TN 37312-3764
1343 LOCUST STREET, #206               1343 LOCUST STREET, 206
WALNUT CREEK, CA 94596                 WALNUT CREEK, CA 94596



DYANIESIA DESHAY                       DYLAN AYRES                             DYLAN BAILEY
805 PARKVIEW DR                        10201 S. MAIN STREET                    10201 S. MAIN STREET
MACON, GA 31211                        HOUSTON, TX 77025                       HOUSTON, TX 77025




DYLAN BAKER                            DYLAN BASTIAN                           DYLAN BROSNAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DYLAN CROCKER                          DYLAN EDDY                              DYLAN FERGUSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    110 SUNSET TRAIL
HOUSTON, TX 77025                      HOUSTON, TX 77025                       COLLEGE STATION, TX 77840




DYLAN GENTLE                           DYLAN GILBERT                           DYLAN HALES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DYLAN HINES                            DYLAN HINES                             DYLAN HUGHES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    256 CLAYTON AVE APT A
HOUSTON, TX 77025                      HOUSTON, TX 77025                       ASHEVILLE, NC 28806
DYLAN JACKSON           Case 18-12241-CSS     Doc 26
                                       DYLAN KARELL       Filed 10/05/18   PageDYLAN
                                                                                553 LAING
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DYLAN MAYS                             DYLAN MEGGS                             DYLAN PARKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DYLAN PORTH                            DYLAN POWELL                            DYLAN PUTT
1630 S 56TH ST                         2107 JUNIPER DALE DRIVE                 10201 S. MAIN STREET
MILWAUKEE, WI 53214                    ROSENBERG, TX 77471                     HOUSTON, TX 77025




DYLAN SPLITTSTOESSER                   DYLAN WAYBRIGHT                         DYLAN WRIGHT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




DYLON WILLIAMS                         DYMOND THURMOND                         DYNAMIC APPLET TECHNOLOGIES, LLC
705 18TH CIRCLE                        11150 BENTLEY TRACE LN                  C/O DEVLIN LAW FIRM LLC
GREENWOOD, MO 64034                    JACKSONVILLE, FL 32257                  ATTN: ROBERT KIDDIE
                                                                               1306 N. BROOM ST., 1ST FLOOR
                                                                               WILMINGTON, DE 19806



DYNAMIC COMMUNITIES INC                DYNAMIC DOOR SERVICE LLC                DYNAMIC LOGIC
PO BOX 100453                          515 E. CAREFREE HWY                     PO BOX 7247-7413
ATLANTA, GA 30353-0453                 PO BOX 197                              PHILADELPHIA, PA 19170-7413
                                       PHOENIX, AZ 85085




DYNAMIC MEDIA                          DYNAMITE DECORATORS INC                 DYNEGY ENERGY SERVICES
38283 MOUND RD                         DBA ESTEX HOME FASHIONS                 27679 NETWORK PLACE
STERLING HEIGHTS, MI 48310             1100 LINWOOD ST                         CHICAGO, IL 60673
                                       BROOKLYN, NY 11208




DYNEGY ENERGY SERVICES                 DYTRA WALTON                            DYWALLA WILLIAMS
6555 SIERRA DR                         10201 S. MAIN STREET                    10201 S. MAIN STREET
IRVING, TX 75039                       HOUSTON, TX 77025                       HOUSTON, TX 77025




E & M MANAGEMENT LLC                   E & R INTERPRISE LLC                    E GADGET GROUP INC
1107 HAZELTINE BLVD STE 340            DBA HERCULES DELIVERY SERVICE           DBA INITIAL LAB
CHASKA, MN 55318                       2400 W 8TH LANE A                       19635 E WALNUT DR N
                                       HIALEAH, FL 33010                       CITY OF INDUSTRY, CA 91748




E HOLDINGS LTD                         E RETAIL BUSINESS SOLUTIONS, INC        E S KLUFT & CO EAST LLC
C/O HAKIMIAN HOLDINGS INC.             5173 WARING RD STE 122                  AIRLOOM EAST
ATTN: JACK BARNARD                     SAN DIEGO, CA 92120                     11096 JERSEY BLVD 101
P.O. BOX 56678                                                                 RANCHO CUCAMONGA, CA 18202
JACKSONVILLE, FL 32241
E&A NORTHEAST LP        Case 18-12241-CSS    Doc 26LP Filed 10/05/18
                                       E&A NORTHEAST                     PageE&A
                                                                              554  of 1739LP
                                                                                 NORTHEAST
21 DISTRICT AVE                        C/O EDENS LIMITED PARTNERSHIP         DEPARTMENT 2141
DORCHESTER, MA 02125                   1221 MAIN STREET, SUITE 1000          PO BOX 842724
                                       ATTN: LEGAL DEPARTMENT                BOSTON, MA 02284-2724
                                       COLUMBIA, SC 29201



E&A/I&G SANDHILL PLAZA LIMITED         E.C.C. PROPERTIES, LLC                E.H. CAMP, III, ESQ.
PARTNERSHIP                            C/O HUNINGTON PROPERTIES, INC.        3841 GREEN HILLS VILLAGE DRIVE, SUITE
C/O EDENS LIMITED PARTNERSHIP          3773 RICHMOND AVENUE, SUITE 800       400
1221 MAIN STREET, SUITE 1000           ATTN: ANNA NOLASCO                    NASHVILLE, TN 37215
ATTN: LEGAL DEPARTMENT                 HOUSTON, TX 77046
COLUMBIA, SC 29201


E.M. INVESTMENTS LLC                   E-470 PUBLIC HIGHWAY AUTHORITY        EADESIGNS UNLIMITED
CBRE AS AGENT                          P.O. BOX 5470                         5808 S MEADOW
8500 KEYSTONE CROSSING 170             DENVER, CO 80217                      PASADENA, TX 77505
INDIANAPOLIS, IN 46240




EAGLE 2002 LLC                         EAGLE AVL                             EAGLE BANK CORP
MEREDITHS COMMERCIAL PROPERTIES        2701 E LOOP 820 S                     8245 BOONE BLVD STE 100
2309 E EMPIRE ST STE 600               FORT WORTH, TX 76119                  VIENNA, VA 22182
BLOOMINGTON, IL 61704




EAGLE COUNTY TREASURER                 EAGLE CROSSROADS CENTER LLC           EAGLE DISPOSAL INC.
PO BOX 479                             PO BOX 31001-1906                     21107 OMEGA CIRCLE
EAGLE, CO 81631                        PASADENA, CA 91110-1906               FRANKSVILLE, WI 53126




EAGLE EQUIPMENT SERVICE 1 CORP         EAGLE EYE CONSTRUCTION CO INC         EAGLE EYE CONSTRUCTION CO., INC.
PO BOX 422917                          GREG ISER                             8945 STUENKEL ROAD
KISSIMMEE, FL 34742                    8945 STUENKEL RD                      ATTN: GREGORY ISER
                                       FRANKFORT, IL 60423                   FRANKFORT, IL 60423




EAGLE FIRE & ELECTRIC                  EAGLE FL VISPE LLC                    EAGLE HERALD PUBLISHING LLC
308 PHILLIP RD                         C/O DYKES EVERETT & CO                1809 DUNLAP AVE
OXFORD, MS 38655                       822 W CENTRAL BLVD                    MARINETTE, WI 54143
                                       ORLANDO, FL 32805




EAGLE LEASING COMPANY                  EAGLE PLAZA ASSOCIATES LLC            EAGLE ROCK SANITATION
PO BOX 923                             234 N. JAMES ST                       1305 E IONA RD
ORANGE, CT 06477-0923                  WILMINGTON, DE 19804                  IDAHO FALLS, ID 83401




EAGLE ROCK SANITATION                  EAGLE                                 EAGLEHERALD PUBLISHING
PO BOX 50405                           ATTN: PROPERTY TAX DEPT.              1809 DUNLAP AVE
IDAHO FALLS, ID 83405                  PO BOX 479                            PO BOX 77
                                       EAGLE, CO 81631                       MARINETTE, WI 54143




EAGLE-N R HILLS LP                     EAGLES ROOFING INC                    EAHU
5430 LBJ FREEWAY 1575                  1427 NW126TH DR                       4370 PEACHTREE RD NE STE 400
DALLAS, TX 75240                       CORAL SPRINGS, FL 33071               ATLANTA, GA 30319
EAN SERVICES           Case 18-12241-CSS     Doc
                                      EAP GLASS   26 Filed
                                                SERVICE LLC 10/05/18         PageEARL
                                                                                  555CHANEY
                                                                                      of 1739
PO BOX 402383                                                                    10201 S. MAIN STREET
ATLANTA, GA 30384                                                                HOUSTON, TX 77025




EARL CONWAY                            EARL GODHIGH                              EARL GREGORY
10201 S. MAIN STREET                   10201 S. MAIN STREET                      DBA PERFORMANCE EQUIPMENT
HOUSTON, TX 77025                      HOUSTON, TX 77025                         5131 SHARP ST
                                                                                 DALLAS, TX 75247




EARL HAMPTON                           EARL MEYER                                EARL PERTNOY 141 ST SHOPPING CENTER
10201 S. MAIN STREET                   10201 S. MAIN STREET                      14115 S DIXIE HWY STE L
HOUSTON, TX 77025                      HOUSTON, TX 77025                         MIAMI, FL 33176




EARL SPRIGGS                           EARL SUGARS                               EARL WHIDBEE
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




EARL WILLIAMS                          EARL WILT                                 EARL WOODS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




EARTH RESOURCES INC                    EARTHLINK BUSINESS                        EARTHLINK BUSINESS
PO BOX 410                             P.O. BOX 2252                             PO BOX 88104
KITTY HAWK, NC 27949                   BIRMINGHAM, AL 35246-1058                 CHICAGO, IL 60680-1104




EARTHLINK                              EARTHLINK                                 EARTHLINK
1439 PEACHTREE ST                      C/O RMS BANKRUPTCY RECOVERY               P.O. BOX 2252
ATLANTA, GA 30309                      SERVICES                                  BIRMINGHAM, AL 35246-1058
                                       PO BOX 5126
                                       TIMONIUM, MD 21094



EARTHLINK                              EASLEY COMBINED UTILITIES                 EASLEY COMBINED UTILITIES
P.O. BOX 78364                         110 PEACHTREE ST                          PO BOX 619
ATLANTA, GA 30357                      PO BOX 619                                EASLEY, SC 29641
                                       EASLEY, SC 29641




EASLEY COMBINED UTILITIES              EASLEY FD ASSOCIATES LLC                  EAST BAY BRIDGE RETAIL REIT
PO BOX 619                             1765 MERRIMAN RD                          FEDERAL REALTY INV TRUST
EASLEY, SC 29641-0619                  AKRON, OH 44313                           PO BOX 79408
                                                                                 CITY OF INDUSTRY, CA 91716-9408




EAST BAY BRIDGE RETAIL, LLC            EAST BAY BRIDGE RETAIL, LLC               EAST BAY MUNICIPAL UTILITY DISTRICT
C/O FEDERAL REALTY INVESTMENT TRUST    C/O FEDERAL REALTY INVESTMENT TRUST       PO BOX 1000
1626 EAST JEFFERSON STREET             P.O. BOX 79408                            OAKLAND, CA 94649
ATTN: LEGAL DEPARTMENT                 RE: FEDERAL REALTY - WESTGATE MALL
ROCKVILLE, MD 20852-4041               ROCKVILLE, MD 20852-4041
EAST BAY PROPANE          Case 18-12241-CSS     Doc 26 TUCSON
                                         EAST BROADWAY   FiledCO
                                                               10/05/18
                                                                 LLC           PageEAST
                                                                                    556BROADWAY
                                                                                        of 1739 TUCSON CO. LLC
8255 SAN LEANDRO ST                       C/O BENENSON CAPITAL PARTNERS, LLC       C/O BENENSON CAPITAL PARTNERS, LLC
OAKLAND, CA 94621                         708 THIRD AVE, 28TH FLOOR                708 THIRD AVE, 28TH FLOOR
                                          NEW YORK, NY 10017                       NEW YORK, NY 10017




EAST BROOK F LLC                          EAST BROOK F LLC                         EAST BROOK F LLC
147 WALLABOUT STREET                      C/O EAST BROOK MALL - MANAGEMENT         C/O QUALITY MANAGEMENT
BROOKLYN, NY 11206-5417                   OFFICE                                   147 WALLABOUT STREET
                                          95 STORRS ROAD                           ATTN: THOMAS KLEIN
                                          WILLIAMANTIC, CT 06226                   BROOKLYN, NY 11206



EAST BRUNSWICK BUREAU OF FIRE             EAST BRUNSWICK TWP WATER SEWER           EAST BRUNSWICK TWP WATER SEWER
PREVENTION                                EAST BRUNSWICK MUNICIPAL CUILDING        P.O. BOX 1081
FIRE DISTRICT NO. 2                       1 JEAN WALLING CIVIC CENTER DR           EAST BRUNSWICK, NJ 08816-1081
216 JOSEPH ST                             EAST BRUNSWICK, NJ 08816
EAST BRUNSWICK, NJ 08816



EAST CALN TOWNSHIP - SEWER ACCT           EAST CALN TOWNSHIP-SEWER ACCT            EAST CALN TOWNSHIP-SEWER ACCT
C/O DNB FIRST                             110 BELL TAVERN RD                       P.O. BOX 1004
PO BOX 1004                               DOWNINGTOWN, PA 19335                    DOWNINGTOWN, PA 19335
DOWNINGTOWN, PA 19335




EAST CENTRAL ENERGY                       EAST CENTRAL ENERGY                      EAST COAST CONSUMER SHOWS
412 MAIN AVE N                            PO BOX 39                                200 WILSON ST.
BRAHAM, MN 55006                          BRAHAM, MN 55006-0039                    PORT JEFFERSON STA, NY 11776




EAST COAST NEWPAPER DBA THE HERALD        EAST COAST PAPER                         EAST DOWNTOWN SPE LLC
PO BOX 3024                               5035 NOVA AVE                            COMMERCE REAL ESTATE
LIVONIA, MI 48151                         ROCKLEDGE, FL 32955                      PO BOX 413139
                                                                                   SALT LAKE CITY, UT 84141-3139




EAST END ASSOCIATES LLC                   EAST END ASSOCIATES LLC                  EAST END ASSOCIATES, LLC
C/O STAHL REAL ESTATE                     C/O STAHL REAL ESTATE                    277 PARK AVENUE, SUITE 4700
277 PARK AVENUE, SUITE 4700               277 PARK AVENUE, SUITE 4700              NEW YORK, NY 10172
NEW YORK, NY 10172                        NEW YORK, NY 10172




EAST END ASSOCIATES, LLC                  EAST GROUP PROPERTIES, LP                EAST GROUP PROPERTIES, LP
C/O STAHL REAL ESTATE                     190 E CAPITOL ST STE 400                 C/O EAST COAST LOCKBOX
277 PARK AVENUE, SUITE 4700               JACKSON, MS 39201                        P.O. BOX 534563
NEW YORK, NY 10172                                                                 ATLANTA, GA 30353-4563




EAST GROUP PROPERTIES, LP                 EAST HAVEN                               EAST LIBERTY STATION ASSOCIATES
P.O. BOX 676488                           ATTN: PROPERTY TAX DEPT.                 5907 PENN AVE
DALLAS, TX 75267                          PO BOX 120306                            STE 314
                                          EAST HAVEN, CT 06512-0306                PITTSBURGH, PA 15206




EAST LIBERTY STATION ASSOCIATES           EAST LIBERTY STATION ASSOCIATES          EAST LONGMEADOW CENTER VILLAGE, LLP
600 GRANT STREET, 44TH STREET             PO BOX 2166                              40 ISLAND POND ROAD
PITTSBURGH, PA 15219                      PITTSBURGH, PA 15230                     ATTN: ROCCO FALCONE
                                                                                   SPRINGFIELD, MA 01118-1027
EAST LONGMEADOW CENTER  Case   18-12241-CSS
                           VILLAGE, LLP         Doc 26 Filed 10/05/18
                                         EAST LONGMEADOW                       PageEAST
                                                                                    557LYME
                                                                                         of 1739
                                                                                             TAX COLLECTOR
ATTN: ROCCO FALCONE                      ATTN: PROPERTY TAX DEPT.                  PO BOX 150488
40 ISLAND POND ROAD                      PO BOX 4826                               HARTFORD, CT 06115-0488
SPRINGFIELD, MA 01118-1027               SPRINGFIELD, MA 01101-4826




EAST LYME                             EAST PARK 78, LLC                            EAST RICHLAND COUNTY PSD
ATTN: PROPERTY TAX DEPT.              ATTN: PHYLLIS WILLIAMS                       704 ROSS RD
PO BOX 150488                         P.O. BOX 15518                               COLUMBIA, SC 29223
HARTFORD, CT 06115-0488               ATLANTA, GA 30333




EAST RICHLAND COUNTY PSD              EAST SUNRISE CORP                            EAST SUNRISE CORP
PO BOX 63051                          P.O. BOX 90                                  PO BOX 90
CHARLOTTE, NC 28263-3051              ROSLYN HEIGHTS, NY 11577                     ROSLYN HEIGHTS, NY 11577




EAST TEXAS ALARM                      EAST TEXAS DELIVERY PRO LLC                  EAST TEXAS POST PRODUCTIONS LLC
315 S VINE                            5280 FM850 EAST                              DBA BROADWAY DIGITAL
TYLER, TX 75702                       OVERTON, TX 75684                            PO BOX 8227
                                                                                   TYLER, TX 75711




EAST TEXAS STATE FAIR                 EAST TEXAS TURFCARE LLC                      EAST WEST COMMONS LLC
2112 WEST FRONT ST                    113 EDGEWOOD LONGVIEW                        C/O BARNHART GUESS PROPERTIES LLC
TYLER, TX 75702                       LONGVIEW, TX 75604                           1117 PERIMETER CTR W STE N316
                                                                                   ATLANTA, GA 30338




EAST WINDSOR MUA                      EAST WINDSOR TOWNSHIP                        EAST WINDSOR
7 WILTSHIRE DRIVE                     BUREAU OF FIRE PREVENTION                    ATTN: PROPERTY TAX DEPT.
EAST WINDSOR, NJ 08520-1248           OFFICE OF THE FIRE OFFICIAL 16 LANNING       11 RYE STREET
                                      BLVD                                         BROAD BROOK, CT 06016
                                      EAST WINDSOR, NJ 08520



EASTBOROUGH PROPERTIES, LP            EASTBOROUGH PROPERTIES, LP                   EASTCHESTER MALL ASSOCIATES LP
3182 CAMPUS DRIVE, SUITE 272          JOHN LOH                                     C/O URSTADT BIDDLE PROPERTIES INC
SAN MATEO, CA 94403                   3182 CAMPUS DR 272                           PO BOX 371328
                                      SAN MATEO, CA 94403                          PITTSBURGH, PA 15250-7328




EASTCHESTER MALL ASSOCIATES LP        EASTCHESTER MALL ASSOICATES LP               EASTERN BANK AS TRUSTEE
C/O KROLL MCNAMARA EVANS DELEHANTY    C/O URSTADT BIDDLE PROPERTIES INC            OF THE ANNA MSCISZ TRUST
LLP                                   PO BOX 371328                                990 PARADISE RD STE 1A
65 MEMORIAL RD, STE 300               PITTSBURGH, PA 15250-7328                    SWAMPSCOTT, MA 01907
WEST HARTFORD, CT 06107



EASTERN BANK AS TRUSTEE               EASTERN BELTWAY LTD                          EASTERN BELTWAY
990 PARADISE RD 1A                    5785 CENTENNIAL CENTER 230                   62958 COLLECTIONS CENTER DR
SWAMPSCOTT, MA 01907                  LAS VEGAS, NV 89149                          CHICAGO, IL 60693




EASTERN FOOD SERVICES INC             EASTERN LIFT TRUCK CO INC                    EASTERN MUNICIPAL WATER DIST
8660 CHERRY LN UNIT 39                PO BOX 307                                   2270 TRUMBLE RD
LAUREL, MD 20707                      MAPLE SHADE, NJ 08052                        PERRIS, CA 92570
EASTERN MUNICIPAL WATERCase
                          DIST   18-12241-CSS    Doc
                                           EASTERN    26CAROLINA
                                                   NORTH  Filed 10/05/18
                                                                 CAREER        PageEASTERN
                                                                                    558 ofSTATES
                                                                                           1739 EXPOSITION
P.O. BOX 845484                            ALLIANCE                                1305 MEMORIAL AVE
LOS ANGELES, CA 90084-5484                 PO BOX 33132                            WEST SPRINGFIELD, MA 01089-3525
                                           RALEIGH, NC 27636-3132




EASTERN WIRE PRODUCTS INC                  EASTEX VENTURE                          EASTEX VENTURE
5301 W 5TH ST                              2600 CITADEL PLAZA DRIVE                ATTN: GENERAL COUNSEL
JACKSONVILLE, FL 32254                     ATTN: GENERAL COUNSEL                   2600 CITADEL PLAZA DRIVE
                                           HOUSTON, TX 77008                       HOUSTON, TX 77008




EASTEX VENTURE                             EASTGATE SHOPPING CENTER                EASTGATE SHOPPING CENTER, INC.
TENANT 125167/COMPANY 45200                C/O JJGUMBERG CO                        C/O JJ GUMBERG CO.
PO BOX 924133                              1051 BRINTON RD                         1051 BRINTON ROAD
HOUSTON, TX 77292-4133                     PITTSBURGH, PA 15221                    PITTSBURGH, PA 15221




EASTGATE                                   EASTGROUP PROPERTIES L.P.               EASTGROUP PROPERTIES LP
15961 COLLECTIONS CENTER DR                P.O. BOX 676488                         190 E CAPITOL ST STE 400
CHICAGO, IL 60693                          DALLAS, TX 75267-6488                   JACKSON, MS 39201




EASTGROUP PROPERTIES LP                    EASTGROUP PROPERTIES LP                 EASTGROUP PROPERTIES LP
EAST COAST LOCKBOX                         EAST GROUP LOCK BOX                     PO BOX 676488
PO BOX 534563                              P O BOX 534563                          DALLAS, TX 75267-6488
ATLANTA, GA 30353-4563                     ATLANTA, GA 30353-4563




EASTGROUP PROPERTIES, L.P.                 EASTGROUP PROPERTIES, L.P.              EASTGROUP PROPERTIES, L.P.
4220 WORLD HOUSTON PARKWAY, SUITE 170      6555 NW 9TH AVENUE, #104                6555 NW 9TH AVENUE, 104
ATTN: ASSET MANAGER                        FORT LAUDERDALE, FL 33309               FORT LAUDERDALE, FL 33309
HOUSTON, TX 77032




EASTGROUP PROPERTIES, L.P.                 EASTGROUP PROPERTIES, L.P.              EASTGROUP PROPERTIES, LLC
7004 BENJAMIN ROAD, SUITE 100              ATTN: ASSET MANAGER                     7004 BENJAMIN ROAD, SUITE 100
TAMPA, FL 33634                            4220 WORLD HOUSTON PARKWAY, SUITE 170   TAMPA, FL 33634
                                           HOUSTON, TX 77032




EASTGROUP PROPERTIES, LLLC                 EASTGROUP PROPERTY SERVICES OF FL       EASTLAKE VILLAGE MARKETPLACE LLC
7004 BENJAMIN ROAD, SUITE 100              LLC                                     SUDBERRY PROP INC
TAMPA, FL 33634                            2966 COMMERCE PARK DR STE 450           5465 MOREHOUSE DR 260
                                           ORLANDO, FL 32819                       SAN DIEGO, CA 92121-4714




EASTLAKE VILLAGE MARKETPLACE, LLC          EASTON SUBURBAN WATER AUTH              EASTON SUBURBAN WATER AUTH
C/O SUDBERRY PROPERTIES, INC.              3700 HARTLEY AVE                        P.O. BOX 3819
5465 MOREHOUSE DRIVE, SUITE 260            PO BOX 3819                             EASTON, PA 18043-3819
SAN DIEGO, CA 92121-4714                   EASTON, PA 18043-3819




EASTON UTILITIES                           EASTON UTILITIES                        EASTSIDE INVESTMENTS LLC
201 N WASHINGTON ST                        P.O. BOX 1189                           LANDMARK COMMERCIAL PROPERTY MNG
EASTON, MD 21601                           EASTON, MD 21601-8923                   156 N EMPORIA
                                                                                   WICHITA, KS 67202
EASTWEST                Case 18-12241-CSS     Doc 26
                                       EASY REST            Filed 10/05/18   PageEATONTOWN
                                                                                  559 of 1739
                                                                                           SEWER AUTHORITY
250 CANAL STREET                        18033 E ALAMO DR                         47 BROAD STREET
LAWRENCE, MA 01840                      CENTENNIAL, CO 80015                     EATONTOWN, NJ 07724




EBADUR RAHMAN                           EBATES PERFORMANCE MARKETING INC         E-BATES SHOPPING COM INC
10201 S. MAIN STREET                    999 PLAZA DR STE 310                     EBATES PERFORMANCE MARKETING INC
HOUSTON, TX 77025                       SCHAUMBURG, IL 60173                     160 SPEAR ST FLOOR 9
                                                                                 SAN FRANCISCO, CA 94105




EBAY INC                                EBEN BRADFORD                            EBIZUNIVERSE INC
2211 N FIRST ST                         10201 S. MAIN STREET                     1900 E GOLF ROAD STE 950
SAN JOSE, CA 95131                      HOUSTON, TX 77025                        SCHAUMBURG, IL 60173




EBK PROPERTIES III INC                  EBMUD                                    EBMUD
5510 W LASALLE STREET, STE 210          375 11TH ST                              P.O. BOX 1000
TAMPA, FL 33604                         OAKLAND, CA 94607                        OAKLAND, CA 94649-0001




EBONI JONES                             EBONY JAMES                              EBONY LEFLORE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     DISTRICT MANAGER-ATLANTA
HOUSTON, TX 77025                       HOUSTON, TX 77025                        10675 PINEWALK FOREST CIRCLE
                                                                                 ALPHARETTA, GA 30022




EBONY OFIELD                            EBP SUPPLY SOLUTIONS INC                 EBREZZIA BUTLER
10201 S. MAIN STREET                    PO BOX 460                               10201 S. MAIN STREET
HOUSTON, TX 77025                       HARTFORD, CT 06141-0460                  HOUSTON, TX 77025




EBRIGHT TRUST                           EBRIGHT TRUST                            EBRIGHT TRUST
108 SE 124TH AVE                        C/O BONAVISTA MANAGEMENT, LLC            C/O BONAVISTA MGMT LLC
VANCOUVER, WA 98684                     950 N. 72ND STREET, SUITE 100            950 N 72ND ST STE 100
                                        SEATTLE, WA 98103                        SEATTLE, WA 98103




ECC FLORENCE LLC                        ECC FLORENCE LLC                         ECC PROPERTIES LLC & CJLA INVESTMENTS
C/O THOMAS ENGLISH RETAIL REAL ESTATE   FIRST BANK & TRUST COMPANY OF ILLINOIS   LLC
SERVICES                                300 E NORTHWEST HWY                      C/O HUNINGTON PROPERTIES INC.
725 E. 65TH STREET, SUITE 300           PALATINE, IL 60067                       3773 RICHMOND AVE STE 800
ATTN: ERIC GRUBB                                                                 HOUSTON, TX 77046
INDIANAPOLIS, IN 46220


ECHELON FRONT LLC                       ECHO GLOBAL LOGISTICS INC                ECHO GLOBAL LOGISTICS INC
46-28 VERNON BLVD STE 404               600 W CHICAGO AVE STE 725                ACCOUNTS RECEIVABLE
LONG ISLAND CITY, NY 11101              CHICAGO, IL 60654                        22168 NETWORK PLACE
                                                                                 CHICAGO, IL 60673-1221




ECHO LEXINGTON LLC                      ECHO LEXINGTON LLC                       ECHO LEXINGTON LLC
C/O ECHO REAL ESTATE SERVICES CO        C/O ECHO REAL ESTATE SERVICES CO         701 ALPHA DR
560 EPSILON DR                          560 EPSILON DRIVE                        PITTSBURGH, PA 15238
ATTN: LEGAL NOTICE                      ATTN: LEGAL NOTICE
PITTSBURGH, PA 15238                    PITTSBURGH, PA 15238
ECHO LEXINGTON, LLC    Case 18-12241-CSS      Doc
                                      ECHO REAL    26 SERVICES
                                                 ESTATE Filed 10/05/18
                                                                COMPANY    PageECHO
                                                                                560REAL
                                                                                    of 1739
                                                                                        ESTATE SERVICES COMPANY
C/O ECHO REAL ESTATE SERVICES         ATTN: MICHAEL SMITH                      LISA LOMB
COMPANY                               560 EPSILON DRIVE                        560 EPSILON DRIVE
560 EPSILON DRIVE                     PITTSBURGH, PA 15238                     PITTSBURGH, PA 15238
ATTN: LEGAL NOTICE
PITTSBURGH, PA 15238


ECI A HOLDINGS 4 LLC                  ECI A HOLDINGS 4 LLC                     ECLAT INTEGRATED SOFTWARE SOLUTIONS
2450 BROADWAY SIXTH FL                EARTH CITY INDUSTRIAL PORTFOLIO A        INC
SANTA MONICA, CA 90404                LOCKBOX                                  10707 CORPORATE DR STE 162
                                      PO BOX 732020                            STAFFORD, TX 77477
                                      DALLAS, TX 75373-2020



ECLIPSE COMPUTER SYSTEMS INC          ECM TRANSPORT LLC                        ECMC - MN
309 BURGWIN WRIGHT WAY                PO BOX 536056                            LOCKBOX 7096
CARY, NC 27519                        PITTSBURGH, PA 15253                     PO BOX 16478
                                                                               SAINT PAUL, MN 55116-0478




ECOCLEAN LLC                          ECOLAB FOOD SAFETY SPECIALTIES INC       ECOLAB INC
19402 CHESTNUTFIELD                   24198 NETWORK PLACE                      PO BOX 70343
HOUSTON, TX 77094                     CHICAGO, IL 60673-1271                   CHICAGO, IL 60673-0343




ECOLAB PEST ELIMINATION               ECOLLECT                                 ECOVA INC
26252 NETWORK PLACE                   804 FAYETTE ST                           1313 N ATLANTIC STE 5000
CHICAGO, IL 60673-1262                CONSHOHOCKEN, PA 19428                   SPOKANE, WA 99201




ECTOR COUNTY APPRAISAL DISTRICT       ECTOR                                    ECUA
1301 E 8TH ST                         ATTN: PROPERTY TAX DEPT.                 PO BOX 18870
ODESSA, TX 79761-4722                 1301 E 8TH ST                            PENSACOLA, FL 32523-8870
                                      ODESSA, TX 79761-4722




ECUM GERLACH                          ED BURRIS DISPOSAL SERVICE               ED BURRIS DISPOSAL SERVICE
10201 S. MAIN STREET                  765 BURRIS RD                            P.O. BOX 638
HOUSTON, TX 77025                     MURPHYSBORO, IL 62966                    CARBONDALE, IL 62903




ED FITZSIMMONS                        ED HOLDERBAUM                            ED HOWARD
96 WINDSOR AVE                        10201 S. MAIN STREET                     10201 S. MAIN STREET
ROCKVILLE CENTRE, NY 11570            HOUSTON, TX 77025                        HOUSTON, TX 77025




ED KOPCHINSKY                         ED MORRISSETTE                           ED SHEHADEH
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ED THOMAS                             EDC MOVING SYSTEMS                       EDCO DISPOSAL CORPORATION - 6208
10201 S. MAIN STREET                  PO BOX 920680                            6670 FEDERAL BLVD
HOUSTON, TX 77025                     HOUSTON, TX 77292-0680                   LEMON GROVE, CA 91945
                       Case
EDCO DISPOSAL CORPORATION    18-12241-CSS
                          - 6208              Doc 26CORPORATION
                                       EDCO DISPOSAL     Filed 10/05/18
                                                                  - 6887   PageEDCO
                                                                                561DISPOSAL
                                                                                    of 1739CORPORATION - 6887
P.O. BOX 6208                          6670 FEDERAL BLVD                       P.O. BOX 6208
BUENA PARK, CA 90622-6208              LEMON GROVE, CA 91945                   BUENA PARK, CA 90622-6208




EDCO DISPOSAL CORPORATION - 6887        EDCO DISPOSAL CORPORATION              EDCO WASTE & RECYCLING SERVICE - 5488
P.O. BOX 6887                           EDCO WASTE AND RECYCLING               6670 FEDERAL BLVD
BUENA PARK, CA 90622-6887               6670 FEDERAL BLVD                      LEMON GROVE, CA 91945
                                        LEMON GROVE, CA 91945




EDCO WASTE & RECYCLING SERVICE - 5488   EDCO WASTE AND RECYCLING               EDDIE GARRETT
P.O. BOX 5488                           PO BOX 5488                            10201 S. MAIN STREET
BUENA PARK, CA 90622-5488               BUENA PARK, CA 90622-5488              HOUSTON, TX 77025




EDDIE MITCHELL                          EDDIE OLVERA                           EDDIE ONDELACY
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




EDDIE RAGSDALE                          EDDIE REITZ                            EDDIE SANCHEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




EDDIE VASQUEZ                           EDDIE YOUNG                            EDDY FLORES
6147 INDIGO CROSSING DR                 10201 S. MAIN STREET                   10201 S. MAIN STREET
ROCKLEDGE, FL 32955                     HOUSTON, TX 77025                      HOUSTON, TX 77025




EDDY JIMENEZ                            EDEN BELL                              EDEN POWELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




EDENS LIMITED PARTNERSHIP               EDENS                                  EDENS
1221 MAIN STREET, SUITE 1000            8 GREENWAY PLAZA STE 100               ATTN: REAL ESTATE COUNSEL
COLUMBIA, SC 29201                      HOUSTON, TX 77046                      21 CUSTOM HOUSE ST, SUITE 450
                                                                               BOSTON, MA 02110




EDGAR ALCALA                            EDGAR BRITO                            EDGAR CRUZ-HERNANDEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




EDGAR DOMINGUEZ                         EDGAR ELIZONDO                         EDGAR ESCOBEDO
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025
EDGAR MARSHALL        Case 18-12241-CSS      Doc 26 Filed
                                     EDGAR MENDEZ             10/05/18   PageEDGAR
                                                                              562 of 1739
                                                                                   ONLINE INC
10373 N SAM HOUSTON PKWY E 337       10201 S. MAIN STREET                    11200 ROCKVILLE PIKE, STE. 310
HUMBLE, TX 77396                     HOUSTON, TX 77025                       ROCKVILLE, MD 20852




EDGAR RAMIREZ                       EDGAR RIVERA PAGAN                       EDGAR RODAS
10201 S. MAIN STREET                10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                        HOUSTON, TX 77025




EDGAR SEGURA BENITEZ                EDGAR VILLARREAL                         EDGARD MARTINEZ
10201 S. MAIN STREET                10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                        HOUSTON, TX 77025




EDGARDO ALICEA                      EDGARDO BALLAR                           EDGARDO TORRES SIERRA
10201 S. MAIN STREET                7742 PINEVILLE CIRCLE                    10201 S. MAIN STREET
HOUSTON, TX 77025                   CASTRO VALLEY, CA 94552                  HOUSTON, TX 77025




EDGE ENGINEERING & SCIENCE LLC      EDGEMARK ASSET MANAGEMENT LLC            EDGEMARK ASSET MANAGEMENT, LLC
16360 PARK TEN PLACE STE 300        2215 YORK ROAD, SUITE 503                2215 YORK ROAD, STE 503
HOUSTON, TX 77084                   ATTN: SABRINA NEWMAN                     ATTN: CHRIS COUP
                                    OAK BROOK, IL 60523                      OAK BROOK, IL 60523




EDGEMARK COMMERCIAL REAL ESTATE     EDGEWATER RETAIL PARTNERS, LLC           EDGEWOOD PARTNERS INSURANCE
SERVICES LLC                        C/O KIMCO REALTY CORPORATION             CENTER
2215 YORK RD 503                    3333 NEW HYDE PARK ROAD, SUITE 100       EPIC INTEGRATED RISK SOLUTIONS
OAK BROOK, IL 60523                 NEW HYDE PARK, NY 11042                  135 MAIN ST 21ST FLOOR
                                                                             SAN FRANCISCO, CA 94105



EDGEWOOD PROPERTIES                 EDGEWOOD PROPERTIES                      EDGEWOOD RETAIL, LLC
ATTN: LISA CISZEK                   ATTN: ROSEMARY CAROPOLO                  C/O NORTH AMERICAN DEVELOPMENT
1260 STELTON ROAD                   1260 STELTON ROAD                        GROUP
PISCATAWAY, NJ 08854                PISCATAWAY, NJ 08854                     1250 CAROLINE STREET, SUITE 220
                                                                             ATTN: JEFFREY PRESTON & PROPERTY
                                                                             MANAGER
                                                                             ATLANTA, GA 30307

EDGLADSTONE LP                      EDGLADSTONE LP                           EDGMONT LOT B LP
C/O GOLDFARB & FLEECE LLP           DOUGLAS GLADSTONE GOLDFARB & FLEECE      C/O CONTINENTAL DEVELOPERS LLC
560 LEXINGTON AVE, 6TH FLOOR        560 LEXINGTON AVE 6TH FLOOR              1604 WALNUT ST 4TH FLOOR
ATTN: DOUGLAS GLADSTONE             ATTN: DOUGLAS GLADSTONE                  PHILADELPHIA, PA 19103
NEW YORK, NY 10022                  NEW YORK, NY 10022



EDGMONT LOT B LP                    EDICKSON WARDEN                          EDIFICE GC LLC
C/O NATIONAL REALTY CORPORATION     10201 S. MAIN STREET                     CAPCOR MGMT
1001 BALTIMORE PIKE                 HOUSTON, TX 77025                        3939 WASHINGTON AVE STE 230
SPRINGFIELD, PA 19064                                                        HOUSTON, TX 77007




EDINBURGH RETAIL PARTNERS LLC       EDINBURGH RETAIL PARTNERS LLC            EDISHA BROWN
C/O SUBURBAN MANAGEMENT             C/O SUBURBAN MANAGEMENT                  10201 S. MAIN STREET
3600 PACIFIC AVE                    3600 PACIFIC AVENUE                      HOUSTON, TX 77025
VIRGINIA BEACH, VA 23451            VIRGINIA BEACH, VA 23451
                      CaseSAFETY
EDISON DEPARTMENT OF PUBLIC 18-12241-CSS      Doc 26 Filed
                                      EDISON NAULAGUARI         10/05/18   PageEDISON
                                                                                563 of  1739COMMERCIAL ASSOCIATE
                                                                                      WOODS
DIVISON OF FIRE                       10201 S. MAIN STREET                     C/O ATLANTIC REALTY DEVELOPMENT CORP
100 MUNICIPAL BLVD                    HOUSTON, TX 77025                        90 WOODBRIDGE CENTER DR, SUITE 600
EDISON, NJ 08817                                                               ATTN: COMMERCIAL DEPARTMENT
                                                                               WOODBRIDGE, NJ 07095



EDISON WOODS COMMERCIAL ASSOCIATES     EDITH BOTELLO                           EDITH MARIDON
C/O ATLANTIC REALTY DEVELOPMENT CORP   10201 S. MAIN STREET                    118 UNION STREET
90 WOODBRIDGE CENTER DR, SUITE 600     HOUSTON, TX 77025                       SANTA CRUZ, CA 95060
ATTN: COMMERCIAL DEPARTMENT
WOODBRIDGE, NJ 07095



EDITH RODRIGUEZ                        EDITH SERNA ELIZALDE                    EDMAR CORP DBA BISSELL COMMERCIAL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    100 ARMSTRONG RD STE 101
HOUSTON, TX 77025                      HOUSTON, TX 77025                       PLYMOUTH, MA 02360




EDMUND VEGA                            EDMUND VILLARUEL                        EDMUNDO ROTH
10201 S. MAIN STREET                   312 A HOLUA DR                          10201 S. MAIN STREET
HOUSTON, TX 77025                      KAHULUI, HI 96732                       HOUSTON, TX 77025




EDMUNDO SILVA                          EDO MILLER AND SONS FH                  EDRY LA LLC
10201 S. MAIN STREET                   3321 GLYNN AVE                          9109 BRIAR FOREST
HOUSTON, TX 77025                      BRUNSWICK, GA 31520                     HOUSTON, TX 77024




EDUARDO AGUIRRE                        EDUARDO ALEJANDRO CISNEROS              EDUARDO AMPARAN
10201 S. MAIN STREET                   2803 WINDCHASE BLVD.                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77082                       HOUSTON, TX 77025




EDUARDO ASUNSOLO                       EDUARDO CANTU                           EDUARDO CAVAZOS
10201 S. MAIN STREET                   16923 NICOLE LANE                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77084                       HOUSTON, TX 77025




EDUARDO CESPEDES                       EDUARDO CHAVEZ JR                       EDUARDO FERNANDEZ
10201 S. MAIN STREET                                                           10201 S. MAIN STREET
HOUSTON, TX 77025                                                              HOUSTON, TX 77025




EDUARDO GARCIA                         EDUARDO LOPEZ                           EDUARDO MARCHAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




EDUARDO PENA                           EDUARDO PEREZ                           EDUARDO RAMIREZ
10201 S. MAIN STREET                   1743 SAN PABLO AVE                      10201 S. MAIN STREET
HOUSTON, TX 77025                      BERKELEY, CA 94702                      HOUSTON, TX 77025
                     Case
EDUARDO RODRIGUEZ AYALA     18-12241-CSS    Doc
                                      EDUARDO    26 Filed 10/05/18
                                              ROSANO                 PageEDUARDO
                                                                          564 of SALDANA-VARELAS
                                                                                 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




EDUARDO SOTO                          EDWARD A BECNEL                    EDWARD A MEMORY DBA MEMORY AND
10201 S. MAIN STREET                  117 EAGLE LANDING DR               SON HAULING
HOUSTON, TX 77025                     COVINGTON, LA 70435                PO BOX 2253
                                                                         WHITEVILLE, NC 28472




EDWARD A SHERMAN PUBLISHING CO        EDWARD ANTWI                       EDWARD BANKOSKI
101 MALBONE RD                        10201 S. MAIN STREET               10201 S. MAIN STREET
NEWPORT, RI 02860                     HOUSTON, TX 77025                  HOUSTON, TX 77025




EDWARD BAXTER                         EDWARD BOWE                        EDWARD BROWN
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




EDWARD BROWN                          EDWARD BRUMFIELD                   EDWARD CHRISTIANSON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




EDWARD CLARK                          EDWARD DE LA ROSA                  EDWARD DOODY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




EDWARD DROTZER                        EDWARD FLECK                       EDWARD FRANCIS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




EDWARD FRAZIER DBA WHOLESALE          EDWARD FRED JACOB                  EDWARD FRED JACOB
RESTAURANT SUPPLY                     8315 BEVERLY BLVD STE 100          C/O PROVIDENCE GROUP MANAGEMENT
6955 WEST 43RD ST                     LOS ANGELES, CA 90048              1616 CAMDEN ROAD, SUITE 550
HOUSTON, TX 77092                                                        ATTN: JAMES MCGEE
                                                                         CHARLOTTE, NC 28203



EDWARD FREEZE                         EDWARD GOBLE                       EDWARD HART
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




EDWARD HILL                           EDWARD HOLMES                      EDWARD I LIOTTA
10201 S. MAIN STREET                  10201 S. MAIN STREET               4103 BARNSTAPLE CT
HOUSTON, TX 77025                     HOUSTON, TX 77025                  BENSALEM, PA 19020
                       Case
EDWARD J. AND RICHARD P. FERRI,18-12241-CSS
                                         EDWARDDoc     26 Filed
                                                   JACKSON        10/05/18   PageEDWARD
                                                                                  565 ofJACOBS
                                                                                         1739
TRUSTEES                                 10201 S. MAIN STREET                    10201 S. MAIN STREET
C/O POSTERNAK BLANKENSTEIN & LUND LLP    HOUSTON, TX 77025                       HOUSTON, TX 77025
ATTN: STEVEN S. BROADLEY
800 BOYLSTON STREET 33RD FLOOR
BOSTON, MA 02199


EDWARD JAMES LANDRY                     EDWARD KOHLER                            EDWARD KULIKAUSKAS
642 SHASTA DR                           10201 S. MAIN STREET                     10201 S. MAIN STREET
ENCINITAS, CA 92024                     HOUSTON, TX 77025                        HOUSTON, TX 77025




EDWARD LANE                             EDWARD LEVY                              EDWARD LOVELIST
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




EDWARD MALONE                           EDWARD MANN                              EDWARD MASON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




EDWARD MONSIVAIS                        EDWARD OLSEWSKI                          EDWARD OPOKU
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




EDWARD PEELMAN                          EDWARD PEREZ                             EDWARD PHILLIPS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




EDWARD R FARRIS DBA SP6 PARTNERS LLC    EDWARD RAMIREZ                           EDWARD REID
2500 TANGLEWILDE STE 431                78-650 AVE42                             7139 SMITHERS WAY
HOUSTON, TX 77063                       INDIO, CA 92203                          ATLANTA, GA 30331




EDWARD ROSA                             EDWARD SALAZAR                           EDWARD SCHNELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




EDWARD SCHWARTZ & CO.                   EDWARD SIMPSON                           EDWARD SMITH
3190 DOOLITTLE DRIVE                    10201 S. MAIN STREET                     10201 S. MAIN STREET
NORTHBROOK, IL 60062                    HOUSTON, TX 77025                        HOUSTON, TX 77025




EDWARD STAFFORD                         EDWARD SUFFRIN ADVERTISING               EDWARD T GREER DBA ANDERSON
10201 S. MAIN STREET                    3600 LAKE SHORE DR UNIT 2311             COMMONS LLC
HOUSTON, TX 77025                       CHICAGO, IL 60613                        PO BOX 4339
                                                                                 GREENVILLE, SC 29608
EDWARD T LAFFERTY        Case 18-12241-CSS
                                        EDWARDDoc  26 Filed 10/05/18
                                               TOURVILLE                       PageEDWARD
                                                                                    566 ofTRANG
                                                                                           1739
486 HOLDEN RD                           10201 S. MAIN STREET                       10203 BRIAR FOREST
POPLARVILLE, MS 39470                   HOUSTON, TX 77025                          HOUSTON, TX 77042




EDWARD TRUZZOLINO                       EDWARD WILSON                              EDWARD WRIGHT
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




EDWARD YOUGH                            EDWARD YOUNG                               EDWARD, FRANCIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                       4080 ARIZONA ST APT 4
HOUSTON, TX 77025                       HOUSTON, TX 77025                          SAN DIEGO, CA 92104-1799




EDWARDS ELECTRONIC SYSTEMS INC          EDWARDS REALTY CO.                         EDWARDS SUTARWALLA PLLC
PO BOX 39                               14400 SOUTH JOHN HUMPHREY, SUITE 200       1300 MCGOWEN ST STE 270
CLAYTON, NC 27528                       ORLAND PARK, IL 60462                      HOUSTON, TX 77004




EDWARDS, KLEIN, ANDERSON & SHOPE,       EDWIN ACEVEDO                              EDWIN ALBETSKI
PLLC                                    10201 S. MAIN STREET                       10201 S. MAIN STREET
ATTN: CURTIS B. ANDERSON, J.D., LL.M.   HOUSTON, TX 77025                          HOUSTON, TX 77025
1426 6TH AVENUE, SUITE 200
HUNTINGTON, WV 25701



EDWIN BOEHLKE                           EDWIN BUSTOS                               EDWIN DIKA
10201 S. MAIN STREET                    920 N QUARTZ ST                            10201 S. MAIN STREET
HOUSTON, TX 77025                       GOLBERT, AZ 85234                          HOUSTON, TX 77025




EDWIN E. FLYTHE JR.                     EDWIN E. FLYTHE JR.                        EDWIN HAWKINS
3316 ALLEGHANY DR                       3316 ALLEGHANY DRIVE                       10201 S. MAIN STREET
RALEIGH, NC 27609                       RALEIGH, NC 27609                          HOUSTON, TX 77025




EDWIN HEDGPETH                          EDWIN HERNANDEZ                            EDWIN JOSAINVIL
C/O SPENCER & BALABAN PC                10201 S. MAIN STREET                       10201 S. MAIN STREET
ATTN: FRANK VOLER                       HOUSTON, TX 77025                          HOUSTON, TX 77025
15801 BRIXHANI HILL AVE., SUITE 350
CHARLOTTE, NC 28277



EDWIN KINDRED                           EDWIN M GOVONI                             EDWIN MENG
10201 S. MAIN STREET                    1914 KENOSHA DR APT 201                    10201 S. MAIN STREET
HOUSTON, TX 77025                       TRINITY, FL 34655                          HOUSTON, TX 77025




EDWIN PABON                             EDWIN QUINONES                             EDWIN REYES
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025
EDWIN RIVERA            Case 18-12241-CSS     Doc 26
                                       EDWIN SABILLON        Filed 10/05/18   PageEDWIN
                                                                                   567 TORRES
                                                                                        of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




EDWIN V DELIVERY SERVICES INC           EDWIN VAZQUEZ                             EEP WRS LLC
2240 SW 89 COURT                        10201 S. MAIN STREET                      649 FIFTH AVE S
MIAMI, FL 33165                         HOUSTON, TX 77025                         NAPLES, FL 34102




EEP WRS LLC                             EFAX CORPORATE                            EFAX CORPORATE
C/O MORGAN PROPERTY MNGMNT              6922 HOLLYWOOD BLVD SUITE 500             C/O J2 CLOUD SERVICES INC
3375 PINE RIDGE RD 206                  LOS ANGELES, CA 90028                     PO BOX 51873
NAPLES, FL 34109                                                                  LOS ANGELES, CA 90051-6173




EFE AJAYI                               EFRAIN GONZALEZ                           EFREN ALCAZAR
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




EFREN HERNANDEZ                         EFREN JOHNSON                             EFREN SANTANA DBA TNAB LOGISTICS
10201 S. MAIN STREET                    245 HUDSON RIDGE                          210 S ALEXANDER
HOUSTON, TX 77025                       FAIRBURN, GA 30213                        DUNCANVILLE, TX 75116




EFREN SANTANA                           EGGB                                      EGLIS VELASQUEZ
210 S ALEXANDER                         PO BOX 28881                              10201 S. MAIN STREET
DUNCANVILLE, TX 75116                   NEW YORK, NY 10087-8881                   HOUSTON, TX 77025




EGON ZEHNDER INTERNATIONAL INC          EGS COMMERCIAL REAL ESTATE, INC           EGS CONTRACTORS INC
350 PARK AVE 8TH FLOOR                  505 20TH STREET NORTH, SUITE 700          9208 WALDEN BROOK DR
NEW YORK, NY 10022                      BIRMINGHAM, AL 35203                      LITHONIA, GA 30039




EGS PLUMBING & CONTRACTING              EGW LOUISVILLE, LC                        EHAB PETRO
9208 WALDEN BROOK DR.                   4800 N FEDERAL HWY, SUITE 201B            10201 S. MAIN STREET
LITHONIA, GA 30038                      BOCA RATON, FL 33431                      HOUSTON, TX 77025




EHAB SAWIRIS                            EHEALTH SCREENINGS LLC                    EIAN SNOW
10201 S. MAIN STREET                    12000 STARCREST STE 108                   10201 S. MAIN STREET
HOUSTON, TX 77025                       SAN ANTONIO, TX 78247                     HOUSTON, TX 77025




EIG ELGIN LLC                           EIG MIDWAY PLAZA LLC                      EIGFW IRVING LLC
C/O EQUITY INVESTMENT GROUP             C/O EQUITY INVESTMENT GROUP               EIG MIDWAY PLAZA LLC
127 WEST BERRY STREET, SUITE 300        111 E WAYNE ST, STE 500                   111 E WAYNE ST STE 500
ATTN: ANTHONY M. ZIRILLE                FORT WAYNE, IN 46802-2603                 FORT WAYNE, IN 46802
FORT WAYNE, IN 46802
EIGHTH UTILITIES DISTRICTCase   18-12241-CSS     Doc
                                          EIKOS RISK   26 LTD
                                                     CAPITAL Filed 10/05/18     PageEILEAN
                                                                                      568 of  1739
                                                                                           SIMS
18 MAIN ST                                 180 PICCADILLY                           10201 S. MAIN STREET
MANCHESTER, CT 06042-3136                  LONDON WIJ 9HF                           HOUSTON, TX 77025
                                           UNITED KINGDOM




EILEEN GLORIOSO                            EILEEN NORMAN                            EILEEN PALUMBO
10201 S. MAIN STREET                       10201 S. MAIN STREET                     95 HIGH ST
HOUSTON, TX 77025                          HOUSTON, TX 77025                        NEWTON, NJ 07860




EISENBERG SILVERSTONE                      EIZAGAECHEVARRIA, JONANDER, ET AL.       EJIRO OSALOR
EISENBERG COMPANY                          C/O WITES & KAPETAN P.A.                 10201 S. MAIN STREET
2390 E CAMELBACK RD STE 202                4400 NORTH FEDERAL HWY                   HOUSTON, TX 77025
PHOENIX, AZ 85016                          LIGHTHOUSE POINT, FL 33064




EKIMA HAMILTON                             EKORNES INC                              EKRAMI KASSEM
10201 S. MAIN STREET                       26984 NETWORK PLACE                      10201 S. MAIN STREET
HOUSTON, TX 77025                          CHICAGO, IL 60673-1269                   HOUSTON, TX 77025




EL BOLILLO BAKERY                          EL CERRITO ALARM                         EL DORADO COUNTY FAIR ASSOC.
2421 S WAYSIDE DR                          PO BOX 670                               100 PLACERVILLE DR.
HOUSTON, TX 77023                          CATHEDRAL CITY, CA 92234                 PLACERVILLE, CA 95667




EL DORADO COUNTY                           EL DORADO MARKETPLACE #1, LP             EL DORADO MARKETPLACE 1 LP
TREASURER & TAX COLLECTOR                  C/O ROCKSTEP CAPITAL CORPORATION         C/O ROCKSTEP CAPITAL CORPORATION
PO BOX 678002                              1445 NORTH LOOP WEST, SUITE 625          ATTN: ANDY WEINER
PLACERVILLE, CA 95667-8002                 HOUSTON, TX 77008                        1445 NORTH LOOP W 625
                                                                                    HOUSTON, TX 77008



EL DORADO MARKETPLACE ASSOCIATES,          EL MALIK BARLOW                          EL PASO COUNTY TREASURER
LLC                                        10201 S. MAIN STREET                     ATTN: PROPERTY TAX DEPT.
C/O FIDELIS REALTY PARTNERS DFW, LLC       HOUSTON, TX 77025                        PO BOX 2018
5207 MCKINNEY AVENUE, SUITE 22                                                      COLORADO SPRINGS, CO 80901-2018
ATTN: PROPERTY MANAGEMENT
DALLAS, TX 75205


ELAHE HOGGE                                ELAINA FARMER                            ELAINA FRYE
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025




ELAINE GRAY                                ELAINE JOHNSON                           ELAINE MALEY
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025




ELAINE MICHALEK                            ELAINE NGUYEN                            ELAINE PARDEE
10201 S. MAIN STREET                       10201 S. MAIN STREET                     4664 ROLLING OAKS DR
HOUSTON, TX 77025                          HOUSTON, TX 77025                        GRANITE BAY, CA 95746-6095
ELAINEE TORRES            Case 18-12241-CSS     Doc
                                         ELAN POLO INC26       Filed 10/05/18     PageELAVON
                                                                                       569 ofINC1739
10201 S. MAIN STREET                      2765 MOMENTUM PLACE                         10700 76TH COURT
HOUSTON, TX 77025                         CHICAGO, IL 60689-5327                      LARGO, FL 33777




ELBA RODRIGUEZ                            ELBERT DUNN                                 ELDERSBURG SUSTAINABLE
10201 S. MAIN STREET                      10201 S. MAIN STREET                        REDEVELOPMENT LLC
HOUSTON, TX 77025                         HOUSTON, TX 77025                           REF: EC145
                                                                                      2328 W JOPPA RD STE 200
                                                                                      LUTHERVILLE TIMONIUM, MD 21093



ELDERSBURG SUSTAINABLE                    ELDERSBURG SUSTAINABLE                      ELDORADO ARTESIAN SPRINGS
REDEVELOPMENT LLC                         REDEVELOPMENT, LLC                          PO BOX 172526
REF: EC145                                C/O BLACK OAK PROPERTY MANAGEMENT           DENVER, CO 80217-2526
2328 W JOPPA RD STE 200                   1 WEST PENNSYLVANIA AVENUE, SUITE 975
LUTHERVILLE TIMONIUM, MD 21093            TOWSON, MD 21204



ELDORADO MARKETPLACE ASSOCIATES LLC       ELDRIDGE CISCO                              ELDRIDGE CROSSING LTD
DEPT 251                                  10201 S. MAIN STREET                        PO BOX 771149
PO BOX 4346                               HOUSTON, TX 77025                           HOUSTON, TX 77215
HOUSTON, TX 77210-4346




ELDRIDGE CROSSING LTD.                    ELEANOR PULIDO                              ELEANORA M WADDELL TRUST
C/O PROPERTY COMMERCE MANAGEMENT          698 FARVIEW ST                              C/O THOMAS R BUCKNER
COMPANY                                   EL CAJON, CA 92021                          6070 POPLAR AVE STE 600
8555 WESTHEIMER, SUITE 100                                                            MEMPHIS, TN 38119
ATTN: S. JAY WILLIAMS
HOUSTON, TX 77063


ELEAZAR GARCIA                            ELEAZAR ZAPATA                              ELECTRA LINK INC
10201 S. MAIN STREET                      111 MT NEBO ST                              21755 I45 N BLDG 10
HOUSTON, TX 77025                         DALLAS, TX 75211                            SPRING, TX 77388




ELECTRA LINK INC                          ELECTRIC AUCTIONS INC                       ELECTRIC BATTERY COMPANY LLC
PO BOX 4346 DEPT 467                      1601 N SEPULVEDA BLVD 620                   178-15 EVELETH RD
HOUSTON, TX 77210                         MANHATTAN BEACH, CA 90266                   JAMAICA, NY 11434-3405




ELECTRIC CITY UTILITIES                   ELECTRIC CITY UTILITIES                     ELECTRIC LIGHTWAVE
601 S MAIN ST                             CITY OF ANDERSON                            18110 SE 34TH ST
ANDERSON, SC 29624                        P.O. BOX 63061                              BUILDING ONE, STE 100
                                          CHARLOTTE, NC 28263-3061                    VANCOUVER, WA 98683




ELECTRIC LIGHTWAVE                        ELECTRICAL ASSOCIATES OF ALBANY INC         ELECTRICAL ASSOCIATES OF ALBANY INC
P.O. BOX 2966                             2504 W GORDON AVE                           PO BOX 72002
MILWAUKEE, WI 53201-2966                  ALBANY, GA 31707                            ALBANY, GA 31708-2002




ELECTRICAL DISTRICT 2                     ELECTRICAL DISTRICT 2                       ELECTRICAL EDGE CONTRACTING INC
5575 N ELEVEN MILE CORNER RD              P.O. BOX 52790                              PO BOX 6970
CASA GRANDE, AZ 85194                     PHOENIX, AZ 85072-2790                      MONROE, NJ 08831
                      Case 18-12241-CSS
ELEMENT MATERIALS TECHNOLOGY ST      ELEMENTDoc   26 Filed
                                              MATERIALS      10/05/18
                                                        TECHNOLOGY ST   PageELENA
                                                                             570 JOHNSON
                                                                                  of 1739
PAUL INC                             PAUL INC                               10201 S. MAIN STREET
15277 COLLECTIONS CENTER DR          662 CROMWELL AVE                       HOUSTON, TX 77025
CHICAGO, IL 60693                    SAINT PAUL, MN 55114




ELENA R SETZER                        ELEPHANTS DELICATESSEN                ELEVATE COMMERCIAL REAL ESTATE
14193 W HWY 55                        ATTN: CATERING DEPT                   6600 EAST BERRY AVE
BLACKSBURG, SC 29702                  700 SE CLAY ST                        CENTENNIAL, CO 80111
                                      PORTLAND, OR 97214




ELEVEN INVESTMENTS LLC                ELG CHEYENNE LLC                      ELG CHEYENNE LLC
4265 45TH STREET SOUTH STE 200        102 N CASCADE AVE STE 250             ATTN: FRANK HOBBS
FARGO, ND 58104                       COLORADO SPRINGS, CO 80903            1257 INSPIRATION DRIVE
                                                                            LA JOLLA, CA 90237




ELG CHEYENNE LLC                      ELG CHEYENNE, LLC                     ELG EDGEWATER LLC
ATTN: FRANK HOBBS                     1257 INSPIRATION DRIVE                10096 RED RUN BOULEVARD, SUITE 100
1257 INSPIRATION DRIVE                ATTN: FRANK HOBBS                     OWINGS MILLS, MD 21117
LA JOLLA, CA 92037                    LA JOLLA, CA 92037




ELG EDGEWATER LLC                     ELGEN BULLOCK                         ELGIN BABER
C/O GREENBERG GIBBONS                 10201 S. MAIN STREET                  10201 S. MAIN STREET
10096 RED RUN BLVD STE 100            HOUSTON, TX 77025                     HOUSTON, TX 77025
OWINGS MILLS, MD 21117




ELGIN FRONTIER CROSSING LLC           ELI CARTER                            ELI GUTTERY
4114 BURNEY                           10201 S. MAIN STREET                  10201 S. MAIN STREET
AUSTIN, TX 78731                      HOUSTON, TX 77025                     HOUSTON, TX 77025




ELI HARRELL                           ELI HOLGUIN                           ELI KAUFMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




ELI KECK                              ELI SMITH                             ELI WILLARD
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




ELIAS ARRE                            ELIAS CASANAS                         ELIAS FRACHER
10201 S. MAIN STREET                  10201 S. MAIN STREET                  204 HAYWOOD ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                     ASHEVILLE, NC 28802




ELIAS HERNANDEZ                       ELIAS MELIGAS                         ELIAS PROPERTIES LYNBROOK LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET                  C/O ELIAS PROPERTY MANAGEMENT, INC.
HOUSTON, TX 77025                     HOUSTON, TX 77025                     500 NORTH BROADWAY
                                                                            JERICHO, NY 11753
                      Case
ELIAS PROPERTIES LYNBROOK LLC18-12241-CSS      Doc 26 LYNBROOK,
                                       ELIAS PROPERTIES  Filed 10/05/18
                                                                 LLC         PageELIAS
                                                                                  571ROSALES
                                                                                       of 1739URBINA
C/O ELIAS PROPERTY MANAGEMENT, INC.    C/O ELIAS PROPERTY MANAGEMENT, INC.       10201 S. MAIN STREET
500 NORTH BROADWAY                     500 NORTH BROADWAY                        HOUSTON, TX 77025
JERICHO, NY 11753                      JERICHO, NY 11753




ELIAS S ATALLAH                         ELIAS S. ATALLAH                         ELIAS VIGO
2283 KEEPSAKE CT                        2283 KEEPSAKE COURT                      2100 TANGLEWILDE AVE APT 15
RIVERSIDE, CA 92503                     RIVERSIDE, CA 92503                      HOUSTON, TX 77063




ELIAT MANAGEMENT CO., INC.              ELIDEX REALTY                            ELIER TORRES LUGO
650 SOUTH ORAS, SUITE 210               PO BOX 290656                            10201 S. MAIN STREET
SEATTLE, WA 98108                       BROOKLYN, NY 11229                       HOUSTON, TX 77025




ELIEZER RIVERA RAMOS                    ELIEZER SANCHEZ                          ELIJAH AMMONS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ELIJAH FRAZIER                          ELIJAH GARSHA                            ELIJAH GOMEZ-SPIERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ELIJAH HARRELL                          ELIJAH HOSKINS                           ELIJAH NORTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ELIJAH RUBIN                            ELIJAH WILLIAMS                          ELION III CP LOTS 1-6 OWNER LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                     C/O ELION PARTNERS
HOUSTON, TX 77025                       HOUSTON, TX 77025                        2875 NE 191ST ST STE 800
                                                                                 AVENTURA, FL 33180




ELIOT MELENDEZ                          ELISA COHEN                              ELISA DIANE TANCK-ADAMS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     129-B FERN DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                        FOLKSTON, GA 31537




ELISA LOMELI                            ELISA MUNOZ                              ELISA SMITH
740 GALVIN LN                           10201 S. MAIN STREET                     10201 S. MAIN STREET
FILLMORE, CA 93015                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ELISA SQUATRITO                         ELISABETH DUGAR                          ELISABETH LOPEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
ELISABETH MITCHINER       Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                         ELISEO SANABRIA-CRUZ               PageELISEO
                                                                                 572 of  1739
                                                                                       TORRES
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




ELISHA WAGNER                            ELISSA BETH WOLFSON                    ELISSA WOLFSON
10201 S. MAIN STREET                     462 OLIVE ST                           10201 S. MAIN STREET
HOUSTON, TX 77025                        LONG BEACH, NY 11561                   HOUSTON, TX 77025




ELITE FIRE PROTECTION INC                ELITE FOAM INC                         ELITE FOAM INC
252 EASTERN PKWY                         ATTN: CHIEF FINANCIAL OFFICER          ATTN: CHIEF FINANCIAL OFFICER
FARMINGDALE, NY 11735                    76 SPRAYBERRY RD                       WELLS FARGO LOCKBOX 603397
                                         NEWNAN, GA 30263                       1525 WEST WT HARRIS BLVD
                                                                                CHARLOTTE, NC 28260



ELITE FOAM INC                           ELITE FOAM LLC                         ELITE FOAM LLC
PO BOX 73949                             PO BOX 73949                           PO BOX 931879
NEWNAN, GA 30271                         NEWNAN, GA 30271                       ATLANTA, GA 31193-8271




ELITE HOME DELIVERY INC                  ELITE HOME DELIVERY INC                ELITE HOME PRODUCTS INC
503 WINTHROP ST STE 8A                   P.O. BOX 1209                          95 MAYHILL ST
REHOBOTH, MA 02769                       BRANDON, FL 33509                      SADDLE BROOK, NJ 07663




ELITE REWARDS                            ELITE SEM INC                          ELITE SNOW REMOVAL
PO BOX 261147                            PO BOX 28415                           PO BOX 1480
TAMPA, FL 33685                          NEW YORK, NY 10087-8415                PARKER, CO 80134




ELIZA FAUR                               ELIZABETH & DAISY HAMMOND              ELIZABETH ACKERMAN
10201 S. MAIN STREET                     9100 RUSHING RIVER DR                  10201 S. MAIN STREET
HOUSTON, TX 77025                        FORT WORTH, TX 76118                   HOUSTON, TX 77025




ELIZABETH ADAMS                          ELIZABETH ALEXANDER                    ELIZABETH ANDERSEN-GILREATH
PO BOX 5542                              10201 S. MAIN STREET                   10201 S. MAIN STREET
CENTRAL POINT, OR 97502                  HOUSTON, TX 77025                      HOUSTON, TX 77025




ELIZABETH ASHLEY DAWKINS                 ELIZABETH BARNETTE                     ELIZABETH BERING
328 RNNIX RD                             10201 S. MAIN STREET                   10201 S. MAIN STREET
ELON COLLEGE, NC 27244                   HOUSTON, TX 77025                      HOUSTON, TX 77025




ELIZABETH BINIASHVILI                    ELIZABETH BLEY                         ELIZABETH BOMAR
10201 S. MAIN STREET                     37 CALLE VERANO                        5056 S OPAL PLACE
HOUSTON, TX 77025                        RANCHO SANTA MARGARITA, CA 92688       CHANDLER, AZ 85249
ELIZABETH BUCHNER        Case 18-12241-CSS     Doc
                                        ELIZABETH   26
                                                  CALI       Filed 10/05/18   PageELIZABETH
                                                                                   573 of 1739
                                                                                            CONTRERAS
21131 PARK YORK                          10201 S. MAIN STREET                     10201 S. MAIN STREET
KATY, TX 77450                           HOUSTON, TX 77025                        HOUSTON, TX 77025




ELIZABETH CRAVEN                         ELIZABETH DIMOND                         ELIZABETH EAGLE
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




ELIZABETH EDNEY                          ELIZABETH FLORES                         ELIZABETH GIRARDOT
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




ELIZABETH GRAHAM                         ELIZABETH GRISWOLD                       ELIZABETH HAMMOND
10201 S. MAIN STREET                     10201 S. MAIN STREET                     9100 RUSHING RIVER DR
HOUSTON, TX 77025                        HOUSTON, TX 77025                        FORT WORTH, TX 76118




ELIZABETH HANCOCK                        ELIZABETH HEITZER                        ELIZABETH HEYNE
9260 SW SWEEK DR                         2829 SW 35TH AVE                         10201 S. MAIN STREET
TUALATIN, OR 97062                       MIAMI, FL 33133                          HOUSTON, TX 77025




ELIZABETH HOVENDEN                       ELIZABETH ISHTIAQ                        ELIZABETH JONES
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




ELIZABETH KOCIAN                         ELIZABETH LOPEZ                          ELIZABETH MANCHESTER
54152 ASH RD 296                         2404 JOSHS CT                            10201 S. MAIN STREET
OSCEOLA, IN 46561                        ROCK HILL, SC 29732                      HOUSTON, TX 77025




ELIZABETH MARIE GALVAN                   ELIZABETH MARTIN                         ELIZABETH MCCARTHY
DBA LIZ MARIE BLOG LLC                   10201 S. MAIN STREET                     288 ORCHARD PLACE
9510 KALAMAZOO AVE                       HOUSTON, TX 77025                        RIDGEWOOD, NJ 07450
CALEDONIA, MI 49316




ELIZABETH MCCARTHY                       ELIZABETH MCPETERS                       ELIZABETH MORALES
C/O HODGES WALSH MESSEMER & BURKE        10201 S. MAIN STREET                     10201 S. MAIN STREET
LLP                                      HOUSTON, TX 77025                        HOUSTON, TX 77025
ATTN: PAUL SVENSSON
55 CHURCH STREET, STE 211
WHITE PLAINS, NY 10601


ELIZABETH MOYA                           ELIZABETH ROBINSON                       ELIZABETH ROGOWSKI
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
ELIZABETH RUSSO         Case 18-12241-CSS     Doc
                                       ELIZABETH   26 Filed 10/05/18
                                                 SANDOVAL                     PageELIZABETH
                                                                                   574 of 1739
                                                                                            STUART
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




ELIZABETH WARDLAW                      ELIZABETH WEEDEN                           ELIZABETH WONG
554 17TH ST                            10201 S. MAIN STREET                       24-18 78TH ST
OGDEN, UT 84404                        HOUSTON, TX 77025                          EAST ELMHURST, NY 11370




ELIZABETH WONG                         ELIZABETHTON STAR                          ELIZABETHTOWN AREA WATER AUTH
24-18 78TH STREET                      300 SYCAMORE ST                            211 W. HUMMELSTOWN STREET
JACKSON HEIGHTS, NY 11370              ELIZABETHTON, TN 37643                     ELIZABETHTOWN, PA 17022




ELIZABETHTOWN GAS                      ELIZABETHTOWN UTILITES                     ELIZABETHTOWN UTILITIES
10 PEACHTREE PLACE                     P.O. BOX 550                               P.O. BOX 550
ATLANTA, GA 30309                      ELIZABETHTOWN, KY 42702                    ELIZABETHTOWN, KY 42702




ELIZEBETH KLINGBEIL                    ELK BRISTOL COMMONS LLC                    ELK BRISTOL COMMONS LLC
1515 S LUMPKIN ST APT 306              489 5TH AVE 7TH FL                         489 5TH AVENUE, 7TH FLOOR
ATHENS, GA 30605                       NEW YORK, NY 10017                         NEW YORK, NY 10017




ELK GROVE OWNER LP                     ELK GROVE OWNER LP                         ELK GROVE OWNER LP
C/O ACADIA REALTY TRUST                C/O ACADIA REALTY TRUST                    C/O CROSSPOINT REALTY SERVICES, INC.
411 THEODORE FREMD AVE SUITE 300       411 THEODORE FREMD AVENUE, SUITE 130       260 CALIFORNIA STREET, 4TH FLOOR
ATTN: LEGAL DEPARTMENT                 ATTN: LEGAL DEPARTMENT                     ATTN: D. CARTER HEMMING OR THOMAS
RYE, NY 10580                          RYE, NY 10580                              KLEIN
                                                                                  SAN FRANCISCO, CA 94111


ELK GROVE OWNER LP                     ELK LAKES MASTER LLC                       ELK RIVER PUBLIC UTILITY DIST
PROPERTY 0340                          CCBCE01                                    217 S JACKSON ST
PO BOX 419592                          PO BOX 712130                              PO BOX 970
BOSTON, MA 02241-9592                  CINCINNATI, OH 45271-2130                  TULLAHOMA, TN 37388




ELK RIVER PUBLIC UTILITY DIST          ELK RIVER PUBLIC UTILITY DISTRICT          ELKHART COUNTY TREASURER
PO BOX 970                             PO BOX 970                                 ATTN: TAX COLLECTOR
TULLAHOMA, TN 37388-0970               TULLAHOMA, TN 37388-0970                   PO BOX 116
                                                                                  GOSHEN, IN 46527-0116




ELKHART HOLDING, LLC                   ELKHART HOLDINGS LLC                       ELKHART SUPERIOR COURT & SMALL
C/O HAUPPAGE PROPERTIES LLC            C/O HAUPPAGE PROPERTIES LLC                CLAIMS
1975 HEMPSTEAD TURNPIKE, STE 309       1975 HEMPSTEAD TURNPIKE, STE 309           315 S SECOND ST
ATTN; SIMONE HOSIEN                    ATTN: SIMONE HOSIEN                        ELKHART, IN 46516
EAST MEADOW, NY 11554                  EAST MEADOW, NY 11554



ELKHART                                ELKIN TAMAYO                               ELKS PLAZA LLC
ATTN: PROPERTY TAX DEPT.               10201 S. MAIN STREET                       30200 TELEGRAPH RD STE 205
PO BOX 116                             HOUSTON, TX 77025                          BINGHAM FARMS, MI 48025
GOSHEN, IN 46527-0116
ELLA PIERRE                Case 18-12241-CSS     Doc WILLIS
                                          ELLAZANDRIA 26 Filed 10/05/18   PageELLEN
                                                                               575 AND
                                                                                    of 1739
                                                                                       KEN LANDIS
10201 S. MAIN STREET                      10201 S. MAIN STREET                1304 NE 145TH AVENUE
HOUSTON, TX 77025                         HOUSTON, TX 77025                   VANCOUVER, WA 98684




ELLEN ANDREWS                             ELLEN CLARKE                        ELLEN GRIFFITH
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025




ELLEN LEACH                               ELLEN R CLARK                       ELLEN SUGAR
1609 S HAWTHORNE AVE                      214 E EVERGREEN AVE                 5034 JACOBS COURT
SIOUX FALLS, SD 57105                     MONROVIA, CA 91016                  OAK PARK, CA 91377




ELLERY HOLDINGS LLC                       ELLERY HOLDINGS LLC                 ELLIE CLOESSNER
DBA ELLERY HOMESTYLES LLC                 PO BOX 823462                       10201 S. MAIN STREET
295 5TH AVE STE 1212                      PHILADELPHIA, PA 19182-3462         HOUSTON, TX 77025
NEW YORK, NY 10016




ELLIE KAY AND COMPANY LLC                 ELLINGSON PROPERTIES LLC            ELLIOT MAGIC LLC
3053 RANCHO VISTA BLVD STE H102           4087 S HIGHWAY 1 STE 1              ATTN: LEON SCHNEIDER
PALMDALE, CA 93551                        ROCKLEDGE, FL 32955                 1801 CENTURY PARK EAST, 25TH FLOOR
                                                                              LOS ANGELES, CA 90067




ELLIOT MAGIC, LLC                         ELLIOT N BROOKS                     ELLIOT SCHATTEN
1801 CENTURY PARK EAST, 25TH FLOOR        6105 BURHLEY COURT                  10201 S. MAIN STREET
ATTN: LEON SCHNEIDER                      ORLANDO, FL 32809                   HOUSTON, TX 77025
LOS ANGELES, CA 90067




ELLIOTT ASSOCIATES, INC.                  ELLIOTT ASSOCIATES, INC.            ELLIOTT BROWN
901 NE GILSON STREET                      ASHLEY GARRON, ASST PM              10201 S. MAIN STREET
ATTN: CHRISSY FLINN                       901 NE GILSON STREET                HOUSTON, TX 77025
PORTLAND, OR 97232                        PORTLAND, OR 97232




ELLIOTT HULL                              ELLIOTT LEE WILSON                  ELLIOTT ONEAL
10201 S. MAIN STREET                      716 W. 119TH PLACE SOUTH            10201 S. MAIN STREET
HOUSTON, TX 77025                         JENKS, OK 74037                     HOUSTON, TX 77025




ELLIOTT RAY                               ELLIS COUNTY                        ELLIS FIRE SERVICES INC
10201 S. MAIN STREET                      TAX ASSESSOR - COLLECTOR            10 DRAPER ST UNIT 16
HOUSTON, TX 77025                         P.O. BOX 188                        WOBURN, MA 01801
                                          WAXAHACHIE, TX 75168-0188




ELLIS FIRE SERVICES INC                   ELLIS TAYLOR                        ELLIS
14 REPUBLIC RD                            10201 S. MAIN STREET                ATTN: PROPERTY TAX DEPT.
BILLERICA, MA 01862                       HOUSTON, TX 77025                   P.O. BOX 188
                                                                              WAXAHACHIE, TX 75168-0188
ELLIS-GIBSON DEVELOPMENT Case  18-12241-CSS
                            GROUP                DocSYLVARIA
                                         ELLSWORTH     26 Filed   10/05/18       PageELLY
                                                                                      576WILLIAMSON
                                                                                          of 1739
1081 19TH STREET, SUITE 203              10201 S. MAIN STREET                        10201 S. MAIN STREET
VIRGINIA BEACH, VA 23451                 HOUSTON, TX 77025                           HOUSTON, TX 77025




ELM CREEK PLAZA LLC                     ELMER REYES                                  ELMHURST CROSSING LIMITED
2760 N UNIVERSITY DR                    C/O HELEN F. DALTON & ASSOCIATES, P.C.       PARTNERSHIP
HOLLYWOOD, FL 33024                     ATTN: ROMAN AVSHALUMOV                       1010-1550 BOUL DE MAISONNEUVE WEST
                                        69-12 AUSTIN ST                              MONTREAL, QC H3G 1N2
                                        FOREST HILLS, NY 11375                       CANADA



ELMHURST CROSSING LIMITED               ELMHURST CROSSING LIMITED                    ELMHURST INVESTORS LLC
PARTNERSHIP                             PARTNERSHIP                                  C/O BROOKLINE REAL ESTATE &
1550 DE MAISONNEUVE WEST, SUITE 1010    ATTN: PRESIDENT                              INVESTMENTS
ATTN: PRESIDENT                         1550 DE MAISONNEUVE WEST, SUITE 1010         P.O. BOX 5273
MONTREAL, QC H 36 1N2 CANADA            MONTREAL, QC H3G 1N2                         OAK BROOK, IL 60522
                                        CANADA


ELMHURST RETAIL LLC                     ELMIRA UTILITY ASSOCIATES INC                ELMORE COUNTY-REVENUE COMMISSIONER
BROOKLINE INVESTMENT GROUP LLC          P.O. BOX 438                                 PO BOX 1147
PO BOX 5273                             WELLSBURG, NY 14894                          WETUMPKA, AL 36092
HINSDALE, IL 60523




ELMORE                                  ELMWOOD PARK FIRE PREVENTION BUREAU          ELOISA YANGA
ATTN: PROPERTY TAX DEPT.                180 MARKET ST                                9367 HAWK EYE LN
PO BOX 280                              ELMWOOD PARK, NJ 07407                       PACOIMA, CA 91331
WETUMPKA, AL 36092




ELON UNIVERSITY CAREER SERVICES         ELOY PARRAS                                  ELROY H SCHOFIELD
2020 CAMPUS BOX                         10201 S. MAIN STREET                         11960 PAULMEADOWS DR
ELON, NC 27244-2020                     HOUSTON, TX 77025                            CINCINNATI, OH 45249




ELSA MENDOZA                            ELSA RICE                                    ELSIE LITTLE
3523 CLOVER WAY                         10201 S. MAIN STREET                         C/O LAW OFFICE OF GEORGE A.
ONTARIO, CA 91761                       HOUSTON, TX 77025                            CONSTANTINE P.C.
                                                                                     ATTN: GEORGE CONSTANTINE
                                                                                     33-43 VERNON BLVD.
                                                                                     LONG ISLAND CITY, NY 11106


ELSINORE VALLEY MUNIE WTR DIST          ELSINORE VALLEY MUNIE WTR DIST               ELTON III CP LOTS 1-6 OWNER, LLC
31315 CHANEY ST                         P.O. BOX 3000                                2875 NE 191ST STREET, SUITE 800
LAKE ELSINORE, CA 92530                 LAKE ELSINORE, CA 92531-3000                 ATTN: JUAN ROBERTO DEANGULO
                                                                                     VENTURA, FL 33180




ELTON III CP LOTS 1-6 OWNER, LLC        ELVIN GONZALEZ                               ELVIN RAMIREZ
ATTN: JUAN ROBERTO DEANGULO             10201 S. MAIN STREET                         10201 S. MAIN STREET
2875 NE 191ST STREET, SUITE 800         HOUSTON, TX 77025                            HOUSTON, TX 77025
VENTURA, FL 33180




ELVIN SANTIAGO                          ELVIRA BALLAR                                ELVIS FONJUNGO
10201 S. MAIN STREET                    7742 PINEVILLE CIRCLE                        10201 S. MAIN STREET
HOUSTON, TX 77025                       CASTRO VALLEY, CA 94552                      HOUSTON, TX 77025
ELVIS GONZALEZ            Case 18-12241-CSS      Doc 26
                                         ELVIS JAMESON       Filed 10/05/18    PageELVIS
                                                                                    577PRESLEY
                                                                                         of 1739
                                                                                               ENTERPRISES LLC
10201 S. MAIN STREET                      10201 S. MAIN STREET                     ATTN: BRIDGETTE FITZPATRICK
HOUSTON, TX 77025                         HOUSTON, TX 77025                        1411 BROADWAY, 4TH FLOOR
                                                                                   NEW YORK, NY 10018




ELWOOD FIRE EQUIPMENT CO INC              ELWOOD RIDGE                             ELWOOD STAFFING -ACCOUNTS
PO BOX 285                                10201 S. MAIN STREET                     RECEIVABLE
1829 S P ST                               HOUSTON, TX 77025                        PO BOX 1024
ELWOOD, IN 46036                                                                   COLUMBUS, IN 47202




ELWOOD STAFFING SERVICES INC              ELY PAULINO                              ELYAS RAFIEE
2650 S DECKER LAKE BLVD STE 400           10201 S. MAIN STREET                     10201 S. MAIN STREET
SALT LAKE CITY, UT 84119                  HOUSTON, TX 77025                        HOUSTON, TX 77025




ELYRIA PUBLIC UTILITIES                   ELYSE RIVAS                              ELYSIAN PARTNERS
PO BOX 4018                               602 4TH ST                               ATTN: MARTIN GRASS
ELYRIA, OH 44036-4018                     MC FARLAND, CA 93250                     1877 S. FEDERAL HIGHWAY, SUITE 304
                                                                                   BOCA RATON, FL 33432




ELYSSA SMILEY                             EMANUEL REYES                            EMANUEL TRANSPORTATION INC
10201 S. MAIN STREET                      47 MAY ST                                1103 BRAEMOR HIGHLAND DR
HOUSTON, TX 77025                         LAWRENCE, MA 01841                       ZEBULON, NC 27597




EMBARCADERO TECHNOLOGIES                  EMBASSY PLAZA LLC.                       EMC BUSINESS SOLUTIONS LLP
P.O. BOX 45162                            C/O TOWN WEST REALTY INC.                100 PARK ROYAL
SAN FRANCISCO, CA 94145-0162              3002 N. CAMPBELL AVE 200                 STE 200
                                          TUCSON, AZ 85719                         WEST VANCOUVER, BC V7T 1A2
                                                                                   CANADA



EMC BUSINESS SOLUTIONS LLP                EMC4 LLC 82                              EMC4, LLC
STE 612                                   C/O BLUESTONE & HOCKLEY                  C/O MK PROPERTY SERVICES LLC
100 PARK ROYAL S                          9320 SW BARBUR BLVD STE 300              8124 FALLS AVENUE SE
WEST VANCOUVER, BC V7T 1A2                PORTLAND, OR 97219                       SNOQUALMIE, WA 98065
CANADA



EMEKA OKOLIE                              EMENIKE OJUKWU                           EMERA MAINE
10201 S. MAIN STREET                      10201 S. MAIN STREET                     PO BOX 11008
HOUSTON, TX 77025                         HOUSTON, TX 77025                        LEWISTON, ME 04243-9459




EMERALD ACA LLC                           EMERALD COAST EXPRESS DELIVERY OF        EMERALD COAST UTILITIES AUTH
3131 E CAMELBACK RD STE 310               PENSACOLA LLC                            9255 STURDEVANT ST
PHOENIX, AZ 85016                         CHARLES BRAHIER                          PENSACOLA, FL 32514
                                          6468 BERRYHILL RD
                                          MILTON, FL 32570-6818



EMERALD COAST UTILITIES AUTH              EMERALD EAGLES LP                        EMERALD EQUITIES LLC
P.O. BOX 18870                            2904 W INTERNATIONAL SPEEDWAY BLVD       C/O TRIYAR MANAGEMENT OF AZ, INC.
PENSACOLA, FL 32523-8870                  DAYTONA, FL 32124                        4501 N SCOTTSDALE RD, SUITE 201
                                                                                   ATTN: SHAWN YARI
                                                                                   SCOTTSDALE, AZ 85251
EMERALD EQUITIES, L.L.C. Case 18-12241-CSS
                                        EMERALDDoc   26 INC
                                                 ESTATES Filed    10/05/18   PageEMERALD
                                                                                  578 of ESTATES,
                                                                                          1739 LLC
C/O TRIYAR MANAGEMENT OF AZ, INC.       PO BOX 98922                             C/O KAMG MANAGEMENT
4501 NORTH SCOTTSDALE ROAD, SUITE 201   LAKEWOOD, WA 98498-0922                  3620 100TH ST. SW, SUITE A
ATTN: SHAWN YARI                                                                 LAKEWOOD, WA 98499
SCOTTSDALE, AZ 85251



EMERALD FERGUSON                        EMERALD GREEN LANDSCAPE INC              EMERALD HOME FURNISHINGS LLC
10201 S. MAIN STREET                    PO BOX 2705                              3025 PIONEER WAY EAST
HOUSTON, TX 77025                       CARMICHAEL, CA 95609                     TACOMA, WA 98443




EMERALD I-10 LLC                        EMERALD I-10, LLC                        EMERGENCY PLUMBING SERVICE
C/O TAIT DEVELOPMENT, INC.              C/O TAIT DEVELOPMENT, INC.               2765 FLORANCE RD
ATTN: LAURIE SMITH                      3131 E. CAMELBACK ROAD, SUITE 310        PONDER, TX 76259
3131 E CAMELBACK RD, STE 310            PHOENIX, AZ 85016
PHOENIX, AZ 85016



EMERITUS AT CHURCHILL                   EMERSON ALLEN                            EMERSON NETWORK POWER-LIEBERT
140 CARRIAGE CLUB DR                    10201 S. MAIN STREET                     SVRC INC
MOORESVILLE, NC 28117                   HOUSTON, TX 77025                        P.O. BOX 70474
                                                                                 CHICAGO, IL 60673-0001




EMERY COLUMNA                           EMERY TAYLOR                             EMI BRUEMMER
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




EMI BRUEMMER                            EMIL JACKSON                             EMIL MOSBACHER REAL ESTATE LLC
10201 S. MAIN STREET                    380 CREEKSIDE DR                         C/O MOSBACHER PROPERTY GROUP
HOUSTON, TX 77025                       FAIRFIELD, OH 45014                      18 E. 48TH ST 19TH FLR
                                                                                 NEW YORK, NY 10017




EMIL MOSBACHER REAL ESTATE LLC          EMIL MOSBACHER REAL ESTATE, LLC          EMILEE BRUNTON
C/O MOSBACHER PROPERTY GROUP            C/O MOSBACHER PROPERTY GROUP             2464 ALKI AVE SW 4
18 E. 48TH ST 19TH FLR                  18 EAST 48TH STREET, 19TH FLOOR          SEATTLE, WA 98116
NEW YORK, NY 10017                      NEW YORK, NY 10017




EMILEE PARSONS                          EMILIA REYNOLDS                          EMILIANO GONZALEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




EMILIENNE HULSTAERT                     EMILIO BALLEJOS                          EMILIO BERNAL
5050 ROSEVILLE RD                       10201 S. MAIN STREET                     10201 S. MAIN STREET
NORTH HIGHLANDS, CA 95660               HOUSTON, TX 77025                        HOUSTON, TX 77025




EMILIO HERRERA                          EMILY BENNION                            EMILY BRIDGES
10201 S. MAIN STREET                    1160 W 11715 S                           1421 NE WEDDLE LN
HOUSTON, TX 77025                       SOUTH JORDAN, UT 84095                   LEES SUMMIT, MO 64086
EMILY C BARNABLE      Case   18-12241-CSS     Doc 26 Filed 10/05/18
                                       EMILY CHRISTENSEN              PageEMILY
                                                                           579FLORENTINO
                                                                                of 1739
23 YARMOUTH RD                         162 W 1140 N APT 1                 10201 S. MAIN STREET
EAST ROCKAWAY, NY 11518                LOGAN, UT 84321                    HOUSTON, TX 77025




EMILY GAULT                            EMILY GREEN                        EMILY GREENE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




EMILY HILL                             EMILY HULSTAERT                    EMILY KONRARDY
10201 S. MAIN STREET                   10201 S. MAIN STREET               2060 BALD EAGLE
HOUSTON, TX 77025                      HOUSTON, TX 77025                  DUBUQUE, IA 52001




EMILY KOVELESKI                        EMILY LOPEZ                        EMILY PEREZ
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




EMILY QUESADA                          EMILY SILVA                        EMILY SPREER
8706 PRIEST RIVER DR                   10201 S. MAIN STREET               10201 S. MAIN STREET
ROUND ROCK, TX 78681                   HOUSTON, TX 77025                  HOUSTON, TX 77025




EMILY VANDERSANDEN                     EMILY VANDERSANDEN                 EMILY WAGER
10201 S. MAIN STREET                   10201 S. MAIN STREET               497 BLACKSTONE ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  SPRINGFIELD, OR 97477




EMILY WEINRICH                         EMIR MUHOVIC                       EMIRA IV
10201 S. MAIN STREET                   6066 FARMWOOD WAY                  1313 N WEBB RD STE 240
HOUSTON, TX 77025                      MABLETON, GA 30126                 WICHITA, KS 67206




EMIRI SADLER                           EMM TRANSPORT INC                  EMMA ALMAZAN
10201 S. MAIN STREET                   88-25 107TH STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      RICHMOND HILL, NY 11418            HOUSTON, TX 77025




EMMA COLEMAN                           EMMA MAIR                          EMMA SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




EMMANUEL ADAMS                         EMMANUEL AGGREY                    EMMANUEL CELESTIN
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025
EMMANUEL CHARLES        Case 18-12241-CSS    Doc
                                       EMMANUEL   26 Filed 10/05/18
                                                COMIC                      PageEMMANUEL
                                                                                580 of 1739
                                                                                        EGBEOGU
16621 SW 141 AVE                       10201 S. MAIN STREET                    10201 S. MAIN STREET
MIAMI, FL 33177                        HOUSTON, TX 77025                       HOUSTON, TX 77025




EMMANUEL ENAHORO                       EMMANUEL ESPINO                         EMMANUEL GIANNAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    STORE 114005 2441 N MAIZE RD SUITE 303
HOUSTON, TX 77025                      HOUSTON, TX 77025                       WICHITA, KS 67205




EMMANUEL HOLLAND                       EMMANUEL REMPAS                         EMMANUEL TITUS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




EMMANUEL UNAKA                         EMMES LLC                               EMMES, LLC
10201 S. MAIN STREET                   C/O SHINER MGMT GRP                     C/O SHINER MANAGEMENT GROUP, INC.
HOUSTON, TX 77025                      3201 OLD GLENVIEW RD STE 301            3201 OLD GLENVIEW ROAD, SUITE 301
                                       ATTN: MARCY SHINER EDIDIN               ATTN: MARCY SHINER EDIDIN
                                       WILMETTE, IL 60091                      WILMETTE, IL 60091



EMMET KEAYS                            EMMETT GREEN                            EMMETT SCHARF ELECTRIC CO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    1005 E LAFAYETTE ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       BLOOMINGTON, IL 61701




EMMIS AUSTIN RADIO BROADCASTING CO     EMMIS AUSTIN RADIO BROADCASTING CO LP   EMMIS AUSTIN RADIO KROX-FM
LP KBPA FM                             8309 NORTH IH 35                        PO BOX 731488
8309 NORTH IH 35                       AUSTIN, TX 78753                        DALLAS, TX 75373-1488
AUSTIN, TX 78753




EMMIS AUSTIN RADIO                     EMMIS AUSTIN RADIO-KBPA                 EMMIS BROADCASTING INDIANAPOLIS
KLBJ-FM                                PO BOX 731488                           DEPT 78950
PO BOX 731488                          DALLAS, TX 75373-1488                   PO BOX 78000
DALLAS, TX 75373-1488                                                          DETROIT, MI 48278-0950




EMMIS INDIANA BROADCASTING LP          EMMIS OPERATING COMPANY                 EMOSHINIQUE THOMPSON
WYXB-FM                                PO BOX 5472                             8622 S JUSTINE ST
40 MONUMENT CIRCLE                     NEW YORK, NY 10087-5472                 CHICAGO, IL 60620
INDIANAPOLIS, IN 46204




EMPIRE BROADCASTING SAN JOSE           EMPIRE DISTRICT                         EMPIRE DISTRICT
750 STORY RD                           602 S JOPLIN AVE                        PO BOX 219239
SAN JOSE, CA 95122                     PO BOX 127                              KANSAS CITY, MO 64121-9239
                                       JOPLIN, MO 64802




EMPIRE DUNHILL LLC                     EMPIRE DUNHILL LLC                      EMPIRE REALTY ASSOCIATES LLC
C/O DUNHILL PARTNERS                   PO BOX 398268                           C/O FELDCO DEVELOPMENT CORP.
3100 MONTICELLO AVENUE, SUITE 300      SAN FRANCISCO, CA 94139-8268            222 NEWBURY STREET, 4TH FLOOR
DALLAS, TX 75205                                                               BARRY FELDMAN
                                                                               BOSTON, MA 02116
                       Case
EMPIRE REALTY ASSOCIATES, LLC 18-12241-CSS      Doc 26 COMPANIES
                                        EMPIRE ROOFING    Filed 10/05/18
                                                                  LTD         PageEMPLOYBRIDGE
                                                                                   581 of 1739HOLDING COMPANY
C/O FELDCO DEVELOPMENT CORP.            1404 N SAM HOUSTON PKWY E 190             PO BOX 512637
222 NEWBURY STREET, 4TH FLOOR           HOUSTON, TX 77032                         LOS ANGELES, CA 90051
BARRY FELDMAN
BOSTON, MA 02116



EMPLOYEE RESOURCES SYSTEMS INC         EMPLOYMENT DEVELOPMENT DEPT                EMPLOYMENT GUIDE
29 EAST MADISON SUITE 1600             PO BOX 989061                              150 GRANBY STREET
CHICAGO, IL 60602                      WEST SACRAMENTO, CA 95798-9061             NORFOLK, VA 23510




EMPLOYMENT SECURITY DEPT               EMPLOYMENT SECURITY DEPT                   EMPLOYMENT SECURITY DIVISION
BENEFIT PMT CONTROL                    UI TAX ADMINISTRATION                      500 E THIRD STREET
PO BOX 24928                           PO BOX 34949                               CARSON CITY, NV 89713
SEATTLE, WA 98124-0928                 SEATTLE, WA 98124-1949




EMPLOYMENT STAFFING INC.               EMPLOYUS LLC                               EMPLOYUS LLC
PO BOX 4577                            4300 SOUTH I-10 SERVICE RD W STE 111       DRAWER 1625
CAROL STREAM, IL 60197-4577            METAIRIE, LA 70001                         PO BOX 5935
                                                                                  TROY, MI 48007




EMY LOUIS                              EMYLENE DALANON SMITH                      EN TOUCH SYSTEMS INC
10201 S. MAIN STREET                   395 BAYHILL DR                             DEPT 669
HOUSTON, TX 77025                      SUNNYVALE, TX 75182                        PO BOX 4343
                                                                                  HOUSTON, TX 77210-4343




ENAC                                   ENALET ENTERPRISE CORP                     ENC NEWSPAPERS
PO BOX 403911                          129-25 134TH ST                            111 CENTER ST STE 2020
ATLANTA, GA 30384                      SOUTH OZONE PARK, NY 11420                 LITTLE ROCK, AR 72201




ENC NEWSPAPERS                         ENCINITAS PLAZA REAL LLC                   ENCINITAS PLAZA REAL, LLC
ENC NEWSPAPERS                         C/O JOHNSTON PROPERTY MANAGEMENT           C/O JOHNSTON PROPERTY MANAGEMENT
PO BOX 102475                          350 N. EL CAMINO REAL, A                   350 N. EL CAMINO REAL, #A
ATLANTA, GA 30368                      ENCINITAS, CA 92024                        ENCINITAS, CA 92024




ENCINO INVESTMENTS LLC                 ENCINO INVESTMENTS, LLC                    ENCINO INVESTMENTS, LLC
PO BOX 44033                           16055 VENTURA BLVD STE 1225                ALBERT DAVIDOO
PHOENIX, AZ 85064                      ALBERT DAVIDOO                             16055 VENTURA BLVD STE 1225
                                       ENCINO, CA 91426                           ENCINO, CA 91426




ENCORE LIVE LLC                        ENCORE PROPANE LLC                         ENCYCLOMEDIA
1635 ROGERS RD                         PO BOX 2867                                1526 DEKALB AVE
FORT WORTH, TX 76107                   EL CAJON, CA 92021                         ATLANTA, GA 30307




ENDEAVOR REAL ESTATE GROUP             ENDEAVOUR STORAGE SOLUTIONS                ENDHY TOVAR MUNOZ
500 WEST 5TH STREET, STE 700           45949 WARM SPRINGS BLVD                    10201 S. MAIN STREET
ATTN: KIM SHOOK                        FREMONT, CA 94539                          HOUSTON, TX 77025
AUSTIN, TX 78701
ENDREW PAULINO           Case 18-12241-CSS
                                        ENERGYDoc  26
                                              UNITED       Filed 10/05/18   PageENFIELD
                                                                                 582 ofTRUST
                                                                                        1739
10201 S. MAIN STREET                    PO BOX 1831                             DBA WHEATON PLAZA
HOUSTON, TX 77025                       STATESVILLE, NC 28687                   200 W MADISON ST STE 4200
                                                                                CHICAGO, IL 60606




ENFIELD TRUST                           ENFIELD                                 ENGIE INSIGHT SERVICES INC (FKA ECOVA
NATIONAL SHOPPING PLAZAS INC            ATTN: PROPERTY TAX DEPT.                INC)
200 W MADISON ST STE 4200               PO BOX 10007                            1313 N ATLANTIC ST STE 5000
CHICAGO, IL 60606                       LEWISTON, ME 04243-9434                 SPOKANE, WA 99201-2330




ENGIE RESOURCES                         ENGIE RESOURCES                         ENGINEERED COMFORT SOLUTIONS INC
1990 POST OAK BLVD                      P.O. BOX 9001025                        12480 ALLEN RD
STE 1900                                LOUISVILLE, KY 40290-1025               TAYLOR, MI 48180
HOUSTON, TX 77056-3831




ENGINEERED COMFORT SOLUTIONS INC        ENGINEERED FIRE SAFETY SYSTEMS          ENGINEERED FIRE SAFETY SYSTEMS
14241 SW 120TH ST STE 101               2300 HOLCOMB BRIDGE RD STE 103          PO BOX 767873
MIAMI, FL 33186                         ROSWELL, GA 30076                       ROSWELL, GA 30076




ENGINEERED FLOORS LLC                   ENGINEERED PRODUCTS                     ENGLENE RICHARD
DBA J&J FLOORING GROUP                  9883 40TH AVE S                         6521 OLETA DR
PO BOX 1287                             SEATTLE, WA 98118                       DALLAS, TX 75217
DALTON, GA 30722




ENGLISH, VANNY                          ENNES & ASSOCIATES INC                  ENOKA SOLIAI
21 WINDER AVE                           3250 N ARLINGTON HTS RD STE 106         10201 S. MAIN STREET
TRENTON, NJ 86091-545                   ARLINGTON HEIGHTS, IL 60004             HOUSTON, TX 77025




ENOS RANCHOS LLC                        ENOS RANCHOS LLC                        ENOS RANCHOS LLC
1707 E. HIGHLAND, SUITE 100             3089 TIANA DR                           KITCHELL PROPERTY MGMT
PHOENIX, AZ 85016                       SANTA YNEZ, CA 93460                    1707 E HIGHLAND STE 100
                                                                                PHOENIX, AZ 85016




ENQUIRER MEDIA                          ENQUIRER MEDIA                          ENRIQUE BANDA
312 ELM STREET                          PO BOX 677342                           10201 S. MAIN STREET
CINCINNATI, OH 45202                    DALLAS, TX 75267-7342                   HOUSTON, TX 77025




ENRIQUE CABALLERO                       ENRIQUE CORTEZ                          ENRIQUE DELEON
10201 S. MAIN STREET                    1213 W ROCHELLE DR APT 78               10201 S. MAIN STREET
HOUSTON, TX 77025                       IRVING, TX 75062                        HOUSTON, TX 77025




ENRIQUE GONZALES                        ENRIQUE GUTIERREZ                       ENRIQUE KIMPSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
ENRIQUE MARENCO        Case 18-12241-CSS
                                      ENRIQUEDoc 26
                                              SUBER      Filed 10/05/18     PageENRIQUE
                                                                                 583 ofTENORIO
                                                                                        1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




ENRIQUE VILLAFRANCO                   ENSIGN BUILDING SOLUTIONS                 ENSYNC SOLUTIONS INC
10201 S. MAIN STREET                  745 ATLANTA HIGHWAY SUITE 108             PO BOX 843014
HOUSTON, TX 77025                     CUMMING, GA 30040                         KANSAS CITY, MO 64184-3014




ENTERCOM BOSTON LLC                   ENTERCOM BOSTON WEEI-FM                   ENTERCOM BOSTON WMJX 106.7 FM
WAAF FM                               20 GUEST ST 3RD FLOOR                     20 GUEST ST 3RD FLOOR
20 GUEST ST 3RD FL                    BRIGHTON, MA 02135                        BRIGHTON, MA 02135
BRIGHTON, MA 02135




ENTERCOM CALIFORNIA LLC DBA KRXQ-FM   ENTERCOM CALIFORNIA LLC                   ENTERCOM COMMUNICATIONS CORP DBA
5345 MADISON AVE                      KIFM-AM                                   ENTERCOM AUSTIN LLC
SACRAMENTO, CA 95841                  5345 MADISON AVE                          401 CITY AVE STE 809
                                      SACRAMENTO, CA 95841                      BALA CYNWYD, PA 19004




ENTERCOM COMMUNICATIONS CORP          ENTERCOM COMMUNICATIONS CORP              ENTERCOM COMMUNICATIONS CORP
9111 E DOUGLAS STE 130                DBA WMJX FM                               ENTERCOM BOSTON LLC(WAAF-FM)
WICHITA, KS 67207                     20 GUEST ST 3RD FLOOR                     20 GUEST ST 3RD FLOOR
                                      BOSTON, MA 02135                          BOSTON, MA 02135




ENTERCOM COMMUNICATIONS CORP          ENTERCOM COMMUNICATIONS CORP              ENTERCOM COMMUNICATIONS CORP
ENTERCOM BOSTON LLC(WEEI-FM)          ENTERCOM CALIFORNIA LLC DBA KRXQ-FM       ENTERCOM DENVER
20 GUEST ST 3RD FLOOR                 5345 MADISON AVE                          4700 S SYRACUSE ST 1050
BOSTON, MA 02135                      SACRAMENTO, CA 95841                      DENVER, CO 80237




ENTERCOM COMMUNICATIONS CORP          ENTERCOM DENVER KALC-FM                   ENTERCOM DENVER KQKS-FM
ENTERCOM KANSAS CITY                  4700 S SYRACUSE ST STE 1050               4700 S SYRACUSE ST STE 1050
7000 SQUIBB RD                        DENVER, CO 80237                          DENVER, CO 80237
MISSION, KS 66202




ENTERCOM DENVER KQMT-FM               ENTERCOM GREENSBORO                       ENTERCOM GREENSBORO
4700 S SYRACUSE ST STE 1050           WJMH-FM                                   WPAW-FM
DENVER, CO 80237                      7819 NATIONAL SERVICE RD STE 401          7819 NATIONAL SERVICE RD STE 401
                                      GREENSBORO, NC 27409                      GREENSBORO, NC 27409




ENTERCOM GREENSBORO                   ENTERCOM GREENSBORO                       ENTERCOM INDIANAPOLIS LLC
WQMG-FM                               WSMW-FM                                   9245 N MERIDIAN ST STE 300
7819 NATIONAL SERVICE RD STE 401      7819 NATIONAL SERVICE RD STE 401          INDIANAPOLIS, IN 46260
GREENSBORO, NC 27409                  GREENSBORO, NC 27409




ENTERCOM INDIANAPOLIS WNTR-FM         ENTERCOM INDIANAPOLIS WZPL-FM             ENTERCOM MADISON
9245 N MERIDIAN ST STE 300            9245 N MERIDIAN ST STE 300                7601 GANSER WAY
INDIANAPOLIS, IN 46260                INDIANAPOLIS, IN 46260                    MADISON, WI 53719
ENTERCOM MILWAUKEE Case         18-12241-CSS    Doc
                                          ENTERCOM   26 Filed 10/05/18
                                                   NORFOLK               PageENTERCOM
                                                                              584 of 1739
                                                                                      PORTLAND / DJS
11800 W GRANGE AVE                        WPTE-FM                            0700 SW BANCROFT ST
HALES CORNERS, WI 53130                   236 CLEARFIELD AVE STE 206         PORTLAND, OR 97239
                                          VIRGINIA BEACH, VA 23462




ENTERCOM SAN DIEGO LLC                    ENTERCOM SAN FRANCISCO             ENTERCOM SAN FRANCISCO
1615 MURRAY CANYON RD STE 710             KGMZ-FM                            KGMZ-FM
SAN DIEGO, CA 92108                       865 BATTERY ST                     PO BOX 100055
                                          SAN FRANCISCO, CA 94111            PASADENA, CA 91189-0055




ENTERCOM SEATTLE / DJS                    ENTERCOM WICHITA                   ENTERCOM
1100 OLIVE WAY 1650                       KDGS-FM                            5345 MADISON AVE.
SEATTLE, WA 98101                         9111 E DOUGLAS STE 130             SACRAMENTO, CA 95841
                                          WICHITA, KS 67207




ENTERCOM                                  ENTERCOM-SF                        ENTERGY ARKANSAS INC
WODS-FM                                   201 THIRD ST SUITE 1200            C/O ALAN H KATZ
83 LEO M BIRMINGHAM PKWY                  SAN FRANCISCO, CA 94103            639 LOYOLA AVE, 26TH FL
BRIGHTON, MA 02135                                                           NEW ORLEANS, LA 70113




ENTERGY ARKANSAS INC                      ENTERGY GULF STATES LA INC         ENTERGY GULF STATES LA INC
P.O. BOX 8101                             C/O ALAN H KATZ                    P.O. BOX 8103
BATON ROUGE, LA 70891-8101                639 LOYOLA AVE, 26TH FL            BATON ROUGE, LA 70891-8103
                                          NEW ORLEANS, LA 70113




ENTERGY LOUISIANA INC                     ENTERGY LOUISIANA INC              ENTERGY NEW ORLEANS INC
C/O ALAN H KATZ                           P.O. BOX 8108                      C/O ALAN H KATZ
639 LOYOLA AVE, 26TH FL                   BATON ROUGE, LA 70891-8108         639 LOYOLA AVE, 26TH FL
NEW ORLEANS, LA 70113                                                        NEW ORLEANS, LA 70113




ENTERGY NEW ORLEANS INC                   ENTERGY TEXAS INC                  ENTERGY TEXAS INC
P.O. BOX 8106                             C/O ALAN H KATZ                    P.O. BOX 8104
BATON ROUGE, LA 70891-8106                639 LOYOLA AVE, 26TH FL            BATON ROUGE, LA 70891-8104
                                          NEW ORLEANS, LA 70113




ENTERGY                                   ENTERGY                            ENTERGY
C/O ALAN H KATZ                           PO BOX 8101                        PO BOX 8103
639 LOYOLA AVE, 26TH FL                   BATON ROUGE, LA 70891-8101         BATON ROUGE, LA 70891-8103
NEW ORLEANS, LA 70113




ENTERGY                                   ENTERGY                            ENTERGY
PO BOX 8104                               PO BOX 8105                        PO BOX 8106
BATON ROUGE, LA 70891-8104                BATON ROUGE, LA 70891-8105         BATON ROUGE, LA 70891-8106




ENTERGY                                   ENTERPRISE HOLDING INC             ENTERPRISE RENT A CAR
PO BOX 8108                               PO BOX 12907                       123 W BAY AREA BLVD
BATON ROUGE, LA 70891-8108                NEWPORT NEWS, VA 23612-2907        WEBSTER, TX 77598
ENTERPRISE RENT-A-CAR Case     18-12241-CSS    DocSYSTEMS
                                         ENTERPRISE 26 Filed  10/05/18
                                                          SOLUTIONS CORP PageENTOURAGE
                                                                              585 of 1739
                                                                                       FLOORING INC
ATTN: KEVIN MCBURNETTE                    DBA LA NETWORKS                     196 WEST LINDSLEY RD
721 LAKE FRONT COMMONS STE                PO BOX 351749                       CEDAR GROVE, NJ 07009
NEWPORT NEWS, VA 23606                    LOS ANGELES, CA 90035




ENTOURAGE FLOORING INC                    ENTRAVISION COMMUNICATIONS          ENTRAVISION COMMUNICATIONS
303 FIFTH AVE STE 1908                    CORPORATION                         CORPORATION
NEW YORK, NY 10016                        41601 CORPORATE WAY                 DBA KMIR-TV
                                          PALM DESERT, CA 92260               72920 PARK VIEW DR
                                                                              PALM DESERT, CA 92260



ENTRAVISION COMMUNICATIONS                E-NUMERATE SOLUTIONS, INC. AND E-   E-NUMERATE SOLUTIONS, INC. AND E-
CORPORATION                               NUMERATE, LLC                       NUMERATE, LLC
DBA KPSE-TV                               C/O OKELLY ERNST & JOYCE LLC        C/O OROURKE LAW OFFICE LLC
72920 PARK VIEW DR                        ATTN: SEAN OKELLY                   ATTN: GERARD OROURKE
PALM DESERT, CA 92260                     901 N. MARKET STREET, SUITE 1000    1201 N. ORANGE STREET, SUITE 7260
                                          WILMINGTON, DE 19801                WILMINGTON, DE 19801


ENVENTIS                                  ENVIRO CLEANERS                     ENVIRO RESOURCES
P.O. BOX 3188                             1400 CALLOWAY DR                    8902 ANDANTE DR
MILWAUKEE, WI 53201-3188                  BAKERSFIELD, CA 93312               HOUSTON, TX 77040




ENVIRONMENTALLY CONSCIOUS RECY            ENYSSIA BLAIR                       ENZENWA ONUKWUE
P.O. BOX 20096                            10201 S. MAIN STREET                565 GREENSFERRY AVENUE 1803
PORTLAND, OR 97294                        HOUSTON, TX 77025                   ATLANTA, GA 30314




EOP LEWISVILLE LTD                        EORGE ESTRADA DBA TRI CITY FIRE     EP DOWNTOWN LLC
PO BOX 33712                              SPRINKLERS                          C/O CULLINAN PROPERTIES, LTD.
SAN ANTONIO, TX 78265-3712                603 SEAGAZE DR STE 271              2020 W. WAR MEMORIAL DRIVE, SUITE 103
                                          OCEANSIDE, CA 92054                 ATTN: MICHAEL OWENS
                                                                              PEORIA, IL 61614



EP DOWNTOWN LLC                           EP PROPERTY TWO LLC                 EP PROPERTY TWO, LLC
CULLINAN PROPERTIES                       ATTN: CHRIS PALMER                  1501 OLDE DEPOT DRIVE
420 N MAIN ST                             1501 OLDE DEPOT DRIVE               ATTN: CHRIS PALMER
EAST PEORIA, IL 61611                     EDMOND, OK 73034                    EDMOND, OK 73034




EPAX SYSTEMS INC.                         EPB ELECTRIC POWER                  EPB
14641 ARMINTA ST                          REMITTANCE PROCESSING               10 WEST ML KING BLVD
PANORAMA CITY, CA 91402-5901              PO BOX 182254                       CHATTANOOGA, TN 37402
                                          CHATTANOOGA, TN 37422-7254




EPB                                       EPCOR WATER                         EPCOR WATER
P.O. BOX 182254                           15626 N DEL WEBB BLVD               PO BOX 80036
CHATTANOOGA, TN 37422-7254                SUN CITY, AZ 85351-1602             PRESCOTT, AZ 86304-8036




EPES LOGISTICS SERVICES INC               EPES LOGISTICS SERVICES INC         EPIC LAWN CARE & LANDSCAPING
538 N REGIONAL ROAD STE A                 PO BOX 35884                        4008 W CLEARWATER AVE STE C
GREENSBORO, NC 27409                      GREENSBORO, NC 27425                KENNEWICK, WA 99336
                       Case
EPIC REAL ESTATE PARTNERS    18-12241-CSS
                          HOLDINGS I           DocC26
                                       EPIC/ JAMES       Filed
                                                   JENKINS      10/05/18
                                                            INS SRVC         PageEPIS
                                                                                  586   of 1739 LLC
                                                                                      INVESTMENTS
LLC                                    PO BOX 5668                               8901 EARHART AVE
515 CONGRESS AVE STE 1925              CONCORD, CA 94524                         ATTN: JOANNE ORENSKI
AUSTIN, TX 78701                                                                 LOS ANGELES, CA 90045




EPIS INVESTMENTS LLC                   EPIS INVESTMENTS LLC                      EPISODIC VENTURES LLC
ATTN: JOANNE ORENSKI                   FIRST FL. INTEGRITY BANK-ATTN JILL        C/O EUGENIA LIPETS
8901 EARHART AVE                       ASHLEY                                    19051 CERRO VILLA DR
LOS ANGELES, CA 90045                  3560 KRAFT RD                             VILLA PARK, CA 92861
                                       NAPLES, FL 34105



E-PLAN LLC                             E-PLAN LLC                                E-PLAN, LLC
C/O PENN REAL ESTATE GROUP             C/O PENN REAL ESTATE GROUP                C/O PENN REAL ESTATE GROUP
620 RIGHTERS FERRY ROAD                620 RIGHTERS FERRY ROAD                   620 RIGHTERS FERRY ROAD
BALA CYNWYD, PA 19004                  BALA CYNWYD, PA 19004                     BALA CYNWYD, PA 19004




EPPING WATER & SEWER DEPT              EPPING WATER & SEWER DEPT                 EPSTEIN PROPERTIES
157 MAIN ST                            157 MAIN STREET                           6 STATE STREET
EPPING, NH 03042                       EPPING, NH 03042                          P.O. BOX 2400
                                                                                 BANGOR, ME 04402




EQINVEST OWNER I LTD LLP               EQINVEST OWNER I LTD LLP                  EQUIPMENT SAVERS
280 PARK AVE 36TH FL                   JP MORGAN CHASE BANK                      PO BOX 17923
NEW YORK, NY 10017                     PO BOX 730373                             DENVER, CO 80217
                                       DALLAS, TX 75373




EQUITABLE GAS                          EQUITABLE TRUST COMPANY                   EQUITY COMMERCIAL MANAGEMENT, INC.
BOX 371820                             ONE BELLE MEADE PLACE                     ATTN: WILEY VOGT
PITTSBURGH, PA 15250-7820              4400 HARDING ROAD, SUITE 310              7450 FRANCE AVENUE SOUTH, SUITE 260
                                       ATTN: KEITH KEISLING                      EDINA, MN 55435
                                       NASHVILLE, TN 37205



EQUITY COMMUNICATIONS LP               EQUITY CONSULTANTS REAL ESTATE INC.       EQUITY INC.
BAYPORT ONE 100                        5275 MOSS LANE                            4653 TRUEMAN BOULEVARD, SUITE 100
8025 BLACK HORSE PIKE                  GRANITE BAY, CA 95746                     HILLIARD, OH 43026
WEST ATLANTIC CITY, NJ 08232




EQUITY INVESTMENT GROUP                EQUITY MANAGEMENT GROUP, INC.             EQUITY MANAGEMENT PARTNERS, INC.
ATTN: ANN MARIE QUEEN                  JASON TAYLER                              ATTN: MIKE BOUNOS
127 WEST BERRY STREET, SUITE 300       840 E HIGH STREET                         P.O. BOX 171
FORT WAYNE, IN 46802                   LEXINGTON, KY 40502                       LARGO, FL 33771




EQUITY ONE (DARINOR) LLC               EQUITY ONE (FLORIDA PORTFOLIO) INC        EQUITY ONE (FLORIDA PORTFOLIO) INC
WELLS FARGO                            ATTN: LEGAL DEPARTMENT                    PO BOX 01-9170
PO BOX 781428                          1600 NE MIAMI GARDENS DRIVE               MIAMI, FL 33101-9170
PHILADELPHIA, PA 19178-1428            NORTH MIAMI BEACH, FL 33179




EQUITY ONE (FLORIDA PORTFOLIO) INC.    EQUITY ONE (FLORIDA PORTFOLIO) INC.       EQUITY ONE (FLORIDA PORTFOLIO) INC.
1600 NE MIAMI GARDENS DRIVE            ATTN: LEGAL DEPARTMENT                    C/O REGENCY CENTERS CORPORATION
ATTN: LEGAL DEPARTMENT                 1600 NE MIAMI GARDENS DRIVE               ONE INDEPENDENT DRIVE, SUITE 114
NORTH MIAMI BEACH, FL 33179            NORTH MIAMI BEACH, FL 33179               ATTN: LEASE ADMINISTRATION
                                                                                 JACKSONVILLE, FL 32202
                       Case 18-12241-CSS
EQUITY ONE (FLORIDA PORTFOLIO) INC.           Doc(NORTHEAST
                                      EQUITY ONE   26 FiledPORTFOLIO)
                                                               10/05/18INC   PageEQUITY
                                                                                  587 of  1739
                                                                                        ONE (SAN CARLOS) LLC
C/O REGENCY CENTERS CORPORATION       PO BOX 953657                               2106 UNION ST, 3RD FL
ONE INDEPENDENT DRIVE, SUITE 114      ST. LOUIS, MO 63195-3657                    SAN FRANCISCO, CA 94123
ATTN: LEGAL DEPARTMENT
JACKSONVILLE, FL 32202



EQUITY ONE (SAN CARLOS) LLC            EQUITY ONE (SAN CARLOS) LLC                EQUITY ONE INC
C/O REGENCY CENTER L.P.                PO BOX 31001-0725                          ATTN: T748629
ONE INDEPENDENT DRIVE, SUITE 114       PASADENA, CA 91110-0725                    PO BOX 740462
ATTN: LEGAL DEPARTMENT                                                            ATLANTA, GA 30374-0462
JACKSONVILLE, FL 32202



EQUITY ONE INC.                        EQUITY ONE REALTY & MANAGEMENT FL,         EQUITY ONE
PO BOX 404716                          INC.                                       BOYNTON PLAZA
ATLANTA, GA 30384-4716                 ATTN: PROPERTY MANAGEMENT                  P.O. BOX 740462
                                       1550 NE MIAMI GARDENS DRIVE                ATLANTA, GA 30374
                                       NORTH MIAMI BEACH, FL 33179



EQUITY, LLC                            EQY INVEST OWNER I LTD LLP                 EQY INVEST OWNER I LTD LLP
4653 TRUEMAN BLVD., SUITE 100          280 PARK AVE 36H FLOOR                     C/O J P MORGAN CHASE BANK
HILLIARD, OH 43026                     NEW YORK, NY 10017                         P O BOX 730373
                                                                                  DALLAS, TX 75373-0373




EQY INVEST OWNER I LTD., L.L.P.        EQY INVEST OWNER I LTD., L.L.P.            EQY INVEST OWNER I LTD., L.L.P.
280 PARK AVE 36H FLOOR                 C/O GLOBAL REALTY & MANAGEMENT             C/O J P MORGAN CHASE BANK
NEW YORK, NY 10017                     15866 CHAMPION FOREST DRIVE                P O BOX 730373
                                       SPRING, TX 77379                           DALLAS, TX 75373-0373




EQYINVEST OWNER I                      ERA BC PARTNERS LTD                        ERAINNA JOHNSON
C/O J P MORGAN CHASE BANK              10101 REUNION PLACE STE 160                10201 S. MAIN STREET
P O BOX 730373                         SAN ANTONIO, TX 78216                      HOUSTON, TX 77025
DALLAS, TX 75373-0373




ERASMO CANDIDO                         EREP FOREST HILL I LLC                     EREP FOREST HILL I, LLC
10201 S. MAIN STREET                   MSC 328                                    C/O EPIC REAL ESTATE PARTNERS LLC
HOUSTON, TX 77025                      PO BOX 11984                               515 CONGRESS AVENUE, SUITE 1925
                                       BIRMINGHAM, AL 35202-1984                  AUSTIN, TX 78701




EREP MARKET PLACE I LLC                EREP MARKET PLACE I, LLC                   ERG BELTERRA LTD
BBVA COMPASS                           515 CONGRESS AVENUE, SUITE 1925            ATTN: RETAIL ACCOUNTS RECEIVABLES
PO BOX 4436 MSC 350                    AUSTIN, TX 78701                           500 W 5TH ST STE 700
HOUSTON, TX 77210                                                                 AUSTIN, TX 78701




ERGOMOTION FULFILLMENT                 ERGOMOTION INC                             ERGOMOTION INC.
19 E ORTEGA ST                         19 E ORTEGA ST                             PO BOX 8330
SANTA BARBARA, CA 93101                SANTA BARBARA, CA 93101                    GOLETA, CA 93118




ERGOMOTION                             ERI ECONOMIC RESEARCH INSTITUTE INC        ERIANNA WARRIOR
PO BOX 8330                            PO BOX 3524                                10201 S. MAIN STREET
GOLETA, CA 93118                       SEATTLE, WA 98124-3524                     HOUSTON, TX 77025
ERIC ACOSTA            Case 18-12241-CSS     Doc 26
                                      ERIC ADAMS         Filed 10/05/18   PageERIC
                                                                               588ANDERSON
                                                                                    of 1739
10201 S. MAIN STREET                  15 TRINITY TURN                         10201 S. MAIN STREET
HOUSTON, TX 77025                     WILLINGBORO, NJ 08046                   HOUSTON, TX 77025




ERIC ARENS                            ERIC AUSTIN HERNANDEZ                   ERIC B. HUGHES
10201 S. MAIN STREET                  6833 AMIGO AVE                          DISTRICT MANAGER-SOUTHWEST FLORIDA
HOUSTON, TX 77025                     RESEDA, CA 91335                        9936 MONTAGUE ST
                                                                              TAMPA, FL 33626




ERIC BARTON                           ERIC BEARD                              ERIC BELANGER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC BERKEY                           ERIC BERNACHE                           ERIC BIGELOW
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC BISHOP                           ERIC BOGUSLAWSKI                        ERIC BOULER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC BROWN                            ERIC BULLARD                            ERIC CAPPO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC CARDOZA                          ERIC CHRISTY                            ERIC CITSAY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC CLARKE                           ERIC CLAY                               ERIC COTTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC CRUZ                             ERIC DARKO                              ERIC DAVIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC DECKER                           ERIC DENSMORE                           ERIC DONAHUE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
ERIC DUBOIS            Case 18-12241-CSS     Doc 26
                                      ERIC DURAND        Filed 10/05/18   PageERIC
                                                                               589FALLETTA
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC FITZSIMMONS                      ERIC FORNER                             ERIC FUENTES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    7802 CRESTBROOK MANOR
HOUSTON, TX 77025                     HOUSTON, TX 77025                       CYPRESS, TX 77433




ERIC GARGUS                           ERIC GILLEN                             ERIC GOLDMAN
5703 ELM BRANCH DR                    10201 S. MAIN STREET                    10201 S. MAIN STREET
ARLINGTON, TX 76017                   HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC GOODNIGHT                        ERIC GOODWIN                            ERIC GREENE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC GREIFENSTEIN                     ERIC GRIESSER                           ERIC GROSENBACHER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC HARBRUCKER                       ERIC HARBRUCKER                         ERIC HARMON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC HARPER                           ERIC HARRELL                            ERIC HAWN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC HENDERSON                        ERIC HORN                               ERIC HUDDLESTON
13471 AMBER LANE                      10201 S. MAIN STREET                    10201 S. MAIN STREET
FARMINGTON, AR 72730                  HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC HUDSON                           ERIC HUGHES                             ERIC HUGHES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC HUMPHREYS                        ERIC IFILL                              ERIC JOHNSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
ERIC KELLY             Case 18-12241-CSS     Doc 26
                                      ERIC KLETZ         Filed 10/05/18   PageERIC
                                                                               590KURTZ
                                                                                    of 1739
481 RIVERVIEW RD                      10201 S. MAIN STREET                    10201 S. MAIN STREET
DELANO, MN 55328                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC LASANTE                          ERIC LE                                 ERIC LEIGH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC LIM                              ERIC LUSTER                             ERIC LUTZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    4808 PORLIER LN
HOUSTON, TX 77025                     HOUSTON, TX 77025                       PASCO, WA 99301




ERIC MAI                              ERIC MASTRIANO                          ERIC MATTHEWS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC MCCARTNEY                        ERIC MCCUBBIN                           ERIC MCGINNIS
6833 LAKEVIEW HAVEN DR 438            10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77083                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC MCMURRAY                         ERIC MILLER                             ERIC MORTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC MOSELEY                          ERIC MOUDA                              ERIC NELSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC NEUROHR                          ERIC NIELSEN                            ERIC NIZIBIAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1405 CAULFIELD LN STE M
HOUSTON, TX 77025                     HOUSTON, TX 77025                       PETALUMA, CA 94954




ERIC OASE                             ERIC ORTIZ                              ERIC PILGRIM
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC PINKNEY                          ERIC PROUDFIT                           ERIC RICHARDSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
ERIC RILEY             Case 18-12241-CSS     Doc 26
                                      ERIC ROBBINS       Filed 10/05/18   PageERIC
                                                                               591RODERICK
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC RODRIGUEZ                        ERIC RODRIGUEZ                          ERIC ROSENCRANCE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC RUBINO                           ERIC RUSSELL                            ERIC SALDIERNA
10201 S. MAIN STREET                  6977 S INGLENOOK CV APT 1706            10201 S. MAIN STREET
HOUSTON, TX 77025                     MIDVALE, UT 84047                       HOUSTON, TX 77025




ERIC SALINAS                          ERIC SCHIFF                             ERIC SCHOENHALS
10201 S. MAIN STREET                  208 KNOLLVIEW DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                     GREENVILLE, SC 29611                    HOUSTON, TX 77025




ERIC SERNA                            ERIC SIMPKINS                           ERIC ST CLAIR
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC STEINBERG                        ERIC STEVENS                            ERIC STOCKY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC STONEBRAKER                      ERIC STONEBRAKER                        ERIC STROM
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC STRONG                           ERIC TEMPLE                             ERIC THOMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC TIDD                             ERIC TOLEDANO                           ERIC TURNAGE
                                      10201 S. MAIN STREET                    10201 S. MAIN STREET
                                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC TURNER                           ERIC WATSON                             ERIC WELLS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
ERIC WHEELER            Case 18-12241-CSS     Doc 26
                                       ERIC WHITE         Filed 10/05/18   PageERIC
                                                                                592WHITED
                                                                                    of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC WHITENER                          ERIC WICKLIFFE                          ERIC WOODS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIC ZEITUNIAN                         ERIC ZIMMERMAN                          ERICA AZEVEDO
7979 OAK MEADOW CT                     109 E 8TH NORTH ST LOT 15               10201 S. MAIN STREET
HUDSONVILLE, MI 49426                  SUMMERVILLE, SC 29483                   HOUSTON, TX 77025




ERICA BATISTA                          ERICA BIBAK                             ERICA BOGER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ERICA CALLAWAY                         ERICA COLLINS                           ERICA ERB
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




ERICA FLORES                           ERICA IRIZARRY                          ERICA JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    5 FLAXVIEW TERRACE
HOUSTON, TX 77025                      HOUSTON, TX 77025                       LYNN, MA 01904




ERICA JOHNSTON                         ERICA JURPIK                            ERICA K GAINEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    4231 E END ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       CHARLOTTE, NC 28208




ERICA KILE                             ERICA KING                              ERICA KING
10201 S. MAIN STREET                   2231 W ROCKROSE PL                      5529 110TH AVE N APT 208
HOUSTON, TX 77025                      CHANDLER, AZ 85248                      PINELLAS PARK, FL 33782




ERICA LANE                             ERICA LIEBSCH                           ERICA LIPMAN-WHITE
10201 S. MAIN STREET                   1331 FOUNTIAN DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                      TROY, MI 48098                          HOUSTON, TX 77025




ERICA MAKATCHIE                        ERICA MARIN                             ERICA MOORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
ERICA PRADO            Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      ERICA PRODANOVIC               PageERICA
                                                                          593SHEIKOWITZ
                                                                               of 1739
10201 S. MAIN STREET                  535 COUNTY RD 204 TRLR 8           10201 S. MAIN STREET
HOUSTON, TX 77025                     DURANGO, CO 81301                  HOUSTON, TX 77025




ERICA SIRI                            ERICA SIRI                         ERICA THOMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ERICA TUCKER                          ERICA TUCKER                       ERICA VASQUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ERICA WALLACE                         ERICA WARREN                       ERICC MOLINA
10201 S. MAIN STREET                  10201 S. MAIN STREET               3526 W EVERGREEN
HOUSTON, TX 77025                     HOUSTON, TX 77025                  CHICAGO, IL 60651




ERICH BUNOFSKY                        ERICK CHAMBERS                     ERICK GONZALEZ-CARDONA
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ERICK HUMPHREY                        ERICK JEFFERSON                    ERICK LUNA
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




ERICK POWELL                          ERICK RATLIFF                      ERICK RODRIQUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET               8435 SW 156 CT 1025
HOUSTON, TX 77025                     HOUSTON, TX 77025                  MIAMI, FL 33193




ERICK VALDEZ                          ERICK VALES                        ERICKA LOZANO
973 E VILLA ST 5                      10201 S. MAIN STREET               2205 LAUREL OAKS DR
PASADENA, CA 91106                    HOUSTON, TX 77025                  IRVING, TX 75060




ERICKSON, KEVIN                       ERIE COUNTY D.O.E.S.               ERIE COUNTY
566 LYNN AVE                          PO BOX 469                         2900 COLUMBUS AVE
WEST DEPTFORD, NJ 80961-485           554 RIVER RD                       SANDUSKY, OH 44870
                                      HURON, OH 44839




ERIE COUNTY                           ERIK ANDERSON                      ERIK ARMENDARIZ
PO BOX 549                            10201 S. MAIN STREET               10201 S. MAIN STREET
SANDUSKY, OH 44871-0549               HOUSTON, TX 77025                  HOUSTON, TX 77025
ERIK BERRY             Case 18-12241-CSS      Doc 26
                                      ERIK C SMITH         Filed 10/05/18   PageERIK
                                                                                 594   of 1739
                                                                                     DODDS
10201 S. MAIN STREET                   269 GROVE ST                             10201 S. MAIN STREET
HOUSTON, TX 77025                      NORWELL, MA 02061                        HOUSTON, TX 77025




ERIK GOSHORN                           ERIK HASHBARGER                          ERIK HAYES
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ERIK J JOHNSON                         ERIK LAPRE                               ERIK LOPEZ
37 JACOBS TRAIL                        10201 S. MAIN STREET                     10201 S. MAIN STREET
NORWELL, MA 02061                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ERIK MARTINEZ                          ERIK PORTER                              ERIK RODRIGUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     3220 SW 128TH AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                        MIAMI, FL 33175




ERIK TOUSSAINT                         ERIK TRAMEL                              ERIK WESTFALL
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ERIK WILCZEWSKI                        ERIK WILCZEWSKI                          ERIK WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ERIK WILLIAMS                          ERIKA AMACHER                            ERIKA ARCHIBEK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     4820 BELLFLOWER AVE 101
HOUSTON, TX 77025                      HOUSTON, TX 77025                        NORTH HOLLYWOOD, CA 91601




ERIKA GREEN                            ERIKA JIMENEZ                            ERIKA LESSNER
10201 S. MAIN STREET                   2120 E HOWELL AVE STE 502                10201 S. MAIN STREET
HOUSTON, TX 77025                      ANAHEIM, CA 92806                        HOUSTON, TX 77025




ERIKA MORENO                           ERIKA RIVAS                              ERIKA SLOMINSKI
7457 DEL ROSA AVE                      10201 S. MAIN STREET                     10201 S. MAIN STREET
SAN BERNARDINO, CA 92410               HOUSTON, TX 77025                        HOUSTON, TX 77025




ERIKA STAIGER                          ERIN ANDERSON                            ERIN BRITTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
ERIN CALVO             Case 18-12241-CSS     Doc 26
                                      ERIN DRESELLY      Filed 10/05/18   PageERIN
                                                                               595HEALEY
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIN HUGHES                           ERIN LINDQUIST-BAKER                    ERIN NELSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIN PUIS                             ERIN PUTTER                             ERIN THOMPSON
2802 108TH ST                         10201 S. MAIN STREET                    10201 S. MAIN STREET
LUBBOCK, TX 79423                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERIN WERNER                           ERIN WHITMYER                           ERIS MASON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERLAN ARIAS                           ERLINDA NIELSON                         ERMA LEWIS
10201 S. MAIN STREET                  7920 COUNTRY CLUB DR 11306              10201 S. MAIN STREET
HOUSTON, TX 77025                     SACHSE, TX 75048                        HOUSTON, TX 77025




ERMCAR, INC.                          ERMCO INC                               ERMCO INC
DBA EC RETAIL STUDIO                  1625 W THOMPSON RD                      PO BOX 1507
2252 NORTHWST PARKWAY STE. F          INDIANAPOLIS, IN 46217                  INDIANAPOLIS, IN 46206
MARIETTA, GA 30067




ERMIAS KAHSAY                         ERNEST ADAMS                            ERNEST AYALA DBA EADESIGNS UNLIMITED
10201 S. MAIN STREET                  10201 S. MAIN STREET                    5808 S MEADOW
HOUSTON, TX 77025                     HOUSTON, TX 77025                       PASADENA, TX 77505




ERNEST AYALA                          ERNEST BANKS DBA AVAILABLE MOVERS       ERNEST C WHITE
10201 S. MAIN STREET                  1017 W LANDRY ST                        1030 JACK PRIMUS RD APT 8106
HOUSTON, TX 77025                     OPELOUSAS, LA 70570                     DANIEL ISLAND, SC 29492-5000




ERNEST CALHOUN                        ERNEST DICK                             ERNEST GIROD
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




ERNEST HANCOCK                        ERNEST JAMES                            ERNEST JOHNSON D/B/A PLEASANT REALTY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    P.O. BOX 283
HOUSTON, TX 77025                     HOUSTON, TX 77025                       AUBURN, MA 01501
                      Case 18-12241-CSS
ERNEST JOHNSON DBA PLEASANT REALTY   ERNEST Doc  26 DBA
                                            JOHNSON    Filed 10/05/18
                                                         PLEASANT REALTY   PageERNETTA
                                                                                596 ofBRYANT
                                                                                       1739
PO BOX 283                           PO BOX 283                                9033 17TH AVE NORTH
AUBURN, MA 01501                     AUBURN, MA 01501-0283                     BIRMINGHAM, AL 35206




ERNIE GARCIA                          ERNST LANGE                              ERP HILLCREST LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET                     C/O BRIXMOR PROPERTY GROUP
HOUSTON, TX 77025                     HOUSTON, TX 77025                        PO BOX 645321
                                                                               CINNCINNATI, OH 45264-5321




ERP HILLCREST LLC                     ERP HILLCREST, LLC                       ERP HILLCREST, LLC
C/O BRIXMOR PROPERTY GROUP            C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP
PO BOX 645321                         1003 HOLCOMB WOODS PARKWAY               450 LEXINGTON AVENUE, 13TH FLOOR
CINNCINNATI, OH 45264-5321            ATTN: VICE PRESIDENT OF LEGAL SERVICES   ATTN: GENERAL COUNSEL
                                      ROSWELL, GA 30076                        NEW YORK, NY 10017



ERP OPERATING LIMITED                 ERRICK DOUGLAS                           ERROL WINT
KINGS COLONY                          10201 S. MAIN STREET                     10201 S. MAIN STREET
8961 SW 142 AVE                       HOUSTON, TX 77025                        HOUSTON, TX 77025
MIAMI, FL 33186




ERT 163RD STREET MALL LLC             ERVIN NIXON                              ERVIN WILLIAMS
C/O CENTRO NP LLC-REIT 19 CNP         10201 S. MAIN STREET                     10201 S. MAIN STREET
P.O. BOX 281116                       HOUSTON, TX 77025                        HOUSTON, TX 77025
ATLANTA, GA 30384-1116




ERWIN & ESTHER SUTTON LIVING TRUST    ERWIN & ESTHER SUTTON LIVING TRUST       ERYN DEATON
14 KASTOR LANE                        14 KASTOR LANE                           10201 S. MAIN STREET
W LONG BRANCH, NJ 07764               WEST LONG BRANCH, NJ 07764               HOUSTON, TX 77025




ES KLUFT & CO DBA AIRELOOM BEDDING    ES KLUFT & COMPANY LLC                   ESC LAKE CHARLES LLC
ES KLUFT CO LLC                       AIRELOOM                                 ATTN: MICHAEL MEENA
11096 JERSEY BLVD STE 101             11096 JERSEY BLVD STE 101                25129 THE OLD ROAD, SUITE 350
RANCHO CUCAMONGA, CA 91730            RANCHO CUCAMONGA, CA 91786               STEVENSON RANCH, CA 91381




ESC LAKE CHARLES, LLC                 ESC NORCAL LLC A DELAWARE LLC            ESCALATE, INC
25129 THE OLD ROAD, SUITE 350         4 ORINDA WAY SUITE 180-C                 P.O. BOX 842694
ATTN: MICHAEL MEENA                   ORINDA, CA 94563                         BOSTON, MA 02284-2694
SANTA CLARITA, CA 91381




ESCAMBIA COUNTY TAX COLLECTOR         ESCONDIDO DISPOSAL INC.                  ESCONDIDO DISPOSAL INC.
ATTN: PROPERTY TAX DEPT.              1021 W MISSION AVE                       P.O. BOX 5608
PO BOX 1312                           ESCONDIDO, CA 92025                      BUENA PARK, CA 90622-5608
PENSACOLA, FL 32591




ESI/EMPLOYEE SOLUTIONS LP             ESKO ROOFING & SHEET METAL               ESKRIDGE, TRAVIS
3585 NATIONAL DR                      14000 SIMONE DR                          10 HILLSIDE AVE
PLANO, TX 75025                       SHELBY TOWNSHIP, MI 48315                NEW YORK, NY 10040-2217
ESMERALDA CARLOS        Case 18-12241-CSS    DocMORENO
                                       ESMERALDA 26 Filed 10/05/18         PageESMERALDA
                                                                                597 of 1739
                                                                                         OROZCO
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ESMITH REALTY PARTNERS DALLAS LLC       ESPAYLINE MARCELIN                     ESPLANADE MEDICAL CENTER LTD
TOLLWAY PLAZA NORTH                     10201 S. MAIN STREET                   470 BILTMORE WAY STE 100
16000 DALLAS PARKWAY STE 550 N          HOUSTON, TX 77025                      CORAL GABLES, FL 33134
DALLAS, TX 75248




ESPLANADE MEDICAL CENTER, LTD.          ESPOSITO, CHRISTINE                    ESPY STRATEGIC SOLUTIONS INC
470 BILTMORE WAY, SUITE 100             25034 RUSHMORE TER                     22110 BAYMIST COURT
CORAL GABLES, FL 33134                  LITTLE NECK, NY 11362-1365             KATY, TX 77450




ESQUIRE DEPOSITION SOLUTIONS LLC        ESQUIRE DEPOSITION SOLUTIONS LLC       ESSENCE THOMAS
101 MARIETTA ST STE 2700                PO BOX 846099                          10201 S. MAIN STREET
ATLANTA, GA 30303                       DALLAS, TX 75284-6099                  HOUSTON, TX 77025




ESSENTIAL SERVICES & PROGRAMS LLC       ESSEX MANAGEMENT CO                    ESSEX MANAGEMENT CO.
135 CROSSWAYS PARK DR                   60 CUTTER MILL RD                      60 CUTTER MILL RD
PO BOX 9017                             P.O. BOX 386                           P.O. BOX 386
WOODBURY, NY 11797                      GREAT NECK, NY 11022                   GREAT NECK, NY 11022




ESSEX MANAGEMENT CO.                    ESSEX PORTFOLIO LP                     ESSEX PORTFOLIO, L.P.
60 CUTTERMILL RD, 309                   DBA MB360                              C/O ESSEX PROPERTY TRUST, INC.
GREAT NECK, NY 11021                    1100 PARK PLACE STE 200                1100 PARK PLACE, SUITE 200
                                        SAN MATEO, CA 94403                    ATTN: MIKE INJAYAN, DIRECTOR
                                                                               SAN MATEO, CA 94403



ESSEY LOGISTICS LLC                     EST LLC                                ESTATE OF ALLIE BARROW
DBA TEMPOSITIONS                        EXCEL SOLUTIONS TEAM                   10201 S. MAIN STREET
622 THIRD AVE 39TH FLOOR                11767 KATY FREEWAY STE 1010            HOUSTON, TX 77025
NEW YORK, NY 10017                      HOUSTON, TX 77079




ESTATE OF RALPH BOOHER                  ESTATE OF STEPHEN J HUTT               ESTATE OF STEPHEN J. HUTT
C/O SAN MATEO CO PUBLIC ADMINISTRATOR   EARL M TEMCHIN EXECUTOR                C/O EARL M. TEMCHIN, EXECUTOR
225 37TH AVE                            PO BOX 268                             18 PECK STREET
SAN MATEO, CA 94403                     WEST HAVEN, CT 06516                   ATTN: SCHETTINO & TEMCHIN
                                                                               NORTH HAVEN, CT 06473



ESTATE OF STEPHEN J. HUTT               ESTATE OF STEPHEN J. HUTT              ESTATE OF TRINA BEDDINGFIELD
CHRIS LESLIE                            EARL M TEMCHIN EXECUTOR                10201 S. MAIN STREET
18 PECK STREET                          PO BOX 268                             HOUSTON, TX 77025
NORTH HAVEN, CT 06473                   WEST HAVEN, CT 06516




ESTER HITCHENS                          ESTES EXPRESS LINES                    ESTEVAN BELIZ
10201 S. MAIN STREET                    3901 W BROAD ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                       PO BOX 25612                           HOUSTON, TX 77025
                                        RICHMOND, VA 23260-5612
ESTEVAN HAMMOND         Case 18-12241-CSS
                                       ESTIBENDoc 26
                                              ROCHA        Filed 10/05/18    PageESTRADA,
                                                                                  598 of RUBEN
                                                                                          1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                     5027 UNIVERSITY AVE APT 9
HOUSTON, TX 77025                       HOUSTON, TX 77025                        SAN DIEGO, CA 92105-2178




ESTRINA HUGHES                          ETAGE EVENTS LLC                         ETC DIME LLC
10201 S. MAIN STREET                    916 SIX FLAGS DR 180                     L-3769
HOUSTON, TX 77025                       ARLINGTON, TX 76010                      COLUMBUS, OH 43260-3769




ETC DIME, LLC                           ETHAN DE ROSE                            ETHAN NELSON
C/O STEINER REAL ESTATE SERVICES, LLC   10201 S. MAIN STREET                     10201 S. MAIN STREET
4016 TOWNSFAIR WAY, SUITE 201           HOUSTON, TX 77025                        HOUSTON, TX 77025
ATTN: LEASE ADMINISTRATION
COLUMBUS, OH 43219



ETHAN POPE                              ETHAN PULLIAM                            ETOWAH COUNTY REV COMM
10201 S. MAIN STREET                    10201 S. MAIN STREET                     800 FORREST AVE RM 005
HOUSTON, TX 77025                       HOUSTON, TX 77025                        GADSDEN, AL 35901




ETOWAH                                  ETTAMARIE VALDEZ                         EUDD ACE
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                     10201 S. MAIN STREET
PO BOX 187                              HOUSTON, TX 77025                        HOUSTON, TX 77025
GADSDEN, AL 35902




EUGEN BARBU                             EUGENE A. DELLE DONNE & SON LP-WRA       EUGENE A. DELLE DONNE & SON LP-WRA
10201 S. MAIN STREET                    C/O DELLE DONNE & ASSOCIATES, LLC        C/O DELLE DONNE & ASSOCIATES, LLC
HOUSTON, TX 77025                       200 CONTINENTAL DR STE 200               200 CONTINENTAL DR STE 200
                                        NEWARK, DE 19713                         NEWARK, DE 19713




EUGENE A. DELLE DONNE & SON, LP-WRA     EUGENE ADAMS                             EUGENE ANDERSON
C/O DELLE DONNE & ASSOCIATES, LLC       10201 S. MAIN STREET                     10201 S. MAIN STREET
200 CONTINENTAL DRIVE, SUITE 200        HOUSTON, TX 77025                        HOUSTON, TX 77025
NEWARK, DE 19713




EUGENE ANDERSON                         EUGENE ANDERSON                          EUGENE BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                     390 MCGILL PLACE
HOUSTON, TX 77025                       HOUSTON, TX 77025                        ATLANTA, GA 30312




EUGENE CABLE NCC                        EUGENE CLAPP                             EUGENE COMBO KEZI
PO BOX 3350                             10201 S. MAIN STREET                     PO BOX 7009
BOSTON, MA 02241                        HOUSTON, TX 77025                        EUGENE, OR 97401




EUGENE M. MAGIER, ESQ.                  EUGENE SIMPKINS                          EUGENE TWOMEY
687 HIGHLAND AVENUE, SUITE I            10201 S. MAIN STREET                     10201 S. MAIN STREET
NEEDHAM, MA 02494                       HOUSTON, TX 77025                        HOUSTON, TX 77025
                     Case
EUGENE WATER & ELECTRIC     18-12241-CSS
                        BOARD         EUGENEDoc   26& ELECTRIC
                                              WATER     Filed 10/05/18
                                                               BOARD     PageEUGENE
                                                                              599 ofZUNIGA
                                                                                     1739
500 E 4TH AVE                         PO BOX 8990                            10201 S. MAIN STREET
EUGENE, OR 97401                      VANCOUVER, WA 98668-8990               HOUSTON, TX 77025




EUGENIO FLORES                        EUGENIO GARCIA                         EUREKA WATER CO
10201 S. MAIN STREET                  10201 S. MAIN STREET                   729 SW 3RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                      OKLAHOMA CITY, OK 73109




EUREKA WATER CO                       EURELCA SOTO                           EUROPEAN EQUITIES CORPORATION
PO BOX 26730                          10201 S. MAIN STREET                   JEFF MATLOCK
OKLAHOMA CITY, OK 73126               HOUSTON, TX 77025                      2605 ENTERPRISE RD. E.
                                                                             CLEARWATER, FL 33759




EUSEBIO BARRON                        EVAMARIA FOLTZ                         EVAN BALLEW
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




EVAN BASTRAW                          EVAN BROWN                             EVAN BURKE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




EVAN D YEOMAN                         EVAN DAVIS                             EVAN GAGNON
1127 17TH AVE                         10201 S. MAIN STREET                   10201 S. MAIN STREET
LEWISTON, ID 83501                    HOUSTON, TX 77025                      HOUSTON, TX 77025




EVAN GONZALEZ                         EVAN GRIMES                            EVAN HANSEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




EVAN HOKE                             EVAN HUNNICUTT                         EVAN JOHNSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




EVAN KAPELA                           EVAN KESTELOOT                         EVAN LEWINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




EVAN MITCHELL                         EVAN PROPERTY CORP                     EVAN PROPERTY CORP.
10201 S. MAIN STREET                  PO BOX 641                             ATTN: MEL GETLAN, PRESIDENT
HOUSTON, TX 77025                     NEW ROCHELLE, NY 10802                 14 WEYMAN AVENUE
                                                                             NEW ROCHELLE, NY 10805
EVAN PROPERTY CORP. Case     18-12241-CSS     Doc 26
                                       EVAN RANDALL        Filed 10/05/18   PageEVAN
                                                                                 600STANLEY
                                                                                     of 1739
P.O. BOX 641                           10201 S. MAIN STREET                     10201 S. MAIN STREET
NEW ROCHELLE, NY 10802                 HOUSTON, TX 77025                        HOUSTON, TX 77025




EVAN VERMULLEN                         EVAN VERMULLEN                           EVAN WHITLOW
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




EVANS & MULLINIX PA                    EVANS PROPERTIES                         EVANS, JASON
7225 RENNER RD 200                     509 N HWY 69                             2323 E WELDON AVENUE
SHAWNEE MISSION, KS 66217              LEONARD, TX 75452                        PHOENIX, AZ 85016




EVANSVILLE COURIER CO INC.             EVANSVILLE COURIER PRESS                 EVANSVILLE WATER & SEWER UTIL
PO BOX 5380                            PO BOX 630871                            1 N.W. ML KING JR BLVD ROOM 104
CINCINNATI, OH 45201                   CINCINNATI, OH 45263-0871                EVANSVILLE, IN 47740




EVANSVILLE WATER & SEWER UTIL          EVANSVILLE WATER & SEWER UTIL            EVANSVILLE WATERWORKS DEPT
1 NW MARTIN LUTHER KING JR BLVD        P.O. BOX 19                              PO BOX 19
EVANSVILLE, IN 47708                   EVANSVILLE, IN 47740-0001                EVANSVILLE, IN 47740-0001




EVARISTO T SALAZAR                     EVAURORA GALARZA                         EVE HUMMEL
DBA L&R WINDOW CLEANING SERVICES       10201 S. MAIN STREET                     10201 S. MAIN STREET
2121 QUAIL HOLLOW DR                   HOUSTON, TX 77025                        HOUSTON, TX 77025
GRAND PRAIRIE, TX 75051




EVE ZAMORA                             EVEL GUEVARA                             EVELINA MONTGOMERY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




EVELIO BAILON                          EVELYN DUPART                            EVELYN HAGER
10201 S. MAIN STREET                   2040 BECK ST.                            736 SPICEWOOD DR
HOUSTON, TX 77025                      NEW ORLEANS, LA 70131                    LAKELAND, FL 33801




EVELYN HIDALGO                         EVELYN OLIVER                            EVELYN SWAIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




EVENING POST INDUSTRIES                EVENT PARTNERSHIP LLC                    EVEREST INDEMNITY INSURANCE
C/O AIKEN STANDARD                     1776 TRIBUTE RD STE 230                  COMPANY, C/O AMWINS BROKERAGE OF
PO BOX 20395                           SACRAMENTO, CA 95815                     NEW JERSEY, INC.
CHARLESTON, SC 29413                                                            105 FIELDCREST AVE
                                                                                SUITE 200
                                                                                EDISON, NJ 08837
                      Case
EVEREST SOFTWARE LP DBA      18-12241-CSS
                         SHERPA        EVERETTDoc    26 Filed
                                                 BARROW         10/05/18   PageEVERETT
                                                                                601 ofHOLMES
                                                                                       1739
SOFTWARE PARTNERS LP                   10201 S. MAIN STREET                    10201 S. MAIN STREET
456 WASHINGTON AVE STE 2               HOUSTON, TX 77025                       HOUSTON, TX 77025
BRIDGEVILLE, PA 15017




EVERETT SPORTS MARKETING LLC           EVERETT WASHINGTON                      EVERGREEN AVENUE ASSOCIATES LP
1027 S MAIN ST 404                     10201 S. MAIN STREET                    C/O DR RICHARD CUTLER
GREENVILLE, SC 29601                   HOUSTON, TX 77025                       467 PENNSYLVANIA AVE STE 104
                                                                               FORT WASHINGTON, PA 19034




EVERGREEN AVENUE ASSOCIATES LP         EVERGREEN AVENUE ASSOCIATES, LP         EVERGREEN COMMERCIAL REALTY, LLC
75 STENTON AVE                         C/O DR. RICHARD CUTLER                  ATTN: JANICE C. CORNIA
PLYMOUTH MEETING, PA 19462             467 PENNSYLVANIA AVE, SUITE 104         2390 E. CAMELBACK ROAD, SUITE 410
                                       FORT WASHINGTON, PA 19034               PHOENIX, AZ 85016




EVERGREEN LANDSCAPE SERVICE            EVERGREEN MCDOWELL & PEBBLE CREEK       EVERGREEN PLAZA II, LLC
PO BOX 3902                            LLC                                     C/O COAST REAL ESTATE SERVICES
MERCED, CA 95344                       ATTN: PROPERTY MGMT ACCOUNTING          2829 RUCKER AVENUE, SUITE 100
                                       200 N MARYLAND AVE STE 201              EVERETT, WA 98201
                                       GLENDALE, CA 91206



EVERGREEN PLAZA PHASE II               EVERGREEN SIGN CO                       EVERGUARD SYSTEMS
PO BOX 98922                           1513 CENTRAL AVE S                      12485 LOMA RICA DR
TACOMA, WA 98498                       KENT, WA 98032                          GRASS VALLEY, CA 95945




EVERITE TIME & EQUIP LLC               EVERRET SHORTS                          EVERSOURCE
4997 BLOUNTSTOWN HWY                   10201 S. MAIN STREET                    ATTN HONOR HEALTH, LEGAL DEPT
TALLAHASSEE, FL 32304                  HOUSTON, TX 77025                       107 SELDEN ST
                                                                               BERLIN, CT 06037




EVERSOURCE                             EVERYONE SOCIAL                         EVERYWHERE LLC
PO BOX 650047                          P.O. BOX 8270                           154 KROG ST STE 130
DALLAS, TX 75265                       MIDVALE, UT 84047                       ATLANTA, GA 30307




EVESHAM TOWNSHIP FIRE DISTRICT NO. 1   EVETTE TEJADA                           EVIN GRIES
PO BOX 276                             10201 S. MAIN STREET                    10201 S. MAIN STREET
MARLTON, NJ 08053                      HOUSTON, TX 77025                       HOUSTON, TX 77025




EVIN MARROW                            EVOLUTION MANAGEMENT & MARKETING        EVOLVE HOLDINGS INC
10201 S. MAIN STREET                   LLC                                     10555 COSSEY RD
HOUSTON, TX 77025                      4133 REDWOOD AVE STE 1007               HOUSTON, TX 77070
                                       LOS ANGELES, CA 90066




EVON HERNANDEZ                         EVONNE POWELL                           EVY BARRETT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
EW AUGUSTINE LLC       Case   18-12241-CSS    Doc 26
                                        EW MANDARIN LLC Filed 10/05/18        PageEW
                                                                                   602  of 1739
                                                                                     NORTH LAUDERDALE LLC
ATTN: GLORIA FERNANDEZ                  2875 NE 191 ST STE 800                    2875 NE 191ST STE 800
2875 NE 191 ST STE 800                  AVENTURA, FL 33180                        AVENTURA, FL 33180
AVENTURA, FL 33180




EW PARKLAND LLC                         EW SCRIPPS COMPANY MILWAUKEE              EW TALLY LLC
2875 NE 191 ST STE 800                  PO BOX 203575                             ATTN: BARBARA SMITH
AVENTURA, FL 33180                      DALLAS, TX 75320-3575                     2875 NE 191ST STE 800
                                                                                  AVENTURA, FL 33180




EW WEST TENN TALLY LLC                  EXCEL COMMERCIAL                          EXCEL COMMERCIAL
ELION PARTNERS                          PO BOX 650582                             PO BOX 660344
2875 NE 191ST ST STE 800                DALLAS, TX 75265                          DALLAS, TX 75266-0344
AVENTURA, FL 33180




EXCEL DOCK DOOR & LIFT SOLUTIONS,LLC    EXCEL ELEVATOR & ESCALATOR CORP           EXCEL FORT UNION LLC
7575 TYLER BLVD C42                     PO BOX 80284                              EXCEL EAST CHASE LLC
MENTOR, OH 44060                        STATEN ISLAND, NY 10308                   PO BOX 101206
                                                                                  ATLANTA, GA 30392-1206




EXCEL INTERNATIONAL SLEEP               EXCEL LEAGUE CITY II LP                   EXCEL LEAGUE CITY II LP
PO BOX 109                              C/O SHOPCORE PROPERTIES, LP               C/O SHOPCORE PROPERTIES, LP; ATTN:
LIBERTY CORNER, NJ 07938                TWO LIBERTY PLACE, SUITE 3325             LEGAL DEPARTMENT
                                        50 SOUTH 16TH STREET                      TWO LIBERTY PLACE, SUITE 3325
                                        PHILADELPHIA, PA 19102                    50 SOUTH 16TH STREET
                                                                                  PHILADELPHIA, PA 19102


EXCEL MICRO LLC                         EXCEL MONTE VISTA LP                      EXCEL MONTE VISTA LP
PO BOX 62934                            C/O SHOPCORE PROPERTIES, LP               C/O SHOPCORE PROPERTIES, LP
BALTIMORE, MD 21264-2934                10920 VIA FRONTERA, SUITE 220             307 FELLOWSHIP ROAD, SUITE 116
                                        ATTN: LEGAL DEPARTMENT                    ATTN: OFFICE OF THE GENERAL COUNSEL
                                        SAN DIEGO, CA 92127                       MT. LAUREL, NJ 08054



EXCEL MONTE VISTA LP                    EXCEL ODESSA LLC                          EXCEL ODESSA LLC
EXCEL EAST CHASE LLC                    C/O SHOPCORE PROPERTIES, LP               C/O SHOPCORE PROPERTIES, LP
PO BOX 101206                           10920 VIA FRONTERA STE 220                10920 VIA FRONTERA, SUITE 220
ATLANTA, GA 30392-1206                  SAN DIEGO, CA 92127                       SAN DIEGO, CA 92127




EXCEL PROMENADE LLC                     EXCEL PROMENADE LLC                       EXCEL PROMENADE LLC
C/O SHOPCORE PROPERTIES, LP             C/O SHOPCORE PROPERTIES, LP               C/O SHOPCORE PROPERTIES, LP; ATTN:
10920 VIA FRONTERA STE 220              TWO LIBERTY PLACE, SUITE 3325             LEGAL DEPARTMENT
ATTN: LEGAL DEPARTMENT                  50 SOUTH 16TH STREET                      TWO LIBERTY PLACE, SUITE 3325
SAN DIEGO, CA 92127                     PHILADELPHIA, PA 19102                    50 SOUTH 16TH STREET
                                                                                  PHILADELPHIA, PA 19102


EXCEL RIVERPOINT, LLC                   EXCEL RIVERPOINT, LLC                     EXCEL ROCKWALL LLC
C/O SHOPCORE PROPERTIES, LP             C/O SHOPCORE PROPERTIES, LP               C/O SHOPCORE PROPERTIES, LP
10920 VIA FRONTERA STE 220              307 FELLOWSHIP ROAD, SUITE 116            TWO LIBERTY PLACE, SUITE 3325
ATTN: LEGAL DEPARTMENT                  ATTN: OFFICE OF THE GENERAL COUNSEL       50 SOUTH 16TH STREET
SAN DIEGO, CA 92127                     MT. LAUREL, NJ 08054                      PHILADELPHIA, PA 19102



EXCEL ROCKWALL LLC                      EXCEL STOCKTON LLC                        EXCEL STOCKTON LLC
C/O SHOPCORE PROPERTIES, LP; ATTN:      C/O SHOPCORE PROPERTIES, LP               C/O SHOPCORE PROPERTIES, LP
LEGAL DEPARTMENT                        10920 VIA FRONTERA STE 220                307 FELLOWSHIP ROAD, SUITE 116
TWO LIBERTY PLACE, SUITE 3325           ATTN: LEGAL DEPARTMENT                    ATTN: OFFICE OF THE GENERAL COUNSEL
50 SOUTH 16TH STREET                    SAN DIEGO, CA 92127                       MT. LAUREL, NJ 08054
PHILADELPHIA, PA 19102
EXCEL TRS RC MANAGEMENT Case
                           LLC   18-12241-CSS     Doc LP
                                           EXCEL TRUST 26- MANTECA
                                                             Filed 10/05/18    PageEXCEL
                                                                                    603 TRUST
                                                                                         of 1739
                                                                                              LP - MANTECA
C/O SHOPCORE PROPERTIES, LP                 C/O SHOPCORE PROPERTIES, LP            C/O SHOPCORE PROPERTIES, LP
10920 VIA FRONTERA, SUITE 220               10920 VIA FRONTERA, SUITE 220          307 FELLOWSHIP ROAD, SUITE 116
ATTN: LINDA MADWAY                          ATTN: LEGAL DEPARTMENT                 ATTN: OFFICE OF THE GENERAL COUNSEL
SAN DIEGO, CA 92128                         SAN DIEGO, CA 92127                    MT. LAUREL, NJ 08054



EXCEL TRUST LP                              EXCEL TRUST LP                         EXCEL TRUST LP
17140 BERNARDO CENTER DR STE 300            C/O EXCEL PREMENADE LLC                C/O EXCEL PREMENADE LLC
SAN DIEGO, CA 92128                         PO BOX 27324                           PO BOX 27324
                                            SAN DIEGO, CA 92198                    SAN DIEGO, CA 92198-1324




EXCEL TRUST LP                              EXCEL TRUST LP                         EXCEL TRUST LP
EXCEL EAST CHASE LLC                        LOCKBOX A                              PO BOX 27324
PO BOX 101206                               PO BOX 845377                          SAN DIEGO, CA 92198-1324
ATLANTA, GA 30392-1206                      LOS ANGELES, CA 90084-5377




EXCEL TRUST LP-MANTECA                      EXCEL TRUST LP-STOCKTON                EXCEL TRUST LP-TRACY
EXCEL EAST CHASE LLC                        EXCEL EAST CHASE LLC                   EXCEL EAST CHASE LLC
PO BOX 101206                               PO BOX 101206                          PO BOX 101206
ATLANTA, GA 30392-1206                      ATLANTA, GA 30392-1206                 ATLANTA, GA 30392




EXCEL TRUST LP-TRACY                        EXCEL WEST BROAD MARKETPLACE LLC       EXCELL ELECTRIC
EXCEL EAST CHASE LLC                        17140 BERNARDO CENTER DR STE 300       PO BOX 181944
PO BOX 101206                               SAN DIEGO, CA 92128                    DALLAS, TX 75218
ATLANTA, GA 30392-1206




EXCENTUS CORPORATION                        EXCESS SPACE RETAIL SERVICES INC       EXCO INC DBA MICHIANA TRUCK CENTER
ATTN: BRANDON LOGSDON                       ATTN: MICHAEL WIENER                   PO BOX 1815
14241 DALLAS PWY STE 400                    ONE HOLLOW LANE STE 112                MURFREESBORO, TN 37133-1815
DALLAS, TX 75254                            LAKE SUCCESS, NY 11042




EXCO INC DBA MICHIANA TRUCK CENTER          EXECUTIVE PRESS                        EXETER TOWNSHIP
PO BOX 3838                                 1400 PRESIDENTIAL DR 110               P.O. BOX 6188
SOUTH BEND, IN 46619                        RICHARDSON, TX 75081                   HERMITAGE, PA 16148-0922




EXETER TOWNSHIP                             EXIT OPTIONS REALTY                    EXPEDIA INC
THE WASTEWATER DEPARTMENT                   7800 SHOAL CREEK BLVD STE 100N         333 108TH AVE NE
4975 DEMOSS ROAD                            AUSTIN, TX 78757                       BELLEVUE, WA 98004
READING, PA 19606




EXPEDIA INC                                 EXPO SERVICES LLC                      EXPON EXHIBITS
DBA EGENCIA LLC                             PO BOX 2969                            909 FEE DRIVE
PO BOX 847677                               ZANESVILLE, OH 43702                   SACRAMENTO, CA 95815
DALLAS, TX 75284-7677




EXPONENT INC                                EXPONENT INC                           EXPRESS COMMERCIAL CLEANING INC
149 COMMONWEALTH DR                         PO BOX 200283                          2255 COUNTY ROAD 172 STE 301
MENLO PARK, CA 94025                        DEPT 002                               ROUND ROCK, TX 78681
                                            DALLAS, TX 75320-0283
EXPRESS DELIVERY TODAYCase
                        LLC      18-12241-CSS    Doc
                                           EXPRESS    26 Filed
                                                   EMPLOYMENT    10/05/18 PageEXPRESS
                                                              PROFESSIONALS    604 ofGLASS
                                                                                      1739& BOARD UP SERVICE INC
12001 E WASHINGTON ST STE C                9701 BOARDWALK BLVD                  11040 SW 36TH ST
INDIANAPOLIS, IN 46229                     OKLAHOMA CITY, OK 73162              MIAMI, FL 33165




EXPRESS ONE DELIVERY LLC                   EXPRESS SERVICES INC                 EXPRESS SERVICES INC
81 HALL LANE                               PO BOX 203901                        PO BOX 269011
TRENTON, GA 30752                          DALLAS, TX 75320-3901                OKLAHOMA CITY, OK 73126




EXPRESS SERVICES INC                       EXPRESS SERVICES INC                 EXPRESS TOLL - E-470 PUBLIC HWY
PO BOX 535434                              PO BOX 844277                        AUTHORITY
ATLANTA, GA 30353-5434                     LOS ANGELES, CA 90084-4277           PO BOX 5470
                                                                                DENVER, CO 80217




EXPRESS TRUCKING LCC                       EXTOLE INC                           EXTRA HELP INC
787B LONG ISLAND AVE                       DEPT LA 24339                        ST LOUIS
MEDFORD, NY 11763                          PASADENA, CA 91185-4339              3911 W ERNESTINE DR
                                                                                MARION, IL 62959




EXTRA SPACE MANAGEMENT INC                 EXTRA SPACE STORAGE                  EXTREME REACH
2795 E COTTONWOOD PKWY                     CARROLLTON - W FRANKFORD RD          75 SECOND AVE STE 720
SUITE 400                                  1417 W FRANKFORD RD                  NEEDHAM, MA 02494
SALT LAKE CITY, UT 84121                   CARROLLTON, TX 75007




EZENWA ONUKWUE                             EZEQUIEL ENRIQUEZ                    EZRA LANGHAM
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




F & D DELIVERY SERVICES INC                F & M SORCI LAND CO. INC             F & NS TRUCKING
3360 NW 175 ST                             BIAGINI PROP                         125 LEDGEWOOD MILL WAY
MIAMI GARDENS, FL 33156                    333 W EL CAMINO RL STE 240           LAWRENCEVILLE, GA 30045
                                           SUNNYVALE, CA 94087




F & S INVESTMENTS GP                       F & S INVESTMENTS GP                 F&S INVESTMENTS GP
C/O THE TOM DAY COMPANY                    C/O THE TOM DAY COMPANY              C/O THE TOM DAY COMPANY
208 S. JOHNSON STREET, 325                 208 S. JOHNSON STREET, 325           208 S. JOHNSON STREET, #325
MC KINNEY, TX 75069                        MCKINNEY, TX 75069                   MCKINNEY, TX 75069




F.E. MORAN INC FIRE PROTECTION             F.E. MORAN INC                       FAAGAOI PETELO
3001 RESEARCH RD STE A                     FIRE PROTECTION                      10201 S. MAIN STREET
CHAMPAIGN, IL 61822                        3001 RESEARCH RD STE A               HOUSTON, TX 77025
                                           CHAMPAIGN, IL 61822




FAAIZAH DREWRY                             FAALT LLC                            FAAMAILE FAINU
10201 S. MAIN STREET                       ATTN: PEGGY SULLIVAN                 10201 S. MAIN STREET
HOUSTON, TX 77025                          5812 DARLINGTON RD                   HOUSTON, TX 77025
                                           PITTSBURGH, PA 15217
FAAMAUSILI, RHYS         Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                        FABIAN ALVARADO                      PageFABIAN
                                                                                  605 of  1739
                                                                                        HOYOS
84-814 FARRINGTON HWY                    10201 S. MAIN STREET                    10201 S. MAIN STREET
WAIANAE, HI 96792-2001                   HOUSTON, TX 77025                       HOUSTON, TX 77025




FABIAN ROBERTSON                         FABIO BOLANOS                           FABIO LAM
10201 S. MAIN STREET                     7331 NW 74TH ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                        MEDLEY, FL 33166                        HOUSTON, TX 77025




FABIO MENDONCA                           FABIO PINA                              FABIOLA AGUILAR-RAMIREZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




FABIOLA BUSTAMANTE                       FABLIN TOUSSAINT                        FABRICTECH 2000 LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                    CAPITAL BUISINESS CREDIT
HOUSTON, TX 77025                        HOUSTON, TX 77025                       P O BOX 100895
                                                                                 ATLANTA, GA 30384-4174




FABRITECH 2000 LLC TRADING AS FABRITEC   FABRITECH 2000 LLC                      FABRITECH 2000 LLC
INTERNATIONAL                            TRADING AS FABRITEC INTERNATIONAL       TRADING AS FABRITEC INTERNATIONAL
CAPITAL BUSINESS CREDIT LLC              ATTN: CHIEF FINANCIAL OFFICER           ATTN: CHIEF FINANCIAL OFFICER
PO BOX 100895                            11 STEWART PLACE                        8145 HOLTON DR, STE 110
ATLANTA, GA 30384-4174                   FAIRFIELD, NJ 07004                     FLORENCE, NY 41042



FABRIZIO POZZOBON GIL                    FABULOUS FINISHES INC                   FACE TO FACE LIVE, INC.
10201 S. MAIN STREET                     18325 PEACHTREE DR                      PO BOX 25541
HOUSTON, TX 77025                        TINLEY PARK, IL 60487                   SCOTTSDALE, AZ 85255




FACEBOOK INC                             FACILITY SOLUTIONS GROUP                FACTORY BUILDER STORES
ATTN: ACCTS RECV                         PO BOX 896508                           8700 FALLBROOK DR
15161 COLLECTIONS CENTER DR              CHARLOTTE, NC 28289-6508                HOUSTON, TX 77064
CHICAGO, IL 60693




FACTORY SERVICE AGENCY INC.              FADI ALRASHDAN                          FADI KATAT
2713 ATHANIA PKWY                        10201 S. MAIN STREET                    10201 S. MAIN STREET
METAIRIE, LA 70002                       HOUSTON, TX 77025                       HOUSTON, TX 77025




FAGALCHUGRAD, AUGUSTINE                  FAHAD ALYAMI                            FAIR CITY HHH LLC
16677 NE RUSSELL ST                      10201 S. MAIN STREET                    W510156
PORTLAND, OR 97230                       HOUSTON, TX 77025                       PO BOX 7777
                                                                                 PHILADELPHIA, PA 19175




FAIR CITY HHH, LLC                       FAIR CITY HHH, LLC                      FAIR LAKE PROMENADE RETAIL LLC
C/O HHH PROPERTIES CORP.                 W510156                                 12225 FAIR LAKES PROMENADE DR
4001 WILLIAMSBURG COURT                  PO BOX 7777                             FAIRFAX, VA 22033
FAIRFAX, VA 22032                        PHILADELPHIA, PA 19175
                      CaseLLC
FAIR LAKES PROMENADE RETAIL 18-12241-CSS      DocPROMENADE
                                      FAIR LAKES   26 Filed   10/05/18
                                                            RETAIL, LLC      PageFAIRBORN
                                                                                  606 of EQUIPMENT
                                                                                          1739     CO INC
PO BOX 417212                         C/O RAPPAPORT MANAGEMENT COMPANY           225 TARHE TRAIL
BOSTON, MA 02241-7212                 8405 GREENSBORO DRIVE, 8TH FLOOR           PO BOX 123
                                      MCLEAN, VA 22102-5121                      UPPER SANDUSKY, OH 43351




FAIRBROOK RIDGE                       FAIRBROOK RIDGE, LLC                       FAIRBURNE PROPERTIES
2258 HIGHWAY 70 SE                    2258 HIGHWAY 70 SE                         DONNA CZACHURA
HICKORY, NC 28602                     HICKORY, NC 28602                          1 EAST WACKER DRIVE, SUITE 2900
                                                                                 CHICAGO, IL 60601




FAIRCHILD WASTE CONTROL               FAIRCHILD WASTE CONTROL                    FAIRCLOUGH PROPANE
118 STORCH ST                         P.O. BOX 2041                              91 HAMPTON HOUSE RD.
SAGINAW, MI 48602                     SAGINAW, MI 48605                          NEWTON, NJ 07860




FAIRFAX CITY                          FAIRFAX COUNTY                             FAIRFAX WATER
ATTN: PROPERTY TAX DEPT.              ATTN: PROPERTY TAX DEPT.                   8570 EXECUTIVE PARK AVE
10455 ARMSTRONG ST                    12099 GOVERNMENT CENTER PKWY 3RD           FAIRFAX, VA 22031
FAIRFAX, VA 22030                     FLOOR
                                      FAIRFAX, VA 22035



FAIRFAX WATER                         FAIRFIELD COMMONS STATION LLC              FAIRFIELD COMMONS STATION LLC
P.O. BOX 71076                        33340 COLLECTION CENTER DR                 C/O PHILLIPS EDISON & COMPANY
CHARLOTTE, NC 28272-1076              CHICAGO, IL 60693-0333                     11501 NORTHLAKE DRIVE
                                                                                 ATTN: ROBERT F. MYERS, COO
                                                                                 CINCINNATI, OH 45249



FAIRFIELD DEVELOPMENT                 FAIRFIELD DEVELOPMENT                      FAIRFIELD MUNICIPAL UTILITIES
300 MOUSE CREEK ROAD                  P.O. BOX 5689                              1000 WEBSTER STREET
CLEVELAND, TN 37312                   CLEVELAND, TN 37320                        FAIRFIELD, CA 94533-4836




FAIRFIELD TOWN CENTER LLC             FAIRFIELD TOWN CENTER LLC                  FAIRFIELD TOWN CENTER LLC
28902 HIGHWAY 290                     C/O M.S. MANAGEMENT ASSOCIATES, INC.       PO BOX 776362
CYPRESS, TX 77433                     225 WEST WASHINGTON STREET                 CHICAGO, IL 60677-6362
                                      INDIANAPOLIS, IN 46204-3438




FAIRFIELD WOODS PLAZA LLC             FAIRFIELD WOODS PLAZA LLC                  FAIRFIELD WOODS PLAZA LLC
C/O KLEBAN PROPERTIES LLC             C/O KLEBAN PROPERTIES LLC                  C/O KLEBAN PROPERTIES LLC
1189 POST RD STE 3B                   1189 POST RD STE 3B                        1189 POST RD STE 3B
FAIRFIELD, CT 06824                   FAIRFIELD, CT 06824                        FAIRFIELD, CT 06824




FAIRFIELD WOODS PLAZA, LLC            FAIRFIELD                                  FAIRGROUNDS SITE MGMT GROUP
C/O KLEBAN PROPERTIES, LLC            ATTN: PROPERTY TAX DEPT.                   CLARK COUNTY FAIR
1189 POST ROAD, SUITE 3B              PO BOX 638                                 17402 NE DELFEL RD
FAIRFIELD, CT 06824                   FAIRFIELD, CT 06824                        RIDGEFIELD, WA 98642




FAIRHAVEN HUH 2014 LLC                FAIRHAVEN HUH 2014, LLC                    FAIRHAVEN
22 MAPLE AVE                          FELECIA EDEL                               ATTN: PROPERTY TAX DEPT.
MORRISTOWN, NJ 07960                  221 HUTTLESTON AVENUE                      40 CENTER STREET
                                      FAIRHAVEN, MA 02719                        FAIRHAVEN, MA 02719
                       Case
FAIRLAWN MARKET PARTNERS LLC18-12241-CSS     Doc
                                      FAIRLAWN     26 PARTNERS
                                                MARKET  Filed 10/05/18
                                                                LLC         PageFAIRLAWN
                                                                                 607 of STATION
                                                                                         1739 LLC
24925 VISTA VERENDA                   ALTERMAN COMMERCIAL R.E.                  PHILLIPS EDISON ARC SHOPPING CNTR
WOODLAND HILLS, CA 91367              PO BOX 191228                             OPERATING PARTNERSHIP LP
                                      ATLANTA, GA 31119                         11501 NORTHLAKE DR
                                                                                CINCINNATI, OH 45249



FAIRLAWN STATION LLC                  FAIRLAWN STATION                          FAIROOZ IMAGING LLC
PO BOX 645414                         C/O PHILLIPS EDISON & COMPANY             1901 EUCLID AVE
PITTSBURGH, PA 15264                  11501 NORTHLAKE DRIVE                     DALLAS, TX 75206
                                      CINCINNATI, OH 45249




FAIRPLAIN NVO LLC                     FAIRPLEX                                  FAIRPOINT COMMUNICATIONS
1 EAST 52ND ST 4TH FL                 1101 W MCKINLEY AVE                       PO BOX 11021
NEW YORK, NY 10022                    POMONA, CA 91768                          LEWISTON, ME 04243-9472




FAIRPOINT COMMUNICATIONS              FAIRPOINT                                 FAIRVIEW HEIGHTS LM PROPERTIES LLC
PO BOX 580028                         521 E MOREHEAD ST                         C/O LENETTE REALTY & INVESTMENT CO
CHARLOTTE, NC 28258-0028              CHARLOTTE, NC 28202                       ATTN: JERRY BYNUM
                                                                                1401 S BRENTWOOD BLVD 520
                                                                                SAINT LOUIS, MO 63144



FAIRVIEW HEIGHTS LM PROPERTIES LLC    FAIRVIEW HEIGHTS LM PROPERTIES, LLC       FAIRWAY MGMT GROUP, LLC
C/O LENETTE REALTY & INVESTMENT CO    C/O LENETTE REALTY & INVESTMENT           728 SHADES CREEK PARKWAY, SUITE 200
ATTN: JERRY BYNUM                     COMPANY                                   BIRMINGHAM, AL 35209
1401 S BRENTWOOD BLVD 520             1401 SOUTH BRENTWOOD BOULEVARD,
ST. LOUIS, MO 63144                   SUITE 520
                                      ATTN: JERRY BYNUM
                                      ST. LOUIS, MO 63005

FAIRWAY OUTDOOR FUNDING               FAIRWAY PADS LTD                          FAIRWAY PADS, LTD.
PO BOX 60125                          PO BOX 203762                             105 TOWN CENTER ROAD, SUITE 10
CHARLOTTE, NC 28260                   DALLAS, TX 75320-3762                     KING OF PRUSSIA, PA 19406




FAIRWAY SADLER LLC                    FAIRWAY-SADLER, LLC                       FAISON-WINDOR INVESTORS LLC
FAIRWAY MGMT GROUP LLC                C/O FAIRWAY MANAGEMENT GROUP, LLC         FAISON & ASSOCIATES
728 SHADES CREEK PKWY STE 210         728 SHADES CREEK PARKWAY, SUITE 200       27TH FLOOR 121 WEST TRADE ST
BIRMINGHAM, AL 35209                  BIRMINGHAM, AL 35209                      CHARLOTTE, NC 28202-5399




FAITALA PAGA                          FAITH AHRENS                              FAITH BURTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




FAITH DAVIS                           FAITH HOOD                                FAITH JOHNSON
10201 S. MAIN STREET                  150 HOOD ACRES RD                         10201 S. MAIN STREET
HOUSTON, TX 77025                     KINGS MOUNTAIN, NC 28086                  HOUSTON, TX 77025




FAITH KOEHLER                         FAITH LAUREN WOOD                         FAITH LOCK & SAFE INC
10201 S. MAIN STREET                  10201 S. MAIN STREET                      PO BOX 128
HOUSTON, TX 77025                     HOUSTON, TX 77025                         PEGRAM, TN 37143
FAITH SMITH             Case 18-12241-CSS     Doc FOSTER
                                       FAITHBRIDGE 26 Filed
                                                         CARE 10/05/18       PageFAIZ
                                                                                  608   of 1739
                                                                                      MOHAMED RIYAL
10201 S. MAIN STREET                    2655 NORTHWINDS PKWY                     10201 S. MAIN STREET
HOUSTON, TX 77025                       ALPHARETTA, GA 30009                     HOUSTON, TX 77025




FALCONI REALTY CO LLC                   FALCONI REALTY CO, LLC                   FALL RIVER SHOPPING CENTER EAST LLC
ATTN: JEANNE SCHMIDT                    4 FRANKLIN STREET                        PO BOX 590249
4 FRANKLIN STREET                       ATTN: JEANNE SCHMIDT                     NEWTON, MA 02459
MILTON, MA 02186-5522                   MILTON, MA 02186




FALL RIVER SHOPPING CENTER EAST LLC     FALL RIVER                               FALLS CHURCH
C/O ALLEN ASSOCIATES PROPERTIES, INC.   ATTN: PROPERTY TAX DEPT.                 ATTN: PROPERTY TAX DEPT.
P.O. BOX 590249                         PO BOX 844515                            300 PARK AVE STE 103E
ATTN: DOUGLAS ALLEN                     BOSTON, MA 02284                         FALLS CHURCH, VA 22046
NEWTON CENTRE, MA 02459



FALMOUTH HOLDING REALTY CORPORATION     FALMOUTH HOLDING REALTY CORPORATION      FALMOUTH HOLDING REALTY CORPORATION
1328 MOTOR PARKWAY                      1328 MOTOR PKWY                          ATTN: BOB STERNBERG
ATTN: BOB STERNBERG                     FARMINGVILLE, NY 11749                   1328 MOTOR PARKWAY
HAUPPAUGE, NY 11749                                                              HAUPPAUGE, NY 11749




FALMOUTH                                FAMILIA RODRIGUEZ DELIVERY SERVICE       FAMILY FEATURES EDITORIAL SYNDICATE
ATTN: PROPERTY TAX DEPT.                4759 OWEN RD                             INC
PO BOX 783                              MEMPHIS, TN 38122                        5825 DEARBORN ST
READING, MA 01867-0406                                                           MISSION, KS 66202




FAMILY GATEWAY INC                      FAMILY SUPPORT CENTER                    FAMILY SUPPORT REGISTRY
711 S ST PAUL ST                        PO BOX 109001                            PO BOX 1800
DALLAS, TX 75201                        JEFFERSON CITY, MO 65110-9001            CARROLLTON, GA 30112-1800




FAMILY SUPPORT REGISTRY                 FANA FEDERAL WAY CROSSINGS LP            FANA FEDERAL WAY CROSSINGS OWNER
PO BOX 2171                             FANA GROUP COMPANIES                     LLC
DENVER, CO 80201-2171                   10655 NE 4TH ST STE700                   C/O FANA GROUP OF COMPANIES
                                        BELLEVUE, WA 98004                       10655 NE 4TH STREET, SUITE 700
                                                                                 ATTN:JOHN POWERS
                                                                                 BELLEVUE, WA 98004


FANDANGO LLC                            FANITH, JOSE                             FANITH, JOSE
62305 COLLECTIONS CENTER DR             11 APPLEGATE DR                          370 SKYLINE DR
CHICAGO, IL 60693                       ROBBINSVILLE, NJ 86912-341               STATEN ISLAND, NY 10304-4608




FANNY PENA                              FANTASIA DAVIS                           FARAMA T MANSARAY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     7400 ROOSEVELT BLVD B102
HOUSTON, TX 77025                       HOUSTON, TX 77025                        PHILADELPHIA, PA 19152




FARAMARZ GOLCHIN                        FARELLO PENGEL                           FARELLO PENGEL
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
FARES AZZOUG              Case 18-12241-CSS
                                         FARHAT Doc 26
                                                SUMRA       Filed 10/05/18   PageFARIAH
                                                                                  609 of  1739
                                                                                        MUHAMMAD
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




FARID SHAHROUDI                          FARIDES MALOFF                          FARIS IBRADZIC
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




FARMER ELECTRIC COOPERATIVE              FARMERS ELECTRIC COOPERATIVE            FARMERS ELECTRIC COOPERATIVE
P.O. BOX 558                             2000 EAST I-30                          P.O. BOX 5800
SULPHUR SPRINGS, TX 75483-0558           GREENVILLE, TX 75402                    GREENVILLE, TX 75403-5800




FARMERS NEW WORLD LIFE INSURANCE CO      FARMINGTON CITY CORPORATION             FARRAH BEAN
DBA DEN RETAIL 1 LLC                     PO BOX 160                              4518 HIXSON PIKE APT C6
4680 WILSHIRE BLVD                       160 S MAIN                              HIXSON, TN 37343
LOS ANGELES, CA 90010                    FARMINGTON, UT 84025




FARRAH LUCERO                            FARRELL BENTLEY                         FARRELLFRITZ P.C.
10201 S. MAIN STREET                     10201 S. MAIN STREET                    1320 RXR PLAZA
HOUSTON, TX 77025                        HOUSTON, TX 77025                       UNIONDALE, NY 11556




FARZANA KHAN                             FASTENAL COMPANY                        FASTPATH INC
10201 S. MAIN STREET                     PO BOX 978                              PO BOX 310573
HOUSTON, TX 77025                        WINONA, MN 55987-0978                   DES MOINES, IA 50331-0573




FASTSIGNS                                FASTSIGNS                               FAT BOYS FLEET SERVICES
1424 N BATTLEFIELD BLVD                  9620 M STREET                           210 S OREGON AVE
CHESAPEAKE, VA 23320                     OMAHA, NE 68127                         PASCO, WA 99301




FATASHA R LUMPKIN                        FATHALLAH EL MOUHAJIR                   FAULKNER COUNTY TAX COLLECTOR
122 ARMSTRONG ST                         10201 S. MAIN STREET                    806 FAULKNER ST
HOUSTON, TX 77029                        HOUSTON, TX 77025                       CONWAY, AR 72034




FAULKNER                                 FAUSTINO GONZALEZ                       FAVARAS AFDC
ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET                    17621 N 25TH AVE
806 FAULKNER ST                          HOUSTON, TX 77025                       PHOENIX, AZ 85023
CONWAY, AR 72034




FAVARAS AFDC                             FAY REVOCABLE TRUST                     FAY REVOCABLE TRUST
PO BOX 36987                             BAIGINI PROP INC                        C/O BIAGIANI PROPERTIES, INC.
TUCSON, AZ 85740                         333 W EL CAMINO RL STE 240              333 W. EL CAMINO REAL, SUITE 240
                                         SUNNYVALE, CA 94087                     SUNNYVALE, CA 94087
FAYEMIWO, OLA          Case     18-12241-CSS
                                          FAYETTEDoc 26 PUBLIC
                                                  COUNTY  FiledSCHOOLS
                                                                 10/05/18     PageFAYETTE
                                                                                   610 ofCOUNTY
                                                                                          1739 TAX COMMISSIONER
9106 HUNTINGTON CT APT X3                  TAX COLLECTION OFFICE                  GEORGE WINGO
LAUREL, MD 20708                           PO BOX 55570                           P O BOX 70
                                           LEXINGTON, KY 40555-5570               FAYETTEVILLE, GA 30214




FAYETTE COUNTY WATER SYSTEM                FAYETTE COUNTY WATER SYSTEM            FAYETTE COUNTY
140 STONEWALL AVE WEST                     PO BOX 190                             140 STONEWALL AVE W STE 101
STE 100                                    FAYETTEVILLE, GA 30214                 FAYETTEVILLE, GA 30214
FAYETTEVILLE, GA 30214




FAYETTE COUNTY                             FAYETTE CROSSING BLDG ASSOCIATES       FAYETTEVILLE COPPER ROAD II LLC
ATTN: PROPERTY TAX DEPT.                   1765 MERRIMAN RD                       1332 S MAIN ST 30
140 STONEWALL AVE W STE 101                AKRON, OH 44313                        COLUMBIA, SC 29201
FAYETTEVILLE, GA 30214




FAYETTEVILLE FARP                          FAYETTEVILLE WINDOW WASHING LLC        FAYETTEVILLE-ADVERTISING
PO BOX 1568                                PO BOX 510                             PO BOX 117211
LOWELL, AR 72745-1568                      FAYETTEVILLE, AR 72702                 ATLANTA, GA 30368-7211




FAZIL HAMID                                FB REAL PROPERTY LLC                   FB REAL PROPERTY LLC
10201 S. MAIN STREET                       C/O GRACE LIU                          C/O GRACE LIU
HOUSTON, TX 77025                          PO BOX 16462                           PO BOX 16462
                                           SUGAR LAND, TX 77496-6462              SUGARLAND, TX 77496-6462




FB REAL PROPERTY LLC                       FB REAL PROPERTY, LLC                  FBE VAN DAM LLC
PEGGY CHAN                                 P.O. BOX 16462                         C/O RD MANAGEMENT LLC
PO BOX 16462                               ATTN: GRACE LIU                        810 7TH AVE 10TH FLOOR
SUGAR LAND, TX 77496-6462                  SUGAR LAND, TX 77496-6462              NEW YORK, NY 10019




FC GROTON LLC                              FC GROTON LLC                          FC QUEENS PLACE ASSOCIATE, LLC
C/O THE GARTH ORGANIZATION LTD             C/O THE GARTH ORGANIZATION, LTD.       C/O CUSHMAN AND WAKEFIELD
157 EAST 86TH ST STE 214                   157 EAST 86TH STREET, SUITE 214        1290 AVENUE OF THE AMERICAS
NEW YORK, NY 10028                         NEW YORK, NY 10028                     NEW YORK, NY 10104




FC QUEENS PLACE ASSOCIATES LLC             FC QUEENS PLACE ASSOCIATES LLC         FC RICHMOND ASSOCIATES LP
8801 QUEENS BLVD                           PO BOX 72207                           PO BOX 823655
STE R10                                    CLEVELAND, OH 44192                    PHILADELPHIA, PA 19182-3655
ELMHURST, NY 11373




FCA ASSET MANAGEMENT LLC                   FCL GRAPHICS INC                       FCS INTERNATIONAL, INC.
NEW LENOX 4 JOINT VENTURE LLC              4600 NORTH OLCOTT AVE                  2204 PLAZA DRIVE
120 E LIBERTY DR STE 400                   HARWOOD HEIGHTS, IL 60706              SUITE 210
WHEATON, IL 60187                                                                 ROCKLIN, CA 95765




FCS INTERNATIONAL, INC.                    FCWRD                                  FEASTERVILLE REALTY ASSOCIATES LP
250 COMMERCE                               7001 NORTH FRONTAGE RD                 310 YORKTOWN PLAZA
SUITE 250                                  BURR RIDGE, IL 60527                   ELKINS PARK, PA 19027
IRVINE, CA 92602
                      Case 18-12241-CSS
FEASTERVILLE REALTY ASSOCIATES, LP   FEATHER  Doc  26350 LLC
                                               RIVER      Filed 10/05/18        PageFEATHER
                                                                                     611 ofRIVER
                                                                                            1739350 LLC
C/O HIGHLAND MNAGEMENT CORPORATION   101 E. VINEYARD AVENUE, SUITE 201              C/O GGD OAKDALE LLC ATTN REAL ESTATE
310 YORKTOWN PLAZA                   ATTN: SANDIE MARTIN                            101 E VINEYARD AVE SUITE 201
ELKINS PARK, PA 19027                LIVERMORE, CA 94550                            LIVERMORE, CA 94550




FEATHER RIVER 350, LLC                   FEAUALII SIOTA                             FEDDER MANAGEMENT CORPORATION
101 E. VINEYARD AVENUE, SUITE 201        10201 S. MAIN STREET                       ATTN: COURTNEY WENDAL
ATTN: SANDIE MARTIN                      HOUSTON, TX 77025                          10096 RED RUN BOULEVARD, SUITE 300
LIVERMORE, CA 94550                                                                 OWINGS MILLS, MD 21117




FEDERAL CASH ADVANCE                     FEDERAL CONSTRUCTION                       FEDERAL HEATH SIGN COMPANY LLC
PO BOX 722006                            1550 DEMAILSONNEUVE                        DEPT 41283
NORMAN, OK 73070                         MONTREAL, QC H3G 1N2                       PO BOX 650823
                                         CANADA                                     DALLAS, TX 75265




FEDERAL LICENSING INC                    FEDERAL PARKING INC                        FEDERAL REALTY INVESTMENT TRUST 1200
1588 FAIRFIELD RD                        PO BOX 561                                 PO BOX 8500-9320
GETTYSBURG, PA 17325                     GARRETT PARK, MD 20896                     PHILADELPHIA, PA 19178




FEDERAL REALTY INVESTMENT TRUST 165      FEDERAL REALTY INVESTMENT TRUST 500-       FEDERAL REALTY INVESTMENT TRUST
PO BOX 8500-9320                         1235                                       1626 E JEFFERSON ST
PHILADELPHIA, PA 19178                   PO BOX 8500-9320                           ROCKVILLE, MD 20852
                                         PHILADELPHIA, PA 19178




FEDERAL REALTY INVESTMENT TRUST          FEDERAL REALTY INVESTMENT TRUST            FEDERAL REALTY INVESTMENT TRUST
1626 EAST JEFFERSON STREET               1626 EAST JEFFERSON STREET                 1626 EAST JEFFERSON STREET
ATTN: JENNY HIGGINS                      ATTN: LEGAL DEPARTMENT                     ROCKVILLE, MD 20852
ROCKVILLE, MD 20852                      ROCKVILLE, MD 20852-4041




FEDERAL REALTY INVESTMENT TRUST          FEDERAL REALTY INVESTMENT TRUST            FEDERAL REALTY INVESTMENT TRUST
ATTN: JENNY HIGGINS                      ATTN: LEGAL DEPARTMENT                     C/O FEDERAL REALTY INVESTMENT TRUST
1626 EAST JEFFERSON STREET               1626 EAST JEFFERSON STREET                 1626 EAST JEFFERSON STREET
ROCKVILLE, MD 20852                      ROCKVILLE, MD 20852-4041                   ATTN: LEGAL DEPARTMENT
                                                                                    ROCKVILLE, MD 20852-4041



FEDERAL REALTY INVESTMENT TRUST          FEDERAL REALTY INVESTMENT TRUST            FEDERAL REALTY INVESTMENT TRUST
DEIRDRE JOHNSON                          FINLEY SQUARE SHOPPING CNTR                FR PIKE 7 LIMITED PARTNERSHIP-PROP.165
1626 EAST JEFFERSON STREET               LOCKBOX 9320/PO BOX 8500                   PO BOX 8500-9320
ROCKVILLE, MD 20852-4041                 PHILADELPHIA, PA 19178-9320                PHILADELPHIA, PA 19178-9320




FEDERAL REALTY INVESTMENT TRUST          FEDERAL REALTY INVESTMENT TRUST            FEDERAL REALTY INVESTMENT TRUST
JEFF KRESEK, SR VP, WEST COAST LEASING   JUDY BRACKET                               LOCKBOX 9320
1626 EAST JEFFERSON STREET               1626 EAST JEFFERSON STREET                 P.O. BOX 8500
ROCKVILLE, MD 20852                      ROCKVILLE, MD 20852                        PHILADELPHIA, PA 19178-9320




FEDERAL REALTY INVESTMENT TRUST          FEDERAL REALTY INVESTMENT TRUST            FEDERAL REALTY INVESTMENT TRUST
LOCKBOX 9320                             P.O. BOX 8500                              PO BOX 8500-9320
P.O. BOX 8500                            PHILADELPHIA, PA 19178-9320                PHILADEPHIA, PA 19178-9320
PHILADEPHIA, PA 19178-9320
                        Case
FEDERAL REALTY INVESTMENT     18-12241-CSS
                            TRUST       FEDERALDoc   26 INVESTMENT
                                                REALTY     Filed 10/05/18
                                                                    TRUST    PageFEDERAL
                                                                                  612 ofREALTY
                                                                                         1739 INVESTMENT TRUST
PROPERTY 1475                           PROPERTY 1200                            PROPERTY 500-1235
PO BOX 8500-9320                        PO BOX 8500-9320                         PO BOX 8500-9320
PHILADELPHIA, PA 19178-9320             PHILADELPHIA, PA 19178-9320              PHILADELPHIA, PA 19178-9320




FEDERAL REALTY INVESTMENT TRUST         FEDERAL REALTY INVESTMENT TRUST          FEDERAL REALTY PARTNERS LP 490-1490
PROPERTY RIVERPOINT LOCKBOX 9320        RACHEL RICHARDS                          PO BOX 8500-9320
PO BOX 8500                             1626 EAST JEFFERSON STREET               PHILADELPHIA, PA 19178
PHILADELPHIA, PA 19178-9320             ROCKVILLE, MD 20852-4041




FEDERAL REALTY PARTNERS LP              FEDERAL REALTY PARTNERS LP               FEDERAL REALTY PARTNERS LP
1626 EAST JEFFERSON STREET              ATTN: LEGAL DEPARTMENT                   PROP490-1490
ATTN: LEGAL DEPARTMENT                  1626 EAST JEFFERSON STREET               PO BOX 8500-9320
ROCKVILLE, MD 20852-4041                ROCKVILLE, MD 20852-4041                 PHILADELPHIA, PA 19178-9320




FEDERAL REALTY- WESTGATE MALL           FEDERAL SECURITY FORCE INC               FEDERAL TRADE COMMISSION
PO BOX 79408                            37 N ORANGE AVE STE 500                  ATTN: BRITTANY FRASSETTO
CITY OF INDUSTRY, CA 91716-9408         ORLANDO, FL 32801                        600 PENNSYLVANIA AVE. NW
                                                                                 MAIL STOP CC-10232
                                                                                 WASHINGTON, DC 20580



FEDERAL WAY CROSSING OWNER LLC          FEDERATED PUBLICATIONS INC               FEDERICO PORTALUPI
C/O PACIFIC ASSET ADVISORS, INC.        JOURNAL AND COURIER                      10201 S. MAIN STREET
14205 SE 36TH STREET, SUITE 215         30 SOUTH WATER ST STE APO BOX 699        HOUSTON, TX 77025
ATTN: GREG CLOSE                        FRANKLIN, IN 46131
BELLEVUE, WA 98006



FEDERICO TIRADO                         FEDERMAN STEIFMAN LLP                    FEDEX FREIGHT
10201 S. MAIN STREET                    ARIANA GOLUB, DIRECTOR OF OPERATIONS     DEPT CH
HOUSTON, TX 77025                       220 EAT 42ND STREET, 29TH FLOOR          PO BOX 10306
                                        NEW YORK, NY 10017                       PALATINE, IL 60055-0306




FEDEX OFFICE AND PRINT SERVICES INC     FEDEX                                    FEDEX
7900 LEGACY DR                          PO BOX 371461                            PO BOX 660481
PLANO, TX 75024                         PITTSBURGH, PA 15250-7461                DALLAS, TX 75266-0481




FEDEX                                   FEDPOM CENTER, LLC                       FEDPOM SC COMPANY LTD
PO BOX 94515                            C/O SOUTHERN MANAGEMENT &                CO SOUTHERN MGMT
PALATINE, IL 60094-4515                 DEVELOPMENT                              PO BOX 11229
                                        2300 NW CORPORATE BLVD., SUITE 135       KNOXVILLE, TN 37939
                                        BOCA RATON, FL 33431



FEDPOM SC COMPANY, LTD.                 FEECE OIL COMPANY                        FEIS AND K LLC
5410 HOMBERG DRIVE, SUITE A             517 TWIN RAIL DR                         KEITH KITSIS
KNOXVILLE, TN 37939                     MINOOKA, IL 60447                        10403 BAUR BLVD STE A
                                                                                 ST. LOUIS, MO 63132




FEIS AND K, LLC                         FELANA MILBOURNE                         FELDCO DEVELOPMENT CORP.
10403 BAUR BOULEVARD, SUITE A           10201 S. MAIN STREET                     222 NEWBURY STREET, 4TH FLOOR
ST. LOUIS, MO 63132                     HOUSTON, TX 77025                        BOSTON, MA 02116
FELECIA BACHMAN           Case 18-12241-CSS
                                         FELECIADoc 26 Filed 10/05/18
                                                WILMORE                 PageFELICIA
                                                                             613 of   1739
                                                                                    BANKS
801 S CALUMET RD                         10201 S. MAIN STREET               10201 S. MAIN STREET
CHESTERTON, IN 46304                     HOUSTON, TX 77025                  HOUSTON, TX 77025




FELICIA BROWN                            FELICIA FEARS                      FELICIA M PERKINS
10201 S. MAIN STREET                     10201 S. MAIN STREET               3758 RADCLIFFE BLVD
HOUSTON, TX 77025                        HOUSTON, TX 77025                  DECATUR, GA 30034




FELICIA TRACEY                           FELICIA ZAMUDIO                    FELIPA AVILES
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




FELIPE ALANIS                            FELIPE DOMINGUEZ                   FELIPE POLANCO GARCIA
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




FELIPE RAMOS MARTINEZ                    FELIX BROOKS                       FELIX KALMAN
10201 S. MAIN STREET                     10201 S. MAIN STREET               859 TAMPICO RD
HOUSTON, TX 77025                        HOUSTON, TX 77025                  WALNUT CREEK, CA 94598




FELIX MARTINEZ                           FELIX SANABRIA                     FELIX URENA
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




FELLMAN KAPILIAN LAW, P.C.               FERDINAND PULIDO                   FEREBEE, LESLIE
54 JACONNET STREET, SUITE 300            33404 ALVARADO NILES RD            1306 DEKOVEN ST
NEWTON, MA 02461                         UNION CITY, CA 94587               ROCKVILLE CENTRE, NY 11570-3437




FERGUS & COMPANY                         FERLON N BLACK                     FERN ASSOCIATES LLC
PO BOX 31000                             407 S PLUM ST APT B                39 BRIGHTON AVE
HONOLULU, HI 96849-5694                  DURHAM, NC 27703                   ALLSTON, MA 02134




FERNANDEZ, JULIO                         FERNANDO ABREGO                    FERNANDO ALARCON
7708 78TH ST                             1625 KENT DES MOINES RD            10201 S. MAIN STREET
GLENDALE, NY 11385-7509                  DES MOINES, WA 98198               HOUSTON, TX 77025




FERNANDO ALTAMIRANO-ORTIZ                FERNANDO DIAZ                      FERNANDO ELLIOTT
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025
FERNANDO GARCIA         Case 18-12241-CSS    Doc
                                       FERNANDO    26 Filed
                                                J GARCIA      10/05/18
                                                         MARTINEZ              PageFERNANDO
                                                                                    614 of 1739
                                                                                            J. GARCIA MARTINEZ
10201 S. MAIN STREET                    C/O E. DIAZ REAL ESTATE ASSOCIATES, INC.   C/O E. DIAZ REAL ESTATE ASSOCIATES, INC.
HOUSTON, TX 77025                       660 EAST 49TH STREET                       660 EAST 49TH STREET
                                        HIALEAH, FL 33013                          HIALEAH, FL 33013




FERNANDO MORALES                        FERNANDO SALAZAR                           FERNANDO SANCHEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




FERNANDO SINDACO                        FERNANDO SINDACO                           FERNANDO VARGAS
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




FERNANDO VARGAS                         FERNELIUS SIMON PLLC                       FERNIEHIRST LLC
10201 S. MAIN STREET                    1221 MCKINNEY STE 3200                     ATTN: JAMES M. KERR
HOUSTON, TX 77025                       HOUSTON, TX 77010                          P.O. BOX 782
                                                                                   MONROE, NC 28111




FERNIEHIRST LLC                         FERRANDINO & SON INC                       FERRELLGAS
P.O. BOX 782                            71 CAROLYN BLVD                            PO BOX 173940
ATTN: JAMES M. KERR                     FARMINGDALE, NY 11735                      DENVER, CO 80217
MONROE, NC 28111




FERTITTA REALTY INC.                    FESTA HOLDINGS LLC                         FESTIVAL AT HAMILTON LLC
P.O. BOX 12400                          701 CROWN INDUSTRIAL COURT STE B           1195 RTE 70 STE 2000
BEAUMONT, TX 77726                      CHESTERFIELD, MO 63005                     LAKEWOOD, NJ 08701




FESTIVAL AT HAMILTON, LLC               FESTIVAL AT PASADENA LTD PARTNERSHIP       FESTIVAL AT PASADENA, LP
C/O PARAMOUNT REALTY SERVICES INC.      13516 NARROWLEAF CT                        13516 NARROWLEAF CT
1195 ROUTE 70, SUITE 2000               CLARKSVILLE, MD 21029                      CLARKSVILLE, MD 21029
LAKEWOOD, NJ 08701




FESTIVAL MANAGEMENT CORP                FESTIVAL OF BALLONING INC                  FESTIVAL PASADENA ASSOCIATES LP
9841 AIRPORT BLVD., STE 700             363 ROUTE 46 WEST STE 200                  10096 RED RUN BLVD STE 300
LOS ANGELES, CA 90045                   FAIRFIELD, NJ 07004                        OWINGS MILLS, MD 21117




FESTIVAL PASADENA ASSOCIATES, LP        FGI DESIGN                                 FGO DELIVERIES LLC
C/O FEDDER MANAGEMENT CORP              248 WEST 35TH ST STE 402                   630 BLVD STE 1A
10096 RED RUN BOULEVARD, SUITE 300      NEW YORK, NY 10001                         ELMWOOD PARK, NJ 07407
OWINGS MILLS, MD 21117




FHL LLC                                 FHL, LLC                                   FHS ROSEVILLE LP
110 SANGAREE PKWY                       110 SANGAREE PARKWAY                       C/O MGR ASSETS INC
SUMMERVILLE, SC 29486                   SUMMERVILLE, SC 29486                      3160 CROW CANYON PLACE STE 135
                                                                                   SAN RAMON, CA 94583
FHS ROSEVILLE LP     Case 18-12241-CSS
                                    FICKLINGDoc 26 Filed
                                             MANAGEMENT     10/05/18
                                                         SERVICES,  LLC      PageFIDCAL
                                                                                   615 of
                                                                                        LLC1739
C/O MGR ASSETS, INC.                577 MULBERRY STREET, SUITE 1100              DBA ELDORADO MARKETPLACE ASSO LLC
3160 CROW CANYON PLACE, SUITE 135   MACON, GA 31202                              4500 BISSONNET ST STE 300
SAN RAMON, CA 94583                                                              BELLAIRE, TX 77401




FIDDY-FO INC                           FIDEL HECHAVARRIA                         FIDELIS REALTY PARTNERS
14755 CAMINITO PORTA DELGADA           10201 S. MAIN STREET                      4500 BISSONNET STREET, SUITE 300
DELMAR, CA 92014                       HOUSTON, TX 77025                         ATTN: KIM RILEY
                                                                                 BELLAIRE, TX 77401




FIDELIS REALTY PARTNERS                FIDELIS REALTY PARTNERS, LTD.             FIDELIS REALTY PARTNERS, LTD.
4500 BISSONNET STREET, SUITE 300       4500 BISSONNET STREET, SUITE 300          5207 MCKINNEY AVENUE, SUITE 22
ATTN: MELANIE HOFF                     ATTN: GENERAL COUNSEL                     ATTN: MELANIE DICKENSON
BELLAIRE, TX 77401                     BELLAIRE, TX 77401                        DALLAS, TX 75205




FIDELIS REALTY PARTNERS, LTD.          FIDELIS REALTY PARTNERS, LTD.             FIDELIS REALTY PARTNERS, LTD.
ATTN: MELANIE HOFF                     ATTN: PROPERTY MANAGER                    ATTN: TREY BREZINA
4500 BISSONNET STREET, SUITE 300       4500 BISSONNET STREET, SUITE 300          4500 BISSONNET STREET, SUITE 300
BELLAIRE, TX 77401                     BELLAIRE, TX 77401                        BELLAIRE, TX 77401




FIDELIS REALTY PARTNERS, LTD.          FIDELIS REALTY PARTNERS, LTD.             FIDELIS REALTY PARTNERS, LTD.
KAREN GOFORTH                          KAREN GOFORTH                             PARK CARTER
4500 BISSONNET STREET, SUITE 300       4500 BISSONNET STREET, SUITE 300          19 BRIAR HOLLOW LANE, SUITE 100
BELLAIRE, TX 77401                     DALLAS, TX 75265                          HOUSTON, TX 77027




FIDELIS REALTY PARTNERS, LTD.          FIDELITONE INC DBA FIDELITONE LOGISTICS   FIDELITONE INC
PARK CARTER                            1260 KARL COURT                           PO BOX 248
4500 BISSONNET STREET, SUITE 300       WAUCONDA, IL 60084-1094                   WAUCONDA, IL 60084-1094
BELLAIRE, TX 77401




FIDELITY ENGINEERING CORPORATION       FIDELITY FORENSICS GROUP LLC              FIDELITY GROUP LP
DBA FIDELITY POWER SYSTEMS             10455 N CENTRAL EXPY                      745 ELA RD
25 LOVETON CIRCLE                      STE 109-120                               LAKE ZURICH, IL 60047
SPARKS, MD 21152                       DALLAS, TX 75231




FIDELITY MANAGEMENT, LLC               FIDELITY MANAGEMENT, LLC                  FIDELITY POWER SYSTEMS
CHRISTINE MALDONADO, PM                WENDY WRIGHT                              25 LOVETON CIRCLE
641 SHUNPIKE ROAD                      641 SHUNPIKE ROAD                         SPARKS, MD 21152
CHATHAM, NJ 07928                      CHATHAM, NJ 07928




FIDELITY SECURITY LIFE INSURANCE       FIDELITY SECURITY LIFE INSURANCE          FIDELITY SECURITY LIFE INSURANCE/
COMPANY                                C/O SPECIAL INSURANCE SERVICES INC        EYEMED
C/O SPECIAL INSURANCE SERVICES INC     PO BOX 250349                             PO BOX 632530
2740 DALLAS PRKWY STE 100              PLANO, TX 75025-0349                      CINCINNATI, OH 45263-2530
PLANO, TX 75093



FIFI DOE                               FIGA MANAGEMENT LLC                       FIGA MANAGEMENT LLC
10201 S. MAIN STREET                   7745 SW 80TH STREET                       JORGE VADIA
HOUSTON, TX 77025                      MIAMI, FL 33143                           125 COUNTY ROAD
                                                                                 DEMAREST, NJ 07627
FILIBERTO VALADEZ      Case 18-12241-CSS     Doc
                                      FILOMENA   26 Filed 10/05/18
                                               MAURIELLO                  PageFINANCE
                                                                                616 ofCOMMISSIONER-CITY
                                                                                       1739             OF NEW
5617 S. 19TH PLACE                    10201 S. MAIN STREET                    YORK
PHOENIX, AZ 85041                     HOUSTON, TX 77025                       PECK SLIP STATION
                                                                              PO BOX 2307
                                                                              NEW YORK, NY 10272



FINANCE OFFICER-WARREN COUNTY         FINANCIAL ACCOUNTING STANDARDS          FINANCIAL ACCOUNTS SERVICE TEAM INC
SCHOOLS                               BOARD                                   8300 KINGSTON PIKE
PO BOX 890947                         PO BOX 418272                           KNOXVILLE, TN 37919
CHARLOTTE, NC 28989-0947              BOSTON, MA 02241-8272




FINANCIAL ACCOUNTS SERVICE TEAM INC   FINANCIAL TRADING & TRANSACTIN          FINARD POPLAR REALTY LP
PO BOX 11567                          1790 E RIVER RD STE 310                 DEPT 200
KNOXVILLE, TN 37939-1567              TUCSON, AZ 85718                        PO BOX 1377
                                                                              COLLIERVILLE, TN 38027




FINARD POPLAR REALTY, LP              FINDLAY PUBLISHING COMPANY              FINDLEY TRUCKING CORP
C/O FINARD PROPERTIES LLC             PO BOX 609                              8020 CLEARY BLVD APT 212
68 SOUTH PRESCOTT, SUITE 304          FINDLAY, OH 45839-0609                  PLANTATION, FL 33324
ATTN: STEVEN T. BROMMER
MEMPHIS, TN 38111



FINE LINE TECHNOLOGY INC              FINMARC MANAGEMENT INC                  FIRAS ALMOFTI
3355 W ARROWLEAF CT                   7200 WISCONSIN AVENUE, SUITE 1100       10201 S. MAIN STREET
CASTLE ROCK, CO 80109                 ATTN: ANTHONY PEREZ                     HOUSTON, TX 77025
                                      BETHESDA, MD 20814




FIRC TAMIAMI LLC                      FIRE & LIFE SAFETY AMERICA INC          FIRE & SAFETY TECHNOLOGIES LLC
CO FIRC GROUP INC                     7077 WEST 43RD STREET                   1785 LOSEY RD
2665 S BAYSHORE DR STE 302            HOUSTON, TX 77092                       RIVES JUNCTION, MI 49277
COCONUT GROVE, FL 33133




FIRE ALARM INSTALLATION COMPANY       FIRE DEPARTMENT                         FIRE DISTRICT 1
3015 AMBROSE AVENUE                   901 FAWCETT AVE                         ABERDEEN TOWNSHIP
NASHVILLE, TN 37207                   TACOMA, WA 98402-5605                   BUREAU OF FIRE PREVENTION490 LLOYD RD
                                                                              ABERDEEN, NJ 07747




FIRE ONE INC                          FIRE PREVENTION & INSPECTION            FIRE PREVENTION BUREAU
107 WASHINGTON BLVD                   FIRE DISTRICT 2                         BOROUGH OF HAWTHORNE
ALGONA, WA 98001                      PO BOX 151/1120 RT 47 SOUTH             445 LAFAYETTE AVE
                                      RIO GRANDE, NJ 08242                    HAWTHORNE, NJ 07506




FIRE PRO                              FIRE PROS INC                           FIRE RECOVERY USA LLC
PO BOX 620876                         2710 NORTHRIDGE DR NW STE F             2271 LAVA RIDGE COURT STE 120
LAS VEGAS, NV 89162                   GRAND RAPIDS, MI 49544                  ROSEVILLE, CA 95661-3065




FIRE SAFE PROTECTION INC              FIRE SAFE PROTECTION INC                FIRE SAFETY CONSULTANTS INC
1815 SHERWOOD FOREST                  PO BOX 1759 DEPT 620                    2420 ALFT LANE
HOUSTON, TX 77043                     HOUSTON, TX 77251-1759                  ELGIN, IL 60124
                      Case
FIRE SECURITY ELECTRONICS &     18-12241-CSS     Doc 26
                                          FIRE SERVICES      Filed
                                                        OF IDAHO   10/05/18
                                                                 INC             PageFIRE
                                                                                       617  of 1739
                                                                                          SYSTEMS INC.
COMMUNICATIONS INC                         610 MALLARD                                4700 HIGHLANDS PARKWAY
17621 NORTH 25TH AVE                       CHUBBUCK, ID 83202                         SMYRNA, GA 30082
PHOENIX, AZ 85023




FIRE SYSTEMS SPECIALIST                    FIRE SYSTEMS WEST INC                      FIRE TEAM SECURITY INC
PO BOX 930127                              206 FRONTAGE ROAD N SUITE C                2331 E ROAD
NORCROSS, GA 30003                         PACIFIC, WA 98047-1023                     GRAND JUNCTION, CO 81507




FIREFLY GRAHICS, INC                       FIREFLY VENTURES                           FIREMASTER -MASTER PROTECTION, LLC
2613 W BIRCHWOOD CIRCLE STE 6              DBA RELAX THE BACK                         P.O. BOX 121019 DEPT 1019
MESA, AZ 85202                             6343 PENN AVE                              DALLAS, TX 75312-1019
                                           PITTSBURGH, PA 15206




FIREPRO SALES & SERVICES INC               FIRESTONE BUILDING PRODUCTS CO LLC         FIRE-TEC INC
7630 CLINTON HWY                           250 WEST 96TH ST                           5114 S 33RD ST
POWELL, TN 37849                           INDIANAPOLIS, IN 46260                     FORT SMITH, AR 72903




FIRETROL PROTECTION SYSTEMS INC            FIRETROL PROTECTION SYSTEMS INC            FIRETRON INC
400 GARDEN OAKS BLVD                       4616 W HOWARD LN 7-700                     10101A STAFFORD CENTRE DR
HOUSTON, TX 77018                          AUSTIN, TX 78728                           STAFFORD, TX 77477




FIRETRON INC                               FIREWHEEL PLAZA LTD                        FIREWHEEL SHOPS LLC
PO BOX 1604                                1017 S.FM RD 5                             QUINE ASSOCIATES
STAFFORD, TX 77497                         ALEDO, TX 76008                            301 S SHERMAN ST STE 100
                                                                                      RICHARDSON, TX 75081




FIREWHEEL SHOPS LLC                        FIREWHEEL SHOPS, LLC                       FIRE-X CORPORATION
QUINE ASSOCIATES                           C/O QUINE AND ASSOCIATES, INC.             P.O. BOX 9757
301 S. SHERMAN ST., SUITE 100              301 S. SHERMAN ST., SUITE 100              RICHMOND, VA 23228
RICHARDSON, TX 75081                       RICHARDSON, TX 75081




FIRM BREAD LLC                             FIRMRICH LLC                               FIRMRICH, LLC
1608 HWY 221 N                             C/O ACRE                                   C/O BERG LAW FIRM
JEFFERSON, NC 28640                        PO BOX 206514                              311 TOWNEPARK CIRCLE
                                           LOUISVILLE, KY 40250                       LOUISVILLE, KY 40243




FIRST & MAIN BID NO. 2                     FIRST AMERICAN TRUST, AS TRUSTEE OF        FIRST AMERICAN TRUST, AS TRUSTEE OF
C/O BILLING SERVICES                       THE VICTOR J. SCHULMAN TRUST DATED         THE VICTOR J. SCHULMAN TRUST DATED
8390 E CRESCENT PKWY STE 500               DECEMBER 8, 1989                           DECEMBER 8, 1989
GREENWOOD VILLAGE, CO 80111-2814           5 FIRST AMERICAN WAY                       ATTN: VP - FIDUCIARY REAL ESTATE
                                           ATTN: VP - FIDUCIARY REAL ESTATE           5 FIRST AMERICAN WAY
                                           SANTA ANA, CA 92707                        SANTA ANA, CA 92707


FIRST BANK AND TRUST                       FIRST BANKERS TRUST SERVICES               FIRST CHOICE RELOCATION LLC
1625 DOUGLAS BOULEVARD                     2321 KOCHS CANE                            704 N WALNUT AVE
ROSEVILLE, CA 95661                        QUINCY, IL 62305                           BROKEN ARROW, OK 74012
FIRST CHOICE SERVICES    Case 18-12241-CSS     Doc 26
                                        FIRST CHOICE      Filed 10/05/18
                                                     SERVICES                   PageFIRST
                                                                                      618COLONY
                                                                                          of 1739
                                                                                                FINANCIAL CORPORATION
4680 PELL DRIVE UNIT A                    DAIOHS USA INC                            8100 ROSWELL RD, SUITE 201
SACRAMENTO, CA 95838                      1167 MISSISSIPPI AVE                      ATLANTA, GA 30350
                                          DALLAS, TX 75207




FIRST COLONY LID                          FIRST COMMUNICATIONS                      FIRST COMMUNITY BANK NA
11111 KATY FREEWAY 725                    PO BOX 71-5248                            ATTN: ACCOUNTS PAYABLE
HOUSTON, TX 77079-2197                    COLUMBUS, OH 43271-5248                   3 SUGAR CREEK CTR BLVD STE 200
                                                                                    SUGAR LAND, TX 77478




FIRST DUE FIRE PROTECTION SERVICES        FIRST EMERSON COMMONS WAY LLC             FIRST EMERSON COMMONS WAY, LLC
2949 AIRWAY AVE STE A                     CBRE AS AGENT                             7399 N. SHADELAND AVENUE, PMB #166
KINGMAN, AZ 86409                         8500 KEYSTONE CROSSING STE 170            ATTN: JAN CHENOWETH
                                          INDIANAPOLIS, IN 46240                    INDIANAPOLIS, IN 46266




FIRST EMERSON COMMONS WAY, LLC            FIRST FENCE OF GEORGIA                    FIRST FLORIDA MGMT SERVICES LLP
ATTN: JAN CHENOWETH                       1779 BIG SHANTY RD NW                     PO BOX 1469
7399 N. SHADELAND AVENUE, PMB 166         KENNESAW, GA 30144                        PORT RICHEY, FL 34673
INDIANAPOLIS, IN 46266




FIRST HOME MORTGAGE INC                   FIRST INDUSTRIAL LP                       FIRST INDUSTRIAL LP
3930 MAX PLACE                            6720 N. SCOTTSDALE RD SUITE 210           PO BOX 31001-1927
BOYNTON BEACH, FL 33436                   SCOTTSDAKE, AZ 85253                      PASADENA, CA 91110-1927




FIRST INDUSTRIAL, L.P.                    FIRST INTERSTAE AVON LTD                  FIRST INTERSTAE AVON LTD
C/O FIRST INDUSTRIAL REALTY TRUST, INC.   25333 CEDAR RD STE 300                    PO BOX 635244
311 SOUTH WACKER DRIVE, SUITE 3900        LYNDHURST, OH 44124                       CINCINNATI, OH 45263-5244
ATTN: OPERATIONS DEPARTMENT
CHICAGO, IL 60606



FIRST INTERSTATE AVON, LTD.               FIRST INTERSTATE PROPERTIES, LTD.         FIRST PIEDMONT CORP
C/O FIRST INTERSTATE PROPERTIES, LTD.     25333 CEDAR ROAD, SUITE 300               108 S. MAIN STREET
25333 CEDAR ROAD, SUITE 300               LYNDHURST, OH 44124                       P.O. BOX 1069
LYNDHURST, OH 44124                                                                 CHATHAM, VA 24531




FIRST PIEDMONT CORP                       FIRST REAL EST INVSTMNT TRUST             FIRST REAL ESTATE INVESTMENT TRUST OF
P.O. DRAWER 1069                          C/O HEKEMIAN & CO                         NEW JERSEY
CHATHAM, VA 24531                         505 MAIN ST.                              505 MAIN STREET, 4TH FLOOR
                                          HACKENSACK, NJ 07601                      HACKENSACK, NJ 07601




FIRST REAL ESTATE INVESTMENT              FIRST REAL ESTATE INVESTMENT              FIRST RICHLAND L.P.
TRUST OF NEW JERSEY                       TRUST OF NEW JERSEY                       C/O BROWMAN DEVELOPMENT COMPANY,
505 MAIN ST, 4TH FLOOR                    505 MAIN ST, 4TH FLOOR                    INC.
HACKENSACK, NJ 07601                      HACKENSACK, NJ 07602                      1556 PARKSIDE DRIVE
                                                                                    ATTN: DARRYL BROWMAN, PRESIDENT
                                                                                    WALNUT CREEK, CA 94596


FIRST RICHLAND LP                         FIRST RICHLAND LP                         FIRST RIVER BANK, L.P.
C/O BROWMAN DEVELOPMENT COMPANY,          C/O BROWMAN DEVELOPMENT COMPANY,          C/O BROWMAN DEVELOPMENT COMPANY,
INC.                                      INC.                                      INC.
1556 PARKSIDE DRIVE                       1556 PARKSIDE DRIVE                       1556 PARKSIDE DRIVE
ATTN: DARRYL BROWMAN, PRESIDENT           ATTN: MARIO ALBERT, GENERAL COUNSEL       WALNUT CREEK, CA 94596
WALNUT CREEK, CA 94596                    WALNUT CREEK, CA 94596
FIRST RIVERBANK L.P.   Case 18-12241-CSS     Doc 26 GROUP,
                                      FIRST ROCKFORD     FiledINC.
                                                                10/05/18   PageFIRST
                                                                                 619STEP
                                                                                     of 1739
                                                                                         STAFFING INC
C/O BROWMAN DEVELOPMENT COMPANY,      ATTN: GENERAL COUNSEL                    236 AUBURN AVE NE STE 203
INC.                                  6801 SPRING CREEK ROAD                   ATLANTA, GA 30303
1556 PARKSIDE DRIVE                   ROCKFORD, IL 61114
WALNUT CREEK, CA 94596



FIRST UNUM INSURANCE CO                FIRST UTILITY DIST OF KNOX CO           FIRST UTILITY DISTRICT OF KNOX COUNTY
PREMIUM PROCESSING                     122 DURWOOD RD                          DEPT 1340
PO BOX 100171                          KNOXVILLE, TN 37922                     PO BOX 2153
COLUMBIA, SC 29202-3171                                                        BIRMINGHAM, AL 35287-1340




FIRSTENERGY                            FIRSTMED LLC                            FISH & RICHARDSON P.C.
PAYMENT PROCESSING CENTER              907 BUFORD RD STE 300                   PO BOX 3295
PO BOX 55126                           CUMMING, GA 30041                       BOSTON, MA 02241-3295
BOSTON, MA 02205-5126




FISH WINDOW CLEANING- BALLWIN          FISH WINDOW CLEANING- OFALLON           FISH WINDOW CLEANING
P.O. BOX 888                           P.O. BOX 1033                           109 MURRAY DR STE B
BALLWIN, MO 63011                      OFALLON, MO 63366                       MAULDIN, SC 29662




FISH WINDOW CLEANING                   FISH WINDOW CLEANING                    FISH WINDOW CLEANING
2305 HIGHWAY 6 SOUTH STE D             4120 W. RUSSELL RD. STE. B              5710-K W GATE CITY BLVD
HOUSTON, TX 77077                      LAS VEGAS, NV 89118                     GREENSBORO, NC 27407




FISH WINDOW CLEANING                   FISH WINDOW CLEANING                    FISH WINDOW CLEANING
P.O. BOX 11434                         P.O. BOX 190862                         P.O. BOX 2577
COLLEGE STATION, TX 77842              ST. LOUIS, MO 63119                     CYPRESS, TX 77410




FISH WINDOW CLEANING                   FISH WINDOW CLEANING                    FISH WINDOW CLEANING
P.O. BOX 7730                          PO BOX 14197                            PO BOX 30823
NORTH PORT, FL 34290                   SAINT PAUL, MN 55114                    COLUMBIA, MO 65205




FISH WINDOW CLEANING                   FISH WINDOW CLEANING                    FISH WINDOW CLEANING
PO BOX 61293                           PO BOX 7685                             RE MITCHELL LLC
VIRGINIA BEACH, VA 23466               FORT LAUDERDALE, FL 33338               P.O. BOX 14712
                                                                               HOUSTON, TX 77221




FISH WINDOW CLEANING-NORTH COUNTY      FISHER SCIENTIFIC                       FISHERS POLICE DEPT
P.O. BOX 253                           300 INDUSTRY DR                         4 MUNICIPAL DR
HAZELWOOD, MO 63042                    PITTSBURGH, PA 15275                    FISHERS, IN 46038




FIT FAMILY DEVELOPMENT, LP.            FIT ONE LLC                             FITNESS INTERNATIONAL LLC
564 N SUNRISE AVENUE                   2207 KIMBALL ROAD SE                    3161 MICHELSON DR STE 600
ROSEVILLE, CA 95661                    CANTON, OH 44707                        IRVINE, CA 92612
FITZWILL PROPERTIES    Case 18-12241-CSS
                                      FITZWILLDoc  26 Filed 10/05/18
                                               PROPERTIES                  PageFIUS
                                                                                 620  of LLC/INADA
                                                                                    DIST  1739 MASSAGE CHAIR
C/O THE SHOPPING CENTER GROUP LLC     C/O THE SHOPPING CENTER GROUP, LLC       2125 32ND ST
300 GALLERIA PARKWAY 12TH FL          300 GALLERIA PARKWAY, 12TH FLOOR         BOULDER, CO 80301
ATLANTA, GA 30339                     ATLANTA, GA 30339




FIUS DISTRIBUTORS DBA INADA MASSAGE     FIVE 9 INC                             FIVE STAR MATTRESS
CHAIRS                                  4000 EXECUTIVE PRKWY STE 400           PO BOX 98319
1750 55TH ST BLDG D                     SAN RAMON, CA 94583                    CHICAGO, IL 60693
BOULDER, CO 80301




FIVE STAR TRUCKING LLC                  FIXTURES INTERNATIONAL                 FIZA ADNAN
299 BRYAN ROAD                          2301 CANADA DRY ST                     10201 S. MAIN STREET
DANIA BEACH, FL 33004                   HOUSTON, TX 77023                      HOUSTON, TX 77025




FJERRY LLC                              FKM PARTNERSHIP LTD                    FKM PARTNERSHIP, LTD.
110 GREENE ST 407                       PO BOX 1074                            C/O MC MANAGEMENT & DEVELOPMENT,
NEW YORK, NY 10012                      BELLAIRE, TX 77402                     INC.
                                                                               6802 MAPLERIDGE STREET, SUITE 210
                                                                               BELLAIRE, TX 77401



FKM-FOGARTY & KLEIN INC DBA THE CO OF   FL CITY OF SARASOTA                    FL CITY OF WEST PALM BEACH
OTHERS                                  ATTN: PROPERTY TAX DEPT.               ATTN: PROPERTY TAX DEPT.
1800 W LOOP S STE 2100                  1565 1ST ST 2ND FLR ANNEX BLDG         PO BOX 3977
HOUSTON, TX 77027                       SARASOTA, FL 34236                     WEST PALM BEACH, FL 33402




FL FICTITIOUS NAME REGISTRATION         FL MEDICAL DEVELOPMENT LLC             FL MEDICAL DEVELOPMENT, LLC
PO BOX 1300                             6007 FROGGATT ST                       6007 FROGGATT STREET
TALLAHASSEE, FL 32302-1300              ORLANDO, FL 32835                      ORLANDO, FL 32835




FL RC MANAGEMENT LLC                    FLAGG CREEK WATER RECLAMATION          FLAGLER COUNTY TAX COLLECTOR
477 ELM PLACE                           DISTRICT                               PO BOX 846
HIGHLAND PARK, IL 60035                 7001 N FRONTAGE RD                     BUNNELL, FL 32110
                                        BURR RIDGE, IL 60527




FLAGSTAFF PROPERTIES INC.               FLAGSTAFF PROPERTIES INC.              FLAGSTAFF PUBLISHING CO.
1007 PEARL STREET, SUITE 260            ATTN: DOUGH HAFFNEITER                 C/O LEE ADVERTISING
ATTN: DOUGH HAFFNEITER                  1007 PEARL STREET, SUITE 260           PO BOX 742548
BOULDER, CO 80302                       BOULDER, CO 80302                      CINCINNATI, OH 45274-2548




FLAGSTAFF PUBLISHING CO.                FLAME DEVELOPMENT COMPANY LP           FLAME DEVELOPMENT COMPANY, LLP
DBA ARIZONA DAILY SUN                   C/O EQUITY COMMERCIAL MGMT INC         7575 GOLDEN VALLEY ROAD, SUITE 135
201 N HARRISON STSUITE 600              7450 FRANCE AVE S STE 260              ATTN: MARK ABRAMOVITZ
DAVENPORT, IA 52801                     EDINA, MN 55435                        GOLDEN VALLEY, MN 55427




FLAME DEVELOPMENT COMPANY, LLP          FLAME DUNWELL                          FLAMINGO SUNRISE INVESTMENT LLC
ATTN: MARK ABRAMOVITZ                   10201 S. MAIN STREET                   C/O DACAR MANAGEMENT
7575 GOLDEN VALLEY ROAD, SUITE 135      HOUSTON, TX 77025                      336 E. DANIA BEACH BLVD
GOLDEN VALLEY, MN 55427                                                        DANIA, FL 33004
                        CaseLLC
FLAMINGO SUNRISE INVESTMENT  18-12241-CSS      Doc
                                       FLATIRONS    26 Filed2013
                                                  MARKETPLACE   10/05/18
                                                                   LP         PageFLEET
                                                                                   621CORP
                                                                                        of 1739
                                                                                            DBA BP
C/O DACAR MANAGEMENT                   211 N STADIUM BLVD STE 201                 PO BOX 70887
336 E. DANIA BEACH BOULEVARD           COLUMBIA, MO 65203                         CHARLOTTE, NC 28272-0887
DANIA, FL 33004




FLEET EQUIPMENT INC                     FLEETCOR TECHNOLOGIES INC                 FLEETWASH INC
PO BOX 110                              DBA CHEVRON & TEXACO UNIVERSAL CARD       PO BOX 36014
DARRAGH, PA 15625                       109 NORTHPARK BLVD STE 500                NEWARK, NJ 07188-6014
                                        COVINGTON, LA 70433




FLEMINGTON BOROUGH FIRE SAFETY          FLETCHER C JOHNSON                        FLETCHER HIRTLE
38 PARK AVE                             8923 SW TALAWA DR                         10201 S. MAIN STREET
FLEMINGTON, NJ 08822                    TUALATIN, OR 97062                        HOUSTON, TX 77025




FLETCHER HIRTLE                         FLETCHER, DEBRA                           FLETCHER, FARLEY SHIPMAN & SALINAS,
10201 S. MAIN STREET                    PO BOX 11929                              LLP
HOUSTON, TX 77025                       JACKSONVILLE, FLORIDA 32239-1929          ATTN: THOMAS HOEKSTRA
                                                                                  1717 W 6TH STREET, SUITE 300
                                                                                  AUSTIN, TX 78703



FLEX A BED                              FLEXERA SOFTWARE LLC                      FLINT EMC
PO BOX 568                              300 PARK BLVD STE 500                     3 SOUTH MACON ST
LAFAYETTE, GA 30728                     ITASCA, IL 60143                          PO BOX 308
                                                                                  REYNOLDS, GA 31076-0308




FLINT EMC-SEDC                          FLINT TOWNSHIP                            FLINTLOCK NORTHRIDGE LLC
P.O. BOX 530812                         1490 S DYE RD                             C/O BLOCK & COMPANY, INC.
ATLANTA, GA 30353-0812                  FLINT, MI 48532-4121                      605 WEST 47TH STREET, SUITE 200
                                                                                  KANSAS CITY, MO 64112




FLIPP CORPORATION                       FLIPP CORPORATION                         FLOHAWKS
12 3250 BLOOR ST W E TOWER BLOOR        DEPT CH 19946                             PO BOX 73399
ISLINGTON PLACE                         PALATINE, IL 60055-9946                   PUYALLUP, WA 98373
TORONTO, ON M8X2X9
CANADA



FLOOD BROTHERS DISPOSAL & RECYCLING     FLOOD BROTHERS DISPOSAL & RECYCLING       FLOORESOURCE INC DBA STOREFLOORS
ATTN PATRICK FLOOD                      P.O. BOX 4560                             PO BOX 76093
17 W 609 14TH ST OAKBROOK               CAROL STREAM, IL 60197-4560               ATLANTA, GA 30328
TERRACE, IL 60181




FLOR MARIA HERNANDEZ CALERO             FLOR MARIA HERNANDEZ CALERO               FLOR MARIA HERNANDEZ CALERO
206 ROCKBROOK CT                        C/O NAI EARLE FURLMAN                     PO BOX 151
GREER, SC 29650                         101 E WASHINGTON STREET, 400              GREENVILLE, SC 29602
                                        GREENVILLE, SC 29601




FLORENCE (FLORENCE MALL) FMH, LLC       FLORENCE BROWN                            FLORENCE COUNTY TREASURER
C/O RIVERCREST REALTY ASSOCIATES, LLC   10201 S. MAIN STREET                      PO BOX 100501
8816 SIX FORKS ROAD, SUITE 201          HOUSTON, TX 77025                         FLORENCE, SC 29502
RALEIGH, NC 27615
FLORENCE MALL HOLDING Case
                        LLC   18-12241-CSS
                                        FLORENCEDoc   26 Filed
                                                   PEDRICK       10/05/18    PageFLORENCE
                                                                                  622 of 1739
                                                                                          UTILITIES
C/O RIVERCREST REALTY ACCO. LLC         10201 S. MAIN STREET                      PO BOX 877
8816 SIX FORKS RD STE 201               HOUSTON, TX 77025                         FLORENCE, AL 35631-0877
RALEIGH, NC 27615




FLORENCE WATER & SEWER DEPT            FLORENCE WATER & SEWER                     FLORENCIO ORTIZ
PO BOX 368                             324 W EVANS ST                             10201 S. MAIN STREET
FLORENCE, KY 41022-0368                FLORENCE, SC 29501                         HOUSTON, TX 77025




FLORES TECHNICAL SERVICES INC          FLORIBERTO CARDOSO                         FLORIDA CITY GAS
13531 FLOYD CIRCLE                     5507 ALPHA ROAD 1008                       4045 NW 97TH AVE
DALLAS, TX 75243                       DALLAS, TX 75240                           DORAL, FL 33178




FLORIDA CITY GAS                       FLORIDA CITY GAS                           FLORIDA CITY JYA LLC
PO BOX 5410                            PO BOX 5410                                C/O IMC EQUITY GROUP
CAROL STREAM, IL 60197                 CAROL STREAM, IL 60197-5410                696 NE 125TH STREET
                                                                                  NORTH MIAMI, FL 33161




FLORIDA CITY JYA LLC                   FLORIDA CITY JYA, LLC                      FLORIDA DEPARTMENT OF REVENUE
FBO JEFFERIES LOANCORE LLC             C/O IMC EQUITY GROUP                       ATTN: BUSINESS LICENSE DEPT.
ORLANDO, FL 32886-5229                 696 NE 125TH STREET                        5050 W TENNESSEE ST
                                       NORTH MIAMI, FL 33161                      TALLAHASSEE, FL 32399-0128




FLORIDA DEPARTMENT OF REVENUE          FLORIDA DEPARTMENT OF REVENUE              FLORIDA DEPARTMENT OF REVENUE
ATTN: INCOME TAX DEPT.                 ATTN: SALES & USE TAX DEPT.                ATTN: TAX DEPT.
5050 W TENNESSEE ST                    5050 W TENNESSEE ST                        5050 W TENNESSEE ST
TALLAHASSEE, FL 32399-0128             TALLAHASSEE, FL 32399-0128                 TALLAHASSEE, FL 32399-0128




FLORIDA DEPARTMENT OF REVENUE          FLORIDA DEPT HWY SAFETY & MOTOR VEH        FLORIDA DEPT OF FINANCIAL SVCS
ATTN: UNCLAIMED PROPERTY DEPT.         2900 APALACHEE PKWY                        DIVISION OF UNCLAIMED PROPERTY
5050 W TENNESSEE ST                    TALLAHASSEE, FL 32399-0500                 PO BOX 6350
TALLAHASSEE, FL 32399-0128                                                        TALLAHASSEE, FL 32314-6350




FLORIDA DEPT OF REVENUE                FLORIDA DEPT OF TRANSPORTATION             FLORIDA DEPT OF TRANSPORTATION
5050 W TENNESSEE ST                    VIOLATION ENFORCEMENT SECTION              VIOLATION ENFORCEMENT SECTION
TALLAHASSEE, FL 32399-0100             P.O. BOX 105477                            PO BOX 105477
                                       ATLANTA, GA 30348                          ATLANTA, GA 30348




FLORIDA DEPT. OF REVENUE               FLORIDA DEVAUL-DUDLEY                      FLORIDA INTERNATIONAL UNIVERSITY
5050 W TENNESSEE ST                    10201 S. MAIN STREET                       ATTN: JASMIN RODRIGUEZ GC 230 CAREER
TALLAHASSEE, FL 32399-0128             HOUSTON, TX 77025                          SVCS
                                                                                  11200 SW 8TH STREET, CSC-310
                                                                                  MIAMI, FL 33199



FLORIDA INVESTING 13 LLC               FLORIDA KEYS AQUEDUCT AUTH                 FLORIDA KEYS ELEC COOP ASSOC
C/O LANDQWEST PROPERTY MGMT AS         1100 KENNEDY DRIVE                         91630 OVERSEAS HWY
AGENT                                  KEY WEST, FL 33040-4021                    TAVERNIER, FL 33070
PO BOX 07367
FORT MYERS, FL 33919
FLORIDA KEYS ELEC COOP Case
                         ASSOC 18-12241-CSS
                                         FLORIDADoc     26 Filed
                                                   OIL SERVICES INC   10/05/18   PageFLORIDA
                                                                                      623 ofONE
                                                                                             1739
                                                                                                FLP
PO BOX 377                               16220 TERNGLADE DR                          9350 S ORANGE BLOSSOM TRAIL STE 14
TAVERNIER, FL 33070-0377                 LITHIA, FL 33547                            ORLANDO, FL 32837




FLORIDA POWER & LIGHT                      FLORIDA PUBLIC UTILITIES                  FLORIDA STATE DISBURSEMENT UNIT
GENERAL MAIL FACILITY                      PO BOX 2137                               PO BOX 8500
MIAMI, FL 33188-0001                       SALISBURY, MD 21802-2137                  TALLAHASSEE, FL 32314




FLORIDA STATE FAIR AUTHORITY               FLORIDA STATE UNIVERSITY                  FLORIN ASSOCIATES LLC
PO BOX 11766                               ATTN: PRIVATE SCHOLARSHIPS                CBC ADVISIORS
TAMPA, FL 33680                            A1500 UNIVERSITY CENTER                   PO BOX 712139
                                           TALLAHASSEE, FL 32306                     COTTONWOOD, UT 84171-2139




FLORINE SATCHOP                            FLOURISHNOW INC                           FLOW 1 LLC
10201 S. MAIN STREET                       15275 COLLIER BLVD STE 201-284            C/O EZON INC.
HOUSTON, TX 77025                          NAPLES, FL 34119                          1100 5TH AVE S STE 210
                                                                                     NAPLES, FL 34102




FLOYD BURTON II                            FLOYD COUNTY TAX COMMISSIONER             FLOYD DAVENPORT
201 LAW RD APT B                           PO BOX 26                                 10201 S. MAIN STREET
FAYETTEVILLE, NC 28311                     ROME, GA 30162-0026                       HOUSTON, TX 77025




FLOYD ELLIOTT                              FLOYD GABRIEL DBA FJG LANDSCAPING INC.    FLOYD HAYES
10201 S. MAIN STREET                       1002 SPANISH COTE DR.                     10201 S. MAIN STREET
HOUSTON, TX 77025                          CROSBY, TX 77536                          HOUSTON, TX 77025




FLOYD IHM                                  FLOYD                                     FLRC MANAGEMENT LLC
10201 S. MAIN STREET                       ATTN: PROPERTY TAX DEPT.                  477 ELM PLACE
HOUSTON, TX 77025                          PO BOX 26                                 HIGHLAND PARK, IL 60035
                                           ROME, GA 30162




FLV FREE STATE LIMITED PARTNERSHIP         FLV FREE STATE LIMITED PARTNERSHIP        FLV FREE STATE LIMITEED PARTNERSHIP
C/O FEDERAL REALTY INVESTMENT TRUST        C/O FRIT- FREE STATE S/C                  C/O FEDERAL REALTY INVESTMENT TRUST
1626 EAST JEFFERSON STREET                 LOCKBOX 9320                              1626 EAST JEFFERSON STREET
ROCKVILLE, MD 20852-4041                   PHILADELPHIA, PA 19178-9320               ROCKVILLE, MD 20852-4041




FLYERS ENERGY LLC                          FM 1093 INVESTMENTS LTD                   FM 1488 PROPERTIES LLC
DEPT 34516                                 12651 BRIAR FOREST DR STE 300             C/O HUNINGTON PROPERTIES, INC.
P.O. BOX 39000                             HOUSTON, TX 77077                         3773 RICHMOND AVE STE 800
SAN FRANCISCO, CA 94139-0001                                                         HOUSTON, TX 77046




FM 1488 PROPERTIES LLC                     FMC ARCHITECTS LLC                        FMK MANAGEMENT LLC.
C/O HUNINGTON PROPERTIES, INC.             7675 HARLEY HILLS DR                      14039 SHERMAN WAY STE 206
3773 RICHMOND AVENUE, SUITE 800            NORTH ROYALTON, OH 44133                  VAN NUYS, CA 91405
HOUSTON, TX 77046
FMP LLC                  Case 18-12241-CSS
                                        FMP, LLCDoc 26     Filed 10/05/18     PageFMW
                                                                                   624REAL
                                                                                        of 1739
                                                                                           ESTATE
SUDBERRY PROP INC                        C/O SUDBERRY PROPERTIES, INC.            132 BREVARD COURT
5465 MOREHOUSE DR 260                    5465 MOREHOUSE DRIVE, SUITE 260          CHARLOTTE, NC 28202
SAN DIEGO, CA 92121                      SAN DIEGO, CA 92121-4714




FOCUS COMMERCIAL INC.                    FOCUS COMMERCIAL, INC.                   FOLEY & LARDNER LLP
1031 JUNCTION BLVD 804                   1031 JUNCTION BOULEVARD, SUITE 804       ATTN: JOSEPH S. RUPKEY, ESQ.
ROSEVILLE, CA 95678                      ROSEVILLE, CA 95678                      777 E. WISCONSIN AVENUE
                                                                                  MILWAUKEE, WI 53202




FOLEY, REX                               FOLIOFN INVESTMENTS INC                  FOLIOFN INVESTMENTS INC
15125 BEACONRIDGE APT414                 8180 GREENSBORO DR 8TH FLOOR             PO BOX 10544
WOODBRIDGE, VA 22191-4947                MCLEAN, VA 22102                         MCLEAN, VA 22102-8544




FOLKSAN REALTY ASSOCIATES                FOLKSAN REALTY ASSOCIATES                FOLKSAN REALTY ASSOCIATES
7 PENN PLAZA                             7 PENN PLAZA                             ATTN: JEFFREY J. FEIL
ATTN: JEFFREY J. FEIL                    NEW YORK, NY 10001                       7 PENN PLAZA
NEW YORK, NY 10001                                                                NEW YORK, NY 10001




FOLSOM GATEWAY ASSOCIATES, LP            FOND DU LAC CITY TREASURER               FOND DU LAC TOWN
C/O BRADDOCK & LOGAN SERVICES, INC.      PO BOX 150                               ATTN: PROPERTY TAX DEPT.
4155 BLACKHAWK PLAZA CIRCLE, SUITE 201   FOND DU LAC, WI 54936                    N6297 TOWNLINE RD
ATTN: DAVID LEE                                                                   FOND DU LAC, WI 54937
DANVILLE, CA 94506



FOND DU LAC                              FONDREN HAWAII LLC                       FONG & KASTON, LLP
ATTN: PROPERTY TAX DEPT.                 C/O HUNINGTON PROPERTIES INC             ATTN: GERARD FONG, ESQ.
PO BOX 830                               109 N. POST OAK LN STE. 550              24 SCHOOL STREET
FOND DU LAC, WI 54936-0830               HOUSTON, TX 77024                        BOSTON, MA 02108




FONTE APARTMENTS LLC                     FONTE APARTMENTS LLC                     FONTE APARTMENTS LLC
109 BACIGALUPI DR                        109 BACIGALUPI DRIVE                     151 W. CAMPBELL AVENUE, SUITE 110
LOS GATOS, CA 95032                      LOS GATOS, CA 95032                      CAMPBELL, CA 95008




FOOTHILL MOUNTAIN LLC                    FOOTHILL SELECT LP                       FOOTHILL SELECT LP
3312 LIVONIA AVE                         2009 PORTERFIELD WAY P                   PNC BANK NA F6-F166-03-D
LOS ANGELES, CA 90034                    UPLAND, CA 91786                         PO BOX 8108
                                                                                  PHILADELPHIA, PA 19101




FOOTHILL SELECT LP                       FOOTHILL SELECT, LP                      FOOTHILLS SHOPPING CENTER LLC
PNC BANK NA F6-F166-03-D                 C/O 1ST COMMERCIAL REALTY                C/O ZELL COMMERCIAL REAL ESTATE
PO BOX 8108                              2009 PORTERFIELD WAY, SUITE P            SERVICES INC
PHILADELPHIA, PA 19101-8108              UPLAND, CA 91786                         5343 N 16TH ST STE 290
                                                                                  PHOENIX, AZ 85016



FOOTHILLS SHOPPING CENTER, L.L.C.        FOP LODGE 50                             FORCHELLI CURTO DEEGAN SCHWARTZ
C/O ZELL COMMERCIAL REAL ESTATE          2328 S CONGRESS AVE STE 1B               MINEO & TERRANA LLP
SERVICES, INC.                           WEST PALM BEACH, FL 33406-7671           THE OMNI
5343 N. 16TH STREET, SUITE 290                                                    333 EARLE OVINGTON BLVD 1010
PHOENIX, AZ 85016                                                                 UNIONDALE, NY 11553
FORD & PAULEKAS, LLP   Case 18-12241-CSS     DocVIDEO
                                      FORD AUDIO    26 Filed 10/05/18   PageFORD
                                                                             625CREDIT
                                                                                 of 1739
280 TRUMBULL STREET, SUITE 2200       4800 WEST I-40 SERVICE RD             23535 MICHIGAN AVE
HARTFORD, CT 06103                    OKLAHOMA CITY, OK 73128-1208          DEARBORN, MI 48128




FORD CREDIT                           FOREFRONT CLEANING & RESTORATION CO   FOREFRONT CLEANING AND
PO BOX 650575                         DBA FCR                               RESTORATION(FCR)
DALLAS, TX 75265-0575                 103 140TH ST C                        103 140TH ST S
                                      TACOMA, WA 98444                      STE C
                                                                            TACOMA, WA 98444



FOREST CITY REALTY TRUST, INC.        FOREST HARLEM PROPERTIES LP           FOREST HILLS MUNICIPAL AUTH
50 PUBLIC SQUARE, SUITE 700           THE HARLEM IRVING COMPANIES INC       900 LOCUST ST
CLEVELAND, OH 44113-2203              4101 N HARLEM AVE                     ST. MICHAEL, PA 15951
                                      HARWOOD HEIGHTS, IL 60706




FOREST HILLS MUNICIPAL AUTH           FOREST HILLS SOUTH OWNERS INC         FOREST HILLS SOUTH OWNERS
PO BOX 337                            PO BOX 3072                           112-50 78TH AVE
ST. MICHAEL, PA 15951                 HICKSVILLE, NY 11802                  FOREST HILLS, NY 11375




FOREST PARK R E LP                    FOREST PARK R.E. L.P.                 FOREVER FOUNDATIONS & FRAME LLC
25 NORTH BRENTWOOD BLVD               C/O NAI DESCO                         PO BOX 5928
ST. LOUIS, MO 63105                   101 SOUTH HANLEY, SUITE 1900          ORANGE, CA 92863
                                      ST. LOUIS, MO 63105




FOREVER MEDIA INC                     FORKLIFT AMERICA                      FORKLIFT SPECIALIST INC
FROGGY 1077 WGTY                      PO BOX 1207                           5094 ULMERTON RD STE 8
275 RADIO RD                          FLORISSANT, MO 63031                  CLEARWATER, FL 33760
HANOVER, PA 17331




FORMAN FLATBROOK LLC                  FORMAN FLATBROOK, LLC                 FORMS & PRINTING SERVICE INC
C/O FORMAN GROUP                      C/O FORMAN GROUP                      3737 WESTCENTER DRIVE
130 SHORE ROAD, SUITE 124             130 SHORE ROAD, SUITE 124             HOUSTON, TX 77042
PORT WASHINGTON, NY 11050             PORT WASHINGTON, NY 11050




FORNESS PROPERTIES, LLC               FORREST ACUFF                         FORREST DAVENPORT
2221 LEE ROAD, SUITE 11               10201 S. MAIN STREET                  10201 S. MAIN STREET
WINTER PARK, FL 32789                 HOUSTON, TX 77025                     HOUSTON, TX 77025




FORREST DAVIS                         FORREST WALKER                        FORREST WUNDERMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




FORREST ZMODA                         FORRESTER RESEARCH INC                FORRESTER RESEARCH INC
10201 S. MAIN STREET                  25304 NETWORK PLACE                   60 ACORN PARK DRIVE
HOUSTON, TX 77025                     CHICAGO, IL 60673                     CAMBRIDGE, MA 02140
                      Case
FORSYTH COUNTY BUSINESS      18-12241-CSS
                         LICENSE       FORSYTHDoc   26 FIRE
                                                COUNTY   Filed 10/05/18
                                                            DEPARTMENT        PageFORSYTH
                                                                                   626 ofCOUNTY
                                                                                          1739 MAGISTRATE COURT
ATTN: PROPERTY TAX DEPT.               3520 SETTINGDOWN RD                        1090 TRIBBLE GAP RD
110 E MAIN ST 100                      CUMMING, GA 30028                          CUMMING, GA 30040
CUMMING, GA 30040




FORSYTH COUNTY TAX COLLECTOR           FORSYTH COUNTY TAX COMMISSIONER            FORSYTH COUNTY
PO BOX 82                              ATTN: MATTHEW C LEDBETTER                  DEPT OF PLANNING & DEVELOPMENT
WINSTON SALEM, NC 27102-0082           1092 TRIBBLE GAP ROAD                      110 E MAIN ST 100
                                       CUMMING, GA 30040                          CUMMING, GA 30040




FORT BEND CENTRAL APPRAISAL DISTRICT   FORT BEND CO. L.I.D. 2                     FORT BEND COUNTY L.I.D. 12
2801 BF TERRY BLVD                     11111 KATY FREEWAY, 725                    873 DULLES AVE., STE A
ROSENBERG, TX 77471                    HOUSTON, TX 77079-2197                     STAFFORD, TX 77477-5753




FORT BEND COUNTY L.I.D. 10             FORT BEND COUNTY LID 17                    FORT BEND COUNTY M.U.D. 50
TAX COLLECTOR                          TAX COLLECTOR                              TAX COLLECTOR
12841 CAPRICORN ST                     12841 CAPRICORN ST                         12841 CAPRICORN ST
STAFFORD, TX 77477-3912                STAFFORD, TX 77477-3912                    STAFFORD, TX 77477-3912




FORT BEND COUNTY MUD 115               FORT BEND COUNTY MUD 136                   FORT BEND COUNTY MUD 194
TAX COLLECTOR                          TAX COLLECTOR                              TAX COLLECTOR
12841 CAPRICORN ST                     12841 CAPRICORN ST                         12841 CAPRICORN ST
STAFFORD, TX 77477-3912                STAFFORD, TX 77477-3912                    STAFFORD, TX 77477-3912




FORT BEND COUNTY MUD 35 TAX            FORT BEND COUNTY TAX ASSESSOR              FORT BEND COUNTY TAX ASSESSOR-
ASSESSOR/COLLECTOR                     COLLECTOR                                  COLLECTOR
TAX COLLECTOR                          PAYMENT PROCESS DEPT                       ATTN: PROPERTY TAX DEPT.
12841 CAPRICORN ST                     P O BOX 1028                               P O BOX 1028
STAFFORD, TX 77477-3912                SUGARLAND, TX 77487-1028                   SUGARLAND, TX 77487-1028



FORT BEND COUNTY TAX ASSESSOR-         FORT BEND MUD 116                          FORT COLLINS UTILITIES
COLLECTOR                              PO BOX 3155                                222 LAPORTE AVE
PAYMENT PROCESS DEPT                   HOUSTON, TX 77253-3155                     FORT COLLINS, CO 80522
P O BOX 1028
SUGARLAND, TX 77487-1028



FORT COLLINS UTILITIES                 FORT EVANS PLAZA LIMITED PARTNERSHIP       FORT HILL NATURAL GAS AUTH
PO BOX 1580                            C/O UNIWEST COMMERCIAL REALTY              311 S PENDLETON ST
FORT COLLINS, CO 80522-1580            8191 STRAWBERRY LANE, SUITE 3              EASLEY, SC 29640
                                       FALLS CHURCH, VA 22042




FORT HILL NATURAL GAS AUTH             FORT MYERS BROADCASTING CO                 FORT PIERCE UTILITIES AUTH
PO BOX 189                             DBA WINK TV WINK NEWS 24/7                 206 S 6TH ST
EASLEY, SC 29641                       2824 PALM BEACH BLVD                       FT. PIERCE, FL 34950
                                       FORT MYERS, FL 33916




FORT PIERCE UTILITIES AUTH             FORT PIERCE UTLITIES AUTH                  FORT UNION SHOPPING CENTER LLC
PO BOX 13929                           PO BOX 13929                               C/O ARCADIA MGMT GROUP INC
FORT PIERCE, FL 34979-3929             FORT PIERCE, FL 34979-3929                 PO BOX 10
                                                                                  SCOTTSDALE, AZ 85252
                      CaseLLC
FORT UNION SHOPPING CENTER,   18-12241-CSS     Doc NEWSPAPERS
                                        FORT WAYNE   26 Filed 10/05/18    PageFORT
                                                                               627WAYNE
                                                                                   of 1739
                                                                                        SHOWS INC.
5670 WILSHIRE BOULEVARD, SUITE 1250     600 W MAIN ST                         P.O. BOX 44
ATTN: STEVEN USDAN                      PO BOX 100                            MONROVIA, IN 46157
LOS ANGELES, CA 90036                   FORT WAYNE, IN 46801-0100




FORTER INC                            FORTIS BUSINESS HOLDINGS, LLC           FORTITUDE TECHNOLOGY INC
12 E 49TH ST                          45 MAIN STREET, STE 804                 6755 MIRA MESA BLVD STE 123-150
NEW YORK, NY 10017                    BROOKLYN, NY 11201                      SAN DIEGO, CA 92121




FORTRESS SAFE & LOCK                  FORTUNA REALTY CO.                      FORTUNA REALTY COMPANY
336 NORTHLAND BLVD.                   THOMAS FINANCIAL SERVICES               C/O PGI MANAGEMENT
CINCINNATI, OH 45246                  PO BOX EC                               1606 N MAIN STREET
                                      PACIFIC GROVE, CA 93950                 SALINAS, CA 93906




FORTY SIX REALTY ASSOC LP             FORTY SIX REALTY ASSOCIATES LP          FORUM LONE STAR L.P.
1680 RTE 23 STE 330                   1680 ROUTE 23 NORTH, SUITE 330          1 EXECUTIVE BLVD
WAYNE, NJ 07470                       WAYNE, NJ 07470                         YONKERS, NY 10701-6822




FORUM LONE STAR L.P.                  FORUM LONE STAR LP                      FORUM LONE STAR, L.P.
C/O AVR REALTY COMPANY LLC            DEPT. 882                               C/O AVR REALTY COMPANY LLC
ONE EXECUTIVE BOULEVARD               P.O. BOX 8000                           ONE EXECUTIVE BOULEVARD
ATTN: LEASE ADMINISTRATION            BUFFALO, NY 14267                       ATTN: LEASE ADMINISTRATION
YONKERS, NY 10701                                                             YONKERS, NY 10701



FORUM WEST LTD                        FORUM WEST LTD.                         FORUM WESTSIDE LLC
C/O SEA ISLAND DEVELOPMENT CO         C/O SEA ISLAND DEVELOPMENT CO.          DBA 205 COMMERCE LLC
10010 SAN PEDRO STE 650               10010 SAN PEDRO STE 650                 PO BOX 529
SAN ANTONIO, TX 78216                 SAN ANTONIO, TX 78216                   EUGENE, OR 97440




FORUM-GROUP LLC                       FORWARD BROKERAGE LLC                   FORZA COMMERCIAL
201 FAIRWAY DR                        PO BOX 310                              P.O. BOX 526412
FORT MILL, SC 29715                   ALTOONA, PA 16603-0310                  SALT LAKE CITY, UT 84152




FORZA MANAGEMENT LLC                  FOSTER E HARRISON DBA HARRISON FIRE &   FOSTER SMITH
P.O. BOX 526412                       SAFETY                                  10201 S. MAIN STREET
SALT LAKE CITY, UT 84152              581 N 660 W                             HOUSTON, TX 77025
                                      WEST BOUNTIFUL, UT 84087




FOSTER, MICHAEL                       FOUNDERS 3 MANAGEMENT COMPANY           FOUNDRY COMMERCIAL LLC
1811 VOLVO PKWY                       252 EAST HIGHLAND AVENUE                121 WEST TRADE STREET, SUITE 2500
CHESAPEAKE, VA 23320-8103             MILWAUKEE, WI 53202                     CHARLOTTE, NC 28202




FOUNDRY COMMERCIAL LLC                FOUNDRY COMMERCIAL                      FOUNTAIN HILLS SANITARY DIST
420 S. ORANGE AVE, SUITE 950          MARY EASON                              16941 E PEPPERWOOD CIRCLE
ORLANDO, FL 32801                     201 S. COLLEGE STREET, SUITE 1300       FOUNTAIN HILLS, AZ 85268-2901
                                      CHARLOTTE, NC 28244
FOUNTAIN HILLS SANITARYCase
                         DIST   18-12241-CSS    Doc
                                          FOUNTAINS   26 Filed
                                                    DUNHILL LLC 65 10/05/18   PageFOUNTAINS
                                                                                   628 of 1739
                                                                                            DUNHILL, LLC
16941 E. PEPPERWOOD CIRCLE                 PO BOX 52765                            C/O DUNHILL PARTNERS
FOUNTAIN HILLS, AZ 85268-2901              AMARILLO, TX 79159                      3100 MONTICELLO AVENUE, SUITE 300
                                                                                   DALLAS, TX 75205




FOUR HANDS                                 FOUR SEASONS LAWN SRVC &                FOUR SQUARE ASSOCIATES LLC
2090 WOODWARD ST                           LANDSCAPING INC                         C/O RUBI ASSOCIATES LLC
AUSTIN, TX 78744                           PO BOX 7372                             195 WEST MAIN STREET
                                           VILLA PARK, IL 60181                    AVON, CT 06001




FOUR SQUARE CAPITAL LLC                    FOURCE LLC                              FOURCE LLC
CHRISTINE WILLIAMSON                       11061 BROADWAY                          ATTN: DENNIS R. CAUDILL
1640 TETHER KEEP                           ATTN: DENNIS R. CAUDILL                 11061 BROADWAY
VIRGINIA BEACH, VA 23454                   CROWN POINT, IN 46307                   CROWN POINT, IN 46307




FOURCE LLC                                 FOURCE LLC                              FOURTEEN ST OWNER REALTY LLC
REDKEY COMMERCIAL INC                      REDKEY COMMERCIAL INC                   C/O DEE & DEE MANAGEMENT, LLC
10769 BROADWAY 356                         10769 BROADWAY 356                      3820 NOSTRAND AVE, SUITE 103
CROWN POINT, IN 46307                      CROWNPOINT, IN 46307                    BROOKLYN, NY 11235




FOURTEEN ST OWNER REALTY LLC               FOURTH QUARTER PROPERTIES 93 LLC        FOURTH VENTURE LLC
C/O DEE & DEE MGMT LLC                     ATTN: LEASE ADMINSTRATION               PARAMOUNT REALTY SERVICES INC
3820 NOSTRAND AVE STE 103                  45 ANSLEY DR                            1195 RTE 70 STE 2000
BROOKLYN, NY 11235                         NEWNAN, GA 30263                        LAKEWOOD, NJ 08701




FOWLER CROSSING PARTNERS LP                FOX AND HOUNDS REALTY TRUST LLC         FOX CHAPEL AUTHORITY
PO BOX 532                                 188 NEEDHAM STREET, SUITE 270           255 ALPHA DR
WOODSTOCK, GA 30188                        NEWTON, MA 02464                        PITTSBURGH, PA 15238-8905




FOX DEN PRODUCTIONS LLC                    FOX HILL II INC                         FOX HILL II, INC.
3721 MERRILY WAY                           DEPT CODE: SNYS0601                     C/O KIMCO REALTY CORPORATION
SACRAMENTO, CA 95821                       PO BOX 6203                             3333 NEW HYDE PARK ROAD, SUITE 100
                                           HICKSVILLE, NY 11802-6203               NEW HYDE PARK, NY 11042-0020




FOX MARKETING CORPORATION                  FOX METRO RECLAMATION DISTRICT          FOX METRO WTR RECLAMATION DIST
21601 PARK BOW DR                          PO BOX 160                              682 STATE ROUTE 31
KATY, TX 77449                             AURORA, IL 60507-0160                   OSWEGO, IL 60543




FOX METRO                                  FOX METRO                               FOX MOVING & STORAGE ALTANTA LLC
682 STATE ROUTE 31                         P.O. BOX 160                            5180 BELLE WOOD CT STE 300
OSWEGO, IL 60543                           AURORA, IL 60507-0160                   BUFORD, GA 30519




FOX PARTNERS L.P.                          FOX ROTHCHILD LLP                       FOX ROTHSCHILD LLP
711 ANGELUS PL                             ATTN: ACCOUNTS RECEIVABLE - 74          ATTN: DAVID N. TANNER
VENICE, CA 90291                           PO BOX 5231                             353 NORTH CLARK STREET, SUITE 3600
                                           PRINCETON, NJ 08543-5231                CHICAGO, IL 60654
                       Case 18-12241-CSS
FOX RUN LIMITED PARTNERSHIP           FOX RUNDoc   26 PARTNERSHIP
                                              LIMITED    Filed 10/05/18        PageFOX
                                                                                    629  ofLIMITED
                                                                                       RUN  1739 PARTNERSHIP
C/O BRIXMOR PROPERTY GROUP            C/O BRIXMOR PROPERTY GROUP                   C/O BRIXMOR PROPERTY GROUP
450 LEXINGTON AVENUE, 13TH FLOOR      PO BOX 645324                                TWO TOWER BRIDGE, ONE FAYETTE ST,
ATTN: GENERAL COUNSEL                 CINCINNATI, OH 45264-5324                    SUITE 150
NEW YORK, NY 10017                                                                 ATTN: REGIONAL COUNSEL
                                                                                   CONSHOHOCKEN, PA 19428


FOX TELEVISION STATIONS INC            FOX TELEVISION STATIONS LLC                 FOX WANG & MORGAN P.C.
25 FOX DR                              32044 COLLECTION CENTER DR                  315 UNIVERSITY AVE
PO BOX 9125                            CHICAGO, IL 60693                           LOS GATOS, CA 95030
DEDHAM, MA 02027




FOXBOROUGH                             FOY WILLIAMS                                FPL
ATTN: PROPERTY TAX DEPT.               10201 S. MAIN STREET                        ATTN: SUMMARY BILLING
40 SOUTH STREET                        HOUSTON, TX 77025                           PO BOX 524013
FOXBORO, MA 02035                                                                  MIAMI, FL 33152-4013




FR LINDEN SQ INC DBA FED REALTY        FR LINDEN SQUARE INC.                       FR LINDEN SQUARE, INC.
INVESTMENT TRUST                       PO BOX 8500-9320                            C/O FEDERAL REALTY INVESTMENT TRUST
PO BOX 8500-9320                       PHILADELPHIA, PA 19178-9320                 1626 EAST JEFFERSON STREET
PHILADELPHIA, PA 19178                                                             ATTN: LEGAL DEPARTMENT
                                                                                   ROCKVILLE, MD 20852-4041



FR PIKE 7 LIMITED PARTNERSHIP          FR PIKE 7 LIMITED PARTNERSHIP               FR RIVERPOINT, LLC
1626 EAST JEFFERSON STREET             P.O. BOX 8500                               C/O FEDERAL REALTY INVESTMENT TRUST
ROCKVILLE, MD 20852                    PHILADELPHIA, PA 19178-9320                 1626 EAST JEFFERSON STREET
                                                                                   ATTN: LEGAL DEPARTMENT
                                                                                   ROCKVILLE, MD 20852-4041



FRAGA PROPERTIES                       FRAN DIV LLC                                FRAN DIV, LLC
VICTORIA ANDRADE                       ATTN: CYRUS W. VAUGHN, III, PRESIDENT       520 W. MAIN STREET
75 VALENCIA AVENUE, SUITE 1150         520 W. MAIN STREET                          ATTN: CYRUS W. VAUGHN, III, PRESIDENT
CORAL GABLES, FL 33134                 SPOKANE, WA 99201                           SPOKANE, WA 99201




FRAN HENDERSON                         FRAN HOWARD                                 FRANCA BRUZONI
10201 S. MAIN STREET                   10201 S. MAIN STREET                        1865 SWUBTIB DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                           FOLSOM, CA 95630




FRANCE PUBLICATIONS INC                FRANCES CHRISTIAN                           FRANCES DAQUINO
DBA FRANCE MEDIA INC                   10201 S. MAIN STREET                        10201 S. MAIN STREET
3500 PIEDMONT RD STE 415               HOUSTON, TX 77025                           HOUSTON, TX 77025
ATLANTA, GA 30305




FRANCES ECHEVERRIA NEIL                FRANCES JAY                                 FRANCES MCNEEL
3130 W. MESA                           10201 S. MAIN STREET                        9001 W 82ND ST
FRESNO, CA 93711                       HOUSTON, TX 77025                           OVERLAND PARK, KS 66204




FRANCESCA MEHR                         FRANCESCO DANINO                            FRANCHISE TAX BOARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                        600 W SANTA ANA BLVD STE 300
HOUSTON, TX 77025                      HOUSTON, TX 77025                           SANTA ANA, CA 92701
FRANCHISE TAX BOARD  Case 18-12241-CSS     DocTAX
                                    FRANCHISE    26BOARD
                                                      Filed 10/05/18    PageFRANCHISE
                                                                             630 of 1739
                                                                                      TAX BOARD-1237
PO BOX 419001                       TAXES-STATE OF CALIFORNIA               PO BOX 1237
RANCHO CORDOVA, CA 95741-9001       PO BOX 942857                           RANCHO CORDOVA, CA 95741
                                    SACRAMENTO, CA 94257-0531




FRANCHISE TAX BOARD-1328             FRANCHISE TAX BOARD-942867             FRANCIE GAULT
PO BOX 1328                          STATE OF CALIFORNIA                    134 OGLE LN
RANCHO CORDOVA, CA 95741             PO BOX 942857                          POWELL, TN 37849
                                     SACRAMENTO, CA 94257




FRANCINE BLACKWELL                   FRANCINE PANZARELLA                    FRANCIS JOSEPH SHEA
819 E RANCH DR                       10201 S. MAIN STREET                   10201 S. MAIN STREET
EAGLE, ID 83616                      HOUSTON, TX 77025                      HOUSTON, TX 77025




FRANCIS LEWIS REALTY LLC             FRANCIS MIKULSKI                       FRANCIS PETERSON
C/O SIMONE DEVELOPMENT               10201 S. MAIN STREET                   10201 S. MAIN STREET
1250 WATERS PLACE, PH1               HOUSTON, TX 77025                      HOUSTON, TX 77025
BRONX, NY 10461




FRANCIS SPRINGER                     FRANCIS STREET HOUSING LLC             FRANCIS STREET HOUSING, LLC
10201 S. MAIN STREET                 LINCOLNSHIRE TOWNHOMES LP              C/O LINCOLNSHIRE TOWNHOMES LP
HOUSTON, TX 77025                    PO BOX 4300                            900-1 BOYD DR
                                     TROY, MI 48099                         ALBION, MI 49224




FRANCIS TOOHEY                       FRANCISCO ARELLANO DBA SUPER           FRANCISCO CASTILLO
10201 S. MAIN STREET                 DELIVERY                               10201 S. MAIN STREET
HOUSTON, TX 77025                    721 S WATER ST                         HOUSTON, TX 77025
                                     OLATHE, KS 66061




FRANCISCO CHAVEZ                     FRANCISCO CORDOVA                      FRANCISCO ECHENIQUE
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




FRANCISCO FERREIRA                   FRANCISCO GONZALES                     FRANCISCO HERNANDEZ
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




FRANCISCO HERRERA                    FRANCISCO JAVIER RUBIO                 FRANCISCO JUAREZ
10201 S. MAIN STREET                 15031 ROCHE ROCK DR                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HUMBLE, TX 77396                       HOUSTON, TX 77025




FRANCISCO L MARTINEZ                 FRANCISCO MARTINEZ IN CARE OF THOMAS   FRANCISCO MARTINEZ
6949 SW 156TH COURT                  BROOKS                                 10201 S. MAIN STREET
MIAMI, FL 33193                      1ST NATIONAL BANK OF RIVERSIDE         HOUSTON, TX 77025
                                     3727 ARLINGTON ST
                                     RIVERSIDE, CA 92506
FRANCISCO MATUS        Case 18-12241-CSS     DocMEDRANO
                                      FRANCISCO  26 Filed 10/05/18     PageFRANCISCO
                                                                            631 of 1739
                                                                                     MERAN GUERRERO
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




FRANCISCO MORA                        FRANCISCO ORTEGA                     FRANCISCO RODRIGUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




FRANCISCO SOSA                        FRANCK KAMANGU                       FRANCK MUIPATAYI
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




FRANCK TOE                            FRANCOMANO & FRANCOMANO P.A.         FRANCOTY-POSTALIA INC
10201 S. MAIN STREET                  101 E CHESAPEAKE AVE SUITE 200       FP MAILING SOLUTIONS
HOUSTON, TX 77025                     TOWSON, MD 21286-5362                140 N MITCHELL CT
                                                                           ADDISON, IL 60101




FRANCOTYP-POSTALIA INC                FRANDORSON PROPERTIES LP             FRANDORSON PROPERTIES
PO BOX 157                            ATTN: PATRICK CORR                   300 FRANDOR AVENUE, 2ND FLOOR
BEDFORD PARK, IL 60499-0157           300 FRANDOR AVENUE, 2ND FLOOR        ATTN: PATRICK CORR
                                      LANSING, MI 48912                    LANSING, MI 48912




FRANK & LYNN KIRK TRUST               FRANK & LYNN KIRK TRUST              FRANK A. SALANDRA & CO.
1524 1/2 STATE ST                     1524 1/2 STATE STREET                ATTN: KAREN MOLIA
SANTA BARBARA, CA 93101               SANTA BARBARA, CA 93101              550 MAMARONECK AVENUE, SUITE 402
                                                                           HARRISON, NY 10528




FRANK AIKPITANYI                      FRANK AND JOANNE PALMERI             FRANK BONNER
10201 S. MAIN STREET                  70 CHESTNUT RIDGE RD                 10201 S. MAIN STREET
HOUSTON, TX 77025                     MILLS RIVER, NC 28759                HOUSTON, TX 77025




FRANK BUTTIGLIERI                     FRANK CARDO                          FRANK CARDO
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




FRANK CAVE                            FRANK CHICKARA                       FRANK CLOYD
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




FRANK COSTELLO                        FRANK CUSIMANO                       FRANK D MOORE
10201 S. MAIN STREET                  10201 S. MAIN STREET                 19 79TH STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    SAINT PETERSBURG, FL 33707
FRANK D WINKLER        Case 18-12241-CSS
                                      FRANK DDoc 26 Filed 10/05/18
                                             WINKLER                          PageFRANK
                                                                                   632 D.
                                                                                        ofWINKLER
                                                                                           1739 REVOCABLE TRUST
3834 SPRINGHILL RD                    DBA SGF LLC                                 D/B/A SGF, LLC
JOPLIN, MO 64804                      3834 SPRINGHILL RD                          3834 SPRINGHILL
                                      JOPLIN, MO 64804                            JOPLIN, MO 64804




FRANK DEFRANCIS                       FRANK DEL VICARIO                           FRANK ESCOBAR
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




FRANK FARMER                          FRANK FERRARO                               FRANK GIBBS
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




FRANK GLADMAN                         FRANK GOMEZ                                 FRANK GREEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




FRANK GUZMAN                          FRANK HAGER                                 FRANK HAHN
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




FRANK HEGARTY                         FRANK IACOVELLI                             FRANK JACKSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                        2513 DUPORTAIL ST F-339
HOUSTON, TX 77025                     HOUSTON, TX 77025                           RICHLAND, WA 99352




FRANK KERRIGAN                        FRANK L COLLEY                              FRANK LOPEZ
10201 S. MAIN STREET                  2608 SINCLAIR ST                            10201 S. MAIN STREET
HOUSTON, TX 77025                     ROUND ROCK, TX 78681                        HOUSTON, TX 77025




FRANK M. GOLDBERG TRUSTEE             FRANK M. GOLDBERG, AS TRUSTEE OF THE        FRANK M. GOLDBERG, AS TRUSTEE OF THE
SEA PROP MGT CO AMO                   GOLDBERG FAMILY TRUST, U.D.T., MAY 8,       GOLDBERG FAMILY TRUST, U.D.T., MAY 8,
1333 CAMINO DEL RIOS S 310            1980                                        1980
SAN DIEGO, CA 92108                   1333 CAMINO DEL RIO SOUTH, SUITE 310        ATTN: FRANK GOLDBERG
                                      ATTN: FRANK GOLDBERG                        1333 CAMINO DEL RIO SOUTH, SUITE 310
                                      SAN DIEGO, CA 92108                         SAN DIEGO, CA 92108


FRANK MASSA                           FRANK MASSARO                               FRANK MAYBORN ENTERPRISES INC
10201 S. MAIN STREET                  8650 WESLEYAN DR APT 506                    DBA TEMPLE DAILY TELEGRAM
HOUSTON, TX 77025                     FORT MYERS, FL 33919                        10 S 3RD ST
                                                                                  TEMPLE, TX 76501




FRANK MEO                             FRANK MINNICK DBA MINNICK SIGNS             FRANK NOTTE
10201 S. MAIN STREET                  579 OAKFORD PARK RD                         10201 S. MAIN STREET
HOUSTON, TX 77025                     GREENSBURG, PA 15601                        HOUSTON, TX 77025
FRANK PALMERI           Case 18-12241-CSS     Doc 26
                                       FRANK PIECHOTA      Filed 10/05/18   PageFRANK
                                                                                 633 PORRAZ
                                                                                      of 1739
70 CHESTNUT RIDGE RD                    10201 S. MAIN STREET                    12345 MONTE VISTA AVE
MILLS RIVER, NC 28759                   HOUSTON, TX 77025                       CHINO, CA 91710




FRANK PRESTOMADRIGAL                    FRANK PULLARA                           FRANK PURDY
853 TEMPLETON AVE                       10201 S. MAIN STREET                    10201 S. MAIN STREET
DALY CITY, CA 94014                     HOUSTON, TX 77025                       HOUSTON, TX 77025




FRANK RACZKOWSKI                        FRANK RAPOLLA                           FRANK RODGERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




FRANK SALTZBERG                         FRANK SAVINO                            FRANK SCRIBNER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




FRANK SEAGO                             FRANK SERRA                             FRANK SINGLETON
410 PENNSYLVANIA AVE                    10201 S. MAIN STREET                    10201 S. MAIN STREET
LOVES PARK, IL 61111                    HOUSTON, TX 77025                       HOUSTON, TX 77025




FRANK SUMNER                            FRANK TILGHMAN                          FRANK TILGHMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




FRANK TOHOSKY                           FRANK TRUMAN                            FRANK TRUPIA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




FRANK W BEMIS                           FRANK, TIM                              FRANK, WEINBERG & BLACK, P.L.
3024 PADDOCK RD                         911 WRIGHT ST                           ATTN: STEVEN W. DEUTSCH, ESQ.
OMAHA, NE 68124                         BLOOMINGTON, IL 61701-6733              7805 S.W. 6TH COURT
                                                                                PLANTATION, FL 33324




FRANKFORT PLANT BOARD                   FRANKFORT PLANT BOARD                   FRANKFORT
151 FLYNN AVE                           PO BOX 308                              ATTN: INCOME TAX DEPT.
FRANKFORT, KY 40601                     FRANKFORT, KY 40602                     501 HIGH STREET​
                                                                                FRANKFORT, KY 40601




FRANKIE BOYER                           FRANKIE BYERS                           FRANKIE DILEO
1903 AZTEC TRACE                        10201 S. MAIN STREET                    10201 S. MAIN STREET
HARKER HEIGHTS, TX 76548                HOUSTON, TX 77025                       HOUSTON, TX 77025
FRANKIE SABINO            Case 18-12241-CSS     Doc
                                         FRANKISHA   26 Filed 10/05/18
                                                   HUTCHINSON               PageFRANKLIN
                                                                                 634 of ABREU
                                                                                         1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




FRANKLIN ANGLY                           FRANKLIN BECKNELL                      FRANKLIN BOARD OF PUBLIC WORKS
10201 S. MAIN STREET                     10201 S. MAIN STREET                   46 MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      FRANKLIN, NJ 07416




FRANKLIN CALDERON                        FRANKLIN COMMUNICATIONS INC            FRANKLIN COMMUNICATIONS INC
10201 S. MAIN STREET                     WLVQ-FM                                WNND-FM
HOUSTON, TX 77025                        4401 CARRIAGE HILL LN                  4401 CARRIAGE HILL LN
                                         COLUMBUS, OH 43220                     COLUMBUS, OH 43220




FRANKLIN COMMUNICATIONS INC              FRANKLIN COMMUNICATIONS INC            FRANKLIN COUNTY AUDITOR
WSNY-FM                                  WVMX-FM                                WASHINGTON STATE DEPT OF LICENSING
4401 CARRIAGE HILL LN                    4401 CARRIAGE HILL LN                  PO BOX 1451
COLUMBUS, OH 43220                       COLUMBUS, OH 43220                     PASCO, WA 99301




FRANKLIN COUNTY SHERIFF                  FRANKLIN COUNTY TREASURER              FRANKLIN COUNTY TREASURUER
PO BOX 5260                              373 S HIGH ST 17TH FLOOR               PO BOX 1011
FRANKFORT, KY 40602                      COLUMBUS, OH 43215-6306                PASCO, WA 99301




FRANKLIN COVEY CLIENT SALES INC          FRANKLIN COVEY CLIENT SALES INC        FRANKLIN DISPOSAL
2200 WEST PARKWAY BLVD                   PO BOX 25127                           306 FLOWERWOOD CT
SALT LAKE CITY, UT 84119                 SALT LAKE CITY, UT 84125-0127          BRENTWOOD, TN 37027




FRANKLIN DISPOSAL                        FRANKLIN PRENDERGAST                   FRANKLIN PUD
P.O. BOX 681627                          10201 S. MAIN STREET                   PO BOX 2407
FRANKLIN, TN 37068-1627                  HOUSTON, TX 77025                      PASCO, WA 99302-2407




FRANKLIN RAVELO                          FRANKLIN SMITH                         FRANKLIN SQUARE WATER DISTRICT
10201 S. MAIN STREET                     10201 S. MAIN STREET                   895 SCHROETER AVE
HOUSTON, TX 77025                        HOUSTON, TX 77025                      FRANKLIN SQUARE, NY 11010




FRANKLIN SQUARE WATER DISTRICT           FRANKLIN STREET                        FRANKLIN TOWNSHIP
P.O. BOX 177                             ATTN: MARICELA RODRIGUEZ               BUREAU OF FIRE PREVENTION
FRANKLIN SQUARE, NY 11010                7700 N. KENDALL DRIVE, SUITE 201       67 QUAKERTOWN RD
                                         MIAMI, FL 33156                        PITTSTOWN, NJ 08867




FRANKLIN VILLAGE                         FRANKLIN VILLAGE, LLC                  FRANKLIN VILLAGE, LLC
PO BOX 97487                             8368 SIX FORKS ROAD, SUITE 204         ATTN: ANDY AMMONS
RALEIGH, NC 27624                        ATTN: ANDY AMMONS                      8368 SIX FORKS ROAD, SUITE 204
                                         RALEIGH, NC 27615                      RALEIGH, NC 27615
FRANKLIN WHITE         Case 18-12241-CSS     Doc
                                      FRANKLIN    26 Filed
                                               WYNDHAM LLC 10/05/18   PageFRANKLIN
                                                                           635 of 1739
10201 S. MAIN STREET                  666 DUNDEE RD STE 901               ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                     NORTHBROOK, IL 60062                9229 W LOOMIS RD
                                                                          FRANKLIN, WI 53132




FRANKLYN MATEO-BREA                   FRANS CONSTRUCTION INC              FRANTZ LACROIX
10201 S. MAIN STREET                  2364 N CORSEY WAY                   10201 S. MAIN STREET
HOUSTON, TX 77025                     EAGLE, ID 83616                     HOUSTON, TX 77025




FRANTZ LOUIS                          FRASIER TIRE SERVICE INC            FRED ARGANI
10201 S. MAIN STREET                  7164 CROSS COUNTY RD                10201 S. MAIN STREET
HOUSTON, TX 77025                     NORTH CHARLESTON, SC 29418          HOUSTON, TX 77025




FRED BETHEL                           FRED BURGHARD                       FRED C TINSEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                862 WATKINS
HOUSTON, TX 77025                     HOUSTON, TX 77025                   BIRMINGHAM, MI 48009




FRED CROSTHWAITE                      FRED FARAH                          FRED GROVE
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




FRED HAMILTON                         FRED KRAFT                          FRED LAGRANT
10201 S. MAIN STREET                  2285 BUCKSPORT AVE                  10201 S. MAIN STREET
HOUSTON, TX 77025                     THE VILLAGES, FL 32162              HOUSTON, TX 77025




FRED MEYGHANI                         FRED PRYOR SEMINARS                 FRED RAHAEI
10201 S. MAIN STREET                  PO BOX 219468                       10201 S. MAIN STREET
HOUSTON, TX 77025                     KANSAS CITY, MO 64121-9468          HOUSTON, TX 77025




FRED RAMSEY                           FRED SIEGEL                         FRED SUE
5417 GLENWOOD AVE                     10201 S. MAIN STREET                10201 S. MAIN STREET
PITTSBURGH, PA 15207                  HOUSTON, TX 77025                   HOUSTON, TX 77025




FRED W ANDERSON APC                   FRED YOUNG                          FREDA DRAKE
347 SW OAK ST                         10201 S. MAIN STREET                10201 S. MAIN STREET
HILLSBORO, OR 97123                   HOUSTON, TX 77025                   HOUSTON, TX 77025




FREDA SMITH                           FREDDIE BRANCH                      FREDDIE ESCAMILLA
1114 WEAVER ST                        10201 S. MAIN STREET                10201 S. MAIN STREET
CEDAR HILL, TX 75104                  HOUSTON, TX 77025                   HOUSTON, TX 77025
FREDDIE GARY            Case 18-12241-CSS
                                       FREDDYDoc 26
                                             ACEVES        Filed 10/05/18   PageFREDDY
                                                                                 636 ofIBARRA
                                                                                         1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




FREDERICK BIBBO                         FREDERICK BROWN                         FREDERICK CROMER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




FREDERICK FANT                          FREDERICK H WILLIAMS                    FREDERICK HUDSON
10201 S. MAIN STREET                    8007 TEMPLE ROAD                        10201 S. MAIN STREET
HOUSTON, TX 77025                       PHILADELPHIA, PA 19150                  HOUSTON, TX 77025




FREDERICK J HANNA & ASSOC PC            FREDERICK LASS                          FREDERICK MAIORINO
1427 ROSWELL RD                         10201 S. MAIN STREET                    10201 S. MAIN STREET
MARIETTA, GA 30062                      HOUSTON, TX 77025                       HOUSTON, TX 77025




FREDERICK MCMENIMEN                     FREDERICK MYERS                         FREDERICK OFILI
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




FREDERICK S LATSKO DBA L.I. CLARK LLC   FREDERICK S LATSKO                      FREDERICK SIMPSON
908 NORTH HALSTED                       908 NORTH HALSTED                       3105 WICK HAM
CHICAGO, IL 60642                       CHICAGO, IL 60642                       MEMPHIS, TN 38118




FREDERICK SMITH                         FREDERICK SUTHERLAND                    FREDERICK THOMAS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




FREDERICK WILK                          FREDERICK                               FREDERICKSBURG 35 LLC
10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.                C/O RAPPAPORT MGMT CO
HOUSTON, TX 77025                       12 E. CHURCH ST.                        PO BOX 890243
                                        ST. FREDERICK, MD 21701                 CHARLOTTE, NC 28289




FREDERICKSBURG 35 LLC                   FREDERICKSBURG                          FREDERICKSBURG
C/O RAPPAPORT MGMT CO                   ATTN: PROPERTY TAX DEPT.                ATTN: PROPERTY TAX DEPT.
PO BOX 890243                           126 W MAIN ST                           PO BOX 967
CHARLOTTE, NC 28289                     FREDERICKSBURG, TX 78624                FREDERICKSBURG, VA 22404-0967




FREDMAN BROS FURNITURE CO INC           FREDONIA GRAPHICS                       FREDRICH GREEN
DBA GLIDEAWAY MFG CO INC                PHILLIP E. LEHART                       10201 S. MAIN STREET
8226 LACKLAND RD                        2205 NORTH ST.                          HOUSTON, TX 77025
SAINT LOUIS, MO 63114                   NACOGDOCHES, TX 75965
                      Case
FREDRICK MARTIN JOHNSON      18-12241-CSS     Doc
                                       FREDRICK    26 Filed 10/05/18
                                                MEYERS                         PageFREDY
                                                                                    637 RUIZ
                                                                                         of 1739
10201 S. MAIN STREET                    19530 OLD CUTTER RD                        10201 S. MAIN STREET
HOUSTON, TX 77025                       MIAMI, FL 33157                            HOUSTON, TX 77025




FREEDMAN INVESTMENT LP                  FREEMAN                                    FREEZE FLAME CKR
C/O UNITED EQUITIES INC                 PO BOX 650036                              20914 JAY WAY
4545 BISSONNET STE 100                  DALLAS, TX 75265-0036                      HOCKLEY, TX 77447
BELLAIRE, TX 77401




FREIGHT CLAIMS                          FREIGHT ONE TRANSPORTATION                 FREJA LLC
5815 GULF FREEWAY                       1606 WISDOM ST                             C/O VIKING ACQUISITIONS LLC
HOUSTON, TX 77023                       CHATTANOOGA, TN 37406                      PO BOX 316
                                                                                   SHARON, MA 02067




FREMONT RETAIL PARTNERS                 FREMONT RETAIL PARTNERS, LP                FREMONT RETAIL PARTNERS, LP
PO BOX 82565                            C/O KIMCO REALTY CORPORATION               C/O KIMCO REALTY CORPORATION
GOLETA, CA 93118-2565                   1621-B SOUTH MELROSE DRIVE                 3333 NEW HYDE PARK ROAD, SUITE 100
                                        ATTN: LEGAL DEPARTMENT                     ATTN: LEGAL DEPARTMENT
                                        VISTA, CA 92081                            NEW HYDE PARK, NY 11042-0020



FREP MELROSE PARK LLC                   FRESH POND MALL LP                         FRESH POND MALL LP
477 ELM PLACE                           545 CONCORD AVE STE 400                    545 CONCORD AVENUE, SUITE 400
HIGHLAND PARK, IL 60035                 CAMBRIDGE, MA 02138                        CAMBRIDGE, MA 02138




FRESH START - BRUNSWICK LLC             FRESH START - BRUNSWICK, LLC               FRESH START - COVINGTON, LLC
C/O THE TRILOGY GROUP, LLC              C/O THE TRILOGY GROUP, LLC                 C/O THE TRILOGY GROUP, LLC
6400 POWERS FERRY ROAD NW, STE 100      6400 POWERS FERRY ROAD NW, SUITE 100       6400 POWERS FERRY ROAD NW, STE 100
ATLANTA, GA 30339                       ATLANTA, GA 30339                          ATLANTA, GA 30339




FRESH START - COVINGTON, LLC            FRESIA SOTO                                FRESNO COUNTY TAX COLLECTOR
C/O THE TRILOGY GROUP, LLC              10201 S. MAIN STREET                       ATTN: PROPERTY TAX DEPT.
6400 POWERS FERRY ROAD, NW, SUITE 100   HOUSTON, TX 77025                          PO BOX 1192
ATLANTA, GA 30339                                                                  FRESNO, CA 93715-1192




FRESNO HOME REMODELING &                FRG SC5 BEACON LLC                         FRG SC5 BEACON LLC
DECORATING SHOW                         C/O BOZZUTO MANAGEMENT CO                  C/O BOZZUTO MANAGEMENT CO.
4120 DOUGLAS BLVD 306-349               6870 RICHMOND HWY                          6870 RICHMOND HIGHWAY
GRANITE BAY, CA 95746                   ALEXANDRIA, VA 22306                       ALEXANDRIA, VA 22306




FRIDDLE PELHAM, LLC                     FRIEDLANDER, DAVID                         FRIEDMAN BROKERAGE COMPANY LLC
C/O LEE PROPERTY SERVICES, LLC          624 MYRTLE AVE                             26711 NORTHWESTERN HWY STE 150
101 W, COURT STREET, SUITE A            WEST ISLIP, NY 11795-3718                  SOUTHFIELD, MI 48033
GREENVILLE, NC 29601




FRIEDMAN BROKERAGE COMPANY LLC          FRIEDMAN DENVER & MERLIN LLC               FRIEDMAN INTEGRATED REAL ESTATE
RECEIVER FOR ELMHURST RETAIL LLC        5555 GLENRIDGE CONNECTOR NE                SOLUTIONS
26711 NORTHWESTERN HWY STE 125          SUITE 925 GLENRIDGE HIGHLANDS I            SHARON STOLL, PORTFOLIO MANAGER
SOUTHFIELD, MI 48033                    ATLANTA, GA 30342-4728                     34975 WEST TWELVE MILE ROAD
                                                                                   FARMINGTON HILLS, MI 48331
FRIEDMAN MGMT COMPANYCase       18-12241-CSS    Doc
                                          FRIEDMAN   26 Filed
                                                   RECYCLING    10/05/18
                                                             COMPANIES          PageFRIEDRICH
                                                                                     638 of 1739
                                                                                              FALCH
MGMT AGENT FOR THE RECEIVER               3640 WEST LINCOLN ST                      10201 S. MAIN STREET
34975 W TWELVE MILE RD                    PHOENIX, AZ 85009                         HOUSTON, TX 77025
FARMINGTON HILLS, MI 48331




FRIEND EQUIPMENT INC.                     FRIEND EQUIPMENT INC.                     FRIENDLY VALLEY CENTER
1934 E STATE HWY 121                      P.O. BOX 560274                           DBA ROYAL CROSSING
LEWISVILLE, TX 75056                      THE COLONY, TX 75056                      11440 SAN VICENTE BLVD STE 200
                                                                                    LOS ANGELES, CA 90049




FRIENDS REALTY ASSOCIATES LLC             FRIENDS REALTY ASSOCIATES, LLC            FRIENDSWOOD YOUTH FOOTBALL ASSOC
421 SEVENTH AVE 15TH FLOOR                C/O AAG MANAGEMENT, INC.                  PO BOX 2318
NEW YORK, NY 10001                        421 7TH AVENUE                            FRIENDSWOOD, TX 77549
                                          ATTN: DAVID GROSSMAN
                                          NEW YORK, NY 10001



FRISCO GATE SHOPPING CENTER DALLAS,       FRISCO GATE SHOPPING CENTER DALLAS,       FRISCO GATE SHOPPING CENTER
TX, LP                                    TX, LP                                    DALLAS TX LP
270 COMMERCE DRIVE                        GREG BURNHAM, OPERATIONS MANAGER          PO BOX 93070
ROCHESTER, NY 14623-3506                  270 COMMERCE DRIVE                        ROCHESTER, NY 14692
                                          ROCHESTER, NY 14623-3506



FRISCO INDEPENDENT SCHOOL DISTRICT        FROILAN RIVERA                            FROMAYAN, KERKULA
LAURA BOATRIGHT, TAX ASSESSOR             10201 S. MAIN STREET                      706 E ATLANTIC AVE
P O BOX 547                               HOUSTON, TX 77025                         FAIRFIELD, CA 94533-1628
FRISCO, TX 75034




FROMMELT EQUIPMENT COMPANY INC            FRONT RANGE UNIQUE FUNDRAISING LLC        FRONTAGE 75 LLC
PO BOX 10, 184 MAIN ST                    620 PYRAMID PEAK ST                       P.O. BOX 55
NORTH READING, MA 01864                   BERTHOUD, CO 80513                        MINERAL BLUFF, GA 30559




FRONTAGE 75, LLC                          FRONTAGE SHOPPING CENTER LLC              FRONTAGE SHOPPING CENTER LLC
P.O. BOX 55                               C/O CA WHITE INC                          C/O CA WHITE INC
MINERAL BLUFF, GA 30559                   1211 CHAPEL ST                            1211 CHAPEL ST
                                          NEW HAVEN, CT 06511                       NEW HAVEN, CT 06511




FRONTIER ASSET PROTECTION LLC             FRONTIER ASSET PROTECTION LLC             FRONTIER CLERMONT LLC
2100 N WOLMOT 211                         PO BOX 32255                              C/O FRONTIER DEVELOPMENT, LLC
TUCSON, AZ 85712                          TUCSON, AZ 85751-2256                     1801 SW 3RD AVE, STE 500
                                                                                    ATTN: JAMES LEACH
                                                                                    MIAMI, FL 33129



FRONTIER CLERMONT, LLC                    FRONTIER DANIA LLC                        FRONTIER DANIA LLC
C/O FRONTIER DEVELOPMENT, LLC             C/O FRONTIER DEVELOPMENT LLC              C/O FRONTIER DEVELOPMENT LLC
1801 SW 3RD AVENUE, SUITE 500             1801 S.W. 3RD AVE, STE 500                1801 S.W. 3RD AVENUE, SUITE 500
ATTN: JAMES LEACH                         MIAMI, FL 33129                           MIAMI, FL 33129
MIAMI, FL 33129



FRONTIER NATURAL GAS                      FRONTIER SUFFOLK                          FRONTIER VILLAGE LP
110 PGW DRIVE                             C/O GENEVA MANAGEMENT LLC                 C/O SANSONE GROUP
ELKIN, NC 28621-2105                      1801 SW 3RD AVE STE 500                   120 S. CENTRAL AVE, STE 500
                                          MIAMI, FL 33129                           ST. LOUIS, MO 63105
FRONTIER VILLAGE LP      Case 18-12241-CSS     Doc
                                        FRONTIER     26 LPFiled 10/05/18
                                                 VILLAGE                        PageFRONTIER
                                                                                     639 of VILLAGE,
                                                                                             1739 LP
C/O SANSONE GRP                          LA FRONTERA VILLAGE LP                     C/O SANSONE GROUP
PO BOX 204372                            PO BOX 204372                              120 S. CENTRAL AVE, STE 500
DALLAS, TX 75320                         DALLAS, TX 75320-4372                      ST. LOUIS, MO 63105




FRONTIER VILLAGE, LP                     FRONTIER VILLAGE, LP                       FRONTIER
C/O SANSONE GROUP                        LA FRONTERA VILLAGE LP                     ATTN BANKRUPTCY DEPT
PO BOX 204372                            PO BOX 204372                              19 JOHN ST
DALLAS, TX 75320                         DALLAS, TX 75320-4372                      MIDDLETOWN, NY 10940




FRONTIER                                 FRONTIER                                   FRONTLINE MEDIA SOLUTIONS INC
C/O RANDALL S FUDGE P.C.                 P.O. BOX 740407                            825-C MERRIMON AVE STE 360
PO BOX 60872                             CINCINNATI, OH 45274-0407                  ASHEVILLE, NC 28804
OKLAHOMA CITY, OK 73146




FRONTSTREET FACILITIES SOLUTIONS INC     FRONTSTREET FACILITIES SOLUTIONS INC       FROSCH REWARDS & INCENTIVES
4170 VETERANS MEMORIAL HWY               PO BOX 40006                               ACCOUNTS RECEIVABLE
BOHEMIA, NY 11716                        NEWARK, NJ 07101                           1411 E SANDY LAKE RD STE 120
                                                                                    COPPELL, TX 75019




FROST BROW TODD LLC                      FRP ACQUISITIONS, LLC                      FRUCHEYS TRASH SERVICE LLC
ATTN: DONALD SMITH                       5207 MCKINNEY AVENUE, SUITE 22             1262 FAIRGREEN AVE
201 N ILLINOIS STREET, SUITE 1900        DALLAS, TX 75202                           LIMA, OH 45805
INDIANAPOLIS, IN 46244




FRUCHEYS TRASH SERVICE LLC               FRUITLAND MUTUAL WATER CO                  FRUITLAND MUTUAL WATER CO
P.O. BOX 2097                            4001 9TH ST SW                             P.O. BOX 73759
CRIDERSVILLE, OH 45806                   PUYALLUP, WA 98373                         PUYALLUP, WA 98373




FRY ROAD MUD                             FRY WAGNER MOVING & STORAGE                FRYE, WILLIAM
11111 KATY FREEWAY 725                   3700 RIDER TRAIL SOUTH                     23656 HEMLOCK AVE APT 10
HOUSTON, TX 77079-2197                   EARTH CITY, MO 63045                       MORENO VALLEY, CA 92557-7114




FRYE, WILLIAM                            FS DELIVERY INC.                           FSI MID-STATE DIVISION INC
23656 HEMLOCK AVE,#10                    6969 HOLLISTER APT. 1112                   121 MIDDLE COLLISION RD
MORENO VALLEY, CA 92553                  HOUSTON, TX 77040                          MOUNT LOOKOUT, WV 26678




FSM II LLC                               FSM II LLC                                 FSSD TV
C/O QUANTUM COMPANIES                    C/O QUANTUM COMPANIES                      62612 COLLECTION CENTER DR.
4912 DEL RAY AVENUE                      4912 DEL RAY AVENUE                        CHICAGO, IL 60693
BETHESDA, MD 20814                       BETHESDA, MD 20814




FSU COLLEGE OF BUSINESS                  FSU RETAIL INVESTORS LLC                   FSU RETAIL INVESTORS LLC
PO BOX 3061110                           ATTN: DAVID SALMANSON                      CORTLAND CAPITAL SERVICES ATTN
TALLAHASSEE, FL 32306                    6640 PINE TREE LANE                        PROPERTY ACCT
                                         MIAMI BEACH, FL 33141-4531                 1289 CITY CENTER DR SUITE 100
                                                                                    CARMEL, IN 46032
FSU RETAIL INVESTORS LLCCase    18-12241-CSS     Doc 26
                                          FSU SOUNDATION     Filed 10/05/18
                                                          1141                PageFT640 ofHOLDINGS
                                                                                     MEDIA 1739 LLC
CORTLAND CAPITAL SERVICES                 ATTN: PAT PALLENTINO, DIRECTOR          PROGRESSIVE BUSINESS MEDIA
ATTN PROPERTY ACCT                        PO BOX 3061110                          PO BOX 602941
1289 CITY CENTER DR SUITE 100             TALLAHASSEE, FL 32306                   CHARLOTTE, NC 28260-2941
CARMEL, IN 46032



FT REWARDS LLC                            FTE-LGBS                                FTI CONSULTING INC
FROSCH REWARDS & INCENTIVES               PO BOX 978658                           PO BOX 418005
1411 E SANDY LAKE RD 120                  DALLAS, TX 75397                        BOSTON, MA 02241-8005
COPPELL, TX 75019




FTT TOTAL WINE CENTER LLC                 FUAFANUA TAKATAKA                       FUELMAN OF DFW
1790 E RIVER RD STE 310                   10201 S. MAIN STREET                    1226 E WEATHERFORD ST
TUCSON, AZ 85718                          HOUSTON, TX 77025                       FORT WORTH, TX 76102




FUELMAN OF DFW                            FUHRMAN REALTY LLC                      FUHRMAN REALTY LLC
PO BOX 1260                               A.L FUHRMAN                             3959 N BUFFALO RD
FORT WORTH, TX 76101                      143 VINTAGEISLE LN                      ORCHARD PARK, NY 14127
                                          PALM BEACH GARDENS, FL 33418




FUHRMAN REALTY LLC                        FULL POWER RADIO                        FULL STEAM AHEAD INC
A.L FUHRMAN                               PO BOX 357                              1455 COMMERCE PLACE
143 VINTAGEISLE LN                        LEDYARD, CT 06339                       MYRTLE BEACH, SC 29577
PALM BEACH GARDENS, FL 33418




FULLERTON PROPERTIES INC/FULLERTON        FULLERTON TUCSON MKTPLACE LLC           FULTON COUNTY FINANCE DEPARTMENT
TUCSON MKTPLACE LLC                       C/O RETAIL W PROPETIES LLC              WATER & SEWER BILLING & COLLECTIONS
199 N CAPITOL BLVD STE 300                4750 N ORACLE RD STE 210                P.O. BOX 105300
BOISE, ID 83701                           TUCSON, AZ 85705                        ATLANTA, GA 04348-5300




FULTON COUNTY FINANCE DEPARTMENT          FULTON COUNTY FINANCE DEPT              FULTON COUNTY TAX COMMISSIONER
WATER & SEWER BILLING & COLLECTIONS       141 PRYOR ST                            ATTN: PROPERTY TAX DEPT.
P.O. BOX 105300                           STE 7001                                P.O. BOX 105052
ATLANTA, GA 30348-5300                    ATLANTA, GA 30303                       ATLANTA, GA 30348-5052




FULTON COUNTY TAX COMMISSIONER            FULVIO ROSA                             FUN TRENDS USA LLC
P.O. BOX 105052                           10201 S. MAIN STREET                    7004 BOULEVARD EAST STE 25E
ATLANTA, GA 30348-5052                    HOUSTON, TX 77025                       GUTTENBERG, NJ 07093




FUNAI LLC                                 FUNAI, LLC                              FUNAI, LLC
ATTN: CARLO DICARLO                       ATTN: CARLO DICARLO                     P.O. BOX 778
P.O. BOX 778                              P.O. BOX 778                            ATTN: CARLO DICARLO
TWIN LAKES, WI 53181                      TWIN LAKE, WI 53181                     TWIN LAKE, WI 53181




FUNB 2000-C2 TORRENCE RETAIL LLC          FUNDAMENTALS COMPANY LLC                FUNDAMENTALS COMPANY LLC
2215 YORK RD STE 503                      185 NW SPANISH RIVER BLVD               C/O KIN PROPERTIES, INC.
HINSDALE, IL 60523                        BOCA RATON, FL 33431                    185 NW SPANISH RIVER BLVD, STE 100
                                                                                  BOCA RATON, FL 33431
FUNDAMENTALS COMPANYCase LLC 18-12241-CSS     Doc 26COMPANY
                                       FUNDAMENTALS       FiledLLC
                                                                10/05/18    PageFUNHOUSE
                                                                                 641 of 1739
                                                                                         PLAZA    LLC
C/O KIN PROPERTIES, INC.               KIN PROPERTIES INC                       PO BOX 843
185 NW SPANISH RIVER BOULEVARD, SUITE  185 NW SPANISH RIVER BLVD                SALEM, NH 03079
100                                    BOCA RATON, FL 33431-4230
BOCA RATON, FL 33431



FUNHOUSE PLAZA LLC                     FUNHOUSE PLAZA, LLC                      FUNK ENTERPRISES INC
PO BOX 843                             P.O. BOX 843                             31500 GRAPE ST STE 3-316
SALEM, NH 03079                        SALEM, NH 03079                          LAKE ELSINORE, CA 92532




FUQUA ACQUISITIONS, LLC                FUQUA BCDC BARRETT PARKWAY LLC           FUQUA BCDC BARRETT PARKWAY PROJECT
FUQUA DEVELOPMENT, LP; 15 PIEDMONT     3575 PIEDMONT RD STE 800                 OWNER LLC
CTR                                    ATLANTA, GA 30305                        C/O FUQUA DEVEL. LP-15 PIEDMONT CNTR
3575 PIEDMONT RD NE, STE 800                                                    3575 PIEDMONT RD NE STE 800
ATTN: GREER SCOGGINS                                                            ATLANTA, GA 30305
ATLANTA, GA 30305


FUQUA DEVELOPMENT LLC                  FUQUA, MARK                              FUQUAY COMMONS II LLLP
3495 PIEDMONT RD NE BLDG 11 ST 905     11103 N 27TH ST                          C/O TRICOR
ATLANTA, GA 30305                      TAMPA, FLORIDA 33612-6227                270 WEST NEW ENGLAND AVE
                                                                                WINTER PARK, FL 32789




FUQUAY COMMONS LLP                     FUQUAY GLASS COMPANY INC                 FURHAM REALTY LLC
100 E SYBELIA AVE STE 120              109 RALEIGH ST                           34 DORAL DRIVE
MAITLAND, FL 32751                     FUQUAY VARINA, NC 27526                  ATTN: A. LEON FURHAM
                                                                                MANHASSET, NY 11030




FURHAM REALTY LLC                      FURNITURE MARKETING GROUP INC            FURNITURE TRANSPORTATION SYSTEM INC
ATTN: A. LEON FURHAM                   PO BOX 201827                            3100 POMONA BLVD
34 DORAL DRIVE                         DALLAS, TX 75320-1827                    POMONA, CA 91768
MANHASSET, NY 11030




FURNITURE TRANSPORTATION               FURNITURE VALUES INTERNATIONAL LLC       FURST JACOBS LLC
PO BOX 2960                            601 N 75TH AVE                           100 CANYON CREEK
POMONA, CA 91769-2960                  PHOENIX, AZ 85043                        IRVINE, CA 92603




FURST JACOBS LLC                       FURST JACOBS LLC                         FUSION TRADING LLC-DBA FOLLIS
C/O HANNAY REALTY ADVISORS-AZ LP       C/O HANNAY REALTY ADVISORS-AZ LP         ENTRPRISES
2999 N 44TH ST, STE 400                2999 N. 44TH STREET, SUITE 400           14626 TIMERGREEN DR
ATTN: DAN EGLE                         ATTN: DAN EGLE                           MAGNOLIA, TX 77355
PHOENIX, AZ 85018                      PHOENIX, AZ 85018



FUTURE FOAM INC                        FUTURE FOAM INC.                         FUTURE OF FLIGHT AVIATION CENTER
PO BOX 1017                            1610 AVENUE N                            ATTN: CHRISTINE RUSSELL
OMAHA, NE 68101-1017                   COUNCIL BLUFFS, IA 51501-1071            8412 PAINE FIELD BLVD
                                                                                MUKILTEO, WA 98275




FUTURE TEXTILES INC                    FUZEBOX INC                              FW IL-RIVERSIDE/RIVERS EDGE LLC
DBA DESIGN WEAVE USA                   150 SPEAR ST                             3040 SOLUTIONS CENTER
178 RIDGE RD STE A                     4TH FLOOR                                CHICAGO, IL 60677-3000
DAYTON, NJ 08810                       SAN FRANCISCO, CA 94105
                         Case
FW IL-RIVERSIDE/RIVERS EDGE,    18-12241-CSS
                              LLC                 Doc 26 Filed
                                          FW IL-RIVERSIDE/RIVERS   10/05/18
                                                                 EDGE, LLC       PageFW642  of 1739
                                                                                        IL-RIVERSIDE/RIVERS EDGE, LLC
C/O REGENCY CENTERS CORP.                 C/O REGENCY CENTERS CORP.                   C/O REGENCY CENTERS CORP.
1211 W. 22ND STREET, SUITE 300            ONE INDEPENDENT DRIVE, SUITE 114            ONE INDEPENDENT DRIVE, SUITE 114
ATTN: PROPERTY MANAGEMENT                 ATTN: LEASE ADMINISTRATION                  ATTN: LEGAL DEPARTMENT
OAK BROOK, IL 60523                       JACKSONVILLE, FL 32202-5019                 JACKSONVILLE, FL 32202-5019



FW IL-RIVERVIEW PLAZA LLC                FW IL-RIVERVIEW PLAZA, LLC                   FW IL-RIVERVIEW PLAZA, LLC
3043 SOLUTIONS CENTER                    C/O REGENCY CENTERS CORPORATION              C/O REGENCY CENTERS CORPORATION
CHICAGO, IL 60677-3000                   1211 W. 22ND STREET, SUITE 300               ONE INDEPENDENT DRIVE, SUITE 114
                                         ATTN: PROPERTY MANAGEMENT                    ATTN: LEASE ADMINISTRATION
                                         OAK BROOK, IL 60523                          JACKSONVILLE, FL 32202-5019



FW IL-RIVERVIEW PLAZA, LLC               FW RIDGE ROCK LTD                            FW RIDGE ROCK LTD
C/O REGENCY CENTERS CORPORATION          2000 MCKINNEY AVE, SUITE 1000                LPC RETAIL ACCOUNTING
ONE INDEPENDENT DRIVE, SUITE 114         DALLAS, TX 75201                             2000 MCKINNEY AVE STE 1000
ATTN: LEGAL DEPARTMENT                                                                DALLAS, TX 75201
JACKSONVILLE, FL 32202-5019



FW RIDGE ROCK LTD                        FW SERVICES INC                              FW WATERSIDE COMMERCIAL LLC
PO BOX 1920                              DBA PACESETTER PERSONNEL SERVICES            C/O TRADEMARK PROPERTY COMPANY
DALLAS, TX 75221                         PO BOX 2324                                  1701 RIVER RUN, SUITE 500
                                         HOUSTON, TX 77252                            ATTN: FREMON BAKER
                                                                                      FORT WORTH, TX 76107



FW WATERSIDE COMMERCIAL, LLC             FXI INC                                      FYFA INC
C/O TRADEMARK PROPERTY COMPANY           PO BOX 664015                                FRIENDSWOOD YOUTH FOOTBALL ASSO
1701 RIVER RUN, SUITE 500                DALLAS, TX 75266-4015                        PO BOX 2318
ATTN: FREMON BAKER                                                                    FRIENDSWOOD, TX 77546
FORT WORTH, TX 76107



FYR FYTER INC                            G & A OF ARIZONA TRUCKING                    G & DC LAND COMPANY LLC
10905-1 GLADIOLUS DR                     5090 TRALEE DR                               HIGNELL INC
FORT MYERS, FL 33908                     WESTERVILLE, OH 43082                        1750 HUMBOLDT RD
                                                                                      CHICO, CA 95928




G & G COMMERCIAL CORP                    G & I VIII METRO SHOPS JV LLC C/O DRA        G & I VIII METRO SHOPS JV LLC
106 LUTZ DR                              ADVISOR LLC                                  PO BOX 758888
VALLEY STREAM, NY 11580                  220 EAST 42ND ST 27TH FL                     BALTIMORE, MD 21275-8888
                                         NEW YORK, NY 10017




G GROUP LLC                              G GROUP, LLC                                 G HERNANDEZ-TEJEDA
BARBARA BRENNAN, ACCOUNTANT              ATTN: ROY JACKSON                            10201 S. MAIN STREET
200 INTERNATIONAL WAY                    200 INTERNATIONAL WAY                        HOUSTON, TX 77025
SPRINGFIELD, OR 97477                    SPRINGFIELD, OR 97477




G J GREWE INC.                           G WHIS PARK PLACE LLC                        G&DC LAND COMPANY, LLC
ATTN: GARY GREWE                         3838 OAK LAWN AVE 1416                       C/O THE HIGNELL COMPANIES
639 GRAVOIS BLUFFS BLVD., SUITE D        DALLAS, TX 75219                             1750 HUMBOLDT ROAD
FENTON, MO 63026                                                                      ATTN: JOHN ILER
                                                                                      CHICO, CA 95928



G&F GRAPHIC SERVICES INC                 G&G PRODUCTIONS EVENTS INC                   G&G SHEETMETAL & ROOFING LLC
DBA INSTERTS EAST                        P.O. BOX 1100                                4812 WEST MAIN
7045 CENTRAL HWY                         CARMICHAEL, CA 95609                         TUPELO, MS 38801
PENNSAUKEN, NJ 08109
G&I IX EMPIRE JV DLC LLC Case   18-12241-CSS      Doc 26
                                          G&I IX EMPIRE JV DLCFiled
                                                               LLC 10/05/18    PageG&I
                                                                                    643    of 1739 RETAIL LLC
                                                                                       VII PEMBROKE
220 EAST 42ND ST 27TH FLOOR                PO BOX 932069                            DBA G&I VII WESTFORK LLC
NEW YORK, NY 10017                         ATLANTA, GA 31193-2069                   2240 NW 19TH ST STE 801
                                                                                    BOCA RATON, FL 33431




G&I VII WESTFORK LLC                       G&I VIII CAPITAL PLAZA LLC               G&I VIII CAPITAL PLAZA, LLC
2240 NW 19TH ST STE 801                    C/O RCG VENTURES I LLC                   C/O RCG VENTURES I, LLC
BOCA RATON, FL 33431                       PO BOX 53483                             3060 PEACHTREE ROAD NW, SUITE 400
                                           ATLANTA, GA 30355                        ATLANTA, GA 30355




G&I VIII HAMMOND LLC                       G&I VIII HAMMOND LLC                     G&I VIII KINGS CROSSING LLC
C/O LATTER & BLUM PROPERTY                 PO BOX 206192                            220 E 42ND ST
MANAGEMENT                                 DALLAS, TX 75320-6192                    27TH FL
1700 CITYFARM DRIVE                                                                 NEW YORK, NY 10017
BATON ROUGE, LA 70806



G&I VIII KINGS CROSSING LLC                G&I VIII KINGS CROSSING, LLC             G&I VIII KING'S CROSSING, LLC
PO BOX 781158                              C/O RCG VENTURES                         C/O RCG VENTURES
PHILADELPHIA, PA 19178                     3060 PEACHTREE ROAD NW, SUITE 400        3060 PEACHTREE ROAD NW, SUITE 400
                                           ATLANTA, GA 30305                        ATLANTA, GA 30305




G&I VIII MW RETAIL LLC DBA IRC RETAIL      G&I VIII MW RETAIL LLC                   G&I VIII P&S CENTER LLC
CENTERS LLC                                814 COMMERCE DR STE 300                  PO BOX 53483
814 COMMERCE DR STE 300                    OAK BROOK, IL 60523                      ATLANTA, GA 30355
OAK BROOK, IL 60523




G&I VIII PENINSULA LLC                     G&I VIII PENINSULA LLC                   G&I VIII PENINSULA LLC
220 E 42ND ST                              C/O RCG VENTURES I, LLC                  PO BOX 53483
27TH FL                                    3060 PEACHTREE ROAD NE, SUITE 400        ATLANTA, GA 30355
NEW YORK, NY 10017                         ATTN: PROPERTY MANAGEMENT
                                           ATLANTA, GA 30305



G&I VIII STONEBRIDGE SQUARE LLC            G&I VIII STONEBRIDGE SQUARE LLC          G&K SERVICES
C/O RCG VENTURES I, LLC                    RCG VENTURES I LLC                       PO BOX 677057
P.O. BOX 53483                             PO BOX 53483                             DALLAS, TX 75267
ATLANTA, GA 30355                          ATLANTA, GA 30355




G&N DELIVERY SERVICE                       G. J. GREWE, INC.                        G.S. IRELAND INC
8129 W WHYMAN AVE                          ATTN: GARY GREWE                         1028 WATERS RD
PHOENIX, AZ 85043                          639 GRAVOIS BLUFFS BLVD., SUITE D        CHESAPEAKE, VA 23322
                                           FENTON, MO 63026




G2G3 NEWINGTON LLC                         G3 REAL ESTATE SERVICES DBA              GA 1600 COMMONS LLC
100 WESTPORT AVE                           GOLDSMITH COMPANY                        C/O SOUTHEAST CENTERS
NORWALK, CT 06851                          451 HAYWOOD ROAD                         1541 SUNSET DRIVE, SUITE 300
                                           GREENVILLE, SC 29607                     CORAL GABLES, FL 33143




GA 1600 COMMONS LLC                        GA CAYMAN HOLDCO LLC                     GA DALTON SHUGART RETAIL LLC
PO BOX 733769                              DBA GUARDIAN ALARM COMPANY               550 S MAIN ST STE 300
DALLAS, TX 75373-3769                      20800 SOUTHFIELD RD                      GREENVILLE, SC 29601
                                           SOUTHFIELD, MI 48075
GA DALTON WESTMORELAND  Case
                          LLC 18-12241-CSS     Doc
                                        GA DALTON    26 Filed 10/05/18
                                                  WESTMORLAND,   LLC       PageGA644 ofOF1739
                                                                                  DEPT    REV TAXPAYERS SERV DIV
C/O REALTYLINK, LLC                     C/O REALTYLINK, LLC                     P.O. BOX 740321
550 SOUTH MAIN STREET, SUITE 300        550 SOUTH MAIN STREET, SUITE 300        ATLANTA, GA 30374-0321
GREENVILLE, SC 29601                    GREENVILLE, SC 29601




GABBY CHAPPELL                         GABBY COLLINS                            GABBY CONNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




GABBY LOPEZ                            GABBYS STEAK RIBS & BAR BQ               GABBYS STEAK RIBS & BAR BQ
10201 S. MAIN STREET                   4659 TELEPHONE RD                        PO BOX 1308
HOUSTON, TX 77025                      HOUSTON, TX 77087                        RICHMOND, TX 77406




GABE FILARDO                           GABE GARCIA                              GABE MCBANE
                                       10201 S. MAIN STREET                     10201 S. MAIN STREET
                                       HOUSTON, TX 77025                        HOUSTON, TX 77025




GABE MUNOZ                             GABE NEGRETE                             GABE RAMIREZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




GABE SEDERBERG                         GABREIELLE JACOBS                        GABREIL YEBOAH
10201 S. MAIN STREET                   8162 VARDAMAN DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                      SAINT LOUIS, MO 63130                    HOUSTON, TX 77025




GABRELLIAN ASSOCIATES                  GABRELLIAN ASSOCIATES                    GABRIEL ALLEN
95 N STATE ROUTE 17 STE 100            95 ROUTE 17                              10201 S. MAIN STREET
PARAMUS, NJ 07652                      PARAMUS, NJ 07652                        HOUSTON, TX 77025




GABRIEL BYBERG                         GABRIEL CASTRO                           GABRIEL ESTEVEZ FERNANDEZ
124 BLOOMFIELD DR                      10201 S. MAIN STREET                     10201 S. MAIN STREET
MUNFORD, TN 38058                      HOUSTON, TX 77025                        HOUSTON, TX 77025




GABRIEL EVANS                          GABRIEL KEAR                             GABRIEL KIRK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




GABRIEL LOPEZ                          GABRIEL LOZADA                           GABRIEL MADUGU
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
GABRIEL NICHOLS        Case 18-12241-CSS
                                      GABRIELDoc 26
                                             PADILLA      Filed 10/05/18   PageGABRIEL
                                                                                645 ofPHILPOT
                                                                                       1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




GABRIEL PHILPOT                        GABRIEL RAMIREZ                         GABRIEL RIVERA
10201 S. MAIN STREET                   1840 BROOKS DR                          1153 ROMAINE CIRCLE
HOUSTON, TX 77025                      LOS BANOS, CA 93635                     JACKSONVILLE, FL 32225




GABRIEL SALAZAR                        GABRIEL SALU                            GABRIEL SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




GABRIEL WILLOW                         GABRIELLA WESLEY                        GABRIELLE BEST
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




GABRIELLE COLLINS                      GABRIELLE HERRING                       GABRIELLE PARCEL
8804 SURRY ST                          4325 COLLEGE AVE                        10201 S. MAIN STREET
HOUSTON, TX 77028                      KANSAS CITY, MO 64130                   HOUSTON, TX 77025




GABRIELLE REINHARDT                    GABRIELLE STEIMEL                       GABY RANGEL
10201 S. MAIN STREET                   535 HACIENDA PLACE                      10201 S. MAIN STREET
HOUSTON, TX 77025                      GREENWOOD, IN 46143                     HOUSTON, TX 77025




GAF & E PROPERTIES LLC                 GAF & E PROPERTIES, LLC                 GAFFNEY BOARD OF PUBLIC WORKS
ATTN: ANNA GIANOS                      6909 ADMIRALTY WAY                      PO BOX 64
6909 ADMIRALTY WAY                     ATTN: ANNA GIANOS                       GAFFNEY, SC 29342
OKLAHOMA CITY, OK 73116                OKLAHOMA CITY, OK 73116




GAFFNEY SC (1551 W FLOYD BAKER) LLC    GAGE ROOFING & CONSTRUCTORS INC         GAGE ROOFING INC
INSITE REAL ESTATE LLC                 PO BOX 945                              DBA GAGE ROOFING & CONSTRUCTORS INC
1400 16TH ST STE 300                   SOUTH HOUSTON, TX 77587                 701 GENOA
OAK BROOK, IL 60523                                                            SOUTH HOUSTON, TX 77587




GAIGE BUSKA-HACK                       GAIL CULP WRIGHT                        GAIL CULP WRIGHT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




GAIL ORENS                             GAINESVILLE ARCHER PROPERTIES LLC       GAINESVILLE ARCHER PROPERTIES LLC
6239 MARQUIS COURT                     7401 WILES ROAD, SUITE 106              ATTN: BRUCE PAGANO
OAK PARK, CA 91377                     ATTN: BRUCE PAGANO                      7401 WILES ROAD, SUITE 106
                                       CORAL SPRINGS, FL 33067                 CORAL SPRINGS, FL 33067
                       Case
GAINESVILLE REGIONAL UTILITIES   18-12241-CSS     DocREGIONAL
                                           GAINESVILLE 26 Filed   10/05/18
                                                              UTILITIES          PageGAITRI
                                                                                      646 SURUJBALI
                                                                                            of 1739
301 SE 4TH AVE                              P.O. BOX 147051                          10201 S. MAIN STREET
GAINESVILLE, FL 32601                       GAINSVILLE, FL 32614                     HOUSTON, TX 77025




GAITWAY PLAZA LLC DBA GAITWAY PLAZA         GALE COOPERSTEIN                         GALE WEST
180 E BROAD ST                              10201 S. MAIN STREET                     10201 S. MAIN STREET
COLUMBUS, OH 43215                          HOUSTON, TX 77025                        HOUSTON, TX 77025




GALENA PARK ISD TAX OFFICE                  GALILEO CONYERS PHASE II OWNER LLC       GALILEO STRATFORD COMMONS LP
TAX ASSESSOR - COLLECTOR                    LEASE ID 5249028                         P.O. BOX 74607
14705 WOODFOREST BLVD.                      P.O. BOX 74988                           CLEVELAND, OH 44194-4607
HOUSTON, TX 77015-3259                      CLEVELAND, OH 44194




GALINA UFIMTSEVA                            GALINDO FLORES                           GALIPEAU, JANET
10201 S. MAIN STREET                        10201 S. MAIN STREET                     44 MILES ST
HOUSTON, TX 77025                           HOUSTON, TX 77025                        WOONSOCKET, RI 28956-041




GALLATAN TR, LP                             GALLATAN TR, LP                          GALLATIN DEPT OF ELECTRICITY
2501 N. JOSEY LANE, SUITE 120               ATTN: RANDY TWIST                        135 JONES ST
ATTN: RANDY TWIST                           2501 N. JOSEY LANE, SUITE 120            GALLATIN, TN 37066
CARROLLTON, TX 75006                        CARROLLTON, TX 75006




GALLATIN DEPT OF ELECTRICITY                GALLATIN PUBLIC UTILITIES                GALLATIN TR LP
PO BOX 1555                                 239 HANCOCK STREET                       2501 N JOSEY LANE STE 120
GALLATIN, TN 37066-1555                     GALLATIN, TN 37066                       CARROLLTON, TX 75006




GALLEGOS SANITATION INC.                    GALLEGOS SANITATION INC.                 GALLERIA ALPHA PLAZA, LTD.
1941 HEATH PKWY UNIT 2                      P.O. BOX 1986                            C/O DALSAN PROPERTIES
FT. COLLINS, CO 80524                       FORT COLLINS, CO 80522                   2001 PRESTON ROAD
                                                                                     ATTN: ROBERT NASH
                                                                                     PLANO, TX 75093



GALLERIA AT TYLER                           GALLERIA AT WOLFCHASE LLC DBA            GALLERIA PLAZA LIMITED
GGP TRS LLC SDS 12                          WOLFCHASE GALLERIA                       ATTN: WAYNE L NASH
3113 PO BOX 86                              98938 COLLECTIONS CENTER DRIVE           2001 PRESTON ROAD
MINNEAPOLIS, MN 55486-3113                  CHICAGO, IL 60693                        PLANO, TX 75093




GALLOWAY, JOHNSON, TOMPKINS, BURR &         GALO VAZQUEZ                             GALVESTON COUNTY DAILY NEWS
SMITH, APLC                                 10201 S. MAIN STREET                     PO BOX 628
701 POYDRAS STREET, 40TH FLOOR              HOUSTON, TX 77025                        GALVESTON, TX 77553
NEW ORLEANS, LA 70139




GALVESTON COUNTY TAX ASSESOR                GALVESTON                                GALWAY DEVELOPMENT
COLLECTOR                                   ATTN: PROPERTY TAX DEPT.                 ATTN: SUZANNE MURPHY
722 MOODY                                   722 MOODY                                CLOVER PROPERTY MGMT INC
GALVESTON, TX 77550                         GALVESTON, TX 77550                      PO BOX 1260
                                                                                     SUMMERLAND, CA 93067
GAMAL JOLICOEUR         Case 18-12241-CSS    Doc
                                       GAMINOS    26 Filed
                                               BOOKKEEPING    10/05/18
                                                           & MORE             PageGANDY
                                                                                   647 of 1739 AT MABRY LLC
                                                                                        SHOPPES
10201 S. MAIN STREET                    ATTN: THERESA GAMINO                      600 LORING AVE
HOUSTON, TX 77025                       2365 MAYWOOD AVENUE                       SALEM, MA 01960
                                        SAN JOSE, CA 95128




GANNETT CO INC DBA NORTH JERSEY         GANNETT MISSOURI PUBLISHING               GANNETT NEW JERSEY NEWSPAPERS
MEDIA                                   SPRINGFIELD NEWS LEADER                   PO BOX 677599
7950 JONES BRANCH DR                    651 BOONVILLE PO BOX 798                  DALLAS, TX 75267-7599
MC LEAN, VA 22107                       SPRINGFIELD, MO 65801




GANNETT NEWSPAPERS OF LOUISIANA         GANNETT RIVERSTATES PUBLISHING CORP       GANNETT SATELLITE INFOMATION
PO BOX 677326                           DBA THE DAILY ADVERTISER                  NETWORK INC
DALLAS, TX 75267-7326                   1100 BERTRAND DR                          DBA GANNETT NJ
                                        LAFAYETTE, LA 70506                       301 CUTHBERT BLVD
                                                                                  CHERRY HILL, NJ 08002



GANNETT SATELLITE INFOMATION NETWORK    GANNETT SATELLITE INFOMATION NETWORK      GANNETT SATELLITE INFORMATION
130 S MERIDIAN ST                       DBA INDIANAPOLIS STAR                     NETWORK INC
INDIANAPOLIS, IN 46225                  PO BOX 677553                             301CUTHBERT BLVD
                                        DALLAS, TX 75267-7553                     CHERRY HILL, NJ 08002




GANNETT SATELLITE INFORMATION           GANNETT SATELLITE INFORMATION             GANNETT SATELLITE INFORMATION
NETWORK INC                             NETWORK INC                               NETWORK LLC
3600 STATE RT 66                        891 E OAK RD                              THE NEWS JOURNAL WILMINGTON
NEPTUNE, NJ 07753-2605                  VINELAND, NJ 08360                        950 W BASIN RD
                                                                                  NEW CASTLE, DE 19720



GANNETT SATELLITE INFORMATION           GANNETT SATELLITE INFORMATION             GANNETT SATELLITE INFORMATION
NETWORK                                 NETWORK                                   NETWORK
306 W WASHINGTON ST                     ENQUIRER MEDIA                            ENQUIRER MEDIA
PO BOX 59                               312 ELM ST                                PO BOX 677342
APPLETON, WI 54911                      CINCINNATI, OH 45202                      DALLAS, TX 75267



GANTSTEIN ESQUIRE LLC                   GARBER PROPERTIES                         GARBER PROPERTIES, INC.
4601 GARTH RD STE 101                   PO BOX 639                                115 SOUTH VINE STREET
BAYTOWN, TX 77521                       HINSDALE, IL 60522-6039                   HINSDALE, IL 60521




GARBER PROPERTIES, INC.                 GARCIA-MENOCAL & PEREZ PL                 GARDEN ISLE DISPOSAL INC.
PO BOX 639                              4937 SW 74 COURT 3                        2666 NIUMALU RD
HINSDALE, IL 60522-6039                 MIAMI, FL 33155                           LIHUE, HI 96766




GARDEN VILLAGE SHOPPING CENTER LLC      GARDEN VILLAGE SHOPPING CENTER LLC        GARDEN VILLAGE SHOPPING CENTER LLC
18610 NW 87 AVE STE 204                 C/O HORIZON PROPERTIES, AS AGENT          C/O HORIZON PROPERTIES-AS AGENT
HIALEAH, FL 33015                       18610 NW 87TH AVE, STE 204                18610 NW 87 AVE STE 204
                                        ATTN: LISA GARCIA                         HIALEAH, FL 33015
                                        HIALEAH, FL 33015



GARDEN VILLAGE SHOPPING CENTER, LLC     GARDEN VILLAGE SHOPPING CENTER, LLC       GARDNER & MARTIN INC
C/O HORIZON PROPERTIES, AS AGENT        C/O HORIZON PROPERTIES, AS AGENT          2900 E SAM HOUSTON PKWY S
18610 NW 87TH AVE, STE 204              18610 NW 87TH AVENUE, SUITE 204           PASADENA, TX 77503
ATTN: LISA GARCIA                       ATTN: LISA GARCIA
HIALEAH, FL 33015                       HIALEAH, FL 33015
GARELD WEST              Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                        GAREY MCDONALD                   PageGARFIELD
                                                                              648 of COUNTY
                                                                                      1739 TREASURER
10201 S. MAIN STREET                    10201 S. MAIN STREET                 PO BOX 1069
HOUSTON, TX 77025                       HOUSTON, TX 77025                    GLENWOOD SPRINGS, CO 81602-1069




GARIPPA LOTZ & GIANNUARIO PC            GARLAND COUNTY - TAX COLLECTOR       GARLAND FRAZIER
ATTN: PHILIP J. GIANNUARIO, ESQ.        200 WOODBINE ST ROOM 108             10201 S. MAIN STREET
66 PARK ST                              HOT SPRINGS, AR 71901                HOUSTON, TX 77025
PO BOX 1584
MONTCLAIR, NJ 07042



GARLAND INDEPENDENT SCHOOL DISTRICT     GARLAND ISD                          GARLAND LAMONTE SMITH
ATTN: PROPERTY TAX DEPT.                P.O. BOX 461407
P.O. BOX 461508                         GARLAND, TX 75046-1407
GARLAND, TX 75046-1508




GARLAND SMITH                           GARLAND SMITH                        GARNER TOWN SQUARE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 C/O REGENCY CENTERS, LP
HOUSTON, TX 77025                       HOUSTON, TX 77025                    P.O. BOX 532955
                                                                             ATLANTA, GA 30353-2955




GARNET FERRON                           GARO HYANNIS LLC                     GARO HYANNIS LLC
10201 S. MAIN STREET                    ATTN: JEFFREY BOVARNICK              ATTN: JEFFREY BOVARNICK
HOUSTON, TX 77025                       56 KEARNEY ROAD                      56 KEARNEY ROAD
                                        NEEDHAM, MA 02494                    NEEDHAM, MA 02494




GARO HYANNIS, LLC                       GARPUE GITTENS                       GARRET MEIWES
56 KEARNEY ROAD                         10201 S. MAIN STREET                 10201 S. MAIN STREET
ATTN: JEFFREY BOVARNICK                 HOUSTON, TX 77025                    HOUSTON, TX 77025
NEEDHAM, MA 02494




GARRETT BRUNECZ                         GARRETT CERVETTO                     GARRETT EIKELBOOM
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




GARRETT GOODRICH                        GARRETT HALL                         GARRETT MCBURNEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




GARRETT MILLS                           GARRETT OCONNOR                      GARRETT PAGE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




GARRETT SHRUM                           GARRETT TRIMBLE                      GARRETT VIGNEAUX
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025
GARRETT WICHMAN           Case 18-12241-CSS    Doc
                                         GARRETT     26 Filed 10/05/18
                                                 WILLIAMS                    PageGARRICK
                                                                                  649 ofDAVIS
                                                                                         1739
1151 SW MACVICAR AVE                     10201 S. MAIN STREET                    10201 S. MAIN STREET
TOPEKA, KS 66604                         HOUSTON, TX 77025                       HOUSTON, TX 77025




GARRISON PARCELLS                        GARRY DOBSON                            GARRY HARVEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




GARRY JAMES                              GARRY KENDRICK                          GARRY POPE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




GARRY SANON                              GART PROPERTIES LLC                     GART PROPERTIES LLC
10201 S. MAIN STREET                     2525 ARAPAHOE AVENUE, C-220             299 MILWAUKEE
HOUSTON, TX 77025                        BOULDER, CO 80302                       DENVER, CO 80206




GARTNER INC                              GARTNER                                 GARY ABRAHAM
PO BOX 911319                            56 TOP GALLANT RD                       15635 CONSER ST
DALLAS, TX 75391-1319                    STAMFORD, CT 06902                      OVERLAND PARK, KS 66223




GARY ALLEN TYACKE                        GARY APTS, INC., REKO APTS, INC.,       GARY APTS, INC., REKO APTS, INC.,
1312 MCFARLAND AVE                       SANTILLANE APTS, INC., AND MARKO        SANTILLANE APTS, INC., AND MARKO
COEUR D ALENE, ID 83814                  TERRACE APTS, INC.                      TERRACE
                                         13826 SW 102ND COURT                    APTS, INC.; GARY KOPPE
                                         GARY KOPPE                              13826 SW 102ND COURT
                                         MIAMI, FL 33176                         MIAMI, FL 33176


GARY BAILEY                              GARY BARNES                             GARY BELCHER BELCHER
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




GARY BONKOWSKI                           GARY BRANDT                             GARY COFFEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




GARY COOPER                              GARY CULLEN                             GARY D LINCOLN
10201 S. MAIN STREET                     10201 S. MAIN STREET                    3251-A KALAPAKI CIRCLE
HOUSTON, TX 77025                        HOUSTON, TX 77025                       LIHUE, HI 96766




GARY DWAYNE HESTER                       GARY EDWARDS                            GARY FLOTT
1698 HWY 341                             10201 S. MAIN STREET                    10201 S. MAIN STREET
PONTOTOC, MS 38863                       HOUSTON, TX 77025                       HOUSTON, TX 77025
GARY FORTNER            Case 18-12241-CSS    Doc 26
                                       GARY GAVONI         Filed 10/05/18   PageGARY
                                                                                 650GERVAIS
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     715 W JAN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                        PASCO, CA 93301




GARY HELMICK                           GARY HENSLEY                             GARY HUCKLEBERRY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




GARY JEAN                              GARY KENT                                GARY KLEIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




GARY LANDGRAF                          GARY LELOCKS                             GARY LEVIN
10201 S. MAIN STREET                   1520 ROCKLEIGH RD                        10201 S. MAIN STREET
HOUSTON, TX 77025                      CENTERVILLE, OH 45458                    HOUSTON, TX 77025




GARY MICHAELS                          GARY MYERS                               GARY PALASTRO
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




GARY PARRISH                           GARY PATRICK                             GARY PHILLIPS
10201 S. MAIN STREET                   790 10TH ST NE                           10201 S. MAIN STREET
HOUSTON, TX 77025                      EAST WENATCHEE, WA 98802                 HOUSTON, TX 77025




GARY POTTS                             GARY POWELL                              GARY PRICE
27 MACS LN                             10201 S. MAIN STREET                     10201 S. MAIN STREET
WAYNESVILLE, NC 28786                  HOUSTON, TX 77025                        HOUSTON, TX 77025




GARY SCOTT THOMAS                      GARY SEILER                              GARY SHEIKOWITZ
5784 CHANDLER COURT                    10201 S. MAIN STREET                     10201 S. MAIN STREET
SAN JOSE, CA 95123                     HOUSTON, TX 77025                        HOUSTON, TX 77025




GARY SOLOMON & CO                      GARY SOUREK                              GARY STELLHORN
3139 N LINCOLN AVE STE 212             26W525 GRAND AVE                         10201 S. MAIN STREET
CHICAGO, IL 60657                      WHEATON, IL 60187                        HOUSTON, TX 77025




GARY SVEC                              GARY T FAZIO                             GARY TEETS
93 MACON ST                            4561 OLDE PERIMETER WAY                  10201 S. MAIN STREET
AURORA, CO 80010                       ATLANTA, GA 30346                        HOUSTON, TX 77025
GARY TRENTHAM           Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                       GARY TSEPENYUK                        PageGARY
                                                                                  651TUCKER
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




GARY WATTS                              GARY WEINAPPLE                           GARY WHITE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     18111 HOLLOW OAK CT
HOUSTON, TX 77025                       HOUSTON, TX 77025                        DALLAS, TX 75287




GARY WILSON                             GAS SOUTH                                GAS SOUTH
10201 S. MAIN STREET                    C/O COBB EMC                             P.O. BOX 530552
HOUSTON, TX 77025                       1000 EMC PARKWAY                         ATLANTA, GA 30353-0552
                                        MARIETTA, GA 30060




GASLAMP PORTFOLIO MANAGEMENT LLC        GASPEDAL LLC DBA SOCIALMEDIA ORG         GASTON COUNTY TAX COLLECTOR
LOCKBOX SERVICES                        3616 FAR WEST BLVD 500                   P.O. BOX 580326
PO BOX 844440                           AUSTIN, TX 78731                         CHARLOTTE, NC 28258-0326
LOS ANGELES, CA 92123




GASTON COUNTY TAX DEPT                  GASTON GAZETTE                           GASTON GAZETTE
128 WEST MAIN AVE                       DBA GASTON GAZETTE                       P.O. BOX 102522
PO BOX 1578                             111 CENTER ST STE 2020                   ATLANTA, GA 30368
GASTONIA, NC 28053-1578                 LITTLE ROCK, AR 72201




GASTON                                  GATE6, INC.                              GATEHOUSE FLORIDA/GEORGIA
ATTN: PROPERTY TAX DEPT.                23460 N. 19TH AVENUE SUITE 110           DEPT 1261
P O BOX 580326                          PHOENIX, AZ 85027                        PO BOX 121261
CHARLOTTE, NC 28258-0326                                                         DALLAS, TX 75312-1261




GATEHOUSE MEDIA MA                      GATEHOUSE MEDIA CONNECTICUT              GATEHOUSE MEDIA GEORGIA HOLDINGS INC
PO BOX 845908                           HOLDING INC                              DBA ATHENS BANNER-HERALD
BOSTON, MA 02284-5908                   THE BULLETIN                             DEPT 1261PO BOX 121261
                                        10 RAILROAD PLACE                        DALLAS, TX 75312-1261
                                        NORWICH, CT 06360



GATEHOUSE MEDIA IL HOLDINGS INC         GATEHOUSE MEDIA KANSAS HOLDINGS II       GATEHOUSE MEDIA MICHIGAN HOLDING II
DBA ROCKFORD REGISTER STAR              INC                                      INC.
99 E STATE ST                           DBA TOPEKA CAPITAL JOURNAL               DBA HOLLAND SENTINE
ROCKFORD, IL 61104                      PO BOX 121243 DEPT 1243                  54 W 8TH ST
                                        DALLAS, TX 75312-1243                    HOLLAND, MI 49423



GATEHOUSE MEDIA OHIO HOLDINGS II INC    GATEHOUSE MEDIA PENNSYLVANIA             GATEHOUSE MEDIA PENNSYLVANIA
PO BOX 182537                           HOLDINGS INC                             HOLDINGS INC
COLUMBUS, OH 43218-2537                 DBA COURIER TIMES                        DBA TIMES PUBLISHING COMPANY
                                        175 SULLYS TRAIL                         205 W 12TH ST
                                        PITTSFORD, NY 14534                      ERIE, PA 16534



GATEHOUSE MEDIA TEXAS HOLDINGS II INC   GATEHOUSE MEDIA                          GATES OF THE AVENUES SOUTH LLC
DBA LUBBOCK AVALANCHE JOURNAL           PO BOX 102801                            C/O HAKIMIAN HOLDINGS, LLC
DEPT 1277 PO BOX 121277                 ATLANTA, GA 30368-2801                   P.O. BOX 56678
DALLAS, TX 75312-1277                                                            JACKSONVILLE, FL 32241
                       Case
GATEWAY AFTON RIDGE, INC.         18-12241-CSS    Doc
                                            GATEWAY    26 RIDGE,
                                                    AFTON    Filed
                                                                 INC.10/05/18    PageGATEWAY
                                                                                      652 of AFTON
                                                                                             1739 RIDGE, INC.
300 N LAKE AVE STE 620                       32716 COLLECTION CENTER DR              C/O STOCKBRIDGE CAPITAL GROUP, LLC
PASADENA, CA 91311                           CHICAGO, IL 60693                       3414 PEACHTREE ROAD, SUITE 1160
                                                                                     ATTN: ASSET MANAGER
                                                                                     ATLANTA, GA 30326



GATEWAY AT SAWGRASS INVESTMENTS LLC          GATEWAY AT SAWGRASS INVESTMENTS LLC     GATEWAY AT SAWGRASS INVESTMENTS,
201 S BISEANE BLVD STE 1500                  C/O MIAMI MANAGER PROPERTY MANAGERS     LLC
MIAMI, FL 33131                              179 NW 136TH AVENUE                     C/O MIAMI MANAGER PROPERTY MANAGERS
                                             SUNRISE, FL 33325                       179 NW 136TH AVENUE
                                                                                     SUNRISE, FL 33325



GATEWAY CROSSING SC LLC                      GATEWAY CROSSING SC LLC                 GATEWAY CROSSING SC, LLC
C/O MUTUAL DEVELOPMENT CO., LLC              PO BOX 845908                           C/O MUTUAL DEVELOPMENT CO., LLC
2890 E. NORTHERN AVE, STE A                  LOS ANGELES, CA 90084-5908              2890 E. NORTHERN AVENUE, SUITE A
PHOENIX, AZ 85028                                                                    PHOENIX, AZ 85028




GATEWAY DELIVERIES LLC                       GATEWAY DELIVERIES LLC                  GATEWAY FAIRVIEW, INC.
2019 E RANCH RD                              21775 E TWIN ACRES DR                   C/O RREEF ALTERNATIVE INVESTMENTS
TEMPE, AZ 85284                              QUEEN CREEK, AZ 85142                   3414 PEACHTREE ROAD, NE SUITE 950
                                                                                     ATLANTA, GA 30326




GATEWAY FAIRVIEW, INC.                       GATEWAY FAIRVIEW/DEERBROOK MALL         GATEWAY KENT LP
FILE 55634                                   FILE 55634/ATT RB5195                   PO BOX 209233
LOS ANGELES, CA 90074-5634                   LOS ANGELES, CA 90074-5634              AUSTIN, TX 78720-9233




GATEWAY KENTFIELD LOCKBOX                    GATEWAY KENTFIELD PROPERTIES INC        GATEWAY KENTFIELD PROPERTIES INC
COOL SPRINGS FESTIVAL                        5900 POPLAR AVE                         ATTN: COOL SPRING FESTIVAL FILE 55855
FILE 55855                                   MEMPHIS, TN 38119                       LOS ANGELES, CA 90074-5856
LOS ANGELES, CA 90074-5855




GATEWAY KENTFIELD PROPERTIES INC             GATEWAY KENTFIELD PROPERTIES            GATEWAY KNOLLWOOD LLC
DBA BOYLE INVESTMENT                         C/O TA ASSOCIATES REALTY                C/O MID-AMERICA REAL ESTATE-
PO BOX 17800                                 28 STATE STREET                         MINNESOTA LLC
MEMPHIS, TN 38187                            ATTN: ASSET MANAGER - TENNESSEE         5353 WAYZATA BLVD STE 650
                                             BOSTON, MA 02109                        MINNEAPOLIS, MN 55416



GATEWAY KNOLLWOOD, LLC                       GATEWAY MARKET CENTER LLC               GATEWAY MARKET CENTER LLC
C/O HEITMAN, LLC                             314 EAST WATER STREET                   ANDREW BONINTI, MANAGER
191 N. WACKER DRIVE, SUITE 2500              ANDREW BONINTI, MANAGER                 314 EAST WATER STREET
CHICAGO, IL 60606                            CHARLOTTESVILLE, VA 22902               CHARLOTTESVILLE, VA 22902




GATEWAY PLAZA ASSOCIATES LLC                 GATEWAY PLAZA ASSOCIATES, LLC           GATEWAY PLAZA PARTNERS LP
C/O CYPRESS PROPERTIES                       C/O CYPRESS PROPERTIES                  C/O UNITED SECURITY BANK
2191 E. BAYSHORE ROAD                        2191 E. BAYSHORE ROAD                   7088 NORTH FIRST ST
PALO ALTO, CA 94303                          PALO ALTO, CA 94303                     FRESNO, CA 93720




GATEWAY PLAZA PARTNERS, LP                   GATLIN DEVELOPMENT                      GATOR ENTERTAINMENT INC
C/O PAYNTER REALTY INVESTMENTS, INC.         1301 RIVERPLACE BLVD., SUITE 1900       ATTN: ERIC PETERSON
17671 IRVINE BOULEVARD, SUITE 204            ATTN: VALERIE MEYER                     1550 SOUTHERN BLVD, STE 300
ATTN: CAMI BURNSTINE                         JACKSONVILLE, FL 32207                  WEST PALM BEACH, FL 33406
TUSTIN, CA 92780
GATOR ENTERTAINMENT INCCase   18-12241-CSS    Doc 26 Filed
                                        GATOR ENTERTAINMENT INC10/05/18    PageGATOR
                                                                                653 of 1739
                                                                                     ENTERTAINMENT, INC.
ATTN: KAREN EVANS                         ATTN: KAREN EVANS                    1550 SOUTHERN BOULEVARD, SUITE 300
1550 SOUTHERN BLVD, STE 300               1550 SOUTHERN BLVD, STE 300          ATTN: ERIC PETERSON
WEST PALM BEACH, FL 33406                 WEST PALM BEACH, FL 33406-3240       WEST PALM BEACH, FL 33406




GATOR ENTERTAINMENT, INC.                 GATOR JANITORIAL SERVICES INC        GAURA, JONATHAN
1550 SOUTHERN BOULEVARD, SUITE 300        11451 CHALLENGER AVE                 1415 W 55TH ST
ATTN: KAREN EVANS                         ODESSA, FL 33556                     LA GRANGE, IL 60525-6536
WEST PALM BEACH, FL 33406-3240




GAVIN BERGERON                            GAVIN COURTNEY                       GAVIN MCDONALD
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




GAVIN RILEE                               GAVIN SMITH                          GAVIN VOELKER
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




GAVIN WHITE                               GAVIN ZERNICKE                       GAVINO SIERRA
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




GAY QUARATELLA                            GAYE WHITHAM                         GAYLE CELENTANO
10201 S. MAIN STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                    HOUSTON, TX 77025




GAYLENE BALLACK                           GAYLON KELLY                         GAYLORD TEXAN RESORT & CONVENTION
10201 S. MAIN STREET                      10201 S. MAIN STREET                 CENTER
HOUSTON, TX 77025                         HOUSTON, TX 77025                    1501 GAYLORD TRAIL
                                                                               GRAPEVINE, TX 76051




GB PROPERTIES                             GBR PROPERTIES                       GBS CORPORATE HOLDINGS LLC
125 N HALSTED STE 203                     CHRISTINA CYPERT                     DBA GBS ENTERPRISES LLC
CHICAGO, IL 60661                         3114 EAST 81ST STREET                9240 PROTOTYPE DR
                                          TULSA, OK 74137                      RENO, NV 89521




GBS CORPORATE HOLDINGS LLC                GBS ENTERPRISES                      GBWH OMAHA LLC DBA NEW HORIZONS CLC
DBA GBS ENTERPRISES LLC                   9240 PROTOTYPE DR                    OF NE
GENIE BS SPECIALTIES INC1006 E MAPLE ST   RENO, NV 89521                       4775 AMERICAN WAY
SUTTON, NE 68979                                                               MEMPHIS, TN 38118




GC SERVICES LP                            GCC BEND LLC                         GCCFG 2006-GG7 CHANDLER RETAIL LLC
PO BOX 32500                              345 SW CYBER DR STE 101-103          P.O. BOX 748033
COLUMBUS, OH 43232                        BEND, OR 97702                       LOS ANGLES, CA 90074-8033
GCEC TELECOM              Case 18-12241-CSS     Doc
                                         GCR TIRES   26
                                                   AND     Filed 10/05/18
                                                       SERVICES               PageGCSED
                                                                                   654 of 1739
PO BOX 2119                               5125 E 58TH PLACE                       667 DAYTON XENIA RD
VAN ALSTYNE, TX 75495                     COMMERCE CITY, CO 80022                 XENIA, OH 45385-2665




GCTC HOLDINGS LLC                         GCWW                                    GDC-PLANK LLC
9903 GULF COAST MAIN ST STE 120           PO BOX 742505                           C/O DEOUDES-MAGAFAN REALTY INC
FORT MYERS, FL 33913                      CINCINNATI, OH 45274-2505               7910 WOODMONT AVE STE 1155
                                                                                  BETHESDA, MD 20814




GDI SERVICES INC                          GE CAPITAL CO RICOH USA PROGRAM         GE CAPITAL
4952 W 128TH PLACE                        PO BOX 650016                           PO BOX 31001-0271
ALSIP, IL 60803                           DALLAS, TX 75265-0016                   PASADENA, CA 91110-0271




GEAN ANDRADE                              GECMC 2006 C1 STONECREST MALL LTD       GEIGER JB PROPERTY LLC
10201 S. MAIN STREET                      PARTNERSHIP                             CO NAI SOUTHCOAST
HOUSTON, TX 77025                         KOTARA PROPERTIES LLC                   PO BOX 3059
                                          562 WYLIE RD STE 2                      STUART, FL 34995
                                          MARIETTA, GA 30067



GEJ NANUET LLC                            GEM PROPERTIES LLC                      GEM PROPERTIES, LLC
C/O JUSTER DEVELOPMENT CO.                447 S BUCHANAN ST                       447 S. BUCHANAN STREET
120 WHITE PLAINS ROAD, SUITE 110          EDWARDSVILLE, IL 62025                  EDWARDSVILLE, IL 62025
ATTN: ROBERT SKOVAN
TARRYTOWN, NY 10591



GEMAE WILLIAMS                            GEMINEYO MAYERS                         GEMMA LANE
10201 S. MAIN STREET                      369 HARVARD PL                          10201 S. MAIN STREET
HOUSTON, TX 77025                         MEDFORD, OR 97504                       HOUSTON, TX 77025




GEMSTONE RESOURCES L.P. &                 GEMSTONE RESOURCES LP &                 GEMSTONE RESOURCES LP
WALLINGFORD ONE HOLDINGS L.P.             WALLINGFORD ONE HOLDINGS LP             C/O NATIONAL REALTY & DEVELOPMENT
C/O NATIONAL REALTY & DEVELOPMENT         C/O NATIONAL REALTY & DEVELOPMENT       CORP
CORP.                                     CORP.                                   3 MANHATTANVILLE RD STE 202
3 MANHATTANVILLE ROAD, SUITE 202          3 MANHATTANVILLE RD, STE 202            PURCHASE, NY 10577
PURCHASE, NY 10577                        PURCHASE, NY 10577


GEN3 MARKETING LLC                        GENCI DYRMISHI                          GENDELL WN SKOKIE LLC
960B HARVEST DR STE 210                   10201 S. MAIN STREET                    C/O TERRACO, INC.
BLUE BELL, PA 19422                       HOUSTON, TX 77025                       3201 OLD GLENVIEW ROAD, SUITE 300
                                                                                  WILMETTE, IL 60091




GENDELL WN SKOKIE, LLC                    GENDELL WN SKOKIE, LLC                  GENE ELLIS
C/O TERRACO, INC.                         C/O TERRACO, INC.                       10201 S. MAIN STREET
3201 OLD GLENVIEW ROAD, SUITE 300         3201 OLD GLENVIEW ROAD, SUITE 300       HOUSTON, TX 77025
SKOKIE, IL 60077                          WILMETTE, IL 60091




GENE MORALES                              GENE PARKS JR                           GENE PIERCE
10201 S. MAIN STREET                      264 ELEANOR ST                          10201 S. MAIN STREET
HOUSTON, TX 77025                         SE ATLANTA, GA 30317                    HOUSTON, TX 77025
GENE VANCE             Case 18-12241-CSS    Doc
                                      GENERAL    26
                                              AUTO     Filed
                                                   OUTLET  LP 10/05/18      PageGENERAL
                                                                                 655 ofAUTO
                                                                                        1739OUTLET LP
10201 S. MAIN STREET                     C/O GOODMAN PROPERTIES, INC.           C/O GOODMAN PROPERTIES, INC.
HOUSTON, TX 77025                        636 OLD YORK ROAD, 2ND FLOOR           636 OLD YORK ROAD, 2ND FLOOR
                                         ATTN: BRUCE A. GOODMAN                 ATTN: BRUCE A. GOODMAN
                                         JENKINTOWN, PA 19046                   JENKINTOWN, PA 19046



GENERAL AUTO OUTLET, LP                  GENERAL DATATECH LP                    GENERAL DATATECH LP
C/O GOODMAN PROPERTIES, INC.             999 METROMEDIA PLACE                   DEPT D8014
636 OLD YORK ROAD, 2ND FLOOR             DALLAS, TX 75247                       PO BOX 650002
ATTN: BRUCE A. GOODMAN                                                          DALLAS, TX 75265
JENKINTOWN, PA 19046



GENERAL FIRE EXTINGUISHER SERVICE INC    GENERAL GROWTH PROPERTIES              GENERAL INFORMATION SERVICES, INC
4004 E TRENT                             110 NORTH WACKER DRIVE                 PO BOX 538450
SPOKANE, WA 99202                        CHICAGO, IL 60606                      ATLANTA, GA 30353-8450




GENERAL OIL CO OF QUAKER HILL            GENERAL OIL CO OF QUAKER HILL          GENERAL SESSIONS CIRCUIT COURT
2 BAYONET STREET EXT/REAR                P.O. BOX 465                           CHERYL J CASTLE CLERK
PO BOX 465                               QUAKER HILL, CT 06375                  2 MILLENNIUM PLAZA STE 115
QUAKER HILL, CT 06375                                                           CLARKSVILLE, TN 37040




GENERAL STORAGE SYSTEMS INC              GENERAL UTILITY CO INC                 GENERAL UTILITY COMPANY INC.
13225 FM 529                             27-107 ANNETTE DR                      ATTN: MEDA T. WILLIAMS
HOUSTON, TX 77041                        BENSON, NC 27504                       27-107 ANNETTE DR
                                                                                BENSON, NC 27504




GENERAL UTILITY COMPANY INC.             GENERAL UTILITY COMPANY, INC.          GENERALI INSURANCE COMPANY
ATTN: MEDA T. WILLIAMS                   27-107 ANNETTE DRIVE                   55 MARK LANE
27-107 ANNETTE DR                        ATTN: MEDA T. WILLIAMS                 LONDON EC3R 7NE
BENSON, NC 27504                         BENSON, NC 27504                       UNITED KINGDOM




GENERATION PARK MGMT DIST                GENESIS BANKCARD SERVICES INC          GENESIS CONSTRUCTION MGMT LLC
11500 NW FREEWAY, STE 465                DBA GENESIS FINANCIAL SOLUTIONS        605 W 47TH ST STE 208
HOUSTON, TX 77092-6538                   15220 NW GREENBRIER PKWY STE 200       KANSAS CITY, MO 64116
                                         BEAVERTON, OR 97006




GENESIS DEILVERY & MOVING SERVICES INC   GENESIS DELIVERY EXPRESS LLC           GENESIS FINANCIAL SOLUTIONS
5705 NORFOLK LN                          363 WOODCOATE DR                       15220 NW GREENBRIER PWY STE 200
FRISCO, TX 75035                         GASTON, SC 29053                       BEAVERTON, OR 97006




GENESIS REAL ESTATE ADVISERS, LLC        GENESIS REYES                          GENESIS SOFTWARE SYSTEMS
ALLISON FORRESTAL                        10201 S. MAIN STREET                   PO BOX 1794
800 MOUNT VERNON HWY NE, STE 410         HOUSTON, TX 77025                      SPOKANE VALLEY, WA 99037
SANDY SPRINGS, GA 30328




GENEVA CHRISTINA LLC                     GENEVA CHRISTINA LLC                   GENEVA CHRISTINA
533 ASHLAND AVENUE                       STEVE CHMELIK                          LFI REAL ESTATE
CHICAGO HEIGHTS, IL 60411                9440 ENTERPRISE DRIVE                  9440 ENTERPRISE DR
                                         MOKENA, IL 60448                       MOKENA, IL 60448
GENEVA COMMONS CLINTON Case   18-12241-CSS
                         HILL LLC       GENEVADoc     26 CLINTON
                                                 COMMONS    Filed 10/05/18
                                                                   HILL LLC   PageGENEVA
                                                                                   656 ofCOMMONS
                                                                                          1739
C/O MID-AMERICA ASSET MGMT INC          TIME EQUITIES INC                         C/O MID-AMERICA REAL ESTATE -
ONE PARKVIEW PLAZA 9TH FLOOR            55 FIFTH AVE 14TH FL                      WISCONSIN, LLC
OAKBROOK TERRACE, IL 60181              NEW YORK, NY 10003                        600 N. PLANKINTON AVENUE, STE 301
                                                                                  ATTN: TERA GREENLAND
                                                                                  MILWAUKEE, WI 53203


GENEVA COMMONS                           GENEVIEVE SMITH                          GENIE BS SPECIALTIES INC
C/O TIME EQUITIES, INC.                  10201 S. MAIN STREET                     1006 E MAPLE ST
55 FIFTH AVENUE, 15TH FLOOR              HOUSTON, TX 77025                        SUTTON, NE 68979
ATTN: AMI ZIFF
NEW YORK, NY 10003



GENO HARRIS                              GENUENT GLOBAL LLC                       GENUENT LLC
10201 S. MAIN STREET                                                              PO BOX 41047
HOUSTON, TX 77025                                                                 BATON ROUGE, LA 70835




GEOARM SECURITY                          GEOFF BANKER                             GEOFF FOX
1133 OLD OKEECHOBEE RD                   10201 S. MAIN STREET                     10201 S. MAIN STREET
WEST PALM BEACH, FL 33401                HOUSTON, TX 77025                        HOUSTON, TX 77025




GEOFF YOUNG                              GEOFFREY ADAMS                           GEOFFREY CLENCH
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




GEOFFREY FISK                            GEOFFREY FONSECA                         GEOFFREY HENDRICKS
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




GEOFFREY HENDRICKS                       GEOFFREY LEWIS                           GEOFFREY LOGAN
10201 S. MAIN STREET                                                              10201 S. MAIN STREET
HOUSTON, TX 77025                                                                 HOUSTON, TX 77025




GEOFFREY ROBERTS                         GEOFFREY ROGERS                          GEOFFREY S STUTCHMAN
10201 S. MAIN STREET                     822 PARKWOOD AVE                         16124 GREENWOOD LN
HOUSTON, TX 77025                        CHARLOTTE, NC 28205                      MONTE SERENO, CA 95030




GEOFFREY SMITH                           GEOFFREY SUPRENANT                       GEOFFREY ZIMMERMAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




GEONTE BALLARD                           GEORGE A JOHNSTON                        GEORGE A KNOTT
10201 S. MAIN STREET                     5415 70TH AVE                            2918 FREEWAY
HOUSTON, TX 77025                        SCHERERVILLE, IN 46375                   BALTIMORE, MD 21227
GEORGE ABDALLAH         Case 18-12241-CSS
                                       GEORGEDoc 26 Filed 10/05/18
                                             ABDULLAH                   PageGEORGE
                                                                             657 ofALBRIGHT
                                                                                    1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                 503 SE 25TH AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                    OCALA, FL 34471




GEORGE BEARD                           GEORGE BERADZE                       GEORGE BERNABEI
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




GEORGE BOHLING                         GEORGE BOONE                         GEORGE BRABEC
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




GEORGE BRADY                           GEORGE BRENSEKE WELDING &            GEORGE COLLETTI
10201 S. MAIN STREET                   IRONWORKS INC                        10201 S. MAIN STREET
HOUSTON, TX 77025                      915 LONG ISLAND AVE                  HOUSTON, TX 77025
                                       DEER PARK, NY 11729




GEORGE CORDTS                          GEORGE D HANUS DBA TRUMAN PROPERTY   GEORGE DAWKINS
10201 S. MAIN STREET                   GROUP LLC                            10201 S. MAIN STREET
HOUSTON, TX 77025                      200 W MADISON ST STE 4200            HOUSTON, TX 77025
                                       CHICAGO, IL 60606




GEORGE DENNY                           GEORGE DERIZIOTIS                    GEORGE DUDEK
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




GEORGE E TRAMEL                        GEORGE EDWARD ALLISON                GEORGE ELZEN
                                       4702 MISTY HILL LANE                 10201 S. MAIN STREET
                                       GASTONIA, NC 28056                   HOUSTON, TX 77025




GEORGE EMERSON                         GEORGE FELDMAN                       GEORGE FIEBERG
93 HUBBARD STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
GLASTONBURY, CT 06033                  HOUSTON, TX 77025                    HOUSTON, TX 77025




GEORGE FOX                             GEORGE GARRETT                       GEORGE GAUDIN
10201 S. MAIN STREET                   6938 KIMKRIS COURT
HOUSTON, TX 77025                      INDIANAPOLIS, IN 46278




GEORGE KRAMER                          GEORGE L ABDULLAH                    GEORGE L RADER
10201 S. MAIN STREET                                                        6068 GOLD CREEK DR EAST
HOUSTON, TX 77025                                                           HICKORY, NC 28601
GEORGE L TURNER         Case   18-12241-CSS
                                         GEORGEDoc 26 Filed 10/05/18
                                               MARSHALL                 PageGEORGE
                                                                             658 ofMCGHEE
                                                                                    1739
2646 SW ACE RD                           10201 S. MAIN STREET               10201 S. MAIN STREET
PORT SAINT LUCIE, FL 34953               HOUSTON, TX 77025                  HOUSTON, TX 77025




GEORGE MCGILL III                        GEORGE MITCHELL                    GEORGE MYDLAND
12108 LAGOON LN                          10201 S. MAIN STREET               10201 S. MAIN STREET
SAINT PETERSBURG, FL 33706               HOUSTON, TX 77025                  HOUSTON, TX 77025




GEORGE NASSIF                            GEORGE NORMAN                      GEORGE P COLLIER DBA FURNITURE MEDIC
10201 S. MAIN STREET                     10201 S. MAIN STREET               2183 MONROE AVE
HOUSTON, TX 77025                        HOUSTON, TX 77025                  MEMPHIS, TN 38104




GEORGE PAPPAS                            GEORGE PELOSI                      GEORGE PETERS
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




GEORGE PISTIS                            GEORGE RADER                       GEORGE ROMERO
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




GEORGE S. EMERSON                        GEORGE SEGURA                      GEORGE SEPERGHAN
93 HUBBARD ST                            10201 S. MAIN STREET               10201 S. MAIN STREET
GLASTONBURY, CT 06033                    HOUSTON, TX 77025                  HOUSTON, TX 77025




GEORGE SHAW                              GEORGE SMITH DBA EXPRESS ONE       GEORGE SOSA
10201 S. MAIN STREET                     DELIVERY LLC                       10201 S. MAIN STREET
HOUSTON, TX 77025                        81 HALL LANE                       HOUSTON, TX 77025
                                         TRENTON, GA 30752




GEORGE STAPP                             GEORGE STEVENS                     GEORGE THIERS
10201 S. MAIN STREET                     DBA ACTION PAVING                  10201 S. MAIN STREET
HOUSTON, TX 77025                        8207 WYN BROOK DR                  HOUSTON, TX 77025
                                         RANDOLPH, NJ 07869




GEORGE TORUNO                            GEORGE TROTTER                     GEORGE VALIGURA
13429 BURNEY PASS DR                     10201 S. MAIN STREET               10201 S. MAIN STREET
MORENO VALLEY, CA 92555                  HOUSTON, TX 77025                  HOUSTON, TX 77025




GEORGE WHITING                           GEORGETA SAJIN                     GEORGI HUITT
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025
GEORGIA BUCHTEL        Case 18-12241-CSS    Doc
                                      GEORGIA    26 Filed
                                              DEPARTMENT     10/05/18
                                                         OF REVENUE     PageGEORGIA
                                                                             659 ofDEPARTMENT
                                                                                    1739      OF REVENUE
10201 S. MAIN STREET                   1800 CENTURY BLVD NE 15107           ATTN: BUSINESS LICENSE DEPT.
HOUSTON, TX 77025                      ATLANTA, GA 30345                    1800 CENTURY BLVD NE 15107
                                                                            ATLANTA, GA 30345




GEORGIA DEPARTMENT OF REVENUE          GEORGIA DEPARTMENT OF REVENUE        GEORGIA DEPT OF REVENUE
ATTN: SALES & USE TAX DEPT.            ATTN: UNCLAIMED PROPERTY DEPT.       1000 TOWNE CENTER BLVD
1800 CENTURY BLVD NE 15107             4125 WELCOME ALL RD STE 701          BUILDING 900, SUITE A
ATLANTA, GA 30345                      ATLANTA, GA 30349                    POOLER, GA 31322




GEORGIA DEPT OF REVENUE                GEORGIA DEPT OF REVENUE              GEORGIA DEPT OF REVENUE
1800 CENTURY CENTER BLVD., N.E.        314 EAST MAIN STREET                 528 BORAD ST SE
ATLANTA, GA 30345-3205                 SUITE 150                            GAINESVILLE, GA 30501-3728
                                       CARTERSVILLE, GA 30120




GEORGIA DEPT OF REVENUE                GEORGIA MORRISSEY                    GEORGIA NATURAL GAS
610 RONALD REAGAN DRIVE                10201 S. MAIN STREET                 P.O. BOX 105445
BUILDING G-1                           HOUSTON, TX 77025                    ATLANTA, GA 30348
EVANS, GA 30809




GEORGIA PORTER                         GEORGIA POWER                        GEORGIA-FLORIDA BURGLAR ALARM CO INC
10201 S. MAIN STREET                   96 ANNEX                             206 PLANTATION OAK DR
HOUSTON, TX 77025                      ATLANTA, GA 30396-0001               THOMASVILLE, GA 31792




GEORGIA-FLORIDA BURGLAR ALARM          GEORGINA LUNDBERG TORUNO             GEOTAG INC
PO BOX 2747                            21376 TENNYSON RD                    2591 DALLAS PKWY SUITE 505
THOMASVILLE, GA 31799-2747             MORENO VALLEY, CA 92557              FRISCO, TX 75034




GEOVANNI CUELLAR                       GEOVANNI MENDEZ                      GEOVANNI MORALES
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




GEOVANNI VARGAS                        GERALD A SHERMAN                     GERALD ALMOND
10201 S. MAIN STREET                   216 HUMPHREY ST                      10201 S. MAIN STREET
HOUSTON, TX 77025                      SWAMPSCOTT, MA 01907                 HOUSTON, TX 77025




GERALD ARCHER                          GERALD COLEMAN                       GERALD GARCIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




GERALD GLASER                          GERALD HEINLEIN                      GERALD HILL
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025
GERALD HUSTON           Case 18-12241-CSS
                                       GERALDDoc  26 Filed 10/05/18
                                             L ROBERTS                PageGERALD
                                                                           660 ofMARCHESI
                                                                                  1739
10201 S. MAIN STREET                   306 N MELVIN AVENUE                10201 S. MAIN STREET
HOUSTON, TX 77025                      MORRISVILLE, PA 19067              HOUSTON, TX 77025




GERALD MILLER                          GERALD NOVAK                       GERALD RUSSELL
10745 ZURICH ST                        10201 S. MAIN STREET               10201 S. MAIN STREET
COOPER CITY, FL 33026                  HOUSTON, TX 77025                  HOUSTON, TX 77025




GERALD SMITH                           GERALD SWAIM                       GERALD WALLACE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




GERALD WILLIAMS                        GERALDA BAUGH                      GERALDINE BLAKE
10201 S. MAIN STREET                   6119 WORTHAM WAY                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77033                  HOUSTON, TX 77025




GERALDINE LOPEZ                        GERALDINE OBRIEN                   GERALDINE OBRIEN
4895 JADESTONE AVE                     60 WESTCHESTER ROAD                C/O CHRISTOPHER SULLIVAN
SAN BERNARDINO, CA 92407               JAMAICA PLAIN, MA 02130            100 RECREATION PARK DRIVE
                                                                          HINGHAM, MA 02043




GERALDO SCHRAER                        GERARD BLANCHARD                   GERARD ELLIS
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




GERARD GUIMOND                         GERARD HOLLAWAY                    GERARD MASUCCI
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




GERARD NAGEE                           GERARD PARISI                      GERARDI CONSTRUCTION INC
10201 S. MAIN STREET                   10201 S. MAIN STREET               1604 N 19TH STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  TAMPA, FL 33605




GERARDO DELABRA                        GERARDO FERNANDEZ                  GERARDO FLORES
630 E TUNNELL ST                       10201 S. MAIN STREET               10201 S. MAIN STREET
SANTA MARIA, CA 93454                  HOUSTON, TX 77025                  HOUSTON, TX 77025




GERARDO LOPEZ                          GERARDO SALAZAR                    GERBERS LAW SC
10201 S. MAIN STREET                   12846 ASHFORD CREEK                480 PILGRIM WAY STE 1200
HOUSTON, TX 77025                      HOUSTON, TX 77082                  GREEN BAY, WI 54304
GERIKKA LEWIS           Case 18-12241-CSS    Doc
                                       GERMAINE   26 Filed 10/05/18
                                                LOMOTAN                       PageGERMAN
                                                                                   661 ofGARCILAZO
                                                                                          1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




GERMAN HOYOS                            GERMAN NUNEZ                              GERMANTOWN (E&A) LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                      C/O EDENS LIMITED PARTNERSHIP
HOUSTON, TX 77025                       HOUSTON, TX 77025                         1221 MAIN ST STE 1000
                                                                                  COLUMBIA, SC 29201




GERMANTOWN (E&A) LLC                    GERMANTOWN (E&A), LLC                     GERMANTOWN (E&A), LLC
C/O EDENS LIMITED PARTNERSHIP           C/O EDENS - 2330                          C/O EDENS LIMITED PARTNERSHIP
1221 MAIN ST STE 1000                   7200 WISCONSIN AVENUE, SUITE 400          1221 MAIN STREET, SUITE 1000
COLUMBIA, SC 29201                      ATTN: VICE PRESIDENT OF LEASING           COLUMBIA, SC 29201
                                        BETHESDA, MD 20814



GERONIMO L.L.C.                         GERONIMO LLC                              GERONIMO SANCHEZ
2733 EAST PARLEYS WAY, SUITE 300        ATTN: LEGAL NOTICES                       10201 S. MAIN STREET
ATTN: LEGAL NOTICES                     2733 EAST PARLEYS WAY, SUITE 300          HOUSTON, TX 77025
SALT LAKE CITY, UT 84109                SALT LAKE CITY, UT 84109




GERRI BEREZ                             GERRICK WOLF                              GERRITY ATLANTIC RETAIL PARTNERS INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                      DBA WOOD VILLAGE GARP LLC
HOUSTON, TX 77025                       HOUSTON, TX 77025                         973 LOMAS SANTA FE DR
                                                                                  SOLANA BEACH, CA 92075




GERRITY ATLANTIC RETAIL PARTNERS, LLC   GERRITY RETAIL FUND 2 INC                 GERRITY RETAIL MANAGEMENT, LLC
973 LOMAS SANTA FE DRIVE                DBA TRACY PAVILION GRF2 LLC               TERRI HENRY, PM
SOLANA BEACH, CA 92705                  973 LOMAS SANTA FE DR                     1850 DOUGLAS BLVD., SUITE 412
                                        SOLANA BEACH, CA 92075                    ROSEVILLE, CA 95661




GERRY F HAWKINS                         GERRY HUCKABY                             GERRY SPIRES
11919 STONE CREEK COURT                 3779 WILMAR DR APT 1                      10201 S. MAIN STREET
CHARLOTTE, NC 28227                     CINCINNATI, OH 45211                      HOUSTON, TX 77025




GERSHMAN PROPERTIES LLC                 GERSHMAN PROPERTIES, LLC                  GERSHOM GRIFFITH
12300 WILSHIRE BLVD STE 310             12300 WILSHIRE BOULEVARD, SUITE 130       10201 S. MAIN STREET
LOS ANGELES, CA 90025                   LOS ANGELES, CA 90025                     HOUSTON, TX 77025




GERSTEIN STRAUSS & RINALDI LLP          GESSY ETIENNE                             GET IT GONE TRUCKING
GARY STRAUSS, ESQ.                      10201 S. MAIN STREET                      537 SWEENY RD
57 WEST 38TH STREET                     HOUSTON, TX 77025                         VIRGINIA BEACH, VA 23452
NEW YORK, NY 10018




GET IT NEAR ME MEDIA                    GET SKETCHED ENTERTAINMENT                GET TRUCKING
4 COPLEY PLACCE                         C/O KEVIN SYLVAN                          RT 1 BOX 21 SG
FLOOR 7                                 5881 S 152ND ST APT D302                  COLLIERS, WV 26035
BOSTON, MA 02116                        SEATTLE, WA 98188
GETHRO JEAN            Case 18-12241-CSS     Doc 26 CORP.
                                      GETTY PROPERTIES Filed 10/05/18      PageGETTYSBURG
                                                                                662 of 1739
                                                                                          HOTEL INC
10201 S. MAIN STREET                   2 JERICHO PLAZA, SUITE 110              1 LINCOLN SQUARE
HOUSTON, TX 77025                      JERICHO, NY 11753                       GETTYSBURG, PA 17325




GEXA ENERGY CORP                       GF 110 LLC                              GF 110, LLC
P.O. BOX 692099                        C/O ARLENE FRIED                        17341 BRIDLEWAY TRAIL
HOUSTON, TX 77269                      17341 BRIDLEWAY TR                      BOCA RATON, FL 33496
                                       BOCA RATON, FL 33496




GFA                                    GFD MANAGEMENT, INC.                    GFK CUSTOM RESEARCH LLC
318 N LINCOLN AVE                      6350 QUADRANGLE DRIVE, SUITE 205        PO BOX 347353
CLEARWATER, FL 33755                   CHAPEL HILL, NC 27515                   PITTSBURGH, PA 15251-4353




GG DENTON TOWN CENTER LLC              GG DENTON TOWN CENTER LLC               GG PLANTATION CROSSING LLC
C/O CREST COMMERCIAL REAL ESTATE       C/O CREST COMMERCIAL REAL ESTATE        C/O AMJ INC.
9330 LBJ FREEWAY, SUITE 1080           9330 LBJ FWY STE 1080                   502 NW 16TH AVE, SUITE 1
DALLAS, TX 75243                       DALLAS, TX 75243                        GAINESVILLE, FL 32601




GG PLANTATION CROSSING, LLC            GGD OAKDALE, LLC                        GGP-GATEWAY MALL LLC
C/O AMJ INC.                           101 E. VINEYARD AVENUE, SUITE 201       SDS-12-1383
502 NW 16TH AVE, SUITE 1               ATTN; REAL ESTATE                       PO BOX 86
GAINESVILLE, FL 32601                  LIVERMORE, CA 94550                     MINNEAPOLIS, MN 55486




GGP-GATEWAY MALL LLC                   GGR LLC                                 GHA TECHNOLOGIES INC
SDS-12-1383                            PO BOX 2579                             DEPT 2090
PO BOX 86                              EAGLE, ID 83616                         PO BOX 29661
MINNEAPOLIS, MN 55486-1383                                                     PHOENIX, AZ 85038-9661




GHARRILYN COOPER                       GHONDA BUSINESS CENTER                  GHP TV
10201 S. MAIN STREET                   13931 LOCKE LANE                        C/O WPGH
HOUSTON, TX 77025                      HOUSTON, TX 77077                       750 IVORY AVE
                                                                               PITTSBURGH, PA 15214




GIANNI OLIVO                           GIANNI PEROVICH                         GIANNINI ANELLO & ROSEN LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    671 MOBLEY RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                       COLUMBUS, GA 31904




GIANNINI ANELLO & ROSEN LLC            GIANNINI, ANELLO & ROSEN, LLC           GIANT DAYTON LLC
7450 CARNOUSTIE CT                     7450 CARNOUSTIE COURT                   1806 N. FRANKLIN STREET
GILROY, CA 95020                       GILROY, CA 95020                        ATTN: PROPERTY ADMINISTRATOR
                                                                               TAMPA, FL 33602




GIANT DAYTON LLC                       GIANT FOOD STORES, LLC                  GIANT FOOD STORES, LLC
ATTN: PROPERTY ADMINISTRATOR           BERMUDA SQUARE C/O COMMERCE BANK        C/O AHOLD USA
1806 N. FRANKLIN STREET                PO BOX 185-Y                            1385 HANCOCK STREET, 10TH FLOOR
TAMPA, FL 33602                        WORCESTER, MA 01614                     ATTN: GENERAL COUNSEL
                                                                               QUINCY, MA 02169
GIANT FOOD STORES, LLC Case 18-12241-CSS      DocSTORES,
                                      GIANT FOOD   26 Filed
                                                          LLC 10/05/18     PageGIANT
                                                                                663FOOD
                                                                                     of 1739
                                                                                         STORES, LLC
C/O AHOLD USA                         C/O KEYPOINT PARTNERS, LLC               ONE BURLINGTON WOODS DR
1385 HANCOCK STREET, 10TH FLOOR       4201 MITCHELLVILLE ROAD, SUITE 501       BURLINGTON, MA 01803
ATTN: VP, REAL ESTATE                 BOWIE, MD 20716
QUINCY, MA 02169



GIBB HOWELL                            GIBRALTAR BUSINESS CAPITAL              GIBRALTAR CAPITAL HOLDINGS LLC
10201 S. MAIN STREET                   DEPT 70403                              GIBRALTAR BUSINESS CAPITAL LLC
HOUSTON, TX 77025                      PO BOX 203704                           PO BOX 203704 DEPT 70403
                                       DALLAS, TX 75320-3704                   DALLAS, TX 75320




GIBRALTAR MANAGEMENT CO. INC.          GIBSON SMITH REALTY CO.                 GIDDY INC DBA BOXED WHOLESALE
150 WHITE PLAINS RD                    ATTN: JOHN JONES                        451 BROADWAY 2ND FL
TARRYTOWN, NY 10591                    1100 KENILWORTH AVE, STE 200            NEW YORK, NY 10013
                                       CHARLOTTE, NC 28204




GIDDY INC                              GIDEON ASSET MANAGEMENT, LLC            GIFTY ADOBEA
DBA BOXED WHOLESALE                    ATTN: AZIZ SYED                         10201 S. MAIN STREET
PO BOX 2098                            1430 BROADWAY, SUITE 704                HOUSTON, TX 77025
NEW YORK, NY 10013                     NEW YORK, NY 10018




GIG HARBOR SOUTH, LLC                  GIG HARBOR SOUTH, LLC                   GIGA NETWORKS INC
388 PEARL STREET                       PO BOX 529                              835 NE 79TH ST
EUGENE, OR 97401                       EUGENE, OR 97440                        MIAMI, FL 33138




GIGLIOTTI PROPERTIES                   GIL MARTINEZ                            GIL MORENO
11279 PENNY HIGHWAY                    10201 S. MAIN STREET                    10201 S. MAIN STREET
WEXFORD, PA 15090                      HOUSTON, TX 77025                       HOUSTON, TX 77025




GIL MURPHY                             GIL RENTAS PRODUCTIONS INC              GILBERT ASSOCIATES INC
10201 S. MAIN STREET                   2475 HASTINGS BLVD                      2880 GATEWAY OAKS DR STE 100
HOUSTON, TX 77025                      CLERMONT, FL 34711                      SACRAMENTO, CA 95833




GILBERT COMMONS FIN. GRP LLC           GILBERT GARZA                           GILBERT GROUP RETAIL REAL ESTATE
P.O. BOX 6157                          10201 S. MAIN STREET                    ATTN: ASHLEIGH VAUGHN
HICKSVILLE, NY 11802-6157              HOUSTON, TX 77025                       203 EAST BROAD STREET
                                                                               COLUMBUS, OH 43215




GILBERT PILET                          GILBERT ROMERO                          GILBERT WOLMART
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




GILBERTO GRATAO                        GILBERTO MENDEZ                         GILBREATH OUTDOOR ADVERTISING
10201 S. MAIN STREET                   10201 S. MAIN STREET                    ATTN: TANYA ANDERSON
HOUSTON, TX 77025                      HOUSTON, TX 77025                       PO BOX 1264
                                                                               FRIENDSWOOD, TX 77549
GILDA M COLCHADO        Case   18-12241-CSS     Doc 26
                                         GILDA RAMOS        Filed 10/05/18    PageGILL
                                                                                   664   of 1739 (US), LP
                                                                                       PROPERTIES
10835 MONOGRAM AVE                       3320 RODRICK CIRCLE                       C/O HOLD-THYSSEN, INC.
GRANADA HILLS, CA 91344                  ORLANDO, FL 32824                         301 S. NEW YORK AVENUE, #200
                                                                                   ATTN: JOY MYERS
                                                                                   WINTER PARK, FL 32789



GILL PROPERTIES US LP                    GILL QUINN                                GILLESPIE CENTRAL APPRAISAL DISTRICT
C/O HOLD-THYSSEN, INC.                   10201 S. MAIN STREET                      TAX ASSESSOR-COLLECTOR
301 S. NEW YORK AVE, 200                 HOUSTON, TX 77025                         101 W MAIN ST UNIT 11
ATTN: JOY MYERS                                                                    FREDERICKSBURG, TX 78624
WINTER PARK, FL 32789



GILLESPIE                                GILLMOR & ASSOCIATES                      GILROY GARLIC FESTIVAL ASSOCIATION INC
ATTN: PROPERTY TAX DEPT.                 1201 FRANKLIN MALL                        7473 MONTEREY ST
101 W MAIN ST UNIT 11                    SANTA CLARA, CA 95050                     GILROY, CA 95020
FREDERICKSBURG, TX 78624




GILS GARAGE INC                          GILTON SOLID WASTE MANAGEMENT INC.        GINA BIANCO
47W527 RT.64                             755 S YOSEMITE                            10201 S. MAIN STREET
VIRGIL, IL 60151                         OAKDALE, CA 95361                         HOUSTON, TX 77025




GINA CORRAL                              GINA DAVIS                                GINA HIGGINS
10201 S. MAIN STREET                     10201 S. MAIN STREET                      51 MIRIAM STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         VALLEY STREAM, NY 11581




GINA NERI                                GINA RAMOS                                GINGER HOOVER
220 TOMAHAWAK LN                         10201 S. MAIN STREET                      10201 S. MAIN STREET
FRANKLIN LAKES, NJ 07417                 HOUSTON, TX 77025                         HOUSTON, TX 77025




GINGER LAUTERBACH                        GINNY PEGRAM                              GINO ALLEVA
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




GINO BIRCH                               GIO WASHINGTON                            GIOVANNA LEVASSEUR
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




GIOVANNA PEREZ                           GIOVANNI CABAN                            GIOVANNI DELVECCHIO
8300 RED BLUFF RD APT 1515               10201 S. MAIN STREET                      10201 S. MAIN STREET
PASADENA, TX 77507                       HOUSTON, TX 77025                         HOUSTON, TX 77025




GIOVANNI LASPISA                         GIOVANNI MANNING                          GIOVANNI PENARANDA
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025
GIOVANNI ROSARIO          Case 18-12241-CSS    Doc
                                         GIOVANNI    26 AGUILAR
                                                  SANCHEZ Filed 10/05/18        PageGIRAFFE
                                                                                     665 ofELECTRIC
                                                                                            1739 II INC
10201 S. MAIN STREET                      10201 S. MAIN STREET                      2025 S WEST AVE
HOUSTON, TX 77025                         HOUSTON, TX 77025                         WAUKESHA, WI 53189




GIRARD WOOD PRODUCTS INC                  GIRL SCOUTS OF NORTHEAST TEXAS            GISELLE GUZMAN
PO BOX 830                                6001 SUMMERSIDE DR
PUYALLUP, WA 98371                        DALLAS, TX 75220




GISELLE MARRERO                           GISELLE ROSA                              GITP PROPERTIES I LTD
10201 S. MAIN STREET                      10201 S. MAIN STREET                      5311 KIRBY DR STE 201
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77005




GITP PROPERTIES I, LTD.                   GITP PROPERTIES I, LTD.                   GIUSEPPE DESIMONE TRUST
5311 KIRBY DR STE 201                     ATTN: LEASE ADMINISTRATOR                 C/O INTEGRATED R E SERVICES LLC
HOUSTON, TX 77005                         7807 MAIN STREET                          1015 THIRD AVE STE 900
                                          HOUSTON, TX 77030                         SEATTLE, WA 98124




GIVE KIDS THE WORLD INC                   GIVE SOMETHING BACK INC                   GJAREL THOMAS
210 SOUTH BASS ROAD                       PO BOX 398744                             10201 S. MAIN STREET
KISSIMMEE, FL 34746                       SAN FRANCISCO, CA 94139-8744              HOUSTON, TX 77025




GJJ OF LINCHBURG LLC                      GJOUILLE D RAMOS                          GK&A ARCHITECTS PC
PO BOX 228                                39 GAFIELD AVENUE STREET                  36 AMES AVE
FOREST, VA 24551                          MILLVILLE, NJ 08332                       RUTHERFORD, NJ 07070




GKT SHOPPES AT LEGACY PARK LLC            GKT SHOPPES AT LEGACY PARK, LLC           GKT THORNCREEK PLAZA LLC
C/O TKG MANAGEMENT, INC.                  C/O TKG MANAGEMENT, INC.                  211 N STADIUM BLVD STE 201
211 N. STADIUM BLVD, STE 201              211 N. STADIUM BOULEVARD, SUITE 201       COLUMBIA, MO 65203
COLUMBIA, MO 65203                        COLUMBIA, MO 65203




GKT THORNCREEK PLAZA LLC                  GKT THORNCREEK PLAZA, LLC                 GL COMMERCIAL LLC
C/O TKG MANAGEMENT                        C/O TKG MANAGEMENT                        1600 SAWGRASS CORP PKWY STE 400
211 N STADIUM BLVD STE 201                211 N. STADIUM BOULEVARD, SUITE 201       SUNRISE, FL 33323
COLUMBIA, MO 65203                        COLUMBIA, MO 65203




GLAB MAINTENANCE SERVICES INC             GLACIAL ENERGY                            GLACIAL ENERGY
130 EAST WALNUT STREET STE 415            2602 MCKINNEY AVE                         PO BOX 20277
GREEN BAY, WI 54301                       STE 220                                   WACO, TX 76702
                                          DALLAS, TX 75204-2519




GLAD ENTERTAINMENT INC                    GLADDEN WATER                             GLADE OUTLOTS A LLC
BLACKBEARDS                               PO BOX 455                                ATTN: GENERAL COUNSEL
4055 N CHESTNUT DIAGONAL                  EXCELSIOR, MN 55331                       6723 WEAVER ROAD, SUITE 108
FRESNO, CA 93726                                                                    ROCKFORD, IL 61114
GLADE OUTLOTS A, LLC   Case   18-12241-CSS
                                        GLADES Doc   26 Filed
                                               PIKE INVESTORS   10/05/18
                                                              LTD            PageGLADYS
                                                                                  666 ofRIERA
                                                                                          1739
6723 WEAVER ROAD, SUITE 108              CO SCHIMIER & FEURRING PROPERTIES       10201 S. MAIN STREET
ATTN: GENERAL COUNSEL                    2200 BUTTS RD STE 300                   HOUSTON, TX 77025
ROCKFORD, IL 61114                       BOCA RATON, FL 33431




GLADYS SALAZAR                           GLASGOW PINES JOINT VENTURE LLC         GLASGOW PINES JOINT VENTURE LLC
2743 DUTTON DR                           ATTN: DAVID M. CANTERA                  ATTN: DAVID M. CANTERA
DALLAS, TX 75211                         2301 NORTH DUPONT HIGHWAY               2301 NORTH DUPONT HIGHWAY
                                         NEW CASTLE, DE 19720                    NEW CASTLE, DE 19720




GLASGOW PINES JOINT VENTURE, LLC         GLASS ACT WINDOW CLEANING LLC           GLASS WEST INC
2301 NORTH DUPONT HIGHWAY                5893 S CELLO AVENUE                     3033 DULUTH ST
ATTN: DAVID M. CANTERA                   BOISE, ID 83709                         WEST SACRAMENTO, CA 95691
NEW CASTLE, DE 19720




GLASS WORKS OF SOUTH SOUND               GLASSBORO BUREAU OF FIRE PREVENTION     GLASSDOOR INC
10107 122ND ST. E                        L.E.A. 0806001                          1 HARBOR DRIVE 300
PUYALLUP, WA 98373                       10 S POPLAR ST                          SAUSALITO, CA 94965
                                         GLASSBORO, NJ 08028




GLASSDOOR INC                            GLASTONBURY                             GLAZIER COPORATION LLC
DEPT 3436                                ATTN: PROPERTY TAX DEPT.                ATTN: JOSH GLAZIER
PO BOX 123436                            PO BOX 376                              824 N RACINE
DALLAS, TX 75312                         GLASTONBURY, CT 06033-0376              CHICAGO, IL 60642




GLAZIER FOODS COMPANY                    GLEIBIS TIBURCIO                        GLEN BAGGETT
A GORDON FOOD SERVICE COMPANY            10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 88029                             HOUSTON, TX 77025                       HOUSTON, TX 77025
CHICAGO, IL 60680-1029




GLEN BURWELL                             GLEN R SPRINGSTEEL                      GLEN REAVES
10201 S. MAIN STREET                     5123 EASTOVER RD                        10201 S. MAIN STREET
HOUSTON, TX 77025                        LYNDHURST, OH 44124                     HOUSTON, TX 77025




GLENDA STACY                             GLENDALE CENTRE, LLC                    GLENDALE CENTRE, LLC
10201 S. MAIN STREET                     C.O KITE REALTY GROUP, LP               C/O KITE REALTY GROUP, LP
HOUSTON, TX 77025                        30 SOUTH MERIDIAN, SUITE 1100           30 SOUTH MERIDIAN, SUITE 1100
                                         INDIANAPOLIS, IN 46204                  INDIANAPOLIS, IN 46204




GLENKIRK RETAIL CENTER LLC               GLENN BROSTROM                          GLENN DOSS
8140 ASHTON AVE STE 206                  10201 S. MAIN STREET                    10201 S. MAIN STREET
MANASSAS, VA 20109                       HOUSTON, TX 77025                       HOUSTON, TX 77025




GLENN FULCHER                            GLENN GORDON                            GLENN JOHNSON
10201 S. MAIN STREET                     7220 NOVA SCOTIA DR                     13802 E. 47TH AVE.
HOUSTON, TX 77025                        PORT RICHEY, FL 34668                   AURORA, CO 80011
GLENN LEWIS             Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                       GLENN MCKELVEY                      PageGLENN
                                                                                667 MORETTI
                                                                                     of 1739
157 BARBARA LEE RD                     10201 S. MAIN STREET                    10201 S. MAIN STREET
DOTHAN, AL 36301                       HOUSTON, TX 77025                       HOUSTON, TX 77025




GLENN PARSONS                          GLENN SCHOTTMAN                         GLENN SILVA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




GLENN TEPLER                           GLENSTONE I LIMITED PARTNERSHIP         GLENSTONE I LIMITED PARTNERSHIP
6916 ERIN MARIE CT                     ATTN: ACCT DEPT                         ATTN: JUD HEFLIN
FORT MYERS, FL 33919                   1 COWBOYS WAY                           ONE COWBOYS PARKWAY
                                       FRISCO, TX 75034                        IRVING, TX 75063




GLENSTONE I LIMITED PARTNERSHIP        GLENWOOD PLATT                          GLG LAND DEVELOPMENT INC
ONE COWBOYS PARKWAY                    10201 S. MAIN STREET                    17400 POYNER RD N
ATTN: JUD HEFLIN                       HOUSTON, TX 77025                       POLK CITY, FL 33868
IRVING, TX 75063




GLICKMAN REAL ESTATE DEVELOPMENT LP    GLICKMAN REAL ESTATE DEVELOPMENT, LP    GLICKMAN REAL ESTATE DEVELOPMENT, LP
5821 FORWARD AVENUE                    102 HARWOOD DRIVE                       5821 FORWARD AVENUE
PITTSBURGH, PA 15217                   PITTSBURGH, PA 15208                    PITTSBURGH, PA 15217




GLIDEAWAY BED CARRIAGE MFG CO          GLIDEAWAY MFG                           GLIMCOR HERMITAGE 1996 LIMITED
7998 SOLUTIONS CENTER                  8226 LACKLAND RD                        PARTNERSHIP
CHICAGO, IL 60677-7009                 SAINT LOUIS, MO 63114                   C/O GLIMCHER GROUP INCORPORATED
                                                                               500 GRANT STREET, SUITE 200
                                                                               MARYBETH FREUND
                                                                               PITTSBURGH, PA 15219


GLIMCOR HERMITAGE 1996 LIMITED         GLIMCOR HERMITAGE 1996 LIMITED          GLIMCOR HERMITAGE
PARTNERSHIP                            PARTNERSHIP                             C/O MARYBETH FREUND
C/O GLIMCHER GROUP INCORPORATED        C/O GLIMCHER GROUP INCORPORATED         500 GRANT ST STE 2000
500 GRANT STREET, SUITE 200            500 GRANT STREET, SUITE 200             PITTSBURGH, PA 15219
PITTSBURGH, PA 15219                   ROBERT GLIMCHER
                                       PITTSBURGH, PA 15219


GLL SELECTION II GEORGIA LP            GLOBAL COMPLIANCE SERVICES              GLOBAL EQUIPMENT CO INC
P.O. BOX 935028                        PO BOX 60941                            29833 NETWORK PLACE
ATLANTA, GA 31193-5028                 CHARLOTTE, NC 28260-0941                CHICAGO, IL 60673-1298




GLOBAL EXPERIENCE SPECIALISTS INC      GLOBAL FACILITY MGMT CONSTRUCTION INC   GLOBAL HOME PRODUCTS
PO BOX 96174                           525 BROADHOLLOW RD STE 100              3762 PEACHTREE CREST DR STE A
CHICAGO, IL 60693                      MELVILLE, NY 11747                      DULUTH, GA 30017




GLOBAL KNOWLEDGE TRAINING LLC          GLOBAL REALTY & MANAGEMENT              GLOBAL RETAIL INVESTORS LLC
PO BOX 116929                          15866 CHAMPION FOREST DRIVE             4350 EAST WEST HWY STE 400
ATLANTA, GA 30368-6929                 SPRING, TX 77379                        BETHESDA, MD 20814
                      Case
GLOBALTRANZ ENTERPRISES INC       18-12241-CSS     Doc
                                            GLOBE THE   26 Filed 10/05/18
                                                      PROFESSIONALS CORP         PageGLORIA
                                                                                      668 of  1739
                                                                                            BELLO
PO BOX 203285                               1562 10TH STREET                         223 BLOOMFIELD DR
DALLAS, TX 75320-3285                       WEST BABYLON, NY 11704                   BAKERSFIELD, CA 93312




GLORIA HOPKINS                              GLORIA ISABEL ORELLANA                   GLORIA JOHNSON-ROGERS
10201 S. MAIN STREET                        247 1ST ST                               10201 S. MAIN STREET
HOUSTON, TX 77025                           RICHMOND, CA 94801                       HOUSTON, TX 77025




GLORIA KOSS                                 GLORIA MICHELSON                         GLORIA OWENS
410 ANDOVER DR                              10201 S. MAIN STREET                     2200 BUSINESS CENTER DRIVE 11107
BURBANK, CA 91504                           HOUSTON, TX 77025                        HOUSTON, TX 77034




GLORIA PEREZ                                GLORIA SELLITTO                          GLORY COMMUNICATIONS INC
2337 LINDSEY CT                             8043 FLORAL DR                           PO BOX 951
WEST COVINA, CA 91792                       WEEKI WACHEE, FL 34607                   COLUMBIA, SC 29202




GLORY COMMUNICATIONS INC                    GLORY FURNITURE                          GLOUCESTER COUNTY
WFMV-FM                                     141 LANZA AVE BLDG 16D                   TREASURER
2440 MILLWOOD AVE                           GARFIELD, NJ 07026                       6489 MAIN STREET
COLUMBIA, SC 29205                                                                   GLOUCESTER, VA 23061-6102




GLOUCESTER                                  GLOVER MANSION EVENTS LLC                GLP ACQUISITION LLC
ATTN: PROPERTY TAX DEPT.                    GLOVER MANSION & RED ROCK CATERING       C/O BEK DEVELOPERS LLC
6489 MAIN STREET                            321 W 8TH AVE                            3900 PARK EAST DR, STE 200
GLOUCESTER, VA 23061-6102                   SPOKANE, WA 99204                        BEACHWOOD, OH 44122




GLP ACQUISITION LLC                         GLYNN COUNTY BOARD OF COMMISSIONERS      GLYNN
C/O BEK DEVELOPERS LLC                      OCCUPATIONAL TAX DIVISION                ATTN: PROPERTY TAX DEPT.
3900 PARK EAST DRIVE, SUITE 200             1725 REYNOLDS ST STE 200                 1725 REYNOLDS ST STE 200
BEACHWOOD, OH 44122                         BRUNSWICK, GA 31520-6436                 BRUNSWICK, GA 31520-6436




GMAC COMMERCIAL CREDIT, LLC                 GMS BROADWAY LLC                         GMS BROADWAY, LLC
NORTHWEST CARPET                            C/O SEMIR SIRAZI                         C/O SEMIR SIRAZI
PO BOX 403058                               1550 N LAKE SHORE DR APT 13A             1550 NORTH LAKE SHORE DRIVE, APT # 13A
ATLANTA, GA 30384-3058                      CHICAGO, IL 60610                        CHICAGO, IL 60610




GMS MANAGEMENT CO INC                       GMS REALTY INC                           GMS REALTY, INC
4645 RICHMOND RD STE 101                    SHELDON MANHEIM                          525 BROADHOLLOW ROAD
CLEVELAND, OH 44128                         525 BROADHOLLOW ROAD                     SHELDON MANHEIM
                                            MELVILLE, NY 11747                       MELVILLE, NY 11747




GMX MIDLAND HOMEWOOD I LLC                  GMX R.E. GROUP LLC                       GNAI BLAKEMORE
GMX REAL ESTATE GROUP LLC                   300 DUNDEE RD 408                        10201 S. MAIN STREET
3000 DUNDEE ROAD 408                        NORTHBROOK, IL 60062                     HOUSTON, TX 77025
NORTHBROOK, IL 60062
GNS SOLUTIONS             Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                         GO TRANSPORTATION                     PageGOANIMATE
                                                                                    669 of 1739
                                                                                             INC
221 - 20353 64TH AVE                     4013 CITATION DR                          204 E SECOND AVE SUITE 638
LANGLEY, BC V2Y 1N5                      COLUMBIA, MO 65202                        SAN MATEO, CA 94401
CANADA




GOD IS GOOD                              GODFREY WARREN                            GODWINS LAWN & LANDSCAPE SVC
580 CEDARHURST RD                        10201 S. MAIN STREET                      7195 SW MARTIN HWY
LAWRENCEVILLE, GA 30045                  HOUSTON, TX 77025                         PALM CITY, FL 34990




GOETZ & FITZPATRICK LLP                  GOLA LLC                                  GOLD BOND
ATTN: GERALD H. MORGANSTERN, ESQ.        C/O GAVAN KENNEDY                         THE STANDARD MATTRESS CO
ONE PENN PLAZA -- 31ST FLOOR             6216 BEACHWAY DR                          PO BOX 89
NEW YORK, NY 10119                       FALLS CHURCH, VA 22041                    HARTFORD, CT 06141




GOLD BOND                                GOLD CREST ELECTRIC COMPANY               GOLD CREST LLC
THE STANDARD MATTRESS CO                 1655 SOUTH 23RD ST                        C/O HARDING AND ASSOCIATES
PO BOX 89                                BEAUMONT, TX 77707-4397                   5006 MONUMENT AVENUE
HARTFORD, CT 06141-0089                                                            RICHMOND, VA 23230




GOLD SPARROW INC                         GOLDBERG SEGALLA LLP                      GOLDEN & CO
549 RIVERA ST                            665 MAIN STREET                           MICHELE GOLDEN
RIVERSIDE, CA 92501                      BUFFALO, NY 14203                         PO BOX 2171
                                                                                   AUSTIN, TX 78768




GOLDEN CAPITAL WHITTIER LLC              GOLDEN CAPITAL WHITTIER LLC               GOLDEN CAPITAL WHITTIER LLC
7762 BEACH BLVD                          9357 ANDALUSIA AVE                        ATTN: HIEU BUI
ATTN: HIEU MINH BUI                      FOUNTAIN VALLEY, CA 92708                 9357 ANDALUSIA AVE
BUENA PARK, CA 90620                                                               FOUNTAIN VALLEY, CA 92708




GOLDEN DESIGNS INC N.A.                  GOLDEN GATE FIRE DISTRICT                 GOLDEN STATE GARAGE DOORS INC
3550 B JURUPA ST                         4798 DAVIS BLVD                           10540 KENNEY ST.
ONTARIO, CA 91761                        NAPLES, FL 34104                          SANTEE, CA 92071




GOLDEN UNION LLC                         GOLDEN UNION LLC                          GOLDFARB & FLEECE LLP
3214 GRANT WAY                           C/O VISTA RAY USA                         ATTN: PARTNER FOR BENENSON MATTERS
EAST POINT, GA 30344                     PO BOX 3071                               345 PARK AVENUE
                                         DULUTH, GA 30096                          NEW YORK, NY 10154




GOLDFARB & FLEECE LLP                    GOLDMAN & GRANT                           GOLDSBORO NEWS-ARGUS
ATTN: ROBERT ZIMMERMAN, ESQ.             205 W RANDOLPH ST STE 1100                PO BOX 10629
560 LEXINGTON AVENUE, 6TH FLOOR          CHICAGO, IL 60606                         GOLDSBORO, NC 27532
NEW YORK, NY 10022




GOLDSTEIN ASSOCIATES, LLC                GOLDSTINE, SKRODZKI, RUSSIAN, NEMEC       GOLDSTONE EXTERIOR SERVICES LLC
LYNNE SCHREFFER, OFFICE MANAGER          AND HOFF, LTD.                            1721 OAK TREE
244 GANO STREET                          ATTENTION:ROBERT D. GOLDSTINE AND         HOUSTON, TX 77080
PROVIDENCE, RI 02906                     JAMES P. HEALY, JR.
                                         835 MCCLINTOCK DRIVE
                                         BURR RIDGE, IL 60527
GOLF & ROSELLE LLC     Case    18-12241-CSS     Doc 26 LLCFiled 10/05/18
                                         GOLF & ROSELLE,                     PageGOLF
                                                                                  670CARS
                                                                                      of 1739
                                                                                          OF HOUSTON LP
HEIDNER PROPERTY MGMT CO                  C/O HEIDNER PROPERTY MANAGEMENT        11219 N FREEWAY
5277 TRILLIUM BLVD                        COMPANY, INC.                          HOUSTON, TX 77037
HOFFMAN ESTATES, IL 60192                 5277 TRILLIUM BOULEVARD
                                          HOFFMAN ESTATES, IL 60192



GONSULA REALTY, LTD                       GONZALEZ ZEPEDA & ASSOCIATES PA        GONZALEZ, ELVIS
6028 TRENT COURT                          13386 SW 128TH ST                      5581 GOLD MINT LN
LEWIS CENTER, OH 43035                    MIAMI, FL 33186                        LAS VEGAS, NV 89122-8398




GONZALEZ, LUIS                            GONZALO ALVAREZ                        GONZO247
1002 ACANTHUS ST                          10201 S. MAIN STREET                   2110 JEFFERSON STE 111
PFLUGERVILLE, TX 78660-2256               HOUSTON, TX 77025                      HOUSTON, TX 77003




GOOD NEWS COMMUNICATIONS INC              GOOD OAK MANAGEMENT, INC.              GOODALE & BARBIERI COMPANY
3222 S RICHEY AVE                         MARK VILLAPANDO                        JOHN J. HILLIER, LEASING MANAGER
TUCSON, AZ 85713                          9340 N. 105TH PLACE                    818 W. RIVERSIDE AVE, SUITE 300
                                          SCOTTSDALE, AZ 85258                   SPOKANE, WA 99201




GOODMAN FAMILY REAL ESTATE TRUST          GOODMAN FAMILY REAL ESTATE TRUST       GOODMAN LANDMARK I, LP
31 SHELTON RD                             31 SHELTON ROAD                        C/O GOODMAN PROPERTIES, INC.
SWAMPSCOTT, MA 01907                      SWAMPSCOTT, MA 01907                   636 OLD YORK ROAD, 2ND FLOOR
                                                                                 ATTN: BRUCE A. GOODMAN
                                                                                 JENKINTOWN, PA 19046



GOODMAN PROPERTIES                        GOODMAN PROPERTIES, INC.               GOODMILL LLC
636 OLD YORK ROAD, 2ND FLOOR              2870 PEACHTREE ROAD, SUITE 889         C/O GOODMAN PROPERTIES, INC.
JENKINTOWN, PA 19046                      ATLANTA, GA 30305                      363 OLD YORK ROAD, 2ND FLOOR
                                                                                 ATTN: BRUCE A. GOODMAN
                                                                                 JENKINTOWN, PA 19046



GOODMILL, LLC                             GOOD-WASH PROPERTIES LLC               GOOD-WASH PROPERTIES LLC
C/O GOODMAN PROPERTIES, INC.              C/O GOODMAN PROPERTIES                 C/O GOODMAN PROPERTIES
363 OLD YORK ROAD, 2ND FLOOR              636 OLD YORK RD 2ND FLOOR              636 OLD YORK RD 2ND FLOOR
ATTN: BRUCE A. GOODMAN                    ATTN: BRUCE A. GOODMAN                 ATTN: BRUCE A. GOODMAN
JENKINTOWN, PA 19046                      JENKINTOWN, PA 19046                   JENKINTOWN, PA 19046



GOOD-WASH PROPERTIES, LLC                 GOODWAY GROUP INC                      GOODWAY GROUP INC
C/O GOODMAN PROPERTIES, INC.              ATTN: CHIEF FINANCIAL OFFICER          ATTN: CHIEF FINANCIAL OFFICER
636 OLD YORK ROAD, 2ND FLOOR              PENTHOUSE STE AT THE PAVILION          PO BOX 826955
ATTN: BRUCE A. GOODMAN                    261 OLD YORK RD, STE 930               PHILADELPHIA, PA 19182-6955
JENKINTOWN, PA 19046                      JENKINTOWN, PA 19046



GOODWIN MANAGEMENT                        GOOGLE INC                             GOOSE CREEK 104 PARTNERS LLC
SCOTT WILSON, PROPERTY MANAGER            DEPARTMENT 33654                       1332 MAIN ST STE 30
11149 RESEARCH BOULEVARD, SUITE 100       PO BOX 39000                           COLUMBIA, SC 29201
AUSTIN, TX 78759                          SAN FRANCISCO, CA 94139




GOOSE CREEK CISD TAX OFFICE               GOPI NATN MULUKA                       GOR CORPORATION
TAX ASSESSOR - COLLECTOR                  15300 112TH AVE NE UNIT A211           USAEPAY
PO BOX 2805-4544 I-10 EAST                BOTHELL, WA 98011                      1833 VICTORY BLVD
BAYTOWN, TX 77522-2805                                                           GLENDALE, CA 91201
GORBY GOBENCIONG         Case 18-12241-CSS
                                        GORDONDoc  26LLP Filed 10/05/18
                                               & REES                            PageGORDON
                                                                                      671 ofCORNERSTONE
                                                                                             1739       PARTNERS LP
10201 S. MAIN STREET                     1111 BROADWAY STE 1700                      ATTN: GARY PHILLIPS
HOUSTON, TX 77025                        OAKLAND, CA 94607                           4900 WOODWAY DRIVE, SUITE 1125
                                                                                     HOUSTON, TX 77056




GORDON CORNERSTONE PARTNERS, LP          GORDON HIGHLANDER                           GORDON LEONARD
4900 WOODWAY DRIVE, SUITE 1125           4450 SIGMA RD STE 200                       10201 S. MAIN STREET
ATTN: GARY PHILLIPS                      FARMERS BRANCH, TX 75244                    HOUSTON, TX 77025
HOUSTON, TX 77056




GORDON MADDOX                            GORDON PARTNERS PROPERTY                    GORMANS UNIFORM RENTAL INC
10201 S. MAIN STREET                     MANAGEMENT, LLC                             9021 KATY FREEWAY
HOUSTON, TX 77025                        GARY PHILLIPS                               HOUSTON, TX 77024
                                         4900 WOODWAY DRIVE, SUITE 1125
                                         HOUSTON, TX 77056



GOSANKO CHOCOLATE                        GOSHEN WATER & SEWER                        GOSHEN WATER & SEWER
116 A ST SE                              203 S 5TH ST                                PO BOX 238
AUBURN, WA 98002                         PO BOX 238                                  GOSHEN, IN 46527-0238
                                         GOSHEN, IN 46528




GOSULA REALTY LTD                        GOTHAM IMAGE WORKS INC.                     GOULSTON & STORRS, P.C.
6028 TRENT COURT                         4710 BELLAIRE BLVD. STE 300                 400 ATLANTIC AVENUE
LEWIS CENTER, OH 43035                   BELLAIRE, TX 77401                          ATTN: SAMUELS -- HINGHAM SHIPYARD
                                                                                     BOSTON, MA 02110-333




GOULSTON & STORRS, P.C.                  GOVDOCS INC                                 GOVDOCS INC
ATTN: TA ASSOCIATES                      355 RANDOLPH AVE STE 200                    VB BOX 167
400 ATLANTIC AVENUE                      SAINT PAUL, MN 55102                        PO BOX 9202
BOSTON, MA 02110-3333                                                                MINNEAPOLIS, MN 55480-9202




GOVEIA COMMERCIAL REAL ESTATE            GOVERNORS OFF OF CONSUMER                   GOWLAND BROTHERS DEVELOPMENT LLC
24855 DEL PRADO                          PROTECTION                                  HUNTINGTON PROPERTIES INC
DANA POINT, CA 92629                     ST OF GA - 2 MARTIN LUTHER KING JR DR       109 N. POST OAK LANE STE 550
                                         STE 356                                     HOUSTON, TX 77024
                                         ATLANTA, GA 30334



GOWLAND BROTHERS DEVELOPMENT             GP MARKETPLACE 1750, LLC                    GP MARKETPLACE 1750, LLC
C/O WESTCO PROPERTY MANAGEMENT           C/O KIMCO REALTY CORPORATION                C/O KIMCO REALTY CORPORATION
COMPANY                                  10600 WEST HIGGINS, SUITE 408               3333 NEW HYDE PARK ROAD, SUITE 100
365 SAWDUST ROAD                         ATTN: LEGAL DEPARTMENT                      NEW HYDE PARK, NY 11042
SPRING, TX 77380                         ROSEMONT, IL 60018



GP ORLAND PARK LLC                       GP ORLAND PARK LLC                          GP ORLAND PARK, LLC
C/O MID-AMERICA ASSET MGMT INC           C/O MID-AMERICA ASSET MGMT INC              C/O MID-AMERICA ASSET MANAGEMENT,
ONE PARKVIEW PLAZA 9TH FLOOR             ONE PARKVIEW PLAZA 9TH FLOOR                INC.
ATTN: PROPERTY MANAGER                   ATTN: PROPERTY MANAGER                      ONE PARKVIEW PLAZA, 9TH FLOOR
OAKBROOK TERRACE, IL 60181               OAKBROOK TERRACE, IL 60181                  ATTN: PROPERTY MANAGER
                                                                                     OAKBROOK TERRACE, IL 60181


GP RETAIL I LLC DBA GS 92-2 PAVILION     GP RETAIL I, LLC                            GQ WINDOW
C/O GART PROPERTIES LLC                  C/O GART PROPERTIES                         1018 EDISON LANE
299 MILWAUKEE STE 500                    299 MILWAUKEE                               ALLEN, TX 75002
DENVER, CO 80206                         DENVER, CO 80206
GR DELIVERY CORP.       Case 18-12241-CSS    Doc 26
                                       GRACE BENNETT       Filed 10/05/18    PageGRACE
                                                                                  672 of 1739
                                                                                       CERSOSIMO
2249 ROCK BRIDGE DR                                                              10201 S. MAIN STREET
MEBANE, NC 27302                                                                 HOUSTON, TX 77025




GRACE HO                               GRACE MANECKE                             GRACE MORGADO
10201 S. MAIN STREET                   3650 ARLINGTON CT                         10201 S. MAIN STREET
HOUSTON, TX 77025                      AURORA, IL 60504                          HOUSTON, TX 77025




GRACE PARKER                           GRACE RIDGE GATEWAY TERRACE DURHAM        GRACE RIDGE GATEWAY TERRACE
10201 S. MAIN STREET                   LLC                                       DURHAM, LLC
HOUSTON, TX 77025                      PO BOX 6332                               C/O WINNING LINK PROPERTIES
                                       HIGH POINT, NC 27262                      RESOURCES
                                                                                 1400 EASTCHESTER DRIVE, SUITE 104
                                                                                 HIGH POINT, NC 27262


GRACE RIDGE GATEWAY TERRACE            GRACE RIDGE GATEWAY TERRACE               GRACE RUSSO
DURHAM, LLC                            DURHAM, LLC                               10201 S. MAIN STREET
C/O WINNING LINK PROPERTY RESOURCES    C/O WINNING LINK PROPERTY RESOURCES       HOUSTON, TX 77025
1400 EASTCHESTER DRIVE, SUITE 104      1400 EASTCHESTER DRIVE, SUITE 104
JACK SOMERS                            JACK SOMERS
HIGH POINT, NC 27262                   HIGH POINT, NC 27265


GRACE SANTANA                          GRACE SMITH                               GRACE VEGA
2374 MOONBEAM DR                       10201 S. MAIN STREET                      10201 S. MAIN STREET
BANNING, CA 92220                      HOUSTON, TX 77025                         HOUSTON, TX 77025




GRACE WAGSTAFF                         GRACE WINSTON                             GRACE-POWER & MCKELLIPS LLC
10201 S. MAIN STREET                   11 LOMITAS CT                             7575 N 16TH ST STE 1
HOUSTON, TX 77025                      MENLO PARK, CA 94025                      PHOENIX, AZ 85020




GRADE A COMMERCE RD LLC                GRADE A COMMERCE RD, LLC                  GRADY HUNTER
C/O GRADE A SHOPRITE                   C/O GRADE A SHOPRITE                      10201 S. MAIN STREET
360 CONNECTICUTT AVE                   360 CONNECTICUTT AVE                      HOUSTON, TX 77025
ATTN: MARIA FISCHETTI                  ATTN: MARIA FISCHETTI
NORWALK, CT 06854                      NORWALK, CT 06854



GRAEBEL VANLINES LLC                   GRAHAM BAGGETT                            GRAHAM GILL
PO BOX 205525                          211 COUNTRYSIDE DR                        10201 S. MAIN STREET
DALLAS, TX 75320-5525                  FRANKLIN, TN 37069                        HOUSTON, TX 77025




GRAHAM HOLDINGS COMPANY                GRAHAM LEWIS                              GRAIG SALERNO
DBA THE SLATE GROUP LLC                2200 W SUDBURY DR APT H1                  10201 S. MAIN STREET
1300 N 17TH ST STE 1700                BLOOMINGTON, IN 47403                     HOUSTON, TX 77025
ARLINGTON, VA 22209




GRAINGER                               GRAINGER                                  GRAINGER
100 GRAINGER PKWY                      DEPT 545-833461171                        DEPT 836343095
LAKE FOREST, IL 60045-5201             PALATINE, IL 60038-0001                   PO BOX 419267
                                                                                 KANSAS CITY, MO 64141-6267
GRAINGER                Case      18-12241-CSS    Doc 26
                                            GRAINGER            Filed 10/05/18     PageGRAINGER
                                                                                        673 of 1739
DEPT 837697978                              DEPT 844764928                             DEPT 853502151
PO BOX 419267                               PO BOX 419267                              PALATINE, IL 60038-0001
KANSAS CITY, MO 64141-6267                  KANSAS CITY, MO 64141-6267




GRAINGER                                    GRAINGER                                   GRAINGER
DEPT 882538937                              DEPT 882663511                             DEPT 883805442
PALATINE, IL 60038-0001                     PALATINE, IL 60038-0001                    PALATINE, IL 60038-0001




GRAINGER-877307884                          GRAMOR DEVELOPMENT                         GRANADA FARMS COMMERCE PARK
DEPT. 877307884                             KATE KEGG, PROPERTY MANAGER                C/O CASE HUFF & ASSOC INC
PALATINE, IL 60038-0001                     19767 SW 72ND AVENUE, SUITE 100            14861 N SCOTTSDALE RD STE 105
                                            TUALATIN, OR 97062                         SCOTTSDALE, AZ 85254




GRANBERY STUDIOS                            GRAND CANYON CENTER LP                     GRAND CANYON CENTER LP
6 REDONDA                                   10805 WILSHIRE BLVD STE 1000               3900 S HUALAPAI WAY STE 200
IRVINE, CA 92620                            LOS ANGELES, CA 90024                      LAS VEGAS, NV 89147




GRAND CANYON CENTER, LP                     GRAND CHUTE UTILITIES                      GRAND CHUTE
3900 S. HUALAPAI WAY, SUITE 200             1900 GRAND CHUTE BLVD                      ATTN: PROPERTY TAX DEPT.
LAS VEGAS, NV 89147                         GRAND CHUTE, WI 54913                      1900 GRAND CHUTE BLVD
                                                                                       GRAND CHUTE, WI 54913-9613




GRAND CROSSING PROPERTIES LLC               GRAND FLAM SHOPS CAPITAL MGMT LLC          GRAND JUNCTION MEDIA INC
C/O HUNINGTON PROPERTIES, INC.              LOGIC LV PROPERTY MGMT LLC                 734 S 7TH ST
3773 RICHMOND AVENUE, SUITE 800             3900 S HUALAPAI WAY STE 200                GRAND JUNCTION, CO 81501-7737
HOUSTON, TX 77046                           LAS VEGAS, NV 89147




GRAND JUNCTION NEWSPAPERS INC               GRAND LAKES WCID                           GRAND PLAZA APARTMENTS
6205 PEACHTREE DUNWOODY RD                  TAX ASSESSOR/COLLECTOR                     MGMT OFFICE
ATLANTA, GA 30328                           13333 NW FWY STE 505                       540 NORTH STATE 9TH FLOOR
                                            HOUSTON, TX 77040-6009                     CHICAGO, IL 60654




GRAND PLAZA LLC                             GRAND PLAZA OWNER LLC                      GRAND PLAZA, LLC
ATTN: PROPERTY MANAGEMENT                   C/O TREEVIEW REAL ESTATE ADVISORS LP       ATTN: PROPERTY MANAGEMENT
5850 CANOGA AVENUE, SUITE 650               28 LIBERTY STREET, SUITE 3040              5850 CANOGA AVENUE, SUITE 650
WOODLAND HILLS, CA 91367                    NEW YORK, NY 10005                         WOODLAND HILLS, CA 91367




GRAND PRAIRE CORNERS LP                     GRAND PRAIRE CORNERS LP                    GRAND RAPIDS INCOME TAX DEPT
8235 DOUGLAS AVENUE, SUITE 720              ATTN: DAVE CARTER                          PO BOX 109
ATTN: DAVE CARTER                           8235 DOUGLAS AVENUE, SUITE 720             GRAND RAPIDS, MI 49501-0109
DALLAS, TX 75225                            DALLAS, TX 75225




GRAND RAPIDS ONE LLC                        GRAND RAPIDS ONE, LLC                      GRAND RAPIDS POLICE DEPARTMENT
C/O VENTUREPOINT PROPERTY                   C/O VENTUREPOINT                           SUPPORT SRVS DIVISION-ALARM PERMITS
4685 MACARTHUR CT STE 375                   4685 MACARTHUR COURT, SUITE 375            1 MONROE CENTER NW
NEWPORT BEACH, CA 92660                     NEWPORT BEACH, CA 92660                    GRAND RAPIDS, MI 49503
                       Case AUT
GRAND STRAND WATER & SEWER  18-12241-CSS      Doc 26WATER
                                      GRAND STRAND      Filed  10/05/18
                                                           & SEWER AUT     PageGRAND
                                                                                674 of  1739 LLC
                                                                                     WISCONSIN
166 JACKSON BLUFF ROAD                P.O. BOX 2308                            SIEGEL GALLAGHER MGMT COMPANY
CONWAY, SC 29526                      CONWAY, SC 29528-2308                    252 EAST HIGHLAND AVE
                                                                               MILWAUKEE, WI 53202




GRANDE COMMUNICATIONS                  GRANDE VILLAGE LLC                      GRANDE VILLAGE, LLC
P.O. BOX 679367                        ATTN: PROPERTY MANAGEMENT               200 CAMPBELL DR, SUITE 200
DALLAS, TX 75267-9367                  200 CAMPBELL DR, SUITE 200              ATTN: PROPERTY MANAGEMENT
                                       WILLINGBORO, NJ 08046                   WILLINGBORO, NJ 08046




GRANDE                                 GRANDPOINT BANK                         GRANDWAY USRE II-D LLC
401 CARLSON CIRCLE                     FINANCE DEPARTMENT                      MID-AMERICAN ASSET MGMT
SAN MARCOS, TX 78666                   1045 W KATELLA AVE 100                  ATTN 4800 211TH ST
                                       ORANGE, CA 92867                        ONE PARKVIEW PLAZA 9TH FLOOR
                                                                               OAKBROOK TERRACE, IL 60181



GRANDWAY USRE II-D LLC                 GRANDWAY USRE II-D, LLC                 GRANDWAY USRE II-D, LLC
MID-AMERICAN ASSET MGMT                C/O MID-AMERICA ASSET MANAGEMENT,       MID-AMERICAN ASSET MGMT
ATTN 4800 211TH ST                     INC.                                    ATTN 4800 211TH ST
ONE PARKVIEW PLAZA 9TH FLOOR           ONE PARKVIEW PLAZA, 9TH FLOOR           ONE PARKVIEW PLAZA 9TH FLOOR
OAKBROOK TERRACE, IL 60181             OAKBROOK TERRACE, IL 60181              OAKBROOK TERRACE, IL 60181



GRANGER                                GRANITE PARK RETAIL LLC                 GRANITE TELECOMMUNICATIONS
P.O. BOX 22213                         C/O NATIONAL DEVELOPMENT                CLIENT ID 311
LANSING, MI 48909-2213                 2310 WASHINGTON ST                      P.O. BOX 983119
                                       NEWTON, MA 02461                        BOSTON, MA 02298-3119




GRANITE                                GRANITE                                 GRANT BAIRD
100 NEWPORT AVE                        CLIENT ID 311                           10201 S. MAIN STREET
QUINCY, MA 02171                       P.O. BOX 98311                          HOUSTON, TX 77025
                                       BOSTON, MA 02298-3119




GRANT COLE                             GRANT COUNTY PUBLIC UTIL DIST           GRANT COUNTY PUBLIC UTIL DIST
10201 S. MAIN STREET                   CUSTUMER SERVICE P.O. BOX 878           PO BOX 878
HOUSTON, TX 77025                      EPHRATA, WA 98823                       EPHRATA, WA 98823




GRANT COUNTY PUD                       GRANT COUNTY TREASURER                  GRANT FAULK
P.O. BOX 878                           P.O. BOX 37                             10201 S. MAIN STREET
EPHRATA, WA 98823                      EPHRATA, WA 98823                       HOUSTON, TX 77025




GRANT KEENER                           GRANT PARISH                            GRANT PLAZA ACQUISITION LP
10201 S. MAIN STREET                   SALES & USE TAX DEPT                    2400 ROUTE 1
HOUSTON, TX 77025                      PO BOX 187                              NORTH BRUNSWICK, NJ 08902
                                       COLFAX, LA 71417-0187




GRANT RUMBLE                           GRANT THORNTON LLP                      GRANT THORNTON LLP
10201 S. MAIN STREET                   1901 S MEYERS RD STE 455                33562 TREASURY CENTER
HOUSTON, TX 77025                      OAKBROOK TERRACE, IL 60181              CHICAGO, IL 60694-3500
GRANT TROUTT         Case      18-12241-CSS     Doc 26
                                         GRANT VELLUCCI     Filed 10/05/18        PageGRANT
                                                                                       675 of 1739
3011 NEWPORT COURT                       10201 S. MAIN STREET                         ATTN: PROPERTY TAX DEPT.
MURFREESBORO, TN 37129                   HOUSTON, TX 77025                            101 NORTHWEST A ST
                                                                                      GRANTS PASS, OR 97526




GRANT, KONVALINKA & HARRISON, P.C.       GRANVILLE COUNTY TAX COLLECTOR               GRANVILLE MORGAN
ATTN: JOHN R. ANDERSON                   PO BOX 219                                   10201 S. MAIN STREET
633 CHESTNUT STREET, SUITE 900           OXFORD, NC 27565-0219                        HOUSTON, TX 77025
CHATTANOOGA, TN 37450-0900




GRAPEVINE CROSSING HOLDINGS LLC          GRAPEVINE GOLF CARS                          GRAPEVINE PAVILION INVESTMENT LTD
1722 ROUTH ST STE 1313                   1380 W NW HWY                                1700 PACIFIC AVE STE 2300
DALLAS, TX 75201                         GRAPEVINE, TX 76051                          DALLAS, TX 75201




GRAPEVINE PAVILION INVESTMENT LTD        GRAPEVINE PAVILION INVESTMENT LTD.           GRAPEVINE TATE JV
CONNECTED MGMT SVC LLC                   C/O CONNECTED MANAGEMENT SERVICES,           DBA GRAPEVINE TOWNE CENTER
PO BOX 674368 DEPT 1050                  LLC                                          3102 MAPLE AVE STE 500
DALLAS, TX 75267-4368                    2525 MCKINNON STREET, SUITE 710 -- 7TH       DALLAS, TX 75201
                                         FLOOR
                                         ATTN: SUSANA GANDARA
                                         DALLAS, TX 75201

GRAPEVINE TATE JV                        GRAPEVINE/COLLEYVILLE AREA TAX OFFICE        GRAPEVINE/COLLEYVILLE TAX OFFICE
PO BOX 660394                            3072 MUSTANG DRIVE                           3072 MUSTANG DRIVE
DALLAS, TX 75266                         GRAPEVINE, TX 76051                          GRAPEVINE, TX 76051




GRAPHIC DETAIL INC                       GRAPHIC MILLWORK LLC                         GRAPHIC VISIONS UNLIMITED INC
936 GREENBRIAR PKWY                      2091 NIMISHILLEN CHURCH ST NE                800 PORT 14 PLACE
KENT, OH 44240                           CANTON, OH 44721                             ATLANTA, GA 30349




GRASSMASTERS                             GRAVIT INC                                   GRAVOIS BLUFFS EAST 6 LLC
4197 KINGSTON HWY                        6949 S HIGH TECH DR                          C/O GJ GREWE INC
KINGSTON, TN 37763                       MIDVALE, UT 84047                            639 GRAVOIS BLUFFS BLVD STE D
                                                                                      FENTON, MO 63026




GRAVOIS BLUFFS EAST 6, LLC               GRAVOIS BLUFFS SOUTH 6-G4 LLC                GRAVOIS BLUFFS SOUTH 6-G4, LLC
C/O G. J. GREWE, INC.                    C/O GJ GREWE INC                             C/O G. J. GREWE, INC.
639 GRAVOIS BLUFFS BLVD., SUITE D        639 GRAVOIS BLUFFS BLVD STE D                639 GRAVOIS BLUFFS BLVD., SUITE D
FENTON, MO 63026                         FENTON, MO 63026                             FENTON, MO 63026




GRAY ENTERPRISES LP                      GRAY ENTERPRISES LP                          GRAY ENTERPRISES, LP
2200 HARBOR BLVD STE B 170               2200 HARBOR BLVD STE B-170                   2200 HARBOR BLVD., SUITE B-170
COSTA MESA, CA 92627                     COSTA MESA, CA 92627                         COSTA MESA, CA 92627




GRAY RE HOLDING                          GRAY RE HOLDINGS LLC                         GRAY TELEVISION GROUP INC DBA
P.O. BOX 1242                            PO BOX 1242                                  KKTV/NKTV
BEAUFORT, SC 29901                       BEAUFORT, SC 29901                           520 E COLORADO AVE
                                                                                      COLORADO SPRINGS, CO 80903
                       Case
GRAY TV GROUP INC DBA WSAW     18-12241-CSS
                                         GRAY TVDoc 26INC Filed
                                                GROUP           10/05/18
                                                          DBA WSAW           PageGRAY
                                                                                  676TVofGRP
                                                                                          1739
                                                                                             INC DBA KAKE-TC, KUPK-TV,
PO BOX 14200                              PO BOX 1867                             KLBY-TV, KHBD, NAKE
TALLAHASSEE, FL 32317                     126 N WASHINGTON STREET                 126 N WASHINGTON ST
                                          ALBANY, GA 31702-1867                   ALBANY, GA 31701




GRAYBILL, LANSCHE & VINZANI, LLC          GRAYSLAKE ADVISORS LLC                  GRAYSON COUNTY
ATTN: WESLEY M. GRAYBILL                  149 S BARRINGTON AVE STE 705            TAX ASSESSOR - COLLECTOR
2721 DEVINE STREET                        LOS ANGELES, CA 90049                   P.O. BOX 2107
COLUMBIA, SC 29205                                                                SHERMAN, TX 75091-2107




GRAYSON                                   GRAYSON-SPROLES, RUBY                   GRAZYNA ROMANSKA
ATTN: PROPERTY TAX DEPT.                  780 W. 79TH AVE                         10201 S. MAIN STREET
P.O. BOX 2107                             MERRIVILLE, IN 46410-5419               HOUSTON, TX 77025
SHERMAN, TX 75091-2107




GREAT ALLENTOWN FAIR                      GREAT AMERICA LEASING CORP              GREAT AMERICAN INSURANCE CO. OF NY
302 N 17TH ST                             P.O. BOX 660831                         11325 N. COMMUNITY HOUSE RD.
ALLENTOWN, PA 18104                       DALLAS, TX 75266-0831                   SUITE 200
                                                                                  CHARLOTTLE, NC 28277




GREAT BARRINGTON REAL ESTATE LLC          GREAT BARRINGTON REAL ESTATE LLC        GREAT BARRINGTON
C/O PARAGON MANAGEMENT GROUP LLC          C/O PARAGON MGMT GROUP LLC              ATTN: PROPERTY TAX DEPT.
276 POST ROAD WEST, SUITE 201             276 POST ROAD W STE 201                 334 MAIN STREET
WESTPORT, CT 06880                        WESTPORT, CT 06880                      GREAT BARRINGTON, MA 01230




GREAT BIG PICTURES                        GREAT CIRCLE MEDIA                      GREAT HILLS MARKET
DEPT 178                                  1117 W ROUTE 66                         C/O CENCOR REALTY SERVICES INC
PO BOX 850001                             FLAGSTAFF, AZ 86001                     16976 COLLECTIONS CENTER DR
ORLANDO, FL 32885-0178                                                            CHICAGO, IL 60693




GREAT HILLS RETAIL INC                    GREAT HILLS RETAIL INC                  GREAT HILLS RETAIL, INC.
DBA GREAT HILLS MARKET                    GREAT HILLS MARKET HCM LLC              C/O THE RETAIL CONNECTION
16976 COLLECTIONS CTR DR                  16978 COLLECTION CENTER DR              221 W. 6TH STREET, SUITE 1030
CHICAGO, IL 60693                         CHICAGO, IL 60696-0169                  ATTN: MS. CHERYL RUFF
                                                                                  AUSTIN, TX 78701



GREAT LAKES CAPITAL                       GREATAMERICA FINANCIAL SVCS             GREATER AUGUSTA UTILITY DISTRICT
112 WEST JEFFERSON BOULEVARD, SUITE       PO BOX 660831                           12 WILLIAMS STREET
200                                       DALLAS, TX 75266-0831                   AUGUSTA, ME 04330-5225
SOUTH BEND, IN 46601




GREATER BELOIT PUBLISHING CO DBA          GREATER CINCINNATI WATER WORKS          GREATER CINCINNATI WATER WORKS
BELOIT DAILY NEWS                         4747 SPRING GROVE AVE                   P.O. BOX 5487
149 STATE ST                              CINCINNATI, OH 45232                    CAROL STREAM, IL 60197-5487
BELOIT, WI 53511




GREATER DALLAS OFFICE EQUIPMENT INC       GREATER DICKSON GAS AUTHORITY           GREATER GLENDALE FINANCE LLC
DBA INTELINET SYSTEMS                     605 E WALNUT ST                         PO BOX 4337
1110 E COLLINS BLVD STE 122               DICKSON, TN 37055-2505                  MESA, AZ 85211
RICHARDSON, TX 75081
GREATER HOUSTON WOMENS Case  18-12241-CSS
                          CHAMBER OF   GREATERDoc    26 CHAMBER
                                                 KILLEEN Filed 10/05/18
                                                                OF           PageGREATER
                                                                                  677 of SACRAMENTO
                                                                                          1739      NEW CAR
COMMERCE                               COMMERCE                                  DEALERS ASSOC
3015 RICHMOND AVE STE 200              PO BOX 548                                805 UNIVERSITY AVE
HOUSTON, TX 77098                      KILLEEN, TX 76540                         SACRAMENTO, CA 95825




GREATEST PALLET RECYCLE                GRECO LAW ASSOCIATES PC & MARY REID       GREELEY RETAIL PARTNERS LLC
CLAICO FINANCIAL GROUP INC             PRORFESSIONAL ARTS BUILDING               600 CALIFORNIA ST STE 520
PO BOX 30558                           327 N WASHINGTON AVE 4TH FLOOR            SAN FRANCISCO, CA 94108
HOUSTON, TX 77249-0558                 SCRANTON, PA 18403




GREELEY RETAIL PARTNERS LLC            GREELEY TRIBUNE                           GREELY & ASSOCIATES, LLC
ATTN: ZEB RIPPLE                       PO BOX 1690                               ATTN: SCOTT SHAPIRO
180 MONTGOMERY ST STE 1250             GREELEY, CO 80632                         PO BOX 914
SAN FRANCISCO, CA 94104                                                          KIHEI, HI 96753




GREELY & ASSOCIATES, LLC               GREELY ASSOCIATES LLC                     GREELY ASSOCIATES, LLC
P.O. BOX 914                           ATTN: SCOTT SHAPIRO                       ATTN: SCOTT SHAPIRO
ATTN: SCOTT SHAPIRO                    PO BOX 914                                PO BOX 914
KIHEI, HI 96753                        KIHEI, HI 96753                           KIHEI, HI 96753




GREELY ASSOCIATES, LLC                 GREEN AMERICA LAWN CARE                   GREEN CIRCLE FOUNDATION, LLC
P.O. BOX 914                           513 OSAGE ST                              C/O J.A. KENNEDY REAL ESTATE COMPANY
ATTN: SCOTT SHAPIRO                    JOLIET, IL 60433                          7155 S. RAINBOW BLVD., SUITE 200
KIHEI, HI 96753                                                                  ATTN: AUDRA ROTHKEGEL
                                                                                 LAS VEGAS, NV 89118



GREEN CLARK                            GREEN EARTH DEVELOPMENT INC               GREEN GUARD
10201 S. MAIN STREET                   PO BOX 4983 WALNUT CREEK                  4159 SHORELINE DR
HOUSTON, TX 77025                      WALNUT CREEK, CA 94596-0983               EARTH CITY, MO 63045




GREEN LEAF HERMITAGE LLC               GREEN LEAF HERMITAGE LLC                  GREEN LEAF HERMITAGE LLC
37 ELIZABETH CIRCLE                    C/O COMMERCIAL PROPERTY SOUTHWEST         COMMERCIAL PROP SW FL LLC
GREENBRAE, CA 94904                    FLORIDA LLC                               ATTN PAM VAN VLECK
                                       5220 SUMMERLIN COMMONS BOULEVARD,         5220 SUMMERLIN COMMONS BLVD STE 500
                                       SUITE 500                                 FORT MYERS, FL 33907
                                       ATTN: PAM VAN VECK
                                       FORT MYERS, FL 33907

GREEN LIFE WASTE SOLUTIONS             GREEN LIFE WASTE SOLUTIONS                GREEN LIGHT SERVICES INC.
673 GILMER ST                          P.O. BOX 2156                             13007 OAKWOOD MANOR DR
BURLINGTON, NC 27215                   BURLINGTON, NC 27216-2156                 CYPRESS, TX 77429




GREEN LIGHT SERVICES, INC.             GREEN MOUNTAIN ENERGY COMPANY             GREEN MOUNTAIN ENERGY
P.O. BOX 1813                          DEPT 1233                                 1303 SAN ANTONIO ST
CYPRESS, TX 77410-1813                 PO BOX 121233                             STE 700
                                       DALLAS, TX 75312-1233                     AUSTIN, TX 78701




GREEN MOUNTAIN POWER CORP              GREEN MOUNTAIN POWER CORP                 GREEN WASTE MALL SERVICES
163 ACORN LANE                         P.O. BOX 1611                             1500 BERGER DR
COLCHESTER, VT 05446                   BRATTLEBORO, VT 05302-1611                SAN JOSE, CA 95112
                     Case
GREEN WASTE MALL SERVICES    18-12241-CSS    DocCOST
                                       GREENBACK 26 RECOVERY
                                                     Filed 10/05/18
                                                             LLC        PageGREENBERG
                                                                             678 of 1739
                                                                                      GIBBONS
PO BOX 94258                           PO BOX 22656                         ATTN: BRIAN J. GIBBONS
LAS VEGAS, NV 89193                    HOUSTON, TX 77227                    10096 RED RUN BOULEVARD, SUITE 100
                                                                            OWINGS MILLS, MD 21117




GREENBROOK TWP MUNICIPAL COURT         GREENE COUNTY TREASURER              GREENE COUNTY
111 GREENBROOK RD                      PO BOX 157                           ATTN: PROPERTY TAX DEPT.
GREEN BROOK TWSP, NJ 08812             STANARDSVILLE, VA 22973-0157         940 N BOONVILLE AVE
                                                                            SPRINGFIELD, MO 65802




GREENE CROSSINGS LLC                   GREENEST CLEANERS4YOU                GREENFIELD
PO BOX 75880                           5029 ALMADEN EXPRESSWAY              ATTN: PROPERTY TAX DEPT.
BALTIMORE, MD 21275-5880               SAN JOSE, CA 95118                   14 COURT SQUARE
                                                                            GREENFIELD, MA 01301-3585




GREENFIRM LLC                          GREENFIRM, LLC                       GREENFIRM, LLC
ROBBINS PROPS. I LLC/MANAGING AGENT    11200 EASUM ROAD                     ATTN: LAWRENCE A. SHAPIN
3100 WEST END AVE STE 1070             ATTN: LAWRENCE A. SHAPIN             11200 EASUM ROAD
NASHVILLE, TN 37203                    LOUISVILLE, KY 40299                 LOUISVILLE, KY 40299




GREENLAWN WATER DISTRICT               GREENLEAF COMPACTION INC.            GREENLEAF COMPACTION INC.
45 RAILROAD STREET                     222 S MILL AVE, SUITE 333            P.O. BOX 29661
GREENLAWN, NY 11740-1297               TEMPE, AZ 85281                      PHOENIX, AZ 85038-2008




GREENLEAF LANDSCAPE MAINT              GREENMOUNT RETAIL CENTER LLC         GREENMOUNT RETAIL CENTER, LLC
PO BOX 352                             ATTN: WAYNE SCHMIDT                  1331 PARK PLAZA DRIVE, SUITE 4
LEWISTON, ID 83501                     1331 PARK PLAZA DRIVE, SUITE 4       ATTN: WAYNE SCHMIDT
                                       OFALLON, IL 62269                    O'FALLON, IL 62269




GREENRIDGE SHOPS INC                   GREENRIDGE SHOPS INC.                GREENS OF STRONGSVILLE TRUSTEE
PO BOX 74008261                        191 WACKER DRIVE, SUITE 2500         ANNEX, LTD.
CHICAGO, IL 60674-8261                 CHICAGO, IL 60606                    C/O WALD & FISHER, INC.
                                                                            3311 RICHMOND, SUITE 200
                                                                            ATTN: MARC GLICK
                                                                            BEACHWOOD, OH 44122


GREENS OF STRONGVILLE TRUSTEE ANNEX    GREENSBORO BATTLEFIELD LLC           GREENSBORO CONTRACTING
LTD                                    ATTN: RAMESH BODULLA                 CORPORATION
WALD & FISHER INC                      2598 E. BRANCH                       1852 BANKING ST 9622
3311 RICHMOND RD STE 200               BREA, CA 92821                       GREENSBORO, NC 27408
ATTN: MARC GLICK
BEACHWOOD, OH 44122


GREENSBORO NEWS & RECORD INC           GREENSHADES SOFTWARE                 GREENSHEET
PO BOX 26983                           7020 AC SKINNER PKWY                 2601 MAIN ST PO BOX 2025
RICHMOND, VA 23261-5983                SUITE 100                            HOUSTON, TX 77252
                                       JACKSONVILLE, FL 32256




GREENSHEET                             GREENSON BINAGI                      GREENSPRING ASSOCIATES LP
PO BOX 2025                            10201 S. MAIN STREET                 C/O REGENCY CENTERS CORPORATION
HOUSTON, TX 77252-2025                 HOUSTON, TX 77025                    1919 GALLOWS ROAD, SUITE 1000
                                                                            ATTN: PROPERTY MANAGEMENT
                                                                            VIENNA, VA 22182
GREENSPRING ASSOCIATES Case
                         LP   18-12241-CSS      Doc 26
                                        GREENSPRING       Filed 10/05/18
                                                     ASSOCIATES LP         PageGREENSPRING
                                                                                679 of 1739ASSOCIATES LP
C/O REGENCY CENTERS CORPORATION         C/O REGENCY CENTERS CORPORATION        PO BOX 822164
ONE INDEPENDENT DRIVE, SUITE 114        ONE INDEPENDENT DRIVE, SUITE 114       PHILADELPHIA, PA 19182-2164
ATTN: LEASE ADMINISTRATION              ATTN: LEGAL DEPARTMENT
JACKSONVILLE, FL 32202                  JACKSONVILLE, FL 32202



GREENTEA PLAZA 06 A LLC                GREENTREE MGMT TRUST 46466953488        GREENTREE MGMT TRUST 46466953488
12411 VENTURA BLVD                     C/O STREAM REALTY                       C/O STREAM REALTY
STUDIO CITY, CA 91604                  205 AVE B                               ATTN: DENA WOULDS
                                       REDONDO BEACH, CA 90277                 1404 N SAM HOUSTON PKWY E STE 100
                                                                               HOUSTON, TX 77032



GREENTREE PLAZA 06, LLC                GREENVIEW SOLUTIONS                     GREENVILLE COUNTY TAX COLLECTOR
C/O ACF PROPERTY MANAGEMENT, INC.      PO BOX 611                              301 UNIVERSITY RIDGE, SUITE 200
12411 VENTURA BOULEVARD                GOSHEN, IN 46527                        GREENVILLE, SC 29601-3660
STUDIO CITY, CA 91604




GREENVILLE COUNTY TAX COLLECTOR        GREENVILLE UTILITIES COMMISSION         GREENVILLE UTILITIES COMMISSN
DEPARTMENT 390                         P.O. BOX 1847                           401 S GREENE ST.
P. O. BOX 100221                       GREENVILLE, NC 27835-1847               GREENVILLE, NC 27834
COLUMBIA, SC 29202-3221




GREENVILLE UTILITIES COMMISSN          GREENVILLE WATER DISTRICT               GREENVILLE WATER DISTRICT
P.O. BOX 1847                          630 PUTNAM PIKE                         P.O. BOX 595
GREENVILLE, NC 27835-1847              GREENVILLE, RI 02828                    GREENVILLE, RI 02828




GREENVILLE WATER                       GREENVILLE WATER                        GREENWASTE RECOVERY INC.
407 W BROAD ST.                        P.O. BOX 687                            1500 BERGER DR
GREENVILLE, SC 29601                   GREENVILLE, SC 29602-0687               SAN JOSE, CA 95112




GREENWASTE RECOVERY INC.               GREENWAY CENTER                         GREENWAY DTC LP
P.O. BOX 11089                         PO BOX 277788                           2808 FAIRMOUNT ST 100
SAN JOSE, CA 95103-1089                ATLANTA, GA 30384-7788                  DALLAS, TX 75201




GREENWAY DTC LP                        GREENWAY PLAZA LLC                      GREENWAY PLAZA LLC
C/O TRINITY INTERESTS INC              C/O COMBINED PROPERTIES, INC.           C/O COMBINED PROPERTIES, INC.
12740 HILLCREST RD STE 101             1025 THOMAS JEFFERSON ST. NW            1025 THOMAS JEFFERSON ST. NW, SUITE
DALLAS, TX 75230                       SUITE 700 EAST                          700 EAST
                                       WASHINGTON, DC 20007                    WASHINGTON, DC 20007



GREENWAY PLAZA LLC                     GREENWOOD & MCKENZIE                    GREENWOOD COUNTY TAX COLLECTOR
GREENWAY CENTER                        440 W FIRST ST STE 201                  528 MONUMENT ST R-101
PO BOX 277788                          TUSTIN, CA 92780                        GREENWOOD, SC 29646
ATLANTA, GA 30384-7788




GREENWOOD POINTE I LLC                 GREENWOOD POINTE I, LLC                 GREENWOOD POINTE I, LLC
SCHOOLCRAFT COMMERCIAL REAL ESTATE     C/O SCHOOLCRAFT COMMERCIAL REAL         SCHOOLCRAFT COMMERCIAL REAL ESTATE
SVCS                                   ESTATE SERVICES                         SVCS
586 S. SR 135, SUITE G                 586 S. SR 135, SUITE G                  586 S. SR 135, SUITE G
ATTN: STEPHEN SCHOOLCRAFT              ATTN: STEPHEN SCHOOLCRAFT               ATTN: STEPHEN SCHOOLCRAFT
GREENWOOD, IN 46142                    GREENWOOD, IN 46142                     GREENWOOD, IN 46142
GREENWOOD SANITATION    Case 18-12241-CSS    Doc SANITATION
                                       GREENWOOD 26 Filed 10/05/18        PageGREENWOOD
                                                                               680 of 1739
                                                                                        SQUARE INC.
300 S. MADISON AVENUE                  PO BOX 1206                            P.O. BOX 880574
GREENWOOD, IN 46142                    INDIANAPOLIS, IN 46206-1206            BOCA RATON, FL 33488-0574




GREENWOOD                              GREER COMMISSION OF PUBLIC WORKS       GREER CPW
ATTN: PROPERTY TAX DEPT.               301 MCCALL ST.                         301 MCCALL STREET
528 MONUMENT ST R-101                  GREER, SC 29650                        GREER, SC 29650
GREENWOOD, SC 29646




GREER CPW                              GREG ALFORD                            GREG BALDONADO
P.O. BOX 216                           10201 S. MAIN STREET                   10201 S. MAIN STREET
GREER, SC 29652                        HOUSTON, TX 77025                      HOUSTON, TX 77025




GREG BROWNING                          GREG CLEMONS                           GREG CORONADO
11620 VICTORIA COURT                   10201 S. MAIN STREET                   10201 S. MAIN STREET
CARMEL, IN 46033                       HOUSTON, TX 77025                      HOUSTON, TX 77025




GREG DELANGE                           GREG EDAHL                             GREG EGLOFF
1715 W 21ST AVE                        10201 S. MAIN STREET                   10201 S. MAIN STREET
KENNEWICK, WA 99337                    HOUSTON, TX 77025                      HOUSTON, TX 77025




GREG FAUST                             GREG GIESE                             GREG GIPES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




GREG GOLDEN                            GREG GROW                              GREG GUSTAFSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




GREG HAGER                             GREG HATCH                             GREG HENDRY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




GREG INSCHO                            GREG MADRY                             GREG MCMILLAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




GREG MCMURRAY                          GREG MINK                              GREG MULLIGAN
51 BLACK IRON LN                       10201 S. MAIN STREET                   10201 S. MAIN STREET
HENDERSONVILLE, NC 28792               HOUSTON, TX 77025                      HOUSTON, TX 77025
GREG NELSON              Case 18-12241-CSS    Doc 26
                                        GREG OSBORNE        Filed 10/05/18   PageGREG
                                                                                  681PELL
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




GREG PUTNAM                             GREG R MAGGIO                            GREG RYAN
10201 S. MAIN STREET                    19135 US HWY 19 NORTH I1                 10201 S. MAIN STREET
HOUSTON, TX 77025                       CLEARWATER, FL 33764                     HOUSTON, TX 77025




GREG SCHULZ                             GREG SHAW                                GREG SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




GREG STARKOVICH                         GREG STRASMA                             GREG SUDDUTH
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




GREG SUMMERVILLE                        GREG TANDY                               GREG TISDALE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




GREG TRCKA                              GREG TRCKA                               GREG VALLARTA
10201 S. MAIN STREET                    10201 S. MAIN STREET                     4756 CRISTY AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                        SAN BERNARDINO, CA 92407




GREG VINES                              GREG WARD                                GREG WEISS
DBA R & R PEST CONTROL                  10201 S. MAIN STREET
2800 PRIMWOOD PATH                      HOUSTON, TX 77025
CEDAR PARK, TX 78613




GREG YOUNG                              GREGG CHIANESE                           GREGG COUNTY TAX ASSESSOR-
10201 S. MAIN STREET                    10201 S. MAIN STREET                     COLLECTOR
HOUSTON, TX 77025                       HOUSTON, TX 77025                        ATTN: PROPERTY TAX DEPT.
                                                                                 PO BOX 1431
                                                                                 LONGVIEW, TX 75606-1431



GREGG COUNTY TAX ASSESSOR-              GREGG HERSHOLT                           GREGG KWOCZKA
COLLECTOR                               1616 46TH AVE SW                         10201 S. MAIN STREET
ATTN: PROPERTY TAX DEPT.                SEATTLE, WA 98116                        HOUSTON, TX 77025
PO BOX 1431
LONGVIEW, TX 75606-1431



GREGG NEUENFELDT                        GREGG WILLIAMS RECEIVER FOR TROPEC       GREGG WILLIAMS RECEIVER FOR TROPEC
5357 NAPLES CEDAR DR SW                 LLC                                      LLC
WYOMING, MI 49519                       9034 W SUNSET BLVD                       COLLIERS INTL KATHY WILLIAMS
                                        WEST HOLLYWOOD, CA 90069                 1850 MT DIABLO BLVD STE 200
                                                                                 WALNUT CREEK, CA 94596
                     Case
GREGORY A VAILLANCOURT      18-12241-CSS    Doc
                                      GREGORY    26 Filed 10/05/18
                                              AKHRAS                 PageGREGORY
                                                                          682 of BAKER
                                                                                 1739
19620 SW 5TH PLACE                    10201 S. MAIN STREET               10201 S. MAIN STREET
DUNNELLON, FL 34431                   HOUSTON, TX 77025                  HOUSTON, TX 77025




GREGORY BAUGH                         GREGORY BOTTOMS                    GREGORY BRYANT
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




GREGORY BURDA                         GREGORY BURNETT                    GREGORY CASTRO
4030 AVE J                            10201 S. MAIN STREET               10201 S. MAIN STREET
SANTA FE, TX 77510                    HOUSTON, TX 77025                  HOUSTON, TX 77025




GREGORY CICOGNA                       GREGORY COMMERCIAL                 GREGORY DAVIS
10201 S. MAIN STREET                  P.O. BOX 7084                      10201 S. MAIN STREET
HOUSTON, TX 77025                     DALLAS, TX 75209                   HOUSTON, TX 77025




GREGORY DAWKINS                       GREGORY FANNING                    GREGORY FELCAN
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




GREGORY FINN                          GREGORY FINN                       GREGORY FITZGERALD
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




GREGORY FORD                          GREGORY FOX                        GREGORY FREEMONT
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




GREGORY FX DALY COLLECTOR OF          GREGORY GROW                       GREGORY GUERRIER
REVENUE                               3101 DIEHL ROAD                    10201 S. MAIN STREET
PO BOX 66966                          CINCINNATI, OH 45211               HOUSTON, TX 77025
SAINT LOUIS, MO 63166




GREGORY HALE                          GREGORY HAMMER                     GREGORY HAYNES
10201 S. MAIN STREET                  1055 KILONIONI LOOP                10201 S. MAIN STREET
HOUSTON, TX 77025                     HONOLULU, HI 96816                 HOUSTON, TX 77025




GREGORY HICKEY                        GREGORY HOFFMAN                    GREGORY JOHNSON
10201 S. MAIN STREET                  2521 E WARWICK AVE                 10201 S. MAIN STREET
HOUSTON, TX 77025                     FRESNO, CA 93720                   HOUSTON, TX 77025
GREGORY JONES          Case 18-12241-CSS    Doc
                                      GREGORY    26
                                              JONES      Filed 10/05/18   PageGREGORY
                                                                               683 of JONES
                                                                                      1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




GREGORY KING                          GREGORY KITTNER                         GREGORY LABORDE
575 NW 139TR                          5594 SARAHS OAK DR                      10201 S. MAIN STREET
MIAMI, FL 33168                       CINCINNATI, OH 45248                    HOUSTON, TX 77025




GREGORY LOGAN                         GREGORY MACHNICZ                        GREGORY MARTIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




GREGORY MCGRATH                       GREGORY MCGUIRE                         GREGORY MCLAURIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




GREGORY MODESKI                       GREGORY ODONOGHUE                       GREGORY OSBORNE
10201 S. MAIN STREET                  6600 BRENTWOOD LANE                     10201 S. MAIN STREET
HOUSTON, TX 77025                     THE COLONY, TX 75056                    HOUSTON, TX 77025




GREGORY PATTERSON                     GREGORY PELEKOUDAS                      GREGORY PERKINS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




GREGORY PEST CONTROL                  GREGORY POOLE EQUIPMENT COMPANY         GREGORY POOLE LIFT SYSTEMS
P.O. BOX 6713                         PROCESSING CENTER                       4807 BERYL ROAD
GREENVILLE, SC 29606                  PO BOX 60457                            RALEIGH, NC 27606
                                      CHARLOTTE, NC 28260




GREGORY RANN                          GREGORY RUSSO                           GREGORY SCHUMM
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




GREGORY SHAW                          GREGORY SHORTT                          GREGORY SHROUT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




GREGORY SOYKA                         GREGORY STARLING                        GREGORY STRICKLAND
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
GREGORY TAYLOR            Case 18-12241-CSS    Doc
                                         GREGORY    26 Filed 10/05/18
                                                 THOMAS                  PageGREGORY
                                                                              684 of TRCKA
                                                                                     1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                DISTRICT MANAGER-SAN ANTONIO
HOUSTON, TX 77025                        HOUSTON, TX 77025                   148 HANGING MOSS
                                                                             CIBOLA, TX 78108




GREGORY TUROFF                           GREGORY W CROWE                     GREGORY WEBB
10201 S. MAIN STREET                     599 LEGACY DRIVE 213                10201 S. MAIN STREET
HOUSTON, TX 77025                        PLANO, TX 75023                     HOUSTON, TX 77025




GREGORY WEISS                            GREGORY WOODSON                     GREGORY WRIGHT
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




GREGRE LUKE                              GRENAX BROADCASTING II LLC          GRESHAM SANITARY SERVICE INC.
10201 S. MAIN STREET                     PO BOX 29852                        2131 NW BIRDSDALE AVE
HOUSTON, TX 77025                        PHOENIX, AZ 85038                   GRESHAM, OR 97030




GRESHAM SANITARY SERVICE INC.            GRETCHEN BROWN                      GRETCHEN HEIER
P.O. BOX 1560                            522 S PARK ST                       10201 S. MAIN STREET
GRESHAM, OR 97030-0515                   SHELBURN, IN 47879                  HOUSTON, TX 77025




GRETEL JANE THORPE                       GRETEL THORPE                       GRETNA REALTY ASSOCIATES LLC
547 FLATT TER                            10201 S. MAIN STREET                324 DATURA STREET, SUITE 102
CINCINNATI, OH 45232                     HOUSTON, TX 77025                   WEST PALM BEACH, FL 33401




GRETNA REALTY ASSOCIATES LLC             GREVIN JIMENEZ GAMBOA               GREYPOINT INC
C/O AMERICAN COMMERCIAL REALTY CORP      10201 S. MAIN STREET                DBA CONVOY
300 AVE OF THE CHAMPIONS STE 140         HOUSTON, TX 77025                   1700 7TH AVE STE 116 287
PALM BEACH GARDENS, FL 33418                                                 SEATTLE, WA 98101




GREYPOINT INC                            GREYSTONE POWER CORP                GREYSTONE POWER CORP
DBA CONVOY                               4040 BANKHEAD HWY                   P.O. BOX 6071
DEPT LA 24652                            DOUGLASVILLE, GA 30134              DOUGLASVILLE, GA 30154-6071
PASADENA, CA 91185-4652




GRI VILLAGE LP                           GRI WEST WOODS LLC                  GRI WEST WOODS LLC
C/O GART PROPERTIES LLC                  C/O FIRST WASHINGTON REALTY         PO BOX 664001
299 MILWAUKEE STREET, SUITE 500          4350 EAST WEST HWY, SUITE 400       DALLAS, TX 75266-4001
DENVER, CO 80206                         BETHESDA, MD 20814




GRID PROPERTIES, INC.                    GRIFFIN DAILY NEWS                  GRIFFIN ELDRED
2309 FREDERICK DOUGLASS BOULEVARD        CO PAXTON MEDIA GROUP               10201 S. MAIN STREET
NEW YORK, NY 10027                       PO BOX 1400                         HOUSTON, TX 77025
                                         PADUCAH, KY 42002
GRIFFIN JONTRY             Case 18-12241-CSS
                                          GRIFFIN Doc   26
                                                  PHILLIPS     Filed 10/05/18   PageGRIPLOCK
                                                                                     685 of SYSTEMS,
                                                                                             1739 LLC
445 HALLANDALE DR                           10201 S. MAIN STREET                    410 PALM AVE. LOFT A-18
FARLAWN, OH 44333                           HOUSTON, TX 77025                       CARPENTERIA, CA 93013




GRIPPA FAMILY TRUST                         GRITANIUM LLC                           GROCE PROPERTIES LLC
3407 WHISPERING GLEN COURT                  131 SUNSET AVE STE E353                 ATTN: JAMES O. GROCE
SIMI VALLEY, CA 93065                       SUISUN, CA 94585                        10 E FOREST RD
                                                                                    ASHEVILLE, NC 28803




GROCE PROPERTIES, LLC                       GRODSKY CAPORRINO & KAUFMAN LLP         GROOM & CAVE LLP
10 EAST FOREST ROAD                         300 JERICHO QUADRANGLE                  1570 THE ALAMEDA STE 100
ATTN: JAMES O. GROCE                        JERICHO, NY 11753                       SAN JOSE, CA 95126
ASHEVILLE, NC 28803-2910




GROOM & CAVE, LLP                           GROOT INC - DIST 3107                   GROOT INC - DIST 3107
ATTN:CHRISTOPER M. CAVE, ESQ.               2500 LANDMEIER RD                       P.O. BOX 660177
1570 THE ALAMEDA, SUITE 100                 ELK GROVE VILLAGE, IL 60007-2627        DALLAS, TX 75266-0177
SAN JOSE, CA 95126




GROOT INDUSTRIES INC. - 1305                GROOT INDUSTRIES INC. - 1305            GROOT INDUSTRIES INC. - 92257
2500 LANDMEIER RD                           P.O. BOX 660177                         2500 LANDMEIER RD
ELK GROVE VILLAGE, IL 60007-2627            DALLAS, TX 75266-0177                   ELK GROVE VILLAGE, IL 60007-2627




GROOT INDUSTRIES INC. - 92257               GROOT INDUSTRIES INC. - 92317           GROOT INDUSTRIES INC. - 92317
P.O. BOX 660177                             2500 LANDMEIER RD                       P.O. BOX 660177
DALLAS, TX 75266-0177                       ELK GROVE VILLAGE, IL 60007-2627        DALLAS, TX 75266-0177




GROSSBERG YOCHELSON FOX & BEYDA, LLP        GROSVENOR AMERICAS                      GROTON UTILITIES
ATTN: RICHARD F. LEVIN, ESQ.                ATTN: PRESIDENT                         295 MERIDIAN ST
2000 L STREET NW, SUITE 675                 ONE CALIFORNIA STREET, SUITE 2500       GROTON, CT 06340
WASHINGTON, DC 20036                        SAN FRANCISCO, CA 94111




GROTON                                      GROUND CONTROL LAWN SERVICE             GROUND CREW SERVICE
ATTN: PROPERTY TAX DEPT.                    2603 QUEENS CT.                         PO BOX 1294
PO BOX 981061                               ANDERSON, IN 46013                      BROOKFIELD, WI 53008
BOSTON, MA 02298-1061




GROUNDS MAINTENANCE SERVICES LLC            GROUP 10 MANAGEMENT                     GROUP HEALTH COOPERATIVE
16982 W NATIONAL AVE                        ATTN: KAREN SANDERS                     PO BOX 740016
NEW BERLIN, WI 53151                        29200 NORTHWESTERN HIGHWAY, SUITE 450   LOS ANGELES, CA 90074-0016
                                            SOUTHFIELD, MI 48034




GROUP HEALTH OPTIONS INC.                   GROUP W PRODUCTIONS                     GROUPON INC
PO BOX 745899                               PO BOX 597                              ATTN: ACCOUNTS RECEIVABLE
LOS ANGELES, CA 90074-5899                  WEATHERFORD, TX 76086                   600 W CHICAGO AVE STE 620
                                                                                    CHICAGO, IL 60654
GROVE HILL LTD           Case 18-12241-CSS    DocLTD.
                                        GROVE HILL, 26      Filed 10/05/18   PageGROVER
                                                                                  686 ofMINCY
                                                                                         1739
PETER RICHARDS                           355 E. BASSE ROAD, SUITE 101            10201 S. MAIN STREET
355 E BASSE RD STE 101                   SAN ANTONIO, TX 78209                   HOUSTON, TX 77025
SAN ANTONIO, TX 78209




GROVER PRINTING CO                       GRUBER HURST JOHANSEN HAIL SHANK        GS BRENTWOOD LLC
1616 MCGOWEN                             1445 ROSS AVE STE 2500                  C/O DDR CORP.
HOUSTON, TX 77004                        DALLAS, TX 75202                        3300 ENTERPRISE PARKWAY
                                                                                 ATTN: EXECUTIVE VICE PRESIDENT -
                                                                                 LEASING
                                                                                 BEACHWOOD, OH 44122


GS BRENTWOOD LLC                         GS BRENTWOOD LLC                        GS CENTER LLC
C/O DDR CORP.                            DEPT 378332 20191 00063079              1450 NE MIAMI GARDENS DRIVE, SUITE 101
3300 ENTERPRISE PARKWAY                  PO BOX 535507                           ATTN: MATTHEW LUNNEY
ATTN: GENERAL COUNSEL                    ATLANTA, GA 30353-5507                  HOLLYWOOD, FL 33020
BEACHWOOD, OH 44122



GS CENTER LLC                            GS CENTER LLC                           GS CENTER LLC
ATTN: MATTHEW LUNNEY                     C/O TCII PROPERTY MNGT INC              PO BOX 865014
1450 NE MIAMI GARDENS DRIVE, SUITE 101   2450 NE MIAMI GARDENS DR 101            ORLANDO, FL 32886-5014
HOLLYWOOD, FL 33020                      MIAMI, FL 33180




GS HOLDCO LLC                            GSJ REAL ESTATE LLC                     GSJ REAL ESTATE
DBA GLOBAL SOFTWARE LLC                  23110 US HWY 6                          23110 US HWY 6, BOX 67
3301 BENSON DR STE 201                   BOX 67                                  KEYSTONE, CO 80435
RALEIGH, NC 27609                        KEYSTONE, CO 80435




GSL DISTRIBUTORS LLC                     GSNCDA                                  GSS LANSING LLC
113 SPRINGPOINT DR.                      2377 GOLD MEADOW WAY STE 100            1555 NETTLE CREEK ROAD
COLUMBIA, SC 29229                       GOLD RIVER, CA 95670                    ATTN: GARY SNOOK
                                                                                 CARBONDALE, CO 81623




GSS LANSING LLC                          GSS LANSING LLC                         GSS LANSING LLC
ATTN: GARY SNOOK                         PO BOX 3377                             PO BOX 66
1555 NETTLE CREEK ROAD                   BASALT, CO 81621                        CARBONDALE, CO 81623
CARBONDALE, CO 81623




GSW GREENLAWN LLC                        GT POWER SYSTEMS INC                    GTP STAGE PARTNERS
C/O LATIPAC PROPERTY MANAGEMENT INC.     PO BOX 402                              205 LAKE VALLEY DR.
1703 W. 5TH STREET, SUITE 850            56 INDUSTRIAL RD                        ATTN: ROBERT L. WENNER
ATTN: TODD WALLACE                       WAINSCOTT, NY 11975                     MAUMELLE, AR 72113
AUSTIN, TX 78703



GTP STAGE PARTNERS                       GTR INC                                 GTT COMMUNICATIONS INC
C/O ROBERT L WENNER                      PO BOX 1884                             PO BOX 842630
205 LAKE VALLEY DR                       WEATHERFORD, TX 76087                   DALLAS, TX 75284-2630
MAUMELLE, AR 72113




GTT                                      GTT                                     GUADALUPE COUNTY TAX OFFICE
3379 PEACHTREE ROAD NE                   DEPT 111023                             TAX ASSESSOR-COLLECTOR
SUITE 925                                P.O. BOX 150421                         307 W COURT ST STE 102
ATLANTA, GA 30326                        HARTFORD, CT 06115-0421                 SEGUIN, TX 78155-5745
GUADALUPE              Case   18-12241-CSS    DocBARRETO
                                        GUADALVER 26 Filed 10/05/18    PageGUARANTEED
                                                                            687 of 1739
                                                                                      RESULTS MARKETING
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET               DBA ELITE REWARDS
307 W COURT ST STE 102                  HOUSTON, TX 77025                  6339 MEMORIAL HWY
SEGUIN, TX 78155-5745                                                      TAMPA, FL 33615




GUARANTY BROADCASTING OF BATON          GUARD MASTER INC                   GUARD PUBLISHING COMPANY
ROUGE LLC                               110 BI COUNTY BLVD SUITE 101       3500 CHAD DR
WTGE-FM                                 FARMINGDALE, NY 11735              EUGENE, OR 97408
929 GOVERNMENT ST
BATON ROUGE, LA 70802



GUARD PUBLISHING COMPANY                GUARDIAN 002323                    GUARDIAN ALARM COMPANY
RG MEDIA COMPANY                        1160 GOODALE BLVD                  75 REMITTANCE DR DEPT 1376
3500 CHAD DR                            COLUMBUS, OH 43212                 CHICAGO, IL 60675-1376
EUGENE, OR 97408




GUARDIAN SECURITY SYSTEMS INC           GUARDIAN WATER & POWER             GUARDMASTER INC
1743 FIRST AVE.                         1160 GOODALE BLVD.                 110 BI COUNTY BLVD 101
SOUTH SEATTLE, WA 98134                 COLUMBUS, OH 43212                 FARMINGDALE, NY 11735




GUERRA, JUAN                            GUEVARA, EVEL                      GUEVARA, VANESSA
691 NW 122ND CT                         6350 W 27TH LN APT 102             12 DURHAMOC LN
MIAMI, FLORIDA 33182                    HIALEAH, FLORIDA 33016-4321        NORTH BABYLON, NY 11703-3008




GUHNER BLASS                            GUIDO CARDOZO                      GUILD CAPITAL LLC
8315 BIG ROCK RD                        10201 S. MAIN STREET               DBA LOFT GROUP LLC
SANTEE, CA 92071                        HOUSTON, TX 77025                  350 N CLARK STE 500
                                                                           CHICAGO, IL 60654




GUILDERLAND WATER DISTRICT              GUILDERLAND WATER DISTRICT         GUILFORD COUNTY TAX DEPT
6011 STATE FARM ROAD                    P.O. BOX 339                       P.O. BOX 71072
GUILDERLAND, NY 12084                   GUILDERLAND, NY 12084-0339         CHARLOTTE, NC 28272-1072




GUILFORD TOWN TAX COLLECTOR             GUILLERMO CAMPOS                   GUILLERMO CASTILLA
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET               1633 HERNANDO DR.
31 PARK ST                              HOUSTON, TX 77025                  TALLAHASSEE, FL 32304
GUILFORD, CT 06437




GUILLERMO GONZALEZ                      GUILLERMO GUZMAN                   GUILLERMO LOPEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




GUILLERMO MARIN                         GUILLERMO MENDEZ                   GUILLERMO TEJADATEJADA
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025
GULF BREEZE RETAIL     Case        18-12241-CSS     Doc RETAIL
                                             GULF BREEZE 26 Filed 10/05/18         PageGULF
                                                                                        688CALIFORNIA
                                                                                            of 1739 BROADCAST CO
C/O VENTURE POINT PROPERTY                   C/O VENTURE POINT PROPERTY                31276 DUNHAM WAY
4685 MACARTHUR CT STE 375                    4685 MACARTHUR CT, SUITE 375              THOUSAND PALMS, CA 92276
NEWPORT BEACH, CA 92660                      NEWPORT BEACH, CA 92660




GULF CALIFORNIA BROADCAST COMPANY            GULF CALIFORNIA BROADCAST KCWQ-N          GULF CALIFORNIA BROADCAST
KCWQ                                         DIGITAL CHANNEL 2.3                       PO BOX 873808
31276 DUNHAM WAY                             PO BOX 873808                             KANSAS CITY, MO 64187-3808
THOUSAND PALMS, CA 92276                     KANSAS CITY, MO 64187-3808




GULF COAST FIRE & SECURITY INC               GULF COAST TOWN CENTER CMBS LLC           GULF POWER CO
317 SE 31ST STREET                           PO BOX 74795                              ONE ENERGY PLACE
CAPE CORAL, FL 33904                         CLEVELAND, OH 44191-4795                  PENSACOLA, FL 32520-0714




GULF POWER                                   GULF POWER                                GULF SHORES UTILITIES
1 ENERGY PLACE                               PO BOX 830660                             1629 E 1ST ST
BIN 31                                       BIRMINGHAM, AL 35283-0660                 GULF SHORES, AL 36542
PENSACOLA, FL 32520




GULF SHORES UTILITIES                        GULF STATES FIRE PROTECTION INC           GULF WAREHOUSE ASSOCIATES LTD.
P.O. BOX 1229                                13727 FM 529                              1001 W LOOP SOUTH STE 650
GULF SHORES, AL 36547-1229                   HOUSTON, TX 77041                         HOUSTON, TX 77027




GULF WAREHOUSE ASSOCIATES LTD.               GULFSTREAM SPRING HILL LLC                GULNARA DELCORE
C/O DAVID GRENADER                           P.O. BOX 880747                           10201 S. MAIN STREET
4708 CAROLINE                                BOCA RATON, FL 33488-0747                 HOUSTON, TX 77025
HOUSTON, TX 77004




GUNDELL, JEFFREY                             GUNNAR GIROD                              GUNNAR HUDDLESTON
C/O THE WOLF LAW FIRM LLC                    10201 S. MAIN STREET                      10201 S. MAIN STREET
ATTN: MARK FISHER                            HOUSTON, TX 77025                         HOUSTON, TX 77025
1520 U.S. HIGHWAY 130, SUITE 101
NORTH BRUNSWICK, NJ 08902



GUNNIP & COMPANY LLP                         GURADIAN PROTECTION SERVICES INC          GURDIP PRINCE
2751 CENTERVILLE RD SUITE 300                174 THORN HILL RD                         10201 S. MAIN STREET
WILMINGTON, DE 19808                         WARRENDALE, PA 15086                      HOUSTON, TX 77025




GURJIT TAKHER                                GURNEE INVESTMENT PARTNERS LLC            GURNEE LM PROPERTIES, LLC
611 N. TOWNSHIP ROAD                         2211 N ELSTON AVE STE 304                 C/O LENETTE REALTY & INVESTMENT CO
YUBA CITY, CA 95993                          CHICAGO, IL 60614                         ATTN: JERRY BYNUM
                                                                                       1401 S BREMTWPPD BLVD. STE 520
                                                                                       ST LOUIS, MO 63144



GURNEE LM PROPERTIES, LLC                    GURNEE LM PROPERTIES, LLC                 GURNEE POLICE DEPT
C/O LENETTE REALTY & INVESTMENT CO.          C/O LENETTE REALTY & INVESTMENT CO.       100 N OPLAINE RD
1401 SOUTH BRENTWOOD BOULEVARD,              ATTN: JERRY BYNUM                         GURNEE, IL 60031-2630
SUITE 520                                    1401 S BREMTWPPD BLVD. STE 520
ATTN: JERRY BYNUM                            ST LOUIS, MO 63144
ST. LOUIS, MO 63144
GURNEET BRAR            Case 18-12241-CSS    DocTALENT
                                       GUSHCLOUD 26 Filed   10/05/18
                                                       AGENCY INC         PageGUSTAVO
                                                                               689 of ALVARADO
                                                                                      1739
10201 S. MAIN STREET                   555 W 5TH ST FL 35                     10201 S. MAIN STREET
HOUSTON, TX 77025                      LOS ANGELES, CA 90013                  HOUSTON, TX 77025




GUSTAVO COLLAZO                        GUSTAVO COLLAZO                        GUSTAVO FLORES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   2201E 101ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                      LOS ANGELES, CA 90002




GUSTAVO JOHNSON                        GUSTAVO MONTOYA                        GUSTAVO MORALES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




GUSTAVO SALAZAR                        GUSTINE WASHINGTON ASSOCIATES          GUSTINE WASHINGTON ASSOCIATES, LTD
2713 DAKOTA CIRCLE                     C/O ECHO REAL ESTATE SERVICES CO       C/O ECHO REAL ESTATE SERVICES
SEAGOVILLE, TX 75159                   560 EPSILON DR                         COMPANY
                                       PITTSBURGH, PA 15238                   560 EPSILON DRIVE
                                                                              PITTSBURGH, PA 15238



GUY ABBATE                             GUY DERIVAL                            GUY JONES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   1699 ROMANO PARK LN. APT 325
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77090




GUY L. BECK                            GUY MATTHEW NORRIS                     GUY RONY ETIENNE
1531 ASHWOOD WAY                       81 S HIGHVIEW AVE                      10201 S. MAIN STREET
LAWRENCEVILLE, GA 30043                LECANTO, FL 34461                      HOUSTON, TX 77025




GUY SALADINO                           GUY THOMPSON                           GUY WALL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




GUY WALL                               GUY WALL                               GUYGUY MPEYE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




GW PARK RIDGE LLC                      GW PARK RIDGE LLC                      GW PARK RIDGE, LLC
2211 N ELSTON AVE STE 304              ATTN: MITCH GOLTZ                      2211 N. ELSTON AVENUE, SUITE 304
CHICAGO, IL 60614                      2211 N ELSTON AVE STE 304              ATTN: MITCH GOLTZ
                                       CHICAGO, IL 60614                      CHICAGO, IL 60614




GW PARK RIDGE, LLC                     GW PARK RIDGE, LLC                     GW PROPERTIES LLC
ATTN: MITCH GOLTZ                      MONTHICHA PRATHAMMARA                  ATTN: MICHAEL J WISDOM
2211 N ELSTON AVE STE 304              2211 N. ELSTON AVENUE, SUITE 304       405 SW COMMERCIAL ST
CHICAGO, IL 60614                      CHICAGO, IL 60614                      PEORIA, IL 61602
GW PROPERTY GROUP LLCCaseSERIES18-12241-CSS
                                18               Doc 26
                                         GW PROPERTY   GROUPFiled
                                                              LLC 10/05/18   PageGWEN
                                                                                  690ANITA
                                                                                      of 1739
                                                                                           WEST DBA WHITE WEST
2211 N ELSTON AVE STE 304                2211 N ELSTON AVE STE 304               TRUCKING
CHICAGO, IL 60614                        CHICAGO, IL 60614                       4405 BEN FRANKLIN LN
                                                                                 VIRGINIA BEACH, VA 23462




GWENDOLY NOSSAMAN                       GWENDOLYN CARLISLE                       GWENDOLYN ROGERS
3536 QUIVAS ST                          10201 S. MAIN STREET                     10201 S. MAIN STREET
DENVER, CO 80211                        HOUSTON, TX 77025                        HOUSTON, TX 77025




GWENLYN LEE                             GWINNETT CO DEPT WTR RESOURCES           GWINNETT CO DEPT WTR RESOURCES
10201 S. MAIN STREET                    684 WINDER HIGHWAY                       P.O. BOX 530575
HOUSTON, TX 77025                       LAWRENCEVILLE, GA 30045                  ATLANTA, GA 30353-0575




GWINNETT COUNTY DEPT WTR RSRS           GWINNETT COUNTY DEPT WTR RSRS            GWINNETT COUNTY LICENSE & REV
684 WINDER HIGHWAY                      P.O. BOX 71225                           PO BOX 1045
LAWRENCEVILLE, GA 30045                 CHARLOTTE, NC 28272-1225                 LAWRENCEVILLE, GA 30046




GWINNETT COUNTY TAX COMMISSIONER        GWINNETT COUNTY TAX COMMISSIONER         GWYNDOWS LLC
ATTN: PROPERTY TAX DEPT.                P.O. BOX 372                             2900 W ANDERSON LN C-200-350
P.O. BOX 372                            LAWRENCEVILLE, GA 30046-0372             AUSTIN, TX 78757
LAWRENCEVILLE, GA 30046-0372




GXS INC                                 GYASI HUGHES                             GYASI RICHARD
C/O JPMORGAN LOCKBOX                    10201 S. MAIN STREET                     10201 S. MAIN STREET
29144 NETWORK PLACE                     HOUSTON, TX 77025                        HOUSTON, TX 77025
CHICAGO, IL 60673-1290




GYM SOURCE USA LLC                      GYM SOURCE                               H BETTI INDUSTRIES INC
GYM SOURCE                              DEPT 106042                              DBA IMPERIAL INTERNATIONAL
40 EAST 52ND ST                         PO BOX 150468                            303 PATERSON PLANK RD
NEW YORK, NY 10022                      HARTFORD, CT 06115-0468                  CARLSTADT, NJ 07072




H&C INVESTMENTS LLC                     H&G PROPERTIES MANAGEMENT LLC            H&G PROPERTIES MGMT LLC
1660 N TYLER                            1626 GUNBARREL ROAD                      1626 GUNBARREL RD
WICHITA, KS 67212                       CHATTANOOGA, TN 37421                    CHATTANOOGA, TN 37421




H&H FURNITURE DELIVERY                  H&S INVESTMENTS GROUP INC                H. DAWSON
317 WINNERS CIR                         3952 PINEWOOD LANE                       10201 S. MAIN STREET
JACKSONVILLE, NC 28546                  WESTON, FL 33331                         HOUSTON, TX 77025




H.B. PORTER                             H.H. GREGG CENTER FOR PROFESSIONAL       H/S AUGUSTINE LP
10201 S. MAIN STREET                    SELLING                                  HULL STOREY GIBSON CO LLC
HOUSTON, TX 77025                       MICHELE BARTLETT/SALES CENTER            PO BOX 204227
                                        WB 307, BALL STATE UNIVERSITY            AUGUSTA, GA 30917-4227
                                        MUNICE, IN 47306
H/S AUGUSTINE, LP     Case   18-12241-CSS     Doc 26LP Filed 10/05/18
                                       H/S AUGUSTINE,                        PageH/S
                                                                                  691NEWofBERN
                                                                                           1739LLC
1190 INTERSTATE PARKWAY                ATTN: JIM HULL                             C/O HULL STOREY RETAIL GROUP LLC
ATTN: JIM HULL                         1190 INTERSTATE PARKWAY                    PO BOX 30917
AUGUSTA, GA 30909                      AUGUSTA, GA 30909                          AUGUSTA, GA 30917




H2O TO GO INC.                         H2P TRANSPORTATION                         H3 BUFFALO CROSSING LP
5821 WARD CT                           2119 DAWN RIDGE                            PO BOX 204434
VIRGINIA BEACH, VA 23455               MONROE, NC 28110                           DALLAS, TX 75320




HAB - EIT                              HAB PROPERTIES LLC                         HABASH COMMERCIAL REALTY, LLC
BERKHEIMER TAX ADMINISTRATOR           333 SHERWEE DR                             MITRI S. HABASH, CCIM, MCIP
PO BOX 25132                           RALEIGH, NC 27603                          1320 PHILADELPHIA PIKE, SUITE 300
LEHIGH VALLEY, PA 18002-5132                                                      WILMINGTON, DE 19809




HAB-BPT                                HABITAT FOR HUMANITY IN NASSAU             HACKENSACK UE LLC
PO BOX 21810                           COUNTY NEW YORK                            210 ROUTE 4 EAST
LEHIGH VALLEY, PA 18002                1400 OLD NORTHERN BLVD                     ATTN:LEGAL DEPARTMENT
                                       ROSLYN, NY 11576                           PARAMUS, NJ 07652




HACKENSACK UE LLC                      HACKENSACK UE LLC                          HACKENSACK UE LLC.
ATTN:LEGAL DEPARTMENT                  C/O URBAN EDGE PROPERTIES                  210 ROUTE 4 EAST
210 ROUTE 4 EAST                       PO BOX 645765                              PARAMUS, NJ 07652
PARAMUS, NJ 07652                      PITTSBURGH, PA 15264




HACKENSACK UE LLC.                     HACKETTSTOWN MUA                           HACKETTSTOWN MUA
C/O URBAN EDGE PROPERTIES              424 HURLEY DRIVE                           P.O. BOX 450
PO BOX 645765                          HACKETTSTOWN, NJ 07840                     HACKETTSTOWN, NJ 07840-0450
PITTSBURGH, PA 15264-5255




HACKNEYS CLASSIC HEATING & COOLING     HADLEY                                     HAFFER ENTERPRISES LLC
PO BOX 72395                           ATTN: PROPERTY TAX DEPT.                   119 WINTER LAKE BLVD
ROSELLE, IL 60172                      100 MIDDLE ST.                             FENTON, MO 63026
                                       HADLEY, MA 01035




HAFFER ENTERPRISES LLC                 HAFIZ IBRAHIM                              HAFIZUR RASHID
119 WINTER LAKE BOULEVARD              10201 S. MAIN STREET                       10201 S. MAIN STREET
FENTON, MO 63026                       HOUSTON, TX 77025                          HOUSTON, TX 77025




HAGADONE CORPORATION                   HAGAN & VIDOVIC, LLP                       HAILEA ARAGON
DBA COEUR DALENE PRESS                 ATTN: R.K. HAGAN                           1835 BURTON DR APT 227
201 N 2ND ST                           200 EAST RANDOLPH DRIVE, 43RD FLOOR        AUSTIN, TX 78741
COEUR DALENE, ID 83814                 CHICAGO, IL 60601




HAILEE PAPE                            HAILEY ALLEN                               HAILEY GOODIN
10201 S. MAIN STREET                   1056 SOUTH FAIRFAX AVE                     10201 S. MAIN STREET
HOUSTON, TX 77025                      LOS ANGELES, CA 90019                      HOUSTON, TX 77025
HAILEY REALTY COMPANY Case         18-12241-CSS     Doc 26
                                             HAILEY REALTY    Filed 10/05/18
                                                           COMPANY                 PageHAILEY
                                                                                        692 of  1739
                                                                                              SERRANO
3715 NORTHSIDE PKWY                           900 CIRCLE 75 PARKWAY, SUITE 525         10201 S. MAIN STREET
400 NORTHCREEK SUITE 350                      ATTN: LARRY HAILEY                       HOUSTON, TX 77025
ATLANTA, GA 30327                             ATLANTA, GA 20339




HAKEEM TATE                                   HAL SERIES ACQUISITION LLC 1854          HALBACH DIETZ ARCHITECTS
10201 S. MAIN STREET                          MORROW                                   6913 CAMP BOWLE BLVD STE 149
HOUSTON, TX 77025                             C/O HARRY A LANGER AND ASSOC             FORT WORTH, TX 76116
                                              3767 N RACINE AVE
                                              CHICAGO, IL 60613



HALCYON PLACE, LP                             HALCYON PLACE, LP                        HALE TRAILER BRAKE & WHEEL INC
3650 MT. DIABLO BLVD, SUITE #103              3650 MT. DIABLO BLVD, SUITE 103          PO BOX 1400
LAFAYETTE, CA 94549                           LAFAYETTE, CA 94549                      VOORHEES, NJ 08043




HALEY ADCOCK                                  HALEY BARROW                             HALEY BROWN
                                              10201 S. MAIN STREET                     10201 S. MAIN STREET
                                              HOUSTON, TX 77025                        HOUSTON, TX 77025




HALEY HARRIS                                  HALEY HOSKINS                            HALEY MONGEON
10201 S. MAIN STREET                          2121 MIDLANE APT 275                     10201 S. MAIN STREET
HOUSTON, TX 77025                             HOUSTON, TX 77027                        HOUSTON, TX 77025




HALEY NORMAN                                  HALEY PALMER                             HALEY QUINN
10201 S. MAIN STREET                          10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                             HOUSTON, TX 77025                        HOUSTON, TX 77025




HALEY ROSENBERG                               HALEY SACCOL                             HALEY SMITH
10201 S. MAIN STREET                          10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                             HOUSTON, TX 77025                        HOUSTON, TX 77025




HALEY THOMAS                                  HALIE JONES                              HALIFAX COUNTY TAX COLLECTOR
10201 S. MAIN STREET                          6658 E COUNTY RD 1900 N                  PO BOX 68
HOUSTON, TX 77025                             BROWNSBURG, IN 46112                     HALIFAX, NC 27839-0068




HALIFAX MEDIA GROUP                           HALIFAX MEDIA HOLDINGS LLC DBA THE       HALIFAX MEDIA HOLDINGS LLC DBA TIMES
NORTHWEST FLORIDA                             GAINESVILLE SUN                          NEWS
PO BOX 102801                                 2700 SW 13TH ST                          1717 FOUR SEASONS BLVD
ATLANTA, GA 30368-2801                        GAINESVILLE, FL 32608-2015               PO BOX 490
                                                                                       HENDERSONVILLE, NC 28793



HALIFAX MEDIA HOLDINGS LLC                    HALIFAX MEDIA HOLDINGS LLC               HALIFAX
SARASOTA HERALD TRIBUNE                       WORCESTER TELEGRAM AND GAZETTE           ATTN: PROPERTY TAX DEPT.
PO BOX 911364                                 PO BOX 3363                              PO BOX 68
ORLANDO, FL 32891-1364                        BOSTON, MA 02241-3363                    HALIFAX, NC 27839-0068
HALIFU ARAFILES         Case 18-12241-CSS     DocSMITH
                                       HALL BOOTH 26 PCFiled 10/05/18   PageHALL
                                                                             693COMMUNICATIONS
                                                                                 of 1739       INC PROVIDENCE
1363 KINGFISHER WAY 3                   191 PEACHTREE ST NE STE 2900        75 OXFORD ST STE 402
SUNNYVALE, CA 94087                     ATLANTA, GA 30303-1775              PROVIDENCE, RI 02905




HALL COMMUNICATIONS INC                 HALL COMMUNICATIONS INC             HALL COMMUNICATIONS INC
70 JOY DRIVE                            75 OXFORD ST STE 402                WCTK-FM
SOUTH BURLINGTON, VT 05403              PROVIDENCE, RI 02905                75 OXFORD S STE 402
                                                                            PROVIDENCE, RI 02905




HALL COUNTY TAX COMMISSIONER            HALL ELECTRIC SERVICES INC          HALL ESTILL HARDWICK GABLE GOLDEN &
P.O. BOX 1579                           PO BOX 292813                       NELSON
GAINESVILLE, GA 30503                   LEWISVILLE, TX 75029                320 S BOSTON AVE STE 200
                                                                            TULSA, OK 74103




HALL                                    HALLIE BARNETT                      HALLIE WEBSTER
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                21041 NE 5 CT
P O BOX 1579                            HOUSTON, TX 77025                   MIAMI, FL 33179
GAINESVILLE, GA 30503




HALLMAN, BRIAN                          HALLSDALE POWELL UTILITY DIST       HALLSDALE POWELL UTILITY DIST
5240 N. BERNAL AVE                      3745 CUNNINGHAM RD                  P.O. BOX 306091
FRESNO, CA 93722-6105                   KNOXVILLE, TN 37918                 NASHVILLLE, TN 37230-6000




HALLSDALE-POWELL UTILITY DISTRICT       HALOGEN SOFTWARE INC                HAM DOWLEN, LLC
P.O. BOX 306091                         PO BOX 66512                        C/O FERTITTA REALTY INC.
NASHVILLE, TN 37230-6000                CHICAGO, IL 60666                   P.O. BOX 12400
                                                                            BEAUMONT, TX 77726




HAM DOWLEN, LLC                         HAMBLEN COUNTY TRUSTEE              HAMBLEN
PO BOX 12400                            PO BOX 423                          ATTN: PROPERTY TAX DEPT.
BEAUMONT, TX 77726                      MORRISTOWN, TN 37815-0423           PO BOX 423
                                                                            MORRISTOWN, TN 37815-0423




HAMCO REALTY WISCONSIN LLC              HAMDEN                              HAMED SYLLA
3825 CAMP BOWIE BLVD                    ATTN: PROPERTY TAX DEPT.            10201 S. MAIN STREET
FORT WORTH, TX 76107                    2750 DIXWELL AVE                    HOUSTON, TX 77025
                                        HAMDEN, CT 06518




HAMEROFF LAW GROUP P.C.                 HAMID MALIK                         HAMILTON KANE MARTIN ENTERPRISES
3443 E FT LOWELL RD STE 101             10201 S. MAIN STREET                INC.
TUCSON, AZ 85716-1617                   HOUSTON, TX 77025                   PO BOX 369
                                                                            WEST ISLIP, NY 11795




HAMILTON BRADLEY                        HAMILTON BROWN                      HAMILTON CHASE-BLUFFTON LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                PO BOX 468
HOUSTON, TX 77025                       HOUSTON, TX 77025                   SOLVANG, CA 93464
HAMILTON CHASE-CITADEL,Case
                        LLC   18-12241-CSS     Doc
                                        HAMILTON   26 TREASURERS
                                                 COUNTY Filed 10/05/18
                                                                  OFFICE PageHAMILTON
                                                                              694 of COUNTY
                                                                                      1739 TRUSTEE -TN
828 BALLARD CANYN ROAD                   HISTORIC COURTHOUSE                   ATTN: PROPERTY TAX DEPT.
SOLVANG, CA 93463                        33 N 9TH STREET STE 112               625 GEORGIA AVE 201
                                         NOBLESVILLE, IN 46060-2200            CHATTANOOGA, TN 37402




HAMILTON COUNTY TRUSTEE                  HAMILTON COUNTY                       HAMILTON INCOME TAX BUREAU
TAX COLLECTOR                            COUNTY CLERK                          345 HIGH STREET SUITE 410
P.O. BOX 11047                           625 GEORGIA AVE 201                   HAMILTON, OH 45011
CHATTANAOOGA, TN 37401-2047              CHATTANOOGA, TN 37402




HAMILTON LLOYD                           HAMILTON MANAGEMENT, INC.             HAMILTON PARTNERS, INC.
10201 S. MAIN STREET                     CHARLES J. KEENAN, III                PAUL SHERIDAN, PROPERTY MANAGER
HOUSTON, TX 77025                        700 EMERSON STREET                    900 PARK BOULEVARD, SUITE 201
                                         PALO ALTO, CA 94301                   ITASCA, IL 60143




HAMILTON PLACE VI LLC                    HAMILTON PLACE VI, LLC                HAMILTON PLACE VI, LLC
ATTN: KD MOORE                           1550 HIGHWAY 126                      ATTN: KD MOORE
1550 HIGHWAY 126                         ATTN: KD MOORE                        1550 HIGHWAY 126
BRISTOL, TN 37620                        BRISTOL, TN 37620                     BRISTOL, TN 37620




HAMILTON TC LLC DBA HAMILTON TOWN        HAMILTON TOWN CENTER LLC              HAMILTON TOWN CENTER LLC
CENTER                                   13901 TOWN CENTER BLVD SUITE 1000     867974 RELIABLE PARKWAY
867974 RELIABLE PARKWAY                  NOBLESVILLE, IN 46060                 CHICAGO, IL 60686-0079
CHICAGO, IL 60686-0079




HAMILTON TOWN CENTER LLC                 HAMILTON TRUCKING COMPANY             HAMILTON WEST DEVELOPMENT LTD CO
C/O SIMON                                535 GEMBLER RD 1112                   C/O CHASE PROPERTIES LTD
225 WEST WASHINGTON STREET               SAN ANTONIO, TX 78219                 PO BOX 92317
INDIANAPOLIS, IN 46204-3438                                                    CLEVELAND, OH 44193




HAMILTON, KANE, MARTIN ENTERPRISES,      HAMILTON, KANE, MARTIN ENTERPRISES,   HAMPTON CITY TREASURER
INC.                                     INC.                                  ATTN: PROPERTY TAX DEPT.
ATTN: ELAINA & JARED DELEW               P.O. BOX 369                          PO BOX 3800
P.O. BOX 369                             ATTN: ELAINA & JARED DELEW            HAMPTON, VA 23663-3800
WEST ISLIP, NY 11795                     WEST ISLIP, NY 11795



HAMPTON MERCURY INVESTMENT CO.           HAMPTON MERCURY INVESTMENT CO.        HAMPTON MERCURY INVESTMENT LIMITED
27750 STANSBURY RD STE 200               27750 STANSBURY RD., SUITE 200        PARTNERSHIP
FARMINGTON HILLS, MI 48334               FARMINGTON HILLS, MI 48334            27750 STANSBURY, SUITE 200
                                                                               FARMINGTON HILLS, MI 48334




HAMPTON MERCURY                          HAMPTON OWNERS LLC                    HAMPTON OWNERS LLC
27750 STANSBURY RD STE 200               C/O HSBC REALTY CREDIT CORP USA       PO BOX 512672
FARMINGTON HILLS, MI 48334               1 HSBC CENTER FL 27                   PHILADELPHIA, PA 19175-2672
                                         BUFFALO, NY 14203




HAMPTON ROADS COMMUNICATION              HAMPTON ROADS COMMUNICATIONS, INC.    HAMPTON ROADS UTILITY BILLING
TECHNOLOGIES                             PO BOX 7252                           P.O. BOX 71092
2023 HIGH STREET                         PORTSMOUTH, VA 23707-7252             CHARLOTTE, NC 28272-1092
PORTSMOUTH, VA 23704
                      Case 18-12241-CSS
HAMPTON SQUARE INVESTMENTS, LLC      HAMPTON Doc  26 INVESTMENTS,
                                               SQUARE  Filed 10/05/18
                                                                  LLC   PageHAMPTON
                                                                             695 of VILLAGE
                                                                                    1739 PLAZA, LLC
C/O COLDWELL BANKER COMMERCIAL       COLDWELL BANKER COMMERCIAL             C/O THE DESCO GROUP
4918 S. LOOP 289                     4918 S LOOP 289                        25 N BRENTWOOD BLVD
LUBBOCK, TX 79414                    LUBBOCK, TX 79414                      ST. LOUIS, MO 63105




HAMPTON VILLAGE PLAZA, LLC            HAMPTONS PONQUOGUE, LLC               HAMPTONS PONQUOGUE, LLC
C/O THE DESCO GROUP                   C/O KENILWORTH EQUITIES LTD           C/O KENILWORTH EQUITIES, LTD.
25 N. BRENTWOOD BOULEVARD             PO BOX 12532                          825 THIRD AVENUE, #1801
ST. LOUIS, MO 63105                   NEWARK, NJ 07101                      ATTN: DINA BEAN
                                                                            NEW YORK, NY 10022



HAMPTONS PONQUOGUE, LLC               HAMZA QURESHI                         HANAUER ASSOCIATES, LLC
C/O KENILWORTH EQUITIES, LTD.         10201 S. MAIN STREET                  C/O BRADLEY COMPANY
825 THIRD AVENUE, 1801                HOUSTON, TX 77025                     111 E. LUDWIG ROAD, SUITE 101
ATTN: DINA BEAN                                                             FORT WAYNE, IN 46825
NEW YORK, NY 10022



HANAUER ASSOCIATES, LLC               HANDLING SYSTEMS INC                  HANES CONVERTING COMPANY
C/O BRADLEY COMPANY                   2659 E MAGNOLIA ST                    L&P FINANCIAL SERVICES CO PO BOX 60984
PO BOX 8398                           PHOENIX, AZ 85034                     CHARLOTTE, NC 28260
FORT WAYNE, IN 46898-8398




HANES MALL BOULEVARD RETAIL           HANES MALL BOULEVARD RETAIL           HANGTIAN CAPITAL GROUP LLC
PARTNERS LLC                          PARTNERS LLC                          215 SUNNYSIDE BLVD
300 S STRATFORD RD STE C              PO BOX 602865                         PLAINVIEW, NY 11803
WINSTON SALEM, NC 27103               CHARLOTTE, NC 28260-2865




HANI MOUSSAWER                        HANIPALE HANIPALE                     HANK FORBES
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




HANK GRAMLICH                         HANNA BROST                           HANNA IDEBOEN
10201 S. MAIN STREET                  28783 RD L                            10201 S. MAIN STREET
HOUSTON, TX 77025                     BRUSH, CO 80723                       HOUSTON, TX 77025




HANNAH BYROM                          HANNAH CAMERON                        HANNAH COCKRELL
11435 SW 135TH AVE                    10201 S. MAIN STREET                  2261 ONEIDA ST
APT 118                               HOUSTON, TX 77025                     SALT LAKE CITY, UT 84109
TIGARD, OR 97223




HANNAH FISHER                         HANNAH HARTLEY                        HANNAH LLANOS
10201 S. MAIN STREET                  4134 VANDEMARK RD                     10201 S. MAIN STREET
HOUSTON, TX 77025                     LITCHFIELD, OH 44253                  HOUSTON, TX 77025




HANNAH STEELE                         HANNAH UDELL                          HANNAH ULLRICH
216 EAST COUNTY LINE RD               10201 S. MAIN STREET                  10201 S. MAIN STREET
INDIANAPOLIS, IN 46227                HOUSTON, TX 77025                     HOUSTON, TX 77025
HANNAH WATSON           Case 18-12241-CSS
                                       HANNAHDoc
                                             WITT 26        Filed 10/05/18   PageHANNAN
                                                                                  696 ofJAVAID
                                                                                          1739
5407 WOODBRIDGE DR                     10201 S. MAIN STREET                      10201 S. MAIN STREET
OOLTEWAH, TN 37363                     HOUSTON, TX 77025                         HOUSTON, TX 77025




HANNAWA ADRIAN-NAVARRE                 HANNAY REALTY ADVISORS                    HANNAY REALTY ADVISORS
1721 MAPLELANE AVE                     ATTN: BARBARA TEICH                       ATTN: JUSTIN BACKSTROM
HAZEL PARK, MI 48030                   1700 BROADWAY, SUITE 650                  1700 BROADWAY, SUITE 650
                                       DENVER, CO 80290                          DENVER, CO 80290




HANNAY REALTY ADVISORS-AZ LP           HANNAY RLTY ADVISORS-COLORADO             HANNON RANCHES LTD.
ATTN: DAN EGLE                         FBO TIC BROOKHILL TOWNE CENTER            P.O. BOX 1452
2999 N. 44TH STREET, SUITE 400         1700 BROADWAY STE 408                     LA MESA, CA 91944
PHOENIX, AZ 85018                      DENVER, CO 80290




HANNON RANCHES, LTD.                   HANOVER ACQUISITION IV LLC                HANOVER COUNTY
C/O COASTAL RIDGE MANAGEMENT           C/O THE SHOPPING CENTER GROUP LLC         COUNTY TREASUER
COMPANY                                300 GALLERIA PRKWY 12 FL                  PO BOX 17461
P.O. BOX 1452                          ATLANTA, GA 30339                         BALTIMORE, MD 21297-1461
LA MESA, CA 91944



HANOVER HERMANN PARK                   HANOVER INVESTMENTS, LLC                  HANOVER INVESTMENTS, LLC
                                       111 W. WACKER DRIVE, #1909                111 W. WACKER DRIVE, 1909
                                       CHICAGO, IL 60601                         CHICAGO, IL 60601




HANOVER INVESTMENTS, LLC               HANOVER POST OAK                          HANOVER TOWNSHIP LEHIGH COUNTY
333 WACKER DR 1700                     LEASING OFFICE                            2202 GROVE RD
CHICAGO, IL 60606                      1750 SKY LARK LN                          ALLENTOWN, PA 18109
                                       HOUSTON, TX 77056




HANOVER TOWNSHIP LEHIGH COUNTY         HANOVER WASHINGTON LP                     HANOVER WASHINGTON LP
2202 GROVE ROAD                        C/O HELLER PROPERTY MGMT                  C/O HELLER PROPERTY MGMT
ALLENTOWN, PA 18109                    625 MT. AUBURN ST., SUITE 210             PO BOX 610100
                                       ATTN: JOSH KANTZEN                        NEWTON, MA 02461
                                       CAMBRIDGE, MA 02138



HANOVER WASHINGTON, LP                 HANOVER                                   HANS NARAINE
C/O HELLER PROPERTY MANAGEMENT         ATTN: PROPERTY TAX DEPT.                  10201 S. MAIN STREET
625 MT. AUBURN ST., SUITE 210          PO BOX 17461                              HOUSTON, TX 77025
ATTN: JOSH KANTZEN                     BALTIMORE, MD 21297-1461
CAMBRIDGE, MA 02138



HANSEN SERVICE INC                     HANSER GUERRERO                           HANVEY PROPERTY MANAGEMENT
PO BOX 1252                            10201 S. MAIN STREET                      217 CEDAR ST. PMB 159
BOLINGBROOK, IL 60440                  HOUSTON, TX 77025                         SANDPOINT, ID 83864




HANY YASSA                             HAP IX LP                                 HAP IX LP
10201 S. MAIN STREET                   4703 TIMBERLINE DR                        ATTN: RUSSELL HINDS
HOUSTON, TX 77025                      AUSTIN, TX 78746                          4703 TIMBERLINE DRIVE
                                                                                 AUSTIN, TX 78746
HAP IX LP               Case 18-12241-CSS     Doc 26
                                       HAP PROPERTY    Filed
                                                    OWNER LP 10/05/18        PageHAP
                                                                                  697  of 1739OWNER LP
                                                                                     PROPERTY
ATTN: STACEY MOMBERG                    591 WEST PUTNAM AVE                      PO BOX 865084
4703 TIMBERLINE DRIVE                   GREENWICH, CT 06830                      ORLANDO, FL 32886-5084
AUSTIN, TX 78746




HAP PROPERTY OWNER, LP                  HARBERT RAINIER SOUTHPARK MEADOW,        HARBERT RAINIER SOUTHPARK MEADOWS
C/O CORE PROPERTY MANAGEMENT, LLC       LLC                                      LLC
410 PEACHTREE PARKWAY, SUITE 4165       C/O RAINIER SOUTHPARK MANAGER, LLC       500 W 5TH ST
CUMMING, GA 30041                       13760 NOEL RD, SUITE 800                 AUSTIN, TX 78701
                                        ATTN: MATTHEW HOOD
                                        DALLAS, TX 75240


HARBERT RAINIER SOUTHPARK MEADOWS       HARBERT UNITED STATES REAL ESTATE        HARBOR HILL CAPITAL LLC
LLC                                     FUND                                     C/O CITATION MANAGEMENT GROUP INC.
PO BOX 677815                           2100 THIRD AVE N 600                     5312 PACIFIC HIGHWAY EAST
DALLAS, TX 75267-7815                   BIRMINGHAM, AL 35203                     FIFE, WA 98424




HARBOR HILLS CAPITAL LLC                HARBOR HILLS CAPITAL LLC                 HARBORPOINT MEDIA LLC DBA DAILY
150 EAST 58TH ST                        C/O CITATION MANAGEMENT GROUP INC.       COMMERCIAL
18TH FL                                 5312 PACIFIC HIGHWAY EAST                212 E MAIN STREET
NEW YORK, NY 10155                      FIFE, WA 98424                           LEESBURG, FL 34748




HARBOUR-GRAMLING SUMMERVILLE LLC        HARBOUR-GRAMLING SUMMERVILLE, LLC        HARBOUR-GRAMLING SUMMERVILLE, LLC
35 JOHNSON FERRY RD                     502 KING STREET                          ATTN: MIKELL HARPER
MARIETTA, GA 30068                      ATTN: MIKELL HARPER                      502 KING STREET
                                        CHARLESTON, SC 29403                     CHARLESTON, SC 29403




HARD FIRE SUPPRESSION SYSTEMS INC       HARDEN RANCH PLAZA TIC-1 CORP            HARDIN COUNTY DISTRICT 2
4645-A WESTERVILLE ROAD                 1606 NORTH MAIN STREET                   P.O. BOX 950149
COLUMBUS, OH 43231                      SALINAS, CA 93906                        LOUISVILLE, KY 40295-0149




HARDIN COUNTY SHERIFF                   HARDIN COUNTY WATER DISTRCT 2            HARDIN COUNTY WATER DISTRCT 2
150 N PROVIDENT WAY STE 101             360 RING ROAD                            P.O. BOX 950149
ELIZABETHTOWN, KY 42701                 ELIZABETHTOWN, KY 42701                  LOUISVILLE, KY 40295-0149




HARDIN                                  HARDING PARK INC                         HARFORD COUNTY
ATTN: PROPERTY TAX DEPT.                DBA HPI OPTION 2 LLC                     ATTN: PROPERTY TAX DEPT.
150 N PROVIDENT WAY STE 101             THE GALLERY AT BAYPORT II                PO BOX 64069
ELIZABETHTOWN, KY 42701                 1745 SHEA CENTRE DR. SUITE 200           BALTIMORE, MD 21264-4069
                                        HIGHLANDS RANCH, CO 80129-1540



HARGROVE, SAM, ANDRE HALL, ET AL.       HARIE OLIVER                             HARJIT SINGH
C/O MARCHETTI LAW, P.C.                 10201 S. MAIN STREET                     10201 S. MAIN STREET
ATTN: ANTHONY MARCHETTI                 HOUSTON, TX 77025                        HOUSTON, TX 77025
CHERRY HILL, NJ 08034




HARKAVY SHAINBERG KAPLAN & DUNSTAN      HARLAN KOTCH                             HARLAN SHAW
PLC                                     10201 S. MAIN STREET                     204 HAYWOOD
ATTN: NEIL HARKAVY, ESQ.                HOUSTON, TX 77025                        ASHEVILLE, NC 28802
6060 POPLAR AVENUE, SUITE 140
MEMPHIS, TN 38119
HARLAND CLARKE CORP     Case 18-12241-CSS
                                       HARLEE Doc
                                              SMITH26      Filed 10/05/18   PageHARLEM
                                                                                 698 ofREALTY
                                                                                        1739
DBA TRANSOURCE                          11860 SKIA DEER WAY APT 7408            666 DUNDEE RD STE 303
10931 LAUREATE DRIVE                    HERRIMAN, UT 84096                      NORTHBROOK, IL 60062
SAN ANTONIO, TX 78249




HARLEY DOWNEY                           HARLIKA ACOSTA                          HARLOW TRUCK & BUS REPAIR
10201 S. MAIN STREET                    850 AVE C                               PO BOX 2139
HOUSTON, TX 77025                       REDONDO BEACH, CA 90277                 LOWELL, AR 72745




HARMAN ATCHISON RESEARCH GRP LLC        HARMON FIRE EXTINGUISHER                HARMONY ENTERPRISES INC
5799 BROADMOOR STE 650                  725 S BRITAIN RD                        704 MAIN AVE N
MISSION, KS 66202                       IRVING, TX 75060                        HARMONY, MN 55939




HAROLD CALDWELL                         HAROLD DEDE                             HAROLD ELDER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    6498 SKYLER JEAN DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                       JACKSONVILLE, FL 32222




HAROLD FROST                            HAROLD HOLIDY JR                        HAROLD INMAN
MAIN CONTACT FOR LL                     6264 EL CAPITAN STREET                  10201 S. MAIN STREET
OLD GREENWICH, CT 06870                 FORT WORTH, TX 76179                    HOUSTON, TX 77025




HAROLD LANDAU                           HAROLD MILLS                            HAROLD PULLEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    2762 HOGAN RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                       EAST POINT, GA 30344




HAROLD SPIRO                            HAROLD STEVEN PULGARIN VELASQUEZ        HAROLD VICHOT-AGUILAR
10201 S. MAIN STREET                    DBA H2P TRANSPORTATION                  10201 S. MAIN STREET
HOUSTON, TX 77025                       2119 DAWN RIDGE                         HOUSTON, TX 77025
                                        MONROE, NC 28110




HAROLD WATSON                           HAROLD WHITCOMB                         HAROLD ZENO
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




HAROON RASHEED                          HARPER COLLLINS PUBLISHERS              HARPERCOLLINS PUBLISHERS LLC
10201 S. MAIN STREET                    P.O. BOX 360846                         1000 KEYSTONE INDUST
HOUSTON, TX 77025                       PITTSBURGH, PA 15251-6846               SCRANTON, PA 18512




HARREL, ERIC                            HARRELL, CHARLES                        HARRELL, CHARLES
707 HILLPOINT WAY                       524 GEORGIA ST APT 208                  592 RINCON RD
BRANDON, FLORIDA 33510-3519             VALLEJO, CA 94590-6027                  EL SOBRANTE, CA 94803-1658
HARRIET COFFEY           Case 18-12241-CSS
                                        HARRIETDoc 26 Filed 10/05/18
                                               ROTTMAN                 PageHARRIMAN
                                                                            699 of 1739
                                                                                    COMMONS LLC
10201 S. MAIN STREET                    641 OCOTILLO AVE                   C/O MADISON PROPERTY MANAGEMENT
HOUSTON, TX 77025                       PALM SPRINGS, CA 92264             200 MADISON AVENUE, 24TH FLOOR
                                                                           NEW YORK, NY 10016




HARRINGTON & TOCK LLC                   HARRIS CO MUD 130                  HARRIS CO MUD 130
201 W. SPRINGFIELD AVENUE, SUITE 601    1621 MILAM ST FL 3                 P.O. BOX 1689
CHAMPAIGN, IL 61820                     HOUSTON, TX 77002-8059             SPRING, TX 77383




HARRIS CO MUD 153                       HARRIS CO WCID 110                 HARRIS CO WCID 110
11111 KATY FWY 725                      19023 JOANLEIGH DR                 P.O. BOX 3264
HOUSTON, TX 77079-2197                  SPRING, TX 77388                   HOUSTON, TX 77253-3264




HARRIS COMMERICAL REAL ESTATE           HARRIS COUNTY ALARM DETAIL         HARRIS COUNTY ALARM DETAIL
SERVICES                                9418 JENSEN DR STE A               PO BOX 4049
ATTN: BRANDON HARRIS                    HOUSTON, TX 77093                  HOUSTON, TX 77210-4049
647 FLUME STREET
CHICO, CA 95928



HARRIS COUNTY CLERK                     HARRIS COUNTY FWSD 61              HARRIS COUNTY MUD 132
PO BOX 1525                             TAX ASSESSOR - COLLECTOR           11111 KATY FWY, 725
HOUSTON, TX 77251-1525                  P.O. BOX 325                       HOUSTON, TX 77079-2197
                                        CYPRESS, TX 77410-0325




HARRIS COUNTY MUD 191                   HARRIS COUNTY MUD 53               HARRIS COUNTY MUD 102
P.O. BOX 2569                           TAX ASSESSOR - COLLECTOR           PO BOX 1368
SPRING, TX 77383-2569                   11111 KATY FREEWAY 725             FRIENDSWOOD, TX 77549-1368
                                        HOUSTON, TX 77079-2197




HARRIS COUNTY MUD 153                   HARRIS COUNTY MUD 186              HARRIS COUNTY MUD 186
P.O. BOX 1689                           5870 HIGHWAY 6 NORTH               P.O. BOX 842115
SPRING, TX 77383                        STE 215                            HOUSTON 77284-2115
                                        HOUSTON, TX 77084




HARRIS COUNTY MUD 186                   HARRIS COUNTY MUD 186              HARRIS COUNTY MUD 191
P.O. BOX 842115                         TAX ASSESSOR - COLLECTOR           5300 MEMORIAL DR
HOUSTON, TX 77284-2115                  11111 KATY FREEWAY 725             STE 1070
                                        HOUSTON, TX 77079-2197             HOUSTON, TX 77007




HARRIS COUNTY MUD 191                   HARRIS COUNTY MUD 257              HARRIS COUNTY MUD 285
P.O. BOX 2569                           TAX ASSESSOR COLLECTOR             PO BOX 3155
SPRING, TX 77383-2569                   PO BOX 1368                        HOUSTON, TX 77253-3155
                                        FRIENDSWOOD, TX 77549-1368




HARRIS COUNTY MUD 321                   HARRIS COUNTY MUD 346              HARRIS COUNTY MUD 358
11111 KATY FWY 725                      TAX ASSESSOR COLLECTOR             11111 KATY FWY, 725
HOUSTON, TX 77079-2197                  P O BOX 4383                       HOUSTON, TX 77079-2197
                                        HOUSTON, TX 77210-4383
HARRIS COUNTY MUD 81 Case    18-12241-CSS     Doc 26TAX Filed
                                       HARRIS COUNTY          10/05/18
                                                        ASSESSOR-          PageHARRIS
                                                                                700 of  1739TAX ASSESSOR-
                                                                                      COUNTY
TAX ASSESSOR-COLLECTOR                  COLLECTOR                              COLLECTOR
PO BOX 3155                             ATTN: PROPERTY TAX DEPT.               TAX ASSESOR- COLLECTOR
HOUSTON, TX 77253-3155                  P.O. BOX 3547                          P.O. BOX 4622
                                        HOUSTON, TX 77253                      HOUSTON, TX 77210-4622



HARRIS COUNTY TREASURER                 HARRIS COUNTY WCID 110                 HARRIS COUNTY WCID 145
ORLANDO SANCHEZ                         P.O. BOX 73109                         11111 KATY FREEWAY 725
1001 PRESTON RM 652                     HOUSTON, TX 77273                      HOUSTON, TX 77079-2197
HOUSTON, TX 77002




HARRIS COUNTY WCID 110                  HARRIS COUNTY WCID 145                 HARRIS COUNTY WCID 155
P.O. BOX 690928                         11111 KATY FREEWAY 725                 11111 KATY FREEWAY 725
HOUSTON, TX 77269-0928                  HOUSTON, TX 77079-2197                 HOUSTON, TX 77079-2197




HARRIS COUNTY                           HARRISON & MOBERLY LLP                 HARRISON BELL
TAX ASSESSOR- COLLECTOR                 ATTN: RORY OBRYAN                      10201 S. MAIN STREET
P.O. BOX 3547                           10 WEST MARKET STREET, SUITE 700       HOUSTON, TX 77025
HOUSTON, TX 77253                       INDIANAPOLIS, IN 46204




HARRISON CLOVER                         HARRISON COUNTY HICKS                  HARRISON COUNTY TAX COLLECTOR
10201 S. MAIN STREET                    C/O NANCY VAN ALSTINE                  ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       6645 HWY 59 NORTH                      PO BOX 1270
                                        MARSHALL, TX 75670                     GULFPORT, MS 39502




HARRISON DALE                           HARRISON FIRE & SAFETY                 HARRISON GOLDSPIEL
10201 S. MAIN STREET                    581 N 660 W                            7929 269 STREET
HOUSTON, TX 77025                       WEST BOUNTIFUL, UT 84087               NEW HYDE PARK, NY 11040




HARRISON KEILING                        HARRISON LANDSCAPE & DESIGN LLC        HARRISON LEE JOINT VENTURE
10201 S. MAIN STREET                    2745 N DALLAS PARKWAY 455              C/O CENTRAL PROPERTY ASSOCIATES
HOUSTON, TX 77025                       PLANO, TX 75093                        P.O. BOX 50
                                                                               ATTN: ROBERT A. HAYMAN, CCIM
                                                                               SPRINGFIELD, VA 22150



HARRISON LEE JOINT VENTURE              HARRISON LEE JOINT VENTURE             HARRISON LEE PROPERTY
CENTRAL PROPERTY ASSOC.                 P.O. BOX 39                            C/O CENTRAL PROPERTY ASSOCIATES
PO BOX 39                               SPRINGFIELD, VA 22150                  9212 FALL RIVER LANE
SPRINGFIELD, VA 22150                                                          ATTN: KEITH HARTMAN
                                                                               POTOMAC, MD 20854



HARRISON REESE                          HARRISON WOODARD                       HARRISONBURG ELEC COMMISSION
10201 S. MAIN STREET                    10201 S. MAIN STREET                   89 W. BRUCE ST.
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HARRISONBURG, VA 22801




HARRISONBURG ELEC COMMISSION            HARRISONBURG RADIO GROUP               HARRISONBURG
89 WEST BRUCE ST                        1820 HERITAGE CENTER WAY               ATTN: PROPERTY TAX DEPT.
HARRISONBURG, VA 22801-3699             HARRISONBURG, VA 22801                 409 S MAIN ST
                                                                               HARRISONBURG, VA 22801
HARRY FERNANDEZ         Case 18-12241-CSS     Doc 26
                                       HARRY JONES        Filed 10/05/18     PageHARRY
                                                                                  701 MILLS
                                                                                       of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




HARRY PITA                             HARRY ROBINSON                            HARRY RUPP
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




HARRY S JR TICE                        HARRY SCHLATTER                           HARRY ULU
14212 TOBIASSON RD                     10201 S. MAIN STREET                      10201 S. MAIN STREET
POWAY, CA 92064                        HOUSTON, TX 77025                         HOUSTON, TX 77025




HARSH SHAH                             HART MIRACLE MARKETPLACE LLC              HART MIRACLE MARKETPLACE LLC
10201 S. MAIN STREET                   191 N WACKER DR STE 2500                  26569 NETWORK PLACE
HOUSTON, TX 77025                      CHICAGO, IL 60606                         CHICAGO, IL 60673




HART MIRACLE MARKETPLACE LLC           HART PRODUCTIONS, INC                     HART WILLOW CREEK LLC
C/O URBAN RETAIL PROPERTIES, LLC       2234 BAUER ROAD, STE B                    C/O MID-AMERICA ASSET MGMT INC
925 S. FEDERAL HIGHWAY, SUITE 700      BATAVIA, OH 45103                         1 PARKVIEW OLZA 9TH FLOOR
BOCA RATON, FL 33432                                                             VILLA PARK, IL 60181




HART WILLOW CREEK LLC                  HART WILLOW CREEK, LLC                    HART WILLOW CREEK, LLC
C/O MID-AMERICA ASSET MGMT INC         C/O HEITMAN CAPITAL MANAGEMENT, LLC       C/O MID-AMERICA ASSET MGMT INC
1 PARKVIEW OLZA 9TH FLOOR              191 NORTH WACKER DRIVE, SUITE 2500        1 PARKVIEW OLZA 9TH FLOOR
VILLA PARK, IL 60181                   ATTN: PORTFOLIO MANAGER                   ATTN: MS. JEAN M. ZOERNER
                                       CHICAGO, IL 60606                         VILLA PARK, IL 60181



HART, ANTONIO                          HARTFORD CORNERS 1 AND 2 CORP             HARTFORD CORNERS 1 AND 2 CORP
317 CANNON AVE                         PO BOX 310611                             PROPERTY: 282210
ALBANY, GA 31705-4007                  DES MOINES, IA 50331                      PO BOX 310611
                                                                                 DES MOINES, IA 50331-0611




HARTFORD CORNERS OWNERSHIP, LLC        HARTFORD COURANT MEDIA GROUP              HARTFORD FINANCIAL SERVICES INC
C/O PRINCIPAL REAL ESTATE INVESTORS,   PO BOX 416414                             PO BOX 415738
LLC                                    BOSTON, MA 02241-6414                     BOSTON, MA 02241-5738
711 HIGH STREET
DES MOINES, IA 50392



HARTFORD INSURANCE CO OF THE           HARTFORD SOUTH LLC                        HARTFORD SOUTH LLC
MIDWEST                                7326 S ORANGE AVE                         PO BOX 593515
C/O FLOOD PROCESSING CENTER            ORLANDO, FL 32809                         ORLANDO, FL 32859-3515
555 CORPORATE DR
KALISPELL, MT 59901



HARTMAN COOPER STREET PLAZA LLC        HARTMAN COOPER STREET PLAZA LLC           HARTMAN COOPER STREET PLAZA, LLC
2909 HILLCROFT STE 420                 PO BOX 571017                             C/O HARTMAN INCOME REIT MANAGEMENT
HOUSTON, TX 77057                      HOUSTON, TX 77257-1017                    2909 HILLCROFT STREET, SUITE 420
                                                                                 HOUSTON, TX 77057
HARTMAN COOPER STREETCase
                       PLAZA,18-12241-CSS
                              LLC      HARTMANDoc   26 &Filed
                                                 SIMONES   WOOD10/05/18
                                                               LLP           PageHARTMAN
                                                                                   702 of SIMONS
                                                                                           1739 & WOOD LLP
PO BOX 571017                          ATTN: WILL LOVELL, ESQ.                   6400 POWERS FERRY ROAD NW, SUITE 400
HOUSTON, TX 77257-1017                 6400 POWERS FERRY ROAD, NW, SUITE 400     ATTN: ROBERT D. SIMONS, ESQ.
                                       ATLANTA, GA 30339                         ATLANTA, GA 30339




HARTMAN VILLAGE POINTE LLC               HARTMAN XX LIMITED PARTNERSHIP           HARTSHORN INC
2909 HILLCROFT ST STE 420                2909 HILLCROFT ST STE 420                MATTRESS MARSHALS WC
HOUSTON, TX 77057                        HOUSTON, TX 77057                        PO BOX 1585
                                                                                  PLACERVILLE, CA 95667




HARTZOG CONGER CASON & NEVILLE           HARVARD MOREHEAD                         HARVEY BERRY
201 ROBERT S. KERR AVENUE                10201 S. MAIN STREET                     10201 S. MAIN STREET
1600 BANK OF OKLAHOMA PLAZA              HOUSTON, TX 77025                        HOUSTON, TX 77025
ATTN: NAOMI SMITH
OKLAHOMA CITY, OK 73102



HARVEY CHERLIN                           HARVEY FOOS                              HARVEY GRADY
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




HARVEY GROSS                             HARVEY HARGROVE                          HARVEY K. MATTEL, ATTORNEY AT LAW
6345 DOUGLAS ST                          10201 S. MAIN STREET                     1314 SOUTHEAST 2ND AVENUE
PITTSBURGH, PA 15127                     HOUSTON, TX 77025                        ATTN: HARVEY K. MATTEL
                                                                                  FORT LAUDERDALE, FL 33316-1810




HARVEY LINDSAY COMM REAL ESTATE          HARVEY LINDSAY COMMERCIAL REAL           HARVEY LINDSAY COMMERCIAL REAL
999 WATERSIDE DR STE 1400                ESTATE                                   ESTATE
NORFOLK, VA 23510                        ADAYE FOSTER                             MISTY SCHNEIDER
                                         9990 WATERSIDE DRIVE, SUITE 1400         999 WATERSIDE DRIVE, SUITE 1400
                                         NORFOLK, VA 23510                        NORFOLK, VA 23510



HARVEY LINDSAY COMMERCIAL REAL           HARVEY MCNULTY                           HARVEY SMITH
ESTATE                                   21 FATHER FRANCIS GILDAY ST 511          10201 S. MAIN STREET
SHERRY HARRIS, PROPERTY MANAGER          BOSTON, MA 02118                         HOUSTON, TX 77025
999 WATERSIDE DRIVE, SUITE 1400
NORFOLK, VA 23510



HARVEY SPELLER                           HARWICH                                  HASKINS GAS SERVICE INC
10201 S. MAIN STREET                     ATTN: PROPERTY TAX DEPT.                 1791 ROUTE 30
HOUSTON, TX 77025                        PO BOX 802                               DORSET, VT 05251
                                         READING, MA 01867-0406




HASKINS GAS SERVICE INC                  HASON CASTELL                            HASS HOLDINGS LLC
1791 ROUTE 30                            10201 S. MAIN STREET                     C/O TRANSWESTERN
DORSET, VT 05251-9650                    HOUSTON, TX 77025                        1900 WEST LOOP S STE 1300
                                                                                  ATTN: ROBERT NGUYEN
                                                                                  HOUSTON, TX 77027



HASS HOLDINGS LLC                        HASSAN NURMOHAMED                        HASSAN QAMAR
C/O TRANSWESTERN                         10201 S. MAIN STREET                     10201 S. MAIN STREET
1900 WEST LOOP SOUTH, SUITE 1300         HOUSTON, TX 77025                        HOUSTON, TX 77025
ATTN: ROBERT NGUYEN
HOUSTON, TX 77027
HASTINGS, JON           Case   18-12241-CSS     Doc
                                         HATFIELD TWP26   FiledAUTH
                                                     MUNICIPAL  10/05/18    PageHATHAWAY
                                                                                 703 of 1739
                                                                                         MANAGEMENT
6650 N MAROA AVE APT 139                  3200 ADVANCE LANE                     ATTN: KAREN TIMM
FRESNO, CA 93704-1251                     COLMAR, PA 18915                      3525 NW DIMPLE HILL RD
                                                                                CORVALLIS, OR 97330




HATHAWAY MANAGEMENT                       HAUL4ME                               HAUPPAGE PROPERTIES LLC
ATTN: KAREN TIMM                          4760 CALLE QUETZAL                    DBA ELKHART HOLDINGS LLC
3525 NW DIMPLE HILL ROAD                  CAMARILLO, CA 93012                   1975 HEMPSTEAD TURNPIKE, STE 309
CORVALLIS, OR 97330                                                             ATTN: SIMONE HOSIEN
                                                                                EAST MEADOW, NY 11554



HAUPPAUGE PROPERTIES LLC                  HAVAS FORMULA LLC                     HAVAS MEDIA
DBA ELKHART HOLDINGS LLC                  1215 CUSHMAN AVE.                     200 HUDSON ST
1975 HEMPSTEAD TURNPIKE STE 309           SAN DIEGO, CA 92110                   NEW YORK, NY 10013
ATTN: SIMONE HOSIEN
EAST MEADOW, NY 11554



HAVAS WORLDWIDE NEW YORK INC              HAVAS WORLDWIDE NEW YORK INC          HAVERFORD REALTY ASSOCIATES L.P.
200 HUDSON ST                             29936 NETWORK PLACE                   C/O FAMECO MGMT SVC ASSOC
NEW YORK, NY 10013                        CHICAGO, IL 60673-1299                625 W RIDGE PIKE
                                                                                CONSHOHOCKEN, PA 19428




HAVERFORD REALTY ASSOCIATES LP            HAVERFORD REALTY ASSOCIATES LP        HAWAII DEPT OF TAXATION
625 W RIDGE PIKE                          C/O BAKER PROPERTIES, INC             3060 EIWA STREET 105
CONSHOHOCKEN, PA 19428                    763 W. LANCASTER AVE, SUITE 250       LIHUE, HI 96766-1889
                                          BRYN MAWR, PA 19010




HAWAII DEPT OF TAXATION                   HAWAII DEPT OF TAXATION               HAWAII DEPT OF TAXATION
54 S. HIGH STREET 208                     75 AUPUNI STREET 101                  P.O. BOX 275
WAILUKU, HI 96793-2198                    HILO, HI 96720-4245                   KAUNAKAKAI, HI 96748




HAWAII DEPT OF TAXATION                   HAWAII DEPT OF TAXATION               HAWAII DKI LLC
PO BOX 1425                               PO BOX 259                            94-1388 MOANIANI ST 220
HONOLULU, HI 96806-1425                   HONOLULU, HI 96809-0259               WAIPAHU, HI 96797




HAWAII ELECTRIC LIGHT CO                  HAWAII INSPECTION GROUP INC           HAWAII MEDICAL SERVICE ASSOCIATION
P.O. BOX 29570                            95 E LIPOA ST STE A208                PO BOX 29330
HONOLULU, HI 96820-1970                   KIHEI, HI 96753                       HONOLULU, HI 96820-1730




HAWAII MEDICAL SERVICE ASSOCIATION        HAWAII PETROLEUM INC                  HAWAII STATE TAX COLLECTOR
PO BOX 29810                              385 HUKILIKE ST STE 101               ATTN: BUSINESS LICENSE DEPT.
HONOLULU, HI 96820-2210                   KAHULUI, HI 96732                     PO BOX 1425
                                                                                HONOLULU, HI 96806-1425




HAWAII STATE TAX COLLECTOR                HAWAII STATE TAX COLLECTOR            HAWAII STATE TAX COLLECTOR
ATTN: SALES & USE TAX DEPT.               ATTN: UNCLAIMED PROPERTY DEPT.        HAWAII DEPT OF TAXATION
PO BOX 1425                               PO BOX 259                            PO BOX 1530
HONOLULU, HI 96806-1425                   HONOLULU, HI 96809                    HONOLULU, HI 96806-1530
                       Case
HAWAII STATE TAX COLLECTOR      18-12241-CSS     Doc
                                          HAWAIIAN    26 COMPANY
                                                   ELECTRIC Filed 10/05/18    PageHAWAIIAN
                                                                                   704 of ELECTRIC
                                                                                           1739 COMPANY
OAHU DISTRICT OFFICE                       900 RICHARDS STREET                    P.O. BOX 3978
PO BOX 259                                 HONOLULU, HI 96813                     HONOLULU, HI 96812-3978
HONOLULU, HI 96809




HAWAIIAN ISLES WATER COMPANY               HAWAIIAN TELCOM                        HAWAIIAN TELCOM
P.O. BOX 30645                             1177 BISHOP ST                         P.O. BOX 30770
HONOLULU, HI 96820                         HONOLULU, HI 96813                     HONOLULU, HI 96820




HAWKINS MANAGEMENT                         HAWLEY SWEEPING CO INC                 HAWTHORN HILLS SQUARE 1687 LLC
ATTN: JEFF HAWKINS                         30 GERMANTOWN RD                       PO BOX 82565
4721 GARTH ROAD, SUITE C-2                 DANBURY, CT 06810                      GOLETA, CA 93118-2565
BAYTOWN, TX 77521




HAWTHORNE ACQUISITION LLC                  HAWTHORNE ACQUISITION LLC              HAWTHORNE ACQUISITIONS
165 HARRITOWN ROAD, SUITE 301              165 HARRITOWN ROAD, SUITE 301          65 HARRISTOWN RD STE 301
GLEN ROCK, NJ 07452                        GLEN ROCK, NJ 07452-3317               GLEN ROCK, NJ 07452-3317




HAWTHORNE CENTRE ASSOCIATES LP             HAWTHORNE CENTRE ASSOCIATES LP         HAYDEN BUFFINGTON
C/O BURKWOOD ASSOCIATES                    C/O BURKWOOD ASSOCIATES                10201 S. MAIN STREET
255 BUTLER AVE STE 203                     255 BUTLER AVENUE, SUITE 203           HOUSTON, TX 77025
LANCASTER, PA 17601                        LANCASTER, PA 17601




HAYDEN JORGE                               HAYDEN LILAK                           HAYDEN MEADOWS
10201 S. MAIN STREET                       10201 S. MAIN STREET                   TMT DEVELOPMENT
HOUSTON, TX 77025                          HOUSTON, TX 77025                      760 SW 9TH AVE STE 2250
                                                                                  PORTLAND, OR 97205




HAYDEN ROGERS                              HAYDEN SNYDER                          HAYEL GARAIBEH
10201 S. MAIN STREET                       10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                      HOUSTON, TX 77025




HAYES, SHAWANDA                            HAYES-FULLARD, KENDALL                 HAYLEY BOSKE
6 BROOKEBURY DR APT C                      350 EAGLEVIEW BLVD,STE150              10201 S. MAIN STREET
REISTERSTOWN, MD 21136-2803                EXTON, PA 19341                        HOUSTON, TX 77025




HAYLEY CORDARO                             HAYLEY THORLEY                         HAYMARKET (E&A) LLC
10201 S. MAIN STREET                       10201 S. MAIN STREET                   DEPT 2321
HOUSTON, TX 77025                          HOUSTON, TX 77025                      PO BOX 822315
                                                                                  PHILADELPHIA, PA 19182-2315




HAYMARKET (E&A) LLC                        HAYMARKET (E&A), LLC                   HAYMARKET (E&A), LLC
C/O EDENS LIMITED PARTNERSHIP              C/O EDENS - 2321                       C/O EDENS LIMITED PARTNERSHIP
1221 MAIN ST STE 1000                      7200 WISCONSIN AVENUE, SUITE 400       1221 MAIN STREET, SUITE 1000
ATTN: LEGAL DEPARTMENT                     ATTN: VICE PRESIDENT OF LEASING        ATTN: LEGAL DEPARTMENT
COLUMBIA, SC 29201                         BETHESDA, MD 20814                     COLUMBIA, SC 29201
HAYNES AND BOONE LLP     Case 18-12241-CSS
                                        HAYNES Doc  26 Filed
                                               AND BOONE LLP 10/05/18          PageHAYS
                                                                                    705COUNTY
                                                                                        of 1739
                                                                                              TAX OFFICE
PO BOX 841399                           2323 VICTORY AVE STE 700                   TAX ASSESSOR-COLLECTOR
DALLAS, TX 75284-1399                   DALLAS, TX 75219                           712 S. STAGECOACH TRAIL
                                                                                   SAN MARCOS, TX 78666-6073




HAYS COUNTY                             HAYTON FINANCIAL & INVESTMENT GROUP,       HAYWARD EVANS
ATTN: PROPERTY TAX DEPT.                LTD.                                       10201 S. MAIN STREET
712 S. STAGECOACH TRAIL                 11 EAST BROADWAY, 10TH FLOOR               HOUSTON, TX 77025
SAN MARCOS, TX 78666-6073               NEW YORK, NY 10038




HAYWARD WATER SYSTEM                    HAYWARD WATER SYSTEM                       HAYWOOD COUNTY TAX COLLECTION
777 B STREET                            P.O. BOX 6004                              ATTN: PROPERTY TAX DEPT.
HAYWARD, CA 94541                       HAYWARD, CA 94540                          PO BOX 63040
                                                                                   CHARLOTTE, NC 28263




HAZARDVILLE WATER CO                    HAZARDVILLE WATER CO                       HAZE LAGAHIT
281 HAZARD AVE.                         281 HAZARD AVENUE                          10201 S. MAIN STREET
ENFIELD, CT 06082-4647                  ENFIELD, CT 06082                          HOUSTON, TX 77025




HAZELTON AIRPORT L.P.                   HAZELTON AIRPORT LP                        HAZELTON AIRPORT, L.P.
C/O ARC PROPERTIES INC                  1401 BRD ST                                C/O ARCTRUST PROPERTIES INC.
1401 BRD ST                             CLIFTON, NJ 07013                          1401 BROAD STREET
CLIFTON, NJ 07013                                                                  ATTN: NEIL DOORNHEIM
                                                                                   CLIFTON, NJ 07013



HAZLET PARTNERS LLC                     HAZLETON CITY AUTHORITY                    HAZLETON CITY AUTHORITY
1000 SOUTH OYSTER BAY RD                400 EAST ARTHUR GARDNER PARKWAY            P.O. BOX 3898
HICKSVILLE, NY 11801                    HAZLETON, PA 18201                         SCRANTON, PA 18505-0898




HBA                                     HBC SOLUTIONS                              HBJ INVESTMENT LLC
2075 WALNUT LAKE RD                     PO BOX 732107                              PO BOX 10280
WEST BLOOMFIELD, MI 48323               DALLAS, TX 75373-2107                      KANSAS CITY, MO 64171




HBW HEATING & AIR CONDITIONING CORP     HC BIRMINGHAM INDUSTRIAL LLC               HC BIRMINGHAM INDUSTRIAL LLC
516 BAY 5TH ST                          105 CORPORATE WOODS CIR                    9225 LAKE HEFNER PKWY STE 200
WEST ISLIP, NY 11795                    ALABASTER, AL 35007                        OKLAHOMA CITY, OK 73120




HC BIRMINGHAM INDUSTRIAL LLC            HC BIRMINGHAM INDUSTRIAL LLC               HC HOLDINGS LLC
C/O EGS COMMERCIAL REAL ESTATE INC      C/O EGS COMMERCIAL REAL ESTATE, INC.       730 11 ST N.W. 6TH FLR
PO BOX 530487                           P.O. BOX 530487                            WASHINGTON, DC 20001-4510
BIRMINGHAM, AL 35253                    BIRMINGHAM, AL 35253




HC HOLDINGS LLC                         HCI SYSTEMS INC                            HCL GOODYEAR CENTERPOINTE LLC
C/O C AND R MANAGEMENT LLC              1354 S PARKSIDE PLACE                      C/O HAAGEN COMPANY LLC
730 11TH STREET NW, 6TH FLOOR           ONTARIO, CA 91761                          12302 EXPOSITION BLVD
WASHINGTON, DC 20001-4510                                                          LOS ANGELES, CA 90064
                       CaseLLC
HCL GOODYEAR CENTERPOINTE    18-12241-CSS      Doc 26
                                       HCL INFOSERV  INC   Filed 10/05/18   PageHCL
                                                                                 706  of 1739
                                                                                    MARQE LLC
C/O HAAGEN COMPANY LLC                 2917 VILLAGE DR                          C/O LEVCOR INC
12302 EXPOSITION BLVD.                 AVENEL, NJ 07001                         1001 W LOOP SOUTH 600
LOS ANGELES, CA 90064                                                           HOUSTON, TX 77027




HCL MARQUE LLC                          HCP III EAGLE LLC                       HCP III EAGLE LLC
C/O LEVCOR, INC.                        100 CONSTITUTION PLAZA                  PO BOX 780686
1001 W. LOOP SOUTH, #600                HARTFORD, CT 06103                      PHILADELPHIA, PA 19178
HOUSTON, TX 77027




HD ENTERPRISES LLP                      HD MEDIA CO LLC DBA THE HERALD-         HDC MASON KATY PARTNERS LP
3596 BARTON CREEK CIRCLE                DISPATCH                                12119 PEBBLEBROOK DR
GREEN COVE SPRINGS, FL 32043            946 5TH AVE                             HOUSTON, TX 77024
                                        HUNTINGTON, WV 25701




HEAD COUNT                              HEADS UP MEDIA                          HEALTH ADVOCATE INC.
9419- 20 AVE                            9591 DRIPPING SPRINGS RD                PO BOX 12941
EDMONTON, AB T6N 1E5                    DENISON, TX 75021                       PHILADELPHIA, PA 19176-0947
CANADA




HEALTH FAIRS DIRECT                     HEALTH INCOME TAX                       HEALTHY SAN FRANCISCO
18 HAMILTON ST STE 1                    1287 HEBRON RD                          CITY OPTION PROGRAM
BOUND BROOK, NJ 08805                   HEATH, OH 43056-1096                    201 THIRD STREET 7TH FL
                                                                                SAN FRANCISCO, CA 94103




HEARST COMMUNICATIONS INC               HEARST MEDIA SERVICES CT LLC            HEARST NEWSPAPERS II LLC DBA
DBA SAN FRANCISCO CHRONICLE/SFGATE      PO BOX 80064                            BEAUMONT ENTERPRISE DIV
901 MISSION ST                          PRESCOTT, AZ 86304-8064                 380 MANI ST
SAN FRANCISCO, CA 94103                                                         PO BOX 3071
                                                                                BEAUMONT, TX 77704



HEARST STATIONS BALTIMORE               HEARST STATIONS INC                     HEARST STATIONS
PO BOX 90025                            WPTZ-WNNE                               3800 HOOPER AVE
PRESCOTT, AZ 86304-0025                 5 TELEVISON DR                          BALTIMORE, MD 21211
                                        PLATTSBURGH, NY 12901




HEARST STATIONS                         HEARST STATIONS                         HEARTLAND CLEANERS
DBA WBAL-AM                             DBA WIYY-FM                             999 E WASHINGTON AVE
3800 HOOPER AVE                         3800 HOOPER AVE                         EL CAJON, CA 92020
BALTIMORE, MD 21211                     BALTIMORE, MD 21211




HEATH BREWSTER                          HEATH JENNINGS                          HEATH LEAMON
5903 W 14TH AVE                         10201 S. MAIN STREET                    10201 S. MAIN STREET
KENNEWICK, WA 99338                     HOUSTON, TX 77025                       HOUSTON, TX 77025




HEATH RITCHESON                         HEATH STODDARD                          HEATHER BARTELS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
HEATHER BAUTISTA       Case 18-12241-CSS    Doc
                                      HEATHER    26 Filed 10/05/18
                                              BOBBITT                PageHEATHER
                                                                          707 ofBOGGS
                                                                                 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




HEATHER BUNDAY                        HEATHER DOUGLAS                    HEATHER FOLEY
8009 RIVERWALK TRL                    10201 S. MAIN STREET               10201 S. MAIN STREET
MC KINNEY, TX 75070                   HOUSTON, TX 77025                  HOUSTON, TX 77025




HEATHER FRIEND                        HEATHER GEARY                      HEATHER HALVORSEN
10201 S. MAIN STREET                  1404 HABERSHAM DR                  10201 S. MAIN STREET
HOUSTON, TX 77025                     AUGUSTA, GA 30909                  HOUSTON, TX 77025




HEATHER HARTMAN                       HEATHER HEFFLEY                    HEATHER JACKSON
9033 MOUNTAIN MAGNOLIA DR             10201 S. MAIN STREET               10201 S. MAIN STREET
RIVERVIEW, FL 33578                   HOUSTON, TX 77025                  HOUSTON, TX 77025




HEATHER KISH                          HEATHER LEE                        HEATHER MEAD
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




HEATHER MUSEE                         HEATHER PALMER                     HEATHER PEART
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




HEATHER PETERSEN                      HEATHER PREVEL                     HEATHER ROBERTS
900 RUBICON CRT                       10201 S. MAIN STREET               2206 NE NEZ PERCE CT
UKIAH, CA 95482                       HOUSTON, TX 77025                  REDMOND, OR 97756




HEATHER SOWBY                         HEATHER SPRINGS                    HEATHER THOMAS
10201 S. MAIN STREET                  10201 S. MAIN STREET               9009 GREAT HILLS TRAIL 1812
HOUSTON, TX 77025                     HOUSTON, TX 77025                  AUSTIN, TX 78759




HEATHER TIGGES                        HEATHER TINGLE                     HEATHER WILCOX-NICHOLLS
104 GARRY ST                          10201 S. MAIN STREET               10201 S. MAIN STREET
CALMAR, IA 52132                      HOUSTON, TX 77025                  HOUSTON, TX 77025




HEATHER WOODARD                       HEATHERWOOD PARTNERS LLC           HEB GROCERY COMPANY LP
10201 S. MAIN STREET                  4771 N 20TH ST STE B22             DBA SPC BEE CAVE PARTNERS LTD
HOUSTON, TX 77025                     PHOENIX, AZ 85016                  PO BOX 839955
                                                                         SAN ANTONIO, TX 78283
                        Case 18-12241-CSS
HEB HOP LP D/B/A CMK BLOOMINGTON, LLC  HEB HOPDoc
                                               LP 26     Filed 10/05/18   PageHECTOR
                                                                               708 ofCAMPA
                                                                                      1739
C/O NEWMARK GRUBB ZIMMER               DBA CMK BLOOMINGTON LLC                10201 S. MAIN STREET
8235 FORSYTH, SUITE 310                PO BOX 411299                          HOUSTON, TX 77025
ST. LOUIS, MO 63105                    KANSAS CITY, MO 64141-1299




HECTOR DELGADO                         HECTOR ESCANDO                         HECTOR ESCARDO
10201 S. MAIN STREET                   500 1ST ST N                           10201 S. MAIN STREET
HOUSTON, TX 77025                      APT 203                                HOUSTON, TX 77025
                                       ST PETERSBURG, FL 33701




HECTOR LABOY COLON                     HECTOR LEGER                           HECTOR LUIS VALENTIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




HECTOR SOTO                            HEFFNER OUTDOOR ADVERSTISING           HEIDENBERG PROPERTIES
10201 S. MAIN STREET                   112 TOR CIRCLE                         234 CLOSTER DOCK RD
HOUSTON, TX 77025                      GIBSONIA, PA 15044                     CLOSTER, NJ 07624




HEIDI ADDIS                            HEIDI AUBEL                            HEIDI BOETTCHER
1803 WALNUT ST                         10201 S. MAIN STREET                   1614 19TH AVE CT
PERU, IL 61354                         HOUSTON, TX 77025                      MILTON, WA 98354




HEIDI BONILLA DERMER                   HEIDI HAMILL                           HEIDI KAUFMANN
5435 KIAM ST                           10201 S. MAIN STREET                   8411 LIGONIER DR
HOUSTON, TX 77007                      HOUSTON, TX 77025                      CAMBY, IN 46113




HEIDI MCFARLAND                        HEIDI MOWERY                           HEIDI PELLETIER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




HEIDI SOLOMON                          HEIDNER PROPERTY MANAGEMENT            HEIDY MONTANEZ
10201 S. MAIN STREET                   COMPANY, INC.                          10201 S. MAIN STREET
HOUSTON, TX 77025                      5277 TRILLIUM BOULEVARD                HOUSTON, TX 77025
                                       HOFFMAN ESTATES, IL 60192




HEIGHTS PROPERTIES LLC                 HEIN, BROOKE                           HEINRICH BREMER
PO BOX 30661                           12414 NE HASSALO STREET                10201 S. MAIN STREET
TUCSON, AZ 85751                       PORTLAND, OR 97230-2020                HOUSTON, TX 77025




HEITMAN CAPITAL MANAGEMENT LLC         HEITMAT LP                             HELAM HEIMULI
ATTN: PORTFOLIO MANAGER                TONI REITCHMAN, CEO                    10201 S. MAIN STREET
191 N. WACKER DRIVE, SUITE 2500        173 BURNELL PLACE                      HOUSTON, TX 77025
CHICAGO, IL 60606                      DAVIDSON, NC 28036
HELEN ABRAHA             Case 18-12241-CSS     Doc 26
                                        HELEN BADEAUX      Filed 10/05/18    PageHELEN
                                                                                  709 DUONG
                                                                                       of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




HELEN G ROTH REMAINDER TRUST            HELEN SNYDER                             HELIX BUSINESS SOLUTIONS LLC
PO BOX 8187                             10201 S. MAIN STREET                     8700 W TRAIL LAKE DR STE 103
PITTSBURGH, PA 15217                    HOUSTON, TX 77025                        MEMPHIS, TN 38125




HELIX WATER DISTRICT                    HELIX WATER DISTRICT                     HELLER INDUSTRIAL PARKS INC
7811 UNIVERSITY AVENUE                  P.O. BOX 513597                          ATTN: DIANE KONDRACKI
LA MESA, CA 91942                       LOS ANGELES, CA 90051-3597               205 MILL RD
                                                                                 EDISON, NJ 08837-3801




HELLER PROPERTY MANAGEMENT              HELP DESK TECHNOLOGY-INTERNATIONAL       HELPHOPELIVE
JOSH KANTZEN                            CORPORATION                              TWO RADNOR CORPORATE CENTER
625 MT. AUBURN ST., SUITE 210           C/O 1328 NORTH FERDON BLVD, 315          100 MATSONFORD RD STE 100
CAMBRIDGE, MA 02138                     CRESTVIEW, FL 32536-1725                 RADNOR, PA 19087




HEMANT BHATT                            HEMSTREET DEVELOPMENT CORP.              HENDERSON CENTRAL 2002 LP
10201 S. MAIN STREET                    C/O CBRE                                 8235 DOUGLAS AVE STE 720
HOUSTON, TX 77025                       2415 E. CAMELBACK ROAD                   DALLAS, TX 75225
                                        PHOENIX, AZ 85016




HENDERSON CENTRAL 2002 LP               HENDERSON CENTRAL 2002, LP               HENDERSON COUNTY TAX COLLECTOR
C/O VENTURE COMM MGMT LLC               C/O VENTURE COMMERCIAL MANAGEMENT        200 N GROVE ST STE 66
8383 PRESTON CTR PLZ DR STE 330         8235 DOUGLAS AVE, SUITE 720              HENDERSONVILLE, NC 28792-5027
DALLAS, TX 75225                        DALLAS, TX 75225




HENDERSON                               HENDERSONVILLE TAX COLLECTOR             HENDON/ATLANTIC RIM JOHNS CREEK, LLC
ATTN: PROPERTY TAX DEPT.                CITY OF HENDERSONVILLE                   3300 ENTERPRISE PARKWAY
200 N GROVE ST STE 66                   PO BOX 603068                            BEACHWOOD, OH 30353
HENDERSONVILLE, NC 28792-5027           CHARLOTTE, NC 28260-3068




HENDON/ATLANTIC RIM JOHNS CRK           HENDRE ACKERMANN                         HENDRICK THEODULE
DEPT. 101758 20599 4908                 10201 S. MAIN STREET                     10201 S. MAIN STREET
PO BOX 535507                           HOUSTON, TX 77025                        HOUSTON, TX 77025
ATLANTA, GA 30353-5507




HENDRICKS COUNTY TREASURER              HENES CONSTRUCTION INC                   HENNEPIN COUNTY TREASURER
ATTN: PROPERTY TAX DEPT.                100 S MCCLINTOCK                         A 600 GOVERNMENT CENTER
PO BOX 2027                             CHANDLER, AZ 85226                       MINNEAPOLIS, MN 55487-0060
INDIANAPOLIS, IN 46206-2027




HENNING INDUSTRIES LLC                  HENNING STALENGET                        HENRI ERTI
922 N COLORADO ST                       10201 S. MAIN STREET                     10201 S. MAIN STREET
GILBERT, AZ 85233                       HOUSTON, TX 77025                        HOUSTON, TX 77025
HENRICO                 Case   18-12241-CSS     Doc
                                         HENRIETTA   26
                                                   UKWU     Filed 10/05/18     PageHENRY
                                                                                    710 ADDISON
                                                                                         of 1739
ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET                      10201 S. MAIN STREET
PO BOX 3369                              HOUSTON, TX 77025                         HOUSTON, TX 77025
RICHMOND, VA 23228-9769




HENRY ALVAREZ                            HENRY ALVAREZ                             HENRY AMPADU EFFAH
10201 S. MAIN STREET                     10201 S. MAIN STREET                      DBA TIME LINE EXPRESS DELIVERY LLC
HOUSTON, TX 77025                        HOUSTON, TX 77025                         597 WENDLEBURY COURT
                                                                                   ALPHARETTA, GA 30004




HENRY COUNTY BOARD OF                    HENRY COUNTY COMMISSIONER OF              HENRY COUNTY OCCUPATIONAL TAX
COMMISSIONERS                            ROADS AND REVENUES (TAXES)                140 HENRY PARKWAY
110 S ZACK HINTON PKWY                                                             MC DONOUGH, GA 30253-6696
MC DONOUGH, GA 30253




HENRY COUNTY TAX COMMISSIONER            HENRY COUNTY WATER AUTHORITY              HENRY COUNTY WATER AUTHORITY
ATTN: PROPERTY TAX DEPT.                 1695 HIGHWAY 20 WEST                      1695 HIGHWAY 20 WEST
140 HENRY PARKWAY                        MC DONOUGH, GA 30253                      MCDONOUGH, GA 30253-7311
MCDONOUGH, GA 30253




HENRY COUNTY WATER AUTHORITY             HENRY CRUZ                                HENRY DEAN
1695 HWY 20 WEST                         10201 S. MAIN STREET                      10201 S. MAIN STREET
MCDONOUGH, GA 30253                      HOUSTON, TX 77025                         HOUSTON, TX 77025




HENRY DELGADILLO                         HENRY ESQUIVEL                            HENRY FLEISCHMAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




HENRY HOWE                               HENRY HUME                                HENRY K VEALE DBA VEALE INVEST PROP
2500 ANDREA WOODS CV                     10201 S. MAIN STREET                      2800 CLEVELAND AVENUE, #A2
AUSTIN, TX 78744                         HOUSTON, TX 77025                         ATTN: TOM JACKSON
                                                                                   SANTA ROSA, CA 95402




HENRY K VEALE DBA VEALE INVEST PROP      HENRY K VEALE DBA VEALE INVEST PROP       HENRY KETCHUM
ATTN: TOM JACKSON                        PO BOX 1496                               13907 MONTFOR DR 230
2800 CLEVELAND AVENUE, A2                SANTA ROSA, CA 95402-1496                 DALLAS, TX 75240
SANTA ROSA, CA 95402




HENRY LAI                                HENRY MARION                              HENRY MERGENDAHL
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




HENRY MYERS                              HENRY ONEAL                               HENRY PORTER
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025
HENRY RAINFORD           Case 18-12241-CSS     Doc 26
                                        HENRY SAMBOLA      Filed 10/05/18   PageHENRY
                                                                                 711 SAMUELS
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




HENRY SNYDER JR.                        HENRY STURDIVANT                        HENRY WILKENS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




HENRY WILLIAMS                          HENRY ZELAYA                            HENSCHEL AND BEINHAKER PA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    3475 SHERIDAN ST 305
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOLLYWOOD, FL 33021




HENSON DISPOSAL INC                     HENSON DISPOSAL INC                     HENZELO BARNER
705 N EAST ST                           P.O. BOX 1058                           10201 S. MAIN STREET
BLOOMINGTON, IL 61701                   BLOOMINGTON, IL 61702                   HOUSTON, TX 77025




HEP 1660 LLC                            HEP1660 LLC                             HEPHZIBAH CORNISH
ATTN: PAULA AURIT                       ATTN: PAULA AURIT                       10201 S. MAIN STREET
1100 5TH AVE S STE 409                  1100 5TH AVE S STE 409                  HOUSTON, TX 77025
NAPLES, FL 34102                        NAPLES, FL 34102




HERALD DEMOCRAT                         HERALD JOURNAL                          HERALD MAIL MEDIA
PO BOX 32029                            PO BOX 102930                           PAYMENT PROCESSING CENTER
LAKELAND, FL 33802                      ATLANTA, GA 30368-2930                  PO BOX 439
                                                                                HAGERSTOWN, MD 21741




HERALD MAIL MEDIA                       HERALD-CITIZEN COOKEVILLE               HERBERT ESSIEN
PO BOX 439                              NEWSPAPERS INC                          10201 S. MAIN STREET
HAGERSTOWN, MD 21741                    PO BOX 2729                             HOUSTON, TX 77025
                                        COOKEVILLE, TN 38502-2729




HERCULES DELIVERY & MOVING              HERIBERTO RAMIREZ                       HERIBERTO TORRES
2400 W 8 LANE BAY A                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HIALEAH, FL 33010                       HOUSTON, TX 77025                       HOUSTON, TX 77025




HERITAGE HOME GROUP LLC                 HERMAN BAKER                            HERMAN DELAHOZ
PO BOX 842386                           17066 HWY 105                           10201 S. MAIN STREET
BOSTON, MA 02284                        WASHINGTON, TX 77880                    HOUSTON, TX 77025




HERMAN LUBCHER PROPERTIES, LLC          HERMAN LUBCHER PROPERTIES, LLC          HERMAN LUBCHER PROPERTIES, LLC
2 MEADOW ROAD                           ATTN: WILLIAM DAVIS                     C/O JUDY LUBCHER
ATTN: WILLIAM DAVIS                     2 MEADOW ROAD                           2 MEADOW RD
BALTIMORE, MD 21212                     BALTIMORE, MD 21212                     BALTIMORE, MD 21212
HERMAN MCDONALD          Case 18-12241-CSS
                                        HERMESDoc 26
                                              LAW PC        Filed 10/05/18   PageHERMINIA
                                                                                  712 of OROZCO
                                                                                          1739
10201 S. MAIN STREET                    2001 N LAMAR STE 450                     10201 S. MAIN STREET
HOUSTON, TX 77025                       DALLAS, TX 75202                         HOUSTON, TX 77025




HERNAN MOSQUERA                         HERNANDO CNTY UTILITIES DEPT             HERNANDO CNTY UTILITIES DEPT
10201 S. MAIN STREET                    15365 CORTEZ BLVD                        P.O. BOX 30384
HOUSTON, TX 77025                       BROOKSVILLE, FL 34613                    TAMPA, FL 33630-3384




HERNANDO COUNTY PROPERTY APPRAISER      HERNANDO COUNTY TAX COLLECTOR            HERNANDO COUNTY UTILITIES
7525 FOREST OAKS BLVD.                  20 N MAIN ST ROOM 112                    P.O. BOX 30384
SPRING HILL, FL 34606                   BROOKSVILLE, FL 34601-2892               TAMPA, FL 33630-3384




HERNANDO FIRE & SAFETY EQUIPMENTCO.,    HERNANDO                                 HERNANI ALVES
INC.                                    ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET
1109 PONCE DE LEON BLVD.                201 HOWELL AVENUE, SUITE 300             HOUSTON, TX 77025
BROOKSVILLE, FL 34601                   BROOKSVILLE, FL 34601-2892




HERODE CHARITE                          HERRON VALLEY INC                        HERSCHEL SLAUGHTER
10201 S. MAIN STREET                    P.O. BOX 216                             10201 S. MAIN STREET
HOUSTON, TX 77025                       EVERSON, WA 98247                        HOUSTON, TX 77025




HERSHEY MARKET LLC                      HERSHEY MARKET LLC                       HERSHEY MARKET LLC
73-4706 KOHANAIKI RD                    C/O LATIPAC PROPERTY MANAGEMENT INC.     C/O LATIPAC PROPERTY MANAGEMENT INC.
KAILUA KONA, HI 96740                   P.O. BOX 162304                          PO BOX 162304
                                        AUSTIN, TX 78716                         AUSTIN, TX 78716




HERSHEY SQUARE 2014 L.P.                HERSHEY SQUARE 2014, LP                  HERSHNER HUNTER LLP
PO BOX 789615                           C/O HEIDENBERG PROPERTIES                180 EAST 11TH AVE
PHILADELPHIA, PA 19178-9615             234 CLOSTER DOCK ROAD                    EUGENE, OR 97401
                                        ATTN: ROBERT HEIDENBERG
                                        CLOSTER, NJ 07624



HERTZ CORPORATION                       HEUBEL MATERIAL HANDLING INC             HEWELL ENTERPRISES LLC DBA
PO BOX 121056                           PO BOX 870975                            ALPHAGRAPHICS 376
DALLAS, TX 75312                        KANSAS CITY, MO 64187-0975               2722 N JOSEY LN SUITE 100
                                                                                 CARROLLTON, TX 75007




HEWITT ASSOCIATES LLC                   HEWLETT PACKARD CO                       HEWLETT PACKARD FINANCIAL SERVICES
PO BOX 95135                            8000 FOOTHILLS BLVD MS5509               CO
CHICAGO, IL 60694-5135                  ROSEVILLE, CA 95747                      PO BOX 402582
                                                                                 ATLANTA, GA 30384




HEYNER ARANGO                           HEYWARD FAMILY BUSINESS, LP              HEYWARD FAMILY BUSINESS, LP
10201 S. MAIN STREET                    1 VENEZIA                                ATTN: JIM HEYWARD
HOUSTON, TX 77025                       ATTN: JIM HEYWARD                        1 VENEZIA
                                        NEWPORT COAST, CA 92657                  NEWPORT COAST, CA 92657
HEYWARD HAMMERSLEY       Case 18-12241-CSS     Doc 26 CENTER
                                        HFC COLLECTION  FiledINC
                                                               10/05/18       PageHGA
                                                                                   713  ofLLC
                                                                                      ANZ  1739
10201 S. MAIN STREET                     ROLFE & LOBELLO P.A.                     4308 INSHORE COVE
HOUSTON, TX 77025                        PO BOX 4400                              AUSTIN, TX 78730
                                         JACKSONVILLE, FL 32201-4400




HGR PROPERTIES LLC                       HGREIT II EDMONDSON RD LLC               HGREIT II EDMONDSON ROAD LLC
C/O ELEANOR SIEGAL                       2800 POST OAK BLVD STE 4800              PO BOX 733538
139 WILLOW RIDGE RD                      HOUSTON, TX 77056                        DALLAS, TX 75373-3538
SEWICKLEY, PA 15143




HGREIT II EDMONSON ROAD LLC              HH CONYERS CROSSROADS LLC                HHH MANAGEMENT, INC.
C/O HINES INTERESTS LIMITED              HENDON PROPERTIES                        2214 W ATLANTIC AVENUE
PARTNERSHIP                              3445 PEACHTREE RD NE STE 465             DELRAY BEACH, FL 33445
201 EAST FIFTH STREET, SUITE 1300        ATLANTA, GA 30326
CINCINNATI, OH 45202



HHH PROPERTIES CORP.                     HI DESERT ALARM                          HI KEMP PLUMBING HEATING & COOLING INC
4001 WILLIAMSBURG COURT                  16637 MOJAVE DR                          2500 E M-21 STE C
FAIRFAX, VA 22032                        VICTORVILLE, CA 92395                    CORUNNA, MI 48817




HIALEAH FEE COMMONS LTD                  HIALEAH FEE COMMONS LTD                  HIALEAH FIRE DEPARTMENT
1800 SUNSET HARBOUR DRIVE, SUITE #2      1800 SUNSET HARBOUR DRIVE, SUITE 2       83 E. 5TH STREET, 2ND FLOOR
MIAMI BEACH, FL 33139                    MIAMI BEACH, FL 33139                    HIALEAH, FL 33010




HIBU INC                                 HIBU INC                                 HICKORY 72 LLC
210 RXR PLAZA                            PO BOX 660052                            8937 DE SOTO AVE STE 200
UNIONDALE, NY 11556                      DALLAS, TX 75266-0052                    CANOGA PARK, CA 91304




HICKORY 72 LLC                           HICKORY 72 LLC                           HICKORY 72, LLC
NAI NP DODGE                             NAI NP DODGE                             C/O NP DODGE MANAGEMENT
8701 W DODGE RD 200                      8701 W DODGE RD STE 200                  8701 W DODGE RD #200
OMAHA, NE 68114                          OMAHA, NE 68114                          OMAHA, NE 68114




HICKORY NC (2115 US HWY 70 SE) LLC       HICKORY SPRINGS MFG CO                   HICKORYTECH CORPORATION
1400 16TH ST STE 300                     PO BOX 9237                              P.O. BOX 3188
OAK BROOK, IL 60523                      HICKORY, NC 28603-9237                   MILWAUKEE, WI 53201-3188




HICKS THOMAS LLP                         HICKSVILLE WATER DISTRICT                HICKSVILLE WATER DISTRICT
700 LOUISIANA STE 2000                   4 DEAN STREET                            P.O. BOX 9064
HOUSTON, TX 77002                        HICKSVILLE, NY 11801                     HICKSVILLE, NY 11802-9064




HICO HELIUM & BALLONS                    HIDAY AND RICKE PA                       HIEMPLOYMENT
2642 ANDJON DR                           PO BOX 550858                            745 FORT ST -PENTHOUSE STE 124
DALLAS, TX 75220                         JACKSONVILLE, FL 32255                   HONOLULU, HI 96813
                        Case 18-12241-CSS
HIGH CAPACITY LEADERS, LLC.                    Doc 26
                                        HIGH COUNTRY      Filed
                                                      MEDIA      10/05/18
                                                            LLC- DBA MOUNTAIN PageHIGH
                                                                                   714NOB
                                                                                        of GALLERIA
                                                                                           1739 LLC
11175 CICERO DRIVE, BLDG 200, SUITE 100 TIMES PUBLICATIONS                        C/O COLLETT & ASSOCIATES
ALPHARETTA, GA 30022                    PO BOX 1815                               PO BOX 36799
                                        BOONE, NC 28607                           CHARLOTTE, NC 28236




HIGH NOB-GALLERIA, LLC                   HIGH NOB-GALLERIA, LLC                   HIGH POINT ENTERPRISE
C/O COLLETT & ASSOCIATES                 C/O COLLETT & ASSOCIATES                 C/O PAXTON MEDIA GROUP
1111 METROPOLITAN AVENUE. SUITE 700      PO BOX 36799                             PO BOX 1200
CHARLOTTE, NC 28204-3424                 CHARLOTTE, NC 28236                      PADUCAH, KY 42002-1200




HIGH POINTE COMMONS HOLDING LP           HIGH POINTE COMMONS HOLDING LP           HIGH POINTE COMMONS HOLDING, LP
BENNETT WILLIAMS COMMERCIAL              C/O UNISON REALTY PARTNERS               C/O UNISON REALTY PARTNERS
3528 CONCORD RD                          177 HUNTINGTON AVENUE, SUITE 1901        177 HUNTINGTON AVENUE, SUITE 1901
YORK, PA 17402                           ATTN: WENDY CRONIN                       ATTN: WENDY CRONIN
                                         BOSTON, MA 02115                         BOSTON, MA 02115



HIGH RIDGE PLAZA LLC                     HIGH RIDGE PLAZA, LLC                    HIGH RIDGE PLAZA, LLC
6458 MAIN ST                             6458 MAIN ST                             6458 MAIN STREET
MANCHESTER CENTER, VT 05255              MANCHESTER CENTER, VT 05255              MANCHESTER CENTER, VT 05255




HIGHBRIDGE DEVELOPMENT BR LLC            HIGHBRIDGE DEVELOPMENT BR LLC            HIGHBRIDGE DEVELOPMENT BR, LLC
TRG PROPERTY MANAGEMENT LLC              TRG PROPERTY MANAGEMENT LLC              C/O TRG PROPERTY MANAGEMENT, LLC
18 COMPUTER DRIVE EAST , SUITE 201       18 COMPUTER DRIVE EAST, SUITE 201        18 COMPUTER DRIVE EAST , SUITE 201
ALBANY, NY 12205                         ALBANY, NY 12205                         ALBANY, NY 12205




HIGHLAND COMMERCIAL CONSTRUCTION         HIGHLAND COMMONS ASSOCIATES LLC          HIGHLAND COMMONS ASSOCIATES LLC
INC                                      7978 COOPER CREEK BOULEVARD, SUITE       PO BOX 823201
909 S CAUSEWAY BLVD                      100                                      PHILADELPHIA, PA 19182
JEFFERSON, LA 70121                      UNIVERSITY PARK, FL 34201




HIGHLAND COMMONS ASSOCIATES, LLC         HIGHLAND FIRE PROTECTION CO              HIGHLAND HEIGHTS FIRE DEPT
7978 COOPER CREEK BOULEVARD, SUITE       PO BOX 5                                 5827 HIGHLAND RD
#100                                     ANNA, TX 75409                           HIGHLAND HEIGHTS, OH 44143
UNIVERSITY PARK, FL 34201




HIGHLAND PROPERTY MGMT LLC               HIGHLAND RAMBLEWOOD, LLC                 HIGHLAND RANCH TOWN CENTER
PO BOX 677928                            C/O NATIONAL SHOPPING PLAZAS, INC.       DBA HRTC I LLC
DALLAS, TX 75267-7928                    200 WEST MADISON STREET, SUITE 4200      130 VANTIS STE 200
                                         CHICAGO, IL 60606-3465                   ALISO VIEJO, CA 92656




HIGHLAND SA / SAN PEDRO LTD.             HIGHLAND SEWER & WATER AUTH              HIGHLAND SEWER & WATER AUTH
211 E 7TH STREET STE709                  120 TANK DR                              120 TANK DR
AUSTIN, TX 78701                         JOHNSTOWN, PA 15904                      JOHNSTOWN, PA 15904-3252




HIGHLAND SEWER & WATER AUTHORITY         HIGHLANDER HOLDINGS, LLC & FIFTY-ONE     HIGHLANDS 501 (C) (25) INC
120 TANK DR                              GLEN EYRIE, LP                           P.O. BOX 730468
JOHNSTOWN, PA 15904-3252                 C/O OUTRIGGER INVESTMENT GROUP           DALLAS, TX 75373-0468
                                         6145 E. SHENANDOAH AVENUE
                                         ATTN: DUFF ARMSTRONG
                                         ORANGE, CA 92867
HIGHLANDS 501(C)(25), INC.Case    18-12241-CSS     DocAT26
                                            HIGHLANDS        Filed 10/05/18
                                                         SUGARLOAF               PageHIGHLANDS
                                                                                      715 of 1739
                                                                                               CENTER  LLC
C/O RREEF                                    1796 SATELLITE BLVD                     420 CLOCK TOWER COMMONS
200 CRESCENT COURT, SUITE 560                DULUTH, GA 30305                        BREWSTER, NY 10509
DALLAS, TX 75201




HIGHLANDS CENTER, LLC                        HIGHLANDS COUNTY TAX COLLECTOR          HIGHLANDS III RETAIL LLC
420 CLOCK TOWER COMMONS                      540 S COMMERCE AVE                      1111 E TOUHY STE 230
BREWSTER, NY 10509                           SEBRING, FL 33870-3867                  DES PLAINES, IL 60018




HIGHLANDS REIT INC                           HIGHLANDS REIT INC                      HIGHLANDS STATION LLC
332 S MICHIGAN AVENUE                        DALLAS, TX 75267-7934                   PO BOX 856949
9TH FL                                       DALLAS, TX 75267-7934                   MINNEAPOLIS, MN 55485-6949
CHICAGO, IL 60604




HIGHLANDS STATIONS LLC                       HIGHLANDS STATIONS LLC                  HIGHLANDS
C/O THE PHILLIPS EDISON GROUP LLC            C/O THE PHILLIPS EDISON GROUP LLC       ATTN: PROPERTY TAX DEPT.
11501 NORTHLAKE DRIVE                        11501 NORTHLAKE DRIVE                   540 S COMMERCE AVE
ATTN: ROBERT F. MYERS, COO                   LEASE ADMINISTRATION DEPARTMENT         SEBRING, FL 33870-3867
CINCINNATI, OH 45249                         CINCINNATI, OH 45249



HIGHLINE HH LTD                              HIGHLINE HH LTD                         HIGHLINE HH LTD
300 CRESCENT COURT STE 1113                  500 WEST 5TH ST STE 700                 ENDEAVOR REAL ESTATE GROUP
DALLAS, TX 75201                             AUSTIN, TX 78701                        500 W 5TH ST STE 700
                                                                                     AUSTIN, TX 78701




HIGHLINE MIDLAND LOOP 250 LTD                HIGHLINE MIDLAND LOOP 250, LTD.         HIGHLINE MIDLAND LOOP 250, LTD.
3131 TURTLE CREEK BLVD STE 850               300 CRESCENT COURT, SUITE 1113          ATTN: BRIAN LENT
DALLAS, TX 75219                             ATTN: BRIAN LENT                        300 CRESCENT COURT, SUITE 1113
                                             DALLAS, TX 75201                        DALLAS, TX 75201




HIGHSTREET IT SOLUTIONS LLC                  HIGHSTREET IT SOLUTIONS LLC             HIGHTECH SIGNS
8480 E ORCHARD RD STE 6200                   CNS OPERATING ACCOUNT                   1111 COMMERCE DR
GREENWOOD VILLAGE, CO 80111                  PO BOX 679091                           RICHARDSON, TX 75081
                                             DALLAS, TX 75267




HIGH-TECH-TONICS INC                         HIGHTOWER & PARTNERS PA                 HIGHWAY 6 INTEREST LLC
PO BOX 271493                                4770 BISCAYNE BLVD STE 1200             ATTN: ALBERT RATHMELL
OKLAHOMA CITY, OK 73137                      MIAMI, FL 33137                         720 N. POST OAK ROAD, SUITE 350
                                                                                     HOUSTON, TX 77024




HIGHWAY 6 INTERESTS, LLC                     HIGHWAY 74 HOLDINGS LLC                 HIGHWAY ENTERPRISE INC
720 N. POST OAK ROAD, SUITE 350              ONYX MGMT GROUP LLC                     350 RTE 46
ALBERT RATHMELL                              PO BOX 13519 SITE W                     ROCKAWAY, NJ 07866
HOUSTON, TX 77024                            PHILADELPHIA, PA 19101




HILARIO LARRY VILLANUEVA                     HILARY BARTLETT                         HILARY DABNEY
                                             10201 S. MAIN STREET                    4961 N WOODBURN ST
                                             HOUSTON, TX 77025                       WHITEFISH BAY, WI 53217
HILARY MURPHY          Case 18-12241-CSS     Doc 26
                                      HILARY NICHOLAS     Filed 10/05/18   PageHILARY
                                                                                716 of  1739
                                                                                      PAPALEO
10201 S. MAIN STREET                   4400 KINGSWELL AVE                      10201 S. MAIN STREET
HOUSTON, TX 77025                      LOS ANGELES, CA 90027                   HOUSTON, TX 77025




HILARY PAPALEO                         HILCO VALUATION SERVICE LLC             HILDING KIPNIS LYON & KELLY
10201 S. MAIN STREET                   25285 NETWORK PLACE                     ATTN: MICHAEL E. LYON, ESQ.
HOUSTON, TX 77025                      CHICAGO, IL 60673-1252                  11975 EL CAMINO REAL, SUITE 200
                                                                               SAN DIEGO, CA 92130




HILL & HESS PC DBA ADAMS HILL & HESS   HILL COUNTRY TEXAS GALLERIA LLC         HILL COUNTRY TEXAS GALLERIA LLC
339 WASHINGTON ST SE                   400 CENTRE STREET                       PO BOX 846177
SALEM, OR 97302                        NEWTON, MA 02458                        BOSTON, MA 02284




HILL DUCLOUX CARNES & DE LA GARZA      HILLARY HUTCHINSON                      HILLARY MOSS
ATTN: H. ALLEN HILL, JR., ESQ.         10201 S. MAIN STREET                    10201 S. MAIN STREET
400 W. 15TH STREET, SUITE 808          HOUSTON, TX 77025                       HOUSTON, TX 77025
AUSTIN, TX 78701




HILLARY THOMPSON                       HILLCREST PLAZA 1998 LLC                HILLCREST PLAZA 1998 LLC
10201 S. MAIN STREET                   1720 S. BELLAIRE ST.                    NW 5 635
HOUSTON, TX 77025                      DENVER, CO 80222                        P.O. BOX 1450
                                                                               MINNEAPOLIS, MN 55485-5635




HILLS SOUTH WHITEVILLE SHOPPING        HILLS SOUTH WHITEVILLE VILLAGE          HILLSBORO PARTNERS LLC
CENTER LLC                             SHOPPING CENTER, LLC                    PO BOX 783902
1622 S MADISON STREET                  1622 S. MADISON STREET                  PHILADELPHIA, PA 19178-3902
PO BOX 723                             P.O. BOX 723
WHITEVILLE, NC 28472                   WHITEVILLE, NC 28472



HILLSBOROUGH CO PUBL UTIL DEPT         HILLSBOROUGH CO PUBL UTIL DEPT          HILLSBOROUGH COUNTY PUBLIC UTILITIES
925 E TWIGGS ST                        P.O. BOX 342456                         DEPT
TAMPA, FL 33602                        TAMPA, FL 33694-2456                    PO BOX 342456
                                                                               TAMPA, FL 33694-2456




HILLSBOROUGH COUNTY TAX COLLECTOR      HILLSBOROUGH COUNTY TAX COLLECTOR       HILLSBOROUGH COUNTY
ATTN: PROPERTY TAX DEPT.               ATTN: PROPERTY TAX DEPT.                OFFICE OF THE FIRE MARSHAL
PO BOX 30012                           PO BOX 30012                            P.O. BOX 310398
TAMPA, FL 33630                        TAMPA, FL 33630-3012                    TAMPA, FL 36680




HILLSBOROUGH COUNTY-FIRE RESCUE        HILLSBOROUGH FIRE EQUIPMENT LLC         HILLSBOROUGH PARTNERS, LLC
                                       PO BOX 4542                             C/O KIMCO REALTY CORPORATION
                                       BRANDON, FL 33509-4542                  3333 NEW HYDE PARK ROAD, SUITE 100
                                                                               NEW HYDE PARK, NY 11042




HILLSBOROUGH TOWNSHIP BOARD OF         HILLSDALE FURNITURE LLC                 HILLSDALE FURNITURE LLC
FIRE COMMISSIONERS                     3416 MOMENTUM PLACE                     3901 BISHOP LN
BUREAU OF FIRE SAFETY                  CHICAGO, IL 60689-5334                  LOUISVILLE, KY 40218
379 S BRANCH RD
HILLSBOROUGH TOWNSHIP, NJ 08844
HILLSDALE                Case 18-12241-CSS
                                        HILLTOPDoc 26INCFiled 10/05/18
                                               ALARMS                             PageHILLTOP-COPELAND
                                                                                       717 of 1739 ASSOCIATES L.P.
DEPT 10419                               PO BOX 17363                                 168 BUSINESS PARK DR STE 200
PO BOX 87618                             ANAHEIM, CA 92817                            VIRGINIA BEACH, VA 23462
CHICAGO, IL 60680-0618




HILLTOWN CROSSINGS LP                    HILLTOWN CROSSINGS LP                        HILLTOWN CROSSINGS LP
120 WEST GERMANTOWN PIKE, SUITE 120      C/O WOLFSON GROUP INC                        C/O WOLFSON GROUP INCORPORATED
PLYMOUTH MEETING, PA 19462               120 WEST GERMANTOWN PIKE, SUITE 120          120 WEST GERMANTOWN PIKE, STE 120
                                         PLYMOUTH MEETING, PA 19462                   PLYMOUTH MEETING, PA 19462




HILO AIR A/C & REFRIGERATION LLC         HILO EQUIPMENT & SERVICES LLC                HILO HOLDINGS LLC
1611 KILIKINA ST                         845 SOUTH 1ST ST                             74 5617 PAWAI PL 207
HILO, HI 96720                           RONKONKOMA, NY 11779                         KAILUA KONA, HI 96740




HILO HOLDINGS, LLC                       HILO MAINTENANCE SYSTEMS                     HILO MATERIALS HANDLING GROUP
78-7234 PUULOA ROAD                      HILO MATERIALS HANDLING GROUP                345 OSER AVE
KAILUA-KONA, HI 96740                    345 OSER AVE                                 HAUPPAUGE, NY 11788
                                         HAUPPAUGE, NY 11788




HILVER ALVAREZ                           HINCKLEY SPRING WATER                        HINCKLEY SPRING WATER
10201 S. MAIN STREET                     5660 NEW NORTHSIDE DR STE 500                P.O. BOX 660579
HOUSTON, TX 77025                        ATLANTA, GA 30328                            DALLAS, TX 75266




HINDS BANNER, LLC                        HINDS INVESTORS, LTD.                        HINDS INVESTORS, LTD.
ATTN: JAY FOSTER                         1800 AUGUSTA, SUITE 370                      ATTN: JAY FOSTER
1800 AUGUSTA STE 370                     ATTN: JAY FOSTER                             1800 AUGUSTA STE 370
HOUSTON, TX 77057                        HOUSTON, TX 77057                            HOUSTON, TX 77057




HINES GLOBAL REIT 4875 TOWN CTR LLC      HINES GLOBAL REIT 4875 TOWN CTR LLC          HINES GLOBAL REIT 4875 TOWN CTR LLC
2800 POST OAK BLVD, STE 5000             800 MOUNT VERNON HWY STE 410                 PO BOX 742632
HOUSTON, TX 77056                        SANDY SPRINGS, GA 30328                      ATLANTA, GA 30374




HINES GLOBAL REIT II PROPERTIES LP       HINES GLOBAL REIT II PROPERTIES LP           HINES GLOBAL REIT PROPERTIES LP
2800 POST OAK BLVD, STE 5000             DBA HINES GLOBAL REIT SAN ANTONIO            DBA HINES GLOBAL REIT SAN ANTONIO
HOUSTON, TX 77056                        RETAIL I LP                                  RETAIL I LP
                                         2800 POST OAK BLVD STE 4800                  2800 POST OAK BLVD STE 4800
                                         HOUSTON, TX 77056                            HOUSTON, TX 77056



HINES GLOBAL REIT SAN ANTONIO RETAIL I   HINES GLOBAL REIT SAN ANTONIO RETAIL I       HINES GLOBAL REIT SAN ANTONIO RETAIL I
LP                                       LP                                           LP
2800 POST OAK BLVD, STE 5000             2800 POST OAK BOULEVARD, SUITE 4800          C/O HINES
HOUSTON, TX 77056                        HOUSTON, TX 77056                            2800 POST OAK BOULEVARD, SUITE 4800
                                                                                      ATTN: KENTON MCKEEHAN
                                                                                      HOUSTON, TX 77056


HINES GLOBAL REIT SAN ANTONIO RETAIL I   HINES GLOBAL REIT SAN ANTONIO RETAIL I       HINES GLOBAL REIT SAN ANTONIO RETAIL I
LP                                       LP                                           LP
DBA HINES GLOBAL REIT SAN ANTONIO        P.O. BOX 847895                              PO BOX 847895
RETAIL I LP                              DALLAS, TX 75284                             DALLAS, TX 75284
2800 POST OAK BLVD STE 4800
ATTN: KENTON MCKEEHAN
HOUSTON, TX 77056
                       Case RETAIL
HINES GLOBAL REIT SAN ANTONIO 18-12241-CSS
                                   I            Doc 26 LIMITED
                                        HINES INTERESTS    FiledPARTNERSHIP
                                                                 10/05/18     PageHINES
                                                                                   718PALENCIA
                                                                                        of 1739PROPERTY MANAGEMENT,
LP                                      ATTN: THOMAS J. DANILEK                   LLC
PO BOX 847895                           1 SOUTH DEARBORN STREET, SUITE 2000       605 PALENCIA DRIVE
DALLAS, TX 75284-7895                   CHICAGO, IL 60603                         ST. AUGUSTINE, FL 32095




HINES                                   HING PROPERTIES INC                       HING PROPERTIES, INC.
ATTN: KENTON MCKEEHAN                   INDIAN BEND & HAYDEN STORE                6609 N. SCOTTSDALE ROAD, SUITE 202
2800 POST OAK BOULEVARD, SUITE 4800     6609 N SCOTTSDALE RD STE 202              SCOTTSDALE, AZ 85250
HOUSTON, TX 77056                       SCOTTSDALE, AZ 85250




HINGHAM LAUNCH PROPERTY LLC             HINGHAM LAUNCH PROPERTY LLC               HINGHAM LAUNCH PROPERTY LLC
C/O SAMUELS & ASSOCAITES                HINGHAM LAUNCH HOLDINGS LLC               P.O. BOX 310177
136 BROOKLINE AVENUE                    PO BOX 310300                             DES MOINES, IA 50331
BOSTON, MA 02215                        DES MOINES, IA 50331-0300




HINGHAM LAUNCH PROPERTY LLC             HINGHAM MUNIE LIGHTING PLANT              HINKLE CHAIR COMPANY
PO BOX 310300                           P.O. BOX 4132                             PO BOX 410
DES MOINES, IA 50331                    WOBURN, MA 01888-4132                     SPRINGFIELD, TN 37172




HINSHAW & CULBERTSON LLP                HINSHAW & CULBERTSON LLP                  HINTZ TRUCKING
222 N LASALLE ST STE 300                8142 SOLUTIONS CENTER DR                  8524 FLAVIA HAVEN
CHICAGO, IL 60601                       CHICAGO, IL 60677-8001                    TOLLESON, AZ 85353




HIP GRESHAM STATION, LLC                HIRAM MARTIN                              HIRAM MARTIN
C/O HARSCH INVESTMENT PROPERTIES        10201 S. MAIN STREET                      10201 S. MAIN STREET
ATTN: SCOTT ANDERSON                    HOUSTON, TX 77025                         HOUSTON, TX 77025
1430 SW BROADWAY, SUITE 100
PORTLAND, OR 97201



HIRE AMERICAS HEROES                    HIRE DYNAMICS                             HIRE QUEST LLC
1901 JEFFERSON AVE STE 214                                                        DBA TROJAN LABOR
TACOMA, WA 98402                                                                  4560 GREAT OAK DRIVE
                                                                                  NORTH CHARLESTON, SC 29418




HIRE QUEST LLC                          HIRELIVE INC                              HIREVUE INC
DBA TROJAN LABOR                        27651 LA PAZ RD STE 100                   10876 S RIVER FRONT PKWY STE 600
PO BOX 890714                           LAGUNA NIGUEL, CA 92677                   SOUTH JORDAN, UT 84095
CHARLOTTE, NC 28289




HIREVUE INC                             HIRSCH & WESTHEIMER PC                    HITACHI CAPITAL AMERICA CORP
DEPT LA 24135                           1415 LOUISIANA STREET, 36TH FLOOR         21925 NETWORK PLACE
PASADENA, CA 91185-4135                 WEDGE INTERNATIONAL TOWER                 CHICAGO, IL 60673-1219
                                        ATTN: BRADLEY E. RAUCH, ESQ.
                                        HOUSTON, TX 77002



HITACHI CAPITAL AMERICA CORP            HITECH INTEGRATED SOLUTIONS               HI-TECH SECURITY SERVICES INC
RIVERPARK                               3845 CYPRESS CREEK PKWY STE 450           PO BOX 428
800 CONNECTICUT AVE                     HOUSTON, TX 77068                         SUFFERN, NY 10901
NORWALK, CT 06854
HITESHKUNAR PATEL        Case 18-12241-CSS     Doc 26
                                        HIXSON UTILITY     Filed 10/05/18
                                                       DISTRICT                PageHIXSON
                                                                                    719 of  1739DISTRICT
                                                                                          UTILITY
10201 S. MAIN STREET                      5201 HIXSON PIKE                         P.O. BOX 1598
HOUSTON, TX 77025                         HIXSON, TN 37343                         HIXSON, TN 37343-5598




HJ FAISON & WJ BRANSTROM III PTR          HJ MESA LLC                              HJ MOHR & SONS CO
DBA MFW ASSOCIATES                        TRIGILD                                  915 S MAPLE AVE
610 E MOREHEAD ST STE 100                 9339 GENESEE AVE STE 130                 OAK PARK, IL 60304
CHARLOTTE, NC 28202                       SAN DIEGO, CA 92121




HJ RED MOUNTAIN LLC                       HJV LIMITED PARTNERSHIP                  HK BASHI/KLIM MANAGEMENT
C/O JAKOSKY PROP                          10960 JOHN WAYNE DR                      317 WEST PORTAL AVENUE, SUITE 263
503 32ND ST STE 200                       GREEN CASTLE, PA 17225                   SAN FRANCISCO, CA 94127
NEWPORT BEACH, CA 92663




HK SOUTHPOINT LLC                         HK SOUTHPOINT LLC                        HK SOUTHPOINT, LLC
949 ORCHARD AVE                           UNION BANK & TRUST CO NICK NASH          949 ORCHARD AVE
MOSCOW, ID 83843                          11460 TOMAHAWK CREEK PKWY 120            MOSCOW, ID 83843
                                          LEAWOOD, KS 66211




HKJV LLC                                  HKJV, LLC                                HM&L COMPANY LP
PO BOX 782098                             C/O METRO COMMERCIAL MANAGEMENT          C/O EQUITABLE TRUST COMPANY
PHILADELPHIA, PA 19178-2098               SERVICES, INC.                           4400 HARDING PIKE STE 310
                                          303 FELLOWSHIP ROAD, SUITE 202           NASHVILLE, TN 37205
                                          MT. LAUREL, NJ 08054



HMC LEWISVILLE TC LLC                     HMC LEWISVILLE TC LLC                    HMC LEWISVILLE TC, LLC
4770 STATE HIGHWAY 121                    LEWISVILLE TOWN CROSSING                 ATTN: ANNA CORSON
THE COLONY, TX 75056                      PO BOX 82552-GRY001                      8080 PARK LANE SUITE 800
                                          GOLETA, CA 93118-2552                    DALLAS, TX 75231




HMC LEWISVILLE TC, LLC                    HMRT/CSIM-COLLIER LLC                    HOBBS OVERHEAD DOORS
LEWISVILLE TOWN CROSSING                  C/O WALNUT CAPITAL MANAGEMENT INC.       4745 W 135TH STREET
PO BOX 82552-GRY001                       5500 WALNUT STREET, SUITE 300            CRESTWOOD, IL 60445
GOLETA, CA 93118-2552                     ATTN: TODD E. REIDBORD
                                          PITTSBURGH, PA 15232



HOBOKEN WATER SERVICES                    HOCHMAN HAWAII FOUR INC                  HOCHMAN HAWAII MEDIA
P.O. BOX 371804                           KJMQ-FM                                  KJMQ-FM
PITTSBURGH, PA 15250-7804                 300 OHUKAI RD STE B-318                  300 OHUKAI RD STE B-318
                                          WAILUKU, HI 96793                        KIHEI, HI 96793




HOCON GAS GUILFORD                        HODARI JACOBS-EL                         HODAVIAH WINKFIELD
736 BOSTON POST ROAD                      10201 S. MAIN STREET                     10201 S. MAIN STREET
GUILFORD, CT 06437                        HOUSTON, TX 77025                        HOUSTON, TX 77025




HODGES TRAILS AT 620 LLC                  HODGES TRAILS AT 620 LLC                 HODGES TRAILS AT 620 PHASE II LLC
1 RIVERWAY                                C/O WEITZMAN                             5121 BEE CAVE RD STE 207
HOUSTON, TX 77056                         PO BOX 205453                            AUSTIN, TX 78746
                                          DALLAS, TX 75320-5453
                       Case
HODGES TRAILS AT 620 PHASE     18-12241-CSS
                           LL LLC        HODGESDoc    26AT 620
                                                 TRAILS     Filed 10/05/18
                                                               PHASE LL LLC-9033   PageHODGES
                                                                                        720 ofTRAILS
                                                                                               1739AT 620, LLC
1701 DIRECTORS BLVD                      C/O WEITZMAN                                  1 RIVERWAY, SUITE 1700
AUSTIN, TX 78744                         PO BOX 660394                                 HOUSTON, TX 77056
                                         DALLAS, TX 75266-0394




HODGES TRAILS AT 620, LLC                 HOFFER FURNITURE RENTAL INC                  HOFFMAN COMMERICAL REAL ESTATE
C/O THE WEITZMAN GROUP                    8100 WESTPARK DR                             MELISSA VANDABLE
4200 N. LAMAR BLVD., SUITE 200            HOUSTON, TX 77063                            8000 MARYLAND AVENUE, SUITE 1120
AUSTIN, TX 78756                                                                       ST. LOUIS, MO 63105




HOFFMAN INVESTMENT PARTNERS, LLC          HOFFMAN, CHRISTOPHER                         HOFFMAN, MARC
ATTN: RODGER FOLEY                        21 MARION ST                                 286 ANITA TERRANCE #201
P.O. BOX 3580                             LYNBROOK, NY 11563-4216                      ANTIOCH, IL 60002-2429
STAMFORD, CT 06905




HOG RADIO INC                             HOG RADIO INC                                HOG95
KAKS KCYT KFMD                            PO BOX 191                                   13356 METCALF AVE
2704 AMERICAN ST                          BERRYVILLE, AR 72616                         OVERLAND PARK, KS 66213
SPRINGDALE, AR 72764




HOGAN REAL ESTATE COMPANY                 HOGAN REAL ESTATE COMPANY                    HOGAN REAL ESTATE COMPANY
9300 SHELBYVILLE RD                       AS AGENT 5218 FREDERICA STREET KY LLC        AS AGENT 5218 FREDERICA STREET KY LLC
STE 1300                                  9300 SHELBYVILLE RD STE 1300                 9300 SHELBYVILLE ROAD SUITE 1300
LOUISVILLE, KY 40222                      LOUISVILLE, KY 40222                         LOUISVILLE, KY 40222




HOGAN REAL ESTATE, AS AGENT 5218          HOHOKAM IRRIGATION                           HOHOKAM IRRIGATION
FREDERICA STREET KY LLC                   142 S ARIZONA BLVD                           142 S ARIZONA BLVD
9300 SHELBYVILLE ROAD SUITE 1300          COOLIDGE, AZ 85128                           COOLIDGE, AZ 85128-4725
LOUISVILLE, KY 40222




HOICH ENTERPRISE INC                      HOIKE NETWORKS INC                           HOKANSON COMPANIES INC
6324 S 173RD AVE                          PACXA                                        ATTN: TONY R TOWNSLEY CFO
OMAHA, NE 68135                           1000 BISHOP ST STE 701                       10201 NORTH ILLINOIS ST STE 400
                                          HONOLULU, HI 96813                           INDIANAPOLIS, IN 46290




HOLDER INC                                HOLD-THYSSEN, INC.                           HOLD-THYSSEN, INC.
6801 W 117TH AVE A7                       BONNIE BECKETT                               JOY MYERS
BROOMFIELD, CO 80020                      301 S. NEW YORK AVENUE, 200                  301 S. NEW YORK AVENUE, 200
                                          WINTER PARK, FL 32789                        WINTER PARK, FL 32789




HOLIDAY INN PLAINVIEW                     HOLLAND & KNIGHT                             HOLLAND & KNIGHT, LLP
215 SUNNYSIDE BLVD                        ATTN: ROBERT H. SMITH, ESQ.                  ATTN: JONETTA BROOKS
PLAINVIEW, NY 11803                       701 BRICKELL AVENUE, SUITE 3000              200 CRESCENT COURT, SUITE 1600
                                          MIAMI, FL 33131                              DALLAS, TX 75201




HOLLAND & KNIGHT, LLP                     HOLLAND BOARD OF PUBLIC WORKS                HOLLAND BOARD OF PUBLIC WORKS
ATTN: TARA A. SCANLON, ESQ.               625 HASTINGS AVE                             625 HASTINGS AVENUE
800 17TH STREET, NW, SUITE 1100           HOLLAND, MI 49423-5475                       HOLLAND, MI 49423
WASHINGTON, DC 20006
                        Case L.L.P.
HOLLAND CENTURY ASSOCIATES    18-12241-CSS
                                        HOLLAND  Doc 26 ASSOCIATES
                                                  CENTURY  Filed 10/05/18
                                                                     L.L.P.   PageHOLLAND
                                                                                   721 ofCENTURY
                                                                                          1739 ASSOCIATES, LLP
C/O S.L. NUSBAUM REALTY CO              C/O S.L. NUSBAUM REALTY CO                C/O S.L. NUSBAUM REALTY CO.
440 MONTICELLO AVENUE, SUITE 1700       PO DRAWER 2491                            440 MONTICELLO AVENUE, SUITE 1700
NORFOLK, VA 23510                       NORFOLK, VA 23501                         NORFOLK, VA 23510




HOLLAND CHARTER TOWNSHIP                 HOLLAND CHARTER TOWNSHIP                 HOLLAND CHARTER TOWNSHIP
353 N 120TH AVENUE                       ATTN: CITY TREASURER                     P.O. BOX 8127
HOLLAND, MI 49424                        PO BOX 8127                              HOLLAND, MI 49422-8127
                                         HOLLAND, MI 49422-8127




HOLLAND G&C FT PIERCE LLC                HOLLAND G&C FT. PIERCE, LLC              HOLLAND SENTINEL & FLASHES
PO BOX 628357                            C/O BISHOPBEALE                          PUBLISHERS
ORLANDO, FL 32862-8357                   250 N ORANGE AVENUE, SUITE 1500          54 W 8TH ST
                                         ORLANDO, FL 32801                        HOLLAND, MI 49423




HOLLAND VIDEO PRODUCTIONS INC DBA        HOLLANDER SLEEP PRODUCTS LLC             HOLLANDER SLEEP PRODUCTS LLC
ENCYCLOMEDIA                             6501 CONGRESS AVE STE 300                LOCKBOX 782752
1526 DEKALB AVE                          BOCA RATON, FL 33487                     PO BOX 8500
ATLANTA, GA 30307                                                                 PHILADELPHIA, PA 19178-2752




HOLLAWAY, GERARD                         HOLLEY WILKISSON                         HOLLICE GOMES
299 SHASTA DR UNIT 67                    6 HALEY CRT                              10201 S. MAIN STREET
VACAVILLE, CA 95687-4970                 ALISO VIEJO, CA 92656                    HOUSTON, TX 77025




HOLLIE COTTEN                            HOLLIS ADAMS                             HOLLIS PARRISH
6100 VINE ST APT W 153                   10201 S. MAIN STREET                     10201 S. MAIN STREET
LINCOLN, NE 68505                        HOUSTON, TX 77025                        HOUSTON, TX 77025




HOLLY BRANCATO                           HOLLY DIXON                              HOLLY FOLEY
7 FAIR ST                                10201 S. MAIN STREET                     10201 S. MAIN STREET
MILFORD, CT 06460                        HOUSTON, TX 77025                        HOUSTON, TX 77025




HOLLY HARRISON WILKINS                   HOLLY HOLDERFIELD                        HOLLY HUBBELL
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




HOLLY KRUMM                              HOLLY LEBREUX                            HOLLY LEWIS
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




HOLLY PUGA                               HOLLY ROBERTS                            HOLLY ROWE
10201 S. MAIN STREET                     10201 S. MAIN STREET                     820 LARGO CT
HOUSTON, TX 77025                        HOUSTON, TX 77025                        LYMAN, SC 29385
HOLLY SNYDER            Case 18-12241-CSS     Doc 26
                                       HOLLY TODD         Filed 10/05/18   PageHOLLY
                                                                                722 TRAWICK
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




HOLLY WONG                             HOLLYWOOD BED & SPRING MFG CO INC       HOLLYWOOD BED & SPRING
10201 S. MAIN STREET                   5959 CORVETTE ST                        5955 CORVETTE ST
HOUSTON, TX 77025                      COMMERCE, CA 90040                      COMMERCE, CA 90040




HOLMES MURPHY & ASSOCIATES INC         HOLMGREN WAY INVESTMENTS II LLC         HOLMGREN WAY INVESTMENTS II LLC
3001 WESTOWN PARKWAY                   2391 HOLMGREM WAY STE A                 2391 HOLMGREN WAY, SUITE A
WEST DES MOINES, IA 50266              GREEN BAY, WI 54304                     GREEN BAY, WI 54304




HOLROB-SCHAFFLER PARTNERSHIP           HOLROB-SCHAFFLER PARTNERSHIP            HOLROB-SCHAFFLER PARTNERSHIP
7741 S. NORTHSHORE DRIVE, SUITE 103    C/O HOLROB COMMERCIAL REALTY LLC        C/O STRATEGIC ACQUISITIONS GROUP, LLC
KNOXVILLE, TN 37919                    7741 S NORTHSHORE DR STE 103            6480 KINGSTON PIKE
                                       KNOXVILLE, TN 37919                     KNOXVILLE, TN 37919




HOLT OF CALIFORNIA                     HOLY CROSS ENERGY                       HOLY CROSS ENERGY
PO BOX 100001                          3799 HIGHWAY 82                         P.O. BOX 2150
SACRAMENTO, CA 95813                   GLENWOOD SPRINGS, CO 81602              GLENWOOD SPRINGS, CO 81602-2150




HOLY GENERAL SERVICES                  HOLYOKE GAS & ELECTRIC DEPT             HOLYOKE GAS & ELECTRIC DEPT
1745 IVEY POINTE COURT                 99 SUFFOLK ST                           P.O. BOX 4165
LAWRENCEVILLE, GA 30045                HOLYOKE, MA 01040                       WOBURN, MA 01888-4165




HOME BUILDERS ASSOCIATION OF           HOME BUILDERS ASSOCIATION OF ST.        HOME DELIVERY INC
GREATER KANSAS CITY                    LOUIS AND EASTERN MISSOURI              C/O JEFF GUTMANN
600 E 103RD ST                         10104 OLD OLIVE ST RD                   23795 NC12
KANSAS CITY, MO 64131                  SAINT LOUIS, MO 63141-1509              RODANTHE, NC 27968




HOME DELIVERY NWA LLC                  HOME DELIVERY SERVICES                  HOME DEPOT U.S.A., INC.
1400 DAVIS AVE                         1400 DAVIS AVE                          2455 PACES FERRY ROAD
SPRINGDALE, AR 72764                   SPRINGDALE, AR 72764                    ATTN: PROPERTY MANAGEMENT
                                                                               ATLANTA, GA 30339




HOME DEPOT U.S.A., INC.                HOME DEPOT USA INC                      HOME DIRECT, INC.
ATTN: PROPERTY MANAGEMENT              2455 PACES FERRY RD                     P.O. BOX 674497
2455 PACES FERRY ROAD                  ATLANTA, GA 30339                       DETROIT, MI 48267-4497
ATLANTA, GA 30339




HOME GARDEN FLOWER SHOW                HOME INNOVATORS                         HOME MERIDIAN INTERNATIONAL
PO BOX 154                             PO BOX 1138                             DBA PULASKI FURNITURE SAMUEL
FRYEBURG, ME 04037                     ROGERS, AR 72757                        LAWRENCE
                                                                               3980 PREMIER DR STE 310
                                                                               HIGH POINT, NC 27265
                       Case
HOME MERIDIAN INTERNATIONAL   18-12241-CSS    DocENTERPRISES
                                        HOME NEWS 26 Filed LLC
                                                             10/05/18
                                                               DBA DAILY PageHOME
                                                                              723OF
                                                                                  ofHOPE
                                                                                     1739TEXAS
PO BOX 743807                           JOURNAL
ATLANTA, GA 30374-3807                  PO BOX 3011
                                        COLUMBUS, IN 47202-3011




HOME SHOW MANAGEMENT CORP               HOME SOURCE INDUSTRIES               HOME THEATER COMPANY
1450 MADRUGA AVE. 301                   433 MURRAY HILL PKWY                 8178 BELVEDERE AVE STE B
CORAL GABLES, FL 33146                  EAST RUTHERFORD, NJ 07073            SACRAMENTO, CA 95826




HOMEFIELD ADVANTAGE I LLC               HOMEFIELD ADVANTAGE I, LLC           HOMELEGANCE BY TITAN IMPORTER CO
C/O LANE4 PROPERTY GROUP                C/O LANE4 PROPERTY GROUP             6045 BOAT ROCK BLVD
4705 CENTRAL ST                         4705 CENTRAL ST                      ATLANTA, GA 30336
ATTN: OWEN J BUCKLEY                    ATTN: OWEN J BUCKLEY
KANSAS CITY, MO 64112                   KANSAS CITY, MO 64112



HOMEPAGES HOLDINGS LLC                  HOMER COLEMAN                        HOMESITE GROUP, INC.
DBA AMERICAN MARKETING & PUBLISHING     10201 S. MAIN STREET                 C/O PAUL SCHOFIELD JR.
LLC                                     HOUSTON, TX 77025                    850 WEST CHESTER PIKE
915 E LINCOLN HWY                                                            SUITE 205
DE KALB, IL 60115                                                            HAVERTOWN, PA 19083



HOMESITE GROUP, INC.                    HOMESITE INS CO                      HOMETOWN MEDICAL SUPPLIES LLC
P.O. BOX 5300                           PO BOX 912470                        140 LEWIS RD 5
BINGHAMPTON, NY 13902                   DENVER, CO 80291                     SAN JOSE, CA 95112




HOMEWOOD DISPOSAL SERVICE INC.          HOMTEX INC                           HONDO SUTTON
1501 175TH STREET                       15295 ALABAMA HWY 157                10201 S. MAIN STREET
HOMEWOOD, IL 60430-4608                 VINEMONT, AL 35179                   HOUSTON, TX 77025




HONEY BUCKET                            HONEY RUIZ                           HONEYWELL INTERNATIONAL INC
PO BOX 73399                            13100 GILBERT ST 32                  C/O CENTER SQUARE INV MGMT INC
PUYALLUP, WA 98373                      GARDEN GROVE, CA 92844               630 W GERMANTOWN PIKE STE 300
                                                                             PLYMOUTH MEETING, PA 19462




HONIARA BARRIOS                         HONIGMAN MILLER SCHWARTZ AND COHN    HONIGMAN MILLER SCHWARTZ AND COHN
10201 S. MAIN STREET                    LLP                                  LLP
HOUSTON, TX 77025                       ATTN: LOWELL D. SALESIN, ESQ.        ATTN: LOWELL D. SALESIN, ESQ.
                                        39400 WOODWARD AVENUE, SUITE 101     39400 WOODWARD AVENUE, SUITE 101
                                        BLOOMFIELD HILLS, MI 48304           BLOOMFIELD HILLS, MI 48304-5151



HONOLULU DISPOSAL SERVICE INC.          HONOLULU DISPOSAL SERVICE            HONOLULU EXECUTIVES ASSOCIATION
1169 MIKOLE ST                          P.O. BOX 30490                       PO BOX 937
HONOLULU, HI 96819                      HONOLULU, HI 96820-0490              KAILUA, HI 96734-0937




HOOD COUNTY APPRAISAL DISTRICT          HOOVER SQUARE PROPERTIES LP          HOOVER SQUARE PROPERTIES, LLC
ATTN: PROPERTY TAX DEPT.                C/O BROOKHILL MANAGEMENT CORP.       C/O BROOKHILL MANAGEMENT CORP.
PO BOX 819                              501 MADISON AVE 18TH FL              501 MADISON AVENUE, 18TH FLOOR
GRANBURY, TX 76048-0819                 ATTN: CHARLES KRAMER, PRESIDENT      ATTN: CHARLES KRAMER, PRESIDENT
                                        NEW YORK, NY 10022                   NEW YORK, NY 10022
HOOVER THE MOVER         Case 18-12241-CSS    Doc 26
                                        HOPE BROWN         Filed 10/05/18     PageHOPE
                                                                                   724HOOP
                                                                                       of 1739
4705 CLUBVIEW DR                        10201 S. MAIN STREET                      10201 S. MAIN STREET
FORT WAYNE, IN 46804                    HOUSTON, TX 77025                         HOUSTON, TX 77025




HOPEWELL TC MANAGEMENT                  HOPEWELL TC MANAGEMENT                    HOPEWELL TC MANAGEMENT
416 SOUTH BETHLEHEM PIKE 3              C/O GELCOR REALTY                         C/O GELCOR REALTY
FORT WASHINGTON, PA 19034               416 BETHLEHEM PIKE                        416 BETHLEHEM
                                        FORT WASHINGTON, PA 19034                 FORT WASHINGTON, PA 19034




HOPKINSVILLE WATER ENVIRONMENT          HOPKINSVILLE                              HOPKINSVL WTR ENVIRONMENT AUTH
AUTHORITY                               ATTN: INCOME TAX DEPT.                    401 EAST NINTH ST
P.O. BOX 628                            PO BOX 707                                HOPKINSVILLE, KY 42240
HOPKINSVILLE, KY 42241-0628             HOPKINSVILLE, KY 42241




HORIZON BROADCASTING GROUP LLC          HORIZON MANAGEMENT CO.                    HORIZON PROPERTIES OF MIAMI, INC.
854 NE 4TH ST                           1130 LAKE COOK ROAD, SUITE 280            18610 NW 87TH AVENUE, SUITE 204
BEND, OR 97701                          BUFFALO GROVE, IL 60089                   HIALEAH, FL 33015




HORIZON RETAIL CONSTRUCTION INC         HORIZON TECHNOLOGY                        HORN HOLDINGS LLC
1500 HORIZON DR                         P.O. BOX 480                              FIRST SECURE COMMUNITY BANK 2003870
STURTEVANT, WI 53177                    CHILLICOTHE, OH 45601-0480                ATTN: MARGIE JORDAN-PERSONAL
                                                                                  BANKERPO BOX 350
                                                                                  SUGAR GROVE, IL 60554



HORN HOLDINGS, LLC                      HORN HOLDINGS, LLC                        HORNER, NANCY
301 WEST G ST, NO. 120                  FIRST SECURE COMMUNITY BANK 2003870       11 FINCH ST
SAN DIEGO, CA 92101                     ATTN: MARGIE JORDAN-PERSONAL              BROWNS MILLS, NJ 80153-100
                                        BANKERPO BOX 350
                                        SUGAR GROVE, IL 60554



HORNER, ROSALIND                        HORRY COUNTY TREASURER - TAX DEPT         HORRY COUNTY TREASURER
750 SW BACK COURT PL                    PO BOX 602773                             ATTN: PROPERTY TAX DEPT.
BEAVERTON, OR 97003-8005                CHARLOTTE, NC 28260-2773                  P.O. BOX 1275
                                                                                  CONWAY, SC 29528




HORRY COUNTY                            HORRY COUNTY                              HORRY COUNTY(TAXES)
FINANCE DEPT                            P.O. BOX 9001013                          P.O. BOX 1275
1301 SECOND AVE                         LOUISVILLE, KY 40290-1013                 CONWAY, SC 29528
CONWAY, SC 29526




HORRY ELECTRIC COOPERATIVE INC          HORRY ELECTRIC COOPERATIVE INC            HORWOOD MARCUS & BERK CHARTERED
2774 CULTRA ROAD                        P.O. BOX 119                              ATTN: KENNETH KLASSMAN
CONWAY, SC 29526                        CONWAY, SC 29528-0119                     180 NORTH LASALLE STREET, SUITE 3700
                                                                                  CHICAGO, IL 60601




HOSE BATTLE                             HOSPITALITY MEDIA GROUP LLC               HOSS BEHJATPOUR
10201 S. MAIN STREET                    BD WEST ATTN: AR                          10201 S. MAIN STREET
HOUSTON, TX 77025                       11262 CORNELL PARK DR                     HOUSTON, TX 77025
                                        CINCINNATI, OH 45242
                       Case 18-12241-CSS
HOT SPRINGS MUNICIPAL UTILITIE                Doc MUNICIPAL
                                      HOT SPRINGS  26 Filed    10/05/18
                                                             UTILITIE       PageHOT
                                                                                 725  of 1739
                                                                                    SPRINGS MUNICIPAL UTILITIE
133 CONVENTION BLVD                   517 AIRPORT ROAD SUITE C                   P.O. BOX 66743
HOT SPRINGS NATIONAL PARK, AR 71901   HOT SPRINGS, AR 71913-4065                 SAINT LOUIS, MO 63166-6743




HOTZ POWER WASH INC                    HOULIHAN LOKEY FINANCIAL ADVISORS INC     HOUSE OF BLUES ENTERTAINMENT, INC
PO BOX 1723                            ACCTS RECV. DEPT                          2000 WEST LOOP SOUTH SUITE 1300
BAYTOWN, TX 77522                      10250 CONSTELLATION BLVD 5TH FL           HOUSTON, TX 77027
                                       LOS ANGELES, CA 90067-6802




HOUSTON ASTROS LLC                     HOUSTON AUTO APPRAISERS                   HOUSTON BALLOONS & PROMOTIONS INC
PO BOX 288                             104 W BAKER ROAD                          DBA NATIONAL EVENT MARKETING
HOUSTON, TX 77001-0288                 BAYTOWN, TX 77521                         702 SPRING CYPRESS RD STE H
                                                                                 SPRING, TX 77373




HOUSTON BASEBALL PARTNERS LLC          HOUSTON BUSINESS JOURNAL                  HOUSTON CHRONICLE- NEWSPAPER
501 W CRAWFORD                         PO BOX 844755                             PO BOX 80075
HOUSTON, TX 77002                      DALLAS, TX 75284-4755                     PRESCOTT, AZ 86304-8075




HOUSTON COMMUNICATIONS INC             HOUSTON COUNTY REVENUE                    HOUSTON COUNTY TAX COMMISSIONER
1105 INDUSTRIAL BLVD                   COMMISSIONER                              PO DRAWER 7799
SUGAR LAND, TX 77478                   PO BOX 6406                               200 CAR VINSON PARKWAY
                                       DOTHAN, AL 36302                          WARNER ROBINS, GA 31095-7799




HOUSTON DEPARTMENT OF HEALTH &         HOUSTON FENCE COMPANY INC                 HOUSTON FIRE & SECURITY
HUMAN SRVCS                            13300 MURPHY                              15112 LEE RD STE 401
BUREAU OF CONSUMER HEALTH SRVCS        STAFFORD, TX 77477                        HUMBLE, TX 77396
PO BOX 300008
HOUSTON, TX 77230-0008



HOUSTON FIRST CORP                     HOUSTON INTERNATIONAL BOAT SPORT &        HOUSTON LIVESTOCK SHOW/RODEO
ATTN: ACCTS RECEIVABLE                 TRAVEL SHOW INC                           8334 FANNIN ST RELIANT CENTER
1001 AVENIDA DE LAS AMERICAS           8909 KNIGHT RD                            HOUSTON, TX 77054
HOUSTON, TX 77010                      HOUSTON, TX 77054




HOUSTON LIVESTOCK SHOW/RODEO           HOUSTON NFL HOLDINGS LP DBA HOUSTON       HOUSTON POWDER COATERS LLC
PO BOX 20070                           TEXANS                                    14024 E HARDY RD
HOUSTON, TX 77225-0070                 NRG STATDIUM                              HOUSTON, TX 77039
                                       TWO NRG PARK
                                       HOUSTON, TX 77054



HOUSTON RAYFORD CROSSING LP            HOUSTON SIGN COMPANY                      HOUSTON UPTOWN CROSSING LP
C/O WEITZMAN                           5801 CHIMNEY ROCK RD                      C/O THE WEITZMAN GROUP
PO BOX 840739                          HOUSTON, TX 77081                         3102 MAPLE AVENUE, SUITE 350
DALLAS, TX 75284-0739                                                            DALLAS, TX 75201




HOUSTON UPTOWN CROSSING LP             HOUSTON WESTMONT LP                       HOUSTON WESTMONT, LP
C/O WEITZMAN                           C/O PM REALTY GROUP                       C/O PM REALTY GROUP
PO BOX 671649                          3737 BUFFALO SPEEDWAY STE 650             1000 MAIN STREET, SUITE 2400
DALLAS, TX 75267-1649                  ATTN: PROPERTY MANAGER                    ATTN: ROGER GREGORY
                                       HOUSTON, TX 77098                         HOUSTON, TX 77002
HOUSTON WESTMONT, LP Case 18-12241-CSS     Doc YEARBOOK
                                    HOUSTONIAN  26 Filed     10/05/18
                                                           FUND          PageHOUYENG
                                                                              726 of INVESTMENTS
                                                                                      1739       LLC
C/O PM REALTY GROUP                 EDUCATIONAL SERVICES                     P.O. BOX 59862
3737 BUFFALO SPEEDWAY STE 650       1302 WAUGH DRIVE 832                     RENTON, WA 98056
ATTN: PROPERTY MANAGER              HOUSTON, TX 77019-3908
HOUSTON, TX 77098



HOVIK G DER ASHOTIAN                  HOWARD ABSETZ                          HOWARD ALEXANDER
2831 HIGHRIDGE RD                     10201 S. MAIN STREET                   10201 S. MAIN STREET
LA CRESCENTA, CA 91214                HOUSTON, TX 77025                      HOUSTON, TX 77025




HOWARD BLANKENSHIP                    HOWARD COUNTY INDIANA                  HOWARD COUNTY MARYLAND
10201 S. MAIN STREET                  TREASURER                              HOWARD COUNTY DIRECTOR OF FINANCE
HOUSTON, TX 77025                     220 N MAIN ST RM 226                   PO BOX 3370
                                      KOKOMO, IN 46901                       ELLICOTT CITY, MD 21041




HOWARD COUNTY                         HOWARD D LOCHE II                      HOWARD DRUMMOND
ATTN: PROPERTY TAX DEPT.              6514 LEWISTON CT                       1211 SW 5TH AVE 6TH FLOOR
PO BOX 3370                           HOUSTON, TX 77049                      PORTLAND, OR 97204
ELLICOTT CITY, MD 21041




HOWARD GREENFIELD                     HOWARD GUGIG                           HOWARD HOFFMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




HOWARD KORNHABER                      HOWARD PATTERSON                       HOWARD ROSENBERG
10201 S. MAIN STREET                  1380 OLD CLARKSVILLE PIKE              10201 S. MAIN STREET
HOUSTON, TX 77025                     PLEASANT VIEW, TN 37146                HOUSTON, TX 77025




HOWARD RUPPRECHT                      HOWARD SCHEINES                        HOWARD SCHMIDT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




HOWARD WORNOM                         HOWELL FAMILY PROPERTIES LLC           HOWELL FIRE BUREAU
10201 S. MAIN STREET                  C/O COLLETT & ASSOCIATES               HOWELL TOWNSHIP
HOUSTON, TX 77025                     P.O. BOX 36799                         PO BOX 580
                                      CHARLOTTE, NC 28236-6799               HOWELL, NJ 07731




HOWELLS TRUCK & TRAILER REPAIR        HOWIE BYFIELD                          HOWIES TRASH SERVICE
7800 US HWY 277                       10201 S. MAIN STREET                   625 SOUTH 10TH ST
ABILENE, TX 79601                     HOUSTON, TX 77025                      MANHATTAN, KS 66502




HOWIES TRASH SERVICE                  HP BYRON NELSON CHAMPIONSHIP           HP ECOLOGICAL SERVICES LLC
625 SOUTH 10TH STREET                 SALESMANSHIP CLUB CHARITABLE GOLF OF   310 E TRINITY BLVD STE 800
MANHATTAN, KS 66502                   DALLAS INC                             GRAND PRAIRIE, TX 75050
                                      106 E 10TH ST STE 200
                                      DALLAS, TX 75203-2296
HP WB VILLAGE LLC       Case 18-12241-CSS      Doc 26 ENGINEERS
                                       HPMB CONSULTING     Filed 10/05/18
                                                                     INC       PageHQ8-10410-10450
                                                                                    727 of 1739MELODY LANE LLC
C/O HIGHPOINT CAPITAL GROUP, LLC       2828 E TRINITY MILLS ROAD STE 210           C/O CBRE INC
18321 VENTURA BLVD., SUITE 980         CARROLLTON, TX 75006                        8390 E CRESCENT PKWY STE 300
TARZANA, CA 91356                                                                  GREENWOOD VILLAGE, CO 80111




HR BUSINESS SOLUTIONS                   HR PLATINUM LLC                            HR SMART
5442 FRONTAGE ROAD                      PO BOX 300                                 2929 N CENTRAL EXPRESSWAY STE 110
FOREST PARK, GA 30297                   MILLERSVILLE, MD 21108                     RICHARDSON, TX 75080




HRC LMF LLC                             HRC OXFORD LLC                             HRC OXFORD LLC
C/O EXCEL COMMERCIAL REAL ESTATE        6363 WOODWAY DR STE 950                    C/O EXCEL COMMERCIAL REAL ESTATE
9121 ELIZABETH ROAD, SUITE 108          HOUSTON, TX 77057                          9121 ELIZABETH ROAD, SUITE 108
HOUSTON, TX 77055                                                                  HOUSTON, TX 77055




HRC OXFORD, LLC                         HRDQ                                       HRH FAMILY ASSOCIATES LLC
C/O EXCEL COMMERCIAL REAL ESTATE        827 LINCOLN AVE STE B-10                   2811 KIRK STREET
9121 ELIZABETH ROAD, SUITE 108          WEST CHESTER, PA 19380                     ATTN: MR. JOHN HART
HOUSTON, TX 77055                                                                  MIAMI, FL 33133




HRH FAMILY ASSOCIATES LLC               HRH LLC                                    HRSD
ATTN: MR. JOHN HART                     ATTN: JOHN HART                            1434 AIR RAIL AVENUE
2811 KIRK STREET                        2811 KIRK ST                               VIRGINIA BEACH, VA 23455
MIAMI, FL 33133                         MIAMI, FL 33133




HRSD                                    HRTC I LLC                                 HRTC I LLC
PO BOX 71092                            6380 S. FIDDLERS GREEN CIRCLE, SUITE 400   ATTN: PETER CULSHAW
CHARLOTTE, NC 28272-1092                ATTN: PETER CULSHAW                        6380 S. FIDDLERS GREEN CIRCLE, SUITE 400
                                        GREENWOOD VILLAGE, CO 80111                GREENWOOD VILLAGE, CO 80111




HRTC I LLC                              HRUBS                                      HRUBS
PO BOX 17804                            1434 AIR RAIL AVENUE                       P.O. BOX 37097
DENVER, CO 80217-7804                   VIRGINIA BEACH, VA 23455                   BOONE, IA 50037-0097




HS GERE AND SONS INC                    HSA COMMERCIAL                             HSBC PARTNERS GROUP GLBL PV EQUITY
DAILY HAMPSHIRE GAZETTE                 100 SOUTH WACKER DRIVE, SUITE 950          PO BOX 477
115 CONZ ST                             CHICAGO, IL 60606                          TUDOR HOUSE LER BORDAGE
NORTHAMPTON, MA 01060                                                              ST PETER PORT, GK GY1 6




HSC OFFICE SUPPLIES                     HSFM LLC                                   HSFM LLC
PO BOX 1301                             DBA HULL STOREY GIBSON COMPANIES LLC       DEPT 40010 PO BOX 740209
AIEA, HI 96701                          PO BOX 30917 4227                          ATLANTA, GA 30374-0209
                                        AUGUSTA, GA 30917




HSI SHOW PRODUCTIONS                    HSU WESTHEIMER INVESTORS LP                HSWSM1 LLC
HOBBY SHOW INC.                         2606 GRANT ST                              2001 ROSS AVE STE 550
P.O. BOX 502797                         HOUSTON, TX 77006                          DALLAS, TX 75201
INDIANAPOLIS, IN 46250
HTC                      Case 18-12241-CSS
                                        HTFD NODoc
                                                1  26      Filed 10/05/18    PageHTK
                                                                                  728   of 1739
                                                                                     RICHLAND LLC
P.O. BOX 1819                           ATTN: FIRE DISTRICT                      JOHN FUIJI
CONWAY, SC 29528-1819                   201 WASH CROSS-PENNINGTON RD             5803 TEXAS DR
                                        TITUSVILLE, NJ 08560-1410                VANCOUVER, WA 98661




HTK RICHLAND LLC                        HTK-RICHLAND LLC                         HUB GROUP INC
JOHN FUIJI                              5803 TEXAS DRIVE                         2000 CLEARWATER DR
5803 TEXAS DRIVE                        VANCOUVER, WA 98661                      OAK BROOK, IL 60523
VANCOUVER, WA 98661




HUB GROUP INC                           HUBBARD BROADCASTING CHICAGO             HUBBARD BROADCASTING INC
PO BOX 532083                           3415 UNIVERSITY AVE                      130 E RANDOLPH ST STE 2700
ATLANTA, GA 30353-2083                  SAINT PAUL, MN 55114                     CHICAGO, IL 60601




HUBBARD BROADCASTING INC                HUBBARD RADIO CHICAGO                    HUBBARD RADIO PHOENIX LLC
DBA KSHE-FM                             PO BOX 83141                             LOCKBOX 511553
PO BOX 959270                           CHICAGO, IL 60691-0141                   PO BOX 511553
SAINT LOUIS, MO 63195                                                            LOS ANGELES, CA 90051




HUBBARD RADIO SEATTLE                   HUBBARD RADIO WASHINGTON DBA WTOP-       HUBBARD RADIO WASHINGTON DC LLC
LOCKBOX 24952                           FM                                       DBA WTOP-FM
PO BOX 24952                            LOCKBOX 005431                           LOCKBOX 005431
SEATTLE, WA 98124-0952                  PO BOX 645431                            CINCINNATI, OH 45264-5431
                                        CINCINNATI, OH 45264-5431



HUBBARD RADIO WASHINGTON DC LLC         HUBERR BLAIR BONDS JR                    HUBERT BLAIR BONES JR
LOCKBOX 005431                          1879 SPRING AVE                          1879 SPRING AVE
PO BOX 645431                           EAST POINT, GA 30344                     EAST POINT, GA 30344
CINCINNATI, OH 45264




HUBERT INFANTE                          HUDSON LIGHT & POWER DEPT                HUDSON LIGHT & POWER DEPT
10201 S. MAIN STREET                    49 FOREST AVE                            P.O. BOX 844568
HOUSTON, TX 77025                       HUDSON, MA 01749                         BOSTON, MA 02284




HUDSPETH ENTERPRISES                    HUE INTERIOR DESIGN LLC                  HUE VANG
PO BOX 141004                           261 LALO ST. A1                          10201 S. MAIN STREET
AUSTIN, TX 78714-1004                   KAHULUI, HI 96732                        HOUSTON, TX 77025




HUFFMAN, RAGNAR                         HUGH BRYAN                               HUGH E PARSONS
200 COURTVIEW TERRACE                   10201 S. MAIN STREET                     2847 PINECREST ST
STATTON, NH 03885                       HOUSTON, TX 77025                        SARASOTA, FL 34239




HUGH HOLMAN                             HUGH PIERCE                              HUGH RICHARDSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
HUGH WOOLRIDGE            Case 18-12241-CSS
                                         HUGHIE Doc  26
                                                CLIFTON      Filed 10/05/18   PageHUGO
                                                                                   729RAMIREZ
                                                                                       of 1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




HUH REAL ESTATE INCOME REIT INC           HULAC-WEST LLC                          HULL PROPERTY GROUP LLC
PO BOX 62505                              C/O INVESTORS REALTY INC                1190 INTERSTATE PARKWAY
BALTIMORE, MD 21264                       11301 DAVENPORT ST                      AUGUSTA, GA 30909
                                          OMAHA, NE 68154




HULU LLC                                  HUMAN ELEMENT ARCHITECT LLC             HUMAN TOUCH LLC
15059 COLLECTIONS CENTER DR               1111 S MARIETTA PKWY STE C              4600 E CONANT ST
CHICAGO, IL 60693                         MARIETTA, GA 30060                      LONG BEACH, CA 90808




HUMBERTO PEREZ                            HUMBLE ISD                              HUMM SYSTEMS LLC
10201 S. MAIN STREET                      TAX ASSESSOR-COLLECTOR                  7000 N MOPAC EXPY STE 190
HOUSTON, TX 77025                         PO BOX 4020                             AUSTIN, TX 78731
                                          HOUSTON, TX 77210-4020




HUMMELS WHARF MUNIC AUTH                  HUMMELS WHARF MUNIC AUTH                HUNG NGUYEN
39 MUNICIPAL DR                           P.O. BOX 165                            10201 S. MAIN STREET
SELINSGROVE, PA 17870                     HUMMELS WHARF, PA 17831                 HOUSTON, TX 77025




HUNG-YUAN CHANG                           HUNINGTON PROPERTIES, INC.              HUNINGTON PROPERTIES, INC.
10201 S. MAIN STREET                      3773 RICHMOND AVENUE, SUITE 800         ATTN: ANNA NOLASCO
HOUSTON, TX 77025                         HOUSTON, TX 77046                       3773 RICHMOND AVENUE, SUITE 800
                                                                                  HOUSTON, TX 77046




HUNINGTON PROPERTIES, INC.                HUNKAR DATA AND BAR CODE SYSTEMS INC    HUNT & SONS INC
RACHEL HEMPHILL, PROPERTY MANAGER         ALPHA SYSTEMS                           P.O. BOX 277670
3773 RICHMOND AVENUE, SUITE 800           2368 VICTORY PKWY STE 210               SACRAMENTO, CA 95827-7670
HOUSTON, TX 77046                         CINCINNATI, OH 45206




HUNTER EQUITIES 313 LLC                   HUNTER ERDMANN                          HUNTER LANDERS
1065 2ND AVE 14C                          10201 S. MAIN STREET                    10201 S. MAIN STREET
NEW YORK, NY 10022                        HOUSTON, TX 77025                       HOUSTON, TX 77025




HUNTER MACKINTOSH                         HUNTER MICHAEL BISHOP                   HUNTER RETAIL LLC
10201 S. MAIN STREET                      8402 W 113TH ST                         ATTN: ACCTS REC
HOUSTON, TX 77025                         OVERLAND PARK, KS 66210                 10689 N PENNSYLVANIA ST 100
                                                                                  INDIANAPOLIS, IN 46280




HUNTER REYNOLDS                           HUNTER SANFORD                          HUNTER SIDDONS
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025
HUNTER STEVENS           Case 18-12241-CSS
                                        HUNTERDoc 26SALES
                                              TRUCK     Filed 10/05/18
                                                          & SERVICE          PageHUNTER
                                                                                  730 ofWAGNER
                                                                                         1739
10201 S. MAIN STREET                     DEPT 104 PO BOX 640057                  10201 S. MAIN STREET
HOUSTON, TX 77025                        PITTSBURGH, PA 15264                    HOUSTON, TX 77025




HUNTERSAGE                               HUNTINGTON BEACH NO. 1                  HUNTINGTON BEACH NO. 1
2121 SAGE RD SUITE 230                   2716 OCEAN PARK BLVD., SUITE 2025       2716 OCEAN PARK BLVD., SUITE 2025
HOUSTON, TX 77056                        ATTN: ASSET MANAGEMENT                  ATTN: CHRISTOPHER CHASE, GENERAL
                                         SANTA MONICA, CA 90405                  COUNSEL
                                                                                 SANTA MONICA, CA 90405



HUNTINGTON BEACH NO. 1                   HUNTINGTON BEACH NO. 1                  HUNTINGTON BEACH NO. 1
C/O CORELAND COMPANIES                   C/O WATT COMPANIES                      PO BOX 849091
17542 E 17TH STREET, SUITE 420           2716 OCEAN PARK BLVD 2025               LOS ANGELES, CA 90084-9091
ATTN: KINDY HOHMAN                       SANTA MONICA, CA 90405
TUSTIN, CA 92780



HUNTINGTON INDUSTRIES                    HUNTINGTON TECHNOLOGY FINANCE           HUNTINGTON WOODS LLC
12506 S CHADRON                          L-3708                                  ATTN: JAMES BLAKEMAN
HAWTHORNE, CA 90250                      COLUMBUS, OH 43260-3708                 704 BRIDGEPORT AVENUE, SUITE 201
                                                                                 SHELTON, CT 06484




HUNTINGTON WOODS, LLC                    HUNTINGTON WOODS, LLC                   HUNTLEY 47 LLC
704 BRIDGEPORT AVENUE, SUITE 201         ATTN: JAMES BLAKEMAN                    300 PARK BLVD. STE 201
ATTN: JAMES BLAKEMAN                     704 BRIDGEPORT AVENUE, SUITE 201        ITASCA, IL 60143
SHELTON, CT 06484                        SHELTON, CT 06484




HUNTLEY 47 LLC                           HUNTLEY 47 LLC                          HUNTLEY PARKES DBA DEPENDABLE
C/O HAMILTON PARTNERS                    C/O HAMILTON PARTNERS                   DELIVERY SVC
300 PARK BOULEVARD, SUITE 201            300 PARK BOULEVARD, SUITE 201           8104 THREE SPRINGS TRAIL
ATTN: PAUL SHERIDAN                      ATTN: PAUL SHERIDAN                     GREENVILLE, SC 29615
ITASCA, IL 60143                         ITASCA, IL 60143



HUNTSVILLE TIMES ALABAMA MEDIA GROUP     HUNTSVILLE UTILITIES                    HUNTSVILLE UTILITIES
PO BOX 905924                            112 SPRAGINS ST                         112 SPRAGINS STREET
CHARLOTTE, NC 28290-5924                 HUNTSVILLE, AL 35801                    HUNTSVILLE, AL 35895




HUNZINGER WILLIAMS INC                   HUOYENG INVESTMENTS LLC                 HURIEL FLORES
27W982 COMMERCIAL AVE                    PO BOX 59862                            10201 S. MAIN STREET
LAKE BARRINGTON, IL 60010-2311           RENTON, WA 98058                        HOUSTON, TX 77025




HUSSAIN AHMED                            HUTCH MANAGEMENT LLC                    HUTCH MANAGEMENT, LLC
10201 S. MAIN STREET                     THOMAS BRINCAT                          BIANCA RAMOS
HOUSTON, TX 77025                        1250 WATERS PLACE, PENTHOUSE 1          1250 WATERS PLACE, PENTHOUSE 1
                                         BRONX, NY 10461                         BRONX, NY 10461




HUTCH TARRYTOWN LLC                      HUTCHINS TRUCKING COMPANY               HUTCHINSON CROSSING LLC
1250 WATERS PL PH 1                      75 DARTMOUTH ST                         ATTN: DOUG HENZLIK
BRONX, NY 10461                          SOUTH PORTLAND, ME 04106                5341 W 151ST TERRACE
                                                                                 LEAWOOD, KS 66224
HUTTON GROWTH ONE LLCCase     18-12241-CSS    Doc 26
                                        HUY QUACH          Filed 10/05/18   PageHVAC
                                                                                 731SERVICES
                                                                                     of 1739INC
736 CHERRY ST                           10201 S. MAIN STREET                    950 MILLER AVE
CHATTANOOGA, TN 37402                   HOUSTON, TX 77025                       CROYDON, PA 19021




HVC HIGH POINT LLC                      HVC-HIGH POINT, LLC                     HVS EAST LLC
ATTN: RONALD MCCLELLAN                  P.O. BOX 39                             1100 5TH AVE., STE. 210
PO BOX 39                               ATTN: RONALD MCCLELLAN                  NAPLES, FL 34102
POLSON, MT 59860                        POLSON, MT 59860




HVS EAST, LLC                           HVTC LLC                                HVTC, L.L.C.
1100 5TH AVE., STE. 210                 2425 E CAMELBACK RD STE 750             C/O VESTAR DEVELOPMENT CO.
NAPLES, FL 34102                        PHOENIX, AZ 85016                       2425 EAST CAMELBACK ROAD, SUITE 750
                                                                                ATTN: PRESIDENT
                                                                                PHOENIX, AZ 85016



HWY 6 & 90 LTD                          HWY 6 INTERESTS LLC                     HYANNIS VIEW LLC
3281 ROCKY CREEK DR STE 100             720 N POST OAK RD STE 350               6398 NW 26TH TERRACE
MISSOURI CITY, TX 77459                 HOUSTON, TX 77024                       BOCA RATON, FL 33496




HYANNIS WATER SYSTEM                    HYANNIS WATER SYSTEM                    HYATT REGENCY MAUI
47 OLD YARMOUTH RD                      P.O. BOX 731                            200 NOHEA KAI DR
HYANNIS, MA 02601                       READING, PA 01867-0405                  LAHAINA MAUI, HI 96761-1990




HYATT REGENCY SAN FRANCISCO AIRPORT     HYBRIDGE COMMERCIAL REAL ESTATE         HYBRIDGE CRE
PO BOX 843977                           ANY DITRAPANI                           ATTN: CHRIS DOWD
DALLAS, TX 75284                        119 NORTH 11TH ST, 300                  119 N. 11TH STREET, SUITE 300B
                                        TAMPA, FL 33602                         TAMPA, FL 33602




HYDE PARK PLAZA                         HYDE PARK PLAZA                         HYDE PARK PLAZA
3760 PAXTON AVENUE                      C/O REGENCY CENTERS CORPORATION         C/O REGENCY CENTERS LP
CINCINNATI, OH 45209                    8044 MONTGOMERY ROAD, SUITE 520         PO BOX 644019
                                        ATTN: RYAN ERTEL                        PITTSBURGH, PA 15264-4019
                                        CINCINNATI, OH 45236



HYDE PARK PLAZA                         HYG FINANCIAL SERVICES INC              HYG FINANCIAL SERVICES INC
P.O. BOX 644019                         PO BOX 14545                            PO BOX 35701
PITTSBURGH, PA 15264-4019               DES MOINES, IA 50306-3545               BILLINGS, MT 59107




HYLAN PLAZA 1339 LLC                    HYLAN PLAZA 1339 LLC                    HYLAN PLAZA 1339 LLC
DEPT CODE: SNYS1339                     C/O CT CORPORATION SYSTEM               PO BOX 6203
PO BOX 6203                             111 EIGHTH AVENUE                       HICKSVILLE, NY 11802
HICKSVILLE, NY 11802-6203               NEW YORK, NY 10011




HYLAN PLAZA 1339, LLC                   HYLAND LLC                              HYLAND LLC
C/O KIMCO REALTY CORPORATION            28500 CLEMENS RD                        PO BOX 846261
3333 NEW HYDE PARK ROAD, SUITE 100      WESTLAKE, OH 44145                      DALLAS, TX 75284-6261
NEW HYDE PARK, NY 11042-0020
HYROSEN PROPERTIES INCCase 18-12241-CSS
                                     HYROSENDoc   26 Filed
                                              PROPERTIES  INC 10/05/18   PageHYROSEN
                                                                              732 of PROPERTIES,
                                                                                     1739        INC
1887 BUSINESS CENTER DR STE 1B       INLAND PACIFIC ADVISORS ATTN C          1887 BUSINESS CENTER DRIVE, SUITE 1B
SAN BERNARDINO, CA 92408-3400        ACEVEDO                                 ROY H. NIERMAN, ESQ.
                                     3538 CENTRAL AVE STE 300                SAN BERNADINO, CA 92408
                                     RIVERSIDE, CA 92507



HYROSEN PROPERTIES, INC                HYTHAM MOBARAK                        HZ TRANSPORTATION
ROY H. NIERMAN, ESQ.                   10201 S. MAIN STREET                  202 LITTLE WILKESBORO RD.
1887 BUSINESS CENTER DRIVE, SUITE 1B   HOUSTON, TX 77025                     HARMONY, NC 28634
SAN BERNADINO, CA 92408




HZD PROPERTY OWNER LLC                 HZD PROPERTY OWNER, LLC               IA ATLANTA BUCKHEAD LLC
C/O PINE TREE COMMERCIAL REALTY        C/O PINE TREE COMMERCIAL REALTY       PO BOX 677813 DEPT 44664
40 SKOKIE BLVD STE 610                 40 SKOKIE BOULEVARD, SUITE 610        DALLAS, TX 75267-7813
ATTN: JACLYN SWANSON                   ATTN: JACLYN SWANSON
NORTHBROOK, IL 60062                   NORTHBROOK, IL 60062



IA ATLANTA BUCKHEAD, LLC               IA BATON ROUGE SIEGEN LLC             IA CHESAPEAKE CROSSROADS L.L.C.
C/O INVENTRUST PROPERTY MANAGEMENT,    33224 COLLECTION CENTER DR            DEPT. 44569
LLC                                    CHICAGO, IL 60693-0332                33012 COLLECTION CNTR DR
2809 BUTTERFIELD ROAD                                                        CHICAGO, IL 60693-0330
ATTN: PROPERTY MANAGER (BLDG. 44664)
OAK BROOK, IL 60523


IA DEPT OF REV REGISTRATION SERV       IA GARNER WHITE OAK, LLC              IA HOMEWOOD WASHINGTON PARK LLC
PO BOX 10470                           C/O INVENTRUST PROPERTY MANAGEMENT,   PO BOX 677813 DEPT 44610
DES MOINES, IA 50306-0470              LLC                                   DALLAS, TX 75267-7813
                                       3025 HIGHLAND PARKWAY, SUITE 350
                                       ATTN: PROPERTY MANAGER
                                       DOWNERS GROVE, IL 60515


IA HOUSTON NORTHWEST LP                IA HOUSTON NORTHWEST LP               IA MANAGEMENT LLC
C/O INVENTRUST PROPERTY MANAGEMENT,    DEPT 44596                            2323 CROSSROADS DRIVE, STE 110
LLC                                    33012 COLLECTION CENTER DR            MADISON, WI 53718
3025 HIGHLAND PARKWAY, SUITE 350       CHICAGO, IL 60693
ATTN: PROPERTY MANAGER
DOWNERS GROVE, IL 60515


IA MANAGEMENT LLC                      IA MANAGEMENT LLC                     IA MATTHEWS SYCAMORE, LLC
2901 BUTTERFIELD RD                    33012 COLLECTION CENTER DR            16158 COLLECTION CENTER DR
OAK BROOK, IL 60523                    CHICAGO, IL 60693-0330                CHICAGO, IL 60693-0161




IA MATTHEWS SYCAMORE, LLC              IA MCKINNEY TOWNE CROSSING LP         IA SAN ANTONIO STONE RIDGE, LLC
C/O INVENTRUST PROPERTY MANAGEMENT,    C/O INVENTRUST PROPERTY MANAGEMENT,   C/O INVENTRUST PROPERTY MANAGEMENT,
LLC                                    LLC                                   LLC
2809 BUTTERFIELD ROAD                  3025 HIGHLAND PARKWAY, SUITE 350      3025 HIGHLAND PARKWAY, SUITE 350
OAK BROOK, IL 60523                    ATTN: PROPERTY MANAGER                ATTN: PROPERTY MANAGER
                                       DOWNERS GROVE, IL 60515               DOWNERS GROVE, IL 60515


IA SAN ANTONIO WOODLAKE, LLC           IAINA ST CYR                          IAN BELL
C/O INVENTRUST PROPERTY MANAGEMENT,    10201 S. MAIN STREET                  10201 S. MAIN STREET
LLC                                    HOUSTON, TX 77025                     HOUSTON, TX 77025
3025 HIGHLAND PARKWAY, SUITE 350
ATTN: PROPERTY MANAGER
DOWNERS GROVE, IL 60515


IAN CAMPBELL                           IAN COLBORG                           IAN CORRELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025
IAN CROSS              Case 18-12241-CSS     Doc 26
                                      IAN DAVIDOW        Filed 10/05/18   PageIAN
                                                                                733 of 1739
                                                                                  EDWARD RILEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    3212 WHITEHORSE AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       MODESTO, CA 95350




IAN ETHERIDGE                         IAN GARCILASO                           IAN HULL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




IAN LEEFLANG                          IAN MACRONALD                           IAN MCLEAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




IAN ONEILL                            IAN P SMITH                             IAN S LINDSAY
10201 S. MAIN STREET                  1523 MEADOWBROOK AVENUE                 1095 KLISH WAY
HOUSTON, TX 77025                     LAKELAND, FL 33803                      DEL MAR, CA 92014




IAN S LINDSAY                         IAN SANBORN                             IAN SMITH
3044 BLOOR ST WEST                    10201 S. MAIN STREET                    10201 S. MAIN STREET
STE 232                               HOUSTON, TX 77025                       HOUSTON, TX 77025
TORONTO, ON M8X2Y8
CANADA



IAN STEVENS                           IAN STEVENS                             IAN SUTTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




IAN TREGRE                            IBARRA, ANDREYA                         IBC DENVER VIII LW IV LLC
10201 S. MAIN STREET                  15708 HAYNES RD                         8925 E PIMA CNTR PARKWAY STE 200
HOUSTON, TX 77025                     LAUREL, MD 20707-3304                   SCOTTSDALE, AZ 85258




IBC DENVER VIII LW IV LLC             IBG CONYERS COMMONS LLC                 IBIN JENNINGS
8925 E PIMA CNTR PKWY STE 200         C/O BARNGART GUESS PROPERTIES LLC       10201 S. MAIN STREET
SCOTTSDALE, AZ 85258                  1117 PERIMETER CTR W STE N316           HOUSTON, TX 77025
                                      ATLANTA, GA 30338




IBM CORPOARTATION                     IBM CORPORATION                         IBM CORPORATION
PO BOX 645426                         PO BOX 645670                           PO BOX 676673
PITTSBURGH, PA 15264-5426             PITTSBURGH, PA 15264-5254               DALLAS, TX 75267-6673




IBM CREDIT LLC                        IBRAHIM JALLOH                          IBRAHIM MAGOOLA
1 NORTH CASTLE DRIVE                  10201 S. MAIN STREET                    10201 S. MAIN STREET
ARMONK, NY 10504                      HOUSTON, TX 77025                       HOUSTON, TX 77025
IBRAHIM MOHAMED          Case 18-12241-CSS     Doc 26
                                        ICC FLOORING       Filed 10/05/18    PageICC
                                                                                   734  of 1739
                                                                                     HOLDINGS LLC
246 WEST 1350 NORTH                     7226 E 87TH STREET                       225 20TH ST
BOUNTIFUL, UT 84010                     INDIANAPOLIS, IN 46256                   ROCK ISLAND, IL 61201




ICC HOLDINGS LLC                        ICC HOLDINGS LLC                         ICC HOLDINGS, LLC
7226 E 87TH ST STE DI                   C/O FIRST INTERNET BANK                  7226 EAST 87TH STREET, SUITE D1
INDIANAPOLIS, IN 46256                  PO BOX 6080                              INDIANAPOLIS, IN 46256
                                        FISHERS, IN 46038




ICD PUBLICATIONS INC                    ICD PUBLICATIONS INC                     ICE MOUNTAIN DIRECT
HOTEL BUSINESS                          HOTEL BUSINESS                           PO BOX 856680
PO BOX 5815                             PO BOX 5815                              LOUISVILLE, KY 40285-6680
HAUPPAUGE, NY 11778                     HAUPPAUGE, NY 11788-0169




ICE SYSTEMS INC                         ICE SYSTEMS INC                          ICIMS INC
100 PATCO CT STE 9                      PO BOX 11126                             PARKWAY 120 5TH FLOOR
ISLANDIA, NY 11749                      HAUPPAUGE, NY 11788                      90 MATAWAN RD
                                                                                 MATAWAN, NJ 07747




ICON HEALTH & FITNESS INC               ICON MARKETING COMMUNICATIONS INC        ICON SIGN CO LLC
PO BOX 99661                            7000 HOUSTON RD BLDG 100 STE 10          3 LEONARD ST NE
CHICAGO, IL 60693                       FLORENCE, KY 41042                       GRAND RAPIDS, MI 49503




ICON SIGN CO LLC                        ICORR PROPERTIES INTERNATIONAL LLC       ICR LLC DBA ICR
522 STOCKING AVE NW                     ATTN: EARL FOSSUM                        761 MAIN AVE
GRAND RAPIDS, MI 49504                  2 N. TAMIAMI TRAIL, SUITE 100            NORWALK, CT 06851
                                        SARASOTA, FL 34236




ICSC                                    ID GROUP LLC                             IDA RUBIN
INTERNATIONAL COUNCIL OF SHOPPING       2641 IRVING BLVD                         C/O PEMBROKE COMMERCIAL REALTY
CENTERS INC                             DALLAS, TX 75207                         4460 CORPORATION LANE, SUITE 300
ATTN MEMBER RECORDSPO BOX 419822                                                 VIRGINIA BEACH, VA 23462
BOSTON, MA 02241-9822



IDA RUBIN                               IDA YAGHOOBIANS                          IDAHO CHILD SUPPORT RECEIPTING
C/O PEMBROKE COMMERCIAL REALTY          3220 ALTURA AVE APT 111                  P.O. BOX 70008
4460 CORPORATION LN STE 300             LA CRESCENTA, CA 91214                   BOISE, ID 83707-0108
VIRGINIA BEACH, VA 23462




IDAHO DEPT OF LABOR PAYMENT CONTROL     IDAHO POWER PROCESSING CTR.              IDAHO POWER
317 W MAINE                             P.O. BOX 34966                           1221 WEST IDAHO ST
BOISE, ID 83735-0610                    SEATTLE, WA 98124-1966                   BOISE, ID 83702




IDAHO POWER                             IDAHO STATE PUBLISHING                   IDAHO STATE TAX COMMISSION
PROCESSING CENTER                       PO BOX 431                               1118 "F" ST
P.O. BOX 34966                          POCATELLO, ID 83204                      PO BOX 1014
SEATTLE, WA 98124-1966                                                           LEWISTON, ID 83501
                      Case
IDAHO STATE TAX COMMISSION       18-12241-CSS     Doc TAX
                                           IDAHO STATE 26 COMMISSION
                                                            Filed 10/05/18   PageIDAHO
                                                                                   735 STATE
                                                                                        of 1739
                                                                                             TAX COMMISSION
150 SHOUP AVE                               1910 NORTHWEST BLVD                  440 FALLS AVE
STE 16                                      STE 100                              TWIN FALLS, ID 83301
IDAHO FALLS, ID 83402                       COEUR DALENE, ID 83814




IDAHO STATE TAX COMMISSION                  IDAHO STATE TAX COMMISSION           IDAHO STATE TAX COMMISSION
611 WILSON AVE                              800 PARK BLVD., PLAZA IV             ATTN: BUSINESS LICENSE DEPT.
STE 5704                                    BOISE, ID 83722-0410                 PO BOX 36
POCATELLO, ID 83201                                                              BOISE, ID 83722




IDAHO STATE TAX COMMISSION                  IDAHO STATE TAX COMMISSION           IDAHO STATE TAX COMMISSION
ATTN: SALES & USE TAX DEPT.                 ATTN: UNCLAIMED PROPERTY DEPT.       PO BOX 76
PO BOX 76                                   PO BOX 36                            BOISE, ID 83707
BOISE, ID 83707                             BOISE, ID 83722




IDAHO STATE TAX COMMISSION                  IDAHO STATE TREASURER                IDAHO STATESMAN
SALES TAX AUDIT                             IDAHO UNCLAIMED PROPERTY             PO BOX 40
PO BOX 36                                   PO BOX 83720                         BOISE, ID 83707
BOISE, ID 83722-0410                        BOISE, ID 83720-9101




IDAHO STATESMAN                             IDAHO TRANSPORTATION DEPT            IDAHO
THE MCCLATCHY COMPANY ADVERTISING           ADA COUNTY ASSESSOR                  STATE TAX COMMISSION
PO BOX 35174                                190 E FRONT ST STE 107               PO BOX 36
SEATTLE, WA 98124-5174                      BOISE, ID 83702                      BOISE, ID 83722-0410




IDEAL FIRE & SECURITY                       IDEAL MANAGEMENT COMPANY             IDEALEASE SERVICES INC
6913 CAMP BOWIE BLVD SUITE 181              ATTN: ROSA MESA                      PO BOX 74759
FORT WORTH, TX 76116                        12568 SW 88TH STREET                 CHICAGO, IL 60694-4759
                                            MIAMI, FL 33186




IDEAOLOGY ADVERTISING INC.                  IDENTITY MGMT CONSULTANTS LLC        IDERA INC
4223 GLENCOE AVE SUITE A127                 1702 MINTERS CHAPEL RD STE 114       PO BOX 671573
MARINA DEL REY, CA 90292                    GRAPEVINE, TX 76051                  DALLAS, TX 75267-0388




IDFL LABORATORY & INSTITUTE                 IDLEWOOD PROPERTIES INC              IDLEWOOD PROPERTIES, INC.
1455 S 1100 E                               5025 W WINTERS CHAPEL RD             5025 WINTER CHAPEL ROAD, SUITE M
SALT LAKE CITY, UT 84105                    ATLANTA, GA 30360                    ATTN: JEREMY ROSENTHALL
                                                                                 ATLANTA, GA 30360




IDLEWOOD PROPERTIES, INC.                   IDRIS GUDAL                          IDS REAL ESTATE GROUP
ATTN: JEREMY ROSENTHALL                     2510 TIMBERLAKE DR                   ATTN: MARK HOEKSTRA
5025 WINTER CHAPEL ROAD, SUITE M            IRVING, TX 75062                     629 J STREET, SUITE 204
ATLANTA, GA 30360                                                                SAN DIEGO, CA 92101




IES COMMERCIAL INC                          IESHAW SMITH                         IESI OF MARYLAND
2810 S ROOSEVELT ST                         10201 S. MAIN STREET                 1701 OLIVE ST
TEMPE, AZ 85282                             HOUSTON, TX 77025                    CAPITAL HEIGHTS, MD 20743
IESI OF MARYLAND        Case   18-12241-CSS      Doc 26 &Filed
                                         IFIX SMARTPHONES      10/05/18
                                                          TABLETS         PageIGC
                                                                                736 of 1739
2911 52ND AVE                            1648 S 310TH ST STE 11               P.O. BOX 64
HYATTSVILLE, MD 20781-1134               FEDERAL WAY, WA 98003                BOISE, ID 83732-0064




IGINIA MCNEIL                            IGNACIO BROWN                        IGNACIO MOLINA-MORALES
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




IGNITIONONE INC                          IGOR KOVALCHUK                       IHAB AL KHAFAGI
PO BOX 742830                            10201 S. MAIN STREET                 10201 S. MAIN STREET
ATLANTA, GA 30374-2830                   HOUSTON, TX 77025                    HOUSTON, TX 77025




IHAB AMIN                                IHEART AKRON                         IHEART BAKERSFIELD
10201 S. MAIN STREET                     3964 COLLECTION CENTER DR            20880 STONE OAK PKWY
HOUSTON, TX 77025                        CHICAGO, IL 60693-0039               SAN ANTONIO, TX 78258




IHEART BALTIMORE                         IHEART BIRMINGHAM                    IHEART CLEVELAND
CITICASTER COMPANY                       PO BOX 406162                        98417 COLLECTIONS CENTER DR
PO BOX 419499                            ATLANTA, GA 30364                    CHICAGO, IL 60693
BOSTON, MA 02241-9499




IHEART COLUMBIA                          IHEART DAYTON                        IHEART FAYETTEVILLE
PO BOX 406066                            3879 COLLECTIONS CENTER DR           PO BOX 847572
ATLANTA, GA 30384-6066                   CHICAGO, IL 60693                    DALLAS, TX 75284-7572




IHEART GRAND RAPIDS                      IHEART HUNTSVILLE                    IHEART LEXINGTON
3964 COLLECTIONS CENTER DR               PO BOX 406033                        20880 STONE OAK PKWY
CHICAGO, IL 60693-0039                   ATLANTA, GA 30384-6033               SAN ANTONIO, TX 78258




IHEART LITTLE ROCK                       IHEART LOUISVILLE                    IHEART MADISON
PO BOX 847572                            3964 COLLECTIONS CENTER DR           3964 COLLECTIONS CENTER DR
DALLAS, TX 75284-7572                    CHICAGO, IL 60693-0039               CHICAGO, IL 60693-0039




IHEART MEDIA AUGUSTA                     IHEART MEDIA AUGUSTA                 IHEART MEDIA CHICAGO
PO BOX 406372                            WBBQ-FM                              233 N MICHIGAN AVE STE 2800
ATLANTA, GA 30384-6372                   PO BOX 406256                        CHICAGO, IL 60601
                                         ATLANTA, GA 30384-6256




IHEART MEDIA ENTERTAINMENT INC           IHEART MEDIA FRESNO                  IHEART MEDIA HOUSTON
20880 STONE OAK PKWY                     83 E. SHAW, AVE 150                  PO BOX 847654
SAN ANTONIO, TX 78258                    FRESNO, CA 93710                     DALLAS, TX 75284-7654
                       Case
IHEART MEDIA INLAND EMPIRE    18-12241-CSS     Doc 26
                                        IHEART MEDIA      Filed 10/05/18
                                                     KEGL-FM               PageIHEART
                                                                                 737 of 1739
                                                                                      MEDIA LAS VEGAS
LOCKBOX LAC-056499                       PO BOX 847572                         FILE 56107
2706 MEDIA CENTER DR                     DALLAS, TX 75284-7572                 LOS ANGELES, CA 90074-6107
LOS ANGELES, CA 90065




IHEART MEDIA MODESTO                     IHEART MEDIA MONTEREY                 IHEART MEDIA SACRAMENTO
2121 LANCEY DRIVE                        FILE 56107                            254 SACRA PO BOX 742001
MODESTO, CA 95355                        LOS ANGELES, CA 90074-6107            LOS ANGELES, CA 90074-2001




IHEART MEDIA SAN DIEGO                   IHEART MEDIA SAN FRANCISCO            IHEART MEDIA WXKS-FM
FILE 56492                               IHEARTMEDIA                           PO BOX 419499
LOS ANGELES, CA 90074-6492               FILE 56107                            BOSTON, MA 02241-9499
                                         LOS ANGELES, CA 90074-2768




IHEART MEDIA                             IHEART MEDIA                          IHEART MILWAUKEE
3885 COLLECTIONS CENTER DR               PO BOX 98849                          PO BOX 847304
CHICAGO, IL 60693                        CHICAGO, IL 60693                     DALLAS, TX 75284-7304




IHEART MONTGOMERY                        IHEART OKLAHOMA CITY                  IHEART OMAHA
PO BOX 406159                            PO BOX 847319                         PO BOX 419499
ATLANTA, GA 30384-6159                   DALLAS, TX 75284-7319                 BOSTON, MA 02241-9499




IHEART PHOENIX                           IHEART PITTSBURG                      IHEART PROVIDENCE
3885 COLLECTIONS CENTER DR               5570 COLLECTIONS CENTER DR            20880 STONE OAK PKWY
CHICAGO, IL 60693                        CHICAGO, IL 60693                     SAN ANTONIO, TX 78258




IHEART RICHMOND                          IHEART SALISBURY                      IHEART SPOKANE
PO BOX 419499                            PO BOX 406372                         PO BOX 847479
BOSTON, MA 02241-9499                    ATLANTA, GA 30384-6372                DALLAS, TX 75284-7479




IHEART SPRINGFIELD                       IHEART WICHITA                        IHEARTMEDIA & ENTERTAINMENT INC
PO BOX 847572                            PO BOX 847572                         DBA WOODAM WSRWFM WBCTFM
DALLAS, TX 75284-7572                    DALLAS, TX 75284-7572                 20880 STONE OAK PKWY
                                                                               SAN ANTONIO, TX 78258




IHEARTMEDIA & ENTERTAINMENT INC          IHEARTMEDIA & ENTERTAINMENT INC       IHEARTMEDIA ENTERTAINMENT INC
KGBX-FM                                  WBCT-FM                               DBA IHEART MEDIA
20880 STONE OAK PKWY                     20880 STONE OAK PKWY                  PO BOX 98849
SAN ANTONIO, TX 78258                    SAN ANTONIO, TX 78258                 CHICAGO, IL 60693




IHEARTMEDIA ENTERTAINMENT INC            IHEARTMEDIA ENTERTAINMENT INC         IHEARTMEDIA ENTERTAINMENT INC
DBA KGBXFM KSWFFM KXUSFM                 IHEARTMEDIA WWBB-FM                   IHEARTMEDIA
20880 STONE OAK PKWY                     20880 STONE OAK PKWY                  3964 COLLECTION CENTER DR
SAN ANTONIO, TX 78258                    SAN ANTONIO, TX 78258-7460            CHICAGO, IL 60693-0039
                       Case
IHEARTMEDIA ENTERTAINMENT INC18-12241-CSS      Doc ENTERTAINMENT
                                       IHEARTMEDIA  26 Filed 10/05/18
                                                                 INC       PageIHEARTMEDIA
                                                                                 738 of 1739
                                                                                           ENTERTAINMENT INC
IHEARTMEDIA                            KHKNFM KMJXFM KSSNFM KDJEFM             KHKN-FM
POB 406372                             10800 COLONEL GLENN RD                  10800 COLONEL GLENN RD
ATLANTA, GA 30384-6372                 LITTLE ROCK, AR 72204                   LITTLE ROCK, AR 72204




IHEARTMEDIA ENTERTAINMENT INC         IHEARTMEDIA ENTERTIANMENT INC            IHEARTMEDIA INC
PO BOX 419499                         DBA WBFA-FM                              PO BOX 419499
BOSTON, MA 02241-9499                 PO BOX 406372                            BOSTON, MA 02241-9499
                                      ATLANTA, GA 30384-6372




IHEARTMEDIA INC                       IHEARTMEDIA INC                          IHEARTMEDIA KCDA-FM
WRXL-FM                               WTVR-FM                                  PO BOX 419499
PO BOX 419499                         PO BOX 419499                            BOSTON, MA 02241-9499
BOSTON, MA 02241-9499                 BOSTON, MA 02241-9499




IHEARTMEDIA KODA-FM                   IHEARTMEDIA KQOD-FM                      IHEARTMEDIA KSSK-FM
PO BOX 847572                         FILE 56107                               FILE 56107
DALLAS, TX 75284-7572                 LOS ANGELES, CA 90074-6107               LOS ANGELES, CA 90074-6107




IHEARTMEDIA KUBT-FM                   IHEARTMEDIA KVET-FM                      IHEARTMEDIA PLUS ENTERTAINMENT INC
FILE 56107                            PO BOX 847572                            4000 1 RADIO DR
LOS ANGELES, CA 90074-6107            DALLAS, TX 75284-7572                    LOUISVILLE, KY 40218




IHEARTMEDIA PLUS ENTERTAINMENT INC    IHEARTMEDIA PLUS ENTERTAINMENT INC       IHEARTMEDIA WACL-FM
WAMZ-FM                               WNRW-FM                                  5940 COLLECTIONS CENTER DR
4000 1 RADIO DR                       4000 1 RADIO DR                          CHICAGO, IL 60693
LOUISVILLE, KY 40218                  LOUISVILLE, KY 40218




IHEARTMEDIA WAEB-FM                   IHEARTMEDIA WASH-FM                      IHEARTMEDIA WAXQ-FM
BANK OF AMERICA BOX 406054            PO BOX 419499                            5080 COLLECTION CENTER DR
6000 FELDWOOD RD                      BOSTON, MA 02241-9499                    CHICAGO, IL 60693
ATLANTA, GA 30349




IHEARTMEDIA WAXR-FM                   IHEARTMEDIA WBIG-FM                      IHEARTMEDIA WBTJ-FM
5940 COLLECTIONS CENTER DR            PO BOX 419499                            PO BOX 402584
CHICAGO, IL 60693                     BOSTON, MA 02241-9499                    ATLANTA, GA 30384-2584




IHEARTMEDIA WBZ-AM                    IHEARTMEDIA WCOD-FM                      IHEARTMEDIA WDAS-FM
PO BOX 419499                         PO BOX 32960                             5529 COLLECTIONS CENTER DR
BOSTON, MA 02241-9499                 CHICAGO, IL 60693-0329                   CHICAGO, IL 60693




IHEARTMEDIA WEND-FM                   IHEARTMEDIA WGIR-FM                      IHEARTMEDIA WHCN-FM
PO BOX 406372                         PO BOX 406080                            PO BOX 406039
ATLANTA, GA 30384-6372                ATLANTA, GA 30384-6080                   ATLANTA, GA 30384-6039
IHEARTMEDIA WHEB-FM      Case 18-12241-CSS     Doc WHJY-FM
                                        IHEARTMEDIA 26 Filed 10/05/18   PageIHEARTMEDIA
                                                                              739 of 1739
                                                                                        WHQC-FM
PO BOX 406086                           PO BOX 419499                       PO BOX 406372
ATLANTA, GA 30384-6086                  BOSTON, MA 02241-9499               ATLANTA, GA 30384-6372




IHEARTMEDIA WHTZ-FM                     IHEARTMEDIA WHYN-FM                 IHEARTMEDIA WIOQ-FM
5080 COLLECTION CENTER DR               PO BOX 402660                       5529 COLLECTIONS CENTER DR
CHICAGO, IL 60693                       ATLANTA, GA 30384-2660              CHICAGO, IL 60693




IHEARTMEDIA WKCY-FM                     IHEARTMEDIA WKSB-FM                 IHEARTMEDIA WKSF-FM
5940 COLLECTIONS CENTER DR              PO BOX 402679                       PO BOX 406372
CHICAGO, IL 60693                       ATLANTA, GA 30384-2679              ATLANTA, GA 30384-6372




IHEARTMEDIA WKZP-FM                     IHEARTMEDIA WLAN-FM                 IHEARTMEDIA WLTW-FM
PO BOX 406372                           6000 FELDWOOD RD                    5080 COLLECTION CENTER DR
ATLANTA, GA 30384-6372                  PO BOX 402573                       CHICAGO, IL 60693
                                        ATLANTA, GA 30384-6404




IHEARTMEDIA WMKS-FM                     IHEARTMEDIA WNNJ-FM                 IHEARTMEDIA WOWI-FM
PO BOX 406372                           PO BOX 5854                         PO BOX 419499
ATLANTA, GA 30384-6372                  CHICAGO, IL 60693-0329              BOSTON, MA 02241-9499




IHEARTMEDIA WPGB-FM                     IHEARTMEDIA WPOC-FM                 IHEARTMEDIA WQHQ-FM
PO BOX 419499                           POBOX 419499                        PO BOX 406050
BOSTON, MA 02241-9499                   BOSTON, MA 02241-9499               ATLANTA, GA 30384-6050




IHEARTMEDIA WQNQ-FM                     IHEARTMEDIA WQSR-FM                 IHEARTMEDIA WRFY-FM
PO BOX 406372                           5540 COLLECTION CENTER DR           PO BOX 402654
ATLANTA, GA 30384-6372                  CHICAGO, IL 60693                   ATLANTA, GA 30384-6404




IHEARTMEDIA WRNX-FM                     IHEARTMEDIA WRVE-FM                 IHEARTMEDIA WRVV-FM
PO BOX 402660                           PO BOX 406016                       PO BOX 402555
ATLANTA, GA 30384-2660                  ATLANTA, GA 30384-6016              ATLANTA, GA 30384-2555




IHEARTMEDIA WRXL-FM                     IHEARTMEDIA WSNE-FM                 IHEARTMEDIA WSRS-FM
PO BOX 419499                           PO BOX 419499                       PO BOX 406078
BOSTON, MA 02241-9499                   BOSTON, MA 02241-9499               ATLANTA, GA 30384-6078




IHEARTMEDIA WSUS-FM                     IHEARTMEDIA WUBL-FM                 IHEARTMEDIA WUSQ-FM
PO BOX 5854                             PO BOX 406372                       PO BOX 406072
CHICAGO, IL 60693-0329                  ATLANTA, GA 30384-6372              ATLANTA, GA 30384-6072
IHEARTMEDIA WWBB-FM      Case 18-12241-CSS     Doc WWDC-FM
                                        IHEARTMEDIA 26 Filed 10/05/18   PageIHEARTMEDIA
                                                                              740 of 1739
                                                                                        WWFG-FM
PO BOX 419499                           PO BOX 419499                       PO BOX 406372
BOSTON, MA 02241-9499                   BOSTON, MA 02241-9499               ATLANTA, GA 30384-6372




IHEARTMEDIA WXTK-FM                     IHEARTMEDIA WZFT-FM                 IHEARTMEDIA WZLX-FM
PO BOX 32960                            PO BOX 419499                       PO BOX 419499
CHICAGO, IL 60693-0329                  BOSTON, MA 02241-9499               BOSTON, MA 02241-9499




IHEARTMEDIA                             IHEARTMEDIA                         IHEARTMEDIA
KAAZ-FM                                 KASE-FM                             KBCO-FM
4053 COLLECTIONS CTR DR                 PO BOX 847117                       3936 COLLECTIONS CTR DR
CHICAGO, IL 60693                       DALLAS, TX 75284                    CHICAGO, IL 60693




IHEARTMEDIA                             IHEARTMEDIA                         IHEARTMEDIA
KBOS-FM                                 KDFO-FM                             KDNN-FM
FILE 56107                              FILE 56107                          FILE 56107
LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107          LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                         IHEARTMEDIA
KDON-FM                                 KESZ-FM                             KFBK-AM
FILE 56107                              FILE 56107                          FILE 56107
LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107          LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                         IHEARTMEDIA
KFIV-AM                                 KFYI-AM                             KGB-FM
FILE 56107                              FILE 56107                          FILE 56107
LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107          LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                         IHEARTMEDIA
KGGI-FM                                 KHTS-FM                             KHVH-AM
FILE 56107                              FILE 56107                          FILE 56107
LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107          LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                         IHEARTMEDIA
KHYL-FM                                 KIOI-FM                             KIOZ-FM
FILE 56107                              FILE 56107                          FILE 56107
LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107          LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                         IHEARTMEDIA
KISQ-FM                                 KJMS-FM                             KJSN-FM
FILE 56107                              PO BOX 402646                       FILE 56107
LOS ANGELES, CA 90074-6107              ATLANTA, GA 30384-2646              LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                         IHEARTMEDIA
KKSF-AM                                 KLSD-AM                             KMEL-FM
FILE 56107                              FILE 56107                          FILE 56107
LOS ANGELES, CA 90074-6107              LOS ANGELS, CA 90074-6107           LOS ANGELES, CA 90074-6107
IHEARTMEDIA            Case   18-12241-CSS     Doc 26
                                        IHEARTMEDIA        Filed 10/05/18   PageIHEARTMEDIA
                                                                                  741 of 1739
KMYI-FM                                 KMYT-FM                                 KNIX-FM
FILE 56107                              FILE 56107                              FILE 56107
LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
KNRS-FM                                 KOA-AM                                  KOGO-AM
4053 COLLECTIONS CTR DR                 3936 COLLECTIONS CTR DR                 FILE 56107
CHICAGO, IL 60693                       CHICAGO, IL 60693                       LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
KOSO-FM                                 KPEZ-FM                                 KRFX-FM
FILE 56107                              PO BOX 847117                           3936 COLLECTIONS CTR DR
LOS ANGELES, CA 90074-6107              DALLAS, TX 75284                        CHICAGO, IL 60693




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
KRQQ-FM                                 KSNE-FM                                 KSTE-AM
FILE 56107                              FILE 56107                              FILE 56107
LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
KTCL-FM                                 KTMG-FM                                 KTOM-FM
3936 COLLECTIONS CTR DR                 FILE 56107                              FILE 56107
CHICAGO, IL 60693                       LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
KUCD-FM                                 KWNR-FM                                 KWNW-FM
FILE 56107                              FILE 56107                              PO BOX 402646
LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107              ATLANTA, GA 30384-2646




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
KYLD-FM                                 KYOT-FM                                 KZHT-FM
FILE 56107                              FILE 56107                              4053 COLLECTIONS CTR DR
LOS ANGELES, CA 90074-6107              LOS ANGELES, CA 90074-6107              CHICAGO, IL 60693




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
KZZP-FM                                 PO BOX 406372                           PO BOX 419499
FILE 56107                              ATLANTA, GA 30384-6372                  BOSTON, MA 02241-9499
LOS ANGELES, CA 90074-6107




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
PO BOX 847572                           WCOL-FM                                 WCOS-FM
DALLAS, TX 75284-7572                   3964 COLLECTION CENTER DR               PO BOX 406066
                                        CHICAGO, IL 60693-0039                  ATLANTA, GA 30384-6066




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
WDCG-FM                                 WDIA-AM                                 WDVE-FM
PO BOX 402570                           PO BOX 402646                           5570 COLLECTIONS CENTER DR
ATLANTA, GA 30384-2570                  ATLANTA, GA 30384-2646                  CHICAGO, IL 60693
IHEARTMEDIA              Case 18-12241-CSS     Doc 26
                                        IHEARTMEDIA        Filed 10/05/18   PageIHEARTMEDIA
                                                                                  742 of 1739
WEGR-FM                                 WFBQ-FM                                 WHAL-FM
PO BOX 402646                           PO BOX 406026                           PO BOX 402646
ATLANTA, GA 30384-2646                  ATLANTA, GA 30384-6026                  ATLANTA, GA 30384-2646




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
WHRK-FM                                 WKKT-FM                                 WKST-FM
PO BOX 402646                           PO BOX 406018                           5570 COLLECTIONS CENTER DR
ATLANTA, GA 30384-2646                  ATLANTA, GA 30384-6018                  CHICAGO, IL 60693




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
WMAG-FM                                 WNOK-FM                                 WNRQ-FM
PO BOX 406372                           PO BOX 406066                           PO BOX 842354
ATLANTA, GA 30384-6372                  ATLANTA, GA 30384-6066                  DALLAS, TX 75284-2354




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
WOLT-FM                                 WOWI-FM                                 WRDA-FM
PO BOX 406026                           PO BOX 419499                           PO BOX 406372
ATLANTA, GA 30384-6026                  BOSTON, MA 02241-9499                   ATLANTA, GA 30384-6372




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
WRDU-FM                                 WREC-AM                                 WRVW-FM
PO BOX 402570                           PO BOX 402646                           PO BOX 842354
ATLANTA, GA 30384-2570                  ATLANTA, GA 30384-2646                  DALLAS, TX 75284-2354




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
WUBT-FM                                 WVOC-AM                                 WWPW-FM
PO BOX 842354                           PO BOX 406066                           PO BOX 406372
DALLAS, TX 75284-2354                   ATLANTA, GA 30384-6066                  ATLANTA, GA 30384-6372




IHEARTMEDIA                             IHEARTMEDIA                             IHEARTMEDIA
WWSW-FM                                 WXDX-FM                                 WYNK-FM
5570 COLLECTIONS CTR DR                 5570 COLLECTIONS CENTER DR              PO BOX 847687
CHICAGO, IL 60693                       CHICAGO, IL 60693                       DALLAS, TX 75284




IHEARTMEDIA(WRVV-FM)                    IHEARTMEDIA-WDAS-FM                     IHEARTMEDIA-WRFF FM
PO BOX 402555                           PO BOX 419499                           PO BOX 419499
ATLANTA, GA 30384-2555                  BOSTON, MA 02241-9499                   BOSTON, MA 02241-9499




IHEARTMEDIA-WUSL FM                     IHP BELLE MEADE LLC                     IHSAAN MUHAMMAD
PO BOX 419499                           4678 WORLD PARKWAY CIRCLE               10201 S. MAIN STREET
BOSTON, MA 02241-9499                   ST. LOUIS, MO 63134                     HOUSTON, TX 77025




IKE SANTIAGO                            IKE ZACK                                IKENNA OBIAGWU
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
IKON FINANCIAL SERVICES Case   18-12241-CSS     DocSOLUTIONS
                                         IKON OFFICE 26 Filed 10/05/18       PageIKOPEDO
                                                                                   743 ofHARPER,
                                                                                          1739 LLC
P.O. BOX 650016                          PO BOX 660342                           C/O MCKAY INVESTMENT REALTY
DALLAS, TX 75265-0016                    DALLAS, TX 75266-0342                   1000 JORIE BOULEVARD, SUITE 34
                                                                                 ATTN: PENNY KOLOKOTRONIS
                                                                                 OAK BROOK, IL 60523



ILA WYLIE                                ILAND INTERNET SOLUTIONS                ILEANA KAIRUZ
1729 TULLY RD STE 6                      1235 NORTH LOOP W STE 800               5809 SW 41 ST
MODESTO, CA 95351                        HOUSTON, TX 77008                       MIAMI, FL 33155




ILENE KHAMVONGSA                         ILIANA BARAHONA                         ILIR MEKOLLI
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




ILLANA MACCUBBIN                         ILLINGHAM PROPERTIES COMPANY            ILLINOIS AMERICAN WATER
10201 S. MAIN STREET                     ROSALIE BOBOWSKI                        1025 LAUREL OAK RD
HOUSTON, TX 77025                        8525 FERNDALE ROAD, SUITE 204           VOORHEES, NJ 08043
                                         DALLAS, TX 75238




ILLINOIS AMERICAN WATER                  ILLINOIS AMERICAN WATER                 ILLINOIS DEPARTMENT OF REVENUE
P.O. BOX 21039                           P.O. BOX 94551                          ATTN: BUSINESS LICENSE DEPT.
TULSA, OK 74121                          PALATINE, IL 60094                      P.O. BOX 19045
                                                                                 SPRINGFIELD, IL 62794-9045




ILLINOIS DEPARTMENT OF REVENUE           ILLINOIS DEPARTMENT OF REVENUE          ILLINOIS DEPARTMENT OF REVENUE
ATTN: FRANCHISE TAX DEPT.                ATTN: SALES & USE TAX DEPT.             ATTN: TAX DEPT.
P.O. BOX 19045                           P.O. BOX 19045                          P.O. BOX 19045
SPRINGFIELD, IL 62794-9045               SPRINGFIELD, IL 62794-9045              SPRINGFIELD, IL 62794-9045




ILLINOIS DEPARTMENT OF REVENUE           ILLINOIS DEPARTMENT OF REVENUE          ILLINOIS DEPARTMENT OF REVENUE
ATTN: UNCLAIMED PROPERTY DEPT.           PO BOX 19035                            PO BOX 19035
P.O. BOX 19045                           SPRINGFIELD, IL 62794-9035              SPRINGFIELD, IL 62794-9045
SPRINGFIELD, IL 62794-9045




ILLINOIS DEPT OF EMPLOYMENT SECURITY     ILLINOIS DEPT OF REVENUE                ILLINOIS DEPT OF REVENUE
33 S STATE ST 10TH FLOOR                 15 EXECUTIVE DR STE 2                   200 S WYMAN ST
CHICAGO, IL 60603-2802                   FAIRVIEW HEIGHTS, IL 62208-1331         ROCKFORD, IL 61101




ILLINOIS DEPT OF REVENUE                 ILLINOIS DEPT OF REVENUE                ILLINOIS DEPT OF REVENUE
2309 W MAIN ST STE 114                   JAMES R. THOMPSON CTR - CONCOURSE       MAINE N REGIONAL BLDG
MARION, IL 62959-1196                    LVL                                     9511 HARRISON AVE
                                         100 W RANDOLPH ST                       DES PLAINES, IL 60016-1563
                                         CHICAGO, IL 60601-3274



ILLINOIS DEPT OF REVENUE                 ILLINOIS OFFICE OF THE STATE FIRE       ILLINOIS SECRETARY OF STATE
WILLARD ICE BLDG                         MARSHAL                                 213 STATE CAPITOL
101 W JEFFERSON ST.                      PO BOX 3331                             SPRINGFIELD, IL 62756
SPRINGFIELD, IL 62702                    SPRINGFIELD, IL 62708-3331
ILLINOIS STATE TREASURERSCase  18-12241-CSS
                           OFFICE        ILLINOIS Doc 26
                                                  TOLLWAY    Filed 10/05/18   PageILLINOIS
                                                                                    744 ofUNION
                                                                                           1739 INSURANCE COMPANY
UNCLAIMED PROPERTY DIVISION              PO BOX 5544                              PO BOX 1000
PO BOX 19496                             CHICAGO, IL 60680                        436 WALNUT ST - WA 07A
SPRINGFIELD, IL 62794-9496                                                        PHILADELPHIA, PA 19106




ILLUMINATION SERVICES LLC                 ILLUSION SALON & SPA LLC                ILSE M ROUSE
10216 SE 256TH ST                         1018 EDISON LN                          DBA B&R TRAILER RENTAL LLC
STE 103 PMB 505                           ALLEN, TX 75002                         1904 HARDEE RD
KENT, WA 98030                                                                    KINSTON, NC 28504




ILY LASSRI                                IMAGENET CONSULTING INC                 IMAGESET DIGITAL
10201 S. MAIN STREET                      913 N BROADWAY AVE                      ISSGR INC
HOUSTON, TX 77025                         OKLAHOMA CITY, OK 73102                 6611 PORTWEST DR STE 190
                                                                                  HOUSTON, TX 77024




IMAGINATION FOUNDATION                    IMAGINE ADVERTISING & PUBLISHING        IMAGINE COMMUNICATIONS CORP
PO BOX 861755                             6141 CROOKED CREEK                      PO BOX 732107
LOS ANGELES, CA 90086                     NORCROSS, GA 30092                      DALLAS, TX 75373-2107




IMAGINE PARENT LLC                        IMAGINE PRINT SOLUTIONS                 IMAGINE VISUAL SERVICE
IMAGINE EXPRESS LLC                       SDS 12-2000                             4215 21ST AVE WEST STE 100
2633 MINNEHAHA AVE                        PO BOX 86                               SEATTLE, WA 98199
MINNEAPOLIS, MN 55406                     MINNEAPOLIS, MN 55486-2000




IMAN MALIK                                IMANI TAYLOR                            IMC EQUITY GROUP
10201 S. MAIN STREET                      10201 S. MAIN STREET                    696 NE 125TH STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       NORTH MIAMI, FL 33161




IMC EQUITY GROUP                          IMC EQUITY GROUP                        IMCC WESTBANK VILLAGE LLC
JORGE DE LA ROSA, PM                      OSCAR FAILLAS                           C/O SRSA GULF SOUTH MGMT
696 NE 125TH STREET                       696 NE 125 STREET                       P.O. BOX 113130
NORTH MIAMI, FL 33161                     NORTH MIAMI, FL 33161                   METAIRIE, LA 70011




IMED ABDELLAOUI                           IMELDA MARTINEZ                         IMELDA PINES
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




IMG COLLEGE LLC                           IMG WORLDWIDE DBA IMG COLLEGE LLC       IMI HUNTSVILLE LLC
PO BOX 16533                              540 N TRADE ST                          365 THE BRIDGE ST STE 106
PALATINE, IL 60055                        WINSTON SALEM, NC 27101                 HUNTSVILLE, AL 35806




IMI HUNTSVILLE LLC                        IMI HUNTSVILLE LLC                      IMI HUNTSVILLE LLC
C/O BAYER PROPERTIES                      C/O MILLER CAPITAL ADVISORY, INC        HUNTSVILLE POWER CENTER
2222 ARLINGTON AVENUE                     5750 OLD ORCHARD ROAD, SUITE 400        PO BOX 742205
ATTN: GENERAL COUNSEL                     ATTN: STACY ANDERSON                    ATLANTA, GA 30374-2117
BIRMINGHAM, AL 35205                      SKOKIE, IL 60077
IMMANUEL JONES          Case 18-12241-CSS     Doc PARTNERS
                                       IMOLA CABOT 26 FiledLLC10/05/18
                                                               DBA RIVER PageIMOLA
                                                                               745CABOT
                                                                                   of 1739
                                                                                        PARTNERS LLC
10201 S. MAIN STREET                     PARK SHOPPING CENTER                 C/O BEST PROPERTIES ASSOCIATES INC
HOUSTON, TX 77025                        2580 SIERRA BLVD E                   2580 SIERRA BLVD E
                                         SACRAMENTO, CA 95825                 SACRAMENTO, CA 95825




IMOLA CABOT PARTNERS, LLC                IMPERIAL BAG & PAPER CO LLC          IMPERIAL INTERNATIONAL
C/O BEST PROPERTIES                      BURKE SUPPLY DIVISION                303 PATERSON PLANK RD
2580 SIERRA BOULEVARD, SUITE E           255 ROUTE 1 & 9                      CARLSTADT, NJ 07072
SACRAMENTO, CA 95825                     JERSEY CITY, NJ 07306




IMPERIAL IRRIGATION DISTRICT             IMPERIAL IRRIGATION DISTRICT         IMPERIAL PARKING (US) LLC
333 E BARIONI BLVD                       PO BOX 937                           DEPT CH 19118
IMPERIAL, CA 92251                       333 E BARIONI BLVD                   PALATINE, IL 60055-9118
                                         IMPERIAL, CA 92251




IMPERIAL REALTY CO.                      IMPERIAL REALTY CO.                  IMPERIAL REALTY COMPANY
4747 W PETERSON AVE                      4747 WEST PETERSON AVE STE 200       4747 WEST PETERSON AVENUE, SUITE 200
CHICAGO, IL 60646                        CHICAGO, IL 60646                    CHICAGO, IL 60646




IMPERIAL RETAIL COMPANY                  IMPERIAL STERLING LTD                IMPERIAL STERLING LTD
4747 WEST PETERSON AVENUE, SUITE 200     287 BOWMAN AVENUE, STE 222           C/O HSP REAL ESTATE GROUP
CHICAGO, IL 60646                        PURCHASE, NY 10577                   1040 AVENUE OF THE AMERICAS, 3RD
                                                                              FLOOR
                                                                              NEW YORK, NY 10018



IMPERIAL STERLING LTD                    IMPREMEDIA OPERATING COMPANY LLC     IMPREMEDIA
HSP REAL ESTATE GROUP                    1 METRO TECH CTR 18TH FL             915 WILSHIRE BLVD STE 800
1040 AVENUE OF THE AMERICAS 3RD FL       BROOKLYN, NY 11201                   LOS ANGELES, CA 90017
NEW YORK, NY 10018




IMPRINT ENTERPRISES INC                  IMRAN VIDAL                          IMRON CORPORATION
555 N COMMONS DR                         10201 S. MAIN STREET                 15375 BARRANCA PKWY STE B-106
AURORA, IL 60504                         HOUSTON, TX 77025                    IRVINE, CA 92618




IMS                                      IMTIAZ HUSSAIN                       IN HOME FURNITURE DELIVERY SERVICE
PO BOX 511307                            10201 S. MAIN STREET                 LLC
NEW BERLIN, WI 53151                     HOUSTON, TX 77025                    9415 BLAIR RD
                                                                              CHARLOTTE, NC 28227




IN THE NICK OF TIME MOVING LLC           INA MEREDITH LLC                     INADA MASSAGE CHAIRS
2805 E PROGRESS DR                       C/O VOLK COMPANY                     1750 55TH ST BLDG D
WEST BEND, WI 53095                      2730 E BROADWAY STE 200              BOULDER, CO 80301
                                         TUCSON, AZ 85716




INC. VILLAGE OF ROCKVILLE CENTRE         INCARNATION CALDERON                 INCINERATOR INTERNATIONAL INC
ATTN: CASHIERS OFFICE T                  10201 S. MAIN STREET                 PO BOX 8617
PO BOX 950                               HOUSTON, TX 77025                    HOUSTON, TX 77249
ROCKVILLE CENTRE, NY 11571-0950
                       Case
INCOME PROPERTY SERVICES DBA18-12241-CSS     Doc 26 Filed 10/05/18
                                      INCONTACT                           PageINCORPORATED
                                                                                746 of 1739VILLAGE OF LAKE GROVE
I R B S CORP                          LOCKBOX 0268                            OFFICE OF THE FIRE MARSHALL
1343 LOCUST ST STE 204                PO BOX 7247                             980 HAWKINS AVEPO BOX 708
WALNUT CREEK, CA 94596                PHILADELPHIA, PA 19170-0268             LAKE GROVE, NY 11755




INCOURT TECHNOLOGIES INC            INDEED INC                                INDEP II LLC
116 W SUMMERSWEET LN                MAIL CODE 5160                            2268 HAVERSHAM CLOSE
SANTA ROSA BEACH, FL 32459          PO BOX 660367                             VIRGINIA BEACH, VA 23454
                                    DALLAS, TX 75266-0367




INDEPENDENCE BOWL FOUNDATION INC    INDEPENDENCE CENTER-SIMON PROPERTY        INDEPENDENCE PARKWAY PROPERTIES
PO BOX 1723                         GROUP                                     LLC
SHREVEPORT, LA 71166                18813 E.39TH STREET SOUTH SUITE 2035      ATTN: MARK BEITH
                                    INDEPENDENCE, MO 64057                    1990 NILES-CORTLAND RD
                                                                              CORTLAND, OH 44410



INDEPENDENCE PARKWAY PROPERTIES     INDEPENDENCE UTILITIES                    INDEPENDENCE UTILITIES
ATTN: MARK BEITH                    17221 E 23RD ST S                         17221 E. 23RD ST. S.
1990 NILES CORTLAND ROAD            INDEPENDENCE, MO 64057                    INDEPENDENCE, MO 64057
CORTLAND, OH 44410




INDEPENDENT NEWSMEDIA INC. USA      INDEPENDENT-MAIL                          INDIA ABROAD PUBLICATIONS INC
110 GALAXY DR                       PO BOX 1411                               PO BOX 1876
DOVER, DE 19901                     CHARLOTTE, NC 28201-1411                  NEW YORK, NY 10156




INDIA S BREWTON                     INDIA WALKER                              INDIA WRIGHT
5005 GALLERIA DR APT 3213           10201 S. MAIN STREET                      10201 S. MAIN STREET
DALLAS, TX 75244                    HOUSTON, TX 77025                         HOUSTON, TX 77025




INDIAN HARBOR INSURANCE CO., C/O    INDIAN PARTNERS LLC                       INDIAN PARTNERS LLC
EDGEWOOD PARTNERS INSURANCE         5440 WADE PARK BLVD STE 200               ATTN: CONNELL RADCLIFF
CENTER                              RALEIGH, NC 27607                         P.O. BOX 2107
295 MADISON AVE. 38TH FLOOR                                                   CARY, NC 27512
NEW YORK, NY 10017



INDIAN PARTNERS LLC                 INDIAN PARTNERS LLC                       INDIAN RIVER COUNTY TAX COLLECTOR
C/O AVISON YOUNG- N CAROLINA LLC    C/O AVISON YOUNG-NORTH CAROLINA LLC       P.O. BOX 1509
5440 WADE PARK BLVD STE 200         127 WEST HARGETT STREET, SUITE 100        VERO BEACH, FL 32961-1509
RALEIGH, NC 27607                   RALEIGH, NC 27607




INDIAN RIVER COUNTY UTILITIES       INDIAN RIVER COUNTY UTILITIES             INDIAN RIVER COUNTY UTILITIES
1801 27TH ST                        ATTN: PROPERTY TAX DEPT.                  DEPT 0067
VERO BEACH, FL 32960                1801 27TH ST                              P.O. BOX 850001
                                    VERO BEACH, FL 32960                      ORLANDO, FL 32885-0067




INDIAN RIVER COUNTY                 INDIAN RIVER COUNTY                       INDIAN RIVER COUNTY
1801 27TH STREET                    ATTN: FINANCE DEPT                        ATTN: PUBLIC WORKS DIRECTOR
ATTN: PUBLIC WORKS DIRECTOR         1801 27TH ST                              1801 27TH STREET
VERO BEACH, FL 32960                VERO BEACH, FL 32960                      VERO BEACH, FL 32960
INDIAN RIVER COUNTY     Case   18-12241-CSS
                                         INDIANA Doc 26 WATER
                                                 AMERICAN Filed 10/05/18   PageINDIANA
                                                                                 747 ofAMERICAN
                                                                                         1739 WATER
ATTN: WILLIAM K. DEBRAAL                  1025 LAUREL OAK RD                   PO BOX 3027
1801 27TH STREET                          VOORHEES, NJ 08043                   MILWAUKEE, WI 53201-3027
VERO BEACH, FL 32960




INDIANA DEPARTMENT OF REVENUE             INDIANA DEPARTMENT OF REVENUE        INDIANA DEPARTMENT OF REVENUE
ATTN: BUSINESS LICENSE DEPT.              ATTN: INCOME TAX DEPT.               ATTN: SALES & USE TAX DEPT.
P.O. BOX 7226                             P.O. BOX 7226                        P.O. BOX 7226
INDIANAPOLIS, IN 46207-7226               INDIANAPOLIS, IN 46207-7226          INDIANAPOLIS, IN 46207-7226




INDIANA DEPARTMENT OF REVENUE             INDIANA DEPARTMENT OF REVENUE        INDIANA DEPT OF REVENUE
ATTN: UNCLAIMED PROPERTY DEPT.            P.O. BOX 7226                        100 EXECUTIVE DR STE B
P.O. BOX 7226                             INDIANAPOLIS, IN 46207-7226          LAFAYETTE, IN 47905
INDIANAPOLIS, IN 46207-7226




INDIANA DEPT OF REVENUE                   INDIANA DEPT OF REVENUE              INDIANA DEPT OF REVENUE
100 N SENATE IGCN                         105 E JEFFERSON BLVD STE 350         117 E SUPERIOR ST
RM N105                                   SOUTH BEND, IN 46601                 KOKOMO, IN 46901
INDIANAPOLIS, IN 46204




INDIANA DEPT OF REVENUE                   INDIANA DEPT OF REVENUE              INDIANA DEPT OF REVENUE
1200 MADISON ST STE E                     1411 E 85TH AVE                      1415 MAGNAVOX WAY STE 100
CLARKSVILLE, IN 47131                     MERRILLVILLE, IN 46410               FT WAYNE, IN 46804




INDIANA DEPT OF REVENUE                   INDIANA DEPT OF REVENUE              INDIANA DEPT OF REVENUE
30 N 8TH ST 3RD FL                        3520 TWO MILE HOUSE RD               3640 N BRIARWOOD LN STE 5
TERRE HAUTE, IN 47807                     COLUMBUS, IN 47201                   MUNCIE, IN 47304




INDIANA DEPT OF REVENUE                   INDIANA DEPT OF REVENUE              INDIANA DEPT OF REVENUE
414 LANDMARK AVE                          500 S GREEN RIVER RD                 PO BOX 1028
BLOOMINGTON, IN 47403                     STE 202, GOODWILL BLDG               INDIANAPOLIS, IN 46206-1028
                                          EVANSVILLE, IN 47715




INDIANA MEDIA GROUP                       INDIANA MICHIGAN POWER               INDIANA MICHIGAN POWER
P.O. BOX 607                              1 RIVERSIDE PLAZA                    P.O. BOX 24412
GREENSBURG, IN 47240-0607                 COLUMBUS, OH 43215                   CANTON, OH 44701-4412




INDIANA MICHIGAN POWER                    INDIANA NEWSPAPERS, INC              INDIANA STATE FAIR COMMISSION
PO BOX 24412                              P.O. BOX 677553                      1202 E 38TH STREET
CANTON, OH 44701-4412                     DALLAS, TX 75267-7553                INDIANAPOLIS, IN 46205




INDIANA STRIP LLC                         INDIANA STRIP LLC                    INDIANAPOLIS POWER & LIGHT CO
240 W 35TH STREET, SUITE 504              ATTN: ARTHUR KOKOT                   2102 N ILLINOIS ST
ATTN: ARTHUR KOKOT                        240 W 35TH ST STE 504                INDIANAPOLIS, IN 46202
NEW YORK, NY 10001                        NEW YORK, NY 10001
                         Case
INDIANAPOLIS POWER & LIGHT  CO   18-12241-CSS     Doc 26
                                           INDIANAPOLIS     Filed
                                                        POWER      10/05/18
                                                              & LIGHT CO.            PageINDIANAPOLIS
                                                                                           748 of 1739RADIO (WYXB-FM)
P.O. BOX 110                                P.O. BOX 110                                  DEPT 78950
INDIANAPOLIS, IN 46206-0110                 INDIANAPOLIS, IN 46206-0110                   PO BOX 78000
                                                                                          DETROIT, MI 48278-0950




INDIANAPOLIS RADIO WFNI-AM                  INDIGO CORNERS LLC                            INDRA R QUINTANA PABON
DEPT 78950                                  ATTN: JIM BASTIC-C/O REAL ESTATE ASSOC        10201 S. MAIN STREET
PO BOX 78000                                P O BOX 52328                                 HOUSTON, TX 77025
DETROIT, MI 48278-0950                      DURHAM, NC 27717-2328




INDUSTRIAL & COMMERCIAL PRODUCTS            INDUSTRIAL & COMMERCIAL PRODUCTS              INDUSTRIAL AUDIO/VIDEO, INC
24716 W MAIN ST                             PO BOX 849                                    2617 BISSONNET ST
BARSTOW, CA 92311                           BARSTOW, CA 92312                             HOUSTON, TX 77005-1399




INDUSTRIAL SERVICES INC.                    INDUSTRIAL SHELVING SYSTEMS                   INFINITA CORPORATION
6201 N 70TH ST                              455 E. ELLIOTT AVE.                           16405 NW 8TH AVE
LINCOLN, NE 68507                           SAINT LOUIS, MO 63122                         MIAMI, FL 33169




INFINITA CORPORATION                        INFINITE ENERGY INC.                          INFINITE ENERGY
PO BOX 23077                                P.O. BOX 105247                               7001 SW 24TH AVENUE
COLUMBUS, GA 31902                          ATLANTA, GA 30348-5247                        GAINESVILLE, FL 32607




INFINITE ENERGY                             INFINITE                                      INFINITY 3 REALTY LLC
P.O. BOX 71247                              PO BOX 836                                    1407 BROADWAY
CHARLOTTE, NC 28272-1247                    SHORT HILLS, NJ 07078                         30TH FL
                                                                                          NEW YORK, NY 10018




INFINITY 3 REALTY LLC                       INFINITY 3 REALTY LLC                         INFINITY 3 REALTY, LLC
C/O CAROLINA HOLDINGS INC                   P.O. BOX 25909                                C/O CAROLINA HOLDINGS, INC
PO BOX 25909                                GREENVILLE, SC 29616                          40 W BROAD STREET, #410
GREENVILLE, SC 29616                                                                      GREENVILLE, SC 29601




INFINITY 3 REALTY, LLC                      INFINITY BROADCASTING CORPORATION             INFINITY MASSAGE CHAIRS
C/O CAROLINA HOLDINGS, INC                  ENTERCOM/WWBX-FM                              ATTN: CHIEF FINANCIAL OFFICER
40 W BROAD STREET, 410                      83 LEO M BIRMINGHAM PKWY                      72 STARD RD UNIT 2
GREENVILLE, SC 29601                        BOSTON, MA 02135                              SEABROOK, NH 03874




INFINITY PACKAGING INC                      INFINITY PRINTING SUPPLIES                    INFO RETAIL INC
690 CHURCH RD                               PO BOX 3517                                   120 INTERSTATE N PKWY STE 226
ELGIN, IL 60123                             GRANADA HILLS, CA 91394                       ATLANTA, GA 30339




INFOR (US) INC                              INFOR (US) INC                                INFORMATICA LLC
13560 MORRIS RD STE 4100                    PO BOX 847798                                 PO BOX 741089
ALPHARETTA, GA 30004                        LOS ANGELES, CA 90084-7798                    LOS ANGELES, CA 90074-1089
INGA BARKS              Case 18-12241-CSS
                                       INGAGE Doc
                                              MEDIA26
                                                   LTD Filed 10/05/18        PageINGE
                                                                                   749TWADDLE
                                                                                       of 1739
6304 TRINIDAD AVE                       2-7 CLERKENWELL GREEN                    821 E GLENDALE ST
BAKERSFIELD, CA 93313                   LONDON EC1R 0DE                          CROWLEY, TX 76036
                                        UNITED KINGDOM




INGENICO INC                            INGRAM FESTIVAL SHOPPING CTR             INGRAM NORTH LOOP LLC
3025 WINWARD PLAZA STE 600              CENCOR REALTY SERVICES INC               C/O WEITZMAN
ALPHARETTA, GA 30005                    PO BOX 660394                            PO BOX 660394
                                        DALLAS, TX 75266-0394                    DALLAS, TX 75266-0394




INGRAM NORTH LOOP SHOPPING CENTER       INGRAM NORTH LOOP SHOPPING CENTER        INGRAM NORTH LOOP, LLC
LP                                      LP                                       C/O THE WEITZMAN GROUP
C/O GK MGMT CO INC                      C/O SIMON PROPERTY GROUP INC             70 NE LOOP 410, SUITE 450
5150 OVERLAND AVE                       225 WEST WASHINGTON ST                   SAN ANTONIO, TX 78216
CULVER CITY, CA 90230                   INDIANAPOLIS, IN 46204



INGRID EMANUELLI                        INGRID JAMES                             INGRID JAMES
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




INGRID MORALES REYES                    INGSTAD RADIO WASHINGTON DBA RADIO       INGSTAD RADIO WASHINGTON LLC
10201 S. MAIN STREET                    YAKIMA                                   17 N 3RD ST STE 103
HOUSTON, TX 77025                       KRSE-FM                                  YAKIMA, WA 98901
                                        17 N 3RD ST STE 103
                                        YAKIMA, WA 98901



INIKO GORDON                            INIOBONG EBONG                           INKBOX PRINTING LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                     4822 N SAM HOUSTON PKWY WEST
HOUSTON, TX 77025                       HOUSTON, TX 77025                        STE 200
                                                                                 HOUSTON, TX 77086




INLAND AM RETAIL MGMT                   INLAND AMER.LEAGUE CITY VICTORY LAKES    INLAND AMERICAN CHICAGO LINCOLN LLC
33012 COLLECTION CENTER DR              LTD                                      NW 6447 PO BOX 1450
CHICAGO, IL 60693-0330                  C/O INLAND AMERICAN RETAIL MGMT LLC      MINNEAPOLIS, MN 55485-6447
                                        32057 COLLECTIONS CENTER DR
                                        CHICAGO, IL 60693



INLAND AMERICAN GARNER WHITE OAK LLC    INLAND AMERICAN GARNER WHITE OAK LLC     INLAND AMERICAN HOLDCO MGMT LLC
2901 BUTTERFIELD ROAD                   PO BOX 677813                            DBA INLAND AMERICAN MGMT LLC
OAK BROOK, IL 60523                     DEPT 4469602                             32057 COLLECTIONS CENTER DR
                                        DALLAS, TX 75267-7813                    CHICAGO, IL 60693




INLAND AMERICAN RETAIL MANAGEMENT       INLAND AMERICAN RETAIL MANAGEMENT        INLAND AMERICAN RETAIL MANAGEMENT
LLC                                     LLC                                      LLC
13977 COLLECTIONS CENTER DR             2901 BUTTERFIELD RD                      32057 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693-0139                  OAK BROOK, IL 60523                      CHICAGO, IL 60693-0139




INLAND AMERICAN RETAIL MANAGEMENT,      INLAND AMERICAN RETAIL MANAGEMENT,       INLAND AMERICAN RETAIL MANAGEMENT,
BUILDING 44667                          BUILDING 44667                           BUILDING 44727
2100 POWERS FERRY ROAD, SUITE 110       ATTN: PROPERTY MANAGER                   ATTN: NORMA ALEMAN
ATTN: PROPERTY MANAGER                  2100 POWERS FERRY ROAD, SUITE 110        12340 JONES ROAD, SUITE 290
ATLANTA, GA 30339                       ATLANTA, GA 30339                        HOUSTON, TX 77070
                       Case 18-12241-CSS
INLAND AMERICAN RETAIL MANAGEMENT,           Doc 26 RETAIL
                                      INLAND AMERICAN     FiledMGMT
                                                                10/05/18
                                                                    LLC        PageINLAND
                                                                                     750 of 1739 RETAIL MGMT LLC
                                                                                          AMERICAN
LLC                                   RENT00725                                    RENT00725
LOCK BOX 16158                        13977 COLLECTIONS CENTER DR                  2901 BUTTERFIELD RD
13977 COLLECTIONS CTR DR              CHICAGO, IL 60693-0139                       OAK BROOK, IL 60523
CHICAGO, IL 60693-0139



INLAND AMERICAN RETAIL MGMT LLC         INLAND AMERICAN RETAIL MGMT LLC            INLAND AMERICAN RETAIL MGMT LLC
RENT00725                               RENT02506                                  13977 COLLECTIONS CENTER DR
IA HIRAM PAVILION LLC                   13977 COLLECTIONS CENTER DR                BUILDING 44562
16122 COLLCTIONS CENTER DR              CHICAGO, IL 60693-0139                     CHICAGO, IL 60693-0139
CHICAGO, IL 60693-0139



INLAND AMERICAN RETAIL MGMT LLC         INLAND AMERICAN RETAIL MGMT LLC            INLAND AMERICAN RETAIL MGMT LLC
13977 COLLECTIONS CENTER DR             16158 COLLECTIONS CENTER DR                44664
CHICAGO, IL 60693-0139                  CHICAGO, IL 60693-0139                     13977 COLLECTIONS CTR DR
                                                                                   CHICAGO, IL 60693-0139




INLAND AMERICAN RETAIL MGMT LLC         INLAND AMERICAN RETAIL MGMT LLC            INLAND AMERICAN RETAIL MGMT LLC
BLDG 44703                              BLDG. 44693 AS AGENT                       IA HIRAM PAVILION LLC
13977 COLLECTIONS CENTER DR             13977 COLLECTIONS CENTER DR                16122 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0139                  CHICAGO, IL 60693-0139                     CHICAGO, IL 60693-0139




INLAND AMERICAN RETAIL MGMT LLC         INLAND AMERICAN RETAIL MGMT LLC-BLDG       INLAND AMERICAN RETAIL MGMT, LLC-IA ST.
P.O. BOX 203463                         44703                                      PETERSBURG GATEWAY,
DALLAS, TX 75320-3463                   2901 BUTTERFIELD RD                        16087 COLLECTIONS CENTER DRIVE
                                        OAK BROOK, IL 60523                        CHICAGO, IL 60693-0139




INLAND AMERICAN SAN ANTONIO STONE       INLAND AMERICAN SAN ANTONIO STONE          INLAND AMERICAN SAN ANTONIO STONE
RIDGE LLC                               RIDGE LLC                                  RIDGE, LLC
2901 BUTTERFIELD RD                     62935 COLLECTIONS CENTER DR                C/O INLAND AMERICAN RETAIL
OAK BROOK, IL 60523                     CHICAGO, IL 60693                          MANAGEMENT, BUILDING 44727
                                                                                   12340 JONES ROAD, SUITE 290
                                                                                   ATTN: NORMA ALEMAN
                                                                                   HOUSTON, TX 77070

INLAND AMERICAN SAN ANTONIO STONE       INLAND AMERICAN SAN ANTONIO                INLAND AMERICAN SAN ANTONIO
RIDGE, LLC                              WOODLAKE LP                                WOODLAKE LP
C/O INLAND AMERICAN RETAIL              2901 BUTTERFIELD ROAD                      ATTN: MATTHEW TICE
MANAGEMENT, BUILDING 44727              ATTN: MATTHEW TICE                         2901 BUTTERFIELD ROAD
2907 BUTTERFIELD ROAD                   OAK BROOK, IL 60523                        OAK BROOK, IL 60523
ATTN: SENIOR VP
OAK BROOK, IL 60523

INLAND COMM PROP MGMT                   INLAND COMMERCIAL PROP MGMT INC-AN         INLAND COMMERCIAL PROP MGMT
24953                                   ILLNOIS CORP                               LEASE 28467
4575 PAYSPHERE CIRCLE                   MANAGING AGENT-SHOPPING CTR OWNER          4575 PAYSPHERE CIRCLE
CHICAGO, IL 60674                       2901 BUTTERFIELD RD                        CHICAGO, IL 60674
                                        HINSDALE, IL 60523



INLAND COMMERCIAL PROPERTY MGMNT        INLAND COMMERCIAL PROPERTY MGMNT           INLAND COMMERCIAL PROPERTY MGMNT
INC                                     INC                                        INC
4575 PAYSHERE CIRCLE                    C/O 144005                                 LOCKBOX 233753
CHICAGO, IL 60674                       4575 PAYSPHERE CIRCLE                      3753 MOMENTUM PLACE
                                        CHICAGO, IL 60693                          CHICAGO, IL 60689



INLAND COMMERCIAL PROPERTY MGMT         INLAND COMMERCIAL PROPERTY MGMT 273        INLAND COMMERCIAL PROPERTY MGMT INC
INC.                                    L1636/B 10263                              4575 PAYSPHCRE CIRCLE
(144005)AGENT-INLAND PRAIRIE CROSSING   4641 SOLUTION CENTER                       CHICAGO, IL 60674
4575 PAYSPHCRE CIRCLE                   CHICAGO, IL 60677-4006
CHICAGO, IL 60674
                      CaseMGMT
INLAND COMMERCIAL PROPERTY 18-12241-CSS     Doc 26 Filed
                                     INLAND COMMERCIAL        10/05/18
                                                         PROPERTY            PageINLAND
                                                                                   751 of 1739 PROPERTY
                                                                                        COMMERCIAL
4575 PAYSPHERE CIRCLE                2901 BUTTERFIELD RD                         4575 PAYSPHERE CIRCLE
CHICAGO, IL 60674                    OAK BROOK, IL 60523                         CHICAGO, IL 60674




INLAND COMMERCIAL RE SRVS LLC         INLAND COMMERCIAL RE SRVS LLC              INLAND COMMERCIAL RE SRVS LLC
2901 BUTTERFIELD RD                   62903 COLLECTIONS CTR DR                   BLDG 75055
OAK BROOK, IL 60523                   CHICAGO, IL 60693                          62903 COLLECTIONS CTR DR
                                                                                 CHICAGO, IL 60693




INLAND COMMERCIAL REAL ESTATE         INLAND COMMERCIAL REAL ESTATE              INLAND COMMERCIAL REAL ESTATE
SERVICES LLC                          SERVICES LLC                               SERVICES LLC
2901 BUTTERFIELD RD                   62903 COLLECTION CENTER DR                 BLDG 75016
OAK BROOK, IL 60523                   CHICAGO, IL 60693-0629                     62903 COLLECTION CENTER DR
                                                                                 CHICAGO, IL 60693-0629



INLAND COMMERCIAL REAL ESTATE         INLAND COMMERCIAL REAL ESTATE              INLAND COMMERCIAL REAL ESTATE
SERVICES LLC                          SERVICES LLC                               SERVICES LLC
BLDG 75024                            BLDG 75056                                 C/O IREIT MANSFIELD POINTE, LLC
62903 COLLECTION CENTER DR            62903 COLLECTION CENTER DR                 2901 BUTTERFIELD ROAD
CHICAGO, IL 60693-0629                CHICAGO, IL 60693-0629                     OAK BROOK, IL 60523



INLAND COMMERCIAL REAL ESTATE SRVS    INLAND COMMERCIAL REAL ESTATE SRVS         INLAND COMMERCIAL REAL ESTATE SRVS
LLC                                   2901 BUTTERFIELD RD                        BLDG 75033
BLDG 75052                            OAK BROOK, IL 60523                        62903 COLLECTION CENTER DR
62903 COLLECTION CENTER DR                                                       CHICAGO, IL 60693-0629
CHICAGO, IL 60693-0692



INLAND COMMERCIAL REAL ESTATE SVS     INLAND COMMERCIAL                          INLAND COMPANIES INC DBA PORTECH
ATTN: BLD 75054                       LEASE 26277                                1243 N 10TH ST SUITE 300
62903 COLLECTION CENTER DR            4575 PAYSPHERE CIRCLE                      MILWAUKEE, WI 53205
CHICAGO, IL 60693-0629                CHICAGO, IL 60674




INLAND CONTINENTAL PROP MGMT CORP     INLAND CONTINENTAL PROP MGMT               INLAND CONTINENTAL PROPERTY
2901 BUTTERFIELD RD                   32533 COLLECTION DR BLDG 51317             MANAGEMENT CORP
OAK BROOK, IL 60523                   CHICAGO, IL 60693                          BLDG 1386
                                                                                 2901 BUTTERFIELD RD
                                                                                 OAK BROOK, IL 60523



INLAND CONTINENTAL PROPERTY           INLAND DIVER PALM COAST LANDING LLC        INLAND DIVERSFIED REAL ESTATE TRUST
MANAGEMENT CORP.                      CO INLAND DIVERSIFIED RE SVCS LLC          INC
RANDY OLSON                           BLDG 65047 15961 COLLECTIONS CENTER DR     15961 COLLECTIONS CENTER DR
2901 BUTTERFIELD ROAD                 CHICAGO, IL 60693-0139                     BLDG. 65025
OAK BROOK, IL 60523                                                              CHICAGO, IL 60693



INLAND DIVERSIFIED CHARLOTTE          INLAND DIVERSIFIED CHARLOTTE               INLAND DIVERSIFIED LAS VEGAS
NORTHCREST LLC                        NORTHCREST LLC                             CENTENNIAL GATEWAY LLC
2901 BUTTERFIELD RD                   62220 COLLECTIONS CTR DR                   2901 BUTTERFIELD RD
OAK BROOK, IL 60523                   CHICAGO, IL 60693                          OAK BROOK, IL 60523




INLAND DIVERSIFIED LAS VEGAS          INLAND DIVERSIFIED LAS VEGAS EASTERN       INLAND DIVERSIFIED LAS VEGAS EASTERN
CENTENNIAL GATEWAY LLC                BELTWAY LLC                                BELTWAY LLC
C/O INLAND TERRITORY LLC ACCT         2901 BUTTERFIELD RD                        REF EASTERN BELTWAY
237025386239                          OAK BROOK, IL 60523                        62958 COLLECTIONS CENTER DR
62921 COLLECTIONS CENTER DR                                                      CHICAGO, IL 60693
CHICAGO, IL 60693
INLAND DIVERSIFIED PORT Case   18-12241-CSS
                        ST. LUCIE               Doc 26 RFiled
                                         INLAND DIVERSIFIED       10/05/18
                                                             E SERVICES LLC      PageINLAND
                                                                                       752 of  1739 REAL ESTATE
                                                                                            DIVERSIFIED
LANDING LLC                              15961 COLLECTIONS CNTR DR BLDG 65021        SERVICES LLC
BLDG 65006                               CHICAGO, IL 60693                           BLDG 65053
P O BOX 74896                                                                        15961 COLLECTION CNTR DR
CLEVELAND, OH 44194-4896                                                             CHICAGO, IL 60693-0139



INLAND DIVERSIFIED REAL ESTATE           INLAND DIVERSIFIED REAL ESTATE              INLAND DIVERSIFIED REAL ESTATE
SERVICES LLC                             SERVICES LLC                                SERVICES LLC
15961 COLLECTION CENTER DR               15961 COLLECTIONS CENTER DR                 2901 BUTTERFIELD RD
CHICAGO, IL 60693                        CHICAGO, IL 60693                           OAK BROOK, IL 60523




INLAND DIVERSIFIED REAL ESTATE           INLAND DIVERSIFIED REAL ESTATE              INLAND DIVERSIFIED REAL ESTATE
SERVICES LLC                             SERVICES LLC                                SERVICES, LLC
BUILDING 65096                           PROPERTY 65003                              2901 BUTTERFIELD RD
15961 COLLECTIONS CENTER DRIVE           15961 COLLECTIONS CENTER DR                 OAK BROOK, IL 60523
CHICAGO, IL 60693-0139                   CHICAGO, IL 60693



INLAND DIVERSIFIED REAL ESTATE           INLAND DIVERSIFIED REAL ESTATE              INLAND DIVERSIFIED REAL ESTATE SVC LLC
SERVICES, LLC                            SERVICES, LLC                               BLDG 65057
BLDG #65053                              BLDG 65053                                  15961 COLLECTIONS CENTER DR
3901 BUTTERFIELD ROAD                    3901 BUTTERFIELD ROAD                       CHICAGO, IL 60693-0139
ATTN: PRESIDENT                          ATTN: PRESIDENT
OAK BROOK, IL 60523                      OAK BROOK, IL 60523


INLAND DIVERSIFIED REAL ESTATE SVC LLC   INLAND DIVERSIFIED REAL ESTATE TRUST,       INLAND EMPIRE BROADCASTING CORP
BLDG 65057                               INC.                                        1940 ORANGE TREE LN STE 200
2901 BUTTERFIELD RD                      ATTN: 65033                                 REDLANDS, CA 92374
OAK BROOK, IL 60523                      15961 COLLECTIONS CENTER DR.
                                         CHICAGO, IL 60693



INLAND ENVIRONMENTS LTD                  INLAND GOLDENROD MARKETPLACE LLC            INLAND GOLDENROD MARKETPLACE, LLC
PO BOX 6751                              888 E LAS OLAS BLVD                         C/O IRC RETAIL CENTERS, LLC
KINGWOOD, TX 77325                       FORT LAUDERDALE, FL 33301                   814 COMMERCE DRIVE, SUITE 300
                                                                                     ATTN: LEGAL DEPARTMENT
                                                                                     OAK BROOK, IL 60523



INLAND GOLDENROD MARKETPLACE, LLC        INLAND HICKORY CREEK, L.L.C.                INLAND HOBBS MATERIAL HANDLING
C/O IRC RETAIL CENTERS, LLC              C/O IRC RETAIL CENTERS, LLC                 DEPT 710006
814 COMMERCE DRIVE, SUITE 300            814 COMMERCE DRIVE, SUITE 300               PO BOX 514670
ATTN: PROPERTY MANAGER                   ATTN: LEGAL DEPARTMENT                      LOS ANGELES, CA 90051-4670
OAK BROOK, IL 60523                      OAK BROOK, IL 60523



INLAND JOLIET COMMONS, L.L.C.            INLAND JOLIET COMMONS, L.L.C.               INLAND NATIONAL RE SERVICES LLC
C/O IRC RETAIL CENTERS, LLC              C/O IRC RETAIL CENTERS, LLC                 2901 BUTTERFIELD RD
814 COMMERCE DRIVE, SUITE 300            814 COMMERCE DRIVE, SUITE 300               OAK BROOK, IL 60523
ATTN: LEGAL DEPARTMENT                   ATTN: PRESIDENT, PROPERTY
OAK BROOK, IL 60523                      MANAGEMENT
                                         OAK BROOK, IL 60523


INLAND NATIONAL RE SERVICES LLC          INLAND NATIONAL RE SERVICES LLC             INLAND NATIONAL RE SERVICES LLC
2901 BUTTERFIELD ROAD                    62903 COLLECTION CENTER DR BLDG 75016       62903 COLLECTION CENTER DR
OAK BROOK, IL 60523                      CHICAGO, IL 60693                           CHICAGO, IL 60693-0629




INLAND NATIONAL RE SERVICES LLC          INLAND NATIONAL RE SERVICES LLC             INLAND NATIONAL RE SERVICES LLC
ATTN: NICOLE KOUDELIK                    BLDG 75024                                  BLDG 75033
2901 BUTTERFIELD ROAD                    62903 COLLECTION CENTER DR                  62903 COLLECTION CENTER DR
OAK BROOK, IL 60523                      CHICAGO, IL 60693-0629                      CHICAGO, IL 60693-0629
                       CaseLLC18-12241-CSS
INLAND NATIONAL RE SERVICES                    Doc 26 REAL
                                        INLAND NATIONAL    Filed 10/05/18
                                                              ESTATE SERVICES   PageINLAND
                                                                                      753 of 1739 REAL ESTATE SERVICES,
                                                                                           NATIONAL
C/O BLDG 75014                          LLC                                         INC.
62903 COLLECTION CENTER DR              2901 BUTTERFIELD ROAD                       2901 BUTTERFIELD ROAD
CHICAGO, IL 60693                       OAK BROOK, IL 60523                         ATTN: NICOLE KOUDELIK
                                                                                    OAK BROOK, IL 60523



INLAND NEWPORT PAVILION, LLC             INLAND NEWPORT PAVILION, LLC               INLAND NEWPORT PAVILLION LLC
C/O IRC RETAIL CENTERS, LLC              C/O IRC RETAIL CENTERS, LLC                INLAND TRS PROPERTY MGNT INC
814 COMMERCE DRIVE, SUITE 300            814 COMMERCE DRIVE, SUITE 300              PO BOX 6351
ATTN: LEGAL DEPARTMENT                   ATTN: PROPERTY MANAGER                     CAROL STREAM, IL 60197-6351
OAK BROOK, IL 60523                      OAK BROOK, IL 60523



INLAND PACIFIC ADVISORS                  INLAND PACIFIC PROP SVCS LLC               INLAND PACIFIC PROPERTIES
ATTN: CHRISTINA ACEVEDO                  FILE 57519                                 601 W. MAIN AVE STE 400
3538 CENTRAL AVE, SUITE 300              LOS ANGELES, CA 90074-7519                 SPOKANE, WA 99201
RIVERSIDE, CA 92507




INLAND PARK CENTER PLAZA, L.L.C.         INLAND PARK CENTER PLAZA, L.L.C.           INLAND PRAIRIE CROSSINGS, LLC
C/O IRC RETAIL CENTERS, LLC              C/O IRC RETAIL CENTERS, LLC                C/O INLAND COMMERCIAL PROPERTY
814 COMMERCE DRIVE, SUITE 300            814 COMMERCE DRIVE, SUITE 300              MGMT, INC.
ATTN: LEGAL DEPARTMENT                   ATTN: PROPERTY MANAGER                     814 COMMERCE DRIVE, SUITE 300
OAK BROOK, IL 60523                      OAK BROOK, IL 60523                        ATTN: PRAIRIE CROSSINGS/BUILDING #10376
                                                                                    OAK BROOK, IL 60523


INLAND PRAIRIE CROSSINGS, LLC            INLAND PRAIRIE CROSSINGS, LLC              INLAND PROPERTY MANAGEMENT LLC
C/O INLAND COMMERCIAL PROPERTY           C/O IRC RETAIL CENTERS, LLC                2901 BUTTERFIELD RD
MGMT, INC.                               814 COMMERCE DRIVE, SUITE 300              OAK BROOK, IL 60523
814 COMMERCE DRIVE, SUITE 300            ATTN: LEGAL DEPARTMENT
ATTN: PRAIRIE CROSSINGS/BUILDING 10376   OAK BROOK, IL 60523
OAK BROOK, IL 60523


INLAND PROPERTY MANAGEMENT, LLC          INLAND QUARRY RETAIL LLC                   INLAND QUARRY RETAIL, LLC
BLDG. 45002                              INLAND TRS PROPERTY MNGT INC               C/O IRC RETAIL CENTERS, LLC
2901 BUTTERFIELD ROAD                    PO BOX 6334                                814 COMMERCE DRIVE, SUITE 300
ATTN: RANDY OLSON                        CAROL STREAM, IL 60197-6334                ATTN: GENERAL COUNSEL
OAK BROOK, IL 60523                                                                 OAK BROOK, IL 60523



INLAND QUARRY RETAIL, LLC                INLAND RE CORP                             INLAND REAL ESTATE CORP
C/O IRC RETAIL CENTERS, LLC              DBA INLAND COMMERCIAL PROP MGMNT INC       4575 PAYSPHERE CIRCLE
814 COMMERCE DRIVE, SUITE 300            2901 BUTTERFIELD RD                        CHICAGO, IL 60674
ATTN: PROPERTY MANAGER                   OAK BROOK, IL 60523
OAK BROOK, IL 60523



INLAND REAL ESTATE CORP                  INLAND REAL ESTATE CORP                    INLAND REAL ESTATE CORPORATION
774641/24954                             7746414641 SOLUTIONS CNTR                  INLAND COMMERCIAL PROPERTY MTG INC
4641 SOLUTIONS CENTER                    CHICAGO, IL 60677-4006                     4575 PAYSPHERE CIRCLE
CHICAGO, IL 60677-4006                                                              CHICAGO, IL 60674




INLAND REAL ESTATE DEER TRACT, LLC       INLAND REAL ESTATE DEER TRACT, LLC         INLAND REAL ESTATE GROUP INC
C/O IRC RETAIL CENTERS, LLC              C/O IRC RETAIL CENTERS, LLC                32533 COLLECTION CENTER DR
814 COMMERCE DRIVE, SUITE 300            814 COMMERCE DRIVE, SUITE 300              BLDG 51711
ATTN: LEGAL DEPARTMENT                   ATTN: PROPERTY MANAGER                     CHICAGO, IL 60693-0325
OAK BROOK, IL 60523                      OAK BROOK, IL 60523



INLAND REAL ESTATE GROUP                 INLAND REAL ESTATE INVEST CORP             INLAND REAL ESTATE LB I, L.L.C.
ATTN: MATTHEW TICE                       814 COMMERCE DR STE 300                    C/O IRC RETAIL CENTERS, LLC
2901 BUTTERFIELD ROAD                    OAK BROOK, IL 60523                        814 COMMERCE DRIVE, SUITE 300
OAK BROOK, IL 60523                                                                 ATTN: LEGAL DEPARTMENT
                                                                                    OAK BROOK, IL 60523
                         Case
INLAND REAL ESTATE LB I, L.L.C.   18-12241-CSS     Doc 26
                                            INLAND SKOKIE     Filed
                                                          FASHION   10/05/18
                                                                  SQUARE II, L.L.C. PageINLAND
                                                                                          754 of 1739
                                                                                               SKOKIE FASHION SQUARE II, L.L.C.
C/O IRC RETAIL CENTERS, LLC                    C/O IRC RETAIL CENTERS, LLC                C/O IRC RETAIL CENTERS, LLC
814 COMMERCE DRIVE, SUITE 300                  814 COMMERCE DRIVE, SUITE 300              814 COMMERCE DRIVE, SUITE 300
ATTN: PRESIDENT, PROPERTY                      ATTN: LEGAL DEPARTMENT                     ATTN: PRESIDENT, PROPERTY
MANAGEMENT                                     OAK BROOK, IL 60523                        MANAGEMENT
OAK BROOK, IL 60523                                                                       OAK BROOK, IL 60523


INLAND SOUTHWEST MANAGEMENT CORP               INLAND SOUTHWEST MANAGEMENT LLC            INLAND SOUTHWEST MANAGEMENT LLC
1421 PAYSPHERE CIRCLE                          15105 COLLECTIONS CENTER DR 4166           15105 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60674                              CHICAGO, IL 60693-5105                     CHICAGO, IL 60693-5105




INLAND SOUTHWEST MANAGEMENT LLC                INLAND SOUTHWEST MANAGEMENT LLC            INLAND SOUTHWEST MANAGEMENT
62054 COLLECTIONS CENTER DRIVE                 LOCK BOX 774500                            15105 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0620                         4500 SOLUTION CENTER                       CHICAGO, IL 60693-5105
                                               CHICAGO, IL 60677-4005




INLAND SOUTHWEST MANAGEMENT, LLC               INLAND SOUTHWEST MGMT LLC                  INLAND SOUTHWEST MGMT LLC
5010                                           15105 COLLECTIONS CTR DR 3623              15105 COLLECTIONS CTR DR 3652
2901 BUTTERFIELD ROAD                          CHICAGO, IL 60693-5105                     CHICAGO, IL 60693-5105
OAK BROOK, IL 60523




INLAND SOUTHWEST MGMT LLC                      INLAND SOUTHWEST MGMT LLC                  INLAND SOUTHWEST MGMT LLC
15105 COLLECTIONS CTR DR 3733                  15105 COLLECTIONS CTR DR 4021              2901 BUTTERFIELD ROAD
CHICAGO, IL 60693-5105                         CHICAGO, IL 60693-5105                     OAK BROOK, IL 60523




INLAND SOUTHWEST MGMT LLC                      INLAND SOUTHWEST MGMT LLC                  INLAND SOUTHWEST MGMT LLC/38021
C/O RC INLAND REIT LP                          LOCK BOX 774500                            C/O RC INLAND REIT LP
62054 COLLECTIONS CENTER DR                    4500 SOLUTIONS CENTER                      62054 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0620                         CHICAGO, IL 60677-4005                     CHICAGO, IL 60693-0621




INLAND SOUTHWEST MGMT. LLC                     INLAND SOUTHWEST MGMT. LLC                 INLAND TANGLEWOOD PARKWAY, L.L.C.
15105 COLLECTIONS CTR DR 2812                  15105 COLLETIONS CENTER DR 2798            C/O IRC RETAIL CENTERS, LLC
CHICAGO, IL 60693-5105                         CHICAGO, IL 60693-5105                     814 COMMERCE DRIVE, SUITE 300
                                                                                          ATTN: LEGAL DEPARTMENT
                                                                                          OAK BROOK, IL 60523



INLAND TANGLEWOOD PARKWAY, L.L.C.              INLAND U.S. MANAGEMENT LLC                 INLAND U.S. MANAGEMENT LLC
C/O IRC RETAIL CENTERS, LLC                    2901 BUTTERFIELD RD                        BUILDING 36049
814 COMMERCE DRIVE, SUITE 300                  OAK BROOK, IL 60523                        13068 COLLECTION CENTER DR
ATTN: PROPERTY MANAGER                                                                    CHICAGO, IL 60693-0130
OAK BROOK, IL 60523



INLAND US MANAGEMENT LLC                       INLAND VENTURE CORP                        INLAND WESTERN CEDAR HILL PLEASANT
BUILDING 6089                                  DBA INLAND TRS PROPERTY MGMNT INC          RUN LIMITED PARTNERSHIP
13068 COLLECTIONS CENTER DR                    2901 BUTTERFIELD RD                        C/O RPAI HOLDCO MANAGEMENT LLC
CHICAGO, IL 60693-0130                         OAK BROOK, IL 60523                        2021 SPRING ROAD, SUITE 200
                                                                                          OAK BROOK, IL 60523



INLAND WESTERN CEDAR PARK                      INLAND WESTERN CEDAR PARK                  INLAND WESTERN DENTON CROSSING LP
1890 RANCH LIMITED APRTNERSHIP                 C/O RC INLAND REIT, LP                     C/O INLAND SOUTHWEST MANAGEMENT
C/O RC INLAND REIT, LP                         62054 COLLECTIONS CENTER DRIVE             5741 LEGACY DRIVE, SUITE 315, BUILDING
62054 COLLECTIONS CENTER DRIVE                 CHICAGO, IL 60693-0621                     5024
CHICAGO, IL 60693-0621                                                                    PLANO, TX 75024
INLAND WESTERN DENTONCase  18-12241-CSS
                      CROSSING LP           Doc 26 DENTON
                                     INLAND WESTERN     FiledCROSSING
                                                               10/05/18LTD PageINLAND
                                                                                 755 of  1739 DENTON CROSSING
                                                                                      WESTERN
C/O RPAI SOUTHWEST MANAGEMENT LLC    C/O RPAI SOUTHWEST MANAGEMENT LLC         2901 BUTTERFIELD RD
2901 BUTTERFIELD ROAD                2021 SPRING ROAD, SUITE 200               OAK BROOK, IL 60523
OAK BROOK, IL 60523                  ATTN: PRESIDENT/PROPERTY MANAGEMENT
                                     OAK BROOK, IL 60523



INLAND WESTERN DENTON CROSSING           INLAND WESTERN DENTON CROSSING       INLAND WESTERN EULESS LIMITED
4500 SOLUTIONS CENTER                    LOCKBOX 774500                       PARTNERSHIP
CHICAGO, IL 60644-4005                   4500 SOLUTIONS CENTER                C/O RETAIL PROPERTIES OF AMERICA
                                         CHICAGO, IL 60644-4005               2021 SPRING ROAD, SUITE 200
                                                                              ATTN: PRESIDENT - WESTERN DIVISION
                                                                              OAK BROOK, IL 60523


INLAND WESTERN EULESS LIMITED            INLAND WESTERN GURNEE LLC            INLAND WESTERN HOUSTON SAWYER
PARTNERSHIP                              LOCKBOX 774500                       HEIGHTS LP
C/O RPAI SOUTHWEST MANAGEMENT LLC        4500 SOLUTIONS CENTER                C/O RPAI SOUTHWEST MANAGEMENT LLC
2021 SPRING ROAD, SUITE 200              CHICAGO, IL 60677-4005               2021 SPRING ROAD, SUITE 200
ATTN: SVP/ DIRECTOR OF LEASING                                                ATTN: PROPERTY MANAGEMENT
OAK BROOK, IL 60523                                                           OAK BROOK, IL 60523


INLAND WESTERN HUMBLEWOOD LIMITED        INLAND WESTERN LAS VEGAS LLC         INLAND WESTERN MCDONOUGH HENRY
PARTNERSHIP                              LOCKBOX 774500                       TOWN LLC
C/O RPAI SOUTHWEST MANAGEMENT LLC        4500 SOLUTIONS CENTER                13068 COLLECTIONS CTR DR BLDG 36053
2021 SPRING ROAD, SUITE 200              CHICAGO, IL 60677                    CHICAGO, IL 60693
ATTN: PRESIDENT OF PROPERTY
MANAGEMENT
OAK BROOK, IL 60523

INLAND WESTERN NEWPORT NEWS              INLAND WESTERN NEWPORT NEWS          INLAND WESTERN SOUTHLAKE CORNERS
JEFFERSON, LLC                           JEFFERSON, LLC                       KIMBALL LP
2901 BUTTERFIELD ROAD                    C/O RPAI US MANAGEMENT LLC           C/O INLAND SOUTHWEST MGNT LLC
OAK BROOK, IL 60523                      13068 COLLECTION CNTR DR             62054 COLLECTION CENTER DRIVE
                                         CHICAGO, IL 60693                    CHICAGO, IL 60693-0621



INLAND WESTERN SOUTHLAKE CORNERS         INLAND WESTERN SOUTHLAKE CORNERS     INLAND WESTERN WACO CENTRAL LP
KIMBALL LP                               KIMBALL LP                           DBA INLAND SW MGMT LLC/BLD 35
C/O RETAIL PROPERTIES OF AMERICA, INC.   C/O RPAI SOUTHWEST MANAGEMENT LLC    15105 COLLECTIONS CENTER DR.
2021 SPRING ROAD, SUITE 200              2021 SPRING ROAD, SUITE 200          CHICAGO, IL 60693-5065
OAK BROOK, IL 60523                      OAK BROOK, IL 60523



INLAND WESTERN/WEBER JV FRISCO           INMOMENT INC                         INMOMENT INC
PARKWAY LP                               10355 SO JORDAN GATEWAY 600          310 EAST 4500 STE 450
PO BOX 660076                            SOUTH JORDAN, UT 84095               SALT LAKE CITY, UT 84107
DALLAS, TX 75266-0076




INN AT THE BALLPARK HOTEL-LANDRYS        INNA FISHMAN                         INNER BALANCE WELLNE
MANAGEMENT, LP                           10201 S. MAIN STREET                 1600 LANDMARK DRIVE
1520 TEXAS AVE                           HOUSTON, TX 77025                    COTTAGE GROVE, WI 53527
HOUSTON, TX 77002




INNERSPACE LUXURY PR                     INNERWORKINGS.                       INNERWORKINGS.
255 KRAFT DR.                            ACCOUNTS RECEIVABLE                  PO BOX 730955
DALTON, GA 30721                         P O BOX 730955                       DALLAS, TX 75373-0955
                                         DALLAS, TX 75373-0955




INNISFREE M&A INCORPORATED               INNOCOR INC                          INNOMAX CORP
501 MADISON AVE 10TH FLOOR               200 SCHULZ DR FLOOR 2                530 W ELK PLACE
NEW YORK, NY 10022-5606                  ATTN: KIM GONZALEZ                   DENVER, CO 80216
                                         RED BANK, NJ 07701
INNOVATE RETAIL        Case 18-12241-CSS     Doc(E&A)
                                      INNOVATION  26 LLC
                                                       Filed 10/05/18         PageINNOVATION
                                                                                    756 of 1739
                                                                                             (E&A) LLC
8145 W MARY JANE LN                    DEPT 2319                                   PO BOX 536856
PEORIA, AZ 85382                       PO BOX 536856                               ATLANTA, GA 30353
                                       ATLANTA, GA 30353-6856




INNOVATIVE DISCOVERY                   INSERTS EAST                                INSIDE EDGE COMMERCIAL INTERIOR
1700 N MOORE ST STE 1510               7045 CENTRAL HWY                            SERVICES LLC
ARLINGTON, VA 22209                    PENNSAUKEN, NJ 08109                        2700 BLUE WATER RD STE 400
                                                                                   EAGAN, MN 55121




INSIGHT SANTAN LLC                     INSIGHT SANTAN LLC                          INSIGHT SANTAN LLC
2200 PASEO VERDE PRKWY STE 330         C/O KIDDER MATHEWS                          DTZ
HENDERSON, NV 89052                    2555 EAST CAMELBACK ROAD, SUITE 100         PO BOX 844787
                                       PHOENIX, AZ 85016                           LOS ANGELES, CA 90084-4787




INSIGHT SOURCING GROUP HOLDINGS INC    INSIGHT SOURCING GROUP LLC                  INSIGHT STREETSBORO LLC
INSIGHT SOURCING GROUP LLC             5555 TRIANGLE PKWY STE 300                  1400 16TH ST STE 300
5555 TRIANGLE PKWY STE 300             NORCROSS, GA 30092                          OAK BROOK, IL 60523
NORCROSS, GA 30092




INSIGHT STREETSBORO LLC                INSIGHT                                     INSITE HOLDINGS LLC
DBA INSITE HOLDINGS LLC                P.O. BOX 731069                             1400 16TH ST STE 300
1400 16TH ST STE 300                   DALLAS, TX 75373-1069                       OAK BROOK, IL 60523
OAK BROOK, IL 60523




INSITE REAL ESTATE, LLC                INSPERITY BUSINESS SERVICES LP              INSPIRATION MEDIA OF TEXAS
MICHAEL SIEVERTSON, SENIOR COUNSEL     PO BOX 840064                               6400 N BELT LINE RD STE 120
1400 16TH STREET, SUITE 300            DALLAS, TX 75284                            IRVING, TX 75063
OAK BROOK, IL 60523




INSPIRATION MEDIA OF TX LLC DBA KLTY   INSPIRATION MEDIA OF TX LLC                 INSTAKEY SECURITY SYSTEMS
RADIO                                  6400 N BELT LINE RD STE 120                 7456 W 5TH AVE
6400 N BELT LINE RD STE 120            IRVING, TX 75063-6065                       LAKEWOOD, CO 80226
IRVING, TX 75063-6065




INSTITUTION GROUP, L.L.C.              INTE Q                                      INTEGGRIS LLC
C/O NATIONAL SHOPPING PLAZAS, INC.     1815 S MEYERS RD STE 300                    533 NE HOLLADAY ST STE 505
200 WEST MADISON STREET, SUITE 4200    OAKBROOK TERRACE, IL 60181                  PORTLAND, OR 97232
ATTN: JONATHON M. HANUS
CHICAGO, IL 60606-3465



INTEGRACOLOR LTD                       INTEGRACOLOR LTD                            INTEGRATED BEDDING GROUP
3210 INNOVATIVE WAY                    PO BOX671172                                19069 VAN BUREN BLVD
MESQUITE, TX 75149                     DALLAS, TX 75267-1172                       SUITE 114-236
                                                                                   RIVERSIDE, CA 92508




INTEGRATED GRAPHIC SERVICES INC        INTEGRATED REAL ESTATE SERVICES, LLC        INTEGRATED TELECOM SOLUTIONS INC
19 COTTON LN                           1015 THIRD AVENUE, SUITE 900                4092 METRO DR STE 100
LEVITTOWN, NY 11756                    SEATTLE, WA 98124                           STOCKTON, CA 95215
                       Case
INTEGRIS VENTURES- TC LLC     18-12241-CSS     Doc
                                        INTEGRIS    26 Filed
                                                 VENTURES-TC LLC10/05/18     PageINTEGRITY
                                                                                   757 of 1739
                                                                                           FIRE & SAFETY INC
1001 CRAIG RD STE 392                    C/O INTEGRIS VENTURES-MGMT LLC           POBOX 503
SAINT LOUIS, MO 63146                    1001 CRAIG RD STE 392                    PIEDMONT, SC 29673
                                         SAINT LOUIS, MO 63146




INTELINET SYSTEMS                        INTELLIGENT DIRECT INC                   INTERACT INTRANET INC
1110 E COLLINS BLVD STE 122              MARKETMAPS                               21 WEST 46TH ST 1504
RICHARDSON, TX 75081                     PO BOX 119                               NEW YORK, NY 10036
                                         10 FIRST STREET
                                         WELLSBORO, PA 16901



INTERACTIVE HEALTH                       INTERCALL                                INTERCOASTAL ELECTRIC INC
3030 WALNUT AVE                          PO BOX 281866                            8211 BOWIE WAY
LONG BEACH, CA 90807                     ATLANTA, GA 30384-1866                   LAKE WORTH, FL 33467




INTERDYN - BMI                           INTERFACE AMERICAS INC                   INTERFACEFLOR
2277 W HWY 36 STE 300                    1503 ORCHARD HILL RD                     PO BOX 7431162
SAINT PAUL, MN 55113                     LA GRANGE, GA 30240                      ATLANTA, GA 30374-3162




INTERMOUNTAIN CENTRE I LLC               INTERMOUNTAIN CENTRE I, LLC              INTERMOUNTAIN EMPLOYMENT SERVICE INC
4571 HOLLADAY BLVD.                      4571 HOLLADAY BLVD.                      DBA INTERMOUNTAIN STAFFING
P.O. BOX 17397                           P.O. BOX 17397                           450 E 1000 NORTH
ATTN: MATTHEW P. STEINER, MANAGER        ATTN: MATTHEW P. STEINER, MANAGER        NORTH SALT LAKE, UT 84054
HOLLADAY, UT 84117                       SALT LAKE CITY, UT 84117



INTERMOUNTAIN GAS COMPANY                INTERMOUNTAIN GAS COMPANY                INTERMOUNTAIN GAS COMPANY
555 SOUTH COLE ROAD                      P.O. BOX 5600                            P.O. BOX 7608
BOISE, ID 83709                          BISMARCK, ND 58506-5600                  BOISE, ID 83707-1608




INTERMOUNTAIN RURAL ELEC ASSOC           INTERMOUNTAIN RURAL ELEC ASSOC           INTERMOUNTAIN STAFFING
5496 NORTH US HIGHWAY 85                 P.O. DRAWER A                            PO BOX 540587
PO DRAWER A                              SEDALIA, CO 80135                        NORTH SALT LAKE, UT 84054
SEDALIA, CO 80135




INTERNAL REVENUE SERVICE                 INTERNAL REVENUE SERVICE                 INTERNAL REVENUE SERVICE
ATTN: ACS SUPPORT                        CENTRALIZED INSOLVENCY OPERATION         US TREASURY
PO BOX 24017                             P.O. BOX 7346                            PO BOX 12192
FRESNO, CA 93779-9881                    PHILADELPHIA, PA 19101-7346              COVINGTON, KY 41012-0192




INTERNATIONAL ASSOCIATION OF FAIRS &     INTERNATIONAL BEDDING                    INTERNATIONAL COMMERCIAL PROPERTIES
EXPOSITIONS                              DEPT 203100                              MILWAUKEE LLC
3043 E CAIRO                             PO BOX 8084                              TYRONE PLAZA
SPRINGFIELD, MO 65802                    FORT LAUDERDALE, FL 33310                8240 118TH AVE NORTH STE 300
                                                                                  LARGO, FL 33773



INTERNATIONAL COUNCIL OF SHOPPING        INTERNATIONAL CULTURE EXCHANGE           INTERNATIONAL ENVIRONMENTAL
CENTERS INC                              GROUP INC                                MANAGEMENT
PO BOX 419822                            44049 FREMONT BLVD                       11625 RAINWATER DR
BOSTON, MA 02241-9822                    FREMONT, CA 94538                        STE 200
                                                                                  ALPHARETTA, GA 30009
                       Case
INTERNATIONAL ENVIRONMENTAL   18-12241-CSS     Doc 26EXHIBITIONS
                                        INTERNATIONAL    Filed 10/05/18
                                                                 INC       PageINTERNATIONAL
                                                                                 758 of 1739FRANCHISE ASSOC.
MANAGEMENT                               1635 W. ALABAMA                       1501 K STREET, NW, SUITE 350
24516 NETWORK PL                         HOUSTON, TX 77006                     WASHINGTON, DC 20005
CHICAGO, IL 60673-1245




INTERNATIONAL PACKAGING RESOURCES        INTERNATIONAL PAPER-AZ                INTERNATIONAL PAPER-AZ
PO BOX 71588                             6400 POPLAR AVE                       P.O. BOX 31001-0780
CHICAGO, IL 60694-1588                   MEMPHIS, TN 38197                     PASADENA, CA 91110-0780




INTERNATIONAL PAPER-IL                   INTERNATIONAL PET GROUP INC           INTERNATIONAL SYSTEMS OF AMERICA LLC
1689 SOLUTIONS CENTER                    5275 S ARVILLE ST STE 104             PO BOX 99529
CHICAGO, IL 60677-1006                   LAS VEGAS, NV 89118                   LOUISVILLE, KY 40269-0529




INTERNET ESCROW SERVICES INC             INTERSECTION MEDIA LLC                INTERSTATE BILLING SVC
30318 ESPERANZA                          PO BOX 5179                           PO BOX 2208
RANCHO SANTA MARGARITA, CA 92688         NEW YORK, NY 10087-5179               DECATUR, AL 35609




INTERSTATE GAP, LLC                      INTERSTATE GAP, LLC                   INTERSTATE M.U.D.
113 FAIRHOPE LANE                        ATTN: DWIGHT PAULSON                  5 OAKTREE
ATTN: DWIGHT PAULSON                     113 FAIRHOPE LANE                     PO BOX 1368
LACOMBE, LA 70445                        LACOMBE, LA 70445                     FRIENDSWOOD, TX 77549-1368




INTERSTATE OUTDOOR ADVERTISING LP        INTERSTATE PARTNERS                   INTERSTATE WAREHOUSE SERVICES LLC
ATTN: ACCOUNTS RECEIVABLE                6390 CARLSON DRIVE                    1108/1110 INDUSTRY AVE
905 NORTH KINGS HWY                      EDEN PRAIRIE, MN 55346                ALBANY, GA 31707
CHERRY HILL, NJ 08034-1519




INTERSTATE WAREHOUSE SERVICES LLC        INTRALINKS INC                        INVEN TRUST PROPERTIES CORP
ATTN: MARK TAYLOR                        PO BOX 392134                         IVT SHOPS AT GALLERIA BEE CAVE LLC
2700 PALMYRA RD                          PITTSBURGH, PA 15251-9134             PO BOX 677813 / DEPT 44743
ALBANY, GA 31707                                                               DALLAS, TX 75267-7813




INVEN TRUST PROPERTIES CORP              INVENTRUST PROPERTIES CORP            INVENTRUST PROPERTIES CORP.
IVT WESTFORK PLAZA PEMBROKE PINES        IA HOUSTON NORTHWEST LP               3025 HIGHLAND PARKWAY, SUITE 350
LLC                                      2809 BUTTERFIELD RD BLDG 44596        DOWNERS GROVE, IL 60515
2809 BUTTERFIELD RD                      HINSDALE, IL 60523
OAK BROOK, IL 60523



INVENTRUST PROPERTY MANAGEMENT, LLC      INVENTRUST PROPERTY MANAGEMENT, LLC   INVENTRUST PROPERTY MANAGEMENT, LLC
19450 STATE HIGHWAY 249, SUITE 450       2809 BUTTERFIELD ROAD                 2900 BUTTERFIELD ROAD
HOUSTON, TX 77070                        OAK BROOK, IL 60523                   OAK BROOK, IL 60523




INVENTRUST PROPERTY MANAGEMENT, LLC      INVENTRUST PROPERTY MANAGEMENT, LLC   INVENTRUST PROPERTY MANAGEMENT, LLC
3025 HIGHLAND PARKWAY, SUITE 350         ATTN: WARREN ARMSTRONG, CPM           SCOTT EITING, PM
DOWNERS GROVE, IL 60515                  12801 SHOPS PARKWAY, SUITE 300        5057 KELLER SPRINGS ROAD, SUITE 450
                                         BEE CAVE, TX 78738                    ADDISON, TX 75001
INVESCO U.S. INCOME REITCase
                        LLC  18-12241-CSS      DocINC26 Filed 10/05/18
                                       INVESHARE                           PageINVESHARE
                                                                                 759 of 1739
                                                                                         INC
SHOPS AT BELLA TERRA OWNER LP          4501 N POINT PKWY STE 325               PO BOX 568
PO BOX 733171                          ALPHARETTA, GA 30022                    ALPHARETTA, GA 30009
DALLAS, TX 75373-3171




INVEST REALTY                         INVESTIGATIVE CONSULTING SOLUTIONS       INVESTIGATIVE CONSULTING SOLUTIONS
NICHOLAS PAULUS                       LLC                                      LLC
8987 MOCKING BIRD DRIVE               3905 HEDGCOXE RD 251614                  391 LAS COLINAS BLVD E STE 130-450
SANIBEL, FL 33957                     PLANO, TX 75025                          IRVING, TX 75039




INVESTMENTS LTD                       INVESTMENTS LTD                          INX LLC A PRESIDIO COMPANY
215 N FEDERAL HWY                     215 N. FEDERAL HIGHWAY                   7601 ORA GLEN DR
BOCA RATON, FL 33432                  BOCA RATON, FL 33432                     STE 100
                                                                               GREENBELT, MD 20770




IOANNIS REMEDIAKIS                    IOANNIS REMEDIALKIS                      IOWA DEPT OF REVENUE
23006 AMMICK CT                       23006 AMMICK CT                          ADMINISTRATION
SPRING, TX 77389                      SPRING, TX 77389                         PO BOX 10460
                                                                               DES MOINES, IA 50306-0460




IOWA DEPT OF REVENUE                  IOWA DEPT OF REVENUE                     IOWA DEPT OF REVENUE
ATTN: SALES & USE TAX DEPT.           BANKRUPTCY                               HOOVER STATE OFFICE BUILDING
PO BOX 10470                          PO BOX 10471                             1305 E WALNUT
DES MOINES, IA 50306-0470             DES MOINES, IA 50306-0471                DES MOINES, IA 50319




IOWA-SECRETARY OF STATE               IPERS RIVERGATE INC                      IPERS RIVERGATE INC
BUSINESS SERVICES DIVISION            222 S RIVERSIDE PLAZA STE 2600           C/O RREEF MANAGEMENT LLC
LUCAS BUILDING 1ST FLOOR              CHICAGO, IL 60606                        3414 PEACHTREE ROAD NE, SUITE 950
DES MOINES, IA 50319-1002                                                      ATTN: JANE BENEFIELD, ASSET MANAGER
                                                                               ATLANTA, GA 30326



IPERS RIVERGATE INC                   IPERS RIVERGATE, INC.                    IPREO DATA INC
PO BOX 209254                         C/O JLL                                  PO BOX 26886
AUSTIN, TX 78720-9254                 RIVERGATE SHOPPING CENTER                NEW YORK, NY 10087-6886
                                      4201 CONGRESS STREET, SUITE 100
                                      ATLANTA, GA 30326



IPSOS INSIGHT LLC                     IPSOS INSIGHT LLC                        IPSOS MMA INC
1600 STEWART AVE                      PO BOX 36076                             15 RIVER ROAD
SUITE 500                             NEWARK, NJ 07188-6076                    WILTON, CT 06897
WESTBURY, NY 11590




IPT 7A DC II LLC                      IPT 7A DC II LLC                         IPT EAST WINDSOR DC LLC
C/O INDUSTRIAL PROPERTY OPERATING     PO BOX 206918                            518 17TH STREET STE 1700
PARTNERSHIP LP                        DALLAS, TX 75320-6918                    DENVER, CO 80202
518 17TH STREET, 17TH FLOOR
ATTN: LEVINA CHAMBERS
DENVER, CO 80202


IPTV-B-C55 LLC                        IPTV-B-C55 LLC                           IR AUGUSTA II, LP
C/O TPW REAL ESTATE                   C/O TPW REAL ESTATE                      C/O KIMCO REALTY CORPORATION
4903 MAIN ST                          4903 MAIN ST                             3333 NEW HYDE PARK ROAD, SUITE 100
MANCHESTER CENTER, VT 05255           MANCHESTER CENTER, VT 05255              NEW HYDE PARK, NY 11042
IRA ELTING             Case 18-12241-CSS     Doc 26
                                      IRA HARRIS         Filed 10/05/18     PageIRA
                                                                                  760  of 1739
                                                                                    ORLANDO LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET                      IRA CAPITAL LLC
HOUSTON, TX 77025                     HOUSTON, TX 77025                         1900 MAIN ST STE 375
                                                                                IRVINE, CA 92614




IRA PEARLMAN                          IRB SEARCH                                IRC BRADLEY COMMONS, L.L.C.
10201 S. MAIN STREET                  2341 A HANSEN CT                          C/O IRC RETAIL CENTERS, LLC
HOUSTON, TX 77025                     TALLAHASSEE, FL 32301                     814 COMMERCE DRIVE, SUITE 300
                                                                                ATTN: LEGAL DEPARTMENT
                                                                                OAK BROOK, IL 60523



IRC BRADLEY COMMONS, L.L.C.           IRC PARK PLACE PLAZA MINNESOTA, LLC       IRC PARK PLACE PLAZA MINNESOTA, LLC
C/O IRC RETAIL CENTERS, LLC           C/O IRC RETAIL CENTERS, LLC               C/O IRC RETAIL CENTERS, LLC
814 COMMERCE DRIVE, SUITE 300         814 COMMERCE DRIVE, SUITE 300             814 COMMERCE DRIVE, SUITE 300
ATTN: PRESIDENT, PROPERTY             ATTN: LEGAL DEPARTMENT                    ATTN: PROPERTY MANAGER
MANAGEMENT                            OAK BROOK, IL 60523                       OAK BROOK, IL 60523
OAK BROOK, IL 60523


IRC RETAIL CENTERS INC                IRC RETAIL CENTERS INC                    IRC RETAIL CENTERS INC
814 COMMERCE DR STE 300               LEASE 1636                                LEASE 2246
OAK BROOK, IL 60523                   75 REMITTANCE DR DEPT 3128                75 REMITTANCE DR DEPT 3128
                                      CHICAGO, IL 60675-3128                    CHICAGO, IL 60675-3128




IRC RETAIL CENTERS INC                IRC RETAIL CENTERS INC                    IRC RETAIL CENTERS INC
LEASE 23159                           LEASE 24954                               LEASE 25395
75 REMITTANCE DR DEPT 3128            75 REMITTANCE DR DEPT 3128                75 REMITTANCE DR DEPT 3128
CHICAGO, IL 60675-3128                CHICAGO, IL 60675-3128                    CHICAGO, IL 60675-3128




IRC RETAIL CENTERS INC                IRC RETAIL CENTERS INC                    IRC RETAIL CENTERS INC
LEASE 26277                           LEASE 28160                               LEASE 30424
75 REMITTANCE DR DEPT 3128            75 REMITTANCE DR DEPT 3128                75 REMITTANCE DR DEPT 3128
CHICAGO, IL 60675-3128                CHICAGO, IL 60675-3128                    CHICAGO, IL 60675-3128




IRC RETAIL CENTERS INC                IRC RETAIL CENTERS INC                    IRC RETAIL CENTERS INC
LEASE 30862                           LEASE 31876                               LOCKBOX 233753
75 REMITTANCE DR DEPT 3128            75 REMITTANCE DR DEPT 3128                3753 MOMENTUM PLACE
CHICAGO, IL 60675-3128                CHICAGO, IL 60675-3128                    CHICAGO, IL 60689




IRC RETAIL CENTERS INC                IRC RETAIL CENTERS MANAGEMENT INC         IRC RETAIL CENTERS MANAGEMENT INC
PO BOX 6351                           814 COMMERCE DR STE 300                   814 COMMERCE DR
CAROL STREAM, IL 60197-6351           OAK BROOK, IL 60523                       OAK BROOK, IL 60523




IRC RETAIL CENTERS MGMT INC           IRC RETAIL CENTERS MGMT INC               IRC RETAIL CENTERS MGMT INC
814 COMMERCE DR                       INP REITILLC/LEASE 27272                  INPREIT II LLC/ LEASE 30454
OAK BROOK, IL 60523                   PO BOX 6334                               PO BOX 6351
                                      CAROL STREAM, IL 60197-6334               CAROL STREAM, IL 60197-6351




IRC RETAIL CENTERS MGMT INC           IRC RETAIL CENTERS                        IRC RETAIL CENTERS
INPREIT II LLC/ LEASE 31831           814 COMMERCE DR                           814 COMMERCE DRIVE, SUITE 300
PO BOX 6351                           OAK BROOK, IL 60523                       OAK BROOK, IL 60523
CAROL STREAM, IL 60197-6351
IRC RETAIL CENTERS     Case     18-12241-CSS     Doc
                                          IRC RETAIL   26 Filed 10/05/18
                                                     CENTERS                     PageIRC
                                                                                       761  of 1739
                                                                                         RETAIL CENTERS
LEASE 30697                               LEASE 24953                                LEASE 26050
75 REMITTANCE DR DEPT 3128                75 REMITTANCE DR DEPT 3128                 75 REMITTANCE DR DEPT 3128
CHICAGO, IL 60675-3128                    CHICAGO, IL 60675-3128                     CHICAGO, IL 60675-3128




IRC RETAIL CENTERS                        IRC RETAIL CENTERS, LLC                    IRC RETAIL CENTERS, LLC
LEASE 30697                               ATTN: LEGAL DEPARTMENT                     CHRISTINE STRICH
75 REMITTANCE DR DEPT 3128                814 COMMERCE DRIVE, SUITE 300              814 COMMERCE DRIVE, SUITE 300
CHICAGO, IL 60675-3128                    OAK BROOK, IL 60523                        OAK BROOK, IL 60523




IRC RETAIL CENTERS, LLC                   IRC RETAIL CENTERS, LLC                    IRC RETAIL CENTERS, LLC
DAVID SALINAS                             KARA CROUSURE                              SHARON L MOORE, ACCTS RECEIVABLE
814 COMMERCE DRIVE, SUITE 300             814 COMMERCE DRIVE, SUITE 300              814 COMMERCE DRIVE, SUITE 300
OAK BROOK, IL 60523                       OAK BROOK, IL 60523                        OAK BROOK, IL 60523




IRC SHOPS AT ORCHARD PLACE, LLC           IREANA LAPPI                               IREDELL COUNTY TAX COLLECTOR
C/O IRC RETAIL CENTERS, LLC               10201 S. MAIN STREET                       PO BOX 1027
814 COMMERCE DRIVE, SUITE 300             HOUSTON, TX 77025                          STATESVILLE, NC 28687-1027
ATTN: PRESIDENT, PROPERTY
MANAGEMENT
OAK BROOK, IL 60523


IREDELL                                   IREIT NEWPORT NEWS TECH CENTER, L.L.C.     IREIT NORTH MYRTLE BEACH COASTAL
ATTN: PROPERTY TAX DEPT.                  C/O INLAND REAL ESTATE INCOME TRUST        NORTH, L.L.C.
PO BOX 1027                               INC.                                       INLAND COMMERCIAL REAL ESTATE
STATESVILLE, NC 28687-1027                2901 BUTTERFIELD ROAD                      SERVICES
                                          ATTN: PRESIDENT                            2901 BUTTERFIELD ROAD
                                          OAK BROOK, IL 60523                        OAK BROOK, IL 60523


IREIT OLIVE BRANCH WEDGEWOOD LLC          IREIT OLIVE BRANCH WEDGEWOOD LLC           IREIT OLIVE BRANCH WEDGEWOOD LLC
2901 BUTTERFIELD RD                       BLDG 75013                                 C/O INLAND COMMERCIAL SERVICES
OAK BROOK, IL 60523                       62903 COLLECTION CENTER                    LLC/BLDG. #75013
                                          CHICAGO, IL 60693                          2901 BUTTERFIELD ROAD
                                                                                     ATTN: DEBBIE SCHRAMM
                                                                                     OAK BROOK, IL 60523


IREIT OLIVE BRANCH WEDGEWOOD LLC          IREIT OLIVE BRANCH WEDGEWOOD LLC           IRELAND DAVIE LTD
C/O INLAND COMMERCIAL SERVICES            C/O INLAND COMMERCIAL SERVICES             ATTN: RITA ELEK
LLC/BLDG. 75013                           LLC/BLDG. 75013                            12000 BISCAYNE BLVD STE 810
2901 BUTTERFIELD ROAD                     2901 BUTTERFIELD ROAD                      MIAMI, FL 33181
ATTN: DEBBIE SCHRAMM                      ATTN: VICE PRESIDENT - PROPERTY MGMT
OAK BROOK, IL 60523                       OAK BROOK, IL 60523


IRELAND DAVIE, LTD.                       IRENE BOCIAN                               IRENE DENNIS CARRASCO
C/O IRELAND COMPANIES                     6211 TALLANT RD                            10201 S. MAIN STREET
12000 BISCAYNE BOULEVARD, PENTHOUSE       MC DONALD, TN 37353                        HOUSTON, TX 77025
810
ATTN: R. SCOTT IRELAND
MIAMI, FL 33181


IRENE EHRKE                               IRENE GARCIA                               IRENE HERNANDEZ
10201 S. MAIN STREET                      10201 S. MAIN STREET                       718 E 41ST ST
HOUSTON, TX 77025                         HOUSTON, TX 77025                          LOS ANGELES, CA 90011




IRENE MINASSI                             IRENE RIVERA                               IRENE ROSTIS
10650 HELENDALE AVE                       10201 S. MAIN STREET                       10201 S. MAIN STREET
TUJUNGA, CA 91042                         HOUSTON, TX 77025                          HOUSTON, TX 77025
IRENE SWIFT              Case 18-12241-CSS     Doc 26
                                        IRFAN KHAN         Filed 10/05/18   PageIRINA
                                                                                  762HOWARD
                                                                                      of 1739
4683 GRAYTON RD                         10201 S. MAIN STREET                    10201 S. MAIN STREET
CLEVELAND, OH 44135                     HOUSTON, TX 77025                       HOUSTON, TX 77025




IRIS BARNES                             IRIS RODRIGUEZ                          IRM MILAN INVESTMENTS INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                    5180 SAPPHIRE LN SW
HOUSTON, TX 77025                       HOUSTON, TX 77025                       VERO BEACH, FL 32968




IRM MILAN INVESTMENTS INC               IRMA ROMANO                             IRMA SALAS
CO STEVE MILESIC                        334 S. CEDAR DR.                        10201 S. MAIN STREET
5180 SAPPHIRE LANE SW                   COVINA, CA 91723                        HOUSTON, TX 77025
VERO BEACH, FL 32968




IRMARIE ROSA                            IRON MOUNTAIN RECORDS                   IRON MOUNTAIN RECORDS
10201 S. MAIN STREET                    P.O. BOX 915026                         PO BOX 27128
HOUSTON, TX 77025                       DALLAS, TX 75391-5026                   NEW YORK, NY 10087-7128




IRON MOUNTAIN SERVICES INC              IRON MOUNTAIN                           IRON MOUNTAIN
P.O. BOX 601002                         PO BOX 27128                            PO BOX 915004
PASADENA, CA 91189-1002                 NEW YORK, NY 10087-7128                 DALLAS, TX 75391-5004




IRPF HOLDING LLC                        IRPF SMYRNA OLDE IVY VILLAGE, LLC       IRTIZA SAMMA
PO BOX 74008648                         C/O INLAND CAPITAL INSTITUTIONAL        10201 S. MAIN STREET
CHICAGO, IL 60674-8600                  PARTNERS, L.L.C.                        HOUSTON, TX 77025
                                        2901 BUTTERFIELD ROAD
                                        ATTN: SENIOR VICE PRESIDENT
                                        OAK BROOK, IL 60523


IRVIN BOWEN HALE-SMITH LLC              IRVINE CONSOLIDATED LLC                 IRVING ENERGY
2970 PEACHTREE RD NW STE 225            2547 MARUFO VEGA DR                     58 CHENELL DR
ATLANTA, GA 30305                       SPRING, TX 77386                        STE 1
                                                                                CONCORD, NJ 03301




IRVING ENERGY                           IRVING FALSE ALARM REDUCTION PROGRAM    IRVING I.S.D.-TAX COLLECTOR
P.O. BOX 11013                          PO BOX 840534                           2621 W AIRPORT FREEWAY
LEWISTON, ME 04243                      DALLAS, TX 75284                        P O BOX 152021
                                                                                IRVING, TX 75015-2021




IRVING WRIGHT                           IRVING-HARLEM MANAGEMENT, LLC           IRWIN CLAWSON
10201 S. MAIN STREET                    P.O. BOX 407                            10201 S. MAIN STREET
HOUSTON, TX 77025                       DEERFIELD, IL 60015                     HOUSTON, TX 77025




IRYNA MASHKOUSKAYA                      ISAAC CERVANTES                         ISAAC CHENEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
ISAAC CROW               Case 18-12241-CSS     Doc 26
                                        ISAAC FERRELL       Filed 10/05/18   PageISAAC
                                                                                   763FUCHS
                                                                                       of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ISAAC GONZALES                          ISAAC GUY                                ISAAC HAGOS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ISAAC JENKS                             ISAAC JUWLE                              ISAAC KLEIN
C/O FRIED ROGERS GOLDBERG LLC           10201 S. MAIN STREET                     10201 S. MAIN STREET
ATTN: R. SEAN MCEVOY                    HOUSTON, TX 77025                        HOUSTON, TX 77025
3550 LENOX ROAD N.E. SUITE 1500
ATLANTA, GA 30326-4275



ISAAC MATSUDA                           ISAAC NSONWAAH                           ISAAC QUINONES
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ISAAC RODRIGUEZ                         ISAAC ROMAN                              ISAAC RYAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ISAAC SHERMAN                           ISAAC SPARKS                             ISAAC SWANSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     914 N SUMAC ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                        OLATHE, KS 66061




ISABEL HERNANDEZ                        ISABELLA CONKLIN                         ISABELLE BRANCH
1851 GRANADA BLVD                       3402 SCOTT DR                            10201 S. MAIN STREET
KISSIMMEE, FL 34746                     ROWLETT, TX 75088                        HOUSTON, TX 77025




ISABELLE FARRELL                        ISABELLE LAUFER                          ISAI ALVARADO
320 HORIZON DR                          10201 S. MAIN STREET                     10201 S. MAIN STREET
ENCINITAS, CA 92024                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ISAIAH ALLISON                          ISAIAH COLLIER                           ISAIAH PALACIOS
1040 LINE ST                            10201 S. MAIN STREET                     10201 S. MAIN STREET
JACKSONVILLE, FL 32209                  HOUSTON, TX 77025                        HOUSTON, TX 77025




ISAIAH POTTS                            ISAIAH SMITH                             ISAIAH WILLETT
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
ISAIAS ESCOTO            Case 18-12241-CSS     Doc 26
                                        ISAUL OROZCO       Filed 10/05/18    PageISAUL
                                                                                   764OROZCO
                                                                                       of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ISELA LINDQUIST                         ISHA DEEN LOWE                           ISHMAEL LARYEA
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ISHMAIL KOROMA                          ISHMEAL ARYEE                            ISHONNA BASKERVILLE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




ISIAH TILLEY                            ISIAH WILKINS                            ISIDORO MARTINEZ
3000 MURWORTH 1212                      10201 S. MAIN STREET                     DBA MARTINEZ LANDSCAPING & LAWN CARE
HOUSTON, TX 77075                       HOUSTON, TX 77025                        1927 KAREN DR
                                                                                 NASHVILLE, TN 37217




ISLAND MOVERS INC                       ISLANDIA SC I LLC                        ISM TRUCKING CORP
PO BOX 17865                            PO BOX 842505                            1 VARNEY AVE
HONOLULU, HI 96817                      BOSTON, MA 02284-2505                    HUNTINGTON STATION, NY 11746




ISMAEL RODRIGUEZ                        ISO VENNER PLAZA HOLDINGS INC            ISO VENNER PLAZA HOLDINGS LLC
10201 S. MAIN STREET                    C/O SUNTIDE COMMERCIAL REALTY INC        C/O SUNTIDE COMMERCIAL REALTY INC
HOUSTON, TX 77025                       2550 UNIVERSITY AVE W, SUITE 416-S       2550 UNIVERSITY AVE W, SUITE 416-S
                                        ST. PAUL, MN 55114                       SAINT PAUL, MN 55114




ISPHERE INNOVATION PARTNERS LLC         ISRAEL FLORILLO                          ISSA DAIS
12412 SAGITTARIUS E                     10201 S. MAIN STREET                     10201 S. MAIN STREET
WILLIS, TX 77318                        HOUSTON, TX 77025                        HOUSTON, TX 77025




ISSA GROUP HIXON LLC                    ISSA GROUP HIXON LLC                     ISSA GROUP HIXSON, LLC
ATTN: BASSAM ISSA                       ATTN: BASSAM ISSA                        9713 FROST CREEK DRIVE
7025 SHALLOWFORD RD                     9713 FROST CREEK DR                      ATTN: BASSAM ISSA
CHATTANOOGA, TN 37363                   OOLTEWAH, TN 37363                       OOLTEWAH, TN 37363




ISSA GROUP HIXSON, LLC                  ISSAC OWENS                              ISTA NORTH AMERICA
ATTN: BASSAM ISSA                       10201 S. MAIN STREET                     PO BOX 660901
9713 FROST CREEK DR                     HOUSTON, TX 77025                        DALLAS, TX 75266-0901
OOLTEWAH, TN 37363




ISTAR FINANCIAL INC                     ISUSTAIN INC                             ITALO RUANO VELASCO
SFI FORD CITY-CHICAGO LLC               P.O. BOX 700                             10201 S. MAIN STREET
1114 AVENUE OF THE AMERICAS 39TH FL     SODDY DAISY, TN 37384                    HOUSTON, TX 77025
NEW YORK, NY 10036
ITAMAR SIMONSON          Case 18-12241-CSS     Doc 26
                                        ITEC SECURITY INC Filed 10/05/18   PageITEC
                                                                                 765  of 1739
                                                                                    SECURITY INC
1561 NEWLANDS AVE                        2013 WOODOAK DR                        PO BOX 154598
BURLINGAME, CA 94010                     IRVING, TX 75060                       IRVING, TX 75015-4598




ITECH ENTERPRISES LLC                    ITEK SERVICES INC                      ITHRIVE HEALTH
PO BOX 6705                              DEPT LA 22650                          2951 MARINA BAY DR 130-542
KINGWOOD, TX 77325                       PASADENA, CA 91185-2650                LEAGUE CITY, TX 77573




ITS VIA AND HARRY LLC                    ITS VIA AND HARRY, LLC                 IT'S VIA AND HARRY, LLC
28730 COUNTY RD 15                       28730 COUNTY RD 15                     28730 COUNTY RD 15
WINDSOR, CO 80550                        WINDSOR, CO 80550                      WINDSOR, CO 80550




ITZAYANA SERNA                           IVAN ALANIZ                            IVAN ARNO GARCIA
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




IVAN CARO                                IVAN HERNANDEZ                         IVAN HERRERA
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




IVAN MADRID                              IVAN MARTINEZ OSUNA                    IVAN MORENO
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




IVAN MUNIZ                               IVAN PIERANTONI                        IVAN RODRIGUEZ ALMEIDA
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




IVANA DOBRIC                             IVANE JANIASHVILI                      IVANOV GRANDVIEW LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                   C/O PEGASUS INVESTMENTS
HOUSTON, TX 77025                        HOUSTON, TX 77025                      1901 AVENUE OF THE STARS, SUITE 630
                                                                                ATTN: JUSTIN HERMAN
                                                                                LOS ANGELES, CA 90067



IVANOV GRANDVIEW, LLC                    IVC DEERBROOK LLC                      IVENTRUST PROPERTIES CORP
C/O PEGASUS INVESTMENTS                  DEPT 0847                              DBA IVT PARKE CEDAR PARK LLC
1901 AVENUE OF THE STARS, SUITE 630      P.O. BOX 850001                        3025 HIGHLAND PWKY STE 350
ATTN: JUSTIN HERMAN                      ORLANDO, FL 32885-0847                 DOWNERS GROVE, IL 60515
LOS ANGELES, CA 90067



IVERIFY INC                              IVEY MECHANICAL COMPANY LLC            IVORY FERNADES-ORTEGA
PO BOX 776146                            1928 GARNER STATION BLVD               10201 S. MAIN STREET
CHICAGO, IL 60677-6146                   RALEIGH, NC 27603                      HOUSTON, TX 77025
IVORY HINTON            Case 18-12241-CSS     Doc 26
                                       IVORY HINTON       Filed 10/05/18    PageIVORY
                                                                                  766MARTIN
                                                                                      of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




IVR PARKE CEDAR PARK, LLC              IVT HIGHLANDS AT FLOWER MOUND LP         IVT KENNESAW MARKETPLACE, LLC
C/O INVENTRUST PROPERTIES CORP.        DEPT 40118                               C/O INVENTRUST PROPERTIES CORP.
3025 HIGHLAND PARKWAY, SUITE 350       32057 COLLECTION CENTER DR               ATTN: PROPERTY MANAGEMENT
ATTN: PROPERTY MANAGER                 CHICAGO, IL 60693                        3025 HIGHLAND PARKWAY, SUITE 350
DOWNERS GROVE, IL 60515                                                         DOWNERS GROVE, IL 61505



IVT PARKE CEDAR PARK LLC               IVT PARKE CEDAR PARK, LLC                IVT PRICE PLAZA KATY LLC
DEPT 44755                             C/O INVENTRUST PROPERTIES CORP.          DEPT 40119
33227 COLLECTION CENTER DR             3025 HIGHLAND PARKWAY, SUITE 350         32057 COLLECTION CENTER DR
CHICAGO, IL 60693                      ATTN: PROPERTY MANAGER                   CHICAGO, IL 60693
                                       DOWNERS GROVE, IL 60515



IVT PRICE PLAZA LP                     IVT SHOPS AT GALLERIA BEE CAVE LLC       IVT SHOPS AT GALLERIA BEE CAVE LLC
C/O INVENTRUST PROPERTY MANAGEMENT,    C/O INVENTRUST PROPERTIES CORP.          C/O INVENTRUST PROPERTY MANAGEMENT,
LLC                                    3025 HIGHLAND PARKWAY, SUITE 350         LLC
3025 HIGHLAND PARKWAY, SUITE 350       DOWNERS GROVE, IL 60515                  2809 BUTTERFIELD RD, SUITE 200
ATTN: PROPERTY MANAGER                                                          ATTN: PROPERTY MANAGER
DOWNERS GROVE, IL 60515                                                         OAK BROOK, IL 60523


IVT SHOPS AT GALLERIA LP               IVT SHOPS AT GALLERIA LP                 IVT WESTFORK PLAZA PEMBROKE PINES
C/O INVENTRUST PROPERTY MANAGEMENT,    C/O INVENTRUST PROPERTY MANAGEMENT,      LLC
LLC                                    LLC                                      DEPT 44751
3025 HIGHLAND PARKWAY, SUITE 350       3025 HIGHLAND PARKWAY, SUITE 350         PO BOX 677813
ATTN: PROPERTY MANAGER                 ATTN: PROPERTY MANAGER                   DALLAS, TX 75267-7813
DOWNERS GROVE, IL 60515                DOWNERS GROVE, IL 60516


IVT WESTFORK PLAZA PEMBROKE PINES,     IZATT, EILEEN                            IZIAH PERRY
LLC                                    57 RIVIERA DR S                          10201 S. MAIN STREET
C/O INVENTRUST PROPERTY MANAGEMENT,    MASSAPEQUA, NY 11758-8513                HOUSTON, TX 77025
LLC
3025 HIGHLAND PARKWAY, SUITE 350
ATTN: PROPERTY MANAGER
DOWNERS GROVE, IL 60515

J & B INVESTMENT CO., LLC              J & B INVESTMENT COMPANY, LLC            J & B INVESTMENT COMPANY, LLC
2927 N. MCCORD, SUITE 200              2927 N. MCCORD ROAD, SUITE 200           BRUCE KEARNS, MANAGING MEMBER
TOLEDO, OH 43615                       BRUCE KEARNS, MANAGING MEMBER            2927 N. MCCORD ROAD, SUITE 200
                                       TOLEDO, OH 43615                         TOLEDO, OH 43615




J & E DELIVERY                         J & J EXTERMINATING OF SHREVEPORT        J & J WESLEY CHAPEL LLC
804 ZANA DRIVE                         PO BOX 6320                              119 WINDMILL RD
FT. MYERS, FL 33905                    SHREVEPORT, LA 71136-6320                ORLAND PARK, IL 60467




J & L RIVERA LLC                       J & M HOME DELIVERY SERVICES INC         J & N HALLERS
512 RUNSTONE DR.                       634 JACKSON ST                           2668 COUNTY RD 10
IRVING, TX 75060                       AURORA, IL 60505                         ADA, OH 45810




J & N HALLERS                          J & R MANAGEMENT INC                     J & S EXPRESS LLC
2668 COUNTY ROAD 10                    26 WEST CHURCH ST                        91-3095 MAKALEA LOOP
ADA, OH 45810                          PO BOX 952                               EWA BEACH, HI 96706
                                       ATTN: WILL VAUGHN
                                       MARTINSVILLE, VA 24114
J & S HOLDINGS LLC       Case 18-12241-CSS      Doc 26LLC Filed 10/05/18
                                        J & S HOLDINGS,                        PageJ BENNETT
                                                                                     767 of 1739
                                                                                             CONSTRUCTION SERVICES LLC
PO BOX 2044                              C/O 23 DOWLING VILLAGE LLC                139 JEWETT ST
NATICK, MA 01760                         P.O. BOX 2044                             GEORGETOWN, MA 01833
                                         ATTN: JAMES POLYMEROS
                                         NATICK, MA 01760



J C DORFLER                              J DOMINIQUE MCFARLAND                     J DONALD KERR DBA FERNIEHIRST LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                      PO BOX 783
HOUSTON, TX 77025                        HOUSTON, TX 77025                         MONROE, NC 28111-0783




J EVANS FAMILY PARTNERSHIP KNOX LTD      J GENERATIONS, LLC                        J GONZALES
C/O SUNWEST REAL ESTATE GROUP            1929 VAN NESS AVENUE                      10201 S. MAIN STREET
PO BOX 803289                            SAN FRANCISCO, CA 94109                   HOUSTON, TX 77025
DALLAS, TX 75380




J IS L TRUCKING INC                      J LARRY FUGATE TRUSTEE                    J LARRY FUGATE TRUSTEE
14235 LOWE AVE                           ATTN: SHELLE HIGH                         ATTN: SHELLE HIGH
RIVERDALE, IL 60827                      208 S. MAIZE RD.                          208 S MAIZE RD
                                         WICHITA, KS 67209                         WICHITA, KS 67209




J LARRY FUGATE, TRUSTEE, AS TRUSTEE      J LARRY FUGATE, TRUSTEE, AS TRUSTEE       J MORALES CRUZ
OF THE J. LARRY FUGATE REVOCABLE         OF THE J. LARRY FUGATE REVOCABLE          10201 S. MAIN STREET
TRUST, DATED MARCH 25, 2010              TRUST, DATED MARCH 25, 2010               HOUSTON, TX 77025
208 SOUTH MAIZE ROAD                     ATTN: PROPERTY MANAGER
ATTN: PROPERTY MANAGER                   208 SOUTH MAIZE ROAD
WICHITA, KS 67209                        WICHITA, KS 67209


J PAUL MAGGARD                           J PRODUCTIONS LLC                         J R LOCKSMITH
2771 LAWRENCEVILLE HWY STE 210           78 CERNON ST STE B                        PO BOX 7637
DECATUR, GA 30033                        VACAVILLE, CA 95688                       CITRUS HEIGHTS, CA 95621-7637




J WHITE                                  J&B INVESTMENT CO LLC                     J&J FLOORING GROUP
10201 S. MAIN STREET                     2927 N MCCORD STE 200                     PO BOX 95464
HOUSTON, TX 77025                        TOLEDO, OH 43615                          GRAPEVINE, TX 76099-9752




J&J INDUSTRIES INC                       J&J WESLEY CHAPEL, LLC                    J&R MANAGEMENT, INC.
PO BOX 198245                            119 WINDMILL ROAD                         26 W CHURCH STREET
ATLANTA, GA 30384-8245                   ORLAND PARK, IL 60467                     MARTINSVILLE, VA 24112




J. JOSEPH INC                            J. LARRY FUGATE AS TRUSTEE                J. LARRY FUGATE TRUSTEE OF THE
3225 MCLEOD DR 100                       ATTN: SHELLE HIGH                         J LARRY FUGATE REV TRST DTD MAR 25
LAS VEGAS, NV 89121                      208 S MAIZE RD                            2010
                                         WICHITA, KS 67209                         208 S MAIZE RD
                                                                                   WICHITA, KS 67209



J. LARRY FUGATE TRUSTEE OF THE           J. LARRY FUGATE TRUSTEE OF THE            J. LARRY FUGATE TRUSTEE OF THE
J LARRY FUGATE REV TRST DTD MAR 25       J LARRY FUGATE REV TRST DTD MAR 25        J LARRY FUGATE REV TRST DTD MAR 25
2010                                     2010                                      2010
ATTN: PROPERTY MANAGER                   KARON PERRILL                             SHELLE HIGH
208 SOUTH MAIZE ROAD                     208 SOUTH MAIZE ROAD                      208 SOUTH MAIZE ROAD
WICHITA, KS 67209                        WICHITA, KS 67209                         WICHITA, KS 67209
J.A. KENNEDY REAL ESTATECase
                          COMPANY18-12241-CSS       Doc REAL
                                           J.A. KENNEDY  26 ESTATE
                                                              Filed COMPANY
                                                                      10/05/18   PageJ.B.
                                                                                       768  ofTRANSPORT
                                                                                          HUNT 1739     INC
7155 S. RAINBOW BLVD., SUITE 200           7155 S. RAINBOW BLVD., SUITE 200          FILE 98545
ATTN: AUDRA ROTHKEGEL                      ATTN: VANESSA WHIPP                       PO BOX 847977
LAS VEGAS, NV 89118                        LAS VEGAS, NV 89118                       DALLAS, TX 75284-7977




J.B. HUNT TRANSPORT                        J.C. BAR PROPERTIES, INC.                 J.C. PACIERA, JOE PACIERA, TONI ANN
PO BOX 749079                              224 ST. CHARLES WAY, SUITE 290            PACIERA
LOS ANGELES, CA 90074                      YORK, PA 17401                            C/O KIRSCHMAN REALTY, L.L.C.
                                                                                     2218 GENERAL PERSHING
                                                                                     NEW ORLEANS, LA 70115



J.C. PACIERA-JOE PACIERA & TONI ANN        J.C. PACIERA-JOE PACIERA & TONI ANN       J.C. PACIERA-JOE PACIERA & TONI ANN
PACIERA                                    PACIERA                                   PACIERA
2218 GENERAL PERSHING ST                   C/O KIRSCHMAN REALTY, L.L.C.              JOSEPH CORNELIUS PACIERA
NEW ORLEANS, LA 70115-5440                 2218 GENERAL PERSHING                     2218 GENERAL PERSHING ST
                                           NEW ORLEANS, LA 70115                     NEW ORLEANS, LA 70115-5440



J.D. BUCK INGRAM ELECTRIC COMPANY INC      J.F. INVESTMENTS CORP                     J.F. INVESTMENTS
PO BOX 414                                 C/O KAM JALILI                            109 WILLIS DRIVE
PENSACOLA, FL 32591                        109 WILLIS DR                             ATTN: KAM JALILI
                                           MILL VALLEY, CA 94941                     MILL VALLEY, CA 94941




J.F. INVESTMENTS                           J.L. SMITH COMPANY                        J.L. SMITH COMPANY
ATTN: KAM JALILI                           ATTN: MARK SMITH                          SCOTT SMITH
109 WILLIS DRIVE                           1320 NORTH 16TH AVENUE, SUITE A           1320 NORTH 16TH AVENUE, SUITE A
MILL VALLEY, CA 94941                      YAKIMA, WA 98902                          YAKIMA, WA 98902




J.P. WEBER MANAGEMENT, INC.                J.R. MOORE JR./TAX ASSR-COLL.             J.R. MOORE, JR./TAX ASSR-COLL.
ATTN: LISA LINCH                           400 N. SAN JACINTO                        400 N. SAN JACINTO
1600 DALLAS PARKWAY, SUITE 300             CONROE, TX 77301-2823                     CONROE, TX 77301-2823
DALLAS, TX 75248




J.V.M ASSOCIATES                           J.V.M. ASSOCIATES                         J.V.M. ASSOCIATES
ATTN: DR. R. NAIDU                         1342 CAROLANNE'S WAY                      ATTN: DR. R. NAIDU
1342 CAROLANNES WAY                        ATTN: DR. R. NAIDU                        1342 CAROLANNES WAY
WEST CHESTER, PA 19382                     WEST CHESTER, PA 19382                    WEST CHESTER, PA 19382




J.W. CHILDS ASSOCIATES L.P.                J.W. DIELMANN INC                         J2K PROPERTIES LLC
500 TOTTEN POND RD 6TH FL                  4019 STAHL RD STE 118                     3019 DECKER DRIVE
WALTHAM, MA 02451                          SAN ANTONIO, TX 78217                     JOSEPH KMONK
                                                                                     SOUTH PARK, PA 15129




J2K PROPERTIES LLC                         J2K PROPERTIES                            J2M-IV LLC
JOSEPH KMONK                               3019 DECKER DR                            3543 N. PULASKI
3019 DECKER DRIVE                          SOUTH PARK, PA 15129                      ATTN: PROPERTY MANAGER
SOUTH PARK, PA 15129                                                                 CHICAGO, IL 60641




J2M-IV LLC                                 J2M-IV LLC                                J2M-IV LLC
ATTN: PROPERTY MANAGER                     ATTN: PROPERTY MANAGER                    C/O CORPORATION TRUST CENTER
3543 N PULASKI                             3543 N. PULASKI                           1209 ORANGE ST
CHICAGO, IL 60641                          CHICAGO, IL 60641                         WILMINGTON, DE 19801
J3 GENERATIONS LLC     Case   18-12241-CSS
                                        JA REAL Doc 26 CORPORATION,
                                                PROPERTY Filed 10/05/18
                                                                    LLC   PageJAAS
                                                                                769PRODUCTIONS
                                                                                    of 1739 LLC
1929 VAN NESS AVE                        C/O RONALD COOPER                    4651 WOODSTOCK ROAD STE 208-217
SAN FRANCISCO, CA 94109                  11301 RIDGE MIST TERRACE             ROSWELL, GA 30075
                                         POTOMAC, MD 20854




JABAR ANDERSON                           JABBAR JOHNSON                       JABIR HIGH
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JABRIA RICHARDSON                        JACE STARWIN                         JACE STELLER
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JACELIN WOOD                             JACG CORPORATION -JEN GRASSANO       JACK ADAMS
10201 S. MAIN STREET                     61 ROSEDALE RD                       10201 S. MAIN STREET
HOUSTON, TX 77025                        VALLEY STREAM, NY 11581              HOUSTON, TX 77025




JACK BELANI                              JACK BREESE                          JACK BRICE
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JACK CHAMPION                            JACK EDMUNDS                         JACK EDMUNDS
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JACK EISMAN                              JACK FRANK                           JACK GLADWIN
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JACK HART                                JACK HUFFMAN                         JACK JOURNEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                 2625 GARDEN GROVE WAY
HOUSTON, TX 77025                        HOUSTON, TX 77025                    GREENVILLE, NC 27858




JACK KUISMI                              JACK LEVITON                         JACK MEDFORD
10201 S. MAIN STREET                     7619 PACIFIC HEIGHTS CIRCLE          10201 S. MAIN STREET
HOUSTON, TX 77025                        ORLANDO, FL 32835                    HOUSTON, TX 77025




JACK MYKYTIUK                            JACK OZIEL                           JACK PLOSS
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025
JACK RANDOLPH          Case 18-12241-CSS     Doc 26
                                      JACK REID          Filed 10/05/18   PageJACK
                                                                                770REYNOLDS
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACK ROCABERTE                        JACK SMITH                              JACK TADDY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACK TRONCOSO                         JACK URQUIOLA                           JACK WARD & SONS PLUMBING CO INC
10201 S. MAIN STREET                  23126 BRIARCREEK BLVD                   809 MERIDIAN ST
HOUSTON, TX 77025                     SPRING, TX 77373                        NASHVILLE, TN 37207




JACK ZIMMERMAN                        JACKERMAN FAMILY, LLC                   JACKI HARRELL
10201 S. MAIN STREET                  9779 NICKEL RIDGE CIRCLE                10201 S. MAIN STREET
HOUSTON, TX 77025                     NAPLES, FL 34120-4661                   HOUSTON, TX 77025




JACKIE BARDALES BARDALES              JACKIE CRANE                            JACKIE HARMONSTEFANI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    5110 LANDON LN
HOUSTON, TX 77025                     HOUSTON, TX 77025                       BAYTOWN, TX 77523




JACKIE MUSE                           JACKIE NEUBECK                          JACKIE OVERTON OVERTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACKIE STEWART                        JACKIE WILLIAMS                         JACKSON COUNTY COLLECTOR
500 W BOONE AVE                       10201 S. MAIN STREET                    P.O. BOX 219747
SPOKANE, WA 99201                     HOUSTON, TX 77025                       KANSAS CITY, MO 64106-2706




JACKSON COUNTY PUBLIC WATER           JACKSON COUNTY PUBLIC WATER             JACKSON COUNTY PUBLIC WTR SUP
13015 15TH ST                         13015 15TH ST                           13015 15TH ST
P.O. BOX 650                          PO BOX 650                              GRANDVIEW, MO 64030
GRANDVIEW, MO 64030-0650              GRANDVIEW, MO 64030-0650




JACKSON COUNTY TAXATION OFFICE        JACKSON EMC                             JACKSON EMC
PO BOX 1569                           850 COMMERCE RD                         P.O. BOX 100
MEDFORD, OR 97501                     PO BOX 38                               JEFFERSON, GA 30549-0100
                                      JEFFERSON, GA 30549




JACKSON ENERGY AUTHORITY              JACKSON ENERGY AUTHORITY                JACKSON FULLER
119 EAST COLLEGE ST                   P.O. BOX 2288                           10201 S. MAIN STREET
JACKSON, TN 38301                     JACKSON, TN 38302-2288                  HOUSTON, TX 77025
JACKSON G3 LLC         Case 18-12241-CSS    Doc
                                      JACKSON     26
                                              G3 LLC        Filed 10/05/18   PageJACKSON
                                                                                   771 ofKLEEB
                                                                                          1739
1001 E TELECOM DRIVE                   7795 NW BEACON SQUARE 201                 1012 S DEXTER DR
BOCA RATON, FL 33431                   BOCA RATON, FL 33487                      COLLEGE STATION, TX 77840




JACKSON LAMBERT                        JACKSON LAMBRIGHT                         JACKSON LONG
112 NC 54, APT E1                      10201 S. MAIN STREET                      10201 S. MAIN STREET
CARRBORO, NC 27510                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JACKSON PLAZA ASSOCIATES LLC           JACKSON PLAZA ASSOCIATES LLC              JACKSON SEAMUS LLC
C/O PF PASBJERG DEVELOPMENT CO         PO BOX 384                                127 7TH STREET
PO BOX 384                             SHORT HILLS, NJ 07078                     DELL MAR, CA 92014
SHORT HILLS, NJ 07078




JACKSON SPALDING INC                   JACKSON SUN                               JACKSON SUN
1100 PEACHTREE ST. STE 1800            245 W LAFAYETTE ST                        PO BOX 677322
ATLANTA, GA 30309                      JACKSON, TN 38301                         DALLAS, TX 75267-7322




JACKSON TELECASTERS INC                JACKSON TWP MUA                           JACKSON TWP MUA
2615 BROAD ST                          135 MANHATTAN STREET                      135 MANHATTAN STREET
CHATTANOOGA, TN 37408                  JACKSON TOWNSHIP, NJ 08527                JACKSON, NJ 08527




JACKSON WALKER                         JACKSON                                   JACKSONVILLE SHERIFFS OFFICE
10201 S. MAIN STREET                   ATTN: PROPERTY TAX DEPT.                  FALSE ALARM REDUCTION PROGRAM
HOUSTON, TX 77025                      PO BOX 2508                               PO BOX 141925
                                       JACKSON, TN 38302                         IRVING, TX 75014




JACKY HUANG                            JACLYN FABRE                              JACLYN MARK
10201 S. MAIN STREET                   2880 TORITO RD                            COMMUNICATION SPECIALIST-MARKETING
HOUSTON, TX 77025                      SANTA BARBARA, CA 93108                   4501 BRAEBURN
                                                                                 BELLAIRE, TX 77401




JACLYN SKINNER                         JACLYN VELEZ                              JACOB A MCCOY
10201 S. MAIN STREET                   10201 S. MAIN STREET                      11536 VERMONT ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                         CROWN POINT, IN 46307




JACOB AGEE                             JACOB ANDERSON                            JACOB BAKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




JACOB BANKS                            JACOB BISHOP                              JACOB BORDELON
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025
JACOB BRAITHWAITE      Case 18-12241-CSS     Doc 26
                                      JACOB BUTTRY       Filed 10/05/18   PageJACOB
                                                                                772 BYRON
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    13650 SW BERTHOLD ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                       BEAVERTON, OR 97005




JACOB CARTER                          JACOB CLARK                             JACOB DAVIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB DERRINGER                       JACOB DOUCET                            JACOB ESCOUBAS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB FISHER                          JACOB FREEMAN                           JACOB GARZA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    4037 ELECTRIC RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                       CAVE SPRING, VA 24018




JACOB GORDON                          JACOB GORDON                            JACOB HAYHURST
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB HENTZ                           JACOB HOLBROOK                          JACOB KEEFER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    110 FRANKLIN AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       MONACA, PA 15061




JACOB KEITH                           JACOB LARSEN                            JACOB LAWSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB LONGORIA                        JACOB MADDACK                           JACOB MANDEVILLE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB MCCLENDON                       JACOB MORAN                             JACOB MYERS
10201 S. MAIN STREET                  2684 MORGANTOWN                         10201 S. MAIN STREET
HOUSTON, TX 77025                     RUSSELLVILLE, KY 42276                  HOUSTON, TX 77025




JACOB PHILLIPS                        JACOB RAMIREZ                           JACOB RONE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JACOB SAMORANSKI       Case 18-12241-CSS     Doc 26
                                      JACOB SANDERS      Filed 10/05/18   PageJACOB
                                                                                773 SCHLOTZHAUER
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB SCHRANK                         JACOB SHEA                              JACOB SKOWRONSKI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB SMITH                           JACOB SPJUTE                            JACOB STEVENS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB STORY                           JACOB STORY                             JACOB SUMMERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB TAWNEY                          JACOB TINSLEY                           JACOB UNDERWOOD
15925 VICTORY BLVD                    10201 S. MAIN STREET                    10201 S. MAIN STREET
VAN NUYS, CA 91406                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JACOB WATERS                          JACOB ZIMMERMAN                         JACQUE ADAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACQUE HUGHES                         JACQUEL WILCHER                         JACQUELINE AKE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JACQUELINE BAGGATTA                   JACQUELINE CLARK                        JACQUELINE DISALVO
3995 B VALLEY CT                      10201 S. MAIN STREET                    401 8TH AVENUE, APT. 34
WINSTON SALEM, NC 27106               HOUSTON, TX 77025                       BROOKLYN, NY 11225




JACQUELINE DISALVO                    JACQUELINE GARLAND                      JACQUELINE GREEN
C/O FRIEDMAN SANCHEZ LLP              10201 S. MAIN STREET                    10201 S. MAIN STREET
ATTN: ANDREW FRIEDMAN                 HOUSTON, TX 77025                       HOUSTON, TX 77025
16 COURT STREET, 26TH FLOOR
BROOKLYN, NY 11241



JACQUELINE HARMON                     JACQUELINE IVERY                        JACQUELINE KING
10201 S. MAIN STREET                  10201 S. MAIN STREET                    2814 S BARTELL J11
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77054
JACQUELINE LAYSER      Case 18-12241-CSS    DocLEIBLER
                                      JACQUELINE 26 Filed 10/05/18   PageJACQUELINE
                                                                           774 of 1739
                                                                                    LOUIS
10201 S. MAIN STREET                    10201 S. MAIN STREET             10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                HOUSTON, TX 77025




JACQUELINE MCHUGH                       JACQUELINE MERCEDES              JACQUELINE MORA
10201 S. MAIN STREET                    10201 S. MAIN STREET             10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                HOUSTON, TX 77025




JACQUELINE QUINTANAR                    JACQUELINE R WITTMUSS            JACQUELINE SHORT
10201 S. MAIN STREET                    PO BOX 93158                     10201 S. MAIN STREET
HOUSTON, TX 77025                       AUSTIN, TX 78709-3158            HOUSTON, TX 77025




JACQUELINE THORNTON                     JACQUELINE WILLIAMS              JACQUELYN GRUMAN
13 SECOND AVE APT C                     9003 CANTON PARK LN              10201 S. MAIN STREET
ROYERSFORD, PA 19468                    HOUSTON, TX 77095                HOUSTON, TX 77025




JACQUELYN HERBERT                       JACQUES GILLIAM                  JACQUES RANCY
10201 S. MAIN STREET                    10201 S. MAIN STREET             10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                HOUSTON, TX 77025




JADA ABRAMS                             JADA HUNTER                      JADAM ADAM
10201 S. MAIN STREET                    10201 S. MAIN STREET             10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                HOUSTON, TX 77025




JADE BOYD                               JADE HESS                        JADE RAMIREZ
10201 S. MAIN STREET                    10201 S. MAIN STREET             10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                HOUSTON, TX 77025




JADE ROENFELDT                          JADHIEL OJEDA                    JAEGERS TOWING
10201 S. MAIN STREET                    10201 S. MAIN STREET             721 S 28TH AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                PASCO, WA 99301




JAFFE & BERLIN, L.L.C.                  JAG-BCII LLC                     JAG-BCII LLC
ATTN: FRANK W. JAFFE                    10010 SAN PEDRO, SUITE 650       ATTN: BARCLAY ANTHONY
111 WEST WASHINGTON STREET, SUITE 900   SAN ANTONIO, TX 78216            10010 SAN PEDRO, SUITE 650
CHICAGO, IL 60602                                                        SAN ANTONIO, TX 78216




JAGDISH VACHANI                         JAGGER ANDERSON                  JAHMELA WILLIAMS
10201 S. MAIN STREET                    10201 S. MAIN STREET             10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                HOUSTON, TX 77025
JAI JACKSON              Case 18-12241-CSS     Doc
                                        JAI SHREE    26 LLCFiled 10/05/18
                                                  RADHE                     PageJAIME
                                                                                  775AMAYA
                                                                                      of 1739
10201 S. MAIN STREET                      C/O MPV PROPERTIES                    10201 S. MAIN STREET
HOUSTON, TX 77025                         2400 SOUTH BOULEVARD, SUITE 300       HOUSTON, TX 77025
                                          CHARLOTTE, NC 28203




JAIME BUGARIN                             JAIME CAMPO                           JAIME DAIT
10201 S. MAIN STREET                      333 UNIVERSITY DR APT 202             10201 S. MAIN STREET
HOUSTON, TX 77025                         CORAL GABLES, FL 33134                HOUSTON, TX 77025




JAIME DE LA CRUZ SANTIAGO                 JAIME FAZIO                           JAIME GIBSON
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




JAIME GUZMAN                              JAIME M EHRHARDT                      JAIME MAY
10201 S. MAIN STREET                      DBA JME CONSULTING LLC                10201 S. MAIN STREET
HOUSTON, TX 77025                         2470 195TH ST E                       HOUSTON, TX 77025
                                          PRIOR LAKE, MN 55372




JAIME MORALES                             JAIME MORGAN                          JAIME ORTIZ
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




JAIME RODRIGUEZ                           JAIME TAMAYO                          JAIME WEBER
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




JAIMIE DOUGLAS                            JAIMIE MYERS                          JAIRANY PACHECO
10201 S. MAIN STREET                      10201 S. MAIN STREET                  2279 NW 48ST
HOUSTON, TX 77025                         HOUSTON, TX 77025                     MIAMI, FL 33142




JAIRO MARTINEZ JIMENEZ                    JAIRO NUNEZ                           JAIROD COLLINS
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




JAIRUS JENKINS                            JAKE BAPTISTA                         JAKE BARTON
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




JAKE CRAWFORD                             JAKE ELDER                            JAKE GREEN
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025
JAKE GUENTHARDT        Case 18-12241-CSS     Doc 26
                                      JAKE GUSSLER        Filed 10/05/18   PageJAKE
                                                                                 776HOFFMAN
                                                                                     of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                     5519 LOUETTA RD E
HOUSTON, TX 77025                     HOUSTON, TX 77025                        SPRING, TX 77379




JAKE LETNER                           JAKE P HOFFMAN                           JAKE RAMIREZ
10201 S. MAIN STREET                  5519 LOUETTA RD E                        10201 S. MAIN STREET
HOUSTON, TX 77025                     SPRING, TX 77379                         HOUSTON, TX 77025




JAKE REAVES                           JAKE SEGOR                               JAKE SHALLER
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JAKE SLAYTON                          JAKE SPANN                               JAKE TABLANTE
10201 S. MAIN STREET                                                           10201 S. MAIN STREET
HOUSTON, TX 77025                                                              HOUSTON, TX 77025




JAKE TALAMANTEZ                       JAKE TIMMONS                             JAKE VAUGHN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JAKE YOUNG                            JAKOB HANEK                              JAKOB QUANSTROM
10201 S. MAIN STREET                  10201 S. MAIN STREET                     28584 N MONROE ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                        WAUCONDA, IL 60084




JAKYLE SHIRLEY                        JALA HAYES                               JALEESA CHAPMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JALISA GRANT                          JALISHIA MCNEIL                          JALYN RICH
10201 S. MAIN STREET                  2117 LAKE BREEZE LN                      10201 S. MAIN STREET
HOUSTON, TX 77025                     ATLANTA, GA 30339                        HOUSTON, TX 77025




JALYSA LADMIRAULT                     JAMAAL AMEDEE                            JAMAAL HYNDS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JAMAAR JOHNSON                        JAMAHL GOUDEAU                           JAMAINE GAINES
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025
JAMAL CHAVOUS          Case 18-12241-CSS      Doc 26 Filed
                                      JAMAL CLIFTON          10/05/18   PageJAMAL
                                                                              777 COLVIN
                                                                                  of 1739
C/O LAW OFFICE OF DONALD P. EDWARDS   10201 S. MAIN STREET                  10201 S. MAIN STREET
170 MITCHELL STREET SW                HOUSTON, TX 77025                     HOUSTON, TX 77025
ATLANTA, GA 30303




JAMAL FIKES                          JAMAL HALL                             JAMAL HAMILTON
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMAL HARRIS                         JAMAL HENRY                            JAMAL JACKSON
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMAL WHITE                          JAMAR CUNNINGHAM                       JAMAR EDWARD
10201 S. MAIN STREET                 10201 S. MAIN STREET                   546 SILKY LEAF
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77073




JAMAR ROUNTREE                       JAMAR WHOLESALE INC                    JAMARCUS WOMACK
10201 S. MAIN STREET                 1039 55TH ST                           10201 S. MAIN STREET
HOUSTON, TX 77025                    BROOKLYN, NY 11219                     HOUSTON, TX 77025




JAMEEL NOORMOHAMED                   JAMEL SMITH                            JAMEN PETERSON
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMENA GIDDENS                       JAMES ADAMS                            JAMES ALEXANDER
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMES ALLEN FLOREA                   JAMES ALVAREZ                          JAMES AND NORVA FAGAN
10305 CHAPEL HILL BLVD APT N-3078    10201 S. MAIN STREET                   C/O MCKEE REALTY COMPANY, INC.
PASCO, WA 99301                      HOUSTON, TX 77025                      P.O. BOX 34753
                                                                            CHARLOTTE, NC 28234




JAMES ANDERSON                       JAMES ANDREW                           JAMES ANTHONY SOMERS DBA BAR
10201 S. MAIN STREET                 10201 S. MAIN STREET                   ELECTRIC
HOUSTON, TX 77025                    HOUSTON, TX 77025                      1708 CREEK BEND CIRCLE
                                                                            ROUND ROCK, TX 78681




JAMES ARGILAGOS                      JAMES ARWOOD                           JAMES ATCHISON
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025
JAMES AUBREY ROACH      Case 18-12241-CSS     Doc 26
                                       JAMES AVERYT       Filed 10/05/18   PageJAMES
                                                                                 778 BARNETT
                                                                                     of 1739
186 WOODLAND HILLS DR                  10201 S. MAIN STREET                    10201 S. MAIN STREET
JEFFERSON, GA 30549                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES BARRON                           JAMES BARRON                            JAMES BARRY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    61 HOLLYWOOD AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                       FARMINGDALE, NJ 07727




JAMES BAY                              JAMES BAYS                              JAMES BELL
15 MALL RD                             10201 S. MAIN STREET                    10201 S. MAIN STREET
BARBOURSVILLE, WV 25504                HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES BELL                             JAMES BELTRAN                           JAMES BERARDI
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES BIPPES                           JAMES BLACK                             JAMES BLACK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES BLANKENSHIP                      JAMES BLOUNT                            JAMES BOLEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES BOOTH                            JAMES BORGES                            JAMES BRANAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES BRANDEWIE                        JAMES BRANDEWIE                         JAMES BREWSTER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES BROWN                            JAMES BROWN                             JAMES BUCKLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES BURRELL                          JAMES BYRD                              JAMES C HOFFMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    DBA CHARLESTON 54 LLC
HOUSTON, TX 77025                      HOUSTON, TX 77025                       10260 TULA LN
                                                                               CUPERTINO, CA 95014
JAMES C PENROSE        Case   18-12241-CSS
                                        JAMES C.Doc 26 ESQ.
                                                 WARNER, Filed 10/05/18   PageJAMES
                                                                                779 CAMPBELL
                                                                                    of 1739
7101 CHELSEY LANE                        6410 POPLAR AVENUE, SUITE 1000       10201 S. MAIN STREET
OKLAHOMA CITY, OK 73132                  MEMPHIS, TN 38119                    HOUSTON, TX 77025




JAMES CANAR                              JAMES CARSTENS                       JAMES CARTER
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JAMES CASTRO                             JAMES CAUM                           JAMES CELESTINE
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JAMES CHAMPA                             JAMES CHAVEZ                         JAMES CHIMITT
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JAMES CHIRIACO                           JAMES CITY COUNTY TREASURER          JAMES CITY COUNTY TREASURER
10201 S. MAIN STREET                     ATTN: PROPERTY TAX DEPT.             PO BOX 8701
HOUSTON, TX 77025                        PO BOX 283                           WILLIAMSBURG, VA 23187
                                         WILLIAMSBURG, VA 23187-0283




JAMES CLARK                              JAMES CLARK                          JAMES COHEN
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JAMES CONSTANTINIDES                     JAMES COOPER                         JAMES COWAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JAMES CROOK                              JAMES CROWNOVER                      JAMES CUSTER
10201 S. MAIN STREET                     1111 15TH AVE 7                      10201 S. MAIN STREET
HOUSTON, TX 77025                        SEATTLE, WA 98122                    HOUSTON, TX 77025




JAMES D GRANTHAM                         JAMES DAEGELE                        JAMES DAVENPORT
3562 WINDER WAY                          10201 S. MAIN STREET                 10201 S. MAIN STREET
FLOWERY BRANCH, GA 30542                 HOUSTON, TX 77025                    HOUSTON, TX 77025




JAMES DAW                                JAMES DAY                            JAMES DERBIGNY
19 CHERYL DRIVE                          10201 S. MAIN STREET                 10201 S. MAIN STREET
MASCOUTAH, IL 62258                      HOUSTON, TX 77025                    HOUSTON, TX 77025
JAMES DERWIN           Case 18-12241-CSS     Doc 26
                                      JAMES DEWITTE      Filed 10/05/18   PageJAMES
                                                                                780 DIGGLES
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES DITTMORE                        JAMES DOBEY                             JAMES DODGE
                                      10201 S. MAIN STREET                    10201 S. MAIN STREET
                                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES DOOLEY                          JAMES DOTSON                            JAMES DOUGAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    4021 BELLA PARK TRAIL APT 230
HOUSTON, TX 77025                     HOUSTON, TX 77025                       RALEIGH, NC 27613




JAMES DOWNEY                          JAMES DOYLE                             JAMES DRUMMOND
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES E PETERSON                      JAMES E. PETERSON & KATHERINE M.        JAMES EDWARD NEDIN
PO BOX 883234                         MEYER                                   940 LOGGERHEAD LN
STEAMBOAT SPRINGS, CO 80488           28 VALLEY VIEW                          SUGARLOAF KEY, FL 33042
                                      STEAMBOAT SPRINGS, CO 80488




JAMES ELLZEY                          JAMES ENGLE                             JAMES ERVIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES F. GULECAS, P.A.                JAMES FARINSKY                          JAMES FARISH
1968 BAYSHORE BOULEVARD               10201 S. MAIN STREET                    10201 S. MAIN STREET
DUNEDIN, FL 34698                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES FINCH                           JAMES FINCHUM                           JAMES FLOYD
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES GALLEY                          JAMES GAMEZ                             JAMES GARCIA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    3932 R ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                       OMAHA, NE 68107




JAMES GARIBALDI                       JAMES GEORGE                            JAMES GILBERT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JAMES GOSZEWSKI        Case 18-12241-CSS     Doc 26
                                      JAMES GRAHAM       Filed 10/05/18      PageJAMES
                                                                                   781 GRANT
                                                                                       of 1739
                                                                                             MANAGEMENT INC
10201 S. MAIN STREET                  10201 S. MAIN STREET                       8671 WILSHIRE BLVD
HOUSTON, TX 77025                     HOUSTON, TX 77025                          BEVERLY HILLS, CA 90211




JAMES GRANT MANAGEMENT INC            JAMES GRIFFIN                              JAMES GRISHAW
9100 WILSHIRE BLVD STE 100W           10201 S. MAIN STREET                       10201 S. MAIN STREET
BEVERLY HILLS, CA 90212               HOUSTON, TX 77025                          HOUSTON, TX 77025




JAMES GUILLEN-BROWN                   JAMES H BATMASIAN C/O INVESTMENT LTD       JAMES HALL
10201 S. MAIN STREET                  215 N FEDERAL HWY STE 1                    10201 S. MAIN STREET
HOUSTON, TX 77025                     BOCA RATON, FL 33432                       HOUSTON, TX 77025




JAMES HALL                            JAMES HALL                                 JAMES HAMBRICK
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JAMES HAMMOCK                         JAMES HAYES                                JAMES HENRY
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JAMES HEWELL                          JAMES HEWELL                               JAMES HILL
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JAMES HILL                            JAMES HOLDEEN                              JAMES HOPEWELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JAMES HORN                            JAMES HOWARD                               JAMES HOWELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JAMES HUDSON                          JAMES HUSBANDS                             JAMES JACKSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JAMES JEZUIT                          JAMES JONES                                JAMES JONES
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025
JAMES KANE              Case 18-12241-CSS     Doc 26
                                       JAMES KELLY        Filed 10/05/18   PageJAMES
                                                                                 782 KENNETH
                                                                                     of 1739SPANN II DBA JHS MGMT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    5789 SARAH DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                       OOLTEWAH, TN 37363




JAMES KING                             JAMES KING                              JAMES KINNAIRD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES KITTNER                          JAMES KNOWLES                           JAMES KOUMOU
DISTRICT MANAGER-CINCINNATI            10201 S. MAIN STREET                    10201 S. MAIN STREET
5594 SARAHS OAK DR                     HOUSTON, TX 77025                       HOUSTON, TX 77025
CINCINNATI, OH 45248




JAMES KOVACH                           JAMES KUKSTA                            JAMES KUSHALL
2205 MARKS RD                          10201 S. MAIN STREET                    10201 S. MAIN STREET
VALLEY CITY, OH 44280                  HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES L TRENT                          JAMES LARK                              JAMES LARSON
                                       10201 S. MAIN STREET                    6235 E SUPERSTON SPRINGS 114
                                       HOUSTON, TX 77025                       MESA, AZ 85206




JAMES LATSKO                           JAMES LEMASTER                          JAMES LEWIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES LEWIS                            JAMES LEWIS                             JAMES LOGAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES LOPEZ                            JAMES LOUGHMAN                          JAMES M DOWD JR DBA DOWD DELIVERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    MOVING AND CARRIER SERVICE
HOUSTON, TX 77025                      HOUSTON, TX 77025                       3700 CHATHAM AVE
                                                                               CLEVELAND, OH 44113




JAMES M LOFTUS JR IRREVOCABLE LEGACY   JAMES M LOFTUS JR IRREVOCABLE LEGACY    JAMES M WILLIAMS
TRUST                                  TRUST                                   1216 BLUE EAGLE TRAIL
1753 PINNACLE DR 4TH FL                C/O WELLS FARGO BANK NA-SASS            JACKSONVILLE, FL 32225
MCLEAN, VA 22102                       P RE0177395 L48046PO BOX 41389
                                       AUSTIN, TX 78735



JAMES M. LOFTUS, JR. TRUSTS,           JAMES MACRUNNEL                         JAMES MANZER
IRREVOCABLE TRUST                      10201 S. MAIN STREET                    10201 S. MAIN STREET
C/O WELLS FARGO BANK, NA, AS AGENT     HOUSTON, TX 77025                       HOUSTON, TX 77025
FOR THE TRUST
868 N CHURCH STREET, 2ND FLOOR
MAC D1005-020
CONCORD, NC 28025
JAMES MATHISON          Case 18-12241-CSS     Doc 26
                                       JAMES MATSON       Filed 10/05/18   PageJAMES
                                                                                 783 MCADAMS
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES MCCONNELL                        JAMES MENDEZ                            JAMES MERCHBAKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES MICHAEL KIRK                     JAMES MICHAEL                           JAMES MILLER & DEANNA BURGER
2705 K ST STE 4                        10201 S. MAIN STREET                    1712 HOLLIDAY DRIVE
SACRAMENTO, CA 95816                   HOUSTON, TX 77025                       NORMAN, OK 73069-6620




JAMES MILLER                           JAMES MILLIGAN                          JAMES MILLS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES MINCE                            JAMES MONTGOMERY                        JAMES MOORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES MORROW                           JAMES MURPHY                            JAMES MURPHY
6513 CHERYLWOOD 4                      10201 S. MAIN STREET                    10201 S. MAIN STREET
SPRINGFIELD, IL 62712                  HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES MURRAY                           JAMES NEMEC TRUST                       JAMES NIEMAN
10201 S. MAIN STREET                   800 NORTH FLAGLER DRIVE                 10201 S. MAIN STREET
HOUSTON, TX 77025                      WEST PALM BEACH, FL 33401               HOUSTON, TX 77025




JAMES OBRIEN                           JAMES OLEXA                             JAMES OSHERHOSKI
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES OSTERLOF                         JAMES P. PEREZ                          JAMES PALANGIO
10201 S. MAIN STREET                   938 BARRACUDA                           10201 S. MAIN STREET
HOUSTON, TX 77025                      CORPUS CHRISTI, TX 78411                HOUSTON, TX 77025




JAMES PALMER                           JAMES PARKER                            JAMES PARKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JAMES PARSON            Case 18-12241-CSS     Doc 26
                                       JAMES PARSON       Filed 10/05/18   PageJAMES
                                                                                 784 PARSONS
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES PENDLETON                        JAMES PERKINS                           JAMES PERSELY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES PETELO                           JAMES PETELO                            JAMES PETRUZZI
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES PEYTON                           JAMES PILECKAS                          JAMES PRENGER
28234 CROSS PRAIRIE                    10201 S. MAIN STREET                    10201 S. MAIN STREET
KATY, TX 77494                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES PUGH                             JAMES PUGLIESE                          JAMES PURPERA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES PURYEAR WELDING                  JAMES R GARDNER                         JAMES R ROTH
350 T & P LANE                         5762 TEMPEST ST                         41 GLEN DR
ABILENE, TX 79602                      JACKSONVILLE, FL 32244                  MILL VALLEY, CA 94941




JAMES R ROTH                           JAMES R. ROTH                           JAMES R. ROTH
7TH STREET EAST LLC                    7TH STREET EAST LLC                     C/O 7TH STREET EAST LLC
41 GLEN DR                             41 GLEN DR                              41 GLEN DRIVE
MILL VALLEY, CA 94941                  MILL VALLEY, CA 94941                   MILL VALLEY, CA 94941




JAMES RECCA                            JAMES REEGO                             JAMES REYES
10201 S. MAIN STREET                   8265 SIERRA COLLEGE BLVD STE 314        10201 S. MAIN STREET
HOUSTON, TX 77025                      ROSEVILLE, CA 95661                     HOUSTON, TX 77025




JAMES RICE                             JAMES RIDDLE                            JAMES RINKENBERG
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMES ROBISON                          JAMES RODEN                             JAMES ROSS
10201 S. MAIN STREET                   1005 BEAUMONT ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                      LEAGUE CITY, TX 77573                   HOUSTON, TX 77025
JAMES RUSHER            Case 18-12241-CSS     DocOWENS
                                       JAMES RYAN 26 Filed 10/05/18         PageJAMES
                                                                                  785 SACK
                                                                                      of 1739
10201 S. MAIN STREET                   9120 LARCHWOOD DR.                       10201 S. MAIN STREET
HOUSTON, TX 77025                      DALLAS, TX 75238                         HOUSTON, TX 77025




JAMES SADLER                           JAMES SAUERHOFF                          JAMES SAUMBY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JAMES SCHREMP                          JAMES SEXTON                             JAMES SEXTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JAMES SHOOK                            JAMES SIEVERS                            JAMES SINGLEY
10201 S. MAIN STREET                   PICKERING SQUARE/EMERALD COMM. LLC       10201 S. MAIN STREET
HOUSTON, TX 77025                      2737 77TH AVE SE STE 204                 HOUSTON, TX 77025
                                       MERCER ISLAND, WA 98040




JAMES SINGLEY                          JAMES SMALL                              JAMES SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JAMES SMITH                            JAMES SMITH                              JAMES SNAPE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JAMES SNIDER                           JAMES SOLOMON                            JAMES SPELLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JAMES SPERO                            JAMES STIVEY                             JAMES STRATE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JAMES STRICKLAND                       JAMES SUMNER                             JAMES THOMAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JAMES TILLIS                           JAMES TIMBERLAKE                         JAMES TISHLER
6011 MAJESTIC HILL CT                  10201 S. MAIN STREET                     10201 S. MAIN STREET
KINGWOOD, TX 77345                     HOUSTON, TX 77025                        HOUSTON, TX 77025
JAMES TRENT               Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                         JAMES TRENTACOSTA                  PageJAMES
                                                                                  786 V.
                                                                                      ofNICHOLS
                                                                                         1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                   206 W 10TH STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      LAMAR, MO 64759




JAMES VALEK                              JAMES VAUGHN                           JAMES W SHEFFIELD
10201 S. MAIN STREET                     10201 S. MAIN STREET                   362 PINE TREE LOOP
HOUSTON, TX 77025                        HOUSTON, TX 77025                      BASTROP, TX 78602




JAMES WALTERS                            JAMES WALTON                           JAMES WEATHERHOLT
220 THOMAS RD                            10201 S. MAIN STREET                   10201 S. MAIN STREET
PALESTINE, TX 75803                      HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMES WILLIAMS                           JAMES WILSON                           JAMES WILSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMES WILSON                             JAMES WILSON                           JAMES WRIGHT
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMES WRIGHT                             JAMES YORK                             JAMES YOUNG
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMES YOUNG                              JAMES ZLOKOVITZ                        JAMES ZOLLER
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMESHIA TAYLOR-THOMPSON                 JAMESHIA WELLS                         JAMESON CHARLEMAGNE
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




JAMESTOWN 1301 U, L.P.                   JAMESTOWN 1301 U, L.P.                 JAMESTOWN 1301 U, L.P.
PO BOX 21627                             PONCE CITY MARKET                      PONCE CITY MARKET, 7TH FLOOR
NEW YORK, NY 10087-1627                  675 PONCE DE LEON AVE NE 7TH FL        675 PONCE DE LEON AVE NE
                                         ATTN: GENERAL COUNSEL, ASSET MGR       ATTN: GENERAL COUNSEL, ASSET MGR
                                         ATLANTA, GA 30308                      ATLANTA, GA 30308



JAMEY SPOFFORD                           JAMIE BATSCHKE                         JAMIE BETH HARTSHORN
10201 S. MAIN STREET                     200 W 5TH ST APT 203                   10201 S. MAIN STREET
HOUSTON, TX 77025                        KANSAS CITY, MO 64105                  HOUSTON, TX 77025
JAMIE CAJKA              Case 18-12241-CSS     Doc 26
                                        JAMIE COTA         Filed 10/05/18   PageJAMIE
                                                                                  787COX
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMIE DAMIANO                           JAMIE FULTS                             JAMIE GRITZ
16222 N CINCINNATI CT                   10201 S. MAIN STREET                    10201 S. MAIN STREET
SPOKANE, WA 99208                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMIE HARNER                            JAMIE HARRINGTON                        JAMIE HORTON
9620 TENNYSON AVE                       10201 S. MAIN STREET                    201 SMYTHE ST 145
SAINT LOUIS, MI 63114                   HOUSTON, TX 77025                       GREENVILLE, SC 29611




JAMIE JONES                             JAMIE L HOWARD                          JAMIE LANNOM
3409 MICHELLE RIDGE DR                  700 MITCHELL BRIDGE 82                  841 SW 47TH TERRACE STE 204
FORT WORTH, TX 76123                    ATHENS, GA 30606                        CAPE CORAL, FL 33914




JAMIE LEE                               JAMIE LITTLE                            JAMIE LITTLE
100 S ALAMEDA ST 122                    10201 S. MAIN STREET                    10201 S. MAIN STREET
LOS ANGELES, CA 90012                   HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMIE MESSERSCHMITT                     JAMIE MORRIS                            JAMIE NICART
10201 S. MAIN STREET                    10201 S. MAIN STREET                    25705 NUGGET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       LAKE FOREST, CA 92630




JAMIE PLATOW                            JAMIE RUDAT                             JAMIE SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMIE SMITH                             JAMIE SPENCER                           JAMIE THOMAS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMIE UNDERWOOD                         JAMIL DAHHAN                            JAMIL HEARD
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JAMIL NUNN                              JAMILLAH HUNTER                         JAMIN SILVA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
JAMMEL EBRON            Case 18-12241-CSS
                                       JAMOURDoc 26 Filed 10/05/18
                                             MCINTYRE                     PageJAMS
                                                                                788INC
                                                                                     of 1739
3706 WYNDCLIFF CT                       10201 S. MAIN STREET                  1801 W OLYMPIC BLVD
RALEIGH, NC 27616                       HOUSTON, TX 77025                     PASADENA, CA 91199-1750




JAN BREEDEN                             JAN DAVIES                            JAN DODSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




JAN FOREMAN                             JAN PRESTON                           JANA CUMMINGS
10201 S. MAIN STREET                    1517 NORTHCREST DR                    10201 S. MAIN STREET
HOUSTON, TX 77025                       PLANO, TX 75075                       HOUSTON, TX 77025




JANA SOHAL                              JANA VENTURES INC                     JANAE FRUTOS
12520 OAKCREEK LN                       17259 VALLEY DR                       6268 OLIVER ROAD
CERRITOS, CA 90703                      OMAHA, NE 68130                       PARADISE, CA 95969




JANAE FRUTOS                            JANAE JACKMAN                         JANE DADCI
C/O SEAN JAMES GAVIN                    31207 N 138TH ST                      10201 S. MAIN STREET
3947 LENNANE DR., STE 120               SCOTTSDALE, AZ 85262                  HOUSTON, TX 77025
SACRAMENTO, CA 95834




JANE ENGLAND TOMLINSON                  JANE LASKA                            JANE UCHE
8238 LI FAIR DR                         10201 S. MAIN STREET                  10201 S. MAIN STREET
PENSACOLA, FL 32506                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JANEE FAULK                             JANEEN REED                           JANELLE CLINE
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




JANELLE HENKENS                         JANELLE HERNANDEZ                     JANELLE KING
10201 S. MAIN STREET                    10201 S. MAIN STREET                  12360 MAGNOLIA BLVD
HOUSTON, TX 77025                       HOUSTON, TX 77025                     VALLEY VILLAGE, CA 91607




JANENE COOK                             JANESSA COUGHLIN                      JANESSA MENDONCA
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025




JANESVILLE WATER & WASTEWATER UTILITY   JANESVILLE                            JANET BELL
18 N JACKSON ST                         ATTN: PROPERTY TAX DEPT.              10201 S. MAIN STREET
P.O. BOX 5005                           18 N. JACKSON STREET                  HOUSTON, TX 77025
JANESVILLE, WI 53547-5005               MAIN FLOOR JANESVILLE, WI 53548
JANET CHIURAZZI        Case 18-12241-CSS     Doc 26
                                      JANET ERICKSON       Filed 10/05/18   PageJANET
                                                                                  789 FOUST
                                                                                       of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JANET GALIPEAU                         JANET HICKS                              JANET M OHAVER
10201 S. MAIN STREET                   3305 NW 42ND ST                          1505 MAPLE HILLS CT
HOUSTON, TX 77025                      OKLAHOMA CITY, OK 73112                  NAPERVILLE, IL 60563




JANET ZAIDMAN                          JANETTE PEREZ                            JANEY ESLICK
10201 S. MAIN STREET                   4113 GALLANT FOX                         10201 S. MAIN STREET
HOUSTON, TX 77025                      PASADENA, TX 77503                       HOUSTON, TX 77025




JANICE BARGER                          JANICE BERMAN                            JANICE BOAHEN
16231 ALPINE PLACE                     10201 S. MAIN STREET                     10201 S. MAIN STREET
LA MIRADA, CA 90638                    HOUSTON, TX 77025                        HOUSTON, TX 77025




JANICE EVANS                           JANICE FARRELL                           JANICE L DELLER
60215 OAKLAWN AVE                      60219 OAKLAWN AVE                        6420 E TROPICANA AVE 518
LACOMBE, LA 70455                      LACOMBE, LA 70445                        LAS VEGAS, NV 89122




JANICE M GAMBILL                       JANICE P ELLIN                           JANIE BIGHAM
4540 EXCALIBUR COURT                   1155 CLAIRE LN                           10201 S. MAIN STREET
COLORADO SPRINGS, CO 80917             HIGHLANDS, NC 28741                      HOUSTON, TX 77025




JANIE BROOKS                           JANIE GANS                               JANIE LANDIN
11101 CASITAS DR                       10201 S. MAIN STREET                     10201 S. MAIN STREET
AUSTIN, TX 78717                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JANIE PAULUS                           JANI-KING OF RALEIGH/DURHAM              JANINE LEATHERMAN
10201 S. MAIN STREET                   801 JONES FRANKLIN RD STE 230            10201 S. MAIN STREET
HOUSTON, TX 77025                      RALEIGH, NC 27606                        HOUSTON, TX 77025




JANINE MYERS                           JANIRA CORTES                            JANIS E SPALLA
10201 S. MAIN STREET                   30020 SW 143 CT                          2205 285TH AVE
HOUSTON, TX 77025                      HOMESTEAD, FL 33033                      RIDGEWAY, IA 52165




JANIS F HOESE                          JANITORS WAREHOUSE                       JANITORS WAREHOUSE
3026 BRISDANE ST                       4610 BRITTMOORE RD                       P.O. BOX 431809
MEMPHIS, TN 38118                      HOUSTON, TX 77041                        HOUSTON, TX 77243-1809
JANKO GROUP            Case      18-12241-CSS     Doc 26
                                           JANNA FRYE         Filed 10/05/18   PageJAN-PRO
                                                                                     790 ofOF1739
                                                                                              THE GREATER BAY AREA
2610 LAKE COOK ROAD, SUITE 100             10201 S. MAIN STREET                    3875 HOPYARD ROAD STE 194
RIVERWOODS, IL 60015                       HOUSTON, TX 77025                       PLEASANTON, CA 94588




JANROSS ASSOCIATES                         JANROSS ASSOCIATES, LTD.                JANSSEN GLASS & DOOR LLC
PO BOX 745066                              185 TWELVE OAKS LANE                    5010 HADLEY
ATLANTA, GA 30374-5066                     PONTE VEDRA BEACH, FL 32082             OVERLAND PARK, KS 66203




JANTZEN BEACH CENTER 1767 LLC              JANTZEN BEACH CENTER 1767, LLC          JANTZEN BEACH CENTER 1767, LLC
PO BOX 82565                               C/O KIMCO REALTY CORPORATION            C/O KIMCO REALTY
GOLETA, CA 93118-2565                      1621-B SOUTH MELROSE DRIVE              3333 NEW HYDE PARK ROAD, SUITE 100
                                           ATTN: LEGAL DEPARTMENT                  ATTN: LEGAL DEPARTMENT
                                           VISTA, CA 92081                         NEW HYDE PARK, NY 11042



JANYCE WHITE                               JAPFAIR (USA) INC                       JAPHETH DUPUIS
10201 S. MAIN STREET                       THE COUNTY TRAIL APARTMENTS             10201 S. MAIN STREET
HOUSTON, TX 77025                          3430 COUNTY SQUARE DR                   HOUSTON, TX 77025
                                           CARROLLTON, TX 75006




JAPHETH MOON                               JAQUAVIOUS CARTER                       JAQUEAL WALKER
10201 S. MAIN STREET                       10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                       HOUSTON, TX 77025




JAQUREST WALKER                            JARAE WARD                              JARDEN PITRE
10201 S. MAIN STREET                                                               5907 PERSHING
HOUSTON, TX 77025                                                                  HOUSTON, TX 77033




JARED BODKIN                               JARED BOLDUC                            JARED BRINKLEY
10201 S. MAIN STREET                       10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED BROWNE                               JARED DOUGLASS                          JARED DRISKELL
10201 S. MAIN STREET                       10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED DRUCKMAN                             JARED ERVIN                             JARED FIELDING
10201 S. MAIN STREET                       10201 S. MAIN STREET                    2451 N 800 W
HOUSTON, TX 77025                          HOUSTON, TX 77025                       LEHI, UT 84043




JARED GLOVER                               JARED GOOS                              JARED GRIFFITHS
10201 S. MAIN STREET                       2709 LAWRENCE RD 152                    10201 S. MAIN STREET
HOUSTON, TX 77025                          ARLINGTON, TX 76006                     HOUSTON, TX 77025
JARED HARRIS           Case 18-12241-CSS     Doc 26
                                      JARED HOLLIS       Filed 10/05/18   PageJARED
                                                                                791 LAMORTE
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED LEVAN                           JARED LEWIS                             JARED LISBON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED MATWICH                         JARED MCGEE                             JARED MCKINNEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED MILLER                          JARED NOLTE                             JARED PETTIT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED PHILLIPS                        JARED PRATT                             JARED REID
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED ROSE                            JARED SCHWEIKHART                       JARED SENNET
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED SHAFFSTALL                      JARED SHELLHORN                         JARED SIMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED STEINER                         JARED TAHAN                             JARED TAMBURRINO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JARED UPHAM                           JARED WADSLEY                           JARED WILLIAM HARRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    5719 BURLINGHALL DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77035




JAREEN E SCHMIDT FAMILY TWO LTD       JAREEN E SCHMIDT FAMILY TWO LTD         JARETT DUREELL
ATTN: BELINDA TALLEY                  P.O. BOX 122297                         10201 S. MAIN STREET
PO BOX 122297                         ATTN: BELINDA TALLEY                    HOUSTON, TX 77025
FORT WORTH, TX 76121                  FORT WORTH, TX 76121
JAROD LEIGHTON          Case 18-12241-CSS    Doc 26
                                       JAROD WHITE        Filed 10/05/18   PageJARON
                                                                                 792 KRAUSE
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JARON LAGRONE                          JARON MCMASTERS                         JARQUELLE JACKSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JARRAD COSTANTINO                      JARRED GARCIA                           JARRED MELTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JARREL HENDERSON                       JARRELL PRESSLEY                        JARRETT BENTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JARRETT G. RODRIGUEZ                   JARRETT LUNA                            JARRETT RODRIGUEZ
1431 W STATE RD 84 APT 308             10201 S. MAIN STREET                    10201 S. MAIN STREET
FORT LAUDERDALE, FL 33315              HOUSTON, TX 77025                       HOUSTON, TX 77025




JARRETT TOMALIN                        JARROD AZZAM                            JARROD FRALEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JARROD HUMBARGER                       JARROD LARKINS                          JARROD WALKER
231 E BIRCHWOOD COURT                  10201 S. MAIN STREET                    10201 S. MAIN STREET
WARSAW, IN 46582                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JARRYD TAI                             JARVIS BROUSSARD                        JARVIS COLE-CASTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JARVIS D ANDERSON                      JARVIS HANDY                            JARVIS J HUDSON
113 DONLEE RD                          10201 S. MAIN STREET                    1346 W ESTES AVE
LANCASTER, TX 75134                    HOUSTON, TX 77025                       CHICAGO, IL 60626




JARVIS JACKSON                         JARVIS LEMON                            JARVIS PETERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JARVIS PRICE           Case 18-12241-CSS      Doc 26
                                      JARVIS STONER       Filed 10/05/18   PageJASAN
                                                                                 793 LLC
                                                                                      of 1739
10201 S. MAIN STREET                   3816 LEBANON CHURCH RD                  C/O KIN PROPERTIES, INC.
HOUSTON, TX 77025                      WEST MIFFLIN, PA 15122                  185 NW SPANISH RIVER BOULEVARD, SUITE
                                                                               100
                                                                               ATTN: JASON LEV
                                                                               BOCA RATON, FL 33431


JASEN BELL                             JASEN BLUM                              JASEN ROBINSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASMAINE CHAPMAN                       JASMIN BELL                             JASMIN GLENN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASMINE BRAILEY                        JASMINE BROOKS                          JASMINE BROWN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASMINE CHESTANG                       JASMINE FORNEY                          JASMINE GRIMES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASMINE JOHNSON                        JASMINE JONES                           JASMINE LAWRENCE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASMINE MONROE                         JASMINE RAKOW                           JASMINE ROGERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASMINE SIMMONS                        JASMINE WIGGINS                         JASMINE WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASMINE WILLIAMS                       JASMOND THRASH                          JASMYN JEWETT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASMYNE HYMES                          JASON A. WORKMAN                        JASON ALLEN
10201 S. MAIN STREET                   DISTRICT MANAGER-DALLAS                 1445 BARNEY FIFE
HOUSTON, TX 77025                      6399 MORNINGSTAR DR 516                 GRANTS PASS, OR 97527
                                       THE COLONY, TX 75056
JASON BAEZ               Case 18-12241-CSS     Doc 26
                                        JASON BALDWIN      Filed 10/05/18   PageJASON
                                                                                  794 BALLOU
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON BAXLEY                            JASON BEACHLER                          JASON BEATON II
10201 S. MAIN STREET                    111 HEALY CT                            10201 S. MAIN STREET
HOUSTON, TX 77025                       STAFFORD, VA 22554                      HOUSTON, TX 77025




JASON BEATTY                            JASON BENRUD                            JASON BOOTH
10201 S. MAIN STREET                                                            10201 S. MAIN STREET
HOUSTON, TX 77025                                                               HOUSTON, TX 77025




JASON BOWERS                            JASON BOYCE                             JASON BRAUN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON BROWN                             JASON BROWN                             JASON CALAG
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON CAMPBELL                          JASON CHOATE                            JASON CHURCH
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON CLARK                             JASON CLEVENGER                         JASON CONDERMAN
2852 PERSONALITY PKWY.                  10201 S. MAIN STREET                    10201 S. MAIN STREET
MARIETTA, GA 30064                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON CONNELLY                          JASON COONCE                            JASON COTELLESSA
4229 FOX HUNTERS RD                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HARRINGTON, DE 19952                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON COTTRELL                          JASON COUGHLIN                          JASON COUGHLIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON COWEN                             JASON COWEN                             JASON CROSSETT
10201 S. MAIN STREET                    10201 S. MAIN STREET                    2895 FAIRWOOD DRIVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       RENO, NV 89502
JASON CULMER           Case 18-12241-CSS
                                      JASON DDoc 26
                                             HEPOLA      Filed 10/05/18   PageJASON
                                                                                795 DofLADAY
                                                                                        1739
10201 S. MAIN STREET                  2301 CROMWELL DR                        2314 CROOKED LN
HOUSTON, TX 77025                     MINNEAPOLIS, MN 55410                   HOUSTON, TX 77084




JASON D ROMANO                        JASON D.M. HYLAND                       JASON DAGUILAR
942 LACOSTA CIRCLE 2                  3909 TAPADO CANYON TRAIL                10201 S. MAIN STREET
SARASOTA, FL 34237                    ROUND ROCK, TX 78681                    HOUSTON, TX 77025




JASON DANIEL                          JASON DANNER                            JASON DIRK
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON DOUGHERTY                       JASON DOUGLAS KOVACS                    JASON DWIGGINS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON ENGEL                           JASON ENGLISH                           JASON ERDMANN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON ERICKSON                        JASON EVANS                             JASON EWING
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON EWING                           JASON FESNAK                            JASON FINEBERG
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON FISHGRAB                        JASON GANTT                             JASON GASSES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON GILL                            JASON GODWIN                            JASON GOLDSTEIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON GOODMAN                         JASON GOODWIN                           JASON GORDON
9044 LAKES AT 610                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77054                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JASON HALEY              Case 18-12241-CSS     Doc 26
                                        JASON HAMMONS       Filed 10/05/18   PageJASON
                                                                                   796 HARM
                                                                                       of 1739
7916 KERN LN.                           10201 S. MAIN STREET                     10201 S. MAIN STREET
FORT WORTH, TX 76137                    HOUSTON, TX 77025                        HOUSTON, TX 77025




JASON HAUGH                             JASON HAYWARD                            JASON HEBB
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JASON HEPOLA                            JASON HOFFMAN                            JASON HOGAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JASON HOREIN                            JASON IHLY                               JASON INGRAM
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JASON JAMES                             JASON JUAREZ                             JASON KEIGHTLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JASON KIRSCHNER                         JASON KLEIN                              JASON KRUEGER
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JASON LADAY                             JASON LADAY                              JASON LAFRADES
14031 PROSPERITY RIDGE                  2314 CROOKED LANE                        10201 S. MAIN STREET
HOUSTON, TX 77048                       HOUSTON, TX 77084                        HOUSTON, TX 77025




JASON LARISCEY                          JASON LASLEY                             JASON LE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JASON LEBRUN                            JASON LECROY                             JASON LEE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JASON LIEBERMAN                         JASON LING                               JASON LIPSCOMB
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
JASON LOGGINS           Case 18-12241-CSS     Doc 26
                                       JASON LONG         Filed 10/05/18   PageJASON
                                                                                 797 LONG
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON M FESNAK                         JASON MAHER                             JASON MARSHALL
1402 ARBOR LAKD BLVD                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HERMITAGE, TN 37076                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON MARTIN                           JASON MASKERI                           JASON MAYER
8413 WAYNE AVE                         10201 S. MAIN STREET                    10201 S. MAIN STREET
KANSAS CITY, MO 64131                  HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON MAYORGA                          JASON MCCAY                             JASON MCKENZIE
6331 OAKBURL LN                        10201 S. MAIN STREET                    10201 S. MAIN STREET
SUGAR LAND, TX 77479                   HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON MCMASTERS                        JASON MIHALOVITS                        JASON MILLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON MINER                            JASON MONIZ                             JASON MORGAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON MURAS                            JASON MURRAY                            JASON NESBITT
10201 S. MAIN STREET                   1132 MONTGOMERY ST                      10201 S. MAIN STREET
HOUSTON, TX 77025                      OROVILLE, CA 95965                      HOUSTON, TX 77025




JASON NIFFEN                           JASON NORWICK                           JASON OMTVEDT
36 MULBERRY CT                         10201 S. MAIN STREET                    10201 S. MAIN STREET
ARDEN, NC 28704                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON P MANN                           JASON PALADINO                          JASON PAPPALARDO
4354 POINT BLVD 2105                   10201 S. MAIN STREET                    10201 S. MAIN STREET
GARLAND, TX 75043                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON PARADIS                          JASON PERRINE                           JASON PETERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JASON PINEDA           Case 18-12241-CSS     Doc 26
                                      JASON PRESTON      Filed 10/05/18   PageJASON
                                                                                798 PRESTON
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON PRESTON                         JASON PRICKETT                          JASON PTASZENSKI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON QUIGLEY                         JASON RAMOS                             JASON RAMSELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    46 RAMSELL WAY
HOUSTON, TX 77025                     HOUSTON, TX 77025                       EAST WATERBORO, ME 04030




JASON REICH                           JASON REZENTES                          JASON RICH
10201 S. MAIN STREET                  91-439 POHAKUPUNA RD                    10201 S. MAIN STREET
HOUSTON, TX 77025                     EWA BEACH, HI 96706                     HOUSTON, TX 77025




JASON ROLAND                          JASON ROSE ROSE                         JASON ROTHFELD
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON RUSSELL                         JASON SAMMONS                           JASON SANCHEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON SCHURLEY                        JASON SELLERS                           JASON SHERMAN
10201 S. MAIN STREET                  MCS NATIONAL MANAGER                    10201 S. MAIN STREET
HOUSTON, TX 77025                     5927 ALMEDA RD. 21314                   HOUSTON, TX 77025
                                      HOUSTON, TX 77004




JASON SHIEH                           JASON SMITH                             JASON SMITH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON SNEDEKER                        JASON SNYDER                            JASON ST JAMES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON STARR                           JASON STUART                            JASON TENNEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JASON TENNEY           Case 18-12241-CSS     Doc 26
                                      JASON TITUS        Filed 10/05/18   PageJASON
                                                                                799 TRUJILLO
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON TUCKER                          JASON TUCKER                            JASON UNDERWOOD
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON VERMILLION                      JASON WALTERS                           JASON WARDEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON WEATHERSBY                      JASON WILLIAMS                          JASON WILSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    9415 WESTHEIMER 221C
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77063




JASON WINFREY                         JASON WOODS                             JASON WORKMAN
2700 N 16TH ST 9                      10201 S. MAIN STREET                    10201 S. MAIN STREET
BEAUMONT, TX 77703                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JASON WORKMAN                         JASON YGLESIAS                          JASONS BIG TRUCK & AUTO
10201 S. MAIN STREET                  73-1103 LOLOA DR                        1344 TAYLOR FARM ROAD
HOUSTON, TX 77025                     KAILUA KONA, HI 96740                   VIRGINIA BEACH, VA 23453




JASPER COUNTY COLLECTOR               JASPER COUNTY TAX COLLECTOR             JASPER WATERWORKS & SWR BOARD
601 S PEARL AVE SUITE 107             PO BOX 421                              1620 ALABAMA AVE
JOPLIN, MO 64801                      CARTHAGE, MO 64836                      JASPER, AL 35501




JASPER WATERWORKS & SWR BOARD         JASPER WATERWORKS AND SEWER BOARD       JASPER
P.O. BOX 1348                         INC                                     ATTN: PROPERTY TAX DEPT.
JASPER, AL 35502-1348                 PO BOX 1348                             PO BOX 1589
                                      JASPER, AL 35502                        JASPER, AL 35502




JASPRIT TOOR                          JASZMINE BOWMAN                         JATAVIAN CARTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JATAYLA BARTON                        JAVAD ROSTAMI                           JAVAID ANWAR
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JAVAN DRAKE              Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                        JAVIEN RODRIGUEZ               PageJAVIER
                                                                             800 of 1739
                                                                                  BARRETO
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JAVIER HERNANDEZ                        JAVIER MANCINAS                    JAVIER MENOCAL MARTINEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JAVIER MONGE                            JAVIER NAVARRETE                   JAVIER OCHOA-HIP
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JAVIER PRIETO                           JAVIER SIU                         JAVIER STEFANONI
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025




JAVIER VELASCO                          JAVIL JOHN                         JAVON DAVIS
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JAVON MARSHALL                          JAVON MERCHANT                     JAVON ROBERSON
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JAVON ZOW                               JAWAHAR MALHOTRA                   JAX LOGISTICS
10201 S. MAIN STREET                    10201 S. MAIN STREET               405 N 75TH AVE STE 183
HOUSTON, TX 77025                       HOUSTON, TX 77025                  PHOENIX, AZ 85043




JAX LOGISTICS                           JAY ASHBURN                        JAY B GOLDBERG
DEDICATED SERVICES INC                  10201 S. MAIN STREET               27 COLTS RUN
405 N 75TH AVE STE 183                  HOUSTON, TX 77025                  MARLBORO, NJ 07746
PHOENIX, AZ 85043




JAY BARBER BARBER                       JAY BESST                          JAY CONDON
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JAY CORBIN GOINS                        JAY DANIELS                        JAY DOOLEY
551 GEORGIA ST                          10201 S. MAIN STREET               10201 S. MAIN STREET
TALLAHASSEE, FL 32303                   HOUSTON, TX 77025                  HOUSTON, TX 77025
JAY EVERRITT           Case 18-12241-CSS     Doc 26
                                      JAY GOLDBERG       Filed 10/05/18   PageJAY
                                                                                801 of 1739
                                                                                  GORDON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAY GORDON                            JAY GURGANUS                            JAY HOWSER CONSTRUCTION LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET                    PO BOX 128
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HERMITAGE, TN 37076




JAY KABAT                             JAY KENNEDY AS TRUSTEE FOR FAK REALTY   JAY KING
10201 S. MAIN STREET                  46 RIVERSIDE DRIVE                      10201 S. MAIN STREET
HOUSTON, TX 77025                     NORWELL, MA 02061                       HOUSTON, TX 77025




JAY LLOYD                             JAY LOCKHART                            JAY LUCAS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAY MARCUS                            JAY MCDONALD                            JAY MCMULLIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAY MILLER                            JAY MISSICK                             JAY MONGA
72 KNORR RD                           10201 S. MAIN STREET                    10201 S. MAIN STREET
MONROE, CT 06468                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JAY MORGENSTERN                       JAY PAYTON                              JAY PERRY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAY PINEDO                            JAY PRICE                               JAY PULLIAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAY ROBERTSON                         JAY ROSE                                JAY SANTIAGO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JAY SEDWICK                           JAY SINGLETON                           JAY SPEIGHTS
10201 S. MAIN STREET                  360 SUNDERLAND WAY                      10201 S. MAIN STREET
HOUSTON, TX 77025                     STOCKBRIDGE, GA 30281                   HOUSTON, TX 77025
JAY STILES                Case 18-12241-CSS     Doc 26
                                         JAY STURYCZ        Filed 10/05/18   PageJAY
                                                                                   802  of 1739
                                                                                     THAO
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JAYDEN FRITCH WOOGE                      JAYLA RUSH                              JAYLEN BALL
10201 S. MAIN STREET                     10201 S. MAIN STREET                    3684 GERSHWIN LN N
HOUSTON, TX 77025                        HOUSTON, TX 77025                       OAKDALE, MN 55128




JAYME FERGUSON                           JAYME PRUSZKA                           JAYME RUSZKOWSKI
1706 WINNERS RIBBON CIRCLE               3448 E CUDAHY AVE APT 3448A             10201 S. MAIN STREET
PFLUGERVILLE, TX 78660                   CUDAHY, WI 53110                        HOUSTON, TX 77025




JAYSON MONTGOMERY                        JAZMIA TYSON                            JAZMIN DELVALLE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JAZMIN MURPHY                            JAZMIN SANTIAGO                         JAZMINE BOWE
10770 39TH AVE APT 1                     10201 S. MAIN STREET                    10201 S. MAIN STREET
PLEASANT PRAIRIE, WI 53158               HOUSTON, TX 77025                       HOUSTON, TX 77025




JAZMINE LOVING                           JAZMINE MILLER                          JB BRANDS INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                    4348 WAIALAE AVE 327
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HONOLULU, HI 96816




JB OLD BRIDGE LP                         JB OLD BRIDGE LP                        JB WEBB
C/O RD MANAGEMENT LLC                    C/O RD MANAGEMENT LLC                   10201 S. MAIN STREET
810 7TH AVE 10TH FLOOR                   810 7TH AVE, 10TH FLOOR                 HOUSTON, TX 77025
NEW YORK, NY 10019                       NEW YORK, NY 10019




JBI COMPANY                              JBK C-COVE LLC                          JBK C-COVE LLC
7502 E. BUENA TERRA WAY                  ATTN: BRIAN LE                          RK MARSHALL
SCOTTSDALE, AZ 85250                     1114 E. SEMINARY DRIVE                  PO BOX 216
                                         FORT WORTH, TX 76115                    TEMPLE, TX 76503




JBKC C-COVE, LLC                         JBL ASSET MANAGEMENT, LLC               JBL ASSET MANAGEMENT, LLC
1114 E. SEMINARY DRIVE                   ATTN: ALICIA HUGH                       ATTN: EMIL ALEXANDROV
ATTN: BRIAN LE                           2028 HARRISON STREET, SUITE 202         2028 HARRISON STREET, SUITE 202
FORT WORTH, TX 76115                     HOLLYWOOD, FL 33020                     HOLLYWOOD, FL 33020




JBL ASSET MANAGEMENT, LLC                JBL ASSET MANAGEMENT, LLC               JBL ASSET MANAGEMENT, LLC
ATTN: JACOB KHOTOVELI                    ATTN: KATALIN MALLER                    MARC ORIO
2028 HARRISON STREET, SUITE 202          2028 HARRISON STREET - SUITE 202        2028 HARRISON STREET, SUITE 202
HOLLYWOOD, FL 33020                      HOLLYWOOD, FL 33020                     HOLLYWOOD, FL 33020
JBL FLAMINGO PINES, LLC Case 18-12241-CSS      Doc 26
                                       JBL FLAMINGO  PINES,Filed
                                                            LLC 10/05/18       PageJBL
                                                                                     803  ofWALDEN
                                                                                       LAKE  1739 LLC
C/O JBL ASSET MANAGEMENT, LLC          C/O JBL ASSET MGMT LLC                      2028 HARRISON STREET, SUITE 202
2028 HARRISON STREET, SUITE 202        2028 HARRISON STREET, SUITE 202             HOLLYWOOD, FL 33020
HOLLYWOOD, FL 33020                    ATTN: A/R DEPT
                                       HOLLYWOOD, FL 33020



JBL LAKE WALDEN LLC                    JBL LAKE WALDEN, LLC, JBL LAKE WALDEN       JBL MANAGEMENT
C/O JBL ASSET MGMT LLC                 2, LLC, AND JBL LAKE WALDEN 3, LLC          C/O ASSET MGMT LLC
2028 HARRISON STREET, SUITE 202        C/O JBL ASSET MANAGEMENT, LLC               2028 HARRISON STREET, SUITE 202
HOLLYWOOD, FL 33020                    2028 HARRISON STREET, SUITE 202             ATTN: JACOB KHOTOVELI
                                       HOLLYWOOD, FL 33020                         HOLLYWOOD, FL 33020



JBL PRESTON RIDGE, LLC                 JBL PRESTON RIDGE, LLC                      JBS AND LEE'S LLC
C/O ASSET MGMT LLC                     C/O JBL ASSET MANAGEMENT, LLC               12806 OLD PINE LANE
2028 HARRISON STREET, SUITE 202        2028 HARRISON STREET, SUITE 202             PETER SISAN
ATTN: JACOB KHOTOVELI                  ATTN: JACOB KHOTOVELI                       HOUSTON, TX 77015
HOLLYWOOD, FL 33020                    HOLLYWOOD, FL 33020



JBS AND LEES LLC                       JBS AND LEES                                JC FELIX NAVARRO
PETER SISAN                            PETER SISAN                                 10201 S. MAIN STREET
12806 OLD PINE LANE                    12806 OLD PINE LN                           HOUSTON, TX 77025
HOUSTON, TX 77015                      HOUSTON, TX 77015




JC POTEMPA                             JC&L DELIVERY                               JC&L DELIVERY-L. VELASQUEZ
10201 S. MAIN STREET                   5450 GULFTON ST                             5450 GULFTON ST
HOUSTON, TX 77025                      HOUSTON, TX 77081                           HOUSTON, TX 77081




JCC CALIFORNIA PROPERTIES LLC          JCC CALIFORNIA PROPERTIES, LLC              JCDECAUX STREET FURNITURE NEW YORK
PO BOX 742682                          425 CALIFORNIA STREET, SUITE 500            LLC
LOS ANGELES, CA 90074-2682             SAN FRANCISCO, CA 94104                     3 PARK AVE FLOOR 33
                                                                                   NEW YORK, NY 10016




JCDECAUX STREET FURNITURE NEW YORK     JCN LLC                                     JCP&L
LLC                                    60 NW 60TH ST                               76 SOUTH MAIN ST
GENERAL POST OFFICE                    FORT LAUDERDALE, FL 33309                   AKRON, OH 44308-1890
PO BOX 32089
NEW YORK, NY 10087



JCP&L                                  JCR COMPANIES                               JCR INNOVATION INVESTORS, LLC
P.O. BOX 3687                          1010 WISCONSIN AVE, SUITE 600               1010 WISCONSIN AVE, SUITE 600
AKRON, OH 44309-3687                   WASHINGTON, DC 20007                        ATTN: DREW BRISCOE
                                                                                   WASHINGTON, DC 20007




JCR INNOVATION INVESTORS, LLC          JCR PROPERTIES, LLC                         JCR PROPERTIES, LLC
ATTN: DREW BRISCOE                     33176 COSTAL HIGHWAY                        ATTN: CATHY JONES
1010 WISCONSIN AVE STE 600             ATTN: JOSEPH C. RASKAUSKAS                  P.O. BOX 1509
WASHINGTON, DC 20007                   BETHANY BEACH, DE 19930                     BETHANY BEACH, DE 19930-1509




JCR PROPERTIES, LLC                    JCR RUTHERFORD CROSSING INVESTORS,          JCS TRUCKING INCORPORATED
ATTN: JOSEPH C. RASKAUSKAS             LLC                                         418 HIGHLAND BLVD
33176 COSTAL HIGHWAY                   C/O J.C. REGER INTERESTS, INC.              EASTON, PA 18042
BETHANY BEACH, DE 19930                1010 WISCONSIN AVENUE, NW, SUITE 600
                                       WASHINGTON, DC 20007
JCW ROSWELL ROAD LLC Case       18-12241-CSS    Doc 26
                                          JCW ROSWELL ROAD Filed
                                                           LLC   10/05/18   PageJD804 of 1739
                                                                                   CONNELL GENERAL CONTRACTOR LLC
515 DALRYMPLE RD                           5480 WILLIAMS SHORES                 3650 SOMERSET DRIVE
SANDY SPRINGS, GA 30328                    CUMMING, GA 30041                    BEAVERCREEK, OH 45431




JD DEVLIN                                  JD ETHERIDGE                         JD SALAZAR
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




JD SWILLE                                  JDA SOFTWARE INC                     JDA SOFTWARE, INC.
10201 S. MAIN STREET                       PO BOX 202621                        14400 N 87TH ST
HOUSTON, TX 77025                          DALLAS, TX 75320-2621                SCOTTSDALE, AZ 85260




JDC WAREHAM, LLC                           JDN DEVELOPMENT COMPANY INC          JDN REAL ESTATE - HAMILTON LP.
1760 RESTON PARKWAY, SUITE 210             DEPT 104810-20749-6988               DEPT 104810-20774-6989
RESTON, VA 20190                           PO BOX 532614 DEPT 1708              PO BOX 951049
                                           ATLANTA, GA 30353-2614               CLEVELAND, OH 44193




JDN REAL ESTATE - HAMILTON LP              JDN REAL ESTATE - HAMILTON LP        JDN REAL ESTATE - HAMILTON LP.
C/O DDR CORP.                              C/O DDR CORP.                        3300 ENTERPRISE PKY
3300 ENTERPRISE PARKWAY                    3300 ENTERPRISE PARKWAY              BEACHWOOD, OH 44122
ATTN: EVP - LEASING                        ATTN: GENERAL COUNSEL
BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122



JDNDEVELOPMENT COMPANY INC                 JDNREAL ESTATE-HAMILTON LP           JDS GLASS & REMODELING INC
PO BOX 532614 DEPT 1708                    PO BOX 951049                        210 W MILL ST
ATLANTA, GA 30353                          CLEVELAND, OH 44193                  LANDIS, NC 28088




JEA                                        JEA                                  JEAN AKANE
21 WEST CHURCH ST                          P.O. BOX 45047                       10201 S. MAIN STREET
JACKSONVILLE, FL 32202-3155                JACKSONVILLE, FL 32232-5047          HOUSTON, TX 77025




JEAN ALDRICH                               JEAN BERTRAND                        JEAN CISNEROS
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




JEAN LAINE                                 JEAN MOROSE                          JEAN OKRASA
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




JEAN SCHWENKE                              JEAN WALKER                          JEAN-CLAUDE OKORO
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025
JEANETTE BOWEN          Case 18-12241-CSS    Doc
                                       JEANETTE    26 Filed 10/05/18
                                                D DOLPHUS              PageJEANIE
                                                                             805 of  1739
                                                                                  BELL
10201 S. MAIN STREET                    23581 PARKLAND AVE                 10201 S. MAIN STREET
HOUSTON, TX 77025                       MORENO VALLEY, CA 92557            HOUSTON, TX 77025




JEANIE PITTMAN                          JEANINE ACCA                       JEANINE M ASHKINS
10201 S. MAIN STREET                    10201 S. MAIN STREET               169 E WASATCH PT LN 30101
HOUSTON, TX 77025                       HOUSTON, TX 77025                  DRAPER, UT 84020




JEANMARIE ZYSKOWSKI                     JEANNE CLARKE                      JEANNE SCHUHMANN
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JEANNE WINTERS                          JEANNETE VENIEGAS                  JEANNIE DINH
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JEANNINE EVERETT                        JEANPAUL RUIZ                      JEB HENRY
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JEBROOKE LLC                            JEDIAH ST HILEIN                   JEDIDAH MWANGI
C/O KIN PROPERTIES, INC.                10201 S. MAIN STREET               10201 S. MAIN STREET
185 NW SPANISH RIVER BOULEVARD, SUITE   HOUSTON, TX 77025                  HOUSTON, TX 77025
100
BOCA RATON, FL 33431



JEF JOSEPH                              JEFF ARAZI                         JEFF BARNES
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JEFF BARTELLI                           JEFF BLAND ASSOCIATES LLC          JEFF BLAND ASSOCIATES LLC
10201 S. MAIN STREET                    2900 SABRE ST STE 75               2900 SABRE ST
HOUSTON, TX 77025                       VIRGINIA BEACH, VA 23452           STE 75
                                                                           VIRGINIA BEACH, VA 23452




JEFF BLAND ASSOCIATES LLC               JEFF CARSTENS                      JEFF CAVES
C/O SIFEN                               10201 S. MAIN STREET               4483 N STRATHMORE PL
2900 SABRE STREET, SUITE 75             HOUSTON, TX 77025                  BOISE, ID 83702
VIRGINIA BEACH, VA 23452




JEFF CHATTEN                            JEFF CHENG                         JEFF CORDES
                                        10201 S. MAIN STREET
                                        HOUSTON, TX 77025
JEFF CORNELL           Case 18-12241-CSS     Doc 26
                                      JEFF DAY             Filed 10/05/18   PageJEFF
                                                                                  806DUMM
                                                                                       of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFF ELLIS                            JEFF FORD                                 JEFF GEEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFF GEFFRE                           JEFF GELLER                               JEFF GIBBONS
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFF HAVRISKO                         JEFF HAYLES                               JEFF HOBBS
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFF HUBBARD                          JEFF KENNEDY                              JEFF KING
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFF KNOTT                            JEFF KRUBSACK                             JEFF LANE
2217 HARBOR BLVD APT C1               10201 S. MAIN STREET                      10201 S. MAIN STREET
COSTA MESA, CA 92627                  HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFF LAWSON                           JEFF LEATH                                JEFF MCDANIEL
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFF NORRIS                           JEFF ODELL                                JEFF PADNICK
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFF PIERSON                          JEFF POPE                                 JEFF RAYMAN
2210 FREEDOM AVE                      2118 ROENOKE WAY                          10201 S. MAIN STREET
MIMS, FL 32754                        SAN JOSE, CA 95128                        HOUSTON, TX 77025




JEFF REYNOLDS                         JEFF ROBERTS                              JEFF SCHIEWE
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025
JEFF SCHMIDT           Case 18-12241-CSS      Doc 26
                                      JEFF SIEBEL          Filed 10/05/18   PageJEFF
                                                                                  807SLATON
                                                                                       of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JEFF SMITHERMAN                        JEFF STREMPEL                            JEFF TABKE
10201 S. MAIN STREET                   512 CRADDOCK AVE 2301                    10201 S. MAIN STREET
HOUSTON, TX 77025                      SAN MARCOS, TX 78666                     HOUSTON, TX 77025




JEFF TAUBES                            JEFF UTSEY                               JEFF VAN PEVENAGE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     1979 COUNTRY CLUB ROAD
HOUSTON, TX 77025                      HOUSTON, TX 77025                        LAKE OSWEGO, OR 97034




JEFF WALTER                            JEFF WEAVER                              JEFF WELDON
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JEFF WILSON                            JEFF WILSON                              JEFF WRIGHT
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JEFF YERKES                            JEFF ZANTJER                             JEFFCO FIBERS CO
10201 S. MAIN STREET                   6712 CHEATHAM DR                         C/O ECLIPSE
HOUSTON, TX 77025                      WATAUGA, TX 76148                        PO BOX 816
                                                                                WEBSTER, MA 01570




JEFFCO FIBERS INC                      JEFFEREY CLARK                           JEFFEREY OLSON
PO BOX 816                             10201 S. MAIN STREET                     106 PLEASANT GROVE
WEBSTER, MA 01570                      HOUSTON, TX 77025                        NICHOLASVILLE, KY 40356




JEFFERSON BELL                         JEFFERSON CAPITAL SYSTEMS LLC            JEFFERSON CITY UTILITIES
10201 S. MAIN STREET                   PO BOX 17210                             P.O. BOX 1278
HOUSTON, TX 77025                      GOLDEN, CO 80402                         JEFFERSON CITY, MO 65102




JEFFERSON CO BIRMINGHAM WATER          JEFFERSON CO BIRMINGHAM WATER            JEFFERSON CO SHERIFFS OFF
3600 1ST AVE N                         P.O. BOX 830269                          PO BOX 34570
BIRMINGHAM, AL 35222                   BIRMINGHAM, AL 35283-0269                LOUISVILLE, KY 40232-4570




JEFFERSON CO TAX COLL RM 160           JEFFERSON COUNTY - DIRECTOR              JEFFERSON COUNTY DEPARTMENT OF
COURTHOUSE                             DEPT OF REVENUE                          REVENUE
716 RICHARD ARRINGTON JR BLVD N        PO BOX 12207                             ATTN: PROPERTY TAX DEPT.
BIRMINGHAM, AL 35203-0112              BIRMINGHAM, AL 35202-2207                PO BOX 12207
                                                                                BIRMINGHAM, AL 35202-2207
                       Case 18-12241-CSS
JEFFERSON COUNTY TAX ASSESSOR-               DocCOUNTY
                                      JEFFERSON    26 Filed    10/05/18-
                                                         TAX COLLECTOR     PageJEFFERSON
                                                                                 808 of 1739
                                                                                         COUNTY TREASURER (
COLLECTOR                             BIRMINGHAM                               COLORADO)
ATTN: PROPERTY TAX DEPT.              ATTN: SALES & USE TAX DEPT.              100 JEFFERSON COUNTY PKWY 2520
716 RICHARD ARRINGTON JR BLVD         PO BOX 2112                              GOLDEN, CO 80419-2520
N BIRMINGHAM, AL 35203                BEAUMONT, TX 77704



JEFFERSON COUNTY                       JEFFERSON INVESTMENT PARTNERS LLC       JEFFERSON PARISH C/O POOLED CASH
TAX ASSESSOR COLLECTOR                 GBT REALTY CORP                         1221 ELMWOOD PARK BLVD
PO BOX 2112                            9010 OVERLOOK BLVD                      STE 101
BEAUMONT, TX 77704-2112                BRENTWOOD, TN 37027                     JEFFERSON, LA 70123




JEFFERSON PARISH DEPT OF WATER         JEFFERSON PARISH DEPT OF WATER          JEFFERSON PARISH SHERIFFS OFFICE
ATTN: SALVADOR MAFFEI, JR              P.O. BOX 10007                          BUREAU OF REVENUE & TAXATION
1221 ELMWOOD PK BLVD, STE 909          JEFFERSON, LA 70181-0007                PO BOX 248
JEFFERSON, LA 70123                                                            GRETNA, LA 70054




JEFFERSON PARISH, BUREAU OF REVENUE    JEFFERSON UTILITIES INC                 JEFFERSON
& TAXATION                             270 INDUSTRIAL BLVD                     ATTN: PROPERTY TAX DEPT.
1233 WESTBANK EXPWY, B-425             KEARNEYSVILLE, WV 25430                 320 E. MCCARTY ST.
HARVEY, LA 70058                                                               JEFFERSON CITY, MO 65101-3193




JEFFERY A HOBBS                        JEFFERY A RACHELS                       JEFFERY A SCHMID
                                       12517 BLUE PRARIE TRAIL                 5124 SELMA AVE
                                       FORT WORTH, TX 76179                    FREMONT, CA 94536




JEFFERY ALENSKI                        JEFFERY BREWER                          JEFFERY DUMM
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




JEFFERY HARRIS                         JEFFERY HUGHES                          JEFFERY JONES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JEFFERY KAPLAN DBA MARKETING IN        JEFFERY LUTHER                          JEFFERY MAGEE
MOTION SIGNS                           10201 S. MAIN STREET                    10201 S. MAIN STREET
8250 E GOLF LINKS RD APT 60            HOUSTON, TX 77025                       HOUSTON, TX 77025
TUCSON, AZ 85730




JEFFERY POPPENGER                      JEFFERY POWELL                          JEFFERY WHITE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JEFFERY WILLIS                         JEFFREY ACKER                           JEFFREY ADAM HORGAN
10201 S. MAIN STREET                   1601 BARTON RD. 4008                    1716 DELAWARE ST
HOUSTON, TX 77025                      REDLANDS, CA 92373                      HUNTINGTON BEACH, CA 92648
JEFFREY ALBUS          Case 18-12241-CSS
                                      JEFFREYDoc  26
                                              ALBUS         Filed 10/05/18   PageJEFFREY
                                                                                   809 ofBARBERS
                                                                                          1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFFREY BECKA                          JEFFREY BIANCA                            JEFFREY BRUGH
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFFREY CAMODECA                       JEFFREY CASTILLO                          JEFFREY CHATTEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFFREY CLYMER                         JEFFREY COHEN                             JEFFREY COOPERSTEIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFFREY CRUSE                          JEFFREY D BRIGHT                          JEFFREY DAVIGNON
10201 S. MAIN STREET                   DBA BRIGHT SECURITY                       10201 S. MAIN STREET
HOUSTON, TX 77025                      PO BOX 37                                 HOUSTON, TX 77025
                                       AUSTIN, TX 78767




JEFFREY DOCKETT                        JEFFREY EHLERT                            JEFFREY ELDRIDGE
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFFREY FALLS                          JEFFREY FREDERICK                         JEFFREY FREY
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFFREY G PIERCE                       JEFFREY GALINDO                           JEFFREY GIBSON
1039 WILLOWDALE AVE                    10201 S. MAIN STREET                      10201 S. MAIN STREET
MEDFORD, OR 97501                      HOUSTON, TX 77025                         HOUSTON, TX 77025




JEFFREY GILKISON                       JEFFREY GILLESPEY                         JEFFREY GOLDBERG
10201 S. MAIN STREET                   11820 MIRA MESA DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                      AUSTIN, TX 78732                          HOUSTON, TX 77025




JEFFREY GUSTAFSON                      JEFFREY HAIRFIELD                         JEFFREY HOFFMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025
JEFFREY HUPFER          Case 18-12241-CSS
                                       JEFFREYDoc
                                               KARP26      Filed 10/05/18      PageJEFFREY
                                                                                     810 ofKAUFMAN
                                                                                            1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                       3900 RALPH ST S
HOUSTON, TX 77025                       HOUSTON, TX 77025                          SEAFORD, NY 11783




JEFFREY L STEPHENS DBA JSTEPHENS LLC    JEFFREY MANAGEMENT CORP                    JEFFREY MANAGEMENT CORP
5415 E 109TH PL                         370 7TH AVENUE 618                         ATTN: DANNY FURRER
TULSA, OK 74137                         NEW YORK, NY 10001                         7 PENN PLAZA - 11TH FLOOR
                                                                                   NEW YORK, NY 10001




JEFFREY MANAGEMENT CORP                 JEFFREY MANAGEMENT CORP.                   JEFFREY MCCLELLAN
ATTN: NICK FORELLI                      RANDALL BRISKIN, LEASE ADMINISTRATOR       10201 S. MAIN STREET
7 PENN PLAZA - 11TH FLOOR               7 PENN PLAZA - 11TH FLOOR                  HOUSTON, TX 77025
NEW YORK, NY 10001                      NEW YORK, NY 10001




JEFFREY MGMT CORP.                      JEFFREY MOORE                              JEFFREY NEIHOUSE
370 7TH AVE 618                         10201 S. MAIN STREET                       10201 S. MAIN STREET
NEW YORK, NY 10001                      HOUSTON, TX 77025                          HOUSTON, TX 77025




JEFFREY NEWMAN                          JEFFREY NORDLIE                            JEFFREY P GRAVES
10201 S. MAIN STREET                    10201 S. MAIN STREET                       456 FULTON ST STE 123
HOUSTON, TX 77025                       HOUSTON, TX 77025                          PEORIA, IL 61602




JEFFREY P GRAVES                        JEFFREY P. GRAVES                          JEFFREY PARKS
7701 SOUTH US 31 LLC                    C/O 7701 SOUTH U.S. 31, LLC                10201 S. MAIN STREET
456 FULTON ST STE 123                   456 FULTON STREET, SUITE 123               HOUSTON, TX 77025
PEORIA, IL 61602                        PEORIA, IL 61602




JEFFREY PHILLIPS                        JEFFREY PHILLIPS                           JEFFREY PIERSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




JEFFREY PUTNAM                          JEFFREY QUINT                              JEFFREY R OREAR
10201 S. MAIN STREET                    10201 S. MAIN STREET                       9229 BLACKBERRY CT.
HOUSTON, TX 77025                       HOUSTON, TX 77025                          RENO, NV 89506




JEFFREY R. ANDERSON REAL ESTATE, INC.   JEFFREY REYNOLDS                           JEFFREY RITTENOUR
3825 EDWARDS ROAD, SUITE 200            10201 S. MAIN STREET                       10201 S. MAIN STREET
CINCINNATI, OH 45209                    HOUSTON, TX 77025                          HOUSTON, TX 77025




JEFFREY ROBERSON                        JEFFREY S WALTER                           JEFFREY SCOFIELD
10201 S. MAIN STREET                                                               10201 S. MAIN STREET
HOUSTON, TX 77025                                                                  HOUSTON, TX 77025
JEFFREY SEMPLE           Case 18-12241-CSS
                                        JEFFREYDoc 26 Filed 10/05/18
                                                SOMERVILLE                 PageJEFFREY
                                                                                 811 ofSYDNER
                                                                                        1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




JEFFREY TANNER                          JEFFREY THOMAS                         JEFFREY TOMES
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




JEFFREY VINCENT                         JEFFREY WARD                           JEFFREY WELTERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




JEFFREY WELTERS                         JEFFREY WHITE                          JEFFREY WOODS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




JEFFREY ZANTJER                         JEFFREY ZWICK & ASSOCIATES, P.C.       JEFFRY ANDERSON
10201 S. MAIN STREET                    266 BROADWAY, SUITE 403                10201 S. MAIN STREET
HOUSTON, TX 77025                       BROOKLYN, NY 11211                     HOUSTON, TX 77025




JEFFRY DOYLE                            JEFFRY J TALLMAN                       JEFFRY MUDD
10201 S. MAIN STREET                    SLEEP TRAIN VANCOUVER LLC              10201 S. MAIN STREET
HOUSTON, TX 77025                       20409 N 95TH ST                        HOUSTON, TX 77025
                                        SCOTTSDALE, AZ 85255




JEFLIS PROPERTY MANAGEMENT CORP.        JEFLIS PROPERTY MNGT CORP              JEK WILLOWBROOK LLC
13540 N. FLORIDA AVENUE, SUITE 201      13540 N FLORIDA AVE 201                7216 W 91ST STREET
TAMPA, FL 33613                         TAMPA, FL 33613                        BRIDGEVIEW, IL 60455




JEK WILLOWBROOK, LLC                    JELANI ARCHER                          JELANI CARTER
7216 WEST 91ST STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
BRIDGEVIEW, IL 60455                    HOUSTON, TX 77025                      HOUSTON, TX 77025




JELANI DAVIS                            JELANI PRUE                            JELENA BABIC
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




JELENA GASIC                            JEM IV LLC                             JEMALS CHAVITZ L.L.C.
8213 N NEW ENGLAND AVE                  DEATON MCCUE AND COMPANY INC           JEMALS BENJO LLC
NILES, IL 60714                         62 ROCKFORD RD STE 10                  LOCKBOX 759465
                                        WILMINGTON, DE 19806                   BALTIMORE, MD 21275-9465
JEMALS CHAVITZ LLC     Case 18-12241-CSS
                                      JEMALS Doc 26 LLC
                                             PENNMACK Filed 10/05/18
                                                         LOCKBOX 3112   PageJEMALS
                                                                              812 of 1739
                                                                                   PENNMACK    LLC
LOCKBOX 759465                         PO BOX 8500                          BLDG 171 LEASE ID 171MATT02
BALTIMORE, MD 21275                    PHILADELPHIA, PA 19178-6787          LOCKBOX 3112-PO BOX 8500
                                                                            PHILADELPHIA, PA 19178-6787




JEMALS PENNMACK LLC                    JEMAL'S PENNMACK LLC                 JEMARIUS WALKER
C/O DOUGLAS DEVELOPMENT CORP.          C/O DOUGLAS DEVELOPMENT CORP.        10201 S. MAIN STREET
702 H STREET, NW, SUITE 400            702 H STREET, NW, SUITE 400          HOUSTON, TX 77025
WASHINGTON, DC 20001                   WASHINGTON, DC 20001




JEMERO HARRIS                          JEMISE JORDAN                        JEMMAR PARRENAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




JEN BAUTZ                              JEN CARVER                           JEN DUPUY
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




JEN GIPE                               JEN GRAVES                           JEN HAND
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




JEN LAWRENCE                           JEN ROHDE                            JEN SIMPSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




JEN SINHA                              JEN WILLIAMSON                       JENA FOTHERINGHAM
10201 S. MAIN STREET                   10201 S. MAIN STREET                 8341 W ALEEN AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                    MAGNA, UT 84044




JENE KIRKMAN                           JENEA CLARK                          JEN-EL CONSTRUCTION
10201 S. MAIN STREET                   10201 S. MAIN STREET                 PO BOX 84
HOUSTON, TX 77025                      HOUSTON, TX 77025                    FRANKLIN SQUARE, NY 11010




JENI SPACKMAN                          JENIE TICE                           JENIFER COSTNER
165 N 8TH WEST                         9191 COLONSAY WAY                    5118 GRAPE ST
PRESTON, ID 83263                      SACRAMENTO, CA 95829                 HOUSTON, TX 77096




JENIFER FENTON                         JENKINS ASSOCIATES INC               JENKINTOWN BOROUGH
10201 S. MAIN STREET                   DBA MAJ COMMERCIAL REAL ESTATE       700 SUMMIT AVENUE
HOUSTON, TX 77025                      300 W 15TH ST STE 201                JENKINTOWN, PA 19046
                                       VANCOUVER, WA 98660
JENKINTOWN BOROUGH Case        18-12241-CSS      Doc 26
                                         JENKS, ISAAC        Filed 10/05/18   PageJENLOR
                                                                                    813 of 1739
                                                                                         INTEGRATIONS INC
P.O. BOX 22350                           ATLANTA, GA 30076                        606 WASHINGTON AVE
LEHIGH VALLEY, PA 18002-2350                                                      BRIDGEVILLE, PA 15017




JENN ABEL                                JENN DESAULNIERS                         JENN RICHTER
10201 S. MAIN STREET                     10201 S. MAIN STREET                     600 STUDEMONT ST 3105
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77007




JENNA BARBA                              JENNA DAVIS                              JENNA DIGENNARO BULL
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JENNA E NIXON                            JENNA MOORE                              JENNA MYERS
                                         10201 S. MAIN STREET                     10201 S. MAIN STREET
                                         HOUSTON, TX 77025                        HOUSTON, TX 77025




JENNA NIXON                              JENNA PATENAUDE                          JENNA REIFF
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JENNA RHOADES                            JENNA ROSE DIRITO                        JENNA THOMAS
10201 S. MAIN STREET                     1 HUTTER ST                              10201 S. MAIN STREET
HOUSTON, TX 77025                        SADDLE BROOK, NJ 07663                   HOUSTON, TX 77025




JENNA TOMCHUK                            JENNER COCHRAN                           JENNI BROOKS
2606 PHEASANT RIDGE TRAIL                10201 S. MAIN STREET                     632 TERRACE AVE
APT 4                                    HOUSTON, TX 77025                        MARINETTE, WI 54143
MADISON, WI 53713




JENNIE CATTRON                           JENNIE ORELIEN                           JENNIE VALENTIN
11784 N OGDEN RD                         10201 S. MAIN STREET                     10843 N 23RD ST
NORTH MANCHESTER, IN 46962               HOUSTON, TX 77025                        PHOENIX, AZ 85028




JENNIFER A WALDRON                       JENNIFER ALLEN                           JENNIFER ANDERSCH
1627 ALTGELD ST                          10201 S. MAIN STREET                     10201 S. MAIN STREET
SOUTH BEND, IN 46614                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JENNIFER ASHBY                           JENNIFER BAILEY                          JENNIFER BEAUDOIN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
JENNIFER BENTON        Case 18-12241-CSS     Doc
                                      JENNIFER    26 Filed 10/05/18
                                               BERRIOS                PageJENNIFER
                                                                            814 of BODILY
                                                                                   1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                132 E PLAZA BLVD APT 2123
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HURST, TX 76053




JENNIFER BROWN                        JENNIFER CAMPO                      JENNIFER CARRASCO
10201 S. MAIN STREET                  3419 E DESERT COVE                  10201 S. MAIN STREET
HOUSTON, TX 77025                     PHOENIX, AZ 85028                   HOUSTON, TX 77025




JENNIFER CHATAGNIER                   JENNIFER CISSNA                     JENNIFER CLARK
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER CONNELL                      JENNIFER CORNELIUS                  JENNIFER COUGHLIN
15 D KINGSTON AVE                     208 N MUESSING                      10201 S. MAIN STREET
NEWPORT, RI 02840                     INDIANAPOLIS, IN 46229              HOUSTON, TX 77025




JENNIFER DEFREECE                     JENNIFER DILALLO                    JENNIFER DINKEL
10201 S. MAIN STREET                  5849 BIRCHMONT PLACE DR             179 CAROUSEL LANE
HOUSTON, TX 77025                     SAINT LOUIS, MO 63129               STOKESDALE, NC 27357




JENNIFER DONGU                        JENNIFER DONOHUE                    JENNIFER DORSEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER ERIN HADLEY                  JENNIFER EVANS                      JENNIFER FARQUHAR
1297 DEARBORN AVE NE                  10201 S. MAIN STREET                10201 S. MAIN STREET
KEIZER, OR 97303                      HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER FARQUHAR                     JENNIFER FISHER                     JENNIFER FULTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER GARRISON                     JENNIFER GRASSANO                   JENNIFER GRAUL
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER GREEN                        JENNIFER GRIM                       JENNIFER GURULE
114 HARRINGTON AVE                    10201 S. MAIN STREET                10201 S. MAIN STREET
MADISON, TN 37115                     HOUSTON, TX 77025                   HOUSTON, TX 77025
JENNIFER HAYES          Case 18-12241-CSS     Doc
                                       JENNIFER    26 Filed 10/05/18
                                                HENSON                 PageJENNIFER
                                                                             815 of HEUSER
                                                                                    1739
10201 S. MAIN STREET                   1404 BROYLES LN                     111 W 6TH ST
HOUSTON, TX 77025                      INDIANAPOLIS, IN 46231              SPRING VALLEY, IL 61362




JENNIFER HITCHCOCK                     JENNIFER HOLSAPPLE                  JENNIFER HUNT
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER JONES                         JENNIFER JONESLEE                   JENNIFER JORDAN
10201 S. MAIN STREET                   24 INDEPENDENCE DRIVE               10201 S. MAIN STREET
HOUSTON, TX 77025                      AMERICAN CANYON, CA 94503           HOUSTON, TX 77025




JENNIFER JOURDAN                       JENNIFER KUSSALANANT                JENNIFER LEACH
10201 S. MAIN STREET                   7320 CIRCULO PAPAYO                 10201 S. MAIN STREET
HOUSTON, TX 77025                      CARLSBAD, CA 92009                  HOUSTON, TX 77025




JENNIFER LEE-KIRTZ                     JENNIFER LEVAN                      JENNIFER LIMBACKER-THORNE
1738 MIDNIGHT PASS                     10201 S. MAIN STREET                10201 S. MAIN STREET
BROWNSBURG, IN 46112                   HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER M BERGQUIST                   JENNIFER MATTERN                    JENNIFER MATTHEWS
1705 NE PATTERSON DR                   10201 S. MAIN STREET                10201 S. MAIN STREET
LEES SUMMIT, MO 64086                  HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER MCDADE                        JENNIFER MCLAUGHLIN                 JENNIFER MOORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER MULKEY                        JENNIFER NEUMANN                    JENNIFER NEVELS
DBA THE MARKETS AT EPPS BRIDGE LLC     10201 S. MAIN STREET                2842 N 90TH ST
PO BOX 1983                            HOUSTON, TX 77025                   MILWAUKEE, WI 53222
ATHENS, GA 30603




JENNIFER NORRIS                        JENNIFER PASSINI                    JENNIFER PENA
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




JENNIFER RICHERT                       JENNIFER RIVERA                     JENNIFER ROBINSON
10201 S. MAIN STREET                   18111 VON KARMAN ST 209             10201 S. MAIN STREET
HOUSTON, TX 77025                      IRVINE, CA 92612                    HOUSTON, TX 77025
JENNIFER ROBINSON      Case 18-12241-CSS     Doc
                                      JENNIFER    26 Filed 10/05/18
                                               ROEMMICH                 PageJENNIFER
                                                                              816 of SALE
                                                                                     1739
10201 S. MAIN STREET                  3045 MARINA BAY DR 5203               2645 GROVE ST
HOUSTON, TX 77025                     LEAGUE CITY, TX 77573                 LA VERNE, CA 91750




JENNIFER SARA                         JENNIFER SAVARY                       JENNIFER SHEARER
3525 BUENA CREEK                      10201 S. MAIN STREET                  10201 S. MAIN STREET
VISTA, CA 92084                       HOUSTON, TX 77025                     HOUSTON, TX 77025




JENNIFER SHEPARD                      JENNIFER SMITH                        JENNIFER SORTO
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JENNIFER STEINMULLER                  JENNIFER STEPHENS                     JENNIFER SULLIVAN
10201 S. MAIN STREET                  8338 E WABASH AVE                     10201 S. MAIN STREET
HOUSTON, TX 77025                     TERRE HAUTE, IN 47803                 HOUSTON, TX 77025




JENNIFER VICIEDO                      JENNIFER WAGNER                       JENNIFER WALLEN
99-11 62ND RD                         10201 S. MAIN STREET                  7882 BATH CT
REGO PARK, NY 11374                   HOUSTON, TX 77025                     REYNOLDSBURG, OH 43068




JENNIFER WILKINS                      JENNIFER WOODEN                       JENNIFER WUELFING
10201 S. MAIN STREET                  1401 N MASON AVE                      3285 WALTER TRAVIS DR.
HOUSTON, TX 77025                     CHICAGO, IL 60651                     SARASOTA, FL 34240




JENNIFER ZAFARINO-GRIFFITHS           JENNIFER ZERMENO                      JENNIVI ZAMBRANO
7860 95TH AVE                         17944 VALERIAN WAY                    10201 S. MAIN STREET
VERO BEACH, FL 32967                  SAN BERNARDINO, CA 92407              HOUSTON, TX 77025




JENNY BEAM                            JENNY DETWEILER                       JENNY L BARWICKPA
10201 S. MAIN STREET                  5125 N RIVERFRONT DR                  DBA JENNY L BARWICK ATT AT LAW PA
HOUSTON, TX 77025                     GARDEN CITY, ID 83714                 650 E WASHINGTON ST
                                                                            GREENVILLE, SC 29601




JENNY MARTIN                          JENNY NAVARRETE                       JENSEY LACHAPEL
4402 W STAY CT AVE                    736 W CEDAR ST                        10201 S. MAIN STREET
ORANGE, CA 92868                      OXNARD, CA 93033                      HOUSTON, TX 77025




JENTRAL MCWILLIE                      JER NANUET, LLC                       JERAD JEWELL
10201 S. MAIN STREET                  C/O GLADSTONE DEVELOPMENT CORP.       10201 S. MAIN STREET
HOUSTON, TX 77025                     287 BOWMAN AVENUE, SUITE 311          HOUSTON, TX 77025
                                      ATTN: RICHARD GLADSTONE
                                      PURCHASE, NY 10577
JERAD MARISCAL           Case 18-12241-CSS     Doc 26
                                        JERAD NARRETTA      Filed 10/05/18   PageJERALD
                                                                                   817 of 1739
                                                                                        LEWIS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JERAMIE JONES                            JERAMY GILBERT                          JEREL WILCOX
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JEREMEY DAY                              JEREMEY LALJI                           JEREMI SCHLADER
10201 S. MAIN STREET                     10201 S. MAIN STREET                    901 PROVIDENCE
HOUSTON, TX 77025                        HOUSTON, TX 77025                       MIDDLETON, ID 83644




JEREMIAH HATCH                           JEREMIAH HICKS                          JEREMIAH HICKS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JEREMIAH MAAKESTAD DBA NORTHWEST         JEREMIAH MCCLESKY                       JEREMIAH NOBLITT
MOBILE MECHANICS                         3260 REDONA DR                          10201 S. MAIN STREET
8218 NEDA LANE                           COLLEGE PARK, GA 30349                  HOUSTON, TX 77025
DECATUR, AR 72722




JEREMIAH ORTEGA                          JEREMIAH OSHEIM                         JEREMIAH WILLETT
10201 S. MAIN STREET                     C/O FOSTER, GRAHAM, MILSTEIN &          10201 S. MAIN STREET
HOUSTON, TX 77025                        CALISHER, LLP                           HOUSTON, TX 77025
                                         ATTN: DANIEL FOSTER
                                         360 S. GARFIELD ST., SUITE 600
                                         DENVER, CO 80209


JEREMY A MCCOMBS                         JEREMY ALEXANDER GRAHAM                 JEREMY BAKER
                                         902 NELSON ST                           10201 S. MAIN STREET
                                         KINSTON, NC 28501                       HOUSTON, TX 77025




JEREMY BARNEY                            JEREMY BEAN                             JEREMY BLACKARD
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JEREMY BROOKS                            JEREMY BURNETT                          JEREMY CARDER
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JEREMY CLAXON                            JEREMY COLLINS                          JEREMY COLTER
4787 SCHOOL RD                           10201 S. MAIN STREET                    10201 S. MAIN STREET
LAND O LAKES, FL 34638                   HOUSTON, TX 77025                       HOUSTON, TX 77025
JEREMY COSTA            Case   18-12241-CSS
                                         JEREMY Doc 26
                                                CURSON      Filed 10/05/18   PageJEREMY
                                                                                   818 ofDE1739
                                                                                            VRIES
937 HOLLYMONT DR                         10201 S. MAIN STREET                     10201 S. MAIN STREET
HOLLY SPRINGS, NC 27540                  HOUSTON, TX 77025                        HOUSTON, TX 77025




JEREMY DOCTOR                            JEREMY DYKES                             JEREMY ELMWOOD MARTIN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     308 NORTH EAST ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                        FONTANA, KS 66026




JEREMY EMER                              JEREMY EVANS                             JEREMY GREEN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JEREMY GROVE                             JEREMY HALL                              JEREMY HALLIGAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JEREMY HESS                              JEREMY HICKS                             JEREMY JOHNSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JEREMY JOHNSTON                          JEREMY KING                              JEREMY KYLES
15807 PENNINGTON RD                      910 WEST LAMAR                           10201 S. MAIN STREET
TAMPA, FL 33624                          TEMPLE, TX 76501                         HOUSTON, TX 77025




JEREMY MAHAN                             JEREMY MATTHEWS                          JEREMY MEEKS
10201 S. MAIN STREET                                                              10201 S. MAIN STREET
HOUSTON, TX 77025                                                                 HOUSTON, TX 77025




JEREMY MILLER                            JEREMY MILLER                            JEREMY NICOLATO
10201 S. MAIN STREET                     10201 S. MAIN STREET                     2821 N ELISHA AVE
HOUSTON, TX 77025                        HOUSTON, TX 77025                        MERIDIAN, ID 83646




JEREMY NUNEZ                             JEREMY PECK                              JEREMY PELEGRIN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JEREMY PIERCE                            JEREMY POULOS                            JEREMY PRIESTER
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
JEREMY RATCLIFF        Case 18-12241-CSS
                                      JEREMY Doc 26
                                             RESNICK      Filed 10/05/18   PageJEREMY
                                                                                 819 ofRICHARDSON
                                                                                         1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JEREMY ROBBINS                         JEREMY RODRIGUEZ                        JEREMY S. OAKS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    24 PHILLIPS RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                       BRIGHTON, TN 38011




JEREMY SAMPSON                         JEREMY SCAVAZZO                         JEREMY SCHMIDT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JEREMY SHAFFER                         JEREMY SHAW                             JEREMY SLAGLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JEREMY SMITH                           JEREMY SMITH                            JEREMY TERRY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JEREMY THORNER                         JEREMY TILLMAN                          JEREMY TILLMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JEREMY VENHEIM                         JEREMY W PRIESTER                       JEREMY WELCH
10201 S. MAIN STREET                   244 COURTLAND BLVD                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HENDERSONVILLE, NC 28791                HOUSTON, TX 77025




JEREMY WESSLING                        JEREMY WING                             JERICHO WHOLESALE, LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    C/O BILL WOLF PETROLEUM CORP
HOUSTON, TX 77025                      HOUSTON, TX 77025                       100 JERICHO QUANDRANGLE, SUITE 209
                                                                               JERICHO, NY 11753




JERLONDA ROSS                          JERMAINE LOWERY                         JERMAINE MCCAIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JERMAINE MCLEAN                        JERMAINE PAYNE                          JERMAINE PEARSON
PO BOX 1855                            2706 HELENA ST                          10201 S. MAIN STREET
HIGLEY, AZ 85236                       KENNER, LA 70062                        HOUSTON, TX 77025
JERMAINE SMITH            Case 18-12241-CSS
                                         JERMEY Doc
                                                ESTES26      Filed 10/05/18       PageJEROD
                                                                                        820 WALKER
                                                                                            of 1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                        12210 SHROPSHIRE BLVD
HOUSTON, TX 77025                         HOUSTON, TX 77025                           AUSTIN, TX 78753




JEROL C RUDOLPH                           JEROL RUDOLPH                               JEROLD PRESTON
PO BOX 1213                               10201 S. MAIN STREET                        400 GREENS RD 2022
NATIONAL CITY, CA 91951                   HOUSTON, TX 77025                           HOUSTON, TX 77060




JEROME A SLATER FAMILY REVOCABLE          JEROME A. SLATER FAMILY TRUST               JEROME A. SLATER FAMILY TRUST
TRUST                                     4813 LAKERIDGE TERRACE WEST                 ATTN: JOHN "JAY" T. BENJAMIN, TRUSTEE
C/O JOHN BENJAMIN SUCCESSOR TRUSTEE       ATTN: JOHN "JAY" T. BENJAMIN, TRUSTEE       4813 LAKERIDGE TERRACE WEST
4813 LAKERIDGE TERRACE WEST               RENO, NV 89509-5854                         RENO, NV 89509-5854
RENO, NV 89509-5854



JEROME ASHMON                             JEROME BELL                                 JEROME BROWN
10201 S. MAIN STREET                      10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                           HOUSTON, TX 77025




JEROME CHAMBERS                           JEROME E & JUDITH D GLICK                   JEROME EDGERTON
10201 S. MAIN STREET                      C/O GENERAL GRANT REALTY                    10201 S. MAIN STREET
HOUSTON, TX 77025                         8460 WATSON RD. 220                         HOUSTON, TX 77025
                                          ST. LOUIS, MO 63119




JEROME H. MEYER & CO.                     JEROME HONZA                                JEROME JACKSON
AGENT FOR 3169 N. LINCOLN LLC             10201 S. MAIN STREET                        10201 S. MAIN STREET
640 N LASALLE ST STE 605                  HOUSTON, TX 77025                           HOUSTON, TX 77025
CHICAGO, IL 60654




JEROME KINER                              JEROME WILSON                               JEROME WOLD
5815 GULF FWY                             10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77023                         HOUSTON, TX 77025                           HOUSTON, TX 77025




JERON HUMPHREY                            JERONN PARKER                               JERRAN GRIFFIN
10201 S. MAIN STREET                      10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                           HOUSTON, TX 77025




JERRELL CARROLL                           JERREN WHITE                                JERRID SHAVER
10201 S. MAIN STREET                      10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                           HOUSTON, TX 77025




JERRIE MOSS                               JERROD DUFFIN                               JERRON MOORE
1302 FALCON COVE                          10201 S. MAIN STREET                        10201 S. MAIN STREET
JONESBORO, GA 30238                       HOUSTON, TX 77025                           HOUSTON, TX 77025
JERRON RUCKER JR        Case 18-12241-CSS
                                       JERRY FDoc 26
                                               MOSER      Filed 10/05/18   PageJERRY
                                                                                 821 AofVAUGHN
                                                                                         1739
10201 S. MAIN STREET                   2254 CRYSTAL WOODS DR                   10700 E DARTMOUTH AVE GG-104
HOUSTON, TX 77025                      ARNOLD, MO 63010                        AURORA, CO 80014




JERRY AULTZ                            JERRY BROCK                             JERRY COPELAND
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JERRY D RIGGS                          JERRY EDDINGER                          JERRY EDDINGER
4800 S.W. MACADAM AVE STE 120          10201 S. MAIN STREET                    10201 S. MAIN STREET
PORTLAND, OR 97239                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JERRY G HAWKS                          JERRY GUERRA                            JERRY GUTHRIE
202 MALLARD DR                         10201 S. MAIN STREET                    WALKER COUNTY REVENUE COMMISSIONER
MOORE, SC 29369                        HOUSTON, TX 77025                       1803 3RD AVE SUITE 102
                                                                               JASPER, AL 35501




JERRY HARGRETT                         JERRY HERNANDEZ                         JERRY HOWARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JERRY JOHNSON                          JERRY KNIGHT                            JERRY L MEIER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    3300 SAGE RD APT 11103
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77056




JERRY LAMADRID                         JERRY LEE RADIO LLC                     JERRY MAREK
10201 S. MAIN STREET                   225 E CITY AVE 200                      10201 S. MAIN STREET
HOUSTON, TX 77025                      BALA CYNWYD, PA 19004                   HOUSTON, TX 77025




JERRY MARTINEZ                         JERRY MCCLENDON                         JERRY MCCLURE
GENERAL DELIVERY                       10201 S. MAIN STREET                    9201 GARLAND RD 1016
WESTMINSTER, CO 80030                  HOUSTON, TX 77025                       DALLAS, TX 75218




JERRY MEIER                            JERRY OBASEKI                           JERRY PETERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JERRY PRATT-NIMO                       JERRY RAISOR                            JERRY REYNOLDS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JERRY RODWELLER         Case 18-12241-CSS     Doc 26
                                       JERRY SCOUTEN      Filed 10/05/18   PageJERRY
                                                                                 822 SHOER
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JERRY SILVERSMITH                      JERRY STANFILL                          JERRY VAUGHN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JERRY VELAZQUEZ                        JERRY W SNELLING                        JERRY WHITE
702 W 11TH ST                          619 LITHIA PINECREST                    10201 S. MAIN STREET
FREEPORT, TX 77541                     BRANDON, FL 33511                       HOUSTON, TX 77025




JERSEY CENTRAL PWR & LGT               JERSEY CENTRAL PWR & LGT                JERSEY CITY UE LLC
76 SOUTH MAIN ST                       P.O. BOX 3615                           C/O HACKENSACK UE LLC
AKRON, OH 44308                        AKRON, OH 44309-3615                    P.O. BOX 416556
                                                                               BOSTON, MA 02241-6556




JERSEY CITY UE LLC                     JERSEY CITY UE LLC.                     JERSEY CITY UE LLC.
C/O URBAN EDGE PROPERTIES              280 GROVE ST                            C/O URBAN EDGE PROPERTIES
PO BOX 645308                          JERSEY CITY, NJ 07302                   PO BOX 645308
PITTSBURGH, PA 15264-5308                                                      PITTSBURGH, PA 15264-5308




JERSEY PAPER PLUS                      JERYL BODDIE                            JERZY KOLCAN
PO BOX 494                             10201 S. MAIN STREET                    10201 S. MAIN STREET
EDISON, NJ 08818-0494                  HOUSTON, TX 77025                       HOUSTON, TX 77025




JESPER OFFICE LLC                      JESS AMMEL                              JESS BARROSO
PO BOX 826415                          10201 S. MAIN STREET                    10201 S. MAIN STREET
PHILADELPHIA, PA 19182-6415            HOUSTON, TX 77025                       HOUSTON, TX 77025




JESS CAREY                             JESS CHENEY                             JESS GREENWAY
DBA AAA WINDOW CLEANING                10201 S. MAIN STREET                    10201 S. MAIN STREET
3991 W FOUNTAIN RD                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JOPLIN, MO 64801




JESS KNOWLES                           JESS SUBIN                              JESSE ANGELOFF
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSE BARNES                           JESSE BISHOP                            JESSE BREWER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JESSE BURRUEL          Case 18-12241-CSS     Doc 26
                                      JESSE BYNUM        Filed 10/05/18   PageJESSE
                                                                                823 CALLAHAN
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1501 N CLEVELAND AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       SIOUX FALLS, SD 57103




JESSE CHARLES FIELDS                  JESSE CHARLES                           JESSE CRIGGER
1750 FM 423 225                       10201 S. MAIN STREET                    10201 S. MAIN STREET
FRISCO, TX 75033                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSE DAVI                            JESSE DOTY                              JESSE ENRIQUEZ-LARSEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSE FIELDS                          JESSE GRAY                              JESSE GREENE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSE GUILLEN                         JESSE HARDEN                            JESSE JACOBS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSE JOHNSTON                        JESSE LAFFERTY                          JESSE MARQUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSE NETSCH                          JESSE ONORATO                           JESSE ORKINS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSE OYOLA                           JESSE PORTER                            JESSE POSEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSE PRAEUNER                        JESSE SCHMUNK                           JESSE URBINA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSE WILKINS                         JESSE WILLIAMS                          JESSE XIONG
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JESSEY YARBROUGH          Case 18-12241-CSS     Doc 26
                                         JESSI QUIGLEY       Filed 10/05/18   PageJESSI
                                                                                    824ZEMBA
                                                                                        of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JESSICA AMOROSO                          JESSICA ANDREWS                          JESSICA ANNE PAEZ
1214 FITZGERALD ST                       10201 S. MAIN STREET                     10201 S. MAIN STREET
PHILADELPHIA, PA 19148                   HOUSTON, TX 77025                        HOUSTON, TX 77025




JESSICA BANKS                            JESSICA BERRY                            JESSICA BINKLEY
10201 S. MAIN STREET                     10201 S. MAIN STREET                     9839 BRIGHTWATER DR
HOUSTON, TX 77025                        HOUSTON, TX 77025                        FISHERS, IN 46038




JESSICA BISAILLON                        JESSICA BRAUER                           JESSICA BRUNER
10201 S. MAIN STREET                     6350 7TH AVE                             10201 S. MAIN STREET
HOUSTON, TX 77025                        KENOSHA, WI 53143                        HOUSTON, TX 77025




JESSICA BRYANT                           JESSICA BURCH                            JESSICA BURKS
1622 LIBERTY ST                          10201 S. MAIN STREET                     10201 S. MAIN STREET
AURORA, IL 60505                         HOUSTON, TX 77025                        HOUSTON, TX 77025




JESSICA CAMMY                            JESSICA CARMICHAEL                       JESSICA CHARLINE BRAZEAL
10201 S. MAIN STREET                     10201 S. MAIN STREET                     2311 PECAN VALLEY COURT
HOUSTON, TX 77025                        HOUSTON, TX 77025                        MISSOURI CITY, TX 77459




JESSICA CLOHOSEY                         JESSICA COOLEY                           JESSICA CORONADO
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JESSICA COURTNEY                         JESSICA DAVIS                            JESSICA DESHOTEL
10201 S. MAIN STREET                     3710 KEWANEE DR                          10201 S. MAIN STREET
HOUSTON, TX 77025                        WEST VALLEY CITY, UT 84120               HOUSTON, TX 77025




JESSICA DESIDERIO                        JESSICA DILLS                            JESSICA DUENAS
10201 S. MAIN STREET                     10201 S. MAIN STREET                     4036 E 6TH ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                        LOS ANGELES, CA 90023




JESSICA E OLIVER                         JESSICA ELANDER                          JESSICA ELOISA
425 WILLIAMS DR APT 726                  10201 S. MAIN STREET                     10201 S. MAIN STREET
MARIETTA, GA 30066                       HOUSTON, TX 77025                        HOUSTON, TX 77025
JESSICA FEINSTEIN      Case   18-12241-CSS
                                        JESSICADoc 26
                                               GARCIA      Filed 10/05/18   PageJESSICA
                                                                                  825 ofGARDNER
                                                                                         1739
5086 DEL MONACO                         10201 S. MAIN STREET                    10201 S. MAIN STREET
SANTA BARBARA, CA 93111                 HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA GRISE                           JESSICA HAGBERG                         JESSICA HARRELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                    612 BENSON ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                       MEDFORD, OR 97501




JESSICA HILL                            JESSICA HINKLE                          JESSICA HOOPER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA HORNE                           JESSICA JABOUR                          JESSICA JADE BARRY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    5609 COLFAX AVE APT 357
HOUSTON, TX 77025                       HOUSTON, TX 77025                       NORTH HOLLYWOOD, CA 91601




JESSICA JEANNIN                         JESSICA KEZELE                          JESSICA L ROBINSON
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA LANDAU DBA LANDAU               JESSICA LANE                            JESSICA LAVELLE
CHARTWORKS                              10201 S. MAIN STREET                    10201 S. MAIN STREET
10 LIBERTY SHIP WAY STE 120             HOUSTON, TX 77025                       HOUSTON, TX 77025
SAUSALITO, CA 94965




JESSICA LEWIS                           JESSICA LUCAS                           JESSICA MANDILK
1841 FORSYTHIA DR                       10201 S. MAIN STREET                    18775 PESANTE RD
INDIANAPOLIS, IN 46219                  HOUSTON, TX 77025                       SALINAS, CA 93907




JESSICA MARANON                         JESSICA MARR                            JESSICA MARTINEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA MAYES                           JESSICA MCCREADY                        JESSICA MCLEAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    1028 SHANNON LANE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       FRANKLIN, TN 37064




JESSICA MICHEL                          JESSICA MIDDLETON                       JESSICA MONAGHAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
JESSICA MYLONAS         Case 18-12241-CSS
                                       JESSICADoc  26
                                              NIVENS       Filed 10/05/18   PageJESSICA
                                                                                  826 ofOAKES
                                                                                         1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    POSITIVELY OAKES
HOUSTON, TX 77025                       HOUSTON, TX 77025                       10780 W STATE ST 594
                                                                                PO BOX 594
                                                                                STAR, ID 83669



JESSICA PASS                            JESSICA PHILIPPE                        JESSICA PHILIPPE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA PHILLIPS                        JESSICA PICKRON                         JESSICA PINKSTON
41 ALLEN ST                             10201 S. MAIN STREET                    10201 S. MAIN STREET
GREENVILLE, SC 29605                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA PRUITT                          JESSICA PUGH                            JESSICA QUEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    8054 OLIVIA LN
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HANOVER PARK, IL 60133




JESSICA R FERRARI-GARRETSON             JESSICA REID                            JESSICA RICHASON
697 CEDAR ELM TRAIL                     10201 S. MAIN STREET                    10201 S. MAIN STREET
FORNEY, TX 75126                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA RIDDICK                         JESSICA ROBINSON                        JESSICA RUIZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA RUNKLE                          JESSICA SAUCIER                         JESSICA SAVOY
2501 HISER STATION RD                   10201 S. MAIN STREET                    10201 S. MAIN STREET
MILTON, IN 47357                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA SCHWARTZ                        JESSICA SCHWARZ                         JESSICA SEELY
3065 KIMBERLY ST                        10201 S. MAIN STREET                    25116 SAGECREST CIRCLE
PORTAGE, IN 46368                       HOUSTON, TX 77025                       SANTA CLARITA, CA 91381




JESSICA SERRANO                         JESSICA SILVESTRI                       JESSICA SOLORZANO
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JESSICA STREET                          JESSICA SUBOCZ                          JESSICA THOMAS
10201 S. MAIN STREET                    218 CONTINENTE AVE                      10201 S. MAIN STREET
HOUSTON, TX 77025                       BRENTWOOD, CA 94513                     HOUSTON, TX 77025
JESSICA THOMAS          Case 18-12241-CSS
                                       JESSICADoc 26 Filed 10/05/18
                                              THORNTON                PageJESSICA
                                                                            827 ofTIMMONS
                                                                                    1739
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




JESSICA TORRES                         JESSICA TORRES                     JESSICA VAN ZILE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




JESSICA VELAZQUEZ                      JESSICA WAEGELIN                   JESSICA WALTERS
702 WEST 11TH ST                       10201 S. MAIN STREET               10201 S. MAIN STREET
FREEPORT, TX 77541                     HOUSTON, TX 77025                  HOUSTON, TX 77025




JESSICA WATTS                          JESSICA WHEELER                    JESSICA WHITE
10201 S. MAIN STREET                   11316 JOLLYVILLE RD 249            10201 S. MAIN STREET
HOUSTON, TX 77025                      AUSTIN, TX 78759                   HOUSTON, TX 77025




JESSICA WITTLINGER                     JESSICA WURTZEL                    JESSIE ARNESON
10201 S. MAIN STREET                   10201 S. MAIN STREET               2920 N 83RD ST APT 8
HOUSTON, TX 77025                      HOUSTON, TX 77025                  OMAHA, NE 68134




JESSIE ELOGE                           JESSIE LEON                        JESSIE MAGALLANES MAGALLANES
310 S WAYLAND AVE                      10201 S. MAIN STREET               10201 S. MAIN STREET
SIOUX FALLS, SD 57103                  HOUSTON, TX 77025                  HOUSTON, TX 77025




JESSIE MCILWAIN                        JESSIE MILLER                      JESSIE SAUPITTY
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




JESSIE TAYLOR                          JESSIE VARGAS RIVERA               JESSY PHILLIPS
657 AZURE HILLS DR                     10201 S. MAIN STREET               10201 S. MAIN STREET
SIMI VALLEY, CA 93065                  HOUSTON, TX 77025                  HOUSTON, TX 77025




JESUS AHUMADA                          JESUS BECERRIL                     JESUS BENITEZ
10201 S. MAIN STREET                   4578 BONANZA LN.                   10201 S. MAIN STREET
HOUSTON, TX 77025                      DALLAS, TX 75211                   HOUSTON, TX 77025




JESUS BRUNO                            JESUS CERVANTES                    JESUS CORDOVA
10201 S. MAIN STREET                   7014 PINEHOOK LN                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77016                  HOUSTON, TX 77025
JESUS CRUZ CANALES     Case 18-12241-CSS     Doc 26
                                      JESUS FLORES         Filed 10/05/18   PageJESUS
                                                                                  828 FLORES
                                                                                      of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JESUS HINOJOSA                        JESUS JUAREZ                              JESUS MARIA 25 DELIVERY CORP
10201 S. MAIN STREET                  10201 S. MAIN STREET                      14619 SW 56 ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                         MIAMI, FL 33175




JESUS MARIA 25 DELIVERY CORP          JESUS MENDEZ                              JESUS ROMAN
5725 NW 2ND AVE APT 603               10201 S. MAIN STREET                      10201 S. MAIN STREET
MIAMI, FL 33127                       HOUSTON, TX 77025                         HOUSTON, TX 77025




JESUS SARACAY                         JESUS VARGAS                              JESUS VERGARA
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




JESUS VILLASENOR                      J-ETC COMPANY LLC                         J-ETC COMPANY LLC
10201 S. MAIN STREET                  5515 LAKE RIDGE DR                        5515 LAKE RIDGE DRIVE
HOUSTON, TX 77025                     BRIGHTON, MI 48116                        BRIGHTON, MI 48116




JEWEL ELLIOTT                         JEYSON MALDONADO                          JEZIKA ABREW
10201 S. MAIN STREET                  10201 S. MAIN STREET                      2876 BROOKSIDE DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                         CHINO HILLS, CA 91709




JFL LLC                               JGA PRODUCTIONS                           JGKM ASSOCIATES LLC
C/O CORDANO COMPANY                   11594 DUGAT RD                            303 FELLOWSHIP RD STE 202
1112 11TH STREET                      BEAUMONT, TX 77705                        MOUNT LAUREL, NJ 08054
SACRAMENTO, CA 95814




JH REAL ESTATE PARTNERS, INC.         JHENNIFFER ESQUIVEL                       JHH MIDTOWN FEE OWNER LLC
520 NEWPORT CENTER DRIVE, SUITE 760   10201 S. MAIN STREET                      C/O CORO REALTY ADVISORS, LLC
ATTN: STATHI G. MARCOPULOS            HOUSTON, TX 77025                         3715 NORTHSIDE PKWY BLDG 400 100
NEWPORT BEACH, CA 92660                                                         ATTN: JOHN LUNDEEN, III
                                                                                ATLANTA, GA 30327



JHH MIDTOWN LEASEHOLD OWNER LLC       JHH MIDTOWN LEASEHOLD OWNER, LLC          JHH MIDTOWN LEASEHOLD OWNER, LLC
C/O CORO REALTY ADVISORS, LLC         C/O CORO REALTY ADVISORS, LLC             C/O CORO REALTY ADVISORS, LLC
3715 NORTHSIDE PKWY BLDG 400 100      3715 NORTHSIDE PKWY BLDG 400 100          3715 NORTHSIDE PKWY BLDG 400 STE 100
ATTN: JOHN LUNDEEN, III               ATTN: JOHN LUNDEEN, III                   ATTN: JOHN LUNDEEN, III
ATLANTA, GA 30327                     ATLANTA, GA 30327                         ATLANTA, GA 30327



JHONA ROBINSON                        JI HOON LEE                               JILL ANDREE
10201 S. MAIN STREET                  10201 S. MAIN STREET                      3054 N MONITOR AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                         CHICAGO, IL 60634
JILL BAKER               Case 18-12241-CSS      Doc 26
                                        JILL FERGUSON       Filed 10/05/18   PageJILL
                                                                                   829  of 1739
                                                                                      HUMPHRES
410 CALLE MACHO                          10201 S. MAIN STREET                    3720 BLACK HWY
SAN CLEMENTE, CA 92673                   HOUSTON, TX 77025                       ADRIAN, MI 49221




JILL INDIVERI                            JILL MISENKO                            JILL MOORE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JILL PARKER                              JILL SPINNENWEBER                       JILL WILLIS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    2107 HORIZON TRAIL 3914
HOUSTON, TX 77025                        HOUSTON, TX 77025                       ARLINGTON, TX 76011




JIM ALBRIGHT                             JIM BAKER                               JIM BLACK
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JIM BOHANNA                              JIM BRASFIELD                           JIM CARR
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JIM CHIMITT                              JIM DOYLE                               JIM FORD FORD
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JIM FULTZ                                JIM GOLD                                JIM HARLAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JIM HAYNE                                JIM JAMROZIAK                           JIM KIEFER
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JIM LAIRD                                JIM LANE                                JIM LAWSON RADIO
10201 S. MAIN STREET                     10201 S. MAIN STREET                    601 GRUNSBORO AVE 507
HOUSTON, TX 77025                        HOUSTON, TX 77025                       TUSCALOOSA, AL 35401




JIM MCLEOD                               JIM MINCE                               JIM MOTT
10201 S. MAIN STREET                                                             10201 S. MAIN STREET
HOUSTON, TX 77025                                                                HOUSTON, TX 77025
JIM NELLY              Case 18-12241-CSS     Doc 26
                                      JIM NETTLES         Filed 10/05/18   PageJIM
                                                                                 830  of 1739
                                                                                   OBRIEN
1694 RIDGEVIEW DR                     10201 S. MAIN STREET                     10201 S. MAIN STREET
CLARKSTON, WA 99403                   HOUSTON, TX 77025                        HOUSTON, TX 77025




JIM PESHEK                            JIM R SMITH                              JIM R. SMITH COMPANY
10201 S. MAIN STREET                  1400 POST OAK BLVD SUITE 650             1400 POST OAK BOULEVARD, SUITE 900
HOUSTON, TX 77025                     HOUSTON, TX 77056                        HOUSTON, TX 77056




JIM R. SMITH COMPANY                  JIM RHATIGAN                             JIM RICE
ATTN: KAYLA RIPPLE                    10201 S. MAIN STREET                     10201 S. MAIN STREET
1400 POST OAK BOULEVARD, SUITE 900    HOUSTON, TX 77025                        HOUSTON, TX 77025
HOUSTON, TX 77056




JIM ROGERS                            JIM RUSSELL                              JIM SMITH 21
10201 S. MAIN STREET                  10201 S. MAIN STREET                     1400 POST OAK BLVD STE 900
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77056




JIM SMITH 26                          JIM STANLEY                              JIM STEPHENS
1400 POST OAK BLVD STE 900            10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77056                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JIM TILLIS                            JIM TOMLINSON                            JIM WARD
5815 GULF FREEWAY                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77023                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JIM WRIGHT                            JIMI RUFAI                               JIMMI DAMRELL
10201 S. MAIN STREET                  3000 CALDERA BLVD                        10201 S. MAIN STREET
HOUSTON, TX 77025                     MIDLAND, TX 79705                        HOUSTON, TX 77025




JIMMIE BYRD                           JIMMIE EVANS                             JIMMIE EVANS
10201 S. MAIN STREET                  509 N HWY 69                             509 N. HIGHWAY 69
HOUSTON, TX 77025                     LEONARD, TX 75452                        LEONARD, TX 75452




JIMMIE RAIFORD                        JIMMY BLANCO                             JIMMY BROOKS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JIMMY CHEN                            JIMMY DAW                                JIMMY GOMEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025
JIMMY HALIM           Case   18-12241-CSS     Doc 26
                                       JIMMY HORTON       Filed 10/05/18    PageJIMMY
                                                                                  831LEE
                                                                                      of 1739
5924 N WALNUT GROVE AVE                10201 S. MAIN STREET                     10201 S. MAIN STREET
SAN GABRIEL, CA 91775                  HOUSTON, TX 77025                        HOUSTON, TX 77025




JIMMY MCPHERSON                        JIMMY NELSON                             JIMMY OLMEDO JIMENEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JIMMY REYES                            JIMMY REYES                              JIMMY SANCHEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JIMMY SVELLING                         JIMMY VU                                 JIMMY WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JIMMY WORROCK                          JIMMY ZARATE                             JIN DONG
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JINESSIA STEPHENS                      JING TAI LLC                             JING TAI LLC
10201 S. MAIN STREET                   C/O HAYTON FINANCIAL & INVESTMENT        C/O HAYTON FINANCIAL & INVESTMENT
HOUSTON, TX 77025                      GROUP, LTD.                              GROUP, LTD.
                                       11 E BROADWAY 10TH FL                    11 E BROADWAY 10TH FL
                                       NEW YORK, NY 10038                       NEW YORK, NY 10038



JIRUS HORTON                           JIYONG YUK                               JJ CARDENAS-SANDOVAL
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JJ GUMBERG CO                          JJ WATT LLC                              JJ WATT LLC
PAMELA M. LONG                         CAA SPORTS-ATTN: JOHN CAPLIN             W263N2807 COACHMAN DR
1051 BRINTON ROAD                      401 COMMERCE ST - PENTHOUSE              PEWAUKEE, WI 53072
PITTSBURGH, PA 15221                   NASHVILLE, TN 37219




JJS CHAMPAIGN INV LLC                  JJS CHAMPAIGN INV LLC                    JJS CHAMPAIGN INV., LLC, DBA 901 W
1187 COAST VILLAGE RD 424              MID-AMERICA ASSET MANAGEMENT, INC.       ANTHONY
SANTA BARBARA, CA 93108                ONE PARKVIEW PLAZA, 9TH FLOOR            C/O MID-AMERICA ASSET MANAGEMENT,
                                       OAKBROOK TERRACE, IL 60181               INC.
                                                                                ONE PARKVIEW PLAZA, 9TH FLOOR
                                                                                OAKBROOK TERRACE, IL 60181


JLP CHESAPEAKE LLC                     JLP CHESAPEAKE, LLC                      JLP-CHESAPEAKE EQUITY LLC
C/O SCHOTTENSTEIN PROPERTY GROUP       C/O SCHOTTENSTEIN PROPERTY GROUP         CO SCHOTTENSTEIN PROPERTY GRP
4300 EAST 5TH AVENUE                   LLC                                      4300 FIFTH AVE
ATTN: EVP - GENERAL COUNSEL            4300 EAST 5TH AVENUE                     COLUMBUS, OH 43219
COLUMBUS, OH 43219                     ATTN: EVP - LEASING
                                       COLUMBUS, OH 43219
                       Case
JLP-CHESAPEAKE EQUITY LLC        18-12241-CSS     DocSOUTH,
                                           JLV REAGAN 26 Filed
                                                            LLC 10/05/18     PageJM832  of 1739
                                                                                    & A FIRE ALARMS
DEPARTMENT L-3557                          C/O RETAIL PLANNING CORPORATION        11350 OLD TELEGRAPH RD
COLUMBUS, OH 43260                         515 PEACHTREE PARKWAY SUITE 600        HOUSTON, TX 77067
                                           MARIETTA, GA 30041




JM AND A CONTRACTORS                       JM HAWTHORNE LLC                       JM HAWTHORNE LLC
11350 OLD TELEGRAPH RD                     19900 VENTURA BLVD., SUITE 200         DBA FARIBORZ MATIAN
HOUSTON, TX 77047                          WOODLAND HILLS, CA 90210               19900 VENTURA BLVD SUITE 200
                                                                                  WOODLAND HILLS, CA 91364




JM HAWTHORNE LLC                           JMCR SHERMAN LLC                       JMCR SHERMAN LLC
DBA FARIBORZ MATIAN                        2000 MCKINNEY AVE 1000                 PO BOX 734097
19900 VENTURA BLVD., SUITE 200             DALLAS, TX 75201                       DALLAS, TX 75373-4097
WOODLAND HILLS, CA 90210




JMCR SHERMAN, LLC                          JMCR SHERMAN, LLC                      JMCT REALTY LLC
C/O LINCOLN PROPERTY COMPANY               PO BOX 734097                          JOHN HUNTER
2000 MCKINNEY AVENUE, SUITE 1000           DALLAS, TX 75373-4097                  27 VIRGINIA AVE
DALLAS, TX 75201                                                                  ROCKVILLE CENTRE, NY 11570




JMCT REALTY, LLC                           JMCT REALTY, LLC                       JME CONSULTING
27 VIRGINIA AVENUE                         ATTN: JOHN HUNTER                      2470 195TH ST E
ATTN: JOHN HUNTER                          27 VIRGINIA AVENUE                     PRIOR LAKE, MN 55372
ROCKVILLE CENTRE, NY 11570                 ROCKVILLE CENTRE, NY 11570




J-MEC                                      JMF SOLUTIONS INC                      JMF SOLUTIONS INC
75 REMITTANCE DR DEPT 6080                 1008 RANDALL AVE                       PO BOX 222
CHICAGO, IL 60675-6080                     DAPHNE, AL 36526                       MONTROSE, AL 36559




JMI HOLDINGS LLC                           JMK LIMITED PARTNERSHIP                JMNA PROPERTIES LLC
BROADCAST COMPANY OF THE AMERICAS          KIRKORIAN ENTERPRISES LLC              23855 EDEN ST
6160 CORNERSTONE CT STE 100                290 SARATOGA- LOS GATOS RD             PLAQUEMINE, LA 70764
SAN DIEGO, CA 92121                        LOS GATOS, CA 95030




JMNA PROPERTIES LLC                        JMNA PROPERTIES, LLC                   JMNA PROPERTIES, LLC
ATTN: ROGER F. SHAW, III                   23855 EDEN ST                          ATTN: ROGER F. SHAW, III
2605 EAST LAKESHORE DR.                    PLAQUEMINE, LA 70764                   2605 EAST LAKESHORE DR.
BATON ROUGE, LA 70808                                                             BATON ROUGE, LA 70808




JMP HOLDING CORP.                          JMP TRUCKING INC                       JMR GRAPHICS
ATTN: JOSEPH MARINO                        373 STAPLES ST                         201 CREATIVE DR
160 ESSEX STREET, SUITE 200                FARMINGDALE, NY 11735                  CENTRAL ISLIP, NY 11722
LODI, NJ 07644




JMV MACON PROPERTIES LLC                   JMW GATECO LLC                         JMW GATECO LLC
PO BOX 17529                               20 N PARK PLACE                        CO STEVE LAYMAN
FERNANDINA BEACH, FL 32035                 NEWARK, OH 43055                       20 NORTH PARK PLACE
                                                                                  NEWARK, OH 43055
JN INVESTMENTS LLC     Case 18-12241-CSS     Doc 26 LLCFiled 10/05/18
                                      JN INVESTMENTS,                   PageJN833  of 1739 LLC
                                                                               INVESTMENTS,
CO SUSAN PAULUS                        CO SUSAN PAULUS                      P.O. BOX 61352
P.O. BOX 61352                         P.O. BOX 61352                       FORT MYERS, FL 33906
FORT MYERS, FL 33906                   FORT MYERS, FL 33906




JND PROPERTIES LLC                     JO MAYFIELD                          JO TAYLOR
3333 RICHMOND ROAD, SUITE 150          10201 S. MAIN STREET                 10201 S. MAIN STREET
BEACHWOOD, OH 44122                    HOUSTON, TX 77025                    HOUSTON, TX 77025




JOAN ALCEQUIEZ                         JOAN ALLEN                           JOAN ANDERSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




JOAN BARTOLI                           JOAN CROWELL                         JOAN GORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




JOAN KEMAMA                            JOAN KEVORKIAN                       JOAN KEVORKIAN
10201 S. MAIN STREET                   1207 W FREMONT AVE                   1207 W. FREMONT AVENUE
HOUSTON, TX 77025                      FRESNO, CA 93711                     FRESNO, CA 93711




JOAN LEOGRANDE                         JOAN REED                            JOANMARIE GORMLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




JOANN BALADEZ                          JOANN DELGADILLO                     JOANN ECHEVERRIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




JOANN GILL                             JOANN JODI SPITZER MEADE             JOANN LITTLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 615 NE 7TH AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                    DELRAY BEACH, FL 33483




JOANN MEEHAN                           JOANN NORTHRUP                       JOANN VILARDI
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




JOANNA GOMEZ                           JOANNA LYNCH                         JOANNA PHELPS
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025
JOANNA SAGE            Case 18-12241-CSS
                                      JOANNE Doc
                                             BAYER26      Filed 10/05/18   PageJOANNE
                                                                                834 ofCOTE
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOANNE GREENFIELD                      JOANNE KIRSCHMAN                        JOANNE OLEZESKI
10201 S. MAIN STREET                                                           10201 S. MAIN STREET
HOUSTON, TX 77025                                                              HOUSTON, TX 77025




JOANNE PONNIAH                         JOANNE REIFF                            JOANNI BROWN-LASALDE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOAO BACELLAR                          JOAO DEPINA                             JOAO ROSA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOAQUIN MORALES                        JOAQUIN NOLASCO                         JOAQUIN SALAZAR
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOB LEVINE                             JOB NEWS EMPLOYEE RECRUIT               JOBIN VARGHESE
10201 S. MAIN STREET                   PO BOX 632896                           10201 S. MAIN STREET
HOUSTON, TX 77025                      CINCINNATI, OH 45263-2896               HOUSTON, TX 77025




JOBMATCH LLC DBA APPLICANTPRO          JOCABETH MEDINA                         JOCELYN BOATNER
3688 CAMPUS DR STE 150                 10201 S. MAIN STREET                    10201 S. MAIN STREET
EAGLE MOUNTAIN, UT 84005               HOUSTON, TX 77025                       HOUSTON, TX 77025




JOCELYN GARCIA                         JOCELYN JACOVINO                        JOCELYN PAZ
12324 PEORIA ST                        10201 S. MAIN STREET                    10201 S. MAIN STREET
SUN VALLEY, CA 91352                   HOUSTON, TX 77025                       HOUSTON, TX 77025




JOCELYN PENA                           JOCQUEZ FEARS                           JODI BRANDMIRE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JODI EASLEY                            JODI JONES                              JODI JULSETH
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JODI L BRANDMIRE         Case 18-12241-CSS     Doc 26
                                        JODI ROBERTS       Filed 10/05/18   PageJODI
                                                                                 835   of 1739
                                                                                     ROGERS
411 SHEPPARD CIRCLE 2                   10201 S. MAIN STREET                    10201 S. MAIN STREET
MADISON, MN 56063                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JODIE LYNN BARNARD                      JODIE PARK                              JODY BOUDREAUX
2229 APPLEGROVE ST NW                   1848 GRANITE WAY                        10201 S. MAIN STREET
NORTH CANTON, OH 44720                  ROSEVILLE, CA 95747                     HOUSTON, TX 77025




JODY BRITT                              JODY CORBELL                            JODY DEARMORE
10201 S. MAIN STREET                    7311 S FM 730                           10201 S. MAIN STREET
HOUSTON, TX 77025                       AZLE, TX 76020                          HOUSTON, TX 77025




JODY DUNLAP                             JODY DURAN                              JODY MCDANIEL
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JODY MCMANUS                            JODY MICHELLE HORNER                    JODY ONEAL
10201 S. MAIN STREET                    1071 FAIRFIELD 59                       10201 S. MAIN STREET
HOUSTON, TX 77025                       EUGENE, OR 97402                        HOUSTON, TX 77025




JODY PUTNAM                             JODY PUTNAM                             JODY SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE AMATO VENTURES LP                   JOE AMATO VENTURES, LP                  JOE ANGEROSA
PO BOX 615                              P.O. BOX 615                            10201 S. MAIN STREET
WILKES BARRE, PA 18703                  WILKES BARRE, PA 18703                  HOUSTON, TX 77025




JOE ARDIS                               JOE BALDONADO                           JOE BLUEMKE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE BOES                                JOE BRINKMANN                           JOE BURCIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE BURKE                               JOE BUZ                                 JOE CAMPITELLI
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
JOE CANADA             Case 18-12241-CSS     Doc 26
                                      JOE CANTU          Filed 10/05/18   PageJOE
                                                                               836  of 1739
                                                                                  CERON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE CLULOW                            JOE CRAWFORD                            JOE CROW
10201 S. MAIN STREET                  5030 SW 317TH LANE APT W205             10201 S. MAIN STREET
HOUSTON, TX 77025                     FEDERAL WAY, WA 98023                   HOUSTON, TX 77025




JOE DANE                              JOE DISTEFANO                           JOE DOLLARHIDE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE ECKER                             JOE ECKHART                             JOE FEOLE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE FORBUS                            JOE FORMAN                              JOE FORTE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE FREEMAN                           JOE GARCIA                              JOE GONZALEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE HARRINGTON                        JOE HAUG                                JOE HERMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE HORN                              JOE HUFF                                JOE JOHNSTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE KASSOUF                           JOE KELLY                               JOE KELLY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE KNAUER                            JOE KRAMER                              JOE LACEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JOE LAIR               Case 18-12241-CSS     Doc 26
                                      JOE MANER          Filed 10/05/18   PageJOE
                                                                               837  of 1739
                                                                                  MARTIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE MARTINEZ                          JOE MATEJKA                             JOE MENDEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE MENNELLA                          JOE MIFSUD                              JOE MITCHELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE MOFFETT                           JOE MORANO                              JOE MULLEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE MURILLO                           JOE NEWLAND                             JOE PAVIGLIANTI
39 VILLAGE DR                         10201 S. MAIN STREET                    10201 S. MAIN STREET
CARMEL VALLEY, CA 93924               HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE PEREZ                             JOE PESCE                               JOE QUATRARO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE QUINZIO                           JOE REILLY                              JOE RIDER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE ROMO                              JOE RUPA                                JOE SABINO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE SAGE                              JOE SANTOS                              JOE SHEA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOE SIMMONS                           JOE SONTERRE                            JOE STAUDT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JOE STEWART            Case 18-12241-CSS     Doc 26
                                      JOE TRAYNHAM        Filed 10/05/18   PageJOE
                                                                                838  of 1739
                                                                                   TRAYNHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JOE VALLI                             JOE VERA                                 JOE VOGEL
10201 S. MAIN STREET                  10201 S. MAIN STREET                     845 JAMES AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                        SAINT PAUL, MN 55102-3424




JOE WIEBE                             JOE WILLIAMS                             JOE WINFIELD
11459 COLLINS ST 107                  10201 S. MAIN STREET                     10201 S. MAIN STREET
NORTH HOLLYWOOD, CA 91601             HOUSTON, TX 77025                        HOUSTON, TX 77025




JOE WINGFIELD                         JOE WOOD                                 JOEANN FORD
10201 S. MAIN STREET                  1201 DISCO LOOP RD                       10201 S. MAIN STREET
HOUSTON, TX 77025                     FRIENDSVILLE, TN 37737                   HOUSTON, TX 77025




JOEBEC LLC                            JOEDAN SHOFNER                           JOEL A GONZALEZ
646 S 2ND ST                          10201 S. MAIN STREET                     6816 OLD GLORY LN
MILWAUKEE, WI 53204                   HOUSTON, TX 77025                        OKLAHOMA CITY, OK 73135




JOEL ARAICA                           JOEL B BORRIN                            JOEL BLAIR
10201 S. MAIN STREET                  2519 KINGSLAND COURT                     10201 S. MAIN STREET
HOUSTON, TX 77025                     ATLANTA, GA 30360                        HOUSTON, TX 77025




JOEL BONILLA                          JOEL CASTELLANOS                         JOEL COSTA
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JOEL ECHAVARRIA                       JOEL GIERBOLINI                          JOEL GORDON
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




JOEL GORDON                           JOEL HIRSH                               JOEL JODREY
10201 S. MAIN STREET                  307 VANDERPOOL LN                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77024                        HOUSTON, TX 77025




JOEL LIRIANO                          JOEL LUPO                                JOEL MARTINEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025
JOEL MENDS             Case 18-12241-CSS     Doc 26
                                      JOEL MERRELL       Filed 10/05/18   PageJOEL
                                                                               839MORALES
                                                                                   of 1739
4345 SAVANNAH DR                      10201 S. MAIN STREET                    10201 S. MAIN STREET
ATLANTA, GA 30349                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOEL MUNOZ                            JOEL PASINKOFF                          JOEL PERRY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOEL PIAZZA                           JOEL RICE                               JOEL RICHARDSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOEL ROBINSON                         JOEL ROGERS                             JOEL ROSARIO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOEL S TU DBA CERTIFIED ELECTRICAL    JOEL SHOFEL                             JOEL SILVERMAN
SERVICE                               10201 S. MAIN STREET                    60 EAST LAKE DR APT C
10511 WINDSOR LN B 109                HOUSTON, TX 77025                       BOYNTON BEACH, FL 33436
HOUSTON, TX 77031




JOEL SIUTTO                           JOEL SKIPWORTH                          JOEL SMITH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOEL YARBOROUGH                       JOELE FRANK WILKINSON BRIMMER           JOELENE C ARAMBULA
10201 S. MAIN STREET                  KATCHER                                 533 N 900 WEST
HOUSTON, TX 77025                                                             SALT LAKE CITY, UT 84116




JOELLE ARIGANELLO                     JOELLE BRICKER                          JOEY ALBUS
2777 KATE BOND RD                     10201 S. MAIN STREET                    10201 S. MAIN STREET
MEMPHIS, TN 38133                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOEY ARDOLINO                         JOEY BOND                               JOEY GREEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOEY LLOYD                            JOEY MARTINEZ-CARLSEN                   JOEY SALLEMI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JOEY SILVA             Case 18-12241-CSS     Doc 26
                                      JOEY TAIT           Filed 10/05/18   PageJOEY
                                                                                840TREADWAY
                                                                                    of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    DESOTO COUNTY TAX COLLECTOR
HOUSTON, TX 77025                      HOUSTON, TX 77025                       365 LOSHER STREET SUITE 110
                                                                               HERNANDO, MS 38632




JOEY WILLIAMS                          JOEY WOJCIK                             JOFRAN INC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    ONE JOFRAN WAY
HOUSTON, TX 77025                      HOUSTON, TX 77025                       NORFOLK, MA 02056




JOHANA ZERMENO                         JOHANNA AGUILAR-GALLARDO                JOHANNA BARRAZA
17944 VALERIAN WAY                     10201 S. MAIN STREET                    5138 WATERVIEW MEADOW DR
SAN BERNARDINO, CA 92407               HOUSTON, TX 77025                       RICHMOND, TX 77407




JOHANNA COLLINS                        JOHANNA SEIBER                          JOHANNY FRANCO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHANTZ CAINE                          JOHN A ANATRIELLO                       JOHN A GREENLEAF
10201 S. MAIN STREET                   226 13TH AVE N                          3419 NORTHWEST AVE 113
HOUSTON, TX 77025                      SAINT CLOUD, MN 56303                   BELLINGHAM, WA 98225




JOHN A MONTIJO                         JOHN A SULLIVAN                         JOHN A VILLARREAL
7501 ULMERTON RD APT 2626              DBA MCD FULTON PROPERTIES LLC           7028 HILLWOOD
LARGO, FL 33779                        6618 SPOKANE                            SACHSE, TX 75048
                                       LINCOLNWOOD, IL 60712




JOHN ADAMS                             JOHN AGNELLO                            JOHN ALDEN
700 BARETT WOOD CT                     10201 S. MAIN STREET                    10201 S. MAIN STREET
CARY, NC 27513                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN AND JOANNE PEARSON FAMILY TRUST   JOHN ANDERSON                           JOHN ANTONAZZI
C/O: DAVID W PEARSON, TRUSTEE          10201 S. MAIN STREET                    10201 S. MAIN STREET
1450 HUDSON AVENUE                     HOUSTON, TX 77025                       HOUSTON, TX 77025
ST. HELENA, CA 94574




JOHN ARD                               JOHN ASCIK                              JOHN AUSILIO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN BALLARD                           JOHN BARTON                             JOHN BATTS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JOHN BAXTER              Case 18-12241-CSS     Doc 26
                                        JOHN BEGLEY        Filed 10/05/18   PageJOHN
                                                                                 841BELOW
                                                                                     of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN BENJAMIN SUCCESSOR TRUSTEE         JOHN BERGMARK                           JOHN BERNDT
4813 LAKERIDGE TERRACE WEST             10201 S. MAIN STREET                    10201 S. MAIN STREET
RENO, NV 89509-5854                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN BESHOAR                            JOHN BISSONNETTE                        JOHN BLAKE
1219 W GRANVILLE AVE G                  10201 S. MAIN STREET                    10201 S. MAIN STREET
CHICAGO, IL 60660                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN BLAZ                               JOHN BLOUNT                             JOHN BONDI
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN BOTHE                              JOHN BOUDER                             JOHN BOWERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN BOYD DESIGNS INTL                  JOHN BOYLE                              JOHN BRENSTON
DBA A DIVISION OF KINFINE               10201 S. MAIN STREET                    10201 S. MAIN STREET
13824 YORBA AVE                         HOUSTON, TX 77025                       HOUSTON, TX 77025
CHINO, CA 91710




JOHN BRIDGES                            JOHN BROADT                             JOHN BROOKS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    5934 GALLI LANE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       COLLINSVILLE, IL 62234




JOHN BROWNING                           JOHN BUCHANAN                           JOHN BUCHANAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN BURKE MIT CARO COAST               JOHN BURTON                             JOHN BUZIK
1114 TENNWOOD DR                        10201 S. MAIN STREET                    10201 S. MAIN STREET
WILMINGTON, NC 28411                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN BYRD                               JOHN CAMACHO                            JOHN CAMPBELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
JOHN CAMPBELL            Case 18-12241-CSS     Doc 26
                                        JOHN CANNON        Filed 10/05/18   PageJOHN
                                                                                 842CARLSON
                                                                                     of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN CARNES                             JOHN CARRERAS                           JOHN CARRICK
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN CATALINE                           JOHN CELANI                             JOHN CESPEDES
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN CHAVEZ                             JOHN CHIAPPONE                          JOHN CHRISTIAN KRAUS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN CLARK                              JOHN COLE                               JOHN COLE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN CONCEPCION                         JOHN CONDERY                            JOHN COOPER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN COST                               JOHN COX                                JOHN CRAIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN CRATER                             JOHN CUCCARO                            JOHN CUNNINGHAM
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN CUPOLO                             JOHN CURRY                              JOHN DAVEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN DAVID BESHOAR JR                   JOHN DAVIS                              JOHN DEBIAS
1219 W GRANVILLE AVE G                  10201 S. MAIN STREET                    10201 S. MAIN STREET
CHICAGO, IL 60660                       HOUSTON, TX 77025                       HOUSTON, TX 77025
JOHN DEGENNARO          Case 18-12241-CSS     Doc 26
                                       JOHN DELTATTO       Filed 10/05/18   PageJOHN
                                                                                 843DEMMA
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JOHN DENG                              JOHN DORAN                               JOHN DORRIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     5435 HUNNINGTON MILL DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                        FLOWERY BRANCH, GA 30542




JOHN DOWD JR                           JOHN DOWD JR                             JOHN DOWNS
48 S SHORE RD                          DBA JAYBEAU JONES                        10201 S. MAIN STREET
STURBRIDGE, MA 01566                   48 S SHORE RD                            HOUSTON, TX 77025
                                       STURBRIDGE, MA 01566




JOHN DREHMANN JR                       JOHN DRIVER                              JOHN DYER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JOHN ECKSTEIN                          JOHN ERIC KING                           JOHN FALLON
10201 S. MAIN STREET                   116 WOLF RD                              10201 S. MAIN STREET
HOUSTON, TX 77025                      ALBANY, NY 12205                         HOUSTON, TX 77025




JOHN FALOR JR                          JOHN FAZZINO                             JOHN FELL
3832 HARVEST RIDGE                     1402 GLADE ST                            10201 S. MAIN STREET
CLARKSVILLE, TN 37040                  COLLEGE STATION, TX 77840                HOUSTON, TX 77025




JOHN FERGUSON                          JOHN FISHER                              JOHN FLEMING
10201 S. MAIN STREET                   7135 44TH AVE SW                         5605 CLOVER LEAF RUN
HOUSTON, TX 77025                      SEATTLE, WA 98136                        BRADENTON, FL 34211




JOHN FLORES                            JOHN FRANK                               JOHN FREDERICK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     198 LYNNBROOK DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                        EUGENE, OR 97404




JOHN FREEMAN                           JOHN FRENCH                              JOHN GAIR
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




JOHN GALLIERA                          JOHN GANNON INC                          JOHN GARITTA
10201 S. MAIN STREET                   525 PARK GROVE                           10201 S. MAIN STREET
HOUSTON, TX 77025                      KATY, TX 77450                           HOUSTON, TX 77025
JOHN GAROUTTE          Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      JOHN GAVINOVICH                   PageJOHN
                                                                             844GEIMER
                                                                                 of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN GIACOBBE                         JOHN GIANNINI                         JOHN GILLIAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN GILMORE                          JOHN GILVA                            JOHN GLABE
10201 S. MAIN STREET                  7482 N BANTA RD                       10201 S. MAIN STREET
HOUSTON, TX 77025                     BARGERSVILLE, IN 46106                HOUSTON, TX 77025




JOHN GLAESER                          JOHN GLEASON PLUMBING AND SEWER       JOHN GODWIN
10201 S. MAIN STREET                  SERVICE                               10201 S. MAIN STREET
HOUSTON, TX 77025                     27 PAMARON WAY STE H                  HOUSTON, TX 77025
                                      NOVATO, CA 94949




JOHN GOERGEN                          JOHN GOODWIN                          JOHN GRAHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN GREEN                            JOHN HAITZ                            JOHN HALL
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN HALL                             JOHN HANCOCK LIFE INSURANCE           JOHN HANCOCK
10201 S. MAIN STREET                  COMPANY; C/O CRUMP INS SERV INC       PO BOX 7247-0214
HOUSTON, TX 77025                     4135 NORTH FRONT                      PHILADELPHIA, PA 19170-0214
                                      ST. HARRISBURG, PA 17110




JOHN HARRELL                          JOHN HARRIS                           JOHN HAWK
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN HAYDEN                           JOHN HEFLIN                           JOHN HERNANDEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN HERSHEY                          JOHN HICKS                            JOHN HICKS
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025
JOHN HIGGINS             Case 18-12241-CSS     Doc
                                        JOHN HILL   26 LLCFiled 10/05/18
                                                  GROUP                    PageJOHN
                                                                                845HILL
                                                                                    of GROUP
                                                                                        1739 LLC
10201 S. MAIN STREET                     C/O JOHN HILL                         C/O JOHN HILL
HOUSTON, TX 77025                        315 BRIEF RD WEST                     7920 NORMAN CT
                                         INDIAN TRAIL, NC 28079                DENVER, NC 28037




JOHN HILL GROUP                          JOHN HILL GROUP                       JOHN HOOD
C/O JOHN HILL                            C/O JOHN HILL                         10201 S. MAIN STREET
315 BRIEF RD WEST                        7920 NORMAN CT                        HOUSTON, TX 77025
INDIAN TRAIL, NC 28079                   DENVER, NC 28037




JOHN HOPKINS                             JOHN HUCKS                            JOHN HUERTA
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN HULL                                JOHN IELLO                            JOHN J ANTON
10201 S. MAIN STREET                     10201 S. MAIN STREET                  47142 FRAISER FIR CIRCLE
HOUSTON, TX 77025                        HOUSTON, TX 77025                     PARKER, CO 80138




JOHN J BROSES III                        JOHN J VIGLIANESE                     JOHN JACKSON
41832 POND VIEW                          27 MIAMI RD                           10201 S. MAIN STREET
STERLING HEIGHTS, MI 48314               NORRISTOWN, PA 19403                  HOUSTON, TX 77025




JOHN JACKSON                             JOHN JAMES BROSES III                 JOHN JENKINS
10201 S. MAIN STREET                     41832 POND VIEW                       10201 S. MAIN STREET
HOUSTON, TX 77025                        STERLING HEIGHTS, MI 48314            HOUSTON, TX 77025




JOHN JENKINS                             JOHN JOHNSON                          JOHN JONES
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN KAIN                                JOHN KEEFER                           JOHN KHASHAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN KILKENNY                            JOHN KLEIN                            JOHN KLOTZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHN KNAPP                               JOHN KNUST                            JOHN KORIS
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025
JOHN KUNKEL                Case 18-12241-CSS     Doc 26
                                          JOHN KYLE          Filed 10/05/18   PageJOHN
                                                                                   846LACANFORA
                                                                                       of 1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN LAVARINE                             JOHN LAWSON                             JOHN LEFEVRE
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN LEICHTWEIS                           JOHN LENGYEL                            JOHN LICHTENBERG
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN LINDQUIST                            JOHN LISTER                             JOHN LOOMIS
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN LOWING                               JOHN LOZELL                             JOHN LULLO
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN LUYT                                 JOHN LY                                 JOHN LYLE & NANCY LYLE
4215 GLEN GARDEN DR                       10201 S. MAIN STREET                    118 N PETERS RD 247
ARLINGTON, TX 76016-4044                  HOUSTON, TX 77025                       KNOXVILLE, TN 37923




JOHN LYLE & NANCY LYLE                    JOHN LYNCH                              JOHN MAC PHEE
118 N. PETERS ROAD, #247                  10201 S. MAIN STREET                    10201 S. MAIN STREET
KNOXVILLE, TN 37923                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN MADLANGBAYAN                         JOHN MAHONEY                            JOHN MAIN
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN MANASSEH                             JOHN MANIBUSAN                          JOHN MARSHALL
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN MARTIGNOLI                           JOHN MARTIN                             JOHN MARTIN
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025
JOHN MASIULEWICZ       Case 18-12241-CSS    Doc 26
                                      JOHN MCARDLE       Filed 10/05/18   PageJOHN
                                                                               847MCCAIN
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN MCCARVER                         JOHN MCCLAIN                            JOHN MCGRIFF
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN MCGUIRE                          JOHN MCLEOD                             JOHN MEEKS
10201 S. MAIN STREET                  2125 MANOR STATION WAY                  10201 S. MAIN STREET
HOUSTON, TX 77025                     MANTECA, CA 95336                       HOUSTON, TX 77025




JOHN MESSERSCHMITT                    JOHN MEYER                              JOHN MIAL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN MILLER                           JOHN MILLER                             JOHN MITCHELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN MOLINA                           JOHN MONTAGUE                           JOHN MOORE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN MOORE                            JOHN MOORE                              JOHN MORRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN MORRIS                           JOHN MURPHY                             JOHN NELSON DE GARMO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    564 HIDDEN CREEK
HOUSTON, TX 77025                     HOUSTON, TX 77025                       MONTICELLO, GA 31064




JOHN NEMERGUT                         JOHN NEWMAN                             JOHN NEWTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN NGUYEN                           JOHN NOEL                               JOHN NOEL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JOHN OBEREMPT            Case   18-12241-CSS     Doc 26
                                          JOHN OBRIEN        Filed 10/05/18   PageJOHN
                                                                                   848OCONNELL
                                                                                       of 1739
9111 LAKES AT 610 APT 1612                10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77054                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN OCONNOR                              JOHN ODONNELL                           JOHN OLIVER
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN ONEIL                                JOHN PAGNAM                             JOHN PALERMO
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN PALMER                               JOHN PANAPOLIS                          JOHN PARPHENIUK
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN PAUL SERRANO                         JOHN PAVLIK                             JOHN PECORARO
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN PELLETIER                            JOHN PEREZ                              JOHN PERGOLIZZI
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN PERRETTA                             JOHN PESCH                              JOHN PETERSON
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN POSTORINO                            JOHN PROWEN                             JOHN PURICK
6 WINSOME PATH CIRCLE                     10201 S. MAIN STREET                    10201 S. MAIN STREET
THE WOODLANDS, TX 77382                   HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN PUTTRE                               JOHN QUANSTROM                          JOHN QUINN
10201 S. MAIN STREET                      28584 MONROE ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                         WAUCONDA, IL 60084                      HOUSTON, TX 77025




JOHN R SMITH                              JOHN RAMIREZ                            JOHN RAMSEY-ASSESSOR & COLLECTOR
3409 W ROGERS AVE                         10201 S. MAIN STREET                    OF TAXES
TAMPA, FL 33611                           HOUSTON, TX 77025                       P.O. BOX 2107
                                                                                  SHERMAN, TX 75091-2107
JOHN RANDOLPH          Case 18-12241-CSS     Doc 26
                                      JOHN RANDOLPH      Filed 10/05/18   PageJOHN
                                                                               849RANSOM
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN REGAN                            JOHN REGOTTI                            JOHN REYNA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN RILAND                           JOHN RILEY                              JOHN RIPPLINGER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN ROCCIA                           JOHN RODRIGUES                          JOHN RODRIGUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN ROHE                             JOHN RUPERT                             JOHN RUSSELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN RUTH                             JOHN RUVALCABA                          JOHN RYAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN RYS                              JOHN S FRAZIER                          JOHN SANDERSON
10201 S. MAIN STREET                  3218 WINDY ROYAL DR                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77045                       HOUSTON, TX 77025




JOHN SANGALANG                        JOHN SCALZO                             JOHN SCANDALIS
68-09 174 ST                          10201 S. MAIN STREET                    10201 S. MAIN STREET
FRESH MEADOWS, NY 11365               HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN SCHNEIDER                        JOHN SCHROEDER                          JOHN SCHULTZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN SCOTT                            JOHN SERAFIN                            JOHN SERNA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    12957 RAMONA AVE APT 67
HOUSTON, TX 77025                     HOUSTON, TX 77025                       CHINO, CA 91006
JOHN SHERIFF            Case 18-12241-CSS     Doc 26
                                       JOHN SHERRY        Filed 10/05/18      PageJOHN
                                                                                   850SHERWOOD
                                                                                       of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




JOHN SHIREMAN                          JOHN SIMPSON                               JOHN SITARAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




JOHN SLANOVEC                          JOHN SLAUGHTER                             JOHN SLOAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




JOHN SMITH                             JOHN SMITH                                 JOHN SOLIS JR
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




JOHN SOSNOWSKI                         JOHN SPEER                                 JOHN SPILLANE
10201 S. MAIN STREET                   C/O AHLANDER INJURY LAW                    10201 S. MAIN STREET
HOUSTON, TX 77025                      ATTN: M. ERIK AHLANDER                     HOUSTON, TX 77025
                                       5532 S. FORT APACHE ROAD, SUITE 110
                                       LAS VEGAS, NV 89148



JOHN SPLANE                            JOHN STEINACHER                            JOHN STOPPLEWORTH
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




JOHN STOVALL                           JOHN STRICKLAND                            JOHN SUFFREDIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




JOHN SWIFT                             JOHN SWOFFORD                              JOHN T. ATKINSON TREASURER
10201 S. MAIN STREET                   10201 S. MAIN STREET                       CITY HALL, BUILDING 1
HOUSTON, TX 77025                      HOUSTON, TX 77025                          2401 COURTHOUSE DRIVE
                                                                                  VIRGINIA BEACH, VA 23456-9018




JOHN T. ATKINSON, TREASURER            JOHN T. EVANS COMPANY, INC.                JOHN TERRY
CITY HALL, BUILDING 1                  SUZANNE ESTRANDA                           10201 S. MAIN STREET
2401 COURTHOUSE DRIVE                  8350 N CENTRAL EXPRESSWAY, SUITE 300       HOUSTON, TX 77025
VIRGINIA BEACH, VA 23456-9018          DALLAS, TX 75206




JOHN TEX                               JOHN TEX                                   JOHN TREGEMBO
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025
JOHN TRIPLETT          Case 18-12241-CSS     Doc 26
                                      JOHN VALADEZ       Filed 10/05/18   PageJOHN
                                                                               851VAN
                                                                                   of VALKENBURG
                                                                                      1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN VARNER                           JOHN VOGEL                              JOHN VOZEL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN W VALLOW                         JOHN W WELDON III                       JOHN W. JENKINS
4186 OLD FREEWILL RD                  7310 KESTREL TRAIL                      DISTRICT MANAGER-ST LOUIS
CLEVELAND, TN 37312                   CHARLESTON, SC 29410                    624 BOSCOBEL STREET
                                                                              NASHVILLE, TN 37206




JOHN WALDON                           JOHN WALDON                             JOHN WALKER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN WEIDLER                          JOHN WEIDLER                            JOHN WEINSTEIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    ROOM 108 COURTHOUSE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       436 GRANT ST
                                                                              PITTSBURGH, PA 15219




JOHN WHITE                            JOHN WHOLEY                             JOHN WILHITE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN WILLIAMS                         JOHN WISE                               JOHN WOJNAROWSKI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHN YOCUM                            JOHN YOUNG                              JOHN ZAFRA
10201 S. MAIN STREET                  682 YOUNG WAY                           10201 S. MAIN STREET
HOUSTON, TX 77025                     ROSEVILLE, CA 95678                     HOUSTON, TX 77025




JOHN ZAHARRIS                         JOHN ZWETOLITZ                          JOHNAE HARVEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOHNATHAN CHRISTENSEN                 JOHNATHAN DAVIS                         JOHNATHAN FLORES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JOHNATHAN LYLE           Case 18-12241-CSS    DocLYNCH
                                        JOHNATHAN 26 Filed 10/05/18   PageJOHNATHAN
                                                                           852 of 1739
                                                                                    MCLELLAND
20717 BELLERIVE DR                      10201 S. MAIN STREET              10201 S. MAIN STREET
PFLUGERVILLE, TX 78660                  HOUSTON, TX 77025                 HOUSTON, TX 77025




JOHNATHAN ROBERTS                       JOHNATHAN ROBINSON                JOHNATHAN SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




JOHNATHAN WHITFIELD                     JOHNATHAN WILDER                  JOHNATHAN WOODS
3701 LUELLA BLVD APT 1701               10201 S. MAIN STREET              10201 S. MAIN STREET
LA PORTE, TX 77571                      HOUSTON, TX 77025                 HOUSTON, TX 77025




JOHNATHEN BARATTA                       JOHNATHON ALVIAR                  JOHNATHON ROBERTS
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




JOHNATHON SLUPIK                        JOHN-GREGG PRESSLEY               JOHNI KIMBERLIN
1918 34TH ST                            10201 S. MAIN STREET              10201 S. MAIN STREET
KENOSHA, WI 53140                       HOUSTON, TX 77025                 HOUSTON, TX 77025




JOHNIE ESCALANTE                        JOHNIE L WILBURN                  JOHNNELL JACKSON
10201 S. MAIN STREET                    9924 ULMERTON RD LOT A 3          10201 S. MAIN STREET
HOUSTON, TX 77025                       LARGO, FL 33771                   HOUSTON, TX 77025




JOHNNIE SANCHEZ                         JOHNNY AUGUSTIN                   JOHNNY AUGUSTIN
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




JOHNNY AUGUSTIN                         JOHNNY BROWN                      JOHNNY BUBERT
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




JOHNNY DAVIS                            JOHNNY GILES                      JOHNNY HANNA
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




JOHNNY HUYNH                            JOHNNY JONES                      JOHNNY KIM
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025
JOHNNY LEON            Case 18-12241-CSS
                                      JOHNNYDoc 26 Filed 10/05/18
                                            MCWILLIAMS                  PageJOHNNY
                                                                             853 ofMOON
                                                                                    1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHNNY MORENO                         JOHNNY MUSICK                         JOHNNY NGUYEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHNNY ROCCHIO                        JOHNNY SHERMAN                        JOHNNY THACKER
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHNNY THE MOVER                      JOHNNY TRLICA                         JOHNNY VALENCIA
1687 KALAUOKALANI WAY STE A           10201 S. MAIN STREET                  14022 DANTON FALLS DR
HONOLULU, HI 96814                    HOUSTON, TX 77025                     HOUSTON, TX 77041




JOHNNY WALKER                         JOHNNY WRIGHT                         JOHNNY YOUNG
4 COTTON ST                           10201 S. MAIN STREET                  10201 S. MAIN STREET
GREENVILLE, SC 29609                  HOUSTON, TX 77025                     HOUSTON, TX 77025




JOHNS BROTHERS SECURITY, INC.         JOHNSON BATTERY CO INC                JOHNSON CITY POWER BOARD
1384 INGLESIDE RD - 2ND FL            6487 HWY 19 S                         PO BOX 2058
NORFOLK, VA 23502                     ZEBULON, GA 30295                     JOHNSON CITY, TN 37605-2058




JOHNSON CITY UTILITY SYSTEM           JOHNSON CITY UTILITY SYSTEM           JOHNSON CONTROLS FIRE PROTECTION LP
601 E MAIN ST                         PO BOX 2386                           DEPT CH 10320
PO BOX 2150                           JOHNSON CITY, TN 37605-2386           PALATINE, IL 60055-0320
JOHNSON CITY, TN 37605




JOHNSON CONTROLS INC                  JOHNSON COUNTY TAX ASSESSOR-          JOHNSON COUNTY TREASURER
5757 N GREEN BAY AVE                  COLLECTOR                             ATTN: PROPERTY TAX DEPT.
MILWAUKEE, WI 53209                   PO BOX 75                             PO BOX 6095
                                      CLEBURNE, TX 76033-0075               INDIANAPOLIS, IN 46206-6095




JOHNSON COUNTY TREASURER              JOHNSON COUNTY TREASURER(TAXES)       JOHNSON COUNTY WASTEWATER
PO BOX 2902                           ATTN: PROPERTY TAX DEPT.              111 S CHERRY ST
SHAWNEE MISSION, KS 66201-1302        PO BOX 6095                           OLATHE, KS 66061
                                      INDIANAPOLIS, IN 46206-6095




JOHNSON COUNTY WASTEWATER             JOHNSON EQUIPMENT CO                  JOHNSON HEALTH TECH
P.O. BOX 219948                       PO BOX 802009                         1600 LAND MARK DRIVE
KANSAS CITY, MO 64121-9948            DALLAS, TX 75380                      COTTAGE GROVE, WI 53527
JOHNSON INTHAPATHA       Case 18-12241-CSS    Doc
                                        JOHNSON LIFT26   Filed 10/05/18
                                                    HYSTER                PageJOHNSON
                                                                               854 of LUKUDU
                                                                                       1739
10201 S. MAIN STREET                     PO BOX 748193                        10201 S. MAIN STREET
HOUSTON, TX 77025                        LOS ANGELES, CA 90074-8193           HOUSTON, TX 77025




JOHNSON MARK LLC                         JOHNSON STATEWIDE CAULKING           JOHNSON STEPHENS CONSULTING INC
PO BOX 7811                              410 S PERRY LN STE 4                 100 HARTSFIELD CENTRE PKWY SUITE 520
SANDY, UT 84091-7811                     TEMPE, AZ 85281                      ATLANTA, GA 30354




JOHNSON STRACCI & IVANCEVICH LLP         JOHNSON, CHRISTOPHER                 JOHNSS GROUNDS MAINTENANCE INC.
250 EAST 90TH DRIVE                      6200 GREENS RD APT 426               6165 36TH TERRACE NORTH
MERRILLVILLE, IN 46410                   HUMBLE, TX 77396-1984                SAINT PETERSBURG, FL 33710




JOHNSTON ASSOCIATES LLC                  JOHNSTON COUNTY TAX COLLECTOR        JOHNSTON PROPERTY MANAGEMENT
617 1/2 HOOSICK RD                       ATTN: PROPERTY TAX DEPT.             350 N. EL CAMINO REAL, A
TROY, NY 12180                           PO BOX 63037                         ENCINITAS, CA 92024
                                         CHARLOTTE, NC 28263-3037




JOHNSTONS YARD SVC                       JOI FALANA                           JOIE PEREZ
37122 N THRILL HILL RD                   10201 S. MAIN STREET                 10201 S. MAIN STREET
EUSTIS, FL 32736                         HOUSTON, TX 77025                    HOUSTON, TX 77025




JOINT WATER & SEWER COMMISSION           JOLEE RUSSELL                        JOMO PAUL
P.O. BOX 537024                          10201 S. MAIN STREET                 10201 S. MAIN STREET
ATLANTA, GA 30353                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JON ABEL                                 JON BELL                             JON BRISTOW
10201 S. MAIN STREET                     10201 S. MAIN STREET                 1366 TURK ST. 1C
HOUSTON, TX 77025                        HOUSTON, TX 77025                    SAN FRANCISCO, CA 94115




JON BROWN                                JON BUSTAMANTE                       JON BUTLER
9252 N CR O                              10201 S. MAIN STREET                 10201 S. MAIN STREET
LIZTON, IN 46149                         HOUSTON, TX 77025                    HOUSTON, TX 77025




JON CAIN                                 JON CARTER                           JON CHAPMAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




JON CLARK                                JON CLINE                            JON COTE
10201 S. MAIN STREET                                                          10201 S. MAIN STREET
HOUSTON, TX 77025                                                             HOUSTON, TX 77025
JON CROSBY                Case 18-12241-CSS     Doc 26
                                         JON CROSS           Filed 10/05/18   PageJON
                                                                                   855  of 1739
                                                                                      GOODMAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JON GREEN                                JON HARRIS                               JON HARRIS
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JON HASTINGS                             JON HENDERSON                            JON HEYLIGER
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JON HOWARD                               JON HOWERTON                             JON JOHNSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JON JOURDAN                              JON KANTALIS                             JON KANTALIS
607 EMILY LANE APT 7102                  10529 BEINHORN RD                        8713 LUPTON LANE
PIEDMONT, SC 29673                       HOUSTON, TX 77024                        HOUSTON, TX 77055




JON KELLER                               JON KING                                 JON LEFEBVRE
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JON LIESENFELD                           JON M AMELL                              JON MACKNIGHT
10201 S. MAIN STREET                     3170 MCNAULL DR                          10201 S. MAIN STREET
HOUSTON, TX 77025                        EUGENE, OR 97405                         HOUSTON, TX 77025




JON MEAD                                 JON MORRISSEY                            JON NOTICE
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JON PETERSON                             JON PINK                                 JON ROBERTSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




JON SANTOS                               JON SIDER                                JON SMARR
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
JON WOODMAN             Case 18-12241-CSS     Doc 26
                                       JONAH FREE         Filed 10/05/18   PageJONAH
                                                                                856 KORESKI
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JONAS MERETSKY-RUSTIQUE INC            JONAS MOISE                             JONATHAN AGIN
114 RAILSIDE RD                        10201 S. MAIN STREET                    10201 S. MAIN STREET
TORONTO, ON M3A 1A3                    HOUSTON, TX 77025                       HOUSTON, TX 77025
CANADA




JONATHAN AGUILAR                       JONATHAN ALAN LANTROOP                  JONATHAN ALLEN
10201 S. MAIN STREET                   DBA LANTROOPS DELIVERY LLC              10201 S. MAIN STREET
HOUSTON, TX 77025                      2031 PATRIOT RIDGE RD                   HOUSTON, TX 77025
                                       JACKSONVILLE, FL 32221




JONATHAN ALMS                          JONATHAN ALVAREZ                        JONATHAN ANDERSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JONATHAN ANDRON/HALCYON PLACE          JONATHAN ATWARD WESLEY                  JONATHAN BALATAY
PO BOX 1059                            6721 STONEVIEW AVE                      10201 S. MAIN STREET
LAFAYETTE, CA 94549                    BAKER, LA 70714                         HOUSTON, TX 77025




JONATHAN BALL                          JONATHAN BARAHONA                       JONATHAN BASTA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JONATHAN BRADFORD                      JONATHAN BROWN                          JONATHAN BULLOCK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JONATHAN BURGOS                        JONATHAN BURK                           JONATHAN BURNS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JONATHAN CAJAS                         JONATHAN CALLAHAN                       JONATHAN CAMACHO
512 CRADDOCK AVE 2301                  10201 S. MAIN STREET                    10201 S. MAIN STREET
SAN MARCOS, TX 78666                   HOUSTON, TX 77025                       HOUSTON, TX 77025




JONATHAN CARLSON                       JONATHAN CASTILLO                       JONATHAN CHANNELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JONATHAN CHANNELL      Case 18-12241-CSS    Doc
                                      JONATHAN   26 Filed 10/05/18
                                               CHUKWU                 PageJONATHAN
                                                                           857 of 1739
                                                                                   CLARK
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JONATHAN CLINE                        JONATHAN CORDOBA                    JONATHAN COURINGTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JONATHAN CURSEY                       JONATHAN D LINEBERRY                JONATHAN DAVISS
10201 S. MAIN STREET                                                      10201 S. MAIN STREET
HOUSTON, TX 77025                                                         HOUSTON, TX 77025




JONATHAN DE LEON                      JONATHAN DESANCTIS                  JONATHAN DIAS
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JONATHAN DOBBERSTEIN                  JONATHAN DOSHIN                     JONATHAN DOSHIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JONATHAN DWYER                        JONATHAN E. HOCHMAN                 JONATHAN FEINBERG
10201 S. MAIN STREET                  JE HOCHMAN & ASSOCIATES LLC         10201 S. MAIN STREET
HOUSTON, TX 77025                     171 STILL RD                        HOUSTON, TX 77025
                                      W HARTFORD, CT 06117




JONATHAN FELLOWS                      JONATHAN FERRIS                     JONATHAN FLORES
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JONATHAN FORRESTER                    JONATHAN GAURA                      JONATHAN GEBB
10201 S. MAIN STREET                  C/O DIXON LAW OFFICE                630 LAMBS CREEK RD
HOUSTON, TX 77025                     ATTN: G. GRANT DIXON                BREVARD, NC 28712
                                      1415 WEST 55TH ST., SUITE 101
                                      LA GRANGE, IL 60525



JONATHAN GELL                         JONATHAN GENTLEMAN                  JONATHAN GODAIR
10201 S. MAIN STREET                  10201 S. MAIN STREET                324 HYDRANGEA CIR NW
HOUSTON, TX 77025                     HOUSTON, TX 77025                   CONCORD, NC 28027




JONATHAN GONZALES                     JONATHAN GRAHAM                     JONATHAN GRAVES
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025
JONATHAN H BOGGS           Case 18-12241-CSS    Doc
                                          JONATHAN   26 Filed 10/05/18
                                                   HAMMOND                   PageJONATHAN
                                                                                  858 of 1739
                                                                                          HEIER
2721 CHEYENNE WAY                         10201 S. MAIN STREET                   10201 S. MAIN STREET
NORMAN, OK 73071                          HOUSTON, TX 77025                      HOUSTON, TX 77025




JONATHAN HERAZO                           JONATHAN HERRERA                       JONATHAN HORTON
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




JONATHAN JONES                            JONATHAN JONTRY                        JONATHAN KELLY
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




JONATHAN KELLY                            JONATHAN KERSHNER                      JONATHAN KLINE
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




JONATHAN KOKESH                           JONATHAN L HASTINGS                    JONATHAN L KOKESH
205 34TH STREET 1506                      6650 N MAROA 139
VIRGINIA BEACH, VA 23451                  FRESNO, CA 93704




JONATHAN L SIDER                          JONATHAN LADINO                        JONATHAN LETOURNEAU
2322 BRANARD ST APT 2104                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77098                         HOUSTON, TX 77025                      HOUSTON, TX 77025




JONATHAN LEVIN                            JONATHAN LEWIS                         JONATHAN LINDEE
10201 S. MAIN STREET                      11626 MILLBANK LN                      11614 CARVEL LN
HOUSTON, TX 77025                         CINCINNATI, OH 45249                   HOUSTON, TX 77072




JONATHAN LINTON                           JONATHAN M HANUS                       JONATHAN MARANGO
10201 S. MAIN STREET                      C/O NATIONAL SHOPPING PLAZAS INC       10201 S. MAIN STREET
HOUSTON, TX 77025                         200 WEST MADISON ST STE 4200           HOUSTON, TX 77025
                                          CHICAGO, IL 60606




JONATHAN MARTINEZ                         JONATHAN MARTINEZ-CARDE                JONATHAN MAXWELL
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




JONATHAN MCCRAY                           JONATHAN MCDANIEL                      JONATHAN MEAD
16269 EAST BELLBROOK ST                   10201 S. MAIN STREET                   4231 E END ST
COVINA, CA 91722                          HOUSTON, TX 77025                      CHARLOTTE, NC 28208
JONATHAN MERLO         Case 18-12241-CSS    Doc
                                      JONATHAN   26 Filed 10/05/18
                                               MORTENSEN             PageJONATHAN
                                                                          859 of 1739
                                                                                  MURRY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




JONATHAN NGUYEN                       JONATHAN OBRIEN                    JONATHAN ONTIVEROS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




JONATHAN ORMONDROYD                   JONATHAN ORTIZ                     JONATHAN OTT
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




JONATHAN PALMER                       JONATHAN PARKER                    JONATHAN PINTAR
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




JONATHAN POTASH                       JONATHAN PURCHASE                  JONATHAN PURRAZZO
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




JONATHAN RIVERS                       JONATHAN ROCK                      JONATHAN ROSS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




JONATHAN SANDERS                      JONATHAN SETZER                    JONATHAN SIMMONS
10201 S. MAIN STREET                  14193 HIGHWAY 55 W                 10201 S. MAIN STREET
HOUSTON, TX 77025                     BLACKSBURG, SC 29702               HOUSTON, TX 77025




JONATHAN SOLORZANO                    JONATHAN STORK                     JONATHAN TAYLOR
10201 S. MAIN STREET                  11318 ENGLISH ROSE TRAIL           10201 S. MAIN STREET
HOUSTON, TX 77025                     MISSOURI CITY, TX 77459            HOUSTON, TX 77025




JONATHAN TELLEZ                       JONATHAN THOMPSON                  JONATHAN THORNBURG
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




JONATHAN TORRES                       JONATHAN TURNER                    JONATHAN VALDECANAS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025
JONATHAN VANCE           Case 18-12241-CSS    Doc
                                        JONATHAN   26 Filed 10/05/18
                                                 VELASQUEZ                    PageJONATHAN
                                                                                   860 of 1739
                                                                                           VISALDEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




JONATHAN WALTIERE                       JONATHAN WHITE                            JONATHAN WHITERS
10201 S. MAIN STREET                    45 NORTH SHORE CIRCLE                     10201 S. MAIN STREET
HOUSTON, TX 77025                       WACO, TX 76708                            HOUSTON, TX 77025




JONATHAN WILLIAMS                       JONATHAN WILLIAMS                         JONATHAN WILLIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




JONATHAN WISE                           JONATHAN YOUNG                            JONATHON KRYSA
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




JONATHON OBEREMPT                       JONATHON SKALMUSKY                        JONATHON STOKMAN
9111 LAKES AT 610 1612                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77054                       HOUSTON, TX 77025                         HOUSTON, TX 77025




JONATHON TOMLINSON                      JONATHON WEBB                             JONDY CHEMICALS INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                      4432 W HWY 80
HOUSTON, TX 77025                       HOUSTON, TX 77025                         SOMERSET, KY 42503




JONDY CHEMICALS INC                     JONEIGH POLLARD                           JONES & BEARDSLEY, P.C.
ULTRA SHIELD                            10201 S. MAIN STREET                      ATTN: MARK A. JONES, ESQ.
PO BOC 3230                             HOUSTON, TX 77025                         10000 STOCKDALE HIGHWAY, SUITE 350
SOMERSET, KY 42564                                                                BAKERSFIELD, CA 93311




JONES & FULLER REPORTING INC            JONES ADVERTISING INC                     JONES D TAYLOR
10 HIGH ST STE 902                      603 STEWART ST STE 600                    4569 LACLEDE AVE 105
BOSTON, MA 02110                        SEATTLE, WA 98101                         SAINT LOUIS, MO 63108




JONES FUSSELL, L.L.P.                   JONES LANG LASALLE AMERICAS, INC.         JONES LANG LASALLE AMERICAS, INC.
ATTN: PAUL J. MAYRONNE, PARTNER         ATTN: PRESIDENT & CEO, RETAIL             ATTN: PRESIDENT AND CEO, RETAIL
P.O. BOX 1810                           3344 PEACHTREE ROAD, SUITE 1200           3344 PEACHTREE ROAD, SUITE 1100
COVINGTON, LA 70434                     ATLANTA, GA 30326                         ATLANTA, GA 30326




JONES LANG LASALLE AMERICAS, INC.       JONES LANG LASALLE AMERICAS, INC.         JONES LANG LASALLE INCOME PROPERTY
JOVIAN BERNHARD, PMP                    TIFFANY COLLINS, ASSISTANT PROPERTY       TRUST
3001 DOUGLAS BOULEVARD, SUITE 330       MGR                                       333 W WACKER DR STE 2300
ROSEVILLE, CA 95661-3853                3132 E. CAMELBACK ROAD, SUITE 400         CHICAGO, IL 60606
                                        SCOTTSDALE, AZ 85017
JONES LANG LASALLE      Case 18-12241-CSS     DocLASALLE
                                       JONES LANG   26 Filed     10/05/18      PageJONES
                                                                                    861 LANG
                                                                                         of 1739
                                                                                             LASALLE
13550 SW 120TH STREET, SUITE 502       200 EAST RANDOLPH DRIVE                     2233 N. ONTARIO STREET, STE 150
MIAMI, FL 33186                        CHICAGO, IL 60601                           ATTN: COLLEEN CLARRY
                                                                                   BURBANK, CA 91504




JONES LANG LASALLE                     JONES LANG LASALLE                          JONES LANG LASALLE
ATTN: LAURA GRIFFIN                    ATTN: SARA POLLARD                          ATTN: SHANNON FINAMORE
4201 CONGRESS STREET, SUITE 300        655 REDWOOD HIGHWAY, SUITE 177              260 FORBES AVENUE, SUITE 1200
CHARLOTTE, NC 28209                    MILL VALLEY, CA 94941                       PITTSBURGH, PA 15222




JONES LANG LASALLE                     JONES LANG LASALLE                          JONES LANG LASALLE
ATTN: SHARON GUREWITZ                  ATTN: SHELLY REININGA                       ATTN: TERRI HENRY
655 REDWOOD HIGHWAY, SUITE 177         655 REDWOOD HIGHWAY, SUITE 177              3001 DOUGLAS BLVD., SUITE 330
MILL VALLEY, CA 94941                  MILL VALLEY, CA 94941                       ROSEVILLE, CA 95661




JONES LANG LASALLE                     JONES, TAKARA                               JONESBORO SUN
SHARON HALTON                          5800 W ADAMS ST                             CO PAXTON MEDIA GROUP
655 REDWOOD HIGHWAY, STE 177           CHICAGO, IL 60644-4660                      PO BOX 1200
MILL VALLEY, CA 94941                                                              PADUCAH, KY 42002




JONESBORO SUN                          JONN COSTANTINO                             JONNIE RAE STOCK-LUTH
PO BOX 1610                            10201 S. MAIN STREET                        3001 NW VESPER ST
PADUCAH, KY 42002                      HOUSTON, TX 77025                           BLUE SPRINGS, MO 64015




JONTE COLLINS                          JOOMIS J. GROSSMAN, JR. FOUNDATION,         JOPLIN CROSSROADS LLC
10201 S. MAIN STREET                   INC.,                                       ATTN: OWEN C EWING
HOUSTON, TX 77025                      RICHARD A. GROSSMAN FOUNDATION, INC.,       2165 LOUISA DR
                                       C/O GIBRALTAR MANAGEMENT CO., INC.          BELLEAIR BEACH, FL 33786
                                       150 WHITE PLAINS ROAD
                                       TARRYTOWN, NY 10591


JOPLIN GLOBE                           JORAL NOSTRAND II, LLC, MERAL MEEKER,       JORDAN ALCORN
PO BOX 7                               LLC &                                       10201 S. MAIN STREET
JOPLIN, MO 64802-0007                  MM NOSTRAND LLC, AS TENANTS IN              HOUSTON, TX 77025
                                       COMMON
                                       P.O. BOX 100490
                                       BROOKLYN, NY 11210


JORDAN ALLEN                           JORDAN ANDERSON                             JORDAN BAGBY
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025




JORDAN BANG                            JORDAN BEASLEY                              JORDAN BRIGHT
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025




JORDAN BRUCKOPOULOS                    JORDAN COBB                                 JORDAN COOPER
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025
JORDAN DAVIS           Case 18-12241-CSS
                                      JORDAN Doc 26
                                             DEPALO      Filed 10/05/18   PageJORDAN
                                                                               862 ofDESL
                                                                                       1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    612 PEYTON ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                       COLLEGE STATION, TX 77840




JORDAN DILLARD                        JORDAN DONALDSON                        JORDAN GAY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JORDAN GINN                           JORDAN HANSEN                           JORDAN HERINGTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JORDAN HOLLOMAN                       JORDAN HUNEKE                           JORDAN JOHNSON
10201 S. MAIN STREET                  14485 RUSSO RD                          10201 S. MAIN STREET
HOUSTON, TX 77025                     CASTROVILLE, CA 95012                   HOUSTON, TX 77025




JORDAN LAM                            JORDAN MARSH                            JORDAN MARSHALL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JORDAN MERCK                          JORDAN MOBLEY                           JORDAN NIESWAAG
1024 BLECKLEY ST                      10201 S. MAIN STREET                    10201 S. MAIN STREET
ANDERSON, SC 29625                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JORDAN OLIVER                         JORDAN PERRY                            JORDAN PHARR
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JORDAN PRICHARD                       JORDAN RICH                             JORDAN RITTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JORDAN SALVINO                        JORDAN SCOTT KNOUREK                    JORDAN SELIGMAN
10201 S. MAIN STREET                  1003 S WESTERN SKIES DR                 10201 S. MAIN STREET
HOUSTON, TX 77025                     GILBERT, AZ 85296                       HOUSTON, TX 77025




JORDAN SHEPHARD                       JORDAN SHEPHERD                         JORDAN SHEPHERD
330 D ST THOMAS                       10201 S. MAIN STREET                    10201 S. MAIN STREET
NEWPORT NEWS, VA 23606                HOUSTON, TX 77025                       HOUSTON, TX 77025
JORDAN SINGH           Case 18-12241-CSS
                                      JORDAN Doc
                                             SMITH26      Filed 10/05/18   PageJORDAN
                                                                                863 ofSTARKENBURG
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JORDAN STEPANSKY                       JORDAN TAX SERVICE INC                  JORDAN TAX SERVICE INC
10201 S. MAIN STREET                   102 RAHWAY RD                           102 RAHWAY ROAD
HOUSTON, TX 77025                      MCMURRAY, PA 15317                      MCMURRAY, PA 15317




JORDAN TAX SERVICE INC                 JORDAN TAX SERVICE INC                  JORDAN TAX SERVICE INC
MOUNT LEBANON PA                       MUNICIPALITY OF BETHEL PARK             ROSS TOWNSHIP
P.O. BOX 645118                        PO BOX 645111                           P.O. BOX 645124
PITTSBURGH, PA 15264-5118              PITTSBURGH, PA 15264-5111               PITTSBURGH, PA 15264-5124




JORDAN TIMMERMEYER                     JORDAN WALCH                            JORDAN WALLACE
3500 NE SHADY LN DR                    10201 S. MAIN STREET                    10201 S. MAIN STREET
GLADSTONE, MO 64119                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JORDAN WELLS                           JORDAN WHEELER                          JORDAN WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    105 RINGWOOD WAY
HOUSTON, TX 77025                      HOUSTON, TX 77025                       ANDERSON, IN 46013




JORDAN WOODS                           JORDON ORLOWSKI                         JORDON PETERSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JORDYN PATRICK                         JORENE GUSTAFSSON                       JORGE ALSINA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JORGE ALVARADO                         JORGE ALVAREZ                           JORGE ALVAREZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JORGE ARCE                             JORGE ARELLANO                          JORGE ARENAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JORGE BARRIERE                         JORGE BENITEZ                           JORGE BENITEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JORGE C CONTRERAS     Case   18-12241-CSS     Doc 26
                                       JORGE CASTRO       Filed 10/05/18   PageJORGE
                                                                                864 CASTRO
                                                                                     of 1739
4127 GOTHBERG AVE                      10201 S. MAIN STREET                    10201 S. MAIN STREET
NORTH HIGHLANDS, CA 95660              HOUSTON, TX 77025                       HOUSTON, TX 77025




JORGE CONTRERAS                        JORGE CRUZ                              JORGE DIAZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JORGE FARAH                            JORGE HERNANDEZ-POLO                    JORGE L PEREZ GARZA
12365 SW 18 ST APT 103                 10201 S. MAIN STREET                    DBA UNIQUE BIOMEDICAL SRVS
MIAMI, FL 33175                        HOUSTON, TX 77025                       11200 BROADWAY ST STE 2743
                                                                               PEARLAND, TX 77584




JORGE MANZO                            JORGE MEDEL                             JORGE MIRANDA PEREZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JORGE NUEZ                             JORGE OREJUELA                          JORGE REYES
15028 NW 87 PLACE                      10201 S. MAIN STREET                    10201 S. MAIN STREET
MIAMI, FL 33018                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JORGE RODRIGUEZ                        JORGE SAHAGUN                           JORGE SALAS
10201 S. MAIN STREET                   7467 DEL ROSA AVE                       10201 S. MAIN STREET
HOUSTON, TX 77025                      SAN BERNARDINO, CA 92410                HOUSTON, TX 77025




JORGE VAZQUEZ                          JORINA ARAPI                            JORY MEMEO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE A CONTRERAS                       JOSE A MENDOZA                          JOSE AGUAYO
12746 E 46TH ST                        GENERAL DELIVERY                        10201 S. MAIN STREET
YUMA, AZ 85367                         SAINT CLOUD, MN 56301                   HOUSTON, TX 77025




JOSE ALVAREZ                           JOSE ANGEL CERVANTES                    JOSE BALDERAS
10201 S. MAIN STREET                   7014 PINEHOOK LN                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77016                       HOUSTON, TX 77025




JOSE BATISTA                           JOSE BATISTA-TAVAREZ                    JOSE BECERRA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JOSE CAMALLERES         Case 18-12241-CSS     Doc 26
                                       JOSE CAMARGO       Filed 10/05/18   PageJOSE
                                                                                865CARBAJAL
                                                                                    of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE CERES HERRERA                     JOSE CHAVEZ                             JOSE CLEMENTE PEREZ
5226 HILLSBROOK CT                     10201 S. MAIN STREET                    10201 S. MAIN STREET
SUGAR LAND, TX 77479                   HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE COCHANCELA                        JOSE COLON                              JOSE COLON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE CORDADA                           JOSE CORDADA                            JOSE CORDADA
765 S 100 W                            C/O LAW OFFICE OF DANIEL C. HERR        C/O MCINNES LAW LLC
OREM, UT 84058                         ATTN: DANIEL C. HERR                    ATTN: JACK D. MCINNES
                                       1225 N. KING ST., SUITE 1000            4300 SHAWNEE MISSION PKWY, STE 100
                                       WILMINGTON, DE 19801                    FAIRWAY, KS 66205



JOSE CORDADA                           JOSE CORDADAALCAIDE                     JOSE CORDERO
C/O MOSE LAW LLC                       10201 S. MAIN STREET                    10201 S. MAIN STREET
ATTN: PAUL MOSE                        HOUSTON, TX 77025                       HOUSTON, TX 77025
3111 STRONG AVE.
KANSAS CITY, KS 66106



JOSE CORONADO ZAPATA                   JOSE DELEON                             JOSE DIAZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE DIAZ                              JOSE E CACERES ZAPATA DBA MC DELIVERY   JOSE ESCOTO
10201 S. MAIN STREET                   2807 MCKINNEY ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                      BURLINGTON, NC 27215                    HOUSTON, TX 77025




JOSE F CASTILLO                        JOSE FANITH                             JOSE FERNANDEZ
DBA TOP PRIORITY WINDOW WASHING        10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 998                             HOUSTON, TX 77025                       HOUSTON, TX 77025
ABILENE, TX 79604




JOSE FLORES                            JOSE FLORES                             JOSE GARCIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE GARCIA                            JOSE GARCIA                             JOSE GARCIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JOSE GARCIA              Case 18-12241-CSS     Doc 26
                                        JOSE GONZALEZ       Filed 10/05/18   PageJOSE
                                                                                  866GUZMAN
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JOSE GUZMAN                             JOSE GUZMAN                              JOSE HERNANDEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JOSE JESUS RAYA                         JOSE JIMENEZ                             JOSE JUAREZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JOSE L. GOMEZ-Q                         JOSE LAVERNIA                            JOSE LEON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JOSE LOPEZ                              JOSE LOPEZ                               JOSE LOPEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JOSE LOZANO                             JOSE LUIS BARRERA                        JOSE LUIS HERNANDEZ DBA HOME RIGHT
10201 S. MAIN STREET                    1715 COOPER DR.                          1302 15TH ST
HOUSTON, TX 77025                       IRVING, TX 75061                         SOUTH HOUSTON, TX 77587




JOSE LUIS PUJOL                         JOSE MARCHAN                             JOSE MARTINEZ
22135 BREAKER POINT LN                  10201 S. MAIN STREET                     10201 S. MAIN STREET
LAND OLAKES, FL 34639                   HOUSTON, TX 77025                        HOUSTON, TX 77025




JOSE MENA                               JOSE MENDONCA                            JOSE OLIVARES
12046 FAIRPOINT DR                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77099                       HOUSTON, TX 77025                        HOUSTON, TX 77025




JOSE ORTIZ                              JOSE OTERO                               JOSE PACHECO
10201 S. MAIN STREET                    10201 S. MAIN STREET                     6589 FRY ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                        BELL, CA 90201




JOSE PINEDA CABRERA                     JOSE PULIDO                              JOSE QUIROGA
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
JOSE RAMIREZ            Case 18-12241-CSS     Doc 26
                                       JOSE RAMIREZ       Filed 10/05/18   PageJOSE
                                                                                867RAMOS
                                                                                    of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE RAUL BRINDIS                      JOSE RICO                               JOSE ROBLES
3525 SAGE RD 1714                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77056                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE RODRIGUEZ                         JOSE ROMERO                             JOSE ROMERO
PO BOX 51858                           10201 S. MAIN STREET                    10201 S. MAIN STREET
LOS ANGELES, CA 90051                  HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE ROSAS                             JOSE SIERRA                             JOSE SOLIS-CORPS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE SOTO ARROYO                       JOSE SUYAT                              JOSE TREJO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE VALENZUELA                        JOSE VARGAS                             JOSE VELAZQUEZ
642 VALLEY OAK DR                      10201 S. MAIN STREET                    10201 S. MAIN STREET
VACAVILLE, CA 95687                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE VENTURA                           JOSE VERGARA                            JOSE VIDAL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSE VILLEGAS                          JOSEPH A NIMOJR                         JOSEPH A WIXON
10201 S. MAIN STREET                   415 N HARRISON ST                       279 GASTON STREET
HOUSTON, TX 77025                      ALEXANDRIA, IN 46001                    MEDFORD, MA 02155




JOSEPH ABSKHIRON                       JOSEPH ADAMS                            JOSEPH ADAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH ALAMO                           JOSEPH ALANIZ                           JOSEPH ALBRIGHT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JOSEPH AL-NEMER          Case 18-12241-CSS
                                        JOSEPH Doc 26 Filed 10/05/18
                                               AMAKOVE                 PageJOSEPH
                                                                            868 ofANKRAH
                                                                                    1739
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH ANTHONY ALLEN                    JOSEPH ARDEN                       JOSEPH AREHART
404 ENCINITAS BLVD 215                  10201 S. MAIN STREET               4524 W BETHEL AVE APT 1132
ENCINITAS, CA 92024                     HOUSTON, TX 77025                  MUNCIE, IN 47304




JOSEPH BARBIERI                         JOSEPH BASTONE                     JOSEPH BENJAMIN
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH BENNECKE                         JOSEPH BENNION                     JOSEPH BERKOWITZ
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH BERRIOS                          JOSEPH BIANCO                      JOSEPH BIERMAN
                                        10201 S. MAIN STREET               10201 S. MAIN STREET
                                        HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH BIGG                             JOSEPH BLYTHE                      JOSEPH BOES
10201 S. MAIN STREET                    10201 S. MAIN STREET               10366 SCRIPPS POWAY PKWY 69
HOUSTON, TX 77025                       HOUSTON, TX 77025                  SAN DIEGO, CA 92123




JOSEPH BONGIORNO                        JOSEPH BONHAM                      JOSEPH BOUDROW
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH BOYERS                           JOSEPH BRENNAN                     JOSEPH BUCK
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH BURNATOWSKI                      JOSEPH BYRD                        JOSEPH C KELLY
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH CANDLER                          JOSEPH CANTER                      JOSEPH CANTER
10201 S. MAIN STREET                    720 FULTON ST                      PO BOX 145
HOUSTON, TX 77025                       DENTON, TX 76201                   DENTON, TX 76202
JOSEPH CARR              Case 18-12241-CSS
                                        JOSEPH Doc 26 Filed 10/05/18
                                               CASTANEDA               PageJOSEPH
                                                                            869 ofCATALONI
                                                                                    1739
10201 S. MAIN STREET                    PO BOX 436                         10201 S. MAIN STREET
HOUSTON, TX 77025                       RODEO, CA 94572                    HOUSTON, TX 77025




JOSEPH CERULLI                          JOSEPH CIRILLO                     JOSEPH COLEMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH CONWAY                           JOSEPH COOK                        JOSEPH CORTEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH CORTEZ                           JOSEPH COSTANZO                    JOSEPH COWAN
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH COX                              JOSEPH CUMMINGS                    JOSEPH DAGOSTINO
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH DARATA                           JOSEPH DAVI                        JOSEPH DEL POPOLO
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH DELMASTRO                        JOSEPH DELUCCHI                    JOSEPH DILL
1214 FITZGERALD ST                      10201 S. MAIN STREET               10201 S. MAIN STREET
PHILADELPHIA, PA 19148                  HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH DUITSMAN                         JOSEPH EHMANN                      JOSEPH EVANS
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSEPH EVANS                            JOSEPH F MCTIERNAN                 JOSEPH FAGOT
10201 S. MAIN STREET                    6 OCEAN SPRAY BLVD                 10201 S. MAIN STREET
HOUSTON, TX 77025                       CLIFTON PARK, NY 12065             HOUSTON, TX 77025




JOSEPH FAIN                             JOSEPH FIORICA                     JOSEPH FLAHERTY
10201 S. MAIN STREET                    10201 S. MAIN STREET               738 S COOK STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  BARRINGTON, IL 60010
JOSEPH FLETCHER        Case 18-12241-CSS
                                      JOSEPH Doc 26
                                             FORMAN      Filed 10/05/18      PageJOSEPH
                                                                                  870 ofFORTUNATO
                                                                                          1739
8885 E 160TH ST S                     2430 SHORECREST                            10201 S. MAIN STREET
BIXBY, OK 74008                       ROCKWALL, TX 75087                         HOUSTON, TX 77025




JOSEPH FORTUNATO                      JOSEPH G. STINES - DBA STINES POOL &       JOSEPH GALANTI
10201 S. MAIN STREET                  SPA                                        10201 S. MAIN STREET
HOUSTON, TX 77025                     824 CREIGHTON AVE                          HOUSTON, TX 77025
                                      HASTINGS, NE 68901




JOSEPH GARRIGA                        JOSEPH GAY                                 JOSEPH GOMEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH GRANT                          JOSEPH GRAU                                JOSEPH GRODENSKY
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH GRUMAN                         JOSEPH GUELFI                              JOSEPH GUERRA-SACKS
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH HALPY                          JOSEPH HARRIS                              JOSEPH HOBBICK
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025




JOSEPH INGRAM                         JOSEPH J MACHADO                           JOSEPH J. BALSAMO
10201 S. MAIN STREET                  5055 E BROADWAY BLVD B100                  1200 BANK STREET
HOUSTON, TX 77025                     TUCSON, AZ 85711                           BALTIMORE, MD 21202-4309




JOSEPH JAMES MACHADO                  JOSEPH JASMER                              JOSEPH JORDAN
C/O ROMANO REAL ESTATE CORP           10201 S. MAIN STREET                       10201 S. MAIN STREET
3900 E VIA PALOMITA                   HOUSTON, TX 77025                          HOUSTON, TX 77025
TUCSON, AZ 85718




JOSEPH JOYNER                         JOSEPH JURENKA                             JOSEPH KANE
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH KAYAL                          JOSEPH KERNAN                              JOSEPH KINYANJUI
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025
JOSEPH KMONK               Case 18-12241-CSS
                                          JOSEPH Doc 26
                                                 KNABEL      Filed 10/05/18   PageJOSEPH
                                                                                   871 ofKRAYNICK
                                                                                           1739
3019 DECKER DR                            10201 S. MAIN STREET                    10201 S. MAIN STREET
SOUTH PARK, PA 15129                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH L. TAMSBERG                        JOSEPH LACA-LABOR COMMISSIONER          JOSEPH LANDAU
JACKSON SQUARE-FOREST DRIVE LLC           DEPT OF INDUSTRIAL RELATIONS            10201 S. MAIN STREET
1122 BARNWELL ST                          2031 HOWE AVE STE 100                   HOUSTON, TX 77025
COLUMBIA, SC 29201                        SACRAMENTO, CA 95825




JOSEPH LASORSA                            JOSEPH LAYER                            JOSEPH LITTLE
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH LLOYD                              JOSEPH LOUGHRAN                         JOSEPH LOWE
601 WINDING WAY APT 102                   10201 S. MAIN STREET                    10201 S. MAIN STREET
VIRGINIA BEACH, VA 23462                  HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH LUONGO                             JOSEPH M VIJUK                          JOSEPH MALFITAN
10201 S. MAIN STREET                      DBA JMV MACON PROPERTIES LLC            10201 S. MAIN STREET
HOUSTON, TX 77025                         PO BOX 17529                            HOUSTON, TX 77025
                                          FERNANDINA BEACH, FL 32035




JOSEPH MANK                               JOSEPH MAROS                            JOSEPH MARTINEZ
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH MARTINEZ                           JOSEPH MARUCCI                          JOSEPH MASONE
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH MATEJKA IMA                        JOSEPH MATEJKA                          JOSEPH MCCUTCHEON
                                          10201 S. MAIN STREET                    10201 S. MAIN STREET
                                          HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH MCCUTCHEON                         JOSEPH MCDOUGALL                        JOSEPH MCMAHON
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH MCNEASE                            JOSEPH MCTIERNAN                        JOSEPH MILLER
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025
JOSEPH MILLER            Case 18-12241-CSS
                                        JOSEPH Doc
                                               MILLS 26        Filed 10/05/18   PageJOSEPH
                                                                                     872 ofMONIZ
                                                                                            1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH MOORE                             JOSEPH MORRIS                              JOSEPH MUENKEL
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH MULLIKIN                          JOSEPH MURPHY                              JOSEPH NAK
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH NGUYEN                            JOSEPH NOWAK                               JOSEPH ORRIS
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH PAVIGLIANTI                       JOSEPH PERDUE                              JOSEPH PERROTTA
1705 COUNTRY CLUB BLVD                   10201 S. MAIN STREET                       10201 S. MAIN STREET
SUGAR LAND, TX 77478                     HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH PILLA                             JOSEPH PILLA                               JOSEPH PINO-MARINA
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH POLING                            JOSEPH PRESLEY                             JOSEPH REGAN
10201 S. MAIN STREET                     500 WESTHAVEN DR                           10201 S. MAIN STREET
HOUSTON, TX 77025                        FORT WORTH, TX 76132                       HOUSTON, TX 77025




JOSEPH RENDER                            JOSEPH RIDER                               JOSEPH RITCHEY
10201 S. MAIN STREET                     609 E SHEILA CIRCLE                        10201 S. MAIN STREET
HOUSTON, TX 77025                        JOSHUA, TX 76058                           HOUSTON, TX 77025




JOSEPH ROGOWSKI                          JOSEPH ROSS                                JOSEPH ROSSI
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




JOSEPH RUOCCHIO                          JOSEPH S POLIZZI                           JOSEPH SALSICCIA
10201 S. MAIN STREET                     5902 HARRISON STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        NEW PORT RICHEY, FL 34653-4320             HOUSTON, TX 77025
JOSEPH SANCHO           Case 18-12241-CSS
                                       JOSEPH Doc 26
                                              SANDER      Filed 10/05/18   PageJOSEPH
                                                                                873 ofSANTALY-GRAF
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH SCERBO                          JOSEPH SHEFFIELD                        JOSEPH SHIRER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH SIMON                           JOSEPH SMITH                            JOSEPH SOLDEVILA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH SONATORE                        JOSEPH SPANO                            JOSEPH SPANO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH STACKHOUSES                     JOSEPH STALLCOP                         JOSEPH STEINHART
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH STEPHENS                        JOSEPH SUTTON                           JOSEPH TARANTINO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    1646 CHIANTI LANE
HOUSTON, TX 77025                      HOUSTON, TX 77025                       BRENTWOOD, CA 94513




JOSEPH TARANTINO                       JOSEPH TOBJY                            JOSEPH TODD
1646 CHIANTI LN                        10201 S. MAIN STREET                    10201 S. MAIN STREET
BRENTWOOD, CA 94513                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH TOMMY LENTZ                     JOSEPH TORRES                           JOSEPH TRAYNHAM
422 STE 80 AIRPORT RD                  10201 S. MAIN STREET                    107 HARBORVIEW LANE
ARDEN, NC 28704                        HOUSTON, TX 77025                       LARGO, FL 33770




JOSEPH TRIPOLI                         JOSEPH TURNER                           JOSEPH VARGAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSEPH VEASY                           JOSEPH VERO                             JOSEPH W SEYGAL
10201 S. MAIN STREET                                                           6251 WARREN AVE
HOUSTON, TX 77025                                                              HARRISBURG, PA 17112
JOSEPH WALAWSKI        Case 18-12241-CSS
                                      JOSEPH Doc 26 Filed 10/05/18
                                             WARDLOW                   PageJOSEPH
                                                                            874 ofWELDING
                                                                                   1739
10201 S. MAIN STREET                                                       5502 LANGLEY
HOUSTON, TX 77025                                                          HOUSTON, TX 77016




JOSEPH WHITE COMPANY                  JOSEPH WHITE COMPANY                 JOSEPH WHITE
75 ROUTE 4 EAST                       AS AGENT FOR EDAX REALTY CORP        10201 S. MAIN STREET
RIVER EDGE, NJ 07661                  PO BOX 4197                          HOUSTON, TX 77025
                                      RIVER EDGE, NJ 07661




JOSEPH WHITMAN                        JOSEPH WINKLE                        JOSEPH WOOLERY
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




JOSEPH YAEGER                         JOSEPHINE COUNTY TAX COLLECTOR       JOSEPHINE COUNTY TAX COLLECTOR
10201 S. MAIN STREET                  500 NW 6TH ST DEPT 14                PO BOX 5187
HOUSTON, TX 77025                     GRANTS PASS, OR 97526                PORTLAND, OR 97208-5187




JOSEPHINE DIRITO                      JOSEPHINE GARCIA                     JOSEPHINE WILLIAMS
10201 S. MAIN STREET                  1304 SW 15 ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                     MIAMI, FL 33145                      HOUSTON, TX 77025




JOSEPHINE                             JOSH ADAMS                           JOSH ADRIAN
ATTN: PROPERTY TAX DEPT.              700 BARRETT WOOD CT                  10201 S. MAIN STREET
PO BOX 5187                           CARY, NC 27513                       HOUSTON, TX 77025
PORTLAND, OR 97208-5187




JOSH BEAVERS                          JOSH BROWN                           JOSH BURKE
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




JOSH CALDWELL                         JOSH CARTER                          JOSH CARVER
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




JOSH CHAMIS                           JOSH CONDEE                          JOSH DORE
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




JOSH EBEJER                           JOSH FEINBERG                        JOSH GAGNE
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025
JOSH GERSOWSKY         Case 18-12241-CSS     Doc 26
                                      JOSH HARRIS        Filed 10/05/18   PageJOSH
                                                                               875HARRIS
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH HENDERSON                        JOSH HOLMAN                             JOSH HOOTS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH IRVIN                            JOSH JILLETT                            JOSH JULIAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH KALISH                           JOSH KARP                               JOSH KASTEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH LAHMERS                          JOSH MANSITO                            JOSH MATHEWS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH MAY                              JOSH MAYE                               JOSH MERRITT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH MOON                             JOSH MORRISON                           JOSH NEIL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH NUGENT-GRUNY                     JOSH OLDHAM                             JOSH OSBORN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH PELLETIER                        JOSH PHELPS                             JOSH POLLARD
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH RENO                             JOSH ROBERTS                            JOSH ROUSSELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JOSH STACKHOUSE        Case 18-12241-CSS     Doc 26
                                      JOSH TUCKER        Filed 10/05/18   PageJOSH
                                                                               876VANCISE
                                                                                   of 1739
10209 KENTON PLACE                    10201 S. MAIN STREET                    10201 S. MAIN STREET
LAS VEGAS, NV 89144                   HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH VON HOENE                        JOSH WAGGONER                           JOSH WARREN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSH WUNNER                           JOSH ZUBRICK                            JOSHUA ADAMS
                                      10201 S. MAIN STREET                    10201 S. MAIN STREET
                                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA ANDERSON                       JOSHUA AVERY                            JOSHUA BARNES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA BARNETT                        JOSHUA BATRES                           JOSHUA BECKWITH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA BEHRMANN                       JOSHUA BEHRMANN                         JOSHUA BENOIT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    4550 47TH ST W 1611
HOUSTON, TX 77025                     HOUSTON, TX 77025                       BRADENTON, FL 34210




JOSHUA BERGSTROM                      JOSHUA BERZAI                           JOSHUA BICKERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA BLALOCK                        JOSHUA BLAS                             JOSHUA BOONE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA BORK                           JOSHUA BRADEN                           JOSHUA BRANDEWIE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA BREWSTER                       JOSHUA BROADBENT                        JOSHUA BROWN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JOSHUA C TERENZINI     Case 18-12241-CSS
                                      JOSHUA Doc 26
                                             CAREY       Filed 10/05/18   PageJOSHUA
                                                                               877 ofCLYBURN
                                                                                       1739
238 KILLINGTON AVE                    10201 S. MAIN STREET                    10201 S. MAIN STREET
RUTLAND, VT 05701                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA COOPER                         JOSHUA COTTEN                           JOSHUA COTTRELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA D HURLEY                       JOSHUA DAHLGREEN                        JOSHUA DULIN
DBA HURLEY DELIVERIES LLC             10201 S. MAIN STREET                    10201 S. MAIN STREET
8314 BENGALIN AVE                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JACKSONVILLE, FL 32211




JOSHUA EBANEZ                         JOSHUA EDWARDS                          JOSHUA ELLIOTT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA ENRIGHT                        JOSHUA FINK                             JOSHUA FORTES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA GOFORTH                        JOSHUA GONZALEZ                         JOSHUA GOTTFRIED
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA GREEN                          JOSHUA GRIMES                           JOSHUA GROSSMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA HALE                           JOSHUA HANCOCK                          JOSHUA HANTOSH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA HARRINGTON                     JOSHUA HOLLOWAY                         JOSHUA HUDGINS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA HUGHES                         JOSHUA JACKSON                          JOSHUA JACKSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JOSHUA JACOBS           Case 18-12241-CSS
                                       JOSHUA Doc 26 Filed 10/05/18
                                              JOHNSON                 PageJOSHUA
                                                                           878 ofJOHNSTON
                                                                                   1739
10201 S. MAIN STREET                                                      10201 S. MAIN STREET
HOUSTON, TX 77025                                                         HOUSTON, TX 77025




JOSHUA JONES                           JOSHUA JORDAN                      JOSHUA KAY
10201 S. MAIN STREET                   10201 S. MAIN STREET               2338 N 44TH ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  MILWAUKEE, WI 53210




JOSHUA KELLUM                          JOSHUA KNOWLES                     JOSHUA KNOX
                                       10201 S. MAIN STREET               10201 S. MAIN STREET
                                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSHUA KOWALCZYK                       JOSHUA LAZAR                       JOSHUA LEE
210 LAKELAWN PLACE 2A                  10201 S. MAIN STREET               10201 S. MAIN STREET
MADISON, WI 53703                      HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSHUA M ROBERTS                       JOSHUA MADDOX                      JOSHUA MARTIN
                                       10201 S. MAIN STREET               10201 S. MAIN STREET
                                       HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSHUA MCCAFFREY                       JOSHUA MCFARLAND                   JOSHUA MCGEE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSHUA MCNEIL                          JOSHUA MERRITT                     JOSHUA MILLER
10201 S. MAIN STREET                   9100 MILLS RD APT108               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77070                  HOUSTON, TX 77025




JOSHUA MONTGOMERY                      JOSHUA MOORE                       JOSHUA MORRISON
10201 S. MAIN STREET                   301 N 110TH ST                     10201 S. MAIN STREET
HOUSTON, TX 77025                      APACHE JUNCTION, AZ 85120          HOUSTON, TX 77025




JOSHUA MORRISON                        JOSHUA MURPHY                      JOSHUA NEWMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




JOSHUA NIESSEN                         JOSHUA NORRIS                      JOSHUA OCONNOR
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025
JOSHUA ODONNELL        Case 18-12241-CSS
                                      JOSHUA Doc  26
                                             OLIVER       Filed 10/05/18   PageJOSHUA
                                                                                879 ofOMAR
                                                                                       1739ADAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    700 BARRET WOODS CT
HOUSTON, TX 77025                      HOUSTON, TX 77025                       CARY, NC 27513




JOSHUA PASTRYK                         JOSHUA PAYLOR                           JOSHUA PAZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA PEREZ                           JOSHUA PERRIN                           JOSHUA PIETSCH
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA PORTWOOD                        JOSHUA POSEY                            JOSHUA POYER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA RAFTOPOULOS                     JOSHUA RICHARDS                         JOSHUA RIGSBY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA RODRIGUEZ                       JOSHUA ROSARIO                          JOSHUA ROTHSTEIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA RUNION                          JOSHUA S SHAPIRO                        JOSHUA SCHAETZLE
14802 ENTERPRISE DR 34D                2300 WATERS EDGE TRAIL                  10201 S. MAIN STREET
FARMERS BRANCH, TX 75234               ROSWELL, GA 30075                       HOUSTON, TX 77025




JOSHUA SCHLESINGER                     JOSHUA SIMMONS                          JOSHUA SIMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA SIZEMORE                        JOSHUA SPIEGEL                          JOSHUA STACKHOUSE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA STEBBINS                        JOSHUA STIMPSON                         JOSHUA TERENZINI
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JOSHUA TWIGG DBA SCHUETZ Case   18-12241-CSS
                                          JOSHUA Doc
                                                 WARD26      Filed 10/05/18   PageJOSHUA
                                                                                   880 ofWILLIAMS
                                                                                           1739
8715 BELLE RIVE BLV APT 4001              10201 S. MAIN STREET                    10201 S. MAIN STREET
JACKSONVILLE, FL 32256                    HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA WILLIAMS                           JOSHUA WOODS                            JOSHUA WUNNER
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSHUA YASTEYA                            JOSHUAN RIVERA                          JOSHUE BOONE
10201 S. MAIN STREET                      10201 S. MAIN STREET                    3312 E CARLISLE AVE
HOUSTON, TX 77025                         HOUSTON, TX 77025                       SPOKANE, WA 99217




JOSIAH CHEAPOO                            JOSIAH D WALKER                         JOSIAH FUCHSER
10201 S. MAIN STREET                      1888 W 3255 S                           10201 S. MAIN STREET
HOUSTON, TX 77025                         WEST VALLEY CITY, UT 84119              HOUSTON, TX 77025




JOSIAH HOPKINS                            JOSLYN GORMAN                           JOSLYN HEUER
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOSUE BETANCOURT                          JOSUE HERRERA                           JOSUE RIVERA
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOURNAL AND COURIER                       JOURNAL AND COURIER                     JOURNAL BROADCAST GROUP INC
217 N SIXTH ST                            PO BOX 677557                           DBA KMTV KSRZ KKCD KQCH KXSP
LAFAYETTE, IN 47901                       DALLAS, TX 75267-7557                   PO BOX 203590
                                                                                  DALLAS, TX 75320-3590




JOURNAL BROADCAST GROUP TUCSON            JOURNAL BROADCASTING GROUP              JOURNAL COMMUNITY PUBLISHING GROUP
PO BOX 203596                             PO BOX 203590                           PO BOX 2913
DALLAS, TX 75320-3596                     DALLAS, TX 75320-3590                   MILWAUKEE, WI 53201-2913




JOURNAL COMMUNITY PUBLISHING GROUP        JOURNAL INQUIRER                        JOURNAL NEWS MEDIA GROUP
PO BOX 661                                JOURNAL PUBLISHING CO                   PO BOX 822883
MILWAUKEE, WI 53201-0661                  PO BOX 510                              PHILADELPHIA, PA 19182-2883
                                          MANCHESTER, CT 06045




JOURNAL PUBLISHING CO                     JOURNAL SENTINEL INC                    JOURNAL SENTINEL INC
DBA JOURNAL INQUIRER                      333 W STATE ST                          PO BOX 78932
PO BOX 510                                MILWAUKEE, WI 53278                     MILWAUKEE, WI 53278
MANCHESTER, CT 06045
JOVAN FRANCOIS           Case 18-12241-CSS     Doc 26
                                        JOVAN NAVARRO      Filed 10/05/18   PageJOVANAH
                                                                                 881 ofGRAHAM
                                                                                        1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOVANNAH NIEVES                         JOVON BURTON                            JOY BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOY GRIFFIN                             JOY MCNAIR                              JOY PARKER RUPERTUS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOY SINGLETON                           JOY THRASHER                            JOYCE ARMAH
360 SUNDERLAND WAY                      10201 S. MAIN STREET                    10201 S. MAIN STREET
STOCKBRIDGE, GA 30281                   HOUSTON, TX 77025                       HOUSTON, TX 77025




JOYCE BEAUCHAMP                         JOYCE BRODERSON                         JOYCE BUTLER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    7418 ODINGLEN DRIVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77095




JOYCE CEPEDA                            JOYCE CEPEDA                            JOYCE CHINEA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOYCE GULBRANSON                        JOYCE KESTELOOT                         JOYCE MILES LEWIS
3468 MIDWAY DR                          10201 S. MAIN STREET                    10201 S. MAIN STREET
SODUS, MI 49126                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JOYCE ROBINSON                          JOYCE WIDDICK                           JOYLYNNE PATTIOAY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JOYRAL NOSTRAND II LLC                  JOYSTIX ENTERTAINMENT LLC               JP CREW RESOURCES INC
PO BOX 100490                           1820 FRANKLIN ST                        2518 SAND SHORE DR
BROOKLYN, NY 11210                      HOUSTON, TX 77002                       CONROE, TX 77304




JP CREW RESOURCES INC                   JP MORG CHSE COM MG SEC MG PT CT        JP MORG CHSE COM MG SEC MG PT CT
C/O JOHN PULIS PILOT                    SERIES 2005-CIBC13 LOWER RE             SERIES
2518 SAND SHORE DR                      1601 WASHINGTON AVE STE 800             2005-CIBC13 LOWER RE
CONROE, TX 77304                        MIAMI, FL 33139                         1601 WASHINGTON AVE STE 800
                                                                                MIAMI, FL 33139
JP MORG CHSE MG SEC MGCase    18-12241-CSS
                        PT CT SERIES    JP MORGDoc
                                                 CHSE26    Filed
                                                      MG SEC     10/05/18
                                                              MG PT CT SERIES   PageJP882 of 1739
                                                                                       MORGAN CHASE BANK NA
2005-                                   2005-CIBC13 LOWER REMIC                     PO BOX 4475
CIBC13 LOWER REMIC                      JPMCC 2005-CIBC13 YOUREE DRIVE LLC          CAROL STREAM, IL 60197-4475
JPMCC 2005-CIBC13 YOUREE DRIVE LLC      2100 WEST 7TH ST
2100 WEST 7TH ST                        FORT WORTH, TX 76107
FORT WORTH, TX 76107


JP MORGAN CHASE BANK                     JP MORGAN CHASE BANK                       JP MORGAN CHASE COMMERCIAL MORTAGE
23436 NETWORK PLACE                      C/O WSS FEE BILLING                        DBA 1775 WASHINGTON ST HOLDINGS
CHICAGO, IL 60673-1234                   PO BOX 26040                               7 ST PAUL ST STE1660
                                         NEW YORK, NY 10087-6040                    BALTIMORE, MD 21202




JP MORGAN CHASE COMML MRTG SEC           JP MORGAN EUROPE                           JP MORGAN SECURITIES PIC
CORP                                                                                25 BANK ST CANARY WHARF
DBA JPMCC 2006 LDP7 BUSH HWY LLC                                                    LONDON E14 5JP
2100 W 7TH ST                                                                       UNITED KINGDOM
FORT WORTH, TX 76107



JPE INVESTMENTS LLC                      JPE INVESTMENTS LLC                        JPE INVESTMENTS
ATTN: JANICE P. ELLIN                    ATTN: JANICE P. ELLIN                      1155 CLAIRE LANE
1155 CLAIRE LANE                         1155 CLAIRE LN                             ATTN: JANICE P. ELLIN
HIGHLANDS, NC 28741                      HIGHLANDS, NC 28741                        HIGHLANDS, NC 28741




JPM MARRERO LLC                          JPM MARRERO LLC                            JPM MARRERO LLC
2509 WOODBERRY COURT                     2509 WOODBERRY CT                          C/O HAWTHORN BANK
COLUMBIA, MO 65203                       COLUMBIA, MO 65203                         1110 CLUB VILLAGE DR
                                                                                    COLUMBIA, MO 65203




JPMCC 2005-CIBC13 YOUREE DRIVE, LLC      JPMCC 2006 LDP7 BUSH HWY LLC               JPMORGAN CHASE BANK, N.A.
C/O THE WOODMONT COMPANY                 C/O WOODMONT COMPANY                       ATTN: DANIEL MARSHEK
2100 WEST 7TH STREET                     2100 W 7TH ST                              10 South Dearborn St
FORT WORTH, TX 76107                     FORT WORTH, TX 76107                       Chicago, IL 60603




JPMORGAN CHASE BANK, N.A.                JPMORGAN CHASE BANK, N.A.                  JPMORGAN CHASE
ATTN: GRETCHEN TURNEY                    ATTN: SUSHMA CHARANIA                      2200 ROSS AVE.
2200 ROSS AVE.                           712 Main St                                DALLAS, TX 75201
DALLAS, TX 75201                         8th Floor
                                         Houston, TX 77002



JPS DEVELOPMENT LLC AND                  JPS DEVELOPMENT                            JPS DEVELOPMENT
DMS INVESTMENTS LLC                      77 CADILLAC DRIVE, SUITE 150               ATTN: CHERYL NOBERT
77 CADILLAC DRIVE, SUITE 150             ATTN: CHERYL NOBERT                        77 CADILLAC DRIVE, SUITE 150
SACRAMENTO, CA 95825                     SACRAMENTO, CA 95825                       SACRAMENTO, CA 95825




JPS DEVELOPMENT                          JPT GRAPHICS INC                           JR BLACK PROPERTIES
MARIELLE MEDEL                           212 W IRVING BLVD                          7517 CAMPBELL RD STE 601
77 CADILLAC DRIVE, SUITE 150             IRVING, TX 75060                           DALLAS, TX 75248
SACRAMENTO, CA 95825




JR BLACK PROPERTIES                      JR EDWARDS                                 JRNN
7517 CAMPBELL ROAD                       10201 S. MAIN STREET                       PO BOX 780154
STE 601                                  HOUSTON, TX 77025                          PHILADELPHIA, PA 19178-0154
DALLAS, TX 75248
JRP TREE SERVICES LLC    Case 18-12241-CSS     Doc
                                        JRS SALES    26 Filed 10/05/18
                                                  & INSTALLLATION LLC    PageJSC
                                                                               883 of 1739 INC
                                                                                 CONSTRUCTION
PO BOX 671325                            W244N5606 QUAIL RUN CT              1022 BAKER RD
HOUSTON, TX 77267                        SUSSEX, WI 53089                    DEXTER, MI 48130




JSC SYSTEMS INC                          JSD LOGISTICS                       JSH PROPERTIES, INC.
PO BOX 551629                            200 NORTH PINES DR APT 934          923 POWELL AVENUE SW, SUITE 101
JACKSONVILLE, FL 32255                   KINGWOOD, TX 77339                  RENTON, WA 98057




JSM MANAGEMENT CORP                      JSM MANAGEMENT CORP                 J-SQUARED HOLDINGS LLC
7125 AUSTIN ST                           71-25 AUSTIN STREET                 400 W. 41ST STREET
FOREST HILLS, NY 11375                   FOREST HILLS, NY 11375              MIAMI BEACH, FL 33140




J-SQUARED HOLDINGS LLC                   JSTEPHENS LLC                       JT MOVING INC
PO BOX 546918                            5415 E 109TH PL                     1408 CLIFTON RD
MIAMI BEACH, FL 33154                    TULSA, OK 74137                     JACKSONVILLE, NC 28540




JT OSBORN                                JT SHEEHAN                          JTR LAYTON CROSSING LC
10201 S. MAIN STREET                     10201 S. MAIN STREET                1165 E WILMINGTON AVE
HOUSTON, TX 77025                        HOUSTON, TX 77025                   STE 275
                                                                             SALT LAKE CITY, UT 84106




JTR LAYTON CROSSING LC                   JTR LAYTON CROSSING, L.C.           JTR LAYTON CROSSING, L.C.
ATTN: ACCOUNTS RECEIVABLE                ATTN: ACCOUNTS RECEIVABLE           ATTN: GAYLYNN HART
1165 E WILMINGTON AVE 275                1165 E WILMINGTON AVE 275           1165 E WILMINGTON AVE 275
SALT LAKE CITY, UT 84106                 SALT LAKE CITY, UT 84106            SALT LAKE CITY, UT 84106




JTR LAYTON CROSSING, L.C.                JUAN A MONTES JR                    JUAN AGUILAR
ATTN: JOHN THACKERAY                                                         10201 S. MAIN STREET
1165 E WILMINGTON AVE 275                                                    HOUSTON, TX 77025
SALT LAKE CITY, UT 84106




JUAN BAUTISTA ACEVEDO SANTANA            JUAN BRYANT                         JUAN C VERGARA
10201 S. MAIN STREET                     10201 S. MAIN STREET                3430 MT WASHINGTON
HOUSTON, TX 77025                        HOUSTON, TX 77025                   DALLAS, TX 75211




JUAN CAMPOS - GUEVARA                    JUAN CARLOS RODRIGUEZ               JUAN CASTILLO
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




JUAN CHAVEZ                              JUAN CORONADO                       JUAN DUQUE DBA DUQUE TRANSPORTATION
10201 S. MAIN STREET                     10201 S. MAIN STREET                3364 CLEAN WATER DR
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HAMILTON, OH 45011
JUAN ESTEVEZ COLLADO   Case 18-12241-CSS     Doc 26
                                      JUAN FERNANDEZ      Filed 10/05/18   PageJUAN
                                                                                884FLORES
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUAN GONZALEZ                          JUAN GUERRA ESPINOSA                    JUAN HERNANDEZ ZAMORA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUAN HERNANDEZ                         JUAN HERNANDEZ                          JUAN HURTADO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUAN JOSE                              JUAN LEAL ZARATE                        JUAN LOZADA
10201 S. MAIN STREET                   8006 AMBER CREEK RD                     10201 S. MAIN STREET
HOUSTON, TX 77025                      BAKERSFIELD, CA 93313                   HOUSTON, TX 77025




JUAN MARROQUIN DIAZ                    JUAN MARTINEZ ESPARZA                   JUAN MARTINEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUAN MONTES                            JUAN MOORE                              JUAN MORENO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    14611 GREENVILLE ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77015




JUAN MUNOZ DBA DELIVERY SERVICES       JUAN ORTEGA                             JUAN PANGANIBAN
4411 BRIDLE WOOD                       10201 S. MAIN STREET                    10201 S. MAIN STREET
DALLAS, TX 75211                       HOUSTON, TX 77025                       HOUSTON, TX 77025




JUAN REYNOSO                           JUAN REYNOSO                            JUAN ROBLES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUAN RODRIGUEZ                         JUAN ROMERO                             JUAN ROMERO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUAN RUEDA                             JUAN SALAS                              JUAN TURCIOS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JUAN VELLOJIN             Case 18-12241-CSS      Doc 26
                                         JUAN VILLA          Filed 10/05/18   PageJUANA
                                                                                   885 JUAREZ
                                                                                        of 1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




JUANITA EVANS                             JUANITA SUNDIAM                         JUBAL FLAGG
10201 S. MAIN STREET                      9762 ROYAL PALM BLVD                    3650 131ST AVE SE STE 550
HOUSTON, TX 77025                         GARDEN GROVE, CA 92841                  BELLEVUE, WA 98006




JUBILANT CARGO COMPANY                    JUBILEE-CLINTON II LLC                  JUBILEE-CLINTON II LLC
10801 HAMMERLY BLVD STE 234               4300 E FIFTH AVE                        4300 E FIFTH AVE
HOUSTON, TX 77043                         COLUMBUS, OH 43219                      DEPT L-2722
                                                                                  COLUMBUS, OH 43260-2722




JUBILEE-CLINTON II, LLC                   JUBILEE-CLINTON II, LLC                 JUBILEE-CLINTON II, LLC
4300 E FIFTH AVE                          4300 E FIFTH AVE                        C/O SCHOTTENSTEIN PROPERTY GROUP,
COLUMBUS, OH 43219                        DEPT L-2722                             LLC
                                          COLUMBUS, OH 43260-2722                 4300 EAST 5TH AVENUE
                                                                                  ATTN: EVP LEASING
                                                                                  COLUMBUS, OH 43219


JUBILEE-CLINTON II, LLC                   JUDD KESSLER, TRUSTEE OF THE KENNETH    JUDE GEORGE
C/O SCHOTTENSTEIN PROPERTY GROUP,         L.                                      10201 S. MAIN STREET
LLC                                       POULSEN TRUST C                         HOUSTON, TX 77025
4300 EAST 5TH AVENUE                      P.O. BOX L
ATTN: EVP, GENERAL COUNSEL                RANCHO SANTA FE, CA 92067
COLUMBUS, OH 43219


JUDE HERRERA                              JUDE UWAZIE                             JUDITH BARHYDT
10201 S. MAIN STREET                      10201 S. MAIN STREET                    560 GARFIELD AVE
HOUSTON, TX 77025                         HOUSTON, TX 77025                       SOUTH PASADENA, CA 91030-2254




JUDITH E MEADOR                           JUDITH ECCLES-SHAVER                    JUDITH ERDBERG
3727 LEE MOORE RD                         10201 S. MAIN STREET                    87 VIA NAVARRO
MAIDEN, NC 28650                          HOUSTON, TX 77025                       GREENBRAE, CA 94904




JUDITH JONES                              JUDITH L LEE TRUSTEE                    JUDITH LAMBERTH
10201 S. MAIN STREET                      4637 REID DR                            10201 S. MAIN STREET
HOUSTON, TX 77025                         WAMEGO, KS 66547                        HOUSTON, TX 77025




JUDITH LEE TRUSTEE                        JUDITH LEE TRUSTEE                      JUDITH LOPICCOLO
4637 REID DRIVE                           ATTN: PATRICK LEE                       10201 S. MAIN STREET
ATTN: PATRICK LEE                         4637 REID DRIVE                         HOUSTON, TX 77025
WAMEGO, KS 66547                          WAMEGO, KS 66547




JUDITH SCHONEMAN                          JUDITH WATSON                           JUDITH YOUNG
3033 RIKKARD DR                           10201 S. MAIN STREET                    137 HORIZON BLVD
THOUSAND OAKS, CA 91362                   HOUSTON, TX 77025                       SCHENECTADY, NY 12306
JUDSON I.S.D. TAX OFFICE   Case 18-12241-CSS
                                          JUDSON Doc 26 Filed 10/05/18
                                                 SAMMONS                    PageJUDY
                                                                                 886BARNES
                                                                                     of 1739
JANICE GANGAWER, RTA                      10201 S. MAIN STREET                  3418 N LINDEN
8012 SHIN OAK DRIVE                       HOUSTON, TX 77025                     MUNCIE, IN 47304
LIVE OAK, TX 78233-2413




JUDY E CHASE                              JUDY FRANQUEILIN                      JUDY JARVIS
245 STURBRIDGE DR                         6387 N FORK RD                        10201 S. MAIN STREET
MEDINA, OH 44256                          LIBERTY, UT 84310                     HOUSTON, TX 77025




JUDY MEADOR                               JUDY NIST                             JUDY PAGE
10201 S. MAIN STREET                      7 LINWOOD AVE                         10201 S. MAIN STREET
HOUSTON, TX 77025                         WESTERLY, RI 02891                    HOUSTON, TX 77025




JUDY SALMONS                              JUDY WALCZAK                          JUDY WIDEMAN
1103 BORDEAUX DR                          10201 S. MAIN STREET                  10201 S. MAIN STREET
LEANDER, TX 78641                         HOUSTON, TX 77025                     HOUSTON, TX 77025




JULES BAILEY                              JULFIRM PARTNERSHIP DBA CAPITAL       JULFIRM PARTNERSHIP
10201 S. MAIN STREET                      REALTY CORP                           C/O LAWRENCE A. SHAPIN
HOUSTON, TX 77025                         7101 SHARONDALE CT 600                11200 EASUM ROAD
                                          BRENTWOOD, TN 37027                   LOUISVILLE, KY 40299




JULFIRM PARTNERSHIP                       JULFIRM PARTNERSHIP                   JULIA A SUAREZ
DBA CAPITAL REALTY CORP                   THE CAPITAL REALTY CORP               8411 LIGONIER DR
7101 SHARONDALE COURT STE 600             7101 SHARONDALE COURT STE 600         CAMBY, IN 46113
BRENTWOOD, TN 37027                       BRENTWOOD, TN 37027




JULIA BAILEY                              JULIA BRYANT                          JULIA FALTAS
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




JULIA HENDERSON                           JULIA IRWIN                           JULIA MILLER
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




JULIA PITTS                               JULIA REINA                           JULIA SHAFER
10201 S. MAIN STREET                      10201 S. MAIN STREET                  2130 S 61ST AVE
HOUSTON, TX 77025                         HOUSTON, TX 77025                     CICERO, IL 60804




JULIA SUAN                                JULIA WYNNE                           JULIAN ARCHIE TEW
10201 S. MAIN STREET                      10201 S. MAIN STREET                  171 SILVER HILLS RD
HOUSTON, TX 77025                         HOUSTON, TX 77025                     SANTA FE, NM 87508
JULIAN BALAO           Case 18-12241-CSS      Doc 26 Filed 10/05/18
                                      JULIAN CARRASCO                 PageJULIAN
                                                                           887 CLAY
                                                                                 of 1739
10201 S. MAIN STREET                  132 NUTLEAF CT                      10201 S. MAIN STREET
HOUSTON, TX 77025                     NORTH LAS VEGAS, NV 89031           HOUSTON, TX 77025




JULIAN GOGGANS                        JULIAN GUERRA                       JULIAN HOBSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JULIAN HUNT                           JULIAN JAIMEZ                       JULIAN LEWIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JULIAN MCCLANAHAN                     JULIAN RILEY                        JULIAN ROGERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JULIAN SAMAHA                         JULIAN STOLZ                        JULIAN STRYCZEK
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JULIAN SUAREZ                         JULIAN WHITE                        JULIANA CASSILIANO
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JULIANA DA CUNHA FERREIRA LEMOS       JULIANA KIMMEL                      JULIANA RAFLA
9401 ROBERTS DR APT 23K               10201 S. MAIN STREET                10201 S. MAIN STREET
SANDY SPRINGS, GA 30350               HOUSTON, TX 77025                   HOUSTON, TX 77025




JULIE ANN MYLEK                       JULIE ANN MYLEK                     JULIE BATES
1362 E. BUTLER CIR                    575 WEST PECOS RD ATP 1111          10201 S. MAIN STREET
CHANDLER, AZ 85225                    CHANDLER, AZ 85225                  HOUSTON, TX 77025




JULIE BECKER                          JULIE BERNET                        JULIE BLOMSTROM
10201 S. MAIN STREET                  21385 NALL                          24251 LAS NARANJAS
HOUSTON, TX 77025                     BUCYRUS, KS 66013                   LAGUNA NIGUEL, CA 92677




JULIE BROWN                           JULIE BURAS                         JULIE CARTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025
JULIE CLEMENTS           Case 18-12241-CSS      Doc 26
                                        JULIE COLLIER         Filed 10/05/18   PageJULIE
                                                                                    888CORDELL
                                                                                         of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                      16745 TRENT COURT
HOUSTON, TX 77025                        HOUSTON, TX 77025                         PLATTE CITY, MO 64079




JULIE DERDERIAN                          JULIE DONNELL                             JULIE FANGUY
18 BARRETT ST                            3094 S COLONIAL ST                        10201 S. MAIN STREET
REVERE, MA 02151                         GILBERT, AZ 85295                         HOUSTON, TX 77025




JULIE GOMEZ                              JULIE MANECKE                             JULIE POOLE
10201 S. MAIN STREET                     3650 ARLINGTON CT                         1721 HUNTSMAN COURT
HOUSTON, TX 77025                        AURORA, IL 60504                          LEXINGTON, KY 40515




JULIE PRITCHARD                          JULIE SMITH                               JULIE SORLIE
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




JULIE STEVENS MC GURK                    JULIE TICE                                JULIE WALKER
5384 POPPY BLOSSOM COURT                 15 E OSTEND ST                            10201 S. MAIN STREET
SAN JOSE, CA 95123                       BALTIMORE, MD 21230                       HOUSTON, TX 77025




JULIE WHELAN                             JULIEN BENSIMHON                          JULIET WARD
33 WENLOCK WAY                           817 S BEDFORD ST APT 5                    10201 S. MAIN STREET
WAYNESVILLE, NC 28785                    LOS ANGELES, CA 90035                     HOUSTON, TX 77025




JULIO AGUDELO                            JULIO ANGULO                              JULIO C CORONADO
9020 NW 38TH PL                          10201 S. MAIN STREET                      C/O REMER & GEORGES PIERRE PLLC
SUNRISE, FL 33351-8815                   HOUSTON, TX 77025                         44 W FLAGLER ST STE 2200
                                                                                   MIAMI, FL 33130




JULIO C GARCIA                           JULIO CARRAZANA                           JULIO CRUZ
16330 SW 78TH TERRACE                    10201 S. MAIN STREET                      10201 S. MAIN STREET
MIAMI, FL 33139                          HOUSTON, TX 77025                         HOUSTON, TX 77025




JULIO FERNANDEZ                          JULIO GOMEZ                               JULIO JARDINES
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




JULIO PEREZ                              JULIO RECINOS                             JULIO RODRIGUEZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025
JULIO VAZQUEZ            Case 18-12241-CSS
                                        JULISSA Doc
                                                LOPEZ26     Filed 10/05/18   PageJULIUS
                                                                                  889 BRYANT
                                                                                        of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JULIUS MAILO                             JULIUS ORIEUKWU                         JULIUS PINSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JULIUS WHEELER                           JUMAINE ASHLEY                          JUMP SPORTS HOLDING, INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                    PO BOX 2522
HOUSTON, TX 77025                        HOUSTON, TX 77025                       NORCROSS, GA 30091




JUN HIDAKATSU                            JUNE SMITH                              JUNIOR (ARNULFO) CEPEDA
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUNIOR RODRIGUEZ                         JUNK SOLUTIONS AND RECYCLING LLC        JUNK SOLUTIONS AND RECYCLING LLC
10201 S. MAIN STREET                     2060 TOWER RD                           4975 PARIS ST
HOUSTON, TX 77025                        AURORA, CO 80011                        DENVER, CO 80239




JUNKO OHATA                              JUR-STIN REALTY CORP                    JURY FOCUS LLC
7500 ELMHURST RD LOT 340                 C/O JUSTIN MANAGEMENT, INC.             210 LEE BARTON DR UNIT 403
DES PLAINES, IL 60018                    1235 BROADWAY                           AUSTIN, TX 78704
                                         NEW YORK, NY 10001




JUST IN TIME CARPET CLEANING & MORE      JUST SERVICE INC                        JUSTER ASSOCIATES
1292 VZ COUNTY ROAD 3816                 PO BOX 26537                            120 WHITE PLAINS RD STE 110
WILLS POINT, TX 75169                    MILWAUKEE, WI 53226                     TARRYTOWN, NY 10591




JUSTER ASSOCIATES                        JUSTER DEVELOPMENT CO.                  JUSTIFACTS CREDENTIAL VERIFICATIONS
4830 WEST KENNEDY BLVD                   ATTN: PETER WILCOX                      INC
STE 130                                  120 WHITE PLAINS ROAD, SUITE 110        5250 LOGAN FERRY RD
TAMPA, FL 33609                          TARRYTOWN, NY 10591                     MURRYSVILLE, PA 15668




JUSTIN ALLEN                             JUSTIN ALVARADO                         JUSTIN ASH
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN ATKINS                            JUSTIN BARKALOW                         JUSTIN BARNES
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025
JUSTIN BEAMER          Case 18-12241-CSS      Doc 26 Filed 10/05/18
                                      JUSTIN BLACKSHEAR               PageJUSTIN
                                                                           890 BOE
                                                                                 of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JUSTIN BRICKER                        JUSTIN BROWN                        JUSTIN BROWN
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JUSTIN BROWN                          JUSTIN BURKHALTER                   JUSTIN CANTU
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JUSTIN CAPLAN                         JUSTIN CARELOCK                     JUSTIN CAREY
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JUSTIN CARNES                         JUSTIN CASSELL                      JUSTIN CHAMBERS
10201 S. MAIN STREET                  21853 LOST MEADOW                   10201 S. MAIN STREET
HOUSTON, TX 77025                     NEW CANEY, TX 77357                 HOUSTON, TX 77025




JUSTIN CHRISTOPHER HUNGATE            JUSTIN CLAYTOR                      JUSTIN CLEMONS
5300 LOS ALTOS PKWY 223               10201 S. MAIN STREET                10201 S. MAIN STREET
SPARKS, NV 89436                      HOUSTON, TX 77025                   HOUSTON, TX 77025




JUSTIN COFFEY                         JUSTIN COLEMAN                      JUSTIN CRITTENDON
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JUSTIN CUTLER                         JUSTIN DAVIS                        JUSTIN DECICCO
1945 PINEHURST DR.                    10201 S. MAIN STREET                10201 S. MAIN STREET
NASHVILLE, TN 37216                   HOUSTON, TX 77025                   HOUSTON, TX 77025




JUSTIN FLESNER                        JUSTIN FOOTE                        JUSTIN FOREMASTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




JUSTIN FORMAN                         JUSTIN FOX                          JUSTIN FUTRAL
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025
JUSTIN GALLOWAY        Case 18-12241-CSS     Doc 26
                                      JUSTIN GARCIA      Filed 10/05/18   PageJUSTIN
                                                                               891 GORDON
                                                                                     of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN GORDON                         JUSTIN GRAVES                           JUSTIN GUENTHER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN HAGENBUCH                      JUSTIN HANSEN                           JUSTIN HANSEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN HATFIELD                       JUSTIN HATHCOAT                         JUSTIN HATHCOAT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN HUGHES                         JUSTIN IVAN FICKLIN                     JUSTIN J SMITH
10201 S. MAIN STREET                  189 TYLER RIDGE                         3284 FLORAL DR
HOUSTON, TX 77025                     JONESBORO, GA 30238                     NORTH HIGHLANDS, CA 95660




JUSTIN JACKSON                        JUSTIN JACKSON                          JUSTIN JACOBSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN JENKINS                        JUSTIN KAMONT                           JUSTIN KEANE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN KEEFER                         JUSTIN KOCHIK                           JUSTIN L BISHOP
10201 S. MAIN STREET                  10201 S. MAIN STREET                    71 HIGHLAND POINTE CIR
HOUSTON, TX 77025                     HOUSTON, TX 77025                       LEXINGTON, KY 40512-4059




JUSTIN LARSON                         JUSTIN LAWSON                           JUSTIN LEFKOWITZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN LEONARD                        JUSTIN LEWIS                            JUSTIN LINDBOE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
JUSTIN LUNSFORD        Case 18-12241-CSS
                                      JUSTIN MDoc 26
                                               GATES      Filed 10/05/18   PageJUSTIN
                                                                                892 M ofOUELLETTE
                                                                                         1739
10201 S. MAIN STREET                   181 BOSTON POST RD LOT 27               3988 CLIFF GLEN COURT NW
HOUSTON, TX 77025                      MARLBOROUGH, MA 01752                   LILBURN, GA 30047




JUSTIN MANAGEMENT, INC.                JUSTIN MAYHAN                           JUSTIN MCCALMAN
1235 BROADWAY                          10201 S. MAIN STREET                    10201 S. MAIN STREET
NEW YORK, NY 10001                     HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN MCCARTNEY                       JUSTIN MCCLURE                          JUSTIN MCDOWELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN MCGINNIS                        JUSTIN MCNUTT                           JUSTIN MEO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN MIKULICH                        JUSTIN MINNICH                          JUSTIN MOFFETT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN MORGAN                          JUSTIN MURPHY                           JUSTIN NIEBUDEK
10201 S. MAIN STREET                   2111 HOLLY HILL LN                      10201 S. MAIN STREET
HOUSTON, TX 77025                      CARROLLTON, TX 75007                    HOUSTON, TX 77025




JUSTIN OPRANDY                         JUSTIN OUELLETTE                        JUSTIN OXENDINE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN PATTERSON                       JUSTIN PEARSON                          JUSTIN POWELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN PREVITI                         JUSTIN RADA                             JUSTIN RAND
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN SALVAGGIO                       JUSTIN SAMPSON                          JUSTIN SANDEFUR
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
JUSTIN SCOTT             Case 18-12241-CSS      Doc 26
                                        JUSTIN SEARS        Filed 10/05/18   PageJUSTIN
                                                                                  893 SHROPSHIRE
                                                                                        of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN SINGH                             JUSTIN SMITH                            JUSTIN SMITH
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN SMITH                             JUSTIN SMITH                            JUSTIN SPADARO
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN SYKES                             JUSTIN T BOWMAN                         JUSTIN TAYLOR
10201 S. MAIN STREET                                                             10201 S. MAIN STREET
HOUSTON, TX 77025                                                                HOUSTON, TX 77025




JUSTIN THOMAS                            JUSTIN TOLENTINO                        JUSTIN TROFHOLZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN UNDERWOOD                         JUSTIN VIDI                             JUSTIN VINTON
502 CHURCH ST E APT202                   10201 S. MAIN STREET                    10201 S. MAIN STREET
BRENTWOOD, TN 37027                      HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN WALLS                             JUSTIN WHISENANT                        JUSTIN WILIAMS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN WILLIAMS                          JUSTIN WILLIAMS                         JUSTIN WISE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTIN WRIGHT                            JUSTINA GASSERA                         JUSTINA LOADHOLT
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTINE CHANTHAMANY                      JUSTINE MARTIN                          JUSTINE NEIRO
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025
JUSTON BIBBY              Case 18-12241-CSS
                                         JUSTUS Doc 26
                                                HORTON      Filed 10/05/18   PageJUSTUS
                                                                                  894 of  1739
                                                                                        SPILLNER
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




JUSTYN SCOTT SAMWAYS                     JUSTYN SUKOVICH                         JUVENTINA CALDERON
2305 PARADISE CANYON                     10201 S. MAIN STREET                    2557 HEBRON AVE
PEARLAND, TX 77584                       HOUSTON, TX 77025                       SAN JOSE, CA 95121




JVARTA INC                               JVC MEDIA LLC                           JW BOYD
12775 MILLENNIUM DR 429                  3075 VETERANS MEMORIAL HWY 201          10201 S. MAIN STREET
LOS ANGELES, CA 90094                    RONKONKOMA, NY 11779                    HOUSTON, TX 77025




JW OXFORD PLAZA PARTNERS LLC             JW PROPERTIES                           JW SAN MARCOS PROPERTIES, LLC
ATTN: JEFF WEISS                         PO BOX 93158                            ATTN: JEFF WEISS
PO BOX 261425                            AUSTIN, TX 78709-3158                   16661 HUERTA ROAD
ENCINO, CA 91426                                                                 ENCINO, CA 91436




JW SAN MARCOS PROPERTIES, LLC            JWC MANAGEMENT LP                       JWMS, LLC
PO BOX 261425                            500 TOTTEN POND RD 6TH FL               3328 W FRANKLIN ST
ENCINO, CA 91426                         WALTHAM, MA 02451                       RICHMOND, VA 23221




JWMS, LLC                                JWMS, LLC                               JWMS, LLC
C/O HARRISON & BATES INC                 C/O HARRISON & BATES INC                C/O HARRISON & BATES INC
7200 GLEN FOREST DR STE 200              7200 GLEN FOREST DR., SUITE 200         7200 GLEN FOREST DR., SUITE 200
RICHMOND, VA 23226                       RICHMOND, VA 23226                      RICHMOND, VA 23230




JWW LLC OF CHANTILLY                     K & J F TRUCKING AND LOGISTICS          K & L GATES LLP
8391 OLD COURTHOUSE RD STE 210           81 KNIGHT RD                            K& L GATES CENTER
VIENNA, VA 22182                         SILVER LAKE, NH 03875                   210 6TH AVE
                                                                                 PITTSBURGH, PA 15222-2613




K & L GATES LLP                          K & N DELIVERY                          K D HOOVER, LLC
RCAC 925 4TH AVE SUITE 2900              6231 ST LEONARD DR                      P.O. BOX 6203
SEATTLE, WA 98104-1158                   ARLINGTON, TX 76001                     DEPT CODE:J SALH1587/LMATTFI00
                                                                                 HICKSVILLE, NY 11802-6203




K LION LLC                               K LION LLC                              K LION LLC
7 WEST 18TH ST 6TH FLOOR                 7 WEST 18TH STREET, 6TH FLOOR           ATTN: LISA SHERWOOD
NEW YORK, NY 10011                       ATTN: LISA SHERWOOD                     7 WEST 18TH STREET, 6TH FLOOR
                                         NEW YORK, NY 10011                      NEW YORK, NY 10011




K LION LLC                               K&G EQUITIES V LLC                      K&S MANAGEMENT & INVESTMENT, LLC
ATTN: MORWENNA ALLEN                     DBA KAHL & GOVEIA/MAGNOLIA TX LLC       P.O. BOX 1366
7 WEST 18TH STREET, 6TH FLOOR            24855 DEL PRADO                         TUSTIN, CA 92781
NEW YORK, NY 10011                       DANA POINT, CA 92629
                      Case 18-12241-CSS
K&S MANAGEMENT & INVESTMENT, LLC     K. AARONDoc   26 Filed
                                               MOORE          10/05/18   PageK.895 of 1739
                                                                               MICHAEL FITZGERALD TRUSTEE
P.O. BOX 1366                        10201 S. MAIN STREET                    PO BOX 120
TUSTIN, CA 92781-1366                HOUSTON, TX 77025                       MEMPHIS, TN 38101-0120




K.C AGHOGHOVBIA                      K.K.W. TRUCKING                         K2 CONTRACTING LLC
10201 S. MAIN STREET                 P.O. BOX 2960                           THE UPS STORE-BOX 331
HOUSTON, TX 77025                    POMONA, CA 91769-2960                   1205 JOHNSON FERRY RD STE 136
                                                                             MARIETTA, GA 30068




KA SKOKIE LLC                        KABORE, STACIE                          KAC SOUTH ELGIN, LLC
KEELER RE LLC                        18755 SANDELFORD DR.                    P.O. BOX 1243
350 W HUBBARD ST STE 620             KATY, TX 77449                          NORTHBROOK, IL 60065
CHICAGO, IL 60654




KACI COLLINS                         KACI HATLEY                             KACI L COLLINS
10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025




KACI SIMS                            KACY BOGGS                              KACY ELLIS
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




KADARRIUS LAWRENCE                   KADE KINSINGER                          KADE NILSON
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




KADE REED                            KADEE KADRLIK                           KADEEM GODDARD
1601 E SLAUGHTER LN APT 397          10201 S. MAIN STREET                    10201 S. MAIN STREET
AUSTIN, TX 78747                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KADEEM SAMUELS                       KADEN CARDONA-SCOTT                     KADEN GRAVATT
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




KADEN NGUYEN                         KADIDJA KONE                            KADIJAH GOOSBY
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




KADIN SHURTZ                         KADISHA DEMPSEY                         KADJE SHUTT
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025
KADRIAN WRIGHT           Case 18-12241-CSS     Doc 26 LLC
                                        KADY PROPERTIES, Filed 10/05/18   PageKAFF-
                                                                               896FMof 1739
10201 S. MAIN STREET                     ATTN: DEBBIE SEEMAN                  1117 W RTE 66
HOUSTON, TX 77025                        1918 LA POSTA RD                     FLAGSTAFF, AZ 86001
                                         CAMPO, CA 91906




KAFX-FM                                  KAHILT CORPORATION                   KAHL & GOVEIA/MAGNOLIA TEXAS LLC
TOWNSQUARE MEDIA                         1023 CASHARINA RD                    24855 DEL PRADO
PO BOX 301018                            DELRAY BEACH, FL 33483               DANA POINT, CA 92629
DALLAS, TX 75303-1018




KAHL & GOVEIA/MAGNOLIA TEXAS LLC         KAHLIL CARAZO                        KAHN FAMILY TRUST
27750 STANSBURY, SUITE 200               10201 S. MAIN STREET                 1200 GOUGH ST STE 900
FARMINGTON HILLS, MI 48334               HOUSTON, TX 77025                    SAN FRANCISCO, CA 94109




KAI BROWNSTEIN                           KAI HAMLIN                           KAIA BJORBACK
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




KAIJAY DETERMANN                         KAILA GREEN                          KAILASH MEHTA
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




KAILEY SHIELDS                           KAILYN CARITHERS                     KAILYN WILLIAMS
2683 WEST VICTORIAN DR                   10201 S. MAIN STREET                 10201 S. MAIN STREET
RIVERTON, UT 84065                       HOUSTON, TX 77025                    HOUSTON, TX 77025




KAIMAN CARPENTER                         KAIM-FM                              KAINAT IQBAL
10201 S. MAIN STREET                     SALEM MEDIA OF HAWAII INC            15000 W-AIRPORT BLVD APT 1637
HOUSTON, TX 77025                        1160 N KING ST 2ND FL                SUGAR LAND, TX 77498
                                         HONOLULU, HI 96817




KAISER ELECTRIC, INC                     KAISER FOUNDATION HEALTH PLAN        KAISER FOUNDATION HEALTH PLAN
1552 FENCORP DRIVE                       FILE 5915                            MEMB.ADMIN-GROUP
FENTON, MO 63026                         LOS ANGELES, CA 90074-5915           PO BOX 29080
                                                                              HONOLULU, HI 96820




KAISER FOUNDATION HEALTH PLAN            KAISER FOUNDATION HEALTH PLAN        KAISER PERMANENTE
PO BOX 23448                             PO BOX 80204                         KAISER FOUNDATION HEALTH PLAN
SAN DIEGO, CA 92193-3448                 LOS ANGELES, CA 90080-0204           PO BOX 34178
                                                                              SEATTLE, WA 98124-1178




KAISIE WHITMORE                          KAITLIN BROWN                        KAITLIN CHANDLER
PO BOX 202                               10201 S. MAIN STREET                 10201 S. MAIN STREET
EXCELSIOR SPRINGS, MO 64024              HOUSTON, TX 77025                    HOUSTON, TX 77025
KAITLIN HELSEN         Case 18-12241-CSS      Doc 26
                                      KAITLIN KELLY       Filed 10/05/18   PageKAITLIN
                                                                                897 of   1739
                                                                                       M GOODMAN
3727 ADAMS RD                          316 HIGHLAND AVE                        5775 WHISPERING PINE CT
RAVENNA, MI 49451                      UPPER DARBY, PA 19082                   CASTRO VALLEY, CA 94552




KAITLYN ARMSTRONG                      KAITLYN CORONADO                        KAITLYN DEGRE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KAITLYN HALL                           KAITLYN RYAN                            KAITLYN STONE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KAITLYN STUDLEY                        KAITLYN STUDLEY                         KAITY KENNY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KAJA-FM                                KAKE COMBO                              KAKS-FM
PO BOX 847572                          PO BOX 14200                            HOG RADIO INC
DALLAS, TX 75284                       TALLAHASSEE, FL 32317                   PO BOX 191
                                                                               BERRYVILLE, AR 72616




KAL BHAKRI                             KALAMAZOO COUNTY                        KALEB GILLESPIE
10201 S. MAIN STREET                   201 W KALAMAZOO AVE                     10201 S. MAIN STREET
HOUSTON, TX 77025                      KALAMAZOO, MI 49007                     HOUSTON, TX 77025




KALEIGH WAGNER                         KALEY CUTTONE                           KALORA INTERIORS INTERNATIONAL
10201 S. MAIN STREET                   173 FAIRWAY RD                          PO BOX 533
HOUSTON, TX 77025                      LAKE ZURICH, IL 60047                   3 WATER ST
                                                                               ST JACOBS, ON N0B 2N0
                                                                               CANADA



KAMAL ADENI                            KAMAL ADENI                             KAMAY MCCARTHY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KAMEL SHERROD                          KAMERON FINNEY                          KAMERON JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KAMERON JOHNSON                        KAMERON ROBINSON                        KAMERON TORRES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
KAMESHA FALANA           Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                        KAMG MANAGEMENT                       PageKAMI
                                                                                   898HANSEN
                                                                                        of 1739
1124 HARP ST.                           3620 100TH ST. SW, SUITE A                10201 S. MAIN STREET
RALEIGH, NC 27604                       LAKEWOOD, WA 98499                        HOUSTON, TX 77025




KAMIL QURESHI                           KAMILA SZCZEPANIEC                        KAMISHA HICKEY
10201 S. MAIN STREET                    144 AMBROISE                              10201 S. MAIN STREET
HOUSTON, TX 77025                       NEWPORT COAST, CA 92657                   HOUSTON, TX 77025




KAMLESH BHAKTA                          KAMRAN ASSADI                             KAMRAN GULALIYEV
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




KAMRAN MALEKAN                          KAMREN HERNANDEZ                          KAMUELA KANESHIRO
PO BOX 620712                           10201 S. MAIN STREET                      10201 S. MAIN STREET
LITTLE NECK, NY 11362                   HOUSTON, TX 77025                         HOUSTON, TX 77025




KAMX TV                                 KAMX-FM                                   KANA KENT
4301 WESTBANK DR B-300                  ENTERCOM AUSTIN LLC                       2193 MANGUM RD
AUSTIN, TX 78746                        4301 WESTBANK DR B-300                    MEMPHIS, TN 38134
                                        AUSTIN, TX 78746




KANAWHA COUNTY TAX DIVISION             KANAWHA INSURANCE COMP.                   KANCOV INV LP
409 VIRGINIA ST E ROOM 120              PO BOX 371494                             27750 STANSBURY, SUITE 200
CHARLESTON, WV 25301-2595               PITTSBURGH, PA 15250-7494                 FARMINGTON, MI 48334




KANCOV INVESTMENT LIMITED               KANCOV INVESTMENT LIMITED                 KANCOV INVESTMENT LIMITED
PARTNERSHIP                             PARTNERSHIP                               PARTNERSHIP
27720 STANSBURY, SUITE 200              27750 STANSBURY, SUITE 200                27750 STANSBURY, SUITE 200
FARMINGTON HILLS, MI 48334              FARMINGTON HILLS, MI 48334                FARMINGTON, MI 48334




KANCOV INVESTMENT LP                    KANDACE SEMON                             KANDICE LEE
27750 STANSBURY, SUITE 200              10201 S. MAIN STREET                      10201 S. MAIN STREET
FARMINGTON HILLS, MI 48334              HOUSTON, TX 77025                         HOUSTON, TX 77025




KANDY AGBLEDZO                          KANDYCE ARNOLD                            KANE COUNTY COUGARS
10201 S. MAIN STREET                    5245 SWEETWATER DR                        34W002 CHERRY LANE
HOUSTON, TX 77025                       INDIANAPOLIS, IN 46235                    GENEVA, IL 60134




KANE REALTY CORPORATION                 KANE REALTY CORPORATION                   KANE RUSSELL COLEMAN & LOGAN PC
PAM SMITH                               PAM SMITH                                 ATTN: KAREN A. COX
4321 LASSITER AT NORTH HILLS AVENUE     4321 LASSITER AT NORTH HILLS AVENUE       1601 ELM STREET, SUITE 3700
SUITE 250                               SUITE 250                                 DALLAS, TX 75201
RALEIGH, NC 27609                       RALEIGH, NC 27675-6128
KANE RUSSELL COLEMAN &Case
                       LOGAN18-12241-CSS
                                      KANEESHADoc   26 Filed
                                                 BAKER            10/05/18   PageKANETRIA
                                                                                  899 of HUTCHERSON
                                                                                          1739
3700 THANKSGIVING TOWER               10201 S. MAIN STREET                       10201 S. MAIN STREET
1601 ELM STREET                       HOUSTON, TX 77025                          HOUSTON, TX 77025
ATTN: MR. ROBERT RIEK
DALLAS, TX 75201



KANKAKEE VALLEY PUBLISHIN               KANNA PERROT                             KANSAS CITY BOARD OF PUBLIC UTILITIES
PO BOX 616                              10201 S. MAIN STREET                     540 MINNESOTA AVENUE
WEST FRANKFORT, IL 62896                HOUSTON, TX 77025                        KANSAS CITY, KS 66101




KANSAS CITY BOARD OF PUBLIC UTILITIES   KANSAS CITY FIRE AND SECURITY LLC        KANSAS CITY POWER & LIGHT
P.O. BOX 219661                         901 E LOULA ST                           P.O. BOX 219330
KANSAS CITY, MO 64121-9661              OLATHE, KS 66061                         KANSAS CITY, MO 64121-9330




KANSAS CITY POWER & LIGHT               KANSAS DEPARTMENT OF LABOR               KANSAS DEPARTMENT OF REVENUE
P.O. BOX 219703                         PO BOX 400                               915 SW HARRISON STREET
KANSAS CITY, MO 64121-9703              TOPEKA, KS 66601-0400                    TOPEKA, KS 66625-2000




KANSAS DEPT OF REVENUE                  KANSAS DEPT OF REVENUE                   KANSAS EXPRESSWAY CENTER LLC
915 SW HARRISON ST                      PO BOX 12005                             715 W. TAMPA
TOPEKA, KS 666121588                    TOPEKA, KS 66612-2005                    SPRINGFIELD, MO 65802




KANSAS FIRE EQUIP CO INC                KANSAS GAS SERVICE                       KANSAS MOORE WATER TREATMENT INC
123 S OSAGE                             P.O. BOX 219046                          241 N HYDRAULIC
WICHITA, KS 67213                       KANSAS CITY, MO 64121-0946               WICHITA, KS 67214




KANSAS STATE FAIR                       KANTAR MEDIA SRDS                        KANTOLA PRODUCTIONS
2000 N POPLAR                           PO BOX 789556                            55 SUNNYSIDE AVE
HUTCHINSON, KS 67502                    PHILADELPHIA, PA 19178-9556              MILL VALLEY, CA 94941-1935




KANTON WILLIAMS                         KANZHONGGUO ASSOCIATES INC               KAPIL REDDY
10201 S. MAIN STREET                    VISION TIMES                             10201 S. MAIN STREET
HOUSTON, TX 77025                       4 WEST 43RD ST STE 311                   HOUSTON, TX 77025
                                        NEW YORK, NY 10036




KAPIOLANI D.C., INC.                    KAPIOLANI DC INC.                        KAPLAN KAPLAN & SHAPIN
725 KAPIOLANI BOULEVARD, SUITE C-109    725 KAIOLANI BLVD C-109                  C/O THE CAPITAL REALTY CORP.
HONOLULU, HI 96813                      HONOLULU, HI 96813                       7101 SHARONDALE COURT, SUITE 600
                                                                                 BRENTWOOD, TN 37027




KAPLAN PAPADAKIS & GOURNIS, P.C.        KAPOLEI SHOPS, LLC                       KAPOLEI SHOPS, LLC
ATTN: DEAN J. PAPADAKIS                 220 S KING ST STE 1800                   ATTN: TRANSACTION PROCESSING
180 NORTH LASALLE STREET, SUITE 2108    HONOLULU, HI 96813                       PO BOX 1120
CHICAGO, IL 60601                                                                HONOLULU, HI 96807-1120
KAPOLEI SHOPS, LLC      Case 18-12241-CSS
                                       KAPP Doc 26       Filed 10/05/18   PageKAPRESHA
                                                                               900 of 1739
                                                                                       CLARK
C/O COLLIERS INTERNATIONAL HI, LLC     PO BOX 749907                          10201 S. MAIN STREET
220 SOUTH KING STREET, SUITE 1800      LOS ANGELES, CA 90074-9907             HOUSTON, TX 77025
ATTN: MARK D. BRATTON
HONOLULU, HI 96813



KAR WAI CHU                            KARA B. SHEPHERD                       KARA CHUSKA
10201 S. MAIN STREET                   1007 MEADOWBROOK RD                    10514 ROOSEVELT DR
HOUSTON, TX 77025                      MURFREESBORO, TN 37129                 KING GEORGE, VA 22485




KARA NICHOLSON                         KARA RATCLIFF                          KARA VELLUCCI
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




KARAMVIR KAUR                          KARAS KIRIE PROPERTIES, LLC            KAREE A ISHMAEL
10201 S. MAIN STREET                   714 HUNTER RD                          11564 W SCHLEIFER DR
HOUSTON, TX 77025                      GLENVIEW, IL 60025                     YOUNGTOWN, AZ 85363




KAREEM BENNETT                         KAREEM JONES                           KAREEM SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




KAREEN BALSAM                          KAREENA HAWKINS                        KAREN ALLEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




KAREN ALLEN                            KAREN BARNES                           KAREN BELL
10201 S. MAIN STREET                   2007 QUAIL RIDGE RD                    1206 DUVALL DR
HOUSTON, TX 77025                      ANDERSON, SC 29625                     KILLEEN, TX 75641




KAREN BENNETT                          KAREN BOLICK                           KAREN CALCAGNO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   PO BOX 62
HOUSTON, TX 77025                      HOUSTON, TX 77025                      SOQUEL, CA 95073




KAREN CALVELLO-LANG                    KAREN CHEN                             KAREN CHUY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




KAREN CLAYTON                          KAREN CURTO                            KAREN E HUNTER
614 CALIFORNIA ST                      2916 S PEABODY ST                      2782 SADDLE HORN PL
COLUMBUS, IN 47201                     PORT ANGELES, WA 98362                 SNELLVILLE, GA 30039
KAREN FREITAS           Case 18-12241-CSS     Doc 26
                                       KAREN HIGGINS       Filed 10/05/18   PageKAREN
                                                                                 901 HITZEMANN
                                                                                      of 1739
2143 LINCOLN AVE                       17851 N 17TH ST                          113 DERBYSHIRE DRIVE
ALAMEDA, CA 94501                      PHOENIX, AZ 85022                        BELLEVILLE, IL 62226




KAREN JOY HAYASHI                      KAREN KELLAWAY                           KAREN KLINE
293 WINDTREE AVE                       5625 TWITTY ST                           10201 S. MAIN STREET
THOUSAND OAKS, CA 91320                THE COLONY, TX 75056                     HOUSTON, TX 77025




KAREN MCCANDLESS                       KAREN MCENTEE                            KAREN MEJIA
4914 SURREY PARK CIRCLE                10201 S. MAIN STREET                     10201 S. MAIN STREET
KATY, TX 77494                         HOUSTON, TX 77025                        HOUSTON, TX 77025




KAREN MILLER                           KAREN MITCHELL                           KAREN MOORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     103 PARKWAY DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                        WILLOW PARK, TX 76087




KAREN OWENS                            KAREN PAGNAC                             KAREN PROZNIK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KAREN PROZNIK                          KAREN PRUSA                              KAREN RECCHIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KAREN ROBERTS                          KAREN ROMAN                              KAREN SALCE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KAREN SCOTT                            KAREN THOMAS                             KAREN WYATT
10201 S. MAIN STREET                   10201 S. MAIN STREET                     C/O PHILLIPS LAW FIRM
HOUSTON, TX 77025                      HOUSTON, TX 77025                        ATTN: JASON MURPHY
                                                                                17410 133RD AVENUE NE, SUITE 301
                                                                                WOODINVILLE, WA 98072



KARI HILL                              KARI MCGLINN                             KARI NAUGHTON
10201 S. MAIN STREET                   7933 PINE LAKE RD                        10201 S. MAIN STREET
HOUSTON, TX 77025                      INDIANAPOLIS, IN 46268                   HOUSTON, TX 77025




KARIBLUE LLC                           KARIBLUE LLC                             KARIE LAKE
105 E. VICTORIA COURT, SUITE D         PO BOX 573                               10201 S. MAIN STREET
GREENVILLE, NC 27858                   GREENVILLE, NC 27835                     HOUSTON, TX 77025
KARIM MANSOUR             Case 18-12241-CSS     Doc
                                         KARIME A    26 Filed 10/05/18
                                                  DECKER                 PageKARIME
                                                                              902 of  1739
                                                                                    WELLINGTON
10201 S. MAIN STREET                     11100 NEWCASTLE AVE                 10201 S. MAIN STREET
HOUSTON, TX 77025                        GRANADA HILLS, CA 91344             HOUSTON, TX 77025




KARIN ABRAHAMMSON                        KARIN DRIGGERS                      KARIN LYNN FULLINGTON
1212 LOUISANA ST. APT 6                  10201 S. MAIN STREET                205 RICHMOND RUN
LAWRENCE, KS 66044                       HOUSTON, TX 77025                   STEM, NC 27581




KARIN TERRY                              KARINA ACEVEDO                      KARINA ENRIQUEZ
10110 S 3345 W                           10201 S. MAIN STREET                10201 S. MAIN STREET
SOUTH JORDAN, UT 84095                   HOUSTON, TX 77025                   HOUSTON, TX 77025




KARINA ESPINOSA SANTIAGO                 KARINA MELLADO                      KARINA S RODRIGUEZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




KARINA TRISTAN                           KARINDA FLOYD                       KARIS KREMER
4932 FLIPPER DR                          10201 S. MAIN STREET                10201 S. MAIN STREET
SAN ANTONIO, TX 78238                    HOUSTON, TX 77025                   HOUSTON, TX 77025




KARL BURDETTE                            KARL BURGNER                        KARL FULK
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




KARL KAHLAN                              KARL KAHLAN                         KARL STRUTZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




KARL THIEL                               KARL ZOELLICK                       KARLA ALVARADO
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




KARLA DAUBNEY                            KARLA NIPPER                        KARLA RUIZ
1473 DELBYDON WAY                        10201 S. MAIN STREET                201 W STARK RD
LEWISTON, ID 83501                       HOUSTON, TX 77025                   SEAGOVILLE, TX 75159




KARLA SANTACRUZ                          KARLA TORUNO-TROAST                 KARLEY MULLIKIN
12201 YORBA AVE                          5887 VIA LAS NUBES                  4406 FAYETTE DR
CHINO, CA 91710                          RIVERSIDE, CA 92506                 LUTZ, FL 33559
KARLIE RAE            Case    18-12241-CSS     Doc 26
                                        KARLIN GRAND     Filed
                                                     CANYON LLC 10/05/18        PageKARLOS
                                                                                     903 ofRICHARD
                                                                                             1739
30043 232ND PI SE                        C/O AZ PARTNERS LLC                        10201 S. MAIN STREET
BLACK DIAMOND, WA 98010                  6621 N SCOTTSDALE RD                       HOUSTON, TX 77025
                                         SCOTTSDALE, AZ 85250




KARLOUS FAMILY TRUST                     KARNEZIS PROPERTIES                        KARNEZIS PROPERTIES
C/O MAJ COMMERCIAL REAL ESTATE           17844 HARPER RD                            17844 HARPER ROAD
300 W 15TH STREET, SUITE 201             TINLEY PARK, IL 60487                      TINLEY PARK, IL 60487
ATTN: KATIE PANARRA
VANCOUVER, WA 98660



KARN-FM                                  KAROLIN KESHISHIAN                         KAROLYN GIL
CUMULUS LITTLE ROCK                      2765 PINELAWN DR                           10201 S. MAIN STREET
3643 MOMENTUM PLACE                      LA CRESCENTA, CA 91214                     HOUSTON, TX 77025
CHICAGO, IL 60689-5336




KARON WASHINGTON                         KARRIE FORBES                              KARRIE GARZELLONI
10201 S. MAIN STREET                     10201 S. MAIN STREET                       6663 STINGRAY LN
HOUSTON, TX 77025                        HOUSTON, TX 77025                          COLORADO SPRINGS, CO 80925




KARSTON GRANT                            KARTMAN FIRE PROTECTION SERVICES INC       KARVEL K ROBINSON
10201 S. MAIN STREET                     2206 DARBY RD                              10201 S. MAIN STREET
HOUSTON, TX 77025                        HAVERTOWN, PA 19083                        HOUSTON, TX 77025




KARY-FM                                  KASEY BEST                                 KASEY DONOHOE
PO BOX 2890                              10201 S. MAIN STREET                       10201 S. MAIN STREET
YAKIMA, WA 98907                         HOUSTON, TX 77025                          HOUSTON, TX 77025




KASEY HAWTHORNE                          KASEY RAY                                  KASEY RENFROE
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




KASHAWN JOHNSON                          KASHIF LEWIS                               KASI GUDINO
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




KASI KOCH                                KASSIE DRAPER                              KASTNER & CALVANESE INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                       ATTN: JOSEPH CALVANESE, JR.
HOUSTON, TX 77025                        HOUSTON, TX 77025                          PO BOX 23
                                                                                    PLANTSVILLE, CT 06479




KASTNER & CALVANESE, INC.                KASW-TC                                    KAT COTTON
ATTN: JOSEPH CALVANESE, JR.              PO BOX 101524                              10201 S. MAIN STREET
PO BOX 23                                PASADENA, CA 91189-1524                    HOUSTON, TX 77025
PLANTSVILLE, CT 06479
KAT DELEON             Case 18-12241-CSS     Doc 26
                                      KAT ORTEGA         Filed 10/05/18   PageKAT
                                                                               904  of 1739
                                                                                  SALMON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KAT WALLEN                            KATALYN WIGGINS                         KATE BANKS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KATE IKENWE                           KATE TAYLOR                             KATE VAUGHAN SMITH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KATELIN GONZALES                      KATELYN BELL                            KATELYN BILLMYER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    151 PECAN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                       DALEVILLE, AL 36322




KATELYN BOLDUC                        KATELYN BYERS                           KATELYN FARRELL
153 CLINTON AVE                       10201 S. MAIN STREET                    4555 VANDEVER AVE APT 5B
WATERVILLE, ME 04901                  HOUSTON, TX 77025                       SAN DIEGO, CA 92120




KATELYN MILLER                        KATELYN ROSA                            KATELYNN DAVIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KATHERINE ALANIZ                      KATHERINE BRENTANO                      KATHERINE CARAVANTES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KATHERINE CHAPMAN                     KATHERINE DADCI                         KATHERINE FOSTER
2614 HUTTON LANE                      4945 SEAVIEW AVE                        8 BENTWOOD PL
LEANDER, TX 78641                     CASTRO VALLEY, CA 94546                 DURHAM, NC 27703




KATHERINE GEORGE                      KATHERINE GRAY                          KATHERINE HARTMAN
10201 S. MAIN STREET                  9217 W SHELTERWOOD DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                     BOISE, ID 83709                         HOUSTON, TX 77025




KATHERINE HATZIEFSTATHIOU             KATHERINE JENNIGS                       KATHERINE KALEI
712 CEAR GROVE RD                     244 WHITE DR                            10201 S. MAIN STREET
BROOMALL, PA 19008                    SIMPSONVILLE, SC 29681                  HOUSTON, TX 77025
KATHERINE MALLING         Case 18-12241-CSS    Doc
                                         KATHERINE   26 Filed 10/05/18
                                                   MARTINEZ              PageKATHERINE
                                                                              905 of 1739
                                                                                       MARTINEZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




KATHERINE MILLER                         KATHERINE MORELLI                   KATHERINE ORTIZ
1312 FULTON DR NW APT B                  240 HOLLYRIDGE DR                   10201 S. MAIN STREET
CANTON, OH 44703                         ROSWELL, GA 30076                   HOUSTON, TX 77025




KATHERINE PIZARRO                        KATHERINE TURNEY                    KATHERY LOBAINA
10201 S. MAIN STREET                     10201 S. MAIN STREET                12776 NW 102 CT.
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HIALEAH, FL 33018




KATHI KLUNA                              KATHIE RUBERTO                      KATHLEEN BLESSING
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




KATHLEEN BOLINGER                        KATHLEEN BROHAWN                    KATHLEEN BROWN
2802 SUNNYSIDE AVE                       10201 S. MAIN STREET                10201 S. MAIN STREET
NEW CASTLE, IN 47362                     HOUSTON, TX 77025                   HOUSTON, TX 77025




KATHLEEN FRATI                           KATHLEEN GAGLIOTTI                  KATHLEEN GATELY
DBA K & J F TRUCKING AND LOGISTICS       10201 S. MAIN STREET                531 SYMMES
81 KNIGHT RD                             HOUSTON, TX 77025                   NORMAN, OK 73069
SILVER LAKE, NH 03875




KATHLEEN HANCOCK                         KATHLEEN HAZEN HARRIS               KATHLEEN MORAN & COMPANY
10201 S. MAIN STREET                     6991 SARATOGA CT                    DBA MIRACLE SLEEP
HOUSTON, TX 77025                        SUMMERFIELD, NC 27358               11 LLOYD RD
                                                                             HO HO KUS, NJ 07423




KATHLEEN R DAGOSTINO                     KATHLEEN RANDLE                     KATHLEEN RUSSELL
1836 RIVERWOOD DR                        10201 S. MAIN STREET                10201 S. MAIN STREET
BURNSVILLE, MN 55337                     HOUSTON, TX 77025                   HOUSTON, TX 77025




KATHLEEN SHEAFFER                        KATHLEEN SPAGNA                     KATHLEEN STAUDENMAIER
713 RINCON HILL RD                       10201 S. MAIN STREET                2080 S JOSEPHINE APT2
CARPINTERIA, CA 93013-3146               HOUSTON, TX 77025                   DENVER, CO 80210




KATHLEEN SULLIVAN                        KATHLEEN WALKER                     KATHON ROBINSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025
KATHRYN BERGMAN         Case 18-12241-CSS    Doc
                                       KATHRYN    26 Filed 10/05/18
                                               BROOKS                 PageKATHRYN
                                                                           906 ofCALDEIRA
                                                                                  1739
10201 S. MAIN STREET                   5870 SEBRING CT APT A              10201 S. MAIN STREET
HOUSTON, TX 77025                      INDIANAPOLIS, IN 46254             HOUSTON, TX 77025




KATHRYN D WILLIAMS                     KATHRYN EWING                      KATHRYN FOX
3324 CARIBBEAN DR                      2428 HIBISCUS ST                   10201 S. MAIN STREET
MESQUITE, TX 75150                     SARASOTA, FL 34239                 HOUSTON, TX 77025




KATHRYN HARRISON                       KATHRYN HOWE                       KATHRYN JACKSON
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




KATHRYN LUPTON                         KATHRYN MARTIN                     KATHRYN NEMUNAITIS
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




KATHRYN ROGERS                         KATHRYN RUSSELL                    KATHRYN SARTEN
10201 S. MAIN STREET                   10201 S. MAIN STREET               DBA CHICO STAGE LIGHTING CO
HOUSTON, TX 77025                      HOUSTON, TX 77025                  100 LANDMARK DR
                                                                          CHICO, CA 95973




KATHRYN SIEGLING                       KATHRYN THORNTON                   KATHY BALESTRI
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




KATHY BAUER                            KATHY COHEN                        KATHY D CAMPBELL
10201 S. MAIN STREET                   10201 S. MAIN STREET               21726 CRESCENT HEIGHTS ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  SPRING, TX 77388




KATHY DAWSON                           KATHY GILLS                        KATHY H. STARKEY-STARKEY ASSOCIATES
3656 WAGON WHEEL RD                    2384 COWLEY WAY                    190 COUNTY ROAD 173
ROCKY MOUNT, NC 27804                  SAN DIEGO, CA 92110                WESTCLIFFE, CO 81252




KATHY HARRIS                           KATHY JOHNSON                      KATHY NGUYEN
6991 SARATOGA CT                       10201 S. MAIN STREET               10201 S. MAIN STREET
SUMMERFIELD, NC 27358                  HOUSTON, TX 77025                  HOUSTON, TX 77025




KATHY NILES-GLANS                      KATHY NORBERTE-SMITH               KATHY PHILLIPS
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025
KATHY POSNER            Case   18-12241-CSS     Doc 26 Filed 10/05/18
                                         KATHY STANBERRY                PageKATHY
                                                                             907 WITEK
                                                                                  of 1739
1221 N. DEARBORN APT. 1003S              10201 S. MAIN STREET               10201 S. MAIN STREET
CHICAGO, IL 60610                        HOUSTON, TX 77025                  HOUSTON, TX 77025




KATIA MELO                               KATIE ALVERSON                     KATIE BDEIR
32 MARIE HA ST                           10201 S. MAIN STREET               10201 S. MAIN STREET
EAST PROVIDENCE, RI 02914                HOUSTON, TX 77025                  HOUSTON, TX 77025




KATIE BRIETZKE                           KATIE BUZZELL                      KATIE CRUMP
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




KATIE FOSTER                             KATIE HENSCHEN                     KATIE HOWE
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




KATIE JIMENEZ                            KATIE KARAGIANNES                  KATIE LONG
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




KATIE LONG                               KATIE MACARTHUR                    KATIE MCFADDEN
10201 S. MAIN STREET                     326 N SIERRA BONITA AVE            10201 S. MAIN STREET
HOUSTON, TX 77025                        LOS ANGELES, CA 90036              HOUSTON, TX 77025




KATIE MONIQUE SPIVEY                     KATIE MOORE                        KATIE MOORE
1703 EL NINO ST                          10201 S. MAIN STREET               10201 S. MAIN STREET
LADY LAKE, FL 32162                      HOUSTON, TX 77025                  HOUSTON, TX 77025




KATIE ROBINETTE                          KATIE ROBINETTE                    KATIE SMITH-MYERS
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




KATIE TURNER                             KATIE TYRONE                       KATIE UNKS
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




KATIE VAN                                KATIE WHIGHAM                      KATII SHEFFIELD
10201 S. MAIN STREET                     1216 HAMMOCK SHADE DR              10201 S. MAIN STREET
HOUSTON, TX 77025                        LAKELAND, FL 33809                 HOUSTON, TX 77025
KATINA RICHARDS          Case 18-12241-CSS     Doc
                                        KATIUSKA    26 Filed 10/05/18
                                                 VANCOL                   PageKATM-FM
                                                                               908 of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                  KATM FM
HOUSTON, TX 77025                       HOUSTON, TX 77025                     3656 MOMENTUM PLACE
                                                                              CHICAGO, IL 60689-5336




KATRICE A MARTIN                        KATRINA CRIST                         KATRINA DENMAN
2116 SHALLCROSS ST                      10201 S. MAIN STREET                  10201 S. MAIN STREET
PHILADELPHIA, PA 19124                  HOUSTON, TX 77025                     HOUSTON, TX 77025




KATRINA GALLEGOS                        KATRINA GARDNER                       KATRINA HATCHER
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




KATRINA LAWRENCE                        KATRINA MICHELLE DELEON               KATRINA SIMONE BORDERS
10201 S. MAIN STREET                    1185 BRIGHTON AVE                     1428 SW SUMMIT WOODS DR APT 1
HOUSTON, TX 77025                       GROVER BEACH, CA 93433                TOPEKA, KS 66615




KATRINA TINGLE                          KATRINA TRINIDAD                      KATS-FM
280 SUGAR BUSH LN S                     10201 S. MAIN STREET                  4010 SUMMITVIEW AVE
BROWNSBURG, IN 46112                    HOUSTON, TX 77025                     YAKIMA, WA 98908




KATSION LLC                             KATT-FM                               KATTY ORTIZ
305 MORVEN PARK CT RD                   CUMULUS OKLAHOMA CITY                 10201 S. MAIN STREET
LEESBURG, VA 20176                      3649 MOMENTUM PLACE                   HOUSTON, TX 77025
                                        CHICAGO, IL 60689-5336




KATW-FM                                 KATY 101.3 FM                         KATY HUGHES
403 CAPITAL ST                          27431 ENTERPRISE CIR W STE 101        10201 S. MAIN STREET
LEWISTON, ID 83501                      TEMECULA, CA 92590                    HOUSTON, TX 77025




KATY MILLS                              KATZ PROPERTIES LLC                   KATZ, BARRON, SQUITERO, FAUST,
10201 S. MAIN STREET                    254 WEST 31ST STREET, 4TH FLOOR       FRIEDBERG, ET AL
HOUSTON, TX 77025                       NEW YORK, NY 10001                    ATTN: HOWARD L. FRIEDBERG
                                                                              2699 SOUTH BAYSHORE DRIVE, 7TH FLOOR
                                                                              MIAMI, FL 33133



KAUAI ISLAND UTILITY COOP               KAUAI ISLAND UTILITY COOP             KAUAI ISLAND UTILITY
4463 PAHEE ST                           P.O. BOX 29440                        P.O. BOX 29440
STE 1                                   HONOLULU, HI 96820-1840               HONOLULU, HI 96820-1840
LIHUE, HI 96766-2000




KAUFMAN COUNTY TAX OFFICE               KAUFMAN COUNTY TAX OFFICE             KAVASH DORAN
ATTN: PROPERTY TAX DEPT.                ATTN: TAX COLLECTOR                   10201 S. MAIN STREET
PO BOX 339                              PO BOX 339                            HOUSTON, TX 77025
KAUFMAN, TX 75142-0339                  KAUFMAN, TX 75142-0339
KAVON LARREGUI         Case 18-12241-CSS
                                      KAWAIN Doc
                                             RILEY 26     Filed 10/05/18   PageKAWAMA
                                                                                909 ofCONSTRUCTIONS,
                                                                                       1739          INC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    P.O. BOX 18546
HOUSTON, TX 77025                      HOUSTON, TX 77025                       TAMPA, FL 33679-8546




KAWENA CALDWELL                        KAWIKA BROWN                            KAWIPS DELAWARE CUYAHOGA FALLS, LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    1590-D ROSECRANS AVENUE, SUITE C PMB
HOUSTON, TX 77025                      HOUSTON, TX 77025                       259
                                                                               MANHATTAN BEACH, CA 90266




KAWO-FM                                KAY GRAYS                               KAY REALTY INC
827 E PARK BLVD 100                    10201 S. MAIN STREET                    ATTN: BARRY KRINGSTEIN
BOISE, ID 83712                        HOUSTON, TX 77025                       463 7TH AVENUE, 12TH FLOOR
                                                                               NEW YORK, NY 10018




KAY REALTY LLC                         KAY REALTY LLC                          KAY SHORT
463 7TH AVENUE, 12TH FLOOR             ATTN: BARRY KRINGSTEIN                  128 KAY DR
ATTN: BARRY KRINGSTEIN                 463 7TH AVENUE, 12TH FLOOR              MIDDLETOWN, OH 45042
NEW YORK, NY 10018                     NEW YORK, NY 10018




KAY TRIMBLE                            KAYA GRACE                              KAYAWN CHEESEBOROUGH
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KAYE KECK                              KAYLA BROWN                             KAYLA CULLY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KAYLA DAUGHERTY                        KAYLA EASY                              KAYLA FLORES
10201 S. MAIN STREET                   421 GOLDENROD ST                        2602 S 39TH ST 705
HOUSTON, TX 77025                      KYLE, TX 78640                          TEMPLE, TX 76504




KAYLA GOGGINS                          KAYLA HARTZLER                          KAYLA HAYMON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KAYLA KENNEDY                          KAYLA LITTLE                            KAYLA LOPEZ
2245 NOVUS ST                          6825 ANGLEBLUFF CIRCLE                  10201 S. MAIN STREET
SARASOTA, FL 34237                     DALLAS, TX 75248                        HOUSTON, TX 77025




KAYLA MALONE                           KAYLA MCMURRAY                          KAYLA MILLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
KAYLA MONTANTEZ        Case 18-12241-CSS     Doc 26
                                      KAYLA MOORE        Filed 10/05/18   PageKAYLA
                                                                               910 PATRICK
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KAYLA POPE-HESTER                     KAYLA RENEE MOORE                       KAYLA RIVERA
10201 S. MAIN STREET                  15450 FM 1325 APT 213                   10201 S. MAIN STREET
HOUSTON, TX 77025                     AUSTIN, TX 78728                        HOUSTON, TX 77025




KAYLA ROBINSON                        KAYLA ROE                               KAYLA SAMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    7400 NW 118TH ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                       OKLAHOMA CITY, OK 73162




KAYLA SCHINTE                         KAYLA SIMON                             KAYLA WALKER
1203 6TH ST E                         10201 S. MAIN STREET                    7552 S WOLCOTT
SAINT PAUL, MN 55106                  HOUSTON, TX 77025                       CHICAGO, IL 60620




KAYLA WHITE                           KAYLA WILLIAMS                          KAYLA WILLIAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KAYLEE BRUNECZ                        KAYLEE JOHNSON                          KAYLEE MICHELLE METTER
507 STATE ST APT 1                    4223 S 39TH AVE                         4625 W AVE K8
CONNEAUT, OH 44030                    OMAHA, NE 68107                         LANCASTER, CA 93536




KAYLEEN DEVILBISS                     KAYLEI PERRY-VACCA                      KAYLEIGH BEACH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KAYLEIGH ROTHROCK                     KAYLENE GONZALES                        KAYLIN CUST
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KAYLUB SLAPE                          KAYLYNN VARGAS                          KAYS E.P. VENTURE, L.P.
10201 S. MAIN STREET                  10201 S. MAIN STREET                    C/O MCCOLLOM REALTY LTD
HOUSTON, TX 77025                     HOUSTON, TX 77025                       PO BOX 27
                                                                              WESTERN SPRINGS, IL 60558




KAY'S E.P. VENTURE, L.P.              KAY'S E.P. VENTURE, L.P.                KAYTLYN WILSON
C/O MCCOLLOM REALTY, LTD.             C/O MCCOLLOM REALTY, LTD.               PO BOX 159
P. O BOX 57                           P. O BOX 57                             MOORESBORO, NC 28114
ATTN: W.R. MCCOLLOM, JR.              ATTN: W.R. MCCOLLOM, JR.
PANA, IL 62557                        WESTERN SPRINGS, IL 60558
KAYU                     Case 18-12241-CSS     Doc 26
                                        KAZ WHITNEY         Filed 10/05/18   PageKAZT
                                                                                  911 of 1739
4600 S REGAL ST                         10201 S. MAIN STREET                     4343 E CAMELBACK RD STE 130
SPOKANE, WA 99223                       HOUSTON, TX 77025                        PHOENIX, AZ 85018




KB ENTERPRISES                          KB INVESTMENT HOLDING LTD.               KB INVESTMENT HOLDING LTD.
ATTN: MARTY BROWN                       P.O. BOX 25341                           P.O. BOX 25341
3271 JUDY LANE                          TAMPA 33622-5341                         TAMPA, FL 33622-5341
LAFAYETTE, CA 94549




KB MELROSE LLC                          KB PARKSIDE, LLC                         KB PARKSIDE, LLC
3271 JUDY LANE                          2226 STATE RD 580                        7064 US HIGHWAY 19 N
LAFAYETTE, CA 94549                     CLEARWATER, FL 33763                     PINELLAS PARK, FL 33781-4601




KBAY-FM                                 KBBD                                     KBCW TV
ATTN: TRANG NGUYEN                      1601 E 57TH AVE                          PO BOX 100970
109 PARK CENTER PLAZA STE 200           SPOKANE, WA 99223                        PASADENA, CA 91189
SAN JOSE, CA 95113




KBEB-FM                                 KBFF-FM                                  KBGO-FM
PO BOX 742001                           1211 SW FIFTH AVE, STE 600               IHEARTMEDIA
LOS ANGELES, CA 90074-2001              PORTLAND, OR 97204                       PO BOX 847572
                                                                                 DALLAS, TX 75284




KBKS-FM                                 KBLX-FM                                  KBM COMMERCIAL PROPERTIES
12067 COLLECTION CENTER DR              KBLX                                     ATTN: MIA OSBORNE
CHICAGO, IL 60693                       201 THIRD STREET STE 1200                1550 HIGHWAY 126
                                        SAN FRANCISCO, CA 94103                  BRISTOL, TN 37620




KBME-AM                                 KBND                                     KBNZ
IHEART HOUSTON                          PO BOX 5037                              ZOLO-KOHD-TV/KBNZ-TV
PO BOX 847572                           BEND, OR 97708                           ATTN 951 PO BOX 480
DALLAS, TX 75284                                                                 MONROE, WI 53566




KBOI-AM                                 KBOY-FM                                  KBQB
3633 MOMENTUM PLACE                     1438 ROSSANLEY DR                        856 MANZANITA CT
CHICAGO, IL 60689-5336                  MEDFORD, OR 97501                        CHICO, CA 95926




KBRG                                    KBRQ-FM                                  KBTE-FM
PO BOX 452657                           IHEARTMEDIA                              ALPHA MEDIA LLC
LOS ANGELES, CA 90045                   PO BOX 847572                            33 BRIERCROFT OFFICE PARK
                                        DALLAS, TX 75284                         LUBBOCK, TX 79412




KBTX-TV NBTX-TV GRAY TELEVISION GROUP   KBUL-FM                                  KBXT-FM
INC                                     3652 MOMENTUM PLACE                      BRAZOS VALLEY COMMUNICATIONS
P.O. BOX 14200                          CHICAGO, IL 60689-5336                   PO BOX 3069
TALLAHASSEE, FL 32317                                                            BRYAN, TX 77805
KBZT-FM               Case 18-12241-CSS
                                     KBZZ-AMDoc 26     Filed     10/05/18   PageKC912 of 1739
                                                                                   DYER
ENTERCOM SAN DIEGO KBZT-FM           961 MATLEY LANE 120                        10201 S. MAIN STREET
1615 MURRAY CANYON RD STE 710        RENO, NV 89502                             HOUSTON, TX 77025
SAN DIEGO, CA 92108




KC WATER                              KC WATER                                  KCAL
4800 E 63RD ST                        P.O. BOX 807045                           1940 ORANGE TREE LANE, 200
KANSAS CITY, MO 64130                 KANSAS CITY, MO 64180-7045                REDLANDS, CA 92374




KCBBHB LLC                            KCBS-AM                                   KCCN-FM
1707 N WATERFRONT PKWY                PO BOX 100499                             SUMMIT MEDIA LLC-MAIL CODE: 61304
WICHITA, KS 67206                     PASADENA, CA 91189-0499                   PO BOX 1300
                                                                                HONOLULU, HI 96807-1300




KCDU-FM                               KCEZ FM RESULTS RADIO                     KCIX FM TOWN SQUARE MEDIA
60 GARDEN COURT 300                   856 MANZANITA CT                          827 E PARK BLVD 100
MONTEREY, CA 93940                    CHICO, CA 95926                           BOISE, ID 83712




KCLB-FM                               KCLK-FM                                   KCMO CITY TREASURER
ALPHA MEDIA LLC                       403 CAPITAL ST                            MISSOURI REVENUE DIVISION
1321 N GENE AUTRY TRAIL               LEWISTON, ID 83501                        PO BOX 843326
PALM SPRINGS, CA 92262                                                          KANSAS CITY, MO 64184-3326




KCMO CITY TREASURER                   KCMO CITY TREASURER                       KCMO WATER SERRVICES DEPARTMENT
PO BOX 801751                         REVENUE DIVISION                          P.O. BOX 807045
KANSAS CITY, MO 64180-1751            PO BOX 843956                             KANSAS CITY, MO 64180-7045
                                      KANSAS CITY, MO 64184




KCMS-FM                               KCMT- FM                                  KCMT-FM
19303 FREMONT AVE N                   3871 N COMMERCE DR                        3871 N COMMERCE DR
SEATTLE, WA 98133                     TUCSON, AZ 85705                          TUCSON, AZ 85705




KCNA-FM-OPUS RADIO                    KCNC-TV                                   KCOL-FM
511 ROSSANLEY DR.                     21249 NETWORK PL                          IHEART MEDIA
MEDFORD, OR 97501                     CHICAGO, IL 60673                         PO BOX 847572
                                                                                DALLAS, TX 75284-7572




KCP&L                                 KCP&L                                     KCPQ-TV
1200 MAIN ST                          P.O. BOX 219330                           PO BOX 742111
KANSAS CITY, MO 64105                 KANSAS CITY, MO 64121-9330                LOS ANGELES, CA 90074-2111




KCRA - TV3                            KCSP-AM                                   KCTC-AM
PO BOX 90014                          ENTERCOM KANSAS CITY                      ENTERCOM SACRAMENTO LLC 5345
PRESCOTT, AZ 86304-9014               7000 SQUIBB RD 2ND FLOOR                  MADISON AVE.
                                      MISSION, KS 66202                         SACRAMENTO, CA 95841
KCTTC                  Case     18-12241-CSS
                                          KCVU Doc 26       Filed 10/05/18   PageKCXX-FM
                                                                                  913 of 1739
PAYMENT CENTER                           PO BOX 79595                            242 E. AIRPORT DRIVE. 106
PO BOX 541004                            CITY OF INDUSTRY, CA 91716-9595         SAN BERNARDINO, CA 92408
LOS ANGELES, CA 90054-1004




KCYE-FM                                  KCYT-FM                                 KCYU
BEASLEY MEDIA GROUP INC                  HOG RADIO INC                           4600 S REGAL ST
2920 S DURANGO DR                        PO BOX 191                              SPOKANE, WA 99223
LAS VEGAS, NV 89117                      BERRYVILLE, AR 72616




KCYY-FM                                  KDA CENTERS LLC                         KDA CENTERS LLC
PO BOX 83198                             C/O TRINITY INTERESTS, INC.             C/O TRINITY INTERESTS, INC.
CHICAGO, IL 60691-0198                   12740 HILLCREST RD STE 101              12740 HILLCREST RD STE 101
                                         DALLAS, TX 75230                        DALLAS, TX 75379




KDA CENTERS LLC                          KDAF TV                                 KDAF-TV
C/O TRINITY INTERESTS, INC.              PO BOX 843987                           PO BOX 843987
12740 HILLCREST RD, SUITE 101            DALLAS, TX 75284-3987                   DALLAS, TX 75284-3987
DALLAS, TX 75379




KDBL-FM                                  KDC MANAGEMENT, LLC                     KDC MANAGEMENT, LLC
ATTN: LYDIA/KDBL                         C/O LENHART PROPERTY MANAGEMENT         C/O LENHART PROPERTY MANAGEMENT
4010 SUMMITVIEW AVE-TOWNSQUARE           6575 BALSAM LANE NORTH                  PO BOX 270263
MEDIA                                    MAPLE GROVE, MN 55427                   GOLDEN VALLEY, MN 55427
YAKIMA, WA 98908



KDC SAN DORADO RETAIL LLC                KDES-FM                                 KDFI
1707 E HIGHLAND STE 100                  ALPHA MEDIA LLC                         PO BOX 844824
PHOENIX, AZ 85016                        1321 N GENE AUTRY TRAIL                 DALLAS, TX 75284-4824
                                         PALM SPRINGS, CA 92262




KDFW                                     KDFW-TV                                 KDFX-TV
PO BOX 844824                            PO BOX 844824                           GULF CALIFORNIA BROADCAST CO
DALLAS, TX 75284-4824                    DALLAS, TX 75284-4824                   PO BOX 873808
                                                                                 KANSAS CITY, MO 64187-3808




KDGE-FM                                  KDGL-FM                                 KDKA-AM
PO BOX 847572                            ALPHA MEDIA LLC                         CBS RADIO PITTSBURGH
DALLAS, TX 75284-7572                    1321 GENE AUTRY TRAIL                   PO BOX 13404
                                         PALM SPRINGS, CA 92262                  NEWARK, NJ 07188-0404




KDKA-FM                                  KDKB-FM                                 KDKS-FM
CBS RADIO PITTSBURGH                     LOCKBOX 511553                          ALPHA MEDIA LLC
PO BOX 13404                             PO BOX 511553                           PO BOX 7197
NEWARK, NJ 07188-0404                    LOS ANGELES, CA 90051-8108              SHREVEPORT, LA 71137-7197




KDMX-FM                                  KDND                                    KDOT LOTUS RADIO CORP
PO BOX 847572                            5345 MADISON AVE                        690 EAST PLUMB LN
DALLAS, TX 75284-7572                    SACRAMENTO, CA 95841                    RENO, NV 89502
KDP ROOSEVELT 369 LLC Case     18-12241-CSS
                                         KDPMC IIDoc
                                                  LLC 26     Filed 10/05/18   PageKDRK-FM
                                                                                   914 of 1739
515 NORTH STATE ST STE 2660               KEY DEVELOPMENT PARTNERS LLC            1601 E 57TH AVE
CHICAGO, IL 60654                         515 N STATE ST STE 2660                 SPOKANE, WA 99223
                                          CHICAGO, IL 60654




KDUK                                      KDVR                                    KEADJIAN PROPERTIES, INC.
1500 VALLEY RIVER DR STE 350              PO BOX 59743                            ATTN: GARO KEADJIAN
EUGENE, OR 97401                          LOS ANGELES, CA 90074-9743              57 E. ALTARINDA DRIVE
                                                                                  ORINDA, CA 94563




KEADJIAN PROPERTIES, INC.                 KEAIRO JOHNSON                          KEALAN WHITWORTH
FIRST REPUBLIC BANK DEPOSIT SERVICES      10201 S. MAIN STREET                    335 VFW RD
PO BOX 2966                               HOUSTON, TX 77025                       DIBOLL, TX 75941
SAN FRANCISCO, CA 94126




KEALON CARRIER SERVICE LLC                KEANDRA GOVANT                          KEATING LAW OFFICE LLC
2 HIGH STREET                             10201 S. MAIN STREET                    SUMMERFIELD COMMONS OFFICE PARK
CASTLE HAYNE, NC 28429                    HOUSTON, TX 77025                       2555 WASHINGTON RD STE 610B
                                                                                  PITTSBURGH, PA 15241




KEATING MUETHING & KLEKAMP PLL            KEATON BANDHOESINGH GABLE               KEATON RICE
ATTN: BARRETT P. TULLIS, ESQ.             29 BRIAR GATE LANE                      10201 S. MAIN STREET
ONE EAST 4TH STREET, SUITE 1400           MARIETTA, GA 30066                      HOUSTON, TX 77025
CINCINNATI, OH 45202




KEATON WAGNER                             KEAWEKAHOLOMANU DELEON                  KEBT
10201 S. MAIN STREET                      10201 S. MAIN STREET                    PO BOX 2700
HOUSTON, TX 77025                         HOUSTON, TX 77025                       BAKERSFIELD, CA 93303




KEDRIAN CONNOR                            KEE SERVICE COMPANY                     KEEGAN AND DONATO CONSULTING LLC
10201 S. MAIN STREET                      1515 AMERICAN WAY                       31 PURCHASE ST STE 3-4
HOUSTON, TX 77025                         CEDAR HILL, TX 75104                    RYE, NY 10580




KEEGAN BURNSIDE                           KEEGAN DUCKETT                          KEEGAN HOCKNEY
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




KEEGAN RIEKS                              KEELER FENCE                            KEELI TRATHEN
10201 S. MAIN STREET                                                              10201 S. MAIN STREET
HOUSTON, TX 77025                                                                 HOUSTON, TX 77025




KEEM GRAY                                 KEENAN BRICE                            KEENAN BURT
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025
KEENAN CAMBRE            Case 18-12241-CSS
                                        KEENANDoc
                                              CLAY 26      Filed 10/05/18   PageKEENAN
                                                                                 915 ofLIMBRICK
                                                                                         1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEENAN MCNEALY                          KEENE GAS 7635                          KEENE GAS 7635
10201 S. MAIN STREET                    583 SAWYERS CROSSING ROAD               P.O. BOX 371473
HOUSTON, TX 77025                       SWANZEY, NH 03446                       PITTSBURGH, PA 15250-7473




KEENE GAS                               KEENE GAS                               KEENE MZL LLC
583 SAWYERS CROSSING ROAD               P.O. BOX 604                            C/O KATZ PROPERTIES A/R
SWANZEY, NH 03446                       KEENE, NH 03431-0604                    254 WEST 31ST STREET, 4TH FLOOR
                                                                                NEW YORK, NY 10001




KEENE PUBLISHING CORPORATION            KEENEN CROOK                            KEENEN SAVAGE
THE KEENE SENTINEL                      10201 S. MAIN STREET                    10201 S. MAIN STREET
60 WEST ST                              HOUSTON, TX 77025                       HOUSTON, TX 77025
KEENE, NH 03431




KEEP MOVING LLC                         KEESHA BARNES                           KEF MEDIA ASSOCIATES INC
1901 REDBUD LN                          10201 S. MAIN STREET                    1161 CONCORD RD
ROUND ROCK, TX 78664                    HOUSTON, TX 77025                       SMYRNA, GA 30080




KEFREN SEPULVEDA                        KEGX-FM                                 KEGY-FM
10201 S. MAIN STREET                    4304 W 24TH AVE STE 200                 PO BOX 100876
HOUSTON, TX 77025                       KENNEWICK, WA 99338                     PASADENA, CA 91189-0876




KEHK-FM                                 KEI PROPERTIES LLC                      KEILIN RAYNER
CUMULUS MEDIA-EUGENE                    1250 E. HALLANDALE BEACH BLVD.          10201 S. MAIN STREET
3597 MOMENTUM PLACE                     MANAGEMENT OFFICE                       HOUSTON, TX 77025
CHICAGO, IL 60689-5335                  FABIOLA SULLIVAN
                                        HALLANDALE BEACH, FL 33009



KEIR-JAHZIEL COVINGTON                  KEISHA CAMPBELL                         KEISHA COLEMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEISHA EVANS                            KEISHA HOPKINS                          KEISHA KING
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEISHA MILLIGAN                         KEISHER MCLEOD                          KEISHON BOSWELL
9350 CAMERON RIDGE RD                   10201 S. MAIN STREET                    10201 S. MAIN STREET
INDIANAPOLIS, IN 46240                  HOUSTON, TX 77025                       HOUSTON, TX 77025
KEISON PALAFOX          Case 18-12241-CSS     Doc 26
                                       KEITH ADAMS        Filed 10/05/18   PageKEITH
                                                                                916BANISTER
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEITH BLACK                            KEITH BOLEYN                            KEITH BONWIT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEITH CARVER                           KEITH DAVID GULLO                       KEITH DAVIS
32 COMMERCE ST                         DISTRICT MANAGER-HOUSTON                10201 S. MAIN STREET
WAYNESVILLE, NC 28786                  39 NORTH ARROW CANYON CIRCLE            HOUSTON, TX 77025
                                       THE WOODLANDS, TX 77389




KEITH DUSENBERRY                       KEITH ENGELBERT                         KEITH FAUGHN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEITH FICKENWIRTH                      KEITH FREW                              KEITH FUKUMOTO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEITH GREENE                           KEITH GULLO                             KEITH HAMILTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEITH HANSON                           KEITH HERRING                           KEITH HOLMES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEITH HUMPHREY                         KEITH JACKSON                           KEITH KOSTER
10201 S. MAIN STREET                   7060 DUNCAN WALK                        10201 S. MAIN STREET
HOUSTON, TX 77025                      MC DONOUGH, GA 30252                    HOUSTON, TX 77025




KEITH KOWALSKI                         KEITH KOZENSKIE                         KEITH LARSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    16 INLETS BLVD
HOUSTON, TX 77025                      HOUSTON, TX 77025                       NOKOMIS, FL 34275




KEITH LUTZ                             KEITH LUTZ                              KEITH MACDONALD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
KEITH MAHONEY          Case 18-12241-CSS     Doc WILLSON
                                      KEITH MALON 26 Filed 10/05/18   PageKEITH
                                                                           917MAYTUM
                                                                                of 1739
10201 S. MAIN STREET                  4275 NE EXPRESSWAY UNIT 318         14761 CHARTER OAK BLVD
HOUSTON, TX 77025                     ATLANTA, GA 30340                   SALINAS, CA 93907




KEITH MEYER                           KEITH MINGO                         KEITH MITCHELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




KEITH NEWMAN                          KEITH OLIVER                        KEITH OSSO
                                      10201 S. MAIN STREET                PO BOX 358
                                      HOUSTON, TX 77025                   VERADALE, WA 99037




KEITH PELUSO                          KEITH PINEO                         KEITH POWELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




KEITH PRESTON                         KEITH PROMISEL                      KEITH R GIFFORD
1517 NORTHCREST DR                    10201 S. MAIN STREET                1089 SW VERSAILLAS AVENUE
PLANO, TX 75075                       HOUSTON, TX 77025                   PORT SAINT LUCIE, FL 34953




KEITH REYNOLDS                        KEITH RICHARDSON                    KEITH ROGERS
10201 S. MAIN STREET                  12755 SEVENTH ST                    10201 S. MAIN STREET
HOUSTON, TX 77025                     CHINO, CA 91710                     HOUSTON, TX 77025




KEITH S JACKSON                       KEITH SEAL                          KEITH SMITH
636 OLD IVY CHASE                     10201 S. MAIN STREET                10201 S. MAIN STREET
RIVERDALE, GA 30274                   HOUSTON, TX 77025                   HOUSTON, TX 77025




KEITH SNYDER                          KEITH STEBER                        KEITH TALLAS
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




KEITH THOMAS                          KEITH TRIBBLE                       KEITH TWYMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




KEITH WALSH                           KEITH WARMACK                       KEITH WELLER
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025
KEITH WILLIAMS            Case 18-12241-CSS     Doc 26
                                         KEITH WILSON       Filed 10/05/18   PageKEIVON
                                                                                  918 of  1739
                                                                                        BELL
11397 SW 216TH ST                        10201 S. MAIN STREET                    10201 S. MAIN STREET
MIAMI, FL 33170                          HOUSTON, TX 77025                       HOUSTON, TX 77025




KEJUAN MAYS                              KELBY HILL                              KELCEY OCONNELL
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




KELCIE HARM                              KELCIE INGRAM                           KELIA GRACE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




KELIL PAINTING AND COATINGS              KELLEE KARO                             KELLEECIA BROOKS
94-1042 HOHOLA ST                        10201 S. MAIN STREET                    10201 S. MAIN STREET
WAIPAHU, HI 96797                        HOUSTON, TX 77025                       HOUSTON, TX 77025




KELLEN PRICE                             KELLEN WILLIAMS                         KELLENBERGER PLUMBING &
10201 S. MAIN STREET                     10201 S. MAIN STREET                    UNDERGROUND INC
HOUSTON, TX 77025                        HOUSTON, TX 77025                       13N365 HIGH CHAPPAREL
                                                                                 ELGIN, IL 60124




KELLER PROPERTIES LLC                    KELLER, WEBER, & DOBROTT                KELLEY LOGISTICS/TRANSPORT
2131 WOODRUFF RD STE 2100                ATTN: JAMES E. DOBROTT, JR.             PO BOX 340
256                                      18201 VON KARMAN AVE, SUITE 1000        VANDALIA, OH 45377
GREENVILLE, SC 29607                     IRVINE, CA 92612




KELLEY MOONEY                            KELLEY RYAN                             KELLEY, CHERYL
3000 SAGE ROAD APT 2201                  303 RAYMOND ST                          320 E VIRGINIA AVE.#100
HOUSTON, TX 77056                        FARMERSVILLE, TX 75442                  PHOENIX, AZ 85004




KELLEY, JAMES                            KELLI GAMEL                             KELLI GAST
245 BURGETT DR                           10201 S. MAIN STREET                    1275 4TH ST 663
JASPER, AL 35503-4803                    HOUSTON, TX 77025                       SANTA ROSA, CA 95404




KELLI GOODSON                            KELLI HOUGH                             KELLI OZBORN
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




KELLI PARKS                              KELLI PHILLIPS                          KELLI SACCUCCI
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025
KELLI STEPHENS         Case 18-12241-CSS      Doc 26
                                      KELLIE CARMODY      Filed 10/05/18   PageKELLIE
                                                                                919 GORE
                                                                                      of 1739
10201 S. MAIN STREET                   5481 PRINCESS VIEW PLACE                10201 S. MAIN STREET
HOUSTON, TX 77025                      SAN DIEGO, CA 92120                     HOUSTON, TX 77025




KELLIE MCNEILL                         KELLY ANTHONIES                         KELLY BANKS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KELLY BENTON                           KELLY BONNER                            KELLY BULTINCK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KELLY BURKHEAD                         KELLY CHAMBERS                          KELLY CHASE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KELLY COHEN                            KELLY CONBOY                            KELLY CONWAY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KELLY FERRY                            KELLY HOLMAN                            KELLY INVESTMENT CO., LLC
5350 N BRAWLEY AVE APT 221             10201 S. MAIN STREET                    C/O AVANTE PROPERTIES, LLC
FRESNO, CA 93722                       HOUSTON, TX 77025                       120 E LAKESIDE STREET
                                                                               MADISON, WI 53715




KELLY INVESTMENT CO., LLC              KELLY IRVIN                             KELLY IVORYLEA WILKERSON
C/O OGDEN & COMPANY INC                10201 S. MAIN STREET                    1370 AFTON ST APT 690
1665 N WATER ST                        HOUSTON, TX 77025                       HOUSTON, TX 77055
MILWAUKEE, WI 53202




KELLY JO PETERSEN                      KELLY LEWIS                             KELLY MADDEN
830 PEACHERS MILL RD K131              10201 S. MAIN STREET                    10201 S. MAIN STREET
CLARKSVILLE, TN 37042                  HOUSTON, TX 77025                       HOUSTON, TX 77025




KELLY MANNING                          KELLY OLUKU                             KELLY ONEILL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    1044 IDAHO ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       CAROL STREAM, IL 60188




KELLY ROBERSON                         KELLY ROMAN                             KELLY ROMANO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
KELLY SAUNDERS-RAY     Case 18-12241-CSS     Doc 26INC Filed 10/05/18
                                      KELLY SERVICES                    PageKELLY
                                                                             920SHANNON
                                                                                  of 1739
10201 S. MAIN STREET                   PO BOX 530437                        10201 S. MAIN STREET
HOUSTON, TX 77025                      ATLANTA, GA 30353-0437               HOUSTON, TX 77025




KELLY VALIENTE                         KELLY VIDMER                         KELLY WALKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                 424 S POPLAR ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                    SHELBURN, IN 47879




KELLY WATERHOUSE                       KELLY WHITE                          KELLYANN MCKENZIE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KELSEY BROWN                           KELSEY CARLSON                       KELSEY DUNFORD
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KELSEY G BROWN                         KELSEY HANLEY                        KELSEY HOLLIS
2012 ARDEN PLACE                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HIGH POINT, NC 27265                   HOUSTON, TX 77025                    HOUSTON, TX 77025




KELSEY HUTSON                          KELSEY LUTAT                         KELSEY MONCEAUX
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KELSEY MULLIS                          KELSEY MURBARGER                     KELSEY NICOLE BEENE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10 BROOK ARBOR ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                    MANSFIELD, TX 76063




KELSEY RALPH                           KELSEY SCHMIDT                       KELSEY THIE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KELSI HUDSON                           KELSI PODEST                         KELSI PODEST
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KELSIE BEASLEY                         KELSIE EARL                          KELSIE ELLIS
10201 S. MAIN STREET                   980 W PARKSTONE ST APT A204          430 LEE ST
HOUSTON, TX 77025                      MERIDIAN, ID 83646                   RED OAK, TX 75154
KELSIE RISNER          Case 18-12241-CSS     Doc 26 DBAFiled
                                      KELTIC COMPANY         10/05/18
                                                        TWO MEN AND A   PageKELTON
                                                                             921 of  1739
                                                                                   COTTERMAN
                                       TRUCK                                10201 S. MAIN STREET
                                       TWO MEN AND A TRUCK                  HOUSTON, TX 77025
                                       110 E 40TH ST
                                       BOISE, ID 83714



KELTRA PATTERSON                       KELVIN FORBES                        KELVIN KENDRICK
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KEMAR PAUL                             KEMP PROPERTIES LLC                  KEMPER DEVELOPMENT COMPANY
10201 S. MAIN STREET                   P.O. BOX 5187                        KATIE KIRKNESS
HOUSTON, TX 77025                      ATHENS, GA 30604                     575 BELLEVUE WAY NE
                                                                            BELLEVUE, WA 98004




KEMPER DEVELOPMENT COMPANY             KEMUEL FRETT                         KEN ABDULLAH
MAE KANE                               10201 S. MAIN STREET                 10201 S. MAIN STREET
575 BELLEVUE WAY NE                    HOUSTON, TX 77025                    HOUSTON, TX 77025
BELLEVUE, WA 98004




KEN BARSANO                            KEN BOITZ                            KEN BRAZELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KEN BUCH                               KEN FERGUSON                         KEN HALL
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KEN JOHNSON                            KEN JONES                            KEN KANGAL
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KEN KILPATRICK                         KEN LANDIS ELLEN LANDIS              KEN LOWERRE
10201 S. MAIN STREET                   1304 NE 145TH AVE                    10201 S. MAIN STREET
HOUSTON, TX 77025                      VANCOUVER, WA 98684                  HOUSTON, TX 77025




KEN MARK                               KEN MILLER                           KEN MOPPINS
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




KEN MURPHY                             KEN RAMJEET                          KEN ROBERTS
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025
KEN ROBINSON           Case 18-12241-CSS     Doc 26
                                      KEN SACHSE            Filed 10/05/18   PageKEN
                                                                                  922  of 1739
                                                                                     SOARES
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




KEN TRAN                              KEN WALKER                                 KENDAL KEITZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




KENDALL 77 LTD                        KENDALL COMMERCIAL ASSOCIATES, LLP         KENDALL COMMERCIAL ASSOCIATES, LLP
9155 SOUTH DADELAND BLVD STE 1812     C/O BERKOWITZ DEVELOPMENT GROUP            C/O BERKOWITZ DEVELOPMENT GROUP
MIAMI, FL 33156                       2665 S BAYSHORE DR STE 1200                2665 SOUTH BAYSHORE DRIVE, SUITE 1200
                                      COCONUT GROVE, FL 33133                    COCONUT GROVE, FL 33133




KENDALL FRANCIS                       KENDALL HAYES-FULLARD                      KENDALL HAYES-FULLARD
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




KENDALL JERNIGAN                      KENDALL M HOPKINS                          KENDALL PARK PLAZA LTD.
10201 S. MAIN STREET                  E 3827 BELLERIVE LN                        C/O HORIZON PROPERTIES OF MIAMI, INC.
HOUSTON, TX 77025                     SPOKANE, WA 99223                          18610 NW 87 AVENUE, SUITE 204
                                                                                 ATTN: JOEL BENES
                                                                                 HIALEAH, FL 33015



KENDELL BRYANT                        KENDELL GARCIA                             KENDELL MONROE
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




KENDELL WALLER                        KENDRA BRYAN                               KENDRA MORRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                       122 E 11TH ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                          MISHAWAKA, IN 46544




KENDRA PRYCZYNSKI                     KENDRA ROHR                                KENDRA ROHR
10201 S. MAIN STREET                  7701 W 4TH APT B305                        801 S HUNTINGTON APT B
HOUSTON, TX 77025                     KENNEWICK, WA 99336                        KENNEWICK, WA 99336




KENDRA SHERWOOD                       KENDREL WILSON                             KENDREX SALTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




KENDRICK FREEMAN                      KENDRICK JACKSON                           KENDRICK JEFFERSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025
KENDRICK ONELL HART     Case 18-12241-CSS    Doc
                                       KENDRICK   26 Filed 10/05/18
                                                ROGERS                PageKENDRICK
                                                                           923 of WOOTEN
                                                                                   1739
4148 SHERWOOD ST                       2208 PENNSYLVANIA AVE UNIT B       10201 S. MAIN STREET
BATON ROUGE, LA 70805                  AUSTIN, TX 78702                   HOUSTON, TX 77025




KENERGY CORP                           KENERGY CORP                       KENESHA HOWARD
6402 OLD HENDERSON CORYDON ROA         P.O. BOX 1389                      10201 S. MAIN STREET
HENDERSON, KY 42419-0018               OWENSBORO, KY 42302-1389           HOUSTON, TX 77025




KENISHA SINGLETON                      KENNA ROBERTS                      KENNEDY DENNIS
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




KENNEDY SHELTON                        KENNESAW STATE UNIVERSITY          KENNETH A ENGSTROM
10201 S. MAIN STREET                   DEPT OF CAREER PLANNING &          28 ELGIN STREET
HOUSTON, TX 77025                      DEVELOPMENT                        WARWICK, RI 02889
                                       585 COBB AVE NW MD 0118
                                       KENNESAW, GA 30144



KENNETH ABDULLAH                       KENNETH ANDERSON                   KENNETH ARRINGTON
                                       10201 S. MAIN STREET               10201 S. MAIN STREET
                                       HOUSTON, TX 77025                  HOUSTON, TX 77025




KENNETH AUGUST                         KENNETH BALLARD                    KENNETH BANKS
3560 W SAN JOSE AVE                    10201 S. MAIN STREET               10201 S. MAIN STREET
APT 221                                HOUSTON, TX 77025                  HOUSTON, TX 77025
FRESNO, CA 93711




KENNETH BARKER                         KENNETH BARTERIAN                  KENNETH BOYD
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




KENNETH CANGRO                         KENNETH CHRISTENSEN                KENNETH CLARK
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




KENNETH COLLETT                        KENNETH CRAIN                      KENNETH D. MCCLOSKEY
10201 S. MAIN STREET                   10201 S. MAIN STREET               1 BALDWIN AVENUE, 703
HOUSTON, TX 77025                      HOUSTON, TX 77025                  SAN MATEO, CA 94401




KENNETH DAUGHTRY                       KENNETH DIAZ                       KENNETH E. MURPHY III
10201 S. MAIN STREET                   10201 S. MAIN STREET               3750 WESTERMAN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77005
KENNETH EVERS          Case 18-12241-CSS    Doc
                                      KENNETH    26 Filed 10/05/18
                                              FAUVER                 PageKENNETH
                                                                          924 ofGODIN
                                                                                 1739
10201 S. MAIN STREET                  258 KATHERINE AVE                  5931 S TIBET ST
HOUSTON, TX 77025                     SALINAS, CA 93901                  AURORA, CO 80015




KENNETH GREIDER                       KENNETH GROVER                     KENNETH HARTLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




KENNETH HERVERT                       KENNETH HESTER                     KENNETH J HUNT
10201 S. MAIN STREET                  10201 S. MAIN STREET               669 FISCHER ROAD
HOUSTON, TX 77025                     HOUSTON, TX 77025                  SHARPSBURG, GA 30277




KENNETH J. CUMMINS, TRUSTEE           KENNETH JOHNSON                    KENNETH K GREENWELL
5120 CAMPUS DRIVE, SUITE 100          10201 S. MAIN STREET               33 BELAIR COURT
NEWPORT BEACH, CA 92660               HOUSTON, TX 77025                  MARYVILLE, IL 62062




KENNETH KINKEL                        KENNETH KLEIN                      KENNETH KLEINFIELDT
10201 S. MAIN STREET                  10201 S. MAIN STREET               1407 MASSENGALE
HOUSTON, TX 77025                     HOUSTON, TX 77025                  PFLUGERVILLE, TX 78660




KENNETH L MAUN TAX ASSESSOR           KENNETH L POULSEN TRUST C          KENNETH L SHIMM
COLLIN COUNTY                         PO BOX L                           DBA SPRINGFIELD COMMONS PLAZA LLC
PO BOX 8046                           RANCHO SANTA FE, CA 92067          COLLIERS INTERNATIONAL DEPT 850238
MC KINNEY, TX 75070-8046                                                 PO BOX 181300
                                                                         FAIRFIELD, OH 45018-1300



KENNETH L SHIMM                       KENNETH LABRIE                     KENNETH LINDNER
DBA SPRINGFIELD COMMONS PLAZA LLC     10201 S. MAIN STREET               10201 S. MAIN STREET
PO BOX 30516                          HOUSTON, TX 77025                  HOUSTON, TX 77025
LANSING, MI 48909-8016




KENNETH MARSHALL                      KENNETH MARSHALL                   KENNETH MITCHELL
3199 RIDGEFIELD RD                    PO BOX 40935                       10201 S. MAIN STREET
MATHEWS, VA 23109                     BAKERSFIELD, CA 93384              HOUSTON, TX 77025




KENNETH MOELLER                       KENNETH MURPHY                     KENNETH MURPHY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




KENNETH MUSE DBA K & M ELITE          KENNETH MYERS                      KENNETH OTTEN
TRANSPORT                             10201 S. MAIN STREET               2825 WILCREST, SUITE 515
4536 BLACK WATER COVE                 HOUSTON, TX 77025                  HOUSTON, TX 77042
ELLENWOOD, GA 30294
KENNETH PITCHER        Case 18-12241-CSS    Doc
                                      KENNETH    26 Filed 10/05/18
                                              PODOWSKI                   PageKENNETH
                                                                              925 ofRADFORD
                                                                                     1739
12009 PIPPIN ROAD                     10201 S. MAIN STREET                   10201 S. MAIN STREET
CINCINNATI, OH 45231                  HOUSTON, TX 77025                      HOUSTON, TX 77025




KENNETH RILEY                         KENNETH RIVERS                         KENNETH SCHNEIDER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




KENNETH STEPHENS                      KENNETH SUDOL                          KENNETH TATE
120 WEST HARBOR DR                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HENDERSONVILLE, TN 37075              HOUSTON, TX 77025                      HOUSTON, TX 77025




KENNETH TUGGLE                        KENNETH W JOHNSON                      KENNETH W JOHNSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




KENNETH W WATKINS                     KENNETH WASH                           KENNETH WATSON
354 LISA KAREN CIR                    10201 S. MAIN STREET                   10201 S. MAIN STREET
APOPKA, FL 32712                      HOUSTON, TX 77025                      HOUSTON, TX 77025




KENNETH WILLIAMS                      KENNETH WOODSON                        KENNETH WRIGHT JR
10201 S. MAIN STREET                                                         10201 S. MAIN STREET
HOUSTON, TX 77025                                                            HOUSTON, TX 77025




KENNEWICK POLICE DEPT                 KENNEY PROFESSIONAL SERVICES LLC       KENNY AZUAJE DBA BEFORE & AFTER
ALARM LICENSE RENEWAL                 DBA FISH WINDOW CLEANING               REMODELING AND CONSTRUCTION
PO BOX 6108                           621 SW 21ST TERRACE UNIT 10            16215 PEACH BLUFF LANE
KENNEWICK, WA 99336-0108              FORT LAUDERDALE, FL 33312              CYPRESS, TX 77429




KENNY CONNOR DBA KC COMPANY           KENNY G & COMPANY                      KENNY GOYAROLA
270 SQUIRREL LANE                     1013 GALLERIA BLVD 160                 10201 S. MAIN STREET
NEWBERN, NC 28560                     ROSEVILLE, CA 95678                    HOUSTON, TX 77025




KENNY JONES                           KENNY LAGUERRE                         KENNY MAC
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




KENNY MARTIN                          KENOSHA CITY                           KENOSHA NEWS DIV OF UNITED COMM
10201 S. MAIN STREET                  ATTN: PROPERTY TAX DEPT.               CORP
HOUSTON, TX 77025                     625 52ND ST ROOM 100                   5800 7TH AVE
                                      KENOSHA, WI 53140                      KENOSHA, WI 53140
                      Case
KENOSHA NEWS DIV OF UNITED   18-12241-CSS
                           COMM        KENOSHADoc  26 UTILITY
                                                WATER    Filed   10/05/18   PageKENROY
                                                                                 926 ofHOME
                                                                                        1739
CORP                                   4401 GREEN BAY RD                        3723 REGENT BLVD
PO BOX 190                             KENOSHA, WI 53144                        JACKSONVILLE, FL 32224
KENOSHA, WI 53140




KENROY HOME                            KENSINGTON FAIRFIELD LP                  KENSINGTON FAIRFIELD LP
PO BOX 776372                          17542 E 17TH ST STE 420                  C/O CORELAND COMPANIES
CHICAGO, IL 60677-6372                 TUSTIN, CA 92780                         PO BOX 807
                                                                                TUSTIN, CA 92781




KENSINGTON INVESTMENT GROUP LLC        KENT ANDREWS                             KENT FREDERICKS
ATTN: DEAN JOLLEY                      10201 S. MAIN STREET                     10201 S. MAIN STREET
16115 SW 1ST ST 201                    HOUSTON, TX 77025                        HOUSTON, TX 77025
SHERWOOD, OR 97140




KENT KABZINSKI                         KENT PHILLIPS                            KENT SKOUSON
10201 S. MAIN STREET                   8042 117TH PLACE SE                      10201 S. MAIN STREET
HOUSTON, TX 77025                      NEWCASTLE, WA 98056                      HOUSTON, TX 77025




KENT TRUCK TRAILER SERVICE LLC         KENTON COUNTY FISCAL COURT               KENTON COUNTY FISCAL COURT
P.O. BOX 198                           303 COURT ST RM 311                      P.O. BOX 706237
FLUKER, LA 70436                       COVINGTON, KY 41011                      CINCINNATI, OH 45270-0001




KENTON COUNTY SHERIFF                  KENTON DANIELS                           KENTON POWELL
P.O. BOX 188070                        10201 S. MAIN STREET                     10201 S. MAIN STREET
ERLANGER, KY 41018-8070                HOUSTON, TX 77025                        HOUSTON, TX 77025




KENTON WHYTE                           KENTON                                   KENTONYA MASTARI
10201 S. MAIN STREET                   ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET
HOUSTON, TX 77025                      303 COURT STREET SUITE 409               HOUSTON, TX 77025
                                       COVINGTON, KY 41011




KENTUCKY AMERICAN WATER                KENTUCKY AMERICAN WATER                  KENTUCKY CHILD SUPPORT ENFORCEMENT
1025 LAUREL OAK ROAD                   PO BOX 790247                            PO BOX 14059
VOORHEES, NJ 08043                     SAINT LOUIS, MO 63179-0247               LEXINGTON, KY 40512-4059




KENTUCKY DEPARTMENT OF REVENUE         KENTUCKY DEPARTMENT OF REVENUE           KENTUCKY DERBY FESTIVAL INC
ATTN: SALES & USE TAX DEPT.            ATTN: SALES & USE TAX DEPT.              1001 SOUTH THIRD ST
501 HIGH STREET                        501 HIGH STREET                          LOUISVILLE, KY 40203
FRANKFORT, KY 40601                    FRANKFORT, KY 40601-2103




KENTUCKY STATE FAIR                    KENTUCKY STATE TREASURER                 KENTUCKY STATE TREASURER
KENTUCKY EXPOSITION CENTER             ATTN: BUSINESS LICENSE DEPT.             ATTN: UNCLAIMED PROPERTY DEPT.
PO BOX 37130                           1050 US HWY 127 S SUITE 100              1050 US HWY 127 S SUITE 100
LOUISVILLE, KY 40233-7130              FRANKFORT, KY 40620-0003                 FRANKFORT, KY 40620-0003
KENTWOOD SPRINGS       Case     18-12241-CSS    DocSPRINGS
                                          KENTWOOD   26 Filed 10/05/18    PageKENWOOD
                                                                               927 of 1739
                                                                                      CENTER, LLC
5660 NEW NORTHSIDE DR STE 500             P.O. BOX 660579                     C/O KRAUS-ANDERSON REALTY CO
ATLANTA, GA 30328                         DALLAS, TX 75266-0579               501 S EIGHTH ST
                                                                              MINNEAPOLIS, MN 55404




KENWOOD CENTER, LLC                       KENWOOD PAVILION LLC                KENWOOD PAVILLION 14A LLC
C/O KRAUS-ANDERSON REALTY COMPANY         1801 W OLYMPIC BLVD                 12411 VENTURA BLVD
501 S. EIGHTH STREET                      PASADENA, CA 91199                  STUDIO CITY, CA 91604
MINNEAPOLIS, MN 55404




KENWOOD PAVILLION 14A LLC                 KENWORTH SALES BOISE INC            KENWORTH SALES CO
FILE 1971                                 4100 S TRANSPORT                    DEPT 001
1801 W OLYMPIC BLVD                       BOISE, ID 83705                     PO BOX 27088
PASADENA, CA 91199-1971                                                       SALT LAKE CITY, UT 84127-0088




KENWORTH SALES POCATELLO                  KENWORTH SALES POCATELLO            KENYA BARNES
2555 GARRETT WAY                          DEPT 001                            10201 S. MAIN STREET
POCATELLO, ID 83201                       PO BOX 27088                        HOUSTON, TX 77025
                                          SALT LAKE CITY, UT 84127-0088




KENYA JOHNSON                             KENYA SULLIVAN                      KENYATTA JOHNSON
950 LAKE RIDGE PKWY UNIT 8103             10201 S. MAIN STREET                10201 S. MAIN STREET
RIVERDALE, GA 30296                       HOUSTON, TX 77025                   HOUSTON, TX 77025




KENYJA LEWIS                              KENYON HVAC LLC                     KEON JONES
10201 S. MAIN STREET                      64 RICHARDS RD                      5349 AMESBURY DR 1904
HOUSTON, TX 77025                         NEWBURY, NH 03255                   DALLAS, TX 75206




KEONI BECHERT                             KERA DAVIS                          KERBY FRANCOIS
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025




KERCY ALEXANDRE                           KEREK WILLIAMS                      KERI DAVIS
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025




KERIA WATSON                              KERKULA FROMAYAN                    KERMIT TATE
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025




KERN                                      KERNERSVILLE RE-DEVELOPMENT         KERO-TV
ATTN: PROPERTY TAX DEPT.                  COMPANY                             PO BOX 30640
P.O. BOX 579                              300 WEST VINE STE 2200              LOS ANGELES, CA 90030
BAKERSFIELD, CA 93302-0580                LEXINGTON, KY 40507
KERR, CLAIR            Case 18-12241-CSS     Doc 26
                                      KERRI STOW           Filed 10/05/18   PageKERRIE
                                                                                 928 of  1739
                                                                                       BRANCAZIO
1729 EUCALYPTUS AVE                     10201 S. MAIN STREET                    10201 S. MAIN STREET
ENCINITAS, CA 92027                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KERRY HEAPS                             KERRY M HARRISON                        KERRY WEAVER
10201 S. MAIN STREET                    4242 N CAPISTRANO NO 172                10201 S. MAIN STREET
HOUSTON, TX 77025                       DALLAS, TX 75287                        HOUSTON, TX 77025




KERSTIN HIXON                           KESHARRA MILLER                         KESHAVION HOWARD
490 TRACY LN                            10201 S. MAIN STREET                    10201 S. MAIN STREET
BROWNSBURG, IN 46112                    HOUSTON, TX 77025                       HOUSTON, TX 77025




KESN OPERATING LTD DBA KESN FM 103.3    KESN-FM                                 KESQ-TV
3090 OLIVE ST W VICTORY PLAZA STE 400   CUMULUS DALLAS                          GULF CALIFORNIA BROADCAST CO
DALLAS, TX 75219                        3670 MOMENTUM PLACE                     PO BOX 873808
                                        CHICAGO, IL 60689-5336                  KANSAS CITY, MO 64187-3808




KESTLE BESS                             KETER ENVIRONMENTAL SERVICES INC        KETER ENVIRONMENTAL SERVICES INC
10201 S. MAIN STREET                    1177 HIGH RIDGE ROAD                    P.O. BOX 417468
HOUSTON, TX 77025                       STAMFORD, CT 06905                      BOSTON, MA 02241-7468




KETURAH MULLGRAVE                       KEVIN A MCKALE                          KEVIN ALVAREZ
10201 S. MAIN STREET                    10080 HART BRANCH CIRCLE                10201 S. MAIN STREET
HOUSTON, TX 77025                       ORLANDO, FL 32832                       HOUSTON, TX 77025




KEVIN AZEVEDO                           KEVIN BAKEMAN                           KEVIN BAKER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN BAKER                             KEVIN BASCH                             KEVIN BELTZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN BEYER                             KEVIN BIANCHI                           KEVIN BIDDIX
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN BILOTTA                           KEVIN BOLISH                            KEVIN BONSIGNORE
10201 S. MAIN STREET                                                            11618 W 77TH ST
HOUSTON, TX 77025                                                               LENEXA, KS 66214
KEVIN BOYER            Case 18-12241-CSS     Doc 26
                                      KEVIN BOYKIN         Filed 10/05/18   PageKEVIN
                                                                                 929BREWSTER
                                                                                      of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN BROOME                            KEVIN BROWN                             KEVIN BUTLER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN BYNUM                             KEVIN CAMPBELL                          KEVIN CAPERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN CAPERS                            KEVIN CAROLAN                           KEVIN CASTIC
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN CHASE                             KEVIN CLARK                             KEVIN COONS
10201 S. MAIN STREET                    1455 RIVERROCK TRAIL                    10201 S. MAIN STREET
HOUSTON, TX 77025                       RIVERDALE, GA 30296                     HOUSTON, TX 77025




KEVIN CORBY                             KEVIN CORRENTE                          KEVIN CRANMER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN D. FITZPATRICK JR. ATTORNEY LAW   KEVIN DATH                              KEVIN DAVIDSON
3100 CENTENNIAL TOWER                   10201 S. MAIN STREET                    10201 S. MAIN STREET
101 MARIETTA ST NW                      HOUSTON, TX 77025                       HOUSTON, TX 77025
ATLANTA, GA 30303-2720




KEVIN DAVIDSON                          KEVIN DELANCEY                          KEVIN DUNCAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN DUPLECHAIN                        KEVIN DYCK                              KEVIN EDMONDSTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    1320 PEMBRIDGE WAY NW
HOUSTON, TX 77025                       HOUSTON, TX 77025                       KENNESAW, GA 30152




KEVIN ERICKSON                          KEVIN ESCODA                            KEVIN ETHERIDGE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    2241 GREENWELL ROAD
HOUSTON, TX 77025                       HOUSTON, TX 77025                       VIRGINIA BEACH, VA 23455
KEVIN FOSTER           Case 18-12241-CSS     Doc 26
                                      KEVIN FRASER        Filed 10/05/18   PageKEVIN
                                                                                930GERVICH
                                                                                     of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




KEVIN GLOSS                           KEVIN GOEHRIG                            KEVIN GRECO
2627 S 69TH ST                        10201 S. MAIN STREET                     10201 S. MAIN STREET
MILWAUKEE, WI 53219                   HOUSTON, TX 77025                        HOUSTON, TX 77025




KEVIN HAILEY                          KEVIN HALL                               KEVIN HARDIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




KEVIN HARPER                          KEVIN HARRIS                             KEVIN HARRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




KEVIN HOGAN                           KEVIN HOLLINS                            KEVIN HOLLINS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




KEVIN HOROWITZ                        KEVIN HUGHES                             KEVIN HUGHES
10201 S. MAIN STREET                  1501 W O EZELL BLVD                      422 STE 80 AIRPORT RD
HOUSTON, TX 77025                     SPARTANBURG, SC 29301                    ARDEN, NC 28704




KEVIN HUMPERT                         KEVIN IRWIN                              KEVIN JAMES
10201 S. MAIN STREET                  10201 S. MAIN STREET                     1012 E TARA LEE
HOUSTON, TX 77025                     HOUSTON, TX 77025                        MEDICAL LAKE, WA 99022




KEVIN JAQUEZ                          KEVIN JAQUEZ                             KEVIN JEFFRIE
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




KEVIN JENNINGS                        KEVIN K KOSKE                            KEVIN KARGLE
10201 S. MAIN STREET                  3360 AURORA DR                           10201 S. MAIN STREET
HOUSTON, TX 77025                     LAKE IN THE HILLS, IL 60156              HOUSTON, TX 77025




KEVIN KARPIN                          KEVIN KASSAKATIS                         KEVIN KELLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025
KEVIN KENEFICK         Case 18-12241-CSS     Doc 26
                                      KEVIN KENNARD      Filed 10/05/18   PageKEVIN
                                                                               931KIBBE
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN KILCH                           KEVIN KIMBALL                           KEVIN KING
10201 S. MAIN STREET                                                          10201 S. MAIN STREET
HOUSTON, TX 77025                                                             HOUSTON, TX 77025




KEVIN KING                            KEVIN KUYKENDOLL                        KEVIN LACKY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    15402 HAZEL THICKET TR
HOUSTON, TX 77025                     HOUSTON, TX 77025                       CYPRESS, TX 77429




KEVIN LANE                            KEVIN LAROCQUE                          KEVIN LEMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    DOODLE HOUSE PRODUCTIONS
HOUSTON, TX 77025                     HOUSTON, TX 77025                       3750 WILLOWCREST AVE
                                                                              STUDIO CITY, CA 91604




KEVIN LOPEZ                           KEVIN LUCAS                             KEVIN MAIDY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN MANNING                         KEVIN MARKER                            KEVIN MATTHEWS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN MCBROOM                         KEVIN MCCAFFREY                         KEVIN MCCONKEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN MCKALE                          KEVIN MCKINLEY                          KEVIN MCNULTY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN MEINE                           KEVIN MEINERS                           KEVIN MELIO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN MILES                           KEVIN MILLER                            KEVIN MILLER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
KEVIN MILLER           Case 18-12241-CSS     Doc 26
                                      KEVIN MITCHELL      Filed 10/05/18   PageKEVIN
                                                                                932MORTON
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN MOSELEY                          KEVIN MOSELEY                           KEVIN MYLONAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN OKEEFE                           KEVIN ONEILL                            KEVIN PARATCHEK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN PETTITT                          KEVIN POWELL                            KEVIN POWELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN POWELL                           KEVIN PRICE CONSTRUCTION                KEVIN PRINCE
10201 S. MAIN STREET                   2500 DANIELS BRIDGE RD                  10201 S. MAIN STREET
HOUSTON, TX 77025                      ATHENS, GA 30306                        HOUSTON, TX 77025




KEVIN R MEE                            KEVIN RAMOS                             KEVIN REIS
3417 W ELK BUGLE LN                    10201 S. MAIN STREET                    10201 S. MAIN STREET
MERIDIAN, ID 83646                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN ROONEY                           KEVIN ROY                               KEVIN RUCKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN RUIZ                             KEVIN RUSSELL                           KEVIN SANFORD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN SCOTT                            KEVIN SEWARD                            KEVIN SHARER
10201 S. MAIN STREET                   1921 MORTON GLEN                        10201 S. MAIN STREET
HOUSTON, TX 77025                      ESCONDIDO, CA 92025                     HOUSTON, TX 77025




KEVIN SIMPSON                          KEVIN SINGLETON                         KEVIN SKINNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
KEVIN SMITH            Case 18-12241-CSS     Doc 26
                                      KEVIN SNIDER       Filed 10/05/18   PageKEVIN
                                                                               933SPOLETI
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN STEWART                         KEVIN SWANK                             KEVIN SYLVAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    5881 S 152ND ST APT D302
HOUSTON, TX 77025                     HOUSTON, TX 77025                       TUKWILA, WA 98188




KEVIN T POWELL                        KEVIN TALLEY                            KEVIN TAPPAN
8101 ASH RD                           10201 S. MAIN STREET                    10201 S. MAIN STREET
TEXAS CITY, TX 77591                  HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN THEOBALD                        KEVIN THOMPSON                          KEVIN THOMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN THORPE                          KEVIN TOOLE                             KEVIN TRAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN VASQUEZ                         KEVIN W HARDIN                          KEVIN WALKER
10201 S. MAIN STREET                  PO BOX 572                              10201 S. MAIN STREET
HOUSTON, TX 77025                     MONTGOMERY, TX 77356                    HOUSTON, TX 77025




KEVIN WARMAN                          KEVIN WEBB                              KEVIN WEST
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN WILLIAMS                        KEVIN WILLIAMS                          KEVIN YEH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVIN ZHANG                           KEVIS KENDRICK                          KEVO HARRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KEVONNE BORELAND                      KEVU                                    KEWB
10201 S. MAIN STREET                  2940 CHAD DRIVE                         1588 CHARLES DRIVE
HOUSTON, TX 77025                     EUGENE, OR 97408                        REDDING, CA 96003
KEX                   Case     18-12241-CSS     Doc VENTURES
                                         KEY & YOUNG 26 FiledLP 10/05/18         PageKEY
                                                                                      934  of 1739
                                                                                         POINT PARTNERS LLC
5670 COLLECTIONS CENTER DR                1640 E T.C. JESTER 535                     DERRICK TAYLOR
CHICAGO, IL 60693                         HOUSTON, TX 77008                          ONE BURLINGTON WOODS DRIVE
                                                                                     BURLINGTON, MA 01803




KEYE C/O KUTV                             KEYF-FM                                    KEYLON RAMSAY
299 MAIN ST STE 150                       1601 E 57TH AVE                            10201 S. MAIN STREET
SALT LAKE CITY, UT 84111                  SPOKANE, WA 99223                          HOUSTON, TX 77025




KEYPOINT PARTNERS, LLC                    KEYPOINT PARTNERS, LLC                     KEYPOINT PARTNERS, LLC
4201 MITCHELLVILLE ROAD, SUITE 501        ATTN: PROPERTY MANAGEMENT                  KIRK SEMON
BOWIE, MD 20716                           174 COLONY PLACE                           ONE BURLINGTON WOODS DRIVE
                                          PLYMOUTH, MA 02360                         BURLINGTON, MA 01803




KEYS ENERGY SERVICES                      KEYS ENERGY SERVICES                       KEYS FIRE EXTINGUISHERS INC
1001 JAMES STREET                         P.O. BOX 6048                              PO BOX 430624
PO BOX 6100                               KEY WEST, FL 33041                         BIG PINE KEY, FL 33043
KEY WEST, FL 33040




KEYSHEA BOLDEN                            KEYSTONE CENTER PARTNERS LTD               KEYSTONE CENTER PARTNERSHIP, LTD.
10201 S. MAIN STREET                      18205 BISCAYNE BLVD STE 2202               18205 BISCAYNE BLVD., SUITE 2202
HOUSTON, TX 77025                         AVENTURA, FL 33160                         AVENTURA, FL 33160




KEYSTONE COLLECTIONS GROUP                KEYSTONE COMMERCIAL REAL ESTATE, LLC       KEYSTONE COMMERCIAL REAL ESTATE, LLC
PO BOX 489                                MATT BERKE                                 RYAN KATTOO
IRWIN, PA 15642                           31000 NORTHWESTERN HIGHWAY, SUITE 200      31000 NORTHWESTERN HIGHWAY, SUITE 200
                                          FARMINGTON HILLS, MI 48334                 FARMINGTON HILLS, MI 48334




KEYSTONE SHOPPES LLC                      KEYSTONE SHOPPES LLC                       KEYSTONE SHOPPES LLC
10 NW 42ND AVE 700                        C/O M.S. MANAGEMENT ASSOCIATES, INC.       DBA KEYSTONE SHOPPES
MIAMI, FL 33126                           225 WEST WASHINGTON STREET                 2626 MOMENTUM PLACE
                                          INDIANAPOLIS, IN 46204-3438                CHICAGO, IL 60689-5326




KEYSTONE VENTURES, LLC                    KEYW-FM                                    KEZA-FM
SHEREE KISCO                              PO BOX 2485                                PO BOX 847451
420 CLINTON PLACE                         PASCO, WA 99302                            DALLAS, TX 75284-7451
RIVER PLACE, IL 60305




KEZI INC                                  KEZIAH MCCARTHY                            KEZK-FM
PO BOX 7009                               10201 S. MAIN STREET                       CBS RADIO STATIONS
SPRINGFIELD, OR 97475                     HOUSTON, TX 77025                          25003 NETWORK PL
                                                                                     CHICAGO, IL 60673-1250




KEZO-FM                                   KEZR-FM                                    KF OAK LAWN, LLC
OMAHA                                     ATTN: TRANG NGUYEN                         C/O KEELER REAL ESTATE, LLC
PO BOX 203590                             109 PARK CENTER PLAZA STE 200              350 WEST HUBBARD ST STE 620
DALLAS, TX 75320-3590                     SAN JOSE, CA 95113                         ATTN: EDWARD VDOVETS, MANAGER
                                                                                     CHICAGO, IL 60654
KF OAK LAWN, LLC       Case 18-12241-CSS
                                      KFAB-AMDoc 26     Filed    10/05/18   PageKFBI
                                                                                 935 of 1739
C/O KEELER REAL ESTATE, LLC           PO BOX 419499                             820 CRATER LAKE HWY
350 WEST HUBBARD STREET, SUITE 620    BOSTON, MA 02241-9499                     MEDFORD, OR 97504
ATTN: EDWARD VDOVETS, MANAGER
CHICAGO, IL 60654



KFBW-FM                                KFBZ-FM                                  KFDI-FM
5670 COLLECTIONS CENTER DR             ENTERCOM WICHITA                         SCRIPPS MEDIA
CHICAGO, IL 60693                      9111 E DOUGLAS STE 130                   PO BOX 203578
                                       WICHITA, KS 67207                        DALLAS, TX 75320-3578




KFFF-FM                                KFFM-FM                                  KFFN-AM
PO BOX 419499                          4010 SUMMITVIEW AVE                      TUCSON
BOSTON, MA 02241-9499                  YAKIMA, WA 98908                         PO BOX 203596
                                                                                DALLAS, TX 75320-3596




KFGY FM                                KFIA                                     KFIS-FM
1410 NEOTOMAS AVE 200                  PO BOX 845581                            6400 SE LAKE ROAD SUITE 350
SANTA ROSA, CA 95405                   LOS ANGELES, CA 90084-5581               PORTLAND, OR 97222




KFLY                                   KFMA-FM                                  KFMB RADIO
1500 VALLEY RIVER DR STE 350           3871 N COMMERCE DR                       7677 ENGINEER ROAD
EUGENE, OR 97401                       TUCSON, AZ 85705                         SAN DIEGO, CA 92111




KFMB8.2                                KFMB-TV                                  KFMD-FM
7677 ENGINEER RD                       7677 ENGINEER RD                         HOG RADIO INC
SAN DIEGO, CA 92111                    SAN DIEGO, CA 92111                      PO BOX 191
                                                                                BERRYVILLE, AR 72616




KFMX-FM                                KFOG - FM                                KFORCE INC
TSM LUBBOCK                            3667 MOMENTUM PLACE                      PO BOX 277997
PO BOX 301650                          CHICAGO, IL 60689-5336                   ATLANTA, GA 30384-7997
DALLAS, TX 75303-1650




KFP PARTNERS                           KFP PARTNERS                             KFP PARTNERS
ATTN: PHIL KEAT                        C/O STEPHEN FOSTER WILLIAMS-AGENT        P.O. BOX 25993
P.O. BOX 25993                         PO BOX 930                               ATTN: PHIL KEAT
HONOLULU, HI 96825                     WAIMANALO, HI 96795                      HONOLULU, HI 96825




KFP PARTNERS                           KFRG                                     KFRR
PO BOX 25993                           PO BOX 100180                            1415 FULTON ST
HONOLULU, HI 96825-0993                PASADENA, CA 91189-0180                  FRESNO, CA 93721




KFSN-TV                                KFSPEI LP                                KFSPEI, LP
ATTN: KFSN-303                         PO BOX 645777                            11 PARKWAY CENTER, SUITE 300
PO BOX 732384                          PITTSBURGH, PA 15264-5255                PITTSBURGH, PA 15220
DALLAS, TX 75373-2384
KFT ENTERPRISES NO. 4, LPCase 18-12241-CSS     Doc 26 NO.Filed
                                        KFT ENTERPRISES      4, LP 10/05/18   PageKFT
                                                                                   936  of 1739 INC.
                                                                                      MANAGEMENT,
C/O KFT MANAGEMENT, INC.                KFT MGMT INC                              VANESSA ROSEMUND
11620 WILSHIRE BOULEVARD, SUITE 420     11620 WILSHIRE BLVD STE 420               11620 WILSHIRE BOULEVARD, SUITE 420
ATTN: MARK KAPLAN                       ATTN: MARK KAPLAN                         LOS ANGELES, CA 90025
LOS ANGELES, CA 90025                   LOS ANGELES, CA 90025



KFVE                                     KFXO-TV                                  KFXX
420 WAIAKAMILO RD                        PO BOX 873808                            0700 SW BANCROFT ST
HONOLULU, HI 96817                       KANSAS CITY, MO 64187-3808               PORTLAND, OR 97239




KGBX-FM                                  KGET-TV                                  KGI PROPERTIES, LLC
PO BOX 847572                            NEXSTAR TV                               ATTN: JAMIE AUDETTE
DALLAS, TX 75284-7572                    2175 WEST 1700 SOUTH                     10 MEMORIAL BLVD., SUITE 901
                                         SALT LAKE CITY, UT 84104                 PROVIDENCE, RI 02903




KGLK-FM                                  KGMB                                     KGO TV
COX MEDIA GROUP HOUSTON                  420 WAIAKAMILO RD 205                    PO BOX 732384
PO BOX 83193                             HONOLULU, HI 96817                       DALLAS, TX 75373-2384
CHICAGO, IL 60691-0193




KGO-AM                                   KGON                                     KGPE-TV
3667 MOMENTUM PLACE                      0700 SW BANCROFT ST                      5035 E. MCKINLEY AVE.
CHICAGO, IL 60698-5336                   PORTLAND, OR 97239                       FRESNO, CA 93727




KGTV-TV                                  KGW-TV                                   KHADEJHA BARNES
SCRIPPS MEDIA INC                        PO BOX 101449                            10201 S. MAIN STREET
PO BOX 844521                            PASADENA, CA 91189-1449                  HOUSTON, TX 77025
LOS ANGELES, CA 90084-4521




KHADIJAH ABDULLAH                        KHADISHA MIXON                           KHAIRUL BASHER
215 SYLVERSTER AVE                       10201 S. MAIN STREET                     10201 S. MAIN STREET
RACELAND, LA 70394                       HOUSTON, TX 77025                        HOUSTON, TX 77025




KHAIS MCATEE                             KHALED KHRINO                            KHALID HAMMINI
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




KHALID IBRAHIM                           KHALID KHOST                             KHALIL BECKWITH
10201 S. MAIN STREET                     10201 S. MAIN STREET                     1923 E 173RD ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                        SOUTH HOLLAND, IL 60473




KHALIL BOGGS                             KHALIL WARREN                            KHAN PHAM
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025
KHCM-FM                 Case   18-12241-CSS
                                         KHEALA Doc 26
                                                CARSON         Filed 10/05/18   PageKHHK-FM
                                                                                     937 of 1739
SALEM MEDIA OF HAWAII INC                10201 S. MAIN STREET                       PO BOX 2890
1160 N KING ST 2ND FL                    HOUSTON, TX 77025                          YAKIMA, WA 98907
HONOLULU, HI 96817




KHIP                                     KHKK-FM                                    KHKN-FM
60 GARDEN COURT 300                      3656 MOMENTUM PLACE                        PO BOX 847572
MONTEREY, CA 93940                       CHICAGO, IL 60689-5336                     DALLAS, TX 75284-7572




KHKS-FM                                  KHMX-FM                                    KHNL
PO BOX 847572                            PO BOX 730844                              420 WAIAKAMILO RD 205
DALLAS, TX 75284-7572                    DALLAS, TX 75373-0844                      HONOLULU, HI 96817




KHON                                     KHOP-FM                                    KHOU.COM
PO BOX 844304                            3656 MOMENTUM PLACE                        DEPT 730044
DALLAS, TX 75284                         CHICAGO, IL 60689-5336                     PO BOX 660919
                                                                                    DALLAS, TX 75266-0919




KHQ                                      KHRD-FM                                    KHRIISH CHHEDA
PO BOX 600                               1588 CHARLES DRIVE                         10201 S. MAIN STREET
SPOKANE, WA 99201                        REDDING, CA 96003                          HOUSTON, TX 77025




KHSL                                     KHSL-TV                                    KHTH-FM
2654 CRAMER LANE                         3461 SILVERBELL RD.                        SONOMA MEDIA GROUP
CHICO, CA 95928                          CHICO, CA 95973                            1410 NEOTOMAS AVE STE 200
                                                                                    SANTA ROSA, CA 95405




KHTI-FM                                  KHTK-AM                                    KHTP-FM ENTERCOM SEATTLE
ALL PRO BROADCASTING INC                 PO BOX 100182                              ENTERCOM SEATTLE
242 E AIRPORT DR STE 106                 PASADENA, CA 91189-0182                    800 5TH AVE SUITE 1400
SAN BERNARDINO, CA 92408                                                            SEATTLE, WA 98104




KHTQ-FM                                  KHWAJA QADEER                              KHYREE ROBINSON
PO BOX 749842                            10201 S. MAIN STREET                       10201 S. MAIN STREET
LOS ANGELES, CA 90074                    HOUSTON, TX 77025                          HOUSTON, TX 77025




KHYRI HOOKS                              KIA HARRIS                                 KIA MCDAVIS
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




KIANA BOYER                              KIANA EATON                                KIANA EATON
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025
KIARA BOOKER            Case 18-12241-CSS     Doc 26
                                       KIARA ELLIS        Filed 10/05/18    PageKIARA
                                                                                  938ROBERTS
                                                                                      of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KIARA SANDERS                          KIARA SEGURA                             KIARA SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KIARA TAYLOR                           KIARAH ROBERTS-BATES                     KIAZHA HERRING
10201 S. MAIN STREET                   10201 S. MAIN STREET                     4325 COLLEGE AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                        KANSAS CITY, MO 64130




KICKFACTORY INC                        KICT-FM                                  KICU-TV
21660 W FIELD PKWY STE 121             SCRIPPS MEDIA                            32997 COLLECTION CENTER DR
DEER PARK, IL 60010                    PO BOX 203578                            CHICAGO, IL 60693-0329
                                       DALLAS, TX 75320-3578




KID DYNAMITE REALTY CORP               KID DYNAMITE REALTY CORP.                KIDADA YOW
171 JAFFRAY STREET                     ATTN: MICHAEL GANI                       10201 S. MAIN STREET
ATTN: MICHAEL GANI                     171 JAFFRAY ST                           HOUSTON, TX 77025
BROOKLYN, NY 11235                     BROOKLYN, NY 11235




KIDDER MATHEWS                         KIDDER MATTHEWS                          KIDIST ATNAFU
2555 EAST CAMELBACK ROAD, SUITE 100    CAROL CUNNHA, SR. PROPERTY MANAGER       7115 HARMONY COVE
PHOENIX, AZ 85016                      2237 DOUGLAS BOULEVARD, SUITE 100        HOUSTON, TX 77036
                                       ROSEVILLE, CA 95661




KIDO AM TOWN SQUARE MEDIA              KIDZ WORLD                               KIEFER TAYLOR
827 E PARK BLVD 100                    PO BOX 1250                              10201 S. MAIN STREET
BOISE, ID 83712                        CALHOUN CITY, MS 38916                   HOUSTON, TX 77025




KIEFERS LAWN & LANDSCAPING LLC         KIEFFER & CO INC                         KIEL SHAFLEY
101 HILLVIEW TERR                      3322 WASHINGTON AVE                      10201 S. MAIN STREET
FENTON, MO 63026                       PO BOX 1087                              HOUSTON, TX 77025
                                       SHEBOYGAN, WI 53082-1087




KIELE BAKER                            KIELYN TAYLOR                            KIEMLE & HAGOOD CO
10201 S. MAIN STREET                   10201 S. MAIN STREET                     601 W MAIN STE 400
HOUSTON, TX 77025                      HOUSTON, TX 77025                        SPOKANE, WA 99201




KIERA ALLEN                            KIERA GARRETT                            KIERAN MILLIGAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
KIERNAN GOODEN          Case 18-12241-CSS
                                       KIERNANDoc  26
                                               LINDSEY     Filed 10/05/18   PageKIERON
                                                                                  939 of 1739
                                                                                       MOORE
618 MOUNTAIN WOOD DR                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HIXSON, TN 37343                        HOUSTON, TX 77025                       HOUSTON, TX 77025




KIERON ROBERTS                          KIERRA MILES                            KIERRE WHITE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KIERSTED SYSTEMS LP                     KIERSTEN LOWE                           KIESEAN BRYANT
1301 FANNIN STE 750                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77002                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KIFS-FM                                 KIGL-FM                                 KIKI-AM
3624 AVION DR                           PO BOX 847451                           IHEARTMEDIA
MEDFORD, OR 97504                       DALLAS, TX 75284-7451                   PO BOX 50623
                                                                                LOS ANGELES, CA 90074-0623




KILDEER SC LLC                          KILDEER SC LLC                          KILGORE INDUSTRIES LP
C/O KIMCO REALTY CORPORATION            DEPT CPDE: SILK1397A/LMATT100           10050 HOUSTON OAKS DR
3333 NEW HYDE PARK ROAD, SUITE 100      PO BOX 82565                            HOUSTON, TX 77064
NEW HYDE PARK, NY 11042                 GOLETA, CA 93118-2565




KILLEEN DAILY HERALD                    KILLEEN WS YOUNG LP                     KILLIAN COLEMAN
PO BOX 1300                             5950 BERKSHIRE LN STE 200               10201 S. MAIN STREET
KILLEEN, TX 76540                       DALLAS, TX 75225                        HOUSTON, TX 77025




KILLIAN JAMISON                         KILLINGLY                               KILO-FM
10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.                1805 E CHEYENNE RD
HOUSTON, TX 77025                       172 MAIN ST                             COLORADO SPRINGS, CO 80905
                                        KILLINGLY, CT 06239




KILT-AM                                 KILT-FM                                 KIM AHEARN
PO BOX 730844                           PO BOX 730844                           10201 S. MAIN STREET
DALLAS, TX 75373-0844                   DALLAS, TX 75373                        HOUSTON, TX 77025




KIM BAKER                               KIM BARTON                              KIM BECKOM
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KIM BERRY                               KIM BIG 2 JV LP                         KIM CADDEN
10201 S. MAIN STREET                    PK I LA VERNE TOWN CENTER LP            53 DROWNE ST
HOUSTON, TX 77025                       3333 NEW HYDE PARK RD STE 100           PROVIDENCE, RI 02905
                                        NEW HYDE PARK, NY 11042
KIM CLODE-BAKER        Case 18-12241-CSS     Doc 26
                                      KIM COTTEN          Filed 10/05/18   PageKIM
                                                                                 940 of 1739
                                                                                   COURTWRIGHT
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




KIM GOLDWYN                           KIM HAMILTON                             KIM HAMILTON
10201 S. MAIN STREET                  467 WEST 144TH ST                        C/O THE GUCCIARDO LAW FIRM PLLC
HOUSTON, TX 77025                     NEW YORK, NY 10031                       ATTN: JON-PAUL GABRIELE
                                                                               170 OLD COUNTRY ROAD, SUITE 609
                                                                               MINEOLA, NY 11501



KIM HENRY-NELSON                      KIM KNOWLEN                              KIM LAROCHELLE
10201 S. MAIN STREET                  412 WALL STREET                          10201 S. MAIN STREET
HOUSTON, TX 77025                     MANKATO, MN 56003                        HOUSTON, TX 77025




KIM LEGG                              KIM LIGHTFOOT                            KIM MARSH
10201 S. MAIN STREET                  2217 HARBOR BLVD APT C1                  10201 S. MAIN STREET
HOUSTON, TX 77025                     COSTA MESA, CA 92627                     HOUSTON, TX 77025




KIM MAUNZ                             KIM MCLEAREN                             KIM MURPHY
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




KIM NGUYEN                            KIM S TRACHTENBERG                       KIM STORY
10201 S. MAIN STREET                  15 GUN POWDER DRIVE                      10201 S. MAIN STREET
HOUSTON, TX 77025                     EAST BRUNSWICK, NJ 08816                 HOUSTON, TX 77025




KIM STROJNY                           KIM SUEING                               KIM TALFORD
10201 S. MAIN STREET                  10201 S. MAIN STREET                     310 RIVERSIDE BLVD APD 3I
HOUSTON, TX 77025                     HOUSTON, TX 77025                        LONG BEACH, NY 11561




KIM VANEK                             KIM WILKISSON                            KIM WRIGHT
10201 S. MAIN STREET                  1 GREGORY DR                             117 WESTOVER HILLS DRIVE
HOUSTON, TX 77025                     MONTVILLE, NJ 07045                      CARY, NC 27513




KIMAMBY BAKER                         KIMANI JONES                             KIMBERLEE WRIGHT
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




KIMBERLEE WRIGHT                      KIMBERLEY ROBERTS                        KIMBERLEY SCHOLL
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025
                     Case
KIMBERLY ADAMS TREMPER      18-12241-CSS     Doc
                                      KIMBERLY    26
                                               AGUILA     Filed 10/05/18   PageKIMBERLY
                                                                                 941 of ALCALA
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KIMBERLY ALEXANDER                     KIMBERLY B FRECHETTE                    KIMBERLY BROCKLEHURST
10201 S. MAIN STREET                   20 FULLAM HILL ROAD                     10201 S. MAIN STREET
HOUSTON, TX 77025                      NORTH BROOKFIELD, MA 01535              HOUSTON, TX 77025




KIMBERLY BROWNE                        KIMBERLY BULLOCK                        KIMBERLY CALLIHAN
31110 PARK BLVD                        5430 BELLINGHAM AVE 306                 10201 S. MAIN STREET
NUEVO, CA 92567                        VALLEY VILLAGE, CA 91607                HOUSTON, TX 77025




KIMBERLY CASTELLANOS                   KIMBERLY CASTILLO                       KIMBERLY COHEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KIMBERLY DASTE                         KIMBERLY HARDISON                       KIMBERLY HARRIS
10201 S. MAIN STREET                   2300 E NUGENT ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                      LANCASTER, CA 93535                     HOUSTON, TX 77025




KIMBERLY HARTMAN                       KIMBERLY JAMES                          KIMBERLY JAN MCLEAREN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    300 CYBERONICS BLVD
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77058




KIMBERLY JOHNSON                       KIMBERLY KERNEY                         KIMBERLY KRAMIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KIMBERLY LASHAY GAMBLE                 KIMBERLY LETTENMAIER                    KIMBERLY LONG
115 BURLINGTON CT                      61045 CHAMOMILE PL                      10201 S. MAIN STREET
DOTHAN, AL 36305                       BEND, OR 97702                          HOUSTON, TX 77025




KIMBERLY LUNSFORD                      KIMBERLY MARSHALL                       KIMBERLY MATTHEWS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KIMBERLY MELENDEZ                      KIMBERLY MICHAEL                        KIMBERLY PAWLOWSKI
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
KIMBERLY ROWE           Case 18-12241-CSS     Doc
                                       KIMBERLY    26 Filed 10/05/18
                                                SAVAGE                      PageKIMBERLY
                                                                                  942 of ST.
                                                                                         1739ONGE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KIMBERLY STOCKER                       KIMBERLY SUTTON                          KIMBERLY TREMAINE
10201 S. MAIN STREET                   111 WEST 6TH ST                          10201 S. MAIN STREET
HOUSTON, TX 77025                      WEATHERFORD, TX 76086                    HOUSTON, TX 77025




KIMBERLY VANEK                         KIMBERLY VILLALONA                       KIMBERLY WALLER
923 ROCK SPRINGS DR                    10201 S. MAIN STREET                     3515 DAYTON ST.
RICHMOND, TX 77469                     HOUSTON, TX 77025                        HEPHZIBAH, GA 30815




KIMBERLY ZELAYA                        KIM-BIG JV LP                            KIM-BIG JV LP
10201 S. MAIN STREET                   3333 NEW HYDE PARK RD STE 100            PO BOX 82565
HOUSTON, TX 77025                      NEW HYDE PARK, NY 11042                  DEPT CODE: SCAR1155C
                                                                                GOLETA, CA 93118-2565




KIMBLE AND ASSOCIATES PROPERTY         KIMBLE RECYCLING & DISPOSAL              KIMBLE RECYCLING & DISPOSAL
MANAGEMENT, LLC                        3596 STATE ROUTE 39 NW                   P.O. BOX 448
650 AMITY ROAD                         DOVER, OH 44622                          DOVER, OH 44622
HOT SPRINGS, AR 71913




KIMBRY PEEK                            KIMCHI NGUYEN                            KIMCO ARBOR LAKES SC. LLC
7239 LAUREL CREEK DR                   10201 S. MAIN STREET                     C/O KIMCO REALTY CORP.
STOCKBRIDGE, GA 30281                  HOUSTON, TX 77025                        3333 NEW HYDE PARK RD, SUITE 100
                                                                                NEW HYDE PARK, NY 11042




KIMCO ARBOR LAKES SC. LLC              KIMCO AUSTIN LP                          KIMCO AUSTIN, LP
C/O KIMCO REALTY CORP.                 PO BOX 82565                             C/O KIMCO REALTY CORP.
P.O. BOX 82565 DEPT SMNM1558           GOLETA, CA 93118-2565                    3333 NEW HYDE PARK RD, SUITE 100
GOLETA, CA 93118-2565                                                           NEW HYDE PARK, NY 11042




KIMCO AUSTIN, LP                       KIMCO BATON ROUGE 1183 LLC               KIMCO BATON ROUGE 1183 LLC
PO BOX 82565                           C/O KIMCO REALTY CORP.                   PO BOX 6203
GOLETA, CA 93118-2565                  3333 NEW HYDE PARK RD, SUITE 100         HICKSVILLE, NY 11801
                                       NEW HYDE PARK, NY 11042




KIMCO BURLESON LP                      KIMCO GREAT BARRINGTON 609 INC           KIMCO GREAT BARRINGTON 609 INC
C/O KIMCO REALTY CORP.                 PO BOX 6203                              PO BOX 6203
3333 NEW HYDE PARK RD, SUITE 100       HICKSVILLE, NY 11802                     HICKSVILLE, NY 11802
NEW HYDE PARK, NY 11042




KIMCO INCOME OPER PRTN                 KIMCO INCOME OPERATING PARTNERSHIP       KIMCO INCOME OPERATING PARTNERSHIP
DBA KIR ARBORETUM CROSSING LP          LP                                       LP
3333 NEW HYDE PARK RD STE 100          DBA KIR PASADENA II LP                   KIR AUGUSTA II LP
NEW HYDE PARK, NY 11042                3333 NEW HYDE PARK RD STE 100            3333 NEW HYDE PARK RD STE 100
                                       NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042
KIMCO LAKE PRAIRIE TC, LPCase   18-12241-CSS     Doc 26LP Filed 10/05/18
                                          KIMCO LUBBOCK                        PageKIMCO
                                                                                     943 MALLSIDE
                                                                                         of 1739PLAZA   LLC
C/O KIMCO REALTY CORP.                    C/O KIMCO REALTY CORP.                   C/O KIMCO REALTY CORP.
3333 NEW HYDE PARK RD STE 100             3333 NEW HYDE PARK RD STE 100            3333 NEW HYDE PARK RD STE 100
NEW HYDE PARK, NY 11042                   NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042




KIMCO METRO CROSSING LP                   KIMCO MIDDLEBURG LLC                     KIMCO MONTGOMERY PLAZA LP
PO BOX 82565                              PO BOX 6203                              PO BOX 82565
GOLETA, CA 93118-2565                     HICKSVILLE, NY 11802-6203                DEPT CD STXF1100LMATTGIOO
                                                                                   GOLETA, CA 93118-2565




KIMCO NORTH BRUNSWICK 617 INC             KIMCO NORTH BRUNSWICK 617 INC            KIMCO NORTH BRUNSWICK 617, INC
DEPT CODE: SNJN0617                       PO BOX 6203                              C/O KIMCO REALTY CORPORATION
PO BOX 6203                               HICKSVILLE, NY 11802                     3333 NEW HYDE PARK ROAD, SUITE 100
HICKSVILLE, NY 11802-6203                                                          NEW HYDE PARK, NY 11042




KIMCO NORTH BRUNSWICK 617, INC            KIMCO NORTH BRUNSWICK 617, INC           KIMCO PEPPERTREE INC
DEPT CODE: SNJN0617                       PO BOX 6203                              3333 NEW HYDE PARK RD STE 100
PO BOX 6203                               HICKSVILLE, NY 11802                     NEW HYDE PARK, NY 11042-0020
HICKSVILLE, NY 11802-6203




KIMCO RALEIGH LIMITED PARTNERSHIP         KIMCO RALEIGH LIMITED PARTNERSHIP        KIMCO RALEIGH LIMITED PARTNERSHIP
C/O KIMCO REALTY CORP.                    PO BOX 5020                              VICTOR AGUILAR
3333 NEW HYDE PARK ROAD, SUITE 100        NEW HYDE PARK, NY 11042-0020             200 RAFAEL CORDERO, SUITE 1800
NEW HYDE PARK, NY 11042-0020                                                       CAGUAS, PR 725




KIMCO REALTY COPRORATION                  KIMCO REALTY CORPORATION                 KIMCO REALTY CORPORATION
DBA KIMCO ARBOR LAKES S.C.LLC             1954 GREENSPRING DR STE 330              1954 GREENSPRING DR STE 330
3333 NEW HYDE PARK STE 100                LUTHERVILLE TIMONIUM, MD 21093           TIMONIUM, MD 21093
NEW HYDE PARK, NY 11042




KIMCO REALTY CORPORATION                  KIMCO REALTY CORPORATION                 KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, SUITE 100        3333 NEW HYDE PARK ROAD, SUITE 100       3333 NEW HYDE PARK ROAD, SUITE 100
ATTN: LEGAL DEPARTMENT                    NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042-0020
NEW HYDE PARK, NY 11042-0020




KIMCO REALTY CORPORATION                  KIMCO REALTY CORPORATION                 KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, SUITE 100        BAYOU WALK DUNHILL LTD                   C/O KIMCO REALTY CORPORATION
NEW YORK, NY 11042                        3333 NEW HYDE PARK STE 100               1954 GREENSPRING DRIVE, SUITE 330
                                          NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042-0020




KIMCO REALTY CORPORATION                  KIMCO REALTY CORPORATION                 KIMCO REALTY CORPORATION
CHARLOTTE MANLEY/CHARLENE RIVERA          DBA ATASCOCITA 1692 LLC                  DBA KIMCO LUBBOCK LP
55 W, CRYSTAL LAKE STREET, 30             3333 NEW HYDE PARK STE 100               3333 NEW HYDE PARK RD STE 100
ORLANDO, FL 32806                         NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042




KIMCO REALTY CORPORATION                  KIMCO REALTY CORPORATION                 KIMCO REALTY CORPORATION
DBA PL MESA PAVILLIONS LLC                DBA TOMBALL CROSSINGS 1693 LLC           DEPT SPAS0288
3333 NEW HYDE PARK RD STE 100             3333 NEW HYDE PARK STE 100               PO BOX 6203
NEW HYDE PARK, NY 11042-0020              NEW HYDE PARK, NY 11042                  HICKSVILLE, NY 11802-6203
                       Case
KIMCO REALTY CORPORATION         18-12241-CSS     Doc 26
                                           KIMCO REALTY     Filed 10/05/18
                                                        CORPORATION              PageKIMCO
                                                                                       944 REALTY
                                                                                           of 1739CORPORATION
GP MARKETPLACE 1750 LLC                     JOAN MORRISON                            KYLEANN PIERINO
3333 NEW HYDE PARK RD STE 100               3333 NEW HYDE PARK ROAD, SUITE 100       6060 PIEDMONT ROW DRIVE SOUTH, SUITE
NEW HYDE PARK, NY 11042                     NEW HYDE PARK, NY 11042-0020             200
                                                                                     CHARLOTTE, NC 28287



KIMCO REALTY CORPORATION                    KIMCO REALTY CORPORATION                 KIMCO REALTY CORPORATION
P.O. BOX 82565                              PO BOX 6203                              STEVE ESHLEMAN
DEPT CODE STXC 1555/                        HICKSVILLE, NY 11802                     3333 NEW HYDE PARK RD STE 100
GOLETA, CA 93118-2565                                                                NEW HYDE PARK, NY 11042-0020




KIMCO REALTY CORPORATION                    KIMCO REALTY                             KIMCO REALTY
VICTOR AGUILAR                              10260 WESTHEIMER, SUITE 470              2249 PARK AVENUE
200 RAFAEL CORDERO, SUITE 1800              HOUSTON, TX 77042                        ATTIN: CYNTHIA SOLIS
CAGUAS, PR 725                                                                       TUSTIN, CA 92781




KIMCO REALTY                                KIMCO REALY CORPORATION                  KIMCO RIVERVIEW, LLC
P.O. BOX 6208                               GP MARKETPLACE 1750 LLC                  C/O KIMCO REALTY CORPORATION
DEPT CODE: SNDC0016/LMATTFI00               3333 NEW HYDE PARK RD STE 100            3333 NEW HYDE PARK RD STE 100
HICKSVILLE, NY 11802                        NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042




KIMCO TYVOLA LP                             KIMCO TYVOLA, LP                         KIMCO UNION CRESCENT I, LLC
PO BOX 6203                                 C/O KIMCO REALTY CORPORATION             C/O KIMCO REALTY CORPORATION
HICKSVILLE, NY 11801                        3333 NEW HYDE PARK RD STE 100            3333 NEW HYDE PARK RD STE 100
                                            ATTN: DARY KHEN                          ATTN: DARY KHEN
                                            NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042



KIMCO UNION CRESCENT I, LLC                 KIMCO UNION CRESCENT I, LLC              KIMCO WEBER/ LAKE PRAIRIE TC. LP
DEPT CODE: SNJU1577                         PO BOX 6203                              3333 NEW HYDE PARK ROAD
PO BOX 6203                                 HICKSVILLE, NY 11802                     STE 100
HICKSVILLE, NY 11802-6203                                                            NEW HYDE PARK, NY 11042




KIMCO WEBER/ LAKE PRAIRIE TC. LP            KIMCO WESTLAKE, LP                       KIMCO WESTLAKE, LP
PO BOX 82565                                C/O KIMCO REALTY CORPORATION             C/O KIMCO REALTY CORPORATION
DEPT. CODE: STXG 1354                       1621-B SOUTH MELROSE DRIVE               3333 NEW HYDE PARK RD STE 100
GOLETA, CA 93118-2565                       ATTN: LEGAL DEPARTMENT                   ATTN: LEGAL DEPARTMENT
                                            VISTA, CA 92081                          NEW HYDE PARK, NY 11042



KIMCO WESTLAKE, LP                          KIMCO WESTLAKE, LP                       KIMCO/WEBER LAKE PRAIRIE TC. LP
C/O KIMCO REALTY CORPORATION                PO BOX 82565                             P.O. BOX 82565
3333 NEW HYDE PARK RD STE 100               GOLETA, CA 93118-2565                    DEPT. CODE: STXG 1354
ATTN: LEGAL DEPARTMENT                                                               GOLETA, CA 93118-2565
NEW HYDE PARK, NY 11042-0020



KIM-CPP PENTAGON CENTRE REIT LLC            KIM-CPP PENTAGON CENTRE REIT LLC         KIMMEL, SHAWN
PL PENTAGON LLC                             PROJECT ID: SVSAA1162B                   1410 NE SCHUYLER ST APT B
3333 NEW HYDE PARK RD STE 100               LEASE ID: LMATTFI00PO BOX 6203           PORTLAND, OR 97212-4448
NEW HYDE PARK, NY 11042                     HICKSVILLE, NY 11802-6203




KIMONE MCINTOSH                             KIMPT PERIMETER HOLDCO LLC               KIN PROPERTIES INC
10201 S. MAIN STREET                        DBA PERIMETER ATLANTA SC LLC             185 NW SPANISH RIVER BLVD STE 100
HOUSTON, TX 77025                           P.O. BOX 6203                            BOCA RATON, FL 33431
                                            DEPT CODE SGAA1584/6MATTFI00
                                            HICKSVILLE, NY 11802-6203
KIN PROPERTIES INC      Case 18-12241-CSS     Doc 26INC Filed 10/05/18
                                       KIN PROPERTIES                       PageKIN
                                                                                  945  of 1739 INC.
                                                                                    PROPERTIES,
185 NW SPANISH RIVER BLVD STE 100      185 NW SPANISH RIVER BLVD STE 100         185 NW SPANISH RIVER BLVD STE 100
BOCA RATON, FL 33431-4230              BOCA RATON, FL 33432-7451                 BOCA RATON, FL 33431




KIN PROPERTIES, INC.                    KIN PROPERTIES, INC.                     KIN PROPERTIES, INC.
185 NW SPANISH RIVER BLVD STE 100       185 NW SPANISH RIVER BLVD STE 100        185 NW SPANISH RIVER BLVD STE 100
BOCA RATON, FL 33431-4230               BOCA RATON, FL 33432-7451                BOCA RATON, FL 33434




KIN PROPERTIES, INC.                    KIN PROPERTIES, INC.                     KIN PROPERTIES, INC.
185 NW SPANISH RIVER BOULEVARD, SUITE   LUCY TRIVELLI                            ROBERT CRUM
100                                     185 NW SPANISH RIVER BLVD STE 100        185 NW SPANISH RIVER BLVD STE 100
BOCA RATON, FL 33431                    BOCA RATON, FL 33434                     BOCA RATON, FL 33431




KINDEL ELAM                             KINDEL ELAM                              KINDLER ENTERPRISES LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                     1148 14TH AVE SOUTH
HOUSTON, TX 77025                       HOUSTON, TX 77025                        BIRMINGHAM, AL 35205




KING COUNTY TREASURER                   KING COUNTY TREASURY                     KING GEORGE
ATTN: PROPERTY TAX DEPT.                ATTN: PROPERTY TAX DEPT.                 ATTN: PROPERTY TAX DEPT.
500 FOURTH AVE ROOM 600                 500 FOURTH AVE ROOM 600                  10459 COURTHOUSE DR STE 101
SEATTLE, WA 98104                       SEATTLE, WA 98104                        KING GEORGE, VA 22485-3865




KING JOHNSON                            KING KOIL LICENSING                      KING KOIL NORTHEAST
10201 S. MAIN STREET                    24 THOMPSON RD                           24 THOMPSON RD
HOUSTON, TX 77025                       EAST WINDSOR, CT 06088                   EAST WINDSOR, CT 06088




KING PALLET INC                         KING PALLET INC                          KING PALLET INC
1112 HENGEMIHLE AVE                     112 HENGEMIHLE AVE                       239 SOUTH 8TH AVENUE
BALTIMORE, MD 21221                     BALTIMORE, MD 21221                      CITY OF INDUSTRY, CA 91746




KINGOTT LLC                             KINGOTT LLC                              KINGOTT LLC
ATTN: JULIAN T. OTTLEY                  OTTLEY PROPERTIES                        P.O. BOX 17901
P.O. BOX 17901                          PO BOX 17901                             ATTN: JULIAN T. OTTLEY
RICHMOND, VA 23226                      RICHMOND, VA 23226                       RICHMOND, VA 23226




KINGS COUNTY TAX COLLECTOR              KINGS MALL PARTNERS LLC                  KINGS MOVING
1400 W LACEY BLVD                       C/O BLUEJAY MANAGEMENT LLC               7129 S 199TH ST
HANFORD, CA 93230-5997                  301 MILL RD STE L6                       GRETNA, NE 68028
                                        HEWLETT, NY 11557




KINGS OFFICE PLAZA LLC                  KINGS TIRE SERVICE INC                   KINGS TRANSPORTATION LLC
MICHAEL SEDAGHATI                       PO BOX 3511                              225 BROOKHAVEN DR
135 OCEANA DR E APT PH1C                BLUEFIELD, WV 24701                      CLAYTON, NC 27527
BROOKLYN, NY 11235
KINGS                  Case      18-12241-CSS
                                           KINGSANDoc 26 INC.
                                                   COMPANY, Filed 10/05/18         PageKINGSBRIDGE
                                                                                         946 of 1739
                                                                                                   M.U.D.
ATTN: PROPERTY TAX DEPT.                    C/O KIN PROPERTIES, INC.                    11111 KATY FREEWAY 725
1400 W LACEY BLVD                           185 NW SPANISH RIVER BLVD, SUITE 100        HOUSTON, TX 77079-2197
HANFORD, CA 93230-5997                      BOCA RATON, FL 33434




KINGSBRIDGE M.U.D.                          KINGSBRIDGE MUD                             KINGSDOWN INC
P.O. BOX 4824                               P.O. BOX 4824                               ATTN: CHIEF FINANCIAL OFFICER
HOUSTON, TX 77210-4824                      HOUSTON, TX 77210-4824                      126 WEST HOLT ST
                                                                                        MEBANE, NC 27302-0392




KINGSDOWN INC                               KINGSMEAD CORPORATION                       KINGSPORT PUBLISHING CORP
ATTN: CHIEF FINANCIAL OFFICER               C/O KANGER RE LLC                           PO BOX 4807
PO BOX 388                                  4465 KIPLING ST STE 106                     JOHNSON CITY, TN 37602-4807
MEBANE, NC 27302                            WHEAT RIDGE, CO 80033




KINGSTON REAL HOLDING AVV                   KINGSTOWNE SHOPPING CENTER LP               KINGSTOWNE TOWNE CENTER L.P.
C/O ORION INVESTMENT & MGMT                 C/O COMAR MANAGEMENT, INC.                  C/O COMAR MANAGEMENT, INC.
200 SOUTH BISCAYNE BLVD 6TH FL              2900 LINDEN LN STE 300                      2900 LINDEN LANE, SUITE 300
MIAMI, FL 33131                             SILVER SPRING, MD 20910                     ATTN: JONATHAN HALLE
                                                                                        SILVER SPRING, MD 20910



KINGSTOWNE TOWNE CENTER, LP                 KING-TV                                     KINK-FM
C/O COMAR MANAGEMENT, INC.                  DEPT 710017                                 1211 SW FIFTH AVE, STE 600
2900 LINDEN LANE, SUITE 300                 PO BOX 514670                               PORTLAND, OR 97204
ATTN: JONATHAN HALLE                        LOS ANGELES, CA 90051-4670
SILVER SPRING, MD 20910



KINNELON FIRE PREVENTION BUREAU             KINSTON KINSTON SVCBS LLC                   KIOC-FM
130 KINNELON RD                             227 E. FRONT ST.                            IHEART MEDIA
KINNELON, NJ 07405                          NEWBERN, NC 28560                           PO BOX 847572
                                                                                        DALLAS, TX 75284-7572




KIOK-FM                                     KIONDRAE FAUST                              KIOP FOREST AVE L.P.
4304 W 24TH AVE STE 200                     10201 S. MAIN STREET                        DEPT CODE: SNYS0031
KENNEWICK, WA 99338                         HOUSTON, TX 77025                           PO BOX 6208
                                                                                        HICKSVILLE, NY 11802-6208




KIOP FOREST AVENUE, LP                      KIOPFOREST AVE LP                           KIPR-FM
C/O KIMCO REALTY CORPORATION                PO BOX 6208                                 CUMULUS LITTLE ROCK
3333 NEW HYDE PARK ROAD, SUITE 100          HICKSVILLE, NY 11802                        3643 MOMENTUM PLACE
NEW HYDE PARK, NY 11042-0020                                                            CHICAGO, IL 60689-5336




KIR ARBORETUM CROSSING 564 INC              KIR ARBORETUM CROSSING LP                   KIR ARBORETUM CROSSING, L.P.
P.O. BOX 82566                              C/O KIMCO REALTY CORPORATION                C/O KIMCO REALTY CORPORATION
DEPT. CODE: STXA 0564                       3333 NEW HYDE PARK ROAD, SUITE 100          3333 NEW HYDE PARK ROAD, SUITE 100
GOLETA, CA 93118-2566                       NEW HYDE PARK, NY 11042                     NEW HYDE PARK, NY 11042




KIR ARBORETUM CROSSING, L.P.                KIR ASSOCIATES                              KIR ASSOCIATES
C/O KIMCO REALTY CORPORATION                P.O. BOX 4005                               PO BOX 4005
3333 NEW HYDE PARK ROAD, SUITE 100          WILMINGTON, DE 19807                        WILMINGTON, DE 19807
NEW HYDE PARK, NY 11042-0020
KIR BATAVIA 051, LLC   Case 18-12241-CSS     Doc051,
                                      KIR BATAVIA  26LLCFiled     10/05/18      PageKIR
                                                                                      947  of 1739
                                                                                        BRANDON 011, LLC
C/O KIMCO REALTY CORPORATION          PO BOX 82566                                   C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, SUITE 100    DEPT SILB0051/                                 3333 NEW HYDE PARK ROAD, SUITE 100
NEW HYDE PARK, NY 11042-0020          GOLETA, CA 93118-2566                          ATTN: LEGAL DEPARTMENT
                                                                                     NEW HYDE PARK, NY 11042



KIR BRANDON 011, LLC                     KIR BRANDON 011, LLC                        KIR CARY 002, LLC
C/O KIMCO REALTY CORPORATION             C/O KIMCO REALTY CORPORATION                C/O KIMCO REALTY CORPORATION
6060 PIEDMONT ROW DR. SOUTH, SUITE 200   PO BOX 5020                                 3333 NEW HYDE PARK ROAD, SUITE 100
ATTN: LEGAL DEPARTMENT                   3333 NEW HYDE PARK                          NEW HYDE PARK, NY 11042
CHARLOTTE, NC 28287                      NEW HYDE PARK, NY 11042-0020



KIR CARY 002, LLC                        KIR CARY LP                                 KIR COPIAGUE LP
PO BOX 6208                              KIMCO REALTY CORPORATION                    DEPT CODE: SNYC0545
DEPT CODE: SNC0002/LMATTFI00             6060 PIEDMONT ROW DRIVE SOUTH, SUITE        PO BOX 6208
HICKSVILLE, NY 11802-6208                200                                         HICKSVILLE, NY 11802-6208
                                         ATTN: JAY ADAMS
                                         CHARLOTTE, NC 28273


KIR COPIAGUE LP                          KIR NEW HOPE COMMONS LIMITED                KIR NEW HOPE COMMONS LP
PO BOX 6208                              PARTNERSHIP                                 C/O KIMCO REALTY CORPORATION
HICKSVILLE, NY 11802                     PO BOX 6208                                 3333 NEW HYDE PARK ROAD, SUITE 100
                                         HICKSVILLE, NY 11801                        NEW HYDE PARK, NY 11042-0020




KIR NEW HOPE COMMONS LP                  KIR NORTHSIDE MARKET PLACE LP               KIR PASADENA II LP
PO BOX 6208                              C/O KIMCO REALTY CORPORATION                P.O. BOX 82566 DEPT CODE STXP010A
HICKSVILLE, NY 11801                     P O BOX 842817                              GOLETA, CA 93118-2566
                                         BOSTON, MA 02284-2817




KIR PASADENA II LP                       KIR PASADENA, LP                            KIR PASADENA, LP
PO BOX 82566                             C/O KIMCO REALTY CORPORATION                P.O. BOX 82566
DEPT CODE STXP0010A                      3333 NEW HYDE PARK ROAD, SUITE 100          DEPT CODE STXP 0010/
GOLETA, CA 93118-2566                    NEW HYDE PARK, NY 11042                     GOLETA, CA 93118-2566




KIR PASADENA, LP                         KIR TUKWILA 050 LLC                         KIR TUKWILA, LP
P.O. BOX 82566                           PO BOX 82566                                C/O KIMCO REALTY CORPORATION
GOLETA, CA 93118-2566                    GOLETA, CA 93118-2566                       1621-B SOUTH MELROSE DRIVE
                                                                                     ATTN: LEGAL DEPARTMENT
                                                                                     VISTA, CA 92081



KIR TUKWILA, LP                          KIR WESTGATE MARKET LP                      KIRA BROOKS
C/O KIMCO REALTY CORPORATION             DEPT CODE SKSW0561                          10201 S. MAIN STREET
3333 NEW HYDE PARK ROAD, SUITE 100       PO BOX 82566                                HOUSTON, TX 77025
ATTN: LEGAL DEPARTMENT                   GOLETA, CA 93118
NEW HYDE PARK, NY 11042-0020



KIRA CONRAD                              KIRA OLIVER                                 KIRA WHITAKER
10201 S. MAIN STREET                     10201 S. MAIN STREET                        5719 DA VINCI WAY
HOUSTON, TX 77025                        HOUSTON, TX 77025                           SACRAMENTO, CA 95835




KIRA WOODLING                            KIRBY L KEALON                              KIRBY MCCREIGHT
10201 S. MAIN STREET                     DBA KEALON CARRIER SERVICE LLC              4479 WINDSOR OAKS DRIVE
HOUSTON, TX 77025                        2 HIGH STREET                               MARIETTA, GA 30066
                                         CASTLE HAYNE, NC 28429
KIRE HAYWOOD           Case 18-12241-CSS     Doc 26
                                      KIRK BUTLER        Filed 10/05/18   PageKIRK
                                                                                948  of 1739
                                                                                   EDELMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KIRK GOLDIN                           KIRK GRAVES                             KIRK GRAVES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KIRK JOHNSTON                         KIRK MANAGEMENT                         KIRK WYLLIE
10201 S. MAIN STREET                  ERIN BECKLEY                            10201 S. MAIN STREET
HOUSTON, TX 77025                     1524 1/2 STATE STREET                   HOUSTON, TX 77025
                                      SANTA BARBARA, CA 93101




KIRK, LARRY                           KIRKWOOD MIDTOWN, LLC                   KIRO-AM
11312 BRISTOL ROCK RD                 ATTN: PIERRE BEJJANI                    BONNEVILLE INTERNATIONAL CORP
FLORISSANT, MO 63033-7507             11312 KINGSWORTHY LANE                  1820 EASTLAKE AVE E
                                      HOUSTON, TX 77024                       SEATTLE, WA 98102




KIROBALE WNEDEMENAH                   KIRO-FM                                 KIRO-TV
10201 S. MAIN STREET                  BONNEVILLE                              PO BOX 809148
HOUSTON, TX 77025                     1820 EASTLAKE AVE E                     CHICAGO, IL 60680-9148
                                      SEATTLE, WA 98102




KIRSCHMAN REALTY, L.L.C.              KIRSTEN ALMIROLA                        KIRSTEN BECKER
ATTN: RICHARD KIRSCHMAN               10201 S. MAIN STREET                    10201 S. MAIN STREET
3631 CANAL STREET                     HOUSTON, TX 77025                       HOUSTON, TX 77025
NEW ORLEANS, LA 70119




KIRSTEN KREHEL                        KIRSTEN KRUGER                          KIRSTEN LARSON
14933 W 147TH ST                      10201 S. MAIN STREET                    10201 S. MAIN STREET
OLATHE, KS 66062                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KIRSTIN PARHAM                        KISC-FM                                 KISHA KNAZZE-CARBINS
10201 S. MAIN STREET                  PO BOX 847479                           10201 S. MAIN STREET
HOUSTON, TX 77025                     DALLAS, TX 75284-7479                   HOUSTON, TX 77025




KISHAN ENTERPRISES LLC                KISHORI BHATIA                          KISS VII-3 LP COMPANY
THE SHOPPING CENTER GROUP             10201 S. MAIN STREET                    DBA SILVERADO RANCH PLAZA
300 GALLERIA PKWY 12TH FL             HOUSTON, TX 77025                       ONE TOWNE SQUARE STE 1913
ATLANTA, GA 30339                                                             SOUTHFIELD, MI 48076




KISSIMMEE UTILITY AUTHORITY           KISSIMMEE UTILITY AUTHORITY             KISV-FM
1701 WEST CARROLL ST                  P.O. BOX 850001                         PO BOX 2700
KISSIMMEE, FL 34741                   ORLANDO, FL 32825-0096                  BAKERSFIELD, CA 93303
KISW-FM                  Case 18-12241-CSS
                                        KISX-FM Doc 26      Filed 10/05/18      PageKIT-AM
                                                                                      949 of 1739
ENTERCOM SEATTLE                         TOWNSQUARE MEDIA                           4010 SUMMITVIEW AVE
800 5TH AVE SUITE 1400                   PO BOX 301022                              YAKIMA, WA 98908
SEATTLE, WA 98104                        DALLAS, TX 75303-1022




KITCHENS KELLEY GAYNES, P.C.             KITE REALTY GROUP, LP                      KITE REALTY GROUP, LP
ATTN: WILLIAM J. BERG, ESQ.              30 S MERIDIAN ST STE 1100                  ANDREW HASBROOK, REGIONAL DIRECTOR
5555 GLENRIDGE CONNECTOR, SUITE 800      INDIANAPOLIS, IN 46204                     OF LEASING
ATLANTA, GA 30342                                                                   30 SOUTH MERIDIAN, SUITE 1100
                                                                                    INDIANAPOLIS, IN 46204



KITE REALTY GROUP, LP                    KITE REALTY GROUP, LP                      KITE REALTY GROUP, LP
DBA KITE KOKOMO LLC DIVISION 11          DBA KRG CHARLOTTE NORTHCREST LLC           DBA KRG MIRAMAR SQUARE LLC
4795 SOLUTIONS CENTER                    30 S MERIDIAN ST STE 1100                  30 S MERIDIAN ST STE 1100
CHICAGO, IL 60677                        INDIANAPOLIS, IN 46204                     INDIANAPOLIS, IN 46204




KITE REALTY GROUP, LP                    KITE REALTY GROUP, LP                      KITE REALTY GROUP, LP
DBA KRG NORMAN UNIVERSITY III LLC        DBA KRG OKLAHOMA CITY SILVER SPRINGS       DBA KRG PLEASANT PRAIRIE RIDGE LLC
30 S MERIDIAN ST STE 1100                LLC                                        30 S MERIDIAN ST STE 1100
INDIANAPOLIS, IN 46204                   30 S MERIDIAN ST STE 1100                  INDIANAPOLIS, IN 46204
                                         INDIANAPOLIS, IN 46204



KITE REALTY GROUP, LP                    KITE REALTY GROUP, LP                      KITE REALTY GROUP, LP
DBA KRG PORT ST LUCIE LANDING LLC        DBA KRG SHOPS AT MOORE LLC                 DBA KRG WAXAHACHIE CROSSING LP
30 S MERIDIAN ST STE 1100                30 S MERIDIAN ST STE 1100                  30 S MERIDIAN ST STE 1100
INDIANAPOLIS, IN 46204                   INDIANAPOLIS, IN 46204                     INDIANAPOLIS, IN 46204




KITE REALTY GROUP, LP                    KITE REALTY GROUP, LP                      KITE REALTY GROUP, LP
GLENDALE TOWN CENTER / 001347            JOSEPH HUGHES, ASSET MANAGER               KRG BELLE ISLE LLC
33251 COLLECTION CENTER DR               30 SOUTH MERIDIAN, SUITE 1100              PO BOX 847952
CHICAGO, IL 60693                        INDIANAPOLIS, IN 46204                     DALLAS, TX 75284




KITE REALTY GROUP, LP                    KITE WEST 86TH STREET II LLC               KITE WEST 86TH STREET II, LLC
VERONICA SORIA                           TRADERS POINT II / 003046                  C/O KITE REALTY GROUP, LP
30 SOUTH MERIDIAN, SUITE 1100            33251 COLLECTION CENTER DR                 30 SOUTH MERIDIAN, SUITE 1100
INDIANAPOLIS, IN 46204                   CHICAGO, IL 60693                          INDIANAPOLIS, IN 46204




KITE WEST 86TH STREET II, LLC            KITS                                       KITSAP COUNTY SHERIFFS OFFICE
TRADERS POINT II / 003046                PO BOX 100479                              3951 NW RANDALL WAY
33251 COLLECTION CENTER DR               PASADENA, CA 91189-0479                    SILVERDALE, WA 98383
CHICAGO, IL 60693




KITSAP COUNTY TREASURER                  KITSAP                                     KITTITAS COUNTY TREASURER
PO BOX 169                               ATTN: PROPERTY TAX DEPT.                   205 W 5TH AVE STE 102
PORT ORCHARD, WA 98366-0169              PO BOX 169                                 ELLENSBURG, WA 98926
                                         PORT ORCHARD, WA 98366-0169




KITTITAS                                 KITTRICH CORPORATION                       KITTRICH CORPORATION
ATTN: PROPERTY TAX DEPT.                 1585 W MISSION BLVD                        DEPT 3883
205 W 5TH AVE STE 102                    POMONA, CA 91766                           CAROL STREAM, IL 60132-3883
ELLENSBURG, WA 98926
KITTY CONNORS            Case 18-12241-CSS      Doc 26
                                        KITTY KEEFER        Filed 10/05/18   PageKITV
                                                                                   950 of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                    801 SOUTH KING ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HONOLULU, HI 96813




KIVA PARSHAWN HARPER                     KIVI                                    KIWANNA ESPRIT
1662 BELMAR RD 3                         PO BOX 203587                           10201 S. MAIN STREET
CLEVELAND HEIGHTS, OH 44118              DALLAS, TX 75320-3587                   HOUSTON, TX 77025




KIWI SERVICES INC                        KIYANA PIGHEE                           KIYANA PIGHEE
3230 COMMANDER DR                        10201 S. MAIN STREET                    10201 S. MAIN STREET
CARROLLTON, TX 75006                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KIZN-FM                                  KJAQ-FM                                 KJFX-FM WILKS BROADCASTING
3633 MOMENTUM PLACE                      PO BOX 100247                           1415 FULTON ST
CHICAGO, IL 60689-5336                   PASADENA, CA 91189-0247                 FRESNO, CA 93721




KJKE-FM                                  KJKK FM                                 KJMQ-FM
TYLER BROADCASTING CORP. OKC             PO BOX 730224                           HOCHMAN HAWAII FOUR INC
5105 S SHIELDS BLVD                      DALLAS, TX 75373-0224                   900 FORT ST MALL STE 450
OKLAHOMA CITY, OK 73129                                                          HONOLULU, HI 96813




KJR                                      KJR-FM                                  KJUG-FM
12067 COLLECTIONS CENTER DRIVE           CLEAR CHANNEL BROADCASTING              PO BOX 1351
CHICAGO, IL 60693                        12067 COLLECTIONS CENTER DR             VISALIA, CA 93279-1351
                                         CHICAGO, IL 60693




KJYO-FM                                  KKBB-FM                                 KKBQ-FM
IHEART OKLAHOMA CITY                     PO BOX 80658                            COX MEDIA GROUP HOUSTON
PO BOX 847319                            BAKERSFIELD, CA 93380                   PO BOX 83193
DALLAS, TX 75284-7319                                                            CHICAGO, IL 60691-0193




KKBZ-FM                                  KKCW-FM                                 KKDV
1110 E OLIVE                             5670 COLLECTION CENTER DR               555 MASON STREET 245
FRESNO, CA 93728                         CHICAGO, IL 60693-0056                  VACAVILLE, CA 95688




KKEG-FM                                  KKFS-FM                                 KKHH-FM
3598 MOMENTUM PLACE                      PO BOX 845581                           PO BOX 730844
CHICAGO, IL 60689-5335                   LOS ANGELES, CA 90084-5581              DALLAS, TX 75373-0844




KKHK-FM                                  KKIQ                                    KKLH-FM
60 GARDEN COURT 300                      555 MASON STREET 245                    2453 E ELM ST
MONTEREY, CA 93940                       VACAVILLE, CA 95688                     SPRINGFIELD, MO 65802
KKMJ FM ENTERCOM AUSTINCase
                        LLC   18-12241-CSS
                                        KKMJ-FMDoc 26      Filed 10/05/18      PageKKNU-FM
                                                                                    951 of 1739
4301 WESTBANK DR B-300                  ENTERCOM AUSTIN LLC                        925 COUNTRY CLUB RD STE 200
AUSTIN, TX 78746                        4301 WESTBANK DR B-300                     EUGENE, OR 97401
                                        AUSTIN, TX 78746




KKOH-AM                                 KKOL-FM                                    KKPT-FM
3652 MOMENTUM PLACE                     SALEM MEDIA OF HAWAII INC                  PO BOX 251304
CHICAGO, IL 60689-5336                  1160 N KING ST 2ND FL                      LITTLE ROCK, AR 72225-1304
                                        HONOLULU, HI 96817




KKRZ-FM                                 KKST-FM                                    KKTV
5670 COLLECTIONS CENTER DR              CENLA BROADCASTING CO INC                  PO BOX 14200
CHICAGO, IL 60693                       1115 TEXAS AVE                             TALLAHASSEE, FL 32317
                                        ALEXANDRIA, LA 71301




KKUU-F2                                 KKUU-FM                                    KKW LOGISTICS
ALPHA MEDIA LLC                         ALPHA MEDIA LLC                            3100 POMONA BLVD.
1321 N GENE AUTRY TRAIL                 1321 N GENE AUTRY TRAIL                    POMONA, CA 91768
PALM SPRINGS, CA 92262                  PALM SPRINGS, CA 92262




KKWF                                    KKZX-FM                                    KLAAS MENSONIDES
ENTERCOM SEATTLE                        PO BOX 847479                              1256 GLEN DELL DR
800 5TH AVE SUITE 1400                  DALLAS, TX 75284-7479                      SAN JOSE, CA 95125
SEATTLE, WA 98104




KLAAS MENSONIDES                        KLAIRMONT INVESTMENTS, LLC                 KLAIRMONT KORNERS LLC
1256 GLEN DELL DRIVE                    C/O IMPERIAL RETAIL COMPANY                4747 W PETERSON AVE
SAN JOSE, CA 95125                      4747 WEST PETERSON AVENUE, SUITE 200       CHICAGO, IL 60646
                                        CHICAGO, IL 60646




KLAIRMONT KORNERS, LLC                  KLAUS SCHULER                              KLAUS SCHULER
C/O IMPERIAL REALTY COMPANY             10201 S. MAIN STREET                       10201 S. MAIN STREET
4747 W PETERSON AVE                     HOUSTON, TX 77025                          HOUSTON, TX 77025
CHICAGO, IL 60646




KLAUSSNER HOME FURNISHINGS              KLAUSSNER HOME FURNISHINGS                 KLCA-FM
C/O MILBERG FACTORS INC                 KLAUSSNER FURNITURE                        961 MATLEY LANE 120
PO BOX 33453                            PO BOX 744262                              RENO, NV 89502
CHARLOTTE, NC 28233                     ATLANTA, GA 30374-4262




KLDZ-FM                                 KLEBAN PROPERTIES, LLC                     KLEENRITE SERVICES
3624 AVION DR                           1189 POST ROAD, SUITE 3B                   PO BOX 2
MEDFORD, OR 97504                       FAIRFIELD, CT 06824                        LUDLOW, MA 01056




KLEHR HARRISON HARVEY BRANZBURG LLP     KLEIN ISD                                  KLEIN PROPERTIES
1835 MARKET STREET                      7200 SPRING-CYPRESS ROAD                   DEVAN GERHART
PHILADELPHIA, PA 19103                  KLEIN, TX 77379-3299                       1777 REISTERSTOWN ROAD, SUITE 245
                                                                                   BALTIMORE, MD 21208
KLETTER LAW             Case 18-12241-CSS
                                       KLFX-FMDoc 26      Filed 10/05/18     PageKLIM
                                                                                  952   of 1739
                                                                                      MANAGEMENT
                                       IHEARTMEDIA                               PO BOX 27263
                                       PO BOX 847450                             SAN FRANCISCO, CA 94127
                                       DALLAS, TX 75284-7450




KLIV-AM                                KLLC                                      KLLL-FM
750 STORY ROAD                         PO BOX 100507                             ALPHA MEDIA LLC
SAN JOSE, CA 95122                     PASADENA, CA 91189-0507                   33 BRIERCROFT OFFICE PARK
                                                                                 LUBBOCK, TX 79412




KLLY-FM                                KLNZ-FM ENTRAVISION COMMUNICATIONS        KLOL-FM
PO BOX 80658                           PO BOX 53071                              PO BOX 730844
BAKERSFIELD, CA 93380                  PHOENIX, AZ 85072                         DALLAS, TX 75373-0844




KLOSS ORGANIZATION LLC                 KLOSS ORGANIZATION, LLC                   KLOSS ORGANIZATION, LLC
PO BOX 197                             C/O 3231 ROUTE 1 LAWRENCEVILLE, LLC       C/O EDWARD KLOSS
PINE BROOK, NJ 07058                   P.O. BOX 197                              P.O. BOX 197
                                       PINE BROOK, NJ 07058                      PINE BROOK, NJ 07058




KLOSS ORGANIZATION, LLC                KLOSSCO BOCA LLC                          KLOSSCO BOCA LLC
PO BOX 197                             2701 E CAMELBACK RD STE 170               C/O CAPITAL ASSET MGMT
PINE BROOK, NJ 07058                   PHOENIX, AZ 85016                         2701 E CAMELBACK RD STE 170
                                                                                 PHOENIX, AZ 85016




KLOSSCO BOCA LLC                       KLOU-FM                                   KLPX-FM
C/O NEVADA CAPITAL ASSET MANAGEMENT    IHEARTMEDIA ST LOUIS                      3871 N COMMERCE DR
2701 E CAMELBACK RD STE 170            3964 COLLECTION CENTER DR                 TUCSON, AZ 85705
PHOENIX, AZ 85016                      CHICAGO, IL 60693




KLRR-FM                                KLS DEVELOPMENT GROUP LLC                 KLS DEVELOPMENT LLC
COMBINED COMMUNICATIONS INC            125 86TH STREET                           125 86TH ST
PO BOX 5037                            VIRGINIA BEACH, VA 23451                  VIRGINIA BEACH, VA 23451
BEND, OR 97708




KLS SUFFOLK DEVELOPMENT GROUP LLC      KLS SUFFOLK DEVELOPMENT GROUP, LLC        KLSR
125 86TH ST                            ATTN: WARREN E. SACHS                     2940 CHAD DRIVE
VIRGINIA BEACH, VA 23451               125 86TH STREET                           EUGENE, OR 97408
                                       VIRGINIA BEACH, VA 23451




KLTH-FM                                KLTN                                      KLTV/KTRE
5670 COLLECTIONS CENTER DR             PO BOX 740721                             AMSOUTH BANK LOCKBOX 1355
CHICAGO, IL 60693                      LOS ANGELES, CA 90074                     PO BOX 11407
                                                                                 BIRMINGHAM, AL 35246-1355




KLTY-FM                                KLUV FM                                   KMAX TV-31 INC
INSPIRATION MEDIA OF TX LLC            PO BOX 730224                             PO BOX 100454
6400 N BELT LINE RD 120                DALLAS, TX 75373-0224                     PASADENA, CA 91189-0454
IRVING, TX 75063
KMBZ-FM                Case   18-12241-CSS    Doc 26
                                        KMCK-FM            Filed 10/05/18   PageKMDL-FM
                                                                                 953 of 1739
ENTERCOM KANSAS CITY                    3598 MOMENTUM PLACE                     TOWNSQUARE MEDIA OF LAF
7000 SQUIBB RD 2ND FLOOR                CHICAGO, IL 60689-5335                  PO BOX 731227
MISSION, KS 66202                                                               DALLAS, TX 75373-1227




KMED-AM                                 KMGE-FM                                 KMGH EW SCRIPPS
3624 AVION DR                           925 COUNTRY CLUB RD STE 200             PO BOX 30509
MEDFORD, OR 97504                       EUGENE, OR 97401                        LOS ANGELES, CA 90030-0509




KMGL-FM                                 KMGN- FM                                KMGX-FM
TYLER BROADCASTING CORP. OKC            1117 W RTE 66                           345 SW CYBER DR 101-103
5105 S SHIELDS BLVD                     FLAGSTAFF, AZ 86001                     BEND, OR 97702
OKLAHOMA CITY, OK 73129




KMHX                                    KMIR-TV                                 KMIR-TV
1410 NEOTOMAS AVE 200                   ENTRAVISION COMMUNICATIONS              OTA BROADCASTING
SANTA ROSA, CA 95405                    CORPORATION                             3201 JERMANTOWN RD 380
                                        PO BOX 843564                           FAIRFAX, VA 22030
                                        LOS ANGELES, CA 90084-3564



KMJ-AM                                  KMJJ-FM                                 KMJQ-FM
3603 MOMENTUM PLACE                     CUMULUS BROADCASTING LLC                PO BOX 603441
CHICAGO, IL 60689-5336                  3620 MOMENTUM PLACE                     CHARLOTTE, NC 28260
                                        CHICAGO, IL 60689-5336




KMMX-FM                                 KMPS-FM                                 KMPW CENTER LLC
ALPHA MEDIA LLC                         PO BOX 100247                           4669 SOUTHWEST FREEWAY SUITE 830
33 BRIERCROFT OFFICE PARK               PASADENA, CA 91189-0247                 HOUSTON, TX 77027
LUBBOCK, TX 79412




KMPW CENTER LLC                         KMPW CENTER LLC                         KMRJ-FM
4669 SW FWY 830                         DBA POINT W SHOPPING CENTER             RM BROADCASTING LLC
HOUSTON, TX 77027                       4669 SW FWY 830                         75-153 MERLE DR STE G
                                        HOUSTON, TX 77027                       PALM DESERT, CA 92211




KMSB INC                                KMTK                                    KMVP-FM
P.O. BOX 101458                         PO BOX 5037                             7740 N 16TH ST STE 200
PASADENA, CA 91189-1458                 BEND, OR 97708                          PHOENIX, AZ 85020




KMVQ                                    KMVU                                    KMW PROPERTIES, LLC
PO BOX 100645                           820 CRATER LAKE HWY                     ATTN: RANDY STRICKLAND
PASADENA, CA 91189-0645                 MEDFORD, OR 97504                       P.O. BOX 1356
                                                                                FORT SMITH, AR 72902-1356




KMW PROPERTIES, LLC                     KMXI                                    KMXZ-FM
ATTN: WILLIAM H. HANNA                  2654 CRAMER LANE                        TUCSON
P.O. BOX 1356                           CHICO, CA 95928                         PO BOX 203596
FORT SMITH, AR 72902-1356                                                       DALLAS, TX 75320-3596
KNA PARTNERS             Case 18-12241-CSS     Doc 26
                                        KNA PARTNERS        Filed 10/05/18   PageKNA
                                                                                  954  of 1739
                                                                                     PARTNERS
550 WAUGH DR                            550 WAUGH DRIVE                          A TEXAS JOINT VENTURE
HOUSTON, TX 77019                       HOUSTON, TX 77019                        550 WAUGH DR
                                                                                 HOUSTON, TX 77019




KNAI-FM RADIO CAMPERSINA                KNBR                                     KNCI
1441 E WASHINGTON ST 200                3667 MOMENTUM PLACE                      PO BOX 100182
PHOENIX, AZ 85034                       CHICAGO, IL 60689-5336                   PASADENA, CA 91189-0182




KNCQ                                    KNDD-FM                                  KNDE-FM
1588 CHARLES DRIVE                      1100 OLVIE WAY, SUITE 1650               BRYAN BROADCASTING CORPOR
REDDING, CA 96003                       SEATTLE, WA 98101                        PO BOX 3248
                                                                                 BRYAN, TX 77805-3248




KNDO                                    KNE LLC                                  KNFM-FM
PO BOX 600                              DBA H2O LOGISTICS                        TOWNSQUARE MEDIA ODESSA
SPOKANE, WA 99210                       23601 S WILMINGTON AVE                   PO BOX 731933
                                        CARSON, CA 90745                         DALLAS, TX 75373-1933




KNFX-FM                                 KNG ENERGY                               KNIBB ENTERPRISES LLC
IHEARTMEDIA                             1700 WESTFIELD DR                        4326 COX COURT
PO BOX 847572                           FINDLAY, OH 45840                        SANTA ROSA, CA 95409
DALLAS, TX 75284




KNIBB ENTERPRISES, LLC                  KNIBB ENTERPRISES, LLC                   KNICKERBOCKER BED CO
4326 COX COURT                          ATTN: LEROY KNIBB                        770 COMMERCIAL AVE
ATTN: LEROY KNIBB                       4326 COX COURT                           CARLSTADT, NJ 07072
SANTA ROSA, CA 95409                    SANTA ROSA, CA 95409




KNICKERBOCKER PROPERTIES INC XI         KNICKERBOCKER PROPERTIES INC XI          KNICKERBOCKER PROPERTIES, INC XI
C/O LINCOLN PROPERTY CO                 1 VAN DE GRAAFF DR                       C/O LINCOLN PROPERTY CO
1 VAN DE GRAFF DR                       BURLINGTON, MA 01803                     1 VAN DE GRAAF DRIVE
BURLINGTON, MA 01803                                                             ATTN: SAM ASANAKU
                                                                                 BURLINGTON, MA 01803



KNIGHT JANITORIAL SERVICES INC          KNIGHT SCHOOL OF WELDING                 KNIGHTDALE CENTERS LLC
901 WATERFALL STE 307                   2017 SOUTH 39TH ST                       3333 NEW HYDE PARK RD STE 100
RICHARDSON, TX 75080                    LOUISVILLE, KY 40211                     NEW HYDE PARK, NY 11042




KNIGHTS PRESSURE WASHING                KNIN                                     KNOCK OUT SPECIALTIES INC
120 CREEK BREEZE WAY                    LOCKBOX 2620                             1896 AVE K STE 100
OXFORD, GA 30054                        PO BOX 11407                             PLANO, TX 75074
                                        BIRMINGHAM, AL 35246-2620




KNOLLWOOD MALL LLC                      KNORR MANAGEMENT, INC.                   KNORR MANAGEMENT, INC.
SDS-12-1340                             KARIN KNORR, CSM, CPM                    KARIN KNORR, CSM, CPM
PO BOX 86                               1401 1/2 SOLANO STREET                   5525 REBECCA WAY
MINNEAPOLIS, MN 55486-1340              CORNING, CA 96021                        CORNING, CA 96021
KNOTICE LLC            Case      18-12241-CSS    Doc
                                           KNOWBE4 INC 26     Filed 10/05/18   PageKNOWLEDGE
                                                                                    955 of 1739
                                                                                             ADVISORS INC
32905 COLLECTION CENTER DR                 33 N GARDEN AVE STE 1200                222 S RIVERSIDE PLAZA STE 2050
CHICAGO, IL 60693-0329                     CLEARWATER, FL 33755                    CHICAGO, IL 60606




KNOX COUNTY TRUSTEE                        KNOX COUNTY TRUSTEE                     KNOX PARK VILLAGE (DALLAS) LLC
ATTN: PROPERTY TAX DEPT.                   PO BOX 70                               C/O CIM GROUP
PO BOX 1566                                KNOXVILLE, TN 37901-0070                4131 NORTH CENTRAL EXPRESSWAY, SUITE
KNOXVILLE, TN 37901                                                                448
                                                                                   DALLAS, TX 75204



KNOX PARK VILLAGE (DALLAS) LLC             KNOX PARK VILLAGE 07 A LLC              KNOXVILLE DOOR SERVICES
PO BOX 654177                              ACF PROPERTY MGMT INC                   7306 COATBRIDGE LANE
DALLAS, TX 75265-4177                      12411 VENTURA BLVD                      KNOXVILLE, TN 37924
                                           STUDIO CITY, CA 91604




KNOXVILLE NEWS SENTINEL                    KNRK-FM                                 KNRQ-FM
PO BOX 630042                              0700 SW BANCROFT ST                     CUMULUS MEDIA-EUGENE
CINCINNATI, OH 45263-0042                  PORTLAND, OR 97239                      3597 MOMENTUM PLACE
                                                                                   CHICAGO, IL 60689-5336




KNSD TV C/O NBC UNIVERSAL                  KNSS-AM                                 KNST-AM
CFS LOCKBOX                                ENTERCOM WICHITA                        FILE 56107
PO BOX 402971                              9111 E DOUGLAS STE 130                  LOS ANGELES, CA 90074-6107
ATLANTA, GA 30384-2971                     WICHITA, KS 67207




KNTV TV C/O NBC UNIVERSAL                  KNUE-FM                                 KNVA
CFS LOCKBOX                                TOWNSQUARE MEDIA                        PO BOX 844304
PO BOX 402971                              PO BOX 301022                           DALLAS, TX 75284
ATLANTA, GA 30384-2971                     DALLAS, TX 75303-1022




KNVN TV                                    KNWZ-AM                                 KNXV
3462 SILVERBELL RD.                        ALPHA MEDIA LLC                         P.O. BOX 116923
CHICO, CA 95973                            1321 N GENE AUTRY TRAIL                 ATLANTA, GA 30368
                                           PALM SPRINGS, CA 92262




KNZR-AM                                    KOAA COLORADO SPRINGS                   KOBBY ASAMOAH
PO BOX 80658                               2200 7TH AVE                            10201 S. MAIN STREET
BAKERSFIELD, CA 93380                      PUEBLO, CO 81003                        HOUSTON, TX 77025




KOBI                                       KODI MEYER                              KODM-FM
PO BOX 1489                                528 NE PARKVIEW PLACE                   TOWNSQUARE MEDIA ODESSA
MEDFORD, OR 97501-0110                     LEES SUMMIT, MO 64086                   PO BOX 731933
                                                                                   DALLAS, TX 75373-1933




KODY BONANNO                               KODY OSBORNE                            KODY RUST
10201 S. MAIN STREET                       10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                       HOUSTON, TX 77025
KODZ                    Case   18-12241-CSS    Doc LLC
                                         KOFFLER/GID 26 Filed 10/05/18   PageKOFFLER/GID
                                                                              956 of 1739LLC
1500 VALLEY RIVER DR STE 350             C/O KGI PROPERTIES LLC              10 MEMORIAL BLVD STE 901
EUGENE, OR 97401                         10 MEMORIAL BLVD STE 901            PROVIDENCE, RI 02903
                                         PROVIDENCE, RI 02903




KOFFLER/GID, LLC                         KOFFLER/GID, LLC                    KOFFLER/GID, LLC
C/O KGI PROPERTIES LLC                   C/O KGI PROPERTIES, LLC             C/O KGI PROPERTIES, LLC
10 MEMORIAL BLVD STE 901                 10 MEMORIAL BLVD STE 901            260 BOSTON POST ROAD, SUITE 9
ATTN: PROPERTY MANAGEMENT                ATTN: PROPERTY MANAGEMENT           ATTN: CHARLES IRVING
PROVIDENCE, RI 02903                     PROVIDENCE, RI 02903                WAYLAND, MA 01778



KOFY TV                                  KOHALA WINDOW CLEANING LLC          KOHD
2500 MARIN ST.                           PO BOX 580                          ZOLO-KOHD-TV/KBNZ-TV
SAN FRANCISCO, CA 94124                  KAMUELA, HI 96743                   ATTN 951 PO BOX 480
                                                                             MONROE, WI 53566




KOHLER                                   KOHR ROYER GRIFFITH INC             KOI OLIVER
ATTN: PROPERTY TAX DEPT.                 1480 DUBLIN ROAD                    10201 S. MAIN STREET
319 HIGHLAND DR                          COLUMBUS, OH 43215                  HOUSTON, TX 77025
KOHLER, WI 53044-1513




KOIN-TV                                  KOIT                                KOJAIAN MANAGEMENT CORPORATION
PO BOX 844304                            865 BATTERY ST                      39400 WOODWARD AVE, SUITE 250
DALLAS, TX 75284                         SAN FRANCISCO, CA 94111             BLOOMFIELD HILLS, MI 48034




KOLA                                     KOLBY HORNER                        KOLD
1940 ORANGE TREE LANE, 200               10201 S. MAIN STREET                LOCK BOX 0334
REDLANDS, CA 92374                       HOUSTON, TX 77025                   PO BOX 11407
                                                                             BIRMINGHAM, AL 35246-0334




KOLIN KUNKEL                             KOLO TV                             KOLW-FM
10201 S. MAIN STREET                     PO BOX 14200                        TOWNSQUARE MEDIA LLC
HOUSTON, TX 77025                        TALLAHASSEE, FL 32317               PO BOX 2485
                                                                             PASCO, WA 99302




KOMA-FM                                  KOMERC DELIVERY, INC                KOMODO FREIGHT SOLUTIONS INC
TYLER BROADCASTING CORP. OKC             8664 EMERALD ISLE CIR S.            430 FRANKLIN VILLAGE 189
5105 S SHIELDS BLVD                      JACKSONVILLE, FL 32216              FRANKLIN, MA 02038
OKLAHOMA CITY, OK 73129




KONA                                     KONA-FM                             KONE INC
PO BOX 2623                              CHERRY CREEK BROADCASTING           4156
PASCO, WA 99302                          PO BOX 2623                         PO BOX 894156
                                         PASCO, WA 99302                     LOS ANGELES, CA 90189-4156




KONE-FM                                  KONER ASSOCIATES LLC                KONER ASSOCIATES LLC
ALPHA MEDIA LLC                          ATTN: FRANK J RIO                   52 4TH AVE
33 BRIERCROFT OFFICE PARK                52 4TH AVE                          BROOKLYN, NY 11217
LUBBOCK, TX 79412                        BROOKLYN, NY 11217
KONER ASSOCIATES, LLC    Case 18-12241-CSS    DocGROUP
                                        KONG RADIO 26 Filed 10/05/18        PageKONG-TV
                                                                                 957 of 1739
ATTN: FRANK J RIO                       KQNG                                    DEPT 710017
52 4TH AVE                              PO BOX 1748                             PO BOX 514670
BROOKLYN, NY 11217                      LIHUE, HI 96766                         LOS ANGELES, CA 90051-4670




KONICA MINOLTA BUSINESS SOLUTIONS       KONICA MINOLTA BUSINESS SOLUTIONS USA   KONICA MINOLTA PREMIER
USA INC                                 DEPT 2366                               PO BOX 41602
2670 WARWICK AVE                        PO BOX 122366                           PHILADELPHIA, PA 19101-1602
WARWICK, RI 02889                       DALLAS, TX 75312-2366




KONICA MINOLTA                          KONNOR KIRKPATRICK                      KONO-FM
21146 NETWORK PLACE                     10201 S. MAIN STREET                    PO BOX 83198
CHICAGO, IL 60673-1211                  HOUSTON, TX 77025                       CHICAGO, IL 60691-0198




KONRAD JURPIK                           KONSTANCE THURMAN                       KONSTANDINOS ZOIS & ELIZABETH
10201 S. MAIN STREET                    10201 S. MAIN STREET                    MICHAELS
HOUSTON, TX 77025                       HOUSTON, TX 77025                       1400 GOLDEN GATE
                                                                                ADDISON, IL 60101




KONSTANDINOS ZOIS & ELIZABETH           KONSTANDINOS ZOIS & ELIZABETH           KONSTANTIN KENNEDY
MICHAELS                                MICHAELS                                10201 S. MAIN STREET
508 DRAKE LANE                          508 DRAKE LN                            HOUSTON, TX 77025
BLOOMINGDALE, IL 60108                  BLOOMINGDALE, IL 60108




KONSTANTINO MASTORAKIS                  KOOC-FM                                 KOOL FM
439 80 STREET                           TOWN SQUARE MEDIA INC                   PO BOX 730824
BROOKLYN, NY 11209                      PO BOX 731932                           DALLAS, TX 75373-0824
                                        DALLAS, TX 75373-1932




KOORSEN FIRE & SECURITY                 KOOTENAI ELECTRIC COOP                  KOOTENAI ELECTRIC COOP
2719 N ARLINGTON AVE                    2451 W DAKOTA AVE                       2451 WEST DAKOTA AVE
INDIANAPOLIS, IN 46218-3322             HAYDEN, ID 83835-7402                   HAYDEN, ID 83835




KOOTENAI ELECTRIC COOPERATIVE           KOPF CONSTRUCTION CORP                  KOPPE MANAGEMENT AND INVESTMENT CO
2451 W DAKOTA AVE                       420 AVON BELDEN RD                      INC
HAYDEN, ID 83835-7402                   AVON LAKE, OH 44012                     13826 SW 102 CT
                                                                                MIAMI, FL 33176




KOPPE MANAGEMENT AND INVESTMENT         KORA-FM                                 KORAN BROWN
CO, INC.                                BRAZOS VALLEY COMMUNICATIONS LTD        10201 S. MAIN STREET
13826 SW 102ND COURT                    PO BOX 3069                             HOUSTON, TX 77025
MIAMI, FL 33176                         BRYAN, TX 77805




KORBIN WILSON                           KORD-FM                                 KOREY MOORE
10201 S. MAIN STREET                    PO BOX 2485                             10201 S. MAIN STREET
HOUSTON, TX 77025                       PASCO, WA 99302                         HOUSTON, TX 77025
KOREY WASHINGTON         Case 18-12241-CSS     Doc 26
                                        KORI WHITE         Filed 10/05/18   PageKORN
                                                                                 958FERRY
                                                                                     of 1739
                                                                                          INTERNATIONAL NW 5064
10201 S. MAIN STREET                    10201 S. MAIN STREET                    PO BOX 1450
HOUSTON, TX 77025                       HOUSTON, TX 77025                       MINNEAPOLIS, MN 55485-5064




KORN FERRY INTERNATIONAL                KORRY THOMPSON                          KORSMEYER FIRE PROTECTION LLC
1900 AVENUE OF THE STARS STE 2600       10201 S. MAIN STREET                    PO BOX 104746
LOS ANGELES, CA 90067                   HOUSTON, TX 77025                       5008 CONTRACTORS LANE
                                                                                JEFFERSON CITY, MO 65110




KORSMEYER FIRE PROTECTION LLC           KORTEZ PARKER                           KORTNEY DEGRE
PO BOX 104746                           10201 S. MAIN STREET                    10201 S. MAIN STREET
JEFFERSON CITY, MO 65110                HOUSTON, TX 77025                       HOUSTON, TX 77025




KORTNIE B CATHEY                        KORY BAY                                KORY JOHNSON
8761 W 85TH ST APT 304                  10201 S. MAIN STREET                    10201 S. MAIN STREET
JUSTICE, IL 60458                       HOUSTON, TX 77025                       HOUSTON, TX 77025




KORY STOVALL                            KOSCIUSKO COUNTY TREASURER              KOSCIUSKO
10201 S. MAIN STREET                    PO BOX 1764                             ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       WARSAW, IN 46581                        PO BOX 1764
                                                                                WARSAW, IN 46581




KOSF-FM                                 KOSP-FM                                 KOSSMAN DEVELOPMENT COMPANY
IHEARTMEDIA                             2453 E ELM ST                           RICHARD A. MOSES, ESQ.
FILE 56107                              SPRINGFIELD, MO 65802                   ELEVEN PARKWAY CENTER, SUITE 300
LOS ANGELES, CA 90074-2768                                                      PITTSBURGH, PA 15220




KOSSMAN DEVELOPMENT COMPANY             KOTA DEL CASTILLO                       KOTARA PROPERTIES, LLC
STEVE WEISBROD, VP BUSINESS             10201 S. MAIN STREET                    ATTN: IRA JACOBY
DEVELOPMENT                             HOUSTON, TX 77025                       562 WYLIE ROAD
ELEVEN PARKWAY CENTER, SUITE 300                                                ATLANTA, GA 30342
PITTSBURGH, PA 15220



KOURTNEY DOUGHTON                       KOURTNEY HOWELL                         KOURY FAMILY LTD. PARTNERSHIP(KOURY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    FLP)
HOUSTON, TX 77025                       HOUSTON, TX 77025                       7327 SW BARNES RD PBM 600
                                                                                PORTLAND, OR 97225




KOVR TV                                 KOWALSKI, KEITH                         KOYE-FM
PO BOX 100133                           2468 E. SALZBURG ROAD                   ALPHA MEDIA
PASADENA, CA 91189                      BAY CITY, MI 48706                      PO BOX 7820
                                                                                TYLER, TX 75711-7820




KOZACKY WEITZEL MCGRATH, P.C            KOZY LAWN CARE                          KOZZ
JEROME R. WEITZEL, ESQ.                 5701 N 60 ST                            690 EAST PLUMB LN
55 W. MONROE ST SUITE 2400              OMAHA, NE 68104                         RENO, NV 89502
CHICAGO, IL 60603
KP EASLY LLC             Case 18-12241-CSS     Doc
                                        KP EASLY LLC 26       Filed 10/05/18   PageKP959 of 1739
                                                                                      MACON LLC
2500 DANIELS BRIDGE RD                   2500 DANIELS BRIDGE RD                    2500 DANIELS BRIDGE RD
BLDG 100 2ND FL                          BLDG. 100, 2ND FLOOR                      BLDG 100 2ND FL
ATHENS, GA 30606                         ATHENS, GA 30606                          ATHENS, GA 30606




KPAM-AM                                  KPAY-AM                                   KPDX
PO BOX 22109                             2654 CRAMER LN                            PO BOX 100187
PORTLAND, OR 97269                       CHICO, CA 95928                           PASADENA, CA 91189-0187




KPIG                                     KPIX TV                                   KPLM-FM
60 GARDEN COURT 300                      PO BOX 100728                             RM BROADCASTING LLC
MONTEREY, CA 93940                       PASADENA, CA 91189-0728                   75-153 MERLE DR STE G
                                                                                   PALM DESERT, CA 92211




KPLX-FM                                  KPM MANAGEMENT LLC                        KPMG LLP
CUMULUS DALLAS                           1131 DOLPHIN TERRACE                      3 CHESTNUT RIDGE RD
3670 MOMENTUM PLACE                      CORONA DEL MAR, CA 92625                  MONTVALE, NJ 07645
CHICAGO, IL 60689-5336




KPMG LLP                                 KPNW                                      KPNX
DEPT 0754                                1500 VALLEY RIVER DR STE 350              KPNX GANNETT CO INC
PO BOX 120754                            EUGENE, OR 97401                          PO BOX 637375
DALLAS, TX 75312-0754                                                              CINCINNATI, OH 45263-7375




KPOJ-AM                                  KPRI-FM                                   KPSE-TV
5670 COLLECTIONS CENTER DR               9710 SCRANTON RD STE 200                  ENTRAVISION COMMUNICATIONS
CHICAGO, IL 60693                        SAN DIEGO, CA 92121                       CORPORATION
                                                                                   PO BOX 843564
                                                                                   LOS ANGELES, CA 90084-3564



KPSE-TV                                  KPTV-TV                                   KPWJ-FM
OTA BROADCASTING                         PO BOX 100143                             BRYAN BROADCASTING CORPOR
3201 JERMANTOWN RD 380                   PASADENA, CA 91189-0143                   PO BOX 3248
FAIRFAX, VA 22030                                                                  BRYAN, TX 77805-3248




KQAK-FM                                  KQCA - TV 58                              KQCH
854 NE 4TH ST                            PO BOX 90015                              OMAHA
BEND, OR 97701                           PRESCOTT, AZ 86304-9015                   PO BOX 203590
                                                                                   DALLAS, TX 75320-3590




KQED                                     KQID-FM                                   KQIE-FM LC MEDIA
2601 MARIPOSA ST                         CENLA BROADCASTING CO INC                 570 E. AVE. Q9
SAN FRANCISCO, CA 94110-1426             1115 TEXAS AVE                            PALMDALE, CA 93550
                                         ALEXANDRIA, LA 71301




KQKQ-FM                                  KQMS                                      KQMV-FM
NRG RADIO LLC                            3360 ALTA MESA DR.                        3650 131ST AVE SE 550
5011 CAPITOL AVE                         REDDING, CA 96002                         BELLEVUE, WA 98006
OMAHA, NE 68132
KQNT-AM                 Case 18-12241-CSS    Doc 26
                                       KQRC-FM            Filed 10/05/18   PageKQRX-FM
                                                                                960 of 1739
PO BOX 847479                          ENTERCOM KANSAS CITY                    WEST TEXAS RADIO GROUP
DALLAS, TX 75284-7479                  7000 SQUIBB RD 2ND FLOOR                PO BOX 9400
                                       MISSION, KS 66202                       MIDLAND, TX 79708




KQTH-FM                                KQXR-FM                                 KQXT-FM
TUSCON                                 PO BOX 203587                           PO BOX 847572
PO BOX 203596                          DALLAS, TX 75320-3587                   DALLAS, TX 75284
DALLAS, TX 75320-3596




KQXY-FM                                KR COLLEGETOWN LLC                      KR COLLEGETOWN LLC
CUMULUS MEDIA LLC-BEAUMONT             C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP
3591 MOMENTUM PLACE                    450 LEXINGTON AVENUE, 13TH FLOOR        PO BOX 645324
CHICAGO, IL 60689-5335                 ATTN: GENERAL COUNSEL                   CINCINNATI, OH 45264-5324
                                       NEW YORK, NY 10017



KR COLLEGETOWN LLC                     KR COLLEGETOWN LLC                      KR STRATFORD LLC
C/O BRIXMOR PROPERTY GROUP             PO BOX 645324                           C/O BRIXMOR PROPERTY GROUP
TWO TOWER BRIDGE                       CINCINNATI, OH 45264                    450 LEXINGTON AVENUE, 13TH FLOOR
ONE FAYETTE ST, SUITE 150                                                      ATTN: GENERAL COUNSEL
CONSHOHOCKEN, PA 19428                                                         NEW YORK, NY 10017



KR STRATFORD LLC                       KR STRATFORD LLC                        KRAB-FM
C/O BRIXMOR PROPERTY GROUP             C/O BRIXMOR PROPERTY GROUP              LOCKBOX SERVICES FILE 56520
PO BOX 645324                          TWO TOWER BRIDGE                        1000 WEST TEMPLE ST
CINCINNATI, OH 45264-5324              ONE FAYETTE ST, SUITE 150               LOS ANGELES, CA 90012
                                       CONSHOHOCKEN, PA 19428



KRAIG RUSSELL                          KRAMIS, KIMBERLY                        KRAUS ANDERSON INC
10201 S. MAIN STREET                   2510 TOWN FIELD ST                      4210 W OLD SHAKOPEE RD
HOUSTON, TX 77025                      SAN ANTONIO, TX 78238-5050              BLOOMINGTON, MN 55437




KRAUS ANDERSON INC                     KRAUS ANDERSON INC                      KRAUS ANDERSON REALTY
501 SOUTH EIGHTH STREET                PROPERTY ID 01-1800                     4210 W OLD SHAKOPEE
MINNEAPOLIS, MN 55404                  PO BOX 860582                           BLOOMINGTON, MN 55437
                                       MINNEAPOLIS, MN 55486-0582




KRAUS-ANDERON REALTY COMPANY           KRAUSZ PUENTE LLC                       KRAVCO COMPANY LLC
501 S. EIGHTH STREET                   WBLH MADISON LLC                        375 E. ELM STREET, SUITE 100
MINNEAPOLIS, MN 55404                  1700 SHALLCROSS AVE STE 1               ATTN: JEAN MARIE SAPP
                                       WILMINGTON, DE 19806                    CONSHOHOCKEN, PA 19428




KRBB-FM                                KRBE-FM                                 KRBQ-FM
PO BOX 847572                          3665 MOMENTUM PLACE                     865 BATTERY ST
DALLAS, TX 75284-7572                  CHICAGO, IL 60689-5336                  SAN FRANCISCO, CA 94111




KRBZ-FM                                KRC NORTH CAROLINA REALTY LP            KRCR-CALIFORNIA BROADCASTING
ENTERCOM KANSAS CITY                   CROSSROADS PLAZA 1743 LP                PO BOX 79595
7000 SQUIBB RD 2ND FLOOR               3333 NEW HYDE PARK RD STE 100           CITY OF INDUSTRY, CA 91716-9595
MISSION, KS 66202                      NEW HYDE PARK, NY 11042
KRCW-TV                Case     18-12241-CSS     Doc
                                          KREDIBLE    26 Filed
                                                   KREATIONS LLC 10/05/18         PageKREILING
                                                                                       961 ofROOFING
                                                                                               1739 CO INC
PO BOX 742980                              2307 ASPENFIELD LN                         2335 W ALTORFER DR
LOS ANGELES, CA 90074-2980                 KATY, TX 77450                             PEORIA, IL 61615




KREINER & KREINER LLC                      KREISNER PROPERTIES LLC                    KREM
150 ESSEX ST STE 303                       8677 MARLAMOOR LN                          PO BOX 514670
MILLBURN, NJ 07041                         WEST PALM BEACH, FL 33412                  LOS ANGELES, CA 90051-4670




KREVOLIN & HORST LLC                       KREVVON ANDERSON                           KRG BELLE ISLE, LLC
1201 W PEACHTREE ST NW                     10201 S. MAIN STREET                       C/O KITE REALTY GROUP, LP
ONE ATLANTIC CENTER SUITE 3250             HOUSTON, TX 77025                          30 SOUTH MERIDIAN, SUITE 1100
ATLANTA, GA 30309                                                                     INDIANAPOLIS, IN 46204




KRG CCA ESTERO LLC                         KRG CHARLOTTE NORTHCREST LLC               KRG CHARLOTTE NORTHCREST LLC
CO KITE REALTY GROUP                       62220 COLLECTIONS CENTER DR                C/O KITE REALTY GROUP, LP
30 SOUTH MERIDIAN STE 1100                 CHICAGO, IL 60693                          30 SOUTH MERIDIAN, SUITE 1100
INDIANAPOLIS, IN 46204                                                                INDIANAPOLIS, IN 46204




KRG CREC/KS                                KRG EASTGATE PAVILION LLC                  KRG EASTGATE PAVILION LLC
ATTN: PROPERTY ACCOUNTANT-ANGIE            C/O KITE REALTY GROUP, LP                  EASTGATE PAVILION / 000794
PERKINS                                    30 SOUTH MERIDIAN, SUITE 1100              33251 COLLECTION CENTER DR
30 S. MERIDIAN ST. SUITE 1100              INDIANAPOLIS, IN 46204                     CHICAGO, IL 60693
INDIANAPOLIS, IN 46204



KRG KENDRON VILLAGE LLC                    KRG KOKOMO PROJECT COMPANY, LLC            KRG LAS VEGAS EARSTERN BTWY LLC
1379 PAYSPHERE CIRCLE                      C/O KITE REALTY GROUP, LP                  62958 COLLECTIONS CENTER DR
121 W TRADE ST 27TH FLOOR                  30 SOUTH MERIDIAN, SUITE 1100              CHICAGO, IL 60693
CHICAGO, IL 60674                          INDIANAPOLIS, IN 46204




KRG LAS VEGAS EASTERN BELTWAY LLC          KRG LAS VEGAS EASTERN BELTWAY LLC          KRG MIRAMAR SQUARE LLC
62958 COLLECTIONS CENTER DR                C/O KITE REALTY GROUP, LP                  15961 COLLECTIONS CENTER DR
CHICAGO, IL 60693                          30 SOUTH MERIDIAN, SUITE 1100              CHICAGO, IL 60693
                                           INDIANAPOLIS, IN 46204




KRG NEW HILL PLACE I, LLC                  KRG NEW HILL PLACE II LLC                  KRG NEW HILL PLACE II LLC
C/O KITE REALTY GROUP, LP                  C/O KITE REALTY GROUP                      PO BOX 743806
30 SOUTH MERIDIAN, SUITE 1100              PO BOX 743806                              ATLANTA, GA 30374
INDIANAPOLIS, IN 46204                     ATLANTA, GA 30374




KRG NEW HILL PLACE LLC                     KRG NORMAN UNIVERSITY III LILAC            KRG NORMAN UNIVERSITY III LLC
PO BOX 743806                              C/O KITE REALTY GROUP, LP                  62227 COLLECTIONS CENTER DR
ATLANTA, GA 30374-3810                     30 SOUTH MERIDIAN, SUITE 1100              CHICAGO, IL 60693
                                           INDIANAPOLIS, IN 46204




KRG OKLAHOMA CITY SILVER SPRINGS LLC       KRG OKLAHOMA CITY SILVER SPRINGS LLC       KRG OLDSMAR PROJECT COMPANY, LLC
15961 COLLECTIONS CENTER DR                C/O KITE REALTY GROUP, LP                  C/O KITE REALTY GROUP, LP
CHICAGO, IL 60693                          30 SOUTH MERIDIAN, SUITE 1100              30 SOUTH MERIDIAN, SUITE 1100
                                           INDIANAPOLIS, IN 46204                     INDIANAPOLIS, IN 46204
KRG OLEANDER LLC       Case     18-12241-CSS     Doc 26LLC Filed 10/05/18
                                          KRG OLEANDER                       PageKRG
                                                                                  962  of 1739LLC
                                                                                     OLEANDER
OLEANDER PLACE ACCT 001788                 P.O. BOX 743806                       30 S MERIDIAN ST
PO BOX 743806                              ATLANTA, GA 30374-3806                STE 1100
ATLANTA, GA 30374-3806                                                           INDIANAPOLIS, IN 46204-3565




KRG OLEANDER LLC                           KRG OLEANDER, LLC                     KRG OLEANDER, LLC
PO BOX 743806                              C/O KITE REALTY GROUP, LP             PO BOX 743806
ATLANTA, GA 30374                          30 SOUTH MERIDIAN, SUITE 1100         ATLANTA, GA 30374
                                           INDIANAPOLIS, IN 46204




KRG OLEANDER, LLC                          KRG PARKSIDE I LLC                    KRG PARKSIDE I LLC
PO BOX 743806                              C/O ACCT 002520                       PO BOX 743806
ATLANTA, GA 30374-3806                     PO BOX 743806                         ATLANTA, GA 30374
                                           ATLANTA, GA 30374




KRG PARKSIDE I, LLC                        KRG PARKSIDE I, LLC                   KRG PEMBROKE PINES LLC
C/O KITE REALTY GROUP, LP                  PO BOX 743806                         30 S MERIDIAN ST STE 1100
30 SOUTH MERIDIAN, SUITE 1100              ATLANTA, GA 30374                     INDIANAPOLIS, IN 46204
ATTN: VP OF PROPERTY OPERATIONS
INDIANAPOLIS, IN 46204



KRG PEMBROKE PINES LLC                     KRG PLEASANT PRAIRIE RIDGE LLC        KRG PORT ST LUCIE LANDING LLC
PO BOX 743810                              15961 COLLECTIONS CENTER DR           33251 COLLECTIONS CENTER DR
ATLANTA, GA 30374                          CHICAGO, IL 60693                     CHICAGO, IL 60693




KRG PORT ST. LUCIE LANDING, LLC            KRG PORT ST. LUCIE LANDING, LLC       KRG PORTOFINO LLC
33251 COLLECTIONS CENTER DR                C/O KITE REALTY GROUP, LP             30 S MERIDIAN ST STE 1100
CHICAGO, IL 60693                          30 SOUTH MERIDIAN, SUITE 1100         INDIANAPOLIS, IN 46204
                                           ATTN: ASSET MANAGEMENT
                                           INDIANAPOLIS, IN 46204



KRG PORTOFINO, LLC                         KRG PORTONFINO LLC                    KRG SHOPS AT MOORE LLC
C/O KITE REALTY GROUP, LP                  PO BOX 847952                         15961 COLLECTIONS CENTER DR
30 SOUTH MERIDIAN, SUITE 1100              DALLAS, TX 75284                      CHICAGO, IL 60693
INDIANAPOLIS, IN 46204




KRG SHOPS AT MOORE LLC                     KRG SHOPS AT MOORE LLC                KRG TERRITORY LLC
2370 S SERVICE RD                          C/O KITE REALTY GROUP, LP             DBA KRG LAS VEGAS EARSTERN BTWY LLC
MOORE, OK 73160                            30 SOUTH MERIDIAN, SUITE 1100         30 S MERIDIAN ST STE 1100
                                           INDIANAPOLIS, IN 46204                INDIANAPOLIS, IN 46204




KRG TUCSON CORNER LLC                      KRG TUCSON CORNER, LLC                KRG TUCSON CORNER, LLC
15961 COLLECTIONS CTR DR                   15961 COLLECTIONS CTR DR              C/O KITE REALTY GROUP, LP
CHICAGO, IL 60693                          CHICAGO, IL 60693                     30 SOUTH MERIDIAN, SUITE 1100
                                                                                 INDIANAPOLIS, IN 46204




KRG WAXAHACHIE CROSSING LP                 KRG WAXAHACHIE CROSSING LP            KRG/PRP OLDSMAR LLC
15961 COLLECTIONS CENTER DR                C/O KITE REALTY GROUP, LP             30 S MERIDIAN 1100
CHICAGO, IL 60693                          30 SOUTH MERIDIAN, SUITE 1100         INDIANAPOLIS, IN 46204
                                           INDIANAPOLIS, IN 46204
KRICKET ISTED           Case 18-12241-CSS     Doc 26
                                       KRIS GLOVER         Filed 10/05/18   PageKRIS
                                                                                 963   of 1739
                                                                                     GOUDIE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRIS HERRON                            KRIS JOHNSON                             KRIS LOCKETT
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRIS LUTHER                            KRIS NUNO                                KRIS OLIVER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRIS PEMBERTON                         KRIS PIETRUCHA                           KRIS SAINTVILUS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRIS WESTERMAN                         KRISHNA HIGUERA                          KRISHNA TRIVEDI
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRISS WILLIAMS                         KRISSY OREILLY                           KRISTA DEFENTHALER
10201 S. MAIN STREET                   4221 N SUNSET CLIFF DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                      TUCSON, AZ 85750                         HOUSTON, TX 77025




KRISTA HORTON                          KRISTA RUIZ                              KRISTA SELBY
15900 CLARISSE ST                      10201 S. MAIN STREET                     10201 S. MAIN STREET
BAKERSFIELD, CA 93314                  HOUSTON, TX 77025                        HOUSTON, TX 77025




KRISTAL DOSS                           KRISTEL EBRON                            KRISTEN ANDERSON
13840 FALL HARVEST DR                  3706 WYNDCLIFF CT                        10201 S. MAIN STREET
FRISCO, TX 75033                       RALEIGH, NC 27616                        HOUSTON, TX 77025




KRISTEN ANDERSON                       KRISTEN AUDAS                            KRISTEN BECKOM
10201 S. MAIN STREET                   2805 S COUNTY RD 1069                    10201 S. MAIN STREET
HOUSTON, TX 77025                      MIDLAND, TX 79706                        HOUSTON, TX 77025




KRISTEN CHIOCCHI                       KRISTEN COBURN                           KRISTEN CUDDINGTON
10201 S. MAIN STREET                   14001 NEWTON 1402                        10201 S. MAIN STREET
HOUSTON, TX 77025                      OVERLAND PARK, KS 66223                  HOUSTON, TX 77025
KRISTEN DADE-SIMS      Case 18-12241-CSS
                                      KRISTENDoc 26
                                             DURKEE      Filed 10/05/18   PageKRISTEN
                                                                               964 ofFRIEND
                                                                                      1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    418 N. JACKSON ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                       EDMOND, OK 73034




KRISTEN GULLO                         KRISTEN HATLEY                          KRISTEN KEREKES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KRISTEN KREHEL                        KRISTEN PORTALES                        KRISTEN ROBERTSON
14933 W. 147TH ST.                    10201 S. MAIN STREET                    3430 BROAD RIVER RD 610
OLATHE, KS 66062                      HOUSTON, TX 77025                       COLUMBIA, SC 29210




KRISTEN STEWART                       KRISTEN WAKEFIELD                       KRISTEN WILLIAMS
24035 AVE CRESCENTA                   10201 S. MAIN STREET                    10201 S. MAIN STREET
VALENCIA, CA 91355                    HOUSTON, TX 77025                       HOUSTON, TX 77025




KRISTI DURON                          KRISTI GINGER                           KRISTI HALLMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KRISTI LOWRY                          KRISTI WHIDDON                          KRISTIAN GERDES
10201 S. MAIN STREET                  2082 W HARRIS ST                        645 LIND AVE
HOUSTON, TX 77025                     PAVO, GA 31778                          CLOVIS, CA 93612




KRISTIAN HOLLE                        KRISTIE CAUSEY                          KRISTIE MCMATH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    6430 S STONY ISLAND AVE APT 405
HOUSTON, TX 77025                     HOUSTON, TX 77025                       CHICAGO, IL 60637




KRISTIN BASSIGNANI                    KRISTIN DAVIDSAVER                      KRISTIN DAVIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1438 A SAN JUAN CT
HOUSTON, TX 77025                     HOUSTON, TX 77025                       CLEARWATER, FL 33756




KRISTIN EWALD                         KRISTIN FINN                            KRISTIN GUYNN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KRISTIN HAMBY                         KRISTIN KING                            KRISTIN KLAUER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
KRISTIN SMITH          Case 18-12241-CSS
                                      KRISTIN Doc
                                              SMITH26      Filed 10/05/18   PageKRISTINA
                                                                                 965 ofBROWN
                                                                                         1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRISTINA BROWN                         KRISTINA BROWN                           KRISTINA COX
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRISTINA CZAJKOWSKI                    KRISTINA KERSELS                         KRISTINA KRUEGER
10201 S. MAIN STREET                   740 N KINGS RD                           500 SOUTH 73RD ST
HOUSTON, TX 77025                      WEST HOLLYWOOD, CA 90069                 MILWAUKEE, WI 53214




KRISTINA MACK                          KRISTINA PALMISANO                       KRISTINA PANZARELLA
10201 S. MAIN STREET                   25252 IRONWEDGE DR                       10201 S. MAIN STREET
HOUSTON, TX 77025                      SORRENTO, FL 32776                       HOUSTON, TX 77025




KRISTINA PANZARELLA                    KRISTINA PLASTER                         KRISTINA SCHNABEL
10201 S. MAIN STREET                   1628 BAXTER SPRINGS DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                      JUSTIN, TX 76247                         HOUSTON, TX 77025




KRISTINA TOLMACHOFF                    KRISTINA YOUNG                           KRISTINE DEGI
10201 S. MAIN STREET                   10201 S. MAIN STREET                     228 BRETON RIDGE RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                        LEICESTER, NC 28748




KRISTINE GORBET                        KRISTINE M BAER                          KRISTINE MERCADO
10201 S. MAIN STREET                   11209 78TH LN E                          10201 S. MAIN STREET
HOUSTON, TX 77025                      PARRISH, FL 34219                        HOUSTON, TX 77025




KRISTOFER PAGARD                       KRISTOPHER BILSON                        KRISTOPHER HALL
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRISTOPHER LEE                         KRISTOPHER MCCREEDY-KARLAK               KRISTOPHER URIARTE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRISTOPHER WILSON                      KRISTY KILGORE                           KRISTY LOVETT
10201 S. MAIN STREET                   10201 S. MAIN STREET                     1771 SOUTHERNWOOD DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                        CHATTANOOGA, TN 37421
KRISTY MILLS             Case 18-12241-CSS     Doc 26
                                        KRISTY PEELER       Filed 10/05/18   PageKRISTY
                                                                                  966 of  1739
                                                                                        POWELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                     1670 YELLOW HEART WAY
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOLLYWOOD, FL 33019




KRISTY RYAN                             KRISTY STROUD                            KRISTY WALKER
10201 S. MAIN STREET                    10201 S. MAIN STREET                     1704 S LAKE ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                        BOONEVILLE, MS 38829




KRLD-AM                                 KRMX-FM                                  KRNO-FM
PO BOX 730224                           M & M BROADCASTERS LTD                   RENO MEDIA GROUP LLC 961 MATLEY LANE
DALLAS, TX 75205-0224                   PO BOX 1629                              120
                                        CLEBURNE, TX 76033                       RENO, NV 89502




KROGER, GARDIS & REGAS, LLP             KROG-FM                                  KROLL FACTUAL DATA
ATTN: MADALYN S. KINSEY, ESQ.           511 ROSSANLEY DR                         5200 HAHNS PEAK DRIVE
111 MONUMENT CIRCLE, SUITE 900          MEDFORD, OR 97501                        LOVELAND, CO 80538
INDIANAPOLIS, IN 46204




KROLL FACTUAL DATA                      KROLL ONTRACK                            KROLL, MCNAMARA, EVANS & DELEHANTY,
PO BOX 847681                           PO BOX 845823                            LLP
DALLAS, TX 75284-7681                   DALLAS, TX 75284-8523                    ATTN: SHELLEY A. KROLL, ESQ.
                                                                                 65 MEMORIAL ROAD, SUITE 300
                                                                                 WEST HARTFORD, CT 06107



KRON TV                                 KROY LLC                                 KRQR-FM
PO BOX 743299                           DBA BUCKEYE BUSINESS PRODUCTS INC        856 MANZANITA CT
ATLANTA, GA 30384                       3830 KELLEY AVE                          CHICO, CA 95926
                                        CLEVELAND, OH 44114




KRRQ-FM                                 KRRV-FM                                  KRSK-FM
CUMULUS RADIO CORP                      CENLA BROADCASTING CO INC                0700 SW BANCROFT ST
3642 MOMENTUM PLACE                     1115 TEXAS AVE                           PORTLAND, OR 97239
CHICAGO, IL 60689-5336                  ALEXANDRIA, LA 71301




KRT PROPERTY HOLDINGS LLC               KRT PROPERTY HOLDINGS LLC                KRT PROPERTY HOLDINGS LLC
C/O BRIXMOR PROPERTY GROUP              C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP
450 LEXINGTON AVENUE, 13TH FLOOR        ONE FAYETTE STREET, SUITE 300            PO BOX 645324
ATTN: OFFICE OF GENERAL COUNSEL         ATTN: OFFICE OF GENERAL COUNSEL          CINCINNATI, OH 45264-5324
NEW YORK, NY 10170                      CONSHOHOCKEN, PA 19428



KRT PROPERTY HOLDINGS LLC               KRTR-FM                                  KRTY
PO BOX 645324                           SUMMIT MEDIA LLC-MAIL CODE: 61304        750 STORY ROAD
CINCINNATI, OH 45264                    PO BOX 1300                              SAN JOSE, CA 95122
                                        HONOLULU, HI 96807-1300




KRUF-FM                                 KRUNAL PATEL                             KRVU-TV
TOWNSQUARE MEDIA SHREVEPORT             10201 S. MAIN STREET                     PO BOX 79595
PO BOX 731300                           HOUSTON, TX 77025                        CITY OF INDUSTRY, CA 91716
DALLAS, TX 75373-1300
KRWM-FM                  Case 18-12241-CSS
                                        KRWQ Doc 26        Filed 10/05/18   PageKRXF-FM
                                                                                 967 of 1739
3650 131ST AVE SE 550                  3624 AVION DR                            345 SW CYBER DR 101-103
BELLEVUE, WA 98006                     MEDFORD, OR 97504                        BEND, OR 97702




KRYS STRINGFELLOW                      KRYSTAL BORING                           KRYSTAL BROWN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     1505 ELM ST 805
HOUSTON, TX 77025                      HOUSTON, TX 77025                        DALLAS, TX 75205




KRYSTAL BROWN                          KRYSTAL COLE                             KRYSTAL HOLLIDAY
4921 GRACE VIEW LN                     10201 S. MAIN STREET                     10201 S. MAIN STREET
BARTLETT, TN 38135                     HOUSTON, TX 77025                        HOUSTON, TX 77025




KRYSTAL LEKASHINGO                     KRYSTAL MELAAS                           KRYSTAL PILSCH
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




KRYSTAL UNDERCUFFLER                   KRYSTAL YAM                              KSAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     3667 MOMENTUM PLACE
HOUSTON, TX 77025                      HOUSTON, TX 77025                        CHICAGO, IL 60689-5336




KSAS-FM                                KSAZ                                     KSCS FLORIDA HOLDING LLC
827 E PARK BLVD 100                    5709 COLLECTION CENTER                   C/O TOWER REALTY ASSET MGMT INC
BOISE, ID 83712                        CHICAGO, IL 60693                        135 W CENTRAL BLVD STE 900
                                                                                ORLANDO, FL 32801




KSCS FLORIDA HOLDINGS, LLC AND         KSCS-FM                                  KSD-FM
5610 EAST FOWLER, LLC TIC              CUMULUS DALLAS                           IHEARTMEDIA ST LOUIS
111 EAST 61ST STREET                   3670 MOMENTUM PLACE                      3964 COLLECTION CENTER DR
NEW YORK, NY 10065                     CHICAGO, IL 60689-5336                   CHICAGO, IL 60693




KSE RADIO VENTURES LLC                 KSE RADIO VENTURES LLC(KXKL-FM)          KSEE-TV
720 S COLORADO BLVD STE 1200 N         720 S COLORADO BLVD STE 1200 N           2175 WEST 1700 SOUTH
DENVER, CO 80246                       DENVER, CO 80246                         SALT LAKE CITY, UT 84104




KSEG                                   KSEQ                                     KSFM
5345 MADISON AVE                       1110 E OLIVE AVE.                        PO BOX 100182
SACRAMENTO, CA 95841                   FRESNO, CA 93728                         PASADENA, CA 91189-0182




KSFO                                   KSHE-FM                                  KSHE-FM
3667 MOMENTUM PLACE                    EMMIS OPERATING COMPANY                  HUBBARD RADIO ST LOUIS LLC
CHICAGO, IL 60689-5336                 25673 NETWORK PLACE                      PO BOX 959270
                                       CHICAGO, IL 60673-1256                   SAINT LOUIS, MO 63195
KSJJ-FM                   Case 18-12241-CSS
                                         KSJO-FMDoc 26      Filed 10/05/18   PageKSKN
                                                                                  968 of 1739
BEND RADIO GROUP                         3684 MOMENTUM PLACE                     PO BOX 514670
345 SW CYBER DR 101-103                  CHICAGO, IL 60689-5336                  LOS ANGELES, CA 90051-4670
BEND, OR 97702




KSKS                                     KSLX-FM                                 KSLZ-FM
3603 MOMENTUM PLACE                      LOCKBOX 511553                          IHEARTMEDIA ST LOUIS
CHICAGO, IL 60689-5336                   PO BOX 511553                           3964 COLLECTION CENTER DR
                                         LOS ANGELES, CA 90051-8108              CHICAGO, IL 60693




KSMB-FM                                  KSMG-FM                                 KSN
CUMULUS RADIO CORP                       PO BOX 83198                            PO BOX 844304
3642 MOMENTUM PLACE                      CHICAGO, IL 60691-0198                  DALLAS, TX 75284
CHICAGO, IL 60689-5336




KSOC FM                                  KSOC-FM                                 KSON-FM
LOCKBOX 847341                           LOCKBOX 847341                          ENTERCOM SAN DIEGO KSON-FM
DALLAS, TX 75284-7341                    DALLAS, TX 75284-7341                   1615 MURRAY CANYON RD STE 710
                                                                                 SAN DIEGO, CA 92108




KSSM-FM                                  KSSN-FM                                 KSTW-TV
TOWN SQUARE MEDIA INC                    PO BOX 847572                           PO BOX 100308
PO BOX 731932                            DALLAS, TX 75284-7572                   PASADENA, CA 91189-0308
DALLAS, TX 75373-1932




KSTX BAYTOWN LLC                         KSTX BAYTOWN LLC                        KSWB-TV
3501 SW FAIRLAWN 200                     ATTN: EDDIE PASLAY                      FILE 749011
TOPEKA, KS 66614                         3501 SW FAIRLAWN STE 200                LOS ANGELES, CA 90074-9011
                                         TOPEKA, KS 66614




KSWF-FM                                  KSY ENTERPRISES INC                     KSY ENTERPRISES INC
PO BOX 847572                            7858 SHOAL CREEK BLVD                   7858 SHOAL CREEK BLVD
DALLAS, TX 75284-7572                    SUITE B                                 SUITE BAUSTIN, TX 78757
                                         AUSTIN, TX 78757




KSY ENTERPRISES, INC.                    KTAL-FM                                 KTAR-FM
7858 SHOAL CREEK BLVD                    ALPHA MEDIA LLC                         7740 N 16TH ST STE 200
SUITE B                                  PO BOX 7197                             PHOENIX, AZ 85020
AUSTIN, TX 78757                         SHREVEPORT, LA 71137-7197




KTBC NW COMMUNICATIONS OF AUSTIN         KTBQ-FM                                 KTBS LLC
PO BOX 844832                            TOWNSQUARE MEDIA                        312 E KINGS HWY
DALLAS, TX 75284-4832                    PO BOX 301018                           SHREVEPORT, LA 71104
                                         DALLAS, TX 75303-1018




KTBZ-FM                                  KTC PROPERTIES LLC                      KTC PROPERTIES LLC
IHEART MEDIA                             314 EAST BAY STREET                     LAVISTA ASOCIATES INC
PO BOX 847572                            SOUTHPORT, NC 28461                     3475 PIEDMONT RD NE STE 1150
DALLAS, TX 75284                                                                 ATLANTA, GA 30305-2954
KTC PROPERTIES, LLC     Case 18-12241-CSS      Doc 26 LLCFiled 10/05/18
                                       KTC PROPERTIES,                    PageKTCK-AM
                                                                               969 of 1739
C/O LA VISTA ASSOCIATES, INC.          C/O LA VISTA ASSOCIATES, INC.          3670 MOMENTUM PLACE
3475 PIEDMONT RD NE, SUITE 1150        3475 PIEDMONT RD NE, SUITE 1150        CHICAGO, IL 60689-5336
ATLANTA, GA 30305                      ATLANTA, GA 30305-2954




KTCT-AM                                KTCX-FM                                KTDY-FM
3667 MOMENTUM PLACE                    CUMULUS MEDIA LLC-BEAUMONT             TOWNSQUARE MEDIA LAF
CHICAGO, IL 60689-5336                 3591 MOMENTUM PLACE                    PO BOX 731227
                                       CHICAGO, IL 60689-5335                 DALLAS, TX 75373-1227




KTHI-FM                                KTHU                                   KTIK-FM
PO BOX 203587                          856 MANZANITA CT                       3633 MOMENTUM PLACE
DALLAS, TX 75320-3587                  CHICO, CA 95926                        CHICAGO, IL 60689-5336




KTKZ-AM                                KTOZ-FM                                KTR PROPERTY TRUST I
PO BOX 845581                          PO BOX 847572                          FIVE TOWER BRIDGE
LOS ANGELES, CA 90084-5581             DALLAS, TX 75284-7572                  300 BARR HARBOR DR STE 150
                                                                              CONSHOHOCKEN, PA 19428




KTR PROPERTY TRUST I                   KTRH-AM                                KTRY-FM
PO BOX 415692                          IHEART MEDIA                           3392 MENDOCINO AVE.
BOSTON, MA 02241-5692                  PO BOX 847572                          SANTA ROSA, CA 95402-0100
                                       DALLAS, TX 75284




KTTS-FM                                KTTU                                   KTVB
SPRINGFIELD                            PO BOX 101473                          5407 W FAIRVIEW AVE
PO BOX 203602                          PASADENA, CA 91189-1473                BOISE, ID 83707
DALLAS, TX 75320-3602




KTVD-TV KTVD GANNETT CO INC            KTVK                                   KTVN
PO BOX 637367                          PO BOX 101524                          4925 ENERGY WAY
CINCINNATI, OH 45263                   PASADENA, CA 91189-1524                RENO, NV 89502




KTVT TV                                KTVT-TV                                KTVU TV
PO BOX 730457                          PO BOX 730457                          32997 COLLECTION CENTER DR
DALLAS, TX 75373-0457                  DALLAS, TX 75373-0457                  CHICAGO, IL 60693-0329




KTVW                                   KTVZ-TV                                KTWS
PO BOX 452748                          PO BOX 873808                          PO BOX 5037
LOS ANGELES, CA 90045                  KANSAS CITY, MO 64187-3808             BEND, OR 97708




KTXA TV                                KTXA-TV                                KTXL-TV
PO BOX 730206                          PO BOX 730206                          KTXL FOX 40
DALLAS, TX 75373-0206                  DALLAS, TX 75373-0206                  FILE 51150
                                                                              LOS ANGELES, CA 90074-1150
KTYL-FM                   Case 18-12241-CSS
                                         KU   Doc 26      Filed 10/05/18   PageKU970 of 1739
TOWNSQUARE MEDIA                       1450 JAYHAWK BLVD                       A PPLCO
PO BOX 301022                          LAWRENCE, KS 66045                      P.O. BOX 9001954
DALLAS, TX 75303-1022                                                          LOUISVILLE, KY 40290-1954




KUB                                    KUB                                     KUBE-FM
4428 WESTERN AVE                       P.O. BOX 59017                          12067 COLLECTIONS CENTER DR
KNOXVILLE, TN 37921                    KNOXVILLE, TN 37950-9017                CHICAGO, IL 60693




KUBIAK ELECTRIC CO INC                 KUDL-FM                                 KUEBLER MECHANICAL INC
PO BOX 515                             ENTERCOM CALIFORNIA KUDL                535 NW MERCANTILE PLACE STE 101
WINDSOR, NJ 08561-0515                 5345 MADISON AVE                        PORT SAINT LUCIE, FL 34986
                                       SACRAMENTO, CA 95841




KUFX                                   KUIC                                    KUINA CRAIG
201 THIRD STREET 1200                  555 MASON STREET 245                    10201 S. MAIN STREET
SAN FRANCISCO, CA 94103                VACAVILLE, CA 95688                     HOUSTON, TX 77025




KUJ-AM                                 KUJZ-FM                                 KUKUI GROVE CENTER INVESTMENT GROUP
4304 W 24TH AVE STE 200                CUMULUS MEDIA-EUGENE                    INC.
KENNEWICK, WA 99338                    3597 MOMENTUM PLACE                     ATTN: GENERAL MANAGER
                                       CHICAGO, IL 60689-5336                  3-2600 KAUMUALII HWY STE 1710
                                                                               LIHUE, HI 96766



KUKUI MARKETPLACE SPE INC.             KULSIMRANJIT KAUR                       KUMET W WOOD
P.O. BOX 31000                         10201 S. MAIN STREET                    634 NE 11 STREET
HONOLULU, HI 96849-5549                HOUSTON, TX 77025                       HOMESTEAD, FL 33030




KUMU-FM                                KUNA-FM                                 KUNW-TV
OHANA BROADCAST CO. LLC                GULF CALIFORNIA BROADCAST COMPANY       SINCLAIR BROADCAST GROUP
1000 BISHOP ST 2ND FL                  PO BOX 873808                           PO BOX 206270
HONOLULU, HI 96813                     KANSAS CITY, MO 64187-3808              DALLAS, TX 75320-6270




KUPD-FM                                KUPL-FM                                 KURB-FM
LOCKBOX 511553                         1211 SW FIFTH AVE, STE 600              CUMULUS LITTLE ROCK
PO BOX 511553                          PORTLAND, OR 97204                      3643 MOMENTUM PLACE
LOS ANGELES, CA 90051-8108                                                     CHICAGO, IL 60689-5336




KURBRI ASSOCIATES                      KURBRI ASSOCIATES                       KURT BELL
1460 RIVERFRONT DRIVE                  P.O. BOX 30217                          10201 S. MAIN STREET
CHARLESTON, SC 29407                   CHARLESTON, SC 29417                    HOUSTON, TX 77025




KURT BOYSEN                            KURT BRAGG                              KURT HELENIUS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
KURT HOGEBOOM          Case 18-12241-CSS     Doc 26
                                      KURT JULIEN        Filed 10/05/18     PageKURT
                                                                                 971LUSCHKOWSKI
                                                                                     of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                      312 LARIMER AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                         ALIQUIPPA, PA 15001




KURT MICHELSON                        KURT MYERS                                KURT SALMON ASSOCIATES, INC
10201 S. MAIN STREET                  10201 S. MAIN STREET                      P.O. BOX 930916
HOUSTON, TX 77025                     HOUSTON, TX 77025                         ATLANTA, GA 31193-0916




KURT STRIDINGER                       KURT TOOMEY                               KURT WEBSTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




KURTELL GROWTH INDUSTRIES, LTD.       KURTIS BOYD                               KURTIS KUYKENDALL
GINA WATTLES, ADMINISTRATOR           10201 S. MAIN STREET                      10201 S. MAIN STREET
352 17TH STREET                       HOUSTON, TX 77025                         HOUSTON, TX 77025
VERO BEACH, FL 32960




KURTIS SMITH                          KUSA-TV KUSA GANNETT CO INC               KUSI-TV
10201 S. MAIN STREET                  PO BOX 637367                             PO BOX 719051
HOUSTON, TX 77025                     CINCINNATI, OH 45263                      SAN DIEGO, CA 92171-9051




KUTP                                  KUUIPOLANI BROWN                          KUUIPOLANI BROWN
5709 COLLECTION CENTER DR             10201 S. MAIN STREET                      10201 S. MAIN STREET
CHICAGO, IL 60693                     HOUSTON, TX 77025                         HOUSTON, TX 77025




KUVE                                  KUZZ-FM                                   KVAB-FM
ATTN: ACCOUNTS RECIVABLE              3223 SILLECT AVE                          403 CAPITAL ST
PO BOX 45705                          BAKERSFIELD, CA 93380                     LEWISTON, ID 83501
LOS ANGELES, CA 90045




KVER-TV                               KVGS-FM                                   KVIL-FM
PO BOX 843564                         BEASLEY MEDIA GROUP INC                   PO BOX 730224
LOS ANGELES, CA 90084-3564            2920 S DURANGO DR                         DALLAS, TX 75373-0224
                                      LAS VEGAS, NV 89117




KVOA COMMUNICATIONS INC               KVRV                                      KVUE TELEVISION INC
PO BOX 5188                           1410 NEOTOMAS AVE 200                     3201 STECK AVE
TUCSON, AZ 85703-0188                 SANTA ROSA, CA 95405                      AUSTIN, TX 78757




KVUE                                  KW COMMERCIAL                             KWABNA ASIEDU
DEPT 730043 PO BOX 660919             ATTN: CHRIS TAYLOR                        DBA S&B DELIVERY SERVICES LLC
DALLAS, TX 75266-0919                 2925 E. BATTLEFIELD ROAD, SUITE 111       1785 MARIFRAN CT
                                      SPRINGFIELD, MO 65804                     CONYERS, GA 30094
KWAME MAYBANK           Case   18-12241-CSS    Doc
                                         KWAMIRA    26
                                                 SHAW          Filed 10/05/18   PageKWAV-FM
                                                                                     972 of 1739
2900 LANDRUM DR APT 145                  10201 S. MAIN STREET                       60 GARDEN COURT 300
ATLANTA, GA 30311                        HOUSTON, TX 77025                          MONTEREY, CA 93940




KWCH                                     KWESI KELLY                                KWESI SNAGG
PO BOX 48349                             10201 S. MAIN STREET                       10201 S. MAIN STREET
WICHITA, KS 67201                        HOUSTON, TX 77025                          HOUSTON, TX 77025




KWGN                                     KWIANA WALKER                              KWIK PRINT INC
PO BOX 59743                             10201 S. MAIN STREET                       206 W IRVING PARK RD
LOS ANGELES, CA 90074                    HOUSTON, TX 77025                          ITASCA, IL 60143




KWIQ-FM                                  KWJJ-FM                                    KWOW-FM
PO BOX 79                                0700 SW BANCROFT ST                        PROPHECY MEDIA GROUP
WENATCHEE, WA 98807                      PORTLAND, OR 97239                         6401 COBBS DR
                                                                                    WACO, TX 76710




KWPK-FM                                  KWPW-FM                                    KWTX-FM
854 NE 4TH ST                            PROPHECY MEDIA GROUP                       IHEARTMEDIA
BEND, OR 97701                           6401 COBBS DR                              PO BOX 847572
                                         WACO, TX 76710                             DALLAS, TX 75284




KWXS-FM                                  KWYE                                       KWYL-FM
PO BOX 5037                              3603 MOMENTUM PLACE                        3652 MOMENTUM PLACE
BEND, OR 97708                           CHICAGO, IL 60689-5336                     CHICAGO, IL 60689-5336




KXAN                                     KXAS                                       KXAS-TV
PO BOX 844304                            CFS LOCKBOX PO BOX 402971                  CFS LOCKBOX
DALLAS, TX 75284                         ATLANTA, GA 30384-2971                     PO BOX 402971
                                                                                    ATLANTA, GA 30384-2971




KXDD-FM                                  KXFG-FM                                    KXIX-FM
PO BOX 2890                              PO BOX 100180                              345 SW CYBER DR 101-103
YAKIMA, WA 98907                         PASADENA, CA 91189-0180                    BEND, OR 97702




KXJM-FM                                  KXKS-FM                                    KXKT-FM
5670 COLLECTION CENTER DR                TOWNSQUARE MEDIA SHREVEPORT                PO BOX 419499
CHICAGO, IL 60693-0056                   PO BOX 731300                              BOSTON, MA 02241-9499
                                         DALLAS, TX 75373-1300




KXL-FM                                   KXLT-FM                                    KXLX-AM
1211 SW FIFTH AVE, STE 600               827 E PARK BLVD 100                        PO BOX 749842
PORTLAND, OR 97204                       BOISE, ID 83712                            LOS ANGELES, CA 90074
KXLY-FM                 Case 18-12241-CSS
                                       KXLY-TVDoc 26      Filed 10/05/18   PageKXRX
                                                                                973 of 1739
PO BOX 749842                          PO BOX 749756                           2621 W A STREET
LOS ANGELES, CA 90074                  LOS ANGELES, CA 90074-9756              PASCO, WA 99301




KXTG-AM                                KXTV-TV                                 KXXV 25 - CENTEX TELEVISION LIMITED
1211 SW FIFTH AVE, STE 600             PO BOX 637364                           PARTNERS
PORTLAND, OR 97204                     CINCINNATI, OH 45263-7364               PO BOX 2522
                                                                               WACO, TX 76702-2522




KY CITY OF BOWLING GREEN               KYA MCCULLOUGH                          KYALLA ROWLETT
ATTN: INCOME TAX DEPT.                 10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 1410                            HOUSTON, TX 77025                       HOUSTON, TX 77025
BOWLING GREEN, KY 42102-1410




KYAN ENTERPRISES LLC                   KYARRA HARKER                           KYBG-FM
1106 BECKTON LN                        10201 S. MAIN STREET                    PO BOX 228
PEARLAND, TX 77584                     HOUSTON, TX 77025                       CROWLEY, LA 70527




KYCH-FM                                KYEMA GREELEY                           KYIS-FM
0700 SW BANCROFT ST                    10201 S. MAIN STREET                    CUMULUS OKLAHOMA CITY
PORTLAND, OR 97239                     HOUSTON, TX 77025                       3649 MOMENTUM PLACE
                                                                               CHICAGO, IL 60689-5336




KYJON WRIGHT                           KYKS-FM                                 KYKY-FM
236 JEFFERSON DR                       TOWNSQUARE MEDIA                        CBS RADIO STATIONS
SANDY SPRINGS, GA 30350                PO BOX 301018                           25003 NETWORK PLACE
                                       DALLAS, TX 75303-1018                   CHICAGO, IL 60673-1250




KYLA JEFFERSON                         KYLE BAKANOVIC                          KYLE BERKLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE BERKLEY                           KYLE BERTHOLD                           KYLE BIHNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE BOOTHE                            KYLE BROWN                              KYLE BYRD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE CABRAL                            KYLE CHURCH                             KYLE CLIFTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
KYLE COLONY            Case 18-12241-CSS     Doc 26
                                      KYLE COPELAND      Filed 10/05/18   PageKYLE
                                                                               974COUSHMAN
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE CRAIG                            KYLE CUSANO                             KYLE DEEM
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE DEROUSSE                         KYLE ENGEN                              KYLE FINKE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE FOSTER                           KYLE FOX                                KYLE GERVAIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE GIARRATANO                       KYLE GRANT                              KYLE HACKETT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE HAMLET                           KYLE HARTMAN                            KYLE HEMPHILL
10201 S. MAIN STREET                  4701 KATHY DR                           10201 S. MAIN STREET
HOUSTON, TX 77025                     TEMPLE, TX 76502                        HOUSTON, TX 77025




KYLE HESLIN                           KYLE HIGMAN                             KYLE HULING
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE JACKSON                          KYLE JORDAN                             KYLE JULIAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE KOPLOWITZ                        KYLE KOPSEL                             KYLE KORINEK
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE KRETZER                          KYLE KUNS                               KYLE LAWLOR
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
KYLE LEMARR            Case 18-12241-CSS     Doc 26
                                      KYLE LEONARD       Filed 10/05/18   PageKYLE
                                                                               975LEWIS
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE LI                               KYLE LUNDHOLM                           KYLE MADDEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    472 SCOFIELD DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                       POWDER SPRINGS, GA 30127




KYLE MAXWELL                          KYLE MCMAHON                            KYLE MCNAMARA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE MORPETH                          KYLE MURPHY                             KYLE MURPHY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE NASH                             KYLE NELSON                             KYLE NEWTON
10201 S. MAIN STREET                  6035 N COLLEGE AVE                      10201 S. MAIN STREET
HOUSTON, TX 77025                     INDIANAPOLIS, IN 46220                  HOUSTON, TX 77025




KYLE OWENS                            KYLE PACK                               KYLE PAPALLO
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE PORTER                           KYLE REHNBERG                           KYLE RILEY
301 PRUITT RD,                        10201 S. MAIN STREET                    10201 S. MAIN STREET
APT 222                               HOUSTON, TX 77025                       HOUSTON, TX 77025
SPRING, TX 77380




KYLE SANDERS                          KYLE SCHULTZ                            KYLE SCOTT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE SHIVERS                          KYLE STARK                              KYLE STEBBINS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




KYLE STEINMANN                        KYLE SUBICH                             KYLE TAYLOR
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
KYLE THATCH             Case 18-12241-CSS      Doc 26
                                       KYLE VILLANUEVA      Filed 10/05/18   PageKYLE
                                                                                  976VIOLETTO
                                                                                       of 1739
10201 S. MAIN STREET                    1145 HONEYWELL DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                       ANNA, TX 75409                           HOUSTON, TX 77025




KYLE VROOMAN                            KYLE WASHINGTON                          KYLE WELLS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




KYLE WHITE                              KYLE WILKERSON                           KYLE WILSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




KYLE WINSTON                            KYLE WOOD                                KYLE YARBROUGH
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




KYLEA WRIGHT                            KYLEE RIGGINS                            KYLEIGH HINOJOSA
2952 CROSSCREEK CIR                     10201 S. MAIN STREET                     322 HIGHLAND DR
WESTFIELD, IN 46074                     HOUSTON, TX 77025                        ROCKWALL, TX 75087




KYLEIGH WILLIAMS                        KYLER BATES                              KYLER KERSHAW
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




KYLER MABE                              KYLIE QUINNEY                            KYLIE ROSE STEVENS
10201 S. MAIN STREET                    744 BASHFORD RD                          215 RIDGE VIEW CIRCLE
HOUSTON, TX 77025                       RALEIGH, NC 27606                        ROCKLIN, CA 95677




KYLIE STEVENS                           KYNDALL RAYDON                           KYNZIE BEARDEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




KYREE JOHNSON                           KYRELL HOWELL                            KYRON MINTER
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




KYTX                                    KYU KIM                                  KYW TV
DEPT 730057                             10201 S. MAIN STREET                     PO BOX 33091
PO BOX 660919                           HOUSTON, TX 77025                        NEWARK, NJ 07188-0091
DALLAS, TX 75266-0919
KYW-AM                    Case 18-12241-CSS
                                         KYXY Doc 26         Filed 10/05/18   PageKZBG-FM
                                                                                   977 of 1739
21256 NETWORK PLACE                     PO BOX 100878                             2470 APPLESIDE BLVD SUITE B
CHICAGO, IL 60673-1212                  PASADENA, CA 91189-0878                   CLARKSTON, WA 99403




KZBT-FM                                 KZEL-FM                                   KZID-FM
TOWNSQUARE MEDIA ODESSA                 3597 MOMENTUM PLACE                       2470 APPLESIDE BLVD SUITE B
PO BOX 731933                           CHICAGO, IL 60689-5336                    CLARKSTON, WA 99403
DALLAS, TX 75373-1933




KZII-FM                                 KZJO-TV                                   KZMZ-FM
TSM LUBBOCK                             PO BOX 742111                             CENLA BROADCASTING CO INC
PO BOX 301650                           LOS ANGELES, CA 90074-2111                1115 TEXAS AVE
DALLAS, TX 75303-1650                                                             ALEXANDRIA, LA 71301




KZOK-FM                                 KZPS-FM                                   KZPT-FM
PO BOX 100247                           PO BOX 847572                             ENTERCOM KANSAS CITY
PASADENA, CA 91189-0247                 DALLAS, TX 75284-7572                     7000 SQUIBB RD 2ND FLOOR
                                                                                  MISSION, KS 66202




KZST                                    KZZE-FM                                   KZZO
3392 MENDOCINO AVE.                     3624 AVION DR                             PO BOX 100182
SANTA ROSA, CA 95402                    MEDFORD, OR 97504                         PASADENA, CA 91189-0182




KZZU-FM                                 L & L EXHIBITION MANAGEMENT               L & L QUICK TRANSPORTATION OF FLORIDA
PO BOX 749842                           7809 SOUTHTOWN CENTER 200                 7803 NW 165TH ST.
LOS ANGELES, CA 90074                   BLOOMINGTON, MN 55431                     HIALEAH, FL 33016




L & P FINANCIAL SERVICES CO             L & P FINANCIAL SERVICES                  L & P FINANCIAL
C/O US BANK                             C/O US BANK                               1005 CONVENTION PLAZA
PO BOX 952092                           PO BOX 952092-MAIN POST OFFICE            SAINT LOUIS, MO 63101
SAINT LOUIS, MO 63195-2092              SAINT LOUIS, MO 63195-2092




L & P FINANCIAL                         L & R SONS LLC                            L J FREDELLA
C/O US BANK PO BOX 952092               PO BOX 1806                               10201 S. MAIN STREET
SAINT LOUIS, MO 63195-2092              LA PLACE, LA 70069                        HOUSTON, TX 77025




L J ROGERS JR TRUCKING INC              L J ROGERS JR TRUCKING INC                L POWELL AQUISITION CORP
7723 OAKWOOD ST EXTENSION               PO BOX 75999                              22 JERICHO TURNPIKE STE 200
MEBANE, NC 27302                        CHARLOTTE, NC 28275-0999                  MINEOLA, NY 11501




L TRANSPORTATION CORP                   L&L EAST LYME LLC                         L&L EAST LYME LLC
33 SCHERER ST                           6 VISTA DR STE 200                        6 VISTA DR
BETHPAGE, NY 11714                      OLD LYME, CT 06371                        STE 200
                                                                                  OLD LYME, CT 06371
                        Case
L&P FINANCIAL SERVICES CO        18-12241-CSS     Doc CLEANING
                                           L&R WINDOW 26 Filed    10/05/18
                                                               SERVICES            PageL3978 of 1739
                                                                                          CAMPUS RETAIL 2016 LP
C/O US BANK                                 C/O EVARISTO T SALAZAR                      6640 PINE TREE LN
PO BOX 952092                               2121 QUAIL HOLLOW DR                        MIAMI BEACH, FL 33141-4531
SAINT LOUIS, MO 63195-2092                  GRAND PRAIRIE, TX 75051




LA CIENEGA TRIANGLE LLC                     LA CIENEGA TRIANGLE, LLC                    LA CIENEGA-CADILLAC LLC
1234 E 17TH ST                              C/O RED MOUNTAIN GROUP, INC.                8500 MELROSE AVE. 208
SANTA ANA, CA 92701                         1234 E. 17TH STREET                         WEST HOLLYWOOD, CA 90069
                                            ATTN: VP OF ASSET MANAGEMENT
                                            SANTA ANA, CA 92701



LA CIENEGA-CADILLAC, LLC                    LA COUNTY FAIR                              LA FRONTERA VILLAGE LP
8500 MELROSE AVENUE, SUITE 208              COMMERCIAL SALES                            C/O SANSONE GROUP
WEST HOLLYWOOD, CA 90069                    1101 W MCKINLEY AVE                         120 S. CENTRAL AVENUE, SUITE 500
                                            POMONA, CA 91768                            ST. LOUIS, MO 63105




LA FRONTERA VILLAGE LP                      LA RAGIONE BROTHERS LLC                     LA RAGIONE BROTHERS, LLC
PO BOX 204372                               945 NORTH DUPONT BLVD UNIT B                14 N. HORSESHOE DRIVE
DALLAS, TX 75320-4372                       MILFORD, DE 19963                           MILFORD, DE 19963




LA RAGIONE BROTHERS, LLC                    LA RAGLAND                                  LA VISTA ASSOCIATES, INC.
945 NORTH DUPONT BLVD UNIT B                10201 S. MAIN STREET                        3475 PIEDMONT RD NE, SUITE 1150
MILFORD, DE 19963                           HOUSTON, TX 77025                           ATLANTA, GA 30305




LABOR FINDERS OF SOUTH CAROLINA INC         LABOR GUYS LLC DBA LGS STAFFING             LABOR LAW CENTER INC
DBA LABOR FINDERS                           3699 CHAMBLEE DUNWOODY RD                   3501 W. GARRY AVE
200 MONTCLAIR RD                            ATLANTA, GA 30075                           SANTA ANA, CA 92704
IRMO, SC 29063




LABOR READY INC.                            LABOR READY                                 LABOR SMART INC
P.O. BOX 31001-0257                         P.O. BOX 740435                             5604 WENDY BAGWELL PKWY STE223
PASADENA, CA 91110-0257                     ATLANTA, GA 30374-0435                      HIRAM, GA 30141




LABOR SOURCE LLC                            LABURNUM CENTRE LLC                         LABURNUM CENTRE LLC
5537 1/2 E BELKNAP ST                       C/O M LEO STORCH MGMT CO                    C/O M. LEO STORCH MGMT CO.
HALTOM CITY, TX 76117                       25 HOOK LN STE 312                          25 HOOK LANE, SUITE 312
                                            PIKESVILLE, MD 21208                        ATTN: BRUCE I. LEVINE
                                                                                        BALTIMORE, MD 21208



LABURNUM SQUARE ENTERPRISES LLC             LABURNUM SQUARE ENTERPRISES LLC             LABURNUMCENTRE LLC
6000 RIVER RD STE B                         C/O OX RIVER, LLC                           25 HOOK LN STE 312
RICHMOND, VA 23226                          6000 RIVER ROAD, SUITE B                    PIKESVILLE, MD 21208
                                            ROSS STERNHEIMER, MANAGER
                                            RICHMOND, VA 23226



LACEY MARKETPLACE ASSOC II LLC              LACEY MARKETPLACE ASSOCIATES II, LLC        LACEY RODRIGUEZ
8129 LAKE BALLINGER WAY 104                 8129 LAKE BALLINGER WAY # 104               6550 SHADY BROOK LN 1916
EDMONDS, WA 98026                           EDMONDS, WA 98026                           DALLAS, TX 75206
LACEY-HANFORD CENTER LLC Case   18-12241-CSS     Doc 26CENTER,
                                          LACEY-HANFORD  FiledLLC
                                                               10/05/18          PageLACKAWANNA
                                                                                      979 of 1739
                                                                                                RVR BASIN SWR AUTH
17671 IRVINE BLVD STE 204                 C/O PAYNTER REALTY INVESTMENTS, INC.       101 BOULEVARD AVE
TUSTIN, CA 92780                          17671 IRVINE BOULEVARD, SUITE 204          OLYPHANT, PA 18447
                                          ATTN: CAMI BURNSTINE
                                          TUSTIN, CA 92780



LACKAWANNA RVR BASIN SWR AUTH             LACLEDE GAS COMPANY                        LACY FIELDS
P.O. BOX 280                              DRAWER 2                                   10201 S. MAIN STREET
OLYPHANT, PA 18447-0280                   ST. LOUIS, MO 63171                        HOUSTON, TX 77025




LACY LOCK SERVICE                         LADALE BISHOP                              LADARRON COOPER
150 BARTON BLVD                           10201 S. MAIN STREET                       10201 S. MAIN STREET
ROCKLEDGE, FL 32955                       HOUSTON, TX 77025                          HOUSTON, TX 77025




LADD COMPANY PHOTOGRAPHY                  LADI OMITOOGUN                             LADY AMERICANA
717 W 17TH ST                             10201 S. MAIN STREET                       PO BOX 970817
HOUSTON, TX 77008                         HOUSTON, TX 77025                          DALLAS, TX 75397




LAF WESLAYAN LTD                          LAF WESLAYAN, LTD.                         LAFAYETTE ASSOCIATES LLC
5333 GULFTON                              C/O RPI MANAGEMENT COMPANY                 50 UTOPIA CT
HOUSTON, TX 77081                         5333 GULFTON                               STATEN ISLAND, NY 10304
                                          ATTN: TOMMY FRIEDLANDER
                                          HOUSTON, TX 77081



LAFAYETTE ASSOCIATES, LLC                 LAFAYETTE CONSOLIDATED GOVERNMENT          LAFAYETTE COUNTY TAX COLLECTOR
JOHN LAROCCA                              PO BOX 4024-C                              300 N LAMAR STE 103
50 UTOPIA COURT                           LAFAYETTE, LA 70502                        OXFORD, MS 38655
STATEN ISLAND, NY 10304




LAFAYETTE PARISH TAX COLLECTOR            LAFAYETTE PARISH TAX COLLECTOR             LAFAYETTE PARISH TAX COLLECTOR
ATTN: PROPERTY TAX DEPT.                  ATTN: SALES & USE TAX DEPT.                PO BOX 52667
PO BOX 52667                              P. O. BOX 3883                             LAFAYETTE, LA 70505
LAFAYETTE, LA 70505                       LAFAYETTE, LA 70502




LAFAYETTE PARTNERS                        LAFAYETTE PARTNERS                         LAFAYETTE
5812 DARLINGTON RD                        C/O THE SILK & STEWART DEVELOP. GROUP      ATTN: PROPERTY TAX DEPT.
PITTSBURGH, PA 15217                      5812 DARLINGTON RD                         300 N LAMAR STE 103
                                          PITTSBURGH, PA 15217                       OXFORD, MS 38655




LAFFIRM LLC                               LAFFIRM LLC                                LAFOX PROPERTIES PARTNERSHIP
C/O ACRE                                  C/O ADVANTAGE COMMERCIAL REAL              C/O MURRAY PROPERTIES, INC
PO BOX 206514                             ESTATE                                     473 DUNHAM ROAD, SUITE 290
LOUISVILLE, KY 40250                      P.O. BOX 206514                            ATTN: ELLEN GALLAGHER
                                          LOUISVILLE, KY 40250                       ST. CHARLES, IL 60174



LAFOX PROPERTIES PRTNRSHP                 LAGARDERE UNLIMITED INC                    LAGO WEST CONDOMINIUM
473 DUNHAM RD STE 200                     DBA SPORTS INVESTMENT LLC                  420 COMMODORE DR
SAINT CHARLES, IL 60174                   235 PARK AVE SOUTH 6TH FL                  PLANTATION, FL 33325
                                          NEW YORK, NY 10003
LAGRANGE DAILY NEWS     Case 18-12241-CSS    Doc
                                       LAGRANGE   26 PLAZA,
                                                OGDEN FiledL.L.C.
                                                             10/05/18         PageLAGUNA
                                                                                   980 ofPAVILION
                                                                                           1739 S.C. LLC
PO BOX 929                              C/O NATIONAL SHOPPING PLAZAS, INC.        C/O SIERRA ASSET MGMT INC
LA GRANGE, GA 30241                     200 WEST MADISON STREET, SUITE 4200       2920 PROSPECT PARK DRIVE, SUITE 120
                                        CHICAGO, IL 60606-3465                    RANCHO CORDOVA, CA 95670




LAGUNA PAVILION SC LLC                  LAGUNA PROMENADE                          LAGUNA PROMENADE, LLC
C/O SIERRA ASSET MGMT INC               ATTN: LOCKBOX 80162                       ATTN: LOCKBOX 80162
2920 PROSPECT PARK DR STE 120           19935 E WALNUT DR N                       19935 E WALNUT DR N
RANCHO CORDOVA, CA 95670                WALNUT, CA 91789-2818                     WALNUT, CA 91789-2818




LAGUNA PROMENADE, LLC                   LAHMAD DUNCAN                             LAIA STEVISON
C/O JONES LANG LASALLE AMERICAS, INC.   10201 S. MAIN STREET                      10201 S. MAIN STREET
3001 DOUGLAS BOULEVARD, SUITE 330       HOUSTON, TX 77025                         HOUSTON, TX 77025
ATTN: JOVIAN BERNHARD, PMP
ROSEVILLE, CA 95661



LAIESHA LECLER                          LAINA JENKINS                             LAIRD BRUNO
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




LAJOIA CAREY                            LAJPAT BHATIA                             LAKASHA STOKES
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




LAKE APOPKA NATURAL GAS DIST            LAKE APOPKA NATURAL GAS DISTRICT          LAKE CHARLES AMERICAN PRESS
P.O. BOX 850001                         1320 WINTER GARDEN VINELAND RD            4900 HWY 90 EAST
ORLANDO, FL 32885-0023                  WINTER GARDEN, FL 34787                   LAKE CHARLES, LA 70615




LAKE CHARLES AMERICAN PRESS             LAKE CITY PLACE LP                        LAKE CITY PLACE LP
PO BOX 60028                            1190 INTERSTATE PRKWY                     PO BOX 204227
NEW ORLEANS, LA 70160-0028              AUGUSTA, GA 30909                         AUGUSTA, GA 30917




LAKE CITY PLAZA LLC                     LAKE CITY PLAZA, LLC                      LAKE CITY REPORTER
C/O BOARDWALK INC LLC                   BOARDWALK INVESTMENTS, LLC                LAKE CITY REPORTER
210 N BASSETT ST                        210 N BASSETT ST                          PO BOX 1709
MADISON, WI 53703                       MADISON, WI 53703                         LAKE CITY, FL 32056-1709




LAKE COUNTY COLLECTO                    LAKE COUNTY DEPT OF UTILITIES             LAKE COUNTY DEPT OF UTILITIES
18 N COUNTY ST                          105 MAIN ST                               P.O. BOX 8005
WAUKEGAN, IL 60085                      PAINESVILLE, OH 44077                     PAINESVILLE, OH 44077-8005




LAKE COUNTY DEPT PUBLIC WORKS           LAKE COUNTY DEPT PUBLIC WORKS             LAKE COUNTY TAX COLLECTOR
650 W WINCHESTER ROAD                   PO BOX 547                                P.O. BOX 327
LIBERTYVILLE, IL 60048                  BEDFORD PARK, IL 60499-0547               TAVARES, FL 32778
LAKE COUNTY TREASURERCase         18-12241-CSS     Doc
                                            LAKE GEM D1 26
                                                        LLC Filed 10/05/18       PageLAKE
                                                                                      981GEM
                                                                                          of II1739
                                                                                                LLC
2293 N MAIN ST                              1081 19TH STREET STE 203                 C/O ELLIS-GIBSON DEVELOPMENT GROUP
CROWN POINT, IN 46307                       VIRGINIA BEACH, VA 23451-5600            1081 19TH ST STE 203
                                                                                     VIRGINIA BEACH, VA 23451-5600




LAKE GEM II, LLC                            LAKE GEM II, LLC                         LAKE GENEVA CITY TREASURER
C/O ELLIS-GIBSON DEVELOPMENT GROUP          C/O ELLIS-GIBSON DEVELOPMENT GROUP       626 GENEVA ST
1081 19TH STREET, SUITE 203                 1081 19TH STREET, SUITE 203              LAKE GENEVA, WI 53147-1914
VIRGINIA BEACH, VA 23451                    VIRGINIA BEACH, VA 23451-5600




LAKE GENEVA PRINTING & PUB INC              LAKE GENEVA PRINTING & PUB INC           LAKE GENEVA
DBA LAKE GENEVA REG NEWS                    DBA LAKE GENEVA REG NEWS                 ATTN: PROPERTY TAX DEPT.
315 BROAD ST                                PO BOX 937                               626 GENEVA ST
LAKE GENEVA, WI 53147                       LAKE GENEVA, WI 53147                    LAKE GENEVA, WI 53147




LAKE HAVASU CITY                            LAKE HAVASU CITY                         LAKE HOUSTON BELTWAY ASSOC. LLC
2330 MCCULLOCH BLVD N                       P.O. BOX 80016                           2330 MCCULLOCH BLVD N
LAKE HAVASU CITY, AZ 86403                  PRESCOTT, AZ 86304-8016                  LAKE HAVASU CITY, AZ 86403




LAKE HOUSTON BELTWAY ASSOC. LLC             LAKE HOUSTON BELTWAY ASSOCIATES, LLC     LAKE JACKSON SHOPPING CENTER, LTD.
PROPEERTY 626510                            C/O FIDELIS REALTY PARTNERS, LTD.        1800 AUGUSTA, SUITE 370
PO BOX 310300                               4500 BISSONNET STREET, SUITE 300         HOUSTON, TX 77057
DES MOINES, IA 50331-0300                   ATTN: PROPERTY MANAGER
                                            BELLAIRE, TX 77401



LAKE MEAD CROSSING, LLC                     LAKE MEAD CROSSING, LLC                  LAKE MEAD PARTNERS LLC
15200 COLLECTIONS CENTER DR.                2901 BUTTERFIELD RD                      GK DEVELOPMENT INC
CHICAGO, IL 60693                           OAK BROOK, IL 60523                      PO BOX 9
                                                                                     BARRINGTON, IL 60011-0009




LAKE NONA INVESTORS RETAIL LLC              LAKE NONA INVESTORS RETAIL LLC           LAKE ORLANDO PROPERTIES INC
227 W. NEW ENGLAND AVE., SUITE C            P.O. BOX 1925                            PO BOX 941468
WINTER PARK, FL 32789                       WINTER PARK, FL 32790                    MAITLAND, FL 32794




LAKE SANFORD PROPERTIES, LLC                LAKE SHORE PLAZA OWNER LLC               LAKE SHORE PLAZA OWNER LLC
C/O ATLAS PARTNERS, LLC                     C/O RD MANAGEMENT LLC                    C/O RD MANAGEMENT LLC
55 E. MONROE STREET, SUITE 2910             810 SEVENTH AVE 10FL                     810 SEVENTH AVE, 10TH FLOOR
CHICAGO, IL 60603-5843                      ATTN: LEGAL DEPARTMENT                   ATTN: LEGAL DEPARTMENT
                                            NEW YORK, NY 10019                       NEW YORK, NY 10019



LAKE SHORE PLAZA OWNER LLC                  LAKE SUCCESS SHOPPING CENTER LLC         LAKE SUCCESS SHOPPING CENTER LLC
PO BOX 782471                               1526 A UNION TPKE                        1526A UNION TURNPIKE
PHILADELPHIA, PA 19178-2471                 NEW HYDE PARK, NY 11040                  NEW HYDE PARK, NY 11040




LAKE SUCCESS SHOPPING CENTER                LAKE VIEW SQUARE ASSOCIATES. L.P.        LAKE WILSON
ATTN: ROBERT P. PECK                        2005 ST. ANDREWS DRIVE                   10201 S. MAIN STREET
1526 A UNION TURNPIKE                       PRESTO, PA 15142                         HOUSTON, TX 77025
NEW HYDE PARK, NY 11040
LAKE WORTH RD DEV      Case   18-12241-CSS
                                        LAKE     Doc 26      Filed 10/05/18   PageLAKEFRONT
                                                                                   982 of 1739
                                                                                            COMMUNICATIONS LLC
TWO S UNIVERSITY DR STE 325               ATTN: PROPERTY TAX DEPT.                5407 W MCKINLEY AVE
FORT LAUDERDALE, FL 33324                 P.O. BOX 327                            MILWAUKEE, WI 53208
                                          TAVARES, FL 32778




LAKEIDRA SMITH                            LAKEISHA RAMSEY                         LAKEITHA WHICKER
1165 WHITEHAVEN APT D                     10201 S. MAIN STREET                    10201 S. MAIN STREET
DALLAS, TX 75218                          HOUSTON, TX 77025                       HOUSTON, TX 77025




LAKELAND ELECTRIC                         LAKELAND ELECTRIC                       LAKELAND PARK LLC
501 EAST LEMON STREET                     P.O. BOX 32006                          113 GAVILAN AVE
LAKELAND, FL 33801-5079                   LAKELAND, FL 33822-006                  CORAL GABLES, FL 33143




LAKELAND PARK LLC                         LAKELAND PARK LLC                       LAKELINE HOMESTEAD K/C LTD
C/O BARON REALTY ATTN M CORY PETCOFF      C/O BARON REALTY                        CENCOR6560-003634
PO BOX 2007                               P.O. BOX 2007                           PO BOX 660394
LAKELAND, FL 33806                        ATTN: M. CORY PETCOFF                   DALLAS, TX 75266-0394
                                          LAKELAND, FL 33806



LAKELINE PLAZA LLC WP GLIMCHER INC        LAKELINE PLAZA LLC                      LAKENDRIA FRAZIER
ATTN: GENERAL COUNSEL                     WP GLIMCHER INC/ATTN GENERAL COUNSEL    10201 S. MAIN STREET
180 E BROAD ST                            180 E BROAD ST                          HOUSTON, TX 77025
COLUMBUS, OH 43215                        COLUMBUS, OH 43215




LAKES REGION NEWS CLUB INC                LAKESHA CORBIN-VAUGHT                   LAKESHORE POWER & LIGHT INC
THE LACONIA DAILY SUN                     10201 S. MAIN STREET                    15533 S. 70TH COURT
1127 UNION AVE 1                          HOUSTON, TX 77025                       ORLAND PARK, IL 60462
LACONIA, NH 03246




LAKESHORE RECYCLING SYSTEMS               LAKESHORE RECYCLING SYSTEMS             LAKESIDE PROFESSIONAL BUILDING LLC
6132 OAKTON STREET                        P.O. BOX 554884                         2381 SW CARRIAGE HILL TERRACE UNIT 103
MORTON GROVE, IL 60053                    DETROIT, MI 48255-4884                  PALM CITY, FL 34990




LAKESIDE PROFESSIONAL BUILDING, LLC       LAKESIDE TOWN SHOPS (E&A), LLC          LAKESIDE TOWN SHOPS E&A LLC
C/O A O R HOLDINGS                        C/O EDENS LIMITED PARTNERSHIP           DEPT 2386
2381 SW CARRIAGE HILL TERRACE, UNIT 103   1221 MAIN STREET, SUITE 1000            PO BOX 536856
PALM CITY, FL 34990                       ATTN: LEGAL DEPARTMENT                  ATLANTA, GA 30353-6856
                                          COLUMBIA, SC 29201



LAKESIDE TOWN SHOPS                       LAKESIDE TOWN SHOPS                     LAKEVIEW GLASS & MIRROR
5800 S UNIVERSITY DR                      P.O. BOX 4717
DAVIE, FL 33328                           LOGAN, UT 84323-4717




LAKEVIEW LIGHT & POWER                    LAKEVIEW SQUARE ASSOCIATES              LAKEWAY PUBLISHERS INC
11509 BRIDGEPORT WAY SW                   PO BOX 284                              DBA CITIZEN TRIBUNE
LAKEWOOD, WA 98499-3041                   PRESTO, PA 15142                        1609 WEST 1ST N ST
                                                                                  MORRISTOWN, TN 37815
LAKEWOOD 11 LLC       Case   18-12241-CSS    DocCITY
                                       LAKEWOOD   26COMMONS
                                                       Filed LP
                                                             10/05/18      PageLAKEWOOD
                                                                                983 of 1739
                                                                                        CITY COMMONS, LP
C/O ACF PROPERTY MGMT INC               PO BOX 973559                          C/O CNA ENTERPRISES, INC.
12411 VENTURA BLVD                      DALLAS, TX 75397-3559                  1901 AVENUE OF THE STARS, SUITE 855
STUDIO CITY, CA 91604                                                          ATTN: STEVE ALKANA
                                                                               LOS ANGELES, CA 90067



LAKHANI FAMILY 2006 IRREVOCABLE TRUST   LAKSHMI NATHAN BALASUBRAMANIAN         LALETA NATHU
46 GERALDINE RD                         10201 S. MAIN STREET                   10201 S. MAIN STREET
ENGLEWOOD CLIFFS, NJ 07632              HOUSTON, TX 77025                      HOUSTON, TX 77025




LAM TRAN                                LAM, JORDAN                            LAMAR CASA LLC
10201 S. MAIN STREET                    91-214 NOHOANA PL                      3906 N LAMAR STE 201
HOUSTON, TX 77025                       EWA BEACH, HI 96706-5103               AUSTIN, TX 78756




LAMAR CASA LLC                          LAMAR CASA, LLC                        LAMAR CASA, LLC
C/O LEAD COMMERCIAL                     3906 N LAMAR STE 201                   ATTN: JASEN TRAUTWEIN
2007 S 1ST STE 102                      AUSTIN, TX 78756                       3906 N. LAMAR
AUSTIN, TX 78704                                                               AUSTIN, TX 78756




LAMAR CASA, LLC                         LAMAR COMPANIES                        LAMAR COMPANIES
C/O LEAD COMMERCIAL                     P.O. BOX 96030                         PO BOX 96030
2007 S 1ST STE 102                      BATON ROUGE, LA 70896                  BATON ROUGE, LA 70896
AUSTIN, TX 78704




LAMAR GARDNER                           LAMAR LEWIS                            LAMAR MITCHELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




LAMAR STRONKO                           LAMAR TX LTD PARTNERSHIP DBA THE       LAMAR TX LTD PARTNERSHIP DBA THE
10201 S. MAIN STREET                    LAMAR CO                               LAMAR CO
HOUSTON, TX 77025                       PO BOX 96030                           PO BOX 96030
                                        BATON ROUGE, LA 70896                  BATON ROUGE, LA 96030




LAMAR W JEFFERSON                       LAMBEAU TELECOM                        LAMILINE, INC.
3322 CLIFFMARSHALL ST                   P.O. BOX 842840                        134 N LASALLE DR., 1206
HOUSTON, TX 77088                       BOSTON, MA 02284-2840                  CHICAGO, IL 60602




LAMONT JOHNSON                          LAMORINDA DEVELOPMENT INV CORP         LAMORINDA DEVELOPMENT
10201 S. MAIN STREET                    HALL EQUITIES GROUP                    C/O HALLS EQUITIES GROUP
HOUSTON, TX 77025                       1855 OLYMPIC BLVD 300                  1855 OLYMPIC BOULEVARD, SUITE 300
                                        WALNUT CREEK, CA 94596                 WALNUT CREEK, CA 94596




LAMY SOUTH TOWNE LTD.                   LAMY SOUTH TOWNE, LTD.                 LAMY SOUTH TOWNE, LTD.
C/O PYRAMID PROPERTIES                  C/O PYRAMID PROPERTIES                 C/O PYRAMID PROPERTIES
P.O. BOX 684548                         1717 W 6TH STREET, SUITE 380           P.O. BOX 684548
AUSTIN, TX 78768                        AUSTIN, TX 78768                       AUSTIN, TX 78768
LAN NGUYEN                Case 18-12241-CSS     Doc 26
                                         LANA GIBSON        Filed 10/05/18       PageLANA
                                                                                      984KIRK
                                                                                           of 1739
10201 S. MAIN STREET                     2049 MARTER AVE                             10201 S. MAIN STREET
HOUSTON, TX 77025                        SIMI VALLEY, CA 93065                       HOUSTON, TX 77025




LANARK LLC                               LANCASTER CO NATURAL GAS AUTH               LANCASTER CO NATURAL GAS AUTH
C/O NANCY STOLBERG-CASE MGR              1010 KERSHAW CAMDEN HIGHWAY                 P.O. BOX 949
PO BOX 190871                            LANCASTER, SC 29720                         LANCASTER, SC 29721-0949
BOISE, ID 83719




LANCASTER COUNTY NATURAL GAS             LANCASTER COUNTY TREASURER                  LANCASTER COUNTY TREASURER
AUTHORITY                                555 S 10TH ST RM 102                        ATTN: PROPERTY TAX DEPT.
P.O. BOX 949                             LINCOLN, NE 68508                           555 S 10TH ST RM 102
LANCASTER, SC 29721-0949                                                             LINCOLN, NE 68508




LANCASTER COUNTY TREASURER               LANCASTER DEVELOPMENT COMPANY               LANCASTER HELLING LLP
PO BOX 729                               C/O CE JOHN COMPANY                         1803 WEST AVENUE
LANCASTER, SC 29721-0729                 1701 SE COLUMBIA RIVER DRIVE                AUSTIN, TX 78701
                                         JULIE RAMSETH
                                         VANCOUVER, WA 98661



LANCASTER PARTNERS                       LANCASTER PARTNERS                          LANCASTER UTILITIES COL OFFICE
1701 SE COLUMBICA RIVER                  C/O LANCASTER DEVELOPMENT COMPANY           104 E MAIN ST ROOM 105
VANCOUVER, WA 98661                      1701 SE COLUMBIA RIVER DRIVE                LANCASTER, OH 43130
                                         VANCOUVER, WA 98661




LANCASTER UTILITIES COL OFFICE           LANCASTER UTILITIES COLLECTION OFFICE       LANCE ATKIN
104 E MAIN STREET                        104 E MAIN ST                               10201 S. MAIN STREET
P.O. BOX 1099                            P.O. BOX 1099                               HOUSTON, TX 77025
LANCASTER, OH 43130-0819                 LANCASTER, OH 43130-0819




LANCE ATKIN                              LANCE BROWN                                 LANCE DIXON
10201 S. MAIN STREET                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                           HOUSTON, TX 77025




LANCE DIXON                              LANCE HOWARD                                LANCE KING
10201 S. MAIN STREET                     327 WATERFORD DR                            10201 S. MAIN STREET
HOUSTON, TX 77025                        MANCHESTER, TN 37355                        HOUSTON, TX 77025




LANCE KURLAND                            LANCE MARTINSON                             LANCE MORTON
10201 S. MAIN STREET                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                           HOUSTON, TX 77025




LANCE SHERWOOD                           LANCE SMITH                                 LANCE TAYLOR
10201 S. MAIN STREET                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                           HOUSTON, TX 77025
LANCE WILKERSON          Case 18-12241-CSS    Doc
                                        LANCELOT   26 Filed 10/05/18
                                                 GARDNER                   PageLANDAN
                                                                                985 ofJUAREZ
                                                                                        1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




LANDAN KNOWLES                          LANDAN WOODRUFF                        LANDAU CHARTWORKS
730 W 300 NORTH                         10201 S. MAIN STREET                   10 LIBERTY SHIP WAY STE 120
HYRUM, UT 84319                         HOUSTON, TX 77025                      SAUSALITO, CA 94965




LANDCASTER DEVELOPMENT COMPANY LLC      LANDEL TELECOM                         LANDESIGN CONSTRUCTION MAINTENANCE
ACCOUNTS RECEIVABLE                     6830 VIA DEL ORO STE 260               INC
1701 SE COLUMBIA RIVER DRIVE            SAN JOSE, CA 95119                     PO BOX 2326
VANCOUVER, WA 98661                                                            SANTA ROSA, CA 95405




LANDINGS REALTY LLC                     LANDINGS REALTY LLC                    LANDINGS REALTY LLC
150 GREAT NECK RD STE 304               543 THAMES STREEET                     C/O NAMDAR REALTY GROUP LLC
GREAT NECK, NY 11201                    NEWPORT, RI 02840                      150 GREAT NECK RD STE 304
                                                                               GREAT NECK, NY 11201




LANDINGS REALTY LLC                     LANDINGS REALTY LLC                    LANDIS SEWERAGE AUTHORITY
C/O NAMDAR REALTY GROUP LLC             C/O NAMDAR REALTY GROUP LLC            1776 S. MILL ROAD
150 GREAT NECK ROAD, SUITE 304          150 GREAT NECK ROAD, SUITE 304         VINELAND, NJ 08360
GREAT NECK, NY 11021                    GREAT NECK, NY 11201




LANDIS SEWERAGE AUTHORITY               LANDMARK 821 LTD                       LANDMARK 821, LTD.
1776 SOUTH MILL RD                      1311 HEMPSTEAD TURNPIKE                1311 HEMPSTEAD TURNPIKE, SUITE 100
VINELAND, NJ 08360                      ELMONT, NY 11003                       ELMONT, NY 11003




LANDMARK HHH L.L.C.                     LANDMARK HHH LLC                       LANDMARK HHH L.L.C.
HFF LP                                  HFF LP                                 6200 LITTLE RIVER TURNPIKE
PO BOX 829610                           PO BOX 829610                          ALEXANDRIA, VA 22312
PHILADELPHIA, PA 19182-9610             PHILADELPHIA, PA 19182-9610




LANDMARK HHH LLC                        LANDMARK HHH, LLC                      LANDMARK HHH, LLC
PO BOX 829610                           C/O HHH PROPERTIES CORP.               HFF LP
PHILADELPHIA, PA 19182                  4001 WILLIAMSBURG COURT                PO BOX 829610
                                        FAIRFAX, VA 22032                      PHILADELPHIA, PA 19182




LANDMARK HHH, LLC                       LANDMARK INVESTMENT CONSTRUCTION       LANDMARK LAKE VILLAGE LLC
HFF LP                                  INC                                    2012 E RANDOL MILL RD 211
PO BOX 829610                           821 128TH ST SW                        ARLINGTON, TX 76011
PHILADELPHIA, PA 19182-9610             EVERETT, WA 98204




LANDMARK LAKE VILLAGE LLC               LANDMARK LAKE VILLAGE LLC              LANDMARK LOOP 820 LTD
C/O SYNERGY ADVANTAGE, LLC              C/O TMC MGMT CO                        C/O TMC MNGMT CO
2012 EAST RANDOL MILL ROAD, SUITE 211   3231 HARWOOD RD                        3231 HARWOOD RD
ATTN: REZA MIRZADEH                     BEDFORD, TX 76021                      BEDFORD, TX 76021
ARLINGTON, TX 76011
                      Case 18-12241-CSS
LANDMARK REAL ESTATE MANAGEMENT             Doc
                                     LANDMARK    26ESTATE
                                               REAL    Filed  10/05/18
                                                            MGMT            PageLANDON
                                                                                 986 ofHARRISON
                                                                                        1739
3800 BYRON AVENUE                    STEVE NELSON                               10201 S. MAIN STREET
BELLINGHAM, WA 98229                 3800 BYRON AVE STE 112                     HOUSTON, TX 77025
                                     BELLINGHAM, WA 98229




LANDON ROWE                           LANDOVER HILLS SHOPPING CENTER INC.       LANDQUEST XIII LLC
10201 S. MAIN STREET                  1228 31ST ST NW 2ND FLOOR                 C/O HA LANGER & ASSOC
HOUSTON, TX 77025                     WASHINGTON, DC 20007                      3767 N. RACINE
                                                                                CHICAGO, IL 60613




LANDQWEST COMMERCIAL PROPERTY         LANDQWEST PROPERTY MANAGEMENT             LANDSBERG/EPS
MANAGEMENT                            1614 COLONIAL BOULEVARD, SUITE 101        PO BOX 101144
1614 COLONIAL BLVD, SUITE 101         FORT MYERS, FL 33907                      PASADENA, CA 91189-1144
FORT MYERS, FL 33907




LANDSCAPE COMPANY                     LANDSCAPES UNLIMITED INC                  LANDSCAPING PRO OF PARK CITY INC DBA
1840 41ST AVE STE 102 PMB 228         PO BOX 7340                               TCBLANDSCAPING
CAPITOLA, CA 95010                    ALOHA, OR 97007-7340                      PO BOX 982126
                                                                                PARK CITY, UT 84098




LANDSTAR LIGON INC                    LANDSTAR LIGON INC                        LANDSTAR RANGER INC
13410 SUTTON PARK DR S                DRAWER CS 100733                          PO BOX 784293
JACKSONVILLE, FL 32224                ATLANTA, GA 30384-0733                    PHILADELPHIA, PA 19178-4293




LANDSTAR RANGER                       LANDY SOTO                                LANE ACCEPTANCE GROUP
13410 SUTTON PARK DR S                10201 S. MAIN STREET                      PO BOX 842391
JACKSONVILLE, FL 32224                HOUSTON, TX 77025                         BOSTON, MA 02284-2391




LANE COUNTY TAX COLLECTOR             LANE COUNTY TAX COLLECTOR                 LANE EQUIPMENT COMPANY
125 EAST 8TH AVE                      ATTN: PROPERTY TAX DEPT.                  2030 RICHMOND AVE
EUGENE, OR 97401-2968                 125 EAST 8TH AVENUE                       PO BOX 540909
                                      EUGENE, OR 97401                          HOUSTON, TX 77254-0909




LANE4 PROPERTY GROUP                  LANICKA MORGAN                            LANIER INDUSTRIAL FORK TRUCKS
4705 CENTRAL STREET                   10201 S. MAIN STREET                      825 PROGRESS CENTER AVE STE A
KANSAS CITY, MO 64112                 HOUSTON, TX 77025                         LAWRENCEVILLE, GA 30043




LANIER SERVICES DBA TWO MEN AND A     LANING, CORY                              LANING, CORY, PAMELA LANING,
TRUCK                                 123 UNKNOWN                               TAYLOR LANING
5850 ORANGE DRIVE BLDG A              AURORA, CO 80011                          3076 S. ROSLYN ST.
DAVIE, FL 33314                                                                 DENVER, CO 80231




LANKERSHIM MEDIA CENTER ASSOCIATES    LANN, ROBERT                              LANS OF TEXAS INC
LP                                    2926 SAVANNAH CT                          1773 WESTBOROUGH DR.
13949 VENTURA BLVD STE 300            WACO, TX 76710-1739                       KATY, TX 77449-3295
SHERMAN OAKS, CA 91423
LANSDALE BAR LP        Case      18-12241-CSS    Doc
                                           LANSDALE BAR26
                                                        LP Filed 10/05/18       PageLANSDALE
                                                                                     987 of 1739
                                                                                             BAR, LP
224 ST CHARLES WAY STE 290                 C/O JC BAR PROPERTIES INC                C/O J.C. BAR PROPERTIES, INC.
YORK, PA 17402                             224 ST CHARLES WAY STE 290               224 ST. CHARLES WAY, SUITE 290
                                           YORK, PA 17401                           YORK, PA 17401




LANSDALE BAR, LP                           LANSING BOARD OF WATER & LIGHT           LANSING BOARD OF WATER & LIGHT
C/O J.C. BAR PROPERTIES, INC.              1201 S WASHINGTON AVE                    P.O. BOX 13007
224 ST. CHARLES WAY, SUITE 290             LANSING, MI 48910                        LANSING, MI 48901-3007
YORK, PA 17402




LANSING CITY TREASURER                     LANSING CTR TOWNSHIP                     LANSTER
PO BOX 40712                               ATTN: PROPERTY TAX DEPT.                 1773 WESTBOROUGH DR.
LANSING, MI 48901-7912                     124 W MICHIGAN AVENUE                    KATY, TX 77449-3295
                                           LANSING, MI 48933




LANTERN WOODS LLC                          LANYSHA JOHNSON                          LAPORTE COUNTY TREASURER
10950 LANTERN WOODS BLVD                   5532 N PORTLAND AVE APT 121              555 MICHIGAN AVE STE 102
ASHERS, IN 46038                           OKLAHOMA CITY, OK 73112                  LA PORTE, IN 46350




LAPORTE COUNTY TREASURER                   LAQUADA WILLIAMS                         LAQUANDA JOHNSON
ATTN: PROPERTY TAX DEPT.                   10201 S. MAIN STREET                     10201 S. MAIN STREET
555 MICHIGAN AVE STE 102                   HOUSTON, TX 77025                        HOUSTON, TX 77025
LA PORTE, IN 46350




LAQUAVIEN HOLT                             LAQUISHA TONEY-WEST                      LAQUITA CHRISTIAN
10201 S. MAIN STREET                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                        HOUSTON, TX 77025




LARA ASHLEY                                LARA HARTMAN                             LARA L LAWSON
10201 S. MAIN STREET                       10201 S. MAIN STREET                     850 GREEN LEVEL RD
HOUSTON, TX 77025                          HOUSTON, TX 77025                        APEX, NC 27523




LARA SCHMIEDING                            LARC ASSET MANAGEMENT & REALTY INC       LARC ASSET MANAGEMENT & REALTY INC
7901 SOUTHWEST PKWY UNIT 15                DBA PROMENADE CG RETAIL LLC              PROMENADE CG RETAIL LLC C/O LAMAR CO
AUSTIN, TX 78735                           695 ROUTE 46 STE 210                     695 ROUTE 46 STE 210
                                           FAIRFIELD, NJ 07004                      FAIRFIELD, NJ 07004




LARIMER COUNTY TREASURER                   LARIMER COUNTY TREASURER                 LARION DOWNS
ATTN: PROPERTY TAX DEPT.                   PO BOX 2336                              10201 S. MAIN STREET
PO BOX 2336                                FORT COLLINS, CO 80522-2336              HOUSTON, TX 77025
FORT COLLINS, CO 80522-2336




LARISON PAYNE                              LARK EQUIPMENT INC                       LARK LLC
10201 S. MAIN STREET                       BLDG 119                                 ONTRACK STAFFING
HOUSTON, TX 77025                          3000 OLD ALABAMA RD                      2601 NW EXPRESSWAY STE 110E
                                           ALPHARETTA, GA 30022                     OKLAHOMA CITY, OK 73112
                       Case
LARKSPUR R.E. PARTNERSHIP I   18-12241-CSS    Doc
                                        LARKSPUR   26ESTATE
                                                 REAL   Filed 10/05/18 I PageLARON
                                                            PARTNERSHIP       988 BURBRIDGE
                                                                                   of 1739
RAWSON BLUM & LEON                      C/O RAWSON, BLUM & LEON
505 SANSOME ST 900                      505 SANSOME STREET, SUITE 450
SAN FRANCISCO, CA 94111                 SAN FRANCISCO, CA 94111




LARRY & LISA DEBENI                     LARRY ALLEN                         LARRY AND LISA DEBENI
TRUSTEES OF THE DEBENI FAMILY TRUST     10201 S. MAIN STREET                1635A HEINDON ROAD
1635A HEINDON RD                        HOUSTON, TX 77025                   ARCATA, CA 95521
ARCATA, CA 95521




LARRY ARNOLD                            LARRY ATHERTON                      LARRY BEATY
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




LARRY BENDER                            LARRY BERRY                         LARRY BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




LARRY BYRD                              LARRY CALDWELL                      LARRY CARPENTER
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




LARRY CASSIDY                           LARRY CLINKSCALES                   LARRY CORBETT
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




LARRY D GREEN DBA LARRYS DELIVERY       LARRY D STONE                       LARRY FISHER & SONS
SERVICE INC                             2099 NORTHRIDGE DR                  5242 E HOME AVE
4469 BIG SKY DR                         FORNEY, TX 75126                    FRESNO, CA 93727-2103
PLANO, TX 75024




LARRY FULTZ                             LARRY G JOHNSON                     LARRY GADDES PCAC CTA
10201 S. MAIN STREET                    10201 S. MAIN STREET                904 S MAIN ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                   GEORGETOWN, TX 78626




LARRY GRAHAM                            LARRY HIGGINS                       LARRY JEFFRIES
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




LARRY KELLEY                            LARRY LAY                           LARRY LONG
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025
LARRY MANIGO JR         Case 18-12241-CSS     Doc 26
                                       LARRY MOSINIAK      Filed 10/05/18     PageLARRY
                                                                                   989 OWENS
                                                                                        of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




LARRY PALMER                            LARRY PARKER                              LARRY R PACK ENT INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                      PO BOX 1806
HOUSTON, TX 77025                       HOUSTON, TX 77025                         LA PLACE, LA 70069




LARRY REESE                             LARRY RUKGABER                            LARRY SACKNOFF
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




LARRY SCHOFIELD                         LARRY SESSION                             LARRY SKROBANEK
10201 S. MAIN STREET                    10201 S. MAIN STREET                      DBA CHAMPION ICE
HOUSTON, TX 77025                       HOUSTON, TX 77025                         24103 SHIN OAK DR.
                                                                                  HUFFMAN, TX 77336




LARRY SLOAN                             LARRY SMITH                               LARRY STEINER
10201 S. MAIN STREET                    317 MOBILE AVE                            10201 S. MAIN STREET
HOUSTON, TX 77025                       TRUSSVILLE, AL 35173                      HOUSTON, TX 77025




LARRY VEACH                             LARRY WILSON                              LARRY, DEWAYNE
10201 S. MAIN STREET                    10201 S. MAIN STREET                      2119 ROCHELL AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                         DISTRICT HTS, MD 20747-1302




LARRYS DELIVERY SERVICE                 LARRYS LOCK SAFE & SECURITY CENTERS       LARRYS LOCK SERVICE
4469 BIG SKY DR                         INC                                       550 EAST NORTH FRONTAGE
PLANO, TX 75024                         8005 PLAINFIELD RD                        BOLINGBROOK, IL 60440
                                        CINCINNATI, OH 45236




LARSEN BAKER LLC                        LARSEN BAKER LLC                          LARSON KING LLP
ATTN: MELISSA LAL                       JODI SLEEMAN                              30 E 7TH ST STE 2800
6298 E. GRANT ROAD, SUITE 100           6298 E. GRANT ROAD, SUITE 100             SAINT PAUL, MN 55101-4922
TUCSON, AZ 85712                        TUCSON, AZ 85712




LARSTRAND CORPORATION                   LARYN MURRAY                              LAS 4 ADELIVERY CORPORATION
22 EAST 65TH STREET                     10201 S. MAIN STREET                      4271 NW 192 ST
NEW YORK, NY 10065                      HOUSTON, TX 77025                         MIAMI GARDENS, FL 33055




LAS VEGAS EVENTS, INC                   LAS VEGAS REVIEW JOURNAL                  LAS VEGAS VALLEY WATER DISTRICT
770 E WARM SPRINGS RD. SUITE 140        P.O. BOX 920                              P.O. BOX 2921
LAS VEGAS, NV 89119                     LAS VEGAS, NV 89125-0920                  PHOENIX, AZ 85062-2921
                       Case
LASALLE PARISH SALES TAX FUND 18-12241-CSS     Doc 26 Filed
                                        LASCO DEVELOPMENT  CORP10/05/18    PageLASEANDA
                                                                                990 of 1739
                                                                                        BLACK
PO BOX 190                              1207 ANTOINE DRIVE                     10201 S. MAIN STREET
VIDALIA, LA 71373                       HOUSTON, TX 77055                      HOUSTON, TX 77025




LASHAE JACKSON                         LASHANDA BALL                           LASHAUN WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




LASHAWNA MARTINEZ                      LASHEBA PORTER                          LASHONDA SPELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




LASON PERKINS                          LASTRA TRUCKING LLC                     LATASHA LITTLE
10201 S. MAIN STREET                   4520 E LA SALLE ST                      5860 GULFTON ST
HOUSTON, TX 77025                      PHOENIX, AZ 85040                       HOUSTON, TX 77081




LATASHA NIEVES                         LATASHA WHITE                           LATASHA WILSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




LATEKA CRIGLER                         LATEX FOAM INTERNATIONAL HOLDINGS INC   LATHAM & WATKINS LLP
10201 S. MAIN STREET                   DBA TALALAY GLOBAL                      ATTN: ADAM GOLDBERG
HOUSTON, TX 77025                      510 RIVER RD                            885 THIRD AVENUE
                                       SHELTON, CT 06484                       NEW YORK, NY 10022-4834




LATICIA HOWARD                         LATIPAC PROPERTY MANAGEMENT INC.        LATIPAC PROPERTY MANAGEMENT INC.
10201 S. MAIN STREET                   1612 WEST 5TH STREET                    ATTN: BRIAN JACKS
HOUSTON, TX 77025                      AUSTIN, TX 78703                        1612 WEST 5TH STREET
                                                                               AUSTIN, TX 78703




LATIPAC PROPERTY MANAGEMENT INC.       LATISHA COTTO                           LATITE ROOFING & SHEET METAL COMPANY
ATTN: BRIAN JACKS                      7490 BROMPTON RD 415                    2280 W. COPANS ROAD
P.O. BOX 162304                        HOUSTON, TX 77025                       POMPANO BEACH, FL 33069
AUSTIN, TX 78716




LATONYA PEARSON                        LATOYA GOODMAN                          LATOYA PALMER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




LATOYA PREYAR                          LATRESE JACKSON                         LATTER & BLUM PROPERTY MANAGEMENT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    1700 CITYFARM DR.
HOUSTON, TX 77025                      HOUSTON, TX 77025                       BATON ROUGE, LA 70806
LAUDERDALE COUNTY      Case 18-12241-CSS    Doc 26
                                      LAUDERDALE           Filed 10/05/18   PageLAUNCH
                                                                                 991 ofGRAPHICS
                                                                                        1739 LLC
PO BOX 794                            ATTN: PROPERTY TAX DEPT.                  4935 MILWEE
FLORENCE, AL 35631                    PO BOX 794                                HOUSTON, TX 77092
                                      FLORENCE, AL 35631




LAURA ADAMS                           LAURA ADKINS                              LAURA AGUIRRE
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




LAURA AKERT                           LAURA ARMINAS                             LAURA ATKINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




LAURA BERENSON                        LAURA BETH BACA                           LAURA BILLIOT
4605 32ND ST 5                        651 26TH ST (REAR HOUSE)                  16316 FLORIDA BLVD., APT. A
SAN DIEGO, CA 92116                   OGDEN, UT 84402                           HOLDEN, LA 70744




LAURA BILLIOT                         LAURA BLOMQUIST                           LAURA BUNNY
C/O YEAGER LANASA TAUZIER, LLC        10201 S. MAIN STREET
ATTN: LAUREN DUNCAN                   HOUSTON, TX 77025
107 S. CHERRY ST.
HAMMOND, LA 70403



LAURA BURKE                           LAURA CAMPANA                             LAURA CERRUTI
10201 S. MAIN STREET                  10201 S. MAIN STREET                      1912 HOLLISTER LANE
HOUSTON, TX 77025                     HOUSTON, TX 77025                         DENTON, TX 76210




LAURA CHARENCKY                       LAURA COLLINS                             LAURA CRAMER
10201 S. MAIN STREET                  1924 PACES LANDING AVE                    10201 S. MAIN STREET
HOUSTON, TX 77025                     ROCK HILL, SC 29732                       HOUSTON, TX 77025




LAURA DOBRIN                          LAURA ESTRADA                             LAURA FANKUCHEN
10201 S. MAIN STREET                  1098 HOLDRIDGE ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                     CALEXICO, CA 92231                        HOUSTON, TX 77025




LAURA FERNANDEZ - NWOSISI             LAURA FERNANDEZ                           LAURA FLORES SIERRA
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




LAURA GERNAAT                         LAURA GHOULAME                            LAURA GRIFFIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025
LAURA HEIMBERG         Case 18-12241-CSS     Doc 26
                                      LAURA HORRIGAN        Filed 10/05/18   PageLAURA
                                                                                  992 KENDERS
                                                                                       of 1739
10201 S. MAIN STREET                   12628 CRESCENTMEADOW CT                   10201 S. MAIN STREET
HOUSTON, TX 77025                      MOORPARK, CA 93021                        HOUSTON, TX 77025




LAURA MAROVSKIS                        LAURA MATHIS                              LAURA MURGUIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                      1585 RAYLENE PL
HOUSTON, TX 77025                      HOUSTON, TX 77025                         POMONA, CA 91767




LAURA OLSZANOWSKI                      LAURA OREILLY                             LAURA REED
10201 S. MAIN STREET                   216 S ARNAZ DR                            2871 NE RAIDER DR
HOUSTON, TX 77025                      BEVERLY HILLS, CA 90211                   BEND, OR 97701




LAURA ROONEY                           LAURA SCHULTZ                             LAURA TREJO
740 N KINGS RD 206                     10201 S. MAIN STREET                      12336 COLORADO BLVD
WEST HOLLYWOOD, CA 90069               HOUSTON, TX 77025                         DENVER, CO 80241




LAURA TUBBS                            LAURA VENEGAS                             LAURA VINCENT
106 EAST LAKEVIEW DR                   1098 HOLDRIDGE ST                         10201 S. MAIN STREET
DE SOTO, MO 63020                      CALEXICO, CA 92231                        HOUSTON, TX 77025




LAURA ZEMANEK                          LAURA ZUELICH                             LAUREL CANYON STAGES - LX LIMITED DBA
10201 S. MAIN STREET                   10201 S. MAIN STREET                      9337 LAUREL CANYON BLVD
HOUSTON, TX 77025                      HOUSTON, TX 77025                         ARLETA, CA 91331-4315




LAUREL CANYON STAGES                   LAUREL LEWIS                              LAUREL MAZZELA
9337 LAUREL CANYON BLVD.               10201 S. MAIN STREET                      10201 S. MAIN STREET
ARLETA, CA 91331-4315                  HOUSTON, TX 77025                         HOUSTON, TX 77025




LAUREL MCGRATH                         LAUREL OSTEN                              LAUREL YOUNG
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




LAUREN ANGELETY                        LAUREN ANHALT                             LAUREN BASS
10201 S. MAIN STREET                   5476 STARCREST DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                      SAN JOSE, CA 95123                        HOUSTON, TX 77025




LAUREN BILLIOT                         LAUREN BING                               LAUREN BOLLAND
10201 S. MAIN STREET                   10201 S. MAIN STREET                      1927 HARTMAN DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                         SOUTH BEND, IN 46617
LAUREN CAMHI           Case 18-12241-CSS
                                      LAUREN Doc 26
                                             CASTLE      Filed 10/05/18   PageLAUREN
                                                                               993 ofCUEVO
                                                                                       1739
1298 GENTILLY PLACE                                                           10201 S. MAIN STREET
OAK PARK, CA 91377                                                            HOUSTON, TX 77025




LAUREN CUMMINGS                       LAUREN DIAMOND                          LAUREN DIAMOND
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




LAUREN DOMBROWSKI                     LAUREN DOWELL                           LAUREN FITCH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




LAUREN FLECK                          LAUREN FLINN                            LAUREN FRANK
1927 HARTMAN DR                       10201 S. MAIN STREET                    10201 S. MAIN STREET
SOUTH BEND, IN 46617                  HOUSTON, TX 77025                       HOUSTON, TX 77025




LAUREN FREEZE                         LAUREN GARCIA                           LAUREN HICKS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




LAUREN HOLUB                          LAUREN HOLZMANN                         LAUREN JACKSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




LAUREN JEFFERIES                      LAUREN JOHNSON                          LAUREN KAY
10201 S. MAIN STREET                  905-5 PIEDMONT PLACE                    10201 S. MAIN STREET
HOUSTON, TX 77025                     FORT WALTON, FL 32547                   HOUSTON, TX 77025




LAUREN LARIVIERE                      LAUREN LEFCO                            LAUREN LEVY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    35 AUSTIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                       VALLEY STREAM, NY 11580




LAUREN MICHELE GOLDEN DBA GOLDEN &    LAUREN MISEK                            LAUREN PESTIKAS
CO                                    10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 2171                           HOUSTON, TX 77025                       HOUSTON, TX 77025
AUSTIN, TX 78768




LAUREN POMERANTZ                      LAUREN RANDALL-MYERS                    LAUREN ROSENBERG
AUNT NARDO PRODUCTIONS                10201 S. MAIN STREET                    10201 S. MAIN STREET
2286 EL CONTENTO DR                   HOUSTON, TX 77025                       HOUSTON, TX 77025
LOS ANGELES, CA 90068
LAUREN SANDERS        Case   18-12241-CSS
                                       LAUREN Doc 26
                                              SCHORP      Filed 10/05/18       PageLAUREN
                                                                                    994 ofSOULE
                                                                                            1739
2816 MEADOW GLEN DR                    10201 S. MAIN STREET                        10201 S. MAIN STREET
FLOWER MOUND, TX 75022                 HOUSTON, TX 77025                           HOUSTON, TX 77025




LAUREN WELLS                           LAUREN WITTELSBERGER                        LAURENANNE IANUALE
289 W 2ND ST NO 1                      10201 S. MAIN STREET                        10201 S. MAIN STREET
BOSTON, MA 02127                       HOUSTON, TX 77025                           HOUSTON, TX 77025




LAURENCE BOYD                          LAURENCE BOYD                               LAURENS COUNTY TAX COMMISSIONER
10201 S. MAIN STREET                   10201 S. MAIN STREET                        PO BOX 2099
HOUSTON, TX 77025                      HOUSTON, TX 77025                           DUBLIN, GA 31040-2099




LAURENS ELECTRIC COOP                  LAURENS ELECTRIC COOPERATIVE                LAURENS NAK
P.O. BOX 967                           P.O. BOX 967                                10201 S. MAIN STREET
LAURENS, SC 29360-0967                 LAURENS, SC 29360-0967                      HOUSTON, TX 77025




LAURENS                                LAURICH PROPERTIES, INC.                    LAURIE BURDICK
ATTN: PROPERTY TAX DEPT.               LAURA GROSETH                               10201 S. MAIN STREET
P.O. BOX 1049                          10655 PARK RUN DRIVE, 160                   HOUSTON, TX 77025
LAURENS, SC 29360                      LAS VEGAS, NV 89144




LAURIE HUNCHAR                         LAURIE INDUSTRIES LLC & MUFFREY LLC         LAURIE INDUSTRIES LLC
10201 S. MAIN STREET                   C/O KIN PROPERTIES, INC.                    C/O KIN PROPERTIES, INC.
HOUSTON, TX 77025                      185 NW SPANISH RIVER BOULEVARD, SUITE       185 NW SPANISH RIVER BOULEVARD, SUITE
                                       100                                         100
                                       BOCA RATON, FL 33431                        BOCA RATON, FL 33431



LAURIE MINOR                           LAURIE PERRONE                              LAURIE PINKSTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                        12100 LOUISE AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                           GRANADA HILLS, CA 91344




LAURIE SLUTZKIN                        LAURIE TANASI                               LAURIE TAYLOR
10201 S. MAIN STREET                   10201 S. MAIN STREET                        6030 N ALMANZA LN
HOUSTON, TX 77025                      HOUSTON, TX 77025                           LITCHFIELD PARK, AZ 85340




LAURIE WIEMERS                         LAURIE WILLIN                               LAURITA SULLIVAN
3000 TUTTLE CREEK BLVD 308             10201 S. MAIN STREET                        44 NORTH AVE
MANHATTAN, KS 66502                    HOUSTON, TX 77025                           MENDON, MA 01756




LAUTRICE TILLMAN                       LAVAN PAUL                                  LAVELO PROPERTY MANAGEMENT
10201 S. MAIN STREET                   10201 S. MAIN STREET                        275 COLERIDGE STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           BROOKLYN, NY 11235
LAVERNA SAUNDERS        Case 18-12241-CSS      Doc 26 FURNITURE
                                       LAVISH LEONARDO Filed 10/05/18       PageLAVISTA
                                                                                 995 ofASSOCIATES,
                                                                                         1739      INC.
10201 S. MAIN STREET                    80 SEALY DRIVE                           ATTN: CAROLE MILLER
HOUSTON, TX 77025                       LAWRENCE, NY 11559                       3475 PIEDMONT ROAD NE, SUITE 1150
                                                                                 ATLANTA, GA 30305




LAVISTA ASSOCIATES, INC.                LAW ENFORCEMENT SPECIALISTS INC          LAW OFFICE OF DAVID JIMENEZ P.L.
ATTN: REGIS JACKSON                     PO BOX 11656                             PO BOX 975
3475 PIEDMONT ROAD NE, SUITE 1150       GLENDALE, AZ 85318                       GOTHA, FL 34734
ATLANTA, GA 30305




LAW OFFICE OF ELOVICH AND ADELL         LAW OFFICE OF LEE ANNE LEBLANC PA        LAW OFFICE OF N ARI WEISBROT LLC
164 W PARK AVE                          1722 SHERIDAN ST STE 222                 1099 ALLESSANDRINI AVE
LONG BEACH, NY 11561                    HOLLYWOOD, FL 33020                      NEW MILFORD, NJ 07646




LAW OFFICES OF ADER & HITT              LAW OFFICES OF DAVID SKRILOW             LAW OFFICES OF EDWARD P AZAR LLC
100 SE 2ND STREET, SUITE 3550           ATTN: DAVID SKRILOW, ESQ.                2840 ROUTE 23
MIAMI, FL 33131                         551 FIFTH AVENUE                         NEWFOUNDLAND, NJ 07435
                                        NEW YORK, NY 10176




LAW OFFICES OF HALL AND LIM PLC         LAW OFFICES OF KEVIN KOVACS              LAW OFFICES OF MARK J. LINDER
16430 VENTURA BLVD STE 200              29 ROSS ST                               ATTN: MARK J. LINDER, ESQ.
ENCINO, CA 91436                        SOMERVILLE, NJ 08876                     1900 AVENUE OF THE STARS, SUITE 1800
                                                                                 LOS ANGELES, CA 90067




LAW OFFICES OF THOMAS R. GREEN          LAW OFFICES OF TRUDI J. LESSER           LAWEHANA STREET PARTNERS LLC
ATTN: TERRY MOFFITT, ESQ.               ATTN: TRUDI J. LESSER, ESQ.              C/O CHRISTOPHER ELDRIDGE
9986 MANCHESTER ROAD, SUITE 200         2110 ARTESIA BLVD., SUITE 473            146 WAILUPE CIRCLE
ST. LOUIS, MO 63122                     REDONDO BEACH, CA 90278                  HONOLULU, HI 96821




LAWN DOCTOR OF THE ALBEMARLE            LAWN KING LANDSCAPING                    LAWN MANAGEMENT COMPANY INC
PO BOX 391                              10 OLD CLAIRTON RD                       DBA LMC LANDSCAPE & TREE CARE
SOUTH MILLS, NC 27976-0391              STE 12A 242                              PO BOX 55504
                                        PITTSBURGH, PA 15236                     HOUSTON, TX 77255




LAWNSIDE UE LLC                         LAWNSIDE UE LLC                          LAWNSIDE UE LLC
210 ROUTE 4 EAST                        ATTN: CHIEF OPERATING OFFICER            ATTN: LEGAL DEPARTMENT
ATTN: CHIEF OPERATING OFFICER           210 ROUTE 4 EAST                         210 ROUTE 4 EAST
PARAMUS, NJ 07652                       PARAMUS, NJ 07652                        PARAMUS, NJ 07652




LAWRENCE 33 LLC                         LAWRENCE A KELLY                         LAWRENCE BAYUSIE
4520 MADISON AVE STE 300                                                         10201 S. MAIN STREET
KANSAS CITY, MO 64111                                                            HOUSTON, TX 77025




LAWRENCE CLARK JR                       LAWRENCE DWYER                           LAWRENCE EDOZIE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
LAWRENCE FERNAN        Case 18-12241-CSS    Doc
                                      LAWRENCE   26 Filed 10/05/18
                                               HOLGUIN                      PageLAWRENCE
                                                                                 996 of 1739
                                                                                         JONES
10201 S. MAIN STREET                  10201 S. MAIN STREET                      20534 BONDS CREEK LN
HOUSTON, TX 77025                     HOUSTON, TX 77025                         SPRING, TX 77388




LAWRENCE JOURNAL WORLD                LAWRENCE KELLY                            LAWRENCE KELLY
PO BOX 888                            10201 S. MAIN STREET                      10201 S. MAIN STREET
LAWRENCE, KS 66044                    HOUSTON, TX 77025                         HOUSTON, TX 77025




LAWRENCE KLINE                        LAWRENCE LANG                             LAWRENCE MCQUEEN
10201 S. MAIN STREET                  1305 CRYSTAL POINT CT                     10201 S. MAIN STREET
HOUSTON, TX 77025                     VIRGINIA BEACH, VA 23455                  HOUSTON, TX 77025




LAWRENCE POPE                         LAWRENCE REALTY CO                        LAWRENCE REALTY CO
10201 S. MAIN STREET                  2319 1ST AVE RM 206                       2319 FIRST AVE RM 206
HOUSTON, TX 77025                     SEATTLE, WA 98121                         SEATTLE, WA 98121




LAWRENCE REALTY COMPANY               LAWRENCE REALTY COMPANY                   LAWRENCE REALTY COMPANY
ATTN: ARTHUR ALLEN                    ATTN: ARTHUR ALLEN                        ATTN: ARTHUR ALLEN
2319 1ST AVE, SUITE 206               2319 FIRST AVE RM 206                     2319 FIRST AVE RM 206
SEATTLE, WA 98121                     SEATTLE, WA 98121                         SEATTLE, WA 98121




LAWRENCE REALTY COMPANY               LAWRENCE REALTY COMPANY                   LAWRENCE RISPOLI
C/O ARTHUR ALLEN                      C/O ARTHUR ALLEN                          10201 S. MAIN STREET
2319 FIRST AVE RM 206                 2319 FIRST AVE RM 206                     HOUSTON, TX 77025
SEATTLE, WA 98121                     SEATTLE, WA 98121




LAWRENCE SASSMANN                     LAWRENCE SMITH                            LAWRENCE SWAZER
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




LAWRENCE TWP TAX COLLECTOR            LAWRENCE WILLIAMS                         LAWRENCE, TERRI
P.O. BOX 6006                         10201 S. MAIN STREET                      702 JOHNSON AVE
LAWRENCE TWP., NJ 08648               HOUSTON, TX 77025                         UPPER CHICHESTER, PA 19061-4036




LAWRENCEVILLE PROPERTIES 222 LLC      LAWRENCEVILLE PROPERTIES 222 LLC          LAWRENCEVILLE PROPERTIES 222, LLC
21 KATIES POND RD                     CHARLES SCHWAB & CO                       21 KATIE'S POND ROAD
PRINCETON, NJ 08540                   ATTN NICHOLAS F CARUSO132 NASSAU ST       PRINCETON, NJ 08540
                                      PRINCETON, NJ 08543




LAWRENCEVILLE PROPERTIES 222, LLC     LAWSONS FLOOR COVERINGS                   LAWTON CONSTITUTION
C/O CHARLES SCHWAB & CO.              1822-D KANAWHA TERRACE                    PO BOX 2069
ATTN: NICHOLAS F. CARUSO              SAINT ALBANS, WV 25177                    LAWTON, OK 73502
132 NASSAU ST
PRINCETON, NJ 08543
                       Case 18-12241-CSS
LAWTON MARKETPLACE INVESTORS LP       LAWTONDoc    26 Filed
                                              MARKETPLACE     10/05/18
                                                           INVESTORS LP   PageLAWYERS
                                                                               997 of FOR
                                                                                      1739WORKPLACE FAIRNESS APC
8235 DOUGLAS AVE STE 1300             C/O BANK OF THE OZARKS                  4100 W ALAMEDA AVE 3RD FL
DALLAS, TX 75225-6013                 8201 PRESTON RD STE 700                 BURBANK, CA 91505
                                      DALLAS, TX 75225




LAWYERSCOLLABORATIVE                   LAYNE SHEIKOWITZ                       LAYTON CITY CORPORATION
ATTN: SCOTT J. SUMMER, ESQ.            10201 S. MAIN STREET                   437 N WASATCH DR
400 RESERVOIR AVENUE, SUITE 3A         HOUSTON, TX 77025                      LAYTON, UT 84041
PROVIDENCE, RI 02907




LAYTON CITY                            LAYTON CITY                            LAZ PARKING CHICAGO LLC
434 N WASATCH DR                       437 N WASATCH DR                       32445 COLLECTION CENTER DRIVE
LAYTON, UT 84041-3254                  LAYTON, UT 84041                       CHICAGO, IL 60693




LAZ PARKING CHICAGO LLC                LAZARO RIVERA                          LAZURI INVESTMENTS LLC
33 W MONROE ST STE 350                 10201 S. MAIN STREET                   9705 LIBERIA AVE STE 325
CHICAGO, IL 60603                      HOUSTON, TX 77025                      MANASSAS, VA 20110




LAZY 9 EXCHANGE PARTNERS LTD           LAZY 9 EXCHANGE PARTNERS LTD           LB & MB INVESTMENTS LLC
435 BURR RD                            C/O RFM COMMERCIAL INC                 C/O SKYLINE SEVEN RE
SAN ANTONIO, TX 78209                  1920 NACOGDOCHES STE 201               800 MT VERNON HWY NE STE 425
                                       SAN ANTONIO, TX 78209                  ATLANTA, GA 30328




LB & MB INVESTMENTS LLC                LBK 2 INVESTMENTS LLC                  LBK 2 INVESTMENTS LLC
C/O SKYLINE SEVEN RE                   10950 LINCOLN TRAIL                    10950 LINCOLN TRAIL
800 MT. VERNIN HIGHWAY NE, SUITE 425   ATTN R REIFSCHNEIDER                   FAIRVIEW HEIGHTS, IL 62208
ATLANTA, GA 30328                      10950 LINCOLN TRAIL
                                       FAIRVIEW HEIGHTS, IL 62208



LBK 2 INVESTMENTS LLC                  LBM PROPERTY SERVICES                  LB-UBS 2006-C7 EAST INTERSTATE
C/O REGIONS WEALTH MGMT ATTN R         8677 VILLA LA JOLLA DRIVE, 331         HIGHWAY 20 LLC
REIFSCHNEIDER                          LA JOLLA, CA 92037                     2100 W 7TH ST
10950 LINCOLN TRAIL                                                           FORT WORTH, TX 76107
FAIRVIEW HEIGHTS, IL 62208



LB-UBS 2006-C7 EAST INTERSTATE         LC MEDIA LP                            LC MEDIA RIVERSIDE
HIGHWAY 20 LLC                         242 E AIRPORT DR STE 202               570 EAST AVE Q-9
2100 W 7TH ST                          SAN BERNARDINO, CA 92408               PALMDALE, CA 93550
FORT WORTH, TX 76107




LC OLIVER                              LC PERSONNEL INC                       LCEC
10201 S. MAIN STREET                   LF STAFFING (LONGVIEW)                 4980 BAYLINE DRIVE
HOUSTON, TX 77025                      PO BOX 9337                            NORTH FORT MYERS, FL 33917
                                       LONGVIEW, TX 75605-9337




LCEC                                   LCJD REALTY CORP                       LCJD REALTY CORP
P.O. BOX 31477                         550 MAMARONECK AVE STE 402             ATTN: FRANK A SALANDRA CPA
TAMPA, FL 33631-3477                   HARRISON, NY 10528                     550 MAMARONECK AVE STE 402
                                                                              HARRISON, NY 10528
LCJD REALTY INC.      Case     18-12241-CSS     Doc 26
                                         LCL COMPANY        Filed 10/05/18     PageLCN
                                                                                    998  of 1739
                                                                                       SERVICES LLC
2455 CENTRAL PARK AVENUE                 1567 N. PARHAM RD                         PO BOX 400
YONKERS, NY 10710                        RICHMOND, VA 23229                        SOLANA BEACH, CA 92075




LCTCB                                    L-CUBE GROWTH LLC                         L-CUBE GROWTH LLC
PO BOX 11447                             C/O LESLIE LEE                            25 BUTTERFIELD RD
LANCASTER, PA 17605-1447                 25 BUTTERFIELD RD                         LEXINGTON, MA 02420
                                         LEXINGTON, MA 02420




L-CUBE GROWTH, LLC                       L-CUBE GROWTH, LLC                        LCWSA
21 MILK STREET, 2ND FLOOR                C/O LESLIE LEE                            380 OLD CEMENT ROAD
BOSTON, MA 02109                         25 BUTTERFIELD RD                         MONTOURSVILLE, PA 17754
                                         LEXINGTON, MA 02420




LCWSA                                    LDM INVESTMENTS LLC                       LDM INVESTMENTS, LLC
P.O. BOX 186                             5400 TRINITY RD STE 105                   C/O CAPITAL ASSOCIATES MANAGEMENT,
MONTOURSVILLE, PA 17754                  RALEIGH, NC 27607                         LLC
                                                                                   5400 TRINITY ROAD, SUITE 105
                                                                                   RALEIGH, NC 27607



LDOR VDOR LLC                            LDOR VDOR LLC                             L'DOR V'DOR, LLC
LATIPAC PROPERTY MGMT INC                PO BOX 162304                             C/O LATIPAC PROPERTY MANAGEMENT INC.
PO BOX 162304                            AUSTIN, TX 78757                          P.O. BOX 162304
AUSTIN, TX 78757                                                                   ATTN: BRIAN JACKS
                                                                                   AUSTIN, TX 78757



LE BLEU OF CHARLESTON                    LE MAY - LEWIS COUNTY REFUSE - 2188       LEA ANNE CROOKS
PO BOX 752                               P.O. BOX 60248                            427 S POPLAR ST
SUMMERVILLE, SC 29484-0752               LOS ANGELES, CA 90060-0248                SHELBURN, IN 47879




LEA CO                                   LEA LIMBERIS                              LEAD COMMERCIAL
C/O PALMS ASSOCIATES                     10201 S. MAIN STREET                      2007 S 1ST STREET, SUITE 102
397 LITTLE NECK RD BLDG 3400 STE 200     HOUSTON, TX 77025                         AUSTIN, TX 78704
VIRGINIA BEACH, VA 23452




LEADS MAMEA                              LEAGUE CITY MARKET PLACE LP               LEAGUE CITY MARKETPLACE LP
10201 S. MAIN STREET                     ATTN: ANDY WEINER                         1445 NORTH LOOP WEST 625
HOUSTON, TX 77025                        1445 NORTH LOOP WEST 625                  HOUSTON, TX 77008
                                         HOUSTON, TX 77008




LEAGUE CITY MARKETPLACE LP               LEAGUE CITY TOWNE CENTER LTD              LEAH ANDERSON
ATTN: ANDY WEINER                        CO PROPERTY COMMERCE MGMT CO              10201 S. MAIN STREET
1445 NORTH LOOP WEST 625                 PO BOX 771149                             HOUSTON, TX 77025
HOUSTON, TX 77008                        HOUSTON, TX 77215-1149




LEAH DINUCCI                             LEAH LINSCOMB                             LEAH STACK
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025
LEAH TORRES             Case 18-12241-CSS     Doc 26
                                       LEAH VULGARIS      Filed 10/05/18    PageLEAH
                                                                                 999WHEELER
                                                                                     of 1739
300 N RAMPART ST                       10201 S. MAIN STREET                     10201 S. MAIN STREET
ORANGE, CA 92868                       HOUSTON, TX 77025                        HOUSTON, TX 77025




LEAN ENTERPRISE INSTITUTE              LEANDRA LAMAR                            LEANDRO ESCOBEDO
215 FIRST ST STE 300                   10201 S. MAIN STREET                     10201 S. MAIN STREET
CAMBRIDGE, MA 02142                    HOUSTON, TX 77025                        HOUSTON, TX 77025




LEANDRO HIDALGO                        LEANNE OSTROW                            LEANNE TRAINER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




LEAP CITRUS PARK LC                    LEAP CITRUS PARK, L.C.                   LEAP CLEARWATER LLC
3641 WEST KENNEDY BLVD STE A           3641 W. KENNEDY BOULEVARD, SUITE A       3641 W KENNEDY BLVD STE A
TAMPA, FL 33609                        TAMPA, FL 33609                          TAMPA, FL 33609




LEAP CLEARWATER, L.C.                  LEAR ELECTRIC CO INC                     LEAR ELECTRIC CO INC
C/O ICI REAL ESTATE                    6002 NE 112TH AVE                        CONTRACTING AND DESIGN
3641 WEST KENNEDY BOULEVARD, SUITE A   PORTLAND, OR 97220                       6002 NE 112TH AVE
TAMPA, FL 33609                                                                 PORTLAND, OR 97220




LEARFIELD SPORTS LLC C/O LEARFIELD     LEASE HARBOR LLC                         LEASE HARBOR LLC
COMMUNICATIONS INC                     414 N ORLEANS ST STE 602                 DEPARTMENT 4919
PO BOX 843038                          CHICAGO, IL 60654                        CAROL STREAM, IL 60122-4919
KANSAS CITY, MO 64184-3038




LEASING ASSOCIATES                     LEATRICE SMITH                           LEBANON PUBLISHING CO.
PO BOX 203174                          C/O JAMES GUEST ATTORNEY AT LAW          402 N. CUMBERLAND ST
DALLAS, TX 75320                       1900 32ND ST.                            LEBANON, TN 37087
                                       KENNER, LA 70065




LECLAIRRYAN                            LEDARIUS CULVER                          LEDARIUS WILSON
PO BOX 780054                          10201 S. MAIN STREET                     10201 S. MAIN STREET
PHILADELPHIA, PA 19178-0054            HOUSTON, TX 77025                        HOUSTON, TX 77025




LEDGER ENQUIRER                        LEDGER NEWS CHIEF                        LEE & BRAZIEL LLP
PO BOX 4168                            P.O. BOX 913004                          1801 N LAMAR STE 325
MACON, GA 31208-4168                   ORLANDO, FL 32891-3004                   DALLAS, TX 75202




LEE BAILEY                             LEE BOHANNON                             LEE BOSSUET
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
LEE CASTRO                Case 18-12241-CSS    Doc 26
                                         LEE CLARK         Filed 10/05/18   PageLEE
                                                                                 1000  of 1739
                                                                                    COHEN
10201 S. MAIN STREET                     7553 CORIANDER CT                      10201 S. MAIN STREET
HOUSTON, TX 77025                        JACKSONVILLE, FL 32244                 HOUSTON, TX 77025




LEE COMPANY                              LEE CONNOR                             LEE COUNTY REVENUE COMMISSIONER
PO BOX 306053                            10201 S. MAIN STREET                   C/O DEPT PP
NASHVILLE, TN 37230-6053                 HOUSTON, TX 77025                      PO BOX 2413
                                                                                OPELIKA, AL 36803-2413




LEE COUNTY TAX COLLECTOR                 LEE COUNTY TAX COLLECTOR               LEE COUNTY TAX COLLECTOR
ATTN: PROPERTY TAX DEPT.                 ATTN: PROPERTY TAX DEPT.               ATTN: PROPERTY TAX DEPT.
PO BOX 1549                              PO BOX 1609                            PO BOX 271
FORT MYERS, FL 33902                     FORT MYERS, FL 33902                   TUPELO, MS 38802-0271




LEE COUNTY TAX COLLECTOR                 LEE COUNTY TAX COLLECTOR               LEE COUNTY TAX COLLECTOR
PO BOX 1549                              PO BOX 1609                            PO BOX 1968
FORT MYERS, FL 33902-1549                FORT MYERS, FL 33902                   SANFORD, NC 27331-1968




LEE COUNTY TAX COLLECTOR                 LEE COUNTY UTILITIES                   LEE COUNTY UTILITIES
PO BOX 271                               7391 COLLEGE PARKWAY                   PO BOX 60045
TUPELO, MS 38802-0271                    FORT MYERS, FL 33907                   PRESCOTT, AZ 86304-6045




LEE EILTS                                LEE ELLIOTT                            LEE ENTERPRISES INC DBA THE JOURNAL
10201 S. MAIN STREET                     10201 S. MAIN STREET                   TIMES
HOUSTON, TX 77025                        HOUSTON, TX 77025                      201 N HARRISON ST STE 600
                                                                                DAVENPORT, IA 52801




LEE ENTERPRISES INC                      LEE ENTERPRISES-CENTRAL ILLINOIS       LEE FRANKEL
201 N HARRISON ST STE 600                P.O. BOX 742548                        10201 S. MAIN STREET
DAVENPORT, IA 52801                      CINCINNATI, OH 45274                   HOUSTON, TX 77025




LEE JEANSONNE                            LEE MARTIN                             LEE MEDDERS
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




LEE MERCALF                              LEE METCALF                            LEE MUGNOLO
3711 S. HIGHWAY 27 D102                  3711 S. HIGHWAY 27 D102                10201 S. MAIN STREET
SPOKANE, WA 99206                        SPOKANE, WA 99206                      HOUSTON, TX 77025




LEE PHILLIPS                             LEE PICKER & ASSOCIATES INC            LEE PROPERTY SERVICES, LLC
10201 S. MAIN STREET                     13381 SW 6 PL                          101 W, COURT STREET, SUITE A
HOUSTON, TX 77025                        DAVIE, FL 33325                        GREENVILLE, NC 29601
LEE PROPERTY SVCS LLC Case      18-12241-CSS    Doc 26 Filed 10/05/18
                                          LEE PUBLICATIONS                   PageLEE
                                                                                  1001 of 1739
101 WEST COURT ST STE A                   DBA LONGVIEW DAILY NEWS                ATTN: PROPERTY TAX DEPT.
GREENVILLE, SC 29601                      201 N HARRISON ST STE 600              PO BOX 1968
                                          DAVENPORT, IA 52801                    SANFORD, NC 27331-1968




LEE, RON                                  LEEANNA VELASQUEZ                      LEEDERE STUBBS
6746 S MICHIGAN AVE                       10201 S. MAIN STREET                   10201 S. MAIN STREET
CHICAGO, IL 60637-3921                    HOUSTON, TX 77025                      HOUSTON, TX 77025




LEEMAX STARRADE                           LEEMILTS PETROLEUM INC                 LEEMILT'S PETROLEUM, INC.
10201 S. MAIN STREET                      GETTY PROPERTIES CORP.                 2 JERICHO PLAZA, SUITE 110
HOUSTON, TX 77025                         TWO JERICHO PLAZA WING C STE 110       JERICHO, NY 11753
                                          JERICHO, NY 11753




LEEMILT'S PETROLEUM, INC.                 LEES DELIVERY SERVICE                  LEES MOBILE WASH
GETTY PROPERTIES CORP.                    13927 BRUNSWICK PLACE DR               5845 S BELL FLOWER DR
TWO JERICHO PLAZA WING C STE 110          HOUSTON, TX 77047                      LITTLETON, CO 80123
JERICHO, NY 11753




LEES SUMMIT WATER UTILITIES               LEES SUMMIT WATER UTILITIES            LEESBURG 44 PROPERTIES LLC
1200 SE HAMBLEN ROAD                      P.O. BOX 219306                        ALTERMAN COMMERCIAL REAL ESTATE
LEES SUMMIT, MO 64081                     KANSAS, MO 64121-9306                  PO BOX 191228
                                                                                 ATLANTA, GA 31119




LEESBURG DAILY COMMERCIAL                 LEESBURG DAILY COMMERCIAL              LEESBURG DAILY COMMERCIAL
111 CENTER ST STE 2020                    PO BOX 919442                          PO BOX 919442
LITTLE ROCK, AR 72201                     ORLANDO, FL 32891                      ORLANDO, FL 32891-9422




LEGACY CLASSIC FURNITURE INC              LEGACY PARKING COMPANY LLC             LEGACY PLAZA AT 54TH LLC
PO BOX 751168                             455 N CITYFRONT PLAZA DR STE 910       ATTN: DAVID WERTS
CHARLOTTE, NC 28275-1168                  CHICAGO, IL 60611                      1962 E STAG HILL CIRCLE
                                                                                 DRAPER, UT 84020




LEGAL SHIELD                              LEGAL TAX SERVICE INC                  LEGARRETA, MIGUEL
PO BOX 2629                               PO BOX 10060                           3555 S BRUST AVE APT 7
ADA, OK 74821-2629                        PITTSBURGH, PA 15236-6060              MILWAUKEE, WI 53207-3575




LEGEND MANAGEMENT SERVICES, LLC           LEGER METRICS                          LEGGETT & PLATT, INC.
PAUL M. RUANE, RPA                        700-507 PLACE DARMES                   ATTN: CHIEF FINANCIAL OFFICER
580 W. GERMANTOWN PIKE, SUITE 103         MONTREAL, QC H2Y 2W8                   1 LEGGETT RD
PLYMOUTH MEETING, PA 19462                CANADA                                 CARTHAGE, MI 64836




LEGGETT & PLATT, INC.                     LEHMAN MOVING AND STORAGE INC          LEHTONEN INVESTMENTS LTD DBA THE
ATTN: CHIEF FINANCIAL OFFICER             310 ANCHOR RD                          SHOPS ON TEXAS
161 PROCTOR LANE                          CASSELBERRY, FL 32707                  2001 TEXAS AVE STE 800
LEXINGTON, NC 27292                                                              COLLEGE STATION, TX 77840
LEHTONEN INVESTMENTS Case
                       LTD   18-12241-CSS     Doc 26
                                       LEIDA CANTORAL     Filed 10/05/18         PageLEIF
                                                                                      1002   of 1739
                                                                                          STARETORP
DBA THE SHOPS ON TEXAS                  10201 S. MAIN STREET                          10201 S. MAIN STREET
2001 TEXAS AVE STE 800                  HOUSTON, TX 77025                             HOUSTON, TX 77025
COLLEGE STATION, TX 77840




LEIGH ANN VENABLE                       LEIGH BLAISDELL                               LEIGH LAW
414 CR 175                              10201 S. MAIN STREET                          1210 5TH AVE
MART, TX 76664                          HOUSTON, TX 77025                             EASTMAN, GA 31023




LEIGHA FLECK                            LEILA SKORUPA                                 LEILANI CLYBURN
10201 S. MAIN STREET                    10201 S. MAIN STREET                          10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                             HOUSTON, TX 77025




LEISURE CONCEPTS INC                    LEJAMES RIGGINS                               LEKI FUAPAU
5342 N FLORIDA ST                       10201 S. MAIN STREET                          10201 S. MAIN STREET
SPOKANE, WA 99217                       HOUSTON, TX 77025                             HOUSTON, TX 77025




LELAND LANE LLC                         LELAND MOORE                                  LELAND MORRISEY II
176 COVE RD                             10201 S. MAIN STREET                          10201 S. MAIN STREET
OYSTER BAY, NY 11771                    HOUSTON, TX 77025                             HOUSTON, TX 77025




LELAND TILLMAN                          LEMAY-PACIFIC DISPOSAL - DISTRICT 2183        LEN LOWEN
10201 S. MAIN STREET                    P.O. BOX 60248                                WHSE MANAGER-VA BEACH
HOUSTON, TX 77025                       LOS ANGELES, CA 90060-0248                    2841 EINSTEIN DRIVE
                                                                                      VIRGINIA BEACH, VA 23456




LENAE ABOUBAKARI                        LENDPRO LLC                                   LENDREA STAYS
10201 S. MAIN STREET                    1020 EDNAM CENTER STE 003                     10201 S. MAIN STREET
HOUSTON, TX 77025                       CHARLOTTESVILLE, VA 22903                     HOUSTON, TX 77025




LENETTE REALTY & INVESTMENT CO          LENETTE REALTY & INVESTMENT CO                LENETTE REALTY & INVESTMENT CO.
FAIRVIEW HEIGHTS LM PROPERTIES LLC      GURNEE LM PROPERTIES LLC                      1001 CRAIG RD STE 260
1401 S BRENTWOOD BLVD 520               1401 S BRENTWOOD BLVD STE 520                 SAINT LOUIS, MO 63146
SAINT LOUIS, MO 63144                   SAINT LOUIS, MO 63144




LENETTE REALTY & INVESTMENT CO.         LENETTE REALTY & INVESTMENT CO.               LENETTE REALTY & INVESTMENT CO.
1401 SOUTH BRENTWOOD BOULEVARD,         FAIRVIEW HEIGHTS LM PROPERTIES LLC            GURNEE LM PROPERTIES LLC
SUITE 520                               1401 S BRENTWOOD BLVD STE 520                 1401 S BRENTWOOD BLVD STE 520
ST. LOUIS, MO 63005                     SAINT LOUIS, MO 63144                         SAINT LOUIS, MO 63144




LENETTE REALTY & INVESTMENT CO.         LENETTE REALTY & INVESTMENT CO.               LENETTE REALTY & INVESTMENT
JERRY BYNUM                             JOE SPRAGUE                                   1001 CRAIG RD STE 260
1401 S BRENTWOOD BLVD STE 520           1401 S BRENTWOOD BLVD STE 520                 SAINT LOUIS, MO 63146
ST. LOUIS, MO 63144                     ST. LOUIS, MO 63144
                      Case 18-12241-CSS
LENETTE REALTY & INVESTMENT                 Doc 26 Filed
                                     LENG VANG                 10/05/18   PageLENHART
                                                                               1003 ofPROPERTY
                                                                                       1739 MANAGEMENT
1401 S BRENTWOOD BLVD STE 520        10201 S. MAIN STREET                     P.O. BOX 270263
SAINT LOUIS, MO 63144                HOUSTON, TX 77025                        GOLDEN VALLEY, MN 55427




LENIN PENA                             LENING VIGIL                           LENING VIGIL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LENISHA BROWN                          LENNA FINCH                            LENNON BUENO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LENNOX RETAIL LLC DBA LENNOX STATION   LENNOX RETAIL LLC DBA LENNOX STATION   LENNOX RETAIL, LLC & JAB LENNOX, LLC
9910 LAUREL VLY AVE CIR                EQUITY INC                             C/O EQUITY INC
BRADENTON, FL 34202                    4653 TRUEMAN BLVD STE 100              4653 TRUEMAN BOULEVARD, SUITE 100
                                       HILLIARD, OH 43026                     HILLIARD, OH 43026




LENNOX STATION HOLDINGS LLC            LENNOX STATION HOLDINGS LLC            LENNY DEROIS
445 HUTCHINSON AVE, STE 800            EQUITY INC                             23 ERICKSON PLACE
COLUMBUS, OH 43235                     4653 TRUEMAN BLVD STE 100              PALM COAST, FL 32164
                                       HILLIARD, OH 43026




LENNY GENOVESE                         LENOIR CITY UTILITIES BOARD            LENOIR CITY UTILITIES BOARD
10201 S. MAIN STREET                   7698 CREEKWOOD PARK BLVD               P.O. BOX 449
HOUSTON, TX 77025                      LENOIR CITY, TN 37771                  LENOIR CITY, TN 37771-0449




LENOIR COUNTY TAX DEPT                 LENOIR HODGES                          LENOIR
PO DRAWER 3289                         10201 S. MAIN STREET                   ATTN: PROPERTY TAX DEPT.
KINSTON, NC 28502-3289                 HOUSTON, TX 77025                      PO DRAWER 3289
                                                                              KINSTON, NC 28502




LENORA PARKER                          LENORA REALTY CORP.                    LENOX AA PROPERTIES LLC
10201 S. MAIN STREET                   C/O SHAWN                              1121 W TAMARACK DR
HOUSTON, TX 77025                      108 MAPLE ST                           BARRINGTON, IL 60010
                                       GREAT NECK, NY 11023




LENOX AA PROPERTIES                    LENOX AA PROPERTIES, LLC               LENOX PLAZA LLC
1121 W TAMARACK DR                     1121 W TAMARACK DRIVE                  THE AZARIAN BLDG
BARRINGTON, IL 60010                   BARRINGTON, IL 60010                   6 PROSPECT ST
                                                                              MIDLAND PARK, NJ 07432




LENOX PLAZA LLC                        LENWOOD HARGROVE                       LEO CAP
6 PROSPECT ST                          10201 S. MAIN STREET                   10201 S. MAIN STREET
MIDLAND PARK, NJ 07432                 HOUSTON, TX 77025                      HOUSTON, TX 77025
LEO DIAZ               Case 18-12241-CSS    Doc 26
                                      LEO MAHONEY     Filed
                                                  DBA 3LS    10/05/18
                                                          DELIVER SERVICE PageLEO
                                                                               1004  of 1739
                                                                                  MANDERICO
10201 S. MAIN STREET                    102 HARBOR POINTE                     10201 S. MAIN STREET
HOUSTON, TX 77025                       ATLANTA, GA 30350                     HOUSTON, TX 77025




LEO RAYFORD                             LEO WENTZ                             LEOMINSTER
10201 S. MAIN STREET                    10201 S. MAIN STREET                  ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       HOUSTON, TX 77025                     PO BOX 457
                                                                              WORCESTER, MA 01613-0457




LEON ATKINSON                           LEON COOPER                           LEON COUNTY TAX COLLECTOR
10201 S. MAIN STREET                    10201 S. MAIN STREET                  ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       HOUSTON, TX 77025                     PO BOX 1835
                                                                              TALLAHASSEE, FL 32302




LEON COUNTY TAX COLLECTOR               LEON GARRETT                          LEON HARDING
PO BOX 1835                             10201 S. MAIN STREET                  10201 S. MAIN STREET
TALLAHASSEE, FL 32302                   HOUSTON, TX 77025                     HOUSTON, TX 77025




LEON HUNT                               LEON SCHNEIDER DBA ELLIOT MAGIC LLC   LEON WILLIAMS
10201 S. MAIN STREET                    8383 WILSHIRE BLVD 510                10201 S. MAIN STREET
HOUSTON, TX 77025                       BEVERLY HILLS, CA 90211               HOUSTON, TX 77025




LEON WRIGHT                             LEONARD B SAX LLC                     LEONARD BATES
10201 S. MAIN STREET                    C/O FLAGSTAFF PROP INC                10201 S. MAIN STREET
HOUSTON, TX 77025                       1007 PEARL ST STE 260                 HOUSTON, TX 77025
                                        BOULDER, CO 80302




LEONARD CLAY                            LEONARD CLIFTON                       LEONARD FERGUSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




LEONARD GIANNINI                        LEONARD JONES                         LEONARD MOHAMED
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




LEONARD SARAGNESE                       LEONARD VOGEL                         LEONARD WRIGHT
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




LEONARDO MORAN                          LEONARDO OLIVEIRA                     LEONARDO SANTORO
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025
LEONARDO TEXEIRA       Case 18-12241-CSS   Doc
                                      LEONDRE    26 Filed 10/05/18
                                              LINCOLN                      PageLEONEL
                                                                                1005 of 1739
                                                                                      CASTELLANO
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




LEONEL MERIDA                          LEONG TEGNER LLC                         LEONG TEGNER LLC
10201 S. MAIN STREET                   20380 TOWN CENTER LANE, #110             20380 TOWN CENTER LANE, 110
HOUSTON, TX 77025                      CUPERTINO, CA 95014                      CUPERTINO, CA 95014




LEONIDAS RODRIGUEZ                     LEONORA NDOI                             LEOPOLD SEALE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




LEOPOLDO JIMENEZ                       LEOPOLDO TABIN                           LEPRECHAUN GRAPHICS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     18103 BEAVERDELL DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                        TOMBALL, TX 77377




LERA WATSON                            LERNER & HOLMES PC                       LERNER REAL ESTATE ADVISORS
10201 S. MAIN STREET                   260 FRANKLIN STREET, 19TH FLOOR          ADAM LERNER
HOUSTON, TX 77025                      BOSTON, MA 02110                         3014 W. PALMIRA AVENUE, SUITE 301
                                                                                TAMPA, FL 33629




LERON PAIGE                            LEROY DODSON INVESTMENTS, LLC            LEROY FARMER
10201 S. MAIN STREET                   C/O GIBSON SMITH REALTY CO.              10201 S. MAIN STREET
HOUSTON, TX 77025                      1100 KENILWORTH AVENUE, SUITE 200        HOUSTON, TX 77025
                                       CHARLOTTE, NC 28204




LEROY HANDY                            LEROY JEFFERSON                          LEROY SCOTT
10201 S. MAIN STREET                   10201 S. MAIN STREET                     3131 MCKINNEY AVE STE 600
HOUSTON, TX 77025                      HOUSTON, TX 77025                        DALLAS, TX 75204




LEROY SCOTT                            LEROY SEARS                              LEROY SMITH
DBA SCOTT ESQ                          10201 S. MAIN STREET                     10201 S. MAIN STREET
3131 MCKINNEY AVE STE 600              HOUSTON, TX 77025                        HOUSTON, TX 77025
DALLAS, TX 75204




LEROY WRIGHT                           LES FREEMAN                              LES GILBERT
10201 S. MAIN STREET                   10201 S. MAIN STREET                     5425 DANA POINT DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                        ARLINGTON, TX 76017




LES LINCOLN ELECTRIC SYSTEM            LES PETERSON                             LES POLLARD
P.O. BOX 2986                          10201 S. MAIN STREET                     10201 S. MAIN STREET
OMAHA, NE 68103-2986                   HOUSTON, TX 77025                        HOUSTON, TX 77025
                     Case
LES SCHWAB TIRE CENTER        18-12241-CSS    Doc 26
                                        LES SCHWAB        Filed 10/05/18   PageLESAINT
                                                                                1006 of  1739
                                                                                       LOGISTICS
1019 W COURT ST                         4020 YELLOWSTONE AVE                    4487 LESAINT COURT
PASCO, WA 99301-4157                    POCATELLO, ID 83202                     FAIRFIELD, OH 45014




LESLEY MUIR                             LESLIE BELL HORTON                      LESLIE FEREBEE
10201 S. MAIN STREET                    110 MAISON RUE                          10201 S. MAIN STREET
HOUSTON, TX 77025                       VICKSBURG, MS 39180                     HOUSTON, TX 77025




LESLIE FORD                             LESLIE GILBERT                          LESLIE GUFFEY
10201 S. MAIN STREET                    5425 DANA POINT DR                      10201 S. MAIN STREET
HOUSTON, TX 77025                       ARLINGTON, TX 76017                     HOUSTON, TX 77025




LESLIE KNOX                             LESLIE LIZAMA                           LESLIE MARTINEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




LESLIE MILLIGAN                         LESLIE PIA                              LESLIE SHAUNTY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    320 E 5TH ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77007




LESLIE TAYLOR                           LESLIE TAYLOR                           LESLIE THOMPSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




LESLIE THOMPSON                         LESLIE VICKERS                          LESLIE VILLACIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    1102 BAY RIDGE PKWY
HOUSTON, TX 77025                       HOUSTON, TX 77025                       BROOKLYN, NY 11228




LESLIE WESTER                           LESLIE WINSLOW                          LESLY HARDEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




LESSWAY, RICHARD                        LESTER SHEPHERD                         LETICIA BERNAL
586 BARRINGTON PARK                     10201 S. MAIN STREET                    10201 S. MAIN STREET
BLOOMFIELD HILLS, MI 48304-2122         HOUSTON, TX 77025                       HOUSTON, TX 77025




LETICIA FAISON                          LETICIA HANDLEY                         LETICIA LITTLETON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
LETICIA SANDOVAL MATA   Case 18-12241-CSS
                                       LETNIELDoc  26
                                               CALLE      Filed 10/05/18     PageLETOILE
                                                                                  1007 of  1739
                                                                                         JONES
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




LETRON MOSELEY                          LEVARTIS SMITH                           LEVCAL HEDWIG VILLAGE LP
14500 VAN NUYS BLVD 4                   10201 S. MAIN STREET                     PROPERTY 629410
PANORAMA CITY, CA 91402                 HOUSTON, TX 77025                        PO BOX 310300
                                                                                 DES MOINES, IA 50331-0300




LEVCAL HEDWIG VILLAGE, LP               LEVCAL HEDWIG VILLAGE, LP                LEVCOM EAST WINDSOR ASSOCIATES LP
4500 BISSONNET STREET, SUITE 300        PROPERTY 629410                          C/O FIDELITY MGMT LLC
BELLAIRE, TX 77401                      PO BOX 310300                            PO BOX 48
                                        DES MOINES, IA 50331-0300                GREEN VILLAGE, NJ 07935-0048




LEVCOM EAST WINDSOR ASSOCIATES LP       LEVCOM EAST WINDSOR ASSOCIATES, LP       LEVCOM EAST WINDSOR ASSOCIATES, LP
PO BOX 48                               C/O FIDELITY MANAGEMENT LLC              C/O FIDELITY MANAGEMENT LLC
GREEN VILLAGE, NJ 07935                 641 SHUNPIKE ROAD                        PO BOX 48
                                        ATTN: PROPERTY MANAGEMENT                GREEN VILLAGE, NJ 07935
                                        CHATHAM, NJ 07928



LEVCOM EAST WINDSOR ASSOCIATES, LP      LEVEL 3 COMMUNICATIONS LLC               LEVEL 3
C/O FIDELITY MANAGEMENT LLC             P.O. BOX 910182                          1025 ELDORADO BLVD
PO BOX 48                               DENVER, CO 80291-0182                    BROOMFIELD, CO 80021
GREEN VILLAGE, NJ 07935-0048




LEVEL 3                                 LEVEL ONE SECURITY INC                   LEVEL UP CONSULTING
P.O. BOX 910182                         P.O. BOX 1249                            5773 WOODWAY DR STE 211
DENVER, CO 80291-0182                   BUCKLEY, WA 98321                        HOUSTON, TX 77057




LEVI ADAIR                              LEVI ADKINSON DBA SPRYBONAIR             LEVI DANIELS
10201 S. MAIN STREET                    3025 MOJAVE DR                           10201 S. MAIN STREET
HOUSTON, TX 77025                       DALLAS, TX 75241                         HOUSTON, TX 77025




LEVI DENN                               LEVIN MANAGEMENT CORPORATION             LEVIN MANAGEMENT CORPORATION
10201 S. MAIN STREET                    975 US HIGHWAY 22 WEST                   975 US HIGHWAY 22 WEST
HOUSTON, TX 77025                       NORTH PLAINFIELD, NJ 07060               NORTH PLAINFIELD, NJ 07061




LEVIN MANAGEMENT CORPORATION            LEVIN MANAGEMENT CORPORATION             LEVIN MANAGEMENT CORPORATION
ATTN: CHIEF FINANCIAL OFFICER           ATTN: JORDAN KORRIS                      P.O. BOX 326
975 ROUTE 22 WEST                       P.O. BOX 326                             ATTN: JOANNA FLORIO, LEASE
NORTH PLAINFIELD, NJ 07060              PLAINFIELD, NJ 07061                     ADMINISTRATOR
                                                                                 PLAINFIELD, NJ 07061



LEVIN PROPERTIES LP                     LEVIN PROPERTIES LP                      LEVIN PROPERTIES LP
PO BOX 326                              975 US HIGHWAY 22                        PO BOX 326
PLAINFIELD, NJ 07061-0326               NORTH PLAINFIELD, NJ 07060               PLAINFIELD, NJ 07061
LEVIN PROPERTIES, LP Case 18-12241-CSS     Doc 26 Filed
                                    LEVIN PROPERTIES,  LP     10/05/18   PageLEVIN
                                                                              1008PROPERTIES,
                                                                                    of 1739 LP
C/O LEVIN MANAGEMENT CORPORATION    PO BOX 326                               PO BOX 326
975 US HWY 22 W                     PLAINFIELD, NJ 07061                     PLAINFIELD, NJ 07061-0326
PLAINFIELD, NJ 07060




LEVON ALEXANDER                       LEVON FLORES                           LEVORIA THOMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




LEVY DAVIS & MAHER LLP                LEWAIN FRANQUELIN                      LEWCON RETAIL LLC DBA COLLETT &
39 BROADWAY STE 1620                  6387 N FORK RD                         ASSOCIATES LLC
NEW YORK, NY 10006                    LIBERTY, UT 84032                      PO BOX 36799
                                                                             CHARLOTTE, NC 28236




LEWCON RETAIL, LLC                    LEWCON RETAIL, LLC                     LEWING CONSTRUCTION COMPANY INC
C/O COLLETT & ASSOCIATES, LLC         DBA COLLETT & ASSOCIATES LLC           PO BOX 5201
1111 METROPOLITAN AVENUE, SUITE 700   PO BOX 36799                           LAKE CHARLES, LA 70606
CHARLOTTE, NC 28204                   CHARLOTTE, NC 28236




LEWIS & GAYLOR                        LEWIS CO PUBLIC UTIL DISTRICT          LEWIS CO PUBLIC UTIL DISTRICT
MR. GARY S. LEWIS                     321 NW PACIFIC AVE                     P.O. BOX 239
5311 KIRBY DRIVE, SUITE 201           PO BOX 330                             CHEHALIS, WA 98532
HOUSTON, TX 77005                     CHEHALIS, WA 98532




LEWIS COUNTY PUD                      LEWIS COUNTY TREASURER                 LEWIS COUNTY TREASURER
P.O. BOX 239                          ATTN: PROPERTY TAX DEPT.               PO BOX 509
CHEHALIS, WA 98532-0239               PO BOX 509                             CHEHALIS, WA 98532-0509
                                      CHEHALIS, WA 98532-0509




LEWIS CROSSING LLC                    LEWIS CROSSING LLC                     LEWIS JACOBS
ATTN: MARGARET FRYE                   PO BOX 36799                           10201 S. MAIN STREET
PO BOX 36799                          CHARLOTTE, NC 28236                    HOUSTON, TX 77025
CHARLOTTE, NC 28236-6799




LEWIS MANAGEMENT CORP.                LEWIS OPERATING CORP.                  LEWIS PROPERTY COMPANY
JOSH MARTIN                           54240 SOUTH POLARIS AVENUE             3773 RICHMOND AVENUE, SUITE 200
1156 N. MOUNTAIN AVENUE               LAS VEGAS, NV 89118-1737               HOUSTON, TX 77046
UPLAND, CA 91785




LEWIS RANDOLPH CURLETT                LEWISTON TRIBUNE                       LEXI COOPER
2541 ASHBROOK DR                      PO BOX 957                             10201 S. MAIN STREET
ELLICOTT CITY, MD 21042               LEWISTON, ID 83501                     HOUSTON, TX 77025




LEXI MASHBURN                         LEXIE IVINS                            LEXINGTON COUNTY TREASURER
10201 S. MAIN STREET                  25621 W HERMANN AVE UNIT 6             ATTN: INCOME TAX DEPT.
HOUSTON, TX 77025                     ANTIOCH, IL 60002                      212 SOUTH LAKE DR STE 102
                                                                             LEXINGTON, SC 29072
                       Case 18-12241-CSS
LEXINGTON COUNTY TREASURER                   DocFAYETTE
                                      LEXINGTON    26 Filed  10/05/18
                                                         URBAN CO GOV        PageLEXINGTON
                                                                                  1009 of 1739
                                                                                           FAYETTE URBAN CO GOV
ATTN: PROPERTY TAX DEPT.              200 E MAIN ST                               P.O. BOX 34090
212 SOUTH LAKE DR STE 102             LEXINGTON, KY 40507                         LEXINGTON, KY 40588-4090
LEXINGTON, SC 29072




LEXINGTON HERALD LEADER               LEXINGTON HOME BRANDS                       LEXINGTON MEDICAL CENTER OCC HEALTH
LEXINGTON HERALD-LEADER-ADVERTISING   PO BOX 751221                               300 W DUNBAR RD
PO BOX 510118                         CHARLOTTE, NC 28275                         WEST COLUMBIA, SC 29170
LIVONIA, MI 48151




LEXINGTON MEDICAL CENTER OCC HEALTH   LEXINGTON REALTY INTERNATIONAL LLC          LEXINGTON REALTY INTERNATIONAL LLC
PO BOX 2210                           911 EAST COUNTY LINE ROAD, SUITE 203        911 EAST COUNTY LINE ROAD, SUITE 203
LEXINGTON, SC 29071-2210              ATTN: IRA EINHORN, DIR OF MANAGEMENT        ATTN: KELLY OTOOLE
                                      LAKEWOOD, NJ 08701                          LAKEWOOD, NJ 08701




LEXINGTON-FAYETTE URBAN COUNTY        LEXINGTON-FAYETTE URBAN COUNTY GOVT         LEXINGTON-FAYETTE URBAN COUNTY GOVT
GOVERNMENT                            200 E MAIN ST                               P.O. BOX 34090
DIVISION OF REVENUE                   LEXINGTON, KY 40507                         LEXINGTON, KY 40588-4090
PO BOX 14058
LEXINGTON, KY 40512



LEXINGTON-FAYETTE URBAN COUNTY GVMT   LEXIS OUTDOOR SERVICES INC                  LEXISNEXIS
PO BOX 34090                          6715 STATE ROUTE 111                        PO BOX 733106
LEXINGTON, KY 40588-4090              SOUTH ROXANA, IL 62087-2705                 DALLAS, TX 75373-3106




LEXKEL INC                            LEXKEL INC                                  LEXMARK GRAND JUNCTION
2011 EAGLE RD                         PO BOX 4831                                 10201 S MAIN ST
NORMAL, IL 61761                      SCOTTSDALE, AZ 85261                        HOUSTON, TX 77025




LEXMARK ATLANTA                       LEXMARK AUSTIN                              LEXMARK BATON ROUGE
10201 S MAIN ST                       10201 S MAIN ST                             10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




LEXMARK BAY AREA (OAKLAND)            LEXMARK BIRMINGHAM                          LEXMARK BOISE
10201 S MAIN ST                       10201 S MAIN ST                             10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




LEXMARK BRISTOL                       LEXMARK CHARLESTON                          LEXMARK CHARLOTTE
10201 S MAIN ST                       10201 S MAIN ST                             10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




LEXMARK CHATTANOOGA                   LEXMARK CHICAGO                             LEXMARK CINCINNATI
10201 S MAIN ST                       10201 S MAIN ST                             10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025
LEXMARK CLEVELAND      Case 18-12241-CSS   Doc
                                      LEXMARK   26 Filed 10/05/18
                                              COLUMBIA              PageLEXMARK
                                                                         1010 ofCOLUMBUS
                                                                                 1739
10201 S MAIN ST                       10201 S MAIN ST                   10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




LEXMARK DALLAS                        LEXMARK DENVER                    LEXMARK EAST WINDSOR
10201 S MAIN ST                       10201 S MAIN ST                   10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




LEXMARK ENTERPRISE SOFTWARE USA INC   LEXMARK FAYETTEVILLE              LEXMARK FLA-TEX
LEXMARK ENTERPRISE SOFTWARE LLC       10201 S MAIN ST                   10201 S MAIN ST
PO BOX 846261                         HOUSTON, TX 77025                 HOUSTON, TX 77025
DALLAS, TX 75284




LEXMARK FRANKLIN                      LEXMARK FRESNO                    LEXMARK GARNER (RALEIGH)
10201 S MAIN ST                       10201 S MAIN ST                   10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




LEXMARK GRAND RAPIDS                  LEXMARK GREENVILLE                LEXMARK HAWAII
10201 S MAIN ST                       10201 S MAIN ST                   10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




LEXMARK HICKSVILLE                    LEXMARK HOUSTON                   LEXMARK INDIANAPOLIS
10201 S MAIN ST                       10201 S MAIN ST                   10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




LEXMARK INLAND LA                     LEXMARK JACKSONVILLE              LEXMARK KANSAS CITY
10201 S MAIN STT                      10201 S MAIN ST                   10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




LEXMARK KNOXVILLE                     LEXMARK LAS VEGAS                 LEXMARK LITTLE ROCK
10201 S MAIN ST                       10201 S MAIN ST                   10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




LEXMARK LONGVIEW                      LEXMARK LOUISVILLE                LEXMARK MEBANE
10201 S MAIN ST                       10201 S MAIN ST                   10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




LEXMARK MEMPHIS                       LEXMARK MIAMI                     LEXMARK MID-ATLANTIC
10201 S MAIN ST                       10201 S MAIN ST                   10201 S MAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025
LEXMARK MILWAUKEE      Case 18-12241-CSS   Doc
                                      LEXMARK    26 Filed 10/05/18
                                              MINNEAPOLIS            PageLEXMARK
                                                                          1011 ofNASHVILLE
                                                                                  1739
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




LEXMARK NE MICHIGAN                    LEXMARK NEW ORLEANS                LEXMARK NORTHCENTRAL
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




LEXMARK NORTHEAST                      LEXMARK ODENTON                    LEXMARK OKLAHOMA CITY
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




LEXMARK OMAHA                          LEXMARK OPSCAPEX                   LEXMARK ORLANDO
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




LEXMARK PENSACOLA                      LEXMARK PHOENIX                    LEXMARK PITTSBURGH
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




LEXMARK POCATELLO                      LEXMARK PORTLAND                   LEXMARK REDDING
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




LEXMARK ROBBINSVILLE                   LEXMARK SACRAMENTO                 LEXMARK SALT LAKE CITY
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




LEXMARK SAN ANTONIO                    LEXMARK SAN DIEGO                  LEXMARK SEATTLE
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




LEXMARK SOURTHERN GA                   LEXMARK SPOKANE                    LEXMARK ST. LOUIS
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




LEXMARK SW FLORIDA                     LEXMARK TAMPA                      LEXMARK TOLEDO
10201 S MAIN ST                        10201 S MAIN ST                    10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025
LEXMARK TRI-CITIES     Case 18-12241-CSS   Doc
                                      LEXMARK    26 Filed 10/05/18
                                              TUCSON                           PageLEXMARK
                                                                                    1012 ofVIRGINIA
                                                                                            1739 BEACH
10201 S MAIN ST                        10201 S MAIN ST                             10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025




LEXMARK WEST TEXAS                     LEXMARK WEST                                LEXMARK WHITEVILLE
10201 S MAIN ST                        10201 S MAIN ST                             10201 S MAIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025




LEXMARK WICHITA                        LEXYE PARET BENGOCHEA                       LEY LANE PARTNERSHIP NO. 9, L.P.
10201 S MAIN ST                        10201 S. MAIN STREET                        C/O NEWQUEST PROPERTIES
HOUSTON, TX 77025                      HOUSTON, TX 77025                           8827 W. SAM HOUSTON PARKWAY N., SUITE
                                                                                   200
                                                                                   HOUSTON, TX 77040



LEYDEER MOLINA                         LEY-LANE PARTNERSHIP NO 9 LP                LEYVAS, ORLANDO
10201 S. MAIN STREET                   DEPT 3600                                   10338 W MONTECITO AVE
HOUSTON, TX 77025                      PO BOX 123600                               PHOENIX, AZ 85037-5551
                                       DALLAS, TX 75312-3600




LF STAFFING SERVICES INC               LF2/MCP HARBOR POINT LP                     LFI FT PIERCE INC
LABOR FINDERS                          400 CLEMATIS ST STE 201                     PO BOX 37125
11426 NORTH JOG ROAD                   WEST PALM BEACH, FL 33401                   TALLAHASSEE, FL 32315-7125
PALM BEACH GARDENS, FL 33418




LFIT REALTY LLC                        LG&E                                        LGC PLUMBING INC
NATHALIE GARCIA, EXECUTIVE ASSISTANT   P.O. BOX 9001960                            2612 NATIONAL CIRCLE STE 100
1407 BROADWAY, SUITE 221               LOUISVILLE, KY 40290-1960                   GARLAND, TX 75041
NEW YORK, NY 10018




LGE                                    LGE                                         LGS STAFFING
430 COMMERCE PARK DR                   P.O. BOX 9001960                            3699 CHAMBLEE DUNWOODY RD
MARIETTA, GA 30060                     LOUISVILLE, KY 40290-1960                   ATLANTA, GA 30341




LH NORTH PARK LLC                      LH NORTH PARK, LLC                          LHA EVENTS DBA - PACAJA LLC
1398 ELDRIDGE PKWY STE 210             1398 ELDRIDGE PARKWAY, SUITE 210            19810 FAIR PARK CT
HOUSTON, TX 77077                      HOUSTON, TX 77077                           HUMBLE, TX 77346




LHCT-DKS PARTNERS, L.P.                LHCT-DKS PARTNERS, L.P., LHCT-JBS           LHCT-JBS PARTNERS, L.P.
C/O ROSEWOOD MANAGEMENT                PARTNERS, L.P.,                             C/O ROSEWOOD MANAGEMENT
CORPORATION                            LS PARTNERS, L.P., LHCT-PBS PARTNERS,       CORPORATION
2101 CEDAR SPRINGS ROAD, SUITE 1600    L.P.                                        2101 CEDAR SPRINGS ROAD, SUITE 1600
DALLAS, TX 75201                       C/O ROSEWOOD MANAGEMENT                     DALLAS, TX 75201
                                       CORPORATION
                                       2101 CEDAR SPRINGS ROAD, SUITE 1600
                                       DALLAS, TX 75201

LHCT-LS PARTNERS, L.P.                 LHCT-PBS PARTNERS, L.P                      LHCT-SHS PARTNERS, L.P.
C/O ROSEWOOD MANAGEMENT                C/O ROSEWOOD MANAGEMENT                     C/O ROSEWOOD MANAGEMENT
CORPORATION                            CORPORATION                                 CORPORATION
2101 CEDAR SPRINGS ROAD, SUITE 1600    2101 CEDAR SPRINGS ROAD, SUITE 1600         2101 CEDAR SPRINGS ROAD, SUITE 1600
DALLAS, TX 75201                       DALLAS, TX 75201                            DALLAS, TX 75201
                      Case 18-12241-CSS
LHR RENAISSANCE MARKETPLACE LLC            Doc 26 MARKETPLACE
                                     LHR RENAISSANCE  Filed 10/05/18
                                                                  SOUTH PageLHR
                                                                             1013    of 1739 MARKETPLACE SOUTH,
                                                                                RENAISSANCE
DBA LHR RENAISSANCE MARKETPLACE      LLC                                    LLC
SOUTH LLC                            C/O LEWIS-HILLWOOD RIALTO COMPANY LLC  C/O LEWIS MANAGEMENT CORP.
PO BOX 670                           ATTN ACCOUNTING DEPTPO BOX 670         1156 N. MOUNTAIN AVENUE
UPLAND, CA 91785-0670                UPLAND, CA 91785                       ATTN: DIRECTOR OF PROPERTY
                                                                            MANAGEMENT
                                                                            UPLAND, CA 91785

LHR RENAISSANCE MARKETPLACE SOUTH,     LHRP PHASE 2C LLC                      LI CLYBOURN LLC
LLC                                    RPM COMPANY                            908 N HALSTED
C/O LEWIS MANAGEMENT CORP.             1420 S MILLS STE M                     CHICAGO, IL 60642
1156 N. MOUNTAIN AVENUE                LODI, CA 95242
ATTN: GENERAL COUNSEL
UPLAND, CA 91785


LIA CRAWFORD                           LIA REALTY GROUP                       LIA REALTY GROUP
10201 S. MAIN STREET                   2080 WESTERN AVE STE 115               TOM RENTO
HOUSTON, TX 77025                      GUILDERLAND, NY 12084                  2080 WESTERN AVENUE, SUITE 115
                                                                              GUILDERLAND, NY 12084




LIA REALTY                             LIAM SCOTT                             LIAM TOTTON
TOM RENTO                              10201 S. MAIN STREET                   10201 S. MAIN STREET
2080 WESTERN AVENUE, SUITE 115         HOUSTON, TX 77025                      HOUSTON, TX 77025
GUILDERLAND, NY 12804




LIBBY DAVIS                            LIBERTY INSURANCE UNDERWRITERS INC.    LIBERTY INVESTIGATIONS INC.
10201 S. MAIN STREET                   55 WATER ST.                           6124 HWY 6 N 190
HOUSTON, TX 77025                      NEW YORK, NY 10041                     HOUSTON, TX 77084




LIBERTY LAKE LLC                       LIBERTY LAKE SEWER & WATER             LIBERTY LIFE ASSURANCE COMPANY OF
2825 NW AVIATION DRIVE                 22510 E MISSION AVE.                   BOSTON - GROUP BENEFITS
ROSEBURG, OR 97470                     LIBERTY LAKE, WA 99019-8542            PO BOX 2658
                                                                              CAROL STREAM, IL 60132-2658




LIBERTY LIFE ASSURANCE COMPANY OF      LIBERTY MARTS LLC                      LIBERTY MARTS, LLC
BOSTON                                 2500 DANIELS BRIDGE RD                 2500 DANIELS BRIDGE RD
175 BERKELEY ST                        BLDG 100 2ND FL                        BLDG 100 2ND FL
BOSTON, MA 02116                       ATHENS, GA 30606                       ATHENS, GA 30606




LIBERTY MARTS, LLC                     LIBERTY PROPERTIES                     LIBERTY PROPERTIES
ATTN: KEVIN PRICE                      318 N. COLLEGE STREET                  PO BOX 2225
3651 MARS HILL ROAD, S-100             P.O. BOX 2225                          AUBURN, AL 36831-2225
WATKINSVILLE, GA 30677                 AUBURN, AL 36831-2225




LIBERTY PROPERTY LIMITED PARTNERSHIP   LIBERTY PROPERTY LIMITED PARTNERSHIP   LIBERTY PROPERTY LIMITED PARTNERSHIP
500 CHESTERFIELD PKWY                  ATTN: VICE PRESIDENT/CITY MANAGER      PO BOX 828438
MALVERN, PA 19355                      750 PARK OF COMMERCE BOULEVARD,        PHILADELPHIA, PA 19182
                                       SUITE 220
                                       BOCA RATON, FL 33487



LIBERTY PROPERTY LTD PARTNERSHIP       LIBERTY PROPERTY LTD PARTNERSHIP       LIBERTY PW 2003 LLC
500 CHESTERFIELD PKWY                  PO BOX 828438                          605 W 47TH ST STE 200
MALVERN, PA 19355                      PHILADELPHIA, PA 19182                 KANSAS CITY, MO 64112
LIBERTY PW 2003 LLC    Case 18-12241-CSS
                                      LIBERTYDoc  26 Filed 10/05/18
                                              TRANSPORTATION  INC       PageLIBERTY
                                                                             1014 of  1739 CORP
                                                                                    UTILITIES
C/O BLOCK & COMPANY, INC.             PO BOX 377                             11 NORTHEASTERN BLVD
605 WEST 47TH STREET, SUITE 200       NEW ALEXANDRIA, PA 15670               SALEM, NH 03079
ATTN: PROPERTY MANAGER
KANSAS CITY, MO 64112



LIBERTY UTILITIES CORP               LIBERTY UTILITIES GEORGIA               LIBERTY UTILITIES GEORGIA
P.O. BOX 438                         11 NORTHEASTERN BLVD                    75 REMITTANCE DR. STE. 1918
KEENE, NH 03431-0438                 SALEM, NH 03079                         CHICAGO, IL 60675-1918




LIBERTY UTILITIES NH                 LIBERTY UTILITIES NH                    LIBERTY UTILITIES
11 NORTHEASTERN BLVD                 75 REMITTANCE DR STE 1032               11 NORTHEASTERN BLVD
SALEM, NH 03079                      CHICAGO, IL 60675-1032                  SALEM, NH 03079




LIBERTY UTILITIES                    LIC FRISCO RETAIL PROPERTY INC          LIC FRISCO RETAIL PROPERTY INC
P.O. BOX 52607                       C/O LINCOLN PROP COM. COMMERCIAL INC    LINCOLN PROPERTY CO COMMERCIAL INC
DEPT. 8500                           2000 MCKINNEY AVE STE 1000              2000 MCKINNEY AVE STE 1000
PHOENIX, AZ 85072                    DALLAS, TX 75201                        DALLAS, TX 75201




LIC FRISCO RETAIL PROPERTY INC       LIDYAWATI OYONG                         LIEBERMAN RESEARCH WORLDWIDE
SHOPS PRESTON RIDGE                  10201 S. MAIN STREET                    1900 AVENUE OF THE STARS
2000 MCKINNEY AVE STE 1000           HOUSTON, TX 77025                       FLOOR 16
DALLAS, TX 75201                                                             LOS ANGELES, CA 90067




LIEF INGALLS                         LIESL REVERE                            LIFE LOCK INC
10201 S. MAIN STREET                 10201 S. MAIN STREET                    60 E RIOS SALADO STE 400
HOUSTON, TX 77025                    HOUSTON, TX 77025                       TEMPE, AZ 85281




LIFE SAFETY DESIGNS INC.             LIFE SAFETY SYSTEMS LLC                 LIFE TIME FITNESS INC
3038 LENOX AVE                       PO BOX 64                               2902 CORPORATE PL
JACKSONVILLE, FL 32254               HINCKLEY, OH 44233                      CHANHASSEN, MN 55317




LIFE TIME FITNESS INC                LIFE-LEADERSHIP IS FOR EVERYONE         LIFESTYLE SOLUTIONS INC
ATTN: ACCOUNTS RECEIVABLE            PO BOX 6203                             5555 AUTO MALL PARKWAY
2902 CORPORATE PLACE                 NACOGDOCHES, TX 75962                   FREMONT, CA 94538
CHANHASSEN, MN 55317




LIFESTYLE SOLUTIONS                  LIFETIME PROPERTY I LP                  LIFETIME PROPERTY III LLC
5555 AUTO MALL PKWY                  CO DAVID HASS                           2711 BOONE DR
FREMONT, CA 94538                    2711 BOONE DR                           DELRAY BEACH, FL 33483
                                     DELRAY BEACH, FL 33483




LIFETIME PROPERTY V LLC              LIFETIME PROPERTY V LLC                 LIFT POWER INC
2711 BOONE DR                        ATTN: DAVID HASS                        PO BOX 6548
DELRAY BEACH, FL 33483               316 PINE TREE LN                        JACKSONVILLE, FL 32236
                                     BOULDER, CO 80304
                       Case
LIFT TRUCK SALES & SERVICE INC18-12241-CSS     DocFRANKLIN
                                        LIGHTFOOT    26 Filed  10/05/18
                                                           & WHITE LLC        PageLIGHTFOOT
                                                                                   1015 of 1739
                                                                                            FRANKLIN & WHITE LLC
2720 NICHOLSON AVE                      400 20TH ST NORTH                          THE CLARK BUILDING
KANSAS CITY, MO 64120                   BIRMINGHAM, AL 35203                       400 20TH ST NORTH
                                                                                   BIRMINGHAM, AL 35203




LIGHTHOUSE POINT JOINT VENTURE         LIGHTHOUSE POINT JOINT VENTURE              LIGHTHOUSE SECURITY INC
C/O HOWZE REAL ESTATE SERVICE INC      C/O HOWZE REAL ESTATE SERVICES, INC.        109 EDWARDS AVENUE
5406 26TH ST WEST                      5406 26TH STREET WEST                       CALVERTON, NY 11933
BRADENTON, FL 34207                    BRADENTON, FL 34207




LIGHTMAN SOUTH LAKE CO., LLC           LIGHTOWER                                   LIGHTOWER
C/O STONECREST INVESTMENTS             80 CENTRAL ST                               P.O. BOX 28730
9037 POPLAR AVENUE, SUITE 104          STE 240                                     NEW YORK, NY 10087-8730
ATTN: JAMES POLLEY                     BOXBOROUGH, MA 01719
GERMANTOWN, TN 38138



LIGHTSPAR LLC                          LIGHTSPAR LLC                               LIGHTSTAT INC
15280 ADDISON RD STE 280               PO BOX 2143                                 22 W WEST HILL RD.
ADDISON, TX 75001                      ADDISON, TX 75001-2143                      BARKHAMSTED, CT 06063




LIIBAAN MOHAMED                        LIKE FATHER LIKE SON TRUCKING LLC           LILA GHANI
3945 WEST 141 ST                       4049 S CHIPWOOD DR                          10201 S. MAIN STREET
SAVAGE, MN 55378                       HARVEY, LA 70058                            HOUSTON, TX 77025




LILI RUIZ                              LILIAN MARQUEZ                              LILIANA AGUILA
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025




LILIANA RODRIGUEZ                      LILIANA RODRIGUEZ                           LILIBETH VELASQUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025




LILIVED ROJAS CASTILLO                 LILIYA SANDERS                              LILLIAN ESPARZA
3641 ROCKDALE DR                       10201 S. MAIN STREET                        10201 S. MAIN STREET
DALLAS, TX 75220                       HOUSTON, TX 77025                           HOUSTON, TX 77025




LIMERICK SHOPPING CENTER LP            LIN TELEVISION CORP DBA KNVA                LIN TELEVISION CORP DBA KXAN
C/O BRANDOLINI PROPERTY MGMT INC       ONE W EXCHANGE ST STE 5A                    ONE W EXCHANGE ST STE 5A
1301 LANCASTER AVE                     PROVIDENCE, RI 02903                        PROVIDENCE, RI 02903
BERWYN, PA 19312




LINA ST MARTHE                         LINA WARE                                   LINA WOYCIK
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025
LINCOLN CROSSING LLC   Case 18-12241-CSS    Doc
                                      LINCOLN    26 Filed
                                              CROSSING LLC 10/05/18          PageLINCOLN
                                                                                  1016 of  1739 SYSTEM
                                                                                         ELECTRIC
6336 PERSHING DR                       THE LERNER CO                              1040 O STREET
OMAHA, NE 68110                        10855 W DODGE RD STE 270                   PO BOX 80869
                                       OMAHA, NE 68154                            LINCOLN, NE 68501




LINCOLN ELECTRIC SYSTEM                LINCOLN ELECTRIC SYSTEM                    LINCOLN FINANCIAL GROUP
P.O. BOX 2986                          P.O. BOX 2986                              8801 INDIAN HILLS DR
OMAHA, NE 68103                        OMAHA, NE 68103-2986                       OMAHA, NE 68114




LINCOLN FINANCIAL MEDIA INC            LINCOLN HARRIS, LLC                        LINCOLN JOURNAL STAR
1615 MURRAY CANYON RD. STE710          ATTN: JENNIFER CRUZ, ASSISTANT PM          C/O LEE NEWSPAPER
SAN DIEGO, CA 92108                    4725 PIEDMONT ROW DRIVE                    PO BOX 742548
                                       CHARLOTTE, NC 28210                        CINCINNATI, OH 45274-2548




LINCOLN KIMBALL PLAZA                  LINCOLN LIFE & ANNUITY COMPANY OF NEW      LINCOLN LIFE & ANNUITY COMPANY OF NEW
C/O NATIONAL SHOPPING PLAZAS, INC.     YORK                                       YORK
200 WEST MADISON STREET, SUITE 4200    1300 S CLINTON ST                          PO BOX 7247-0347
CHICAGO, IL 60606                      FORT WAYNE, IN 46802                       PHILADELPHIA, PA 19170-0347




LINCOLN O ST. PROPERTIES LLC           LINCOLN PLACE SC OWNER LLC                 LINCOLN PLACE SC OWNER LLC
ALTERMAN COMMERCIAL REAL ESTATE        0331-005850                                C/O ACADIA REALTY TRUST
PO BOX 191228                          PO BOX 117197                              411 THEODORE FREMD AVENUE, SUITE 300
ATLANTA, GA 31119                      ATLANTA, GA 30368-7197                     ATTN: PROPERTY MANAGEMENT
                                                                                  RYE, NY 10580



LINCOLN PLACE SC OWNER LLC             LINCOLN PROPERTY COMPANY                   LINCOLN PROPERTY COMPANY
PO BOX 117197                          2000 MCKINNEY AVENUE, SUITE 1000           2000 MCKINNEY AVENUE, SUITE 1000
ATLANTA, GA 30368-7197                 ATTN: BRENDA GROTH                         ATTN: KATHY ORTIZ
                                       DALLAS, TX 75201                           DALLAS, TX 75201




LINCOLN PROPERTY COMPANY               LINCOLN PROPERTY COMPANY                   LINCOLN PROPERTY COMPANY
4400 RIDGEFIELD WAY                    HEATHER C. RODRIGUEZ                       MARIA GAASBECK
NASHVILLE, TN 37205                    111 N. MAGNOLIA AVENUE, SUITE 1500         10210 NORTH CENTRAL EXPRESSWAY,
                                       ORLANDO, FL 32801                          SUITE 218
                                                                                  DALLAS, TX 75231



LINCOLN SCOTT                          LINCOLN TRAIL LLC                          LINCOLN WATER & WASTEWATER SYSTEM
10201 S. MAIN STREET                   8008 CARONDELET AVE STE 100                555 SOUTH 10TH ST
HOUSTON, TX 77025                      ST LOUIS, MO 63105                         LINCOLN, NE 68508




LINCOLN WATER & WSTWTR SYSTEM          LINCOLN WATER & WSTWTR SYSTEM              LINCOLN
555 S 10TH ST                          555 SOUTH 10TH STREET                      ATTN: PROPERTY TAX DEPT.
STE 203                                ROOM 203                                   P.O. BOX 541073
LINCOLN, NE 68508                      LINCOLN, NE 68508-2872                     LOS ANGELES, CA 90054-1073




LIND NORTH LLC                         LIND NORTH, L.L.C.                         LINDA A POLITES
NATIONAL SHOPPING PLAZAS INC           C/O NATIONAL SHOPPING PLAZAS, INC.         229 CARTERET AVE
200 W MADISON ST STE 4200              200 WEST MADISON STREET, SUITE 4200        SEASIDE HEIGHTS, NJ 08751-1810
CHICAGO, IL 60606-3465                 CHICAGO, IL 60606-3465
LINDA ANN MILEY         Case 18-12241-CSS     Doc
                                       LINDA ANN   26 Filed 10/05/18
                                                 ONEILL                PageLINDA
                                                                            1017BENYAK
                                                                                 of 1739
923 STAGECOACH DR                       10201 S. MAIN STREET               10201 S. MAIN STREET
GEORGETOWN, TX 78628                    HOUSTON, TX 77025                  HOUSTON, TX 77025




LINDA BOWEN                             LINDA BOYD                         LINDA D BEDOUR
10201 S. MAIN STREET                    10201 S. MAIN STREET               3262 WHISPERING OAK
HOUSTON, TX 77025                       HOUSTON, TX 77025                  DALLAS, TX 75234




LINDA DAILEY                            LINDA DIMARCO                      LINDA EHRLICH
10201 S. MAIN STREET                    10201 S. MAIN STREET               292 ALPINE ST APT1
HOUSTON, TX 77025                       HOUSTON, TX 77025                  PASADENA, CA 91106




LINDA FAIN                              LINDA FAUKE                        LINDA FEDOR
10562 SILVER OAK LANE                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77038                       HOUSTON, TX 77025                  HOUSTON, TX 77025




LINDA GRITTON                           LINDA HAMELIN                      LINDA HARDIN
1221 N. ELSEA SMITH RD.                 3150 PINEGATE DR                   10201 S. MAIN STREET
INDEPENDENCE, MO 64056                  FLUSHING, MI 48433                 HOUSTON, TX 77025




LINDA HUTH                              LINDA JEAN EATON                   LINDA LAUER
10201 S. MAIN STREET                    1060 WOLF CREEK RD                 10201 S. MAIN STREET
HOUSTON, TX 77025                       LORENA, TX 76655                   HOUSTON, TX 77025




LINDA MCKEON                            LINDA MESEROLE                     LINDA MIDDLETON - STATE FARM
10201 S. MAIN STREET                    10201 S. MAIN STREET               AUTOMOBILE INS CO
HOUSTON, TX 77025                       HOUSTON, TX 77025                  17301 PRESTON ROAD
                                                                           DALLAS, TX 75252




LINDA ROGERS                            LINDA SCHEPPS                      LINDA SHELLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




LINDA SJORGREN                          LINDA SMITH                        LINDA TORRES
1809 THORPE ST                          10201 S. MAIN STREET               1668 APRICOT TREE CIRCLE
BIG SPRING, TX 79720                    HOUSTON, TX 77025                  LAS VEGAS, NV 89142




LINDA VANOSTRAND JANETIS                LINDA WAUSON                       LINDA WAUSON
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025
LINDEN PLAZA LLC       Case    18-12241-CSS
                                         LINDEN Doc  26
                                                PLAZA, LLC Filed 10/05/18     PageLINDQUIST
                                                                                   1018 of GLASS
                                                                                            1739
8 INDUSTRIAL WAY EAST 2ND FL               C/O WHARTON REALTY GROUP, INC.         16358 SW 72ND AVE BLDG 4
EATONTOWN, NJ 07724                        8 INDUSTRIAL WAY EAST, 2ND FLOOR       PORTLAND, OR 97224-7749
                                           EATONTOWN, NJ 07724




LINDSAY BLOMBERG                           LINDSAY BLOMBERG                       LINDSAY COOPER
6121 HUNTER ST                             6121 HUNTER ST                         10201 S. MAIN STREET
KANSAS CITY, MO 64133                      RAYTOWN, MO 64133                      HOUSTON, TX 77025




LINDSAY E BOWMAN                           LINDSAY KOEHLER                        LINDSAY LAWRENCE
                                           10201 S. MAIN STREET                   10201 S. MAIN STREET
                                           HOUSTON, TX 77025                      HOUSTON, TX 77025




LINDSAY LITTLE                             LINDSAY LITTLE                         LINDSAY MARINO
10201 S. MAIN STREET                       10201 S. MAIN STREET                   1 GRIMES DR
HOUSTON, TX 77025                          HOUSTON, TX 77025                      SIMPSONVILLE, SC 29681




LINDSAY MCKAY                              LINDSAY MEYER                          LINDSAY SCHIMMER
10201 S. MAIN STREET                       2950 LANSFORD AVE                      6811 SIMMONS WAY
HOUSTON, TX 77025                          SAN JOSE, CA 95125                     MOORPARK, CA 93021




LINDSAY SCHUYLER                           LINDSAY SMITH                          LINDSAY SPLETTER
10201 S. MAIN STREET                       10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                      HOUSTON, TX 77025




LINDSAY TAYLOR                             LINDSEY ALLISON                        LINDSEY BOWENS
10201 S. MAIN STREET                       22615 HOG EYE RD                       2117 VETERANS BLVD 282
HOUSTON, TX 77025                          ELGIN, TX 78621                        METAIRIE, LA 70002




LINDSEY BRAY                               LINDSEY HOOK                           LINDSEY J SMITH
10301 DEVONSHIRE RD 219                    4865 HORSESHOE RD                      627 LAKE SHORE DR
MINNEAPOLIS, MN 55431                      DANVILLE, VA 24541                     SUNSET BEACH, NC 28468




LINDSEY JOHNSTON                           LINDSEY KAZNAK                         LINDSEY KELLAWAY
10201 S. MAIN STREET                       813 E CHESTNUT ST                      5625 TWITTY ST
HOUSTON, TX 77025                          JEFFERSONVILLE, IN 47130               THE COLONY, TX 75056




LINDSEY KNUDSEN                            LINDSEY MCATEER                        LINDSEY MOREAU
10201 S. MAIN STREET                       10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                      HOUSTON, TX 77025
LINDSEY SHEPPARD       Case     18-12241-CSS    Doc
                                          LINDSEY    26 Filed 10/05/18
                                                  WALKER                      PageLINDSEY
                                                                                   1019 of  1739
                                                                                          WARD
6913 OAK SPRING WAY                       10201 S. MAIN STREET                    7169 NW 16TH
CITRUS HEIGHTS, CA 95621                  HOUSTON, TX 77025                       BETHANY, OK 73008




LINDSEY ZARBECK                           LINDSEYS NORTHWEST OFFICE FURNITURE     LINDY HAWKINS
10201 S. MAIN STREET                      INC                                     10201 S. MAIN STREET
HOUSTON, TX 77025                         12230 NORTHWEST FWY                     HOUSTON, TX 77025
                                          HOUSTON, TX 77092




LINEAGE 410 RETAIL LLC                    LINEAR RETAIL CAMBRIDGE 1 LLC           LINEAR RETAIL CAMBRIDGE 1 LLC
ATTN: LARRY SCHWENKER                     5 BURLINGTON WOODS DR                   C/O KEYPOINT PARTNERS, LLC
9601 MCALLISTER FWY STE 1100              STE 107                                 ONE BURLINGTON WOODS DRIVE
SAN ANTONIO, TX 78216                     BURLINGTON, MA 01803                    BURLINGTON, MA 01803




LINEAR RETAIL CAMBRIDGE 1 LLC             LINEAR RETAIL CAMBRIDGE 1 LLC           LINEAR RETAIL DEDHAM 1 LLC
CAMBRIDGE SAVINGS BANK                    PO BOX 984001                           5 BURLINGTON WOODS DR
PO BOX 984001                             BOSTON, MA 02298                        STE 107
BOSTON, MA 02298                                                                  BURLINGTON, MA 01803




LINEAR RETAIL DEDHAM 1 LLC                LINEAR RETAIL DEDHAM 1 LLC              LINEAR RETAIL DEDHAM 1 LLC
ATTN: JARED JAMMAL                        CAMBRIDGE SAVINGS BANK                  P.O. BOX 984001
5 BURLINGTON WOODS DRIVE, SUITE 107       PO BOX 984001                           BOSTON, MA 02298
BURLINGTON, MA 01803                      BOSTON, MA 02298




LINEAR RETAIL MANCHESTER 1 LLC            LINEAR RETAIL MANCHESTER 1 LLC          LINEAR RETAIL NASHUA 1 LLC
C/O LINEAR RETAIL PROPERTIES, LLC         PO BOX 23                               C/O LINEAR RETAIL PARTNERS LLC
FIVE BURLINGTON WOODS DRIVE               WORCESTER, MA 01614-0023                FIVE BURLINGTON WOODS DRIVE
BURLINGTON, MA 01803                                                              ATTN: WILLIAM J. BECKEMAN
                                                                                  BURLINGTON, MA 01803



LINEAR RETAIL NASHUA 1 LLC                LINEAR RETAIL NASHUA 1 LLC              LINEAR RETAIL NASHUA 1 LLC
PO BOX 845820                             C/O LINEAR RETAIL PARTNERS LLC          PO BOX 984001
BOSTON, MA 02284-5820                     FIVE BURLINGTON WOODS DRIVE             BOSTON, MA 02298
                                          ATTN: WILLIAM J. BECKEMAN
                                          BURLINGTON, MA 01803



LINEAR RETAIL PROPERTIES LLC              LINEAR RETAIL RAYNHAM 1 LLC             LINEAR RETAIL RAYNHAM 1 LLC
5 BURLINGTON WOODS DR                     C/O LINEAR RETAIL PROPERTIES, LLC       CAMBRIDGE SAVINGS BANK
BURLINGTON, MA 01803                      5 BURLINGTON WOODS DRIVE                PO BOX 984001
                                          BURLINGTON, MA 01803                    BOSTON, MA 02298




LINEAR RETAIL RAYNHAM 1 LLC               LINEAR RETAIL RAYNHAM 1 LLC             LINEAR RETAIL RAYNHAM 1, LLC
5 BURLINGTON WOODS DR                     PO BOX 984001                           C/O LINEAR RETAIL PROPERTIES, LLC
STE 107                                   BOSTON, MA 02298                        5 BURLINGTON WOODS DRIVE
BURLINGTON, MA 01803                                                              BURLINGTON, MA 01803




LINEAR RETAIL WESTBOROUGH 1 LLC           LINEAR RETAIL WESTBOROUGH 1 LLC         LINEAR RETAIL WESTBOROUGH 1, LLC
C/O COMMERCE BANK                         PO BOX 23-G                             C/O COMMERCE BANK
PO BOX 23-G                               WORCESTER, MA 01614                     PO BOX 23-G
WORCESTER, MA 01614-0023                                                          WORCESTER, MA 01614-0023
                      Case1, 18-12241-CSS
LINEAR RETAIL WESTBOROUGH    LLC       LINEAR Doc  26
                                              RETAIL    Filed 10/05/18
                                                     WESTBOROUGH 1, LLC         PageLINEAR
                                                                                     1020 RETAIL
                                                                                           of 1739
                                                                                                 WOBURN 1 LLC
C/O KEYPOINT PARTNERS, LLC             PO BOX 23-G                                   5 BURLINGTON WOODS DR
1 BURLINGTON WOODS DRIVE               WORCESTER, MA 01614                           STE 107
BURLINGTON, MA 01803                                                                 BURLINGTON, MA 01803




LINEAR RETAIL WOBURN 1 LLC              LINEAR RETAIL WOBURN 1 LLC                   LINEBARGER GOGGAN BLAIR & SAMSON LLP
P.O. BOX 23                             PO BOX 23                                    4828 LOOP CENTRAL DR STE 600
WORCESTER, MA 01614-0023                WORCESTER, MA 01614-0023                     HOUSTON, TX 77081




LINKEDIN CORPORATION                    LINKLATERS LLP                               LINKLATERS LLP
62228 COLLECTIONS CENTER DR             1345 AVENUE OF THE AMERICAS                  COUNSEL FOR STEINHOFF INTERNATIONAL
CHICAGO, IL 60693-0622                  19TH FLOOR                                   HOLDINGS N.V.
                                        NEW YORK, NY 10105                           ATTN: AMY EDGY AND CHRISTOPHER
                                                                                     HUNKER
                                                                                     1345 AVENUE OF THE AMERICAS
                                                                                     NEW YORK, NY 10105

LINKSIDE SHOPPES                        LINVAL SHIELDS DBA U PACK WE HAUL INC        LINVILL PROPERTIES, INC.
250 N ORANGE AVE STE 1500               1784 NW 38TH AVE                             2210 EAST 117TH STREET
ORLANDO, FL 32801                       LAUDERHILL, FL 33311                         BURNSVILLE, MN 55337




LINWOOD MALL LLC                        LINWOOD MALL LLC                             LION SPORTS
192 LEXINGTON AVE 6TH FL                192 LEXINGTON AVE, 6TH FLOOR                 701 KOEHLER AVE STE 2
NEW YORK, NY 10016                      NEW YORK, NY 10016                           RONKONKOMA, NY 11779




LIONEL BRADDOCK                         LIONEL RIPERT                                LIONEL S BRADDOCK
10201 S. MAIN STREET                    10201 S. MAIN STREET                         1211 E HOLLAND AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                            SAGINAW, MI 48601




LIONSHARE MEDIA SERVICES INC            LIOR SHECHTER                                LIPPES MATHIAS WEXLER FRIEDMAN LLP
PO BOX 222987                           10201 S. MAIN STREET                         ATTN: MARCIA ZGODA
CARMEL, CA 93922                        HOUSTON, TX 77025                            50 FOUNTAIN PLAZA, SUITE 1700
                                                                                     BUFFALO, NY 14202-2216




LIPPES MATHIAS WEXLER FRIEDMAN LLP      LIPPMAN & REED PLLC                          LIPPOW DEVELOPMENT CO.
ATTN: PAUL WELLS, ESQ.                  5447 E 5TH ST STE 249                        ATTN: LARRY LIPPOW, PRESIDENT/CEO
50 FOUNTAIN PLAZA, SUITE 1700           TUCSON, AZ 85711                             610 LAS JUNTAS STREET
BUFFALO, NY 14202                                                                    MARTINEZ, CA 94553




LIPPOW/DYSART 2 LLC                     LIPPOW/DYSART 2 LLC                          LIPT NORTH SCOTTSDALE ROAD LLC
C/O COMMERCIAL PROPERTIES, INC.         COMMERCIAL PROPERTIES INC                    C/O LASALLE INVESTMENT MANAGEMENT,
7025 NORTH SCOTTSDALE ROAD, SUITE 220   2323 WEST UNIVERSITY DR                      INC.
SCOTTSDALE, AZ 85253-3675               TEMPE, AZ 85281                              333 WEST WACKER DRIVE
                                                                                     CHICAGO, IL 60606



LIPT NORTH SCOTTSDALE ROAD LLC          LIQUID WASTE SOLUTIONS                       LIQUID WASTE SOLUTIONS
PO BOX 741028                           1330 SHERWOODFOREST 104                      650 W BOUGH LN STE 150-204
LOS ANGELES, CA 90074-1028              HOUSTON, TX 77043                            HOUSTON, TX 77024
LISA ABRAMS            Case 18-12241-CSS     Doc 26
                                      LISA ALCALDE        Filed 10/05/18   PageLISA
                                                                                1021   of 1739
                                                                                    BELK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




LISA BESANT                            LISA BLENIS                              LISA BLUEMKE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




LISA BURBINE                           LISA BYERLEE                             LISA BYERS
10201 S. MAIN STREET                   3403 W HOWARD AVE                        10201 S. MAIN STREET
HOUSTON, TX 77025                      VISALIA, CA 93277                        HOUSTON, TX 77025




LISA CAPERTON                          LISA COLLINS-KELLY                       LISA COPENHAVER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     4449 VIRGINIA AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                        ST LOUIS, MI 63111




LISA DENE MAYER                        LISA DICHIARA                            LISA DUFFERT
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




LISA E DUPRE                           LISA EVANS                               LISA FOX
5800 AZTECA DRIVE                      10201 S. MAIN STREET                     10201 S. MAIN STREET
FORT WORTH, TX 76112                   HOUSTON, TX 77025                        HOUSTON, TX 77025




LISA FRANKS                            LISA GAGNON                              LISA GEORGE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     26 CARRICK DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                        BELLA VISTA, AR 72715




LISA HAMERSTONE                        LISA HEATH                               LISA HEGARTY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




LISA HILTEN                            LISA JAFFURS                             LISA KRUASUWAN SCHNEITER DBA LOTUS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     TRUST
HOUSTON, TX 77025                      HOUSTON, TX 77025                        4675 MACARTHUR COURT 1600
                                                                                NEWPORT BEACH, CA 92660




LISA LEAL                              LISA M MENARD                            LISA M TANNER
10201 S. MAIN STREET                   5084 FAIRMONT RD                         1151 W RIVERDALE RD
HOUSTON, TX 77025                      SMYRNA, GA 30082                         OGDEN, UT 84405
LISA MCKEE             Case 18-12241-CSS     Doc 26
                                      LISA MONITA         Filed 10/05/18    PageLISA
                                                                                 1022  of 1739
                                                                                     MONITA
10201 S. MAIN STREET                    18810 COVE CISTA LANE                   18810 COVE VISTA LANE
HOUSTON, TX 77025                       CYPRESS, TX 77433                       CYPRESS, TX 77433




LISA ORLIC                              LISA PACE                               LISA PEPPER
7301 E BRAINERD RD APT C-3              820 CREEKSIDE DR                        10201 S. MAIN STREET
CHATTANOOGA, TN 37421                   MESQUITE, TX 75181                      HOUSTON, TX 77025




LISA PRECIADO                           LISA RAGER                              LISA ROY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




LISA RYAN                               LISA SCHMIDT                            LISA SCHMIDT
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




LISA SCHNEITER TRUSTEE OF LOTUS TRUST   LISA SCHNEITER, TRUSTEE OF LOTUS        LISA SIMMONS
NEWMARK GRUBB KNIGHT FRANK              TRUST                                   10201 S. MAIN STREET
PROPERTY MGMT                           C/O NEWMARK KNIGHT FRANK                HOUSTON, TX 77025
1899 PENNSYLVANIA AVE NW SUITE 300      1899 PENNSYVANIA AVENUE NW, SUITE 300
WASHINGTON, DC 20006                    ATTN: PROPERTY MANAGEMENT
                                        WASHINGTON, DC 20006


LISA SNELL                              LISA SPIEGEL                            LISA TOBIAS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




LISA TORRES                             LISA VANG                               LISA W MILLER & ASSOCIATES LLC
10201 S. MAIN STREET                    119 W 9TH ST                            4626 MILL CREEK RD.
HOUSTON, TX 77025                       STOCKTON, CA 95206                      DALLAS, TX 75244




LISA WERNER                             LISA WILLIAMS                           LISA WILSON
                                        10201 S. MAIN STREET                    10201 S. MAIN STREET
                                        HOUSTON, TX 77025                       HOUSTON, TX 77025




LISA WOLFE                              LISA YOUNG                              LISANDRO SEPULVEDA
707 COUNTRY ACRES DR                    10201 S. MAIN STREET                    10201 S. MAIN STREET
JOHNSTOWN, CO 80534                     HOUSTON, TX 77025                       HOUSTON, TX 77025




LISBETH JIMENEZ                         LISBON INVESTORS L.L.C                  LISBON INVESTORS, LLC
10201 S. MAIN STREET                    1765 MERRIMAN RD                        1765 MERRIMAN RD
HOUSTON, TX 77025                       AKRON, OH 44313                         AKRON, OH 44313
LISBON                Case   18-12241-CSS
                                       LISETTEDoc 26
                                               PONCE       Filed 10/05/18   PageLISETTE
                                                                                 1023 of  1739
                                                                                        REYES
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                    10201 S. MAIN STREET
1 NEWENT RD                             HOUSTON, TX 77025                       HOUSTON, TX 77025
LISBON, CT 06351




LISHA BYRNES                            LISHAWN MCRAE                           LISSA ANN PAXTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    1924 PACES LANDING AVE 2234
HOUSTON, TX 77025                       HOUSTON, TX 77025                       ROCK HILL, SC 29732




LISSA THOMAS                            LISSA WHELAN                            LISSET GARCIA
10201 S. MAIN STREET                    2121 SUN STRUCK CT.                     10201 S. MAIN STREET
HOUSTON, TX 77025                       SAN JOSE, CA 95125                      HOUSTON, TX 77025




LISSETTE FERNANDEZ                      LITCHFIELD CAVO LLP                     LITCHFIELD CAVO LLP
7331 NW 74TH ST                         303 WEST MADISON ST STE 300             ACCOUNTS RECEIVABLE
MEDLEY, FL 33166                        CHICAGO, IL 60606                       303 WEST MADISON ST STE 300
                                                                                CHICAGO, IL 60606




LITTLE LITTLE                           LITTLE RIVER PLAZA LLC                  LITTLE RIVER PLAZA LLC
10201 S. MAIN STREET                    C/O MARK GREENBERG REAL ESTATE          PO BOX 28
HOUSTON, TX 77025                       PO BOX 28                               WATERTOWN, CT 06795
                                        WATERTOWN, CT 06795




LITTLE RIVER PLAZA, LLC                 LITTLE SUMTER SERVICE AREA              LITTLE THOMPSON WATER DIST
C/O MARK GREENBERG REAL ESTATE          984 OLD MILL RUN                        835 E STATE HIGHWAY 56
P.O. BOX 28                             THE VILLAGES, FL 32162-1675             BERTHOUD, CO 80513-9237
WATERTOWN, CT 06795




LITTLE THOMPSON WATER DIST              LITTLE THOMPSON WATER DISTRICT          LITTLE, ELSIE
835 E. STATE HWY 56                     835 E STATE HWY 56                      1114 ST. LAWRENCE AVE.
BERTHOUD, CO 80513-9237                 BERTHOUD, CO 80513-9237                 BRONX, NY 10472




LITTLER MENDELSON PC                    LITTLETON SQUARE                        LIV KNOX
PO BOX 45547                            PO BOX 676481                           10201 S. MAIN STREET
SAN FRANCISCO, CA 94145                 DALLAS, TX 75267                        HOUSTON, TX 77025




LIVE NATION MARKETING INC               LIVE NATION WORLDWIDE INC               LIVE NATION WORLDWIDE INC
DEPT LA23616                            1800 N HIGHLAND AVE 2ND FL              2050 ENTERTAINMENT CIRCLE
PASADENA, CA 91185-3616                 HOLLYWOOD, CA 90028                     CHULA VISTA, CA 91911




LIVE OAK FIRE DEPARTMENT                LIVE OAK-GOTTRESMAN LLC                 LIVEPERSON INC
8001 SHIN OAK DR                        2705 BEE CAVE ROAD SUITE 230            475 TENTH AVE FIFTH FLOOR
LIVE OAK, TX 78233                      AUSTIN, TX 78746                        NEW YORK, NY 10018
LIVERAMP INC           Case   18-12241-CSS     Doc 26
                                        LIVINGSOCIAL       Filed 10/05/18   PageLIVINGSTON
                                                                                 1024 of 1739
                                                                                           INTERNATIONAL
225 BUSH ST 17TH FLOOR                   1445 NEW YORK AVE NW STE 200            150 PIERCE RD STE 500
SAN FRANCISCO, CA 94104                  WASHINGTON, DC 20005                    ITASCA, IL 60143-1222




LIVINGSTON INTERNATIONAL                 LIVINGSTON PARISH TAX COLLECTOR         LIVINGSTON TOWNSHIP
440 S LASALLE ST STE 3220                PO BOX 370                              ATTN: TOWN COLLECTOR
CHICAGO, IL 60605                        LIVINGSTON, LA 70754-0370               357 SO. LIVINGSTON AVE
                                                                                 LIVINGSTON, NJ 07039




LIVINGSTON                               LIVINGSTON                              LIZ DELGADO
6700 COTE DE LIESSE                      ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET
BUREAU 300                               6700 COTE DE LIESSE BUREAU 300          HOUSTON, TX 77025
ST LAURENT, PQ H4T 2B5                   ST LAURENT, QC H4T 2B5
CANADA                                   CANADA



LIZ DULZO                                LIZ JARAMILLO                           LIZ LUCAS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




LIZ MARIE BLOG LLC                       LIZ NITZKY                              LIZ PEEK
9510 KALAMAZOO AVE                       10201 S. MAIN STREET                    10201 S. MAIN STREET
CALEDONIA, MI 49316                      HOUSTON, TX 77025                       HOUSTON, TX 77025




LIZ PERROTTI                             LIZ SPINA                               LIZA FLEISSIG
10201 S. MAIN STREET                     10201 S. MAIN STREET                    1049 PARK AVE 5B
HOUSTON, TX 77025                        HOUSTON, TX 77025                       NEW YORK, NY 10028




LIZA KOHLER                              LIZABETH L HARRY                        LIZBEN ENTERPRISES LLC
5481 PRINCESS VIEW PLACE                 1030 CEDARBRIDGE AVE 2M                 C/O BRAD SHEPHERD
SAN DIEGO, CA 92120                      BRICK, NJ 08723                         PO BOX 370
                                                                                 WEST JORDAN, UT 84084




LIZBEN ENTERPRISES, LLC                  LIZDERLING ARANGO                       LIZETH MINJAREZ ALANIZ
10535 SOUTH STATE STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
SANDY, UT 84070                          HOUSTON, TX 77025                       HOUSTON, TX 77025




LIZMARIE MALDONADO                       LIZZ WARREN                             LKB 1 INVESTMENTS, LLC & LKB 2
10201 S. MAIN STREET                     10201 S. MAIN STREET                    INVESTMENTS, LLC
HOUSTON, TX 77025                        HOUSTON, TX 77025                       C/O REGIONS WEALTH MANAGEMENT
                                                                                 10950 LINCOLN TRAIL
                                                                                 ATTN: RYAN REIFSCHNEIDER
                                                                                 FAIRVIEW HEIGHTS, IL 62208


LKB1 INVESTMENTS LLC                     LKB1 INVESTMENTS LLC                    LKS ASSOCIATES LP
10950 LINCOLN TRAIL                      C/O REGIONS WEALTH MGMT                 PO BOX 865071
FAIRVIEW HEIGHTS, IL 62208               ATTN RYAN REIFSCHNEIDER10950 LINCOLN    ORLANDO, FL 32886-5071
                                         TRAIL
                                         FAIRVIEW HEIGHTS, IL 62208
LKS ASSOCIATES, L.P.    Case 18-12241-CSS     Doc
                                       LLB&B INC   26ESTATE
                                                 REAL    Filed   10/05/18     PageLLC
                                                                                   1025   of 1739 PREMIUM OUTLETS
                                                                                      PHILADELPHIA
C/O LOEB PARTNERS REALTY, LLC          5418 OLD SHELL RD                           ATTN: INCOME TAX DEPT.
521 FIFTH AVENUE, SUITE 2800           MOBILE, AL 36608                            PO BOX 8409
ATTN: JOSEPH LESSER                                                                PHILADELPHIA, PA 19101-8409
NEW YORK, NY 10175



LLHPCP LTD                              LLOYD CODADA                               LLOYD FREEMAN
1001 WEST LOOP SOUTH STE 600            10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77027                       HOUSTON, TX 77025                          HOUSTON, TX 77025




LLOYD GODFREY                           LLOYD J. GUILLOT JR DBA RAINBOW            LLOYD J. GUILLOT JR DBA RAINBOW
2300 COVE POINT                         COVINGTON PROPERTIES LLC                   COVINGTON PROPERTIES LLC
POWELL, OH 43065                        15051 DENDINGER DR                         15051 DENDINGER DR
                                        COVINGTON, LA 70433                        COVINGTON, LA 70433




LLOYD NIVENS                            LLOYD SCOTT GILDOW                         LLOYD STAFFING INC
10201 S. MAIN STREET                    DBA T/A BEACH DELIVERY COMPANY             LLOYD STAFFING
HOUSTON, TX 77025                       4304 HILLCREST FARMS CIRCLE                445 BROADHOLLOW RD STE 119
                                        VIRGINIA BEACH, VA 23456                   MELVILLE, NY 11747




LLOYD STAFFING                          LM COMMUNICATIONS OF KY LLC WBTF-FM        LM COMMUNICATIONS OF KY LLC WBVX-FM
445 BROADHOLLOW RD STE 119              401 W MAIN ST STE 301                      401 W MAIN ST STE 301
MELVILLE, NY 11747                      LEXINGTON, KY 40502                        LEXINGTON, KY 40502




LM COMMUNICATIONS OF KY LLC             LM COMMUNICATIONS OF KY LLC                LMC SHOREWOOD LLC
401 W MAIN ST STE 301                   DBA WLXGAM WGKSFM WCDAFM                   C/O LS CAPITAL INC
LEXINGTON, KY 40502                     401 W MAIN ST STE 301                      13949 VENTURA BLVD STE 300
                                        LEXINGTON, KY 40507                        SHERMAN OAKS, CA 91423




LMC SHOREWOOD LLC                       LMD INVEST, LLC                            LMP WORLD WIDE
C/O LS CAPITAL INC                      C/O THALHIMER, AS AGENT FOR L&J            4936 TECHNICAL DR
13949 VENTURA BOULEVARD, SUITE 300      PROPERTY, LLC                              MILFORD, MI 48381
SHERMAN OAKS, CA 91423                  11100 WEST BROAD STREET
                                        ATTN: DANA SCHNURMAN & JAMES ASHBY IV
                                        GLEN ALLEN, VA 23060


LMR SILVERLAKE NORTH LTD                LMR SILVERLAKE NORTH LTD                   LMR SILVERLAKE NORTH LTD
1207 ANTOINE DR                         3301 EDLOE ST                              C/O LASCO DEVELPOMENT CORP
HOUSTON, TX 77055                       HOUSTON, TX 77027                          1207 ANTOINE DR
                                                                                   HOUSTON, TX 77055




LMR SILVERLAKE NORTH, LTD.              LMR SILVERLAKE NORTH, LTD.                 LN DAMONTE RANCH TOWN CENTER, LLC
3301 EDLOE #10                          C/O LASCO DEVELPOMENT CORP                 C/O LEWIS OPERATING CORP.
1207 ANTOINE DRIVE                      1207 ANTOINE DR                            5240 POLARIS AVE
HOUSTON, TX 77027                       HOUSTON, TX 77055                          LAS VEGAS, NV 89118-1737




LN DAMONTE RANCH TOWN CENTER, LLC       LN DAMONTE RANCH TOWN CTR LLC              LNP MEDIA GROUP INC
C/O LEWIS OPERATING CORP.               PROP MGMT/LEWIS OP GRP                     8 WEST KING ST
54240 SOUTH POLARIS AVENUE              5240 POLARIS AVE                           PO BOX 1328
ATTN: DIRECTOR OF PROPERTY              LAS VEGAS, NV 89118-1737                   LANCASTER, PA 17608-1328
MANAGEMENT
LAS VEGAS, NV 89118-1737
LO COST MAINTENANCE      Case 18-12241-CSS    Doc 26
                                        LO NGUYEN         Filed 10/05/18     PageLOAD
                                                                                  1026  of 1739LOGISTICS LLC
                                                                                      DELIVERED
PO BOX 2152                             10201 S. MAIN STREET                      750 NORTH ORLEANS ST STE 100
PEARL CITY, HI 96782                    HOUSTON, TX 77025                         CHICAGO, IL 60654




LOAD DELIVERED                          LOBURS AUTO TRIM INC                      LOCAL AURORA LLC
PO BOX 74008032                         338 25 1/2 ST                             C/O EDGEMARK ASSET MANAGEMENT LLC
CHICAGO, IL 60674-8032                  VIRGINIA BEACH, VA 23451                  2215 YORK ROAD, SUITE 503
                                                                                  OAK BROOK, IL 60523




LOCAL AURORA LLC                        LOCAL GOLF CARS LLC DBA GRAPEVINE         LOCAL HIRES
C/O EDGEMARK ASSET MGMT LLC             GOLF CARS                                 1776 W. HORIZON RIDGE PKWY 100
2215 YORK RD STE 503                    1380 W NW HWY                             HENDERSON, NV 89012
OAK BROOK, IL 60523                     GRAPEVINE, TX 76051




LOCAL LZ ONE LLC                        LOCAL LZ ONE LLC                          LOCAL LZ ONE LLC
C/O CAPCOR MGMT                         3939 WASHINGTON AVE STE 230               C/O CAPCOR MGMT
3939 WASHINGTON AVE STE 230             HOUSTON, TX 77007                         3939 WASHINGTON AVE STE 230
HOUSTON, TX 77007                                                                 HOUSTON, TX 77007




LOCAL LZ ONE LLC                        LOCAL MEDIA GROUP INC                     LOCAL MEDIA GROUP INC
CAPCOR MGMT                             DBA POCONO RECORD                         TIMES HERALD RECORD
3939 WASHINGTON AVE STE 230             511 LENOX ST                              40 MULBERRY ST
HOUSTON, TX 77007                       STROUDSBURG, PA 18360                     MIDDLETOWN, NY 10940




LOCAL MEDIA SAN DIEGO LLC               LOCAL MEDIA SAN DIEGO                     LOCAL SANDY IL, LLC
6160 CORNERSTONE CT E STE 150           6160 CORNERSTONE CT. E 150                C/O DEFALCO & FERNANDEZ, LLLP
SAN DIEGO, CA 92121                     SAN DIEGO, CA 92121-3720                  777 BRICKELL AVENUE, STE 610
                                                                                  ATTN: CHRISTOPE DEFALCO
                                                                                  MIAMI, FL 33131



LOCAL SANDY IL, LLC                     LOCAL SANDY IL, LLC                       LOCAL WASTE SERVICES LLC
C/O DEFALCO & FERNANDEZ, LLLP           C/O EDGEMARK ASSET MANAGEMENT, LLC        1300 SOUTH COLUMBUS AIRPORT ROAD
777 BRICKELL AVENUE, STE 610            2215 YORK ROAD, STE 503                   COLUMBUS, OH 43207
ATTN: CHRISTOPHE DEFALCO                OAK BROOK, IL 60523
MIAMI, FL 33131



LOCAL WASTE SERVICES LLC                LOCAL WESTGATE LLC                        LOCKE LORD LLP
P.O. BOX 554747                         3939 WASHINGTON AVE STE 230               2200 ROSS AVE STE 2800
DETROIT, MI 48255-4747                  HOUSTON, TX 77007                         DALLAS, TX 75201




LOCKE LORD LLP                          LOCKPORT L7 LLC                           LOCKPORT L7 LLC
24259 NETWORK PLACE                     2610 LAKE COOK RD STE 100                 C/O GMX REAL ESTATE GROUP, LLC
CHICAGO, IL 60673-1242                  RIVERWOODS, IL 60015                      3000 DUNDEE ROAD, SUITE 408
                                                                                  ATTN: ANDREW S. GOODMAN
                                                                                  NORTHBROOK, IL 60062



LOCKPORT L7 LLC                         LOCKSMITH PLUS                            LOCKWOOD ASSOCIATES
C/O JANKO GROUP                         6805 W COMMERCIAL BLVD 160                150 N BROAD ST
2610 LAKE COOK ROAD, SUITE 100          TAMARAC, FL 33319                         PHILADELPHIA, PA 19102
ATTN: GARY R. JANKO
RIVERWOODS, IL 60015
LOCKWOOD ASSOCIATES Case 18-12241-CSS     DocASSOCIATES
                                   LOCKWOOD    26 Filed 10/05/18 PageLOCKWOOD
                                                                       1027 of 1739
                                                                                 ASSOCIATES
7978 COOPER CREEK BLVD STE 100     C/O BENDERSON DEVELOPMENT COMPANY  PO BOX 823201
UNIVERSITY PARK, FL 34201          7978 COOPER CREEK BOULEVARD, SUITE PHILADELPHIA, PA 19182-3201
                                   100
                                   ATTN: HEATHER FAVA
                                   UNIVERSITY PARK, FL 34201


LODER CONSTRUCTION INC               LODGING ECONOMETRICS INC             LOEB PARTNERS REALTY, LLC
4168 DOUGLAS BLVD STE 100            500 MARKET ST STE 13                 521 FIFTH AVENUE, SUITE 2800
GRANITE BAY, CA 95746                PORTSMOUTH, NH 03801                 NEW YORK, NY 10175




LOEB PARTNERS REALTY, LLC            LOFT GROUP LLC                       LOFTBPO
ATTN: GARY L. NAUGHTON, SVP          351 W HUBBARD ST STE 400             222 W HUBBARD ST 2ND FL
521 FIFTH AVENUE, SUITE 2800         CHICAGO, IL 60654                    CHICAGO, IL 60654
NEW YORK, NY 10175




LOFTBPO                              LOFTIN EQUIPMENT COMPANY INC         LOFTIN EQUIPMENT COMPANY INC
520 N KINGSBURY APT 3810             P.O. BOX 6590                        PO BOX 10376
CHICAGO, IL 60654                    PHOENIX, AZ 85005                    PHOENIX, AZ 85064




LOFTUS PROPERTIES LLC                LOFTUS PROPERTIES LLC                LOFTUS PROPERTIES LLC
113 WHEATSBURY DRIVE                 ATTN: ELLEN HAMMEKE                  COLLIERS INTERNATIONAL
ATTN: ELLEN HAMMEKE                  113 WHEATSBURY DRIVE                 PO BOX 11610
CARY, NC 27513                       CARY, NC 27513                       COLUMBIA, SC 29211




LOGAN AVRITT                         LOGAN BARKLEY                        LOGAN BERGQUIST
10201 S. MAIN STREET                 10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                    HOUSTON, TX 77025




LOGAN BLAIR                          LOGAN CANADAY                        LOGAN CITY
10201 S. MAIN STREET                 10201 S. MAIN STREET                 290 N 100 W
HOUSTON, TX 77025                    HOUSTON, TX 77025                    P.O. BOX 328
                                                                          LOGAN, UT 84323-0328




LOGAN FIELDS                         LOGAN GASSIOTT                       LOGAN MARTELL
10201 S. MAIN STREET                 10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                    HOUSTON, TX 77025




LOGAN MATTHEWS                       LOGAN MCALISTER                      LOGAN MCALISTER
10201 S. MAIN STREET                 10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                    HOUSTON, TX 77025




LOGAN MCCLINTON                      LOGAN PRITCHETT                      LOGAN RUSS
500 NW 3RD ST                        2121 GOLD POINT CIR                  10201 S. MAIN STREET
HUBBARD, TX 76648                    HIXSON, TN 37343                     HOUSTON, TX 77025
LOGAN SHURTLEFF        Case 18-12241-CSS
                                      LOGAN Doc 26 Filed 10/05/18
                                            TOWNSHIP                   PageLOGAN
                                                                            1028WALLACE
                                                                                 of 1739
10201 S. MAIN STREET                  100 CHIEF LOGAN CIRCLE               10201 S. MAIN STREET
HOUSTON, TX 77025                     ALTOONA, PA 16602                    HOUSTON, TX 77025




LOGAN WEIKAL                          LOGAN YOUNG                          LOGAN
10201 S. MAIN STREET                  110 SUNSET TRAIL                     290 NORTH 100 WEST
HOUSTON, TX 77025                     COLLEGE STATION, TX 77840            P.O. BOX 328
                                                                           LOGAN, UT 84323-0328




LOGIC LV PROPERTY MANAGEMENT, LLC     LOGICUBE INC                         LOGISTICS SERVICES INCORPORATED
3900 S. HUALAPAI WAY, SUITE 200       ACCOUNTS RECEIVABLE                  C/O PROLOGIS MANAGEMENT LLC
LAS VEGAS, NV 89147                   19755 NORDHOFF PLACE                 3546 CONCOURS ST STE 100
                                      CHATSWORTH, CA 91311                 ONTARIO, CA 91764




LOGISTICS SERVICES INCORPORATED       LOGMEIN USA INC                      LOGMEIN USA, INC
DBA AMB HOLDCO LLC                    320 SUMMER ST                        PO BOX 50264
1800 WAZEE ST STE 500                 BOSTON, MA 02210                     LOS ANGELES, CA 90074-0264
DENVER, CO 80202




LOGOMATIC                             LOIS ZISHOLTZ                        LOIS ZISHOLTZ
PO BOX 582                            3375 LACE LEAF DRIVE                 94 YORKSHIRE DR
PEARLAND, TX 77588                    P.O. BOX 361                         NEWTOWN, PA 18940
                                      BUCKINGHAM, PA 18912




LOIS ZISHOLTZ                         LOIS ZISHOLTZ                        LOMBARD-HIGHLAND LLC
94 YORKSHIRE DRIVE                    C/O CONNORS ODELL                    666 DUNDEE RD STE 901
NEWTOWN, PA 18940                     ATTN: JASON BATES                    NORTHBROOK, IL 60062
                                      350 EAGLEVIEW BLVD., SUITE 150
                                      EXTON, PA 19341



LOMBARD-HIGHLAND LLC                  LOMBARD-HIGHLAND LLC                 LOMC
C/O CLOVERLEAF GROUP                  C/O CLOVERLEAF                       3202 N FOURTH ST STE 100
666 DUNDEE ROAD, SUITE 901            666 DUNDEE RD STE 901                LONGVIEW, TX 75605
NORTHBROOK, IL 60062                  NORTHBROOK, IL 60062




LON CAMPBELL                          LONDA STREETER                       LONDON ARCHER
10201 S. MAIN STREET                  10201 S. MAIN STREET                 11704 BLUERIDGE COURT
HOUSTON, TX 77025                     HOUSTON, TX 77025                    OKLAHOMA CITY, OK 73162




LONDON KING                           LONDON LUXURY LLC                    LONDRES USO / USO FAMILY TRUST
10201 S. MAIN STREET                  ATTN: CHIEF FINANCIAL OFFICER        2405 BIG CHIEF TRAIL
HOUSTON, TX 77025                     270 N AVE 3RD FL                     COOL, CA 95614
                                      NEW ROCHELLE, NY 10801




LONDRES USO, TRUSTEE OF THE USO       LONE STAR AWARDS INC                 LONE STAR PARK AT GRAND PRAIRIE
FAMILY                                5201 N LAMAR BLVD                    1000 LONE STAR PARKWAY
TRUST, DATED JULY 13, 2003            AUSTIN, TX 78751                     GRAND PRAIRIE, TX 75050
2045 BIG CHIEF TRAIL
ATTN: LONDRES USO
COOL, CA 95614
                        Case LLC
LONE STAR PAVILION PARTNERS   18-12241-CSS    DocTEMP
                                        LONE STAR   26 SERVICES
                                                         Filed 10/05/18
                                                                INC        PageLONE
                                                                                1029  of 1739
                                                                                    TREE EGYPT PROPERTIES LLC
2200 WEST 7TH ST SUITE 200              PO BOX 9700                             2103 CONVERSE ST
FORT WORTH, TX 76107                    HOUSTON, TX 77213                       HOUSTON, TX 77006




LONE TREE WESTVIEW 14 LLC              LONE TREE WESTVIEW 14 LLC                LONESTAR FORKLIFT INC
12411 VENTURA BLVD                     C/O AFC PROPERTY MANAGEMENT, INC.        4213 FOREST LN
STUDIO CITY, CA 91604                  12411 VENTURA BOULEVARD                  GARLAND, TX 75042
                                       STUDIO CITY, CA 91604




LONG BAY GROUP INC.                    LONG HILL ROAD CVS INC.                  LONG ISLAND BOOT AND LEATHER, INC.
DBA FISH WINDOW CLEANING               STORE 0377-01                            C/O FINE LAW
P.O. BOX 51463                         PO BOX 1525                              ATTN: CHARLES FINE
MYRTLE BEACH, SC 29579                 WOONSOCKET, RI 02895                     MELVILLE, NY 11747




LONG ISLAND RADIO BROADCASTING LLC     LONG LE                                  LONG VIEW SYSTEMS CORP
PO BOX 157                             10201 S. MAIN STREET                     555 17TH ST STE 1600
760 MONTAUK HIGHWAY STE 1D             HOUSTON, TX 77025                        DENVER, CO 80202
WATER MILL, NY 11976




LONGHORN FIRE AND SAFETY               LONGPOINT REALTY REIT I LLC              LONGS LOCK SHOP
4212 S. 1ST STREET                     116 HUNTINGTON AVE STE 905               329 N MAIN
AUSTIN, TX 78745                       BOSTON, MA 02116                         ELKHART, IN 46516




LONGS LOCK SHOP                        LONGVIEW NEWS JOURNAL                    LONGVIEW TRUCK CENTER
PO BOX 204                             PO BOX 1792                              3132 HWY 31 N
ELKHART, IN 46515                      LONGVIEW, TX 75606                       LONGVIEW, TX 75603




LONNIE GLASFORD                        LONNIE JAMES CHAPIN                      LONNIE MERRITT
10201 S. MAIN STREET                   20277 SCHAEFFER DR                       10201 S. MAIN STREET
HOUSTON, TX 77025                      BEND, OR 97703                           HOUSTON, TX 77025




LONNIE NEAL                            LONNIE NELSON                            LONNIE REYNOLDS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     603 TREES OF AVALEN PKWY
HOUSTON, TX 77025                      HOUSTON, TX 77025                        MC DONOUGH, GA 30253




LONNIE THOMAS                          LONNIE THOMPSON-WILLIAMS                 LONNY COHEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




LONNY ROSENBLATT                       LOOMIS ALEXANDROV                        LOOP 1604 GROUP
10201 S. MAIN STREET                   10201 S. MAIN STREET                     1223 N ROCK RD BLDG H 200
HOUSTON, TX 77025                      HOUSTON, TX 77025                        WHICHITA, KS 67278
LOOP 1604 GROUP         Case 18-12241-CSS    Doc
                                       LOOP 1604   26
                                                 GROUP     Filed 10/05/18   PageLOOP
                                                                                 1030CAPITAL
                                                                                       of 1739
                                                                                             FINANCIAL CONSULTING SVS
ATTN: SANDY STEVENS                    PO BOX 782257                             111 W JACKSON BLVD STE 1901
1223 N. ROCK ROAD, BUILDING H-200      WICHITA, KS 67278                         CHICAGO, IL 60604
WICHITA, KS 67206




LORA BARNETT                            LORAN ALEXANDER                          LORBER KAMAI CONSULTING GROUP
10201 S. MAIN STREET                    10201 S. MAIN STREET                     44712 FAIRWAY ESTATES PLACE
HOUSTON, TX 77025                       HOUSTON, TX 77025                        EL MACERO, CA 95618




LORDIAN CHIN                            LOREE LITTLEJOHN                         LORELAI WARNER
18210 SW 143 CT                         10201 S. MAIN STREET                     10201 S. MAIN STREET
MIAMI, FL 33177                         HOUSTON, TX 77025                        HOUSTON, TX 77025




LOREN ROA                               LOREN WEBSTER                            LORENA AYALANAVA, FLORENTINA
10201 S. MAIN STREET                    10201 S. MAIN STREET                     PO BOX 5323
HOUSTON, TX 77025                       HOUSTON, TX 77025                        STOCKTON, CA 95205-0323




LORENA BROWN                            LORENA GUERRA CANEIRO                    LORENA L HUNT
15757 COUNTRY CLUB DR                   9224 SW 4TH TER                          6412 ELIZAN DR NW
CHINO HILLS, CA 91709                   MIAMI, FL 33174                          OLYMPIA, WA 98502




LORENA ODONNELL                         LORENE LYSSY                             LORENZA RAINEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




LORENZO ADAMS                           LORENZO GOMEZ                            LORENZO WILLIAMS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




LORETTA WALTERS                         LORI CAIN                                LORI DENMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




LORI ELLIS                              LORI HARSHMAN                            LORI HOFFMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




LORI HOWELL                             LORI HUTCHINSON                          LORI LAWLOR
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
LORI LEVINE            Case 18-12241-CSS    Doc 26
                                      LORI MENDIOLA      Filed 10/05/18   PageLORI
                                                                               1031  of 1739
                                                                                   MORIN
12 HOBE ST                             225 SPRING CROSSING CIRCLE             10201 S. MAIN STREET
WEST NYACK, NY 10994                   GREER, SC 29650                        HOUSTON, TX 77025




LORI NEAU                              LORI SEIDER                            LORI TRINDADE
11340 E PAMPA AVE                      1482 GRACE AVE.Q                       10201 S. MAIN STREET
MESA, AZ 85212                         SAN JOSE, CA 95125                     HOUSTON, TX 77025




LORI WILTSE                            LORIANN BANKS                          LORIE SILVA
116 RUNAWAY BAY DR APT 111             10201 S. MAIN STREET                   10201 S. MAIN STREET
VIRGINIA BEACH, VA 23452               HOUSTON, TX 77025                      HOUSTON, TX 77025




LORIE SILVA                            LORMAX STERN DEVELOPMENT COMPANY       LORMAX STERN FAIRPLAIN LLC
10201 S. MAIN STREET                   SAMANTHA PIETSCH, ACCOUNTATN           38500 WOODWARD AVE STE 200
HOUSTON, TX 77025                      38500 WOODWARD AVENUE, SUITE 200       BLOOMFIELD HILLS, MI 48304
                                       BLOOMFIELD HILLS, MI 48304




LORMAX STERN FAIRPLAIN LLC             LORMAX STERN FAIRPLAIN LLC             LORMAX STERN FAIRPLAIN, LLC
38500 WOODWARD AVE                     PO BOX 851343                          38500 WOODWARD AVE STE 200
STE 200                                MINNEAPOLIS, MN 55485-1343             BLOOMFIELD HILLS, MI 48304
BLOOMFIELD HILLS, MI 48304




LORMAX STERN FAIRPLAIN, LLC            LORMAX STERN FAIRPLAIN, LLC            LORNA GORDON
C/O LORMAX STERN DEVELOPMENT           PO BOX 851343                          10201 S. MAIN STREET
COMPANY LLC                            MINNEAPOLIS, MN 55485-1343             HOUSTON, TX 77025
38500 WOODWARD AVE, SUITE 200
ATTN: SAMANTHA PIETSCH
BLOOMFIELD HILLS, MI 48304


LORNA SEESTADT                         LORRAINA WORTHERN                      LORRAINE BANKS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   820 HARTFORD AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                      SAN JOSE, CA 95125




LORRAINE GENERALAO                     LORRAINE HINOJOSA                      LORRAINE PATTERSON
7466 LAUREL CANYON BLVD                150 MAJESTIC COURT UNIT 906            1380 OLD CLARKSVILLE PIKE
NORTH HOLLYWOOD, CA 91605              MOORPARK, CA 93021                     PLEASANT VIEW, TN 37146




LORRAINE PORTLAND                      LOS ANGELES COUNTY FAIR ASSOC.         LOS ANGELES COUNTY SHERIFFS
10201 S. MAIN STREET                   1101 W. MCKINLEY AVE.                  DEPARTMENT
HOUSTON, TX 77025                      POMONA, CA 91768                       PO BOX 843580
                                                                              LOS ANGELES, CA 90084-3580




LOS ANGELES COUNTY TAX COLLECTOR -     LOS ANGELES COUNTY TAX COLLECTOR       LOSS PREVENTION FOUNDATION
54888                                  225 N HILL STREET RM 122               700 MATTHEWS MINT HILL ROAD
ATTN: PROPERTY TAX DEPT.               LOS ANGELES, CA 90012                  SUITE C
225 N HILL STREET RM 122                                                      MATTHEWS, NC 28105
LOS ANGELES, CA 90012
                       Case
LOST PINES SHOPPING CENTER    18-12241-CSS     DocSHOPPING
                                        LOST PINES 26 Filed   10/05/18
                                                           CENTER         PageLOST
                                                                               1032   of 1739
                                                                                   PINES SHOPPING CENTER
ASSOCIATES                               ASSOCIATES                            ASSOCIATES
1C GATE FIVE RD                          C/O SEQUOIA LAND INVESTMENTS          C/O SEQUOIA LAND INVESTMENTS
SAUSALITO, CA 94965-1401                 1C GATE FIVE ROAD                     1C GATE FIVE ROAD
                                         SAUSALITO, CA 94965                   SAUSALITO, CA 94965-1401



LOT 2 NORTH PORT LLC                     LOT 2 NORTH PORT, LLC                 LOT 2 NORTH PORT, LLC
PO BOX 823201                            C/O BENDERSON PROPERTIES, INC.        C/O BENDERSON PROPERTIES, INC.
PHILADELPHIA, PA 19182-3201              570 DELAWARE AVENUE                   7978 COOPER CREEK BOULEVARD, SUITE
                                         ATTN: LEASE ADMINISTRATION            100
                                         BUFFALO, NY 14202                     ATTN: DAVID H. BALDAUF, VP
                                                                               UNIVERSITY PARK, FL 34201


LOT 2 NORTH PORT, LLC                    LOT 4 BUILDING MANAGEMENT, LLC        LOT 4 BUILDING MGMT LLC
PO BOX 823201                            C/O DRAKE REAL ESTATE SERVICES        496 S BROADWAY
PHILADELPHIA, PA 19182-3201              496 SOUTH BROADWAY                    DENVER, CO 80209
                                         DENVER, CO 80209




LOTHAR MILLER                            LOTUS BROADCASTING CORP               LOTUS BROADCASTING CORP
10201 S. MAIN STREET                     8755 W FLAMINGO RD                    KOMP-FM
HOUSTON, TX 77025                        LAS VEGAS, NV 89147                   8755 W FLAMINGO RD
                                                                               LAS VEGAS, NV 89147




LOTUS BROADCASTING CORP                  LOTUS BROADCASTING FRESNO             LOTUS RADIO RENO
KXPT-FM                                  1110 E OLIVE                          690 E PLUMB LN
8755 W FLAMINGO RD                       FRESNO, CA 93728                      RENO, NV 89502
LAS VEGAS, NV 89147




LOU BARTELLI                             LOU EVERLING                          LOU GRAHAM
4408 W CHESTNUT                          10201 S. MAIN STREET                  10201 S. MAIN STREET
YAKIMA, WA 98903                         HOUSTON, TX 77025                     HOUSTON, TX 77025




LOU MERCADO                              LOU METRO REVENUE COMM                LOU PUGLIESE
10201 S. MAIN STREET                     PO BOX 35410                          10201 S. MAIN STREET
HOUSTON, TX 77025                        LOUISVILLE, KY 40232-5410             HOUSTON, TX 77025




LOU SCOTT                                LOU SZABO                             LOUANN LEPONE
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




LOUDOUN WATER                            LOUDOUN WATER                         LOUGHRAN, JOSEPH
44865 LOUDOUN WATER WAY                  P.O. BOX 4000                         2753 CHAPPARAL DR
ASHBURN, VA 20147                        ASHBURN, VA 20146-2591                MELBOURNE, FLORIDA 32934-8226




LOUIE BOTKA                              LOUIE RUIZ                            LOUIS A HUDSPETH SR.
10201 S. MAIN STREET                     10002 AMBIANCE WAY                    DBA HUDSPETH ENTERPRISES
HOUSTON, TX 77025                        FRANKLIN, TN 37067                    3607 YARA DR.
                                                                               AUSTIN, TX 78754
LOUIS BURGE            Case 18-12241-CSS     Doc 26
                                      LOUIS CAPASSO      Filed 10/05/18   PageLOUIS
                                                                               1033EGRI
                                                                                    of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LOUIS ELLIOTT                          LOUIS GRIFFITH                         LOUIS HOWARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LOUIS MUSTO                            LOUIS ROBINSON                         LOUIS ROSARIO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LOUIS SCHEIBLA                         LOUIS SCHEIBLA                         LOUIS TAGLIAFERRO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LOUIS WADE                             LOUIS WARD                             LOUIS WELLS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LOUISE ANGELINO                        LOUISE BRESCIA                         LOUISE HERBERT
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LOUISE INGRAM                          LOUISIANA ACADIA PARISH                LOUISIANA ALLEN PARISH
402 COUNTY CLUB DR                     ATTN: SALES & USE TAX DEPT.            ATTN: SALES & USE TAX DEPT.
COVINGTON, LA 70433                    P.O. DRAWER 309                        P.O. DRAWER 190
                                       CROWLEY, LA 70527-03090                OBERLIN, LA 70655




LOUISIANA ASSUMPTION PARISH            LOUISIANA CADDO PARISH                 LOUISIANA CADDO PARISH
ATTN: SALES & USE TAX DEPT.            ATTN: PROPERTY TAX DEPT.               ATTN: SALES & USE TAX DEPT.
P.O. DRAWER 920                        P.O. BOX 104                           P.O. BOX 104
NAPOLEONVILLE, LA 70390                SHREVEPORT, LA 71161                   SHREVEPORT, LA 71161




LOUISIANA CLAIBORNE PARISH             LOUISIANA DEPARTMENT OF REVENUE        LOUISIANA DEPARTMENT OF REVENUE
ATTN: SALES & USE TAX DEPT.            ATTN: BUSINESS LICENSE DEPT.           ATTN: INCOME TAX DEPT.
P.O. BOX 600                           P O BOX 91011                          P O BOX 91011
HOMER, LA 71040-0600                   BATON ROUGE, LA 70821-9011             BATON ROUGE, LA 70821-9011




LOUISIANA DEPARTMENT OF REVENUE        LOUISIANA DEPARTMENT OF REVENUE        LOUISIANA DEPARTMENT OF REVENUE
ATTN: SALES & USE TAX DEPT.            ATTN: UNCLAIMED PROPERTY DEPT.         P.O. BOX 91011
P O BOX 91011                          P O BOX 91011                          BATON ROUGE, LA 70821-9011
BATON ROUGE, LA 70821-9011             BATON ROUGE, LA 70821-9011
                       Case
LOUISIANA DEPT. OF REVENUE    18-12241-CSS     Doc
                                        LOUISIANA   26 OFFiled
                                                  DEPT.        10/05/18
                                                         REVENUE             PageLOUISIANA
                                                                                  1034 of DEPT.
                                                                                           1739OF REVENUE
14019 SOUTHWEST FWY 301-318              617 N THIRD ST                           PO BOX 201
SUGARLAND, TX 77498                      BATON ROUGE, LA 70802                    BATON ROUGE, LA 70821




LOUISIANA DEPT. OF REVENUE               LOUISIANA EAST FELICIANA PARISH          LOUISIANA IBERIA PARISH
PO BOX 4936                              ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.
BATON ROUGE, LA 70821-4936               P.O. BOX 397                             P.O. BOX 9770
                                         CLINTON, LA 70722                        NEW IBERIA, LA 70562




LOUISIANA IBERVILLE PARISH               LOUISIANA JEFFERSON DAVIS PARISH         LOUISIANA LA SALLE PARISH
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.
P. O. BOX 355                            P.O. BOX 1161                            P.O. BOX 190
PLAQUEMINE, LA 70765-0355                JENNINGS, LA 70546-1161                  VIDALIA, LA 71373




LOUISIANA LAFOURCHE PARISH               LOUISIANA LINCOLN PARISH                 LOUISIANA LIVINGSTON PARISH
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.
P. O. BOX 997                            P.O. BOX 863                             P.O. BOX 1030
THIBODAUX, LA 70302                      RUSTON, LA 71273                         LIVINGSTON, LA 70754




LOUISIANA RED RIVER PARISH               LOUISIANA SABINE PARISH                  LOUISIANA ST. LANDRY PARISH
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.
P. O. BOX 570                            P. O. BOX 249                            P.O. BOX 1210
COUSHATTA, LA 71019                      MANY, LA 71449-0249                      OPELOUSAS, LA 70571-1210




LOUISIANA ST. MARTIN PARISH              LOUISIANA ST. MARY PARISH                LOUISIANA WASHINGTON PARISH
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.
P.O. BOX 1000                            P. O. DRAWER 1279                        P.O. BOX 508
BREAUX BRIDGE, LA 70517                  MORGAN CITY, LA 70381-1279               FRANKLINTON, LA 70438




LOUISIANA WEBSTER PARISH                 LOUISIANA WEST BATON ROUGE PARISH        LOUISVILLE BEDDING COMPANY
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.              10400 BUNSEN WAY
P. O. BOX 357                            P.O. BOX 86                              LOUISVILLE, KY 40299
MINDEN, LA 71058-0357                    PORT ALLEN, LA 70767




LOUISVILLE COURIER-JOURNAL               LOUISVILLE COURIER-JOURNAL               LOUISVILLE METRO REV COMM
525 W BROADWAY                           PO BOX 677353                            PO BOX 35410
LOUISVILLE, KY 40202                     DALLAS, TX 75267                         LOUISVILLE, KY 40232




LOUISVILLE METRO REVENUE COMMISSION      LOUISVILLE WATER CO                      LOUISVILLE WATER CO
PO BOX 35410                             550 SOUTH THIRD STREET                   P.O. BOX 32460
LOUISVILLE, KY 40232-5410                LOUISVILLE, KY 40202                     LOUISVILLE, KY 40232-2460




LOUISVILLE WATER COMPANY                 LOUISVILLE/JEFFERSON COUNTY METRO        LOURDES OCCUPATIONAL HEALTH CENTER
P.O. BOX 32460                           GOVT                                     PO BOX 94331
LOUISVILLE, KY 40232-2460                611 W JEFFERSON ST                       SEATTLE, WA 98124
                                         LOUISVILLE, KY 40202
LOURDES TORUNO        Case    18-12241-CSS    Doc JONES
                                        LOVANTRICE 26 Filed 10/05/18          PageLOVELAND
                                                                                   1035 of MFI
                                                                                           1739LLC
13429 BURNEY PASS DR                    10201 S. MAIN STREET                       10510 NORTHUP WAY STE 120
MORENO VALLEY, CA 92555                 HOUSTON, TX 77025                          KIRKLAND, WA 98033




LOVELAND MFI LLC                        LOVETT COMMERCIAL                          LOWELL DONEY
C/O MADISON DEVELOPMENT GROUP LLC       ATTN: LIZ JACOB                            10201 S. MAIN STREET
1775 12TH AVE NW STE 220                1520 OLIVER STREET                         HOUSTON, TX 77025
ISSAQUAH, WA 98027                      HOUSTON, TX 77007




LOWELL                                  LOWEN CORP                                 LOWEN CORP
ATTN: PROPERTY TAX DEPT.                1111 AIRPORT RD                            PO BOX 1528
PO BOX 969                              HUTCHINSON, KS 67504-1528                  HUTCHINSON, KS 67504-1528
LOWELL, MA 01853




LOWER MACUNGIE TOWNSHIP                 LOWER SOUTHAMPTON TOWNSHIP                 LOWES COMPANIES INC
3400 BROOKSIDE ROAD                     FIRE MARSHAL                               DBA LOWES HOME CENTERS INC
MACUNGIE, PA 18062                      1500 DESIRE AVE                            1000 LOWES BLVD
                                        FEASTERVILLE TREVOSE, PA 19053             MOORESVILLE, NC 28117




LOWES HOME CENTERS LLC                  LOWNDES COUNTY TAX COMMISSIONER            LOWNDES COUNTY TAX COMMISSIONER
ATTN: PROPERTY MGMT RES6                ATTN: PROPERTY TAX DEPT.                   PO BOX 1409
1605 CURTIS BRIDGE RD                   PO BOX 1409                                VALDOSTA, GA 31603-1409
WILKESBORO, NC 28697                    VALDOSTA, GA 31603




LOWNDES COUNTY TAX COMMISSIONER-MS      LOXAHATCHEE RIVER DISTRICT                 LOXAHATCHEE RIVER DISTRICT
PO BOX 1077                             2500 JUPITER PARK DR                       P.O. BOX 8800
COLUMBUS, MS 39703                      JUPITER, FL 33458                          JUPITER, FL 33468-8800




LOXLEY DOWNER                           LOY LAKE SS                                LOY LAKES SS
10201 S. MAIN STREET                    EVANS PROPERTIES                           C/O EVANS PROPERTIES
HOUSTON, TX 77025                       509 N HWY 69                               509 N HWY 69
                                        LEONARD, TX 75452                          LEONARD, TX 75452




LOYALTY DEVELOPMENT CO. LTD             LP NETWORK INC. DBA SECURITY SOURCE        LP SOFTWARE INC
45 NORTH KING STREET                    187 BALLARDVALE ST STE A225                7000 W 111TH ST STE 305
HONOLULU, HI 96817                      WILMINGTON, MA 01887                       WORTH, IL 60482




LPF GENEVA COMMONS LLC                  LPF GENEVA COMMONS LLC                     LPF GENEVA COMMONS LLC
26953 NETWORK PLACE                     602 COMMONS DR                             C/O MID-AMERICA ASSET MANAGEMENT,
CHICAGO, IL 60673-1269                  GENEVA, IL 60134                           INC.
                                                                                   ONE PARKVIEW PLAZA, 9TH FLOOR
                                                                                   OAKBROOK TERRACE, IL 60181



LPF SAN JOSE RETAIL INC                 LPF SAN JOSE RETAIL INC                    LPF SAN JOSE RETAIL, INC.
25184 NETWORK PLACE                     333 W WACKER DR                            25184 NETWORK PLACE
CHICAGO, IL 60673-1251                  23RD FL                                    CHICAGO, IL 60673-1251
                                        CHICAGO, IL 60606
LPF SAN JOSE RETAIL, INC.Case 18-12241-CSS     Doc 26 Filed
                                        LPS PROFESSIONALS    LLP   10/05/18   PageLREIN
                                                                                   1036LLC
                                                                                         of 1739
C/O LASALLE INVESTMENT MANAGEMENT,      14100 FIVAY RD STE 250                    3251-A KALAPAKI CIRCLE
INC.                                    HUDSON, FL 34667                          LIHUE, HI 96766
200 EAST RANDOLPH DRIVE, 44TH FLOOR
ATTN: NICHOLAS KOSHIW
CHICAGO, IL 60601


LRF1 STASSNEY HEIGHTS PLAZA LLC          LRI CONSULTING SERVICES INC              LRI CONSULTING SERVICES INC
PO BOX 679332                            7850 S ELM PLACE STE E                   7850 S ELM PLACE STE E
DALLAS, TX 75267-9332                    BROKEN ARROW, OK 74011                   PO BOX 1529
                                                                                  BROKEN ARROW, OK 74013




LRM-COM INC DBA OFFICEFIRST NETWORKS     LRM-COM                                  LRM-COM
6140 K-6 S GUN CLUB RD 238               6140 K-6 S GUN CLUB RD 238               6140-K6 S GUN CLUB RD
AURORA, CO 80016                         AURORA, CO 80016                         AURORA, CO 80016




LS CAPITAL INC.                          LSC COMMUNICATIONS US LLC                LSI CORPORATION
13949 VENTURA BOULEVARD, SUITE 300       PO BOX 932987                            DBA LSI STAFFING
SHERMAN OAKS, CA 91423                   CLEVELAND, OH 44193                      PO BOX 2876
                                                                                  WICHITA, KS 67201




LSL ALEXANDRIA LLC                       LSL HAMMOND LLC                          LSL HAMMOND, LLC
STEVE NOYOLA                             ALTERMAN COMMERCIAL REAL ESTATE          ALTERMAN COMMERCIAL REAL ESTATE
7290 LEMON GRASS DR                      PO BOX 191228                            PO BOX 191228
PARKLAND, FL 33076                       ATLANTA, GA 31119                        ATLANTA, GA 31119




LSL HAMMOND, LLC                         LSL LAFAYETTE LLC C/O HT GROUP LLC       LSL LAFAYETTE LLC
ATTN: MANAGER                            3713 PEACHTREE RD NE                     PO BOX 191228
7290 LEMON GRASS DRIVE                   ATLANTA, GA 30319                        ATLANTA, GA 31119
PARKLAND, FL 33076




LSL MARRERO LLC                          LSL PORT ARTHUR LLC                      LSREF2 BARON LLC
ALTERMAN COMMERICAL REAL ESTATE          7290 LEMON GRASS DR                      C/O LURIE & ASSOCIATES LLC
PO BOX 191228                            PARKLAND, FL 33076                       2650 THOUSAND OAKS BLVD STE 2350
ATLANTA, GA 31119                                                                 MEMPHIS, TN 38118




LSREF2 GATOR STUART LLC                  LSREF2 GATOR STUART LLC                  LSREF3 PEPPERTREE LLC
2711 NORTH HASKELL AVE STE 1700          STUART NORTH LOCKBOX                     2711 N HASKELL AVE STE 1700
DALLAS, TX 75204                         PO BOX 535369                            DALLAS, TX 75204
                                         ATLANTA, GA 30353




LSREF3 PEPPERTREE REIT INC               LSSA                                     LSSA
LSREF3 PEPPERTREE LLC 611738751          984 OLD MILL RUN                         995 NORTHWEST 72ND ST
2711 N HASKELL AVE STE 1700              THE VILLAGES, FL 32162-1675              MIAMI, FL 33150
DALLAS, TX 75204




LT TANIR TANIR                           LU ANDRADE                               LUBBOCK COUNTY APPRAISAL DISTRICT
10201 S. MAIN STREET                     10201 S. MAIN STREET                     PO BOX 10568
HOUSTON, TX 77025                        HOUSTON, TX 77025                        2109 AVE Q
                                                                                  LUBBOCK, TX 79408-3568
LUBBOCK POWER & LIGHTCase       18-12241-CSS   Doc
                                          LUBBOCK   26 & LIGHT
                                                  POWER  Filed 10/05/18    PageLUBBOCK
                                                                                1037 of 1739
1301 BROADWAY                              P.O. BOX 10541                      ATTN: PROPERTY TAX DEPT.
LUBBOCK, TX 79401                          LUBBOCK, TX 79408-3541              2109 AVE Q PO BOX 10568
                                                                               LUBBOCK, TX 79408-3568




LUBIN OLSON LLP                            LUC PIERRE                          LUCAS ASSOCIATES INC
ATTN: ROBERT MILLER, ESQ.                  10201 S. MAIN STREET                PO BOX 638364
200 PRINGLE AVENUE, SUITE 470              HOUSTON, TX 77025                   CINCINNATI, OH 45263-8364
WALNUT CREEK, CA 94596




LUCAS BOWERS                               LUCAS DEBOARD                       LUCAS FRANK
10201 S. MAIN STREET                       10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                   HOUSTON, TX 77025




LUCAS GALIGO                               LUCAS GIBSON                        LUCAS HAYES
10201 S. MAIN STREET                       10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                   HOUSTON, TX 77025




LUCAS LAWN & LANDSCAPING                   LUCAS RODMYRE                       LUCAS SHOCKLEY
3316 FAITH CHURCH RD                       10201 S. MAIN STREET                10201 S. MAIN STREET
INDIAN TRAIL, NC 28079                     HOUSTON, TX 77025                   HOUSTON, TX 77025




LUCERNE RIDGEWOOD LLC                      LUCERNE-RIDGEWOOD LLC               LUCERNEX INC
35 PARK ST                                 35 PARK STREET                      6509 WINDCREST DR STE 100
TENAFLY, NJ 07670                          TENAFLY, NJ 07670                   PLANO, TX 75024




LUCIA CARVALHO                             LUCIANE BROWN                       LUCIANO DI GIALLONARDO
10201 S. MAIN STREET                       10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                   HOUSTON, TX 77025




LUCIEN RAGUSO                              LUCIEN RAGUSO                       LUCIEN RAGUSO
P.O. BOX 110137                            P.O. BOX 110137                     PO BOX 110137
LAKEWOOD RANCH, FL 34211                   LAKEWOOD RANCH, FL 34211-0002       LAKEWOOD RANCH, FL 34211-0002




LUCIO BITOY                                LUCIUS RAMOS                        LUCK, THOMAS
10201 S. MAIN STREET                       10201 S. MAIN STREET                85 COLEY ST
HOUSTON, TX 77025                          HOUSTON, TX 77025                   WOODBRIDGE, NJ 70952-826




LUCKY BUN                                  LUCKY NGUYEN                        LUCRECHIA BRUNNER
10201 S. MAIN STREET                       1571 POMONA AVE                     10201 S. MAIN STREET
HOUSTON, TX 77025                          SAN JOSE, CA 95125                  HOUSTON, TX 77025
LUCUMI ENTERPRISES INCCase     18-12241-CSS
                                         LUCUS, Doc 26
                                                AUTUMN      Filed 10/05/18      PageLUCY
                                                                                     1038  of 1739
                                                                                         BROWN
3108 WESTBURY LAKE DR UNIT D              1420 W MAIN ST #1410                      10201 S. MAIN STREET
CHARLOTTE, NC 28269                       LEWISVILLE, TX 75067-3355                 HOUSTON, TX 77025




LUCY KIMBALL                              LUEN TAI GROUP (CHINA) LTD                LUEN TAI GROUP (CHINA) LTD
10201 S. MAIN STREET                      21/F., CORCODILE CTR                      ROOM 2616, 26/F., NEW TECH PLAZA
HOUSTON, TX 77025                         79 HOI YUEN RD                            34 TAI YAU STREET
                                          KWUN TONG                                 SAN PO KONG
                                          KOWLOON HONG KONG                         KOWLOON HONG KONG



LUGOS DELIVERY LLC                        LUIGI POPOLLA                             LUIS ABREU
3124 ZION ST                              10201 S. MAIN STREET                      10201 S. MAIN STREET
LITTLE ROCK, AR 72204                     HOUSTON, TX 77025                         HOUSTON, TX 77025




LUIS AREIZAGA                             LUIS BARBOSA                              LUIS BOLANOS
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025




LUIS CHAVEZ                               LUIS CRESPO                               LUIS DE JESUS
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025




LUIS DUNN                                 LUIS ESQUIVEL                             LUIS FELICIANO
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025




LUIS FERNANDEZ                            LUIS FLORES                               LUIS FLORES
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025




LUIS GARCIA-ROBLES                        LUIS GERARDO NAJERA PEREZ DBA L & V       LUIS GOMEZ
10201 S. MAIN STREET                      DEL LLC                                   10201 S. MAIN STREET
HOUSTON, TX 77025                         2341 FRIAR CREEK LOOP                     HOUSTON, TX 77025
                                          ROUND ROCK, TX 78664




LUIS GONZALEZ                             LUIS HERNANDEZ                            LUIS HERRERA
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025




LUIS JASSO                                LUIS LEIJA                                LUIS LOPEZ
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025
LUIS LOPEZ             Case 18-12241-CSS     Doc 26
                                      LUIS M ALARCON     Filed 10/05/18   PageLUIS
                                                                               1039  of 1739
                                                                                   MALDONADO
10201 S. MAIN STREET                   3370 PINEWALK DR N 1227                10201 S. MAIN STREET
HOUSTON, TX 77025                      MARGATE, FL 33063                      HOUSTON, TX 77025




LUIS MARTINEZ                          LUIS MENDOZA                           LUIS MENDOZA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LUIS MONTOYA                           LUIS ORTEZ                             LUIS PALACIOS
10201 S. MAIN STREET                   800 COMMUNITY DR. APT 108              10201 S. MAIN STREET
HOUSTON, TX 77025                      JACKSONVILLE, NC 28546                 HOUSTON, TX 77025




LUIS PATINO                            LUIS PEREIRA                           LUIS PEREZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LUIS PORTILLO                          LUIS PORTILLO                          LUIS PORTILLO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LUIS QUIJANO                           LUIS RAMIREZ                           LUIS RAMIREZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LUIS RAMOS                             LUIS RIVAS                             LUIS ROBLES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LUIS ROSSI                             LUIS SAMPEN                            LUIS SCHAVIANO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LUIS SERRANO                           LUIS SOMOZA                            LUIS TORRES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




LUIS TOVIO                             LUIS VARGAS                            LUIS VASQUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
                      Case
LUIS VENCES TRUCKING INC     18-12241-CSS     Doc 26
                                       LUIS VILLATORO     Filed 10/05/18   PageLUISA
                                                                                1040PARRALES
                                                                                      of 1739
8834 BURLINGTON AVE                     10201 S. MAIN STREET                   10201 S. MAIN STREET
BROOKFIELD, IL 60513                    HOUSTON, TX 77025                      HOUSTON, TX 77025




LUIZ SANDRE                             LUKAS CLOUGHER                         LUKAS ROVELLI
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




LUKASZ KLUK                             LUKE BERTHIAUME                        LUKE BROWN
10201 S. MAIN STREET                    15608 GATEWAY PATH                     10201 S. MAIN STREET
HOUSTON, TX 77025                       APPLE VALLEY, MN 55124                 HOUSTON, TX 77025




LUKE CRIDDLE                            LUKE CUNEO                             LUKE DRAILY CONSTRUCTIONS, CO. INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                   75 N W BUSINESS PARK LANE
HOUSTON, TX 77025                       HOUSTON, TX 77025                      RIVERSIDE, MO 64150




LUKE DRASE                              LUKE DZIERZANOWSKI                     LUKE HANUSIAK
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




LUKE HARRELL                            LUKE HOPKINS                           LUKE HUSKINS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




LUKE INGLE                              LUKE LEATHER INC                       LUKE MICHELS
10201 S. MAIN STREET                    PO BOX 5067                            10201 S. MAIN STREET
HOUSTON, TX 77025                       HIGH POINT, NC 27262                   HOUSTON, TX 77025




LUKE MINER                              LUKE ROSINSKI                          LUKE SHUMPERT
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




LUKE TRAHAN                             LUKE VAIL                              LUKE WOODKE
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




LUKITAS INC DBA ALPHAGRAPHICS US633     LUMENATE LP                            LUMI SOURCE
14300 NORTHWEST FWY SUITE B26           PO BOX 203896                          2950 OLD HIGGINS RD
HOUSTON, TX 77040                       DALLAS, TX 75320-3896                  ELK GROVE VILLAGE, IL 60007
LUNA CROSSING LTD     Case    18-12241-CSS    Doc 26 LTDFiled 10/05/18
                                        LUNA CROSSING                          PageLUNETRA
                                                                                    1041 ofWHITEHURST
                                                                                            1739
6757 ARAPAHO RD STE 711-293              PO BOX 795743                              10201 S. MAIN STREET
DALLAS, TX 75248                         DALLAS, TX 75379                           HOUSTON, TX 77025




LUONGO, JOSEPH                           LUPE ALCOCER                               LUPE URENA-PEREZ
8 SAN CARLOS CT                          10201 S. MAIN STREET                       10201 S. MAIN STREET
TOMS RIVER, NJ 87576-160                 HOUSTON, TX 77025                          HOUSTON, TX 77025




LUPES LANDSCAPE & MAINTENANCE            LUPITA DAVALOS                             LUPITA GARIBAY
9035 CYPRESS CREEK PKWY                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77070-6203                   HOUSTON, TX 77025                          HOUSTON, TX 77025




LUPO MG HOUSTON LLC                      LURIE & ASSOCIATES, LLC                    LURIE & ASSOCIATES, LLC
2295 NW CORPORATE BLVD STE 135           2650 THOUSAND OAKS BOULEVARD, SUITE        DIANE MAUPIN
BOCA RATON, FL 33431                     2350                                       2650 THOUSAND OAKS BOULEVARD, SUITE
                                         MEMPHIS, TN 38118                          2350
                                                                                    MEMPHIS, TN 38118



LURIE & ASSOCIATES, LLC                  LUS                                        LUS
GISELLE PEAY                             1875 W PINHOOK RD                          LAFAYETTE UTILITIES SYSTEM
2650 THOUSAND OAKS BOULEVARD, SUITE      STE B                                      P.O. BOX 4024
2350                                     LAFAYETTE, LA 70508                        LAFAYETTE, LA 70502-4024
MEMPHIS, TN 38118



LUSTER JACKSON                           LUTHER MORRIS                              LUTON RANCH SC LP
1209 FLORENCE AVE                        10201 S. MAIN STREET                       8350 N CENTRAL EXPY STE 1275
GADSDEN, AL 35903                        HOUSTON, TX 77025                          DALLAS, TX 75206




LUTON RANCH SC LP                        LUTON RANCH SC LP                          LUTON RANCH WEST LP
C/O VISTA PROPERTY COMPANY, LLC          PO BOX 206549                              8350 N CENTRAL EXPRESSWAY
8350 N. CENTRAL EXPRESSWAY, SUITE 1750   DALLAS, TX 75320-6549                      STE 1275
DALLAS, TX 75206                                                                    DALLAS, TX 75206




LUTZ REAL ESTATE INVESTMENTS             LUXE CONDOMINIUMS                          LUZ M. DE LA TORRE
300 SOUTH OLD WOODWARD                   222 12TH ST                                10201 S. MAIN STREET
BIRMINGHAM, MI 48346                     ATLANTA, GA 30309                          HOUSTON, TX 77025




LUZ PEREZ                                LVM PROPERTIES LLC                         LVM PROPERTIES LLC
10201 S. MAIN STREET                     MARYLAND FINANCIAL INVESTORS INC           2800 QUARRY LAKES DR STE 340
HOUSTON, TX 77025                        2800 QUARRY LAKES DR STE 340               BALTIMORE, MD 21209
                                         BALTIMORE, MD 21209




LVM PROPERTIES LLC                       LVP 161 JAMES WEST LLC                     LVP 161 JAMES WEST LLC
C/O MARYLAND FINANCIAL INVESTORS         501 LOUISIANA AVE                          PO BOX 786501
2800 QUARRY LAKE DRIVE, SUITE 340        BATON ROGUE, LA 70802                      PHILADELPHIA, PA 19178-6501
ATTN: MELISSA EISNER
BALTIMORE, MD 21209
LVP 161 JAMES WEST, LLCCase    18-12241-CSS
                                         LVP 161Doc 26WEST,
                                                JAMES    Filed
                                                            LLC 10/05/18    PageLVVWD
                                                                                 1042 of 1739
C/O LIGHTSTONE GROUP                      PO BOX 786501                         1001 SOUTH VALLEY VIEW BLVD
1985 CEDAR BRIDGE, SUITE ONE              PHILADELPHIA, PA 19178-6501           LAS VEGAS, NV 89153
LAKEWOOD, NJ 08701




LVVWD                                     LW3 BP ASSOCIATES, LLC                LYDA HUNT CAROLINE TRUSTS
P.O. BOX 2921                             C/O BIANCO PROPERTIES                 C/O ROSEWOOD MANAGEMENT
PHOENIX, AZ 85062-2921                    680 CRAIG ROAD, SUITE 240             CORPORATION
                                          CREVE COEUR, MO 63141                 2101 CEDAR SPRINGS RD STE 1600
                                                                                DALLAS, TX 75201



LYDELL BAKER                              LYDELL COLLINS                        LYDIA CARTER
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




LYDIA DONALDSON                           LYDIA GONZALEZ                        LYDIA WILLIAMSON
5339 LINDA VISTA DR                       10201 S. MAIN STREET                  10201 S. MAIN STREET
LA CANADA FLINTRIDGE, CA 91011            HOUSTON, TX 77025                     HOUSTON, TX 77025




LYLA ASSOCIATES LLC                       LYLA ASSOCIATES LLC                   LYLA ASSOCIATES LLC
C/O UNITED AMERICAN LAND LLC              727 GARDENIA AVENUE                   73 SPRING ST 6TH FLOOR
73 SPRING ST 6TH FLOOR                    LONG BEACH, CA 90813                  NEW YORK, NY 10012
NEW YORK, NY 10012




LYLA ASSOCIATES LLC                       LYLE INGRAM                           LYLE WILLIAMS
C/O UNITED AMERICAN LAND LLC              10201 S. MAIN STREET                  10201 S. MAIN STREET
73 SPRING STREET, 6TH FLOOR               HOUSTON, TX 77025                     HOUSTON, TX 77025
NEW YORK, NY 10012




LYN TINSLEY                               LYN WHITE                             LYNDA COULOMBE WHEELER
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




LYNDA HERRERA                             LYNDA KING                            LYNDA TAYLOR
10201 S. MAIN STREET                      10 N CADDO ST 120                     10201 S. MAIN STREET
HOUSTON, TX 77025                         CLEBURNE, TX 76031                    HOUSTON, TX 77025




LYNDHURST MUNICIPAL COURT                 LYNDON FIRE PROTECTION DISTRICT       LYNDSAY BLAKER
5301 MAYFIELD RD                          C/O FIRE RECOVERY USA LLC             10201 S. MAIN STREET
LYNDHURST, OH 44124-2484                  PO BOX 548                            HOUSTON, TX 77025
                                          ROSEVILLE, CA 95678-0548




LYNDSI KUMASHIRO                          LYNEA CASTILLO                        LYNEER STAFFING SOLUTIONS
10201 S. MAIN STREET                      10201 S. MAIN STREET                  1011 WHITEHEAD RD EXTENTION
HOUSTON, TX 77025                         HOUSTON, TX 77025                     TRENTON, NJ 08638
                       Case
LYNEER STAFFING SOLUTIONS      18-12241-CSS    Doc
                                         LYNETTE    26 Filed 10/05/18
                                                 BERGANZO                    PageLYNETTE
                                                                                  1043 ofBLOSSMAN
                                                                                           1739
PO BOX 75414                                                                      402 COUNTY CLUB DR
CHICAGO, IL 60675-5414                                                            COVINGTON, LA 70433




LYNETTE BROCK                            LYNETTE LUGO                             LYNLEY A EDWARDS
6265 IRONSIDE DR N                       10201 S. MAIN STREET                     2259 FLATBOTTOM ROAD
JACKSONVILLE, FL 32244                   HOUSTON, TX 77025                        BALL GROUND, GA 30107




LYNN BROTHERSTON                         LYNN COSTA                               LYNN GRIGSBY
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




LYNN KNAPP                               LYNN MORRISON LLC                        LYNN PETERSON
10201 S. MAIN STREET                     10757 N 114TH ST STE 115                 10201 S. MAIN STREET
HOUSTON, TX 77025                        TUCSON, AZ 85259                         HOUSTON, TX 77025




LYNN SELLICK                             LYNN WILLIAMS                            LYNNE MALKOFF PROMOTIONS INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                     4904 STONY FORD DR
HOUSTON, TX 77025                        HOUSTON, TX 77025                        DALLAS, TX 75287




LYNNHAVEN NORTH SHOPPING CENTER 687      LYNWOOD EBRON                            LYON CAPITAL CORP
C/O BELL PARTNERS INC.                   10201 S. MAIN STREET                     7924 W SAHARA AVE
PO BOX 3288                              HOUSTON, TX 77025                        LAS VEGAS, NV 89117
GREENSBORO, NC 27402




LYONS CONSULTING GROUP LLC               M & B REALTY LLC                         M & H GOLDFARB FAMILY, LLC
20 N WACKER DR STE 1750                  318 MASSACHUSETTS AVE                    2525 SOUTH BRENTWOOD, SUITE 103
CHICAGO, IL 60606                        INDIANAPOLIS, IN 46204                   ST. LOUIS, MO 63144




M & J - BIG WATERFRONT MARKET, LLC       M & J WILKOW PROPERTIES, LLC             M & P BAYMEADOWS LLC
C/O THE WATERFRONT                       20 SOUTH CLARK STREET, SUITE 3000        BRIAN PLATOCK
149 WEST BRIDGE STREET                   CHICAGO, IL 60603                        10739 DEERWOOD PARK BLVD S 105
ATTN: CAROL DEANGELO                                                              JACKSONVILLE, FL 32256
HOMESTEAD, PA 15120



M & S DAKHIL & N & N HOURANY             M & S DAKHIL & N & N HOURANY             M FRIED STORE FIXTURES INC
1187 W HENDERSON AVE                     JJS FOOD MART                            110 BEARD ST
PORTERVILLE, CA 93257                    2534 W MEMORY LN                         BROOKLYN, NY 11231
                                         PORTERVILLE, CA 93257




M K DELIVERY CONTRACTING                 M KEITH ANIOL                            M&B GRAND JUNCTION LLC
4291 WELLINGTON DR                       503 S DEWEY                              96 EUCALYPTUS KNOLL
CINCINNATI, OH 45245                     CHANDLER, OK 74834                       MILL VALLEY, CA 94941
M&B GRAND JUNCTION LLCCase 18-12241-CSS     Doc 26
                                     M&E DELIVERY     FiledLLC
                                                  SERVICES  10/05/18      PageM&E
                                                                               1044  of 1739
                                                                                  DELIVERY SERVICES LLC
ATTN: FARSHAD MOIZADEH & FAYE BASHER 1865 E BROADWAY RD 413                    8050 N 61ST AVE 224
96 EUCALYPTUS KNOLL                  TEMPE, AZ 85281                           GLENDALE, AZ 85302
MILL VALLEY, CA 94941




M&G TRUCKING & TRANSPORTATION INC    M&G TRUCKING & TRANSPORTATION INC         M&H REALTY PARTNERS VI LP
1 SAN ANTONIO WAY                    41 ACCORD PARK DR                         425 CALIFORNIA ST 10TH FL
PAWTUCKET, RI 02860                  PAWTUCKET, RI 02860                       SAN FRANCISCO, CA 94104




M&H REALTY PARTNERS VI LP            M&H REALTY VI PARTNERS LP                 M&H REALTY VI PARTNERS LP
DBA M&H VI PROJECTS LLC              425 CALIFORNIA STREET, TENTH FLOOR        425 CALIFORNIA STREET, TENTH FLOOR
425 CALIFORNIA ST 10TH FL            ATTN: LEASE ADMINISTRATION                ATTN: LEASE ADMINISTRATION
SAN FRANCISCO, CA 94104              RE: DELTA SHORES, UNIT #302-44            RE: DELTA SHORES, UNIT 302-44
                                     SAN FRANCISCO, CA 94104-2113              SAN FRANCISCO, CA 94104-2113



M&J BIG WATERFRONT ANMITY SQUARE     M&J BIG WATERFRONT HOLDINGS LLC           M&J BIG WATERFRONT MARKET LLC
8531 SOLUTION CENTER                 DBA M&J BIG WATERFRONT MARKET LLC         LOCKBOX 778531
CHICAGO, IL 60677                    180 N MICHIGAN AVE STE 200                350 E DEVON AVE
                                     CHICAGO, IL 60601                         ITASCA, IL 60143




M&K TRUCK CENTERS                    M&L PROPERTIES INC                        M&L PROPERTIES, INC.
7900 BULLDOG DR                      C/O LEWIS PROPERTY CO                     C/O LEWIS PROPERTY COMPANY
SUMMIT ARGO, IL 60501                3773 RICHMOND AVE 200                     3773 RICHMOND AVENUE, SUITE 200
                                     HOUSTON, TX 77046                         HOUSTON, TX 77046




M&M SPORTS SCENE INC                 M&W LLC                                   M. & S. DAKHIL & N. & N. HOURNAY
1010 W FULLERTON AVE STE A           11501 NORTHLAKE DR                        C/O JJS FOOD MART
ADDISON, IL 60101                    CINCINNATI, OH 45249                      2534 W. MEMORIAL LANE
                                                                               PORTERVILLE, CA 93257




M. & S. DAKHIL & N. & N. HOURNAY     M. LEO STORCH MGMT CO.                    M.J. NEIDITZ & CO., INC.
C/O JJ'S FOOD MART                   BRUCE I. LEVINE                           STEVE NEIDITZ
2534 W. MEMORIAL LANE                25 HOOK LANE, SUITE 312                   433 S. MAIN STREET, 328
PORTERVILLE, CA 93257                BALTIMORE, MD 21208                       WEST HARTFORD, CT 06110




M.S. MANAGEMENT ASSOCIATES INC.      M.W. INVESTMENTS DBA                      M2 MEDIA-ACCT REC
225 WEST WASHINGTON STREET           THE WIECHERS FAMILY 1996 TRUST            6046 WARM SPRINGS STE 1200
INDIANAPOLIS, IN 46204               PO BOX 2633                               HOUSTON, TX 77035
                                     GRANITE BAY, CA 95746




M2 UNIVERSAL                         M2M DEVELOPMENT INC                       M2M DEVELOPMENT, INC.
T09415U                              3126 STATE ST STE 200                     ATTN: ROBERT MACLELLAN
PO BOX 9415 STN A                    MEDFORD, OR 97504                         3126 STATE STREET, SUITE 200
TORONTO, ON M5W 4E1                                                            MEDFORD, OR 97504
CANADA



M5 REALTY LLC                        M5 REALTY LLC                             M5 REALTY LLC
23649 N SANCTUARY CLUB DR            23649 N. SANCTUARY CLUB DRIVE             7170 W 159TH ST
KILDEER, IL 60047                    KILDEER, IL 60047                         KILDEER, IL 60047
MA TOWN OF SAUGUS     Case   18-12241-CSS    DocINDUSTRIES
                                       MAAX SPAS  26 Filed   10/05/18
                                                           CORP         PageMAC
                                                                             1045  of 1739
                                                                                BAILEY
ATTN: PROPERTY TAX DEPT.                25605 S ARIZONA AVE                 10201 S. MAIN STREET
PO BOX 4157                             CHANDLER, AZ 85248                  HOUSTON, TX 77025
WOBURN, MA 01888-4157




MAC CROSS COURT LLC                     MAC CULP                            MAC GROVE STATION LLC
C/O CROSS COURT PLAZA                   10201 S. MAIN STREET                1261 20TH ST
PO BOX 849461                           HOUSTON, TX 77025                   MIAMI BEACH, FL 33139
LOS ANGELES, CA 90084-9461




MAC GROVE STATION, LLC                  MAC HAAS                            MAC MARKETING LLC
1261 20TH STREET AT WEST AVENUE         10201 S. MAIN STREET                DBA MAC MOTION CHAIRS
MIAMI BEACH, FL 33139                   HOUSTON, TX 77025                   210 PARKTOWNE BLVD STE 1
                                                                            EDGEWATER, FL 32132




MAC MARKETING LLC                       MAC MCMICHAEL                       MAC PAPERS INC
DBA MAC MOTION CHAIRS                   10201 S. MAIN STREET                PO BOX 930513
210 PARKTOWNE BLVD STE1                 HOUSTON, TX 77025                   ATLANTA, GA 31193
EDGEWATER, FL 32132




MAC PAPERS                              MAC PAPERS                          MACANIAN REALTY
PO BOX 172640                           PO BOX 551415                       80 SEALY DR
MIAMI, FL 33017                         FORT LAUDERDALE, FL 33355           LAWRENCE, NY 11559




MACANIAN REALTY                         MACARIUS HOLDING LTD                MACARIUS HOLDINGS LTD
C/O LAVISH LEONARDO FURNITURE           DBA EGW LOUISVILLE LC               DBA EGW DAYTON LLC
80 SEALY DR                             4800 N FEDERAL HWY STE 201B         4800 N FEDERAL HWY STE 201B
LAWRENCE, NY 11559                      BOCA RATON, FL 33431                BOCA RATON, FL 33431




MACARTHUR PARK LP                       MACARTHUR PARK, LP                  MACARTHUR PARK, LP
DEPT 2627                               ATTN: LEGAL DEPARTMENT              C/O EDENS
PO BOX 95435                            P.O. BOX 528                        5910 N. CENTRAL EXPRESSWAY SUITE 1680
GRAPEVINE, TX 76099-9734                COLUMBIA, SC 76099                  DALLAS, TX 75206




MACAULAY EKPEDUMA                       MACEO WILLIAMS                      MACEO WILLIAMS
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




MACHELLE LEWALLEN                       MACHELSEA OCHOA                     MACHEN, DISQUE
                                        10201 S. MAIN STREET                ATTN: PHIL DISQUE, ESQ.
                                        HOUSTON, TX 77025                   707 S.E. 3RD AVENUE, 440
                                                                            FORT LAUDERDALE, FL 33316




MACIE MILLER                            MACIE MILLER                        MACINTYRE 874 STORE ASSOCIATES
10201 S. MAIN STREET                    10201 S. MAIN STREET                ATTN: KEITH A. TAYLOR
HOUSTON, TX 77025                       HOUSTON, TX 77025                   ONE SHERMAN SQUARE - STE 35L
                                                                            NEW YORK, NY 10023
                       Case 18-12241-CSS
MACINTYRE 874 STORE ASSOCIATES              Doc874
                                      MACINTYRE  26STORE
                                                       Filed 10/05/18
                                                          ASSOCIATES    PageMACK
                                                                             1046PEREZ
                                                                                   of 1739
                                                                                       – TEJADA
C/O KEITH A TAYLOR ESQ                ONE SHERMAN SQUARE STE 35L             34 HALE STREET
ONE SHERMAN SQUARE - STE 35L          NEW YORK, NY 10023                     BOSTON, MA 02136
NEW YORK, NY 10023




MACK PEREZ-TEJADA                     MACKE WATER SYSTEMS                    MACKENDY JOURDAIN
10201 S. MAIN STREET                  PO BOX 545                             10201 S. MAIN STREET
HOUSTON, TX 77025                     WHEELING, IL 60090-0545                HOUSTON, TX 77025




MACKENZIE BACON                       MACKENZIE MCDONALD                     MACKENZIE PATTERSON
10201 S. MAIN STREET                  10860 WASHINGTON BAY DR                10201 S. MAIN STREET
HOUSTON, TX 77025                     FISHERS, IN 46037                      HOUSTON, TX 77025




MACKENZIE SETSER                      MACKENZIE WILKINS                      MACKINS HOLLYWOOD AUTO BODY
10201 S. MAIN STREET                  9327 IRON MOUNTAIN WAY                 3737 NE BROADWAY ST
HOUSTON, TX 77025                     ARVADA, CO 80007                       PORTLAND, OR 97232




MACON WATER AUTHORITY                 MACON WATER AUTHORITY                  MACON WATER AUTHORITY
790 SECOND ST                         790 SECOND ST                          P.O. BOX 108
MACON, GA 31202-0108                  PO BOX 108                             MACON, GA 31202-0108
                                      MACON, GA 31202-0108




MACON-BIBB COUNTY                     MACON-BIBB COUNTY                      MACOSKEY, ERIC
682 CHERRY ST SUITE 500               ATTN: PROPERTY TAX DEPT.               101 MILT MILLER RD
MACON, GA 31201                       682 CHERRY ST SUITE 500                RENFREW, PA 16053-9613
                                      MACON, GA 31201




MACPHAIL PROPERTIES INC.              MACPHAIL PROPERTIES, INC.              MAD RIVER DEVELOPMENT LLC
917 C STREET STE B                    917 C STREET, SUITE B                  PO BOX 823293
SAN RAFAEL, CA 94901                  SAN RAFAEL, CA 94901                   PHILADELPHIA, PA 19182-3293




MAD RIVER DEVELOPMENT, LLC            MAD RIVER DEVELOPMENT, LLC             MAD TRUCKING LLC
P.O. BOX 309                          PO BOX 823293                          155 RIVER ST APT K4
TEANECK, NJ 07666                     PHILADELPHIA, PA 19182-3293            WEST SPRINGFIELD, MA 01089




MADDISON THOMPSON                     MADELEINE ZACHRIA                      MADELINE DELAGARZA
1336 GREEN OALKS LANE APT H           10201 S. MAIN STREET                   6358 SUNSET HAVEN ST
CHARLOTTE, NC 28205                   HOUSTON, TX 77025                      SAN ANTONIO, TX 78249




MADELINE H MACAPUGAY                  MADELINE PEREZ                         MADELYN RYAN
623 HARTMAN ST                        25755 SKYLINE DR                       216 DANA DR
HOUSTON, TX 77007                     TEHACHAPI, CA 93561                    HUTTO, TX 78634
MADISON ARCADIA LLC   Case     18-12241-CSS    Doc
                                         MADISON    26
                                                 BOEHM     Filed 10/05/18      PageMADISON
                                                                                    1047 ofBOISE
                                                                                            1739 LLC
10510 NORTHUP WAY STE 120                10201 S. MAIN STREET                       10510 NORTHUP WAY STE 120
KIRKLAND, WA 98033                       HOUSTON, TX 77025                          KIRKLAND, WA 98033




MADISON BOISE LLC                        MADISON CATHEDRAL CITY LLC                 MADISON CO TRUSTEE
ATTN: RANDI JOHNSON                      10510 NORTHUP WAY STE 120                  100 E MAIN ST 107
10510 NORTHUP WAY STE 120                KIRKLAND, WA 98033                         JACKSON, TN 38301-6244
KIRKLAND, WA 98033




MADISON COUNTY COMMISSION                MADISON COUNTY FINANCE OFFICE              MADISON COUNTY SHERIFF
100 NORTH SIDE SQUARE RM 108             PO BOX 547                                 135 W IRVINE ST STE B01
HUNTSVILLE, AL 35801-4820                RICHMOND, KY 40476-0547                    RICHMOND, KY 40475




MADISON COUNTY TAX COLLECTOR             MADISON COUNTY TREASURER                   MADISON CREEK CENTER
ATTN: SALES & USE TAX DEPT.              16 EAST 9TH STREET STE 109                 WESTMAR PROP MGMT
100 NORTH SIDE SQUARE RM 108             ANDERSON, IN 46016-1538                    41623 MARAGARITA RD STE 100
HUNTSVILLE, AL 35801-4820                                                           TEMECULA, CA 92591




MADISON CRESCENT RETAIL LLC              MADISON CRESCENT RETAIL LLC                MADISON CRESCENT RETAIL, LLC
1650 TYSONS BLVD                         COMMUNITY REALTY CO INC-LEASE ADMIN        C/O RMJ DEVELOPMENT GROUP
STE 820                                  11161 NEW HAMPSHIRE AVE STE 200            1650 TYSONS BOULEVARD, SUITE 820
MCLEAN, VA 22102                         SILVER SPRING, MD 20904                    MCLEAN, VA 22102




MADISON CURCURU                          MADISON DEVELOPMENT GROUP LLC              MADISON DEVELOPMENT GROUP, LLC
10201 S. MAIN STREET                     C/O BYRNES KELLER CROMWELL LLP             141 FRONT STREET N.
HOUSTON, TX 77025                        ATTN: BRAD KELLER                          ISSAQUAH, WA 98027
                                         1000 SECOND AVENUE, 38TH FLOOR
                                         SEATTLE, WA 98104



MADISON DRAPER LLC                       MADISON DRAPER LLC                         MADISON ELLIOTT
10510 NORTHUP WAY STE 120                C/O MADISON DEVLPMNT GROUP LLC             10201 S. MAIN STREET
KIRKLAND, WA 98033                       10510 NORTHUP WAY STE 120                  HOUSTON, TX 77025
                                         KIRKLAND, WA 98033




MADISON ELLIOTT                          MADISON GARDEN CITY LLC                    MADISON GARDEN CITY LLC
10201 S. MAIN STREET                     10510 NORTHUP WAY STE 120                  ATTN: RANDI JOHNSON
HOUSTON, TX 77025                        KIRKLAND, WA 98033                         10510 NORTHUP WAY STE 120
                                                                                    KIRKLAND, WA 98033




MADISON GAS & ELECTRIC                   MADISON GAS & ELECTRIC                     MADISON GAS AND ELECTRIC
623 RAILROAD ST                          P.O. BOX 1231                              P.O. BOX 1231
MADISON, WI 53703                        MADISON, WI 53701-1231                     MADISON, WI 53701-1231




MADISON GILL                             MADISON GRANTS PASS LLC                    MADISON GREAT FALLS LLC
10201 S. MAIN STREET                     10510 NORTHUP WAY STE 120                  C/O MADISON DEVELPMT GROUP LLC
HOUSTON, TX 77025                        KIRKLAND, WA 98033                         10510 NE NORTHUP WAY STE 120
                                                                                    KIRKLAND, WA 98033
MADISON HANSON          Case 18-12241-CSS    Doc
                                       MADISON    26DELL
                                               HAZEL   Filed
                                                         LLC 10/05/18       PageMADISON
                                                                                 1048 ofHAZEL
                                                                                         1739 DELL LLC
60137 CHESAPEAKE DR                     10510 NORTHUP WAY STE 120                C/O MADISON DEVELOPMENT GROUP LLC
JOSHUA TREE, CA 92252                   KIRKLAND, WA 98033                       141 FRONT STREET N
                                                                                 ISSAQUAH, WA 98027




MADISON HESPERIA LLC                    MADISON HESPERIA LLC                     MADISON KANSAS LLC
1775 12TH AVE NW STE 220                C/O MADISON DEVELOPMENT GROUP LLC        10510 NORTHUP WAY STE 120
ISSAQUAH, WA 98027                      1775 12TH AVE NW STE 220                 KIRKLAND, WA 98033
                                        ISSAQUAH, WA 98027




MADISON KANSAS LLC                      MADISON KERNERSVILLE LLC                 MADISON MARQUETTE REAL SERVICES
C/O MADISON DEVELOPMENT GROUP LLC       10407 LOVELL CENTER DR                   401 BROADWAY EAST, SUITE 223
1775 12TH AVE NW STE 220                KNOXVILLE, TN 37922-3227                 SEATTLE, WA 98102
ISSAQUAH, WA 98027




MADISON MARQUETTE RETAIL SERVICES       MADISON MERIDIAN LLC                     MADISON MERIDIAN LLC
ATTN: MALL MANAGEMENT OFFICE            10510 NE NORTHUP WAY STE 120             ATTN: DEBBIE METULLY
3535 U.S. HIGHWAY 1                     KIRKLAND, WA 98033                       10510 NORTHUP WAY STE 120
PRINCETON, NJ 08540                                                              KIRKLAND, WA 98033




MADISON MUNICIPAL SERVICES              MADISON MURRIETA LLC                     MADISON MURRIETA LLC
CITY TREASURER                          10510 NORTHUP WAY STE 120                ATTN: DEBBIE METULLY
P.O. BOX 2997                           KIRKLAND, WA 98033                       10510 NORTHUP WAY STE 120
MADISON, WI 53701                                                                KIRKLAND, WA 98033




MADISON NAMPA LLC                       MADISON NAMPA LLC                        MADISON NAMPA LLC
141 FRONT STREET N.                     C/O BYRNES KELLER CROMWELL LLP           C/O BYRNES KELLER CROMWELL LLP
ISSAQUAH, WA 98027                      ATTN: BRADLEY KELLER                     ATTN: JOFREY M. MCWILLIAM
                                        1000 SECOND AVENUE, SUITE 3800           1000 SECOND AVENUE, 38TH FLOOR
                                        SEATTLE, WA 98104                        SEATTLE, WA 98104



MADISON NAMPA LLC                       MADISON NAMPA LLC                        MADISON NEWPORT HIGHWAY LLC
C/O GIVENS PURSLEY LLP                  C/O GIVENS PURSLEY LLP                   ATTN: JIM GALLAUGHER
ATTN: ALEXANDER P. MCLAUGHLIN           ATTN: MELODIE MCQUADE                    C/O MADISON DEVELOPMENT GROUP INC
601 W. BANNOCK STREET                   601 W. BANNOCK                           10510 NE NORTHUP WAY SUITE 120
BOISE, ID 83701                         BOISE, ID 83701-2720                     KIRKLAND, WA 98033



MADISON NEWSPAPERS INC DBA CAPITAL      MADISON PIONEER HILLS LLC                MADISON PIONEER HILLS LLC
NEWSPAPERS                              1775 12TH AVE NW STE 220                 C/O MADISON DEVELOPMENT GROUP LLC
1901 FISH HATCHERY RD                   ISSAQUAH, WA 98027                       1775 12TH AVE NW STE 220
PO BOX 8056                                                                      ISSAQUAH, WA 98027
MADISON, WI 53708



MADISON POCATELLO LLC                   MADISON PROPERTIES                       MADISON PROPERTY MANAGEMENT
10510 NORTHUP WAY STE 120               ATTN: YITTY GROSS                        1202 REGENT STREET
KIRKLAND, WA 98033                      30611 14TH AVENUE, SUITE 552             MADISON, WI 53715
                                        BROOKLYN, NY 11218




MADISON PROPERTY MANAGEMENT             MADISON PROPERTY MANAGEMENT              MADISON PROPERTY MANAGEMENT
200 MADISON AVE 24TH FLOOR              MELISSA & JAMES REALTY INC               MELISSA & JAMES REALTY INC
NEW YORK, NY 10016                      200 MADISON AVE 24TH FLR                 200 MADISON AVENUE, 24TH FLOOR
                                        NEW YORK, NY 10016                       NEW YORK, NY 10016
                      Case 18-12241-CSS
MADISON RETAIL ROME LLC              MADISONDoc  26 ROME
                                              RETAIL   Filed
                                                          LLC10/05/18        PageMADISON
                                                                                  1049 ofSOUTH
                                                                                          1739JORDAN LLC
3284 NORTHSIDE PKWY NW STE 500       3625 CUMBERLAND BLVD STE 530                 10510 NORHTUP WAY STE 120
ATLANTA, GA 30327                    ATLANTA, GA 30339                            KIRKLAND, WA 98033




MADISON SPRAGUE II INC                MADISON SQUARE GARDEN                       MADISON SUBURBAN UTILITY DIST
ATTN: JIM GALLAUGHER                  2 PENN PLAZA                                108 WEST WEBSTER ST
C/O MADISON DEVELOPMENT GROUP INC     NEW YORK, NY 10121                          MADISON, TN 37115
10510 NE NORTHUP WAY SUITE 120
KIRKLAND, WA 98033



MADISON SUBURBAN UTILITY DIST         MADISON SURBURBAN UITILITY DISTRICT         MADISON TOTEM LAKE LLC
P.O. BOX 306140                       P.O. BOX 306140                             141 FRONT ST N
NASHVILLE, TN 37230-6140              NASHVILLE, TN 37230-6140                    ISSAQUAH, WA 98027




MADISON TOTEM LAKE LLC                MADISON TOWN                                MADISON UTILITIES
C/O MADISON DEVEL. GROUP LLC          ATTN: PROPERTY TAX DEPT.                    101 RAY SANDERSON DR
141 FRONT ST N                        2120 FISH HATCHERY RD                       MADISON, AL 35758
ISSAQUAH, WA 98027                    MADISON, WI 53713




MADISON VANCOUVER LLC                 MADISON WARRENTON LLC                       MADISON
10510 NORTHUP WAY STE 120             10510 NORTHUP WAY STE 120                   ATTN: PROPERTY TAX DEPT.
KIRKLAND, WA 98033                    KIRKLAND, WA 98033                          PO BOX 99
                                                                                  MADISON, AL 35758




MADONNA IBRAHIM                       MADYSEN WILLDEN                             MAEGAN CORMIER
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




MAELANI DARCY                         MAGDA ABOUSETTA                             MAGDA OMAR
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025




MAGDI AHMED                           MAGELLAN TRANSPORT LOGISTICS INC            MAGERAS FAMILY LLC
10201 S. MAIN STREET                  2511 ST JOHNS BLUFF RD STE 107              C/O SIGNATURE MGMT INC
HOUSTON, TX 77025                     JACKSONVILLE, FL 32246                      PO BOX 26104
                                                                                  WINSTON SALEM, NC 27114




MAGERAS FAMILY LLC                    MAGERAS FAMILY, LLC                         MAGERAS FAMILY, LLC
PO BOX 26104                          C/O SIGNATURE MANAGEMENT, INC.              C/O SIGNATURE MANAGEMENT, INC.
WINSTON SALEM, NC 27114               1365 WESTGATE CENTER DRIVE, SUITE B1        PO BOX 26104
                                      ATTN: MARIA TSIGAS                          WINSTON SALEM, NC 27114
                                      WINSTON-SALEM, NC 27103



MAGGIE BECKHAM                        MAGGIE BROWN                                MAGGIE GARCIA
10201 S. MAIN STREET                  10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                           HOUSTON, TX 77025
MAGGIE GOODRICH        Case 18-12241-CSS
                                      MAGGIEDoc
                                             HUNT26        Filed 10/05/18   PageMAGGIE
                                                                                 1050 of 1739
                                                                                       RAZNICK
10201 S. MAIN STREET                   14788 VIA MANTOVA                        10201 S. MAIN STREET
HOUSTON, TX 77025                      SAN DIEGO, CA 92127                      HOUSTON, TX 77025




MAGGIE SOKO                            MAGGIE WALTON                            MAGGIOTTO BELOBROW FEENEY & FRAAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     PLLC
HOUSTON, TX 77025                      HOUSTON, TX 77025                        58 PLEASANT ST
                                                                                CONCORD, NH 03301




MAGIC IRRIGATION LLC                   MAGISTERIAL DISTRICT COURT 38-1-18       MAGISTERIAL DISTRICT NO MDJ-05-2-19
7414 W 90TH ST                         601 BETHLEHEM PIKE BLDG D STE 100        680 WASHINGTON RD STE 103
BRIDGEVIEW, IL 60455                   MONTGOMERYVILLE, PA 18936                PITTSBURGH, PA 15228




MAGISTERIAL DISTRICT NO. MDJ-32-2-54   MAGISTRATE COURT FULTON CT DBA RM        MAGISTRATE COURT OF FULTON CO
56 POWELL RD                           T700 JUSTICE                             GARNISHMENT DIV TG900
SPRINGFIELD, PA 19064                  185 CENTRAL AVENUE SW                    185 CENTRAL AVE SW
                                       ATLANTA, GA 30303                        ATLANTA, GA 30303




MAGNE L VEIMOEN TRUST                  MAGNE L. VEIMOEN TRUST                   MAGNIFLEX USA LTD
ATTN: MAGNE L VEIMOEN                  ATTN: MAGNE L. VEIMOEN                   1000 5TH ST STE 220
PO BOX 5569                            P.O. BOX 5569                            MIAMI, FL 33139
SOUTH SAN FRANCISCO, CA 94083          SOUTH SAN FRANCISCO, CA 94083




MAGNOLIA INVESTORS LLC                 MAGNOLIA INVESTORS LLC                   MAGNOLIA INVESTORS LLC
C/O MIKE HAWKINS                       C/O MIKE HAWKINS                         PO BOX 12821
PO BOX 12821                           PO BOX 12821                             NEWBERN, NC 28561
NEW BERN, NC 28561                     NEWBERN, NC 28561




MAGNUSSEN HOME FURNISHINGS INC         MAGNUSSEN HOME FURNISHINGS INC           MAGNUSSEN HOME FURNISHINGS INC
2155 EXCISE AVE STE B                  4355 FEDERAL DR STE 100                  MAGNUSSEN HOME FURNISHINGS INC
ONTARIO, CA 91761                      GREENSBORO, NC 27410                     GREENSBORO, NC 27410




MAGOON FAMILY LLC                      MAGOON FAMILY LLC                        MAGOON FAMILY LLC
130 NICKERSON ST, SUITE 207            130 NICKERSON STREET, #207               500 CAPITAL OF TX HWY N BLDG 7
SEATTLE, WA 98109                      SEATTLE, WA 98109                        AUSTIN, TX 78746




MAGOON FAMILY LLC                      MAGOON FAMILY LLC                        MAHA TAYEBELASMA
ATTN: CAPRICE MAGOON                   SANDALWOOD MANAGEMENT                    10201 S. MAIN STREET
130 NICKERSON STREET, 207              500 CAPITAL OF TX HWY N BLDG 7           HOUSTON, TX 77025
SEATTLE, WA 98109                      AUSTIN, TX 78746




MAHDI ABBASI FAR                       MAHER FAMILY LLC                         MAHER FAMILY, LLC
10201 S. MAIN STREET                   C/O ELDRED MAHER                         ATTN: ELDRED L MAHER
HOUSTON, TX 77025                      460 FAIRFIELD AVE                        460 FAIRFIELD AVE
                                       GRETNA, LA 70056                         GRETNA, LA 70056
MAHLON DA SILVA           Case 18-12241-CSS   Doc
                                         MAHMUT    26 ERAN
                                                SERKAN  Filed 10/05/18          PageMAHONING
                                                                                     1051 of COUNTY
                                                                                             1739 TREASURER
10201 S. MAIN STREET                      10201 S. MAIN STREET                      120 MARKET ST
HOUSTON, TX 77025                         HOUSTON, TX 77025                         YOUNGSTOWN, OH 44503




MAHONING PLAZA LLC                        MAHONING PLAZA, LLC                       MAHONING PLAZA, LLC
1670 BLAKSLEE BLVD DR E                   ATTN: SALVATORE CARUSO                    ATTN: SALVATORE CARUSO
LEHIGHTON, PA 18235                       1670 BLAKESLEE BOULEVARD DRIVE EAST       1670 BLAKESLEE BOULEVARD DRIVE EAST
                                          LEHIGHTON, PA 18235                       LEIGHTON, PA 18235




MAHONING TOWNSHIP MUNICPL AUTH            MAIDA MARSACH                             MAIL SERVICES OF HOUSTON INC
P.O. BOX 609                              10201 S. MAIN STREET                      PO BOX 15180
LEHIGHTON, PA 18235                       HOUSTON, TX 77025                         HOUSTON, TX 77220-5180




MAILFINANCE                               MAIN & ELM LLC                            MAIN 33 LLC
DEPT 3682                                 500 OLD COUNTRY RD STE 200                4520 MADISON AVE STE 300
PO BOX 123682                             GARDEN CITY, NY 11530                     KANSAS CITY, MO 64111
DALLAS, TX 75312




MAIN LAND FAIRFIELD LLC                   MAIN LAND FAIRFIELD LLC                   MAIN STREET BROADCASTING
420 RTE 46 E STE 17                       420 RTE 46 E                              WLNG
FAIRFIELD, NJ 07004                       STE 116                                   PO BOX 2000-23 REDWOOD RD
                                          FAIRFIELD, NJ 07004                       SAG HARBOR, NY 11963




MAIN STREET PROPERTIES LP                 MAIN STREET SHOPPING CENTER LLC           MAIN STREET SHOPPING CENTER, LLC
161 LEVERINGTON AVE STE 100               HAMILTON MGMT                             C/O HAMILTON MANAGEMENT, INC.
PHILADELPHIA, PA 19127                    700 EMERSON ST                            700 EMERSON STREET
                                          PALO ALTO, CA 94301                       PALO ALTO, CA 94301




MAIN WINBERN LLC                          MAIN WINBERN, LLC                         MAIN WINBERN, LLC
ATTN: SHAWN TAHER                         ATTN: HEATHER NGUYEN                      ATTN: HEATHER NGUYEN
BODY BALANCE CHIROPRACTIC12155            806 SPEAR POINT COVE                      ATTN: HEATHER NGUYEN
JONES RD STE A                            HOUSTON, TX 77079                         HOUSTON, TX 77079
HOUSTON, TX 77070



MAIN WINBERN, LLC                         MAINE NATURAL GAS                         MAINE NATURAL GAS
ATTN: SHAWN TAHER                         9 INDUSTRIAL PARKWAY                      P.O. BOX 99
BODY BALANCE CHIROPRACTIC                 BRUNSWICK, ME 04011                       BRUNSWICK, ME 04011
12155 JONES RD STE A
HOUSTON, TX 77070



MAINE REVENUE SERVICES                    MAINE REVENUE SERVICES                    MAINE REVENUE SERVICES
51 COMMERCE DRIVE                         ATTN: SALES & USE TAX DEPT.               ATTN: UNCLAIMED PROPERTY DEPT.
AUGUSTA, ME 04330                         PO BOX 1065                               PO BOX 1065
                                          AUGUSTA, ME 04332                         AUGUSTA, ME 04332




MAINE REVENUE SERVICES                    MAINE REVENUE SERVICES                    MAINE TODAY MEDIA INC
PO BOX 1065                               PO BOX 9107                               PO BOX 11349
AUGUSTA, ME 04332-1065                    AUGUSTA, ME 043329107                     PORTLAND, ME 04104
                      Case 18-12241-CSS
MAINE TURNPIKE AUTHORITY                    Doc 26
                                     MAINE WATER  CO Filed   10/05/18    PageMAINE
                                                                              1052WATER
                                                                                   of 1739
                                                                                        CO
EZ PASS BUSINESS DEPARTMENT          93 INDUSTRIAL PARK RD                   93 INDUSTRIAL PARK ROAD
2360 CONGRESS STREET                 SACO, ME 04072                          SACO, ME 04072-1804
PORTLAND, ME 04102




MAINE WATER COMPANY                  MAINETODAY MEDIA INC                    MAINTENANCE TECHNOLOGIES INC
93 INDUSTRIAL PARK RD                DBA PORTLAND PRESS HERALD               3500 SEASONAL WAY
SACO, ME 04072-1804                  ONE CITY CENTER, 5TH FLOOR              KNOXVILLE, TN 37909
                                     PORTLAND, ME 04101




MAISSON DAVIS                        MAITHILI WALVEKAR                       MAJ COMMERCIAL REAL ESTATE
10201 S. MAIN STREET                 10201 S. MAIN STREET                    300 W 15TH STREET, STE 201
HOUSTON, TX 77025                    HOUSTON, TX 77025                       ATTN: KATIE PANARRA
                                                                             VANCOUVER, WA 98660




MAJ COMMERCIAL REAL ESTATE           MAJDI RAZICK                            MAJIGG JONES
PROPERTY MANAGEMENT DIVISION         10201 S. MAIN STREET                    10201 S. MAIN STREET
300 W 15TH ST STE 201                HOUSTON, TX 77025                       HOUSTON, TX 77025
VANCOUVER, WA 98660




MAJOR WASTE DISPOSAL SERVICE INC.    MAJOR WASTE DISPOSAL SERVICE INC.       MAK ISREAL
6430 VROOMAN RD                      6430 VROOMAN ROAD                       10201 S. MAIN STREET
PAINESVILLE, OH 44077                PAINESVILLE, OH 44077                   HOUSTON, TX 77025




MAKAI SLINK                          MAKENNA MUTSCH                          MAKINNLEY BROWN
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




MAKMUR, LLC                          MALACHAI GRILLOT                        MALACHI DESIDERIO-BATTLE
ATTN: EDWARD J. LANDRY               10201 S. MAIN STREET                    10201 S. MAIN STREET
642 SHASTA DRIVE                     HOUSTON, TX 77025                       HOUSTON, TX 77025
ENCINITAS, CA 92024




MALACHI WEST                         MALCOLM BILLIOT                         MALCOLM FUJITA
10201 S. MAIN STREET                 10201 S. MAIN STREET                    PO BOX 880475
HOUSTON, TX 77025                    HOUSTON, TX 77025                       PUKALANI, HI 96788




MALCOLM HOWARD                       MALCOLM JACKSON                         MALCOLM LAWSON
10201 S. MAIN STREET                 10500 IRMA DR 12-105                    10201 S. MAIN STREET
HOUSTON, TX 77025                    NORTHGLENN, CO 80233                    HOUSTON, TX 77025




MALCOLM MOSS                         MALCOLM ROBINSON                        MALCOLM THOMAS
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025
MALCOLM WRIGHT          Case 18-12241-CSS   Doc 26
                                       MALCOMSON      Filed 10/05/18
                                                 ROAD U.D.                    PageMALCOMSON
                                                                                   1053 of 1739
                                                                                            ROAD UD
10201 S. MAIN STREET                    P.O. BOX 690928                           17495 VILLAGE GREEN DR
HOUSTON, TX 77025                       HOUSTON, TX 77269-0928                    HOUSTON, TX 77040




MALCOMSON ROAD UD                       MALCOMSON ROAD UD                         MALCOMSON ROAD UD
TAX ASSESSOR COLLECTOR                  TAX ASSESSOR COLLECTOR                    TAX ASSESSOR COLLECTOR
P.O. BOX 1819                           PO BOX 1819                               PO BOX 1819
HOUSTON, TX 77251                       HOUSTON, TX 77251                         HOUSTON, TX 77251-1819




MALDONADO NURSERY & LANDSCAPING INC     MALEEK ODEN                               MALIK GUILLORY
16348 NACOGDOCHES RD                    10201 S. MAIN STREET                      17314 ADMIRAL OAK CT
SAN ANTONIO, TX 78247                   HOUSTON, TX 77025                         HUMBLE, TX 77346




MALIK JOHNSON                           MALIK MITCHELL                            MALIK OTUEMHOBE
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




MALIK SMITH                             MALIK SNOW                                MALIK SPEARMAN
22465 SW 110TH COURT                    10201 S. MAIN STREET                      10201 S. MAIN STREET
MIAMI, FL 33170                         HOUSTON, TX 77025                         HOUSTON, TX 77025




MALIKA HIGHTOWER                        MALIN INTEGRATED HANDLING SOLUTIONS       MALISON TRUST
10201 S. MAIN STREET                    & DESIGNS                                 C/O KIN PROPERTIES, INC.
HOUSTON, TX 77025                       6085 CORRIDOR PKWY STE 100                185 NW SPANISH RIVER BOULEVARD, SUITE
                                        SCHERTZ, TX 78154                         100
                                                                                  BOCA RATON, FL 33431



MALLEY, SHELBI                          MALLORY ERVIN DECA DBA KIN COMMUNITY      MALLORY MCINTOSH
392 B HARTFORD PIKE                     1706 18TH AVE S UNIT 311                  2425 CROMWELL CIRCLE 1305
DAYVILLE, CT 06241                      NASHVILLE, TN 37212                       AUSTIN, TX 78741




MALORIE DE GELORMO                      MALOUF FINE LINENS                        MALTHOUSE CONSTRUCTION CORP
10201 S. MAIN STREET                    1525 W 2960 S                             95 BREWERY LANE
HOUSTON, TX 77025                       LOGAN, UT 84321                           PORTSMOUTH, NH 03801




MALTHOUSE CONSTRUCTION                  MALUIAIGA TUAMASAGA                       MAMAS GARDEN CENTER
95 BREWERY LANE                         10201 S. MAIN STREET                      111 OVERSEAS HWY 108
PORTSMOUTH, NH 03801                    HOUSTON, TX 77025                         KEY WEST, FL 33040




MAMIE R WIMPEE                          MAMMOTH ROCK LLC                          MAMMOTHROCK LLC
2199 PLEASANT HILL RD                   C/O THE TERRADEN CORPORATION              C/O THE TERRADEN CORP
FRANKLIN, KY 42134                      229 AVENUE I, SUITE 300                   229 AVE I STE 300
                                        REDONDO BEACH, CA 90277                   REDONDO BEACH, CA 90277
MAMOONA CHEEMA           Case 18-12241-CSS   Doc 26
                                        MANAGEMENT     Filed 10/05/18
                                                   CONSULTANTS LLC          PageMANAGER
                                                                                 1054 ofOF
                                                                                         1739
                                                                                           FINANCE
10201 S. MAIN STREET                     C/O CB RICHARD ELLIS/CARMODY LLC        ATTN: SALES & USE TAX DEPT.
HOUSTON, TX 77025                        PO BOX 310                              PO BOX 660860
                                         CHARLESTON, SC 29402-0310               DALLAS, TX 75266




MANAL HANNA                              MANAL QUTTEINEH                         MANALAPAN UE LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                    C/O HACKENSACK UE LLC
HOUSTON, TX 77025                        HOUSTON, TX 77025                       PO BOX 645308
                                                                                 PITTSBURGH, PA 15264-5308




MANALAPAN UE LLC                         MANALAPAN UE LLC                        MANATEE CO TAX COLLECTOR
C/O URBAN EDGE PROPERTIES                C/O URBAN EDGE PROPERTIES               P.O. BOX 25300
210 ROUTE 4 EAST                         210 ROUTE 4 EAST                        BRADENTON, FL 34206-5300
ATTN: CHIEF OPERATING OFFICER            ATTN: LEGAL DEPARTMENT
PARAMUS, NJ 07652                        PARAMUS, NJ 07652



MANATEE CO UTILITIES DEPT                MANATEE CO UTILITIES DEPT               MANATEE TAX COLLECTOR
1112 MANATEE AVENUE WEST                 P.O. BOX 25350                          ATTN: PROPERTY TAX DEPT.
BRADENTON, FL 34205                      BRADENTON, FL 34206-5350                P.O. BOX 25300
                                                                                 BRADENTON, FL 34206-5300




MANCHESTER TOWNSHIP                      MANCHESTER COMMONS LLC                  MANCHESTER COMMONS, LLC
TAX COLLECTOR                            C/O GJ GREWE INC                        C/O G. J. GREWE, INC.
3204 FARMTRAIL RD                        639 GRAVOIS BLUFFS BLVD STE D           639 GRAVOIS BLUFFS BLVD., SUITE D
YORK, PA 17406                           FENTON, MO 63026                        ATTN: JILL DOERR
                                                                                 FENTON, MO 63026



MANCHESTER WATER WORKS                   MANCHESTER WATER WORKS                  MANCHESTER
281 LINCOLN STREET                       PO BOX 9677                             ATTN: PROPERTY TAX DEPT.
MANCHESTER, NH 03103                     MANCHESTER, NH 03108-9677               14318 MANCHESTER RD.
                                                                                 MANCHESTER, MO 63011




MANCINAS, JAVIER                         MANCINIS SLEEPWORLD INC                 MANDA BOX
1010 N 23RD AVE                          599 HAWTHORNE PL                        223 WEST MCGRAW ST
MELROSE PARK, IL 60160                   LIVERMORE, CA 94550                     SEATTLE, WA 98119




MANDA PENNENGA                           MANDANA TOOFAN                          MANDARICH LAW GROUP LLP
10201 S. MAIN STREET                     10201 S. MAIN STREET                    6301 OWENSMOUTH AVE STE 850
HOUSTON, TX 77025                        HOUSTON, TX 77025                       WOODLAND HILLS, CA 91367




MANDARIN ORANGE EDUCATION FOUNDARY       MANDI GERMAN                            MANDI RIGGIO
295 TERRACE ST                           10201 S. MAIN STREET                    10201 S. MAIN STREET
AUBURN, CA 95603                         HOUSTON, TX 77025                       HOUSTON, TX 77025




MANDIE KOLENUT                           MANDIE MISH                             MANDII MOORE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025
MANDOLAS DELI          Case 18-12241-CSS   DocINVESTMENTS
                                      MANDULEY  26 FiledLLC
                                                          10/05/18             PageMANDULEY
                                                                                    1055 of INVESTMENTS,
                                                                                            1739         LLC
4105 LEELAND                            1205 SW 37TH AVE                            C/O N LAUDERDALE BM, LLC
HOUSTON, TX 77023                       MIAMI, FL 33135                             1205 SW 37TH AVENUE, 3RD FLOOR
                                                                                    MIAMI, FL 33135




MANDY HEALY                             MANETTE SINGER                              MANHARD CONSULTING LTD
10201 S. MAIN STREET                    10201 S. MAIN STREET                        900 WOODLANDS PKWY
HOUSTON, TX 77025                       HOUSTON, TX 77025                           VERNON HILLS, IL 60061




MANHATTAN BROOK ASSOCIATES LLC          MANHATTAN BROOK ASSOCIATES LLC              MANHATTAN BROOK ASSOCIATES, LLC
62 JUNE RD                              62 JUNE RD PO BOX 429                       62 JUNE ROAD
PO 429                                  NORTH SALEM, NY 10560                       NORTH SALEM, NY 10560
NORTH SALEM, NY 10560




MANHATTAN BROOK ASSOCIATES, LLC         MANHATTAN BROOK ASSOCIATES, LLC             MANHATTAN COMFORT
62 JUNE ROAD                            62 JUNE ROAD                                675 RAHWAY AVE
PO 429                                  PO BOX 429                                  UNION, NJ 07083
NORTH SALEM, NY 10560                   NORTH SALEM, NY 10560




MANHATTAN CROSSING II LLC               MANHATTAN CROSSING II LLC                   MANHATTAN CROSSING II LLC
6310 LAMAR STE 220                      C/O RUBENSTEIN REAL ESTATE CO., LC          RUBENSTEIN REAL ESTATE CO LC
MISSION, KS 66202                       6310 LAMAR, SUITE 220                       6310 LAMAR STE 220
                                        OVERLAND PARK, KS 66202                     OVERLAND PARK, KS 66202




MANHATTAN FIRE & SAFETY CORP            MANHATTAN PLAZA ASSOC LLC                   MANHEIM REALTY
242 W 30TH ST 7TH FLOOR                 C/O SRSA FULF SOUTH MGMT INC                525 BROADHOLLOW REALTY, SUITE 100
NEW YORK, NY 10001                      P.O. BOX 113130                             MELVILLE, NY 11747-3718
                                        METAIRIE, LA 70011




MANISH ARORA                            MANISH VIJAY                                MANITOWOC CITY TREASURER
10201 S. MAIN STREET                    1908 CONTINENTAL AVE APT 302                900 QUAY ST.
HOUSTON, TX 77025                       NAPERVILLE, IL 60563                        MANITOWOC, WI 54220-4543




MANITOWOC CITY                          MANITOWOC PUBLIC UTILITIES                  MANITOWOC PUBLIC UTILITIES
ATTN: PROPERTY TAX DEPT.                1303 SOUTH 8TH ST                           PAYMENT PROCESSING CNTR
900 QUAY ST.                            PO BOX 1090                                 PO BOX 41
MANITOWOC, WI 54220                     MANITOWOC, WI 54221                         MANITOWOC, WI 54221-0041




MANJIT MANHAS                           MANN ENTERPRISES INC.                       MANN ENTERPRISES, INC.
10201 S. MAIN STREET                    BANK OF AMERICA                             BANK OF AMERICA
HOUSTON, TX 77025                       LOCKBOX FILE 56692                          LOCKBOX FILE 56692
                                        LOS ANGELES, CA 90074-6692                  LOS ANGELES, CA 90074-6692




MANN ENTERPRISES, INC.                  MANN INVESTMENTS, INC.                      MANNA FREIGHT SYSTEMS INC
C/O SUNBELT INVESTMENT HOLDINGS, INC.   ATTN: MR. STEPHEN T. FALVEY, MANAGING       VB BOX 157
8095 OTHELLO AVENUE                     PARTNER                                     PO BOX 9202
SAN DIEGO, CA 92111                     455 N. CITYFRONT PLAZA DRIVE, SUITE 2400    MINNEAPOLIS, MN 55480-9202
                                        CHICAGO, IL 60611
MANNING BROADCASTINGCase
                     INC        18-12241-CSS    Doc
                                          MANNING,   26 AND
                                                   FULTON Filed 10/05/18
                                                             SKINNER, P.A.      PageMANNS
                                                                                     1056 INC
                                                                                           of 1739
880 COMMONWEALTH AVE                        3605 GLENWOOD AVENUE, SUITE 500         50 COMMERCE DR
HAGERSTOWN, MD 21740                        RALEIGH, NC 27612                       HUNTINGTON, IN 46750




MANNY BARNET                                MANNY CARO PEREZ                        MANNY EVANS
10201 S. MAIN STREET                        10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                           HOUSTON, TX 77025                       HOUSTON, TX 77025




MANNY GARCIA                                MANNY LONGORIA                          MANOLO ROSA
10201 S. MAIN STREET                        10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                           HOUSTON, TX 77025                       HOUSTON, TX 77025




MANOR BROADCASTING INC                      MANOR INDUSTRIES, INC-MICHAELS          MANSELL CROSSING LP
C/O THOMAS SULLIVAN                         LANDSCAPE SERVICES                      C/O WEINGARTEN REALTY INVESTORS
20 RAVENGLASS DR                            P.O. BOX 227235                         2600 CITADEL PLAZA DRIVE
STAMFORD, CT 06903                          DALLAS, TX 75222-7235                   HOUSTON, TX 77008




MANSELL CROSSING RETAIL LP                  MANSELL CROSSING RETAIL LP              MANSFIELD ELECTRIC
2600 CITADEL PLAZA                          COLLECTIONS                             125 HIGH STREET
STE 125                                     P.O. BOX 924133                         UNIT 1
HOUSTON, TX 77008                           HOUSTON, TX 77292-4133                  MANSFIELD, MA 02048




MANSFIELD ELECTRIC                          MANSFIELD OIL COMPANY                   MANSFIELD PLAZA LLC
P.O. BOX 9192                               PO BOX 187                              PO BOX 746
CHELSEA, MA 02150-9192                      COLUMBUS, NJ 08022                      SHORT HILLS, NJ 07078




MANSFIELD PLAZA, LLC                        MANSFIELD WATER SEWER                   MANSFIELD WATER SEWER
820 MORRIS TURNPIKE                         99 PARK AVENUE EAST                     P.O. BOX 9192
SHORT HILLS, NJ 07078                       MANSFIELD, OH 44902                     CHELSEA, MA 02150-9192




MANSFIELD                                   MANTHAN SOFTWARE SERVICES PVT LTD       MANTUA MFG CO
ATTN: PROPERTY TAX DEPT.                    40/4 LAVELLE RD                         7900 NORTHFIELD RD.
PO BOX 577                                  40/4                                    WALTON HILLS, OH 44146
MANSFIELD, OH 44901-0577                    BANGALORE URBAN
                                            BANGALORE 560 001 INDIA



MANTUA MFG CO                               MANTUA MFG CO                           MANTUA MFG CO
ATTN: CHIEF FINANCIAL OFFICER               ATTN: CHIEF FINANCIAL OFFICER           PO BOX 733644
31050 DIAMOND PKWY                          7900 NORTHFIELD RD                      DALLAS, TX 75373-3644
GLENWILLOW, OH 44139                        WALTON HILLS, OH 44146-5525




MANUCHER NAZARIAN                           MANUEL CHAVEZ                           MANUEL DAVALOS RAZO
757 8TH AVE                                 10201 S. MAIN STREET                    10201 S. MAIN STREET
FORT WORTH, TX 76104                        HOUSTON, TX 77025                       HOUSTON, TX 77025
MANUEL GARCIA PARAMO Case      18-12241-CSS
                                         MANUELDoc 26 Filed 10/05/18
                                                GOSCON                 PageMANUEL
                                                                            1057 of 1739
                                                                                  MURRIETTA
3006 KINGSTON ST                         10201 S. MAIN STREET               10201 S. MAIN STREET
DALLAS, TX 75211                         HOUSTON, TX 77025                  HOUSTON, TX 77025




MANUEL OCASIO                            MANUEL OVIEDO                      MANUEL PACHECO
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




MANUEL R VAZQUEZ                         MANUEL RAMIREZ                     MANUEL RIVAS
11169 SW 88TH APT E111                   10201 S. MAIN STREET               10201 S. MAIN STREET
MIAMI, FL 33176                          HOUSTON, TX 77025                  HOUSTON, TX 77025




MANUEL ROJAS                             MANUEL ROSA                        MANUEL S HIRALDO
10201 S. MAIN STREET                     10201 S. MAIN STREET               729 NE 16TH TERRACE
HOUSTON, TX 77025                        HOUSTON, TX 77025                  FORT LAUDERDALE, FL 33304




MANUEL SUMBA                             MANUEL WILLIAMS                    MAP EASTWOOD EAST, LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET               C/O MAP DEVELOPMENT, LLC
HOUSTON, TX 77025                        HOUSTON, TX 77025                  421 OFFICE PARK DRIVE
                                                                            ATTN: PROPERTY MANAGEMENT
                                                                            BIRMINGHAM, AL 35223



MAP EASTWOOD LLC                         MAP LOGISTICAL SERVICES LLC        MAPES RANCH INVESTMENTS LLC
421 OFFICE PARK DR                       170 RIDGEMONT DR                   AIM PROP MGMT 1212 "K" ST
BIRMINGHAM, AL 35223                     COLUMBIA, SC 29212                 MODESTO, CA 95354




MAPES RANCH INVESTMENTS, LLC             MAPLE SHADE PARTNERS LLC           MAPLE SHADE TOWNSHIP
C/O AIM PROPERTY MANAGEMENT              1000 SOUTH OYSTER BAY RD           200 STILES AVE
1212 K STREET                            HICKSVILLE, NY 11801               MAPLE SHADE, NJ 08052
MODESTO, CA 95354




MAPLE SHADE TOWNSHIP                     MAPLENUT LTD PARTNERSHIP           MAPLETON COMMUNICATIONS MONTEREY
200 STILES AVENUE                        3190 GATEWAY RD STE 100            60 GARDEN COURT STE 300
MAPLE SHADE, NJ 08052                    BROOKFIELD, WI 53045               MONTEREY, CA 93940




MAPLEWOOD 2007 LLC                       MAPLEWOOD 2007 LLC                 MAPLEWOOD PLAZA LLC
15600 WAYZATA BLVD STE 201               21ST CENTURY BANK                  CO CARNEGIE COMPANIES INC
WAYZATA, MN 55391                        P.O. BOX 333                       6190 COCHRAN ROAD STE A
                                         LORETTO, MN 55357                  SOLON, OH 44139




MAPLEWOOD PLAZA, LLC                     MAQUESHA JOHNSON                   MARA MASKERI
C/O CARNEGIE COMPANIES, INC.             10230 SW 176TH ST                  10201 S. MAIN STREET
6190 COCHRAN ROAD, SUITE A               MIAMI, FL 33157                    HOUSTON, TX 77025
ATTN: FRED SCALESE
SOLON, OH 44139
MARA WALLACE           Case 18-12241-CSS   Doc
                                      MARANDA   26 Filed 10/05/18
                                              COSTEN                       PageMARANDA
                                                                                1058 ofWHITE
                                                                                        1739
10201 S. MAIN STREET                  1155 PINELAKE DR                         1007 MEADOWBROOK RD
HOUSTON, TX 77025                     GRAYSON, GA 30017                        MURFREESBORO, TN 37129




MARATHON GARBAGE SERVICE INC.         MARATHON GARBAGE SERVICE INC.            MARBELLA BRAUN
4290 OVERSEAS HIGHWAY                 4290 OVERSEAS HWY                        10201 S. MAIN STREET
MARATHON, FL 33050                    MARATHON, FL 33050                       HOUSTON, TX 77025




MARC ALBRECHT                         MARC ALDAMA                              MARC ANDRE
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARC ANDRE                            MARC BECKERMAN                           MARC BOTTI-LODOVICO
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARC BROWN                            MARC CHARLES                             MARC CONLAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARC GARCIA                           MARC HAYASHIKAWA                         MARC HOFFMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARC HOLLANDER                        MARC HUSTED                              MARC INC DBA TARGETBASE
10201 S. MAIN STREET                  10201 S. MAIN STREET                     7850 N BELT LINE ROAD
HOUSTON, TX 77025                     HOUSTON, TX 77025                        IRVING, TX 75063




MARC JAMINAL                          MARC KEOLA TSEU                          MARC LALANCETTE
1465 C ST 3607                        10388 SHELDON RD                         21 SHORELINE TERRACE
SAN DIEGO, CA 92101                   ELK GROVE, CA 95624                      PORTSMOUTH, RI 02871




MARC LEPPO                            MARC MELNICK                             MARC OLESKOWITZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARC PLANTE                           MARC REALTY                              MARC RIGAZIO
10201 S. MAIN STREET                  55 E. JACKSON BOULEVARD, SUITE 500
HOUSTON, TX 77025                     CHICAGO, IL 60604
MARC RYAN              Case 18-12241-CSS    Doc 26
                                      MARC SANDS        Filed 10/05/18   PageMARC
                                                                              1059TOLENTINO
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARC TREZZA                           MARC TSEU                              MARC WARDEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARC WARREN                           MARC ZAFFINA                           MARC ZOTOVICH
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARC-ANTHONY HALL                     MARCEE HUCKABAY                        MARCEL CARTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCEL CAVER JR                       MARCEL MCGREW                          MARCELA URIBE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCELIS TATUM                        MARCELL ELLIOTT                        MARCELLA AGUIRRE-GARCIA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCELLE BLANCHARD                    MARCELLE ROBERSON                      MARCELLO CHURCH
10201 S. MAIN STREET                  10201 S. MAIN STREET                   4081 BLUEFISH DR SE
HOUSTON, TX 77025                     HOUSTON, TX 77025                      SAINT PETERSBURG, FL 33705




MARCELO A ALTAMIRANDA                 MARCELO ALTAMIRANDA                    MARCELO BATISTA
1514 SUMMER ST UNIT B                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77007                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCELO FALCONI                       MARCELO NUNEZ                          MARCHELL NELSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCHELLE HARLOFF                     MARCHETTI PROPERTIES, LLC              MARCI PARDEN
10201 S. MAIN STREET                  1567 N. PARHAM ROAD                    10201 S. MAIN STREET
HOUSTON, TX 77025                     RICHMOND, VA 23229                     HOUSTON, TX 77025
MARCIA A SLUTTS      Case   18-12241-CSS
                                      MARCIADoc 26 Filed 10/05/18
                                            GOLDMAN                      PageMARCIA
                                                                              1060 GUITY
                                                                                    of 1739
4872 ARK LN                           10201 S. MAIN STREET                   10201 S. MAIN STREET
MURFREESBORO, TN 37128                HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCIA HAWKINS                        MARCIA NEWCOME                         MARCIE LICKER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCIE MCDANIEL                       MARCIE PEREZ                           MARCKEITHION JOHNSON
6150 CENTRAL BLVD APT 305             25755 SKYLINE DR                       10201 S. MAIN STREET
WHITESTOWN, IN 46075                  TEHACHAPI, CA 93561                    HOUSTON, TX 77025




MARCO AGUINAGA                        MARCO ALVARADO DBA MAQ TRANSPORT       MARCO GUTIERREZ
10201 S. MAIN STREET                  309 HUNTER LN                          10201 S. MAIN STREET
HOUSTON, TX 77025                     ZEBULON, NC 27597                      HOUSTON, TX 77025




MARCO HERNANDEZ                       MARCO HERRERA                          MARCO LARA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCO PONCE                           MARCO PROPERTIES LLC                   MARCO PROPERTIES, LLC
10201 S. MAIN STREET                  5840 MARINER ST                        5840 MARINER STREET
HOUSTON, TX 77025                     TAMPA, FL 33609                        TAMPA, FL 33609




MARCO SERRANO                         MARCO SERRANO                          MARCO SHEHAN
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025




MARCO SHEHANE                         MARCO TOSCANO                          MARCOS BAUTISTA
10201 S. MAIN STREET                  5822 ORANGE DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77050                      HOUSTON, TX 77025




MARCOS BEATO POLANCO                  MARCOS CASTRO                          MARCOS GONZALEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCOS QUINONES                       MARCOS TORRES                          MARCUS A BROWN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   12550 WHITTINGTON DR APT 1011
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77077
MARCUS A SLAYTON       Case 18-12241-CSS   Doc
                                      MARCUS     26BRIDGES
                                             ALLEN     Filed 10/05/18   PageMARCUS
                                                                             1061 of 1739
                                                                                   BEENE
PO BOX 531                              647 MURIN ST                        10201 S. MAIN STREET
SUWANEE, GA 30024                       EUGENE, OR 97402                    HOUSTON, TX 77025




MARCUS BLOUNT                           MARCUS BOONE                        MARCUS BRADLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




MARCUS BROWN                            MARCUS BROWN                        MARCUS CARLIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




MARCUS CARLISLE                         MARCUS COBBS                        MARCUS CUFF
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




MARCUS DAY                              MARCUS DUARTE                       MARCUS ESTRADA
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




MARCUS GILL                             MARCUS HAMPTON                      MARCUS HOSKINS
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




MARCUS JACKSON                          MARCUS JASSO                        MARCUS JEFFERSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




MARCUS JERROLS                          MARCUS JOHNSON                      MARCUS JOHNSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




MARCUS LUNDY                            MARCUS MATTOX                       MARCUS MCNEELY
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




MARCUS MCVAY                            MARCUS MONTGOMERY                   MARCUS MOODY
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025
MARCUS MORTON          Case 18-12241-CSS   Doc
                                      MARCUS    26
                                             MOSS       Filed 10/05/18   PageMARCUS
                                                                              1062 of 1739
                                                                                    NOBLE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCUS OWENS                          MARCUS PARTMAN                         MARCUS POE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   2230 SOUTH PARKWAY EAST
HOUSTON, TX 77025                     HOUSTON, TX 77025                      MEMPHIS, TN 38114




MARCUS PONDER                         MARCUS REESE                           MARCUS RESENDEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCUS RODRIGUEZ                      MARCUS SCHULTHEIS                      MARCUS SIMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   8 GOLDEN POPPY LOOP
HOUSTON, TX 77025                     HOUSTON, TX 77025                      BELTON, TX 76513




MARCUS SMITH                          MARCUS STAPLES                         MARCUS TAYLOR
10201 S. MAIN STREET                  10201 S. MAIN STREET                   3113 SW 48TH ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                      OKLAHOMA CITY, OK 73119




MARCUS THOMPSON                       MARCUS UNTALAN                         MARCUS WILLIAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARCUS WILLIAMS                       MARCUS WOLFE                           MARCY DIAZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                   16433 GERMAIN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                      GRANADA HILLS, CA 91344




MAREZA LOPEZ                          MARGARET F JONES                       MARGARET J HARRISON
10201 S. MAIN STREET                  9931 66 ST                             PO BOX 683
HOUSTON, TX 77025                     NOBLE, OK 73068                        SEFFNER, FL 33583




MARGARET JONES                        MARGARET MAYOZA                        MARGARET MCMASTER-BOULANGER
10201 S. MAIN STREET                  3988 CAVENDER RD                       10201 S. MAIN STREET
HOUSTON, TX 77025                     WOODBURY, TN 37190                     HOUSTON, TX 77025




MARGARET MORENO                       MARGARET RAMBO                         MARGARET RIDDLE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
MARGARETE WEBER        Case 18-12241-CSS   DocALVAREZ
                                      MARGARITA 26 Filed 10/05/18          PageMARGARITA
                                                                                1063 of 1739
                                                                                         MONTANTE
253 N WHITNALL HWY                    10201 S. MAIN STREET                      4301 FRUITVALE AVE 153
BURBANK, CA 91505                     HOUSTON, TX 77025                         BAKERSFIELD, CA 93308




MARGARITO MONSIVAI                    MARGAS & ZAMBATIS INVESTMENTS INC.        MARGIE COLLETTI
3601 PARTRIDGE LANE                   13706 MILLS FARM RD                       10201 S. MAIN STREET
IRVING, TX 75062                      ROCKVILLE, MD 20850                       HOUSTON, TX 77025




MARGO JACKSON                         MARGO LIVADARIU                           MARGUERITE LEGER
10201 S. MAIN STREET                  250 ELM ST                                10201 S. MAIN STREET
HOUSTON, TX 77025                     DENVER, CO 80220                          HOUSTON, TX 77025




MARI DAVIDSON-FREASE                  MARI ECHEVERRIA                           MARIA ASSOCIATES C/O S&T BANK
C/O PARKER STANBURY LLP               10201 S. MAIN STREET                      PO BOX 783033
444 S FLOWER ST 19TH FL               HOUSTON, TX 77025                         PHILADELPHIA, PA 19178-303
LOS ANGELES, CA 90071-2901




MARIA ASSOCIATES LP                   MARIA BAEZ QUIROZ                         MARIA BARRANTES
6301 FORBES AVENUE, SUITE 220         1328 NW 97TH TERRACE                      10201 S. MAIN STREET
PITTSBURGH, PA 15217                  PEMBROKE PINES, FL 33024                  HOUSTON, TX 77025




MARIA CARRILLO                        MARIA CHEEKS                              MARIA DE FATIMA SANTOS
32294 RENOIR RD                       10201 S. MAIN STREET                      10201 S. MAIN STREET
WINCHESTER, CA 92596                  HOUSTON, TX 77025                         HOUSTON, TX 77025




MARIA ESPINO                          MARIA GAMEZ                               MARIA GONZALEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                      DBA MARIAS CLEANING SERVICE
HOUSTON, TX 77025                     HOUSTON, TX 77025                         17444 NW 76TH CT
                                                                                MIAMI, FL 33015




MARIA GUERRERO GUERRERO PINEIRO       MARIA HAUSER                              MARIA HELENA KROEFF
10201 S. MAIN STREET                  10201 S. MAIN STREET                      1450 BRICKELL BAY DR 1502
HOUSTON, TX 77025                     HOUSTON, TX 77025                         MIAMI, FL 33131




MARIA KNIGHT-SUTTON                   MARIA KOBUSINGYE                          MARIA MALDONADO
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




MARIA MARTINEZ                        MARIA MORALES                             MARIA NUNEZ
10201 S. MAIN STREET                  580 N NEW HAMPSHIRE AVE                   10201 S. MAIN STREET
HOUSTON, TX 77025                     LOS ANGELES, CA 90004                     HOUSTON, TX 77025
MARIA PEREIRA          Case 18-12241-CSS    Doc 26
                                      MARIA PLATT        Filed 10/05/18   PageMARIA
                                                                               1064REGINA
                                                                                    of 1739
                                                                                          TOMLINSON
10201 S. MAIN STREET                  392 N 900 E                              3918 NW 85TH TERR APT C
HOUSTON, TX 77025                     BOUNTIFUL, UT 84010                      KANSAS CITY, MO 64154




MARIA RIVERA                          MARIA SANCHEZ                            MARIA SHEPHERD
10201 S. MAIN STREET                  15461 SW 143 AVE                         10201 S. MAIN STREET
HOUSTON, TX 77025                     MIAMI, FL 33177                          HOUSTON, TX 77025




MARIA TAPIA                           MARIAH CLARK                             MARIAH FONDREN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARIAH HALL                           MARIAH HARPER                            MARIAL OLAN
10201 S. MAIN STREET                  1723 HARTMANN DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                     SCHAUMBURG, IL 60193                     HOUSTON, TX 77025




MARIAN BUTCHER                        MARIAN HENLEY                            MARIAN MCVICKER
10201 S. MAIN STREET                  6804 WILLIAM WALLACE WAY                 10201 S. MAIN STREET
HOUSTON, TX 77025                     AUSTIN, TX 78754                         HOUSTON, TX 77025




MARIAN PARKER                         MARIANA TINEO LIRA                       MARIANNE SPRATLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                     6735 E GREENWAY PKWY
HOUSTON, TX 77025                     HOUSTON, TX 77025                        SCOTTSDALE, AZ 85254




MARIANO MORGADO                       MARIBEL HERNANDEZ                        MARIBEL LARA
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARICA SEPI                           MARICEL JACOB                            MARICELA JARAMILLO
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARICELA NAVARRO                      MARICELA RODRIGUEZ                       MARICOPA COUNTY FAIR ASSOSIATION INC
10201 S. MAIN STREET                  9805 FLOSSMOOR RD                        1826 W MCDOWELL RD
HOUSTON, TX 77025                     PICO RIVERA, CA 90660                    PHOENIX, AZ 85007




MARICOPA COUNTY HOME SHOWS-ALASKA     MARICOPA COUNTY JUSTICE COURT            MARICOPA COUNTY TREASURER
EVENTS                                SOUTH MOUNTAIN JUSTICE COURT             301 WEST JEFFERSON ST. ROOM 100
2960 E NORTHERN AVE BLDG B            620 W JACKSON ST 1044 COURT 300          PHOENIX, AZ 85003-2199
PHOENIX, AZ 85028                     PHOENIX, AZ 85003
                       Case 18-12241-CSS
MARICOPA COUNTY TREASURER                    Doc 26 Filed
                                      MARIE AKERS             10/05/18   PageMARIE
                                                                              1065ANDRADE
                                                                                   of 1739
ATTN: PROPERTY TAX DEPT.              10201 S. MAIN STREET                   10201 S. MAIN STREET
301 WEST JEFFERSON ST. ROOM 100       HOUSTON, TX 77025                      HOUSTON, TX 77025
PHOENIX, AZ 85003-2199




MARIE CANO                           MARIE LEE                               MARIE MASSENA
10201 S. MAIN STREET                 10201 S. MAIN STREET                    2211 T STREET NW
HOUSTON, TX 77025                    HOUSTON, TX 77025                       AUBURN, WA 98001




MARIE MCINTOSH BROWN                 MARIE NICHOLLS                          MARIE TAPPE
10201 S. MAIN STREET                 2662 BELBURN PLACE                      10201 S. MAIN STREET
HOUSTON, TX 77025                    SIMI VALLEY, CA 93065                   HOUSTON, TX 77025




MARIEANNE JACOB                      MARIEDA HILL                            MARIELA BRUGAL
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




MARIELIS ROMERO                      MARIELY LEON COLON                      MARIESA ARAICA
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




MARIETA TRIMBLE                      MARIETTA DAILY JOURNAL                  MARIETTA LIMBER
10201 S. MAIN STREET                 PO BOX 449                              10201 S. MAIN STREET
HOUSTON, TX 77025                    MARIETTA, GA 30061                      HOUSTON, TX 77025




MARIETTA NIEMAN                      MARIETTA POWER WATER                    MARIETTA POWER WATER
9762 ROYAL PALM BLVD                 675 N MARIETTA PARKWAY                  P.O. BOX 609
GARDEN GROVE, CA 92841               MARIETTA, GA 30060                      MARIETTA, GA 30061-0609




MARIETTA POWER                       MARIJAN VESELINOVIC                     MARIKA FOWLER
P.O. BOX 609                         10201 S. MAIN STREET                    10201 S. MAIN STREET
MARIETTA, GA 30061-0609              HOUSTON, TX 77025                       HOUSTON, TX 77025




MARI-LIIS SAAREMAGI MYNES            MARILYN A MESSINA                       MARILYN BELTER
116 REDWOOD AVE                      721 N CAPITOL AVE                       10201 S. MAIN STREET
BREA, CA 92821                       SAN JOSE, CA 95133                      HOUSTON, TX 77025




MARILYN CROFT                        MARILYN GAMBINO                         MARILYN JANKOWSKI
253 WHITNEY AVE UNIT 4               10201 S. MAIN STREET                    10201 S. MAIN STREET
POMONA, CA 91767                     HOUSTON, TX 77025                       HOUSTON, TX 77025
MARILYN MASON           Case 18-12241-CSS    Doc
                                       MARILYN    26 Filed 10/05/18
                                               P MONTURIO                   PageMARILYNN
                                                                                 1066 ofDIGILIO
                                                                                         1739
10201 S. MAIN STREET                    25 BANTRY DR                             10201 S. MAIN STREET
HOUSTON, TX 77025                       WEYMOUTH, MA 02189                       HOUSTON, TX 77025




MARILYNN NEWTON                         MARIN COUNTY TAX COLLECTOR               MARIN COUNTY TAX COLLECTOR
1206 S HIGHLAND AVE                     3501 CIVIC CENTER DR., RM 217            ATTN: PROPERTY TAX DEPT.
LOS ANGELES, CA 90019                   SAN RAFAEL, CA 94913-4220                PO BOX 4220
                                                                                 SAN RAFAEL, CA 94913




MARIN COUNTY                            MARIN GATEWAY GARP LLC                   MARIN GATEWAY GARP, LLC
TAX COLLECTOR                           PO BOX 740647                            C/O GERRITY ATLANTIC PARTNERS, LLC
PO BOX 4220                             LOS ANGELES, CA 90074-0647               977 LOMAS SANTA FE DRIVE, SUITE A
SAN RAFAEL, CA 94913                                                             SOLANA BEACH, CA 92705




MARINA COAST WATER DISTRICT             MARINA COAST WATER DISTRICT              MARINA CUTAIA
11 RESERVATION ROAD                     DEPT LA23031                             10201 S. MAIN STREET
MARINA, CA 93933-2099                   PASADENA, CA 91185-3031                  HOUSTON, TX 77025




MARINA DEYCH                            MARINA FLORACK                           MARINA GALLE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




MARINA GONZALEZ                         MARINA LAKES DEVELOPMENT LLC             MARINA MORENO DE HERNANDEZ
10201 S. MAIN STREET                    1223 N ROCK RD BLDG G STE 300            3601 WRENWOOD ST
HOUSTON, TX 77025                       WICHITA, KS 67206                        BAKERSFIELD, CA 93309




MARINA SANDOVAL                         MARINDA KENNEDY                          MARINERS LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                     C/O SB MANAGEMENT CORP
HOUSTON, TX 77025                       HOUSTON, TX 77025                        433 N CAMDEN DR STE 800
                                                                                 BEVERLY HILLS, CA 90210




MARINERS, LLC                           MARINES MALDONADO                        MARINETTE COUNTY TREASURER
C/O SB MANAGEMENT CORPORATION           10201 S. MAIN STREET                     1926 HALL AVE
433 N. CAMDEN DRIVE, SUITE 800          HOUSTON, TX 77025                        MARINETTE, WI 54143-1717
BEVERLY HILLS, CA 90210




MARINETTE WATER & WASTEWTR UTL          MARINETTE WATER & WASTEWTR UTL           MARINETTE WATER UTILITY
1905 HALL AVENUE                        P.O. BOX 856896                          TREATMENT PLAN & UTILITY OFFICE
MARINETTE, WI 54143                     MINNEAPOLIS, MN 55485-6896               501 WATER ST
                                                                                 MARINETTE, WI 54143




MARINETTE                               MARINITA-SAGE RANCHO LLC                 MARINO GREER
ATTN: PROPERTY TAX DEPT.                ATTN: KIMIKO SIMPSON-PROPERTY MGR        3506 9TH AVE
1926 HALL AVE                           3835 BIRCH ST                            SOUTH MILWAUKEE, WI 53172
MARINETTE, WI 54143                     NEWPORT BEACH, CA 92660
MARINO RODRIGUEZ       Case 18-12241-CSS
                                      MARINODoc  26 Filed 10/05/18
                                             ROSARIO                 PageMARIO
                                                                          1067Aof 1739
                                                                               HERNANDEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET              10131 CAREFREE DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                 SANTEE, CA 92071




MARIO DEMORY                           MARIO DONGU                       MARIO ENRIQUE FIGUEROA JR
10201 S. MAIN STREET                   10201 S. MAIN STREET              DBA GONZO247
HOUSTON, TX 77025                      HOUSTON, TX 77025                 2110 JEFFERSON STE 111
                                                                         HOUSTON, TX 77003




MARIO ESCOBAR                          MARIO FUENTES                     MARIO GARCIA
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARIO HARDNICK                         MARIO HERNANDEZ                   MARIO MARTINEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARIO MEJIA                            MARIO MICHAEL                     MARIO MILIANTI
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARIO MORA                             MARIO NUNEZ                       MARIO OCHOA
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARIO OLVERA                           MARIO OTERO                       MARIO PENA
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARIO QUINTANA                         MARIO RILEY-THIBOU                MARIO ROBINSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARIO SACCHERI                         MARIO SACCHERI                    MARIO SIERRA
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARIO SIERRA                           MARIO VASSER                      MARIO VICENTE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025
MARIO WILSON           Case 18-12241-CSS    Doc
                                      MARIOLA    26 Filed 10/05/18
                                              HENDERSON              PageMARION
                                                                          1068 of 1739COLLECTOR
                                                                                COUNTY
10201 S. MAIN STREET                   10201 S. MAIN STREET              ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                      HOUSTON, TX 77025                 PO BOX 3416
                                                                         PORTLAND, OR 97208-3416




MARION COUNTY SHERIFFS OFFICE          MARION COUNTY TAX COLLECTOR       MARION COUNTY TREASURER
ALARM COORDINATOR                      PO BOX 970                        PO BOX 6145
PO BOX 14500                           OCALA, FL 34478-0970              INDIANAPOLIS, IN 46206-6145
SALEM, OR 97309




MARION COUNTY UTILITIES                MARION COUNTY UTILITIES           MARION COUNTY
601 SE 25TH AVE                        P.O. BOX 31596                    PO BOX 3416
OCALA, FL 34471                        TAMPA, FL 33631-3596              PORTLAND, OR 97208-3416




MARION MUNICIPAL UTILITIES             MARION MUNICIPAL UTILITIES        MARION MUNICIPAL UTILITIES-
1540 N WASHINGTON STREET               P.O. BOX 718                      PO BOX 718
MARION, IN 46952                       MARION, IN 46952-0718             MARION, IN 46952-0718




MARION SUMMERS                         MARION WOODS JR                   MARION WOODS JR
10201 S. MAIN STREET                   10299 NIGHTINGALE ST NW           PO BOX 48321
HOUSTON, TX 77025                      COON RAPIDS, MN 55433             COON RAPIDS, MN 55448




MARISA EVANS                           MARISA MCCLENDON                  MARISA VILLAFUERTE
10201 S. MAIN STREET                   2600 COLE AVE 220                 10201 S. MAIN STREET
HOUSTON, TX 77025                      DALLAS, TX 75204                  HOUSTON, TX 77025




MARISHA COSBY                          MARISHA YOUNG                     MARISOL SOTO IBAN
314 S 8TH AVE 5                        10201 S. MAIN STREET              10201 S. MAIN STREET
YAKIMA, WA 98902                       HOUSTON, TX 77025                 HOUSTON, TX 77025




MARISSA BRAMBLE                        MARISSA BURTON                    MARISSA DE LA CRUZ
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARISSA FISHER                         MARISSA GILLIAM                   MARISSA LOPEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET              5928 GRINNELL DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                 RIVERSIDE, CA 92509




MARISSA MCLEANE                        MARISSA OURADA                    MARISSA ROOT
10201 S. MAIN STREET                   10201 S. MAIN STREET              1706 EAST 4620 SOUTH
HOUSTON, TX 77025                      HOUSTON, TX 77025                 SALT LAKE CITY, UT 84117
MARISSA RUDE           Case 18-12241-CSS    Doc
                                      MARISSA    26
                                              TUREK        Filed 10/05/18   PageMARITIME
                                                                                 1069 ofENERGY
                                                                                         1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     234 PARK STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        PO BOX 485
                                                                                ROCKLAND, ME 04841




MARITIME ENERGY                        MARITZA FLORES                           MARITZA IZQUIERDO
PO BOX 485                             2279 NW 48ST                             10201 S. MAIN STREET
ROCKLAND, ME 04841                     MIAMI, FL 33142                          HOUSTON, TX 77025




MARIUS MCATEER                         MARJORIE GASTON                          MARJORIE SAINT JEAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MARJORIE THEOBALD                      MARJORIE WILLIAMS                        MARK & LORETTA MILLER
10201 S. MAIN STREET                   337 BAYSIDE PKWY                         2002 W 31ST ST NORTH
HOUSTON, TX 77025                      NOKOMIS, FL 34275                        WICHITA, KS 67204




MARK A BRYANT                          MARK A DURAN                             MARK A GRISWOLD
18 CREAM ST                            8347 HUNTLEY LN                          126 HAMDEN CIRCLE
HYDE PARK, NY 12538                    HARAHAN, LA 70123                        HYANNIS, MA 02601




MARK A. TURNER                         MARK ABBRUZZETTI                         MARK ADAMS
C/O ARROWOOD LLP                       10201 S. MAIN STREET                     10201 S. MAIN STREET
ATTN: RAYMOND AUSROTAS                 HOUSTON, TX 77025                        HOUSTON, TX 77025
10 POST OFFICE SQUARE, 7TH FL S
BOSTON, MA 02109



MARK ALLEN                             MARK AND PAMELA WALKER                   MARK ANDERSON
10201 S. MAIN STREET                   808 N. SULLIVAN ROAD, SUITE 22-C         10201 S. MAIN STREET
HOUSTON, TX 77025                      SPOKANE VALLEY, WA 99216                 HOUSTON, TX 77025




MARK ANDERSON                          MARK ANDERSON                            MARK ANTHONY CARROLL
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MARK ASCHENBRENER                      MARK ASHURST                             MARK BAIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MARK BALMUTH                           MARK BALMUTH                             MARK BALMUTH
2402 ANTIQUA CIRCLE #N3                2402 ANTIQUA CIRCLE N3                   PO BOX 70711
COCONUT CREEK, FL 33066                COCONUT CREEK, FL 33066                  FORT LAUDERDALE, FL 33307-0711
MARK BENGE             Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                      MARK BLACKWELL                  PageMARK
                                                                           1070BLOSSER
                                                                                 of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




MARK BOGUNOVICH                       MARK BOLEY                          MARK BOLLARO
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




MARK BRACKENRIDGE                     MARK BRIDGES                        MARK BRITTINGHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




MARK BRYANT                           MARK BURGNON                        MARK CAMPBELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




MARK CANTERBURY                       MARK CASTRO                         MARK CHAMBERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




MARK CHAMPAGNE                        MARK CHANDLER                       MARK CHRISTIAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




MARK COHEN                            MARK COHEN                          MARK CRAIG
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




MARK CRON                             MARK CRUZ                           MARK CURRICA
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




MARK D HOLLAND                        MARK D HOWARD                       MARK DALL
3476 BRIARGROVE LANE                  DBA HOOSIER HOWARD WINDOW WASHING   10201 S. MAIN STREET
DALLAS, TX 75287                      4660 VARSITY CIRCLE                 HOUSTON, TX 77025
                                      LEHIGH ACRES, FL 33971




MARK DAY                              MARK DESERIO                        MARK DIBARRY
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025
MARK DOHERTY           Case 18-12241-CSS    Doc 26
                                      MARK DREVLOW         Filed 10/05/18   PageMARK
                                                                                 1071DUNNING
                                                                                      of 1739INDUSTRIES INC
10201 S. MAIN STREET                  395 W SHILOH DR                            100 RACETRACK RD
HOUSTON, TX 77025                     LEWISTON, ID 83501                         DOTHAN, AL 36303




MARK DUNNING INDUSTRIES INC           MARK DUTCHESS                              MARK EARL
P.O. BOX 2046                         10201 S. MAIN STREET                       10201 S. MAIN STREET
DOTHAN, AL 36302                      HOUSTON, TX 77025                          HOUSTON, TX 77025




MARK ECAL                             MARK ENGLISH                               MARK ENGLISH
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




MARK ESCALERA                         MARK EVANS                                 MARK F THOMAS
10201 S. MAIN STREET                  10201 S. MAIN STREET                       18650 WOODED CREEK
HOUSTON, TX 77025                     HOUSTON, TX 77025                          SAN ANTONIO, TX 78259




MARK F. TAGGART COMPANY, AMO          MARK FENNELL                               MARK FITZGERALD
MAGGIE DAE                            10201 S. MAIN STREET                       10201 S. MAIN STREET
942 A FREEWAY DRIVE NORTH             HOUSTON, TX 77025                          HOUSTON, TX 77025
COLUMBUS, OH 43229




MARK FLEMMING                         MARK FONTI                                 MARK FRERICHS
                                      10201 S. MAIN STREET                       DISTRICT MANAGER-PHOENIX
                                      HOUSTON, TX 77025                          2292 E ALOE PL
                                                                                 CHANDLER, AZ 85287




MARK FUQUA                            MARK GARNER                                MARK GONZALEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




MARK GOODEN                           MARK GRAHAM                                MARK GRAVES
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




MARK GRITTON                          MARK GROSSMAN                              MARK HAIRSTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




MARK HALLINAN                         MARK HANCOCK                               MARK HARRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025
MARK HAYES             Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                      MARK HENDERSON                PageMARK
                                                                         1072HENDERSON
                                                                              of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




MARK HODSON                           MARK HOLLAND                      MARK HOLLAND
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




MARK HORVATH                          MARK HYBER MANAGEMENT INC         MARK J MARTIN
10201 S. MAIN STREET                  PO BOX 943                        10960 E REVELS RD
HOUSTON, TX 77025                     SHINER, TX 77984                  HOWEY IN THE HILLS, FL 34737




MARK J SELDEN                         MARK JACOBSON                     MARK JARVIS
27292 ARROYAL RD                      712 NOTTINGHAM DRIVE              10201 S. MAIN STREET
BONITA SPRINGS, FL 34135              VIRGINIA BEACH, VA 23452          HOUSTON, TX 77025




MARK JONES                            MARK KENNEDY                      MARK KENNEY
10201 S. MAIN STREET                  17404 E MORNING SIDE LN           10201 S. MAIN STREET
HOUSTON, TX 77025                     GREENACRES, WA 99016              HOUSTON, TX 77025




MARK KHAN                             MARK KMONK                        MARK KOCH
10201 S. MAIN STREET                  312 RAMPARTS BLVD                 10201 S. MAIN STREET
HOUSTON, TX 77025                     NEW KENSINGTON, PA 15068          HOUSTON, TX 77025




MARK KRUGER                           MARK LABELLE                      MARK LAPAGLIA
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




MARK LAWSON                           MARK LEGAULT                      MARK MACHETTE
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




MARK MALCOM                           MARK MANGUM                       MARK MARA
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




MARK MCCALLON                         MARK MCDONOUGH                    MARK MCKINNEY
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025
MARK MCLEAN            Case 18-12241-CSS    Doc 26
                                      MARK MCLEOD       Filed 10/05/18   PageMARK
                                                                              1073MEEKINS
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK MICHLIN                          MARK MILLER                            MARK MILLER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK MITCHELL                         MARK MOLINA                            MARK MORRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK MORRISSEY                        MARK MUNRO                             MARK MURRAY
10201 S. MAIN STREET                  10201 S. MAIN STREET                   3491 OLIVE ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                      EUGENE, OR 97405




MARK MUSGROVE                         MARK MYTHEN                            MARK N SILBER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   4212 BALTIMORE AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                      PHILADELPHIA, PA 19104




MARK NEWMAN                           MARK NOSKO                             MARK NOVAK
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK OBRIEN                           MARK OJEDA                             MARK OKAMURA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK OWENS                            MARK PELLEGRINO                        MARK PFLUM
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK PHILLIPS                         MARK PLATT                             MARK POTTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK PRUITT                           MARK PUTSCHER                          MARK R BRANNON
10201 S. MAIN STREET                  530 E 100 S 104                        2800 N 75TH ST
HOUSTON, TX 77025                     SALT LAKE CITY, UT 84102               TAMPA, FL 33619
MARK RACE              Case 18-12241-CSS    Doc 26
                                      MARK RAMCKE       Filed 10/05/18   PageMARK
                                                                              1074RAMSEY
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK RANEY                            MARK REFF                              MARK REZA
2181 WASHINGTON ST                    10201 S. MAIN STREET                   10201 S. MAIN STREET
EUGENE, OR 97405                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK ROBERSON                         MARK ROCHA                             MARK S MANGUM
                                      10201 S. MAIN STREET
                                      HOUSTON, TX 77025




MARK SANCHEZ                          MARK SANDOVAL                          MARK SEGRETO
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK SHELTON                          MARK SILVERBERG & ROBERT GOODMAN       MARK SILVERBERG
525 N FOUNTAIN                        ATT                                    4849 FRANKFORD RD APT 4410
WICHITA, KS 67208                     4537 WOODSBORO LN                      DALLAS, TX 75287
                                      PLANO, TX 75024




MARK SMITH                            MARK SMITH                             MARK SOLBERG
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK STAFFORD                         MARK SWANSON                           MARK T EDMEAD
10201 S. MAIN STREET                  10201 S. MAIN STREET                   44489 TOWN CENTER WAY
HOUSTON, TX 77025                     HOUSTON, TX 77025                      D123
                                                                             PALM DESERT, CA 92260




MARK T WILLIAMS DBA C&M SIGN LETERS   MARK TEETER                            MARK TO
502 RAYMAC ST                         10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77037                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK VALENTINO                        MARK VAN HOWLING                       MARK VAN TASSEL
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARK VITIELLO                         MARK VOSE                              MARK WALKER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   3808 N SULLIVAN RD BLDG 22C
HOUSTON, TX 77025                     HOUSTON, TX 77025                      SPOKANE VALLEY, WA 99216
MARK WATTS             Case 18-12241-CSS    Doc 26
                                      MARK WEAVER       Filed 10/05/18     PageMARK
                                                                                1075WELCH
                                                                                     of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARK WHEELER                          MARK WHITE                               MARK WHITING
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARK WILLIAMS                         MARK WILLIAMS                            MARK WONG
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARK WRIGHT                           MARK YOUNG                               MARKEITH MADISON
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




MARKEITH THOMPSON                     MARKET TOWN CENTER-SUGARLAND             MARKET TOWN CENTER-SUGARLAND
1002 BROMLEY CT                                                                4400 A NORTH FREEWAY, SUITE 900
GARLAND, TX 75043                                                              HOUSTON, TX 77022




MARKET 150, LLC                       MARKET EAST ASSOCIATES LLC               MARKET EAST ASSOCIATES LLC
TOM THOMAS                            C/O FIDELIS REALTY PARTNERS, LTD.        DEPT 41667
14 HUNT LANE                          4500 BISSONNET STREET, SUITE 300         PO BOX 650823
WESTON, CT 06883                      DALLAS, TX 75265                         DALLAS, TX 75265




MARKET HEIGHTS                        MARKET PLACE DEVELOPMENT LLC             MARKET PLACE DEVELOPMENT LLC
CO DIRECT DEVELOPMENT                 1201 HAMPTON ST STE 2A                   C/O SAA AND MANIOS LLC
ATTN JUDY CORTINAS2001 ROSS AVE STE   COLUMBIA, SC 29201-5800                  1249 S PLEASANTBURG DR
550                                                                            GREENVILLE, SC 29605
DALLAS, TX 75201



MARKET PLACE DRIVE ASSOCIATES         MARKET PLACE DRIVE ASSOCIATES, LLC       MARKET PROPERTIES 6 LP C/O THORNTON
COAST REAL ESTATE SERVICE             C/O COAST REAL ESTATE SERVICES           OLIVER KELLER
2829 RUCKER AVE STE 100               2829 RUCKER AVENUE                       250 S 5TH ST 2ND FL
EVERETT, WA 98201                     EVERETT, WA 98201                        BOISE, ID 83702




MARKET PROPERTIES 6 LP                MARKET SHOPPES VENTURE LLC               MARKET SQUARE AT FREDERICK LLC
C/O THORNTON OLIVER KELLER            700 MONTGOMERY HWY                       4445 WILLARD AVE STE 700
250 S 5TH ST 2ND FL                   STE 186                                  CHEVY CHASE, MD 20815
BOISE, ID 83702                       BIRMINGHAM, AL 35216




MARKET SQUARE AT FREDERICK, LLC       MARKET SQUARE AT FREDERICK, LLC          MARKET SQUARE RETAIL CENTER LLC
C.O JBG SMITH                         C/O JBG SMITH                            995 N PRINCE FREDERICK BLVD STE 201
4445 WILLARD AVE, SUITE 700           4445 WILLARD AVE, SUITE 700              PRINCE FREDERICK, MD 20678
CHEVY CHASE, MD 20815                 CHEVY CHASE, MD 20815
                      Case 18-12241-CSS
MARKET SQUARE RETAIL CENTER, LLC      MARKETDoc   26 SHOPPING
                                              SQUARE    Filed 10/05/18
                                                               CENTER LLC   PageMARKET
                                                                                 1076 of
                                                                                       ST 1739
                                                                                          SQUARE SHOPPING CTR LLC
C/O MARRICK PROPERTIES, INC           C/O PALMARIUM RETAIL MANAGEMENT            370 7TH AVE STE 1600
995 PRINCE FREDERICK BOULEVARD, SUITE 3460 NORTH BROADWAY STREET                 NEW YORK, NY 10001
201                                   CHICAGO, IL 60657
ATTN: ERIC BAILEY
PRINCE FREDERICK, MD 20678


MARKET STREET SQUARE SHOPPING          MARKET STREET SQUARE SHOPPING             MARKET TOWN CENTER OWNER LLC
CENTER LLC                             CENTER, LLC                               2718 FAIRMOUNT ST
370 7TH AVE STE 1600                   C/O NASSIMI LLC                           DALLAS, TX 75201
NEW YORK, NY 10001                     370 7TH AVE, SUITE 1600
                                       NEW YORK, NY 10001



MARKET TOWN CENTER OWNER LLC           MARKET TOWN CENTER OWNER LLC              MARKET TOWN CENTER OWNER, LLC
4400 A NORTH FREEWAY STE 900           CENTRECORP MGMT SERVICES                  2718 FAIRMOUNT ST
HOUSTON, TX 77022                      4400 A NORTH FWY STE 900                  DALLAS, TX 75201
                                       HOUSTON, TX 77022




MARKET TOWN CENTER OWNER, LLC          MARKET TOWN CENTER OWNER, LLC             MARKETING & TECHNOLOGY GROUP INC
4400 A NORTH FREEWAY, SUITE 900        C/O CENTRECORP MANAGEMENT SERVICES        1415 N DAYTON ST
HOUSTON, TX 77022                      LLLP                                      CHICAGO, IL 60642-2643
                                       4400 A NORTH FREEWAY, SUITE 900
                                       HOUSTON, TX 77022



MARKETING PLUS LLC                     MARKETPLACE AT ROCKAWAY, LLC              MARKETPLACE AT ROCKWAY HOLDING LLC
1431 WEST ALABAMA ST                   2035 ROUTE 27, SUITE 2150                 2035 LINCOLN HWY STE 2150
HOUSTON, TX 77006                      EDISON, NJ 08817                          EDISON, NJ 08817




MARKETPLACE DEVELOPMENT, LLC           MARKETPLACE DEVELOPMENT, LLC              MARKETPLACE EVENTS LLC
1201 HAMPTON STREET, SUITE 2B          AL SAAD, PRESIDENT                        31105 BAINBRIDGE RD STE 3
AL SAAD, PRESIDENT                     1201 HAMPTON STREET, SUITE 2B             SOLON, OH 44139
COLUMBIA, SC 29201                     COLUMBIA, SC 29201




MARKETPLACE EVENTS LLC                 MARKETPLACE TODAY                         MARKHAM HENDERSON
SALT LAKE TRIBUNE HOME & GARDEN SHOW   69 BROOKSIDE AVE STE 208                  2060 ABERDEEN LANE
6955 S UNION PARK CTR STE 320          CHESTER, NY 10918                         ROCKWALL, TX 75087
COTTONWOOD HEIGHTS, UT 84047




MARKHAM WASHINGTON INVESTMENTS         MARKHAM WASHINGTON INVESTMENTS, LLC       MARKIE MUSTARD
10516 SILVERDALE WAY STE 110B          ATTN: CRAIG STEINLICHT                    10201 S. MAIN STREET
SILVERDALE, WA 98383                   10516 SILVERDALE WAY, SUITE 110B          HOUSTON, TX 77025
                                       SILVERDALE, WA 98383




MARKIFFANY RICHARD                     MARKITA CASTILLO                          MARKO BRNJIC
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




MARKUS FERGUSON-DBA CRYSTAL CLEAR      MARKUS HUBER                              MARKUS JOHNSON
CLEANING                               10201 S. MAIN STREET                      10201 S. MAIN STREET
8428 W CRABTREE ROAD                   HOUSTON, TX 77025                         HOUSTON, TX 77025
HIXSON, TN 37343
MARKUS JOOSTE          Case 18-12241-CSS   Doc
                                      MARKUS     26
                                             UMIGER        Filed 10/05/18   PageMARLAINA
                                                                                 1077 ofGLOVER
                                                                                         1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MARLEA DUNCAN                          MARLEEN LOPEZ                            MARLENA BROSNAN
10201 S. MAIN STREET                   12265 BALTIMORE AVE                      10201 S. MAIN STREET
HOUSTON, TX 77025                      MORENO VALLEY, CA 92557                  HOUSTON, TX 77025




MARLENE GOICOECHEA                     MARLENE GOICOECHEA                       MARLENE GONZALEZ
1717 EAST 8TH STREET APT. 1F           C/O LAW OFFICE OF DAVID R. LEWIS &       10201 S. MAIN STREET
BROOKLYN, NY 11223                     ASSOCIATES                               HOUSTON, TX 77025
                                       ATTN: DAVID LEWIS
                                       527 OLD COUNTRY ROAD
                                       PLAINVIEW, NY 11803


MARLENE GRINKE                         MARLENE MIER                             MARLENE PERDUE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MARLENE PORTER                         MARLENE RYDER                            MARLEY CROOKS
10201 S. MAIN STREET                   1155 WAGNER AVE                          10201 S. MAIN STREET
HOUSTON, TX 77025                      FORT MILL, SC 29715                      HOUSTON, TX 77025




MARLIN BUSINESS BANK                   MARLIN BUSINESS BANK                     MARLIN FAMILY LTD
2795 E. COTTONWOOD PKWY                PO BOX 13604                             11921 S DIXIE HWY STE 202
STE 120                                PHILADELPHIA, PA 19101-3604              MIAMI, FL 33156
SALT LAKE CITY, UT 84121




MARLIN KOELLER LLC                     MARLINE LANZISERA                        MARLON CHRISTOPHER BAGSIC
PO BOX 10513                           10201 S. MAIN STREET                     10201 S. MAIN STREET
GREEN BAY, WI 54307-0513               HOUSTON, TX 77025                        HOUSTON, TX 77025




MARLON CORTINAS                        MARLON HALL                              MARLON KENOLY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MARLON ORTA                            MARLON STARR                             MARLON STEPHEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MARLON STEWART                         MARLON YANGA                             MARLOWE & WEATHERFORD PA
10201 S. MAIN STREET                   9367 HAWK EYE LN                         1150 LOUISIANA AVE STE 4
HOUSTON, TX 77025                      PACOIMA, CA 91331                        PO BOX 2366
                                                                                WINTER PARK, FL 32790-2366
MARMIC FIRE & SAFETY COCase
                        INC   18-12241-CSS
                                        MARNINDoc 26 Filed 10/05/18
                                              SCHWADRON                     PageMARNISHA
                                                                                 1078 of WALKER
                                                                                         1739
PO BOX 1939                             10201 S. MAIN STREET                    10201 S. MAIN STREET
LOWELL, AR 72745                        HOUSTON, TX 77025                       HOUSTON, TX 77025




MAROCCO LAW OFFICES                     MARPAN SUPPLY CO INC                    MARPAN SUPPLY CO. INC.
1200 RESERVOIR AVENUE                   P.O. BOX 2068                           222 EAST PERSHING STREET
ATTN: ANGELO R. MAROCCO                 TALLAHASSEE, FL 32316-2068              TALLAHASSEE, FL 32301
CRANSTON, RI 02920




MARPAN SUPPLY CO. INC.                  MARQUE PIERCE                           MARQUEE BROADCASTING INC
P.O. BOX 2068                           10201 S. MAIN STREET                    PO BOX 4009
TALLAHASSEE, FL 32316-2068              HOUSTON, TX 77025                       SALISBURY, MD 21803-4009




MARQUES HOWIE                           MARQUES MILLER                          MARQUETTE WALLS
3613 SHEPHERDS PATH                     10201 S. MAIN STREET                    10201 S. MAIN STREET
DECATUR, GA 30034                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MARQUIS AT VISTA                        MARQUIS MORTON                          MARQUIS SMILEY
501 HIGHLAND DR.                        10201 S. MAIN STREET                    10201 S. MAIN STREET
LEWISVILLE, TX 75067                    HOUSTON, TX 77025                       HOUSTON, TX 77025




MARQUIS WOLFE                           MARQUISE BROWN                          MARQUISE BYRD
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MARREL CAIN                             MARSA BANNING I LLC DBA MARINITA-SAGE   MARSA BANNING I LLC
10201 S. MAIN STREET                    RANCHO LLC                              DBA MARINITA-SAGE RANCHO LLC
HOUSTON, TX 77025                       3835 BIRCH ST                           3835 BIRCH ST
                                        NEWPORT BEACH, CA 92660                 NEWPORT BEACH, CA 92660




MARSALIS JAMES                          MARSH LANDING PLAZA LAND TRUST          MARSH USA INC HOUSTON
10201 S. MAIN STREET                    C/O SLEIMAN ENTERPRISES                 P.O. BOX 846015
HOUSTON, TX 77025                       1 SLEIMAN PARKWAY, SUITE 270            DALLAS, TX 75284-6015
                                        ATTN: CHIEF OPERATING OFFICER
                                        JACKSONVILLE, FL 32216-4977



MARSHA PAYNE                            MARSHA TAYLOR                           MARSHA THOMPSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MARSHA WASHINGTON                       MARSHAL RASOF                           MARSHAL SHAW
10201 S. MAIN STREET                    8640 N HAMLIN AVE                       10201 S. MAIN STREET
HOUSTON, TX 77025                       SKOKIE, IL 60076-2210                   HOUSTON, TX 77025
MARSHALL BALLARD        Case 18-12241-CSS   DocBRIGHT
                                       MARSHALL  26 Filed 10/05/18   PageMARSHALL
                                                                          1079 of GOTHARD
                                                                                  1739
5000 AVE K 2318                        10759 ROYAL JASMINE LN            2633 TANDI TRL
PLANO, TX 75074                        LAS VEGAS, NV 89135               ROUND ROCK, TX 78665




MARSHALL JAMES                         MARSHALL RASOF                    MARSHALL RILEY
10201 S. MAIN STREET                   8640 HAMLIN AVENUE                10201 S. MAIN STREET
HOUSTON, TX 77025                      SKOKIE, IL 60076-2210             HOUSTON, TX 77025




MARSHALL-LEE MUNDIN                    MARSHAWN HEADD                    MARSHELL OSBORNE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARSHFIELD UTILITIES                   MARSHFIELD UTILITIES              MARSHFIELD
2000 S CENTRAL AVE.                    2000 SOUTH CENTRAL AVE            ATTN: PROPERTY TAX DEPT.
P.O. BOX 670                           MARSHFIELD, WI 54449              630 S CENTRAL AVE STE 502
MARSHFIELD, WI 54449-0670                                                MARSHFIELD, WI 54449




MART DATA LLC                          MART DATA LLC                     MART DATA LLC
1004 RIDGEVIEW DR                      1004 RIDGEVIEW DRIVE              1004 RIDGEVIEW DRIVE
IVERNESS, IL 60010                     INVERNESS, IL 60010               IVERNESS, IL 60010




MARTA DIAZ                             MARTA KORBOBO                     MARTELE GLASS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARTELL DAVIS                          MARTEZ FRAZIER                    MARTHA FIELD
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MARTHA GARZA                           MARTHA MEDINA                     MARTHA RESTREPO
10201 S. MAIN STREET                   31872 JOSHUA DR 16K               10201 S. MAIN STREET
HOUSTON, TX 77025                      TRABUCO CANYON, CA 92679          HOUSTON, TX 77025




MARTHA W NEVIN                         MARTHINYA KNIGHT                  MARTIN ARONSON
928 PINEMONT DR N                      10201 S. MAIN STREET              10201 S. MAIN STREET
TUSCALOOSA, AL 35406                   HOUSTON, TX 77025                 HOUSTON, TX 77025




MARTIN BALDERAS                        MARTIN BOARD                      MARTIN BROUSSARD
17704 WILD LILLY COVE                  10201 S. MAIN STREET              10201 S. MAIN STREET
ELGIN, TX 78621                        HOUSTON, TX 77025                 HOUSTON, TX 77025
MARTIN COSELLO         Case 18-12241-CSS
                                      MARTINDoc 26 Filed 10/05/18
                                            COSTELLO                    PageMARTIN
                                                                             1080 COUNTY
                                                                                   of 1739BOCC
10201 S. MAIN STREET                  10201 S. MAIN STREET                   2401 SE MONTEREY RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                      STUART, FL 34996




MARTIN COUNTY TAX COLLECTOR           MARTIN COUNTY TAX COLLECTOR            MARTIN COUNTY UTILITIES
3485 SE WILLOUGHBY BLVD               ATTN: PROPERTY TAX DEPT.               2378 SE OCEAN BLVD
STUART, FL 34994-5060                 3485 SE WILLOUGHBY BLVD                STUART, FL 34996-3310
                                      STUART, FL 34994




MARTIN COUNTY UTILITIES               MARTIN CUSACK                          MARTIN DAVILA
P.O. BOX 9000                         10201 S. MAIN STREET                   10201 S. MAIN STREET
STUART, FL 34995-9000                 HOUSTON, TX 77025                      HOUSTON, TX 77025




MARTIN DAWSON                         MARTIN DRAZEK                          MARTIN DURKIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARTIN FLORES                         MARTIN GENAO DIAZ                      MARTIN GOETZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARTIN GONZALEZ SIERRA                MARTIN GONZALEZ                        MARTIN GONZALEZ
10201 S. MAIN STREET                  1413 LONE PINE DR                      5999 ROSARIO ST
HOUSTON, TX 77025                     LITTLE ELM, TX 75068                   CHINO, CA 91710




MARTIN JASTRZEMSKI                    MARTIN KERNS                           MARTIN LEE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARTIN LP GAS - SPRING HILL           MARTIN M HEMING ATTORNEY AT LAW        MARTIN M HEMING
5553 STATE HWY 300 N                  1030 FOUNTAIN SPRINGS LANE             1055 E COLORADO BLVD 5TH FLOOR
LONGVIEW, TX 75604                    GLENDORA, CA 91741                     PASADENA, CA 91106




MARTIN MANAGEMENT INVESTMENTS LP      MARTIN MCINALLY                        MARTIN MIDSTREAM PARTNERS LP DBA
121 ATHENS WEST PKWY                  10201 S. MAIN STREET                   MARTIN LP GAS-KILGORE
ATHENS, GA 30606                      HOUSTON, TX 77025                      2606 N LONGVIEW ST
                                                                             KILGORE, TX 75662




MARTIN MIDSTREAM PARTNERS LP          MARTIN MIDSTREAM PARTNERS LP           MARTIN MOORE
MARTIN OPERATING PARTNERSHIP LP       PO BOX 191                             412 LONGSTREET DR
4200B STONE RD PO BOX 191             KILGORE, TX 75663                      GREER, SC 29650
KILGORE, TX 75662
MARTIN NAVARRO ACOSTACase     18-12241-CSS
                                        MARTINDoc 26
                                              PAMELA      Filed 10/05/18   PageMARTIN
                                                                                1081 PORTILLO
                                                                                      of 1739
10201 S. MAIN STREET                    2501 FERDINAND DR                      10201 S. MAIN STREET
HOUSTON, TX 77025                       BURLINGTON, KY 41005                   HOUSTON, TX 77025




MARTIN PRECIADO                         MARTIN PRECIADO                        MARTIN REED
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MARTIN ROBERTS                          MARTIN SAMMONS                         MARTIN SAUNDERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MARTIN SCURLOCK                         MARTIN STARR                           MARTIN VASQUEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MARTIN, KATELYN                         MARTINA RAKOWSKI                       MARTINEZ, SAL
29613 TALLULAH LN                       3148 TOOPAL DR                         4315 WYANDOT ST APT D
EASTON, MD 21601-6309                   OCEANSIDE, CA 92059                    DENVER, CO 80211-1781




MARTINS MAINTENACE INC                  MARTINSBURG COMMONS WVA LP             MARTINSVILLE BULLETIN
PO BOX 14607                            307 FELLOWSHIP RD STE 116              PO BOX 26148
EAST PROVIDENCE, RI 02914               MOUNT LAUREL, NJ 08054                 RICHMOND, VA 23260




MARTINSVILLE CITY TREASURER             MARTINSVILLE MALL LLC                  MARTINSVILLE
PO BOX 1023                             HULL STOREY GIBSON COMPANIES LLC       ATTN: PROPERTY TAX DEPT.
MARTINSVILLE, VA 24114-1023             PO BOX 204227                          PO BOX 1023
                                        AUGUSTA, GA 30917                      MARTINSVILLE, VA 24114-1023




MARTY BRYANT                            MARTY CONLAN                           MARTY FINKELSTEIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MARTY SILVINO                           MARTY SIMON                            MARTY TURKOWITZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MARTY WASHINGTON                        MARVA CANNADY                          MARVIN ALLAN DOOR CO. INC
10201 S. MAIN STREET                    C/O FABBRINI LAW GROUP LLC             1200 SHAW MILL RD
HOUSTON, TX 77025                       321 N. CLARK ST.                       FAYETTEVILLE, NC 28311
                                        STE. 500
                                        CHICAGO, IL 60654
MARVIN BALDWIN            Case 18-12241-CSS
                                         MARVINDoc 26 Filed 10/05/18
                                               BENFORD                 PageMARVIN
                                                                            1082 F.
                                                                                  ofPOER
                                                                                     1739& COMPANY
                                         10201 S. MAIN STREET               PO BOX 674300
                                         HOUSTON, TX 77025                  DALLAS, TX 75267-4300




MARVIN STEELE                            MARVIN TAYLOR                      MARY ALICE HOWARD
10201 S. MAIN STREET                     2599 BRENSTON DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                        ELLENWOOD, GA 30294                HOUSTON, TX 77025




MARY ALICE SPRINGER                      MARY AMANDA SONNTAG                MARY ANN BENAVIDES
10201 S. MAIN STREET                     25502 BUCKWOOD                     796 NW 92ND AVE
HOUSTON, TX 77025                        LAKE FOREST, CA 92630              PLANTATION, FL 33324




MARY ANN LOZANO                          MARY B DUFFY                       MARY BAILEY
10201 S. MAIN STREET                     7 BITTERSWEET LN                   10201 S. MAIN STREET
HOUSTON, TX 77025                        ATKINSON, NH 03811                 HOUSTON, TX 77025




MARY BALDWIN                             MARY BETH TORRES                   MARY BOSWORTH
10201 S. MAIN STREET                     275 VISTAWOOD DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                        MARIETTA, GA 30066                 HOUSTON, TX 77025




MARY BUCK                                MARY BURKES                        MARY CATHERINE GARRETT
4170 HARTWOOD CIR                        10201 S. MAIN STREET               1101 NORLAND RD
WHITNEY, TX 76692                        HOUSTON, TX 77025                  CHARLOTTE, NC 28205




MARY ELIZABETH DOTSON                    MARY ELIZABETH WHEELER             MARY ESPENAS
6515 HOLMES RD                           9300 LOWELL AVE                    10201 S. MAIN STREET
KANSAS CITY, MO 64131                    OVERLAND PARK, KS 66212            HOUSTON, TX 77025




MARY FRANCES AAMOLD                      MARY HAAR                          MARY HARGRAVE
                                         10201 S. MAIN STREET               10201 S. MAIN STREET
                                         HOUSTON, TX 77025                  HOUSTON, TX 77025




MARY HEUSER                              MARY JANE DUNGAO                   MARY JANE MOONEY
409 E ERIE ST                            22202 PELICAN CREEK                10201 S. MAIN STREET
SPRING VALLEY, IL 61362                  SAN ANTONIO, TX 78258              HOUSTON, TX 77025




MARY JO BRAND                            MARY JOCELYN HOWEY                 MARY JOYCE
10201 S. MAIN STREET                     450 EMILY ROSE CIRCLE              10201 S. MAIN STREET
HOUSTON, TX 77025                        WINDSOR, CA 95492                  HOUSTON, TX 77025
MARY K HOFFMAN         Case 18-12241-CSS    Doc 26
                                      MARY KAHLER       Filed 10/05/18   PageMARY
                                                                              1083KENNAMER
                                                                                    of 1739
19014 POLO MEADOW                     10201 S. MAIN STREET                   628 ANDERSON WALK
HUMBLE, TX 77346                      HOUSTON, TX 77025                      MARIETTA, GA 30062




MARY KENNEDY                          MARY LOU ROGERS                        MARY MARTHA MCCOMAS
68 E SECOND ST                        5762 FIRETHORN DR                      480 SCOTTSDALE CIRCLE
FREEPORT, NY 11520                    DALLAS, TX 75249-2310                  MEDFORD, OR 97504




MARY MEIER                            MARY MURPHY                            MARY MURRAY
16104 WAKELEY ST                      10201 S. MAIN STREET                   551 W 21ST AVE UNIT A
OMAHA, NE 68118                       HOUSTON, TX 77025                      EUGENE, OR 97405




MARY O WESTRA                         MARY OKEEFFE                           MARY ORSESKE
1623 N 49TH ST                        10201 S. MAIN STREET                   10201 S. MAIN STREET
MILWAUKEE, WI 53208                   HOUSTON, TX 77025                      HOUSTON, TX 77025




MARY PARK                             MARY PERMAN                            MARY POPP
10201 S. MAIN STREET                  10201 S. MAIN STREET                   6967 OAK GLEN DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HUGHESVILLE, MD 20637




MARY QUEEN TRANSPORTATION LLC         MARY RANDOLPH                          MARY RANSOM
707 W SAINT KATERI DR                 10201 S. MAIN STREET                   10201 S. MAIN STREET
PHOENIX, AZ 85041                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARY ROBERTS                          MARY RUDD                              MARY SHANNON SMITH
10178 S CAMPDEN CT                    10201 S. MAIN STREET                   1015 N PARK AVE
SOUTH JORDAN, UT 84009                HOUSTON, TX 77025                      SHAWNEE, OK 74801




MARY SILVERMAN                        MARY SLANE                             MARY STRICKLAND
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MARY SUE MILLER                       MARY T VEGA                            MARY TOLLISON
605 OPAL LANE                         7220 WASHINGTON AVE                    10201 S. MAIN STREET
RICHARDSON, TX 75080                  NEW ORLEANS, LA 70125                  HOUSTON, TX 77025




MARY WHETTON                          MARY WILLIAMS                          MARYANN CAREY
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
MARYANN PIROPATO       Case   18-12241-CSS   Doc
                                        MARYANN   26 Filed 10/05/18
                                                ZACHARA                       PageMARYJANE
                                                                                   1084 of DAUSCH
                                                                                           1739
17215 KNOXWOOD DRIVE                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HUNTERSVILLE, NC 28078                  HOUSTON, TX 77025                         HOUSTON, TX 77025




MARYLAND AMERICAN WATER                 MARYLAND AMERICAN WATER                   MARYLAND BALTIMORE COUNTY
1025 LAUREL OAK ROAD                    P.O. BOX 790247                           ATTN: PROPERTY TAX DEPT.
VOORHEES, NJ 08043                      ST. LOUIS, MO 31790                       400 WASHINGTON AVE RM 152
                                                                                  TOWSON, MD 21204




MARYLAND BALTIMORE COUNTY               MARYLAND CHILD SUPPORT ACCOUNT            MARYLAND CITY PLAZA LP
ATTN: PROPERTY TAX DEPT.                PO BOX 17396                              1025 THOMAS JEFFERSON ST NW
PO BOX 64076                            BALTIMORE, MD 21297-1396                  WASHINGTON, DC 20007
BALTO, MD 21264-4076




MARYLAND CITY PLAZA LP                  MARYLAND CITY PLAZA LP                    MARYLAND FINANCIAL INVESTORS, INC.
C/O COMBINED PROPERTIES INC             C/O COMBINED PROPERTIES                   SCOTT CHERRY
1025 THOMAS JEFFERSON ST NW             INCORPORATED                              2800 QUARRY LAKE DRIVE, SUITE 340
WASHINGTON, DC 20007                    1025 THOMAS JEFFERSON ST. NW, SUITE       BALTIMORE, MD 21209
                                        700 EAST
                                        ATTN: LEGAL DEPARTMENT
                                        WASHINGTON, DC 20007

MARYLAND FINANCIAL REALTY               MARYLAND OFFICE OF THE COMPTROLLER        MARYLAND OFFICE OF THE COMPTROLLER
ATTN: MICHAEL STOLTZ                    PETER FRANCHOT, COMPTROLLER               PETER FRANCHOT, COMPTROLLER
2800 QUARRY LAKE DRIVE, SUITE 340       80 CALVERT ST                             PO BOX 466
BALTIMORE, MD 21209                     ANNAPOLIS, MD 214040466                   ANNAPOLIS, MD 214040466




MARYLAND STATE FAIR & AGRICULTURAL      MARYLAND STATE FAIR                       MARYLAND UNEMPLOYMENT INSURANCE
SOCIETY INC                             PO BOX 188                                FUND
2200 YORK RD                            TIMONIUM, MD 21094-0188                   DIVISION OF UNEMPLOYMENT INSURANCE
TIMONIUM, MD 21093                                                                PO BOX 1683
                                                                                  BALTIMORE, MD 21203-1683



MARYSSA BREWER                          MASCOT LLC                                MASHBURN OUTDOOR LLC DBA AIRPORT
10201 S. MAIN STREET                    C/O KIN PROPERTIES, INC.                  TARGET MEDIA
HOUSTON, TX 77025                       185 NW SPANISH RIVER BOULEVARD, SUITE     1870 THE EXCHANGE STE 135
                                        100                                       ATLANTA, GA 30339-2021
                                        BOCA RATON, FL 33431



MASLON EDELMAN BORMAN & BRAND LLP       MASOMA GROUP LLC                          MASON BERCH
90 S SEVENTH ST SUITE 3300              PO BOX 1127                               10201 S. MAIN STREET
MINNEAPOLIS, MN 55402                   MEMPHIS, TN 38101                         HOUSTON, TX 77025




MASON BRIDGES                           MASON CHILD                               MASON CONNER
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




MASON FEWELL                            MASON KELLNER                             MASON L SHELTON
100 FAIRVIEW CIRCLE                     10201 S. MAIN STREET                      5813 CARREL COVE
ASHLAND CITY, TN 37015                  HOUSTON, TX 77025                         SOUTHAVEN, MS 38671
MASON LOPES             Case 18-12241-CSS
                                       MASON Doc 26
                                             NEWKIRK      Filed 10/05/18      PageMASON
                                                                                   1085 PARKER
                                                                                        of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




MASON WENK & BERMAN                     MASOOD BUTT                               MASOOD RABIEI
ATTN: ADAM BERMAN                       10201 S. MAIN STREET                      10201 S. MAIN STREET
630 DUNDEE ROAD, SUITE 220              HOUSTON, TX 77025                         HOUSTON, TX 77025
NORTHBROOK, IL 60062




MASOOM BHAM                             MASSACHUSETTS DEPARTMENT OF               MASSACHUSETTS DEPARTMENT OF
10201 S. MAIN STREET                    REVENUE                                   REVENUE
HOUSTON, TX 77025                       ATTN: BUSINESS LICENSE DEPT.              ATTN: SALES & USE TAX DEPT.
                                        PO BOX 7046                               PO BOX 7046
                                        BOSTON, MA 02204-7046                     BOSTON, MA 02204-7046



MASSACHUSETTS DEPT OF REVENUE           MASSACHUSETTS DEPT OF REVENUE             MASSACHUSETTS
DIVISION OF LOCAL SERVICES              DIVISION OF LOCAL SERVICES                ATTN: TAX DEPT.
100 CAMBRIDGE ST, 6TH FL                PO BOX 9569                               14 HOPE ST
BOSTON, MA 02114-9569                   BOSTON, MA 02114-9569                     GREENFIELD, MA 01301




MASSAPEQUA WATER DISTRICT               MASSAPEQUA WATER DISTRICT                 MASSEY SERVICES INC
84 GRAND AVENUE                         84 GRAND AVENUE                           PO BOX 547668
MASSAPEQUA, NY 11758                    MASSAPEQUA, NY 11758-4990                 ORLANDO, FL 32854-7668




MASSIEL DE LOS SANTOS                   MASSIMO MUSA REVOCABLE TRUST              MASTER BEDS LLC
10201 S. MAIN STREET                    COLONIAL WEST RETAIL CENTER               11540 US HWY 92 EAST
HOUSTON, TX 77025                       4800 N FEDERAL HWY ST 201B                SEFFNER, FL 33584
                                        BOCA RATON, FL 33431




MASTER BEDS, LLC                        MASTER BEDS, LLC                          MASTER LANDCARE & MAINT
11540 US HWY 92 EAST                    C/O RTG FURNITURE CORP.                   PO BOX 720313
SEFFNER, FL 33584                       400 PERIMETER CENTER TERRACE, SUITE       SAN JOSE, CA 95172
                                        800
                                        ATTN: JEFFREY H. FINKEL
                                        ATLANTA, GA 30346


MASTERS OF DISASTERS PLUMBING &         MAT FIRM LOGAN LLC                        MAT FIRM LOGAN LLC
ROOTER                                  12176 NORTH 1400 EAST                     12176 NORTH 1400 EAST
101 E LAURA ST                          COVE, UT 84320                            LEWISTON, UT 84320
ROGERS, AR 72758




MAT MILLESON                            MATANUSKA SUSITNA BOROUGH                 MATANUSKA TELEPHONE ASSOCIATION INC
10201 S. MAIN STREET                    350 E DAHLIA AVE                          P.O. BOX 3009
HOUSTON, TX 77025                       PALMER, AK 99645-6488                     PALMER, AK 99645-3009




MATERIAL HANDLING SUPPLY INC            MATERIAL HANDLING SYSTEMS INC             MATHEW ALISAUSKIS
920 PROFESSIONAL PLACE                  DBA SACRAMENTO RACK & SHELVING &          10201 S. MAIN STREET
CHESAPEAKE, VA 23320                    SACRAMENTO FORKLIFT                       HOUSTON, TX 77025
                                        62 ARDEN WAY
                                        SACRAMENTO, CA 95815
MATHEW C LOKAY          Case 18-12241-CSS   Doc
                                       MATHEW    26
                                              COOK       Filed 10/05/18   PageMATHEW
                                                                               1086 ofGREGA
                                                                                        1739
                                                                              10201 S. MAIN STREET
                                                                              HOUSTON, TX 77025




MATHEW H PINES                         MATHEW JENSEN                          MATHEW SCOTT
C/O TAYLOR PROPERTIES                  10201 S. MAIN STREET                   10201 S. MAIN STREET
61 WILGAR RD                           HOUSTON, TX 77025                      HOUSTON, TX 77025
TORONTO, ON M8X 1J8
CANADA



MATHEW SIMPSON                         MATHEW SPILLER                         MATILDE GARCIA
8 GOLDEN POPPY LOOP                    10201 S. MAIN STREET                   7466 LAUREL CANYON BLVD APT 210
BELTON, TX 76513                       HOUSTON, TX 77025                      NORTH HOLLYWOOD, CA 91605




MATLOCKS LOCK & KEY SVC                MATR                                   MATRIX IMPORTS INC
33823 FAIRHAVEN CT                     P.O. BOX 642715                        2250 NW 30TH PL
LEESBURG, FL 34788                     PITTSBURGH, PA 15264                   POMPANO BEACH, FL 33069




MATRIX TRUST COMPANY                   MATSON NAVIGATION COMPANY INC          MATT ALLEN
PO BOX 419497                          PO BOX 98481                           10201 S. MAIN STREET
BOSTON, MA 02241-9497                  CHICAGO, IL 60693                      HOUSTON, TX 77025




MATT ALLSUP                            MATT ANDERSON                          MATT BAKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT BASTRESS                          MATT BELOTE                            MATT BOLAM
10201 S. MAIN STREET                   MARKET MANAGERTUCSON                   10201 S. MAIN STREET
HOUSTON, TX 77025                      4630 MAGNOLIA COVE DR. APT. 831        HOUSTON, TX 77025
                                       KINGWOOD, TX 77345




MATT BROWN                             MATT BROWN                             MATT CABALLES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT CARSON                            MATT CASILLAS                          MATT CATTRELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT CESCA                             MATT CHAPLE                            MATT COUNTS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
MATT CRAWFORD          Case 18-12241-CSS    Doc 26
                                      MATT DAROCA       Filed 10/05/18   PageMATT
                                                                              1087  of 1739
                                                                                  DICKINSON
10201 S. MAIN STREET                                                         10201 S. MAIN STREET
HOUSTON, TX 77025                                                            HOUSTON, TX 77025




MATT DISNEY                           MATT EDWARDS                           MATT ELMORE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT FORBES                           MATT FORMBY                            MATT GARRETT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   DISTRICT MANAGER-MEMPHIS
HOUSTON, TX 77025                     HOUSTON, TX 77025                      4143 HIDDEN FERN LN N
                                                                             BARTLETT, TN 38136




MATT GONZALEZ                         MATT GOULD                             MATT GRANADO
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT HALL                             MATT HRUSLINSKI                        MATT HUGGLER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT JESSELL                          MATT KELLEY                            MATT KUSER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT LANKFORD                         MATT LENDERMAN                         MATT LOFTUS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   20939 GREENMONT DRIVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                      BEND, OR 97702




MATT MANION                           MATT MOORE                             MATT MORGAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT MORTON                           MATT NEWMAN                            MATT NEWMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT NEWTON                           MATT NOLTE                             MATT ODOM
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
MATT PACIELLO          Case 18-12241-CSS    Doc 26
                                      MATT PATTILLO      Filed 10/05/18   PageMATT
                                                                               1088  of 1739
                                                                                   PRINCE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT ROBINSON                          MATT SCHLESINGER                       MATT SLAGER
                                       10201 S. MAIN STREET                   10201 S. MAIN STREET
                                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT SPELLMEYER                        MATT STARRETT                          MATT STUBBINGTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATT SUCHORA                           MATT VICARI                            MATT WILLOUR
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTECH INSPECTIONS INC                MATTHEW ABBEDUTO                       MATTHEW ACCIARDO
433 NE BAKER RD                        10201 S. MAIN STREET                   10201 S. MAIN STREET
STUART, FL 34994                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW ALEX                           MATTHEW ALLEY                          MATTHEW AMACHER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW ANDERSON                       MATTHEW ANDREW                         MATTHEW ARMSTRONG
10201 S. MAIN STREET                   10201 S. MAIN STREET                   7168 WINDSTAR DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                      RENO, NV 89523




MATTHEW AYELE                          MATTHEW BARTON                         MATTHEW BEECH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW BENGEL                         MATTHEW BIESE                          MATTHEW BLOHM
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW BOESZ                          MATTHEW BOLDING                        MATTHEW BOND
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
MATTHEW BOOTH          Case 18-12241-CSS   Doc
                                      MATTHEW   26 Filed 10/05/18
                                              BOYER                 PageMATTHEW
                                                                         1089 ofBRODERSON
                                                                                 1739
10201 S. MAIN STREET                  2802 W BAY AREA 1803              10201 S. MAIN STREET
HOUSTON, TX 77025                     WEBSTER, TX 77598                 HOUSTON, TX 77025




MATTHEW BURKHARDT                     MATTHEW BURRELL                   MATTHEW BUTLER
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




MATTHEW CAMPBELL                      MATTHEW CAMPISI                   MATTHEW CASILLAS
10201 S. MAIN STREET                  10201 S. MAIN STREET              14606 N DALLAS PKWY 1165
HOUSTON, TX 77025                     HOUSTON, TX 77025                 DALLAS, TX 75254




MATTHEW COLE                          MATTHEW COLLINS                   MATTHEW COOK
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




MATTHEW COSTA                         MATTHEW D MASON                   MATTHEW D MASON
10201 S. MAIN STREET                  C/O MCKINLEY INC                  DBA ALGONQUIN COMMONS
HOUSTON, TX 77025                     1900 S RANDALL RD                 320 N MAIN ST STE 200
                                      ALGONQUIN, IL 60102               ANN ARBOR, MI 48104




MATTHEW DALTON                        MATTHEW DANIEL JOHNSON            MATTHEW DAROCA
10201 S. MAIN STREET                  435 N EUCLID AVE APT 7            10201 S. MAIN STREET
HOUSTON, TX 77025                     PASADENA, CA 91101                HOUSTON, TX 77025




MATTHEW DE LA FUENTE                  MATTHEW DE ROSE                   MATTHEW DENHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET              4409 NEWPORT CT
HOUSTON, TX 77025                     HOUSTON, TX 77025                 GASTONIA, NC 28056




MATTHEW DIDONATO                      MATTHEW DIEWALD                   MATTHEW DONNELLS
10201 S. MAIN STREET                  740 S ST ANDREWS PL APT 13        10201 S. MAIN STREET
HOUSTON, TX 77025                     LOS ANGELES, CA 90005             HOUSTON, TX 77025




MATTHEW DRISCOLL                      MATTHEW DUBE                      MATTHEW ELLIOTT
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




MATTHEW EMANUEL                       MATTHEW ESQUIBEL                  MATTHEW EVANS
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025
MATTHEW FOLEY          Case 18-12241-CSS   Doc
                                      MATTHEW   26
                                              FORD      Filed 10/05/18   PageMATTHEW
                                                                              1090 ofFRICK
                                                                                      1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW FURST                         MATTHEW G GRZESIAKOWSKI                MATTHEW GAGE
10201 S. MAIN STREET                  4012 KIMPTON PLACE                     10201 S. MAIN STREET
HOUSTON, TX 77025                     LARGO, FL 33771                        HOUSTON, TX 77025




MATTHEW GENSHEIMER                    MATTHEW GINSBURG                       MATTHEW GOMEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW GRUBBS                        MATTHEW GUTHRIE                        MATTHEW H. PINES
10201 S. MAIN STREET                                                         61 WILGAR ROAD
HOUSTON, TX 77025                                                            ETOBICOKE, ON M8X 1J8
                                                                             CANADA




MATTHEW H. PINES                      MATTHEW H. PINES                       MATTHEW HANEMAN
61 WILGAR ROAD                        C/O RCR PROPERT MANAGEMENT
ETOBICOKE, ON M8X1J8                  928 MAIN ST
CANADA                                MARTINEZ, CA 94553




MATTHEW HARTLEY                       MATTHEW HARVEY                         MATTHEW HODGES
                                      10201 S. MAIN STREET                   10201 S. MAIN STREET
                                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW HOWELL                        MATTHEW HUTTON                         MATTHEW JACKSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW JACKSON                       MATTHEW JAMES                          MATTHEW JONES
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW JONES                         MATTHEW K VOTAW                        MATTHEW KELLY
10201 S. MAIN STREET                  746 ROBINSON FARMS DR                  10201 S. MAIN STREET
HOUSTON, TX 77025                     MARIETTA, GA 30068                     HOUSTON, TX 77025




MATTHEW KENNEDY                       MATTHEW KEYS                           MATTHEW KITT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
MATTHEW KLEIN          Case 18-12241-CSS   Doc
                                      MATTHEW    26 Filed 10/05/18
                                              L AINSWORTH            PageMATTHEW
                                                                          1091 ofLAPP
                                                                                  1739
10201 S. MAIN STREET                   14000 CAROLINES COVE 108B         10201 S. MAIN STREET
HOUSTON, TX 77025                      ORMOND BEACH, FL 32174            HOUSTON, TX 77025




MATTHEW LEIBNER                        MATTHEW LEWIS                     MATTHEW LOPEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MATTHEW LUKEN                          MATTHEW LUNTZEL                   MATTHEW LYNCH
10201 S. MAIN STREET                   10201 S. MAIN STREET              17580 GILBERT DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                 LOCKPORT, IL 60441




MATTHEW MANZO                          MATTHEW MARR                      MATTHEW MATERAZZI
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MATTHEW MCCOOEY                        MATTHEW MCCREA                    MATTHEW MCCUTCHEON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MATTHEW MCCUTCHEON                     MATTHEW MEYER                     MATTHEW MICHELSEN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MATTHEW MIKOVICH                       MATTHEW MITCHELL                  MATTHEW MORGAN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MATTHEW MORRISON                       MATTHEW MULLINS                   MATTHEW MUNDHENK
10201 S. MAIN STREET                   5931 REES RD APT 197              10201 S. MAIN STREET
HOUSTON, TX 77025                      JONESBORO, AR 72401               HOUSTON, TX 77025




MATTHEW MUSCAT                         MATTHEW NASH                      MATTHEW OMEARA
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MATTHEW OSBORNE                        MATTHEW OSKVAREK                  MATTHEW PAGE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025
MATTHEW PAINTER        Case 18-12241-CSS   Doc
                                      MATTHEW   26 Filed 10/05/18
                                              PALOMINO              PageMATTHEW
                                                                         1092 ofPERKINS
                                                                                 1739
10201 S. MAIN STREET                                                     10201 S. MAIN STREET
HOUSTON, TX 77025                                                        HOUSTON, TX 77025




MATTHEW PERRY                         MATTHEW PETSCHE                    MATTHEW PIKE
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




MATTHEW PILGRIM                       MATTHEW POTITO                     MATTHEW R WILLS
10201 S. MAIN STREET                  10201 S. MAIN STREET               4331 42ND ST B
HOUSTON, TX 77025                     HOUSTON, TX 77025                  SAN DIEGO, CA 92105




MATTHEW REAGAN                        MATTHEW REED                       MATTHEW RICE
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




MATTHEW ROBINSON                      MATTHEW ROCHA                      MATTHEW ROMANO
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




MATTHEW RUSSO                         MATTHEW SALAS                      MATTHEW SANTIAGO
10201 S. MAIN STREET                  601 W ELLAINE AVE                  10201 S. MAIN STREET
HOUSTON, TX 77025                     PASADENA, TX 77506                 HOUSTON, TX 77025




MATTHEW SHEPPARD                      MATTHEW SICINSKI                   MATTHEW SOTO
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




MATTHEW SPENCE                        MATTHEW STAGGS                     MATTHEW STEENHOVEN
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




MATTHEW STEVENSON                     MATTHEW TERRANCE ROBBINS           MATTHEW TORREZ
10201 S. MAIN STREET                  10902 BRAEWICK DR.                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77096                  HOUSTON, TX 77025




MATTHEW TRINKLEY                      MATTHEW VAN PELT                   MATTHEW VERITY
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025
MATTHEW WALL            Case 18-12241-CSS   Doc
                                       MATTHEW   26
                                               WARD      Filed 10/05/18   PageMATTHEW
                                                                               1093 ofWARD
                                                                                       1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW WARD                           MATTHEW WATKINS                        MATTHEW WEBBER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW WELLBOM                        MATTHEW WERNER                         MATTHEW WHALEN
1426 WESTERN CT 7303B                  10201 S. MAIN STREET                   10201 S. MAIN STREET
SAN ANGELO, TX 76904                   HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW WHEELER                        MATTHEW WHEELER                        MATTHEW WILLS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEW WITCHER                        MATTHEW WRYK                           MATTHEW WRYK
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MATTHEWS DEVELOPMENT CO                MATTHIESEN FAMILY LP                   MATTONE GROUP MANAGEMENT, LLC
DBA WRM-MONROE LLC                     431 W ODGEN AVE                        YURI GOLDSTEIN
8451 SE 68TH ST STE 200                CLARENDON HILLS, IL 60514              134-01 20TH AVE
MERCER ISLAND, WA 98040                                                       COLLEGE POINT, NY 11356




MATTONE GROUP SPRINGNEX LLC            MATTONE GROUP SPRINGNEX, LLC           MATTRESS DISCOUNTERS
YURI GOLDSTEIN                         ATTN: MICHAEL MATTONE                  8660 CHERRY LANE SUITES 40-46
134-01 20TH AVE                        134-01 20TH AVE                        LAUREL, MD 20707
COLLEGE POINT, NY 11356                COLLEGE POINT, NY 11356




MATTRESS DISCOUNTERS                   MATTRESS DISCOUNTERS/ MAGGIES          MATTRESS FIRM INC
ATTN: AMY E OCONNELL LEGAL DEPT        5393 WESLEYAN DRIVE SUITE 104          10201 SOUTH MAIN ST
1000 S OYSTER BAY RD                   VIRGINIA BEACH, VA 23455               HOUSTON, TX 77025
HICKSVILLE, NY 11801




MATTRESS FIRM                          MATTRESS FIRM                          MATTRESS FIRM
1000 N. GREENFIELD PKWY                10201 S. MAIN ST                       46 NAUTILUS PL
GARNER, NC 27529                       HOUSTON, TX 77025                      PITTSBURG, CA 94565-3519




MATTRESS FIRM, INC.                    MATTRESS FIRM, INC.                    MATTRESS LIQUIDATORS INC
10201 SOUTH MAIN ST                    10201 SOUTH MAIN STREET                DAVID DOLAN
HOUSTON, TX 77025                      HOUSTON, TX 77025                      1435 WHITE HAWK RANCH DR
                                                                              BOULDER, CO 80303
MATTRESS MARSHALS WCCase     18-12241-CSS   DocMARSHALS
                                       MATTRESS 26 Filed 10/05/18        PageMATTRESS
                                                                              1094 of MATTERSS
                                                                                      1739          INC
PO BOX 1585                            PO BOX 670727                         5555 MONROE ST.
PLACERVILLE, CA 95667                  CORAL SPRINGS, FL 33067               SYLVANIA, OH 43560




MATTRESS RECYCLING COUNCIL             MATTSANTEX LLC                        MATTSANTEX, LLC
ATTN: RECYCLING FEE DEPT.              ATTN: ACCOUNT RECEIVABLE              1325 FRANKLIN AVE, SUITE 103
PO BOX 223594                          401 E. SONTERRA BLVD. STE 114         GARDEN CITY, NY 11530
CHANTILLY, VA 20153-3594               SAN ANTONIO, TX 78258




MATUSHEK NILLES LLC                    MAUCERI SIGN CO INC                   MAUI DISPOSAL CO. INC
55 W MONROE ST STE 700                 167-25 ROCKAWAY BLVD                  280 IMI KALA STREET
CHICAGO, IL 60603                      JAMAICA, NY 11434                     WAILUKU, MAUI, HI 96793




MAUI DISPOSAL CO. INC                  MAUI ELECTRIC CO                      MAUI ELECTRIC CO
P.O. BOX 30490                         210 W KAMEHAMEHA AVE                  P.O. BOX 310040
HONOLULU, HI 96820-0490                KAHULUI, MAUI, HI 96732               HONOLULU, HI 96820-1040




MAUI ELECTRIC COMPANY                  MAUI PUBLISHING CO LTD                MAURA BISHOP
P.O. BOX 1670                          DBA THE MAUI NEWS                     10201 S. MAIN STREET
HONOLULU, HI 96806-1670                100 MAHALANI ST PO BOX 550            HOUSTON, TX 77025
                                       WAILUKU, HI 96793




MAUREEN DORSETT                        MAUREEN ELIZALDE                      MAUREEN MONTANINO
10201 S. MAIN STREET                   507 W LA HABRA BLVD                   10201 S. MAIN STREET
HOUSTON, TX 77025                      LA HABRA, CA 90631                    HOUSTON, TX 77025




MAUREEN TALLEY                         MAURI KNOWLES                         MAURICE ABDUS-SALAAM
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




MAURICE CARPENTER                      MAURICE EDWARDS                       MAURICE EDWARDS
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




MAURICE GUY                            MAURICE HENDERSON DBA HENDERSON       MAURICE HUMPHREY
10201 S. MAIN STREET                   ENTERPRISES LLC                       10201 S. MAIN STREET
HOUSTON, TX 77025                      1019 OLD MONROVIA RD STE 372          HOUSTON, TX 77025
                                       HUNTSVILLE, AL 35806




MAURICE MESECK                         MAURICE O EDWARDS                     MAURICE PHILLIPS
10201 S. MAIN STREET                                                         10201 S. MAIN STREET
HOUSTON, TX 77025                                                            HOUSTON, TX 77025
MAURICE PHILLIPS        Case 18-12241-CSS    Doc
                                       MAURICE    26
                                               REED       Filed 10/05/18   PageMAURICE
                                                                                1095 ofROSE
                                                                                        1739
10201 S. MAIN STREET                    DBA NEVER STOP MOVING                  DBA CITRUS PARK CAPITAL LLC
HOUSTON, TX 77025                       6956 E BROAD ST 210                    737 REGAL ROW
                                        COLUMBUS, OH 43213                     DALLAS, TX 75247




MAURICE RUSSELL                         MAURICE SMITH                          MAURICE TYREE
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MAURICE WILLIAMS                        MAURICE WILLIAMS                       MAURICE, GEORDANY
10201 S. MAIN STREET                    10201 S. MAIN STREET                   11575 PARKWAY DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                      ELMONT, NY 11003-3934




MAURICIO ALTAMIREZ                      MAURICIO VALLECILLO                    MAURIE ANDERSON
10386 SW 3RD ST                         10201 S. MAIN STREET                   1708 LIMESTONE TERRACE
MIAMI, FL 33174                         HOUSTON, TX 77025                      LITHONIA, GA 30058




MAURIS ALONSO                           MAURISSA RACER                         MAURY COUNTY CLERK
10201 S. MAIN STREET                    5900 S COUNTY RD 575 E                 10 PUBLIC SQUARE
HOUSTON, TX 77025                       SELMA, IN 47383                        COLUMBIA, TN 38401




MAURY COUNTY TRUSTEE                    MAURY KERBEN                           MAURY
ONE PUBLIC SQ                           10201 S. MAIN STREET                   ATTN: PROPERTY TAX DEPT.
COLUMBIA, TN 38401                      HOUSTON, TX 77025                      ONE PUBLIC SQ
                                                                               COLUMBIA, TN 38401




MAUTNER-GLICK CORP                      MAUTNER-GLICK CORP                     MAUTNER-GLICK CORP
1345 THIRD AVE                          136 E 57TH ST 14TH FL                  136 EAST 57TH STREET
NEW YORK, NY 10075                      NEW YORK, NY 10022                     NEW YORK, NY 10022




MAUTNER-GLICK, CORP                     MAUTNER-GLICK, CORP                    MAVERICK INVESTMENTS
1345 THIRD AVE                          ATTN: ALVIN H. GLICK                   ATTN: LISA SCHNEITER
NEW YORK, NY 10075                      136 EAST 57TH STREET, 14TH FLOOR       3633 E BROADWAY STE 100
                                        NEW YORK, NY 10022                     LONG BEACH, CA 90803




MAWC                                    MAWC                                   MAX AND LORETTA WASACZ
124 PARK AND POOL RD                    P.O. BOX 800                           2351 12TH AVE
NEW STANTON, PA 15672                   GREENSBURG, PA 15601                   SAN FRANCISCO, CA 94116




MAX ARION                               MAX CHRISTIANSEN                       MAX DAVIDO
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025
MAX I GEFFON           Case 18-12241-CSS    Doc 26
                                      MAX KRAYNAK       Filed 10/05/18     PageMAX
                                                                                1096  of 1739
                                                                                   LAWLEY
26 S INDIAN SAGE CIR                  10201 S. MAIN STREET                     10201 S. MAIN STREET
WOODLANDS, TX 77381                   HOUSTON, TX 77025                        HOUSTON, TX 77025




MAX LEGGIERO                          MAX LIFT, INC.                           MAX MEDIA OF HAMPTON ROADS LLC
10201 S. MAIN STREET                  200 S. OKLAHOMA AVE. 403                 5589 GREENWICH RD STE 200
HOUSTON, TX 77025                     OKLAHOMA CITY, OK 73104-2427             VIRGINIA BEACH, VA 23462




MAX MEDIA OF HAMPTON ROADS LLC        MAX MEDIA OF HAMPTON ROADS LLC           MAX MEDIA OF HAMPTON ROADS LLC
WGH-FM                                WVBW-FM                                  WVHT-FM
5589 GREENWICH RD 200                 5589 GREENWICH RD 200                    5589 GREENWICH RD STE 200
VIRGINIA BEACH, VA 23462              VIRGINIA BEACH, VA 23462                 VIRGINIA BEACH, VA 23462




MAX MEDIA OF HAMPTON ROADS LLC        MAX PATRICK                              MAX RACKS INC
WVSP-FM                               10201 S. MAIN STREET                     3791 HILLSIDE AVE
5589 GREENWICH RD 200                 HOUSTON, TX 77025                        NORCO, CA 92860
VIRGINIA BEACH, VA 23462




MAX RICE                              MAX TOOMBS                               MAXIM ENTERPRISES LLC
420 CENTRAL DRIVE                     10201 S. MAIN STREET                     ATTN: GIROLAMO PUCCIO
RYE, NH 03870                         HOUSTON, TX 77025                        PO BOX 276
                                                                               NORWOOD, NJ 07648




MAXIM ENTERPRISES, LLC                MAXIMILIAN SPEARS                        MAXIMO A DEL LUPO
ATTN: GIROLAMO PUCCIO                 10201 S. MAIN STREET                     11470 NW 39TH STREET
PO BOX 276                            HOUSTON, TX 77025                        SUNRISE, FL 32164
NORWOOD, NJ 07648




MAXINE DE OLIVEIRA                    MAXINE SMITH                             MAXUM INDEMNITY CO.
10201 S. MAIN STREET                  12841 ADELPHIA AVE                       C/O WILSON ELSER MOSKOWITZ EDELMAN
HOUSTON, TX 77025                     SYLMAR, CA 91340                         & DICKER LLP
                                                                               ATTN: FRANK CHAO
                                                                               950 EAST PACES FERRY RD NE, SUITE 2850
                                                                               ATLANTA, GA 30326


MAXWELL J MOULTON                     MAXWELL SEY                              MAXWELL SPENCE
80 GRAFFT LANE                        10201 S. MAIN STREET                     10201 S. MAIN STREET
SAINT AUGUSTINE, FL 32084             HOUSTON, TX 77025                        HOUSTON, TX 77025




MAXWOOD FURNITURE INC                 MAXXVAULT LLC                            MAYA JORDAN
816 JOHNNIE DODDS BLVD                3340 VETERANS MEMORIAL HWY STE 400       10201 S. MAIN STREET
MOUNT PLEASANT, SC 29464              BOHEMIA, NY 11716                        HOUSTON, TX 77025




MAYA TOLJ                             MAYAKOBA THAI SA DE CV                   MAYBURY MATERIAL HANDLING
10201 S. MAIN STREET                  DBA BANYAN TREE MAYAKOBA                 MAYBURY ASSOCIATES INC
HOUSTON, TX 77025                     CARRETERA FEDERAL CHETUMAL               90 DENSLOW RD
                                      PUERTO JUAREZ KM 289 EJIDO               EAST LONGMEADOW, MA 01028-3160
                                      PLAYA DEL CARMEN, ROO MEXICO
                      Case
MAYFIELD & LESTER ATTORNEYS    18-12241-CSS    Doc TRANSIT
                                         MAYFLOWER 26 FiledLLC 10/05/18            PageMAYFLOWER
                                                                                        1097 of 1739
                                                                                                 TRANSIT LLC
PO BOX 789                                22262 NETWORK PL                              ONE MAYFLOWER DR
CHATTANOOGA, TN 37401                     CHICAGO, IL 60673-1222                        FENTON, MO 63026




MAYKEL GONZALEZ                           MAYNARD COOPER GALE                           MAYOR & COUNCIL OF MIDDLETOWN
10201 S. MAIN STREET                      1901 6TH AVE N STE 2400                       19 W GREEN STREET
HOUSTON, TX 77025                         BIRMINGHAM, AL 35203                          MIDDLETOWN, DE 19709




MAYOR & COUNCIL OF MIDDLETOWN             MAYRA EDITH VAZQUEZ                           MAYRA ROSAS-RIOS
19 W. GREEN ST.                           701 CENTER RIDGE DR 633                       10201 S. MAIN STREET
MIDDLETOWN, DE 19709-1315                 AUSTIN, TX 78753                              HOUSTON, TX 77025




MAYTE LUCIO                               MAZUR MAZUR LLC                               MAZUR MAZUR, LLC
222 N. BARNETT                            C/O ACRE MGMT                                 C/O ACRE MANAGEMENT
DALLAS, TX 75211                          4465 KIPLING STREET, SUITE 106                4465 KIPLING STREET, SUITE 106
                                          WHEAT RIDGE, CO 80033                         WHEAT RIDGE, CO 80033




MB 360                                    MB COLUMBUS HILLIARD LLC                      MB COLUMBUS HILLIARD, LLC
DEPT 34563                                DEPT 44556                                    C/O CUSHMAN & WAKEFIELD
PO BOX 39000                              PO BOX 677934                                 325 JOHN MCCONNELL BLVD., SUITE 450
SAN FRANCISCO, CA 94139                   DALLAS, TX 75267-7934                         COLUMBUS, OH 43215




MB COLUMBUS HILLIARD, LLC                 MB LINCOLN MALL LLC                           MB LINCOLN MALL LLC
DEPT 44556                                332 S MICHIGAN AVENUE                         C/O HIGHLAND PROPERTY MGMT LLC
PO BOX 677934                             9TH FL                                        PO BOX 677928
DALLAS, TX 75267-7934                     CHICAGO, IL 60604                             DALLAS, TX 75267-7928




MB LINCOLN MALL, L.L.C.                   MB LINCOLN MALL, L.L.C.                       MB LINCOLN MALL, L.L.C.
C/O HIGHLAND PROPERTY MGMT LLC            C/O IA MANAGEMENT, L.L.C./BLDG. #44555        C/O IA MANAGEMENT, L.L.C./BLDG. #44555
PO BOX 677928                             2809 BUTTERFIELD ROAD, SUITE 200              2809 BUTTERFIELD ROAD, SUITE 200
DALLAS, TX 75267-7928                     ATTN: LEGAL - LEASE ADMINISTRATION            ATTN: VICE PRESIDENT
                                          OAK BROOK, IL 60523                           OAK BROOK, IL 60523



MB REAL ESTATE-VI, LLC                    MB REAL ESTATE-VI, LLC                        MB SAN ANTONIO BROOKS LIMITED
DEANNA BURGER AND JAMES C. MILLER         DEANNA BURGER AND JAMES C. MILLER             PARTNERSHIP
1712 HOLLIDAY DRIVE                       1712 HOLLIDAY DRIVE                           C/O IA MANAGEMENT, L.L.C./BLDG. #44554
DEANNA BURGER AND JAMES C. MILLER         NORMAN, OK 73069                              2809 BUTTERFIELD ROAD, SUITE 200
NORMAN, OK 73069                                                                        ATTN: LEGAL - LEASE ADMINISTRATION
                                                                                        OAK BROOK, IL 60523


MB SAN ANTONIO BROOKS LIMITED             MBA SHOPPING CENTER LLC                       MBB REALTY LIMITED PARTNERSHIP
PARTNERSHIP                               P.O. BOX 4573                                 C/O POMEGRANATE RE
C/O IA MANAGEMENT, L.L.C./BLDG. #44554    HOUSTON, TX 77210-4573                        33 ROCK HILL RD, SUITE 350
2809 BUTTERFIELD ROAD, SUITE 200                                                        BALA CYNWYD, PA 19004
ATTN: VICE PRESIDENT
OAK BROOK, IL 60523


MBB REALTY LIMITED PARTNERSHIP            MBD LIMITED CO                                MBD LIMITED CO.
P.O. BOX 780241                           C/O RUDY KHOURI                               C/O RUDY KHOURI
PHILADELPHIA, PA 19178-0241               620 NORTH BERRY                               620 NORTH BERRY
                                          NORMAN, OK 73069                              NORMAN, OK 73069
MBK HOLDINGS LLC        Case 18-12241-CSS    Doc 26LLC Filed 10/05/18
                                       MBK HOLDINGS                       PageMBK
                                                                               1098 of 1739
                                                                                  HOLDINGS, LLC
ATTN: MARK D. BIGOS                     ATTN: MARK D. BIGOS                    ATTN: MARK D. BIGOS
55 BELLEVUE AVE                         55 BELLEVUE AVE                        55 BELLEVUE AVE
SUMMIT, NJ 07901                        SUMMIT, NJ 07901                       SUMMIT, NJ 07901




MBS MALL INVESTOR-98 LLC                MC 8201 LLC                            MC MANAGEMENT & DEVELOPMENT, INC.
4240 BLUE RIDGE BLVD,STE 900            9901 EXPRESS DR                        6802 MAPLERIDGE STREET, SUITE 210
KANSAS CITY, MO 64133                   HIGHLAND, IN 46322                     BELLAIRE, TX 77401




MC RJERS LLC                            MC RJERS LLC                           MCALISTER SQUARE PARTNERS LTD
7105 E PARADISE DR                      PO BOX 4119                            PO BOX 3128
SCOTTSDALE, AZ 85254                    ARLINGTON, VA 22204                    MCKINNEY, TX 75070




MCBA TRANSPORTATION                     MCBH ARUNDEL PLAZA JV LLC              MCBH ARUNDEL PLAZA LLC
1069 SANDY VALLEY RD                    2701 N CHARLES ST STE 404              C/O MCB PROPERTY MGMT LLC
HENDERSONVILLE, TN 37075                BALTIMORE, MD 21218                    2701 N CHARLES ST STE 404
                                                                               BALTIMORE, MD 21218




MCBH CW LLC                             MCBH CW LLC                            MCBH CW LLC
C/O ARGUS MANAGEMENT, LLC               C/O THE HAMPSHIRE COMPANIES            HUH RE INCOME REIT INC
2908 OAK LAKE BLVD., SUITE 203          22 MAPLE AVENUE                        PO BOX 62505
ATTN: CONNIE CLUDERAY                   ATTN: LEGAL DEPARTMENT                 BALTIMORE, MD 21264
CHARLOTTE, NC 28208                     MORRISTOWN, NJ 07960



MCBH CW LLC                             MCCAIN PLAZA LLC                       MCCAIN PLAZA, LLC
HUH REAL ESTATE INCOME REIT INC         C/O FMK MGMNT                          C/O FMK MGMNT
PO BOX 62505                            14039 SHERMAN WAY STE 206              14039 SHERMAN WAY STE 206
BALTIMORE, MD 21264                     LOS ANGELES, CA 91405                  LOS ANGELES, CA 91405




MCCANDLESS TWP SANITARY AUTH            MCCANDLESS TWP SANITARY AUTH           MCCANN RANCH & LIVESTOCK CO.
418 ARCADIA DR                          P.O. BOX 640803                        ATTN: WILLIAM VERN MCCANN, JR,
PITTSBURGH, PA 15237                    PITTSBURGH, PA 15264-0803              PRESIDENT
                                                                               P.O. BOX 445
                                                                               LEWISTON, ID 83501



MCCARTHY BURGESS & WOLFF                MCCARTHY LEONARD & KAEMMERER LC        MCCLATCHY NEWSPAPERS INC
THE MB&W BLDG                           400 S WOODS MILL RD SUITE 250          2100 Q ST
26000 CAMON RD                          CHESTERFIELD, MO 63017                 SACRAMENTO, CA 95816
CLEVELAND, OH 44146




MCCOLLOM REALTY, LTD.                   MCCOMAS ASSOCIATES, LLC                MCCOMAS ASSOCIATES, LLC
ATTN: W.R. MCCOLLOM, JR.                ATTN: MICHAEL MCCOMAS                  ATTN: MICHAEL MCCOMAS
P.O. BOX 57                             6432 BALTIMORE NATIONAL PIKE           6432 BALTIMORE NATIONAL PIKE
PANA, IL 62557                          BALTIMORE, MD 21228                    CATONSVILLE, MD 21228




MCCOY ROCKFORD INC                      MCCOY ROCKFORD INC                     MCCOY WORKPLACE SOLUTIONS
DBA MCCOY WORKPLACE SOLUTIONS           DBA MCCOY WORKPLACE SOLUTIONS          PO BOX 201534
6869 OLD KATY RD                        6869 OLD KATY RD                       HOUSTON, TX 77216-1534
HOUSTON, TX 77024                       HOUSTON, TX 77055
MCCOY-ROCKFORD INC      Case 18-12241-CSS   Doc
                                       MCCRARY   26 Filed
                                               HOLDINGS KNOX 10/05/18
                                                             ST LP          PageMCCULLOUGH
                                                                                 1099 of 1739
                                                                                           WATER SERVICES
MSC 900                                 305 L.D. LOCKETT                         P.O. BOX 909
PO BOX 4979                             COLLEYVILLE, TX 76034                    OCALA, FL 34478
HOUSTON, TX 77210




MCD FULTON PROPERTIES                   MCD FULTON PROPERTIES, LLC               MCDONOUGH (TOWNE CENTRE) LLC
C/O MID AMERICA ASSET MGMT INC          C/O MID-AMERICA ASSET MANAGEMENT,        C/O RIVERCREST REALTY ASSOCIATES LLC
ONE PARKVIEW PLAZA 9TH FLOOR            INC.                                     8816 SIX FORKS RD STE 201
OAKBROOK TERRACE, IL 60181              ONE PARKVIEW PLAZE, 9TH FLOOR            RALEIGH, NC 27615
                                        OAKBROOK TERRACE, IL 60181



MCDONOUGH (TOWNE CENTRE) SRX LLC        MCDONOUGH, MICHAEL                       MCDOWELL, RICE, SMITH & BUCHANAN, PC
C/O RIVERCREST REALTY ASSOCIATES LLC    100 HAMPTON RD LOT 266                   ATTN: JOE A. HARTER
8816 SIX FORKS RD STE 201               CLEARWATER, FLORIDA 33759-3934           605 WEST 47TH STREET, SUITE 350
RALEIGH, NC 27615                                                                KANSAS CITY, MO 64112




MCFARLAND ELECTRIC INC                  MCGAREY GROUP                            MCGLADREY LLP
PO BOX 236                              SHALESE EDMOND                           13355 NOEL RD 8TH FLOOR LB4
GARDINER, ME 04345                      P.O. BOX 93778                           DALLAS, TX 75240-6651
                                        LAS VEGAS, NV 89193




MCGLADREY LLP                           MCGLAUN ENTERPRISES INC                  MCGLINCHEY STAFFORD PLLC
5155 PAYSPHERE CIRCLE                   1790 HUGHES LANDING BLVD STE 400         ATTN: AMANDA BUTLER, ESQ.
CHICAGO, IL 60674                       THE WOODLANDS, TX 77380                  601 POYDRAS, 12TH FLOOR
                                                                                 NEW ORLEANS, LA 70130




MCGOWIN PARK LLC                        MCGRAND ASSOCIATES                       MCGUIRE PROPERTIES
736 CHERRY ST                           SIERRA REALTY & MGMNT                    400 MIDLAND CRT STE 101
CHATTANOOGA, TN 37402                   8410 GROSS POINT RD                      JANESVILLE, WI 53546
                                        SKOKIE, IL 60077




MCI EASTERN SECURITY SYSTEMS            MCKAIG & MCKAIG, P.A.                    MCKAY INVESTMENT REALTY
PO BOX 696                              ATTN: STUART MCKAIG                      1000 JORIE BOULEVARD, SUITE 34
RINGWOOD, NJ 07456                      219 GREENWICH ROAD                       OAK BROOK, IL 60523
                                        CHARLOTTE, NC 28211




MCKEE CLEAR SERVICE SOLUTIONS INC       MCKEE REALTY CO INC                      MCKEE REALTY COMPANY, INC.
DBA FISH WINDOW CLEANING                PO BOX 34753                             1200 E. MOREHEAD STREET, SUITE 120
P.O. BOX 174                            CHARLOTTE, NC 28234                      PO BOX 34753
MULVANE, KS 67110                                                                ATTN: JOHGN W. WENTZ, AS EVP
                                                                                 CHARLOTTE, NC 28234



MCKENNAMARIE GRAVILLE                   MCKENZIE BEACH                           MCKENZIE NICOLAS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




MCKENZIE RIVER BROADCASTING EUGENE      MCKINLEY DIXON                           MCKINLEY, INC.
925 COUNTRY CLUB RD STE 200             10201 S. MAIN STREET                     320 N. MAIN STREET
EUGENE, OR 97401                        HOUSTON, TX 77025                        ANN ARBOR, MI 48104
                     Case
MCKINNEY CORAL REEF LLC      18-12241-CSS    Doc
                                       MCKIRDY    26OLSON
                                               RISKIN Filed  10/05/18 PC PageMCKNIGHT
                                                          & DELLAPELLE        1100 of PROPERTIES
                                                                                      1739
GREFORY COMMERCIAL INC                  136 SOUTH ST                          ATTN: AMITY WILLIAMS
P O BOX 7084                            MORRISTOWN, NJ 07960                  P.O. BOX 211149
DALLAS, TX 75209                                                              AUGUSTA, GA 30917




MCKNIGHT PROPERTIES                     MCLEAN ANDERSON                       MCLENNAN COUNTY FAIR INC
ATTN: JOHN D. ENGLER, JR.               10201 S. MAIN STREET                  HOME OF THE HEART OTEXAS FAIR&RODEO
P.O. BOX 211149                         HOUSTON, TX 77025                     4601 BOSQUE BLVD
AUGUSTA, GA 30917                                                             WACO, TX 76710




MCLENNAN COUNTY TAX OFFICE              MCLEOD PARTNERS LLC                   MCLEOD, JIM
TAX ASSESSOR COLLECTOR                                                        403 ASHFORD PKWY
PO BOX 406                                                                    ATLANTA, GA 30338-5531
WACO, TX 76703-0406




MCLIFF VENDING & OFFICE COFFEE          MCNAIR CONST MANAGEMENT LLC           MCNELL FRANCOIS
ATTN: PROPERTIES DIVISION               2640 OLD HICKORY DR                   10201 S. MAIN STREET
HOUSTON, TX 77040                       MARIETTA, GA 30064                    HOUSTON, TX 77025




MCNULTY, KEVIN                          MCOA                                  MCP VOA II LLC
8416 SHALLOW CREEK DR                   3348 RIDGE RD                         10 PARK AVE
FORT WORTH, TX 76179-4367               LANSING, IL 60438                     MORRISTOWN, NJ 07960




MCP VOA II LLC                          MCP VOA II LLC                        MCP WEST BROAD MARKETPLACE LLC
28120 NETWORK PLACE                     28120 NETWORK PLACE                   C/O ROSENTHAL PROPERTIES LLC
CHICAGO, IL 60673                       CHICAGO, IL 60673-1281                1945 OLD GALLOWS RD STE 300
                                                                              ATTN: PROPERTY MANAGEMENT
                                                                              VIENNA, VA 22182



MCP WEST BROAD MARKETPLACE LLC          MCPHERSON INVESTMENT COMPANY L.L.C.   MCPHERSON INVESTMENT COMPANY, LLC
C/O ROSENTHAL PROPERTIES, LLC           421-B MCARTHUR DR                     421 B MCARTHUR DRIVE
1945 OLD GALLOWS ROAD, SUITE 300        ELIZABETH CITY, NC 27909              ELIZABETH CITY, NC 27909
ATTN: PROPERTY MANAGEMENT
VIENNA, VA 22182



MCRJERS II, LLC                         MCRJERS, LLC                          MCRJERS, LLC
PO BOX 4119                             3868 JEFFERSON BOULEVARD              ATTN: ROGER E. MAGOWITZ
ARLINGTON, VA 22204                     VIRGINIA BEACH, VA 23455              7105 EAST PARADISE DRIVE
                                                                              SCOTTSDALE, AZ 85254




MCRJERS, LLC                            MCS HAULING SERVICES                  MCUCS (MANTEE COUNTY)
ATTN: ROGER E. MAGOWITZ                 442 ALEO PLACE                        P.O. BOX 25350
7105 EAST PARADISE DRIVE                KAHULUI, HI 96732                     BRADENTON, FL 34206-5350
VIRGINIA BEACH, VA 23455




MCUD-MANATEE COUNTY UTILITIES           MCUD-MANATEE COUNTY UTILITIES         MCVICKERS YORKVILLE LLC
DEPARTMENT                              DEPARTMENT                            ATTN: MAE ESPINOSA
4410 66TH STREET WEST                   P.O. BOX 25350                        2150 E LAKE COOD RD STE 320
BRADENTON, FL 34210                     BRADENTON, FL 34206-5350              BUFFALO GROVE, IL 60089
MCVIKERS WILLIAMS LLC Case     18-12241-CSS    Doc
                                         MCVIKING      26 Filed
                                                  II (PETALUMA) LLC10/05/18    PageMCVIKING
                                                                                    1101 ofII 1739
                                                                                              (PETALUMA) LLC
ATTN: MAE ESPINOSA                         419 WAVERLY ST                           C/O JONES LANG LASALLE
2150 E LAKE COOD RD STE 320                PALO ALTO, CA 94301                      655 REDWOOD HWY STE 177
BUFFALO GROVE, IL 60089                                                             MILL VALLEY, CA 94941




MCVIKING II (PETALUMA). LLC                MCVIKING II (PETALUMA). LLC              MD HUTCH OWNER LLC
C/O MCNELLIS PARTNERS, LLC                 C/O MCNELLIS PARTNERS, LLC               1250 WATERS PLACE PH-1
419 WAVERLEY STREET                        419 WAVERLEY STREET                      BRONX, NY 10461
ATTN: BETH WALTER                          ATTN: JOHN MCNELLIS
PALO ALTO, CA 94301                        PALO ALTO, CA 94301



MD HUTCH OWNER LLC                         MD MANAGEMENT, INC.                      MD NOW MEDICAL CENTERS
C/O HUTCH MANAGEMENT                       5201 JOHNSON DRIVE 100                   2007 PALM BEACH LAKES BLVD
1250 WATERS PLACE, PH1                     MISSION, KS 66205                        WEST PALM BEACH, FL 33409
BRONX, NY 10461




MD TRANSPORTATION LLC                      MDC RIDGEVIEW PLAZA GP INC               MDC SHOPPES II LLC.
PO BOX 3072                                2999 N 44TH ST SUITE 425                 C/O MENIN DEVELOPMENT INC
ALBANY, GA 31706-3072                      PHOENIX, AZ 85018                        101 SE 4TH AVE
                                                                                    DELRAY BEACH, FL 33483




MDC                                        MDC                                      MDL GROUP
745 5TH AVENUE                             P.O. BOX 990092                          3065 S. JONES BOULEVARD, SUITE 200
19TH FL                                    HARTFORD, CT 06199-0092                  LAS VEGAS, NV 89146
NEW YORK, NY 10151




MDR FRANKLIN SQUARE LLC                    MDR FRANKLIN SQUARE LLC                  MDR FRANKLIN SQUARE LLC
11 S. 12TH STREET, SUITE 401               160 MINE LAKE CT                         C/O SHOCKOE COMMERCIAL PROPERTIES
RICHMOND, VA 23219                         STE 200                                  1315 E CARY ST
                                           RALEIGH, NC 27615                        RICHMOND, VA 23219




MDR FRANKLIN SQUARE, LLC                   MDR FRANKLIN SQUARE, LLC                 MDX INVESTMENTS II ILC
11 S. 12TH STREET, SUITE 401               C/O SHOCKOE COMMERCIAL PROPERTIES        621 JONESTOWN RD STE 201
RICHMOND, VA 23219                         1315 E CARY ST                           WINSTON SALEM, NC 27103
                                           RICHMOND, VA 23219




MDX INVESTMENTS II ILC                     ME TODAY MEDIA INC DBA KENNEBEC          ME TODAY MEDIA INC DBA KENNEBEC
PO BOX 4147                                JOURNAL & MORNING SENTINEL               JOURNAL & MORNING SENTINEL
MOORESVILLE, NC 28117                      36 ANTHONY AVE                           ONE CITY CENTER
                                           AUGUSTA, ME 04330                        PORTLAND, ME 04101




MEA STRATEGIC SOLUTIONS LLC                MEA STRATEGIC SOLUTIONS LLC              MEADOWS MARKETPLACE INC
2005 S MASON RD 1213                       5847 SAN FELIPE ST STE 1700              RE3016 PO BOX 6149
KATY, TX 77450                             PMB 1794                                 HICKSVILLE, NY 11802-6149
                                           HOUSTON, TX 77057




MEADOWS MARKETPLACE INC                    MEADOWS MARKETPLACE SHOPPING             MEADOWS MARKETPLACE SHOPPING
RE3016 POBOX 6149                          CENTER                                   CENTER
HICKSVILLE, NY 11802-6149                  8467 S YOSEMITE ST                       C/O FIDELIS REALTY PARTNERS, LTD.
                                           LONE TREE, CO 80124                      19 BRIAR HOLLOW LN STE 100
                                                                                    HOUSTON, TX 77027
MEADOWS MARKETPLACECase      18-12241-CSS
                        SHOPPING       MEADOWSDoc   26 FiledSHOPPING
                                                  MARKETPLACE  10/05/18    PageMEADOWS
                                                                                1102 of MARKETPLACE
                                                                                        1739        SHOPPING
CENTER                                 CENTER, LP                               CENTER, LP
PROPERTY:030110                        C/O FIDELIS REALTY PARTNERS, LTD.        PROPERTY:030110
PO BOX 310300                          19 BRIAR HOLLOW LANE, SUITE 100          PO BOX 310300
DES MOINES, IA 50331-0300              ATTN: PROPERTY MANAGER                   DES MOINES, IA 50331-0300
                                       HOUSTON, TX 77027


MEADOWS MARKETPLACE, LLC                MEADOWS MARKETPLACE, LLC                MEAGAN CROWN ESCHE
C/O CB RICHARD ELLIS                    C/O INVESCO ADVISERS, INC.              10201 S. MAIN STREET
8390 E. CRESCENT PARKWAY, SUITE 300     2001 ROSS AVENUE, SUITE 3400            HOUSTON, TX 77025
GREENWOOD VILLAGE, CO 80111             ATTN: ASSET MANAGER - MEADOWS
                                        DALLAS, TX 75201



MEAGAN GROWE                            MEAGAN LEE                              MEAGAN MURPHY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MEAGAN MURPHY                           MEAGAN PARMER                           MEAGAN SAUNDERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MEAGEN GREEN                            MEAGHAN ARMSTRONG                       MEASURED SEM LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                    19 CHATHAM RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                       BILLERICA, MA 01821




MEASURED SEM LLC                        MEBFI - REYNOLDS PLAZA, LLC             MECA REAL ESTATE SERVICES
27 CHEROKEE RD                          C/O COLLIERS INTERNATIONAL              DBA MECA PROPERTIES
ARLINGTON, MA 02474                     P.O. BOX 3546                           1815 SOUTH TRYON ST STE D
                                        ATTN: TED DICKEY                        CHARLOTTE, NC 28203
                                        LITTLE ROCK, AR 72203



MECALE BLACKBURN                        MECHANICAL & PUMP SERVICES INC          MECHANICAL TECHNICAL SERVICES
10201 S. MAIN STREET                    121 COMMERCE WAY                        9601 DESSAU RD STE 303
HOUSTON, TX 77025                       PO BOX 716                              AUSTIN, TX 78754-3963
                                        SOUTH WINDSOR, CT 06074-0716




MECKLENBURG CO. TAX COLLECTOR           MECKLENBURG COUNTY TAX COLLECTOR        MECKLENBURG COUNTY
P.O. BOX 71063                          ATTN: PROPERTY TAX DEPT.                CHILD SUPPORT ENFORCEMENT
CHARLOTTE, NC 28272-1063                PO BOX 31457                            5800 EXECUTIVE CTR DR STE 200
                                        CHARLOTTE, NC 28231-1457                CHARLOTTE, NC 28212




MED 7 URGENT CARE CENTERS               MED EX PROPERTIES LLC                   MED EX PROPERTIES LLC
PO BOX 619115                           ATTN: TIM SCOTT                         ATTN: TIM SCOTT
ROSEVILLE, CA 95661                     6020 CHESTNUT COURT                     6020 CHESTNUT COURT
                                        ATTN: TIM SCOTT                         EDMOND, OK 73025
                                        EDMOND, OK 73025



MEDALIST FUND I-A LLC                   MEDALIST FUND I-A LLC                   MEDALLION CENTER PARTNERS LP
100 SHOCKOE SLIP 2ND FL                 PO BOX 603363                           C/O VENTURE COMMERCIAL MGMNT LLC
RICHMOND, VA 23219                      CHARLOTTE, NC 28260-3363                8383 PRESTON CENTER PLAZA DR STE 330
                                                                                DALLAS, TX 75225
                      CaseLP
MEDALLION CENTER PARTNERS,  18-12241-CSS    Doc 26
                                      MEDEXPRESS  URGENTFiled 10/05/18
                                                           CARE INC      PageMEDEXPRESS
                                                                              1103 of 1739
                                                                                        URGENT CARE OF BOYNTON
C/O VENTURE COMMERCIAL MANAGEMENT,    PO BOX 7959                             BEACH LLC
LLC                                   BELFAST, ME 04915-7900                  PO BOX 7963
8383 PRESTON CENTER PLAZA DR STE 330                                          BELFAST, ME 04915
DALLAS, TX 75225



MEDEXPRESS URGENT CARE PC INDIANA      MEDFORD                                MEDIA NATION OUTDOOR LLC
PO BOX 11948                           ATTN: PROPERTY TAX DEPT.               15271 BARRANCA PKWY
BELFAST, ME 04915-4010                 411 W 8TH ST 380                       IRVINE, CA 92618
                                       MEDFORD, OR 97501




MEDIA ONE PA                           MEDIA PLATFORM INC                     MEDIA-COM INC
PO BOX 677882                          5200 LANKERSHIM BLVD STE 420           PO BOX 2170
DALLAS, TX 75267-7882                  NORTH HOLLYWOOD, CA 91601              AKRON, OH 44309




MEDIANEWS GROUP INC                    MEDIANT COMMUNICATIONS LLC             MEDIANT COMMUNICATIONS LLC
DBA DIGITAL FIRST MEDIA                17 STATE ST 7TH FLOOR                  PO BOX 29976
PO BOX 65220                           NEW YORK, NY 10004                     NEW YORK, NY 10087-9976
COLORADO SPRINGS, CO 80962-5220




MEDIAPLANET PUBLISHING HOUSE INC       MEDIAWORKS                             MEDICAL PARK STATION LLC
350 7TH AVE 18TH FL                    14839 COLLECTIONS CENTER DR            3755 CORPORATE WOODS DR
NEW YORK, NY 10000-1                   CHICAGO, IL 60693-0148                 BIRMINGHAM, AL 35242




MEDICAL PARK STATION LLC               MEDINA CO SANITARY ENGINEERS           MEDINA CO SANITARY ENGINEERS
SKYE REALTY MGMT LLC                   791 W SMITH RD                         P.O. BOX 542
1927 FIRST AVE N 5TH FL                MEDINA, OH 44256                       MEDINA, OH 44258
BIRMINGHAM, AL 35203




MEDINA CONTY SANITARY ENGINEERS        MEDINA, STEFANIE                       MEDQUEST EVALUATORS LLC
P.O. BOX 542                           3101 MARY BOAZ ST                      PO BOX 234
MEDINA, OH 44258                       RICHLAND HILLS, TX 76118-6268          LEWIS CENTER, OH 43035




MEDSPRING SUGAR LAND UC                MEES MOVING & STORAGE INC              MEG BUCK
PO BOX 160247                          2561 GREENNAN CT.                      10201 S. MAIN STREET
AUSTIN, TX 78716                       RANCHO CORDOVA, CA 95742               HOUSTON, TX 77025




MEG SCHERRER                           MEGAN A LONGFELLOW                     MEGAN ANDERSON
10201 S. MAIN STREET                   2800 S MOCK AVE                        10201 S. MAIN STREET
HOUSTON, TX 77025                      MUNCIE, IN 47302                       HOUSTON, TX 77025




MEGAN ANDERSON                         MEGAN ATKINSON                         MEGAN AVILES
10201 S. MAIN STREET                   701 W MITCHELL CIR APT 3250            10201 S. MAIN STREET
HOUSTON, TX 77025                      ARLINGTON, TX 76013                    HOUSTON, TX 77025
MEGAN AVILES            Case 18-12241-CSS
                                       MEGAN Doc 26
                                             BENNETT      Filed 10/05/18   PageMEGAN
                                                                                1104 BERRY
                                                                                     of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10462 N 50 W
HOUSTON, TX 77025                       HOUSTON, TX 77025                      FORTVILLE, IN 46040




MEGAN BILLUE                            MEGAN CASELBERRY                       MEGAN CURTIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MEGAN DEKIC                             MEGAN DOSSEY                           MEGAN E BUTTERLY
3272 OBSIDIAN DR                        10201 S. MAIN STREET                   109 POINDEXTER DR UNIT 5207
BROWNSVILLE, TX 78526                   HOUSTON, TX 77025                      CHARLOTTE, NC 28203




MEGAN GASCON                            MEGAN GENTILE                          MEGAN GREEN
87 CHURCH ST                            10201 S. MAIN STREET                   10201 S. MAIN STREET
ALEXANDRIA BAY, NY 13607                HOUSTON, TX 77025                      HOUSTON, TX 77025




MEGAN GREGG                             MEGAN KNIGHT                           MEGAN LESTER
9014 11TH AVE SE                        10201 S. MAIN STREET                   10201 S. MAIN STREET
SEATTLE, WA 98106                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MEGAN LITTLE                            MEGAN MACARTHUR                        MEGAN MANN
1068 HILLWOOD DR                        15551 OAK SPRINGS RD                   10201 S. MAIN STREET
LEWISVILLE, TX 75067                    CHINO HILLS, CA 91709                  HOUSTON, TX 77025




MEGAN MCNAMEE                           MEGAN POPE                             MEGAN RAMIREZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MEGAN SCHULTE                           MEGAN SIEGEL                           MEGAN SUCHAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MEGAN WARREN                            MEGAN WILSON                           MEGAN WILSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MEGAPATH DBA GTT COMMUNICATIONS INC     MEGAR GROUP OF POINCIANA LLC           MEGAR GROUP OF POINCIANA LLC
DEPT 111023                             P.O. BOX 323127                        P.O. BOX 323127
P.O. BOX 150421                         PALM COAST, FL 32135                   PALM COAST, FL 32135-3127
HARTFORD, CT 06115-0421
                     Case
MEGAR GROUP OF POINCIANA LLC18-12241-CSS     DocPRODUCTIONS
                                      MEGASTAR    26 Filed INC
                                                            10/05/18    PageMEGHAN
                                                                             1105 of 1739
                                                                                   EDWARDS
PO BOX 353127                         220 BRADLEY STREET                    10201 S. MAIN STREET
PALM COAST, FL 32135                  SEEKONK, MA 02771                     HOUSTON, TX 77025




MEGHAN GAUDET                        MEGHAN JILG                            MEGHAN RENKEN
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




MEGHAN RODRIGUEZ                     MEGHAN SELLEY                          MEGHANN FLYNN
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




MEHDI ALAMI                          MEHKI BARTON                           MEHLICH ASSOCIATES
10201 S. MAIN STREET                 10201 S. MAIN STREET                   ATTN: ROBERT MEHLICH, JR.
HOUSTON, TX 77025                    HOUSTON, TX 77025                      8 DEPOT SQUARE
                                                                            TUCKAHOE, NY 10707




MEHRAN PROPERTY MANAGEMENT LTD       MEHRAN PROPERTY MANAGEMENT LTD         MEHRNOUSH NADERI
33 E CARVER ST. STE 5                33 E CARVER ST                         10201 S. MAIN STREET
HUNTINGTON, NY 11743                 HUNTINGTON, NY 11743                   HOUSTON, TX 77025




MEIGHAN GADSDEN PROPERTIES LLC       MEIGHAN GADSDEN PROPERTIES LLC         MEISEL CAPITAL PARTNERS 1514 LLC
2094 MYRTLEWOOD DR                   HT GROUP LLC                           4 PARK CENTER COURT STE 202
MONTGOMERY, AL 36111                 3713 PEACHTREE RD NE                   OWINGS MILLS, MD 21117
                                     ATLANTA, GA 30319




MEISSNER JACQUET COMMERCIAL RE       MEISSNER JACQUET COMMERCIAL RE         MEL GRIMM
SERVICES                             SERVICES                               10201 S. MAIN STREET
4995 MURPHY CANYON ROAD, SUITE 100   ATTN: TERRI MORRIS                     HOUSTON, TX 77025
ATTN: SARAH HARRIS                   1801 OLYMPIC BOULEVARD
SAN DIEGO, CA 92123-4365             PASADENA, CA 91199-1581



MEL JOHNSON                          MEL STANLEY LLC DBA MELS HOT TUB       MELANCE FARLEY
10201 S. MAIN STREET                 SERVICES                               6100 OHIO DR 825
HOUSTON, TX 77025                    3272 S DAYFIELD AVE                    PLANO, TX 75024
                                     MILWAUKEE, WI 53207




MELANIE ALEXANDER                    MELANIE BANKS                          MELANIE BRUNNER
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




MELANIE COYNE                        MELANIE CUNNINGHAM                     MELANIE D WILLIAMS
10201 S. MAIN STREET                 10201 S. MAIN STREET                   DBA MD TRANSPORTATION
HOUSTON, TX 77025                    HOUSTON, TX 77025                      1712 MYRTLE RD
                                                                            ALBANY, GA 31707
MELANIE GONZALEZ         Case 18-12241-CSS    Doc
                                        MELANIE     26
                                                HIVELY     Filed 10/05/18   PageMELANIE
                                                                                 1106 of  1739
                                                                                        LAMBERT
4638 SPICE ST                            10201 S. MAIN STREET                    20881 BUCHANAN ST NE
LANCASTER, CA 93536                      HOUSTON, TX 77025                       EAST BETHEL, MN 55011




MELANIE MILAM                            MELANIE PITTENGER                       MELANIE RANDALL
2601 E PARK BLVD                         10201 S. MAIN STREET                    10201 S. MAIN STREET
PLANO, TX 75074                          HOUSTON, TX 77025                       HOUSTON, TX 77025




MELANIE STEVENSON                        MELANIE ULRICH                          MELBA FRIEND
10201 S. MAIN STREET                     4050 4TH ST N                           501 NW 137TH
HOUSTON, TX 77025                        SAINT PETERSBURG, FL 33703              EDMOND, OK 73013




MELBA IRVIN                              MELCHOR YANGA JR                        MELESSA MILLER
15037 BEAU JON AVE                       9367 HAWK EYE LN                        10201 S. MAIN STREET
PRAIRIEVILLE, LA 70769                   PACOIMA, CA 91331                       HOUSTON, TX 77025




MELINA CHAMPION                          MELINA MORENO                           MELINDA MONK
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




MELINDA TELFER                           MELISA BOYD                             MELISSA ADLER
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




MELISSA ASSELIN                          MELISSA BALLARD                         MELISSA BALLARD
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




MELISSA BARNETT                          MELISSA BARNETT                         MELISSA BESSE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




MELISSA BONILLA                          MELISSA BUDD                            MELISSA BURDICK
10201 S. MAIN STREET                     10201 S. MAIN STREET                    6740 MILL RD
HOUSTON, TX 77025                        HOUSTON, TX 77025                       BRECKSVILLE, OH 44141




MELISSA BUTLER                           MELISSA D. BALLARD                      MELISSA DANIELS
10201 S. MAIN STREET                     DISTRICT MANAGER-TAMPA                  10201 S. MAIN STREET
HOUSTON, TX 77025                        5317 BAYWATER DR.                       HOUSTON, TX 77025
                                         TAMPA, FL 33615
                      Case 18-12241-CSS
MELISSA DATA CORPORATION              MELISSADoc  26CRUZFiled
                                              DE LA             10/05/18   PageMELISSA
                                                                                1107 of  1739
                                                                                       DONLEY
22382 AVENIDA EMPRESA                 8934 BEN HUR AVE                         10201 S. MAIN STREET
RANCHO SANTA MARGARITA, CA 92688-5211 WHITTIER, CA 90605                       HOUSTON, TX 77025




MELISSA DUDDING                        MELISSA EDSON                           MELISSA ENTREKIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MELISSA FINCHER                        MELISSA GLADNEY                         MELISSA HERNANDEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    8355 WILLIS AVE APT 31
HOUSTON, TX 77025                      HOUSTON, TX 77025                       PANORAMA CITY, CA 91402




MELISSA HOWERTON                       MELISSA JORDAN                          MELISSA MAMMARELLI
PO BOX 63                              PO BOX 582                              10201 S. MAIN STREET
KELLER, TX 76244                       PEARLAND, TX 77588                      HOUSTON, TX 77025




MELISSA MASIEWICZ                      MELISSA MAYER                           MELISSA MAYO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MELISSA MCCORMICK                      MELISSA MCELRATH                        MELISSA MILLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    161 ALEXIS DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                       OPELOUSAS, LA 70570




MELISSA MONDELLO                       MELISSA MOPPIN                          MELISSA MOPPIN
10201 S. MAIN STREET                   387 BILL LOHR RD                        477 OWENS ROAD
HOUSTON, TX 77025                      LEXINGTON, NC 27292                     LEXINGTON, NC 27292




MELISSA NEDROW                         MELISSA OCONNELL                        MELISSA P POWELL BURKS
403 CAPITAL ST                         5820 NW WALNUT CT                       9001 DORCHESTER LN
LEWISTON, ID 83501                     PARKVILLE, MO 64152                     WILLOW SPRING, NC 27592




MELISSA PARTRIDGE                      MELISSA PATRICK                         MELISSA PAUL
8133 N LARCH PLACE                     10201 S. MAIN STREET                    10201 S. MAIN STREET
NEWBURGH, IN 47630                     HOUSTON, TX 77025                       HOUSTON, TX 77025




MELISSA PEPIN                          MELISSA PLOURDE                         MELISSA POULSEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    308 SCENIC PARK DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                       CREVE COEUR, IL 61610
MELISSA RIVERS         Case 18-12241-CSS    Doc
                                      MELISSA    26 Filed 10/05/18
                                              ROMERO                 PageMELISSA
                                                                          1108 of  1739
                                                                                 RYAN
10201 S. MAIN STREET                   17142 RED FEATHER DR              9230 RANDAL PARK BLVD 6129
HOUSTON, TX 77025                      CHARLOTTE, NC 28277               ORLANDO, FL 32832




MELISSA SHERK                          MELISSA SOTO                      MELISSA STEVENSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MELISSA STONE                          MELISSA TRANSUE                   MELISSA TURNER
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MELISSA VALENCIA                       MELISSA WARINNER                  MELISSA WHITE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MELISSA WILLIAMS                       MELISSA WOOD                      MELISSA ZIRPOLI
1083 BLUESTEM TRL                      1018 59TH ST                      10201 S. MAIN STREET
PERRIS, CA 92571                       KENOSHA, WI 53140                 HOUSTON, TX 77025




MELLISA LABROSSE                       MELLISA RIOS                      MELLISSA MITCHELL
10201 S. MAIN STREET                   52-390 TRIPOLI WAY                10201 S. MAIN STREET
HOUSTON, TX 77025                      COACHELLA, CA 92236               HOUSTON, TX 77025




MELLO MASSEY                           MELODIE LEYVA-PULIDO              MELODY DECKER
10201 S. MAIN STREET                   96430 STARFISH DR                 10201 S. MAIN STREET
HOUSTON, TX 77025                      YULEE, FL 32097                   HOUSTON, TX 77025




MELODY GRIFFITH                        MELODY HADDEN                     MELODY HILL
10201 S. MAIN STREET                   5007 DAYMON CT                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HUTTO, TX 78634                   HOUSTON, TX 77025




MELODY KELLY                           MELODY L DECKER                   MELODY-ANN FETIK
10201 S. MAIN STREET                   1012 EKONK HILL RD                10201 S. MAIN STREET
HOUSTON, TX 77025                      VOLUNTOWN, CT 06384               HOUSTON, TX 77025




MELONIE DE JESUS                       MELONIE DEJESUS                   MELROSE INVESTMENT CO LLC
8323 LAKE DR                           10201 S. MAIN STREET              2 MISSIONARY DR
APT 301                                HOUSTON, TX 77025                 BRENTWOOD, TN 37027
DORAL, FL 33166
                    Case 18-12241-CSS
MELROSE INVESTMENT COMPANY, LLC    MELTONDoc   26 INC
                                           ELECTRIC Filed        10/05/18   PageMELTWATER
                                                                                 1109 of 1739
                                                                                          NEWS US INC
2 MISSIONARY DRIVE                 PO BOX 920699                                 DEPT 3408
BRENTWOOD, TN 37027                HOUSTON, TX 77292-0699                        PO BOX 123408
                                                                                 DALLAS, TX 75312-3408




MELVIN D HARRIS                      MELVIN GRIJALVA                             MELVIN HUBBARD
8601 LEY ROAD                        10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77028                    HOUSTON, TX 77025                           HOUSTON, TX 77025




MELVIN THACKER                       MELVIN WILDER                               MELVYN THOMAS
10201 S. MAIN STREET                 10406 WOLBROOK ST                           10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77016                           HOUSTON, TX 77025




MEMHAVEN LLC                         MEMORIAL 14754 LTD                          MEMORIAL 14754 LTD.
C/O ROBBINS PROPERTIES I, LLC        ATTN: BJ ACQUARD                            ATTN: BJ ACQUARD
3100 WEST END AVENUE, SUITE 1070     5400 KATY FWAY STE 100                      5400 KATY FWAY STE 100
NASHVILLE, TN 37203                  HOUSTON, TX 77007                           HOUSTON, TX 77007




MEMORIAL 14754 LTD.                  MEMORY AND SON HAULING                      MEMPHIS IN MAY INTERNATIONAL FESTIVAL
C/O ORR COMMERCIAL                   PO BOX 2253                                 56 S FRONT ST
5400 KATY FREEWAY, SUITE 100         WHITEVILLE, NC 28472                        MEMPHIS, TN 38103
ATTN: ROBERT C. ORR JR.
HOUSTON, TX 77007



MEMPHIS LIGHT GAS & WATER DIV        MEMPHIS LIGHT GAS & WATER DIV               MEMPHIS LIGHT GAS & WATER DIV
220 SOUTH MAIN ST                    P.O. BOX 388                                P.O. BOX 388
MEMPHIS, TN 38103                    MEMPHIS, TN 38145                           MEMPHIS, TN 38145-0388




MEMPHIS LIGHT GAS & WATER            MEMPHIS RECYCLING SERVICES                  MEMPHIS/SHELBY COUNTY METRO ALARM
220 SOUTH MAIN ST                    2401 S. LAFLIN ST.                          OFFICE
MEMPHIS, TN 38103                    CHICAGO, IL 60680                           125 N MAIN ST (1B20)
                                                                                 MEMPHIS, TN 38103




MEMPHIS/SHELBY COUNTY METRO ALARM    MENARD INC                                  MENARD INC
OFFICE                               5101 MENARD DR                              ATTN: PROPERTIES DIVISION
PO BOX 178                           EAU CLAIRE, WI 54703-9604                   5101 MENARD DR
MEMPHIS, TN 38101-0178                                                           EAU CLAIRE, WI 54703




MENARD INC.                          MENARD INC.                                 MENARD, INC.
5101 MENARD DR                       ATTN: PROPERTIES DIVISION                   5101 MENARD DRIVE
EAU CLAIRE, WI 54703-9604            5101 MENARD DR                              EAU CLAIRE, WI 54703
                                     EAU CLAIRE, WI 54703




MENARD, INC.                         MENELIK HOLT                                MENITE MILIEN
ATTN: PROPERTIES DIVISION            10201 S. MAIN STREET                        10201 S. MAIN STREET
5101 MENARD DR                       HOUSTON, TX 77025                           HOUSTON, TX 77025
EAU CLAIRE, WI 54703
MENO ENTERPRISES LLC Case       18-12241-CSS    Doc 26 Filed
                                          MENO ENTERPRISES LLC 10/05/18            PageMENTUHOTEP
                                                                                        1110 of 1739
                                                                                                  DANIEL
135 WES WALKER MEMORIAL DR                 PO BOX 907                                   10201 S. MAIN STREET
BALL GROUND, GA 30107                      KENNESAW, GA 30156                           HOUSTON, TX 77025




MEPT EDGEMOOR REIT LLC                     MEPT KEDRON VILLAGE II LLC                   MEPT KEDRON VILLAGE II LLC
MEPT KEDRON VILLAGE II LLC                 C/O NEWTOWER TRUST COMPANY                   C/O NEWTOWER TRUST COMPANY
7315 WISCONSIN AVE STE 350 W               7315 WISCONSIN AVE, STE 350W                 7315 WISCONSIN AVENUE, SUITE 350W
BETHESDA, MD 20814                         BETHESDA, MD 20814                           BETHESDA, MD 20814




MEPT KEDRON VILLAGE II LLC                 MEPT PENN MAR LLC                            MEPT PENN MAR LLC
PO BOX 936287                              C/O BENTALL KENNEDY (U.S.) LP                C/O BENTALL KENNEDY (U.S.) LP
ATLANTA, GA 31193-6287                     1201 THIRD AVENUE, SUITE 3000                7315 WISCONSIN AVENUE, SUITE 200 WEST
                                           ATTN: DIRECTOR OF ASSET MANAGEMENT           ATTN: DIRECTOR OF ASSET MANAGEMENT
                                           SEATTLE, WA 98101                            BETHESDA, MD 20814



MEPT PENN MAR LLC                          MEPT PENN MAR LLC                            MEPT PENN MAR LLC
C/O MCNAUL EBEL NAWROT & HELGREN           C/O NEWTOWER TRUST COMPANY                   C/O ROSENTHAL PROPERTIES
PLLC                                       7315 WISCONSIN AVE, SUITE 350 WEST           1945 OLD GALLOWS ROAD, SUITE 300
600 UNIVERSITY STREET, SUITE 2700          ATTN: ROBERT B. EDWARDS                      VIENNA, VA 22182
ATTN: MARC O. WINTERS                      BETHESDA, MD 20814
SEATTLE, WA 98101


MEPT PENN MAR LLC                          MEPT STONEY CREEK LLC                        MEPT STONEY CREEK LLC
PO BOX 759223                              C/O NEWTOWER TRUST COMPANY                   C/O NEWTOWER TRUST COMPANY
BALTIMORE, MD 21275-9223                   7315 WISCONSIN AVENUE, SUITE 200 WEST        7315 WISCONSIN AVENUE, SUITE 350 WEST
                                           ATTN: ROBERT B. EDWARDS                      ATTN: ROBERT B. EDWARDS
                                           BETHESDA, MD 20814                           BETHESDA, MD 20814



MEPT STONY CREEK LLC                       MEPT STONY CREEK LLC                         MEPT STONY CREEK LLC
C/O BENTALL KENNEDY (U.S.) LIMITED         C/O BENTALL KENNEDY (U.S.) LIMITED           C/O HAMILTON PARTNERS INC
PARTNERSHIP                                PARTNERSHIP                                  300 PARK BLVD STE 201
1201 THIRS AVENUE, SUITE 300               7315 WISCONSIN AVENUE, SUITE 200 WEST        ITASCA, IL 60143
SEATTLE, WA 98101                          ATTN: DIRECTOR ASSET MGMT
                                           BETHESDA, MD 20814


MEPT WESTWOOD VILLAGE LLC                  MEPT WESTWOOD VILLAGE LLC                    MEPT WOODLAND PARK CROSSING LLC
C/O NEWTOWER TRUST COMPANY                 NW584318                                     PO BOX 79593
7315 WISCONSIN AVENUE, SUITE 350 WEST      PO BOX 1450                                  BALTIMORE, MD 21279-0593
ATTN: ROBERT B. EDWARDS                    MINNEAPOLIS, MN 55485-6231
BETHESDA, MD 20814



MEQUON                                     MERA CANNON                                  MERCANTILE TAX COLLECTOR
ATTN: PROPERTY TAX DEPT.                   10201 S. MAIN STREET                         704 PINE ST
11333 N CEDARBURG RD 60W                   HOUSTON, TX 77025                            ALIQUIPPA, PA 15001
MEQUON, WI 53092-1930




MERCED COUNTY FAIR                         MERCED COUNTY                                MERCED
900 MARTIN LUTHER KING JR WAY              TAX COLLECTOR                                ATTN: PROPERTY TAX DEPT.
MERCED, CA 95341                           2222 M STREET                                2222 M STREET
                                           MERCED, CA 95340                             MERCED, CA 95340




MERCEDES BIRDEN                            MERCEDES BOLT                                MERCEDES COLON
10201 S. MAIN STREET                       1404 CHAMBOLLE CT                            10201 S. MAIN STREET
HOUSTON, TX 77025                          LAS VEGAS, NV 89144                          HOUSTON, TX 77025
MERCEDES MONCLUZ        Case 18-12241-CSS   Doc
                                       MERCER (US) 26
                                                   INC. Filed 10/05/18          PageMERCHANT
                                                                                     1111 of 1739
                                                                                             EXCHANGE LLC
10201 S. MAIN STREET                     P.O. BOX 730182                             1355 TERRELL MILL RD BLDG 1478 STE 200
HOUSTON, TX 77025                        DALLAS, TX 75373-0182                       MARIETTA, GA 30067




MERCHANT EXCHANGE LLC                    MERCHANTS EXCHANGE LLC                      MERCHANTS INFORMATION SOLUTIONS
160 GOULD STREET                         C/O COLUMBIA RETAIL MANAGEMENT, INC.        PO BOX 848756
STE 205                                  1355 TERREKK MILL RD, BUILDING 1478,        LOS ANGELES, CA 90084-8756
NEEDHAM, MA 02494                        SUITE 200
                                         MARIETTA, GA 30067



MERCHANTS PARK ASSOCIATES LP             MERCHANTS PARK ASSOCIATES LP                MERCURY COMMUNICATION SEVICES INC
400 FRANKLIN ST                          400 FRANKLIN ST                             1263 RECORD CROSSING RD
BRAINTREE, MA 02185                      PO BOX 859059                               DALLAS, TX 75235
                                         BRAINTREE, MA 02185-9059




MERCURY COMMUNICATION SEVICES INC        MERCURY TECH PARTNERS, INC.                 MERCY CORPORATE HEALTH
3333 EARHART DR STE 250                  P.O. BOX 906                                PO BOX 504222
CARROLLTON, TX 75006                     CONOVER, NC 28613                           SAINT LOUIS, MO 63150-4222




MERCY NINSIIMA                           MEREDITH ENTERPRISES INC                    MEREDITH GROSS
10201 S. MAIN STREET                     11658 DENNY ROAD                            469 VARALE AVE
HOUSTON, TX 77025                        SAINT LOUIS, MO 63126                       SIMI VALLEY, CA 93065




MEREDITH KUYKENDALL                      MEREDITH MULL                               MEREDITH PARKER
10201 S. MAIN STREET                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                           HOUSTON, TX 77025




MERIDEN TAX COLLECTOR                    MERIDIAN CENTER CAL LLC                     MERIDIAN PLACE LLC
ATTN: PROPERTY TAX DEPT.                 1600 EAST FRANKLIN AVE.                     PO BOX 529
PO BOX 150431                            EL SEGUNDO, CA 90245                        EUGENE, OR 97440
HARTFORD, CT 06115-0431




MERIDIAN PLACE, LLC                      MERIDIAN PLACE, LLC                         MERIDIAN SUNRISE VILLAGE LLC
C/O MERIDIAN OWNERS, LLC                 KEN HARBICK                                 10507 156TH STREET E
PO BOX 529                               PO BOX 529                                  PUYALLUP, WA 98374
EUGENE, OR 97440                         EUGENE, OR 97440




MERIDIAN TRANSFER                        MERISSA WILKINS                             MERISSA WILKINS
P.O. BOX 677839                          10201 S. MAIN STREET                        10201 S. MAIN STREET
DALLAS, TX 75267-7839                    HOUSTON, TX 77025                           HOUSTON, TX 77025




MERIT PARTNERS, INC.                     MERKLE INC/ RKG                             MERLINE GONZALEZ
ATTN: LEGAL                              PO BOX 64897                                10201 S. MAIN STREET
6720 N. SCOTTSDALE ROAD, SUITE 210       BALTIMORE, MD 21264-4897                    HOUSTON, TX 77025
SCOTTSDALE, AZ 85253
                       CaseLLC
MERLONE GEIER MANAGEMENT,     18-12241-CSS
                                        MERLONEDoc  26 MANAGEMENT,
                                                  GEIER   Filed 10/05/18
                                                                     LLC          PageMERLYN
                                                                                       1112 of 1739DBA A&M JANITORIAL
                                                                                             TUMANG
425 CALIFORNIA STREET, TENTH FLOOR      425 CALIFORNIA STREET, TENTH FLOOR             SERVICE
SAN FRANCISCO, CA 94104                 SAN FRANCISCO, CA 94104-2113                   3417 44TH STREET
                                                                                       SACRAMENTO, CA 95817




MERRIFIELD PATRICK VERMILLION LLC        MERRIL GEORGE                                 MERRILL COMMUNICATIONS LLC
521 E MOREHEAD ST STE 400                10201 S. MAIN STREET                          CM-9638
CHARLOTTE, NC 28202                      HOUSTON, TX 77025                             ST. PAUL, MN 55170-9638




MERRILL COMMUNICATIONS LLC               MERRILLVILLE CONSERVANCY DIST                 MERRILLVILLE CONSERVANCY DIST
ONE MERRILL CIRCLE                       6251 BROADWAY                                 6251 BROADWAY
SAINT PAUL, MN 55108                     MERILLVILLE, IN 46410                         MERRILLVILLE, IN 46410-3004




MERRILLVILLE IN (7800 MISSISSIPPI) LLC   MERRILLVILLE IN (7800 MISSISSIPPI) LLC        MERRILLVILLE IN (7800 MISSISSIPPI) LLC
C/O INSITE REAL ESTATE LLC               C/O INSITE REAL ESTATE, LLC                   C/O INSITE REAL ESTATE, LLC
1400 16TH STREET STE 300                 1400 16TH STREET, SUITE 300                   1400 16TH STREET, SUITE 300
HINSDALE, IL 60523                       ATTN: GENERAL COUNSEL                         ATTN: PREMISES MANAGEMENT
                                         OAK BROOK, IL 60523                           HINSDALE, IL 60523



MERRILLVILLE IN (7800 MISSISSIPPI) LLC   MERRISA NELLE                                 MERRITT ASSOCIATES LLC
C/O INSITE REAL ESTATE, LLC              365 NELSON RD                                 199 WEST RD STE 101
1400 16TH STREET, SUITE 300              HALLSVILLE, TX 75650                          PLEASANT VALLEY, NY 12569
ATTN: PREMISES MANAGEMENT
OAK BROOK, IL 60523



MERRITT SQUARE MARKET PLACE ASSOC        MERVIN NEEDHAM                                MESA AZ
LTD                                      10201 S. MAIN STREET                          20 E. MAIN ST
CO COURTELIS CO                          HOUSTON, TX 77025                             MESA, AZ 85201
703 WATERFORD WAY STE 800
MIAMI, FL 33126



MESA AZ                                  MESA COUNTY CLERK                             MESA COUNTY TREASURER
P.O. BOX 1878                            200 S SPRUCE ST                               PO BOX 1909
MESA, AZ 85211-1878                      GRAND JUNCTION, CO 81501                      GRAND JUNCTION, CO 81502-1909




MESA MECHANICAL INC                      MESA SHORES 00 LLC                            MESA SHORES 00, LLC
3514 PINEMONT                            C/O ACF PROPERTY MANAGEMENT                   C/O AFC PROPERTY MANAGEMENT, INC.
HOUSTON, TX 77018                        12411 VENTURA BLVD                            12411 VENTURA BLVD
                                         STUDIO CITY, CA 91604                         STUDIO CITY, CA 91604




MESA SHORES 00, LLC                      MESFIN ABATE                                  MESQUITE EMPORIUM LP
C/O AFC PROPERTY MANAGEMENT, INC.        10201 S. MAIN STREET                          ATTN: BRAD QUINE
12411 VENTURA BOULEVARD                  HOUSTON, TX 77025                             301 S. SHERMAN STREET, SUITE 100
STUDIO CITY, CA 91604                                                                  RICHARDSON, TX 75081




MESQUITE EMPORIUM LP                     MESQUITE TAX FUND                             MESSAGEWARE INCORPORATED
C/O QUINE & ASSO INC                     TAX ASSESSOR - COLLECTOR                      6711 MISSISSAUGA RD
PO BOX 833009                            P.O. BOX 850267                               STE 308
RICHARDSON, TX 75083                     MESQUITE, TX 75185-0267                       MISSISSAUGA, ON L5N 2W3
                                                                                       CANADA
MESSERLI & KRAMER P.A. Case   18-12241-CSS   Doc
                                        MESSNER   26 LLP
                                                REEVES Filed 10/05/18         PageMET
                                                                                   1113
                                                                                      ED of 1739
3033 CAMPUS DR STE 250                   1430 WYNKOOP ST STE 300                  C/O FIRSTENERGY CORP
PLYMOUTH, MN 55441-2662                  DENVER, CO 80202                         331 NEWMAN SPRINGS RD BLDG 3
                                                                                  RED BANK, NJ 07701




MET ED                                   META RESEARCH INC                        META ROBERTI
P.O. BOX 3687                            2012 H STREET, STE 100                   10201 S. MAIN STREET
AKRON, OH 44309-3687                     SACRAMENTO, CA 95811-3100                HOUSTON, TX 77025




METALMASTER ROOFMASTER INC               METHUEN                                  METLIFE CORE PROPERTY REIT LLC
4800 METALMASTER WAY                     ATTN: PROPERTY TAX DEPT.                 10 PARK AVENUE
MC HENRY, IL 60050                       PO BOX 397                               MORRISTOWN, NJ 07962
                                         MEDFORD, MA 02155-0004




METLIFE CORE PROPERTY REIT LLC           METLIFE GROUP BENEFITS                   METLIFE INVESTORS USA INSURANCE
MCP WEST BROAD MARKETPLACE LLC           PO BOX 804466                            COMPANY
ONE METLIFE WAY                          KANSAS CITY, MO 64180                    PO BOX 371487
WHIPPANY, NJ 07981-1449                                                           PITTSBURGH, PA 15250




METRO COMMERCIAL MANAGEMENT              METRO COMMERCIAL                         METRO GUARD CORP DBA METRO GUARD
SERVICES, INC.                           CHRISTINE SCOTT, EVP                     TERMITE & PEST CONTROL
307 FELLOWSHIP ROAD, SUITE 230           307 FELLOWSHIP ROAD, SUITE 300           1100 W PIPELINE RD STE 201
MT. LAUREL, NJ 08054                     MT. LAUREL, NJ 08054                     HURST, TX 76053-4758




METRO HOME DELIVERY INC                  METRO HOSPITALITY PARTNERS LTD DBA       METRO MANAGEMENT SERVICES LLC
1451 SW 139 AVE                          CROWNE PLAZA                             JANET B. ROOT, VP
DAVIE, FL 33325                          8686 KIRBY DR                            8230 LEESBURG PIKE,SUITE 620
                                         HOUSTON, TX 77054                        VIENNA, VA 22182




METRO MECHANICAL INC                     METRO MUD                                METRO OVERHEAD DOOR
430 S BRYAN BELT LINE RD                 P.O. BOX 7580                            2525 NE COLUMBIA BLVD
MESQUITE, TX 75149                       SPRING, TX 77387-7580                    PORTLAND, OR 97211




METRO PROPERTY ADVISORS                  METRO TECH SERVICE CORP                  METRO TECHNOLOGY INC.
13046 RACE TRACK ROAD, 197               ATTN: CHIEF FINANCIAL OFFICER            P.O. BOX 4129
TAMPA, FL 33626                          1827 WALDEN OFFICE SQ STE 304            BATON ROUGE, LA 70821-4129
                                         SCHAUMBURG, IL 60173




METRO WATER DISTRICT                     METRO WATER DISTRICT                     METRO WATER SERVICES
6265 N. LA CANADA                        P.O. BOX 36870                           1600 2ND AVE NORTH
TUCSON, AZ 85704                         TUCSON, AZ 85740-6870                    NASHVILLE, TN 37208




METRO WATER SERVICES                     METROCHICAGOJOBS.COM                     METROKE, ROBERT
P.O. BOX 305225                          23811 NETWORK PLACE                      3504 SCARECROW CT
NASHVILLE, TN 37230-5225                 CHICAGO, IL 60673-1238                   FREEHOLD, NJ 77289-136
METROLOCKS LLC           Case 18-12241-CSS   DocINC
                                        METRO-NET 26     Filed 10/05/18     PageMETROPLEX
                                                                                 1114 of 1739
                                                                                          PLAZA LP
2186 S HOLLY S STE B                    4262 SPRING VALLEY RD                    C/O THE WEITZMAN GROUP
DENVER, CO 80222                        DALLAS, TX 75244                         3102 MAPLE AVENUE, SUITE 350
                                                                                 DALLAS, TX 75201




METROPLEX PLAZA LP                      METROPOLITAN GOVERNMENT                  METROPOLITAN NATIONAL BANK
C/O WEITZMAN                            ALARM REGISTRATION                       ATTN: FACILITIES MANAGEMENT
3102 MAPLE AVE STE 350                  PO BOX 196321                            425 W CAPITAL AVE
DALLAS, TX 75201                        NASHVILLE, TN 37219-6321                 LITTLE ROCK, AR 72203




METROPOLITAN NATIONAL BANK              METROPOLITAN ST LOUIS SWR DIST           METROPOLITAN ST LOUIS SWR DIST
PO BOX 8010                             2350 MARKET STREET                       P.O. BOX 437
LITTLE ROCK, AR 72203                   ST LOUIS, MO 63103-2555                  ST. LOUIS, MO 63166-0437




METROPOLITAN TRUSTEE                    METROPOLITAN UTILITIES DIST              METROPOLITAN UTILITIES DIST
PERSONALTY TAX DEPARTMENT               1723 HARNEY ST                           P.O. BOX 3600
P O BOX 305012                          OMAHA, NE 68102-1960                     OMAHA, NE 68103-0600
NASHVILLE, TN 37230-5012




METROPOLITAN UTILITIES DISTRICT         METROPOLITIAN ST. LOUIS SEWER DISTRICT   METZLER ENTERPRISES INC
P.O. BOX 3600                           P.O. BOX 437                             PAUL FAY SPECIAL ACCOUNT
OMAHA, NE 68103-0600                    ST. LOUIS, MO 63166-0437                 PO BOX 1247
                                                                                 HANFORD, CA 93232




METZLER ENTERPRISES, INC.               METZLER ENTERPRISES, INC.                MEVA INTL LLC
DENNIS METZLER                          PAUL FAY SPECIAL ACCOUNT                 15005 MARQUARDT AVE
PO BOX 1247                             PO BOX 1247                              SANTA FE SPRINGS, CA 90670
HANFORD, CA 93232-1247                  HANFORD, CA 93232




MEYER CAPEL                             MEYERLAND RETAIL ASSOCIATES, LLC         MEYERLAND RETAIL ASSOCIATES, LLC
ATTN: JEFFREY M. DAVIS, ESQ.            420 MEYERLAND PLAZA MALL                 C/O FIDELIS REALTY PARTNERS
306 WEST CHURCH STREET                  HOUSTON, TX 77096-1613                   DEPT C0501A
CHAMPAIGN, IL 61820                                                              PO BOX 1529
                                                                                 HOUSTON, TX 77251



MEYERLAND RETAIL ASSOCIATES, LLC        MEYERLAND RETAIL ASSOCIATES, LLC         MF 909 HANES MALL BLVD LLC
C/O FIDELIS REALTY PARTNERS             C/O FIDELIS REALTY PARTNERS, LTD.        ATTN: STEVEN RHODES
DEPT C0501APO BOX 1529                  4500 BISSONNET STREET, SUITE 300         2121 NW 2ND AVE 206
HOUSTON, TX 77251                       ATTN: PROPERTY MANAGER                   MIAMI, FL 33127
                                        BELLAIRE, TX 77401



MF AIKEN LLC                            MF ANDERSON LLC                          MF BLAINE LLC
ATTN: OWEN EWING                        ATTN: OWEN EWING                         ATTN: OWEN EWING
2165 LOUISA DR                          2165 LOUISA DR                           2165 LOUISA DR
BELLEAIR BEACH, FL 33786                BELLEAIR BEACH, FL 33786                 BELLEAIR BEACH, FL 33786




MF BLAINE MN LLC                        MF BLAINE MN, LLC                        MF BROOMFIELD LLC
C/O LAVELO PROPERTY MANAGEMENT          C/O LAVELO PROPERTY MANAGEMENT           ATTN: OWEN C EWING
275 COLERIDGE ST                        275 COLERIDGE ST                         2165 LOUISA DR
BROOKLYN, NY 11235                      BROOKLYN, NY 11235                       BELLEAIR BEACH, FL 33786
MF CARTERSVILLE LLC    Case   18-12241-CSS
                                        MF CHIPDoc
                                                MT P26
                                                    LLC Filed 10/05/18   PageMF
                                                                              1115  of LLC
                                                                                CITRUS 1739
2165 LOUISA DR                           ATTN: CINDY MIRT                    2165 LOUISA DR
BELLEAIR BEACH, FL 33786                 1332 MAIN ST STE 30                 BELLEAIR BEACH, FL 33786
                                         COLUMBIA, SC 29201




MF CONYERS II LLC                        MF CRYSTAL RIVER LLC                MF CRYSTAL RIVER, LLC
ATTN: OWEN C EWING                       ATTN: OWEN C EWING                  ATTN: OWEN C EWING
2165 LOUISA DR                           2165 LOUISA DR                      2165 LOUISA DR
BELLEAIR BEACH, FL 33786                 BELLEAIR BEACH, FL 33786            BELLEAIR BEACH, FL 33786




MF DESTIN LLC                            MF ERIE LLC                         MF ERIE, LLC
2165 LOUISA DR                           C/O OWEN C EWING                    C/O OWEN C EWING
BELLEAIR BEACH, FL 33786                 2165 LOUISA DR                      2165 LOUISA DR
                                         BELLEAIR BEACH, FL 33786            BELLEAIR BEACH, FL 33786




MF ERIE, LLC                             MF FLINT EAST LLC                   MF FLINT WEST LLC
C/O OWEN C EWING                         2165 LOUISA DR                      2165 LOUISA DR
2165 LOUISA DR.                          BELLEAIR BEACH, FL 33786            BELLEAIR BEACH, FL 33786
BELLEAIR BEACH, FL 33786




MF GOLDSBORO LLC                         MF GRAND RAPIDS LLC                 MF GREENVILLE LLC
2165 LOUISA DR                           2165 LOUISA DR                      1332 MAIN ST STE 30
BELLEAIR BEACH, FL 33786                 BELLEAIR BEACH, FL 33786            COLUMBIA, SC 29201




MF KEY LARGO, LLC                        MF LAKE WALES LLC                   MF MACON
ATTN: OWEN C. EWING                      ATTN: OWEN C EWING                  ATTN: OWEN C EWING
2165 LOUISA DR                           2165 LOUISA DR                      2165 LOUISA DR
BELLEAIR BEACH, FL 33786                 BELLEAIR BEACH, FL 33786            BELLEAIR BEACH, FL 33786




MF MADISON LLC                           MF MCDONOUGH LLC                    MF MENTOR LLC
2165 LOUISA DR                           ATTN: OWEN C EWING                  2165 LOUISA DR
BELLEAIR BEACH, FL 33786                 2165 LOUISA DR                      BELLEAIR BEACH, FL 33786
                                         BELLEAIR BEACH, FL 33786




MF MONTICELLO LLC                        MF MT. PROSPECT, LLC                MF MUSKEGON LLC
2165 LOUISA DR                           ATTN: OWEN C. EWING                 2165 LOUISA DR
BELLEAIR BEACH, FL 33786                 2165 LOUISA DRIVE                   BELLEAIR BEACH, FL 33786
                                         BELLEAIR BEACH, FL 33786




MF OHIO LLC                              MF OKEMOS LLC                       MF PROSPECT
4 CLARK COURT                            2165 LOUISA DR                      2165 LOUISA DR
MONROE, NJ 08831                         BELLEAIR BEACH, FL 33786            BELLEAIR BEACH, FL 33786




MF PSL LLC                               MF SAGINAW LLC                      MF TALLAHASSEE LLC
2165 LOUISA DR                           2165 LOUISA DR                      2165 LOUISA DR
BELLEAIR BEACH, FL 33786                 BELLEAIR BEACH, FL 33786            BELLEAIR BEACH, FL 33786
MF THOMASVILLE LLC     Case      18-12241-CSS    Doc 26 RDFiled
                                           MF THOMASVILLE  LLC 10/05/18         PageMF
                                                                                     1116  of 1739LLC
                                                                                       WILMINGTON
ATTN: OWEN C EWING                         2165 LOUISA DR                            2165 LOUISA DR
2165 LOUISA DR                             BELLEAIR BEACH, FL 33786                  BELLEAIR BEACH, FL 33786
BELLEAIR BEACH, FL 33786




MFB GLENVILLE OWNER LLC                    MFB GLENVILLE OWNER LLC                   MFI IN HOUSE TRANSFERS
810 SEVENTH AVE                            C/O RD MGMT LLC
10TH FL                                    810 SEVENTH AVE 10TH FL
NEW YORK, NY 10019                         NEW YORK, NY 10019




MFI RETAIL SERVICES LLC                    MFIRM 1 LLC                               MFIRM 1 LLC
C/O ALEX DEITCH                            1722 ROUTH STREET STE 1313                ATTN: RAQUEL SCOTT
3344 PEACHTREE RD NE UNIT 3405             1722 ROUTH STREET STE 1313                6800 WINDHAVEN PARKWAY STE 133
ATLANTA, GA 30326                          DALLAS, TX 75201                          THE COLONY, TX 75056




MFP LAWNDALE, LLC                          MFP LLC                                   MFP LLC
C/O ALLIANCE COMMERCIAL PROPERTIES         5625 SUMMITVIEW AVE                       5625 SUMMITVIEW AVENUE
408 1/2 STATE STREET                       YAKIMA, WA 98908                          YAKIMA, WA 98908
GREENSBORO, NC 27405




MFP, LLC & ARVARD MARTIN,                  MFW ASSOCIATES                            MG BOCA CORP CO ANDREW KATZ
AS TENANTS-IN-COMMON                       C/O ASTON PROPERTIES                      455 NE 5TH AVE
5625 SUMMITVIEW AVENUE                     610 MOREHEAD STREET, SUITE 100            STE D-PMB 220
YAKIMA, WA 98908                           CHARLOTTE, NC 28202                       DELRAY BEACH, FL 33483




MG BOCA CORPORATION                        MG BOCA CORPORATION                       MG TRUST COMPANY
ATTN: ANDREW KATZ                          ATTN: ANDREW KATZ                         DBA MATRIX TRUST COMPANY
455 NE 5TH AVENUE, SUITE D-220             STE D-PMB 220                             717 17TH ST STE 1300
DELRAY BEACH, FL 33483                     DELRAY BEACH, FL 33483                    DENVER, CO 80202




MGB PROPERTIES 72000942                    MGB PROPERTIES                            MGF INC
C/O STERLING STATE BANK                    C/O STERLING STATE BANK                   1557 LAKE WHITNEY DR
16366 KENRICK AVE                          16366 KENRICK AVE                         WINDERMERE, FL 34786
LAKEVILLE, MN 55044                        LAKEVILLE, MN 55044




MGF, INC.                                  MGF, INC.                                 MGP X PROJECTS LLC
1557 LAKE WHITNEY DRIVE                    ATTN: SAL MAIWANDI, PRESIDENT             DBA MGP X PROPERTIES LLC
ATTN: SAL MAIWANDI, PRESIDENT              1557 LAKE WHITNEY DRIVE                   425 CALIFORNIA ST 10TH FLOOR
WINDERMERE, FL 34786                       WINDERMERE, FL 34786                      SAN FRANCISCO, CA 94104




MGP X PROPERTIES LLC                       MGP X PROPERTIES LLC                      MGP X PROPERTIES, LLC
425 CALIFORNIA STREET                      P.O. BOX 511231                           C/O MERIONE GEIER MANAGEMENT, LLC
10TH FL                                    LOS ANGELES, CA 90051-3029                425 CALIFORNIA STREET, 11TH FLOOR
SAN FRANCISCO, CA 94104                                                              ATTN: LEASE ADMINISTRATION
                                                                                     SAN FRANCISCO, CA 94104



MGP X PROPERTIES, LLC                      MGP X PROPERTIES, LLC                     MGP X REIT LLC
RE: THE SHOPS ON LAKE AVENUE, UNIT         RE: THE SHOPS ON LAKE AVENUE, UNIT 637-   MGP X PROPERTIES LLC
#637-14                                    14                                        425 CALIFORNIA ST 10TH FL
425 CALIFORNIA STREET, 10TH FLOOR          425 CALIFORNIA STREET, 10TH FLOOR         SAN FRANCISCO, CA 94104
ATTN: LEASE ADMINISTRATOR                  ATTN: LEASE ADMINISTRATOR
SAN FRANCISCO, CA 94104-2113               SAN FRANCISCO, CA 94104-2113
MGP XI REIT LLC         Case   18-12241-CSS
                                         MGP XI Doc  26 Filed
                                                US PROPERTIES LLC10/05/18       PageMGP
                                                                                     1117   ofPROPERTIES
                                                                                        XI US  1739      LLC
MGP X PROPERTIES LLC                       MERLONE GEIER MGMT LLC/LEASE ADMIN        RE: CROSS COURT PLAZA UNIT #733-N01
425 CALIFORNIA ST 10TH FL                  425 CALIFORNIA ST 10TH FL                 425 CALIFORNIA STREET, TENTH FLOOR
SAN FRANCISCO, CA 94104                    SAN FRANCISCO, CA 94104                   ATTN: LEASE ADMINISTRATION
                                                                                     SAN FRANCISCO, CA 94104



MGP XI US PROPERTIES LLC                   MGPX PROPERTIES LLC                       MGPX PROPERTIES LLC
RE: CROSS COURT PLAZA UNIT 733-N01         425 CALIFORNIA ST 10TH FL                 425 CALIFORNIA STREET
425 CALIFORNIA ST 10TH FL                  SAN FRANCISCO, CA 94104                   10TH FL
ATTN: LEASE ADMINISTRATION                                                           SAN FRANCISCO, CA 94104
SAN FRANCISCO, CA 94104



MGR ASSETS, INC.                           MGTF RADIO COMPANY                        MHB BERGEN LLC
3160 CROW CANYON PLACE, SUITE 135          DBA STEEL CITY MEDIA                      250 PASSAIC ST
SAN RAMON, CA 94583                        508 WESTPORT RD STE 202                   NEWARK, NJ 07104
                                           KANSAS CITY, MO 64111




MHC KENWORTH DENVER                        MHEALTH INC                               MHEALTH INC
7007 SANDOWN RD                            7737 SW FREEWAY STE C-97                  909 FROSTWOOD STE 2:100
PO BOX 16043                               HOUSTON, TX 77074                         HOUSTON, TX 77024
DENVER, CO 80216-0043




MHHS NORTHEAST HOSPITAL                    MHS LIFT INC                              MHW LAKE ANDREW LLC
PO BOX 301208                              PO BOX 827043                             C/O CORPORATE PROPERTY GROUP, INC.
DALLAS, TX 75303-1208                      PHILADELPHIA, PA 19182-7043               7332 OFFICE PARK PLACE, SUITE 101
                                                                                     ATTN: MYLES H. WILKINSON
                                                                                     MELBOURNE, FL 32940



MHW LAKE ANDREW, LLC                       MHW WARNER ROBINS LLC                     MI CITY OF STERLING HEIGHTS
C/O CORPORATE PROPERTY GROUP, INC.         ATTN: JENNIFER DOWELL                     ATTN: SALES & USE TAX DEPT.
7332 OFFICE PARK PLACE, SUITE 101          7332 OFFICE PARK PLACE STE 101            PO BOX 4000
ATTN: MYLES H. WILKINSON                   MELBOURNE, FL 32940                       STERLING, CO 80751-0400
MELBOURNE, FL 32940



MIA LIN                                    MIA MCILVAINE                             MIA MUZZALL
10201 S. MAIN STREET                       10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                         HOUSTON, TX 77025




MIA ROBERTS                                MIAMI DADE DERM                           MIAMI DADE FIRE RESCUE DEPT
10201 S. MAIN STREET                       PO BOX 863532                             FINANCE BUREAU
HOUSTON, TX 77025                          ORLANDO, FL 32886-3532                    9300 NW 41ST ST
                                                                                     DORAL, FL 33178-2424




MIAMI DADE WATER SEWER DEPT                MIAMI DADE WATER SEWER DEPT               MIAMI EXPO/SHOW PRODUCTION, INC
3071 SW 38TH AVENUE                        P.O. BOX 026055                           DBA WEST MIAMI HOME SHOW
MIAMI, FL 33146                            MIAMI, FL 33102-6055                      808 BRICKELL KEY DR, 907
                                                                                     MIAMI, FL 33131




MIAMI HERALD MEDIA COMPANY                 MIAMI MANAGER PROPERTY MANAGERS           MIAMI SHORES VILLAGE
PO BOX 3028                                ATTN: YSERBI MELO                         CLERKS OFFICE
LIVONIA, MI 48151                          179 NW 136TH AVENUE                       10050 NE 2ND AVE
                                           SUNRISE, FL 33325                         MIAMI SHORES, FL 33138
                     Case
MIAMI-DADE COUNTY AUTO      18-12241-CSS
                       TAG AGENCY            DocCOUNTY
                                      MIAMI-DADE   26 Filed 10/05/18
                                                       TAX COLLECTOR         PageMIAMI-DADE
                                                                                  1118 of 1739
                                                                                            COUNTY TAX COLLECTOR
PO BOX 12131                          200 NW 2ND AVE                              LOCAL BUSINESS TAX SECTION
MIAMI, FL 33101-2131                  MIAMI, FL 33128                             PO BOX 13701
                                                                                  MIAMI, FL 33101-3701




MIAMI-DADE WATER & SEWER DEPT.          MIAMI-DADE                                MIBAREV DEVELOPMENT I LLC
P.O. BOX 026055                         ATTN: PROPERTY TAX DEPT.                  C/O CB SQUARE
MIAMI, FL 33102-6055                    444 SW 2ND AVENUE 6TH FLOOR               P.O. BOX 809340
                                        MIAMI, FL 33130                           CHICAGO, IL 60680-9340




MIBAREV DEVELOPMENT I LLC               MIBAREV DEVELOPMENT I, LLC                MIBAREV DEVELOPMENT I, LLC
DIVIDEND CAPITAL TOTAL REALTY PRTNSHP   C/O BLACK CREEK GROUP                     C/O BLACK CREEK GROUP
LP                                      518 SEVENTEENTH STREET, 17TH FLOOR        518 SEVENTEENTH STREET, 17TH FLOOR
PO BOX 809144ID 400601H02766            ATTN: ASSET MANAGER                       ATTN: SENIOR REAL ESTATE COUNSEL
CHICAGO, IL 60680-9144                  DENVER, CO 80202                          DENVER, CO 80202



MIBAREV DEVELOPMENT I, LLC              MIBAREV DEVELOPMENT I, LLC                MICA BICE
C/O CB SQUARE                           DIVIDEND CAPITAL TOTAL REALTY PRTNSHP     10201 S. MAIN STREET
P.O. BOX 809340                         LP                                        HOUSTON, TX 77025
CHICAGO, IL 60680-9340                  PO BOX 809144
                                        CHICAGO, IL 60680-9144



MICA SMITH                              MICAH CROWE                               MICAH GREENE
549 W 1830 N                            10201 S. MAIN STREET                      10201 S. MAIN STREET
OREM, UT 84057                          HOUSTON, TX 77025                         HOUSTON, TX 77025




MICAH INGRAM                            MICAH MCCUBBIN                            MICAH NEWTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




MICAH ROSE                              MICAH ROSE                                MICHAEL & TERRI WIEGE
10201 S. MAIN STREET                    10201 S. MAIN STREET                      4275 N NEVADA AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                         COLORADO SPRINGS, CO 80907




MICHAEL A BRUNET                        MICHAEL A GRUBB                           MICHAEL A LIGHTMAN
3145 MATHILDE MARIE DR                  3212 38TH WAY S APT D                     5100 POPLAR AVE STE 2607
GRAY, LA 70359                          SAINT PETERSBURG, FL 33711                MEMPHIS, TN 38137




MICHAEL A RODRIGUES                     MICHAEL A. ELLIS                          MICHAEL A. LIGHTMAN
PO BOX 950258                                                                     5100 POPLAR AVENUE, SUITE 2607
LAKE MARY, FL 32795                                                               MEMPHIS, TN 38137




MICHAEL ADAMS                           MICHAEL ADDISON                           MICHAEL ADJEI
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025
MICHAEL ADRAY          Case 18-12241-CSS    Doc
                                      MICHAEL    26
                                              AGUIAR        Filed 10/05/18   PageMICHAEL
                                                                                  1119 ofAGUWA
                                                                                           1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




MICHAEL ALBERICCI                      MICHAEL ALLEN                             MICHAEL ALMONTE
10201 S. MAIN STREET                   13520 SAN LUIS AVE                        10201 S. MAIN STREET
HOUSTON, TX 77025                      CHINO, CA 91710                           HOUSTON, TX 77025




MICHAEL ALSTON                         MICHAEL ALVARADO                          MICHAEL AND TERRI WIEGE
10201 S. MAIN STREET                   1336 W OAK AVE                            4275 N NEVADA AVE
HOUSTON, TX 77025                      FULLERTON, CA 92833                       COLORADO SPRINGS, CO 80907




MICHAEL ANDERS                         MICHAEL ANDERSON                          MICHAEL ARCHER
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




MICHAEL ARDOIN                         MICHAEL ARMSTRONG                         MICHAEL ARMSTRONG
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




MICHAEL ARMSTRONG                      MICHAEL ARNIERI                           MICHAEL ARNOLD
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




MICHAEL ARROYO                         MICHAEL ASH                               MICHAEL ASHLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




MICHAEL ATILES                         MICHAEL AVADEK                            MICHAEL AVENT
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




MICHAEL AYERS                          MICHAEL BAGAIN                            MICHAEL BALKCOM
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




MICHAEL BALL                           MICHAEL BARI                              MICHAEL BARNES
10201 S. MAIN STREET                   275 SW 15TH STREET APT 107                10201 S. MAIN STREET
HOUSTON, TX 77025                      POMPANO BEACH, FL 33060                   HOUSTON, TX 77025
MICHAEL BARNES         Case 18-12241-CSS    Doc
                                      MICHAEL    26 Filed 10/05/18
                                              BARRETT                PageMICHAEL
                                                                          1120 ofBARTEE
                                                                                   1739
10201 S. MAIN STREET                   100 FOX HILL DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                      NEWTOWN, PA 18940                 HOUSTON, TX 77025




MICHAEL BARTLES                        MICHAEL BARYLSKI                  MICHAEL BAUMGARTNER
10201 S. MAIN STREET                   10201 S. MAIN STREET              3251 OVERLOOK DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                 COLUMBUS, IN 47203




MICHAEL BEADLES                        MICHAEL BEARGIE                   MICHAEL BECK
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL BELCHER                        MICHAEL BELL                      MICHAEL BELL
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL BELMARSH                       MICHAEL BENOIT                    MICHAEL BICKLE
DBA VERSETAL INFORMATION SYSTEMS       10201 S. MAIN STREET              10201 S. MAIN STREET
99 DERBY ST STE 200                    HOUSTON, TX 77025                 HOUSTON, TX 77025
HINGHAM, MA 02043




MICHAEL BLAIR                          MICHAEL BLAKE                     MICHAEL BLAKELY
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL BLAYDES                        MICHAEL BLOOM                     MICHAEL BRAXTON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL BRINKLEY                       MICHAEL BROOK                     MICHAEL BROOKS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL BROOKS                         MICHAEL BROOKS                    MICHAEL BROWN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL BROWN                          MICHAEL BRUCE                     MICHAEL BRUSH
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025
MICHAEL BUCARO            Case 18-12241-CSS    Doc
                                         MICHAEL    26
                                                 BUCZ       Filed 10/05/18     PageMICHAEL
                                                                                    1121 ofBURNS
                                                                                             1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL BURNS                             MICHAEL BURNS                            MICHAEL BUZZO
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL C VAUPEL DBA QUIVIRA CTR LLC      MICHAEL C VAUPEL                         MICHAEL CABLE
3334 E COAST HWY STE 520                  DBA CONYERS LLC                          10201 S. MAIN STREET
CORONA DEL MAR, CA 92625                  3334 E COAST HWY 520                     HOUSTON, TX 77025
                                          CORONA DEL MAR, CA 92625




MICHAEL CAJAL                             MICHAEL CALLAGHAN & MARJORIE JONES       MICHAEL CANNIZZARO
10201 S. MAIN STREET                      DBA LIBERTY TAX SERVICE                  REG. OPERATIONS VP-REG OPERATIONS
HOUSTON, TX 77025                         1385 SHAW AVE STE 104                    OVERHEAD
                                          CLOVIS, CA 93612                         9701 MEYER FOREST DRIVE 10109
                                                                                   HOUSTON, TX 77096



MICHAEL CAPITO                            MICHAEL CAREY                            MICHAEL CARRIO
255 N 184TH PLZ APT 202                   10201 S. MAIN STREET                     10201 S. MAIN STREET
ELKHORN, NE 68022                         HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL CARSON                            MICHAEL CARTER                           MICHAEL CHAGNON
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL CHAMBERS                          MICHAEL CHAPMAN                          MICHAEL CHAPPELOW
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL CHARLOFF                          MICHAEL CHARROS                          MICHAEL CHOLEWA
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL CHRISTIE                          MICHAEL CICERO                           MICHAEL CIRKA
11602 CPRESSWOOD DR                       10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77070                         HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL CLANCY                            MICHAEL CODY                             MICHAEL COKINOS
10201 S. MAIN STREET                      10201 S. MAIN STREET                     325 SHASTA
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77024
MICHAEL COLAIZZI          Case 18-12241-CSS    Doc
                                         MICHAEL    26 Filed 10/05/18
                                                 COLLINS                PageMICHAEL
                                                                             1122 ofCONCHA
                                                                                      1739
10201 S. MAIN STREET                      10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL COOK                              MICHAEL COPLEY                    MICHAEL COPPOLA
8222 2ND ST                               10201 S. MAIN STREET              10201 S. MAIN STREET
TERREBONNE, OR 97760                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL CORNER                            MICHAEL COUPLAND                  MICHAEL COUSINS
10201 S. MAIN STREET                      10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL COX                               MICHAEL COYNE                     MICHAEL CRAIG
10201 S. MAIN STREET                      10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL CRAIG                             MICHAEL CRISWELL                  MICHAEL CRUMP
10201 S. MAIN STREET                      10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL D LAXTON                          MICHAEL D SIFEN, INC.             MICHAEL D. SIFEN, INC.
6727 S LOIS AVE APT 610                   500 CENTRAL DRIVE 106             2929 SABRE ST., SUITE 500
TAMPA, FL 33616                           VIRGINIA BEACH, VA 23454          VIRGINIA BEACH, VA 23452




MICHAEL DALESSANDRO                       MICHAEL DANTLEY                   MICHAEL DAROCA
10201 S. MAIN STREET                      10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL DAVIDO                            MICHAEL DAVIS                     MICHAEL DAVOUST
10201 S. MAIN STREET                      10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL DAY                               MICHAEL DEAFLAD                   MICHAEL DEANDA
10201 S. MAIN STREET                      10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL DEBECHOUL                         MICHAEL DEBOUCHEL                 MICHAEL DEHOFF
10201 S. MAIN STREET                      10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                 HOUSTON, TX 77025
MICHAEL DEJONG          Case 18-12241-CSS    Doc
                                       MICHAEL    26
                                               DENNIS     Filed 10/05/18        PageMICHAEL
                                                                                     1123 ofDENTON
                                                                                              1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




MICHAEL DEPREY                          MICHAEL DEPREY                              MICHAEL DEUS
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




MICHAEL DEVOLDER                        MICHAEL DEVRIEND                            MICHAEL DEWITT
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




MICHAEL DIAMANTOPOULOS                  MICHAEL DICKEY                              MICHAEL DION
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




MICHAEL DITOMMASO                       MICHAEL DONALDSON                           MICHAEL DONOVAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




MICHAEL DOWD                            MICHAEL DUCKWORTH                           MICHAEL DUNFORD
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




MICHAEL DURSO                           MICHAEL DZURA                               MICHAEL E ANDERSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                        DBA MEA STRATEGIC SOLUTIONS LLC
HOUSTON, TX 77025                       HOUSTON, TX 77025                           2005 S MASON RD 1213
                                                                                    KATY, TX 77450




MICHAEL E BARNES                        MICHAEL E GORMAN                            MICHAEL E HOLLIDAY
4995 RIVER OVERLOOK WAY                 15 GRANTS DRIVE                             4920 S DEVONSHIRE LN
LITHONIA, GA 30038                      RICHMOND, ME 04357                          LAKELAND, FL 33813




MICHAEL E HOLLIDAY                      MICHAEL E. FILICE & CAROL A.FILICE,         MICHAEL ECHEANDIA
821 FAIRLINGTON DRIVE                   TRUSTEES                                    10201 S. MAIN STREET
LAKELAND, FL 33813                      OF THE FILICE LIVING TRUST DATED JUNE       HOUSTON, TX 77025
                                        11, 1996
                                        C/O SLAPCO LLC
                                        1559B SLOAT BOULEVARD, 309
                                        SAN FRANCISCO, CA 94132

MICHAEL EDWARDS                         MICHAEL ELEY                                MICHAEL ELLIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025
MICHAEL ESCOBAR        Case 18-12241-CSS    Doc
                                      MICHAEL    26 Filed 10/05/18
                                              ESPINOZA               PageMICHAEL
                                                                          1124 ofEVANS
                                                                                   1739
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL EVETTE                         MICHAEL F LOONEY JR               MICHAEL FAGG
10201 S. MAIN STREET                   0 WILLIAM ALLEN DR                10201 S. MAIN STREET
HOUSTON, TX 77025                      PAXTON, MA 01612                  HOUSTON, TX 77025




MICHAEL FIRCA                          MICHAEL FISCHETTI                 MICHAEL FISHER
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL FITZGERALD                     MICHAEL FLORES                    MICHAEL FOLTZ
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL FORGASON                       MICHAEL FOSTER                    MICHAEL FRANCQ
10201 S. MAIN STREET                   30711 ALDINE WESTFIELD RD         10201 S. MAIN STREET
HOUSTON, TX 77025                      SPRING, TX 77386                  HOUSTON, TX 77025




MICHAEL FRANK                          MICHAEL FREEMAN                   MICHAEL FREEMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL FROW                           MICHAEL FULTON                    MICHAEL FURLOW
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL G. MAGNUS PC                   MICHAEL G. PISTORESI              MICHAEL GARZA
8625 SW CASCADE AVENUE, SUITE 430      1227 E. COPPER CT.                10201 S. MAIN STREET
BEAVERTON, OR 97008                    VISALIA, CA 93292                 HOUSTON, TX 77025




MICHAEL GASAWAY                        MICHAEL GAUTHIER                  MICHAEL GEE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL GENE ROCKWOOD                  MICHAEL GEORGE                    MICHAEL GERLACH
2045 SEQUOIA DR                        10201 S. MAIN STREET              10201 S. MAIN STREET
IDAHO FALLS, ID 83404                  HOUSTON, TX 77025                 HOUSTON, TX 77025
MICHAEL GIFFT          Case 18-12241-CSS    Doc
                                      MICHAEL     26
                                              GILKES      Filed 10/05/18   PageMICHAEL
                                                                                1125 ofGLIENKE
                                                                                         1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL GLIENKE                        MICHAEL GLOVER                           MICHAEL GOLD
10201 S. MAIN STREET                   1560 PINEWOODS DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                      ROSCOMMON, MI 48653                      HOUSTON, TX 77025




MICHAEL GONZALES                       MICHAEL GONZALEZ                         MICHAEL GONZALEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL GRASSANO                       MICHAEL GRAVILLE                         MICHAEL GRAVINESE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL GREIG                          MICHAEL GRIFFIN                          MICHAEL GRIJALVA
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL GRILLO                         MICHAEL GROSSMAN                         MICHAEL GUAGNEUR
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL GUENTHARDT                     MICHAEL GUERRERO                         MICHAEL GUFFEY
10201 S. MAIN STREET                   17047 KILWINNING DR                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77084                        HOUSTON, TX 77025




MICHAEL GUY BROWN                      MICHAEL H PAHLOW                         MICHAEL HAASCH
DBA ADVANCED INTERNET MARKETING                                                 10201 S. MAIN STREET
CHOICE CAR                                                                      HOUSTON, TX 77025
9101 W SAHARA AVE 105 F30
LAS VEGAS, NV 89117-5772



MICHAEL HABERMAN                       MICHAEL HADDAD                           MICHAEL HALL
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MICHAEL HAMILTON                       MICHAEL HANEY                            MICHAEL HANNING
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
MICHAEL HARDY         Case   18-12241-CSS    Doc
                                       MICHAEL    26
                                               HART       Filed 10/05/18   PageMICHAEL
                                                                                1126 ofHARTLEY
                                                                                         1739
89 FOX RUN CIRCLE                       10201 S. MAIN STREET                    10201 S. MAIN STREET
BOWLING GREEN, KY 42104                 HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL HASKE HASKE                     MICHAEL HAYES                           MICHAEL HAYNES
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL HEGARTY                         MICHAEL HENSLEY                         MICHAEL HERFURTH
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL HERNANDEZ                       MICHAEL HILLIS                          MICHAEL HOFFMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL HOLDCRAFT                       MICHAEL HOLZMAN                         MICHAEL HOWARD
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL HOWELL                          MICHAEL HUFF                            MICHAEL HUMLAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL IACURCI, ESQ.                   MICHAEL INGRAM                          MICHAEL IVINS
LAW OFFICES OF MICHAEL IACURCI          10201 S. MAIN STREET                    10201 S. MAIN STREET
70 WALL STREET                          HOUSTON, TX 77025                       HOUSTON, TX 77025
MADISON, CT 06443




MICHAEL J MCDONNAL                      MICHAEL J WYNN                          MICHAEL J. TANSEY TRUST
525 W 27TH AVE                          38423 N NORTH AVE                       75-933 HIONA STREET
KENNEWICK, WA 99337                     BEACH PARK, IL 60087                    HOLUALOA, HI 96725




MICHAEL JABARI                          MICHAEL JAMES                           MICHAEL JAY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL JEAN BAPTISTE                   MICHAEL JESSEN                          MICHAEL JOHNSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
MICHAEL JOHNSON          Case 18-12241-CSS    Doc
                                        MICHAEL    26 Filed 10/05/18
                                                JOHNSON                PageMICHAEL
                                                                            1127 ofJOHNSON
                                                                                     1739
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL JOINER                           MICHAEL JONES                      MICHAEL JONES-AKEN
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL JR DEBOUCHEL                     MICHAEL KAUFMAN                    MICHAEL KELLEHER
                                         10201 S. MAIN STREET               10201 S. MAIN STREET
                                         HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL KING                             MICHAEL KLENK                      MICHAEL KNAPP
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL KNIGHT                           MICHAEL KNIGHT                     MICHAEL KNOX
10201 S. MAIN STREET                     10201 S. MAIN STREET               310 PICKWICK CT
HOUSTON, TX 77025                        HOUSTON, TX 77025                  NOBLESVILLE, IN 46060




MICHAEL KRAMER                           MICHAEL KRANENBERG                 MICHAEL KRYSA
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL KUCHYT                           MICHAEL L BERNARDO                 MICHAEL L DAHLE TRUST
10201 S. MAIN STREET                     689 HAVERHILL RD N                 MICHAEL L DAHLE TRUSTEE
HOUSTON, TX 77025                        WEST PALM BEACH, FL 33415          5827 S COVE CREEK LN
                                                                            MURRAY, UT 84107




MICHAEL LAFOND                           MICHAEL LAKIS                      MICHAEL LAMBAKIS
10201 S. MAIN STREET                     10201 S. MAIN STREET               529 CARL STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  NORFOLK, VA 23505




MICHAEL LANDERS                          MICHAEL LANGSTAFF                  MICHAEL LAUTERBACH
3171 CREEKRIDGE DR                       10201 S. MAIN STREET               10201 S. MAIN STREET
ASHEBORO, NC 27205                       HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL LEACH                            MICHAEL LEARY                      MICHAEL LEVIN
9050 DOUBLE R BLVD 824                   120 GOLDEN GATE RD                 10201 S. MAIN STREET
RENO, NV 89521                           LEVITTOWN, PA 19057                HOUSTON, TX 77025
MICHAEL LEVIN          Case 18-12241-CSS    Doc
                                      MICHAEL     26
                                              LEVITT     Filed 10/05/18   PageMICHAEL
                                                                               1128 ofLEWIS
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL LEWIS                          MICHAEL LEWIS                          MICHAEL LIBERMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL LINDAUER                       MICHAEL LIPPEL                         MICHAEL LOCKHART
14600 N ROCKWELL AVE 213               10201 S. MAIN STREET                   10201 S. MAIN STREET
OKLAHOMA CITY, OK 73142                HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL LONG                           MICHAEL LOONEY                         MICHAEL LOPEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL LOVE                           MICHAEL LOVELESS                       MICHAEL LUCEY
29611 BONANZA PLACE                    10201 S. MAIN STREET                   10201 S. MAIN STREET
SUN CITY, CA 92587                     HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL LUNA                           MICHAEL LUYSTER                        MICHAEL LYBYER
2894 HUNTER CREST DR                   10201 S. MAIN STREET                   235 LASSEN AVE., APT 1
SALT LAKE CITY, UT 84128               HOUSTON, TX 77025                      CHICO, CA 95973




MICHAEL MADRIC                         MICHAEL MAGILLIGAN                     MICHAEL MAGNUSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL MAHER                          MICHAEL MAHONE                         MICHAEL MALLOL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL MANGANARO                      MICHAEL MANNING                        MICHAEL MANSFIELD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL MANSFIELD                      MICHAEL MARLOW                         MICHAEL MARLOW
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
MICHAEL MARTINEZ       Case 18-12241-CSS    Doc
                                      MICHAEL    26
                                              MASON      Filed 10/05/18   PageMICHAEL
                                                                               1129 ofMASON
                                                                                       1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL MASSE                          MICHAEL MCCARTHY                       MICHAEL MCCLANATHAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL MCDONOUGH                      MICHAEL MCGEE                          MICHAEL MCGEE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL MCGINTY                        MICHAEL MCKINNEY                       MICHAEL MCKINNON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL MCMAHON                        MICHAEL MCNEIL                         MICHAEL MCPHERSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   5738 OLD DIXIE HWY APT B2
HOUSTON, TX 77025                      HOUSTON, TX 77025                      FOREST PARK, GA 30297




MICHAEL MCWHORTER                      MICHAEL MEASOM                         MICHAEL MEENA DBA ESC LAKE CHARLES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   LLC
HOUSTON, TX 77025                      HOUSTON, TX 77025                      25129 THE OLD RD 350
                                                                              SANTA CLARITA, CA 91381




MICHAEL MENDENHALL                     MICHAEL MERBACH                        MICHAEL METTLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL MILLER                         MICHAEL MILLIGAN                       MICHAEL MIMP
10201 S. MAIN STREET                   2894 HUNTER CREST DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                      SALT LAKE CITY, UT 84128               HOUSTON, TX 77025




MICHAEL MIORI                          MICHAEL MITCHELL                       MICHAEL MITCHELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL MOLDENHAUER                    MICHAEL MORAN                          MICHAEL MORAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
MICHAEL MORTON          Case 18-12241-CSS    Doc
                                       MICHAEL    26
                                               MOTEN      Filed 10/05/18       PageMICHAEL
                                                                                    1130 ofMOUTON
                                                                                            1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




MICHAEL MURPHY                          MICHAEL MURPHY                             MICHAEL MURRAY
413 FISHER STREET                       4641 E PIEDMONT RD                         10201 S. MAIN STREET
PINEVILLE, NC 28134                     PHOENIX, AZ 85044                          HOUSTON, TX 77025




MICHAEL MYERS                           MICHAEL NORRIS                             MICHAEL NORRIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




MICHAEL O DONNELL                       MICHAEL O GILLAM                           MICHAEL OETTING
10201 S. MAIN STREET                    1353 RIVERSTONE PKWY STE 120 PMB 246       10201 S. MAIN STREET
HOUSTON, TX 77025                       CANTON, GA 30114                           HOUSTON, TX 77025




MICHAEL ORDWAY                          MICHAEL ORTEGA                             MICHAEL OSTRANDER
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




MICHAEL OTTO                            MICHAEL PADILLA                            MICHAEL PAHLOW
17341 121ST LN SE ZZZ 302               10201 S. MAIN STREET                       10201 S. MAIN STREET
RENTON, WA 98058                        HOUSTON, TX 77025                          HOUSTON, TX 77025




MICHAEL PALM JR                         MICHAEL PALMER                             MICHAEL PALMERO
12351 WELLINGTON PARK                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77082                       HOUSTON, TX 77025                          HOUSTON, TX 77025




MICHAEL PALUMBO                         MICHAEL PARR                               MICHAEL PEHOWDY
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




MICHAEL PERCELLA                        MICHAEL PERSSON                            MICHAEL PETERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




MICHAEL PETTY                           MICHAEL PIERCE                             MICHAEL PING
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025
MICHAEL PINNA          Case 18-12241-CSS    Doc
                                      MICHAEL    26 Filed 10/05/18
                                              PODELL                 PageMICHAEL
                                                                          1131 ofPOKORNY
                                                                                   1739
10201 S. MAIN STREET                   10201 S. MAIN STREET               8424 EVERGREEN LN
HOUSTON, TX 77025                      HOUSTON, TX 77025                  DARIEN, IL 60561




MICHAEL POPE                           MICHAEL POURTEAU                   MICHAEL PUTZKE
10201 S. MAIN STREET                   2032 INDIANA AVE                   10201 S. MAIN STREET
HOUSTON, TX 77025                      NEW ALBANY, IN 47150               HOUSTON, TX 77025




MICHAEL PUTZKE                         MICHAEL QUINONES                   MICHAEL R COUPLAND
10201 S. MAIN STREET                   10201 S. MAIN STREET               1505 SNOW TRAIL
HOUSTON, TX 77025                      HOUSTON, TX 77025                  LEWISVILLE, TX 75077




MICHAEL RAGOZINO                       MICHAEL RALEY                      MICHAEL RAY QUISENBERRY
7311 THOROUGHBRED DR                   10201 S. MAIN STREET               909 TEXAS ST 1203
APT 3-C                                HOUSTON, TX 77025                  HOUSTON, TX 77002
FORT WAYNE, IN 46804




MICHAEL REAGAN                         MICHAEL REED                       MICHAEL REED
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL REESE                          MICHAEL REIGHN                     MICHAEL RHODES
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL RICHARD                        MICHAEL RIESE                      MICHAEL RIVERA
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL ROBERTS                        MICHAEL ROBERTS                    MICHAEL ROBERTSON
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL ROCKWOOD                       MICHAEL RODARTE                    MICHAEL RODRIGUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHAEL ROGERS                         MICHAEL ROSE                       MICHAEL ROWLAND
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025
MICHAEL RUCKER         Case 18-12241-CSS    Doc
                                      MICHAEL    26
                                              RUSSO      Filed 10/05/18   PageMICHAEL
                                                                               1132 ofS BOOKBINDER
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    4636 DE GREY LN
HOUSTON, TX 77025                      HOUSTON, TX 77025                       PLANO, TX 75093




MICHAEL SABARESE                       MICHAEL SALDIVAR                        MICHAEL SAMAROO
10201 S. MAIN STREET                   18003 GROTTO POINT DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                      CYPRESS, TX 77429                       HOUSTON, TX 77025




MICHAEL SAMPSON                        MICHAEL SANDONE PRODUCTIONS INC         MICHAEL SCHNAPP
10201 S. MAIN STREET                   403 S HASKELL AVE                       10201 S. MAIN STREET
HOUSTON, TX 77025                      PO BOX 150365                           HOUSTON, TX 77025
                                       DALLAS, TX 75315




MICHAEL SCHROLL                        MICHAEL SCOTT GABBERT                   MICHAEL SEE
10201 S. MAIN STREET                   5254 HARMON PL                          10201 S. MAIN STREET
HOUSTON, TX 77025                      KANNAPOLIS, NC 28083                    HOUSTON, TX 77025




MICHAEL SHIPP                          MICHAEL SILVA                           MICHAEL SIMPSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL SMITH                          MICHAEL SMITH                           MICHAEL SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL SOLLITTO                       MICHAEL SOLVIG                          MICHAEL SOMMER
27 MURDOCK RD                          10201 S. MAIN STREET                    10201 S. MAIN STREET
EAST ROCKAWAY, NY 11518                HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL SPERRING                       MICHAEL SPRAGUE                         MICHAEL SPURLOCK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MICHAEL STARK                          MICHAEL STEWART                         MICHAEL STEWART
10201 S. MAIN STREET                   10032 OHIO AVE                          1160 FAIRWAY LANE
HOUSTON, TX 77025                      THONOTOSASSA, FL 33592                  CALIMESA, CA 92320




MICHAEL STRATFORD                      MICHAEL STRICKER                        MICHAEL STROOTMAN
10201 S. MAIN STREET                   9706 KINGS LINK CIRCLE                  10201 S. MAIN STREET
HOUSTON, TX 77025                      ROWLETT, TX 75089                       HOUSTON, TX 77025
MICHAEL STUART         Case 18-12241-CSS    Doc
                                      MICHAEL    26
                                              SUESS      Filed 10/05/18   PageMICHAEL
                                                                               1133 ofSUGARMAN
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL SULLIVAN                       MICHAEL SWANN                          MICHAEL TABONY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   222 DELARONDE ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                      NEW ORLEANS, LA 70114




MICHAEL TAYLOR                         MICHAEL TAYLOR                         MICHAEL TEASLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL THOMAS                         MICHAEL THOMAS                         MICHAEL THOMPSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL THORE                          MICHAEL THORNTON                       MICHAEL THORNTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL TOKATLYAN                      MICHAEL TOMASZKIEWICZ                  MICHAEL TONSI
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL TRAVIS                         MICHAEL TROTTY                         MICHAEL TUCCI
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL TURNER                         MICHAEL USHKOW                         MICHAEL VAIL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   1405 HYDE PARK AVE 10
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77006




MICHAEL VALEIKO                        MICHAEL VAN PATTER                     MICHAEL VANCE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MICHAEL VILLARREAL                     MICHAEL WAGNER                         MICHAEL WAGNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
MICHAEL WAITE          Case 18-12241-CSS    Doc
                                      MICHAEL    26 Filed 10/05/18
                                              WASHINGTON             PageMICHAEL
                                                                          1134 ofWELLS
                                                                                  1739
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL WENTWORTH                      MICHAEL WESSELS                   MICHAEL WHITFIELD
10201 S. MAIN STREET                   275 E. SHASTA AVE. 75             10201 S. MAIN STREET
HOUSTON, TX 77025                      CHICO, CA 95973                   HOUSTON, TX 77025




MICHAEL WILLIAMS                       MICHAEL WILLIAMS                  MICHAEL WILLIS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL WILSON                         MICHAEL WILSON                    MICHAEL WILSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL WOODMAN                        MICHAEL WRIGHT                    MICHAEL WRINKLE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL YABES                          MICHAEL YATES                     MICHAEL YOUNG
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHAEL YOUNG                          MICHAEL YOUNG                     MICHAEL, LEVITT, GOLDBERGER &
10201 S. MAIN STREET                   10201 S. MAIN STREET              RUBENSTEIN, LLC
HOUSTON, TX 77025                      HOUSTON, TX 77025                 ATTN: JEFFREY A. LEVITT, ESQ.
                                                                         60 COLUMBUS CIRCLE
                                                                         NEW YORK, NY 10023



MICHAELA STARR                         MICHAELA YATES                    MICHAEL-ANTONIO JUSINO
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MICHALIN BUTLER                        MICHEAL BRYANT                    MICHEL GALLARDO GONZALES
10201 S. MAIN STREET                   10201 S. MAIN STREET              DBA CUBAS LOGISTICS LLC
HOUSTON, TX 77025                      HOUSTON, TX 77025                 9900 SPECTRUM DR.
                                                                         AUSTIN, TX 78717




MICHEL MONTY                           MICHELE ABELSETH                  MICHELE ARIYO
1060 HEMBREE GROVE DR                  10201 S. MAIN STREET              5306 S MARYLAND AVE
ROSWELL, GA 30076                      HOUSTON, TX 77025                 CHICAGO, IL 60615
MICHELE ELLENBERGER      Case 18-12241-CSS    Doc
                                        MICHELE    26 Filed 10/05/18
                                                GIAMONI                PageMICHELE
                                                                            1135 ofGRASSANO
                                                                                     1739
391 OLD NACHES HWY                       10201 S. MAIN STREET               10201 S. MAIN STREET
YAKIMA, WA 98908                         HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELE HANCOCK                          MICHELE KALAS                      MICHELE LAWLOR
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELE MADDEN                           MICHELE PINTO                      MICHELE S DAVIS
10201 S. MAIN STREET                     10201 S. MAIN STREET               8514 SW 153RD LANE
HOUSTON, TX 77025                        HOUSTON, TX 77025                  DUNNELLON, FL 34432




MICHELE SIMMS                            MICHELE SWEET                      MICHELE WASHINGTON
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELENE MOBLEY-ALTICE                  MICHELINA OLIVERIO                 MICHELL BLAND
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE ALVAREZ                         MICHELLE ANASTASIO                 MICHELLE ANSTINE
10201 S. MAIN STREET                     10201 S. MAIN STREET               1109 NW ARLINGTON PL APT 4
HOUSTON, TX 77025                        HOUSTON, TX 77025                  BLUE SPRINGS, MO 64015




MICHELLE ARNOLD                          MICHELLE BEJARANO                  MICHELLE BICKLE
6729 HUNTSMEN CT                         10201 S. MAIN STREET               10201 S. MAIN STREET
INDIANAPOLIS, IN 46250                   HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE BISTRICA                        MICHELLE BLAKESLEE                 MICHELLE BRAZELL
2401 S APPLE STREET APT A102             10201 S. MAIN STREET               10201 S. MAIN STREET
BOISE, ID 83706                          HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE BRUMFIELD                       MICHELLE BURLEY                    MICHELLE CAPE
10201 S. MAIN STREET                     10201 S. MAIN STREET               4100 SOUTHWEST FWY
HOUSTON, TX 77025                        HOUSTON, TX 77025                  APT 234
                                                                            HOUSTON, TX 77027




MICHELLE CHAVEZ                          MICHELLE CLARK                     MICHELLE D BELINFANTE
10201 S. MAIN STREET                     2105 ARNOLD WAY APT D              DBA LB & MB INVESTMENTS LLC
HOUSTON, TX 77025                        ALPINE, CA 91901                   265 SPALDING GATES DR
                                                                            ATLANTA, GA 30328
MICHELLE DZIDUCH        Case 18-12241-CSS    Doc
                                       MICHELLE    26 Filed 10/05/18
                                                ELLIOTT                PageMICHELLE
                                                                            1136 ofGALES
                                                                                    1739
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE GREGORY                        MICHELLE GUTIERREZ                 MICHELLE HARDY
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE HOLSTINE                       MICHELLE JACKSON                   MICHELLE LENZO
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE LINK                           MICHELLE M JOHNSON                 MICHELLE M WILLIAMS
10201 S. MAIN STREET                    335 WASHINGTON ST                  7682 S ROPEKEY DR J203
HOUSTON, TX 77025                       BRISTOL, PA 19007                  MIDVALE, UT 84047




MICHELLE MCBRIDE                        MICHELLE MOSEMAN                   MICHELLE MUDGE
6943 KERSFIELD PL                       10201 S. MAIN STREET               10201 S. MAIN STREET
MINT HILL, NC 28227                     HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE MYERS                          MICHELLE NAVARRO                   MICHELLE NHIRA
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE NUNN                           MICHELLE ONWUDEBE                  MICHELLE PAGE
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE PHILLIPS                       MICHELLE RAPOLLA                   MICHELLE RAYNOR
24044 AVENIDA ENTRANA                   10201 S. MAIN STREET               10201 S. MAIN STREET
VALENCIA, CA 91355                      HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE REED                           MICHELLE REIERSON                  MICHELLE SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




MICHELLE SOUTHERN                       MICHELLE STEFFEN                   MICHELLE STEPHAN
1513 APPLEGATE WAY                      409 CANADIAN COVE                  10201 S. MAIN STREET
ROYSE CITY, TX 75189                    HUTTO, TX 78634                    HOUSTON, TX 77025
MICHELLE STEPHENSON     Case 18-12241-CSS    Doc
                                       MICHELLE   26 Filed 10/05/18
                                                STOKELY                      PageMICHELLE
                                                                                  1137 ofWATERHOUSE
                                                                                          1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10521 S DIMPLE DELL RD
HOUSTON, TX 77025                        HOUSTON, TX 77025                       SANDY, UT 84092




MICHELLE WEISS                           MICHELLE WILSON                         MICHIGAN CITY DEPT WATER WORKS
10201 S. MAIN STREET                     948 BARKLEY                             532 FRANKLIN SQUARE
HOUSTON, TX 77025                        GILCHRIST, TX 77617                     MICHIGAN CITY, IN 46360




MICHIGAN CITY DEPT WATER WORKS           MICHIGAN DEPARTMENT OF TREASURY         MICHIGAN DEPARTMENT OF TREASURY
P.O. BOX 888                             ATTN: BUSINESS LICENSE DEPT.            ATTN: SALES & USE TAX DEPT.
MICHIGAN CITY, IN 46361                  PO BOX 30774                            PO BOX 30774
                                         LANSING, MI 48909-8274                  LANSING, MI 48909-8274




MICHIGAN DEPT LICENSING DBA BUREAU       MICHIGAN DEPT OF TREASURY ACCT 76       MICHIGAN DEPT OF TREASURY
OF COMMERCIAL                            0596008                                 CUSTOMER CONTACT DIVISION, MBT UNIT
P.O. BOX 30054                           DEPT 77003                              PO BOX 30059
LANSING, MI 48909                        DETROIT, MI 48277-0003                  LANSING, MI 48909




MICHIGAN DEPT OF TREASURY                MICHIGAN GAS UTILITIES                  MICHIGAN STATE DISBURSEMENT UNIT
PO BOX 30774                             PO BOX 19000                            PO BOX 30350
LANSING, MI 48909-8274                   GREEN BAY, WI 54307-9000                LANSING, MI 48909-7850




MICHIGAN.COM                             MICILIN JONES                           MICK MCDONOUGH
PO BOX 677313                            10201 S. MAIN STREET                    10201 S. MAIN STREET
DALLAS, TX 75267-7313                    HOUSTON, TX 77025                       HOUSTON, TX 77025




MICKEAL L. DAHLE TRUST                   MICROD INC                              MICROSOFT CORP 365
ATTN: MICKEAL L. DAHLE, TRUSTEE          1985 TATE BLVD SE STE 301               ONE MICROSOFT WAY
5827 SOUTH COVE CREEK LANE               HICKORY, NC 28602                       REDMOND, WA 98052
MURRAY, UT 84107




MICROSOFT CORP                           MICROSOFT CORPORATION                   MICROSOFT CORPORATION
995 DALTON AVE                           C/O BANK OF AMERICA                     MICROSOFT ENTERPRISE SERVICES
CINCINNATI, OH 45203                     1950 N STEMMONS FWY STE 5010 LB842467   PO BOX 844510
                                         DALLAS, TX 75207                        DALLAS, TX 75284-4510




MICROSOFT CORPORATION                    MICROSOFT LICENSING GP                  MICROSOFT LICENSING GP
P.O. BOX 844510                          6100 NEIL ROAD                          PO BOX 844510
DALLAS, TX 75284-4510                    RENO, NV 89511                          DALLAS, TX 75284-4510




MICROSOFT LICENSING, GP                  MICROSOFT ONLINE INC                    MICROTEK
C/O BANK OF AMERICA                      ATTN: CHIEF FINANCIAL OFFICER           2001 BUTTERFIELD RD STE 1500
1950 N STEMMONS FWY STE 5010 LB 842467   PO BOX 847543                           DOWNERS GROVE, IL 60515
DALLAS, TX 75207                         DALLAS, TX 75284-7543
MICROTEK                 Case 18-12241-CSS    Doc 26
                                        MID AMERICA ASSETFiled 10/05/18
                                                         MANAGEMENT, INC. PageMID
                                                                               1138  of 1739
                                                                                  AMERICA CONSTRUCTION & DESIGN LLC
24082 NETWORK PLACE                        ALGONQUIN COMMONS                      4320 S PENN AVE
CHICAGO, IL 60673-1240                     1900 S RANDALL ROAD                    NORMAN, OK 73072
                                           ATTN: GUEST SERVICES
                                           ALGONQUIN, IL 60102



MID AMERICA CONSTRUCTION & DESIGN LLC      MID AMERICA EXPOSITIONS DBA PAT RIHA   MID AMERICA SIGN LLC
4320 S PENNSYLVANIA AVE                    PRODUCTIONS                            PO BOX 2766
NORMAN, OK 73072                           4050 PENNSYLVANIA STE 141              SHAWNEE MISSION, KS 66201
                                           KANSAS CITY, MO 64111




MID ATLANTIC FIRE PROTECTION INC           MID ATLANTIC SPORTS NETWORK            MID CITIES LLC
5596 GREENWICH RD                          333 WEST CAMDEN ST                     ATTN: JOSEPH M WHELAN
VIRGINIA BEACH, VA 23462                   BALTIMORE, MD 21201                    16582 FLEUR DE LIS WAY
                                                                                  DELRAY BEACH, FL 33446




MID VALLEY DISPOSAL INC.                   MID VALLEY DISPOSAL INC.               MID-AMERICA ASSET MANAGEMENT, INC.
15300 W JENSEN AVE                         P.O. BOX 12385                         AFTER HOURS CONTACT
KERMAN, CA 93630                           FRESNO, CA 93777                       ONE PARKVIEW PLAZA, 9TH FLOOR
                                                                                  OAKBROOK TERRACE, IL 60181




MID-AMERICA ASSET MANAGEMENT, INC.         MID-AMERICA ASSET MANAGEMENT, INC.     MID-AMERICA ASSET MANAGEMENT, INC.
ATTN: JEAN ZOERNER                         ATTN: STEPHANIE BRENNAN                CARLY KIMONT
ONE PARKVIEW PLAZA, 9TH FLOOR              ONE PARKVIEW PLAZA, 9TH FLOOR          ONE PARKVIEW PLAZA, 9TH FLOOR
OAK BROOK, IL 60523                        OAKBROOK TERRACE, IL 60181             OAKBROOK TERRACE, IL 60181




MID-AMERICA ASSET MANAGEMENT, INC.         MID-AMERICA ASSET MANAGEMENT, INC.     MID-AMERICA ASSET MANAGEMENT, INC.
ONE PARKVIEW PLAZA, 9TH FLOOR              ONE PARKVIEW PLAZA, 9TH FLOOR          ONE PARKVIEW PLAZA, 9TH FLOOR
ATTN: 2570 N. ELSTON                       OAKBROOK TERRACE, IL 60181             OAKBROOK TERRACE, IL 60181-4731
ANNE SCHMEISSING, PM
OAKBROOK TERRACE, IL 60181



MID-AMERICA ASSET MANAGEMENT, INC.         MIDAMERICA ASSET MGMT CO               MID-AMERICA EXPOSITIONS INC
TRACY MUNNO                                ONE PARKVIEW PLAZA 9TH FL 276          7015 SPRING ST.
7601 S. CICERO AVENUE                      OAKBROOK TERRACE, IL 60181             OMAHA, NE 68106
CHICAGO, IL 60652




MID-AMERICA MANAGEMENT CORP.               MID-AMERICA REAL ESTATE - MINNESOTA,   MID-AMERICA REAL ESTATE - MINNESOTA,
3333 RICHMOND ROAD, SUITE 350              LLC                                    LLC
BEACHWOOD, OH 44122                        530 SOUTH FRONT STREET, SUITE 100      ATTN: KRISTIN BARTISH
                                           MANKATO, MN 56001                      5353 WAYZATA BOULEVARD, SUITE 650
                                                                                  MINNEAPOLIS, MN 55416



MID-AMERICA REAL ESTATE - WISCONSIN,       MID-AMERICA REAL ESTATE - WISCONSIN,   MID-AMERICA REAL ESTATE - WISCONSIN,
LLC                                        LLC                                    LLC
ATTN: KEVIN DEXTER                         ATTN: TERA GREENLAND                   ATTN: TERA GREENLAND
ONE PARKVIEW PLAZA, 9TH FLOOR              600 N. PLANKTON AVENUE, SUITE 301      600 N. PLANKTON AVENUE, SUITE 301
MILWAUKEE, WI 53203                        MILWAUKEE, WI 53203                    MILWAUKEE, WI 63203



MIDAMERICAN ENERGY CO                      MIDAMERICAN ENERGY CO                  MIDAMERICAN ENERGY CO.
666 GRAND AVENUE                           P.O. BOX 8020                          P.O. BOX 8020
STE 500                                    DAVENPORT, IA 52808-8020               DAVENPORT, IA 52808-8020
DES MOINES, IA 50309
MID-ATLANTIC PETROLEUMCase 18-12241-CSS
                       PROPERTIES           Doc 26
                                     MID-ATLANTIC     Filed PROPERTIES,
                                                  PETROLEUM 10/05/18         PageMID-ATLANTIC
                                                                                  1139 of 1739REAL ESTATE INVESTMENTS
LLC                                  LLC                                          INC
LINDA SANDWICK                       LINDA SANDWICK                               9161 LIBERIA AVE STE 201
9101 RIVER ROAD                      9101 RIVER ROAD                              MANASSAS, VA 20110
POTOMAC, MD 20854                    POTOMAC, MD 20854



MID-ATLANTIC REAL ESTATE INVESTMENTS,   MIDCITIES INVESTMENT GROUP LLC            MIDDLE TENNESSE ELECTRIC MEMB
INC.                                    ATTN: JOSEPH WHELAN                       P.O. BOX 220
9161 LIBERIA AVENUE, SUITE 201          16582 FLEUR DE LIS WAY                    LEBANON, TN 37088-0220
MANASSAS, VA 20110                      DELRAY BEACH, FL 33446




MIDDLE TENNESSEE ELECTRIC               MIDDLE TENNESSEE ELECTRIC                 MIDDLE TENNESSEE EMC
555 NEW SALEM HIGHWAY                   P.O. BOX 330008                           555 NEW SALEM HIGHWAY
MURFREESBORO, TN 37129                  MURFREESBORO, TN 37133-0008               MURFREESBORO, TN 37129




MIDDLE TENNESSEE EMC                    MIDDLE VILLAGE ASSOCIATES, LLC            MIDDLEBROOK PROPERTIES LLC
P.O. BOX 330008                         C/O PERGAMENT INVESTMENTS INC.            PO BOX 32309
MURFREESBORO, TN 37133-0008             95 FROEHLICH FARM BLVD                    KNOXVILLE, TN 37930-2309
                                        WOODBURY, NY 11797




MIDDLEBURY ASSOCIATES, LLC              MIDDLEBURY ASSOCIATES, LLC                MIDDLESEX WATER CO
31 HOPKINS ROAD, SUITE 100              31 HOPKINS ROAD, SUITE 100                1500 RONSON RD
MYRON M HUNT, INC                       MYRON M HUNT, INC                         ISELIN, NJ 08850
ATTN: SUSAN MAUE                        ATTN: SUSAN MAUE
AMHERST, NY 14221                       BUFFALO, NY 14221



MIDDLESEX WATER CO                      MIDDLESEX WELDING SALES CO INC            MIDDLESEX WELDING SALES CO INC
P.O. BOX 826538                         2843 US ROUTE ONE SOUTH                   PO BOX 7197
PHILADELPHIA, PA 19182-6538             PO BOX 7197                               NORTH BRUNSWICK, NJ 08902-7197
                                        NO BRUNSWICK, NJ 08902-7197




MIDDLETON MANAGEMENT                    MIDDLETON                                 MIDDLETOWN I RESOURCES LP
19035 W CAPITOL DRIVE, SUITE 108        ATTN: PROPERTY TAX DEPT.                  NATIONAL REALTY & DEVEL. CORP
BROOKFIELD, WI 53045                    1 DONHAM PLAZA                            3 MANHATTANVILLE RD STE 202
                                        MIDDLETOWN, OH 45042                      PURCHASE, NY 10577




MIDDLETOWN SEWER AUTHORITY              MIDDLETOWN SEWER AUTHORITY                MIDDLETOWN
100 BEVERLY WAY                         P.O. BOX 9                                ATTN: PROPERTY TAX DEPT.
PO BOX 205                              LIMA, PA 19037                            P.O. BOX 740402
BELFORD, NJ 07718                                                                 CINCINNATI, OH 45274-0402




MIDLAND ATLANTIC DEVELOPMENT            MIDLAND CENTRAL APPRAISAL DISTRICT        MIDLAND DAILY NEWS
COMPANY                                 TAX COLLECTOR                             C/O THE PIONEER GROUP
8044 MONTGOMERY RD SUITE 710            PO BOX 908002                             115 N MICHIGAN AVE
CINCINNATI, OH 45236                    MIDLAND, TX 79708-0002                    BIG RAPIDS, MI 49307




MIDLAND MARKETING INC DBA FUN           MIDLAND PUBLISHING CO LLC                 MIDLAND REPORTER TELEGRAM
SERVICES                                124 S MCDONALD ST                         PO BOX 80074
12345 HURON ST                          MIDLAND, MI 48640                         PRESCOTT, AZ 86304-8074
WESTMINSTER, CO 80234
MIDLAND RIVERS I LLC Case      18-12241-CSS    Doc
                                         MIDLAND    26 LLCFiled 10/05/18
                                                 TRYON                        PageMIDLAND
                                                                                   1140 ofTYRION,
                                                                                            1739LLC
8044 MONTGOMERY RD STE 710                C/O CENTREX PROPERTIES, INC.             C/O CENTREX PROPERTIES, INC.
CINCINNATI, OH 45236                      4040 ED DRIVE, SUITE 201                 4040 ED DRIVE, SUITE 201
                                          RALEIGH, NC 27612                        RALEIGH, NC 27612




MIDLAND                                   MIDLANDS NEWSPAPERS INC                  MIDLOTHIAN TOWNE CROSSING LP
ATTN: PROPERTY TAX DEPT.                  DBA WACO TRIBUNE HERALD                  ATTN: KELLY SIATER
P.O. BOX 1647                             PO BOX 2588                              16000 DALLAS PKWY STE 300
MIDLAND, MI 48641-1647                    WACO, TX 76702-2588                      DALLAS, TX 75248




MIDLOTHIAN TOWNE CROSSING, L.P.           MIDLOTHIAN TOWNE CROSSING, L.P.          MID-SOUTH EMERGENCY LIGHT SERVICE
ATTN: KELLY SIATER                        ATTN: KEVIN SENDREY                      8885 GOODMAN RD
16000 DALLAS PKWY STE 300                 16000 DALLAS PKWY STE 300                OLIVE BRANCH, MS 38654
DALLAS, TX 75248                          DALLAS, TX 75248




MIDSTATE AIR COMPRESSOR INC               MIDSTATE SECURITY CO LLC                 MIDVALLEY NEWSPAPERS
                                          5975 CROSSROADS COMMERCE PKWY            C/O LEE NEWSPAPERS
                                          WYOMING, MI 49519                        PO BOX 742548
                                                                                   CINCINNATI, OH 45274-2548




MIDWAY LBJ PARTNERS LTD                   MIDWAY OFFICE PARK LLC                   MIDWAY PROPERTIES
CO HENRY S MILLER MULTI MGMT              2030 MAIN ST STE 800                     8424 EVERGREEN LN
5001 SPRING VALLEY RD LB 12W              DALLAS, TX 75201                         DARIEN, IL 60561
DALLAS, TX 75244




MIDWAY PROPERTY MTG                       MIDWAY SERVICES UTILITIES BILLING        MIDWAY UTILITY SERVICES INC
WOODRIDGE SHOPS LLC                       DVISION                                  4677 118TH AVENUE NORTH
8424 EVERGREEN LN                         4685 118TH AVENUE NORTH                  CLEARWATER, FL 33762
DARIEN, IL 60561                          CLEARWATER, FL 33762-4444




MIDWAY UTILITY SERVICES INC               MIDWAY WATER SYSTEM INC                  MIDWAY WATER SYSTEM INC
4685 118TH AVENUE                         4971 GULF BREEZE PARKWAY                 4971 GULF BREEZE PKWY
CLEARWATER, FL 33762                      GULF BREEZE, FL 32563-9286               GULF BREEZE, FL 32563




MIDWAY WATER SYSTEM INC                   MIDWEST CAPITAL MNGMNT LLC               MIDWEST COMMUNICATIONS INC
4971 GULF BREEZE PKWY                     PO BOX 174                               904 GRAND AVE
HAROLD, FL 32563                          HAZEL HURST, WI 54531                    WAUSAU, WI 54403




MIDWEST COMMUNICATIONS INC                MIDWEST COMMUNICATIONS                   MIDWEST FAMILY BROADCASTING
PO BOX 40506                              APPLETON/GREEN BAY                       2453 E ELM ST
NASHVILLE, TN 37204                       1420 BELLEVUE ST                         SPRINGFIELD, MO 65802
                                          GREEN BAY, WI 54311




MIDWEST FIRE PROTECTION INC               MIDWEST HORSE FAIR                       MIDWEST PEST CONTROL WI LLC
14514 GROVER ST                           PO BOX 128                               530 W24670 SUNSET DR STE 302
OMAHA, NE 68144                           COLUMBUS, WI 53925                       WAUKESHA, WI 53189
                     Case 18-12241-CSS
MIDWEST PROTECTION SERVICES INC           Doc
                                    MIDWEST     26 Filed
                                             SECURITY      10/05/18
                                                      PRODUCTS INC.   PageMIDWEST
                                                                           1141 ofSHOWS
                                                                                   1739INC
4517 SOUTH 140TH ST                 PO BOX 1039                           PO BOX 737
OMAHA, NE 68137                     TOLEDO, OH 43697                      AUSTIN, MN 55912




MIDWEST TELEVISION INC               MIDWOOD MANAGEMENT CORP              MIDWOOD MANAGEMENT CORP
7677 ENGINEER RD                     430 PARK AVE STE 505                 430 PARK AVENUE, 2ND FLOOR
SAN DIEGO, CA 92111                  NEW YORK, NY 10022                   NEW YORK, NY 10022




MIDWOOD MANAGEMENT CORP              MIE PIGHEE                           MIE PIGHEE
NYC FIRE DEPT CHURCH ST STATION      10201 S. MAIN STREET                 10201 S. MAIN STREET
PO BOX 840                           HOUSTON, TX 77025                    HOUSTON, TX 77025
NEW YORK, NY 10008-0840




MIESHA ADAMS                         MIESHA PENA                          MIGDALIA HERNANDEZ
10201 S. MAIN STREET                 10201 S. MAIN STREET                 10770 SW 6TH ST 104A
HOUSTON, TX 77025                    HOUSTON, TX 77025                    MIAMI, FL 33174




MIGUEL ALVARADO                      MIGUEL ALVARADO                      MIGUEL ALVAREZ
10201 S. MAIN STREET                 10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                    HOUSTON, TX 77025




MIGUEL AROCHO                        MIGUEL ARROYOS                       MIGUEL BATISTA
10201 S. MAIN STREET                 10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                    HOUSTON, TX 77025




MIGUEL BATISTA                       MIGUEL CARDOZA                       MIGUEL CERQUEIRA
10201 S. MAIN STREET                 10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                    HOUSTON, TX 77025




MIGUEL DELOSSANTOS                   MIGUEL FLORES                        MIGUEL GARCIA
3651 PEGASUS DR STE 107              10201 S. MAIN STREET                 10201 S. MAIN STREET
BAKERSFIELD, CA 93308                HOUSTON, TX 77025                    HOUSTON, TX 77025




MIGUEL GERMAN ABREU                  MIGUEL LEGARRETA                     MIGUEL MARQUEZ
10201 S. MAIN STREET                 10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                    HOUSTON, TX 77025




MIGUEL NEIRA                         MIGUEL ORTEGA                        MIGUEL PALACIOS
10201 S. MAIN STREET                 10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                    HOUSTON, TX 77025
MIGUEL PAULINO          Case 18-12241-CSS
                                       MIGUELDoc 26
                                             TERSY       Filed 10/05/18   PageMIHALY
                                                                               1142 HORVATH
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MIHARA TRANSFER INC                    MIKA MEADS                             MIKAELA KIMBROUGH
41 KEAA ST                             10201 S. MAIN STREET                   10201 S. MAIN STREET
HILO, HI 96720                         HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE ABUDAYYA                          MIKE ALEJOS                            MIKE ANDRADE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE ARNOLD                            MIKE ARRIETA                           MIKE ASHBY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE BALLARD                           MIKE BEASLEY                           MIKE BERGSTROM
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE BILLETT                           MIKE BIRCH                             MIKE BLAKELY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   4920 W LYNNE LN
HOUSTON, TX 77025                      HOUSTON, TX 77025                      LAVEEN, AZ 85339




MIKE BLOOM                             MIKE BONTKOWSKI                        MIKE BOOKBINDER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE BORBON                            MIKE BRAY                              MIKE BROOKSHIRE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE BROWN                             MIKE CALDERON                          MIKE CHAVALIA
914 S CENTER ST 12                     4300 N MICHIGAN AVE                    10201 S. MAIN STREET
BLOOMINGTON, IL 61701                  MIAMI BEACH, FL 33140                  HOUSTON, TX 77025




MIKE CHRISTIE                          MIKE COMBEST                           MIKE CONLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
MIKE COONEY            Case 18-12241-CSS    Doc 26
                                      MIKE CUTLIP       Filed 10/05/18   PageMIKE
                                                                              1143  of 1739 DESROCHES
                                                                                  DESROCHES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE DIXON                            MIKE DIXON                              MIKE DONNELLY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE DYER                             MIKE DZURA                              MIKE EFE
10201 S. MAIN STREET                  2704 HIGHGROVE COURT                    10201 S. MAIN STREET
HOUSTON, TX 77025                     COLLEYVILLE, TX 76034                   HOUSTON, TX 77025




MIKE ERGAS                            MIKE ESTES                              MIKE FIELDS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE FLANAGAN                         MIKE FOSTER                             MIKE FOXX
2284 NE BARON CT                      10201 S. MAIN STREET                    10201 S. MAIN STREET
BEND, OR 97701                        HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE FRANCIS                          MIKE FRANK                              MIKE GALVAN
10201 S. MAIN STREET                                                          15715 KNAUFF RANCH CT
HOUSTON, TX 77025                                                             CYPRESS, TX 77429




MIKE GEOFFRION                        MIKE GLASER PLUMBING                    MIKE GLAUDE
10201 S. MAIN STREET                  1450 E BALLOW RD                        10201 S. MAIN STREET
HOUSTON, TX 77025                     SHELTON, WA 98584                       HOUSTON, TX 77025




MIKE GRAFF                            MIKE GUIOSE                             MIKE HAMMER
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE HATALA                           MIKE HICKEY                             MIKE HOGAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE HUBBARD                          MIKE HUGGER                             MIKE INGALLS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
MIKE JIANG              Case 18-12241-CSS     Doc 26
                                       MIKE JOHNSON       Filed 10/05/18    PageMIKE
                                                                                 1144  of 1739
                                                                                     JUSTICE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE KASPER                             MIKE KELLERMEYER                        MIKE KELLEY
3041 SOUTH WHITEPOST WAY                10201 S. MAIN STREET                    10201 S. MAIN STREET
EAGLE, ID 83616                         HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE KEYES                              MIKE KLEEN                              MIKE KRUSE
10201 S. MAIN STREET                    7027 NE SACRAMENTO ST                   10201 S. MAIN STREET
HOUSTON, TX 77025                       PORTLAND, OR 97213                      HOUSTON, TX 77025




MIKE LACY                               MIKE LAKIS                              MIKE LANDERS
10201 S. MAIN STREET                    STORE 603 ATTEN: MIKE 3012 S 31ST       10201 S. MAIN STREET
HOUSTON, TX 77025                       TEMPLE, TX 76502                        HOUSTON, TX 77025




MIKE LAVELLE                            MIKE LAZARUS LAZARUS                    MIKE LONG
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE LOPES                              MIKE MAGALLANES                         MIKE MANN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE MAPLES III                         MIKE MAPLES III                         MIKE MARRIE
43 WILLIAMS ST                          DBA SIGNS OF MINE                       22014 KATIE RIDGE LN
NEW BRITAIN, CT 06051                   43 WILLIAMS ST                          KATY, TX 77450
                                        NEW BRITAIN, CT 06051




MIKE MCCLURE                            MIKE MILLER                             MIKE MILLER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE MITCHELL                           MIKE MOBBERLEY                          MIKE MONTOYA
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE MURPHY                             MIKE MURRELL                            MIKE NANFITO
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
MIKE NELSON           Case    18-12241-CSS    Doc 26
                                        MIKE NORRIS       Filed 10/05/18   PageMIKE
                                                                                1145  of 1739
                                                                                    OLSON
4114 DAVID ST                           10201 S. MAIN STREET                   10201 S. MAIN STREET
CASTRO VALLEY, CA 94546                 HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE PASO                               MIKE PEARSON                           MIKE PIERCE
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE PILGRIM                            MIKE PINCKNEY                          MIKE POPE
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE POWELL                             MIKE PRAK                              MIKE PRATER
19245 FM 442                            DBA HUOYENG INVESTMENTS LLC            4301 N MARCLIFFE PL
BOLING, TX 77420                        14812 SE RIVERCREST DR                 BOISE, ID 83704
                                        VANCOUVER, WA 98683




MIKE PRICE                              MIKE RANGEL                            MIKE RASHID
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE RIDDLE                             MIKE ROBINETTE                         MIKE RODRIGUEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE RUSSELL                            MIKE SALTZMAN                          MIKE SALYER
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE SEDAGHATI                          MIKE SKOUFATOS                         MIKE SMITH-WESTBY
135 OCEANA DR EAST APT PH1C             10201 S. MAIN STREET                   10201 S. MAIN STREET
BROOKLYN, NY 11235                      HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE STEENSLAND-HAMBURGER               MIKE STEFANSKI                         MIKE STEVENS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MIKE STEVENSON                          MIKE STRICKLER                         MIKE SULLIVAN
10201 S. MAIN STREET                    9706 KINGS LINK CIRCLE
HOUSTON, TX 77025                       ROWLETT, TX 75089
MIKE SUMMERS           Case 18-12241-CSS     Doc 26
                                      MIKE TEEHEE        Filed 10/05/18   PageMIKE
                                                                               1146  of 1739
                                                                                   TOMMASIELLO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE TRAPPEN                           MIKE TURETSKY                           MIKE VIGLIO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE WILKERSON                         MIKE WILLIAMS                           MIKE WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKE ZAMANI                            MIKE ZELLER                             MIKE ZOOB
10201 S. MAIN STREET                   10201 S. MAIN STREET                    24941 HENDON ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       LAGUNA HILLS, CA 92653




MIKEL COOPER                           MIKEL MAGEE                             MIKEL WINKFIELD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKES AUTO                             MIKEY BARTUAH                           MIKEY CASTANEDA
56 WASHINGTON PKWY                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HICKSVILLE, NY 11801                   HOUSTON, TX 77025                       HOUSTON, TX 77025




MIKHAIL BRYAN                          MILA WIECZOREK-PEMBERTON                MILAGRO ANTHONY
10201 S. MAIN STREET                   221 NW 122ND ST APT 816                 10201 S. MAIN STREET
HOUSTON, TX 77025                      OKLAHOMA CITY, OK 73120                 HOUSTON, TX 77025




MILAGROS AVILES                        MILAM REAL ESTATE CAPITAL, LLC          MILAN VASILJEVIC
10201 S. MAIN STREET                   TY THAGGARD, MANAGING DIRECTOR          W182 58473 RACINE
HOUSTON, TX 77025                      250 W NOTTINGHAM, SUITE 410             MUSKEGO, WI 53150
                                       SAN ANTONIO, TX 78209




MILANKA SULEJIC                        MILCAH RAY                              MILDRED TAYLOR-OLU
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MILENA JOVANOVIC                       MILES HAYES                             MILES HINSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
MILES NIXON            Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      MILES SELMAR-TURNER                  PageMILES
                                                                                1147SHELTON
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




MILESTONE BORROWER LLC III             MILESTONE HOLDING LLC                   MILFORD BROWN
C/O THE KORNFLED COMPANIES LLP         DBA MILESTONE BORROWER LLC III          DBA BROWNS CUT AND TRIM
4601 DTC BLVD 300                      126 E 56TH ST 32 FL                     166 E LONGLEAF DR
DENVER, CO 80237                       NEW YORK, NY 10022                      SYLVESTER, GA 31791




MILFORD POST ASSOCIATES LLC            MILFORD POST ASSOCIATES, LLC            MILFORD POST ASSOCIATES, LLC
263 BOSTON POST RD                     200 BOSTON POST ROAD                    263 BOSTON POST RD
ORANGE, CT 06477                       ORANGE, CT 06477                        ORANGE, CT 06477




MILFORD SEWER DEPARTMENT               MILFORD SEWER DEPARTMENT                MILFORD WATER COMPANY
230 S MAIN ST                          P.O. BOX 644                            66 DILLA STREET
HOPEDALE, MA 01747                     MILFORD, MA 01757-0644                  MILFORD, MA 01757-1104




MILFORD WATER COMPANY                  MILITARY MARKET LLC                     MILITARY MARKET LLC
P.O. BOX 1343                          C/O MILAM REAL ESTATE CAPITAL LLC       P.O. BOX 100145
BRATTLEBORO, VT 05302-1343             250 W NOTTINGHAM STE 410                SAN ANTONIO, TX 78201-1455
                                       SAN ANTONIO, TX 78209




MILITARY MARKET LLC                    MILKIN FAMILY INVESTMENTS L.L.C.        MILL BRIDGE CONSTRUCTION INC
PO BOX 100145                          6204 MANAFORD CIRCLE                    PO BOX 705
SAN ANTONIO, TX 78201-1455             GLEN ALLEN, VA 23059                    MIDDLEBURY, VT 05753




MILL CREEK DEI, LLC                    MILL CREEK INVESTORS LLC                MILLEDGEVILLE ASSOCIATES LP
C/O DAHLEM REALTY COMPANY, INC.        C/O MDC INC.                            C/O FIRST COLONY FINANCIAL CORP
1531 ORMSBY STATION CT.                11401 STRANG LINE ROAD                  8100 ROSWELL RD STE 201
LOUISVILLE, KY 40223                   LENEXA, KS 66215                        ATLANTA, GA 30350-2803




MILLEDGEVILLE ASSOCIATES, L.P.         MILLENNIUM ATLANTIC CITY ASSET HOLDCO   MILLENNIUM VENTURE GROUP INC
C/O FIRST COLONY FINANCIAL CORP        LLC                                     C/O CONFLUENT DEVELOPMENT
8100 ROSWELL RD, SUITE 201             PO BOX 28055                            2240 BLAKE STREET, SUITE 200
ATLANTA, GA 30350-2803                 NEW YORK, NY 10087-8055                 DENVER, CO 80205




MILLENNIUM VENTURE GROUP, INC.         MILLER & MARTIN, PLLC                   MILLER CONSULTING INC
C/O CONFLUENT DEVELOPMENT              ATTN: EVAN A. ALLISON, ESQ.             ATTN: VAN MILLER
2240 BLAKE STREET, SUITE 200           832 GEORGIA AVENUE, SUITE 1000          1155 CAMINO DEL MAR 124
DENVER, CO 80205                       CHATTANOOGA, TN 37402                   DEL MAR, CA 92014




MILLER FAMILY LIMITED PARTNERSHIP IV   MILLER FAMILY LP IV                     MILLER GROSSBARD ADVISORS LLP
L.P.                                   213 HALLOCK ROAD, SUITE 2               2204 LOUISIANA ST 2ND FL
215 HALLOCK RD STE 1A                  STONY BROOK, NY 11790                   HOUSTON, TX 77002
STONY BROOK, NY 11790
MILLER INJURY ATTORNEYSCase     18-12241-CSS
                                          MILLER Doc
                                                 NASH 26  Filed
                                                      GRAHAM     10/05/18
                                                             & DUNN LLP      PageMILLER
                                                                                  1148 PRO
                                                                                        of 1739
                                                                                            AUDIO LLC
881 EMBARCADERO DR., STE 1                 111 SW 5TH AVE., STE 3400              2002 W OSAGE RD
EL DORADO HILLS, CA 95762                  PORTLAND, OR 97204                     DUNCAN, OK 73533




MILLER REAL ESTATE INVESTMENTS             MILLER RECYCLING CORPORATION           MILLER RECYCLING CORPORATION
6900 W. BELLEVIEW AVENUE, SUITE 300        73 PLYMOUTH ST                         P.O. BOX 74
GREENWOOD VILLAGE, CO 80111                MANSFIELD, MA 02048                    MANSFIELD, MA 02048




MILLER, NIKA                               MILLER, NIKA, EMI BRUEMMER, ET AL.     MILLER/WEINER COMMUNICATIONS
P.O. BOX 59519                             C/O BLUMENTHAL NORDREHAUG BHOWMIK      7004 BOULEVARD E STE 25E
SAN JOSE, CA 95159                         DE BLOUW LLP                           GUTTENBERG, NJ 07093
                                           ATTN: SAM VAHEDI
                                           1180 SOUTH BEVERLY DRIVE, SUITE 610
                                           LOS ANGELES, CA 90035


MILLERVILLE PARTNERS LLC                   MILLIE ANN REID                        MILLS, JOSEPH
109 NORTHPARK BLVD, SUITE 300              10201 S. MAIN STREET                   1618 LE CONTE DR
COVINGTON, LA 70433                        HOUSTON, TX 77025                      BEAUMONT, CA 92223-3214




MILOSLAV TLAMICHA                          MILPITAS SANITATION INC                MILPITAS SANITATION INC
10201 S. MAIN STREET                       1080 WALSH AVENUE                      P.O. BOX 1738
HOUSTON, TX 77025                          SANTA CLARA, CA 95050                  SAN LEANDRO, CA 94577-0173




MILTON HERRERA AGUILAR                     MILTON JOHNSON                         MILTON MCKINNON
10201 S. MAIN STREET                       10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                      HOUSTON, TX 77025




MILTON SUAREZ                              MILTON WALTERS                         MILTON
10201 S. MAIN STREET                       10201 S. MAIN STREET                   ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                          HOUSTON, TX 77025                      2006 HERITAGE WALK
                                                                                  MILTON, GA 30004




MILWAUKEE RADIO ALLIANACE LLC              MILWAUKEE S.C. LLC                     MILWAUKEE
N72 W 12922 GOOD HOPE RD                   ATTN: CORT LEWIS                       ATTN: PROPERTY TAX DEPT.
MENOMONEE FALLS, WI 53051                  1075 SAXONY DRIVE                      PO BOX 78776
                                           HIGHLAND PARK, IL 60035-4073           MILWAUKEE, WI 53278-0776




MIMCO INC                                  MIMECAST NORTH AMERICA INC             MIMECAST NORTH AMERICA INC
ATTN: JOANNA ROSS                          480 PLEASANT ST STE C-10               DEPARTMENT CH 10922
6500 MONTANA AVE                           WATERTOWN, MA 02472                    PALATINE, IL 60055-0922
EL PASO, TX 79925




MIMI PEIGE                                 MIMI STEVENS                           MIND LEADERS
10201 S. MAIN STREET                       10201 S. MAIN STREET                   DEPT L 2987
HOUSTON, TX 77025                          HOUSTON, TX 77025                      COLUMBUS, OH 43260-2987
MINDA LEE            Case      18-12241-CSS    Doc 26
                                         MINDY BURGESS      Filed 10/05/18   PageMINDY
                                                                                  1149GUERRERO-VALADEZ
                                                                                       of 1739
985 MAR FREESBORO LAKE B2                 10201 S. MAIN STREET                   10201 S. MAIN STREET
NASHVILLE, TN 37217                       HOUSTON, TX 77025                      HOUSTON, TX 77025




MINDY HARPER                              MINDY LOPEZ                            MINDY SEATON
10201 S. MAIN STREET                      10201 S. MAIN STREET                   4716 W HARVEST WAY
HOUSTON, TX 77025                         HOUSTON, TX 77025                      NEW PALESTINE, IN 46163




MINER FLORIDA, LTD                        MINER FLORIDA, LTD                     MINER LTD
11827 TECH COM STE 115                    300 E SONTERRA BLVD STE 350            11533 S MAIN ST
SAN ANTONIO, TX 78233                     SAN ANTONIO, TX 78258                  HOUSTON, TX 77025




MINER LTD                                 MINER SOUTHWEST LLC                    MING & WIBLE CENTER LLC
OVERHEAD DOOR COMPANY OF HOUSTON          PO BOX 967                             C/O SAFCO CAPITAL CORP.
11533 S MAIN ST                           GRAPEVINE, TX 76099                    1850 S. SEPULVEDA BOULEVARD, SUITE 200
HOUSTON, TX 77025                                                                ATTN: PROPERTY MANAGEMENT
                                                                                 LOS ANGELES, CA 90025



MING & WIBLE CENTER, LLC                  MINH NGUYEN                            MINKOFF DEVELOPMENT CORPORATION
C/O SAFCO CAPITAL CORP.                   10201 S. MAIN STREET                   20457 SENECA MEADOWS PARKWAY
1850 S. SEPULVEDA BOULEVARD, SUITE 200    HOUSTON, TX 77025                      20457 SENECA MEADOWS PARKWAY
ATTN: PROPERTY MANAGEMENT                                                        GERMANTOWN, MD 20876
LOS ANGELES, CA 90025



MINNEAPOLIS FINANCE DEPT                  MINNEAPOLIS FINANCE DEPT               MINNESOTA CHILD SUPPORT PMT CTR
350 S. 5TH ST                             P.O. BOX 77028                         PO BOX 64306
ROOM 325M                                 MINNEAPOLIS, MN 55480-7728             SAINT PAUL, MN 55164
MINNEAPOLIS, MN 55415




MINNESOTA DEPARTMENT OF REVENUE           MINNESOTA DEPARTMENT OF REVENUE        MINNESOTA DEPT OF COMMERCE
ATTN: INCOME TAX DEPT.                    ATTN: SALES & USE TAX DEPT.            ATTN: UNCLAIMED PROPERTY DEPT.
MAIL STATION 4410                         PO BOX 64622                           85 7TH PLACE EAST SUITE 280
ST. PAUL, MN 55146-4410                   SAINT PAUL, MN 55164-0622              SAINT PAUL, MN 55101




MINNESOTA DEPT OF REVENUE                 MINNESOTA ENERGY RESOURCES             MINNESOTA ENERGY RESOURCES
600 N ROBERT ST.                          C/O WEC ENERGY GROUP                   P.O. BOX 19002
M/S 4130                                  231 W. MICHIGAN ST                     GREEN BAY, WI 54307-9002
SAINT PAUL, MN 551640622                  MILWAUKEE, WI 53203




MINNESOTA ENERGY RESOURCES                MINNESOTA REVENUE                      MINNESOTA STATE UNIVERSITY MANKATO
P.O. BOX 70022                            PO BOX 64622                           CAREER DEVELOPMENT CENTER
PRESCOTT, AZ 86304-7022                   SAINT PAUL, MN 55164-0622              209 WIGLEY ADMINISTRATION CENTER
                                                                                 MANKATO, MN 56001




MINNESOTA                                 MINNICK SIGNS                          MINNIES FOOD PANTRY
ATTN: BUSINESS LICENSE DEPT.              579 OAKFORD PARK RD                    3033 W. PARKER RD. STE 117
PO BOX 64622                              GREENSBURG, PA 15601                   PLANO, TX 75023
SAINT PAUL, MN 55164-0622
MINOO LAKANI             Case 18-12241-CSS    Doc 26 INCFiled 10/05/18
                                        MINOR COLERICK                        PageMINSON
                                                                                   1150 of 1739
                                                                                         CORPORATION
10201 S. MAIN STREET                     5309 W 99TH TERRACE                       1 MINSON WAY
HOUSTON, TX 77025                        OVERLAND PARK, KS 66207                   MONTEBELLO, CA 90640




MINUTE MEN INC                           MINUTEMAN INC                             MINUTEMAN PRESS
DEPT 781648                              230 N MAIN ST                             66-17 WOODHAVEN BLVD
PO BOX 78000                             MERIDIAN, ID 83642                        REGO PARK, NY 11374
DETROIT, MI 48278-1648




MIQUEL ALEXANDER                         MIRAMAR CENTRE ASSOCIATES II LLLP         MIRAMAR CENTRE ASSOCIATES II, LLLP
10201 S. MAIN STREET                     ATTN: ACCOUNTS PAYABLE                    ATTN: ACCOUNTS PAYABLE
HOUSTON, TX 77025                        1600 SAWGRASS CORP PKWY STE 400           1600 SAWGRASS CORP PKWY STE 400
                                         SUNRISE, FL 33323                         SUNRISE, FL 33323




MIRAMAR CENTRE ASSOCIATES II, LLLP       MIRAMAR CENTRE ASSOCIATES II, LLLP        MIRAMAR COMMERCIAL CENTER LTD
ATTN: LEGAL DEPARTMENT                   ATTN: MICHAEL FRIEDMAN                    5550 BALTIMORE DR 2ND FL
1600 SAWGRASS CORP PKWY STE 400          1600 SAWGRASS CORP PKWY STE 400           LAMESA, CA 91942
SUNRISE, FL 33323                        SUNRISE, FL 33323




MIRAMAR COMMERCIAL CENTER LTD            MIRAMAR PLAZA LTD                         MIRAMAR PLAZA, LTD.
HANKEN CONO ASSAD & CO INC               8799 BALBOA AVE 260                       8799 BALBOA AVE 260
5550 BALTIMORE DR 2ND FL                 SAN DIEGO, CA 92123                       SAN DIEGO, CA 92123
LAMESA, CA 91942




MIRAMAR PLAZA, LTD.                      MIRANDA HURD                              MIRANDA KUYKENDALL
C/O SPECTRUM PROPERTY MANAGEMENT         3328 W COUNTRY BLUFF RD                   10201 S. MAIN STREET
8733 BALBOA AVENUE                       SOUTH JORDAN, UT 84095                    HOUSTON, TX 77025
ATTN: KELLEY TELLESON
SAN DIEGO, CA 92123-1538



MIRANDA PROPERTIES                       MIRANDA RANDALL                           MIREX AQUAPURE SOLUTIONS
1024 OLD POST RD                         10201 S. MAIN STREET                      2105 SILBER RD STE 101
SOUTH PARK, PA 15129                     HOUSTON, TX 77025                         HOUSTON, TX 77055




MIREYA SANCHEZ                           MIRIAM BACA                               MIRIAM COLCHADO
10201 S. MAIN STREET                     10201 S. MAIN STREET                      99-11 62ND RD
HOUSTON, TX 77025                        HOUSTON, TX 77025                         REGO PARK, NY 11374




MIRIAM HERNANDEZ                         MIRIAM MCQUEEN                            MIRKO DJUROVIC
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




MIRZA GHAFFAR                            MISAEL CORTES                             MISERLY & KRAMER PA
10201 S. MAIN STREET                     30020 SW 143 CT                           ATTN: PAUL W. ANDERSON, ESQ
HOUSTON, TX 77025                        HOMESTEAD, FL 33033                       100 SOUTH FIFTH STREET, SUITE 1400
                                                                                   MINNEAPOLIS, MN 55402
MISHAWAKA UTILITIES    Case    18-12241-CSS    DocUTILITIES
                                         MISHAWAKA 26 Filed 10/05/18            PageMISHELLE
                                                                                     1151 ofMARTIN
                                                                                             1739
126 N CHURCH ST                          126 NORTH CHURCH STREET                    10201 S. MAIN STREET
P.O. BOX 363                             PO BOX 363                                 HOUSTON, TX 77025
MISHAWAKA, IN 46546-0363                 MISHAWAKA, IN 46544




MISHELLE MARTIN                          MISHON JONES                               MISSION LAKES I LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                       ATTN: NATHALIE J WINNICK
HOUSTON, TX 77025                        HOUSTON, TX 77025                          7900 GLADES RD STE 320
                                                                                    BOCA RATON, FL 33434




MISSION LAKES I, LLC                     MISSION LAKES I, LLC                       MISSION LAKES I, LLC
7900 GLADES ROAD, SUITE 320              ATTN: GARY KOOLIK                          ATTN: NATHALIE J WINNICK
ATTN: GARY KOOLIK                        7900 GLADES RD STE 320                     7900 GLADES RD STE 320
BOCA RATON, FL 33433                     BOCA RATON, FL 33433                       BOCA RATON, FL 33434




MISSION VALLEY SQUARE L.P.               MISSION VALLEY SQUARE L.P.                 MISSISSIPPI DEPARTMENT OF
C/O CEDAR REALTY GROUP                   CEDAR REALTY GROUP                         EMPLOYMENT SECURITY
7660-H FAY AVENUE, SUITE 521             7660-H FAY AVENUE, SUITE 521               PO BOX 22781
LA JOLLA, CA 92037                       LA JOLLA, CA 92037                         JACKSON, MS 39225




MISSISSIPPI DEPARTMENT OF REVENUE        MISSISSIPPI DEPT OF HUMAN SVCS (SDU)       MISSISSIPPI POWER CO
ATTN: SALES & USE TAX DEPT.              PO BOX 23094                               2992 WEST BEACH BLVD
PO BOX 1033                              JACKSON, MS 39225                          GULFPORT, MS 39501
JACKSON, MS 39215-1033




MISSISSIPPI POWER CO                     MISSISSIPPI STATE COMMISSION               MISSISSIPPI STATE TAX COMMISSION
P.O. BOX 245                             P.O. BOX 23075                             500 CLINTON CTR DR
BIRMINGHAM, AL 35201-0245                JACKSON, MS 39225-3075                     CLINTON, MS 39056




MISSISSIPPI STATE TAX COMMISSION         MISSISSIPPI STATE TAX COMMISSION           MISSISSIPPI STATE TAX COMMISSION
ATTN: BUSINESS LICENSE DEPT.             ATTN: UNCLAIMED PROPERTY DEPT.             PO BOX 22808
P.O. BOX 23075                           P.O. BOX 23075                             JACKSON, MS 392252808
JACKSON, MS 39225-3075                   JACKSON, MS 39225-3075




MISSOURI AMERICAN WATER                  MISSOURI AMERICAN WATER                    MISSOURI DEPARTMENT OF REVENUE
1025 LAUREL OAK ROAD                     P.O. BOX 94551                             ATTN: SALES & USE TAX DEPT.
VOORHEES, NJ 08043                       PALATINE, IL 60094-4551                    P O BOX 3020
                                                                                    JEFFERSON CITY, MO 65105-3020




MISSOURI DEPT OF REVENUE                 MISSOURI DIVISION OF EMPLOYMENT            MISSOURI GAS ENERGY
HARRY S TRUMAN STATE OFFICE BLDG         SECURITY                                   DRAWER 2
301 W HIGH ST, RM 102                    PO BOX 59                                  SAINT LOUIS, MO 63171
JEFFERSON CITY, MO 65101                 JEFFERSON CITY, MO 65104-0059




MISSOURI RE AND INSURANCE AGENCY         MISSOURI REAL ESTATE AND INSURANCE         MISSOURI REAL ESTATE AND INSURANCE
ATTN: NIKKI NEWINGHAM                    AGENCY INC                                 AGENCY
721 WEST MAIN ST                         PO BOX 122                                 ATTN: BRIAN PENDLETON
BELLEVILLE, IL 62222                     BELLEVILLE, IL 62222                       721 WEST MAIN STREET
                                                                                    BELLEVILLE, IL 62220
MISSOURI SECRETARY OFCase
                       STATE   18-12241-CSS    Doc
                                         MISSOURI   26 FAIR
                                                  STATE  Filed 10/05/18    PageMISSOURI
                                                                                1152 ofSTATE
                                                                                        1739TREASURER CLINT
600 W MAIN ST                             2503 W 16TH ST                        ZWEIFEL
JEFFERSON CITY, MO 65101                  SEDALIA, MO 65301                     ATTN: BUSINESS LICENSE DEPT.
                                                                                PO BOX 1272
                                                                                JEFFERSON CITY, MO 65102-1272



MISSOURI STATE TREASURER CLINT            MISSOURI STATE TREASURER CLINT        MISSOURI STATE TREASURER
ZWEIFEL                                   ZWEIFEL                               C/O UNCLAIMED PROPERTY DIVISION
ATTN: TAX DEPT.                           ATTN: UNCLAIMED PROPERTY DEPT.        PO BOX 1272
PO BOX 1272                               PO BOX 1272                           JEFFERSON CITY, MO 65102-1272
JEFFERSON CITY, MO 65102-1272             JEFFERSON CITY, MO 65102-1272



MISSY CRUMP                               MISSY DWIDAR                          MISSY FRIEL
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




MISSY PARTRIDGE                           MISSY TURNER                          MISTY BELLER
10201 S. MAIN STREET                      10201 S. MAIN STREET                  733 FLAMINGO DR
HOUSTON, TX 77025                         HOUSTON, TX 77025                     CLOVER, SC 29710




MISTY DOOLEY                              MISTY HIMES                           MISTY JOHNSON
10201 S. MAIN STREET                      404 WIXTOWN RD                        10201 S. MAIN STREET
HOUSTON, TX 77025                         WESTMORELAND, TN 37186                HOUSTON, TX 77025




MISTY WANN                                MISTY WHITTAKER                       MITCH BALTUCH
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




MITCH COSTNER                             MITCH COSTNER                         MITCH FRISHMAN
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




MITCH INC.                                MITCH WILLINGHAM                      MITCH, INC.
1343 ARMORY DR.                           10201 S. MAIN STREET                  1343 ARMORY DR.
FRANKLIN, VA 23851                        HOUSTON, TX 77025                     FRANKLIN, VA 23851




MITCHALL VISAGE                           MITCHEL LOOS                          MITCHELL ALVARADO
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025




MITCHELL BRACEY                           MITCHELL BUSHNELL                     MITCHELL CALDWELL
10201 S. MAIN STREET                      10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                     HOUSTON, TX 77025
MITCHELL COLLINS         Case 18-12241-CSS    Doc
                                        MITCHELL   26 Filed 10/05/18
                                                 COSTNER                  PageMITCHELL
                                                                               1153 ofGOLDMAN
                                                                                       1739
10201 S. MAIN STREET                     5426 DUMFRIES                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77096                    HOUSTON, TX 77025




MITCHELL GRAY                            MITCHELL GRAY                        MITCHELL GUZICK
10201 S. MAIN STREET                     10201 S. MAIN STREET                 W4838 28TH ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                    NECEDAH, WI 54646




MITCHELL HORTON                          MITCHELL JACQUART                    MITCHELL MYERS
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




MITCHELL NIESSEN                         MITCHELL ORTADO                      MITCHELL SANCHEZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




MITCHELL STEWART                         MITCHELL WALL                        MITCHELL WILLINGHAM
10201 S. MAIN STREET                     1805 W RAVEN DR                      8016 CHOCTAW LN
HOUSTON, TX 77025                        CHANDLER, AZ 85286                   MC KINNEY, TX 75070




MITEL NETSOLUTIONS INC.                  MITEL NETSOLUTIONS INC.              MITEL
P.O. BOX 53230                           PO BOX 975171                        350 LEGGET DR
PHOENIX, AZ 85072-3230                   DALLAS, TX 75397-5171                KANATA
                                                                              OTTAWA, ON K2K 2W7
                                                                              CANADA



MITEL                                    MITRATECH HOLDINGS INC               MITZ LEBLANC
P.O. BOX 53230                           5001 PLAZA ON THE LAKE STE 111       11901 4TH ST N.
PHOENIX, AZ 85072-3230                   AUSTIN, TX 78746                     APT4206
                                                                              ST. PETERBURG, FL 33716




MITZI LEBLANC                            MITZY CISNEROS                       MIYA ALAS
10201 S. MAIN STREET                     950 BROWNING LATE                    10201 S. MAIN STREET
HOUSTON, TX 77025                        ROCKLIN, CA 95765                    HOUSTON, TX 77025




MIYESHA SWAYNE                           MJ GILLESPIE                         MJ LOMBARDO
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




MJB PROPERTY MANAGEMENT                  MJJ TRUCKING LLC                     MJK RE HOLDING CO
MIKE BIVIANO, PM                         71 SOUTH ASHLYN DR                   790 ESTATE DR STE 100
1952 OCEAN STREET                        CLAYTON, NC 27527                    DEERFIELD, IL 60015
MARSHFIELD, MA 02050
MJK REAL ESTATE HOLDING Case  18-12241-CSS
                          COMPANY, LLC         Doc 26
                                        MJK/CRYSTAL        Filed
                                                     LAKE RE       10/05/18   PageMJM
                                                                                   1154  of 1739
                                                                                      GATEWAY TERRACE RE LLC
ATTN: JEFFREY D. SILVERMAN              790 ESTATE DR STE 100                      521 E MOREHEAD ST STE 100
790 ESTATE DRIVE, SUITE 100             DEERFIELD, IL 60015                        CHARLOTTE, NC 28202
DEERFIELD, TX 60015




MJM GATEWAY TERRACE RE LLC               MJM GATEWAY TERRACE RE LLC                MJQ PROPERTIES LLC
7501 FALLS OF NEUSE RD STE 200           PROVIDENCE GROUP MGMT SVCS                C/O SCOTT EDENS
RALEIGH, NC 27615                        521 E MOREHEAD ST STE 100                 1609 ELMENDORF STREET
                                         CHARLOTTE, NC 28202                       CHATTANOOGA, TN 37406




MJQ PROPERTIES, LLC                      MK PROPERTY SERVICES LLC                  MKT CONSULTING
ATTN: SCOTT EDENS                        LAURA FARMER, PROPERTY MANAGER            MARC K TSEU
1609 ELMENDORF STREET                    8124 FALLS AVENUE SE                      10388 SHELDON RD
CHATTANOOGA, TN 37406                    SNOQUALMIE, WA 98065                      ELK GROVE, CA 95624




ML BRADY LLC                             MLIVE MEDIA GROUP                         MLS WISCONSIN & ILLINOIS INC. DBA FISH
118 BRADY AVE                            DEPT 77571                                WINDOW CLEANING
SALEM, NH 03079                          PO BOX 77000                              28501 WILMOT RD 20
                                         DETROIT, MI 48277                         TREVOR, WI 53179




MLULEKI SIBANDA                          MMA                                       MNCO
10201 S. MAIN STREET                     219 SPEELMAN LN.                          P.O. BOX 677302
HOUSTON, TX 77025                        MONROEVILLE, PA 15146                     DALLAS, TX 75267-7302




MNP LLC                                  MNP, LLC                                  MO CHURN CREEK
ATTN: MITESH PATEL                       ATTN: MITESH PATEL                        PRESIDIO BANK
2913 NOBEL DR                            2913 NOBEL DR                             1850 MT DIABLO BLVD 200
CHAMPAIGN, IL 61822                      CHAMPAIGN, IL 61822                       WALNUT CREEK, CA 94596




MO SANTA ROSA LLC                        MO SANTA ROSA, LLC                        MO SANTA ROSA, LLC
FIRST REPUBLIC BANK A TRAN               1080 LASSEN DRIVE                         FIRST REPUBLIC BANK A TRAN
111 PINE ST 3RD FLOOR                    MENLO PARK, CA 94025                      111 PINE ST 3RD FLOOR
SAN FRANCISCO, CA 94111                                                            SAN FRANCISCO, CA 94111




MO YOUSIF                                MOBEGIC INC                               MOBFIRM LLC
10201 S. MAIN STREET                     DBA UNBOUND COMMERCE                      C/O ROBBINS PROPERTIES 1 LLC
HOUSTON, TX 77025                        20 SPEEN ST STE 201                       2200 21ST AVE S STE 309
                                         FRAMINGHAM, MA 01701                      NASHVILLE, TN 37212




MOBFIRM LLC                              MOBFIRM LLC                               MOBILE AREA WATER & SWR SYSTEM
C/O ROBBINS PROPERTIES 1 LLC             C/O ROBBINS PROPERTIES                    4725 MOFFETT ROAD
3100 W END AVE STE 1070                  3100 WEST END AVENUE, SUITE 1070          MOBILE, AL 36618
NASHVILLE, TN 37203                      NASHVILLE, TN 37203




MOBILE AREA WATER & SWR SYSTEM           MOBILE AREA WATER AND SEWER SYSTEM        MOBILE CO REV COMMISSIONER
P.O. BOX 830130                          P.O. BOX 830130                           PO BOX 1169
BIRMINGHAM, AL 35283-0130                BIRMINGHAM, AL 35283-0130                 MOBILE, AL 36633-1169
MOBILE COUNTY         Case    18-12241-CSS
                                        MOBILEDoc 26
                                              COUNTY       Filed 10/05/18      PageMOBILE
                                                                                    1155 GAS
                                                                                          of 1739
ATTN: PROPERTY TAX DEPT.                ATTN: SALES & USE TAX DEPT.                P.O. BOX 105001
PO DRAWER 161009                        PO DRAWER 161009                           ATLANTA, GA 30348-5001
MOBILE, AL 36616                        MOBILE, AL 36616




MOBILE MINI 1 INC                       MOBILE MINI INC.                           MOBILE MINI INC.
DBA MOBILE MINI TANK & PUMP             7420 S KYRENE RD STE 101                   P.O. BOX 740773
4646 E VAN BUREN ST STE 400             TEMPE, AZ 85283-4610                       CINCINNATI, OH 45274-0773
PHOENIX, AZ 85008




MOBILE MINI                             MOBILE MINI                                MOBILE MINI, INC.
P.O. BOX 7144                           PO BOX 650882                              P.O. BOX 79149
PASADENA, CA 91109-7144                 DALLAS, TX 75265-0882                      PHOENIX, AZ 85062-9149




MOCKINGBIRD/CENTRAL PLAZA LTD           MOCKINGBIRD/CENTRAL PLAZA, LTD             MODERN LUXURY
C/O VENTURE COMMERCIAL MGMT LLC         C/O VENTURE COMMERCIAL MGMT LLC            DM LUXURY LLC
8383 PRESTON CENTER PLAZA DR STE 330    8383 PRESTON CENTER PLAZA DR STE 330       3280 PEACHTREE RD NE SUITE 2300
DALLAS, TX 75225                        DALLAS, TX 75225                           CHICAGO, IL 60689-5334




MODERN LUXURY                           MODERN MARKETING CONCEPTS DBA              MODESTO IRRIGATION DISTRICT
DM LUXURY LLC                           CROSLEY BRANDS                             1231 11TH STREET
3464 MOMENTUM PLACE                     8600 SOLUTION CENTER                       MODESTO, CA 95352
CHICAGO, IL 60689-5334                  CHICAGO, IL 60677-8006




MODESTO IRRIGATION DISTRICT             MODIS INC                                  MODULAR SPACE CORPORATION
P.O. BOX 5355                           DEPT CH 10682                              12603 COLLECTIONS CENTER DRIVE
MODESTO, CA 95352-5355                  PALATINE, IL 60055-0682                    CHICAGO, IL 60693-0126




MODUS FURNITURE INTERNATIONAL           MODUS FURNITURE INTERNATIONAL              MODUS FURNITURE INTL INC
5410 MCCONNELL AVE                      DEPT. LA 23052                             5410 MCCONNELL AVE
LOS ANGELES, CA 90066                   PASADENA, CA 91185-3052                    LOS ANGELES, CA 90066




MODWAY FURNITURE                        MODWAY                                     MODY CAPITAL LLC
PO BOX 21082                            138 GEORGES RD                             6808 HORNWOOD DR
NEW YORK, NY 10087-2130                 DAYTON, NJ 08810                           HOUSTON, TX 77074




MODY CAPITAL, LLC                       MOE COUCH                                  MOENEEK THORNES
ATTN: MIHIR MODY                        10201 S. MAIN STREET                       10201 S. MAIN STREET
6808 HORNWOOD DRIVE                     HOUSTON, TX 77025                          HOUSTON, TX 77025
HOUSTON, TX 77074




MOES HOME COLLECTION INC                MOFFATT THOMAS BARRETT ROCK &              MOHAK RAYAMAJHJ
18621 89TH PLACE S                      FIELDS, CHTD,                              4917 SILVERCREST CT
KENT, WA 98032                          ATTN: LEE RADFORD                          ANTIOCH, CA 94531
                                        900 PIER VIEW DRIVE, SUITE 206
                                        IDAHO FALLS, ID 83402-4972
MOHAMED BELAL          Case 18-12241-CSS   Doc
                                      MOHAMED   26
                                              KHAN      Filed 10/05/18   PageMOHAMMAD
                                                                              1156 of 1739
                                                                                       ABUALI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




MOHAMMAD HASHIM                       MOHAMMAD KHATTAP                        MOHAMMAD NAZIHI
10201 S. MAIN STREET                  4117 LAKE RUSSEL DR                     10201 S. MAIN STREET
HOUSTON, TX 77025                     FLORENCE, SC 29501                      HOUSTON, TX 77025




MOHAMMAD RIZVI                        MOHAMMAD SHEIKH                         MOHAMMAD ZIA ZAMIRY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




MOHAMMED ATERHZAZ                     MOHAMMED FAISAL                         MOHAMMED KHALIL HAFETH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    200 TALLOW BOX DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                       ROSWELL, GA 30076




MOHAMMED MOIZUDDIN                    MOHAMMED QUAYUM                         MOHAMMED UDDIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




MOHAMMOD ROHMAN                       MOHAVE COUNTY TREASURER                 MOHAVE ELECTRIC COOPERATIVE INC
10201 S. MAIN STREET                  PO BOX 712                              PAYMENT PROCESSING CENTER
HOUSTON, TX 77025                     KINGMAN, AZ 86402                       P.O. BOX 52091
                                                                              PHOENIX, AZ 85072-2091




MOHAVE ELECTRIC COOPERATIVE           MOHAVE ELECTRIC COOPERATIVE             MOHAVE
928 HANCOCK RD                        P.O. BOX 52091                          ATTN: PROPERTY TAX DEPT.
BULLHEAD CITY, AZ 86442               PHOENIX, AZ 85072-2091                  PO BOX 712
                                                                              KINGMAN, AZ 86402




MOHSIN RIZVI                          MOINIER TRUCKING INC                    MOIRA CATER
10201 S. MAIN STREET                  17220 NW 53 AVE                         10201 S. MAIN STREET
HOUSTON, TX 77025                     MIAMI GARDEN, FL 33055                  HOUSTON, TX 77025




MOISES LUGO                           MOISES ORTIZ                            MOISES PROPERTY LLC
10201 S. MAIN STREET                  1212 CARDINA                            C/O ROBERT TARABOULOS CPA
HOUSTON, TX 77025                     COLLEGE STATION, TX 77840               9300 S DADELAND BLVD STE 600
                                                                              MIAMI, FL 33156




MOISES PROPERTY, LLC                  MOISES PROPERTY, LLC                    MOLLIE BLANCHARD
C/O ROBERT TARABOULOS CPA             C/O ROBERT TARABOULOS CPA               6444 N PENIEL AVE 85
9300 S DADELAND BLVD STE 600          9300 S DADELAND BLVD STE 600            OKLAHOMA CITY, OK 73132
MIAMI, FL 33131                       MIAMI, FL 33156
MOLLY ALLEN MCLEISH Case   18-12241-CSS    Doc 26 Filed 10/05/18
                                     MOLLY BANGOCHEA                PageMOLLY
                                                                         1157BLOCKER
                                                                              of 1739
3307 N WELLINGTON PLACE              4597 RIDGEGATE DR                  10201 S. MAIN STREET
SPOKANE, WA 99205                    DULUTH, GA 30097                   HOUSTON, TX 77025




MOLLY EVOLA                          MOLLY FISHER                       MOLLY HARRILL
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




MOLLY HARRIS                         MOLLY MARTIN                       MOLLY MONTGOMERY
10201 S. MAIN STREET                 10201 S. MAIN STREET               11945 BARSTOOL ST
HOUSTON, TX 77025                    HOUSTON, TX 77025                  VALLEY VILLAGE, CA 91607




MOLLY PETERSON                       MOLLY REBECCA HARTRICH             MOLLY SHULTZ
10201 S. MAIN STREET                 1752 W RASCHER AVE 2               10201 S. MAIN STREET
HOUSTON, TX 77025                    CHICAGO, IL 60640                  HOUSTON, TX 77025




MOLLY STAAB                          MOM IT FORWARD INC                 MOMENTUM BROADCASTING LP
10201 S. MAIN STREET                 PO BOX 1845                        PO BOX 1351
HOUSTON, TX 77025                    DRAPER, UT 84020                   VISALIA, CA 93279-1351




MON POWER                            MONA MARIE LANGAN                  MONA MENDONCA
P.O. BOX 3615                        6501 NW 19TH ST
AKRON, OH 44309-3615                 BETHANY, OK 73008




MONA NICHOLS                         MONADNOCK BROADCASTING GROUP       MONARCH SPECIALTIES INC
10201 S. MAIN STREET                 69 STANHOPE AVE                    4155 AUTOROUTE CHOMEDEY
HOUSTON, TX 77025                    KEENE, NH 03431                    LAVAL, PQ H7P 0A8
                                                                        CANADA




MONARCH SPECIALTIES INC              MONCEF BOUDHAIMI                   MONECA HERRING
4155 AUTOROUTE CHOMEDEY              10201 S. MAIN STREET               4325 COLLEGE AVE
LAVAL, PQ H7P0A8                     HOUSTON, TX 77025                  KANSAS CITY, MO 64130
CANADA




MONI MONI                            MONICA MORALES                     MONICA ANDERSON
10201 S. MAIN STREET                 14588 RAGUS ST                     10201 S. MAIN STREET
HOUSTON, TX 77025                    LA PUENTE, CA 91744                HOUSTON, TX 77025




MONICA BALLINGER                     MONICA BROWN                       MONICA COTTRELL
10201 S. MAIN STREET                 4809 WINDING LN APT G              10201 S. MAIN STREET
HOUSTON, TX 77025                    HIXSON, TN 37343                   HOUSTON, TX 77025
MONICA FLYNN           Case 18-12241-CSS
                                      MONICADoc  26 Filed 10/05/18
                                             JACKSON                 PageMONICA
                                                                          1158 of  1739
                                                                                KRIEGER
70 N CHURCH RD                         10201 S. MAIN STREET              10201 S. MAIN STREET
FRANKLIN, NJ 07416                     HOUSTON, TX 77025                 HOUSTON, TX 77025




MONICA KUDYBA                          MONICA LAU                        MONICA LEACH
10201 S. MAIN STREET                   17819 TRIBUNE ST                  1609 S HAWTHORNE AVE
HOUSTON, TX 77025                      GRANADA HILLS, CA 91344           SIOUX FALLS, SD 57105




MONICA MANLEY                          MONICA MARTINEZ                   MONICA MILLER
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MONICA MINNINGER                       MONICA MOYA CESTERO               MONICA PINZON-LUQUIS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MONICA ROMERO                          MONICA SANDOVAL                   MONICA SCHEUERMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MONICA THOMAS                          MONICA VOLTZ                      MONICA WERLEY
249 ARAPAHO ST                         10201 S. MAIN STREET              10201 S. MAIN STREET
VENTURA, CA 93001                      HOUSTON, TX 77025                 HOUSTON, TX 77025




MONICA WYNN                            MONIQUCIA SIMMONS                 MONIQUE BARTOLI
3717 RUGGED DR                         6207 NILE PLACE APT D             4300 SHERIDAN STREET APT 229
DALLAS, TX 75224                       GREENSBORO, NC 27409              HOLLYWOOD, FL 33021




MONIQUE CROOK                          MONIQUE MOORE                     MONIQUE REVELLE
10201 S. MAIN STREET                   10201 S. MAIN STREET              4109 AUDRAS WAY E 1223
HOUSTON, TX 77025                      HOUSTON, TX 77025                 FORT WORTH, TX 76116




MONIQUE RODRIGUEZ                      MONIQUE SAVALA                    MONIQUE WHITAKER
10201 S. MAIN STREET                   10201 S. MAIN STREET              6324 RIDGE MANOR DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                 MEMPHIS, TN 38115




MONNIE LLC                             MONNIE LLC                        MONOPOLY INC DBA EMI TRUCKING
ATTN: BARBARA BOROWEIG                 ATTN: BARBARA BOROWEIG            156 CLARK ST
926 BLACK HORSE PIKE                   926 BLACK HORSE PIKE              WEST BABYLON, NY 11704
MT. EPHRAM, NJ 08059                   MT. EPHRAM, NJ 08059
                     Case 18-12241-CSS
MONROE COUNTY FAIR ASSOCIATION      MONROEDoc   26 TAX
                                            COUNTY    Filed 10/05/18
                                                        COLLECTOR      PageMONROE
                                                                            1159 ofCOUNTY
                                                                                    1739TREASURER
3775 S CUSTER RD                    PO BOX 1129                            100 W KIRKWOOD AVE RM 204
MONROE, MI 48161                    KEY WEST, FL 33041                     BLOOMINGTON, IN 47404




MONROE RETAIL INVESTMENTS            MONROE SMITH                          MONROE STAFFING SERVICES LLC
C/O DAN LAVALLEY                     10201 S. MAIN STREET                  PO BOX 783043
5800 MONROE ST BLDG F                HOUSTON, TX 77025                     PHILADELPHIA, PA 19178-3043
SYLVANIA, OH 43560




MONROE                               MONROE                                MONROEVILLE MUNICIPAL AUTH
ATTN: PROPERTY TAX DEPT.             ATTN: PROPERTY TAX DEPT.              219 SPEELMAN LANE
P.O. BOX 69                          PO BOX 1129                           MONROEVILLE, PA 15146
MONROE, NC 28111-0069                KEY WEST, FL 33041




MONROEVILLE MUNICIPAL AUTH           MONROEVILLE MUNICIPAL AUTHORITY       MONSTER WORLDWIDE INC
P.O. BOX 6163                        219 SPEELMAN LANE                     FILE 70104
HERMITAGE, PA 16148-0922             MONROEVILLE, PA 15146-3903            LOS ANGELES, CA 90074-0104




MONSTER.COM                          MONTANA DEPARTMENT OF REVENUE         MONTANA DEPT OF REVENUE
PO BOX 90364                         ATTN: UNCLAIMED PROPERTY DEPT.        PO BOX 5805
CHICAGO, IL 60696-0364               PO BOX 5805                           HELENA, MT 59604-5805
                                     HELENA, MT 59604-5805




MONTANA DEPT OF REVENUE              MONTANA GANGWER                       MONTE GOLDEN
SAM W MITCHELL BLDG                  10201 S. MAIN STREET                  10201 S. MAIN STREET
125 N ROBERTS, 3RD FL                HOUSTON, TX 77025                     HOUSTON, TX 77025
HELENA, MT 59601




MONTE HILL                           MONTE MAGGARD                         MONTE VISTA CROSSINGS LLC
10201 S. MAIN STREET                 10201 S. MAIN STREET                  HALL EQUITIES GRP
HOUSTON, TX 77025                    HOUSTON, TX 77025                     1855 OLYMPIC BLVD STE 300
                                                                           WALNUT CREEK, CA 94596




MONTE VISTA WATER DIST.              MONTE VISTA WATER DISTRICT            MONTE VISTA WATER DISTRICT
P.O. BOX 71                          10575 CENTRAL AVENUE                  P.O. BOX 50000
MONTCLAIR, CA 91763-0071             MONTCLAIR, CA 91763                   ONTARIO, CA 91761-1077




MONTE VISTA WEST LLC                 MONTEREY COUNTY TAX COLLECTOR         MONTEREY NEWSPAPERS PARTNERSHIP
74637 ARROYO DR                      ATTN: PROPERTY TAX DEPT.              DBA THE MONTEREY COUNTY HERALD
INDIAN WELLS, CA 92210               P.O. BOX 891                          PO BOX 512289
                                     SALINAS, CA 93902-0891                LOS ANGELES, CA 90051-0289




MONTERRIO KING                       MONTEVIAN COCHRAN                     MONTEZ JACQUES
10201 S. MAIN STREET                 1018 HARBISON DR                      10201 S. MAIN STREET
HOUSTON, TX 77025                    COLUMBUS, GA 31903                    HOUSTON, TX 77025
MONTGOMERY ACQUISITION Case
                          LP   18-12241-CSS   Doc 26
                                         MONTGOMERY    Filed 10/05/18
                                                    ACQUISITION LP         PageMONTGOMERY
                                                                                1160 of 1739
                                                                                          ACQUISITION, LP
C/O WHARTON REALTY GROUP                 C/O WHARTON REALTY GROUP               C/O WHARTON REALTY GROUP, INC.
8 INDUSTRIAL WAY EAST 2ND FL             8 INDUSTRIAL WAY EAST 2ND FLOOR        8 INDUSTRIAL WAY EAST, 2ND FLOOR
ATTN: ISAAC MASSRY                       ATTN: ISAAC MASSRY                     ATTN: ISAAC MASSRY
EATONTOWN, NJ 07724                      EATONTOWN, NJ 07724                    EATONTOWN, NJ 07724



MONTGOMERY ADVERTISER                    MONTGOMERY ADVERTISER                  MONTGOMERY CO REV COMMISSIONER
425 MOLTON STREET                        PO BOX 677580                          PO BOX 4720
MONTGOMERY, AL 36104                     DALLAS, TX 75267-7580                  MONTGOMERY, AL 36102-1667




MONTGOMERY CO. TRUSTEE                   MONTGOMERY COSCIA GREILICH LLP         MONTGOMERY COUNTY AGRICULTURAL
TAX COLLECTOR                            2500 DALLAS PKWY STE 300               CENTER INC
P.O. BOX 1005                            PLANO, TX 75093                        16 CHESTNUT ST
CLARKSVILLE, TN 37041                                                           GAITHERSBURG, MD 20877-2403




MONTGOMERY COUNTY COMMISSION             MONTGOMERY COUNTY MUD 19               MONTGOMERY COUNTY TREASURER
TAX & AUDIT DEPARTMENT                   11111 KATY FWY STE 725                 755 ROANOKE ST STE 1B
PO BOX 4779                              HOUSTON, TX 77079-2197                 CHRISTIANSBURG, VA 24073-3171
MONTGOMERY, AL 35103-4779




MONTGOMERY COUNTY WATER SERVICES         MONTGOMERY COUNTY                      MONTGOMERY COUNTY
P.O. BOX 742598                          101 MONROE STREET                      350 PAGEANT LN STE 502
CINCINNATI, OH 45274-2598                2ND FL                                 CLARKSVILLE, TN 37040
                                         ROCKVILLE, MD 20850




MONTGOMERY COUNTY                        MONTGOMERY COUNTY                      MONTGOMERY COUNTY
ATTN: PROPERTY TAX DEPT.                 ATTN: SALES & USE TAX DEPT.            REVENUE COMMISIONER
400 N SAN JACINTO                        400 N SAN JACINTO                      PO BOX 4720
CONROE, TX 77301-2823                    CONROE, TX 77301-2823                  MONTGOMERY, AL 36103-4720




MONTGOMERY COUNTY-MD                     MONTGOMERY CROSSING ASSOCIATES         MONTGOMERY CROSSING ASSOCIATES
DEPT OF FINANCE-DIV OF TREASURY          C/O KAHN & CO.                         C/O KAHN & CO.
255 ROCKVILLE PIKE L-15                  580 VIRGINIA DRIVE, SUITE 100          580 VIRGINIA DRIVE, SUITE 100
ROCKVILLE, MD 20850-4153                 ATTN: JIM KAHN                         FORT WASHINGTON, PA 19034
                                         FORT WASHINGTON, PA 19034



MONTGOMERY CROSSING LLC                  MONTGOMERY CROSSING LLC                MONTGOMERY CROSSING, LLC
3535 WESTHEIMER RD STE 225               C/O WPW MANAGEMENT CORP                3535 WESTHEIMER RD STE 225
HOUSTON, TX 77027                        510 BERING DR STE 530                  HOUSTON, TX 77027
                                         HOUSTON, TX 77057




MONTGOMERY CROSSING, LLC                 MONTGOMERY TOWNSHIP                    MONTGOMERY WATER WORKS
C/O WPW MANAGEMENT CORP                  BUSINESS TAX OFFICE                    SEWER BOARD
510 BERING DRIVE, SUITE 530              PO BOX 5111001 STUMP RD                P.O. BOX 1670
HOUSTON, TX 77057                        MONTGOMERYVILLE, PA 18936              MONTGOMERY, AL 36102-1670




MONTGOMERY WATER WRKS SEWER BD           MONTGOMERY WATER WRKS SEWER BD         MONTICELLO MARKETPLACE ASSOC LLC
2000 INTERSTATE PARK DR                  P.O. BOX 1631                          PO BOX 3580
MONTGOMERY, AL 36109                     MONTGOMERY, AL 36102-1631              NORFOLK, VA 23514
MONTICELLO MARKETPLACE Case  18-12241-CSS
                         ASSOC LLC            Doc MARKETPLACE
                                       MONTICELLO  26 Filed 10/05/18
                                                              ASSOC LLC     PageMONTOMERY
                                                                                 1161 of 1739
                                                                                          COUNTY REVENUE
S.L. NUSBAUM REALTY CO                 S.L. NUSBAUM REALTY CO                   COMMISSIONER
PO BOX 3580                            PO BOX 3580                              PO BOX 4720
NORFOLK, VA 23514                      NORFOLK, VA 23514-3580                   MONTGOMERY, AL 36103-4720




MONTRAIL NEAL                          MONTRE BROWN                             MONTREL OGLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




MONTREUX LLC                           MONTROSE COUNTY TREASURER                MONTROSE
18304 NW MONTREUX DR                   PO BOX 609                               ATTN: PROPERTY TAX DEPT.
ISSAQUAH, WA 98027                     MONTROSE, CO 81402                       PO BOX 790
                                                                                MONTROSE, CO 81402




MONTVILLE STATION LLC                  MONTVILLE                                MONTY PETERSON
PO BOX 645471                          ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET
PITTSBURGH, PA 15264-5252              PO BOX 4179                              HOUSTON, TX 77025
                                       WOBURN, MA 01888-4179




MONUMENT PARKING COMPANY INC           MONUMENT WASTE SERVICES                  MONUMENT WASTE SERVICES
1828 L ST NW STE 501                   2295 SOUTH HIGHWAY 191                   P.O. BOX 3387
WASHINGTON, DC 20036                   MOAB, UT 84532                           GRAND JUNCTION, CO 81502




MONY LIFE INSURANCE COMPANY            MONY LIFE INSURANCE COMPANY              MOOD MEDIA
2801 HIGHWAY 280 S                     PO BOX 4713                              PO BOX 71070
BIRMINGHAM, AL 35223                   SYRACUSE, NY 13221-4713                  CHARLOTTE, NC 28272-1070




MOODY LAW GROUP, PLLC                  MOODY RAMBIN                             MOODYS INVESTORS SERVICE INC
ATTN: JOHN S. MOODY, JR.               ATTN: DIANE DALEO                        7 WORLD TRADE CENTER
3003 WEST ALABAMA                      3003 WEST ALABAMA                        250 GREENWICH ST
HOUSTON, TX 77098                      HOUSTON, TX 77024                        NEW YORK, NY 10007




MOODYS INVESTORS SERVICE               MOONEY STEET MANAGEMENT                  MOONEY STREET MANAGEMENT LLC
PO BOX 102597                          50 MOONEY ST                             50 MOONEY ST
ATLANTA, GA 30368-0597                 CAMBRIDGE, MA 02138                      CAMBRIDGE, MA 02138




MOORE & RUTT, P.A.                     MOORE & VAN ALLEN, PLLC                  MOORE COUNTY TAX DEPT
ATTN: DAVID N. RUTT, ESQ.              ATTN: JEFFREY W. GLENNEY, ESQ.           PO BOX 457
P.O. BOX 612                           100 NORTH TRYON STREET, SUITE 4700       CARTHAGE, NC 28327
MILFORD, DE 19963-0612                 CHARLOTTE, NC 28202




MOORE SORRENTO LLC                     MOORE TELEPHONE RD LLC                   MOORE WATER TREATMENT INC
1848 NORWOOD PLAZA STE 214             ATTN: TIM HUGHES                         241 N HYDRAULIC
HURST, TX 76054                        16000 DALLAS PRKWY STE 225               WICHITA, KS 67214
                                       DALLAS, TX 75248
MOORE, DOUGLAS         Case   18-12241-CSS   Doc 26
                                        MOORESVILLE     FiledLP
                                                    CROSSING  10/05/18    PageMORAE
                                                                               1162 GLOBAL
                                                                                    of 1739CORP
483 RAY ST                               3333 NEW HYDE PARK RD STE 100         DBA MORAE LEGAL
ROANOKE, VA 24019-8022                   NEW HYDE PARK, NY 11042               1000 LOUISIANA ST SUITE 6550
                                                                               HOUSTON, TX 77002




MORALES, JOSUE                           MOREDIRECT INC                        MOREHEAD PROPERTIES INC
11907 SUNNYSIDE DR                       DBA CONNECTION                        1043 E. MOREHEAD ST STE 301
BAYTOWN, TX 77523-0836                   PO BOX 536464                         CHARLOTTE, NC 28204
                                         PITTSBURGH, PA 15253-5906




MORGAN & MORGAN PA                       MORGAN BOOKER                         MORGAN CAMP
20 N ORANGE AVE SUITE 1600               10201 S. MAIN STREET                  10201 S. MAIN STREET
ORLANDO, FL 32801                        HOUSTON, TX 77025                     HOUSTON, TX 77025




MORGAN CHINN                             MORGAN CORP LLC SCO                   MORGAN COUNTY REVENUE
10201 S. MAIN STREET                     4985 YORK ST                          COMMISSIONER
HOUSTON, TX 77025                        DENVER, CO 80216                      PO BOX 696
                                                                               DECATUR, AL 35602




MORGAN E WILSON JR                       MORGAN GALOVIC                        MORGAN GRANT
10201 S. MAIN STREET                     16890 OAK MANOR DR                    10201 S. MAIN STREET
HOUSTON, TX 77025                        WESTFIELD, IN 46074                   HOUSTON, TX 77025




MORGAN HARRIS                            MORGAN HILL RETAIL VENTURE L.P        MORGAN HILL RETAIL VENTURE L.P.
313 KIMMERIDGE DR                        1556 PARKSIDE DRIVE                   100 SWAN WAY, SUITE 206
BATON ROUGE, LA 70815                    WALNUT CREEK, CA 94596                OAKLAND, CA 94621




MORGAN HILL RETAIL VENTURE L.P.          MORGAN LEWIS & BOCKIUS LLP            MORGAN LEWIS & BOCKIUS LLP
C/O BROWMAN DEVELOPMENT COMPANY,         1701 MARKET ST                        COUNSELORS AT LAW
INC.                                     PHILADELPHIA, PA 19103-2921           PO BOX 8500 S6050
1556 PARKSIDE DRIVE                                                            PHILADELPHIA, PA 19178-6050
WALNUT CREEK, CA 94596



MORGAN MEADOWS                           MORGAN MURPHY MEDIA SPOKANE           MORGAN PROPERTY GROUP
298 W WALNUT AVE                         QUEEN B RADIO INCORPORATED            ATTN: SCOTT FRIEDMAN
PAINESVILLE, OH 44077                    PO BOX 749842                         5900 N. ANDREWS AVENUE, SUITE 410
                                         LOS ANGELES, CA 90074-9842            FORT LAUDERDALE, FL 33301




MORGAN RAYMOND                           MORGAN RICHARD, L.L.C.                MORGAN SLIPPEY
10201 S. MAIN STREET                     ATTN: RICHARD B. HIMMELSTEIN          10201 S. MAIN STREET
HOUSTON, TX 77025                        0134 FOUR OCLOCK RUN ROAD             HOUSTON, TX 77025
                                         BRECKENRIDGE, CO 80424




MORGAN SMITH                             MORGAN SMITH                          MORGAN SPENCER
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025
MORGAN STANLEY CAPITALCase
                        I INC 18-12241-CSS
                                        MORGAN Doc  26 SMITH
                                                 STANLEY  FiledBARNEY
                                                                10/05/18      PageMORGAN
                                                                                   1163 ofSTARKE
                                                                                            1739
CMPTC SERIES 2007-HQ11 REMIC I          18167 US HIGHWAY 19 N                     10201 S. MAIN STREET
BANK OF AMERICA NA540 W MADISON ST      SUITE 580                                 HOUSTON, TX 77025
STE 1804                                CLEARWATER, FL 33764
CHICAGO, IL 60661



MORGAN STEVENS                          MORGAN TERRY                              MORGAN
601 84TH AVE NE                         10201 S. MAIN STREET                      ATTN: PROPERTY TAX DEPT.
SPRING LAKE PARK, MN 55432              HOUSTON, TX 77025                         PO BOX 696
                                                                                  DECATUR, AL 35602




MORGAN, LEWIS & BOCKIUS LLP             MORGANTON RETAIL INVESTMENT LLC           MORGANTOWN CROSSINGS LP
ATTN: MARC R. LEDUC                     550 LONG POINT RD                         PO BOX 69048
ONE FEDERAL STREET                      MOUNT PLEASANT, SC 29464                  BALTIMORE, MD 21264-9048
BOSTON, MA 02110-1726




MORGANTOWN CROSSINGS LP                 MORGANTOWN CROSSINGS, L.P.                MORGANTOWN CROSSINGS, L.P.
100 CROSSINGS BLVD                      C/O WOLFSON GROUP, INC.                   PO BOX 69048
ELVERSON, PA 19520                      120 WEST GERMANTOWN PIKE, SUITE 120       BALTIMORE, MD 21264-9048
                                        ATTN: STEVEN B. WOLFSON
                                        PLYMOUTH MEETING, PA 19462



MORGEN SMITH                            MORGUARD BOYNTON TOWN CENTER INC          MORGUARD BOYNTON TOWN CENTER INC.
10201 S. MAIN STREET                    PO BOX 919141                             C/O MORGUARD MANAGEMENT COMPANY
HOUSTON, TX 77025                       DALLAS, TX 75391-9141                     INC.
                                                                                  2542 WILLIAMS BOULEVARD
                                                                                  ATTN: LEASE ADMINISTRATOR
                                                                                  KENNER, LA 70062


MORGUARD MANAGEMENT COMPANY INC.        MORIAH ROTH                               MORIARITY BROWN GRIFFIN
2542 WILLIAMS BOULEVARD                 10201 S. MAIN STREET                      2201 PHILLIPS AVE
KENNER, LA 70062                        HOUSTON, TX 77025                         RACINE, WI 53403




MORNINGSIDE CROSSROADS PARTNERS         MOROCH PARTNERS INC                       MOROCH
LLC                                     3625 N HALL ST STE 1100                   3625 N HALL ST STE 1100
C/O CROSSRDS PARTNERS LLC               DALLAS, TX 75219                          DALLAS, TX 75219
1300 E WOODFIELD STE 150
SCHAUMBURG, IL 60173



MORONI LLC DBA BLDG.WORKS-USA           MORRELL PARTNERS LP C/O JUDY GILBERT      MORRELL PARTNERS LP
PO BOX 166828                           PROVIDENCE COMMERCIAL RET                 C/O JUDY GILBERT
IRVING, TX 75016-6828                   PO BOX 2568                               PROVIDENCE COMMERCIAL RET
                                        KNOXVILLE, TN 37901                       PO BOX 2568
                                                                                  KNOXVILLE, TN 37901



MORRELL PARTNERS LP                     MORRIS NICHOLS ARSHT & TUNNELL LLP        MORRIS NICHOLS ARSHT & TUNNELL LLP
P.O. BOX 2568                           1201 N MARKET ST 16TH FL                  PO BOX 1347
KNOXVILLE, TN 37901                     WILMINGTON, DE 19801                      WILMINGTON, DE 19899-1347




MORRIS PLAINS HOLDING UE LLC            MORRIS PLAINS HOLDING UE LLC              MORRIS PLAINS HOLDING UE LLC
1711 STATE ROUTE 10 EAST                C/O URBAN EDGE PROPERTIES                 PO BOX 645308
MORRIS PLAINS, NJ 07950                 210 ROUTE 4 EAST                          PITTSBURGH, PA 15264-5308
                                        ATTN: CHIEF OPERATING OFFICER
                                        PARAMUS, NJ 07652
MORRIS PUBLISHING GROUPCase   18-12241-CSS    Doc 26
                                        MORRISTOWN       Filed
                                                   UTILITY     10/05/18
                                                           COMMISSION     PageMORRISTOWN
                                                                               1164 of 1739
                                                                                         UTILITY COMMISSION
P.O. BOX 1486                            441 WEST MAIN STREET                  P.O. BOX 59012
AUGUSTA, GA 30903-1486                   MORRISTOWN, TN 37814                  KNOXVILLE, TN 37950-9012




MORRISTOWN UTILITY SYSTEMS               MORROW & SHEPPARD LLP                 MORTON VILLAGE REALTY CO INC
PO BOX 59012                             3701 KIRBY DR STE 840                 295 MADISON AVE 2ND FLOOR
KNOXVILLE, TN 37950-9012                 HOUSTON, TX 77098                     NEW YORK, NY 10017




MORTON VILLAGE REALTY CO. INC.           MORTON VILLAGE REALTY CO. INC.        MORTON VILLAGE REALTY CO., INC.
C/O PHILIPS INTL HOLDING CORP            1030 OLD COUNTRY ROAD                 C/O RIVKIN RADLER
295 MADISON AVE 2ND FLOOR                PLAINVIEW, NY 11803                   ATTN: DAVID GRILL
NEW YORK, NY 10017                                                             926 RXR PLAZA
                                                                               UNIONDALE, NY 11556-0926



MORTON VILLAGE REALTY LLC                MOSAIC CONSULTING GROUP               MOSBACHER PROPERTY GROUP
C/O PHILLIPS INTERNATIONAL HOLDING       2503 EUGENIA AVE                      18 EAST 48TH STREET, 19TH FLOOR
CORP.                                    NASHVILLE, TN 37211                   NEW YORK, NY 10017
295 MADISON AVE 2ND FLOOR
NEW YORK, NY 10017



MOSES MABELE                             MOSES MCGAHEE                         MOSS ADAMS LLP
10201 S. MAIN STREET                     10201 S. MAIN STREET                  PO BOX 748369
HOUSTON, TX 77025                        HOUSTON, TX 77025                     LOS ANGELES, CA 90074-8369




MOTA, STERLIN                            MOTION FORGE INC                      MOTION MILWAUKEE LLC
3535 95TH ST APT A8                      PO BOX 708                            802 N 109TH ST
JACKSON HEIGHTS, NY 11372-8507           CENTRAL CITY, CO 80427-0708           MILWAUKEE, WI 53214




MOTKUE BOWLES                            MOTORISTS MUTUAL INS. CO.             MOTT & PRINCE MANAGEMENT, INC.
10201 S. MAIN STREET                     C/O PAUL SCHOFIELD JR.                ATTN: BEI YE
HOUSTON, TX 77025                        850 WEST CHESTER PIKE 2055            6 BOWERY, 6TH FLOOR
                                         HAVERTOWN, PA 19083                   NEW YORK, NY 10013




MOTT & PRINCE MGMT INC                   MOUERHUSTON PC                        MOUNT LAUREL FIRE DEPARTMENT
6 BOWERY 6TH FL                          ATTN: ANDY MOUER                      69 ELBO LN
NEW YORK, NY 10013                       349 HEIGHT BLVD                       MOUNT LAUREL, NJ 08054
                                         HOUSTON, TX 77007




MOUNT LAUREL TOWNSHIP                    MOUNT LAUREL TWP MUA                  MOUNT LAUREL TWP MUA
100 MOUNT LAUREL RD                      1201 S CHURCH ST                      1201 SOUTH CHURCH STREET
MOUNT LAUREL, NJ 08054                   MT LAUREL, NJ 08054                   MOUNT LAUREL, NJ 08054




MOUNT LEBANON PA                         MOUNT PLEASANT SEWER UTILITY          MOUNT PLEASANT SWR UTIL DIST 1
JORDAN TAX SERV 102 RAHWAY RD.           8811 CAMPUS DR                        P.O. BOX 88105
MCMURRAY, PA 15317                       MOUNT PLEASANT, WI 53406              MILWAUKEE, WI 53288-0105
                      Case 18-12241-CSS
MOUNT PLEASANT WATERWORKS            MOUNT Doc    26 WATERWORKS
                                            PLEASANT  Filed 10/05/18      PageMOUNT
                                                                               1165 PROSPECT
                                                                                    of 1739 PUBL WORKS DEPT
1619 RIFLE RANGE ROAD                P.O. BOX 602832                           1700 W CENTRAL RD
MOUNT PLEASANT, SC 29464             CHARLOTTE, NC 28260-2832                  MOUNT PROSPECT, IL 60056-2229




MOUNT PROSPECT PUBL WORKS DEPT        MOUNTAIN ALARM DENVER                    MOUNTAIN BROADCASTING LLC
1700 WEST CENTRAL ROAD                PO BOX 12487                             4600 S REGAL ST
MT PROSPECT, IL 60056                 OGDEN, UT 84412-2487                     SPOKANE, WA 99223




MOUNTAIN MEDICAL GROUP LLC            MOUNTAIN PRAIRIE HOLDINGS LLC            MOUNTAIN STATES FIRE PROTECTION INC
1302 NE THIRD ST                      DBA APPRENTICE PERSONNEL                 1220 S. INCA ST
BEND, OR 97701                        PO BOX 6009                              DENVER, CO 80223
                                      COLORADO SPRINGS, CO 80934




MOUNTAIN WASTE & RECYCLING            MOUNTAIN WASTE & RECYCLING               MOUNTAINEER GAS CO
1058 COUNTY RD 100                    P.O. BOX 999                             414 SUMMERS ST
CARBONDALE, CO 81623                  CARBONDALE, CO 81623-0999                CHARLESTON, WV 25301




MOUNTAINEER GAS CO                    MOUNTAINEER GAS COMPANY                  MOUNTAINEER MATTRESS DBA MATTRESS
P.O. BOX 5656                         P.O. BOX 5656                            FIRM
CHARLESTON, WV 25361-0656             CHARLESTON, WV 25361-0656                2903 E BROW RD
                                                                               SIGNAL MOUNTAIN, TN 37377




MOUNTAINEER MATTRESS, LLC             MOURAD IBRAHIM                           MOVEABLE CUBICLE
2550 MOUNTAINEER BLVD                 10201 S. MAIN STREET                     6404 FALLS OF NEUSE RD SUITE 200
CHARLESTON, WV 25309                  HOUSTON, TX 77025                        RALEIGH, NC 27615




MOVING MANIA INC                      MOYRA MCLAUGHLIN                         MOZOS TRANSPORTATION LLC
2792 SUCRE AVE                        10208 STONEHAM AVE                       CO GILBERTO MOZO
HOLLYWOOD, FL 33026                   OKLAHOMA CITY, OK 73120                  3353 TOWNSHIP RD
                                                                               ANTIOCH, TN 37013




MP GREENVILLE LLC                     MP INVESTMENTS XI LLC                    MP SPARTANBURG LLC
2165 LOUISA DR                        ATTN: K.K. BARNARD                       2165 LOUISA DR
BELLEAIR BEACH, FL 33786              8884 FITNESS LN                          BELLEAIR BEACH, FL 33786
                                      FISHERS, IN 46037




MP SUBSIDIARY LLC                     MP SUBSIDIARY LLC                        MP SUBSIDIARY LLC
C/O CASTO SOUTHEAST REALTY SERVICES   C/O CASTO                                PO BOX 1450
LLC                                   250 CIVIC CENTER DRIVE, SUITE 500        COLUMBUS, OH 43216
5391 LAKEWOOD RANCH BOULEVARD,        ATTN: LEGAL DEPT./LEASING
SUITE 100                             COLUMBUS, OH 43215
ATTN: LEGAL DEPARTMENT
SARASOTA, FL 34240

MPAL LP                               MPAL, LP                                 MPC CORONA LP
ATTN: PAUL LEVY                       ATTN: PAUL LEVY                          195 S C STREET STE 250
333 N MICHIGAN AVE 1700               333 N MICHIGAN AVE 1700                  TUSTIN, CA 92780
CHICAGO, IL 60601                     CHICAGO, IL 60601
MPC CORONA, LP           Case    18-12241-CSS   Doc 26
                                           MPCR LLC          Filed 10/05/18       PageMPCR
                                                                                       1166LLC
                                                                                             of 1739
195 S. C STREET, SUITE 250                 C/O MJB PROPERTY MGMT                      C/O MJB PROPERTY MGMT
TUSTIN, CA 92780                           1952 OCEAN ST                              1952 OCEAN ST
                                           ATTN: MIKE BIVIANO                         ATTN: MIKE BIVIANO
                                           MARSHFIELD, MA 02050                       MARSHFIELD, MA 02050



MPELA IBOBO                                MPENDA THREADGILL                          MPG KERNERSVILLE LLC
10201 S. MAIN STREET                       624 38TH ST                                ATTN: MR. MYLES WILKINSON
HOUSTON, TX 77025                          RICHMOND, CA 94805                         7332 OFFICE PARK PLACE STE 101
                                                                                      MELBOURNE, FL 32940




MPG MOORESVILLE LLC                        MPI / MT. ZION PROMENADE, INC.             MPRP TRACT 3 LLC
ATTN: MR. MYLES WILKINSON                  P.O. BOX 861167                            C/O EDGEWOOD PROPERTIES INC
7332 OFFICE PARK PLACE STE 101             ORLANDO, FL 32886                          1260 STELTON RD
MELBOURNE, FL 32940                                                                   PISCATAWAY, NJ 08854




MPRP TRACT 3, LLC                          MPTC WV LLC                                MPV 2317 ASSOCIATES LLC
C/O EDGEWOOD PROPERTIES INC                PO BOX 29762                               521 E MOREHEAD ST STE 400
1260 STELTON RD                            NEW YORK, NY 10087-9762                    CHARLOTTE, NC 28203
PISCATAWAY, NJ 08854




MPV PROPERTIES                             MQ DEVELOPMENT                             MQ LAKEWOOD TWO LLC
2400 SOUTH BOULEVARD, SUITE 300            ATTN: SUSAN COOPER                         ATTN: SUSAN COOPER
CHARLOTTE, NC 28203                        14801 QUORUM DRIVE, SUITE 160              14801 QUORUM DRIVE, SUITE 160
                                           DALLAS, TX 75254                           DALLAS, TX 75254




MQ LAKEWOOD TWO LLC                        MQL-BEL LLC C/O CASSIDY TURLEY             MR & MRS CLD FAMILY TRUST UI
PO BOX 204590                              ATTN: BARBARA BEDWELL                      ATTN: JACQUELINE POLLVOGT
DALLAS, TX 75320-4590                      5250 VIRGINIA WAY STE 100                  721 EMERSON RD STE 200
                                           BRENTWOOD, TN 37027                        SAINT LOUIS, MO 63141




MR CHIME INC                               MR CICERO PLAZA LLC                        MR CICERO PLAZA LLC
2377 S EL CAMINO REAL STE 140              C/O BONNIE MGMT CORP                       8430 W BRYN MAWR AVE STE 850
SAN CLEMENTE, CA 92672                     8430 W BRYN MAWR AVE STE 850               CHICAGO, IL 60631
                                           CHICAGO, IL 60631-3448




MR CICERO PLAZA LLC                        MR CICERO PLAZA LLC                        MR FRENCH HOLDINGS
C/O BONNIE MGMT CORP                       C/O BONNIE MGMT CORP                       ATTN: CORNELIUS C. OBRIEN III, ESQ.
8430 W BRYN MAWR AVE STE 850               8430 W BRYN MAWR AVE STE 850               2 WEST BALTIMORE AVENUE, SUITE 320
CHICAGO, IL 60631                          CHICAGO, IL 60631-3448                     MEDIA, PA 19063




MR HANDYMAN OF GREATER GRAND RAPIDS        MR LIFT OF NY INC                          MR. TRASH
3850 29TH SE STE C                         620 D OLD MEDFORD AVE                      1108 SCHOOL AVE
GRAND RAPIDS, MI 49512-1836                PATCHOGUE, NY 11772                        PANAMA CITY, FL 32401




MRE EAST VILLAGE JV LLC DBA MRE EAST       MRE EAST VILLAGE JV LLC DBA MRE EAST       MRE EAST VILLAGE JV LLC
VILLAGE OWNER LLC                          VILLAGE OWNER LLC                          DBA MRE EAST VILLAGE OWNER LLC
C/O MARATHON ASSET MGMT LP                 C/O MARATHON REAL ESTATE                   C/O MARATHON ASSET MGMT LP
ONE BRYANT PK 38TH FL                      P.O. BOX 203128                            ONE BRYANT PK 38TH FL
NEW YORK, NY 10036                         DALLAS, TX 75320-3128                      NEW YORK, NY 10036
MRE EAST VILLAGE JV LLCCase 18-12241-CSS     Doc
                                      MRE EAST     26 JV
                                                VILLAGE Filed  10/05/18
                                                           LLC-DBA MRE EAST   PageMRF
                                                                                   1167  of 1739
                                                                                      PIPELINE LLC
DBA MRE EAST VILLAGE OWNER LLC        VILLAGE OWNER LLC                            C/O FRENCH-RING HOLDINGS, INC.
C/O MARATHON REAL ESTATE              C/O MARATHON REAL ESTATE                     62 ROSLYN AVE.
P.O. BOX 203128                       P.O. BOX 203128                              SEA CLIFF, NY 11579
DALLAS, TX 75320-3128                 DALLAS, TX 75320-3128



MRF PIPELINE, LLC                       MRIG COMMERCIAL BUILDING 1, LLC            MRK WEST PARK LLC
C/O FRENCH-RING HOLDINGS, INC.          C/O DRAKE ASSET MANAGEMENT LLC             3008 E HEBRON PKWY BLDG 300
62 ROSLYN AVE.                          7800 E. UNION AVENUE, SUITE 410            CARROLLTON, TX 75010
SEA CLIFF, NY 11579                     DENVER, CO 80237




MROD WILLOWBROOK LTD                    MROD WILLOWBROOK LTD                       MROD WILLOWBROOK LTD
C/O MOODY RAMBIN                        C/O MOODY RAMBIN                           MOODY RAMBIN
3003 WEST ALABAMA STREET                750 TOWN AND COUNTY BLVD STE 220           750 TOWN AND COUNTY BLVD STE 220
ATTN: DIANE DALEO                       HOUSTON, TX 77024                          HOUSTON, TX 77024
HOUSTON, TX 77024



MRP FAMILY HOLDINGS LLC                 MRPL RETAIL PARTNERS LTD                   MRPL RETAIL PARTNERS LTD
C/O PERGAMENT PROPERTIES                C/O MOODY RAMBLIN PROPERTY CO              C/O MOODY RAMBLIN PROPERTY CO
95 FROEHLICH FARM BLVD                  12850 MEMORIAL DR STE 1105                 12850 MEMORIAL DR STE 1105
WOODBURY, NY 11797                      HOUSTON, TX 77024                          HOUSTON, TX 77098




MS ACQUISITIONS LLC DBA MS CAVENESS     MS ACQUISITIONS LLC DBA MS CAVENESS        MS INLAND FUND LLC
CO MSP ENTERPRISES INC                  CO MSP ENTERPRISES INC                     2901 BUTTERFIELD RD
3930 MAX PLACE                          3930 MAX PLACE                             OAK BROOK, IL 60523
BOYNTON BEACH, FL 33326                 BOYNTON BEACH, FL 33436




MS INLAND FUND LLC                      MS WEST WEST                               MSCC REALTY LLC
RPAI SOUTHWEST MGMT LLC                 10201 S. MAIN STREET                       183 BOSTON POST RD
1421 PAYSPHERE CIRCLE                   HOUSTON, TX 77025                          WAYLAND, MA 01778
CHICAGO, IL 60674




MSCC REALTY LLC                         MSCC REALTY LLC                            MSF INC
C/O COMMERCE BANK                       C/O KEYPOINT PARTNERS, LLC                 DBA SIGNS OF LIFE
BOX 185-X                               ONE BURLINGTON WOODS DRIVE                 660 S TYLER CT
WORCESTER, MA 01614                     BURLINGTON, MA 01803                       CHANDLER, AZ 85226




MSKP MURDOCK LLC                        MSO INC                                    MSO INC
ATTN: ACCT RECEIVABLE PROPERTY 801      P.O. BOX 860                               PO BOX 860
PO BOX 935671                           GLEN ALLEN, VA 23060                       GLEN ALLEN, VA 23060
ATLANTA, GA 31193-5671




MSP ENTERPRISES, INC.                   MSP LA RONDE LLC                           MSPARK
ATTN: KIMBERLY HILL                     PO BOX 30116                               5901 HIGHWAY 52 EAST
3930 MAX PLACE                          LOS ANGELES, CA 90030                      HELENA, AL 35080
BOYNTON BEACH, FL 33436




MSPARK                                  MSPRH FALLS LLC                            MSPRH I LLC
PO BOX 848469                           MSP ENTERPRISES INC-ATTN KIMBERLY HILL     MSP ENTERPRISES INC
DALLAS, TX 75284-8469                   3930 MAX PLACE                             3930 MAX PLACE
                                        BOYNTON BEACH, FL 33436                    BOYNTON BEACH, FL 33436
MSPRH KNIGHTDALE LLC Case      18-12241-CSS
                                         MSPRH Doc  26 Filed
                                               KNIGHTDALE LLC 10/05/18          PageMSPRH
                                                                                     1168 KNIGHTDALE,
                                                                                          of 1739 LLC
C/O MSP ENTERPRISES, INC.                 PO BOX 602887                             C/O MSP ENTERPRISES, INC.
3930 MAX PLACE                            CHARLOTTE, NC 28260-2887                  3930 MAX PLACE
ATTN: KIMBERLY HILL                                                                 ATTN: KIMBERLY HILL
BOYNTON BEACH, FL 33436                                                             BOYNTON BEACH, FL 33436



MSPRH KNIGHTDALE, LLC                     MSPRH WILSON LLC                          MSR CAROL STREAM LLC
PO BOX 602887                             3930 MAX PLACE                            AMERICAN SALE CORP
CHARLOTTE, NC 28260-2887                  BOYNTON BEACH, FL 33436                   8401 W 185TH ST
                                                                                    TINLEY PARK, IL 60487




MSR-CAROL STREAM, LLC &                   MST CHILLICOTHE LLC                       MST CHILLICOTHE, LLC
DOLROB HUNTINGTON #2, LLC                 C/O ANCHOR ASSOCIATES                     C/O ANCHOR ASSOCIATES
ATTN: TIM GUTRAJ                          3825 EDWARDS RD STE 630                   3825 EDWARDS RD STE 630
8401 W. 185TH STREET                      CINCINNATI, OH 45209                      CINCINNATI, OH 45209
TINLEY PARK, IL 60477



MST GLENWAY LLC                           MST HUBER HEIGHTS LLC                     MT AIRY SHOPPING CENTER
ATTN: CHARLES TOWNSEND                    3805 EDWARDS RD STE 410                   C/O RAPPAPORT MGMT COMPANY
3805 EDWARDS RD STE 410                   CINCINNATI, OH 45209                      8405 GREENSBORO DR 8TH FLOOR
CINCINNATI, OH 45209                                                                MCLEAN, VA 22102




MT JULIET HOLDINGS LLC                    MT JULIET HOLDINGS, LLC                   MT LEBANON TREASURERS OFFICE
1550 N MT JULIET RD STE 121               1405 THRUSH COURT                         710 WASHINGTON RD
MOUNT JULIET, TN 37122                    MOUNT JULIET, TN 37122                    PITTSBURGH, PA 15228




MT PLEASANT PARTNERS LLC                  MT PLEASANT VIL-RAC                       MT TABOR ASSOCIATES LLC
1457 COTTON BOUNTY CT                     ATTN: PROPERTY TAX DEPT.                  343 WALLER AVE STE 100
MOUNT PLEASANT, SC 29466                  320 W. BROADWAY                           LEXINGTON, KY 40504
                                          MT. PLEASANT, MI 48858




MT. MANSFIELD TELEVISION INC              MT. PLEASANT PARTNERS, LLC                MT. PLEASANT RETAIL VENTURE DST
WCAX-TV                                   1457 COTTON BOUNTY COURT                  C/O IRC RETAIL CENTERS, LLC
PO BOX 4508                               MT. PLEASANT, SC 29466                    814 COMMERCE DRIVE, SUITE 300
BURLINGTON, VT 05406                                                                ATTN: LEGAL DEPARTMENT
                                                                                    OAK BROOK, IL 60523



MT. PLEASANT RETAIL VENTURE DST           MT. TABOR ASSOCIATES, LLC                 MTECH
C/O IRC RETAIL CENTERS, LLC               C/O ROSENSTEIN DEVELOPMENT                9601 DESSAU RD BLDG 3, STE 303
814 COMMERCE DRIVE, SUITE 300             343 WALLER AVE, SUITE 100                 AUSTIN, TX 78754
ATTN: PROPERTY MANAGER                    ATTN: JEFF ENGLAND
OAK BROOK, IL 60523                       LEXINGTON, KY 40504



MTERRA LLC                                MTERRA, LLC (25%) & MITCHELL FAMILY       MTERRA, LLC (25%) & MITCHELL FAMILY
1160 ROSEFIELD WAY                        TRUST DATED MARCH 9, 2012 (75%)           TRUST DATED MARCH 9, 2012 (75%)
MENLO PARK, CA 94025                      1160 ROSEFIELD WAY                        ATTN: MARK MITCHELL
                                          MENLO PARK, CA 94025                      1160 ROSEFIELD WAY
                                                                                    MENLO PARK, CA 94025



MTM TECHNOLOGIES INC                      MTMSA                                     MTMSA
62656 COLLECTIONS CENTER DR               1001 STUMP RD                             P.O. BOX 618
CHICAGO, IL 60693                         MONTGOMERY, PA 18936                      SOUDERTON, PA 18964-0618
MTSA                   Case    18-12241-CSS      Doc 26TELEPHONE
                                         MTSI / HOUSTON   Filed 10/05/18   PageMTW
                                                                                1169
                                                                                   LLCof 1739
P.O. BOX 640803                           PO BOX 279                           2760 N UNIVERSITY DR
PITTSBURGH, PA 15264-0803                 PEARLAND, TX 77588                   HOLLYWOOD, FL 33024




MUCK RACK LLC                             MUCK RACK LLC                        MUGHANNAM 2003 FAMILY TRUST
588 BROADWAY STE 503                      MUCK RACK                            ATTN: ERNIE MUGHANNAM
NEW YORK, NY 10012                        PO BOX 21131                         450 CLEARVIEW PLACE
                                          NEW YORK, NY 10087-1131              PETALUMA, CA 94952




MUGNOLO, LEE                              MUHAMMAD KAMANI                      MUHAMMAD MADNI
3227 PLEASANT PLAINS DR                   10201 S. MAIN STREET                 10201 S. MAIN STREET
SAINT CHARLES, IL 60175-1001              HOUSTON, TX 77025                    HOUSTON, TX 77025




MUHAMMAD RASHEED                          MUHAMMAD SAKHI                       MUHLENBERG TOWNSHIP AUTHORITY
10201 S. MAIN STREET                      10201 S. MAIN STREET                 2840 KUTZTOWN ROAD
HOUSTON, TX 77025                         HOUSTON, TX 77025                    READING, PA 19605




MUHLENBERG TOWNSHIP                       MUKESH CHADHA                        MUKI INC
210 GEORGE ST                             10201 S. MAIN STREET                 188 N WISCONSIN AVE
READING, PA 19605                         HOUSTON, TX 77025                    MASSAPEQUA, NY 11758




MULESOFT INC                              MULESOFT INC                         MULLINAX PROPERTIES LLC
77 GEARY ST STE 400                       PO BOX 398848                        ATTN: KEN MULLINAX
SAN FRANCISCO, CA 94108                   SAN FRANCISCO, CA 94139-8848         12016 N DENVER DR
                                                                               SPOKANE, WA 99218




MULLINAX PROPERTIES, LLC                  MULTI MEDIA HOLDINGS CORP            MULTI-MEDIA HOLDING GROUP DBA
ATTN: KEN MULLINAX                        DBA TIMES MEDIA                      PENSACOLA NEWS JOURNAL
12016 N DENVER DR                         3000 7TH ST N                        PO BOX 677590
SPOKANE, WA 99218                         SAINT CLOUD, MN 56303                DALLAS, TX 75267




MULTIMEDIA HOLDINGS CORP KUSA-            MULTIMEDIA HOLDINGS CORP             MULTNOMAH CO MCFARP
TV/NUSA (KUSAWK)/NTVD (KTVDSP)            340 VISTA AVE SE                     PO BOX 92153
500 SPEER BLVD                            SALEM, OR 97302                      PORTLAND, OR 97292
CINCINNATI, OH 45263




MULTNOMAH COUNTY CIRCUIT COURT            MULTNOMAH COUNTY COLLECTOR           MULTNOMAH COUNTY FARP
PARKING CITATION OFFICE                   ATTN: PROPERTY TAX DEPT.             TAX COLLECTOR
PO BOX 78                                 PO BOX 2716                          PO BOX 2716
PORTLAND, OR 97207-0178                   PORTLAND, OR 97208                   PORTLAND, OR 97208




MUNAVVAR SHAIKH                           MUNCIE SANITARY DISTRICT             MUNCIE SANITARY DISTRICT
10201 S. MAIN STREET                      300 NORTH HIGH ST                    P.O. BOX 2605
HOUSTON, TX 77025                         MUNCIE, IN 47305                     FORT WAYNE, IN 46801-2605
MUNDELEIN 83 II LLC   Case     18-12241-CSS   Doc8326
                                         MUNDELEIN  II, LLCFiled 10/05/18         PageMUNDELEIN
                                                                                       1170 of 1739
                                                                                                83 II, LLC
C/O SHINER MGMT GROUP INC                  C/O SHINER MANAGEMENT GROUP, INC.           C/O SHINER MGMT GROUP INC
3201 OLD GLENVIEW RD STE 235               3201 OLD GLENVIEW ROAD, SUITE 301           3201 OLD GLENVIEW RD STE 235
WILMETTE, IL 60091                         WILMETTE, IL 60091                          WILMETTE, IL 60091




MUNDY STREET SQUARE LP                     MUNDY STREET SQUARE LP                      MUNEER PROPERTIES LLC
1140 ROUTE 315                             ATTN: ROBERT TANBURRO                       2623 TYLERS RIVER RUN
WILKES BARRE, PA 18711                     1140 ROUTE 315                              LUTZ, FL 33559
                                           WILKES BARRE, PA 18711




MUNEER PROPERTIES LLC                      MUNHALL VENTURES II LP                      MUNHALL VENTURES II LP
ATTN: MOHAMMAD MUSTAFA                     ATTN: ALEX SCOTT                            C/O CENTER ASSOCIATES
4815 E BUSCH BLVD STE 201                  PO BOX 38427                                1146 FREEPORT ROAD
TAMPA, FL 33617                            PITTSBURGH, PA 15238                        P.O. BOX 38427
                                                                                       PITTSBURGH, PA 15238



MUNHALL VENTURES II LP                     MUNICIPAL COLLECTIONS OF AMERICA INC        MUNICIPAL COURT OF EGG HARBOR
C/O CENTER ASSSO                           3348 RIDGE RD                               TOWNSHIP
1146 FREEPORT RD                           LANSING, IL 60438                           3515 BARGAINTOWN RD
PITTSBURGH, PA 15238                                                                   EGG HARBOR TOWNSHIP, NJ 08234




MUNICIPAL COURT OF SEATTLE                 MUNICIPALITY OF BETHEL PARK C/O             MUNICIPALITY OF MONROEVILLE
P.O. BOX C-34109                           JORDAN TAX SRVCS                            LOCAL SERVICES TAX
SEATTLE, WA 98124-1109                     7100 BAPTIST RD                             2700 MONROEVILLE BLVD
                                           BETHEL PARK, PA 15102-3908                  MONROEVILLE, PA 15146-2388




MUNIE AUTH OF TWP OF ROBINSON              MUNIE AUTH OF TWP OF ROBINSON               MUNIRAH DANIELS
4200 CAMPBELLA RUN ROAD                    P.O. BOX 642715                             10201 S. MAIN STREET
PITTSBURGH, PA 15205                       PITTSBURGH, PA 15264-2715                   HOUSTON, TX 77025




MURFIRM PARTNERSHIP                        MURFIRM PARTNERSHIP                         MURFREESBORO ELECTRIC DEPT
3100 WEST END AVENUE, SUITE 1070           C/O ROBBINS PROPERTIES I LLC                205 N WALNUT ST
NASHVILLE, TN 37203                        3100 W END AVE STE 1070                     MURFREESBORO, TN 37130
                                           NASHVILLE, TN 37203




MURFREESBORO ELECTRIC DEPT                 MURFREESBORO ELECTRIC DEPT.                 MURFREESBORO WATER & SEWER
P.O. BOX 9                                 205 NORTH WLANUT ST.                        P.O. BOX 897
MURFREESBORO, TN 37133-0009                P.O. BOX 9                                  MURFREESBORO, TN 37133-0897
                                           MURFREESBORO, TN 37133-0009




MURFREESBORO WTR RESOURCES DPT             MURFREESBORO WTR RESOURCES DPT              MURIEL WILLIAMS
300 NW BROAD ST                            P.O. BOX 897                                10201 S. MAIN STREET
MURFREESBORO, TN 37130                     MURFREESBORO, TN 37133-0897                 HOUSTON, TX 77025




MURPHY & ASSOCIATES, LLC                   MURPHY EXCAVATING LLC                       MURPHY MARKETPLACE STATION LLC
3319 DUKE STREET                           2141 SHORT DRIVE                            11501 NORTHLAKE DR
ALEXANDRIA, VA 22314                       DE PERE, WI 54115                           CINCINNATI, OH 45249
MURRAY CITY CORP      Case 18-12241-CSS MURRAY Doc
                                                 CITY26   Filed 10/05/18
                                                     CORPORATION UTILITY       PageMURRAY
                                                                                    1171 of 1739
                                                                                          KIDDLE
5025 SOUTH STATE STREET; P.O. BOX 57919 BILLING                                    10201 S. MAIN STREET
MURRAY, UT 84157-0919                   5025 SOUTH STATE ST                        HOUSTON, TX 77025
                                        P.O. BOX 57919
                                        MURRAY, UT 84157-0919



MURRAY PROPERTIES, INC                  MURRAY PROZNIK                             MURRELL, MICHAEL
ELLEN GALLAGHER                         3920 W ALABAMA ST 5                        34100 MONTEREY AVE #101
473 DUNHAM ROAD, SUITE 200              HOUSTON, TX 77027                          PALM DESERT, CA 92211-2093
ST. CHARLES, IL 60174




MURREYS DISPOSAL INC - DISTRICT 2111    MURREYS DISPOSAL INC - DISTRICT 2111       MURRIETA SPECTRUM L.P.
4822 70TH AVE E                         P.O. BOX 60248                             C/O WESTMAR PROPERTY MANAGEMENT,
FIFE, WA 98424                          LOS ANGELES, CA 90060-0248                 INC.
                                                                                   41623 MARAGARITA RD STE 100
                                                                                   TEMECULA, CA 92591



MURRIETA SPECTRUM, L.P.                 MURTAZA SYED                               MURVITA LEWIS
C/O WESTMAR PROPERTY MANAGEMENT,        10201 S. MAIN STREET                       10201 S. MAIN STREET
INC.                                    HOUSTON, TX 77025                          HOUSTON, TX 77025
41623 MARGARITA ROAD, SUITE 100
TEMECULA, CA 92591



MUSAQUE JUILLET                         MUSCOGEE CO TAX COMMISSIONER               MUSCOGEE COUNTY TAX COMM.
10201 S. MAIN STREET                    PO BOX 1441                                ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       COLUMBUS, GA 31902-1441                    PO BOX 1441
                                                                                   COLUMBUS, GA 31902




MUSHTABA SAKHI                          MUSIC MOUNTAIN WATER CO LLC                MUSIC MOUNTAIN WATER CO LLC
6251 CAVELL AVE N                       MUSIC MOUNTAIN SPRING WATER                PO BOX 2252
BROOKLYN PARK, MN 55428                 305 STONER AVE                             BIRMINGHAM, AL 35246-0051
                                        SHREVEPORT, LA 71101




MUSICK PEELER & GARRETT LLP             MUSICK PEELER & GARRETT LLP                MUSIL, JAMES
624 S GRAND AVE SUITE 2000              ONE WILSHIRE BLVD                          ONE LIBERTY PLACE, 52ND F
LOS ANGELES, CA 90017                   LOS ANGELES, CA 90017                      PHILADELPHIA, PA 19103




MUSKEGON INCOME TAX DEPT - CORP         MUSKINGUM COUNTY UTILITIES                 MUSLIU LAWAL
SECTION                                 375 RICHARDS RD                            10201 S. MAIN STREET
PO BOX 29                               ZANESVILLE, OH 43701-6605                  HOUSTON, TX 77025
MUSKEGON, MI 49443




MUSSE ISMAIL MUSSE                      MUSTAFA FAROOQUI                           MUSTAFA M SAKHI
10201 S. MAIN STREET                    10201 S. MAIN STREET                       6251 CAVELL AVE N
HOUSTON, TX 77025                       HOUSTON, TX 77025                          BROOKLYN PARK, MN 55428




MUSTAK HOSSAIN                          MUTUAL DEVELOPMENT CO., LLC                MUTYA JOYCE DE GUZMAN
10201 S. MAIN STREET                    JESSICA M. VERCELLINO, PROPERTY            15713 LOS ALTOS DR
HOUSTON, TX 77025                       MANAGER                                    HACIENDA HEIGHTS, CA 91745
                                        2890 E. NORTHERN AVENUE, SUITE A
                                        PHOENIX, AZ 85028
MUZAHID KHAN             Case 18-12241-CSS
                                        MUZAK Doc
                                              LLC 26      Filed 10/05/18   PageMUZI
                                                                                1172LI of 1739
10201 S. MAIN STREET                    3318 LAKEMONT BLVD                      10201 S. MAIN STREET
HOUSTON, TX 77025                       FORT MILL, SC 29708                     HOUSTON, TX 77025




MW INVESTMENTS                          MWAFAQ ABU-SHANAB                       MWC MEDIA
MICHAEL WEICHERS                        10201 S. MAIN STREET                    WJXA-FM
7885 HALEY DRIVE                        HOUSTON, TX 77025                       PO BOX 40506
GRANITE BAY, CA 95746                                                           NASHVILLE, TN 37204




MX ENERGY                               MXD GROUP INC                           MXD GROUP INC
P.O. BOX 105223                         75 REMITTANCE DR DEPT 6030              75 REMITTANCE DR DEPT 6954
ATLANTA, GA 30348-5223                  CHICAGO, IL 60675-6030                  CHICAGO, IL 60675-6954




MXD GROUP INC                           MY HA TRAN                              MY RIGHT HAND MAN INC
7795 WALTON PKWY 4TH FL                 2307 ASPENFIELD LN                      7613 FORTSON RD BLDG 100 STE I
NEW ALBANY, OH 43054                    KATY, TX 77450                          COLUMBUS, GA 31909




MY TEXAS HOUSE                          MYA BOWENS                              MYA COLE
                                        10201 S. MAIN STREET                    10201 S. MAIN STREET
                                        HOUSTON, TX 77025                       HOUSTON, TX 77025




MYCO FRUNITURE CORPORATION              MYKE COLLINS                            MYLA WRIGHT
9500 W SAM HOUSTON PKWY S               10201 S. MAIN STREET                    25759 FRIENDSHIP RD
HOUSTON, TX 77099                       HOUSTON, TX 77025                       DAPHNE, AL 36526




MYLES AND BETTY KATZ TRUST F/B/O ALAN   MYLES BRASWELL-SAMPLE                   MYLES BUTTON
R. KATZ                                 10201 S. MAIN STREET                    10201 S. MAIN STREET
3635 OLD COURT RD. STE 306              HOUSTON, TX 77025                       HOUSTON, TX 77025
PIKESVILLE, MD 21208




MYLES DOLINGER                          MYLES MURKISON                          MYLES SHEPHERD
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MYLO TORRES                             MYRA BEST                               MYRA WALKER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




MYRIAH BLOOMBERG                        MYRIAM CHIRAN                           MYRIO RICHARD
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
MYRNA HINOJOSA         Case 18-12241-CSS
                                      MYRONDoc 26 Filed 10/05/18
                                           GULLEDGE                         PageMYRON
                                                                                 1173 ZIMMERMAN
                                                                                      of 1739 INVESTMENTS
607 W 3RD ST                            10201 S. MAIN STREET                    1388 SUTTER STE 918
IDALOU, TX 79329                        HOUSTON, TX 77025                       SAN FRANCISCO, CA 94109




MYRON ZIMMERMAN INVESTMENTS             MYRTLE BEACH FARMS COMPANY INC          MYRTLE BEACH FARMS COMPANY, INC.
1388 SUTTER STE 918                     PO BOX 7277                             ATTN: RICHARD B. JOSEY, III, GEN COUNSEL
SAN FRANCISCO, CA 94109-5468            MYRTLE BEACH, SC 29572                  8800 MARINA PARKWAY
                                                                                MYRTLE BEACH, SC 29572




MYRTLE BEACH FARMS COMPANY, INC.        MYRTLE BEACH FIRE RESCUE                N & L TRUCKING INC
PO BOX 7277                             PO BOX 935667                           144-34 JAMAICA AVE
MYRTLE BEACH, SC 29572                  ATLANTA, GA 31193-5667                  JAMAICA, NY 11435




N & P ASSOCIATES                        N & P ASSOCIATES                        N 6663 ROLLING MEADOWS LLC
CONCORD PLAZA                           CONCORD PLAZA                           300 N MAIN ST STE 300
PO BOX 590291                           PO BOX 590291                           P.O. BOX 800
NEWTON, MA 02459                        NEWTON, MA 02459-0291                   OSHKOSH, WI 54901




N DAKOTA MATTRESS VENTURES LLC          N GIL ELECTRIC CO                       N LAUDERDALE BM LLC
413 E BISMARCK EXPRESSWAY               10134 OLGA LN                           ATTN: JORGE PORTELA
BISMARCK, ND 58504                      HOUSTON, TX 77041                       1205 SW 37TH AVE 3RD FLOOR
                                                                                CORAL GABLES, FL 33135




N LAUDERDALE BM, LLC                    N LAUDERDALE BM, LLC                    N STUDIO LLC
ATTN: JORGE PORTELA                     ATTN: JORGE PORTELA                     DBA STAGE WORKS
1205 SW 37TH AVE 3RD FLOOR              1205 SW 37TH AVE 3RD FLOOR              1950 SAMUELS AVE
CORAL GABLES, FL 33135                  MIAMI, FL 33135                         FORT WORTH, TX 76102




N TX MOUNTAIN DBA WATER EVENT PURE      N. SCOTTSDALE GATEWAY                   N.C. STATE FAIR
WATER SOLUTIONS                         C/O PAINTED ROCK ASSET MGMT             ATTN: JIM KNIGHT
2109 LUNA RD 100                        14301 N. 87TH ST 120                    1010 MAIL SERVICE CENTER
CARROLLTON, TX 75006                    SCOTTSDALE, AZ 85260                    RALEIGH, NC 27699-1010




N.D. OFFICE OF STATE TAX COMMISSIONER   N.J. MALIN & ASSOCIATES L.P             N.J. MALIN & ASSOCIATES L.P
600 E BLVD AVE                          P.O. BOX 843860                         PO BOX 797
DEPT 127                                DALLAS, TX 75284-3860                   ADDISON, TX 75001-0797
BISMARCK, ND 58505-0599




N.J. MALIN & ASSOCIATES LLC             N.J. MALIN & ASSOCIATES LLC             N.W.HARRIS COUNTY MUD 21
ATTN: JACK CAIN                         PO BOX 843860                           11111 KATY FREEWAY 725
15870 MIDWAY RD                         DALLAS, TX 75284-3860                   HOUSTON, TX 77079-2197
ADDISON, TX 75001




N3 339 JONESBORO AR LLC                 N3 340 MEBANE NC LLC                    N3 344 HOT SPRINGS AR LLC
620 E SOUTHLAKE BLVD                    ATTN: JAN DAVIDSON/KACI DUPLANTIS       ATTN: ACCOUNTING DEPT
SOUTHLAKE, TX 76092                     620 E SOUTHLAKE BLVD                    1240 N KIMBALL AVE
                                        SOUTHLAKE, TX 76092                     SOUTHLAKE, TX 76092
                        Case
N3 344 HOT SPRINGS AR, LLC     18-12241-CSS     DocSPRINGS
                                         N3 344 HOT 26 Filed     10/05/18
                                                           AR, LLC           PageN3
                                                                                  1174
                                                                                    REAL of 1739
                                                                                         ESTATE
ATTN: ACCOUNTING DEPT                      C/O N3 REAL ESTATE                     ATTN: JAN DAVIDSON/KACI DUPLANTIS
1240 N KIMBALL AVE                         1240 N. KIMBALL AVENUE                 1240 N KIMBALL AVE
SOUTHLAKE, TX 76092                        SOUTHLAKE, TX 76092                    SOUTHLAKE, TX 76092




NABHOLTZ KNCK PART LP                      NABHOLTZ KNCK PARTNERS, L.P.           NABIL ALSADON
4809 COLE AVE STE 210                      ATTN: DIANE NABHOLTZ                   10201 S. MAIN STREET
DALLAS, TX 75205                           4809 COLE AVENUE, SUITE 210            HOUSTON, TX 77025
                                           DALLAS, TX 75205




NABOUA XIONG                               NACE-NATIONAL ASSOCIATION              NACHMAN FAMILY LLC
1601 IRVING LN N                           OF COLLEGES AND EMPLOYERS              C/O VIRGINIA LANDMARK CORP
BROOKLYN CENTER, MN 55430                  62 HIGHLAND AVENUE                     PO BOX 29596
                                           BETHLEHEM, PA 18017-9085               RICHMOND, VA 23242




NACHMAN FAMILY LLC                         NACOGDOCHES CTRL APPRSL DIST           NACOGDOCHES DAILY SENTINEL
PO BOX 29596                               216 W HOSPITAL ST                      PO BOX 630068
RICHMOND, VA 23242                         NACOGDOCHES, TX 75961-4873             NACOGDOCHES, TX 75963




NACOGDOCHES                                NADEEMPASHA SYED                       NADEEN DAYEH
ATTN: PROPERTY TAX DEPT.                   10201 S. MAIN STREET                   1357 BENT TREE DR
P.O. BOX 635090                            HOUSTON, TX 77025                      FRISCO, TX 75034
NACOGDOCHES, TX 75963-5090




NADG NNN MSF (MN) LP                       NADG/TRC LAKEPOINTE LP                 NADG/TRC LAKEPOINTE, LP
2718 FAIRMOUNT ST                          C/O CONNECTED MGMT SERVICES LLC        C/O CONNECTED MANAGEMENT SERVICES,
DALLAS, TX 75201                           2525 MCKINNON ST STE 700               LLC
                                           DALLAS, TX 75201                       2525 MCKINNON ST STE 700
                                                                                  DALLAS, TX 75201



NADIA BUENROSTRO                           NADIA MATHEWS                          NADIA SCOTT ROOKS
10201 S. MAIN STREET                       3114 FOREST CIRCLE, APT D              6501 WASHINGTON AVE
HOUSTON, TX 77025                          DECATUR, GA 30034                      WHITTIER, CA 90601




NADINE BAUER                               NADINE LABABEDI                        NADINE MILLS
10201 S. MAIN STREET                       10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                      HOUSTON, TX 77025




NAES CENTRAL INC                           NAFEESE HOLTON                         NAGENDRA CHOUDHARY
AMTECH ELEVATOR SERVICES                   10201 S. MAIN STREET                   10201 S. MAIN STREET
TEN FARM SPRINGS RD                        HOUSTON, TX 77025                      HOUSTON, TX 77025
FARMINGTON, CT 06032




NAHATA DEENA                               NAI ELLIOT                             NAI ELLIOTT
10201 S. MAIN STREET                       SCOTT KILLIAN, CPM, REAL ESTATE        901 NE GLISAN STREET
HOUSTON, TX 77025                          MANAGER                                ATTN: TANIKA BALA
                                           901 N. GLISAN STREET                   PORTLAND, OR 97232
                                           PORTLAND, OR 97232
                       Case
NAI PUGET SOUND PROPERTIES       18-12241-CSS    DocLYNN
                                           NAI ROBERT 26 Filed 10/05/18     PageNAIM
                                                                                 1175  of 1739
                                                                                     FENNELL
ATTN: BILLY POLL                           RHONDA DORSEY                        10201 S. MAIN STREET
600 108TH AVENUE NE, SUITE 340             4851 LBJ FREEWAY STE 100             HOUSTON, TX 77025
BELLEVUE, WA 98004                         DALLAS, TX 75244




NAIMA BOUKNETERE                           NAIN RAMZANALI                       NAISHA WONGUS
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




NAITS REALTY CORP                          NAIYA HOWARD                         NAJEE GRANT
1345 POND LAND                             10201 S. MAIN STREET                 10201 S. MAIN STREET
HEWLETT HARBOW, NY 11557                   HOUSTON, TX 77025                    HOUSTON, TX 77025




NAJERA DELIVERY SERVICES LLC               NAJI PATRICK                         NAJLA ALSAIDI
8099 HILARY DR                             10201 S. MAIN STREET
CRANDALL, TX 75114                         HOUSTON, TX 77025




NAKIA BETTS                                NAKIA FOBBS                          NAKIA MALONE
8510 S 88TH TERRANCE                       10201 S. MAIN STREET                 10201 S. MAIN STREET
JUSTICE, IL 60458                          HOUSTON, TX 77025                    HOUSTON, TX 77025




NAKISHA HENDERSON                          NALAN SMITH                          NALANDER MELTON
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




NALPAK INTERESTS LLC                       NALPAK INTERESTS LTD                 NALPAK INTERESTS, LLC
C/O STEVEN KAPLAN                          C/O STEVEN KAPLAN                    279 ATHERTON AVENUE
279 ATHERTON AVE                           279 ATHERTON AVE                     ATHERTON, CA 94027
ATHERTON, CA 94027                         ATHERTON, CA 94027




NAMDAR REALTY GROUP LLC                    NAMDAR REALTY GROUP LLC              NAMPA PROPERTY VENTURE LLC
ATTN: RACHEL SHAPIRO                       ATTN: ZACH HAMZEH                    1001 E TELECOM DR
150 GREAT NECK ROAD, SUITE 304             150 GREAT NECK ROAD, SUITE 304       BOCA RATON, FL 33431
GREAT NECK, NY 11021                       GREAT NECK, NY 11021




NANA KANKAM                                NANCI DUNCAN                         NANCI MANUELE
10201 S. MAIN STREET                       10007 TAYLORSVILLE RD                10201 S. MAIN STREET
HOUSTON, TX 77025                          LOUISVILLE, KY 40299                 HOUSTON, TX 77025




NANCIE STEINBERG                           NANCY ANDERSON                       NANCY ANN HOOK
200 E 90TH ST APT 17A                      1708 LIMESTONE TERRACE               4853 HORSESHOE RD
NEW YORK, NY 10128                         LITHONIA, GA 30058                   DANVILLE, VA 24541
NANCY ARELLANO           Case 18-12241-CSS
                                        NANCY Doc  26MARTINEZ
                                              BELDEN    Filed 10/05/18    PageNANCY
                                                                               1176CofDALTON
                                                                                        1739
10201 S. MAIN STREET                     1034 12TH ST                         3613 LANDS END ST
HOUSTON, TX 77025                        IMPERIAL BEACH, CA 91932             FORT WORTH, TX 76109




NANCY CIANCHETTA                         NANCY CIPOLLARO                      NANCY COX
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




NANCY CUMMINGS                           NANCY E WAGNER                       NANCY HAGINS
10201 S. MAIN STREET                     711 FOREST CLUB DRIVE UNIT 602       10201 S. MAIN STREET
HOUSTON, TX 77025                        WELLINGTON, FL 33414                 HOUSTON, TX 77025




NANCY HARTSOCH                           NANCY JOHNSON                        NANCY L BATEMAN
3191 ADAMSWOOD DR                        703 SEAVIEW CIRCLE                   1500 W KENNEDY RD
SAN JOSE, CA 95148                       PORT ANGELES, WA 98363               LAKE FOREST, IL 60045




NANCY R HUCKLE                           NANCY SHARKEY                        NANCY STOIA
DBA HUNTER & SAGE LLC                    10201 S. MAIN STREET                 23 SAINT SIMONS COURT
2121 SAGE RD SUITE 230                   HOUSTON, TX 77025                    SUGAR LAND, TX 77479
HOUSTON, TX 77056




NANCY STROHMEYER                         NANCY VANALSTINE                     NANCY WALHEIM
10201 S. MAIN STREET                     6645 HWY 59 N                        10201 S. MAIN STREET
HOUSTON, TX 77025                        MARSHALL, TX 75670                   HOUSTON, TX 77025




NANCY WOOD                               NANCY YOUNG                          NANCY ZEZZA
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




NANETTE CINQUE JIMENEZ                   NANETTE CINQUE                       NAOMI CLAY
80 WALNUT ST                             10201 S. MAIN STREET                 10201 S. MAIN STREET
LYNBROOK, NY 11563                       HOUSTON, TX 77025                    HOUSTON, TX 77025




NAOMI JENSEN                             NAOMI JENSEN                         NAOMI SMITH
10201 S. MAIN STREET                     10201 S. MAIN STREET                 4851 HALLS FERRY RD S
HOUSTON, TX 77025                        HOUSTON, TX 77025                    SALEM, OR 97302




NAOMI TAYLOR                             NAPA COUNTY RECYCLING & WASTE        NAPA COUNTY TAX COLLECTOR
10201 S. MAIN STREET                     SERVICES                             ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                        1195 THIRD ST STE 108                1195 THIRD ST STE 108
                                         NAPA, CA 94559                       NAPA, CA 94559
NAPA COUNTY             Case 18-12241-CSS    Doc 26
                                       NAPA POLICE      Filed 10/05/18
                                                   DEPARTMENT                 PageNAPA
                                                                                   1177  of 1739
                                                                                       RIVER PARK CENTER LLC
TAX COLLECTOR                            RECORDS BUREAU                            2580 SIERRA BLVD E
1195 THIRD ST STE 108                    1539 FIRST STREET                         SACRAMENTO, CA 95825
NAPA, CA 94559                           NAPA, CA 94559




NAPA TAHOE SPECIALTY INC                 NAPA TAHOE SPECIALTY RETAIL               NAPA-SOLANO HOME & GARDEN SHOW
EBERLY CO                                DEVELOPMENT, LLC                          P.O. BOX 475
8383 WILSHIRE BLVD STE 906               717 WESTHOLME AVENUE                      LINCOLN, CA 95648
BEVERLY HILLS, CA 90211                  LOS ANGELES, CA 90024




NAPLES DAILY NEWS                        NAPLES REAL ESTATE VENTURE LLC            NAPP-TV
PO BOX 1412                              1990 NILES CORTLAND ROAD                  APPLE VALLEY BROADCASTING INC
CHARLOTTE, NC 28201-1412                 CORTLAND, OH 44410                        PO BOX 749907
                                                                                   LOS ANGELES, CA 90074-9907




NARCENE RUCZYNSKI                        NARCISO RODRIGUEZ                         NARCISSE DOHOU
10201 S. MAIN STREET                     13 RONNIE CIRCLE                          10201 S. MAIN STREET
HOUSTON, TX 77025                        HOLLYHILL, FL 32117                       HOUSTON, TX 77025




NARCOOSSEE ACQUISITIONS LLC              NARCOOSSEE ACQUISITIONS LLC               NARCOOSSEE ACQUISITIONS, LLC
C/O SULLIVAN PROPERTIES INC              130 S ORANGE AVE STE 300                  130 SOUTH ORANGE AVENUE, SUITE 300
130 S ORANGE AVE STE 300                 ORLANDO, FL 32801                         ORLANDO, FL 32801
ORLANDO, FL 32801




NARCOOSSEE ACQUISITIONS, LLC             NARCOOSSEE ACQUISITIONS, LLC              NARDIE HOCHBERG MILLHURST MILLS INC
8236-8288 LEE VISTA BLVD.                C/O SULLIVAN PROPERTIES INC               PO BOX 6219
ORLANDO, FL 32829                        130 S ORANGE AVE STE 300                  FREEHOLD, NJ 07728
                                         ORLANDO, FL 32801




NARE ROUND LAKE BEACH                    NARE ROUND LAKE BEACH, LLC                NARE ROUND LAKE BEACH, LLC
1901 N ROSELLE RD STE 650                1901 NORTH ROSELLE ROAD, SUITE 650        C/O NORTH AMERICAN REAL ESTATE
SCHAUMBURG, IL 60195                     SCHAUMBURG, IL 60195                      1901 NORTH ROSELLE ROAD, SUITE 650
                                                                                   ATTN: MARTHA CORONADO
                                                                                   SCHAUMBURG, IL 60195



NARE WOODFIELD CORNERS LLC               NARE WOODFIELD LLC                        NARESH MEHTA
1901 N ROSELLE RD STE 650                ATTN: SAVAS ER                            10201 S. MAIN STREET
CHICAGO, IL 60195                        1901 N. ROSELLE RD., SUITE 650            HOUSTON, TX 77025
                                         SCHAUMBURG, IL 60195




NASA VILLAGE GP LLC                      NASDAQ OMX CORPORATE SOLUTIONS LLC        NASDAQ OMX GROUP INC
MARINRES VILLAGE MGMT ACCT               WELLS FARGO BANK LOCKBOX 11700            LOCKBOX 10700
9801 WESTHEIMER STE 250                  PO BOX 8500                               PO BOX 8500
HOUSTON, TX 77042                        PHILADELPHIA, PA 19178-0700               PHILADELPHIA, PA 19178-0700




NASDAQ STOCK MARKET LLC                  NASEER FAHEEM                             NASH CONTRACTING INC
LOCKBOX 20200                            10201 S. MAIN STREET                      209 MAIN ST
PO BOX 780200                            HOUSTON, TX 77025                         NORTH BROOKFIELD, MA 01535
PHILADELPHIA, PA 19178-0200
                       Case
NASH COUNTY TAX COLLECTOR      18-12241-CSS    Doc 26 Filed 10/05/18
                                         NASH PESSIN-SELVESTER                 PageNASH
                                                                                    1178 of 1739
CLAUDE MAYO OFFICE BLDG                  10201 S. MAIN STREET                      ATTN: PROPERTY TAX DEPT.
120 W WASHINGTON ST STE 2058             HOUSTON, TX 77025                         120 W WASHINGTON ST STE 2058
NASHVILLE, NC 27856-1376                                                           NASHVILLE, NC 27856-1376




NASHUA WASTE WATER SYSTEM                NASHUA WASTE WATER SYSTEM                 NASHVILLE ELECTRIC SERVICE
2 SAWMILL RD                             P.O. BOX 3840                             1214 CHURCH ST
NASHUA, NH 03060                         NASHUA, NH 03061-3840                     NASHVILLE, TN 37246




NASHVILLE ELECTRIC SERVICE               NASHVILLE WEST SHOPPING CENTER LLC        NASHVILLE WEST SHOPPING CENTER LLC
P.O. BOX 305099                          6716 CHARLOTTE PIKE                       MSC 410752
NASHVILLE, TN 37230-5099                 NASHVILLE, TN 37209                       P O BOX 415000
                                                                                   NASHVILLE, TN 37241-0752




NASHVILLE WEST SHOPPING CENTER LLC       NASHVILLE WEST SHOPPING CENTER, LLC       NASHVILLE WEST SHOPPING CENTER, LLC
PO BOX 680176                            C/O THE PARKES COMPANIES                  MSC 410752
PRATTVILLE, AL 36068                     105 REYNOLDS DRIVE                        P O BOX 415000
                                         ATTN: GARY W. PARKES                      NASHVILLE, TN 37241-0752
                                         FRANKLIN, TN 37064-2926



NASHVILLE WEST SHOPPING CENTER, LLC      NASHVILLE-DAVIDSON                        NASIR NAEEM
PO BOX 680176                            ATTN: PROPERTY TAX DEPT.                  10201 S. MAIN STREET
PRATTVILLE, AL 36068                     700 2ND AVENUE SOUTH                      HOUSTON, TX 77025
                                         HOWARD OFFICE BUILDING STE 210
                                         NASHVILLE, TN 37210



NASSAU CO TAX COLLECTOR                  NASSAU COUNTY IDA                         NASSAU COUNTY TREASURER
86130 LICENSE RD STE 3                   1550 FRANKLIN AVE STE 235                 FIRE MARSHAL-ATTN: ELT
FERNANDINA BEACH, FL 32034               MINEOLA, NY 11501                         1194 PROSPECT AVE
                                                                                   WESTBURY, NY 11590




NASSAU COUNTY                            NASSAU DISTRICT COURT                     NASSAU
ATTN: TAX DEPT.                          99 MAIN STREET                            ATTN: PROPERTY TAX DEPT.
1 WEST ST. 4TH FLOOR                     HEMPSTEAD, NY 11550                       1194 PROSPECT AVE
MINEOLA, NY 11501                                                                  WESTBURY, NY 11590




NASSIMI LLC                              NASTASSIA PERK                            NATALI HERNANDEZ
KATHY LITTLE                             10201 S. MAIN STREET                      10201 S. MAIN STREET
370 7TH AVE, SUITE 1600                  HOUSTON, TX 77025                         HOUSTON, TX 77025
NEW YORK, NY 10001




NATALIA MAFLA                            NATALIA RAMIREZ                           NATALIE BROWN
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




NATALIE CAUDILL                          NATALIE JORDAN                            NATALIE LLORENTE
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025
                     Case 18-12241-CSS
NATALIE MADDEN ROSENBERGER          NATALIEDoc   26 Filed
                                             MINCEY         10/05/18   PageNATALIE
                                                                            1179 of  1739
                                                                                   NOLAN
705 RIPONA AVE                      10201 S. MAIN STREET                   10201 S. MAIN STREET
RIPON, CA 95366                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATALIE ORTEGA                       NATALIE PALMER                        NATALIE PERRY
806 CHISHOLM VALLEY DR               10201 S. MAIN STREET                  10201 S. MAIN STREET
ROUND ROCK, TX 78681                 HOUSTON, TX 77025                     HOUSTON, TX 77025




NATALIE PERRY                        NATALIE RAGLAND                       NATALIE TINAJERO
10201 S. MAIN STREET                 10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                     HOUSTON, TX 77025




NATALIE WOODWARD                     NATASHA BROWN                         NATASHA CAMPBELL
10201 S. MAIN STREET                 10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                     HOUSTON, TX 77025




NATASHA CLARKE                       NATASHA MORGAN                        NATASHA MORRIS
10201 S. MAIN STREET                 10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                     HOUSTON, TX 77025




NATASHA OUIMETTE                     NATASHA PYSARCHYK                     NATASHA RIVERA
10201 S. MAIN STREET                 10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                     HOUSTON, TX 77025




NATAUSHA CHOHAN                      NATCHA GALARZA ZAMBRANA               NATCO DESIGN BUILD LLC
10201 S. MAIN STREET                 10201 S. MAIN STREET                  6433 WESTWIND AVE
HOUSTON, TX 77025                    HOUSTON, TX 77025                     BATON ROUGE, LA 70817




NATCO DESIGN BUILD LLC               NATE BOURNE                           NATE BURKS
PO BOX 77705                         10201 S. MAIN STREET                  10201 S. MAIN STREET
BATON ROUGE, LA 70879                HOUSTON, TX 77025                     HOUSTON, TX 77025




NATE BURROW                          NATE CARRASCO                         NATE DUNCAN
10201 S. MAIN STREET                 132 NUTLEAF CT                        10201 S. MAIN STREET
HOUSTON, TX 77025                    NORTH LAS VEGAS, NV 89032             HOUSTON, TX 77025




NATE ESSER                           NATE FRAZIER                          NATE GILL
10201 S. MAIN STREET                 10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                     HOUSTON, TX 77025
NATE HARRIS            Case 18-12241-CSS    Doc 26
                                      NATE HEWITT       Filed 10/05/18   PageNATE
                                                                              1180  of 1739
                                                                                  HUERTH
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATE LAMBERT                          NATE LAMONT                            NATE MILLER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATE PENA                             NATE RUETTEN                           NATE SMITH
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATE SMITH                            NATE THOMPSON                          NATE TOLESA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATE WICKS                            NATEKA JOSEPH                          NATHALIA BROWN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATHAN ADLER                          NATHAN BASSO                           NATHAN BAUTISTA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATHAN BELDEN                         NATHAN BERGSTEDT                       NATHAN BOWEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATHAN BREWER                         NATHAN BREWER                          NATHAN BRIGHT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATHAN BRISTLIN                       NATHAN BROWN                           NATHAN BRUMFIELD
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NATHAN BRUNETTA                       NATHAN BRUNETTA                        NATHAN BRUNO
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
NATHAN CARON           Case 18-12241-CSS
                                      NATHANDoc  26 Filed 10/05/18
                                             COLBOTH                 PageNATHAN
                                                                          1181 of 1739
                                                                                COLE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NATHAN COX                             NATHAN DANIELS                    NATHAN DEVINE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NATHAN DUNLAP                          NATHAN ENZOR                      NATHAN FARMER
10201 S. MAIN STREET                   10201 S. MAIN STREET              4 5TH AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                 GREENVILLE, SC 29657




NATHAN FESNAK                          NATHAN G BASSO                    NATHAN GARNER
2033 LAWTON BLUFF RD                   153 GOLDENROD AVE                 10201 S. MAIN STREET
CHARLOTTE, NC 28226                    PERRIS, CA 92570                  HOUSTON, TX 77025




NATHAN GLAUDEL                         NATHAN GOAD                       NATHAN HAWLEY
10201 S. MAIN STREET                   6010 NW TERRACE                   10201 S. MAIN STREET
HOUSTON, TX 77025                      WARR ACRES, OK 73122              HOUSTON, TX 77025




NATHAN HOUSTON                         NATHAN JONES                      NATHAN KRAMER
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NATHAN LANG                            NATHAN MCCAIN                     NATHAN MCKENNA
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NATHAN MCMASTERS                       NATHAN NEWTON                     NATHAN NEWTSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NATHAN PAUL                            NATHAN ROBERTS                    NATHAN RODEN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NATHAN RUSH                            NATHAN SALO TUMBERG               NATHAN SOMMERS JACOBS
10201 S. MAIN STREET                   10201 S. MAIN STREET              ATTN: ANDREW H. DILLON
HOUSTON, TX 77025                      HOUSTON, TX 77025                 2800 POST OAK BLVD., 61ST FLOOR
                                                                         HOUSTON, TX 77056
NATHAN TAVAREZ         Case 18-12241-CSS
                                      NATHANDoc  26
                                             TERRY       Filed 10/05/18      PageNATHAN
                                                                                  1182 of 1739
                                                                                        TOLMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NATHAN WHITESIDES                      NATHAN WITHERELL                          NATHAN WRIGHT
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NATHANAEL CAMERON                      NATHANIAL BLACKFORD                       NATHANIAL CLOSE
18501 SW 252 TERR                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOMESTEAD, FL 33031                    HOUSTON, TX 77025                         HOUSTON, TX 77025




NATHANIEL ALEKNA                       NATHANIEL BEGA                            NATHANIEL BRYCE BLEVINS
10201 S. MAIN STREET                   1003 TOM SEAVER PLACE                     804 OAKLAND DR
HOUSTON, TX 77025                      ROUND ROCK, TX 78665                      JONESBORO, AR 72404




NATHANIEL CERRIGIONE                   NATHANIEL CLAYTON                         NATHANIEL D. BUKATY
10201 S. MAIN STREET                   10201 S. MAIN STREET                      11456 CONSER ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                         OVERLAND PARK, KS 66210




NATHANIEL DIXON                        NATHANIEL DUGGAN                          NATHANIEL ESSER
10201 S. MAIN STREET                   10201 S. MAIN STREET                      6703 TRIMSTONE DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                         PASADENA, TX 77505




NATHANIEL HOME INC                     NATHANIEL JOHNSON JR                      NATHANIEL LANE
8885 WHITE OAK AVE UNIT 105            10201 S. MAIN STREET                      10201 S. MAIN STREET
RANCHO CUCAMONGA, CA 91730             HOUSTON, TX 77025                         HOUSTON, TX 77025




NATHANIEL MOLDEN                       NATHANIEL PASCUAL                         NATHANIEL RAFFLOER
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NATHANIEL SMITH                        NATHANIEL STOLTZ                          NATHANIEL WATIE
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NATHANIEL WOOLEY                       NATICK ASSOCIATES LLC                     NATICK ASSOCIATES, LLC
10201 S. MAIN STREET                   RE: 1400 WORCESTER RD. - COMMERCIAL       C/O THE HAMILTON COMPANY
HOUSTON, TX 77025                      39 BRIGHTON AVE                           39 BRIGHTON AVE
                                       BOSTON, MA 02134                          BOSTON, MA 02134
NATICK ASSOCIATES, LLC Case 18-12241-CSS
                                      NATIONDoc
                                              WIDE 26    Filed 10/05/18
                                                   SHELVING                  PageNATIONAL
                                                                                  1183 of EXEMPTION
                                                                                          1739      SERVICE
RE: 1400 WORCESTER RD. - COMMERCIAL   2180 S CONSTITUTION BLVD                    P.O. BOX 9020
39 BRIGHTON AVE                       SALT LAKE CITY, UT 84119                    CLEARWATER, FL 33758
BOSTON, MA 02134




NATIONAL ACCOUNT SYSTEMS OF OMAHA      NATIONAL ASSN OF COLLEGES &                NATIONAL BENEFIT SERVICES LLC
LLC                                    EMPLOYERS                                  8523 S REDWOOD RD
PO BOX 45767                           62 HIGHLAND AVE                            WEST JORDAN, UT 84088
OMAHA, NE 68145                        BETHLEHEM, PA 18017




NATIONAL CABLE COMMUNICATIONS LLC      NATIONAL CABLE COMMUNICATIONS              NATIONAL CAMERA & ALARM SYSTEMS INC
PO BOX 3350                            PO BOX 3350                                ALARMS AZ
BOSTON, MA 02241                       BOSTON, MA 02241                           7122 N 27TH AVE
                                                                                  PHOENIX, AZ 85051-8404




NATIONAL CAR RENTAL                    NATIONAL CAREER FAIRS INC                  NATIONAL CINEMEDIA LLC
PO BOX 801770                          1291 GALLERIA DR STE 125                   PO BOX 17491
KANSAS CITY, MO 64180-1770             HENDERSON, NV 89014                        DENVER, CO 80217




NATIONAL CORPORATE RESEARCH LTD        NATIONAL ECONOMIC RESEARCH ASSOC.          NATIONAL EXEMPTION SERVICE
10 EAST 40TH STREET 10TH FLOOR         INC                                        PO BOX 9020
NEW YORK, NY 10016                     PO BOX 7247-6754                           CLEARWATER, FL 33758-9020
                                       PHILADELPHIA, PA 19170-6754




NATIONAL FUEL                          NATIONAL FUEL                              NATIONAL GRID
6363 MAIN ST                           PO BOX 371835                              300 ERIE BLVD W
WILLAMSVILLE, NY 14421                 PITTSBURGH, PA 15250-7835                  SYRACUSE, NY 13202




NATIONAL GRID                          NATIONAL MAINTENANCE & BUILD OUT CO        NATIONAL MULTIPLE SCLEROSIS SOCIETY
PO BOX 11735                           LLC                                        8111 N STADIUM DRIVE STE 100
NEWARK, NJ 07101-4735                  48 VINCENT CIRCLE STE A                    HOUSTON, TX 77054
                                       IVYLAND, PA 18974




NATIONAL ORGANIZATION OF INDUSTRIAL    NATIONAL PEN CO. LLC                       NATIONAL PERMIT EXPEDITERS INC
TRADE UNIONS (NOITU)                   PO BOX 847203                              6428 WILKINSON BLVD 224
148-06 HILLSIDE AVE                    DALLAS, TX 75284-7203                      BELMONT, NC 28012
JAMAICA, NY 11435




NATIONAL POWER CORP                    NATIONAL PRIME COMMERCIAL LLC              NATIONAL PRIME COMMERCIAL, LLC
4541 PRESLYN DR                        PO BOX 163                                 ATTN: MATT NEMATI
RALEIGH, NC 27616                      COLLEYVILLE, TX 76034                      P.O. BOX 163
                                                                                  COLLEYVILLE, TX 76034




NATIONAL PROJECT RESOURCES L.P.        NATIONAL PROJECT RESOURCES LP              NATIONAL PROJECT RESOURCES, L.P.
C/O PMC BANK NATIONAL ASSOC            C/O PMC BANK NATIONAL ASSOC                C/O NATIONAL REALTY & DEVELOPMENT
PO BOX 822624                          PO BOX 822624                              CORP.
PHILADELPHIA, PA 19182-2624            PHILADELPHIA, PA 19182-2624                3 MANHATTANVILLE ROAD, SUITE 202
                                                                                  PURCHASE, NY 10577
                       Case 18-12241-CSS
NATIONAL PROJECT RESOURCES, L.P.             Doc
                                      NATIONAL     26ESTATE
                                                 REAL    Filed 10/05/18
                                                             MANAGEMENT     PageNATIONAL
                                                                                 1184 ofREALTY
                                                                                         1739 & DEVELOP CORP
C/O PMC BANK NATIONAL ASSOC           CORP.                                      325 NORTH MAIN STREET
PO BOX 822624                         9986 MANCHESTER ROAD                       MANVILLE, NJ 08835
PHILADELPHIA, PA 19182-2624           ST. LOUIS, MO 63122




NATIONAL REALTY & DEVELOPMENT CORP.    NATIONAL REALTY & DEVELPOMENT CORP        NATIONAL REALTY CORPORATION
3 MANHATTANVILLE ROAD, SUITE 202       3 MANHATTANVILLE ROAD, SUITE 202          1001 BALTIMORE PIKE
PURCHASE, NY 10577                     PURCHASE, NY 10577                        SPRINGFIELD, PA 19064




NATIONAL RECOVERY AGENCY               NATIONAL RECRUITING GROUP                 NATIONAL RETAIL FEDERATION
NATIONAL RECOVERY AGENCY               PO BOX 2062                               PO BOX 781081
HARRISBURG, PA 17106-7015              HICKSVILLE, NY 11802                      PHILADELPHIA, PA 19178-1081




NATIONAL RETAIL PROPERTIES INC.        NATIONAL RETAIL PROPERTIES INC.           NATIONAL RETAIL PROPERTIES INC.
0100-00160MTF                          C/O NATIONAL RETAIL PROPERTIES LP         C/O NATIONAL RETAIL PROPERTIES LP
P O BOX 864202                         450 S ORANGE AVE STE 900                  PO BOX 864202
ORLANDO, FL 32886-4202                 ORLANDO, FL 32801                         ORLANDO, FL 32886




NATIONAL RETAIL PROPERTIES INC.        NATIONAL RETAIL PROPERTIES INC.           NATIONAL RETAIL PROPERTIES INC.
C/O NATIONAL RETAIL PROPERTIES LP      PO BOX 864202                             PO BOX 864202
PO BOX 864205                          ORLANDO, FL 32886                         ORLANDO, FL 32886-4202
ORLANDO, FL 32886-4205




NATIONAL RETAIL PROPERTIES LP          NATIONAL RETAIL PROPERTIES LP             NATIONAL RETAIL PROPERTIES LP
450 S ORANGE AVE STE 900               C/O 017902671                             LOCKBOX 864205
ORLANDO, FL 32801                      PO BOX 864205                             ORLANDO, FL 32886
                                       ORLANDO, FL 32886




NATIONAL RETAIL PROPERTIES LP          NATIONAL RETAIL PROPERTIES LP             NATIONAL RETAIL PROPERTIES LP
P.O. BOX 5407                          PO BOX 864205                             PO BOX 864205
CAROL STREAM, IL 60197-5407            ORLANDO, FL 32886                         ORLANDO, FL 32886-4205




NATIONAL RETAIL PROPERTIES TRUST       NATIONAL RETAIL PROPERTIES TRUST          NATIONAL RETAIL PROPERTIES TRUST
ATTN: GENERAL COUNSEL                  ATTN: VICE PRESIDENT - ASSET              C/O NATIONAL RETAIL PROPERTIES, INC.
450 S ORANGE AVE STE 900               MANAGEMENT                                450 S ORANGE AVE STE 900
ORLANDO, FL 32801                      450 S ORANGE AVE STE 900                  ORLANDO, FL 32801
                                       ORLANDO, FL 32801



NATIONAL RETAIL PROPERTIES TRUST       NATIONAL RETAIL PROPERTIES TRUST          NATIONAL RETAIL PROPERTIES, INC.
C/O NATIONAL RETAIL PROPERTIES, INC.   LOCKBOX 864206                            450 S ORANGE AVE STE 900
450 SOUTH ORANGE AVENUE, SUITE 900     ORLANDO, FL 32886                         ORLANDO, FL 32801
ORLANDO, FL 32801




NATIONAL RETAIL PROPERTIES, INC.       NATIONAL RETAIL PROPERTIES, INC.          NATIONAL RETAIL PROPERTIES, INC.
450 SOUTH ORANGE AVENUE, SUITE 900     ATTN: BROOKE EDGE                         ATTN: GENERAL COUNSEL
ORLANDO, FL 32801                      450 S ORANGE AVE STE 900                  450 S ORANGE AVE STE 900
                                       ORLANDO, FL 32801                         ORLANDO, FL 32801
                        CaseINC.
NATIONAL RETAIL PROPERTIES,   18-12241-CSS     Doc
                                        NATIONAL     26 PROPERTIES,
                                                  RETAIL   Filed 10/05/18
                                                                     INC.      PageNATIONAL
                                                                                    1185 ofRETAIL
                                                                                            1739PROPERTIES, INC.
ATTN: VICE PRESIDENT - ASSET            JILL FUSSELL, CCIM, SENIOR PROPERTY         JILL FUSSELL, CCIM, SR PM
MANAGEMENT                              MANAGER                                     450 S ORANGE AVE STE 900
450 S ORANGE AVE STE 900                450 S ORANGE AVE STE 900                    ORLANDO, FL 32801
ORLANDO, FL 32801                       ORLANDO, FL 32801



NATIONAL RETAIL PROPERTIES, LP           NATIONAL RETAIL PROPERTIES, LP             NATIONAL RETAIL PROPERTIES, LP
450 S ORANGE AVE STE 900                 ATTN: GENERAL COUNSEL                      ATTN: VICE PRESIDENT - ASSET
ORLANDO, FL 32801                        450 S ORANGE AVE STE 900                   MANAGEMENT
                                         ORLANDO, FL 32801                          450 S ORANGE AVE STE 900
                                                                                    ORLANDO, FL 32801



NATIONAL RETAIL PROPERTIES, LP           NATIONAL RETAIL PROPERTIES, LP             NATIONAL RETAIL PROPERTIES, LP
JILL FUSSELL, CCIM, SR PM                LOCKBOX 864205                             PO BOX 864205
450 S ORANGE AVE STE 900                 ORLANDO, FL 32886                          ORLANDO, FL 32886
ORLANDO, FL 32801




NATIONAL RETAIL PROPERTIES, LP           NATIONAL RETAIL SUPPLY                     NATIONAL ROOFING PARTNERS
PO BOX 864205                            201 PENN CENTER BLVD 400                   320 REGAL ROW STE 200
ORLANDO, FL 32886-4205                   PITTSBURGH, PA 15235                       DALLAS, TX 75247




NATIONAL SECURITY SERVICE LLC            NATIONAL SEMINARS TRAINING                 NATIONAL SEMINARS TRAINING
1 TERRACE VIEW AVE                       6901 WEST 63RD ST                          PO BOX 419107
BRONX, NY 10463                          SHAWNEE MISSION, KS 66202-4007             KANSAS CITY, MO 64141




NATIONAL SHOPPING PLAZAS INC. AS         NATIONAL SHOPPING PLAZAS INC.              NATIONAL SHOPPING PLAZAS INC.
AGENT FOR OWNER-HIGHLAND MAIN PLAZA      200 WEST MADISON ST. STE 4200              AGENT FOR THE OWNER OF AURORA PLAZA
200 WEST MADISON ST                      CHICAGO, IL 60606                          200 WEST MADISON ST
CHICAGO, IL 60606                                                                   CHICAGO, IL 60606




NATIONAL SHOPPING PLAZAS INC.            NATIONAL SHOPPING PLAZAS INC               NATIONAL SHOPPING PLAZAS INC
AS LEASING AGENT                         200 WEST MADISON ST                        TRUMAN PROPERTY GRP LLC
200 WEST MADISON ST                      CHICAGO, IL 60606                          200 W MADISON ST STE 4200
CHICAGO, IL 60606-3465                                                              CHICAGO, IL 60606




NATIONAL SHOPPING PLAZAS                 NATIONAL SHOPPING PLAZAS, INC.             NATIONAL SHOPPING PLAZAS, INC.
200 W MADISON ST STE 4200                200 WEST MADISON STREET, SUITE 4200        200 WEST MADISON STREET, SUITE 4200
CHICAGO, IL 60606                        CHICAGO, IL 60606                          CHICAGO, IL 60606-3465




NATIONAL SHOPPING PLAZAS, INC.           NATIONAL SHOPPING PLAZAS, INC.             NATIONAL SHOPPING PLAZAS, INC.
AGENT FOR OWNER-HIGHLAND MAIN PLAZA      AGENT FOR THE OWNER OF AURORA PLAZA        AS LEASING AGENT
200 WEST MADISON ST. STE 4200            200 WEST MADISON ST. STE 4200              200 WEST MADISON ST. STE 4200
CHICAGO, IL 60606                        CHICAGO, IL 60606                          CHICAGO, IL 60606-3465




NATIONAL SHOPPING PLAZAS, INC.           NATIONAL SHOPPING PLAZAS, INC.             NATIONAL SHOPPING PLAZAS, INC.
JON HANUS, VP                            LORI KAPALDO, LEASING MANAGER              TRUMAN PROPERTY GRP LLC
200 WEST MADISON STREET, SUITE 4200      200 WEST MADISON STREET, SUITE 4200        200 W MADISON ST STE 4200
CHICAGO, IL 60606-3465                   CHICAGO, IL 60606-3465                     CHICAGO, IL 60606
                       Case 18-12241-CSS
NATIONAL STREET ROD ASSOCIATION              Doc
                                      NATIONAL   26 Filed
                                               TELECOM        10/05/18
                                                        DEPLOYMENTS DBA      PageNATIONAL
                                                                                  1186 ofTRANSIT
                                                                                          1739 INC
4030 PARK AVE                         DYNAMIC MEDIA                              740 6TH ST
MEMPHIS, TN 38111-7406                38283 MOUND RD                             WEST BABYLON, NY 11704
                                      STERLING HEIGHTS, MI 48310




NATIONAL UNION FIRE INSURANCE          NATIONAL VISION ADMINISTRATORS LLC        NATIONAL WESTERN STOCK SHOW
COMPANY OF PITTSBURG PA                1200 ROUTE 46 WEST                        4655 HUMBOLDT ST
P.O. BOX 35540                         CLIFTON, NJ 07013                         DENVER, CO 80216-2818
NEWARK, NJ 07193-5540




NATISHA ZILTON                         NATLYNN D JIMMERSON DBA PROGRESSIVE       NATURA WORLD INC
10201 S. MAIN STREET                   TRUCKING & DELIVERY                       181 PINE BUSH ROAD
HOUSTON, TX 77025                      201 PLAZA DRIVE                           CAMBRIGE N1R 7H8
                                       GARNER, NC 27529                          CANADA




NATURES SLEEP LLC                      NAU CAREER DEVELOPMENT-FALL 2016          NAVARRO-MELIA MOVERS
DRAWER 1331                            CAREER EXPO                               5010 PENNYSTONE WAY
PO BOX 5935                            GATEWAY STUDENT SUCCESS CENTER            FRIENDSWOOD, TX 77546
TROY, MI 48007                         PO BOX 4069-ATTN EMILY MCCARTHY
                                       FLAGSTAFF, AZ 86011



NAVCO SECURITY SYSTEM                  NAVEED MALIK                              NAVEX GLOBAL INC
1041 N PACIFICENTER DR                 10201 S. MAIN STREET                      6000 MEADOWS ROAD STE 200
ANAHEIM, CA 92806                      HOUSTON, TX 77025                         LAKE OSWEGO, OR 97035




NAVEX GLOBAL INC                       NAVIGA BUSINESS SERVICES, LLC             NAWAR ABD ALLATIF
PO BOX 60941                           4807 BAYSHORE BLVD. STE. 304              10201 S. MAIN STREET
CHARLOTTE, NC 28260                    TAMPA, FL 33611                           HOUSTON, TX 77025




NAYA GAMBINO                           NAYSA ATKINS                              NAZLI MOHYUDDIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NB CO INVESTMENT GROUP LP              NB CO INVESTMENT PARTNERS LP              NB FUND OF FUNDS XVIII CO INVESTMENT
                                                                                 HOLDING LP




NB I-35 2015 LTD                       NB INVESTMENTS LLC DBA RAINTREE APT       NBC INDUSTRIAL LLC
C/O DORADO DEVELOPMENT LLC             12021 DECATUR PLAZA                       8604 ALLISONVILLE RD STE 250
12500 NETWORK BLVD STE 103             OMAHA, NE 68154                           INDIANAPOLIS, IN 46250
SAN ANTONIO, TX 78249




NBC INDUSTRIAL LLC                     NBC INDUSTRIAL LLC                        NBC INDUSTRIAL LLC
ATTN: ACCOUNTING                       C/O CITIMARK MNGMT CO INC                 C/O CITIMARK MNGMT CO INC
350 E NEW YORK ST STE 200              ATTN ACCOUNTING                           ATTN ACCOUNTING8604 ALLISONVILLE RD
INDIANAPOLIS, IN 46204                 8604 ALLISONVILLE RD STE 250              STE 250
                                       INDIANAPOLIS, IN 46250                    INDIANAPOLIS, IN 46250
NBC UNIVERSAL LLC      Case    18-12241-CSS    Doc
                                         NBU-NEW    26 Filed
                                                 BRAUNFELS      10/05/18
                                                           UTILITIES             PageNC
                                                                                      1187   of 1739
                                                                                        DIVISION OF MOTOR VEHICLES
30 ROCKEFELLER PLAZA                      P.O. BOX 660                                PO BOX 29620
NEW YORK, NY 10112-0085                   SAN ANTONIO, TX 78293-0660                  RALEIGH, NC 27626




NC DMV                                    NC DMV                                      NC MOUNTAIN STATE FAIR
DIVISION OF MOTOR VEHICLES                POST OFFICE BOX 29620                       1301 FANNING BRIDGE ROAD
3148 MAIL SERVICE CENTER                  RALEIGH, NC 27626-0620                      FLETCHER, NC 28732
RALEIGH, NC 27699-3148




NC PROPANE EXCHANGE LLC                   NC QUICK PASS CUSTOMER SERVICE              NC STATE FAIR/NC DEPARTMENT OF
120 SUNRISE CENTER DR                     CENTER                                      AGRICULTURE & CONSUMNER SER.
THOMASVILLE, NC 27360                     200 SORRELLL GROVE CHURCH RD STE A          1025 BLUE RIDGE RD
                                          MORRISVILLE, NC 27560                       RALEIGH, NC 27607




NC STATE UNIVERSITY- ACC REC              NCA INC                                     NCC COMCAST FRESNO
CAMPUS BOX 7205                           8402 MEMORIAL PKWY SW                       PO BOX 3350
RALEIGH, NC 27695                         HUNTSVILLE, AL 35802                        BOSTON, MA 02241




NCC HONOLULU                              NCC                                         NCT SCHWEINEFUS LLC
PO BOX 3350                               PO BOX 3350                                 3825 EDWARDS RD STE 200
BOSTON, MA 02241                          BOSTON, MA 02241                            CINCINNATI, OH 45209




NCT SCHWEINEFUS LLC                       NCYU-TV                                     ND TRUCKING LLC
C/O JEFFREY R. ANDERSON REAL ESTATE,      4600 S REGAL ST                             208 E BARBER ST
INC.                                      SPOKANE, WA 99223                           WINDSOR, CT 06095
3825 EDWARDS ROAD, SUITE 200
ATTN: J.R. ANDERSON
CINCINNATI, OH 45209


NDB COMMERCIAL REAL ESTATE INC.           NDEV KHL LLC                                NDEV KHL, LLC
700 EXPOSITION PLACE                      PO BOX 36518                                ATTN: W. WARREN NORMAN, III
RALEIGH, NC 27615                         ROCK HILL, SC 29732                         2685 CELANESE RD, SUITE 123
                                                                                      P.O. BOX 36518
                                                                                      ROCK HILL, SC 29732



NDEV KHL, LLC                             NDI PALLET REMOVAL                          NDR REYNOLDS LLC
PO BOX 36518                              17205 MONTEVERDE DR                         GRE MANAGEMENT SERVICES
ROCK HILL, SC 29732                       BROOKSVILLE, FL 34610                       3005 DOUGLAS BLVD STE 200
                                                                                      ROSEVILLE, CA 95661




NDR REYNOLDS, LLC                         NDR REYNOLDS, LLC                           NDT INTERESTS, INC. - 001197
1875 CENTURY PARK EAST, SUITE 1340        C/O GRE MANAGEMENT SERVICES                 LISA BRYANT
LOS ANGELES, CA 90067-2514                3005 DOUGLAS BOULEVARD, SUITE 200           10101 REUNION PLACE, SUITE 160
                                          ROSEVILLE, CA 95661                         SAN ANTONIO, TX 78216




NE CAPITAL GROUP                          NE COMMUNICATIONS OF TX INC DBA KDFI        NE COMMUNICATIONS OF TX INC DBA KDFW
1 HILLCREST CENTER DRIVE, SUITE 310       TV                                          TV
SPRING VALLEY, NY 10997                   400 N GRIFFIN ST                            400 N GRIFFIN ST
                                          DALLAS, TX 75202                            DALLAS, TX 75202
NE KIDS               Case 18-12241-CSS     Doc 26 Filed
                                     NEAL ALSTON                10/05/18   PageNEAL
                                                                                1188  of 1739
                                                                                    COX
PO BOX 2459                          10201 S. MAIN STREET                      10201 S. MAIN STREET
CHRISTIANSBURG, VA 24068-2459        HOUSTON, TX 77025                         HOUSTON, TX 77025




NEAL CROSIER                         NEAL CROSWELL                             NEAL GREER
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




NEAL JACKMAN                         NEAL LINDSEY                              NEAL SHERIDAN
8053 S LODGEPOLE DR                  10201 S. MAIN STREET                      10201 S. MAIN STREET
SANDY, UT 84094                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NEAL, SUSAN                          NEBRASKA DEPARTMENT OF REVENUE            NEBRASKA DEPARTMENT OF REVENUE
1874 BEACON ST                       ATTN: BUSINESS LICENSE DEPT.              ATTN: RECYCLING FEE DEPT.
LANCASTER, OH 43130-2114             PO BOX 98903                              PO BOX 98903
                                     LINCOLN, NE 68509                         LINCOLN, NE 68509




NEBRASKA DEPARTMENT OF REVENUE       NEBRASKA DEPT OF REVENUE INCOME TAX       NEBRASKA DEPT OF REVENUE
ATTN: SALES & USE TAX DEPT.          DEPT                                      200 S SILBER ST
PO BOX 98903                         PO BOX 94818                              NORTH PLATTE, NE 69101-4200
LINCOLN, NE 68509                    LINCOLN, NE 68509-4818




NEBRASKA DEPT OF REVENUE             NEBRASKA DEPT OF REVENUE                  NEBRASKA DEPT OF REVENUE
304 N 5TH ST, STE D                  505A BROADWAY STE 800                     NEBRASKA STATE OFFICE BLDG
NORFOLK, NE 68701-4091               SCOTTSBLUFF, NE 69361                     1313 FARNAM ST STE 100
                                                                               OMAHA, NE 68102-1836




NEBRASKA DEPT OF REVENUE             NEBRASKA DEPT OF REVENUE                  NEBRASKA DEPT OF REVENUE
NEBRASKA STATE OFFICE BUILDING       PO BOX 94818                              PO BOX 98903
301 CENTENNIAL MALL S                LINCOLN, NE 68509-4818                    LINCOLN, NE 68509-8903
LINCOLN, NE 68508




NEBRASKA MCCOLLUM                    NEBRASKA STATE BOARD OF AGRICULTURE       NEBRASKA STATE FAIR
10201 S. MAIN STREET                 DBA NEBRASKA STATE FAIR BOARD             501 E FONNER PARK RD STE 200
HOUSTON, TX 77025                    1811 W 2ND ST STE 440                     GRAND ISLAND, NE 68801
                                     GRAND ISLAND, NE 68803




NEBRASKA STATE FAIR                  NEC 183 BELTLINE LTD                      NEC 183/BELTLINE, LTD.
PO BOX 1387                          2300005009                                C/O THE WEITZMAN GROUP
GRAND ISLAND, NE 68802               PO BOX 660394                             3102 MAPLE AVENUE, SUITE 350
                                     DALLAS, TX 75266-0394                     LEWIS HOPPEN, CPM
                                                                               DALLAS, TX 75201



NEC 183/BELTLINE, LTD.               NEC NORTHPARK 59 LC                       NEC US377 & MEANDER RD LP
PO BOX 660394                        3501 SW FAIRLAWN STE 200                  8350 N CENTRAL EXPRESSWAY STE 1275
DALLAS, TX 75266-0394                TOPEKA, KS 66614                          DALLAS, TX 75206
NECG MALLSIDE BH LLC Case      18-12241-CSS    Doc 26BH LLC
                                         NECG MALLSIDE  Filed 10/05/18       PageNECG
                                                                                  1189MALLSIDE
                                                                                       of 1739 BH LLC
C/O NE CAPITAL GROUP                      C/O NE CAPITAL GROUP                    C/O NORTHEAST CAPITAL GROUP
ONE HILLCREST CENTER STE 310              ONE HILLCREST CENTER STE 310            ONE HILLCREST CENTER
SPRING VALLEY, NY 10977                   SPRING VALLEY, NY 10997                 SPRING VALLEY, NY 10977




NECN                                      NECO INC                                NECTALIN URBANO
CFS LOCKBOX                               2900 S 70TH STE 330                     10201 S. MAIN STREET
PO BOX 402971                             LINCOLN, NE 68506                       HOUSTON, TX 77025
ATLANTA, GA 30384




NECTARINA COTTON                          NED BILTZ                               NED MANAGEMENT LIMITED PARTNERSHIP
C/O PATERNOSTER LAW GROUP LLC             10201 S. MAIN STREET                    ATTN: DIANE MACMILLAN
ATTN: LESTER PAREDES                      HOUSTON, TX 77025                       75 PARK PLAZA, THIRD FLOOR
400 S. 4TH ST., 3RD FLOOR                                                         BOSTON, MA 02116
LAS VEGAS, NV 89101



NED MANAGEMENT LIMITED PARTNERSHIP        NED TICAK - RODRIGUEZ                   NEELOU GOODARZI
ATTN: GREG FARRINGTON                     10201 S. MAIN STREET                    10201 S. MAIN STREET
75 PARK PLAZA, THIRD FLOOR                HOUSTON, TX 77025                       HOUSTON, TX 77025
BOSTON, MA 02116




NEENA STODDEN                             NEESHA SINGH                            NEG PROPERTY SERVICES
10201 S. MAIN STREET                      10201 S. MAIN STREET                    MANAGER OF FINANCE
HOUSTON, TX 77025                         HOUSTON, TX 77025                       P.O. BOX 17827
                                                                                  DENVER, CO 80217




NEG PROPERTY SERVICES, INC.               NEICI HARRINGTON                        NEIGHBORHOOD DEVELOPMENT CORP.
ATTN: NANCY GLUSMAN                       10201 S. MAIN STREET                    1200 WESTLAKE AVE NORTH 310
6218 NORTH FEDERAL HWY                    HOUSTON, TX 77025                       SEATTLE, WA 98109
FORT LAUDERDALE, FL 33308




NEIGHBORHOOD DEVELOPMENT CORP.            NEIGHBORHOOD NETWORKS PUBLISHING        NEIGHBORS EXECUTIVE COFFEE
1200 WESTLAKE AVENUE N, SUITE 504         PO BOX 602906                           3105 E RENO AVE
ATTN: RICHARD KEMP                        CHARLOTTE, NC 28260-2906                OKLAHOMA CITY, OK 73117
SEATTLE, WA 98109




NEIL ANDREE                               NEIL BARNHART                           NEIL CANTERBURY
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




NEIL FRAHM                                NEIL FUNK                               NEIL GARDNER
10201 S. MAIN STREET                      48009 BEN FRANKLIN DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                         UTICA, MI 48315                         HOUSTON, TX 77025




NEIL KELLEY                               NEIL KELLY                              NEIL KOENIG
10201 S. MAIN STREET                      3033 KELL LANE                          10201 S. MAIN STREET
HOUSTON, TX 77025                         OAKVILLE, MO 63129                      HOUSTON, TX 77025
NEIL LIGHTELL          Case 18-12241-CSS     Doc 26
                                      NEIL MAUZEY        Filed 10/05/18   PageNEIL
                                                                               1190  of 1739
                                                                                   PRESS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




NEIL REBACK                            NEIL RIVERA                            NEIL VON ARB
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




NEISHA PARCHMENT                       NEKO OCAMPOCRISS                       NELLIE GONZALES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   13139 FRANCISQUITO AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                      BALDWIN PARK, CA 91706




NELLIS CORPORATION                     NELLY BROADCASTING LLC LEWISTON        NELLY BROADCASTING LLC LEWISTON
7811 MONTROSE BLVD, SUITE 420          1694 RIDGEVIEW DR                      PO BOX 260
ROCKVILLE, MD 20854                    CLARKSTON, WA 99403                    CLARKSTON, WA 99403




NELSON ADAMOH                          NELSON ALFONSO                         NELSON CEBALLOS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




NELSON MULLINS RILEY & SCARBOROUGH     NELSON REYES                           NEMY CABINETS
LLP                                    10201 S. MAIN STREET                   11430 SUNRISE GOLD CIRCLE 4
PO BOX 11070                           HOUSTON, TX 77025                      RANCHO CORDOVA, CA 95742-6563
COLUMBIA, SC 29211




NENITA REED                            NENITA REED                            NEOPOST USA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   1335 VALWOOD PKWY STE 111
HOUSTON, TX 77025                      HOUSTON, TX 77025                      CARROLLTON, TX 75006




NEOPOST USA                            NERIA REY                              NESHIA NORD
25880 NETWORK PLACE                    C/O ASHER & ASSOCIATES, P.C.           10201 S. MAIN STREET
CHICAGO, IL 60673                      111 JOHN STREET, 14TH FLOOR            HOUSTON, TX 77025
                                       NEW YORK, NY 10038




NES-NASHVILLE ELECTRIC                 NESQ-TV                                NEST INTERNATIONAL
1214 CHURCH ST.                        GULF CALIFORNIA BROADCAST CO           ATTN: CHIEF FINANCIAL OFFICER
NASHVILLE, TN 37246                    PO BOX 873808                          550 CRESCENT BLVD
                                       KANSAS CITY, MO 64187-3808             GLOUCESTER CITY, NJ 08030




NEST INTERNATIONAL                     NESTLE PURE LIFE DIRECT                NESTOR MCAULIFFE
ATTN: CHIEF FINANCIAL OFFICER          PO BOX 856680                          10201 S. MAIN STREET
822 KLEMM AVE                          LOUISVILLE, KY 40285-6800              HOUSTON, TX 77025
GLOUCESTER CITY, NJ 08030
NET 3 HOLDINGS LLC        Case 18-12241-CSS    DocALLIANCE
                                         NET LEASE  26 Filed
                                                           LLC 10/05/18      PageNET3
                                                                                  1191  of 1739 LLC)
                                                                                      (GEORGETOWN
220 NORTH GREEN ST                        NLA UG PENSACOLA LLC                   NET3 REAL ESTATE LLC
CHICAGO, IL 60607                         445 DEXTER AVE STE 4050                220 NORTH GREEN ST
                                          MONTGOMERY, AL 36104                   CHICAGO, IL 60607




NET3 (GEORGETOWN), LLC                    NET3 (LAYTON), LLC                     NET3 (ORLANDO PARK) LLC
C/O NET3 REAL ESTATE LLC                  C/O NET3 REAL ESTATE LLC               NET3 REAL ESTATE LLC
220 NORTH GREEN ST                        220 NORTH GREEN ST                     220 NORTH GREEN ST
CHICAGO, IL 60607                         CHICAGO, IL 60607                      CHICAGO, IL 60607




NET3 HOLDINGS LLC                         NET3 HOLDINGS LLC                      NET3 LAKE CHARLES LLC
DBA NET3 LAYTON LLC                       DBA NET3 LAYTON LLC                    MR DAVID CUNNINGHAM
220 N GREEN ST                            220 NORTH GREEN ST                     2803 BUTTERFIELD RD STE 310
CHICAGO, IL 60607                         CHICAGO, IL 60607                      OAK BROOK, IL 60523




NET3 LAYTON LLC                           NET3 REAL ESTATE LLC                   NET3 RICHMOND LLC
NET3 REAL ESTATE LLC                      C/O NET3 REAL ESTATE LLC               C/O NET3 REAL ESTATE LLC
220 NORTH GREEN ST                        220 NORTH GREEN ST                     220 NORTH GREEN ST
CHICAGO, IL 60607                         CHICAGO, IL 60607                      CHICAGO, IL 60607




NET3 RICHMOND LLC                         NETBRANDS MEDIA COPR                   NETFACILITIES INC
C/O NET3 REAL ESTATE LLC                  4850 WRIGHT RD STE 100                 PO BOX 3328
220 NORTH GREEN STREET                    STAFFORD, TX 77477                     LONG BEACH, CA 90803
CHICAGO, IL 60607




NETOTIATE INC                             NETWORK HARDWARE RESALE LLC            NETWORK LOGISTICS SERVICES LLC
1050 WINTER ST STE 2700                   6500 HOLLISTER AVE STE 210             2256 SANDERS RD
WALTHAM, MA 02451                         SANTA BARBARA, CA 93117                STEM, NC 27581




NETWORK PROPERTY MANAGEMENT LLC           NETWORK PROPERTY MANAGEMENT, LLC       NETWORKING CABLING SERVICES
7820 GRAPHICS DR                          TAMMY SPILLIS                          12626 FUQUA ST
TINLEY PARK, IL 60477                     7820 GRAPHICS DRIVE                    HOUSTON, TX 77034
                                          TINLEY PARK, IL 60477




NEUMANN FAMILY COMPANY INC                NEUMANN FAMILY COMPANY, INC            NEUSTAR DATA SVC INC
36032 BAY DR                              36032 BAY DR                           PO BOX 742000
REHOBOTH BEACH, DE 19971                  REHOBOTH BEACH, DE 19971               ATLANTA, GA 30374-2000




NEUSTAR INC                               NEVA MCAFEE                            NEVADA CAPITAL ASSET MANAGEMENT
BANK OF AMERICA                           10201 S. MAIN STREET                   BUZZ HORDEN
P.O. BOX 277833                           HOUSTON, TX 77025                      2320 PASEO DEL PRADO B302
ATLANTA, GA 30384-7833                                                           LAS VEGAS, NV 89102




NEVADA DEPARTMENT OF TAXATION             NEVADA DEPARTMENT OF TAXATION          NEVADA DEPARTMENT OF TAXATION
ATTN: BUSINESS LICENSE DEPT.              ATTN: COMMERCE TAX DEPT.               ATTN: SALES & USE TAX DEPT.
PO BOX 52609                              PO BOX 52609                           555 E WASHINGTON AVE 4200
PHOENIX, AZ 85072-2609                    PHOENIX, AZ 85072-2609                 LAS VEGAS, NV 89101-1070
                      Case
NEVADA DEPT OF TAXATION       18-12241-CSS
                                        NEVADADoc
                                               DEPT26    Filed 10/05/18
                                                    OF TAXATION             PageNEVADA
                                                                                 1192 of 1739
                                                                                       DEPT OF TAXATION
1550 COLLEGE PKWY                        2550 PASEO VERDE                        4600 KIETZKE LANE
STE 115                                  STE 180                                 BLDG L
CARSON CITY, NV 89706                    HENDERSON, NV 89074                     STE 235
                                                                                 RENO, NV 89502



NEVADA DEPT OF TAXATION                  NEVADA DEPT OF TAXATION                 NEVADA EMPLOYMENT SECURITY DIVISION
GRANT SAWYER OFFICE BLDG                 STATE OF NEVADA SALE/USE                500 E THIRD ST
555 E WASHINGTON AVE                     PO BOX 52609                            CARSON CITY, NV 89713-0030
STE 1300                                 PHOENIX, AZ 85072-2609
LAS VEGAS, NV 89101



NEVADA IRRIGATION DIST.                  NEVADA IRRIGATION DISTRICT              NEVADA STATE TREASURER (FOR FEE
1036 W. MAIN ST.                         1036 W MAIN STREET                      ONLY)
GRASS VALLEY, CA 95945-5424              GRASS VALLEY, CA 95945-5424             PO BOX 844500
                                                                                 LOS ANGELES, CA 90084-4500




NEVADA STATE TREASURER                   NEVER STOP MOVING                       NEVER WITHOUT LLC
ATTN: UNCLAIMED PROPERTY DEPT.           MAURICE REED                            1731 COMMERCE DR NW STE 115
555 E WASHINGTON AVE 4200                6956 E BROAD ST 210                     ATLANTA, GA 30318
LAS VEGAS, NV 89101-1070                 COLUMBUS, OH 43213




NEW ALBERTSONS INC                       NEW ANSWERNET INC                       NEW BELL TOWER LLC
PO BOX 956679                            DBA ANSWERNET                           7000 E BELLEVIEW AVE STE 300
REF PN 625431                            2325 MARYLAND RD ST 150                 GREENWOOD VILLAGE, CO 80111
SAINT LOUIS, MO 63195-6679               WILLOW GROVE, PA 19090




NEW BERLIN                               NEW BRAUNFELS UTILITIES                 NEW BRAUNFELS UTILITIES
ATTN: PROPERTY TAX DEPT.                 263 E MAIN PLAZA                        P.O. BOX 660
3805 S CASPER DR                         NEW BRAUFELS, TX 78130                  SAN ANTONIO, TX 78293-0660
NEW BERLIN, WI 53151




NEW CARBON COMPANY LLC                   NEW CASTLE SANITATION AUTHORITY         NEW CREEK II LLC
PO BOX 129                               110 EAST WASHINGTON ST                  C/O KIMCO REALTY CORPORATION
CONCORDVILLE, PA 19331                   P.O. BOX 1404                           3333 NEW HYDE PARK ROAD, SUITE 100
                                         NEW CASTLE, PA 16103                    NEW HYDE PARK, NY 11042




NEW CREEK II LLC                         NEW CREEK LLC                           NEW DAY SERVICES INC DBA FISH WINDOW
PO BOX 842989                            PO BOX 842992                           CLEANING
BOSTON, MA 02284-2989                    BOSTON, MA 02284-2992                   151 COLLEGE DR. SUITE 7
                                                                                 ORANGE PARK, FL 32065




NEW ENGLAND DEVELOPMENT                  NEW ENGLAND INDUSTRIAL TRUCK INC        NEW ENGLAND INDUSTRIAL TRUCK INC
75 PARK PLAZA                            28519 NETWORK PLACE                     PO BOX 843109
BOSTON, MA 02116                         CHICAGO, IL 60673-1285                  WOBURN, MA 01801




NEW ENGLAND NEWSPAPERS INC               NEW ENGLAND OVERHEAD DOOR INC           NEW ENGLAND SPORTS NETWORK LTD
PO BOX 1171                              5 CHARLESVIEW RD                        PO BOX 843012
PITTSFIELD, MA 01201                     HOPEDALE, MA 01747                      BOSTON, MA 02284-3012
NEW HAMPSHIRE DEPT OFCase 18-12241-CSS
                     REVENUE ADMIN        Doc 26 DEPT
                                    NEW HAMPSHIRE   Filed  10/05/18
                                                        OF REVENUE ADMINPageNEW
                                                                             1193  of 1739ELECTRIC COOP
                                                                                 HAMPSHIRE
109 PLEASANT ST                     PO BOX 457                              579 TENNEY MOUNTAIN HWY
CONCORD, NH 03301                   CONCORD, NH 03302-0457                  PLYMOUTH, NH 03264




NEW HAMPSHIRE ELECTRIC COOP           NEW HANOVER CO TAX OFFICE             NEW HANOVER COUNTY TAX OFFICE
P.O. BOX 9612                         PO BOX 580070                         ATTN: PROPERTY TAX DEPT.
MANCHESTER, NH 03108-9612             CHARLOTTE, NC 28258-0070              PO BOX 580070
                                                                            CHARLOTTE, NC 28258




NEW HOME CHARLESTON, INC.             NEW HORIZAONS CLC OF HOUSTON          NEW HORIZONS CLC OF HOUSTON
P.O. BOX 22573                        300 E HIGHLAND MALL BLVD STE 390      300 E HIGHLAND MALL BLVD STE 390
CHARLESTON, SC 29413-2573             AUSTIN, TX 78752                      AUSTIN, TX 78752




NEW HORIZONS CLC OF NE                NEW HORIZONS CLC                      NEW INSPIRATION BROADCASTING INC
PO BOX 544                            244 GREYSTONE BLVD                    SALEM COMMUNICATIONS SACRAMENTO
MEMPHIS, TN 38101                     COLUMBIA, SC 29210                    1425 RIVER PARK DR STE 520
                                                                            SACRAMENTO, CA 95815




NEW JERSEY AMERICAN WATER             NEW JERSEY AMERICAN WATER             NEW JERSEY DEPT OF REVENUE
1025 LAUREL OAK RD                    P.O. BOX 371331                       PO BOX 046
VOORHEES, NJ 08043                    PITTSBURGH, PA 15250-7331             TRENTON, NJ 08646-0046




NEW JERSEY DEPT OF THE TREASURY       NEW JERSEY DEPT OF THE TREASURY       NEW JERSEY DEPT OF THE TREASURY
DIVISION OF ADMINISTRATION            DIVISION OF TAXATION                  DIVISION OF TAXATION
PO BOX 311                            BANKRUPTCY SECTION                    PO BOX 002
TRENTON, NJ 08625-0211                PO BOX 245                            TRENTON, NJ 08625-0002
                                      TRENTON, NJ 08695-0245



NEW JERSEY DIVISION OF TAXATION       NEW JERSEY DIVISION OF TAXATION       NEW JERSEY DIVISION OF TAXATION
REVENUE PROCESSING CTR                ATTN: BUSINESS LICENSE DEPT.          ATTN: INCOME TAX DEPT.
PO BOX 289                            PO BOX 214                            PO BOX 046
TRENTON, NJ 08695                     TRENTON, NJ 08625-0214                TRENTON, NJ 08646-0046




NEW JERSEY DIVISION OF TAXATION       NEW JERSEY DIVISION OF TAXATION       NEW JERSEY DIVISION OF TAXATION
ATTN: SALES & USE TAX DEPT.           ATTN: UNCLAIMED PROPERTY DEPT.        ATTN: UNCLAIMED PROPERTY DEPT.
PO BOX 289                            PO BOX 214                            PO BOX 289
TRENTON, NJ 08695                     TRENTON, NJ 08625-0214                TRENTON, NJ 08695




NEW JERSEY FAMILY SUPPORT             NEW JERSEY PRESS MEDIA SOLUTIONS      NEW LEAF PLAZA LLC
PAYMENT CENTER                        PO BOX 677304                         2021 N AMIDON STE 1600
PO BOX 4880                           DALLAS, TX 75267-7304                 WICHITA, KS 67203
TRENTON, NJ 08650




NEW LEAF SPEAKER MANAGEMENT LLC       NEW LENOX IL (2401-2405 E LINCOLN)    NEW LENOX IL (NEC RTE 30/VANCINA) LLC
3 BESSOM ST 123                       ATTN: ACCTS RECEIVABLE                INSITE REAL ESTATE LLC
MARBLEHEAD, MA 01945                  1400 16TH ST STE 300                  1400 16TH ST STE 300
                                      OAK BROOK, IL 60523                   OAK BROOK, IL 60523
NEW MANAGEMENT COMPANYCase    18-12241-CSS   Doc 26
                                        NEW MARKET LLC Filed 10/05/18         PageNEW
                                                                                   1194 of 1739
                                                                                      MEXICO TAXATION & REVENUE DEPT
314 FOUNDERS PARK DRIVE                  727 N WACO STE 400                        UNCLAIMED PROPERTY OFFICE
P.O. BOX 2624                            WICHITA, KS 67203                         PO BOX 25123
RAPID CITY, SD 57709                                                               SANTA FE, NM 87504-5123




NEW MEXICO TAXATION AND REVENUE          NEW MILFORD                               NEW OKEECHOBEE BLVD PROPERTIES LLC
1100 S ST FRANCIS DRIVE                  ATTN: PROPERTY TAX DEPT.                  800 N FLAGLER DR
PO BOX 630                               PO BOX 150416                             WEST PALM BEACH, FL 33401
SANTA FE, NM 87504-0630                  HARTFORD, CT 06115-0416




NEW OKEECHOBEE BOULEVARD                 NEW ORLEANS MOMS BLOG LLC                 NEW OSIMO LLC
PROPERTIES, LLC                          PO BOX 725                                2730 SW 3RD AVE STE 301
800 N. FLAGLER DRIVE                     MANDEVILLE, LA 70470                      MIAMI, FL 33129
WEST PALM BEACH, FL 33401




NEW OSIMO LLC                            NEW OSIMO LLC                             NEW PHASE INVESTMENTS LLC
P.O. BOX 450487                          PO BOX 14127                              SRA STRATEGIC REALTY ADVISORS LLC
MIAMI, FL 33129                          NORTH PALM BEACH, FL 33408                2001 TEXAS AVE STE 800
                                                                                   COLLEGE STATION, TX 77840




NEW PLAN CINNAMINSON URBAN               NEW PLAN CINNAMINSON URBAN                NEW PLAN OF ARLINGTON HEIGHTS LLC
1621 RIVERTON RD                         P.O. BOX 645324                           BRIXMOR PROP GROUP
CINNAMINSON, NJ 08077                    CINCINNATI, OH 45264-5324                 PO BOX 645324
                                                                                   CINCINNATI, OH 45264-5324




NEW PLAN OF ARLINGTON HEIGHTS, LLC       NEW PLAN OF ARLINGTON HEIGHTS, LLC        NEW PLAN OF ARLINGTON HEIGHTS, LLC
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP                C/O BRIXMOR PROPERTY GROUP
450 LEXINGTON AVENUE, 13TH FLOOR         450 LEXINGTON AVENUE, 13TH FLOOR          PO BOX 645324
ATTN: OFFICE OF GENERAL COUNSEL          ATTN: OFFICE OF GENERAL COUNSEL           CINCINNATI, OH 45264-5324
NEW YORK, NY 10170                       NORTHBROOK, IL 60062



NEW PLAN OF CINNAMINSON LP               NEW PLAN OF CINNAMINSON LP                NEW PLAN OF CINNAMINSON, LP
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP                C/O BRIXMOR PROPERTY GROUP
PO BOX 645324                            PO BOX 645324                             450 LEXINGTON AVENUE, 13TH FLOOR
CINCINNATI, OH 45264                     CINCINNATI, OH 45264-5324                 ATTN: GENERAL COUNSEL
                                                                                   NEW YORK, NY 10170



NEW PLAN OF CINNAMINSON, LP              NEW PLAN OF CINNAMINSON, LP               NEW PLAN PROPERTY HOLDING CO
C/O BRIXMOR PROPERTY GROUP               C/O BRIXMOR PROPERTY GROUP                BRIXMOR PROPERTY GROUP
PO BOX 645324                            PO BOX 645324                             PO BOX 645321
CINCINNATI, OH 45264                     CINCINNATI, OH 45264-5324                 CINCINNATI, OH 45264-5321




NEW PROVIDENCE ROLLING ACRES LP          NEW PROVIDENCE ROLLING ACRES LP           NEW RIVER LIGHT & POWER CO
340 ROYAL POINCIANA WAY STE 316          BOX 935133                                146 FACULTY STREET EXTENSION
PALM BEACH, FL 33480                     ATLANTA, GA 31193                         PO BOX 1130
                                                                                   BOONE, NC 28607




NEW RIVER LIGHT & POWER CO               NEW SIENA PROPERTY MGMT LLC               NEW VIEW MOVING
P.O. BOX 1130                            7600 SAN FELIPE                           922 N COLORADO ST
BOONE, NC 28607                          HOUSTON, TX 77063                         GILBERT, AZ 85233
                       Case
NEW W MICHIGAN INDUSTRIAL     18-12241-CSS
                           INVESTORS    NEW W Doc   26 INDUSTRIAL
                                               MICHIGAN   Filed 10/05/18
                                                                  INVESTORS PageNEW
                                                                                 1195  of MICHIGAIN
                                                                                     WEST 1739 INDUSTRIAL
LLC                                     LLC                                     INVESTORS, L.L.C.
39400 WOODWARD AVE STE 250              DEPT 771123                             C/O KOJAIAN MANAGEMENT CORPORATION
BLOOMFIELD HILLS, MI 48304              PO BOX 77000                            39400 WOODWARD AVE, SUITE 250
                                        DETROIT, MI 48277                       BLOOMFIELD HILLS, MI 48034



NEW WIND USA LLC                       NEW WINDSOR BUSINESS PARK ASSOC LLC     NEW YORK AMERICAN WATER
1225 BURTON CIRCLE                     321 NEWBRIDGE RD                        60 BROOKLYN AVE
FULLERTON, CA 92831                    HICKSVILLE, NY 11801                    MERRICK, NY 11566




NEW YORK AMERICAN WATER                NEW YORK CITY ALARM CORP                NEW YORK CITY DEPARTMENT OF
P.O. BOX 371332                        160-32 WILLETS POINT BLVD               CONSUMER AFFAIRS, A/R DIVISION
PITTSBURGH, PA 15250-7332              WHITESTONE, NY 11357                    42 BROADWAY 8TH FLOOR
                                                                               NEW YORK, NY 10004




NEW YORK CITY                          NEW YORK CITY                           NEW YORK DEPT. OF FINANCE
ATTN: COMMERCIAL RENT TAX DEPT.        ATTN: INCOME TAX DEPT.                  BANKRUPTCY SECTION
PO BOX 3922                            ONE CENTRE STREET                       PO BOX 5300
NEW YORK, NY 10008                     22ND FLOOR                              ALBANY, NY 122050300
                                       NEW YORK, NY 10007



NEW YORK DEPT. OF FINANCE              NEW YORK DEPT. OF FINANCE               NEW YORK LIFE INSURANCE COMPANY
W.A. HARRIMAN CAMPUS, B8               W.A. HARRIMAN CAMPUS, B8                DBA REEP-IND AEGEAN MA LLC
BLDG 9 RM 449                          RM 700                                  51 MADISON AVE ROOM 901
ALBANY, NY 12227                       ALBANY, NY 12227                        NEW YORK, NY 10010




NEW YORK LIFE INSURANCE COMPANY        NEW YORK LIFE INSURANCE COMPANY         NEW YORK METS
DBA REEP-IND AEGEAN MA LLC             PO BOX 742582                           ATTN: CHRISTINA ANDREWS-TICKET OFFICE
51 MADISON AVE                         CINCINNATI, OH 45274-2582               CITI FIELD 120-01 ROOSEVELT AVE
NEW YORK, NY 10010                                                             FLUSHING, NY 11368




NEW YORK POST                          NEW YORK POST                           NEW YORK POWER AUTHORITY
ATTN: LARRY STRICKLAND                 PO BOX 7247-7702                        123 MAIN ST
1211 AVE OF THE AMERICAS 15TH FL       PHILADELPHIA, PA 19170-7702             MAIL STOP 10 B
NEW YORK, NY 10036-8790                                                        WHITE PLAINS, NY 10601-3170




NEW YORK POWER AUTHORITY               NEW YORK STATE COMPTROLLER              NEW YORK STATE DEPARTMENT OF
P.O.BOX 5211                           UNCLAIMED FUNDS OFFICE-REMIT CONTROL    TAXATION AND FINANCE
BINGHAMTON, NY 13902-5211              110 STATE ST 2ND FLOOR                  ATTN: SALES & USE TAX DEPT.
                                       ALBANY, NY 12236                        PO BOX 22001
                                                                               ALBANY, NY 12201-2001



NEW YORK STATE DEPT OF                 NEW YORK STATE FAIR                     NEW YORK STATE FAIR
TRANSPORTATION                         581 STATE FAIR BLVD                     NYS DEPT OF AGRI & MKTS
UCR APPLICATIONS                       SYRACUSE, NY 13209                      ATTN SALES SPONSORSHIP581 STATE FAIR
50 WOLD RD POD53                                                               BLVD
ALBANY, NY 12232-0879                                                          SYRACUSE, NY 13209-1560



NEW YORK                               NEW YORK                                NEW YORK
ATTN: BUSINESS LICENSE DEPT.           ATTN: INCOME TAX DEPT.                  ATTN: TAX DEPT.
PO BOX 2307                            ONE CENTRE STREET 22ND FLOOR            PO BOX 22001
NEW YORK, NY 10272                     NEW YORK, NY 10007                      ALBANY, NY 12201-2001
NEW YORK               Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      NEW YORK                                 PageNEWARK
                                                                                    1196 of 1739
                                                                                          MECHANICAL
ATTN: UNCLAIMED PROPERTY DEPT.        ATTN: UNCLAIMED PROPERTY DEPT.               PO BOX 820
110 STATE ST 2ND FLOOR                59 MAIDEN LANE                               NEWARK, CA 94560
ALBANY, NY 12236                      NEW YORK, NY 10038




NEWCASTLE RETAIL MGMT                    NEWELL NORMAND SHERIFF & EX-OFFICIO       NEWINGTON REVENUE COLLECTOR
C/O ACCTNG DPT                           TAX COLLECTOR                             DEPT 339
150 N MICHIGAN AVE STE 3610              PO BOX 248                                PO BOX 150401
CHICAGO, IL 60601                        GRETNA, LA 70054-0248                     HARTFORD, CT 06115-0401




NEWINGTON WESTFARMS TMC LLC              NEWINGTON WESTFARMS TMC LLC               NEWINGTON WESTFARMS TMC, LLC
C/O TARTAGLIA ASSOCIATES                 477 MAIN STREET, SUITE 212                477 MAIN STREET, SUITE 212
477 MAIN ST                              MONROE, CT 06468                          MONROE, CT 06468
MONROE, CT 06468




NEWMAN & MARCUS LAW CORP.                NEWMARK & CO. REAL ESTATE INC.            NEWMARK GRUBB KNIGHT FRANK
ATTN: EDWARD W. NEWMAN                   ALPHIE TORO, SR. MANAGING DIRECTOR        MANAGEMENT
31 CAPITOLA AVE., SUITE K                125 PARK AVENUE                           2907 PROVIDENCE ROAD, SUITE 302
CAPITOLA, CA 95010                       NEW YORK, NY 10017                        CHARLOTTE, NC 28211




NEWMARK GRUBB KNIGHT FRANK               NEWMARK GRUBB KNIGHT FRANK                NEWMARK GRUBB ZIMMER
BRIE MARTIN, PM                          ERNIE JACKSON                             8235 FORSYTH, SUITE 310
150 GREENWICH STREET                     2398 EAST CAMELBACK ROAD, SUITE 950       ST. LOUIS, MO 63105
FOUR WORLD TRADE CENTER, 52ND FL         PHOENIX, AZ 85016
NEW YORK, NY 10007



NEWMARK KNIGHT FRANK                     NEWMARK MERRILL COMPANIES                 NEWMARK MIDWEST REGION LLC
ATTN: LADD KEEGAN                        ATTN: PROPERTY MANAGER SHAINA             NEWMARK GRUBB KNIGHT FRANK
1899 PENNSYLVANIA AVENUE NW, SUITE 300   HARRINGTON                                500 W MONROE ST STE 2900
WASHINGTON, DC 20006                     427 COLLEGE BOULEVARD, SUITE K            CHICAGO, IL 60661
                                         OCEANSIDE, CA 92057



NEWNAN UTILITIES                         NEWNAN UTILITIES                          NEWNAN UTILITIES
ATTN LEGAL COUNSEL                       P.O. BOX 578                              P.O. BOX 931808
70 SEWELL RD                             NEWNAN, GA 30264                          ATLANTA, GA 31193-1808
NEWMAN, GA 30263




NEWPORT CAPITAL PARTNERS HOLDING LLC     NEWPORT CAPITAL PARTNERS                  NEWPORT CITY HALL
ATTN: SHANNON WOFFORD                    ATTN: SHANNON WOFFORD                     OFFICE OF THE CITY CLERK
350 N LASALLE ST STE 700                 350 N LASALLE ST STE 700                  43 BROADWAY
CHICAGO, IL 60654                        CHICAGO, IL 60654                         NEWPORT, RI 02840




NEWPORT NEWS CITY TREASURER              NEWPORT NEWS WATERWORKS                   NEWPORT NEWS WATERWORKS
ATTN: PROPERTY TAX DEPT.                 ATTN LOUIS MARTINEZ, DIRECTOR             P.O. BOX 979
2400 WASHINGTON AVE.                     700 TOWN CENTER DR                        NEWPORT NEWS, VA 23607-0979
NEWPORT NEWS, VA 23607-4389              NEWPORT NEWS, VA 23606




NEWPORT                                  NEWQUEST PROPERTIES                       NEWQUEST PROPERTIES
ATTN: PROPERTY TAX DEPT.                 8827 W. SAM HOUSTON PARKWAY N., SUITE     8827 W. SAM HOUSTON PARKWAY N., SUITE
PO BOX 1090                              200                                       200
NEWPORT, KY 41071-0900                   HOUSTON, TX 77040                         HOUSTON, TX 78299
NEWS & NEIGHBOR          Case 18-12241-CSS
                                        NEWS &Doc 26 Filed 10/05/18
                                              OBSERVER                        PageNEWS
                                                                                   1197& of 1739
                                                                                         RECORD
PO BOX 5006                             PO BOX 3022                               P.O. BOX 26983
JOHNSON CITY, TN 37602                  LIVONIA, MI 48151                         RICHMOND, VA 23261-6983




NEWS 12 NETWORKS LLC                    NEWS PUBLISHING & JOURNAL GAZETTE         NEWS PUBLISHING COMPANY INC
PO BOX 392068                           COMPANY                                   PO BOX 1633
PITTSBURGH, PA 15251-9068               600 W MAIN ST                             ROME, GA 30162
                                        FORT WAYNE, IN 46802




NEWS RADIO 920                          NEWS WEST PUBLISHING                      NEWSDAY MEDIA GROUP
QUEEN B RADIO INCORPORATED              PO BOX 21209                              235 PINELAWN RD
PO BOX 749842                           BULLHEAD CITY, AZ 86439                   MELVILLE, NY 11747
LOS ANGELES, CA 90074-9842




NEWSDAY MEDIA GROUP                     NEWSPAPER HOLDINGS INC DBA RICHMOND       NEWSPAPERS HOLDING INC
ATTN: CASHIERS DEPT                     REGISTER                                  222 SOUTH 7TH ST
PO BOX 3002                             380 BIG HILL AVENUE                       TERRE HAUTE, IN 47807
BOSTON, MA 02241-3002                   P O BOX 99
                                        RICHMOND, KY 40475



NEWSPAPERS OF MASSACHUSETTS             NEWSPAPERS OF NEW HAMPSHIRE               NEWSPAPERS OF WEST GEORGIA
THE RECORDER                            VALLEY NEWS                               901 HAYS MILL RD
14 HOPE ST                              PO BOX 877                                CARROLLTON, GA 30117
GREENFIELD, MA 01301                    WHITE RIVER JUNCTION, VT 05001




NEWSPAPERS OF WEST GEORGIA              NEWS-PRESS MEDIA GROUP                    NEWTECH SYSTEMS INC
CO PAXTON MEDIA GROUP                   P.O. BOX 677583                           1850 DALTON AVE
PO BOX 1400                             DALLAS, TX 75267-7583                     ASHLAND, KY 41102-2308
PADUCAH, KY 42002




NEWTON CENTER ASSOCIATES                NEWTON COUNTY TAX COMMISSIONER            NEWTON
550 MAMARONECK AVENUE, SUITE 411        1113 USHER ST NW STE 101                  ATTN: PROPERTY TAX DEPT.
HARRISON, NY 10528                      COVINGTON, GA 30014-2470                  1113 USHER ST NW STE 101
                                                                                  COVINGTON, GA 30014-2470




NEWTON, CATHERINE                       NEWTOWN CENTER ASSOCIATES                 NEWTOWN EMERGENCY SERVICES DEPT
55 MAYNARD RD                           550 MAMARONECK AVE STE 411                55 MUNICIPAL DR
DEDHAM, MA 20261-732                    HARRISON, NY 10528-1634                   NEWTOWN, PA 18940




NEWTOWN PLAZA ASSOCIATES LLC            NEWTOWN PLAZA ASSOCIATES LLC              NEWTOWN SEWER AUTHORITY
2268 HAVERSHAM CLOSE                    ATTN: JOHN GEORGHIOU                      15 S CONGRESS ST
VIRGINIA BEACH, VA 23454                1340 N. GREAT NECK ROAD, SUITE 1272-354   NEWTON, PA 18940
                                        VIRGINIA BEACH, VA 23454




NEWTOWN SEWER AUTHORITY                 NEWTOWN TOWNSHIP                          NEWTOWN TOWNSHIP
P.O. BOX 329                            FINANCE DEPT.                             PO BOX 372
NEWTOWN, PA 18940-0329                  100 MUNICIPAL DR.                         NEWTOWN SQUARE, PA 19073-0372
                                        NEWTOWN, PA 18940
                     Case 18-12241-CSS
NEWTOWN TWSP MUNIC AUTHORITY        NEWTOWNDocTWSP
                                                 26 MUNIC
                                                      Filed 10/05/18
                                                          AUTHORITY    PageNEWTOWN
                                                                            1198 of 1739
209 BISHOP HOLLOW RD                P.O. BOX 464                           ATTN: PROPERTY TAX DEPT.
NEWTOWN SQUARE, PA 19073            PLEASANT GROVE, UT 84062               PO BOX 5
                                                                           NEWTOWN, CT 06470




NEXAIR LLC                           NEXAIR LLC                            NEXI JOHNSON
1385 CORPORATE AVE                   PO BOX 125                            10201 S. MAIN STREET
MEMPHIS, TN 38132                    MEMPHIS, TN 38101-0125                HOUSTON, TX 77025




NEXSTAR BROADCASTING INC             NEXSTAR BROADCASTING INC              NEXT DAY SIGNS
DBA WFFF                             DBA WVNY                              14747 N NORTHSIGHT BLVD STE 111-128
201 HUMBOLDT ST                      201 HUMBOLDT ST                       SCOTTSDALE, AZ 85260
ROCHESTER, NY 14610                  ROCHESTER, NY 14610




NEXT PROPERTY MANAGEMENT, INC.       NEXT PROTECTION                       NEXTAG INC
ATTN: KAREN PINTA                    328 S ROCKFORD DR STE 5               2955 CAMPUS DR 3RD FL
5215 OLD ORCHARD ROAD, SUITE 880     TEMPE, AZ 85281                       SAN MATEO, CA 94403
SKOKIE, IL 60077




NEXUS DEVELOPMENT CORPORATION        NEXUS IS INC                          NEXUS IS INC
ATTN: KAREN MESSICK                  27202 W TURNBERRY LN 100              FILE 1522
16842 NORTH 7TH STREET, SUITE 7      VALENCIA, CA 91355                    1801 W OLYMPIC BLVD
PHOENIX, AZ 85022                                                          PASADENA, CA 91199-1522




NEYRA RAMOS VALDEZ                   NEZ PERCE COUNTY TAX COLLECTOR        NEZ PERCE
4632 PHILADELPHIA ST                 PO BOX 896                            ATTN: PROPERTY TAX DEPT.
CHINO, CA 91710                      LEWISTON, ID 83501                    PO BOX 896
                                                                           LEWISTON, ID 83501




NFC LAND & CATTLE LLC                NFC LAND & CATTLE, LLC                NFC LAND & CATTLE, LLC
BONAVIA PROPERTIES / BPMG            1081 S. GLENDALE STREET               BONAVIA PROPERTIES / BPMG
PO BOX 20050                         WICHITA, KS 67218                     PO BOX 20050
WICHITA, KS 67208                                                          WICHITA, KS 67208




NFP RETIREMENT INC                   NFT ENVIRONMENTAL SERVICES            NGET-TV
120 VANTIS STE 400                   400 NORTH BRANCH RD                   2175 W 1700 S
ALISO VIEJO, CA 92656                OAKDALE, PA 15071                     SALT LAKE CITY, UT 84104




NGL ENERGY PARTNERS LP               NGOZI OKONMAH                         NGS INC
6120 S YALE AVE STE 805              10201 S. MAIN STREET                  PO BOX 73596
TULSA, OK 74136                      HOUSTON, TX 77025                     PUYALLUP, WA 98373-0596




NH DRA                               NH INDUSTRIAL INC                     NH INDUSTRIAL, INC.
PO BOX 1265                          C/O WILLIAM K LYONS                   C/O WILLIAM K LYONS
CONCORD, NH 03302-1265               825 WRIGHT ST                         825 WRIGHT ST
                                     ENGLEWOOD, FL 34223                   ENGLEWOOD, FL 34223
NHAT TRAN              Case 18-12241-CSS
                                      NHON Doc 26        Filed 10/05/18   PageNIA
                                                                               1199
                                                                                  EARPof 1739
10201 S. MAIN STREET                  PO BOX 844304                            10201 S. MAIN STREET
HOUSTON, TX 77025                     DALLAS, TX 75284                         HOUSTON, TX 77025




NIA IMANI DOWNS                       NIA MARSHALL                             NIATS REALTY GROUP
67 ROCKPORT DR                        10201 S. MAIN STREET                     ATTN: TARIQ KHAN
RIVERDALE, GA 30274                   HOUSTON, TX 77025                        1345 POND LANE
                                                                               HEWLETT HARBOR, MA 11557




NIATS REALTY GROUP                    NIC BACON                                NIC DELUCA
ATTN: TARIQ KHAN                      10201 S. MAIN STREET                     10201 S. MAIN STREET
1345 POND LANE                        HOUSTON, TX 77025                        HOUSTON, TX 77025
HEWLETT HARBOR, NY 11557




NIC THISSEN                           NICANOR MARTINEZ                         NICE AND CLEAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     1159 E SKYLAND CIRCLE
HOUSTON, TX 77025                     HOUSTON, TX 77025                        MOBILE, AL 36693




NICHOLAS ASELTA                       NICHOLAS ASTONE                          NICHOLAS AVINO
10201 S. MAIN STREET                  465 SHORE RD APT 7S
HOUSTON, TX 77025                     LONG BEACH, NY 11561




NICHOLAS B CHAMP                      NICHOLAS BEDEL                           NICHOLAS BERUBE
4197 KINGSTON HWY                     10201 S. MAIN STREET                     10201 S. MAIN STREET
KINGSTON, TN 37763                    HOUSTON, TX 77025                        HOUSTON, TX 77025




NICHOLAS BOLOGNA                      NICHOLAS BROCHU                          NICHOLAS BROWN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




NICHOLAS BRYANT                       NICHOLAS BURGER                          NICHOLAS CANNIZZARO
10201 S. MAIN STREET                  10201 S. MAIN STREET                     9701 MEYER FOREST DR 10109
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77096




NICHOLAS CARRIO                       NICHOLAS CHAMP                           NICHOLAS CONTRERAS
10201 S. MAIN STREET                  DBA GRASSMASTERS LAWN CARE               1300 HARVEY MITCHELL PKWY APT 1423A
HOUSTON, TX 77025                     1628 BALCKWOOD DR.                       COLLEGE STATION, TX 77840
                                      KNOXVILLE, TN 37923




NICHOLAS CRAM                         NICHOLAS CRISTALDI                       NICHOLAS DALESSANDRO
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025
NICHOLAS DAVILA       Case   18-12241-CSS    Doc
                                       NICHOLAS   26 Filed 10/05/18
                                                DEVLIN                PageNICHOLAS
                                                                           1200 ofDICKINSON
                                                                                   1739
2200 WILLOW CREEK DR 604               10201 S. MAIN STREET                10201 S. MAIN STREET
AUSTIN, TX 78741                       HOUSTON, TX 77025                   HOUSTON, TX 77025




NICHOLAS DODT                          NICHOLAS EDWARDS                    NICHOLAS ELIAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




NICHOLAS FARNSWORTH                    NICHOLAS FAZIO                      NICHOLAS FIERRO
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




NICHOLAS FIOLA                         NICHOLAS GEARHART                   NICHOLAS GEHRINGER
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




NICHOLAS GIUFFRE                       NICHOLAS GLADSON                    NICHOLAS GOLLIDAY
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




NICHOLAS GRESS                         NICHOLAS HAASE                      NICHOLAS HAYNES
10201 S. MAIN STREET                   3970 E PINOU CT                     10201 S. MAIN STREET
HOUSTON, TX 77025                      GILBERT, AZ 85234                   HOUSTON, TX 77025




NICHOLAS HERNANDEZ                     NICHOLAS HERNANDEZ                  NICHOLAS JACKSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




NICHOLAS JEPSON                        NICHOLAS KENKEL                     NICHOLAS L GLADSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                3116 HIGH POINTE DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                   BELLEVILLE, IL 62221




NICHOLAS L GREMILLION                  NICHOLAS L. GLADSON                 NICHOLAS LECLAIR
                                       DISTRICT MANAGER-ST LOUIS           10201 S. MAIN STREET
                                       630 SPRINGDALE DR                   HOUSTON, TX 77025
                                       BELLEVILLE, IL 62224




NICHOLAS M TILIAKOS                    NICHOLAS MALONEY                    NICHOLAS MARKHAM
465 FREEMAN ST                         10201 S. MAIN STREET                10201 S. MAIN STREET
LONGWOOD, FL 32750                     HOUSTON, TX 77025                   HOUSTON, TX 77025
NICHOLAS MAROON        Case 18-12241-CSS    Doc
                                      NICHOLAS   26 Filed 10/05/18
                                               MATHEWS                   PageNICHOLAS
                                                                              1201 ofMCCALLY
                                                                                      1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                  717 WATERFALL CIRCLE
HOUSTON, TX 77025                      HOUSTON, TX 77025                     DELTONA, FL 32725




NICHOLAS MCCARTHY                      NICHOLAS MCCARTHY                     NICHOLAS MOORE
8104 MEADOW CIRCLE                     8104 MEADOW CIRCLE                    10201 S. MAIN STREET
ATLANTA, GA 30349                      COLLEGE PARK, GA 30349                HOUSTON, TX 77025




NICHOLAS MOORE                         NICHOLAS PARK MALL LLC                NICHOLAS PARK MALL LLC
10201 S. MAIN STREET                   C/O METRO COMMERCIAL MANAGEMENT       C/O METRO COMMERCIAL MANAGEMENT
HOUSTON, TX 77025                      SERV, INC.                            SERV, INC.
                                       307 FELLOWSHIP ROAD, SUITE 230        307 FELLOWSHIP ROAD, SUITE 230
                                       MOUNT LAUREL, NJ 08054                MT. LAUREL, NJ 08054



NICHOLAS PARK MALL LLC                 NICHOLAS PAYNE                        NICHOLAS PIANA
METRO COMMERCIAL MGMT SERV             10201 S. MAIN STREET                  7534 NE 6TH CT
307 FELLOWSHIP ROAD, SUITE 230         HOUSTON, TX 77025                     MIAMI, FL 33138
MOUNT LAUREL, NJ 08054




NICHOLAS PRUDHOMME                     NICHOLAS PUSATERI                     NICHOLAS PUSATERI
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




NICHOLAS QUINN                         NICHOLAS RAMIREZ                      NICHOLAS RECCHIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




NICHOLAS RODRIGUEZ                     NICHOLAS RUSZCZYK                     NICHOLAS SALDIVAR
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




NICHOLAS SAMMAURO                      NICHOLAS SAMMAURO                     NICHOLAS SCOTT SHAWHAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                  229 N CASS ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                     DELPHOS, OH 45833




NICHOLAS SEIULI                        NICHOLAS SHREFFLER                    NICHOLAS SINCLAIR
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




NICHOLAS STOREY                        NICHOLAS TOTH                         NICHOLAS VACANTE
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025
NICHOLAS VELARDO       Case 18-12241-CSS    Doc
                                      NICHOLAS   26 Filed 10/05/18
                                               VONDUHN               PageNICHOLAS
                                                                          1202 ofWELLS
                                                                                  1739
5255 CLATON RD 239                     10201 S. MAIN STREET              10201 S. MAIN STREET
CONCORD, CA 94521                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NICHOLAS WHITFIELD                     NICHOLAS WILLIAMS                 NICHOLAS ZAMOT
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NICHOLAS ZARAGOZA                      NICHOLAS ZUMWALT                  NICHOLE ADAMS
2743 DUTTON DR.                        10201 S. MAIN STREET              3415 S LINDEN AVE APT 210
DALLAS, TX 75211                       HOUSTON, TX 77025                 LONG BEACH, CA 90807




NICHOLE SANDERS                        NICHOLE SOARES                    NICHOLE STEPHENSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NICHOLLE MARTIN                        NICHOLOUS THORNTON                NICK ASTONE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NICK BENINCASA                         NICK BLAZAK                       NICK BLODGETT
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NICK CARR                              NICK COONS                        NICK DAMIAN-PEREZ
329 A MARTIN LUTHER KING JR DR         10201 S. MAIN STREET              10201 S. MAIN STREET
GREENSBORO, NC 27406                   HOUSTON, TX 77025                 HOUSTON, TX 77025




NICK DAUGHENBAUGH                      NICK DAYTON                       NICK DEPUCCIO
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NICK DILL                              NICK FALK                         NICK FARRAR
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




NICK FELIPE                            NICK FRANCIONE                    NICK GERBERICH
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025
NICK GILLENS           Case 18-12241-CSS    Doc 26
                                      NICK GONZALEZ      Filed 10/05/18   PageNICK
                                                                               1203  of 1739
                                                                                   GREMILLION
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




NICK GUNN                              NICK HAGMAN                             NICK HERNANDEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




NICK HERRING                           NICK HIGHTOWER                          NICK HUGHES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




NICK JOHNSON                           NICK JOHNSON                            NICK KEPHART
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




NICK KOSNICK                           NICK KUZMICK                            NICK LEONARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




NICK MARTIN                            NICK MCCALLY                            NICK MCGILLIVRAY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




NICK MITTEN                            NICK PEDEN                              NICK PENA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




NICK PRICE                             NICK QUINN                              NICK RASMUSSEN
10201 S. MAIN STREET                   2402 FOREST GARDEN DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                      KINGWOOD, TX 77345                      HOUSTON, TX 77025




NICK RICHARDSON                        NICK RICHARDSON                         NICK RICHMOND
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




NICK SALAZAR                           NICK SALIC                              NICK SCRIBNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
NICK SHARP              Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                       NICK STRICKLAND                PageNICK
                                                                           1204  of 1739
                                                                               TEDRICK
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




NICK THOMAS                             NICK TIASKKUN                     NICK WARNER
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




NICK WILLIAMS                           NICK WILLIAMS                     NICK WILSON
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




NICK ZAMOT                              NICKI MCCREARY                    NICKLIES & COMPANY
31646 CROSS CREEK LN                    NICKI MCCREARY HOPKINS            AS MANAGER FOR CMT TIC
WESLEY CHAPEL, FL 33543                 4047 SUMMER AVE 2                 ATTN: DAVID W NICKLIES
                                        MEMPHIS, TN 38122                 6060 DUTCHMANS LN STE 110
                                                                          LOUISVILLE, KY 40205



NICKLIES DEVELOPMENT                    NICKOLAS FANN                     NICKOLOS A VALDEZ
ATTN: SHANNON HARRITT                   10201 S. MAIN STREET              10407 MAGNOLIA BLVD 215
6060 DUTCHMANS LANE, SUITE 110          HOUSTON, TX 77025                 TOLUCA TERRACE, CA 91601
LOUISVILLE, KY 40205




NICOH VELEZ                             NICOLA TRUETT                     NICOLAS BELL
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




NICOLAS BOISJOLIE                       NICOLAS D ERAMO                   NICOLAS LOPEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




NICOLAS MADRID                          NICOLAS S GONZALEZ                NICOLAS WATSON
4704 CHIAPPERO TRAIL                                                      10201 S. MAIN STREET
AUSTIN, TX 78731                                                          HOUSTON, TX 77025




NICOLE ALEXIS PARRISH                   NICOLE ANDERSEN                   NICOLE ANDREWES
5419 CRESTLINE DR                       10201 S. MAIN STREET              10201 S. MAIN STREET
FOREST HILL, CA 95631                   HOUSTON, TX 77025                 HOUSTON, TX 77025




NICOLE ARNOLD                           NICOLE BALL                       NICOLE BARKSDALE
3624 IRONSIGHT CT                       10201 S. MAIN STREET              10201 S. MAIN STREET
RALEIGH, NC 27616                       HOUSTON, TX 77025                 HOUSTON, TX 77025
NICOLE BITONDO          Case 18-12241-CSS
                                       NICOLEDoc 26
                                             BOEBER      Filed 10/05/18   PageNICOLE
                                                                               1205 BRYANT
                                                                                     of 1739
10201 S. MAIN STREET                   5 HUNTLEY CASTLE CT                    10201 S. MAIN STREET
HOUSTON, TX 77025                      TAYLORS, SC 29687                      HOUSTON, TX 77025




NICOLE COYLE                           NICOLE CROY                            NICOLE DANIELS
10201 S. MAIN STREET                   2801 WELLS BRANCH PK 1622              5656 BEACON PARK 6
HOUSTON, TX 77025                      AUSTIN, TX 78728                       MEMPHIS, TN 38134




NICOLE DORNER                          NICOLE DYDAK                           NICOLE EPPINGER
3026 CHICORY RD                        10201 S. MAIN STREET                   10201 S. MAIN STREET
RACINE, WI 53403                       HOUSTON, TX 77025                      HOUSTON, TX 77025




NICOLE EVANS                           NICOLE FORSEE                          NICOLE GEOFFROY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




NICOLE GRIMM                           NICOLE HALL                            NICOLE HIBBARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




NICOLE JOHNSON                         NICOLE JONES                           NICOLE LESSINGER-BELY
941 WILLOUGHBY AVE 2                   10201 S. MAIN STREET                   10201 S. MAIN STREET
BROOKLYN, NY 11221                     HOUSTON, TX 77025                      HOUSTON, TX 77025




NICOLE M BATEMAN                       NICOLE M BINGHAM                       NICOLE M NEAL
591 MAIN ST PO BOX 79                  925 HUNTINGTON DR                      402 LEGEND CREEK PT
LEESBURG, NJ 08327                     ELK GROVE VILLAGE, IL 60007            CANTON, GA 30114




NICOLE MARIE GROTENHUIS                NICOLE MIRAMONTES                      NICOLE NEVILLE
2914 N DELAWARE ST                     10201 S. MAIN STREET                   10201 S. MAIN STREET
INDIANAPOLIS, IN 46205                 HOUSTON, TX 77025                      HOUSTON, TX 77025




NICOLE PATLAN                          NICOLE R DAVIS                         NICOLE ROOHAN
10201 S. MAIN STREET                   6323 TAHITIAN DRIVE                    149 COUNTRYWALK RD
HOUSTON, TX 77025                      BRADENTON, FL 34207                    SCHENECTADY, NY 12306




NICOLE ROTEN                           NICOLE SMITH                           NICOLE TATE-ALVAREZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   103 PRAIRIE FALCON DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                      GROVELAND, FL 34736
NICOLE VAQUERO         Case 18-12241-CSS
                                      NICOLEDoc 26
                                            VRABEE        Filed 10/05/18   PageNICOLE
                                                                                1206 WILKUM
                                                                                      of 1739
10201 S. MAIN STREET                  1114 WABENA AVE                          10201 S. MAIN STREET
HOUSTON, TX 77025                     MINOOKA, IL 60447                        HOUSTON, TX 77025




NICOLE WITTELSBERGER                  NICOLETTE HUEBOTTER                      NICOLETTE HUEBOTTER
10201 S. MAIN STREET                  7523 AVENUE J UNIT C                     7523 AVENUE J UNIT C
HOUSTON, TX 77025                     BEASLEY, TX 77417                        BEASLEY, TX 77417




NICOLLE DEPRIEST                      NICOR GAS                                NICOR GAS
10201 S. MAIN STREET                  1844 FERRY RD                            P.O. BOX 5407
HOUSTON, TX 77025                     NAPERVILLE, IL 60563                     CAROL STREAM, IL 60197-5407




NIDAMI LLC                            NIDAMI LLC                               NIDAMI LLC
304 INDIAN TRACE STE 507              304 INDIAN TRACE, SUITE 507              304 INDIAN TRACE, SUITE 507
FORT LAUDERDALE, FL 33326             FORT LAUDERDALE, FL 33326                WESTON, FL 33326




NIDAMI LLC                            NIEDERHAUS BROS. REFUSE INC.             NIEDERHAUS BROS. REFUSE INC.
967 MARINA DR                         1905 YOLANDE AVE                         1905 YOLANDE
WESTON, FL 33327                      LINCOLN, NE 68521                        LINCOLN, NE 68521




NIELSEN AUDIO INC                     NIELSEN MEDIA RESEARCH                   NIFONG REALTY
PO BOX 3228                           PO BOX 88961                             2181 S. ONEIDA STREET 1
CAROL STREAM, IL 60132-3228           CHICAGO, IL 60695-8961                   GREEN BAY, WI 54304




NIGEA TUFT-WILLIAMS                   NIGEL DAVIS                              NIGEL FAIR
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




NIGEL FRANK INTERNATIONAL INC         NIK DANIELS                              NIK KUJACZNSKI
110 WILLIAM ST FL 21                  10201 S. MAIN STREET                     10201 S. MAIN STREET
NEW YORK, NY 10038                    HOUSTON, TX 77025                        HOUSTON, TX 77025




NIKA HURST                            NIKA MILLER                              NIKA MILLER, ET AL.
10201 S. MAIN STREET                  10201 S. MAIN STREET                     C/O Blumenthal Nordrehaug Bhowmik De Blouw
HOUSTON, TX 77025                     HOUSTON, TX 77025                        LLP
                                                                               75 Broadway St. #202
                                                                               San Francisco, CA 94111



NIKI PROPERTIES LLC                   NIKI PROPERTIES LLC                      NIKI PROPERTIES
C/O COLLIERS PARRISH ASSET MGMT       C/O COLLIERS PARRISH ASSET MGMT          2430 CALLE DEL ORO
PO BOX 45479                          PO BOX 45479                             LA JOLLA, CA 92037
SAN FRANCISCO, CA 94145               SAN FRANCISCO, CA 94145-0479
NIKIA HENDERSON        Case 18-12241-CSS     Doc 26
                                      NIKITA POPOV         Filed 10/05/18   PageNIKKI
                                                                                 1207   of 1739
                                                                                      ALEJOS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NIKKI CLARK                            NIKKI DILLARD                             NIKKI POLLARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NIKKI TREICHLER                        NIKKO JONES                               NIKO KAUNISKANGAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NIKO KAVNISKANGAS                      NIKO RODRIGUE                             NIKOLAS CEASARIO
4801 N 156TH CT                        1112 W GLENFLORA AVE                      10201 S. MAIN STREET
APT 290                                WAUKEGAN, IL 60085                        HOUSTON, TX 77025
OMAHA, NE 68116




NIKOLAS JOHNSON                        NIKOLAS PAINTER                           NIKOLAUS BRYM
10201 S. MAIN STREET                   2110 MARS DR
HOUSTON, TX 77025                      GARLAND, TX 75040




NIKOLE DAWSON                          NIKOLI TRITCH                             NILANTE ROBINSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NILDA PEREZ                            NILE G LATTA                              NILE G. LATTA
10201 S. MAIN STREET                   5950 PELICAN BAY PLAZA, PH2F              5950 PELICAN BAY PLAZA, PH2F
HOUSTON, TX 77025                      GULF PORT, FL 33707                       GULF PORT, FL 33707




NILOOFAR TORABI                        NINA AMENT                                NINA KOHNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




NINA SPILLNER                          NINH VO                                   NIP OWNER LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                      11111 SANTA MONICA BLVD STE 750
HOUSTON, TX 77025                      HOUSTON, TX 77025                         LOS ANGELES, CA 90025




NIP OWNER LLC                          NIPSCO                                    NIPSCO
PO BOX 844117                          C/O CORPORATION SERVICE COMPANY           P.O. BOX 13007
LOS ANGELES, CA 90084-4117             135 N PENNSYLVANIA ST, STE 1610           MERRILLVILLE, IN 46411-3007
                                       INDIANAPOLIS, IN 46204
NIRE ASCHENBRENNER       Case 18-12241-CSS
                                        NIRMALDoc 26
                                              PANDEY       Filed 10/05/18   PageNISHIT
                                                                                 1208RANKA
                                                                                       of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




NITA WIDEN-ROBERTS                      NITRAA B                                NITTANY PRINTING AND PUBLISHING CO.
10201 S. MAIN STREET                    5900 GREENBRIAR LOOP                    DBA CENTRE DAILY TIMES
HOUSTON, TX 77025                       JASPER, AL 35503                        PO BOX 89
                                                                                STATE COLLEGE, PA 16804




NITZA HUSKINS                           NIYAH GONZALES                          NJ ADVANCE MEDIA LLC
6730 CREEK VALE WAY 1B                  10201 S. MAIN STREET                    PO BOX 784587
INDIANAPOLIS, IN 46237                  HOUSTON, TX 77025                       PHILADELPHIA, PA 19178-4587




NJ NATURAL GAS CO                       NJ NATURAL GAS CO                       NJ STATE FAIR / SUSSEX
201 ROUNDHILL DR                        P.O. BOX 11743                          COUNTY FARM & HORSE SHOW
ROUNDHILL CORPORATE CENTER              NEWARK, NJ 07101-4743                   PO BOX 2456
ROCKAWAY, NJ 07866                                                              BRANCHVILLE, NJ 07826




NJN ASSOCIATES                          NKEM UDEAGHA                            NKOSI RICHARDSON
ROUTE 202 & ROUTE 31                    10201 S. MAIN STREET                    10201 S. MAIN STREET
P.O. BOX 1038                           HOUSTON, TX 77025                       HOUSTON, TX 77025
FLEMINGTON, NJ 08822




NLA AUGUSTA LLC                         NLA GIBSONIA LLC                        NLA LAKELAND LLC
DBA NET LEASE ALLIANCE LLC              C/O NET LEASE ALLIANCE LLC              C/O NET LEASE ALLIANCE LLC
250 S WASHINGTON ST                     ATTN: KAREN WIENTJES                    ATTN: KAREN WIENTJES
PRATTVILLE, AL 36067                    250 S WASHINGTON ST                     250 S WASHINGTON ST
                                        PRATTVILLE, AL 36067                    PRATTVILLE, AL 36067



NLA/UG ESTERO MA LLC                    NLAD 2 LLC                              NLAD 2 LLC
30 BURTON HILLS BLVD STE 185            211 COLONADE CIR                        BARNES INTERNATIONAL REALTY
NASHVILLE, TN 37215                     NAPLES, FL 34103                        1150 SW 22ND ST
                                                                                MIAMI, FL 33129




NLR INC                                 NMC EXCHANGE LLC                        NMC MELROSE PARK LLC 772 M
256 MAIN ST STE B                       DEPT 1784                               NEWMARK MERRILL CO
PO BOX 680                              DENVER, CO 80291-1784                   5850 CANOGA AVE STE 650
EAST WINDSOR, CT 06088-0680                                                     WOODLAND HILLS, CA 90367




NMHG FINANCIAL SERVICES INC             NMHG FINANCIAL SERVICES INC             NMHG FINANCIAL SERVICES
10 RIVERVIEW DRIVE                      PO BOX 35701                            201 MERRITT 7
DANBURY, CT 06810                       BILLINGS, MT 59107-5701                 NORWALK, CT 06851




NMHG FINANCIAL SERVICES                 NMSRA JOINT VENTURE LLC                 NN 105, LLC
PO BOX 643749                           DBA PEACHTREE STATION HOLDING LLC       C/O SUNINVEST PROPERTY MANAGEMENT
PITTSBURGH, PA 15264-3749               8115 PRESTON RD, STE 400                220 71ST STREET, SUITE 213
                                        DALLAS, TX 75225                        MIAMI BEACH, FL 33141
NN 105, LLC             Case 18-12241-CSS     Doc
                                       NNABUIHE     26 Filed
                                                 CHIMEZIE      10/05/18    PageNNN
                                                                                1209  of 1739 INC
                                                                                   DEVELOPMENT
C/O SUNINVEST PROPERTY MANAGEMENT      10201 S. MAIN STREET                    450 S ORANGE AVE STE 900
220 71ST STREET, SUITE 213             HOUSTON, TX 77025                       ORLANDO, FL 32801
MIAMI, FL 33141




NNN DEVELOPMENT INC                   NNN TRS INC                              NNN TRS INC
PO BOX 864210                         450 SOUTH ORANGE AVENUE, SUITE 900       PO BOX 864208
ORLANDO, FL 32886-4210                ORLANDO, FL 32801                        ORLANDO, FL 32886-4208




NOA SMITH                             NOAH CONKLIN                             NOAH J MADLIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     15 UPLAND RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                        NEW ROCHELLE, NY 10804




NOAH KELLEY                           NOAH LALAMA                              NOAH LEWCHENKO
11668 FRANCIS DRAKE DR                711 MCCLELLAND ST                        10201 S. MAIN STREET
JACKSONVILLE, FL 32225                MONACA, PA 15061                         HOUSTON, TX 77025




NOAH MADLIN                           NOAH SOMERVILLE                          NOAH TOKURA
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




NOAH VAN HOOSE                        NOCETI GROUP INC                         NOE CARRASCO
10201 S. MAIN STREET                  DBA SAN JOAQUIN ASPARAGUS FESTIVAL       10201 S. MAIN STREET
HOUSTON, TX 77025                     PO BOX 340                               HOUSTON, TX 77025
                                      FRENCH CAMP, CA 95231




NOEL BAKER                            NOEL BARBA                               NOEL BOND
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




NOEL CAMPOS                           NOEL DALLAS                              NOEL DUCHENE
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




NOEL EDWARDS                          NOEL MUELLER                             NOEL NOLASCO RAMIREZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




NOEL SIEGLING                         NOELAN GREER                             NOELENE MARTIN PHILIPP
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025
NOELIA SANDOVAL         Case 18-12241-CSS
                                       NOELLEDoc 26 Filed 10/05/18
                                             ZICKEFOOSE                 PageNOEMI
                                                                             1210BUSTAMANTE
                                                                                  of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




NOEMI DAVILA                           NOEMI FUENTES                        NOHE MAGANA
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




NOHEMI MEDINA                          NOHORA TALARICO                      NOITU LOCAL 528
10201 S. MAIN STREET                   10201 S. MAIN STREET                 DUES CHECK-OFF & INITIATION
HOUSTON, TX 77025                      HOUSTON, TX 77025                    148-06 HILLSIDE AVE
                                                                            JAMAICA, NY 11435




NOITU REPRESENTATIVE - BRIAN PEPPER    NOLA MEDIA GROUP                     NOLA MEDIA GROUP
HICKSVILLE WAREHOUSE                   DEPT 77571                           P.O. BOX 54714
1000 SOUTH OYSTER BAY ROAD             PO BOX 77000                         NEW ORLEANS, LA 70154
HICKSVILLE, NY 11801                   DETROIT, MI 48277-0571




NOLAN AMUNDSON                         NOLAN BATTERY COMPANY                NOLAN MCGAGIN
10201 S. MAIN STREET                   PO BOX 10641                         10201 S. MAIN STREET
HOUSTON, TX 77025                      JEFFERSON, LA 70181                  HOUSTON, TX 77025




NOM ZEPHYRHILLS LLC                    NOM ZEPHYRHILLS LLC                  NOMAN SHAIKH
250 WASHINGTON ST                      3841 GREEN HILLS VILLAGE DR          10201 S. MAIN STREET
PRATTVILLE, AL 37067                   STE 400                              HOUSTON, TX 77025
                                       NASHVILLE, TN 37215




NONSTOP DELIVERY INC                   NONSTOP DELIVERY                     NOOR-EL CAMINO LLC
4500 S GATE PLACE STE 300              P.O. BOX 222190                      C/O SYWEST DEVELOPMENT
CHANTILLY, VA 20151-1714               CHANTILLY, VA 20153-2190             150 PELICAN WAY
                                                                            SAN RAFAEL, CA 94901




NOOR-EL CAMINO LLC                     NORA BALBAA                          NORA HENNESSY
DBA SYUFY ENTERPRISES                  10201 S. MAIN STREET                 10201 S. MAIN STREET
150 PELICAN WAY                        HOUSTON, TX 77025                    HOUSTON, TX 77025
SAN RAFAEL, CA 94901




NORA SCHIEFELBEIN                      NORCA ULLOA                          NORCOMM PUBLIC SAFETY
10201 S. MAIN STREET                   10201 S. MAIN STREET                 COMMUNICATION
HOUSTON, TX 77025                      HOUSTON, TX 77025                    PO BOX 1408
                                                                            ELMHURST, IL 60126-8408




NORCOR CADWELL ASSOCIATES LLC          NORCOR CADWELL ASSOCIATES LLC        NORCOR CICERO ASSOCIATES, LLC
1130 LAKE COOK RD STE 280              C/O HORIZON MANAGEMENT               C/O HORIZON MANAGEMENT
1130 LAKE COOK ROAD, SUITE 280         1130 LAKE COOK ROAD, SUITE 280       1130 LAKE COOK ROAD, SUITE 280
BUFFALO GROVE, IL 60089                BUFFALO GROVE, IL 60089              BUFFALO GROVE, IL 60089
                      Case 18-12241-CSS
NORCROSS PEACHTREE SQUARE  LLC              DocPROPERTY
                                     NORCROSS    26 FiledI-85 10/05/18   PageNORCROSS
                                                                              1211 of 1739
                                                                                      PROPERTY I-85
1384 PAYSPHERE CIRCLE                110 EAST ANDREWS DR STE 211              PROMENADE STE 800
CHICAGO, IL 60674                    ATLANTA, GA 30305                        1230 PEACHTREE ST NE
                                                                              ATLANTA, GA 30309




NORDIC ENERGY SERVICES LLC             NORELI DELGADO                         NORFOLK CIRCUIT COURT
2999 MOMENTUM PLACE                    10201 S. MAIN STREET                   100 ST PAULS BLVD
CHICAGO, IL 60689                      HOUSTON, TX 77025                      NORFOLK, VA 23510-2773




NORFOLK CITY TREASURER                 NORFOLK CITY TREASURER                 NORFOLK REINSURANCE COMPANY LTD.
100 BROOKE AVE STE 400                 P.O. BOX 2260                          C/O STERLING & STERLING LLC
NORFOLK, VA 23510                      NORFOLK, VA 23501-2260                 135 CROSSWAYS PARK DRIVE
                                                                              WOODBURY, NY 11797




NORGE GOMEZ PEREZ                      NORLINX LLC                            NORMA BOGGS
10201 S. MAIN STREET                   PO BOX 764                             18827 MANOR DR
HOUSTON, TX 77025                      WAKE FOREST, NC 27588                  INDEPENDENCE, MO 64058




NORMA CARRIZOSA                        NORMA DAMSCHRODER                      NORMA MCCRAY
3663 GRANT ST                          10490 WILSHIRE BLVD 804                16269 EAST BELLBROOK ST
CORONA, CA 92879                       LOS ANGELES, CA 90024                  COVINA, CA 91722




NORMA S VANDIVER                       NORMA VILLICANA                        NORMALYN VENIEGAS
4516 LOUISVILLE DR                     10201 S. MAIN STREET                   10201 S. MAIN STREET
PLANO, TX 75093                        HOUSTON, TX 77025                      HOUSTON, TX 77025




NORMAN AUBERTINE                       NORMAN DECULUS                         NORMAN F THOMAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   2519 N CAMINO PRINCIPAL
HOUSTON, TX 77025                      HOUSTON, TX 77025                      TUCSON, AZ 85715




NORMAN HARRIS                          NORMAN HICKENBOTTOM                    NORMAN MARINO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




NORMAN NG                              NORMAN PERRY                           NORMAN SMITH
10201 S. MAIN STREET                   242 KUUPUA STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      KAILUA, HI 96734                       HOUSTON, TX 77025




NORMAN TARANTINO                       NORMANDY PLAZA                         NORMESHA PAYTON
572 W BROAD ST STE 233                 ALAN BAILEY DBA                        10201 S. MAIN STREET
HAZLETON, PA 18201                     2625 F COFFEE RD 244                   HOUSTON, TX 77025
                                       MODESTO, CA 95355
NORMIS GARCIA          Case 18-12241-CSS    DocHARLEM
                                      NORRIDGE   26 PROPERTIES,
                                                      Filed 10/05/18
                                                                LLC           PageNORRIDGE
                                                                                   1212 of HARLEM
                                                                                           1739 PROPERTIES, LLC
10201 S. MAIN STREET                     C/O ALTERMAN COMMERCIAL REAL ESTATE       C/O ALTERMAN COMMERCIAL REAL ESTATE
HOUSTON, TX 77025                        2970 PEACHTREE RD NW STE 805              2970 PEACHTREE RD NW STE 805
                                         ATLANTA, CA 30305                         ATLANTA, GA 30305




NORRIDGE PLAZA, LLC                      NORRIS TRAINING SYSTEMS INC DBA           NORRISHA CAPERS
C/O IRVING-HARLEM MANAGEMENT, LLC        NORRIS CONF CENTERS INC                   10201 S. MAIN STREET
P.O. BOX 407                             13810 CHAMPION FOREST DR STE 144          HOUSTON, TX 77025
DEERFIELD, IL 60015                      HOUSTON, TX 77069




NOR-SON INC.                             NORTH ACADEMY II LLC                      NORTH ACADEMY II, LLC
7900 HASTINGS ROAD                       6285 FALL RIVER DR                        6285 FALL RIVER DR
BAXTER, MN 56425                         COLORADO SPRINGS, CO 80918                COLORADO SPRINGS, CO 80918




NORTH ACADEMY II, LLC                    NORTH AMERICAN DEVELOPMENT GROUP          NORTH AMERICAN MIDWAY
C/O DDR CORP.                            ATTN: JEFFREY PRESTON & PROPERTY          ENTERTAINMENT-EVENT PRODUCTIONS LLC
ATTN: EXECUTIVE VICE PRESIDENT-LEASING   MANAGER                                   PO BOX 2968
3300 ENTERPRISE PARKWAY                  1250 CAROLINE STREET, SUITE 220           RIDGELAND, MS 39158
BEACHWOOD, OH 44122                      ATLANTA, GA 30307



NORTH AMERICAN VAN LINES INC             NORTH ARUNDEL CONTRACTING INC             NORTH BALTIMORE REALTY ASSOCIATES
4768 SOLUTIONS CENTER                    101 HOLSUM WAY STE A                      C/O GOODMAN PROPERTIES, INC.
CHICAGO, IL 60677-4007                   GLEN BURNIE, MD 21060                     ATTN: BRUCE A. GOODMAN
                                                                                   636 OLD YORK ROAD, 2ND FLOOR
                                                                                   JENKINTOWN, PA 19046



NORTH BERGEN MUA                         NORTH BERGEN UE LLC                       NORTH BERGEN UE LLC
6200 TONNELLE AVENUE                     210 ROUTE 4 EAST                          ATTN: CHIEF OPERATING OFFICER
NORTH BERGEN, NJ 07047                   ATTN: LEGAL DEPARTMENT                    210 ROUTE 4 EAST
                                         PARAMUS, NJ 07652                         PARAMUS, NJ 07652




NORTH BERGEN UE LLC                      NORTH BERKELEY DEVELOPMENT                NORTH BERKELEY DEVELOPMENT
ATTN: LEGAL DEPARTMENT                   ASSOCIATES LLC                            ASSOCIATION
210 ROUTE 4 EAST                         C/O UHF DEVELOPMENT                       227 E FRONT ST
PARAMUS, NJ 07652                        227 E FRONT ST                            NEWBERN, NC 28560
                                         NEWBERN, NC 28560



NORTH BRUNSWICK TOWNSHIP                 NORTH CAROLINA CHILD SUPPORT              NORTH CAROLINA DEPARTMENT OF
FIRE MARSHALS OFFICE                     PO BOX 900012                             REVENUE
710 HERMANN RD                           RALEIGH, NC 27675-9012                    ATTN: SALES & USE TAX DEPT.
NORTH BRUNSWICK, NJ 08902                                                          PO BOX 25000
                                                                                   RALEIGH, NC 27640-0500



NORTH CAROLINA DEPARTMENT OF             NORTH CAROLINA DEPT OF REVENUE            NORTH CAROLINA DEPT OF STATE
REVENUE                                  501 N WILMINGTON ST                       TREASURER
PO BOX 25000                             RALEIGH, NC 27604                         ATTN: INCOME TAX DEPT.
RALEIGH, NC 27640-0500                                                             3200 ATLANTIC AVE
                                                                                   RALEIGH, NC 27604-1668



NORTH CAROLINA DEPT OF STATE             NORTH CAROLINA DEPT OF THE SECR OF        NORTH CAROLINA DMV
TREASURER                                STATE                                     201 E MAIN ST
UNCLAIMED PROPERTY PROGRAM               CORPORATION DIVISION                      WHITEVILLE, NC 28472
3200 ATLANTIC AVE                        PO BOX 29622
RALEIGH, NC 27604-1668                   RALEIGH, NC 27626-0622
                    Case
NORTH CAROLINA KENWORTH INC18-12241-CSS
                                     NORTH Doc   26 KENWORTH
                                           CAROLINA   Filed 10/05/18
                                                              INC         PageNORTH
                                                                               1213CAROLINA
                                                                                    of 1739MEDIA GROUP
DBA MHC KENWORTH                     PO BOX 879269                            PO BOX 27283
3600 INTERWORTH DR                   KANSAS CITY, MO 64187                    RICHMOND, VA 23261-7283
DURHAM, NC 27704




NORTH CAROLINA STATE UNIVERSITY       NORTH CAROLINA                          NORTH CAROLINA
CAMPUS BOX 7205                       ATTN: BUSINESS LICENSE DEPT.            ATTN: UNCLAIMED PROPERTY DEPT.
RALEIGH, NC 27695                     PO BOX 25000                            PO BOX 29525
                                      RALEIGH, NC 27640-0500                  RALEIGH, NC 27626




NORTH CAROLINA                        NORTH CENTRAL ELECTRIC POWER            NORTH CHARLESTON I, LP
ATTN: UNCLAIMED PROPERTY DEPT.        P.O. BOX 405                            ATTN: BEATRIZ MESA
PO BOX 29622                          BYHALIA, MS 38611-0405                  1250 CAROLINE ST STE 220
RALEIGH, NC 27626-0622                                                        ATLANTA, GA 30307




NORTH CHARLESTON I, LP                NORTH CHARLESTON I, LP                  NORTH COVENTRY TOWNSHIP
C/O NORTH AMERICAN DEVELOPMENT        C/O NORTH AMERICAN DEVELOPMENT          TRI-STATE FINANCIAL GROUP
GROUP                                 GROUP                                   PO BOX 38
1250 CAROLINE STREET, SUITE 220       ATTN: JEFFREY PRESTON & PROPERTY        BRIDGEPORT, PA 19405
ATTN: JEFFREY PRESTON & PROPERTY      MANAGER
MANAGER                               1250 CAROLINE STREET, SUITE 220
ATLANTA, GA 30307                     ATLANTA, GA 30307

NORTH DAKOTA HOLDINGS, LLC            NORTH DAKOTA HOLDINGS, LLC              NORTH DAKOTA MATTRESS VENTURES, LLC
70 SOUTH POTOMAC STREET               ATTN: CHRIS ZUEGER                      413 E BISMARCK EXPRESSWAY
ATTN: CHRIS ZUEGER                    70 SOUTH POTOMAC STREET                 BISMARCK, ND 58504
AURORA, CO 80012                      AURORA, CO 80012




NORTH DAKOTA MATTRESS VENTURES, LLC   NORTH EAGLE ROAD LLC                    NORTH FAYETTE TOWNSHIP
76 PALM BLVD                          1332 MAIN ST STE 30                     ENVIRONMENTAL SERVICES ACCOUNT
MISSOURI CITY, TX 77459               COLUMBIA, SC 29201                      400 N BRANCH RD
                                                                              OAKDALE, PA 15071




NORTH FAYETTE TOWNSHIP                NORTH FAYETTE TOWNSHIP                  NORTH FLORIDA WASTE MANAGEMENT
ENVIRONMENTAL SERVICES ACCOUNT        LOCAL SERVICES TAX COLLECTOR            3633 LENOX AVE
400 NORTH BRANCH RD                   400 N BRANCH RD                         JACKSONVILLE, FL 32254
OAKDALE, PA 15071                     OAKDALE, PA 15071




NORTH GARLAND CROSSING, LTD.          NORTH GARLAND CROSSING, LTD.            NORTH GEORGIA EMC
C/O REILLY BROTHERS PROPERTY          C/O REILLY BROTHERS PROPERTY            1850 CLEVELAND HWY
COMPANY                               COMPANY                                 DALTON, GA 30721
1017 FM ROAD 5                        1017 SO. FM RD 5
ALEDO, TX 76008                       ALEDO, TX 76008



NORTH GEORGIA EMC                     NORTH GEORGIA NEWSPAPER GROUP           NORTH GEORGIA STATE FAIR
SEDC                                  THE DAILY CITIZEN                       PO BOX 777
P.O. BOX 530812                       308 S THORNTON AVE                      KENNESAW, GA 30156
ATLANTA, GA 30353-0812                DALTON, GA 30720




NORTH HAMPTON MARKET SOUTH            NORTH HAVEN HOLDINGS LP                 NORTH HAVEN
CAROLINA, LLC                         C/O NATIONAL REALTY & DEVEL. CORP       ATTN: PROPERTY TAX DEPT.
C/O DIVARIS PROPERTY MGMT CORP        3 MANHATTANVILLE RD STE 202             PO BOX 900
4525 MAIN STREET, SUITE 900           PURCHASE, NY 10577                      HARTFORD, CT 06143-0900
VIRGINIA BEACH, VA 23462
NORTH HILLS OWNER LLC Case 18-12241-CSS
                                     NORTH Doc
                                           HILLS 26
                                                 OWNER Filed
                                                         LLC   10/05/18    PageNORTH
                                                                                1214HILLS
                                                                                     of 1739
                                                                                          SCHOOL DISTRICT
C/O KANE REALTY CORPORATION          PO BOX 600128                              TAX OFFICE
P.O. BOX 19107                       RALEIGH, NC 27675-6128                     135 6TH AVE
RALEIGH, NC 27619                                                               PITTSBURGH, PA 15229




NORTH HOUSTON GLAZING & GLASS         NORTH HOUSTON GLAZING & GLASS             NORTH HUDSON SEWERAGE AUTH
20710 SUNSHINE LANE                   PO BOX 12227                              1600 ADAMS ST
SPRING, TX 77388                      SPRING, TX 77391-2227                     HOBOKEN, NJ 07030




NORTH HUDSON SEWERAGE AUTH            NORTH JERSEY MEDIA GROUP                  NORTH KINGSTOWN
P.O. BOX 71352                        C/O GANNETT-JMG                           ATTN: PROPERTY TAX DEPT.
PHILADELPHIA, PA 19176-1352           PO BOX 2913                               100 FAIRWAY DR
                                      MILWAUKEE, WI 53201                       NORTH KINGSTOWN, RI 02852-5762




NORTH LAS VEGAS CONSTABLE             NORTH LITTLE ROCK ELECTRIC                NORTH LITTLE ROCK ELECTRIC
2428 N MARTIN L KING BLVD             120 MAIN ST                               P.O. BOX 936
NORTH LAS VEGAS, NV 89032             NORTH LITTLE ROCK, AR 72114               NORTH LITTLE ROCK, AR 72115




NORTH MARIN WATER DIST.               NORTH MARIN WATER DISTRICT                NORTH MARIN WATER DISTRICT
P.O. BOX 511529                       999 RUSH CREEK PL                         P.O. BOX 511529
LOS ANGELES, CA 90051-8084            NOVATO, CA 94945                          LOS ANGELES, CA 90051-8084




NORTH MAYFAIR COMMONS                 NORTH OF BOSTON MEDIA GROUP               NORTH PARK PUBLIC WATER DIST
NAI HIFFMAN                           ACCOUNTING DEPT                           1350 TURRET DR
ONE OAKBROOK TERRACE STE 400          PO BOX 100                                MACHESNEY PARK, IL 61115-1485
OAKBROOK TERRACE, IL 60181            LAWRENCE, MA 01842-0100




NORTH PECOS WATER & SANITATION        NORTH PENN WATER AUTHORITY                NORTH PENN WATER AUTHORITY
6900 N PECOS ST                       300 FORTY FOOT RD                         P.O. BOX 667
DENVER, CO 80221                      LANSDALE, PA 19446                        SOUDERTON, PA 18964-0667




NORTH POINTE DEVEL. ASSOC. LP         NORTH POINTE DEVELOPMENT ASSOC. LP        NORTH POINTE DEVELOPMENT ASSOC. LP
ATTN: STEVE DICKENS                   8402 SIX FORKS RD STE 201                 8402 SIX FORKS ROAD, SUITE 201
8402-201 SIX FORKS ROAD               RALEIGH, NC 27615                         RALEIGH, NC 27615
RALEIGH, NC 27615




NORTH POINTE DEVELOPMENT ASSOC. LP    NORTH POINTE DEVELOPMENT ASSOC. LP        NORTH PORT SOLID WASTE DISTRICT
8402 SIX FORKS ROAD, SUITE 210        ATTN: STEVE DICKENS                       4970 CITY HALL BLVD.
RALEIGH, NC 27615                     8402-201 SIX FORKS ROAD                   NORTH PORT, FL 34286-4100
                                      RALEIGH, NC 27615




NORTH PORT UTILITIES                  NORTH PORT UTILITIES                      NORTH RICHLAND HILLS WATER DEPT
4970 CITY HALL BLVD                   P.O. BOX 511130                           PO BOX 961092
NORTH PORT, FL 34286                  PUNTA GORDA, FL 33951-1130                FORT WORTH, TX 76161-0092
NORTH RICHLAND HILLS Case 18-12241-CSS
                                    NORTH Doc    26 HILLS
                                           RICHLAND   Filed 10/05/18         PageNORTH
                                                                                  1215RICHLAND
                                                                                       of 1739HILLS
ATTN CITY ATTORNEY                  P.O. BOX 820609                              P.O. BOX 961092
4301 CITY POINT DRIVE               NORTH RICHLAND HILLS, TX 76182-0609          FORT WORTH, TX 76161-0092
NORTH RICHLAND HILLS, TX 76180




NORTH RICHLAND HILLS                   NORTH SHELBY COUNTY LIBRARY DISTRICT      NORTH SHORE FIRE EQUIPMENT
P.O. BOX 961092                        DEPT 7000                                 12 BAY AVE
FORT WORTH, TX 76161-1092              P.O. BOX 830770                           OYSTER BAY, NY 11771-1507
                                       BIRMINGHAM, AL 35283-0770




NORTH SHORE GAS                        NORTH SHORE GAS                           NORTH SHORE SUPPLY CO
130 E RANDOLPH ST                      PO BOX 2968                               DBA RACK EXPRESS
STE 18                                 MILWAUKEE, WI 53201-2968                  PO BOX 9940
CHICAGO, IL 60601                                                                HOUSTON, TX 77213




NORTH SMITHFIELD                       NORTH SPRINGS IMPROVEMENT DISTRICT        NORTH STATE
ATTN: PROPERTY TAX DEPT.               9700 NW 52ND ST                           PO BOX 612
PO BOX 844606                          CORAL SPRINGS, FL 33076-2656              HIGH POINT, NC 27261-0612
BOSTON, MA 02284-4606




NORTH TEXAS TOLLWAY AUTHORITY          NORTH WALES WATER AUTHORITY               NORTH WALES WATER AUTHORITY
PO BOX 660244                          200 W WALNUT ST                           P.O. BOX 95000-1138
DALLAS, TX 75266-0244                  NORTH WALES, PA 19454                     PHILADELPHIA, PA 19195-1138




NORTHAMPTON BOROUGH MUNI AUTH          NORTHAMPTON BOROUGH MUNI AUTH             NORTHAMPTON
1 CLEAR SPRINGS DR                     P.O. BOX 156                              ATTN: PROPERTY TAX DEPT.
PO BOX 156                             NORTHAMPTON, PA 18067                     PO BOX 4121
NORTHAMPTON, PA 18067-0156                                                       WOBURN, MA 01888-4121




NORTHBRIDGE MANAGEMENT &               NORTHCENTRAL ELEC POWER ASSOC             NORTHCENTRAL ELEC POWER ASSOC
CONSULTING                             4600 NORTHCENTRAL WAY                     P.O. BOX 405
MARSHA RICE, VP OF PROPERTY            OLIVE BRANCH, MS 38654                    BYHALIA, MS 38611-0405
MANAGEMENT
212 S. ELM STREET
DENTON, TX 76201


NORTHCROSS LAND & DEV. LP              NORTHCROSS LAND & DEV. LP                 NORTHCROSS LAND & DEVELOPMENT, LLC
3700 ARCO CORPORATE DR 350             3700 ARCO CORPORATE DR STE 350            C/O AMERICAN ASSET CORPORATION
CHARLOTTE, NC 28273                    CHARLOTTE, NC 28273                       ATTN: OWNER
                                                                                 5950 FAIRVIEW RD, SUITE 800
                                                                                 CHARLOTTE, NC 28210



NORTHCROSS LAND & DEVELOPMENT, LLC     NORTHCROSS MARKET LLC                     NORTHCROSS MARKET LLC
PO BOX 603021                          1309 HEATHER LANE                         1409 HEATHER LN
CHARLOTTE, NC 28260-3021               CHARLOTTE, NC 28209                       CHARLOTTE, NC 28209




NORTHEAST COMMUNICATIONS CORP          NORTHEAST MISSISSIPPI DAILY JOURNAL       NORTHEAST OH NATURAL GAS CORP
110 BABBITT RD                         P.O. BOX 909                              5640 LANCASTER-NEWARK RD NE
FRANKLIN, NH 03235                     TUPELO, MS 38802                          PLEASANTVILLE, OH 43148
NORTHEAST OH NATURAL Case    18-12241-CSS
                       GAS CORP              Doc OHIO
                                       NORTHEAST    26 MEDIA
                                                         FiledGROUP
                                                                 10/05/18    PageNORTHEAST
                                                                                  1216 of 1739
                                                                                           OHIO NATURAL GAS CORP
P.O. BOX 74008596                      PO BOX 630504                              P.O. BOX 94824
CHICAGO, IL 60674-8596                 CINCINNATI, OH 45263-0504                  CLEVELAND, OH 44101-4824




NORTHEAST OHIO REGIONAL SEWER           NORTHEAST OHIO REGIONAL SEWER             NORTHEASTERN REMC
DISTRICT                                DISTRICT                                  4901 EAST PARK 30 DRIVE
3900 EUCLID AVE                         P.O. BOX 94550                            COLUMBIA CITY, IN 46725
CLEVELAND, OH 44115                     CLEVELAND, OH 44101-4550




NORTHEASTERN REMC                       NORTHERN 219TH STREET CORP                NORTHERN 219TH STREET CORP
PO BOX 291                              695 HARLESS PLACE                         695 HARLESS PLACE
COLUMBIA CITY, IN 46725-0291            W. HEMPSTEAD, NY 11552                    WEST HEMPSTEAD, NY 11552




NORTHERN ARIZONA WASTE SYSTEMS          NORTHERN COLORADO DISPOSAL INC            NORTHERN COLORADO DISPOSAL INC.
P.O. BOX 3477                           P.O. BOX 2146                             337 E 8TH ST
FLAGSTAFF, AZ 86003                     GREELEY, CO 80632                         GREELEY, CO 80631




NORTHERN COLORADO DISPOSAL INC.         NORTHERN ILLINOIS UNIVERISTY              NORTHERN ILLINOIS UNIVERISTY
P.O. BOX 2146                           ACCOUNTING OFFICE                         CAREER SERVICES
GREELEY, CO 80632                       LOWDEN HALL 204                           CAMPUS LIFE BLDG-ROOM 220
                                        DE KALB, IL 60115                         DE KALB, IL 60115




NORTHERN LIGHTS ELECTRICAL LLC          NORTHERN REGIONAL POLICE DEPT             NORTHERN SEARINGTOWN CORP
4 HANOVER FARMS RD                      ALLEGHENY COUNTY                          100 JERICHO QUADRANGLE STE 209
BOLTON, CT 06043-7646                   230 PEARCE MILL RD                        JERICHO, NY 11753
                                        WEXFORD, PA 15090-8511




NORTHERN SEARINGTOWN CORP               NORTHERN VIRGINIA ELEC COOP               NORTHERN VIRGINIA ELEC COOP
BILL WOLF PETROLEUM-JERICHO             C/O LUTHER L HAJEK MARTIN BERCOVIVICI,    P.O. BOX 34795
WHOLESALE                               DOUGLAS BEHR, KELLER AND HECKMAN,         ALEXANDRIA, VA 22334-0795
100 JERICHO QUADRANGLE STE 209          LLP
JERICHO, NY 11753                       1001 G ST
                                        NW WASHINGTON, DC 20001


NORTHERN WASCO COUNTY PUD               NORTHERN WASCO COUNTY                     NORTHERN WISCONSIN STATE FAIR ASSOC
2345 RIVER RD                           2345 RIVER RD                             INC
THE DALLES, OR 97058-3551               THE DALLES, OR 97058-3551                 225 EDWARD ST
                                                                                  PO BOX 48
                                                                                  CHIPPEWA FALLS, WI 54729



NORTHERN WISCONSIN STATE FAIR           NORTHGATE RETAIL LTD PARTNERSHIP          NORTHINGTON MECHANICSBURG
10 S BRIDGE ST                          ATTN: LARRY BOERTJE                       INVESTORS, LLC
PO BOX 48                               3118 VISTA HEIGHTS LANE                   C/O THE WILDER COMPANIES, LTD.
CHIPPEWA FALLS, WI 54729                HIGHLAND VILLAGE, TX 75077                ATTN: SUSAN LUCAS
                                                                                  800 BOYLSTON STREET, SUITE 1300
                                                                                  BOSTON, MA 02199


NORTHINGTON MECHANICSBURG               NORTHINGTON MECHANICSBURG LLC             NORTHLAKE REAL ESTATE INVESTORS LLC
INVESTORS, LLC                          C/O THE WILDER COMPANIES, LTD.            SPERRY VAN NESS-PERCIVAL PARTNERS
C/O UBS REALTY INVESTORS LLC            800 BOYLSTON ST STE 1300                  4600 PARK RD STE 370
10 STATE HOUSE SQUARE 15TH FL           BOSTON, MA 02199                          CHARLOTTE, NC 28209
HARTFORD, CT 06103-3604
                      CaseCO
NORTHLAND INDUSTRIAL TRUCK 18-12241-CSS
                             INC           DocCOMMONS
                                     NORTHLINE  26 Filed 10/05/18           PageNORTHPORT
                                                                                 1217 of 1739
                                                                                          ARGENTAVIS LLC
PO BOX 845534                        C/O BERESON ASSOCIATES INC                  C/O CIMINELLI RE SVC OF FL
BOSTON, MA 02284-5534                ONE EXETER PLAZA                            14499 N DALE MABRY HWY STE 200
                                     BOSTON, MA 02116                            TAMPA, FL 33618




NORTHRIDGE CENTER 1703 LLC            NORTHRIDGE CENTER 1703 LLC                 NORTHRIDGE CENTER 1703 LLC
3333 NEW HYDE PARK RD                 C/O KIMCO REALTY CORPORATION               C/O KIMCO REALTY CORPORATION
STE 100                               ATTN: LEGAL DEPARTMENT                     ATTN: LEGAL DEPARTMENT
NEW HYDE PARK, NY 11042               1621-B SOUTH MELROSE DRIVE                 3333 NEW HYDE PARK ROAD, SUITE 100
                                      VISTA, CA 92081                            NEW HYDE PARK, NY 11042



NORTHRIDGE CENTER 1703 LLC            NORTHSTAR CENTERS LLC                      NORTHSTAR PROTECTION LLC
PO BOX 82565                          532 PAGE STREET                            34 FREEDOM PRKWY STE 1
GOLETA, CA 93118-2565                 STOUGHTON, MA 02072                        HERMON, ME 04401




NORTHTOWN PLAZA, LLC                  NORTHTOWN PLAZA, LLC                       NORTHWEST ARKANSAS NEWSPAPERS LLC
C/O STEJER DEVELOPMENT, LLC           C/O STEJER DEVELOPMENT, LLC                212 N EAST AVE
ATTN: JOHN STEJER                     ATTN: JOHN STEJER                          FAYETTEVILLE, AR 72701
P.O. BOX 9368                         P.O. BOX 9368
SPOKANE, WA 99209                     SPOKANE, WA 99209-9368



NORTHWEST ARKANSAS NEWSPAPERS LLC     NORTHWEST FLORIDA DAILY NEWS               NORTHWEST HANDLING SYSTEMS INC
PO BOX 1607                           HALIFAX MEDIA GROUP                        PO BOX 749861
BUSINESS OFFICE RETAIL DISPLAY        111 CENTER ST STE 2020                     LOS ANGELES, CA 90074-9861
FAYETTEVILLE, AR 72702                LITTLE ROCK, AR 72201




NORTHWEST HILLS ASSOCIATES INC.       NORTHWEST HILLS ASSOCIATES, INC.           NORTHWEST LANDSCAPE SERVICES
C/O AVISON YOUNG-NORTH CAROLINA LLC   C/O AVISON YOUNG-NORTH CAROLINA LLC        PO BOX 864
5440 WADE PARK BLVD STE 200           5440 WADE PARK BLVD STE 200                WOODINVILLE, WA 98072
RALEIGH, NC 27607                     RALEIGH, NC 27607




NORTHWEST NATURAL GAS                 NORTHWEST PARKWAY GO-PASS                  NORTHWEST RADIO & TV OF SPOKANE
P.O. BOX 6017                         3701 NORTHWEST PKWY                        MARIA SORENSON
PORTLAND, OR 97228-6017               BROOMFIELD, CO 80023                       1001 FIFTH AVE 204
                                                                                 EDMONDS, WA 98020




NORTHWEST TRUCK REPAIR                NORTHWESTERN ENERGY                        NORTHWESTERN WATER & SWR DIST
3861 TREAT LANE                       40 E BROADWAY                              12560 MIDDLETON PIKE
SPRINGDALE, AR 72762                  BUTTE, MT 59707-0001                       BOWLING GREEN, OH 43402




NORTHWESTERN WATER & SWR DIST         NORTHWOOD PARTNERS LP                      NORTHWOODS CENTER INC
P.O. BOX 348                          C/O PYRAMID PROPERTIES INC                 PO BOX 8347
BOWLING GREEN, OH 43402-0348          P.O. BOX 684548                            PASADENA, CA 91109-8347
                                      AUSTIN, TX 78768




NORTHWOODS CENTER, INC.               NORTHWOODS CENTER, INC.                    NORTON ROSE FULBRIGHT US LLP
C/O BARSHOP & OLES COMPANY            PO BOX 8347                                2200 ROSS AVE STE 3600
801 CONGRESS AVE, SUITE 300           PASADENA, CA 91109-8347                    DALLAS, TX 75201-7932
AUSTIN, TX 78701
NORTON ROSE FULBRIGHTCase
                      US LLP18-12241-CSS
                                      NORTON Doc   26 Filed
                                               SHOPPING       10/05/18
                                                        GUARANTEE        PageNORTON
                                                                              1218 of 1739
                                                                                    SPIEL ASSOCIATES INC
DEPT 2613                             350 ELLIS ST                            4501 NORTHERN BLVD 2
PO BOX 122613                         MOUNTAIN VIEW, CA 94043                 LONG ISLAND CITY, NY 11101
DALLAS, TX 75312-2613




NORTON SPIEL ASSOCIATES INC            NORWALK                                NORWALK-LIR, LLC
45-01 NORTHERN BLVD                    ATTN: PROPERTY TAX DEPT.               ATTN: LORRAINE TARTAGLIA
LONG ISLAND CITY, NY 11101             125 EAST AVE                           477 MAIN STREET, SUITE 212
                                       NORWALK, CT 06851                      MONROE, CT 06468




NORWOOD LIMITED, INC.                  NOSKO, MARK                            NOSTAS ASSOCIATES LLC
AS AGENT FOR FIRST AND MAIN, LLC       108 MOUNT ODIN DR                      ATTN: ELAINE R SCHEVON
111 SOUTH TEJON STREET, SUITE 222      GREENSBURG, PA 15601-9327              P.O. BOX 355
COLORADO SPRINGS, CO 80903                                                    PARAMUS, NJ 07653-0355




NOSTAS ASSOCIATES LLC                  NOSTAS ASSOCIATES LLC                  NOTA MOCKOBEE
ATTN: ELAINE R SCHEVON                 ATTN: ELAINE R SCHEVON                 63 LORI LEE DR
P.O. BOX 355                           P.O. BOX 355                           LAFAYETTE, IN 47905
PARAMUS, NJ 07653                      PARAMUS, NJ 07653-0355




NOTHING BUT NETS                       NOURA MILARDO                          NOURISON INDUSTRIES INC
PO BOX 96539                           61 BROOK ST                            5 SAMPSON ST
WASHINGTON, DC 20090-6539              RAYNHAM, MA 02767                      SADDLE BROOK, NJ 07663




NOURISON INDUSTRIES INC                NOURTEK SERVICES CORPORATION           NOUVEAU ELEVATOR INDUSTRIES INC
NEWARK POST OFFICE                     100 DECKER DR STE 191                  47-55 37TH ST
BOX 35651                              IRVING, TX 75062                       LONG ISLAND CITY, NY 11101
NEWARK, NJ 07193-5651




NOVA HEALTHCARE PA                     NOVA MUNTHAHA                          NOVA OF CALIFORNIA
PO BOX 840066                          10201 S. MAIN STREET                   6323 MAYWOOD AVE
DALLAS, TX 75284                       HOUSTON, TX 77025                      HUNTINGTON PARK, CA 90255




NOVA SUTTON                            NOVAK DEVELOPMENT COMPANY              NOVI TOWN CENTER PLAZA, LLC
10201 S. MAIN STREET                   3423 NORTH DRAKE AVENUE                C/O KEYSTONE COMMERCIAL REAL ESTATE,
HOUSTON, TX 77025                      CHICAGO, IL 60618                      LLC
                                                                              ATTN: MATT BERKE
                                                                              31000 NORTHWESTERN HWY SUITE 200
                                                                              FARMINGTON HILLS, MI 48334


NOVUS CROSSROADS, LLC                  NOVUS CROSSROADS, LLC                  NOVUS GLASS
C/O THE KORNFELD COMPANIES, LLP        C/O THE KORNFELD COMPANIES, LLP        PO BOX 3877
4601 DTC BLVD STE 300                  4601 DTC BLVD., SUITE 300              SEATTLE, WA 98124
DENVER, CO 80237                       DENVER, CO 80237




NOWCARE PHYSICIANS PC                  NP ACQUISITION II LLC                  NP DODGE MANAGEMENT
PO BOX 7068                            C/O ANCHOR INVESTMENT NEWPORT          8701 W DODGE RD 200
PORTSMOUTH, VA 23707                   ATTN: CYNTHIA STORK                    OMAHA, NE 68114
                                       3805 EDWARDS RD SUITE 410
                                       CINCINNATI, OH 45209
                      CaseLLC
NP/I&G CONYERS CROSSROADS  18-12241-CSS     Doc 26
                                     NP/I&G QUAIL      Filed
                                                  SPRINGS  LLC 10/05/18     PageNPG
                                                                                 1219 of 1739 INC
                                                                                    NEWSPAPERS
P.O. BOX 74266                       P.O. BOX 841338                            PO BOX 219735
CLEVELAND, OH 44194-4266             DALLAS, TX 75284-1338                      KANSAS CITY, MO 64121-9735




NPI CLYBOURN LLC                       NPMC RETAIL, LLC                         NPMC RETAIL, LLC
7958 SOLUTION CENTER                   515 SOUTH FLOWER ST STE 3100             C/O CBRE GLOBAL INVESTORS, LLC AAF
L6072202 T 665853                      LOS ANGELES, CA 90071                    P.O. BOX 101958
CHICAGO, IL 60677-7009                                                          PASADENA, CA 91189-1958




NPP DEVELOPMENT LLC                    NPP DEVELOPMENT LLC                      NRF VII - OAK LAWN, LLC
2 PATRIOT PL                           ATTN: PRESIDENT                          C/O NEXT PROPERTY MANAGEMENT INC
FOXBORO, MA 02035-1375                 ONE PATRIOT PLACE                        5215 OLD ORCHARD RD STE 880
                                       FOXBOROUGH, MA 02035                     SKOKIE, IL 60077




NRF VII - OAK LAWN, LLC                NRF VII - OAK LAWN, LLC                  NRF VIII HARLEM LLC
C/O NEXT PROPERTY MANAGEMENT, INC.     C/O NEXT PROPERTY MANAGEMENT, INC.       NEXT PROPERTY MANAGEMENT INC
5215 OLD ORCHARD RD STE 880            5215 OLD ORCHARD ROAD, SUITE 880         400 SKOKIE BLVD STE 800
SKOKIE, IL 60077                       SKOKIE, IL 60077                         NORTHBROOK, IL 60062




NRG ADVISORY SERVICES LLC              NRG CLYBOURN WRIGHTWOOD LLC              NRG CLYBOURN WRIGHTWOOD LLC
ATTN: ACCOUNTING                       C/O CENTRUM PARTNERS LLC                 C/O CENTRUM PARTNERS LLC
4433 GENESEE ST STE 401                225 W HUBBARD 4TH FLOOR                  225 W HUBBARD 4TH FLOOR
BUFFALO, NY 14225                      CHICAGO, IL 60654                        CHICAGO, IL 60654




NRG ENERGY                             NRG MEDIA LLC                            NRG MEDIA LLC
804 CARNEGIE CENTER                    2875 MT VERNON RD SE                     5011 CAPITAL AVE
PRINCETON, NJ 08540                    CEDAR RAPIDS, IA 52403                   OMAHA, NE 68132




NRG MEDIA LLC                          NRG RADIO LLC                            NRGC INC
5011 CAPITOL AVE                       AKA NRG MEDIA LLC KQKQ FM                21270 COUNTRY PLACE LANE
OMAHA, NE 68132                        2875 MT VERNON RD SE                     BUCYRUS, KS 66013
                                       CEDAR RAPIDS, IA 52403




NSA, INC.                              NSI - ALPHA CORPORATION                  NSRA
ATTN: JONATHON SPIEL                   FEDERAL LICENSING INC                    2305 E CARDINAL ST
45-01 NORTHERN BOULEVARD               1588 FAIRFIELD RD                        SPRINGFIELD, MO 65804-6756
LONG ISLAND CITY, NY 11101             GETTYSBURG, PA 17325




NSVR CONSULTING LLC                    NT HEGEMAN COMPANY LTD                   NTH 261W LLC
NICOLE VAN RUDEN                       275 ROUTE 4 STE 223                      C/O NT HEGEMAN C, LTD
3855 CLAY ST.                          PARAMUS, NJ 07652                        275 ROUTE 4 WEST, SUITE 223
DENVER, CO 80211                                                                PARAMUS, NJ 07652




NTH 261W LLC                           NTVB-TV                                  NTVZ-TV
C/O NT HEGEMAN CO LLC                  KING BROADCASTING CO/BELO CORP           PO BOX 873808
233 THE MALL AT IV                     5407 W FAIRVIEW AVE                      KANSAS CITY, MO 64187-3808
PARAMUS, NJ 07652                      BOISE, ID 83707
                       Case LLC
NUNES CALIFORNIA PROPERTIES  18-12241-CSS
                                       NUNES Doc   26 PROPERTIES
                                              CALIFORNIA Filed 10/05/18
                                                                   LLC     PageNUSTEAM
                                                                                1220 ofLLC
                                                                                        1739
C/O SMITH COMMERCIAL MANAGEMENT LLC    C/O SMITH COMMERCIAL MGMT INC           201 MOLLY WALTON DR STE A
18640 SUTTER BOULEVARD, SUITE 300      18640 SUTTER BLVD STE 300               HENDERSONVILLE, TN 37075
MORGAN HILL, CA 95037-8110             MORGAN HILL, CA 95037-8110




NUT TREE RETAIL 3 LLC                  NUVOTERA                                NUWAY DISPOSAL
1200 MORNINGSIDE MOUNTAIN RD           3193 RED HILL AVE                       11004 CARPENTER ST
GLEN ELLEN, CA 95442-9496              COSTA MESA, CA 92626                    MOKENA, IL 60448




NUWAY DISPOSAL                         NUWEST TEXTILE GROUP                    NV ENERGY
P.O. BOX 9                             PO BOX 6206                             ATTN MARK WARDEN
MOKENA, IL 60448                       CONCORD, CA 94524                       6226 W SAHARA AVE
                                                                               LAS VEGAS, NV 89146




NV ENERGY                              NV ENERGY                               NVRH LLC
P.O. BOX 30086                         P.O. BOX 30150                          DBA NEVADA RECYCLING HENDERSON
RENO, NV 89520-3086                    RENO, NV 89520-3150                     655 W SUNSET RD
                                                                               HENDERSON, NV 89011




NW COMMUNICATIONS OF AUSTIN            NW FURNITURE BANK INC                   NW HARRIS CO MUD 21
DBA KTBC TV                            117 PUYALLUP AVE                        P.O. BOX 2569
119 E 10TH ST                          TACOMA, WA 98421                        SPRING, TX 77383-2569
AUSTIN, TX 78701




NW NATURAL                             NW NATURAL                              NWA GUTTER SYSTEMS LLC
220 NW 2ND AVE                         P.O. BOX 6017                           675 CR 104
PORTLAND, OR 97209                     PORTLAND, OR 97228-6017                 EUREKA SPRINGS, AR 72632




NWB TRUCKING LLC                       NWBP PARKLAND LLC                       NWBP PARKLAND, LLC
131 PRIMROSE AVE                       C/O RUBIN MGMT INC ATTN JONATHAN        C/O RUBIN MANAGEMENT, INC.
MASSAPEQUA PARK, NY 11762              MILLER                                  ATTN JONATHAN MILLER
                                       321 NEWBRIDGE RD                        321 NEWBRIDGE RD
                                       HICKSVILLE, NY 11801                    HICKSVILLE, NY 11801



NWC LIBERTY GROVE & SH66 LTD           NWCN                                    NWHC MUD 21
CO DIRECT HOLDINGS                     DEPT 710017                             P.O. BOX 2569
2001 ROSS AVE STE 550                  PO BOX 514670                           SPRING, TX 77383-2569
DALLAS, TX 75201                       LOS ANGELES, CA 90051-4670




NWI BUTNER LIMITED PARTNERSHIP         NWI BUTNER LP                           NWP SERVICES CORPORATION
782 MELROSE AVENUE                     782 MELROSE AVE                         P.O. BOX 553178
P.O. BOX 41667                         NASHVILLE, TN 37211                     DETROIT, MI 48255-3178
NASHVILLE, TN 37204




NWSC-C, LLC                            NWSC-C, LLC                             NYBERG CENTERCAL II LLC
ATTN: MELISSA TROLINGER                C/O PARKES DEVELOPMENT GROUP, LLC       1600 E FRANKLIN AVE
PO BOX 680176                          ATTN: GARY W. PARKES                    EL SEGUNDO, CA 90245
PRATTVILLE, AL 36068                   105 REYNOLDS DRIVE
                                       FRANKLIN, TN 37064
                       Case 18-12241-CSS
NYBERGH CENTERCAL II, LLC             NYBERGHDoc  26 Filed
                                                CENTERCAL       10/05/18
                                                          II, LLC          PageNYC
                                                                                1221  of 1739 OF CONSUMER AFFAIRS
                                                                                   DEPARTMENT
C/O CENTERCAL PROPERTIES, LLC         C/O CENTERCAL PROPERTIES, LLC             42 BROADWAY 9TH FLOOR
1600 EAST FRANKLIN AVENUE             ATTN: JEAN PAUL WARDY                     NEW YORK, NY 10004
ATTN: JEAN PAUL WARDY                 1600 E FRANKLIN AVE
EL SEGUNDO, CA 90245                  EL SEGUNDO, CA 90245



NYC DEPT OF FINANCE                     NYC FIRE DEPARTMENT                     NYC OFFICE OF THE SHERIFF
PO BOX 3922                             PO BOX 412014                           210 JORALEMON ST ROOM 909
NEW YORK, NY 10008                      BOSTON, MA 02241-2014                   BROOKLYN, NY 11201




NYC WATER BOARD                         NYC WATER BOARD                         NYCOLE SMITH
59-17 JUNCTION BLVD                     P.O. BOX 11863                          10201 S. MAIN STREET
8TH FL                                  NEWARK, NJ 07101-8163                   HOUSTON, TX 77025
FLUSHING, NY 11373




NYFESCIA BEAL                           NYKALOS ASHE                            NYKEEMA STODDARD
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




NYS CHILD SUPPORT PROC CENTER           NYS DEPARTMENT OF STATE                 NYS DEPT OF TAX & FINANCE
PO BOX 15363                            DIVISION OF LICENSING SERVICES          PO BOX 15163
ALBANY, NY 12212-5363                   PO BOX 22001                            ALBANY, NY 12212-5163
                                        ALBANY, NY 12201-2001




NYSEG                                   NYSEG                                   O.J.B./101 NORTH FREDERICK, LC
18 LINK DR                              P.O. BOX 847812                         C/O RECYCLAND LLC
BINGHAMTON, NY 13904                    BOSTON, MA 02284-7812                   8101 GLENBROOK ROAD, SUITE B
                                                                                BETHESDA, MD 20814




O.J.B./12260 ROCKVILLE PIKE, L.C.       O.N. BAKER                              OAHU PUBLICATIONS INC
C/O RECYCLAND LLC                       DBA O.N. BAKER & PETROGUARD INC         500 ALA MOANA BLVD STE7-500
8101 GLENBROOK ROAD, SUITE B            8554 KATY FRWY STE 301                  HONOLULU, HI 96813
BETHESDA, MD 20814                      HOUSTON, TX 77024




OAHU PUBLICATIONS INC                   OAK AST LLC                             OAK AST LLC
PO BOX 31000                            26 LAKE RD                              26 LAKE ROAD
HONOLULU, HI 96849-5027                 GREAT NECK, NY 11020                    GREAT NECK, NY 11020




OAK CREEK WATER & SEWER UTILITY         OAK CREEK WATER & SEWER UTILITY         OAK CREEK WATER & SEWER
170 W DREXEL AVE                        P.O. BOX 673115                         170 WEST DREXEL AVENUE
OAK CREEK, WI 53154                     CHICAGO, IL 60695-3215                  OAK CREEK, WI 53154




OAK CREEK WATER & SEWER                 OAK CREEK                               OAK INVESTMENTS, LLC DBA MN MAINE, LLC
P.O. BOX 673115                         ATTN: PROPERTY TAX DEPT.                10350 BREN ROAD WEST
CHICAGO, IL 60695-3215                  PO BOX 27                               MINNETONKA, MN 55343
                                        OAK CREEK, WI 53154-0027
OAK INVESTMENTS, LLC DBACase    18-12241-CSS
                          MN MAINE, LLC         Doc
                                          OAK PARK   26 APARTMENTS
                                                   PLACE    Filed 10/05/18   PageOAK
                                                                                  1222  of 1739
                                                                                     REALTY PARTNERS
C/O CUSHMAN & WAKEFIELD NORTH MARQ        479 NORTH HARLEM AVE                    1155 KELLY JOHNSON BOULEVARD, SUITE
3500 AMERICAN BLVD. W., STE 200           OAK PARK AVE, IL 60301                  302
MINNEAPOLIS, MN 55431                                                             COLORADO SPRINGS, CO 80920




OAK RIDGE UTILITY DISTRICT               OAK RIDGE UTILITY DISTRICT               OAK WOOD PROPERTIES LLC
120 SOUTH JEFFERSON CIRCLE               P.O. BOX 4189                            ATTN: MICHAEL LASHLEY
OAK RIDGE, TN 37830                      OAK RIDGE, TN 37831-4189                 201 TIBBETTS ROCK DR
                                                                                  CARY, NC 27513




OAKLAND PACKAGING & SUPPLY INC           OAKLEY BRIGHT                            OAKRIDGE LOT 6, LLC
3200 REGATTA BLVD. STE. F                10201 S. MAIN STREET                     C/O E.J. PLESKO & ASSOCIATES, INC.
RICHMOND, CA 94804                       HOUSTON, TX 77025                        6515 GRAND TETON PLAZA, SUITE 300
                                                                                  MADISON, WI 53719




OAKRIDGE MALL LLC                        OAKWOOD PLAZA LTD PARTNERSHIP            OAKWOOD PLAZA LTD PARTNERSHIP
LOS ANGELES, CA 90074-5714               C/O KIMCO REALTY CORPORATION             C/O KIMCO REALTY CORPORATION
                                         3333 NEW HYDE PARK RD STE 100            3333 NEW HYDE PARK RD STE 100
                                         NEW HYDE PARK, NY 11042                  NEW HYDE PARK, NY 11042-1205




OAKWOOD REALTY                           OAKWOOD REALTY, LLC                      OATES A & A PROPERTIES
7723 OAKWOOD ST EXTENSION                7723 OAKWOOD STREET EXT.                 J. MICHAEL KIRK
MEBANE, NC 27302                         MEBANE, NC 27302                         2705 K STREET, SUITE 4
                                                                                  SACRAMENTO, CA 95816




OATES A & A PROPERTIES                   OATES ENERGY INC                         OATES ENERGY INC
PO BOX 163417                            14286 BEACH BLVD                         P.O. BOX 51268
SACRAMENTO, CA 95816                     STE 12                                   JACKSONVILLE BEACH, FL 32240-1268
                                         JACKSONVILLE, FL 32250




OATH AMERICAS INC                        OATH AMERICAS INC                        OBED LARTEY
22000 AOL WAY                            GENERAL POST OFFICE                      10201 S. MAIN STREET
DULLES, VA 20166                         PO BOX 5696                              HOUSTON, TX 77025
                                         NEW YORK, NY 10087-5696




OBERER REALTY SERVICES                   OBRIEN LAW PC                            OBRIEN RE INVESTMENTS LLC
PENNY MILLER                             1011 WESTLAKE DR                         11 HEATHER LANE
3445 NEWMARK DRIVE                       AUSTIN, TX 78746                         OAK BROOK, IL 60523
MIAMISBURG, OH 45342




OBRYANT RUIZ                             OBSERVER PUBLISHING COMPANY              OC FAIR & EVENT CENTER
10201 S. MAIN STREET                     ATTN: CASHIER                            ACCOUNTING DEPT
HOUSTON, TX 77025                        122 S MAIN ST                            88 FAIR DR
                                         WASHINGTON, PA 15301                     COSTA MESA, CA 92626




OCALA RETAIL 2015 LLC                    OCALA SIESTA LLC                         OCALA STAR BANNER
C/O NAI PLOTKIN                          4800 N FEDERAL HWY 205B                  P.O. BOX 915009
41 TAYLOR ST                             BOCA RATON, FL 33431                     ORLANDO, FL 32891-5009
SPRINGFIELD, MA 01103
                       Case 18-12241-CSS
OCCASIONS CATERING & SPECIAL EVENTS          Doc &26
                                      OCCHEALTH          FiledCARE
                                                   IMMEDIATE   10/05/18
                                                                   OF     PageOCCUPATIONAL
                                                                               1223 of 1739HEALTH CENTER
ATTN: DEBORAH KIRBY                   MACNEAL                                  OF THE SOUTHWEST P.A. CO
1615 STATE AVE NE                     6645 PAYSPHERE CIRCLE                    PO BOX 82432
OLYMPIA, WA 98506-4554                CHICAGO, IL 60674-0066                   ATLANTA, GA 30354-0432




OCCUPATIONAL HEALTH CENTERS OF         OCCUPATIONAL HEALTH CENTERS OF          OCCUPATIONAL HEALTH CENTERS OF THE
CALIFORNIA                             CALIFORNIA                              SOUTHWEST PA
A MEDICAL CORP                         CONCENTRA MEDICAL CENTERS               PO BOX 18277
PO BOX 3700                            PO BOX 3700                             BALTIMORE, MD 21227-0277
RANCHO CUCAMONGA, CA 91729-3700        RANCHO CUCAMONGA, CA 91729-3700



OCCUPATIONAL HEALTH CENTERS OF THE     OCCUPATIONAL HEALTH CENTERS             OCCUPATIONAL HEALTH CENTERS
SW PA                                  OF MICHIGAN PC                          OF NORTH CAROLINA PC
PO BOX 3700                            PO BOX 5106                             PO BOX 82730
RANCHO CUCAMONGA, CA 91729-3700        SOUTHFIELD, MI 48086-5106               HAPEVILLE, GA 30354




OCCUPATIONAL HEALTH CENTERS            OCCUPATIONAL HEALTH CENTERS             OCCUPATIONAL HEALTH CENTERS
OF OHIO P.A.                           OF THE SOUTHWEST P.A. CO                OF THE SOUTHWEST P.A.
PO BOX 5012                            PO BOX 1297                             PO BOX 9005
SOUTHFIELD, MI 48086                   BROOKFIELD, WI 53008-1297               ADDISON, TX 75001-9005




OCCUPATIONAL HEALTH CENTERS            OCCUPATIONAL HEALTH CENTERS             OCCUPATIONAL HEALTH CENTERS
OF THE SW PA                           OF THE SW PA                            P.O. BOX 82730
PO BOX 20127                           PO BOX 9008                             HAPEVILLE, GA 30354-0730
CRANSTON, RI 02920-0942                BROOMFIELD, CO 80021




OCCUPATIONAL HEALTH CTRS OF ILLINOIS   OCCUPATIONAL HEALTH SERVICES            OCCUPATIONAL HEALTH SVCS OF AMERICA
PC                                     MOUNTAIN MEDICAL GROUP LLC              3700 CAHABA BEACH RD
PO BOX 488                             1302 NE 3RD ST                          BIRMINGHAM, AL 35242
LOMBARD, IL 60148-0488                 BEND, OR 97701




OCCUPATIONAL MEDICINE CLINIC           OCCUPATIONAL TAX ADMINISTRATOR          OCE IMAGISTICS
12000 RICHMOND AVE STE 180             PO BOX 10008                            100 OAKVIEW DR
HOUSTON, TX 77082                      OWENSBORO, KY 42302-9008                TRUMBULL, CT 06611




OCE IMAGISTICS                         OCEAN CITY PARTNERS LIMITED             OCEAN STAR INTERNATIONAL INC
PO BOX 856193                          PARTNERSHIP                             INTERNATIONAL VAN LINES
LOUISVILLE, KY 40285-6193              C/O THE POWER PLANT                     3957 NW 126 AVE
                                       ATTN: GENERAL COUNSEL                   CORAL SPRINGS, FL 33065
                                       601 E. PRATT STREET, 6TH FLOOR
                                       BALTIMORE, MD 21202


OCEANGATE PROPERTY, LLC                OCEANIC TIME WARNER CABLE               OCG ALPHA DEVELOPMENT, LLC
C/O THE ARBA GROUP, INC.               P.O. BOX 30050                          C/O OSBORNE CAPITAL GROUP
ATTN: PROPERTY/LEASING MANAGER         HONOLULU, HI 96820-0050                 ATTN: LANCE F. OSBORNE
6300 WILSHIRE BLVD., SUITE 1800                                                7670 TYLER BOULEVARD
LOS ANGELES, CA 90048                                                          MENTOR, OH 44060



OCG ALPHA DEVELOPMENT, LLC             OCONEE COUNTY CODE ENFORCEMENT          OCONEE COUNTY TAX COMMISSIONER
PO BOX 933227                          PO BOX 112                              PO BOX 106
CLEVELAND, OH 44193                    1291 GREENSBORO HWY RM A108             WATKINSVILLE, GA 30677
                                       WATKINSVILLE, GA 30677
OCONEE COUNTY UTILITY Case
                       DEPT   18-12241-CSS   Doc
                                        OCONEE    26 UTILITY
                                               COUNTY  FiledDEPT
                                                             10/05/18    PageOCONEE
                                                                              1224 of 1739
P.O. BOX 88                              WATER RESOURCES                     ATTN: PROPERTY TAX DEPT.
WATKINSVILLE, GA 30677                   1291 GREENSBORO HIGHWAY             PO BOX 106
                                         WATKINSVILLE, GA 30677              WATKINSVILLE, GA 30677




OCONNER L. LEWIS                         OCONOMOWOC CITY UTILITIES           OCONOMOWOC CITY
1233 RUGBY DRIVE                         174 E WISCONSIN AVE.                ATTN: PROPERTY TAX DEPT.
NASHVILLE, TN 37207                      PO BOX 27                           PO BOX 27
                                         OCONOMOWOC, WI 53066                OCONOMOWOC, WI 53066-0027




OCONOMOWOC UTILITIES                     OCONOMOWOC UTILITIES                OCOTILLO FIESTA
174 E WISCONSIN AVE.                     174 E WISCONSIN AVENUE              9120 E TALKING STICK WAY
PO BOX 27                                OCONOMOWOC, WI 53066                STE E1
OCONOMOWOC, WI 53066                                                         SCOTTSDALE, AZ 85250




OCOTILLO FIESTA                          OCP MILWAUKEE MT, LLC               OCP MILWAUKEE MT, LLC
CBRE FUQ001                              740 WAUKEGAN RD STE 310             C/O FOUNDERS 3 MANAGEMENT COMPANY
PO BOX 82552                             DEERFIELD, IL 60015                 252 EAST HIGHLAND AVENUE
GOLETA, CA 93118-2552                                                        MILWAUKEE, WI 53202




OCP MILWAUKEE MT, LLC                    OCTAGON INC                         OCTAGON INC-ESCROW
PO BOX 714716                            7950 JONES BRANCH DR STE 700N       PO BOX 74008252
CINCINNATI, OH 45271-4716                MC LEAN, VA 22107                   CHICAGO, IL 60674-8252




OCW RETAIL ROCHESTER LLC                 OCW RETAIL-BELMONT LLC              OCW RETAIL-BELMONT, LLC
800 BOYLSTON ST STE 1300                 800 BOYLSTON STREET                 C/O THE WILDER COMPANIES, LTD.
BOSTON, MA 02199                         STE 1300                            800 BOYLSTON STREET, SUITE 1300
                                         BOSTON, MA 02199                    BOSTON, MA 02199




OCW RETAIL-BELMONT, LLC                  OCW RETAIL-CANTON LLC               OCW RETAIL-ROCHESTER, LLC
PO BOX 392350                            PO BOX 392331                       C/O THE WILDER COMPANIES, LTD.
PITTSBURGH, PA 15251-9350                PITTSBURGH, PA 15251-9331           800 BOYLSTON ST STE 1300
                                                                             BOSTON, MA 02199




OCW RETAIL-ROCHESTER, LLC                ODARIUS TURNER                      ODDELLO INDUSTRIES LLC
C/O THE WILDER COMPANIES, LTD.           10201 S. MAIN STREET                425 JONES FRANKLIN RD
800 BOYLSTON STREET, SUITE 1300          HOUSTON, TX 77025                   MORRISTOWN, TN 37813
BOSTON, MA 02199




ODELL D WHITE III                        ODELL KILLEBREW                     ODESSA FERRARO
9028 S RICHMOND AVE                      10201 S. MAIN STREET                10201 S. MAIN STREET
EVERGREEN PARK, IL 60805                 HOUSTON, TX 77025                   HOUSTON, TX 77025




ODETTE KEBBE                             ODIATU NWOSU                        ODUBELA OLUSEGUN
542 JAY COURT                            10201 S. MAIN STREET                10201 S. MAIN STREET
MONTEBELLO, CA 90640                     HOUSTON, TX 77025                   HOUSTON, TX 77025
OEKOS DUNDALK, LLC     Case   18-12241-CSS
                                        OEKOS Doc 26 LLC
                                              DUNDALK, Filed 10/05/18          PageOELMIN
                                                                                    1225 SUERO
                                                                                          of 1739
8300 GUILFORD RD, SUITE C                PO BOX 6079                               10201 S. MAIN STREET
COLUMBIA, MD 21046                       HERMITAGE, PA 16148                       HOUSTON, TX 77025




OETTING, MICHAEL                         OFALLEN WATER DEPARTMENT                  OFALLON WATER & SEWER DEPT
2888 W. GORET RD.                        255 S LINCOLN AVE.                        255 S LINCOLN AVE
TUCSON, AZ 85745-7502                    OFALLEN, IL 62269                         O FALLON, IL 62269




OFALLON WATER & SEWER DEPT               OFF DUTY SERVICES                         OFFER POP CORP
255 S LINCOLN AVE                        1908 AVE D A100                           360 PARK AVE SOUTH 20TH FL
OFALLON, IL 62269-2139                   KATY, TX 77493                            NEW YORK, NY 10010




OFFERPOP CORPORATION                     OFFICE DEPOT INC                          OFFICE DEPOT
WYNG INC                                 PO BOX 660113                             PO BOX 70025
360 PARK AVE S 20 FL                     DALLAS, TX 75266-0113                     LOS ANGELES, CA 90074-0025
NEW YORK, NY 10010




OFFICE FURNITURE CONNECTION              OFFICE FURNITURE SOLUTIONS INC            OFFICE LIQUIDATORS INC
P.O. BOX 451189                          1060 E OGDEN AVE                          DBA AZ OFFICE LIQUIDATORS & DESIGNS
HOUSTON, TX 77045                        NAPERVILLE, IL 60563                      3920 E BROADWAY RD
                                                                                   PHOENIX, AZ 85040




OFFICE OF CONSUMER CREDIT                OFFICE OF SHERIFF CONSOLIDATED            OFFICE OF STATE POLICE
COMMISSIONER                             CITY OF JACKSONVILLE                      DPSC PUBLIC SAFETY
PO BOX 12366                             ALARM REGISTRATION OFFICE                 PO BOX 61047
AUSTIN, TX 78711-2366                    501 E BAY ST ROOM 207                     NEW ORLEANS, LA 70161-1047
                                         JACKSONVILLE, FL 32202



OFFICE OF THE ATTORNEY GENERAL STATE     OFFICE OF THE ATTY GENERAL OF TX          OFFICE OF THE COUNTY CLERK
OF FLORIDA                               TX CHILD SUPPORT SDU                      P.O. BOX 551604
ATTN: BRENT HOOSAC                       PO BOX 659791                             LAS VEGAS, NV 89155-1604
1515 N. FLAGLER DRIVE, SUITE 900         SAN ANTONIO, TX 78265-9791
WEST PALM BEACH, FL 33401



OFFICE OF THE FAYETTE COUNTY SHERIFF     OFFICE OF THE FIRE MARSHAL                OFFICE OF THE GOVERNOR ATTN:
PO BOX 34148                             TOWNSHIP OF MOUNT OLIVE                   FINANCIAL SERV
LEXINGTON, KY 40588-4148                 PO BOX 450                                1100 SAN JACINTO
                                         BUDD LAKE, NJ 07828                       AUSTIN, TX 78701




OFFICE OF THE SECRETARY OF STATE         OFFICE OF THE UNITED STATES TRUSTEE       OFFICE OF TRUSTEE
PO BOX 83720                             J CALEB BOGGS FEDERAL BUIDLING            PO BOX 420
BOISE, ID 83720-0080                     844 KING STREET, SUITE 2207               MEMPHIS, TN 38101
                                         LOCK BOX 35
                                         WILMINGTON, DE 19801



OFFICE PROPERTIES                        OFFICE PROPERTIES                         OFFICE SOLUTIONS INC
9216 HOPI TRAIL                          9216 HOPI TRAIL                           131 EILEEN WAY
OOLTEWAH, TN 37363-8678                  OOLTEWAN, TN 37363-8678                   SYOSSET, NY 11791
OFFICE STAR PRODUCTS     Case 18-12241-CSS
                                        OFFICE Doc
                                               TEAM 26     Filed 10/05/18   PageOFFICEMAX
                                                                                 1226 of 1739
1901 S ARCHIBALD AVE                     P.O. BOX 743295                        PO BOX 79515
PO BOX 4148                              LOS ANGELES, CA 90074-3295             CITY OF INDUSTRY, CA 91716-9515
ONTARIO, CA 91761




OFFICES TO GO                            OFFICES TO GO                          OFFICIA IMAGING INC
11625 CUSTER RD                          16600 DALLAS PARKWAY STE 405           3930 W ALI BABA LN
STE 110-266                              DALLAS, TX 75248                       LAS VEGAS, NV 89118
FRISCO, TX 75035




OFFT, BRANDI                             OFS SOLID WASTE SVCS. INC.             OFS SOLID WASTE SVCS. INC.
5341 MAGNOLIA AVE                        15002 SOUTH DR                         P.O. BOX 2258
SAINT LOUIS, MO 63139-1411               CHANNELVIEW, TX 77530                  CHANNELVIEW, TX 77530




OGDEN NEWSPAPER OF UTAH LLC              OGE                                    OGE
DAILY HERALD                             321 NORTH HARVEY                       P.O. BOX 24990
86 N UNIVERSITY AVE STE 300              OKLAHOMA CITY, OK 73101                OKLAHOMA CITY, OK 73124-0990
PROVO, UT 84603




OGLETREE DEAKINS NASH SMOAK STEWART      OGRADY PLUMBING                        OH RETAIL II LL, LLC
PO BOX 89                                1610 EVANS AVE                         P.O. BOX 73614
COLUMBIA, SC 29202                       SAN FRANCISCO, CA 94124                CLEVELAND, OH 44193




OH RETAIL LL LLC                         OHANA BROADCAST COMPANY LLC            OHIO BUREAU OF WORKERS
PO BOX 73432                             DBA KQNG                               COMPENSATION
CLEVELAND, OH 44193                      1000 BISHOP ST 2ND FLOOR               PO BOX 89492
                                         HONOLULU, HI 96813                     CLEVELAND, OH 44101-6492




OHIO CHILD SUPPORT PAYMENT CENTRAL       OHIO CO PUBL SERVICE DISTRICT          OHIO CO PUBL SERVICE DISTRICT
PO BOX 182394                            411 NATIONAL RD                        P.O. BOX 216
COLUMBUS, OH 43218-2394                  WHEELING, WV 26003                     TRIADELPHIA, WV 26059




OHIO DEPT OF COMMERCE                    OHIO DEPT OF TAXATION                  OHIO DEPT OF TAXATION
DIVISION OF UNCLAIMED FUNDS              30 E BROAD STREET                      4485 NORTHLAND RIDGE BLVD
77 S HIGH ST 20TH FLOOR                  22ND FLOOR                             COLUMBUS, OH 43229
COLUMBUS, OH 43215-6108                  COLUMBUS, OH 43215




OHIO DEPT. OF TAXATION                   OHIO DEPT. OF TAXATION                 OHIO DEPT. OF TAXATION
ATTN: COMMERCIAL ACTIVITY TAX DEPT.      ATTN: SALES & USE TAX DEPT.            ATTN: UNCLAIMED PROPERTY DEPT.
PO BOX 16561                             PO BOX 16561                           PO BOX 182215
COLUMBUS, OH 43216-6561                  COLUMBUS, OH 43216-6561                COLUMBUS, OH 43218




OHIO DEPT. OF TAXATION                   OHIO DEPT. OF TAXATION                 OHIO DEPT. OF TAXATION
PO BOX 182215                            PO BOX 182382                          PO BOX 182388
COLUMBUS, OH 43218                       COLUMBUS, OH 43218-2382                COLUMBUS, OH 43218-2388
OHIO EDISON            Case 18-12241-CSS    Doc 26
                                      OHIO EDISON       Filed 10/05/18   PageOHIO
                                                                              1227  ofCO
                                                                                  GAS  1739
76 SOUTH MAIN ST                      P.O. BOX 3637                          200 W HIGH ST
AKRON, OH 44308                       AKRON, OH 44309-3637                   BRYAN, OH 43506




OHIO GAS CO                           OHIO SECRETARY OF STATE                OHIO STATE FAIR SPONSORSHIP FUND
P.O. BOX 528                          PO BOX 1329                            OHIO EXPOSITIONS COMISSION
BRYAN, OH 43506-0528                  COLUMBUS, OH 43216                     717 E 17TH AVE
                                                                             COLUMBUS, OH 43211




OHIO STATE TREASURER                  OHIO WINDOW CLEANING INC.              OJB INVESTMENT GROUP, LC
PO BOX 4009                           P.O. BOX 24039                         C/O RECYCLAND LLC
REYNOLDSBURG, OH 43068-9009           DAYTON, OH 45424                       8101 GLENBROOK ROAD, SUITE B
                                                                             BETHESDA, MD 20814




OJB/12260 ROCKVILLE PIKE LC           OJB/AJRE JV, LC                        OK MATTRESS VENTURES, LLC
8101 GLENBROOK RD STE B               C/O RECYCLAND LLC                      76 PALM BLVD
BETHESDA, MD 20814                    8101 GLENBROOK ROAD, SUITE B           MISSOURI CITY, TX 77459
                                      BETHESDA, MD 20814




OK MATTRESS                           OKALOOSA COUNTY TAX COLLECTOR          OKALOOSA COUNTY TAX COLLECTOR
5000 WAREHOUSE                        ATTN: PROPERTY TAX DEPT.               ATTN: PROPERTY TAX DEPT.
4343-J S MEMORIAL DR                  PO BOX 1390                            PO BOX 1390
TULSA, OK 74145                       NICEVILLE, FL 32578                    NICEVILLE, FL 32588




OKALOOSA GAS DISTRICT                 OKALOOSA GAS DISTRICT                  OKLAHOMA TAX COMMISSION
364 VALPARAISO PARKWAY                P.O. BOX 548                           PO BOX 26920
VALPARAISO, FL 32580                  VALPARAISO, FL 32580-0548              OKLAHOMA CITY, OK 73126




OKLAHOMA CITY POLICE DEPT             OKLAHOMA COUNTY TREASURER              OKLAHOMA COUNTY TREASURER
PO BOX 96-0187                        ATTN: BUSINESS LICENSE DEPT.           ATTN: PROPERTY TAX DEPT.
OKLAHOMA CITY, OK 73196               P.O. BOX 268875                        P.O. BOX 268875
                                      OKLAHOMA CITY, OK 73126-8875           OKLAHOMA CITY, OK 73126-8875




OKLAHOMA COUNTY TREASURER             OKLAHOMA NATURAL GAS                   OKLAHOMA NATURAL GAS
ATTN: UNCLAIMED PROPERTY DEPT.        401 NORTH HARVEY AVENUE                P.O. BOX 219296
P.O. BOX 268875                       OKLAHOMA CITY, OK 73101-0401           KANSAS CITY, MO 64121-9296
OKLAHOMA CITY, OK 73126-8875




OKLAHOMA STATE DEPART OF HEALTH       OKLAHOMA STATE FAIR INC                OKLAHOMA STATE UNIVERSITY
1000 NE 10TH ST                       PO BOX 74943                           COE RESEARCH ADMINISTRATION
OKLAHOMA CITY, OK 73117               OKLAHOMA CITY, OK 73147                325B WILLARD HALL
                                                                             STILLWATER, OK 74078-1004




OKLAHOMA TAX COMMISSION               OKLAHOMA TAX COMMISSION                OKLAHOMA TAX COMMISSION
440 SOUTH HOUSTON                     ATTN: SALES & USE TAX DEPT.            CONNORS BUILDING, CAPITAL COMPLEX
5TH FLOOR                             PO BOX 269057                          2501 NORTH LINCOLN BLVD
TULSA, OK 74127                       OKLAHOMA CITY, OK 73126                OKLAHOMA CITY, OK 73914
                      Case
OKLAHOMA TAX COMMISSION        18-12241-CSS   Doc
                                         OKOLONA   26 COFiled
                                                 GLASS   INC 10/05/18          PageOKSANA
                                                                                    1228 of  1739
                                                                                          K ANDERSON
PO BOX 269057                            1180 INDUSTRIAL BLVD                       29 SCHOOL HOUSE RD
OKLAHOMA CITY, OK 73126                  LOUISVILLE, KY 40219                       EAST TEMPLETON, MA 01438




OKTA INC                                 OLA FAYEMIWO                               OLA SAKA
301 BRANNAN ST STE 300                   10201 S. MAIN STREET                       10201 S. MAIN STREET
SAN FRANCISCO, CA 94107                  HOUSTON, TX 77025                          HOUSTON, TX 77025




OLABODE ASHAYE                           OLAIDE OLUGBEMI                            OLAMIPO AGUNLOYE
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




OLATHE PASSCO LLC                        OLATHE PASSCO LLC                          OLATHE STATION NORTH, LLC
DBA OLATHE STATION                       DBA OLATHE STATION                         C/O THE R.H. JOHNSON COMPANY
5001 SOLUTION CENTER                     PO BOX 60370                               4520 MADISON AVE STE 300
CHICAGO, IL 60677                        LOS ANGELES, CA 90060-0370                 KANSAS CITY, MO 64111




OLATHE STATION NORTH, LLC                OLAZABAL, YOSVANY                          OLD BRIDGE MUNICIPAL UTIL AUTH
C/O THE R.H. JOHNSON COMPANY             5471 W 2ND AVE                             P.O. BOX 1006
4520 MADISON AVE, SUITE 300              HIALEAH, FLORIDA 33012-2711                LAURENCE HARBOR, NJ 08879-4006
KANSAS CITY, MO 64111




OLD BRIDGE MUNICIPAL UTIL AUTH           OLD BRIDGE MUNICIPAL UTIL AUTH             OLD BRIDGE MUNICIPAL UTIL AUTH
P.O. BOX 14444                           SEWER DIVISION                             WATER DIVISION
NEW BRUNSWICK, NJ 08906-4444             71 BOULEVARD WEST                          71 BOULEVARD WEST
                                         CLIFFWOOD BEACH, NJ 07735                  CLIFFWOOD BEACH, NJ 07735




OLD BRIDGE RETAIL INVESTMENT LLC         OLD BRIDGE TOWNSHIP FIRE DISTRICT 4        OLD COURT REAL ESTATE LLC
C/O THE RAPPAPORT COMPANIES              3011 CHESSEQUAKE RD                        ATTN: RAJ PINGILI
8405 GREENSBORO DR 8TH FLOOR             PARLIN, NJ 08859                           5126 HONEY LOCUST COURT
MCLEAN, VA 22102                                                                    ELLICOTT CITY, MD 21042




OLD DAIRY ROAD LLC                       OLD DOMINION FREIGHT LINE INC              OLD DOMINION TRUCK LEASING
3135 MILLWOOD AVE                        PO BOX 841324                              300 ARBORETUM PLACE STE 600
COLUMBIA, SC 29205                       DALLAS, TX 75284-1324                      NORTH CHESTERFIELD, VA 23236




OLD HICKORY, LLC                         OLD HICKORY, LLC                           OLD NATIONAL WEALTH MANAGEMENT
101 PARK PLACE BLVD STE 3                101 PARK PLACE BOULEVARD, SUITE 3          2801 EAST BUICK CADILLAC BOULEVARD
KISSIMMEE, FL 34741                      KISSIMMEE, FL 34741                        BLOOMINGTON, IN 47401




OLD RIVER MARKEPLACE LIMITED             OLD ROAD SOFTWARE INC                      OLD SOUTH IRONWORKS LLC
PARTNERS                                 54 DANBURY RD 407                          2508 KENNERLY RD
C/O STIRLING PROPERTIES, LLC             RIDGEFIELD, CT 06877                       IRMO, SC 29063
PO BOX 54601
NEW ORLEANS, LA 70154
                     Case
OLD WEST MATTRESS CO LLC     18-12241-CSS   Doc
                                       OLDACRE   26 Filed
                                               MCDONALD,     10/05/18
                                                         LLC AND MARK       PageOLDHAM
                                                                                 1229 of 1739 GROUP, LLC
                                                                                       GOODWIN
18300 E 28TH AVE                        MCDONALD                                 2800 S. TEXAS AVENUE, SUITE 401
AURORA, CO 80011                        C/O BECK REDDEN LLP                      BRYAN, TX 77802
                                        ATTN: ALISTAIR DAWSON
                                        1221 MCKINNEY STREET, 4500
                                        HOUSTON, TX 77010


OLE SERVICES                            OLEARY GROUP WASTE SYSTEMS - NC          OLEARY GROUP WASTE SYSTEMS - NC
1395 BRICKELL AVE, STE 720              1928 SOUTH BLVD SUITE 310                1928 SOUTH BLVD
ATTN: JACKIE FERREIRA                   CHARLOTTE, NC 28203                      STE 310
MIAMI, FL 33131                                                                  CHARLOTTE, NC 28203




OLIN BURDICK                            OLIPHANT LOCK & SAFE INC                 OLIVE PARK, LLC
10201 S. MAIN STREET                    131 E RIVERSIDE BLVD                     C/O NDB COMMERCIAL REAL ESTATE
HOUSTON, TX 77025                       LOVES PARK, IL 61111                     700 EXPOSITION PLACE, SUITE 131
                                                                                 RALEIGH, NC 27615




OLIVE PLACE CENTRE LLC                  OLIVE PLACE PLAZA, LLC                   OLIVE REAL ESTATE MANAGEMENT
PO BOX 1087                             ATTN: MARY C BROWN                       SERVICES, LLC
WEST END, NC 27376                      P.O. BOX 1087                            ATTN: JENNIFER CAPLIA
                                        WEST END, NC 27376                       102 N. CASCADE AVE, SUITE 250
                                                                                 COLORADO SPRINGS, CO 80903



OLIVER AHMU                             OLIVER BENNETT                           OLIVER COLON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




OLIVER COOK                             OLIVER HARVEY                            OLIVER ROLAND
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




OLIVER THOMPSON                         OLIVER WYMAN ACTUARIAL CONSULTING        OLIVERI ARCHITECTS INC
10201 S. MAIN STREET                    INC                                      32707 US HWY 19
HOUSTON, TX 77025                       PO BOX 5160                              PALM HARBOR, FL 34684
                                        NEW YORK, NY 10087-5160




OLIVIA ASHBURN                          OLIVIA BELL                              OLIVIA GULICH
2331 CUTTERS CIRCLE 101                 13449 DULLES AVE                         430 STATE ST
CASTLE ROCK, CO 80108                   AUSTIN, TX 78729                         ROSWELL, GA 30075




OLIVIA HOWERTON                         OLIVIA JAINDL                            OLIVIA KESTER
506 RIVERWALK DRIVE                     10201 S. MAIN STREET                     3644 IE MCCONNELL RD
SIMPSONVILLE, SC 29681                  HOUSTON, TX 77025                        GREENSBORO, NC 27405




OLIVIA LAMBERSON                        OLIVIA LUMENELLO                         OLIVIA SHELTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
OLIVIA SMITH           Case 18-12241-CSS   DocTRADE
                                      OLOUGHLIN 26 SHOWS
                                                    Filed 10/05/18     PageOLSHAN
                                                                            1230 of 1739
                                                                                  PROPERTIES
10201 S. MAIN STREET                   PO BOX 80750                         SOCORRO FERNANDEZ AND FELIX
HOUSTON, TX 77025                      PORTLAND, OR 97280                   CARABALLO
                                                                            5500 NEW ALBANY ROAD E, SUITE 200
                                                                            NEW ALBANY, OH 43054



OLSSON                                 OLUCHI UZOR                          OLUSEYI OLAORE
740 S LAKE STREET                      10201 S. MAIN STREET                 10201 S. MAIN STREET
AURORA, IL 60506                       HOUSTON, TX 77025                    HOUSTON, TX 77025




OLUWAGBEMIGA ADEKUNLE                  OLVERSTEIN, JOAN                     OLYMPIC CREDIT SERVICE INC
10201 S. MAIN STREET                   2636 CHURCH HILL LANE #8             421 N PEARL STE 213
HOUSTON, TX 77025                      SAGINAW, MI 48603-6914               ELLENSBURG, WA 98926




OLYMPIC IV MALL SERVICES               OLYMPIC MALL SERVICES                OLYMPIC TOWNE CENTER, LLC
P.O. BOX 96383                         P.O. BOX 800336                      C/O WWR PROPERTIES
LAS VEGAS, NV 89193                    HOUSTON, TX 77280-0336               ATTN: JANEL SALINE
                                                                            3803 BRIDGEPORT WAY WEST
                                                                            UNIVERSITY PLACE, WA 98466



OLYMPIC WEST FIRE PROTECTION           OMAHA DOOR AND WINDOW COMPANY INC    OMAHA MKTPLC HOLDINGS LLC
128 SOUTH RIVER DR                     4665 G STREET                        11550 I ST STE 200
TEMPE, AZ 85281                        OMAHA, NE 68117-1489                 OMAHA, NE 68137




OMAHA MKTPLC HOLDINGS LLC              OMAHA PUBLIC POWER DIST              OMAHA PUBLIC POWER DISTRICT
40 DANBURY RD                          ENERGY PLAZA                         P.O. BOX 3995
WILTON, CT 06897                       444 SOUTH 16TH STREET MALL           OMAHA, NE 68103-0995
                                       OMAHA, NE 68102-2247




OMAHA WAREHOUSES LLC                   OMAHA WORLD HERALD                   OMAR ANDRABI
4115 S. 133RD STREET                   MOBA HOME SHOW                       10201 S. MAIN STREET
OMAHA, NE 68137                        1314 DOUGLAS ST STE 600              HOUSTON, TX 77025
                                       OMAHA, NE 68102




OMAR CAMPBELL                          OMAR COX                             OMAR DARAISEH
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




OMAR DESOUZA                           OMAR ELKHODOUR                       OMAR ELKHOLY
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




OMAR GOODSON                           OMAR JOHNSON                         OMAR MOUSA
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025
OMAR NAIM                Case 18-12241-CSS    Doc 26
                                        OMAR RUIZ         Filed 10/05/18   PageOMAR
                                                                                1231TAPIA
                                                                                     of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




OMAR TORRES                             OMAR VANN                              OMAR YASSIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




OMARI MOORE                             OMATTAA MCKENZIE                       OMEGA MARGATE REALTY LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                   ATTN: OZER BAYSAL
HOUSTON, TX 77025                       HOUSTON, TX 77025                      1 INDIAN KNOLL PL
                                                                               GREENWICH, CT 06831




OMEGA MARGATE REALTY, INC.              OMEGA SAFETY TRAINING INC              OMEGA WASTE MANAGEMENT INC
ATTN: OZER BAYSAL                       6037 FRY RD STE 126-102                PO BOX 735
1 INDIAN KNOLL PL                       KATY, TX 77449                         CORNING, CA 96021
GREENWICH, CT 06831




OMNI RESOURCE RECOVERY, INC.            OMNITECH COMM. & PROTECTION            OMOLARA LAWAL
1495 N. 8TH STREET, SUITE 150           4301 32ND ST W SUITE C-3               2722 PENINSULA DRIVE
COLTON, CA 92324                        BRADENTON, FL 34205                    MISSOURI CITY, TX 77459




OMZ KING GEORGE LLC                     OMZ KING GEORGE, LLC                   OMZ KING GEORGE, LLC
1800 BRENTRIDGE STREET                  8009 WOLFTRAP ROAD                     C/O MURPHY & ASSOCIATES LLC
VIENNA, VA 22182                        VIENNA, VA 22027                       3319 DUKE ST.
                                                                               ALEXANDRIA, VA 22314




ON ASSIGNMENT INC                       ON DEMAND BUSINESS EQUIPMENT           ON DEMAND INC
DBA CREATIVE CIRCLE LLC                 PO BOX 660831                          PO BOX 660831
PO BOX 74008799                         DALLAS, TX 75266-0831                  DALLAS, TX 75266-0831
CHICAGO, IL 60674-8799




ON DEMAND PUBLISHING LLC                ON DEMAND                              ON HOLD MEDIA GROUP
7290 B INVESTMENT DR                    5821 SOUTHWEST FWY 170                 6836 DALLAS PKWY STE 200
CHARLESTON, SC 29412                    HOUSTON, TX 77057                      PLANO, TX 75024




ON THE ROAD REALTY, LLC                 ON THE ROAD REALTY, LLC                ONCE UPON A TOY INC
C/O PROVIDENT MANAGEMENT CORP           C/O PROVIDENT MANAGEMENT CORP          5864 MAPLE AVE
240 W 35TH STREET, SUITE 504            240 WEST 35TH ST STE 504               SAINT LOUIS, MO 63112
NEW YORK, NY 10001                      NEW YORK, NY 10001




ONCE UPON A TOY INC                     ON-DEMAND PUBLISHING LLC               ONE ELEVEN LA QUINTA, LLC
C/O THE EDGEBANK                        7290 B INVESTMENT DR                   ATTN: LU ANN SIMS
10 TERRA VERDA                          NORTH CHARLESTON, SC 29412             78982 HWY 111 1B
EDWARDSVILLE, IL 62025                                                         LA QUINTA, CA 92253
                        Case
ONE ELEVEN LA QUINTA, LLC      18-12241-CSS    Doc LA
                                         ONE ELEVEN 26QUINTA,
                                                         Filed  10/05/18
                                                              LLC          PageONE
                                                                                1232 ofLOGISTICS
                                                                                   GOAL 1739 INC
ATTN: MICHAEL J. SHOVLIN                  ATTN: MICHAEL J. SHOVLIN             16 PINE CIRCLE
71-084 TAMARISK LANE                      78-982 HIGHWAY 111, SUITE 1B         CARY, IL 60013
RANCHO MIRAGE, CA 92270                   LA QUINTA, CA 92253




ONE MAN & A TOOLBOX                       ONE MILE WEST SHOPPING CENTER        ONE MILE WEST, LLLP
DBA AUSTIN HOLDING COMPANY INC            10096 RED RUN BLVD STE 300           C/O FEDDER MANAGEMENT CORP
2501 MEADOWVIEW LN STE 201                OWINGS MILLS, MD 21117               10096 RED RUN BOULEVARD, SUITE 300
PELHAM, AL 35124                                                               OWINGS MILLS, MD 21117




ONE POINT TECHNOLOGIES INC                ONE PUTT BROADCASTING                ONE RING NETWORKS
P.O. BOX 1849                             1415 FULTON ST                       2030 POWERS FERRY RD STE 200
WOODSTOCK, GA 30188-1369                  FRESNO, CA 93721                     ATLANTA, GA 30339




ONE SAFE PLACE MEDIA CORP                 ONE SOURCE COMMUNICATIONS            ONE SOURCE RECYCLING INC.
1550 W WALNUT HILL LN                     4800 KELLER HICKS RD.                PO BOX 92852
IRVING, TX 75038                          KELLER, TX 76248-9643                AUSTIN, TX 78735




ONE SOURCE VIRTUAL INC.                   ONE SOURCE                           ONE SOUTHSIDE DRIVE LLC
DEPT 3020                                 4800 KELLER HICKS RD                 C/O WINDSOR DEVELOPMENT GROUP, INC.
PO BOX 123020                             FORT WORTH, TX 76244-9643            5 SOUTHSIDE DRIVE, SUITE 200
DALLAS, TX 75312                                                               CLIFTON PARK, NY 12065




ONE SOUTHSIDE DRIVE LLC                   ONEFASTONE 1 LLC                     ONEILL LATORRE
PO BOX 1549                               ATTN: JOE GEGARE                     10201 S. MAIN STREET
CLIFTON PARK, NY 12065                    3524 TARRAGON TRAIL                  HOUSTON, TX 77025
                                          SUAMICO, WI 54313




ONEPAK INC                                ONEPOINT                             ONEPROP INC
56 MAIN ST 2ND FLOOR                      P.O. BOX 1849                        5308 W PLANO PKWY STE 100
P.O. BOX 130                              WOODSTOCK, GA 30188-1369             PLANO, TX 75093
ORLEANS, MA 02653




ONESOURCE COMMUNICATIONS                  ONESOURCE OFFICE SYSTEMS             ONESOURCE WATER
4800 KELLER HICKS RD                      2154 PARAGON DR                      1572 S MAHAFFIE CIRCLE
FORT WORTH, TX 76244-9643                 SAN JOSE, CA 95131                   OLATHE, KS 66062




ONESOURCE WATER                           ONEYDA BENITEZ                       ONICA GROUP LLC
PO BOX 677867                             10201 S. MAIN STREET                 PO BOX 845902
DALLAS, TX 75267-7867                     HOUSTON, TX 77025                    LOS ANGELES, CA 90084




ONIEL COX                                 ONIKA MORST                          ONLINETICKETS.COM
10201 S. MAIN STREET                      10201 S. MAIN STREET                 105 E RENO AVE STE 10
HOUSTON, TX 77025                         HOUSTON, TX 77025                    LAS VEGAS, NV 89119
ONNEE ZEIGLER            Case 18-12241-CSS   Doc
                                        ONSLOW    26 TAX
                                               COUNTY Filed  10/05/18
                                                         COLLECTOR           PageONSLOW
                                                                                  1233 of 1739
10201 S. MAIN STREET                     234 NW CORRIDOR BLVD                    ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                        JACKSONVILLE, NC 28540-5309             234 NW CORRIDOR BLVD
                                                                                 JACKSONVILLE, NC 28540-5309




ONTARIO MUNICIPAL UTILITIES CO           ONTARIO MUNICIPAL UTILITIES CO          ONTARIO MUNICIPAL UTILITIES CO
1333 S BON VIEW AVE                      CITY HALL                               P.O. BOX 8000
PO BOX 8000                              303 EAST B STREET                       ONTARIO, CA 91761-1076
ONTARIO, CA 91761                        ONTARIO, CA 91764




ONTRACK STAFFING                         OPAL KONG                               OPAL THOMPSON
PO BOX 823424                            10201 S. MAIN STREET                    10201 S. MAIN STREET
PHILADELPHIA, PA 19182-3424              HOUSTON, TX 77025                       HOUSTON, TX 77025




OPELIKA POWER SERVICES                   OPELIKA POWER SERVICES                  OPELIKA UTILITIES
600 FOX RUN PARKWAY                      P.O. BOX 2168                           4055 WATER STREET
OPELIKA, AL 36801                        OPELIKA, AL 36803-2168                  OPELIKA, AL 36803




OPELIKA UTILITIES                        OPEN BUSINESS DIRECTORY LTD             OPPD
P.O. BOX 2587                            225 FRANKLIN STREET 26TH FLOOR          ENERGY PLAZA
OPELIKA, AL 36803-2587                   BOSTON, MA 02110                        444 SOUTH 16TH STREET MALL
                                                                                 OMAHA, NE 68102-2247




OPPD                                     OPPONG VENTURES, INC.                   OPTIMAL EXPRESS LLC
P.O. BOX 3995                            406 WALDWICK CT                         3415 S COOPER ST STE 103-971
OMAHA, NE 68103-0995                     LAWRENCEVILLE, GA 30045                 ARLINGTON, TX 76105




OPTIMAL EXPRESS LLC                      OPUBCO COMMUNICATIONS GROUP             OPULENCE HOME
505 NOTTINGHAM DR                        DBA THE OKLAHOMAN MEDIA CO              PO BOX 4527
FAYETTEVILLE, NC 28311                   9000 N BRDWY EXENSION                   HIGH POINT, NC 27263
                                         OKLAHOMA CITY, OK 73114




OPUS MEDFORD                             ORACLE AMERICA INC                      ORACLE AMERICA INC
511 ROSSANLEY DR                         500 ORACLE PKWY                         PO BOX 203448
MEDFORD, OR 97501                        REDWOOD SHORES, CA 94065                DALLAS, TX 75320-3448




ORACLE AT LARESERVE LP                   ORACLE LIMBERLOST SHOPPING CENTER       ORACLE USA, INC
VENTURE WEST INC                         LLC                                     PO BOX 71028
6007 E GRANT RD                          PO BOX 31058                            CHICAGO, IL 60694
TUCSON, AZ 85712                         TUCSON, AZ 85751-1058




ORACLE VILLAGE SHOPPING CENTER           ORANGE & ROCKLAND                       ORANGE & ROCKLAND
ROMANO REAL ESTATE CORP                  390 WEST ROUTE 59                       P.O. BOX 1005
3900 E VIA PALOMITA                      SPRING VALLEY, NY 10977                 SPRING VALLEY, NY 10977
TUCSON, AZ 85718
ORANGE CITY UTILITIES   Case 18-12241-CSS   Doc
                                       ORANGE    26 MARKETPLACE
                                              COUNTY Filed 10/05/18
                                                                TODAY PageORANGE
                                                                           1234 of 1739PROPERTY TAX
                                                                                 COUNTY
205 E GRAVES AVE                        LTD                                RECEIVER OF TAXES
ORANGE CITY, FL 32763                   MARKETPLACE TODAY                  99 TOWER DR BLDG A
                                        69 BROOKSIDE AVE STE 208           MIDDLETOWN, NY 10941
                                        CHESTER, NY 10918



ORANGE COUNTY SCHOOL TAX COLLECTOR      ORANGE COUNTY TAX COLLECTOR        ORANGE COUNTY TAX COLLECTOR
PO BOX 5132                             228 S CHURCHTON ST, 2ND FLOOR      ATTN: PROPERTY TAX DEPT.
WHITE PLAINS, NY 10602-5132             P.O. BOX 8181                      PO BOX 2551
                                        HILLSBOROUGH, NC 27278-8181        ORLANDO, FL 32802




ORANGE COUNTY TAX COLLECTOR             ORANGE COUNTY TAX COLLECTOR        ORANGE COUNTY TREASURER-TAX
ATTN: PROPERTY TAX DEPT.                ATTN: PROPERTY TAX DEPT.           COLLECTOR
PO BOX 545100                           PO BOX 545100                      PO BOX 1438
ORLANDO, FL 32851-5100                  ORLANDO, FL 32854-5100             SANTA ANA, CA 92702-1438




ORANGE COUNTY UTILITIES                 ORANGE COUNTY UTILITIES            ORANGE FIELDS LLC
9150 CURRY FORD ROAD                    P.O. BOX 628068                    504 BROADWAY ST
ORLANDO, FL 32825                       ORLANDO, FL 32862-8068             QUANTICO, VA 22134




ORANGE FIELDS LLC                       ORANGE FIELDS, LLC                 ORANGE FIELDS, LLC
WELLS FARGO REAL ESTATE ASSET MGMT      504 BROADWAY ST                    WELLS FARGO REAL ESTATE ASSET MGMT
868 CHURCH ST N 2ND FL                  QUANTICO, VA 22134                 868 CHURCH ST N 2ND FL
CONCORD, NC 28025                                                          CONCORD, NC 28025




ORANGE HILL WAYNESVILLE LLC             ORANGE HILL WAYNESVILLE LLC        ORANGE ROCKLAND UTILITIES INC
75 N MARKET ST                          75 NORTH MARKET STREET             390 WEST ROUTE 59
ASHEVILLE, NC 28801                     ASHEVILLE, NC 28801                SPRING VALLEY, NY 10977




ORANGE ROCKLAND UTILITIES INC           ORANGE ROCKLAND UTILITIES INC      ORANGE
P.O. BOX 1009                           P.O. BOX 1010                      ATTN: PROPERTY TAX DEPT.
SPRING VALLEY, NY 10977                 SPRING VALLEY, NY 10977            228 S CHURCHTON ST 2ND FLOOR PO BOX
                                                                           8181
                                                                           HILLSBOROUGH, NC 27278-8181



ORBIS CORP                              ORBITCOM                           ORCHARD HILL PARK LLC
75 REMITTANCE DR DEPT 6965              P.O. BOX 84210                     C/O LISCIOTTI DEVELOPMENT
CHICAGO, IL 60675-6965                  SIOUX FALLS, SD 57118              83 ORCHARD HILL PARK DR
                                                                           LEOMINSTER, MA 01453




ORCHID BAY DEVELOPMENT LLC              OREAN DECUIR                       OREGON DEPARTMENT OF JUSTICE
DENI DAVIS                              330 EASTON CIRCLE                  PO BOX 14506
7932 W. SANDLAKE ROAD, 102              BOWLING GREEN, KY 42101            SALEM, OR 97309-0420
ORLANDO, FL 32819




OREGON DEPARTMENT OF REVENUE            OREGON DEPARTMENT OF REVENUE       OREGON DEPARTMENT OF REVENUE
ATTN: BUSINESS LICENSE DEPT.            ATTN: UNCLAIMED PROPERTY DEPT.     P.O. BOX 14725
P.O. BOX 14725                          P.O. BOX 14780                     SALEM, OR 97309-5018
SALEM, OR 97309-5018                    SALEM, OR 97309-0469
OREGON DEPARTMENT OFCase  18-12241-CSS
                     REVENUE        OREGON Doc
                                            DEPT26    Filed 10/05/18
                                                 OF CONSUMER  & BUSINESSPageOREGON
                                                                             1235 ofDEPT
                                                                                      1739
                                                                                         OF REVENUE
P.O. BOX 14780                      SVCS                                    955 CENTER ST NE
SALEM, OR 97309-0469                FISCAL SERVICES SECTION                 SALEM, OR 97301
                                    PO BOX 14610
                                    SALEM, OR 97309-0445



OREGON DEPT OF STATE LANDS              OREGON PAPER FIBER                   OREGON PATROL SERVICES
775 SUMMER ST NE STE 100                12820 NE MARX                        PO BOX 1601
SALEM, OR 97302-1279                    PORTLAND, OR 97230                   CLACKAMAS, OR 97015




OREGON STATE FAIR & EXPOSITION CENTER   OREGON TV LLC                        OREGON WIRE PRODUCTS
2330 17TH ST NE                         KDRV-S2                              977 PONCE DE LEON AVE 204
SALEM, OR 97301                         PO BOX 7009                          ATLANTA, GA 30306
                                        SPRINGFIELD, OR 97475




OREGON                                  OREGONIAN MEDIA GROUP                OREGONIAN PUBLISHING CO LLC
ATTN: INCOME TAX DEPT.                  DEPT 77571                           1500 SW 1ST AVE STE 240
955 CENTER ST                           PO BOX 77000                         PORTLAND, OR 97201
SALEM, OR 97301-2555                    DETROIT, MI 48277-0571




ORETT YOUNG                             ORIENT EXPRESS FURNITURE             ORIENTAL WEAVERS
10201 S. MAIN STREET                    19511 PAULING                        3252 DUG GAP RD SW
HOUSTON, TX 77025                       FOOTHILL RANCH, CA 92610             DALTON, GA 30720




ORIENTAL WEAVERS                        ORIENTAL WEAVERS                     ORIGIN ADS LLC DBA BRITEVERIFY
DEPT 40232                              DEPT 40232                           4725 PIEDMONT ROW DR STE 420
PO BOX 740209                           PO BOX 740209                        CHARLOTTE, NC 28210
ATLANTA, GA 30374                       ATLANTA, GA 30374-0209




ORION ALLIANCE GROUP, LLC               ORION ALLIANCE GROUP, LLC            ORION CANO
C/O COAST REAL ESTATE SERVICES          TAMRA HARBO                          10201 S. MAIN STREET
ATTN: CRAIG GOLDSMITH, VP AND           2829 RUCKER AVENUE                   HOUSTON, TX 77025
PRESIDENT                               EVERETT, WA 98201
2829 RUCKER AVE STE 100
EVERETT, WA 98201


ORION NETWORKING LLC                    ORION VENTURE VI LLC                 ORION VENTURE VI LLC
2100 W NORTHWEST HWY                    9155 S DADELAND BLVD H 1700          C/O RMC PROPERTY GROUP
STE 114-1140                            MIAMI, FL 33156                      8902 N DALE MABRY HWY STE 200
GRAPEVINE, TX 76051                                                          TAMPA, FL 33614




ORION VENTURE VIII KC LLC               ORION WILLS                          ORIONLS, LLC
ATTN: SILVI SANTOVENIA                  10201 S. MAIN STREET                 428 BELMONT AVE
200 S BISCAYNE BLVD 6TH FLOOR           HOUSTON, TX 77025                    SPRINGFIELD, MA 01108
MIAMI, FL 33131




ORKIN- COLLINSVILLE                     ORKIN IDAHO/SAWYER INC               ORKIN LLC
15 GATEWAY DRIVE                        107 W 43RD ST                        3019 ALVIN DEVANE BLVD BLDG1
COLLINSVILLE, IL 62234                  BOISE, ID 83714                      AUSTIN, TX 78741-7422
ORKIN LLC              Case    18-12241-CSS    Doc 26 ACCOUNTS
                                         ORKIN NATIONAL Filed 10/05/18       PageORKIN
                                                                                  1236 of 1739
5810 TRADE CTR DR STE 300                 PO BOX 638898                          75 NASSAU TERMINAL RD
BLDG 1                                    CINCINNATI, OH 45263-8898              NEW HYDE PARK, NY 11040
AUSTIN, TX 78744-1365




ORKIN                                     ORKIN                                  ORLAND COMPANY TRUST
851MARIETTA ST STE 300                    P.O. BOX 1504                          ATTN: LAURIE CIRINO
SOUTH BEND, IN 46601-3259                 ATLANTA, GA 30301-1504                 28833 TELEGRAPH ROAD
                                                                                 SOUTHFIELD, MI 48034




ORLANDO BLACK                             ORLANDO CARRASQUILLO                   ORLANDO CORREIA
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




ORLANDO GUITRON                           ORLANDO GUNN                           ORLANDO LEYVAS
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




ORLANDO ORTIZ                             ORLANDO PACHECO                        ORLANDO PARRA
10201 S. MAIN STREET                      7803 S NEW BRAUNFELS AVE 4204          10201 S. MAIN STREET
HOUSTON, TX 77025                         SAN ANTONIO, TX 78235                  HOUSTON, TX 77025




ORLANDO PEREZ                             ORLANDO RODDY                          ORLANDO TOC
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




ORLANDO TORRES                            ORLANDO UTILITIES COMMISSION           ORLANDO UTILITIES COMMISSION
10201 S. MAIN STREET                      100 WEST ANDERSON ST                   P.O. BOX 31329
HOUSTON, TX 77025                         ORLANDO, FL 32801                      TAMPA, FL 33631-3329




ORLANDO UTILITIES COMMISSION              ORLANDO WASTE PAPER CO INC             ORLANDO WASTE PAPER CO INC
P.O. BOX 4901                             2715 STATEN AVE                        P.O. BOX 547874
ORLANDO, FL 32802-4901                    ORLANDO, FL 32804                      ORLANDO, FL 32854-7874




ORLANDO WINFREY                           ORLEANS                                ORNSTEIN AGENCY
10201 S. MAIN STREET                      ATTN: PROPERTY TAX DEPT.               414 COUNTY RD 39A
HOUSTON, TX 77025                         3 SOUTH MAIN ST.                       SOUTHAMPTON, NY 11968
                                          ALBION, NY 14411




ORNSTEIN BELLEVUE LLC                     ORO RETAIL, LLC                        ORO RETAIL, LLC
ATTN: J. ALAN ORNSTEIN                    C/O PICOR COMMERCIAL REAL ESTATE       C/O PICOR COMMERCIAL REAL ESTATE
414 COUNTY ROAD 39A                       SERVICES                               SRVCS
SOUTHAMPTON, NY 11968                     5151 E BROADWAY BLVD STE 115           5151 E BROADWAY BLVD STE 115
                                          TUCSON, AZ 85711                       TUCSON, AZ 85711
ORO RETAIL, LLC        Case 18-12241-CSS     Doc WATER
                                      ORO VALLEY   26 Filed
                                                         UTILITY10/05/18   PageORO
                                                                                1237  of 1739
                                                                                   VALLEY WATER UTILITY
C/O PICOR COMMERCIAL REAL ESTATE      11000 N LA CANADA DRIVE                   P.O. BOX 53272
SRVCS                                 ORO VALLEY, AZ 85737                      PHOENIX, AZ 85072-3272
5151 E. BROADWAY, SUITE 115
TUCSON, AZ 85711



OROZCO, ESMERALDA                       ORP EAST LLC                            ORR COMMERCIAL
2801 LESTER RD                          118 W PECKHAM ST                        ATTN: BJ ACQUARD
DENAIR, CA 95316                        NEENAH, WI 54956                        5400 KATY FREEWAY, SUITE 100
                                                                                HOUSTON, TX 77007




ORSI, ARONE, ROTHENBERG, IANNUZZI       ORWELL NATURAL GAS                      ORWELL NATURAL GAS
& TURNER, LLP                           95 EAST MAIN ST                         P.O. BOX 73139
ROBERT ORSI, ESQ.                       ORWELL, OH 44076                        CLEVELAND, OH 44193-3139
160 GOULD STREET, SUITE 320
NEEDHAM, MA 02494



OSBALDO SUERO                           OSBELIA SCHAEFFER                       OSBORNE CAPITAL GROUP
10201 S. MAIN STREET                    2400 SHADOWVALE CT                      ATTN: LANCE OSBORNE
HOUSTON, TX 77025                       HIGHLAND VILLAGE, TX 75077              7670 TYLER BOULEVARD
                                                                                MENTOR, OH 44060




OSCAR ALVARADO                          OSCAR BACA                              OSCAR DULANTO
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




OSCAR H GIL GONZALEZ                    OSCAR HUMBERTO GIL                      OSCAR LAPORTE
135 BIRCH RILL DR                       135 BIRCH RILL DR                       10201 S. MAIN STREET
ALPHARETTA, GA 30022                    ALPHARETTA, GA 30022                    HOUSTON, TX 77025




OSCAR LOPEZ                             OSCAR MALDONADO                         OSCAR MATEOS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




OSCAR NAVARRETE                         OSCAR NAVARRETE                         OSCAR ORTIZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




OSCAR VIVAS                             OSCAR W JOINER                          OSCEOLA COUNTY TAX COLLECTOR
915 NW 1ST AVE                          3727 SECRETARIAT CT                     PO BOX 422105
APT. 2413                               FLORISSANT, MO 63034                    KISSIMMEE, FL 34742-2105
MIAMI, FL 33136




OSCEOLA D & J LOT 5, LLC                OSCEOLA D & J RETAIL LLC                OSCEOLA
ATTN: JACK L. LIBERTY, III              314 E ANDERSON STREET                   ATTN: PROPERTY TAX DEPT.
314 E. ANDERSON STREET                  ORLANDO, FL 32801                       PO BOX 422105
ORLANDO, FL 32801                                                               KISSIMMEE, FL 34742-2105
OSF OCCUPATIONAL HEALTHCase    18-12241-CSS    Doc 26 PROGRAM/EVENT
                                         OSF PARTNERSHIP Filed 10/05/18       PageOSHEIM,
                                                                                   1238 of  1739
                                                                                          JEREMIAH
1505 EASTLAND DR STE 1000                 MARKETING STRATEGIES                     3130 W 14TH AVE
BLOOMINGTON, IL 61701                     ATTN: ACCOUNTING DEPT                    DENVER, CO 80204-2204
                                          580 NORTH FOURTH ST STE 230
                                          COLUMBUS, OH 43215



OSHKOSH CITY TREASURER                    OSIRUS LEWIS                             OSMAN ASLAN
PO BOX 1128                               10201 S. MAIN STREET                     10201 S. MAIN STREET
OSHKOSH, WI 54903-1128                    HOUSTON, TX 77025                        HOUSTON, TX 77025




OSMANI SIGLER                             OSTEEN PUBLISHING THE ITEM               OSTEEN PUBLISHING THE ITEM
10201 S. MAIN STREET                      20 N MAGNOLIA ST                         PO BOX 1677
HOUSTON, TX 77025                         SUMTER, SC 29151                         SUMTER, SC 29151




OSTER BERGENFIELD PROPERTIES, LLC         OSTER BERGENFIELD PROPERTIES, LLC        OSTER BERGENFIELD PROPERTIES, LLC
C/O OSTER PROPERTIES                      PO BOX 1708                              PO BOX 17087
429 SYLVAN AVENUE                         ENGLEWOOD CLIFFS, NJ 07632               ENGLEWOOD CLIFFS, NJ 07632
ENGLEWOOD CLIFFS, NJ 07632




OSTER PROPERTIES                          OSTERMAN PROPANE                         OSTERMAN PROPANE
ATTN: VINCE SPING                         1 MEMORIAL SQ                            P.O. BOX 150
429 SYLVAN AVENUE                         WHITINSVILLE, MA 01588-3010              WHITINSVILLE, MA 01588
ENGLEWOOD CLIFFS, NJ 07632




OSTROWER, RYAN                            OSVALDO CERVANTES                        OSWALD COOKE & ASSOCIATES
21 JENNIFER LANE                          10201 S. MAIN STREET                     ATTN: BLAIR HINES
RAYMOND, NH 03077                         HOUSTON, TX 77025                        874 WALT MILLER STREET, SUITE 101
                                                                                   MT. PLEASANT, SC 29464




OSWALD THORPE                             OTA BROADCASTING (PSP) LLC               OTA BROADCASTING LLC
10201 S. MAIN STREET                      3201 JERMANTOWN RD 380                   3201 JERMANTOWN RD STE 380
HOUSTON, TX 77025                         FAIRFAX, VA 22030                        FAIRFAX, VA 22030




OTERO, ROBERTO                            OTHO FLETCHER                            OTIS BED MANUFACTURING CO INC
3014 RICHMOND TER APT 1L                  10201 S. MAIN STREET                     80 JAMES E CASEY DR
STATEN ISLAND, NY 10303-1302              HOUSTON, TX 77025                        BUFFALO, NY 14206




OTIS ELEVATOR COMPANY                     OTIS ELEVATOR COMPANY                    OTIS NUGENT
242 PITKIN ST                             PO BOX 13716                             10201 S. MAIN STREET
EAST HARTFORD, CT 06108                   NEWARK, NJ 07188-0716                    HOUSTON, TX 77025




OTIS NUNES                                OTTEN CONSULTING GROUP INC.              OUACHITA PARISH TAX COLLECTOR
10201 S. MAIN STREET                                                               ATTN: SALES & USE TAX DEPT.
HOUSTON, TX 77025                                                                  P.O. BOX 123
                                                                                   MONROE, LA 71210-0123
OUMAR BERETE            Case 18-12241-CSS    Doc 26
                                       OUR COUNTRY    Filed
                                                   HOME     10/05/18
                                                        ENTERPRISES INC PageOUR
                                                                             1239  ofOF
                                                                                LADY  1739
                                                                                        LOURDES HOSPITAL AT
10201 S. MAIN STREET                     12120 WATER ST                        PASCO
HOUSTON, TX 77025                        PO BOX 426                            LOURDES OCCUPATIONAL HEALTH CENTER
                                         HARLAN, IN 46743                      PO BOX 94331
                                                                               SEATTLE, WA 98124



OUTBRAIN INC                             OUTDOOR AMERICA IMAGES INC            OUTER BANKS CHAMBER OF COMMERCE
DEPT CH 17780                            4545 W HILLSBOROUGH AVE               INC
PALATINE, IL 60055                       TAMPA, FL 33614                       PO BOX 1757
                                                                               KILL DEVIL HILLS, NC 27948




OUTER BANKS PEST CONTROL                 OUTERBRIDGE COMMONS LP                OUTERBRIDGE COMMONS LP
P.O. BOX 208                             1600 HYLAN BLVD                       2955 VETERANS RD WEST STE 2-B
MANTEO, NC 27954                         STATEN ISLAND, NY 10305               STATEN ISLAND, NY 10309




OUTFRONT MEDIA                           OUTLET BROADCASTING LLC DBA WVIT      OUTRIGGER INVESTMENT GROUP
PO BOX 33074                             CFS LOCKBOX                           C/O DUFF ARMSTRONG
NEWARK, NJ 07188-0074                    PO BOX 402971                         6145 E SHENANDOAH AVE
                                         ATLANTA, GA 30384                     ORANGE, CA 92867




OVATION PROPERTIES INC                   OVERHEAD DOOR CO. OF SW GEORGIA INC   OVERHEAD DOOR COMPANY OF ATLANTA
REALVEST EQUITY PARTNERS LLC             PO BOX 3747                           1901 E 119TH ST
1800 PEMBROOK DR STE 350                 ALBANY, GA 31706                      OLATHE, KS 66061
ORLANDO, FL 32810




OVERHEAD DOOR COMPANY OF ATLANTA         OVERHEAD DOOR COMPANY OF LONGVIEW     OVERHEAD DOOR INC
221 ARMOUR DR                            PO BOX 6837                           621 ALLUMBAUGH LN
ATLANTA, GA 30324                        TYLER, TX 75711-6837                  BOISE, ID 83704




OVERHEAD DOOR                            OVERLAND CROSSING 13A LLC             OVERNIGHT PRINTING & GRAPHICS
1417 MILLER STORE ROAD                   C/O ACF PROPERTY MANAGEMENT, INC.     2412 1ST AVE S.
VIRGINIA BEACH, VA 23455                 12411 VENTURA BLVD                    SEATTLE, WA 98134
                                         STUDIO CITY, CA 91604




OVETA MOLLICA                            OVP MANAGEMENT, INC.                  OWEN & COMPANY LTD
10201 S. MAIN STREET                     1340 CENTRE STREET, SUITE 207         DBA JAMES AND OWEN
HOUSTON, TX 77025                        NEWTON, MA 02459                      51 STONE RIDGE RD
                                                                               VAUGHAN, ON L4H OA5
                                                                               CANADA



OWEN HAWLEY                              OWEN MEARS                            OWENS GAS DBA INERGY PROPANE
10201 S. MAIN STREET                     10201 S. MAIN STREET                  P.O. BOX 889248
HOUSTON, TX 77025                        HOUSTON, TX 77025                     ATLANTA, GA 30356




OWENS, DWIGHT                            OWENSBORO MESSENGER INQUIRER          OWL ADVANTAGE LLC
123 STOAKES AVE APT 17                   C/O PAXTON MEDIA GROUP                11016 E MONTGOMERY DR STE 102
SAN LEANDRO, CA 94577-1742               PO BOX 1350                           SPOKANE, WA 99206
                                         PADUCAH, KY 42002-1350
OWUSU ACHIAW             Case 18-12241-CSS
                                        OXARC Doc
                                              INC 26      Filed 10/05/18    PageOXBOW
                                                                                 1240 CROSSING
                                                                                      of 1739 & RIVER LANDING
10201 S. MAIN STREET                    PO BOX 2605                              PUBLIC IMPV. CO.
HOUSTON, TX 77025                       SPOKANE, WA 99220-2605                   C/O SPECIAL DISTRICT MGMT SRVS INC
                                                                                 141 UNION BLVD STE 150
                                                                                 LAKEWOOD, CO 80228-1898



OXFORD AREA SEWER AUTHORITY             OXFORD AREA SEWER AUTHORITY              OXFORD COMMONS, LP
14 SOUTH THIRD ST                       P.O. BOX 379                             C/O WOLFSON GROUP, INC.
OXFORD, PA 19363                        OXFORD, PA 19363                         ATTN: STEVEN B. WOLFSON
                                                                                 120 WEST GERMANTOWN PIKE, SUITE 120
                                                                                 PLYMOUTH MEETING, PA 19462



OXFORD EAGLE                            OXFORD STATION HIGH POINT, LLC           OXFORD SUITES SPOKANE VALLEY
PO BOX 866                              C/O WINNING LINK PROPERTY RESOURCES,     15015 E. INDIANA AVE.
OXFORD, MS 38655                        INC.                                     SPOKANE, WA 99216
                                        P.O. BOX 6332
                                        HIGH POINT, NC 27262



OXFORD SUITES SPOKANE                   OXMOOR PARTNERS LLC                      OYUKI PALACIOS RUIZ
115 W. NORTH RIVER DRIVE                SHADES CREEK BUSINESS PARK               10201 S. MAIN STREET
SPOKANE, WA 99201                       P O BOX 530487                           HOUSTON, TX 77025
                                        BIRMINGHAM, AL 35253




OZARKA DIRECT                           OZARKS ELECTRIC COOPERATIVE CORP.        OZARKS ELECTRIC COOPERATIVE
A DIV OF NESTLE WATERS N AMERICA INC    P.O. BOX 848                             3641 WEDINGTON DR
PO BOX 856680                           FAYETTEVILLE, AR 72702                   FAYETTEVILLE, AR 72704
LOUISVILLE, KY 40285-6680




OZARKS ELECTRIC COOPERATIVE             OZEL DEVELOPING INC                      OZELLO WATER ASSOCIATION INC
P.O. BOX 22114                          ABRAHAM TEKIN                            9769 W OZELLO TRAIL
TULSA, OK 74121-9948                    11400 4TH ST STE 103                     CRYSTAL RIVER, FL 34429
                                        RANCHO CUCAMONGA, CA 91730




OZELLO WATER ASSOCIATION INC            OZELLO WATER ASSOCIATION                 OZZY PUELLO
P.O. BOX 546                            9769 WEST OZELLO TRAIL                   10201 S. MAIN STREET
CRYSTAL RIVER, FL 34423-0546            CRYSTAL RIVER, FL 34429                  HOUSTON, TX 77025




OZZY SANCHEZ                            P 9 LIMITED PARTNERSHIP                  P&F PROPERTIES OF THE NW
10201 S. MAIN STREET                    4456 CLOUD AVE.                          C&R RE SERVICES
HOUSTON, TX 77025                       LA CRESCENTA, CA 91214                   1440 SW TAYLOR ST
                                                                                 PORTLAND, OR 97205




P9 LLC                                  P9 LLC                                   PA DEPT OF LABOR & INDUSTRY-U
365 FOWLING STREET                      441 VIA STRETTO AVE                      BEDDING & UPHOLSTERY SECTION
PLAYA DEL REY, CA 90293                 HENDERSON, NV 89011                      651 BOAS ST ROOM 1606
                                                                                 HARRISBURG, PA 17121-0019




PA MEDIA GROUP                          PABLO BUCIO ARMAS                        PABLO CREEK
DEPT 77571                              10201 S. MAIN STREET                     C/O WESTWOOD FINANCIAL CORP
PO BOX 77000                            HOUSTON, TX 77025                        11440 SAN VICENTE BLVD 200
DETROIT, MI 48277-0571                                                           LOS ANGELES, CA 90049
PABLO GUERRERO            Case 18-12241-CSS    Doc 26 GARCIA
                                         PABLO POLANCO  Filed 10/05/18           PagePABLO
                                                                                      1241RAMIREZ-QUIROZ
                                                                                           of 1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                           HOUSTON, TX 77025




PABST FARMS MANAGEMENT LLC                PABST FARMS MARKETPLACE LLC                 PABST FARMS MARKETPLACE LLC
C/O PABST FARMS MANAGEMENT LLC            3412 COMMERCIAL AVE                         C/O PABST FARMS MANAGEMENT LLC
1370 PABST FARMS CIRCLE, SUITE 350        NORTHBROOK, IL 60062                        1370 PABST FARMS CIRCLE, SUITE 350
OCONOMOWOC, WI 53066                                                                  OCONOMOWOC, WI 53066




PAC FINANCE 1 LLC                         PAC FINANCE 1 LLC                           PAC FINANCE 1 LLC
6250 NORTH RIVER ROAD, SUITE 1100         ATTN: GENERAL COUNSEL                       PO BOX 742339
ROSEMONT, IL 60018                        4545 AIRPORT WAY                            LOS ANGELES, CA 90074-2339
                                          DENVER, CO 80239




PAC OPERATING LIMITED PARTNERSHIP         PAC OPERATING LP (DBA)                      PAC TIMBERLINE INC
C/O PROLOGIS                              PALMTREE ACQUISITION CORP                   P.O. BOX 6578
3353 GATEWAY BOULEVARD                    PO BOX 742339                               CHESTERFIELD, MO 63006
FREMONT, CA 94538                         LOS ANGELES, CA 90074-2116




PAC WEST ELEVATOR INC                     PACA PROPERTIES LLC                         PACA PROPERTIES LLC
PO BOX 969                                ATTN: LAURIE NORTON                         ATTN: PAUL SCHOTZ, III
SHINGLE SPRINGS, CA 95682                 6600 SW BONITA ROAD                         6600 SW BONITA ROAD
                                          TIGARD, OR 97224                            TIGARD, OR 97224




PACA PROPERTIES, L.L.C.                   PACE EQUIPMENT COMPANY                      PACE GRAPHICS
6600 SW BONITA ROAD                       PO BOX 633                                  1000 JUPITER ROAD STE 300
TIGARD, OR 97224                          WILSONVILLE, OR 97070                       PLANO, TX 75074




PACE PROPERTIES LLC                       PACE WATER SYSTEMS INC                      PACE WATER SYSTEMS INC
1401 S BRENTWOOD BLVD. 900                4401 WOODBINE RD                            4401 WOODBINE ROAD
SAINT LOUIS, MO 63144                     PACE, FL 32571                              PACE, FL 32571-8758




PACELINE COLLISION CENTER                 PACHECO PASS RETAIL XII LLC                 PACHECO PASS RETAIL XII LLC
1580 S CLACK ST                           520 NEWPORT CENTER DR STE 780               C/O ATHENA PROPERTY MANAGEMENT
ABILENE, TX 79605                         NEWPORT BEACH, CA 92660                     730 EL CAMINO WAY STE 200
                                                                                      TUSTIN, CA 92780




PACIFIC & SOUTHERN CO INC                 PACIFIC AND SOUTHERN CO                     PACIFIC ASSET ADVISORS INC.
DBA STAR MEDIA                            DBA THE STAR PRESS                          14205 SE 36TH STREET, SUITE 215
P.O. BOX 677553                           346 SOUTH HIGH ST                           BELLEVUE, WA 98006
DALLAS, TX 75267-7553                     MUNCIE, IN 47305




PACIFIC CAPITAL MANAGEMENT                PACIFIC CARMEL MOUNTAIN HOLDINGS, LP        PACIFIC CASTLE RED ROCK, LLC
ATTN: LISA PLACE                          D/B/A CARMEL MOUNTAIN PLAZA                 2601 MAIN STREET, SUITE 900
1400 ROCKY RIDGE DRIVE, SUITE 150         C/O AMERICAN ASSETS, INC.                   IRVINE, CA 92614
ROSEVILLE, CA 95661                       11455 EL CAMINO REAL, SUITE 200
                                          SAN DIEGO, CA 92130-2047
PACIFIC CASTLE RED ROCK,Case
                          LLC   18-12241-CSS
                                          PACIFICDoc 26REDFiled
                                                 CASTLE    ROCK,10/05/18
                                                                 LLC              PagePACIFIC
                                                                                       1242 of  1739
                                                                                              COAST COMMERCIAL
ATTN: LISA WILLEMS                         ATTN: SONIA WILSON                          ATTN: SOPHIA ROUNTREE
2601 MAIN STREET, SUITE 900                2601 MAIN STREET, SUITE 900                 P.O. BOX 420950
IRVINE, CA 92614                           IRVINE, CA 92614                            SAN DIEGO, CA 92142




PACIFIC COAST FEATHER COMPANY              PACIFIC COAST FEATHER LLC                   PACIFIC COMMERCIAL MANAGEMENT, INC
1964 4TH AVE SOUTH                         PO BOX 847119                               2725 CONGRESS ST STE 1-E
SEATTLE, WA 98134                          LOS ANGELES, CA 90084-7119                  SAN DIEGO, CA 92110




PACIFIC COMMERICAL SERVICES LLC            PACIFIC EMPIRE RADIO LEWISTON               PACIFIC GRP INVESTMENTS LLC
DBA COVERALL OF COLORADO                   403 CAPITAL ST                              MOHAMMAD R BEHROUZI
9101 LBJ FWY SUITE 700                     LEWISTON, ID 83501                          PO BOX 311
DALLAS, TX 75243                                                                       MONROE, NC 28110




PACIFIC GRP INVESTMENTS LLC                PACIFIC MEDIA GROUP HAWAII                  PACIFIC MEDIA GROUP MAUI
MOHAMMAD R BEHROUZI                        311 ANO ST                                  311 ANO ST
PO BOX 311                                 KAHULUI, HI 96732                           KAHULUI, HI 96732
MONROE, NC 28111




PACIFIC MEDIA GROUP-KAPA                   PACIFIC MEDIA GROUP-KJKS                    PACIFIC MEDIA GROUP-KJMD
ATTN: TRANSACTION PROCESSING               ATTN: TRANSACTION PROCESSING                ATTN: TRANSACTION PROCESSING
PO BOX 1120                                PO BOX 1120                                 PO BOX 1120
HONOLULU, HI 96807-1120                    HONOLULU, HI 96807-1120                     HONOLULU, HI 96807-1120




PACIFIC MFG CA                             PACIFIC NATIONAL GROUP LLC                  PACIFIC NATIONAL GROUP, LLC
PO BOX 20238                               C/O MPV PROPERTIES                          838 N DOHENY DR PENTHOUSE C
OXNARD, CA 93034                           2400 SOUTH BLVD STE 300                     WEST HOLLYWOOD, CA 90069
                                           CHARLOTTE, NC 28203




PACIFIC NATIONAL GROUP, LLC                PACIFIC NATIONAL GROUP, LLC                 PACIFIC NATIONAL GROUP, LLC
C/O MPV PROPERTIES                         C/O MPV PROPERTIES                          C/O MPV PROPERTIES
2400 SOUTH BLVD STE 300                    2400 SOUTH BLVD STE 300                     2400 SOUTH BOULEVARD, SUITE 300
CHARLOTTE, NC 28202                        CHARLOTTE, NC 28203                         CHARLOTTE, NC 28203




PACIFIC NORTHWEST PUBLISHING CO. INC       PACIFIC NORTHWEST PUBLISHING CO. INC        PACIFIC NW PROPERTIES
PO BOX 12125                               PO BOX 35174                                PO BOX 2206
FRESNO, CA 93776                           SEATTLE, WA 98124-5174                      BEAVERTOWN, OR 97075




PACIFIC POWER                              PACIFIC POWER                               PACIFIC PROPERTIES GROUP
1033 NE 6TH AVENUE                         P.O. BOX 26000                              RANDY ROETTO
PORTLAND, OR 97256-0001                    PORTLAND, OR 97256-0001                     P.O. BOX 2176
                                                                                       CHICO, CA 95927




PACIFIC REALTY ASSOCIATES L.P              PACIFIC REALTY ASSOCIATES L.P.              PACIFIC REALTY ASSOCIATES L.P.
15350 SW SEQUOIA PARKWAY                   ATTN: LEGAL DEPARTMENT                      UNIT 98
STE 300                                    15350 SW SEQUOIA PARKWAY, SUITE 300         PO BOX 4500
PORTLAND, OR 97224                         PORTLAND, OR 97224                          PORTLAND, OR 97208
                       Case
PACIFIC SIERRA ASSOCIATES     18-12241-CSS
                          WESTGATE      PACIFICDoc  26 LLCFiled 10/05/18
                                                SQUARE                        PagePACIFIC
                                                                                   1243 of  1739
                                                                                          WASTE INC.
LLC                                     C/O WINDFALL PLAZA MANAGEMENT              74-5610 ALAPA ST
CO WULFE MGMT SVCS INC                  4360 EAST NEW YORK ST                      KAILUA KONA, HI 96740
1800 POST OAK BLVD BLDG S STE 400       AURORA, IL 60504
HOUSTON, TX 77056



PACIFIC WASTE INC.                      PACIFIC WEST REAL ESTAE INCOME FUND        PACIFIC WESTERN LLC
74-5610 ALAPA STREET                    LLC                                        94-155 LEOWAENA ST
KAILUA-KONA, HI 96740-3184              C/O THE GILBERT GROUP INC                  WAIPAHU, HI 96797
                                        203 EAST BROAD ST
                                        COLUMBUS, OH 43215



PACIFICORP                              PACIFICORP                                 PACKET MEDIA LLC
1033 NE 6TH AVENUE                      P.O. BOX 400                               300 WITHERSPOON ST
PORTLAND, OR 97256-0001                 PORTLAND, OR 97207-0400                    PRINCETON, NJ 08540




PACOLET MILLIKEN ENTERPRISE INC.        PACXA                                      PAD OF VIRGINIA WEST, LLC
LAWNDALE CROSSING CENTER                PO BOX 3347                                C/O ELLIS - GIBSON DEV GROUP
P.O. BOX 9537                           HONOLULU, HI 96801-3347                    1081 19TH STREET, STE 203
GREENSBORO, NC 27429                                                               VIRGINIA BEACH, VA 23451-5600




PADDOCK PUBLICATIONS INC                PAESTUM, LLC                               PAETEC
DBA THE DAILY HERALD                    C/O PLAZA SALON                            P.O. BOX 1317
PO BOX 3204                             171 ROUTE 4 WEST                           BUFFALO, NY 14240-1317
ARLINGTON HEIGHTS, IL 60006             PARAMUS, NJ 07652




PAETEC                                  PAETEC                                     PAETEC
P.O. BOX 3243                           P.O. BOX 9001013                           P.O. BOX 9001111
MILWAUKEE, WI 53201-3243                LOUISVILLE, KY 40290-1013                  LOSUISVILLE, KY 40290-1111




PAIGE DAVIS                             PAIGE EDDINGER                             PAIGE MARSHALL
10201 S. MAIN STREET                    5930 REES RD APT 149                       10201 S. MAIN STREET
HOUSTON, TX 77025                       JONESBORO, AR 72401                        HOUSTON, TX 77025




PAIGE SIDES                             PAIGE WILSON                               PAINT THE TOWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                       941 WILLOUGHBY AVE 2
HOUSTON, TX 77025                       HOUSTON, TX 77025                          BROOKLYN, NY 11221




PAIXAO INCORPORTED                      PALACE CENTER EAST, LLC                    PALACE SHOPS & STATION
76 WINDWOOD DR                          C/O STIRLING PROPERTIES, LLC               301 W. 21ST STREET
LUDLOW, MA 01056                        109 NORTHPARK BLVD, SUITE 300              NORFOLK, VA 23517
                                        COVINGTON, LA 70433




PALLADIUM-ITEM                          PALLET PLACE INC                           PALM BEACH 2000 INC
PO BOX 677562                           PO BOX 6547                                336 E DANIA BEACH BLVD
DALLAS, TX 75267-7562                   SPOKANE, WA 99217                          DANIA, FL 33004
                        Case 18-12241-CSS
PALM BEACH 2000, INC. & VESTMAZ, INC.         Doc COUNTY
                                       PALM BEACH  26 Filed   10/05/18
                                                          SHERIFF          PagePALM
                                                                                1244  of 1739
                                                                                    BEACH COUNTY TAX COLLECTOR
ATTN: ALBERTO MICHA                    ATTN: ACCOUNTING                         PO BOX 3353
336 E. DANIA BEACH BOULEVARD           PO BOX 24681                             WEST PALM BEACH, FL 33402-3353
DANIA BEACH, FL 33004                  WEST PALM BEACH, FL 33416-4681




PALM BEACH COUNTY WTR UTIL DPT         PALM BEACH COUNTY WTR UTIL DPT           PALM BEACH COUNTY WTR UTIL DPT
301 N OLIVE AVE                        P.O. BOX 24740                           P.O. BOX 330008
WEST PALM BEACH, FL 33401              WEST PALM BEACH, FL 33416-4740           MURFREESBORO, TN 37133-0008




PALM BEACH COUNTY                      PALM BEACH GARDENS                       PALM BEACH MALL HOLDINGS LLC
PO BOX 3977                            BUSINESS SERVICES                        PBM POWER CENTER LLC
WEST PALM BEACH, FL 33402              10500 N MILITARY TRAIL                   75 PARK PLAZA
                                       PALM BEACH GARDENS, FL 33410             BOSTON, MA 02116




PALM BEACH WATER UTILITIES DEPT.       PALM SPRINGS MILE ASSCOCIATES LTD        PALMARIUM RETAIL MANAGEMENT
P.O. BOX 24740                         C/O PALM SPRINGS MILE COMPONENT          KOULA KALANTZIS
WEST PALM BEACH, FL 33416-4740         P O BOX 238                              3460 NORTH BROADWAY ST
                                       LAUREL, NY 11948                         CHICAGO, IL 60657




PALMETTO INVESTMENT GROUP INC          PALMS ASSOCIATES                         PALT PARTNERS/CRANBERRY
DBA HAMPTON INN                        397 LITTLE NECK RD                       C/O SILK & STEWART DEV
1021 CLEMSON FRONTAGE RD               BLDG 3400 STE 200                        5812 DARLINGTON RD
COLUMBIA, SC 29229                     VIRGINIA BEACH, VA 23452                 PITTSBURGH, PA 15217




PAM DAWSON                             PAM MEALS                                PAM MULLIS
10201 S. MAIN STREET                   PO BOX 165                               10201 S. MAIN STREET
HOUSTON, TX 77025                      ROWLETT, TX 75030                        HOUSTON, TX 77025




PAM NICHOLS                            PAM SWEEPING LLC                         PAMAL BROADCASTING
10201 S. MAIN STREET                   PO BOX 99                                6 JOHNSON RD
HOUSTON, TX 77025                      ISLIP TERRACE, NY 11752                  LATHAM, NY 12110




PAMELA A DINGESS                       PAMELA DENTON                            PAMELA EPSTEIN
PO BOX 487                             10201 S. MAIN STREET                     10201 S. MAIN STREET
WINTER PARK, FL 32790                  HOUSTON, TX 77025                        HOUSTON, TX 77025




PAMELA EWING                           PAMELA JACKSON                           PAMELA K OVERMILLER LIVING TRUST
10201 S. MAIN STREET                   10201 S. MAIN STREET                     28730 COUNTY RD 15
HOUSTON, TX 77025                      HOUSTON, TX 77025                        WINDSOR, CO 80550




PAMELA K OVERMILLER                    PAMELA LANGLEY                           PAMELA RYBACK
28730 CTY RD 15                        41665 NAVARRE COURT                      10201 S. MAIN STREET
WINDSOR, CO 80550                      PALM DESERT, CA 92260                    HOUSTON, TX 77025
PAMELA SMITH           Case 18-12241-CSS
                                      PAMELADoc 26
                                             WALKER      Filed 10/05/18       PagePAMELA
                                                                                   1245 of 1739
                                                                                         WELLS
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




PAMPLIN PORTLAND                       PAN AMERICAN REALTY                        PAN MASSACHUSETTS CHALLENGE INC
PO BOX 22109                           9515 PLAZA CIRCLE                          77 4TH AVE
PORTLAND, OR 97269                     EL PASO, TX 79927                          NEEDHAM, MA 02494




PANAMA CITY BEACH VENTURE II, LLC      PANAMA CITY BEACH VENTURE II, LLC          PANAMA LANE LLC
C/O CASTO SOUTHEAST REALTY SERVICES    C/O CASTO                                  PO BOX 82515
LLC                                    PO BOX 1450                                BAKERSFIELD, CA 93380-2515
5391 LAKEWOOD RANCH BLVD, SUITE 100    COLUMBUS, OH 43216
SARASOTA, FL 34240



PANCREATIC CANCER ACTION NETWORK       PANDORA MEDIA                              PANHANDLE ALARM & TELEPHONE CO INC
INC                                    25601 NETWORK PLACE                        10 INDUSTRIAL BLVD
1500 ROSECRANS AVE STE 200             CHICAGO, IL 60673-1256                     PENSACOLA, FL 32503
MANHATTAN BEACH, CA 90266




PANHANDLE ALARM & TELEPHONE CO INC     PANOS PROPERTIES LLC                       PANOS PROPERTIES LLC
10 INDUSTRIAL BLVD                     ATTN: TIM PANOS                            ROGER BACHMAN, PROPERTY MANAGER
PENSACOLA, FL 32503-7647               6850 EAST GREEN LAKE WAY NORTH, SUITE      6850 EAST GREEN LAKE WAY NORTH, SUITE
                                       201                                        201
                                       SEATTLE, WA 98115-5412                     SEATTLE, WA 98115-5412



PANTAGRAPH PUBLISHING CO.              PAOLA RUIZ                                 PAOLA VAZQUEZ
P.O. BOX 2907                          10201 S. MAIN STREET                       10201 S. MAIN STREET
BLOOMINGTON, IL 61702-2907             HOUSTON, TX 77025                          HOUSTON, TX 77025




PAPCO FUEL MANAGEMENT                  PAPE MATERIAL HANDLING EXCHANGE            PAPF EVERETT, LLC
P.O. BOX 62265                         PO BOX 5077                                101 LARKSPUR LANDING CIRCLE, SUITE 120
VIRGINIA BEACH, VA 23466               PORTLAND, OR 97208-5077                    LARKSPUR, CA 94939




PAPF EVERETT, LLC                      PAPILLION SANITATION - DISTRICT 3050       PAPILLION SANITATION - DISTRICT 3050
ATTN: KIMBERLY WIEDERMANN              10810 S 144TH ST                           P.O. BOX 660177
101 LARKSPUR LANDING CIRCLE STE 120    OMAHA, NE 68138                            DALLAS, TX 75266-0177
LARKSPUR, CA 94939




PAPILLION SANITATION                   PAPILLION SANITATION                       PAR. E.B.R CITY OF BATON ROUGE
10810 S 144TH ST.                      A WASTE CONNECTIONS COMPANY                ATTN: PROPERTY TAX DEPT.
OMAHA, NE 68138-3848                   P.O. BOX 660177                            P.O. BOX 2590
                                       DALLAS, TX 75266-0177                      BATON ROUGE, LA 70821-2590




PARACO GAS                             PARACO GAS                                 PARADISE WINDOW CLEANING
2926 ROUTE 32 NORTH                    800 WESTCHESTER AVENUE                     P.O. BOX 11148
SAUGERTIES, NY 12477-5120              STE 604                                    HILO, HI 96721
                                       RYE BROOK, NY 10573
                     Case
PARADISE WINDOW CLEANING        18-12241-CSS   Doc
                                          PARAGON   26 Filed &10/05/18
                                                  CONSTRUCTION                  PagePARAGON
                                                                                     1246 ofCONSTRUCTION
                                                                                             1739        &
PO BOX 111533                             DEVELOPMENT INC                            DEVELOPMENT INC
NAPLES, FL 34108                          8241 OLD FEDERAL RD                        PO BOX 241424
                                          MONTGOMERY, AL 36117                       MONTGOMERY, AL 36124-1424




PARAGON MANAGEMENT GROUP                  PARAGON PRINTING INC                       PARAMOUNT NEWCO REALTY LLC
276 POST ROAD WEST, SUITE 201             4701-B WILSON RD                           1195 HIGHWAY 70, STE 2000
WESTPORT, CT 06880                        CHATTANOOGA, TN 37410                      LAKEWOOD, NJ 08701




PARAMOUNT NEWCO REALTY LLC                PARAMOUNT NEWCO REALTY SERVICES INC.       PARAMOUNT NEWCO REALTY SERVICES INC.
C/O UPLAND                                ATTN: LEE ZEKARIA                          RAY RANOUS, DIRECTOR OF PM
1195 ROUTE 70 STE 2000                    1195 ROUTE 70, SUITE 2000                  1195 ROUTE 70, SUITE 2000
LAKEWOOD, NJ 08701                        LAKEWOOD, NJ 08701                         LAKEWOOD, NJ 08701




PARAMOUNT PACKAGING CORP                  PARAMOUNT PAD AT MARLTON LLC               PARAMOUNT PAD AT MARLTON LLC
1221 OLD WALT WHITMAN RD                  PARAMOUNT REALTY SERVICES INC              PARAMOUNT REALTY SERVICES INC
MELVILLE, NY 11747                        1195 RTE 70 STE 2000                       1195 RTE 70 STE 2000
                                          LAKEWOOD, NJ 08701                         LAKEWOOD, NJ 08701




PARAMOUNT SQUARE AT UPLAND, LLC           PARENTE PROPERTIES                         PARIS SCRUGGS
C/O PARAMOUNT NEWCO REALTY, LLC           6285 FALL RIVER DR                         10201 S. MAIN STREET
1195 ROUTE 70, SUITE 2000                 COLORADO SPRINGS, CO 80918                 HOUSTON, TX 77025
ATTN: MAURICE ZEKARIA
LAKEWOOD, NJ 08701



PARISH OF ASCENSION                       PARISH OF AVOYELLES                        PARISH OF BEAUREGARD
PO BOX 118                                ATTN: SALES & USE TAX DEPT.                ATTN: SALES & USE TAX DEPT.
GONZALES, LA 70707                        P O BOX 806                                214 W 2ND ST
                                          MARKSVILLE, LA 71351                       DERIDDER, LA 70634




PARISH OF BIENVILLE                       PARISH OF CALDWELL                         PARISH OF CATAHOULA
ATTN: SALES & USE TAX DEPT.               ATTN: SALES & USE TAX DEPT.                ATTN: SALES & USE TAX DEPT.
2145 MILL ST                              201 MAIN ST 3                              P.O. BOX 250
RINGGOLD, LA 71068                        COLUMBIA, LA 71418                         VIDALIA, LA 71373




PARISH OF CONCORDIA                       PARISH OF DESOTO                           PARISH OF EAST BATON ROUGE
ATTN: SALES & USE TAX DEPT.               ATTN: SALES & USE TAX DEPT.                ATTN: SALES & USE TAX DEPT.
P.O. BOX 160                              365 LOSHER STREET SUITE 110                P.O. BOX 2590
VIDALIA, LA 71373                         HERNANDO, MS 38632                         BATON ROUGE, LA 70821-2590




PARISH OF EAST BATON ROUGE                PARISH OF EVANGELINE                       PARISH OF GRANT
SHERIFF & TAX COLLECTOR                   ATTN: SALES & USE TAX DEPT.                ATTN: SALES & USE TAX DEPT.
PO BOX 70                                 P.O. BOX 927                               P. O. BOX 187
BATON ROUGE, LA 70821                     MANSFIELD, LA 71052                        COLFAX, LA 71417




PARISH OF JACKSON                         PARISH OF JEFFERSON BUR OF REV PROP        PARISH OF JEFFERSON
ATTN: SALES & USE TAX DEPT.               TAX DIV                                    ATTN: SALES & USE TAX DEPT.
P. O. BOX 666                             P.O. BOX 130                               P.O. BOX 248
JONESBORO, LA 71251-0666                  GRETNA, LA 70054-0130                      GRETNA, LA 70054
PARISH OF MADISON       Case   18-12241-CSS
                                         PARISHDoc  26 Filed 10/05/18
                                               OF NATCHITOCHES                 PagePARISH
                                                                                    1247 OF
                                                                                          of ORLEANS
                                                                                             1739
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.                ATTN: SALES & USE TAX DEPT.
P. O. BOX 1830                           P.O. BOX 639                               1300 PERDIDO STREET ROOM 1W15
TALLULAH, LA 71284-1830                  NATCHITOCHES, LA 71458-0639                NEW ORLEANS, LA 70112




PARISH OF PLAQUEMINES                    PARISH OF POINTE COUPEE                    PARISH OF RAPIDES
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.                ATTN: SALES & USE TAX DEPT.
333 F. EDWARD HEBERT BLVD                P.O. BOX 290                               5606 COLISEUM BLVD
BUILDING 102 SUITE 345                   NEW ROADS, LA 70760                        ALEXANDRIA, LA 71303
BELLE CHASSE, LA 70037



PARISH OF SAINT BERNARD                  PARISH OF SAINT CHARLES                    PARISH OF SAINT HELENA
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.                ATTN: SALES & USE TAX DEPT.
P. O. BOX 168                            P. O. BOX 440                              P. O. BOX 1205
CHALMETTE, LA 70044                      HAHNVILLE, LA 70057-0440                   GREENSBURG, LA 70441




PARISH OF SAINT JAMES                    PARISH OF SAINT JOHN THE BAPTIST           PARISH OF SAINT TAMMANY
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.                ATTN: SALES & USE TAX DEPT.
P.O. BOX 368                             P. O. BOX 2066                             P.O. BOX 1229
LUTCHER, LA 70071-0368                   LAPLACE, LA 70069-2066                     SLIDELL, LA 70459




PARISH OF ST CHARLES TAX COLLECTOR       PARISH OF ST TAMMANY- TAX COLLECTOR        PARISH OF TERREBONNE
PO BOX 440                                                                          ATTN: SALES & USE TAX DEPT.
HAHNVILLE, LA 70057-0440                                                            P.O. BOX 670
                                                                                    HOUMA, LA 70361-0670




PARISH OF VERMILION                      PARISH OF VERNON                           PARISH OF WEST FELICIANA
ATTN: SALES & USE TAX DEPT.              ATTN: SALES & USE TAX DEPT.                ATTN: SALES & USE TAX DEPT.
P.O. BOX 1508                            117 BELVIEW ROAD                           P. O. BOX 1910 ST.
ABBEVILLE, LA 70511-1508                 LEESVILLE, LA 71446                        FRANCISVILLE, LA 70775-1910




PARISH OF WINN                           PARISH SALES TAX FUND                      PARISS ARCHIE-IKHIMWIN
ATTN: SALES & USE TAX DEPT.              PO BOX 670                                 10201 S. MAIN STREET
P.O. BOX 430                             HOUMA, LA 70361                            HOUSTON, TX 77025
WINNFIELD, LA 71483




PARK PRESTON SW LIMITED PARTNERSHIP      PARK & TYRONE ASSOCIATES LTD               PARK & TYRONE ASSOCIATES LTD
CO SANDERS CO LLC                        C/O THE SEMBLER COMPANY                    DBA LIGHTHOUSE CROSSINGS
3710 RAWLINS SREET STE 1210              5858 CENTRAL AVE                           5858 CENTRAL AVENUE
DALLAS, TX 75219                         SAINT PETERSBURG, FL 33707                 SAINT PETERSBURG, FL 33707




PARK & TYRONE ASSOCIATES                 PARK AND TYRONE ASSOCIATES LTD.            PARK AND TYRONE ASSOCIATES LTD.
C/O THE SEMBLER COMPANY                  C/O THE SEMBLER COMPANY                    C/O THE SEMBLER COMPANY
5858 CENTRAL AVE                         5858 CENTRAL AVENUE                        5858 CENTRAL AVENUE
SAINT PETERSBURG, FL 33707               SAINT PETERSBURG, FL 33707                 ST. PETERSBURG, FL 33707




PARK AND TYRONE ASSOCIATES LTD.          PARK AT PRESTON SW LP                      PARK CENTER CIRCLE VENTURES
DBA LIGHTHOUSE CROSSINGS                 C/O SANDERS AND COMPANY                    LLC/RECEIVERSHIP
5858 CENTRAL AVENUE                      3710 RAWLINS STREET, SUITE 1210            C/O NORTHSTAR REALTY LLC
SAINT PETERSBURG, FL 33707               DALLAS, TX 75219                           150 E BROAD ST STE 305
                                                                                    COLUMBUS, OH 43215
                        Case 18-12241-CSS
PARK CENTER CIRCLE VENTURES                   DocENTERPRISE
                                       PARK EAST   26 Filed   10/05/18
                                                            LOFTS LLC         PagePARK
                                                                                   1248  of 1739
                                                                                       EAST LLC
LLC/RECEIVERSHIP                       1407 N MLK DR                              PO BOX 348
C/O OHIO EQUITIES LLC                  MILWAUKEE, WI 53212                        CARLE PLACE, NY 11514
605 S. FRONT ST STE 200
COLUMBUS, OH 43215



PARK EAST, LLC                         PARK PLACE MANAGEMENT LLC                  PARK PLACE TECHNOLOGIES LLC
WESTBURY AVENUE                        280 E CORPORATE DR.                        PO BOX 78000
P.O. BOX 348                           MERIDIAN, ID 83645                         DEPT 781156
CARLE PLACE, NY 11514                                                             DETROIT, MI 48278-1156




PARK POINTE PLAZA ASSOC                PARK POINTE PLAZA ASSOCIATES JOINT         PARK SPE LLC
745 ELA RD                             VENTURE                                    3803 NORTH SULLIVAN ROAD
LAKE ZURICH, IL 60047                  ATTN: JOHN ALAN SFIRE                      BLDG NO 15, STE 202
                                       745 ELA ROAD                               SPOKANE, WA 99216-1670
                                       LAKE ZURICH, IL 60047



PARK SPE, LLC                          PARK SPE, LLC                              PARK VILLAGE ASSOCIATES, LLC
C/O CROWN WEST REALTY, LLC             C/O CROWN WEST REALTY, LLC                 C/O THE TAN GROUP
3808 N. SULLIVAN ROAD, BUILDING N-15   ATTN: ASSET MANAGER                        870 E CHARLESTON RD STE 200
ATTN: ASSET MANAGER                    3808 N. SULLIVAN ROAD, BUILDING N-15       PALO ALTO, CA 94303
SPOKANE VALLEY, WA 99216               SPOKANE VALLEY, WA 99216



PARK VILLAGE ASSOCIATES, LLC           PARK WEST RETAIL III, LLC                  PARK WEST VILLAGE PHASE I LLC
C/O THE TAN GROUP                      C/O DAVID BERNDT INTERESTS, INC.           191 W NATIONWIDE BLVD SUITE 200
870 E. CHARLESTON ROAD, SUITE 200      10101 REUNION PLACE, SUITE 160             COLUMBUS, OH 43215
PALO ALTO, CA 94303                    ATTN: LISA BRYANT
                                       SAN ANTONIO, TX 78216



PARK WEST VILLAGE PHASE I LLC          PARKCENTER DUBLIN LLC                      PARKCENTER DUBLIN LLC
PO BOX 1450                            300 S OLD WOODWARD                         300 S OLD WOODWARD
COLUMBUS, OH 43216                     BIRMINGHAM, MI 48009                       BIRMINGHAM, MI 48346




PARKCENTER DUBLIN LLC                  PARKCHESTER PRESERVATION COMPANY           PARKCHESTER PRESERVATION COMPANY
300 SOUTH OLD WOODWARD                 L.P.                                       L.P.
BIRMINGHAM, MI 48346                   DEPT 5000                                  1384 METROPOLITAN AVENUE
                                       PO BOX 304                                 BRONX, NY 10462
                                       EMERSON, NJ 07630



PARKCHESTER PRESERVATION COMPANY,      PARKER BARTHOLOMEW                         PARKER COUNTY APPRAISAL DISTRICT
L.P.                                   10201 S. MAIN STREET                       1108 SANTA FE DR.
C/O OLSHAN PROPERTIES                  HOUSTON, TX 77025                          WEATHERFORD, TX 76086-5818
5500 NEW ALBANY ROAD, SUITE 310
NEW ALBANY, OH 43054



PARKER DUNCAN                          PARKER DUPONT                              PARKER HUDSON RAINER & DOBBS LLP
3709 W 24TH STREET                     10201 S. MAIN STREET                       303 PEACHTREE ST NE STE 3600
LAWRENCE, KS 66047                     HOUSTON, TX 77025                          ATLANTA, GA 30308




PARKER MORROW                          PARKER MYNCHENBERG                         PARKER SAMUELSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025
                     Case
PARKER WATER & SANITATION    18-12241-CSS
                          DIST         PARKERDoc
                                               WATER26& SANITATION
                                                         Filed 10/05/18
                                                                   DISTRICT   PagePARKER
                                                                                   1249 of 1739
18100 E WOODMAN DR                     P.O. BOX 5250                              ATTN: PROPERTY TAX DEPT.
PARKER, CO 80134                       DENVER, CO 80217-5250                      1108 SANTA FE DR.
                                                                                  WEATHERFORD, TX 76086-5818




PARKERSBURG NEWS & SENTINEL              PARKERSBURG NEWSPAPERS INC               PARKES DEVELOPMENT GROUP, LLC
PO BOX 1787                              519 JULIANA ST                           ATTN: GARY W. PARKES
PARKERSBURG, WV 26102                    PARKERSBURG, WV 26101                    105 REYNOLDS DRIVE
                                                                                  FRANKLIN, TN 37064




PARKING SERVICES                         PARKING SERVICES                         PARKS PROP MGMT LLC
ATTN: MONTHLY PARKING DEPT               EUGENE MUNICIPAL COURT                   PO BOX 5049
4739 UNIVERSITY WAY NE 1646              1102 LINCOLN ST                          MURFREESBORO, TN 37133
SEATTLE, WA 98105-4492                   EUGENE, OR 97401




PARKSIDE PORTFOLIO I LLC                 PARKSTONE MANAGEMENT SERVICES            PARKVILLE SHOPPING CENTER LLC
C/O COVINGTON REALTY PARTNERS            3033 FIFTH AVENUE, SUITE 335             PO BOX 822146
30 S WACKER DR STE 2750                  SAN DIEGO, CA 92103                      PHILADELPHIA, PA 19182-2146
CHICAGO, IL 60606




PARKVILLE SHOPPING CENTER LLC            PARKVILLE SHOPPING CENTER, LLC           PARKVILLE SHOPPING CENTER, LLC
7709 HARTFORD RD                         C/O REGENCY CENTERS CORPORATION          C/O REGENCY CENTERS CORPORATION
BALTIMORE, MD 21234                      1919 GALLOWS ROAD, SUITE 1000            ONE INDEPENDENT DRIVE, SUITE 114
                                         ATTN: PROPERTY MANAGEMENT                ATTN: LEASE ADMINISTRATION
                                         VIENNA, VA 22182                         JACKSONVILLE, FL 32202



PARKVILLE SHOPPING CENTER, LLC           PARKWAY CROSSING EAST SHOPPING           PARKWAY CROSSING EAST SHOPPING
C/O REGENCY CENTERS CORPORATION          CENTER LP                                CENTER, LP
ONE INDEPENDENT DRIVE, SUITE 114         PO BOX 76011                             C/O NATIONAL REAL ESTATE MANAGEMENT
ATTN: LEGAL DEPARTMENT                   BALTIMORE, MD 21275-6011                 CORP
JACKSONVILLE, FL 32202                                                            9986 MANCHESTER ROAD
                                                                                  ST. LOUIS, MO 63122


PARKWAY CROSSING EAST SHOPPING           PARKWAY CROSSINGS EAST                   PARKWEST RETAIL III LTD
CENTER, LP                               9986 MANCHESTER RD                       8201 PRESTON RD STE 700
C/O NATIONAL REAL ESTATE MANAGEMENT      SAINT LOUIS, MO 63122                    DALLAS, TX 75225
CORPORATION
9986 MANCHESTER ROAD
ST. LOUIS, MO 63122


PARKWEST RETAIL III LTD                  PARKWOOD ESTATES PROP OWNERS             PARLIAMENT PARTNERS LLC
PO BOX 207562                            ASSOC                                    2187 NEWCASTLE AVE STE 202
DALLAS, TX 75320-7562                    905 LAUDERHILL LANE                      CARDIFF, CA 92007
                                         FORT WALTON BEACH, FL 32547




PARLIAMENT PARTNERS LLC                  PARLIAMENT PARTNERS LLC                  PARLIAMENT PROPERTIES INC
2187 NEWCASTLE AVE, STE 202              C/O CHAPMAN MANAGEMENT GROUP LLC         2187 NEWCASTLE AVE STE 202
CARDIFF, CA 92007                        33 W. CONGRESS, SUITE 205                CARDIFF, CA 92007
                                         TUCSON, AZ 85701




PARMA BROOKPARK PROPERTIES LLC           PARMATOWN STATION LLC                    PARMATOWN STATION LLC
ALTERMAN COMMERCIAL REAL ESTATE          C/O PHILLIPS EDISON & COMPANY            LOCKBOX 62874
PO BOX 191228                            ATTN: ROBERT F. MYERS, COO               62874 COLLECTIONS CTR DR
ATLANTA, GA 31119                        11501 NORTHLAKE DRIVE                    CHICAGO, IL 60693-0628
                                         CINCINNATI, OH 45249
PARMER TECH RIDGE, LLCCase 18-12241-CSS     DocSINGH
                                     PARMINDER    26 BEDIFiled   10/05/18   PagePARRIS
                                                                                 1250 ELLIOTT-THOMPSON
                                                                                       of 1739
C/O REGENCY CENTERS CORP-TECH RIDGE  5450 55TH ST APT 12                         10201 S. MAIN STREET
P.O. BOX 677493                      SAN DIEGO, CA 92115                         HOUSTON, TX 77025
DALLAS, TX 75267-7493




PARTY CITY CORPORATION                  PARVIN NELOMS                            PARVIZ SAMIEE
ATTN: DOUG CALVIN                       10201 S. MAIN STREET                     2418 13TH ST. S.E.
25 GREEN POND ROAD                      HOUSTON, TX 77025                        SALEM, OR 97302
STE 1
ROCKAWAY, NJ 07866



PARYSS MAY                              PAS CORPORATION                          PASADENA I.S.D-TAX COLLECTOR
10201 S. MAIN STREET                    401 BALTIMORE PIKE                       P.O. BOX 1318
HOUSTON, TX 77025                       BEL AIR, MD 21014                        PASADENA, TX 77501-1318




PASB INC                                PASCO CO TAX COLLECTOR                   PASCO
303 N CANNON BLVD                       PO BOX 276                               ATTN: PROPERTY TAX DEPT.
KANNAPOLIS, NC 28083                    DADE CITY, FL 33526-0276                 PO BOX 293
                                                                                 PASCO, WA 99301




PASQUOTANK COUNTY TAX COLLECTOR         PASQUOTANK                               PASSAGE REALTY, INC.
PO BOX 586                              ATTN: PROPERTY TAX DEPT.                 C/O PM REALTY GROUP
ELIZABETH CITY, NC 27907-0586           PO BOX 586                               1560 WEST BAY AREA BLVD., SUITE 290
                                        ELIZABETH CITY, NC 27907-0586            FRIENDSWOOD, TX 77546




PASSAGE REALTY, INC.                    PASSAIC VALLEY WATER COMM                PASSAIC VALLEY WATER COMM
C/O PM REALY GROUP                      1525 MAIN AVENUE                         P.O. BOX 11393
1560 WEST BAY AREA BLVD., SUITE 290     CLIFTON, NJ 07011                        NEWARK, NJ 07101-4393
FRIENDSWOOD, TX 77546




PASTOR DAMIAN                           PAT & EMMITT SMITH CHARITIES             PAT BUGBEE
10201 S. MAIN STREET                    TOLLWAY PLAZA NORTH                      10201 S. MAIN STREET
HOUSTON, TX 77025                       16000 N DALLAS PKWY STE 550N             HOUSTON, TX 77025
                                        DALLAS, TX 75248




PAT CAHILL                              PAT CICERO                               PAT FEHRING
10201 S. MAIN STREET                    10201 S. MAIN STREET                     7031 SIDNEY LANIER CT
HOUSTON, TX 77025                       HOUSTON, TX 77025                        ORLANDO, FL 32818




PAT HOLMAN                              PAT HUGHES                               PAT KILPATRICK
1425 8TH ST                             10201 S. MAIN STREET                     10201 S. MAIN STREET
CLARKSTON, WA 99403                     HOUSTON, TX 77025                        HOUSTON, TX 77025




PAT NOBLE                               PAT OCONNELL                             PAT STOREY
                                        10201 S. MAIN STREET                     10201 S. MAIN STREET
                                        HOUSTON, TX 77025                        HOUSTON, TX 77025
                        Case 18-12241-CSS
PATAPSCO REALTY CORPORATION                  Doc REALTY
                                       PATCHOGUE   26 Filed   10/05/18
                                                         ASSOCIATES      PagePATH
                                                                              1251 of 1739
ATTN: LEWIS CURLETT                    C/O PERGAMENT PROPERTIES              340 NORTH MADISON AVE
2541 ASHBROOK DRIVE                    95 FROEHLICH FARM BLVD                LOS ANGELES, CA 90004
ELLICOTT CITY, MD 21042                WOODBURY, NY 11797




PATRAS WILLIAMS, LLC                   PATREASE ROGERS                       PATRIC LOHRENZ
ATTN: AMY M. WILLIAMS                  2600 HASELWOOD LN
14 COUNTRYSIDE LANE, SUITE 100         ROUND ROCK, TX 78665
RINGWOOD, NJ 07456




PATRICE GORDON                         PATRICE NEWMAN                        PATRICE NOE MOORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                  18041 HORSESHOE BAY CIR
HOUSTON, TX 77025                      HOUSTON, TX 77025                     FORT MYERS, FL 33967




PATRICE PERRYMAN                       PATRICIA A BICHEL                     PATRICIA A MENA
10201 S. MAIN STREET                   8864 SANDPIPER CIRCLE                 5400 N BRAESWOOD BLVD SE-931
HOUSTON, TX 77025                      FOUNTAIN VALLEY, CA 92708             HOUSTON, TX 77096




PATRICIA BEDOYA                        PATRICIA BOUDREAU                     PATRICIA BRAILEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




PATRICIA CONRAD                        PATRICIA CONRAD                       PATRICIA DAY
2820 SCOTT AVE N                       2820 SCOTT AVE N                      10201 S. MAIN STREET
GOLDEN VALLEY, MN 55422                MINNEAPOLIS, MN 55422                 HOUSTON, TX 77025




PATRICIA DOYLE                         PATRICIA DUFFEY                       PATRICIA DUHAIME
10201 S. MAIN STREET                   2244 HIVELY ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                      SARASOTA, FL 34231                    HOUSTON, TX 77025




PATRICIA DUNN                          PATRICIA ELLEN FINLAY                 PATRICIA HANSEN
10201 S. MAIN STREET                   DBA JURY FOCUS LLC                    5915 104TH ST
HOUSTON, TX 77025                      210 LEE BARTON DR UNIT 403            PLEASANT PRAIRIE, WI 53158
                                       AUSTIN, TX 78704




PATRICIA HERNANDEZ                     PATRICIA HODGINS                      PATRICIA J BANACH
10201 S. MAIN STREET                   1209 KENT BROWN RD                    501 S CONWAY PLACE
HOUSTON, TX 77025                      GARLAND, TX 75044                     KENNEWICK, WA 99336




PATRICIA KELLY                         PATRICIA MCINTOSH                     PATRICIA MENA
10201 S. MAIN STREET                   112 ELLICOTT DR                       10201 S. MAIN STREET
HOUSTON, TX 77025                      ROANOKE, TX 76262                     HOUSTON, TX 77025
PATRICIA OKPEBHOLO     Case 18-12241-CSS    Doc
                                      PATRICIA    26EDDINGER
                                               PAIGE   Filed 10/05/18   PagePATRICIA
                                                                             1252 ofRODGERS
                                                                                     1739
10201 S. MAIN STREET                    5930 REES RD APT 149                10201 S. MAIN STREET
HOUSTON, TX 77025                       JONESBORO, AR 72401                 HOUSTON, TX 77025




PATRICIA RODRIGUEZ                      PATRICIA RUSHING                    PATRICIA RYAN
10201 S. MAIN STREET                    3202 MONTANA DR                     10201 S. MAIN STREET
HOUSTON, TX 77025                       TEMPLE, TX 76502                    HOUSTON, TX 77025




PATRICIA SANDIGA                        PATRICIA SANDIGA                    PATRICIA WADE
10201 S. MAIN STREET                    10201 S. MAIN STREET                6110 MEADOWSTREAM CT
HOUSTON, TX 77025                       HOUSTON, TX 77025                   KATY, TX 77450




PATRICIA WADE                           PATRICIO MELLA                      PATRICK BAIN
DBA ESPY STRATEGIC SOLUTIONS INC        10201 S. MAIN STREET                10201 S. MAIN STREET
22110 BAYMIST COURT                     HOUSTON, TX 77025                   HOUSTON, TX 77025
KATY, TX 77450




PATRICK BARTOLIN                        PATRICK BARTTELS                    PATRICK BATDORF
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




PATRICK BENEKE                          PATRICK BLACK                       PATRICK BOWNES
557 14H AVE N                           10201 S. MAIN STREET                10201 S. MAIN STREET
SOUTH SAINT PAUL, MN 55075              HOUSTON, TX 77025                   HOUSTON, TX 77025




PATRICK BUNKER                          PATRICK C COEN                      PATRICK C. COEN
10201 S. MAIN STREET                    82 SMITHE DR                        TRUSTEE OF COEN REALTY TRUST
HOUSTON, TX 77025                       WESTWOOD, MA 02090                  82 SMITHE DR
                                                                            WESTWOOD, MA 02090




PATRICK CASSADY                         PATRICK COYLE                       PATRICK D NORRIS
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025




PATRICK DAVEY                           PATRICK DELUTIS                     PATRICK DOHERTY
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




PATRICK DONAHUE                         PATRICK DONLEY                      PATRICK DONOVAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025
PATRICK DORAL          Case 18-12241-CSS    Doc
                                      PATRICK    26 BROWN
                                              ENGLAND Filed 10/05/18   PagePATRICK
                                                                            1253 of  1739
                                                                                   FORREST
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




PATRICK GASKIN                         PATRICK GENUNG                       PATRICK GORDON
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




PATRICK GRIFFIN                        PATRICK HALE                         PATRICK HENNEL
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




PATRICK HENRY                          PATRICK HIEB                         PATRICK HUBBARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




PATRICK HUNZEKER                       PATRICK IRVIN                        PATRICK J CORDOVA
10201 S. MAIN STREET                   10201 S. MAIN STREET                 929 WEST CHAPEL
HOUSTON, TX 77025                      HOUSTON, TX 77025                    ASHEVILLE, NC 28803




PATRICK J EDWARDS                      PATRICK JARAMILLO                    PATRICK JARAMILLO
3050 E COUNTY DOWN DRIVE               10201 S. MAIN STREET                 10201 S. MAIN STREET
CHANDLER, AZ 85249                     HOUSTON, TX 77025                    HOUSTON, TX 77025




PATRICK JAY                            PATRICK JOHNSON                      PATRICK KAISER
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




PATRICK KANTOR                         PATRICK KELLEY                       PATRICK KLINEBERG
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




PATRICK LANTIS                         PATRICK LARESE                       PATRICK LEONCE
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




PATRICK MABRY                          PATRICK MCDEVITT                     PATRICK MCNAUGHTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025
PATRICK MOBLEY         Case 18-12241-CSS    Doc
                                      PATRICK    26 Filed 10/05/18
                                              MULVEY                 PagePATRICK
                                                                          1254 of  1739
                                                                                 NORRIS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




PATRICK ONEAL                          PATRICK PATTERSON                 PATRICK PEARSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




PATRICK RAMSEY                         PATRICK RICHARDSON                PATRICK ROBINSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




PATRICK RODRIGUEZ                      PATRICK SALISBURY                 PATRICK SHANE LITTLE
10201 S. MAIN STREET                   10201 S. MAIN STREET              WHSE MANAGER-DALLAS
HOUSTON, TX 77025                      HOUSTON, TX 77025                 1711 SUNFLOWER DR.
                                                                         CORINTH, TX 76210




PATRICK SMITH                          PATRICK SOARES                    PATRICK SPELLMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




PATRICK T BURNS                        PATRICK VOSE                      PATRICK WALSH
DBA LEPRECHAUN GRAPHICS                10201 S. MAIN STREET              4630 MIRAMOTE ST
18103 BEAVERDELL DR                    HOUSTON, TX 77025                 LA MESA, CA 91941
TOMBALL, TX 77377




PATRICK WILLS                          PATRICK WOODALL                   PATRICK YOUNG
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




PATRIOT AUTO GLASS                     PATRIOT COMMUNICATIONS            PATSY KENNEDY
6708 EBBETS DR                         P.O. BOX 92899                    10201 S. MAIN STREET
PASCO, WA 99301                        LOS ANGELES, CA 90009             HOUSTON, TX 77025




PATSY SAGER                            PATTI BURKE                       PATTI DEROSIER
10201 S. MAIN STREET                   10201 S. MAIN STREET              6300 WYOMING AVE N
HOUSTON, TX 77025                      HOUSTON, TX 77025                 MINNEAPOLIS, MN 55428




PATTI HERSHEY                          PATTON CREEK HOLDINGS LLC         PATTON CREEK HOLDINGS LLC
10201 S. MAIN STREET                   1175 NE 125TH ST STE 102          DEPT 1758
HOUSTON, TX 77025                      NORTH MIAMI, FL 33161             P.O. BOX 11407
                                                                         BIRMINGHAM, AL 35246-1758
PATTY FERRARA          Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                      PATTY FOTHERINGHAM                PagePATTY
                                                                             1255MASTRODOMENICO
                                                                                  of 1739
10201 S. MAIN STREET                  8341 W ALEEN AVE                      10201 S. MAIN STREET
HOUSTON, TX 77025                     MAGNA, UT 84044                       HOUSTON, TX 77025




PATTY SANCHEZ                         PAUL A. & JOAN J. WIMMER              PAUL ADAMS-MORGAN
4757 CRISTY AVE                       487 HONEYCUTT DR                      10201 S. MAIN STREET
SAN BERNARDINO, CA 92407              GRANTS PASS, OR 97526                 HOUSTON, TX 77025




PAUL ADKINS                           PAUL ASH MANAGEMENT COMPANY LLC       PAUL AYCOCK
10201 S. MAIN STREET                  3499 N. CAMPBELL AVE, SUITE 907       10201 S. MAIN STREET
HOUSTON, TX 77025                     TUCSON, AZ 85719                      HOUSTON, TX 77025




PAUL B BELKIN                         PAUL B WALLACE                        PAUL BAKER PRINTING INC
3520 SW MARGELA ST                                                          220 RIVERSIDE AVE
PORT SAINT LUCIE, FL 34953                                                  ROSEVILLE, CA 95678




PAUL BANDRIWSKY                       PAUL BAYLESS                          PAUL BENETZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




PAUL BLECHER                          PAUL BOGATAJ                          PAUL BRIGHTMAN
1885 EL PASEO 32307                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77054                     HOUSTON, TX 77025                     HOUSTON, TX 77025




PAUL BUCKI                            PAUL BURGESS                          PAUL BURGESS
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




PAUL CERNIGLIA                        PAUL CHESIK                           PAUL CHIODA
10201 S. MAIN STREET                  10201 S. MAIN STREET                  DBA CHIODA QUALITY WINDOW CLEANING
HOUSTON, TX 77025                     HOUSTON, TX 77025                     1300 VIRGINIA AVE APT 218
                                                                            MC KEESPORT, PA 15135




PAUL CLARK                            PAUL COLWELL                          PAUL CRAIG
WHSE MANAGER-TAMPA                    10201 S. MAIN STREET                  10201 S. MAIN STREET
1737 DIAMOND WALK                     HOUSTON, TX 77025                     HOUSTON, TX 77025
LAKELAND, FL 33809




PAUL CROSSLEY III                     PAUL CUNNINGHAM                       PAUL D DALY
10201 S. MAIN STREET                  10201 S. MAIN STREET                  7616 SOQUEL WAY
HOUSTON, TX 77025                     HOUSTON, TX 77025                     CITRUS HEIGHTS, CA 95610
PAUL DALTON              Case 18-12241-CSS    Doc 26
                                        PAUL DANIELS      Filed 10/05/18   PagePAUL
                                                                                1256  of 1739
                                                                                    DECKERT
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




PAUL DELIANIDES                         PAUL DENNIS                            PAUL DIETER
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




PAUL DOTOLO                             PAUL E CARLSON                         PAUL E CARLSON
10201 S. MAIN STREET                    DBA PAUL E CARLSON RECEIVER FOR        DBA PAUL E CARLSON RECEIVER FOR
HOUSTON, TX 77025                       TROPEC LLC                             TROPEC LLC
                                        27422 PORTOLA PKWY STE 150             FOOTHILL RANCH, CA 92610
                                        FOOTHILL RANCH, CA 92610



PAUL E CARLSON, RECEIVER                PAUL ERICKSON                          PAUL F MCLEAN
30021 TOMAS, SUITE 150                  100 S RIDGE CIRCLE                     3810 NW MEDTERRANEAN LN
RANCHO SANTA MARGARTITA, CA 92688       GEORGETOWN, TX 78628                   JENSEN BEACH, FL 34957




PAUL GARABEDIAN ROUTE 28 TRUST          PAUL GOODEN                            PAUL GRAUER
352C S BROADWAY                         10201 S. MAIN STREET                   10201 S. MAIN STREET
SALEM, NH 03079                         HOUSTON, TX 77025                      HOUSTON, TX 77025




PAUL GRIMM                              PAUL GUNDERSON                         PAUL HAFSTAD
10201 S. MAIN STREET                    12107 LUCKY MEADOW DR                  10201 S. MAIN STREET
HOUSTON, TX 77025                       TOMBALL, TX 77375                      HOUSTON, TX 77025




PAUL HANDZEL                            PAUL HASTINGS LLP                      PAUL HASTINGS LLP
10201 S. MAIN STREET                    COUNSEL FOR BARCLAYS BANK PLC          LOCKBOX 4803
HOUSTON, TX 77025                       ATTN: ANDREW V. TENZER                 PO BOX 894803
                                        200 PARK AVENUE                        LOS ANGELES, CA 90189-4803
                                        NEW YORK, NY 10166



PAUL HOUSER                             PAUL HOWARD DOMBROWSKI                 PAUL HUNTER
10201 S. MAIN STREET                    5529 110TH AVE N APT 208               10201 S. MAIN STREET
HOUSTON, TX 77025                       PINELLAS PARK, FL 33782                HOUSTON, TX 77025




PAUL IUDICA                             PAUL JACOBSON                          PAUL JAMES CULBERT
10201 S. MAIN STREET                    10201 S. MAIN STREET                   1815 RONALD AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                      FORTUNA, CA 95540




PAUL JOSEPH CARROLL                     PAUL JOSTEN                            PAUL KEHOE
6726 CANTERBURY LN                      10201 S. MAIN STREET                   10201 S. MAIN STREET
EDEN PRAIRIE, MN 55346                  HOUSTON, TX 77025                      HOUSTON, TX 77025
PAUL L GRIMM-ATTORNEY Case
                      AT LAW18-12241-CSS     Doc 26GRIMM
                                      PAUL LEONARD      Filed   10/05/18   PagePAUL
                                                                                1257   of 1739
                                                                                    LICARI
8475 WINTERHAWK LN                    8475 WINTERHAWK LN                        10201 S. MAIN STREET
GRANITE BAY, CA 95746                 GRANITE BAY, CA 95746                     HOUSTON, TX 77025




PAUL LOWES                             PAUL LUCERO                              PAUL MAGUIRE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




PAUL MCELDERRY                         PAUL MCKEE                               PAUL MILETICH
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




PAUL MILIMAN                           PAUL MILLBANK                            PAUL MILLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




PAUL MUNCY                             PAUL NORWOOD                             PAUL OGIBA
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




PAUL OLIVER                            PAUL OLSWING                             PAUL OWINGS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




PAUL PETERSON                          PAUL PLYM                                PAUL POLLOCK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




PAUL QUINNONEZ                         PAUL RAYNOR                              PAUL REVERE COFEE CO
10201 S. MAIN STREET                   10201 S. MAIN STREET                     FILTERFRESH ORLANDO
HOUSTON, TX 77025                      HOUSTON, TX 77025                        4333 SILVER STAR RD UNIT 185
                                                                                ORLANDO, FL 32808




PAUL RIGDA DUMPSTERS/EXCAVATING        PAUL ROBERTSON                           PAUL RUCKER
5425 CANADA ROAD                       10201 S. MAIN STREET                     10201 S. MAIN STREET
BIRCH RUN, MI 48415                    HOUSTON, TX 77025                        HOUSTON, TX 77025




PAUL SAFRAN, P.A.                      PAUL SALTZMAN                            PAUL SCHNEIDER
433 PLAZA REAL, SUITE 335              10201 S. MAIN STREET                     1767 ROANOKE DR
BOCA RATON, FL 33432                   HOUSTON, TX 77025                        BOISE, ID 83712
PAUL SIDENBLAD         Case 18-12241-CSS     Doc 26
                                      PAUL SIMONTON      Filed 10/05/18   PagePAUL
                                                                               1258  of 1739
                                                                                   SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   3341 COTTAGE HILL RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                      EARL VILLE, IL 60143




PAUL SOLOMON                           PAUL STAMBERGER                        PAUL STEPHENSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   2635 KENDRICK ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                      MELBOURNE, FL 32904




PAUL STERLING                          PAUL STEWART                           PAUL STORK
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




PAUL STORK                             PAUL STROTMAN                          PAUL SUTTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




PAUL TIERNEY                           PAUL TONELLI                           PAUL TRUJILLO
10201 S. MAIN STREET                   PO BOX 778                             10201 S. MAIN STREET
HOUSTON, TX 77025                      MENLO PARK, CA 94026                   HOUSTON, TX 77025




PAUL TUOHY                             PAUL VAZQUEZ                           PAUL W RADEKER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   308 HOLLY
HOUSTON, TX 77025                      HOUSTON, TX 77025                      BAYTOWN, TX 77520




PAUL W. GIRTEN TRUST, CHARLENE         PAUL WALLACE                           PAUL WEISBERG
GIRTEN, TRUSTEE                        10201 S. MAIN STREET                   10201 S. MAIN STREET
10054 SKYRIDGE DRIVE                   HOUSTON, TX 77025                      HOUSTON, TX 77025
CINCINNATI, OH 45252




PAUL WELCH                             PAUL WHEELER                           PAUL WHEELER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




PAUL WICKMAN                           PAUL WILLIAMS                          PAULA BRADY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   5355 BELAIR DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                      BELLINGHAM, WA 98226




PAULA GIL MAHNICH                      PAULA HEREDIA                          PAULA JAVIUS
                                       10201 S. MAIN STREET                   10201 S. MAIN STREET
                                       HOUSTON, TX 77025                      HOUSTON, TX 77025
PAULA MEDINA            Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                       PAULA MILITELLO                    PagePAULA
                                                                               1259PIEKOW
                                                                                    of 1739
10201 S. MAIN STREET                   5316 17TH ST W                         10201 S. MAIN STREET
HOUSTON, TX 77025                      BRADENTON, FL 34207                    HOUSTON, TX 77025




PAULA SHELLY                           PAULA T KRECZMER                       PAULA VANDYKE
10201 S. MAIN STREET                   1922 THOMAS RUN CIRCLE                 1914 PORT ROYAL DR
HOUSTON, TX 77025                      BEL AIR, MD 21015                      HOUSTON, TX 77058




PAULDING COUNTY BUSINESS LICENSE       PAULDING COUNTY TAX COMMISSION         PAULDING GOODMAN LLC
240 CONSTITUTION BLVD 2ND FLOOR        240 CONSTITUTION BLVD.                 C/O GOODMAN PROPERTIES INC
DALLAS, GA 30132                       ROOM 3006                              2870 PEACHTREE RD 889
                                       DALLAS, GA 30132-4614                  ATLANTA, GA 30305




PAULDING GOODMAN, LLC                  PAULDING                               PAULINA CRUZ
C/O GOODMAN PROPERTIES, INC.           ATTN: PROPERTY TAX DEPT.               10201 S. MAIN STREET
2870 PEACHTREE ROAD, SUITE 889         240 CONSTITUTION BLVD. ROOM 3006       HOUSTON, TX 77025
ATLANTA, GA 30305                      DALLAS, GA 30132-4614




PAULINA GOMEZ                          PAULINA STROM                          PAULINE DENNIS
22918 PRAIRIE BIRD LN                  10201 S. MAIN STREET                   508 DELAFIELD AVE
SPRING, TX 77373                       HOUSTON, TX 77025                      RICHLAND, WA 99352




PAULINE F HOMM - TAX COLLECTOR         PAULINE HARRIS                         PAULINE HOLLINGSWORTH
LEHIGHTON AREA SCHOOL DISTRICT         10201 S. MAIN STREET                   10201 S. MAIN STREET
471 STEWART CREEK RD                   HOUSTON, TX 77025                      HOUSTON, TX 77025
LEHIGHTON, PA 18235




PAULINE HOLLINGSWORTH                  PAULINE ROCK-THOMAS                    PAULLENA WILLIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




PAULO AGUILAR                          PAVAN KONDURU                          PAVAN NAGARAJ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




PAVE PROPERTIES                        PAVE PROPERTIES                        PAVE PROPERTIES
C/O LATIPAC PROPERTY MANAGEMENT INC.   C/O LATIPAC PROPERTY MANAGEMENT INC.   C/O LATIPAC PROPERTY MGMT INC
1612 W 5TH STREET                      PO BOX 162304                          PO BOX 162304
AUSTIN, TX 78703                       AUSTIN, TX 78716                       AUSTIN, TX 78716




PAVEL SMIRNOV                          PAVILION AT LANSDALE                   PAVILLION COURT LTD
10201 S. MAIN STREET                   C/O METRO COMMERCIAL MGMT SVC          DBA JR BLACK PROPERTIES LTD
HOUSTON, TX 77025                      307 FELLOWSHIP RD STE 300              7517 CAMPBELL RD STE 601
                                       MOUNT LAUREL, NJ 08054                 DALLAS, TX 75248
PAWC                      Case 18-12241-CSS
                                         PAXTONDoc  26GROUP
                                                MEDIA    Filed
                                                            LLC 10/05/18        PagePAXTON
                                                                                     1260 of 1739
                                                                                           MEDIA GROUP
P.O. BOX 371412                            DBA GRIFFIN DAILY NEWS                    DBA OWENSBORO MESSENGER INQUIRER
PITTSBURGH, PA 15250                       PO BOX 1400                               1401 FREDERICA ST
                                           PADUCAH, KY 42003                         OWENSBORO, KY 42301




PAXTON MEDIA GROUP                         PAYCHEX ADVANCE LLC                       PAYCHEX OF NEW YORK LLC
PO BOX 1200                                FBO VERTEX GLOBAL SOLUTIONS INC           PO BOX 4482
PADUCAH, KY 42002                          PO BOX 823461                             CAROL STREAM, IL 60197-4482
                                           PHILADELPHIA, PA 19182-3461




PAYFLEX SYSTEMS USA INC                    PAYMENT PROCESSING CENTER                 PAYNE COUNTY TREASURER
10802 FARNAM DR STE 100                    PO BOX 16190                              315 W 6TH STE 101
OMAHA, NE 68154                            PHOENIX, AZ 85011                         STILLWATER, OK 74074




PAYNES TRUCKING LLC                        PAYNTER REALTY & INVESTMENTS, INC.        PAYTON HOLLAND
PO BOX 2164                                17671 IRVINE BOULEVARD, SUITE 204         10201 S. MAIN STREET
MC DONOUGH, GA 30253                       TUSTIN, CA 92780                          HOUSTON, TX 77025




PAYTON MCGHEE                              PAYTON, THOMAS                            PBCMF LLC
10201 S. MAIN STREET                       1842 OCHSNER BLVD, 928                    2425 PINEAPPLE AVE STE 108
HOUSTON, TX 77025                          COVINGTON, LA 70433                       MELBOURNE, FL 32935




PBCMF LLC                                  PBE INC                                   PBE INC
60 BROAD ST. SUITE 3505                    611-B MOOREFIELD PARK DR                  PO BOX 35698
NEW YORK, NY 10004                         NORTH CHESTERFIELD, VA 23236              NORTH CHESTERFIELD, VA 23235




PBM MEZZ LLC                               PBM POWER CENTER                          PC CONNECTION SALES CORPORATION
DBA PBM POWER CENTER LLC                   75 PARK PLAZA                             450 ACORN LN
ONE WELLS AVE                              BOSTON, MA 02116                          DOWNINGTOWN, PA 19335
NEWTON, MA 02459




PC CONNECTION SALES CORPORATION            PCCP/LDC PEARL KAI, LLC                   PCCP/LDC PEARL KAI, LLC
P.O. BOX 536472                            2601 AIRPORT DR STE 300                   2601 AIRPORT DRIVE, SUITE 300
PITTSBURG, PA 15253-5906                   TORRANCE, CA 90505                        TORRANCE, CA 90505




PCF PADS                                   PCF PILLOWS                               PCG SOLUTIONS INC.
1964 4TH AVE. SOUTH                        PO BOX 3801                               4101 TATES CREEK CTR RD 150
SEATTLE, WA 98108                          SEATTLE, WA 98124                         LEXINGTON, KY 40517




PCM MALL RING LLC                          PCM SALES INC                             PCM SALES INC
ATTN: BOBBY KHORSHIDI                      1940 E MARIPOSA AVE                       FILE 55354
P.O. BOX 16242                             EL SEGUNDO, CA 90245                      LOS ANGELES, CA 90074-5354
BEVERLY HILLS, CA 90209
PCM                    Case      18-12241-CSS    Doc 26
                                           PDL DESIGNS      Filed 10/05/18      PagePDQ
                                                                                     1261  of 1739
                                                                                        ISRAEL FAMILY NORTHTOWNE, LLC
FILE 55327                                 2545 GOLDEN BEAR DR                       C/O REICHLE KLEIN GROUP
LOS ANGELES, CA 90074-5327                 CARROLLTON, TX 75006                      1 SEAGATE 26TH ST
                                                                                     TOLEDO, OH 43604




PDQ ISRAEL FAMILY NRTHTWN CMNS             PDSI INC                                  PDSI INC
P.O. BOX 10017                             C/O AMERICAN RESURGENS MNGMT CORP         PO BOX 933127
TOLEDO, OH 43699-0017                      2929 LENOX RD NE                          ATLANTA, GA 31193-3127
                                           ATLANTA, GA 30324




PEA RIDGE PUBLIC SERVICE DISTRICT          PEABODY MUNICIPAL LIGHT PLANT             PEABODY MUNICIPAL LIGHT PLANT
P.O. BOX 86                                201 WARREN STREET EXTENSION               P.O. BOX 3199
BARBOURSVILLE, WV 25504-0086               PEABODY, MA 01960                         PEABODY, MA 01961-3199




PEACHTREE 74, LLC                          PEACHTREE 74, LLC                         PEACHTREE CITY
1129 B-SENOIA RD                           440 BIRKDALE DRIVE
TYRONE, GA 30290                           FAYETVILLE, GA 30215




PEACHTREE CITY LINE CREEK I                PEACHTREE CITY                            PEACHTREE CROSSING LLC
& PEACHTREE CITY LINE CREEK II             1915 AIRPORT ROAD SUITE 2D                C/O FOUNDRY COMMERCIAL LLC
1915 AIRPORT ROAD SUITE 2D                 ATLANTA, GA 30341                         PO BOX 6230
ATLANTA, GA 30341                                                                    ORLANDO, FL 32802-6230




PEACHTREE CROSSING LLC                     PEACHTREE LLC                             PEACHTREE LLC
PO BOX 214                                 620 SOUTH WHITE HORSE PIKE                ATTN: MICHELLE LUCCA
FAIRBURN, GA 30213                         HAMMONTON, NJ 08037                       620 SOUTH WHITE HORSE PIKE
                                                                                     HAMMONTON, NJ 08037




PEACHTREE PARKWAY VILLAGE                  PEACHTREE SQUARE HOLDINGS LLC             PEACHTREE SQUARE HOLDINGS LLC
C/O JWB REALTY SERVICES                    C/O NORCROSS PEACHTREE SQUARE, LLC        RETAIL PLANNING CORP.
2771 LAWRENCEVILLE HWY STE 210             3344 PEACHTREE ROAD, NE, SUITE 110        35 JOHNSON FERRY RD
DECATUR, GA 30033                          ATLANTA, GA 30326                         MARIETTA, GA 30068




PEACHTREE STATION HOLDING LLC              PEACHTREE STATION HOLDING LLC             PEACHTREE, LLC
35 JOHNSON FERRY ROAD                      8115 PRESTON RD, SUITE 400                ATTN: MICHELLE LUCCA
MARIETTA, GA 30068                         DALLAS, TX 75225                          620 SOUTH WHITE HORSE PIKE, SUITE A
                                                                                     HAMMONTON, NJ 08037




PEADEN AIR CONDITIONING HEATING &          PEAK COST CONTAINMENT INC                 PEAK RYZEK INC
PLUMB                                      PO BOX 2284                               8458 SOLUTIONS CENTER
618 W BALDWIN RD                           SANTA BARBARA, CA 93120                   CHICAGO, IL 60677
PANAMA CITY, FL 32405




PEARL MEYER & PARTNERS LLC                 PEARL PLAZA REALTY TRUST                  PEARL PLAZA REALTY TRUST
DEPT 41287 PO BOX 650823                   400 FRANKLIN ST                           400 FRANKLIN STREET
DALLAS, TX 75265                           PO BOX 9059                               BRAINTREE, MA 02185
                                           BRAINTREE, MA 02184-9059
PEARLAND DUNHILL 1 LLC Case 18-12241-CSS    DocDUNHILL
                                      PEARLAND    26 Filed
                                                         1 LLC    10/05/18        PagePEARLAND
                                                                                       1262 of DUNHILL
                                                                                               1739 INVESTORS LLC
C/O DUNHILL PROPERTY MGMT SERVICES,   PO BOX 207032                                    3100 MONTICELLO AVE STE 300
INC.                                  DALLAS, TX 75320-7032                            DALLAS, TX 75205
ATTN: JENNIFER BEHLMER
3100 MONTICELLO AVENUE, SUITE 300
DALLAS, TX 75205


PEARLAND OP PARCEL 8 LLC                  PEARLAND OP PARCEL 8 LLC                     PEARLAND TOWN CENTER LP
C/O CBL & ASSOCIATES MANAGEMENT INC       C/O CBL & ASSOCIATES MANAGEMENT, INC.        C/O CBL & ASSOCIATES MANAGEMENT, INC.
11200 BROADWAY ST SUITE 5100              11200 BROADWAY ST SUITE 5100                 2030 HAMILTON PLACE BOULEVARD
PEARLAND, TX 77584                        PEARLAND, TX 77584                           CBL CENTER, SUITE 500
                                                                                       CHATTANOOGA, TN 37421



PEARSON EQUITY MGMT LLC                   PEBB ENTERPRISES CORAL SPRINGS LLC           PEBB TOYS OUTPARCEL LLC
4115 S 133RD ST                           7900 GLADES RD STE 600                       7900 GLADES RD STE 600
OMAHA, NE 68137                           BOCA RATON, FL 33434                         BOCA RATON, FL 33434




PECAN RETAIL I, LLC                       PECAN RETAIL I, LLC                          PECK, JAMAR
ATTN: TREVOR SMITH                        CIRE INVESTMENT SERVICES, INC.               913 SOUTHARD ST
275 S BEVERLY DR, STE 212                 530 B STREET, SUITE 2050                     TRENTON, NJ 86385-021
BEVERLY HILLS, CA 90212                   SAN DIEGO, CA 92101




PECO ENERGY CO                            PECO ENERGY COMPANY                          PECO ENERGY
ATTN: REAL ESTATE AND FACILITIES          PAYMENT PROCESSING BACK OFFICE               2301 MARKET STREET
2301 MARKET STREET                        2301 MARKET STREET N1-11                     PHILADELPHIA, PA 19103
PHILADELPHIA, PA 19103                    PHILADELPHIA, PA 19103




PECO ENERGY                               PECO PAYMENT PROCESSING                      PECO PAYMENT PROCESSING
P.O. BOX 37629                            2301 MARKET ST                               2301 MARKET STREET
PHILADELPHIA, PA 19101                    PHILADELPHIA, PA 19103                       PHILADELPHIA, PA 19103




PECO REAL ESTATE PARTNERS, LLC            PECO STRATEGIC INVESTMENT FUND III LP        PEDAS TENELY LLC
ATTN: P. ELLEN PROWS, SR. DIR PROP MGMT   5905 E GALBRALTH RD STE 1000                 4018 BRANDYWINE ST NW
5905 E. GALBRAITH ROAD, SUITE 1000        CINCINNATI, OH 45236                         WASHINGTON, DC 20016
CINCINNATI, OH 45236




PEDERNALES ELECTRIC COOP INC              PEDERNALES ELECTRIC COOP INC                 PEDERNALES ELECTRIC COOPERATIVE INC.
201 S AVENUE F                            P.O. BOX 1                                   P.O. BOX 1
JOHNSON CITY, TX 78636                    JOHNSON CITY, TX 78636                       JOHNSON CITY, TX 78636




PEDERSEN & HOUPT                          PEDERSEN & SONS SURETY BOND AGENCY           PEDERSEN SPRINGFIELD, LLC
ATTN: JOSHUA R. CHUPAK                    INC                                          JEFFREY G & MICHELLE J PEDERSEN
161 N. CLARK, SUITE 2700                  OFFENHARTZ & PEDERSEN LTD                    2226 TAMARRON LANE
CHICAGO, IL 60601                         15 MAIDEN LN STE 800                         LAFAYETTE, CO 80026
                                          NEW YORK, NY 10038



PEDRO COSTA                               PEDRO DANIEL CISNEROS AGUIRRE                PEDRO GUZMAN MARTINEZ
10201 S. MAIN STREET                      PO BOX 91573                                 10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77291                            HOUSTON, TX 77025
PEDRO LEON               Case 18-12241-CSS
                                        PEDRO Doc
                                              LUGO 26      Filed 10/05/18      PagePEDRO
                                                                                    1263 MARRERO
                                                                                         of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




PEDRO MOLINA                             PEDRO MORENA III                          PEDRO MOTA
7620 DECATUR DR                          2615 WESTWOOD MAIN DR                     10201 S. MAIN STREET
FAYETTEVILLE, NC 28303                   BRYAN, TX 77807                           HOUSTON, TX 77025




PEDRO PEREZ                              PEDRO PEREZ                               PEDRO PERLA
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




PEDRO RAMIREZ                            PEDRO TAVERA                              PEDRO TIRADO
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




PEETE, SHANNON                           PEGASUS ASSET MANAGEMENT                  PEGASUS INVESTMENTS
5557 BLOSSOM GARDENS CIR                 1901 AVENUE OF THE STARS, SUITE 630       1901 AVENUE OF THE STARS, SUITE 630
SAN JOSE, CA 95123                       LOS ANGELES, CA 90067                     LOS ANGELES, CA 90067




PEGGY APRIL                              PEGGY HARRIS                              PEGGY NIEDERER
10201 S. MAIN STREET                     588 N ST RD 1                             10201 S. MAIN STREET
HOUSTON, TX 77025                        FARMLAND, IN 47340                        HOUSTON, TX 77025




PEGGY WILLIAMS                           PEIFER SAFE & LOCK                        PEINE ENGINEERING CO INC
10201 S. MAIN STREET                     5287 KNIGHT ARNOLD ROAD                   1440 W 30TH ST
HOUSTON, TX 77025                        MEMPHIS, TN 38118                         INDIANAPOLIS, IN 46208




PELLE DAHAN                              PEM-AMERICA INC                           PEMBE SONMEZ-ROBERTS
10201 S. MAIN STREET                     70 WEST 36TH ST 2ND FLOOR                 10201 S. MAIN STREET
HOUSTON, TX 77025                        NEW YORK, NY 10001                        HOUSTON, TX 77025




PEMBROKE COMMERCIAL REALTY               PEMBROKE LAKES SQUARE, LLC                PEMBROKE PLACE PROPERTY LLC
4460 CORPORATION LANE, SUITE 300         C/O RETAIL PROPERTY GROUP, INC.           C/O STERLING RETAIL SERVICES
VIRGINIA BEACH, VA 23462                 ATTN: LEASE ADMIN ROYAL PALM PLACE        340 ROYAL POINCIANA WAY STE 316
                                         101 PLAZA REAL SOUTH, SUITE 200           SOUTH PALM BEACH, FL 33480
                                         BOCA RATON, FL 33432



PEMBROKE PLACE PROPERTY, LLC             PEMCO INSURANCE                           PENA, WILSON
ATTN: GREG MOROSS                        325 EASTLAKE AVE E                        54 GREENWICH ST APT 2S
340 ROYAL POINCIANA WAY, SUITE 316       SEATTLE, WA 98109                         HEMPSTEAD, NY 11550-5603
PALM BEACH, FL 33480
PENDULUM VERNON HILLS,Case
                       LLC     18-12241-CSS    Doc 26
                                         PENELEC            Filed 10/05/18   PagePENELEC
                                                                                  1264 of 1739
ATTN: JASON SMITH                        76 SOUTH MAIN ST                        P.O. BOX 3687
705 ROCKLAND ROAD, SUITE 200             AKRON, OH 44308                         AKRON, OH 44309
LAKE BLUFF, IL 60044




PENGATE HANDLING SYSTEMS INC             PENINSULA LIGHT COMPANY                 PENINSULA LIGHT COMPANY
PO BOX 643031                            13315 GOODNOUGH DR NW                   13315 GOODNOUGH DR NW
PITTSBURGH, PA 15264-3031                GIG HARBOR, WA 98332                    GIG HARBOR, WA 98332-8640




PENINSULA MAIN VA LLC                    PENINSULA TOWN CENTER CDA               PENINSULA TOWN CENTER LLC
PO BOX 209277                            P.O. BOX 75673                          NXS MATTRE-344
AUSTIN, TX 78720-9277                    BALTIMORE, MD 21275-5673                PO BOX 7635
                                                                                 MERRIFIELD, VA 22116-7635




PENN DELCO SCHOOL DISTRICT               PENN JENSEN BEACH PROPERTY, LLC         PENN JENSEN BEACH PROPERTY, LLC
PO BOX 95000-2095                        SUSAN DAKES                             SUSAN DAKES
PHILADELPHIA, PA 19195                   5825 SUNSET DRIVE, SUITE 210            5825 SUNSET DRIVE, SUITE 210
                                         MIAMI, FL 33143                         SOUTH MIAMI, FL 33143




PENN NATIONAL INSURANCE                  PENN PARKING INC                        PENN POWER
PO BOX 2257                              ONE PKWY DR BUILDING                    76 SOUTH MAIN ST
HARRISBURG, PA 17105-2257                7257 PKWY DR STE 100                    AKRON, OH 44308
                                         HANOVER, MD 21076




PENN POWER                               PENN SQUARE MALL LP                     PENN SQUARE MALL
P.O. BOX 3687                            DBA PENN SQUARE MALL                    1901 NORTHWEST EXPRESSWAY SUITE 1889
AKRON, OH 44309-3687                     32122 COLLECTIONS CTR DR                OKLAHOMA CITY, OK 73118
                                         CHICAGO, IL 60693




PENNI JONES                              PENNICHUCK                              PENNICHUCK
10201 S. MAIN STREET                     25 MANCHESTER STREET                    P.O. BOX 1947
HOUSTON, TX 77025                        MERRIMACK, NH 03054                     25 MANCHESTER ST
                                                                                 MERRIMACK, NH 03054-1947




PENNINGTON CONCRETE INC                  PENNISULA LIGHT CO.                     PENNON CONSTRUCTION COMPANY INC
13350 EULESS ST                          13315 GOODNOUGH DR NW                   5303 1ST AVE SOUTH STE 100
EULESS, TX 76040                         GIG HARBOR, WA 98332-8640               SEATTLE, WA 98108




PENNSVILLE HOLDINGS, LLC                 PENNSVILLE HOLDINGS, LLC                PENNSVILLE SHOPPING CENTER LLC
C/O METRO COMMERCIAL MGMT SERVICES       C/O METRO COMMERCIAL                    C/O METRO COMMERCIAL MGMT SERVICES
307 FELLOWSHIP RD STE 300                307 FELLOWSHIP ROAD, SUITE 300          307 FELLOWSHIP RD STE 300
MT. LAUREL, NJ 08054                     MT. LAUREL, NJ 08054                    MT. LAUREL, NJ 08054




PENNSVILLE SHOPPING CENTER LLC           PENNSYLVANIA AMERICAN WATER             PENNSYLVANIA AMERICAN WATER
C/O METRO COMMERCIAL MGMT SERVICES       800 W HERSHEY PARK DR                   P.O. BOX 371412
307 FELLOWSHIP RD STE 300                HERSHEY, PA 17033                       PITTSBURGH, PA 15250-7412
MT. LAUREL, NJ 08054
                      Case 18-12241-CSS
PENNSYLVANIA DEPT OF REVENUE                Doc 26DEPTFiled
                                     PENNSYLVANIA            10/05/18
                                                        OF STATE        PagePENNSYLVANIA
                                                                             1265 of 1739DEPT OF STATE
PO BOX 280413                        11 PARKWAY CTR                          110 N 8TH ST
HARRISBURG, PA 17128-0413            STE 175                                 STE 204A
                                     875 GREENTREE RD                        PHILADELPHIA, PA 19107-2412
                                     PITTSBURGH, PA 15220



PENNSYLVANIA DEPT OF STATE            PENNSYLVANIA DEPT OF STATE             PENNSYLVANIA DEPT OF STATE
15 W THIRD ST                         411 7TH AVE                            419 AVENUE OF THE STATES
SECOND FL                             ROOM 420                               6TH FL
GREENSBURG, PA 15601-3003             PITTSBURGH, PA 15219-1905              STE 602
                                                                             CHESTER, PA 19013-451



PENNSYLVANIA DEPT OF STATE            PENNSYLVANIA DEPT OF STATE             PENNSYLVANIA DEPT OF STATE
425 MAIN ST                           448 W 11TH ST                          535 CHESTNUT ST
JOHNSTOWN, PA 15901-1808              ERIE, PA 16501-1501                    SUNBURY, PA 17801-2834




PENNSYLVANIA DEPT OF STATE            PENNSYLVANIA DEPT OF STATE             PENNSYLVANIA DEPT OF STATE
555 UNION BLVD                        5TH FL STRAWBERRY SQ                   625 CHERRY ST
ALLENTOWN, PA 18109-3389              HARRISBURG, PA 17128-0605              READING, PA 19602-1186




PENNSYLVANIA DEPT OF STATE            PENNSYLVANIA DEPT OF STATE             PENNSYLVANIA DEPT OF STATE
BANK TOWERS                           PHILADELPHIA NORTHE DISTRICT           STONY CREEK OFFICE CENTER
207 WYOMING AVE                       3240 RED LION RD                       151 W MARSHALL ST
SCRANTON, PA 18503-1427               PHILADELPHIA, PA 19114-1109            SECOND FL
                                                                             NORRISTOWN, PA 19401-4739



PENNSYLVANIA DEPT OF TRANSPORTATION   PENNSYLVANIA REAL ESTATE INVESTMENT    PENNWOOD A LLC
60 FEDERAL DR                         TRUST                                  8647 BURNING TREE DR
PITTSBURGH, PA 15235                  C/O PREIT SERVICES, LLC                FRANKTOWN, CO 80116
                                      THE BELLEVUE, SUITE 300, 200 SOUTH
                                      BROAD ST
                                      ATTN: LISA MOST, GENERAL COUNSEL
                                      PHILADELPHIA, PA 19102

PENNY SMITH                           PENNYRILE RURAL ELEC COOP CORP         PENNYRILE RURAL ELEC COOP CORP
10201 S. MAIN STREET                  2000 HARRISON ST                       P.O. BOX 2900
HOUSTON, TX 77025                     PO BOX 2900                            HOPKINSVILLE, KY 42241-2900
                                      HOPKINSVILLE, KY 42241-2900




PENNYRILE RURAL ELECTRIC COOP CORP    PENNYSAVER INC                         PENSACOLA NEWS JOURNAL
P.O. BOX 2900                         7455 NEW RIDGE RD STE Q                PO BOX 677590
HOPKINSVILLE, KY 42241-2900           HANOVER, MD 21076                      DALLAS, TX 75267




PENSKE TRUCK LEASE                    PENSKE TRUCK LEASING CO L P            PENSKE TRUCK LEASING CO LP
P.O. BOX 7429                         P.O. BOX 532658                        2675 MORGANTOWN RD
PASADENA, CA 91109-7429               ATLANTA, GA 30353-2658                 PO BOX 1321
                                                                             READING, PA 19603-1321




PENSKE TRUCK LEASING                  PENSKE TRUCK LEASING                   PENSKE TRUCK LEASING
2675 MORGANTOWN RD                    P.O. BOX 802577                        PO BOX 827380
PO BOX 1321                           CHICAGO, IL 60680-2577                 PHILADELPHIA, PA 19182-7380
READING, PA 19603-1321
PENWOOD A, LLC        Case     18-12241-CSS
                                         PEOPLEDoc   26 AMERICA
                                                2.0 NORTH Filed 10/05/18           PagePEOPLE
                                                                                        1266 of
                                                                                              2.0 1739
ATTN: ARNON I. NEISS                      DBA TFI RESOURCES                             PO BOX 827932
8467 BURNING TREE DRIVE                   PO BOX 677905                                 PHILADELPHIA, PA 19182-7932
FRANKTOWN, OH 80116                       DALLAS, TX 75267-7905




PEOPLEANSWERS, INC.                       PEOPLEREADY INC                               PEOPLEREADY INC
PO BOX 833                                1015 A STREET                                 PO BOX 676412
ADDISON, TX 75001-0833                    TACOMA, WA 98402                              DALLAS, TX 75267-6412




PEOPLES GAS CO                            PEOPLES GAS CO                                PEOPLES GAS
200 E RANDOLPH ST                         P.O. BOX 747105                               200 E RANDOLPH ST
CHICAGO, IL 60601-6436                    PITTSBURGH, PA 15274-7105                     CHICAGO, IL 60601-6436




PEOPLES GAS                               PEOPLES NATURAL GAS COMPANY                   PEORIA JOURNAL STAR
PO BOX 2968                               P.O. BOX 644760                               1 NEWS PLAZA
MILWAUKEE, WI 53201-2968                  PITTSBURGH, PA 15264-4760                     PEORIA, IL 61643-0001




PEP BOYS REMITTANCE DEPT                  PEP BOYS                                      PEP BOYS
PO BOX 8500-40445                         PEP BOYS - REMITTANCE DEPT                    PEP BOYS STORE SUPPORT CENTER
PHILADELPHIA, PA 19178                    P O BOX 8500 50446                            3111 WEST ALLEGHENY AVENUE
                                          PHILADELPHIA, PA 19178-0446                   PHILADELPHIA, PA 19132




PEPCO                                     PEPCO                                         PEPPER AMMANN
701 NINTH STREET N.W                      PO BOX 13608                                  DBA TIDBITS LLC
WASHINGTON, DC 20068                      PHILADELPHIA, PA 19101                        PO BOX 163026
                                                                                        AUSTIN, TX 78716




PEPPER LANE-NE SQUARE LOOP                PEPPER LANE-NE SQUARE LOOP, LLC               PEQUAWKET PRODUCTIONS
C/O KIDDER MATHEWS OF CA                  C/O KIDDER MATTHEWS                           DBA NORTHERN NE HOME GARDEN
PO BOX 7633                               2237 DOUGLAS BOULEVARD, SUITE 100             FLOWER SHOP
SAN FRANCISCO, CA 94120-7633              ROSEVILLE, CA 95661                           PO BOX 154
                                                                                        FRYEBURG, ME 04037



PERCY BEDFORD                             PERDUE MANAGEMENT INC.                        PEREZ MATTRESS INC.
10201 S. MAIN STREET                      1266 WEST PACES FERRY ROAD, 426               5425 SPID 178
HOUSTON, TX 77025                         ATLANTA, GA 30327                             CORPUS CHRISTI, TX 78411




PEREZ MATTRESS CO.                        PEREZ-TEJADA, MACK, ROGER RICKS II, ET        PERFECT MATTRESS
5425 S.P.I.D                              AL.                                           1900 E. COLLEGE AVE.
SUITE A                                   C/O ARROWOOD LLP                              CUDAHY, WI 53110
CORPUS CHRISTI, TX 78411                  ATTN: RAYMOND AUSROTAS
                                          10 POST OFFICE SQUARE, 7TH FLOOR
                                          BOSTON, MA 02109


PERFECT VIDEO CONFERENCING                PERFECTO RODRIGUEZ                            PERFORMANCE DRIVE PROPERTIES LLC
1317 A NEVADA HWY                         10201 S. MAIN STREET                          ATTN: DOUGLAS & RENEE STEADMAN
BOULDER CITY, NV 89005                    HOUSTON, TX 77025                             7850 FISHER RD
                                                                                        MOUNT PLEASANT, NC 28124
                       Case 18-12241-CSS
PERFORMANCE DRIVE PROPERTIES LLC             Doc 26DRIVE
                                      PERFORMANCE      Filed 10/05/18
                                                         PROPERTIES LLC     PagePERFORMANCE
                                                                                 1267 of 1739
                                                                                            EQUIPMENT
ATTN: DOUGLAS & RENEE STEADMAN        ATTN: DOUGLAS & RENEE STEADMAN,           5131 SHARP ST
7850 FISHER RD                        MANAGER                                   DALLAS, TX 75247
MT. PLEASANT, NC 28124                7850 FISHER RD
                                      MOUNT PLEASANT, NC 28124



PERFORMANCE SUPPLY CO                  PERFORMANCE TELECOMMUNICATIONS CO        PERFORMANCE TELECOMMUNICATIONS CO
30718 NW 10TH CT                       9191 F WINKLER                           PO BOX 12665
RIDGEFIELD, WA 98642                   HOUSTON, TX 77017                        HOUSTON, TX 77217




PERFORMANCE TUNING CORP                PERGAMENT INVESTMENTS INC.               PERIMETER ATLANTA SC, LLC
PO BOX 731152                          95 FROEHLICH FARM BOULEVARD              C/O KIMPT PERIMETER HOLDCO, LLC
DALLAS, TX 75373                       WOODBURY, NY 11797                       3333 NEW HYDE PARK ROAD, SUITE 100
                                                                                NEW HYDE PARK, NY 11042




PERKINS COIE LLP                       PERKINS ELECTRIC INC                     PERLA AGUIRRE
ATTN: CRAIG S. GILBERT                 223 JOHN KNOX RD                         1201 DULLES AVE 2204
10885 NE 4TH STREET, SUITE 700         TALLAHASSEE, FL 32303                    STAFFORD, TX 77477
BELLEVUE, WA 98004




PERLA IBARRA                           PERLMAN AND PERLMAN LLP                  PERMIT CONSULTANTS INC
10201 S. MAIN STREET                   41 MADISON AVE STE 4000                  2324 HAMPTON AVE
HOUSTON, TX 77025                      NEW YORK, NY 10010                       SAINT LOUIS, MO 63139




PERMIT DOCTOR                          PERMIT EXPEDITERS INC                    PERMITS UNLIMITED, INC
PO BOX 560032                          5868 WESTHEIMER STE 212                  6428 WILKINSON BLVD, 151
MIAMI, FL 33256-0032                   HOUSTON, TX 77057                        BELMONT, NC 28012




PERPARIM GLLAREVA                      PERQ HCI LLC DBA KANTAR MEDIA SRDS       PERRY BLAIR
10201 S. MAIN STREET                   1700 HIGGINS ROAD                        5317 EASTERN ST
HOUSTON, TX 77025                      DES PLAINES, IL 60018                    NEW ORLEANS, LA 70122




PERRY BROADCASTING OF AUGUSTA          PERRY FREEZE                             PERRY GABRIELE
WFXA-FM                                10201 S. MAIN STREET                     10201 S. MAIN STREET
6025 BROADCAST DR                      HOUSTON, TX 77025                        HOUSTON, TX 77025
NORTH AUGUSTA, SC 29841




PERRY MISLEY                           PERRY ONICK                              PERRY ROOFING INC
10201 S. MAIN STREET                   10201 S. MAIN STREET                     DBA PERRY ROOFING CONTRACTORS
HOUSTON, TX 77025                      HOUSTON, TX 77025                        2505 NW 71ST PL
                                                                                GAINESVILLE, FL 32653




PERRY-MAYRAND INTERNATIONAL INC        PERRYS TRANSIT LLC                       PERSAC PROPERTIES INC
DBA GLASS DOCTOR                       48 MEADOW ST                             5800 ONE PERKINS PLACE DRIVE, 9 B
8250 NW 25 ST STE 1                    CARVER, MA 02330                         BATON ROUGE, LA 70808
MIAMI, FL 33122
PERSONALI INC          Case 18-12241-CSS   DocINC
                                      PERSONALI 26      Filed 10/05/18      PagePETE
                                                                                 1268  of 1739
                                                                                     BUCK
205 E 42ND ST                         3003 TASMAN DR                            10201 S. MAIN STREET
NEW YORK, NY 10017                    SANTA CLARA, CA 95054                     HOUSTON, TX 77025




PETE JOHNSTON                         PETE JOHNSTON                             PETE MASON
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




PETE SAIMS                            PETER AND JOHN RADIO FELLOWSHIP INC       PETER ARANCIBIA
10201 S. MAIN STREET                  DBA WRBS-FM                               10201 S. MAIN STREET
HOUSTON, TX 77025                     3500 COMMERCE DR                          HOUSTON, TX 77025
                                      BALTIMORE, MD 21227




PETER BABALOLA                        PETER BAKER                               PETER BARCLAY
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




PETER BERENS                          PETER BOLTON                              PETER CHRISTOPLIS
10201 S. MAIN STREET                  DBA KNOXVILLE DOOR SERVICES               10201 S. MAIN STREET
HOUSTON, TX 77025                     7306 COATBRIDGE LANE                      HOUSTON, TX 77025
                                      KNOXVILLE, TN 37924




PETER COMPTON                         PETER CONTE                               PETER CUCCIA
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




PETER D & MARION M DANNA TRUST        PETER DE LEON GUERRERO                    PETER DEABREU
PO BOX 82552                          10201 S. MAIN STREET                      10201 S. MAIN STREET
GOLETA, CA 93118-2552                 HOUSTON, TX 77025                         HOUSTON, TX 77025




PETER DECKER                          PETER DINICOLA                            PETER DIRITO
10201 S. MAIN STREET                  10201 S. MAIN STREET                      1 HUTTER ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                         SADDLE BROOK, NJ 07663




PETER DUQUETTE                        PETER E JOHNSON BUILDING SUPPLIES INC     PETER E JOHNSON
10201 S. MAIN STREET                  298 PLAINFIELD RD                         298 PLAINFIELD ROAD
HOUSTON, TX 77025                     WEST LEBANON, NH 03784                    WEST LEBANON, NH 03784




PETER E WILLIAMS JR.                  PETER E WILLIAMS JR.                      PETER FALDETTA
318 SONORA DRIVE                      899 MESA GRANDE DRIVE                     C/O FINE LAW
SAN MATEO, CA 94402                   PALM DESERT, CA 92211                     ATTN: CHARLES FINE
                                                                                MELVILLE, NY 11747
PETER FITYAN           Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                      PETER FITZPATRICK             PagePETER
                                                                         1269FITZPATRICK
                                                                              of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




PETER GABRIEL                         PETER GATZIOLIS                    PETER GAVIDIA
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




PETER GOMEZ                           PETER GRECCO                       PETER HABERSTROH
10201 S. MAIN STREET                  10403 BRITTON LN                   10201 S. MAIN STREET
HOUSTON, TX 77025                     FISHERS, IN 46037                  HOUSTON, TX 77025




PETER HADLEY                          PETER HOSEY                        PETER HOWATT
10201 S. MAIN STREET                  339 DUNWOOD LOOP                   10201 S. MAIN STREET
HOUSTON, TX 77025                     MOUNT JULIET, TN 37122             HOUSTON, TX 77025




PETER JOHNSTON                        PETER KEAN                         PETER KLASSEN
                                      10201 S. MAIN STREET               10201 S. MAIN STREET
                                      HOUSTON, TX 77025                  HOUSTON, TX 77025




PETER KLICS                           PETER LEE                          PETER LOPEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




PETER M CARLSON                       PETER M SHORENSTEIN                PETER M. CARRELL & COMPANY, INC.
117 COMMODORE LN                      7234 MAPLE RIDGE TRAIL             115 S. KENTUCKY STREET
SMITHFIELD, VA 23430-2315             BOYNTON BEACH, FL 33437            MCKINNEY, TX 75069




PETER MADUIKE                         PETER MARTEL                       PETER MARTIN
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




PETER MEADOWCROFT                     PETER MIGLIORINI                   PETER MINNERS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




PETER MITCHELL                        PETER NAWROCKI                     PETER NINO
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025
PETER OLDS             Case 18-12241-CSS    Doc 26
                                      PETER PAGANO      Filed 10/05/18   PagePETER
                                                                              1270ROSARIO
                                                                                   of 1739
10201 S. MAIN STREET                  FIRST CAP ADVISORS LLC                 10201 S. MAIN STREET
HOUSTON, TX 77025                     120 E LIBERTY DR                       HOUSTON, TX 77025
                                      WHEATON, IL 60187




PETER RUSKIN                          PETER RUSSO                            PETER SFORZA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




PETER SOTELO                          PETER VAN BARNEVELD                    PETER VILLAFUERTE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




PETER WIEGMANN                        PETER WILLIAMS                         PETER ZIMBELMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




PETER ZWART                           PETERS, GERALD                         PETERSON EQUITIES LLC
10201 S. MAIN STREET                  10135 BERRYBRIAR LN                    1912 N TAFT AVE
HOUSTON, TX 77025                     TOMBALL, TX 77375-0431                 LOVELAND, CO 80538




PETERSON RUSSEL KELLY, PLLC           PETFUSION LLC                          PETRA COMM INC
ATTN: PATRICK MORAN                   45 PINE RIVER DR                       5114 BALCONES WOODS DR STE 307-275
10900 NE 4TH STREET, SUITE 1850       BENTLEYVILLE, OH 44022                 AUSTIN, TX 78759
BELLEVUE, WA 98004




PETRIE ELG INGLEWOOD LLC              PETRIE RICHARDSON VENTURES, LLC        PETRO COMMERCIAL SERVICES
WOODMORE TOWNE CENTRE LLC             TERRY RICHARDSON                       55-60 58TH ST
PO BOX 758947                         1919 WEST STREET, SUITE 100            MASPETH, NY 11378
BALTIMORE, MD 21275-8947              ANNAPOLIS, MD 21401




PETRO COMMERCIAL SERVICES             PETRO COMMERCIAL SERVICES              PETRO COMMERCIAL SVC
P.O. BOX 140246                       P.O. BOX 28335                         55-60 58TH ST
BROOKLYN, NY 11214-0246               NEWARK, NJ 07101-3116                  MASPETH, NY 11378




PETRO INC                             PETROCARD INC                          PETRU MURESAN
1000 WOODBURY RD STE 200              P.O. BOX 34243                         10201 S. MAIN STREET
WOODBURY, NY 11797                    SEATTLE, WA 98124-1243                 HOUSTON, TX 77025




PEWAUKEE CITY                         PEYTON COCKER                          PEYTON MARINO
ATTN: PROPERTY TAX DEPT.              10201 S. MAIN STREET                   1 GRIMES DR
W240 N3065 PEWAUKEE ROAD              HOUSTON, TX 77025                      SIMPSONVILLE, SC 29681
PEWAUKEE, WI 53072
PEYTON NORTHERN         Case 18-12241-CSS
                                       PEYTONDoc  26 Filed 10/05/18
                                              R JONES                      PagePEYTONN
                                                                                1271 ofCHOPPA
                                                                                        1739
10201 S. MAIN STREET                    1615 LEATHERWOOD DR                    10201 S. MAIN STREET
HOUSTON, TX 77025                       KATY, TX 77450                         HOUSTON, TX 77025




PG&E                                    PG&E                                   PGE
77 BEALE STREET                         P.O. BOX 997300                        121 SW SALMON ST
SAN FRANCISCO, CA 94105                 SACRAMENTO, CA 95899-7300              PORTLAND, OR 97204




PGE                                     PGI MANAGEMENT                         PGP FAYETTEVILLE, LLC
P.O. BOX 4438                           1606 N MAIN STREET                     C/O PREFERRED GROWTH PROPERTIES
PORTLAND, OR 97208-4438                 SALINAS, CA 93906                      ATTN: VP OF REAL ESTATE
                                                                               402 INDUSTRIAL LN
                                                                               BIRMINGHAM, AL 35211



PGP GARDENDALE, LLC                     PGP GARDENDALE, LLC                    PGP GARDENDALE, LLC
ATTN: LEGAL DEPARTMENT                  ATTN: PRESIDENT                        BOOK A MILLION
402 INDUSTRIAL LANE                     402 INDUSTRIAL LANE                    402 INDUSTRIAL LANE
BIRMINGHAM, AL 35211                    BIRMINGHAM, AL 35211                   BIRMINGHAM, AL 35211




PGUSA LLC                               PH DEVELOPERS LLC                      PHASE 3 COMEDY LLC
5150 GOLDLEAF CIRCLE STE 200            3930 MAX PLACE                         DBA STATION THEATER
LOS ANGELES, CA 90056                   BOYNTON BEACH, FL 33436                1230 HOUSTON AVE
                                                                               HOUSTON, TX 77007




PHAZAL ALI                              PHD CHAPEL HILL LLC                    PHD COLLEGE, LLC
23332 KEY LARGO LOOP                    3930 MAX PLACE                         C/O MSP ENTERPRISES, INC.
LAND OLAKES, FL 34639                   BOYNTON BEACH, FL 33436                ATTN: KIMBERLY HILL, COMPTROLLER
                                                                               3930 MAX PLACE
                                                                               BOYNTON BEACH, FL 33436



PHD COLLEGE, LLC                        PHD EDEN WAY, LLC                      PHD LANDSTOWN LLC
C/O MSP ENTERPRISES, INC.               C/O MSP ENTERPRISES, INC.              3930 MAX PLACE
ATTN: MARY BECKER                       3930 MAX PLACE                         BOYNTON BEACH, FL 33436
3930 MAX PLACE                          BOYNTON BEACH, FL 33436
BOYNTON BEACH, FL 33436



PHD MYRTLE BEACH LLC                    PHD MYRTLE BEACH LLC                   PHD MYRTLE BEACH LLC
ATTN: LEASE ADMIN                       C/O MSP ENTERPRISES, INC.              C/O MSP ENTERPRISES, INC.
3930 MAX PLACE                          ATTN: KIMBERLY HILL, COMPTROLLER       ATTN: ROB HICKS
BOYNTON BEACH, FL 33436                 3930 MAX PLACE                         3930 MAX PLACE
                                        BOYNTON BEACH, FL 33436                BOYNTON BEACH, FL 33436



PHD OLD WAKE FOREST LLC                 PHD WESTERN, LLC                       PHD @ COLLEGE, LLC
ATTN: KRISTEN                           C/O MSP ENTERPRISES, INC.              C/O MSP ENTERPRISES, INC.
3930 MAX PLACE                          ATTN: KIMBERLY HILL, COMPTROLLER       3930 MAX PLACE
BOYNTON BEACH, FL 33436                 3930 MAX PLACE                         ATTN: KIMBERLY HILL, COMPTROLLER
                                        BOYNTON BEACH, FL 33436                BOYNTON BEACH, FL 33436



PHD @ EDEN WAY, LLC                     PHD @ MYRTLE BEACH LLC                 PHD @ WESTERN, LLC
C/O MSP ENTERPRISES, INC.               C/O MSP ENTERPRISES, INC.              C/O MSP ENTERPRISES, INC.
3930 MAX PLACE                          3930 MAX PLACE                         3930 MAX PLACE
BOYNTON BEACH, FL 33436                 ATTN: KIMBERLY HILL, COMPTROLLER       ATTN: KIMBERLY HILL, COMPTROLLER
                                        BOYNTON BEACH, FL 33436                BOYNTON BEACH, FL 33436
PHD AT CAPITAL LLC    Case    18-12241-CSS
                                        PHD AT Doc 26 LLC
                                               COLLEGE  Filed 10/05/18   PagePHD
                                                                              1272  of 1739
                                                                                 AT MEBANE OAKS   LLC
3930 MAX PLACE                           3930 MAX PLACE                       3930 MAX PLACE
BOYNTON BEACH, FL 33436                  BOYNTON BEACH, FL 33436              BOYNTON BEACH, FL 33436




PHD AT ROXIE LLC                         PHD AT WILMINGTON LLC                PHIL COWAN
3930 MAX PLACE                           C/O MSP ENTERPRISES INC              253 BAURER CIRCLE
BOYNTON BEACH, FL 33436                  3930 MAX PLACE                       FOLSOM, CA 95630
                                         BOYNTON BEACH, FL 33436




PHIL G. RUFFIN                           PHIL HICKS                           PHIL HUDSON
P.O. BOX 17087                           10201 S. MAIN STREET                 10201 S. MAIN STREET
WICHITA, KS 67209                        HOUSTON, TX 77025                    HOUSTON, TX 77025




PHIL KANG                                PHIL MANDEL                          PHIL MANDEL
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




PHIL MARSHALL                            PHIL MAXEY                           PHIL MESSINA
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




PHIL ODELL                               PHIL POLDVEE                         PHIL ROBINETTE
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




PHIL TROUT                               PHILADELPHIA GAS WORKS               PHILADELPHIA GAS WORKS
10201 S. MAIN STREET                     800 W MONTGOMERY AVENUE              P.O. BOX 11700
HOUSTON, TX 77025                        PHILADELPHIA, PA 19122               NEWARK, NJ 07101-4700




PHILADELPHIA MEDIA NETWORK               PHILANDERS CASTRO                    PHILEMON YAWU
(NEWSPAPERS) LLC                         10201 S. MAIN STREET                 10201 S. MAIN STREET
PO BOX 822063                            HOUSTON, TX 77025                    HOUSTON, TX 77025
PHILADELPHIA, PA 19182-2063




PHILIP BONDS                             PHILIP BREEDEN                       PHILIP BUSKER
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




PHILIP CHARLES BUSKER                    PHILIP COGER                         PHILIP DIEPERNINK
13117 ZEN GARDENS WAY                    10201 S. MAIN STREET                 10201 S. MAIN STREET
AUSTIN, TX 78732                         HOUSTON, TX 77025                    HOUSTON, TX 77025
PHILIP ELGIN           Case 18-12241-CSS     Doc 26
                                      PHILIP FONDREN     Filed 10/05/18   PagePHILIP
                                                                               1273GRAMITH
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




PHILIP KOTSIOPOULOS                    PHILIP LEE PARKER                      PHILIP LIEBAU
10201 S. MAIN STREET                   4233 LOCH LANE                         10201 S. MAIN STREET
HOUSTON, TX 77025                      SAN LEANDRO, CA 94578                  HOUSTON, TX 77025




PHILIP LINKE                           PHILIP M ACCARDI                       PHILIP M MASINO JR
10201 S. MAIN STREET                   1328 SHELBY POINT                      4128 PLANT AVE
HOUSTON, TX 77025                      O FALLON, MO 63366                     PACE, FL 32571




PHILIP MARSHALL                        PHILIP MORIZIO                         PHILIP ODETTE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




PHILIP P KEATING                       PHILIP PARKER                          PHILIP POOLE
2555 WASHINGTON RD STE 610B            10201 S. MAIN STREET                   10201 S. MAIN STREET
PITTSBURGH, PA 15241                   HOUSTON, TX 77025                      HOUSTON, TX 77025




PHILIP REINISCH COMPANY LLC            PHILIP REZOAGLI                        PHILIP RIORDAN
PO BOX 159                             10201 S. MAIN STREET                   10201 S. MAIN STREET
NEWBURGH, IN 47629-0159                HOUSTON, TX 77025                      HOUSTON, TX 77025




PHILIP SHIMMEL                         PHILIP SWANSON                         PHILIP VAN WETTERING
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




PHILIP WHITE                           PHILIP WIEDEMANN                       PHILIPP LINDORFER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




PHILIPPE AUGER                         PHILIPPE DASNABEDIAN                   PHILLENE M TARONE TRUSTEE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   5971 UNION SPRINGS DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HAHIRA, GA 31632




PHILLENE M. TARONE, TRUSTEE            PHILLIP ACCARDI                        PHILLIP ANDREWS
5971 UNION SPRINGS DRIVE               1333 ASHBY RD                          10201 S. MAIN STREET
HAHIRA, GA 31632                       SAINT LOUIS, MO 63132                  HOUSTON, TX 77025
PHILLIP BAILEY            Case 18-12241-CSS
                                         PHILLIPDoc 26
                                                BORDGE      Filed 10/05/18   PagePHILLIP
                                                                                  1274 BRIGHT
                                                                                         of 1739
10201 S. MAIN STREET                      6519 WINTER MOUNTAIN LN                 10201 S. MAIN STREET
HOUSTON, TX 77025                         SPRING, TX 77379                        HOUSTON, TX 77025




PHILLIP BUTCH RUSSELL                     PHILLIP CAMP                            PHILLIP CARTER
                                          10201 S. MAIN STREET                    10201 S. MAIN STREET
                                          HOUSTON, TX 77025                       HOUSTON, TX 77025




PHILLIP CLARK                             PHILLIP GREGORY                         PHILLIP HALL
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




PHILLIP HARRELL                           PHILLIP MABIKA                          PHILLIP MARTINEZ
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




PHILLIP MARTINS DE SA                     PHILLIP MCNEAL                          PHILLIP MERCER
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




PHILLIP MIDDLEBROOKS II                   PHILLIP MOORE                           PHILLIP NORRIS
3209 CENTRAL AVE                          10201 S. MAIN STREET                    10201 S. MAIN STREET
HIGH POINT, NC 27260                      HOUSTON, TX 77025                       HOUSTON, TX 77025




PHILLIP PETERSEN                          PHILLIP RUSSELL                         PHILLIP SCALF
1321 NMILWAUKEE AVE 446                   10201 S. MAIN STREET                    10201 S. MAIN STREET
CHICAGO, IL 60622                         HOUSTON, TX 77025                       HOUSTON, TX 77025




PHILLIP WALLACE                           PHILLIP WATSON                          PHILLIP WESSON
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




PHILLIP WILLIAMS                          PHILLIPS DAYES LAW GROUP PC             PHILLIPS EDISON & COMPANY, LTD.
515 S BENDER AVE 310                      3101 N CENTRAL AVE STE 1500             ATTN: LEASE ADMINISTRATION
HUMBLE, TX 77338                          PHOENIX, AZ 85012                       DEPARTMENT
                                                                                  11501 NORTHLAKE DRIVE
                                                                                  CINCINNATI, OH 45249



PHILLIPS EDISON & COMPANY, LTD.           PHILLIPS EDISON & COMPANY, LTD.         PHILLIPS EDISON & COMPANY, LTD.
ATTN: LEGAL SERVICES                      ATTN: NIKKI DAVIDSON                    ATTN: NINA REGAN
11501 NORTHLAKE DRIVE                     11501 NORTHLAKE DRIVE                   11501 NORTHLAKE DRIVE
CINCINNATI, OH 45249                      CINCINNATI, OH 45249                    CINCINNATI, OH 45249
                      Case
PHILLIPS EDISON & COMPANY,    18-12241-CSS
                           LTD.                Doc
                                        PHILLIPS     26 & COMPANY,
                                                 EDISON    Filed 10/05/18
                                                                   LTD.     PagePHILLIPS
                                                                                 1275 of   1739LIMITED PARTNERSHIP
                                                                                         VILLAGE
ATTN: ROB MURPHY                        SCOTT MCFALL, REGIONAL PM                10866 WILSHIRE BLVD 11TH FL
11501 NORTHLAKE DRIVE                   11501 NORTHLAKE DRIVE                    LOS ANGELES, CA 90024
CINCINNATI, OH 45249                    CINCINNATI, OH 45249




PHILLIPS VILLAGE LIMITED PARTNERSHIP    PHILLIPSBURG GREENWICH LLC               PHILLISA MCDANIEL
10866 WILSHIRE BLVD, 11TH FL            9 JEFFREY PLACE                          10201 S. MAIN STREET
LOS ANGELES, CA 90024                   MONSEY, NY 10952                         HOUSTON, TX 77025




PHILOMENA BUXTON                        PHINEAS STROTHER                         PHISTON NUNGINI
2850 OAK ROAD 3308                      10201 S. MAIN STREET                     10201 S. MAIN STREET
PEARLAND, TX 77584                      HOUSTON, TX 77025                        HOUSTON, TX 77025




PHOENICIA DEVELOPMENT LLC               PHOENICIA DEVELOPMENT LLC                PHOENIX ADOBE PRTNR
C/O ORCHID BAY DEVELOPMENT LLC          C/O ORCHID BAY DEVELOPMENT LLC           C/O HARRISON PROP
7932 W. SANDLAKE ROAD, #102             7932 W. SANDLAKE ROAD, 102               5112 N 40TH ST STE 105
ORLANDO, FL 32819                       ORLANDO, FL 32819                        PHOENIX, AZ 85018




PHOENIX BRYAN                           PHOENIX QUIRIN                           PHOENIX SECURITY ACADEMY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     9800 NW FREEWAY 155
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77092




PHOENIX WELDING SUPPLY CO. INC.         PHOENIXVILLE TOWN CENTER LP              PHOKHAM VILAYLEUT
701 S 7TH ST                            1055 WESTLAKES DR STE 170                10201 S. MAIN STREET
PHOENIX, AZ 85034                       BERWYN, PA 19312                         HOUSTON, TX 77025




PHONG NGUYEN                            PHOTOCRAFT                               PHUONG PHAM
10201 S. MAIN STREET                    13555 SW MILLIKAN WAY                    6921 AIROSO AVE
HOUSTON, TX 77025                       BEAVERTON, OR 97005                      SAN DIEGO, CA 92120




PHX PRODUCTIONS                         PHYLICIA EGBUNA                          PHYLLIS DELRE
14241 N 20TH PLACE                      10201 S. MAIN STREET                     107 HAMPTON PLACE
PHOENIX, AZ 85022                       HOUSTON, TX 77025                        STATEN ISLAND, NY 10309




PHYLLIS E SAEID                         PHYLLIS RASMUSSEN                        PHYLLIS RUSSO
806 WEST WELLENS STREET                 10201 S. MAIN STREET                     3147 TOOPAL DR
PHILADELPHIA, PA 19141                  HOUSTON, TX 77025                        OCEANSIDE, CA 92058




PHYLLIS SHORTER                         PHYLLIS WOMBLE                           PHYSICAL THERAPY, INC.
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025
PI SIGMA EPSILON      Case 18-12241-CSS     Doc 26 Filed
                                     PIAM MOTTAGHIAN           10/05/18   PagePICKENS
                                                                               1276 of  1739TREASURER
                                                                                      COUNTY
WHITINGER BUSINESS BLDG RM 309       10201 S. MAIN STREET                      LOCKBOX OPERATION-TD BANK
2000 W UNIVERSITY AVE                HOUSTON, TX 77025                         PO BOX 1210
MUNCIE, IN 47306                                                               COLUMBIA, SC 29202




PICKENS                              PICKERING SQUARE LLC                      PICOA, INC.
ATTN: PROPERTY TAX DEPT.             C/O COASTAL REAL ESTATE                   10866 WILSHIRE BOULEVARD, 11TH FLOOR
PO BOX 1210                          2829 RUCKER AVENUE                        LOS ANGELES, CA 90024
COLUMBIA, SC 29202                   EVERETT, WA 98201




PICOR COMMERCIAL REAL ESTATE         PICOR COMMERCIAL REAL ESTATE              PIEDMONT ASSOCIATES LLC
SERVICES                             SERVICES                                  P.O. BOX 384
LINDA MONTES, PM                     TINA OLSON                                SHORT HILLS, NJ 07078-0384
5151 E. BROADWAY, SUITE 115          5151 E. BROADWAY 115
TUCSON, AZ 85711                     TUCSON, AZ 85712



PIEDMONT ASSOCIATES, LLC             PIEDMONT NATURAL GAS                      PIEDMONT NATURAL GAS
C/O PASBJERG DEVELOPMENT CO.         1915 REXFORD RD                           P.O. BOX 660920
P.O. BOX 384                         CHARLOTTE, NC 28211                       DALLAS, TX 75266-0920
SHORT HILLS, NJ 07078




PIEPER ELECTRIC INC. DBA SCHULTZ     PIEPER ELECTRIC INC. DBA SCHULTZ          PIERCE COUNTY ASSESSOR-TREASURER
ELECTRIC                             ELECTRIC                                  PO BOX 11621
5070 N 35TH ST                       8491 MURPHY DR                            TACOMA, WA 98411-6621
MILWAUKEE, WI 53209                  MIDDLETON, WI 53562




PIERCE COUNTY BUDGET & FINANCE       PIERCE COUNTY BUDGET & FINANCE            PIERCE COUNTY SEWER
615 S 9TH STE 100                    ATTN: PROPERTY TAX DEPT.                  9850 64TH ST W
TACOMA, WA 98405-4673                PO BOX 11621                              UNIVERSITY PLACE, WA 98467-1078
                                     TACOMA, WA 98411-6621




PIERCE COUNTY SEWER                  PIERCE COUNTY                             PIERCE MAYFIELD
P.O. BOX 11620                       ALARM PROGRAM                             10201 S. MAIN STREET
TACOMA, WA 98411-6620                PO BOX 142259                             HOUSTON, TX 77025
                                     IRVING, TX 75014-2259




PIERCE, DOLPHUS                      PIERCEN HANNAH                            PIERO PRETTO
410 MALICOAT AVE                     10201 S. MAIN STREET                      10201 S. MAIN STREET
OAKLEY, CA 94561-2759                HOUSTON, TX 77025                         HOUSTON, TX 77025




PIERRE LETOURNEAU                    PIERRE SIMMONS                            PIERRE WILLIAMS
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




PIERRE WILSON                        PIERRE-ANTOINE CHARRON                    PIERSON KAYE
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025
                      Case
PIKE COUNTY LIGHT & POWER CO 18-12241-CSS     Doc 26
                                       PIKE COUNTY   LIGHT Filed 10/05/18
                                                           & POWER CO           PagePIKES
                                                                                     1277PEAK
                                                                                          of 1739
                                                                                              TELEVISION INC
105 SCHNEIDER LANE                     P.O. BOX 1109                                 PO BOX 561
MILFORD, PA 18337                      MILFORD, PA 18337                             SAINT JOSEPH, MO 64502




PIKES PEAK TELEVISION INC               PILAR MAUNE                                  PILOT AND BASS TRUCKING
PO BOX 873808                           6411 RUBY ST APT 1                           1453 MAPLEWOOD DR
KANSAS CITY, MO 64187-3808              LOS ANGELES, CA 90042                        HARVEY, LA 70058




PILOT FREIGHT SERVICES                  PILOT FREIGHT SERVICES                       PILOT FRIEGHT CLAIMS DEPT
DEPT 2540                               PILOT AIR FREIGHT CORP                       18951 KENSWICK DR. SUITE 160
PO BOX 122540                           PO BOX 654058                                HUMBLE, TX 77338
DALLAS, TX 75312-2540                   DALLAS, TX 75265-4058




PILOT HORGAN                            PILOT MEDIA                                  PIMA COUNTY CONSOLIDATED JUSTICE
1716 DELAWARE ST                        PO BOX 826526                                COURT
HUNTINGTON BEACH, CA 92648              PHILADELPHIA, PA 19182-6526                  160 N STONE AVE
                                                                                     TUCSON, AZ 85701




PIMA COUNTY TREASURER                   PIMA COUNTY TREASURER                        PINAL COUNTY TREASURER
ATTN: PROPERTY TAX DEPT.                TREASURERS OFFICE                            P.O. BOX 729
PO BOX 29011                            PO BOX 29011                                 FLORENCE, AZ 85232-0729
PHOENIX, AZ 85038-9011                  PHOENIX, AZ 85038-9011




PINARD WASTE SYSTEMS INC                PINARD WASTE SYSTEMS INC                     PINE BROOK CENTER, LP
32 W RIVER RD                           P.O. BOX 5048                                C/O CHILDRESS KLEIN PROPERTIES
HOOKSETT, NH 03106                      MANCHESTER, NH 03108                         301 SOUTH COLLEGE STREET, SUITE 2800
                                                                                     CHARLOTTE, NC 28202-6021




PINE BROOK CENTER, LP                   PINE RD REALTY LLC                           PINE RICHLAND SCHOOL DISTRICT
C/O CHILDRESS KLEIN PROPERTIES          C/O AL B MALONE                              C/O JORDAN TAX SERVICE INC
P O BOX 60385                           490 N MAIN ST                                102 RAHWAY RD
CHARLOTTE, NC 28260                     PITTSTON, PA 18640                           MCMURRAY, PA 15317




PINE ROAD REALTY, LLC                   PINE TREE - SAU HAZEL DELL LLC               PINE TREE ALTON 1 LLC
12339 E. POINSETTIA DRIVE               PINE TREE COMMERCIAL REALT                   PO BOX 776281
SCOTTSDALE, AZ 85259                    40 SKOKIE BLVD STE 610                       CHICAGO, IL 60677
                                        NORTHBROOK, IL 60062




PINE TREE COMMERCIAL REALTY, LLC        PINE TREE COMMERCIAL REALTY, LLC             PINE TREE COMMERCIAL REALTY, LLC
ATTN: BRUCE BORUSZAK                    ATTN: GENERAL COUNSEL                        ATTN: PETER SKONKOS
40 SKOKIE BOULEVARD, SUITE 610          40 SKOKIE BOULEVARD, SUITE 610               40 SKOKIE BOULEVARD, SUITE 610
NORTHBROOK, IL 60062                    NORTHBROOK, IL 60062                         NORTHBROOK, IL 60062




PINE TREE COMMERCIAL REALTY, LLC        PINE VALLEY FW 1, LLC AND PINE VALLEY        PINECREST CARE CENTER LTD
JACLYN SWANSON                          FW 2, LLC                                    4653 TRUEMAN BLVD STE 100
40 SKOKIE BOULEVARD, SUITE 610          AND CREEKSTONE FW, LLC                       HILLIARD, OH 43026
NORTHBROOK, IL 60062                    C/O CREEKSTONE REALTY LLC
                                        66010 JOSEPH STREET
                                        VANDALIA, MI 49095
PINECREST CARE CENTER,Case
                        LTD   18-12241-CSS     Doc
                                        PINEHILL    26 OPERATING
                                                 MARKETS Filed 10/05/18
                                                                  LLC          PagePINELLAS
                                                                                    1278 ofCOUNTY
                                                                                            1739 SHERIFFS OFFICE
C/O EQUITY INC                           2530 MOMENTUM PLACE                        P.O. DRAWER 2500
4653 TRUEMAN BLVD STE 100                CHICAGO, IL 60689                          LARGO, FL 33779-2500
HILLIARD, OH 43026




PINELLAS COUNTY TAX COLLECTOR            PINELLAS COUNTY UTILITIES                  PINELLAS COUNTY UTILITIES
ATTN: PROPERTY TAX DEPT.                 14 S FT HARRISON AVE                       PO BOX 1780
PO BOX 31149                             CLEARWATER, FL 33756                       CLEARWATER, FL 33757-1780
TAMPA, FL 33631-3149




PINELLAS FEDERAL CREDIT UNION            PINELLAS PARK RETAIL LLC                   PINELLAS PARK RETAIL LLC
C/O KASS SHULER P.A.                     18167 U.S. HIGHWAY 19 N., SUITE 600        18167 US HWY 19 N STE 600
PO BOX 800                               CLEARWATER, FL 33764                       CLEARWATER, FL 33764
TAMPA, FL 33601




PINELLAS PARK RETAIL LLC                 PINEVILLE ELEC & COMMUN SYSTEM             PINEVILLE ELEC & COMMUN SYSTEM
5514 PARK BLVD                           118 COLLEGE STREET                         P.O. BOX 249
PINELLAS PARK, FL 33781                  PINEVILLE, NC 28134                        PINEVILLE, NC 28134




PINEVILLE ELECTRIC COMPANY               PINEWINDS INVESTMENTS LLC                  PINEWINDS INVESTMENTS LLC
P.O. BOX 249                             2600 FAIRVIEW RD                           ATTN: K NEAL HUNT
118 COLLEGE ST.                          RALEIGH, NC 27608                          2600 FAIRVIEW RD
PINEVILLE, NC 28134                                                                 RALEIGH, NC 27608




PINEWINDS INVESTMENTS LLC                PINK RIO LLC                               PINKERTON CONSULTING & INVESTIGATION
ATTN: K. NEAL HUNT                       C/O ATLANTIC DEVELOPMENT GROUP, LLC        INC
2600 FAIRVIEW RD                         183 MADISON AVE, SUITE 1601                PO BOX 406394
RALEIGH, NC 27608                        NEW YORK, NY 10016                         ATLANTA, GA 30384-6394




PINNACLE CONSTRUCTION GROUP LLC          PINNACLE CONSTRUCTION GROUP LLC            PINNACLE FIRE & AUTOMATION LLC
700 W 47TH ST STE 200                    8355 MELROSE DR                            329 N WACO AVE
KANSAS CITY, MO 64112                    LENEXA, KS 66214                           WICHITA, KS 67202




PINNACLE LAND CREATIONS                  PINNACLE NORTH II LLC                      PINNACLE REAL ESTATE MANAGEMENT
PO BOX 1064                              601 STATE ST 6TH FL                        200 LIPAN STREET
WOODSTOCK, IL 60098                      BRISTOL, VA 24201                          DENVER, CO 80223




PINNACLE ROOFING CO INC                  PIONEER PLASTICS INC.                      PIONEER REAL ESTATE DEVELOPMENT INC
309 23RD ST STE 360                      P.O. BOX 632209                            PENN HODGE PROP./ATTN: DANA COX
MIAMI, FL 33139                          IRVING, TX 75063                           131 ROSWELL ST STE B201
                                                                                    ALPHARETTA, GA 30009




PIONEER TELEPHONE                        PIONEER-KENT PIONEER PACKAGING             PIPER FIRE PROTECTION INC
P.O. BOX 11018                           6006 S 228TH ST                            13075 US HWY 19 N
LEWISTON, ME 04243-9469                  KENT, WA 98032-1806                        CLEARWATER, FL 33764
PIPPIN SLUIJTER         Case 18-12241-CSS     Doc 26
                                       PIPPO CATALLA      Filed 10/05/18     PagePIRTEK
                                                                                  1279 EAST
                                                                                        of 1739
                                                                                            BAY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     1502 N 34TH ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                        TAMPA, FL 33605




PISSEY-MICHELLE, LLC                    PISSEY-MICHELLE, LLC                     PITMONY MOUL
23940 US HWY 271                        C/O VENUE PROPERTIES                     10201 S. MAIN STREET
GLADEWATER, TX 75647                    PO BOX 8198                              HOUSTON, TX 77025
                                        TYLER, TX 75711-8198




PITNEY BOWES GLOBAL FIN. SRVS LLC       PITNEY BOWES                             PITT COUNTY TAX COLLECTOR
PO BOX 371887                           4720 SALISBURY RD                        ATTN: PROPERTY TAX DEPT.
PITTSBURGH, PA 15250                    JACKSONVILLE, FL 32256                   PO BOX 875
                                                                                 GREENVILLE, NC 27835-0875




PITTSBURGH HOME & GARDEN SHOW           PITTSBURGH POST GAZETTE                  PITTSFIELD
857 WESTERN AVE                         CREDIT DEPARTMENT                        ATTN: PROPERTY TAX DEPT.
PITTSBURGH, PA 15233                    2201 SWEENEY DR                          PO BOX 981063
                                        CLINTON, PA 15026                        BOSTON, MA 02298-1063




PITV LP                                 PITV, INC.                               PIUS MOZIA
BANK OF AMERICA                         C/O SUNBELT INVESTMENT HOLDINGS, INC.    10201 S. MAIN STREET
LOCKBOX FILE 56692                      8095 OTHELLO AVENUE                      HOUSTON, TX 77025
LOS ANGELES, CA 90074                   SAN DIEGO, CA 92111




PIZZA HUT OF SOUTHEAST KANSAS INC       PJ VENTURE BLDG. 2 LLC                   PJ VENTURE HD LLC
208 S MAIZE RD                          BOX 348                                  4 HENRY STREET
WICHITA, KS 67209                       COMMACK, NY 11725                        COMMACK, NY 11725




PJ VENTURE HD LLC                       PJ WALTER                                PJB CORPORATION
P.O. BOX 348                            10201 S. MAIN STREET                     2303 W BELTLING HWY
COMMACK, NY 11725                       HOUSTON, TX 77025                        MADISON, WI 53713




PK I FASHION FAIRE PLACE LP             PK I FASHION FAIRE PLACE LP              PK I FASHION FAIRE PLACE LP
C/O KIMCO REALTY CORPORATION            C/O KIMCO REALTY CORPORATION             DEPT CODE SCAS 1455
ATTN: LEGAL DEPARTMENT                  ATTN: LEGAL DEPARTMENT                   PO BOX 82565
1621-B SOUTH MELROSE DRIVE              3333 NEW HYDE PARK ROAD, SUITE 100       GOLETA, CA 93118-2565
VISTA, CA 92081                         NEW HYDE PARK, NY 11042-0020



PK I LA VERNE TOWN CENTER LP            PK I LA VERNE TOWN CENTER LP             PK I NORTH COUNTY PLAZA LP
C/O KIMCO REALTY CORPORATION            C/O KIMCO REALTY CORPORATION             C/O KIMCO REALTY CORPORATION
ATTN: LEGAL DEPARTMENT                  ATTN: LEGAL DEPARTMENT                   3333 NEW HYDE PARK ROAD, SUITE 100
1621-B SOUTH MELROSE DRIVE              3333 NEW HYDE PARK ROAD, SUITE 100       NEW HYDE PARK, NY 11042-0020
VISTA, CA 92081                         NEW HYDE PARK, NY 11042-0020



PK I NORTH COUNTY PLAZA LP              PK I NORTH COUNTY PLAZA LP               PK I SUNSET ESPLANADE LLC
C/O KIMCO REALTY CORPORATION            PO BOX 82565                             ATTN: KAREN CHUI
ATTN: LEGAL DEPARTMENT                  GOLETA, CA 93118-2565                    PO BOX 94704
1621-B SOUTH MELROSE DRIVE                                                       LAS VEGAS, NV 89193-4704
VISTA, CA 92081
                      Case 18-12241-CSS
PK I SUNSET ESPLANADE LLC                    Doc ESPLANADE
                                      PK I SUNSET 26 FiledLLC
                                                            10/05/18       PagePK
                                                                                1280    of 1739
                                                                                  II EL CAMINO NORTH LP
C/O RED DEVELOPMENT, LLC              ONE EAST WASHINGTON ST STE 300            C/O KIMCO REALTY CORPORATION
ONE EAST WASHINGTON STREET, SUITE 300 PHOENIX, AZ 85004                         3333 NEW HYDE PARK ROAD, SUITE 100
PHOENIX, AZ 85004                                                               NEW HYDE PARK, NY 11042-0020




PK II EL CAMINO NORTH LP             PK II EL CAMINO NORTH LP                   PK II EL CAMINO NORTH LP(DBA)
C/O KIMCO REALTY CORPORATION         PRK HOLDINGS II LP                         PRK HOLDINGS II LP
ATTN: LEGAL DEPARTMENT               PO BOX 82565                               PO BOX 82565
1621-B SOUTH MELROSE DRIVE           GOLETA, CA 93118-2565                      GOLETA, CA 93118-2565
VISTA, CA 92081



PKB COMPANY LLC                      PKB COMPANY LLC                            PL CHERRYDALE POINT, LLC
14675 TITUS ST                       C/O REALTYLINK LLC (SMITHFIELD, NC)        C/O KIMCO REALTY CORPORATION
PANORAMA CITY, CA 91402              550 SOUTH MAIN STREET, SUITE 300           3333 NEW HYDE PARK ROAD, SUITE 100
                                     GREENVILLE, SC 29601                       NEW HYDE PARK, NY 11042




PL MESA PAVILLIONS LLC               PL PENTAGON LLC                            PL PENTAGON LLC
P.O. BOX 82565                       C/O KIMCO REALTY CORPORATION               C/O KIMCO REALTY CORPORATION
DEPT. CODE: SAZM 1659                1954 GREENSPRING DRIVE, SUITE 330          3333 NEW HYDE PARK ROAD, SUITE 100
GOLETA, CA 93118-2565                TIMONIUM, MD 21093                         NEW HYDE PARK, NY 11042




PL PENTAGON LLC                      PLACED INC                                 PLACER COUNTY SHERIFFS OFFICE
DEPT CODE SVAA1162B                  1501 4TH AVE SUITE 2500                    CIVIL DIVISION
PO BOX 6203                          SEATTLE, WA 98101                          2929 RICHARDSON DR
HICKSVILLE, NY 11802-6203                                                       AUBURN, CA 95603




PLACER COUNTY TAX COLLECTOR          PLACER COUNTY WATER AGENCY                 PLACER COUNTY WATER AGENCY
2976 RICHARDSON DRIVE                144 FERGUSON ROAD                          P.O. BOX 45808
AUBURN, CA 95603                     AUBURN, CA 95603                           SAN FRANCISCO, CA 94145-0808




PLAINFIELD CHARTER TOWNSHIP          PLAINFIELD CHARTER TOWNSHIP                PLAINVIEW WATER DISTRICT
6161 BELMONT AVE NE                  WATER DEPT, 6161 BELMONT AVE NW            10 MANETTO HILL RD
BELMONT, MI 49306                    BELMONT, MI 49306                          PLAINVIEW, NY 11803




PLAINVIEW WATER DISTRICT             PLAINVILLE                                 PLAISTOW PROJECT LLC
P.O. BOX 9113                        ATTN: PROPERTY TAX DEPT.                   C/O NORTHSTAR CENTERS LLC
PLAINVIEW, NY 11803-9013             PO BOX 1795                                150 EAST 58TH ST., SUITE 2001
                                     PLAINVILLE, MA 02762                       NEW YORK, NY 10155




PLAISTOW PROJECT LLC                 PLAISTOW PROJECT LLC                       PLAISTOW PROJECT LLC
C/O NORTHSTAR CENTERS LLC            C/O NORTHSTAR PROPERTIES LLC               C/O NORTHSTAR PROPERTIES LLC
3 EDGEWATER DR., SUITE 205           150 E 58TH ST STE 2001                     150 EAST 58TH ST., SUITE 2001
NORWOOD, MA 02062                    NEW YORK, NY 10155                         NEW YORK, NY 10155




PLANESMART AVIATION LLC              PLANESMART HOUSTON LLC                     PLANESMART HOUSTON LLC
15841 ADDISON RD                     18000 GROESCHKE RD HANGAR G4               4504 BRAEBURN DR
ADDISON, TX 75001                    HOUSTON, TX 77084                          BELLAIRE, TX 77401
                     Case
PLANNING & NEIGHBORHOOD         18-12241-CSS    Doc 26 FESTIVAL
                                          PLANO BALLOON  Filed INC
                                                                10/05/18   PagePLANO
                                                                                1281PIN
                                                                                     of CO.
                                                                                        1739
DEVELOPMENT                                PO BOX 867706                       1410 SUMMIT AVE. STE. 3
35 CABARRUS AVE W                          PLANO, TX 75086                     PLANO, TX 75074
CONCORD, NC 28025




PLANS EXAMINERS INC                        PLANT MAINTENANCE EQUIPMENT &       PLATINUM SECURITY INC
1000 CHURCH HILL RD                        SUPPLIES INC                        11300 W OLYMPIC BLVD STE 900
STE 210                                    PO BOX 6205                         LOS ANGELES, CA 90064
PITTSBURGH, PA 15205                       KENT, WA 98064




PLATO A MARINAKOS JR ARCHITECT LLC         PLATO N PAVLATOS                    PLATTE COUNTY COLLECTOR
1628 JOHN F KENNEDY BLVD 2ND FL            2675 WOODTHRUSH RD                  ATTN: SHEILA PALMER
PHILADELPHIA, PA 19103                     SPRINGFIELD, OH 45502               415 3RD ST ROOM 212
                                                                               PLATTE CITY, MO 64079




PLATTE COUNTY COLLECTOR                    PLATTE COUNTY TAX COLLECTOR         PLAZA AT JORDAN LANDING LLC
ATTN: SHEILA PALMER                        ATTN: PROPERTY TAX DEPT.            5850 AVENIDA ENCINAS STE A
415 3RD ST ROOM 212                        415 3RD ST ROOM 212                 CARLSBAD, CA 92008
PLATTE, MO 64079-8475                      PLATTE CITY, MO 64079




PLAZA AT JORDAN LANDING LLC                PLAZA AT WILLIAMS CENTER, LLC       PLAZA AT WILLIAMS CENTER, LLC
FILE 1384                                  5850 AVENIDA ENCINAS STE A          C/O LARSEN BAKER, LLC
PASADENA, CA 91199-1384                    CARLSBAD, CA 92008                  6298 E. GRANT RD, SUITE 100
                                                                               TUCSON, AZ 85712




PLAZA AT WILLIAMS CENTER, LLC              PLAZA CENTER LLC                    PLAZA ON MANHATTAN ASSOCIATES, LLC
FILE 1384                                  13100 SOUTHWEST FWY ST 100          C/O SRSA GULF SOUTH MANAGEMENT
PASADENA, CA 91199-1384                    SUGAR LAND, TX 77478                2555 SEVERN AVENUE, SUITE 200
                                                                               METAIRIE, LA 70002




PLAZA POINT LLC                            PLAZA POINTE LLC                    PLAZA POINTE LLC
C/O M & J WILKOW PROPERTIES, LLC           20 S CLARK ST STE 3000              PO BOX 775130
20 SOUTH CLARK STREET, SUITE 3000          CHICAGO, IL 60603                   CHICAGO, IL 60677-5130
CHICAGO, IL 60603




PLAZA RESEARCH                             PLAZACORP                           PLAZAMILL, LP
5333 WESTHEIMER RD ST 550                  200 W MICHGAN AVE, 201              C/O PICOA, INC.
HOUSTON, TX 77056                          KALAMAZOO, MI 49007                 10866 WILSHIRE BOULEVARD, 11TH FLOOR
                                                                               LOS ANGELES, CA 90024




PLCS CORP DBA CHICAGO GUARANTEE            PLDSPE LLC                          PLEASANT HILL STATION LLC
SURVEY CO                                  PO BOX 198267                       20343 N HAYDEN RD STE 105-333
PO BOX 92170                               ATLANTA, GA 30384                   SCOTTSDALE, AZ 85255
ELK GROVE VILLAGE, IL 60009




PLEASANT PRAIRIE FIRE & RESCUE DEPT        PLEASANT PRAIRIE UTILITIES          PLEASANTON GARBAGE SERVICE
8044 88TH AVE                              9915 39TH AVE                       3110 BUSCH ROAD
PLEASANT PRAIRIE, WI 53158                 PLEASANT PRAIRIE, WI 53158          PLEASANTON, CA 64566
                     Case
PLEASANTON GARBAGE SERVICE      18-12241-CSS    Doc 26
                                          PLEASANTON      FiledLP10/05/18
                                                     PARTNERS,                    PagePLEASANTON
                                                                                       1282 of 1739
                                                                                                 SQ PARTNERS
P.O. BOX 399                               C/O MIMCO, INC.                             REYNOLDS AND BROWN
PLEASANTON, CA 94566                       6500 MONTANA AVE                            1200 CONCORD AVE STE 200
                                           EL PASO, TX 79925                           CONCORD, CA 94520




PLEASANTON SQUARE 1 PARTNERS, LP           PLISKIN REALTY AND DEVELOPMENT, INC.        PLOVER RETAIL LLC
C/O REYNOLDS & BROWN                       591 STEWART AVENUE, SUITE 100               C/O NYLA GRP LLC
1200 CONCORD AVENUE, SUITE 200             ATTN: CHARLES BIMBA                         540 SUNRISE BAY RD
CONCORD, CA 94520                          GARDEN CITY, NY 11530                       NEENAH, WI 54956




PLOVER                                     PLP PV LLC                                  PLR REAL ESTATE DEVELOPMENT, LLC
ATTN: PROPERTY TAX DEPT.                   C/O SAF INVESTMENTS                         13 SETTLER GREEN
P.O. BOX 37                                PO BOX 6166                                 NORTH CONWAY, NH 03860
PLOVER, WI 54467                           SCOTTSDALE, AZ 85261




PLR REAL ESTATE DEVELOPMENT, LLC           PLS MESQUITE PROPERTIES LP                  PLS MESQUITE PROPERTIES LP
C/O OVP MANAGEMENT, INC.                   1 S WACKER DR FL 36                         300 N ELIZABETH ST STE 4E
2 COMMON COURT, UNIT C13                   CHICAGO, IL 60606-4603                      CHICAGO, IL 60607
NORTH CONWAY, NH 03860




PLS MESQUITE PROPERTIES, L.P.              PLS MESQUITE PROPERTIES, L.P.               PLS MESQUITE PROPERTIES, L.P.
300 N ELIZABETH ST STE 4E                  ATTN: KEN CRANE                             ATTN: KEVIN MCCORD
CHICAGO, IL 60607                          1 SOUTH WACKER DRIVE, 36TH FLOOR            1 SOUTH WACKER DRIVE, 36TH FLOOR
                                           CHICAGO, IL 60606                           CHICAGO, IL 60606




PLS MESQUITE PROPERTIES, L.P.              PLS MESQUITE PROPERTIES, L.P.               PLS MESQUITE PROPERTIES, L.P.
ATTN: REAL ESTATE DEPARTMENT               ATTN: REAL ESTATE DEPARTMENT                ATTN: SABINA MIRINTCHEV
1 SOUTH WACKER DRIVE, 36TH FLOOR           1 SOUTH WACKER DRIVE, 36TH FLOOR            1 SOUTH WACKER DRIVE, 36TH FLOOR
CHICAGO, IL 60606                          CHICAGO, IL 60606-4603                      CHICAGO, IL 60606




PLUMAS PINES GOLF COURSE LP                PLUMB LINE INC                              PLUYMERT, MACDONALD & HARGROVE, LTD.
ATTN: KIRK MGMT                            DBA EBERHART SOFTWARE CONSULTING            ATTN: KENNETH W. BOSWORTH, ESQ.
1524 1/2 STATE ST                          5296 NEWTON ROAD                            2300 BARRINGTON ROAD, SUITE 220
SANTA BARBARA, CA 93101                    PLACERVILLE, CA 95667                       HOFFMAN ESTATES, IL 60169




PLYMOUTH TOWNSHIP                          PM REALTY GROUP                             PM REALTY GROUP
ATTN: PROPERTY TAX DEPT.                   3737 BUFFALO SPEEDWAY, SUITE 650            CHERNY WILLIAM ATOBRAH
700 BELVOIR RD                             HOUSTON, TX 77098                           1560 WEST BAY AREA BLVD., SUITE 290
PLYMOUTH MEETING, PA 19462                                                             FREINDSWOOD, TX 77456




PMA ADVISORS                               PMAT ALGIERS PLAZA, LLC                     PMAT ALGIERS PLAZA, LLC
LOIS RODRIGUEZ, ASST PROPERTY              C/O PROPERTY ONE, INC.                      C/O PROPERTY ONE, INC.
MANAGER                                    3500 N. CAUSEWAY BLVD., STE. 600            PO BOX 674397
12314-B EAST 17TH STREET                   METAIRIE, LA 70002                          DALLAS, TX 75267-4397
SANTA ANA, CA 92701



PMB BROADCASTING LLC DBA WCGQ-FM           PMB BROADCASTING LLC DBA WKCN-FM            PMB BROADCASTING LLC DBA WLTC-FM
1820 WYNNTON RD                            1820 WYNNTON RD                             1820 WYNNTON RD
COLUMBUS, GA 31906                         COLUMBUS, GA 31906                          COLUMBUS, GA 31906
                     Case
PMB BROADCASTING LLC DBA   18-12241-CSS
                         WRLD-FM     PMCM-TVDoc
                                             DBA26
                                                 WJLP Filed   10/05/18    PagePMCO
                                                                               1283LLC
                                                                                     ofDBA
                                                                                        1739
                                                                                           RENTAL PROPERTY PROF
1820 WYNNTON RD                      1329 CAMPUS PKWY                          1102 E SONTERRA BLV STE 106
COLUMBUS, GA 31906                   NEPTUNE, NJ 07753                         SAN ANTONIO, TX 78258




PMF RENTALS                           PMX AGENCY LLC                           PN PLAZA INVESTMENTS LP
124 PLUNKETT DR                       ATTN: ACCOUNTS RECEIVABLE                P.O. BOX 202220
ZELIENOPLE, PA 16063                  ONE WORLD TRADE CENTER 63RD FLOOR        DEPT. 4279
                                      NEW YORK, NY 10007                       DALLAS, TX 75320-2220




PNC BANK N.A.                         PNC BANK                                 PNC REALTY INVESTORS, INC.
ATTN: JUDY FERRELL                    6750 MILLER RD                           ATTN: ASSET MANAGEMENT
101 NORTH POINTE BOULEVARD            BRECKSVILLE, OH 44141                    575 MARKET STREET, SUITE 2900
MAIL STOP U1-U023-03-1                                                         SAN FRANCISCO, CA 94105
LANCASTER, PA 17601



PNG MEDIA LLC                         PNHP REALTY LLC                          PNHP REALTY LLC
29088 AIRPARK DR                      144 GOULD ST STE 152                     144 GOULD ST STE 152
EASTON, MD 21601                      NEEDHAM HEIGHTS, MA 02494-2337           NEEDHAM HEIGHTS, MA 02494-2337




PNHP REALTY LLC                       PNWP LLC #4                              PO BOULEVARD APARTMENT DEVELOPERS
C/O SUPERVALU INC.                    P.O. BOX 2206                            ILP
ATTN: LEGAL DEPT. (STORE 7412)        BEAVERTON, OR 97075                      1750 SKY LARK
250 EAST PARKCENTER BOULEVARD                                                  HOUSTON, TX 77056
BOISE, ID 83706



POCONO RECORD                         PODIUM CORPORATION INC                   PODOLSKY CIRCLE LLC
LOCKBOX 223581                        3301 N THANKSGIVING WAY STE 500          DENNIS D. PIERCE, PROPERTY MANAGER
500 ROSS ST 154-0455                  LEHI, UT 84043                           1700 W. HIGGINS ROAD, SUITE 280
PITTSBURGH, PA 15251                                                           DES PLAINES, IL 60018




PODS ENTERPRISES INC.                 POE & CROCK RE GROUP INC                 POE & CRONK REAL ESTATE GROUP
PO BOX 791003                         10 S JEFFERSON ST STE 1200               ATTN: DENNIS CRONK
BALTIMORE, MD 21279-1003              ROANOKE, VA 24011                        10 SOUTH JEFFERSON STREET, SUITE 1200
                                                                               ROANOKE, VA 24011




POE AFFILIATES, LP                    POINT FIVE DEVELOPMENT STEELCROFT        POINT FIVE GOLDSBORO, LLC
C/O SCHUR MANAGEMENT COMPANY LTD      LLC                                      ATTN: SUSAN POISSANT
2432 GRAND CONCOURSE                  ATTN: JOHN ZAVAGLIA                      333 W WASHINGTON ST., SUITE 610
BRONX, NY 10458                       7075 MANLIUS CENTER RD                   SYRACUSE, NY 13202
                                      EAST SYRACUSE, NY 13057



POINTSMITH LP                         POLARIS CIRCUIT CITY, LLC                POLARIS CIRCUIT CITY, LLC
P.O. BOX 674278                       C/O COLLIERS INTERNATIONAL               C/O GRUBB & ELLIS/ADENA COMMERCIAL
DALLAS, TX 75267-4278                 8800 LYRA DRIVE, SUITE 650               8800 LRA DR STE 150
                                      COLUMBUS, OH 43240                       COLUMBUS, OH 43240




POLINA RUSSELL                        POLK COUNTY FLORIDA                      POLK COUNTY TAX COLLECTOR
3625 DUVAL RD APT 1231                TAX COLLECTOR                            ATTN: PROPERTY TAX DEPT.
AUSTIN, TX 78759                      P.O. BOX 1189                            P.O. BOX 1189
                                      BARTOW, FL 33831-1189                    BARTOW, FL 33831-1189
POLK COUNTY UTILITIES Case      18-12241-CSS    Doc 26
                                          POLK COUNTY      Filed 10/05/18
                                                      UTILITIES                  PagePOLK
                                                                                      1284  of 1739 COMPANY
                                                                                          MECHANICAL
1011 JIM KEENE BLVD                        P.O. BOX 2019                             2425 DILLARD ST
WINTER HAVEN, FL 33880                     BARTOW, FL 33831-3019                     GRAND PRAIRIE, TX 75051




POLLARD, STEVEN                            POLO MATTHEWS                             POLO TOWNE CROSSING PLANO TX LP
1150 FOOTHILL BLVD                         10201 S. MAIN STREET                      270 COMMERCE DR
OAKLAND, CA 94606-3825                     HOUSTON, TX 77025                         ROCHESTER, NY 14623-3506




POLO TOWNE CROSSING PLANO TX LP            POLO TOWNE CROSSING PLANO TX LP           POLO TOWNE CROSSING PLANO, TX, LP
CREST COMMERCIAL REAL ESTATE               CREST COMMERCIAL REAL ESTATE              10250 CONSTELLATION BOULEVARD, SUITE
9330 LBJ FREEWAY STE 1080                  9330 LBJ FREEWAY STE 1080                 2850
DALLAS, TX 75243                           DALLAS, TX 75243-3445                     LOS ANGELES, CA 90067




POLO TOWNE CROSSING PLANO, TX, LP          POMEGRANATE REAL ESTATE                   PONCHO REEDY
CREST COMMERCIAL REAL ESTATE               33 ROCK HILL ROAD, SUITE 350              10201 S. MAIN STREET
9330 LBJ FREEWAY STE 1080                  BALA CYNWYD, PA 19004                     HOUSTON, TX 77025
DALLAS, TX 75243-3445




PONDEROSA LAND DEVELOPMENT                 POOLE, PHILIP                             POP REALTY CORPORATION
COMPANY                                    11425 MISTY ISLE LN                       PAUL GAGLIOTO
ATTN: JAMES W. CHANG                       RIVERVIEW, FLORIDA 33579-9709             275 ROUTE 22 EAST
550 WESTCOTT STREET, SUITE 550                                                       SPRINGFIELD, NJ 07081
HOUSTON, TX 77007



POP VIDEO                                  POPCO INC DBA IDEAL PURE WATER            POPE SECURITY SYSTEMS INC
1640 E T.C. JESTER 535                     PO BOX 70                                 PO BOX 1047
HOUSTON, TX 77008                          BOYS TOWN, NE 68010                       CONWAY, NH 03818




POPEYE ASSETS LLC                          POPLAR CENTER DEVELOPMENT                 POPPULO INC
ATTN: LEGAL DEPARTMENT                     C/O LURIE & ASSOC. LLC                    1601 TRAPELO RD STE 222
98 CUTTERMILL ROAD, SUITE 444              PO BOX 1086 DEPT B                        WALTHAM, MA 02451
GREAT NECK, NY 11021                       PARIS, TN 38242




POPPULO INC                                POPTENT, INC.                             PORLIER OUTDOOR ADVERTISING
RESERVOIR PLACE                            2753 CAMINO CAPISTRANO, SUITE A-200       1027 NORTH SERVICE RD WEST
1601 TRAPELO RD                            SAN CLEMENTE, CA 92672                    FORISTELL, MO 63348
WALTHAM, MA 02451




PORT ALLEN MGMT, LLC                       PORT ALLEN MGMT, LLC                      PORT ARTHUR NEWSMEDIA LLC
C/O HSA COMMERCIAL INC                     C/O HSA COMMERCIAL INC                    PO BOX 789
100 S WACKER DR STE 950                    100 SOUTH WACKER DRIVE, SUITE 950         PORT ARTHUR, TX 77641
CHICAGO, IL 60606                          DAVID JONES
                                           CHICAGO, IL 60606



PORT RICHEY 1031 LLC                       PORTAGE CO WATER RESOURCES                PORTAGE CO WATER RESOURCES
PO BOX 535602                              449 S MERIDIAN ST                         P.O. BOX 812
ATLANTA, GA 30353-5602                     3RD FL                                    RAVENNA, OH 44266-0812
                                           RAVENNA, OH 44266
                       Case
PORTAGE COUNTY TREASURER       18-12241-CSS   Doc
                                         PORTAGE   26 WATER
                                                 COUNTY Filed RESOURCES
                                                              10/05/18 PagePORTAGE
                                                                            1285 ofCROSSING
                                                                                    1739 1350 LLC
1516 CHURCH ST                           DEPT                                DBA PORTAGE CROSSING N LLC
STEVENS POINT, WI 54481-3501             449 S MERIDIAN ST                   1350 W 3RD ST
                                         PO BOX 812                          CLEVELAND, OH 44113
                                         RAVENNA, OH 44266-0812



PORTAGE CROSSING NORTH LLC               PORTAGE CROSSING REALTY, LLC        PORTAGE WESTNEDGE PROPERTIES LLC
1350 W 3RD ST                            7110 COLESBROOKE DR                 24925 VISTA VERENDA
CLEVELAND, OH 44113                      HUDSON, OH 44236                    WOODLAND HILLS, CA 91367




PORTAGE WESTNEDGE PROPERTIES LLC         PORTAL ARCHITECTS INC               PORTAL ARCHITECTS INC
C/O ALTERMAN COMMERCIAL RE               2232 S MAIN ST                      801 W ELLSWORTH RD STE 200
PO BOX 191228                            ANN ARBOR, MI 48103                 ANN ARBOR, MI 48108
ATLANTA, GA 31119




PORTER COUNTY AGRICULTURAL SOCIETY       PORTER COUNTY TREASURER             PORTER
INC                                      PO BOX 2150                         ATTN: PROPERTY TAX DEPT.
217 E DIVISION RD                        VALPARAISO, IN 46384-2150           PO BOX 2150
VALPARAISO, IN 46383                                                         VALPARAISO, IN 46384-2150




PORTERS VALE SHOPPING CENTER LLC         PORTIA SABIDO                       PORTLAND AIR FREIGHT INC
4847 SOLUTION CENTER                     22202 PELICAN CREEK                 DBA PAF TRANSPORTATION
CHICAGO, IL 60677-4008                   SAN ANTONIO, TX 78258               PO BOX 730
                                                                             SCARBOROUGH, ME 04070




PORTLAND DISPOSAL & RECYCLING            PORTLAND DISPOSAL & RECYCLING       PORTLAND GENERAL ELECTRIC
7202 NE 42ND AVENUE                      7202 NE 42ND                        121 SW SALMON ST
PORTLAND, OR 97218                       PORTLAND, OR 97218                  PORTLAND, OR 97204




PORTLAND GENERAL ELECTRIC                PORTLAND POLICE ALARM               PORTLAND PRESS HERALD
P.O. BOX 4438                            PO BOX 1867                         PO BOX 11349
PORTLAND, OR 97208-4438                  PORTLAND, OR 97207-1867             PORTLAND, ME 04104




PORTLAND RADIO GROUP                     PORTWOOD DELIVERY                   POS CONCEPTS CONSULTING LLC
420 WESTERN AVE                          4737 HANNOVER AVE                   2829 CLEAVE DR
SOUTH PORTLAND, ME 04106                 SAINT LOUIS, MO 63123               FALLS CHURCH, VA 22042




POSEIDON INV INC                         POSEIDON INVESTMENTS, INC.          POSH PROPERTIES
1180 SPRING CENTRE S BLVD STE 102        6001 BRICK CT., SUITEE 202          ATTN: MR JOSEPH C POSH
ALTAMONTE SPRINGS, FL 32714              WINTER PARK, FL 32792               2216 WILLOW PARK RD
                                                                             BETHLEHEM, PA 18020




POST BULLETIN                            POST NEWSWEEK STATIONS OF FLORIDA   POST OAK TROPHIES
PO BOX 6118                              3401 WEST HALLANDALE BEACH BLVD     10908 S POST OAK
ROCHESTER, MN 55903-6118                 PEMBROKE PARK, FL 33023             HOUSTON, TX 77035
POST OAK TROPHIES         Case 18-12241-CSS    Doc 26
                                         POST REGISTER      Filed 10/05/18       PagePOST
                                                                                      1286  of 1739
                                                                                          REGISTER
P.O. BOX 2286                             333 NORTHGATE MILE                         PO BOX 1800
BELLAIRE, TX 77402-2286                   IDAHO FALLS, ID 83401                      IDAHO FALLS, ID 83403




POST ROAD REALTY LLC                      POST SQUARE SHOPPING CENTER, GP            POST SQUARE SHOPPING CENTER, GP
ATTN: JOANNA SIMONE                       3011 ARMORY DR STE 120                     P.O. BOX 50378
1250 WATERS PLACE-PH1                     NASHVILLE, TN 37204                        NASHVILLE, TN 37205
BRONX, NY 10461




POSTMASTER GENERAL                        POTOMAC 2017, LLC                          POTOMAC EDISON
EASTWOOD STATION                          C/O HEIDENBERG PROPERTIES                  76 SOUTH MAIN STREET
5415 LAWNDALE ST                          234 CLOSTER DOCK RD                        AKRON, OH 44308
HOUSTON, TX 77023-9998                    CLOSTER, NJ 07624




POTOMAC EDISON                            POTOMAC FESTIVAL LLC                       POTOMAC FESTIVAL, LLC
P.O. BOX 3615                             8405 GREENSBORO DR                         C/O RAPPAPORT MANAGEMENT COMPANY
AKRON, OH 44309-3615                      FL 8                                       8405 GREENSBORO DRIVE, SUITE 830
                                          MCLEAN, VA 22102                           MCLEAN, VA 22102-5121




POTOMAC FESTIVAL, LLC                     POTOMAC RUN, LLC                           POTOMAC RUN, LLC
P.O. BOX 310339                           C/O KIMCO REALTY CORPORATION               PO BOX 6203
DES MOINES, IA 50331-0339                 3333 NEW HYDE PARK ROAD, SUITE 100         HICKSVILLE, NY 11802-6203
                                          NEW HYDE PARK, NY 11042




POTOMAC STATION (E&A) LLC                 POTTER & COMPANY                           POTTER PROPERTIES GROUP, LLC
DEPT 2298 PO BOX 822315                   1604 HILLTOP W EXECUTIVE CTR STE 202       1604 HILLTOP WEST
PHILADELPHIA, PA 19182                    VIRGINIA BEACH, VA 23451                   EXECUTIVE CENTER, SUITE 202
                                                                                     VIRGINIA BEACH, VA 23451




POUGHKEEPSIE JOURNAL                      POUGHKEEPSIE PLAZA LLC                     POUGHKEEPSIE PLAZA LLC
PO BOX 822837                             275 N FRANKLIN TURNPIKE                    275 N. FRANKLIN TURNPIKE
PHILADELPHIA, PA 19182-2837               PO BOX 369                                 PO BOX 369
                                          RAMSEY, NJ 07446                           RAMSEY, NJ 07446




POUGHKEEPSIE PLAZA LLC                    POUGHKEEPSIE PLAZA LLC                     POUGHKEEPSIE PLAZA MALL LLC
C/O POUGHKEEPSIE PLAZA MALL, LLC          C/O PYRAMID CONSTRUCTION COMPANY           8 DEPOT SQUARE
8 DEPOT SQUARE                            LLC                                        TUCKAHOE, NY 10707
ATTN: ROBERT MEHLICH, JR.                 275 NORTH FRANKLIN TURNPIKE
TUCKAHOE, NY 10707                        RAMSEY, NJ 07446-0369



POUGHKEEPSIE PLAZA MALL LLC               POWAY CITY S.C., L.P.                      POWAY CITY S.C., L.P.
C/O MEHLICH ASSOCIATES                    C/O KIMCO REALTY CORPORATION               C/O KIMCO REALTY CORPORATION
8 DEPOT SQUARE                            1621-B SOUTH MELROSE DRIVE                 ATTN: LEGAL DEPARTMENT
TUCKAHOE, NY 10707                        ATTN: LEGAL DEPARTMENT                     3333 NEW HYDE PARK ROAD, SUITE 100
                                          VISTA, CA 92081                            NEW HYDE PARK, NY 11042-0020



POWAY CITY S.C., L.P.                     POWELL STREET PLAZA                        POWELL STREET PLAZA
C/O KIMCO REALTY CORPORATION              5701-5795 CHRISTIE AVE                     REGENCY CENTERS LP
ATTN: LEGAL DEPARTMENT                    EMERYVILLE, CA 94608                       PO BOX 31001 0725
P.O. BOX 5020                                                                        PASADENA, CA 91110
NEW HYDE PARK, NY 11042-0020
                     Case
POWELL-SMOKEY POINT LLC      18-12241-CSS
                                       POWERDoc
                                            & RAY26
                                                  LLC Filed 10/05/18           PagePOWER
                                                                                    1287 DEPOT
                                                                                         of 1739
                                                                                               INC.
C/O POWELL DEVELOPMENT CO.              C/O VESTAR PROPERTIES INC                   3553 NW 78TH AVE
ATTN: TARA KIRKLAND                     2425 E CAMELBACK RD 750                     MIAMI, FL 33122-1134
P.O. BOX 97070                          PHOENIX, AZ 85016
KIRKLAND, WA 98083



POWER OF ONE, LLC                       POWER OF ONE, LLC                           POWER PLATE NORTH AMERICA
243 BAMBERG DR                          5 CENTRE DRIVE                              18100 VON KARMAN SUITE 150
BLUFFTON, SC 29910                      BLUFFTON, SC 29910                          IRVINE, CA 92612




PP4 LLC                                 PPA                                         PPG SHADOW REAL ESTATE LLC
TIC 407 COX RD/ATTN: JOE PEARSON        PO BOX 1867                                 C/O PECO REAL ESTATE PARTNERS, LLC
1422 BURTONWOOD DR STE 200              PORTLAND, OR 97207                          1790 BONANZA DRIVE, SUITE 201
GASTONIA, NC 28054                                                                  ATTN: SARA J. BRENNAN, COO
                                                                                    PARK CITY, UT 84060



PPG SHADOW REAL ESTATE LLC              PPG SHADOW REAL ESTATE LLC                  PPG VENTURE I L.P.
C/O PECO REAL ESTATE PARTNERS, LLC      C/O PECO REAL ESTATE PARTNERS, LLC          P.O. BOX 952235
590 E. GALBRAITH ROAD, SUITE 1000       5905 GALBRAITH ROAD, SUITE 1000             SAINT LOUIS, MO 63195
ATTN: NUMA JEROME, VP OF LEASING        ATTN: VIVIAN M. KNIGHT, VP LEGAL SER
CINCINNATI, OH 45236                    CINCINNATI, OH 45236



PPI BIRDIE 1 LTD                        PPJ LLC                                     PPL ELECTRIC UTILITIES
PO BOX 5425                             DBA CUSTOMATIC ADJUSTABLE BEDZ              2 NORTH 9TH ST
KATY, TX 77491                          2 CARSHA DR                                 CPC-GENN1
                                        NATICK, MA 01760                            ALLENTOWN, PA 18101-1175




PPL ELECTRIC UTILITIES                  PP-NEW HOPE/REMOUNT, LLC AND PP4, LLC       PR FINANCING LP
2 NORTH 9TH ST, CPC-GENN1               DBA COX ROAD TENANCY IN COMMON              C/O PREIT ASSOCIATES LP
ALLENTOWN, PA 18101-1175                ATTN: JOSEPH P. PEARSON                     PO BOX 951772
                                        1422 BURTONWOOD DRIVE, SUITE 200            CLEVELAND, OH 44193
                                        GASTONIA, NC 28054



PR FINANCING LP                         PR HARBOUR VIEW EAST LLC                    PR HARBOUR VIEW EAST LLC
DBA UNIONTOWN MALL                      CO UCR ASSET SERVICES                       DBA THE PRUDENTIAL INSURANCE CO OF
PO BOX 951772                           PO BOX 731849                               7001 PRESTON ROAD SUITE 215
CLEVELAND, OH 44193                     DALLAS, TX 75373-1849                       DALLAS, TX 75205




PR INVESTMENTS                          PR INVESTMENTS                              PR NEWSWIRE ASSOC LLC
1400 POST OAK BOULEVARD, SUITE 600      C/O MARGOLIS INTERESTS                      350 HUDSON ST STE 300
HOUSTON, TX 77027                       1400 POST OAK BLVD STE 600                  NEW YORK, NY 10014
                                        HOUSTON, TX 77056




PR NEWSWIRE ASSOC LLC                   PR PEMBROKE CROSSING LLC                    PR PLYMOUTH MEETING MALL LP
PO BOX 5897                             PEMBROKE CROSSING SHOPPING CTR              PO BOX 73312
NEW YORK, NY 10087-5897                 PO BOX 978596                               CLEVELAND, OH 44193
                                        DALLAS, TX 75397-8596




PR PLYMOUTH MEETING MALL                PR VIEWMONT LP                              PRACTICAL PARENTING CONSULTING LLC
TERESA FIELDS, BOOKKEEPER               PO BOX 951773                               17259 VALLEY DR
500 W. GERMANTOWN PIKE, SUITE 150       CLEVELAND, OH 44193                         OMAHA, NE 68130
PLYMOUTH MEETING, PA 19462
PRAGMA CORPORATION       Case 18-12241-CSS
                                        PRAIRIEDoc 26 MEDIA
                                                MOUNTAIN Filed 10/05/18       PagePRAIRIE
                                                                                   1288 of  1739 PUBLISHING COMPANY
                                                                                          MOUNTAIN
94 COUNTY LINE RD                         MEDIANEWS GROUP                          LLP
COLMAR, PA 18915                          PO BOX 62000                             PO BOX 62000
                                          COLORADO SPRINGS, CO 80962               COLORADO SPRINGS, CO 80962




PRAIRIE MOUNTAIN PUBLISHING LLP           PRAIRIE MOUNTAIN PUBLISHING LLP          PRATFIRM LLC
5450 WESTERN AVE                          PO BOX 6544                              C/O ROBBINS PROPERTIES
BOULDER, CO 80301                         CAROL STREAM, IL 60197                   3100 WEST END AVENUE, SUITE 1070
                                                                                   NASHVILLE, TN 37203




PRATFIRM LLC                              PRATHANA KHATIWADA                       PRATTVILLE WATER WORKS BOARD
ROBBINS PROP I LLC MANAGING AGENT         10201 S. MAIN STREET                     P.O. BOX 680870
3100 W END AVE STE 1070                   HOUSTON, TX 77025                        PRATTVILLE, AL 36068-0870
NASHVILLE, TN 37203




PRC SERVICES LLC                          PRDB SPRINGFIELD LIMITED PARTNERSHIP     PRDB SPRINGFIELD LP
2128 BRAEBURN E DR                        C/O CONTINENTAL DEVELOPERS LLC           1604 WALNUT ST 4TH FLOOR
INDIANAPOLIS, IN 46219                    1604 WALNUT STREET, 4TH FLOOR            PHILADELPHIA, PA 19103
                                          PHILADELPHIA, PA 19103




PRECIOUS DAY                              PRECISE MATTRESS INSPECTION              PRECISE MATTRESS INSPECTION
10201 S. MAIN STREET                      1627 SARATOGA LN                         1627 SARATOGA LN
HOUSTON, TX 77025                         GLENVIEW NAS, IL 60026                   GLENVIEW, IL 60026




PRECISION DIALOGUE DIRECT INC             PRECISION DOOR SERVICE                   PRECISION DOOR SRVC OF PENSACOLA &
5501 W GRAND AVE                          20728 56TH AVE WEST                      PANAMA CITY
CHICAGO, IL 60639                         LYNNWOOD, WA 98036                       101 W ENSLEY ST
                                                                                   PENSACOLA, FL 32534




PRECISION FIRE & SAFETY INC               PRECISION PAVEMENT MARKINGS              PREDETTA BRUMFIELD
2228 44TH ST                              14309 LEE HWY                            10201 S. MAIN STREET
INDIANAPOLIS, IN 46205                    BRISTOL, VA 24202                        HOUSTON, TX 77025




PREF 45 WEST 57TH STREET LLC              PREF 45 WEST 57TH STREET LLC             PREFERRED GROWTH PROPERTIES LLC
C/O SEDESCO INC                           C/O SEDESCO INC                          DBA PGP FAYETTEVILLE LLC
34 E 51ST ST 6TH FLOOR                    34 E 51ST STREET, 6TH FLOOR              402 INDUSTRIAL LN
NEW YORK, NY 10022                        NEW YORK, NY 10022                       BIRMINGHAM, AL 35211




PREIT ASSOICATES LP                       PREIT SERVICES, LLC                      PREMIER AVIATION OF BOCA RATON, LLC
200 S BROAD ST 3RD FL                     200 SOUTH BROAD STREET, 3RD FLOOR        ATTN: HAMID HASHEMI
PHILADELPHIA, PA 19102                    PHILADELPHIA, PA 19102                   3300 AIRPORT ROAD
                                                                                   HANGER 2, SUITE 121
                                                                                   BOCA RATON, FL 33431



PREMIER AVIATION OF BOCA RATON, LLC       PREMIER CORPORATE HOUSING                PREMIER DRYWALL INC
ATTN: HAMID HASHEMI                       AKCORP INC                               DBA PDI CONSTRUCTION
433 PLAZA REAL STE 335                    20434 CYPRESSWOOD DR                     PO BOX 522
BOCA RATON, FL 33432                      HUMBLE, TX 77338                         GRETNA, NE 68028
                      Case
PREMIER FIRE ALARMS AND      18-12241-CSS
                        INTEGRATION    PREMIERDoc   26 Filed
                                                MANAGEMENT      10/05/18
                                                             COMPANY         PagePREMIERE
                                                                                  1289 of CREDIT
                                                                                           1739 OF NORTH AMERICA LLC
SYSTEMS                                C/O LURIE & ASSOCIATES, LLC                PO BOX 19309
430 ANSIN BLVD STE M                   2650 THOUSAND OAKS BLVD, SUITE 2350        INDIANAPOLIS, IN 46219
HALLANDALE, FL 33009                   MEMPHIS, TN 38118




PREMIERE GLOBAL SERVICES                PRENTISS KING                             PREP HANOVER REAL ESTATE LLC
P.O. BOX 404351                         3112 BLUFFDALE ST                         5905 E GALBRAITH RD, SUITE 1000
ATLANTA, GA 30384-4351                  MEMPHIS, TN 38118                         ATTN: ELLEN PROWS
                                                                                  CINCINNATI, OH 45236




PREP HANOVER REAL ESTATE LLC            PREP HANOVER REAL ESTATE LLC              PREP HANOVER REAL ESTATE LLC
ATTN: ELLEN PROWS                       C/O PREP PROPERTY GROUP, LLC              PO BOX 714557
5905 E GALBRAITH RD, SUITE 1000         ATTN: SARA J. BRENNAN, COO                CINCINNATI, OH 45271-4557
CINCINNATI, OH 45236                    1790 BONANZA DR, SUITE 201
                                        NEEDHAM, MA 02494



PREP PROPERTY GROUP LLC                 PREP PROPERTY GROUP LLC                   PRESCOTT GATEWAY HOLDINGS LLC
ATTN: MATT MCCOMBS, GENERAL MANAGER     ATTN: VIVIAN M. KNIGHT, VP LEGAL          RED DEVELOPMENT LLC
7775 OLSON DRIVE, SUITE 205             SERVICES                                  ONE E WASHINGTON STE 300
PAPILLION, NE 68046                     5905 E GALBRAITH RD, SUITE 1000           PHOENIX, AZ 85004
                                        CINCINNATI, OH 45236



PRESCOTT GATEWAY MALL REALTY            PRESCOTT GATEWAY MALL REALTY              PRESCOTT GATEWAY MALL
HOLDING LLC                             HOLDING LLC                               ATTN: MANAGEMENT OFFICE
1010 NORTHERN BLVD STE 212              1010 NORTHERN BLVD, STE 212               3250 GATEWAY BLVD.
GREAT NECK, NY 11021                    GREAT NECK, NY 11021                      PRESCOTT, AZ 86303




PRESCOTT NEWSPAPERS INC                 PRESERVE WEST CAPITAL                     PRESIDIO NETWORKED SOLUTIONS INC
1958 COMMERCE CENTER CIR                ATTN: TODD OLIVER                         PO BOX 677638
PRESCOTT, AZ 86301                      411 BOREL AVENUE, SUITE 650               DALLAS, TX 75267-7638
                                        SAN MATEO, CA 94402




PRESIDIO TOWNE CROSSING, L.P.           PRESLEY MEDIA                             PRESLEY PUBLIC RELATIONS & MARKETING
C/O J.P. WEBER MANAGEMENT, INC.         1211 APPLEWOOD DR STE 1                   LLC
ATTN: LISA LINCH                        PAPILLION, NE 68046                       1211 APPLEWOOD DR STE 1
16000 DALLAS PKWY STE 300                                                         PAPILLION, NE 68046
DALLAS, TX 75248



PRESS ENTERPRISE                        PRESS ENTERPRISE                          PRESS OF ATLANTIC CITY
3185 LACKAWANNA AVE                     PO BOX 746                                PO BOX 26784
BLOOMSBURG, PA 17815                    BLOOMSBURG, PA 17815                      RICHMOND, VA 23261-6784




PRESS-REGISTER ALABAMA MEDIA            PRESTIGE PROPERTIES & DEVELOPMENT         PRESTON BAILIFF
PO BOX 905924                           CO., INC.                                 10201 S. MAIN STREET
CHARLOTTE, NC 28290-5924                PROPERTY ACCOUNTING                       HOUSTON, TX 77025
                                        546 FIFTH AVENUE, 15TH FLOOR
                                        NEW YORK, NY 10036



PRESTON DANIELS                         PRESTON E BARNES                          PRESTON FOSTER
10201 S. MAIN STREET                    DBA PRECISE TRANSPORTATION                10201 S. MAIN STREET
HOUSTON, TX 77025                       132 AUBURN PL                             HOUSTON, TX 77025
                                        KENNER, LA 70065
                       Case 18-12241-CSS
PRESTON GENERAL CONTRACTORS  LLC      PRESTONDoc   26 Filed
                                                HUDSON         10/05/18   PagePRESTON
                                                                               1290 ofJAMESON
                                                                                       1739
13740 MIDWAY RD STE 603               10201 S. MAIN STREET                    10201 S. MAIN STREET
DALLAS, TX 75244                      HOUSTON, TX 77025                       HOUSTON, TX 77025




PRESTON LEWIS                         PRESTON NAKAMURA                        PRESTON ROBINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




PRESTON SHEPARD PLACE, LP             PRESTON SHEPARD PLACE, LP               PRESTON TALLY
C/O WEINGARTEN REALTY INVESTORS       PO BOX 924133                           10201 S. MAIN STREET
2600 CITADEL PLAZA DRIVE SUITE 125    HOUSTON, TX 77292-4133                  HOUSTON, TX 77025
HOUSTON, TX 77292




PRESTON VALLEY VIEW LTD               PRESTON WATSON                          PRESTONWOOD COURT ASSOCIATES LLC
C/O VISTA PROPERTY CO LLC             10201 S. MAIN STREET                    2101 CEDAR SPRINGS RD STE 1600
8350 N CENTRAL EXPRESSWAY STE 1275    HOUSTON, TX 77025                       DALLAS, TX 75201
DALLAS, TX 75206




PRICE CALIFORNIA AVENUE III, LLC      PRICE CALIFORNIA AVENUE III, LLC        PRICE DIGESTS
230 EAST SOUTH TEMPLE                 MARTIN G PETERSON                       24653 NETWORK PLACE
SALT LAKE CITY, UT 84111              230 EAST SOUTH TEMPLE                   CHICAGO, IL 60673-1246
                                      SALT LAKE CITY, UT 84111




PRICE DISPOSAL INC.                   PRICE DISPOSAL INC.                     PRICE EDWARDS & COMPANY, LLC
8665 S UNION AVE                      8665 SOUTH UNION AVENUE                 ATTN: KATHI RISK
BAKERSFIELD, CA 93307                 BAKERSFIELD, CA 93307                   210 PARK AVENUE, SUITE 700
                                                                              OKLAHOMA CITY, OK 73102




PRICE TRUCK LINE INC                  PRICE/BAYBROOK LTD.                     PRICEWATERHOUSECOOPERS LLP
4931 S VICTORIA                       P.O. BOX 82565                          PO BOX 7247-8001
WICHITA, KS 67216                     DEPT CODE STXM0571A                     PHILADELPHIA, PA 19170-8001
                                      GOLETA, CA 93118-2565




PRICEWATERHOUSECOOPERS LLP            PRIDE DISPOSAL COMPANY                  PRIDE DISPOSAL COMPANY
PO BOX 952282                         13980 SW TUALATIN SHERWOOD RD           P.O. BOX 820
DALLAS, TX 75395-2282                 SHERWOOD, OR 97140-9726                 SHERWOOD, OR 97140




PRIDE INDUSTRIES INC                  PRIDESTAFF INC                          PRIDGEN ENTERPRISES, INC.
PO BOX 39000                          PO BOX 205287                           P.O. BOX 37
DEPT 34140                            DALLAS, TX 75320-5287                   412 HIGHWAY 72 EAST
SAN FRANCISCO, CA 94139                                                       ATTN: JIMMY PRIDGEN
                                                                              COMER, GA 30629



PRIDGEN ENTERPRISES, INC.             PRIESE LOERA                            PRIETO, CARLOS
P.O. BOX 37                           10201 S. MAIN STREET                    6128 SW 194TH AVE
COMER, GA 30629                       HOUSTON, TX 77025                       FORT LAUDERDALE, FLORIDA 33332-3384
PRIMARY COLOR INC      Case 18-12241-CSS    Doc
                                      PRIMARY    26 LLCFiled 10/05/18
                                              COLOR                        PagePRIMARY
                                                                                1291 ofHEALTH
                                                                                        1739MEDICAL GROUP UC
9239 PREMIER ROW                        DEPT 1012                               PO BOX 191050
DALLAS, TX 75247                        PO BOX 650850                           BOISE, ID 83719
                                        DALLAS, TX 75265-0850




PRIMARY SERVICES LP                     PRIMAX SERVICES, LLC                    PRIME STORAGE LLC
9811 KATY FRWY 300                      THOMAS WALLACE, SENIOR PM               4982 US 422
HOUSTON, TX 77024                       1100 EAST MOREHEAD                      PORTERSVILLE, PA 16051
                                        CHARLOTTE, NC 28204




PRIMERICA GROUP ONE, INC                PRIMERICA GROUP ONE, INC.               PRIMO INTERNATIONAL
ATTN: DONYA BECKMAN                     ATTN: DONYA BECKMAN                     PO BOX 2970
3629 MADACA LANE                        3629 MADACA LANE                        CHAMPLAIN, NY 12919
TAMPA, FL 33618                         TAMPA, FL 33618




PRIMUS BIRD CREEK PARTNERS LP           PRIMUS REAL ESTATE SERVICES             PRIMUS/RED OAK VILLAGE LLC
PO BOX 160187                           PO BOX 160187                           ATTN: NATE NICKERSON
AUSTIN, TX 78716                        AUSTIN, TX 78716                        PO BOX 160187
                                                                                AUSTIN, TX 78716




PRINCE ACHEAMPONG                       PRINCE CHISHTY                          PRINCE GEORGES COUNTY MD
10201 S. MAIN STREET                    10201 S. MAIN STREET                    PRINCE GEORGES COUNTY TREASURY DIV
HOUSTON, TX 77025                       HOUSTON, TX 77025                       14741 GOV ODEN BOWIE DR RM 1090
                                                                                UPPER MARLBORO, MD 20772




PRINCE GEORGES                          PRINCE PEA                              PRINCE WILLIAM COUNTY
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                    TAX ADMINISTRATION DIVISION
14741 GOV ODEN BOWIE DR RM 1090         HOUSTON, TX 77025                       PO BOX 2467
UPPER MARLBORO, MD 20772                                                        WOODBRIDGE, VA 22195-2467




PRINCE WILLIAM                          PRINCELLA THOMPSON                      PRINCESS DENNIS
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 2467                             HOUSTON, TX 77025                       HOUSTON, TX 77025
WOODBRIDGE, VA 22195-2467




PRINCESS NEWBORN                        PRINCETON JACKSON                       PRINCIPAL LIFE INSURANCE CO
10201 S. MAIN STREET                    10201 S. MAIN STREET                    711 HIGH STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       DES MOINES, IA 50392




PRINCIPAL LIFE INSURANCE COMPANY        PRINCIPAL LIFE INSURANCE COMPANY        PRINCIPAL LIFE INSURANCE COMPANY
2215 YORK ROAD, SUITE 503               4141 PARK LAKE AVE SE 400               711 HIGH ST
OAK BROOK, IL 60523                     RALEIGH, NC 27612                       DES MOINES, IA 50392




PRINCIPAL LIFE INSURANCE COMPANY        PRINCIPAL LIFE INSURANCE COMPANY        PRINCIPAL LIFE INSURANCE COMPANY
ATTN: CENTRAL STATES EQUITY TEAM        ATTN: CONNIE FERREE                     GRAND HUNT CTR
801 GRAND AVENUE                        PO BOX 14481                            PO BOX 310300
DES MOINES, IA 50392-1370               DES MOINES, IA 50306                    DES MOINES, IA 50331-0300
                       Case
PRINCIPAL LIFE INSURANCE     18-12241-CSS
                         COMPANY              Doc
                                       PRINCIPAL  RE26    FiledINV
                                                     PORTFOLIO   10/05/18
                                                                   INC        PagePRINCIPAL
                                                                                   1292 of TRUST
                                                                                            1739COMPANY
P.O. BOX 30429                         C/O CUSHMAN & WAKEFIELD N MARQ             P.O. BOX 823215
RALEIGH, NC 27622                      P.O. BOX 3310300-PROPERTY:018510           PHILADELPHIA, PA 19182-3215
                                       DES MOINES, IA 50331-0300




PRINCIPLE DISTRIBUTION LLC              PRINCIPLE DISTRIBUTION LLC                PRINT MART
204 W POWELL LANE BLDG 3                PO BOX 671704                             1120 SW 16TH ST STE 1A
AUSTIN, TX 78753                        DALLAS, TX 75267-1704                     RENTON, WA 98057




PRINTECH                                PRINTINGYOURNAMEONIT.COM                  PRIORITY 1 INC
19611 LAJUANA LN                        525 W ARAPAHO RD 24                       1800 E ROOSEVELT RD
SPRING, TX 77388                        RICHARDSON, TX 75080                      LITTLE ROCK, AR 72206




PRIORITY 1 INC                          PRIORITY FIRE AND SECURITY                PRIORITY SIGN
PO BOX 840808                           PO BOX 533                                837 RIVERFRONT DR STE 300
DALLAS, TX 75284-0808                   MARLBOROUGH, MA 01752                     SHEBOYGAN, WI 53081




PRISA ARBOR LAKES LLC                   PRISA ARBOR LAKES, LLC                    PRISA ARBOR LAKES, LLC
12459 ELM CREEK BLVD N                  8 CAMPUS DRIVE 4TH FLOOR                  C/O PRUDENTIAL REAL ESTATE INVESTORS
MAPLE GROVE, MN 55369-7091              PARSIPPANY, NJ 07054                      TWO PRUDENTIAL PLAZA
                                                                                  180 NORTH STETSON ST, SUITE 3275
                                                                                  CHICAGO, IL 60601



PRISA ARBOR LAKES, LLC                  PRISA ARBOR LAKES, LLC                    PRISCILLA CASH
P.O. BOX 22072                          PO BOX 22072 NETWORK PLACE                10201 S. MAIN STREET
CHICAGO, IL 60673-1231                  CHICAGO, IL 60673-1231                    HOUSTON, TX 77025




PRISCILLA CHAVEZ                        PRISCILLA FERNANDEZ GARCIA                PRISCILLA GRAMILLO
10201 S. MAIN STREET                    10201 S. MAIN STREET                      1012 N MEADOWS DR APT A
HOUSTON, TX 77025                       HOUSTON, TX 77025                         AUSTIN, TX 78758




PRISCILLA HERNANDEZ                     PRISCILLA QUINONES                        PRISCILLA WARREN
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




PRITCHARD LANDSCAPE MANAGEMENT, LLC     PRIVATE REAL ESTATE GROUP                 PRIYA JONES
222 SCALYBARK ROAD                      C/O CENTERSQUARE INVESTMENT MGMT          10201 S. MAIN STREET
SUMMERVILLE, SC 29485                   ATTN: ADAM SCHREINER                      HOUSTON, TX 77025
                                        630 WEST GERMANTOWN PIKE, SUITE 300
                                        PLYMOUTH MEETING, PA 19462



PRIYA PATEL-RAMSAHA                     PRLHC LHC AVE VIERA 184715                PRLHC N POINT MARKET CTR 106816 DBA
10201 S. MAIN STREET                    DBA CP VENTURE 5 AMC LLC                  CP VENTURE II LLC
HOUSTON, TX 77025                       7000 CENTRAL PRKWY NE STE 700             PO BOX 978910
                                        SANDY SPRINGS, GA 30328                   DALLAS, TX 75397-8910
                      Case
PRLHC N POINT MARKET CTR     18-12241-CSS
                         106816        PRLHC NDoc
                                               POINT26MARKET
                                                         Filed 10/05/18
                                                             CTR DBA CP    PagePRLHC
                                                                                1293VIERA
                                                                                     of 1739
                                                                                          MARKETCENTER
DBA CP VENTURE II LLC                  VENTURE II LLC                           DBA CP VENTURE 5 AMC LLC
PO BOX 978910                          7000 CENTRAL PKWY NE STE 700             PO BOX 978859
DALLAS, TX 75397-8910                  ATLANTA, GA 30328                        DALLAS, TX 75397-8859




PRN REAL ESTATE & INVESTMENTS LTD      PRO 356 ELECTRIC COMPANY INC             PRO CITY VENDING LLC
ATTN: MERRITT PLAZA VENTURE            1448 HIGHWAY 70 EAST                     10223 BROADWAY SUITE P 445
3200 S. HIAWASSEE ROAD STE 205         KINSTON, NC 28501                        PEARLAND, TX 77584
ORLANDO, FL 32835




PRO QUEST SECURITY INC                 PRO SHOE COVERS                          PRO TEC AMERICA LLC
693 BROADWAY                           PO BOX 31                                413 BRUNNER DR
MASSAPEQUA, NY 11758                   WASHOUGAL, WA 98671                      MONROEVILLE, PA 15146




PRO TECH FIRE & SECURITY LLC           PROCOAT PRODUCTS INC                     PROCTOR FREEMAN
15353 VANTAGE PKWY E                   260 CENTRE ST STE D                      10201 S. MAIN STREET
HOUSTON, TX 77032                      HOLBROOK, MA 02343                       HOUSTON, TX 77025




PROCTOR H FREEMAN III                  PROFESSIONAL ELECTRIC CORP               PROFESSIONAL HEATING & COOLING INC
10201 S. MAIN STREET                   147 HOPE VALLEY RD                       3306 ARIZONA AVE
HOUSTON, TX 77025                      AMSTON, CT 06231                         NORFOLK, VA 23513




PROFESSIONAL LAWN MAINTENANCE          PROFESSIONAL PAVING & CONCRETE CO        PROFESSIONAL REAL ESTATE INSPECTORS
3440 ARBELA ST                         INC                                      LLC
PORT CHARLOTTE, FL 33981               1N282 PARK BLVD                          2800 WOODLAWN DR STE 234
                                       GLEN ELLYN, IL 60137                     HONOLULU, HI 96822




PROFESSIONAL RETAIL STORE              PROFESSIONAL RETAIL STORE                PROFESSIONAL SERVICE INDUSTRIES INC
MAINTENANCE AS                         MAINTENANCE ASSOC.                       7192 SOLUTIONS CENTER
5000 QUORUM DR STE 700                 PO BOX 226125                            CHICAGO, IL 60677-7001
DALLAS, TX 75254                       DALLAS, TX 75222-6125




PROFESSIONAL SPORTS PARTNERS LLC       PROFILE ENERGY INC                       PROFILE ENERGY INC
3336 RICHMOND AVE STE 150              535 N BROAD ST                           P.O. BOX 860
HOUSTON, TX 77098                      STE 2                                    CANFIELD, OH 44406
                                       CANFIELD, OH 44406




PROFILE ENERGY SERVICES LLC            PROFORMA                                 PROFORMA
P.O. BOX 635356                        PO BOX 51925                             PO BOX 640814
CINCINNATI, OH 45263-5356              LOS ANGELES, CA 90051-6625               CINCINNATI, OH 45264-0814




PROGISTICS DISTRIBUTION INC            PROGRAM ONE INC                          PROGRESS INDEX
PO BOX 5045                            960 RAND RD STE 113C                     15 FRANKLIN ST
HAYWARD, CA 94540                      DES PLAINES, IL 60016                    PETERSBURG, VA 23803
PROGRESS PALLET INC     Case 18-12241-CSS   DocSQUARE
                                       PROGRESS 26 Filed   10/05/18
                                                      PARTNERS LP             PagePROGRESSIVE
                                                                                   1294 of 1739
                                                                                              FURNITURE INC
98 WEST GROVE ST                        C/O ARGONAUT INVESTMENTS                   PO BOX 633833
MIDDLEBORO, MA 02346                    101 LARKSPUR LANDING CIRCLE, SUITE 120     CINCINNATI, OH 45263
                                        LARKSPUR, CA 94939




PROGRESSIVE FURNITURE INC               PROGRESSIVE MANAGEMENT OF AMERICA,         PROGRESSIVE PROPERTY MANAGEMENT,
PO BOX 633833                           INC.                                       LLC
CINCINNATI, OH 45263-3833               ATTN: ANGEL NAZARY                         FRED J. HOWARD
                                        970 GULF SHORE DRIVE                       4728 EAST BROADWAY BOULEVARD
                                        DESTIN, FL 32541                           TUCSON, AZ 85711



PROGRESSIVE TRUCKING & DELIVERY         PROGRESSIVE WASTE SOLUTIONS TX INC         PROJECT MANHATTAN LLC
PO BOX 61341                            P.O. BOX 78829                             ATTN: KRISTINE THELEN
RALEIGH, NC 27610                       PHOENIX, AZ 85062                          1707 N WATER FRONT PKWY
                                                                                   WICHITA, KS 67206




PROLIPHIX                               PROLITEC INC                               PROLITEC INC
3 LAN DR STE 200                        1235 W CANAL ST                            DEPT CH 16906
WESTFORD, MA 01886                      MILWAUKEE, WI 53233                        PALATINE, IL 60055-6906




PROLOGIS - NORTH CAROLINA, LP           PROLOGIS - NORTH CAROLINA, LP              PROLOGIS (PERRIA CREEK CORP)
8102 ZIONSVILLE ROAD                    ATTN: GENERAL COUNSEL                      P.O. BOX 847962
INDIANAPOLIS, IN 46268                  4545 AIRPORT WAY                           BANK OF AMERICA
                                        DENVER, CO 80239                           DALLAS, TX 75284




PROLOGIS IND PROPERTIES III LLC         PROLOGIS INDUSTRIAL PROPERTIES             PROLOGIS LOGISTICS SERVICES INC
BANK OF AMERICA                         P.O. BOX 847894                            DBA AMB HOLDCO LLC
PO BOX 847962                           DALLAS, TX 75284-7894                      1800 WAZE ST STE 500
DALLAS, TX 75284                                                                   DENVER, CO 80202




PROLOGIS LP                             PROLOGIS LP                                PROLOGIS MANAGEMENT LLC
DBA PLDSPE LLC                          DBA PROLOGIS-NORTH CAROLINA LIMITED        6650 TELECOM DR STE 250
4545 AIRPORT WAY                        PARTNERSHIP                                INDIANAPOLIS, IN 46278
DENVER, CO 80239                        1800 WAZEE ST STE 500
                                        DENVER, CO 80202



PROLOGIS NA2 SUB LP                     PROLOGIS NA2 TEXAS LLC                     PROLOGIS TEXAS I LLC
DBA PROLOGIS NA2 TEXAS LLC              4545 AIRPORT WAY                           REFERENCE 01003907
4545 AIRPORT WAY                        DENVER, CO 80239                           PO BOX 847757
DENVER, CO 80239                                                                   DALLAS, TX 75284-7757




PROLOGIS TEXAS I, LLC                   PROLOGIS TEXAS III LLC                     PROLOGIS TRUST
4330 GAINES RANCH LOOP, SUITE 100       9535 BALL STREET, SUITE 1000               PO BOX 847894
AUSTIN, TX 78735                        SAN ANTONIO, TX 78217                      1950 N STEMMONS 5010
                                                                                   DALLAS, TX 75207




PROLOGIS TX III LLC                     PROLOGIS USLV SUBREIT 4 LLC                PROLOGIS USLV SUBREIT 4, LLC
PO BOX 847962                           KTR LV LOAN LLC                            3800 HOWARD HUGHES PKWY, SUITE 1250
DALLAS, TX 75284-7962                   PO BOX 846329                              LAS VEGAS, NV 89169
                                        DALLAS, TX 75284-9329
PROLOGIS             Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                    PROLOGIS                            PagePROLOGIS
                                                                             1295 of 1739
3800 HOWARD HUGHES PKWY, SUITE 1250 ATTN: GENERAL COUNSEL                   FILE 198267
LAS VEGAS, NV 89169                 1800 WAZEE STREET, SUITE 500            P.O. BOX 198267
                                    DENVER, CO 80202                        ATLANTA, GA 30384




PROLOGIS-NORTH CAROLINA LP             PROLOGISTIX                          PROMENADE CASTLE ROCK METRO
C/O BANK OF AMERICA                    PO BOX 102332                        DISTRICT 2
P.O. BOX 198267                        ATLANTA, GA 30368-2332               C/O TOWN OF CASTLE ROCK
ATLANTA, GA 30384-8267                                                      PO BOX 17906
                                                                            DENVER, CO 80217-0906



PROMENADE AT BOLINGBROOK NORTH         PROMENADE AT BOLINGBROOK NORTH       PROMENADE AT CHENAL LOT 3 LLC
HOLDINGS, LLC                          HOLDINGS, LLC                        ATTN: BETHSMITH-POLLOM
C/O MID-AMERICA ASSET MANAGEMENT,      PO BOX 856875                        901 WABASH AVE STE 300
INC.                                   MINNEAPOLIS, MN 55485-6875           TERRE HAUTE, IN 47807
ATTN: JEAN ZOERNER
ONE PARKVIEW PLAZA, 9TH FLOOR
OAK BROOK, IL 60523

PROMOTIONAL FULFILLMENT SERVICES INC   PROOF ADVERTISING, LLC               PROPERTY DEVELOPMENT CENTERS LLC
CORP HEADQUARTERS                      114 W. 7TH ST. 500                   C/O IRONWOOD RE MGMT
10314 BIRTCHER DR                      AUSTIN, TX 78701                     207 SAN JACINTO BLVD STE 300
MIRA LOMA, CA 91752                                                         AUSTIN, TX 78701




PROPERTY MANAGEMENT ADVISORS INC       PROPERTY MANAGEMENT SERVICES         PROPERTY MANAGEMENT SUPPORT INC
1234-B EAST 17TH STREET                6420 MONTROSE ROAD                   10739 DEERWOOD PARK BLVD. SUITE 300
SANTA ANA, CA 92701                    ROCKVILLE, MD 20852                  JACKSONVILLE, FL 32256




PROPERTY MANAGEMENT SUPPORT, INC.      PROPERTY MANAGERS OF WAUSAU          PROPERTY ONE, INC.
1 SLEIMAN PKWY, STE 250                739 JEFFERSON ST                     ATTN: MARIA ORGERON
ATTN: MICHELLE MEEKER                  WAUSAU, WI 54403                     3500 N. CAUSEWAY BLVD., STE. 600
JACKSONVILE, FL 32216                                                       METAIRIE, LA 70002




PROPERTY SERVICES & MANAGEMENT         PROPHIX SOFTWARE INC                 PROQUIRE LLC
1122 WINDRIDGE DRIVE                   DEPT CH 17859                        161 N CLARK ST
CRYSTAL LAKE, IL 60014                 PALATINE, IL 60055-7859              CHICAGO, IL 60601




PROS FROM DOVER II                     PROSAND CONSTRUCTION GROUP           PROSKAUER ROSE LLP
CO HORIZON PROPERTIES                  DBA PROSAND FLOORS                   ELEVEN TIMES SQ
7785 NORTHWEST 146TH ST                4038 GUION LN                        NEW YORK, NY 10036
MIAMI LAKES, FL 33016                  INDIANAPOLIS, IN 46268




PROSKAUER ROSE LLP                     PROSPECT CREEK DEVELOPERS, LLC       PROSPECT CREEK DEVELOPERS, LLC
ONE INTERNATIONAL PLACE                ATTN: JOHN HOLBOROW                  MOTION MILWAUKEE LLC
BOSTON, MA 02110-2600                  802 N 109TH ST                       802 N 109TH ST
                                       MILWAUKEE, WI 53226                  MILWAUKEE, WI 53226




PROSPECT ENTERPRISES, LLC              PROSPECT GROVE LLC                   PROSPECT GROVE, LLC
433 SOUTH MAIN STREET, SUITE 328       1045 S WOODS MILL RD                 C/O CADRE DEVELOPMENT
WEST HARTFORD, CT 06110                TOWN & COUNTRY, MO 63017             1610 DES PERES ROAD, SUITE 320
                                                                            ST. LOUIS, MO 63131
PROSPECT GROVE, LLC Case      18-12241-CSS   Doc
                                        PROSPER    26 I MPEYE
                                                GISLAIN Filed 10/05/18       PagePROSTAR
                                                                                  1296 ofSERVICES
                                                                                          1739 INC
C/O CADRE DEVELOPMENT                    6314 GRAYSON BEND DRIVE                 PO BOX 110209
1948 SQUIRES WAY COURT                   KATY, TX 77494                          CARROLLTON, TX 75011
CHESTERFIELD, MO 63017




PROTEC PLUS INC                          PROTECH A DIVISION OF INLAND            PROTECH SECURITY & ELECTRONICS INC
5335 N KINGS HWY 123                     COMPANIES                               104 EAST 13TH ST.
MYRTLE BEACH, SC 29577                   1243 N 10TH ST SUITE 300                MERCED, CA 95341
                                         MILWAUKEE, WI 53205




PROTECH WASTE SERVICES LLC               PROTECT A BED                           PROTECT A BED
PO BOX 470223                            ATTN: CHIEF FINANCIAL OFFICER           JAB DISTRIBUTORS LLC
MIAMI, FL 33247                          JAB DISTRIBUTORS LLC                    75 REMITTANCE DR STE 3005
                                         1500 S WOLF RD                          CHICAGO, IL 60675-3005
                                         WHEELING, IL 60090



PROTECTION 1 SECURITY SOLUTIONS          PROTECTION DEVELOPMENT INC              PROTECTION ONE ALARM MONITORING INC
PO BOX 49292                             8620 N NEW BRAUNFELS AVE STE 100        PO BOX 872987
WICHITA, KS 67201                        SAN ANTONIO, TX 78217                   KANSAS CITY, MO 64187-2987




PROTECTION ONE                           PROTECTION ONE                          PROTECTION SYSTEMS LLC
P.O. BOX 5714                            PO BOX 219044                           1890 CROWN DR STE 1310
CAROL STREAM, IL 60197-5714              KANSAS CITY, MO 64121-9044              DALLAS, TX 75234




PROTECTIVE LINING CORP                   PROTECTIVE PEST CONTROL                 PROTOS SECURITY
601 39TH ST                              57 NEW SOUTH RD                         PO BOX 625
BROOKLYN, NY 11232                       HICKSVILLE, NY 11801                    DALEVILLE, VA 24083




PROVA ISLAM                              PROVIDENCE COMMERCIAL REAL ESTATE       PROVIDENCE DEVELOPMENT, LLC
10201 S. MAIN STREET                     PO BOX 2568                             ATTN: LIZ YOHO
HOUSTON, TX 77025                        KNOXVILLE, TN 37923                     8463 CASTLEWOOD DRIVE, SUITE 200
                                                                                 INDIANAPOLIS, IN 46250




PROVIDENCE GROUP MANAGEMENT              PROVIDENCE HEALTH & SERVICES            PROVIDENCE PLACE HOMEOWNERS ASSOC
SERVICES                                 PO BOX 5607                             2555 FLAT SHOALS RD
1616 CAMDEN ROAD, SUITE 550              PORTLAND, OR 97228-0031                 ATLANTA, GA 30349
CHARLOTTE, NC 28203




PROVIDENCE RIDGE ASSOCIATES L.P.         PROVIDENCE SQUARE                       PROVIDENCE TOWN CENTER LP
310 YORKTOWN PLAZA                       C/O JLL                                 10 TOWN CENTER DR
ELKINS PARK, PA 19027                    ATTN: GENERAL MANAGER                   COLLEGEVILLE, PA 19426
                                         3344 PEACHTREE ROAD, SUITE 1100
                                         MARIETTA, GA 30326



PROVIDENCE TOWN CENTER, LP               PROVIDENCE TOWN CENTER, LP              PROVIDENCE
1301 LANCASTER AVENUE                    P.O. BOX 785052                         ATTN: PROPERTY TAX DEPT.
BERWYN, PA 19312                         PHILADELPHIA, PA 19178-5052             25 DORRANCE STREET
                                                                                 PROVIDENCE, RI 02903
                       Case
PROVIDENT LIFE & ACCIDENT INSU18-12241-CSS     DocLIFE
                                        PROVIDENT    26& ACCIDENT
                                                          Filed 10/05/18      PagePROVIDENT
                                                                                   1297 of 1739
                                                                                            MANAGEMENT CORPORATION
1 FOUNTAIN SQUARE                       INSURANCE COMPANY                          240 W 35TH STREET, SUITE 504
CHATTANOOGA, TN 37402                   P.O. BOX 403748                            NEW YORK, NY 10001
                                        ATLANTA, GA 30384-3748




PROVISION LOGISTICS LLC                 PROVO CITY UTILITIES                       PROVO CITY UTILITIES
10431 GERMAN BLVD                       CITY CENTER BUILDING                       P.O. BOX 1849
SAINT LOUIS, MO 63131                   351 W CENTER ST                            PROVO, UT 84603-1849
                                        PROVO, UT 84601




PROVOST GROUP, INC.                     PRU CB LIMITED PARTNERSHIP                 PRUDENCE CLASSI
ATTN: JIM PROVOST                       P.O. BOX 202220, DEPT 4282                 10201 S. MAIN STREET
P.O. BOX 390                            DALLAS, TX 75320-0222                      HOUSTON, TX 77025
SANTA ROSA, CA 95402




PRUDENTIAL FINANCIAL                    PRUDENTIAL REAL ESTATE INVESTORS           PRUDENTIAL REAL ESTATE INVESTORS
PO BOX 1206                             ATTN: MANAGER -- DANADA SQUARE WEST        ATTN; LAW DEPARTMENT
WILKES BARRE, PA 18703-1206             180 NORTH STETSON LANE, SUITE 3275         7 GIRALDA FARMS
                                        CHICAGO, IL 60601                          MADISON, NJ 07940




PRUSA, KAREN                            PRUSA, KAREN                               PRZYCHODNY
9399 WADE BLVD #6306                    9399 WADE BLVD. #6300                      C/O LAW OFFICES OF BERMAN & BERMAN
FRISCO, TX 75035-2115                   FRISCO, TX 75035-2115                      P.A.
                                                                                   ATTN: ALANA WEATHERSTONE
                                                                                   POST OFFICE BOX 272789
                                                                                   BOCA RATON, FL 33427


PSC HILLTOP, LLC                        PSC HILLTOP, LLC                           PSE&G CO
15 WALKER AVE, SUITE 200                DBA PSC ASHEVILLE LLC                      80 PARK PLAZA
BALTIMORE, MD 21208                     15 WALKER AVE STE 200                      NEWARK, NJ 07102
                                        BALTIMORE, MD 21208




PSE&G CO                                PSEGLI                                     PSEGLI
P.O. BOX 14444                          175 E OLD COUNTRY RD                       P.O. BOX 9039
NEW BRUNSWICK, NJ 08906-4444            HICKSVILLE, NY 11801                       HICKSVILLE, NY 11802-9039




PSI ENVIRONMENTAL - DISTRICT 2211       PSJ INC                                    PSL LANDSCAPE SERVICES INC
P.O. BOX 60248                          C/O HORIZON MGMT                           P.O. BOX 14949
LOS ANGELES, CA 90060-0248              1130 LAKE COOK RD STE 280                  FORT PIERCE, FL 34979-4949
                                        BUFFALO GROVE, IL 60089




PSNC ENERGY                             PSNC ENERGY                                PT TWO VENTURES LLC-C/O PROP MGMT
800 GASTON ROAD                         P.O. BOX 100256                            ANDERSON COMME RE SVC
GASTONIA, NC 28056                      COLUMBIA, SC 29202-3256                    PO BOX 826
                                                                                   ADDISON, TX 75001




PT X LLC                                PT X LLC                                   PT X, LLC
3334 E PACIFIC COAST HWY STE 520        C/O VENTUREPOINT                           3334 E PACIFIC COAST HWY STE 520
CORONA DEL MAR, CA 92625                4685 MACARTHUR CT STE 375                  CORONA DEL MAR, CA 92625
                                        NEWPORT BEACH, CA 92660
PT X, LLC            Case 18-12241-CSS     DocAND
                                    PTR BALER   26COMPACTOR
                                                      Filed 10/05/18
                                                             CO           PagePTR
                                                                               1298  of AND
                                                                                  BALER 1739COMPACTOR CO
C/O VENTUREPOINT                    2207 E ONTARIO ST                          2207 EAST ONTARIO ST
4685 MACARTHUR COURT, SUITE 375     PHILADELPHIA, PA 19134                     PHILADELPHIA, PA 19134
NEWPORT BEACH, CA 92660




PTR BALER AND COMPACTOR COMPANY      PTS INC. POWELLS TRASH SERVICE            PTS INC. POWELLS TRASH SERVICE
2207 E ONTARIO ST                    518 FLATWOOD RD                           518 FLATWOOD ROAD
PHILADELPHIA, PA 19134               HODGES, SC 29653                          HODGES, SC 29653




PUA LANI LANDSCAPE DESIGN INC.       PUBLIC COMPANY ACCOUNTING                 PUBLIC SERVICE CO OF OKLAHOMA
P.O. BOX 1769                        OVERSIGHT BOARD                           212 E 6TH ST
KAILUA, HI 96734                     PO BOX 418631                             TULSA, OK 74119
                                     BOSTON, MA 02241-8631




PUBLIC SERVICE CO OF OKLAHOMA        PUBLIC SERVICE COMPANY OF OKLAHOMA        PUBLIC WATER SUPPLY DIST 3
P.O. BOX 371496                      P.O. BOX 24421                            507 RINEHART RD.
PITTSBURGH, PA 71496                 CANTON, OH 44701-4421                     507 RINEHART RD.
                                                                               BRANSON, MO 65616




PUBLIC WATER SUPPLY DIST 3           PUBLIC WORK COMMISSION                    PUBLIC WORKS & UTILITIES
507 RINEHART RD.                     P.O. BOX 7000                             CITY OF WICHITA
BRANSON, MO 65616                    FAYETTEVILLE, NC 28302-7000               P.O. BOX 2922
                                                                               WICHITA, KS 67201-2922




PUBLIC WORKS COMMISSION              PUBLIC WORKS COMMISSION                   PUBLIX SUPER MARKETS, INC.
955 OLD WILMINGTON RD                P.O. BOX 7000                             3300 PUBLIX CORPORATE PARKWAY
FAYETTEVILLE, NC 28301               FAYETTEVILLE, NC 28302-7000               LAKELAND, FL 33811




PUBLIX SUPER MARKETS, INC.           PUBLIX SUPER MARKETS, INC.                PUBLIX SUPER MARKETS, INC.
ATTN: NATASHA GLENN                  ATTN: VICE PRESIDENT, REAL ESTATE         ATTN: VICE PRESIDENT, REAL ESTATE
P.O. BOX 407                         3300 PUBLIX CORPORATE PARKWAY             P.O. BOX 407
LAKELAND, FL 33802-0407              LAKELAND, FL 33811-3002                   LAKELAND, FL 33802-0407




PUBLIX SUPER MARKETS, INC.           PUBLIX SUPER MARKETS, INC.                PUEBLO COUNTY TREASURER
PO BOX 32010                         PO BOX 32018                              215 WEST 10TH ST RM 110
LAKELAND, FL 33802-0407              LAKELAND, FL 33802                        PUEBLO, CO 81003-2935




PUEBLO                               PUGET SOUND ENERGY                        PUGET SOUND ENERGY
ATTN: PROPERTY TAX DEPT.             10885 NE 4TH ST                           P.O. BOX 91269
PO BOX 1427                          BELLEVUE, WA 98004                        BELLEVUE, WA 98009-9269
PUEBLO, CO 81002




PUHI PARTNERS, LLC                   PUHI PARTNERS, LLC                        PULASKI COUNTY TREASURER
4505 WASATCH BLVD STE 350            4505 WASATCH BOULEVARD, SUITE 350         ATTN: PROPERTY TAX DEPT.
SALT LAKE CITY, UT 84124             SALT LAKE CITY, UT 84124                  PO BOX 8101
                                                                               LITTLE ROCK, AR 72203
                      Case
PULASKI COUNTY TREASURER        18-12241-CSS    Doc
                                          PULASKI    26 Filed
                                                  PROMENADE, LLC 10/05/18    PagePULASKI
                                                                                  1299 of  1739
                                                                                         PROMENADE, LLC
C/O TAX COLLECTOR                          C/O IRC RETAIL CENTERS, LLC            C/O IRC RETAIL CENTERS, LLC
PO BOX 8101                                814 COMMERCE DRIVE, SUITE 300          814 COMMERCE DRIVE, SUITE 300
LITTLE ROCK, AR 72203                      ATTN: LEGAL DEPARTMENT                 ATTN: PRESIDENT, PROPERTY
                                           OAK BROOK, IL 60523                    MANAGEMENT
                                                                                  OAK BROOK, IL 60523


PULASKI PROMENADE, LLC                     PULLMAN & COMLEY, LLC                  PULSE OCCUPATIONAL MEDICINE
INLAND COMMERCIAL PORP. MGMT               ATTN: JAMES P. WHITE, JR., ESQ.        5000 W SLAUGHTER LN STE 100
2901 BUTTERFIELD RD                        850 MAIN STREET                        AUSTIN, TX 78749-3997
OAK BROOK, IL 60523                        BRIDGEPORT, CT 06604




PURA FLO CORPORATION                       PURCHASE POWER                         PURE AIR FILTER SALES AND SERVICE
PO BOX 690447                              PO BOX 371874                          PO BOX 9519
HOUSTON, TX 77269                          PITTSBURGH, PA 15250-7874              GREENWOOD, MS 38935-9519




PURE LATEX BLISS                           PURE WATER CT                          PURECARE
PO BOX 935027                                                                     PO BOX 100895
ATLANTA, GA 31193                                                                 ATLANTA, GA 30384-4174




PURITY MOBILE SANITIZING INC.              PURPLE INNOVATION LLC                  PURPLE INNOVATION LLC
5425 FAYETTEVILLE RD                       123 E 200 N                            ATTN: CHIEF FINANCIAL OFFICER
RALEIGH, NC 27603                          ALPINE, UT 84004                       123 E 200 N
                                                                                  ALPINE, UT 84004




PUTNAM CO TRUSTEE                          PUTNAM                                 PUTZ, LLC
300 E SPRING ST RM 2                       ATTN: PROPERTY TAX DEPT.               3941 W. MOHAVE ST. #110
COOKEVILLE, TN 38501-3350                  300 E SPRING ST RM 2                   PHOENIX, AZ 85009
                                           COOKEVILLE, TN 38501




PUTZ, LLC                                  PUTZ, LLC                              PV ANTHONY GROVES LLC
3941 W. MOHAVE ST. 110                     C/O THE LAUREL GROUP LLC               ATTN: KRISTY MARCELLE
PHOENIX, AZ 85009                          PO BOX 4788                            2901 RIGSBY LANE
                                           CAVE CREEK, AZ 85327                   SAFETY HARBOR, FL 34695




PVA REALTY TRUST                           PVAM ARGONAUT PROPERTY FUND LP         PVGP SECOND EL CAMINO PROPERTIES L.P.
2100 SE RANCH RD                           DBA PAPF EVERETT LLC                   1 ALMADEN BLVD., SUITE 505
JUPITER, FL 33478                          600 MONTGOMERY ST 5TH FL               ATTN: LINO V. MARTIRE
                                           SAN FRANCISCO, CA 94111                SAN JOSE, CA 95113




PVPW CORP                                  PW FUND B, LP                          PW FUND B, LP
C/O VESTAR PROPERTY MGMT                   C/O BUZZ OATES MGMT SVS INC            C/O BUZZ OATES MGMT SVS INC
2425 E CAMELBACK RD 750                    555 CAPITOL MALL STE 900               555 CAPITOL MALL, SUITE 900
PHOENIX, AZ 85016                          SACRAMENTO, CA 95814                   SACRAMENTO, CA 95814




PW LIMITED PARTNERSHIP                     PW LIMITED PARTNERSHIP                 PWC
C/O NELLIS CORPORATION                     NELLIS CORP-TENANT CODE:PICMAT         P.O. BOX 1089
7811 MONTROSE BLVD, SUITE 420              75 REMITTANCE DR DEPT 6870             FAYETTEVILLE, NC 28302
ROCKVILLE, MD 20854                        CHICAGO, IL 60675-6870
PWC                    Case   18-12241-CSS
                                        PWCSA Doc 26      Filed 10/05/18       PagePWCSA
                                                                                    1300 of 1739
P.O. BOX 514038                         4 COUNTY COMPLEX CT                        P.O. BOX 71062
LOS ANGELES, CA 90051-4038              RAYMON SPITTLE BLDG                        CHAROLETTE, NC 28272-1062
                                        WOODBRIDGE, VA 22192




PWX LLC                                 PYE BARKER FIRE & SAFETY INC               PYRAMID CONSTRUCTION COMPANY LLC
C/O WHISINVEST REALTY LLC               PO BOX 69                                  ATTN: MARIANNE RONCACE
1701 CENTERVIEW DR STE 102              ROSWELL, GA 30077-0069                     P.O. BOX 369
LITTLE ROCK, AR 72211                                                              RAMSEY, NJ 07446-0369




PYRAMID CONSTRUCTION COMPANY LLC        PYRAMID PROPERTIES, INC.                   PYRAMID PROPERTIES, INC.
KRISTEN COLLINS                         1717 WEST 6TH STREET, SUITE 380            1717 WEST 6TH STREET, SUITE 380
P.O. BOX 369                            AUSTIN, TX 78703                           AUSTIN, TX 78768
RAMSEY, NJ 07446-0369




QBE                                     QC LABORATORIES INC                        QEH 29 ORLAND SQUARE DRIVE, LLC
1 GENERAL DRIVE                         10810 NORTHWEST FWY                        8 HALF MILE CMN
SUN PRAIRIE, WI 53596                   HOUSTON, TX 77092                          ATTN: JIMMY YEE
                                                                                   WESTPORT, CT 06880




QEH 29 ORLAND SQUARE DRIVE, LLC         QEH MESQUITE, LLC                          QEH MESQUITE, LLC
ATTN: JIMMY YEE                         8 HALF MILE COMMON                         C/O NAI ROBERT LYNN
8 HALF MILE CMN                         WESTPORT, CT 06880                         4851 LBJ FREEWAY, 10TH FLOOR
WESTPORT, CT 06880                                                                 DALLAS, TX 75244




QEH MESQUITE, LLC                       QUAIL SPRINGS MARKETPLACE, LLC             QUAKER HOLDING LLC
C/O ROBERT LYNN MNGMT CO                C/O PRICE EDWARDS & COMPANY, LLC           254 WEST 31ST ST 4TH FLOOR
4851 LBJ FWY STE 1000                   210 PARK AVE STE 700                       NEW YORK, NY 10001
DALLAS, TX 75244                        OKLAHOMA CITY, OK 73102




QUAKER MZL LLC                          QUALITEC PROFESSIONAL SERVICES, L.P.       QUALITY FORKLIFT SALES & SERVICE INC.
C/O KATZ PROPERTIES LLC                 15810 PARK TEN PLACE STE 255               587 CITATION DR
254 WEST 31ST ST 4TH FLOOR              HOUSTON, TX 77084                          SHAKOPEE, MN 55379
NEW YORK, NY 10001




QUALITY PLUS CLEANING SYSTEMS INC       QUALITY TIME CUSTOM FIT LINENS             QUALITY WIN WIN CONSULTING
PO BOX 2526                             906 S 48TH AVE                             1976 SHROPSHIRE ST
FORT LAUDERDALE, FL 33303               WAUSAU, WI 54401                           ROSEVILLE, CA 95747




QUALITY WIN WIN CORP                    QUALITY WINDOW                             QUANA MARBURY
1976 SHROPSHIRE ST                      PO BOX 1487                                10201 S. MAIN STREET
ROSEVILLE, CA 95747                     SAHUARITA, AZ 85629                        HOUSTON, TX 77025




QUANTCAST CORPORATION                   QUANTCAST CORPORATION                      QUANTUM COMPANIES
795 FOLSOM ST FL 5                      PO BOX 204215                              4912 DEL RAY AVENUE
SAN FRANCISCO, CA 94107                 DALLAS, TX 75320-4215                      BETHESDA, MD 20814
                      Case
QUAPAW WHISPERING PINES, LLC 18-12241-CSS
                                       QUAPAW Doc   26 Filed
                                                WHISPERING     10/05/18
                                                           PINES, LLC     PageQUAPAW
                                                                               1301 ofWHISPERING
                                                                                       1739 PINES, LLC
5364 S CASTLEBAY DR                    ATTN: BRIDGET CLANTON                  ATTN: ROD JONES
SPRINGFIELD, MO 65809                  353 MARSHALL AVE STE I                 353 MARSHALL AVE STE I
                                       ST. LOUIS, MO 63119                    ST. LOUIS, MO 63119




QUAPAW WHISPERING PINES, LLC           QUARRY PLACE TWO LLC                   QUARRY PLACE TWO, LLC
C/O QUADRANT PROPERTIES LLC            8 UXBRIDGE RD                          8 UXBRIDGE RD
353 MARSHALL AVE STE I                 MENDON, MA 01756                       MENDON, MA 01756
SAINT LOUIS, MO 63119




QUARTAVIUS SWANSON                     QUARTERBACK TRANSPORATATION INC        QUARTERBACK TRANSPORATATION USA INC
10201 S. MAIN STREET                   1210 SHEPPARD AVE E STE 114            4770 DUKE DR STE 203
HOUSTON, TX 77025                      TORONTO, ON M2K 1E3                    MASON, OH 45040
                                       CANADA




QUATTRO ARNOLD LLC                     QUATTRO BLOOMINGTON INDIANA LLC        QUATTRO CHAMBERSBURG, LLC
1100 JORIE BLVD 140                    ATTN: ROBERT WALTERS                   C/O QUATTRO DEVELOPMENT
OAK BROOK, IL 60523                    1100 JORIE BLVD STE 140                ATTN: ROB WALTERS
                                       OAK BROOK, IL 60523                    1100 JORIE BOULEVARD, SUITE 140
                                                                              OAK BROOK, IL 60523



QUATTRO DANVILLE DEUX LLC              QUATTRO DEVELOPMENT LLC                QUATTRO DEVELOPMENT LLC
1100 JORIE BLVD 140                    ATTN: ROBERT WALTERS                   ATTN: ROBERT WALTERS
OAK BROOK, IL 60523                    1100 JORIE BLVD 238                    1100 JORIE BLVD STE 140
                                       OAK BROOK, IL 60523                    OAK BROOK, IL 60523




QUATTRO DEVELOPMENT, LLC AND           QUATTRO JOPLIN LLC                     QUATTRO KINGMAN LLC
MICHAEL LIYEOS                         ATTN: ROB WALTERS                      1100 JORIE BLVD 140
C/O SMYSER KAPLAN & VESELKA, LLP       1100 JORIE BLVD 238                    OAK BROOK, IL 60523
ATTN: JUSTIN M. WAGGONER               OAK BROOK, IL 60523
700 LOUISIANA, SUITE 2300
HOUSTON, TX 77002


QUATTRO LAFAYETTE LLC                  QUATTRO LAKE HAVASU CITY LLC           QUATTRO LEES SUMMIT LLC
C/O QUATTRO DEVELOPMENT LLC            QUATTRO DEVLOPMENT                     1100 JORIE BLVD 140
1100 JORIE BLVD STE 238                1100 JORIE BLVD 140                    OAK BROOK, IL 60523
HINSDALE, IL 60523                     OAK BROOK, IL 60523




QUATTRO MUNCIE LLC                     QUATTRO N LITTLE ROCK LLC              QUATTRO PERU LLC
1100 JORIE BLVD STE 238                1100 JORIE BLVD STE 140                1100 JORIE BLVD 140
OAK BROOK, IL 60523                    OAK BROOK, IL 60523                    OAK BROOK, IL 60523




QUATTRO QUINCY DEUX, LLC               QUATTRO QUINCY DEUX, LLC               QUATTRO ROGERS LLC
C/O QUATTRO DEVELOPMENT, LLC           C/O QUATTRO DEVELOPMENT, LLC           1100 JORIE BLVD STE 238
ATTN: ROB WALTERS                      ATTN: ROB WALTERS                      HINSDALE, IL 60523
1100 JORIE BLVD 140                    1100 JORIE BOULEVARD, SUITE 140
OAK BROOK, IL 60523                    OAK BROOK, IL 60523



QUATTRO SPRINGFIELD LLC                QUATTRO SPRINGFIELD LLC                QUATTRO SPRINGFIELD LLC
ATTN: ROB WALTERS                      ATTN: ROB WALTERS                      ATTN: ROB WALTERS
1100 JORIE BLVD 140                    1100 JORIE BLVD STE 238                OAK BROOK, IL 60523
OAK BROOK, IL 60523                    OAK BROOK, IL 60523
                     Case
QUATTRO SPRINGFIELD MO LLC    18-12241-CSS    Doc
                                        QUAYLAN   26 Filed 10/05/18
                                                BROWN                   PageQUEBEC
                                                                             1302 of  1739JG, LIMITED
                                                                                   VILLAGE
ATTN: ROB WALTERS                                                            C/O J.G. MANAGEMENT COMPANY, INC.
1100 JORIE BLVD 140                                                          ATTN: GREG GREENSTEIN
OAK BROOK, IL 60523                                                          5743 CORSA AVE 200
                                                                             WESTLAKE VILLAGE, CA 91362



QUEEN B RADIO INCORPORATED              QUEEN CITY DISPOSAL                  QUEEN CITY DISPOSAL
500 W BOONE AVE                         1775 A ALPINE DR                     P.O. BOX 30812
SPOKANE, WA 99201                       CLARKSVILLE, TN 37040                CLARKSVILLE, TN 37040




QUEEN CREEK AZ LLC                      QUEEN EMMA LAND COMPANY              QUEEN EMMA LAND COMPANY
ATTN: LISE SPEER                        1301 PUNCHBOWL ST                    PO BOX 1300 47812
901 WABASH AVE STE 300                  HONOLULU, HI 96813                   HONOLULU, HI 96807-1300
TERRE HAUTE, IN 47807




QUEENS 88, LLC                          QUEENS BALLPARK CO. LLC              QUEENSWAY HOLDINGS INC
C/O AA MANAGEMENT, INC.                 123-01 ROOSEVELT AVE                 1193 CHURCH ST
421 SEVENTH AVE                         FLUSHING, NY 11368                   SAN FRANCISCO, CA 94114
NEW YORK, NY 10001




QUELIYA HURST                           QUEMADO PARTNERS LLC                 QUEMADO PARTNERS LLC
10201 S. MAIN STREET                    ATTN: JEFF SCANLON                   EVE WEBB
HOUSTON, TX 77025                       17929 N 99TH ST                      17929 N 99TH ST
                                        SCOTTSDALE, AZ 85255                 SCOTTSDALE, AZ 85255




QUENCH USA INC                          QUENT PATRICK ARBOLEDA               QUENTIN COOPER
PO BOX 781393                           10201 S. MAIN STREET                 10201 S. MAIN STREET
PHILADELPHIA, PA 19178-1393             HOUSTON, TX 77025                    HOUSTON, TX 77025




QUENTIN KUCZYNSKI                       QUENTIN THOMPSON                     QUEST COMPANY
10201 S. MAIN STREET                    10201 S. MAIN STREET                 1180 SPRING CENTRE SOUTH BLVD, SUITE
HOUSTON, TX 77025                       HOUSTON, TX 77025                    102
                                                                             ALTAMONTE SPRINGS, FL 32714




QUEST DIAGNOSTICS CLINICAL              QUEST DIAGNOSTICS                    QUEST SOFTWARE INC
LABORATORIES INC                        PO BOX 740709                        4 POLARIS WAY
1201 S COLLEGEVILLE RD                  ATLANTA, GA 30374-0709               ALISO VIEJO, CA 92656
COLLEGEVILLE, PA 19426




QUEST SOFTWARE INC                      QUESTAR GAS                          QUESTEX LLC
PO BOX 731381                           P.O. BOX 45841                       275 GROVE ST STE 2-130
DALLAS, TX 75373-1381                   SALT LAKE CITY, UT 84139-0001        NEWTON, MA 02466




QUESTEX LLC                             QUESTEX MEDIA GROUP LLC              QUIANA WILSON
PO BOX 959635                           PO BOX 504166                        10201 S. MAIN STREET
SAINT LOUIS, MO 63195-9635              SAINT LOUIS, MO 63150-4166           HOUSTON, TX 77025
                     Case
QUICK CLOSE PROPERTIES LLC      18-12241-CSS    Doc 26 ANDFiled
                                          QUICK DELIVERY        10/05/18
                                                           COURIER SERVICES PageQUICK
                                                                                 1303LINK
                                                                                       of 1739
                                                                                          COMMUNICATIONS
10920 GRANT RD.                            1356 EAST CENTERWOOD CIRCLE             PO BOX 1925
HOUSTON, TX 77070                          SANDY, UT 84093                         KELLER, TX 76244




QUILISHA HOUSTON                           QUILL CORP                              QUINCY HERALD-WHIG
10201 S. MAIN STREET                       PO BOX 37600                            PO BOX 1049
HOUSTON, TX 77025                          PHILADELPHIA, PA 19101                  QUINCY, IL 62306-1049




QUINCY RILEY                               QUINCY SCURRY                           QUINCY TAYLOR
170 NORTHSIDE DR SW 406                    10201 S. MAIN STREET                    10201 S. MAIN STREET
ATLANTA, GA 30313                          HOUSTON, TX 77025                       HOUSTON, TX 77025




QUINCY                                     QUINCY-COLUMBIA BASIN IRRIGATION        QUINE AND ASSOCIATES, INC.
ATTN: PROPERTY TAX DEPT.                   DISTRICT                                301 S. SHERMAN ST., SUITE 100
730 MAINE ST                               PO BOX 188                              RICHARDSON, TX 75081
QUINCY, IL 62301-4053                      QUINCY, WA 98848




QUINE ASSOCIATES, INC.                     QUINLAN CROSSING IN STEINER RANCH LLC   QUINN WILSON
301 S. SHERMAN ST., SUITE 100              PO BOX 205554                           10201 S. MAIN STREET
RICHARDSON, TX 75081                       DALLAS, TX 75320-5554                   HOUSTON, TX 77025




QUINT LESTER                               QUINTELL JOHNSON                        QUINTESSENTIAL AIR LLC
10201 S. MAIN STREET                       10201 S. MAIN STREET                    18000 GROSCHKE RD G16
HOUSTON, TX 77025                          HOUSTON, TX 77025                       HOUSTON, TX 77084




QUINTESSENTIAL AIR LLC                     QUINTIN MASDEN                          QUINTON BROOKS
909 TEXAS ST 1203                          10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77002                          HOUSTON, TX 77025                       HOUSTON, TX 77025




QUINTON MOTEN                              QUINTON VEALS                           QUINTUS K UNTHANK
10201 S. MAIN STREET                       10201 S. MAIN STREET                    170 ROSE HILL AVENUE
HOUSTON, TX 77025                          HOUSTON, TX 77025                       WENONAH, NJ 08090




QUIVIRA CTR LLC                            QUIVIRA CTR LLC                         QUIVIRA PROPERTIES LLC
C/O VENTUREPOINT PROPERTY                  C/O VENTUREPOINT PROPERTY               5201 JOHNSON DR STE 450
4685 MACARTHUR COURT, SUITE 375            4685 MACARTHUR CT STE 375               SHAWNEE MISSION, KS 66205
NEWPORT BEACH, CA 92660                    NEWPORT BEACH, CA 92660




QUIVIRA PROPERTIES LLC                     QUY DAO                                 QUYNH LE
PO BOX 129                                 10201 S. MAIN STREET                    10201 S. MAIN STREET
SHAWNEE MISSION, KS 66201                  HOUSTON, TX 77025                       HOUSTON, TX 77025
QUYNTYN JOHNSON         Case 18-12241-CSS      Doc 26
                                       R & B INC          Filed 10/05/18   PageR1304   of 1739
                                                                                 & L TRUCKLOAD
10201 S. MAIN STREET                    ATTN: RAJ PATIDAR                       BANK OF AMERICA LOCKBOX SRVS
HOUSTON, TX 77025                       2861 W. 110TH CT.                       LOCKBOX 74008195
                                        WESTMINSTER, CO 80034                   CHICAGO, IL 60674-8195




R & R PEST CONTROL                      R & R PROFESSIONAL SERVICE INC          R & R TRANSPORT EXPRESS LLC
2800 PRIMWOOD PATH                      7785 OAKMONT DR                         REGINALD B WILLIAMS
CEDAR PARK, TX 78613                    LAKE WORTH, FL 33467                    1712 MYRTLE RD
                                                                                ALBANY, GA 31707




R & S GUTTERING AND VINYL               R & S OVERHEAD GARAGE DOOR INC          R + B, INC.
109 CRESTWOOD RD                        1140 MONTAGUE AVENUE                    ATTN: RAJ PATIDAR
BRISTOL, TN 37620                       SAN LEANDRO, CA 94577                   2861 W. 110TH CT.
                                                                                WESTMINSTER, CO 80034




R + B, INC.                             R DANESH LLC                            R G CLAITORS REALTY
ATTN: RAJ PATIDAR                       5956 TIMBER RIDGE DR STE 201            PO BOX 261333
2861 W. 110TH CT.                       PROSPECT, KY 40059                      BATON ROUGE, LA 70826-1333
WESTMINSTER, CO 80234




R K SWANSEA LLC                         R SPENCER SHYTLES                       R SQUARED ASSOCIATES
C/O RK CENTERS                          5420 LBJ FREEWAY STE 300                4987 MIDDLETON PLACE
50 CABOT ST. STE 200                    DALLAS, TX 75240                        PLEASANTON, CA 94566
NEEDHAM, MA 02494




R SQUARED DEVELOPMENT                   R&B INC                                 R&D PARTNERSHIP, PLL
3430 SELWYN AVE                         C/O ACRE MGMNT                          2310 VILLAGE PARK CT
CHARLOTTE, NC 28209                     4465 KIPLING ST STE 106                 ONTARIO, OH 44906
                                        WHEAT RIDGE, CO 80033




R&F 425 FIFTH AVENUE RETAIL LLC         R&H MOTOR LINES INC                     R&L CARRIERS INC
RFR REALTY LLC - FOUR STAMFORD PLAZA    3344 R & H DRIVE                        600 GILLAM RD
107 ELM ST STE 401                      ASHEBORO, NC 27205                      WILMINGTON, OH 45177
STAMFORD, CT 06901




R&L CARRIERS INC                        R&L MOVING SYSTEMS INC                  R&S GROWTH MANAGEMENT, LLC
PO BOX 10020                            553 WEST 38TH ST                        RICHARD J. PORTILLO, MEMBER
PORT WILLIAM, OH 45164-2000             HOUSTON, TX 77018                       18W 140 BUTTERFIELD ROAD, SUITE 940
                                                                                OAKBROOK TERRACE, IL 60181




R. HUNT DUNLAP JR.                      R.A.M. PROPERTY MANAGEMENTT INC         R.B. MELLANDER & ASSOCIATES INC
THE DUNLAP LAW FIRM, LLC                1217 EAST PITTSTON RD                   800 E NORTHWEST HWY STE 204
2964 PEACHTREE ROAD, SUITE 300          PITTSTON, ME 04345                      MOUNT PROSPECT, IL 60056
ATLANTA, GA 30305




R.E.D. CAPITAL HOLDINGS OF LEE          R.E.W. REALTY CO                        R.G. CLAITOR'S REALTY
P.O. BOX 97283                          C/O BRESLIN REALTY DEVEL CORP           ATTN: JAMES D. CLAITOR
LAS VEGAS, NV 89193-7283                500 OLD COUNTRY RD                      3165 SOUTH ACADIAN THRUWAY
                                        GARDEN CITY, NY 11530                   BATON ROUGE, LA 70808
R.G. CLAITOR'S REALTY Case     18-12241-CSS     Doc 26
                                         R.G. CLAITORS     Filed 10/05/18
                                                       REALTY               PageR.J.
                                                                                 1305    of 1739
                                                                                     WILLIAMSON
PO BOX 261333                              PO BOX 261333                         10201 S. MAIN STREET
BATON ROUGE, LA 70826-1333                 BATON ROUGE, LA 70826-1333            HOUSTON, TX 77025




R.K. MIDDLETOWN VILLAGE LLC                R.K. NEWPORT 1, LLC                   R.K. RAINBOW LLC
C/O RK CENTERS                             C/O RK CENTERS                        50 CABOT ST
50 CABOT ST. STE 200                       50 CABOT ST. STE 200                  STE 200
NEEDHAM, MA 02494                          NEEDHAM, MA 02494                     NEEDHAM, MA 02494




R.K. RAINBOW, LLC                          R.K. SWANSEA LLC                      R.K. WORCESTER CROSSING LLC
C/O RK CENTERS                             C/O RK CENTERS                        C/O RK CENTERS
50 CABOT ST. STE 200                       50 CABOT ST. STE 200                  50 CABOT ST. STE 200
NEEDHAM, MA 02494                          NEEDHAM, MA 02494                     NEEDHAM, MA 02494




R.K. WORCESTER CROSSING, LLC               R.M. TOWILL CORPORATION               R.S. SHOPPING CENTER ASSOCIATES LLLP
C/O RK CENTERS                             2024 N KING ST STE 200                C/O MARYLAND FINANCIAL INVESTORS
50 CABOT ST. STE 200                       HONOLULU, HI 96819-3494               2800 QUARRY LAKE DRIVE, SUITE 340
NEEDHAM, MA 02494                                                                BALTIMORE, MD 21209




R.S. SHOPPING CENTER ASSOCIATES LLLP       RAAJVI POKALA                         RABIE GEORGEY
C/O MARYLAND FINANCIAL INVESTORS           10201 S. MAIN STREET                  10201 S. MAIN STREET
2800 QUARRY LAKES DR STE 340               HOUSTON, TX 77025                     HOUSTON, TX 77025
BALTIMORE, MD 21209




RABINDRA PERSAUD                           RACE RECYCLING                        RACE
10201 S. MAIN STREET                       19904 DES MOINES MEMORIAL DR S        8608 S 222ND ST
HOUSTON, TX 77025                          SEATAC, WA 98148-2265                 KENT, WA 98031




RACEK & ASSOCIATES LLC                     RACHAEL CHAPMAN                       RACHAEL COLLINS
6200 SOM CENTER RD STE D25                 10201 S. MAIN STREET                  10201 S. MAIN STREET
SOLON, OH 44139                            HOUSTON, TX 77025                     HOUSTON, TX 77025




RACHAEL JANE YORK                          RACHAEL KNATCAL                       RACHAEL MANNING
10201 S. MAIN STREET                       10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                     HOUSTON, TX 77025




RACHAEL MATTINGLY                          RACHAEL POLLACK                       RACHAEL WHEELER
10201 S. MAIN STREET                       10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                     HOUSTON, TX 77025




RACHEL ADELSON                             RACHEL BECKERMAN                      RACHEL BURR
10201 S. MAIN STREET                       10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                     HOUSTON, TX 77025
RACHEL BURTON          Case 18-12241-CSS
                                      RACHELDoc  26
                                             BYRNE       Filed 10/05/18   PageRACHEL
                                                                               1306 of 1739
                                                                                     DUPONT
302 MAXTON AVE                         10201 S. MAIN STREET                   10201 S. MAIN STREET
DALLAS, GA 30132                       HOUSTON, TX 77025                      HOUSTON, TX 77025




RACHEL ESPARZA                         RACHEL FINCH                           RACHEL FLOHR
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RACHEL FLOHR                           RACHEL GARRETT                         RACHEL GONZALEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RACHEL HADDON                          RACHEL INCORVAIA                       RACHEL JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RACHEL JOSLYN                          RACHEL KATZ                            RACHEL LEIGH WERNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   4119 PRADO DE LA PUMA
HOUSTON, TX 77025                      HOUSTON, TX 77025                      CALABASAS, CA 91302




RACHEL LOPEZ                           RACHEL MAHER                           RACHEL MILLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RACHEL OLIVO SHERMAN                   RACHEL R JOSLYN                        RACHEL RIALS
10201 S. MAIN STREET                   DISTRICT MANAGER                       919 ST PAUL DR APT 143
HOUSTON, TX 77025                      9027 PREAKNESS DR                      RICHARDSON, TX 75080
                                       FLORENCE, KY 41042




RACHEL SAULS                           RACHEL SCARPINATO                      RACHEL SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RACHEL SOULEK                          RACHEL SULLIVAN                        RACHEL VALENTINE
1102 PARK AVE 4                        10201 S. MAIN STREET                   10201 S. MAIN STREET
OMAHA, NE 68105                        HOUSTON, TX 77025                      HOUSTON, TX 77025




RACHEL WELTE                           RACHELL BALBACHAN                      RACHELLE ANN WOODSON
3440 CEDARLAWN DR                      13056 120TH ST                         10201 S. MAIN STREET
COLORADO SPRINGS, CO 80918             LARGO, FL 33778                        HOUSTON, TX 77025
RACHELLE MINER           Case 18-12241-CSS   Doc
                                        RACHELLE   26 Filed 10/05/18
                                                 PARRISH               PageRACINE
                                                                            1307 JOURNAL
                                                                                  of 1739TIMES
10201 S. MAIN STREET                     10201 S. MAIN STREET               C/O LEE ENTERPRISES
HOUSTON, TX 77025                        HOUSTON, TX 77025                  212 4TH ST
                                                                            RACINE, WI 53403




RACINE JOURNAL TIMES                     RACINE WATER & WASTEWATER          RACINE WATER & WASTEWTR UTIL
C/O LEE ENTERPRISES                      P.O. BOX 080948                    101 BARKER ST
PO BOX 742548                            RACINE, WI 53408-0948              RACINE, WI 53402
CINCINNATI, OH 45274-2548




RACINE WATER & WASTEWTR UTIL             RADER STEVE                        RADIANT GLOBAL LOGISTICS INC
P.O. BOX 080948                                                             405 114TH AVE SE 3RD FLOOR
RACINE, WI 53408-0948                                                       BELLEVUE, WA 98004




RADIANT GLOBAL LOGISTICS INC             RADIO CINCINNATI                   RADIO MEDFORD
PO BOX 844722                            DBA WRRM-FM                        1483 ROSSANLEY DR
DALLAS, TX 75284-4722                    3669 MOMENTUM PLACE                MEDFORD, OR 97501
                                         CHICAGO, IL 60689-5336




RADIO ONE ATLANTA                        RADIO ONE BALTIMORE                RADIO ONE HOUSTON
PO BOX 603441                            PO BOX 603441                      PO BOX 847339
CHARLOTTE, NC 28260-3441                 CHARLOTTE, NC 28260                DALLAS, TX 75284




RADIO ONE INC (WKYS-FM)                  RADIO ONE INC WKJS-FM              RADIO ONE INC
PO BOX 603441                            PO BOX 603441                      8515 GEORGIA AVE
CHARLOTTE, NC 28260-3441                 CHARLOTTE, NC 28260-3441           SILVER SPRING, MD 20910




RADIO ONE INC                            RADIO ONE INC                      RADIO ONE INC
LOCKBOX PAYMENTS WQOK-FM                 PO BOX 603441                      WCDX-FM
PO BOX 603441                            CHARLOTTE, NC 28260-3441           PO BOX 603441
CHARLOTTE, NC 28260-3441                                                    CHARLOTTE, NC 28260-3441




RADIO ONE INC                            RADIO ONE INC                      RADIO ONE INC(WMMJ-FM)
WERQ-FM                                  WMMJ-FM                            PO BOX 603441
1705 WHITEHEAD RD STE 100                8515 GEORGIA AVE                   CHARLOTTE, NC 28260-3441
BALTIMORE, MD 21207                      SILVER SPRING, MD 20910




RADIO ONE INDIANAPOLIS                   RADIO ONE OF INDIANA LP            RADIO ONE OF TEXAS II LLC
PO BOX 92265                             21 E ST. JOSEPH ST                 KMJQFM KBXXFM KROIFM KMJQHD
CLEVELAND, OH 44193                      INDIANAPOLIS, IN 46204             24 GREENWAY PLAZA 900
                                                                            HOUSTON, TX 77046-2412




RADIO ONE OF TX LP DBA KSOC FM           RADIO ONE RICHMOND                 RADIO SPOKANE
13331 PRESTON RD STE 1180                PO BOX 603441                      1601 E 57TH ST
DALLAS, TX 75240                         CHARLOTTE, NC 28260-3441           SPOKANE, WA 99223
RADIO TRI CITIES       Case 18-12241-CSS    Doc 26
                                      RADIO YAKIMA     Filed 10/05/18
                                                   KRSE-FM              PageRADNOR
                                                                             1308 of 1739
                                                                                   CHASE CRONIES
4304 W 24TH STE 200                     PO BOX 2890                          C/O CHRISTINE KOCH
KENNEWICK, WA 99338                     YAKIMA, WA 98907                     P.O. BOX 490
                                                                             CONCORDVILLE, PA 19331




RADNOR CHASE CRONIES                    RADNOR CHASE CRONIES                 RADNOR CHASE CRONIES
C/O CHRISTINE KOCH                      C/O CHRISTINE KOCH                   C/O KENNETH CROSS INVESTMENT GROUP,
P.O. BOX 490                            PO BOX 490                           INC.
CONCORDVILLE, PA 19331-0490             CONCORDVILLE, PA 19331-0490          P.O. BOX 490
                                                                             CONCORDVILLE, PA 19331



RADNOR CHASE CRONIES                    RADNOR CHASE CRONIES                 RADNOR TOWNSHIP
C/O KENNETH CROSS INVESTMENT GROUP,     PO BOX 490                           FINANCE DEPT
INC.                                    CONCORDVILLE, PA 19331               301 IVEN AVE
P.O. BOX 490                                                                 WAYNE, PA 19087
CONCORDVILLE, PA 19331-0490



RAE DAY                                 RAE JOHNSON                          RAE SECURITY SOUTHWEST LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                 5201 MITCHELLDALE ST STE A1
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77092




RAEANN AVILA                            RAEANNE JOURNEY                      RAECHELLE MCDANIEL
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




RAEGINA BLAS                            RAENA LASSITER                       RAESHAWN YOUNG
3001 JUNE ST                            10201 S. MAIN STREET                 10201 S. MAIN STREET
KILLEEN, TX 76543                       HOUSTON, TX 77025                    HOUSTON, TX 77025




RAEVAUGHN COOK                          RAFAEL ALFONSO                       RAFAEL COLLADO
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




RAFAEL DE JESUS                         RAFAEL DIAZ                          RAFAEL HERRERA
10201 S. MAIN STREET                    10201 S. MAIN STREET                 8720 NW 18 ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                    PEMBROKE PINES, FL 33024-3303




RAFAEL JIMENEZ                          RAFAEL MANZO                         RAFAEL MARFIL
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




RAFAEL MARRERO                          RAFAEL PEREZ                         RAFAEL TORRES
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025
RAFAEL TORRICO         Case 18-12241-CSS
                                      RAFAELDoc 26 LP
                                            VENTURES Filed 10/05/18
                                                       DBA 11505         PageRAFAEL
                                                                 OLIVE LLC    1309 VILLEGAS
                                                                                    of 1739
10201 S. MAIN STREET                    7700 FORSYTH BLVD STE 100              10201 S. MAIN STREET
HOUSTON, TX 77025                       CLAYTON, MO 63105                      HOUSTON, TX 77025




RAFAELL LOCKETT                         RAGAN COMMUNICATIONS                   RAGIP BAYSAL
10201 S. MAIN STREET                    PO BOX 5970                            10201 S. MAIN STREET
HOUSTON, TX 77025                       CAROL STREAM, IL 60197                 HOUSTON, TX 77025




RAGLAND CORPORATION                     RAGNAR HUFFMANN                        RAHEEM WILLIS
P.O. BOX 50786                          10201 S. MAIN STREET                   10201 S. MAIN STREET
NASHVILLE, TN 37205                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RAHIM E KOTHAWALA                       RAHNELL JOHNSON                        RAHUL JAISWAL
10201 S. MAIN STREET                    DBA HARDWORK SERVICE LLC               10201 S. MAIN STREET
HOUSTON, TX 77025                       1014 HULL ST APT 205                   HOUSTON, TX 77025
                                        RICHMOND, VA 23224




RAIF ZUREIKAT                           RAIMUNDO RODRIGUEZ                     RAINA DE GUZMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                   1705 RADA RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HACIENDA HEIGHTS, CA 91745




RAINBOW 1880 LLC                        RAINBOW ARROYO COMMONS LLC             RAINBOW ARROYO COMMONS LLC
1650 BOREL PLACE STE222                 C/O LAURICH PROPERTIES, INC.           C/O LAURICH PROPERTIES, INC.
SAN MATEO, CA 94402-3508                10655 PARK RUN DR STE 160              10655 PARK RUN DR STE 160
                                        LAS VEGAS, NV 89144                    LAS VEGAS, NV 89144-4590




RAINBOW CLEANING                        RAINBOW COVINGTON PROPERTIES, LLC      RAINBOW INVESTMENT CO., LP
1016 INDIAN WOODS RD                    ATTN: LLOYD GUILLOT                    591 CAMINO DE LA REINA, SUITE 900
LEWISTON WOODVILLE, NC 27849            15051 DENDINGER DRIVE                  SAN DIEGO, CA 92108
                                        COVINGTON, LA 70433




RAINBOW INVESTMENT CO., LP              RAINBOW THOMPSON                       RAINBOW WINDOW CLEANING
C/O GROSSMONT LAND CO                   DBA RAINBOW CLEANING                   5179 MILLER PAUL RD
P.O. BOX 82551                          1016 INDIAN WOODS RD.                  WESTERVILLE, OH 43082
GOLETA, CA 93118-2551                   LEWISTON WOODVILLE, NC 27849




RAINERI CONSTRUCTIONS, LLC              RAINIER APPAREL INC                    RAINIER ASSET MANAGEMENT COMPANY
5400 DEVONSHIRE AVE                     4810 PT. FOSDICK DR NW (55)            13760 NOEL RD, SUITE 800
ST LOUIS, MO 63109                      GIG HARBOR, WA 98335                   DALLAS, TX 75240




RAINIER ELK LAKE SC ACQUISITIONS LLC    RAINIER ELK LAKE SC ACQUISITIONS LLC   RAINIER ELK LAKES SC ACQUISITIONS, LLC
13760 NOEL RD STE 800                   EMERSON COMM MGMT                      C/O RAINIER ASSET MANAGEMENT
DALLAS, TX 75240                        17776 PRESTON RD STE 100               COMPANY
                                        DALLAS, TX 75252                       ATTN: ASSET MANAGER
                                                                               13760 NOEL RD, SUITE 800
                                                                               DALLAS, TX 75240
                       Case 18-12241-CSS
RAINIER ELK LAKES SC ACQUISITIONS, LLC RAINIERDoc  26 Filed
                                               SOUTHPARK        10/05/18
                                                           MANAGER, LLC      PageRAINMARK
                                                                                  1310 of OK,
                                                                                          1739LLC
EMERSON COMM MGMT                      ATTN: MATTHEW HOOD                         4514 COLE AVE STE 1100
17776 PRESTON RD STE 100               13760 NOEL RD, SUITE 800                   DALLAS, TX 75205
DALLAS, TX 75252                       DALLAS, TX 75240




RAINSPRINGS LAS VEGAS, LLC              RAINSPRINGS LAS VEGAS, LLC                RAINTREE HOLDINGS, LLC
C/O MADISON DEVEL. GROUP LLC            C/O MADISON DEVELOPMENT GROUP, LLC        30265 SOLON INDUSTRIAL PKWY
141 FRONT ST N                          141 FRONT STREET N                        SOLON, OH 44139
ISSAQUAH, WA 98027                      ISSAQUAH, WA 98027




RAINTREE HOLDINGS, LLC                  RAINTREE HOLDINGS, LLC                    RAINTREE PAD 2 LLC
P.O. BOX 39038                          PO BOX 39038                              2980 E NORTHERN AVE STE A
SOLON, OH 44139                         SOLON, OH 44139                           PHOENIX, AZ 85028




RAINTREE PAD 2 LLC                      RAISSA HOLT                               RAISSA MBOMA MWENZE
C/O MUTUAL DEVEL. COMPANY               10201 S. MAIN STREET                      10201 S. MAIN STREET
PO BOX 844436                           HOUSTON, TX 77025                         HOUSTON, TX 77025
LOS ANGELES, CA 90084




RAIV MOORE                              RAJAN SEHGAL                              RAKEITA HARRIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                      9308 E 81ST TER
HOUSTON, TX 77025                       HOUSTON, TX 77025                         RAYTOWN, MO 64138




RAKHAT REILLY                           RALANCE COWART                            RALEIGH MUSIC GROUP
10201 S. MAIN STREET                    10201 S. MAIN STREET                      ATTN: PETER RALEIGH
HOUSTON, TX 77025                       HOUSTON, TX 77025                         1411 BROADWAY, 4TH FLOOR
                                                                                  NEW YORK, NY 10018




RALEIGH WAKE FOREST LLC                 RALEIGH WAKE FOREST LLC                   RALPH BARAHONA
C/O ARC PROPERTIES INC                  C/O ARC PROPERTY TRUST, INC.              412 PRONGHORN
1401 BROAD ST                           1401 BROAD ST                             COLLEGE STATION, TX 77845
CLIFTON, NJ 07013                       CLINTON, NJ 07013




RALPH CHRISTIE                          RALPH ESCOBAR                             RALPH HOUCK
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




RALPH HUGHES III                        RALPH K PHALEN                            RALPH MORRIS
19321 PARK ROW 1429                     1000 BROADWAY                             10201 S. MAIN STREET
HOUSTON, TX 77084                       SUITE 400                                 HOUSTON, TX 77025
                                        KANSAS CITY, MO 64105




RALPH NARAINE                           RALPH RUGGIERO                            RALPH SERPE
10201 S. MAIN STREET                    10201 S. MAIN STREET                      5730 W LIBBY ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                         GLENDALE, AZ 85308
RALPH SOEGAARD        Case 18-12241-CSS
                                     RALPHSDoc  26 Filed 10/05/18
                                            BARBECUE                     PageRALPHY
                                                                              1311 of 1739
                                                                                    SALAS
                                      1400 JULIAN ALLSBROOK HWY               10201 S. MAIN STREET
                                      WELDON, NC 27890                        HOUSTON, TX 77025




RAMA REALTY ASSOCIATES LLC            RAMCO GATEWAY, LLC                      RAMCO GATEWAY, LLC
2020 AVE K                            31500 NORTHWESTERN HIGHWAY, SUITE 300   RAMCO GERSHENNSON PROPERTIES LP
BROOKLYN, NY 11210                    FARMINGTON HILLS, MI 48334              PO BOX 350018
                                                                              BOSTON, MA 02241-0518




RAMCO GERSHENSON PROP LTD             RAMCO GERSHENSON PROP LTD               RAMCO GERSHENSON PROPERTIES LP
PARTNERSHIP                           PARTNERSHIP                             31500 NORTHWESTERN HWY STE 300
31500 NORTHWESTERN HWY, STE 300       THE SHOPPES AT FOX RIVER                FARMINGTON HILLS, MI 48334
FARMINGTON HILLS, MI 48334            P. O. BOX 350018
                                      BOSTON, MA 02241-0518



RAMCO GERSHENSON PROPERTIES LP        RAMCO GERSHENSON PROPERTIES LP          RAMCO GERSHENSON PROPERTIES LP
31500 NORTHWESTERN HWY STE 300        31500 NORTHWESTERN HWY, STE 300         ATTN: PATRICK BUNYARD, PROPERTY
FARMINGTON, MI 48334                  FARMINGTON HILLS, MI 48334              MANAGER
                                                                              31500 NORTHWESTERN HWY STE 300
                                                                              FARMINGTON HILLS, MI 48334



RAMCO GERSHENSON PROPERTIES LP        RAMCO GERSHENSON PROPERTIES LP          RAMCO GERSHENSON PROPERTIES LP
C/O LOCKBOX 602912                    C/O WOODWAY LAKES                       DBA BRIDGEWATER FALLS STATION LLC
75 REMITTANCE CENTER DR DEPT 6150     PO BOX 350018                           31500 NORTHWESTERN HWY STE 300
CHICAGO, IL 60675                     BOSTON, MA 02241                        FARMINGTON HILLS, MI 48334




RAMCO GERSHENSON PROPERTIES LP        RAMCO GERSHENSON PROPERTIES LP          RAMCO GERSHENSON PROPERTIES LP
DBA BRIDGEWATER FALLS STATION LLC     DBA TROY MARKETPLACE                    DBA TROY MARKETPLACE
31500 NORTHWESTERN HWY STE 300        31500 NORTHWESTERN HWY STE 300          31500 NORTHWESTERN HWY STE 300
FARMINGTON, MI 48334                  FARMINGTON HILLS, MI 48334              FARMINGTON, MI 48334




RAMCO GERSHENSON PROPERTIES LP        RAMCO GERSHENSON PROPERTIES LP          RAMCO GERSHENSON PROPERTIES LP
DBA TROY MARKETPLACE                  DBA TROY MARKETPLACE                    DBA WOODBURY LAKES
PO BOX 350018                         PO BOX 350018                           31500 NORTHWESTERN HWY STE 300
BOSTON, MA 02241                      BOSTON, MA 02241-0518                   FARMINGTON HILLS, MI 48334




RAMCO GERSHENSON PROPERTIES LP        RAMCO GERSHENSON PROPERTIES LP          RAMCO GERSHENSON PROPERTIES LP
DBA WOODBURY LAKES                    MOUNT PROSPECT PLAZA                    PO BOX 350018
31500 NORTHWESTERN HWY STE 300        PO BOX 350018                           BOSTON, MA 02241
FARMINGTON, MI 48334                  BOSTON, MA 02241-0518




RAMCO GERSHENSON PROPERTIES           RAMCO JACKSONVILLE, LLC                 RAMCO JACKSONVILLE, LLC
31500 NORTHWESTERN HWY, STE 300       31500 NORTHWESTERN HIGHWAY, SUITE 300   PO BOX 350018
FARMINGTON HILLS, MI 48334            FARMINGTON HILLS, MI 48334              BOSTON, MA 02241-0518




RAMCO-GERSHENSON PROPERTIES L.P.      RAMCON LLC SERVICE DEPARTMENT           RAMCON LLC
31500 NORTHWESTERN HWY, STE 300       PO BOX 89911                            5902 BRECKENRIDGE PKWY
FARMINGTON HILLS, MI 48334            TAMPA, FL 33689-0415                    TAMPA, FL 33610
RAMESH S BODDULA         Case 18-12241-CSS    Doc 26
                                        RAMI BDEIR        Filed 10/05/18      PageRAMI
                                                                                   1312  of 1739
                                                                                       KAKAH
2598 BRANCH LN                          10201 S. MAIN STREET                      10201 S. MAIN STREET
BREA, CA 92821                          HOUSTON, TX 77025                         HOUSTON, TX 77025




RAMIL GULALIYEV                         RAMIREZ LOGISTICS LLC                     RAMIREZ, JUAN
10201 S. MAIN STREET                    8532 N LAMAR BLVD 5133                    PO BOX 7817
HOUSTON, TX 77025                       AUSTIN, TX 78753                          ROMEOVILLE, IL 60446-0817




RAMIRO AYALA                            RAMIRO HERMOSILLA, TRUSTEE OF THE         RAMIRO HERMOSILLO
10201 S. MAIN STREET                    RAMIRO HERMOSILLA TRUST DATED 8/813       3121 RIDDLE RD
HOUSTON, TX 77025                       ATTN: RAMIRO HERMOSILLA                   SAN JOSE, CA 95117
                                        3121 RIDDLE ROAD
                                        SAN JOSE, CA 95117



RAMIRO PANTOJA JR                       RAMON FERNANDEZ                           RAMON LEWIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




RAMON LOPEZ                             RAMON MARTE                               RAMON MCGEE
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




RAMON PENA                              RAMON PEREZ                               RAMON RODRIGUEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




RAMON SERRANO                           RAMONE WILLIAMS                           RAMSEY BOARD OF PUBLIC WORKS
10201 S. MAIN STREET                    10201 S. MAIN STREET                      33 N CENTRAL AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                         RAMSEY, NJ 07446




RAMSEY BOARD OF PUBLIC WORKS            RAMSEY FIRE PREVENTION                    RAMSEY, RYAN
WATER & SEWER DEPT                      33 N CENTRAL AVE                          3499 RANCH RD 620 S #6208
33 NORTH CENTRAL AVE                    RAMSEY, NJ 07446                          AUSTIN, TX 78738-7063
RAMSEY, NJ 07446




RANA LLC                                RANA HARMON                               RANA HARMON
PO BOX 31952                            10201 S. MAIN STREET                      10201 S. MAIN STREET
RALEIGH, NC 27622-1952                  HOUSTON, TX 77025                         HOUSTON, TX 77025




RANCHO CALIFORNIA WATER                 RANCHO CENTER, LLC                        RANCHO CENTER, LLC
P.O. BOX 512687                         4400 E. BROADWAY BLVD., SUITE 805         ATTN: BOB KIVEL
LOS ANGELES, CA 90051-0687              TUCSON, AZ 85712                          PO BOX 42677
                                                                                  TUCSON, AZ 85733
RANCHO LARGO LLC      Case 18-12241-CSS
                                     RANDALDoc    26 Filed
                                              THOMAS          10/05/18   PageRANDALL
                                                                              1313 ofALLEN
                                                                                       1739
C/O PACIFIC COMMERCIAL MGT INC       10201 S. MAIN STREET                    1720 RAWHIDE LOOP
2725 CONGRESS ST STE 1E              HOUSTON, TX 77025                       ROUND ROCK, TX 78681
SAN DIEGO, CA 92110




RANDALL BROWN                        RANDALL FAMILY LLC                      RANDALL HIGGINS
10201 S. MAIN STREET                 THE FREDERICK NEWS-POST                 10201 S. MAIN STREET
HOUSTON, TX 77025                    351 BALLENGER CENTER DR                 HOUSTON, TX 77025
                                     FREDERICK, MD 21703




RANDALL HUMEK                        RANDALL RIVERA                          RANDALL SIMMONS
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




RANDALL TOLLIVER                     RANDALL WILLIFORD                       RANDALL WOODSON
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




RANDALL-REILLY PUBLISHING CO LLC     RANDEEP GILL                            RANDI BURKS
PO BOX 2029                          10201 S. MAIN STREET                    10201 S. MAIN STREET
TUSCALOOSA, AL 35403                 HOUSTON, TX 77025                       HOUSTON, TX 77025




RANDI KOWALSKI                       RANDOLPH COUNTY TAX COLLECTOR           RANDOLPH EMC
10201 S. MAIN STREET                 725 MCDOWELL RD                         879 MCDOWELL RD
HOUSTON, TX 77025                    ASHEBORO, NC 27205-7370                 ASHEBORO, NC 27204




RANDOLPH EMC                         RANDOLPH FOX                            RANDOLPH K HAYES
P.O. BOX 405                         10201 S. MAIN STREET                    714 BRAIDWOOD RIDGE
ASHEBORO, NC 27204-0040              HOUSTON, TX 77025                       ACWORTH, GA 30101




RANDOLPH                             RANDSTAD NORTH AMERICA LP               RANDSTAD
ATTN: PROPERTY TAX DEPT.             DBA RANDSTAD US LP                      MAIL CODE(5602)
725 MCDOWELL RD                      P O BOX 2084                            PO BOX 105046
ASHEBORO, NC 27205-7370              CAROL STREAM, IL 60132-2084             ATLANTA, GA 30348-5046




RANDSTAD                             RANDSTAD                                RANDY ALAN WEISS
PO BOX 7247-6655                     PO BOX 742689                           1150 CONNECTICUT AVENUE, NW, SUITE 900
PHILADELPHIA, PA 19170-0307          ATLANTA, GA 30374-2689                  WASHINGTON, DC 20036




RANDY BLANKENSHIP                    RANDY BLOOM                             RANDY CARLIN
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025
RANDY CHARLES          Case 18-12241-CSS
                                      RANDY Doc  26
                                            COLLINS      Filed 10/05/18   PageRANDY
                                                                               1314COOK
                                                                                    of 1739
19702 LION GATES CT                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HUMBLE, TX 77338                       HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY DAVIS                            RANDY DAVIS                            RANDY EDWARDS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY ELLIOTT                          RANDY EMERY                            RANDY GAROUTTE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY GRAY                             RANDY HAMM                             RANDY HAMMOND
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY HANEY                            RANDY HUTTO                            RANDY JOHNSON JR
17 HOLLAND RIDGE DR                    10201 S. MAIN STREET                   1209 CALIBRE CREEK PKWY
CANDLER, NC 28715                      HOUSTON, TX 77025                      ROSWELL, GA 30076




RANDY KATES                            RANDY KURTYAK                          RANDY LALANNE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY LOEBIG                           RANDY MARTINEZ                         RANDY MCCULLY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY MICKNIS                          RANDY MILES                            RANDY MORAN
10201 S. MAIN STREET                   43255 HAWKEYE ST                       225 FULLER LN APT B
HOUSTON, TX 77025                      SALT LAKE CITY, UT 84120               BOWLING GREEN, KY 42101




RANDY MORGAN                           RANDY MORTON                           RANDY NAULT
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY NIELSEN                          RANDY OCASIO                           RANDY PIRO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
RANDY REIN              Case 18-12241-CSS
                                       RANDY Doc 26
                                             REMMIE      Filed 10/05/18   PageRANDY
                                                                               1315RUSSELL
                                                                                    of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY SCORCA                           RANDY SCOTT                            RANDY SINGER
10201 S. MAIN STREET                   16708 10TH AVE NE                      10201 S. MAIN STREET
HOUSTON, TX 77025                      SHORELINE, WA 98155                    HOUSTON, TX 77025




RANDY TEJADA TEJADA                    RANDY VAUGHAN                          RANDY VAZQUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY WANAT                            RANDY WILLIAMS                         RANDY WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANDY WILLIAMS                         RANDY WILSON                           RANDY YUN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RANGER CONSTRUCTION COMPANY INC        RANIEL STA ANA                         RANSOM BROOKS
4240 MORRIS FIELD DRIVE                10201 S. MAIN STREET                   10201 S. MAIN STREET
CHARLOTTE, NC 28208                    HOUSTON, TX 77025                      HOUSTON, TX 77025




RANYELLE REID                          RAPHAEL DIEZ                           RAPHAEL PALLADINO
1303 106 PINEWINDS DR                  10201 S. MAIN STREET                   10201 S. MAIN STREET
RALEIGH, NC 27603                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RAPHAEL PAPACHRISTODOULOU              RAPHAEL PIETERS                        RAPHAEL SANCHEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RAPID LEARNING DEPLOYMENT LLC          RAPID7 LLC                             RAPIDAN SERVICE AUTHORITY
1775 WOODSTOCK RD SSTE 300             LOCK BOX                               11235 SPOTSWOOD TRL
ROSWELL, GA 30075                      PO BOX 347377                          RUCKERSVILLE, VA 22968
                                       PITTSBURGH, PA 15251-4377




RAPIDAN SERVICE AUTHORITY              RAPIDES PARISH                         RAPIDES
PO BOX 148                             PO BOX 671                             ATTN: PROPERTY TAX DEPT.
RUCKERSVILLE, VA 22968                 ALEXANDRIA, LA 71309                   PO BOX 671
                                                                              ALEXANDRIA, LA 71309
RAPIDS 3550 LLC          Case 18-12241-CSS   Doc 26 ELECTRIC
                                        RAPPAHANNOCK  Filed 10/05/18
                                                             COOP           PageRAPPAHANNOCK
                                                                                 1316 of 1739ELECTRIC COOP
2760 N UNIVERSITY DR                     247 INDUSTRIAL CT                       P.O. BOX 34757
HOLLYWOOD, FL 33024                      FREDERICKSBURG, VA 22408                ALEXANDRIA, VA 22334-0757




RAPPAPORT MANAGEMENT COMPANY             RAPPAPORT MANAGEMENT COMPANY            RAPPAPORT MANAGEMENT COMPANY
ANETA COBBS, SR. MGR.                    ANETA COBBS, SR. MGR.                   SANDY KING, SR. PROPERTY MANAGER
8405 GREENSBORO DRIVE, 8TH FLOOR         8405 GREENSBORO DRIVE, 8TH FLOOR        8405 GREENSBORO DRIVE, 8TH FLOOR
BALTIMORE, MD 22102-5121                 MCLEAN, VA 22102-5121                   MCLEAN, VA 22102-5121




RAPT MEDIA INC                           RAQUEL ETIENNE                          RAQUEL SPENCER
1401 WALNUT ST STE 200                   10201 S. MAIN STREET                    10201 S. MAIN STREET
BOULDER, CO 80302                        HOUSTON, TX 77025                       HOUSTON, TX 77025




RAR2-WICKER PARK COMMONS LLC             RAR2-WICKER PARK COMMONS LLC            RARU ARCHER
C/O MID-AMERICA ASSET MANAGEMENT,        C/O RREEF JP MORGAN CHASE               10201 S. MAIN STREET
INC.                                     PO BOX 6245                             HOUSTON, TX 77025
ONE PARKVIEW PLAZA, 9TH FLOOR            HICKSVILLE, NY 11802-6245
OAKBROOK TERRACE, IL 60181



RAR-WICKER PARK COMMONS LLC              RASHAAD RIGSBY                          RASHAD DAVENPORT
PO BOX 6245                              10201 S. MAIN STREET                    10201 S. MAIN STREET
HICKSVILLE, NY 11802                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RASHAD QUARLES                           RASHAD SHAW                             RASHANDA JONES
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




RASHARD JONES                            RASHAUN STEELE                          RASHAWN LAWRENCE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




RASHAWN PARKER                           RASHAWN PRINCE                          RASHAY BASSETT
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




RASHEDA S MOORE PETTIS                   RASHIDA LIVINGSTON                      RASHIED HENRY
1985 ROCHELLE LN                         10201 S. MAIN STREET                    10201 S. MAIN STREET
CORDOVA, TN 38016                        HOUSTON, TX 77025                       HOUSTON, TX 77025




RASHOD CRAMER                            RASHON ECKFORD                          RASHON HART
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025
                     Case 18-12241-CSS
RAUL ANTONIO LOPEZ RODRIGUEZ               Doc 26 Filed
                                    RAUL ARANDA               10/05/18   PageRAUL
                                                                              1317  of 1739
                                                                                  DAVILA
10201 S. MAIN STREET                10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                        HOUSTON, TX 77025




RAUL DE LA ROSA                       RAUL E HINOJOSA                        RAUL FERNANDEZ
10201 S. MAIN STREET                  118 DELAWARE APT 4                     10201 S. MAIN STREET
HOUSTON, TX 77025                     SAN ANTONIO, TX 78210                  HOUSTON, TX 77025




RAUL FLORES                           RAUL GARCIA FLORES                     RAUL GARCIA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RAUL GUERRERO                         RAUL HINOJOSA                          RAUL MARIN
10201 S. MAIN STREET                  118 DELAWARE 4                         10201 S. MAIN STREET
HOUSTON, TX 77025                     SAN ANTONIO, TX 78210                  HOUSTON, TX 77025




RAUL MITTER                           RAUL MUNOZ                             RAUL PADILLA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RAUL RODRIGUEZ                        RAUL ROGER PEREIRA                     RAUL SALINAS
10201 S. MAIN STREET                  PO BOX 1431                            10201 S. MAIN STREET
HOUSTON, TX 77025                     WIRT RD 173                            HOUSTON, TX 77025
                                      HOUSTON, TX 77055




RAUL SANCHEZ                          RAUS RESTORATION LLC                   RAVEN HAWKINS
10201 S. MAIN STREET                  1181 BRITTMOORE RD STE 100             10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77043                      HOUSTON, TX 77025




RAVEN LEFLEUR                         RAVEN OVERTON                          RAVEN RAMCLAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RAVENSWOOD INDUSTRIAL BUILDING, LLC   RAVENWOOD SHOPPING CENTER LLC          RAVENWOOD SHOPPING CENTER LLC
DBA WATER TOWER PLAZA                 C/O SAUL HOLDINGS LP                   SOUL HOLDINGS LTD PARTNERSHIP
C/O MID AMERICA ASSET MANAGEMENT CO   7501 WISCONSIN AVE, SUITE 1500         PO BOX 64288
ONE PARKVIEW PLAZA, 9TH FLOOR         BETHESDA, MD 20814                     BALTIMORE, MD 21264-4288
OAKBROOK TERRACE, IL 60181



RAVID BOLINGBROOK LLC                 RAWLEIGH JONES                         RAWSON, BLUM & LEON
C/O MID AMERICA ASSET MGMT INC        10201 S. MAIN STREET                   505 SANSOME STREET, SUITE 450
ONE PARKVIEW PLAZA 9TH FL             HOUSTON, TX 77025                      SAN FRANCISCO, CA 94111
OAKBROOK TERRACE, IL 60181
RAY & GLICK, LLC       Case 18-12241-CSS     Doc 26 Filed
                                      RAY ARRICO             10/05/18   PageRAY
                                                                             1318  of 1739
                                                                                BABIAK
611 SOUTH MILWAUKEE AVE. STE 1        10201 S. MAIN STREET                  10201 S. MAIN STREET
LIBERTYVILLE, IL 60048                HOUSTON, TX 77025                     HOUSTON, TX 77025




RAY BRUCE                            RAY CONE                               RAY FLORES
10201 S. MAIN STREET                 10201 S. MAIN STREET                   DBA GOLD PEST CONTROL
HOUSTON, TX 77025                    HOUSTON, TX 77025                      P.O. BOX 671651
                                                                            HOUSTON, TX 77267




RAY GONZALES                         RAY HALL HALL                          RAY HAROLD HOLIDY
10201 S. MAIN STREET                 10201 S. MAIN STREET                   DISTRICT MANAGER-DALLAS
HOUSTON, TX 77025                    HOUSTON, TX 77025                      4964 GREENSTEIN DR
                                                                            KELLER, TX 76244




RAY HAYES                            RAY HINES                              RAY HOLIDY
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




RAY MCCOY                            RAY MERCADO                            RAY MICHEL
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




RAY OLSON                            RAY PALAFOX                            RAY PERSAUD
10201 S. MAIN STREET                                                        10201 S. MAIN STREET
HOUSTON, TX 77025                                                           HOUSTON, TX 77025




RAY RODRIGUEZ                        RAY THORUP                             RAYANS TRUCKING INC
10201 S. MAIN STREET                 10201 S. MAIN STREET                   86-30 104TH ST
HOUSTON, TX 77025                    HOUSTON, TX 77025                      RICHMOND HILL, NY 11418




RAYDON, KYNDALL                      RAYFORD LEWIS                          RAYMOND ANDERSON
4655 HIXON CIRCLE                    10201 S. MAIN STREET                   10201 S. MAIN STREET
CARMICHAEL, CA 95608-8021            HOUSTON, TX 77025                      HOUSTON, TX 77025




RAYMOND ARGUIJO                      RAYMOND BLACK                          RAYMOND BROCKMANN
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




RAYMOND BROTHERS                     RAYMOND CARDULLO                       RAYMOND COMBS-SMALL
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025
RAYMOND DUBOISE          Case 18-12241-CSS   Doc
                                        RAYMOND   26 Filed 10/05/18
                                                FAAMAUSILI               PageRAYMOND
                                                                              1319 ofGUERRERO
                                                                                      1739
6317 HONOR ROLL CT                      10201 S. MAIN STREET                 10201 S. MAIN STREET
ABILENE, TX 79606                       HOUSTON, TX 77025                    HOUSTON, TX 77025




RAYMOND HANDLING CONCEPTS               RAYMOND HANDLING CONSULTANT LC       RAYMOND HANDLING SOLUTIONS INC
CORPORATION                             PO BOX 865491                        9939 NORWALK BLVD
41400 BOYCE ROAD                        ORLANDO, FL 32886-5491               SANTA FE SPRINGS, CA 90670-1683
FREMONT, CA 94538-3113




RAYMOND HANDLING SOLUTIONS INC          RAYMOND HILBRANDT                    RAYMOND LARSEN
FILE 1700                               10201 S. MAIN STREET                 10201 S. MAIN STREET
1801 W OLYMPIC BLVD                     HOUSTON, TX 77025                    HOUSTON, TX 77025
PASADENA, CA 91199-1700




RAYMOND LEASING CORPORATION             RAYMOND LEASING CORPORATION          RAYMOND MALKIEWICZ
CORPORATE HEADQUARTERS                  P.O. BOX 301590                      10201 S. MAIN STREET
PO BOX 130                              DALLAS, TX 75303-1590                HOUSTON, TX 77025
GREENE, NY 13778




RAYMOND MASTERS                         RAYMOND NEGRONI                      RAYMOND PALMER
73 N SIERRA BONITA AVE                  10201 S. MAIN STREET                 10201 S. MAIN STREET
PASADENA, CA 91106                      HOUSTON, TX 77025                    HOUSTON, TX 77025




RAYMOND PIKE                            RAYMOND PRADO                        RAYMOND RAYNOR
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




RAYMOND ROY                             RAYMOND SALDANA                      RAYMOND SALDANA
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




RAYMOND SALDANA                         RAYMOND SALDANA                      RAYMOND SALDANA
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




RAYMOND SANTIAGO                        RAYMOND SCOTT                        RAYMOND STORAGE CONCEPTS
10201 S. MAIN STREET                    10201 S. MAIN STREET                 5480 CREEK ROAD
HOUSTON, TX 77025                       HOUSTON, TX 77025                    CINCINNATI, OH 45242




RAYMOND TOTARO JR                       RAYMOND WHITNEY                      RAYMOND WHOLLEY
1944 E ROSEMONT DR                      10201 S. MAIN STREET                 10201 S. MAIN STREET
PHOENIX, AZ 85025                       HOUSTON, TX 77025                    HOUSTON, TX 77025
RAYMUNDO DIAZLEAL       Case 18-12241-CSS   DocJ 26
                                       RAYMUNDO       Filed 10/05/18
                                                 TALAMANTEZ              PageRAYMUNDO
                                                                              1320 of 1739
                                                                                      MONTILLA MONTILLA
10201 S. MAIN STREET                                                          10201 S. MAIN STREET
HOUSTON, TX 77025                                                             HOUSTON, TX 77025




RAYN PENSADO                            RAYNALD DAVID                         RAYNARD FLANAGAN
6320 S KEATING AVE                      10201 S. MAIN STREET                  10201 S. MAIN STREET
CHICAGO, IL 60629                       HOUSTON, TX 77025                     HOUSTON, TX 77025




RAYNELL D TOLER DBA T3 PROPERTIES LLC   RAYNELL D TOLER                       RAYNHAM
DBA T3 PROPERTIES LLC                   DBA T3 PROPERTIES LLC                 ATTN: PROPERTY TAX DEPT.
PO BOX 1776                             PO BOX 1776                           PO BOX 844505
BECKLEY, WV 25802                       BECKLEY, WV 25802                     BOSTON, MA 02284-4505




RAYS KEY & LOCK SERVICES LLC            RAYS TRASH SERVICE INC.               RAYS TRASH SERVICE, INC.
25 NE 8TH AVE                           3859 E US HWY 40                      DRAWER I
OCALA, FL 34470                         PO BOX 1                              CLAYTON, IN 46118
                                        CLAYTON, IN 46118




RAYS TRASH SERVICE, INC.                RAYSHAUN BOSTICK                      RAYSHAWN FENNELL
P.O. BOX 6468                           10201 S. MAIN STREET                  10201 S. MAIN STREET
INDIANAPOLIS, IN 46206-6468             HOUSTON, TX 77025                     HOUSTON, TX 77025




RAYZOR RANCH MARKETPLACE                RAYZOR RANCH MARKETPLACE              RAZ RASOOL
ASSOCIATES LLC                          ASSOCIATES LLC                        10201 S. MAIN STREET
C/O FIDELIS REALTY PARTNERS, LTD.       PROPERTY 629610                       HOUSTON, TX 77025
5207 MCKINNEY AVENUE, SUITE 22          PO BOX 310300
DALLAS, TX 75205                        DES MOINES, IA 50331-0300



RAZIEL PIETSCH                          RB 1995 TRUST & WR-I XV               RB LOWELL MEADOW BROOK LLC
10201 S. MAIN STREET                    P.O. BOX 823201                       C/O RD MANAGEMENT LLC
HOUSTON, TX 77025                       PHILADELPHIA, PA 19182-3201           ATTN: IONA ARMOUR
                                                                              810 SEVENTH AVENUE, 10TH FLOOR
                                                                              NEW YORK, NY 10019



RB LOWELL MEADOW BROOK LLC              RB QUAKERTOWN LP                      RB SCHERERVILLE CROSSING LLC
PO BOX 8500                             DEPT CODE: SPAQ9096/-LSLEE//00        SHOPS ON MAIN 60023
PHILADELPHIA, PA 19178-5987             PO BOX 6203                           7742 SOLUTIONS CENTER
                                        HICKSVILLE, NY 11802-6203             CHICAGO, IL 60677-7007




RB SCHERERVILLE CROSSINGS, LLC          RB SCHERERVILLE CROSSINGS, LLC        RB TECH RIDGE LLC
C/O REGENCY CENTERS CORP.               C/O REGENCY CENTERS CORP.             C/O RD MANAGEMENT LLC
ATTN: LEASE ADMINISTRATION              ATTN: PROPERTY MANAGEMENT             ATTN: GENERAL COUNSEL
ONE INDEPENDENT DRIVE, SUITE 114        1211 W. 22ND STREET, SUITE 300        810 SEVENTH AVE 10TH FLOOR
JACKSONVILLE, FL 32202-5019             OAK BROOK, IL 60523                   NEW YORK, NY 10019



RBR JOINT VENTURE                       RBR JOINT VENTURE                     RC HOLLENBACK
C/O DOYLE ROGERS                        POST OFFICER DRAWER A                 10201 S. MAIN STREET
POST OFFICER DRAWER A                   BATESVILLE, AR 72503                  HOUSTON, TX 77025
BATESVILLE, AR 72503
RC INLAND REIT LP     Case     18-12241-CSS     DocREIT
                                         RC INLAND   26LP Filed 10/05/18      PageRC
                                                                                   1321  of REIT
                                                                                     INLAND 1739 LP
15105 COLLECTION CTR DR                   2901 BUTTERFIELD RD                      62054 COLLECTION CTR DR
CHICAGO, IL 60693                         OAK BROOK, IL 60523                      CHICAGO, IL 60693




RC INLAND REIT LP                         RC INLAND REIT LP                        RC INLAND REIT LP
62539 COLLECTION CTR DR                   62542 COLLECTION CTR DR                  INLAND WESTERN HOUSTON SAWYER
CHICAGO, IL 60693                         CHICAGO, IL 60693                        HEIGHTS
                                                                                   62054 COLLECTIONS CTR DR
                                                                                   CHICAGO, IL 60693-0621



RC INLAND REIT LP                         RC LAKE WALES RETAIL, LLC                RC LENHART
INLAND WESTERN SAN ANTONIO ALAMO          ATTN: ROBERT KRANTZ                      10201 S. MAIN STREET
RANCH                                     9570 RESEARCH DR                         HOUSTON, TX 77025
62539 COLLECTIONS CENTER DRIVE            IRVINE, CA 92618
CHICAGO, IL 60693-0625



RCG GRIFFIN LLC                           RCG GRIFFIN LLC                          RCG PALM COAST LLC
C/O RCG VENTURES I, LLC                   PO BOX 53483                             3060 PEACHTREE ROAD NW, SUITE 400
3060 PEACHTREE ROAD NW, SUITE 400         ATLANTA, GA 30355                        ATLANTA, GA 30305
ATLANTA, GA 30305




RCG PALM COAST LLC                        RCG SPRINGS LLC                          RCG ST JOSEPH
P.O. BOX 53483                            RCG VENTURES LLC                         C/O RCG VENTURES I, LLC
ATLANTA, GA 30355                         ATTN PROPERTY MGMT                       3060 PEACHTREE ROAD NW, SUITE 400
                                          3060 PEACHTREE RD NW STE 400             ATTN: VP - LEASING
                                          ATLANTA, GA 30305                        ATLANTA, GA 30305



RCG VENTURES FUND III LP                  RCG VENTURES FUND III LP                 RCG VENTURES I, LLC
DBA RCG GRIFFIN LLC                       PO BOX 53483                             ATTN: CHRIS ROGERS
3060 PEACHTREE RD NW STE 400              ATLANTA, GA 30355                        3060 PEACHTREE ROAD NW, SUITE 400
ATLANTA, GA 30305                                                                  ATLANTA, GA 30305




RCG VENTURES I, LLC                       RCG VENTURES I, LLC                      RCG VENTURES
ATTN: CHRIS ROGERS                        ATTN: MAEVE THORPE                       3060 PEACHTREE ROAD NW, SUITE 400
3060 PEACHTREE ROAD NW, SUITE 400         3060 PEACHTREE ROAD NW, SUITE 400        ATLANTA, GA 30305
ATLANTA, GA 30355                         ATLANTA, GA 30305




RCG-CLARKSVILLE LLC                       RCG-PALM COAST LLC                       RCG-PALM COAST LLC
C/O RCG VENTURES I LLC                    3060 PEACHTREE RD NW STE 400             PO BOX 53483
P O BOX 53483                             ATLANTA, GA 30305                        ATLANTA, GA 30355
ALANTA, GA 30355




RCG-SALISBURY, LLC                        RCG-SALISBURY, LLC                       RCG-ST JOSEPH LLC
C/O RCG VENTURES I, LLC                   C/O RCG VENTURES I, LLC                  C/O RCG VENTURES I, LLC
ATTN ACCOUNTING                           ATTN: PROPERTY MANAGEMENT                PO BOX 53483
PO BOX 53483                              3060 PEACHTREE ROAD NW, SUITE 400        ATLANTA, GA 30355
ATLANTA, GA 30355                         ATLANTA, GA 30305



RCS - NORTH BAY, LLC                      RCS LOWRY APARTMENTS LLC                 RCS NORTH BAY LLC
C/O REAL CAPITAL SOLUTIONS                C/O CONTINENTAL RE COMPANIES             C/O CREC
371 CENTENNIAL PARKWAY, SUITE 200         2121 PONCE DE LEON BLVD STE 1250         2121 PONCE DE LEON BLVD STE 1250
ATTN: GENERAL COUNSEL                     CORAL GABLES, FL 33134                   CORAL GABLES, FL 33134
LOUISVILLE, CO 80027
RCWD                     Case 18-12241-CSS
                                        RCWD Doc 26      Filed 10/05/18   PageRD
                                                                               1322  of 1739
                                                                                 BLOOMFIELD ASSOCIATES LP
42135 WINCHESTER RD                     P.O. BOX 51267                         C/O ACADIA REALTY TRUST
TEMECULA, CA 92590                      LOS ANGELES, CA 90051-0687             ATTN: GENERAL COUNSEL
                                                                               411 THEODORE FREMD AVENUE, SUITE 300
                                                                               RYE, NY 10580



RD BLOOMFIELD ASSOCIATES LP             RD BLOOMFIELD ASSOCIATES LP            RD ELMWOOD ASSOCIATES LP
C/O ACADIA REALTY TRUST                 PROPERT 0001 ACADIA REALTY LP          C/O ACADIA REALTY TRUST
ATTN: PROPERTY MANAGEMENT               PO BOX 415980                          411 THEODORE FREMD AVENUE, SUITE 300
411 THEODORE FREMD AVENUE, SUITE 300    BOSTON, MA 02241-5980                  RYE, NY 10580
RYE, NY 10580



RD ELMWOOD ASSOCIATES LP                RD MANAGEMENT LLC                      RD METHUEN ASSOCIATES LP
PO BOX 415980                           BARBARA SILBERBERG                     PROPERTY 0013
BOSTON, MA 02241-5980                   810 SEVENTH AVE, 10TH FLOOR            PO BOX 415980
                                        NEW YORK, NY 10019                     BOSTON, MA 02241-5980




RD SMITHTOWN LLC                        RD SMITHTOWN LLC                       RDI LOGISTICS INC
C/O ACADIA REALTY TRUST                 PROPERTY 0008                          8 NORFOLK AVE
411 THEODORE FREMD AVENUE, SUITE 300    PO BOX 415980                          SOUTH EASTON, MA 02375
ATTN: GENERAL COUNSEL                   BOSTON, MA 02241-5980
RYE, NY 10580



RDP ENTERPRISES                         RDR TRUCKING LLC                       RDS TAX TRUST ACCOUNT
DBA SONITROL OF ANDERSON                98 BRISTOL ST                          BUSINESS LICENSE ACCOUNTS
120 WEST SIXTH STREET                   SPRINGFIELD, MA 01109                  PO BOX 830471
ANDERSON, IN 46016                                                             BIRMINGHAM, AL 35283




RE SCHMIDT JR LLC                       REA RENO LLC                           READ INVESTMENTS, LLC
2165 LOUISA DR                          COLLIERS NEVADA MGMT LLC               DAWN WILLIAMS
BELLEAIR BEACH, FL 33786                1850 MT DIABLO BLVD 200                2025 FOURTH STREET
                                        WALNUT CREEK, CA 94596                 BERKELEY, CA 94710




READ THREE LLC                          READING EAGLE COMPANY                  READING MUNICIPAL LIGHT DEPT
READ INVESTMENTS                        PO BOX 582                             230 ASH ST
2025 4TH ST                             READING, PA 19603                      READING, MA 01867-0250
BERKELEY, CA 94710




READING MUNICIPAL LIGHT DEPT            READING RETAIL ASSOCIATES LTD.         READYREFRESH BY NESTLE
P.O. BOX 30                             C/O RIVERVIEW MANAGEMENT               P.O. BOX 856158
READING, MA 01867-0030                  1765 MERRIMAN ROAD                     LOUISVILLE, KY 40285-6158
                                        AKRON, OH 44313




REAGAN NATIONAL ADV OF AUSTIN           REAGAN NATIONAL ADV OF AUSTIN          REAGAN RATLIFF
7301 BURLESON RD                        PO BOX 561539                          705 SEVILLE RD
AUSTIN, TX 78744                        DENVER, CO 80256-1539                  DENTON, TX 76205




REAL DIGITAL MEDIA LLC                  REAL ENTERPRISE SYNERGY INC            REAL ESTATE EQUITIES INC
2 RIVERPLACE STE 200                    PO BOX 786587                          1 SLEIMAN PARKWAY SUITE 250
DAYTON, OH 45405                        PHILADELPHIA, PA 19178-6587            JACKSONVILLE, FL 32216
REAL ESTATE G.A.L. LLC Case   18-12241-CSS    Doc 26
                                        REAL ESTATE      FiledOF10/05/18
                                                    INV GROUP    BREVARD         PageREAL
                                                                                      1323  of 1739
                                                                                          ESTATE NAPERVILLE LLC
1305 BAKER RD                             1269 US HWY 1                               C/O CTK ASSET SRVC LLC
VIRGINIA BEACH, VA 23455                  ROCKLEDGE, FL 32955                         ATTN: TIM DONOHUE
                                                                                      564 S WASHINGTON ST STE 200
                                                                                      NAPERVILLE, IL 60540



REAL ESTATE NAPERVILLE, LLC               REAL ESTATE NAPERVILLE, LLC                 REAL ESTATE SERVICES
ATTN: PHIL MARRONE                        C/O CTK ASSET SRVC LLC                      EDWARD FITZSIMMONS LLC
564 S WASHINGTON ST STE 200               ATTN: TIM DONOHUE                           96 WINDSOR AVE
NAPERVILLE, IL 60540                      564 S WASHINGTON ST STE 200                 ROCKVILLE CENTRE, NY 11570
                                          NAPERVILLE, IL 60540



REAL SUB LLC                              REAL SUB LLC                                REAL SUB LLC
3300 PULBIX CORPORATE PKWY                C/O PUBLIX SUPER MARKETS, INC.              PO BOX 32018
LAKELAND, FL 33811-3311                   P.O. BOX 407                                LAKELAND, FL 33802
                                          LAKELAND, FL 33802




REAL SUB LLC                              REALITY BASED GROUP                         REALTY & MORTGAGE CO
PUBLIX SUPER MARKETS INC                  PO BOX 10027                                928 W DIVERSEY PKWY
PO BOX 32010                              AUSTIN, TX 78766                            CHICAGO, IL 60614-1416
LAKELAND, FL 33802-2010




REALTY EXCHANGE OF THE PALM BEACHES       REALTY INCOME CORPORATION                   REALTY INCOME CORPORATION
INC                                       220 WEST CREST STREET                       600 LA TERRAZA BLVD
HOLLENBECK & SILC INC                     ESCONDIDO, CA 92025                         ESCONDIDO, CA 92025-3873
3017 EXCHANGE COURT STE C
WEST PALM BEACH, FL 33409



REALTY INCOME CORPORATION                 REALTY INCOME CORPORATION                   REALTY INCOME CORPORATION
ATTN: LEGAL DEPARTMENT                    PO BOX 842428 BLDG 1048                     PO BOX 842428 BLDG 1067
11995 EL CAMINO REAL                      LOS ANGELES, CA 90084-2428                  LOS ANGELES, CA 90084-2428
SAN DIEGO, CA 92130




REALTY INCOME CORPORATION                 REALTY INCOME TEXAS PROPERTIES, L.P.        REALTY INCOME TX PROPERTIES 1 LLC
PO BOX 842428                             C/O REALTY INCOME CORPORATION               BLDG ID 1038
LOS ANGELES, CA 90084-2428                11995 EL CAMINO REAL                        P O BOX 842428
                                          SAN DIEGO, CA 92130                         LOS ANGELES, CA 90084




REALTY INCOME TX PROPERTIES 1 LLC         REALTY MANAGEMENT SERVICES OF               REALTY MGMT SERVICES OF
REALTY INCOME LP RE BLDG ID1038           WESTCHESTER INC.                            WESTCHESTER INC
PO BOX 844644                             180 E. PROSPECT AVENUE, #137                180 E PROSPECT AVE 137
LOS ANGELES, CA 90084-4644                MAMARONECK, NY 10543                        MAMARONECK, NY 10543




REALTY MGTM SERVICES                      REALTY MORTGAGE COMPANY                     REALTY MORTGAGE COMPANY
180 E PROSPECT AVE 137                    ATTN: LEILA SUTA                            HAROLD RIDER
MAMARONECK, NY 10543                      928 WEST DIVERSITY PARKWAY                  928 WEST DIVERSITY PARKWAY
                                          CHICAGO, IL 60614                           CHICAGO, IL 60614




REALTYLINK, LLC                           REANNA HALEY                                REARDON PROPERTIES, LLC
CHALET DAVIS, LEASE ADMINISTRATOR         10201 S. MAIN STREET                        P.O. BOX 2794
550 SOUTH MAIN STREET, SUITE 300          HOUSTON, TX 77025                           BELLINGHAM, WA 98227
GREENVILLE, SC 29601
                     Case
REARDON PROPERTIES, LLC     18-12241-CSS    Doc 26 MANAGEMENT,
                                      REATA PROPERTY Filed 10/05/18
                                                               INC.   PageREBECA
                                                                           1324 of 1739
                                                                                 ESQUEDA
SARATOGA COMMERCIAL R E                1100 NE LOOP 410, SUITE 400        10201 S. MAIN STREET
PO BOX 2794                            SAN ANTONIO, TX 78209              HOUSTON, TX 77025
BELLINGHAM, WA 98227




REBECA JIMENEZ                         REBECCA ABBRUZZETTI                REBECCA AYALA
10201 S. MAIN STREET                   231 E CHAPPOROSA DR                10201 S. MAIN STREET
HOUSTON, TX 77025                      KUNA, ID 83634                     HOUSTON, TX 77025




REBECCA BARTLETT                       REBECCA BIRUNGI                    REBECCA BOWMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




REBECCA BOWMAN                         REBECCA BROST                      REBECCA CARONE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




REBECCA CLARK                          REBECCA DUNCAN                     REBECCA FITZPATRICK
7600 WATERFORD LAKES DR APT 2038       7604 CARMIL CT                     4A EMMALINE ST
CHARLOTTE, NC 28210                    LOUISVILLE, KY 40291               GREENVILLE, SC 29611




REBECCA GEIGER                         REBECCA GREEN                      REBECCA HERRERA
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




REBECCA LANTHIER                       REBECCA LOETTERLE                  REBECCA LONG
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




REBECCA LUCERO                         REBECCA MARSHALL                   REBECCA MATTICK
910 N MOHAWK AVE                       6227 NE 28TH AVE                   10201 S. MAIN STREET
ANAHEIM, CA 92801                      PORTLAND, OR 97211                 HOUSTON, TX 77025




REBECCA MCDONALD                       REBECCA MOGOLLON                   REBECCA MORALES
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




REBECCA MORRISON                       REBECCA OAKMAN                     REBECCA PATRICE JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET               436 N EUCLID AVE APT 7
HOUSTON, TX 77025                      HOUSTON, TX 77025                  PASADENA, CA 91101
REBECCA POULOS         Case 18-12241-CSS   Doc
                                      REBECCA    26
                                              PRICE      Filed 10/05/18   PageREBECCA
                                                                               1325 ofROMANOWSKI
                                                                                       1739
10201 S. MAIN STREET                   13876 SOFTWIND TR N                    10201 S. MAIN STREET
HOUSTON, TX 77025                      JACKSONVILLE, FL 32224                 HOUSTON, TX 77025




REBECCA SAKACH                         REBECCA SIMMONS                        REBECCA SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




REBECCA WALTER-LOMU                    REBEKAH BARNETT                        REBEKAH PETTIS
323 PALM AVE                           10201 S. MAIN STREET                   10201 S. MAIN STREET
IMPERIAL BEACH, CA 91932               HOUSTON, TX 77025                      HOUSTON, TX 77025




REBEKAH STOHLMAN                       REBEKAH WALKER                         REBKEE PARTNERS MATTRESS HAMPTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   LLC
HOUSTON, TX 77025                      HOUSTON, TX 77025                      15871 CITY VIEW DR STE 300
                                                                              MIDLOTHIAN, VA 23113




RECARDO BLAKELY                        RECEIVER OF TAXES                      RECEIVER OF TAXES
10201 S. MAIN STREET                   116 HAMPTON ROAD                       TOWN OF SOUTHAMPTON
HOUSTON, TX 77025                      SOUTHAMPTON, NY 11968                  116 HAMPTON RD
                                                                              SOUTHAMPTON, NY 11968-4998




RECOLOGY CLEANSCAPES                   RECOLOGY CLEANSCAPES                   RECOLOGY GOLDEN GATE
117 S MAIN ST, STE 300                 P.O. BOX 34260                         117 S MAIN ST, STE 300
SEATTLE, WA 98104                      SEATTLE, WA 98124-1260                 SEATTLE, WA 98104




RECOLOGY GOLDEN GATE                   RECOLOGY SAN MATEO COUNTY              RECOLOGY SAN MATEO COUNTY
250 EXECUTIVE PARK BLVD STE 2100       117 S MAIN ST, STE 300                 P.O. BOX 514230
SAN FRANCISCO, CA 94134-3306           SEATTLE, WA 98104                      LOS ANGELES, CA 90051-4230




RECOLOGY SONOMA MARIN                  RECOLOGY SONOMA MARIN                  RECOLOGY SOUTH BAY
117 S MAIN ST, STE 300                 P.O. BOX 7349                          117 S MAIN ST, STE 300
SEATTLE, WA 98104                      SANTA ROSA, CA 95407-0349              SEATTLE, WA 98104




RECOLOGY SOUTH BAY                     RECOLOGY SOUTH VALLEY                  RECOLOGY SOUTH VALLEY
P.O. BOX 512268                        117 S MAIN ST, STE 300                 1351 PACHECO PASS HWY
LOS ANGELES, CA 90051-0268             SEATTLE, WA 98104                      GILROY, CA 95020




RECOLOGY SOUTH VALLEY                  RECOLOGY SUNSET SCAVENGER/60846        RECOLOGY SUNSET SCAVENGER/60846
P.O. BOX 60648                         117 S MAIN ST, STE 300                 P.O. BOX 60846
LOS ANGELES, CA 90060-0648             SEATTLE, WA 98104                      LOS ANGELES, CA 90060-0846
RECOLOGY VALLEJO         Case 18-12241-CSS   DocVALLEJO
                                        RECOLOGY 26 Filed 10/05/18          PageRECOLOGY
                                                                                 1326 of 1739
                                                                                         VALLEJO
117 S MAIN ST, STE 300                  2021 BROADWAY ST                         P.O. BOX 60759
SEATTLE, WA 98104                       VALLEJO, CA 94589                        LOS ANGELES, CA 90060-0759




RECOURSE COMMUNICATIONS                 RECRUITING.COM                           RECYCLAND LLC N THE MAVERN GROUP LLC
550 HERITAGE DR STE 200                 PO BOX 29386                             LARRY ALPERT, VP PROPERTY
JUPITER, FL 33458                       PHOENIX, AZ 85038                        MANAGEMENT
                                                                                 8101 GLENBROOK ROAD, SUITE B
                                                                                 BETHESDA, MD 20814



RED AND BLACK                           RED BOULDER LLC                          RED BOULDER LLC
540 BAXTER ST                           17140 BERNARDO CENTER DR STE300          EXCEL TRUST LP ATTN ACCOUNTING
ATHENS, GA 30605                        SAN DIEGO, CA 92128                      PO BOX 845377
                                                                                 LOS ANGELES, CA 90084-5377




RED BROADCASTING LLC- WTEM AM           RED CROSS                                RED DEVELOPMENT, LLC
1801 ROCKVILLE PIKE STE 405                                                      ATTN: ANGELA GARRETT
ROCKVILLE, MD 20852                                                              ONE EAST WASHINGTON ST, SUITE 300
                                                                                 PHOENIX, AZ 85004




RED DEVELOPMENT, LLC                    RED DEVELOPMENT, LLC                     RED GATE SOFTWARE
ATTN: DENNIS F. MCGOVERN                ATTN: LINDA HINTON                       PO BOX 845066
1310 SCHEELS DRIVE, 172                 17711 CHENAL PARKWAY                     BOSTON, MA 02284-5066
SPARKS, NV 89434                        LITTLE ROCK, AR 72223




RED INK                                 RED LION MZL LP                          RED LION MZL LP
614 E. SHADY GROVE                      C/O FINMARC MANAGEMENT, INC.             ATTN: TIFFANY PUGH
IRVING, TX 75060                        7200 WISCONSIN AVE STE 1100              7200 WISCONSIN AVE STE 1100
                                        BETHESDA, MD 20814                       BETHESDA, MD 20814




RED LION MZL LP                         RED LION MZL LP                          RED MOUNTAIN ASSET FUND I, LLC
C/O FINMARC MANAGEMENT, INC.            C/O FINMARC MANAGEMENT, INC.             C/O RED MOUNTAIN GROUP, INC.
7200 WISCONSIN AVE STE 1100             7200 WISCONSIN AVENUE, SUITE 1100        1234 E 17TH STREET
BETHESDA, MD 20814                      BETHESDA, MD 20814                       ATTN: LEASE ADMINISTRATION
                                                                                 SANTA ANA, CA 92701



RED MOUNTAIN ASSET FUND I, LLC          RED MOUNTAIN ASSET FUND II LLC           RED MOUNTAIN ASSET FUND II, LLC
C/O RED MOUNTAIN GROUP, INC.            PO BOX 3469                              C/O PROPERTY MANAGEMENT ADVISORS
ATTN: LEASE ADMINISTRATION              SEAL BEACH, CA 90740                     INC
1234 E 17TH STREET                                                               1234-B EAST 17TH STREET
SANTA ANA, CA 92701                                                              SANTA ANA, CA 92701



RED MOUNTAIN ASSET FUND LLC             RED MOUNTAIN GROUP, INC.                 RED OAK LANDSCAPE CONTRACTORS, INC
PO BOX 3490                             1234 E. 17TH STREET                      2038 ZACHARY CT
SEAL BEACH, CA 90740                    ATTN: SHERI FREED                        BARNHART, MO 63012
                                        SANTA ANA, CA 92701




RED PROPERTY MANAGEMENT, LLC            RED RIVER RIVAL LLC                      RED ROCK RECYCLING LLC
840 NW BLUE PARKWAY, SUITE B            2230 MCKOWN DR                           1600 N. KING STREET
ATTN: KATHY NIETZKE                     NORMAN, OK 73072                         SEGUIN, TX 78155
LEES SUMMIT, MO 64086
                    Case
RED ROCK WINDOW CLEANING     18-12241-CSS    Doc
                                       RED STAR   26 Filed 10/05/18
                                                OUTDOOR                       PageRED
                                                                                   1327  of 1739
                                                                                      ZEBRA HOLDINGS LLC
1201 ARVILLE ST.                       770 N LA SALLE ST FL 5                      1801 ROCKVILLE PIKE STE 405
LAS VEGAS, NV 89102                    CHICAGO, IL 60654                           ROCKVILLE, MD 20852




REDAN ASSOCIATES LLC                   REDDAWAY INC                                REDDING OCCUPATIONAL MEDICAL CENTER
PO BOX 10181                           26401 NETWORK PLACE                         PO BOX 99740
RALEIGH, NC 27605                      CHICAGO, IL 60673-1264                      EMERYVILLE, CA 94662




REDDING RADIO                          REDDING UTILITY DEPT                        REDDY PARTNERSHIP
3360 ALTA MESA DR                      P.O. BOX 496071                             730 N POST OAK RD STE 330
REDDING, CA 96002                      REDDING, CA 96049-6071                      HOUSTON, TX 77024




REDDY PARTNERSHIP/5900 NORTH           REDLAND TOWN CENTER RETAIL, III, LLC        REDLANDS TOWN CTR RETAIL III
FREEWAY, LP                            C/O ATHENA PROPERTY MANAGEMENT              C/O ATHENA MANAGEMENT INC
C/O RRJ REALTY MANAGEMENT, INC.        730 EL CAMINO WAY, SUITE 200                730 EL CAMINO WAY STE 200
730 NORTH POST OAK ROAD, SUITE 330     TUSTIN, CA 92780                            TUSTIN, CA 92780
HOUSTON, TX 77024



REDPRAIRIE                             REDSKIN DRIVE INVESTORS LTD.                REDSKIN DRIVE INVESTORS, LTD.
9010 PAYSHPERE CIRCLE                  C/O ROCKWOOD PROPERTIES                     C/O ROCKWOOD PROPERTIES
CHICAGO, IL 60674                      1421 N MEADOWWOOD LN, STE 200               8160 CORP. PARK DR STE 220
                                       LIBERTY LAKE, WA 99019                      CINCINNATI, OH 45242




REDSKIN DRIVE INVESTORS, LTD.          REDSKIN DRIVE INVESTORS, LTD.               REDUS FLORIDA COMMERCIAL, LLC
C/O ROCKWOOD PROPERTIES                C/O ROOKWOOD INVESTORS                      301 SOUTH CHARLOTTE STREET
8160 CORPORATE PARK DRIVE, SUITE 220   8160 CORPORATE PARK DRIVE, SUITE 220        CHARLOTTE, NC 28202
CINCINNATI, OH 45242                   CINCINNATI, OH 45242




REDUS ONE LLC                          REDUS ONE LLC                               REDVOICE LLC
301 S COLLEGE ST D1053-04B             C/O VOIT R E SERVICES LP                    7209 WINDSWEPT TRAIL
CHARLOTTE, NC 28288-1934               101 SHIPYARD WAY STE M                      COLLEYVILLE, TX 76034
                                       NEWPORT BEACH, CA 92663




REDWIRE                                REDWOOD EMPIRE STEREOCASTERS                REDWOOD LIVING
1136 THOMASVILLE RD                    SANTA ROSA                                  DBA PLUM CREEK ONE LLC
TALLAHASSEE, FL 32303                  PO BOX 100                                  23775 COMMERCE PARK STE 7
                                       SANTA ROSA, CA 95402-0100                   BEACHWOOD, OH 44122




REDWOOD TOXICOLOGY LABORATORY INC      REE CUMMINGS                                REECE BODE
LABORATORY SRVS ACCOUNTS RECEIVABLE    10201 S. MAIN STREET                        1449 NOVA RD
PO BOX 5680                            HOUSTON, TX 77025                           SANDWICH, IL 60548
SANTA ROSA, CA 95402-5680




REECE COTE                             REED LIBERTY                                REED RYAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025
REED SMITH LLP           Case 18-12241-CSS    Doc LLP
                                        REED SMITH 26      Filed 10/05/18   PageREEF
                                                                                 1328  of 1739
                                                                                     SEQUIM LLC
225 FIFTH AVENUE                         P.O. BOX 844487                         C/O WASHINGTON CAPITAL MANAGEMENT,
PITTSBURGH, PA 15222                     DALLAS, TX 75284-4487                   INC.
                                                                                 1200 SIXTH AVENUE, SUITE 700
                                                                                 SEATTLE, WA 98101



REEF SEQUIM LLC                          REEGO, LP                               REEGO, LP
INTEGRATED REAL ESTATE SVC               2561 MERCANTILE DRIVE, SUITE A          C/O JAMES REEGO
1015 THIRD AVE 900                       RANCHO CORDOVA, CA 95742                8265 SIENA COLLEGE AVE, SUITE 314
SEATTLE, WA 98104                                                                ROSEVILLE, CA 95661




REEP-IND AEGEAN MA LLC                   REESE MONROE                            REEYA CLARY
PO BOX 603099                            10201 S. MAIN STREET                    10201 S. MAIN STREET
CHARLOTTE, NC 28260-3099                 HOUSTON, TX 77025                       HOUSTON, TX 77025




REG HALL                                 REG8 SEQUOIA STATION, LLC               REG8 SEQUOIA STATION, LLC
10201 S. MAIN STREET                     C/O REGENCY CENTERS CORPORATION         C/O REGENCY CENTERS CORPORATION
HOUSTON, TX 77025                        ATTN: LEGAL DEPARTMENT                  ATTN: PROPERTY MANAGEMENT
                                         ONE INDEPENDENT DRIVE, SUITE 114        2999 OAK ROAD, SUITE 1000
                                         JACKSONVILLE, FL 32202-5019             WALNUT CREEK, CA 94597



REG8 SEQUOIA STATION, LLC                REGAL SQUARE MANAGEMENT                 REGAN PULLEN
C/O REGENCY CENTERS CORPORATION          13609 S 33RD ST                         10201 S. MAIN STREET
ONE INDEPENDENT DRIVE, SUITE 114         PHOENIX, AZ 85044                       HOUSTON, TX 77025
ATTN: LEASE ADMINISTRATION
JACKSONVILLE, FL 32202-5019



REGENCY CENTER LP                        REGENCY CENTERS CORPORATION             REGENCY CENTERS CORPORATION
AUGUSTA CENTER 594096                    ATTN: ASHLEY GARRON                     ATTN: PEGGY MCDERMOTT
3365 SOLUTIONS CENTER                    5335 SW MEADOWS ROAD, SUITE 295         ONE INDEPENDENT DRIVE, SUITE 114
CHICAGO, IL 60677-3003                   LAKE OSWEGO, OR 97035                   JACKSONVILLE, FL 32202




REGENCY CENTERS INC                      REGENCY CENTERS LP                      REGENCY CENTERS, L.P.
CORVALLIS MARKET CENTER                  ONE INDEPENDENT DR                      8044 MONTGOMERY ROAD, SUITE 520
PO BOX 31001 0740                        STE 114                                 CINCINNATI, OH 45236
PASADENA, CA 91110-0740                  JACKSONVILLE, FL 32202-5019




REGENCY CENTERS, L.P.                    REGENCY CENTERS, L.P.                   REGENCY CENTERS, L.P.
ATTN: PROPERTY MANAGEMENT                ATTN: PROPERTY MANAGER                  C/O REGENCY CENTERS CORPORATION
ONE INDEPENDENT DRIVE, SUITE 114         ONE INDEPENDENT DRIVE, SUITE 114        121 W. FORSYTH STREET
JACKSONVILLE, FL 32202                   JACKSONVILLE, FL 32202                  ATTN: LEASE ADMINISTRATOR
                                                                                 JACKSONVILLE, FL 32202



REGENCY CENTERS, L.P.                    REGENCY CENTERS, L.P.                   REGENCY CENTERS, L.P.
C/O REGENCY CENTERS CORPORATION          C/O REGENCY CENTERS CORPORATION         C/O REGENCY CENTERS CORPORATION
121 W. FORSYTH STREET                    1211 W. 22ND STREET, SUITE 300          265 SANTA HELENA, SUITE 211
ATTN: LEGAL DEPARTMENT                   ATTN: PROPERTY MANAGEMENT               ATTN: PROPERTY MANAGEMENT
JACKSONVILLE, FL 32202                   OAK BROOK, IL 60523                     SOLANA BEACH, CA 92075



REGENCY CENTERS, L.P.                    REGENCY CENTERS, L.P.                   REGENCY CENTERS, L.P.
C/O REGENCY CENTERS CORPORATION          C/O REGENCY CENTERS CORPORATION         C/O REGENCY CENTERS CORPORATION
2999 OAK ROAD, SUITE 1000                ATTN: LEASE ADMINISTRATION              ATTN: LEASE ADMINISTRATOR
WALNUT CREEK, CA 94597                   ONE INDEPENDENT DRIVE, SUITE 114        121 W. FORSYTH STREET
                                         JACKSONVILLE, FL 32202-5019             JACKSONVILLE, FL 32202
REGENCY CENTERS, L.P. Case 18-12241-CSS
                                     REGENCYDoc  26 Filed
                                              CENTERS, L.P. 10/05/18     PageREGENCY
                                                                              1329 ofCENTERS,
                                                                                      1739 L.P.
C/O REGENCY CENTERS CORPORATION      C/O REGENCY CENTERS CORPORATION         C/O REGENCY CENTERS CORPORATION
ATTN: LEASE ADMINISTRATOR            ATTN: LEGAL DEPARTMENT                  HIGHLAND OAKS III
121 W. FORSYTH STREET                ONE INDEPENDENT DRIVE, SUITE 114        4041 PARK OAKS BOULEVARD, SUITE 110
JACKSONVILLE, FL 32202-5019          JACKSONVILLE, FL 32202-5019             TAMPA, FL 32610



REGENCY CENTERS, L.P.                 REGENCY CENTERS, L.P.                  REGENCY CENTERS, L.P.
C/O REGENCY CENTERS CORPORATION       DBA 14882978 SC LP                     DBA EQUITY ONE (SAN CARLOS) LLC
ONE INDEPENDENT DRIVE, SUITE 114      PO BOX 676473                          PO BOX 31001-0740
ATTN: LEASE ADMINISTRATION            DALLAS, TX 75267-6473                  PASADENA, CA 91110-0740
JACKSONVILLE, FL 32202



REGENCY CENTERS, L.P.                 REGENCY CENTERS, L.P.                  REGENCY CENTERS, L.P.
DBA PARMER TECH RIDGE LLC             MARK BANTA, PROPERTY ACCOUNT           P.O. BOX 676481
                                      MANAGER                                T608900 L61192
                                      200 POTRERO AVE.                       DALLAS, TX 75267-6481
                                      SAN FRANCISCO, CA 94103



REGENCY CENTERS, L.P.                 REGENCY CENTERS, L.P.                  REGENCY CENTERS, LP
PO BOX 532937                         REG8 SEQUOIA STATION LLC               8044 MONTGOMERY ROAD, SUITE 520
ATLANTA, GA 30353-2937                PO BOX 31001-0740                      CINCINNATI, OH 45236
                                      PASADENA, CA 91110-0740




REGENCY CENTERS, LP                   REGENCY CENTERS, LP                    REGENCY CENTERS, LP
DBA 14882978 SC LP                    DBA EQUITY ONE (SAN CARLOS) LLC        DBA PARMER TECH RIDGE LLC
PO BOX 676473                         PO BOX 31001-0740
DALLAS, TX 75267-6473                 PASADENA, CA 91110-0740




REGENCY CENTERS, LP                   REGENCY CENTERS, LP                    REGENCY CENTERS, LP
P.O. BOX 676481                       PO BOX 532937                          REG8 SEQUOIA STATION LLC
T608900 L61192                        ATLANTA, GA 30353-2937                 PO BOX 31001-0740
DALLAS, TX 75267-6481                                                        PASADENA, CA 91110-0740




REGENCY PETALUMA, LLC                 REGENCY PETALUMA, LLC                  REGENCY PETALUMA, LLC
C/O REGENCY CENTERS CORPORATION       C/O REGENCY CENTERS CORPORATION        C/O REGENCY CENTERS CORPORATION
ATTN: LEASE ADMINISTRATION            ATTN: LEGAL DEPARTMENT                 ATTN: PROPERTY MANAGEMENT
ONE INDEPENDENT DRIVE, SUITE 114      ONE INDEPENDENT DRIVE, SUITE 114       2999 OAK ROAD, SUITE 1000
JACKSONVILLE, FL 32202-5019           JACKSONVILLE, FL 32202-5019            WALNUT CREEK, CA 94597



REGENCY PETALUMA, LLC                 REGENCY PETALUMA, LLC                  REGENCY PETALUMA, LLC
C/O REGENCY CENTERS CORPORATION       EAST WASHINGTON PLACE                  P.O. BOX 31001-0740
ONE INDEPENDENT DRIVE, SUITE 114      PO BOX 31001-0740                      PASADENA, CA 91110
ATTN: LEASE ADMINISTRATION            PASADENA, CA 91110-0740
JACKSONVILLE, FL 32202-5019



REGENCY PLAZA                         REGENCY SQUARE-BRANDON                 REGENT SHOPPING CENTER
48 E ROYAL PALM                       C/O REGENCY CENTERS, LP                ATTN: MICHAEL GARTENBERG
BOCA RATON, FL 33432                  P.O. BOX 532937                        820 MORRIS TURNPIKE
                                      ATLANTA, GA 30353-2937                 SHORT HILLS, NJ 07078




REGENT SHOPPING PLAZA                 REGGIE ARNOLD                          REGGIE ARNOLD
PO BOX 746                            10201 S. MAIN STREET                   10201 S. MAIN STREET
SHORT HILLS, NJ 07078                 HOUSTON, TX 77025                      HOUSTON, TX 77025
REGGIE BURKE           Case 18-12241-CSS
                                      REGGIEDoc 26 Filed 10/05/18
                                            CAMACHO                 PageREGGIE
                                                                         1330 HICKS
                                                                               of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




REGGIE LEWIS                          REGI SMITH                        REGINA CASTRO
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




REGINA HILL                           REGINA HOLMES                     REGINA MONTONARO
3813 TOYON DRIVE                      10201 S. MAIN STREET              10201 S. MAIN STREET
RALEIGH, NC 27616                     HOUSTON, TX 77025                 HOUSTON, TX 77025




REGINALD A EPPS JR                    REGINALD BARNETT                  REGINALD BARRINGTON
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




REGINALD CUNNINGHAM                   REGINALD DELALEU                  REGINALD HERSHEY
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




REGINALD JAMES                        REGINALD LEBRETON                 REGINALD MASON
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




REGINALD MAY                          REGINALD NELSON                   REGINALD PARKER
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




REGINALD TAYLOR                       REGINE CALHOUN                    REGINE ROBLES
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




REGIONAL DEVEL. PARTNERS              REGIONAL DEVEL. PARTNERS          REGIONAL DEVELOPMENT FUNDING CORP
MCKNIGHT SEIBERT LP                   MCKNIGHT SEIBERT LP               3856 S WATER ST
US STEEL TOWER                        US STEEL TOWER, SUITE 1400        PITTSBURGH, PA 15203
STE 4800 600 GRANT STREET             600 GRANT STREET
PITTSBURGH, PA 15219                  PITTSBURGH, PA 15219



REGIONAL INCOME TAX AGENCY-OHIO       REGIONAL WATER AUTHORITY          REGIONAL WATER AUTHORITY
PO BOX 89475                          90 SARGENT DR                     P.O. BOX 981102
CLEVELAND, OH 44101-6475              NEW HAVEN, CT 06511               BOSTON, MA 02298-1102
REGIONS BANK           Case 18-12241-CSS    Doc 26
                                      REGIS WARE        Filed 10/05/18   PageREHAB
                                                                              1331UNITED
                                                                                   of 1739
                                                                                         SPORTS MEDICINE
ATTN: NANCY KNIGHT                    10201 S. MAIN STREET                    3959 RUFFIN RD, STE J
3773 RICHMOND AVE                     HOUSTON, TX 77025                       SAN DIEGO, CA 92123
STE 1000
HOUSTON, TX 77046



REHAB UNITED SPORTS MEDICINE          REHAN MASOOD                            REI EQUITY MANAGEMENT, LLC
AND PHYSICAL THERAPY, INC.            10201 S. MAIN STREET                    ROBERT HEBERT, MANAGING PARTNER
C/O ROBERT STEELE                     HOUSTON, TX 77025                       5 RIVER ROAD, SUITE 105
3156 VISTA WAY, SUITE 200                                                     WILTON, CT 06877
OCEANSIDE, CA 92056



REI EQUITY PARTNERS 6 LLC             REI EQUITY PARTNERS 6 LLC               REI EQUITY PARTNERS 7 LLC
5 RIVER ROAD, SUITE 105               REI EQUITY MGMT LLC                     5 RIVER RD STE 105
WILTON, CT 06897                      5 RIVER RD 105                          WILTON, CT 06897
                                      WILTON, CT 06897




REI EQUITY PARTNERS 8 LLC             REI OF CHICAGO RENTAS LLC               REI RENTAS HOLDINGS, LLC
5 RIVER RD STE 105                    9439 SW 144TH COURT                     PABLO LUPINACCI
WILTON, CT 06897                      MIAMI, FL 33186                         3801 PGA BOULEVARD, SUITE 600
                                                                              PALM BEACH GARDENS, FL 33410




REI RENTAS HOLDINGS, LLC              REID BONE                               REILLY BROTHERS PROPERTY COMPANY
PABLO LUPINACCI                       10201 S. MAIN STREET                    1017 FM ROAD 5
3801 PGA BOULEVARD, SUITE 600         HOUSTON, TX 77025                       ALEDO, TX 76008
PALM BEACH GDNS, FL 33410




REILLY HEWITT                         REILLY JANICZEK MCDEVITT HENRICH        REILLY JANICZEK MCDEVITT HENRICH
10201 S. MAIN STREET                  & CHOLDEN PC                            & CHOLDEN PC
HOUSTON, TX 77025                     2500 MCCLELLAN BLVD 240                 KEVON OFFICE CENTER
                                      MERCHANTVILLE, NJ 08109                 3 EXECUTIVE CAMPUS STE 310
                                                                              CHERRY HILL, NJ 08002



REINA QUINONES                        REINALDO PINEDA                         REINE AKOURI
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




REINVENT INTERNATIONAL INC            REITZ WAY LLC                           REKA ROBINSON
3 STAFFORD HOUSE                      2904 RAWLINS DR                         1205 WEST 2ND AVE
THE GARRISON                          COUNCIL BLUFFS, IA 51501                KENNEWICK, WA 99336
ST. MICHAEL, BB 14038
BARBADOS



RELATED RETAIL HUB, LLC               RELATED RETAIL HUB, LLC                 RELDART LLC
C/O RELATED MANAGEMENT COMPANY        C/O RELATED MANAGEMENT                  C/O RD MANAGEMENT LLC
P.O. BOX 419348                       423 W 55TH STREET, 9TH FLOOR            810 SEVENTH AVE, 10TH FLOOR
BOSTON, MA 02241                      NEW YORK, NY 10019                      NEW YORK, NY 10019




RELIANCE IMPEX INC                    RELIANCE STANDARD LIFE INSURANCE CO.    RELIANT
3319 KING GEORGE DR                   PO BOX 3124                             DEPT 650475
ORLANDO, FL 32835                     SOUTHEASTERN, PA 19398-3124             1501 N PLANO RD
                                                                              RICHARDSON, TX 75081
RELIANT                 Case 18-12241-CSS   Doc
                                       RELOCKE LLC26      Filed 10/05/18   PageRELOCKE
                                                                                1332 ofLLC
                                                                                        1739
P.O. BOX 650475                         5312 CASTANA BEND                      C/O AUSTIN 512 REALTY
DALLAS, TX 75265-0475                   BEE CAVE, TX 78738                     12001 W PARMER LN STE 100
                                                                               CEDAR PARK, TX 78613




RELX INC DBA LEXISNEXIS                 REMBRANDT DE LA LANZA                  REMCO PROPERTIES LLC
PO BOX 733106                           10201 S. MAIN STREET                   200 DRYDEN RD
DALLAS, TX 75373-3106                   HOUSTON, TX 77025                      STE 2000
                                                                               DRESHER, PA 19025




REMCO PROPERTIES, LLC                   REMCO PROPERTIES, LLC                  REMELL TULL
200 WITMER RD STE 200                   C/O BET INVESTMENTS, INC.              10201 S. MAIN STREET
HORSHAM, PA 19044                       ATTN: ANN LEOPOLD                      HOUSTON, TX 77025
                                        200 DRYDEN RD STE 2000
                                        DRESHER, PA 19025



REMER & GEORGES PIERRE PLLC             REMIGIUS OZOR                          REMIK HARTOUNIAN
44 W FLAGLER ST STE 2200                10201 S. MAIN STREET                   7521 EDINGER AVE 3106
MIAMI, FL 33130                         HOUSTON, TX 77025                      HUNTINGTON BEACH, CA 92647




REMON SCROGGINS                         REMTEK SERVICES INC                    REMY REALTY CORP.
10201 S. MAIN STREET                    204 BRANCHWOOD COURT                   27 REDWOOD DR
HOUSTON, TX 77025                       DEPTFORD, NJ 08096                     DENVILLE, NJ 07834




REMY REALTY CORP.                       REN CABALES                            REN E BROWN BROWN
27 REDWOOD ROAD                         10201 S. MAIN STREET                   10201 S. MAIN STREET
DENVILLE, NJ 07834                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RENA BULLA                              RENA CRAWFORD                          RENAISSANCE PROPERTIES, INC.
10201 S. MAIN STREET                    10201 S. MAIN STREET                   JOSEPH COSTA, PM
HOUSTON, TX 77025                       HOUSTON, TX 77025                      3663 ROUTE 9 NORTH, SUITE 202
                                                                               OLD BRIDGE, NJ 08857




RENALD ATTAKORA                         RENALDO MOORE                          RENAN BRANDAO
460 LINCOLN ST APT A                    10201 S. MAIN STREET                   10201 S. MAIN STREET
WORCESTER, MA 01605                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RENANTE BAUTISTA                        RENDA BROADCASTING PITTSBURGH          RENDA BROADCASTING
10201 S. MAIN STREET                    900 PARISH ST 4TH FL                   WSHH-FM
HOUSTON, TX 77025                       PITTSBURGH, PA 15220                   900 PARISH ST
                                                                               PITTSBURGH, PA 15220




RENE AMERICANO                          RENE AUBERTIN                          RENE BIFFLE
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025
RENE DELGADO          Case   18-12241-CSS    Doc 26
                                       RENE DUJARRIC        Filed 10/05/18   PageRENE
                                                                                  1333KEVIN
                                                                                        of 1739
                                                                                            RODRIGUEZ
6647 MOUNTAIN CEDAR LN                  10201 S. MAIN STREET                      767 HAMPTON DR
DALLAS, TX 75236                        HOUSTON, TX 77025                         ARLINGTON, TX 76017




RENE LOVO                               RENE P LAPLANTE                           RENE ROSALES
10201 S. MAIN STREET                    146 WHITESVILLE ROAD                      10201 S. MAIN STREET
HOUSTON, TX 77025                       CAVENDISH, VT 05142                       HOUSTON, TX 77025




RENE SANCHEZ                            RENEE BELVEAL                             RENEE DUPREE
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




RENEE FASSETT                           RENEE FASSETT                             RENEE JOYNER
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




RENEE LAUER                             RENEE LEMERE                              RENEE LEPE
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




RENEE LOWERY                            RENEE LUCERO                              RENEE MCCAFFITY
10201 S. MAIN STREET                    910 N MOHAWK AVE                          10201 S. MAIN STREET
HOUSTON, TX 77025                       ANAHEIM, CA 92801                         HOUSTON, TX 77025




RENEE PHINNEY                           RENEE R. SYLVIA                           RENEE TREVINO
10201 S. MAIN STREET                    11 PINE DR                                10201 S. MAIN STREET
HOUSTON, TX 77025                       FAIRFAX, CA 94930                         HOUSTON, TX 77025




RENITA BURCH                            RENITA MEDLEY                             RENITA TYNES
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




RENNE RATTIGAN                          RENNIE TOMIMBANG                          RENO CAPITAL GROUP LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                      3691 LENAWEE AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                         LOS ANGELES, CA 90016




RENO CAPITAL GROUP LLC                  RENO CUEVAS                               RENO GAZETTE-JOURNAL
C/O THE EQUITY GROUP LLC                10201 S. MAIN STREET                      PO BOX 677345
6018 S DURANGO DR STE 110               HOUSTON, TX 77025                         DALLAS, TX 75267-7345
LAS VEGAS, NV 89113
                      Case
RENO MEDIA GROUP LP DBA     18-12241-CSS
                        KODS-FM             Doc GROUP
                                      RENO MEDIA  26 Filed
                                                         LP       10/05/18   PageRENO
                                                                                  1334NEWSPAPERS,
                                                                                       of 1739 INC.
DBA KODS-FM                           DBA KODS-FM                                955 KUENZLI ST.
961 MATLEY LN STE 120                 961 MATLEY LN STE 120                      RENO, NV 89502
RENO, NV 89502                        RENO, NV 89502




RENO ROZELA                           RENTOKIL                                   REO PROPERTY GROUP, LLC
10201 S. MAIN STREET                  4521 LEAVENWORTH ST                        ATTN: FRANK ZENG
HOUSTON, TX 77025                     OMAHA, NE 68106                            1119 WESTMINSTER AVENUE
                                                                                 ALHAMBRA, CA 91803




REPAK REAL ESTATE DEVELOPMENT         REPUBLIC SERVICES 035                      REPUBLIC SERVICES 035
ALAN KAPLAN, CPM                      ATTN GENERAL COUNSEL                       P.O. BOX 9001099
60 REVERE DRIVE, SUITE 700            18500 N ALLIED WAY                         LOUISVILLE, KY 40290-1099
NORTHBROOK, IL 60062                  PHOENIX, AZ 85054




REPUBLIC SERVICES 046                 REPUBLIC SERVICES 046                      REPUBLIC SERVICES 070
ATTN GENERAL COUNSEL                  P.O. BOX 9001099                           ATTN GENERAL COUNSEL
18500 N ALLIED WAY                    LOUISVILLE, KY 40290-1099                  18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                PHOENIX, AZ 85054




REPUBLIC SERVICES 070                 REPUBLIC SERVICES 091                      REPUBLIC SERVICES 091
P.O. BOX 78829                        ATTN GENERAL COUNSEL                       P.O. BOX 9001099
PHOENIX, AZ 85062-8829                18500 N ALLIED WAY                         LOUISVILLE, KY 40290-1099
                                      PHOENIX, AZ 85054




REPUBLIC SERVICES 172                 REPUBLIC SERVICES 172                      REPUBLIC SERVICES 175
ATTN GENERAL COUNSEL                  P.O. BOX 78829                             ATTN GENERAL COUNSEL
18500 N ALLIED WAY                    PHOENIX, AZ 85062-8829                     18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                PHOENIX, AZ 85054




REPUBLIC SERVICES 175                 REPUBLIC SERVICES 210                      REPUBLIC SERVICES 210
P.O. BOX 78829                        ATTN GENERAL COUNSEL                       P.O. BOX 78829
PHOENIX, AZ 85062-8829                18500 N ALLIED WAY                         PHOENIX, AZ 85062-8829
                                      PHOENIX, AZ 85054




REPUBLIC SERVICES 224                 REPUBLIC SERVICES 224                      REPUBLIC SERVICES 240
ATTN GENERAL COUNSEL                  P.O. BOX 9001099                           ATTN GENERAL COUNSEL
18500 N ALLIED WAY                    LOUISVILLE, KY 40290-1099                  18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                PHOENIX, AZ 85054




REPUBLIC SERVICES 240                 REPUBLIC SERVICES 259                      REPUBLIC SERVICES 259
P.O. BOX 9001099                      ATTN GENERAL COUNSEL                       P.O. BOX 9001099
LOUISVILLE, KY 40290-1099             18500 N ALLIED WAY                         LOUISVILLE, KY 40290-1099
                                      PHOENIX, AZ 85054




REPUBLIC SERVICES 262                 REPUBLIC SERVICES 262                      REPUBLIC SERVICES 264
ATTN GENERAL COUNSEL                  P.O. BOX 9001099                           ATTN GENERAL COUNSEL
18500 N ALLIED WAY                    LOUISVILLE, KY 40290-1099                  18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                PHOENIX, AZ 85054
REPUBLIC SERVICES 264 Case   18-12241-CSS   Doc
                                       REPUBLIC   26 Filed
                                                SERVICES 388 10/05/18   PageREPUBLIC
                                                                             1335 ofSERVICES
                                                                                     1739 388
P.O. BOX 9001099                        ATTN GENERAL COUNSEL                P.O. BOX 9001099
LOUISVILLE, KY 40290-1099               18500 N ALLIED WAY                  LOUISVILLE, KY 40290-1099
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 394                   REPUBLIC SERVICES 394               REPUBLIC SERVICES 454
ATTN GENERAL COUNSEL                    P.O. BOX 9001099                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1099           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 454                   REPUBLIC SERVICES 455               REPUBLIC SERVICES 455
P.O. BOX 78829                          ATTN GENERAL COUNSEL                P.O. BOX 78829
PHOENIX, AZ 85062-8829                  18500 N ALLIED WAY                  PHOENIX, AZ 85062-8829
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 468                   REPUBLIC SERVICES 468               REPUBLIC SERVICES 471
ATTN GENERAL COUNSEL                    P.O. BOX 9001099                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1099           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 471                   REPUBLIC SERVICES 472               REPUBLIC SERVICES 472
P.O. BOX 78829                          ATTN GENERAL COUNSEL                P.O. BOX 78829
PHOENIX, AZ 85062-8829                  18500 N ALLIED WAY                  PHOENIX, AZ 85062-8829
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 493                   REPUBLIC SERVICES 493               REPUBLIC SERVICES 527
ATTN GENERAL COUNSEL                    P.O. BOX 78829                      ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      PHOENIX, AZ 85062-8829              18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 527                   REPUBLIC SERVICES 535               REPUBLIC SERVICES 535
P.O. BOX 78829                          ATTN GENERAL COUNSEL                P.O. BOX 78829
PHOENIX, AZ 85062-8829                  18500 N ALLIED WAY                  PHOENIX, AZ 85062-8829
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 551                   REPUBLIC SERVICES 551               REPUBLIC SERVICES 603
ATTN GENERAL COUNSEL                    P.O. BOX 9001154                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1154           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 603                   REPUBLIC SERVICES 620               REPUBLIC SERVICES 620
P.O. BOX 9001099                        ATTN GENERAL COUNSEL                P.O. BOX 78829
LOUISVILLE, KY 40290-1099               18500 N ALLIED WAY                  PHOENIX, AZ 85062-8829
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 654                   REPUBLIC SERVICES 654               REPUBLIC SERVICES 684
ATTN GENERAL COUNSEL                    P.O. BOX 9001099                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1099           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054
REPUBLIC SERVICES 684 Case   18-12241-CSS   Doc
                                       REPUBLIC   26 Filed
                                                SERVICES 685 10/05/18   PageREPUBLIC
                                                                             1336 ofSERVICES
                                                                                     1739 685
P.O. BOX 9001099                        ATTN GENERAL COUNSEL                P.O. BOX 9001099
LOUISVILLE, KY 40290-1099               18500 N ALLIED WAY                  LOUISVILLE, KY 40290-1099
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 687                   REPUBLIC SERVICES 687               REPUBLIC SERVICES 691
ATTN GENERAL COUNSEL                    P.O. BOX 9001099                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1099           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 691                   REPUBLIC SERVICES 692               REPUBLIC SERVICES 692
P.O. BOX 78829                          ATTN GENERAL COUNSEL                P.O. BOX 9001099
PHOENIX, AZ 85062-8829                  18500 N ALLIED WAY                  LOUISVILLE, KY 40290-1099
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 693                   REPUBLIC SERVICES 693               REPUBLIC SERVICES 694
ATTN GENERAL COUNSEL                    P.O. BOX 9001099                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1099           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 694                   REPUBLIC SERVICES 695               REPUBLIC SERVICES 695
P.O. BOX 9001099                        ATTN GENERAL COUNSEL                P.O. BOX 9001099
LOUISVILLE, KY 40290-1099               18500 N ALLIED WAY                  LOUISVILLE, KY 40290-1099
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 719                   REPUBLIC SERVICES 719               REPUBLIC SERVICES 728 - BRUNSWICK
ATTN GENERAL COUNSEL                    P.O. BOX 9001154                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1154           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 728 - BRUNSWICK       REPUBLIC SERVICES 732               REPUBLIC SERVICES 732
P.O. BOX 9001099                        ATTN GENERAL COUNSEL                P.O. BOX 9001099
LOUISVILLE, KY 40290-1099               18500 N ALLIED WAY                  LOUISVILLE, KY 40290-1099
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 742                   REPUBLIC SERVICES 742               REPUBLIC SERVICES 744
ATTN GENERAL COUNSEL                    P.O. BOX 9001099                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1099           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 744                   REPUBLIC SERVICES 753               REPUBLIC SERVICES 753
P.O. BOX 9001099                        ATTN GENERAL COUNSEL                P.O. BOX 78829
LOUISVILLE, KY 40290-1099               18500 N ALLIED WAY                  PHOENIX, AZ 85062-8829
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 759                   REPUBLIC SERVICES 759               REPUBLIC SERVICES 761
ATTN GENERAL COUNSEL                    P.O. BOX 9001099                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1099           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                           PHOENIX, AZ 85054
REPUBLIC SERVICES 761 Case      18-12241-CSS   Doc
                                          REPUBLIC   26 Filed
                                                   SERVICES 770 10/05/18        PageREPUBLIC
                                                                                     1337 ofSERVICES
                                                                                             1739 770
P.O. BOX 9001099                           ATTN GENERAL COUNSEL                     P.O. BOX 9001154
LOUISVILLE, KY 40290-1099                  18500 N ALLIED WAY                       LOUISVILLE, KY 40290-1154
                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 785                      REPUBLIC SERVICES 785                    REPUBLIC SERVICES 794 - ARLINGTON
ATTN GENERAL COUNSEL                       P.O. BOX 78829                           ATTN GENERAL COUNSEL
18500 N ALLIED WAY                         PHOENIX, AZ 85062-8829                   18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                   PHOENIX, AZ 85054




REPUBLIC SERVICES 794 - ARLINGTON          REPUBLIC SERVICES 794 - FORT WORTH       REPUBLIC SERVICES 794 - FORT WORTH
P.O. BOX 78829                             ATTN GENERAL COUNSEL                     P.O. BOX 78829
PHOENIX, AZ 85062-8829                     18500 N ALLIED WAY                       PHOENIX, AZ 85062-8829
                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 794 - HUTCHINS           REPUBLIC SERVICES 794 - HUTCHINS         REPUBLIC SERVICES 794 - PLANO
ATTN GENERAL COUNSEL                       P.O. BOX 78829                           ATTN GENERAL COUNSEL
18500 N ALLIED WAY                         PHOENIX, AZ 85062-8829                   18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                   PHOENIX, AZ 85054




REPUBLIC SERVICES 794 - PLANO              REPUBLIC SERVICES 798                    REPUBLIC SERVICES 798
P.O. BOX 78829                             ATTN GENERAL COUNSEL                     P.O. BOX 9001099
PHOENIX, AZ 85062-8829                     18500 N ALLIED WAY                       LOUISVILLE, KY 40290-1099
                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 800                      REPUBLIC SERVICES 800                    REPUBLIC SERVICES 802
ATTN GENERAL COUNSEL                       P.O. BOX 9001099                         ATTN GENERAL COUNSEL
18500 N ALLIED WAY                         LOUISVILLE, KY 40290-1099                18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                   PHOENIX, AZ 85054




REPUBLIC SERVICES 802                      REPUBLIC SERVICES 820                    REPUBLIC SERVICES 820
P.O. BOX 9001099                           ATTN GENERAL COUNSEL                     P.O. BOX 9001099
LOUISVILLE, KY 40290-1099                  18500 N ALLIED WAY                       LOUISVILLE, KY 40290-1099
                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 840                      REPUBLIC SERVICES 840                    REPUBLIC SERVICES 841
ATTN GENERAL COUNSEL                       P.O. BOX 9001099                         ATTN GENERAL COUNSEL
18500 N ALLIED WAY                         LOUISVILLE, KY 40290-1099                18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                   PHOENIX, AZ 85054




REPUBLIC SERVICES 841                      REPUBLIC SERVICES 842                    REPUBLIC SERVICES 842
P.O. BOX 9001099                           ATTN GENERAL COUNSEL                     P.O. BOX 9001099
LOUISVILLE, KY 40290-1099                  18500 N ALLIED WAY                       LOUISVILLE, KY 40290-1099
                                           PHOENIX, AZ 85054




REPUBLIC SERVICES 845                      REPUBLIC SERVICES 845                    REPUBLIC SERVICES 846
ATTN GENERAL COUNSEL                       P.O. BOX 78829                           ATTN GENERAL COUNSEL
18500 N ALLIED WAY                         PHOENIX, AZ 85062-8829                   18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                   PHOENIX, AZ 85054
REPUBLIC SERVICES 846    Case 18-12241-CSS   Doc
                                        REPUBLIC   26 Filed
                                                 SERVICES 851 10/05/18   PageREPUBLIC
                                                                              1338 ofSERVICES
                                                                                      1739 851
P.O. BOX 78829                           ATTN GENERAL COUNSEL                P.O. BOX 78829
PHOENIX, AZ 85062-8829                   18500 N ALLIED WAY                  PHOENIX, AZ 85062-8829
                                         PHOENIX, AZ 85054




REPUBLIC SERVICES 852                    REPUBLIC SERVICES 852               REPUBLIC SERVICES 853
ATTN GENERAL COUNSEL                     P.O. BOX 78829                      ATTN GENERAL COUNSEL
18500 N ALLIED WAY                       PHOENIX, AZ 85062-8829              18500 N ALLIED WAY
PHOENIX, AZ 85054                                                            PHOENIX, AZ 85054




REPUBLIC SERVICES 853                    REPUBLIC SERVICES 855               REPUBLIC SERVICES 855
P.O. BOX 78829                           ATTN GENERAL COUNSEL                P.O. BOX 78829
PHOENIX, AZ 85062-8829                   18500 N ALLIED WAY                  PHOENIX, AZ 85062-8829
                                         PHOENIX, AZ 85054




REPUBLIC SERVICES 858                    REPUBLIC SERVICES 858               REPUBLIC SERVICES 864
ATTN GENERAL COUNSEL                     P.O. BOX 9001099                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                       LOUISVILLE, KY 40290-1099           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                            PHOENIX, AZ 85054




REPUBLIC SERVICES 864                    REPUBLIC SERVICES 870               REPUBLIC SERVICES 870
P.O. BOX 78829                           ATTN GENERAL COUNSEL                P.O. BOX 9001099
PHOENIX, AZ 85062-8829                   18500 N ALLIED WAY                  LOUISVILLE, KY 40290-1099
                                         PHOENIX, AZ 85054




REPUBLIC SERVICES 893                    REPUBLIC SERVICES 893               REPUBLIC SERVICES 902
ATTN GENERAL COUNSEL                     P.O. BOX 78829                      3953 N MUCATEL AVENUE
18500 N ALLIED WAY                       PHOENIX, AZ 85062-8829              ROSEMEAD, CA 91770
PHOENIX, AZ 85054




REPUBLIC SERVICES 902                    REPUBLIC SERVICES 915               REPUBLIC SERVICES 915
P.O. BOX 78829                           ATTN GENERAL COUNSEL                P.O. BOX 78829
PHOENIX, AZ 85062-8829                   18500 N ALLIED WAY                  PHOENIX, AZ 85062-8829
                                         PHOENIX, AZ 85054




REPUBLIC SERVICES 916                    REPUBLIC SERVICES 916               REPUBLIC SERVICES 917
ATTN GENERAL COUNSEL                     P.O. BOX 78829                      ATTN GENERAL COUNSEL
18500 N ALLIED WAY                       PHOENIX, AZ 85062                   18500 N ALLIED WAY
PHOENIX, AZ 85054                                                            PHOENIX, AZ 85054




REPUBLIC SERVICES 917                    REPUBLIC SERVICES 922               REPUBLIC SERVICES 922
P.O. BOX 78829                           ATTN GENERAL COUNSEL                P.O. BOX 78829
PHOENIX, AZ 85062-8829                   18500 N ALLIED WAY                  PHOENIX, AZ 85062-8829
                                         PHOENIX, AZ 85054




REPUBLIC SERVICES 939                    REPUBLIC SERVICES 939               REPUBLIC SERVICES 959
ATTN GENERAL COUNSEL                     P.O. BOX 9001099                    ATTN GENERAL COUNSEL
18500 N ALLIED WAY                       LOUISVILLE, KY 40290-1099           18500 N ALLIED WAY
PHOENIX, AZ 85054                                                            PHOENIX, AZ 85054
REPUBLIC SERVICES 959 Case   18-12241-CSS   Doc
                                       REPUBLIC   26 Filed
                                                SERVICES 960 10/05/18         PageREPUBLIC
                                                                                   1339 ofSERVICES
                                                                                           1739 960
P.O. BOX 9001099                        ATTN GENERAL COUNSEL                      P.O. BOX 9001099
LOUISVILLE, KY 40290-1099               18500 N ALLIED WAY                        LOUISVILLE, KY 40290-1099
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 973                   REPUBLIC SERVICES 973                     REPUBLIC SERVICES 974
ATTN GENERAL COUNSEL                    P.O. BOX 9001099                          ATTN GENERAL COUNSEL
18500 N ALLIED WAY                      LOUISVILLE, KY 40290-1099                 18500 N ALLIED WAY
PHOENIX, AZ 85054                                                                 PHOENIX, AZ 85054




REPUBLIC SERVICES 974                   REPUBLIC SERVICES 997                     REPUBLIC SERVICES 997
P.O. BOX 9001099                        ATTN GENERAL COUNSEL                      P.O. BOX 9001099
LOUISVILLE, KY 40290-1099               18500 N ALLIED WAY                        LOUISVILLE, KY 40290-1009
                                        PHOENIX, AZ 85054




REPUBLIC SERVICES 997                   REPUBLIC SERVICES RECYCLING NORTH -       REPUBLIC SERVICES RECYCLING NORTH -
P.O. BOX 9001099                        3013                                      3013
LOUISVILLE, KY 40290-1099               ATTN GENERAL COUNSEL                      P.O. BOX 99822
                                        18500 N ALLIED WAY                        CHICAGO, IL 60696-7622
                                        PHOENIX, AZ 85054



REPUBLIC SERVICES                       REPUBLICAN AMERICAN                       RESIDENTIAL LAND SERVICES
P.O. BOX 9001099                        PO BOX 2090                               P.O. BOX 28210
LOUISVILLE, KY 40290-1099               WATERBURY, CT 06722-2090                  SANTA ANA, CA 92799




RESIDENTIAL LAND SERVICES               RESOLUTIONS LLC                           RESOLUTIONS MANAGEMENT SERVICES LLC
PO BOX 731073                           125 HIGH ST STE 2205                      79 W MONROE ST STE 905
DALLAS, TX 75373-1073                   BOSTON, MA 02110                          CHICAGO, IL 60603




RESONANT LEGAL MEDIA LLC                RESOURCE MFG                              RESOURCE RECOVERY SYSTEMS
DBA RLM TRIAL GRAPHIX                   PO BOX 802015                             PO BOX 20096
413 S WASHINGTON ST                     CHICAGO, IL 60680-2015                    PORTLAND, OR 97294
ALEXANDRIA, VA 22314




RESOURCE STAFFING HOUSTON INC           RESPONSIVE SURFACE TECHNOLOGY LLC         RESTONIC
2277 PLAZA DR STE 420                   1000 MARIETTA ST NW STE 106               PO BOX 8000 DEPT 486
SUGAR LAND, TX 77479                    ATLANTA, GA 30318                         BUFFALO, NY 14267




RESTORATION SLEEP                       RESULTS RADIO CHICO                       RESULTS RADIO REDDING
1050 OAKLEIGH DR                        856 MANZANITA COURT                       1588 CHARLES DR.
EAST POINT, GA 30344                    CHICO, CA 95926                           REDDING, CA 96003




RESULTS UNLIMITED INC                   RETAIL ASSETS, INC.                       RETAIL ASSETS, INC.
244 MUSTANG TRAIL STE. 8                10739 DEERWOOD PARK BOULEVARD,            ATTN: CARRIE MANLEY
VIRGINIA BEACH, VA 23452                SUITE 300                                 10739 DEERWOOD PARK BOULEVARD,
                                        ATTN: CARRIE MANLEY                       SUITE 300
                                        JACKSONVILLE, FL 32256                    JACKSONVILLE, FL 32256
RETAIL CENTER PARTNERS,Case
                         LTD. 18-12241-CSS
                                        RETAIL Doc  26PARTNERS,
                                               CENTER    Filed 10/05/18
                                                                 LTD.        PageRETAIL
                                                                                  1340CENTER
                                                                                        of 1739
                                                                                              PARTNERS, LTD.
ATTN: ASSET MANAGER                     ATTN: CHRISTOPHER CHASE, GENERAL          NORTH MESA II
2716 OCEAN PARK BLVD., SUITE 2025       COUNSEL                                   PO BOX 849138
SANTA MONICA, CA 90405                  2716 OCEAN PARK BLVD., SUITE 2025         LOS ANGELES, CA 90084
                                        SANTA MONICA, CA 90405



RETAIL CONSTRUCTION SERVICES INC        RETAIL DEVELOPMENT PARTNERS LLC           RETAIL MANAGEMENT SERVICES
11343 39TH ST NORTH                     C/O TERRITORY INC.                        ATTN: DEBRA OWINGS
LAKE ELMO, MN 55042                     5785 CENTENNIAL CENTER BLVD 230           5100 POPLAR AVE STE 2607
                                        LAS VEGAS, NV 89149                       MEMPHIS, TN 38137




RETAIL MGMT SERVICES, CO                RETAIL OPPORTUNITY INVESTMENTS CORP       RETAIL OPPORTUNITY INVESTMENTS
5100 POPLAR AVENUE, SUITE 2607          TARA BENTON                               PARTNERS
MEMPHIS, TN 38137                       15600 NE 8TH STREET, SUITE K-15           8905 TOWNE CENTRE DR STE 108
                                        BELLEVUE, WA 98008                        SAN DIEGO, CA 92122




RETAIL PARTNERS AVENUE LLC              RETAIL PARTNERS CAMBRIDGE LLC             RETAIL PARTNERS CR LLC
5608 STANFORD CT                        ATTN: MARK BANKS                          5608 STANFORD COURT
NASHVILLE, TN 37215                     5608 STANFORD CT                          NASHVILLE, TN 37215
                                        NASHVILLE, TN 37215




RETAIL PARTNERS SHAK LLC                RETAIL PARTNERS SHAK LLC                  RETAIL PARTNERS SOUTHAVEN LLC
5608 STANDFORD CT                       C/O CHERRY & ASSOCIATES                   ATTN: MARK BANKS
NASHVILLE, TN 37215                     209 29TH AVE N STE 150                    5608 STANFORD CT
                                        NASHVILLE, TN 37203                       NASHVILLE, TN 37215




RETAIL PARTNERS WS LLC                  RETAIL PLANNING CORPORATION               RETAIL PLANNING CORPORATION
209 29TH AVE N STE 150                  35 JOHNSON FERRY RD                       515 PEACHTREE PARKWAY SUITE 600
NASHVILLE, TN 37203                     MARIETTA, GA 30068                        MARIETTA, GA 30041




RETAIL PLANNING CORPORATION             RETAIL PLANNING CORPORATION               RETAIL PROPERTIES INC
ATTN: KELSEY STONE                      BECKY COPPELS, PM                         ATTN: ACCOUNTS RECEIVABLE
35 JOHNSON FERRY ROAD                   35 JOHNSON FERRY RD                       10739 DEERWOOD PARK BLVD STE 300
MARIETTA, GA 30068                      MARIETTA, GA 30068                        JACKSONVILLE, FL 32256




RETAIL PROPERTIES OF AMERICA INC        RETAIL PROPERTIES OF AMERICA, INC.        RETAIL PROPERTIES OF AMERICA, INC.
2021 SPRING ROAD                        ATTN: VICE PRESIDENT & DIRECTOR OF        DBA RPAI SOUTHWEST MGMT LLC
STE 200                                 LEASING                                   15105 COLLECTIONS CENTER DR
OAK BROOK, IL 60523                     2021 SPRING ROAD, SUITE 200               CHICAGO, IL 60693-5105
                                        OAK BROOK, IL 60523



RETAIL PROPERTIES OF AMERICA, INC.      RETAIL PROPERTIES OF AMERICA, INC.        RETAIL PROPERTIES OF AMERICA, INC.
DBA RPAI SOUTHWEST MGMT LLC             DBA RPAI SOUTHWEST MGMT LLC               DBA RPAI US MGMT
2021 SPRING RD STE 200                  2901 BUTTERFIELD RD                       2021 SPRING RD STE 200
OAK BROOK, IL 60523                     OAK BROOK, IL 60523                       OAK BROOK, IL 60523




RETAIL PROPERTIES OF AMERICA, INC.      RETAIL PROPERTIES OF AMERICA, INC.        RETAIL PROPERTIES OF AMERICA, INC.
RPAI SOUTHWEST MANAGEMENT LLC           RPAI SOUTHWEST MANAGEMENT LLC             RPAI SOUTHWEST MANAGEMENT LLC
15105 COLLECTION CENTER DR              2021 SPRING RD STE 200                    2021SPRING RD STE 200
CHICAGO, IL 60693-5105                  OAK BROOK, IL 60523                       OAK BROOK, IL 60523
                       Case 18-12241-CSS
RETAIL PROPERTIES OF AMERICA, INC.    RETAIL Doc  26 Filed
                                             PROPERTIES, INC. 10/05/18       PageRETAIL
                                                                                  1341PROPERTIES,
                                                                                        of 1739 INC.
RPAI US MANAGEMENT LLC                ATTN: CARRIE MANLEY                        ATTN: LATARA DAVIS
2021 SPRING RD STE 200                10739 DEERWOOD PARK BOULEVARD,             10739 DEERWOOD PARK BOULEVARD,
OAK BROOK, IL 60523                   SUITE 300                                  SUITE 300
                                      JACKSONVILLE, FL 32256                     JACKSONVILLE, FL 32256



RETAIL PROPERTY ACQUISITIONS I, LLC    RETAIL PROPERTY ACQUISITIONS I, LLC       RETAIL PROPERTY GROUP, INC.
1700 GEDDES                            C/O TRINITY PARTNERS, LLC                 ATTN: MICHELE BURNS, LEASE
ANN ARBOR, MI 48104                    3020 CARRINGTON MILL BLVD STE 425         ADMINISTRATOR
                                       MORRISVILLE, NC 27560                     101 PLAZA REAL SOUTH, SUITE 200
                                                                                 BOCA RATON, FL 33432



RETAIL RADIO LLC                       RETAIL STRATEGIES, LLC                    RETAIL VALUE INC
ATTN: AR DEPT                          ATTN: CARRIE MANLEY                       DBA DDR CROSSROADS CENTER LLC
4354 TOWN CENTER BVD STE 114 23        10739 DEERWOOD PARK BOULEVARD,            3300 ENTERPRISE PKWY
ELDORADO HILLS, CA 95762               SUITE 300                                 BEACHWOOD, OH 44122
                                       JACKSONVILLE, FL 32256



RETAIL VALUE INC                       RETAIL VALUE INC                          RETAIL VALUE INC
DBA DDR GRESHAM STATION LLC            DBA DDR TUCSON SPECTRUM II LLC            DBA RVT HAMILTON COMMONS LLC
3300 ENTERPRISE PARKWAY                3300 ENTERPRISE PARKWAY                   3300 ENTERPRISE PARKWAY
BEACHWOOD, OH 44122                    BEACHWOOD, OH 44122                       BEACHWOOD, OH 44122




RETAIL VALUE INC                       RETAIL VALUE TRS LLC                      RETAIL VALUE TRS LLC
DBA RVT KYLE CROSSING LLC              DBA DDR MILLENIA PLAZA LLC                DBA DDR SEABROOK LLC
3300 ENTERPRISE PARKWAY                3300 ENTERPRISE PARKWAY                   3300 ENTERPRISE PARKWAY
BEACHWOOD, OH 44122                    BEACHWOOD, OH 44122                       BEACHWOOD, OH 44122




RETAIL VALUE TRS LLC                   RETAIL VALUE TRS LLC                      RETAILNEXT INC
DBA RVT HOMESTEAD PAVILION LLC         DBA RVT WRANGLEBORO CONSUMER              60 S MARKET ST 10TH FL
3300 ENTERPRISE PARKWAY                SQUARE LLC                                SAN JOSE, CA 95113
BEACHWOOD, OH 44122                    3300 ENTERPRISE PARKWAY
                                       BEACHWOOD, OH 44122



RETS PARTNERS, LLC                     RETURN PATH INC                           RETURN PATH INC
2 NORTH ROAD, SUITE 1                  75 REMITTANCE DR DEPT 6168                DBA THREATWAVE
WARREN, NJ 07059                       CHICAGO, IL 60675-6168                    3 PARK AVE 41ST FLOOR
                                                                                 NEW YORK, NY 10016




REUBEN ALLRED                          REUBEN DONTON                             REUBEN FUENTES
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




REUBEN JUNIUS & ROSE LLP               REUBEN PHAGAN                             REV SLEEP CORPORATION
1 BUSH ST STE 600                      10201 S. MAIN STREET                      1190 THIBEAU BLVD
SAN FRANCISCO, CA 94104                HOUSTON, TX 77025                         TROIS RIVIERES, PQ G8T 9S8
                                                                                 CANADA




REVA ESTAIN                            REVENUE PROPERTIES GONZALES LP            REVENUE PROPERTIES GONZALES LP
12966 PAVILLION CT                     C/O MORGUARD MANAGEMENT COMPANY           PO BOX 919108
UNION, KY 41091                        INC.                                      DALLAS, TX 75391-9108
                                       ATTN: LEASE ADMINISTRATOR
                                       2542 WILLIAMS BOULEVARD
                                       KENNER, LA 70062
REVERE                Case   18-12241-CSS    Doc 26
                                       REVERIE             Filed 10/05/18     PageREVOLUTION
                                                                                   1342 of 1739
                                                                                             PUBLIC RELATIONS IN
ATTN: PROPERTY TAX DEPT.               ASCION LLC                                  4111 E MADISON ST 104
281 BROADWAY                           701 SENECA ST STE 140F                      SEATTLE, WA 98112
REVERE, MA 02151-5027                  BUFFALO, NY 14210-1351




REW REALTY CO                          REX BOSAH                                   REX C KEELY II
500 OLD COUNTRY RD                     10201 S. MAIN STREET
GARDEN CITY, NY 11530                  HOUSTON, TX 77025




REX FOLEY                              REX FOZZARD                                 REX GONZALES
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025




REX HAMMOND                            REX HARRISON                                REX JENKINS
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025




REXFORD INDUSTRIAL - SDLAOC, LLC       REXFORD INDUSTRIAL - SDLAOC, LLC            REY COHEN
160131-T0001961                        C/O REXFORD INDUSTRIAL                      10201 S. MAIN STREET
PO BOX 740028                          MAYA HAUSMANN                               HOUSTON, TX 77025
LOS ANGELES, CA 90074-0028             11620 WILSHIRE BOULEVARD, SUITE 1000
                                       LOS ANGELES, CA 90025



REYHAN KOSE                            REYMEL MATOS                                REYNALDO ROSARIO PEREZ
10201 S. MAIN STREET                   1716 N MOZART                               10201 S. MAIN STREET
HOUSTON, TX 77025                      CHICAGO, IL 60647                           HOUSTON, TX 77025




REYNOLDS & BROWN                       REZA FATEMIMOGHADDAM                        REZA JAFARI DBA LEGEND ENTERPRISE LLC
KATHRYN CARLSON                        10201 S. MAIN STREET                        PO BOX 9091
1200 CONCORD AVENUE, SUITE 200         HOUSTON, TX 77025                           RANCHO SANTA FE, CA 92067
CONCORD, CA 94520




REZA JAFARI                            RG & SONS PLUMBING INC                      RHAMERE HAM
10201 S. MAIN STREET                   3772 E KLEINDALE RD                         10201 S. MAIN STREET
HOUSTON, TX 77025                      TUCSON, AZ 85716-1461                       HOUSTON, TX 77025




RHEA DAVIS                             RHEA OLSHEFSKY                              RHEA R. WALKER-SMITH
10201 S. MAIN STREET                                                               DISTRICT MANAGER-SAN ANTONIO
HOUSTON, TX 77025                                                                  1418 PINNACLE FALLS
                                                                                   SAN ANTONIO, TX 78260




RHEA WALKER-SMITH                      RHEA WALKER-SMITH                           RHINEBECK REALTY, LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                        C/O BJ ADAMS RE MGMT
HOUSTON, TX 77025                      HOUSTON, TX 77025                           P.O. BOX 752
                                                                                   HARRISON, NY 10528
RHINEBECK REALTY, LLC Case 18-12241-CSS     DocACQUISITIONS,
                                     RHINEHART   26 Filed 10/05/18
                                                             LLC          PageRHODA
                                                                               1343 FAHIEH
                                                                                     of 1739
C/O BJ ADAMS REAL ESTATE MGMT, LTD.  C/O KIMBLE AND ASSOCIATES PROPERTY       10201 S. MAIN STREET
P.O. BOX 752                         MGMT, LLC                                HOUSTON, TX 77025
HARRISON, NY 10528                   650 AMITY ROAD
                                     HOT SPRINGS, AR 71913



RHODE ISLAND DIVISION OF TAXATION     RHODE ISLAND DIVISION OF TAXATION       RHODE ISLAND DIVISION OF TAXATION
ATTN: BUSINESS LICENSE DEPT.          ATTN: SALES & USE TAX DEPT.             ATTN: UNCLAIMED PROPERTY DEPT.
ONE CAPITOL HILL 36                   ONE CAPITAL HILL STE 2                  ONE CAPITOL HILL 36
PROVIDENCE, RI 02908-5829             PROVIDENCE, RI 02908-5800               PROVIDENCE, RI 02908-5829




RHODE ISLAND DIVISION OF TAXATION     RHODE ISLAND DIVISION OF TAXATION       RHONDA AUDETTE
COMPLIANCE & COLLECTIONS              ONE CAPITOL HILL                        10201 S. MAIN STREET
ONE CAPITAL HILL STE 2                PROVIDENCE, RI 02908-5800               HOUSTON, TX 77025
PROVIDENCE, RI 02908-5800




RHONDA CARAKER-BAKER                  RHONDA CRABTREE                         RHONDA CRABTREE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RHONDA F SCHULZ                       RHONDA HOUGH                            RHONDA JESCAVAGE
346 N LIMA ST                         10201 S. MAIN STREET                    815 W 8TH ST
SIERRA MADRE, CA 91024                HOUSTON, TX 77025                       EDMOND, OK 73003




RHONDA JOHNSON                        RHONDA KOHN                             RHONDA MALLARD
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RHONDA THOMAS                         RHONDA THOMAS                           RHONNIE GOODWIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RHVT LIMITED PARTNERSHIP              RHYS FAAMAUSILI                         RI - KLAMATH FALLS LLC
C/O EISENBERG COMPANY                 10201 S. MAIN STREET                    C/O READ INVESTMENTS LLC
2390 E CAMELBACK RD STE 202           HOUSTON, TX 77025                       ATTN: DAWN WILLIAMS
PHOENIX, AZ 85016                                                             2025 FOURTH ST
                                                                              BERKELEY, CA 94710



RI - KLAMATH FALLS LLC                RI - MOSES LAKE II, LLC                 RI - YAKIMA, LLC
DBA RI-MOSES LAKE II                  C/O READ MANAGEMENT, LLC                C/O READ REALTY MANAGEMENT, LLC
2025 FOURTH ST                        2025 FOURTH STREET                      2025 FOURTH STREET
BERKELEY, CA 94710                    BERKELEY, CA 94710                      BERKELEY, CA 94710




RI DIV OF TAX                         RI YAKIMA LLC                           RIA REDUBLO
C/O CORP TAX                          2025 FOURTH ST                          1010 POLI ST
1 CAPITAL HILL STE 9                  BERKELEY, CA 94710                      VENTURA, CA 93001
PROVIDENCE, RI 02908-5811
RIAN BROOKS             Case 18-12241-CSS
                                       RIANNADoc 26
                                             NEELY         Filed 10/05/18   PageRIC
                                                                                 1344  of 1739
                                                                                    HUTSON
10201 S. MAIN STREET                   9515 S BISHOP                            10201 S. MAIN STREET
HOUSTON, TX 77025                      CHICAGO, IL 60643                        HOUSTON, TX 77025




RICARDO ALTENOR                        RICARDO CABALLERO                        RICARDO CRUZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICARDO CRUZ                           RICARDO HERNANDO                         RICARDO LAGUNES
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICARDO LOPEZ                          RICARDO MARQUES                          RICARDO PINEIRO
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICARDO PONCE                          RICARDO RODRIGUEZ                        RICARDO SEALES
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICARDO SILVA                          RICARDO SMITH                            RICARDO SOTO
4439 S ROCHEBLAVE ST                   3367 SABLECHOE LN                        10201 S. MAIN STREET
NEW ORLEANS, LA 70125                  ATLANTA, GA 30349                        HOUSTON, TX 77025




RICARDO TICAS                          RICARDO VAZQUEZ                          RICCIARDI ROOFING CO
1925 SH 6 NORTH 214                    10201 S. MAIN STREET                     84 FREDERICK ST
HOUSTON, TX 77085                      HOUSTON, TX 77025                        BELLEVILLE, NJ 07109




RICE LAKE SQUARE, LP                   RICE LAKE SQUARE, LP                     RICE LAKE SQUARE, LP
C/O MID-AMERICA ASSET MANAGEMENT INC   C/O MID-AMERICA ASSET MANAGEMENT,        DIVISION 29
ONE PARKVIEW PLAZA                     INC.                                     P.O. BOX 823523
9TH FLOOR                              ONE PARKVIEW PLAZA, 9TH FLOOR            PHILADELPHIA, PA 19182-3523
OAKBRROK TERRACE, IL 60181             OAKBROOK TERRACE, IL 60181



RICE/KELVIN PARTNERS, LTD.             RICELAND OWNER, LLC                      RICELAND OWNER, LLC
C/O DEGEORGE REAL ESTATE SERVICES,     C/O THE DONNA AND ANDREW ROSENBERG       JEFF HAWKINS
INC.                                   TRUST OF 2002                            4201 GARTH ROAD, SUITE 101
ATTN: GREGORY A DEGEORGE               5809 S. WESTERN, SUITE 201               BAYTOWN, TX 77521
5700 WOOD WAY DR STE 200               AMARILLO, TX 79110
HOUSTON, TX 77057


RICH BESANT                            RICH CAMPBELL                            RICH COFFMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
RICH CRUZ              Case 18-12241-CSS    Doc 26
                                      RICH EVANS        Filed 10/05/18   PageRICH
                                                                              1345  of 1739
                                                                                  HASKELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RICH HOLUB                            RICH POOLE                             RICH SANDERSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RICH SANDOVAL                         RICH SOBECK                            RICH STRICKLAND
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RICH WHALEN                           RICH WILCOX                            RICHARD A SIMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   DBA TAS EXPRESS
HOUSTON, TX 77025                     HOUSTON, TX 77025                      4543 NW 90TH AVE
                                                                             SUNRISE, FL 33351




RICHARD A WALTZ PC                    RICHARD ADAMS                          RICHARD ALCORN
DBA WALTZ/REEVES                      10201 S. MAIN STREET                   10201 S. MAIN STREET
1660 LINCOLN ST STE 2510              HOUSTON, TX 77025                      HOUSTON, TX 77025
DENVER, CO 80264




RICHARD ALLEN STUBBS                  RICHARD ALLEN                          RICHARD ALLEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD ALLEYNE                       RICHARD ARNETT                         RICHARD B SHEINGOLD
10201 S. MAIN STREET                  10201 S. MAIN STREET                   2525 WELSH ROAD APT P 1
HOUSTON, TX 77025                     HOUSTON, TX 77025                      PHILADELPHIA, PA 19114




RICHARD B WILSON JR                   RICHARD BAKER                          RICHARD BANKS
3717 WHITE PINE RD                    10201 S. MAIN STREET                   10201 S. MAIN STREET
BALTIMORE, MD 21220                   HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD BAXTER                        RICHARD BENANTE                        RICHARD BENDEL
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025




RICHARD BENNETT                       RICHARD BESELER                        RICHARD BIMONTE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
RICHARD BLANK          Case 18-12241-CSS    Doc
                                      RICHARD    26 Filed 10/05/18
                                              BOHLER                 PageRICHARD
                                                                          1346 ofBRADY
                                                                                   1739
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




RICHARD BRIJALBA                       RICHARD BURNS                     RICHARD C AYERS
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD CANO                           RICHARD CATON                     RICHARD CAVAZOS
2080 MARTIN DR                         10201 S. MAIN STREET              10201 S. MAIN STREET
MEDFORD, OR 97501                      HOUSTON, TX 77025                 HOUSTON, TX 77025




RICHARD CHATEAU                        RICHARD CLIFFORD                  RICHARD CREMO JR.
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




RICHARD D JOHNSON                      RICHARD DAVIS                     RICHARD DECARLO
7814 ROBERT E LEE RD                   10201 S. MAIN STREET              10201 S. MAIN STREET
TAMPA, FL 33637                        HOUSTON, TX 77025                 HOUSTON, TX 77025




RICHARD DIANA                          RICHARD DIAZ LOPEZ                RICHARD DIXON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




RICHARD DOROCIAK                       RICHARD DOUGHTY                   RICHARD DUSH
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




RICHARD EBERT                          RICHARD ELLER                     RICHARD ENRIQUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




RICHARD ESCOBAR                        RICHARD FAULKNER                  RICHARD FERNANDEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




RICHARD FERRELL LP                     RICHARD FULLER                    RICHARD GARNETT
C/O TRINITY INTERESTS INC              10201 S. MAIN STREET              10201 S. MAIN STREET
12740 HILLCREST DR STE 101             HOUSTON, TX 77025                 HOUSTON, TX 77025
DALLAS, TX 75230
RICHARD GAYLORD        Case 18-12241-CSS    Doc
                                      RICHARD     26
                                              GILES       Filed 10/05/18   PageRICHARD
                                                                                1347 ofGILLESPIE
                                                                                         1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICHARD GINSBERG                       RICHARD GLEASON                          RICHARD GONZALES
1920 NE 1ST TERRACE AT H206            7600 PACIFIC AVE SE 2                    10201 S. MAIN STREET
WILTON MANORS, FL 33305                LACEY, WA 98503                          HOUSTON, TX 77025




RICHARD GRANT                          RICHARD GRAUMAN                          RICHARD H YAMAMOTO
10201 S. MAIN STREET                   10201 S. MAIN STREET                     DBA RJAK PROCESSING LLC
HOUSTON, TX 77025                      HOUSTON, TX 77025                        2801 N ROCK RD 807
                                                                                WICHITA, KS 67226




RICHARD HALBERT                        RICHARD HALL                             RICHARD HARDIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICHARD HARDY                          RICHARD HARRIS                           RICHARD HARRIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICHARD HARWOOD                        RICHARD HAVECOST                         RICHARD HAYES
10201 S. MAIN STREET                                                            10201 S. MAIN STREET
HOUSTON, TX 77025                                                               HOUSTON, TX 77025




RICHARD HERRING                        RICHARD HILD                             RICHARD HILLIARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICHARD HILLIARD                       RICHARD HITEMAN                          RICHARD HOWARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICHARD HOWE                           RICHARD INCLAN                           RICHARD J GREEN III
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RICHARD J MADISON OF COLLIERS INT NJ   RICHARD JENSEN                           RICHARD JOHNSON
C/O COLLIERS TRI STATE MANAGEMENT AS   10201 S. MAIN STREET                     10201 S. MAIN STREET
AGENT                                  HOUSTON, TX 77025                        HOUSTON, TX 77025
5260 PARKWAY PLAZA BLVD STE 110
CHARLOTTE, NC 28217
RICHARD JOHNSON        Case 18-12241-CSS    Doc
                                      RICHARD     26
                                              JOINER     Filed 10/05/18   PageRICHARD
                                                                               1348 ofJONES
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD JONES                          RICHARD K BRITTON                      RICHARD KAISER
10201 S. MAIN STREET                   21 YELLOW BUCKEYE LN                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HENDERSONVILLE, NC 28739               HOUSTON, TX 77025




RICHARD KETNER                         RICHARD KINGSBURY                      RICHARD KOTCHEK
10201 S. MAIN STREET                   10201 S. MAIN STREET                   18 WALNUT RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                      EAST ROCKAWAY, NY 11518




RICHARD L ABRAMO                       RICHARD LACEY                          RICHARD LANE
1921 ECHO POND PL                      10201 S. MAIN STREET                   10201 S. MAIN STREET
WESLEY CHAPEL, FL 33543                HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD LAWRENCE                       RICHARD LEE                            RICHARD LEIDERMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD LINO                           RICHARD LUBERACKI                      RICHARD LYLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD M GASTON                       RICHARD M. HORN, APC                   RICHARD MANRIQUEZ
9750 ROYAL LN 309                      130 WEST ISLAND AVE.                   10201 S. MAIN STREET
DALLAS, TX 75231                       SAN DIEGO, CA 92101                    HOUSTON, TX 77025




RICHARD MCCLEARY                       RICHARD MEJIA                          RICHARD MENDEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD MIKHAIL                        RICHARD MIX                            RICHARD MOLNAR
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD MONTANARO-DELIBAC              RICHARD MORGAN                         RICHARD MURO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
RICHARD MURRAY DUNN    Case 18-12241-CSS    Doc
                                      RICHARD    26
                                              NIEVES     Filed 10/05/18   PageRICHARD
                                                                               1349 ofNOBLE
                                                                                       1739
951 E FRONT ST 403                     10201 S. MAIN STREET                   14405 W COLFAX AVE
BOISE, ID 83712                        HOUSTON, TX 77025                      LAKEWOOD, CO 80401




RICHARD NORRIS                         RICHARD NORTHROP                       RICHARD OLENDER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD PASKOWITZ                      RICHARD PETLEVICH                      RICHARD PINEIRO CORA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD PIPES                          RICHARD POWERS                         RICHARD QUICK
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD QUICK                          RICHARD REUTER                         RICHARD ROSE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD ROY                            RICHARD RUICH                          RICHARD RUMORO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD SANDERS                        RICHARD SANDERS                        RICHARD SANFORD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD SANTIBANEZ                     RICHARD SARGESON                       RICHARD SCHERI
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHARD SCHNEIDER                      RICHARD SCHWARZKOPF JR                 RICHARD SEKINGER
4485 PENNWOOD AVE APT 324              4127 W 18TH APT 52                     10201 S. MAIN STREET
LAS VEGAS, NV 89102                    EUGENE, OR 97402                       HOUSTON, TX 77025




RICHARD SHAMBLEY                       RICHARD SIECK                          RICHARD SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   3440 CHRISTY LN
HOUSTON, TX 77025                      HOUSTON, TX 77025                      MEMPHIS, TN 38135
RICHARD SONNTAG TRUSTCase   18-12241-CSS    Doc
                                      RICHARD    26 Filed 10/05/18
                                              STEELE                 PageRICHARD
                                                                          1350 ofSTILLMAN
                                                                                   1739
950 17TH ST 5TH FL                    10201 S. MAIN STREET                10201 S. MAIN STREET
DENVER, CO 80202                      HOUSTON, TX 77025                   HOUSTON, TX 77025




RICHARD STORCH                        RICHARD SUMMERS                     RICHARD SWOR
10201 S. MAIN STREET                  1278 E WINDING CREEK                10201 S. MAIN STREET
HOUSTON, TX 77025                     EAGLE, ID 83616                     HOUSTON, TX 77025




RICHARD THOMPSON                      RICHARD THORNTON                    RICHARD THUERAUF
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




RICHARD TORRES                        RICHARD TRIPLETT                    RICHARD TROTTA
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




RICHARD URSIN                         RICHARD VANHOUTEN                   RICHARD VENTRY
10201 S. MAIN STREET                  10201 S. MAIN STREET                2000 WESTBOROUGH DR 920
HOUSTON, TX 77025                     HOUSTON, TX 77025                   KATY, TX 77449




RICHARD VON GLAHN                     RICHARD W MCCANN                    RICHARD WALKER
10201 S. MAIN STREET                  7549 RIVERDALE DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                     NEW PORT RICHEY, FL 34653           HOUSTON, TX 77025




RICHARD WALSH                         RICHARD WEEKS                       RICHARD WEINBERGER
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




RICHARD WELCH                         RICHARD WHEELER JR.                 RICHARD WHITE
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




RICHARD WHITTLE                       RICHARD WILLHOITE                   RICHARD YAUMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                   HOUSTON, TX 77025




RICHARD ZAHNER                        RICHARDSON I.S.D                    RICHAWN TURNER
10201 S. MAIN STREET                  970 SECURITY ROW                    10201 S. MAIN STREET
HOUSTON, TX 77025                     RICHARDSON, TX 75081                HOUSTON, TX 77025
RICHIE MYERS           Case 18-12241-CSS     Doc 26
                                      RICHIE TEO         Filed 10/05/18   PageRICHIE
                                                                               1351WIEGAND
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICHLAND CENTRE, LLC                   RICHLAND COUNTY (TAXES)                RICHLAND COUNTY TREASURY B
ATTN: CALEB HILL                       PO BOX 192                             P.O. BOX 8028
7725 WEST RENO AVENUE, SUITE 398       COLUMBIA, SC 29202                     COLUMBIA, SC 29202-8028
OKLAHOMA CITY, OK 73127




RICHLAND COUNTY TREASURY               RICHLAND COUNTY                        RICHLAND COUNTY
ATTN: PROPERTY TAX DEPT.               PO BOX 11947                           PO BOX 192
PO BOX 192                             COLUMBIA, SC 29211                     COLUMBIA, SC 29202
COLUMBIA, SC 29202




RICHLAND FERRELL, LP                   RICHLAND S.D. TAX COLLECTOR            RICHLAND TOWNSHIP
ATTN: DICK FERREL                      301 METZLER ST                         C/O JORDAN TAX SERVICE INC
7557 RAMBLER ROAD, SUITE 570           JOHNSTOWN, PA 15904                    102 RAHWAY RD
DALLAS, TX 75231                                                              MCMURRAY, PA 15317




RICHLAND TOWNSHIP                      RICHLAND TWP TAX COLLECTOR             RICHMOND ADAMS
FIRE PREVENTION                        1031 RACHEL ST                         12230 SHROPSHIRE BLVD
1328 CALIFORNIA RD STE A               JOHNSTOWN, PA 15904                    AUSTIN, TX 78753
QUAKERTOWN, PA 18951




RICHMOND AGGREY                        RICHMOND ALARM COMPANY                 RICHMOND ALARM COMPANY
10201 S. MAIN STREET                   14121 JUSTICE RD                       PO BOX 288
HOUSTON, TX 77025                      MIDLOTHIAN, VA 23113                   MIDLOTHIAN, VA 23113-0288




RICHMOND COUNTY TAX COMMISSIONER       RICHMOND PLAZA INVESTORS LP            RICHMOND POWER & LIGHT
PO BOX 1427                            BUILDING ID RICHPL                     P.O. BOX 908
AUGUSTA, GA 30903                      PO BOX 6104                            44 S 8TH STREET
                                       HICKSVILLE, NY 11802-6104              RICHMOND, IN 47375




RICHMOND REGISTER                      RICHMOND SANITARY DISTRICT             RICHMOND SANITARY DISTRICT
PO BOX 99                              2380 LIBERTY AVE                       PO BOX 308
RICHMOND, KY 40476                     RICHMOND, IN 47374                     RICHMOND, IN 47375




RICHMOND STATION, LLC                  RICHMOND STATION, LLC                  RICHMOND TIMES- DISPATCH
C/O PHILLIPS EDISON & COMPANY          NW 601248                              300 EAST FRANKLIN STREET
ATTN: ROBERT MYERS                     PO BOX 1450                            RICHMOND, VA 23219
11501 NORTHLAKE DRIVE                  MINNEAPOLIS, MN 55485-6012
CINCINNATI, OH 45249



RICHMOND TIMES- DISPATCH               RICHMOND UTILITIES                     RICHMOND UTILITIES
P.O. BOX 27775                         300 HALLIE IRVINE ST                   P.O. BOX 700
RICHMOND, VA 23261-7775                RICHMOND, KY 40475                     RICHMOND, KY 40476-0700
RICHMOND               Case   18-12241-CSS    Doc 26
                                        RICHMOND          Filed 10/05/18        PageRICHPORT
                                                                                     1352 ofHOLDINGS
                                                                                             1739 LLC
ATTN: INCOME TAX DEPT.                  ATTN: PROPERTY TAX DEPT.                    205 N MICHIGAN AVE STE 2940
PO BOX 1268                             PO BOX 1268                                 CHICAGO, IL 60601
RICHMOND, KY 40476-1268                 RICHMOND, KY 40476-1268




RICHPORT HOLDINGS LLC                   RICHPORT PROPERTY II, LLC -- RICHPORT       RICHTER REALTY
ATTN: BLUEROAD VENTURES                 PLAZA                                       18650 W CORPORATE DR STE 103
2 PRUDENTIAL PLAZA180 N STETSON AVE     C/O R&S GROWTH MANAGEMENT                   BROOKFIELD, WI 53045
STE 2880                                18W 140 BUTTERFIELD ROAD, SUITE 941
CHICAGO, IL 60601                       RICHARD J. PORTILLO
                                        OAKBROOK TERRACE, IL 60181


RICK BRAGGS                             RICK BROOKS                                 RICK BURNETT
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




RICK CAMPO                              RICK CARY                                   RICK E WALKUSH
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025




RICK EDDINGS                            RICK FRANS                                  RICK GUZMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




RICK HAVEKOST                           RICK HULL                                   RICK IVEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




RICK JOHNSON                            RICK KOERTH                                 RICK LAMUTT
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




RICK LEBLANC                            RICK LESOINE                                RICK MASTERS
5328 BROCKIE ST.                        10201 S. MAIN STREET                        10201 S. MAIN STREET
VIRGINIA BEACH, VA 23464                HOUSTON, TX 77025                           HOUSTON, TX 77025




RICK MCGARR                             RICK MEYERS                                 RICK OLIVAS
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




RICK PLATA                              RICK REGO                                   RICK RICE
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025
RICK SALYER            Case 18-12241-CSS    Doc 26
                                      RICK SMITH        Filed 10/05/18   PageRICK
                                                                              1353  of 1739
                                                                                  SOUZA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RICK TRAVIS                           RICK WELDEN                            RICK ZIMMERMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RICKEY BRIDGES                        RICKEY FOSTER                          RICKEY MARTIN II
10201 S. MAIN STREET                  10201 S. MAIN STREET                   512 AMERICAN LN
HOUSTON, TX 77025                     HOUSTON, TX 77025                      ALBANY, GA 31701




RICKEY MOORE                          RICKIE STARCHER                        RICKY ADAMS
1800 W 24TH                           10201 S. MAIN STREET                   10201 S. MAIN STREET
ODESSA, TX 79763                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICKY BETTS                           RICKY BLACKMON                         RICKY CLARK
10201 S. MAIN STREET                  10201 S. MAIN STREET                   35 MCDANIEL RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                      DOTHAN, AL 36301




RICKY CURLEY                          RICKY DANGELO BLACKMON                 RICKY DEAN EDDY
10201 S. MAIN STREET                  507 BRIDLE PATH DR                     2271 BLUEBONNET DR
HOUSTON, TX 77025                     RALEIGH, NC 27606                      ROCKWALL, TX 75032




RICKY FORD                            RICKY GIVENS                           RICKY GRIFFITHS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RICKY HACKETT                         RICKY HART                             RICKY JOHNSON
10201 S. MAIN STREET                  5241 SUMMER WIND LN                    10201 S. MAIN STREET
HOUSTON, TX 77025                     ARLINGTON, TN 38002                    HOUSTON, TX 77025




RICKY MCMILLAN                        RICKY RICHARDSON                       RICKY THOMPSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   1581 BAYHILL DR.
HOUSTON, TX 77025                     HOUSTON, TX 77025                      JOHNS CREEK, GA 30097




RICKY VINSON                          RICKY YOUNGBLOOD                       RICKYS POOLS
10201 S. MAIN STREET                  111 ROMAN DR                           713 N MAIN ST
HOUSTON, TX 77025                     DALLAS, GA 30157                       MAULDIN, SC 29662
RICO CASTRO             Case 18-12241-CSS    Doc 26
                                       RICO RANGEL       Filed 10/05/18   PageRICO
                                                                               1354  of 1739
                                                                                   SEEFELDT
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RICOH USA INC                          RICOS WINDOW COVERING SYSTEMS          RIDGE ROAD (E&A), LLC
PO BOX 660342                          9893 HORN RD.                          ATTN: LEGAL DEPARTMENT
DALLAS, TX 75266-0342                  SACRAMENTO, CA 95827                   P.O. BOX 528
                                                                              COLUMBIA, SC 29202




RIDGE ROAD (E&A), LLC                  RIDGE SC, LLC DBA LCL COMPANY          RIDGEDALE PLAZA, LP
DEPT 2305                              C/O MARCHETTI PROPERTIES               ATTN: MS. MARY HALVERSON
PO BOX 822315                          1567 N. PARHAM RD                      2252 LENWOOD COURTH SOUTHWEST
PHILADELPHIA, PA 19182-2315            ATTN: NANCY Y. SMITH & RACHEL          ROCHESTER, MN 55902
                                       BONDURANT
                                       RICHMOND, VA 23229


RIDGEDALE PLAZA, LP                    RIDGEFIELD                             RIDGEPORT LIMITED PARTNERSHIP
ROBERT LARSON PARTNERS                 ATTN: PROPERTY TAX DEPT.               ATTN: LEASE ADMIN
2252 LENWOOD COURT SW                  PO BOX 299                             1427 CLARKVIEW RD STE 500
ROCHESTER, MN 55902                    RIDGEFIELD, CT 06877-0299              BALTIMORE, MD 21209




RIDGEPORT LIMITED PARTNERSHIP          RIDGEWOOD WATER                        RIDGEWOOD WATER
C/O CONTINENTAL REALTY CORPORATION     131 N MAPLE AVE                        P.O. BOX 1304
1427 CLARKVIEW ROAD, SUITE 500         RIDGEWOOD, NJ 07451                    BRATTEBORO, VT 05302-1304
BALTIMORE, MD 21209




RIDGMAR TRUST                          RIEKES EQUIPMENT COMPANY               RIEKES EQUIPMENT COMPANY
C/O SPERRY VAN NESS                    6703 L ST                              PO BOX 3392
PO BOX 100246                          OMAHA, NE 68117                        OMAHA, NE 68103-0392
FORT WORTH, TX 76185




RIGHT AWAY DISPOSAL                    RIGHT AWAY DISPOSAL                    RIGOBERTO TIRADO
3755 S ROYAL PALM RD                   P.O. BOX 52768                         10201 S. MAIN STREET
APACHE JUNCTION, AZ 85119              MESA, AZ 85208                         HOUSTON, TX 77025




RIKARD & PROTOPAPAS LLC                RIKI HEAVIN                            RILEY GRAY
DAVID ROSS GRANGER                     10201 S. MAIN STREET                   10201 S. MAIN STREET
1329 BLANDING ST                       HOUSTON, TX 77025                      HOUSTON, TX 77025
COLUMBIA, SC 29201




RILEY GRIMES                           RILEY HOLDINGS, LTD.                   RILEY HOLDINGS, LTD.
10201 S. MAIN STREET                   2835 US HWY 250 S                      P.O. BOX 258
HOUSTON, TX 77025                      NORWALK, OH 44857                      NORWALK, OH 44857




RILEY TEBBETTS                         RIMCO RESOURCES                        RIMM KAUFMAN GROUP LLC
10201 S. MAIN STREET                   1718 ORD WAY                           PO BOX 8025
HOUSTON, TX 77025                      OCEANSIDE, CA 92056                    CHARLOTTESVILLE, VA 22906
RI-MOSES LAKE II LLC      Case 18-12241-CSS
                                         RIMS Doc 26        Filed 10/05/18    PageRINALDO
                                                                                   1355 ofBRISSELLI
                                                                                            1739
C/O READ MGMT LLC                        PO BOX 95000-2345                         10201 S. MAIN STREET
2025 FOURTH ST                           PHILADELPHIA, PA 19195-2345               HOUSTON, TX 77025
BERKELEY, CA 94710




RINEHART ACQUISITIONS LLC                RING HUNTER HOLLAND & SCHENONE LLP        RING2 COMMUNICATIONS
650 AMITY RD                             985 MORAGA ROAD, SUITE 210                400 2ND ST SUITE 450
HOT SPRINGS NATIONAL PARK, AR 71913      ATTN: SCOTT W. SINGER                     SAN FRANCISCO, CA 94107
                                         LAFAYETTE, CA 94549




RING2 COMMUNICATIONS                     RINKIE BHATIA                             RIO KIM MONTGOMERY PLAZA, L.P.
ACCOUNTS DEPT                            10201 S. MAIN STREET                      ATTN: GENERAL COUNSEL
DEPT CH 16974                            HOUSTON, TX 77025                         3333 NEW HYDE PARK ROAD, SUITE 100
PALATINE, IL 60055-6974                                                            NEW HYDE PARK, NY 11042




RIO KIM MONTGOMERY PLAZA, L.P.           RIO ROAD SHOPS LLC                        RIO ROAD SHOPS LLC
ATTN: LEGAL DEPARTMENT STXF1100B         3540 FLOYD AVE                            C/O HOOD PROPERTIES, INC.
10600 WEST HIGGINS, SUITE 408            RICHMOND, VA 23221                        3540 FLOYD AVE
ROSEMONT, IL 60018                                                                 RICHMOND, VA 23221




RIO SEO                                  RIOCAN SUGARLAND RIVERPARK I LTD          RIOCAN TEMPLE BIRD CREEK CROSSING LP
8080 DAGGET ST STE 220                   PTNSHP                                    RIOCAN AMERICA MGMT
SAN DIEGO, CA 92111                      RC INLAND REIT LP                         62054 COLLECTION CENTER DR
                                         62054 COLLECTION CENTER DR                CHICAGO, IL 60693-0620
                                         CHICAGO, IL 60693-0620



RIOKIM MONTGOMERY LP                     RIOKIM MONTGOMERY LP                      RIOSOFT HOLDINGS INC
3333 NEW HYDE PARK RD                    PO BOX 82565                              RIO SEO
STE 100                                  DEPT CODE STXF1100ALMATTGI00              8080 DAGGET ST STE 220
NEW HYDE PARK, NY 11042                  GOLETA, CA 93118-2565                     SAN DIEGO, CA 92111




RISESMART INC                            RISHAD HUSSAINI                           RISHI MOHINDRA
PO BOX 74008804                          10201 S. MAIN STREET                      10201 S. MAIN STREET
CHICAGO, IL 60674                        HOUSTON, TX 77025                         HOUSTON, TX 77025




RISK & INSURANCE MANAGEMENT SOCIETY      RITA BRECHEEN                             RITA LARMAN
INC                                      604 NW 160TH ST                           10201 S. MAIN STREET
P.O. BOX 95000-2345                      EDMOND, OK 73013                          HOUSTON, TX 77025
PHILADELPHIA, PA 19195-2345




RITA LEOCE                               RITA NILLES                               RITA PAMELA SCAPA
10201 S. MAIN STREET                     300 THORNTON DR SPC 23                    38 LEDGEWOOD DR
HOUSTON, TX 77025                        EL CAJON, CA 92021                        RANCHO SANTA MARGARITA, CA 92688




RITA REGIONAL INCOME TAX AGENCY          RITA SANTOS                               RITA STEVENS CARRE
PO BOX 477900                            614 ADMIRAL CALLAGHAN LN                  10201 S. MAIN STREET
BROADVIEW HEIGHTS, OH 44147              VALLEJO, CA 94591                         HOUSTON, TX 77025
RITA WATERS              Case 18-12241-CSS    Doc 26
                                        RITA WHITE         Filed 10/05/18     PageRITA
                                                                                   1356 of 1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                      PO BOX 94736
HOUSTON, TX 77025                       HOUSTON, TX 77025                         CLEVELAND, OH 44101-4736




RITE AID CORPORATION                    RITE AID CORPORATION                      RITE AID CORPORATION
30 HUNTER LN                            ATTN: REAL ESTATE ADMINISTRATION          PO BOX 460
CAMP HILL, PA 17001                     P.O. BOX 3165                             CAMP HILL, PA 17001-0460
                                        HARRISBURG, PA 17105




RITTER PROPERTIES, LLC                  RITTER PROPERTIES, LLC                    RITTER PROPERTIES, LLC
4847 HOPYARD RD 4202                    ATTN: HERB RITTER                         WASHINGTON TRUST BANK
PLEASANTON, CA 94588                    4847 HOPYARD ROAD, SUITE 4202             PO BOX 2127
                                        PLEASANTON, CA 94588                      SPOKANE, WA 99210-9805




RIVANNA PLAZA SPE LLC                   RIVANNA PLAZA SPE, LLC                    RIVANNA PLAZA SPE, LLC
PO BOX 610                              ATTN: SHARON PLEMMONS                     P.O. BOX 610
WAYNESBORO, VA 22980                    200 W. 12TH STREET                        WAYNESBORO, VA 22980
                                        WAYNESBORO, VA 22980




RIVEL RESEARCH GROUP                    RIVER POINTE RETAIL, LTD.                 RIVER PRODJECT LTD
57 GREENS FARMS RD                      ATTN: CINDY CREED                         12651 BRIAR FOREST DR STE 300
WESTPORT, CT 06880                      12651 BRIAR FOREST DR., SUITE 300         HOUSTON, TX 77077
                                        HOUSTON, TX 77077




RIVER RAPIDS PROP LLC                   RIVER RETAIL LLC                          RIVER SHARPE HOLDINGS, LLC
ATTN: TIFFANY EARL WILLIAMS             ATTN: ANGELA WRAY PROPERTY MGR            ATTN: GARY SHARPE
411 1ST AVE SE                          930 EAST 66TH ST                          3736 BEE CAVE ROAD, SUITE I-154
CEDAR RAPIDS, IA 52401                  INDIANAPOLIS, IN 46220                    AUSTIN, TX 78746




RIVER TREE VERNON HILLS                 RIVER VALLEY ONE LLC                      RIVERCREST REALTY ASSOCIATES, LLC
ROSENSTEIN PROP MGMT                    230 OHIO ST STE 200                       8816 SIX FORKS ROAD, SUITE 201
PO BOX 232                              OSHKOSH, WI 54902                         RALEIGH, NC 27615
HIGHLAND PARK, IL 60035




RIVERDALE CENTER OWNER, L.C.            RIVERDALE CENTER OWNER, L.C.              RIVERDALE CENTER OWNER, L.C.
90 S 400 W STE 200                      90 SOUTH 400 WEST, SUITE 200              C/O THE BOYER COMPANY
SALT LAKE CITY, UT 84101                SALT LAKE CITY, UT 84101                  ATTN: ACCOUNTS PAYABLE
                                                                                  101 S. 200 E., SUITE 200
                                                                                  SALT LAKE CITY, UT 84111-3104



RIVERGATE FESTIVAL SHOPPING CT          RIVERMONT APARTMENTS, LLC                 RIVEROAKS PROPERTIES LLC
C/O COMPASS CAPITAL                     C/O FAIRWAY MGMT GROUP, LLC               PO BOX 1132
5181 CARTERS CREEK PIKE                 728 SHADES CREEK PARKWAY, SUITE 200       CALUMET CITY, IL 60409
THOMPSONS STATION, TN 37179             BIRMINGHAM, AL 35209




RIVERPLACE SHOPPING CENTER, LLC         RIVERPOINT III - TIC DBA                  RIVERSIDE COUNTY TREASURER
C/O KIMCO REALTY CORPORATION            MARVIN L OATES                            ATTN: PROPERTY TAX DEPT.
3333 NEW HYDE PARK RD STE 100           8615 ELDER CREEK RD                       PO BOX 12005
NEW HYDE PARK, NY 11042-0020            SACRAMENTO, CA 95828                      RIVERSIDE, CA 92502-2205
RIVERSIDE COUNTY        Case   18-12241-CSS    DocDISPOSAL
                                         RIVERSIDE  26 Filed    10/05/18
                                                           AND RECYCLING       PageRIVERSIDE
                                                                                    1357 of PROPERTIES,
                                                                                             1739       INC.
TAX COLLECTOR                             700 RIVER RD                              27 MICA LANE, SUITE 201
PO BOX 12005                              CHELSEA, ME 04330                         WELLESLEY, MA 02481
RIVERSIDE, CA 92502-2205




RIVERSIDE PUBLIC UTILITIES                RIVERSTONE PLAZA, LLC                     RIVERSTONE RETAIL PARTNERS LTD
3900 MAIN STREET                          1407 FANNIN STREET                        PO BOX 1101
RIVERSIDE, CA 92522-0144                  HOUSTON, TX 77002                         HOUSTON, TX 77251




RIVERTOWNE CENTER ACQUISITION LLC         RIVERTOWNE CENTER ACQUISITION, LLC        RIVERVIEW MANAGEMENT
8 INDUSTRIAL WAY EAST 2ND FL              C/O WHARTON REALTY GROUP, INC.            1765 MERRIMAN ROAD
EATONTOWN, NJ 07724                       8 INDUSTRIAL WAY EAST, 2ND FLOOR          AKRON, OH 44313
                                          ATTN: ISAAC MASSRY
                                          EATONTOWN, NJ 07724



RIVERVIEW RAW BAR & CHILL                 RIVERVIEW TOWNCENTRE INC.                 RIVERWALK PLAZA OF BREVARD LLC
10012 MOORES CHAPEL LOOP                  TERRI L. WEEDER                           1269 US HWY 1
CHARLOTTE, NC 28214                       21299 HIGHWAY 27                          ROCKLEDGE, FL 32955
                                          LAKE WALES, FL 33859




RIVERWOOD PROPERTIES                      RIVERWOOD PROPERTIES, LLC                 RIVIERA BROADCASTING
3350 RIVERWOOD PARKWAY, SUITE 450         JOY GRIFFIN                               4745 N 7TH STREET STE 410
ATLANTA, GA 30339                         P.O. BOX 724506                           PHOENIX, AZ 85014
                                          ATLANTA, GA 31139




RIVIERA FINANCE                           RIVIERA UTILITIES                         RIZTEX USA INC
PO BOX 823394                             PAYMENT PROCESSING CENTER                 DBA RIZZY HOME
PHILADELPHIA, PA 19182-3394               P.O. BOX 580052                           900 MARINE DR
                                          CHARLOTTE, NC 28258-0052                  CALHOUN, GA 30701




RIZZY HOME                                RJ GILBERTSON                             RJ HINKLE
RIZTEX USA INC                            10201 S. MAIN STREET                      10201 S. MAIN STREET
900 MARINE DR                             HOUSTON, TX 77025                         HOUSTON, TX 77025
CALHOUN, GA 30701




RJ JEANNIS                                RJ LANDER CONSTRUCTION SERVICES           RJ VENTURES LLC
10201 S. MAIN STREET                      4141 BLUE LAKE CIRCLE 188A                ATTN: TANA KESHISHIAN
HOUSTON, TX 77025                         DALLAS, TX 75244                          10990 WILSHIRE BLVD STE 1000
                                                                                    LOS ANGELES, CA 90024




RJ VENTURES LLC                           RJ VENTURES LLC                           RJ WILLIAMSON
C/O ROTHBART DEVELOPMENT CORP             C/O ROTHBART DEVELOPMENT CORP.
10990 WILSHIRE BLVD STE 1000              ATTN: STANLEY RORTHBART
LOS ANGELES, CA 90024                     10990 WILSHIRE BLVD STE 1000
                                          LOS ANGELES, CA 90024



RJAK PROCESSING LLC                       RJB II LP                                 RJF CAPITAL
2801 N ROCK RD 807                        FIRST AMERICAN PROPERTIES                 3970 S EVANS BLVD
WICHITA, KS 67226                         1540 E DUNDEE RD STE 210                  TUCSON, AZ 85714
                                          PALATINE, IL 60074
RJPG                    Case 18-12241-CSS    Doc
                                       RK ADAMS   26 LANDING
                                                DAIRY  Filed LLC
                                                             10/05/18        PageRK
                                                                                  1358  of LANDING,
                                                                                    ADAMS   1739 LLC
1826 CRESTWOOD DR                       55 MADISON STREET STE 635                 55 MADISON STREET, SUITE 635
CALEDONIA, WI 53108                     DENVER, CO 80206                          DENVER, CO 80206




RK CENTERS                              RK CENTERS                                RK CENTERS
50 CABOT STREET, SUITE 200              ALYSSA ABRAMS                             ATTN: DANIEL KATZ
NEEDHAM, MA 02494                       50 CABOT STREET, SUITE 200                17100 COLLINS AVE STE 225
                                        NEEDHAM, MA 02494                         SUNNY ISLES BEACH, FL 33160




RK KIDS INC                             RK MARSHALL                               RK NEWPORT 1 LLC
10190 KATY FREEWAY, STE 501             2010 SW H K DODGEN LOOP, SUITE 210        C/O RK CENTERS
HOUSTON, TX 77043                       TEMPLE, TX 76504                          50 CABOT ST STE. 200
                                                                                  NEEDHAM, MA 02494




RK RAINBOW LLC                          RK SWANSEA LLC                            RK WORCESTER CROSSING LLC
50 CABOT ST STE 200                     50 CABOT ST STE 200                       50 CABOT ST STE 200
NEEDHAM, MA 02494                       NEEDHAM, MA 02494                         NEEDHAM, MA 02494




RKC ENTERPRISES INC                     RKL PRODUCTIONS INC                       RL MURPHEY COMMERCIAL ROOF SYS LP
DBA CONTACTPOINTE                       TWO JERICHO PLAZA                         845 N MILL ST 200
7562 WORTHINGTON RD                     2ND FLOOR WING A                          LEWISVILLE, TX 75057
WESTERVILLE, OH 43082                   JERICHO, NY 11753




RLB ENTERPRISES LLC DBA FASTSIGNS       RLCWA                                     RLET PROPERTIES BURLINGTON VILLAGE
9620 M STREET                           ATTN: ACCTS RECEIVABLE                    LLC
OMAHA, NE 68127                         42401 ST. RT 303                          263 2ND AVE STE 101
                                        LA GRANGE, OH 44050-9717                  NIWOT, CO 80544




RLET PROPERTIES BURLINGTON VILLAGE      RLET PROPERTIES BURLINGTON VILLAGE        RLET PROPERTIES BURLINGTON VILLAGE
LLC                                     LLC                                       P.O. BOX 490
263 SECOND AVENUE, SUITE 101            PO BOX 490                                NIWOT, CO 80544
NIWOT, CO 80544                         NIWOT, CO 80544




RLET PROPERTIES NOVA PLAZA LLC          RLW CONSULTING                            RLW PROPERTIES, LLC
300 SECOND AVE STE 205                  7776 FARMINGTON RD. 38155                 4 WEST BAY LANE
NIWOT, CO 80544                         GERMANTOWN, TN 38183                      NORTH OAKS, MN 55127




RM BROADCASTING LLC                     RN PROPERTIES CAVE CREEK, LLC             RN PROPERTIES CAVE CREEK, LLC
DBA KMRJ-FM                             4455 E CAMELBACK RD STE D-145             4455 E CAMELBACK ROAD, SUITE D-145
75-153 MERLE DR STE G                   PHOENIX, AZ 85018                         PHOENIX, AZ 85018
PALM DESERT, CA 92211




RNOT LLC                                ROADMASTER GP                             ROADMASTER GP
301 CONGRESS STE 700                    212 BELCLAIRE PLACE                       C/O THE CAPITAL CORPORATION
AUSTIN, TX 78701                        NASHVILLE, TN 37205                       7101 SHARONDALE COURT STE 600
                                                                                  BRENTWOOD, TN 37027
ROALD FRAITES          Case 18-12241-CSS   Doc
                                      ROANOKE 10426  Filed
                                                 VENTURE LLC10/05/18   PageROANOKE
                                                                            1359 ofGAS
                                                                                    1739
                                                                                       COMPANY
10201 S. MAIN STREET                   ATTN: CINDY MIRT                    P.O. BOX 70848
HOUSTON, TX 77025                      1332 MAIN ST STE 30                 CHARLOTTE, NC 28272-0848
                                       COLUMBIA, SC 29201




ROANOKE RAPIDS SANITARY DIST           ROANOKE RAPIDS SANITARY DIST        ROANOKE RAPIDS SANITARY DIST
1000 JACKSON ST                        1000 JACKSON STREET                 P.O. BOX 63016
PO BOX 308                             PO BOX 308                          CHAROLETTE, NC 28263-3016
ROANOKE RAPIDS, NC 27870               ROANOKE RAPIDS, NC 27870




ROB ANSTINE                            ROB BROWNING                        ROB CARLSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




ROB COLE                               ROB COLGLAZIER                      ROB CORTEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




ROB GAUTHIER                           ROB HOLDSWORTH                      ROB HORTON
10201 S. MAIN STREET                   10024 ORIOLE COURT                  10201 S. MAIN STREET
HOUSTON, TX 77025                      MIAMISBURG, OH 45342                HOUSTON, TX 77025




ROB JENIK                              ROB KILGORE                         ROB KILLGORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




ROB LANDRUM                            ROB LIAS                            ROB MCFARLAND
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




ROB MELVIN                             ROB MOSCHELLO                       ROB PITTS
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




ROB QUARNSTROM                         ROB ROCKEY                          ROB SIMON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




ROB SLICK                              ROB TAYLOR                          ROB TAYLOR
10201 S. MAIN STREET                   450 EMILY ROSE CIRCLE               7471 PEREGRINE
HOUSTON, TX 77025                      WINDSOR, CA 95492                   DAVISON, MI 48423
ROB TURNBULL           Case 18-12241-CSS    Doc 26
                                      ROB WILLITTS      Filed 10/05/18   PageROB
                                                                              1360  of 1739
                                                                                 WILSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROB WILTGEN                           ROB ZEMSKY                             ROBAR, INC.
10201 S. MAIN STREET                  10201 S. MAIN STREET                   4495 GLENEAGLES DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                      BOYNTON BEACH, FL 33436




ROBB POLSTON                          ROBB POLSTON                           ROBBIE HAZELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBBIE HILL                           ROBBIE HOSLER                          ROBBIE ROBINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBBINS PROPERTIES I, LLC             ROBEAN MORRIS                          ROBEN WARD
ATTN: RANDY NALLS                     10201 S. MAIN STREET                   10201 S. MAIN STREET
3100 WEST END AVENUE, SUITE 1070      HOUSTON, TX 77025                      HOUSTON, TX 77025
NASHVILLE, TN 37203




ROBERT & CHERYL PARSONS               ROBERT A KING                          ROBERT ACOCELLA
46 RIDGECREST COURT                   409 CANADIAN COVE                      10201 S. MAIN STREET
SAINT MATTHEWS, SC 29135              HUTTO, TX 78634                        HOUSTON, TX 77025




ROBERT ACOSTA                         ROBERT ADAMSON                         ROBERT AGUAYO
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT AKIN JR                        ROBERT ALLEN HOFER                     ROBERT ALVARADO
550 EAST NORTH FRONTAGE               1433 SAN JUAN CT                       10201 S. MAIN STREET
BOLINGBROOK, IL 60440                 CLEARWATER, FL 33756                   HOUSTON, TX 77025




ROBERT AMBROGI                        ROBERT ANDERSON II                     ROBERT ANDERSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT ARCHER                         ROBERT ASKIN                           ROBERT AVANT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
ROBERT BAKER           Case 18-12241-CSS
                                      ROBERTDoc 26
                                             BARRY        Filed 10/05/18   PageROBERT
                                                                                1361 of 1739
                                                                                      BELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ROBERT BICANIC                        ROBERT BINGHAM                           ROBERT BLEDSOE
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ROBERT BOLAND                         ROBERT BONDAN                            ROBERT BRISSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ROBERT BROWN & ASSOCIATES, INC.       ROBERT BULLARD                           ROBERT BUNDY
BRAD BROWN, VP & DIRECTOR OF          10201 S. MAIN STREET                     10201 S. MAIN STREET
DEVELOPMENT                           HOUSTON, TX 77025                        HOUSTON, TX 77025
41 OLD OYSTER POINT ROAD, SUITE A
NEWPORT NEWS, VA 23612



ROBERT C MCPHERSON & KAREN            ROBERT C. MCPHERSON & KAREN M. VAN       ROBERT CAMARGO
GRONINGEN AS CO TRUSTEES              GRONINGEN FAMILY LIVING TRUST            10201 S. MAIN STREET
2005 EARLY DR                         2005 EARLY DRIVE                         HOUSTON, TX 77025
FELTON, CA 95018                      FELTON, CA 95018




ROBERT CAMP                           ROBERT CARAWAY                           ROBERT CARLSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ROBERT CARRERO                        ROBERT CHAD HANKINSON                    ROBERT CIRIANO
10201 S. MAIN STREET                  14 KEATON AVE                            10201 S. MAIN STREET
HOUSTON, TX 77025                     WILMINGTON, NC 28403                     HOUSTON, TX 77025




ROBERT COLEMAN                        ROBERT CONNOLLY                          ROBERT CORNELIUS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ROBERT CORNELIUS                      ROBERT COZZO                             ROBERT CREAGER
10201 S. MAIN STREET                  10201 S. MAIN STREET                     2728 TANGLEY RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77005




ROBERT CURRAN                         ROBERT D MILLER                          ROBERT DASILVA
7211 OPEAKAA ST                       7904 TOLKIN COURT                        10201 S. MAIN STREET
HONOLULU, HI 96825                    BOWIE, MD 20720                          HOUSTON, TX 77025
ROBERT DAURIA          Case 18-12241-CSS
                                      ROBERTDoc  26 Filed 10/05/18
                                             DAVIDSON                PageROBERT
                                                                          1362 of 1739
                                                                                DAVIS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ROBERT DAVIS                           ROBERT DAWKINS                    ROBERT DAWSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ROBERT DEJESUS                         ROBERT DEL VALLE                  ROBERT DELANCY
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ROBERT DIDIO                           ROBERT DIGREGORIO                 ROBERT DOAN
6946 REGINA DRIVE                      10201 S. MAIN STREET              10718 WOLSLEY COURT
ENGLEWOOD, FL 34224                    HOUSTON, TX 77025                 HOUSTON, TX 77065-5058




ROBERT DOUGLAS                         ROBERT DOWNEY                     ROBERT DUMAS
10201 S. MAIN STREET                   10201 S. MAIN STREET              VIRGINIA BEACH SOUTH
HOUSTON, TX 77025                      HOUSTON, TX 77025                 2318 CALVERT STREET
                                                                         VIRGINIA BEACH, VA 23451




ROBERT DWORKIN                         ROBERT DYNES                      ROBERT E CREAGER
10201 S. MAIN STREET                   10201 S. MAIN STREET              2728 TANGLEY RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77005




ROBERT E DEUTSCH JR                    ROBERT E SCHMIDT JR LLC           ROBERT ENDSLEY
DBA BOBS BUG BIZZ                      2226 STATE ROAD 580               10201 S. MAIN STREET
8081 W CAMINO DE ORO                   CLEARWATER, FL 33763              HOUSTON, TX 77025
PEORIA, AZ 85383




ROBERT ENS                             ROBERT FAIN                       ROBERT FELDMANN
10201 S. MAIN STREET                   10201 S. MAIN STREET              735 N EASTRIDGE PLACE
HOUSTON, TX 77025                      HOUSTON, TX 77025                 BOISE, ID 83712




ROBERT FERRARI                         ROBERT FITZGERALD JR              ROBERT FLEMING
10201 S. MAIN STREET                   105 RESERVOIR RD                  10201 S. MAIN STREET
HOUSTON, TX 77025                      ATHERTON, CA 94027                HOUSTON, TX 77025




ROBERT FRAUNFELTER                     ROBERT GACK                       ROBERT GAMBLE
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025
ROBERT GARCIA          Case 18-12241-CSS
                                      ROBERTDoc 26
                                             GARCIA      Filed 10/05/18   PageROBERT
                                                                               1363 of 1739
                                                                                     GARCIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT GATDULA                         ROBERT GAUTHIER                        ROBERT GAY
10201 S. MAIN STREET                   278 MAYWOOD DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                      MARTINEZ, GA 30907                     HOUSTON, TX 77025




ROBERT GIMBEL                          ROBERT GONYEA                          ROBERT GONZALEZ
10201 S. MAIN STREET                   217 ASHLEY STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      WEST SPRINGFIELD, MA 01089             HOUSTON, TX 77025




ROBERT GRAY                            ROBERT GROSS                           ROBERT GROSSNICKLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT H RANDALL                       ROBERT HAFNER                          ROBERT HALF
47 EAST PASTURE RD                     10201 S. MAIN STREET                   PO BOX 743295
BERWICK, ME 03901                      HOUSTON, TX 77025                      LOS ANGELES, CA 90074-3295




ROBERT HAMILL                          ROBERT HANNUSCH                        ROBERT HARLESS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   230 PARK HALL
HOUSTON, TX 77025                      HOUSTON, TX 77025                      BALL STATE UNIVERSITY
                                                                              MUNCIE, IN 47306




ROBERT HARPER                          ROBERT HARRIS                          ROBERT HARRIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT HAUGHTON                        ROBERT HAYMAN-CENTRAL PROPERTY         ROBERT HOCHMAN
10201 S. MAIN STREET                   ASSOC                                  10201 S. MAIN STREET
HOUSTON, TX 77025                      PO BOX 39                              HOUSTON, TX 77025
                                       SPRINGFIELD, VA 22150




ROBERT HOFER                           ROBERT HOLDERFIELD                     ROBERT HORKMAN
1161 RUSSELL ST                        10201 S. MAIN STREET                   10201 S. MAIN STREET
CLEARWATER, FL 33755                   HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT HOWARD                          ROBERT J MADDEN                        ROBERT J PANZARELLA JR.
10201 S. MAIN STREET                   29121 PROMENADE RD                     89 GRANT AVE
HOUSTON, TX 77025                      MENIFEE, CA 92584                      EAST ROCKAWAY, NY 11518
ROBERT J SCANLIN      Case   18-12241-CSS
                                       ROBERTDoc  26 Filed 10/05/18
                                              JACKSON                 PageROBERT
                                                                           1364 of 1739
                                                                                 JARRETT
2522 SUNNYBREEZE AVE B                 10201 S. MAIN STREET               10201 S. MAIN STREET
LARGO, FL 33770                        HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT JEHRING                         ROBERT JEWELL                      ROBERT JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT JOHNSON                         ROBERT JOHNSON                     ROBERT JONES
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT KELLEY                          ROBERT KELLEY                      ROBERT KIMBLE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT KNIGHT                          ROBERT KRESGE                      ROBERT KROEGER
10201 S. MAIN STREET                   4517 GARDEN AVE                    10201 S. MAIN STREET
HOUSTON, TX 77025                      SEBRING, FL 33875                  HOUSTON, TX 77025




ROBERT L COLLUMS JR                    ROBERT L MCCALLUM                  ROBERT L. KASAVAN & LESLEY ANN, AS
DBA ABSOLUTE INDUSTRIAL SOLUTIONS      4560 BELTLINE RD 320               TRUSTEES
2235 DES JARDINES                      ADDISON, TX 75001                  THE ROBERT AND LESLEY KASAVAN TRUST,
HOUSTON, TX 77023                                                         DATED APRIL 30, 2007
                                                                          P.O. BOX 1952
                                                                          SALINAS, CA 93902


ROBERT LAMANTIA                        ROBERT LAMONT                      ROBERT LANN
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT LANZARA                         ROBERT LATTA JR                    ROBERT LEE SHAPIRO, P.C.
10201 S. MAIN STREET                   2 CEDAR POINT DRIVE                ATTN: ROBERT LEE SHAPIRE, ESQ.
HOUSTON, TX 77025                      PALM COAST, FL 32164               2401 PGA BOULEVARD, SUITE 280-B
                                                                          PALM BEACH GARDENS, FL 33410




ROBERT LEVINE                          ROBERT LEWIS                       ROBERT LINEBACK
4500 VARNA AVE                         4694 SCOTTSDALE AVE                10201 S. MAIN STREET
SHERMAN OAKS, CA 91423                 MEMPHIS, TN 38118                  HOUSTON, TX 77025




ROBERT LITTWIN                         ROBERT LONG                        ROBERT LUCCHI
10201 S. MAIN STREET                                                      10201 S. MAIN STREET
HOUSTON, TX 77025                                                         HOUSTON, TX 77025
ROBERT MAIZER           Case 18-12241-CSS
                                       ROBERTDoc  26 Filed 10/05/18
                                              MALLORY                   PageROBERT
                                                                             1365 of 1739
                                                                                   MANTOVANI
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERT MARKS                            ROBERT MARKWARD                      ROBERT MARQUEZ
31 STATION CT APT 201                   10201 S. MAIN STREET                 10201 S. MAIN STREET
GREENVILLE, SC 29601                    HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERT MATARASO                         ROBERT MCDONOUGH                     ROBERT MCGOWAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERT MCMANUS                          ROBERT MENDOZA                       ROBERT MERAZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERT METROKE                          ROBERT MICHAEL KATZ                  ROBERT MIDDLETON
10201 S. MAIN STREET                    1339 TAILWIND COURT                  10201 S. MAIN STREET
HOUSTON, TX 77025                       MT PLEASANT, SC 29464                HOUSTON, TX 77025




ROBERT MILLER                           ROBERT MILLS                         ROBERT MITCHELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERT MONTGOMERY                       ROBERT MOORE                         ROBERT MORIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERT MORRIS                           ROBERT MORTON                        ROBERT MOYES
10201 S. MAIN STREET                    6022 NW 80TH AVENUE                  10201 S. MAIN STREET
HOUSTON, TX 77025                       TAMARAC, FL 33321                    HOUSTON, TX 77025




ROBERT NICHOLS                          ROBERT NILSSON                       ROBERT NOEL
10201 S. MAIN STREET                    10201 S. MAIN STREET                 1340 SHERWOOD DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                    CONCORD, CA 94521




ROBERT NYSEWANDER                       ROBERT ORKIN INTEREST I, LTD.        ROBERT OSULLIVAN
10201 S. MAIN STREET                    8441 GULF FREEWAY, SUITE 212         10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77017                    HOUSTON, TX 77025
ROBERT OTERO           Case 18-12241-CSS
                                      ROBERTDoc 26
                                             OTERO      Filed 10/05/18   PageROBERT
                                                                              1366 of 1739
                                                                                    OUTLAW
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT OVERGAARD                      ROBERT OWENS                           ROBERT P. SMITH
10201 S. MAIN STREET                  10201 S. MAIN STREET                   C/O CASPER & CASPER
HOUSTON, TX 77025                     HOUSTON, TX 77025                      ATTN: PATRICK ALLEN
                                                                             3420 ATRIUM BLVD., SUITE 160
                                                                             MIDDLETOWN, OH 45005-5186



ROBERT PANZARELLA                     ROBERT PARKE                           ROBERT PARRELLA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT PENA                           ROBERT PERKINS                         ROBERT PETERSEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT PICKEN                         ROBERT PIETON                          ROBERT PUCHALSKI
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT PUGLIESE                       ROBERT QUINONES                        ROBERT R REICHERT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   16515 SIMONDS ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                      GRANADA HILLS, CA 91344




ROBERT RATHGEBER                      ROBERT RATHGERBER                      ROBERT REYNOLDS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT RINGLAND                       ROBERT RIVERA                          ROBERT ROBERSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT ROBINETTE                      ROBERT ROBINSON                        ROBERT ROBINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT ROBLES                         ROBERT RODRIGUEZ                       ROBERT ROMANO
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
ROBERT ROSSI            Case 18-12241-CSS
                                       ROBERTDoc  26 Filed 10/05/18
                                              S HURLBURT               PageROBERT
                                                                            1367 of  1739
                                                                                  S MOONEY
10201 S. MAIN STREET                    7302 DOGWOOD FALLS RD              14597 SE ARISTA DR
HOUSTON, TX 77025                       HOUSTON, TX 77095                  MILWAUKIE, OR 97267




ROBERT S PALEY                          ROBERT S. WILLIAMS TREASURER       ROBERT SALE
6 BALWYN PLACE                          P.O. BOX 638                       2645 GROVE ST
BALA CYNWYD, PA 19004                   HAMPTON, VA 23669-0638             LA VERNE, CA 91750




ROBERT SANCHEZ                          ROBERT SANDERS                     ROBERT SANTARPIA
10201 S. MAIN STREET                    2720 N DUANE DR                    14 ALBERTA DR
HOUSTON, TX 77025                       MERIDIAN, ID 83646                 MARLBORO, NJ 07746




ROBERT SAUCIDO SAUCIDO                  ROBERT SAUCIDO                     ROBERT SAVALA
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT SCALIA                           ROBERT SCHMIDT                     ROBERT SCHULT
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT SECREST                          ROBERT SENILE                      ROBERT SHEPHERD
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT SHIRLEY                          ROBERT SHOBE                       ROBERT SHOWALTER
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT SKIENDZIELEWSKI                  ROBERT SMITH                       ROBERT SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




ROBERT SPAETH                           ROBERT ST. ONGE                    ROBERT STAGNER
10201 S. MAIN STREET                    10201 S. MAIN STREET               4504 BRAEBURN DR.
HOUSTON, TX 77025                       HOUSTON, TX 77025                  BELLAIRE, TX 77401




ROBERT STROHM                           ROBERT STROUSE                     ROBERT SUGG
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025
ROBERT SULLIVAN        Case 18-12241-CSS
                                      ROBERTDoc  26
                                             SUTLER      Filed 10/05/18   PageROBERT
                                                                               1368 of 1739
                                                                                     SZALVA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT TANKERSLEY                      ROBERT TAYLOR                          ROBERT TIPPETT
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT TOKUNAGA                        ROBERT TRACY                           ROBERT TURNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT TYLER                           ROBERT TYRRELL                         ROBERT ULEE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT VICTORINO                       ROBERT VINCENT                         ROBERT W COOK / WHO DA THUNK
10201 S. MAIN STREET                   10201 S. MAIN STREET                   4701 SE ADMIRAL WAY STE 260
HOUSTON, TX 77025                      HOUSTON, TX 77025                      SEATTLE, WA 98116




ROBERT W HAMILTON                      ROBERT W RANDALL                       ROBERT WAHLGREN
204 HAYWOOD ST                         47 A BAY STATE RD                      10201 S. MAIN STREET
ASHEVILLE, NC 28802                    REHOBOTH, MA 02769                     HOUSTON, TX 77025




ROBERT WASHINGTON                      ROBERT WEIL                            ROBERT WILSON
20443 PURPLE SUNSET CT                 10201 S. MAIN STREET                   10201 S. MAIN STREET
KATY, TX 77449                         HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT WOOD                            ROBERT WOOLSEY                         ROBERT WYGAL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERT YANDLE                          ROBERT YAZMAN                          ROBERT ZAGONE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




ROBERTA GOLDSTON                       ROBERTA SUE ROWE                       ROBERTA SUE ROWE
10201 S. MAIN STREET                   19521 86TH AVE W                       7924 212TH ST SW 305
HOUSTON, TX 77025                      EDMONDS, WA 98026                      EDMONDS, WA 98026
ROBERTO ARCEO          Case 18-12241-CSS   Doc
                                      ROBERTO   26 Filed 10/05/18
                                              ARENCIBIA               PageROBERTO
                                                                           1369 ofBUCKERIDGE
                                                                                   1739
3575 WEST 10TH AVE                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HIALEAH, FL 33012                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERTO BUENO                         ROBERTO CASTILLO                     ROBERTO ESTEVEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERTO ESTRADA                       ROBERTO GARCIA                       ROBERTO GOMEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERTO MARTINEZ                      ROBERTO MERIDA                       ROBERTO MORAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERTO OTERO                         ROBERTO PERK                         ROBERTO ROMEO
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




ROBERTO TAMAYO                        ROBERTS BROTHERS CONSULTING GROUP    ROBERTS D BUZZELL
10201 S. MAIN STREET                  1506 HAWKS MEADOW                    ROBERTS LANDSCAPING SRVC
HOUSTON, TX 77025                     SAN ANTONIO, TX 78248                PO BOX 151156
                                                                           SAN DIEGO, CA 92175




ROBERTS FIRE PROTECTION INC           ROBERTS FIRE PROTECTION INC          ROBERTS LANDSCAPING SRVC
3080 A JONQUIL DR                     PO BOX 2161                          PO BOX 151156
SMYRNA, GA 30080                      SMYRNA, GA 30081                     SAN DIEGO, CA 92175




ROBERTS MARKEL WEINBERG BUTLER        ROBERTSON, DOROTHY                   ROBERTSON, DOROTHY
HAILEY PC                             1000 W 6TH ST                        C/O THE CARLSON LAW FIRM
ATTN: CARL P. FAVRE, ESQ.             MC GREGOR, TX 76657-2060             ATTN: DOMINIC BRAUS
2277 PLAZA DRIVE, SUITE 290                                                3919 W. WACO DR.
SUGAR LAND, TX 77479                                                       WACO, TX 76710



ROBERTSONS CREEK DUNHILL LLC          ROBERTSON'S CREEK DUNHILL LLC        ROBERTSON'S CREEK DUNHILL LLC
3100 MONTICELLO AVE, STE 300          C/O DUNHILL PARTNERS                 P.O. BOX 206032
DALLAS, TX 75205                      3100 MONTICELLO AVENUE, #300         DALLAS, TX 75320-6032
                                      DALLAS, TX 75205




ROBERTSONS CREEK DUNHILL LLC          ROBESON COUNTY TAX COLLECTOR         ROBIN ANDERSON
P.O. BOX 206032                       PO BOX 580387                        1671 NE MATSON RD
DALLAS, TX 75320-6032                 CHARLOTTE, NC 28258-0387             BEND, OR 97701
ROBIN BRIDGLAND        Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                      ROBIN MARRAPESE                    PageROBIN
                                                                              1370PASTERCZYK
                                                                                   of 1739
10201 S. MAIN STREET                  1438 SAN JUAN CT APT A                 10201 S. MAIN STREET
HOUSTON, TX 77025                     CLEARWATER, FL 33756                   HOUSTON, TX 77025




ROBIN REICHERT                        ROBIN ROGERS                           ROBIN SCHNEIDER
16515 SIMONDS ST                      10201 S. MAIN STREET                   2401 W 25TH ST APT 6C5
GRANADA HILLS, CA 91344               HOUSTON, TX 77025                      LAWRENCE, KS 66047




ROBINSON CROSSING, LLC                ROBSONS LANDSCAPE MANAGEMENT           ROBYN BYWATERS
C/O CONTINENTAL REALTY CORPORATION    P.O. BOX 3069                          10201 S. MAIN STREET
ATTN: LEGAL DEPARTMENT                BELLEVIEW, FL 34421                    HOUSTON, TX 77025
1427 CLARKVIEW RD, SUITE 500
BALTIMORE, MD 21209



ROBYN JOHANSON                        ROBYN JOHNS                            ROC HERMAN
10201 S. MAIN STREET                  1400 W 6TH ST                          10201 S. MAIN STREET
HOUSTON, TX 77025                     WILMINGTON, DE 19805                   HOUSTON, TX 77025




ROCCO DELAURI                         ROCCO RESCINITI                        ROCHELLE JOHNSON-GRIFFIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ROCHESTER MN (4107 HWY 52) LLC        ROCHESTER MN 4107 HWY52 LC             ROCHESTER PUBLIC UTILITIES
ATTN: ACCOUNTING DEPT                 ATTN: ACCOUNTING DEPT                  4000 EAST RIVER RD NE
1400 16TH ST STE 200                  1400 16TH ST STE 200                   ROCHESTER, MN 55906
OAK BROOK, IL 60523                   OAK BROOK, IL 60523




ROCHESTER PUBLIC UTILITIES            ROCHURST PROPERTIES LLC                ROCIO ZERTUCHE ZUNIGA
P.O. BOX 77074                        8312 W. RENO SUITE B                   10201 S. MAIN STREET
MINNEAPOLIS, MN 55480-7774            OKLAHOMA CITY, OK 73127                HOUSTON, TX 77025




ROCK ANDERSON                         ROCK COUNTY TREASURER COURTHOUSE       ROCK CREEK SQUARE, LLC
10201 S. MAIN STREET                  P.O. BOX 1508                          C/O SAGE PARTNERS REAL ESTATE
HOUSTON, TX 77025                     JANESVILLE, WI 53547-1508              SOLUTIONS
                                                                             5100 W JB HUNT DR STE 800
                                                                             ROGERS, AR 72758



ROCK CREEK SQUARE, LLC                ROCK HILL RETAIL INC                   ROCK RIVER WATER RECLAMATION
C/O SAGE PARTNERS REAL ESTATE         C/O LISCIOTTI DEVLOPMENT               P.O. BOX 34757
SOLUTIONS                             83 ORCHARD HILL PARK DR.               ALEXANDRIA, VA 22334-0757
5100 W. JB HUNT DRIVE, SUITE 800      LEOMINSTER, MA 01453
ROGERS, AR 72758



ROCKAWAY TOWNSHIP                     ROCKAWAY TWSP MUNICIPAL UTIL           ROCKDALE COUNTY STORMWTR UTIL
65 MOUNT HOPE ROAD                    65 MOUNT HOPE ROAD                     958 MILSTEAD AVE
ROCKAWAY, NJ 07866                    ROCKAWAY, NJ 07866                     PO BOX 1495
                                                                             CONYERS, GA 30012
                    CaseUTIL
ROCKDALE COUNTY STORMWTR 18-12241-CSS    DocCOUNTY
                                   ROCKDALE    26 Filed   10/05/18
                                                    TAX COMMISSION      PageROCKDALE
                                                                             1371 of COUNTY
                                                                                     1739
P.O. BOX 1495                      PO BOX 1497                              DEPT OF PLANNING & DEVELOPMENT
CONYERS, GA 30012                  CONYERS, GA 30012                        PO BOX 289
                                                                            CONYERS, GA 30012




ROCKDALE WATER RESOURCES              ROCKDALE WATER RESOURCES              ROCKDALE WATER UTILITIES
958 MILSTEAD AVE                      P.O. BOX 34757                        P.O. BOX 1378
CONYERS, GA 30012                     ALEXANDRIA, VA 22334-0757             CONYERS, GA 30012




ROCKDALE                              ROCKET BALL LTD                       ROCKET MAIL LLC
ATTN: PROPERTY TAX DEPT.              HOUSTON ROCKETS                       4133 AVENIDA DE LA PLATA
PO BOX 289                            1510 POLK STREET                      OCEANSIDE, CA 92056
CONYERS, GA 30012                     HOUSTON, TX 77002




ROCKFIRM LLC                          ROCKFIRM LLC                          ROCKFORD REGISTER STAR
C/O ROBBINS PROPERTIES 1, LLC         C/O ROBBINS PROPERTIES 1, LLC         PO BOX 439
3100 W END AVE STE 1070               3100 WEST END AVE, SUITE 1070         ROCKFORD, IL 61105
NASHVILLE, TN 37203                   NASHVILLE, TN 37203




ROCKLAND ELECTRIC CO                  ROCKLAND ELECTRIC CO                  ROCKLIN CROSSINGS LP AND ROCKLIN
82 E ALLENDALE RD                     P.O. BOX 1009                         HOLDINGS LP, AS TENANTS IN COMMON
SADDLE RIVER, NJ 07458                SPRING VALLEY, NY 10977               C/O DONAHUE SCHRIBER REALTY GROUP,
                                                                            LP
                                                                            200 EAST BAKER STREET, SUITE 100
                                                                            COSTA MESA, CA 92626


ROCKS SAFE & LOCK SERVICE INC.        ROCKSTAR DEERBROOK LLC                ROCKSTEP CAPITAL CORPORATION
4327 PARIS AVE                        DEERBROOK GARDEN APARTMENTS LLC       ANGEL WILLIAMS
NEW ORLEANS, LA 70122                 1230 FM 1960 BYPASS RD E              1445 NORTH LOOP WEST, SUITE 625
                                      HUMBLE, TX 77338                      HOUSTON, TX 77008




ROCKSTEP CAPITAL CORPORATION          ROCKVALE OUTLET CENTER LP             ROCKVALE VEHICLES LLC
RACINE LEAHY                          35 S. WILLOWDALE DR STE 127           C/O WHARTON REALTY GROUP, INC.
1445 NORTH LOOP WEST, SUITE 625       LANCASTER, PA 17602                   8 INDUSTRIAL WAY EAST, 2ND FLOOR
HOUSTON, TX 77008                                                           EATONTOWN, NJ 07724




ROCKWALL CENTRAL APPRAISAL DISTRICT   ROCKWALL CROSSING, LTD.               ROCKWALL DUNHILL LLC
ATTN: PROPERTY TAX DEPT.              2100 WEST 7TH STREET                  C/O DUNHILL PARTNERS
841 JUSTIN ROAD                       FORT WORTH, TX 76107                  3100 MONTICELLO AVENUE, SUITE 300
ROCKWALL, TX 75087                                                          DALLAS, TX 75205




ROCKWALL DUNHILL LLC                  ROCKWALL DUNHILL LLC                  ROCKWALL VILLAGE S/C, LTD.
C/O DUNHILL PARTNERS                  PO BOX 204541                         ATTN: PROPERTY MANAGEMENT - RETAIL
3100 MONTICELLO AVENUE, SUITE 300     DALLAS, TX 75320                      16475 DALLAS PARKWAY, SUITE 800
DALLAS, TX 75240                                                            ADDISON, TX 75001




ROCKY MADKINS                         ROCKY MOUNTAIN DELIVERY SERVICE       ROCKY MOUNTAIN POWER
10201 S. MAIN STREET                  6301 N FEDERAL 3                      201 S MAIN ST, STE 2300
HOUSTON, TX 77025                     DENVER, CO 80221                      SALT LAKE CITY, UT 84111
ROCKY MOUNTAIN POWERCase   18-12241-CSS
                                     ROCKY Doc  26 Filed 10/05/18
                                           MTN POWER                PageROCKY
                                                                         1372MTN
                                                                              of 1739
                                                                                 POWER
P.O. BOX 26000                       201 S MAIN ST, STE 2300            P.O. BOX 400
PORTLAND, OR 97256-0001              SALT LAKE CITY, UT 84111           PORTLAND, OR 64121-0400




ROCKY TREVINO                        ROCKYNSON GARRAUD                  ROCSHEDA DEAN
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




ROD BRIDGERS                         ROD I ROBINSON                     ROD LETCHWORTH
10201 S. MAIN STREET                 DISTRICT MANAGER-BIRMINGHAM        10201 S. MAIN STREET
HOUSTON, TX 77025                    14881 N. 175TH DR.                 HOUSTON, TX 77025
                                     SURPRISE, AZ 85388




ROD NEWBROUGH                        ROD TAYLOR                         ROD TIGRETT
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




RODEL JOVEN                          RODERICK BARCLAY                   RODERICK BASS
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




RODERICK DAVENPORT                   RODERICK DENNIS                    RODERICK HATHAWAY
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




RODERICK HICKS                       RODERICK JOHNSON                   RODERICK KEITH
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




RODERICK LEWIS                       RODERRICK STACKENS                 RODGER CHANDLER
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025




RODGER SENTER JR                     RODGERICK TUTT                     RODNELL WILLIAMS
53 LAKE FRONT CIRCLE                 10201 S. MAIN STREET               10201 S. MAIN STREET
LYMAN, SC 29365                      HOUSTON, TX 77025                  HOUSTON, TX 77025




RODNEY ARBONA                        RODNEY BAKER                       RODNEY COLLETT
10201 S. MAIN STREET                 10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                  HOUSTON, TX 77025
RODNEY CRANK           Case 18-12241-CSS   Doc
                                      RODNEY    26 Filed 10/05/18
                                             CUMMINGS                      PageRODNEY
                                                                                1373 of 1739
                                                                                      DESSBERG-THOROUGHBRED
10201 S. MAIN STREET                  10201 S. MAIN STREET                     DEVELOPMENT
HOUSTON, TX 77025                     HOUSTON, TX 77025                        3935 N WASHINGTON BLVD
                                                                               SARASOTA, FL 34234




RODNEY E PERRY DBA SENIOR HAND LLC    RODNEY HENDERSON                         RODNEY HOLDEN
4018 BENT OAK DR                      10201 S. MAIN STREET                     10201 S. MAIN STREET
COLUMBIA, MO 65203                    HOUSTON, TX 77025                        HOUSTON, TX 77025




RODNEY J FOURNIER                     RODNEY KING                              RODNEY LEWIS
DBA NORTHERN LIGHTS ELECTRICAL LLC    10201 S. MAIN STREET                     10201 S. MAIN STREET
4 HANOVER FARMS RD                    HOUSTON, TX 77025                        HOUSTON, TX 77025
BOLTON, CT 06043




RODNEY LUTES                          RODNEY SCHROEDER                         RODNEY SIMMONS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




RODNEY SLONE                          RODNEY TAYLOR                            RODNEY WILLIAMS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




RODOLFO CAMPOS                        RODOLFO CASTILLO                         RODOLFO ESTRADA
1821 CHERRYHURST ST                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77006                     HOUSTON, TX 77025                        HOUSTON, TX 77025




RODOLFO L GAONA                       RODRA OLIVER                             RODRI CORPORATION
1409 MILLIE ST                        10201 S. MAIN STREET                     ATTN: JOSHUA GONZALEZ
ROSENBERG, TX 77471                   HOUSTON, TX 77025                        1143 W. FLAGLER STREET
                                                                               MIAMI, FL 33130




RODRICK MCGREW                        RODRICK TURNER                           RODRIGO ESCOBAR
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




RODRIGO GUTIERREZ                     RODRIGO PUCHOT ORTIZ IZQUIERDO           RODRIGUEZ, YOELKIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     115 SW 57 CT
HOUSTON, TX 77025                     HOUSTON, TX 77025                        MIAMI, FLORIDA 33144-6974




RODRIGUEZ, YOELKIS                    ROESER BUCHEIT & GRAHAM LLC              ROGAN MCKNIGHT
115 SW 57TH CT                        TWO N. RIVERSIDE PLAZA, SUITE 1850       10201 S. MAIN STREET
MIAMI, FLORIDA 33144-3421             ATTN: NICHOLAS GEROULIS                  HOUSTON, TX 77025
                                      CHICAGO, IL 60606
ROGELIO ASTORGA        Case 18-12241-CSS    Doc
                                      ROGELIO    26 Filed 10/05/18
                                              BENITES                PageROGELIO
                                                                          1374 ofGONZALEZ
                                                                                  1739
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROGELIO GUARDADO                       ROGELIO PRIETO                     ROGER ARRAND
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROGER BARTOSH                          ROGER BENOIT                       ROGER BERNIER
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROGER BITTER                           ROGER CRAIG WHITAKER               ROGER DALE LAWS JR
10201 S. MAIN STREET                   220 STEAMBOAT CROSSING             8704 METWRIE DR
HOUSTON, TX 77025                      DRIPPING SPRINGS, TX 78620         BATON ROUGE, LA 70810




ROGER EDMONDS                          ROGER ESQUIVEL                     ROGER FLYNN
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROGER FLYNN                            ROGER GREENE                       ROGER GULICK
10201 S. MAIN STREET                   10201 S. MAIN STREET               1073 RESOLUTION DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                  BETHLEHEM, PA 18017




ROGER KLUCHKI                          ROGER KLUCHKI                      ROGER MAGOWITZ
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROGER MARCUM                           ROGER MAYHEW                       ROGER MONTAGUE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




ROGER MORRIS                           ROGER PAUL                         ROGER PETERSON
10201 S. MAIN STREET                   10201 S. MAIN STREET               PO BOX 1374
HOUSTON, TX 77025                      HOUSTON, TX 77025                  CARMEL VALLEY, CA 93924




ROGER PITTS                            ROGER PLANK                        ROGER RICKS II
10201 S. MAIN STREET                   24484 CHAMOIS LN                   10201 S. MAIN STREET
HOUSTON, TX 77025                      CORONA, CA 92883                   HOUSTON, TX 77025
ROGER RICKS             Case 18-12241-CSS
                                       ROGER Doc 26 Filed 10/05/18
                                             SANDERS                     PageROGER
                                                                              1375 STANTON
                                                                                   of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




ROGER SWARTZ                           ROGER SWEENY                          ROGER THOMAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




ROGER VON KOECKERITZ                   ROGER WARD                            ROGER WELSH
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




ROGERS TOWERS P A                      ROGERS WATER UTILITIES                ROGUE DISPOSAL & RECYCLING INC.
1301 RIVERPLACE BLVD SUITE 1500        601 SOUTH 2ND ST                      ONE W MAIN ST, STE 401
JACKSONVILLE, FL 32207                 P.O. BOX 338                          MEDFORD, OR 97501
                                       ROGERS, AR 72757-0338




ROGUE DISPOSAL & RECYCLING INC.        ROHAN HUSSAIN                         ROHAN PRASAD ADENI
P.O. BOX 3187                          10201 S. MAIN STREET                  2710 CYPRESS WOODS LN
CENTRAL POINT, OR 97502-0007           HOUSTON, TX 77025                     MANVEL, TX 77578




ROHAN REID                             ROIC CALIFORNIA LLC                   ROIC OREGON, LLC
10201 S. MAIN STREET                   PO BOX 3953                           C/O RETAIL OPPORTUNITY INVESTMENTS
HOUSTON, TX 77025                      SEATTLE, WA 98124-3953                CORPORATION
                                                                             11250 EL CAMINO REAL, SUITE 200
                                                                             SAN DIEGO, CA 92130



ROIC OREGON, LLC                       ROIC OREGON, LLC                      ROIC OREGON, LLC
C/O RETAIL OPPORTUNITY INVESTMENTS     PO BOX 749814                         ROIC MS 631099
CORPORATION                            LOS ANGELES, CA 90074-9814            PO BOX 3953
15600 NE 8TH STREET, SUITE 100                                               SEATTLE, WA 98124-3953
BELLEVUE, WA 98008



ROIC WASHINGTON, LLC                   ROIC WASHINGTON, LLC                  ROIC WASHINGTON, LLC
15600 NE 8TH STREET, SUITE K-15        8905 TOWNE CENTER DR, SUITE 108       MS 631099
BELLEVUE, WA 98008                     SAN DIEGO, CA 92122                   PO BOX 3953
                                                                             SEATTLE, WA 98124-3953




ROJAI NORRIS                           ROJAS, MANUEL                         ROL COLLINS
10201 S. MAIN STREET                   2136 LAURA AVE                        10201 S. MAIN STREET
HOUSTON, TX 77025                      SAN LEANDRO, CA 94577-1214            HOUSTON, TX 77025




ROLAND DANDENEAU                       ROLAND FERNANDEZ                      ROLAND HALLIDAY
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025
ROLAND TROUTMAN        Case 18-12241-CSS   Doc
                                      ROLANDA   26
                                              LEWIS        Filed 10/05/18   PageROLANDO
                                                                                 1376 ofAMADOR
                                                                                         1739
10201 S. MAIN STREET                   1351 GREENS PKWY 155                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77067                        HOUSTON, TX 77025




ROLANDO MALTEZ                         ROLANDO SANTACRUZ                        ROLF VANN
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ROLLIE JONES                           ROLLINS INC                              ROLLINS LLC DBA ORKIN PEST CONTROL
10201 S. MAIN STREET                   PO BOX 638898                            12030 LAKELAND PARK BLVD STE 125
HOUSTON, TX 77025                      CINCINNATI, OH 45263                     BATON ROUGE, LA 70817




ROLLY MYLIUS                           ROMAN BACKSCHEIDER                       ROMAN HOYSAK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ROMAN ORTIZ                            ROMAN RODRIGUEZ                          ROMAN VILCHES
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ROMANO REAL ESTATE CORP.               ROMANOWSKI, MARCY                        ROME NEWS MEDIA
3900 E. VIA PALOMITA                   4927 24TH PL                             PO BOX 449
TUCSON, AZ 85718                       KENOSHA, WI 53144-1394                   MARIETTA, GA 30061




ROME PIZZA CORPORATION                 ROMELLA DANIELS                          ROMELLE ADAMS
ATTN: MEHDI SOLTANI                    2906 LAVENDER LN                         10201 S. MAIN STREET
2100 N. MAIN ST STE 112                KILLEEN, TX 76549                        HOUSTON, TX 77025
HIGH POINT, NC 27262




ROMELLO SIMMONS                        ROMEO SHAW                               ROMEO SORRELLS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ROMICKA MITCHELL                       ROMIE CAMPBELL                           ROMIE SISON
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




ROMMEL BAUTISTA                        ROMMEL LANDON                            RON BICE
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
RON BRADLEY            Case 18-12241-CSS    Doc 26
                                      RON CATLIN          Filed 10/05/18   PageRON
                                                                                1377 of 1739
                                                                                   CRUM
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




RON FOSTER                            RON FULLER                               RON HAMMAD
10201 S. MAIN STREET                  5802 S FAWN AVE                          10201 S. MAIN STREET
HOUSTON, TX 77025                     GILBERT, AZ 85298                        HOUSTON, TX 77025




RON HARLESS                           RON HORNE                                RON HYDE
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




RON KELSEY                            RON LEE                                  RON LOPEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




RON LOWE                              RON MCALHANEY                            RON MCILWAIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




RON MELLO                             RON PODZIUS                              RON S. GONZALES
10201 S. MAIN STREET                  10201 S. MAIN STREET                     PO BOX 2935
HOUSTON, TX 77025                     HOUSTON, TX 77025                        PISMO BEACH, CA 93448




RON SCHURHAMMER                       RON SEABROOKS                            RON SILENSKY
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




RON SMITH                             RON UPSHAW                               RON WAGONER
10201 S. MAIN STREET                  117 E LOUISA ST 523                      10201 S. MAIN STREET
HOUSTON, TX 77025                     SEATTLE, WA 98102                        HOUSTON, TX 77025




RON YARASHUS                          RON ZELTNER                              RONALD A ROBERTS ASSOCIATES INC
10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025




RONALD ALEXANDER                      RONALD ALVAREZ                           RONALD ARIDOU
10201 S. MAIN STREET                  1521 NE WAKEFIELD PL                     10201 S. MAIN STREET
HOUSTON, TX 77025                     BEND, OR 97701                           HOUSTON, TX 77025
RONALD BEASLEY         Case 18-12241-CSS
                                      RONALDDoc
                                             BELL26        Filed 10/05/18   PageRONALD
                                                                                 1378 of 1739
                                                                                       BOXER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RONALD CLARK                           RONALD CREMISIO                          RONALD D GESSER
10201 S. MAIN STREET                   10201 S. MAIN STREET                     8203 PADDINGTON PLACE DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77083




RONALD DAVIE                           RONALD DRACHENBERG                       RONALD FERGUSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




RONALD FISHER                          RONALD FOSTER                            RONALD GEORGE
10201 S. MAIN STREET                   7313 SEASCAPE DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                      ROWLETT, TX 75088                        HOUSTON, TX 77025




RONALD GOODMAN                         RONALD HATHCOAT                          RONALD HAYES
516 CROWELL RD                         6148 OBSIDIAN CREEK DR                   10201 S. MAIN STREET
COVINGTON, GA 30014                    FORT WORTH, TX 76179                     HOUSTON, TX 77025




RONALD HILL                            RONALD HINES                             RONALD JAMES MITTELSTAEDT
10201 S. MAIN STREET                   1314 AUTUMN OAKS DR                      81 N BAY BLVD
HOUSTON, TX 77025                      CHESAPEAKE, VA 23322                     THE WOODLANDS, TX 77380




RONALD JEWELL                          RONALD JONES                             RONALD K BICE JR
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




RONALD K COX                           RONALD MARTIN                            RONALD OLMSTED
DBA PROTECTIVE PEST CONTROL            10201 S. MAIN STREET                     10201 S. MAIN STREET
57 NEW SOUTH RD                        HOUSTON, TX 77025                        HOUSTON, TX 77025
HICKSVILLE, NY 11801




RONALD OWENS                           RONALD RISTAU                            RONALD ROBERTS
145 25TH AVE                           10201 S. MAIN STREET                     10201 S. MAIN STREET
SAN FRANCISCO, CA 94121                HOUSTON, TX 77025                        HOUSTON, TX 77025




RONALD SHURACK                         RONALD SIZEMORE                          RONALD STAHLY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
RONALD STIGLITZ        Case 18-12241-CSS
                                      RONALDDoc  26
                                             SUTTON      Filed 10/05/18      PageRONALD
                                                                                  1379 of 1739
                                                                                        TOWLE
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




RONALD VEGA                            RONALD WALKER                             RONALD WALTERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




RONALD WATSON JR.                      RONALD WHITE                              RONALD WRIGHT
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




RONALD WYONT                           RONARDI FREEHOLD ENTERPRISES, LLC         RONDA HARMON
10201 S. MAIN STREET                   NARDIE HOCHBERG MILLHURST MILLS INC       929 ST. PAUL
HOUSTON, TX 77025                      PO BOX 6219                               EXCELSIOR SPRINGS, MO 64024
                                       FREEHOLD, NJ 07728




RONEE PATTON                           RONNETTA SPENCER                          RONNEZ JACKSON
3206 44TH ST                           10201 S. MAIN STREET                      10201 S. MAIN STREET
LUBBOCK, TX 79413                      HOUSTON, TX 77025                         HOUSTON, TX 77025




RONNI MARAJ                            RONNIE BUSH                               RONNIE CRITZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




RONNIE DUKES                           RONNIE HATHCOAT                           RONNIE LEIFERT
10201 S. MAIN STREET                   2749 FRANKLIN DR APT 1913                 10201 S. MAIN STREET
HOUSTON, TX 77025                      MESQUITE, TX 75150                        HOUSTON, TX 77025




RONNIE PHELPS                          RONNIE PHILIP                             RONNIE SCHWENDT
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




RONNIE SMITH                           RONNIE VITULLI                            RONNIE WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




RONNIN EINHAUS                         RONRICO SANDERS                           RONTAAVIS ROSEBORO
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025
ROOFCONNECT              Case 18-12241-CSS    Doc
                                        ROOFING    26 Filed
                                                CONNECTIONS   10/05/18
                                                            SERVICES, INC. PageROOHI
                                                                                1380SAFI
                                                                                     of 1739
PO BOX 7908                               3882 CENTER LOOP                       10201 S. MAIN STREET
SHERIDAN, AR 72150                        ORLANDO, FL 32808                      HOUSTON, TX 77025




ROOKWOOD PROPERTIES                       ROOMS TO GO FURNITURE OF TEXAS, LP     ROOMS TO GO FURNITURE OF TEXAS, LP
8160 CORPORATE PARK DRIVE, SUITE 220      ATTN: JESSICA SMITH                    ATTN: JESSICA SMITH
CINCINNATI, OH 45242                      11540 US HIGHWAY 92 EAST               11540 US HIGHWAY 92 EAST
                                          SEFFNER, FL 33584                      SEFFNER, FL 33584-7346




ROOMS TO GO                               ROONEY RANCH LLC                       ROOPNARINE MOORLEEDHAR
ATTN: LEASE ADMINISTRATION                PO BOX 844279                          10201 S. MAIN STREET
11540 US HIGHWAY 92 EAST                  LOS ANGELES, CA 90084-4279             HOUSTON, TX 77025
SEFFNER, FL 33584-7346




ROOSEVELT FIELD                           ROOSEVELT GALLERIA, LLC                ROOSEVELT GALLERIA, LLC
PO BOX 772854                             C/O ACADIA REALTY TRUST                C/O ACADIA REALTY TRUST
CHICAGO, IL 60677-2854                    ATTN: LEGAL DEPARTMENT                 ATTN: PROPERTY MANAGEMENT
                                          411 THEODORE FREMD AVENUE, SUITE 300   639 W. DIVERSEY PARKWAY, SUITE 202
                                          RYE, NY 10580                          CHICAGO, IL 60614



ROOSEVELT GALLERIA, LLC                   ROOSEVELT GALLERIA, LLC                ROOSEVELT SQUARE LLLP
PROPERTY 0297                             PROPERTY 0297                          C/O DEWBERRY CAPITAL CORPORATION
PO BOX 415980                             PO BOX 415980                          ONE PEACHTREE POINTE
BOSTON, MA 02241                          BOSTON, MA 02241-5980                  1545 PEACHTREE STREET, SUITE 250
                                                                                 ATLANTA, GA 30309



ROOSEVELT SQUARE LLP                      ROOSEVELT SQUARE LLP                   ROOSEVELT SQUARE REGENCY, LLC
C/O DEWBERRY CAPITAL CORPORATION          C/O REGENCY CENTERS                    C/O REGENCY CENTERS CORPORATION
ONE PEACHTREE POINTE                      PO BOX 31001-0740                      ONE INDEPENDENT DRIVE, SUITE 114
1545 PEACHTREE STREET, SUITE 250          PASADENA, CA 91110-0740                JACKSONVILLE, FL 32202
ATLANTA, GA 30309



ROOSEVELT WILLIAMS                        ROPES & GRAY LLP                       ROPES & GRAY LLP
10201 S. MAIN STREET                      800 BOYLSTON ST PRUDENTIAL TOWER       MAIL CODE: 11104
HOUSTON, TX 77025                         BOSTON, MA 02199-3600                  PO BOX 11839
                                                                                 NEWARK, NJ 07101-8138




ROQUE E GALLO                             ROQUE GOYZUETA                         RORA WILLIS
2934 RISING SUN RD                        10201 S. MAIN STREET                   3091 E ANDERSON DR
KATY, TX 77449                            HOUSTON, TX 77025                      LITHIA SPRINGS, GA 30122




RORY MCAFFEE                              RORY MICHAEL WALSH                     RORY SNYDER
10201 S. MAIN STREET                      944 32ND AVE.                          10201 S. MAIN STREET
HOUSTON, TX 77025                         SANTA CRUZ, CA 95062                   HOUSTON, TX 77025




ROSA ALVARADO                             ROSA ANDRADE                           ROSA MARTIN
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025
ROSA OCASIO            Case 18-12241-CSS    Doc 26
                                      ROSA PEREZ        Filed 10/05/18    PageROSA
                                                                               1381VIRGEN
                                                                                     of 1739
                                                                                          SANTIAGO
2165 N MOODY AVE                      10201 S. MAIN STREET                     10201 S. MAIN STREET
CHICAGO, IL 60639                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ROSALIA BAUER                         ROSALIA RUIZ                             ROSALIE M STA ANA
10201 S. MAIN STREET                  10201 S. MAIN STREET                     5115 AUCKLAND DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                        SUGAR LAND, TX 77498




ROSALIND HORNER                       ROSALINDA C ANDRADE                      ROSANNA RUIZ
10201 S. MAIN STREET                                                           10201 S. MAIN STREET
HOUSTON, TX 77025                                                              HOUSTON, TX 77025




ROSARIO GLORIOSO                      ROSARIO MACALUSO                         ROSAURA MARTINEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ROSE CITY PROPERTY MANAGEMENT, INC.   ROSE FILS-AIME                           ROSE FUGER
P.O. BOX 167                          10201 S. MAIN STREET                     10201 S. MAIN STREET
BULLARD, TX 75757                     HOUSTON, TX 77025                        HOUSTON, TX 77025




ROSE JASON                            ROSE LAW GROUP                           ROSE LY
10201 S. MAIN STREET                  7144 STETSON DR STE 300                  10201 S. MAIN STREET
HOUSTON, TX 77025                     SCOTTSDALE, AZ 85251                     HOUSTON, TX 77025




ROSE MANOR ASSISTED LIVING            ROSE MARIE ALIER DBA MB EXPRESS TRANS    ROSE MARTINEZ
1610 N BRYAN ST                       1300 DEERHOUND PL                        C/O LAW OFFICES OF JEAN SCHAEFER
SHAWNEE, OK 74804                     ROUND ROCK, TX 78664                     ATTN: JEAN SCHAEFER
                                                                               1333 HOWE AVE. 110
                                                                               SACRAMENTO, CA 95825



ROSE MUTALE                           ROSE REALTY COMPANY OF HACKENSACK        ROSE REALTY OF HACKENSACK, INC.
10201 S. MAIN STREET                  INC                                      26 KNIGHTS COURT
HOUSTON, TX 77025                     ATTN: RICHARD NASANO                     UPPER SADDLE RIVER, NJ 07458
                                      26 KNIGHTS COURT
                                      UPPER SADDLE RIVER, NJ 07458



ROSE SORENSON                         ROSE WANG                                ROSE, JARED
10201 S. MAIN STREET                  10201 S. MAIN STREET                     795 W NASSAU WAY
HOUSTON, TX 77025                     HOUSTON, TX 77025                        ENGLEWOOD, CO 80110-4538




ROSEANN CASAZZA                       ROSECRANS PLAZA KIFFMAN LLC              ROSECRANS PLAZA KIFFMANN LLC
10201 S. MAIN STREET                  C/O PACIFIC COAST COMMERCIAL             C/O PACIFIC COAST COMMERCIAL
HOUSTON, TX 77025                     6050 SANTO ROAD, SUITE 200               6050 SANTO ROAD, SUITE 200
                                      SAN DIEGO, CA 92124                      SAN DIEGO, CA 92124
                      Case
ROSECRANS PLAZA KIFFMANN  LLC18-12241-CSS     Doc
                                       ROSELINA     26 Filed
                                                 PURYEAR       10/05/18    PageROSELYN
                                                                                1382 ofREDUBLO
                                                                                        1739
C/O PACIFIC COAST COMMERCIAL           10201 S. MAIN STREET                    5393 COCHRAN ST APT 4
PO BOX 420950                          HOUSTON, TX 77025                       SIMI VALLEY, CA 93063
SAN DIEGO, CA 92142




ROSEMARY ANGELI                       ROSEN SURFWOOD, LLC                      ROSEN SURFWOOD, LLC
10201 S. MAIN STREET                  ATTN: JONATHAN ROSEN, MANAGER            C/O LENOX HILL STATION
HOUSTON, TX 77025                     40 EAST 69TH STREET                      P.O. BOX 334
                                      NEW YORK, NY 10021                       NEW YORK, NY 10021




ROSEN SURFWOOD, LLC                   ROSEN SURFWOOD, LLC                      ROSEN/BEDFORD LIMITED PARTNERSHIP
C/O ROSEN GROUP PROPERTIES            KAREN E. GIORDANO                        2665 S. BAYSHORE DR STE 605B
7860 GLADES ROAD, SUITE 220           7860 GLADES ROAD 220                     MIAMI, FL 33133
ATTN: JOSEPH E. MAGUIRE               BOAC RATON, FL 33434
BOCA RATON, FL 33434



ROSENBERG FAMILY FUND                 ROSENFELD, BERNICE                       ROSENSTEIN DEVELOPMENT, LLC
1187 COAST VILLAGE RD STE 641         468 DALGREEN PL                          343 WALLER AVE, SUITE 100
SANTA BARBARA, CA 93108               HENDERSON, NV 89012-4525                 LEXINGTON, KY 40504




ROSENTHAL PROPERTIES, LLC             ROSENTHAL PROPERTIES, LLC                ROSETTA BELL
ATTN: COLLEEN MOSES                   ATTN: CRAIG HOLLIN                       10201 S. MAIN STREET
1945 OLD GALLOWS ROAD, SUITE 300      1945 OLD GALLOWS ROAD, SUITE 300         HOUSTON, TX 77025
VIENNA, VA 22182                      VIENNA, VA 22182




ROSETTA BELL                          ROSEVILLE FALSE ALARM                    ROSEVILLE FARP
10201 S. MAIN STREET                  P.O. BOX 749879                          PO BOX 749879
HOUSTON, TX 77025                     LOS ANGELES, CA 90074-9879               LOS ANGELES, CA 90074




ROSEVILLE GOLFLAND LTD                ROSEVILLE RETAIL SHOPPES LLC             ROSEVILLE SHOPPING CENTER LLC
DBA GOLFLAND / SUNSPALSH              MID-AMERICA RE-MN                        PNC FILE 910782
1893 TAYLOR RD                        5353 WAYZATA BLVD STE 650                PO BOX 31001 0782
ROSEVILLE, CA 95661                   MINNEAPOLIS, MN 55416                    PASADENA, CA 91110-0782




ROSEWD GP LLC AS NOMINEE              ROSEWICK CROSSING STATION LLC            ROSEWOOD MANAGEMENT CORPORATION
ATTN: PROPERTY MANAGER                33137 COLLECTION CENTER DR               2101 CEDAR SPRINGS RD STE 1600
2101 CEDAR SPRINGS RD STE 1600        CHICAGO, IL 60693-0331                   DALLAS, TX 75201
DALLAS, TX 75201




ROSEWOOD PROPERTIES INC.              ROSEWOOD PROPERTIES INC.                 ROSIE C VILLALPANDO
530 ALEXANDER AVENUE                  C/O KAPLIN STEWART MELOFF REITER &       6236 RYERSON CIRCLE 5
DREXEL HILL, PA 19026                 STEIN P.C.                               WESLEY CHAPEL, FL 33544
                                      ATTN: BARBARA ANISKO
                                      910 HARVEST DRIVE
                                      BLUE BELL, PA 19422-0765


ROSIE JACKSON                         ROSIE ZUNIGA                             ROSINA SPADEA
10201 S. MAIN STREET                  10201 S. MAIN STREET                     102 BROOKRIDGE DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HARRISONVILLE, MO 64701
ROSLYN ARNOLD         Case   18-12241-CSS
                                       ROSLYNDoc  26 Filed 10/05/18
                                              FUCELLO                       PageROSLYN
                                                                                 1383 of 1739
                                                                                       WATER DISTRICT
6583 SANTA CRUZ PLACE                  10201 S. MAIN STREET                      24 WEST SHORE ROAD
REYNOLDSBURG, OH 43068                 HOUSTON, TX 77025                         ROSLYN, NY 11576




ROSS ANDERSON                          ROSS GINTER                               ROSS GINTER
1124 NW 50TH ST                        10201 S. MAIN STREET                      10201 S. MAIN STREET
SEATTLE, WA 98107                      HOUSTON, TX 77025                         HOUSTON, TX 77025




ROSS LEVIN                             ROSS LEVIN                                ROSS RICHMOND
C/O R SQUARED DEVELOPMENT              PROPERTY MANAGER                          10201 S. MAIN STREET
3430 SELWYN AVE                        3430 SELWYN AVE                           HOUSTON, TX 77025
CHARLOTTE, NC 28209                    CHARLOTTE, NC 28209




ROSS TIMMONS                           ROSS TOWNSHIP FINANCE & TAX OFFICE        ROSS TOWNSHIP
222 EVANDALE RD                        1000 ROSS MUNICIPAL RD                    C/O JORDAN TAX SERVICE INC
CANONSBURG, PA 15317                   PITTSBURGH, PA 15237                      102 RAHWAY RD
                                                                                 MCMURRAY, PA 15317




ROSS TOWNSHIP                          ROSS VILLAR                               ROSS VINE
JORDAN TAX SERV 102 RAHWAY RD          10201 S. MAIN STREET                      10201 S. MAIN STREET
MCMURRAY, PA 15317                     HOUSTON, TX 77025                         HOUSTON, TX 77025




ROSS WHEELER                           ROSWELL PROPERTIES INC                    ROSWELL ROAD ASOCIATES LLC
10201 S. MAIN STREET                   C/O ACKERMAN & CO                         100 CUMMINGS CENTER STE 329J
HOUSTON, TX 77025                      10 GLENLAKE PKWY STE 1000                 BEVERLY, MA 01915
                                       ATLANTA, GA 30328




ROSWELL ROAD ASOCIATES LLC             ROSWELL ROAD ASSOCIATES, LLC              ROSWELL ROAD ASSOCIATES, LLC
C/O 3D REAL ESTATE MGMT                100 CUMMINGS CENTER STE 329J              C/O 3D REAL ESTATE MGMT
4564 EAST 71ST ST                      BEVERLY, MA 01915                         4564 EAST 71ST ST
CLEVELAND, OH 44105                                                              CLEVELAND, OH 44105




ROSWELL ROAD ASSOCIATES, LLC           ROSWELL URGENT CARE CENTER                ROSY SULEMAN
C/O ACKERMAN & CO                      BILLING DEPT                              5320 N. 16TH STREET, SUITE 212
10 GLENLAKE PARKWAY, SUITE 1000        PO BOX 15216                              PHOENIX, AZ 85016
ATLANTA, GA 30328                      LOVES PARK, IL 61132-5216




ROTH STAFFING COMPANIES LP             ROTH STAFFING COMPANIES LP                ROTHANN GOERLACH
DBA LEDGENT FINANCE & ACCOUNTING       DBA LEDGENT FINANCE & ACCOUNTING          10201 S. MAIN STREET
450 N STATE COLLEGE BLVD               PO BOX 60003                              HOUSTON, TX 77025
ORANGE, CA 92868                       ANAHEIM, CA 92812




ROTHBART DEVELOPMENT CORP.             ROU WIJEWARDANE                           ROUND LAKE COMMONS LLC
TANYA KOSHESIAN, ASSET MANAGER         10201 S. MAIN STREET                      C/O MID-AMERICA ASSET MANAGEMENT,
10990 WILSHIRE BOULEVARD, 1000         HOUSTON, TX 77025                         INC.
LOS ANGELES, CA 90024                                                            ONE PARKVIEW PLAZA 9TH FLOOR
                                                                                 OAKBROOK TERRACE, IL 60181
ROUND LAKE COMMONS LLCCase 18-12241-CSS
                                     ROUND Doc
                                            ROCK26     Filed 10/05/18
                                                 TAX OFFICE               PageROUNDHOUSE
                                                                               1384 of 1739
                                                                                         ALEXANDRIA INC
C/O MID-AMERICA ASSET MANAGEMENT,    FORREST C. CHILDS JR TAX A/C              DBA CPYR INC
INC.                                 1311 ROUND ROUND AVENUE                   PO BOX 79798
ONE PARKVIEW PLAZA, 9TH FLOOR        ROUND ROCK, TX 78681                      BALTIMORE, MD 21279-0798
OAKBROOK TERRACE, IL 60181



ROUSH LAW GROUP                       ROUTE 20 COLOR TILE, LLC                 ROUTE 20 COLOR TILE, LLC
3902 HENDERSON BLVD STE 201           41 CROSSROADS PLAZA STE 125              ATTN: DAN ROSOW
TAMPA, FL 33629                       WEST HARTFORD, CT 06117                  1131 TOLLAND TURNPIKE, SUITE 260
                                                                               MANCHESTER, CT 06042




ROUTE 352 MANAGEMENT PARTNERS LLC     ROUTE 352 MANAGEMENT PARTNERS LLC        ROUTE 40 LIMITED PARTNERSHIP
1000 SOUTH OYSTER BAY RD              1000 SOUTH OYSTER BAY ROAD               15942 SHADY GROVE RD
HICKSVILLE, NY 11801                  HICKSVILLE, NY 11801                     GAITHERSBURG, MD 20877




ROUTE 40 LLC                          ROUTE 6 & 209, LLC                       ROVE PEST CONTROL
15942 SHADY GROVE ROAD                C/O METRO COMMERCIAL MGMT SERVICES,      10709 MOCKINGBIRD DR
GAITHERSBURG, MD 20877                INC.                                     OMAHA, NE 68127
                                      307 FELLOWSHIP ROAD, SUITE 300
                                      MT. LAUREL, NJ 08054



ROVE PEST CONTROL                     ROWAN COUNTY                             ROWAN RIEHM
P.O. BOX 451111                       TAX ADMINISTRATION                       10201 S. MAIN STREET
OMAHA, NE 68145                       P O BOX 900048                           HOUSTON, TX 77025
                                      RALEIGH, NC 27675-9048




ROWAN SUMMIT, LLC                     ROWAN                                    ROWDY SKINNER
C/O THE HUTTON COMPANY                ATTN: PROPERTY TAX DEPT.                 DBA HUSKER WINDOW CLEANER
736 CHERRY STREET                     P O BOX 900048                           PO BOX 460745
CHATTANOOGA, TN 37402                 RALEIGH, NC 27675-9048                   PAPILLION, NE 68046




ROWEN PETROLEUM PROPERTIES            ROWETTA ROBERSON                         ROWETTA ROBERSON
PO BOX 3125                           10201 S. MAIN STREET                     10201 S. MAIN STREET
ANN ARBOR, MI 48106-3125              HOUSTON, TX 77025                        HOUSTON, TX 77025




ROXANN VALDEZ                         ROXANNE DAMATO                           ROXANNE HARRIS
6924 NORMAN RD                        1036 MAGNOLIA RD                         315 JONES AVE
NORTH LITTLE ROCK, AR 72118           VINELAND, NJ 08360                       BLOOMFIELD, IA 52537




ROXANNE HOHENKIRK                     ROXANNE MANAGEMENT CORP.                 ROXANNE MORENO
10201 S. MAIN STREET                  ILENE COSME, ACCOUNTING                  10201 S. MAIN STREET
HOUSTON, TX 77025                     7110 REPUBLIC AIRPORT, 3RD FLOOR         HOUSTON, TX 77025
                                      FARMINGDALE, NY 11735




ROXANNE SOMMERVILLE                   ROXANNE WILLOCK                          ROXBURY PARTNERS TEMPE, LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET                     P.O. BOX 6650
HOUSTON, TX 77025                     HOUSTON, TX 77025                        BEVERLY HILLS, CA 90212-6650
                       Case 18-12241-CSS
ROXBURY TWP TAX COLLECTOR                    Doc 26 Filed
                                      ROY ALZUBI              10/05/18   PageROY
                                                                              1385  of 1739
                                                                                 ARISTOTLE
TOWNSHIP OF ROXBURY TAX DEPT          10201 S. MAIN STREET                   10201 S. MAIN STREET
PO BOX 4543                           HOUSTON, TX 77025                      HOUSTON, TX 77025
LANCASTER, PA 17604-4543




ROY ASADI                            ROY BROCKS                              ROY CASEY
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ROY CHAVEZ                           ROY GABBARD                             ROY HARRIS
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ROY IRWIN                            ROY JARVIS                              ROY JOHNSON
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ROY LUNA                             ROY MCELROY                             ROY MENDOZA
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ROY MILLER                           ROY MURO                                ROY ONEAL
10201 S. MAIN STREET                 8054 OLIVIA LN                          10201 S. MAIN STREET
HOUSTON, TX 77025                    HANOVER PARK, IL 60133                  HOUSTON, TX 77025




ROY OSTEEN                           ROY PEARMAN                             ROY ROCKENBACH
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




ROY ROJO                             ROY SCARBOROUGH                         ROY SIMS
10201 S. MAIN STREET                 10201 S. MAIN STREET                    DBA BIRD XPRESS
HOUSTON, TX 77025                    HOUSTON, TX 77025                       2197 S EUECKER
                                                                             LEWISVILLE, TX 75067




ROY SMITH                            ROY STROM                               ROY TOOMER
10201 S. MAIN STREET                 REFUSE REMOVAL SERVICE INC              10201 S. MAIN STREET
HOUSTON, TX 77025                    P.O. BOX 428                            HOUSTON, TX 77025
                                     MAYWOOD, IL 60153




ROY TRUJILLO ROMAN                   ROY VANN                                ROYAL BUSINESS SYSTEMS INC
10201 S. MAIN STREET                 10201 S. MAIN STREET                    1515 E HOUSTON
HOUSTON, TX 77025                    HOUSTON, TX 77025                       SPOKANE, WA 99217
ROYAL CAVACO             Case 18-12241-CSS    Doc 26 SHOPPING
                                        ROYAL CROSSING Filed 10/05/18
                                                              CENTER            PageROYAL
                                                                                     1386PEDIC
                                                                                          of 1739
                                                                                               MATTRESS MFG
94-1042 HOHOLA ST                        C/O WESTWOOD FINANCIAL CORP                 341 N ROBERTSON BLVD
WAIPAHU, HI 96797                        11440 SAN VICENTE BLVD STE 200              BEVERLY HILLS, CA 90211
                                         LOS ANGELES, CA 90049




ROYAL ROOFING INC                        ROYAL SQUARE LLC                            ROYAL SQUARE LLC
PO BOX 248                               10 MEMORIAL BLVD STE 901                    C/O THE WILDER COMPANIES, LTD
MONTICELLO, MN 55362                     PROVIDENCE, RI 02903                        800 BOYLSTON ST STE 1300
                                                                                     BOSTON, MA 02199




ROYAL SQUARE LLC                         ROYCE MOSLEY                                ROYCE WILLIAMS
C/O THE WILDER COMPANIES, LTD            10201 S. MAIN STREET                        10201 S. MAIN STREET
800 BOYLSTON STREET, SUITE 1300          HOUSTON, TX 77025                           HOUSTON, TX 77025
BOSTON, MA 02199




ROYSHEENA HENRY                          ROZA TEWOLDE                                ROZELL WEATHINGTON
10201 S. MAIN STREET                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                           HOUSTON, TX 77025




RP NOTE LLC                              RP REALTY PARTNERS, LLC                     RP WURSTER LLC
211 E WATER ST STE 201                   ATTN: GABRIEL NASH                          8463 CASTLEWOOD DR
KALAMAZOO, MI 49007                      1801 S. LA CIENAGA BOULEVARD, SUITE 301     INDIANAPOLIS, IN 46250
                                         LOS ANGELES, CA 90035




RP WURSTER LLC                           RPAI CEDAR PARK TOWN CENTER LLC             RPAI CHICAGO BRICKYARD, LLC
CLARKSVILLE DYNASTY LLC                  C/O RPAI US MANAGEMENT, LLC                 C/O RPAI HOLDCO MANAGEMENT, LLC
PO BOX 712494                            ATTN: PRESIDENT/PROPERTY MANAGEMENT         ATTN: VICE PRESIDENT/COLLECTIONS
CINCINNATI, OH 45271-2494                2021 SPRING ROAD, SUITE 200                 2021 SPRING ROAD, SUITE 200
                                         OAK BROOK, IL 60523                         OAK BROOK, IL 60523



RPAI CHICAGO BRICKYARD, LLC              RPAI COLLEGE STATION GATEWAY III, L.L.C.    RPAI COLLEGE STATION GATEWAY III, L.L.C.
C/O RPAI US MANAGEMENT, LLC              C/O RETAIL PROPERTIES OF AMERICA, INC.      C/O RETAIL PROPERTIES OF AMERICA, INC.
ATTN: PRESIDENT/PROPERTY MANAGEMENT      2021 SPRING ROAD, SUITE 200                 ATTN: PRESIDENT - WESTERN DIVISION
2021 SPRING ROAD, SUITE 200              ATTN: PRESIDENT - WESTERN DIVISION          2021 SPRING ROAD, SUITE 200
OAK BROOK, IL 60523                      OAK BROOK, IL 60523                         OAK BROOK, IL 60523



RPAI FRISCO PKWY LTD PARTNERSHIP         RPAI FRISCO PKWY LTD PARTNERSHIP            RPAI GALVESTON GALVEZ LP
15105 COLLECTION CTR DR                  2901 BUTTERFIELD RD                         C/O RETAIL PROPERTIES OF AMERICA, INC.
CHICAGO, IL 60693                        OAK BROOK, IL 60523                         ATTN: PRESIDENT - WESTERN DIVISION
                                                                                     2021 SPRING ROAD, SUITE 200
                                                                                     OAK BROOK, IL 60523



RPAI GALVESTON GALVEZ LP                 RPAI GRAPEVINE LIMITED PARTNERSHIP          RPAI GRAPEVINE LIMITED PARTNERSHIP
C/O RPAI SOUTHWEST MANAGEMENT LLC        C/O RETAIL PROPERTIES OF AMERICA            C/O RPAI SOUTHWEST MANAGEMENT LLC
ATTN: SVP/DIRECTOR OF NATIONAL RETAIL    ATTN: PRESIDENT - WESTERN DIVISION          ATTN: SVP/DIRECTOR OF NATIONAL RETAIL
2021 SPRING ROAD, SUITE 200              2021 SPRING ROAD, SUITE 200                 2021 SPRING ROAD, SUITE 200
OAK BROOK, IL 60523                      OAK BROOK, IL 60523                         OAK BROOK, IL 60523



RPAI HOLDCO MANAGEMENT LLC               RPAI ISSAQUAH HERITAGE, LLC                 RPAI ISSAQUAH HERITAGE, LLC
ATTN: VICE PRESIDENT OF COLLECTIONS      C/O RETAIL PROPERTIES OF AMERICA, INC.      C/O RPAI US MANAGEMENT, LLC
2021 SPRING ROAD, SUITE 200              ATTN: PRESIDENT - WESTERN DIVISION          ATTN: SVP/DIRECTOR OF NATIONAL RETAIL
OAK BROOK, IL 60523                      2021 SPRING ROAD, SUITE 200                 2021 SPRING ROAD, SUITE 200
                                         OAK BROOK, IL 60523                         OAK BROOK, IL 60523
RPAI LAKE WORTH TOWNECase    18-12241-CSS
                        CROSSING LP           Doc
                                       RPAI LAKE   26 TOWNE
                                                 WORTH   Filed CROSSING
                                                                10/05/18LP   PageRPAI
                                                                                  1387SANof 1739 HUEBNER OAKS GP LLC
                                                                                          ANTONIO
C/O RETAIL PROPERTIES OF AMERICA       C/O RPAI SOUTHWEST MANAGEMENT LLC          C/O RPAI SOUTHWEST MANAGEMENT, LLC
2021 SPRING ROAD, SUITE 200            2021 SPRING ROAD, SUITE 200                ATTN: PRESIDENT WESTERN DIVISION
OAK BROOK, IL 60523                    OAK BROOK, IL 60523                        2021 SPRING ROAD, SUITE 200
                                                                                  OAK BROOK, IL 60523



RPAI SAN ANTONIO HUEBNER OAKS LP        RPAI SAN ANTONIO LIMITED PARTNERSHIP      RPAI SAN ANTONIO LIMITED PARTNERSHIP
C/O RPAI SOUTHWEST MANAGEMENT, LLC      C/O RETAIL PROPERTIES OF AMERICA, INC.    C/O RPAI SOUTHWEST MANAGEMENT LLC
ATTN: PRESIDENT WESTERN DIVISION        ATTN: SVP/DIRECTOR OF LEASING             ATTN: PRESIDENT/PROPERTY MANAGEMENT
2021 SPRING ROAD, SUITE 200             2021 SPRING ROAD, SUITE 200               2021 SPRING ROAD, SUITE 200
OAK BROOK, IL 60523                     OAK BROOK, IL 60523                       OAK BROOK, IL 60523



RPAI SOUTHWEST MANAGEMENT LLC           RPAI SOUTHWEST MANAGEMENT LLC             RPAI SOUTHWEST MANAGEMENT LLC
15105 COLLECTION CENTER DR              1560 E. SOUTHLAKE BLVD. SUITE 100         2021 SPRING RD STE 200
CHICAGO, IL 60693                       SOUTHLAKE, TX 76092                       OAK BROOK, IL 60523




RPAI SOUTHWEST MANAGEMENT LLC           RPAI SOUTHWEST MANAGEMENT LLC             RPAI SOUTHWEST MANAGEMENT LLC
2901 BUTTERFIELD RD                     ATTN: BRUCE SPENCER                       ATTN: BRUCE SPENCER
OAK BROOK, IL 60523                     12500 SAN PEDRO, SUITE 575                2021 SPRING ROAD, SUITE 200
                                        SAN ANTONIO, TX 78249                     OAK BROOK, IL 60523




RPAI SOUTHWEST MANAGEMENT LLC           RPAI SOUTHWEST MANAGEMENT LLC             RPAI SOUTHWEST MANAGEMENT LLC
ATTN: JUSTIN ROCHE                      ATTN: LORI LOSINSKI                       C/O RPAI US MANAGEMENT, LLC
2901 BUTTERFIELD ROAD                   2021 SPRING ROAD, SUITE 200               2021 SPRING ROAD, SUITE 200
OAK BROOK, IL 60523                     OAK BROOK, IL 60523                       OAK BROOK, IL 60523




RPAI SOUTHWEST MANAGEMENT LLC           RPAI SOUTHWEST MANAGEMENT LLC             RPAI SOUTHWEST MGMT LLC
KAREN CLARK                             RANDY LIPPIES                             C/O RPAI US MANAGEMENT, LLC
11200 WESTHEIMER ROAD, SUITE 830        2021 SPRING ROAD, SUITE 200               2021 SPRING ROAD, SUITE 200
HOUSTON, TX 77042                       OAK BROOK, IL 60523                       OAK BROOK, IL 60523




RPAI TAMPA WALTERS, L.L.C.              RPAI US MANAGEMENT LLC                    RPAI US MANAGEMENT LLC
C/O RPAI US MANAGEMENT, LLC             13068 COLLECTION CENTER DR                13068 COLLECTIONS CENTER DR
2021 SPRING ROAD, SUITE 200             CHICAGO, IL 60693                         CHICAGO, IL 60693
OAK BROOK, IL 60523




RPAI US MANAGEMENT LLC                  RPAI US MANAGEMENT LLC                    RPAI US MANAGEMENT LLC
2021 SPRING ROAD, SUITE 200             2901 BUTTERFIELD RD                       62636 COLLECTION CENTER DR
OAK BROOK, IL 60523                     OAK BROOK, IL 60523                       CHICAGO, IL 60693




RPAI US MANAGEMENT LLC                  RPAI US MANAGEMENT LLC                    RPAI US MANAGEMENT LLC
LEASE 4326 TENANT 204015                LEASE 5398 TENANT 204014                  LOCK BOX 774500
13068 COLLECTION CTR DR                 13068 COLLECTION CTR DR                   4500 SOLUTIONS CENTER DR
CHICAGO, IL 60693                       CHICAGO, IL 60693                         CHICAGO, IL 60677-4005




RPAI US MANAGEMENT, LLC                 RPAI US MANAGEMENT, LLC                   RPAI US MANAGEMENT, LLC
13068 COLLECTION CENTER DR              2021 SPRING ROAD, SUITE 200               2901 BUTTERFIELD RD
CHICAGO, IL 60693                       OAK BROOK, IL 60523                       OAK BROOK, IL 60523
                      Case
RPAI US MANAGEMENT, LLC         18-12241-CSS
                                          RPAI USDoc 26 Filed
                                                  MANAGEMENT, LLC10/05/18        PageRPAI
                                                                                      1388US of 1739
                                                                                             MANAGEMENT, LLC
62636 COLLECTION CENTER DR                 ATTN: PRESIDENT OF PROPERTY                C/O RETAIL PROPERTIES OF AMERICA, INC.
CHICAGO, IL 60693                          MANAGEMENT                                 ATTN: VP - LEASING
                                           2021 SPRING ROAD, SUITE 200                2021 SPRING ROAD, SUITE 200
                                           OAK BROOK, IL 60523                        OAK BROOK, IL 60523



RPAI US MANAGEMENT, LLC                    RPAI US MANAGEMENT, LLC                    RPAI US MANAGEMENT, LLC
LEASE 4326 TENANT 204015                   LEASE 5398 TENANT 204014                   LOCK BOX 774500
13068 COLLECTION CTR DR                    13068 COLLECTION CTR DR                    4500 SOLUTIONS CENTER DR
CHICAGO, IL 60693                          CHICAGO, IL 60693                          CHICAGO, IL 60677-4005




RPI MANAGEMENT COMPANY                     RPI NEWINGTON REALTY LLC                   RPI NEWINGTON REALTY LLC
ATTN: TOMMY FRIEDLANDER                    ATTN: EDWARD P BELL                        C/O RIVERSIDE PROPERTIES, INC.
5333 GULFTON                               27 MICA LN STE 201                         27 MICA LANE, SUITE 201
HOUSTON, TX 77081                          WELLESLEY, MA 02481                        WELLESLEY, MA 02481




RR DONNELLEY RECEIVABLES INC               RR DONNELLEY                               RR MARKETPLACE LP
14100 LEAR BLVD SUITE 130                  PO BOX 932721                              32748 COLLECTION CENTER DR
RENO, NV 89506                             CLEVELAND, OH 44193                        CHICAGO, IL 60693-0327




RRE SUNNYSIDE HOLDINGS LLC                 RRE SUNNYSIDE HOLDINGS LLC                 RRE SUNNYSIDE HOLDINGS LLC
C/O PODOLSKY CIRCLE LLC                    ONE CRESCENT DR STE 203                    ONE CRESCENT DRIVE, SUITE 203
1700 W HIGGINS RD STE 280                  PHILADELPHIA, PA 19112                     PHILADELPHIA, PA 19112
DES PLAINES, IL 60018




RREEF ALTERNATIVE INVESTMENTS              RREEF AMERICA REIT II CORP FF              RREEF AMERICA REIT II CORP J
3414 PEACHTREE ROAD, NE SUITE 950          PO BOX 6250                                PO BOX 209266
ATLANTA, GA 30326                          HICKSVILLE, NY 11802-6250                  AUSTIN, TX 78720-9266




RREEF COLLIN CREEK SHOPPING CTR LP         RREEF CORE PLUS INDUSTRIAL REIT LLC        RREEF CPIF WEST VALLEY 212 LLC
75 REMITTANCE DRIVE STE 6106               222 S RIVERSIDE PLAZA 26TH FLOOR           PO BOX 209238
CHICAGO, IL 60675-6106                     CHICAGO, IL 60606                          AUSTIN, TX 78720-9238




RREEF                                      RRR OHIO LLC                               RRR OHIO LLC
200 CRESCENT COURT, SUITE 560              C/O BEK DEVELOPERS LLC                     C/O BEK DEVELOPERS LLC
DALLAS, TX 75201                           2000 AUBURN DR STE 440                     3900 PARK EAST DRIVE, SUITE 200
                                           BEACHWOOD, OH 44122                        BEACHWOOD, OH 44122




RRWRD                                      RS SHOPPING CENTER ASSOCIATES LLP          RSGA PROPERTIES, LLC
PO BOX 6207                                2800 QUARRY LAKES DR STE 340               ATTN: ROSALIND SPECTOR
ROCKFORD, IL 61125-1207                    BALTIMORE, MD 21209                        434 LANGLEY OAKS DRIVE
                                                                                      MARIETTA, GA 30067




RSGA PROPERTIES, LLC                       RSHERMAN ENTERPRISES LLC                   RSL ASSOCIATES INC.
ATTN: ROSALIND SPECTOR                     20133 SE 206TH ST                          PO BOX 27154
PO BOX 681821                              MAPLE VALLEY, WA 98038                     GREENSVILLE, SC 29616
MARIETTA, GA 30068
RSM PROPERTIES, INC. Case    18-12241-CSS      Doc 26
                                       RT. 28 TRUST       Filed 10/05/18      PageRTA
                                                                                   1389  of 1739
                                                                                      PRODUCTS LLC
C/O TOYOTA OF GLENDORA                  ATTN: COREY GARABEDIAN                     2500 SW 32ND AVE
ATTN: PETE MILLER                       & PAUL GARABEDIAN JR.                      PEMBROKE PARK, FL 33023
1949 AUTO CENTRE DR                     352C S. BROADWAY
GLENDORA, CA 91740                      SALEM, NH 03079



RTE 6 & 209 LLC                         RTE 6 & 209 LLC                            RTG FURNITURE CORP OF GEORGIA
MILFORD LANDING SHOPPING CENTER         303 FELLOWSHIP RD STE 202                  11540 HWY 92 E
C/O METRO COMMERCIAL                    MOUNT LAUREL, NJ 08054                     SEFFNER, FL 33584
307 FELLOWSHIP RD STE 300
MOUNT LAUREL, NJ 08054



RTG FURNITURE CORP OF GEORGIA           RTG FURNITURE CORP OF GEORGIA              RTG FURNITURE CORP
ATTN: RENT DEPT                         ROOMS TO GO                                11540 US HIGHWAY 92 EAST
PO BOX 2107                             11540 HWY 92 E                             SEFFNER, FL 33584
SEFFNER, FL 33583                       SEFFNER, FL 33584




RTG FURNITURE CORP                      RTG FURNITURE CORP. OF GEORGIA             RTG FURNITURE CORP. OF GEORGIA
ATTN: RENT DEPT                         11540 HWY 92 E                             ATTN: JEFFREY H. FINKEL, SR. V.P.
PO BOX 2107                             SEFFNER, FL 33584                          400 PERIMETER CENTER TERRACE, SUITE
SEFFNER, FL 33583                                                                  800
                                                                                   ATLANTA, GA 30346



RTG FURNITURE CORP. OF GEORGIA          RTG FURNITURE CORP. OF GEORGIA             RTG FURNITURE CORP. OF GEORGIA
ATTN: RENT DEPT                         C/O SEAMAN DEVELOPMENT CORP.               ROOMS TO GO
PO BOX 2107                             400 PERIMETER CENTER TERRACE, SUITE        11540 HWY 92 E
SEFFNER, FL 33583                       800                                        SEFFNER, FL 33584
                                        ATLANTA, GA 30346



RTG FURNITURE OF TEXAS, LP              RTG PROPERTY MANAGEMENT                    RTG PROPERTY MANAGEMENT
ATTN: LEWIS STEIN                       ATTN: CAMILLE BONE                         ATTN: ERIC KITTELSON
11540 US HIGHWAY 92 EAST                808 SW ALDER STREET, SUITE 200             808 SW ALDER STREET, SUITE 200
SEFFNER, FL 33584                       PORTLAND, OR 97205                         PORTLAND, OR 97205




RTMAAC WATER                            RTNW-TV                                    RTS INVESTORS, LLC
2012 KRAMER RD                          5059 COLLECTIONS CENTER DR                 ATTN: KEN ORNDORFF
GIBSONIA, PA 15044-9632                 CHICAGO, IL 60693                          10815 SIKES PLACE, SUITE 300
                                                                                   CHARLOTTE, NC 28277




RTSA                                    RUBBER CITY RADIO GROUP INC                RUBEN BAEZA
4019 DICKEY RD                          1795 W MARKET ST                           10201 S. MAIN STREET
GIBSONIA, PA 15044-0126                 AKRON, OH 44313                            HOUSTON, TX 77025




RUBEN BARELA                            RUBEN COLIMAN OBREQUE                      RUBEN ESTRADA
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




RUBEN FONSECA                           RUBEN GODDARD                              RUBEN MELLO
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025
RUBEN MONTIJO          Case 18-12241-CSS
                                      RUBEN Doc
                                            PEREZ26      Filed 10/05/18    PageRUBEN
                                                                                1390SANCHEZ
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




RUBEN TEXEIRA                          RUBEN/HORAN, P.C.                       RUBENSTEIN REAL ESTATE CO., LC
10201 S. MAIN STREET                   ATTN: MAURA H. HORAN, ESQ.              6310 LAMAR, SUITE 220
HOUSTON, TX 77025                      249 PEARL STREET, 3RD FLOOR             OVERLAND PARK, KS 66202
                                       HARTFORD, CT 06103




RUBI DE LA VIRGEN                      RUBICON REPRESENTATION LLC              RUBIN GOLD
106 ALPINE ST                          3333 LEE PKWY STE 400                   10201 S. MAIN STREET
OXNARD, CA 93030                       DALLAS, TX 75219                        HOUSTON, TX 77025




RUBY GARZA                             RUBY GRAYSON-SPROLES                    RUBY MALVEAUX
10201 S. MAIN STREET                   10201 S. MAIN STREET                    1113 BARABARA ST 10
HOUSTON, TX 77025                      HOUSTON, TX 77025                       REDONDO BEACH, CA 90277




RUBY PHAM                              RUCKMANS TRUCK & AUTO CARE CENTER       RUDABA JAVAID
10201 S. MAIN STREET                   5510 INDUSTRIAL RD                      10201 S. MAIN STREET
HOUSTON, TX 77025                      FORT WAYNE, IN 46825                    HOUSTON, TX 77025




RUDD SEELEY WALLIS, LLC                RUDNICKI PLLC                           RUDOLF WOELFL
3100 WEST END AVENUE, SUITE 930        DBA THE RUDNICKI FIRM                   DBA WOELFL FAMILY TRUST
NASHVILLE, TN 37203                    6305 WATERFORD BLVD STE 325             14205 SE 36TH ST STE 215
                                       OKLAHOMA CITY, OK 73118                 BELLEVUE, WA 98006




RUDY AGUILAR                           RUDY ANCHETA                            RUDY AYALA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




RUDY CEPEDA                            RUDY COCA                               RUDY DE LA ROSA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




RUDY DEGI                              RUDY DI EMIDIO                          RUDY PENA
10201 S. MAIN STREET                   10201 S. MAIN STREET                    420 N BRIGHTON ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                       BURBANK, CA 91506




RUDY SILVA                             RUDY VILLEGAS                           RUFFIN PROPERTIES LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                    HOLLY KASTNER
HOUSTON, TX 77025                      HOUSTON, TX 77025                       P.O. BOX 17087
                                                                               WICHITA, KS 67209
RUFFIN PROPERTIES LLC   Case 18-12241-CSS
                                       RUFFIN Doc 26 Filed
                                              PROPERTIES LLC 10/05/18   PageRUFUS
                                                                             1391HARDEN
                                                                                  of 1739
JON CYPHERT                             PHILLIP G RUFFIN                    10201 S. MAIN STREET
P.O. BOX 17087                          P.O. BOX 17087                      HOUSTON, TX 77025
WICHITA, KS 67209                       WICHITA, KS 67217




RULA YASIN                              RUMERY, LLC                         RUMERY, LLC
10201 S. MAIN STREET                    ATTN: DAVID MCCLEES                 C/O BIBEAU & CO ATTN BELINDA FRYE
HOUSTON, TX 77025                       299 PRESUMPSCOT STREET              340 FORE ST
                                        PORTLAND, ME 04102                  PORTLAND, ME 04101




RUMPAIPAN HALEY                         RUMPKE                              RUMPKE
2850 OAK RD APT 1303                    10795 HUGHES RD                     P.O. BOX 538710
PEARLAND, TX 77584                      CINCINNATI, OH 45251                CINCINNATI, OH 45253




RUMSEY ELECTRIC COMPANY                 RUNITZ BATO                         RUNNING HILL SP LLC
PO BOX 824429                           10201 S. MAIN STREET                C/O NEW ENGLAND DEVELOPMENT
PHILADELPHIA, PA 19182-4429             HOUSTON, TX 77025                   75 PARK PLAZA
                                                                            BOSTON, MA 02116




RUNZHEIMER INTERNATIONAL LTD            RUONA MUGHELLI                      RUPPRECHT, HOWARD
26858 NETWORK PL                        10201 S. MAIN STREET                132 MANOR WAY APT E
CHICAGO, IL 60673-1268                  HOUSTON, TX 77025                   LOUISVILLE, TN 37777-5446




RUSH, BRITTANY                          RUSHMORE PROPERTIES, LLC            RUSS HAYNES
3741 CHESTNUT RIDGE LANE                212 W. KINZIE, 6TH FLOOR            10201 S. MAIN STREET
BIRMINGHAM, AL 35216-4863               CHICAGO, IL 60610                   HOUSTON, TX 77025




RUSS MCLELLAN                           RUSS WILLIAMS                       RUSS ZWEIG
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




RUSSEL HEPNER                           RUSSEL K HEPNER JR                  RUSSEL MARIDON & BRIAN MARIDON
10201 S. MAIN STREET                    10201 S. MAIN STREET                118 UNION STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   SANTA CRUZ, CA 95060




RUSSELL BRANDON                         RUSSELL CLARY                       RUSSELL DIAMOND
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




RUSSELL DIAMOND                         RUSSELL E RENDFREY                  RUSSELL FELTON
10201 S. MAIN STREET                    111 DEWEY ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                       RICHFORD, VT 05476                  HOUSTON, TX 77025
RUSSELL FRERICHS       Case 18-12241-CSS   Doc
                                      RUSSELL    26 Filed 10/05/18
                                              GOODSON                PageRUSSELL
                                                                          1392 ofGROVE
                                                                                  1739
10201 S. MAIN STREET                     10201 S. MAIN STREET            10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025               HOUSTON, TX 77025




RUSSELL M DOE REVOCABLE TRUST            RUSSELL MAHUSKY                 RUSSELL MARKETING RESEARCH IN
165 HIGH SIERRA DR                       10201 S. MAIN STREET            ONE MEADOWLANDS PLAZA SUITE 1001
EXETER, CA 93221                         HOUSTON, TX 77025               EAST RUTHERFORD, NJ 07073




RUSSELL REYNOLDS ASSOCIATES INC          RUSSELL SCHOONOVER              RUSSELL SOLOMON
CHURCH STREET STATION                    10201 S. MAIN STREET            10201 S. MAIN STREET
PO BOX 6427                              HOUSTON, TX 77025               HOUSTON, TX 77025
NEW YORK, NY 10249-6427




RUSSELL STALDER                          RUSSELL THOMPSON                RUSSELL THOMPSON
808 BONITA ST                            10201 S. MAIN STREET            10201 S. MAIN STREET
MONROVIA, CA 91016                       HOUSTON, TX 77025               HOUSTON, TX 77025




RUSSIAN BAZAAR                           RUSTIC DECOR, LLC               RUSTIN CAVEL
8518 17TH AVE                            P.O. BOX 4280                   10201 S. MAIN STREET
BROOKLYN, NY 11214                       PALESTINE, TX 75802             HOUSTON, TX 77025




RUSTIQUE INC                             RUSTY BRILEY                    RUSTY HAMON
114 RAILSIDE RD                          10201 S. MAIN STREET            10201 S. MAIN STREET
TORONTO, ON M3A 1A3                      HOUSTON, TX 77025               HOUSTON, TX 77025
CANADA




RUSTY HANSEN                             RUSTY JACOBSON                  RUTAN REFRIGERATION/ MORNINGSTAR
10201 S. MAIN STREET                     10201 S. MAIN STREET            APPLIANCE
HOUSTON, TX 77025                        HOUSTON, TX 77025               3148 OIHANA ST 14
                                                                         LIHUE, HI 96766




RUTH I. STANTION, TRUSTEE OF THE         RUTH JEWETT                     RUTH KAIFER
RUTH I. STANTON REVOCABLE LIVING TRUST   10201 S. MAIN STREET            10201 S. MAIN STREET
DATED SEPTEMBER 5, 1990                  HOUSTON, TX 77025               HOUSTON, TX 77025
30300 NE CANTER LANE
SHERWOOD, OR 97140



RUTH MAYS                                RUTH MCNEIL                     RUTH STEPHENS
10201 S. MAIN STREET                     10201 S. MAIN STREET            5403 KEYSTONE DR N
HOUSTON, TX 77025                        HOUSTON, TX 77025               JACKSONVILLE, FL 32207




RUTH WILSON                              RUTHERFORD CO. TRUSTEE          RUTHERFORD COUNTY - COUNTY CLERK
10201 S. MAIN STREET                     TAX COLLECTOR                   319 N MAPLE ST SUITE 121
HOUSTON, TX 77025                        PO BOX 1316                     MURFREESBORO, TN 37130
                                         MURFREESBORO, TN 37133
RUTHERFORD              Case   18-12241-CSS    Doc
                                         RUTLAND CITY26     Filed 10/05/18   PageRUTLEDGE
                                                                                  1393 of ASHEVILLE
                                                                                          1739 PARTNERS, LLC
ATTN: PROPERTY TAX DEPT.                  ATTN: PROPERTY TAX DEPT.               C/O WEST THIRD ST MGMT LLC
319 N MAPLE ST SUITE 121                  CITY HALL PO BOX 969                   8315 BEVERLY BLVD STE 100
MURFREESBORO, TN 37130                    RUTLAND, VT 05702-0969                 LOS ANGELES, CA 90048




RUYIN XUE                                 RV APARTMENTS LLC                      RV APARTMENTS LLC
10201 S. MAIN STREET                      2455 DUNSTAN RD                        5847 SAN FELIPE STE 3600
HOUSTON, TX 77025                         HOUSTON, TX 77005                      HOUSTON, TX 77057




RVC DELIVERY INC                          RVT HAMILTON COMMONS, LLC              RVT HAMILTON COMMONS, LLC
5528 W BETH DR                            C/O DDR CORP.                          C/O DDR CORP.
LAVEEN, AZ 85339                          ATTN: EXECUTIVE VICE PRESIDENT -       ATTN: GENERAL COUNSEL
                                          LEASING                                3300 ENTERPRISE PARKWAY
                                          3300 ENTERPRISE PARKWAY                BEACHWOOD, OH 44122
                                          BEACHWOOD, OH 44122


RVT HAMILTON COMMONS, LLC                 RVT HOMESTEAD PAVILION, LLC            RVT HOMESTEAD PAVILION, LLC
DEPT 345579 60618 73927                   C/O DDR CORP.                          C/O DDR CORP.
PO BOX 9183404                            ATTN: EXECUTIVE VICE PRESIDENT -       ATTN: GENERAL COUNSEL
CHICAGO, IL 60691-3404                    LEASING                                3300 ENTERPRISE PARKWAY
                                          3300 ENTERPRISE PARKWAY                BEACHWOOD, OH 44122
                                          BEACHWOOD, OH 44122


RVT HOMESTEAD PAVILION, LLC               RVT KYLE CROSSING LLC                  RVT KYLE CROSSING LLC
DEPT 390552 60106 74418                   ATTN: EXECUTIVE VICE PRESIDENT -       ATTN: GENERAL COUNSEL
PO BOX 9183418                            LEASING                                3300 ENTERPRISE PARKWAY
CHICAGO, IL 60691-3418                    3300 ENTERPRISE PARKWAY                BEACHWOOD, OH 44122
                                          BEACHWOOD, OH 44122



RVT KYLE CROSSING LLC                     RVT KYLE CROSSING LLC                  RVT LAKE WALDEN SQUARE LLC
DEPT 348849 61064 74941                   DEPT 355475 61064 74917                DEPT 379741 21410 62568
PO BOX 9183404                            PO BOX 9183404                         PO BOX 9183418
CHICAGO, IL 60691-3404                    CHICAGO, IL 60691-3404                 CHICAGO, IL 60691-3418




RVT SILVER SPRING SQUARE LLC              RVT WRANGLEBORO CONSUMER SQUARE        RVT WRANGLEBORO CONSUMER SQUARE
DEPT 366967 21445 61670                   LLC                                    LLC
PO BOX 9183404                            C/O DDR CORP.                          C/O DDR CORP.
CHICAGO, IL 60691-3404                    ATTN: EXECUTIVE VICE PRESIDENT -       ATTN: GENERAL COUNSEL
                                          LEASING                                3300 ENTERPRISE PARKWAY
                                          3300 ENTERPRISE PARKWAY                BEACHWOOD, OH 44122
                                          BEACHWOOD, OH 44122

RVT WRANGLEBORO CONSUMER SQUARE           RVUE, INC                              RW WG FAYETTEVILLE, LLC
LLC                                       100 NE 3RD AVENUE, SUITE 200           ATTN: BRYAN LEVY
DEPT 352621 60612 74879                   FT LAUDERDALE, FL 33301                1547 PALOS VERDES MALL, 312
PO BOX 9183418                                                                   WALNUT CREEK, CA 94597
CHICAGO, IL 60691-3418



RWC IDEALEASE                             RYAN BAILEY                            RYAN BARBER
600 N 75TH AVE                            10201 S. MAIN STREET                   10201 S. MAIN STREET
PHOENIX, AZ 85043                         HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN BARRY                                RYAN BATTELLI                          RYAN BECKMANN
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025
RYAN BENKO             Case 18-12241-CSS    Doc 26
                                      RYAN BENNETT      Filed 10/05/18   PageRYAN
                                                                              1394BIRKBECK
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN BOWMAN                           RYAN BROWN                             RYAN BROWNE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN CAMERON                          RYAN CAMPBELL                          RYAN CARON
10201 S. MAIN STREET                  161 JOHN ROBERTS RD                    10201 S. MAIN STREET
HOUSTON, TX 77025                     SOUTH PORTLAND, ME 04106               HOUSTON, TX 77025




RYAN CASTANO                          RYAN CHANG                             RYAN CHAPMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN CHEESEMAN                        RYAN COMPANIES US, INC.                RYAN CORCORAN
10201 S. MAIN STREET                  111 SHUMAN BOULEVARD, SUITE 400        10201 S. MAIN STREET
HOUSTON, TX 77025                     NAPERVILLE, IL 60563                   HOUSTON, TX 77025




RYAN COUNARD                          RYAN COUTURE                           RYAN CRAIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN CYZ                              RYAN DARBY                             RYAN DAUGHHEFEE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   1800 SW PINECREEK COURT
HOUSTON, TX 77025                     HOUSTON, TX 77025                      BLUE SPRINGS, MO 64015




RYAN DAVIS                            RYAN DAVIS                             RYAN DENTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN EATHORNE                         RYAN ELSON                             RYAN ESSIG
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN FAHAN                            RYAN FELDER                            RYAN FLICK
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
RYAN FLOOD             Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                      RYAN FOUNTAINE                PageRYAN
                                                                         1395FRANCIS
                                                                               of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




RYAN GANT                             RYAN GARDNER                      RYAN GARRY
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




RYAN GATELY                           RYAN GENTILE                      RYAN GEORGE
414 PARK DR                           10201 S. MAIN STREET              10201 S. MAIN STREET
NORMAN, OK 73069                      HOUSTON, TX 77025                 HOUSTON, TX 77025




RYAN GLOVER                           RYAN GOHIR                        RYAN GORDON
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




RYAN GREEN                            RYAN HAMEL                        RYAN HAMPTON
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




RYAN HAN                              RYAN HANLEY                       RYAN HOGG
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




RYAN HOLMAN                           RYAN HOVERMAN                     RYAN HUNDEMER
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




RYAN IRELAND                          RYAN KESTELOOT                    RYAN KING
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




RYAN KITCHEN                          RYAN KNOCK                        RYAN KRIEBEL
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




RYAN LANCASTER                        RYAN LEARY                        RYAN LECITONA
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025
RYAN LEWANDOWSKI        Case 18-12241-CSS    Doc 26
                                       RYAN LINHART      Filed 10/05/18   PageRYAN
                                                                               1396LISTOL
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN LLC                               RYAN LOVE                              RYAN LUECKE
PO BOX 848351                          10201 S. MAIN STREET                   10201 S. MAIN STREET
DALLAS, TX 75284-8351                  HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN LUPO                              RYAN M NOON                            RYAN MACK
10201 S. MAIN STREET                   37 INDIANA AVE                         10201 S. MAIN STREET
HOUSTON, TX 77025                      QUEENSBURY, NY 12804                   HOUSTON, TX 77025




RYAN MARSHALL                          RYAN MARTIN                            RYAN MAURICI
10201 S. MAIN STREET                   10201 S. MAIN STREET                   4406 FAYETTE DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                      LUTZ, FL 33559




RYAN MCALLISTER                        RYAN MCDANIEL                          RYAN MCDONALD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN MCKELVEY                          RYAN MELTON                            RYAN MERRELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   645 BLUE RIDGE OVERLOOK
HOUSTON, TX 77025                      HOUSTON, TX 77025                      DAWSONVILLE, GA 30534




RYAN MEYER                             RYAN MINER                             RYAN MOORE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN MOSLEY                            RYAN MOTT                              RYAN MURPHY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN MUTSCH                            RYAN NASH                              RYAN NETZEL
10201 S. MAIN STREET                   232 LIONHART PLACE                     10201 S. MAIN STREET
HOUSTON, TX 77025                      ROCKWALL, TX 75032                     HOUSTON, TX 77025




RYAN NEUBAUER                          RYAN NIXON                             RYAN NOON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
RYAN OAKES             Case 18-12241-CSS    Doc 26
                                      RYAN OLSON        Filed 10/05/18   PageRYAN
                                                                              1397OMLID
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN ONEILL                           RYAN ORN                               RYAN OSHALL
10201 S. MAIN STREET                  10201 S. MAIN STREET                   503 S MOUNTAIN RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                      BOSTIC, NC 28018




RYAN OSTROWER                         RYAN PEREZ                             RYAN PERKINS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN PERRY                            RYAN POMPA                             RYAN POPOVICH
242 KUUPUA STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
KAILUA, HI 96734                      HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN POWELL                           RYAN PROPERTIES INC                    RYAN QUALLE
10201 S. MAIN STREET                  RYAN COMPANIES US INC                  10201 S. MAIN STREET
HOUSTON, TX 77025                     62844 COLLECTIONS CNTR DR              HOUSTON, TX 77025
                                      CHICAGO, IL 60693-0628




RYAN RAMSEY                           RYAN RAYMETZ                           RYAN REDDEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN RODENBECK                        RYAN RODENBECK                         RYAN ROGERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN ROMERO                           RYAN RUSS                              RYAN RUSSELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




RYAN SCHULER                          RYAN SEE                               RYAN SERVICING LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET                   2200 ATLANTIC ST 5TH FLOOR
HOUSTON, TX 77025                     HOUSTON, TX 77025                      STAMFORD, CT 06902




RYAN SEXAUER                          RYAN SIMMONS                           RYAN SLEEPER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
RYAN SMITH             Case 18-12241-CSS    Doc 26
                                      RYAN SOSEBEE      Filed 10/05/18    PageRYAN
                                                                               1398SPENCE
                                                                                     of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RYAN SPURLIN                          RYAN STELTER                            RYAN STOUGH
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RYAN STUCKEY                          RYAN ULBRICH                            RYAN VACCA
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RYAN VALDEZ                           RYAN VALIENTE                           RYAN VAN DYKE
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RYAN VAN REGENMORTER                  RYAN VANDERLAAN                         RYAN VILLEGAS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RYAN VINSON                           RYAN VINSON                             RYAN WADE
86 SOUTH BARDSBROOK CIR               C/O FOLEY & LARDNER LLP                 10201 S. MAIN STREET
THE WOODLANDS, TX 77382               ATTN: ALEXANDER C. CHAE                 HOUSTON, TX 77025
                                      1000 LOUISIANA STREET, SUITE 2000
                                      HOUSTON, TX 77002



RYAN WAEGE                            RYAN WARDLOW                            RYAN WEST
10201 S. MAIN STREET                                                          10201 S. MAIN STREET
HOUSTON, TX 77025                                                             HOUSTON, TX 77025




RYAN WHITE                            RYAN WHITWORTH                          RYAN WILLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RYAN WILLIAMS                         RYAN YARTER                             RYAN YOUNG
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




RYANN LILJESTRAND                     RYANNE FOTHERINGHAM                     RYDER TRANSPORTATION SERVICES
10201 S. MAIN STREET                  8341 W ALEEN AVE                        LOCKBOX FILE 056347
HOUSTON, TX 77025                     MAGNA, UT 84044                         LOS ANGELES, CA 90074-6347
RYDER TRANSPORTATIONCase  18-12241-CSS
                    SERVICES        RYDER Doc   26 FiledSERVICES
                                          TRANSPORTATION   10/05/18      PageRYDER
                                                                              1399TRUCK
                                                                                   of 1739
                                                                                        RENTAL INC
P.O. BOX 96723                      PO BOX 402366                             RYDER TRANSPORTATION SERVICES
CHICAGO, IL 60693                   ATLANTA, GA 30384-2366                    11690 NW 105TH ST
                                                                              MIAMI, FL 33178-1103




RYEN RAPP                            RYLEY CARLOCK & APPLEWHITE A             RYN STEPHENS
10201 S. MAIN STREET                 PROFESSIONAL CORP                        1404 ENTRADA WAY
HOUSTON, TX 77025                    ONE NORTH CENTRAL AVE STE 1200           MODESTO, CA 95350
                                     PHOENIX, AZ 85004




RYNELL DENNIS                        RYZEX                                    S & H UNIFORM CORPORATION
10201 S. MAIN STREET                 PO BOX 94467 DEPT 100                    1 AQUEDUCT ROAD
HOUSTON, TX 77025                    SEATLE, WA 98124-6767                    WHITE PLAINS, NY 10606




S & J DELIVERY SERVICE INC           S & J GAMMON LLC                         S & P INVESTMENT PROPERTIES LLC
PO BOX 731                           C/O THE DIAMOND CNTR ATTN HOLLY YEKO     1822 QUEENS RD WEST
ALPHARETTA, GA 30009-0731            3515 MILTON AVE STE 110                  CHARLOTTE, NC 28207
                                     JANESVILLE, WI 53545




S & R SNYDER LLC                     S & R SNYDER LLC                         S & S INDUSTRIAL MAINTENACE SUPPY INC
10061 RIO SAN DIEGO 289              7469 HAZARD CENTER DR                    MAIN ST PO BOX 69
SAN DIEGO, CA 92108                  SAN DIEGO, CA 92108                      MARLTON, NJ 08053




S & Y PARTNERSHIP LLC                S AND V, LLC                             S WALTER PACKAGING CORPORATION
P.O. BOX 39005                       C/O CHARTER PROPERTIES                   PO BOX 787421
SAN ANTONIO, TX 78218                DBA STANFORTH HOLDING COMPANY LLC        PHILADELPHIA, PA 19178-7421
                                     4080 GRAFTON ST STE 200
                                     DUBLIN, CA 94568



S&J DELIVERY SERVICES INC.           S&R SNYDER LLC                           S&R SNYDER LLC
2020 LEXINGTON LN.                   7469 HAZARD CENTER                       ATTN: JIM GALLAUGHER
CUMMING, GA 30040                    ATTN: JIM GALLAUGHER                     7469 HAZARD CENTER
                                     SAN DIEGO, CA 92108                      SAN DIEGO, CA 92108




S&S SPRINKLER CO LLC                 S&S SPRINKLER CO LLC                     S. CLARK BUTLER PROPERTIES LTD
2485 BURDEN LANE                     PO BOX 7453                              2306 SW 13TH STREET
MOBILE, AL 36617                     MOBILE, AL 36670                         GAINESVILLE, FL 32608




S. LEAF                              S.A. COMUNALE CO INC                     S.C. TRUCKING LLC
10201 S. MAIN STREET                 2900 NEWPARK DR                          311 S ELM ST
HOUSTON, TX 77025                    PO BOX 150                               CREEDMOOR, NC 27522
                                     BARBERTON, OH 44203




S.J. CARLSON FIRE PROTECTION INC     S.L. NUSBAUM REALTY CO. RENT06109        S.L. NUSBAUM REALTY CO.
4544 SHEPHERD TRAIL                  1700 WELLS FARGO CENTER                  1700 WELLS FARGO CENTER
ROCKFORD, IL 61103                   440 MONTICELLO AVE                       440 MONTICELLO AVENUE, SUITE 1700
                                     NORFOLK, VA 23510                        NORFOLK, VA 23510
S.L. NUSBAUM REALTY CO.Case 18-12241-CSS     Doc 26
                                      S.L. NUSBAUM      Filed
                                                    REALTY CO.    10/05/18   PageS.L.
                                                                                  1400   of 1739
                                                                                      NUSBAUM REALTY CO.
1700 WELLS FARGO CENTER               P.O. BOX 2491                               P.O. BOX 3580
440 MONTICELLO AVENUE, SUITE 1700     NORFOLK, VA 23501                           NORFOLK, VA 23514
NORFOLK, VA 23514




S.L. NUSBAUM REALTY CO.                 S.L. NUSBAUM REALTY CO.                   S.L. NUSBAUM REALTY CO.
P.O. DRAWER 3580                        PO BOX 3580                               V
NORFOLK, VA 23514                       NORFOLK, VA 23514                         NORFOLK, VA 23514




S.W. BAJUS, LTD.                        S2 STONEBRIDGE ASSOCIATES LLC             S2 STONEBRIDGE ASSOCIATES LLC
STEPHEN W. BAJUS                        6842 ELM ST STE 202                       C/O STEWART COMMERCIAL MANAGEMENT
595 EAST LANCASTER AVENUE, SUITE 303    MCLEAN, VA 22101                          LLC
ST. DAVIDS, PA 19087                                                              ATTN: GEORGE W. STEWART, IV
                                                                                  6842 ELM ST STE 202
                                                                                  MCLEAN, VA 22101


S2 STONEBRIDGE ASSOCIATES LLC           S2K GRAPHICS INC                          S2K GRAPHICS INC
C/O STEWART COMMERICAL MGMT LLC         6841 PAYSPHERE CIRCLE                     9255 DEERING AVE
ATTN: GEORGE W. STEWART, IV             CHICAGO, IL 60674                         CHATSWORTH, CA 91311
6842 ELM ST STE 202
MCLEAN, VA 22101



S6 NATIONAL LLC                         SA GALLERIA IV LP                         SAA LOGISTICS INC
ATTN: DAVID MALANGA                     DBA HOUSTON GALLERIA IV                   134 METCALF LN
1185 SIXTH AVENUE, 10TH FLOOR           1481 PAYSHPERE CIRCLE                     TAZEWELL, TN 37879
NEW YORK, NY 10036                      CHICAGO, IL 60674




SAA LOGISTICS LLC                       SAAD BUTT                                 SAAD SIDDIQUI
2525 TILLER LN STE 103                  10201 S. MAIN STREET                      10201 S. MAIN STREET
COLUMBUS, OH 43035                      HOUSTON, TX 77025                         HOUSTON, TX 77025




SABA SOFTWARE INC                       SABIEL SALCE                              SABIN VIZITIU
DEPT 33412                              10201 S. MAIN STREET                      10201 S. MAIN STREET
PO BOX 39000                            HOUSTON, TX 77025                         HOUSTON, TX 77025
SAN FRANCISCO, CA 94139-3412




SABRI GLLAREVA                          SABRINA ABDELWAHAB                        SABRINA BRANCO
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




SABRINA CORTINAS                        SABRINA DUNCAN                            SABRINA HOHNSTEIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                      1452 CAMINITO SEPTIMO
HOUSTON, TX 77025                       HOUSTON, TX 77025                         CARDIFF BY THE SEA, CA 92007




SABRINA OUSMAN                          SABRINA PEREZ                             SABRINA SLOAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                      2988 NE PINNACLE PLACE
HOUSTON, TX 77025                       HOUSTON, TX 77025                         BEND, OR 97701
SABRINA VALENTA        Case 18-12241-CSS    Doc 26 LLCFiled 10/05/18
                                      SAC HENDERSON                           PageSAC
                                                                                   1401
                                                                                      VALof 1739
                                                                                         DISPOSAL
10201 S. MAIN STREET                     ATTN: STEVEN CALVILLO                     2421 DEL MONTE SDT
HOUSTON, TX 77025                        149 PALOS VERDES, SUITE D                 WEST SACRAMENTO, CA 95691
                                         REDONDO BEACH, CA 90277




SAC VAL DISPOSAL                         SACRAMENTO CEO GROUP                      SACRAMENTO COUNTY SHERIFFS DEPT
P.O. BOX 541065                          2207 PLAZA DR STE 200                     ALARM ORDINANCE BUREAU
LOS ANGELES, CA 90054-1065               ROCKLIN, CA 95765                         PO BOX 988
                                                                                   SACRAMENTO, CA 95812-0988




SACRAMENTO COUNTY                        SACRAMENTO COUNTY                         SACRAMENTO HOME & GARDEN SHOW
ATTN: PROPERTY TAX DEPT.                 UNSECURED TAX UNIT                        50 FULLERTON COURT SUITE 106
PO BOX 508                               PO BOX 508                                SACRAMENTO, CA 95825
SACRAMENTO, CA 95812-0508                SACRAMENTO, CA 95812-0508




SACRAMENTO KINGS LP                      SACRAMENTO METRO FIRE                     SADA SYSTEMS INC
PO BOX 1857                              P.O. BOX 269110                           ATTN: ACCOUNTING
SACRAMENTO, CA 95812                     SACRAMENTO, CA 95826-9110                 5250 LANKERSHEIM BLVD STE 620
                                                                                   NORTH HOLLYWOOD, CA 91601




SADANIEL LEE                             SADDAM SILVERIO                           SADDLEBACK COMMUNICATIONS
10201 S. MAIN STREET                     10201 S. MAIN STREET                      P.O. BOX 171230
HOUSTON, TX 77025                        HOUSTON, TX 77025                         SAN ANTONIO, TX 78217-8230




SADDLEBACK                               SADDLEBACK                                SADIE F NADLER
10190 E MCKELLIPS RD                     P.O. BOX 171230                           2008 PATAPSCO DR
SCOTTSDALE, AZ 85256                     SAN ANTONIO, TX 78217-8230                APEX, NC 27523




SADIE JONES                              SADIE WEICHERS                            SADIE YOUNG M ED
6 COACH COURT                            2201 EAGLE RAY COURT                      136 DALLAS DRIVE
SAVANNAH, GA 31419                       SALT LAKE CITY, UT 84121                  SHARPSBURG, GA 30277




SADIYO OMAR                              SAEED HAMDANI                             SAFA NATOUR
10201 S. MAIN STREET                     10201 S. MAIN STREET                      300 NE 12TH AVE APT 708
HOUSTON, TX 77025                        HOUSTON, TX 77025                         MIAMI, FL 33009




SAFCO CAPITAL CORP                       SAFE & SECURE SECURITY SYSTEMS LLC        SAFECO CAPITAL CORP
1850 S. SEPULVEDA BOULEVARD, SUITE 200   26 APHRODITE DR                           1850 S SEPULVEDA BLVD STE 200
LOS ANGELES, CA 90025                    BARNEGAT, NJ 08005-1470                   LOS ANGELES, CA 90025




SAFEGUARD BUSINESS SYSTEMS               SAFEGUARD                                 SAFESHRED INC
PO BOX 88043                             PO BOX 5870                               9505 JOHNNY MORRIS RD
CHICAGO, IL 60680-1043                   SCOTTSDALE, AZ 85261                      AUSTIN, TX 78724
SAFESITE INC          Case   18-12241-CSS
                                       SAFETYDoc  26
                                             SAM INC      Filed 10/05/18   PageSAFETY
                                                                                1402 SERVICES
                                                                                      of 1739 CO
9505 JOHNNY MORRIS ROAD                 DBA SAFETY SERVICES CO                  PO BOX 27148
AUSTIN, TX 78724                        PO BOX 27148                            TEMPE, AZ 85285-7148
                                        TEMPE, AZ 85282




SAFEWAY INC                             SAFFA WILKES                            SAF-T-BOX LP
DBA PROPERTY DVPMNT CTR TAX DIVISION    10201 S. MAIN STREET                    20540 STATE HWY 46 W
5918 STONERIDGE MALL RD                 HOUSTON, TX 77025                       STE 115 PNB 620
PLEASANTON, CA 94588                                                            SPRING BRANCH, TX 78070




SAGE 111 FW, LLC                        SAGE COMMERCIAL GROUP                   SAGE CREEK REPAIR INC
C/O SAGE INVESTCO                       12727 FEATHERWOOD DR STE 128            1870 SOUTH YELLOWSTONE AVE
3837 BIRCH STREET                       HOUSTON, TX 77034                       IDAHO FALLS, ID 83402
NEWPORT BEACH, CA 92660




SAGE CROSSROADS LLC                     SAGE FULSHEAR PADS WEST, LLC            SAGE PARTNERS REAL ESTATE SOLUTIONS
1520 OLIVER ST                          ATTN: FRANK M.K. LIU                    5100 W. JB HUNT DRIVE, SUITE 800
HOUSTON, TX 77007                       1520 OLIVER STREET                      ROGERS, AR 72758
                                        HOUSTON, TX 77007




SAGE PAYTON                             SAGE SOFTWARE                           SAGE SOFTWARE
5741 MARTIN RD 3308                     14855 COLLECTIONS CENTER DR             6561 IRVINE CENTER DRIVE
PLANO, TX 75024                         CHICAGO, IL 60693                       IRVINE, CA 92618




SAGE, JOE                               SAGINAW CHARTER TOWNSHIP CLERK          SAGINAW CHARTER TOWNSHIP WATER
7020 FERNBROOK DRIVE                    4980 SHATTUCK RD                        DEPT
FRANKLIN, TN 37069                      SAGINAW, MI 48603                       P.O. BOX 6400
                                                                                SAGINAW, MI 48608




SAGINAW CHARTER TWP WATER DEPT          SAGINAW CHARTER TWP WATER DEPT          SAGINAW TOWNSHIP TREASURER
4870 SHATTUCK RD                        P.O. BOX 6400                           PO BOX 6400
SAGINAW, MI 48603                       SAGINAW, MI 48608                       SAGINAW, MI 48608-6400




SAGINE LAZARRE                          SAGUARO ENVIRONMENTAL 845               SAHARA BATCHELOR
10201 S. MAIN STREET                    P.O. BOX 78829                          10201 S. MAIN STREET
HOUSTON, TX 77025                       PHOENIX, AZ 85062-8829                  HOUSTON, TX 77025




SAHARA L MARTINEZ                       SAHBA HOME SHOW                         SAHNUN MOHAMUD
5015 FORSTER AVE                        2840 N. COUNTRY CLUB RD.                10201 S. MAIN STREET
SCHILLER PARK, IL 60176                 TUCSON, AZ 85716                        HOUSTON, TX 77025




SAIA INC                                SAIA MOTOR FREIGHT LINE                 SAID EDDICHE
DBA SAIA MOTOR FREIGHT LINE LLC         P.O. BOX A STATION 1                    10201 S. MAIN STREET
11465 JOHNS CREEK PKWY STE 400          HOUMA, LA 70363                         HOUSTON, TX 77025
JOHNS CREEK, GA 30097
SAIDU YANSANEH          Case 18-12241-CSS     Doc 26
                                       SAIF ALOBAIDI      Filed 10/05/18     PageSAIF
                                                                                  1403  of 1739
                                                                                      RAHMANI
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




SAINT CHARLES COUNTY COLLECTOR OF       SAISAMORN ADAMS                          SAIVON RUCKER
REVENUE                                 9139 PENN MANOR CT                       10201 S. MAIN STREET
ATTN: PROPERTY TAX DEPT.                HOUSTON, TX 77055                        HOUSTON, TX 77025
200 N 2ND ST
SAINT CHARLES, MO 63301-2891



SAJANA SHRESTHA                         SAKER ENTERPRISES OF FREEHOLD, LLC       SAL GARCIA GARCIA
10201 S. MAIN STREET                    10 CENTERVILLE ROAD                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOLMDEL, NJ 07733                        HOUSTON, TX 77025




SAL MESSINA                             SAL PALMISANO                            SAL PINEDA
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




SAL RAMOS                               SAL ROSA                                 SAL SHAIKH
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




SALARYCOM LLC                           SALARYCOM LLC                            SALDLER EQUITIES LLC
610 LINCOLN ST N BLDG STE 200           PO BOX 844048                            10739 DEERWOOD PARK BLVD STE 300
WALTHAM, MA 02451                       BOSTON, MA 02284-4048                    JACKSONVILLE, FL 32256




SALEM BROADCASTING COLORADO             SALEM COMMUNICATIONS / DJS               SALEM COMMUNICATIONS SACRAMENTO
SPRINGS                                 6400 SE LAKE RD STE 350                  PO BOX 845581
PO BOX 206590                           PORTLAND, OR 97222                       LOS ANGELES, CA 90084-5581
DALLAS, TX 75320-6590




SALEM MEDIA OF HAWAII INC               SALEM MEDIA OF ILLINOIS LLC              SALESFORCE INC
1160 N KING ST 2ND FLOOR                25 NORTHWEST POINT BLVD STE 400          SALESFORCE.COM, INC.
HONOLULU, HI 96817                      ELK GROVE VILLAGE, IL 60007              SAN FRANCISCO, CA 94105




SALESFORCE.COM                          SALESI TUITAVUKI                         SALESMANSHIP CLUB CHARITABLE GOLF
P.O.BOX 203141                          10201 S. MAIN STREET                     OF DALLAS INC
DALLAS, TX 75320-3141                   HOUSTON, TX 77025                        106 E TENTH ST STE 200
                                                                                 DALLAS, TX 75203




SALIM R. JAVAHERI                       SALIM TADROS                             SALINAS FARP
1366 CASIANO RD                         10201 S. MAIN STREET                     PO BOX 748187
LOS ANGELES, CA 90049                   HOUSTON, TX 77025                        LOS ANGELES, CA 90074-8187
                     Case
SALINAS NEWSPAPERS INC          18-12241-CSS    Doc
                                          SALINAS    26 CENTER
                                                  SHOPPING Filed 10/05/18
                                                                  ASSOCIATES PageSALINE
                                                                                  1404 COUNTY
                                                                                        of 1739
                                                                                              COLLECTOR
123 WEST ALISAL ST                         LP                                    C/O TAX COLLECTOR
SALINAS, CA 93901                          HARDEN RANCH PLAZA ASSOCIATES, LLC    215 N MAIN ST STE 3
                                           C/O PGI MANAGEMENT                    BENTON, AR 72015
                                           1606 N MAIN STREET
                                           SALINAS, CA 93906


SALINE                                     SALISBURY INNES INC                   SALISBURY INNES INC.
ATTN: PROPERTY TAX DEPT.                   1401 BROAD STREET                     1401 BROAD STREET
215 N MAIN ST STE 3                        CLIFTON, NJ 07013                     CLIFTON, NJ 07013
BENTON, AR 72015




SALISBURY INNES LLC                        SALISBURY INNES STREET, LLC &         SALISBURY NC (1329 INNES) LLC
C/O ARC PROPERTIES                         MDX INVESTMENTS II, LLC               INSITE REAL ESTATE LLC
1401 BROAD ST                              ATTN: T. MICHAEL KELLEY               1400 16TH ST STE 300
CLIFTON, NJ 07013                          621 JONESTOWN RD, SUITE 201           HINSDALE, IL 60523
                                           WINSTON-SALEM, NC 29205



SALISBURY POST                             SALISBURY POST                        SALLONI CHHEDA
131 WEST INNES STREET                      PO BOX 4639                           10201 S. MAIN STREET
SALISBURY, NC 28144-4338                   SALISBURY, NC 28145-4639              HOUSTON, TX 77025




SALLY BORRHELLO                            SALLY HINSHAW                         SALLY NUSBAUM
10201 S. MAIN STREET                       10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                     HOUSTON, TX 77025




SALLY SCHENCK                              SALLYANN LOPEZ                        SALT LAKE CITY CORPORATION
10201 S. MAIN STREET                       24716 MOONTIDE LN                     PUBLIC UTILITIES
HOUSTON, TX 77025                          MORENO VALLEY, CA 92557               1530 S WEST TEMPLE
                                                                                 SALT LAKE CITY, UT 84115




SALT LAKE CITY CORPORATION                 SALT LAKE COUNTY ASSESSOR             SALT LAKE COUNTY ASSESSSOR
PUBLIC UTILITIES                           ATTN: PROPERTY TAX DEPT.              PO BOX 147421
P.O. BOX 30881                             PO BOX 145458                         SALT LAKE CITY, UT 84114
SALT LAKE CITY, UT 84130-0881              SALT LAKE CITY, UT 84114




SALT LAKE COUNTY TREASURER                 SALT PAYROLL CONSULTANTS INC          SALT RIVER PIMA-MARICOPA INDIAN
PO BOX 410418                              111 2ND AVE NE STE 1000               COMMUNITY
SALT LAKE CITY, UT 84141-0418              SAINT PETERSBURG, FL 33701            10005 E OSBORN RD
                                                                                 TWO WATERS STE B-200
                                                                                 SCOTTSDALE, AZ 85256



SALT RIVER PIMA-MARICOPA INDIAN            SALVADOR ALVAREZ                      SALVADOR GONZALEZ
COMMUNITY                                  DBA LUPES LANDSCAPE & MAINTENANCE     10201 S. MAIN STREET
TAX ADMINISTRATOR                          9035 CYPRESS CREEK PKWY               HOUSTON, TX 77025
ATTN: SALES & USE TAX DEPT.                HOUSTON, TX 77070-6203
TWO WATERS STE B-200
SCOTTSDALE, AZ 85256


SALVADOR J RODRIGUEZ                       SALVADOR PEREZ                        SALVATORE CASTELLANO
10201 S. MAIN STREET                       10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                     HOUSTON, TX 77025
SALVATORE S BURKE         Case 18-12241-CSS    DocTANELLA
                                         SALVATORE 26 Filed 10/05/18     PageSAM
                                                                              1405  of 1739
                                                                                 ABDUL
881 CORAL SPRINGS ST                     10201 S. MAIN STREET                10201 S. MAIN STREET
MELBOURNE, FL 32940                      HOUSTON, TX 77025                   HOUSTON, TX 77025




SAM AHMAD                                SAM BASHITI                         SAM BEAVER
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




SAM BROWN                                SAM CARTER                          SAM CHOI
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




SAM COLLINS                              SAM DIXSON                          SAM DUNCAN
301 N WESLEY DR APT 728                  10201 S. MAIN STREET                10201 S. MAIN STREET
LEAGUE CITY, TX 77573                    HOUSTON, TX 77025                   HOUSTON, TX 77025




SAM DURHAM                               SAM FERRIAN                         SAM FIGAROLA
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




SAM GLORIT                               SAM GOODMAN                         SAM HAMMER
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




SAM HOLLY SPRINGS, LLC                   SAM HOLLY SPRINGS, LLC              SAM HOUSTON STATE UNIVERSITY CAREER
C/O SUBURBAN CAPITAL INC                 C/O SUBURBAN MANAGEMENT             SERVICES
3600 PACIFIC AVE                         289 INDEPENDENCE BLVD STE 300       BOX 2238
VIRGINIA BEACH, VA 23451                 VIRGINIA BEACH, VA 23462            HUNTSVILLE, TX 77341-2238




SAM IVATOROV                             SAM KAMIN                           SAM KHAUTE
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




SAM KIEFFER                              SAM LANGBARTELS                     SAM MOORE
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025




SAM MORGAN                               SAM OLIVE                           SAM OLSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                   HOUSTON, TX 77025
SAM OPPENHEIM          Case 18-12241-CSS    Doc 26
                                      SAM PIERRE        Filed 10/05/18   PageSAM
                                                                              1406  of 1739
                                                                                 SALEM AND SONS
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10 W 33RD ST, STE 1227
HOUSTON, TX 77025                     HOUSTON, TX 77025                       NEW YORK, NY 10001




SAM SIBGHATULLAH                      SAM SILBERSTEIN                         SAM SODERBERG
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




SAM TABET                             SAM TANGLEWOOD LLC                      SAM TANGLEWOOD LLC
10201 S. MAIN STREET                  C/O SUBURBAN MGMT GROUP                 C/O SUBURBAN MGMT GROUP
HOUSTON, TX 77025                     289 INDEPEDENCE BLVD STE 300            289 INDEPENDENCE BLVD STE 300
                                      VIRGINIA BEACH, VA 23462                VIRGINIA BEACH, VA 23462




SAM TUCKER LLC                        SAM VAN ZANDT                           SAM VINCE
2625 KOTTER AVE                       1863 STRATTON CIRCLE
EVANSVILLE, IN 47715                  WALNUT CREEK, CA 94598




SAM WARDS CORNER, LLC                 SAM WARDS CORNER, LLC                   SAM WELLS
C/O SUBURBAN CAPITAL INC              C/O SUBURBAN CAPITAL, INC.              10201 S. MAIN STREET
3600 PACIFIC AVE                      3600 PACIFIC AVE                        HOUSTON, TX 77025
VIRGINIA BEACH, VA 23451              VIRGINIA BEACH, VA 23451




SAM WITHERS                           SAM WOODS                               SAM WRIGHT
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




SAM/LORENA MUSEMECHE                  SAMANTHA ALBERT                         SAMANTHA ALSPAW
12840 SOUTH KIRKWOOD RD 533           20890 NOVA LOOP UNIT 2                  10201 S. MAIN STREET
STAFFORD, TX 77477                    BEND, OR 97701                          HOUSTON, TX 77025




SAMANTHA BARRON                       SAMANTHA BARTLEY                        SAMANTHA BRIDGES
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




SAMANTHA BRIDGES                      SAMANTHA CAMPBELL                       SAMANTHA CARROLL
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




SAMANTHA COLLINS                      SAMANTHA CORDT                          SAMANTHA CRUMP
1919 TRAVERTINE LN                    10201 S. MAIN STREET                    10201 S. MAIN STREET
FORT MILL, SC 29708                   HOUSTON, TX 77025                       HOUSTON, TX 77025
SAMANTHA CRUZ          Case 18-12241-CSS   DocEARL
                                      SAMANTHA 26       Filed 10/05/18   PageSAMANTHA
                                                                              1407 of FEWELL
                                                                                      1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   532 HAMILTON AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                      NASHVILLE, TN 37203




SAMANTHA HILGER                       SAMANTHA HODGES                        SAMANTHA JONES
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SAMANTHA KOSS                         SAMANTHA L BRIDGES                     SAMANTHA LETTS
410 ANDOVER DR                        1421 NE WEDDLE LN                      10201 S. MAIN STREET
BURBANK, CA 91504                     LEES SUMMIT, MO 64086                  HOUSTON, TX 77025




SAMANTHA LUCAS                        SAMANTHA LUTTRELL                      SAMANTHA MCCALLISTER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SAMANTHA MCDONALD                     SAMANTHA NAGOTT                        SAMANTHA NORMAN
10201 S. MAIN STREET                  2909 SOUTH 106TH ST                    10201 S. MAIN STREET
HOUSTON, TX 77025                     WEST ALLIS, WI 53227                   HOUSTON, TX 77025




SAMANTHA OLIVARES                     SAMANTHA PORTER                        SAMANTHA RAMSON
4505 N BRAESWOOD BLVD APT 104         10475 1960 E                           10201 S. MAIN STREET
HOUSTON, TX 77096                     SPANISH FORK, UT 84660                 HOUSTON, TX 77025




SAMANTHA SELLS                        SAMANTHA SP I LLC                      SAMANTHA STACEY
10201 S. MAIN STREET                  ATTN: HOYEE WU                         10201 S. MAIN STREET
HOUSTON, TX 77025                     1095 EVERGREEN CIRCLE 200              HOUSTON, TX 77025
                                      THE WOODLANDS, TX 77380




SAMANTHA STARK                        SAMANTHA STEELE                        SAMANTHA THOMAS
                                      10201 S. MAIN STREET                   10201 S. MAIN STREET
                                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SAMANTHA VITELLA                      SAMANTHA WILLIAMS                      SAMANTHA WRIGHT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   9425 S RIVERSIDE DR 216
HOUSTON, TX 77025                     HOUSTON, TX 77025                      SANDY, UT 84070




SAMANTHA YBARRA                       SAMAR INC                              SAMARAWEERA WIJAYAGUNARATNE
10201 S. MAIN STREET                  17585 JUDAY LAKE DR N                  10201 S. MAIN STREET
HOUSTON, TX 77025                     SOUTH BEND, IN 46635                   HOUSTON, TX 77025
SAMIA SADIK            Case 18-12241-CSS
                                      SAMIEEDoc  26
                                            LIVING     Filed
                                                   TRUST,    10/05/18
                                                          PARVIZ SAMIEE   PageSAMMIE
                                                                               1408 of 1739
                                                                                     TURNER
10201 S. MAIN STREET                    PRINCIPAL                             1796 E PARKSHORE DR APT 1
HOUSTON, TX 77025                       2418 13TH STREET S.E.                 FAYETTEVILLE, AR 72703
                                        SALEM, OR 97302




SAMMY BUTERA                            SAMMY DELEON                          SAMMY DUVAL
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




SAMS QUALITY FURNITURE                  SAMS STATE ROAD 56 LLC                SAM'S STATE ROAD 56 LLC
911 LEJEUNE BLVD                        C/O KAUFMAN MANAGEMENT CORP           C/O KAUFMAN MANAGEMENT CORP
JACKSONVILLE, NC 28540                  804 TARAY DE AVILA                    804 TARAY DE AVILA
                                        TAMPA, FL 33613                       TAMPA, FL 33613




SAMSONDALE PLAZA LLC                    SAMUEL ALARID                         SAMUEL ALHADEFF
C/O CAPITAL REALTY GROUP                10201 S. MAIN STREET                  10201 S. MAIN STREET
ATTN: NANCY BENEDIKT                    HOUSTON, TX 77025                     HOUSTON, TX 77025
86 RT. 59 EAST
SPRING VALLEY, NY 10977



SAMUEL ALHAKEEM                         SAMUEL AUFFARTH                       SAMUEL BJORKMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




SAMUEL BROWN                            SAMUEL COLLINS                        SAMUEL COOK
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




SAMUEL D PITTMAN                        SAMUEL DAVIS                          SAMUEL E WALKER
155 WHITLEY MILLS RD                    10201 S. MAIN STREET                  RHONDA GARLAND-WALKER FAMILY TRUST
FORT MILL, SC 29708                     HOUSTON, TX 77025                     9101 S. BLACK CAT RD.
                                                                              KUNA, ID 83634




SAMUEL EASTERLY                         SAMUEL FELICIANO                      SAMUEL FELICIANO
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




SAMUEL FUENTES                          SAMUEL GODFREY                        SAMUEL GONZALEZ
7123 CYPRESS PRAIRIE DR                 10201 S. MAIN STREET                  10201 S. MAIN STREET
CYPRESS, TX 77433                       HOUSTON, TX 77025                     HOUSTON, TX 77025




SAMUEL GONZALEZ                         SAMUEL GRIFFIN                        SAMUEL HALL
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025
SAMUEL HALLYBURTON     Case 18-12241-CSS
                                      SAMUELDoc 26 Filed 10/05/18
                                             HERNANDEZ              PageSAMUEL
                                                                         1409 of 1739
                                                                               HESTER
10201 S. MAIN STREET                  10201 S. MAIN STREET              PO BOX 151
HOUSTON, TX 77025                     HOUSTON, TX 77025                 GREENVILLE, SC 29602




SAMUEL HUFFMAN                        SAMUEL JIMENEZ KOG                SAMUEL KARP
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




SAMUEL KASSENS                        SAMUEL KMIOTEK                    SAMUEL LEDFORD
10201 S. MAIN STREET                  10201 S. MAIN STREET              1204 MCBRIEN RD
HOUSTON, TX 77025                     HOUSTON, TX 77025                 CHATTANOOGA, TN 37412




SAMUEL MIKEL                          SAMUEL MOLLA                      SAMUEL MORRIS
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




SAMUEL NIMAKO                         SAMUEL OLSON                      SAMUEL OWENS
10201 S. MAIN STREET                                                    10201 S. MAIN STREET
HOUSTON, TX 77025                                                       HOUSTON, TX 77025




SAMUEL PENNINGTON                     SAMUEL RAMSEY                     SAMUEL ROBINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET              4930 DEVERON ST B
HOUSTON, TX 77025                     HOUSTON, TX 77025                 GREENVILLE, NC 27834




SAMUEL RODRIGUEZ                      SAMUEL SANCHEZ                    SAMUEL SAUBER
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




SAMUEL SCHUVART                       SAMUEL STOLESEN                   SAMUEL SWISKOSKI
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




SAMUEL THOMAS                         SAMUEL THORNE                     SAMUEL VINCE
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




SAMUEL WOODS                          SAMUEL WORLEY                     SAN ANGELO STANDARD TIMES
20709 RUMSEY SPRINGS DRIVE            10201 S. MAIN STREET              PO BOX 630797
PORTER, TX 77365                      HOUSTON, TX 77025                 CINCINNATI, OH 45263-0797
                      Case
SAN ANGELO STANDARD TIMES    18-12241-CSS    Doc STOCK
                                       SAN ANGELO 26 Filed
                                                       SHOW 10/05/18
                                                            & RODEO       PageSAN
                                                                               1410  of 1739
                                                                                  ANTONIO EXPRESS NEWS
PO BOX 650063                           ASSOCIATION INC                        P.O. BOX 80087
DALLAS, TX 75265-0063                   200 W 43RD ST                          PRESCOTT, AZ 86304-8087
                                        SAN ANGELO, TX 76903




SAN ANTONIO LIVESTOCK EXPOSITION INC.   SAN ANTONIO POLICE DEPARTMENT          SAN ANTONIO TELEVISION LLC DBA KEYE TX
P.O. BOX 200230                         315 S SANTA ROSA ST                    10706 BEAVER DAM RD
SAN ANTONIO, TX 78220-0230              SAN ANTONIO, TX 78207                  COCKEYSVILLE, MD 21030




SAN ANTONIO WATER SYSTEM                SAN ANTONIO WATER SYSTEM               SAN ANTONIO WATER SYSTEM
2800 US HWY 281 N                       P.O. BOX 2990                          P.O. BOX 2990
SAN ANTONIO, TX 78212                   SAN ANTONIO, TX 78299-2290             SAN ANTONIO, TX 78299-2990




SAN ARGENIO                             SAN BERNARDINO COUNTY TAX COLLECTOR    SAN BERNARDINO COUNTY
1048 LINCOLN AVE 4                      ATTN: PROPERTY TAX DEPT.               AGRICULTURE/WEIGHTS & MEASURES
EUGENE, OR 97401                        172 W THIRD ST 1ST FL                  777 E RIALTO AVE
                                        SAN BERNARDINO, CA 92415-0360          SAN BERNARDINO, CA 92415-0720




SAN CARLOS RETAIL VENTURE               SAN DIEGO COUNTY TREASURER-TAX         SAN DIEGO GAS & ELECTRIC
FULCRUM MGMT GROUP                      COLLECTOR                              8326 CENTURY PARK CT
1530 J ST 200                           ATTN: PROPERTY TAX DEPT.               SAN DIEGO, CA 92123
SACRAMENTO, CA 95814                    1600 PACIFIC HWY ROOM 162
                                        SAN DIEGO, CA 92101



SAN DIEGO GAS & ELECTRIC                SAN DIEGO INCOME PROPERTIES LLC        SAN DIEGO INCOME PROPERTIES LLC
P.O. BOX 25111                          C/O MEISSNER JACQUET COMMERCIAL        FILE 1851
SANTA ANA, CA 92799-5111                REAL ESTATE SERVICES                   1801 OLYMPIC BLVD
                                        1801 OLYMPIC BLVD                      PASADENA, CA 91199-1851
                                        PASADENA, CA 91199-1581



SAN DIEGO INCOME PROPERTIES LLC         SAN DIEGO POLICE DEPARTMENT            SAN DIEGO POLICE DEPARTMENT
PO BOX 675725                           PERMITS & LICENSING MS 735             PO BOX 121431
RANCHO SANTA FE, CA 92067               PO BOX 121431                          SAN DIEGO, CA 92112
                                        SAN DIEGO, CA 92112




SAN FRANCISCO CHRONICLE                 SAN FRANCISCO CITY OPTION              SAN FRANCISCO COUNTY TAX COLLECTOR
PO BOX 80070                            PO BOX 194367                          ATTN: PROPERTY TAX DEPT.
PRESCOTT, AZ 86304-8070                 SAN FRANCISCO, CA 94119-4367           P.O. BOX 7427
                                                                               SAN FRANCISCO, CA 94120-7427




SAN FRANCISCO PLANNING DEPARTMENT       SAN FRANCISCO TAX COLLECTOR            SAN FRANCISCO TAX COLLECTOR-7427
ONE BUSH ST STE 600                     PO BOX 7427                            P.O. BOX 7427
SAN FRANCISCO, CA 94104                 SAN FRANCISCO, CA 94120                SAN FRANCISCO, CA 94120-7427




SAN FRANCISCO WTR PWR & SWR             SAN FRANCISCO WTR PWR & SWR            SAN JOAQUIN ASPARAGUS FESTIVAL
525 GOLDEN GATE AVE                     P.O. BOX 7369                          PO BOX 340
SAN FRANCISCO, CA 94120-2               SAN FRANCISCO, CA 94120-7369           FRENCH CAMP, CA 95231
SAN JOAQUIN COUNTY TAXCase   18-12241-CSS
                        COLLECTOR             Doc
                                       SAN JOSE     26 CENTER
                                                MARKET   Filed 10/05/18 PageSAN
                                                                              1411
                                                                                 JOSEofWATER
                                                                                        1739CO
ATTN: PROPERTY TAX DEPT.               C/O JONES LANG LASALLE AMERICAS, INC. 110 W. TAYLOR ST
PO BOX 2169                            655 REDWOOD HIGHWAY, SUITE 177        SAN JOSE, CA 95110-2131
STOCKTON, CA 95201-2169                MILL VALLEY, CA 94941




SAN JOSEPH PROPERTIES LLC              SAN JOSEPH PROPERTIES, LLC              SAN JUANA ORTEGA
C/O ROBERT TARABOULOS CPA              ATTN: ROBERT TARABOULOS                 10201 S. MAIN STREET
9300 S DADELAND BLVD STE 600           9300 S. DADELAND BOULEVARD, SUITE 600   HOUSTON, TX 77025
MIAMI, FL 33156                        MIAMI, FL 33156




SAN LEANDRO HOSPITAL                   SAN MARCOS FREEWAY CENTER LTD.          SAN MARCOS FREEWAY CENTER LTD.
C/O ALAMEDA HEALTH SYSTEM              960 LOS VALLECITOS, #203                C/O PARKSTONE MGMT SERVICES
1411 E 31ST ST                         SAN MARCOS, CA 92069                    PO BOX 503934
OAKLAND, CA 94602                                                              SAN DIEGO, CA 92150-3934




SAN MATEO COUNTY EXPOSITION & FAIR     SAN MATEO COUNTY TAX COLLECTOR          SAN MATEO COUNTY
ASSOC.                                 ATTN: PROPERTY TAX DEPT.                TAX COLLECTOR
2495 S DELAWARE ST                     555 COUNTY CTR 1ST FL                   555 COUNTY CTR 1ST FL
SAN MATEO, CA 94403                    REDWOOD CITY, CA 94063                  REDWOOD CITY, CA 94063




SAN MIRAGE AT BONITA SPRINGS           SAN SAETEUM                             SAN SAETEUN
C/O STERLING PROPERTY SERVICES         10201 S. MAIN STREET                    10201 S. MAIN STREET
27180 BAY LANDING DR STE 4             HOUSTON, TX 77025                       HOUSTON, TX 77025
BONITA SPRINGS, FL 34135




SAN TAN VILLAGE INVESTORS LLC          SAN TAN VILLAGE                         SAN TONIO VELEZ
3200 E CAMELBACK RD STE 175            CUST 5193.LMETRMAI                      417 BRITTANY LANE
PHOENIX, AZ 85018                      PO BOX 29383                            ELYRIA, OH 44035
                                       PHOENIX, AZ 85038-9383




SANA SIDDIQUI                          SANABRIA, FELIX                         SAND DOLLAR EVENTS LLC
10201 S. MAIN STREET                   130 SPRING PINES CT                     3965 W 83RD ST STE 286
HOUSTON, TX 77025                      KISSIMMEE, FLORIDA 34744-2473           PRAIRIE VILLAGE, KS 66208




SANDALWOOD MANAGEMENT, INC.            SANDBERG FURNITURE MFG                  SANDBERG FURNITURE MFG
ATTN: JENNIFER COMEZ                   FILE 2157                               PO BOX 511472
500 CAPITAL OF TX HWY N, BLDG. 7       1801 W OLYMPIC BLVD                     LOS ANGELES, CA 90051-8027
AUSTIN, TX 78746                       PASADENA, CA 91199




SANDEE MILLER                          SANDEEP AGARWAL                         SANDEEP JAIN
6647 CENTER CT                         10201 S. MAIN STREET                    58 STIRRUP HILL RD
PLAINFIELD, IN 46168                   HOUSTON, TX 77025                       FAIRFIELD, CT 06824




SANDEEP SANDHU                         SANDERS AND COMPANY                     SANDERS EQUITIES
10201 S. MAIN STREET                   3710 RAWLINS STREET, SUITE 1210         41 W. PUTNAM AVENUE
HOUSTON, TX 77025                      DALLAS, TX 75219                        GREENWICH, CT 06830
                    Case
SANDFORD TOWNE 11QMFAF LLC     18-12241-CSS    Doc
                                         SANDHILL   26 LLC
                                                  CENTER Filed 10/05/18          PageSANDHILL
                                                                                      1412 ofPLAZA
                                                                                              1739(E&A) LLC
ARC PROPERTIES                            C/O LEXINGTON REALTY INTERNATIONAL          E&A/I&G SANDHILL PLAZA LP
1401 BROAD ST                             LLC                                         DEPT 2343 PO BOX 842765
CLIFTON, NJ 07013                         911 EAST COUNTY LINE ROAD, SUITE 203        BOSTON, MA 02284-2765
                                          LAKEWOOD, NJ 08701



SANDHU PROPERTIES LLC                     SANDHU PROPERTIES LLC                       SANDI REQUENA
2425 PINEAPPLE AVE 108                    519-A E BLOOMINGDALE AVE                    10201 S. MAIN STREET
MELBOURNE, FL 32935                       BRANDON, FL 33511                           HOUSTON, TX 77025




SANDI WACHTER                             SANDI WATCHER                               SANDIFER ENGINEERING & CONTROLS INC
120 WEST CASS ST                          120 WEST CASS ST                            229 S ELLIS ST
PRAIRIE DU CHIEN, WI 53821                PRAIRIE DU CHIEN, WI 53821                  WICHITA, KS 67211




SANDMAR PROPERTIES LLC                    SANDONE PRODUCTIONS INC                     SANDPIPER ENERGY INC
ATTN: SHANNON VAN WINTER                  PO BOX 150365                               32145 BEAVER RUN DR
14601 PETTIT WAY                          DALLAS, TX 75315                            SALISBURY, MD 21804
POTOMAC, MD 20854




SANDPIPER ENERGY INC                      SANDRA ADAME                                SANDRA ALDAMA
P.O. BOX 826531                           10201 S. MAIN STREET                        13808 MAIDSTONE AVE
PHILADELPHIA, PA 19182-6531               HOUSTON, TX 77025                           NORWALK, CA 90650




SANDRA ARCE                               SANDRA AYALA                                SANDRA BLACK
10201 S. MAIN STREET                      1129 VALERIE ST                             3491 OLIVE ST
HOUSTON, TX 77025                         SANTA MARIA, CA 93454                       EUGENE, OR 97405




SANDRA COX                                SANDRA DOCANTO                              SANDRA EZELL
10201 S. MAIN STREET                      10201 S. MAIN STREET                        409 HANOVER ST
HOUSTON, TX 77025                         HOUSTON, TX 77025                           EDNA, TX 77957




SANDRA F ALLEN                            SANDRA HENNESSEY                            SANDRA HERNANDEZ
1208 N LEE ST LOT 41                      10201 S. MAIN STREET                        10201 S. MAIN STREET
LEESBURG, FL 34748                        HOUSTON, TX 77025                           HOUSTON, TX 77025




SANDRA JONG                               SANDRA KINSEY                               SANDRA KNIGHT
886 E MAPLE CREST COURT 22                10201 S. MAIN STREET                        10201 S. MAIN STREET
SALT LAKE CITY, UT 84106                  HOUSTON, TX 77025                           HOUSTON, TX 77025




SANDRA L MAXEY                            SANDRA L WILLIAMS                           SANDRA LASSALLE
5620 NW 87TH TERR. APT C-304              105 RINGWOOD WAY                            10201 S. MAIN STREET
KANSAS CITY, MO 64154                     ANDERSON, IN 46013                          HOUSTON, TX 77025
SANDRA MATZ            Case 18-12241-CSS
                                      SANDRADoc 26 Filed 10/05/18
                                             MELCHOR                PageSANDRA
                                                                         1413 of 1739
                                                                               MIRANDA
W1586 VALLEY VIEW RD                  10201 S. MAIN STREET              3986 TURQUOISE LN
BURLINGTON, WI 53105                  HOUSTON, TX 77025                 LA VERNE, CA 91750




SANDRA P SANCHEZ                      SANDRA PONCE                      SANDRA RAMSEUR
10201 S. MAIN STREET                  1525 CHARLES ROAD                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77093                 HOUSTON, TX 77025




SANDRA REYES RODRIGUEZ                SANDRA SANCHEZ                    SANDRA SANCHEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




SANDRA SHEARER                        SANDRA STINSON                    SANDRA TAKACH
2137 N ROSE ST                        10201 S. MAIN STREET              10201 S. MAIN STREET
BURBANK, CA 91505                     HOUSTON, TX 77025                 HOUSTON, TX 77025




SANDRA ZAREMBSKI                      SANDRENE HOBSON                   SANDY BASKOVICH
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




SANDY CITY                            SANDY EAST LLC                    SANDY EAST, LLC
10000 CENTENNIAL PKWY STE 210         16010 ROSECROFT TERRACE           16010 ROSECROFT TERRACE
SANDY, UT 84070                       DELRAY BEACH, FL 33446            DELRAY BEACH, FL 33446




SANDY HYMAS                           SANDY LURIE                       SANDY ROSARIO
10201 S. MAIN STREET                  10201 S. MAIN STREET              121 CAMDEN ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                 METHUEN, MA 01844




SANDY SMITH                           SANDY XUAN TRAN                   SANFORD NC (2905 S HORNER) LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET              C/O INSITE REAL ESTATE LLC
HOUSTON, TX 77025                     HOUSTON, TX 77025                 1400 16TH ST STE 300
                                                                        OAK BROOK, IL 60523




SANFORD SEGERMAN                      SANFORD TOWNE 110 MFAF, LLC       SANGIE DE CRISTO COMMUNICATIONS LLC
10201 S. MAIN STREET                  C/O ARC PROPERTIES                DBA KOAA TV
HOUSTON, TX 77025                     1401 BROAD STREET                 2200 7TH AVE
                                      ATTN: GARY BAUMANN, ESQ.          PUEBLO, CO 81003
                                      CLIFTON, NJ 07013



SANITARY DIST 4 TOB                   SANITARY DIST 4 TOB               SANITARY DISTRICT NO 4
645 N JANACEK RD                      P.O. BOX 1296                     TOWN OF BROOKFIELD
BROOKFIELD, WI 53045                  BROOKFIELD, WI 53008-1296         P.O. BOX 1296
                                                                        BROOKFIELD, WI 53008-1296
                     Case
SANITARY MATTRESS COMPANY     18-12241-CSS    Doc
                                        SANITARY   26 COMPANY
                                                 SERVICE Filed 10/05/18
                                                                 INC.         PageSANITARY
                                                                                   1414 ofSERVICE
                                                                                           1739 COMPANY INC.
SLEEP DESIGNS                            21 BELLWETHER WAY, STE 404                P.O. BOX 35008
5808 BERRY BROOK DR                      BELLINGHAM, WA 98225                      SEATTLE, WA 98124-3408
HOUSTON, TX 77017




SANITATION DISTRICT NO. 1                SANJEEV GUPTA                             SANJIV SINHA
P.O. BOX 12112                           10201 S. MAIN STREET                      10201 S. MAIN STREET
COVINGTON, KY 41012-0112                 HOUSTON, TX 77025                         HOUSTON, TX 77025




SANLYSE TRUST                            SANNYA FANG-URISTA                        SANSONE GROUP
DBA SANLYSE LLC                          10201 S. MAIN STREET                      120 S. CENTRAL AVENUE, SUITE 500
185 NW SPANISH RIVER BLVD STE 100        HOUSTON, TX 77025                         ST. LOUIS, MO 63105
BOCA RATON, FL 33431




SANSTEVE LLC                             SANTA CLARA COUNTY CLERK RECORDER         SANTA CLARA COUNTY
C/O KIN PROPERTIES, INC.                 ATTN: PROPERTY TAX DEPT.                  TAX COLLECTOR
185 NW SPANISH RIVER BLVD STE 100        70 W HEDDING ST                           70 W HEDDING ST
BOCA RATON, FL 33431                     SAN JOSE, CA 95110-1767                   SAN JOSE, CA 95110-1767




SANTA CRUZ COUNTY SHERIFF                SANTA CRUZ COUNTY TAX COLLECTOR           SANTA CRUZ COUNTY
5200 SOQUEL AVE                          ATTN: PROPERTY TAX DEPT.                  TAX COLLECTOR
SANTA CRUZ, CA 95062                     PO BOX 1817                               PO BOX 1817
                                         SANTA CRUZ, CA 95061                      SANTA CRUZ, CA 95061




SANTA CRUZ MUNICIPAL UTILITIES           SANTA CRUZ SEASIDE CO                     SANTA ROSA COUNTY TAX COLLECTOR
P.O. BOX 682                             400 BEACH ST                              6495 CAROLINE ST STE E
SANTA CRUZ, CA 95061-0682                SANTA CRUZ, CA 95060                      MILTON, FL 32570-4592




SANTA ROSA RECYCLING & COLLECTIONS       SANTA ROSA RECYCLING & COLLECTIONS        SANTA ROSA TOWN CENTER, LLC
3400 STANDISH AVE                        P.O. BOX 1300                             C/O JONES LANG LASALLE AMERICAS, INC.
SANTA ROSA, CA 95407                     SUISUN, CA 94585-4300                     6711 FIVE STAR BOULEVARD, SUITE E
                                                                                   ROCKLIN, CA 95677




SANTA ROSA TOWN CENTER, LLC              SANTAN MP, LP                             SANTAN MP, LP
DEPT. 34786                              C/O CP RETAIL, INC.                       C/O VESTAR PROPERTIES, INC.
PO BOX 39000                             ATTN: TANYA NIELSEN                       2425 EAST CAMELBACK ROAD, STE 750
SAN FRANCISCO, CA 94139                  429 SANTA MONICA BLVD STE 600             PHOENIX, AZ 85016
                                         SANTA MONICA, CA 90401



SANTAN MP, LP                            SANTAN MP, LP                             SANTANDER BANK N.A.
C/O VESTAR PROPERTIES, INC.              C/O VESTAR PROPERTIES, INC.               1130 BERKSHIRE BLVD
ATTN: AMBER KING, CSM                    ATTN: R. PATRICK MCGINLEY, SCSM           WYOMISSING, PA 19610
2000 EAST RIO SALADO PARKWAY, STE 1150   2425 E CAMELBACK RD STE 750
TEMPE, AZ 85281                          PHOENIX, AZ 85016



SANTANDER SAN JACINTO LTD.               SANTECH CONSTRUCTION CORPORATION          SANTEE COOPER
C/O FOBARE COMMERICIAL LTD.              1001 CITY AVENUE WB611                    1 RIVERWOOD DR
18111 PRESTON RD. STE 1000               WYNNEWOOD, PA 19096-3937                  MONCKS CORNER, SC 29461
DALLAS, TX 75252
SANTEE COOPER        Case 18-12241-CSS
                                    SANTEEDoc   26LP Filed 10/05/18
                                           RETAIL,                           PageSANTI
                                                                                  1415NOTANI
                                                                                       of 1739
P.O. BOX 188                        C/O SUDBERRY PROPERTIES, INC.                10201 S. MAIN STREET
MONCKS CORNER, SC 29461-0188        5465 MOREHOUSE DR 260                        HOUSTON, TX 77025
                                    SAN DIEGO, CA 92121-4714




SANTIAGO CARRION                     SANTIAGO HERNANDEZ                          SANTIAGO MARQUEZ AVELLANEDA
10201 S. MAIN STREET                 10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                           HOUSTON, TX 77025




SANTIAGO MORENO                      SANTIKOS LEGACY LTD.                        SANTIKOS LEGACY LTD.
10201 S. MAIN STREET                 C/O SANTIKOS INVESTMENTS                    ID 1114
HOUSTON, TX 77025                    18402 US HIGHWAY 281 NORTH, SUITE 229       PO BOX 659506
                                     SAN ANTONIO, TX 78259                       SAN ANTONIO, TX 78265-9506




SANTO DIMAURO                        SANTORO WHITMIRE, LTD.                      SANTOS CONTRERAS
10201 S. MAIN STREET                 ATTN: ANDREW J. GLENDON, ESQ.               10201 S. MAIN STREET
HOUSTON, TX 77025                    10100 W. CHARLESTON BLVD., SUITE 250        HOUSTON, TX 77025
                                     LAS VEGAS, NV 89135




SANTOS TOVAR                         SANTOSH GURUNG                              SANTOSH RAO
10201 S. MAIN STREET                 10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                           HOUSTON, TX 77025




SAPD ALARMS OFFICE                   SAQIB SAEED                                 SARA ALLAMADANI
315 S SANTA ROSA                     10201 S. MAIN STREET                        10201 S. MAIN STREET
SAN ANTONIO, TX 78207                HOUSTON, TX 77025                           HOUSTON, TX 77025




SARA BEIGHLEY                        SARA BLACK                                  SARA BRADLEY
10201 S. MAIN STREET                 10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                           HOUSTON, TX 77025




SARA DANIELEY                        SARA FIKE                                   SARA FULLER
10201 S. MAIN STREET                                                             1122 GEORGIA ST
HOUSTON, TX 77025                                                                COLLEGE STATION, TX 77840




SARA GREENHOE                        SARA HANSON                                 SARA HUBBARD
10201 S. MAIN STREET                 10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                           HOUSTON, TX 77025




SARA KERR                            SARA LOCKHART                               SARA MENDOZA
10201 S. MAIN STREET                 10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                           HOUSTON, TX 77025
SARA ROMERO            Case 18-12241-CSS    Doc 26
                                      SARA WILLIAMS      Filed 10/05/18   PageSARA
                                                                               1416 of 1739
                                                                                   WONG
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH ANN LONGWORTH                    SARAH ANN WALDEN                       SARAH BAKER
1741 HERMES ST                         10201 S. MAIN STREET                   10201 S. MAIN STREET
SAN DIEGO, CA 92154                    HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH BALLOR                           SARAH BELL                             SARAH BIASIOLLI-LEVINE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH BLEVINS                          SARAH BOYER                            SARAH BRADFORD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH BRAUNNS                          SARAH BROCKENBERRY                     SARAH BRYANT
10201 S. MAIN STREET                   10201 S. MAIN STREET                   3812 GRAND FORUS DRIVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                      LAND OLAKES, FL 34639




SARAH CALLOW                           SARAH CARTER                           SARAH COLONNA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   4336 BABCOCK AVE 101
HOUSTON, TX 77025                      HOUSTON, TX 77025                      STUDIO CITY, CA 91604




SARAH CROW                             SARAH DEHART                           SARAH DILALLO
10201 S. MAIN STREET                   6768 S GALLUP ST                       10201 S. MAIN STREET
HOUSTON, TX 77025                      LITTLETON, CO 80120                    HOUSTON, TX 77025




SARAH DIXON                            SARAH DVORAK                           SARAH FITZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH FORBES                           SARAH FREED                            SARAH GALVEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH GARDNER                          SARAH GOINS                            SARAH GONZALEZ
10201 S. MAIN STREET                   3023 HIDDEN MEADOW                     10201 S. MAIN STREET
HOUSTON, TX 77025                      SEGUIN, TX 78155                       HOUSTON, TX 77025
SARAH GRANIER           Case 18-12241-CSS
                                       SARAH Doc 26
                                             GUNTER      Filed 10/05/18   PageSARAH
                                                                               1417HANDY
                                                                                    of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH HARVEY                           SARAH HEASTY                           SARAH HUFF
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH J THOMAS                         SARAH JONES                            SARAH JORGENSEN
1435 WHITE HAWK RANCH DR               10201 S. MAIN STREET                   10201 S. MAIN STREET
BOULDER, CO 80303                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH KATE HICKS                       SARAH KELLY                            SARAH KENT
10201 S. MAIN STREET                   3115 BORDEAUX LN                       18538 SWEETMEADOW DR
HOUSTON, TX 77025                      CLEARWATER, FL 33759                   SPRING, TX 77379




SARAH KNICELEY                         SARAH KRISTINE ZIRKLE                  SARAH LEMAY
10201 S. MAIN STREET                   115 N NACHES AVE APT 201               10201 S. MAIN STREET
HOUSTON, TX 77025                      YAKIMA, WA 98901                       HOUSTON, TX 77025




SARAH LEWIS                            SARAH MACARTHUR                        SARAH MADDOX
10201 S. MAIN STREET                   15551 OAK SPRINGS RD                   10201 S. MAIN STREET
HOUSTON, TX 77025                      CHINO HILLS, CA 91709                  HOUSTON, TX 77025




SARAH MAHRLE-THOMAS                    SARAH MAK                              SARAH MALCHOW
1265 CUMBERLAND TRL                    838 S 35TH ST                          10201 S. MAIN STREET
OSHKOSH, WI 54904                      SOUTH BEND, IN 46615                   HOUSTON, TX 77025




SARAH MARTINEZ                         SARAH MICKLOS                          SARAH MILARDO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   61 BROOK ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                      RAYNHAM, MA 02767




SARAH MORA                             SARAH MOURER                           SARAH NEIL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SARAH NICOLE BREGMAN                   SARAH NIST                             SARAH PAQUIN
1425 NE WEDDLE LN                      836 1/2 N ALFRED ST                    10201 S. MAIN STREET
LEES SUMMIT, MO 64086                  LOS ANGELES, CA 90069                  HOUSTON, TX 77025
SARAH PRIOLO           Case 18-12241-CSS
                                      SARAH Doc  26 Filed 10/05/18
                                            ROBINSON                    PageSARAH
                                                                             1418RUTZEN
                                                                                  of 1739
                                       10201 S. MAIN STREET                 3010 POPLAR CIRCLE
                                       HOUSTON, TX 77025                    SHELBY, NC 28152




SARAH SANCHEZ                          SARAH SCHMIEDEKE                     SARAH SCHUMACHER
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




SARAH SEELY                            SARAH STEELE                         SARAH STEWART
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




SARAH STURGILL                         SARAH SWARD                          SARAH SWARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




SARAH TAYLOR                           SARAH TIERNEY                        SARAH UHLMANN
2636 WINDY POINT CT                    10201 S. MAIN STREET                 10201 S. MAIN STREET
LITTLE ELM, TX 75068                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SARAH WEST                             SARAH WHITE                          SARAH WOLFRAM
10201 S. MAIN STREET                   10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                    HOUSTON, TX 77025




SARAH WROBEL                           SARAH ZINKL                          SARAI GARCIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                 12324 PEORIA ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                    SUN VALLEY, CA 91352




SARASOTA COUNTY ENVIRONMENTAL          SARASOTA COUNTY PUBL UTILITIES       SARASOTA COUNTY PUBL UTILITIES
SERVICES                               1660 RINGLING BLVD                   P.O. BOX 31320
P.O. BOX 628255                        SARASOTA, FL 34240                   TAMPA, FL 33631-3320
ORLANDO, FL 32862-8255




SARASOTA COUNTY TAX COLLECTOR          SARENG HALIM                         SARITO GONZALEZ
101 S WASHINGTON BLVD                  10201 S. MAIN STREET                 10201 S. MAIN STREET
SARASOTA, FL 34236-6993                HOUSTON, TX 77025                    HOUSTON, TX 77025




SARPY COUNTY TAX COLLECTOR             SARPY COUNTY TREASURER               SASCHA D CARDER
ATTN: PROPERTY TAX DEPT.               1210 GOLDEN GATE DRIVE 1120          322 HIGHLAND DR
1210 GOLDEN GATE DRIVE 1120            PAPILLION, NE 68046                  ROCKWALL, TX 75087
PAPILLION, NE 68046
SASHA MCAFEE            Case 18-12241-CSS   Doc
                                       SASHANA   26 Filed 10/05/18
                                               CAMPBELL                     PageSAT-T-BOX
                                                                                 1419 of LP
                                                                                          1739
10201 S. MAIN STREET                   3209 GUNTHER AVE                         20540 HWY 46W STE 155 PMB 620
HOUSTON, TX 77025                      BRONX, NY 10469                          SPRING BRANCH, TX 78070




SATUS GROUP, LLC                       SATUUU TUIASOSOPO                        SATYAM MUENCH
202 S. LAKE AVENUE, SUITE 300          10201 S. MAIN STREET                     10201 S. MAIN STREET
PASADENA, CA 91101                     HOUSTON, TX 77025                        HOUSTON, TX 77025




SAUGUS MZL LLC                         SAUGUS SHOPPING CENTER INVESTMENTS       SAUL CASTILLO
C/O WINSLOW PROPERTY MGMT LLC          LLC                                      10201 S. MAIN STREET
80 HAYDEN AVE                          ATTN: GEORGE PAGOUNIS                    HOUSTON, TX 77025
LEXINGTON, MA 02421                    137 BALDGATE HILL RD
                                       NEWTON, MA 02459



SAUL CENTERS, INC.                     SAUL HOLDINGS LIMITED PARTNERSHIP        SAUL HOLDINGS LIMITED PARTNERSHIP
FRANCK NDONGO                          7501 WISCONSIN AVENUE, SUITE 1500E       C/O SAUL CENTERS, INC.
7501 WISCONSIN AVENUE, SUITE 1500E     BETHESDA, MD 20814-6522                  ATTN: LEGAL DEPARTMENT
BETHESDA, MD 20814                                                              7501 WISCONSIN AVENUE, SUITE 1500E
                                                                                BETHESDA, MD 20814-6522



SAUL HOLDINGS LTD PARTNERSHIP          SAUL HOLDINGS LTD PARTNERSHIP            SAUL HOLDINGS LTD PARTNERSHIP
7501 WISCONSIN AVE, STE 1500E          C/O SAUL CENTERS, INC.                   TMATTDI0-LMATTDI00
BETHESDA, MD 20814                     ATTN: LEGAL DEPARTMENT                   PO BOX 38042
                                       7501 WISCONSIN AVENUE, SUITE 1500E       BALTIMORE, MD 21297-8042
                                       BETHESDA, MD 20814-6522



SAUL MURILLO                           SAUL SUBSIDIARY I L.P.                   SAUL SUBSIDIARY I LTD PRTNRSHP
10201 S. MAIN STREET                   P.O. BOX 38042                           7501 WISCONSIN AVE, STE 1500E
HOUSTON, TX 77025                      BALTIMORE, MD 21297-8042                 BETHESDA, MD 20814




SAUNDRA CHOUDARY                       SAUSHAW SMITH                            SAV USA CORP
10201 S. MAIN STREET                   10201 S. MAIN STREET                     192 STEPHEN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                        LEVITTOWN, NY 11756




SAVANA JOHNSON                         SAVANAH BRAZZELL                         SAVANNAH BALL
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




SAVELIEV, ALEX                         SAVILLS STUDLEY INC                      SAVINO, FRANK
2006 BENSON AVE APT 4C                 ATTN: DIRECTOR OF OPERATIONS             432 ENFIELD CENTER ROAD
BROOKLYN, NY 11214-4824                333 CLAY ST STE 3700                     EAST ITHACA, NY 14850
                                       HOUSTON, TX 77002




SAVON CLEVELAND                        SAVON WILLIAMS                           SAVONA SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
SAVORN SEK               Case 18-12241-CSS   Doc
                                        SAWAYA    26
                                               BODY     Filed 10/05/18
                                                    & TRAILERS                 PageSAWGRASS
                                                                                    1420 of 1739
                                                                                            GATEWAY CENTER LTD
10201 S. MAIN STREET                     SAWAYA BODY & TRAILERS                     C/O STILES PROPERTY MGMT
HOUSTON, TX 77025                        5300 MONROE ST                             301 E LAS OLAS BLVD 5TH FLOOR MAIL
                                         DENVER, CO 80216                           ROOM
                                                                                    FORT LAUDERDALE, FL 33301



SAWHORSE MEDIA LLC                       SAWHORSE MEDIA LLC                         SAWNEE ELECTRIC MEMBERSHIP
588 BROADWAY STE 503                     PO BOX 21131                               543 ATLANTA HWY
NEW YORK, NY 10012                       NEW YORK, NY 10087-1131                    CUMMING, GA 30040




SAWNEE ELECTRIC MEMBERSHIP               SAWYER HEIGHTS VILLAGE LTD                 SAXON PARTNERS LLC
P.O. BOX 2252                            PO BOX 771149                              25 RECREATION DRIVE, SUITE 204
BIRMINGHAM, AL 35246-1204                HOUSTON, TX 77215                          HINGHAM, MA 02043




SAXON SHOPS, LLC                         SAXON SHOPS, LLC                           SAYDE BROOKS
340 S BEACH STE 140                      340 S. BEACH STREET, SUITE 140             8732 NW 84TH ST
DAYTONA BEACH, FL 32114                  DAYTONA BEACH, FL 32114                    OKLAHOMA CITY, OK 73132




SAYED MUSTAFA                            SAYVON FOSTER                              SB ACQUISITION COMPANY LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                       DBA SOUTHLAND BATTERY
HOUSTON, TX 77025                        HOUSTON, TX 77025                          6311 ANTOINE DR
                                                                                    HOUSTON, TX 77091




SB MANAGEMENT CORPORATION                SB&C LTD                                   SBBH8 LLC
433 N. CAMDEN DRIVE, SUITE 800           PO BOX 519                                 C/O TRIBEK PROPERTIES, INC.
BEVERLY HILLS, CA 90210                  MOUNT VERNON, WA 98273                     101 S KINGS DR STE 200
                                                                                    CHARLOTTE, NC 28204




SBBH8 LLC                                SBR BROADCASTING CORP                      SC COLUMBIA HARBISON II LLC
C/O TRIBEK PROPERTIES, INC.              1940 ORANGE TREE LN STE 200                550 SOUTH MAIN ST STE 300
101 S. KINGS DRIVE, SUITE 200            REDLANDS, CA 92374                         GREENVILLE, SC 29601
CHARLOTTE, NC 28204




SC DEPARTMENT OF REVENUE                 SC DMV                                     SC GREENVILLE HWY 146 LLC
OFFICE OPERATIONS                        PO BOX 1498                                550 SOUTH MAIN ST STE 300
COLUMBIA, SC 29214-0004                  10311 WILSON BLVD                          GREENVILLE, SC 29601
                                         BLYTHEWOOD, SC 29016-0024




SC MOTA ASSOCIATE LP                     SC MOTA ASSOCIATES LIMITED                 SC N MYRTLE BEACH 11TH AVE LP
C/O STERLING RETAIL SERVICES INC         PARTNERSHIP                                550 S MAIN ST STE 300
7827 W FLAGER ST MALL OFFICE             C/O SC MOTA ASSOCIATES LP                  GREENVILLE, SC 29601
MIAMI, FL 33144                          ATTN: GREG MOROSS
                                         340 ROYALL POINCIANA WAY, SUITE 316
                                         PALM BEACH, FL 33480


SC N MYRTLE BEACH 11TH AVE LP            SC NORTH MYRTLE BEACH RETAIL, LP           SC REDMOND WAY LLC
BRANCH PROPERTIES LLC                    C/O REALTYLINK, LLC                        4010 EAST MERCER WAY
PO BOX 936176                            ATTN: LEGAL DEPARTMENT                     MERCER ISLAND, WA 98040
ATLANTA, GA 31193-6176                   550 S. MAIN STREET, SUITE 300
                                         GREENVILLE, SC 29601
SC WINDSOR SQUARE, LLCCase 18-12241-CSS    Doc SQUARE,
                                     SC WINDSOR  26 FiledLLC 10/05/18     PageSC4,
                                                                               1421LLCof 1739
ATTN: GREG MOROSS                    JPMORGAN CHASE BANK LOCKBOX               117 EAST LOUISA STREET, SUITE 230
340 ROYAL POINCIANA WAY, SUITE 316   PO BOX 864067                             SEATTLE, WA 98102
PALM BEACH, FL 33480                 ORLANDO, FL 32886-4067




SCALES INDUSTRIAL TECHNOLOGIES LLC    SCAN AGAIN INC                           SCANA ENERGY
339 CLARK ST                          DEPT CH 16866                            220 OPERATION WAY
PO BOX 820                            PALATINE, IL 60055-6866                  CAYCE, SC 29033-3701
MILLDALE, CT 06467




SCANA ENERGY                          SCANA-SCE&G                              SCANLIN SIGN SERVICE INC
P.O. BOX 100157                       P.O. BOX 100255                          13123 MULA COURT
COLUMBIA, SC 29202-3157               COLUMBIA, SC 29202-3255                  STAFFORD, TX 77477




SCARAFONI ASSOCIATES NC, INC.         SCARAFONI ASSOCIATES NC, INC.            SCARLET INVESTMENTS RLLC
C/O COLDWELL BANKER COMMERCIAL SCP    C/O COLDWELL BANKER COMMERCIAL SCP       ATTN: VICTORIA MARSHALL
1430 COMMONWEALTH DR                  1430 COMMONWEALTH DRIVE, SUITE 102       700 S CHIMNEY CANYON DR
WILMINGTON, NC 28403                  WILMINGTON, NC 28403                     TUCSON, AZ 85748




SCARLETT ALVAREZ                      SCARLETT SPEIGHT                         SCATTERFIELD ROAD ASSOCIATES, LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET                     33 W. 10TH STREET, SUITE 800
HOUSTON, TX 77025                     HOUSTON, TX 77025                        ANDERSON, IN 46016




SCATTERFIELD ROAD ASSOCIATES, LLC     SCATTERFIELD ROAD ASSOCIATES, LLC        SCC INVESTMENTS II, LLC
P.O. BOX 639                          P.O. BOX 639                             C/O SOUTH COUNTY MGMT
ANDERSON, IL 46015-0639               ANDERSON, IN 46015-0639                  50 S COUNTY COMMONS WAY E4
                                                                               SOUTH KINGSTOWN, RI 02879




SCD 1 LLC                             SCE&G                                    SCE&G
C/O STONECREST SERVICES LTD           220 OPERATION WAY                        P.O. BOX 100255
595 ROUND ROCK WEST STE 701           CAYCE, SC 29033-3701                     COLUMBIA, SC 29202-0325
ROUND ROCK, TX 78681




SCENT AIR                             SCGIII - SUNSET, LLC                     SCG-NORTH RIVERS, LLC
PO BOX 906032                         3715 NORTHSIDE PARKWAY                   C/O SOUTH COAST MANAGEMENT, LLC
CHARLOTTE, NC 28290                   NORTHCREEK 200, SUITE 650                P.O. BOX 724498
                                      ATLANTA, GA 30327                        ATLANTA, GA 31139




SCGV BAY MEADOWS LLC                  SCGVII-ST. ANDREWS, LLC                  SCHANTALE SELLERS
PO BOX 724498                         C/O SOUTH COAST MGMT LLC                 10201 S. MAIN STREET
ATLANTA, GA 31139                     P.O. BOX 724498                          HOUSTON, TX 77025
                                      ATLANTA, GA 31139




SCHARAY INC                           SCHAUMBERG CORNERS LLC                   SCHAUMBURG CORNERS LLC
107-43 160TH ST                       C/O CBRE-ASSET SERVICES                  CBRE-ASSET SRVS/ATTN: NENA HAMILTON
JAMAICA, NY 11433                     700 COMMERCE DRIVE, SUITE 450            PO BOX 310688
                                      ATTN: NENA HAMILTON                      DES MOINES, IA 50331-0688
                                      OAK BROOK, IL 60523
                    Case
SCHAUMBURG CORNERS LLC       18-12241-CSS   Doc 26
                                       SCHAUMBURG     Filed
                                                  COURT      10/05/18
                                                        LIMITED               PageSCHENK
                                                                                   1422 of 1739
                                                                                         ANNES TEPPER CAMPBELL LTD.
N 9274 WINDY WAY                        PARTNERSHIP                                ATTN: ANDREW J. ANNES, ESQ.
MUKWONAGO, WI 53149                     C/O SHINER MANAGEMENT GROUP, INC.          311 SOUTH WACKER DRIVE, SUITE 2500
                                        3201 OLD GLENVIEW ROAD, SUITE 301          CHICAGO, IL 60606
                                        WILMETTE, IL 60091



SCHERERVILLE MAIN STREET, LLC           SCHILLING DRIVE LLC                        SCHILLING DRIVE LLC
C/O CLOVERLEAF GROUP                    ATTN: PATRICK BOUHETTE                     ATTN: THOMAS J. AUGER
666 DUNDEE RD., SUITE 901               319 RIDGE ROAD                             319 RIDGE ROAD
NORTHBROOK, IL 60062-2735               WALES, ME 04280                            WALES, ME 04280




SCHINDLER ELEVATOR CORP.                SCHLIENTZ, DARRAL                          SCHMIDT, LISA
P.O. BOX 93050                          5300 NE CULLY BLVD #55                     1054 WYOMING AVE
CHICAGO, IL 60673-3050                  PORTLAND, OR 97218-3083                    EXETER, PA 18643-1951




SCHMIDT, ROBERT                         SCHNEIDER ELECTRIC                         SCHNEIDER NATIONAL INC
140 WINTER PARK LN                      26385 NETWORK PLACE                        2567 PAYSPHERE CIRCLE
WEST PALM BEACH, FLORIDA 33410-6349     CHICAGO, IL 60673-1263                     CHICAGO, IL 60674




SCHNEIDER NATIONAL INC                  SCHNEIDER NATIONAL INC                     SCHNEIDER, SMELTZ, RANNEY & LAFOND
PO BOX 281496                           PO BOX 841831                              ATTN: JOSEPH P. GIBBONS
ATLANTA, GA 30384-1496                  DALLAS, TX 75284-1831                      1111 SUPERIOR AVENUE, SUITE 1000
                                                                                   CLEVELAND, OH 44114




SCHOCK LOGISTICS INC                    SCHOOL DISTRICT INCOME TAX                 SCHOOLCRAFT COMMERCIAL REAL
PO BOX 1710                             OHIO DEPARTMENT OF TAXATION                ESTATE SERVICES
BEND, OR 97709                          PO BOX 182388                              ATTN: KIM ANDERSEN
                                        COLUMBUS, OH 43218-2388                    586 S. SR 135, SUITE G
                                                                                   GREENWOOD, IN 46142



SCHOTTENSTEIN PROPERTY GROUP LLC        SCHOTTENSTEIN PROPERTY GROUP LLC           SCHOTTENSTEIN PROPERTY GROUP LLC
ATTN: JENNIFER COPLEY                   ATTN: LEASE ADMINSTRATION                  ATTN: MARK UNGAR
4300 EAST 5TH AVENUE                    4300 EAST 5TH AVENUE                       4300 EAST 5TH AVENUE
COLUMBUS, OH 43219                      COLUMBUS, OH 43219                         COLUMBUS, OH 43219




SCHOTTENSTEIN REALTY LLC                SCHOVAJSAS CATERING & PROCESSING           SCHRIMSHER MANAGEMENT
4300 E FIFTH AVE                        PO BOX 13                                  600 E. COLONIAL DRIVE, 100
COLUMBUS, OH 43219                      BLEIBLERVILLE, TX 78931                    ORLANDO, FL 32803




SCHRODER & STROM LLP                    SCHUETZ VENTURES I, INC.                   SCHUETZ VENTURES I, INC.
114 OLD COUNTRY RD STE 218              C/O LENETTE REALTY & INVESTMENT CO.        C/O LENETTE REALTY & INVESTMENT CO.
MINEOLA, NY 11501                       ATTN: KENNETH A. GOLDBERG                  ATTN: KENNETH A. GOLDBERG
                                        1401 S BRENTWOOD BLVD STE 520              1401 S BRENTWOOD BLVD STE 520
                                        SAINT LOUIS, MO 63144                      ST. LOUIS, MO 63144



SCHULSKY PROPERTIES, INC.               SCHULTE CONSTRUCTION                       SCHULTZE & ASSOCIATES, LP
JEWEL KING                              6315 OAK HILL DR.                          C/O ALLIANCE COMMERCIAL PROPERTIES
192 LEXINGTON AVENUE                    GRANITE BAY, CA 95746                      408 ½ STATE STREET
NEW YORK, NY 10016                                                                 GREENSBORO, NC 27405
SCHULTZE & ASSOCIATES,Case
                      LP    18-12241-CSS
                                      SCHUR Doc   26 Filed
                                             MANAGEMENT     10/05/18
                                                        CO. LTD        PageSCHWARTZ
                                                                            1423 of 1739
                                                                                    FAMILY PARTNERSHIP
C/O ALLIANCE COMMERCIAL PROPERTY      2432 GRAND CONCOURSE                  DBA SFP PATRIOT VILLAGE LLC
MGMT                                  BRONX, NY 10458                       3190 DOOLITTLE DR
P.O. BOX 9537                                                               NORTHBROOK, IL 60062
GREENSBORO, NC 27429



SCI ITC SOUTH FUND, LLC              SCI ITC SOUTH FUND, LLC                SCI PRICE PLAZA FUND LLC PRICE PLAZA
C/O CBRE                             FAMECO MANAGEMENT SERVICES             P.O. BOX 57424
P.O. BOX 57424                       P.O. BOX 57424                         PHILADELPHIA, PA 19111-7424
PHILADELPHIA, PA 19111               PHILADELPHIA, PA 19111-7424




SCIEMUS                              SCIITCSOUTH FUND LLC                   SCMA/NTIF
C/O OCCAM UNDERWRITING               P.O. BOX 57424                         7324 GASTON AVE 124-382
52 CORNHILL                          PHILADELPHIA, PA 19111                 DALLAS, TX 75214
LONDON EC3V 3PD
UNITED KINGDOM



SCOOTER NELSON                       SCOT SOURS                             SCOTT A HAWLEY
10201 S. MAIN STREET                 10201 S. MAIN STREET                   2270 FIRST ST APT 39
HOUSTON, TX 77025                    HOUSTON, TX 77025                      FORT MYERS, FL 33901




SCOTT ADAMS                          SCOTT ADLER                            SCOTT AGNEW
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT ALJIAN                         SCOTT ALLEN                            SCOTT ALLEN
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT AUTRY                          SCOTT BAGLEY                           SCOTT BAISH
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT BAJSEC                         SCOTT BALFOUR                          SCOTT BAYREDER
10201 S. MAIN STREET                 102 CUMBERLAND ST                      10201 S. MAIN STREET
HOUSTON, TX 77025                    WESTBROOK, ME 04092                    HOUSTON, TX 77025




SCOTT BOOKSPAN                       SCOTT BOUKNIGHT                        SCOTT BOYER
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT BRADLEY                        SCOTT BROOKS                           SCOTT BURKHARDT
10201 S. MAIN STREET                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                      HOUSTON, TX 77025
SCOTT BURKHOLDER       Case 18-12241-CSS    Doc 26
                                      SCOTT CARLISLE     Filed 10/05/18   PageSCOTT
                                                                               1424COLE
                                                                                    of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT CONARD                           SCOTT CONRAD                           SCOTT COUNTY
134 METCALF LANE                       10201 S. MAIN STREET                   ATTN: CUSTOMER SERVICE DEPT
TAZEWELL, TN 37879                     HOUSTON, TX 77025                      200 4TH AVE W
                                                                              SHAKOPEE, MN 55379




SCOTT D RAULS                          SCOTT DAVIS                            SCOTT DELONGCHAMP
1332 WELLS STATION                     10201 S. MAIN STREET                   10201 S. MAIN STREET
MEMPHIS, TN 38108                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT DOBRIN                           SCOTT DUQUETTE                         SCOTT DURHAM
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT DURHAM                           SCOTT EBNER                            SCOTT FOWLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT FOX                              SCOTT GENERAL CONTRACTING CO           SCOTT GENTILCORE
10201 S. MAIN STREET                   11535 W 183RD PLACE SUITE 121          10201 S. MAIN STREET
HOUSTON, TX 77025                      ORLAND PARK, IL 60467                  HOUSTON, TX 77025




SCOTT GILMER                           SCOTT GOLDMAN                          SCOTT GRAHAM
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT GRIPPI                           SCOTT GURGANUS                         SCOTT HANSEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT HAWLEY                           SCOTT HEIMER                           SCOTT HENSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT HERLIHY                          SCOTT HIGGINS                          SCOTT HIGNITE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
SCOTT HOUSE            Case 18-12241-CSS    Doc 26
                                      SCOTT HURT        Filed 10/05/18   PageSCOTT
                                                                              1425HYDER
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT IRESON                          SCOTT JONES                            SCOTT KAATMANN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT KATHER                          SCOTT KEITH                            SCOTT KENNAN
18 CALENDULA                          10201 S. MAIN STREET                   10201 S. MAIN STREET
RANCHO SANTA MARGARITA, CA 92688      HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT KISS                            SCOTT KREITZER                         SCOTT KURTZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT LAWRENCE                        SCOTT LETURNO                          SCOTT LUNCEFORD
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT MCCOLLOCH                       SCOTT MCGAUVRAN                        SCOTT MCKENNA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   DBA THATS CLEAR WINDOW CLEANING LLC
HOUSTON, TX 77025                     HOUSTON, TX 77025                      10635 WINDHURST CIRCLE
                                                                             HIGHLANDS RANCH, CO 80126




SCOTT MCKINNEY                        SCOTT MCKINNEY                         SCOTT MCMAHON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT MILLER                          SCOTT MIMS                             SCOTT MOORE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SCOTT MUNSON                          SCOTT MURPHY                           SCOTT MUSCH
10201 S. MAIN STREET                  10201 S. MAIN STREET                   DISTRICT MANAGER-NEW ORLEANS
HOUSTON, TX 77025                     HOUSTON, TX 77025                      3700 ORLEANS AVE 5249
                                                                             NEW ORLEANS, LA 70119




SCOTT N BAJSEC                        SCOTT OSBORNE                          SCOTT PEREZ
1721 BERRYDALE ST                     10201 S. MAIN STREET                   10201 S. MAIN STREET
EL CAJON, CA 92021                    HOUSTON, TX 77025                      HOUSTON, TX 77025
SCOTT PITTS            Case 18-12241-CSS    Doc 26
                                      SCOTT POLING         Filed 10/05/18   PageSCOTT
                                                                                 1426POWERS
                                                                                      of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




SCOTT PURCELL                         SCOTT R DININ P.A.                        SCOTT REARDON
10201 S. MAIN STREET                  4200 NW 7TH AVE                           10201 S. MAIN STREET
HOUSTON, TX 77025                     MIAMI, FL 33127                           HOUSTON, TX 77025




SCOTT RICHARDSON                      SCOTT RISTOW                              SCOTT ROBINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




SCOTT ROGERS                          SCOTT RYDZESKI                            SCOTT S GREGG
10201 S. MAIN STREET                  10201 S. MAIN STREET                      543 CENTRAL AVE APT 2R
HOUSTON, TX 77025                     HOUSTON, TX 77025                         PAWTUCKET, RI 02861




SCOTT SALMOND                         SCOTT SANDS                               SCOTT SANGLIER-WILEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




SCOTT SAPP                            SCOTT SCHAFFER                            SCOTT SELLERS
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




SCOTT SENSKY                          SCOTT STEWART                             SCOTT STOTTS
16615 BLUE VISTA DR                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77095                     HOUSTON, TX 77025                         HOUSTON, TX 77025




SCOTT TAYLOR                          SCOTT THALER                              SCOTT TOUSSAINT
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




SCOTT UM                              SCOTT VALENCIA                            SCOTT VANCAMPEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




SCOTT VENEGAS                         SCOTT WARD                                SCOTT WARD
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025
SCOTT WARD             Case 18-12241-CSS    Doc 26
                                      SCOTT WASTE     FiledLLC
                                                  SERVICES   10/05/18
                                                               - DIST 6052 PageSCOTT
                                                                                1427WASTE
                                                                                     of 1739
                                                                                          SERVICES LLC - DIST 6052
10201 S. MAIN STREET                     1212 EASTLAND ST                        P.O. BOX 660177
HOUSTON, TX 77025                        BOWLING GREEN, KY 42102-0447            DALLAS, TX 75266-0177




SCOTT WHIPKEY                            SCOTT WINDERS                           SCOTT WOOLF
10201 S. MAIN STREET                     10201 S. MAIN STREET                    32 WEST MAPLE CT
HOUSTON, TX 77025                        HOUSTON, TX 77025                       CONCORD, MA 01742




SCOTT YANCY                              SCOTT ZEMANTIC                          SCOTTDALE 101
10201 S. MAIN STREET                     10201 S. MAIN STREET                    SCOTTSDALE 101 RETAIL LLC
HOUSTON, TX 77025                        HOUSTON, TX 77025                       PO BOX 52617
                                                                                 PHOENIX, AZ 85072-2617




SCOTTIE DEAN                             SCOTTS DELIVERY SERVICES                SCOTTS SEAFOOD GRILL AND BAR
10201 S. MAIN STREET                     TOMYKA L. SCOTT                         1333 N CALIFORNIA BLVD
HOUSTON, TX 77025                        114 ST. CHARLES WAY                     WALNUT CREEK, CA 94596
                                         GOOSE CREEK, SC 29445




SCOTTSDALE 101 RETAIL LLC                SCOTTSDALE FIESTA RETAIL CENTER LLC     SCOTTSDALE FIESTA RETAIL CENTER LLC
PO BOX 52617                             C/O HANNAY REALTY ADVISORS              C/O HANNAY REALTY ADVISORS
PHOENIX, AZ 85072-2617                   1700 BROADWAY STE 650                   ATTN: PROPERTY MANAGER
                                         DENVER, CO 80290                        2999 NORTH 44TH STREET, SUITE 400
                                                                                 PHOENIX, AZ 85018



SCOTTSDALE PAVILIONS                     SCOTTSDALE/ 101 ASSOC LLC               SCOTTY BRASSFIELD
C/O DE RITO PAVILIONS 139 LLC            SCOTTSDALE & 101                        10201 S. MAIN STREET
3200 E CAMELBACK RD                      P.O. BOX 52617                          HOUSTON, TX 77025
PHOENIX, AZ 85018                        PHOENIX, AZ 85072-2617




SCOTTY BRASSFIELD                        SCOTTY CREELMAN                         SCOTTY KOZIOL
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




SCOTTY L BASS                            SCOTTY SCOTT                            SCP MF ASHEBORO, LLC
C/O HOMETEK SERVICES                     10201 S. MAIN STREET                    635 MALTBY AVE
2704 TARBERT CT.                         HOUSTON, TX 77025                       NORFOLK, VA 23504
WILMINGTON, NC 28411




SCP MF ASHEBORO, LLC                     SCP MF ASHEBORO, LLC                    SCP REALTY FUND -1 GURNEE LLC
C/O SUCCESSION CAPITAL PARTNERS, LLC     C/O SUCCESSION CAPITAL PARTNERS, LLC    C/O SHINER MGMT GROUP INC
635 MABRY AVENUE                         635 MALTBY AVE                          3201 OLD GLENVIEW RD STE 301
NORFOLK, VA 23504                        NORFOLK, VA 23504                       WILMETTE, IL 60091




SCP SL PLAZA TX LTD                      SCRANTON TIMES LP                       SCRIBE ENTERPRISES, INC.
WULFE MGMT SERVICES INC                  DBA TIMES SHAMROCK RADIO                426 S. MILITARY TRAIL
1800 POST OAK BLVD 6 BLVD PL STE 400     149 PENN AVE 5TH FL                     DEERFIELD BEACH, FL 33442
HOUSTON, TX 77056                        SCRANTON, PA 18503
SCRIBE RIVIERA, J.V.  Case    18-12241-CSS    Doc
                                        SCRIPPS    26 Filed 10/05/18
                                                EVANSVILLE                     PageSCRIPPS
                                                                                    1428 of  1739
                                                                                           MEDIA INC BOISE
6761 W INDIANTOWN RD STE 29             PO BOX 630871                               PO BOX 5380
JUPITER, FL 33458                       CINCINNATI, OH 45263-0871                   CINCINNATI, OH 45201




SCRIPPS MEDIA INC                       SCRIPPS MEDIA INC                           SCRIPPS MEDIA INC
DBA KTTS-FM                             DBA WICHITA FALLS TIMES RECORD NEWS         KQTH-FM
PO BOX 5380                             312 WALNUT STREET                           PO BOX 5380
CINCINNATI, OH 45201                    CINCINNATI, OH 45202                        CINCINNATI, OH 45201




SCRIPPS MEDIA INC                       SCRIPPS MEDIA KNOXVILLE                     SCRIPPS MEDIA WICHITA
PO BOX 203596                           PO BOX 203589                               PO BOX 203578
DALLAS, TX 75320-3596                   DALLAS, TX 75320-3569                       DALLAS, TX 75320-3578




SCRIPPS MEDIA WICHITA                   SCRIPPS MEDIA, INC DBA KMGH-TV              SCRIPPS NEWSPAPER OPERATING CO
PO BOX 5380                             312 WALNUT STREET                           KNOXVILLE NEWS SENTINEL
CINCINNATI, OH 45201                    CINCINNATI, OH 45202                        2332 NEWS SENTINEL DR
                                                                                    KNOXVILLE, TN 37921




SCRIPPS-ABILENE                         SCT WASHINGTON CROSSING, LLC                SCT WASHINGTON CROSSING, LLC
DBA ABILENE REPORTER NEWS               C/O FOUNDRY COMMERCIAL LLC                  C/O FOUNDRY COMMERCIAL LLC
PO BOX 30                               420 S. ORANGE AVE, SUITE 950                PO BOX 6230
ABILENE, TX 79604                       ORLANDO, FL 32801                           ORLANDO, FL 32802




SD RANCH, LLC                           SD1                                         SD1
C/O KITCHELL DEVELOPMENT CO             1045 EATON DR                               P.O. BOX 12112
ATTN: ROB SCHRAMM                       FT WRIGHT, KY 41017                         COVINGTON, KY 41012-0112
1707 E HIGHLAND AVE STE 100
PHOENIX, AZ 85016



SDC CENTRAL CORP LLC                    SDC CENTRAL CORP LLC                        SDCTTC
ATTN: RENT DEPT-CHRISTINA BAKER         ATTN: RENT DEPT-CHRISTINA BAKER             SAN DIEGO COUNTY
11540 US HWY 92 E                       11540 US HWY 92 E                           PO BOX 129009
SEFFNER, FL 33583                       SEFFNER, FL 33584                           SAN DIEGO, CA 92112




SDG DOWNERS GROVE LLC                   SDI MILLENIA LLC                            SDI MISSOURI CITY HOLDINGS, LLC
& SDG OSWEGO A LLC                      C/O SUDBERRY PROPERTIES, INC.               1800 WEST LOOP SOUTH, SUITE 1850
ATTN: LOUIS SCHRIBER III                5465 MOREHOUSE DRIVE, SUITE 260             HOUSTON, TX 77027
2150 EAST LAKE COOK ROAD, SUITE 820     SAN DIEGO, CA 92121-4714
BUFFALO GROVE, IL 60089



SDI REALTY                              SDI, LLC                                    SDR ASSOCIATES, LLP
PETER SISAN                             BARBARA SCOTT                               ATTN: THEO SMITH
1800 WEST LOOP SOUTH, SUITE 1850        14000 HORIZON WAY, SUITE 100                310 S WILLIAMS BLVD STE 180
HOUSTON, TX 77027                       MOUNT LAUREL, NJ 08054                      TUCSON, AZ 85711




SEA ISLAND DEVELOPMENT CO.              SEA PROPERTY MANAGEMENT CO.                 SEACOAST MEDIA GROUP
10010 SAN PEDRO, SUITE 650              1333 CAMINO DEL RIO SOUTH, SUITE 310        PO BOX 223592
SAN ANTONIO, TX 78216                   SAN DIEGO, CA 92108                         PITTSBURGH, PA 15251-2592
SEACOAST SHOPPING CTRCase     18-12241-CSS
                        LTD PRTN               DocUTILITY
                                        SEACOAST    26 AUTHORITY
                                                          Filed 10/05/18   PageSEACOAST
                                                                                1429 of UTILITY
                                                                                        1739 AUTHORITY
VALLEY VIEW MALL SPE LLC                4200 HOOD RD                           4200 HOOD ROAD
2030 HAMILTON PLACE BLVD STE 500        PALM BEACH GARDENS, FL 33410           PALM BEACH GARDENS, FL 33410-2174
CHATTANOOGA, TN 37421-6000




SEAGATE PROPERTIES, INC.                SEAGATE TRUCKING INC                   SEAHAWK DESIGN
1950 ADDISON STREET, SUITE 101          1204 5TH ST                            6560 VAN BURREN BLVD STE G
BERKELEY, CA 94704                      WEST BABYLON, NY 11704                 RIVERSIDE, CA 92503




SEAHAWK DESIGNS INC                     SEALY & COMPANY LLC                    SEALY & COMPANY LLC
6560 VAN BUREN BLVS STE G               310 S WILLIAMS BLVD STE 180            ATTN: SEALY RIDER TRAIL NORTH, LLC
RIVERSIDE, CA 92503                     DALLAS, TX 75225                       8401 NORTH CENTRAL EXPRESSWAY, SUITE
                                                                               150
                                                                               DALLAS, TX 75225



SEALY MATTRESS COMPANY                  SEALY MATTRESS COMPANY                 SEALY MATTRESS MANUFACTURING
C/O SEYFARTH SHAW LLP                   C/O SEYFARTH SHAW LLP                  COMPANY
ATTN: ROBERT CARTY JR.                  ATTN: WILLIAM BERKOWITZ                PO BOX 931855
700 MILAM STREET, SUITE 1400            TWO SEAPORT LANE, SUITE 300            ATLANTA, GA 31193-1855
HOUSTON, TX 77002                       BOSTON, MA 02210



SEALY RIDER TRAIL NORTH LLC             SEALY RIDER TRAIL NORTH LLC            SEALY TECHNOLOGY LLC
333 TEXAS ST STE 1050                   PO BOX 74136                           C/O SEYFARTH SHAW LLP
SHREVEPORT, LA 71101                    CLEVELAND, OH 44194-4136               ATTN: ROBERT CARTY JR.
                                                                               700 MILAM STREET, SUITE 1400
                                                                               HOUSTON, TX 77002



SEALY TECHNOLOGY LLC                    SEAMUS REALTY INC.                     SEAN & CO, LP
C/O SEYFARTH SHAW LLP                   C/O FINE LAW                           2304 BRODHEAD ROAD
ATTN: WILLIAM BERKOWITZ                 ATTN: CHARLES FINE                     ALIQUIPPA, PA 15001
TWO SEAPORT LANE, SUITE 300             MELVILLE, NY 11747
BOSTON, MA 02210



SEAN & CO, LP                           SEAN AYARS                             SEAN B BATRA
P.O. BOX 338                            10201 S. MAIN STREET                   10201 S. MAIN STREET
BEAVER, PA 15009                        HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN BAGUIO                             SEAN BALLENGER                         SEAN BRATCHER
10201 S. MAIN STREET                    2645 BARNDANCE                         10201 S. MAIN STREET
HOUSTON, TX 77025                       SANTA ROSA, CA 95407                   HOUSTON, TX 77025




SEAN BUSH                               SEAN CALLAHAN                          SEAN CHANCE
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN CLEM                               SEAN CLIFFORD                          SEAN CLOWERS
1521 PREUSSER ST                        10201 S. MAIN STREET                   10201 S. MAIN STREET
SAN ANGELO, TX 76903                    HOUSTON, TX 77025                      HOUSTON, TX 77025
SEAN CLUNE             Case 18-12241-CSS    Doc 26
                                      SEAN CONNORS      Filed 10/05/18   PageSEAN
                                                                              1430  of 1739
                                                                                  CRAIG
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN CRISS                            SEAN DANIELS                           SEAN DAVIS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN DEGAN                            SEAN FANNING                           SEAN FANTOZZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN FARRELL                          SEAN FARRELL                           SEAN FOLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN FOSTER                           SEAN GARABEDIAN                        SEAN GILBERT
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN GUERIN                           SEAN HEENEY                            SEAN JAIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN JOHNSON                          SEAN JOHNSON                           SEAN JONKER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN KELLY                            SEAN KENNEDY                           SEAN KUBICEK
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN LAFOUNTAIN                       SEAN LARSON                            SEAN LAWTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN LESCOE                           SEAN LINDO                             SEAN LINN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
SEAN LONG              Case 18-12241-CSS
                                      SEAN MDoc
                                            WILEY26      Filed 10/05/18   PageSEAN
                                                                               1431  of 1739
                                                                                   MAROLDO
10201 S. MAIN STREET                   1623 UPPER KIND RD                     10201 S. MAIN STREET
HOUSTON, TX 77025                      FELTON, DE 19943                       HOUSTON, TX 77025




SEAN MCCLEAVER                         SEAN MCCORMICK                         SEAN MCCREARY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN MCINTYRE                          SEAN MILLER                            SEAN MOHAMMED
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN NOGUCHI                           SEAN NORCROSS                          SEAN NORONHA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN OCONNELL                          SEAN OSINSKI                           SEAN PATRICK VO LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                   13303 SLEEPY CREEK MEADOW
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77083




SEAN PEERLESS                          SEAN PENDLETON                         SEAN POPE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN POWERS                            SEAN POWERS                            SEAN POWERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN RICHTER                           SEAN RITTER                            SEAN ROBERTS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN ROBERTSON                         SEAN ROMERO                            SEAN SACCO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   570 LANCASTER DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                      RENO, NV 89506




SEAN SATERFIEL                         SEAN SCHWARZ                           SEAN SCOTT
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
SEAN SCOTT             Case 18-12241-CSS    Doc 26
                                      SEAN SHEPPARD      Filed 10/05/18   PageSEAN
                                                                               1432  of 1739
                                                                                   SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN SPENCER                           SEAN TOBIN                             SEAN WASHBURN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN WEBB                              SEAN WHALEN                            SEAN WHEELER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   3066 ASH WAY
HOUSTON, TX 77025                      HOUSTON, TX 77025                      SEDRO WOOLLEY, WA 98284




SEAN WILCOX                            SEAN YOUNG                             SEAN YOUSSEF
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SEAN-CLAUDE COLEMAN                    SEANPAUL RUSHING                       SEARCH SMART, LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                   7050 LAKEVIEW HAVEN DRIVE SUITE 122
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77095




SEARS ROEBUCK AND CO                   SEASON LEEF                            SEATTLE HOME SHOW 2
ACCTNS PAYABLE CENTER UNIT             10201 S. MAIN STREET                   1250 112TH AVE. NE
PO BOX 660200                          HOUSTON, TX 77025                      BELLEVUE, WA 98004
DALLAS, TX 75266-0200




SEATTLE PUBLIC UTILITIES               SEATTLE TIMES COMPANY                  SEAVIEW ACQUISITION, LLC
SEATTLE HILL ROAD                      1000 DENNY WAY                         C/O WHARTON REALTY GROUP, INC.
P.O. BOX 34018                         SEATTLE, WA 98109                      ATTN: ISAAC MASSRY
SEATTLE, WA 98124                                                             8 INDUSTRIAL WAY EAST, 2ND FLOOR
                                                                              EATONTOWN, NJ 07724



SEB SERVICES OF NEW YORK INC           SEBASTIAN BAREHAND                     SEBASTIAN BENITEZ
8 REVOLUTIONARY RD                     10201 S. MAIN STREET                   10201 S. MAIN STREET
OSSINING, NY 10562                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEBASTIAN CORNERS RETAIL CENTER LLC    SEBASTIAN COUNTY ARKANSAS              SEBASTIAN KNIGHT-SCOTT
426 SE 6TH ST                          TAX COLLECTOR                          10201 S. MAIN STREET
DANIA BEACH, FL 33004                  PO BOX 1358                            HOUSTON, TX 77025
                                       FORT SMITH, AR 72902-1352




SEBASTIAN MANTEAU                      SEBASTIAN MEDINA                       SEBASTIAN VACA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
SEBASTIEN SLEK           Case 18-12241-CSS    Doc
                                        SEBRING    26 LLC
                                                LANDING Filed 10/05/18        PageSEBRING
                                                                                   1433 ofLANDING
                                                                                            1739 LLC
1838 N BEL AIRE DR                       C/O CREC                                  PO BOX 865037
BURBANK, CA 91504                        2301 LUCIEN WAY STE 100                   ORLANDO, FL 32886
                                         MAITLAND, FL 32751




SEBRING RETAIL ASSOCIATES LLC            SEC COMMERCIAL REALTY GROUP               SECO ENERGY
CO SUN ATLANTIC DEVELOPMENT LLC          7284 WEST PALMETTO, SUITE 210-S           330 S US HWY 301
3610 NE 1ST AVE                          BOCA RATON, FL 33433                      SUMTERVILLE, FL 33585
MIAMI, FL 33137




SECO ENERGY                              SECOND CHILD                              SECOND LEVEL MATTRESS & FURNITURE
P.O. BOX 31634                           120 WALL ST 2ND FLOOR                     SVCES
TAMPA, FL 33631-3634                     NEW YORK, NY 10005                        1420 SHAKESPEARE AVE APT 2C
                                                                                   BRONX, NY 10452




SECOND STREET CROSSING, LLC              SECRETARIAT MEDINA SGC ACQUISTION,        SECRETARIAT MEDINA SGC ACQUISTION,
C/O BUZZ OATES MANAGEMENT SERVICES       LLC                                       LLC
555 CAPITAL MALL, SUITE 900              C/O BEK DEVELOPERS LLC                    PO BOX 713459
SACRAMENTO, CA 95814                     2000 AUBURN DRIVE, SUITE 440              CINCINNATI, OH 45271
                                         BEACHWOOD, OH 44122



SECRETARIAT TRINITY CROSS HOLDINGS       SECRETARY OF STATE NORTH CAROLINA         SECRETARY OF STATE -TEXAS
LLC                                      C/O CORPORATION DIVISON                   REPORTS UNIT
SECRETARIAT MEDINA SGC ACQUISITION       PO BOX 29525                              P O BOX 12028
LLC                                      RALEIGH, NC 27626                         AUSTIN, TX 78711-2028
24500 CHAGRIN BLVD STE 100
BEACHWOOD, OH 44122


SECRETARY OF STATE                       SECRETARY OF STATE-944230                 SECURE DATA SOLUTIONS INC
DEPT OF BUSINESS SERVICES                STATEMENT OF INFORMATION UNIT             21613 RHODES RD
501 S 2ND ST                             PO BOX 944230                             SPRING, TX 77388
SPRINGFIELD, IL 62756-5510               SACRAMENTO, CA 94244-2300




SECURECARE DENTAL                        SECURED DATA SERVICES                     SECUREWORKS INC
PO BOX 29697                             812 SOUTH MAIN STREET SUITE 200           PO BOX 534583
PHOENIX, AZ 85038-9697                   ROYAL OAK, MI 48067                       ATLANTA, GA 30353-4583




SECURITAS SECURITY SERVICES USA INC      SECURITIES & EXCHANGE COMMISSION          SECURITIES & EXCHANGE COMMISSION
PO BOX 403412                            100 F STREET, NE                          NEW YORK REGIONAL OFFICE
ATLANTA, GA 30384-3412                   WASHINGTON, DC 20549                      ATTN: ANDREW CALAMARI, REGIONAL
                                                                                   DIRECTOR
                                                                                   200 VESEY STREET, SUITE 400
                                                                                   NEW YORK, NY 10281-1022


SECURITY ACCESS SYSTEMS                  SECURITY AND DATA TECHNOLOGIES            SECURITY CENTRAL
PO BOX 4056                              101 PHEASANT RUN                          PO BOX 5759
SCOTTSDALE, AZ 85261                     NEWTOWN, PA 18940                         316 SECURITY DR
                                                                                   STATESVILLE, NC 28687




SECURITY CONSULTANTS INC                 SECURITY RESOURCES INC                    SECURITY SYSTEMS OF AMERICA
3158 BROAD AVE                           1155 MARLKRESS RD                         500 ADMORE BLVD
MEMPHIS, TN 38112                        CHERRY HILL, NJ 08003                     PITTSBURGH, PA 15221-3060
SEDA KING                Case 18-12241-CSS
                                        SEDDIEDoc
                                              BLUNT26      Filed 10/05/18      PageSEDGEWICK
                                                                                    1434 of 1739
                                                                                             HOUSE
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




SEDGWICK COUNTY TREASURER                SEDRICK SHAVER                            SEED PARTNERS LLC & NORTHFIELD COURT
PO BOX 2961                              10201 S. MAIN STREET                      EXCHANGE LLC
WICHITA, KS 67201                        HOUSTON, TX 77025                         1266 W PACES FERRY RD 426
                                                                                   ATLANTA, GA 30327




SEED PARTNERS LLC & NORTHFIELD COURT     SEED PARTNERS LLC & RLP NORTHFIELD,       SEEKONK MALL LLC
EXCHANGE LLC                             LLC                                       IRWIN CHASE
C/O PERDUE MGMT COMPANY                  C/O PERDUE MANAGEMENT CO                  1 ANN & HOPE WAY
1266 W PACES FERRY RD 426                1266 WEST PACES FERRY ROAD, #426          CUMBERLAND, RI 02864
ATLANTA, GA 30327                        ATLANTA, GA 30327



SEELAS INC                               SEENA MAGOWITZ FOUNDATION                 SEFO FARAPAPAU
302 E 18TH AVE                           7105 E PARADISE DRIVE                     10201 S. MAIN STREET
SPOKANE, WA 99203                        SCOTTSDALE, AZ 85254                      HOUSTON, TX 77025




SEGALE PROPERTIES, LLC                   SEGALE PROPERTIES, LLC                    SEHGAL & SONS ENTERPRISES LP
ATTN: JOHN LAMB                          PO BOX 88028                              DBA ULTRA BUILDING SERVICES
5811 SEAGLE PARK DRIVE C                 TUKWILA, WA 98138-2028                    10501 CORPORATE DRIVE
TUKWILA, WA 98188                                                                  STAFFORD, TX 77477




SEHREESH SHAIKH                          SEI TRUCKING DELIVERY LLC                 SEIANNA OURSLER
10201 S. MAIN STREET                     PO BOX 27854                              10201 S. MAIN STREET
HOUSTON, TX 77025                        SALT LAKE CITY, UT 84127                  HOUSTON, TX 77025




SEIRRA TOWN CENTER 3                     SEJAL NANAVATY                            SELDEN PLAZA LLC
C/O JULIET REALTY                        10201 S. MAIN STREET                      213 GLEN ST
8375 W FLAMINGO RD 200                   HOUSTON, TX 77025                         GLEN COVE, NY 11542
LAS VEGAS, NV 89147




SELEC SOURCE STAFFING SERVICE            SELEC SOURCE STAFFING SERVICE             SELECT COMFORT CORPORATION
6111 PEACHTREE DUNWOODY RD F 202         PO BOX 60839                              C/O FOX ROTHSCHILD LLP
ATLANTA, GA 30328                        CHARLOTTE, NC 28260-0839                  ATTN: ANDREW HANSEN AND HEIDI FISHER
                                                                                   CAMPBELL MITHUN TOWER
                                                                                   MINNEAPOLIS, MN 55402-3338



SELECT COMFORT RETAIL CORPORATION        SELECT COMFORT WHOLESALE                  SELECT COMFORT
C/O FOX ROTHSCHILD LLP                   CORPORATION                               23728 NETWORK PLACE
ATTN: ANDREW HANSEN AND HEIDI FISHER     C/O FOX ROTHSCHILD LLP                    CHICAGO, IL 60673-1237
CAMPBELL MITHUN TOWER                    ATTN: ANDREW HANSEN AND HEIDI FISHER
MINNEAPOLIS, MN 55402-3338               CAMPBELL MITHUN TOWER
                                         MINNEAPOLIS, MN 55402-3338


SELECT FACILITY MAINTENANCE              SELECT HUB                                SELECT OFFICE SYSTEMS INC
4008 LOUETTA STE 344                     5925 S LEWISTON ST                        PO BOX 11777
SPRING, TX 77388                         CENTENNIAL, CO 80016                      BURBANK, CA 91510-1777
SELECT SECURITY SYSTEMSCase
                         INC   18-12241-CSS
                                         SELECTDoc 26
                                               STAFF       Filed 10/05/18      PageSELECT
                                                                                    1435 STAFFING
                                                                                          of 1739
8957 W WINDOR DR STE 129                 12700 HILLCREST RD STE 218                PO BOX 512637
PEORIA, AZ 85381-6151                    DALLAS, TX 75230                          LOS ANGELES, CA 90051-0637




SELECT STAFFING                          SELECT STAFFING                           SELECT STRATEGIES
PO BOX 802015                            PO BOX 91010                              MARY LOU DAVIS, EVP OF PM
CHICAGO, IL 60680-2015                   CHICAGO, IL 60680-8805                    5770 HOFFNER AVENUE, SUITE 102
                                                                                   ORLANDO, FL 32822




SELENA ESTRADA                           SELENA LEE                                SELENA SPRIGGS
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




SELENE HOCKENBERGER                      SELENE LOPEZ                              SELIG ENTERPRISES, INC.
10201 S. MAIN STREET                     10201 S. MAIN STREET                      ATTN: KENNETH J. CLAYMAN, ESQ.
HOUSTON, TX 77025                        HOUSTON, TX 77025                         1100 SPRING STREET NW, SUITE 550
                                                                                   ATLANTA, GA 30309




SELIG ENTERPRISES, INC.                  SELIG ENTERPRISES, INC.                   SELIGMAN GROUP
ATTN: KENNETH J. CLAYMAN, ESQ.           ATTN: WILLIAM J. DAWKINS, ESQ.            ONE TOWNE SQUARE, SUITE 1913
1100 SPRING STREET NW, SUITE 550         1100 SPRING STREET NW, SUITE 550          SOUTHFIELD, MI 48076
ATLANTA, GA 30309-2848                   ATLANTA, GA 30309




SELINA WHITE                             SELLHORST SECURITY & SOUND                SELMA MCLEAN
10201 S. MAIN STREET                     20210 GATE DANCER STE 3                   10201 S. MAIN STREET
HOUSTON, TX 77025                        ELKHORN, NE 68022                         HOUSTON, TX 77025




SELVIN BRAN                              SEMAPHORE BRAND SOLUTIONS INC             SEMBLER ALPHARETTA I LLC
10201 S. MAIN STREET                     DBA MOZAIC BRANDING INC                   5590 ROSWELL RD 200
HOUSTON, TX 77025                        16420 BAKE PKWY                           ATLANTA, GA 30342
                                         IRVINE, CA 92618




SEMBLER ALPHARETTA I LLC                 SEMBLER FAMILY PARTNERSHIP #41, LTD       SEMBLER FAMILY PARTNERSHIP #41, LTD
PO BOX 409824                            ATTN: GREGORY S. SEMBLER                  C/O THE SEMBLER CO
ATLANTA, GA 30384                        5858 CENTRAL AVENUE                       PO BOX 41847
                                         ST. PETERSBURG, FL 33707                  SAINT PETERSBURG, FL 33743-1847




SEMBLER FAMILY PARTNERSHIP 41 LTD        SEMBLER FAMILY PARTNERSHIP 41, LTD        SEMCO ENERGY GAS CO
5858 CENTRAL AVE                         C/O THE SEMBLER CO                        1411 THIRD STREET, STE A
ST PETERSBURG, FL 33707                  PO BOX 41847                              PORT HURON, MI 48060
                                         SAINT PETERSBURG, FL 33743-1847




SEMCO ENERGY GAS CO                      SEMCO ENERGY GAS COMPANY                  SEMCO PRODUCTIONS LLC
P.O. BOX 5004                            P.O. BOX 740812                           295 W CROSSVILLE RD
PORT HURON, MI 48061-5004                CINCINNATI, OH 45274-0812                 BUILDING 200
                                                                                   ROSWELL, GA 30075
                       Case 18-12241-CSS
SEMINOLE COUNTY TAX COLLECTOR         SEMINOLEDoc  26 WATER
                                                COUNTY  Filed 10/05/18
                                                               & SEWER   PageSEMINOLE
                                                                              1436 ofCOUNTY
                                                                                      1739
P.O. BOX 630                          UTILITY                                1101 EAST FIRST STREET
SANFORD, FL 32772-0630                P.O. BOX 958443                        SANFORD, FL 32771
                                      LAKE MARY, FL 32795-8443




SEMINOLE COUNTY                        SEMINOLE MALL LP                      SEMINOLE MALL LP
P.O. BOX 958443                        400 CLEMATIS ST STE 201               C/O CENTRECORP MGMT SERVICES LLLP
LAKE MARY, FL 32795-8443               WEST PALM BEACH, FL 33401             1250 CAROLINE ST STE 220
                                                                             ATLANTA, GA 30307




SEMINOLE MALL LP                       SEMINOLE MALL LP                      SEMINOLE MALL LP
C/O CENTRECORP MGMT SERVICES LLLP      C/O PRIMERICA GROUP ONE, INC          C/O PRIMERICA GROUP ONE, INC
ATTN: EXECUTIVE VICE PRESIDENT         3629 MADACA LANE                      ATTN: PROPERTY MANAGER
2851 JOHN STREET, SUITE 1              ATTN: PROPERTY MANAGER                3629 MADACA LANE
MARKHAM, ON L3R 5R7 CANADA             TAMPA, FL 33618                       TAMPA, FL 33618



SEMINOLE                               SENCERE GREENE                        SENDY TAPIA
ATTN: PROPERTY TAX DEPT.               10201 S. MAIN STREET                  10201 S. MAIN STREET
9199 113TH ST N                        HOUSTON, TX 77025                     HOUSTON, TX 77025
SEMINOLE, FL 33772




SENECA JOHNSON                         SENECA LIGHT & WATER PLANT            SENECA LIGHT & WATER PLANT
10201 S. MAIN STREET                   250 E N 2ND ST                        PO BOX 4773
HOUSTON, TX 77025                      SENECA, SC 29678                      SENECA, SC 29679-4773




SENECA MEADOWS CORPORATE CENTER        SENERGY PETROLEUM                     SENTARA MEDICAL GROUP
VII, LLLP                              433 W 3RD AVE                         P.O. BOX 179
C/O MINKOFF DEVELOPMENT CORPORATION    MESA, AZ 85210                        NORFOLK, VA 23501-0179
ATTN: PAUL N. CHOD
20457 SENECA MEADOWS PARKWAY
GERMANTOWN, MD 20876


SENTINEL AIR CONDITIONING & HEATING    SENTINEL FIRE CORP                    SENTINEL RECORD INC
PO BOX 11928                           P.O. BOX 161265                       RETAIL ADVERTISING
SPRING, TX 77391                       SACRAMENTO, CA 95816                  PO BOX 580
                                                                             HOT SPRINGS, AR 71902




SENTRY SECURITY INC                    SEQUOIA LAND INVESTMENTS              SEQUOIA REALTY GROUP
339 EGIDI DR                           1C GATE FIVE ROAD                     SPV/VAT ORLAND PARK LLC
WHEELING, IL 60090                     SAUSALITO, CA 94965                   1900 S HIGHLAND AVE STE 104
                                                                             LOMBARD, IL 60148




SERFATY & GARCIA, P.A.                 SERGE PIERRE                          SERGEY KOVALEV
ATTN: BARBARA GARCIA, ESQ.             10201 S. MAIN STREET                  10201 S. MAIN STREET
4770 BISCAYNE BLVD., SUITE 1430        HOUSTON, TX 77025                     HOUSTON, TX 77025
MIAMI, FL 33137




SERGIO BURITICA                        SERGIO CERON                          SERGIO COLIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025
SERGIO DURAN           Case 18-12241-CSS
                                      SERGIODoc 26
                                            GARCIA      Filed 10/05/18   PageSERGIO
                                                                              1437 OCEGUERA
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SERGIO OLVERA                         SERGIO ORTEGA                          SERGIO ORTEGON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   3106 BROADMEAD DRIVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SERGIO PRIETO                         SERGIO PRIETO                          SERGIO QUINTANA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SERGIO VILLA                          SERGIO ZAMBRANO                        SERGIU FLUIERARU
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SEROTA WADING RIVER LLC               SERRA CENTER ASSOCIATES NO TWO         SERRA CENTER ASSOCIATES
C/O LIGHTHOUSE REALTY PARTNERS        COMMERCIAL REAL ESTATE SRV             C/O COMMERCIAL REAL ESTATE SERVICE
70 E SUNRISE HWY STE 610              2000 POWELL ST STE 1280                2000 POWELL STREET , SUITE 1280
VALLEY STREAM, NY 11581               EMERYVILLE, CA 94608                   ATTN: JACK ANDERSON OR SONJA
                                                                             WAGGONER
                                                                             EMERYVILLE, CA 94608


SERTA MATTRESS COMPANY                SERTA MATTRESS COMPANY                 SERVCO FORKLIFT
ATTN: JOHNNY NGUYEN                   ATTN: JOHNNY NGUYEN                    94-729 FARRINGTON HWY
2600 FORBS AVE                        ONE CONCOURSE PKWY NE 800              WAIPAHU, HI 96797
HOFFMAN ESTATES, IL 60192             ATLANAT, GA 30328




SERVICE 1ST FIRE PROTECTION LLC       SERVICE AMERICA ENTERPRISE INC         SERVICE BROADCASTING GRP LLC DBA
21630 N 9TH AVE 101                   2755 NW 63RD COURT                     K104 FM
PHOENIX, AZ 85027                     FORT LAUDERDALE, FL 33309              621 NW 6TH ST
                                                                             GRAND PRAIRIE, TX 75050




SERVICE BROADCASTING GRP LLC          SERVICE COMMERCIAL CONSTRUCTION LLC    SERVICE FIRE & INDUSTRIAL, INC.
PO BOX 530860                         604 N WALNUT ST                        3443 EAST HIGHWAY 175
GRAND PRAIRIE, TX 75053               SHERMAN, TX 75090                      KAUFMAN, TX 75142




SERVICE SPECIALIST LLC                SERVICEMASTER TOTAL RESTORATION        SERVICEMAX INC
DBA EMERGENCY PLUMBING SERVICE        SRVS                                   490 W NORTH FRONTAGE RD
2765 FLORANCE RD                      201 MOLLY WALTON DR STE A              BOLINGBROOK, IL 60440
PONDER, TX 76259                      HENDERSONVILLE, TN 37075




SERVICEWERKS INC.                     SESHIA KIDADA DEAL                     SETH A HUGHES
8330 KELZER POND DR.                  1811 EWING ST. APT 1B                  14604 24TH AVE W
VICTORIA, MN 55386                    HOUSTON, TX 77004                      LYNNWOOD, WA 98087
SETH ALLEN             Case 18-12241-CSS    Doc 26
                                      SETH BARNARD      Filed 10/05/18   PageSETH
                                                                              1438  of 1739
                                                                                  CALABRESE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SETH CHAVEZ                           SETH D BROWN                           SETH DALEY
9122 WOLCOTT PK LN                    1409 NE COUNTRY LN                     10201 S. MAIN STREET
HOUSTON, TX 77075                     LEES SUMMIT, MO 64086                  HOUSTON, TX 77025




SETH GRECO                            SETH HAND                              SETH HORNE
10705 PARRIGIN RD                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HELOTES, TX 78023                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SETH L WEINSTEIN                      SETH LAUE                              SETH MATTHEW WARD
                                      834 TARRAGON LANE                      112 FAWNBROOK DR
                                      SAN LUIS OBISPO, CA 93401              GREENWOOD, SC 29646




SETH SMITH                            SETH STALLINGS                         SETH VANDER ZEE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SETH WASHINOWSKI                      SETH WASHINOWSKI                       SETH WEINSTEIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SETTLERS RIDGE MANAGEMENT LP          SEVENTH AVENUE I-IV, LLC               SEVESI SIOLAA
CO THE WILDER COMPANIES LTD           C/O VERVE COMMERCIAL REAL ESTATE       10201 S. MAIN STREET
ATTN ACCOUNTS RECEIVABLE              4001 N 3RD STREET, SUITE 405           HOUSTON, TX 77025
800 BOYLSTON STREET STE 1300          PHOENIX, AZ 85012
BOSTON, MA 02199



SEVIER COUNTY CLERK                   SEVIER COUNTY ELECTRIC SYS             SEVIER COUNTY ELECTRIC SYSTEM
ATTN: PROPERTY TAX DEPT.              315 E MAIN ST                          P.O. BOX 4870
125 COURT AVE SUITE 212W              SEVIERVILLE, TN 37862                  SEVIERVILLE, TN 37864-4870
SEVIERVILLE, TN 37862




SEVIER COUNTY TRUSTEE                 SEVIER COUNTY UTILITY DISTRICT         SEVIER COUNTY UTILITY DISTRICT
ATTN: PROPERTY TAX DEPT.              420 ROBERT HENDERSON RD                P.O. BOX 6519
125 COURT AVE STE 202E                SEVIERVILLE, TN 37862                  SEVIERVILLE, TN 37864-6519
SEVIERVILLE, TN 37862




SEVILLE REAL ESTATE SERVICES, INC.    SEWER AND WATER UTILITY BILL           SEWERAGE & WTR BD NEW ORLEANS
92 S CENTRAL AVE STE 203              P.O. BOX 830269                        625 SAINT JOSEPH ST. RM. 154
HARTSDALE, NY 10530                   BIRMINGHAM, AL 35283-0269              NEW ORLEANS, LA 70165
SEWERAGE & WTR BD NEW   Case   18-12241-CSS
                          ORLEANS              Doc
                                         SEXTON,    26 Filed 10/05/18
                                                 TERRY                   PageSEYFARTH
                                                                              1439 of SHAW
                                                                                      1739LLP
625 SAINT JOSEPH ST. RM. 154             123 UNKNOWN                         3807 COLLECTIONS CENTER DR
NEW ORLEANS, LA 70165-6501               OKLAHOMA CITY, OK 73127             CHICAGO, IL 60693




SF WATER                              SF WATER                               SF ZEPHYR COMMONS, LP
525 GOLDEN GATE AVE                   P.O. BOX 7369                          3629 MADACA LN
SAN FRANCISCO, CA 94102               SAN FRANCISCO, CA 94120-7369           TAMPA, FL 33618




SF ZEPHYR COMMONS, LP                 SFA STATE UNIVERSITY                   SFERS REAL ESTATE CORP J
C/O NORTH AMERICAN DEV GROUP          ATTN: BILLING AND RECEIVABLES          C/O CIM INVESTMENT ADVISORS, LLC
ATTN: JEFF PRESTON                    PO BOX 630007                          ATTN: GENERAL COUNSEL
400 CLEMATIS, SUITE 201               NACOGDOCHES, TX 75963                  4700 WILSHIRE BLVD.
WEST PALM BEACH, FL 33401                                                    LOS ANGELES, CA 90010



SFERS REAL ESTATE CORP J              SFERS REAL ESTATE CORP MM              SFERS REAL ESTATE CORP MM
PO BOX 8232                           875 N MICHIGAN AVE 41 FL               PO BOX 209271
PASADENA, CA 91109-8232               CHICAGO, IL 60611                      AUSTIN, TX 78720-9721




SFERS REAL ESTATE CORP. NN            SFERS REAL ESTATE CORP. NN             SFI FORD CITY - CHICAGO LLC
C/O RREEF                             PO BOX 8375                            C/O FORD CITY SHOPPING MALL
200 CRESCENT COURT, SUITE 560         PASADENA, CA 91109-8375                ATTN: TRACY MUNNO
DALLAS, TX 75201                                                             7601 S. CICERO AVENUE
                                                                             CHICAGO, IL 60652



SFI FORD CITY - CHICAGO LLC           SFI FORD CITY - CHICAGO LLC            SFK, LLC
C/O ISTAR INC.                        LOCKBOX 26488                          C/O WHITE-LEASURE DEVELOPMENT
1114 AVENUE OF AMERICAS, 39TH FLOOR   26488 NETWORK PLACE                    COMPANY
ATTN: REAL ESTATE COUNSEL             CHICAGO, IL 60673-1264                 P.O. BOX 1277
NEW YORK, NY 10036                                                           BOISE, ID 83701-1277



SFP BASCOM SQUARE, LLC                SFP BASCOM SQUARE, LLC                 SFP MCHENRY GROUNDS LLC
C/O BIAGINI PROPERTIES, INC.          C/O BIAGINI PROPERTIES, INC.           C/O EDWARD SCHWARTZ & CO. AGENT
333 W EL CAMINO RL STE 240            333 W. EL CAMINO REAL, SUITE 240       3190 DOOLITTLE DR
SUNNYVALE, CA 94087-1969              SUNNYVALE, CA 94087-1969               NORTHBROOK, IL 60062




SFPUC - WATER DEPT.                   SF-WICHITA-I, LP                       SG NATIONAL LLC
P.O. BOX 7369                         2121 N. AKARD ST SUITE 250             ATTN: ACCTS RECEIVABLE
SAN FRANCISCO, CA 94120-7369          DALLAS, TX 75201                       1185 SIXTH AVE 10TH FLOOR
                                                                             NEW YORK, NY 10036-2604




SGCT GROUP I, LLC                     SGCT GROUP I, LLC                      SH - GASTONIA, LLC
946 JOHNNIE DODDS BLVD                946 JOHNNIE DODDS BLVD                 C/O TRIBEK PROPERTIES, INC.
MT PLEASANT, SC 29464                 MT. PLEASANT, SC 29464                 101 S. KINGS DRIVE, SUITE 200
                                                                             CHARLOTTE, NC 28204




SH SHOW PRODUCTIONS                   SHAAN BUKHARI                          SHABBIR BAHORA
PO BOX 13359                          10201 S. MAIN STREET                   706 GERVAISE COURT
DAYTON, OH 45413                      HOUSTON, TX 77025                      BRENTWOOD, TN 37027
SHACKRIMA CHENPHANG     Case 18-12241-CSS   Doc 26
                                       SHADELANDS PARK, Filed
                                                        LLC   10/05/18         PageSHADELANDS
                                                                                    1440 of 1739
                                                                                              PARK, LLC
10201 S. MAIN STREET                     C/O TERRAMAR RETAIL CENTERS, LLC           PO BOX 398612
HOUSTON, TX 77025                        4695 MACARTHUR COURT, SUITE 700            SAN FRANCISCO, CA 94139-8612
                                         ATTN: CEO & PRESIDENT
                                         NEWPORT BEACH, CA 92660



SHADERRICA JORDAN                        SHADOW LAKE TOWNE CENTER                   SHADOW LAKE TOWNE CENTER
10201 S. MAIN STREET                     PO BOX 93934                               PO BOX 9394
HOUSTON, TX 77025                        LAS VEGAS, NV 89193-3934                   LAS VEGAS, NV 89193-3934




SHADOW TRACK 247 LLC                     SHADRALL ASSOCIATES                        SHADRALL RIVERSIDE MARKET, LLC
45 PARK RIDGE DR                         AUBURNDALE PROPERTIES                      C/O AUBURNDALE PROPERTIES, INC.
FLETCHER, NC 28732                       50 TICE BLVD STE 320                       50 TICE BOULEVARD, SUITE 320
                                         WOODCLIFF LAKE, NJ 07677                   WOODCLIFF LAKE, NJ 07677




SHADRALL RIVERSIDE MARKET, LLC           SHAE WILKINSON                             SHAE WILLIAMS
PO BOX 204119                            528 RICHWOOD DR                            10201 S. MAIN STREET
DALLAS, TX 75320-4119                    PATASKALA, OH 43062                        HOUSTON, TX 77025




SHAEENA & ALLOS , LLC                    SHAEENA & ALLOS LLC                        SHAHAB KHAN
888 W. BIG BEAVER, SUITE 300             888 W BIG BEAVER 300                       10201 S. MAIN STREET
TROY, MI 48084                           TROY, MI 48084                             HOUSTON, TX 77025




SHAHEEN, JACOBS & ROSS, P.C.             SHAHILA ROSE                               SHAHNAZ PERVEEN
MICHAEL J. THOMAS, ESQ.                  10201 S. MAIN STREET                       10201 S. MAIN STREET
615 GRISWOLD STREET, SUITE 1425          HOUSTON, TX 77025                          HOUSTON, TX 77025
DETROIT, MI 48226




SHAHZUR JAFFERALI                        SHAIKH, MUHAMMAD                           SHAILENDRY MENENDEZ
10201 S. MAIN STREET                     20619 HILLSIDE AVE 2ND FL                  10201 S. MAIN STREET
HOUSTON, TX 77025                        QUEENS VILLAGE, NY 11427-1709              HOUSTON, TX 77025




SHAINA HAGAN                             SHAINA PAUL                                SHAKAYLA COLLIER
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




SHAKI ALEXANDER                          SHAKOPEE PUBLIC UTILITES COMMISSION        SHALANDA HIATT
10201 S. MAIN STREET                     255 SARAZIN ST                             10201 S. MAIN STREET
HOUSTON, TX 77025                        PO BOX 470                                 HOUSTON, TX 77025
                                         SHAKOPEE, MN 55379-0470




SHALEIAH BARRON                          SHALEIK GARLAND                            SHALISA POWELL
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025
SHALLENE SORIANO          Case 18-12241-CSS   Doc
                                         SHALOME   26 Filed 10/05/18
                                                 ALMUETI                 PageSHALONDA
                                                                              1441 of PHILLIPS
                                                                                      1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




SHALONDA RICHARDSON                      SHAMBRA CLIFFORD                     SHAMECCA MANRESA
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




SHAMECKA BROWN                           SHAMEKA WATSON                       SHAMROCK PRODUCTIONS INC
10201 S. MAIN STREET                     3909 GIBRALTAR AVE 5                 SHAMROCK PRODUCTIONS INC
HOUSTON, TX 77025                        LOS ANGELES, CA 90008                14551 JUDICIAL RD 111
                                                                              BURNSVILLE, MN 55306




SHANA ALBERSON                           SHANA FORNTEY                        SHANA TAYLOR
10201 S. MAIN STREET                     8915 E GUADALUPE RD 1135             10201 S. MAIN STREET
HOUSTON, TX 77025                        MESA, AZ 85212                       HOUSTON, TX 77025




SHANA TEMPLETON                          SHANA YAROV                          SHANAE PROUDMAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                 2411 84TH AVE NE
HOUSTON, TX 77025                        HOUSTON, TX 77025                    LAKE STEVENS, WA 98258




SHANAN EDWARDS                           SHANANIE BALLARD                     SHANDRIENNE CAMPBELL
10201 S. MAIN STREET                     10201 S. MAIN STREET                 739 HENNEPIN TERRACE
HOUSTON, TX 77025                        HOUSTON, TX 77025                    MC DONOUGH, GA 30253




SHANE A CHARTIER                         SHANE A. BRADFORD                    SHANE BRANDON
2430 E KELLY ST APT A10                  DBA SPLASH WINDOW ADVERTISING        7458 COX PK
INDIANAPOLIS, IN 46203                   3008 MEANDERING WAY                  FAIRVIEW, TN 37062
                                         BEDFORD, TX 76021




SHANE BROWN                              SHANE BURNS                          SHANE CLARK
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




SHANE COMER                              SHANE CROWDER                        SHANE DOBBINS
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




SHANE FORRESTER                          SHANE HALL                           SHANE HOHNSTEIN
10201 S. MAIN STREET                     10201 S. MAIN STREET                 1452 CAMINITO SEPTIMO
HOUSTON, TX 77025                        HOUSTON, TX 77025                    CARDIFF BY THE SEA, CA 92007
SHANE KACK             Case 18-12241-CSS
                                      SHANE Doc  26
                                            KLUITER      Filed 10/05/18   PageSHANE
                                                                               1442LAUFMAN
                                                                                    of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SHANE LEIVDAL                          SHANE LONGFELLOW                       SHANE MALONEY
8540 210 ST W APT 5                    1301 EAST CR 400 S                     10201 S. MAIN STREET
LAKEVILLE, MN 55044                    MUNCIE, IN 47302                       HOUSTON, TX 77025




SHANE MATHEWS                          SHANE PLAZA, LLC                       SHANE POULTNEY
10201 S. MAIN STREET                   P.O. BOX 860347                        10201 S. MAIN STREET
HOUSTON, TX 77025                      MINNEAPOLIS, MN 55486-0347             HOUSTON, TX 77025




SHANE RAMSAY                           SHANE RATLIFF                          SHANE RATLIFF
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SHANE ROBERTS                          SHANE ROUSE                            SHANE TANNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SHANE TUCKER                           SHANE TUFTE                            SHANE WOODWARD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SHANEA MCRAE                           SHANECE MORGAN                         SHANELA JOHNSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SHANELL SMITH                          SHANEQUA COSTON                        SHANGHAI LEATHER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   529 TOWNSEND AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HIGH POINT, NC 27263




SHANI DAUGHTRY                         SHANICE HALL                           SHANIKA WASHINGTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SHANIQUA WILDERNESS                    SHANNA ANDERSON                        SHANNA S JOGREN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   602 MATADOR DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                      OAK POINT, TX 75068
SHANNAE JOHNSON         Case 18-12241-CSS   Doc
                                       SHANNAN   26 Filed 10/05/18
                                               FAULKNER              PageSHANNIKA
                                                                          1443 ofCAMPBELL
                                                                                  1739
10201 S. MAIN STREET                   10201 S. MAIN STREET              3209 GUNTHER AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                 BRONX, NY 10469




SHANNON ADAMCZYK                       SHANNON ALI                       SHANNON B WELDON
10201 S. MAIN STREET                   10201 S. MAIN STREET              7310 KESTREL TRAIL
HOUSTON, TX 77025                      HOUSTON, TX 77025                 CHARLESTON, SC 29410




SHANNON BUSH                           SHANNON C BUSH                    SHANNON DUNCAN
10201 S. MAIN STREET                   3205 EAST OLIVE RD APT 16         10201 S. MAIN STREET
HOUSTON, TX 77025                      PENSACOLA, FL 32514               HOUSTON, TX 77025




SHANNON GANTER                         SHANNON GELD & LOUIS GELD         SHANNON HOOLE
2502 HARPERS FERRY DR                  202 EVANS AVE                     10201 S. MAIN STREET
LEAGUE CITY, TX 77573                  WILLOW GROVE, PA 19090            HOUSTON, TX 77025




SHANNON MARTINEZ                       SHANNON MATHEWS                   SHANNON MULLINS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




SHANNON ODOM                           SHANNON PANTOJA                   SHANNON PARROTT
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




SHANNON PEETE                          SHANNON PRESTON                   SHANNON RYAN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




SHANNON SELLS                          SHANNON SLITER                    SHANNON SMITH
700 NE 122ND ST APT 2412               10201 S. MAIN STREET              10201 S. MAIN STREET
OKLAHOMA CITY, OK 73114                HOUSTON, TX 77025                 HOUSTON, TX 77025




SHANNON SPALLA                         SHANNON SPODEN                    SHANNON STEVENS
105 E HENRY ST                         10201 S. MAIN STREET              10201 S. MAIN STREET
CALMAR, IA 52132                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHANNON STOCKTON                       SHANNON SWEENEY                   SHANNON SYLVESTER
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025
SHANNON WHITE           Case 18-12241-CSS   Doc
                                       SHANNON    26 Filed 10/05/18
                                               WILLIAMS               PageSHANON
                                                                           1444 of 1739
                                                                                 COLLINS
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHANORA WILLIAMS                        SHANTA NEWBY                      SHANTALLA, LTD.
10201 S. MAIN STREET                    10201 S. MAIN STREET              SILVERMAN FAMILY TRUST
HOUSTON, TX 77025                       HOUSTON, TX 77025                 8606 MIRAMAR RD
                                                                          SAN DIEGO, CA 92126




SHANTAVIA ROGERS                        SHANTEL BURCH                     SHANYCE DUPLESSIS
10201 S. MAIN STREET                    6627 JARVIS DR                    10201 S. MAIN STREET
HOUSTON, TX 77025                       INDIANAPOLIS, IN 46237            HOUSTON, TX 77025




SHAQAUZE BELL                           SHAQUANA HUGULEY-JENKINS          SHAQUEA GUINYARD
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHAQUITA BROWN                          SHARE STEVENSON                   SHAREHOLDER.COM
10201 S. MAIN STREET                    10201 S. MAIN STREET              LOCKBOX 30200
HOUSTON, TX 77025                       HOUSTON, TX 77025                 PO BOX 780200
                                                                          PHILADELPHIA, PA 19178-0200




SHAREN KAY BRODT                        SHARI GILBLAIR                    SHARI PECK
5221 SWANN LN                           10201 S. MAIN STREET              10201 S. MAIN STREET
SAN ANTONIO, TX 78219                   HOUSTON, TX 77025                 HOUSTON, TX 77025




SHARIFA SMITH                           SHARISE HOBBS                     SHARK WINDOW CLEANING
10201 S. MAIN STREET                    10201 S. MAIN STREET              4039 NEW CASTLE CT
HOUSTON, TX 77025                       HOUSTON, TX 77025                 JEFFERSON CITY, MO 65109




SHARKEITHA WALKER                       SHARLA DALBOSCO                   SHARLEEN JOYNT
220-20 134TH ROAD                       10201 S. MAIN STREET              71 W 83RD ST APT 5M
SPRINGFIELD GARDENS, NY 11413           HOUSTON, TX 77025                 NEW YORK, NY 10024




SHARLENE MARRIOTT                       SHARNESE COSTON                   SHARNETTE WALKER-HERNANDEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHARNICE FITZPATRICK                    SHARON A HILT                     SHARON BEACH
10201 S. MAIN STREET                    270 ST ANDREWS BLVD               2027 N ALBANY AVE 3
HOUSTON, TX 77025                       LA PLACE, LA 70068                CHICAGO, IL 60647
SHARON BEUTLER         Case 18-12241-CSS   Doc
                                      SHARON    26 Filed 10/05/18
                                             BROGAN                   PageSHARON
                                                                           1445 of 1739
                                                                                 CARROTTI
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




SHARON D ALLEN                        SHARON DELITIZIA                     SHARON DELLORTO
7981 GLADY 6                          10201 S. MAIN STREET                 10201 S. MAIN STREET
BEAUMONT, TX 77706                    HOUSTON, TX 77025                    HOUSTON, TX 77025




SHARON DREGER                         SHARON FREEMAN                       SHARON GRAHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




SHARON GUMBS                          SHARON HATAE-VARGAS                  SHARON K BRODT
10201 S. MAIN STREET                  6361 SHIELDS DR                      5221 SWANN LN
HOUSTON, TX 77025                     HUNTINGTON BEACH, CA 92647           SAN ANTONIO, TX 78219




SHARON L MITCHELL                     SHARON MCELROY                       SHARON NANNETTE HAYDEN
3151 WELMINGHAM DR                    10201 S. MAIN STREET                 129 HIGHLAND RIDGE TRAIL
ATLANTA, GA 30331                     HOUSTON, TX 77025                    BOILING SPRINGS, SC 29316




SHARON RIEF                           SHARON ROSENBERG                     SHARON ROTH
4946 NEWCASTLE AVE                    10201 S. MAIN STREET                 10201 S. MAIN STREET
ENCINO, CA 91316                      HOUSTON, TX 77025                    HOUSTON, TX 77025




SHARON VALDEZ                         SHARON WHITTEN                       SHARON WICKS
10201 S. MAIN STREET                  10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                    HOUSTON, TX 77025




SHARON WIEGERT                        SHARON ZAMBONINO                     SHARPS LOCK AND ALARM
10201 S. MAIN STREET                  10201 S. MAIN STREET                 420 N COLLEGE AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                    FAYETTEVILLE, AR 72701




SHARRI SNELL                          SHARRON TUGGLE                       SHARTSIS FRIESE LLP
10201 S. MAIN STREET                  5475 ELMHURST AVE                    ONE MARITIME PLAZA EIGHTEENTH FL
HOUSTON, TX 77025                     MEMPHIS, TN 38115                    SAN FRANCISCO, CA 94111




SHASTA COUNTY TAX COLLECTOR           SHASTA STATION LLC                   SHASTA STATION LLC
ATTN: PROPERTY TAX DEPT.              C/O PHILLIPS EDISON & COMPANY        PO BOX 645327
PO BOX 991830                         11501 NORTHLAKE DRIVE                PITTSBURGH, PA 15264-5327
REDDING, CA 96099-1830                ATTN: ROBERT F. MYERS, COO
                                      CINCINNATI, OH 45249
SHAUN BOWENS             Case 18-12241-CSS
                                        SHAUN Doc 26 Filed 10/05/18
                                              CONNERS                 PageSHAUN
                                                                           1446COOKE
                                                                                of 1739
10201 S. MAIN STREET                    5701 MANZANITA AVE                10201 S. MAIN STREET
HOUSTON, TX 77025                       CARMICHAEL, CA 95608              HOUSTON, TX 77025




SHAUN DALERE                            SHAUN FULLER                      SHAUN HALL
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHAUN JOHNSON                           SHAUN LLOYD                       SHAUN M HALL
4211 HOWARD AVE 3                       10201 S. MAIN STREET
LOS ALAMITOS, CA 90720                  HOUSTON, TX 77025




SHAUN MANUSAMA                          SHAUN MCNAUGHTON                  SHAUN OBRIEN
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHAUN PORTO                             SHAUN SANDERS                     SHAUN SEIFERT
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHAUN SIMMONS                           SHAUN SMITH                       SHAUN SMITH
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHAUN WALKER                            SHAUN WILTSE                      SHAUNA HAWKINS
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHAUNA THOMPSON                         SHAUNTE HALL-JONES                SHAUNTE LAMBETH
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHAUNTELL THORTON                       SHAVELLE CARTY                    SHAVON WALTON
10201 S. MAIN STREET                    10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                 HOUSTON, TX 77025




SHAVONNA PEREZ                          SHAVONNE BREEDEN                  SHAW BLACKSTONE CENTER, LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET              400 OYSTER POINT, SUITE 123
HOUSTON, TX 77025                       HOUSTON, TX 77025                 SO. SAN FRANCISCO, CA 94080
SHAW MATERIAL HANDLING Case  18-12241-CSS
                         SYSTEMS INC         Doc 26 Filed 10/05/18
                                       SHAW MEDIA                    PageSHAW,
                                                                          1447CHRISTOPHER
                                                                               of 1739
PO BOX 872700                          PO BOX 250                        61 VISTA HTS
KANSAS CITY, MO 64187-2700             CRYSTAL LAKE, IL 60039-0250       TILTON, NH 32765-815




SHAWANNA JACKSON                    SHAWN "JAY Z" CARTER                 SHAWN BACA
10201 S. MAIN STREET                C/O PRYOR CASHMAN LLP                10201 S. MAIN STREET
HOUSTON, TX 77025                   ATTN: BRAD ROSE                      HOUSTON, TX 77025
                                    7 TIMES SQUARE
                                    NEW YORK, NY 10036



SHAWN BAKER                         SHAWN BECK                           SHAWN BECK
10201 S. MAIN STREET                10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SHAWN BENSON                        SHAWN BENSON                         SHAWN BRADLEY
10201 S. MAIN STREET                10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SHAWN CABRAL                        SHAWN CARROLL                        SHAWN CARTWRIGHT
10201 S. MAIN STREET                10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SHAWN CHRISTOPHER                   SHAWN COEY                           SHAWN CONLEY
10201 S. MAIN STREET                10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SHAWN COX                           SHAWN COX                            SHAWN DIEBOLD
10201 S. MAIN STREET                10201 S. MAIN STREET                 4008 SHELLROCK DR
HOUSTON, TX 77025                   HOUSTON, TX 77025                    KILLEEN, TX 76549




SHAWN DUKE                          SHAWN ELLIOTT LUXURY HOMES           SHAWN FAULKNER
10201 S. MAIN STREET                                                     1511 CHESTNUT ST
HOUSTON, TX 77025                                                        BOWLING GREEN, KY 42101




SHAWN HANBY                         SHAWN HARKNESS                       SHAWN HARTLEY
10201 S. MAIN STREET                10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SHAWN HEUBEL                        SHAWN HOLMAN                         SHAWN HOSTON
10201 S. MAIN STREET                10201 S. MAIN STREET                 7405 BLUESTONE DR
HOUSTON, TX 77025                   HOUSTON, TX 77025                    RENO, NV 89511
SHAWN JOHNSON          Case 18-12241-CSS
                                      SHAWNDoc 26
                                           JONES        Filed 10/05/18   PageSHAWN
                                                                              1448 JONES
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SHAWN KIMMEL                          SHAWN KOLKER                           SHAWN KORSVIK
10201 S. MAIN STREET                  WHSE MANAGER-OKLAHOMA CITY             11710 COTTONWOOD DRIVE
HOUSTON, TX 77025                     107 NE 10TH                            KENNEWICK, WA 99338
                                      MOORE, OK 73160




SHAWN LUNNEBORG                       SHAWN MADDEN                           SHAWN MCCAIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SHAWN MCCARTHY DBA MIX BOWL MEDIA     SHAWN MCMANUS                          SHAWN MEJIA
11 HOLLAND DR                         10201 S. MAIN STREET                   10201 S. MAIN STREET
RYE, NH 03870                         HOUSTON, TX 77025                      HOUSTON, TX 77025




SHAWN NORDMEYER                       SHAWN PADILLA                          SHAWN REYNOLDS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SHAWN SCOTT                           SHAWN SHAYES                           SHAWN SMITHEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SHAWN SOWERS                          SHAWN THOMPSON                         SHAWN WALKER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SHAWN WALTHALL                        SHAWN WARREN                           SHAWN WIGGINS
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




SHAWN ZABALA                          SHAWNA CUNNINGHAM                      SHAWNA WHITE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   2209 N 49TH ST
HOUSTON, TX 77025                     HOUSTON, TX 77025                      KANSAS CITY, KS 66104




SHAWNDA ANDERSON                      SHAWNDELL SMITH                        SHAWNE HORNE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   3236 VERDANT DR SW 519
HOUSTON, TX 77025                     HOUSTON, TX 77025                      ATLANTA, GA 30331
SHAWNEE COUNTY REFUSE    Case  18-12241-CSS
                           DEPARTMENT    SHAWNEEDoc   26 Filed
                                                   COVENANT     10/05/18
                                                            GROUP, LLC     PageSHAWNEE
                                                                                1449 ofHAMMER
                                                                                        1739
1515 NW SALINE ST. STE. 150              ATTN: REAL ESTATE DEPT                1055 KILONIONI LOOP
TOPEKA, KS 66618                         17000 RED HILL AVE                    HONOLULU, HI 96816
                                         IRVINE, CA 92614




SHAWNTA CLARK                              SHAWNTEE WARE                       SHAY AMATO
10201 S. MAIN STREET                       10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                   HOUSTON, TX 77025




SHAY BLACK                                 SHAY CARR                           SHAY MAXWELL
10201 S. MAIN STREET                       10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                   HOUSTON, TX 77025




SHAYA SHIVARANI                            SHAYE WAGAMAN                       SHAYNA METZGER
10201 S. MAIN STREET                       10201 S. MAIN STREET                2510 VIA VENICIA 2933
HOUSTON, TX 77025                          HOUSTON, TX 77025                   FORT WORTH, TX 76106




SHAYNE LEWIS                               SHAYNE MARINO                       SHAYONNA ALEXANDER
10201 S. MAIN STREET                       10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                   HOUSTON, TX 77025




SHAZ SADEGHI NAINI                         SHEA CALABRESE                      SHEA LANCASTER
10201 S. MAIN STREET                       10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                   HOUSTON, TX 77025




SHEA PROPERTIES                            SHEAKLEY UNISERVICE INC             SHEANA ROBINSON
ATTN: LEGAL DEPARTMENT                     PO BOX 465603                       10201 S. MAIN STREET
6380 S. FIDDLERS GREEN CIRCLE, SUITE 400   CINCINNATI, OH 45246                HOUSTON, TX 77025
GREENWOOD VILLAGE, CO 80111




SHEARER DELIVERY SERVICE INC               SHEELA AMIN                         SHEELA AMIN
32339 LEELANE ST                           10201 S. MAIN STREET                10201 S. MAIN STREET
FARMINGTON, MI 48336                       HOUSTON, TX 77025                   HOUSTON, TX 77025




SHEEN MCINTYRE                             SHEENA MCCARTHY                     SHEENA REED
10201 S. MAIN STREET                       10201 S. MAIN STREET                912 S ROSEWOOD ST
HOUSTON, TX 77025                          HOUSTON, TX 77025                   EFFINGHAM, IL 62401




SHEERAZ A KHAN                             SHEILA COKLAN                       SHEILA DONKOR
10201 S. MAIN STREET                       10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                   HOUSTON, TX 77025
                     Case
SHEILA FARRAGHER-GEMMA       18-12241-CSS
                                       SHEILA Doc   26 Filed 10/05/18
                                              G. RIESEL                 PageSHEILA
                                                                             1450 G.ofRIESEL
                                                                                       1739
10201 S. MAIN STREET                    C/O BLANK ROME LLP                   C/O BLANK ROME LLP
HOUSTON, TX 77025                       405 LEXINGTON AVE                    405 LEXINGTON AVE
                                        NEW YORK, NY 10174                   NEW YORK, NY 10174-0208




SHEILA GALLANT                          SHEILA HAMILTON                      SHEILA HOOKFIN
10201 S. MAIN STREET                    01510 SW BUDDINGTON STREET           10225 WORTHAM BLVD APT 12313
HOUSTON, TX 77025                       PORTLAND, OR 97219                   HOUSTON, TX 77065




SHEILA LEVINE                           SHEILA ROSS                          SHEILA SMITH
7172 TRENTINO WAY                       10201 S. MAIN STREET                 109 GRANVILLE CT
BOYTON BEACH, FL 33472                  HOUSTON, TX 77025                    SANDY SPRINGS, GA 30328




SHEILA SMOTHERMAN                       SHEILA WILKINS                       SHEILAH WILLIAMS
2326 IRBY LN                            10201 S. MAIN STREET                 10201 S. MAIN STREET
MURFREESBORO, TN 37127                  HOUSTON, TX 77025                    HOUSTON, TX 77025




SHEL KAPLAN                             SHELAGH BISCEGLIA                    SHELAH R MORTON
28248 N. TATUM BOULVARD B-1 477         10201 S. MAIN STREET                 DBA M3 PAINT & BODY
CAVE CREEK, AZ 85331                    HOUSTON, TX 77025                    2618 COUNTY RD 137
                                                                             CISCO, TX 76437




SHELBI GARRETT                          SHELBI MALLEY                        SHELBY ANDERSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




SHELBY BENTON                           SHELBY BRYAN                         SHELBY CHANEY
1510 CUMBERLAND WAY                     10201 S. MAIN STREET                 10201 S. MAIN STREET
INDIANAPOLIS, IN 46229                  HOUSTON, TX 77025                    HOUSTON, TX 77025




SHELBY CHRISS                           SHELBY CHRISS                        SHELBY COUNTY CLERK
10201 S. MAIN STREET                    10201 S. MAIN STREET                 150 WASHINGTON AVE, 200
HOUSTON, TX 77025                       HOUSTON, TX 77025                    MEMPHIS, TN 38103




SHELBY COUNTY PROPERTY TAX              SHELBY COUNTY TRUSTEE                SHELBY COUNTY WATER SERVICES
COMMISSIONER                            ATTN: SALES & USE TAX DEPT.          10927 HWY 280
P.O. BOX 1298                           PO BOX 2751                          WESTOVER, AL 35185
COLUMBIANA, AL 35051-1298               MEMPHIS, TN 38101-2751




SHELBY COUNTY WATER SERVICES            SHELBY DOUGLAS                       SHELBY GAITHER
P.O. BOX 37                             611 BROOKSIDE PASS                   10201 S. MAIN STREET
WESTOVER, AL 35185-0037                 CEDAR PARK, TX 78613                 HOUSTON, TX 77025
SHELBY GREGORY         Case 18-12241-CSS
                                      SHELBYDoc 26 Filed 10/05/18
                                            HAMPTON                       PageSHELBY
                                                                               1451 of 1739
                                                                                     HENDERSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SHELBY RAKOSKI                         SHELBY WENZLAFF                        SHELBY
10201 S. MAIN STREET                   44 RAVINE RD                           ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                      POWELL, OH 43065                       150 WASHINGTON AVE 200
                                                                              MEMPHIS, TN 38103




SHELBYVILLE RD PLAZA- HAGAN            SHELBYVILLE ROAD PLAZA                 SHELBYVILLE ROAD PLAZA
PROPERTIES                             12949 SHELBYVILLE RD 102               C/O HAGAN PROPERTIES INC
12949 SHELBYVILLE RD 100               LOUISVILLE, KY 40243                   12911 REAMERS RD
LOUISVILLE, KY 40243                                                          LOUISVILLE, KY 40245




SHELDON A OSTROFF APC                  SHELDON COMPANY                        SHELDON DOSS
1441 STATE ST                          2198 TAYLOR                            10201 S. MAIN STREET
SAN DIEGO, CA 92101                    HOUSTON, TX 77007                      HOUSTON, TX 77025




SHELDON HALL                           SHELDON KEE                            SHELF TAG SUPPLY CORP
10201 S. MAIN STREET                   10201 S. MAIN STREET                   611 THIRD AVE SW
HOUSTON, TX 77025                      HOUSTON, TX 77025                      CARMEL, IN 46032




SHELIA BEVLY                           SHELIA POWERS                          SHELLEY BERGMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   2001 CALIFORNIA ST 605
HOUSTON, TX 77025                      HOUSTON, TX 77025                      SAN FRANCISCO, CA 94109




SHELLEY VONPONGRACZ                    SHELLY BROWN                           SHELLY CARPENTER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




SHELLY DUNN                            SHELLY LESTER                          SHELLY MAGBY
2562 GRANDVIEW ST                      10201 S. MAIN STREET                   10201 S. MAIN STREET
SAN DIEGO, CA 92110                    HOUSTON, TX 77025                      HOUSTON, TX 77025




SHELLY NELSON                          SHELLY STAWICKI                        SHELPOINT LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                   C/O ROBBINS PROPERTIES I LLC
HOUSTON, TX 77025                      HOUSTON, TX 77025                      3100 W END AVE STE 1070
                                                                              NASHVILLE, TN 37203




SHELTER POINT LIFE INSURANCE COMPANY   SHELTER POINT LIFE INSURANCE COMPANY   SHELTON HARRIS
1225 FRANKLIN AVE STE 475              PO BOX 220727                          10201 S. MAIN STREET
GARDEN CITY, NY 11530                  GREAT NECK, NY 11021-5202              HOUSTON, TX 77025
                     Case
SHENANDOAH VALLEY ELEC COOP18-12241-CSS     Doc 26
                                     SHENANDOAH         Filed
                                                   VALLEY ELEC10/05/18
                                                               COOP      PageSHENETTRA
                                                                              1452 of 1739
                                                                                       MONROE
180 OAKWOOD DR                       P.O. BOX 49001                          10201 S. MAIN STREET
ROCKINGHAM, VA 22801                 BALTIMORE, MD 21297-4901                HOUSTON, TX 77025




SHENETTRA MONROE                       SHENG VANG                            SHENIA RUBIT
10201 S. MAIN STREET                   1409 RENE AVE                         10201 S. MAIN STREET
HOUSTON, TX 77025                      SACRAMENTO, CA 95838                  HOUSTON, TX 77025




SHENITZER DEVELOPMENT COMPANY          SHENITZER DEVELOPMENT LLC             SHEPARD LOGISTICS LLC
5633 E GRANT RD                        PO BOX 30128                          W209N11385 REGER CT
TUCSON, AZ 85712                       TUCSON, AZ 85751                      GERMANTOWN, WI 53022




SHERADE BOND                           SHERAIL GLASS                         SHERAZ SHAIKH
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




SHERI WINTERS-DILLARD                  SHERICKA HOUSTON                      SHERIDAN ENGELKING
10201 S. MAIN STREET                   131 WATERLYNN RIDGE RD APT 301        10201 S. MAIN STREET
HOUSTON, TX 77025                      MOORESVILLE, NC 28117                 HOUSTON, TX 77025




SHERIDAN ING PARTNERS HAWAII           SHERIDAN ING PARTNERS HAWAII          SHERIDAN STEELE
ATTN: RICHARD K. ING                   CAROL ING OR KATHY ING                10201 S. MAIN STREET
841 BISHOP STREET, SUITE 860           841 BISHOP STREET, SUITE 860          HOUSTON, TX 77025
HONOLULU, HI 96813                     HONOLULU, HI 96813




SHERIE PEREZ                           SHERIFF AND TAX COLLECTOR             SHERIFF OF JEFFERSON COUNTY
10201 S. MAIN STREET                   PO BOX 1450                           112 E WASHINGTON ST
HOUSTON, TX 77025                      LAKE CHARLES, LA 70602-1450           PO BOX 9
                                                                             CHARLESTOWN, WV 25414




SHERIFF OF OHIO COUNTY                 SHERIFF OF SUFFOLK COUNTY             SHERIFFS CIVIL DIVISION
PO BOX 188                             360 YAPHANK AVE STE 1A                3341 POWER INN ROAD 313
WHEELING, WV 26003-0024                YAPHANK, NY 11980                     SACRAMENTO, CA 95826-3889




SHERIN AND LODGEN LLP                  SHERISSE TUCKER                       SHERLOCK LEANDER
101 FEDERAL ST                         10201 S. MAIN STREET                  10201 S. MAIN STREET
BOSTON, MA 02110                       HOUSTON, TX 77025                     HOUSTON, TX 77025




SHERMAN & HOWARD LLC                   SHERMAN COMMONS, L.P.                 SHERMAN COMMONS, LP
522 SEVENTEENTH ST STE 3000            C/O CBRE, INC.                        C/O CBRE, INC.
DENVER, CO 80202                       ATTN: PAULA GARCIA                    8080 PARK LANE, SUITE 800
                                       8080 PARK LANE, SUITE 800             DALLAS, TX 75231
                                       DALLAS, TX 75231
SHERMAN COMMONS, LP Case    18-12241-CSS   Doc
                                      SHERMAN   26 Filed
                                              COMMONS, LP 10/05/18           PageSHERMAN
                                                                                  1453 ofCOMMONS,
                                                                                          1739 LP
C/O CBRE, INC.                        C/O THE PRUDENTIAL INS CO OF AMERICA       PO BOX 731957
ATTN: PAULA GARCIA                    ATTN: ASSET MANAGER - SHERMAN              DALLAS, TX 75267-7370
8080 PARK LANE, SUITE 800             COMMONS, LP
DALLAS, TX 75231                      7 GIRALDA FARMS
                                      MADISON, NJ 07940


SHERMAN COMMONS, LP                   SHERMAN COMMONS, LP                        SHERMAN DONOVAN
PO BOX 731957                         PO BOX 731957                              10201 S. MAIN STREET
DALLAS, TX 75373                      DALLAS, TX 75373-1957                      HOUSTON, TX 77025




SHERON HARMON                         SHERRET BAILEY                             SHERRI BOREK
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




SHERRI MOLOSKY                        SHERRIE LIEN                               SHERRIE NICKLES-COVINGTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




SHERRIE SALLEE                        SHERRIE WILSON                             SHERRIFFS ALARM BUREAU
10201 S. MAIN STREET                  10201 S. MAIN STREET                       PO BOX 988
HOUSTON, TX 77025                     HOUSTON, TX 77025                          SACRAMENTO, CA 95815-0988




SHERROD WALL                          SHERRY FITCH                               SHERRY BUNDICK
10201 S. MAIN STREET                  970 PERRYDALE RD                           10201 S. MAIN STREET
HOUSTON, TX 77025                     DALLAS, OR 97338                           HOUSTON, TX 77025




SHERRY CLARK                          SHERRY HEWELL                              SHERRY LOU WESTREM
10201 S. MAIN STREET                  10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                          HOUSTON, TX 77025




SHERRY MANNO YEAMAN                   SHERRY RUSS-SENSAT                         SHERRY SHIELDS
DBA MY2 OR MANNO YEAMAN               10201 S. MAIN STREET                       10201 S. MAIN STREET
5722 CARUTH BLVD                      HOUSTON, TX 77025                          HOUSTON, TX 77025
DALLAS, TX 75209




SHERRY SUESS                          SHERRYL FARTHING                           SHERWIN ELECTRIC CO INC
10201 S. MAIN STREET                  PO BOX 225                                 7A MORSE DR
HOUSTON, TX 77025                     PERRY, OK 73077                            ESSEX JUNCTION, VT 05452




SHERWIN ROBIN AND ASSOCIATES P.C.     SHERWOOD SOUTHEAST LLC                     SHERWOOD SOUTHWEST LLC
315 CEDAR ST                          PO BOX 101420                              2830 NE 29TH STREET
METTER, GA 30439                      ATLANTA, GA 30392-1420                     FORT LAUDERDALE, FL 33306
SHERWOOD WEST LLC      Case   18-12241-CSS
                                        SHERYLDoc
                                               BOYD26      Filed 10/05/18   PageSHERYL
                                                                                 1454 of 1739
                                                                                       CHALECKI
9310 W BUCKEYE RD STE 100                1708 LIMESTONE TERRACE                  3004 HUNTINGTON WOODS
TOLLESON, AZ 85353                       LITHONIA, GA 30331                      TALLAHASSEE, FL 32303




SHEVON JOHN                              SHI CLIFFORD                            SHI INTERNATIONAL CORP
10201 S. MAIN STREET                     10201 S. MAIN STREET                    PO BOX 41602
HOUSTON, TX 77025                        HOUSTON, TX 77025                       PHILADELPHIA, PA 19101-1602




SHI INTERNATIONAL CORP.                  SHIANNE CHENIER                         SHIELD SECURITY SYSTEMS LLC
P.O. BOX 952121                          4002 CORDER ST 23                       7456 W 5TH AVE
DALLAS, TX 75395-2121                    HOUSTON, TX 77021                       LAKEWOOD, CO 80226




SHIHADEH PROPERTY HOLDINGS, LLC          SHILOH MORRISVILLE LLC                  SHILOH MORRISVILLE LLC
ATTN: VICTOR AQEEL                       9830 COLONNADE BLVD STE 600             C/O US RE LIMITED PARTNERSHIP
202 DEVON FARMS ROAD                     SAN ANTONIO, TX 78230-2239              PO BOX 202235 DEPT 23510
STORMVILLE, NY 12582                                                             DALLAS, TX 75320-2235




SHILOH ORTIZ                             SHINEESA JARVIS                         SHINER MANAGEMENT GROUP, INC.
10201 S. MAIN STREET                     10201 S. MAIN STREET                    ATTN: GARY EDIDIN
HOUSTON, TX 77025                        HOUSTON, TX 77025                       3201 OLD GLENVIEW ROAD, SUITE 301
                                                                                 WILMETTE, IL 60091




SHIPPERS SUPPLIES INC                    SHIRAZEE LLC                            SHIREEN GHOFRANIHA
P.O. BOX 337                             2418 13TH ST SE                         10201 S. MAIN STREET
BELLVILLE, OH 44813-0726                 SALEM, OR 97302                         HOUSTON, TX 77025




SHIREESA RAGBIR LAWRENCE                 SHIRLEY CHANDLER                        SHIRLEY N. HILL
10201 S. MAIN STREET                     41105 TORREY PINE CT                    3750 MATTHEWS WEDDINGTON RD
HOUSTON, TX 77025                        HEMET, CA 92544                         MATTHEWS, NC 28104




SHIRLEY N. HILL                          SHIRLEY NOVACK                          SHIRLEY PARTON
3750 MATTHEWS WEDDINGTON RD              11 CREST RD                             10201 S. MAIN STREET
MATTHEWS, NC 28105                       FRAMINGHAM, MA 01702                    HOUSTON, TX 77025




SHIRLEY PEREIRA                          SHIRLEY PLUMMER                         SHIRLEY SMITH
10201 S. MAIN STREET                     7041 SUNSET STRIP APT 212 A             10201 S. MAIN STREET
HOUSTON, TX 77025                        SUNRISE, FL 33313                       HOUSTON, TX 77025




SHISH UPPAL                              SHIVANI TRIVEDI                         SHMARIAN JACKSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025
                    Case 18-12241-CSS
SHOCKOE COMMERCIAL PROPERTIES      SHONA Doc    26 Filed
                                          MCCOMAS              10/05/18    PageSHONTEZ
                                                                                1455 ofJACKSON
                                                                                        1739
1315 E. CARY STREET                10201 S. MAIN STREET                        10201 S. MAIN STREET
RICHMOND, VA 23219                 HOUSTON, TX 77025                           HOUSTON, TX 77025




SHOP ONE CENTERS REIT INC            SHOPCORE PROPERTIES, LP                   SHOPCORE PROPERTIES, LP
SO - CONYERS LLC                     ATTN: GAYLEN A. SPENCER                   ATTN: KELLY OMEARA
10100 WATERVILLE ST                  10742 TRINITY PARKWAY, SUITE E            TWO LIBERTY PLACE, SUITE 3325
WHITEHOUSE, OH 43571                 STOCKTON, CA 95219                        50 SOUTH 16TH STREET
                                                                               PHILADELPHIA, PA 19102



SHOPCORE PROPERTIES, LP              SHOPCORE PROPERTIES, LP                   SHOPCORE PROPERTIES, LP
ATTN: KYLE CLAYTON                   ATTN: LEGAL DEPARTMENT                    ATTN: SCOTT KRUMM
10742-E TRINITY PARKWAY              TWO LIBERTY PLACE, SUITE 3325             10920 VIA FRONTERA, SUITE 220
STOCKTON, CA 95219                   50 SOUTH 16TH STREET                      SAN DIEGO, CA 92127
                                     PHILADELPHIA, PA 19102



SHOPCORE PROPERTIES, LP              SHOPPERTRAK RCT CORPORATION               SHOPPES AT CORNERSTONE II, LTD.
ATTN: TERRIE HATFIELD                6564 SOLUTION CENTER                      C/O OBERER REALTY SERVICES
TWO LIBERTY PLACE, SUITE 3325        CHICAGO, IL 60677-6005                    3445 NEWMARK DRIVE, BUILDING 2
50 SOUTH 16TH STREET                                                           MIAMISBURG, OH 45342
PHILADELPHIA, PA 19102



SHOPPES AT CORNERSTONE II, LTD.,     SHOPPES AT DEER CREEK LLC                 SHOPPES AT DEER CREEK LLC
C/O OBERER REALTY SERVICES           3345 BEE CAVE RD STE 206                  CO DYKES EVERETT & CO INC
3445 NEWMARK DRIVE, BUILDING 2       AUSTIN, TX 78746                          822 WEST CENTRAL BLVD
MIAMISBURG, OH 45342                                                           ORLANDO, FL 32805




SHOPPES AT NEW TAMPA LLC             SHOPPES AT NOTTINGHAM BUSINESS            SHOPPES AT NOTTINGHAM BUSINESS
3641 WEST KENNEDY BOULEVARD STE. A   TRUST                                     TRUST
TAMPA, FL 33609                      C/O FEDERAL REALTY INVESTMENT TRUST       PROPERTY 2280
                                     1626 EAST JEFFERSON STREET                LOCKBOX 9320
                                     ROCKVILLE, MD 20852                       PHILADELPHIA, PA 19178-9320



SHOPPES AT NOTTINGHAM SQ BUS         SHOPPES AT RIVER EDGE LLC                 SHOPPES AT RIVERS EDGE LLC
P.O. BOX 8500                        ATTN: LOCKBOX 5887                        C/O HDA PROPERTIES INC
PHILADELPHIA, PA 19178-9320          PO BOX 8500                               1900 AVE OF THE STARS 2400
                                     PHILADELPHIA, PA 19178                    LOS ANGELES, CA 90067




SHOPPES AT ROAN LLC                  SHOPPES AT ROAN, LLC                      SHOPPES AT ROAN, LLC
2151 VOLUNTEER PKWY                  2151 VOLUNTEER PKWY                       P.O. BOX 3142
BRISTOL, TN 37620                    BRISTOL, TN 37620                         BRISTOL, TN 37625




SHOPPES OF LAKE VILLAGE LTD          SHOPPES OF VENICE II LLC                  SHOPPES ON BROADWAY (TIC)
ATTN: COMMERCIAL AR                  CO RETAIL INVEST SPECIALISTS LLC          C/O ROSE CITY PROPERTY MANAGEMENT,
2725 S INDUSTRIAL HWY STE 300        2345 W SAND LAKE RD STE 100               INC.
ANN ARBOR, MI 48104                  ORLANDO, FL 32809                         P.O. BOX 167
                                                                               BULLARD, TX 75757



SHOPPING CENTER BF, LLC              SHOPPING CENTER BF, LLC                   SHOPPING NEWS LLC
3730 W DEVON AVE                     3730 W. DEVON AVENUE                      NEWS & NEIGHBOR
LINCOLNWOOD, IL 60712                LINCOLNWOOD, IL 60712                     PO BOX 5006
                                                                               JOHNSON CITY, TN 37602
SHOPS GREENRIDGE      Case     18-12241-CSS
                                         SHOPS Doc 26 Filed 10/05/18
                                               GREENRIDGE                   PageSHOPS
                                                                                 1456AT
                                                                                      ofCAMERON
                                                                                         1739 PLACE LLC
3414 PEACHTREE RD NE STE 950             PO BOX 74008261                        ATTN: NICHOLAS D BROWN
ATLANTA, GA 30326                        CHICAGO, IL 60674-8261                 700 EXPOSITION PLACE STE 131
                                                                                RALEIGH, NC 27615




SHOPS AT DOWLEN LLC                      SHOPS AT DOWLEN LLC                    SHOPS AT GRAND AVENUE LLC
C/O FERTITTA REALTY                      PO BOX 1831                            PROPERTY 0288
PO BOX 12400                             BOCA RATON, FL 33429                   PO BOX 415980
BEAUMONT, TX 77726                                                              BOSTON, MA 02241-5980




SHOPS AT JOHNS LLC                       SHOPS AT MIDWAY, LLC                   SHOPS AT NORTHEAST MALL, LLC
P.O. BOX 281546                          P.O. BOX 171                           ATTN: ROBERT P. DEMCHAK
ATLANTA, GA 30384-1546                   LARGO, FL 33779                        867755 RELIABLE PKWY
                                                                                CHICAGO, IL 60686




SHOPS AT NORTHEAST MALL, LLC             SHOPS AT RAYFORD CROSSING LLC          SHOPS AT RIVER CITY LLC
DBA THE SHOPS AT NE MALL                 PO BOX 660394                          C/O FIRST SOUTHERN BANK
867755 RELIABLE PKWY                     DALLAS, TX 75266-0394                  PO BOX 668513
CHICAGO, IL 60686                                                               MIAMI, FL 33166




SHOPS AT SOUTHERN PINES COMMONS          SHOPZILLA INC                          SHORE SQUARE PROPERTIES, LLC
LLLP                                     12200 W OLYMPIC BLVD STE 300           696 N.E. 125 STREET
270 W NEW ENGLAND AVE                    LOS ANGELES, CA 90064-1057             NORTH MIAMI, FL 33161
WINTER PARK, FL 32789




SHORE SQUARE PROPERTIES, LLC             SHORE UNITED BANK INC                  SHORELINE RECORDS MANAGEMENT INC
PO BOX 611030                            ATTN: DAVID MORSE                      3385 VETERANS MEMORIAL HWY STE B
MIAMI, FL 33261                          PO BOX 949                             RONKONKOMA, NY 11779
                                         EASTON, MD 21601




SHOREWOOD DEVELOPMENT GROUP              SHOREWOOD MUNICIPAL UTILITIES          SHORT PUMP CORNER LC
MARNIE HAMEL                             ONE TOWNE CENTER BLVD                  ATTN: DENNIS NEIL RANKINS
2150 E. LAKE COOK ROAD, SUITE 820        SHOREWOOD, IL 60404                    506 SANDALWOOD DR
BUFFALO GROVE, IL 60089                                                         RICHMOND, VA 23229




SHOW PROS INTERNATIONAL LLC              SHOW SERVICES LLC                      SHOW TECHNOLOGY PRODUCTIONS
P.O. BOX 230699                          PO BOX 1269                            15303 HUEBNER RD. BLDG 4
LAS VEGAS, NV 89105-0699                 2700 JAY BIRD LANE                     SAN ANTONIO, TX 78248
                                         SPRINGTOWN, TX 76082




SHOWME MOUNTAIN INVESTORS, LLC           SHOWME MOUNTAIN INVESTORS, LLC         SHRED- IT USA-CHICAGO
ATTN: TED LEVIS                          ATTN: TED LEVIS                        28883 NETWORK PLACE
11456 OLIVE BOULEVARD, SUITE 210         11456 OLIVE BOULEVARD, SUITE 210       CHICAGO, IL 60673-1288
SAINT LOUIS, MO 63141                    ST. LOUIS, MO 63141




SHRED-IT PASADENA                        SHRED-IT SEATTLE                       SHRED-IT USA - NEW YORK
PO BOX 101007                            PO BOX 101266                          PO BOX 13574
PASADENA, CA 91189-1007                  PASADENA, CA 91189-1266                NEWARK, NJ 07188-3574
SHRED-IT USA DALLAS      Case 18-12241-CSS    Doc
                                        SHRED-IT USA26
                                                     INC Filed 10/05/18      PageSHRED-IT
                                                                                  1457 ofUSA
                                                                                          1739
                                                                                             INC
PO BOX 730504                             11101 FRANKLIN AVE STE 100              PO BOX 101007
DALLAS, TX 75373-0504                     FRANKLIN PARK, IL 60131-1403            PASADENA, CA 91189




SHRED-IT USA INC-MINNEAPOLIS              SHRED-IT USA LLC                        SHRED-IT
25535 NETWORK PLACE                       PO BOX 13574                            P.O.BOX 3801
CHICAGO, IL 60673                         NEW YORK, NY 10087-3574                 HAMPTON, VA 23663




SHREWSBURY PROPERTIES GROUP LLC           SHSR IRVING PARTNERS LLC                SHTEIN PROPERTIES, LLC
ATTN: LOUIS HUBBERMAN                     301 CONGRESS AVE 1550                   1655 DEANZA BOULEVARD
47 LATIMORE WAY                           AUSTIN, TX 78701                        CUPERTINO, CA 95014
OWINGS MILLS, MD 21117




SHTEIN PROPERTIES, LLC                    SHUNON JACKSON                          SHUTTERSTOCK INC
ATTN: VARDY                               10201 S. MAIN STREET                    DEPT CH 17445
10227 SO. DE ANZA BLVD                    HOUSTON, TX 77025                       PALATINE, IL 60055-7445
CUPERTINO, CA 95014




SHWETA SINGH                              SHYLO CREEK                             SHYLON BARNES
10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025




SHYNEIM ANTONIO GARRIQUES                 SHYNEKA RICHARDSON                      SHYNISHA JONES
11668 FRANCIS DRAKE DR                    101 SHAW LN                             10201 S. MAIN STREET
JACKSONVILLE, FL 32225                    JONESBORO, GA 30236                     HOUSTON, TX 77025




SIAD GHASALI                              SIB DEVELOPMENT & CONSULTING INC        SIBOSE LLC
10201 S. MAIN STREET                      P.O. BOX 100199                         SPINK & EDGAR
HOUSTON, TX 77025                         COLUMBIA, SC 29202                      2830 NE 29TH ST
                                                                                  FORT LAUDERDALE, FL 33306




SICILY DICKENSON                          SID MENON                               SIDCOR SCHAUMBURG ASSOCIATES LLC
10201 S. MAIN STREET                      10201 S. MAIN STREET                    ATTN: DALE DOBROTH
HOUSTON, TX 77025                         HOUSTON, TX 77025                       N9274 WINDY WAY
                                                                                  MUKWONAGO, WI 53149




SIDCOR SCHAUMBURG ASSOCIATES LLC          SIDD COBB                               SIDLEY AUSTIN LLP
C/O CBRE PROPERTY CONTROLLER              10201 S. MAIN STREET                    ONE S DARBORN ST
20 NMICHIGAN AVE STE 400                  HOUSTON, TX 77025                       CHICAGO, IL 60603
CHICAGO, IL 60602




SIDLEY AUSTIN LLP                         SIDNEI SANTOS                           SIDNEY ARAGON
PO BOX 0642                               10201 S. MAIN STREET                    10201 S. MAIN STREET
CHICAGO, IL 60690                         HOUSTON, TX 77025                       HOUSTON, TX 77025
SIDNEY CARTER            Case 18-12241-CSS
                                        SIDNEYDoc
                                              HILL 26      Filed 10/05/18      PageSIDNEY
                                                                                    1458 LASSITER
                                                                                          of 1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




SIDNEY MOSS                              SIDNEY SOUTO                              SIDNEY SOUTO
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




SIDNEY THOMAS                            SIDNEY THOMPSON                           SIDNEY WILLIAMS
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




SIDONIA DURHAM                           SIEGEN PLACE, LLC                         SIEGEN PLACE, LLC
10201 S. MAIN STREET                     C/O PERSAC PROPERTIES INC                 C/O PERSAC PROPERTIES INC
HOUSTON, TX 77025                        5800 ONE PERKINS PLACE DRIVE, #9 B        5800 ONE PERKINS PLACE DRIVE, 9 B
                                         BATON ROUGE, LA 70808                     BATON ROUGE, LA 70808




SIEGEN PLACE, LLC                        SIEGFRIED LEYH                            SIELFLEISCH ROOFING INC
C/O PERSAC PROPERTIES INC                10201 S. MAIN STREET                      808 HORAN DR
PO BOX 14208                             HOUSTON, TX 77025                         FENTON, MO 63026
BATON ROUGE, LA 70898




SIEMENS                                  SIENA INVESTMENTS, LLC                    SIENA INVESTMENTS, LLC
P.O. BOX 99076                           ATTN: JANET SURAK                         ATTN: MICHAEL DAMANTE
CHICAGO, IL 60693-9076                   9 TRIANGLE PARK DRIVE                     9 TRIANGLE PARK DRIVE
                                         P.O. BOX 1750                             P.O. BOX 1750
                                         CONCORD, NH 03302-1750                    CONCORD, NH 03302



SIENA INVESTMENTS, LLC                   SIENNA 1688 LP                            SIENNA 1688 LP
ATTN: MICHAEL DAMANTE                    ATTN: FRANK LEE                           ATTN: FRANK LEE
9 TRIANGLE PARK DRIVE                    4502 HWY 6 STE 13                         4502 HWY 6 STE B
P.O. BOX 1750                            SUGAR LAND, TX 77478                      SUGAR LAND, TX 77478
CONCORD, NH 03302-1750



SIENNA PLANTATION LID                    SIENNA PLANTATION MANAGEMENT              SIERA WILLIS
TAX COLLECTOR                            DISTRICT TAX ASSESSOR/COLLECTOR           1307 HOLBECH LN
12841 CAPRICORN ST                       TAX COLLECTOR                             CHANNELVIEW, TX 77530
STAFFORD, TX 77477-3912                  12841 CAPRICORN ST
                                         STAFFORD, TX 77477-3912



SIERRA BROOKS                            SIERRA ELECTRIC INC                       SIERRA H BROADCASTING INC
10201 S. MAIN STREET                     PO BOX 2345                               1710 E INDIAN SCHOOL RD STE 205
HOUSTON, TX 77025                        PASCO, WA 99301                           PHOENIX, AZ 85016




SIERRA NEVADA MEDIA GROUP                SIERRA PACIFIC MANAGEMENT CO., INC.       SIERRA PACIFIC MANAGEMENT INC
CUSTOMER PAYMENT CENTER                  650 NORTH PALORA, AVENUE A                P.O. BOX 1060
PO BOX 1888                              YUBA CITY, CA 95992                       YUBA CITY, CA 95992
CARSON CITY, NV 89702-1888
                      Case 18-12241-CSS
SIERRA TOWN CENTER HOLDINGS LLC      SIERRADoc
                                             VISTA26
                                                  SLEEPFiled
                                                        LLC       10/05/18   PageSIERRA
                                                                                  1459 WINBUSH
                                                                                        of 1739
C/O GATSKI COMMERCIAL                ATTN: THOMAS NAIFEH                         10201 S. MAIN STREET
4755 DEAN MARTIN DR                  5745 N PIEDRA SECA                          HOUSTON, TX 77025
LAS VEGAS, NV 89103                  TUCSON, AZ 85718




SIERRA WIRELESS AMERICA INC           SIETE COMPANAS PARTNERSHIP                 SIEVERS SECURITY INC
DEPT 3327                             C/O WILLIAM DIANA MGMT PARTNER             18210 ST CLAIR AVE
PO BOX 123327                         8529 N 15TH AVE                            CLEVELAND, OH 44110
DALLAS, TX 75312-3327                 PHOENIX, AZ 85021




SIF LEGAL COUNSEL                     SIFEN, INC                                 SIG EP FRAT FRIENDS, LLC
PHILLIPS EDISON & COMPANY, LTD        2900 SABRE STREET, SUITE 75                706 LAS LOMAS DR
11501 NORTHLAKE DRIVE                 VIRGINIA BEACH, VA 23452                   AUSTIN, TX 78746
CINCINNATI, OH 45249




SIG EP FRAT FRIENDS, LLC              SIGNAL FIRE                                SIGNAL MEDIA LITTLE ROCK
706 LAS LOMAS DR.                     6160 TRANSVERSE DR                         2400 COTTONDALE LN
AUSTIN, TX 78746                      LAS VEGAS, NV 89146                        LITTLE ROCK, AR 72202




SIGNAL MEDIA LITTLE ROCK              SIGNAL MEDIA OF ARKANSAS                   SIGNATURE BANK
PO BOX 251304                         2400 COTTONDALE LN                         9701 W. HIGGINS ROAD, SUITE 500
LITTLE ROCK, AR 72225-1304            LITTLE ROCK, AR 72202                      ROSEMONT, IL 60018




SIGNATURE EQUIPMENT                   SIGNATURE MANAGEMENT, INC.                 SIGNATURE VILLAGE LLC
2500 SOUTH 5600 WEST                  MARIA TSIGAS                               ATTN: PAULLETER CZARNEY
WEST VALLEY CITY, UT 84120            1365 WESTGATE CENTER DRIVE, SUITE B1       1071 W MORSE BLVD STE 100
                                      WINSTON-SALEM, NC 27103                    WINTER PARK, FL 32789




SIGNERSAYS LLC                        SIGNIUS                                    SIGNS BY TOMORROW
ATTN: CRAIG MILLER                    4778 DEWEY DR.                             3415 VIRGINIA BEACH BLVD
5889 JED SMITH RD                     FAIR OAKS, CA 95628-4401                   VIRGINIA BEACH, VA 23452
HIDDEN HILLS, CA 91302




SIGNS BY TOMORROW                     SIGNS ETC INC                              SIGNS GARAGE INC
3640 MUNDY MILL RD STE 140            910 E FRANKLIN RD STE 102                  13230 SW 132ND AVE STE 22
GAINESVILLE, GA 30504                 MERIDIAN, ID 83642                         MIAMI, FL 33186




SIGNTEX IMAGING LP                    SIGRID BARTON-POWELSON                     SIKIRU MABIFA
1225 ALMA SUITE C                     10201 S. MAIN STREET                       10201 S. MAIN STREET
TOMBALL, TX 77375                     HOUSTON, TX 77025                          HOUSTON, TX 77025




SIKOTI MANUMUA                        SILAS CREEK CROSSING ASSOCIATES, LLC       SILAS CREEK CROSSING ASSOCIATES, LLC
10201 S. MAIN STREET                  C/O ZAREMBA GROUP, LLC                     PO BOX 602802
HOUSTON, TX 77025                     14600 DETROIT AVENUE #1500                 CHARLOTTE, NC 28260-2802
                                      LAKEWOOD, OH 44107
                      Case 18-12241-CSS
SILBERT REALTY & MANAGEMENT                 DocPROTECTION
                                     SILCO FIRE   26 Filed       10/05/18   PageSILVER
                                                                                 1460 BEAR
                                                                                       of 1739
                                                                                           PROPERTIES
COMPANY, INC.                        10765 MEDALLION DR                          360251 GOLDEN LANTERN STE E263
152 LIBERTY CORNER ROAD, SUITE 203   CINCINNATI, OH 45241                        LAGUNA NIGUEL, CA 92677
WARREN, NJ 07059




SILVER CREEK PROPERTIES, LLC          SILVER CREEK PROPERTIES, LLC               SILVER DOLLAR FAIR
C/O GREAT LAKES CAPITAL               PO BOX 540                                 2357 FAIR ST
112 WEST JEFFERSON BOULEVARD, SUITE   SOUTH BEND, IN 46601                       CHICO, CA 95928
200
SOUTH BEND, IN 46601



SILVER PARK CORP                      SILVER PARK CORP                           SILVER SPUR PROPERTIES LLC
2711 INTERNATIONAL ST                 ATTN: WENDELL CORNETET                     ATTN: ROSE
COLUMBUS, OH 43228                    3856 RIVERVIEW DR                          PO BOX 117
                                      COLUMBUS, OH 43221                         COLUMBIA, SC 29202




SILVERADO RANCH PLAZA, LLC            SILVERADO RANCH PLAZA, LLC                 SILVERBROOK, INC.
C/O SELIGMAN GROUP                    PO BOX 310605                              ATTN: KRISTI DEAN
ONE TOWNE SQUARE, SUITE 1913          DES MOINES, IA 50331-0605                  406 NORTH MAIN STREET
SOUTHFIELD, MI 48076                                                             CLOVER, SC 29710




SILVERPOP SYSTEMS INC                 SILVERPOP SYSTEMS INC                      SILVERWOOD THEME PARK
200 GALLERIA PARKWAY SUITE 1000       P.O. BOX 347925                            ATTN: DIANNA HAUG
ATLANTA, GA 30339                     PITTSBURGH, PA 15251-4925                  27843 N HWY 95
                                                                                 ATHOL, ID 83801




SILVIA DELABRA                        SILVIO ALCIVAR                             SIMA MANAGEMENT CORPORATION
630 E TUNNELL ST                      10201 S. MAIN STREET                       1231 STATE STREET B
SANTA MARIA, CA 93454                 HOUSTON, TX 77025                          SANTA BARBARA, CA 93101




SIMEON JACKSON                        SIMER PALLET RECYCLING INC                 SIMI DIAS
831 SCALEYBARK RD APT Q               PO BOX 1189                                10201 S. MAIN STREET
CHARLOTTE, NC 28209                   CHICKASHA, OK 73023                        HOUSTON, TX 77025




SIMMONS MANUFACTURING CO LLC          SIMON & SIMON SYOSSET, LLC                 SIMON BRAND VENTURES, LLC
ATTN: JOHNNY NGUYEN                   C/O SIMON & SIMON PROPERTIES, LLC          ATTN: LAURA HALE- 10TH FLOOR
ONE CONCOURSE PKWY NE 800             ATTN: HEATHER CLARK                        225 WEST WASHINGTON STREET
SANDY SPRINGS, GA 30328               588 JERICHO TURNPIKE                       INDIANAPOLIS, IN 46204
                                      SYOSSET, NY 11791



SIMON CAPITAL GP                      SIMON COOKSON                              SIMON JUDE GEORGE
DBA TYRONE SQUARE                     10201 S. MAIN STREET                       105 BEN HAMBY RD
1361 MOMENTUM PLACE                   HOUSTON, TX 77025                          GREENVILLE, SC 29615
CHICAGO, IL 60689-5311




SIMON KIJU CHO 2006 FAMILY TRUST      SIMON LEVISON                              SIMON LI FURNITURE
7917 WINGED FOOT COURT                6697 GREENBACK LN                          WELLS FARGO BANK N.A.
PLEASANTON, CA 94588                  CITRUS HEIGHTS, CA 95621                   DEPT 842683
                                                                                 BOSTON, MA 02284-2683
SIMON LIVELY           Case 18-12241-CSS    Doc 26
                                      SIMON LIVERY        Filed 10/05/18   PageSIMON
                                                                                1461PRINTING
                                                                                     of 1739COMPANY
10201 S. MAIN STREET                  215 TALL TREE RD                         10810 CRAIGHEAD DR
HOUSTON, TX 77025                     ATHENS, GA 30606                         HOUSTON, TX 77025




SIMON PROPERTY GROUP TX LP            SIMON PROPERTY GROUP                     SIMON PROPERTY GROUP
DBA BARTON CREEK MALL                 545 E JOHN CARPENTER FWY                 MALL MGMT ELISHA SOVA
7620 RELIABLE PARKWAY                 SUITE 1000                               TOWN CENTER AT BOCA RATON
CHICAGO, IL 60686-0076                IRVING, TX 75062                         6000 GLADES ROAD STE 100
                                                                               BOCA RATON, FL 33431



SIMON PROPERTY GROUP                  SIMON PROPERTY GROUP                     SIMON PROPERTY GROUP
MALL MGMT HOLLY MORGAN                MALL MGT OFFICE COURTNEY MARTON          MALL MGT OFFICE LEXI HARRIS
TOWN CENTER AT COBB                   BARTON CREEK SQUARE                      WOLFCHASE GALLERIA
400 BARRETT PKWY STE 100              2901 CAPITAL OF TEXAS HWY                2760 NORTH GERMANTOWN PARKWAY
KENNESAW, GA 30144                    AUSTIN, TX 78746                         MEMPHIS, TN 38133



SIMON PROPERTY GROUP-THE GALLERIA     SIMON R. SANCHEZ                         SIMON RINGHAM
ATTN: REBECCA BRUNELL                 1123 PHINNEY AVE.                        10201 S. MAIN STREET
THE GALLERIA                          DALLAS, TX 75211                         HOUSTON, TX 77025
5085 WESTHEIMER STE 4850
HOUSTON, TX 77056



SIMON TAYLOR                          SIMONE BROWN                             SIMONE DA SILVA
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




SIMONE PRYCE                          SIMONE SINGH                             SIMONETTE 2, LLC
10201 S. MAIN STREET                  531 SW 38TH AVE                          ATTN: SIMON RUBIN
HOUSTON, TX 77025                     FORT LAUDERDALE, FL 33312                25085 ELDORADO MEADOW RD
                                                                               HIDDEN HILLS, CA 91302




SIMONETTE 2, LLC                      SIMOS GEROLIMATOS                        SIMPLE SIGNMAN INC
ATTN: SIMON RUBIN                     10201 S. MAIN STREET                     8948 WESTERN WAY, SUITE 20
25085 ELDORADO MEADOW RD.             HOUSTON, TX 77025                        JACKSONVILLE, FL 32256
HIDDEN HILLS, CA 91302




SIMPLE SIGNMAN SYSTEMS INC            SIMPLEX GRINNELL                         SIMPLIFY INC
8948 WESTERN WAY STE 20               DBA JOHNSON CONTROLS                     300 VALLEYWOOD DR
JACKSONVILLE, FL 32256                1501 YAMATO RD                           THE WOODLANDS, TX 77380
                                      BOCA RATON, FL 33431




SIMPLY HIRED                          SINA BABAEI                              SINCLAIR BROADCAST GROUP INC
FILE 1705                             10201 S. MAIN STREET                     PO BOX 206270
1801 W OLYMPIC BLVD                   HOUSTON, TX 77025                        DALLAS, TX 75320-6270
PASADENA, CA 91199-1705




SINCLAIR BROADCAST GROUP              SINCLAIR BROADCAST GROUP                 SINCLAIR BROADCAST GROUP
C/O KAME-TV                           C/O KATU                                 C/O KBFX & KBAK
PO BOX 206270                         PO BOX 206270                            PO BOX 206270
DALLAS, TX 75320-6270                 DALLAS, TX 75320-6270                    DALLAS, TX 75320-6270
                      Case
SINCLAIR BROADCAST GROUP     18-12241-CSS    Doc
                                       SINCLAIR    26 Filed
                                                BROADCAST    10/05/18
                                                          GROUP           PageSINCLAIR
                                                                               1462 ofBROADCAST
                                                                                       1739 GROUP
C/O KBOI-TV                             C/O KFRE-TV                           C/O KIMA
PO BOX 206270                           PO BOX 206270                         PO BOX 206270
DALLAS, TX 75320-6270                   DALLAS, TX 75320-6270                 DALLAS, TX 75320-6270




SINCLAIR BROADCAST GROUP                SINCLAIR BROADCAST GROUP              SINCLAIR BROADCAST GROUP
C/O KMPH-TV                             C/O KMTR                              C/O KOMO
PO BOX 206270                           PO BOX 206270                         PO BOX 206270
DALLAS, TX 75320-6270                   DALLAS, TX 75320-6270                 DALLAS, TX 75320-6270




SINCLAIR BROADCAST GROUP                SINCLAIR BROADCAST GROUP              SINCLAIR BROADCAST GROUP
C/O KOMO-TV                             C/O KPLZ-FM                           C/O KRNV TV
PO BOX 206270                           PO BOX 206270                         PO BOX 206270
DALLAS, TX 75320-6270                   DALLAS, TX 75320-6270                 DALLAS, TX 75320-6270




SINCLAIR BROADCAST GROUP                SINCLAIR BROADCAST GROUP              SINCLAIR BROADCAST GROUP
C/O KRXI-TV                             C/O KTVL-TV                           C/O KVAL
PO BOX 206270                           PO BOX 206270                         PO BOX 206270
DALLAS, TX 75320-6270                   DALLAS, TX 75320-6270                 DALLAS, TX 75320-6270




SINCLAIR BROADCAST GROUP                SINCLAIR BROADCAST GROUP              SINCLAIR BROADCAST GROUP
C/O KYUU                                C/O NIMA                              C/O NMTR
PO BOX 206270                           PO BOX 206270                         PO BOX 206270
DALLAS, TX 75320-6270                   DALLAS, TX 75320-6270                 DALLAS, TX 75320-6270




SINCLAIR BROADCAST GROUP                SINCLAIR BROADCASTING GROUP SEATTLE   SINCLAIR TELEVISION MEDIA INC
C/O NTVL-TV                             C/O KPLZ-FM                           10706 BEAVER DAM RD
PO BOX 206270                           PO BOX 206270                         COCKEYSVILLE, MD 21030
DALLAS, TX 75320-6270                   DALLAS, TX 75320-6270




SINCLAIR TELEVISION OF WASHINGTON INC   SING TAO NEWSPAPERS NY LTD            SINGING HILLS RETAIL 4, LLC
DBA KUNW CA                             188 LAFAYETTE ST                      C/O REOC SAN ANTONIO
10706 BEAVER DAM RD                     NEW YORK, NY 10013                    ATTN: PROPERTY MANAGER
COCKEYSVILLE, MD 21030                                                        8023 VANTAGE DR., SUITE 1200
                                                                              SAN ANTONIO, TX 78230



SINIAWA VIII L.P.                       SINIAWA VIII LP                       SINOMAX USA INC
851 COMMERCE BLVD STE 207               851 COMMERCE BOULEVARD                ATTN: CHIEF FINANCIAL OFFICER
DICKSON CITY, PA 18519                  DICKSON CITY, PA 18519                2901 WILCREST DR STE 100
                                                                              HOUSTON, TX 77042




SIOBHAN FROW                            SIPSY, DENNIS                         SIR GRAPHIC INC
10201 S. MAIN STREET                    46 NAUTILUS PL                        PO BOX 1822
HOUSTON, TX 77025                       PITTSBURG, CA 94565-3519              AUBURN, WA 98071




SIR SPEEDY PRINTING-DBA -QUINN          SIRETA SUMBLER                        SIRIUS COMPUTER SOLUTIONS INC
PRINTING INC                            10201 S. MAIN STREET                  PO BOX 202289
15323 MIDWAY ROAD                       HOUSTON, TX 77025                     DALLAS, TX 75320-2289
ADDISON, TX 75001
SIRIUS SOLUTIONS LLP  Case 18-12241-CSS     Doc 26 LLP
                                     SIRIUS SOLUTIONS  Filed    10/05/18   PageSIRLIN
                                                                                1463GALLOGLY
                                                                                      of 1739& LESSER
1233 WEST LOOP SOUTH SUITE 1800      P.O. BOX 202377                            123 S BROAD ST STE 2100
HOUSTON, TX 77027                    DALLAS, TX 75320-2377                      PHILADELPHIA, PA 19109




SIS ENTERPRISES INC                   SISO LLC                                  SISTERS II LLC
DBA SISCOVERS                         327 DAHLONEGA ST STE 102A                 P.O. BOX 538
6707 SHINGLE CREEK PARKWAY            CUMMING, GA 30040                         VIRGINIA BEACH, VA 23451
BROOKLYN CENTER, MN 55430




SIT N SLEEP INC                       SITA ENTERPRISES LLC                      SITEBOX STORAGE
MR. LARRY MILLER                      12660 SHERWOOD DR                         4340 S WEST ST
14300 S. MAIN ST                      LEAWOOD, KS 66209                         WICHITA, KS 67217
GARDENA, CA 90248




SITEBOX STORAGE                       SITECORE USA INC                          SITESEER TECHNOLOGIES
PO BOX 733895                         DEPT 34670                                6154 N MEEKER PLACE STE 185
DALLAS, TX 75391                      PO BOX 39000                              BOISE, ID 83713
                                      SAN FRANCISCO, CA 94139




SITKO BRUNO                           SITUS ENTERPRISES LLC                     SIX COUSINS REALTY, LLC
2740 SMALLMAN STREET, SUITE 300       ATTN: HUGO J WEINBERGER                   201 MONTROSE ROAD
PITTSBURGH, PA 15222                  333 W HAMPDEN AVE STE 600                 WESTBURY, NY 11590
                                      ENGLEWOOD, CO 80110




SIX COUSINS REALTY, LLC               SIX STAR TRUCKING INC.                    SIZEMEK TECHNOLOGIES
PO BOX 198                            299 BRYAN DR.                             500 W 5TH ST STE 900
BEDFORD, NY 10506                     DANIA BEACH, FL 33004                     AUSTIN, TX 78701




SIZEMEK TECHNOLOGIES                  SJ REALTY INVESTMENTS 94-095              SJL INVESTMENT COMPANY
PO BOX 28246                          HARRIS MILLER FINKLESTEIN                 1524 1/2 STATE STREET
NEW YORK, NY 10087-8245               1642 CLEVELAND AVE NW                     ATTN: LYNN KIRK
                                      CANTON, OH 44703                          SANTA BARBARA, CA 93101




SJL INVESTMENT COMPANY                SJL INVESTMENTS CO                        SKAGIT COUNTY TREASURER
ATTN: LYNN KIRK                       1524 1/2 STATE ST                         PO BOX 518
1524 1/2 STATE STREET                 SANTA BARBARA, CA 93101                   MOUNT VERNON, WA 98273
SANTA BARBARA, CA 93101




SKAGIT PUBLISHING                     SKAGIT PUD                                SKAGIT PUD
C/O ISJ PAYMENT PROCESSING CENTER     1415 FREEWAY DR                           P.O. BOX 1436
PO BOX 1570                           MOUNT VERNON, WA 98273                    MOUNT VERNON, WA 98273
POCATELLO, ID 83204-1570




SKAGIT                                SKILER LEWIS                              SKILLERNS BUSINESS SYSTEMS INC
ATTN: PROPERTY TAX DEPT.              10201 S. MAIN STREET                      1604 W GRANDE BLVD
PO BOX 518                            HOUSTON, TX 77025                         TYLER, TX 75703
MOUNT VERNON, WA 98273
SKILLSOFT CORPORATIONCase   18-12241-CSS    DocCORPORATION
                                      SKILLSOFT  26 Filed 10/05/18            PageSKITCH
                                                                                   1464 HAWKINS
                                                                                         of 1739
107 NORTHEASTERN BLVD                  BANK OF AMERICA                            10201 S. MAIN STREET
NASHUA, NH 03062                       PO BOX 405527                              HOUSTON, TX 77025
                                       ATLANTA, GA 30384-5527




SKM PETERSON LC                        SKM PETERSON LC                            SKN PROPERTIES
ATTN: MIKE PETERSON, MANAGER           ATTN: MIKE PETERSON, MANAGER               ATTN: JUDY TROCHLER
3574 NORTH 150 WEST                    3574 NORTH 150 WEST                        680 W SHAW AVE 202
PROVO, UT 84604                        WEST PROVO, UT 84604                       FRESNO, CA 93704




SKN PROPERTIES                         SKORUPA, LEILA                             SKY MORRIS
ATTN: JUDY TROEHLER                    8310 NEWBRIDGE CT                          10201 S. MAIN STREET
680 W SHAW AVE 202                     JOLIET, IL 60431-7738                      HOUSTON, TX 77025
FRESNO, CA 93704




SKYE ALTIERY                           SKYE ANFIELD                               SKYLAR HARRIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




SKYLAR HENDERSON                       SKYLER GARMAN                              SKYLER GOODY
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




SKYLER JOHNSON                         SKYLINE FURNITURE MFG INC                  SKYLINE FURNITURE MFG
10201 S. MAIN STREET                   401 N WILLIAMS ST                          401 N WILLIAMS ST
HOUSTON, TX 77025                      THORNTON, IL 60476                         THORNTON, IL 60476




SKYLINE HOLLY SPRINGS LLC              SKYLINE HOLLY SPRINGS LLC                  SKYLINE LOCUST LLC
C/O SKYLINE SEVEN PROPERTIES LLC       C/O SKYLINE SEVEN PROPERTIES LLC           5750 DTC PKWY STE 210
3 PIEDMONT CTR 3565 PIEDMONT RD STE    3 PIEDMONT CTR                             GREENWOOD VILLAGE, CO 80111
717                                    3565 PIEDMONT RD STE 717
ATLANTA, GA 30305                      ATLANTA, GA 30305



SKYLINE ROOFING & SHEET METAL CO INC   SKYLINE SEVEN RE                           SKYLINE SIGNS
3060 W MINNESOTA ST                    800 MT. VERNIN HIGHWAY NE, SUITE 425       4227 GLEN RIDGE DR
INDIANAPOLIS, IN 46241                 ATLANTA, GA 30328                          ARLINGTON, TX 76016




SKYPARK PLAZA                          SKYPOINTE PHD LLC                          SKYPOINTE PHD LLC
INVESTEC MGMT CORP                     C/O PHD PROPERTIES INC                     MHF REAL ESTATE GROUP
200 E CARILLO ST STE 200               3225-B S. RAINBOW 206                      PO BOX 7757
SANTA BARBARA, CA 93101                LAS VEGAS, NV 89146                        NEWPORT BEACH, CA 92658




SL MARBLE FALLS LP                     SL MARBLE FALLS LP                         SL NUSBAUM REALTY CO
300 CRESCENT CT STE 1113               9600 N MOPAC EXPY STE 250                  PO BOX 3580
DALLAS, TX 76201                       AUSTIN, TX 78759                           NORFOLK, VA 23514
SLALOM LLC             Case     18-12241-CSS
                                          SLALOMDoc
                                                 LLC 26      Filed 10/05/18   PageSLAPCO
                                                                                   1465 of
                                                                                         LLC1739
ATTN: CHIEF FINANCIAL OFFICER              DBA SLALOM CONSULTING                  1559B SLOAT BLVD 309
DBA SLALOM CONSULTING                      PO BOX 101416                          SAN FRANCISCO, CA 94132
821 2ND AVE STE 1900                       PASADENA, CA 91189-1416
SEATTLE, WA 98104



SLATE ASSET MANAGEMENT                     SLATE RETAIL HOLDING (NO 4) LP         SLATE RETAIL HOLDING NO 4 LP
121 KING STREET WEST, SUITE 200            PO BOX 74773                           PO BOX 74773
TORONTO, ON M5H 3T9                        CLEVELAND, OH 44194-4773               CLEVELAND, OH 44194-4773
CANADA




SLEBODA BUSINESS CONTROLS LLC              SLEEP & BEYOND INC                     SLEEP AMERICA LLC
701 DONHAM CT                              14611 EL MOLINO ST                     1202 N 54TH AVE 11
VIRGINIA BEACH, VA 23452                   FONTANA, CA 92335                      PHOENIX, AZ 85043




SLEEP BEYOND                               SLEEP DESIGNS                          SLEEP TRAIN VANCOUVER LLC
14611 EL MOLINO STREET                     PO BOX 12609                           ATTN: JEFFRY J. TALLMAN
FONTANA, CA 92335                          HOUSTON, TX 77217                      20409 N. 95TH STREET
                                                                                  SCOTTSDALE, AZ 85255




SLEEP WELL LLC DBA TERESA CRALLE           SLEEP WELL LLC DBA TERESA CRALLE       SLEEP-EZZ
1131 CAMBRIDGE HILL LANE                   P.O. BOX 8484                          PO BOX 1221
KESWICK, VA 22947                          RICHMOND, VA 23226                     CALHOUN CITY, MS 38916




SLEEPYS LLC                                SLI SYSTEMS INC                        SLOANE NIX
1000 S OYSTER BAY RD                       268 BUSH ST 3900                       10201 S. MAIN STREET
HICKSVILLE, NY 11801                       SAN FRANCISCO, CA 94104                HOUSTON, TX 77025




SLOMINS INC                                SLPC INC DBA SUNLINE PRODUCTS          SM CENTER FORT WORTH LTD
125 LAUMAN LANE                            1454 E SUMMITRY CIRCLE                 2605 LBJ FWY STE A
HICKSVILLE, NY 11801                       KATY, TX 77449                         FARMERS BRANCH, TX 75234




SM PROPERTIES DES PERES LLC                SMALL NEWSPAPER GROUP INC              SMART & FINAL STORES LLC
25 NORTH BRENTWOOD BLVD.                   DBA POST BULLETIN COMPANY LLC          800 RED BROOK BLVD STE 400C
ST. LOUIS, MO 63105                        18 1ST AVE SE                          OWINGS MILLS, MD 21117
                                           ROCHESTER, MN 55904




SMART BRITE ID SOLUTIONS INC               SMART GROWTH DOUGLASVILLE LLC          SMART GROWTH DOUGLASVILLE LLC
6534 W EUCLID PLACE                        1300 N. FRONTAGE ROAD, #5424           C/O THE TRILOGY GROUP
LITTLETON, CO 80123                        VAIL, CO 81657                         6400 POWERS FERRY RD NW STE 100
                                                                                  ATLANTA, GA 30339




SMART GROWTH DOUGLASVILLE LLC              SMART GROWTH SPARTANBURG LLC           SMART GROWTH SPARTANBURG LLC
C/O THE TRILOGY GROUP                      C/O THE TRILOGY GROUP                  C/O THE TRILOGY GROUP
6400 POWERS FERRY RD NW, SUITE 100         6400 POWERS FERRY RD NW STE 100        6400 POWERS FERRY RD NW, SUITE 100
ATLANTA, GA 30339                          ATLANTA, GA 30339                      ATLANTA, GA 30339
SMARTWERKS INC          Case   18-12241-CSS    Doc 26SYSTEMS
                                         SMG SECURITY   FiledINC
                                                               10/05/18     PageSMITH
                                                                                 1466ADAMS
                                                                                      of 1739
                                                                                           LAW LLP
4625 EAST BAY DR STE 201                  PO BOX 775520                          WEDGE INTERNATIONAL TOWER
CLEARWATER, FL 33764                      CHICAGO, IL 60677-5520                 1415 LOUISIANA STREET-STE 3800
                                                                                 HOUSTON, TX 77002-7360




SMITH AND CHAPMAN PC                      SMITH CENTER DEVELOPMENT               SMITH COMMERCIAL MANAGEMENT LLC
2976 PELHAM PKWY SUITE C                  ATTN: SHANNON SMITH                    18640 SUTTER BOULEVARD, SUITE 300
PELHAM, AL 35124                          5318 EAST 2ND STREET, SUITE 519        MORGAN HILL, CA 95037-8110
                                          LONG BEACH, CA 90803




SMITH CONSTRUCTION INC                    SMITH CONSTRUCTION INC                 SMITH COUNTY TAX COLLECTOR
4620 ESTHNER                              PO BOX 13213                           ATTN: PROPERTY TAX DEPT.
WICHITA, KS 67209                         WICHITA, KS 67213                      PO BOX 2011
                                                                                 TYLER, TX 75710




SMITH COUNTY                              SMITH FIRE SYSTEMS, INC.               SMITH MECHANICAL INC
ATTN: GARY B BARBER                       1106 54TH AVE. E                       9195 RED BRANCH RD
PO BOX 2011                               TACOMA, WA 98424                       COLUMBIA, MD 21045
TYLER, TX 75710




SMITH MOORE LEATHERWOOD LLP               SMITH MOORE LEATHERWOOD LLP            SMITH SYSTEM
ATTN: BRAD J. GOWER                       PO BOX 21927                           PO BOX 64495
2 WEST WASHINGTON STREET, SUITE 1100      GREENSBORO, NC 27420                   BALTIMORE, MD 21264
GREENVILLE, SC 29601




SMITH, LEATRICE                           SMITH, ROBERT                          SMITHFIELD FIRE MARSHALS OFFICE
1952 ORMOND BLVD APT E141                 21146 CUPPS CHAPEL RD                  ATTN: R B JONES
DESTREHAN, LA 70047-3010                  METAMORA, IN 47030-2102                111 S 4TH ST
                                                                                 SMITHFIELD, NC 27577




SMITHFIELD TOWN HALL                      SMITHFIELD TOWN HALL                   SMITHFIELD
PO BOX 761                                TAX COLLECTOR                          ATTN: PROPERTY TAX DEPT.
SMITHFIELD, NC 27577                      64 FARNUM PIKE                         P.O. BOX 63027
                                          SMITHFIELD, RI 02917-3224              CHARLOTTE, NC 28263-3027




SMJ LAW LLC                               SMP158 LLC                             SMRB 1 INVESTORS LLC
1 N FRANKLIN ST STE3200                   ATTN: MATT GIBBS                       521 E MOREHEAD ST STE 400
CHICAGO, IL 60606                         4717 CENTRAL ST                        CHARLOTTE, NC 28202
                                          KANSAS CITY, MO 64112




SMTP LLC                                  SMTP, LLC                              SMUD
2 GURDWARA RD, STE 300                    38068 POST OFFICE ROAD, SUITE B        6301 S ST
OTTAWA, ON K2E 1A2                        PRAIRIEVILLE, LA 70769-4249            SACRAMENTO, CA 95817
CANADA




SMUD                                      SMYRNA UTILITIES                       SMYRNA UTILITIES
P.O. BOX 15555                            P.O. BOX 290009                        UTILITY DEPT
SACRAMENTO, CA 95852                      NASHVILLE, TN 37229                    315 S LOWRY ST
                                                                                 SMYRNA, TN 37167
SN LLC                  Case 18-12241-CSS   Doc 26
                                       SNAGAJOB           Filed 10/05/18   PageSNAKE
                                                                                1467RIVER
                                                                                     of 1739
                                                                                          DEVELOPMENT LLC
4 MILK ST STE 103                       32978 COLLECTIONS CENTER DR             BRADFORD SWETT MGMT LLC
PORTLAND, ME 04101                      CHICAGO, IL 60693                       1536 THIRD AVE 3RD FLR
                                                                                NEW YORK, NY 10028-2110




SNAKE RIVER DEVELOPMENT LLC             SNAKE RIVER DEVELOPMENT                 SNAPPING SHOALS EMC
C/O BNS REAL ESTATE                     C/O BNS REAL ESTATE                     14750 BROWN BRIDGE RD
1536 THIRD AVENUE, 3RD FLOOR            1536 THIRD AVENUE, 3RD FLOOR            COVINGTON, GA 30016
NEW YORK, NY 10028                      NEW YORK, NY 10028




SNAPPING SHOALS EMC                     SNAPPING SHOALS POWER COMPANY           SNELL & WILMER LLP
P.O. BOX 73                             P.O. BOX 73                             ONE ARIZONA CENTER
COVINGTON, GA 30015-0073                COVINGTON, GA 30015-0073                400 E VAN BUREN STE 1900
                                                                                PHOENIX, AZ 85004-2202




SNELL TOLL PARTNERS LLC                 SNELL TOLL PARTNERS LLC                 SNELLING EMPLOYMENT LLC
THE HARLEM IRVING COMPANIES             THE HARLEM IRVING COMPANIES             4055 VALLEY VIEW LN 700
4104 N HARLEM AVE                       4104 N HARLEM AVE                       DALLAS, TX 75244
NORRIDGE, IL 60706-1205                 NORRIGE, IL 60706-1205




SNELLING                                SNI FINANCIAL                           SNIDER, BRIAN
PO BOX 650765                           14241 DALLAS PKWY STE 550               9661 SNYDER RD
DALLAS, TX 75265-0765                   DALLAS, TX 75254                        SHREVEPORT, LA 71129-8739




SNIPS MEDIA LLC                         SNOHOMISH COUNTY PUD                    SNOHOMISH COUNTY PUD
20 N WACKER DR SUITE 1200               2320 CALIFORNIA ST                      P.O. BOX 1100
CHICAGO, IL 60606                       EVERETT, WA 98201                       EVERETT, WA 98206




SNOHOMISH COUNTY TREASURER              SNOW & ICE MGMNT CO OF PA INC           SNOW IT ALL LTD
ATTN: PROPERTY TAX DEPT.                2020 KNOTT ST                           894 LEEDS COURT
PO BOX 34171                            PITTSBURGH, PA 15233                    NORTH BELLMORE, NY 11710
SEATTLE, WA 98124-1171




SNOW PATROL                             SNYDERVILLE BASIN                       SNYDERVILLE BASIN
1905 S SPRINGDALE RD                    2800 HOMESTEAD RD                       WATER RECLAMATION DISTRICT
NEW BERLIN, WI 53146                    PARK CITY, UT 84098                     P.O. BOX 981420
                                                                                PARK CITY, UT 84098




SO - CONYERS LLC                        SO - CONYERS LLC                        SO 2000 LC / WHITE OAK
C/O DAVIDSON KEMPNER CAPITAL MGMT, LP   C/O SHOPONE MANAGEMENT                  KBLZ-FM-KAZE
ATTN: TERRANCE MORAN                    ATTN: PROPERTY MANAGEMENT               212 GRANDE BLVD B-100
520 MADISON AVENUE, 30TH FLOOR          10100 WATERVILLE STREET                 TYLER, TX 75703
NEW YORK, NY 10021                      WHITEHOUSE, OH 43571



SO 2000 LC                              SO- CONYERS LLC                         SO- CONYERS LLC
KBLZ-FM                                 10100 WATERVILLE ST                     C/O SHOPONE MANAGEMENT
212 GRANDE BLVD B-100                   WHITEHOUSE, OH 43571                    10100 WATERVILLE ST
TYLER, TX 75703                                                                 WHITEHOUSE, OH 43571
SO- CONYERS LLC        Case   18-12241-CSS   Doc 26
                                        SOCALGAS          Filed 10/05/18    PageSOCALGAS
                                                                                 1468 of 1739
ONE GRAND CENTRAL PLACE                 555 W 5TH ST                            PO BOX C
60 E 42ND ST, STE 2107                  LOS ANGELES, CA 90013                   MONTEREY PARK, CA 91756-5111
NEW YORK, NY 10165




SOCIALBAKERS A.S.                       SOCIETY FOR HUMAN RESOURCE MGMNT        SOCIUS LAW GROUP, PLLC
POD VSEMI SVATYMI 427/17                1800 DUKE ST                            ATTN: RONALD D. ALLEN
1-SEVERNI PŘEDMESTI                     ALEXANDRIA, VA 22314                    601 UNION STREET, SUITE 4950
PLZEN 301 00                                                                    SEATTLE, WA 98101
CZECH REPUBLIC



SOCRATES KARIOTIS                       SOFIA CONSTANTINOU                      SOFIA MYKYTIUK
10201 S. MAIN STREET                    10201 S. MAIN STREET                    110 W MAIN ST APT 237
HOUSTON, TX 77025                       HOUSTON, TX 77025                       CARMEL, IN 46032




SOFIA VASQUEZ AGUILAR                   SOFTARTISANS                            SOFTMART
10201 S. MAIN STREET                    3 BROOK ST                              PO BOX 7236
HOUSTON, TX 77025                       WATERTOWN, MA 02472                     PHILADELPHIA, PA 19101-7236




SOFTVELOCITY INC                        SOHAILA WASEEM                          SOHANA M CHOWDHURY
PO BOX 510190                           10201 S. MAIN STREET                    4616 W NORTHGATE DR 108
MELBOURNE BEACH, FL 32951               HOUSTON, TX 77025                       IRVING, TX 75062




SOLANO COUNTY TAX COLLECTOR             SOLANO PROPERTY MANAGEMENT              SOLARWINDS INC
ATTN: PROPERTY TAX DEPT.                THERESA WALTERS                         PO BOX 730720
675 TEXAS STREET SUITE 1900             1411 OLIVER ROAD, SUITE 120             DALLAS, TX 75373-0720
FAIRFIELD, CA 94533                     FAIRFIELD, CA 94534




SOLEDAD MARTINEZ                        SOLID SYSTEMS CAD SERVICES              SOLID WASTE MANAGEMENT
10201 S. MAIN STREET                    4801 MILWEE ST SUITE 3                  DEPT. PERMIT SECTION
HOUSTON, TX 77025                       HOUSTON, TX 77092                       P.O. BOX 1562
                                                                                HOUSTON, TX 77251




SOLID WASTE SYSTEMS INC                 SOLOMON EDWARDS GROUP LLC               SOLOMON EDWARDS
P.O. BOX 13040                          1255 DRUMMERS LANE                      PO BOX 12808
SPOKANE VALLEY, WA 99213-3040           SUITE 200                               PHILADELPHIA, PA 19176-0808
                                        WAYNE, PA 19087




SOLOMON HARRIS                          SOLOMON ST BERNARD                      SOLON POLICE DEPARTMENT
10201 S. MAIN STREET                    10201 S. MAIN STREET                    ATTN: LAURA WATTERSON
HOUSTON, TX 77025                       HOUSTON, TX 77025                       33000 SOLON RD
                                                                                SOLON, OH 44139




SOLTANI PROPERTIES LLC                  SOLUTIONS STAFFING JT/ENTERPRISES INC   SOMERSET PROPERTY MANAGEMENT
3103 HONOR COURT                        1237 DUBLIN RD                          ATTN: JUSTIN ATWATER
JAMESTOWN, NC 27282                     COLUMBUS, OH 43215                      1178 W. LEGACY CROSSING BLVD., SUITE 100
                                                                                CENTERVILLE, UT 84014
SOMERSET SHOPPES FLA,Case
                       LLC 18-12241-CSS     Doc 26
                                     SOMERSTONE   LLC Filed 10/05/18     PageSOMERSTONE
                                                                              1469 of 1739
                                                                                        LLC
SOMERSET SHOPPES MANAGEMENT LLC      C/O MIDDLETON MANAGEMENT                C/O MIDDLETON MANAGEMENT
8903 GLADES ROAD. A-14               19035 W CAPITOL DR STE 108              19035 W CAPITOL DRIVE, SUITE 108
BOCA RATON, FL 33434                 BROOKFIELD, WI 53045                    BROOKFIELD, WI 53045




SOMERTON INVESTORS LLC               SOMETHING                               SOMMEX BEDDING CORPORATION
DBA A TEXAS LDT LIABILITY CO         3030 OLD RANCH PKWY STE 110             53 BAKERSFIELD ST
ATTN: PAUL NORTON                    SEAL BEACH, CA 90740                    ONTARIO, ON L4B 4N4
3941 PARK DR 20-375                                                          CANADA
EL DORADO HILLS, CA 95762



SONA DEVELOPMENT GROUP               SONA FOUR CORNERS, LP                   SONA FOUR CORNERS, LP
ASHLEY KATTRAGADDA                   4141 SOUTHWEST FREEWAY, SUITE 470       4141 SOUTHWEST FREEWAY, SUITE 470
4141 SOUTHWEST FREEWAY, SUITE 470    HOUSTON, TX 77027                       HOUSTON, TX 77047
HOUSTON, TX 77407




SONA FOUR CORNERS, LP                SONDRA PARKS                            SONIA DROSSOS
4141 SOUTHWEST FWY STE 470           10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77027                    HOUSTON, TX 77025                       HOUSTON, TX 77025




SONIA EBERLE                         SONIA PEREZ                             SONIA RANGEL
10201 S. MAIN STREET                 10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                       HOUSTON, TX 77025




SONIA TRENT                          SONITROL OF PITTSBURGH                  SONITROL PACIFIC
10201 S. MAIN STREET                 610 MELWOOD AVE                         8220 N INTERSTATE AVE
HOUSTON, TX 77025                    PITTSBURGH, PA 15213                    PORTLAND, OR 97217-6635




SONITROL SECURITY SYSTEMS OF         SONITROL SECURITY SYSTEMS OF THE        SONITROL VERIFIED ELECTRONIC SECURITY
CHARLESTON INC                       MIDLANDS INC                            4455 TILE DR
4455 TILE DR                         4455 TILE DR                            CHARLESTON, SC 29405
CHARLESTON, SC 29405                 CHARLESTON, SC 29405




SONITROL                             SONJA SHEFFIELD                         SONNENBLICK PARKER & SELVERS PC
1136 THOMASVILLE RD                  4587 TRADEWINDS WAY                     4400 ROUTE 9 S STE 3000
TALLAHASSEE, FL 32303-6272           PENSACOLA, FL 32514                     FREEHOLD, NJ 07728




SONNY TURNER                         SONNY VITALE                            SONOMA COUNTY TAX COLLECTOR
10201 S. MAIN STREET                 10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                    HOUSTON, TX 77025                       585 FISCAL DR. ROOM 100
                                                                             SANTA ROSA, CA 95403




SONOMA MEDIA GROUP                   SONOMA MEDIA INVESTMENTS, LLC           SONORA VILLAGE INVESTORS LLC
1410 NEOTOMAS AVE STE 200            427 MENDOCINO AVE                       C/O WILSON PROPERTY SERVICES INC
SANTA ROSA, CA 95405                 SANTA ROSA, CA 95401-6313               8120 E CACTUS RD 300
                                                                             SCOTTSDALE, AZ 85260
SONORA VILLAGE, LLC    Case   18-12241-CSS
                                        SONYA Doc   26
                                              GILLIAM      Filed 10/05/18    PageSOONER
                                                                                  1470 of  1739
                                                                                        LIFT INC
C/O YAM PROPERTIES LLC                   10201 S. MAIN STREET                     3401 S PURDUE
15750 N. NORTHSIGHT BLVD.                HOUSTON, TX 77025                        OKLAHOMA CITY, OK 73179
SCOTTSDALE, AZ 85260




SOPHAN KONG                              SOPHIA BROOKE BAMBINO                    SOPHIA NADEEM
10201 S. MAIN STREET                     1880 MONTEREY PINES DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                        ROSEVILLE, CA 95747                      HOUSTON, TX 77025




SOPHIA SMOLA                             SOPHIE WAJDA                             SOROPTIMIST INTERNATIONAL OF CHICO
10201 S. MAIN STREET                     10201 S. MAIN STREET                     PO BOX 1812
HOUSTON, TX 77025                        HOUSTON, TX 77025                        CHICO, CA 95927-1812




SORRENTO SQUARE, LLC                     SORRENTO SQUARE, LLC                     SOS FLOOR CARE & JANITORIAL SERV LLC
C/O TRU MANAGEMENT GROUP, LLC            C/O TRU MANAGEMENT GROUP, LLC            PO BOX 30424
ATTN: EDNA TRIMBLE                       P.O. BOX 541557                          MESA, AZ 85275
P.O. BOX 541557                          ATTN: EDNA TRIMBLE
ORLANDO, FL 32854                        ORLANDO, FL 32854



SOS SECURITY LLC                         SOS STAFFING SERVICES INC                SOS STAFFING SERVICES INC
1915 ROUTE 46 EAST                       ACCOUNTS RECIEVABLE                      DBA SOS EMPLOYMENT GROUP
PO BOX 6373                              SOS EMPLOYMENT GROUP                     2650 DECK LAKE BLVD SUITE 500
PARSIPPANY, NJ 07054                     PO BOX 27008                             SALT LAKE CITY, UT 84119
                                         SALT LAKE CITY, UT 84127



SOUND PUBLISHING INC                     SOUND80                                  SOURCE ONE MANAGEMENT SERVICES LLC
DBA EVERETT DAILY HERALD                 222 SOUTH 9TH ST STE 3600                1015 N YORK RD
11323 COMMANDO RD W UNIT MAIN            MINNEAPOLIS, MN 55402                    WILLOW GROVE, PA 19090
EVERETT, WA 98204-3532




SOURCEGAS ARKANSAS INC.                  SOURIYA SONGKHAM                         SOUTH BAY ELECTRIC CORPORATION
P.O. BOX 660559                          10201 S. MAIN STREET                     516 BAY 5TH ST
DALLAS, TX 75266-0559                    HOUSTON, TX 77025                        WEST ISLIP, NY 11795




SOUTH BAY INTERNATIONAL                  SOUTH BEND PAYMENT PROCESSING            SOUTH BEND WATER WORKS
13169 SLOVER AVE STE B                   CENTER                                   731 S LAFAYETTE BLVD
FONTANA, CA 92337                        PO BOX 396                               SOUTH BEND, IN 46601
                                         HAGERSTOWN, MD 21741




SOUTH BEND WATER WORKS                   SOUTH BROADWAY DEVELOPMENT CO, LLP       SOUTH BROADWAY DEVELPOMENT CO LLP
P.O. BOX 7125                            C/O CROSBIE MANAGEMENT SERVICES LLP      C/O CROSBIE MANAGEMENT SERVICES LLP
SOUTH BEND, IN 46634-7125                2000 S. COLORADO BOULEVARD, SUITE 110    2000 S COLORADO BLVD ANNEX-STE 110
                                         DENVER, CO 80222                         DENVER, CO 80222




SOUTH CAROLINA DEPT OF EMPLOYMENT &      SOUTH CAROLINA DEPT OF REVENUE           SOUTH CAROLINA DEPT OF REVENUE
WORKFORCE                                300A OUTLET POINTE BOULEVARD             ATTN: SALES & USE TAX DEPT.
1550 GADSEN STREET P.O. BOX 995          COLUMBIA, SC 29210                       PO BOX 2535
COLUMBIA, SC 29202                                                                COLUMBIA, SC 29202-2535
SOUTH CAROLINA DEPT OFCase   18-12241-CSS
                        REVENUE        SOUTH Doc    26 DEPT
                                              CAROLINA  Filed
                                                            OF    10/05/18   PageSOUTH
                                                                                  1471CAROLINA
                                                                                       of 1739ELECTRIC & GAS
CORPORATION OF REVENUE                 TRANSPORTATION                             220 OPERATION WAY
760596008                              P.O. BOX 191                               CAYCE, SC 29033-3701
COLUMBIA, SC 29214-0006                COLUMBIA, SC 29201-3959




SOUTH CAROLINA ELECTRIC & GAS           SOUTH CAROLINA SECRETARY OF STATE         SOUTH CAROLINA SECRETARY OF STATE
P.O. BOX 100255                         ATTN: CORPORATION DIV,                    ATTN:CORPORATION DIV,
CAYCE, SC 29033                         1205 PENDLETON ST, STE 525                1205 PENDLETON ST, STE 525
                                        COLUMBIA, SC 29201                        COLUMBIA, SC 29201




SOUTH CAROLINA STATE TREASURER          SOUTH CAROLINA                            SOUTH CAROLINA
UNCLAIMED PROPERTY PROGRAM              ATTN: BUSINESS LICENSE DEPT.              ATTN: INCOME TAX DEPT.
PO BOX 11778                            PO BOX 11778                              PO BOX 11778
COLUMBIA, SC 29211-1778                 COLUMBIA, SC 29211-1778                   COLUMBIA, SC 29211-1778




SOUTH CAROLINA                          SOUTH CENTRAL MEDIA DBA WJXB-FM           SOUTH COAST GROUP LLC
ATTN: UNCLAIMED PROPERTY DEPT.          DBA WJXB-FM, WIMZ-FM, WNFZ-FM,            DBA SCGIII SUNSET LLC
PO BOX 11778                            WQJK/WRJK-FM                              ATTN: ACCOUNTING
COLUMBIA, SC 29211-1778                 PO BOX 27100                              PO BOX 724498
                                        KNOXVILLE, TN 37927                       ATLANTA, GA 31139



SOUTH COAST GROUP V LLC                 SOUTH COAST MANAGEMENT, LLC               SOUTH COUNTY MANAGEMENT
DBA SCGV BAY MEADOWS LLC                P.O. BOX 724498                           50 S COUNTY COMMONS WAY, UNIT E4R
PO BOX 724498                           ATLANTA, GA 31139                         SOUTH KINGSTON, RI 02879
ATLANTA, GA 31139




SOUTH CUMBERLAND PROPERTIES, LP         SOUTH DAKOTA DEPT OF REVENUE              SOUTH DAVIS SEWER DISTRICT
FIRST TENNESE BANK                      445 E CAPITOL AVE                         1800 WEST 1200 NORTH
1615 W MAIN ST                          PIERRE, SD 57501                          WEST BOUNTIFUL, UT 84047
LEBANON, TN 37087




SOUTH DAVIS SEWER DISTRICT              SOUTH EMERALD COAST PROPERTY, LLC         SOUTH FLORIDA WATER MGMT
P.O. BOX 140111                         ATTN: BILL BURLEY                         3301 GUN CLUB RD
SALT LAKE CITY, UT 84114-0111           1931 CORDOVA RD STE 304                   WEST PALM BEACH, FL 33406
                                        FORT LAUDERDALE, FL 33316




SOUTH GEORGIA MEDIA GROUP               SOUTH GRANVILLE WTR & SWR AUTH            SOUTH HUNTINGTON WATER DIST
PO BOX 968                              415 CENTRAL AVE B                         P.O. BOX 71458
VALDOSTA, GA 31603-0968                 BUTNER, NC 27509-1915                     PHILADELPHIA, PA 19176-9903




SOUTH JERSEY GAS                        SOUTH JERSEY GAS                          SOUTH KINGSTOWN
1648 12TH STREET                        P.O. BOX 6091                             ATTN: PROPERTY TAX DEPT.
FOLSOM, NJ 08037                        BELLMAWR, NJ 08099-6091                   180 HIGH ST
                                                                                  WAKEFIELD, RI 02879




SOUTH LYONS TOWNSHIP                    SOUTH LYONS TWP SANITARY DIST             SOUTH LYONS TWP SANITARY DIST
SANITARY DISTRICT                       475 W 55TH ST, STE 107                    475 W. 55TH ST.
475 W 55TH ST                           COUNTRYSIDE, IL 60525                     COUNTRYSIDE, IL 60525
COUNTRYSIDE, IL 60525
SOUTH ORTEGA (L7)      Case    18-12241-CSS
                                         SOUTH Doc 26LAND
                                               ORTEGA   Filed 10/05/18
                                                          TRUST              PageSOUTH
                                                                                  1472ORTEGA
                                                                                       of 1739
                                                                                             LAND TRUST
ATTN: LEASE ADMINISTRATION                1SLEIMAN PKWY 250                       C/O SLEIMAN ENTERPRISES
1 SLEIMAN PARKWAY SUITE 250               JACKSONVILLE, FL 32216                  1 SLEIMAN PARKWAY, SUITE 270
JACKSONVILLE, FL 32216                                                            ATTN: CHIEF OPERATING OFFICER
                                                                                  JACKSONVILLE, FL 32216-4977



SOUTH ORTEGA LAND TRUST                   SOUTH SALT LAKE CITY                    SOUTH SHORE INDUSTRIES LTD
C/O SLEIMAN ENTERPRISES                   220 E MORRIS AVE                        6168 RUE PRINCIPALE
1 SLEIMAN PARKWAY, SUITE 270              SOUTH SALT LAKE CITY, UT 84115          SAINTE CROIX, PQ G0S 2H0
ATTN: PAUL THOMAS                                                                 CANADA
JACKSONVILLE, FL 32216



SOUTH SHORE INDUSTRIES LTD                SOUTH STATE HOLDINGS LLC                SOUTH STATE HOLDINGS LLC
C/O DESJARDINS BANK N.A.                  839 RIFLE CAMP RD                       C/O ASCENDENT REAL ESTATE GROUP
PO BOX 897                                WOODLAND PARK, NJ 07424                 401 E LAS OLAS BLVD STE 130 342
HALLANDALE, FL 33008                                                              FORT LAUDERDALE, FL 33301




SOUTH STATE HOLDINGS LLC                  SOUTH TAMIAMI TRAIL HOLDINGS LLC        SOUTH TEXAS BROADCASTING INC
C/O ASCENDENT REAL ESTATE GROUP           CO CONTINENTAL REAL EST COMP            WFSH-FM
401 E LAS OLAS BLVD, SUITE 130 #342       2121 PONCE DE LEON BLVD STE 1250        2970 PEACHTREE RD NW STE 700
FORT LAUDERDALE, FL 33301                 CORAL GABLES, FL 33134                  ATLANTA, GA 30305




SOUTH TEXAS POWERWASH & STRIPING INC      SOUTH UNION TOWNSHIP SEWAGE             SOUTH UNION TWP SEWAGE AUTH
C/O TEXAS PARKING LOTS                    AUTHORITY                               154 TOWNSHIP DR
229 HIGHWAY 46 W                          154 TOWNSHIP DR                         UNIONTOWN, PA 15401
BOERNE, TX 78006                          UNIONTOWN, PA 15401




SOUTH UNION TWP SEWAGE AUTH               SOUTH VALLEY SEWER DISTRICT             SOUTH VALLEY SEWER DISTRICT
DOWNTOWN STA                              1253 W JORDAN BASIN LN                  P.O. BOX 498
P.O. BOX 2047                             BLUFFDALE, UT 84065                     PLEASANT GROVE, UT 84062
UNIONTOWN, PA 15401




SOUTH WALTON UTILITY CO INC               SOUTHBURY                               SOUTHCOAST MEDIA GROUP
369 MIRAMAR BEACH DR                      ATTN: PROPERTY TAX DEPT.                25 ELM STREET
MIRAMAR BEACH, FL 32550                   PO BOX 4110                             NEW BEDFORD, MA 02740
                                          WOBURN, MA 01888-4110




SOUTHCOAST MEDIA GROUP                    SOUTHEAST DEVELOPMENT GROUP,INC         SOUTHEAST GAS
PO BOX 223592                             2600 SOUTH OCEAN BLVD, 4B               715 MLK JR EXPY
PITTSBURGH, PA 15251-2592                 BOCA RATON, FL 33432                    ANDALUSIA, AL 36420




SOUTHEAST GAS                             SOUTHEAST LAWN CARE                     SOUTHEAST WINDOW CLEANING INC
P.O. BOX 1298                             3110 RYAN JAY LANE UNIT 731             DBA FISH WINDOW CLEANING
ANDALUSIA, AL 36420-1223                  CHARLOTTE, NC 28269                     P.O. BOX 26831
                                                                                  TAMARAC, FL 33320




SOUTHEASTERN FREIGHT LINES INC            SOUTHEASTERN INVESTMENTS, INC.          SOUTHEASTERN LOGISTICS SOLUTIONS
PO BOX 100104                             P.O. BOX 4423                           1 C TROTTER RD
COLUMBIA, SC 29202-3104                   CHATTANOOGA, TN 37405                   WEST COLUMBIA, SC 29169
SOUTHEASTERN OUTDOOR  Case  18-12241-CSS
                       SUPPLY LLC            Doc 26OVERHEAD
                                      SOUTHEASTERN     Filed 10/05/18
                                                              DOOR INC      PageSOUTHEASTERN
                                                                                 1473 of 1739PAPER GROUP INC
DBA FIRST FENCE OF GEORGIA            6146 CRESTMOUNT DR                         PO BOX 6220
1779 BIG SHANTY DR                    BATON ROUGE, LA 70809                      SPARTANBURG, SC 29304
KENNESAW, GA 30144




SOUTHEASTERN PAPER GROUP INC           SOUTHEASTERN PROPERTIES INC               SOUTHEASTERN WISCONSIN INVESTMENTS
PO BOX 890671                          PO BOX 4423                               2 LLC
CHARLOTTE, NC 28289-0671               CHATTANOOGA, TN 37405                     ATTN: JIM BLUMREITER
                                                                                 6210 W GREENFIELD AVE
                                                                                 WEST ALLIS, WI 53214



SOUTHEND PARKWAY LAND TRUST            SOUTHERLAND INC                           SOUTHERN ARIZONA HOME BUILDERS
1 SLEIMAN PKWY STE 270                 PO BOX 70129                              ASSOC.
JACKSONVILLE, FL 32216                 NASHVILLE, TN 37207-0129                  2840 N COUNTRY CLUB RD
                                                                                 TUCSON, AZ 85716




SOUTHERN BROADCAST CORPORATION OF      SOUTHERN CALIFORNIA COLLEGE,              SOUTHERN CALIFORNIA EDISON
SARASOTA                               CHARLES SYLVA,                            1551 W SAN BERNARDINO RD
1477 TENTH ST                          JAMES KIRK, MARVIN OATES, CLARA MASSIE    COVINA, CA 91722
SARASOTA, FL 34236                     C/O OATES A & A PROPERTIES
                                       2705 K STREET, SUITE 4
                                       SACRAMENTO, CA 95816


SOUTHERN CALIFORNIA EDISON             SOUTHERN CALIFORNIA GAS CO                SOUTHERN CALIFORNIA GAS CO
P.O. BOX 300                           555 W 5TH ST                              P.O. BOX C
ROSEMEAD, CA 91772-0001                LOS ANGELES, CA 90013                     MONTEREY PARK, CA 17546-0001




SOUTHERN COMFORT HEATING & COOLING     SOUTHERN CONNECTICUT GAS CO               SOUTHERN CONNECTICUT GAS CO
INC                                    60 MARSH HILL RD                          P.O. BOX 9112
6033 MECHANICSVILLE TURNPIKE           ORANGE, CT 06477                          CHELSEA, MA 02150-9112
MECHANICSVILLE, VA 23111




SOUTHERN DIESEL REPAIR                 SOUTHERN DIESEL REPAIR                    SOUTHERN ELECTRICAL CONTRACTORS
225 BELLINGER LANE                     P.O. BOX 2272                             OF NASHVILLE INC
GASTON, SC 29053                       WEST COLUMBIA, SC 29171                   2015 GLADSTONE AVE
                                                                                 NASHVILLE, TN 37211




SOUTHERN ENTERPRISES INC               SOUTHERN ENTERPRISES                      SOUTHERN ILLINOISAN
600 FREEPORT PKWY STE 200              PO BOX 671073                             C/O LEE NEWSPAPERS
COPPELL, TX 75019                      DALLAS, TX 75267-1073                     PO BOX 742548
                                                                                 CINCINNATI, OH 45274-2548




SOUTHERN LAKES NEWSPAPERS LLC          SOUTHERN MANAGEMENT AND                   SOUTHERN MARYLAND ELEC COOP
1102 ANN ST                            DEVELOPMENT, L.P.                         14950 COOPERATIVE PL
DELAVAN, WI 53115                      ATTN: LILLY GOMEZ                         HUGHESVILLE, MD 20637
                                       2300 NW CORPORATE BLVD., SUITE 135
                                       BOCA RATON, FL 33431



SOUTHERN MARYLAND ELEC COOP            SOUTHERN MAX LLC                          SOUTHERN MONTGOMERY COUNTY
P.O. BOX 62261                         4 BANDERA CT.                             MUNICIPAL UTILITY DISTRICT
BALTIMORE, MD 21264-2261               JOHNSON CITY, TN 37604                    25212 I-45 NORTH
                                                                                 SPRING, TX 77386
                      Case
SOUTHERN PINES COMMONS,  LP   18-12241-CSS   DocSERVICES
                                        SOUTHERN 26 Filed 10/05/18          PageSOUTHERN
                                                                                 1474 of 1739
                                                                                         SHORES, LP
270 W NEW ENGLAND AVENUE                PO BOX 70637                             PO BOX 602953
WINTER PARK, FL 32789                   ALBANY, GA 31708                         CHARLOTTE, NC 28260-2953




SOUTHERN SHOWS, INC                     SOUTHERN SHRED                           SOUTHERN STRIPING SOLUTIONS LLC
P.O. BOX 36859                          5909 CENTRALCREST ST                     DBA COLLIER PAVING & CONCRETE
CHARLOTTE, NC 28236                     HOUSTON, TX 77092                        6089 JANES LANE
                                                                                 NAPLES, FL 34109




SOUTHERN TRUCK SERVICES                 SOUTHERN UNIVERSITY -CAREER DAY          SOUTHERN WATER MANAGEMENT
P.O. BOX 36483                          PO BOX 10980                             695 CENTRAL AVENUE
CHARLOTTE, NC 28236                     BATON ROUGE, LA 70813                    ST. PETERBURG, FL 33701




SOUTHERN WATER MANAGEMENT               SOUTHGATE SHOPPES, LLC                   SOUTHGATE SQUARE VIRGINIA LLC
P.O. BOX 14067                          C/O MICHAEL D. SIFEN, INC.               C/O BLACKWOOD DEVEL. CO INC
ST. PETERSBURG, FL 33733                2929 SABRE STREET, SUITE 500             7301 BOULDER VIEW LN
                                        VIRGINIA BEACH, VA 23452                 RICHMOND, VA 23225




SOUTHGATE SQUARE VIRGINIA LLC           SOUTHGLENN PROPERTY HOLDINGS LLC         SOUTHGLENN PROPERTY HOLDINGS LLC
C/O BLACKWOOD DEVEL. CO INC             C/O ALBERTA DEVELOPMENT                  PO BOX 843524
7301 BOULDER VIEW LN                    5750 DTC PARKWAY, SUITE 210              LOS ANGELES, CA 90084-3524
RICHMOND, VA 23225                      GREENWOOD VILLAGE, CO 80111




SOUTHGLENN PROPERTY HOLDINGS            SOUTHINGTON BOARD WATER COMM             SOUTHINGTON BOARD WATER COMM
C/O ALBERTA DEVELOPMENT                 605 WEST QUEEN ST                        P.O. BOX 111
5750 DTC PARKWAY, SUITE 210             SOUTHINGTON, CT 06489                    SOUTHINGTON, CT 06489
GREENWOOD VILLAGE, CO 80111




SOUTHINGTON                             SOUTHLAND EQUIPMENT SERVICE, INC.        SOUTHLAND INDUSTRIAL SUPPLY
ATTN: PROPERTY TAX DEPT.                109 NORTH SHORECREST RD.                 P.O. BOX 890591
PO BOX 1036                             COLUMBIA, SC 29209                       CHARLOTTE, NC 28289-0591
SOUTHINGTON, CT 06489-1036




SOUTHLANDS HV1 LLC                      SOUTHLANDS HV1 LLC                       SOUTHLANDS HV1
C/O ASSET MANAGEMENT SOLUTIONS, AS      C/O BENNETT LEBHERZ                      C/O BENNETT LEBHERZ
AGENT FOR LL                            1600 W HILLSDALE BLVD                    1600 W HILLSDALE BLVD
ATTN: JOSE INCLAN                       SAN MATEO, CA 94402                      SAN MATEO, CA 94402
8200 S. QUEBEC STREET, SUITE A3-223
CENTENNIAL, CO 80112


SOUTHPAW USA INC                        SOUTHPAW USA INC                         SOUTHPOINT SHOPPES C-I, LLC
10427 MINT LN                           PO BOX 3715                              10008 SOUTHPOINT PKWY STE 101
NEOSHO, MO 64850                        JOPLIN, MO 64803-3715                    FREDERICKSBURG, VA 22407




SOUTHPOINT SHOPPES C-I, LLC             SOUTHPORT 2013, LLC                      SOUTHSAN COMPANY, INC
10151 SOUTHPOINT PARKWAY                C/O HEIDENBERG PROPERTIES LLC            C/O KIN PROPERTIES, INC.
FREDERICKSBURG, VA 22407                234 CLOSTER DOCK RD                      185 NW SPANISH RIVER BOULEVARD, SUITE
                                        CLOSTER, NJ 07624                        100
                                                                                 BOCA RATON, FL 33431
SOUTHSHORE TOWN CENTER Case 18-12241-CSS
                         INVESTORS           Doc 26
                                      SOUTHSHORE   TOWNFiled
                                                        CENTER10/05/18
                                                                LLC         PageSOUTHSHORE
                                                                                 1475 of 1739
                                                                                           TOWN CENTER
LLC                                   C/O NYKAMP ACCOUNTING SERVICES            C/O MAC PROPERTY SERVICES
C/O A&C PROPERTIES INC                528 B STREET                              521940 S. AL VISTA DRIVE., SUITE 105
4530 E SHEA BLVD 100                  SANTA ROSA, CA 95401-5211                 ATTN: CAMERON WILSON
PHOENIX, AZ 85028                                                               SANTA ROSA, CA 95401-5211



SOUTHSHORE TOWN CENTER                  SOUTHSIDE DELIVERY SERVICE              SOUTHSIDE MARKETPLACE LP
C/O MAC PROPERTY SERVICES               7602 WYNSTONE RIDGE                     C/O REGENCY CENTERS CORPORATION
ATTN: CAMERON WILSON                    1919 GALLOWS ROAD, SUITE 1000           ATTN: LEASE ADMINISTRATION
521940 S. AL VISTA DRIVE., SUITE 105    HUNTERSVILLE, NC 28078                  ONE INDEPENDENT DRIVE, SUITE 114
SANTA ROSA, CA 95401-5211                                                       JACKSONVILLE, FL 32202



SOUTHSIDE MARKETPLACE LP                SOUTHSIDE MARKETPLACE LP                SOUTHSIDE MARKETPLACE LP
C/O REGENCY CENTERS CORPORATION         C/O REGENCY CENTERS CORPORATION         FW SOUTHSIDE MARKETPLACE GP LLC
ATTN: LEGAL DEPARTMENT                  ATTN: PROPERTY MANAGEMENT               PO BOX 822158
ONE INDEPENDENT DRIVE, SUITE 114        1919 GALLOWS ROAD, SUITE 1000           PHILADELPHIA, PA 19182-2158
JACKSONVILLE, FL 32202                  VIENNA, VA 22182



SOUTHSTAR HOLDING-GASTONIA LLC          SOUTHSTAR HOLDINGS BURLINGTON II LLC    SOUTHSTAR HOLDINGS BURLINGTON II LLC
C/O TRIBEK PROPERTIES INC               2101 REXFORD ROAD SUITE 134-E           C/O COLLETT & ASSN
101 S KINGS DR STE 200                  CHARLOTTE, NC 28211                     PO BOX 36799
CHARLOTTE, NC 28204                                                             CHARLOTTE, NC 28236




SOUTHSTAR HOLDINGS BURLINGTON II LLC    SOUTHSTAR HOLDINGS CROWN CONCORD        SOUTHSTAR MOUNTAIN VIEW, LLC
C/O CROSSROADS REALTY GROUP, LLC        LLC                                     C/O TRIBEK PROPERTIES, INC.
ATTN: JEFFREY D. MATHIS                 ATTN: REGINA SMITH PROP MGR             101 S. KINGS DRIVE, SUITE 200
P.O. BOX 36799                          2820 SELWYN AVE STE 425                 CHARLOTTE, NC 28204
CHARLOTTE, NC 28236                     CHARLOTTE, NC 28209



SOUTHTOWN OUTLOT ASSOCIATES, LLC        SOUTHTOWN OUTLOT ASSOCIATES, LLC        SOUTHTOWN OUTLOT ASSOCIATES, LLC
BLDGID 000033                           C/O CBRE PROPERTY CONTROLLER            N 9274 WINDY WAY
PO BOX 82552                            321 N CLARK ST 33 FL                    MUKWONAGO, WI 53149
GOLETA, CA 93118-2552                   CHICAGO, IL 60654




SOUTHTOWNE PLUMBING INC                 SOUTHWEST AIRLINES CARGO                SOUTHWEST BATTERY COMPANY
62 E FRANKLIN ST                        P.O. BOX 97390                          PO BOX 24220
CENTERVILLE, OH 45459                   DALLAS, TX 75397                        PHOENIX, AZ 85074-4220




SOUTHWEST CELTIC MUSIC                  SOUTHWEST COMMONS 05A LLC               SOUTHWEST COMMONS 05A LLC
ASSOCATION/NORTH TEXAS IRISH FESTIVAL   C/O AFC PROPERTY MANAGEMENT, INC.       LOCKBOX FILE 1981
7324 GASTON AVE 124-382                 12411 VENTURA BOULEVARD                 1801 W OLYMPIC BLVD
DALLAS, TX 75214                        STUDIO CITY, CA 91604                   PASADENA, CA 91199-1984




SOUTHWEST GAS CORP                      SOUTHWEST GAS CORP                      SOUTHWEST MOBILE STORAGE
5241 SPRING MOUNTAIN RD                 P.O. BOX 98890                          902 SOUTH 7TH ST
LAS VEGAS, NV 89150-0002                LAS VEGAS, NV 89193-8890                PHOENIX, AZ 85034




SOUTHWEST PROPERTIES LLC                SOUTHWEST PROPERTIES, INC.              SOUTHWEST REGIONAL TAX BUREAU
PO BOX 22579                            ATTN: LAWRENCE S. BIRD                  ONE CENTENNIAL WAY
LINCOLN, NE 68542                       1701 WINDHOCK DRIVE                     SCOTTDALE, PA 15683
                                        LINCOLN, NE 68512
SOUTHWEST SIGNS        Case   18-12241-CSS   Doc TOWN
                                        SOUTHWEST 26 Filed 10/05/18      PageSOUTHWESTERN
                                                                              1476 of 1739ELECTRIC POWER
7208 S W W WHITE RD                     234 JAMES ST                          1 RIVERSIDE PLAZA
SAN ANTONIO, TX 78222-5204              BENSENVILLE, IL 60106                 COLUMBUS, OH 43215




SOUTHWESTERN ELECTRIC POWER             SOUTHWESTERN EXPOSITION AND           SOUTHWESTERN FAIR COMMISSION INC
P.O. BOX 24422                          LIVESTOCK SHOW                        11300 S HOUGHTON RD
CANTON, OH 44701-4422                   P.O. BOX 150                          TUCSON, AZ 85747
                                        FORT WORTH, TX 76101-0150




SOUTHWESTERN REFRIGERATION INC          SOVIC DESIGNS LLC                     SOVIC DESIGNS LLC
8803 EARNESTWOOD DR                     1635 ROGERS ROAD                      P.O. BOX 101443
HOUSTON, TX 77083                       FORT WORTH, TX 76107                  FORT WORTH, TX 76185




SOVOS COMPLIANCE LLC                    SOVOS COMPLIANCE LLC                  SP BOSSIER, LLC
200 BALLARDVALE ST                      PO BOX 347977                         C/O STIRLING PROPERTIES, LLC
BLDG 1 4TH FL                           PITTSBURGH, PA 15251-4977             109 NORTHPARK BOULEVARD, SUITE 300
WILMINGTON, MA 01887                                                          COVINGTON, LA 70433




SP COMMERCIAL REAL ESTATE, LLC          SP COMMERCIAL REAL ESTATE, LLC        SP COMMERCIAL REAL ESTATE, LLC
5744 DUNRAVEN TRAIL                     ATTN: SMIT SHAH                       ATTN: SMIT SHAH
ATTN: SMIT SHAH                         5744 DUNRAVEN TRAIL                   5744 DUNRAVEN TRAIL
KELLER, TX 76244                        FORTH WORTH, TX 76244                 KELLER, TX 76244




SP COMMERCIAL REAL ESTATE, LLC          SP INDIAN TRAIL LLC                   SP INDIAN TRAIL, LLC
C/O CORNER REAL ESTATE SERVICES, INC.   PO BOX 275                            400 N. LASALLE , SUITE 805
4300 N. CENTRAL EXPRESSWAY, STE 255     EMERSON, NJ 07630                     CHICAGO, IL 60654
DALLAS, TX 75206




SP INDIAN TRAIL, LLC                    SP PORTERS VALE, LLC                  SP6 PARTNERS LLC
PO BOX 275                              C/O BERENGARIA DEVELOPMENT            ATTN: KATHRYN FARRIS
EMERSON, NJ 07630                       301 N. BROADWAY, SUITE 300            2511 ENCINO LANE
                                        MILWAUKEE, WI 53202                   SUGAR LAND, TX 77478




SP6, LLC                                SPACE COMFORT CO                      SPALDIN SLEEP SYSTEMS INC
ATTN: KATHRYN FARRIS                    5201 CLARK AVE                        PO BOX 248
2511 ENCINO LANE                        CLEVELAND, OH 44102                   EDEN, NC 27289
SUGAR LAND, TX 77478




SPALDING COUNTY TAX COMMISSIONER        SPALDING                              SPANISH FORK CITY UTILITIES
P.O. BOX 509                            ATTN: PROPERTY TAX DEPT.              40 SOUTH MAIN
GRIFFIN, GA 30224-0014                  P O BOX 509                           SPANISH FORK, UT 84660
                                        GRIFFIN, GA 30224-0014




SPARE OUR LANDFILLS INC                 SPARK WRIGHT & COLGIN INC             SPARK WRIGHT & COLGIN
20118 N 67TH AVE                        DBA INTEGRATE                         WELLINGTON GROUP MARKETING & PR
STE 300-402                             1702 TAYLOR ST STE 200                4105 MEDICAL PKWY STE 206
GLENDALE, AZ 85308                      HOUSTON, TX 77007                     AUSTIN, TX 78756
SPARKHOUND INC         Case    18-12241-CSS    Doc
                                         SPARKLE    26SERVICES
                                                 CLEAN  Filed 10/05/18
                                                               INC               PageSPARKLETTS
                                                                                      1477 of 1739
                                                                                                & SIERRA SPRINGS
PO BOX 53885                              590 BEAUMONT DR                             P.O. BOX 660579
LAFAYETTE, LA 70505-3885                  BELLINGHAM, WA 98226                        DALLAS, TX 75266-0579




SPARKLING WINDOW CLEANING                 SPARKS RETAIL ASSOCIATES, LLC               SPARKS SALES INC
DBA TERRY H CLAGG                         C/O PINE TREE COMMERCIAL REALTY, LLC        DBA BED TECH
2499 GRANT GARDEN RD                      ATTN: NICOLE GERES                          4707 W VAN BUREN ST
ONA, WV 25545                             40 SKOKIE BOULEVARD, SUITE 610              PHOENIX, AZ 85043
                                          NORTHBROOK, IL 60062



SPARROW ENTERPRISE INC DBA LABOR          SPARROW ENTERPRISE INC                      SPARTAN DEVELOPMENT, LLC
FINDERS                                   LABOR FINDERS JACKSONVILLE                  1414 ATWOOD AVE
518 WEST HIGHWAY 76 SUITE B               PO BOX 890043                               JOHNSTON, RI 02919
CHAPIN, SC 29036                          CHARLOTTE, NC 28289-0043




SPARTAN DEVELOPMENT, LLC                  SPARTAN STAFFING                            SPARTAN STAFFING
C/O CARPIONATO PROPERTIES INC             P.O. BOX 2910                               PO BOX 740435
1414 ATWOOD AVE                           TACOMA, WA 98401-2910                       ATLANTA, GA 30374-0435
JOHNSTON, RI 02919




SPARTANBURG COUNTY TAX COLLECTOR          SPARTANBURG COUNTY TAX COLLECTOR            SPARTANBURG SANITARY SWR DIST
P.O. BOX 100260                           PO BOX 3060                                 200 COMMERCE ST
COLUMBIA, SC 29202-3260                   SPARTANBURG, SC 29304-3060                  SPARTANBURG, SC 29306




SPARTANBURG SANITARY SWR DIST             SPARTANBURG WATER SYSTEM                    SPARTANBURG WATER SYSTEM
P.O. BOX 251                              200 COMMERCE ST                             P.O. BOX 251
SPARTANBURG, SC 96304-0251                SPARTANBURG, SC 29306                       SPARTANBURG, SC 29304-0251




SPAS 2 U 2                                SPC BEE CAVE PARTNERS LTD                   SPC PARK AVENUE LIMITED PARTNERSHIP
290 SUMMIT AVE                            DEPT 948-1                                  5950 BERKSHIRE LANE STE 875
OROVILLE, CA 95966                        PO BOX 4346                                 DALLAS, TX 75225
                                          HOUSTON, TX 77210-4346




SPEAKERS OFFICE INC                       SPEAR CONSTRUCTION INC                      SPEARS- HOPKINS LLC
5927 BALFOUR CT.                          10711 KENNERLY                              5730 FISK AVE
STE 103                                   SAINT LOUIS, MO 63128                       CHATTANOOGA, TN 37421
CARLSBAD, CA 92008




SPEARS MATTRESS COMPANY                   SPEARS-HOPKINS PAVING CO                    SPECIAL TEE GOLF OF FLORIDA, INC.
PO BOX 513                                5730 FISK AVE                               4071 S. ATLANTIC AVENUE, SUITE 305
ROME, GA 30162                            CHATTANOOGA, TN 37421                       NEW SMYRNA BEACH, FL 32169




SPECIAL TEE GOLF                          SPECIALIZED FIBERS                          SPECIALTY LIGHTING AND RECYCLING INC
4071 S. ATLANTIC AVENUE, SUITE 305        PO BOX 735                                  PO BOX 643
NEW SMYRNA BEACH, FL 32169                CORNING, CA 96021                           FRANKFORT, IL 60423
                       Case
SPECIALTY RETAILERS, INC.     18-12241-CSS    DocRETAILERS,
                                        SPECIALTY 26 Filed  INC.10/05/18       PageSPECTRA
                                                                                    1478 ofPRODUCTIONS
                                                                                            1739
ATTN: CHIEF LEGAL OFFICER                 ATTN: ELLIE GARNER                        P.O. BOX 333
2425 WEST LOOP SOUTH                      2425 W LOOP S 6TH FL                      EAGLE, ID 83616
HOUSTON, TX 77027                         HOUSTON, TX 77027




SPECTRA RECYCLING INC                     SPECTRA RECYCLING INC                     SPECTRA RECYCLING INC
1627 ROBERT C JACKSON DR                  225 BROOKDALE RD                          P.O. BOX 5898
MARYVILLE, TN 37801                       MARYVILLE, TN 37801                       MARYVILLE, TN 37802




SPECTRUM BUSINESS                         SPECTRUM PROPERTY MANAGEMENT              SPECTRUM REACH
PO BOX 30050                              KELLEY TELLESON                           PO BOX 27908
HONOLULU, HI 96820-0050                   8733 BALBOA AVENUE                        NEW YORK, NY 10087
                                          SAN DIEGO, CA 92123-1538




SPECTRUM REACH                            SPECTRUM UTILITIES SOLUTIONS              SPECTRUM UTILITIES SOLUTIONS
PO BOX 957926                             2702 ERIE AVE                             P.O. BOX 158
SAINT LOUIS, MO 63195                     CINCINNATI, OH 45208                      BALTIMORE, OH 43105




SPECTRUM                                  SPECTRUM                                  SPEECHINK INC
400 ATLANTIC ST, 10TH FL                  P.O. BOX 742600                           260 KING ST 1309
STAMFORD, CT 06901                        CINCINNATI, OH 45274-2600                 SAN FRANCISCO, CA 94107




SPEED-GMX OWEGO LLC                       SPEED-GMX OWEGO LLC                       SPEED-GMX SHOREWOOD LLC
400 N LASALLE ST STE 805                  GMX REAL ESTATE GROUP LLC                 GMX R.E. GROUP LLC/ATTN DONNA SKELNIK
CHICAGO, IL 60654                         3000 DUNDEE RD 408                        300 DUNDEE RD 408
                                          NORTHBROOK, IL 60062                      NORTHBROOK, IL 60062




SPEEDWAY COMMERCE LLC                     SPEEDWAY SHOPPES, LLC                     SPEEDWAY SUPER CENTER
ATTN: REZA JAFARI                         C/O UNICORP NATIONAL DEVELOPMENTS,        LEASE ID 4169017
P.O. BOX 9091                             INC.                                      P O BOX 533266
RANCHO SANTA FE, CA 92067                 7940 VIA DELLAGIO WAY, SUITE 200          CHARLOTTE, NC 28290-3266
                                          ORLANDO, FL 32819



SPEEDWAY WATERWORKS                       SPEEDWAY WATERWORKS                       SPEEDY DELIVERY LLC
5700 W 10TH ST                            P.O. BOX 6485                             1830 TERMINAL DR
SPEEDWAY, IN 46224                        INDIANAPOLIS, IN 46206                    RICHLAND, WA 99354




SPEEDY GLASS - DAVIS INC.                 SPEER, JOHN                               SPENCE COMPACTOR SERVICES INC
965 OLIVE DR                              123 UNKNOWN                               PO BOX 1146
DAVIS, CA 95616                           LAS VEGAS, NV 89139                       SUFFOLK, VA 23434




SPENCER ARELLANO                          SPENCER BALLETE                           SPENCER BECULHEIMER
10201 S. MAIN STREET                      10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                         HOUSTON, TX 77025
SPENCER BRABHAM        Case 18-12241-CSS   Doc
                                      SPENCER    26 Filed 10/05/18
                                              BRISSON                    PageSPENCER
                                                                              1479 ofBURCH
                                                                                      1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




SPENCER BUSSY                          SPENCER C YOUNG LAW PC                SPENCER DUNCAN
10201 S. MAIN STREET                   1300 CLAY ST STE 600                  10201 S. MAIN STREET
HOUSTON, TX 77025                      OAKLAND, CA 94612-1427                HOUSTON, TX 77025




SPENCER GHELFI                         SPENCER HOLMES                        SPENCER MAYO
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




SPENCER MCCULLOH                       SPENCER MEALOR                        SPENCER MELSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                  2810 WEST HICKORY DR
HOUSTON, TX 77025                      HOUSTON, TX 77025                     ANDERSON, IN 46013




SPENCER PEARSON                        SPENCER PITTS                         SPENCER REIFSCHNEIDER
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




SPENCER VALENTINE                      SPENCER WEDDLE                        SPENCER WHITMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                  108 PINEGATE CIRCLE 5
HOUSTON, TX 77025                      HOUSTON, TX 77025                     CHAPEL HILL, NC 27514




SPENSER VANCE                          SPERA TRUST I                         SPERA TRUST II-M ERICKSON
10201 S. MAIN STREET                   5841 N BROADWAY                       5841 N BROADWAY
HOUSTON, TX 77025                      DENVER, CO 80216                      DENVER, CO 80216




SPERRY VAN NESS                        SPERRY VAN NESS/INVESTEC REALTY       SPF PATRIOT VILLAGE, LLC
ATTN: JAMES BLAKE, PROPERTY MANAGER    SERVICES                              C/O EDWARD SCHWARTZ & CO.
3108 5TH STREET                        JOHN A. SNYDER                        3190 DOOLITTLE DRIVE
FORT WORTH, TX 76107                   51 GERMANTOWN COURT, SUITE 215        NORTHBROOK, IL 60062
                                       MEMPHIS, TN 38018



SPG INDEPENDENCE CENTER LLC            SPG WOLF RANCH, LP                    SPIERER, WOODWARD, CORBALIS &
DBA INDEPENDENCE CENTER                C/O WP GLIMCHER, INC.                 GOLDBERG, P.C.
P.O. BOX 644182                        ATTN: GENERAL COUNSEL                 ATTN: CHRISTOPHER SHARP
PITTSBURGH, PA 15264-4182              180 EAST BROAD STREET                 5619 DTC PARKWAY, SUITE 525
                                       COLUMBUS, OH 43215                    GREENWOOD VILLAGE, CO 80111



SPINE AND ORTHOPEDIC SURGERY CENTER    SPINNAKER INVESTMENT II LLC           SPIRA, BEADLE & MCGARRELL, P.A.
LLC                                    PO BOX 1208                           ATTN: JACK SPIRA
1816 SEA SHELL CT                      COLORADO SPRINGS, CO 80901            RE: STEVEN COFFEY
WINDSOR, CO 80550                                                            5205 BABCOCK STREET, N.E.
                                                                             PALM BAY, FL 32905
SPIRE                   Case 18-12241-CSS
                                       SPIRE Doc 26         Filed 10/05/18   PageSPIRIT
                                                                                  1480MASTER
                                                                                        of 1739
                                                                                             FUNDING IV, LLC
700 MARKET ST                          DRAWER 2                                   ATTN: PORTFOLIO SERVICING
ST LOUIS, MO 63101                     ST LOUIS, MO 63171                         2727 HARWOOD STREET, SUITE 300
                                                                                  DALLAS, TX 75201




SPIRIT MASTER FUNDING IV, LLC          SPIRIT MASTER FUNDING IV, LLC              SPIRIT MT BROADVIEW IL, LLC
C/O SPIRIT REALTY CAPITAL INC          C/O SPIRIT REALTY CAPITAL INC              C/O SPIRIT REALTY CAPITAL INC.
16767 N PERIMETER DR STE 210           2727 N. HARWOOD STREET, SUITE 300          16767 NORTH PERIMETER DR, SUITE 210
SCOTTSDALE, AZ 85260                   ATTN: P02860                               ATTN: DARAH KUBIAK, ESQ.
                                       DALLAS, TX 75201                           SCOTTSDALE, AZ 85260



SPIRIT MT BROADVIEW IL, LLC            SPIRIT OF AUSTIN 105.9 KFMK-FM             SPIRIT REALTY CAPITAL INC.
C/O SPIRIT REALTY CAPITAL INC.         CRISTA MEDIA                               16767 NORTH PERIMETER DRIVE, SUITE 210
16767 NORTH PERIMETER DR, SUITE 210    3600 N CAPITAL OF TX HWY STE A 200         SCOTTSDALE, AZ 85260
ATTN: PORTFOLIO SERVICING              AUSTIN, TX 78746
SCOTTSDALE, AZ 85260



SPIRIT REALTY CAPITAL INC.             SPIRIT REALTY CAPITAL INC.                 SPIRIT REALTY CAPITAL INC.
2727 HARWOOD STREET, SUITE 300         SPIRIT MASTER FUND. IV LLC                 SPIRIT MT FAIRVIEW HEIGHTS IL LLC
DALLAS, TX 75201                       ATTN P02860                                PO BOX 944142
                                       2727 N HARWOOD ST STE 300                  CLEVELAND, OH 44194-4142
                                       DALLAS, TX 75201



SPIRIT REALTY LP DBA SPIRIT MASTER     SPIRIT REALTY LP                           SPIRIT REALTY LP
FUNDING IV                             ATTN: ACCOUNTS RECEIVABLE DEPT             SPIRIT MT BROADVIEW IL LLC
2727 N HARWOOD ST 300                  PO BOX 206453                              PO BOX 206453
DALLAS, TX 75201                       DALLAS, TX 75320-6453                      DALLAS, TX 75320-6453




SPIRIT SLEEP PRODUCTS                  SPIRO ANTHONY DIMECK                       SPLASH, SUN & FUN, INC.
26 OLD BREVARD RD                      17 TIMBER RIDGE DR                         ATTN: NOAH & LILI ROSENBERG
ASHEVILLE, NC 28806                    CORAM, NY 11727                            4639 RIVERWOOD AVE
                                                                                  SARASOTA, FL 34231




SPLIT ROCK MANAGEMENT INC.             SPM REALTY                                 SPOKANE COUNTY AUDITOR
704 BRIDGEPORT AVE STE 201             ATTN: ANDREW KEMARA                        PO BOX 2351
SHELTON, CT 06484                      1331 NORTH BROADWAY, SUITE C               SPOKANE, WA 99210-2351
                                       WALNUT CREEK, CA 94596




SPOKANE COUNTY ENVIRONMNTL SVC         SPOKANE COUNTY ENVIRONMNTL SVC             SPOKANE COUNTY INTERSTATE FAIR
1026 W BROADWAY AVE                    P.O. BOX 2355                              404 N HAVANA ST STE 1
PUBLIC WORKS BUILDING, 4TH FL          SPOKANE, WA 99210-2355                     SPOKANE VALLEY, WA 99202
SPOKANE, WA 99260




SPOKANE COUNTY SOLID WASTE             SPOKANE COUNTY SOLID WASTE                 SPOKANE COUNTY TREASURER
1026 W BROADWAY AVE                    P.O. BOX 2355                              1116 W BROADWAY AVE
PUBLIC WORKS BUILDING, 4TH FL          SPOKANE, WA 99210-2355                     SPOKANE, WA 99260
SPOKANE, WA 99260




SPOKANE COUNTY UTILITIES               SPOKANE COUNTY UTILITIES                   SPOKANE COUNTY WATER DISTRICT 3
1026 W BROADWAY AVE                    P.O. BOX 2355                              1225 N YARDLEY ST
PUBLIC WORKS BUILDING, 4TH FL          SPOKANE, WA 99210-2355                     SPOKANE VALLEY, WA 99212-7001
SPOKANE, WA 99260
SPOKANE COUNTY WATERCase     18-12241-CSS
                       DISTRICT 3            Doc
                                       SPOKANE     26 Filed
                                                FARP            10/05/18      PageSPOKANE
                                                                                   1481 ofMOVERS
                                                                                           1739
1225 N YARDLEY ST                      PO BOX 3843                                201 E SPRAGUE
SPOKANE, WA 99212-7001                 SEATTLE, WA 98124-3843                     SPOKANE, WA 99219




SPOKANE MOVERS                         SPOKANE VALLEY FARU                        SPONSORSOURCE
PO BOX 19232                           PO BOX 94173                               811 RUSSELL AVE STE 300
SPOKANE, WA 99219                      SEATTLE, WA 98124                          GAITHERSBURG, MD 20879




SPORT LEVITTOWN RETAIL, LP             SPORT LEVITTOWN RETAIL, LP                 SPORT LEVITTOWN RETAIL, LP
C/O FIRST DEVELOPMENT CORP             C/O FIRST DEVELOPMENT CORP                 C/O FIRST DEVELOPMENT CORP
1328 MOTOR PARKWAY                     ATTN: BOB STERNBERG                        ATTN: BOB STERNBERG
ATTN: BOB STERNBERG                    1328 MOTOR PKWY                            1328 MOTOR PKWY
HAUPPAUGE, NY 11749                    FARMINGVILLE, NY 11749                     HAUPPAUGE, NY 11749



SPORTSCHANNEL NEW ENGLAND LLC          SPORTSNET NEW YORK                         SPOTSYLVANIA COUNTY TREASURER
42-44 THIRD AVE                        PO BOX 13741                               ATTN: PROPERTY TAX DEPT.
BURLINGTON, MA 01803                   NEWARK, NJ 07188-3737                      PO BOX 9000
                                                                                  SPOTSYLVANIA, VA 22553




SPOTSYLVANIA COUNTY-COMMISSIONER       SPREDFAST INC                              SPRING AIR COMPANY
OF REVENUE                             LOCK BOX 671306                            ATTN: CHIEF FINANCIAL OFFICER
ATTN: BUSINESS TAX DIVISION            DALLAS, TX 75267-1306                      70 EVERETT AVE STE 507
PO BOX 175                                                                        CHELSEA, MA 02150
SPOTSYLVANIA, VA 22553-0175



SPRING AIR MATTRESS CORPORATION        SPRING BACK COLORADO INC                   SPRING BACK UTAH MATTRESS RECYCLING
401 N RALEIGH ST                       3875 STEELE ST UNIT B                      LLC
GREENSBORO, NC 27401                   DENVER, CO 80205                           1929 SOUTH 4130 W STE D
                                                                                  SALT LAKE CITY, UT 84104




SPRING BRANCH I.S.D.                   SPRING CREEK U.D.                          SPRING CYPRESS UTILITY
L.A. PAYTON, TAX ASSESOR-COLL.         11500 NW FREEWAY, STE 465                  114 FM 115
P.O. BOX 19037                         HOUSTON, TX 77092-6538                     PO BOX 591
8880 WESTVIEW                                                                     MT VERNON, TX 75457
HOUSTON, TX 77224-9037



SPRING CYPRESS UTILITY                 SPRING HILL INTERNATIONAL PROPERTIES       SPRING I.S.D. TAX OFFICE
P.O. BOX 279                           USA LLC                                    TAX ASSESSOR-COLLECTOR
NEW WAVERLY, TX 77358                  175 SW 7TH ST STE 2307                     P.O. BOX 4826
                                       MIAMI, FL 33130                            HOUSTON, TX 77210-4826




SPRING PARTNERS, LLC                   SPRING RIDGE LP                            SPRING RIDGE LP
ATTN: MARK BLIEDEN                     C/O S RIDGE MANAGEMENT, LLC                WELLS FARGO
6100 DUTCHMANS LANE, 6TH FLOOR         217 WEST SPRINGVILLE ROAD                  PO BOX 60485
LOUISVILLE, KY 40205                   BOILING SPRINGS, PA 17007                  CHARLOTTE, NC 28260-0485




SPRING VALLEY MARKETPLACE              SPRING VALLEY TOWN CENTER                  SPRING WEST MUD
C/O MILBROOK PROPERTIES LTD            C/O ON BAKER                               11111 KATY FREEWAY 725
42 BAYVIEW AVE                         8554 KATY FRWY 301                         HOUSTON, TX 77079-2197
MANHASSET, NY 11030                    HOUSTON, TX 77024
                       Case 18-12241-CSS
SPRINGFIELD COMMONS, LLC                     Doc 26
                                      SPRINGFIELD       FiledLLC
                                                   COMMONS,     10/05/18    PageSPRINGFIELD
                                                                                 1482 of 1739
                                                                                            NEWS LEADER
C/O JBG SMITH                         P.O. BOX 645550                            PO BOX 677568
4445 WILLARD AVENUE, SUITE 400        CINCINNATI, OH 45264-5550                  DALLAS, TX 75267-7568
CHEVY CHASE, MD 20815




SPRINGFIELD TOWNSHIP                    SPRINGFIELD UTILITY BOARD                SPRINGFIELD WATER & SEWER COM
BUSINESS TAX OFFICE                     P.O. BOX 300                             36 COURT ST
50 POWELL RD                            SPRINGFIELD, OR 97477-0077               SPRINGFIELD, MA 01101
SPRINGFIELD, PA 19064




SPRINGFIELD WATER & SEWER COM           SPRINGFIELD                              SPRINGINVEST LLC
P.O. BOX 3688                           ATTN: PROPERTY TAX DEPT.                 100 N BISCAYNE BLVD STE 500
SPRINGFIELD, MA 01101-3688              76 E HIGH ST                             MIAMI, FL 33132
                                        SPRINGFIELD, OH 45502-1214




SPRINGINVEST LLC                        SPRINGINVEST LLC                         SPRINGS EQUITY LLLP
C/O METRO PROPERTY ADVISORS             C/O METRO PROPERTY ADVISORS              ATTN: CEO
13046 RACE TRACK ROAD, #197             RICARDO BOVERO MNGR                      270 W NEW ENGLAND AVE
TAMPA, FL 33626                         13046 RACE TRACK ROAD, 197               WINTER PARK, FL 32789
                                        TAMPA, FL 33626



SPRINGSTEEL DOOR SERVICE                SPRINGTREE LLC                           SPRINT
PO BOX 24343                            CO CBA PROPERITY MGMT INC                ATTN BANKRUPTCY DEPT
LYNDHURST, OH 44124                     7154 N UNIVERSITY DR 265                 PO BOX 7949
                                        TAMARAC, FL 33321-6105                   OVERLAND PARK, KS 66207-0949




SPRINT                                  SPRYS LAWN CARE SERVICE                  SPS COMMERCE INC
P.O. BOX 4181                           1617 WRIGHTSVILLE AVE                    PO BOX 205782
CAROL STREAM, IL 60197-4181             KILL DEVIL HILLS, NC 27948               DALLAS, TX 75320-5782




SPT CRE PROPERTY HOLDINGS 2015 LLC      SPV ORLAND PARK LLC & VATORLAND          SPV/VAT ORLANDO PARK LLC
1601 WASHINGTON AVE 800                 PARK LLC AS TIC                          C/O SEQUOIA REALTY GROUP
MIAMI, FL 33139                         79 W MONROE ST STE 905                   1900 SOUTH HIGHLAND AVENUE, SUITE 104
                                        CHICAGO, IL 60603                        LOMBARD, IL 60148




SQAD INC                                SQUEAKY CLEAN WINDOWS                    SQUEEGEE PROS INC
303 SO BROADWAY STE 130                 1766 CORTEZ DR                           1219 RIVER HWY
TARRYTOWN, NY 10591-5410                CASA GRANDE, AZ 85122                    MOORESVILLE, NC 28117




SR BOXSPRING, LLC                       SR DAWSON, LLC                           SR DAWSON, LLC
DBA SUNG RHEE                           ATTN: ANDY RINZLER                       ATTN: ANDY RINZLER
123 LAKE STREET S STE B1                110 EAST ANDREWS DRIVE, SUITE 211        110 EAST ANDREWS DRIVE, SUITE 211
KIRKLAND, WA 98033                      ATLANTA, GA 30035                        ATLANTA, GA 30305




SR INVESTMENT GROUP LLC                 SRA WESTON SHOPS, LLC                    SRE EUSTIS, LLC
ATTN: RENAE HOWARD                      C/O SAVITAR REALTY ADVISORS              ATTN: DONALD ROSENTHAL
123 LAKE STREET S., SUITE B1            ATTN: CLIFF STEIN                        P.O. BOX 273760
KIRKLAND, WA 98033                      2301 W SAMPLE RD BLDG 3 STE 1B           BOCA RATON, FL 33427
                                        POMPANO BEACH, FL 33073
SRE EUSTIS, LLC        Case     18-12241-CSS    Doc LLC
                                          SRE EUSTIS, 26     Filed 10/05/18     PageSRI
                                                                                     1483   of 1739
                                                                                        YALLA
C/O HHH MANAGEMENT INC                     C/O HHH MANAGEMENT INC                    7940 N MACARTHUR BLVD APT 2142
2214 W ATLANTIC AVE                        PO BOX 273760                             IRVING, TX 75063
DELRAY BEACH, FL 33445                     BOCA RATON, FL 33427-3760




SRINI KAMANA                               SRINIVASAN KUPPAM RAMESH                  SRK 50 WILTON REVERSE COURSE
10201 S. MAIN STREET                       10201 S. MAIN STREET                      ASSOCIATES, LLC
HOUSTON, TX 77025                          HOUSTON, TX 77025                         C/O BENCHMARK MANAGEMENT CORP.
                                                                                     ATTN: DIRECTOR OF REAL ESTATE
                                                                                     4053 MAPLE ROAD, 200
                                                                                     AMHERST, NY 14226


SRK 50 WILTON REVERSE COURSE               SRK 50 WILTON REVERSE COURSE              SRP FOUR CORNERS INVESTORS LP
ASSOCIATES, LLC                            ASSOCIATES, LLC                           PO BOX 679098
C/O BENCHMARK MANAGEMENT CORP.             C/O BENCHMARK MANAGEMENT CORP.            DALLAS, TX 75267
ATTN: DIRECTOR OF REAL ESTATE              ATTN: DIRECTOR OF REAL ESTATE
4053 MAPLE ROAD, 200                       ATTN: DIRECTOR OF REAL ESTATE
BUFFALO, NY 14226                          AMHERST, NY 14226


SRP                                        SRP                                       SRPMIC
C/O W. GARY HULL                           P.O. BOX 80062                            PO BOX 29844
PAB 207, 1521 N PROJECT DR                 PRESCOTT, AZ 86304-8062                   PHOENIX, AZ 85038-9844
TEMPE, AZ 85281




SRSA GULF SOUTH MANAGEMENT                 SRX PROPERTIES LLC                        SS BATTLEGROUND LLC
2555 SEVERN AVENUE, SUITE 200              8816 SIX FORKS RD STE 201                 ATTN: MR. BRIAN PIERE
METAIRIE, LA 70002                         RALEIGH, NC 27615                         PO BOX 49579
                                                                                     GREENSBORO, NC 27419




SS BELVILLE, LLC                           SS BELVILLE, LLC                          SS ENTERPRISES
C/O CBC SUN COAST PARTNERS                 C/O CBC SUN COAST PARTNERS                1423 FLORESTA PLACE
1430 COMMONWEALTH DR                       1430 COMMONWEALTH DRIVE, SUITE 102        PACIFIC PALISADES, CA 90272-2350
WILMINGTON, NC 28403                       WILMINGTON, NC 28403




SS OYSTER BAY REALTY LLC                   SS OYSTER BAY REALTY LLC                  SS OYSTER BAY REALTY
400 HICKSVILLE RD                          999 S OYSTER BAY RD STE 200               400 HICKSVILLE RD
BETHPAGE, NY 11714                         BETHPAGE, NY 11714                        BETHPAGE, NY 11714




SS REALTY, LLC                             SSC KINGS MALL LLC                        SSC KINGS MALL LLC
ATTN: ANNE SARPASH                         191 W NATIONWIDE BLVD STE 200             C/O CASTO
132 SHEPPARD AVENUE WEST, SUITE 100        COLUMBUS, OH 43215                        P.O. BOX 1450
TORONTO, ON M2N 1M5                                                                  COLUMBUS, OH 43216
CANADA



SSI NORTHSIDE LLC                          SSI NORTHSIDE LLC                         SSI
5111 MERYLAND WAY STE 201                  PO BOX 842817                             PO BOX 580500
BRENTWOOD, TN 37027                        BOSTON, MA 02284-2817                     CHARLOTTE, NC 28258-0500




SSM HEALTH CARE                            SSS LAND DEVELOPMENT LP                   ST ANDREWS SHOPPING CENTER CORP
PO BOX 505192                              DBA BAYOU CITY EVENT CENTER               OF CHARLESTON
SAINT LOUIS, MO 63150-5192                 8120 MCHARD RD                            DEPT CODE: SSC0254/LMATTFI00
                                           HOUSTON, TX 77053                         P.O. BOX 6203
                                                                                     DEPT CODE:
                                                                                     SSC0254/LMATTFI00HICKSVILLE, NY 11802-
                                                                                     6203
                        Case CORP
ST ANDREWS SHOPPING CENTER   18-12241-CSS    Doc 26
                                       ST AUGUSTINE      Filed
                                                    ESTATE  LLC 10/05/18   PageST
                                                                                1484  of 1739
                                                                                  AUGUSTINE ROAD PARTNERS LLC
OF CHARLESTON                          PO BOX 2007                              C/O HT GROUP LLC
DEPT CODE: SSC0254/LMATTFI00           LAKELAND, FL 33806                       3713 PEACHTREE RD NE
P.O. BOX 6203                                                                   ATLANTA, GA 30319
HICKSVILLE, NY 11802-6203



ST CHARLES COUNTY COLLECTOR             ST CHARLES COUNTY GOVERNMENT            ST CHARLES PLACE LLC
201 N.SECOND ST.RM134                   201 N SECOND ST ROOM 541                101 EAST MATTHEWS ST STE 500
SAINT CHARLES, MO 63301-2889            SAINT CHARLES, MO 63301                 MATTHEWS, NC 28105




ST CHARLES SHERIFFS OFFICE              ST CHARLES TOWNE PLAZA LLC              ST CLAIR COUNTY
TAX DIVISION                            1477 PAYSPHERE CIRCLE                   COUNTY TREASURER
15045 RIVER RD PO BOX 440               CHICAGO, IL 60674                       10 PUBLIC SQUARE
HAHNVILLE, LA 70057                                                             BELLEVILLE, IL 62220




ST CLAIR COUNTY                         ST CLOUD TIMES                          ST DOMINIC LLC
P.O. BOX 23980                          PO BOX 677330                           LATCO ENTERPRISES
BELLEVILLE, IL 62223                    DALLAS, TX 75267-7330                   ATTN: CHRIS LATTAZNIO
                                                                                200940 CALLE NEGOCIO
                                                                                SAN CLEMENTE, CA 92673



ST INDIAN RIDGE LLC                     ST INDIAN RIDGE LLC                     ST JOHNS COUNTY TAX COLLECTOR
C/O CHASE PROPERTIES LTD.               C/O CHASE PROPERTIES LTD.               PO BOX 9001
3333 RICHMOND ROAD, SUITE 320           PO BOX 92317                            SAINT AUGUSTINE, FL 32085
BEACHWOOD, OH 44122                     CLEVELAND, OH 44193




ST JOHNS COUNTY UTILITY DEPT            ST JOHNS COUNTY UTILITY DEPT            ST JOSEPH COUNTY 4-H FAIR INC
1205 SR 16                              P.O. DRAWER 3006                        5117 SOUTH IRONWOOD DRIVE
ST AUGUSTINE, FL 32084                  SAINT AUGUSTINE, FL 32085-3006          SOUTH BEND, IN 46614




ST JOSEPH COUNTY TREASURER              ST JOSEPH                               ST LOUIS CITY
PO BOX 4758                             ATTN: PROPERTY TAX DEPT.                ATTN: PROPERTY TAX DEPT.
SOUTH BEND, IN 46634-4758               1100 FREDERICK AVE                      PO BOX 66877
                                        SAINT JOSEPH, MO 64501                  SAINT LOUIS, MO 63166-6877




ST LOUIS COMPOSTING                     ST LOUIS COUNTY COLLECTOR               ST LOUIS COUNTY MISSOURI
39 OLD ELAM AVE                         ATTN: PROPERTY TAX DEPT.                DEP OF REV. DIV OF ASSESSMENT
VALLEY PARK, MO 63088                   41 S CENTRAL 8TH FL                     41 S CENTRAL AVE
                                        CLAYTON, MO 63105                       SAINT LOUIS, MO 63105




ST LOUIS COUNTY TREASURER               ST LUCIE COUNTY TAX COLLECTOR           ST LUCIE WEST 2016 LLC
41 S CENTRAL 8TH FL                     P.O. BOX 308                            THE HAMPSHIRE COMPANIES
CLAYTON, MO 63105                       FORT PIERCE, FL 34954-0308              PO BOX 2198
                                                                                HICKSVILLE, NY 11802




ST LUCIE WEST SERVICES DISTRICT         ST LUCIE WEST SERVICES DISTRICT         ST MARYS CO METROPOLITAN COMM
450 SW UTILITY DRIVE                    450 SW UTILITY DRIVE                    23121 CAMDEN WAY
PORT SAINT LUCIE, FL 34986              PORT ST. LUCIE, FL 34986                CALIFORNIA, MD 20619-2448
                      Case
ST MARYS COUNTY MARYLAND       18-12241-CSS    Doc 26
                                         ST MARYS         Filed 10/05/18      PageST
                                                                                   1485  ofGROUP
                                                                                     MEDIA  1739INTERNATIONAL INC
23150 LEONARD HALL DR                    ATTN: PROPERTY TAX DEPT.                  11262 CORNELL PARK DR
LEONARDTOWN, MD 20650-5801               23150 LEONARD HALL DR                     CINCINNATI, OH 45242
                                         LEONARDTOWN, MD 20650-5801




ST MICHAEL INVESTMENTS                   ST STATE LLC                              ST TAMMANY PARISH GOVERNMENT
1330 N. BROADWAY SUITE C                 940 CALLE NEGOCIO STE 200                 21454 KOOP DRIVE
WALNUT CREEK, CA 94596                   SAN CLEMENTE, CA 92673                    SUITE 1 A
                                                                                   MANDEVILLE, LA 70471




ST TAMMANY                               ST. ANDREWS SHOPPING CENTER CORP.         ST. AUGUSTINE ESTATE, LLC
ATTN: PROPERTY TAX DEPT.                 OF CHARLESTON                             113 GAVILAN AVENUE
21454 KOOP DRIVESUITE 1 A                C/O KIMCO REALTY CORPORATION              ATTN: JEAN-YVES USUNIER
MANDEVILLE, LA 70471                     3333 NEW HYDE PARK ROAD, SUITE 100        CORAL GABLES, FL 33143
                                         NEW HYDE PARK, NY 11042



ST. AUGUSTINE ESTATE, LLC                ST. CHARLES PLACE, LLC                    ST. CHARLES PLACE, LLC
ATTN: JEAN-YVES USUNIER                  C/O CLEAR CREEK BROTHERS                  C/O CLEAR CREEK BROTHERS
113 GAVILAN AVENUE                       MANAGEMENT, LLC                           MANAGEMENT, LLC
CORAL GABLES, FL 33143                   101 EAST MATTHEWS ST STE 500              101 EAST MATTHEWS STREET, SUITE 500
                                         MATTHEWS, NC 28105                        MATTHEWS, NC 28105



ST. CHARLES TOWNE PLAZA, LLC             ST. CHARLES TOWNE PLAZA, LLC              ST. JOHN PROPERTIES INC
3762 MATDI                               C/O WP GLIMCHER, INC.                     2560 LORD BALTIMORE DR
1477 PAYSPHERE CIRCLE                    ATTN: GENERAL COUNSEL                     GWYNN OAK, MD 21244
CHICAGO, IL 60674                        180 EAST BROAD STREET
                                         COLUMBUS, OH 43215



ST. JOHNS COUNTY TAX COLLECTOR           ST. JOHNS COUNTY TAX COLLECTOR            ST. LOUIS POST-DISPATCH
ATTN: PROPERTY TAX DEPT.                 ATTN: PROPERTY TAX DEPT.                  P.O. BOX 790099
PO BOX 9001                              PO BOX 9001                               ST. LOUIS, MO 63179-0099
SAINT AUGUSTINE, FL 32085-9001           ST. AUGUSTINE, FL 32085-9001




ST. LUCIE                                ST. MARKS EPISCOPAL SCHOOL                ST. MICHAEL INVESTMENTS
ATTN: PROPERTY TAX DEPT.                 DIRECTOR OF DEVELOPMENT                   190 HARTZ AVENUE
P O BOX 308                              3816 BELLAIRE BLVD                        DANVILLE, CA 94526
FORT PIERCE, FL 34954-0308               HOUSTON, TX 77025




ST. PAUL PIONEER PRESS                   ST. PETERSBURG TIMES                      ST. PETERSBURG TIMES
PO BOX 65220                             490 FIRST AVE SOUTH                       P.O. BOX 112
COLORADO SPRINGS, CO 80962-5220          SAINT PETERSBURG, FL 33701                PETERSBURG, FL 33731-0112




ST. TAMMANY PARISH TAX COLLECTOR         STACEY BLACK                              STACEY BYRNE
P.O. BOX 1229                            2006 N WOODBINE APT 3                     10201 S. MAIN STREET
SLIDDELL, LA 70459                       SAINT JOSEPH, MO 64506                    HOUSTON, TX 77025




STACEY EMANUEL                           STACEY FRACOL                             STACEY GREEN
8140 57TH AVE                            3033 RIKKARD DR                           10201 S. MAIN STREET
KENOSHA, WI 53142                        THOUSAND OAKS, CA 91362                   HOUSTON, TX 77025
STACEY HUBBARD         Case 18-12241-CSS
                                      STACEYDoc   26 DOBOS
                                             J. SEBANC Filed 10/05/18   PageSTACEY
                                                                             1486 of  1739
                                                                                   L BYRNE
10201 S. MAIN STREET                    105 STONEPINE RD.                   1288 SUNNY GLEN CT
HOUSTON, TX 77025                       BURLINGAME, CA 94010                VANDALIA, OH 45377




STACEY MILLER                           STACEY PADGETT                      STACEY PRUSSMAN
6713 FROGTOWN RD                        10201 S. MAIN STREET                10201 S. MAIN STREET
HERMITAGE, PA 16148                     HOUSTON, TX 77025                   HOUSTON, TX 77025




STACEY RAGBIR                           STACEY SCHNEIDER                    STACEY WEEKS
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




STACEY WEEKS                            STACEY WING                         STACEY-ANN GRANNELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




STACI BURKHALTER                        STACI MERHI                         STACI PODEST
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




STACIA REEVES                           STACIE COPPLE                       STACIE KABORE
10201 S. MAIN STREET                    5945 S 186TH AVE                    10201 S. MAIN STREET
HOUSTON, TX 77025                       OMAHA, NE 68135                     HOUSTON, TX 77025




STACIE MURRAY                           STACS                               STACY ANTOS
10201 S. MAIN STREET                    ATTN: SALES & USE TAX DEPT.         10201 S. MAIN STREET
HOUSTON, TX 77025                       P.O. BOX 3989                       HOUSTON, TX 77025
                                        MUSCLE SHOALS, AL 35662




STACY BARBOZA                           STACY BROWN                         STACY CASHIOLA
10201 S. MAIN STREET                    645 W CLOVERHURST AVE               10201 S. MAIN STREET
HOUSTON, TX 77025                       ATHENS, GA 30606                    HOUSTON, TX 77025




STACY CHERMAK                           STACY FORKIN                        STACY GATES
6625 SILVERTHORNE CIRCLE                10201 S. MAIN STREET                10201 S. MAIN STREET
SACRAMENTO, CA 95842                    HOUSTON, TX 77025                   HOUSTON, TX 77025




STACY HARRIS                            STACY MAIDEN                        STACY MCDONALD
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025
STACY NELSON         Case    18-12241-CSS    Doc 26
                                       STACY PLAZA     Filed
                                                   SHOPPING   10/05/18
                                                            CENTER LP       PageSTACY
                                                                                 1487RICHARDSON
                                                                                      of 1739
2774 10TH ST                            2540 K AVE 388                          10201 S. MAIN STREET
CUYAHOGA FALLS, OH 44221                PLANO, TX 75074                         HOUSTON, TX 77025




STACY ROBINSON                          STACY ROGERS                            STACY SUBOCZ
616 S HUNTINGTON PL                     10201 S. MAIN STREET                    218 CONTINENTE AVE
KENNEWICK, WA 99336                     HOUSTON, TX 77025                       BRENTWOOD, CA 94513




STACY W LINDQUIST                       STACY WILLIAMS                          STACYANN NARINE
4932 63RD ST                            10201 S. MAIN STREET                    10201 S. MAIN STREET
LUBBOCK, TX 79414                       HOUSTON, TX 77025                       HOUSTON, TX 77025




STAFF FORCE INC                         STAFF ZONE                              STAFFING INC
PO BOX 203664                           PO BOX 890722                           801 BROADWAY NW STE 200
DALLAS, TX 75320-3664                   CHARLOTTE, NC 28289-0722                GRAND RAPIDS, MI 49504




STAFFING PARTNERS INC                   STAFFING PARTNERS                       STAFFORD COUNTY TREASURER
BOX 88247                               2888 CRESCENT AVE.                      PO BOX 5000
MILWAUKEE, WI 53288-0247                EUGENE, OR 97408                        STAFFORD, VA 22555-5000




STAFFORD MARKETPLACE LLC                STAFFORD MARKETPLACE, LLC               STAFFORD MARKETPLACE, LLC
3333 NEW HYDE PARK RD 3100              C/O KIMCO REALTY CORPORATION            C/O KIMCO REALTY CORPORATION
NEW HYDE PARK, NY 11042                 1954 GREENSPRING DRIVE, SUITE 330       3333 NEW HYDE PARK ROAD, SUITE 100
                                        TIMONIUM, MD 21093                      ATTN: LEGAL DEPARTMENT
                                                                                NEW HYDE PARK, NY 11042-0020



STAFFORD MARKETPLACE, LLC               STAFFORD                                STAG INDUSTRIAL HOLDINGS, LLC
DEPT CODE: SVAS1332B                    ATTN: PROPERTY TAX DEPT.                C/O STAG EAST WINDSOR LLC
PO BOX 6203                             2610 SOUTH MAIN                         ONE FERDERAL ST 23RD FLOOR
HICKSVILLE, NY 11802-6203               STAFFORD, TX 77477                      BOSTON, MA 02110




STAG INDUSTRIAL HOLDINGS, LLC           STAHL, BERNAL, DAVIES, SEWELL           STAIGER, ERIKA
ONE FEDERAL STREET, 23RD FLOOR          & CHAVARRIA, LLP                        609 PINETREE CIRCLE
BOSTON, MA 02110                        ATTN: BRENT STAHL                       VIRGINIA BEACH, VA 23452-2638
                                        7320 N. MOPAC, SUITE 211
                                        AUSTIN, TX 78731



STALEY INC                              STALEY TECHNOLOGIES                     STALLER ASSOCIATES, INC.
3400 JE DAVIS DR                        PO BOX 117                              LAUREN PARESTA, LEASE ADMINSTRATOR
LITTLE ROCK, AR 72209                   LOWELL, AR 72745                        1455 VETERANS HIGHWAY, SUITE 201
                                                                                ISLANDIA, NY 11749




STAN BOWENS                             STAN CARPEL                             STAN MILES
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
STAN PHILLIPS           Case 18-12241-CSS    Doc 26
                                       STAN VALENTA      Filed 10/05/18   PageSTANDARD
                                                                               1488 of &1739
                                                                                         POORS RATINGS SERVICES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    2542 COLLECTION CENTER DR.
HOUSTON, TX 77025                      HOUSTON, TX 77025                       CHICAGO, IL 60693




STANDARD BANK AND TRUST                STANDARD EXAMINER                       STANDARD SECURITY SYSTEMS LP
7800 W 95TH ST                         C/O OGDEN PUBLISHING CORP               1406 CAPITAL AVE STE 110
HICKORY HILLS, IL 60457-2262           PO BOX 12790                            PLANO, TX 75074
                                       OGDEN, UT 84412-2790




STANDARD SECURITY SYSTEMS LP           STANDFAST GROUP LLC                     STANEK MANAGEMENT, LLC
PO BOX 942004                          710 KIMBERLY DRIVE                      JEAN STANEK, PROPERTY MANAGER
PLANO, TX 75094-2004                   CAROL STREAM, IL 60188                  P.O. BOX 21469
                                                                               SPOKANE, WA 99201




STANEK MGMT LLC                        STANFORD RANCH OFF PLZ                  STANFORD RANCH OFFICE PLAZA
DBA BLVD PLAZA SHOPPING CENTER         1855 PARK LLC                           965 UNIVERSITY AVENUE, SUITE 100
PO BOX 21469                           2323 S BASCOM AVE STE 150               SACRAMENTO, CA 95825
SPOKANE, WA 99201                      CAMPBELL, CA 95008




STANFORTH HOLDING COMPANY LLC          STANICA MATIJEVICH                      STANISLAUS COUNTY FAIR
4080 GRAFTON ST STE 200                10201 S. MAIN STREET                    900 N BROADWAY
DUBLIN, CA 94568                       HOUSTON, TX 77025                       TURLOCK, CA 95380




STANISLAUS COUNTY TAX COLLECTOR        STANISLAUS COUNTY                       STANLEY BROWN
ATTN: PROPERTY TAX DEPT.               TAX COLLECTOR                           10201 S. MAIN STREET
PO BOX 859                             PO BOX 859                              HOUSTON, TX 77025
MODESTO, CA 95353                      MODESTO, CA 95353




STANLEY CONVERGENT SECURITY            STANLEY HAMILTON                        STANLEY J NAPOLEON
SOLUTIONS INC                          10201 S. MAIN STREET                    10201 S. MAIN STREET
DEPT CH 10651                          HOUSTON, TX 77025                       HOUSTON, TX 77025
PALATINE, IL 60055-0651




STANLEY JOHNSON                        STANLEY KESILEWSKI                      STANLEY MOON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




STANLEY ROSEN                          STANLEY SECURITY SOLUTIONS              STANLEY STEEMER
10201 S. MAIN STREET                   DEPT CH 14202                           1920 HUTTON COURT SUITE 100
HOUSTON, TX 77025                      PALATINE, IL 60055                      FARMERS BRANCH, TX 75234




STANLEY THOMAS                         STANLEY THOMAS                          STANLEY WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
STANLEY YUSCIEWITZ       Case 18-12241-CSS
                                        STANLYDoc 26 TAXFiled
                                              COUNTY          10/05/18
                                                         COLLECTOR             PageSTANLY
                                                                                    1489 of 1739
10201 S. MAIN STREET                     201 SOUTH SECOND ST                       ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                        ALBEMARLE, NC 28001                       201 SOUTH SECOND ST
                                                                                   ALBEMARLE, NC 28001




STANTIVE TECHNOLOGIES GROUP INC          STANTON PRATT                             STANTON RUTH I TRUSTEE
61 HYPERION COURT STE 8                  10201 S. MAIN STREET                      BLUESTONE & HOCKELY RE SVC
KINGSTON, ON K7K 7K7                     HOUSTON, TX 77025                         9320 SW BARBUR BLVD STE 300
CANADA                                                                             PORTLAND, OR 97219




STANTON TAYLOR                           STANTON WICKER                            STAPLES ADVANTAGE
10201 S. MAIN STREET                     10201 S. MAIN STREET                      500 STAPLES DR
HOUSTON, TX 77025                        HOUSTON, TX 77025                         FRAMINGHAM, MA 01702




STAPLES ADVANTAGE                        STAPLES BUSINESS ADVANTAGE                STAPLES BUSINESS ADVANTAGE
DEPT ATL                                 500 STAPLES DR                            DEPT. DC
PO BOX 405386                            FRAMINGHAM, MA 01702                      PO BOX 415256
ATLANTA, GA 30384-5386                                                             BOSTON, MA 02241-5256




STAPLES CONTRACT & COMM INC.             STAPLES CONTRACT & COMM INC.              STAPLES CONTRACT & COMM INC.
DBA STAPLES PRINT SOLUTIONS              DBA STAPLES PRINT SOLUTIONS               DBA STAPLES PRINT SOLUTIONS
19335 GULF FREEWAY                       500 STAPLES DR                            BIN 150003 PO BOX 790322
WEBSTER, TX 77598                        FRAMINGHAM, MA 01702                      SAINT LOUIS, MO 63179-0322




STAPLES CONTRACT & COMM INC.             STAPLES MILL SQUARE ASSOCIATES, LLC       STAPLES PROMOTIONAL PRODUCTS
DBA STAPLES PRINT SOLUTIONS              C/O MARCHETTI PROPERTIES, LLC             BIN 150003
PO BOX 95230                             1567 N. PARHAM ROAD                       PO BOX 790322
CHICAGO, IL 60694-5230                   RICHMOND, VA 23229                        SAINT LOUIS, MO 63179-0322




STAR ASSET DEVELOPMENT, LLC              STAR ASSET DEVELOPMENT, LLC               STAR INTERNATIONAL FURNITURE INC
5610 OAKHAVEN LN                         C/O THE TRILOGY GROUP                     DBA ORIENT EXPRESS FURNITURE
HOUSTON, TX 77091                        ATTN: DONELLA FIORE                       19511 PAULING
                                         6400 POWERS FERRY RD NW STE 100           FOOTHILL RANCH, CA 92610
                                         ATLANTA, GA 30339



STAR LIFT INC                            STAR LOGOSTICS                            STAR MEDIA
PO BOX 173568                            1539 S MASON RD 3                         PO BOX 677553
HIALEAH, FL 33017                        KATY, TX 77450                            DALLAS, TX 75267-7553




STAR NEWS                                STAR NEWS                                 STAR OF HOPE MISSION
111 CENTER STREET STE 2020               PO BOX 102539                             6801 ARDMORE ST
LITTLE ROCK, AR 72201                    ATLANTA, GA 30368-2539                    HOUSTON, TX 77054




STAR OF TEXAS FAIR & RODEO               STAR PARK                                 STAR PERFORMANCE INC
9100 DECKER LAKE RD                      610 SW ALDER ST STE 515                   303 VILLAGE DR
AUSTIN, TX 78724-4012                    PORTLAND, OR 97205                        CAROL STREAM, IL 60188
STAR TRAC INC            Case 18-12241-CSS    Doc 26
                                        STAR TRIBUNE     Filed
                                                     MEDIA      10/05/18
                                                           INTERMEDIATE       PageSTAR
                                                                                   1490  of 1739
                                                                                       TRIBUNE
14410 MYFORD ROAD                         HOLDINGS COMPANY DBA STAR TR            PO BOX 790445
IRVINE, CA 92606                          425 PORTLAND AVE SOUTH                  SAINT LOUIS, MO 63179-0445
                                          MINNEAPOLIS, MN 55488




STAR                                      STARBOARD MANAGEMENT SERVICES LLC       STARBOARD MANAGEMENT SERVICES LLC
PO BOX 53120                              19100 VON KARMAN AVE SUITE 340          C/O CBC ADVISORS
HOUSTON, TX 77052-3120                    IRVINE, CA 92612                        PO BOX 712139
                                                                                  COTTONWOOD, UT 84171-2139




STARBOARD REALTY ADVISORS, LLC            STARCOM MEDIAVEST GROUP                 STARCOM MEDIAVEST GROUP
ATTN: MANI DILMAGHANIAN                   222 MERCHANDISE MART STE 550            ATTN: ARLENE DESOUSA
19100 VON KARMAN AVE, SUITE 340           CHICAGO, IL 60654                       F/B/O SPARK FOUNDRY
IRVINE, CA 92612                                                                  35 W WACKER DR
                                                                                  CHICAGO, IL 60601



STARCOM MEDIAVEST GROUP                   STARK CO METROPOLTN SEWER DIST          STARK CO METROPOLTN SEWER DIST
ATTN: ARLENE DESOUSA                      1701 MAHONING RD NE                     P.O. BOX 9972
F/B/O SPARK FOUNDRY                       PO BOX 9972                             CANTON, OH 44711-0972
PO BOX 1528                               CANTON, OH 44711-0972
LONG ISLAND CITY, NY 11101-0528



STARK COUNTY SANITARY ENGINEERING         STARK ENTERPRISES                       STARLA MOSS
DEPT                                      1350 WEST 3RD STREET                    HOUSTON COUNTY REVENUE COMMISIONER
SEWER DIVISION                            CLEVELAND, OH 44113                     PO BOX 6406
P.O. BOX 7906                                                                     DOTHAN, AL 36302
CANTON, OH 44711-9972



STARLITE SIGN LP                          STARLYNE DYSON                          STARN OTOOLE MARCUS & FISHER
7923 E MCKINNEY ST                        10201 S. MAIN STREET                    PACIFIC GUARDIAN CENTER, MAKAI TWOER
DENTON, TX 76208                          HOUSTON, TX 77025                       733 BISHOP STREET, SUITE 1900
                                                                                  NORMEN CHENG
                                                                                  HONOLULU, HI 96813



STARQUIA JONES ARTIS                      STARR HENDERSON                         STARR JARRETT
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




STARTEK INC                               STAR-TELEGRAM                           STASH LAMARRE
PO BOX 71688                              PO BOX 51847                            10201 S. MAIN STREET
CHICAGO, IL 60694-1688                    LIVONIA, MI 48151                       HOUSTON, TX 77025




STASSNEY HEIGHTS TX LP                    STAT BUSINESS SYSTEMS                   STATE BOARD EQUALIZATION
RIOCAN AMERICA MGMT LP                    3921 SW 47 AVE STE 1021                 PO BOX 942879
9600 S IH-35 STE S-125                    DAVIE, FL 33314                         SACRAMENTO, CA 94279-7070
AUSTIN, TX 78748




STATE COLLECTION & DISBURSEMENT UNIT      STATE CORP COMM CLERKS OFFICE           STATE DISBURSEMENT UNIT
PO BOX 98950                              PO BOX 7607                             PO BOX 5400
LAS VEGAS, NV 89193-8950                  MERRIFIELD, VA 22116-7607               CAROL STREAM, IL 60197
STATE FAIR OF LOUISIANACase    18-12241-CSS    DocOF26
                                         STATE FAIR      Filed 10/05/18
                                                     TEXAS                     PageSTATE
                                                                                    1491FARM
                                                                                         of 1739
                                                                                             AUTOMOBILE INS CO
3701 HUDSON ST                            P.O. BOX 150009                           1 STATE FARM PLAZA
SHREVEPORT, LA 71109                      DALLAS, TX 75315                          BLOOMINGTON, IL 61710




STATE FARM LIFE INSURANCE CO              STATE LAKE, LLC                           STATE LAKE, LLC
3730 MT DIABLO BLVD                       55 E JACKSON BLVD STE 500                 C/O MARC REALTY
STE 310                                   CHICAGO, IL 60604                         55 E. JACKSON BOULEVARD, SUITE 500
LAFAYETTE, CA 94549                                                                 CHICAGO, IL 60604




STATE LINE CORNER LLC                     STATE OF ALABAMA DEPT OF REVENUE          STATE OF ALABAMA
C/O BLOCK & COMPANY, INC.                 50 NORTH RIPLEY ST                        DEPARTMENT OF LABOR
ATTN: STEVE SHAFFER                       MONTGOMERY, AL 36132                      649 MONROE ST
605 W 47TH ST STE 200                                                               MONTGOMERY, AL 36131
KANSAS CITY, MO 64112



STATE OF ALABAMA                          STATE OF ARKANSAS                         STATE OF ARKANSAS
REVENUE DEPT-SALES USE& BUSINESS TX       ATTN: BUSINESS LICENSE DEPT.              ATTN: SALES & USE TAX DEPT.
P O BOX 322790                            PO BOX 3153                               P.O. BOX 3861
MONTGOMERY,, AL 36132-7790                LITTLE ROCK, AR 72203-3153                LITTLE ROCK, AR 72203-3861




STATE OF ARKANSAS                         STATE OF ARKANSAS                         STATE OF CALIFORNIA
ATTN: UNCLAIMED PROPERTY DEPT.            DEPT OF FINANCE & ADMIN                   BOARD OF EQUALIZATION
PO BOX 3153                               PO BOX 3153                               PO BOX 942879
LITTLE ROCK, AR 72203-3153                LITTLE ROCK, AR 72203-3153                SACRAMENTO, CA 94279-0056




STATE OF CALIFORNIA-CONTROLLER            STATE OF CONNECTICUT DEPT OF LABOR        STATE OF CONNECTICUT
UNCLAIMED PORPERTY DIV-BUREAU OF          PO BOX 2940                               ATTN: BUSINESS LICENSE DEPT.
ACCT                                      HARTFORD, CT 06104-2940                   PO BOX 150435
PO BOX 942850                                                                       HARTFORD, CT 06115-0435
SACRAMENTO, CA 94250-5873



STATE OF CONNECTICUT                      STATE OF CONNECTICUT                      STATE OF CONNECTICUT
ATTN: INCOME TAX DEPT.                    ATTN: SALES & USE TAX DEPT.               ATTN: UNCLAIMED PROPERTY DEPT.
PO BOX 150435                             25 SIGNOURNEY ST                          PO BOX 150435
HARTFORD, CT 06115-0435                   HARTFORD, CT 06106                        HARTFORD, CT 06115-0435




STATE OF CONNECTICUT                      STATE OF CONNECTICUT-TREASURER            STATE OF DELAWARE
DEPARTMENT OF CONSUMER PROTECTION         UNCLAIMED PROPERTY DIVISION               ATTN: PROPERTY TAX DEPT.
450 COLUMBUS BLVD STE 801                 PO BOX 150435                             401 FEDERAL ST STE 4
HARTFORD, CT 06103-1840                   HARTFORD, CT 06115-0435                   DOVER, DE 19901-3639




STATE OF FLORIDA DISBURSEMENT UNIT        STATE OF FLORIDA                          STATE OF ILLINOIS DEPT OF REVENUE
PO BOX 8500                               7282 PLANTATION RD                        PO BOX 64449
TALLAHASSEE, FL 32314-8500                PENSACOLA, FL 32504                       CHICAGO, IL 60664




STATE OF MAINE TREASURER                  STATE OF MARYLAND DEPT OF                 STATE OF MICHIGAN
UNCLAIMED PROPERTY                        ASSESSMENTS & TAXATION                    71A DISTRICT COURT
39 STATE HOUSE STATION                    PERSONAL PROPERTY DIVISION                255 CLAY ST
AUGUSTA, ME 04333-0039                    PO BOX 17052                              LAPEER, MI 48446
                                          BALTIMORE, MD 21297-1052
STATE OF MICHIGAN    Case 18-12241-CSS    Doc
                                    STATE OF    26 Filed 10/05/18
                                             MICHIGAN                   PageSTATE
                                                                             1492OFofNC1739
                                                                                        DEPT OF REVENUE
ATTN: UNCLAIMED PROPERTY DEPT.      MICHIGAN DEPT OF TREASURY                PO BOX 25000
P.O. BOX 30756                      UNCLAIMED PROPERTY DIVISION7285          RALEIGH, NC 27640-0150
LANSING, MI 48909                   PARSONS DR
                                    DIMONDALE, MI 48821



STATE OF NEVADA                      STATE OF NEVADA-STATE TREASURER         STATE OF NEW HAMPSHIRE TREASURER
1301 N GREEN VALLEY PKWY SUITE 200   UNCLAIMED PROPERTY DIVISION             ABANDONED PROPERTY DIVISION
HENDERSON, NV 89074                  555 E WASHINGTON AVE 4200               25 CAPITOL ST RM 205
                                     LAS VEGAS, NV 89101-1070                CONCORD, NH 03301-6312




STATE OF NEW HAMPSHIRE TREASURER     STATE OF NEW HAMPSHIRE TREASURER        STATE OF NEW JERSEY TREASURER
ATTN: INCOME TAX DEPT.               ATTN: UNCLAIMED PROPERTY DEPT.          UNCLAIMED PROPERTY-REPORTING
25 CAPITOL ST RM 205                 25 CAPITOL ST RM 205                    SECTION
CONCORD, NH 03301-6312               CONCORD, NH 03301-6312                  PO BOX 214
                                                                             TRENTON, NJ 08625-0214



STATE OF NEW JERSEY                  STATE OF OHIO TREASURER                 STATE OF OHIO TREASURER
DEPT OF LABOR WORKFORCE              ATTN: BUSINESS LICENSE DEPT.            ATTN: PROPERTY TAX DEPT.
DEVELOPMENT                          PO BOX 4009                             PO BOX 16561
PO BOX 929                           REYNOLDSBURG, OH 43068-9009             COLUMBUS, OH 43216-6561
TRENTON, NJ 08646-0929



STATE OF OREGON- EMPLOYMENT DEPT     STATE OF OREGON                         STATE OF RHODE ISLAND & PROVIDENCE
EMPLOYMENT TAX UNIT 2                MULTNOMAH COUNTY CIRCUIT COURT          PLANTATIONS
PO BOX 4395                          PARKING CITATION OFFICEPO BOX 78        OFFICE OF SECRETARY OF STATE-CORP
PORTLAND, OR 97208-4395              PORTLAND, OR 97207-0178                 DIV.
                                                                             148 W RIVER STREET
                                                                             PROVIDENCE, RI 02904


STATE OF RHODE ISLAND                STATE OF RHODE ISLAND-GENERAL           STATE OF TENNESSEE
DIVISION OF TAXATION                 TREASURER                               ATTN: BUSINESS LICENSE DEPT.
ONE CAPITOL HILL 36                  UNCLAIMED PROPERTY DIVISION             500 DEADERICK STREET
PROVIDENCE, RI 02908-5829            PO BOX 1435                             NASHVILLE, TN 37242-0700
                                     PROVIDENCE, RI 02901-1435



STATE OF TENNESSEE                   STATE OF TENNESSEE                      STATE OF TENNESSEE
ATTN: BUSINESS TAX DEPT.             ATTN: INCOME TAX DEPT.                  ATTN: TAX DEPT.
500 DEADERICK STREET                 500 DEADERICK STREET                    500 DEADERICK STREET
NASHVILLE, TN 37242-0700             NASHVILLE, TN 37242-0700                NASHVILLE, TN 37242-0700




STATE OF TENNESSEE                   STATE OF WASHINGTON                     STATE OF WASHINGTON
ATTN: UNCLAIMED PROPERTY DEPT.       ATTN: UNCLAIMED PROPERTY DEPT.          ATTN: UNCLAIMED PROPERTY DEPT.
500 DEADERICK STREET                 PO BOX 34053                            PO BOX 9034
NASHVILLE, TN 37242-0700             SEATTLE, WA 98124-6781                  OLYMPIA, WA 98507




STATE OF WASHINGTON                  STATE OF WASHINGTON                     STATE OF WEST VIRGINIA-WVSTO
C/O DEPT OF REVENUE                  DEPT OF REVENUE                         UNCLAIMED PROPERTY DIVISION
PO BOX 9034                          PO BOX 34053                            PO BOX 3328
OLYMPIA, WA 98507                    SEATTLE, WA 98124-1053                  CHARLESTON, WV 25333




STATE TAX COMMISION                  STATELINE STATION MO LLC                STATEN ISLAND ADVANCE
P.O. BOX 76                          SCHOTTENSTEIN PROPERTY GROUP LLC        PO BOX 781468
BOISE, ID 83707-0076                 DEPT L-2632                             PHILADELPHIA, PA 19178-1468
                                     COLUMBUS, OH 43260-2632
STATESMAN JOURNAL       Case 18-12241-CSS    Doc 26
                                       STATESVILLE VIDEO,Filed
                                                         LLC 10/05/18        PageSTATESVILLE
                                                                                  1493 of 1739
                                                                                             VIDEO, LLC
PO BOX 677338                           3200 WESTMINSTER DR                       ATTN: MARC STRAUSS
DALLAS, TX 75267-7338                   BOCA RATON, FL 33496                      5900 N ANDREWS AVE STE 100
                                                                                  FORT LAUDERDALE, FL 33309




STATESVILLE VIDEO, LLC                  STATEWIDE ELECTRIC & ENVIRONMENTAL        STATEWIDE TOWING INC
ATTN: MARC STRAUSS                      SOLUTIONS LLC                             173 RIVER ROAD
5900 N ANDREWS AVE STE 100              13852 SW 119TH AVE                        CHELSEA, ME 04330
FT. LAUDERDALE, FL 33309                MIAMI, FL 33186




STATEWOOD INC                           STATION LANDING LLC                       STATION LANDING, LLC
DBA STATE LINE OIL                      2310 WASHINGTON ST                        C/O NATIONAL DEVELOPMENT
PO BOX 209 514 SALMON BROOK ST          NEWTON, MA 02462                          2310 WASHINGTON STREET
GRANBY, CT 06035                                                                  ATTN: LEGAL DEPARTMENT
                                                                                  NEWTON LOWER FALLS, MA 02462



STATION LANDINGS LLC                    STATION LANDINGS LLC                      STATION LANDINGS LLC
2310 WASHINGTON ST                      C/O NATIONAL DEVELOPMENT                  STATION LANDING LLC
NEWTON, MA 02462                        ATTN: LEGAL DEPARTMENT                    PO BOX 847104
                                        2310 WASHINGTON STREET                    BOSTON, MA 02284-7104
                                        NEWTON LOWER FALLS, MA 02462



STATION PARK CENTERCAL LLC              STATION VENUR OPERATIONS LP DBA KXAS      STATISTA INC
PO BOX 410041                           TV                                        55 BROAD ST 30TH FLOOR
SALT LAKE CITY, UT 84141-0041           4805 AMON CARTER BLVD                     NEW YORK, NY 10004
                                        FORT WORTH, TX 76155




STAY SAFE SHRED & RECYCLE INC           STC FIRM LLC                              STEED BARRAT
3941 PARK DR. STE. 20 297               COLLET & ASSOCIATES                       10201 S. MAIN STREET
EL DORADO HILLS, CA 95762               PO BOX 36799                              HOUSTON, TX 77025
                                        CHARLOTTE, NC 28236-6799




STEEL CITY MEDIA                        STEEL CITY MEDIA                          STEEL CITY MEDIA
508 WESTPORT RD STE 202                 650 SMITHFIELD ST STE 2200                KBEQ-FM
KANSAS CITY, MO 64111                   PITTSBURGH, PA 15222                      508 WESTPORT RD STE 202
                                                                                  KANSAS CITY, MO 64111




STEEL CITY MEDIA                        STEEL CITY MEDIA                          STEEL CITY MEDIA(WLTJ-FM)
KMXV-FM                                 WRRK-FM                                   650 SMITHFIELD ST STE 2200
508 WESTPORT RD STE 202                 650 SMITHFIELD ST STE 2200                PITTSBURGH, PA 15222
KANSAS CITY, MO 64111                   PITTSBURGH, PA 15222




STEEL STUD STRUCTURES                   STEELE EDWARDS                            STEELYARD WEST LLC
3704 E LONGFELLOW                       10201 S. MAIN STREET                      THE OFFICES AT LEGACY VILLAGES
SPOKANE, WA 99217                       HOUSTON, TX 77025                         25333 CEDAR ROAD, SUITE 300
                                                                                  LYNDHURST, OH 44124




STEELYARD WEST LLC                      STEFAN BREWER                             STEFAN CARTY
THE OFFICES OF LEGACY VILLAGE           10201 S. MAIN STREET                      10201 S. MAIN STREET
25333 CEDAR RD STE 300                  HOUSTON, TX 77025                         HOUSTON, TX 77025
LYNDHURST, OH 44124
STEFAN CRAIG             Case 18-12241-CSS
                                        STEFANDoc
                                              GUY 26       Filed 10/05/18     PageSTEFAN
                                                                                   1494 of 1739
                                                                                         MCLAURIN
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




STEFAN YOCOM                             STEFANEY GARCIA                           STEFANIE MARTIN
2353 MISSION RD APT F3                   10201 S. MAIN STREET                      10201 S. MAIN STREET
TALLAHASSEE, FL 32304                    HOUSTON, TX 77025                         HOUSTON, TX 77025




STEFANIE STEPHENS                        STEFANIE WACHTER                          STEFANO LUNA
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




STEFANO MARINO                           STEFON ROBINSON                           STEHAN GOBLER
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




STEIKER FISCHER EDWARDS &                STEIN LAW, PLC                            STEINER REAL ESTATE SERVICES, LLC
GREENAPPLE PC                            ATTN: SCOTT J. STEIN, ESQ.                4016 TOWNSFAIR WAY, SUITE 201
555 CITY LINE AVE STE 910                14362 N. FRANK LLOYD WRIGHT BLVD          COLUMBUS, OH 43219
BALA CYNWYD, PA 19004                    STE 1000
                                         SCOTTSDALE, AZ 85260



STEINHOFF AT WORK                        STEINHOFF DIGITAL GMBH                    STEINHOFF EUROPE AG
                                         DINGOLFINDER STR 1 - 15                   5TH FLOOR, FESTIVAL HOUSE
                                         MUNCHEN 81673                             JESSOP AVENUE
                                         UNITED KINGDOM                            CHELTENHAM
                                                                                   GLOUCESTERSHIRE GL50 3SH UNITED
                                                                                   KINGDOM


STEINHOFF EUROPE AG                      STEINHOFF FINANCE HOLDING GMBH            STEINHOFF INTERNATIONAL HOLDINGS NV
AUSTRIA                                  AUSTRIA                                   HERENGRACHT 466
                                                                                   AMSTERDAM 1017
                                                                                   NETHERLANDS




STEINHOFF INTERNATIONAL HOLDINGS, N.V.   STEINHOFF INTERNATIONAL TRADING           STEINHOFF MOBEL HOLDINGS ALPHA GMBH
HERENGRACHT 466                          SERVICES LIMITED                          RENNWEG 77
AMSTERDAM 1017 CA                        19/F SEAVIEW COMMERCIAL BLDG 21-24        BRUNN AM GEBIRGE 2345
THE NETHERLANDS                          CONNAUGHT ROAD WEST                       AUSTRIA
                                         HONG KONG
                                         CHINA


STEINHOFF RISK SOLUTIONS US INC          STEINMAN HOLDINGS INC                     STEJER DEVELOPMENT, LLC
10201 S MAIN ST                          LNP MEDIA GROUP INC                       AARON LAKE, DIRECTOR OF REAL ESTATE
HOUSTON, TX 77025                        8 WEST KING ST                            P.O. BOX 9368
                                         PO BOX 1328                               SPOKANE, WA 99209
                                         LANCASTER, PA 17608-1328



STELLA RENEE DECUIR                      STENIO JOSEPH                             STEPAN LAZAREV
330 EASTON CIRCLE                        10201 S. MAIN STREET                      10201 S. MAIN STREET
BOWLING GREEN, KY 42101                  HOUSTON, TX 77025                         HOUSTON, TX 77025
STEPHAN DROSKA         Case 18-12241-CSS    Doc
                                      STEPHAN   26
                                              GREEN      Filed 10/05/18   PageSTEPHAN
                                                                               1495 ofHERBST
                                                                                       1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEPHAN HESS                           STEPHAN JOHNSON                        STEPHAN KAUFFMAN
10201 S. MAIN STREET                   504 EAST MAPLE DR                      10201 S. MAIN STREET
HOUSTON, TX 77025                      GLENWOOD, IL 60425                     HOUSTON, TX 77025




STEPHAN ROHAN                          STEPHANE PHILIPS                       STEPHANE PLANTE
714 BRECKLAND DR                       961 E MAPLE ST                         10201 S. MAIN STREET
SEVEN FIELDS, PA 16046-4268            JEFFERSONVILLE, IN 47130               HOUSTON, TX 77025




STEPHANI CASTRO                        STEPHANI ROHDE                         STEPHANIA ATKINSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEPHANIA TYSON                        STEPHANIE AMELUNG                      STEPHANIE ANDERSEN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEPHANIE BAGLEY                       STEPHANIE BAIN                         STEPHANIE BARBOUR
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEPHANIE BOBO                         STEPHANIE BREEN                        STEPHANIE BRENNAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEPHANIE CAYEMITTE                    STEPHANIE CERNY                        STEPHANIE CLANCY
10201 S. MAIN STREET                   8020 NW 79TH TERR
HOUSTON, TX 77025                      OKLAHOMA CITY, OK 73132




STEPHANIE COLON                        STEPHANIE CONBOY                       STEPHANIE CONNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEPHANIE CUELLAR                      STEPHANIE ECHEVERRY                    STEPHANIE FARMER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
STEPHANIE FERGUSON     Case 18-12241-CSS    DocFREEMAN
                                      STEPHANIE 26 Filed 10/05/18   PageSTEPHANIE
                                                                         1496 of 1739
                                                                                  HARRISON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHANIE HESTER                      STEPHANIE HUSTON                   STEPHANIE INMON
10201 S. MAIN STREET                  13413 SLAYTON ST                   20805 MARSHALL WAY
HOUSTON, TX 77025                     OMAHA, NE 68138                    SANTA CLARITA, CA 91350




STEPHANIE JONES                       STEPHANIE KELLEY                   STEPHANIE LARD
1364 W STILLWATER DR 2070             10201 S. MAIN STREET               10201 S. MAIN STREET
HEBER CITY, UT 84032                  HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHANIE LEEDS                       STEPHANIE LEONE                    STEPHANIE LLOYD
10201 S. MAIN STREET                  1009 GLASS RUN RD                  10201 S. MAIN STREET
HOUSTON, TX 77025                     PITTSBURGH, PA 15236               HOUSTON, TX 77025




STEPHANIE LOPEZ                       STEPHANIE MIHALAKI                 STEPHANIE N BREWSTER
10201 S. MAIN STREET                  10201 S. MAIN STREET               40 BROWN AVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                  MC DONOUGH, GA 30252




STEPHANIE PARRISH                     STEPHANIE PATRASSO                 STEPHANIE PFLUMM
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHANIE PIGHEE                      STEPHANIE PIGHEE                   STEPHANIE PORTER
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHANIE PRESTON                     STEPHANIE RETAMAR                  STEPHANIE ROMAN
12122 N EMERALD RANCH LN.             10201 S. MAIN STREET               10201 S. MAIN STREET
FORNEY, TX 75126                      HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHANIE SCHOENING                   STEPHANIE SMITH                    STEPHANIE STEINMANN
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHANIE SWIRE                       STEPHANIE TANNER                   STEPHANIE TAYLOR
1 SUMMIT ST                           10201 S. MAIN STREET               10201 S. MAIN STREET
DALLAS, PA 18612                      HOUSTON, TX 77025                  HOUSTON, TX 77025
STEPHANIE THOMAS       Case 18-12241-CSS    DocVAZQUEZ
                                      STEPHANIE 26 Filed 10/05/18   PageSTEPHANIE
                                                                         1497 of 1739
                                                                                  WALLACE
10201 S. MAIN STREET                  502 E 23RD ST                      10201 S. MAIN STREET
HOUSTON, TX 77025                     LOS ANGELES, CA 90011              HOUSTON, TX 77025




STEPHEN ADAMS                         STEPHEN AGUILAR                    STEPHEN ANKARLO
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN BARRINGTON                    STEPHEN BATES                      STEPHEN BECKER
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN BENGTSON                      STEPHEN BLUME                      STEPHEN BOGNAR
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN BOSKI                         STEPHEN BROWN                      STEPHEN BRUNER
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN BRUNS                         STEPHEN BURTON                     STEPHEN BUTLER
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN BUTTOLPH                      STEPHEN C BROWN                    STEPHEN C. GASSER
1111 STEVENS ST 20                    8622 WESTBROOK FOREST DR           1328 ELOAH WAY
MEDFORD, OR 97504                     SUGAR LAND, TX 77479               SACRAMENTO, CA 95831




STEPHEN CAPARELLA                     STEPHEN CHURCHILL                  STEPHEN CINTRON
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN CLARK                         STEPHEN CLARK                      STEPHEN COLE
10201 S. MAIN STREET                  10201 S. MAIN STREET               1421 BECKWITH DRIVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                  ARLINGTON, TX 76018




STEPHEN COLEMAN                       STEPHEN COLLETT                    STEPHEN DEANGELIS
10201 S. MAIN STREET                  10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                  HOUSTON, TX 77025
STEPHEN DELAUNAY       Case 18-12241-CSS    Doc
                                      STEPHEN   26 Filed 10/05/18
                                              DOWNEY                       PageSTEPHEN
                                                                                1498 ofE 1739
                                                                                         LAMB
10201 S. MAIN STREET                  10201 S. MAIN STREET                     1937 KENSINGTON DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                        FORT WORTH, TX 76110




STEPHEN EDWARDS                       STEPHEN ERSKINE                          STEPHEN F AUSTIN UNIVERSITY
914 LAKE VIEW DR                      10201 S. MAIN STREET                     FOUNDATION INC
MONTGOMERY, TX 77356                  HOUSTON, TX 77025                        ATTN: JILL STILL
                                                                               PO BOX 6092
                                                                               NACOGDOCHES, TX 75962



STEPHEN F. AUSTIN STATE UNIVERSITY    STEPHEN F. AUSTIN STATE UNIVERSITY       STEPHEN F. AUSTIN STATE UNIVERSITY
CATHERINE DODGE-OFFICE OF             NELSON RUSCHE COLLEGE OF BUSINESS        SFA BOX 6094
CONTROLLER                            PO BOX 13004 SFA STATION                 NACOGDOCHES, TX 75962
PO BOX 13035                          NACOGDOCHES, TX 75962
NACOGDOCHES, TX 75962



STEPHEN F. AUSTIN STATE UNIVERSITY    STEPHEN FAUDMAN                          STEPHEN FENDRICH
SFA CENTER FOR CAREER AND             10201 S. MAIN STREET                     10201 S. MAIN STREET
PROFESSIONAL DEVELOPMENT              HOUSTON, TX 77025                        HOUSTON, TX 77025
PO BOX 13032 SFA STATION
NACOGDOCHES, TX 75962



STEPHEN FERGUSON                      STEPHEN FERGUSON                         STEPHEN FLORENZAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




STEPHEN FOSTER WILLIAMS, CCIM         STEPHEN FREED                            STEPHEN GARDNER
ATTN: STEPHEN WILLIAMS                355 RIVERSONG WAY                        10201 S. MAIN STREET
P.O. BOX 930                          ALPHARETTA, GA 30022                     HOUSTON, TX 77025
WAIMANALO, HI 96795




STEPHEN GUMPERT                       STEPHEN H SUNSHINE                       STEPHEN HALL
10201 S. MAIN STREET                  2111 NATHAN DR                           10201 S. MAIN STREET
HOUSTON, TX 77025                     AUSTIN, TX 78728                         HOUSTON, TX 77025




STEPHEN HALL                          STEPHEN HART                             STEPHEN HAWKS
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




STEPHEN HEERING                       STEPHEN HERZIG                           STEPHEN HERZIG, AS TRUSTEE OF THE
10201 S. MAIN STREET                  363 SW BLUFF DR UNIT 108                 STEPHEN PAUL HERZIG 2006 LIVING TRUST
HOUSTON, TX 77025                     BEND, OR 97702                           363 SW BLUFF DRIVE, UNIT 108
                                                                               BEND, OR 97702




STEPHEN HOGGARD                       STEPHEN HORN                             STEPHEN HOWARD
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025
STEPHEN HUGHEY          Case 18-12241-CSS    Doc
                                       STEPHEN   26 Filed 10/05/18
                                               HUGHEY                PageSTEPHEN
                                                                          1499 ofIADAROLA
                                                                                   1739
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN IYOG                           STEPHEN J LEGGIERO                 STEPHEN JACOBSEN
10201 S. MAIN STREET                   34207 CONROE HUFFSMITH RD          10201 S. MAIN STREET
HOUSTON, TX 77025                      MAGNOLIA, TX 77354                 HOUSTON, TX 77025




STEPHEN JAMES NOYOLA                   STEPHEN JENKINS                    STEPHEN JOHNSON
DBA LSL HAMMOND LLC                    10201 S. MAIN STREET               10 SHEEPHORN CT
7290 LEMON GRASS DR                    HOUSTON, TX 77025                  MAGNOLIA, TX 77354
POMPANO BEACH, FL 33076




STEPHEN KAROW                          STEPHEN KAZNAK                     STEPHEN KECSKEMETY
10201 S. MAIN STREET                   212 HEADY LN                       10201 S. MAIN STREET
HOUSTON, TX 77025                      FISHERS, IN 46038                  HOUSTON, TX 77025




STEPHEN KECSKEMETY                     STEPHEN KENNEDY                    STEPHEN KING
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN KING                           STEPHEN LAPERRIERE                 STEPHEN LAPIANA
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN LEGGIERO                       STEPHEN LENTINI                    STEPHEN MATHIS
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN MCKEAGUE                       STEPHEN MILLS                      STEPHEN NOE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN NORRIS                         STEPHEN OFOSUHENE                  STEPHEN PASSERI
10201 S. MAIN STREET                   10201 S. MAIN STREET               1630 BRIDGEWATER RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                  MINNEAPOLIS, MN 55422




STEPHEN PAXSON                         STEPHEN PLUNKETT                   STEPHEN POWELL
4017A SW 22ND RD                       10201 S. MAIN STREET               10201 S. MAIN STREET
GAINESVILLE, FL 32607                  HOUSTON, TX 77025                  HOUSTON, TX 77025
STEPHEN POWERS         Case   18-12241-CSS    Doc
                                        STEPHEN    26 Filed 10/05/18
                                                R NORRIS               PageSTEPHEN
                                                                            1500 ofREYNOLDS
                                                                                    1739
5402 PEBBLE SPRINGS DR                                                     10201 S. MAIN STREET
HOUSTON, TX 77066                                                          HOUSTON, TX 77025




STEPHEN ROCCO                           STEPHEN ROPER                      STEPHEN RUTHERFORD
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN SAUNDERS                        STEPHEN SHERONOVICH                STEPHEN SINGLETON
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN SMITH                           STEPHEN SONNENBERG                 STEPHEN SOPCHAK
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN SPECTOR                         STEPHEN ST. AMAND                  STEPHEN T WILSON
10201 S. MAIN STREET                    332 PENCARROW CIRCLE               5525 STRAWBERRY HILL DRIVE
HOUSTON, TX 77025                       MADISONVILLE, LA 70447             APT A
                                                                           CHARLOTTE, NC 28211




STEPHEN TAYLOR                          STEPHEN THIGPEN                    STEPHEN TINSLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN VELIANSKI                       STEPHEN WAITES                     STEPHEN WALDRON
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN WALLACE                         STEPHEN WALLACE                    STEPHEN WARD
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN WATKINS                         STEPHEN WILLIAMS                   STEPHEN WIXON
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




STEPHEN WRIGHT                          STEPHEN YELLE                      STEPHEN ZIMMERMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025
STEPHENIE DREW-DEEN    Case 18-12241-CSS    DocMEDIA
                                      STEPHENS  26 LLC
                                                     Filed 10/05/18             PageSTEPHON
                                                                                     1501 ofBROOKS
                                                                                             1739
10201 S. MAIN STREET                    HERALD DEMOCRAT SHOPPER                     10201 S. MAIN STREET
HOUSTON, TX 77025                       PO BOX 1128                                 HOUSTON, TX 77025
                                        SHERMAN, TX 75091




STEPHON HOLIDAY                         STEPHON RENE                                STERIK PAVILION, LP
10201 S. MAIN STREET                    10201 S. MAIN STREET                        C/O AUBURNDALE PROPERTIES, INC.
HOUSTON, TX 77025                       HOUSTON, TX 77025                           50 TICE BLVD STE 320
                                                                                    WOODCLIFF LAKE, NJ 07677




STERIK PAVILION, LP                     STERLENE TWITTY-LA BARGE                    STERLIN MOTA
C/O AUBURNDALE PROPERTIES, INC.         10201 S. MAIN STREET                        10201 S. MAIN STREET
50 TICE BOULEVARD, SUITE 320            HOUSTON, TX 77025                           HOUSTON, TX 77025
WOODCLIFF LAKE, NJ 07677




STERLING INFOSYSTEMS INC                STERLING KNIGHT                             STERLING METS LP
PO BOX 35626                            10201 S. MAIN STREET                        CITIFIELD 120-01 ROOSEVELT AVE
NEWARK, NJ 07193                        HOUSTON, TX 77025                           FLUSHING, NY 11368




STERLING NISSON                         STERLING ORGANIZATION                       STERLING R.E. GROUP INC
10201 S. MAIN STREET                    RACHEL GARCIA                               DBA STERLING REAL ESTATE GROUP
HOUSTON, TX 77025                       1814 WINDSOR SQUARE DRIVE                   16151 CAIRNWAY DR 103
                                        MATTHEWS, NC 28105                          HOUSTON, TX 77084




STERLING RETAIL SERVICES                STERLING RETAIL SERVICES, INC.              STERLING RETAIL SERVICES, INC.
340 ROYAL POINCIANA WAY, SUITE 316      LEASING ASSOCIATE                           PROPERTY ACCOUNTANT
PALM BEACH, FL 33480                    7798 WEST FLAGLER STREET, SUITE 23B-C       7797 WEST FLAGLER STREET, SUITE 23B-C
                                        MIAMI, FL 33144                             MIAMI, FL 33144




STERLING RETAIL SERVICES, INC.          STERLING ST BAY                             STERLING VALUE ADD INVESTMENTS II LLC
PROPERTY MANAGER                        7311 DOIG DR                                340 ROYAL POINCIANA WAY STE 316
7795 WEST FLAGLER STREET, SUITE 23B-C   GARDEN GROVE, CA 92841                      PALM BEACH, FL 33480
MIAMI, FL 33144




STERLINGRISK                            STETLER SHERMAN                             STEVE & AUDRA SILON OSWEGO LLC
135 CROSSWAYS PARK DR                   10201 S. MAIN STREET                        C/O PEGASUS INVESTMENTS
PO BOX 9017                             HOUSTON, TX 77025                           1901 AVENUE OF THE STARS, SUITE 630
WOODBURY, NY 11797                                                                  LOS ANGELES, CA 90067




STEVE ATANASOV                          STEVE BARNES                                STEVE BARNHOUSE
10201 S. MAIN STREET                    10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                           HOUSTON, TX 77025




STEVE BERENDES                          STEVE BIESIADA                              STEVE BRYNER
10201 S. MAIN STREET                    1158 TALBOTS LN                             10201 S. MAIN STREET
HOUSTON, TX 77025                       ELK GROVE VILLAGE, IL 60007                 HOUSTON, TX 77025
STEVE BURDGE           Case 18-12241-CSS    Doc 26
                                      STEVE BURGI       Filed 10/05/18   PageSTEVE
                                                                              1502CACCAMO
                                                                                   of 1739
                                      10201 S. MAIN STREET                   10201 S. MAIN STREET
                                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE CAMARA                          STEVE CARLTON CONTAINERS               STEVE CARNES
10201 S. MAIN STREET                  ID 83501                               10201 S. MAIN STREET
HOUSTON, TX 77025                                                            HOUSTON, TX 77025




STEVE CASTILLO                        STEVE CATENA                           STEVE COON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE DEXTER                          STEVE DUNNAVANT                        STEVE EASTERDAY
14510 STROMAN DR.                     10201 S. MAIN STREET                   10201 S. MAIN STREET
CYPRESS, TX 77429                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE FAZIO                           STEVE FENDRICH                         STEVE FLAHERTY
10201 S. MAIN STREET                  3630 PEACHTREE RD NE                   DBA LORDAN CONSTRUCTION
HOUSTON, TX 77025                     UNIT 3304                              7146 HODGSON RD
                                      ATLANTA, GA 30326                      MENTOR, OH 44060




STEVE FRANKLIN                        STEVE FREED                            STEVE GIBSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   2788 ROBERT CT
HOUSTON, TX 77025                     HOUSTON, TX 77025                      REDDING, CA 96002




STEVE GILLIEM                         STEVE GRADOWITZ                        STEVE HALEY
10201 S. MAIN STREET                  816 PARK DRIVE                         10201 S. MAIN STREET
HOUSTON, TX 77025                     BAKERSFIELD, CA 93306                  HOUSTON, TX 77025




STEVE HEINEMAN                        STEVE HIXON                            STEVE HUTCHINSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   WHSE MANAGER-INDIANAPOLIS
HOUSTON, TX 77025                     HOUSTON, TX 77025                      7081 GLENDALE LANE
                                                                             GREENFIELD, IN 46140




STEVE HUTTO                           STEVE JOHNSON                          STEVE JOHNSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE KEY                             STEVE KOTARSKI                         STEVE LAZEWSKI
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
STEVE LEADER            Case 18-12241-CSS    Doc 26
                                       STEVE LESTIN      Filed 10/05/18   PageSTEVE
                                                                               1503LUCERO
                                                                                    of 1739
11503 NW 3RD AVE                       521 NW 5TH AVE 612                     10201 S. MAIN STREET
VANCOUVER, WA 98685                    FLORIDA CITY, FL 33034                 HOUSTON, TX 77025




STEVE LUCKETT                          STEVE LUNG                             STEVE MATTEO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE MEHAGIAN                         STEVE MORENO                           STEVE MORGAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE PERSAUD                          STEVE PETERSON                         STEVE PINTO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE RADER                            STEVE RAETTIG                          STEVE ROBERTS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE RYAN                             STEVE SAMORA                           STEVE SHEETZ
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE SILVER COMPANY                   STEVE SLOOP                            STEVE SMITH
PO BOX 205262                          10201 S. MAIN STREET                   10201 S. MAIN STREET
DALLAS, TX 75320-5262                  HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE SPEER                            STEVE SPIEGEL                          STEVE STAGNER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE TANENBAUM                        STEVE THEISS                           STEVE VILLICANA
565 WELLINGTON ST                      10201 S. MAIN STREET                   10201 S. MAIN STREET
EUGENE, OR 97402                       HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVE WAGNER                           STEVE WARREN                           STEVE WOODS
10201 S. MAIN STREET                                                          1693 CRAB APPLE CIRCLE
HOUSTON, TX 77025                                                             WEST RICHLAND, WA 99353
STEVE YORK             Case 18-12241-CSS    Doc 26
                                      STEVE ZEIN        Filed 10/05/18   PageSTEVEN
                                                                              1504 of 1739
                                                                                    ACOSTA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVEN ADRIEN                         STEVEN BAEZ                            STEVEN BELMONTE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVEN BERRY                          STEVEN BERTMAN                         STEVEN BIELENBERG
1075 NORTHFIELD CT                    10201 S. MAIN STREET                   10201 S. MAIN STREET
APT 3000                              HOUSTON, TX 77025                      HOUSTON, TX 77025
ROSWELL, GA 30076




STEVEN BROWN                          STEVEN BUCHER                          STEVEN BURDGE JR
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVEN BURTON                         STEVEN CAMPBELL                        STEVEN CANALES
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVEN CATALANATTO                    STEVEN CATROMBONE                      STEVEN CHANDLER
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVEN CHENEY                         STEVEN CLARK                           STEVEN CLARK
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVEN CLAUSELL                       STEVEN COFFEY                          STEVEN COHEN
10201 S. MAIN STREET                  3376 EDGEMERE DR                       10201 S. MAIN STREET
HOUSTON, TX 77025                     ROCHESTER, NY 14612                    HOUSTON, TX 77025




STEVEN COKONIS                        STEVEN CRAMER                          STEVEN CURRIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




STEVEN DICKERSON                      STEVEN DRAYTON                         STEVEN DYE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
STEVEN E BAUER & KARENCase  18-12241-CSS
                       SUE BAUER      STEVENDocETTS26    Filed   10/05/18   PageSTEVEN
                                                                                 1505 of 1739
                                                                                       FARRIS
810 BAUER RD                          10201 S. MAIN STREET                      10201 S. MAIN STREET
TROY, IL 62294                        HOUSTON, TX 77025                         HOUSTON, TX 77025




STEVEN FRANKLIN                         STEVEN GIRON                            STEVEN GLEITER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




STEVEN GOLD                             STEVEN GREEN                            STEVEN GROW
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




STEVEN HADT                             STEVEN HAWK                             STEVEN HEGEDUS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




STEVEN HERNANDEZ                        STEVEN HERNANDEZ                        STEVEN HERNANDEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




STEVEN HERRON                           STEVEN HICKMAN                          STEVEN HILL
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




STEVEN HOFFMAN                          STEVEN HOWARD                           STEVEN J HOPPENSTEADT
10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025




STEVEN J PLATTNER                       STEVEN JENNINGS                         STEVEN JONES
1603 W AINSLIE ST APT 2                 10201 S. MAIN STREET                    10201 S. MAIN STREET
CHICAGO, IL 60640                       HOUSTON, TX 77025                       HOUSTON, TX 77025




STEVEN KANUSHER                         STEVEN KELPE                            STEVEN KENT
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




STEVEN KICKLIGHTER                      STEVEN KING                             STEVEN KUBASTI
11334 W. SOLUNA DRIVE                   10201 S. MAIN STREET                    10201 S. MAIN STREET
BOISE, ID 83709                         HOUSTON, TX 77025                       HOUSTON, TX 77025
STEVEN L COCHRAN        Case 18-12241-CSS
                                       STEVENDoc  26 Filed 10/05/18
                                              LEDERMAN                PageSTEVEN
                                                                           1506 of  1739
                                                                                 M ARNOLD
3620 MONARCH CR                         10201 S. MAIN STREET               DBA PROP MGRS OF WAUSAU LLC
NAPERVILLE, IL 60564                    HOUSTON, TX 77025                  PO BOX 2003
                                                                           WAUSAU, WI 54402-2003




STEVEN M KAUFMAN                        STEVEN M PALMER                    STEVEN MADDOX
410 SONE BRIAR DR                       5846 CAPENER ST                    10201 S. MAIN STREET
RUSKIN, FL 33570                        PHILADELPHIA, PA 19143             HOUSTON, TX 77025




STEVEN MALAMUD                          STEVEN MCCOMBS                     STEVEN MCPHERSON
10201 S. MAIN STREET                    633 PEACEHAVEN RD                  10201 S. MAIN STREET
HOUSTON, TX 77025                       KANNAPOLIS, NC 28083               HOUSTON, TX 77025




STEVEN MEREAND                          STEVEN MORENO                      STEVEN MOSES
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




STEVEN NIDAY                            STEVEN PEKOFSKY                    STEVEN POLLARD
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025




STEVEN QUINONES                         STEVEN R HRDLICKA 117557           STEVEN RASMUSSEN
10201 S. MAIN STREET                    ATTORNEY AT LAW                    10201 S. MAIN STREET
HOUSTON, TX 77025                       1221 VAN NESS 2ND FLOOR            HOUSTON, TX 77025
                                        FRESNO, CA 93721




STEVEN REED                             STEVEN RIPPON                      STEVEN ROBERTELLO
105 KENTINGTON OAK DR                   10201 S. MAIN STREET               10201 S. MAIN STREET
HUMBLE, TX 77396                        HOUSTON, TX 77025                  HOUSTON, TX 77025




STEVEN RUBINSTEIN                       STEVEN RUSSELL                     STEVEN RYAN BURTON
10201 S. MAIN STREET                    10201 S. MAIN STREET               202 JEROME ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOT SPRINGS, AR 71913




STEVEN S SHEARER                        STEVEN S VALANCY PA                STEVEN SALLOWAY
SHEARER DELIVERY SERVICES INC           311 SE 13TH STREET                 10201 S. MAIN STREET
32339 LEELANE ST                        FORT LAUDERDALE, FL 33316          HOUSTON, TX 77025
FARMINGTON, MI 48336




STEVEN SALMAN                           STEVEN SCHER                       STEVEN SEITZINGER
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025
STEVEN SHOEMAKER         Case 18-12241-CSS
                                        STEVENDoc  26 Filed 10/05/18
                                               SIRMANS                 PageSTEVEN
                                                                            1507 of  1739
                                                                                  SLUSHER
10201 S. MAIN STREET                     10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                 HOUSTON, TX 77025




STEVEN SOLHEID                           STEVEN SOLTYSIAK                  STEVEN SOUDER
10201 S. MAIN STREET                     10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                 HOUSTON, TX 77025




STEVEN SPIEGEL                           STEVEN ST. JOHN                   STEVEN ST. JOHN
1010 W POINSETT ST                       10201 S. MAIN STREET              10201 S. MAIN STREET
GREER, SC 29650                          HOUSTON, TX 77025                 HOUSTON, TX 77025




STEVEN STACK                             STEVEN STEPPE                     STEVEN STEWART
1818 CHANDLER RD APT 30                  10201 S. MAIN STREET              10201 S. MAIN STREET
STATESBORO, GA 30458                     HOUSTON, TX 77025                 HOUSTON, TX 77025




STEVEN STONES                            STEVEN STONICK                    STEVEN STREUBEL
10201 S. MAIN STREET                     10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                 HOUSTON, TX 77025




STEVEN STWORZYJANEK                      STEVEN SWITLICK                   STEVEN VENABLE
10201 S. MAIN STREET                     10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                 HOUSTON, TX 77025




STEVEN W COON                            STEVEN WALDRON                    STEVEN WEBB
713 SAN ANTONIO DR                       10201 S. MAIN STREET              10201 S. MAIN STREET
CHICO, CA 95973                          HOUSTON, TX 77025                 HOUSTON, TX 77025




STEVEN WEINSTEIN                         STEVEN WEINTRAUB                  STEVEN WHITE
14724 CANALVIEW DR A                     8070 1 SOUTH ARAGON BLVD          10201 S. MAIN STREET
DELRAY BEACH, FL 33484                   SUNRISE, FL 33322                 HOUSTON, TX 77025




STEVEN WILSON                            STEVEN WYNTER                     STEVENS CREEK PLAZA LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET              C/O GILLMOR & ASSOCIATES
HOUSTON, TX 77025                        HOUSTON, TX 77025                 1201 FRANKLIN MALL
                                                                           SANTA CLARA, CA 95050




STEVENS WORLDWIDE VAN LINES              STEVENS, ERIC                     STEVENSON INVESTORS, LLC
P.O. BOX 3276                            409 FINN ST                       ATTN: JASON WALLOCK
SAGINAW, MI 48605                        SCRANTON, PA 18509-1007           2187 NEWCASTLE AVENUE, SUITE 202
                                                                           CARDIFF, CA 92007
                      Case
STEVENSON INVESTORS, LLC     18-12241-CSS
                                       STEVIE Doc 26
                                              CREWS       Filed 10/05/18     PageSTEVIE
                                                                                  1508 HOSLER
                                                                                        of 1739
C/O FORNESS PROPERTIES LLC              10201 S. MAIN STREET                     10201 S. MAIN STREET
2221 LEE PD STE 11                      HOUSTON, TX 77025                        HOUSTON, TX 77025
WINTER PARK, FL 32789




STEW LEONARDS                           STEWART DEVELOPERS LLC                   STEWART MORRIS
100 WESTPORT AVE                        125 WEST SPRING STREET                   10201 S. MAIN STREET
NORWALK, CT 06851                       OXFORD, OH 45056                         HOUSTON, TX 77025




STEWART SENTER INC                      STEWART WILLIAMS                         STEWARTS ELECTRICAL CONTRACTORS INC
DBA AUTOMATIC IRRIGATION DESIGN         10201 S. MAIN STREET                     40680 STATE HWY 59
333 BALDWIN RD                          HOUSTON, TX 77025                        BAY MINETTE, AL 36507
HEMPSTEAD, NY 11550




STILES IN TRAVEL                        STILLWELL ASSOCIATES                     STINES POOL & SPA
4945 HILLHURST DR                       69-06 GRAND AVE                          824 CREIGHTON AVE
FAIR OAKS, CA 95628                     MASPETH, NY 11378                        HASTINGS, NE 68901




STIRLING BOSSIER CENTER, LLC            STIRLING DAVIE, LLC                      STIRLING PROPERTIES, LLC
C/O STIRLING PROPERTIES, LLC            C/O RIVERWOOD PROPERTIES, LLC            109 NORTHPARK BLVD STE 300
109 NORTHPARK BOULEVARD, SUITE 300      305 RIVERWOOD PARKWAY, SE                COVINGTON, LA 70433
COVINGTON, LA 70433                     SUITE 450
                                        ATLANTA, GA 30339



STIRLING PROPERTIES, LLC                STL LAW GROUP, LLC                       STL PROGRAMS LLC
CAPITAL ONE N.A.                        ATTN: DAVID S. SPEWAK, ESQ.              5974 COLUMBIA AVE
PO BOX 54411                            231 S. BEMISTON, SUITE 1020              SAINT LOUIS, MO 63139
NEW ORLEANS, LA 70154-4411              CLAYTON, MO 63105




STL PROGRAMS LLC                        STOCKBRIDGE VALUE FUND II HOLDINGS       STOFFEL EQUIPMENT CO INC
PO BOX 20586                            LLC                                      7764 N 81ST STREET
SAINT LOUIS, MO 63139                   STOCKBRIDGE EVERETT VILLAGE CENTER       MILWAUKEE, WI 53223
                                        LLC
                                        PO BOX 740839
                                        LOS ANGELES, CA 94111


STOFFEL EQUIPMENT CO INC                STOKES SIGN COMPANY                      STONE MT INDUSTRIAL PARK INC
P.O. BOX 240082                         1909 RR 620 SOUTH                        5830 E PONCE DE LEON AVE
MILWAUKEE, WI 53224                     AUSTIN, TX 78734                         STONE MOUNTAIN, GA 30083




STONE OAK PROPERTY OWNERS               STONE PIGMAN WALTHER WITTMANN L.L.C.     STONE RIDGE MARKET PHASE 2 LTD
ASSOCIATION                             ATTN: MICHAEL R. SCHNEIDER               CO REATA PROPERTY MGMT INC
19210 HUEBNER RD 100                    546 CARONDELET STREET                    1100 NE LOOP 410 STE 400
SAN ANTONIO, TX 78258                   NEW ORLEANS, LA 70130                    SAN ANTONIO, TX 78209




STONEBARGER LAW                         STONEBRIDGE PROMENADE SHOPS LLC          STONEBRIDGE PROMENADE SHOPS LLC
GORDON & REES/ATTN RICHARD SPIRRA       3700 AIRPORT RD., STE 401                C/O MERCHANTS PROPERTY GROUP INC
101 W BROADWAY STE 2000                 BOCA RATON, FL 33431                     PO BOX 3040
SAN DIEGO, CA 92101                                                              DULUTH, GA 30096
                        Case 18-12241-CSS
STONEBRIDGE REALTY HOLDINGS   LLC            Doc 26
                                       STONEBRIDGE      Filed
                                                    REALTY     10/05/18
                                                            HOLDINGS LLC   PageSTONECREST
                                                                                1509 of 1739
                                                                                          INVESTMENTS
CNL CENTER II AT CITY COMMONS          CNL COMMERCIAL REAL ESTATE               JASON POLLEY, MANAGING LEASE
420 S ORANGE AVE, STE 950              PO BOX 6230                              DIRECTOR
ORLANDO, FL 32801                      ORLANDO, FL 32802-6230                   9037 POPLAR AVENUE, SUITE 104
                                                                                GERMANTOWN, TN 38138



STONEMAR REALTY MANAGEMENT              STONESTOWN SHOPPING CENTER LLP          STONEY LEE SMITH
DANIEL AMODIO                           STONESTOWN GALLERIA                     10201 S. MAIN STREET
32 UNION SQUARE EAST, SUITE 1100        SDS-12-2465 PO BOX 86                   HOUSTON, TX 77025
NEW YORK, NY 10003                      MINNEAPOLIS, MN 55486-2465




STORAGE ON THE SPOT                     STORE DESIGN INC                        STORE FRONTS LLC
P.O. BOX 284                            DBA THE STORE DECOR COMPANY             C/O HENSEN PROPERTIES
IRONTON, OH 45638                       PO BOX 2747                             1944 ELIDA ROAD
                                        ROWLETT, TX 75030                       LIMA, OH 45805




STORE FRONTS LLC                        STORIS INC.                             STORMS TRANSPORTATION
PO BOX 1709                             400 VALLEY RD                           3086 AUTUMN HILL TRAIL
LIMA, OH 45802                          MOUNT ARLINGTON, NJ 07856               NEW ALBANY, IN 47150




STOUGHTON                               STOUT HOLDINGS I INC                    STOUT RISIUS ROSS LLC
ATTN: PROPERTY TAX DEPT.                DBA STOUT RISIUS ROSS LLC               PO BOX 71770
PO BOX 763                              4000 TOWN CENTER 20TH FL                CHICAGO, IL 60694-1770
MEDFORD, MA 02155-0008                  SOUTHFIELD, MI 48075




STR FUND X, LLC                         STRASBURGER AND PRICE LLP               STRASBURGER AND PRICE LLP
ATTN: LYLE SCHEPPELE                    901 MAIN STREET                         PO BOX 50100
3600 BIRCH STREET, SUITE 130            SUITE 4400                              DALLAS, TX 75250-9989
NEWPORT BEACH, CA 92660                 DALLAS, TX 75202




STRATA MARKETING INC.                   STRATA PROPERTIES                       STRATEGIC PRODUCTS & SERVICES LLC
23608 NETWORK PLACE                     4631 TELLER AVENUE, SUITE 150           300 LITTLETON RD STE 200
CHICAGO, IL 60673-1236                  NEWPORT BEACH, CA 92660                 PARSIPPANY, NJ 07054




STRATEGIC PRODUCTS & SERVICES LLC       STRATEGY LAW, LLP                       STRATFORD ROOFING & CONSTRUCTION INC
PO BOX 5365                             ATTN: TAMARA POW, ESQ.                  1905 JOHANNA DR STE B1
NEW YORK, NY 10087                      ONE ALMADEN BOULEVARD, SUITE 700        HOUSTON, TX 77055
                                        SAN JOSE, CA 95113




STRATFORD                               STRATIX CORPORATION                     STRATODESK CORPORATION
ATTN: PROPERTY TAX DEPT.                PO BOX 930518                           201 SPEAR ST STE 1100
PO BOX 9722                             ATLANTA, GA 31193-0518                  SAN FRANCISCO, CA 94105
STRATFORD, CT 06615




STRATTON & GREEN IN TRUST FOR           STRAUSS TROY                            STREAM FOUR CORNERS INVESTORS LP
BENJAMIN SMITH                          ATTN: FRANKLIN A. KLAINE, JR.           2001 ROSS AVE STE 2800
C/O CYNTHIA L STRATTON                  150 EAST FOURTH STREET                  DALLAS, TX 75201
591 CAMINO DE LA REINA STE 530          CINCINNATI, OH 45202
SAN DIEGO, CA 92108
                      Case 18-12241-CSS
STREAM REALTY PARTNERS-AUSTIN LP     STREAMDoc   26 Filed 10/05/18
                                             REALTY                  PageSTREAMLINE
                                                                          1510 of 1739
                                                                                    IMAGING LLC
PO BOX 730888                        LAURA LE HARVEY, CPM                 919 SW TAYLOR ST 6TH FLOOR
DALLAS, TX 75373-0888                515 POST OAK BLVD., SUITE 100        PORTLAND, OR 97205
                                     HOUSTON, TX 77027




STREETWISE SECURITY SYSTEMS         STRINGTOWN SOUTH LLC                  STRINGTOWN SOUTH LLC
PO BOX 26125                        PO BOX 209267                         VEREIT MT GROVE CITY OH LLC/PT4A72
TEMPE, AZ 85285                     AUSTIN, TX 78720-9267                 PO BOX 841123
                                                                          DALLAS, TX 75284-1123




STRIPES US HOLDING, INC.            STRONA VIRGO                          STRONG INDUSTRIES INC
10201 S MAIN STREET                 10201 S. MAIN STREET                  ATTN: CHIEF FINANCIAL OFFICER
HOUSTON, TX 77025                   HOUSTON, TX 77025                     13617 RALPH CULVER RD
                                                                          HOUSTON, TX 77086




STRONG INDUSTRIES INC               STRONG MOVERS                         STROUD TOWNSHIP SEWER AUTH
ATTN: CHIEF FINANCIAL OFFICER       PO BOX 1336                           1211 NORTH 5TH STREET
PO BOX 108                          MINEOLA, TX 75773                     STROUDSBURG, PA 18360
NORTHUMBERLAND, PA 17857




STROZ FRIEDBERG LLC                 STROZ FRIEDBERG LLC                   STRS OHIO
32 AVENUE OF THE AMERICAS 4TH FL    PO BOX 975348                         275 EAST BROAD STREET
NEW YORK, NY 10013                  DALLAS, TX 75397-5348                 COLUMBUS, OH 45236-4290




STU NEEDEL                          STUART A GINSBERG                     STUART CENTRE INVESTORS, LLC
10201 S. MAIN STREET                502 WATERFALL DRIVE                   ATTN: BEA WILLIAMS, DIRECTOR
HOUSTON, TX 77025                   CANTON, GA 30114                      431 FAIRWAY DRIVE, SUITE 300
                                                                          DEERFIELD BEACH, FL 33441




STUART DAVIS                        STUART MAUDLIN                        STUART N LLC
9528 ANCHUSA TR                     10201 S. MAIN STREET                  75 VALENCIA AVE STE 1150
AUSTIN, TX 78736                    HOUSTON, TX 77025                     CORAL GABLES, FL 33114




STUART N LLC                        STUART NORTH, LLC                     STUART NORTH, LLC
PO BOX 144660                       ATTN: ALBERT J. FRAGA                 ATTN: ALBERT J. FRAGA
CORAL GABLES, FL 33114              75 VALENCIA AVENUE, SUITE 1150        75 VALENCIA AVENUE, SUITE 1150
                                    CORAL GABLES, FL 33114                CORAL GABLES, FL 33134




STUART NORTH, LLC                   STUART SCHNEIWEIS                     STUMPTOWN LLC
PO BOX 144660                       10201 S. MAIN STREET                  STUMPTOWN TS
CORAL GABLES, FL 33114              HOUSTON, TX 77025                     1519 E CENTRAL
                                                                          SPOKANE, WA 99208




STUMPTOWN TS                        STURBRIDGE                            STUTZMAN REFUSE DISPOSAL INC
1603 E FRANCIS AVE                  ATTN: PROPERTY TAX DEPT.              315 WEST BLANCHARD AVE
SPOKANE, WA 99208                   308 MAIN ST                           SOUTH HUTCHINSON, KS 67505-1531
                                    STURBRIDGE, MA 01566-1078
SUBROOKE LLC             Case   18-12241-CSS    DocLLC
                                          SUBSTRATE 26      Filed 10/05/18    PageSUBURBAN
                                                                                   1511 of CAPITAL,
                                                                                           1739 INC.
C/O KIN PROPERTIES, INC.                  5-39 46TH AVE                           SHANE KINSLEY, PORTFOLIO ANAYLST
185 NW SPANISH RIVER BLVD.                LONG ISLAND CITY, NY 11101              3600 PACIFIC AVENUE
BOCA RATON, FL 33431                                                              VIRGINIA BEACH, VA 23451




SUBURBAN MANAGEMENT                       SUBURBAN NATURAL GAS CO                 SUBURBAN NATURAL GAS CO.
289 INDEPENDENCE BOULEVARD, SUITE 300     2626 LEWIS CENTER RD                    P.O. BOX 183035
VIRGINIA BEACH, VA 23462                  LEWIS CENTER, OH 43035                  COLUMBUS, OH 43218-3035




SUBURBAN PROPANE 1189                     SUBURBAN PROPANE ANY DIV                SUBURBAN PROPANE ANY DIV
P.O. BOX 889248                           240 ROUTE 10 WEST                       P.O. BOX 160
ATLANTA, GA 30356                         PO BOX 206                              WHIPPANY, NJ 07981-0160
                                          WHIPPANY, NJ 07981-02206




SUBURBAN PROPANE ANY DIV                  SUBURBAN PROPANE ANY DIV                SUCCESSION CAPITAL PARTNERS, LLC
P.O. BOX 300                              P.O. BOX F                              635 MABRY AVENUE
WHIPPANY, NJ 07981-0300                   WHIPPANY, NJ 07981-0405                 NORFOLK, VA 23504




SUCOLE, LLC                               SUCOLE, LLC                             SUDBERRY PROPERTIES, INC.
C/O KIN PROPERTIES, INC.                  C/O KIN PROPERTIES, INC.                5465 MOREHOUSE DRIVE, SUITE 260
185 NW SPANISH RIVER BLVD STE 100         185 NW SPANISH RIVER BLVD STE 100       SAN DIEGO, CA 92121-4714
BOCA RATON, FL 33431                      BOCA RATON, FL 33431-4230




SUDBURY CROSSING LP                       SUDBURY CROSSING STATION LLC            SUDBURY CROSSING STATION LLC
637 WASHINGTON ST STE 200                 C/O PHILLIPS EDISON & COMPANY           PO BOX 645643
BROOKLINE, MA 02446-4579                  ATTN: ROBERT F. MYERS, COO              CINCINNATI, OH 45264-5643
                                          11501 NORTHLAKE DRIVE
                                          CINCINNATI, OH 45249



SUDBURY                                   SUDDENLINK                              SUDHIR DESAI
ATTN: PROPERTY TAX DEPT.                  P.O. BOX 660365                         10201 S. MAIN STREET
PO BOX 959                                DALLAS, TX 75266-0365                   HOUSTON, TX 77025
SUDBURY, MA 01776-0959




SUE RICHTER                               SUE SMITH                               SUEANN PATRISS
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




SUEZ WATER DELAWARE                       SUEZ WATER DELAWARE                     SUEZ WATER IDAHO
2000 FIRST STATE BLVD                     P.O. BOX 371804                         8248 WEST VICTORY RD
FIRST STATE INDUSTRIAL PARK, PO BOX       PITTSBURGH, PA 15250-7804               BOISE, ID 83709
6508
WILMINGTON, DE 19804-0508



SUEZ WATER IDAHO                          SUEZ WATER NEW JERSEY                   SUEZ WATER NEW JERSEY
PAYMENT CENTER                            69 DEVOE PL                             PAYMENT CENTER
PO BOX 60519                              HACKENSACK, NJ 07601                    PO BOX 371804
CITY OF INDUSTRY, CA 91716-0519                                                   PITTSBURGH, PA 15250-7804
SUEZ WATER NEW YORK      Case 18-12241-CSS    Doc 26
                                        SUEZ WATER      Filed 10/05/18
                                                   NEW YORK                   PageSUEZ
                                                                                   1512 of 1739
                                                                                       WATER PENNSYLVANIA
69 DEVOE PL                              P.O. BOX 371804                           69 DEVOE PL
HACKENSACK, NJ 07601                     PITTSBURGH, PA 15250-7804                 HACKENSACK, NJ 07601




SUEZ WATER PENNSYLVANIA                  SUEZ WATER TOMS RIVER                     SUEZ WATER TOMS RIVER
P.O. BOX 371804                          69 DEVOE PL                               P.O. BOX 371804
PITTSBURGH, PA 15250-7804                HACKENSACK, NJ 07601                      PITTSBURGH, PA 15250-7804




SUFFOLK CIRCUIT COURT                    SUFFOLK COUNTY COMPTROLLER                SUFFOLK COUNTY POLICE DEPT
PO BOX 1604                              330 CENTER DR                             ALARM MANAGEMENT PROGRAM
SUFFOLK, VA 23439-1604                   RIVERHEAD, NY 11901                       30 YAPHANK AVE
                                                                                   YAPHANK, NY 11980




SUFFOLK COUNTY SEWER DISTRICTS           SUFFOLK COUNTY WATER AUTHORITY            SUFFOLK COUNTY WATER AUTHORITY
335 YAPHANK AVE                          4060 SUNRISE HWY                          P.O. BOX 3147
YAPHANK, NY 11980-9608                   STE 1000                                  HICKSVILLE, NY 11802-3147
                                         OAKDALE, NY 11769




SUFFOLK COUNTY                           SUFFOLK MAIN ST SHOPPES LLC               SUFFOLK MAIN STREET SHOPPES, LLC
DEPT OF LABOR, LICENSING, & CONSUMER     2900 SABRE ST STE 75                      2900 SABRE ST STE 75
AFFAIRS                                  VIRGINIA BEACH, VA 23452                  VIRGINIA BEACH, VA 23452
PO BOX 6100
HAUPPAUGE, NY 11788-0099



SUFFOLK                                  SUGANDHA MEHTA                            SUGAR LAND PLAZA LP
ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET                      8 GREENWAY PLAZA STE 1000
PO BOX 6100                              HOUSTON, TX 77025                         HOUSTON, TX 77046
HAUPPAUGE, NY 11788-0099




SUGAR OAK REALTY                         SUGAR3 LLC                                SUGARCREEK CROSSING PERMANENT LLC
481 CARLISLE DRIVE                       C/O MADISON DEVELOPMENT GROUP, LLC        106564 LOVELAND MADEIRA RD
HERNDON, VA 20170-4830                   ATTN: JIM GALLAUGHER                      LOVELAND, OH 45140
                                         141 FRONT STREET N
                                         ISSAQUAH, WA 98027



SUGARCREEK CROSSING PERMANENT LLC        SUHAGILIS CARRERO                         SUHEY RAMOS
9549 PORTFOLIO HOLDINGS LLC              10201 S. MAIN STREET                      10201 S. MAIN STREET
PO BOX 781741                            HOUSTON, TX 77025                         HOUSTON, TX 77025
DETROIT, MI 48278-1741




SUJAY KANSAGRA                           SUKI DENG                                 SULLIVAN COUNTY TRUSTEE
9429 COLLINGDALE WAY                     10201 S. MAIN STREET                      ATTN: PROPERTY TAX DEPT.
RALEIGH, NC 27617                        HOUSTON, TX 77025                         PO BOX 550
                                                                                   BLOUNTVILLE, TN 37617




SULLIVAN COUNTY TRUSTEE                  SULLIVAN PROPERTIES INC                   SULLIVAN TIRE CO INC
PO BOX 550                               SHARON SURLESS, PM                        41 ACCORD PARK DRIVE
BLOUNTVILLE, TN 37617                    130 SOUTH ORANGE AVENUE, SUITE 300        NORWELL, MA 02061
                                         ORLANDO, FL 32829
SULLIVAN TIRE CO INC Case       18-12241-CSS    Doc
                                          SULLIVAN,   26 AND
                                                    LAURITA Filed 10/05/18
                                                                CARLOS BRYANT PageSULLIVAN,
                                                                                   1513 ofROBIN
                                                                                            1739
710 WARREN AVE                              C/O THE EMPLOYEE RIGHTS GROUP, LLC   730 POST OAK WAY
SOUTH PORTLAND, ME 04103                    ATTN: JAMES LIVINGSTONE              WARNER ROBINS, GA 31088-9136
                                            43 BOWDOIN ST., STE A
                                            BOSTON, MA 02114



SULPHUR SPRINGS VALLEY ELECTRIC CO-         SULPHUR SPRINGS VALLEY               SULTAN SHABAZZ
OP                                          350 NORTH HASKELL                    10201 S. MAIN STREET
P.O. BOX 52788                              WILLCOX, AZ 85643                    HOUSTON, TX 77025
PHOENIX, AZ 85072-2788




SULYSE, LLC                                 SUMMER NELSON                        SUMMER RAIN R E HOLDINGS LLC
C/O KIN PROPERTIES, INC.                    10201 S. MAIN STREET                 1028 W 17TH ST
185 NW SPANISH RIVER BOULEVARD, SUITE       HOUSTON, TX 77025                    HOUSTON, TX 77008
100
BOCA RATON, FL 33431



SUMMER RAIN RE HOLDINGS LLC                 SUMMERSET OUTDOOR LIVING             SUMMERVILLE COMM OF PUBL WORKS
DBA SMART GROWTH SPARTANBURG LLC            1880 IOWA AVE STE 100                215 N CEDAR ST
5610 OAKHAVEN LN                            RIVERSIDE, CA 92507                  SUMMERVILLE, SC 29483
HOUSTON, TX 77091




SUMMERVILLE COMM OF PUBL WORKS              SUMMERVILLE CPW                      SUMMIT APARTMENTS INC.
P.O. BOX 817                                P.O. BOX 817                         3000 LILIAN AVENUE
SUMMERVILLE, SC 29484-0817                  SUMMERVILLE, SC 29484-0817           MURRYSVILLE, PA 15668




SUMMIT APARTMENTS INC.                      SUMMIT CONGRESS PLAZA LLC            SUMMIT COUNTY ASSESSOR
ATTN: MARK SPAGNOL                          LINKSIDE SHOPPES                     ATTN: PROPERTY TAX DEPT.
3000 LILLIAN AVE                            250 N ORANGE AVE STE 1500            PO BOX 128
MURRYSVILLE, PA 15668                       ORLANDO, FL 32801                    COALVILLE, UT 84017




SUMMIT COUNTY TREASURER                     SUMMIT COUNTY TREASURER              SUMMIT ENTERAINMENT GROUP LLC
PO BOX 128                                  PO BOX 289                           9811 W CHARLESTON BLVD STE 2766
COALVILLE, UT 84017                         BRECKENRIDGE, CO 80424               LAS VEGAS, NV 89117




SUMMIT MEDIA HONOLULU                       SUMMIT MEDIA HONOLULU                SUMMIT MEDIA LLC WKLR-FM
900 PORT ST                                 PO BOX 1300                          DEPT 2409
HONOLULU, HI 96813                          HONOLULU, HI 96807-1300              PO BOX 11407
                                                                                 BIRMINGHAM, AL 35246-2409




SUMMIT MEDIA LLC WURV-FM                    SUMMIT MEDIA LLC                     SUMMIT MEDIA LLC
DEPT 2409                                   612 S 4TH ST                         812 MOOREFIELD PARK DR 300
PO BOX 11407                                LOUISVILLE, KY 40202                 RICHMOND, VA 23236
BIRMINGHAM, AL 35246-2409




SUMMIT MEDIA LLC                            SUMMIT MEDIA LOUISVILLE              SUMMIT REALTY VENTURES
WURV-FM                                     DEPT 2409                            101 SOUTH HANLEY ROAD, SUITE1400
812 MOOREFIELD PARK DR ST 300               PO BOX 11407                         ST. LOUIS, MO 63105
RICHMOND, VA 23236                          BIRMINGHAM, AL 35246-2409
                        Case
SUMMITMEDIA LLC DBA KINE-FM    18-12241-CSS    Doc 26
                                         SUMMITMEDIA      Filed
                                                     LLC DEPT   10/05/18
                                                              2409             PageSUMMITMEDIA
                                                                                    1514 of 1739
                                                                                               LLC WSFR-FM
MAIL CODE: 61304                          PO BOX 11407                              612 S FOURTH ST
PO BOX 1300                               BIRMINGHAM, AL 35246                      LOUISVILLE, KY 40202
HONOLULU, HI 96807-1300




SUMMITMEDIA LLC WVEZ-FM                   SUMMITMEDIA LLC                           SUMMITMEDIA LLC
612 S 4TH ST                              2700 CORPORATE DRIVE STE 115              812 MOOREFIELD PARK DR STE 300
LOUISVILLE, KY 40202                      BIRMINGHAM, AL 35242                      RICHMOND, VA 23236




SUMMITMEDIA LLC                           SUMMITMEDIA LLC                           SUMMITMEDIA RICHMOND
DEPT 2409                                 MAIL CODE: 61304                          DEPT 2409
PO BOX 11407                              PO BOX 1300                               PO BOX 11407
BIRMINGHAM, AL 35246                      HONOLULU, HI 96807-1300                   BIRMINGHAM, AL 35246-2409




SUMMITWOODS SPE LLC                       SUMMITWOODS SPE LLC                       SUMNER COUNTY TRUSTEE
7500 COLLEGE BLVD STE 750                 PO BOX 310310                             ATTN: PROPERTY TAX DEPT.
OVERLAND PARK, KS 66210                   DES MOINES, IA 50331                      355 BELVEDERE DR N 107
                                                                                    GALLATIN, TN 37066-5410




SUMNER LOCK AND KEY INC                   SUMO LOGIC                                SUMTER COUNTY TAX COLLECTOR
856 COLES FERRY RD                        305 MAIN ST                               220 E MCCOLLUM AVE
GALLATIN, TN 37066                        REDWOOD CITY, CA 94063                    BUSHNELL, FL 33513-6124




SUMTER COUNTY TREASURER                   SUMTER                                    SUN AND MOON EXPRESS LLC
PO BOX 100140                             ATTN: PROPERTY TAX DEPT.                  3694 CLUB DR 104
COLUMBIA, SC 29202                        PO BOX 100140                             LAWRENCEVILLE, GA 30044
                                          COLUMBIA, SC 29202




SUN CITY DEVELOPMENT GROUP LLC            SUN CITY DEVELOPMENT GROUP LLC            SUN COAST MEDIA GROUP INC
4800 N 22ND ST                            PO BOX 843778                             DEPT 11120
PHOENIX, AZ 85016                         LOS ANGELES, CA 90084                     PO BOX 31792
                                                                                    TAMPA, FL 33631-3792




SUN COAST RETAIL LLC                      SUN DELIVERY                              SUN GAZETTE
3301 EDLOE ST. 100                        13 STANLEY AVE                            252 W 4TH ST
HOUSTON, TX 77027                         THOMASVILLE, NC 27360                     PO BOX 728
                                                                                    WILLIAMSPORT, PA 17703




SUN LIFE ASSURANCE (COMPANY OF            SUN LIFE ASSURANCE CO OF CANADA           SUN LIFE ASSURANCE CO OF CANADA
CANADA)                                   500 W MONROE STE 2900                     ONE SUN LIFE PARK
C/O CBRE INC ATTN JAIME STONE             CHICAGO, IL 60661                         WELLESLEY, MA 02481
1225 17TH ST 3200
DENVER, CO 80202



SUN LIFE ASSURANCE COMPANY OF             SUN LIFE ASSURANCE COMPANY OF             SUN LIFE ASSURANCE COMPANY OF
CANADA                                    CANADA                                    CANADA
500 W MONROE STE 2900                     C/O BENTALL KENNEDY (U.S.) LP             C/O CBRE INC
CHICAGO, IL 60661                         7315 WISCONSIN AVE, SUITE 200 WEST        ATTN JAIME STONE
                                          ATTN: ASSET MANAGER/LITTLETON, CO         1225 17TH ST 3200
                                          BETHESDA, MD 20814                        DENVER, CO 80202
                        Case OF
SUN LIFE ASSURANCE COMPANY    18-12241-CSS     Doc
                                        SUN LIFE    26 Filed
                                                 ASSURANCE      10/05/18
                                                           COMPANY   OF          PageSUN
                                                                                      1515
                                                                                         LIFEof 1739 COMPANY OF
                                                                                              ASSURANCE
CANADA                                  CANADA                                       CANADA
C/O CBRE                                ONE SUN LIFE EXECUTIVE PARK SC1303           ONE SUN LIFE EXECUTIVE PARK
JEN SILVA, SENIOR REAL ESTATE MANAGER   WELLESLEY HILLS, MA 02481                    SC 3331
1225 17TH STREET, SUITE 3200                                                         WELLESLEY, MA 02481
DENVER, CO 80202


SUN LIFE ASSURANCE COMPANY OF            SUN LIFE ASSURANCE COMPANY OF               SUN LIFE FINANCIAL
CANADA                                   CANADA                                      13355 NOEL RD
ONE SUN LIFE PARK                        PICOR COMMERCIAL RE SERVICES                SUITE 1250
WELLESLEY, MA 02481                      1100 N WILMOT STE200                        DALLAS, TX 75240
                                         TUCSON, AZ 85712



SUN LIFE FINANCIAL                       SUN LIFE FINANCIAL                          SUN LIFE NEW YORK
ONE SUN LIFE EXECITIVE PARK SC3331       STOP LOSS CLAIMS SC 395                     PO BOX 7247
WELLESLEY HILLS, MA 02481                175 ADDISON RD                              SORT 7188
                                         WINDSOR, CT 06095                           PHILADELPHIA, PA 19170-7188




SUN MCKINNEY LLC                         SUN RUSH, LLC DBA ALOHA TANS                SUN SENTINEL
CREATIVE REALTY GROUP LLC                1838 JONESBORO RD.                          PO BOX 100606
3610 NE 1ST AVE                          MCDONOUGH, GA 30253                         ATLANTA, GA 30384-0606
MIAMI, FL 33137




SUN SOLUTIONS WINDOW TINTING             SUN STATE BUILDERS INC                      SUN TIMES MEDIA
2009 SHADOW GROVE WAY                    1050 W WASHINGTON STE 214                   8247 SOLUTIONS CENTER
ENCINITAS, CA 92024                      TEMPE, AZ 85281                             CHICAGO, IL 60677-8002




SUNAINA TALBANI                          SUNBEAM TELEVISION                          SUNBEAM TELEVISION
10201 S. MAIN STREET                     1401-79TH ST CAUSEWAY                       PO BOX 1118
HOUSTON, TX 77025                        MIAMI, FL 33141                             MIAMI, FL 33238-1118




SUNBELT FURNITURE XPRESS                 SUNBELT INVESTMENT HOLDINGS, INC.           SUNBELT LAND HOLDINGS, L.P.
P.O. BOX 487                             ATTN: MR. ROBERT E. GRIFFIN, JR., SVP       8095 OTHELLO AVE.
HICKORY, NC 28603-0487                   8095 OTHELLO AVENUE                         SAN DIEGO, CA 92111
                                         SAN DIEGO, CA 92111




SUNDARAM PROPERTIES LLC                  SUNDARAM PROPERTIES                         SUNDARAM PROPERTIES
DBA TOWNE CENTER VILLAGE                 290 COLES HILL CT.                          C/O SOUTHEAST PROPERTIES
C/O SOUTHEAST PROPERTIES                 ALPHARETTA, GA 30022                        P.O. BOX 1387
P.O. BOX 1387                                                                        FAYETTEVILLE, GA 30214
FAYETTEVILLE, GA 30214



SUNFLOWER BROADCASTING INC DBA           SUNIL MALHOTRA                              SUNIL PURI, LLC
KWCH TV                                  10201 S. MAIN STREET                        C/O FIRST ROCKFORD GROUP, INC.
2815 E 37TH ST N                         HOUSTON, TX 77025                           6801 SPRING CREEK RD
WICHITA, KS 67219                                                                    ROCKFORD, IL 61114




SUNINVEST PROPERTY MANAGEMENT            SUNITA KAPADIA                              SUNLIFE ASSURANCE OF CANADA
220 71ST STREET, SUITE 213               10201 S. MAIN STREET                        CO THE SHOPPING CENTER GROUP
MIAMI BEACH, FL 33141                    HOUSTON, TX 77025                           300 GALLERIA PARKWAY 12TH FLOOR
                                                                                     ATLANTA, GA 30039
SUNMARK CENTERS, LLC Case 18-12241-CSS     Doc 26 Filed
                                    SUNNI GOODMAN              10/05/18    PageSUNNI
                                                                                1516GOODMAN
                                                                                     of 1739
433 NORTH CAMDEN DRIVE, STE 500     10201 S. MAIN STREET                       10201 S. MAIN STREET
BEVERLY HILLS, CA 90210             HOUSTON, TX 77025                          HOUSTON, TX 77025




SUNNY DESIGNS INC                     SUNNY EKWUGHA                            SUNNY SIDE UP HOME AND FASHION INC
8949 BUFFALO AVE                      10201 S. MAIN STREET                     C/O ERIN ROLLINS
RANCHO CUCAMONGA, CA 91730            HOUSTON, TX 77025                        6381 CARMEL VIEW SOUTH
                                                                               SAN DIEGO, CA 92130




SUNNY VADERA                          SUNNYSIDE COMMONS LLC                    SUNNYVALE DEPARTMENT OF PUBLIC
10201 S. MAIN STREET                  CEDAR STREET /ATTN SHONDA LEVEJOY        SAFETY
HOUSTON, TX 77025                     1025 W SUNNYSIDE 3RD FL                  PO BOX 3707
                                      CHICAGO, IL 60640                        SUNNYVALE, CA 94088




SUNRAY POWER OPCO II LLC              SUNRISE VILLAGE PHASE I, LLC             SUNRISE VILLAGE PHASE I, LLC
545 MADISON AVE                       10507 156TH ST E STE 101                 10507 156TH STREET E, SUITE 101
NEW YORK, NY 10022                    PUYALLUP, WA 98374                       PUYALLUP, WA 98374




SUNRISE VILLAGE PHASE I, LLC          SUNSET BAY LANDSCAPING INC               SUNSET HILLS OWNER, LLC
PO BOX 398829                         5146 SILVER CHAM TERR                    C/O SANSONE GROUP
SAN FRANCISCO, CA 94139-8829          WESLEY CHAPEL, FL 33544                  120 S CENTRAL STE 500
                                                                               SAINT LOUIS, MO 63105




SUNSET HILLS OWNER, LLC               SUNSET HWM LLC                           SUNSHINE RECYCLING SERVICES OF SWFL
C/O SANSONE GROUP                     DBA SUNSET WEST                          3547 NW 49TH ST
120 S. CENTRAL AVENUE, SUITE 500      1370 DECISION ST STE B                   MIAMI, FL 33142
ST. LOUIS, MO 63105                   VISTA, CA 92081




SUNSHINE RECYCLING SERVICES OF SWFL   SUNSHINE WINDOW CLEANERS INC             SUNTIA POWELL
P.O. BOX 348                          1923 N WICKHAM RD STE 1161               10201 S. MAIN STREET
ESTERO, FL 33929                      MELBOURNE, FL 32935                      HOUSTON, TX 77025




SUNTIDE COMMERCIAL REALTY, INC.       SUNTRUST VAN LINES INC                   SUP I WESTGATE LLC
2550 UNIVERSITY AVE W, SUITE 416-S    150 NW 176TH ST BAY E                    340 ROYAL POINCIANA WAY STE 316
ST. PAUL, MN 55114                    MIAMI, FL 33169                          PALM BEACH, FL 33480




SUPER BRIGHT CLEANING SERVICE         SUPER DELIVERY                           SUPER LINK PLASTIC INC
PMB 740                               308 NORTH EAST ST.                       888 92ND AVE
2358 UNIVERSITY AVE                   FONTANA, KS 66026                        OAKLAND, CA 94603
SAN DIEGO, CA 92104




SUPER LLC                             SUPER LLC                                SUPER LLC
420 LEXINGTON AVE 7TH FLOOR           BRIXMOR PROPERTY GROUP                   DBA BRE RETAIL RESIDUAL OWNER 2 LLC
NEW YORK, NY 10170                    DBA NEW PLAN FLORIDA HOLDINGS, LLC       (DE)
                                      PO BOX 645321                            PO BOX 713538
                                      CINCINNATI, OH 45264-5321                CINCINNATI, OH 45281-3538
SUPER LLC               Case   18-12241-CSS
                                         SUPER Doc
                                               LLC 26      Filed 10/05/18     PageSUPER
                                                                                   1517LLC
                                                                                        of 1739
DBA BRE RETAIL                           DBA BRIXMOR SOUTHPORT CENTRE LLC         DBA CENTRO HERITAGE SPE 4 LLC
PO BOX 645346                            420 LEXINGTON AVE 7TH FLOOR              PO BOX 30906
CINCINNATI, OH 45264-5346                NEW YORK, NY 10170                       NEW YORK, NY 10087-0906




SUPER LLC                                SUPER LLC                                SUPER LLC
DBA CENTRO NP STONE MOUNTAIN LLC         LEASE ID 1331084                         NEW PLAN PROPERTY HOLDING COMPANY
PO BOX 281116                            PO BOX 74242                             420 LEXINGTON AVE 7TH FL
ATLANTA, GA 30384-1116                   CLEVELAND, OH 44194                      NEW YORK, NY 10170




SUPER LLC                                SUPERIOR ALARM AND FIRE PROTECTION       SUPERIOR ALARM AND FIRE PROTECTION
P.O. BOX 533337                          LLC                                      LLC
CHARLOTTE, NC 28290                      960 N TOWNSEND AVE                       PO BOX 1706
                                         MONTROSE, CO 81402                       MONTROSE, CO 81402




SUPERIOR OPERATING SYSTEMS INC           SUPERIOR SIGN SERVICES, INC              SUPERMEDIA
1721 S 42ND ST                           12460 CRABAPPLE RD, STE. 202-426         ATTN: ACCT RECEIVABLE DEPT.
ROGERS, AR 72758                         ALPHARETTA, GA 30004                     PO BOX 619009
                                                                                  DFW AIRPORT, TX 75261-9009




SUPERSTITION MARKETPLACE LLC             SUPERVALU INC.                           SUPPLY SOURCE
C/O JBI CO                               11840 VALLEY VIEW ROAD                   12402 SE JENNIFER ST 190
7502 E. BUENA TERRA WAY                  EDEN PRAIRIE, MN 55344                   CLACKAMAS, OR 97015
SCOTTSDALE, AZ 85250




SUPPLY WORLD INC                         SUPPLYRUS INC                            SUPPORT PAYMENT CLEARINGHOUSE
11870 SANTA MONICA BLVD STE 106-459      107 TRUMBULL ST BLDG S-13                PO BOX 52107
LOS ANGELES, CA 90025                    ELIZABETH, NJ 07206                      PHOENIX, AZ 85072-2107




SUPREME COURT OF VIRGINIA                SUPREME HEATING & AIR CONDITIONING CO    SUPREME HEATING & AIR CONDITIONING CO
100 N 9TH ST                             INC                                      INC
RICHMOND, VA 23219                       1399 E MARGARET DR                       PO BOX 2068
                                         PO BOX 2068                              TERRE HAUTE, IN 47802
                                         TERRE HAUTE, IN 47802



SUR COR LLC                              SURAEYA DIGGS                            SURE FIT INC
PO BOX 44033                             10201 S. MAIN STREET                     C/O FOCUS PRODUCTS GROUP INTL. LLC
PHOENIX, AZ 85064                        HOUSTON, TX 77025                        33087 COLLECTIONS CENTER DR
                                                                                  CHICAGO, IL 60693-0330




SURE STAFF INC                           SURESH ADHIKARI                          SURESH MALHOTRA
7083 SOLUTION CENTER                     10201 S. MAIN STREET                     DBA LAKESIDE BEVERAGES
CHICAGO, IL 60677                        HOUSTON, TX 77025                        7130 DOUGLAS BLVD
                                                                                  GRANITE BAY, CA 95746




SURIYA LEGACY, LP                        SURPRISE INVESTMENTS, LLC                SURPRISE INVESTMENTS, LLC
3838 NEWARK CT                           C/O RYAN COMPANIES US, INC.              C/O RYAN COMPANIES US, INC.
CLAREMONT, CA 91711                      ATTN: PROPERTY MANAGEMENT                PO BOX 83255
                                         50 SOUTH TENT STREET, SUITE 300          CHICAGO, IL 60691-0255
                                         MINNEAPOLIS, MN 55403
SURPRISE TOWN CENTER Case    18-12241-CSS
                       HOLDINGS        SURPRISEDoc 26 CENTER
                                                 TOWNE   Filed HOLDINGS,
                                                               10/05/18LLCPageSURPRISE
                                                                               1518 ofTOWNE
                                                                                         1739 CENTER HOLDINGS, LLC
C/O HEITMAN CAPITAL MGMT               C/O CUSHMAN & WAKEFIELD                C/O HEITMAN CAPITAL MANAGEMENT
PO BOX 102176                          2555 E. CAMELBACK ROAD, 400            ATTN: PORTFOLIO/ASSET MANAGEMENT
PASADENA, CA 91189-2176                PHOENIX, AZ 85016                      191 NORTH WACKER DRIVE, SUITE 2500
                                                                              CHICAGO, IL 60606



SURPRISE VILLAGE E & F LLC             SURVEYMONKEY INC                        SURVEYMONKEY INC
7595 E MCDONALD DR STE 130             3050 S DELAWARE ST                      C/O BANK OF AMERICA LOCKBOX SRVS
SCOTTSDALE, AZ 85250                   SAN MATEO, CA 94403                     15765 COLLECTIONS CENTER DR
                                                                               CHICAGO, IL 60693




SURVIVAL TRUCKING INC                  SURY PROPERTIES, LLC                    SURY PROPERTIES, LLC
127-14 101 AVE                         201 ALHAMBRA CIRCLE STE 702             C/O LANDQWEST PROPERTY MGMT LLC
RICHMOND HILL, NY 11419                CORAL GABLES, FL 33134                  1614 COLONIAL BLVD SUITE 101
                                                                               FORT MYERS, FL 33907




SURY PROPERTIES, LLC                   SUSAN BAUER                             SUSAN BLOCKER
C/O LANDQWEST PROPERTY MGMT LLC        10201 S. MAIN STREET                    10201 S. MAIN STREET
1614 COLONIAL BLVD, SUITE 101          HOUSTON, TX 77025                       HOUSTON, TX 77025
FORT MYERS, FL 33907




SUSAN BONNETT                          SUSAN BOWMAN                            SUSAN BULLOCK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




SUSAN BURDGE                           SUSAN CLATTERBAUGH                      SUSAN DEVINCENT KILLMAN
1517 BRIDLEWOOD LN                     10201 S. MAIN STREET                    12448 MONA LISA ST.
RAYMORE, MO 64083                      HOUSTON, TX 77025                       SAN DIEGO, CA 92130




SUSAN EBELER                           SUSAN GLAVURTICH                        SUSAN HAAHEIM
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




SUSAN HAGEL                            SUSAN HAUGHT                            SUSAN HUGHES
11921 PRINCESS GRACE COURT             10201 S. MAIN STREET                    10201 S. MAIN STREET
CAPE CORAL, FL 33991                   HOUSTON, TX 77025                       HOUSTON, TX 77025




SUSAN JACKOMIN                         SUSAN JIANO                             SUSAN KNOWLES
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




SUSAN LARSEN                           SUSAN LAUERMAN                          SUSAN OLEXA
6918 W 2ND AVE                         25626 ALESNA DR                         PO BOX 1028
KENNEWICK, WA 99336                    VALENCIA, CA 91355                      OXFORD, GA 30054
SUSAN PUTNAM           Case 18-12241-CSS
                                      SUSAN Doc 26 Filed 10/05/18
                                            ROBERTSON                       PageSUSAN
                                                                                 1519Sof 1739
                                                                                       DEPAOLA-TRUSTEE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     1726 W SECOND ST STE B
HOUSTON, TX 77025                       HOUSTON, TX 77025                        MONTGOMERY, AL 36106




SUSAN SALVANT                           SUSAN SMITH                              SUSAN TERRY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




SUSAN TOTARO                            SUSAN WALTERS                            SUSAN WALTERS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




SUSAN WATSON                            SUSAN WILSON                             SUSANA LOMELI
10201 S. MAIN STREET                    10201 S. MAIN STREET                     9352 FIELDSTONE AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HESPERIA, CA 92345




SUSANA MARTINEZ                         SUSANA VIORGE                            SUSANNA MENDEZ
PO BOX 2274                             10201 S. MAIN STREET                     1835 N DEPOT ST
PEARLAND, TX 77588                      HOUSTON, TX 77025                        SANTA MARIA, CA 93458




SUSANNE MOLLAK                          SUSO 2 ALABAMA LP                        SUSO 3 AUGUSTA, LP
10201 S. MAIN STREET                    PO BOX 74498                             C/O CBRE
HOUSTON, TX 77025                       CLEVELAND, OH 44194-4498                 P.O. BOX 132
                                                                                 COLUMBIA, SC 29201




SUSO 3 AUGUSTA, LP                      SUSO 3 AUGUSTA, LP                       SUSO 3 AUGUSTA, LP
C/O SLATE ACQUISITIONS INC              C/O SLATE ACQUISITIONS INC               C/O SLATE ASSET MANAGEMENT L.P.
200 FRONT ST W STE 2400                 200 FRONT ST. W STE 2400                 ATTN: VP, ASSET MANAGEMENT
TORONTO, ON M5V 3K2                     TORONTO, ON M5V 3K2                      121 KING ST. W., SUITE 200
CANADA                                  CANADA                                   TORONTO, ON M5H 3T9 CANADA



SUSO 3 AUGUSTA, LP                      SUSO 4 MOORESVILLE CS LP                 SUSO 4 MOORESVILLE CS LP
SLATE US OPPORTUNITY NO 3 HOLDING LP    C/O SLATE ASSET MANAGEMENT, L.P.         C/O SLATE RETAIL HOLDING (NO 4) LP
PO BOX 74185                            ATTN: PROPERTY MANAGER                   121 KING ST WEST STE 200
CLEVELAND, OH 44194-4185                121 KING ST. W., SUITE 200               TORONTO, ON M5H 3T9
                                        TORONTO, ON M5H 3T9 CANADA               CANADA



SUSO 4 WEST VALLEY LP                   SUSO 4 WEST VALLEY LP                    SUSQUEHANNA RADIO COR DBA KLIF FM
C/O SLATE ASSET MANAGEMENT, LP          C/O SLATE ASSET MGMT LP                  3090 OLIVE ST W VICTORY PLAZA STE 400
ATTN: PROPERTY MANAGEMENT               121 KING ST WEST STE 200                 DALLAS, TX 75219
121 KING STREET WEST, SUITE 200         TORONTO, ON M5H 3T9
TORONTO, ON M5H 3T9 CANADA              CANADA



SUSQUEHANNA RADIO COR DBA KPLX 99.5     SUSQUEHANNA RADIO CORP DBA KTCK AM       SUSQUEHANNA RADIO CORP
THE WOLF                                3090 OLIVE ST W VICTORY PLAZA STE 400    3090 OLIVE STREET W VICTORY PLAZA STE
3090 OLIVE ST W VICTORY PLAZA STE 400   DALLAS, TX 75219                         400
DALLAS, TX 75219                                                                 DALLAS, TX 75219
SUSSEX COUNTY COUNCILCase     18-12241-CSS
                                        SUSSEXDoc 26 SHERIFFS
                                               COUNTY  Filed 10/05/18
                                                              OFFICE-         PageSUSTAINABLE
                                                                                   1520 of 1739
                                                                                              SOLUTIONS GROUP
ACCOUNTS RECEIVABLE                      COUNTY TREASURER                          7977 HWY 92
PO BOX 589                               EMERGENCY PREP BURE.-FIRE MARSHAL         WOODSTICK, GA 30189
GEORGETOWN, DE 19947                     DIV
                                         135 MORRIS TURNPIKE
                                         NEWTON, NJ 07860


SUSTAINABLE SOLUTIONS GROUP              SUSU DEVELOPERS L.L.P.                    SUTHERLAND ASBILL & BRENNAN LLP
DEPT 40299                               PO DRAWER 3580                            ATTN: JAMES B. JORDAN
P.O. BOX 740209                          NORFOLK, VA 23514                         999 PEACHTREE STREET, NE., SUITE 2300
ATLANTA, GA 30374-0209                                                             ATLANTA, GA 30309




SUTTELL & HAMMER PS                      SUTTER COUNTY                             SUTTER
PO BOX C-90006                           TAX COLLECTOR                             ATTN: PROPERTY TAX DEPT.
BELLEVUE, WA 98009                       PO BOX 546                                PO BOX 546
                                         YUBA CITY, CA 95992                       YUBA CITY, CA 95992




SUTTON PROPERTIES, LLC                   SUZAN KNAPPENBERGER                       SUZAN NGUYEN
200 GOOD HOPE ROAD                       10201 S. MAIN STREET                      10201 S. MAIN STREET
BLUFFTON, SC 29909                       HOUSTON, TX 77025                         HOUSTON, TX 77025




SUZANNA JONES                            SUZANNE CHASE                             SUZANNE HOLLAWAY
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




SUZANNE L HEROLD                         SUZANNE LUNA                              SUZANNE MONTALALOU
DBA HEROLD LAW GROUP PC                  6460 BRYN MAWR DR                         10201 S. MAIN STREET
50 TERMINAL ST BLDG 2 716                LOS ANGELES, CA 90068                     HOUSTON, TX 77025
CHARLESTOWN, MA 02129




SUZANNE P CHASE                          SUZANNE ROTH                              SUZANNE SEIDEN
                                         10201 S. MAIN STREET                      22 FAIRWAY DR
                                         HOUSTON, TX 77025                         MAMARONECK, NY 10543




SUZANNE THIBODEAU                        SUZANNE TRUITT                            SUZANNE VLACHOS
10201 S. MAIN STREET                     412 WESTOVER COURT                        10201 S. MAIN STREET
HOUSTON, TX 77025                        BELTON, MO 64012                          HOUSTON, TX 77025




SUZANNE WILLIS                           SUZANNES CONSTRUCTION AND BLDG INC        SUZELAINE SIMILIEN
2049 BLUE RIDGE DR                       240 EAST US HWY 6                         10201 S. MAIN STREET
TERRE HAUTE, IN 47802                    VALPARAISO, IN 46383                      HOUSTON, TX 77025




SUZETTE BALDERAS                         SUZI MARSHALL                             SUZIE BENAVIDEZ
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025
SUZIE HANNAN           Case 18-12241-CSS
                                      SVAP II Doc  26 Filed
                                              PARK NORTH LLC 10/05/18        PageSVAP
                                                                                  1521    of 1739
                                                                                      II PARK NORTH LLC
10201 S. MAIN STREET                    C/O STERLING RETAIL SERVICES              STERLING RETAIL SVCS/ATTN: AR
HOUSTON, TX 77025                       340 ROYAL POINCIANA WAY, SUITE 316        340 ROYAL POINCIANA WAY STE 316
                                        PALM BEACH, FL 33480                      PALM BEACH, FL 33480




SVETLANA SAFARI                         SVETLANA SHLIOMOVICH                      SVF RIVA ANNAPOLIS, LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                      1801 W. OLYMPIC BLVD FILE 1282
HOUSTON, TX 77025                       HOUSTON, TX 77025                         PASADENA, CA 91199-1282




SVF RIVA ANNAPOLIS, LLC                 SVF RIVA ANNAPOLIS, LLC                   SVF RIVA ANNAPOLIS, LLC
C/O AMERICAN REALTY ADVISORS            C/O CITY NATIONAL BANK                    C/O CITY NATIONAL BANK
515 SOUTH FLOWER STREET, 49TH FLOOR     SRF RIVA ANNAPOLIS FILE 1282              SRF RIVA ANNAPOLIS FILE 1282
LOS ANGELES, CA 90071                   PASADENA, CA 91199                        PASADENA, CA 91199-1282




SW WOODSTOCK, LLC                       SWAMPSCOTT                                SWAMY THALLAPALLY
4151 ASHFORD DUNWOODY RD NE             ATTN: PROPERTY TAX DEPT.                  10201 S. MAIN STREET
STE 155                                 22 MONUMENT AVE                           HOUSTON, TX 77025
ATLANTA, GA 30319                       SWAMPSCOTT, MA 01907




SWARTZ LAW LLC                          SWATARA TOWNSHIP                          SWC ARBROOK 157 LTD
                                        599 EISENHOWER BLVD                       3102 MAPLE AVE STE 500
                                        HARRISBURG, PA 17111                      DALLAS, TX 75201




SWC ARBROOK 157 LTD                     SWC ARBROOK 157 LTD                       SWC ARBROOK 157 LTD
C/O CENCOR REALTY SERVICES              C/O THE WEITZMAN GROUP                    C/O THE WEITZMAN GROUP
PO BOX 660394                           ATTN: JOE LEA                             ATTN: JOE LEA
DALLAS, TX 75266                        3102 MAPLE AVENUE, SUITE 500              3102 MAPLE AVENUE, SUITE 500
                                        DALLAS, TX 75201                          DALLAS, TX 76015



SWC FM 2499 & FM 407 LTD                SWC TOWN EAST AND INDEPENDENCE, LTD.      SWEDES HOME IMPROVEMENT
4252 PAYSPHERE CIRCLE                   8235 DOUGLAS AVE, SUITE 620               138 FLORIDA AVE
SFERS 5800907049                        DALLAS, TX 75225                          PORTSMOUTH, VA 23707
CHICAGO, IL 60674




SWEET DREAMS INC DBA GOTCHA COVERED     SWEETMART LLC                             SWEETMART LLC
1300 EAST UPAS AVE                      1999 BRYAN ST                             4800 S.W. MACADAM AVE STE 120
MCALLEN, TX 78501                       DALLAS, TX 75201                          PORTLAND, OR 97239




SWEETMART LLC                           SWEETMART LLC                             SWIFT STOP, INC.
C/O DEERING MANAGEMENT GROUP INC.       C/O DEERING MGMT GROUP INC                ATTN: KARIM JAFFER
4800 S.W. MACADAM AVE STE 120           4800 S.W. MACADAM AVE STE 120             1875 GRAMERCY CT
PORTLAND, OR 97239                      PORTLAND, OR 97239                        DUNWOODY, GA 30338




SWIFTPAGE ACT LLC                       SWISS RE                                  SWM MARKET LP
621 17TH ST STE 500                     175 KING STREET                           11825 IH W 100
DENVER, CO 80293                        ARMONK, NY 10504                          SAN ANTONIO, TX 78230
SWM WESTBROOK LLC      Case 18-12241-CSS     Doc 26 Filed 10/05/18
                                      SWPB, LLC                      PageSWPB,
                                                                          1522LLC
                                                                               of 1739
C/O COLLIERS INTERNATIONAL MGMT- ALT  ATTN: JOEL ROMAN                   LURIE & ASSOCIATES LLC
LLC                                   2100 ROSS AVENUE, SUITE 2900       2650 THOUSAND OAKS BLVD STE 2350
PO BOX 78407                          DALLAS, TX 75201                   MEMPHIS, TN 38118
ATLANTA, GA 30357



SWWC UTILITIES INC                  SY GILBERT COMMONS I LLC             SY HOWE ARDEN LLC
2086A VALLEYDALE TERRACE            C/O SYWEST DEVELOPMENT, LLC          C/O SY WEST DEVELOPMENT LLC
BIRMINGHAM, AL 35244                ATTN: CANDICE MARTINEZ               ATTN: CANDICE MARTINEZ
                                    150 PELICAN WAY                      150 PELICAN WAY
                                    SAN RAFAEL, CA 94901                 SAN RAFAEL, CA 94901



SY HOWE ARDEN                       SY WEST DEVELOPMENT LLC              SY WEST DEVELOPMENT LLC
150 PELICAN WAY                     CANDICE MARTINEZ,VP PROPERTY         JED CRAIG
SAN RAFAEL, CA 94901                MANAGER                              150 PELICAN WAY
                                    150 PELICAN WAY                      SAN RAFAEL, CA 94901
                                    SAN RAFEAL, CA 94901



SYCAMORE CENTER DEKALB, LLC         SYCAMORE TWP JEDZ-NW                 SYCAN B CORP.
C/O MID-AMERICA MANAGEMENT CORP.    CITY OF DEER PARK                    840 BELTLINE ROAD, SUITE 202
ATTN: LEGAL DEPARTMENT              7777 BLUE ASH RD                     ATTN: PATTI LUNDEEN
3333 RICHMOND ROAD, SUITE 350       DEER PARK, OH 45236                  SPRINGFIELD, OR 97477
BEACHWOOD, OH 44122



SYDNEY BEST                         SYDNEY GOWANS                        SYDNEY LEDBETTER
10201 S. MAIN STREET                10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SYDNEY MYERS                        SYDNEY OTTO                          SYDNEY SMITH
10201 S. MAIN STREET                10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SYDNOR HYDRO GOLDCREST              SYDNOR HYDRO GOLDCREST               SYED ALI
2111 MAGNOLIA ST                    P.O. BOX 27181                       116 STANLEY DR
RICHMOND, VA 23223                  RICHMOND, VA 23261                   CENTEREACH, NY 11720




SYED ANIS                           SYED AZIZ                            SYED HUSSAIN
10201 S. MAIN STREET                10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SYED MANZOOR                        SYED MUGHNI                          SYED NAQVI
10201 S. MAIN STREET                10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                   HOUSTON, TX 77025                    HOUSTON, TX 77025




SYED SHAKOOR                        SYED SIKANDER                        SYED ZULFIQAR ALI NAQVI
10201 S. MAIN STREET                10201 S. MAIN STREET                 17918 MEADOWCREEK TRL
HOUSTON, TX 77025                   HOUSTON, TX 77025                    RICHMOND, TX 77407
SYEDA WASEEM           Case 18-12241-CSS    Doc
                                      SYEFELD    26ASSOCIATES,
                                              KEENE  Filed 10/05/18
                                                               LLC         PageSYFELD
                                                                                1523 KEENE
                                                                                      of 1739
                                                                                           ASSOCIATES LLC
10201 S. MAIN STREET                   165 WEST END AVE, SUITE 15M              165 W END AVE STE 15M
HOUSTON, TX 77025                      NEW YORK, NY 10023                       NEW YORK, NY 10023




SYLINA GONZALES                        SYLVESTER BAILEY                         SYLVESTER BULLOCK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




SYLVESTER PILGROM                      SYLVIA DEVELOPMENT CORP                  SYLVIA LOPEZ
10201 S. MAIN STREET                   1234 BOYLSTON ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                      CHESTNUT HILL, MA 02467                  HOUSTON, TX 77025




SYLVIA S KWAK SMITH                    SYLVIA S. ROMO, CPA, RTA, CTA            SYLVIE LEVESQUE
7834 ASTRA CIRCLE                      BEXAR CO., TAX ASSESSOR-COLLECTOR        10201 S. MAIN STREET
REYNOLDSBURG, OH 43068                 P.O. BOX 839950                          HOUSTON, TX 77025
                                       SAN ANTONIO, TX 78283-3950




SYM ISGRIG                             SYMANTEC CORPORTATION                    SYMBOL MATTRESS
10201 S. MAIN STREET                   350 ELLIS ST                             1100 S 12TH ST
HOUSTON, TX 77025                      MOUNTAIN VIEW, CA 94043                  WATERTOWN, WI 53094




SYMONE PERRY                           SYMONE WALTERS                           SYMSCIO LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                     383 CENTRAL AVE STE LL35
HOUSTON, TX 77025                      HOUSTON, TX 77025                        DOVER, NH 03820




SYNCPOINT TECHNOLOGY GROUP LLC         SYNEREGY MANAGEMENT                      SYNERGY MANAGEMENT
1227 N PEACHTREE PKWY STE 104          127 VINCENT AVE                          P.O. BOX 55235
PEACHTREE CITY, GA 30269               METAIRIE, LA 70009                       METAIRIE, LA 70055-5235




SYRANO MORROW                          SYSCO INC                                SYSCO USA I INC
10201 S. MAIN STREET                   10710 GREENS CROSSING BLVD               SYSCO INC
HOUSTON, TX 77025                      HOUSTON, TX 77038-2716                   1390 ENCLAVE PKWY
                                                                                HOUSTON, TX 77077




SYTHA JONES                            SYUFY ENTERPRISES LP                     SYWEST DEVELOPMENT
10201 S. MAIN STREET                   DBA SY GILBERT COMMONS I LLC             150 PELICAN WAY
HOUSTON, TX 77025                      SYWEST DEVELOPMENT LLC                   SAN RAFAEL, CA 94901
                                       150 PELICAN WAY
                                       SAN RAFAEL, CA 94901



T & H CONSTRUCTION CO. INC             T & J DELIVERY SERVICES LLC              T ALTON CORNERS IL LLC
PO BOX 5140                            619 W OAKS DR                            16600 DALLAS PARKWAY, SUITE 300
COLUMBIA, SC 29250-5149                WOODSTOCK, GA 30188                      DALLAS, TX 75248
T ALTON CORNERS IL LLC Case    18-12241-CSS
                                         T ALTONDoc 26 ILFiled
                                                 CORNERS  LLC 10/05/18        PageT1524   of 1739
                                                                                    L STREET MARKETPLACE MAIN NE LLC
ATTN: CINDY COMPTON                       PO BOX 209277                            16600 DALLAS PKWY, STE 300
2917 N. VERMILION STREET                  AUSTIN, TX 78720-9277                    DALLAS, TX 75248-2610
DANVILLE, IL 61832




T L STREET MARKETPLACE MAIN NE LLC        T L STREET MARKETPLACE NE LLC            T PENINSULA LMJ LLC
PO BOX 209277                             ATTN: LEASE ADMINISTRATION               16600 DALLAS PKWY, STE 300
AUSTIN, TX 78720-9277                     16600 NORTH DALLAS PARKWAY, SUITE 300    DALLAS, TX 75248-2610
                                          DALLAS, TX 75248




T PENINSULA LMJ LLC                       T PENINSULA LMJ VA LLC                   T PENINSULA LMJ VA, LLC
P.O. BOX 209277                           16600 DALLAS PKWY, STE 300               16600 DALLAS PARKWAY, SUITE 300
AUSTIN, TX 78720-9277                     DALLAS, TX 75248-2610                    DALLAS, TX 75248




T PENINSULA LMJ VA, LLC                   T PENINSULA LMJ VA, LLC                  T PLANTATION FL LLC
AVA GREEN, PROPERTY MANAGER               PO BOX 209277                            PO BOX 209277
1620 MERCHANT LANE                        AUSTIN, TX 78720-9277                    AUSTIN, TX 78720-9277
HAMPTON, VA 23666




T PRESCOTT AZ LLC                         T WEST ASHLEY SC LLC                     T&V PROPERTY, LLC
PO BOX 209277                             PO BOX 209277                            C/O VISION INVESTMENT PARTNERS, LLC
AUSTIN, TX 78720-9277                     AUSTIN, TX 78720-9277                    40700 WOODWARD AVE STE 125
                                                                                   BLOOMFIELD HILLS, MI 48304




T&V PROPERTY, LLC                         T. FARESE & SONS                         T. FARESE & SONS
C/O VISION INVESTMENT PARTNERS, LLC       217 POINIER ST                           P.O. BOX 384
40700 WOODWARD AVENUE, SUITE 125          NEWARK, NJ 07114                         EAST HANOVER, NJ 07936-0384
BLOOMFIELD HILLS, MI 48304




T. HANSEN TRANSPORT                       T2 INTERNATIONAL                         T2 PRODUCTS INTERNATIONAL
PO BOX 911                                144 TALBERT POINTE DR                    PO BOX731107
MANSFIELD, MA 02048                       MOORESVILLE, NC 28117                    DALLAS, TX 75373-1107




T2 PRODUCTS, LLC.                         T3 PROPERTIES                            TA ASSOCIATES REALTY
144 TALBERT POINTE DR., SUITE 103         CO RAYNELL D TOLER                       ATTN: ASSET MANAGER
MOORESVILLE, NC 28117                     330 HARPER PARK DRIVE SUITE G            28 STATE STREET, 10TH FLOOR
                                          BECKLEY, WV 25801                        BOSTON, MA 02109




TA MIDDLETOWN, LLC                        TAAD LBERT                               TABARAK MUGHAL
955 WASHINGTON STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
MIDDLETOWN, CT 06457                      HOUSTON, TX 77025                        HOUSTON, TX 77025




TABARE DIAZ                               TABATHA GRAY                             TABATHA WATTS
10201 S. MAIN STREET                      205 SPRINGCREST DR                       10201 S. MAIN STREET
HOUSTON, TX 77025                         SEVEN SPRINGS, NC 28578                  HOUSTON, TX 77025
TABETHA CRAWFORD        Case 18-12241-CSS    Doc
                                       TABETHA    26
                                               SMITH        Filed 10/05/18   PageTABITHA
                                                                                  1525 of  1739
                                                                                         CLARDY
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TABITHA HERTLER                         TABITHA PARKS                            TABITHA ROBERTS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TABLEAU SOFTWARE INC                    TABOOLA INC                              TABOOLO INC
837 N 34TH ST STE 200                   1115 BROADWAY 7TH FL                     1115 BROADWAY 7TH FL
SEATTLE, WA 98103                       NEW YORK, NY 10010                       NEW YORK, NY 10010




TACOMA CITY TREASURER                   TACOMA DELIVERY SERVICES                 TACOMA NEWS INC
FIRE DEPT                               202 WERT AVE                             DBA THE NEWS TRIBUNE
PO BOX 11367                            HAMILTON, NJ 08610                       PO BOX 11632
TACOMA, WA 98411-0367                                                            TACOMA, WA 98411-6632




TACOMA PUBLIC UTILITIES                 TAD INGLESBY                             TADD BAINES
P.O. BOX 11010                          10201 S. MAIN STREET                     10201 S. MAIN STREET
TACOMA, WA 98411-1010                   HOUSTON, TX 77025                        HOUSTON, TX 77025




TAENZER, ETTENSON, STOCKTON &           TAFOYA JUAN CARLOS                       TAFT CORNERS ASSOCIATES
ABERANT, P.C.                           1209 ROAN DR                             C/O J. L. DAVIS INC
123 NORTH CHURCH STREET                 LANCASTER, TX 75134                      2 CHURCH ST
P.O. BOX 237                                                                     BURLINGTON, VT 05401
ATTN: ALAN H. ETTENSON, ESQ.
MOORESTOWN, NJ 08057


TAFT CORNERS ASSOCIATES                 TAG REALTY, LLC                          TAG REALTY, LLC
C/O J.L. DAVIS, INC                     102 PITNEY AVE                           102 PITNEY AVE
2 CHURCH ST                             SPRING LAKE, NJ 07712                    SPRING LAKE, NJ 07762
BURLINGTON, VT 05401




TAG REALTY, LLC                         TAG/ICIB SERVICES INC                    TAGEN PHILLIPS
102 PITNEY AVENUE                       2290 ALAHAO PLACE STE 303                10201 S. MAIN STREET
SPRING LAKE, NJ 07712                   HONOLULU, HI 96819                       HOUSTON, TX 77025




TAHIR NAVEED                            TAHOE TEL-COM                            TAILAH BLACKMON
10201 S. MAIN STREET                    7335 VASSAR AVE.                         10201 S. MAIN STREET
HOUSTON, TX 77025                       LA MESA, CA 91941                        HOUSTON, TX 77025




TAILWIND GROUP INC                      TAILWIND VOICE & DATA, INC               TAIWAN DIXON
C/O MID-AMERICA REAL ESTATE -           15350 25TH AVENUE N STE. 114             10201 S. MAIN STREET
MINNESOTA, LLC                          MINNEAPOLIS, MN 55447                    HOUSTON, TX 77025
530 SOUTH FRONT STREET, SUITE 100
MANKATO, MN 56001
TAIYANIS BROWN           Case 18-12241-CSS    Doc
                                        TAJANAE    26 Filed 10/05/18
                                                STEWART                PageTAK
                                                                            1526
                                                                               NINEof 1739
                                                                                    R/E INC.
10201 S. MAIN STREET                     10201 S. MAIN STREET               ATTN: PETER DAFNOS
HOUSTON, TX 77025                        HOUSTON, TX 77025                  614 9TH AVENUE
                                                                            NEW YORK, NY 10036




TAKARA JONES                             TAKERA NICHOLS                     TAKIRA GOSS
10201 S. MAIN STREET                     326 RIPPLING STREAM RD.            10201 S. MAIN STREET
HOUSTON, TX 77025                        DURHAM, NC 27704                   HOUSTON, TX 77025




TAL MOR, P.C.                            TALAL BOU HAMDAN                   TALAL DORCHY
ATTN: TAL MOR, ESQ.                      10201 S. MAIN STREET               10201 S. MAIN STREET
50 TICE BOULEVARD, SUITE 320             HOUSTON, TX 77025                  HOUSTON, TX 77025
WOODCLIFF LAKE, NJ 07677




TALALAY GLOBAL                           TALARRIUS LIKELY                   TALAY TRAILER SALES & RENTALS
PO BOX 638897                            111 SKYLARK DR.                    40 SWEENEYDALE AVE
CINCINNATI, OH 45263-8897                MURFREESBORO, TN 37129             BAY SHORE, NY 11706




TALBOT                                   TALEIAH PARRISH                    TALENT WISE
ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET               P.O. BOX 3876
11 N WASHINGTON ST STE 16                HOUSTON, TX 77025                  SEATTLE, WA 98124-3876
EASTON, MD 21601




TALEO CORPORATION                        TALHA YOUSAFI                      TALISA MORGAN
P.O. BOX 35660                           10201 S. MAIN STREET               320 GREENBRIAR DR
NEWARK, NJ 07193-5660                    HOUSTON, TX 77025                  GREENWOOD, SC 29649




TALISMARK                                TALLAHASSEE DEMOCRAT               TALLAHASSEE DEMOCRAT
1000 PRIMERA BLVD STE 2150               FEDERATED PUBLICATIONS             PO BOX 677585
LAKE MARY, FL 32746                      277 N MAGNOLIA DR                  DALLAS, TX 75267
                                         TALLAHASSEE, FL 32301




TALLES ROBBINS REHOBETH LLC              TALLEY-ANCHOR SIGN CO. INC.        TALOS TRAVIS
C/O PARAGON COMMERCIAL PROPERTY          1044 RURITAN BLVD                  10201 S. MAIN STREET
MGMT                                     CHESAPEAKE, VA 23324               HOUSTON, TX 77025
60 WEST STREET, SUITE 204
ANNAPOLIS, MD 21401



TALX UC EXPRESS                          TALX UCM SERVICES INC              TAMAKI FOBBS
4076 PAYSPHERE CIRCLE                    DBA TALX UC EXPRESS                10201 S. MAIN STREET
CHICAGO, IL 60674-4076                   4076 PAYSPHERE CIRCLE              HOUSTON, TX 77025
                                         CHICAGO, IL 60674




TAMARA BYRD                              TAMARA FLORES                      TAMARA FRANCISCO
10201 S. MAIN STREET                     10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                  HOUSTON, TX 77025
TAMARA FRANCISCO       Case 18-12241-CSS
                                      TAMARADoc  26
                                             HEFLIN      Filed 10/05/18   PageTAMARA
                                                                               1527 of  1739
                                                                                     HILINSKI
10201 S. MAIN STREET                   3223 N TERRY                            10201 S. MAIN STREET
HOUSTON, TX 77025                      FORT WORTH, TX 76106                    HOUSTON, TX 77025




TAMARA HOGUE                           TAMARA REED                             TAMARA SWORD
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TAMARA VILLA                           TAMARA WYNETTE IVEY                     TAMARA Z. RILEY, SEPARATE PROPERTY
10201 S. MAIN STREET                   13923 SUFFOLK WOODS LN                  TRUST
HOUSTON, TX 77025                      HOUSTON, TX 77047                       C/O YORK PROPERTIES, INC.
                                                                               2108 CLARK AVE
                                                                               RALEIGH, NC 27605



TAMATHA JONES                          TAMBRIANNA HILL                         TAMEIA BELL
10201 S. MAIN STREET                   1962 SAWGRASS DR                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HAMPTON, GA 30228                       HOUSTON, TX 77025




TAMEKA COLE                            TAMERA WELLS                            TAMI PELISCHEK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TAMIKA COUNTS                          TAMIKA DINNON                           TAMIKA HARRIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TAMIKA T MALLARD                       TAMIKA TROTTER                          TAMIM ANSARI
11849 SW 26TH STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
DAVIE, FL 33325                        HOUSTON, TX 77025                       HOUSTON, TX 77025




TAMISHA DIEGO                          TAMMIE PERLMUTTER                       TAMMY ATKINSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TAMMY CARSON                           TAMMY COLLINS                           TAMMY DEPANICIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TAMMY DODSON                           TAMMY DOGGETT                           TAMMY FRIEDECK
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
TAMMY J MCRAE        Case    18-12241-CSS
                                       TAMMY Doc 26 Filed 10/05/18
                                             LAWRENCE                       PageTAMMY
                                                                                 1528 LAWRENCE
                                                                                       of 1739
TAX ASSESSOR COLLECTOR                   702 JOHNSON AVE.                       C/O LAW OFFICES OF CRAIG ALTMAN P.C.
PO BOX 4798                              BOOTHWYN, PA 19061                     ATTN: CRAIG ALTMAN
HOUSTON, TX 77210                                                               1173 EAST LANDIS AVENUE FRONT, SUITE
                                                                                103
                                                                                VINELAND, NJ 08360


TAMMY LEE CHATWOOD                       TAMMY MORRIS                           TAMMY SAJ
1316 PASADENA AVE                        10201 S. MAIN STREET                   10201 S. MAIN STREET
METAIRIE, LA 70001                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TAMMY SALA                               TAMMY SANDOVAL                         TAMMY WILMER
10201 S. MAIN STREET                     222 E FLEET DR                         10201 S. MAIN STREET
HOUSTON, TX 77025                        TEMPE, AZ 85283                        HOUSTON, TX 77025




TAMMY WILSON                             TAMMY WRIGHT                           TAMPA BAY TIMES
10201 S. MAIN STREET                     10201 S. MAIN STREET                   DEPT 3396
HOUSTON, TX 77025                        HOUSTON, TX 77025                      PO BOX 123396
                                                                                DALLAS, TX 75312-3396




TAMPA ELECTRIC                           TAMPA ELECTRIC                         TAMPA IDEALEASE LLC
C/O RUTH OBRIEN, MGR CLAIMS LITIGATION   P.O. BOX 31318                         5951 ORIENT RD
SVC                                      TAMPA, FL 33631-3318                   TAMPA, FL 33610
702 N FRANKLIN ST
TAMPA, FL 33602



TAMPA IDEALEASE LLC                      TAMPA MEDIA GROUP INC                  TAMPA TARPON SPRINGS
PO BOX 532270                            DBA THE TAMPA TRIBUNE                  ATTN: ARMANDO FLORES
ATLANTA, GA 30353-2270                   202 PARKER ST                          4015 CARROLL WOOD VILLAGE DR
                                         TAMPA, FL 33606                        TAMPA, FL 33618




TAMRA KNIGHT                             TAMSBERG BROTHERS INVESTMENT CO,       TAMSBERG BROTHERS INVESTMENT
PO BOX 426                               LLC                                    COMPANY, LLC
MANVEL, TX 77578                         C/O AVISON YOUNG-NORTH CAROLINA        C/O AVISON YOUNG-NORTH CAROLINA
                                         5440 WADE PARK BLVD STE 200            5440 WADE PARK BLVD STE 200
                                         RALEIGH, NC 27607                      RALEIGH, NC 27607



TAMSIR J. JOBE                           TANDEM MEDIA NETWORK                   TANEISHA DELSOLIO
10201 S. MAIN STREET                     314 W MARKET ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                        SANDUSKY, OH 44870                     HOUSTON, TX 77025




TANEISHA PATTERSON-GARDNER               TANEKA JOHNSON                         TANEY COUNTY COLLECTOR
3840 N FRUIT AVE APT 21                  10201 S. MAIN STREET                   ATTN: PROPERTY TAX DEPT.
FRESNO, CA 93705                         HOUSTON, TX 77025                      PO BOX 278
                                                                                FORSYTH, MO 65653




TANGEE BAKER                             TANGIPAHOA PARISH SHERIF               TANGIPAHOA PARISH TAX COLLECTOR
10201 S. MAIN STREET                     PO BOX 942                             ATTN: SALES & USE TAX DEPT.
HOUSTON, TX 77025                        AMITE, LA 70422-0942                   P. O. BOX 159
                                                                                AMITE, LA 70422
TANGIPAHOA            Case   18-12241-CSS    Doc 26
                                       TANGLEWOOD     Filed
                                                  COURT     10/05/18
                                                        ASSOCIATES LP   PageTANGLEWOOD
                                                                             1529 of 1739
                                                                                       COURT ASSOCIATES LP
ATTN: PROPERTY TAX DEPT.                4500 BISSONNET ST, STE 300           FIDELIS REALTY PARTNERS LTD
PO BOX 942                              BELLAIRE, TX 77401                   PO BOX 732640
AMITE, LA 70422-0942                                                         DALLAS, TX 75373-2640




TANGLEWOOD PARKWAY ELIZABETH CITY       TANIA FLORES                         TANIA GRIGORIAN
LLC                                     10201 S. MAIN STREET                 336 E FLORAL DR
901 WABASH AVE STE 300                  HOUSTON, TX 77025                    MONTEREY PARK, CA 91755
TERRE HAUTE, IN 47807




TANIA MARTINEZ                          TANIA TOVAR                          TANIA WARE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TANIKA MCNEIL                           TANISHA FOSTER                       TANISHA KING
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TANISHA PRIMUS                          TANIYA BAZILLE                       TANJA ANAKIJEVA
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TANNENBAUM HELPERN SYRACUSE             TANNER BIVENS                        TANNER BROWN
& HIRSCHTRITT LLP                       10201 S. MAIN STREET                 10201 S. MAIN STREET
900 THIRD AVE                           HOUSTON, TX 77025                    HOUSTON, TX 77025
NEW YORK, NY 10022-4775




TANNER HENRIE                           TANNER HERRERA                       TANNER KRCHNAVY
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TANNER RAINWATER                        TANNER SHEPHERD                      TANNY CHASE MILLER
10201 S. MAIN STREET                    10201 S. MAIN STREET                 2114 LAMONTE LN
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77018




TANVEER MIR                             TANYA ASCANI                         TANYA BETTENCOURT
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TANYA CRUSE                             TANYA EDMONDS                        TANYA KILLIAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025
TANYA KILLIAN           Case 18-12241-CSS    Doc 26 Filed 10/05/18
                                       TANYA RICHARDSON              PageTANYA
                                                                          1530RODGERS
                                                                               of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET              1815 RONALD AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                 FORTUNA, CA 95540




TANYA ROSS-LANE                        TANYA SMITH                       TANYA VARGAS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




TANZ HOLDINGS, LLC                     TAP INVESTMENTS, LLC              TAPS FISH HOUSE & BREWERY
ATTN: CHARLOTTE ELLIOTT                2903 N. AUGUSTA STREET            2745 LAKESHORE DR
18800 HUBBARD DRIVE, SUITE 200         STAUNTON, VA 24401                CORONA, CA 92883
DEARBORN, MI 48126




TAPTERA INC                            TAPTERA INC                       TARA BOWSER
300 BRANNAN ST STE 501                 665 3RD STREET 205                114 SAWYER CIRCLE
SAN FRANCISCO, CA 94107                SAN FRANCISCO, CA 94107           SCOTTS VALLEY, CA 95066




TARA BRADY                             TARA FRANK                        TARA GAMBETTA
10201 S. MAIN STREET                   5611 UPPER 183RD ST W             10201 S. MAIN STREET
HOUSTON, TX 77025                      FARMINGTON, MN 55024              HOUSTON, TX 77025




TARA GRANTHAM                          TARA GRIMES                       TARA HARRION
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




TARA HOLCOMB                           TARA KHLEIF                       TARA MARTIN
10201 S. MAIN STREET                   1436 PINYON PINE DR               10201 S. MAIN STREET
HOUSTON, TX 77025                      SARASOTA, FL 34240                HOUSTON, TX 77025




TARA RAMPINO                           TARA RAYMUNDO                     TARA STEVENSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              810 IRON DUFF RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                 WAYNESVILLE, NC 28785




TARA WHITLEY                           TARELL LEE                        TAREN SLOT
7548 COX PK                            10201 S. MAIN STREET              10201 S. MAIN STREET
FAIRVIEW, TN 37062                     HOUSTON, TX 77025                 HOUSTON, TX 77025




TARGETBASE                             TARIKA RIVERS                     TARIQ CHEEMA
P.O. BOX 844244                        10201 S. MAIN STREET              10201 S. MAIN STREET
DALLAS, TX 75284-4244                  HOUSTON, TX 77025                 HOUSTON, TX 77025
TARIQ HURST           Case      18-12241-CSS    Doc 26
                                          TARIQ MAYO        Filed 10/05/18   PageTARIQ
                                                                                  1531WAJID
                                                                                       of 1739
75 SHOEMAKER CT APT 101                   10201 S. MAIN STREET                   10201 S. MAIN STREET
MEMPHIS, TN 38103                         HOUSTON, TX 77025                      HOUSTON, TX 77025




TARON HECK                                TARONA WILLIAMS                        TARRAGON PROPERTY SERVICES
10201 S. MAIN STREET                      10201 S. MAIN STREET                   ATTN: LYDIA GATHARA
HOUSTON, TX 77025                         HOUSTON, TX 77025                      10507 156TH STREET E, SUITE 101
                                                                                 PUYALLUP, WA 98374




TARRANT COUNTY APPRAISAL DISTRICT         TARRANT COUNTY TAX ASSESSOR-           TARTAGLIA COMMERCIAL PROPERTIES
ATTN: PROPERTY TAX DEPT.                  COLLECTOR                              477 MAIN STREET
P.O. BOX 961018                           ATTN: PROPERTY TAX DEPT.               MONROE, CT 06468
FORT WORTH, TX 76161-0018                 P.O. BOX 961018
                                          FORT WORTH, TX 76161-0018



TARTER KRINSKY & DROGIN LLP               TARUN TENGAR                           TAS EXPRESS
1350 BROADWAY                             1920 S THROOP ST APT BF                4543 NW 90TH AVE
NEW YORK, NY 10018                        CHICAGO, IL 60608                      SUNRISE, FL 33351




TASHA CAIN                                TASHA EVANS                            TASHA GAINES
10201 S. MAIN STREET                      7176 ARCASTLE LOOP E                   10201 S. MAIN STREET
HOUSTON, TX 77025                         SOUTHAVEN, MS 38671                    HOUSTON, TX 77025




TASHA HARRIS                              TASHA SANDERS                          TASHA STEVENS
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




TASHA WHITE                               TASHIA WOOD                            TASHIRA REYES
10201 S. MAIN STREET                      10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77025




TASHLAND ROBINSON                         TASHMAL MARTIN                         TASIA SAPP
10201 S. MAIN STREET                      10201 S. MAIN STREET                   3013 CARIBOU COURT
HOUSTON, TX 77025                         HOUSTON, TX 77025                      MESQUITE, TX 75181




TASTE OF OMAHA INC                        TASTEMADE INC                          TATE 114 SHOPPING CENTER, LTD
7015 SPRING ST                            FINANCE                                C/O THE WEITZMAN GROUP
OMAHA, NE 68106-3518                      3019 OLYMPIC BLVD STAGE C              ATTN: GREG CULCHIN
                                          SANTA MONICA, CA 90404                 3102 MAPLE AVENUE, SUITE 500
                                                                                 DALLAS, TX 75201



TATE 114 SHOPPING CENTER, LTD             TATE TATE                              TATIANA BLACKBURN
CENCOR REALTY SERVICES LTD                10201 S. MAIN STREET                   10201 S. MAIN STREET
PO BOX 660394                             HOUSTON, TX 77025                      HOUSTON, TX 77025
DALLAS, TX 75266-0394
TATIANA BORRERO        Case 18-12241-CSS    Doc
                                      TATIANA    26 Filed 10/05/18
                                              GEORGE                         PageTATIANA
                                                                                  1532 of  1739
                                                                                         HEREDIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




TATIANA KEITZ                          TATIANA PORTILLO RAMIREZ                   TATIANA ZARAGOZA
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




TATIANNA HOWARD                        TATIEYANAH TAILO                           TATM III, LLC
10201 S. MAIN STREET                   5208 BENTLEY XING                          811 CORPORATE DR STE 101
HOUSTON, TX 77025                      COLLEGE PARK, GA 30349                     LEXINGTON, KY 40503




TATM III, LLC                          TATUM VENTURE, LLC                         TATUM VENTURE, LLC
811 CORPORATE DRIVE, SUITE 101         C/O WEST VALLEY ARIZONA, INC               C/O WEST VALLEY PROPERTIES, INC.
LEXINGTON, KY 40503                    ATTN: REAL ESTATE MANAGER                  ATTN: LEGAL DEPARTMENT
                                       2929 EAST CAMELBACK ROAD, SUITE 124        280 SECOND STREET, SUITE 230
                                       PHOENIX, AZ 85016                          LOS ALTOS, CA 94022



TATYANA BROWN                          TATYANA ESPER                              TATYANA NAUMOVA
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




TAUQEER PERRY                          TAURUS CD 181 1590 CENTURY CENTER          TAURUS CD 181 1590 CENTURY CENTER
10201 S. MAIN STREET                   PKWY LLC                                   PKWY LLC
HOUSTON, TX 77025                      COMM ADVISORS ASSET SVCS LLC               C/O TRIBEK PROPERTIES, INC.
                                       5101 WHEELIS DR STE 320                    101 S. KINGS DRIVE, SUITE 200
                                       MEMPHIS, TN 38117                          CHARLOTTE, NC 28204



TAURUS CD 181 1590 CENTURY CENTER      TAURUS MODAL GROUP LLC                     TAUSIF HANIF
PKWY LLC                               935 W CHESTNUT ST LL-15                    10201 S. MAIN STREET
COMM ADVISORS ASSET SVCS LLC           CHICAGO, IL 60642                          HOUSTON, TX 77025
5101 WHEELIS DR STE 320
MEMPHIS, TN 38117



TAUSINGA FIFITA                        TAVARAS SHANNON                            TAVARES WHITE
10201 S. MAIN STREET                   4900 N ROXBORO RD 321                      10201 S. MAIN STREET
HOUSTON, TX 77025                      DURHAM, NC 27704                           HOUSTON, TX 77025




TAVAREZ TRUCKING CO INC                TAVARIS VELAZQUEZ                          TAVERA, PEDRO
18 KEITH ST                            10201 S. MAIN STREET                       9802 35TH AVE
SPRINGFIELD, MA 01108                  HOUSTON, TX 77025                          CORONA, NY 11368-1837




TAVIS PEEKS                            TAVORIS HALL                               TAWAB WAHIDI
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025
TAWNYA PATURZO         Case 18-12241-CSS   Doc
                                      TAWSEA    26 Filed 10/05/18
                                             CONTRERAS                    PageTAX
                                                                               1533  of 1739
                                                                                  APPRAISAL DISTRICT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                      HOUSTON, TX 77025                       PO BOX 390
                                                                               BELTON, TX 76513




TAX COLLECTOR - SOUTHBURY              TAX COLLECTOR BUNCOMBE COUNTY           TAX COLLECTOR CITY OF ORANGE
DEPT 3610                              ATTN: PROPERTY TAX DEPT.                617 ORANGE CENTER RD
PO BOX 4110                            94 COXE AVE                             ORANGE, CT 06477
WOBURN, MA 01888-4110                  ASHEVILLE, NC 28801-3620




TAX COLLECTOR CITY OF WATERBURY        TAX COLLECTOR FOR POLK COUNTY           TAX COLLECTOR NORTH HAVEN
PO BOX 1560                            P.O. BOX 2016                           PO BOX 900
HARTFORD, CT 06144-1560                BARTOW, FL 33831-2016                   HARTFORD, CT 06143-0900




TAX COLLECTOR OLD SAYBROOK             TAX COLLECTOR PALM BEACH CO.            TAX COLLECTOR
302 MAIN ST                            P.O. BOX 3353                           P.O. BOX 961018
OLD SAYBROOK, CT 06475                 WEST PALM BEACH, FL 33402-3353          FT. WORTH, TX 76161-0018




TAX COLLECTOR-BRANFORD                 TAX COLLECTOR-GUILFORD                  TAX COLLECTOR-PARISH OF ST. TAMMANY
PO BOX 136                             31 PARK ST                              P.O. BOX 61080
BRANFORD, CT 06405                     GUILFORD, CT 06437                      NEW ORLEANS, LA 70161-1080




TAX COLLECTOR-TOWN OF GUILFORD         TAX COMPLIANCE INC                      TAX DIVISION TOWN OF GROTON
31 PARK ST                             TCI ACQUISITION CORP.                   PO BOX 981061
GUILFORD, CT 06437                     10089 WILLOW CREEK ROAD, STE 300        BOSTON, MA 02298-1061
                                       SAN DIEGO, CA 92131




TAX TRUST ACCOUNT                      TAX TRUST ACCOUNT-MUNISERVICES          TAYE TIBEBU
C/O DISCOVERY RECOVERY DEPT            438 E SHAW AVENUE BOX 367               10201 S. MAIN STREET
PO BOX 830471                          FRESNO, CA 93710                        HOUSTON, TX 77025
BIRMINGHAM, AL 35283




TAY-KU (CR), LLC                       TAY-KU LLC                              TAY-KU LLC
C/O OLIVE REAL ESTATE MGMT SERVICES,   2000 1ST AVE 1504                       ATTN: PAULA TAYSI
LLC                                    SEATTLE, WA 98121                       550 FRONT STREET, 1408
102 N. CASCADE AVE, SUITE 250                                                  SAN DIEGO, CA 92101
COLORADO SPRINGS, CO 80903



TAY-KU LLC                             TAYLA COLLINS                           TAYLA COLLINS
C/O OLIVE REAL ESTATE MGMT SERVICES    10201 S. MAIN STREET                    10201 S. MAIN STREET
102 N CASCADE AVE STE 250              HOUSTON, TX 77025                       HOUSTON, TX 77025
COLORADO SPRINGS, CO 80903




TAYLER GOLDENSTEIN                     TAYLER GOODBOE                          TAYLER WOOLUMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
TAYLOR ALLEN          Case     18-12241-CSS
                                         TAYLORDoc  26 Filed 10/05/18
                                                APOSTOL                   PageTAYLOR
                                                                               1534 of 1739
                                                                                     BALL
2350 BLACKBURN RD SE APT 412             34 COLONIAL DR                       10201 S. MAIN STREET
CLEVELAND, TN 37311                      LONDONDERRY, NH 03053                HOUSTON, TX 77025




TAYLOR BASTYS                            TAYLOR BATES                         TAYLOR BLATT
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




TAYLOR BRADSHAW                          TAYLOR BREEN                         TAYLOR BRIDGMAN
982 WIND MILL LN                         3806 NW 63RD TERR                    10201 S. MAIN STREET
KAYSVILLE, UT 84037                      KANSAS CITY, MO 64151                HOUSTON, TX 77025




TAYLOR CLAWSON                           TAYLOR CPB PROPERTY LLC              TAYLOR DOLPHIN
10201 S. MAIN STREET                     ATTN: TODD MENDON                    10201 S. MAIN STREET
HOUSTON, TX 77025                        3500 W 75 ST STE 200                 HOUSTON, TX 77025
                                         PRAIRIE VILLAGE, KS 66208-4121




TAYLOR DRAPER                            TAYLOR ELLIN                         TAYLOR FUCHS
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




TAYLOR G HOLLAND IV                      TAYLOR GOLDSTEIN                     TAYLOR GOODNIGHT
3433 PENDULUM DR E                                                            10201 S. MAIN STREET
HERNANDO, MS 38632                                                            HOUSTON, TX 77025




TAYLOR GRADY                             TAYLOR GRUMAN                        TAYLOR HEWITT
10201 S. MAIN STREET                     28 STONERIDGE RD                     10201 S. MAIN STREET
HOUSTON, TX 77025                        DRUMS, PA 18222                      HOUSTON, TX 77025




TAYLOR HOBBS                             TAYLOR HOLLOMAN                      TAYLOR JONES
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




TAYLOR KEEFE                             TAYLOR KING                          TAYLOR LOOPER
10201 S. MAIN STREET                     10201 S. MAIN STREET                 2816 AUBURN DR
HOUSTON, TX 77025                        HOUSTON, TX 77025                    MIDLAND, TX 79705




TAYLOR LUCAS                             TAYLOR MARIE GIBSON                  TAYLOR NISSON
10201 S. MAIN STREET                     8279 JOHNSON ST                      10201 S. MAIN STREET
HOUSTON, TX 77025                        MERRILLVILLE, IN 46410               HOUSTON, TX 77025
                      CaseLLC
TAYLOR NORTHEAST FRANKLIN   18-12241-CSS
                                      TAYLORDoc   26 Filed
                                             NORTHEAST       10/05/18
                                                        FRANKLIN SALE AND   PageTAYLOR
                                                                                 1535 of 1739
                                                                                       NUNEZ
SERVICE DEPT                          SERVI                                     10201 S. MAIN STREET
1003 NORTH KRESSON ST                 1003 NORTH KRESSON ST                     HOUSTON, TX 77025
BALTIMORE, MD 21205                   BALTIMORE, MD 21205




TAYLOR PERNELL                         TAYLOR SCHNEBERGER                       TAYLOR SHELTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




TAYLOR STARNES                         TAYLOR THOMPSON                          TAYLOR VALAZQUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     1337 LINCOLN AVE 2
HOUSTON, TX 77025                      HOUSTON, TX 77025                        SAINT PAUL, MN 55105




TAYLOR WARE                            TAYLOR WEATHERS                          TAYLOR WELLING
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




TAYLOR                                 TAYLORE GOODRICH                         TAYLORMADE PALLETS & LOGISTICS LLC
ATTN: PROPERTY TAX DEPT.               10201 S. MAIN STREET                     30023 FAIR WAY VISTA
PO BOX 1800                            HOUSTON, TX 77025                        FAIR OAKS RANCH, TX 78015
1534 S TREADAWAY
ABILENE, TX 79604



TAYLORMADE PALLETS & LOGISTICS LLC     TAZEEM SADIQ                             TB2 MANAGEMENT
9033 IH 10 EAST                        10201 S. MAIN STREET                     C/O HUNTER & ASSOCIATES
CONVERSE, TX 78109                     HOUSTON, TX 77025                        127 W. HARGETT ST STE. 100
                                                                                RALEIGH, NC 27601




TBB PRINTING LTD                       TBC DANADA EAST LLC                      TBE INC
ATTN: ACCTS RECEIVABLE-RETAIL          8567 SOLUTIONS CENTER                    DBA SONITROL OF PITTSBURGH
410 W ERWIN ST                         CHICAGO, IL 60677-8005                   610 MELWOOD AVE
TYLER, TX 75702                                                                 PITTSBURGH, PA 15213




TBR PROPERTY GROUP LLC                 TBS GARAGE DOORS INC                     TC - MET ORLANDO LLC
12052 49TH ST NORTH                    1545 CAPITAL DR 100                      C/O CROSSMAN & COMPANY
CLEARWATER, FL 33762                   CARROLLTON, TX 75006                     3333 S ORANGE AVE, SUITE 201
                                                                                ORLANDO, FL 32806




TC ELECTRICAL SERVICES INC             T-C ELLINGTON LLC                        T-C ELLINGTON LLC
PO BOX 1611                            LEASING OFFICE – THE ELLINGTON           LEASING OFFICE – THE ELLINGTON
WALDORF, MD 20604                      1301 U STREET NW                         1301 U STREET NW
                                       WASHINGTON, DC 20009                     WASHINGTON, DC 20009




TC RIVERVIEW, LLC                      TC RIVERVIEW, LLC                        TCA LOGISTICS CORP
ATTN: LATIMER T. WILSON, PRESIDENT     RMC PROPERTY MGMT GROUP                  66 RIGGS PLACE
21299 US HIGHWAY 27                    8902 N DALE MABRY HWY STE 200            LOCUST VALLEY, NY 11560
LAKE WALES, FL 33859                   TAMPA, FL 33614
                      Case
TCAM CORE PROPERTY FUND REIT18-12241-CSS
                             L              Doc 26GALLERIA
                                      TCB CLYBOURN      FiledLLC
                                                               10/05/18   PageTCB
                                                                               1536  of 1739
                                                                                  LANDSCAPING
DEPT LA 21546                         PO BOX 5693                              PO BOX 982126
PASADENA, CA 91185-1546               CAROL STREAM, IL 60197-5693              PARK CITY, UT 84098




TCB PICK OWNER LLC                      TCB PICK OWNER LLC                     TCB-OAKS, LLC
C/O ARTEMIS REAL ESTATE PARTNERS, LLC   NEWPORT CAPITAL PARTNERS               C/O NEWPORT CAPITAL HOLDING, LLC
5404 WISCONSIN AVENUE, SUITE 1150       350 N LASALLE ST STE 700               ATTN: SHANNON WOFFORD
CHEVY CHASE, MD 20815                   CHICAGO, IL 60654                      350 N. LASALLE, SUITE 700
                                                                               CHICAGO, IL 60654



TCB-OAKS, LLC                           TCB-OAKS, LLC                          TCB-WESTLAKE, LLC
NEWPORT CAPITAL PARTNERS HOLDING LLC    NEWPORT CAPITAL PARTNERS HOLDING LLC   C/O NEWPORT CAPITAL PARTNERS
350 N LASALLE ST STE 700                350 N. LASALLE, SUITE 700              ATTN: JANA LANGSTON
CHICAGO, IL 60654                       CHICAGO, IL 60654                      350 N. LASALLE, 700
                                                                               CHICAGO, IL 60654



TCB-WESTLAKE, LLC                       TCG SERVICES LLC                       TCIP-C LLC
PO BOX 5692                             PO BOX 632                             ATTN: TONY TERHAAR
CAROL STREAM, IL 60197-5692             EL DORADO, KS 67042                    1401 E BELMONT ST
                                                                               PENSACOLA, FL 32501-4321




TCIP-C LLC                              TCM MODELS & TALENT LLC                TC-MET ORLANDO LLC
ATTN: TONY TERHAAR                      2200 6TH AVE STE 530                   PO BOX 919518
1401 E BELMONT ST                       SEATTLE, WA 98121                      ORLANDO, FL 32891-9518
PENSACOLA, FL 32503-4321




TCN I LLC                               TCP                                    TD BANK, N.A.
PO BOX 5461                             7115 WN AVE STE 269                    ATTN: JENNIFER SPANN
DENVER, CO 80217                        OAK PARK, IL 60302-1002                324 S. Service Road
                                                                               4th Floor
                                                                               Melville, NY 11747



TD BANK, N.A.                           TD BANK, N.A.                          TD BANK, N.A.
ATTN: KEN TRETTER                       ATTN: LISA M. KOEHL                    ATTN: ROBERT EHRLICH
324 S. Service Road                     6000 ATRIUM WAY                        324 S. Service Road
4th Floor                               MOUNT LAUREL, NJ 08054                 4th Floor
Melville, NY 11747                                                             Melville, NY 11747



TD BANK, NA                             TD BANK, NA                            TDS BROADBAND LLC
324 SOUTH SERVICE ROAD                  AS SUCCESSOR BY MERGER TO              PO BOX 480
3RD FLOOR                               COMMERCE BANK, NA                      MONROE, WI 53566
MELVILLE, NY 11747                      1701 ROUTE 70 EAST
                                        CHERRY HILL, NJ 08034



TDS TELECOM SERVICE CORPORATION         TDS                                    TEACHERS LAWN CARE
P.O. BOX 94510                          P.O. BOX 94510                         C/O JIM POTTER
PALATINE, IL 60094-4510                 PALATINE, IL 60094-4510                200 MAYO AVENUE
                                                                               HARAHAN, LA 70123




TEADS                                   TEALIUM INC                            TEALIUM INC
55 5TH AVE 17TH FL                      11085 TORREYANA ROAD                   DEPT CH 19762
NEW YORK, NY 10003                      SAN DIEGO, CA 92121                    PALATINE, IL 60055-9762
                       Case
TEBO / MARSHALL PLAZA LLC     18-12241-CSS    Doc 26 Filed 10/05/18
                                        TEBO PROPERTIES               PageTEBO/MARHALL
                                                                           1537 of 1739PLAZA LLC
ACCOUNTS PAYABLE                        ATTN: JAMES DIXON                  ACCOUNTS PAYABLE
PO BOX T                                P.O. BOX T                         P.O. BOX T
BOULDER, CO 80306                       BOULDER, CO 80306                  BOULDER, CO 80306




TEBO/MARHALL PLAZA LLC                  TEC ASSOCIATES II, LLC             TECH DOGS LLC
C/O TEBO PROPERTIES                     11 FOREST ST                       1200 PLACID AVE STE 500
ATTN: JAMES DIXON                       NEW CANAAN, CT 06840               PLANO, TX 75074
P.O. BOX T
BOULDER, CO 80306



TECH DOGS LLC                           TECH ONE ASSOCIATES, LP            TECH ONE ASSOCIATES, LP
PO BOX 95498                            200 MARSHALL DR                    200 MARSHALL DR
GRAPEVINE, TX 76099-9752                CORAOPOLIS, PA 15108               MOON TOWNSHIP, PA 15108




TECH RIDGE AUSTIN LLC                   TECH RIDGE AUSTIN LLC              TECH RIDGE AUSTIN LLC
4125 NW 88TH AVE                        P.O. BOX 203157                    PNC BANK
SUNRISE, FL 33351                       DALLAS, TX 75320-3157              PO BOX 677645
                                                                           DALLAS, TX 75267-7645




TECHLEAD PROFESSIONAL SERVICES          TECHNICAL OFFSET PRINTING          TECHNICAL PACKAGING INC
119 E RHAPSODY                          C/O S. PUCCIARELLI                 PO BOX 684665
SAN ANTONIO, TX 78216                   11 LAYTON AVE                      AUSTIN, TX 78768-4665
                                        HICKSVILLE, NY 11801




TECHNOGEL US                            TECHNOLOGENT                       TECHSKILLS 360 LLC
925 LIBERTY AVE 9TH FLOOR               C/O CA UNITED BANK                 7600 ORA GLEN DR 1301
PITTSBURGH, PA 15222                    15821 VENTURA BLVD STE 100         LANHAM, MD 20770
                                        ENCINO, CA 91436




TEC-LARM FIRE SYSTEMS                   TECO ELECTRIC                      TECO PEOPLES GAS
PO BOX 105                              P.O. BOX 31318                     C/O RUTH OBRIEN, MGR CLAIMS LITIGATION
GARDNER, KS 66030                       TAMPA, FL 33631-3318               SVC
                                                                           702 N FRANKLIN ST
                                                                           TAMPA, FL 33602



TECO PEOPLES GAS                        TECO PEOPLES GAS                   TECO
P.O. BOX 31017                          P.O. BOX 31318                     C/O RUTH OBRIEN, MGR CLAIMS LITIGATION
TAMPA, FL 33631-3017                    TAMPA, FL 33631-3318               SVC
                                                                           702 N FRANKLIN ST
                                                                           TAMPA, FL 33602



TECO                                    TECTA AMERICA CORP                 TED ALVEY
P.O. BOX 31318                          CEI ROOFING TEXAS LLC              10201 S. MAIN STREET
TAMPA, FL 33631-3318                    2510 COCKRELL AVE                  HOUSTON, TX 77025
                                        DALLAS, TX 75215




TED CAMAT                               TED GOLDSPIEL                      TED HARRIS
10201 S. MAIN STREET                    10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                  HOUSTON, TX 77025
TED HARROP               Case 18-12241-CSS    Doc 26
                                        TED KNATCAL       Filed 10/05/18   PageTED
                                                                                1538  of 1739
                                                                                   KREVER
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TED MCNEIL                              TED SEGER                              TEDDY JONES
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TEDDY ROY                               TEDDY WARREN                           TEDS TRASH SERVICE INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10736 E TRUMAN RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                      INDEPENDENCE, MO 64052




TEDS TRASH SERVICE INC                  TEG THE VALLEY LLC                     TEHRA QUALLS
P.O. BOX 520230                         382A ROUTE 59 STE 101                  10201 S. MAIN STREET
INDEPENDENCE, MO 64052                  AIRMONT, NY 10952                      HOUSTON, TX 77025




TEIGHLER ELKINS                         TEISSA BARLING                         TEKSYSTEMS INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                   7437 RACE RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HANOVER, MD 21076




TEKSYSTEMS INC                          TELADOC INC.                           TELADOC INC.
PO BOX 198568                           ATTN: ACCOUNTS RECEIVABLE              DEPT 3417
ATLANTA, GA 30384-8568                  4100 SPRING VALLEY, STE 600            PO BOX 123417
                                        DALLAS, TX 75244                       DALLAS, TX 75312




TELADOC PHYSICIANS P.A.                 TELEPACIFIC COMMUNICATIONS CO          TELEPACIFIC
1945 LAKEPOINT DR                       P.O. BOX 123123                        515 S FLOWER ST, 45TH FL
LEWISVILLE, TX 75057                    DEPT 3123                              LOS ANGELES, CA 90071
                                        DALLAS, TX 75312-3123




TELEPACIFIC                             TELESPHERE                             TELESYSTEM
P.O. BOX 509013                         DEPT 3151                              2700 OREGON RD
SAN DIEGO, CA 92150-9013                P.O. BOX 123151                        NORTHWOOD, OH 43619
                                        DALLAS, TX 75312-3151




TELESYSTEM                              TELLISA DAVIS                          TELLTALES MAGAZINE
P.O. BOX 94536                          10201 S. MAIN STREET                   P.O. BOX 1044
CLEVELAND, OH 44101-4536                HOUSTON, TX 77025                      SEABROOK, TX 77586




TELNES LLC DBA TELNES BROADBAND         TELWEST NETWORK SERVICES               TEMECULA VALLEY BALLOON & WINE
P.O. BOX 1246                           DEPARTMENT 3123                        FESTIVAL
EVERETT, WA 98206-1246                  P.O. BOX 123123                        41755 RIDER WAY UNIT 1
                                        DALLAS, TX 75312-3123                  TEMECULA, CA 92590
TEMK INVESTMENTS      Case 18-12241-CSS   Doc 26
                                     TEMPESETTE      Filed 10/05/18
                                                CLEMENT                        PageTEMPLE
                                                                                    1539 of  1739
                                                                                          DAILY TELEGRAM
CONTRA COSTA LLC                          10201 S. MAIN STREET                      P.O. BOX 6114
269 BELBLOSSOM DR                         HOUSTON, TX 77025                         TEMPLE, TX 76503
LOS GATOS, CA 95032




TEMPO HOLDING COMPANY, LLC                TEMPOSITIONS                              TEMPTROL CORP
4 OVERLOOK POINT                          622 THIRD AVE 39TH FLOOR                  801 COOPERTOWN RD
LINCOLNSHIRE, IL 60069                    NEW YORK, NY 10017                        PO BOX 5188
                                                                                    DELANCO, NJ 08075




TEMPUR PEDIC NORTH AMERICA LLC            TEMPUR PEDIC NORTH AMERICA LLC            TEMPUR PEDIC NORTH AMERICA, LLC, ET AL.
PO BOX 202707                             WELLS FARGO BANK                          C/O RUMBERGER, KIRK, & CALDWELL, PA
DALLAS, TX 75320                          420 MONTOMERY ST                          ATTN: SARA S. WHITEHEAD
                                          SAN FRANCISCO, CA 94104                   100 NORTH TAMPA STREET, SUITE 2000
                                                                                    TAMPA, FL 33601



TEMPUR PEDIC NORTH AMERICA, LLC, ET AL.   TEMPUR PEDIC NORTH AMERICA, LLC, ET AL.   TEMPUR PEDIC NORTH AMERICA, LLC, ET AL.
C/O RUMBERGER, KIRK, & CALDWELL, PA       C/O SEYFARTH SHAW LLP                     C/O SEYFARTH SHAW LLP
ATTN: SUZANNE B. HILL                     ATTN: BRANDON BIGELOW                     ATTN: EDWARD F. MALUF
300 SOUTH ORANGE AVENUE, SUITE 1400       TWO SEAPORT LANE, SUITE 300               620 EIGHTH AVENUE
ORLANDO, FL 32802                         BOSTON, MA 02210                          NEW YORK, NY 10018



TEMPUR PEDIC NORTH AMERICA, LLC, ET AL.   TEMPUR PEDIC NORTH AMERICA, LLC, ET AL.   TEMPUR-PEDIC MANAGEMENT, LLC
C/O SEYFARTH SHAW LLP                     C/O SEYFARTH SHAW LLP                     C/O RUMBERGER KIRK & CALDWELL
ATTN: ROBERT J. CARTY, JR.                ATTN: WILLIAM N. BERKOWITZ                ATTN: SUZANNE BARTO HILL
700 MILAM ST., SUITE 1400                 TWO SEAPORT LANE, SUITE 300               LINCOLN PLAZA SUITE 1400
HOUSTON, TX 77002                         BOSTON, MA 02210                          ORLANDO, FL 32802-1873



TEMPUR-PEDIC MANAGEMENT, LLC              TEMPUR-PEDIC NORTH AMERICA, LLC           TEMPUR-PEDIC NORTH AMERICA, LLC
C/O SEYFARTH SHAW LLP                     C/O RUMBERGER KIRK & CALDWELL             C/O SEYFARTH SHAW LLP
ATTN: EDWARD MALUF                        ATTN: SUZANNE BARTO HILL                  ATTN: EDWARD MALUF
620 EIGHTH AVENUE                         LINCOLN PLAZA SUITE 1400                  620 EIGHTH AVENUE
NEW YORK, NY 10018                        ORLANDO, FL 32802-1873                    NEW YORK, NY 10018



TEMPUR-PEDIC NORTH AMERICA, LLC           TEMPUR-PEDIC NORTH AMERICA, LLC           TEMUA
C/O SEYFARTH SHAW LLP                     C/O SEYFARTH SHAW LLP                     100 SHARP RD
ATTN: ROBERT CARTY JR.                    ATTN: WILLIAM BERKOWITZ                   MARLTON, NJ 08005-3
700 MILAM STREET, SUITE 1400              TWO SEAPORT LANE, SUITE 300
HOUSTON, TX 77002                         BOSTON, MA 02210



TEMUA                                     TEN PAS SIGN CO INC                       TEN PATELS DELAVAN LLC
P.O. BOX 467                              W2312 WILSON-LIMA RD                      RED MGMT INC
MARLTON, NJ 08053                         OOSTBURG, WI 53070                        PO BOX 1690
                                                                                    BROOKFIELD, WI 53008-1690




TEN VOSS LTD                              TEN15 210 NELLIS LLC                      TENHOLDER PROPERTIES, INC.
8554 KATY FREEWAY STE 301                 985 WHITE DR 100                          ATTN: THOMAS J. TENHOLDER
HOUSTON, TX 77024                         LAS VEGAS, NV 89119                       989 STONE SPRING DRIVE
                                                                                    EUREKA, MO 63025




TENHOUTEN RINGSTROM PLLC                  TENNANT PROPERTIES OF VA LLC              TENNANT SALES & SERVICE COMPANY
PO BOX 632                                1 MONTGOMERY AVE                          PO BOX 71414
CADILLAC, MI 49601                        GAITHERSBURG, MD 20877                    CHICAGO, IL 60694-1414
TENNESSE TREASURY DEPT Case   18-12241-CSS   Doc DEPT.
                                        TENNESSEE 26 OFFiled 10/05/18
                                                         REVENUE           PageTENNESSEE
                                                                                1540 of 1739
                                                                                         AMERICAN WATER
UNCLAIMED PROPERTY DIVISION              ANDREW JACKSON STATE OFF.BLDG.         109 WIEHL ST
PO BOX 198649                            500 DEADERICK STREET                   CHATTANOOGA, TN 37403
NASHVILLE, TN 37219-8649                 NASHVILLE, TN 37242-0700




TENNESSEE AMERICAN WATER                 TENNESSEE CHILD SUPPORT                TENNESSEE DEPARTMENT OF REVENUE
P.O. BOX 371880                          PO BOX 305200                          ATTN: SALES & USE TAX DEPT.
PITTSBURGH, PA 15250-7880                NASHVILLE, TN 37229                    44 VANTAGE WAY STE 160
                                                                                NASHVILLE, TN 37243-8050




TENNESSEE DEPT OF LABOR &                TENNESSEE DEPT OF REVENUE              TENNESSEE DEPT OF REVENUE
WORKFORCE DEVEL                          500 DEADERICK ST                       VEHICLE SERVICES DIVISION
REPORT AUDIT                             ANDREW JACKSON BLDG                    44 VANTAGE WAY STE 160
PO BOX 101                               NASHVILLE, TN 37242                    NASHVILLE, TN 37243-8050
NASHVILLE, TN 37202-0101



TENNESSEE STATE FAIR ASSOCIATION         TENNESSEE VALLEY A & I FAIR INC        TENNESSEE VALLEY A & I FAIR INC
PO BOX 24747                             DBA TENNESSEE VALLEY FAIR              DBA TENNESSEE VALLEY FAIR
NASHVILLE, TN 37202                      3301 MAGNOLIA AVE                      PO BOX 6066
                                         KNOXVILLE, TN 37914                    KNOXVILLE, TN 37914




TENNESSEE VALLEY PRINTING CO INC         TENNEY, JASON                          TENNILLE WARREN
DBA THE DECATUR DAILY                    3519 NW 70TH ST                        10201 S. MAIN STREET
PO BOX 2213                              KANSAS CITY, MO 64151-2064             HOUSTON, TX 77025
DECATUR, AL 35609




TENNILLIEE ELAM                          TERA STARR                             TERENCE BRADFORD
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




TERENCE COOPER                           TERESA BALIN                           TERESA BURNHAM
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




TERESA CASON                             TERESA CRAWFORD                        TERESA CRITELLI
10201 S. MAIN STREET                     10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                      HOUSTON, TX 77025




TERESA HORGAN                            TERESA HUFFMAN                         TERESA MARSH
1716 DELAWARE ST                         10201 S. MAIN STREET                   10201 S. MAIN STREET
HUNTINGTON BEACH, CA 92648               HOUSTON, TX 77025                      HOUSTON, TX 77025




TERESA MCLOUGHLIN                        TERESA PERRY                           TERESA RICHARDS
10201 S. MAIN STREET                     10201 S. MAIN STREET                   32 32ND ST N
HOUSTON, TX 77025                        HOUSTON, TX 77025                      BATTLE CREEK, MI 49015
TERESA SHAW            Case 18-12241-CSS
                                      TERESADoc
                                             STAS26      Filed 10/05/18    PageTERESA
                                                                                1541 of 1739
                                                                                      ZASTANY
10201 S. MAIN STREET                   986 E PENNSYLVANIA AVE                  10201 S. MAIN STREET
HOUSTON, TX 77025                      FRESNO, CA 93720                        HOUSTON, TX 77025




TERESE FORDE                           TERESSE TAYLOR                          TERI VASQUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TERMINIX PROCESSING CENTER             TERMINIX                                TERMINIX
PO BOX 742592                          860 RIDGE LAKE BLVD                     PO BOX 742592
CINCINNATI, OH 45274-2592              MEMPHIS, TN 38120                       CINCINNATI, OH 45274-2592




TERMNET MERCHANT SERVICES INC          TERRA EQUITIES LLC                      TERRA OPELIKA LLC
ATTN: ACCOUNTS RECEIVABLE              3755 CORPORATE WOODS DR                 DBA TERRA EQUITIES LLC
8320 S HARDY DR                        BIRMINGHAM, AL 35242                    3755 CORPORATE WOODS DR
TEMPE, AZ 85284                                                                BIRMINGHAM, AL 35242




TERRA TEX, INC                         TERRACE AT FLORIDA MALL                 TERRACE BROWN
PO BOX 263494                          1370 MOMENTUM PLACE                     10201 S. MAIN STREET
HOUSTON, TX 77207                      CHICAGO, IL 60689-5311                  HOUSTON, TX 77025




TERRACO, INC.                          TERRACO, INC.                           TERRACON CONSULTANTS INC
3201 OLD GLENVIEW ROAD, SUITE 300      3201 OLD GLENVIEW ROAD, SUITE 300       PO BOX 959673
SKOKIE, IL 60077                       WILMETTE, IL 60091                      SAINT LOUIS, MO 63195-9673




TERRAMAR RETAIL CENTERS, LLC           TERRANCE BULOCK JR                      TERRANCE HOESLY
DBA SHADELANDS PARK LLC                10201 S. MAIN STREET                    10201 S. MAIN STREET
ATTN: LEASE ADMINISTRATION             HOUSTON, TX 77025                       HOUSTON, TX 77025
4695 MACARTHUR CT STE 700
NEWPORT BEACH, CA 92660



TERRANCE PICHON                        TERRANCE THOMAS                         TERRANCE TYSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TERRANCE WILLIAMS                      TERRANCON CONSULTANTS INC               TERRANOMICS CROSSROADS ASSOC.
10201 S. MAIN STREET                   18001 W 106TH ST STE 300                10500 NE 8TH ST 850
HOUSTON, TX 77025                      OLATHE, KS 66061                        BELLEVUE, WA 98004




TERRANOMICS CROSSROADS ASSOCIATES      TERRANOMICS CROSSROADS ASSOCIATES       TERRA-PETRA
C/O RETAIL OPPORTUNITY INVESTMENTS     PO BOX 11626                            700 S FLOWER ST STE 2580
CORP                                   TACOMA, WA 98411-6626                   LOS ANGELES, CA 90017
15600 NE 8TH STREET, SUITE K-15
BELLEVUE, WA 98008
TERREBONNE PARISH TAXCase 18-12241-CSS
                     COLLECTOR             Doc 26 Filed 10/05/18
                                    TERREBONNE                           PageTERRELL
                                                                              1542 ofCOLE
                                                                                      1739
PO DRAWER 1670                      ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET
HOUMA, LA 70361-1670                PO DRAWER 1670                           HOUSTON, TX 77025
                                    HOUMA, LA 70361-1670




TERRELL DAVIS                      TERRELL HEIGHTS/UDS ONE                   TERRELL JENKINS
10201 S. MAIN STREET               C/O REATA PROPERTY MANAGEMENT, INC.       10201 S. MAIN STREET
HOUSTON, TX 77025                  1100 NE LOOP 410, SUITE 400               HOUSTON, TX 77025
                                   SAN ANTONIO, TX 78209




TERRELL KELLEY                     TERRELL MCLEAN                            TERRELL MILLS
10201 S. MAIN STREET               10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                  HOUSTON, TX 77025                         HOUSTON, TX 77025




TERRELL WHITE                      TERRENCE BELL                             TERRENCE CLEARY
10201 S. MAIN STREET               10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                  HOUSTON, TX 77025                         HOUSTON, TX 77025




TERRENCE CORRINGTON                TERRENCE DANIELS                          TERRENCE DUNBAR
10201 S. MAIN STREET               10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                  HOUSTON, TX 77025                         HOUSTON, TX 77025




TERRENCE HURLEY                    TERRENCE JOHNSON                          TERRENCE LYLES
10201 S. MAIN STREET                                                         10201 S. MAIN STREET
HOUSTON, TX 77025                                                            HOUSTON, TX 77025




TERRENCE REAGAN                    TERRENCE THAMES                           TERRI BENNETT
10201 S. MAIN STREET                                                         10201 S. MAIN STREET
HOUSTON, TX 77025                                                            HOUSTON, TX 77025




TERRI GILLISPIE                    TERRI HYDER                               TERRI KONKOL
10201 S. MAIN STREET               10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                  HOUSTON, TX 77025                         HOUSTON, TX 77025




TERRI LEE                          TERRI MORRIS                              TERRI WILLIAMS
10201 S. MAIN STREET               1409 CARVERLANE                           10201 S. MAIN STREET
HOUSTON, TX 77025                  IRVING, TX 75061                          HOUSTON, TX 77025




TERRY A. KORSVIK                   TERRY ALLEN                               TERRY BLITZ
11710 COTTONWOOD DRIVE             10201 S. MAIN STREET                      74080 PORTOLA POINTE LN
KENNEWICK, WA 99338                HOUSTON, TX 77025                         PALM DESERT, CA 92211
TERRY BREWER           Case 18-12241-CSS    Doc 26
                                      TERRY BROOKS      Filed 10/05/18   PageTERRY
                                                                              1543COLEMAN
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TERRY CRUZ                            TERRY DAWSON                           TERRY DERBY
10201 S. MAIN STREET                  236 NE 79TH                            10201 S. MAIN STREET
HOUSTON, TX 77025                     PORTLAND, OR 97213                     HOUSTON, TX 77025




TERRY FARRINGTON                      TERRY FERRELL                          TERRY FITZGERALD
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TERRY FREDELL                         TERRY GARBUTT                          TERRY GRAHAM
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TERRY GRANAHAN                        TERRY H CLAGG                          TERRY HABRON
10201 S. MAIN STREET                  2499 GRANT GARDEN RD                   10201 S. MAIN STREET
HOUSTON, TX 77025                     ONA, WV 25545                          HOUSTON, TX 77025




TERRY HORSLEY                         TERRY INGLE                            TERRY L NORRIS
601 12TH AVE NE UNIT 1                10201 S. MAIN STREET                   DBA NORRIS FREIGHT SERVICE
SAINT PETERSBURG, FL 33701            HOUSTON, TX 77025                      880 SHUG NORRIS ROAD
                                                                             TABOR CITY, NC 28463




TERRY LONG                            TERRY LUNDH                            TERRY MCFETRIDGE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TERRY MILLER                          TERRY MILLER                           TERRY NASH
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TERRY PAYNE                           TERRY TOOHEY                           TERRY WILSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TERRY WILSON                          TERRYBERRY MANUFACTURING JEWELERS      TERYNIE VICTOR
10201 S. MAIN STREET                  2033 OAK INDUSTRIAL DR                 10201 S. MAIN STREET
HOUSTON, TX 77025                     PO BOX 502                             HOUSTON, TX 77025
                                      GRAND RAPIDS, MI 49505
TESEAN MILLINGTON      Case 18-12241-CSS    Doc 26
                                      TESSA PERRY       Filed 10/05/18    PageTESSA
                                                                               1544RODRIGUEZ
                                                                                    of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    1325 EBBETTS DRIVE
HOUSTON, TX 77025                     HOUSTON, TX 77025                       RENO, NV 89503




TESSEA SMITH                          TESTMASTERS EDUCATIONAL SERVICES INC    TEVIN MOORE
10201 S. MAIN STREET                  DBA PLAZA CENTER LLC                    10201 S. MAIN STREET
HOUSTON, TX 77025                     13100 SOUTHWEST FREEWAY ST 100          HOUSTON, TX 77025
                                      SUGAR LAND, TX 77478




TEVIN OWSLEY                          TEVON SIMMS                             TEWKSBURY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                     HOUSTON, TX 77025                       PO BOX 754
                                                                              READING, MA 01867




TEX MORROW                            TEXAS A&M FUNDATION                     TEXAS AVENUE CROSSING LP
10201 S. MAIN STREET                  C/O CSSA                                4635 SOUTHWEST FREEWAY
HOUSTON, TX 77025                     401 GEORGE BUSH DR                      SUITE 950
                                      COLLEGE STATION, TX 77840-2811          HOUSTON, TX 77027




TEXAS AVENUE CROSSING, LP             TEXAS BARCODE SYSTEMS LTD               TEXAS BAYBROOK SQUARE, LLC
C/O THE RETAIL PROPERTIES GROUP       P.O. BOX 700637                         C/O PRINCIPAL REAL ESTATE INVESTORS
4635 SOUTHWEST FWY, SUITE 950         DALLAS, TX 75370                        8010 GRAND AVENUE
HOUSTON, TX 77027                                                             ATTN: CENTRAL STATES EQUITY TEAM
                                                                              DES MOINES, IA 50392



TEXAS BED PROPERTIES LLC              TEXAS CHILD SUPPORT SDU                 TEXAS COMPTROLLER OF PUBLIC
ATTN: RENT DEPT                       P.O. BOX 659791                         ACCOUNTS
11540 HWY 92 EAST                     SAN ANTONIO, TX 78265-9791              LYNDON B JOHNSON STATE OFFICE BLDG
SEFFNER, FL 33583                                                             111 E 17TH ST
                                                                              AUSTIN, TX 78774



TEXAS COMPTROLLER OF PUBLIC           TEXAS CONSTRUCTION RENTAL               TEXAS CONSTRUCTION RENTAL
ACCOUNTS                              6907 OLD PRESTON PLACE                  PO BOX 703353
PO BOX 13528                          DALLAS, TX 75252                        DALLAS, TX 75370
CAPITOL STATION
AUSTIN, TX 78711-3528



TEXAS CUSTOM SIGNS LTD                TEXAS DEPARTMENT OF PUBLIC SAFETY       TEXAS DEPARTMENT OF STATE HEALTH
2007 WINDY TERRACE STA A              REGULATORY SRVS DIVISION MSC 0245       SERVICES
CEDAR PARK, TX 78613                  PO BOX 15888                            DSHS ASBESTOS/DEMOLITION
                                      AUSTIN, TX 78761-5888                   PO BOX 12190
                                                                              AUSTIN, TX 78711-2190



TEXAS DEPT OF INSURANCE MC 107-1A     TEXAS DEPT OF PUBLIC SAFETY             TEXAS DEPT OF STATE HEALTH SERVICE
AGENT & ADJUSTER LICENSING            PO BOX 15999
PO BOX 12069                          AUSTIN, TX 78761-5999
AUSTIN, TX 78711-2069




TEXAS DEPT. OF TRANSPORTATION         TEXAS DISPOSAL SYSTEMS INC.             TEXAS DISPOSAL SYSTEMS INC.
P.O. BOX 12984                        12200 CARL RD                           P.O. BOX 660816
AUSTIN, TX 78711-2984                 CREEDMOOR, TX 78610                     DALLAS, TX 75266-0816
TEXAS DUGAN LP         Case    18-12241-CSS    Doc 26
                                         TEXAS DUGAN LP Filed 10/05/18       PageTEXAS
                                                                                  1545FENCE
                                                                                       of 1739
                                                                                            CO
ATTN: PBTRM008                            PO BOX 1493                            PO BOX 729
75 REMITTANCE DR STE 1493                 CHICAGO, IL 60675-1493                 SPRING, TX 77383
CHICAGO, IL 60675




TEXAS FENCE CO.                           TEXAS FUNDRAISING SOLUTIONS            TEXAS GAS SERVICE
PO BOX 729                                DBA CUSTOM FUNDRAISING SOLUTIONS       P.O. BOX 219913
SPRING, TX 77383                          CENTRAL TX                             KANSAS CITY, MO 64121-9913
                                          19316 ORTS LN
                                          PFLUGERVILLE, TX 78660



TEXAS LITHO                               TEXAS MEDCLINIC                        TEXAS NEW MEXICO NEWSPAPERS
10900 ROARK RD                            13722 EMBASSY ROW                      PARTNERSHIP
HOUSTON, TX 77099                         SAN ANTONIO, TX 78216                  DBA EL PASO TIMES
                                                                                 PO BOX 677890
                                                                                 DALLAS, TX 75267-7890



TEXAS RANCH LIFE                          TEXAS SAFE & LOCK CORP                 TEXAS SECRETARY OF STATE
PO BOX 803                                1111 JUPITER RD STE 110A               PO BOX 13697
BELLVILLE, TX 77418-0803                  PLANO, TX 75074                        AUSTIN, TX 78711-3697




TEXAS STATE COMPTROLLER                   TEXAS STATE COMPTROLLER                TEXAS STATE COMPTROLLER
ATTN: BUSINESS LICENSE DEPT.              ATTN: INCOME TAX DEPT.                 ATTN: SALES & USE TAX DEPT.
111 E 17TH ST                             111 E 17TH ST                          111 E 17TH ST
AUSTIN, TX 78774                          AUSTIN, TX 78774                       AUSTIN, TX 78774




TEXAS STATE COMPTROLLER                   TEXAS STATE COMPTROLLER                TEXAS STATE UNIV. AMERICAN MKTING
ATTN: TAX DEPT.                           ATTN: UNCLAIMED PROPERTY DEPT.         ASSOC.
111 E 17TH ST                             111 E 17TH ST                          601 UNIVERSITY DR
AUSTIN, TX 78774                          AUSTIN, TX 78774                       SAN MARCOS, TX 78666




TEXAS STATE UNIVERSITY                    TEXAS STUDENT PUBLICATIONS             TEXAS TECH UNIVERSITY CAREER
601 UNVERSITY DRIVE                       P.O. BOX D                             SERVICES
LBJ STUDENT CENTER RM 5-7.1               AUSTIN, TX 78713                       P.O. BOX 45006
SAN MARCOS, TX 78666                                                             LUBBOCK, TX 79409




TEXAS WORKFORCE COMMISSION                TEXERRA CONSTRUCTION LLC               TEXTBROKER INTL LLC
REGULATORY ITEGRITY DIVISION              7301 RR 620 N STE 155-310              9500 W FLAMINGO RD STE 202
101 E 15TH ST ROOM 556                    AUSTIN, TX 78726                       LAS VEGAS, NV 89147
AUSTIN, TX 78778




TEXWOOD SHOWS                             TEZRA MCGINTY                          TFI RESOURCES
2617C W HOLCOMBE BLVD                     10201 S. MAIN STREET                   PO BOX 4346 DEPT 517
HOUSTON, TX 77025                         HOUSTON, TX 77025                      HOUSTON, TX 77210-4346




TGS ACQUISITION LLC                       TG-SMF 2015, LTD.                      TG-SMF 2015, LTD.
DBA GOOD STUFF/BASIC FUN                  3131 TURTLE CREEK BLVD STE 850         ATTN: JENNIFER KIRKENDOLL
301 YAMATO RD STE 2112                    DALLAS, TX 75219                       8214 WESTCHESTER DRIVE, 9TH FLOOR
BOCA RATON, FL 33431                                                             DALLAS, TX 75225
TH VILLAGE OF N FOND DUCase
                       LAC        18-12241-CSS    Doc 26
                                            THAD BURDETTE      Filed 10/05/18       PageTHAD
                                                                                         1546D. of 1739ESQ
                                                                                                BATSON,
16 GARFIELD ST                               10201 S. MAIN STREET                        4505 MADISON
FOND DU LAC, WI 54937                        HOUSTON, TX 77025                           KANSAS CITY, MO 64111




THAD ROBERTS                                 THADDEOUS THOMPSON                          THAI PHAM
10201 S. MAIN STREET                         10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                            HOUSTON, TX 77025                           HOUSTON, TX 77025




THAI SIGHTLER                                THALASSA MILLWOOD                           THALER REALTY CORP.
10201 S. MAIN STREET                         10201 S. MAIN STREET                        1 HOLLOW LANE, SUITE 107
HOUSTON, TX 77025                            HOUSTON, TX 77025                           LAKE SUCCESS, NY 11042




THALER REALTY CORP.                          THALHIMER                                   THALHIMER
1 HOLLOW LANE, SUITE 107                     AGENT OF LJ&J PROPERTY LLC                  ATTN: MELODY ALMONTE
NEW HYDE PARK, NY 11042                      PO BOX 5160                                 222 CENTRAL PARK AVE, SUITE 1820
                                             GLEN ALLEN, VA 23058-5160                   VIRGINIA BEACH, VA 23462




THATS CLEAR WINDOW CLEANING LLC              THE ABOFF BUILDING                          THE ADAM YOUNG & JULIE YOUNG LIVING
10635 WINDHURST CIRCLE                       ATTN: ROD ABOFF                             TRUST
HIGHLANDS RANCH, CO 80126                    33 GERARD STREET, SUITE 204                 3505 PACIFIC AVE.
                                             HUNTINGTON, NY 11743                        SAN FRANCISCO, CA 94118




THE ADAM YOUNG & JULIE YOUNG LIVING          THE ADVOCACY LAW FIRM PA                    THE ALBANY HERALD
TRUST                                        1250 E HALLANDALE BEACH BLVD STE 503        126 N WASHINGTON ST
501 E LEWIS & CLARK PKWY                     HALLANDALE BEACH, FL 33009                  ALBANY, GA 31701
CLARKSVILLE, IN 47129




THE ALBANY HERALD                            THE ALLIANCE GROUP OF TAMPA BAY VII         THE ANDREW E CROWELL III TRUST
PO BOX 603                                   LLC                                         C/O KENNETH J CUMMINS TRUSTEE
LAWRENCEVILLE, GA 30046                      ATTN: ARMANDO FLORES                        5120 CAMPUS DR STE 100
                                             4015 CARROLWOOD VILLAGE DR                  NEWPORT BEACH, CA 92660
                                             TAMPA, FL 33618



THE ARBA GROUP, INC.                         THE ARCHDIOCESE OF SAN FRAN                 THE ARIZONA REPUBLIC
DAN AUSTIN                                   DEPT OF REAL ESTATE/MCDONALDL               PO BOX 677595
6300 WILSHIRE BLVD., SUITE 1800              ONE PETER YORKE WAY                         DALLAS, TX 75267-7595
LOS ANGELES, CA 90048                        SAN FRANCISCO, CA 94109-6602




THE ASSOCIATED GROUP                         THE ASSOCIATED PRESS                        THE ATWATER AT OLD MILTON LLC
PO BOX 478                                   200 LIBERTY ST                              ATTN: JON GALLART
SALT LAKE CITY, UT 84110                     NEW YORK, NY 10281                          6400 POWERS FERRY RD STE 350
                                                                                         ATLANTA, GA 30339




THE AVANTAGE GROUP INC                       THE AVANTAGE GROUP INC                      THE BANTAM GROUP INC
250 N HARBOR DR STE 311                      91 E AGATE AVE STE 302                      3350 RIVERWOOD PKWY SUITE 1900
REDONDO BEACH, CA 90277                      LAS VEGAS, NV 89123                         ATLANTA, GA 30339
THE BARNETT FIRM       Case 18-12241-CSS     Doc OF
                                      THE BEACON  26GROVETON
                                                       Filed 10/05/18
                                                              RETAIL            PageTHE
                                                                                     1547  of 1739HERALD
                                                                                        BELLINGHAM
ATTN: AJ BARNETT                      6870 RICHMOND HWY                              PO BOX 12125
11501 SW PACIFIC HIGHWAY, SUITE 201   ALEXANDRIA, VA 22306                           FRESNO, CA 93776
PORTLAND, OR 97205




THE BIG FRESNO FAIR                     THE BIRMINGHAM NEWS                          THE BLEACH GROUP
1121 S CHANCE AVE                       C/OALABAMA MEDIA GROUP                       C/O E&L REALTY
FRESNO, CA 93702                        PO BOX 905924                                78 KINGS MILL RD
                                        CHARLOTTE, NC 28290-5924                     MONROE TOWNSHIP, NJ 08831




THE BLOSSMAN COMPANIES INC              THE BOARD OF COUNTY COMMISSIONERS            THE BOROUGH OF EDGEWATER
3500 ASSOCIATE DR                       2725 JUDGE FRAN JAMIESON WAY A-108           FIRE PREVENTION BUREAU
GREENSBORO, NC 27405                    VIERA, FL 32940                              838 RIVER RD
                                                                                     EDGEWATER, NJ 07020




THE BOSTON CONSULTING GROUP INC         THE BOSTON GLOBE LLC                         THE BOULEVARD-ST. LOUIS LLC
PO BOX 75200                            PO BOX 415071                                C/O PACE PROPERTIES LLC
CHICAGO, IL 60675-5200                  BOSTON, MA 02241-5071                        1401 BRENTWOOD BLVD STE 900
                                                                                     SAINT LOUIS, MO 63144




THE BRANDT COMPANIES LLC                THE BRANDT COMPANIES LLC                     THE BRICKMAN GROUP LTD LLC
1728 BRIERCROFT COURT                   PO BOX 227351                                440 TALL PINES RD STE J
CARROLLTON, TX 75006                    DALLAS, TX 75222-7351                        WEST PALM BEACH, FL 33413




THE BROADBENT COMPANY                   THE BROWN FAMILY TRUST                       THE BRUNSWICK NEWS
ATTN: ROSE FEENEY                       C/O HOLMQUIST PROPERTY MGMT INC              PO BOX 1557
117 EAST WASHINGTON STREET, SUITE 300   PO BOX 14                                    BRUNSWICK, GA 31521
INDIANAPOLIS, IN 46204                  PALM HARBOR, FL 34682-0014




THE BULLETIN                            THE BUNCHER COMPANY                          THE BUNCHER COMPANY
10 RAILROAD PLACE                       PENN LIBERTY PLAZA I                         PO BOX 768
NORWICH, CT 06360                       1300 PENN AVENUE, SUITE 300                  PITTSBURGH, PA 15230-0768
                                        PITTSBURGH, PA 15222




THE BURLINGTON FREE PRESS               THE CALCAGNO LIVING TRUST DATED              THE CALL
PO BOX 822840                           3/20/96                                      75 MAIN ST
PHILADELPHIA, PA 19182-2840             JOSEPH S. CALCAGNO, JR. AND KAREN C.,        WOONSOCKET, RI 02895
                                        AS TRUSTEES
                                        3997 RIDGEDALE RD.
                                        P.O. BOX 1080
                                        SOQUEL, CA 95073

THE CAPITAL CORPORATION                 THE CENTER AT KINGSTON, LLC                  THE CENTER AT KINGSTON, LLC
AGENT FOR 2711 MEDICAL CENTER PRTNRS    ATTN: ACCOUNTING                             ATTN: ACCOUNTING
7101 SHARONDALE COURT STE 600           1550 HIGHWAY 126                             1550 HWY 126
BRENTWOOD, TN 37027                     BRISTOL, TN 37620                            BRISTOL, TN 37620




THE CENTER AT KINGSTON, LLC             THE CENTER AT STONE DRIVE, LLC               THE CHARLOTTE OBSERVER
ATTN: KD MOORE                          ATTN: KD MOORE                               PO BOX 3026
1550 HIGHWAY 126                        1550 HIGHWAY 126                             LIVONIA, MI 48151
BRISTOL, TN 37620                       BRISTOL, TN 37620
                       Case
THE CHOI FAMILY TRUST JULY     18-12241-CSS
                           1 1996              Doc 26
                                         THE CHRONICLE      Filed 10/05/18   PageTHE
                                                                                  1548   of 1739
                                                                                     CIT GROUP/COMMERCIAL SERVICES INC
PO BOX 4877                              PO BOX 90858                             PO BOX 1036
FOSTER CITY, CA 94404                    DURHAM, NC 27708                         CHARLOTTE, NC 28201




THE CIT GROUP/COMMERCIAL SERVICES INC   THE CITGROUP                              THE CITY & COUNTY OF HONOLULU
PO BOX 1036                             COMMERCIAL SVCS INC                       PO BOX 29610
CHARLOTTE, NC 28201-1036                PO BOX 1036                               HONOLULU, HI 96820-2010
                                        CHARLOTTE, NC 28201-1036




THE CITY OF ATTLEBORO                   THE CITY OF ATTLEBORO                     THE CITY OF BERWYN
100 UNION ST                            ATTLEBORO FIRE DEPT                       6700 W 26TH ST
ATTLEBORO, MA 02703                     1476 WEST ST                              BERWYN, IL 60402-0701
                                        ATTLEBORO, MA 02703




THE CITY OF BOSTON                      THE CITY OF DAYTONA BEACH                 THE CITY OF DAYTONA BEACH
BOX 55810                               ATTN UTILITIES                            P.O. BOX 2455
BOSTON, MA 02205                        301 S RIDGEWOOD AVE                       DAYTONA BEACH, FL 32115
                                        DAYTONA BEACH, FL 32114




THE CITY OF FORT SMITH ARKANSAS         THE CITY OF FORT SMITH                    THE CITY OF FORT SMITH
WATER DEP.                              ATTN UTILITIES                            P.O. BOX 1907
623 GARRISON AVE                        3900 KELLEY HWY                           FORT SMITH, AR 72902
P.O. BOX 1907                           FORT SMITH, AR 72904
FORT SMITH, AR 72902



THE CITY OF GLENARDEN                   THE CITY OF LEESBURG                      THE CITY OF LEESBURG
8600 GLENARDEN PKWY                     501 W MEADOW ST                           P.O. BOX 25858
GLENARDEN, MD 20706                     LEESBURG, FL 34748                        TAMPA, FL 33622-5858




THE CITY OF NEPTUNE BEACH               THE CITY OF NILES                         THE CITY OF OAKRIDGE NORTH
116 FIRST ST                            34 WEST STATE ST                          27424 ROBINSON RD
NEPTUNE BEACH, FL 32266-6140            NILES, OH 44446-5036                      OAK RIDGE NORTH, TX 77385




THE CITY OF OKLAHOMA                    THE CITY OF ROSEVILLE                     THE CITY OF SAN CARLOS
P.O. BOX 26570                          2660 CIVIC CENTER DR                      600 ELM STREET
OKLAHOMA CITY, OK 73126-0570            ROSEVILLE, MN 55113-1815                  SAN CARLOS, CA 94070




THE CITY OF SAN MARCOS                  THE CITY OF SAN MARCOS                    THE CITY OF THE COLONY
1 CIVIC CENTER DRIVE                    ATTN: PAUL MALONE                         6800 MAIN ST
ATTN: PAUL MALONE                       1 CIVIC CENTER DRIVE                      THE COLONY, TX 75056
SAN MARCOS, CA 92069                    SAN MARCOS, CA 92069




THE CITY OF THE COLONY                  THE COLONIES-PACIFIC-19A, LLC             THE COLONIES-PACIFIC-19A, LLC
P.O. BOX 560008                         C/O PACIFIC DEVELOPMENT GROUP II          PO BOX 3060
THE COLONY, TX 75056-0008               ATTN: DENNIS BERRYMAN                     NEWPORT BEACH, CA 92658
                                        ONE CORPORATE PLAZA, 2ND FLOOR
                                        NEWPORT BEACH, CA 92660
                      Case
THE COLUMBIAN PUBLISHING    18-12241-CSS
                         COMPANY            Doc 26 Filed 10/05/18
                                      THE COLUMBIAN                     PageTHE
                                                                             1549  of 1739 APPEAL
                                                                                COMMERCIAL
701 W 8TH ST                          PO BOX 180                             PO BOX 630037
VANCOUVER, WA 98660                   VANCOUVER, WA 98666-0180               CINCINNATI, OH 45263-0037




THE COMMONS AT WILLOWBROOK, INC.    THE COMMONS AT WILLOWBROOK, INC.         THE COMMONS RENO, LLC
ATTN: HILARY BURCH                  PO BOX 849020                            C/O CANNON COMMERCIAL, INC.
5910 NORTH CENTRAL EXPRESSWAY       DALLAS, TX 75284-9020                    10850 WILSHIRE BLVD., SUITE #1000
DALLAS, TX 75231-6437                                                        LOS ANGELES, CA 90024




THE COMMONS RENO, LLC               THE COMMONS RENO, LLC                    THE COMPANY OF OTHERS
C/O CANNON COMMERCIAL, INC.         PO BOX 399033                            PO BOX 733042
10850 WILSHIRE BLVD., SUITE 1000    SAN FRANCISCO, CA 94139-9033             DALLAS, TX 75373-3042
LOS ANGELES, CA 90024




THE CONFERENCE BOARD                THE CONNECTICUT WATER CO                 THE CONNECTICUT WATER CO
ACCOUNTING DEPT                     93 W MAIN ST                             P.O. BOX 981015
845 THIRD AVE                       CLINTON, CT 06413                        BOSTON, MA 02298-1015
NEW YORK, NY 10022




THE CONNIE QUARRE TRUST             THE CONNIE QUARRE TRUST, DATE JULY 30,   THE CORP EXEC BOARD CO CEB
C/O VENTUREPOINT                    1986                                     1919 N LYNN ST
4685 MACARTHUR CT STE 375           C/O VENTUREPOINT                         ARLINGTON, VA 22209
NEWPORT BEACH, CA 92660             CONSTANCE C. MOSES, AS TRUSTEE
                                    4685 MACARTHUR CT., SUITE 375
                                    NEWPORT BEACH, CA 92260


THE CORPORATE IMAGE                 THE COSTALES LAW OFFICE LLC              THE COUNTRY FAIR PARTNERSHIP
3029 MESQUITE DR                    3801 CANAL ST STE 207                    3333 RICHMOND RD STE 150
RIVERSIDE, CA 92503                 NEW ORLEANS, LA 70119                    BEACHWOOD, OH 44122




THE COUNTRY FAIR PARTNERSHIP        THE COURIER/THE DAILY COMET              THE CROSSING AT 288 PHASE I, LTD.
3333 RICHMOND ROAD, SUITE 150       P.O. BOX 116668                          C/O THE WEITZMAN GROUP
BEACHWOOD, OH 44122                 ATLANTA, GA 30368-6668                   3102 MAPLE AVENUE, SUITE 350
                                                                             DALLAS, TX 75201




THE CROSSING288 PHASE I LTD.        THE CROSSING288 PHASE I LTD.             THE DAILY CARDINAL MEDIA GROUP
3102 MAPLE AVE, STE 350             C/O CENCOR REALTY SERVICES               2142 VILAS COMMUNICATION HALL
DALLAS, TX 75201                    P.O. BOX 660394                          821 UNIVERSITY AVE
                                    DALLAS, TX 75266-0394                    MADISON, WI 53703




THE DAILY COURIER                   THE DAILY ITEM                           THE DAILY JOURNAL
8307 E HWY 69 STE B                 PO BOX 607                               8 DEARBORN SQUARE
PRESCOTT VALLEY, AZ 86314           SUNBURY, PA 17801-0607                   KANKAKEE, IL 60901




THE DAILY JOURNAL                   THE DAILY MOUNTAIN EAGLE                 THE DAILY NEWS
GANNETT NJ                          PO BOX 1469                              C/O LEE NEWSPAPERS
PO BOX 677310                       JASPER, AL 35501                         PO BOX 742548
DALLAS, TX 75267-7310                                                        CINCINNATI, OH 45274-2548
THE DAILY NEWS          Case 18-12241-CSS    Doc
                                       THE DAILY   26 Filed 10/05/18
                                                 PROGRESS                     PageTHE
                                                                                   1550  ofSTAR
                                                                                      DAILY 1739
PO BOX 102475                           PO BOX 25819                              C/O PAXTON MEDIA GROUP
ATLANTA, GA 30368                       RICHMOND, VA 23260-5819                   PO BOX 1200
                                                                                  PADUCAH, KY 42002




THE DAILY STAR                          THE DAILY TIMES                           THE DALLAS MORNING NEWS INC
P.O. BOX 1149                           PO BOX 677374                             DBA DMN MEDIA
HAMMOND, LA 70404                       DALLAS, TX 75267-7374                     508 YOUNG ST
                                                                                  DALLAS, TX 75202




THE DALLAS MORNING NEWS INC             THE DALLES DISPOSAL - DISTRICT 2044       THE DALLES DISPOSAL - DISTRICT 2044
DBA DMN MEDIA                           1317 WEST 1ST STREET                      P.O. BOX 60248
PO BOX 660040                           THE DALLES, OR 97058                      LOS ANGELES, CA 90060-0248
DALLAS, TX 75266-0040




THE DALLES RETAIL LLC                   THE DAY PUBLISHING COMPANY                THE DELAWARE EMPLOYMENT TRAINING
141 FRONT ST N                          47 EUGENE ONEILL DR                       FUND
ISSAQUAH, WA 98027                      NEW LONDON, CT 06320-1231                 PO BOX 9953
                                                                                  WILMINGTON, DE 19809-0953




THE DELIVERY SOLUTION                   THE DELIVERY SOLUTION                     THE DENNY LAW FIRM, PLLC
1230 ORCHARD CIRCLE                     W351 N5970 WESTSHORE COURT                ATTN: MARK DENNY, ESQ.
OCONOMOWOC, WI 53066                    OCONOMOWOC, WI 53066                      11020 DAVID TAYLOR DR, SUITE 201
                                                                                  CHARLOTTE, NC 28262




THE DENVER POST CORPORATION             THE DENVER POST LLC                       THE DERMOT COMPANY L.P.
DBA DP MEDIA NETWORK LLC                101 W COLFAX AVE                          729 7TH AVENUE, 15TH FLOOR
PO BOX 62000                            DENVER, CO 80202                          NEW YORK, NY 10019
COLORADO SPRINGS, CO 80962




THE DESCO GROUP INC                     THE DESCO GROUP INC                       THE DESERT SUN PUBLISHING CO
25 N. BRENTWOOD BOULEVARD               25 N. BRENTWOOD BOULEVARD                 750 N GENE AUTRY TRAIL
SAINT LOUIS, MO 63105                   ST. LOUIS, MO 63105                       PALM SPRINGS, CA 92262




THE DIALOGUE MARKETING, LLC             THE DIALY UNIVERSE                        THE DISPATCH PRINTING CO
JEFFREY S HAMMOND                       A-153 ASB                                 CENTRAL OHIO HOME & GARDEN SHOW
2660 CEDAR AVE                          PROVO, UT 84602                           34-SOUTH THIRD STREET
GENEVA, IL 60134                                                                  COLUMBUS, OH 43215




THE DISPATCH PRINTING COMPANY           THE DISPATCH PRINTING COMPANY             THE DOE FAMILY REVOCABLE TRUST
CLASSIFIED REMITTANCE PROCESS           DBA BEST OF FALL HOME SHOW                ATTN: RUSSELL M. & TAMARA DOE
PO BOX 182537                           34 S THIRD ST                             165 HIGH SIERRA DRIVE
COLUMBUS, OH 43218-2537                 COLUMBUS, OH 43215                        EXETER, CA 93221




THE DOG AGENCY LLC                      THE DONNA & ANDREW ROSENBERG TRUST        THE DOUGHCONE
300 PARK AVE 14TH FLOOR                 OF 2002
NEW YORK, NY 10022                      4601 GARTH RD
                                        BAYTOWN, TX 77521
                     Case
THE EAGLE LEASING COMPANY   18-12241-CSS    Doc 26
                                      THE EAGLE           Filed 10/05/18   PageTHE
                                                                                1551  of 1739
                                                                                   EAGLE
1 IRVING EAGLE PLACE                    1729 BRIARCREST DR.                     PO BOX 26408
ORANGE, CT 06477                        BRYAN, TX 77802                         RICHMOND, VA 23260-6408




THE EAST HAMPTON INDEPENDENT NEWS       THE EBERLY COMPANY                      THE EDWARD AND ZLAINE MACHADO TRUST
CO                                      CHUCK EBERLY                            D/B/A ORACLE VILLAGE SHOPPING CENTER
74 MONTAUK HWY STE 16                   8383 WILSHIRE BOULEVARD, 906            C/O ROMANO REAL ESTATE CORP.
EAST HAMPTON, NY 11937                  LOS ANGELES, CA 90211                   3900 E. VIA PALOMITA
                                                                                TUCSON, AZ 85718



THE ENERGY COOPERATIVE                  THE ENERGY COOPERATIVE                  THE EQUITY GROUP
1500 GRANVILLE RD                       P.O. BOX 740467                         6018 S. DURANGO DR., SUITE 110
NEWARK, OH 43058                        CINCINNATI, OH 45274-0467               LAS VEGAS, NV 89113




THE ESTATE OF MARIO COMAN               THE ESTATE OF TIMOTHY REX EAKES         THE EVENTLINE.COM, INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                    BILLING SER,2011 DUBLOON CT,STE 200
HOUSTON, TX 77025                       HOUSTON, TX 77025                       EDWARDSVILLE, IL 62025-5224




THE FERRI CORPORATION                   THE FERRI REALTY TRUST                  THE FIDELITY GROUP, LTD.
C/O POSTERNAK BLANKENSTEIN & LUND LLP   C/O POSTERNAK BLANKENSTEIN & LUND LLP   ATTN: JOHN ALAN SFIRE
ATTN: STEVEN S. BROADLEY                ATTN: STEVEN S. BROADLEY                745 ELA ROAD
800 BOYLSTON STREET 33RD FLOOR          800 BOYLSTON STREET 33RD FLOOR          LAKE ZURICH, IL 60047
BOSTON, MA 02199                        BOSTON, MA 02199



THE FINAL MILE GROUP                    THE FINDLAY PUBLISHING COMPANY          THE FIRE PROTECTION INTERNATIONAL
1025 BLANTON DR                         COURIER-REVIEW TIMES                    CONSORTIUM INC
CHATTANOOGA, TN 37412                   PO BOX 609                              7501 LEMONT RD STE 210
                                        FINDLAY, OH 45839-0609                  WOODRIDGE, IL 60517




THE FIRST CAPITAL BANK OF KENTUCKY      THE FLORIDA TIMES UNION                 THE FPI CONSORTIUM INC
ATTN: MR. JUAN P. CASSALLO, CLO         DEPT 1261                               7501 LEMONT RD STE 210
293 NORTH HUBBARDS LANE                 PO BOX 121261                           WOODRIDGE, IL 60517
LOUISVILLE, KY 40207                    DALLAS, TX 75312-1261




THE FREE LANCE STAR                     THE FREE PRESS                          THE FRENCH CORNER
PO BOX 26742                            PO BOX 3287                             1104 OLD SPANICH TRAIL
RICHMOND, VA 23261                      MANKATO, MN 56002                       HOUSTON, TX 77054




THE GADSDEN TIMES                       THE GADSDEN TIMES                       THE GAINESVILLE SUN
401 LOCUST ST                           PO BOX 116362                           POBOX 915007
GADSDEN, AL 35901                       ATLANTA, GA 30368-6362                  ORLANDO, FL 32891-5007




THE GALLERIA PHASE IV                   THE GARTH ORGANIZATION, LTD.            THE GAS CO
5085 WESHEIMER SUITE 4850               157 EAST 86TH STREET, SUITE 214         1801 S ATALNTIC BLVD
HOUSTON, TX 77056                       NEW YORK, NY 10028                      MONTEREY PARK, CA 91754
THE GAS CO           Case      18-12241-CSS    Doc 26
                                         THE GAZETTE         Filed 10/05/18   PageTHE
                                                                                   1552  of 1739
                                                                                      GLORIOSO LAW FIRM
P.O. BOX C                               30 E PIKES PEAK AVE STE 100               2716 ATHANIA PKWY
MONTEREY PARK, CA 91756                  COLORADO SPRINGS, CO 80903                METAIRIE, LA 70002




THE GLOUCESTER TOWNSHIP MUA              THE GLOUCESTER TOWNSHIP MUA               THE GREENE TOWN CENTER LLC
401 WEST LANDING RD                      P.O. BOX 216                              C/O OLSHAN PROPERTIES
BLACKWOOD, NJ 08012                      GLENDORA, NJ 08029-0216                   5500 NEW ALBANY ROAD E, SUITE 200
                                                                                   NEW ALBANY, OH 43054




THE GREENEVILLE SUN                      THE GREENVILLE NEWS                       THE GRIPPA FAMILY TRUST
PO BOX 1630                              P.O. BOX 677566                           3338 TEXAS AVENUE
GREENEVILLE, TN 37744                    DALLAS, TX 75267-7566                     SIMI VALLEY, CA 93063




THE GROVE AT WESLEY CHAPEL               THE GROVE WESLEY CHAPEL DEV LLC           THE HAMILTON COMPANY
DEVELOPMENT LLC                          CO GENESIS RE                             39 BRIGHTON AVENUE
CO GENESIS REAL ESTATE ADVISERS LLC      800 MT VERNON HWY STE 410                 BOSTON, MA 02134
800 MT VERNON HIGHWAY STE 410            ATLANTA, GA 30328
SANDY SPRINGS, GA 30328



THE HARTFORD COURANT COMPANY             THE HARTFORD                              THE HARTFORD
PO BOX 416414                            GROUP BENEFITS                            PO BOX 660916
BOSTON, MA 02241-6414                    PO BOX 783690                             DALLAS, TX 75266-0916
                                         PHILADELPHIA, PA 19178-3690




THE HEARST CORPORATION                   THE HELIUM HOUSE                          THE HEMPFIELD TOWNSHIP MUNICIPAL
ALBANY TIMES UNION-NEWS PLAZA            P.O. BOX 30015                            AUTH
PO BOX 15000                             AUSTIN, TX 78755                          1146 WOODWARD DR
ALBANY, NY 12212-1170                                                              GREENSBURG, PA 15601




THE HERALD PUBLISHING CO LLC             THE HERALD                                THE HERALD-DISPATCH
DBA MLIVE MEDIA GROUP                    PO BOX 3024                               PO BOX 2017
169 MONROE AVE NW SUITE 100              LIVONIA, MI 48151                         HUNTINGTON, WV 25720-2017
GRAND RAPIDS, MI 49503




THE HISTORIC DAVENPORT HOTEL             THE HOME & GARDEN SHOW OF                 THE HOME DEPOT RECEIVABLES INC
10 S POST ST                             GREATER NEW ORLEANS INC                   PO BOX 7247-7491
SPOKANE, WA 99201                        2424 N ARNOULT RD.                        PHILADELPHIA, PA 19170-7491
                                         METARIE, LA 70001




THE HOME DEPOT USA INC                   THE HOUSTONIAN FUND                       THE HOWARD B. BRODSKY REVOCABLE
LOCKBOX 7491                             EDUCATIONAL SERVICES                      TRUST
400 WHITE CLAY CENTER DR                 1302 WAUGH DR 832                         JANET LEE REALTY
NEWARK, DE 19711                         HOUSTON, TX 77019-4944                    PO BOX 5236
                                                                                   MANCHESTER, NH 03108



THE HUMPHREYS FUND LLC                   THE HUMPHREYS FUND LLC                    THE HUNTSVILLE ITEM
223 S WALKER AVE                         PO BOX 1100                               P.O. BOX 539
OKLAHOMA CITY, OK 73101                  OKLAHOMA CITY, OK 73101                   HUNTSVILLE, TX 77342
THE HUTTON COMPANY Case 18-12241-CSS     DocSTATESMAN
                                  THE IDAHO    26 Filed
                                                      LLC10/05/18           PageTHE
                                                                                 1553   of 1739 CO
                                                                                    ILLUMINATING
ALEXANDRIA HICKMAN, PROPERTY      PO BOX 40                                      76 SOUTH MAIN ST
ACCOUNTANT                        1200 N CURTIS RD                               AKRON, OH 44308
736 CHERRY STREET                 BOISE, ID 83706
CHATTANOOGA, TN 37402



THE ILLUMINATING CO                   THE INDEPENDENT FLORIDA ALLIGATOR          THE INDEPENDENT NEWS COMPANY
P.O. BOX 3638                         PO BOX 14257                               74 MONTAUK HWY STE 16
AKRON, OH 44309-3638                  GAINESVILLE, FL 32604-2257                 EAST HAMPTON, NY 11937




THE INLAND REAL ESTATE GROUP, INC.    THE IRVINE COMPANY, LLC                    THE IRVINE COMPANY, LLC
ATTN: ROBERT BAUM, ESQ., GENERAL      ATTN: ACCOUNTING DEPARTMENT                ATTN: GENERAL COUNSEL, RETAIL
COUNSEL                               110 INNOVATION                             PROPERTIES
2901 BUTTERFIELD ROAD                 IRVINE, CA 92617                           110 INNOVATION
OAK BROOK, IL 60523                                                              IRVINE, CA 92617



THE IRVINE COMPANY, LLC               THE IRVING CENTER SHOPS LLC                THE JOECKEL LAW OFFICE
C/O THE MARKET PLACE MANAGEMENT       P.O. BOX 7084                              219 S MAIN ST STE 301
OFFICE                                C/O GREGORY COMMERCIAL, INC                FORT WORTH, TX 76104
ATTN: KAROL REEDY                     DALLAS, TX 75209
2961 EL CAMINO REAL
IRVINE, CA 92782


THE JOHN HILL GROUP LLC               THE JOHN HILL GROUP LLC                    THE JOURNAL PUBLISHING CO
ATTN: JOHN HILL                       ATTN: JOHN HILL                            207 W KING ST
7920 NORMAN COURT                     7920 NORMAN COURT                          MARTINSBURG, WV 25401
DENVER, CO 28037                      DENVER, NC 28037




THE JOURNAL                           THE KAHILT CORPORATION                     THE KAHN FAMILY TRUST
PO BOX 807                            C/O KATIE ROSS                             1200 GOUGH STREET, SUITE 900
MARTINSBURG, WV 25402                 3035 WEBER RD                              SAN FRANCISCO, CA 94109
                                      MALABAR, FL 32950




THE KANSAS CITY STAR                  THE KEENE SENTINEL                         THE KELLEHER CONSULTING GROUP
DBA CYPRESS MEDIA LLC                 PO BOX 546                                 DBA THE EMPLOYEE ENGAGEMENT GROUP
PO BOX 510446                         KEENE, NH 03431-0546                       444 WASHINGTON ST 506
LIVONIA, MI 48151                                                                WOBURN, MA 01801




THE KEN BLANCHARD COMPANIES           THE KEY DEPOT                              THE KORNFELD COMPANIES, LLP
125 STATE PLACE                       388 LANDA STREET                           4601 DTC BLVD., SUITE 300
ESCONDIDO, CA 92029                   NEW BRAUNFELS, TX 78130                    DENVER, CO 80237




THE KROENKE GROUP                     THE KROENKE GROUP                          THE LACONIA DAILY SUN
ATTN: LISA FRANK, PROPERTY MANAGER    TAMATHA SLOAN                              1127 UNION AVE 1
211 N. STADIUM BOULEVARD, SUITE 201   211 N. STADIUM BOULEVARD, SUITE 201        LACONIA, NH 03246
COLUMBIA, MO 65203                    COLUMBIA, MO 65203




THE LANDINGS                          THE LAUREL GROUP LLC                       THE LAW OFFICES OF GARY I. KAHN
C III ASSET MGMT                      P.O. BOX 4788                              500 FIFTH AVENUE, 37TH FLOOR
ONE PARKVIEW PLAZA 9TH FL             CAVE CREEK, AZ 85327                       NEW YORK, NY 10110
OAKBROOK TERRACE, IL 60181
                      Case
THE LAW OFFICES OF RALPH    18-12241-CSS
                         FRESOLONE           Doc 26
                                      THE LINCOLN       Filed
                                                  NATIONAL  LIFE10/05/18
                                                                 INS CO      PageTHE
                                                                                  1554   of 1739
                                                                                     LINCOLN NATIONAL LIFE INSURANCE CO
RALPH FRESOLONE, ESQ.                 PO BOX 0821                                 1300 S CLINTON ST
550 ROUTE 111                         CAROL STREAM, IL 60132-0821                 FORT WAYNE, IN 46802
HAUPPAUGE, NY 11788




THE LOEB ELECTRIC COMPANY               THE LONGEST DRIVE, LLC                    THE LONGEST DRIVE, LLC
1800 E FIFTH AVE                        5169 W WOODMILL DR STE 10                 C/O DSM COMMERCIAL
COLUMBUS, OH 43219-2592                 WILMINGTON, DE 19808                      910 S CHAPEL ST STE 100
                                                                                  NEWARK, DE 19713




THE LONGEST DRIVE, LLC                  THE LOOK COMPANY                          THE LOUISVILLE CARDINAL
C/O DSM COMMERCIAL                      343 SAUNDERS RD                           HOUCHENS BLDG ROOM 7
910 S. CHAPEL STREET, SUITE 100         BARRIE, ON L4N 9A3                        LOUISVILLE, KY 40292
NEWARK, DE 19713                        CANADA




THE LOWELL PUBLISHING CO                THE LOWELL PUBLISHING CO                  THE LUFKIN DAILY NEWS
491 DUTTON ST                           PO BOX 65190                              PO BOX 1089
LOWELL, MA 01854                        COLORADO SPRINGS, CO 80962-5190           LUFKIN, TX 75902




THE MACON TELEGRAPH PUBLISHING CO       THE MAGISTRATE CT OF HOUSTON CO           THE MAJESTIC METRO
487 CHERRY ST                           STATE OF GA                               911 PRESTON AVE
MACON, GA 31201                         89 COHEN WALKER DR                        HOUSTON, TX 77002
                                        WARNER ROBINS, GA 31088




THE MANEATER NEWSPAPER UNIV OF MO-      THE MARKETPLACE AT TECH CENTER LLC        THE MARKETS AT EPPS BRIDGE LLC
COLUMBIA                                CNL COMMERCIAL REAL ESTATE                ATTN: DAVID MULKEY
G216 MU STUDENT CENTER                  PO BOX 6230                               1550 TIMOTHY ROAD
COLUMBIA, MO 65211                      ORLANDO, FL 32802-6230                    ATHENS, GA 30606




THE MARKETS AT EPPS BRIDGE LLC          THE MATTHEWS COMPANY INC                  THE MAUI NEWS
PO BOX 1983                             17220 NEWHOPE ST STE 108                  PO BOX 550
ATHENS, GA 30603                        FOUNTAIN VALLEY, CA 92708                 WAILUKU, HI 96793-0550




THE MICHIGAN CITY FIRE DEPARTMENT       THE MILLER-HOGUE LAW FIRM, P.C.           THE MODY GROUP, LTD.
2510 E MICHIGAN BLVD                    ATTN: JANEEN MILLER-HOGUE, ESQ.           6808 HORNWOOD DRIVE
MICHIGAN CITY, IN 46360                 1130 HARDING PLACE                        HOUSTON, TX 77074
                                        CHARLOTTE, NC 28204




THE MODY GROUP, LTD.                    THE MONTEREY COUNTY HERALD                THE MORNING CALL MEDIA GROUP
DBA MODY CAPITAL LLC                    PO BOX 512289                             PO BOX 415459
MARLENE CAICEDO                         LOS ANGELES, CA 90051-0289                BOSTON, MA 02241-5459
6808 HORNWOOD DR
HOUSTON, TX 77074



THE MURKIN GROUP LLC                    THE NACHMAN FAMILY, LLC                   THE NEW ANSWERNET
14004 ROOSEVELT BLVD STE 613            BARRY HOFHEIMER                           4778 DEWEY DR
CLEARWATER, FL 33762                    16184 POUNCEY TRACT ROAD                  FAIR OAKS, CA 95628-4401
                                        ROCKVILLE, VA 23146
                     CaseLLC
THE NEW YORK INTERCONNECT 18-12241-CSS    Doc
                                    THE NEW YORK26TIMES
                                                      Filed 10/05/18   PageTHE
                                                                            1555  of 1739
                                                                               NEWPORT DAILY NEWS
PO BOX 392068                       PO BOX 392088                           PO BOX 420
PITTSBURGH, PA 15251                PITTSBURGH, PA 15251-9088               NEWPORT, RI 02840




THE NEWPORT GROUP INC                  THE NEWPORT GROUP INC                THE NEWS AND ADVANCE
300 INTERNATIONAL PKWY STE 270         DEPT CH 19699                        PO BOX 25096
HEATHROW, FL 32746                     PALATINE, IL 60055-9699              RICHMOND, VA 23260-5096




THE NEWS GAZETTE INC                   THE NEWS JOURNAL COMPANY             THE NEWS JOURNAL MEDIA GROUP
PO BOX 677                             PO BOX 822072                        PO BOX 822072
CHAMPAIGN, IL 61824-0677               PHILADELPHIA, PA 19182-2072          PHILADELPHIA, PA 19182-2072




THE NEWS                               THE NEWS-ENTERPRISE LLC              THE NUTTING COMPANY INC
435 E GRAND AVE                        408 W DIXIE AVE                      DBA THE DAILY HERALD
EAST LANSING, MI 48823                 ELIZABETHTOWN, KY 42701              86 N UNIVERSITY AVE STE 300
                                                                            PROVO, UT 84601




THE NUTTING COMPANY INC                THE OGDEN                            THE OKLAHOMAN MEDIA COMPANY
OGDEN NEWSPAPER OF UTAH LLC            150 N LAS VEGAS BLVD                 PO BOX 268882
86 N UNIVERSITY AVE STE 300            LAS VEGAS, NV 89101                  OKLAHOMA CITY, OK 73126-8882
PROVO, UT 84601




THE OMAHA WORLD HERALD                 THE OMAHA WORLD-HERALD               THE ORIGINAL GEORGIA FAMILY COMPANY,
1314 DOUGLAS ST STE 850                PO BOX 26801                         INC.
OMAHA, NE 68102                        RICHMOND, VA 23261-6801              4555 MANSELL RD STE 120
                                                                            ALPHARETTA, GA 30022




THE ORIGINAL GEORGIA FAMILY COMPANY,   THE ORLANDO SENTINEL                 THE PAINT FOLKS INC
INC.                                   PO BOX 100608                        105 MAIN ST 3RD FLOOR
4555 MANSELL ROAD, SUITE 120           ATLANTA, GA 30384-0608               HACKENSACK, NJ 07601
ALPHARETTA, GA 30022




THE PALACE SHOPS NORTH, LLC            THE PANTAGRAPH                       THE PARKOFF ORGANIZATION
2019 LLEWELLN AVE.                     P.O. BOX 2907                        MICHAEL PAPILSKY
NORFOLK, VA 23517                      BLOOMINGTON, IL 61702-2907           99 CUTTERMILL ROAD, SUITE 444 SOUTH
                                                                            GREAT NECK, NY 11021




THE PHILIPOSE GROUP LLC                THE PHILLIPS EDISON GROUP LLC        THE PHILLIPS EDISON GROUP LLC
1768 CHALADAY LN                       CLAY RALSTON                         LINDA RINALDO
EAST MEADOW, NY 11554                  11501 NORTHLAKE DRIVE                11501 NORTHLAKE DRIVE
                                       CINCINNATI, OH 45249                 CINCINNATI, OH 45249




THE PHILLIPS EDISON GROUP LLC          THE PINE LOG                         THE PITT NEWS DBA UNIV OF PITTSBURGH
NICK DAFFIN                            P.O. BOX 13049                       434 WM PITT UNION
11501 NORTHLAKE DRIVE                  SFA STATION                          PITTSBURGH, PA 15260
CINCINNATI, OH 45249                   NACOGDOCHES, TX 75962
                     Case LLC
THE PLACE TO BE PRODUCTIONS 18-12241-CSS     DocAT26
                                      THE PLAZA         Filed
                                                   WILLIAMS   10/05/18
                                                            CENTRE LLC       PageTHE
                                                                                  1556  ofAND
                                                                                     POST  1739
                                                                                              COURIER
PO BOX 6445                           6298 E GRANT ROAD 100                       C/O EVENING POST INDUSTRIES
KANEOHE, HI 96744                     TUCSON, AZ 85712                            134 COLUMBUS ST DEPT 400
                                                                                  CHARLESTON, SC 29403-4800




THE POST NEWSPAPERS                    THE PRADO, LLC                             THE PRADO, LLC
5164 NORMANDY PARK DR STE 100          1250 CAROLINE ST STE 200/230               2851 JOHN ST STE 1
MEDINA, OH 44256                       ATLANTA, GA 30307                          MARKHAM, ON L3R 5R7
                                                                                  CANADA




THE PRADO, LLC                         THE PRADO, LLC                             THE PRIEST II LLC
C/O CENTRECORP MANAGEMENT SERVICES     C/O THE SEMBLER COMPANY                    C/O GUSTAVO USANDIZAGA
LLLP                                   5590 ROSWELL RD 200                        967 MARINA DR
1250 CAROLINE STREET, SUITE 220        ATLANTA, GA 30342                          WESTON, FL 33327
ATLANTA, GA 30307



THE PROVIDENCE JOURNAL                 THE PRUDENTIAL INSURANCE CO OF             THE PRUDENTIAL INSURANCE CO OF
PO BOX 382803                          AMERICA                                    AMERICA
PITTSBURGH, PA 15251-8803              C/O UCR ASSET SERVICES                     DANADA SQUARE WEST
                                       8080 PARK LN STE 800                       PO BOX 730521
                                       DALLAS, TX 75231                           DALLAS, TX 75373



THE PRUDENTIAL INSURANCE CO OF         THE R.H. JOHNSON COMPANY                   THE RANCH OF LONESOME DOVE
AMERICA                                4520 MADISON AVE, SUITE 300                C/O MIKE FAULKNER
GA 1600 COMMONS LLC                    KANSAS CITY, MO 64111                      2299 LONESOME DOVE RD
7 GIRALDA FARMS                                                                   SOUTHLAKE, TX 76092
MADISON, NJ 07940



THE RAPPAPORT COMPANIES                THE RAY ROOFING CO INC                     THE RAYMOND CORP - ACC REC
8405 GREENSBORO DRIVE, 8TH FLOOR       PO BOX 19150                               PO BOX 130
MCLEAN, VA 22102-5121                  CHARLOTTE, NC 28219                        GREENE, NY 13778




THE RAYMOND CORP                       THE REAL ESTATE GROUP                      THE REALTY ASSOCIATES FUND IX LP
S CANAL ST PO BOX 130                  2400 ELLIS AVE                             28 STATE STREET 10TH FL
GREENE, NY 13778                       FORT WORTH, TX 76164                       BOSTON, MA 02109




THE REALTY ASSOCIATES FUND IX LP       THE REALTY ASSOCIATES FUND X LP            THE REALTY ASSOCIATES FUND X LP
THE REALTY ASSOCIATES FUND IX LP       3600 N CAPITAL OF TX HWY BLDG B STE 250    PO BOX 840418
BOSTON, MA 02109                       AUSTIN, TX 78746                           DALLAS, TX 75284




THE REAVES FIRM INC                    THE RECORDER                               THE RED & BLACK PUBLISHING
6800 POPLAR AVE 101                    PO BOX 1367                                540 BAXTER ST
MEMPHIS, TN 38138                      GREENFIELD, MA 01302                       ATHENS, GA 30605




THE REGENTS OF THE UNIVERSITY OF       THE REPOSITORY                             THE REPUBLIC
CALIFORNIA                             P.O. BOX 5214                              AIM MEDIA INDIANA
2100 FRANKLIN ST STE 500               CAROL STREAM, IL 60197-5214                PO BOX 3213
OAKLAND, CA 94612-3098                                                            MCALLEN, TX 78502-3213
THE REPUBLIC           Case     18-12241-CSS    Doc 26 COMPANY
                                          THE REPUBLICAN Filed 10/05/18    PageTHE
                                                                                1557  of 1739
                                                                                   REPUBLICAN
DBA THE REPUBLIC                           THE REPUBLICAN                      PO BOX 5310
PO BOX 3011                                1860 MAIN ST                        NEW YORK, NY 10087-5310
COLUMBUS, IN 47202-3011                    SPRINGFIELD, MA 01101




THE RESIDENCES OF AUSTIN RANCH NO 1        THE RETAIL CONNECTION               THE RETAIL PROPERTIES GROUP
LTD                                        DIANA CHASTAIN                      3250 HARTRIDGE DR
DBA GRAPEVINE CROSSING HOLDINGS LLC        221 W. 6TH STREET, SUITE 1030       ALPHARETTA, GA 30022
1722 ROUTH ST STE 1313                     AUSTIN, TX 78701
DALLAS, TX 75201



THE RETAIL PROPERTIES GROUP                THE RETAIL PROPERTY TRUST           THE RETAIL PROPERTY TRUST
4635 SOUTHWEST FWY, SUITE 950              ROOSEVELT FIELD                     ROOSEVELT FIELD
HOUSTON, TX 77027                          PO BOX 772854                       PO BOX 772854
                                           CHICAGO, IL 60677-2846              CHICAGO, IL 60677-2854




THE RH JOHNSON COMPANY                     THE RICHLAND TWSP SEWER ACCT        THE RIDGMAR TRUST
4520 MADISON AVE, SUITE 300                4019 DICKEY ROAD                    C/O SPERRY VAN NESS
KANSAS CITY, MO 64111                      GIBSONIA, PA 15044-0126             3108 5TH STREET
                                                                               ATTN: JAMES BLAKE, PROPERTY MANAGER
                                                                               FORT WORTH, TX 76107



THE ROANOKE TIMES                          THE ROBERT & LESLEY                 THE ROBERT AND LESLEY KASAVAN TRUST,
PO BOX 26090                               KASAVAN TRUST                       DATED APRIL 30, 2007
RICHMOND, VA 23260-6090                    PO BOX 1952                         38 EAST ROMIE LANE
                                           SALINAS, CA 93902                   SALINAS, CA 93901




THE ROBFORD CO LLC                         THE ROBFORD COMPANY LLC             THE ROCKLIN ACADEMY, INC.
PO BOX 2624                                314 FOUNDERS PARK DRIVE             2204 PLAZA DRIVE
RAPID CITY, SD 57709                       RAPID CITY, SD 57709                SUITE 200
                                                                               ROCKLIN, CA 95765




THE ROMAN CATHOLIC ARCHBISHOP OF           THE RUDNICKI FIRM                   THE RUTLAND HERALD
SAN FRANCISCO                              6305 WATERFORD BLVD STE 325         27 WALES ST
ATTN: LES MCDONALD                         OKLAHOMA CITY, OK 73118             RUTLAND, VT 05702
ONE PETER YORKE WAY
SAN FRANCISCO, CA 94109



THE RUTLAND HERALD                         THE SACRAMENTO BEE                  THE SAFE ALLIANCE
VERMONT COMMUNITY MEDIA LLC                PO BOX 11967                        PO BOX 19454
PO BOX 668                                 FRESNO, CA 93776-1967               AUSTIN, TX 78760
RUTLAND, VT 05702




THE SAG HARBOR EXPRESS                     THE SALINAS CALIFORNIAN             THE SCHREIBER COMPANY
PO BOX 1620                                PO BOX 677371                       609 EPSILON DRIVE
SAG HARBOR, NY 11963                       DALLAS, TX 75267-7371               PITTSBURGH, PA 15238




THE SCRANTON TIMES                         THE SEATTLE TIMES                   THE SEAWAVE CORPORATION
PO BOX 3478                                PO BOX C34805                       DBA CAPE MAY COUNTY HERALD
149 PENN AVE                               SEATTLE, WA 98124-1805              1508 ROUTE 47
SCRANTON, PA 18505                                                             RIO GRANDE, NJ 08242
THE SEMBLER COMPANY Case     18-12241-CSS    Doc 26
                                       THE SHEMER GROUPFiled
                                                        INC 10/05/18         PageTHE
                                                                                  1558  of 1739
                                                                                     SHOP
5858 CENTRAL AVENUE                     5314 PINE ST                             12920 WALSINGHAM ROAD
ATTN: JACKIE CATALDO                    BELLAIRE, TX 77401                       LARGO, FL 33774
ST. PETERSBURG, FL 33707




THE SHOPPES AT GENEVA COMMONS           THE SHOPPING CENTER GROUP, LLC           THE SHOPPING CENTER GROUP, LLC
8424 EVERGREEN LN                       ATTN: ANGELA ARRUDA                      DAVID MANNE
DARIEN, IL 60561                        300 GALLERIA PARKWAY, 12TH FLOOR         300 GALLERIA PARKWAY, 12TH FLOOR
                                        ATLANTA, GA 30339                        ATLANTA, GA 30339




THE SHOPS AT CUSTER BRIDGES II LTD      THE SHOPS AT OAK BROOK PLACE LP          THE SHOPS OF 21, LLC
ATTN: KYLE MCKISSACK                    C/O CREIT MANAGEMENT LP                  ATTN: GEORGE A. CELLA III
3008 E HEBRON PKWY BLVD 300             ATTN: CHIEF FINANCIAL OFFICER            4545 VETERANS MEMORIAL BOULEVARD
CARROLLTON, TX 75010                    175 BLOOR STREET EAST, SUITE 500         METAIRIE, LA 70006
                                        TORONTO, ON M4W 3R8 CANADA



THE SHRM STORE                          THE SIGN RESOURCE INC                    THE SIGNORELLI COMPANY
PO BOX 930132                           PO BOX 2005                              1400 WOODLOCH FOREST DRIVE, SUITE 200
ATLANTA, GA 31193-0132                  PALM HARBOR, FL 34682                    ATTN: REAL ESTATE MANAGER
                                                                                 THE WOODLANDS, TX 77380




THE SIGNWALKERS LLC                     THE SIMMONS MANUFACTURING CO LLC         THE SINGENIS CORPORATION
831 INDUSTRY DR                         PO BOX 945655                            P.O. BOX 64957
TUKWILA, WA 98188                       ATLANTA, GA 30394-5655                   LUBBOCK, TX 79464




THE SLATE GROUP LLC                     THE SOUTHEAST ALABAMA GAS DISTRICT       THE SOUTHERN LAND COMPANY
ATTN: SLATE BILLING                     P.O. BOX 1298                            STEPHEN D. ROTH
1707 L ST NW STE 800                    ANDALUSIA, AL 36420-1233                 1258 HENRY STREET
WASHINGTON, DC 20036                                                             BALTIMORE, MD 21230




THE SPA MARVEL COMPANY INC              THE SPA MOVER COMPANY OF HOUSTON         THE SPA MOVER DALLAS
6-90 NOLAN COURT                        1834 FERGUSON LN STE 202                 DBA STRONG MOVERS
MARKHAM, ON L3R 4L9                     AUSTIN, TX 78754                         PO BOX 1336
CANADA                                                                           MINEOLA, TX 75773




THE SPECTRUM                            THE SPECTRUM                             THE SPOKESMAN REVIEW
DBA SPECTRUM MEDIA                      DBA ST GEORGE SPECTRUM                   PO BOX 1906
275 E ST GEORGE BLVD                    PO BOX 677307                            SPOKANE, WA 99210-1906
SAINT GEORGE, UT 84770                  DALLAS, TX 75267-7307




THE SPOKESMAN-REVIEW                    THE SPRINKLER COMPANY INC                THE STAHL ORGANIZATION
PO BOX 3946                             PO BOX 11624                             MATTHEW LOVALLO, SVP ACQUISITIONS
SEATTLE, WA 98124-3946                  GREEN BAY, WI 54307                      277 PARK AVENUE
                                                                                 NEW YORK, NY 10172




THE STANDARD TIMES                      THE STANDARD-MISSOURI STATE              THE STANEK ENTERPRISES LP
PO BOX 223546                           UNIVERSITY                               BOULEVARD PLAZA SHOPPING CENTER
PITTSBURGH, PA 15251-2546               901 SOUTH NATIONAL AVENUE                C/O WEB PROPERTIES, INC.
                                        SPRINGFIELD, MO 65897                    P.O. BOX 21469
                                                                                 SPOKANE, WA 99217
THE STAR BEACON       Case     18-12241-CSS    Doc
                                         THE STAR   26
                                                  PRESS       Filed 10/05/18    PageTHE
                                                                                     1559  of JOURNAL
                                                                                        STATE 1739 REGISTER
CUSTOMER PAYMENT CENTER                   PO BOX 677560                             350 WILLOWBROOK OFFICE PARK
PO BOX 2100                               DALLAS, TX 75267-7560                     FAIRPORT, NY 14450
ASHTABULA, OH 44005-2100




THE STATE JOURNAL REGISTER                THE STATE NEW                             THE STATE NEWSPAPER
ONE COPLEY PLAZA                          435 E GRAND AVE                           PO BOX 51878
PO BOX 219                                EAST LANSING, MI 48823                    LIVONIA, MI 48151
SPRINGFIELD, IL 62705-0219




THE STEVENSON COMPANY                     THE STOP & SHOP SUPERMARKET CO. LLC       THE STOP & SHOP SUPERMARKET CO., LLC
10002 SHELBYVILLE RD STE 201              1385 HANCOCK ST                           ATTN: REAL ESTATE
LOUISVILLE, KY 40223                      QUINCY, MA 02169                          1385 HANCOCK STREET
                                                                                    QUINCY, MA 02169




THE STOP & SHOP SUPERMARKET CO., LLC      THE STOP & SHOP SUPERMARKET CO., LLC      THE STUTCHMAN FAMILY TRUST, EST. BY
ATTN: VP - REAL ESTATE LAW                PO BOX 3797                               DECLARATION OF TRUST DATED 8/15/01
P.O. BOX 55888                            BOSTON, MA 02241-3797                     GEOFFREY S. STUTCHMAN & LEEHOUANG T.
BOSTON, MA 02205-5888                                                               16124 GREENWOOD LANE
                                                                                    MONTE SERENO, CA 95030



THE SUN CHRONICLE                         THE SUN HERALD                            THE SUN NEWS
34 S MAIN ST                              PO BOX 4567                               THE SUN NEWS - A
PO BOX 600                                BILOXI, MS 39535-4567                     PO BOX 510653
ATTLEBORO, MA 02703-0600                                                            LIVONIA, MI 48151




THE SUN PUBLISHING CO.                    THE SYSTEMS GROUP INC                     THE T&R FAMILY LIMITED PARTNERSHIP
PO BOX 150467                             229 FRANKLIN ST                           BERKSHIRE BANK
HARTFORD, CT 06115-0467                   OCOEE, FL 34761                           ATTN: DOUGLAS REINERT
                                                                                    30 SOUTH PEARL ST
                                                                                    ALBANY, NY 12207



THE TACHI PALACE HOTEL & CASINO           THE TALANCE GROUP LP                      THE TAMPA TRIBUNE
ATTN: ABBY HERNANDEZ                      808 TRAVIS ST SUITE 1550                  PO BOX 85000
17225 JERSEY AVE                          HOUSTON, TX 77002                         RICHMOND, VA 23285-5000
LEMOORE, CA 93245




THE TAN GROUP                             THE TELEGRAPH                             THE TELEGRAPH
KAREN WANDVIK, SR. PROPERTY MANAGER       110 MAIN ST STE 1                         PO BOX 4167
870 E. CHARLESTON ROAD, SUITE 200         NASHUA, NH 03060                          MACON, GA 31208-4167
PALO ALTO, CA 94303




THE TENNESSEAN                            THE TERRA NOVA GROUP                      THE TERRA NOVA GROUP
P.O. BOX 677589                           ATTN: PROPERTY MANAGER                    NEWMARK MERRILL CO
DALLAS, TX 75267-7589                     2505 CONGRESS, SUITE 220                  5850 CANOGA AVE STE 650
                                          SAN DIEGO, CA 92110                       WOODLAND HILLS, CA 91367




THE TERRADEN CORPORATION                  THE TIMES ARGUS                           THE TIMES LEADER
229 AVENUE I, SUITE 300                   VERMONT COMMUNITY MEDIA LLC               PO BOX 2180
REDONDO BEACH, CA 90277                   PO BOX 668                                WILKES BARRE, PA 18703
                                          RUTLAND, VT 05702
THE TIMES OF NW INDIANACase   18-12241-CSS     Doc 26
                                        THE TIMES         Filed 10/05/18     PageTHE
                                                                                  1560  of 1739
                                                                                     TIMES
C/O LEE NEWSPAPERS                       110 W JEFFERSON ST                      345 GREEN STREET NW
PO BOX 742548                            OTTAWA, IL 61350                        GAINESVILLE, GA 30503
CINCINNATI, OH 45274




THE TIMES                                THE TIMES                               THE TOLEDO BLADE COMPANY
C/O LEE NEWSPAPERS                       PO BOX 838                              DBA THE BLADE
PO BOX 742548                            GAINESVILLE, GA 30503                   541 SUPERIOR ST
CINCINNATI, OH 45274                                                             TOLEDO, OH 43660




THE TOLEDO BLADE COMPANY                 THE TOLL ROADS VIOLATION DEPT           THE TONI A FILICE 2007 REVOCABLE TRUST
PO BOX 921                               PO BOX 57011                            ATTN: TONI A FILICE
TOLEDO, OH 43697                         IRVINE, CA 92619-7011                   1769 HILLSDALE AVE 24546
                                                                                 SAN JOSE, CA 95154




THE TOPEKA CAPITAL-JOURNAL               THE TORRINGTON WATER CO                 THE TORRINGTON WATER CO
DEPT 1243                                277 NORTFOLK ROAD                       P.O. BOX 867
PO BOX 121243                            TORRINGTON, CT 06790                    TORRINGTON, CT 06790
DALLAS, TX 75312-1243




THE TOWER COMPANIES                      THE TOWN CENTER AT BOCA RATON TRUST     THE TOWN CENTER AT BOCA RATON TRUST
CHARLES WALLACH                          NEWARK POST OFFICE                      PO BOX 772846
2000 TOWER OAKS BLVD., NORTH FLOOR       PO BOX 35470                            CHICAGO, IL 60677-2846
ROCKVILLE, MD 20852                      NEWARK, NJ 07193-5470




THE TOWN OF CICERO                       THE TOWN OF GREENFIELD                  THE TOWN OF LANDOVER HILLS
BUILDING DEPT                            FIRE DEPARTMENT                         6904 TAYLOR ST
ATTN: SIGN INSPECTIONS                   412 MAIN ST                             LANDOVER HILLS, MD 20784
4949 W CERMAK RD                         GREENFIELD, MA 01301
CICERO, IL 60804



THE TOY PALACE                           THE TRADE DESK INC                      THE TRADE DESK INC
PO BOX 152                               42 N CHESTNUT ST                        PO BOX 894903
REIDVILLE, SC 29375                      VENTURA, CA 93001                       LOS ANGELES, CA 90189-4903




THE TRIBUNE DEMOCRAT                     THE TRILOGY GROUP, LLC                  THE TRILOGY GROUP, LLC
425 LOCUST ST                            6400 POWERS FERRY ROAD, NW, SUITE 400   ATTN: DONELLA FIORE
PO BOX 340                               ATLANTA, GA 30339                       6400 POWERS FERRY ROAD NW, SUITE 100
JOHNSTOWN, PA 15907-0340                                                         ATLANTA, GA 30339




THE TSG GRAT #6, LLC                     THE TSG GRAT 6, LLC                     THE TURLEY LAW FIRM APLC
C/O GLADSTONE DEVELOPMENT CORP.          C/O GLADSTONE DEVELOPMENT CORP.         7428 TRADE ST
287 BOWMAN AVE                           287 BOWMAN AVE                          SAN DIEGO, CA 92121
PURCHASE, NY 10577                       PURCHASE, NY 10577




THE TUSCALOOSA NEWS                      THE TUSCALOOSA NEWS                     THE ULTIMATE SOFTWARE GROUP INC
PO BOX 116477                            PO BOX 20587                            PO BOX 930953
ATLANTA, GA 30368-6477                   TUSCALOOSA, AL 35402-0587               ATLANTA, GA 31193-0953
THE ULTIMATE SOFTWARECase    18-12241-CSS    DocATTN
                                       THE UNION  26 SPRING
                                                       FiledHOME
                                                             10/05/18
                                                                 GARDEN PageTHE
                                                                             1561  of 1739
                                                                                UNITED ILLUMINATING CO
2000 ULTIMATE WAY                        & LIFESTYLE SHOW                       100 MARSH HILL RD
WESTON, FL 33326                         464 SUTTON WAY                         ORANGE, CT 06477
                                         GRASS VALLEY, CA 95945




THE UNITED ILLUMINATING CO               THE UNITED ILLUMINATING CO             THE UNIVERSITY DAILY KANSAN
P.O. BOX 580055                          P.O. BOX 9230                          1000 SUNNYSIDE DHDC ROOM 2051
CHARLOTTE, NC 28258-0055                 CHELSEA, MA 02150-9230                 LAWRENCE, KS 66045




THE UNIVERSITY OF ARIZONA CAREER         THE UNIVERSITY OF GEORGIA FOUNDATION   THE UPS STORE 0264
SERVICES                                 394 S MILLEDGE AVE STE 100             102 COLLEGE STATION DR STE 3
STUDENT UNION MEM CTR STE 411            ATHENS, GA 30602                       BREVARD, NC 28712-3195
PO BOX 210017
TUCSON, AZ 85721-0017



THE UPS STORE 0264                       THE VARSITY, LLC                       THE VEGA GROUP LLC
825C MERRIMON AVE                        ATTN: STEVEN ROGIN                     7220 WASHINGTON AVE
ASHEVILLE, NC 28804                      1780 ASH STREET, 201                   NEW ORLEANS, LA 70125
                                         NORTHFIELD, IL 60093




THE VERNA FAMILY INSURANCE TRUST         THE VIENNA SHOPPING CENTER LP          THE VILLAGE AT ALLEN LP
101 NORTH PLAINS INDUSTRIAL RD BLD 1A    C/O RAPPAPORT MANAGEMENT COMPANY       190 E STACY RD STE 1710
WALLINGFORD, CT 06492                    8405 GREENSBORO DRIVE, 8TH FLOOR       ALLEN, TX 75002
                                         MCLEAN, VA 22102-5121




THE VILLAGE AT ALLEN LP                  THE VILLAGE OF GURNEE                  THE VILLAGE OF GURNEE
VAA IMPROVEMENTS LLC                     325 N. OPLAINE                         P.O. BOX 2804
PO BOX 840733                            GURNEE, IL 60031                       BEDFORD PARK, IL 60499-2804
DALLAS, TX 75284-0733




THE VILLAGE OF NORTH PALM BEACH          THE VILLAGE OF OAK PARK                THE VILLAGE OF OAK PARK
645 PROSPERITY FARMS RD.                 123 MADISON ST                         P.O. BOX 4583
NORTH PALM BEACH, FL 33408               OAK PARK, IL 60330-2                   CAROL STREAM, IL 60197-4583




THE VILLAGE VOICE LLC                    THE VILLAGES DAILY SUN                 THE VINDICATOR PRINTING CO INC
PO BOX 662                               1100 MAIN ST                           P.O. BOX 780
READING, PA 19603                        THE VILLAGES, FL 32159                 YOUNGSTOWN, OH 44501-0780




THE WALL STREET TRANSCRIPT               THE WASHINGTON POST                    THE WATER WORKS & SEWER BOARD
622 3RD AVE 34TH FL                      PO BOX 17641                           108 CEDAR ST
NEW YORK, NY 10017                       BALTIMORE, MD 21297-1641               GREENVILLE, AL 36037




THE WATER WORKS & SEWER BOARD            THE WEEKS LERMAN GROUP LLC             THE WEINGARTEN LAW FIRM, LLC
OF THE CITY OF GADSDEN                   58-38 PAGE PLACE                       ATTN: SHERYL WEINGARTEN, ESQ.
PO BOX 800                               MASPETH, NY 11378                      1260 STELTON ROAD
GADSDEN, AL 35902-0800                                                          PISCATAWAY, NJ 08854
THE WEITZMAN GROUP Case          18-12241-CSS    Doc 26GROUP
                                           THE WEITZMAN   Filed 10/05/18      PageTHE
                                                                                   1562  of 1739
                                                                                      WEITZMAN GROUP
70 NE LOOP 410, SUITE 450                   ALLYSON FLYNN                          ASHLEY SANTOS, PM
SAN ANTONIO, TX 78216                       3102 MAPLE AVENUE, SUITE 350           3102 MAPLE AVENUE, SUITE 350
                                            DALLAS, TX 75201                       DALLAS, TX 75201




THE WEITZMAN GROUP                          THE WEITZMAN GROUP                     THE WEITZMAN GROUP
ATTN: ERIKA HELFERICH                       ATTN: ERIKA HELFERICH                  ATTN: KRISTI BEARDEN
4200 N. LAMAR BLVD., SUITE 200              4200 N. LAMAR BLVD., SUITE 200         4200 N. LAMAR BLVD., SUITE 200
AUSTIN, TX 78756                            DALLAS, TX 75201                       AUSTIN, TX 78756




THE WEITZMAN GROUP                          THE WEITZMAN GROUP                     THE WEITZMAN GROUP
ATTN: PROPERTY MANAGER                      CARA MADILL, ASSISTANT PROPERTY        LEWIS HOPPEN, CPM
3102 MAPLE AVENUE, SUITE 500                MANAGER                                3102 MAPLE AVENUE, SUITE 350
DALLAS, TX 75201                            3102 MAPLE AVENUE, SUITE 500           DALLAS, TX 75201
                                            DALLAS, TX 76015



THE WEITZMAN GROUP                          THE WEITZMAN GROUP                     THE WESTCOR COMPANY II LIMITED
LISA VEATCH                                 MICKEL WICHTMAN                        PARTNERSHIP
1800 BERING DRIVE, SUITE 550                4200 N. LAMAR BLVD., SUITE 200         ATTN: CENTER MANAGER
HOUSTON, TX 77057                           AUSTIN, TX 78756                       11411 NORTH TATUM BOULEVARD
                                                                                   PHOENIX, AZ 85028



THE WESTCOR COMPANY II LIMITED              THE WESTCORE COMPANY II LP             THE WESTCORE COMPANY II LP
PARTNERSHIP                                 4435 EASTGATE MAIL. STE 300            SUPERST SPRINGS PC EAST 13
C/O MACERICH COMPANY                        SAN DIEGO, CA 92121                    PO BOX 53250 DEPT SSPRGE
P.O. BOX 2172                                                                      PHOENIX, AZ 85072-3250
401 WILSHIRE BOULEVARD, SUITE 700
SANTA MONICA, CA 90407


THE WHITNEY CONDOMINIUM ASSOC               THE WICHITA EAGLE                      THE WIELAND CORPORATION
622 BANYAN TRAIL STE 150                    PO BOX 510687                          4162 ENGLISH OAK DR
BOCA RATON, FL 33431                        LIVONIA, MI 48151                      LANSING, MI 48911




THE WILDER COMPANIES, LTD.                  THE WILDER COMPANIES, LTD.             THE WILSON TIMES CO INC
ATTN: JESSICA SWIST                         ATTN: PAIGE QUIGLEY                    PO BOX 2447
800 BOYLSTON STREET, SUITE 1300             800 BOYLSTON STREET, SUITE 1300        WILSON, NC 27894-2447
BOSTON, MA 02199                            BOSTON, MA 02199




THE WINCHESTER STAR                         THE WINDOW BROS                        THE WINSTON FAMILY TRUST
2 NORTH KENT ST                             2622 S 162ND ST                        ATTN: JAMES WOLFE
WINCHESTER, VA 22601-5098                   NEW BERLIN, WI 53151                   24650 BELLA LADERA DRIVE
                                                                                   LOS ALTOS HILLS, CA 94024




THE WOODALL RODGERS PARK                    THE WOODLANDS WJPA MUD 21              THE WOODLANDS WJPA MUD 21
FOUNDATION                                  2455 LAKE ROBBINS DRIVE                P.O. BOX 7580
KLYDE WARREN PARK                           THE WOODLANDS, TX 77380                SPRING, TX 77387-7580
1909 WOODALL RODGERS FWY STE 403
DALLAS, TX 75201



THE WOODMONT COMPANY                        THE WOODMONT COMPANY                   THE WRIGHT PANTANO LLC
ATTN: MEGAN PANEK                           SONYA RIVERA, APM                      ATTN: BRUCE WRIGHT
2100 W 7TH ST                               2100 W 7TH ST                          8987 E TANQUE VERDE RD, SUITE 309-409
FORT WORTH, TX 76107                        FORT WORTH, TX 76107                   TUCSON, AZ 85749
THE WRIGHT PANTANO LLCCase 18-12241-CSS      Doc
                                      THE YORK    26 COFiled
                                               WATER            10/05/18   PageTHE
                                                                                1563  ofWATER
                                                                                   YORK  1739 CO
ATTN: BRUCE WRIGHT                    130E MARKET ST                            P.O. BOX 15089
8987 E TANQUE VERDE RD, SUITE 309-409 YORK, PA 17401-1219                       YORK, PA 17405-7089
TUCSON, AZ 85749-9610




THEA LGBS                             THEODORE BUBB                             THEODORE J COUCH
PO BOX 702118                         10201 S. MAIN STREET                      PO BOX 17978
SAN ANTONIO, TX 78270                 HOUSTON, TX 77025                         TAMPA, FL 33682-7978




THEODORE JACKSON                      THEODORE JURKIEWICZ                       THEODORE LEPEAU
10201 S. MAIN STREET                  10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                         HOUSTON, TX 77025




THEODORE ROBERT STELTON JR            THEODORE ROBINSON                         THEONIE KALOGIANNIS
3617 1ST AVE NW UNIT A                10201 S. MAIN STREET                      10201 S. MAIN STREET
SEATTLE, WA 98107                     HOUSTON, TX 77025                         HOUSTON, TX 77025




THER-A-PEDIC ASSOCIATES, INC.         THEREN ALBRITTON                          THERESA BREWER
C/O GREENBERG TRAURIG, PA             10201 S. MAIN STREET                      10201 S. MAIN STREET
ATTN: CHRISTOPHER TORRES              HOUSTON, TX 77025                         HOUSTON, TX 77025
101 E. KENNEDY BLVD., SUITE 1900
TAMPA, FL 33502



THERESA BYRNE                         THERESA FIELDER                           THERESA J. BURT
10201 S. MAIN STREET                  10201 S. MAIN STREET                      8204 E FAIRVIEW AV
HOUSTON, TX 77025                     HOUSTON, TX 77025                         SPOKANE VALLEY, WA 99212




THERESA JOOS                          THERESA LEE JACOWSKI                      THERESA MIAZGA
4 GIADECZKA ST                        10201 S. MAIN STREET                      1237 N CASS ST 104
BLAUVELT, NY 10913                    HOUSTON, TX 77025                         MILWAUKEE, WI 53202




THERESA NIESWAAG                      THERESA REID                              THERESE SOTIRE
541 67TH AVE NE                       10201 S. MAIN STREET                      10201 S. MAIN STREET
FINDLEY, MN 55432                     HOUSTON, TX 77025                         HOUSTON, TX 77025




THF CG CHARLESTON LP                  THF CHESTERFIELD DEVELOPMENT LLC          THF CHESTERFIELD DEVELOPMENT LLC
C/O TKG MNGMNT                        C/O THF MANAGEMENT, INC.                  C/O THF MANAGEMENT, INC.
211 N STADIUM BLVD STE 201            211 N STADIUM BLVD STE 201                211 N. STADIUM BLVD., SUITE 201
COLUMBIA, MO 65203                    COLUMBIA, MO 65203                        COLUMBIA, MO 65203




THF CHESTERFILED TWO DEVELOPMENT,     THF MANAGEMENT, INC.                      THF MAPLEWOOD SHOPS DEVELOPMENT
LLC                                   211 N. STADIUM BLVD., SUITE 201           LLC
C/O THF MANAGEMENT, INC.              COLUMBIA, MO 65203                        2127 INNERBELT BUSINESS CTR DR STE 200
211 N STADIUM BLVD STE 201                                                      SAINT LOUIS, MO 63114
COLUMBIA, MO 65203
                       Case 18-12241-CSS
THF MAPLEWOOD SHOPS DEVELOPMENT              Doc 26 THREE
                                      THF WENTZVILLE    Filed  10/05/18 LLC
                                                            DEVELOPMENT   PageTHF
                                                                               1564    of 1739THREE DEVELOPMENT,
                                                                                  WENTZVILLE
LLC                                   C/O TKG MANAGEMENT, INC.                LLC
C/O TKG MANAGEMENT, INC.              211 N STADIUM BLVD STE 201              C/O TKG MANAGEMENT, INC.
211 N STADIUM BLVD STE 201            COLUMBIA, MO 65203                      211 N. STADIUM BOULEVARD, SUITE 201
COLUMBIA, MO 65203                                                            COLUMBIA, MO 65203



THF WINDING WOODS DEVELOPMENT LLC       THF WINDING WOODS DEVELOPMENT LLC       THF WINDING WOODS DEVELOPMENT LLC
C/O TKG MANAGEMENT, INC.                C/O TKG MANAGEMENT, INC.                C/O TKG MANAGEMENT, INC.
211 N STADIUM BLVD STE 201              ATTN: LEGAL                             ATTN: PROPERTY MANAGEMENT
COLUMBIA, MO 65203                      211 N STADIUM BLVD STE 201              211 N STADIUM BLVD STE 201
                                        COLUMBIA, MO 65203                      COLUMBIA, MO 65203



THF WINDING WOODS DEVELOPMENT LLC       THF-CG CHARLESTON LIMITED               THI PEEPLES
DBA THE REALTY INC                      PARTNERSHIP                             10201 S. MAIN STREET
2127 INNERBELT BUSINESS CENTER DR 200   C/O TKG MANAGEMENT, INC.                HOUSTON, TX 77025
ST LOUIS, MO 63114                      211 NORTH STADIUM BLVD., SUITE 201
                                        COLUMBIA, MO 65203



THIAGO MEIRA                            THIERRY ALEXANDRE                       THINK UTILITY SERVICES INC
122 BEAGLE RUN                          10201 S. MAIN STREET                    4685 118TH AVENUE NORTH
MOUNT JULIET, TN 37122                  HOUSTON, TX 77025                       CLEARWATER, FL 33762




THIRD AND FIFTY-EIGHTH LLC              THIRD AND FIFTY-EIGHTH LLC              THIRD GENERATION, LLC
500 PARK AVE 11TH FLOOR                 C/O LARSTRAND CORPORATION               6035 W. GROSS POINT ROAD
NEW YORK, NY 10022                      22 EAST 65TH STREET                     NILES, IL 60714
                                        NEW YORK, NY 10065




THISTLE INC                             THOM PAYNE                              THOMAS & COMPANY
1008 COMMERCIAL DR                      10201 S. MAIN STREET                    ONE VANTAGE WASY STE A-105
OWENSVILLE, MO 65066                    HOUSTON, TX 77025                       PO BOX 280100
                                                                                NASHVILLE, TN 37228




THOMAS A CAVALIERE                      THOMAS A TAYLOR                         THOMAS A. INZANA
O WESLEY CT                             1533 SOLANO AVE                         11461 ROYAL DRIVE
MOUNT HOLLY, NJ 08060                   BERKELEY, CA 94707                      BROOKSVILLE, FL 34601




THOMAS ADAMS                            THOMAS ALEXANDER                        THOMAS AND THORNGREN INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                    THOMAS & COMPANY
HOUSTON, TX 77025                       HOUSTON, TX 77025                       ONE VANTAGE WAY STE A-105
                                                                                NASHVILLE, TN 37228




THOMAS ANDREWS                          THOMAS ANNABLE                          THOMAS BASCIANO
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS BECK                             THOMAS BERRY                            THOMAS BOOKO
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
THOMAS BOYLAN          Case 18-12241-CSS   Doc
                                      THOMAS    26 Filed 10/05/18
                                             BRANDNER                     PageTHOMAS
                                                                               1565 of 1739
                                                                                     BRESNAHAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS BURCH                          THOMAS CAMMACK                          THOMAS CAVANAUGH
10201 S. MAIN STREET                  2148 HARLOD ST 2                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77098                       HOUSTON, TX 77025




THOMAS CLARK                          THOMAS CONTE                            THOMAS COOK
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS COUNTY                         THOMAS COZART                           THOMAS CREMER
OFFICE OF TAX COMMISSIONER            10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 2175                           HOUSTON, TX 77025                       HOUSTON, TX 77025
THOMASVILLE, GA 31799




THOMAS CUSTER                         THOMAS D LUBY                           THOMAS D LUBY
10201 S. MAIN STREET                  668 N COAST HWY 199                     P.O. BOX 1614
HOUSTON, TX 77025                     LAGUNA BEACH, CA 92651                  LAGUNA BEACH, CA 92652




THOMAS D. BUFKIN                      THOMAS DALY                             THOMAS DECKER
C/O COLDWELL BANKER COMMERCIAL        10201 S. MAIN STREET                    10201 S. MAIN STREET
LENHART                               HOUSTON, TX 77025                       HOUSTON, TX 77025
304 E. LOOP 281, SUITE C
LONGVIEW, TX 75605



THOMAS DECKER                         THOMAS DELANEY                          THOMAS DONNELLY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS DONOHUE                        THOMAS DOXSEE                           THOMAS DUTTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS DUTTON                         THOMAS ENGLISH RETAIL REAL ESTATE       THOMAS EVA
10201 S. MAIN STREET                  SERVICES                                10201 S. MAIN STREET
HOUSTON, TX 77025                     725 E. 65TH STREET, SUITE 300           HOUSTON, TX 77025
                                      INDIANAPOLIS, IN 46220




THOMAS EVARISTO                       THOMAS FAULKNER                         THOMAS FLANAGAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025
THOMAS FOWLES          Case 18-12241-CSS   Doc
                                      THOMAS     26 Filed 10/05/18
                                             G PAIGE                      PageTHOMAS
                                                                               1566 of 1739 III
                                                                                     G PERRY
10201 S. MAIN STREET                   1713 69TH AVE W B403                    9004 PROSPERITY LN
HOUSTON, TX 77025                      BRADENTON, FL 34207                     PORT RICHEY, FL 34668




THOMAS G. DAVIS III                    THOMAS GALLAWAY CORP                    THOMAS GEE
647 MAIN ST                            DBA TECHNOLOGENT                        10201 S. MAIN STREET
BROOKVILLE, IN 47012                   19 RANCHO CIRCLE                        HOUSTON, TX 77025
                                       LAKE FOREST, CA 92630




THOMAS GIBSON                          THOMAS GOSSETT                          THOMAS GRAJEK
101 S STATE ST                         10201 S. MAIN STREET                    10201 S. MAIN STREET
DANVERS, IL 61732                      HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS GRIFFIN                         THOMAS HADDAWAY                         THOMAS HALLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS HALPERN                         THOMAS HALZACK                          THOMAS HAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS HANSEN DBA T. HANSEN            THOMAS HARKLEROAD                       THOMAS HEARL
TRANSPORT                              10201 S. MAIN STREET                    10201 S. MAIN STREET
PO BOX 911                             HOUSTON, TX 77025                       HOUSTON, TX 77025
MANSFIELD, MA 02048




THOMAS HENN                            THOMAS HERRERA                          THOMAS HERSKOWITZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS HIGGINS                         THOMAS HILL                             THOMAS HOLLAND
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS HOPPE                           THOMAS HUGHES                           THOMAS HUMPHREY
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




THOMAS HURST                           THOMAS J ELIAS DBA T J ELIAS INC        THOMAS JOHNSON
10201 S. MAIN STREET                   1602 TUCUMCARI DR                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77090                       HOUSTON, TX 77025
THOMAS JONES           Case 18-12241-CSS   Doc
                                      THOMAS     26 Filed 10/05/18
                                             JURLANDO                      PageTHOMAS
                                                                                1567 of 1739
                                                                                      KAMBYLIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




THOMAS KIZIRIAN                        THOMAS KOZLOWSKI                         THOMAS KURUTZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




THOMAS LAMONT                          THOMAS LAWN CARE AND LANDSCAPING,        THOMAS M SHEARER
10201 S. MAIN STREET                   LLC                                      22595 SW MIAMI DR
HOUSTON, TX 77025                      PO BOX 5986                              TUALATIN, OR 97062
                                       LONGVIEW, TX 75608




THOMAS MCBREARTY                       THOMAS MCNAMARA                          THOMAS MEDINA
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




THOMAS MIKOSKI                         THOMAS MOORE                             THOMAS MURPHY
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




THOMAS NEELON                          THOMAS O NEIL                            THOMAS ODONNELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025




THOMAS P. ONEILL                       THOMAS P. WILLIAMS                       THOMAS PERRY
4530 CONCORD LANDING DR 113            822 W. HAMILTON ST STE 301               10201 S. MAIN STREET
ORLANDO, FL 32839                      ALLENTOWN, PA 18101                      HOUSTON, TX 77025




THOMAS POPP                            THOMAS POWELL                            THOMAS PUZAK
10201 S. MAIN STREET                   10201 S. MAIN STREET                     8721 ELLIOT AVE S
HOUSTON, TX 77025                      HOUSTON, TX 77025                        BLOOMINGTON, MN 55420




THOMAS R. BUCKNER, AS TRUSTEE          THOMAS RAMOS                             THOMAS RINEAR
THE ELEANORA M. WADDELL TRUST                                                   10201 S. MAIN STREET
U/I/D JULY 30, 2004                                                             HOUSTON, TX 77025
6070 POPLAR AVENUE, SUITE 600
MEMPHIS, TN 38119-3901



THOMAS ROBERTS                         THOMAS ROCK                              THOMAS RODRIGUEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                        HOUSTON, TX 77025
THOMAS ROMAN            Case 18-12241-CSS   Doc
                                       THOMAS     26 Filed 10/05/18
                                              SALVATORI                  PageTHOMAS
                                                                              1568 of 1739
                                                                                    SCHAFER
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




THOMAS SCHOFIELD                        THOMAS SHAW                          THOMAS SIMPSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




THOMAS SMITH                            THOMAS SOKOLSKI                      THOMAS SUAREZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




THOMAS SULLIVAN                         THOMAS SULLIVAN                      THOMAS SUMPTER
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




THOMAS TART                             THOMAS TIMS                          THOMAS TRAEUMER
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




THOMAS TREXLER                          THOMAS TRUBIA                        THOMAS VENTURES, LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                 P.O. BOX 99342
HOUSTON, TX 77025                       HOUSTON, TX 77025                    LOUISVILLE, KY 40299




THOMAS W AMBROSE                        THOMAS WASHINGTON                    THOMAS WHISTON
1217 JENA ST                            10201 S. MAIN STREET                 10201 S. MAIN STREET
NEW ORLEANS, LA 70115                   HOUSTON, TX 77025                    HOUSTON, TX 77025




THOMAS WHITMAN                          THOMAS WOMACK                        THOMAS WOOD
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




THOMAS                                  THOMAS, FOLAYAN                      THOMAS, MICHAEL
ATTN: PROPERTY TAX DEPT.                1141 BAKER STREET                    1292 METTEN AVE
PO BOX 2175                             GARY, IN 46404-1629                  PITTSBURG, CA 94565-6226
THOMASVILLE, GA 31799




THOMAS-EDGEMONT PROPERTIES LLC          THOMASTON POLLUTION CONTRL DPT       THOMASTON POLLUTION CONTROL
2643 BREEZEWOOD DR                      170 MAIN ST                          ATTN: PROPERTY TAX DEPT.
LANCASTER, PA 17601                     THOMASTON, MI 04851                  PO BOX 299
                                                                             THOMASTON, ME 04861-0299
THOMASVILLE CITY SCHOOLCase
                         TAX   18-12241-CSS   Doc 26
                                         THOMASVILLE     Filed 10/05/18
                                                     FURNITURE               PageTHOMASVILLE
                                                                                  1569 of 1739
                                                                                             UTILITIES
PO BOX 1397                               PO BOX 75120                            111 VICTORIA PLACE
THOMASVILLE, GA 31799-1397                CHARLOTTE, NC 28275                     THOMASVILLE, GA 31799




THOMASVILLE UTILITIES                     THOMPSON ELECTRONICS CO                 THOMPSON GAS
P.O. BOX 1397                             905 S BOSCH RD                          5260 WESTVIEW DRIVE, STE 200
THOMASVILLE, GA 31799-1397                PEORIA, IL 61607                        FREDERICK, MD 21703




THOMPSON GAS                              THOMPSON THRIFT DEVELOPMENT INC.        THOMPSON, DANIELLE
P.O. BOX 240                              901 WABASH AVE STE 300                  2006 38TH AVE APT 4
FREDERICK, MD 21705-0240                  TERRE HAUTE, IN 47807                   OAKLAND, CA 94601-3753




THOMPSON, ERIC                            THOMSON COMPUMARK                       THOMSON REUTERS TAX & ACCOUNTING
209 DEFOE DR                              PO BOX 71892                            PO BOX 6016
COLUMBIA, MO 65203-0207                   CHICAGO, IL 60694-1892                  CAROL STREAM, IL 60197-6016




THOMSON REUTERS                           THOMSON REUTERS                         THORNTON LONG TERM INVESTMENTS LLC
PAYMENT CENTER                            PO BOX 71892                            I-10 & FLORENCE
PO BOX 6292                               CHICAGO, IL 60694-7189                  200 N MARYLAND STE 201
CAROL STREAM, IL 60197-6292                                                       GLENDALE, CA 91206




THORNTON OLIVER KELLER COMMERCIAL         THORSAND INC DBA SYSTECH                THREE RIVERS ESTATES LLC
RE LLC                                    PO BOX 12596                            PO BOX 5902
250 S 5TH ST 2ND FL                       ODESSA, TX 79768                        ALPHARETTA, GA 30023
BOISE, ID 83702




THREE TWELVE CLEMATIS CORP                THRESHOLD COMMUNICATIONS                THRESHOLD
5000 GEORGIA AVE                          MS 310155                               P.O. BOX 9001013
WEST PALM BEACH, FL 33405                 P.O. BOX 84172                          LOUISVILLE, KY 40290-1013
                                          SEATTLE, WA 98124-5472




THRUWAY SHOPPING CENTER LLC               THUNDER D, LLC                          THUNDER VALLEY CASINO RESORT
C/O SAUL HOLDINGS LTD                     8203 ESPANOLA TRAIL                     SALES DEPT
P O BOX 64288                             AUSTIN, TX 78737                        1200 ATHENS AVE
BALTIMORE, MD 21264-4288                                                          LINCOLN, CA 95648




THURSTON COUNTY TREASURER                 THY PAN                                 THYSSE PRINTING SERVICE INC
ATTN: PROPERTY TAX DEPT.                  3008 TREEHOUSE PKWY                     281 W NETHERWOOD ST
2000 LAKERIDGE DR SW                      NORCROSS, GA 30093                      OREGON, WI 53575
OLYMPIA, WA 98502-6080




THYSSENKRUPP ELEVATOR CORP                TIA COLBERT                             TIA COLLINS
P.O. BOX 933004                           2607 PACES RIDGE APT F                  10201 S. MAIN STREET
ATLANTA, GA 31193-3004                    ATLANTA, GA 30339                       HOUSTON, TX 77025
TIA NORMAN             Case 18-12241-CSS     Doc 26
                                      TIA STOKES           Filed 10/05/18   PageTIA
                                                                                 1570   of 1739
                                                                                    WILLIAMS
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TIAA-CREF REAL PROPERTY FUND REIT LLC   TIAGA PHILLIPS                           TIAGO HOLDINGS, LLC
TRPF MARLTON SQUARE LLC                 10201 S. MAIN STREET                     ATTN: GENERAL COUNSEL
730 THIRD AVE                           HOUSTON, TX 77025                        ONE METROTECH CENTER, 23RD FLOOR
NEW YORK, NY 10017                                                               BROOKLYN, NY 11201




TIAGO HOLDINGS, LLC                     TIANA BATTLE                             TIANA GHELFI
ATTN: MR. DAVID BLUMENFIELD             10201 S. MAIN STREET                     10201 S. MAIN STREET
300 ROBBINS LANE                        HOUSTON, TX 77025                        HOUSTON, TX 77025
SYOSSET, NY 11791




TIANA KELLY                             TIANA RODGERS                            TIANA TAYLOR
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TIBUS, SANDRA AND DENNIS TIBUS          TIBUS, SANDRA                            TIC INVESTMENT COMPANY LLC
C/O LABARBIERA & MARTINEZ               91 EDGEWATER PL                          550 NEWPORT CENTER DR
ATTN: LUIS MARTINEZ                     EDGEWATER, NJ 70207-206                  NEWPORT BEACH, CA 92660
9252 KENNEDY BLVD
NORTH BERGEN, NJ 07047



TIC INVESTMENT COMPANY LLC              TIC SP 170, LLC                          TIC SP 170, LLC
DBA THE IRVINE COMPANY LLC              ATTN: JEFFREY F. HARRIMAN                ATTN: JEFFREY F. HARRIMAN
PO BOX 84-2568                          121 REDWOOD DRIVE                        7 4TH ST STE 35
LOS ANGELES, CA 90084-2568              WOODACRE, CA 94973                       PETALUMA, CA 94952




TICE SIMMONS                            TICKET TO DREAM FOUNDATION               TIDAL TOWN TUSCALOOSA LLC
10201 S. MAIN STREET                    2205 PLAZA DRIVE                         RETAIL SPECIALISTS LLC
HOUSTON, TX 77025                       ROCKLIN, CA 95765                        PO BOX 531247
                                                                                 BIRMINGHAM, AL 35253




TIDASHIA JONES                          TIDBITS LLC                              TIDEWATER COMMUNICATIONS LLC
10201 S. MAIN STREET                    PO BOX 140664                            HARRISONBURG RADIO GROUP
HOUSTON, TX 77025                       DALLAS, TX 75214                         1820 HERITAGE CENTER WAY
                                                                                 HARRISONBURG, VA 22801




TIDEWATER UTILITIES INC                 TIERA CARSONNICHOLSON                    TIERA WILLIAMS
P.O. BOX 826538                         10201 S. MAIN STREET                     10201 S. MAIN STREET
PHILADELPHIA, PA 19182-6538             HOUSTON, TX 77025                        HOUSTON, TX 77025




TIERNEY GRAYSON                         TIERRA GROUP INC.                        TIFFANEE LEE
817 WEST AVE                            VIVIAN PETERSON, PRESIDENT               10201 S. MAIN STREET
ELYRIA, OH 44035                        10210 NE 8TH STREET, SUITE 208           HOUSTON, TX 77025
                                        BELLEVUE, WA 98004
TIFFANIE BRASHEARS      Case 18-12241-CSS     Doc
                                       TIFFANIE    26 Filed 10/05/18
                                                SUMTER-JONES             PageTIFFANY
                                                                              1571 of   1739 PLLC
                                                                                     & TIFFANY
10201 S. MAIN STREET                    10201 S. MAIN STREET                  770 INDEPENDENCE CIRCLE STE 200
HOUSTON, TX 77025                       HOUSTON, TX 77025                     VIRGINIA BEACH, VA 23455




TIFFANY BARRON                          TIFFANY BENDER                        TIFFANY BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




TIFFANY BRYANT                          TIFFANY CAGE                          TIFFANY CANNON
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




TIFFANY CUTLER                          TIFFANY DENTON                        TIFFANY FEDUSKA
10201 S. MAIN STREET                    10201 S. MAIN STREET                  216 ANITA CT.
HOUSTON, TX 77025                       HOUSTON, TX 77025                     REDLANDS, CA 92373




TIFFANY FERRAZAS                        TIFFANY GREEN                         TIFFANY HAHN
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




TIFFANY HALSEY                          TIFFANY HARRIS                        TIFFANY HAWTHORNE
10201 S. MAIN STREET                    10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                     HOUSTON, TX 77025




TIFFANY HNAT                            TIFFANY JACKSON                       TIFFANY JULIEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                  4009 BRAIDED STREAMWAY APT 1D
HOUSTON, TX 77025                       HOUSTON, TX 77025                     INDIANAPOLIS, IN 46268




TIFFANY JUNE                            TIFFANY KELLAR                        TIFFANY KIMBROUGH ECKISS
10201 S. MAIN STREET                    1620 ALRITA                           10201 S. MAIN STREET
HOUSTON, TX 77025                       SAN LUIS OBISPO, CA 93401             HOUSTON, TX 77025




TIFFANY LEACH                           TIFFANY MARIE STRICKLAND              TIFFANY MARSHALL
10201 S. MAIN STREET                    4009 BRAIDED STREAM WAY APT 10        10201 S. MAIN STREET
HOUSTON, TX 77025                       INDIANAPOLIS, IN 46268                HOUSTON, TX 77025




TIFFANY MARTIN                          TIFFANY MONTES-SHOOPMAN               TIFFANY MULL
4555 SUMMERSET DRIVE                    10201 S. MAIN STREET                  10201 S. MAIN STREET
GAINESVILLE, GA 30507                   HOUSTON, TX 77025                     HOUSTON, TX 77025
TIFFANY PINNOCK         Case 18-12241-CSS
                                       TIFFANYDoc  26 Filed 10/05/18
                                               PRITCHETT               PageTIFFANY
                                                                            1572 of  1739
                                                                                   RENA BOSWELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                2070 LAKE HARBIN RD APT L9
HOUSTON, TX 77025                       HOUSTON, TX 77025                   MORROW, GA 30260




TIFFANY ROLDAN                          TIFFANY SALAZAR                     TIFFANY SIMPSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




TIFFANY SLAVIN                          TIFFANY SOSEBEE                     TIFFANY STINSON
20903 LONELY STAR LN                    10201 S. MAIN STREET                10201 S. MAIN STREET
RICHMOND, TX 77406                      HOUSTON, TX 77025                   HOUSTON, TX 77025




TIFFANY TACKITT                         TIFFANY THOENNES                    TIFFANY THOMPSON
10201 S. MAIN STREET                    2040 WISCONSIN ST                   10201 S. MAIN STREET
HOUSTON, TX 77025                       STURTEVANT, WI 53177                HOUSTON, TX 77025




TIFFANY TONEY                           TIFFANY TOWNSEND                    TIFFANY TUCKER
1501 BUCKINGHAM PLACE                   10201 S. MAIN STREET                10201 S. MAIN STREET
STOCKBRIDGE, GA 30281                   HOUSTON, TX 77025                   HOUSTON, TX 77025




TIFFANY VALENCIA                        TIFFANY WELLS                       TIFFANY WESLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




TIFFANY WILLIAMS                        TIFFANY WOOD                        TIFFNEY ATWATER-LAWSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77025




TIG REAL ESTATE SERVICES, INC.          TIGER OAK MEDIA INC                 TIGER SANITATION INC
901 S. MOPAC EXPRESSWAY, BUILDING 4,    900 S 3RD ST                        6315 HWY 87 E
SUITE 285                               MINNEAPOLIS, MN 55415               SAN ANTONIO, TX 78222
AUSTIN, TX 78746




TIGER SANITATION INC                    TIGER SIGNS                         TIJANA VUCENOVIC
P.O. BOX 200143                         14417 COTTINGHAM CT                 10201 S. MAIN STREET
SAN ANTONIO, TX 78220-0143              BATON ROUGE, LA 70817               HOUSTON, TX 77025




TIJUANA JOHNSON                         TIJUANITA WASHINGTON                TIKS ENTERPRISE LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                10130 WHITE OAK TRAIL LN
HOUSTON, TX 77025                       HOUSTON, TX 77025                   HOUSTON, TX 77064
TILLERY WARD           Case 18-12241-CSS
                                      TILLMANDoc 26 Filed 10/05/18
                                              CARLSON                 PageTILMAN
                                                                           1573 PEED
                                                                                 of 1739
10201 S. MAIN STREET                   311 SOUTH WACKER DRIVE             10201 S. MAIN STREET
HOUSTON, TX 77025                      SUITE 5250                         HOUSTON, TX 77025
                                       CHICAGO, IL 60606




TIM BAKER                              TIM BAKER                          TIM BATTEN
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIM BOWMAN                             TIM BRENNAN                        TIM BROMBACKER
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIM BUMGARNER                          TIM CALLEJA                        TIM CASHELL
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIM COMPTON                            TIM CONFER                         TIM CRESSLER
10201 S. MAIN STREET                   2601 LA FRONTERA BLVD 2228         10201 S. MAIN STREET
HOUSTON, TX 77025                      ROUND ROCK, TX 78681               HOUSTON, TX 77025




TIM CULP                               TIM DAVILA                         TIM DOUGLAS
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIM EBERTH                             TIM FARRAR                         TIM FOGLIANO
10201 S. MAIN STREET                   4315 BRIGHTS BND                   10201 S. MAIN STREET
HOUSTON, TX 77025                      MISSOURI CITY, TX 77459-4200       HOUSTON, TX 77025




TIM FREEMAN                            TIM FRIEDEL                        TIM GENTILE
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIM GIVENS                             TIM HANSEN                         TIM HARRIS
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIM HARRIS                             TIM HILTON                         TIM ISOM
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025
TIM KELLY              Case 18-12241-CSS     Doc 26
                                      TIM KELLY          Filed 10/05/18   PageTIM
                                                                               1574  of 1739
                                                                                  LARAE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIM MAY                                TIM MAYES                              TIM MONROE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIM MORRISSETTE                        TIM NGUYEN                             TIM NICHOLS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIM OAKHILL                            TIM OAKHILL                            TIM PARKER
104 PULO DR                            5815 GULF FREEWAY                      10201 S. MAIN STREET
ATLANTA, GA 30309                      HOUSTON, TX 77023                      HOUSTON, TX 77025




TIM PEEL                               TIM RIGGLEMAN                          TIM SCHMITZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIM SCHNITTJER                         TIM SCHWARTZ                           TIM SETZER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIM SMITH                              TIM STANLEY                            TIM STEPHENS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIM STRATTON                           TIM TAYLOR                             TIM TRZASKOWSKI
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIM TUCKER                             TIM WALD                               TIMBER PINES PLAZA LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                   5236 COMMERCIAL WAY STE F
HOUSTON, TX 77025                      HOUSTON, TX 77025                      SPRING HILL, FL 34606




TIMBERHORN LLC                         TIMBERLY BRISCOE                       TIME EQUITIES INC
3000 INTERNET BLVD STE 100             10201 S. MAIN STREET                   55 FIFTH AVE 14TH FLOOR
FRISCO, TX 75034                       HOUSTON, TX 77025                      NEW YORK, NY 10003
TIME LINE EXP DEL LLC   Case 18-12241-CSS    Doc 26
                                       TIME WARNER     Filed
                                                   CABLE MEDIA10/05/18
                                                               INC       PageTIME
                                                                              1575  of 1739
                                                                                  WARNER CABLE MEDIA INC
597 WENDLEBURY CT                        26683 NETWORK PLACE                  5001 SPRING VALLEY RD STE 550E
ALPHARETTA, GA 30004                     CHICAGO, IL 60673                    DALLAS, TX 75244




TIME WARNER CABLE MEDIA SALES            TIME WARNER CABLE NORTHEAST          TIME WARNER CABLE
PO BOX 27908                             PO BOX 901                           BOX 223085
NEW YORK, NY 10087                       CAROL STREAM, IL 60132-0901          PITTSBURG, PA 15251-2085




TIME WARNER CABLE                        TIME WARNER CABLE                    TIME WARNER CABLE
P.O. BOX 60074                           P.O. BOX 70872                       PO BOX 4639
CITY OF INDUSTRY, CA 91716-0074          CHARLOTTE, NC 28272-0872             CAROL STREAM, IL 60197




TIME WARNER CABLE                        TIME WARNER                          TIME WARNER
PO BOX 916                               26000 CANNON RD                      6315 HWY 87 E
CAROL STREAM, IL 60132-0916              CLEVELAND, OH 44146                  SAN ANTONIO, TX 78222




TIME WARNER                              TIME-NEWS                            TIMEPAYMENT CORP
P.O. BOX 910182                          PO BOX 742548                        PO BOX 3069
DENVER, CO 80291-0182                    CINCINNATI, OH 45274-2548            WOBURN, MA 01888-1969




TIMES DAILY                              TIMES DAILY                          TIMES HERALD RECORD
219 W TENNESSEE ST                       P.O. BOX 2213                        PO BOX 223510
FLORENCE, AL 35630                       DECATUR, AL 35609-2213               PITTSBURGH, PA 15251-2510




TIMES- NEWS PUBLISHING CO INC            TIMES- NEWS PUBLISHING CO INC        TIMES NEWS
DBA BURLINGTON TIMES NEWS                PO BOX 102542                        PO BOX 102085
111 CENTER STREET SUITE 2020             ATLANTA, GA 30368-2542               ATLANTA, GA 30368
LITTLE ROCK, AR 72201




TIMES PRINTING COMPANY INC               TIMES PUBLISHING CO INC              TIMES PUBLISHING COMPANY
PO BOX 400                               DBA WATERTOWN DAILY TIMES            PO BOX 6137
501 BUDLEIGH ST                          PO BOX 140                           ERIE, PA 16512-6137
MANTEO, NC 27954                         WATERTOWN, WI 53094-0140




TIMES RECORD                             TIMES RECORD                         TIMES-NEWS
PO BOX 10                                PO BOX 32029                         C/O LEE NEWSPAPERS
BRUNSWICK, ME 04011-1302                 LAKELAND, FL 33802                   PO BOX 742548
                                                                              CINCINNATI, OH 45274-2548




TIMES-UNION                              TIMM & GARFINKEL, LLC                TIMM CHING
PO BOX 1448                              ATTN: GLENN GARFINKEL, ESQ.          10201 S. MAIN STREET
WARSAW, IN 46581-1448                    770 LAKE COOK ROAD, SUITE 150        HOUSTON, TX 77025
                                         DEERFIELD, IL 60015
TIMMY GREEN            Case 18-12241-CSS    Doc 26
                                      TIMMY VIOLETTE     Filed 10/05/18   PageTIMONIUM
                                                                               1576 ofCROSSING,
                                                                                       1739 LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                   1954 GREENSPRING DRIVE, SUITE 223
HOUSTON, TX 77025                      HOUSTON, TX 77025                      TIMONIUM, MD 21093




TIMONIUM CROSSING, LLC                 TIMONTHY SANDERS                       TIMOTHY A HINKLE
PO BOX 6203                            7072 ALCALA                            DBA CLEANVIEW CLEANING SERVICES
HICKVILLE, NY 11802-6203               GRAND PRAIRIE, TX 75054                808 MOORE AVENUE
                                                                              BELPRE, OH 45714




TIMOTHY ALTIZER                        TIMOTHY BAKER                          TIMOTHY BAKER
PO BOX 667185                          10201 S. MAIN STREET                   10201 S. MAIN STREET
POMPANO BEACH, FL 33066                HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY BARNETT                        TIMOTHY BEAULIEU                       TIMOTHY BORAGINE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY BRADY                          TIMOTHY BROWN                          TIMOTHY BROWN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY CHOLFIN                        TIMOTHY D HOHL                         TIMOTHY DALE
10201 S. MAIN STREET                   22771 CLARK ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                      WEST LINN, OR 97068                    HOUSTON, TX 77025




TIMOTHY DOBBIN                         TIMOTHY DORAN                          TIMOTHY DRAKE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY DUNHAM                         TIMOTHY EDINGER                        TIMOTHY EVENS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   1630 BRIDGEWATER RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                      MINNEAPOLIS, MN 55422




TIMOTHY FARRELL                        TIMOTHY FELL                           TIMOTHY FLAVIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY GITTINGS                       TIMOTHY GLADNEY                        TIMOTHY GOINS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 CASA PALARMO DR 2
HOUSTON, TX 77025                      HOUSTON, TX 77025                      RIVERVIEW, FL 33578
TIMOTHY HEDUS          Case 18-12241-CSS    Doc
                                      TIMOTHY    26
                                              HOUCK      Filed 10/05/18   PageTIMOTHY
                                                                               1577 ofHOWK
                                                                                        1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   6043 CORTE MONTANAS
HOUSTON, TX 77025                      HOUSTON, TX 77025                      PLEASANTON, CA 94566




TIMOTHY HUGHES                         TIMOTHY HUNTSMAN                       TIMOTHY J. FLATHERS
MOORE TELEPHONE RD LLC                 10201 S. MAIN STREET                   CO EMERSONS COMMERCIAL MGMT US LLC
16000 DALLAS PRKWY STE 225             HOUSTON, TX 77025                      17776 PRESTON RD STE 100
DALLAS, TX 75248                                                              DALLAS, TX 75252




TIMOTHY JOHNSON                        TIMOTHY JOHNSON                        TIMOTHY JONES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY KELLY                          TIMOTHY KEOUGH                         TIMOTHY KING
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY KIRKPATRICK                    TIMOTHY KNOX                           TIMOTHY L SCHMITZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   13660 W 86TH CIRCLE
HOUSTON, TX 77025                      HOUSTON, TX 77025                      ARVADA, CO 80005




TIMOTHY LAMB                           TIMOTHY LAMBERSON                      TIMOTHY LOSCUITO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY M PARE                         TIMOTHY MARSHALL                       TIMOTHY MAY
PO BOX 186 704 TOWNDARM RD             10201 S. MAIN STREET                   5960 HIDDEN CREEK LANE
SPRINGFIELD, NH 03284                  HOUSTON, TX 77025                      FRISCO, TX 75034




TIMOTHY MEEHAN                         TIMOTHY NELLIGAN                       TIMOTHY NGO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY POLICE                         TIMOTHY PORTER                         TIMOTHY REAGAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TIMOTHY RIGGLEMAN                      TIMOTHY ROOT                           TIMOTHY ROSE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
TIMOTHY SCHOCK         Case 18-12241-CSS    Doc
                                      TIMOTHY    26 Filed 10/05/18
                                              SHEEHAN                PageTIMOTHY
                                                                          1578 ofSKONICKI
                                                                                   1739
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIMOTHY SMITH                          TIMOTHY STABELLI                   TIMOTHY STINNETT
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIMOTHY SULLIVAN                       TIMOTHY SZAFRANSKI                 TIMOTHY THOMAS
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIMOTHY TOLLIVER                       TIMOTHY TOMLINSON                  TIMOTHY TRAVALI
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TIMOTHY VARRELL                        TIMOTHY VEAL                       TIMOTHY WALLIN
10201 S. MAIN STREET                   10201 S. MAIN STREET               4790 GOLDEN FOOTHILL PARKWAY STE 120
HOUSTON, TX 77025                      HOUSTON, TX 77025                  EL DORADO HILLS, CA 95762




TIMOTHY WAYNE MINEAR                   TIMOTHY WILLIAMS                   TIMOTHY WILLIAMS
DBA MASTERS OF DISASTERS PLUMBING      10201 S. MAIN STREET               10201 S. MAIN STREET
101 E LAURA ST                         HOUSTON, TX 77025                  HOUSTON, TX 77025
ROGERS, AR 72758




TIMOTHY YAN                            TIMOTHY YOUNG                      TIN LU
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TINA BROWN                             TINA GEANE                         TINA GENSLER
10201 S. MAIN STREET                   140 MAIN ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                      INDIAN ORCHARD, MA 01151           HOUSTON, TX 77025




TINA GREEN                             TINA HANLEY                        TINA MALM
10201 S. MAIN STREET                   10201 S. MAIN STREET               10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                  HOUSTON, TX 77025




TINA PHAM                              TINA ROSSON                        TINA SCHUENEMANN
10201 S. MAIN STREET                   4000 PIERCE STREET 198             10201 S. MAIN STREET
HOUSTON, TX 77025                      RIVERSIDE, CA 92505                HOUSTON, TX 77025
TINA URIBE-VELAZQUEZ     Case 18-12241-CSS    Doc 26
                                        TINA WALL         Filed 10/05/18      PageTINA
                                                                                   1579  of 1739
                                                                                       WHIPP
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




TINA WILLIAMSON                         TINA WILLIAMSON                           TINGTING WU
2106 PARK LAKE LN                       IRVIN BOWEN HALE-SMITH LLC                10201 S. MAIN STREET
NORCROSS, GA 30092                      2970 PEACHTREE RD NW STE 225              HOUSTON, TX 77025
                                        ATLANTA, GA 30305




TINO DINH                               TINSLEY PLACE LLC                         TINSLEY PLACE LLC
10201 S. MAIN STREET                    DBA TURNER WESTOVER VILLAGE LLC           DBA TURNER WESTOVER VILLAGE LLC
HOUSTON, TX 77025                       316 KELLY DR                              PO BOX 767
                                        WACO, TX 76710                            WACO, TX 76703




TINT WORKS INC                          TIP 007 LLC                               TIP 041 LLC
70 WOODFIN PL STE 301C                  3032 AUTUMN LEAVES CIRCLE                 3032 AUTUMN LEAVES CIRCLE
ASHEVILLE, NC 28801                     GREEN BAY, WI 54313                       GREEN BAY, WI 54313




TIP MAINTENANCE BUILDING SERVICES       TIPPECANOE COUNTY TREASURER               TIPRINT INC
DIVISION LLC                            ATTN: PROPERTY TAX DEPT.                  4730 SO PACKARD AVENUE
2720 W WELDON AVE                       20 N 3RD ST                               CUDAHY, WI 53110
PHOENIX, AZ 85017                       LAFAYETTE, IN 47901-1205




TIRSIT ASFAW                            TIRSO TIMOTEO                             TIRSO, TIMOTEO
10201 S. MAIN STREET                    10201 S. MAIN STREET                      1401 LAKEWOOD AVE APT 121
HOUSTON, TX 77025                       HOUSTON, TX 77025                         MODESTO, CA 95355-3598




TISANO MEMPHIS, LLC                     TISANO REALTY, INC.                       TISH HOWARD
13 CAMELBACK COURT                      13 CAMELBACK COURT                        10201 S. MAIN STREET
BRENTWOOD, TN 37027                     BRENTWOOD, TN 37027                       HOUSTON, TX 77025




TISHA KEELS                             TITAN IMPORT CO.                          TITAN OUTDOOR HOLDINGS INC
10201 S. MAIN STREET                    6045 BOAT ROCK BLVD.                      DBA TITAN OUTDOOR LLC
HOUSTON, TX 77025                       ATLANTA, GA 30336                         PO BOX 5179
                                                                                  NEW YORK, NY 10087




TITIANA QUILDAN                         TITO DIXON                                TITO GONZALEZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




TITUS BASKIN                            TIVOLI OWNERS & TENANTS ASSOCIATION       TIVOLI PARTNERS COMMERCIAL LLC
10201 S. MAIN STREET                    13548 DISCOVERY DR STE J                  3333 14TH ST NW SUITE 300
HOUSTON, TX 77025                       OMAHA, NE 68137                           WASHINGTON, DC 20010
TIVOLI PROPERTY, LLC Case 18-12241-CSS
                                    TIZIANADoc  26 Filed
                                           BURNETT           10/05/18     PageTJ1580
                                                                                 ELIASof 1739
ATTN: RODGER HERMAN                 1275 PALM COVE DR                          10201 S. MAIN STREET
3502 OAKWOOD MALL DRIVE, SUITE A    CHARLESTON, SC 29492                       HOUSTON, TX 77025
EAU CLAIRE, WI 54701




TJ GOMEZ                             TJ HATHORNE                               TJ HAYES
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




TJ HUNTAR                            TJ JOHNSON                                TJ MILLER
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




TJ RAMHARRACK                        TJ SHELBY                                 TJ SHOCKLEY
10201 S. MAIN STREET                 10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                    HOUSTON, TX 77025                         HOUSTON, TX 77025




TJ SMIT                              TJ THOMASON ENTERPRISES LLC               TJ TIERNEY
10201 S. MAIN STREET                 DBA HEADS UP MEDIA                        10201 S. MAIN STREET
HOUSTON, TX 77025                    9591 DRIPPING SPRINGS RD                  HOUSTON, TX 77025
                                     DENISON, TX 75021




TJANY WHEELER                        TJU INVESTMENTS, LLC                      TJU INVESTMENTS, LLC
10201 S. MAIN STREET                 625 N CARLTON AVE                         C/O WAVELAND PROPERTY GROUP, INC.
HOUSTON, TX 77025                    WHEATON, IL 60187                         117 W. WILLOW AVENUE
                                                                               WHEATON, IL 60187




TK STELLY                            TKC CLXXVIII, LLC                         TKC CLXXVIII, LLC
10201 S. MAIN STREET                 C/O THE KEITH CORPORATION                 C/O THE KEITH CORPORATION
HOUSTON, TX 77025                    4500 CAMERON VALLEY PARKWAY, SUITE        ATTN: KENNETH R. BEULEY
                                     400                                       4500 CAMERON VALLEY PARKWAY, SUITE
                                     ATTN: KENNETH R. BEULEY                   400
                                     CHARLOTTE, NC 28211                       CHARLOTTE, NC 28211


TKC LXX LLC                          TKC XLVIII LLC                            TKC XLVIII LLC
C/O THE KEITH CORPORATION            C/O THE KEITH CORPORATION                 C/O THE KEITH CORPORATION
5935 CARNEGIE BLVD STE 200           4500 CAMERON VALLEY PARKWAY, SUITE        4500 CAMERON VALLEY PKWY STE 400
CHARLOTTE, NC 28209                  400                                       CHARLOTTE, NC 28211
                                     CHARLOTTE, NC 28211



TKC XLVIII                           TKC XLVIII                                TKCXLV111 LLC
C/O THE KEITH CORPORATION            C/O THE KEITH CORPORATION                 4500 CAMERON VALLEY PKWY STE 400
4500 CAMERON VALLEY PARKWAY, SUITE   4500 CAMERON VALLEY PARKWAY, SUITE        CHARLOTTE, NC 28211
300                                  400
CHARLOTTE, NC 28211                  CHARLOTTE, NC 28211



TKDESIGNS PRINTING                   TKG BISCAYNE LLC                          TKG EL CON CENTER LLC
8207 15TH PLACE                      C/O TKG MANAGEMENT, INC.                  C/O THE KROENKE GROUP
HYATTSVILLE, MD 20783                ATTN: LEGAL DEPARTMENT                    211 N. STADIUM BOULEVARD, SUITE 201
                                     211 N STADIUM BLVD STE 201                COLUMBIA, MO 65203
                                     COLUMBIA, MO 65203
                      Case 18-12241-CSS
TKG LINCOLN CROSSING LLC                    Doc 26
                                     TKG LINCOLN       Filed
                                                 CROSSING  LLC10/05/18       PageTKG
                                                                                  1581  of 1739 INC.
                                                                                     MANAGEMENT,
C/O THE KROENKE GROUP                TKG MGMNT                                    ATTN: KELLY SEBASTIAN
211 N. STADIUM BOULEVARD, SUITE 201  211 N STADIUM BLVD STE 201                   211 NORTH STADIUM BLVD., SUITE 201
COLUMBIA, MO 65203                   COLUMBIA, MO 65203                           COLUMBIA, MO 65203




TKG MANAGEMENT, INC.                   TKG MANAGEMENT, INC.                       TKG MANAGEMENT, INC.
ATTN: RUSTY JOHNSON                    ATTN: S. RADNEY                            ATTN: WENDY BURKE
220 A RHL BOULEVARD                    211 NORTH STADIUM, SUITE 201               8725 AVIATOR LANE
CHARLESTON, WV 25309                   COLUMBIA, MO 65203                         ENGLEWOOD, CO 80112




TKG MANCHESTER HIGHLANDS SHOPPING      TKG PAXTON TOWNE CENTER                    TKG PAXTON TOWNE CENTER
CNTR LLC                               DEVELOPMENT, LP                            DEVELOPMENT, LP
ATTN: HIRAM WATSON                     C/O TKG MANAGEMENT, INC.                   C/O TKG MANAGEMENT, INC.
211 N STADIUM BLVD STE 201             211 N. STADIUM BOULEVARD, SUITE 201        ATTN: HIRAM WATSON
COLUMBIA, MO 65203                     ATTN: HIRAM WATSON                         211 N. STADIUM BOULEVARD, SUITE 201
                                       COLUMBIA, MO 65203                         COLUMBIA, MO 65203


TKG SPRING PRAIRE FOUR, LLC            TKG SPRING PRAIRIE DEVELOPMENT FOUR        TKG-MANCHESTER HIGHLANDS SHOPPING
C/O THE KROENKE GROUP                  LLC                                        CENTER LLC
211 N. STADIUM BOULEVARD, SUITE 201    211 N STADIUM BLVD STE 201                 C/O THE KROENKE GROUP
COLUMBIA, MO 65203                     COLUMBIA, MO 65203                         211 N. STADIUM BOULEVARD, SUITE 201
                                                                                  COLUMBIA, MO 65203



TL MANAGEMENT SVCS INC                 TLC PARTNERSHIP                            TLC PARTNERSHIP
PO BOX 692                             ATTN: LAWRENCE HENDRICKSON                 C/O LARRY HENDRICKSON
WHEATON, IL 60189                      6466 CITY WEST PARKWAY                     6466 CITY WEST PARKWAY
                                       EDEN PRAIRIE, MN 55344                     EDEN PRAIRIE, MN 55344




TLM                                    TLO PROPERTIES LLC                         TLS GROUP LLC
10000 COLLEGE BLVD STE 235             902 BIG OAK CIRCLE                         PO BOX 780225
OVERLAND PARK, KS 66210                AUGUSTA, GA 30907                          PHILADELPHIA, PA 19178-0225




TMB RETAIL, LLC                        TMB RETAIL, LLC                            TMC MANAGEMENT COMPANY
12886 INTERURBAN AVE S                 C/O KIDDER MATTHEWS                        3231 HARWOOD ROAD
SEATTLE, WA 98168                      ATTN: BILL FRAME                           BEDFORD, TX 76021
                                       1201 PACIFIC AVENUE, 1400
                                       TACOMA, WA 98402



TME III SAINT LLC                      TMGN 121 LLC                               TMGN 121, LLC
THE POAINTE AT ST. JOSEPH APTS         15907 RANCHITA DR                          ATTN: RON AVNERI
307 E LASALLE AVE                      DALLAS, TX 75248                           15907 RANCHITA DRIVE
SOUTH BEND, IN 46617                                                              DALLAS, TX 75248




TMGN 121, LLC                          TML BEDROCK LOGISTICS CO                   TMLP
ATTN: RON AVNERI                       10000 COLLEGE BLVD STE 235                 33 WEIR ST
P.O. BOX 795743                        OVERLAND PARK, KS 66210                    TAUNTON, MA 02780
DALLAS, TX 75379




TMLP                                   TMS MCCARTHY LP                            TMS MCCARTHY LP
P.O. BOX 870                           11 CHURCH ST, STE 220                      C/O CROSSPOINT REALTY SERVICES, INC.
TAUNTON, MA 02780-0870                 TORONTO, ON M5E 1M2                        855 EL CAMINO REAL, SUITE 410
                                       CANADA                                     PALO ALTO, CA 94301
TMS MCCARTHY LP        Case     18-12241-CSS    Doc 26LP Filed 10/05/18
                                          TMS MCCARTHY                          PageTMT
                                                                                     1582  of 1739
                                                                                        POINTE PLAZA, INC.
C/O MADISON CENTRE                         CROSSPOINT REALITY SERVICE                C/O MID-AMERICA ASSET MANAGEMENT,
ATTN: PRESIDENT                            PO BOX 45341                              INC.
4950 YONGE STREET, SUITE 1010              SAN FRANCISCO, CA 94145-0341              ONE PARKVIEW PLAZA 9TH FLOOR
TORONTO, ON M2N 6K1 CANADA                                                           VILLA PARK, IL 60181



TMT POINTE PLAZA, INC.                     TMW WELTFONDS ROLLING ACRES PLAZA LP      TN DEPT OF LABOR & WORKFORCE
C/O MID-AMERICA ASSET MANAGEMENT,          PO BOX 935133                             DEVELOPMENT
INC.                                       ATLANTA, GA 31193-5133                    UI RECOVERY UNIT
ONE PARKVIEW PLAZA, 9TH FLOOR                                                        PO BOX 24150
OAKBROOK TERRACE, IL 60181                                                           NASHVILLE, TN 37202-4150



TN SEVIERVILLE WINFIELD, LLC               TN SPRING HILL COLUMBIA PIKE, LLC         TN VALLEY MEDIA
ATTN: LEGAL DEPARTMENT                     ATTN: LEGAL DEPARTMENT                    PO BOX 797
550 S. MAIN STREET, SUITE 300              550 SOUTH MAIN STREET, SUITE 300          FLORENCE, AL 35631
GREENVILLE, SC 29601                       GREENVILLE, SC 29601




TNETERCOM COMMUNICATIONS CORP              TNI TELECOM INC                           TNPPM WEST OAKS LLC
DBA ENTERCOM AUSTIN LLC                    1500 BROADWAY STE 904                     CIII BACM 2007-3 RETAIL 9470 LLC
401 CITY AVE STE 809                       LUBBOCK, TX 79401                         2725 S INDUSTRIAL STE 300
BALA CYNWYD, PA 19004                                                                ANN ARBOR, MI 48104




TNP-TEX/NM                                 TNT PLAZA                                 TNT PLAZA
PO BOX 677890                              4747 NORTH 7TH STREET, SUITE 400          P.O. BOX 16688
DALLAS, TX 75267-7890                      PHOENIX, AZ 85014                         PHOENIX, AZ 85011-6688




TNT PRO SOUND & SATELLITE                  TO THE ESTATE OF DONALD M. NIERMAN        TO THE ESTATE OF DONALD SPRINGER
1023 CREEK BEND                            10201 S. MAIN STREET                      10201 S. MAIN STREET
CARROLLTON, TX 75007                       HOUSTON, TX 77025                         HOUSTON, TX 77025




TO THE ESTATE OF JENNIFER L. FLEMING       TO THE ESTATE OF JOSHUA ONEIL             TO THE ESTATE OF JOYCE ANN BUTLER
10201 S. MAIN STREET                       10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                         HOUSTON, TX 77025




TO THE ESTATE OF LARRY DEAN                TO THE ESTATE OF MARVIN RAY SHEPHERD      TO THE ESTATE OF MICHAEL AVALLONE
SPRAYBERRY                                 10201 S. MAIN STREET                      10201 S. MAIN STREET
10201 S. MAIN STREET                       HOUSTON, TX 77025                         HOUSTON, TX 77025
HOUSTON, TX 77025




TO THE ESTATE OF MYRA JEAN ALLTON          TO THE ESTATE OF ROBERT MANUEL            TO THE ESTATE OF ROCKY ALOYSIUS
10201 S. MAIN STREET                       CORDEIRO                                  CASTALDI
HOUSTON, TX 77025                          10201 S. MAIN STREET                      10201 S. MAIN STREET
                                           HOUSTON, TX 77025                         HOUSTON, TX 77025




TO THE ESTATE OF ROGER L. TREWITT          TOAST INC                                 TOBEY SHAW
10201 S. MAIN STREET                       401 PARK DR STE 801                       10201 S. MAIN STREET
HOUSTON, TX 77025                          BOSTON, MA 02215                          HOUSTON, TX 77025
TOBIAS BERNARD         Case 18-12241-CSS
                                      TOBIN &Doc  26P.A.Filed 10/05/18
                                              REYES,                          PageTOBY
                                                                                   1583  of 1739
                                                                                       LEUTHPHOVA
10201 S. MAIN STREET                    ATTN: RICK REYES, ESQ./BOB JOINES, ESQ.    10201 S. MAIN STREET
HOUSTON, TX 77025                       225 N.E. MIZNER BOULEVARD, SUITE 510       HOUSTON, TX 77025
                                        BOCA RATON, FL 33432




TOD FRYFOGLE                            TODD ALLEN                                 TODD AMBERS
5752 LA SEYNE PLACE                     10201 S. MAIN STREET                       10201 S. MAIN STREET
SAN JOSE, CA 95138                      HOUSTON, TX 77025                          HOUSTON, TX 77025




TODD ANTHONY HUTSON                     TODD AVERILL                               TODD CHURLIN
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




TODD DIKEMAN                            TODD DUMONT                                TODD EFFINGER
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




TODD EMRICK                             TODD ICARD                                 TODD JOHNSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




TODD KIRWIN                             TODD KOLKHORST                             TODD KRUCKMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




TODD LOMAX                              TODD LYONS                                 TODD MILLER
10201 S. MAIN STREET                    505 MILLENIUM ST                           10201 S. MAIN STREET
HOUSTON, TX 77025                       MOXEE, WA 98936                            HOUSTON, TX 77025




TODD MITCHELL CLARK                     TODD MULNIX                                TODD NEAL
2706 FLAGLER AVE                        10201 S. MAIN STREET                       10201 S. MAIN STREET
KEY WEST, FL 33040                      HOUSTON, TX 77025                          HOUSTON, TX 77025




TODD OTTENSCHOT                         TODD PARKS                                 TODD PREHODA
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




TODD RIECKE                             TODD SHUTTER                               TODD SLIGER
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025
TODD SMITH              Case 18-12241-CSS    Doc 26
                                       TODD SMITH        Filed 10/05/18   PageTODD
                                                                               1584SOWDEN
                                                                                     of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TODD STONE                             TODD WARNER                            TODD WHITLEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   402 LUCKADOO MT RD
HOUSTON, TX 77025                      HOUSTON, TX 77025                      BOSTIC, NC 28018




TODD WILLIAMS                          TODDRICK COLEMAN                       TODOR IVANOV
10201 S. MAIN STREET                   10201 S. MAIN STREET                   1901 AVENUE OF THE STARS STE 630
HOUSTON, TX 77025                      HOUSTON, TX 77025                      LOS ANGELES, CA 90067




TOG WEST                               TOG WEST                               TOG
17 BANK ST                             P.O. BOX 1240                          17 BANK ST
PO BOX 1240                            ATTLEBORO, MA 02703                    PO BOX 1240
ATTLEBORO, MA 02703-0240                                                      ATTLEBORO, MA 02703-0240




TOHO WATER AUTHORITY                   TOHO WATER AUTHORITY                   TOLEDO EDISON CO
951 MARTIN LUTHER KING BLVD            P.O. BOX 30527                         C/O FIRST EVERGY GROUP
KISSIMMEE, FL 34741                    TAMPA, FL 33630-3527                   76 SOUTH MAIN ST
                                                                              AKRON, OH 44308




TOLEDO EDISON CO                       TOLEDO HOLDINGS LLC                    TOLLAND
P.O. BOX 3687                          1400 16TH ST STE 300                   ATTN: PROPERTY TAX DEPT.
AKRON, OH 44309-3687                   OAK BROOK, IL 60523                    21 TOLLAND GREEN
                                                                              TOLLAND, CT 06084-3028




TOM & PAUL LOPES                       TOM ADIBMAND                           TOM ARNOLD
253 RT. 46 WEST                        10201 S. MAIN STREET                   10201 S. MAIN STREET
SADDLEBROOK, NJ 07663                  HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM BOOSKA                             TOM BUTKEVICH                          TOM CARNS
DBA NATIONAL FIRE SAFETY CO            10201 S. MAIN STREET                   10201 S. MAIN STREET
3171 GREEN GARDEN RD                   HOUSTON, TX 77025                      HOUSTON, TX 77025
ALIQUIPPA, PA 15001




TOM CHASE                              TOM CLAY                               TOM CUNNIFF
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM DANKS                              TOM DAVIS                              TOM DAYEH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
TOM DREW               Case 18-12241-CSS    Doc 26
                                      TOM DUFFY         Filed 10/05/18   PageTOM
                                                                              1585 of 1739
                                                                                 EHRHART
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM FRAASE                            TOM GIOIELLA                           TOM GORMLEY
2600 UNIVERSITY AVE SE 107            10201 S. MAIN STREET                   10201 S. MAIN STREET
MINNEAPOLIS, MN 55414                 HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM GREEN APPRAISAL DISTRICT          TOM GREEN                              TOM HARBISON
2302 PULLIAM ST                       ATTN: PROPERTY TAX DEPT.               10201 S. MAIN STREET
SAN ANGELO, TX 76905-5165             2302 PULLIAM ST                        HOUSTON, TX 77025
                                      SAN ANGELO, TX 76905-5165




TOM HARRIS                            TOM HAYES                              TOM JANN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM KASINAK                           TOM LADD DBA HOOSIER TRANSIT INC       TOM LE
10201 S. MAIN STREET                  P.O. BOX 49                            10201 S. MAIN STREET
HOUSTON, TX 77025                     WEBSTER, IN 47392                      HOUSTON, TX 77025




TOM MCCARTHY                          TOM MCGOWAN                            TOM MCNALLY
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM NORRIS                            TOM OTETE                              TOM OWEN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM PAGET                             TOM PAGLIUGHI                          TOM PAYTON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM PIZZO                             TOM POLIT                              TOM PRUSZKA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM ROLLOFF                           TOM S LEE                              TOM SALES
10201 S. MAIN STREET                  2047 COURTLAND AVE                     8705 HERNS MEADOW LANE
HOUSTON, TX 77025                     SAN MARINO, CA 91108                   MCKINNEY, TX 75071
TOM SANG LEE         Case      18-12241-CSS    Doc 26
                                         TOM SAVOY         Filed 10/05/18   PageTOM
                                                                                 1586 of 1739
                                                                                    SCHOETTLE
2047 COURTLAND AVENUE                    10201 S. MAIN STREET                   10201 S. MAIN STREET
SAN MARINO, CA 91108                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TOM STIRSMAN                             TOM TOLBERT                            TOM VANDERVELDE
10201 S. MAIN STREET                     368 CREEDON CIRCLE                     10201 S. MAIN STREET
HOUSTON, TX 77025                        ALAMEDA, CA 94502                      HOUSTON, TX 77025




TOM VOSNOS                               TOM VOSNOS                             TOM WALKER
1110 S RIDGE AVE                         1110 SOUTH RIDGE AVENUE                10201 S. MAIN STREET
ARLINGTON HEIGHTS, IL 60005              ARLINGTON HEIGHTS, IL 60005            HOUSTON, TX 77025




TOM YANNESSA                             TOMA SHUHART                           TOMAHAWK CHARITABLE SOLUTIONS
10201 S. MAIN STREET                     10201 S. MAIN STREET                   1225 17TH AVE SOUTH
HOUSTON, TX 77025                        HOUSTON, TX 77025                      NASHVILLE, TN 37212




TO-MAI NGUYEN                            TOMARAH THOMPSON                       TOMAS GARCIA
10201 S. MAIN STREET                     18825 FALCON POINTE BLVD               10201 S. MAIN STREET
HOUSTON, TX 77025                        PFLUGERVILLE, TX 78660                 HOUSTON, TX 77025




TOMAS RAMOS                              TOMASI BINAGI                          TOMASZKIEWICZ, MICHAEL
10201 S. MAIN STREET                     10201 S. MAIN STREET                   5995 N 78TH STREET #1092
HOUSTON, TX 77025                        HOUSTON, TX 77025                      SCOTTSDALE, AZ 85250-4732




TOMBALL CROSSING SHOPPING CENTER         TOMBALL CROSSINGS 1693 LLC             TOMBALL CROSSINGS 1693 LLC
WELLS FARGO DEPT 5232                    3333 NEW HYDE PARK RD                  C/O KIMCO REALTY CORPORATION
PO BOX 200346                            NEW HYDE PARK, NY 11042                3333 NEW HYDE PARK ROAD, SUITE 100
DALLAS, TX 75320-0346                                                           NEW HYDE PARK, NY 11042-0020




TOMBALL CROSSINGS 1693 LLC               TOMBALL CROSSINGS 1693 LLC             TOMBALL ISD-BRIAN LUDWIG TAX
C/O KIMCO REALTY CORPORATION             DEPT CODE STXH1693/                    COLLECTOR
ATTN: LEGAL DEPARTMENT                   PO BOX 82565                           P.O. BOX 276
10600 W. HIGGINS ROAD, SUITE 408         GOLETA, CA 93118                       TOMBALL, TX 77377-0276
ROSEMOUNT, IL 60018



TOMBIGBEE ELECTRIC POWER ASSN            TOMBIGBEE ELECTRIC POWER               TOMBIGBEE ELECTRIC POWER
1346 AUBURN RD                           ASSOCIATION                            ASSOCIATION
TUPELO, MS 38802                         P.O. BOX 1789                          P.O. BOX 369
                                         TUPELO, MS 38802-1789                  FULTON, MS 38843-0369




TOMISHA WELLS                            TOMMEY JONES                           TOMMIE BARNES
10201 S. MAIN STREET                     10201 S. MAIN STREET                   1399 JACK BENNETT RD
HOUSTON, TX 77025                        HOUSTON, TX 77025                      BRIGHTON, TN 38011
TOMMIE PERRY               Case 18-12241-CSS
                                          TOMMIEDoc  26 Filed 10/05/18
                                                 WHITEHEAD                  PageTOMMIE
                                                                                 1587 of 1739JR
                                                                                       WRIGHT
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




TOMMIE WRIGHT                              TOMMIER INGRAM                       TOMMY BURCHETT
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




TOMMY CHUN                                 TOMMY CHUN                           TOMMY FINLAN
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




TOMMY GREENE                               TOMMY HUGHES                         TOMMY KEEN
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




TOMMY MILLER                               TOMMY ROSE                           TOMMY SAMSON
1024 KILPATRICK RD                         10201 S. MAIN STREET                 10201 S. MAIN STREET
HENDERSONVILLE, NC 28739                   HOUSTON, TX 77025                    HOUSTON, TX 77025




TOMMY THEVENET                             TOMMY TRAN                           TOMORA PARKER
10201 S. MAIN STREET                       10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                    HOUSTON, TX 77025




TOMS RIVER FIRE PREVENTION                 TOMTEX INVESTMENTS CORPORATION       TOMTEX INVESTMENTS CORPORATION
PO BOX 728                                 C/O COATES & SOWARDS, INC.           C/O COATES & SOWARDS, INC.
TOMS RIVER, NJ 08754                       591 W HAMILTON AVE STE 100           591 W. HAMILTON AVE, SUITE 100
                                           CAMPBELL, CA 95008                   CAMPBELL, CA 95008




TONERS PLUS LLC                            TONEY GIBBS                          TONI A FILICE
1969 S ALAFAYA TRAIL 218                   10201 S. MAIN STREET                 1769 HILLSDALE AVE 24546
ORLANDO, FL 32828                          HOUSTON, TX 77025                    SAN JOSE, CA 95154




TONI DUPUY                                 TONI LOFASO                          TONI MAPES CHIDESTER
23380 OSCAR ST.                            10201 S. MAIN STREET                 18511 EGRET BAY BLVD 305
MANDEVILLE, LA 70448                       HOUSTON, TX 77025                    HOUSTON, TX 77058




TONI NEIS                                  TONIA BROOKS                         TONIA MANGUM
10201 S. MAIN STREET                       10201 S. MAIN STREET                 26520 N 132ND LN
HOUSTON, TX 77025                          HOUSTON, TX 77025                    PEORIA, AZ 85383
TONIANN CEPARANO       Case 18-12241-CSS
                                      TONICADoc 26 Filed 10/05/18
                                            JOHNSON                 PageTONIKA
                                                                         1588 THOMAS
                                                                               of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




TONIKA THOMAS                         TONNY EVERETT                     TONY ANDREWS
10201 S. MAIN STREET                  6541 CINNAMON OAKS CT             10201 S. MAIN STREET
HOUSTON, TX 77025                     DALLAS, TX 75241                  HOUSTON, TX 77025




TONY BAKSHI                           TONY BATTAGLIA                    TONY BRYANT
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




TONY CAMPBELL                         TONY CARUSO                       TONY CAUTHEN
417 RUTHERFORD RD                     10201 S. MAIN STREET              10201 S. MAIN STREET
GREENVILLE, SC 29609                  HOUSTON, TX 77025                 HOUSTON, TX 77025




TONY COLLINS                          TONY DAVILA                       TONY DICHIARA
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




TONY ENCARNACION                      TONY FAISON                       TONY FIGUEROA
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




TONY GENTRY                           TONY HOBSON                       TONY HOWARD
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




TONY JONES                            TONY LAUTH                        TONY LEE
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




TONY LORTA                            TONY M ARRINGTON                  TONY MARTINEZ
10201 S. MAIN STREET                  164 LANDOR DR                     10201 S. MAIN STREET
HOUSTON, TX 77025                     ATHENS, GA 30606                  HOUSTON, TX 77025




TONY MAURO                            TONY MAYS                         TONY MCFALLS
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025
TONY MCPHERSON JR      Case 18-12241-CSS    Doc 26
                                      TONY MEDINA         Filed 10/05/18   PageTONY
                                                                                1589MILLER
                                                                                      of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




TONY MILLER                           TONY MITCHELL                            TONY MORFIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




TONY MOSES                            TONY OCASIO                              TONY ODELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




TONY OLIVERO                          TONY OYATEDOR                            TONY PEREZ
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




TONY POINSON                          TONY REBOLLO                             TONY RODEGHIERO
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




TONY SCOTT                            TONY SPROUSE                             TONY TAMAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




TONY TAYLOR                           TONY VELAZQUEZ                           TONY VERGES
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




TONY WILDER                           TONY WILLIAMS                            TONY YOUNG
TONY WILDER                           10201 S. MAIN STREET                     10201 S. MAIN STREET
1497 LAKE VIEW DR.                    HOUSTON, TX 77025                        HOUSTON, TX 77025
ST PAUL, TX 75098




TONY YOUNG                            TONYA DIXON                              TONYA DORREN
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




TONYA EDWARDS                         TONYA PITTMAN                            TONYA ROBINSON
10201 S. MAIN STREET                  2498 FONTAINE                            10201 S. MAIN STREET
HOUSTON, TX 77025                     MEMPHIS, TN 38106                        HOUSTON, TX 77025
TOOBA YOUSAFI           Case 18-12241-CSS
                                       TOOELEDoc
                                              CITY 26     Filed 10/05/18   PageTOOELE
                                                                                1590 of 1739ASSESSOR
                                                                                      COUNTY
10201 S. MAIN STREET                    ENFORCEMENT DEPT                       47 S MAIN
HOUSTON, TX 77025                       90 N MAIN ST                           TOOELE, UT 84074
                                        TOOELE, UT 84074




TOOELE                                  TOOMEY-GUSEMAN FAMILY LP               TOP CASHBACK USA INC
ATTN: PROPERTY TAX DEPT.                ATTN: CHARLES TOOMEY                   SANTANDER BANK NA
90 N MAIN ST                            9039 KATY FWY STE 333                  1125 BERKSHIRE BLVD
TOOELE, UT 84074                        HOUSTON, TX 77024                      WYOMISSING, PA 19610




TOP NOTCH CAR CARRIERS                  TOP PRIDE LOGISTICS LLC                TOP PRIORITY WINDOW CLEANING
5811 NW 37 AVE                          10717 N MACARTHUR BLVD APT 159         C/O GREATER KILEEN CHAMBER OF COR
COCONUT CREEK, FL 33073                 IRVING, TX 75063                       PO BOX 998
                                                                               ABILENE, TX 79604




TOP PUP MEDIA LLC                       TOP QUALITY MAINTENANCE LLC            TOP SYSTEMS ALARM INC
2803 NEEDLES ST                         6560 JUDE LOGUE RD                     47-25 PARSONS BLVD
EULESS, TX 76040                        NEWTON, AL 36352                       FLUSHING, NY 11355




TOPEKA WATER                            TOPHAT LOGISTICAL SOLUTIONS LLC        TOPI INC
P.O. BOX 3566                           4921 SOUTH 2ND ST                      175 VARICK ST 8TH FLOOR
TOPEKA, KS 66601-3566                   MILWAUKEE, WI 53207                    NEW YORK, NY 10014




TOPSHAM                                 TORACEY LEA                            TORERO SPECIALTY PRODUCTS LLC
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                   DBA LOOK OUR WAY
100 MAIN ST                             HOUSTON, TX 77025                      222 E HUNTINGTON DR STE 225
TOPSHAM, ME 04086                                                              MONROVIA, CA 91016




TORI EASLEY                             TORI STOCKE                            TORI THURMAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TORIAN MACK                             TORIAN MINEX                           TORIANO BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TORNETTA REALTY CORP                    TORNISHA JOHNSON                       TORRENCE JACKSON
910 GERMANTOWN PIKE                     10201 S. MAIN STREET                   10201 S. MAIN STREET
PLYMOUTH MEETING, PA 19462              HOUSTON, TX 77025                      HOUSTON, TX 77025




TORRENCE JENKINS                        TORRES TORRES                          TORRES, JOSEPH
10201 S. MAIN STREET                    10201 S. MAIN STREET                   35675 MEADOW RIDGE RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                      TEMECULA, CA 92592-7816
TORREY CONNORS           Case 18-12241-CSS    Doc 26
                                        TORRINGFORD     Filed 10/05/18
                                                    DEVELOPMENT, LLC         PageTORRINGFORD
                                                                                  1591 of 1739
                                                                                             DEVELOPMENT, LLC
10201 S. MAIN STREET                     17 S MAIN ST.                            17 SOUTH MAIN STREET
HOUSTON, TX 77025                        WEST HARTFORD, CT 06107                  WEST HARTFORD, CT 06107




TORRINGTON DEVELOPERS LLC                TORRINGTON                               TORRIS BROWN
1224 MILL ST BLDG D STE 103              ATTN: PROPERTY TAX DEPT.                 10201 S. MAIN STREET
EAST BERLIN, CT 06023                    140 MAIN ST RM 134                       HOUSTON, TX 77025
                                         TORRINGTON, CT 06790




TORY BLACKSHIRE                          TOSHA SLETTEN                            TOSIN IKUGBAYIGBE
10201 S. MAIN STREET                     10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                        HOUSTON, TX 77025




TOTAL LIFE SECURITY LLC                  TOTAL TRAFFIC AND WEATHER NETWORK        TOTAL TRAFFIC NETWORK
321 WILSON ST NE                         62301 COLLECTIONS CENTER DR              62301 COLLECTIONS CENTER DR
MINNEAPOLIS, MN 55413                    CHICAGO, IL 60693-0623                   CHICAGO, IL 60693-0623




TOTALFUNDS BY HASLER                     TOTEM NVO LLC                            TOUR PLAN INTERNATIONAL LTD
PO BOX 30193                             WELLS FARGO BANK NAT ASSOC               4915 FITZHUGH AVE
TAMPA, FL 33630-3193                     PO BOX 396002                            RICHMOND, VA 23230
                                         SAN FRANCISCO, CA 94139-6002




TOVAR BENAVIDEZ, CRISPIN                 TOVAR, ANA                               TOVAR, JASMINE
1305 E FLORA ST                          1305 E FLORA ST                          1305 E FLORA ST
STOCKTON, CA 95205-4167                  STOCKTON, CA 95205-4167                  STOCKTON, CA 95205-4167




TOWASKY SIAS                             TOWER ELEVATOR CONSULTING & TESTING      TOWER GENERATOR
10201 S. MAIN STREET                     LLC                                      20A CANTON SPRINGS RD
HOUSTON, TX 77025                        540 PRESIDENT ST 3RD FLOOR               CANTON, CT 06019
                                         BROOKLYN, NY 11215




TOWER LJL LP                             TOWER LJL, LP                            TOWER LJL, LP
1717 W 6TH ST, STE 445                   C/O AQUILA MANAGEMENT SERVICES           PO BOX 204424
AUSTIN, TX 78703-4791                    1717 W. 6TH STREET, SUITE 400            DALLAS, TX 75320
                                         AUSTIN, TX 78703




TOWER REAL ESTATE SERVICES               TOWER RETAIL LLC                         TOWER SHOPPING CENTER ASSOC LP
ATTN: ALAN SAPOSUIK                      PO BOX 360634                            DBA TOWER RETAIL LLC
5225 OLD ORCHARD ROAD, SUITE 46          PITTSBURGH, PA 15251                     8405 GREENSBORO DR 8TH FL
SKOKIE, IL 60077                                                                  MCLEAN, VA 22102




TOWER SHOPS LLC                          TOWERS COMMUNICATION INC.                TOWERS WATSON DELAWARE INC
C/O DRAKE ASSET MANAGEMENT LLC           22876 SUSSEX HWY UNIT 6B                 800 N GLEBE RD STE 1000
7800 E. UNION AVENUE, SUITE 410          SEAFORD, DE 19973                        ARLINGTON, VA 22203
DENVER, CO 80237
TOWERS WATSON DELAWARE Case
                         INC18-12241-CSS
                                      TOWN &Doc    26 CAMELBACK,
                                               COUNTRY  Filed 10/05/18
                                                                     LLC    PageTOWN
                                                                                 1592& of 1739 CAMELBACK, LLC
                                                                                       COUNTRY
LOCKBOX 28025                         4771 N. 20TH STREET, SUITE B22             PO BOX 93334
28025 NETWORK PLACE                   PHOENIX, AZ 85016                          LAS VEGAS, NV 89193-3334
CHICAGO, IL 60673-1280




TOWN CENTER AT BOCA RATON TRUST         TOWN CENTER AT COBB LLC                  TOWN CENTER AT COBB LLC
6000 GLADES ROAD STE 200                DBA TOWN CENTER AT COBB                  PO BOX 281552
BOCA RATON, FL 33431                    PO BOX 281552                            ATLANTA, GA 30384-1552
                                        ATLANTA, GA 30384-1552




TOWN CENTRE IMPROVEMENTS LLC            TOWN OF ACTON MA                         TOWN OF ADDISON
DLC MANAGEMENT CORP                     ATTN: PROPERTY TAX DEPT.                 5300 BELTLINE RD
PO BOX 5122                             472 MAIN ST                              ADDISON, TX 75001-9010
WHITE PLAINS, NY 10602                  ACTON, MA 01720-3952




TOWN OF ADDISON                         TOWN OF ANDOVER                          TOWN OF APEX
ECONOMIC DEVELOPMENT & TOURISM          PO BOX 99                                73 HUNTER ST
BUSSINESS REGISTRATION                  ANDOVER, MA 01810                        APEX, NC 27502
PO BOX 9010
ADDISON, TX 75001



TOWN OF APEX                            TOWN OF AUBURN                           TOWN OF AVON DBA SALES TAX RETURN
P.O. BOX 580398                         PO BOX 733                               PO BOX 975
CHARLOTTE, NC 28258-0398                READING, MA 01867-0405                   AVON, CO 81620-0975




TOWN OF AVON                            TOWN OF AVON-COLLECTOR OF REVENUE        TOWN OF BABYLON
PO BOX 611                              60 W MAIN ST
MEDFORD, MA 02155-0007                  AVON, CT 06001-3719




TOWN OF BABYLON-SUFFOLK COUNTY NY       TOWN OF BARGERSVILLE                     TOWN OF BARGERSVILLE
RECEIVER OF TAXES                       24 NORTH MAIN ST                         BARGERSVILLE UTILITIES
200 E SUNRISE HWY                       BARGERSVILLE, IN 46106                   P.O. BOX 7215
LINDENHURST, NY 11757-2597                                                       INDIANAPOLIS, IN 46207-7215




TOWN OF BARNSTABLE                      TOWN OF BARNSTABLE                       TOWN OF BEL AIR
367 MAIN ST                             PO BOX 742                               FINANCE DEPT-TOWN HALL
HYANNIS, MA 02660-1                     READING, MA 01867-0405                   39 N HICKORY AVE
                                                                                 BEL AIR, MD 21014




TOWN OF BERLIN                          TOWN OF BILLERICA                        TOWN OF BILLERICA
108 SHED RD                             365 BOSTON RD                            TAX COLLECTOR-RM 115
BERLIN, VT 05602                        BILLERICA, MA 01821                      365 BOSTON RD
                                                                                 BILLERICA, MA 01821




TOWN OF BOONE UTILITY & COLLECTIONS     TOWN OF BOONE                            TOWN OF BRAINTREE
P.O. DRAWER 192                         PO BOX 192                               ATTN: PROPERTY TAX DEPT.
BOONE, NC 28607-0192                    BOONE, NC 28607                          PO BOX 859209
                                                                                 BRAINTREE, MA 02185-9209
TOWN OF BRATTLEBORO      Case 18-12241-CSS    Doc
                                        TOWN OF    26 Filed 10/05/18
                                                BRATTLEBORO                 PageTOWN
                                                                                 1593OFofBRECKENRIDGE
                                                                                          1739            FINANCE DIV
230 MAIN ST STE 111                      ASSESSORS OFFICE                        PO BOX 8629
BRATTLEBORO, VT 05301                    230 MAIN ST STE 109                     BRECKENRIDGE, CO 80424
                                         BRATTLEBORO, VT 05301




TOWN OF BRECKENRIDGE                     TOWN OF BROOKFIELD TAX COLLECTOR        TOWN OF BROOKFIELD
DBA DIV OF FINANCE MUNICIPAL SVCS        PO BOX 508                              645 N JANACEK RD
P O BOX 1517                             BROOKFIELD, CT 06804-0508               BROOKFIELD, WI 53045
BRECKENRIDGE, CO 80424-1517




TOWN OF BROOKFIELD                       TOWN OF BROOKFIELD                      TOWN OF BROOKLINE
OFFICE OF THE FIRE MARSHAL               P.O. BOX 1296                           333 WASHINGTON ST
100 POCONO RD                            BROOKFIELD, WI 53008-1296               1ST FL ROOM 104
PO BOX 5106                                                                      BROOKLINE, MA 02445
BROOKFIELD, CT 06804



TOWN OF BROOKLINE                        TOWN OF BROOKWOOD                       TOWN OF BURLINGTON
OFFICE OF THE TAX COLLECTOR              15689 HWY 216                           29 CENTER ST
PO BOX 9106                              BROOKWOOD, AL 35444                     BURLINGTON, MO 01803
BROOKLINE, MA 02446-9106




TOWN OF BURLINGTON                       TOWN OF BURLINGTON                      TOWN OF CAMDEN
ATTN: PROPERTY TAX DEPT.                 ATTN: PROPERTY TAX DEPT.                1783 FRIENDS WAY
P O BOX 1358                             PO BOX 376                              CAMDEN, DE 19934
BURLINGTON, NC 27216                     BURLINGTON, MA 01803




TOWN OF CANTON                           TOWN OF CARBONDALE                      TOWN OF CARY
PO BOX 168                               SALES & USE TAX RETURN                  316 N ACADEMY ST
COLLINSVILLE, CT 06022                   511 COLORADO AVE                        CARY, NC 27513
                                         CARBONDALE, CO 81623-4001




TOWN OF CARY                             TOWN OF CARY                            TOWN OF CARY-OCC/BUS LICENSE
COLLECTIONS DIVISION                     P.O. BOX 71090                          PO BOX 8049
PO BOX 8049                              CHARLOTTE, NC 28272-1090                CARY, NC 27512-8049
CARY, NC 27512-8049




TOWN OF CASTLE ROCK                      TOWN OF CASTLE ROCK                     TOWN OF CASTLE ROCK
ATTN: SALES & USE TAX DEPT.              PO BOX 17906                            SALES TAX ADMINISTRATION
PO BOX 17906                             DENVER, CO 80217                        PO BOX 17906
DENVER, CO 80217                                                                 DENVER, CO 80217




TOWN OF CEDAR BLUFF                      TOWN OF CHRISTIANSBURG                  TOWN OF CICERO BUSINESS LICENSE DEPT
PO BOX 38                                100 EAST MAIN ST                        4949 WEST CERMAK RD
CEDAR BLUFF, AL 35959                    CHRISTIANSBURG, VA 24073                CICERO, IL 60804




TOWN OF CLINTON                          TOWN OF COLLIERVILLE                    TOWN OF COLMA
TAX COLLECTOR                            ATTN: TAX DEPARTMENT                    1190 EL CAMINO REAL
54 E MAIN ST                             500 POPLAR VIEW PARKWAY                 COLMA, CA 94014-3212
CLINTON, CT 06413                        COLLIERVILLE, TN 38017
TOWN OF CRESTED BUTTECase      18-12241-CSS    Doc
                                         TOWN OF    26 Filed 10/05/18
                                                 CULPEPER               PageTOWN
                                                                             1594OFofCULPEPER
                                                                                      1739
PO BOX 39                                400 S MAIN ST STE 105               400 S MAIN ST STE 109
CRESTED BUTTE, CO 81224-0039             CULPEPER, VA 22701                  CULPEPER, VA 22701




TOWN OF CUTLER BAY                       TOWN OF DANVERS                     TOWN OF DARTMOUTH
10720 CARIBBEAN BLVD, SUITE 105          ATTN: PROPERTY TAX DEPT.            400 SLOCUM RD
CUTLER BAY, FL 33189                     1 SYVAN ST.                         DARTMOUTH, MA 02747
                                         DANVERS, MA 01923




TOWN OF DARTMOUTH                        TOWN OF DARTMOUTH                   TOWN OF DAVIE FIRE PREVENTION BUREAU
ATTN: PROPERTY TAX DEPT.                 PO BOX 981003                       C/O FIRE RECOVERY USA LLC
400 SLOCUM ROAD                          BOSTON, MA 02298-1003               PO BOX 935667
DARTMOUTH, MA 02747                                                          ATLANTA, GA 31193-5667




TOWN OF DAVIE                            TOWN OF DEDHAM                      TOWN OF DELMAR
BUSINESS TAX RECEIPTS                    PO BOX 4103                         100 S PENNSYLVANIA AVE
6591 ORANGE DR                           WOBURN, MA 01888-4103               DELMAR, MD 21875-1636
DAVIE, FL 33314-3348




TOWN OF DENTON                           TOWN OF DILLON                      TOWN OF DOVER JOINT COURT-MUNICIPAL
TAX COLLECTOR                            275 LAKE DILLON DR PO BOX 8         COURT
4 N 2ND ST                               DILLON, CO 80435                    37 N SUSSEX ST
DENTON, MD 21629-1004                                                        DOVER, NJ 07801




TOWN OF EAST LONGMEADOW                  TOWN OF EAST WINDSOR WPCA           TOWN OF EAST WINDSOR WPCA
C/O COLLECTOR/TREASURER                  11 RYE ST                           P.O. BOX 359
PO BOX 4826                              BROAD BROOK, CT 06016               EAST WINDSOR, CT 06088
SPRINGFIELD, MA 01101-4826




TOWN OF EAST WINDSOR                     TOWN OF EASTON MD                   TOWN OF ENFIELD CT
TAX COLLECTOR                            14 S HARRISON ST                    PO BOX 10007
11 RYE STREET                            EASTON, MD 21601                    LEWISTON, ME 04243-9434
BROAD BROOK, CT 06016




TOWN OF FAIRFIELD                        TOWN OF FAIRFIELD                   TOWN OF FAIRHAVEN
230 FAIRFIELD RD                         TAX COLLECTOR                       TOWN COLLECTOR
FAIRFIELD, NJ 07004                      PO BOX 638                          40 CENTER STREET
                                         FAIRFIELD, CT 06824                 FAIRHAVEN, MA 02719




TOWN OF FALKVILLE                        TOWN OF FALMOUTH                    TOWN OF FALMOUTH
PO BOX 407                               FIRE RESCUE DEPT                    PO BOX 783
FALKVILLE, AL 35622                      ATTN: INSPECTIONS                   READING, MA 01867-0406
                                         399 MAIN ST
                                         FALMOUTH, MA 02540



TOWN OF FDL SANITARY DIST 3              TOWN OF FDL SANITARY DIST 3         TOWN OF FENWICK ISLAND
N5256 COUNTRY ROAD V                     P.O. BOX 1686                       BUSINESS LICENSE OFFICE
FOND DU LAC, WI 54936                    FON DU LAC, WI 54396                800 COASTAL HWY
                                                                             FENWICK ISLAND, DE 19944
TOWN OF FOND DU LAC SDCase
                       3     18-12241-CSS    Doc
                                       TOWN OF    26DU LAC
                                               FOND     Filed 10/05/18
                                                           TREASURER      PageTOWN
                                                                               1595OFofFOUNTAIN
                                                                                        1739 HILLS
100 CAMELOT DR                          N6297 TOWNLINE RD                      OFFICE OF THE TOWN CLERK
FOND DU LAC, WI 54935                   FOND DU LAC, WI 54937                  16705 E AVE OF THE FOUNTAINS
                                                                               FOUNTAIN HILLS, AZ 85268




TOWN OF FOXBOROUGH                      TOWN OF FRAMINGHAM                     TOWN OF FRANKLIN
40 SOUTH STREET                         OFFICE OF THE TAX COLLECTOR            355 EAST CENTRAL ST
FOXBORO, MA 02035                       PO BOX 724                             FRANKLIN, MA 02038
                                        READING, MA 01867-0405




TOWN OF FRANKLIN                        TOWN OF FRISCO SALES TAX RETURN        TOWN OF FRONT ROYAL
THE COLLECTOR OF TAXES                  PO BOX 4100                            414 EAST MAIN ST
PO BOX 986                              FRISCO, CO 80443-4100                  FRONT ROYAL, VA 22630
MEDFORD, MA 02155-0010




TOWN OF FRONT ROYAL                     TOWN OF FUQUAY-VARINA                  TOWN OF FUQUAY-VARINA
P.O. BOX 1560                           401 OLD HONEYCUTT RD                   401 OLD HONEYCUTT RD
FRONT ROYAL, VA 22630-1560              FUQUAY VARINA, NC 27526                FUQUAY-VARINA, NC 27526




TOWN OF GARNER                          TOWN OF GILBERT                        TOWN OF GILBERT
900 SEVENTH AVE                         50E CIVIC CENTER DRIVW                 UTILITY DEPARTMENT
GARNER, NC 27529                        GILBERT, AZ 85296                      P.O. BOX 52653
                                                                               PHOENIX, AZ 85072-2653




TOWN OF GLASTONBURY                     TOWN OF GRAND CHUTE TOWN TREASURER     TOWN OF GREAT BARRINGTON
COLLECTOR OF REVENUE                    1900 GRAND CHUTE BLVD                  334 MAIN STREET
PO BOX 376                              GRAND CHUTE, WI 54913-9613             GREAT BARRINGTON, MA 01230
GLASTONBURY, CT 06033-0376




TOWN OF GREENBURGH WATER                TOWN OF GREENBURGH WATER               TOWN OF GREENFIELD
177 HILLSIDE AVE                        P.O. BOX 205                           14 COURT SQUARE
GREENBURGH, NY 10607                    ELMSFORD, NY 10523                     GREENFIELD, MA 01301-3585




TOWN OF GREENWICH                       TOWN OF GROTON                         TOWN OF GYPSUM
TAX COLLECTOR                           45 FORT HILL RD.                       SALES TAX RETURN
PO BOX 3002                             TOWN OF GROTON, CT 06340-4370          PO BOX 130
GREENWICH, CT 06836-3002                                                       GYPSUM, CO 81637-0130




TOWN OF HADLEY                          TOWN OF HALFMOON                       TOWN OF HAMDEN
100 MIDDLE ST.                          BLDG DEP.                              OFFICE OF THE TAX COLLECTOR
HADLEY, MA 01035                        2 HALFMOON TOWN PLAZA                  2750 DIXWELL AVE
                                        HALFMOON, NY 12065                     HAMDEN, CT 06518




TOWN OF HAMMONTON                       TOWN OF HAMPSTEAD                      TOWN OF HANOVER WATER
100 CENTRAL AVE                         1034 S CARROLL ST                      41 GRASSE RD
HAMMONTON, NJ 08037                     HAMPSTEAD, MD 21074                    HANOVER, NH 03755
TOWN OF HANOVER WATER  Case   18-12241-CSS    Doc
                                        TOWN OF    26 Filed 10/05/18
                                                HANOVER                  PageTOWN
                                                                              1596OFofHARWICH
                                                                                       1739
P.O. BOX 424                            PO BOX 755                            PO BOX 802
READING, MA 01867-0624                  READING, MA 01867-0405                READING, MA 01867-0406




TOWN OF HAYDEN                          TOWN OF HEMPSTEAD DEPT OF WTR         TOWN OF HEMPSTEAD
PO BOX 493                              1995 PROSPECT AVE                     DEPT OF BUILDINGS
HAYDEN, AL 35079                        EAST MEADOW, NY 11554                 1 WASHINGTON ST
                                                                              HEMPSTEAD, NY 11550-4923




TOWN OF HEMPSTEAD                       TOWN OF HERNDON                       TOWN OF HIGHLAND
RECEIVER OF TAXES                       DEPT OF FINANCE-REVENUE DIV.          3333 RIDGE RD
200 N FRANKLIN ST                       777 LYNN ST                           HIGHLAND, IN 46322
HEMPSTEAD, NY 11550                     HERNDON, VA 20170-4062




TOWN OF HINGHAM                         TOWN OF HINGHAM                       TOWN OF HOLLY SPRINGS
ATTN: PROPERTY TAX DEPT.                COLLECTOR OF TAXES                    128 SOUTH MAIN ST
PO BOX 4191                             PO BOX 4191                           PO BOX 8
WOBURN, MA 01888-4191                   WOBURN, MA 01888-4191                 HOLLY SPRINGS, NC 27540




TOWN OF HUDSON                          TOWN OF HUNTINGTON                    TOWN OF HUNTINGTON-SIGN BUREAU
ATTN: TOWN CLERK                        C/O OFFICE OF THE FIRE MARSHAL        100 MAIN ST RM 310
78 MAIN ST                              100 MAIN ST ROOM 106                  HUNTINGTON, NY 11743
HUDSON, MA 01749                        HUNTINGTON, NY 11743




TOWN OF HUNTINGTON-SUFFOLK COUNTY       TOWN OF IRMO                          TOWN OF ISLIP-SUFFOLK COUNTY NY
NY                                      PO BOX 406                            RECEIVER OF TAXES
RECEIVER OF TAXES                       IRMO, SC 29063                        40 NASSAU AVE
100 MAIN ST                                                                   ISLIP, NY 11751-3645
HUNTINGTON, NY 11743



TOWN OF JUPITER                         TOWN OF JUPITER                       TOWN OF JUPITER
210 MILITARY TRAIL                      BUSINESS REGISTRATION                 P.O. BOX 8900
JUPITER, FL 33458                       210 MILITARY TRAIL                    JUPITER, FL 33468-8900
                                        JUPITER, FL 33458




TOWN OF KERNERSVILLE NC                 TOWN OF KERNERSVILLE NC               TOWN OF KERNERSVILLE
134 EAST MOUNTAIN ST                    P.O. BOX 728 FINANCE DEPT             FINANCE DEPT
KERNERSVILLE, NC 27284                  KERNERSVILLE, NC 27285                PO DRAWER 728
                                                                              KERNERSVILLE, NC 27285




TOWN OF KILLINGLY                       TOWN OF KNIGHTDALE                    TOWN OF LA PLATA
REVENUE COLLECTOR                       950 STEEPLE SQUARE COURT              PO BOX 2268
172 MAIN ST                             KNIGHTDALE, NC 27545                  LA PLATA, MD 20646
KILLINGLY, CT 06239




TOWN OF LADY LAKE                       TOWN OF LARKSPUR                      TOWN OF LEESBURG VIRGINIA
409 FENNELL BLVD                        DBA SALESTAX RETURN                   25 WEST MARKET ST
LADY LAKE, FL 32159-3158                P O BOX 310                           LEESBURGH, VA 20176
                                        LARKSPUR, CO 80118-0310
                       Case
TOWN OF LEESBURG VIRGINIA     18-12241-CSS    Doc
                                        TOWN OF    26 Filed 10/05/18
                                                LEESBURG               PageTOWN
                                                                            1597OFofLEESBURG
                                                                                     1739
P.O. BOX 9000                           25 W MARKET ST                      ATTN: WATER & SEWER
LEESBURG, VA 20177-0900                 LEESBURG, VA 20176                  25 W MARKET ST
                                                                            LEESBURG, VA 20176




TOWN OF LEXINGTON                       TOWN OF LEXINGTON                   TOWN OF LINCOLN
1625 MASSACHUSETTS AVE                  P.O. BOX 397                        100 OLD RIVER RD
LEXINGTON, MA 02420                     LEXINGTON, SC 29071                 PO BOX 100
                                                                            LINCOLN, RI 02865




TOWN OF LISBON TAX COLLECTOR            TOWN OF MADISON                     TOWN OF MAGNOLIA SPRINGS
1 NEWENT RD                             2120 FISH HATCHERY RD               PO BOX 890
LISBON, CT 06351                        MADISON, WI 53713                   MAGNOLIA SPRINGS, AL 36555




TOWN OF MANCHESTER                      TOWN OF MANCHESTER                  TOWN OF MANSFIELD
41 CENTER ST                            COLLECTOR OF REVENUE                4 SO EAGLEVILLE RD
MANCHESTER, CT 06045-0191               PO BOX 191                          STORRS MANSFIELD, CT 06268
                                        MANCHESTER, CT 06045-0191




TOWN OF MANSFIELD                       TOWN OF MAPLESVILLE                 TOWN OF MARSHFIELD
PO BOX 9192                             PO BOX 9                            BUILDING/ZONING DEPT
CHELSEA, MA 02150-9192                  MAPLESVILLE, AL 36750               870 MORAINE ST
                                                                            MARSHFIELD, MA 02050




TOWN OF MARSHFIELD                      TOWN OF MATTHEWS                    TOWN OF MATTHEWS-BUS/OCC LIC
PO BOX 53                               232 MATTHEWS STATION ST             232 MATTHEWS STATION ST
MEDFORD, MA 02155-0001                  MATTHEWS, NC 28105                  MATTHEWS, NC 28105




TOWN OF MEDLEY                          TOWN OF MEDLEY                      TOWN OF MERRILLVILLE
BUILDING & ZONING DEPT                  BUSINESS TAX DEPARTMENT             7820 BROADWAY
7777 NW 72ND AVE                        7777 NW 72ND AVE                    MERRILLVILLE, IN 46410
MEDLEY, FL 33166                        MEDLEY, FL 33166




TOWN OF MIDDLETOWN                      TOWN OF MIDDLETOWN                  TOWN OF MILFORD
350 E MAIN RD                           DEPARTMENT OF LICENSING             52 MAIN ST. ROOM 15
MIDDLETOWN, RI 02842                    19 WEST GREEN ST                    MILFORD, MA 01757
                                        MIDDLETOWN, DE 19709-1315




TOWN OF MILLBURY                        TOWN OF MILLSBORO                   TOWN OF MILTON
PO BOX 166                              BUSINESS LICENSE OFFICE             525 CANTON AVE
MILLBURY, MA 01527                      322 WILSON HWY                      MILTON, MA 02186
                                        MILLSBORO, DE 19966




TOWN OF MILTON                          TOWN OF MONTVILLE                   TOWN OF MOORESVILLE
PO BOX 350                              TAX COLLECTOR                       413 N MAIN ST
MILTON, MA 02186                        PO BOX 4179                         PO BOX 878
                                        WOBURN, MA 01888-4179               MOORESVILLE, NC 28115
TOWN OF MOORESVILLE      Case 18-12241-CSS    Doc
                                        TOWN OF   26 Filed 10/05/18
                                                MOORESVILLE               PageTOWN
                                                                               1598OFofMOREHEAD
                                                                                        1739 CITY
413 NORTH MAIN ST                       P.O. BOX 602113                       706 ARENDELL ST
MOORESVILLE, NC 28115                   CHARLOTTE, NC 28260-2113              PO BOX 4009
                                                                              MOREHEAD CITY, NC 28557-4234




TOWN OF MORRISVILLE (TAXES)             TOWN OF MORRISVILLE                   TOWN OF MORRISVILLE
P.O. BOX 166                            C/O FIRE RECOVERY USA LLC             P.O. BOX 166
MORRISVILLE, NC 27560                   PO BOX 935667                         MORRISVILLE, NC 27560
                                        ATLANTA, GA 31193-5667




TOWN OF MOUNT AIRY                      TOWN OF MOUNT AIRY                    TOWN OF MOUNT PLEASANT
110 S MAIN ST                           PO BOX 50                             100 ANN EDWARDS LANE
MOUNT AIRY, MD 21771                    MOUNT AIRY, MD 21771-0050             MOUNT PLEASANT, SC 29464




TOWN OF MOUNT PLEASANT                  TOWN OF MOUNTAIN VILLAGE              TOWN OF MT CRESTED BUTTE
PO BOX 1552                             SALES TAX RETURN                      ATTN: SALES TAX DEPT
MOUNT PLEASANT, SC 29465-1552           455 MTN VILLAGE BLVD A                PO BOX 5800
                                        MOUNTAIN VILLAGE, CO 81435-9459       MT. CRESTED BUTTE, CO 81225-5800




TOWN OF MUNSTER CLERK TREASURERS        TOWN OF MUNSTER                       TOWN OF MUNSTER
OFFICE                                  UTILITIES DEPARTMENT                  UTILITIES DEPARTMENT
1005 RIDGE RD                           1005 RIDGE RD                         1005 RIDGE RD
MUNSTER, IN 46321-1849                  MUNSTER, IN 46321                     MUNSTER, IN 46321-1895




TOWN OF NATICK                          TOWN OF NEW CANAAN                    TOWN OF NEW MILFORD
13 EAST CENTRAL ST.                     PO BOX 150403                         PO BOX 150416
NATICK, MA 01760                        HARTFORD, CT 06115-0403               HARTFORD, CT 06115-0416




TOWN OF NEW WINDSOR                     TOWN OF NEWTOWN                       TOWN OF NEWVILLE
FIRE INSPECTORS OFFICE                  TAX COLLECTOR                         PO BOX 119
555 UNION AVE                           PO BOX 5                              NEWVILLE, AL 36353
NEW WINDSOR, NY 12553                   NEWTOWN, CT 06470




TOWN OF NORMAL                          TOWN OF NORTH KINGSTOWN               TOWN OF NORTH KINGSTOWN
ATTN FINANCE DEPT                       100 FAIRWAY DR                        PO BOX 1
PO BOX 589                              NORTH KINGSTOWN, RI 02852-5762        NORTH KINGSTOWN, RI 02852
NORMAL, IL 61761




TOWN OF NORTH SMITHFIELD                TOWN OF NORTH SMITHFIELD              TOWN OF OCEAN VIEW
C/O OFFICE OF TOWN CLERK                PO BOX 844606                         LICENSING
575 SMITH RD                            BOSTON, MA 02284-4606                 201 CENTRAL AVE 2ND FLOOR
NORTH SMITHFIELD, RI 02896                                                    OCEAN VIEW, DE 19970




TOWN OF ORANGE PARK (TAXES)             TOWN OF ORANGE PARK                   TOWN OF ORANGE
2042 PARK AVENUE                        GENERAL SERVICES                      617 ORANGE CENTER RD
ORANGE PARK, FL 32073                   2042 PARK AVENUE                      ORANGE, CT 06477
                                        ORANGE PARK, FL 32073
TOWN OF ORO VALLEY     Case 18-12241-CSS    Doc
                                      TOWN OF    26 BAY
                                              OYSTER Filed 10/05/18   PageTOWN
                                                                           1599OFofPARKER
                                                                                    1739
11000 N LA CANADA DR                   BUILDING DIVISION                   P.O. BOX 5602
ORO VALLEY, AZ 85737                   74 AUDREY AVE                       DENVER, CO 80217-5602
                                       OYSTER BAY, NY 11771




TOWN OF PEMBROKE PARK - BUSINESS TAX   TOWN OF PEMBROKE                    TOWN OF PIKE ROAD
DEPT.                                  PO BOX 4178                         9575 VAUGHN RD
3150 SW 52 AVE                         WOBURN, MA 01888-4178               PO BOX 640339
PEMBROKE PARK, FL 33023                                                    PIKE ROAD, AL 36064-0339




TOWN OF PINEVILLE                      TOWN OF PLAINFIELD                  TOWN OF PLAINFIELD
118 COLLEGE ST                         206 W MAIN ST                       P.O. BOX 6012
PO BOX 249                             PLAINFIELD, IN 46168                INDIANAPOLIS, IN 46206
PINEVILLE, NC 28134




TOWN OF PLAINVILLE                     TOWN OF PLAINVILLE                  TOWN OF PLYMOUTH
PO BOX 1795                            REVENUE COLLECTOR                   26 COURT ST
PLAINVILLE, MA 02762                   1 CENTRAL SQUARE                    PLAYMOUTH, MA 02360
                                       PLAINVILLE, CT 06062-1955




TOWN OF PLYMOUTH                       TOWN OF PLYMOUTH                    TOWN OF PRICEVILLE
ATTN: PROPERTY TAX DEPT.               PO BOX 4181                         242 MARCO DR
PO BOX 4181                            WOBURN, MA 01888-4181               PRICEVILLE, AL 35603-5459
WOBURN, MA 01888-4181




TOWN OF QUEEN CREEK                    TOWN OF RAYNHAM                     TOWN OF REHOBETH
22350 S ELLSWORTH RD                   PO BOX 844505                       221 MALVERN RD
QUEEN CREEK, AZ 85142-9311             BOSTON, MA 02284-4505               REHOBETH, AL 36301




TOWN OF RIB MOUNTAIN CLERK-            TOWN OF RIDGEFIELD                  TOWN OF RIDGWAY
TREASURER                              TAX COLLECTOR                       ATTN: SALES TAX RETURN
3700 N MOUNTAIN                        PO BOX 299                          PO BOX 10
WAUSAU, WI 54401-9274                  RIDGEFIELD, CT 06877-0299           RIDGWAY, CO 81432-0010




TOWN OF RIVERHEAD                      TOWN OF SAHUARITA                   TOWN OF SALEM NH
RIVERHEAD POLICE DEPT                  375 W SAHUARITA CENTER WAY          UTILITY SERVICES DEPT.
ATTN: ALARM BILLING/REGISTRATION210    SAHUARITA, AZ 85629                 33 GEREMONTY DR
HOWELL AVE                                                                 SALEM, NH 03079-3390
RIVERHEAD, NY 11901



TOWN OF SAUGUS                         TOWN OF SAUGUS                      TOWN OF SCHERERVILLE
298 CENTRAL ST                         COLLECTOR OF TAXES                  10 E JOLIET ST
SAUFUS, MA 01906                       PO BOX 4157                         SCHERERVILLE, IN 46375
                                       WOBURN, MA 01888-4157




TOWN OF SCHERERVILLE                   TOWN OF SEABROOK ISLAND             TOWN OF SEEKONK
10 E JOLIET ST                         2001 SEABROOK ISLAND RD             PO BOX 504
SCHERERVILLE, IN 46375-2011            SEABROOK ISLAND, SC 29455           MEDFORD, MA 02155-0006
TOWN OF SILVERTHORNE Case     18-12241-CSS    Doc
                                        TOWN OF    26 Filed 10/05/18
                                                SMITHFIELD                  PageTOWN
                                                                                 1600OFofSMITHFIELD
                                                                                          1739
ATTN: SALES & USE TAX DEPT.             350 E MARKET ST                          64 FARNUM PIKE
PO BOX 1309                             PO BOX 761                               SMITHFIELD, RI 02917
SILVERTHORNE, CO 80498-1309             SMITHFIELD, NC 27577




TOWN OF SMITHFIELD                      TOWN OF SMITHFIELD                       TOWN OF SMYRNA TN (TAXES)
P.O. BOX 63027                          TOWN CLERK                               315 SOUTH LOWRY
CHARLOTTE, NC 28263-3027                64 FARNUM PIKE                           SMYRNA, TN 37167
                                        SMITHFIELD, RI 02917




TOWN OF SMYRNA, TN                      TOWN OF SNOWMASS VILLAGE                 TOWN OF SOUTH KINGSTOWN
315 SOUTH LOWRY                         SALES/LODGING TAX RETURN                 180 HIGH STREET
SMYRNA, TN 37167                        PO BOX 5010                              WAKEFIELD, RI 02879
                                        SNOWMASS VILLAGE, CO 81615-5010




TOWN OF SOUTH KINGSTOWN                 TOWN OF SOUTHEAST                        TOWN OF SOUTHERN PINES
TAX COLLECTORS OFFICE                   1360 RT 22                               125 SE BROAD ST
180 HIGH ST                             BREWSTER, NY 10509                       SOUTHERN PINES, NC 28387
WAKEFIELD, RI 02879




TOWN OF SOUTHERN PINES                  TOWN OF SOUTHERN PINES                   TOWN OF SOUTHINGTON
P.O. BOX 600                            P.O. BOX 600                             75 MAIN ST
SOUTHERN PINES, NC 28387                SOUTHERN PINES, NC 28388-0600            SOUTHINGTON, CT 06489




TOWN OF SOUTHINGTON                     TOWN OF SPEEDWAY                         TOWN OF SPEEDWAY
TAX COLLECTOR                           POLICE DEPT C/O SHERRY WUERTLEY          SPEEDWAY TOWN HALL
PO BOX 1036                             ORDINANCE VIOLATIONS BUREAU1410 N        1450 NORTH LYNNHURST DR
SOUTHINGTON, CT 06489-1036              LYNHURST DR                              SPEEDWAY, IN 46224
                                        SPEEDWAY, IN 46224



TOWN OF STOUGHTON RE/PP                 TOWN OF STRATFORD                        TOWN OF STURBRIDGE-COLLECTOR
PO BOX 763                              PO BOX 9722                              FINANCE DEPT
MEDFORD, MA 02155-0008                  STRATFORD, CT 06615                      308 MAIN ST
                                                                                 STURBRIDGE, MA 01566-1078




TOWN OF SUDBURY                         TOWN OF SUMMERVILLE                      TOWN OF SUPERIOR
TREASURER/COLLECTOR                     BUSINESS LICENSE DEPT                    124 E COAL CREEK DR
PO BOX 959                              200 S. MAIN STREET                       SUPERIOR, CO 80027
SUDBURY, MA 01776-0959                  SUMMERVILLE, SC 29483




TOWN OF SWAMPSCOTT                      TOWN OF SWANSEA                          TOWN OF SYLVANIA
22 MONUMENT AVE                         TAX COLLECTOR                            BUSINESS LICENSE DEPT
SWAMPSCOTT, MA 01907                    PO BOX 150490                            PO BOX 150
                                        HARTFORD, CT 06115-0490                  SYLVANIA, AL 35988




TOWN OF TEWKSBURY                       TOWN OF THOMASTON                        TOWN OF THORSBY ALABAMA
PROPERTY TAX DIVISION                   ATTN: TAX COLLECTOR                      21060 US HWY 31
PO BOX 754                              PO BOX 299                               THORSBY, AL 35171
READING, MA 01867                       THOMASTON, ME 04861-0299
TOWN OF TIMNATH          Case 18-12241-CSS    Doc
                                        TOWN OF    26 WATER
                                                TOLLAND Filed FUND
                                                              10/05/18    PageTOWN
                                                                               1601OFofTOLLAND
                                                                                        1739 WATER FUND
MSC: 205                                 21 TOLLAND GREEN                      P.O. BOX 981015
PO BOX 29048                             TOLLAND, CT 06084                     BOSTON, MA 02298-1015
PHOENIX, AZ 85038-9048




TOWN OF TOLLAND                          TOWN OF TOLLAND                       TOWN OF TOPSHAM
21 TOLLAND GREEN                         21 TOLLAND GREEN                      100 MAIN ST
TOLLAND, CT 06084                        TOLLAND, CT 06084-3028                TOPSHAM, ME 04086-1209




TOWN OF TRINITY                          TOWN OF ULSTER                        TOWN OF VAIL
35 PRESTON DR                            1 TOWN HALL DRIVE                     DBA SALES TAX RETURN
TRINITY, AL 35673                        LAKE KATRINE, NY 12449                75 S FRONTAGE RD
                                                                               VAIL, CO 81657




TOWN OF VIENNA VIRGINIA                  TOWN OF VIENNA VIRGINIA               TOWN OF VIENNA
127 CENTER ST S                          P.O. BOX 549                          DEPT OF FINANCE
VIENNA, VA 22180                         VIENNA, VA 22183-0549                 127 CENTER ST S
                                                                               VIENNA, VA 22180




TOWN OF WAKE FOREST (TAXES)              TOWN OF WAKE FOREST                   TOWN OF WAKE FOREST
P.O. BOX 600068                          FINANCE DEPARTMENT A/R                P.O. BOX 600068
RALEIGH, NC 27675-6068                   301 S. BROOKS ST.                     RALEIGH, NC 27675-6068
                                         WAKE FOREST, NC 27587




TOWN OF WALLKILL                         TOWN OF WALLKILL                      TOWN OF WALPOLE
99 TOWER DRIVE, BUILDING A               PO BOX 5924                           135 SCHOOL ST
MIDDLETOWN, NY 10941                     HICKSVILLE, NY 11802-5924             WALPOLE, MA 02081




TOWN OF WALPOLE                          TOWN OF WARE                          TOWN OF WAREHAM
PO BOX 30                                126 MAIN ST.                          OFFICE OF TOWN COLLECTOR
MEDFORD, MA 02155-0001                   WARE, MA 01082                        PO BOX 981055
                                                                               BOSTON, MA 02298-1055




TOWN OF WAYLAND                          TOWN OF WAYNESVILLE                   TOWN OF WAYNESVILLE
PO BOX 655                               16 SOUTH MAIN ST                      280 GEORGIA AVE
MEDFORD, MA 02155-0007                   WAYNESVILLE, NC 28786                 WAYNESVILLE, NC 28786




TOWN OF WAYNESVILLE                      TOWN OF WELLESLEY UTILITY SVCS        TOWN OF WELLESLEY UTILITY SVCS
PO BOX 100                               525 WASHINGTON ST                     P.O. BOX 9187
WAYNESVILLE, NC 28786                    WELLESLEY, MA 02482                   WELLESLEY, MA 02481-9187




TOWN OF WELLESLEY                        TOWN OF WEST HARTFORD                 TOWN OF WEST SPRINGFIELD
TAX COLLECTOR                            LOCKBOX 411                           26 CENTRAL STREET STE. 9
525 WASHINGTON ST.                       PO BOX 5047                           WEST SPRINGFIELD, MA 01089-2753
WELLESLEY, MA 02482                      NEW BRITAIN, CT 06050-5047
TOWN OF WESTBOROUGHCase       18-12241-CSS    Doc
                                        TOWN OF   26 Filed 10/05/18
                                                WESTERLY               PageTOWN
                                                                            1602OFofWESTERLY
                                                                                     1739
COLLECTORS OFFICE                       45 BRIAD ST                         PO BOX 9900 DEPT 101
34 WEST MAIN STREET                     WESTERLY, RI 02891                  PROVIDENCE, RI 02940-4000
WESTBOROUGH, MA 01581




TOWN OF WESTFORD                        TOWN OF WESTPORT                    TOWN OF WILKESON
55 MAIN STREET                          TAX COLLECTOR                       PO BOX 89
WESTFORD, MA 01886                      PO BOX 350                          WILKESON, WA 98396
                                        WESTPORT, CT 06881-0350




TOWN OF WILMINGTON                      TOWN OF WILSONVILLE                 TOWN OF WINDSOR
TREASURER/COLLECTOR                     LICENSE DEPT                        275 BROAD ST
TAX COLLECTORS OFFICE                   PO BOX 70                           WINDSOR, CT 06095
121 GLEN RD - ROOM 1                    WILSONVILLE, AL 35186
WILMINGTON, MA 01887



TOWN OF WINDSOR                         TOWN OF WINTER PARK                 TOWN OF WYTHEVILLE
DBA SALES TAX RETURN                    DBA SALES TAX RETURN                150 E MONROE ST
301 WALNUT ST                           P O BOX 3327                        WYTHEVILLE, VA 24382
WINDSOR, CO 80550-5141                  WINTER PARK, CO 80482-3327




TOWN OF WYTHEVILLE                      TOWN OF WYTHEVILLE                  TOWN SQUARE PARTNERS LLC
P.O. BOX 441                            PO BOX 533                          C/O BLUEJAY MANAGEMENT LLC
WYTHEVILLE, VA 24382                    WYTHEVILLE, VA 24382-0533           301 MILL ROAD, SUITE L6
                                                                            HEWLETT, NY 11557




TOWNE CENTER VENTURE LLP                TOWNE CENTER VENTURE, L.L.P.        TOWNE CROSSING BURLINGTON, LLC
RANDCO MANAGEMENT LP                    2001 KIRBY DRIVE, #610              C/O HUH RE FUND LP
2001 KIRBY DRIVE 610                    HOUSTON, TX 77019                   PO BOX 62505
HOUSTON, TX 77019                                                           BALTIMORE, MD 21264-2505




TOWNE CROSSING BURLINGTON, LLC          TOWNSHIP OF BORDENTOWN              TOWNSHIP OF BURLINGTON
C/O THE HAMPSHIRE COMPANIES             BUSINESS LICENSE                    851 OLD YORK ROAD
22 MAPLE AVENUE                         1 MUNICIPAL DR                      BURLINGTON, NJ 08016
MORRISTOWN, NJ 07960                    BORDENTOWN, NJ 08505




TOWNSHIP OF CENTER                      TOWNSHIP OF DELRAN                  TOWNSHIP OF EDISON
MERCANTILE TAX COLLECTOR                900 CHESTER AVE                     DIVISION OF FIRE
704 PINE STREET                         DELRAN, NJ 08075                    100 MUNICIPAL BLVD
ALIQUIPPA, PA 15001                                                         EDISON, NJ 08817




TOWNSHIP OF EGG HARBOR                  TOWNSHIP OF EVESHAM                 TOWNSHIP OF EXETER
3515 BARGAINTOWN RD                     TAX COLLECTOR                       TRI-STATE FINANCIAL GROUP
EGG HARBOR TOWNSHIP, NJ 08234           984 TUCKERTON RD                    PO BOX 38
                                        MARLTON, NJ 08053                   BRIDGEPORT, PA 19405




TOWNSHIP OF FRAZER                      TOWNSHIP OF FREEHOLD                TOWNSHIP OF GLOUCESTER
592 PITTSBURGH MILLS CIRCLE             ONE MUNICIPAL PLAZA                 1261 CHEWS LANDING RD-CLEMENTON RD
FRAZER TOWNSHIP, PA 15084               FREEHOLD, NJ 07728                  PO BOX 8
                                                                            BLACKWOOD, NJ 08012
                      Case
TOWNSHIP OF GREEN BROOK       18-12241-CSS   DocOF26
                                        TOWNSHIP       Filed 10/05/18
                                                   HADDON                    PageTOWNSHIP
                                                                                  1603 of OF
                                                                                          1739
                                                                                             HAZLET
BUREAU OF FIRE PREVENTION                MUNICIPAL BUILDING                       PO BOX 371
115 GREEN BROOK RD                       135 HADDON AVE                           HAZLET, NJ 07730
GREEN BROOK, NJ 08812                    WESTMONT, NJ 08108




TOWNSHIP OF LAWRENCE                     TOWNSHIP OF LIVINGSTON WTR/SWR           TOWNSHIP OF LIVINGSTON-FIRE DIVISION
FIRE MARSHALS OFFICE                     357 SO. LIVINGSTON AVE                   FIRE PREVENTION BUREAU
PO BOX 6006                              LIVINGSTON, NJ 07039                     62 S LIVINGSTON AVE
2207 LAWRENCEVILLE RD                                                             LIVINGSTON, NJ 07039
LAWRENCEVILLE, NJ 08648



TOWNSHIP OF LOWER MERION                 TOWNSHIP OF MANALAPAN                    TOWNSHIP OF MIDDLETOWN
MBP TAX COLLECTOR                        BUREAU OF FIRE PREVENTION                BUREAU OF FIRE PREVENTION
75 E LANCASTER AVE                       120 RT 522 & TAYLORS MILLS RD            3 MUNICIPAL WAY
ARDMORE, PA 19003-2376                   MANALAPAN, NJ 07726                      LANGHORNE, PA 19047




TOWNSHIP OF MONTGOMERY                   TOWNSHIP OF NEWTOWN                      TOWNSHIP OF NORTH BERGEN
TAX COLLECTOR                            209 BISHOP HOLLOW RD                     4233 KENNEDY BLVD
PO BOX 690                               NEWTOWN SQUARE, PA 19073                 NORTH BERGEN, NJ 07047
MONTGOMERYVILLE, PA 18936




TOWNSHIP OF NORTH BRUNSWICK              TOWNSHIP OF OCEAN FIRE DISTRICT 2        TOWNSHIP OF OCEAN
FIRE MARSHALS OFFICE                     FIRE MARSHALS OFFICE                     ATTN: BUSINESS LICENSING
710 HERMANN RD                           2001 SUNSET AVE                          399 MONMOUTH RD
NORTH BRUNSWICK, NJ 08902                OCEAN, NJ 07712-4625                     OAKHURST, NJ 07755




TOWNSHIP OF PALMER UTILITY BIL           TOWNSHIP OF PARSIPPANY                   TOWNSHIP OF PENNSVILLE
3 WELLER PLACE                           ATTN: FIRE PREVENTION                    BUREAU OF FIRE PREVENTION
PALMER, PA 18045-1975                    1001 PARSIPPANY BLVD                     90 NORTH BROADWAY
                                         PARSIPPANY, NJ 07054                     PENNSVILLE, NJ 08070




TOWNSHIP OF PEQUANNOCK                   TOWNSHIP OF PINE                         TOWNSHIP OF ROXBURY
BUREAU OF FIRE SAFETY                    230 PEARCE MILL RD.                      BUREAU OF FIRE PREVENTION
530 NEWARK-POMPTON TURNPIKE              WEXFORD, PA 15090                        1715 ROUTE 46
POMPTON PLAINS, NJ 07444                                                          LEDGEWOOD, NJ 07852




TOWNSHIP OF SADDLE BROOK                 TOWNSHIP OF SOUTH STRABANE               TOWNSHIP OF SPRING
93 MARKET ST.                            550 WASHINGTON RD                        2850 WINDMILL ROAD
SADDLE BROOK, NJ 07663-4899              WASHINGTON, PA 15301                     SINKING SPRING, PA 19608




TOWNSHIP OF SPRING                       TOWNSHIP OF SPRINGFIELD                  TOWNSHIP OF STAFFORD
P.O. BOX 4548                            BUREAU OF FIRE PREVENTION                BUREAU OF FIRE PREVENTION
LANCASTER, PA 17604-4548                 200 MOUNTAIN AVE                         260 EAST BAY AVE
                                         SPRINGFIELD, NJ 07081                    MANAHAWKIN, NJ 08050




TOWNSHIP OF TILDEN                       TOWNSHIP OF VERONA                       TOWNSHIP OF WAYNE
874 HEX HIGHWAY                          VERONA FIRE PREVENTION BUREAU            FIRE BUREAU
HAMBURG, PA 19526                        880 BLOOMFIELD AVE                       475 VALLEY RD
                                         VERONA, NJ 07044                         WAYNE, NJ 07470
TOWNSQUARE MEDIA ALBANYCase    18-12241-CSS   Doc 26
                                         TOWNSQUARE     Filed
                                                    MEDIA BOISE10/05/18
                                                                LLC            PageTOWNSQUARE
                                                                                    1604 of 1739
                                                                                              MEDIA DANBURY LLC
PO BOX 29837                              827 E PARK BLVD 100                       PO BOX 28612
NEW YORK, NY 10087-9837                   BOISE, ID 83712                           NEW YORK, NY 10087-8612




TOWNSQUARE MEDIA GRAND RAPIDS             TOWNSQUARE MEDIA INC                      TOWNSQUARE MEDIA INC
25221 NETWORK PLACE                       KMDL-FM                                   KTDY-FM
CHICAGO, IL 60673-1252                    PO BOX 731227                             PO BOX 731227
                                          DALLAS, TX 75373                          DALLAS, TX 75373




TOWNSQUARE MEDIA INC                      TOWNSQUARE MEDIA LLC KFMX-FM              TOWNSQUARE MEDIA LLC KZII-FM
WLHT-FM                                   PO BOX 301650                             PO BOX 301650
50 MONROE AVE NW STE 500                  DALLAS, TX 75303-1650                     DALLAS, TX 75303
GRAND RAPIDS, MI 49503




TOWNSQUARE MEDIA LUFKIN                   TOWNSQUARE MEDIA ODESSA/MIDLAND II        TOWNSQUARE MEDIA PORTLAND LLC
DBA KYKS KAFX KSFA KTBQ KULL              LLC                                       PO BOX 28613
1216 S FIRST ST                           240 GREENWICH AVE                         NEW YORK, NY 10087-8613
LUFKIN, TX 75901                          GREENWICH, CT 06830




TOWNSQUARE MEDIA PORTLAND LLC             TOWNSQUARE MEDIA PORTLAND LLC             TOWNSQUARE MEDIA PORTSMOUTH LLC
WBLM-FM                                   WJBQ-FM                                   PO BOX 28614
PO BOX 28613                              PO BOX 28613                              NEW YORK, NY 10087-8614
NEW YORK, NY 10087                        NEW YORK, NY 10087




TOWNSQUARE MEDIA POUGHKEEPSIE             TOWNSQUARE MEDIA ROCKFORD LLC             TOWNSQUARE MEDIA ROCKFORD LLC
PO BOX 28611                              27150 NETWORK PLACE                       3901 BRENDENWOOD RD
NEW YORK, NY 10087-8611                   CHICAGO, IL 60673-1271                    ROCKFORD, IL 61107




TOWNSQUARE MEDIA SHREVEPORT LLC           TOWNSQUARE MEDIA SHREVEPORT LLC           TOWNSQUARE MEDIA TRI CITIES
KRUF-FM                                   KXKS-FM                                   PO BOX 2485
PO BOX 731300                             PO BOX 731300                             PASCO, WA 99302
DALLAS, TX 75373                          DALLAS, TX 75373




TOWNSQUARE MEDIA TUSCALOOSA LLC           TOWNSQUARE MEDIA TUSCALOOSA LLC           TOWNSQUARE MEDIA TUSCALOOSA LLC
(WFFN-FM)                                 (WNPT-FM)                                 (WTSK-AM)
PO BOX 978599                             PO BOX 978599                             PO BOX 978599
DALLAS, TX 75397                          DALLAS, TX 75397                          DALLAS, TX 75397




TOWNSQUARE MEDIA TUSCALOOSA LLC           TOWNSQUARE MEDIA TUSCALOOSA LLC           TOWNSQUARE MEDIA WEST CENTRAL RADIO
(WTUG-FM)                                 PO BOX LBX 978599                         2621 W A STREET
PO BOX 978599                             DALLAS, TX 75397-8599                     PASCO, WA 99301
DALLAS, TX 75397




TOWNSQUARE MEDIA WEST CENTRAL RADIO       TOWNSQUARE MEDIA YAKIMA                   TOWNSQUARE MEDIA-ATLANTIC CITY
BROADCASTING, LLC                         4010 SUMMITVIEW AVE                       PO BOX 28055
KKTX-FM                                   YAKIMA, WA 98908                          NEW YORK, NY 10087-8055
PO BOX 301022
DALLAS, TX 75303-1022
TOWSON UE LLC              Case 18-12241-CSS   Doc
                                          TOWSON     26
                                                 UE LLC      Filed 10/05/18       PageTOWSON
                                                                                       1605 ofUE1739
                                                                                                 LLC
351 W CAMDEN ST                            C/O URBAN EDGE PROPERTIES                  PO BOX 645308
BALTIMORE, MD 21201                        ATTN: CHIEF OPERATING OFFICER              PITTSBURGH, PA 15264-5308
                                           210 ROUTE 4 EAST
                                           PARAMUS, NJ 07652



TOWSON UE LLC                              TOYOTA FINANCIAL SERV COMM FINANCE         TOYOTA MOTOR CREDIT CORP
URBAN EDGE PROPERTIES LP                   PO BOX 3457                                19001 S WESTERN AVE NF24
PO BOX 416556                              TORRANCE, CA 90510-3457                    TORRANCE, CA 90501
BOSTON, MA 02241-6556




TPF EQUITY REIT OPERATING PARTNERSHIP      TPP 207 BROOKHILL, LLC                     TPP 207 BROOKHILL, LLC
LP                                         750 N ST PAUL ST                           C/O HANNAY REALTY ADVISORS
10 STATE HOUSE SQUARE 15TH FL              DALLAS, TX 75201                           1700 BROADWAY, SUITE 650
HARTFORD, CT 06103                                                                    DENVER, CO 80290




TPP 22 PHOENIX LLC                         TPP 30 TOLLESON LLC                        TPP REGENCY, LLC
PO BOX 203610                              C/O TRIGATE PROPERTY PARTNERS LP           C/O CUSHMAN & WAKEFIELD
DALLAS, TX 75320-3610                      750 NORTH ST. PAUL STREET, SUITE 900       721 EMERSON ROAD, SUITE 600
                                           DALLAS, TX 75201                           ST. LOUIS, MO 63141




TPP SIEGEN, LLC                            TPP SIEGEN, LLC                            TPP SIEGEN, LLC
750 N. ST. PAUL STREET, STE 900            C/O BEAU BOX PROPERTY MANAGEMENT           C/O BEAU BOX PROPERTY MGMT
DALLAS, TX 75201                           ATTN: PATTI PIZZOLATO                      PO BOX 66865
                                           P.O. BOX 66865                             BATON ROUGE, LA 70896
                                           BATON ROUGE, LA 70896



TPP SIEGEN, LLC                            TPRF III RIDGE ROCK LP                     TPRF III RIDGE ROCK LP
PO BOX 944291                              5207 MCKINNEY AVE STE 200                  C/O CNL COMMERICAL RE
CLEVELAND, OH 44194-4291                   DALLAS, TX 75205                           PO BOX 6230
                                                                                      ORLANDO, FL 32802




TPRF III/ SR PEARLAND LP                   TPRF/ STASSNEY LP                          TPRF/ STASSNEY LP
PO BOX 678461                              400 W 15TH ST STE 1250                     STREAM REALTY PARTNERS
DALLAS, TX 75267-8461                      AUSTIN, TX 78701                           P.O. BOX 731499
                                                                                      DALLAS, TX 75373-1499




TPX COMMUNICATIONS                         TPX                                        TQM ROOFING INC
P.O. BOX 509013                            515 S FLOWER ST, 45TH FL                   3646 TAYLORSVILLE HIGHWAY
SAN DIEGO, CA 92150-9013                   LOS ANGELES, CA 90071                      STATESVILLE, NC 28625




TR AUSTIN RETAIL CORP.                     TR CROWNPOINTE CORP.                       TR CROWNPOINTE LLC
2815 PAYSPHERE CIRCLE                      C/O COLLIERS ARNOLD                        311 PARK PLACE BLVD STE 600
CHICAGO, IL 60674                          311 PARK PLACE BLVD SUITE 600              CLEARWATER, FL 33759
                                           CLEARWATER, FL 33759




TRA ARMSTEAD                               TRACE ODNEAL                               TRACEY BOATNER
10201 S. MAIN STREET                       10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                          HOUSTON, TX 77025
TRACEY CARDIN            Case 18-12241-CSS
                                        TRACEYDoc  26
                                               SELLICK      Filed 10/05/18   PageTRACEY
                                                                                  1606 of 1739
                                                                                        THOMAS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    PO BOX 940277
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77094




TRACHESSA MARKS                          TRACI ANN WILLIAMSON                    TRACI KELLY
790 N 26TH ST                            1810 MARLINDA WAY                       10201 S. MAIN STREET
BATON ROUGE, LA 70802                    EL CAJON, CA 92021                      HOUSTON, TX 77025




TRACIE MOWERY                            TRACT 107 LLC                           TRACT 107 LLC
10759 ROYAL JASMINE LN                   221 S SIXTH ST STE 100                  400 W 15TH ST STE 1250
LAS VEGAS, NV 89135                      AUSTIN, TX 78701                        AUSTIN, TX 78701




TRACTOR HUFT                             TRACY BABINAT                           TRACY BUTLER, EXECUTIVE VICE
10201 S. MAIN STREET                     10201 S. MAIN STREET                    PRESIDENT
HOUSTON, TX 77025                        HOUSTON, TX 77025                       2851 JOHN STREET, SUITE 1
                                                                                 MARKHAM, ON L3R 5R7
                                                                                 CANADA



TRACY CASSIDY-FOX                        TRACY FRASER                            TRACY HAMMOCK
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




TRACY HEMINGER                           TRACY JACKSON                           TRACY JACKSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




TRACY JACKSON                            TRACY JEAN LACY                         TRACY LOCKLEAR
10201 S. MAIN STREET                     936 SHIVE LN 185                        5218 PEPPERCORN ST
HOUSTON, TX 77025                        BOWLING GREEN, KY 42103                 DURHAM, NC 27704




TRACY LY                                 TRACY MANIACI                           TRACY PANUS
10201 S. MAIN STREET                     10201 S. MAIN STREET                    1333 ASHBY RD
HOUSTON, TX 77025                        HOUSTON, TX 77025                       SAINT LOUIS, MO 63132




TRACY PANUS                              TRACY PAVILION GRF2, LLC                TRACY PAVILION GRF2, LLC
1657 FEISE FOREST DR                     973 LOMAS SANTA FE DRIVE                PO BOX 847275
O FALLON, MO 63368                       SOLANA BEACH, CA 92075                  LOS ANGELES, CA 90084-7275




TRACY SMITH                              TRACY STEEDMAN                          TRADE SHOW TECHNOLOGIES INC
10201 S. MAIN STREET                     10201 S. MAIN STREET                    1680 THE GREENS WAY, STE 100
HOUSTON, TX 77025                        HOUSTON, TX 77025                       JACKSONVILLE BEACH, FL 32250
                    Case
TRADEMARK ENTERPRISES INC       18-12241-CSS   Doc PROPERTY
                                          TRADEMARK 26 Filed  10/05/18
                                                            COMPANY         PageTRADEMARK
                                                                                 1607 of 1739
                                                                                          PROPERTY COMPANY
TRADEMARK HITT                            ATTN: DEBRA BROWN                      KAREN COOPER
9300 BAMBOO                               1701 RIVER RUN, SUITE 500              1701 RIVER RUN, SUITE 500
HOUSTON, TX 77041                         FORT WORTH, TX 76107                   FORT WORTH, TX 76102




TRADER JOES EAST, INC.                    TRADER JOES EAST, INC.                 TRADER JOE'S EAST, INC.
ATTN: TERI COLLEY                         ATTN: VP, REAL ESTATE                  ATTN: VP, REAL ESTATE
800 S SHAMROCK AVE                        117 KENDRICK STREET, SUITE 700         117 KENDRICK STREET, SUITE 700
MONROVIA, CA 91016                        NEEDHAM, MA 02494                      NEEDHAM, MA 02494




TRADER JOES, INC.                         TRAFALGAR SQUARE INC                   TRAFFICBUILDERS INC
800 SOUTH SHAMROCK AVENUE                 1855 N UNIVERSITY DR                   4755 WARREN WAY
MONROVIA, CA 91016-6334                   CORAL SPRINGS, FL 33071                RENO, NV 89509




TRAF-SYS INC                              TRAIL BLAZERS INC                      TRAILER MARKETING INC
190 INDUSTRY DR                           ATTN: DAWN BUCKWALTER                  3208 E SLATON HWY
PITTSBURGH, PA 15275                      ONE CENTER CT STE 200                  LUBBOCK, TX 79404
                                          PORTLAND, OR 97227




TRAILHORSE, LLC                           TRAILSIDE LIBERTY WAY, LLC             TRAILSIDE LIBERTY WAY, LLC
C/O SUDBERRY PROPERTIES, INC.             C/O COLLIERS INTERNATIONAL             C/O COLLIERS INTERNATIONAL
5465 MOREHOUSE DRIVE, SUITE 260           425 WALNUT ST STE 1200                 9987 CRAVER ROAD, SUITE 430
SAN DIEGO, CA 92121-4714                  CINCINNATI, OH 45202                   CINCINNATI, OH 45242




TRAILSIDE LIBERTY WAY, LLC                TRAMAINE SEABERRY                      TRAMLAW LLC
ONE EAST FOURTH ST STE 1400               10201 S. MAIN STREET                   2133 SOUTH LAKELINE DRIVE
CINCINNATI, OH 45202                      HOUSTON, TX 77025                      SALT LAKE CITY, UT 84109




TRAMLAW, LLC                              TRAMLAW, LLC                           TRAN HUA
C/O BENDERSON PROPERTIES                  PO BOX 823201                          10201 S. MAIN STREET
7978 COOPER CREEK BLVD.                   PHILADELPHIA, PA 19182-3201            HOUSTON, TX 77025
UNIVERSITY PARK, FL 34201




TRANCAS VINTAGE NAPA, LLC                 TRANCAS VINTAGE NAPA, LLC              TRANNIKHA K. JOHNSON
C/O PACIFIC PROPERTIES GROUP              P.O. BOX 2176                          10901 TELEPHONE RD
775 ENTLER STREET, SUITE 3                CHICO, CA 95927                        HOUSTON, TX 77075
CHICO, CA 95927




TRANS ALARM INC                           TRANS GLOBE TRANSPORTATION INC         TRANSACTION TAX RESOURCES INC
500 E TRAVELERS TRAIL STE 600             1595 1ST ST                            3850 NE THREE MILE LN
BURNSVILLE, MN 55337                      WEST BABYLON, NY 11704                 MC MINNVILLE, OR 97128




TRANSAMERICA LIFE INSURANCE COMPANY       TRANSAMERICA LIFE INSURANCE COMPANY    TRANSAMERICA LIFE INSURANCE COMPANY
5115 DOUGLAS FIR RD STE C                 C/O AEGON USA REALTY ADVISORS, LLC     C/O AEGON USA REALTY ADVISORS, LLC
CALABASAS, CA 91302                       4333 EDGEWOOD ROAD, NE                 4333 EDGEWOOD ROAD, NE
                                          CEDAR RAPIDS, IA 52499-5441            CEDAR RAPIDS, IA 52499-5443
                       Case COMPANY
TRANSAMERICA LIFE INSURANCE 18-12241-CSS     Doc 26 DEVELOPMENT
                                      TRANSAMERICAN       Filed 10/05/18     PageTRANSAMERICAN
                                                                                  1608 of 1739DEVELOPMENT
PO BOX 856880                         CORPORATION                                CORPORATION
MINNEAPOLIS, MN 55485-6880            777 41ST ST STE 207                        777 41ST STREET, 2ND FLOOR
                                      MIAMI BEACH, FL 33140                      MIAMI BEACH, FL 33140




TRANSATLANTIC 151 LP                    TRANSATLANTIC 151 LP                     TRANSFAC CAPITAL INC
C/O TRANSATLANTIC INVESTMENT            C/O TRANSATLANTIC INVESTMENT MGMT,       FBO LABOR SMART INC
MANAGEMENT, INC.                        INC.                                     257 E 200 S SUITE 350
222 THIRD STREET                        222 THIRD ST STE 1322                    SALT LAKE CITY, UT 84111
CAMBRIDGE, MA 02142                     CAMBRIDGE, MA 02142



TRANSFAC CAPITAL INC                    TRANSGLOBAL BUSINESS SOLUTIONS INC       TRANSMEDIA INC.
LABOR SMART INC                         DBA SUMMERSET OUTDOOR LIVING             P.O. BOX 942
PO BOX 3238                             1880 IOWA AVE STE 100                    DIABLO, CA 94528
SALT LAKE CITY, UT 84110-3238           RIVERSIDE, CA 92507




TRANSOURCE                              TRANSPORATION SUPPLY                     TRANSPORTATION & WAREHOUSE SRVS INC
P.O. BOX 931898                         4701 NATICK AVE STE 215                  2900 N SHADELAND AVE STE C
ATLANTA, GA 31193                       SHERMAN OAKS, CA 91403                   INDIANAPOLIS, IN 46219




TRANSUNION RISK AND ALTERNATIVE         TRANSWESTERN                             TRANSWORLD SYSTEMS INC
DATA SOLUTIONS INC                      3063 MERCY DRIVE, SUITE G                PO BOX 15520
PO BOX 209047                           ORLANDO, FL 32808                        WILMINGTON, DE 19850-5520
DALLAS, TX 75320-9047




TRASH TAXI - AL                         TRASHAUNDA OTEMS                         TRAVELERS
656 STUART LANE                         10201 S. MAIN STREET                     C/O BANK OF AMERICA
PELHAM, AL 35124                        HOUSTON, TX 77025                        91287 COLLECTIONS CENTER DR
                                                                                 CHICAGO, IL 60693-1287




TRAVELLE JONES                          TRAVION ROGERS                           TRAVIS A HULSEY DIRECTOR
10201 S. MAIN STREET                    10201 S. MAIN STREET                     PO BOX 12207
HOUSTON, TX 77025                       HOUSTON, TX 77025                        BIRMINGHAM, AL 35202-2207




TRAVIS ADAMS                            TRAVIS BENSON                            TRAVIS BREESE
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TRAVIS BRUNETTE                         TRAVIS BURCH                             TRAVIS BURTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TRAVIS BURTON                           TRAVIS CANNADAY                          TRAVIS CARR
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025
TRAVIS CHRISTENSEN     Case 18-12241-CSS
                                      TRAVIS Doc 26 Filed
                                             CORPORATION     10/05/18
                                                         OF PINELLAS    PageTRAVIS
                                                                             1609 COUNTY
                                                                                   of 1739
                                                                                         TAX A/C
10201 S. MAIN STREET                    COUNTY                               ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       C/O GULF COAST COMMERCIAL            P O BOX 149328
                                        1600 E 8TH AVE STE A106              AUSTIN, TX 78714-9328
                                        TAMPA, FL 33605



TRAVIS COUNTY TAX COLLECTOR             TRAVIS CRISP                         TRAVIS DISHMAN
P.O. BOX 149328                         10201 S. MAIN STREET                 10201 S. MAIN STREET
AUSTIN, TX 78714-9328                   HOUSTON, TX 77025                    HOUSTON, TX 77025




TRAVIS ESKRIDGE                         TRAVIS FRANCO                        TRAVIS GEE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TRAVIS GORDON                           TRAVIS GREENE                        TRAVIS GRENIER
10201 S. MAIN STREET                                                         10201 S. MAIN STREET
HOUSTON, TX 77025                                                            HOUSTON, TX 77025




TRAVIS GRIFFITH                         TRAVIS GUDENRATH                     TRAVIS HELTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TRAVIS IRBY                             TRAVIS JOHNSON                       TRAVIS LAFFERTY
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TRAVIS LEE                              TRAVIS MARTIN                        TRAVIS MEADE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TRAVIS MIDDOUR                          TRAVIS OLSON                         TRAVIS OSBORN
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TRAVIS PARKER                           TRAVIS PASSANITA                     TRAVIS PENROSE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TRAVIS PLASTER                          TRAVIS REEVES                        TRAVIS RIOS
1628 BAXTER SPRINGS DR                  10201 S. MAIN STREET                 10201 S. MAIN STREET
JUSTIN, TX 76247                        HOUSTON, TX 77025                    HOUSTON, TX 77025
TRAVIS SCHIMMER        Case 18-12241-CSS
                                      TRAVIS Doc
                                             SMITH26     Filed 10/05/18      PageTRAVIS
                                                                                  1610 SMITH
                                                                                        of 1739
6811 SIMMONS WAY                       10201 S. MAIN STREET                      10201 S. MAIN STREET
MOORPARK, CA 93021                     HOUSTON, TX 77025                         HOUSTON, TX 77025




TRAVIS STURGEON                        TRAVIS SULLIVAN                           TRAVIS TRENTHAM
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




TRAVIS WALLS                           TRAVIS WILLIAMS                           TRAVIS YOUNG
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




TRAVISANO CONSTRUCTION LLC             TRAVONNE MOORE                            TRAY CONNER
10817 GARDEN RIDGE COURT               10201 S. MAIN STREET                      10201 S. MAIN STREET
DAVIE, FL 33328                        HOUSTON, TX 77025                         HOUSTON, TX 77025




TRC EL PASEO DE SARATOGA, LLC          TRC EL PASEO DE SARATOGA, LLC             TRC EL PASEO DE SARATOGA, LLC
4695 MACARTHUR COURT, STE 700          C/O TERRAMAR RETAIL CENTERS, LLC          PO BOX 848262
NEWPORT BEACH, CA 92660                4695 MACARTHUR BOULEVARD, SUITE 700       LOS ANGELES, CA 90084-8262
                                       NEWPORT BEACH, CA 92660




TRE FORBES                             TRE MILLER                                TREASURE COAST NEWSPAPERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      PO BOX 1410
HOUSTON, TX 77025                      HOUSTON, TX 77025                         CHARLOTTE, NC 28201-1410




TREASURE COAST NEWSPAPERS              TREASURE VALLEY FIRE EXTINGUISHERS        TREASURER - CITY OF PITTSBURGH
PO BOX 630807                          INC                                       CITY REASURER LS-1 TAX
CINCINNATI, OH 45263-0807              DBA FIRE EXTINGUISHER                     414 GRANT ST STE 224
                                       PO BOX 1165                               PITTSBURGH, PA 15219-2476
                                       MERIDIAN, ID 83680



TREASURER CHESTERFIELD COUNTY          TREASURER CITY OF BRISTOL VIRGINIA        TREASURER KING GEORGE COUNTY
PO BOX 71111                           497 CUMBERLAND ST ROOM 102                10459 COURTHOUSE DR STE 100
CHARLOTTE, NC 28272-1111               BRISTOL, VA 24201-4392                    KING GEORGE, VA 22485-3865




TREASURER OF KING GEORGE               TREASURER OF STATE                        TREASURER OF THE COUNTY OF NASSAU
COMMISSIONER OF REV.-BUS. LIC. DEPT    OHIO DEPARTMENT OF TAXATION               1 WEST STREET 1ST FLOOR
10459 COURTHOUSE DR STE 101            P.O. BOX 804                              MINEOLA, NY 11501
KING GEORGE, VA 22485-3865             COLUMBUS, OH 43216-0804




TREASURER OF VIRGINIA                  TREASURER OF WARREN COUNTY                TREASURER OF WARREN COUNTY
DIVISION OF UNCLAIMED PROPERTY         COMMISSIONER OF REVENUE                   COUNTY OF WARREN VIRGINIA
PO BOX 2478                            PO BOX 1775                               PO BOX 1540
RICHMOND, VA 23218-2478                FRONT ROYAL, VA 22630-0038                FRONT ROYAL, VA 22630-0033
                      Case
TREASURER OF WAYNESBORO      18-12241-CSS    Doc OF
                                       TREASURER 26WYTHE
                                                      Filed 10/05/18
                                                         COUNTY              PageTREASURER
                                                                                  1611 of 1739
                                                                                           SPOTSYLVANIA COUNTY
503 WEST MAIN ST ROOM 107               225 SOUTH 4TH ST ROOM 104                 450 TV DRIVE
WAYNESBORO, VA 22980                    WYTHEVILLE, VA 24382-2547                 FREDERICKSBURG, VA 22408




TREASURER SPOTSYLVANIA COUNTY           TREASURER STATE OF NEW JERSEY             TREASURER STATE OF OHIO
PO BOX 9000                             NJ DEPT OF COMMUNITY AFFAIRS ELEV UNIT    DIV OF INDUSTRIAL COMPLIANCE(FISCAL
SPOTSYLVANIA, VA 22553                  PO BOX 816                                BEDDING)
                                        TRENTON, NJ 08625-0816                    PO BOX 4009
                                                                                  REYNOLDSBURG, OH 43068-9009



TREASURER TOWN OF CULPEPER VA           TREASURER VIGO COUNTY                     TREASURER VILL OF MT PLEASANT
PO BOX 1447                             TAX PROCESSING CENTER                     VILL MT PLEASANT JOHNSON BANK
CULPEPER, VA 22701-6447                 PO BOX 1466                               P O BOX 1126
                                        INDIANAPOLIS, IN 46206-1466               KENOSHA, WI 53141-1126




TREASURER                               TREASURER-CITY OF FAIRFAX                 TREASURER-CITY OF FALLS CHURCH
FREDERICK COUNTY                        CITY HALL ROOM 224                        COMMISSIONER OF THE REVENUE
PO BOX 220                              10455 ARMSTRONG ST                        300 PARK AVE STE 104E
WINCHESTER, VA 22604                    FAIRFAX, VA 22030                         FALLS CHURCH, VA 22046-3301




TREASURER-CITY OF FLINT                 TREASURER-STATE OF OHIO                   TREE FELLAS LLC
P.O. BOX 1950                           DEPT OF TAXATION/COMPLIANCE DIV.          24 DRIALO DR
FLINT, MI 48501                         PO BOX 2678                               ALLENTOWN, NJ 08501
                                        COLUMBUS, OH 43216-2678




TREECO CENTERS LIMITED PARTNERSHIP      TREECO/CENTERS LP                         TREEVIEW REAL ESTATE ADVISORS LP
10 E. PALISADE AVE                      10 E PALISADE AVENUE                      KATHERINE FEEHAN
ENGLEWOOD, NJ 07631                     ENGLEWOOD, NJ 07631                       28 LIBERTY STREET, SUITE 3040
                                                                                  NEW YORK, NY 10005




TRELL ALLEN                             TREMAINE CARR                             TREMCO / WEATHERPROOFING
10201 S. MAIN STREET                    3203 SINGLETARY DR APT 117                TECHNOLOGIES INC
HOUSTON, TX 77025                       BAKER, LA 70714                           PO BOX 931111
                                                                                  CLEVELAND, OH 44193-0511




TREMOR VIDEO DSP INC                    TREMOR VIDEO DSP INC                      TREMOR VIDEO INC
1501 BROADWAY SUITE 801                 DEPT CH 17072                             1501 BROADWAY 8TH FL
NEW YORK, NY 10036                      PALATINE, IL 60055-7072                   NEW YORK, NY 10036




TREMOR VIDEO INC                        TREND OFFSET PRINTING SERVICES INC        TREND OFFSET PRINTING SERVICES INC
LOCKBOX                                 3701 CATALINA ST                          DEPT LA 24718
PO BOX 392314                           LOS ALAMITOS, CA 90720                    PASADENA, CA 91185-4718
PITTSBURGH, PA 15251-9314




TREND SETTERS LAWN CARE, LLC            TRENESE COOK                              TRENT BISAILLON
3408 SNOWBLOSSOM COURT                  10201 S. MAIN STREET                      14239 VALLEY VIEW RD APT 306
PEARLAND, TX 77581                      HOUSTON, TX 77025                         EDEN PRAIRIE, MN 55344
TRENT COLEMAN          Case 18-12241-CSS    Doc 26
                                      TRENT GOFORTH      Filed 10/05/18    PageTRENT
                                                                                1612JACKS
                                                                                     of 1739
10201 S. MAIN STREET                   11702 EGRETS POINT DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                      CHARLOTTE, NC 28278                     HOUSTON, TX 77025




TRENT SELWAY                           TRENTON ACKERMAN                        TRENTON SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TRES LOBOS L.P.                        TRES LOBOS, LP                          TREVA KENNEDY
C/O DIVERSIFIED DEVELOPMENT GROUP      C/O DIVERSIFIED DEVELOPMENT GROUP       146 W 120TH ST APT 8
7519 N. INGRAM AVENUE, SUITE 104       7519 N. INGRAM AVENUE, SUITE 104        NEW YORK, NY 10027
FRESNO, CA 93711                       FRESNO, CA 93711




TREVIS FORBES                          TREVIS PHAN                             TREVON BRYANT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TREVON MOLOCK                          TREVOR ADAMS                            TREVOR BALDWIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TREVOR BROWN                           TREVOR C HENRIQUES JR                   TREVOR DAIGENAULT
10201 S. MAIN STREET                   2219 CALIBRE CREEK PKWY                 10201 S. MAIN STREET
HOUSTON, TX 77025                      ROSWELL, GA 30076                       HOUSTON, TX 77025




TREVOR DUPONT                          TREVOR ENGLUND                          TREVOR EVERETTE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TREVOR FRIEL                           TREVOR GIBSON                           TREVOR GRAYSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TREVOR GRIGGS                          TREVOR HALL                             TREVOR HOLT
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




TREVOR JOHNSON                         TREVOR KULP                             TREVOR LOWE
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025
TREVOR QUINN           Case 18-12241-CSS
                                      TREVORDoc
                                             RAY 26         Filed 10/05/18   PageTREVOR
                                                                                  1613 of 1739
                                                                                        SCHUMM
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TREVOR THOMAS                           TREVOR THOMPSON                          TREVOR WATSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TREY ANDREWS                            TREY HART                                TREY HUGHES
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TREY MEHOS                              TREY MITCHELL                            TREZ HANNAH
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




TRF PACIFIC LLC                         TRF PACIFIC LLC                          TRG PROPERTY MANAGEMENT, LLC
REGINA LETRANDO                         RICK PARKS                               TIA MARX
2620 2ND AVENUE                         2620 2ND AVENUE                          18 COMPUTER DRIVE EAST, SUITE 201
SEATTLE, WA 98121                       SEATTLE, WA 98121                        ALBANY, NY 12205




TRI COMMERCIAL REAL ESTATE SERVICES     TRI COUNTY ELEC COOP INC                 TRI COUNTY ELEC COOP INC
INC                                     3906 BROADWAY                            P.O. BOX 961032
532 GIBSON DR STE 200                   MOUNT VERNON, IL 62864                   FORT WORTH, TX 76161-0032
ROSEVILLE, CA 95678




TRI PROPERTY MANAGEMENT DEVICES, INC.   TRI STATE DEVELOPMENT INC                TRI VALLEY ASSOCIATES, LLC
2209 PLAZA DRIVE, SUITE 100             PO BOX 5345                              C/O LARSEN BAKER LLC
ROCKLIN, CA 95765                       SAGINAW, MI 48603-0345                   6298 E. GRANT ROAD, SUITE 100
                                                                                 TUCSON, AZ 85712




TRI VALLEY ASSOCIATES, LLC              TRIAD CONSULTANTS INC                    TRIAD PROFESSIONAL SERVICES
C/O LARSEN BAKER                        197 TIMBERLAKE DR                        1720 WINDWARD CONCOURSE STE 390
6298 E. GRANT ROAD, SUITE 100           ASHLAND, OR 97520-9004                   ALPHARETTA, GA 30005
TUCSON, AZ 85712




TRIAD STAFFING                          TRIAD STAFFING                           TRIADELPHIA ASSOCIATES LLC
C/O WELLS FARGO BUSINESS CREDIT         PO BOX 823424                            C/O THE SCHREIBER COMPANY
P.O. BOX 823424                         PHILADELPHIA, PA 19182-3424              609 EPSILON DR
PHILADELPHIA, PA 19182-3424                                                      PITTSBURGH, PA 15238




TRIADELPHIA ASSOCIATES LLC              TRIANGLE FIRE INC                        TRIANGLE PROPERTIES #5A, LLC
C/O THE SCHREIBER COMPANY               7720 NW 53RD ST                          30 JERICHO EXECUTIVE PLAZA, SUITE 300C
609 EPSILON DRIVE                       MIAMI, FL 33166                          JERICHO, NY 11753
PITTSBURGH, PA 15238
TRIANGLE PROPERTIES 5A,Case
                        LLC 18-12241-CSS    Doc
                                      TRIANGLE    26 Filed
                                               PROPERTY       10/05/18
                                                        01 & 04 LTD         PageTRIB
                                                                                 1614  of 1739
                                                                                     TOTAL MEDIA INC
30 JERICHO EXECUTIVE PLAZA STE 300C   PO BOX 795743                              PO BOX 642562
JERICHO, NY 11753                     DALLAS, TX 75379                           PITTSBURGH, PA 15264




TRIBARSON ENTERPRISES INC              TRIBEK PROPERTIES, INC.                   TRIBUNE 365 LLC DBA MEDIA WORKS
DBA ACTION TROPHIES & AWARDS           101 S. KINGS DRIVE, SUITE 200             14839 COLLECTIONS CENTER DR
1701 SOUTH I-35E                       CHARLOTTE, NC 28204                       CHICAGO, IL 60693
CARROLLTON, TX 75006




TRIBUNE CHRONICLE                      TRIBUNE CO DBA KDAF LLC                   TRIBUNE CO DBA KWGN LLC
240 FRANKLIN ST SE                     435 N MICHIGAN AVE                        435 N MICHIGAN
WARREN, OH 44483                       CHICAGO, IL 60611                         CHICAGO, IL 60611




TRIBUNE MEDIA CHICAGO                  TRIBUNE MEDIA COMPANY                     TRIBUNE PUBLISHING CO
PO BOX 98519                           WGN CONTINENTAL BROADCASTING CO LLC       DBA COLUMBIA DAILY TRIBUNE
CHICAGO, IL 60693                      435 N MICHIGAN AVE                        101 N FOURTH ST
                                       CHICAGO, IL 60611                         COLUMBIA, MO 65201




TRIBUNE PUBLISHING COMPANY LLC         TRIBUNE PUBLISHING COMPANY LLC            TRIBUNE PUBLISHING COMPANY LLC
BALTIMORE SUN MEDIA GROUP              DBA HARTFORD COURANT MEDIA GROUP          DBA TRONC
435 N MICHIGAN AVE                     435 N MICHIGAN AVE                        435 N MICHIGAN AVE
CHICAGO, IL 60611                      CHICAGO, IL 60611                         CHICAGO, IL 60611




TRIBUNE STAR                           TRICARICO ARCHITECTURE AND DESIGN PC      TRICIA ADAMS
PO BOX 149                             502 VALLEY RD                             10201 S. MAIN STREET
TERRE HAUTE, IN 47808-0149             WAYNE, NJ 07470                           HOUSTON, TX 77025




TRICIA ADAMS                           TRICIA HOLTZ                              TRICIA WARING
10201 S. MAIN STREET                   1013 MEANDERING WAY                       C/O FINE LAW
HOUSTON, TX 77025                      FRANKLIN, TN 37067                        ATTN: CHARLES FINE
                                                                                 MELVILLE, NY 11747




TRICIA WHITMORE                        TRI-CITIES/SOUTHWEST VIRGINIA REGIONAL    TRI-CITY FIRE SPRINKLERS
10201 S. MAIN STREET                   GROUP                                     C-16 998342
HOUSTON, TX 77025                      PO BOX 25876                              603 SEAGAZE DR PMB-271
                                       RICHMOND, VA 23260-5876                   OCEANSIDE, CA 92054




TRI-CITY HERALD                        TRICO PROPERTIES & INVESTMENTS LLC        TRICOR INTERNATIONAL CORPORATION
THE MCCLATCHY COMPANY ADVERTISING      130 BYASSEE DR                            270 W. NEW ENGLAND AVENUE
PO BOX 35174                           HAZELWOOD, MO 63042                       ATTN: VIVIAN POWERS
SEATTLE, WA 98124-5174                                                           WINTER PARK, FL 32789




TRICOR PRINT COMM. INC.                TRICOR                                    TRI-COUNTY ELECTRIC COOPERATIVE
7931 NE HALSEY ST. STE 101             MARC HAGLE, CEO                           P.O. BOX 961032
PORTLAND, OR 97213                     100 EAST SYBELIA AVENUE, SUITE 120        FORT WORTH, TX 76161-0032
                                       MAITLAND, FL 32751
TRI-COUNTY ENTERPRISESCase     18-12241-CSS    DocINDUSTRIES
                                         TRI-COUNTY 26 FiledINC10/05/18         PageTRI-COUNTY
                                                                                     1615 of 1739
                                                                                               INDUSTRIES INC
4455 NORTH STAR STREET                    159 TCI PARK DRIVE                         P.O. BOX 858
ROCKLIN, CA 95677                         GROVE CITY, PA 16127                       MARS, PA 16046




TRI-COUNTY PREFERED GARAGE DOOR INC       TRIFECTA LOCK                              TRIGATE PROPERTY PARTNERS LP
20115 W CORAL RD                          5710 HARRIET ST                            TPP 30 TOLLESON LLC
MARENGO, IL 60152                         HOUSTON, TX 77023                          PO BOX 95003
                                                                                     LAS VEGAS, NV 89193




TRIMARK FWC OWNER LLC                     TRINET WEST WA LLC                         TRINITY DEVELOPMENT GROUP, INC.
C/O TRIMARK PROPERTY GROUP, LLC           C/O MR. GERALD C MOHR                      1915 AIRPORT ROAD, SUITE 2D
420 ELLINGTON ROAD, SECOND FLOOR          9237 ALLENS COVE LN NE                     ATLANTA, GA 30341
ATTN: AL JIWANI                           BAINBRIDGE ISLAND, WA 98110
PACIFIC, WA 98047



TRINITY DEVELOPMENT GROUP, INC.           TRINITY INTERESTS, INC.                    TRINITY INTERESTS, INC.
ATTN: TIFFANY ISHAM                       ATTN: DONNA BLUMBERG                       TIM STINNEFORD, SENIOR PROPERTY
1550 TIMOTHY ROAD, SUITE 203              12740 HILLCREST ROAD, SUITE 101            MANAGER
ATHENS, GA 30606                          DALLAS, TX 75230                           12740 HILLCREST ROAD, SUITE 101
                                                                                     DALLAS, TX 75230



TRINITY INVESTMENT GROUP LLC              TRINITY INVESTMENT GROUP LLC               TRINITY INVESTMENT GROUP LLC
504 LAVACA ST 1160                        6700 GOLF DR                               8214 WESTCHESTER DR 9TH FL
AUSTIN, TX 78701                          DALLAS, TX 75205                           DALLAS, TX 75225




TRINITY MCINTOSH LLC                      TRINITY MCINTOSH LLC                       TRINITY PARTNERS, LLC
1915 AIRPORT RD STE 2D                    PO BOX 936012                              NICK POST, PROPERTY MANAGER
ATLANTA, GA 30341                         ATLANTA, GA 31193-6012                     3020 CARRINGTON MILL BOULEVARD, SUITE
                                                                                     425
                                                                                     MORRISVILLE, NC 27560



TRINITY RICHARDS                          TRINITY-MCINTOSH, LLC                      TRIO MARKETING INC
7430 PEPPERCORN DR                        C/O TRINITY DEVELOPMENT GROUP, INC.        898 HUNTINGTON ST NE
COLUMBUS, GA 31909                        1915 AIRPORT ROAD, SUITE 2D                PALM BAY, FL 32907
                                          ATLANTA, GA 30341




TRISH FRANCIS                             TRISH HILL                                 TRISH VINE
1987 W ALEX BELL RD                       10201 S. MAIN STREET                       10201 S. MAIN STREET
CENTERVILLE, OH 45459                     HOUSTON, TX 77025                          HOUSTON, TX 77025




TRISHA BRITTENHAM                         TRISHA MAY                                 TRISTAN ANDREWS
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025




TRISTAN COOK                              TRISTAN GALLAGHER                          TRISTAN GRAYSON
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025
TRISTAN HILTON          Case 18-12241-CSS    Doc
                                       TRISTAN     26
                                               PRICE      Filed 10/05/18    PageTRISTAN
                                                                                 1616 of  1739
                                                                                        QUAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




TRISTAN STOCKS                          TRI-STATE DEVELOPMENT, INC.             TRISTIAN SISTARE
10201 S. MAIN STREET                    P.O. BOX 5345                           10201 S. MAIN STREET
HOUSTON, TX 77025                       SAGINAW, MI 48603                       HOUSTON, TX 77025




TRIYAR MANAGEMENT OF AZ, INC.           TROIANO WASTE SERVICE INC. ME           TROIANO WASTE SERVICE INC. ME
4501 N SCOTTSDALE RD., SUITE 201        10 FILMIKE WAY                          P.O. BOX 3541
SCOTTSDALE, AZ 85251                    SOUTH PORTLAND, ME 04106                PORTLAND, ME 04104




TROJAN DEVELOPMENT ASSOC III            TROJAN DEVELOPMENT ASSOCIATES III       TROJAN DEVELOPMENT ASSOCIATES III
43 PANORAMIC WAY                        C/O C&H DEVELOPMENT CO                  C/O C&H DEVELOPMENT CO
WALNUT CREEK, AZ 94595                  43 PANORAMIC WAY                        43 PANORAMIC WAY
                                        ATTN: BASIL CHRISTOPOULOS               ATTN: BASIL CHRISTOPOULOS
                                        WALNUT CREEK, AZ 94595                  WALNUT CREEK, CA 94595



TRON ENTERPRISES INC                    TRONC                                   TRONG BUI
SUPERIOR OVERHEAD DOOR                  14891 COLLECTIONS CENTER DR             10201 S. MAIN STREET
P O BOX 922                             CHICAGO, IL 60693-0148                  HOUSTON, TX 77025
GRAPEVINE, TX 76099




TROON MANAGEMENT COMPANY                TROPPITO MILLER GRIFFIN LLC             TROUP COUNTY TAX COMMISIONER
7669 E. PINNACLE PEAK RD, SUITE 250     105 E 5TH ST STE 500                    100 RIDLEY AVE
SCOTTSDALE, AZ 85255                    KANSAS CITY, MO 64106                   LA GRANGE, GA 30240




TROUP                                   TROUTMAN SANDERS LLP                    TROY A GOVAN
ATTN: PROPERTY TAX DEPT.                ATTN: MICHAEL F. TOMLINSON, ESQ.        3707 WESTMORELAND DR
100 RIDLEY AVE                          301 S. COLLEGE STREET, SUITE 3400       MAYS LANDING, NJ 08330
LA GRANGE, GA 30240                     CHARLOTTE, NC 28202




TROY ABBOTT DBA T&A DELIVERIES          TROY BALL                               TROY BARLOUS
1649 PARADISES LN.                      10201 S. MAIN STREET                    10201 S. MAIN STREET
DAYTONA BEACH, FL 32119-1513            HOUSTON, TX 77025                       HOUSTON, TX 77025




TROY BURNETT                            TROY CHAMBER OF COMMERCE                TROY DAVIS
                                                                                10201 S. MAIN STREET
                                                                                HOUSTON, TX 77025




TROY EWING                              TROY GOODRICH                           TROY GOVAN
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025
TROY GUPTON            Case 18-12241-CSS    Doc 26
                                      TROY HIGGINS       Filed 10/05/18   PageTROY
                                                                               1617HILL
                                                                                     of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




TROY HURT                             TROY JAMES                              TROY KELLEY
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




TROY LEWIS                            TROY MCCAULEY                           TROY MINOR
10201 S. MAIN STREET                  10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                       HOUSTON, TX 77025




TROY NAGATA                           TROY NELSON                             TROY SATTERFIELD
16143 PRAIRIE CREEK LOOP SE           14619 EAST ROY ROGERS RD                10201 S. MAIN STREET
YELM, WA 98597                        SCOTTSDALE, AZ 85262                    HOUSTON, TX 77025




TROY SATTERFIELD                      TROY WILLIAMS                           TRPF MARLTON SQUARE LLC
10201 S. MAIN STREET                  10201 S. MAIN STREET                    PO BOX 419627
HOUSTON, TX 77025                     HOUSTON, TX 77025                       BOSTON, MA 02241-9627




TRPF MARLTON SQUARE PAD LLC           TRPF MARLTON SQUARE PAD LLC             TRT BEAVER CREEK LLC
C/O TH REAL ESTATE AMERICAS           P.O. BOX 419627                         1140 BEAVER CREEK COMMONS DRIVE
ATTN: TODD ROLLINS, SENIOR DIRECTOR   BOSTON, MA 02241-9627                   APEX, NC 27502
730 THIRD AVENUE
NEW YORK, NY 10017



TRT BEAVER CREEK LLC                  TRT BEAVER CREEK LLC                    TRT BEAVER CREEK LLC
C/O DIVIDEND CAPITAL DIVERSIFIED      C/O DIVIDEND CAPITAL DIVERSIFIED        C/O DIVIDEND CAPITAL DIVERSIFIED
PROPERTY FUND                         ATTN: ASSET MANAGEMENT                  ATTN: LEGAL COUNSEL
ATTN: ASSET MANAGEMENT                518 17TH STREET, 17TH FLOOR             518 17TH STREET, 17TH FLOOR
518 17TH STREET, 17TH FLOOR           DENVER, CO 80202                        DENVER, CO 80202
DENVER, CO 80202


TRT BEAVER CREEK LLC                  TRT BEAVER CREEK LLC                    TRT BEAVER CREEK LLC
C/O KEYPOINT PARTNERS                 P.O. BOX 809144                         TENANT ID:400201HO2331
ONE BURLINGTON WOODS DRIVE            CHICAGO, IL 60680-9144                  PO BOX 809144
BURLINGTON, MA 01803                                                          CHICAGO, IL 60680-9144




TRT BEAVER CREEK LLC                  TRT ORLEANS LLC                         TRT ORLEANS LLC
UNIQUE TENANT ID:400201HO2639         C/O KEYPOINT PARTNERS, LLC              PO BOX 809144
PO BOX 809144                         174 COLONY PLACE                        CHICAGO, IL 60680
CHICAGO, IL 60680-9144                ATTN: JOAN CUTRONA
                                      PLYMOUTH, MA 02360



TRT ORLEANS LLC                       TRT WAREHAM LLC                         TRT WAREHAM LLC
UNIQUE TENANT ID 401101HO3474         518 17TH ST, STE 1700                   C/O DIVIDEND CAPITAL DIVERSIFIED
PO BOX 809144                         DENVER, CO 80202                        ATTN: JAMES GESKEY
CHICAGO, IL 60680-9144                                                        518 17TH STREET, 13TH FLOOR
                                                                              DENVER, CO 80202
TRT WAREHAM LLC       Case     18-12241-CSS    Doc 26LLC Filed 10/05/18
                                         TRT WAREHAM                            PageTRT
                                                                                     1618  of 1739
                                                                                        WAREHAM LLC
C/O KEYPOINT PARTNERS, LLC                C/O KEYPOINT PARTNERS, LLC                 PO BOX 809144
174 COLONY PLACE                          ONE BURLINGTON WOODS DRIVE                 CHICAGO, IL 60680
PLYMOUTH, MA 02360                        BURLINGTON, MA 07803




TRT WAREHAM LLC                           TRUCKEE MEADOWS WATER AUTH                 TRUCKEE MEADOWS WATER AUTH
TENANT ID 401301HO2369                    1355 CAPITAL BLVD                          P.O. BOX 70002
PO BOX 809144                             RENO, NV 89502                             PRESCOTT, AZ 86304-7002
CHICAGO, IL 60680-9144




TRUDEANN MURRAY                           TRUDEY CRAWFORD                            TRUDI L PEPLAU
10201 S. MAIN STREET                      10201 S. MAIN STREET                       8127 CHESEBRO AVE
HOUSTON, TX 77025                         HOUSTON, TX 77025                          NORTHPORT, FL 34287




TRUDY SCHOENFELD                          TRUE NATURAL GAS                           TRUE NATURAL GAS
10201 S. MAIN STREET                      807 COLLINSWORTH RD                        SEDC
HOUSTON, TX 77025                         PALMETTO, GA 30268                         P.O. BOX 530812
                                                                                     ATLANTA, GA 30353-0812




TRUELL THOMAS                             TRUJILLO, HENRY                            TRUMAN PROPERTY GROUP, L.L.C.
1912 VILLAGE PARK DR                      6328 S KILDARE AVE.                        C/O NATIONAL SHOPPING PLAZAS, INC.
MISSOURI CITY, TX 77489                   CHICAGO, IL 60629-5028                     200 WEST MADISON STREET, SUITE 4200
                                                                                     CHICAGO, IL 60606-3465




TRUNG NGUYEN                              TRUSSVILLE GAS AND WATER                   TRUSSVILLE GAS AND WATER
10201 S. MAIN STREET                      127 MIAN ST                                P.O. BOX 836
HOUSTON, TX 77025                         TRUNSSVILLE, AL 35173                      TRUSSVILLE, AL 35173-0836




TRUSSVILLE UTILITIES                      TRUST A U/W C E REUNION                    TRUST A U/W C E RUNION
P.O. BOX 836                              C/O HIGHWAY 101 AT WILLOW CREEK LLC        C/O HIGHWAY 101 AT WILLOW CREEK LLC
TRUSSVILLE, AL 35173                      P.O. BOX 12158                             P.O. BOX 12158
                                          GREENVILLE, SC 29612                       GREENVILLE, SC 29612




TRUST ACCOUNT OF MILITZOK & LEVY P.A.     TRUSTWAVE HOLDINGS INC                     TRUSTWAVE HOLDINGS INC
3230 STIRLING ROAD, STE. 1                70 W MADISON ST STE 600                    75 REMITTANCE DR STE 6000
HOLLYWOOD, FL 33021                       CHICAGO, IL 60602                          CHICAGO, IL 60675-6000




TS LOG CABON-MACON, LLC                   TS LOG CABON-MACON, LLC                    TSA INC
1550 TIMOTHY ROAD, SUITE 203              TRINITY ACCOUNTING GROUP                   2050 WEST SAM HOU PARKWAY NORTH
ATHENS, GA 30606                          PO BOX 1983                                HOUSTON, TX 77043
                                          ATHENS, GA 30606




TSC SERVICES DBA FISH WINDOW CLEANING     TSCA 245 LIMITED PARTNERSHIP               TSCA 50 DEL LLC
403 MILLER RD SUITE F                     301 S SHERMAN STE 100                      C/O QUINE & ASSOC INC
GREENVILLE, SC 29607                      RICHARDSON, TX 75051                       PO BOX 833009
                                                                                     RICHARDSON, TX 75083
                       Case
TSCA-245 LIMITED PARTNERSHIP   18-12241-CSS    Doc
                                         TSCA-245     26 PARTNERSHIP
                                                  LIMITED Filed 10/05/18    PageTSCA-50
                                                                                 1619 of   1739
                                                                                        (DEL) LLC
C/O QUINE & ASSOCIATES                    C/O QUINE ASSOCIATES                   C/O QUINE & ASSOCIATES
301 SOUTH SHERMAN, SUITE 100              301 SOUTH SHERMAN, SUITE 100           301 S. SHERMAN STREET, SUITE 100
RICHARDSON, TX 75081                      RICHARDSON, TX 75081                   RICHARDSON, TX 75081




TSD INVESTMENTS II LLC                    TSD INVESTMENTS II LLC                 TSER - TRU SERVICES LLC
2730 E BROADWAY BLVD, #200                2730 E BROADWAY BLVD, 200              200 CUMMINGS CENTER STE 272D
TUCSON, AZ 85716                          TUCSON, AZ 85716                       BEVERLY, MA 01915




TSG REPORTING INC                         TSHWM VANG                             TSJB ENTERPRISES INC
747 THIRD AVE 10TH FLOOR                  10201 S. MAIN STREET                   DBA ALPHAGRAPHICS
NEW YORK, NY 10017                        HOUSTON, TX 77025                      3267 BEE CAVES RD STE 115
                                                                                 AUSTIN, TX 78746




TSM VENTURES, INC.                        TSM VENTURES, INC.                     TSP LP II LP
301 N. NEIL STREET, #400                  301 N. NEIL STREET, SUITE 400          PO BOX 844441
CHAMPAIGN, IL 61820                       CHAMPAIGN, IL 61820                    LOS ANGELES, CA 90084




TSP LP II, LP                             TSYS MERCHANT SOLUTIONS LLC            TT MT. AIRY LLC
C/O PROGRESSIVE PROPERTY                  1601 DODGE ST FL 23W                   C/O RAPPAPORT MANAGEMENT COMPANY
MANAGEMENT, LLC                           OMAHA, NE 68102-1637                   8405 GREENSBORO DR STE 830
4728 EAST BROADWAY BOULEVARD                                                     MCLEAN, VA 22102
ATTN: FRED J. HOWARD
TUCSON, AZ 85711


TT MT. AIRY LLC                           TTEMM INC DBA TWO MEN & A TRUCK        TTR SHIPPING COMPANY
C/O RAPPAPORT MANAGEMENT COMPANY          6072 L ST                              1000 CAMPUS DRIVE
8405 GREENSBORO DRIVE, 8TH FLOOR          OMAHA, NE 68117                        SUITE 300
MCLEAN, VA 22102                                                                 STOW, OH 44224




TUALATIN VALLEY WATER DISTRICT            TUAN NGO                               TUAN NGUYEN
P.O. BOX 8996                             10201 S. MAIN STREET                   10201 S. MAIN STREET
VANCOUVER, WA 98668-8996                  HOUSTON, TX 77025                      HOUSTON, TX 77025




TUBE ART DISPLAY INC                      TUBEART INC                            TUCKER CARRINGER
2323 W WASHINGTON AVE.                    2323 W WASHINGTON AVE                  10201 S. MAIN STREET
YAKIMA, WA 98903                          YAKIMA, WA 98903                       HOUSTON, TX 77025




TUCKER MERIDIAN, LLC                      TUCKER MERIDIAN, LLC                   TUCKER MERIDIAN, LLC
19241 BIRMINGHAM HIGHWAY                  ATTN: KYLE WOLTERS                     C/O BEN F KUSHNER
ATTN: CALVIN STEPHENSON                   19241 BIRMINGHAM HWY                   4310 LAVISTA RD
ALPHARETTA, GA 30004                      ALPHARETTA, GA 30004                   TUCKER, GA 30084




TUCKER MERIDIAN, LLC                      TUCKER NYC LLC                         TUCKER PARKERSON
C/O BEN F. KUSHNER CO.                    PO BOX 37089                           10201 S. MAIN STREET
19241 BIRMINGHAM HIGHWAY                  HOUSTON, TX 77237                      HOUSTON, TX 77025
ATTN: KYLE WOLTERS
ALPHARETTA, GA 30004
TUCKER SUTTON           Case 18-12241-CSS   Doc
                                       TUCKNER,    26 WEINSTOCK
                                                SIPSER, Filed 10/05/18
                                                                 & SIPSER, PageTUCSON
                                                                                1620 of 1739 POWER CO
                                                                                      ELECTRIC
10201 S. MAIN STREET                     LLP                                  88 E BROADWAY BLVD
HOUSTON, TX 77025                        120 BROADWAY 18TH FLOOR              MAIL STOP HQE910/A MELTON
                                         NEW YORK, NY 10271                   TUSCON, AZ 85701




TUCSON ELECTRIC POWER CO                 TUCSON RETAIL LLC                    TUFT & NEEDLE
P.O. BOX 80077                           PO BOX 1837                          C/O JACKSON WALKER L.L.P.
PRESCOTT, AZ 86304-8077                  BOISE, ID 83701-1837                 ATTN: CHARLES BABCOCK
                                                                              1401 MCKINNEY STREET, SUITE 1900
                                                                              HOUSTON, TX 77010



TUGGLE DUGGINS, P.A.                     TUKWILA FIRE DEPARTMENT              TULARE COUNTY COLLECTOR
100 N GREENE ST., 600                    444 ANDOVER PARK EAST                ATTN: PROPERTY TAX DEPT.
P.O. BOX 2888                            TUKWILA, WA 98188                    PO BOX 30329
ATTN: JEFF DUNHAM                                                             LOS ANGELES, CA 90030-0329
GREENSBORO, NC 27402



TULARE COUNTY                            TULL PERRY                           TULLAHOMA UTILITIES AUTHORITY
TAX COLLECTOR                            10201 S. MAIN STREET                 901 S JACKSON ST
PO BOX 30329                             HOUSTON, TX 77025                    TULLAHOMA, TN 37388
LOS ANGELES, CA 90030-0329




TULLAHOMA UTILITIES AUTHORITY            TULLAHOMA UTILITIES BOARD            TULLAHOMA WARREN LLC
P.O. BOX 788                             P.O. BOX 788                         5217 MARYLAND WAY STE 300
TULLAHOMA, TN 78888                      TULLAHOMA, TN 37388                  BRENTWOOD, TN 37027




TULLATT PARTNERSHIP                      TULLATT PARTNERSHIP                  TUNE, ENTREKIN & WHITE, P.C.
3100 WEST END AVENUE, SUITE 1070         ROBBINS PROP I LLC MANAGING AGENT    UBS TOWER, SUITE 1700
NASHVILLE, TN 37203                      3100 WEST END AVE STE 1070           315 DEADERICK STREET
                                         NASHVILLE, TN 37203                  ATTN: JOSEPH P. RUSNAK, ESQ.
                                                                              NASHVILLE, TN 37238



TUPCO INC                                TUPCO INC                            TUPELO KING CROSSING LP
1406 CENTRAL AVE                         PO BOX 1168                          C/O UCR ASSET SERVICES
SUMMERVILLE, SC 29483                    SUMMERVILLE, SC 29484-1168           8080 PARK LN STE 800
                                                                              DALLAS, TX 75231




TURK INVESTMENTS LTD                     TURKAY SONMEZ                        TURLOCK IRRIGATION DISTRICT
3001 FONDREN STE A                       10201 S. MAIN STREET                 333 E CANAL DRIVE
HOUSTON, TX 77063                        HOUSTON, TX 77025                    TURLOCK, CA 95380




TURLOCK IRRIGATION DISTRICT              TURLOCK IRRIGATION DISTRICT          TURNDA INTL INC
P.O. BOX 819007                          P.O. BOX 819007                      1102 JOHN REED CT
TURLOCK, CA 95381                        TURLOCK, CA 95381-9007               CITY OF INDUSTRY, CA 91745




TURNER BICKELL                           TURNER BUSINESS SERVICES LLC         TURNER EXPOSITIONS
10201 S. MAIN STREET                     17 COLT RD                           PO BOX 1674
HOUSTON, TX 77025                        FRANKLIN, MA 02038                   RIVERVIEW, FL 33568
TURNER FISHPAW          Case 18-12241-CSS
                                       TURNERDoc 26INCFiled 10/05/18
                                              GROUP                        PageTURNER
                                                                                1621 of 1739& CONSTRUCTION INC
                                                                                      PAVING
722 WALNUT ST APT 411                   17 COLT RD                              10610 TOWER OAKS BLVD
KANSAS CITY, MO 64106                   FRANKLIN, MA 02038                      HOUSTON, TX 77070




TURNER WESTOVER VILLAGE, LLC            TURNER WESTOVER VILLAGE, LLC            TURNER, JOSEPH
C/O LUCRA REAL ESTATE                   C/O LUCRA REAL ESTATE                   5004 HONEYGO CTR DR 102
316 KELLY DR., #5709                    316 KELLY DR., 5709                     PERRY HALL, MD 21128-8964
WACO, TX 76710                          WACO, TX 76710




TURNER, TONETTE                         TURNKEY CREATIVE, LLC.                  TUSCALOOSA COUNTY SPECIAL TAX BOARD
247 NANCY DRIVE                         3547 MEEKS FARM RD STE D1               P.O. BOX 20738
KOKOMO, IN 46901-5908                   JOHNS ISLAND, SC 29455                  TUSCALOOSA, AL 35402-0738




TUSCALOOSA COUNTY                       TUSCALOOSA COUTNY TAX COLLECTOR         TUYEN D. LECONG
ATTN: SALES & USE TAX DEPT.             714 GREENSBORO AVE, ROOM 124            11823 QUARTZ CIRCLE
714 GREENSBORO AVE ROOM 124             TUSCALOOSA, AL 35401-1891               FOUNTAIN VALLEY, CA 92708
TUSCALOOSA, AL 35401-1891




TUYEN D. LECONG                         TV GRANT PAD, LLC                       TV GRANT PAD, LLC
11823 QUARTZ CIRCLE                     1815 W 1ST AVE STE 122                  ATTN: JON JUMP
FOUNTAIN VALLEY, CA 92708-2601          MESA, AZ 85202                          5909 EAST PIMA STREET
                                                                                TUCSON, AZ 85712




TVS & ASSOCIATES INC                    TVWD CWS                                TVWD CWS
2700 PROMENADE TWO                      1850 SW 170TH ST AVE                    P.O. BOX 8996
1230 PEACHTREE ST NE                    BEAVERTON, OR 97003                     VANCOUVER, WA 98668-8996
ATLANTA, GA 30309




TW COMMERCIAL HOLDINGS LLC              TW COMMERCIAL HOLDINGS LLC              TW LRW HOLDINGS LLC
C/O GRENADIER REALTY CORP               C/O GRENADIER REALTY CORP               1900 AVENUE OF THE STARS
1230 PENNSYLVANIA AVE                   1230 PENNSYLVANIA AVENUE                FLOOR 16
BROOKLYN, NY 11239                      BROOKLYN, NY 11239                      LOS ANGELES, CA 90067




TW TELECOM                              TWENTY THREE RP ASSOCIATES              TWENTY THREE RP ASSOCIATES
P.O. BOX 172567                         C/O ADAMS & COMPANY RE LLC              PO BOX 95000-5385
DENVER, CO 80217-2567                   PHILADELPHIA, PA 19195-5385             PHILADELPHIA, PA 19195




TWICHELL PROPERTIES LLC                 TWICHELL PROPERTIES LLC                 TWILA DOWNING
17209 ROCKY RIDGE RD                    CARL SCOTT TWICHELL III                 10201 S. MAIN STREET
AUSTIN, TX 78734                        17209 ROCKY RIDGE ROAD                  HOUSTON, TX 77025
                                        AUSTIN, TX 78734




TWIN ARTS DANCE STUDIO                  TWIN CITY PLAZA LLC                     TWIN CITY PLAZA LLC
3924 COUNTRY RD                         C/O REGENCY CENTERS CORPORATION         C/O REGENCY CENTERS CORPORATION
PASADENA, TX 77505                      ONE INDEPENDENT DRIVE, SUITE 114        ONE INDEPENDENT DRIVE, SUITE 114
                                        ATTN: LEASE ADMINISTRATION              ATTN: LEGAL DEPARTMENT
                                        JACKSONVILLE, FL 32202                  JACKSONVILLE, FL 32202
TWIN CITY PLAZA LLC    Case   18-12241-CSS     Doc
                                        TWIN CITY   26 LLCFiled 10/05/18
                                                  PLAZA                         PageTWINKLE
                                                                                     1622 ofMITRA
                                                                                              1739
C/O REGENCY CENTERS LP                    PO BOX 644031                             10201 S. MAIN STREET
PO BOX 644031                             PITTSBURGH, PA 15264                      HOUSTON, TX 77025
PITTSBURGH, PA 15264-4031




TWIN-STAR INTERNATIONAL                   TWITTER INC                               TWITTER INC
1690 S CONGRESS AVE STE 210               1355 MARKET ST STE 900                    PO BOX 7427-6043
DELRAY BEACH, FL 33445                    SAN FRANCISCO, CA 94103                   PHILADELPHIA, PA 19170-6043




TWO FOUR EXTERIORS LLC                    TWO MEN & A TRUCK INTERNATIONAL INC       TWO MEN AND A TRUCK - CHARLOTTE
94030 GILLETTE ST                         3400 BELLE CHASE WAY                      ROEDER & MOORE LLC
LENEXA, KS 66215                          LANSING, MI 48911                         3653 TRAILER DR
                                                                                    CHARLOTTE, NC 28269




TWO MEN AND A TRUCK - COLUMBIA            TWO MEN AND A TRUCK - GREENVILLE          TWO MEN AND A TRUCK ILLCC173270MC
KB ENTERPRISES INC                        UPWARD ENDEAVORS LLC                      10966 GRAVOIS INDUSTRIAL CT
2006 ROCKLAND ROAD                        208 TRANSIT DRIVE                         SAINT LOUIS, MO 63128
COLUMBIA, SC 29210                        GREENVILLE, SC 29607




TWO MEN AND A TRUCK                       TWO MEN AND A TRUCK                       TWO MEN AND A TRUCK
105 GARFIELD AVE                          1600 W BEN WHITE BLVD                     1916 S GILBERT RD
BAY CITY, MI 48708                        AUSTIN, TX 78704                          MESA, AZ 85204




TWO MEN AND A TRUCK                       TWO MEN AND A TRUCK                       TWO MEN AND A TRUCK
2905 W INDIAN SCHOOL RD                   310 ANCHOR RD                             3520 OKEMOS RD STE 6
PHOENIX, AZ 85017                         CASSELBERRY, FL 32707                     OKEMOS, MI 48864




TWO MEN AND A TRUCK                       TWO MEN AND A TRUCK                       TWO MEN AND A TRUCK
3555 VALLEY DR                            3851 MORROW LN STE 9                      7935 B WRIGHT RD
PITTSBURGH, PA 15234                      CHICO, CA 95928                           HOUSTON, TX 77041




TWO MEN AND A TRUCK                       TWO MEN AND A TRUCK                       TWO MEN AND A TRUCK
9162 W CACTUS RD STE D                    ATTN: ACCOUNTS RECEIVABLE                 C/O TMAAT DENVER METRO LLC
PEORIA, AZ 85381                          520 VIOLET ST                             10288 W CHATFIELD AVE 300
                                          GOLDEN, CO 80401                          LITTLETON, CO 80127




TWO MEN AND A TRUCK-OKLAHOMA CITY         TWO RIVERS WATER RECLAMATION              TWO RIVERS WTR RECLAMATIN AUTH
216 N COOLEY DR                           AUTHORITY                                 14 GULL POINT ROAD
OKLAHOMA CITY, OK 73127                   TRWRA                                     MONMOUTH BEACH, NJ 07750
                                          ONE HIGHLAND AVE
                                          MONMOUTH BEACH, NJ 07750



TWP OF HAMILTON BUREAU OF FIRE            TWP OF WALL UTLITY                        TWYLA ROPER
PREVENTION                                2700 ALLAIRE RD.                          10201 S. MAIN STREET
6101 THIRTEENTH ST                        WALL, NJ 07719                            HOUSTON, TX 77025
MAYS LANDING, NJ 08330
TWYMAN COLEY            Case 18-12241-CSS    Doc 26
                                       TX BAYBROOK     Filed
                                                   SQUARE    10/05/18
                                                          CNTR LP       PageTX
                                                                             1623   of HOUSTON
                                                                               CITY OF 1739
10201 S. MAIN STREET                    PRTY 251610                          ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                       PO BOX 310349                        P.O. BOX 1560
                                        DES MOINES, IA 50331                 HOUSTON, TX 77251




TX COMPTROLLER OF PUBLIC ACCOUNTS       TXDMV                                TXU ENERGY
UNCLAIMED PROPERTY DIVISION             1601-A SOUTHWEST PKWY                6555 SIERRA DR
LYNDON B JOHNSON STATE OFFICE BLDG      WICHITA FALLS, TX 76302              IRVING, TX 75039
111 E 17TH ST
AUSTIN, TX 78774



TXU ENERGY                              TXU ENERGY                           TY ANDERSON
P.O. BOX 650638                         PO BOX 650638                        10201 S. MAIN STREET
DALLAS, TX 75265-0638                   DALLAS, TX 75265-0638                HOUSTON, TX 77025




TY CONERLY                              TY G SWAIN GROWTH DYNAMICS           TY G SWAIN
10201 S. MAIN STREET                    137 N MAIN ST STE 310                DBA GROWTH DYNAMICS
HOUSTON, TX 77025                       DAYTON, OH 45402                     137 N MAIN ST STE 310
                                                                             DAYTON, OH 45402




TY GUTIERREZ                            TY HOPKINS                           TY MAY
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TY MCNEILL                              TY PATTON                            TY RORRER
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TY WATSON                               TY WATSON                            TYASIA MATHIS
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TYCO INC                                TYCO INTEGRATED SECURITY LLC         TYE HOWARD
DBA FISH WINDOW CLEANING                PO BOX 371967                        10201 S. MAIN STREET
1755 PRIOR AVE N STE 1                  PITTSBURGH, PA 15250-7967            HOUSTON, TX 77025
FALCON HEIGHTS, MN 55113




TYESHA FLOYD                            TYJUAN KEITH                         TYLAR E GUMM
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




TYLER ANDERSON                          TYLER BARNETT                        TYLER BEASON
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025
TYLER BERGER           Case 18-12241-CSS    Doc 26
                                      TYLER BOWERS      Filed 10/05/18   PageTYLER
                                                                              1624BOWMAN
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER BRIDGES                         TYLER BROADCASTING CORP OKC            TYLER BROWN
10201 S. MAIN STREET                  5105 S SHIELDS BLVD                    10201 S. MAIN STREET
HOUSTON, TX 77025                     OKLAHOMA CITY, OK 73129                HOUSTON, TX 77025




TYLER CHAPMAN                         TYLER CHASE PURNELL                    TYLER CHRIST
10201 S. MAIN STREET                  540 HIETTS LANE 5                      10201 S. MAIN STREET
HOUSTON, TX 77025                     CLARKSVILLE, TN 37043                  HOUSTON, TX 77025




TYLER CHURCH                          TYLER CHURCH                           TYLER CONE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   136 WEST 4TH ST APT 5E
HOUSTON, TX 77025                     HOUSTON, TX 77025                      NEW YORK, NY 10012




TYLER CROUCH                          TYLER DAUGHRITY                        TYLER DAVILA
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER DUAL                            TYLER DUGAN                            TYLER EDDLEMON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER EDWARDS                         TYLER FETT                             TYLER FLESHREN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER GORSEGNER                       TYLER GUILBEAU                         TYLER HANSON
10201 S. MAIN STREET                  1953 W LAMAR ST                        10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77019                      HOUSTON, TX 77025




TYLER HENDERSON                       TYLER HILL                             TYLER HURD
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER JAMES HANSIS                    TYLER JOHNSON                          TYLER JORDAN
13409 CHRISFIELD LN                   10201 S. MAIN STREET                   10201 S. MAIN STREET
MC CORDSVILLE, IN 46055               HOUSTON, TX 77025                      HOUSTON, TX 77025
TYLER KENNY            Case 18-12241-CSS    Doc 26
                                      TYLER KING        Filed 10/05/18   PageTYLER
                                                                              1625LAVOIE
                                                                                   of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER LONG                            TYLER LOVELESS                         TYLER LU
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER MAIR                            TYLER MARTIN                           TYLER MAY
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER MCKENNA                         TYLER MILES                            TYLER MURRAY
10201 S. MAIN STREET                  4325 S HAWKEYE DR                      10201 S. MAIN STREET
HOUSTON, TX 77025                     SALT LAKE CITY, UT 84120               HOUSTON, TX 77025




TYLER NUNNERY                         TYLER PYLES                            TYLER RISNER
3119 TEWKSBURY WAY                    10201 S. MAIN STREET                   10201 S. MAIN STREET
SAN RAMON, CA 94582                   HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER ROBERTS                         TYLER ROENFELDT                        TYLER RUSSELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER SANDERSON                       TYLER SCHROEDER                        TYLER SCHROEDER
1101 LAUREL ST 415                    10201 S. MAIN STREET                   10201 S. MAIN STREET
NASHVILLE, TN 37203                   HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER SEARCY                          TYLER SHAW                             TYLER SLIPPY
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER SMITH                           TYLER STEWART                          TYLER SULLIVAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER SWORD                           TYLER TALAVERA                         TYLER TEAGUE
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
TYLER TERVO              Case 18-12241-CSS    Doc 26
                                        TYLER TOBLER      Filed 10/05/18   PageTYLER
                                                                                1626VAN
                                                                                     of SANT
                                                                                        1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER WATSON                            TYLER WEAVER                           TYLER WILKINS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER WINTER                            TYLER WOROSHER                         TYLER WRIGHT
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TYLER WRIGHT                            TYLER YOUNG                            TYLERS SANITATION INC.
10201 S. MAIN STREET                    5036 HILLTOP RD., APT H                132 HEDGE RD
HOUSTON, TX 77025                       GREENSBORO, NC 27407                   AIKEN, SC 29801




TYLERS SANITATION INC.                  TYNISHA L BARNETT                      TYRA TAYLOR
P.O. BOX 675                            1805 ROSWELL RD APT 21 O               10201 S. MAIN STREET
AIKEN, SC 29802                         MARIETTA, GA 30062                     HOUSTON, TX 77025




TYREENA WALKER                          TYRELL BARKER                          TYRELL KOVACH
GREENER PASTURES SERVICES               10201 S. MAIN STREET                   10201 S. MAIN STREET
804 HAYNES DR                           HOUSTON, TX 77025                      HOUSTON, TX 77025
KILLEEN, TX 76543




TYRELLE FOSTER                          TYRIESE DOMINIQUE                      TYRIN COOKE
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TYRIQUE CUPITT                          TYRON TYLER                            TYRONE 22 LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                   ATTN: ASHLEY MULLER
HOUSTON, TX 77025                       HOUSTON, TX 77025                      222 W COLEMAN BLVD
                                                                               MOUNT PLEASANT, SC 29464




TYRONE ARNOLD                           TYRONE COOPER                          TYRONE DANGERFIELD
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




TYRONE DANGERFIELD                      TYRONE GOLDSTON                        TYRONE GRAVES
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025
TYRONE JACKSON         Case 18-12241-CSS
                                      TYRONEDoc 26 Filed 10/05/18
                                             MARSHALL                          PageTYRONE
                                                                                    1627 of 1739
                                                                                          POTTS JR
10201 S. MAIN STREET                     10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                          HOUSTON, TX 77025




TYRONE PRICE                             TYRONE REDWOOD                             TYRONE SQUARE
10201 S. MAIN STREET                     1344 MEADOWLANE DR                         6901 22ND AVENUE NORTH
HOUSTON, TX 77025                        NEENAH, WI 54956                           SAINT PETERSBURG, FL 33710




TYRONE VINES                             TYSHAWN THOMAS                             TYSON COUCH
10201 S. MAIN STREET                     10201 S. MAIN STREET                       11411 RESEARCH BLVD
HOUSTON, TX 77025                        HOUSTON, TX 77025                          AUSTIN, TX 78759




TYSON HILL                               TYWON KNIGT                                TYWRON BEARD
10201 S. MAIN STREET                     8207 15TH PL                               10201 S. MAIN STREET
HOUSTON, TX 77025                        HYATTSVILLE, MD 20783                      HOUSTON, TX 77025




U OF A                                   U STREET PARKING INC                       U.G. BIDDEFORD ME LLC
OFFICE OF STUDENT MEDIA                  50 RHODE ISLAND AVE NE STE 1               LEASE ADMIN
BOX 870170                               WASHINGTON, DC 20002                       1000 FOURTH ST STE 290
TUSCALOOSA, AL 35487                                                                SAN RAFAEL, CA 94901




U.S. BUILDERS L.P.                       U.S. BUILDERS, L.P.                        U.S. DEPARTMENT OF JUSTICE
8811 GAYLORD                             8811 GAYLORD                               950 PENNSYLVANIA AVENUE, NW
HOUSTON, TX 77024                        HOUSTON, TX 77024                          WASHINGTON, DC 20530-0001




U.S. DEPARTMENT OF JUSTICE               UA CONNECTED FITNESS INC                   UA CONNECTED FITNESS INC
ATTN: ELLEN W. SLIGHTS, ESQ. ASSISTANT   1020 HULL ST                               211 WALTER SEAHOLM DR STE 200
US ATTY                                  BALTIMORE, MD 21230                        AUSTIN, TX 78701
1007 ORANGE STREET, SUITE 700
P.O. BOX 2046
WILMINGTON, DE 19899


UB DANBURY INC.                          UB NM FAIRFIELD PLAZA LLC                  UB SOMERS, INC.
321 RAILROAD AVE                         P.O. BOX 371328                            C/O KROLL MCNAMARA EVANS &
GREENWICH, CT 06830                      PITTSBURGH, PA 15250-7328                  DELANHANTY LLP
                                                                                    65 MEMORIAL RD, STE 300
                                                                                    WEST HARTFORD, CT 06107



UB SOMERS, INC.                          UB SOMERS, INC.                            UB STAMFORD L.P.
C/O URSTADT BIDDLE PROPERTIES, INC.      C/O URSTADT BIDDLE PROPERTIES, INC.        C/O URSTADT BIDDLE PROPERTIES, INC.
321 RAILROAD AVENUE                      P.O. BOX 371328                            321 RAILROAD AVE
GREENWICH, CT 06830                      PITTSBURGH, PA 15250-7328                  GREENWICH, CT 06830




UB STAMFORD L.P.                         UB STAMFORD LP                             UBS AG, STAMFORD BRANCH, AS
C/O URSTADT BIDDLE PROPERTIES, INC.      C/O URSTADT BIDDLE PROPERTIES, INC.        COLLATERAL AGENT
P.O. BOX 371328                          321 RAILROAD AVE                           677 WASHINGTON BOULEVARD
PITTSBURGH, PA 15250-7328                GREENWICH, CT 06830                        STAMFORD, CT 06901
                      Case
UBS EQUITY PLAN ADVISORY    18-12241-CSS
                         SERVICES            Doc 26SERVICES
                                      UBS FINANCIAL    FiledINC
                                                             10/05/18      PageUCP
                                                                                1628  of 1739OF CENTRAL TEXAS PLLC
                                                                                   PHYSICIANS
ATTN: TONYA JACKSON                   1000 HARBOR BLVD                          NEXTCARE URGENT CARE
315 DEADERICK ST                      WEEHAWKEN, NJ 07086                       2550 N THUNDERBIRD CIR STE 123
NASHVILLE, TN 37238                                                             MESA, AZ 85215-1217




UDS ONE LLC                           UDS ONE LLC                               UE 7000 HADLEY ROAD LLC
C/O REATA PROPERTY MGMT               C/O REATA                                 210 ROUTE 4 EAST
1100 N E LOOP 410 STE 400             7330 SAN PEDRO STE 710                    PARAMUS, NJ 07652
SAN ANTONIO, TX 78209                 SAN ANTONIO, TX 78216




UE BRUCKNER PLAZA LLC                 UE BRUCKNER PLAZA LLC                     UE PATERSON PLANK ROAD LLC
C/O URBAN EDGE PROPERTIES             PO BOX 645308                             C/O HACKENSACK UE LLC
PO BOX 645308                         PITTSBURGH, PA 15264                      PO BOX 645700
PITTSBURGH, PA 15264-5308                                                       PITTSBURGH, PA 15264-5255




UE PATERSON PLANK ROAD LLC            UE PATERSON PLANK ROAD LLC                UE TONELLE COMMONS LLC
C/O URBAN EDGE PROPERTIES             C/O URBAN EDGE PROPERTIES                 C/O URBAN EDGE PROPERTIES
210 ROUTE 4 EAST                      210 ROUTE 4 EAST                          210 ROUTE 4 EAST
ATTN: CHIEF OPERATING OFFICER         ATTN: LEGAL DEPARTMENT                    PARAMUS, NJ 07652
PARAMUS, NJ 07652                     PARAMUS, NJ 07652



UE TRU SAM RITTENBURG BLVD LLC        UE TRU SAM RITTENBURG BOULEVARD LLC       UFS CINCINNATI
C/O URBAN EDGE PROPERTIES LP          URBAN EDGE PROPERTIES                     BERT HARBIN
PO BOX 645308                         210 ROUTE 4 EAST                          640 DEVANSHAE CT
PITTSBURGH, PA 15264-5308             PARAMUS, NJ 07652                         HAMILTON, OH 45013




UG BETHEL PARK PA LLC                 UG BRADLEY IL LLC                         UG BUTLER PA LLC
LEASE ADMIN                           C/O UNITED GROWTH CAPITAL MGMT LLC        ATTN: LEASE ADMIN
1000 FOURTH ST STE 290                1000 FOURTH ST STE 290                    1000 FOURTH ST STE 290
SAN RAFAEL, CA 94901                  SAN RAFAEL, CA 94901                      SAN RAFAEL, CA 94901




UG CRESTWOOD IL LLC                   UG FORT WALTON LLC                        UG FORT WALTON LLC
LEASE ADMIN                           999 5TH AVE STE 390                       ATTN: BAY COMMERCIAL BANK
1000 FOURTH ST STE 290                SAN RAFAEL, CA 94901                      1280 CIVIC DR STE 100
SAN RAFAEL, CA 94901                                                            WALNUT CREEK, CA 94596




UG GRAND JUNCTION CO LLC              UG MERIDIAN S PORTLAND LLC                UG MONTROSE CO LLC
ATTN: LEASE ADMIN                     999 FIFTH AVE STE 390                     ATTN: LEASE ADMIN
1000 4TH ST STE 290                   SAN RAFAEL, CA 94901                      1000 FOURTH ST STE 290
SAN RAFAEL, CA 94901                                                            SAN RAFAEL, CA 94901




UG NAPERVILLE IL LLC                  UG PALATINE IL LLC                        UG PANAMA CITY FL LLC
LEASE ADMINISTRATION                  C/O UNITED GROWTH CAPITAL MGMT LLC        999 5TH AVE STE 390
1000 FOURTH ST STE 290                ATTN: ACCOUNTING DEPT                     SAN RAFAEL, CA 94901
SAN RAFAEL, CA 94901                  1000 4TH ST STE 290
                                      SAN RAFAEL, CA 94901



UG TITUSVILLE FL LLC                  UG WHEELING WV 7B LLC                     UGA FOUNDATION CAREER FAIR FUND
1000 FOURTH ST STE 290                UNITED GROWTH CAPITAL MGMT LLC            ATTN: LEANN GOLOB C/O SPRING CAREER
SAN RAFAEL, CA 94901                  1000 FOURTH ST STE 290                    FAIR
                                      SAN RAFAEL, CA 94901                      UGA CAREER CENTER825 S LUMPKIN
                                                                                ATHENS, GA 30602
UGI CENTRAL PENN GAS INCCase   18-12241-CSS    Doc 26
                                         UGI CENTRAL      Filed
                                                     PENN GAS INC10/05/18       PageUGI
                                                                                     1629  of 1739
                                                                                        CENTRAL PENN GAS INC
ATTN DONALD BROWN                          P.O. BOX 15426                            P.O. BOX 15503
2525 N 12TH ST, STE 360                    WILMINGTON, DE 19886-5426                 WILMINGTON, DE 19886-5503
READING, PA 19605




UGI PENN NATURAL GAS INC                   UGI PENN NATURAL GAS INC                  UGI PENN NATURAL GAS INC
ATTN DONALD BROWN                          P.O. BOX 15503                            P.O. BOX 15533
2525 N 12TH ST, STE 360                    WILMINGTON, DE 19886-5503                 WILMINGTON, DE 19886-5533
READING, PA 19605




UGI UTILITIES INC                          UGI UTILITIES INC                         UHA CORPORATION, LLC
ATTN DONALD BROWN                          P.O. BOX 15503                            ATTN: UZIEL HAIMOFF
2525 N 12TH ST, STE 360                    WILMINGTON, DE 19886-5503                 1943 MALVERN RD
READING, PA 19605                                                                    COLUMBUS, OH 43221




UHA CORPORATION, LLC                       UHA CORPORATION, LLC                      U-HAUL
PO BOX 21365                               PO BOX 21365                              2727 N CENTRAL AVE
COLUMBUS, OH 43220                         COLUMBUS, OH 43221                        PHOENIX, AZ 85004




U-HAUL                                     UHLMANN, SARAH                            UHY ADVISORS TX INC
PO BOX 52128                               3165 FAIRBURY LN                          2929 ALLEN PARKWAY
PHOENIX, AZ 85072                          FAIRFAX, VA 22031-1912                    20TH FLOOR
                                                                                     HOUSTON, TX 77019-7100




UHY ADVISORS TX INC                        ULDIS BREIBART                            ULINE
PO BOX 654001                              10201 S. MAIN STREET                      12575 ULINE DR
DALLAS, TX 75265-4001                      HOUSTON, TX 77025                         PLEASANT PRAIRIE, WI 53158




ULINE                                      ULTIMATE FUNDRAISING SOLUTIONS INC        ULTIMATE LAWN PROS LLC DBA ULTIMATE
PO BOX 88741                               640 DEVANSHAE CT                          LANDSCAPING
CHICAGO, IL 60680-1741                     HAMILTON, OH 45013                        4283 N AUTUMN RIDGE DR
                                                                                     SAGINAW, MI 48603




ULTIMATE SPECIALTIES LL                    ULTRA CHEMICALS INC                       ULTRA EXPRESS LLC.
PO BOX 740637                              10501 CORPORATE DR                        2511 BUCKINGHAM DR.
ARVADA, CO 80006                           STAFFORD, TX 77477                        HEATH, TX 75032




ULYSSES DICKERSON                          UMAIR ASLAM                               UMC
10201 S. MAIN STREET                       10201 S. MAIN STREET                      PMB 500
HOUSTON, TX 77025                          HOUSTON, TX 77025                         605 W HUNTINGTON DR
                                                                                     MONROVIA, CA 91016-3205




UMHJSA                                     UNBOUNCE MARKETING SOLUTIONS INC          UNBOUND COMMERCE
PO BOX 535                                 104-375 WATER ST                          20 SPEEN ST STE 201
WILLOW GROVE, PA 19090-0535                VANCOUVER, BC V6B 5C6                     FRAMINGHAM, MA 01701
                                           CANADA
UNDER THE RAINBOW       Case 18-12241-CSS
                                       UNDER Doc  26 Filed 10/05/18
                                             THE RAINBOW                     PageUNICORP
                                                                                  1630 ofNATIONAL
                                                                                          1739 DEVELOPMENTS, INC.
908 WAYLAND ST.                         P.O. BOX 306                              7940 VIA DELLAGIO WAY, SUITE 200
WINDSOR, NC 27983                       WINDSOR, NC 27983                         ORLANDO, FL 32819




UNIFIED GOVERNMENT OF WYANDOTTE CO      UNIFIRST CORPORATION                      UNIFIRST CORPORATION
LICENSE DIVISION                        4630 BELOIT DR STE 40                     940 RIVER RD
4953 STATE AVE                          SACRAMENTO, CA 95838                      CROYDON, PA 19021
KANSAS CITY, KS 66102




UNIFOUR FIRE & SAFETY                   UNILEV MANAGEMENT CORPORATION             UNION BANK & TRUST
PO BOX 9489                             DAR MARINERS LTD                          1051 EAST CARY ST STE 1200
HICKORY, NC 28603                       PO BOX 205410                             RICHMOND, VA 23219
                                        DALLAS, TX 75320-5410




UNION BANK & TRUST                      UNION BANK AND TRUST                      UNION BROADCASTING INC
ATTN: VENDOR MANAGEMENT                 111 FRANKLIN ROAD, SUITE 110              6721 W 121ST ST
111 FRANKLIN RD STE 110                 ROANOKE, VA 24011                         OVERLAND PARK, KS 66209
ROANOKE, VA 24011




UNION BROADCASTING INC                  UNION BROADCASTING KANSAS CITY            UNION CITY BERGENLINE LLC
WHB-AM                                  6721 W 121ST ST                           1401 BRD ST
6721 W 121ST ST                         OVERLAND PARK, KS 66209                   CLIFTON, NJ 07013
OVERLAND PARK, KS 66209




UNION CITY BERGENLINE LLC               UNION COUNTY                              UNION COUNTY
1401 BRD ST.                            500 N MAIN ST                             PO BOX 580365
CLIFTON, NJ 07013                       MONROE, NC 28258-0365                     CHARLOTTE, NC 28258-0365




UNION FIRE DISTRICT OF SOUTH            UNION LEADER CORP                         UNION POWER COOPERATIVE
KINGSTOWN                               PO BOX 9513                               1525 N ROCKY RIVER RD
TAX COLLECTORS OFFICE                   MANCHESTER, NH 03108-9513                 MONROE, NC 28110
PO BOX 335
PEACE DALE, RI 02883



UNION POWER COOPERATIVE                 UNION REAL ESTATE CO                      UNION SECURITY INSURANCE CO
P.O. BOX 63047                          1500 ALLEGHENY BLDG 429 FORBES AVE        2323 GRAND BLVD
CHARLOTTE, NC 28263-3047                PITTSBURGH, PA 15219                      KANSAS CITY, MO 64108




UNION UE LLC                            UNION UE LLC                              UNION UE LLC
C/O HACKENSACK UE LLC                   C/O URBAN EDGE PROPERTIES                 C/O URBAN EDGE PROPERTIES
PO BOX 645308                           210 ROUTE 4 EAST                          210 ROUTE 4 EAST
PITTSBURGH, PA 15264-5308               ATTN: CHIEF OPERATING OFFICER             ATTN: LEGAL DEPARTMENT
                                        PARAMUS, NJ 07652                         PARAMUS, NJ 07652



UNION                                   UNIONTOWN HERALD STANDARD                 UNIONTOWN MALL REALTY, LLC
ATTN: PROPERTY TAX DEPT.                PO BOX 7009                               C/O NAMDAR REALTY GROUP LLC
PO BOX 580365                           WHEELING, WV 26003                        150 GREAT NECK RD STE 304
CHARLOTTE, NC 28258-0365                                                          GREAT NECK, NY 11021
UNIONTOWN MALL REALTY,Case
                        LLC 18-12241-CSS     Doc NEWSPAPERS
                                      UNIONTOWN   26 Filed 10/05/18
                                                            INC           PageUNIQUE
                                                                               1631 BIOMEDICAL
                                                                                     of 1739 SERVICES
C/O NAMDAR REALTY GROUP LLC           DBA HERALD STANDARD                     11200 BROADWAY ST STE 2743
150 GREAT NECK ROAD, SUITE 304        8 E CHURCH STREET                       PEARLAND, TX 77584
GREAT NECK, NY 11021                  UNIONTOWN, PA 15401




UNIQUE YOUNG                          UNISHIPPERS                             UNISON REALTY PARTNERS
10201 S. MAIN STREET                  901 SUNRISE AVE STE B1                  177 HUNTINGTON AVENUE, SUITE 1901
HOUSTON, TX 77025                     ROSEVILLE, CA 95661                     BOSTON, MA 02115




UNISON-ALTO HOOPER, LLC               UNISON-ALTO HOOPER, LLC                 UNISOURCE ENERGY SERVICES
ATTN: WENDY CRONIN                    C/O LEVIN MANAGEMENT CORP               P.O. BOX 80079
177 HUNTINGTON AVE STE 1901           PO BOX 326                              PRESCOTT, AZ 86304-8079
BOSTON, MA 02115                      PLAINFIELD, NJ 07061




UNISTAFF TEMPS LLC                    UNISTAFF                                UNITED AMERICAN LAND LLC
5845 SUNNYSIDE RD                     301 E NORTH AVE                         MIRIAM
INDIANAPOLIS, IN 46235                NORTHLAKE, IL 60164-2628                73 SPRING STREET, 6TH FLOOR
                                                                              NEW YORK, NY 10012




UNITED CAREER FAIRS, INC              UNITED COMMUNICATIONS CORPORATION       UNITED COOPERATIVE SERVICES
20 S. GROVE STREET SUITE 203          THE SUN CHRONICLE                       P.O. BOX 961079
CARPENTERSVILLE, IL 60110             PO BOX 600 34 S MAIN ST                 FORT WORTH, TX 76161-0079
                                      ATTLEBORO, MA 02703




UNITED COOPERATIVE SVC                UNITED DEVELOPMENT -HWY 92 LLC          UNITED DIRECTORIES INC DBA YELLOW
P.O. BOX 961079                       210 SANDY SPRINGS P AVE                 PAGES UNITED
FORT WORTH, TX 76161-0079             ATLANTA, GA 30328                       P.O. BOX 53282
                                                                              ATLANTA, GA 30355-1282




UNITED ELEVATOR CO INC                UNITED EQUITIES INC                     UNITED FIRE PROTECTION CORP
195 LIBBEY INDUSTRIAL PKWY STE 3      4545 BISSONNET STE 100                  1 MARK RD
WEYMOUTH, MA 02189                    BELLAIRE, TX 77401                      KENILWORTH, NJ 07033




UNITED FURNITURE INDUSTRIES INC       UNITED GLOBAL SOLUTIONS LLC             UNITED GROWTH CAPITAL MANAGEMENT
PO BOX 308                            7500 SAN FELIPE ST STE 960              LLC
OKOLONA, MS 38860                     HOUSTON, TX 77063                       1000 4TH ST STE 290
                                                                              SAN RAFAEL, CA 94901




UNITED GROWTH CAPITAL MANAGEMENT      UNITED GROWTH CAPITAL MANAGEMENT        UNITED GROWTH CAPITAL MGMT
LLC                                   LLC                                     ATTN: MATT BAKKE
ATTN: LEASE ADMINISTRATOR             ATTN: MATT BAKKE                        999 FIFTH AVE 390
201 SPEAR ST, STE 1150                999 FIFTH AVE STE 390                   SAN RAFAEL, CA 94901
SAN FRANCISCO, CA 94105               SAN RAFAEL, CA 94901



UNITED HEALTHCARE INSURANCE COMPANY   UNITED HEALTHCARE INSURANCE COMPANY     UNITED NATIONS FOUNDATIONS-
22561 NETWORK PLACE                   ATTN: COPORATE TAX MN008-T390           NOTHING BUT NETS PROGRAM
CHICAGO, IL 60673-1225                9900 BREN RD E                          1800 MASSACHUSETTS AVE
                                      MINNETONKA, MN 55343                    WASHINGTON, DC 20036
UNITED ONE SOURCE INC Case     18-12241-CSS
                                         UNITEDDoc 26 Filed
                                               PACKAGING SUPPLY10/05/18
                                                                CO INC          PageUNITED
                                                                                     1632 PARCEL
                                                                                           of 1739
                                                                                                 SERVICE
2830 MERRELL RD                           102 WHARTON RD                             55 GLENLAKE PKWY NE
DALLAS, TX 75229                          BRISTOL, PA 19007                          ATLANTA, GA 30328




UNITED PARCEL SERVICE                     UNITED PARKING INC                         UNITED PARKING SERVICES
P.O. BOX 7247-0244                        605 FIRST AVE SUITE 600                    ATTN: KEVIN MCLOUGHLIN
PHILADELPHIA, PA 19170-0001               SEATTLE, WA 98104                          3151 ELLIOTT AVE SUITE 100
                                                                                     SEATTLE, WA 98121




UNITED PROPERTY SERVICES INC              UNITED REALTY GROUP INC                    UNITED STAFFING ASSOCIATES LLC
DBA HAUL4ME                               1200 S PINE ISLAND ROAD 600                505 HIGUERA ST
4760 CALLE QUETZAL                        PLANTATION, FL 33324                       SAN LUIS OBISPO, CA 93401
CAMARILLO, CA 93012




UNITED STATES ALLIANCE FIRE               UNITED STATES ATTORNEY’S OFFICE FOR        UNITED STATES BANKRUPTCY COURT
PROTECTION INC                            THE DISTRICT OF DELAWARE                   517 E WISCONSIN AVE RM 126
28427 NORTH BALLARD DRIVE UNIT H          U.S. ATTORNEYS OFFICE                      MILWAUKEE, WI 53202
LAKE FOREST, IL 60045                     1007 ORANGE STREET SUITE 700
                                          WILMINGTON, DE 19801



UNITED STATES DEPT OF EDUCATION           UNITED STATES POSTAL SERVICE               UNITED STATES TREASURY
400 MARYLAND AVE SW                       5501 WEST GRAND AVE                        DEPT OF TREASURY IRS
WASHINGTON, DC 20202                      CHICAGO, IL 60639                          CINCINNATI, OH 45999-0009




UNITED STATES TREASURY                    UNITED STATES TREASURY                     UNITED TRANZACTIONS LLC
INTERNAL REVENUE SERVICE                  INTERNAL REVENUE SERVICE                   3200 EXECUTIVE WAY
KANSAS CITY, MO 64999-0202                OGDEN, UT 84201-0012                       MIRAMAR, FL 33025




UNITED VAN LINES LLC                      UNITED WATER IDAHO                         UNITIL
22304 NETWORK PLACE                       P.O. BOX 371804                            6 LIBERTY LANE W
CHICAGO, IL 60673                         PITTSBURGH, PA 15250-7804                  HAMPTON, NH 03842




UNITIL                                    UNITY DELIVERY LLC                         UNIVAR USA INC
P.O. BOX 981010                           12024 LAKESIDE DR 1316                     FILE 740896
BOSTON, MA 02298-1010                     OVERLAND PARK, KS 66213                    LOS ANGELES, CA 90074-0896




UNIVERSAL ENVIRONMENTAL CONSULTING        UNIVERSAL MUSIC CORP                       UNIVERSAL MUSIC- MGB NA LLC
INC                                       UNIVERSAL MUSIC PUBLISHING                 7475 COLLECTIONS CENTER DR
PO BOX 346                                7475 COLLECTIONS CENTER DR.                CHICAGO, IL 60693
CARLE PLACE, NY 11514                     CHICAGO, IL 60693




UNIVERSAL NATURAL GAS INC                 UNIVERSAL NATURAL GAS INC                  UNIVERSAL RECOVERY CORPORATION
9750 FM 1488 RD                           9750 FM 1488 RD.                           2880 SUNRISE BLVD STE 138
MAGNOLIA, TX 77354-1619                   MAGNOLIA, TX 77354-1619                    RANCHO CORDOVA, CA 95742
                     Case
UNIVERSAL REFRIGERATION INC   18-12241-CSS    DocWINDOW
                                        UNIVERSAL 26 Filed   10/05/18
                                                        CLEANING            PageUNIVERSITY
                                                                                 1633 of 1739
                                                                                           CAREER SERVICES
PO BOX 614                               1240 DEAN ST                            UNC-CHAPEL HILL, DIV OF STUDENT AFFAIRS
AUBURN, WA 98071                         SAINT CLOUD, FL 34771                   CB 5140
                                                                                 CHAPEL HILL, NC 27599-5140




UNIVERSITY COMMERCIAL CENTER LTD         UNIVERSITY CROSSING SHOPPING CENTER,    UNIVERSITY CROSSING SHOPPING CENTER,
1717 E FOWLER AVENUE                     LLC                                     LLC
TAMPA, FL 33612                          ATTN: STEVEN USDAN                      PO BOX 10
                                         5670 WILSHIRE BLVD., SUITE 1250         SCOTTSDALE, AZ 85252
                                         LOS ANGELES, CA 90036



UNIVERSITY DIRECTORIES                   UNIVERSITY MARKETPLACE, LLC             UNIVERSITY OF ALABAMA CAREER CENTER
P.O. BOX 8830                            C/O CARPIONATO GROUP, LLC               PO BOX 870293
CHAPEL HILL, NC 27515                    1414 ATWOOD AVENUE                      751 CAMPUS DR
                                         ATTN: HILARY PETERS                     TUSCALOOSA, AL 35487-0293
                                         JOHNSTON, RI 02919



UNIVERSITY OF ALABAMA/ CRIMSON WHITE     UNIVERSITY OF CENTRAL FLORIDA           UNIVERSITY OF GEORGIA
                                         UCF CAREER SERVICE                      424 EAST BROAD STREET
                                         P O BOX 160165                          ATHENS, GA 30602
                                         ORLANDO, FL 32816-0165




UNIVERSITY OF HOUSTON COLLEGE OF         UNIVERSITY OF HOUSTON COLLEGE OF        UNIVERSITY OF HOUSTON SYSTEM TAX
BUSINESS FOUNDATION                      BUSINESS                                DEPT
4750 CALHOUN RD                          BAUER WOMEN SOCIETY                     5000 GULF FREEWAY BLDG 2 RM 218
HOUSTON, TX 77204-6021                   4750 CALHOUN RD                         HOUSTON, TX 77204
                                         HOUSTON, TX 77004



UNIVERSITY OF HOUSTON                    UNIVERSITY OF HOUSTON                   UNIVERSITY OF HOUSTON-BUSINESS
OFFICE OF SCHOLARSHIPS & FINANCIAL AID   SPIRIT OF HOUSTON BAND                  FOUNDATION
5000 GULF FREEWAY ERP 2 ROOM 224         120 SCHOOL OF MUSIC BLDG.               SALES EXCELLENCE INSTITUTE-MKTG DEPT
HOUSTON, TX 77204                        HOUSTON, TX 77204-4017                  334 MELCHER HALL
                                                                                 HOUSTON, TX 77204-6021



UNIVERSITY OF HOUSTON-ROCKWELL           UNIVERSITY OF NORTH TEXAS               UNIVERSITY OF SOUTH FLORIDA
CAREER CNTR                              STUDENT ACCOUNTING                      4202 E FOWLER AVE
BAUER COLLEGE OF BUSINESS                1155 UNION CIRCLE 310620                ALN 147
4750 CALHOUN RD                          DENTON, TX 76203                        TAMPA, FL 33620-5800
HOUSTON, TX 77204-6021



UNIVERSITY OF SOUTH FLORIDA              UNIVERSITY PARENT                       UNIVERSITY RENTAL
COMMERCIAL ACCOUNTS                      2995 WILDERNESS PL                      510 E MAIN ST
PO BOX 864568                            STE 205                                 NACOGDOCHES, TX 75961
ORLANDO, FL 32886-4568                   BOULDER, CO 80301




UNIVERSITY SHOPPING CENTER, LLP          UNIVERSITY SHOPPING CENTER, LLP         UNIVERSITY SHOPS
2875 NE 191 STREET, #605                 ATTN: MS. FREDI CONSOLO                 1834 WROXTON ROAD
ATTN: MS. FREDI CONSOLO                  2875 NE 191 STREET, 605                 HOUSTON, TX 77005-3236
AVENTURA, FL 33180                       AVENTURA, FL 33180




UNIVERSITY SHOPS                         UNIVERSITY SPORTS PUBLICATIONS          UNIVISION COMMUNICATIONS HOUSTON
PO BOX 980338                            1121 N BETHLEHEM PIKE                   PO BOX 740721
HOUSTON, TX 77098                        DEPT 60-274                             LOS ANGELES, CA 90074-0721
                                         SPRING HOUSE, PA 19477
UNIVISION OF NJ - WFUT   Case 18-12241-CSS     Doc
                                        UNIVISION OF 26   Filed 10/05/18
                                                     NJ WXTV                     PageUNIVISION
                                                                                      1634 ofRADIO
                                                                                               1739BROADCASTING TEXAS LP
PO BOX 157                                500 FRANK W BURR BLVD                       KMYO-FM
TEANECK, NJ 07666                         TEANECK, NJ 07666                           12451 NETWORK BLVD STE 140
                                                                                      SAN ANTONIO, TX 78249




UNIVISION RADIO BROADCASTING TEXAS LP     UNIVISION RECEIVABLES CO LLC KMYO-FM        UNIVISION RECEIVABLES CO LLC
PO BOX 740721                             PO BOX 740721                               KBBT-FM
LOS ANGELES, CA 90074                     LOS ANGELES, CA 90074-0721                  PO BOX 740721
                                                                                      LOS ANGELES, CA 90074-0721




UNIVISION RECEIVABLES CO LLC              UNIVISION RECEIVABLES CO LLC                UNIVISION RECEIVABLES CO LLC
KLJA-FM                                   KROM-FM                                     PO BOX 452537
PO BOX 740721                             PO BOX 740721                               LOS ANGELES, CA 90045
LOS ANGELES, CA 90074-0721                LOS ANGELES, CA 90074-0721




UNIVISION SAN FRANCISCO                   UNIWEST COMMERCIAL REALTY, INC.             UNLMTD REAL ESTATE GROUP
PO BOX 740721                             JANIS GRANT, DIRECTOR OF LEASE ADMIN        200 WASHINGTON STREET, 5TH FLOOR
LOS ANGELES, CA 90074                     8191 STRAWBERRY LANE, SUITE 3               HOBOKEN, NJ 07030
                                          FALLS CHURCH, VA 22042




UNS ELECTRIC INC                          UNS ELECTRIC INC                            UNS GAS INC
P.O. BOX 80078                            P.O. BOX 80079                              P.O. BOX 80078
PRESCOTT, AZ 86304-8078                   PRESCOTT, AZ 86304-8079                     PRESCOTT, AZ 86304-8078




UNS GAS INC                               UNUM- PROVIDENT LIFE & ACCIDENT             UPPER MERION TOWNSHIP
PO BOX 80078                              INSURANCE COMPANY                           ATTN: BUSINESS TAX OFFICE
PRESCOTT, AZ 86304-8078                   BANK OF AMERICA                             175 W VALLEY FORGE RD
                                          901 MAIN STREET                             KING OF PRUSSIA, PA 19406
                                          DALLAS, TX 75202



UPPER MORELAND HATBORO JOINT              UPPER MORELAND TOWNSHIP TREASURER           UPPER PROVIDENCE TOWNSHIP
2875 TERWOOD ROAD                         117 PARK AVE                                1286 BLACK ROCK RD
WILLOW GROVE, PA 19090-1434               WILLOW GROVE, PA 19090                      OAKS, PA 19456




UPPER PROVIDENCE TOWNSHIP                 UPS FREIGHT                                 UPS GROUND FREIGHT INC
ATTN: CHRISTA SWARTZ                      P.O. BOX 730900                             55 GLENLAKE PKWY NE
PO BOX 406                                DALLAS, TX 75373-0900                       ATLANTA, GA 30328
OAKS, PA 19456




UPS                                       UPS                                         UPS
P.O. BOX 894820                           PO BOX 650690                               PO BOX 7247-0244
LOS ANGELES, CA 90189-4820                DALLAS, TX 75265-0690                       PHILADELPHIA, PA 19170-0001




UPS/UPS SCS CHICAGO                       UPSA MAYFAIR LLC                            UPSIDE GROUP FRANCHISE CONSULTING
28013 NETWORK PLACE                       C/O CBL & ASSOCIATES MANAGEMENT, INC.       11445 E VIA LINDA 2-495
CHICAGO, IL 60673-1280                    2030 HAMILTON PLACE BLVD, CBL CTR,          SCOTTSDALE, AZ 85259
                                          SUITE 500
                                          ATTN: ASSET MANAGEMENT
                                          CHATTANOOGA, TN 37421
UPTOP                    Case   18-12241-CSS
                                          UPTOP Doc 26        Filed 10/05/18   PageUPTOWN
                                                                                    1635 ofDEVELOPMENT
                                                                                             1739      LLC
1301 FIFTH AVE, SUITE 1225                1501 FOURTH AVE                           835 EAST PARK STREET
SEATTLE, WA 98101                         STE 2100                                  EUGENE, OR 97401
                                          SEATTLE, WA 98101




UPTOWN RETAIL PARTNERS LLC                UPTOWN RETAIL PARTNERS LLC                URBAN EDGE LANCASTER LP
2929 CHICAGO AVE UNIT 1400                2929 CHICAGO AVENUE, UNIT #1400           210 ROUTE 4 EAST
MINNEAPOLIS, MN 55407                     MINNEAPOLIS, MN 55407                     PARAMUS, NJ 07652




URBAN EDGE LANCASTER LP                   URBAN EDGE LANCASTER LP                   URBAN EDGE PROPERTIES LLC
PO BOX 416556                             PO BOX 645308                             ATTN: LEGAL DEPARTMENT
BOSTON, MA 02241                          PITTSBURGH, PA 15264-5308                 210 ROUTE 4 EAST
                                                                                    PARAMUS, NJ 07652




URBAN EDGE PROPERTIES LLC                 URBAN EDGE PROPERTIES LLC                 URBAN EDGE PROPERTIES LP
DAN ANSBACH                               DBA NORTH BERGEN UE LLC                   210 ROUTE 4 EAST
210 ROUTE 4 EAST                          210 ROUTE 4 EAST                          PARAMUS, NJ 07652
PARAMUS, NJ 07652                         PARAMUS, NJ 07652




URBAN EDGE PROPERTIES LP                  URBAN EDGE PROPERTIES LP                  URBAN EDGE PROPERTIES LP
DBA LAWNSIDE UE LLC                       DBA TOWSON UE LLC                         DBA UE TONNELLE COMMONS LLC
210 ROUTE 4 EAST                          210 ROUTE 4 EAST                          PO BOX 645614
PARAMUS, NJ 07652                         PARAMUS, NJ 07652                         PITTSBURGH, PA 15264




URBAN EDGE PROPERTIES LP                  URBAN PARK CONCESSIONAIRES                URBAN REAL ESTATE RESEARCH INC
PO BOX 645308                             DBA THE RANCH AT LITTLE HILLS             316 N MICHIGAN
PITTSBURGH, PA 15264-5308                 ATTN: EVENT RESERVATIONS                  CHICAGO, IL 60610
                                          18013 BOLLINGER CANYON RD
                                          SAN RAMON, CA 94583



URBAN REAL ESTATE RESEARCH INC            URBAN RETAIL PROPERTIES, LLC              URBAN-SCAPE LLC
PO BOX 10940                              ATTN: CATHY HOSN                          539 EASTERN PKWY 3RD FLOOR
CHICAGO, IL 60610                         925 S. FEDERAL HIGHWAY, SUITE 700         BROOKLYN, NY 11216
                                          BOCA RATON, FL 33432




URBAN-SCAPE, LLC                          URELAY INC                                URIEL BARKER
539 EASTERN PARKWAY, 3RD FLOOR            DBA RIGGOH                                10201 S. MAIN STREET
BROOKLYN, NY 11216                        585 PROSPECT ST STE 301A                  HOUSTON, TX 77025
                                          LAKEWOOD, NJ 08701




URIEL INVESTMENTS LLC                     URSTADT BIDDLE PROPERTIES, INC.           URSTADT BIDDLE PROPERTIES, INC.
ROBERT TARABOLOUS                         ATTN: REAL ESTATE COUNSEL                 ATTN: SR. VICE PRESIDENT, LEASING
9300 S. DADELAND BLVD., 6TH FLOOR         321 RAILROAD AVENUE                       321 RAILROAD AVENUE
MIAMI, FL 33156                           GREENWICH, CT 06830                       GREENWICH, CT 06830




URSTADT BIDDLE PROPERTIES, INC.           URSTADT BIDDLE PROPERTIES, INC.           URSTADT BIDDLE PROPERTIES, INC.
C/O UB DANBURY INC                        PO BOX 371328                             PO BOX 371328
PO BOX 371328                             PITTSBURG, PA 15250-7328                  PITTSBURGH, PA 15250-7328
PITTSBURGH, PA 15250-7328
URUIAH BARLEY          Case 18-12241-CSS
                                      URUSHIDoc 26 Filed 10/05/18
                                            RUSSELL                          PageUS
                                                                                  1636
                                                                                    41 & Iof
                                                                                          2851739
                                                                                              COMPANY LLC
10201 S. MAIN STREET                    4128 S 191ST CT                           C/O OLSHAN PROPERTIES
HOUSTON, TX 77025                       COUNTRY CLUB HILLS, IL 60478              5500 NEW ALBANY RD E, SUITE 200
                                                                                  NEW ALBANY, OH 43054




US 41 & I 285 COMPANY LLC               US BANK EQUIPMENT FINANCE                 US BANK EQUIPMENT FINANCE
DEPT 500                                1310 MADRID ST STE 100                    PO BOX 790448
PO BOX 304                              MARSHALL, MN 56258                        SAINT LOUIS, MO 63179-0448
EMERSON, NJ 07630




US BANK EQUIPMENT FINANCE, A DIVISION   US CENTENNIAL MALLS JV LLC                US CENTENNIAL VANCOUVER MALL LLC
OF US BANK NATIONAL ASSOCIATION         DBA US CENTENNIAL VANCOUVER MALL LLC      8020 EAGLE WAY
1310 MADRID STREET                      8750 N CENTRAL EXPY STE 1740              CHICAGO, IL 60678-1080
MARSHALL, MN 56258                      DALLAS, TX 75231




US DEPARTMENT OF LABOR                  US DEPT OF EDUCATION                      US HEALTHWORKS MED GROUP PC
200 CONSTITUTION AVE NW                 NATIONAL PAYMENT CENTER                   ATTN: XOCHITL MUNOZ
WASHINGTON, DC 20210                    PO BOX 105081                             28035 AVE STANFORD W
                                        ATLANTA, GA 30348-5081                    VALENCIA, CA 91355




US HEALTHWORKS MEDICAL GROUP PC         US HEALTHWORKS MEDICAL GROUP PC           US MAILING HOUSE
PO BOX 50042                            PO BOX 50046                              2555 JASON COURT
LOS ANGELES, CA 90074                   LOS ANGELES, CA 90074                     OCEANSIDE, CA 92056




US POSTMASTER                           US QUALITY FURNITURE                      US REAL ESTATE LIMITED PARTNERSHIP
ATTN: NEAL PALMER-RR DONNELLEY          8920 WINKLER DR                           9830 COLONNADE BLVD STE 600
709 A AVE EAST                          HOUSTON, TX 77017                         SAN ANTONIO, TX 78230-2239
SEYMOUR, IN 47274




US REAL ESTATE LIMITED PARTNERSHIP      US SIGNS                                  US SIGNS
DEPT 23510                              10 COLUMBUS BLVD 4TH FL                   5225 KATY FREEWAY STE 350
PO BOX 202235                           HARTFORD, CT 06106                        HOUSTON, TX 77007
DALLAS, TX 75320-2235




US SPECIALTY INSURANCE CO.              USA DISRIBUTORS INC                       USA LOGISTICS INC
37 RADIO CIRCLE DRIVE                   3711 HUDSON AVE                           C/O UNITY BANK
MOUNT KISCO, NY 10549                   UNION CITY, NJ 07087                      64 OLD HWY 22
                                                                                  CLINTON, NJ 08809




USA LOGISTICS INC                       USA MOBILE DRUG TESTING OF HOUSTON        USA SECURITY
PO BOX 666                              NORTH                                     13790 E RICE P1 200
PITTSTOWN, NJ 08867                     1415 SOUTH VOSS STE 110-520               AURORA, CO 80015
                                        HOUSTON, TX 77057




USAMA RASHEED                           USDOL-OSHA                                USF HOLLAND INC
10201 S. MAIN STREET                    100 N BROADWAY ST STE 470                 27052 NETWORK PLACE
HOUSTON, TX 77025                       WICHITA, KS 67202                         CHICAGO, IL 60673-1270
                     Case 18-12241-CSS
USH MEDICAL GROUP OF GEORGIA PC     USHAC Doc 26     Filed 10/05/18           PageUSI
                                                                                   1637   of 1739
                                                                                      INSURANCE SERVICES LLC
PO BOX 404477                       624 DOUGLAS AVE 1402                           PO BOX 62939
ATLANTA, GA 30384                   ALTAMONTE SPRINGS, FL 32714                    VIRGINIA BEACH, VA 23466




USMAN JAVED                             USMAN KHADERI                              USMAN KHADERI
10201 S. MAIN STREET                    10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                          HOUSTON, TX 77025




USO NORGE WHITNEY LLC                   USPA MAYFAIRE LLC                          USPA MAYFAIRE LLC
622 BANYAN TRAIL STE 150                PO BOX 310300                              PROPERTY: 131610
BOCA RATON, FL 33431                    DES MOINES, IA 50331                       PO BOX 310300
                                                                                   DES MOINES, IA 50331-0300




UTA CAREER SERVICES                     UTAH COUNTY TREASURER                      UTAH COUNTY TREASURER
PO BOX 19695                            ATTN: BUSINESS LICENSE DEPT.               ATTN: INCOME TAX DEPT.
ARLINGTON, TX 76019-0156                100 E. CENTER ST STE 1200                  100 E. CENTER ST STE 1200
                                        PROVO, UT 84606-3106                       PROVO, UT 84606-3106




UTAH COUNTY TREASURER                   UTAH COUNTY TREASURER                      UTAH COUNTY TREASURER
ATTN: PROPERTY TAX DEPT.                ATTN: UNCLAIMED PROPERTY DEPT.             PERSONAL PROPERTY DIVISION
100 E. CENTER ST STE 1200               100 E. CENTER ST STE 1200                  100 E. CENTER ST STE 1200
PROVO, UT 84606-3106                    PROVO, UT 84606-3106                       PROVO, UT 84606-3106




UTAH DEPARTMENT OF WORKFORCE            UTAH FIRE EQUIPMENT                        UTAH FIRE EQUIPMENT
SOLUTIONS                               2255 SOUTH WEST TEMPLE                     PO BOX 651276
PO BOX 45288                            SALT LAKE CITY, UT 84115                   SALT LAKE CITY, UT 84165
SALT LAKE CITY, UT 84145




UTAH MEDIA GROUP                        UTAH STATE FAIR                            UTAH STATE TAX COMMISSION
4770 S 5600 W                           155 N 1000 W                               210 N 1950 W
WEST VALLEY CITY, UT 84118-7400         SALT LAKE CITY, UT 84116                   SALT LAKE CITY, UT 84134




UTAH STATE TAX COMMISSION               UTAH STATE TREASURER                       UTC AREA SIX LLC
ATTN: SALES & USE TAX DEPT.             C/O UNCLAIMED PROPERTY DIVISION            P.O. BOX 36799
210 N 1950 W                            PO BOX 142321                              CHARLOTTE, NC 28236-6799
SALT LAKE CITY, UT 84134-0400           SALT LAKE CITY, UT 84114-2321




UTILITIES BOARD OF THE CITY OF DAPHNE   UTILITIES COMMISSION                       UTILITIES INC OF LOUISIANA
P.O. BOX 580051                         P.O. BOX 100                               201 HOLIDAY BLVD 150
CHARLOTTE, NC 28258-0051                NEW SMYRNA BEACH, FL 32170                 COVINGTON, LA 70433




UTILITIES INC OF LOUISIANA              UTILITY BILLING SERVICES                   UTILITY BILLING SERVICES
P.O. BOX 11025                          501 CORPORATE CENTER DRIVE, STE 310        P.O. BOX 31569
LEWISTON, ME 04243-9476                 FRANKLIN, TN 37067                         CLARKSVILLE, TN 37040-0027
UTILITY BILLING SERVICESCase    18-12241-CSS
                                          UTILITYDoc   26SOLUTIONS
                                                 BILLING    Filed 10/05/18
                                                                   INC.       PageUTILITY
                                                                                   1638 BILLING
                                                                                          of 1739
                                                                                                SOLUTIONS LLC
P.O. BOX 8100                               P.O. BOX 105                           241 B BROOKSTONE PLACE
LITTLE ROCK, AR 72203-8100                  SOCIAL CIRCLE, GA 30025                SOCIAL CIRCLE, PA 30026




UTILITY BILLING SOLUTIONS LLC               UTILITY PAYMENT PROCESSING             UTILITY RECOVERY SYSTEMS INC
P.O. BOX 105                                P.O. BOX 96025                         1721 S FRANKLIN RD STE 200
SOCIAL CIRCLE, GA 30025                     BATON ROUGE, LA 70896-9025             INDIANAPOLIS, IN 46239-2170




UTILITY RECOVERY SYSTEMS                    UTILITY SUBMETERING SYSTEMS LLC        UW VALLEY MEDICAL CENTER
1721 S FRANKLIN RD STE 200                  3120 N. 19TH AVE. SUITE 220            OCCUPATIONAL HEALTH SERVICES
INDIANAPOLIS, IN 46239-2170                 PHOENIX, AZ 85015-6054                 3600 LIND AVE SW 110
                                                                                   RENTON, WA 98057




UW-WHITEWATER FOUNDATION INSTITUTE          UW-WHITEWATER                          V LAND CHICAGO 95TH LLC
FOR SALES EXCELLENCE                        CASHIERS OFFICE                        KEY DEV PTR LLC
DEPT OF MARKETING                           PO BOX 88                              515 N STATE STE 2660
800 W MAIN ST                               WHITEWATER, WI 53190                   CHICAGO, IL 60654
WHITEWATER, WI 53190



V V 19165 LLC                               V WATT FURNITURE                       V
PO BOX 555                                  PO BOX 41                              C/O BURKWOOD ASSOCIATES
FONTANA, WI 53125                           LIVINGSTON, LA 70754                   255 BUTLER AVE STE 203
                                                                                   LANCASTER, PA 17601




V&V LAKESHORE, LTD.                         V&V LAKESHORE, LTD.                    V. GAROFALO CARTING INC.
ATTN: TIFFANY NESPECA                       ATTN: VINCE FOND, JR.                  926 CROOKED HILL RD
130 CHURCHILL HUBBARD RD                    130 CHURCHILL HUBBARD RD               BRENTWOOD, NY 11717
YOUNGSTOWN, OH 44505                        YOUNGSTOWN, OH 44505




V. GAROFALO CARTING INC.                    V2-49, LLC                             V2-49, LLC
P.O. BOX 283                                C/O BOYER PROPERTIES, INC.             C/O BOYER PROPERTIES, INC.
COMMACK, NY 11725                           9901 EXPRESS DR STE B                  9901 EXPRESS DRIVE
                                            HIGHLAND, IN 46322                     HIGHLAND, IN 46322




VA DEPARTMENT OF TAXATION                   VAA IMPROVEMENTS, LLC                  VAA IMPROVEMENTS, LLC
COMMONWHEALTH OF VIRGINIA                   565 TAXTER RD, STE 400                 C/O DLC MANAGEMENT CORPORATION
P.O. BOX 1103                               ELMSFORD, NY 10523                     190 EAST STACY ROAD, SUITE 1508
RICHDMOND, VA 23218-1103                                                           ATTN: STEPHANIE WALTON
                                                                                   ALLEN, TX 75002



VAA IMPROVEMENTS, LLC                       VAA IMPROVEMENTS, LLC                  VACHEL REESE
C/O DLC MGMT CORP                           C/O DLC MGMT CORP                      10201 S. MAIN STREET
PO BOX 840733                               PO BOX 840733                          HOUSTON, TX 77025
DALLAS, TX 75284-0733                       DALLAS, TX 75284-7033




VADIM KAPLAN FAINA & LAWRENCE SHAPIN        VAIL VALLEY FOUNDATION                 VAILLANCOURT, AIMEE
THE CAPITAL REALTY CORP                     PO BOX 6550                            1425 ORANGE ST
7101 SHARONDALE COURT STE 600               AVON, CO 81620                         CLEARWATER, FLORIDA 33756-3514
BRENTWOOD, TN 37027
VAISH CHANDRASEKARANCase       18-12241-CSS    DocVALYAN
                                         VAKETREIA 26 Filed 10/05/18     PageVAL/JOANNE
                                                                              1639 of 1739
                                                                                        WANGLER
10201 S. MAIN STREET                     200 HOLLOW TREE LN 1903              4003 NORTH 164 DR.
HOUSTON, TX 77025                        HOUSTON, TX 77090                    BUCKEYE, AZ 85396




VAL/JOANNE WANGLER                       VAL-ANDY TRUCKING SERVICES           VALARIE WADMAN
4003 NORTH 164 DR.                       661 NEW HOPE RD.                     10201 S. MAIN STREET
GOODYEAR, AZ 85395                       LAWRENCEVILLE, GA 30042              HOUSTON, TX 77025




VALASSIS DIRECT MAIL INC.                VALASSIS DIRECT MAIL INC.            VALASSIS DIRECT MAIL INC.
719975 VICTOR PARKWAY                    ATTN: CHIEF FINANCIAL OFFICER        ATTN: CHIEF FINANCIAL OFFICER
LIVONIA, MI 48152                        719975 VICTOR PARKWAY                ONE TARGETING CENTRE
                                         LOS ANGELES, CA 90074-0179           WINDSOR, CT 06095-2639




VALBEACH GARFIELD, LLC                   VALBEACH GARFIELD, LLC               VALDES-NOA, NELSON
ATTN: HOLLY CONGER                       ATTN: WILLIAM C. VALAIKA             5804 12TH AVE S
4770 CAMPUS DRIVE, SUITE 220             4770 CAMPUS DRIVE, SUITE 220         TAMPA, FLORIDA 33619-4555
NEWPORT BEACH, CA 92660                  NEWPORT BEACH, CA 92660




VALDEZ, ANA                              VALDEZ, ANA                          VALENCIA ANDRY
1794 VALENTINE AVE                       1794 VALENTINE AVE. APT. 3E          10201 S. MAIN STREET
BRONX, NY 10458                          BRONX, NY 10458                      HOUSTON, TX 77025




VALENCIA MCNEAL                          VALENCIA TRAVIS                      VALENTINE, BRIAN
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10233 FAIRWAY RIDGE RD.
HOUSTON, TX 77025                        HOUSTON, TX 77025                    CHARLOTTE, NC 28277-7709




VALENTINO JACKSON                        VALERIE A COLE                       VALERIE ATKINS
10201 S. MAIN STREET                     5245 SWEETWATER DR                   10201 S. MAIN STREET
HOUSTON, TX 77025                        INDIANAPOLIS, IN 46235               HOUSTON, TX 77025




VALERIE BARNES                           VALERIE CARTER                       VALERIE FERRENCE MCAVOY
501 WINCHESTER DR                        2015 W GODMAN AVE APT 14             10201 S. MAIN STREET
CELINA, TX 75009                         MUNCIE, IN 47303                     HOUSTON, TX 77025




VALERIE HEARD                            VALERIE HEPWORTH                     VALERIE MATZKE
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025




VALERIE MORALES                          VALERIE PRICE                        VALERIE VALON
10201 S. MAIN STREET                     10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                    HOUSTON, TX 77025
                      Case
VALERIE WALLACE-COLLIER        18-12241-CSS
                                         VALERYDoc 26SOSTRE
                                               PAGAN    Filed 10/05/18         PageVALIENCE
                                                                                    1640 ofREID
                                                                                            1739
10201 S. MAIN STREET                      10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                        HOUSTON, TX 77025




VALLEJO SANITATION AND FLOOD              VALLEJO SANITATION                       VALLEJO-FIRE PREVENTION DIVISION
450 RYDER ST                              P.O. BOX 1320                            555 SANTA CLARA ST
VALLEJO, CA 94590                         SUISUN CITY, CA 94585-4320               2ND FLOOR
                                                                                   VALLEJO, CA 94590




VALLEY NEWS                               VALLEY OAK KNOX LLC                      VALLEY OAK KNOX LLC
PO BOX 877                                ATTN: NICHOLAS H. HARDY, PRESIDENT       ATTN: NIKO HRDY
WHITE RIVER JUNCTION, VT 05001            21440 COUNTY ROAD 87                     21440 RD 87
                                          WINTERS, CA 95694                        WINTERS, CA 95694




VALLEY OAK KNOX LLC                       VALLEY PARKWAY, LLC                      VALLEY PARKWAY, LLC
C/O DANIEL B HRDY                         ATTN: DAN BARR                           ATTN: DAWN DALTON
21440 COUNTY RD 87                        636 VALLEY MALL PARKWAY, SUITE 204       636 VALLEY MALL PARKWAY, SUITE 204
WINTERS, CA 95694                         EAST WENATCHEE, WA 98802                 EAST WENATCHEE, WA 98802




VALLEY PLAZA MALL LP                      VALLEY RANCH TOWN CENTER ONE, LTD.       VALLEY RANCH TOWN CENTER ONE, LTD.
VALLEY PLAZA MALL                         C/O SIGNORELLI CO ATTN REAL ESTATE       C/O THE SIGNORELLI COMPANY
SDS-12-1667 PO BOX 86                     MGR                                      1400 WOODLOCH FOREST DRIVE, SUITE 200
MINNEAPOLIS, MN 55486-1667                1400 WOODLOCH FOREST DR 200              ATTN: KEVIN LAYNE
                                          SPRING, TX 77380                         THE WOODLANDS, TX 77380



VALLEY RANCH TOWN CTR ONE LTD             VALLEY RECYCLING AND DISPOSAL            VALLEY RECYCLING AND DISPOSAL
C/O WEITZMAN                              2515 SALEM-DALLAS HWY, NW                P.O. BOX 5700
PO BOX 671059                             PO BOX 5700                              SALEM, OR 97304-0700
DALLAS, TX 75267-1059                     SALEM, OR 97304




VALLEY SQUARE I, LP                       VALLEY SQUARE I, LP                      VALLEY VIEW MALL SPE LLC
BOX 510886                                C/O ALLIED PROPERTIES                    PO BOX 74430
PHILADELPHIA, PA 19175-0886               4737 CONCORD PIKE                        CLEVELAND, OH 44194
                                          WILMINGTON, DE 19803




VALLEY WATER SYSTEMS                      VALMIKI MOHIP                            VALUDIRECT LLC
37 NORTHWEST DRIVE                        10201 S. MAIN STREET                     6 WAY RD
PLAINVILLE, CT 06062                      HOUSTON, TX 77025                        MIDDLEFIELD, CT 06455




VALWOOD IMPROVEMENT AUTHORITY             VAN KELLY LLC                            VAN LESER
1740 BRIERCROFT CT                        400 CARILLON PKWY STE 230                10201 S. MAIN STREET
CARROLLTON, TX 75006                      SAINT PETERSBURG, FL 33716               HOUSTON, TX 77025




VAN MF BARTOW, LLC                        VAN MF BARTOW, LLC                       VAN MF CH LLC
C/O VANTAGE PROPERTIES, LLP               C/O VANTAGE PROPERTIES, LLP              400 CARILLON PKWY STE 230
400 CARILLON PARKWAY, SUITE 230           400 CARILLON PARKWAY, SUITE 230          SAINT PETERSBURG, FL 33716
SAINT PETERSBURG, FL 33716                ST. PETERSBURG, FL 33716
VAN MF CYPRESS GARDENS Case
                          LLC   18-12241-CSS
                                          VAN MFDoc  26 LLC
                                                FRUITLAND Filed 10/05/18      PageVAN
                                                                                   1641  of 1739 LANDING LLC
                                                                                      MF HAMMOCK
400 CARILLON PKWY STE 230                  400 CARILLON PKWY STE 230               C/O VANTAGE PROPERTIES, LLP
SAINT PETERSBURG, FL 33716                 SAINT PETERSBURG, FL 33716              400 CARILLON PARKWAY, SUITE 230
                                                                                   ST. PETERSBURG, FL 33716




VAN MF HAMMOCK LANDING LLC                 VAN MF HAMMOCK LANDING                  VAN MF HORIZON LLC
DBA 10289 ULMERTON                         C/O VANTAGE PROPERTIES, LLP             400 CARILLON PKWY STE 230
400 CARILLON PKWY STE 230                  400 CARILLON PARKWAY, SUITE 230         SAINT PETERSBURG, FL 33716
SAINT PETERSBURG, FL 33716                 ST. PETERSBURG, FL 33716




VAN MF LADY LAKE LLC                       VAN MF MARCIA LLC                       VAN MF RIFLE LLC
400 CARILLON PKWY STE 230                  400 CARILLON PKWY STE 230               ATTN: FRANCES POTRIDGE
SAINT PETERSBURG, FL 33716                 SAINT PETERSBURG, FL 33716              400 CARILLON PKWY STE 230
                                                                                   SAINT PETERSBURG, FL 33716




VAN MF RIVERVIEW LLC                       VAN MFALICO LAKES LLC                   VAN WETTERING, PHIL
400 CARILLON PKWY STE 230                  VANTAGE PROPERTIES                      112 ROCK SPRING DR
SAINT PETERSBURG, FL 33716                 400 CARILLON PARKWAY STE 230            GREENTOWN, PA 18426-7605
                                           SAINT PETERSBURG, FL 33716




VANCE LIGHTNING                            VANCE WILLIAMS                          VANCOUVER POLICE DEPARTMENT
10201 S. MAIN STREET                       10201 S. MAIN STREET                    PO BOX 1995
HOUSTON, TX 77025                          HOUSTON, TX 77025                       VANCOUVER, WA 98668-1995




VANDERBILT PARTNERS LLC                    VANDERBURGH COUNTY TREASURER            VANDERBURGH
ATTN: BRAD FREEMAN                         P.O. BOX 77                             ATTN: PROPERTY TAX DEPT.
305 VANDERBILT RD                          EVANSVILLE, IN 47701-0077               P O BOX 77
ASHEVILLE, NC 28803                                                                EVANSVILLE, IN 47701-0077




VANDERFORD MECHANICAL                      VANDERGRIFT HIGH SCHOOL ATHLETIC        VANDERGRIFT VIPERS
DBA ROBERT VANDERFORD                      BOOSTER CLUB                            9700 MCNELL DR.
1800 DICKENSON AVE STE A                   9500 MCNEIL DRIVE                       AUSTIN, TX 78750
DICKINSON, TX 77539                        AUSTIN, TX 78750




VANESSA BISCARDI                           VANESSA BURGOS-BYRD                     VANESSA BURTON
10201 S. MAIN STREET                       10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                          HOUSTON, TX 77025                       HOUSTON, TX 77025




VANESSA CARDENAS                           VANESSA DELAGARZA                       VANESSA DOCKERY
10201 S. MAIN STREET                       3109 EMMETT ST                          10201 S. MAIN STREET
HOUSTON, TX 77025                          DALLAS, TX 75211                        HOUSTON, TX 77025




VANESSA EDWARDS                            VANESSA FLOERKE                         VANESSA GOLDEN
10201 S. MAIN STREET                       10201 S. MAIN STREET                    31842 MCCLAIN CT
HOUSTON, TX 77025                          HOUSTON, TX 77025                       MENIFEE, CA 92584
VANESSA GONZALEZ        Case 18-12241-CSS   Doc
                                       VANESSA   26 Filed 10/05/18
                                               GUERRA                  PageVANESSA
                                                                            1642 ofGUEVARA
                                                                                    1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




VANESSA HEYER                          VANESSA HILLIGAS                    VANESSA LOWE
10201 S. MAIN STREET                   10201 S. MAIN STREET                PO BOX 978
HOUSTON, TX 77025                      HOUSTON, TX 77025                   MANOR, TX 76543




VANESSA MATHIESON                      VANESSA MONTANO-DIAZ                VANESSA MURILLO
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




VANESSA PEREZ                          VANESSA PINEDA PALAFOX              VANESSA REVELO
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




VANESSA ROJAS                          VANESSA VILA-MOLZON                 VANESSA WILLIAMS
205 TERESA                             10201 S. MAIN STREET                10201 S. MAIN STREET
SAN ANTONIO, TX 78214                  HOUSTON, TX 77025                   HOUSTON, TX 77025




VANGUARD                               VANITHA RIGATOS                     VANITY NORMAN
PO BOX 28067                           10201 S. MAIN STREET                10201 S. MAIN STREET
NEW YORK, NY 10087                     HOUSTON, TX 77025                   HOUSTON, TX 77025




VANN COMMONS LLC                       VANN COMMONS LLC                    VANNA ROBERTS
14039 SHERMAN WAY STE 206              C/O COMMUNITY BANK                  10201 S. MAIN STREET
LOS ANGELES, CA 91405                  3200 N HIGHLAND AVE                 HOUSTON, TX 77025
                                       JACKSON, TN 38305




VANNY ENGLISH                          VANS WASTE INC.                     VANTAGE REALTY PARTNERS
10201 S. MAIN STREET                   2061 N VANDENBROEK RD               619 EDGEWOOD AVE SE 200
HOUSTON, TX 77025                      KAUKAUNA, WI 54130-9351             ATLANTA, GA 30312




VANTAGE WEST CREDIT UNION              VAQUERO SAN ANTONIO                 VAQUERO SAN ANTONIO
PO BOX 13928                           1296 FARM TO MARKET 1516            P.O. BOX 660177
TUCSON, AZ 85732-3928                  SAN ANTONIO, TX 78263               DALLAS, TX 75266-0177




VARCILLA MOORE                         VARDY-MIKE LLC                      VARLOW LLC
10201 S. MAIN STREET                   VARDY SHTEIN MANAGING PARTNER       815B GRANT AVE
HOUSTON, TX 77025                      10227 SO DEANZA BLVD                NOVATO, CA 94945
                                       CUPERTINO, CA 95014
VARLOW LLC              Case 18-12241-CSS    Doc
                                       VARSITY LLC 26     Filed 10/05/18   PageVARSITY
                                                                                1643 of  1739
                                                                                       LLC
815B GRANT AVENUE                       1780 ASH ST STE 201                    1780 ASH ST STE 201
NOVATO, CA 94945                        NORTHFIELD, IL 60093                   WINNETKA, IL 60093




VAS TOWN CENTER I LLC                   VAS TOWN CENTER I LLC                  VASHTI WILLIAMS
101 FLINTLAKE RD                        C/O VILLAGE SANDHILL                   10201 S. MAIN STREET
COLUMBIA, SC 29223                      P.O. BOX 1608                          HOUSTON, TX 77025
                                        COLUMBIA, SC 29202




VAUGHN DEVELOPMENT CORPORATION          VAUGHN KING                            VAUGHN MANAGEMENT LLC
520 WEST MAIN STREET                    10201 S. MAIN STREET                   1290 HOWARD AVENUE, SUITE 309
SPOKANE, WA 99201                       HOUSTON, TX 77025                      BURLINGAME, CA 94010




VAUGHN TAYLOR                           VBV REGENCY LLC                        VBV REGENCY LLC
10201 S. MAIN STREET                    5007 WEST 147TH STREET                 ATTN: VEERAL BHOOT
HOUSTON, TX 77025                       LEAWOOD, KS 66224                      5007 WEST 147TH STREET
                                                                               LEAWOOD, KS 66224-3767




VBV REGENCY, LLC                        VC SIGNS & LIGHTING, INC               VCCDD-LSSA
C/O SANDBERG PHOENIX & VON GONTARD      709 PARKSIDE LN                        984 OLD MILL RUN
ATTN: LYNN RUSSELL                      YORKVILLE, IL 60560                    THE VILLAGES, FL 32162-7116
7227 METCALF AVE.
OVERLAND PARK, KS 66204



VCSA                                    VDWRI, LLC                             VDWRI, LLC
984 OLD MILL RUN                        2725 ROCKY MOUNTAIN AVE STE 200        2725 ROCKY MOUNTAIN AVE, #200
THE VILLAGES, FL 32162-1675             LOVELAND, CO 80538                     LOVELAND, CO 80538




VEAL INVESTMENT PROPERTIES              VEALE INVESTMENT PROPERTIES            VECTOR INTELLIGENT SOLUTIONS LLC
PO BOX 1496                             P.O. BOX 1496                          DBA INDUSTRY RETAIL GROUP
SANTA ROSA, CA 95402-1496               ATTN: JUDY RUSSELL                     2000 ERICSSON DR
                                        SANTA ROSA, CA 95402                   WARRENDALE, PA 15086




VECTOR INTELLIGENT SOLUTIONS LLC        VECTOR INTELLIGENT SOLUTIONS LLC       VECTOR
P.O. BOX 645096                         PO BOX 645096                          300 MT LEBANON BLVD. STE 2200
PITTSBURGH, PA 15264-5096               PITTSBURGH, PA 15264-5096              PITTSBURGH, PA 15234




VECTOR                                  VECTREN ENERGY DELIVERY                VECTREN ENERGY DELIVERY
P.O. BOX 645096                         ONE VECTREN SQUARE                     P.O. BOX 6248
PITTSBURGH, PA 15264-5096               EVANSVILLE, IN 47708                   INDIANAPOLIS, IN 46206-6248




VEE 24 INC                              VEIGA TRUCKING INC                     VELLUM
745 ATLANTIC AVE 8TH FLOOR              233 EAGLE ST                           2496 TUCKERSTONE PKWY SUITE D
BOSTON, MA 02111                        FALL RIVER, MA 02721                   TUCKER, GA 30084
VELOCIS W WOODS LP       Case 18-12241-CSS    Doc
                                        VELOCIS    26 LP
                                                W WOODS Filed 10/05/18       PageVELOCITY
                                                                                  1644 ofRETAIL
                                                                                          1739GROUP LLC
PO BOX 732035                            TX1-0029                                2415 E CAMELBACK RD
DALLAS, TX 75373                         14800 FRYE RD                           STE 400
                                         FORT WORTH, TX 76155                    PHOENIX, AZ 85016




VENA SOLUTIONS USA INC                   VENABLE LLP                             VENAL THOMPSON
1971 WESTERN AVENUE 1125                 ATTN: TED MILLSPAUGH                    10201 S. MAIN STREET
ALBANY, NY 12203                         575 7TH STREET NW                       HOUSTON, TX 77025
                                         WASHINGTON, DC 20004




VENDOME GROUP LLC                        VENDOR SAFE TECHNOLOGIES                VENDORLOGIX LLC
                                         7324 SOUTHWEST FRWY SUITE 1700          PO BOX 801335
                                         HOUSTON, TX 77074                       DALLAS, TX 75056




VENDORPASS                               VENDORPASS-EFT: MELLON BANK             VENEY, SHAQUILL
10151 DEERWOOD PARK BLVD                 LOCKBOX: DEPT CH 10682                  2025 N BROAD ST APT 1
BLDG 200 STE 400                         PALATINE, IL 60055-0682                 PHILADELPHIA, PA 19122-1127
JACKSONVILLE, FL 32256




VENKAT AKULA                             VENKATEESWARAN PADMANABHAN              VENTURA COUNTY FAIR
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10 W HARBOR BLVD
HOUSTON, TX 77025                        HOUSTON, TX 77025                       VENTURA, CA 93001




VENTURE B.G., LLC                        VENTURE B.G., LLC                       VENTURE B.G., LLC
100 PAINTERS MILL RD STE 900             ATTN: GENERAL COUNSEL                   PO BOX 548
PO BOX 548                               100 PAINTERS MILL ROAD, SUITE 900       OWINGS MILLS, MD 21117
OWINGS MILLS, MD 21117                   OWINGS MILLS, MD 21117




VENTURE BG LLC                           VENTURE COMMERCIAL MANAGEMENT, LLC      VENTURE COMMERCIAL MANAGEMENT, LLC
PO BOX 548                               8235 DOUGLAS AVE, SUITE 720             8383 PRESTON CENTER PLAZA DRIVE, SUITE
OWINGS MILLS, MD 21117                   DALLAS, TX 75225                        330
                                                                                 DALLAS, TX 75225




VENTUREPOINT PROPERTY                    VENTUREPOINT PROPERTY                   VENTURESIX LLC
4685 MACARTHUR COURT, SUITE 375          4685 MACARTHUR COURT, SUITE 375         CO RICARDO WINOCUR
NEWPORT BEACH, CA 92260                  NEWPORT BEACH, CA 92660                 3325 S UNIVERSITY DR STE 110
                                                                                 DAVIE, FL 33328




VENUE PROPERTIES                         VENUS BASARAN                           VEQUITY
ATTN: PROPERTY MANAGER                   10201 S. MAIN STREET                    SHEILA GERARDY
P.O. BOX 8198                            HOUSTON, TX 77025                       400 N. STATE, SUITE 400
TYLER, TX 75711-8198                                                             CHICAGO, IL 60654




VERA LIPSCOMB-CHEN                       VERA WATER & POWER                      VERA WATER & POWER
10201 S. MAIN STREET                     601 N EVERGREEN RD                      P.O. BOX 630
HOUSTON, TX 77025                        SPOKANE VALLEY, WA 99216                SPOKANE VALLEY, WA 99037-0630
VERACODE INC           Case 18-12241-CSS   DocINC
                                      VERACODE  26           Filed 10/05/18    PageVERAZ
                                                                                    1645FONDO
                                                                                         of 1739
                                                                                              DOS LLC
65 NETWORK DR                           DEPT CH 16573                               DBA VF2 BRD LLC
BURLINGTON, MA 01803                    PALATINE, IL 60055                          3659 NE 201 ST
                                                                                    AVENTURA, FL 33180




VERAZ FONDO DOS LP                      VERAZ FONDO UNO, LLC                        VERAZ FONDO UNO, LLC
DBA VF2 CHP LLC                         201 ALHAMBRA CIRCLE STE 702                 350 ESSJAY RD
2320 PONCE DE LEON BLVD                 CORAL GABLES, FL 33134                      WILLIAMSVILLE, NY 14221
CORAL GABLES, FL 33134




VERAZ FONDO UNO, LLC                    VERAZ FONDO UNO, LLC                        VERAZ FONDO UNO, LLC
C/O CIMINELLI REAL ESTATE CORPORATION   C/O CUSHMAN & WAKEFIELD U.S., INC.          C/O CUSHMAN & WAKEFIELD U.S., INC.
50 FOUNTAIN PLAZA, STE 500              721 EMERSON RD STE 300                      721 EMERSON ROAD, SUITE 300
BUFFALO, NY 14202                       SAINT LOUIS, MO 63141                       SAINT LOUIS, MO 63141




VERAZ FONDO UNO, LLC                    VERDINE OSEI                                VEREIT MF APPLETON WI, LLC
C/O CUSHMAN & WAKEFIELD U.S., INC.      10201 S. MAIN STREET                        C/O VEREIT, INC.
721 EMERSON ROAD, SUITE 300             HOUSTON, TX 77025                           2325 EAST CAMELBACK ROAD, SUITE 1100
ST. LOUIS, MO 63141                                                                 PHOENIX, AZ 85016




VEREIT MF APPLETON WI, LLC              VEREIT MF MARTINSVILLE VA LLC               VEREIT MF MARTINSVILLE VA LLC
ID: PT4A54                              C/O VEREIT, INC.                            ID: PT4A46
PO BOX 841123                           2325 EAST CAMELBACK ROAD, SUITE 1100        PO BOX 841123
DALLAS, TX 75284-1123                   PHOENIX, AZ 85016                           DALLAS, TX 75284-1123




VEREIT MF THOMASVILLE GA, LLC           VEREIT MF THOMASVILLE GA, LLC               VEREIT MT ASHSTABULA OH, LLC
C/O VEREIT, INC.                        ID: PT4A57                                  C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100    PO BOX 841123                               2325 EAST CAMELBACK ROAD, SUITE 1100
ATTN: RUTH CAVALLUCCI                   DALLAS, TX 75284-1123                       PHOENIX, AZ 85016
PHOENIX, AZ 85016



VEREIT MT ELYRIA OH LLC                 VEREIT MT ELYRIA OH LLC                     VEREIT MT GROVE CITY OH, LLC
C/O VEREIT, INC.                        DEPT 880046/ID:C10093                       C/O VEREIT, INC.
2325 EAST CAMELBACK ROAD, SUITE 1100    PO BOX 29650                                2325 EAST CAMELBACK ROAD, SUITE 1100
PHOENIX, AZ 85016                       PHOENIX, AZ 85038-9650                      PHOENIX, AZ 85016




VEREIT MT LADY LAKE FL LLC              VEREIT MT LADY LAKE FL LLC                  VEREIT MT OAK CREEK WI LLC
C/O VEREIT, INC.                        ID: PT4A70                                  ID: AC1209-1
2325 EAST CAMELBACK ROAD, SUITE 1100    PO BOX 841123                               PO BOX 732931
PHOENIX, AZ 85016                       DALLAS, TX 75284-1123                       DALLAS, TX 75373-2931




VEREIT MT OAK CREEK WI, LLC             VEREIT MT ORLAND PARK IL LLC                VEREIT MT ORLAND PARK IL LLC
C/O VEREIT, INC.                        ID C10090 CNAV (JPM)                        LOCK DEPT 880046 PO BOX 29650
2325 EAST CAMELBACK ROAD, SUITE 1100    LOCK DEPT 880046 PO BOX 29650               PHOENIX, AZ 85038
PHOENIX, AZ 85016                       PHOENIX, AZ 85038-9650




VEREIT MT ORLAND PARK IL, LLC           VEREIT MT STURBRIDGE MA, LLC                VEREIT MT STURBRIDGE MA, LLC
C/O VEREIT, INC.                        C/O VEREIT, INC.                            ID: PT4A69 CCPT4-B OF A LOCKBOX 2
2325 EAST CAMELBACK ROAD, SUITE 1100    2325 EAST CAMELBACK ROAD, SUITE 1100        PO BOX 841123
PHOENIX, AZ 85016                       PHOENIX, AZ 85016                           DALLAS, TX 75284
                      Case
VEREIT MT STURBRIDGE MA, LLC   18-12241-CSS
                                         VEREIT Doc 26 PARTNERSHIP
                                                OPERATING Filed 10/05/18
                                                                     LP          PageVEREIT,
                                                                                      1646 INC
                                                                                             of 1739
PO BOX 841123                             2325 EAST CAMELBACK RD SUITE 1100           ATTN: RUTH CAVALLUCCI
DALLAS, TX 75284                          PHOENIX, AZ 85016                           2325 EAST CAMELBACK ROAD, SUITE 1100
                                                                                      PHOENIX, AZ 85016




VEREIT, INC,                              VEREIT, INC.                                VEREIT, INC.
ATTN: RUTH CAVALLUCCI                     ATTN: KITA HARRIS                           ATTN: KRISTI HARMON
2325 EAST CAMELBACK ROAD, SUITE 1100      2325 EAST CAMELBACK ROAD, SUITE 1100        2325 EAST CAMELBACK ROAD, SUITE 1100
PHOENIX, AZ 85016                         PHOENIX, AZ 85016                           PHOENIX, AZ 85016




VEREIT, INC.                              VEREIT, INC.                                VEREIT, INC.
ATTN: RUTH CAVALLUCCI                     ATTN: RUTH CAVALLUCCI                       ATTN: RUTH CAVALLUCCI
2325 EAST CAMELBACK ROAD, SUITE 1100      2325 EAST CAMELBACK ROAD, SUITE 1100        2325 EAST CAMELBACK ROAD, SUITE 1100
PHEONIX, AZ 85016                         PHOENIX, AZ 75373                           PHOENIX, AZ 85016




VEREIT, INC.                              VEREIT, INC.                                VERIFIED SECURITY SOLUTIONS
ATTN: RUTH CAVALLUCCI                     DEB BAUER                                   530 E CORPORATE DR STE 400
2325 EAST CAMELBACK ROAD, SUITE 1100      2325 EAST CAMELBACK ROAD, SUITE 1100        LEWISVILLE, TX 75057
PHOENIX, AZ 85017                         PHOENIX, AZ 85016




VERIFONE MEDIA LLC                        VERITAS REALTY                              VERITAS WASTE INC
774523                                    6440 WESTFIELD BLVD.                        P.O. BOX 3388 206
4523 SOLUTIONS CENTER                     INDIANAPOLIS, IN 46220                      EVERGREEN, CO 80437
CHICAGO, IL 60677-4005




VERITEXT CORPORATE SERVICES INC           VERITEXT                                    VERIZON BUSINESS
290 W MT PLEASANT AVE STE 3200            PO BOX 71303                                P.O. BOX 15043
LIVINGSTON, NJ 07039                      CHICAGO, IL 60694-1303                      ALBANY, NY 12212-5043




VERIZON BUSINESS                          VERIZON BUSINESS                            VERIZON COMMUNICATIONS INC
P.O. BOX 371873                           P.O. BOX 660072                             1095 AVE OF THE AMERICAS 8TH FLOOR
PITTSBURG, PA 15250-7873                  DALLAS, TX 75266-0072                       NEW YORK, NY 10036




VERIZON FLORIDA                           VERIZON TELEPHONE                           VERIZON WIRELESS
P.O. BOX 920041                           P.O. BOX 660720                             BANKRUPTCY ADMIN
DALLAS, TX 75392-0041                     DALLAS, TX 75266-0720                       500 TECHNOLOGY DR, STE 550
                                                                                      WELDON SPRING, MO 63304




VERIZON WIRELESS                          VERIZON WIRELESS                            VERIZON WIRELESS
P.O. BOX 408                              P.O. BOX 660108                             PO BOX 408
NEWARK, NJ 07101-0408                     DALLAS, TX 75266-0108                       NEWARK, NJ 07101-0408




VERIZON                                   VERIZON                                     VERIZON
1095 AVENUE OF THE AMERICAS               BANKRUPTCY ADMIN                            P.O. BOX 15026
8TH FLOOR                                 500 TECHNOLOGY DR, STE 550                  ALBANY, NY 12212-5026
NEW YORK, NY 10036                        WELDON SPRING, MO 63304
VERIZON                  Case 18-12241-CSS    Doc 26
                                        VERIZON             Filed 10/05/18   PageVERIZON
                                                                                  1647 of 1739
P.O. BOX 15043                          P.O. BOX 15124                           P.O. BOX 25505
ALBANY, NY 12212-5043                   ALBANY, NY 12212-5124                    LEHIGH VALLEY, PA 18002-5505




VERIZON                                 VERIZON                                  VERMEER SALES & SERVICES
PO BOX 4820                             PO BOX 4830                              7961 WYNWOOD ROAD
TRENTON, NJ 08650-4820                  TRENTON, NJ 08650-4830                   TRUSSVILLE, AL 35173




VERMILLION SYSTEMS                      VERMONT COMMUNITY MEDIA LLC              VERMONT DEPARTMENT OF TAXATION
603 ROOSEVELT ROAD                      PO BOX 668                               ATTN: SALES & USE TAX DEPT.
WALKERTON, IN 46574                     RUTLAND, VT 05702                        PO BOX 547
                                                                                 MONTPELIER, VT 05601-0547




VERMONT DEPT OF TAXES                   VERMONT DEPT OF TAXES                    VERMONT GAS SYSTEMS
133 STATE ST                            PO BOX 547                               85 SWIFT ST
MONTPELIER, VT 05633-1401               MONTPELIER, VT 05601-0547                SOUTH BURLINGTON, VT 05403




VERMONT GAS SYSTEMS                     VERMONT STATE TREASURERS OFFICE          VERMONT
P.O. BOX 22082                          UNCLAIMED PROPERTY DIVISION              ATTN: BUSINESS LICENSE DEPT.
ALBANY, NY 12201-2082                   109 STATE ST 4TH FL                      PO BOX 547
                                        MONTPELIER, VT 05609-6200                MONTPELIER, VT 05601-0547




VERMONT                                 VERMULLEN, EVAN                          VERNA DEVELOPERS
ATTN: UNCLAIMED PROPERTY DEPT.          202 DEEANN STREET                        101 N PLAINS INDUSTRIAL RD 1A
PO BOX 547                              WEST COLUMBIA, SC 29170-4062             WALLINGFORD, CT 06492
MONTPELIER, VT 05601-0547




VERNA DEVELOPERS                        VERNA FAMILY INSURANCE TRUST             VERNAD VALBRUN
VERNA FAMILY INSURANCE TRUST            C/O VERNA DEVELOPERS                     10201 S. MAIN STREET
PO BOX 176                              P.O. BOX 176                             HOUSTON, TX 77025
WALLINGFORD, CT 06492                   WALLINGFORD, CT 06492




VERNARD MURRAY                          VERNICE HALBERT                          VERNON BELL
10201 S. MAIN STREET                    10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                        HOUSTON, TX 77025




VERNON HOLGUIN                          VERNON RICHTER                           VERNON SCOTT
10201 S. MAIN STREET                    1073 FOXBOROUGH DRIVE                    10201 S. MAIN STREET
HOUSTON, TX 77025                       WILLIAMSTON, MI 48895                    HOUSTON, TX 77025




VERNON SPECK                            VERONICA A WELLS                         VERONICA ARAMBULA
10201 S. MAIN STREET                    1401 N MASON AVE                         10201 S. MAIN STREET
HOUSTON, TX 77025                       CHICAGO, IL 60651                        HOUSTON, TX 77025
VERONICA ASHFORD         Case 18-12241-CSS    Doc
                                        VERONICA   26 VARGAS
                                                 CASTRO Filed 10/05/18         PageVERONICA
                                                                                    1648 ofGONZALEZ
                                                                                            1739
10201 S. MAIN STREET                     10201 S. MAIN STREET                      201 E PINE ST STE 1200
HOUSTON, TX 77025                        HOUSTON, TX 77025                         ORLANDO, FL 32801




VERONICA HARIHARAN                       VERONICA HARRIS                           VERONICA HAYES
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




VERONICA LOPEZ                           VERONICA MATA                             VERONICA POLANCO
2404 JOSHS CT                            10201 S. MAIN STREET                      183 N EASTRIVER RD
ROCK HILL, SC 29732                      HOUSTON, TX 77025                         DES PLAINES, IL 60016




VERONICA SMITH                           VERONICA SMITH                            VERONICA STRONG-DAVIS
10201 S. MAIN STREET                     10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                         HOUSTON, TX 77025




VERSETAL INFORMATION SYSTEMS             VERSON WALLACE                            VERTEX GLOBAL SOLUTIONS INC
99 DERBY ST STE 200                      10201 S. MAIN STREET                      275 MADISON AVE 612
HINGHAM, MA 02043                        HOUSTON, TX 77025                         NEW YORK, NY 10016




VERY INC                                 VESTAR - CHINO A LLC                      VESTAR ARIZONA XVII LLC
126 NORTH 3RD ST 525                     2425 E. CAMELBACK RD 750                  C/O VESTAR PROPERTY MGMT
MINNEAPOLIS, MN 55401                    PHOENIX, AZ 85016                         2425 E CAMELBACK ROAD 750
                                                                                   PHOENIX, AZ 85016




VESTAR BEST IN THE WEST PROPERTY LLC     VESTAR CPT TEMPE MARKETPLACE LLC          VESTAR CTC CHANDLER PHASE I LLC
C/O VESTAR                               2425 EAST CAMELBANK ROAD                  2425 E CAMELBACK RD STE 750
2425 E. CAMELBACK ROAD, SUITE 750        SUITE 750                                 PHOENIX, AZ 85016
ATTN: PRESIDENT                          PHOENIX, AZ 85016
PHOENIX, AZ 85016



VESTAR CTC CHANDLER, LLC                 VESTAR DEVELOPMENT CO.                    VESTAR DEVELOPMENT CO.
C/O VESTAR DEVELOPMENT CO.               ATTN: JENNIFER NETTLES                    ATTN: JENNIFER NETTLES
2425 EAST CAMELBACK ROAD, SUITE 750      2425 EAST CAMELBACK ROAD, SUITE 750       2425 EAST CAMELBACK ROAD, SUITE 750
ATTN: PRESIDENT                          PHOENIX, AZ 85013                         PHOENIX, AZ 85016
PHOENIX, AZ 85016



VESTAR DM, LLC                           VESTAR DM, LLC                            VESTAR DRM-OPCO LLC
C/O VESTAR DEVELOPMENT CO.               C/O VESTAR DM LLC                         C/O VESTAR DEVELOPMENT CO.
2425 EAST CAMELBACK ROAD, SUITE 750      2425 E CAMELBACK RD STE 750               2425 EAST CAMELBACK ROAD, SUITE 750
ATTN: PRESIDENT                          PHOENIX, AZ 85016                         ATTN: PRESIDENT
PHOENIX, AZ 85016                                                                  PHOENIX, AZ 85016



VESTAR DRM-OPCO LLC                      VESTAR LPTC, LLC                          VESTAR LPTC, LLC
DEPT 880116                              C/O VESTAR DEVELOPMENT CO.                PO BOX 740287
PO BOX 29650                             2425 EAST CAMELBACK ROAD, SUITE 750       LOS ANGELES, CA 90074-0287
PHOENIX, AZ 85038-9650                   ATTN: PRESIDENT
                                         PHOENIX, AZ 85016
                      Case 18-12241-CSS
VESTAR ORCHARD TOWN CENTER    LLC    VESTARDoc   26 Filed
                                             PROPERTIES, INC. 10/05/18        PageVESTAR
                                                                                   1649 of 1739 INC.
                                                                                         PROPERTIES,
C/O VESTAR DEVELOPMENT CO.           2425 EAST CAMELBACK ROAD, SUITE 750          ATTN: NATALIE ALLRED
2425 EAST CAMELBACK ROAD, SUITE 750  PHOENIX, AZ 85016                            2225 VILLAGE WALK DRIVE, SUITE 171
ATTN: PRESIDENT                                                                   HENDERSON, NV 89052
PHOENIX, AZ 85016



VESTAR PROPERTY MANAGEMENT              VESTAR PROPERTY MANAGEMENT                VESTAR PROPERTY MANAGEMENT
12201 SEAL BEACH BLVD.                  200 EAST RIO SALADA PKWY, STE 1150        ATTN: JENNIFER NETTLES
SEAL BEACH, CA 90740                    TEMPE, AZ 85281                           43440 BOSCELL ROAD
                                                                                  FREMONT, CA 94538




VESTAR PROPERTY MANAGEMENT              VESTAR PROPERTY MANAGEMENT                VESTAR QCM LLC
ATTN: PRESIDENT - MANAGEMENT SERVICES   MICHELLE BROWN, CPM                       2425 E CAMELBACK ROAD 750
2425 EAST CAMELBACK ROAD, SUTIE 750     2225 VILLAGE WALK DRIVE, SUITE 171        PHOENIX, AZ 85016
PHOENIX, AZ 85016                       HENDERSON, NV 89052




VESTAR RIVERSIDE PLAZA, LLC             VESTAR RIVERSIDE PLAZA, LLC               VESTAR RW TEMPE MARKETPLACE
ATTN: DANA DUNCAN                       C/O VESTAR DEVELOPMENT CO.                DEPT 880111
2425 EAST CAMELBACK ROAD, SUITE 750     2425 EAST CAMELBACK ROAD, SUITE 750       PO BOX 29650
PHOENIX, AZ 85016                       ATTN: PRESIDENT                           PHOENIX, AZ 85038-9650
                                        PHOENIX, AZ 85016



VESTAR-CHINO A, LLC                     VESTAR-CPT TEMPE MARKETPLACE LLC          VESZNA VEADISZAVEYEV
C/O VESTAR DEVELOPMENT CO.              DEPT 880111                               1920 GRASSMERE LN 1716
2425 EAST CAMELBACK ROAD, SUITE 750     PO BOX 29650                              MC KINNEY, TX 75071
PHOENIX, AZ 85016                       PHOENIX, AZ 85038-9650




VESZNA VLADISZAVLYEV                    VETERANS ROAD HOLDINGS LLC                VETERANS ROAD HOLDINGS LLC
10201 S. MAIN STREET                    362 ST. MARKS PLACE                       ATTN: DAVID BERMAN
HOUSTON, TX 77025                       STATEN ISLAND, NY 10301                   362 ST. MARKS PLACE
                                                                                  STATEN ISLAND, NY 10301




VF CENTER ASSOCIATES, L.P.              VF CENTER ASSOCIATES, L.P.                VF2 BRD, LLC
105 CENTER ROAD                         P.O. BOX 785977                           33 MANAGEMENT LLC
KING OF PRUSSIA, PA 19406               PHILADELPHIA, PA 19178-5977               357 W CHICAGO AVE STE 100
                                                                                  CHICAGO, IL 60654




VF2 BRD, LLC                            VF2 CHP, LLC                              VF2 CHP, LLC
3659 NE 201ST STREET                    C/O CRESTMARK REALTY, INC.                C/O CRESTMARK REALTY, INC.
ATTN: JOSE CHACALO                      6300 CREEDMOOR ROAD, SUITE 170-160        6300 CREEDMOOR ROAD, SUITE 170-160
AVENTURA, FL 33180                      RALEIGH, NC 27612                         RALEIGH, NC 27612-6745




VFS FIRE & SECURITY SERVICES            VIAMEDIA INC                              VIANT TECHNOLOGY LLC
501 WEST SOUTHERN AVE                   7804 SOLUTION CENTER                      4 PARK PLAZA STE 1500
ORANGE, CA 92865                        CHICAGO, IL 60677                         IRVINE, CA 92614




VIANT US LLC                            VIAVID BROADCASTING CORPORATION           VIAVID BROADCASTING CORPORATION
PO BOX 206298                           118 998 HARBOURSIDE DR                    118 998 HARBOURSIDE DR
DALLAS, TX 75320-6298                   N VANCOUVER, BC V7P 3T2                   NORTH VANCOUVER, BC V7P 3T2
                                        CANADA                                    CANADA
VIAWEST INC            Case    18-12241-CSS    Doc
                                         VIAWEST INC 26       Filed 10/05/18   PageVIC
                                                                                    1650   of 1739
                                                                                       ALBERTI AND VICTORIA J. ALBERTI
6400 S FIDDLERS GREEN CIRCLE              PO BOX 732368                              6895 N. BLACKHAWK LANE
GREENWOOD VILLAGE, CO 80111               DALLAS, TX 75373                           CLOVIS, CA 93619




VIC ALBERTI                               VIC VICTOR                                 VICENTE DAVILA
6895 N BLACKHAWK LN                       10201 S. MAIN STREET                       10201 S. MAIN STREET
CLOVIS, CA 93619                          HOUSTON, TX 77025                          HOUSTON, TX 77025




VICENTE DELIVERING SERVICES               VICENTE MUNIZ                              VICENTE SOLIS OLIVAS
VICENTE MUNIZ                             VICENTE DELIVERING SERVICES                10201 S. MAIN STREET
180 DOBBS FERRY RD                        180 DOBBS FERRY RD                         HOUSTON, TX 77025
WHITE PLAINS, NY 10607                    WHITE PLAINS, NY 10607




VICKI BUFFAMOYER                          VICKI GUIHER                               VICKI NICELY
101 CARMEN WAY                            10201 S. MAIN STREET                       514 WEST SOUTH ST
EASLEY, SC 29642                          HOUSTON, TX 77025                          MASCOUTAH, IL 62258




VICKI PAULING                             VICKI PEREZ                                VICKI ROGERS
10201 S. MAIN STREET                      18775 PESANTE RD                           2907 SOUTH HIGHWAY 94
HOUSTON, TX 77025                         SALINAS, CA 93907                          DEFIANCE, MO 63341




VICKI SCHEIBLA                            VICKIE ROGERS                              VICKY ABRAHAMSSON
751 CONDON DR                             10201 S. MAIN STREET                       4438 GLENGARY DR NE
CHARLESTON, SC 29412                      HOUSTON, TX 77025                          ATLANTA, GA 30342




VICKY HINKLEY                             VICKY TORRES                               VICTOR ABRAMI
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025




VICTOR AJPACAJA                           VICTOR BARRERA                             VICTOR BULLARD
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025




VICTOR CARDENAL                           VICTOR CONTRERAS                           VICTOR DIAZ
10201 S. MAIN STREET                      10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                          HOUSTON, TX 77025




VICTOR FLETCHER                           VICTOR FRANCO                              VICTOR FUENTES
10201 S. MAIN STREET                      876 VAUGHN DR                              10201 S. MAIN STREET
HOUSTON, TX 77025                         ROCKWELL, TX 75087                         HOUSTON, TX 77025
VICTOR GARCIA          Case 18-12241-CSS
                                      VICTORDoc 26 Filed 10/05/18
                                            GONZALEZ                PageVICTOR
                                                                         1651 GREEN
                                                                               of 1739
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




VICTOR HERNANDEZ                      VICTOR HUNDLEY                    VICTOR J SCHULMAN TRUST
10201 S. MAIN STREET                  10201 S. MAIN STREET              FIRST AMERICAN TRUST FSB
HOUSTON, TX 77025                     HOUSTON, TX 77025                 5 FIRST AMERICAN WAY 4TH FL MS 3
                                                                        SANTA ANA, CA 92707




VICTOR L ALSTON JR                    VICTOR LAU                        VICTOR LUCAS
109 1/2 E 19TH AVE                    10201 S. MAIN STREET              10201 S. MAIN STREET
MUNHALL, PA 15120                     HOUSTON, TX 77025                 HOUSTON, TX 77025




VICTOR M CARDENAL                     VICTOR MASSANELLI                 VICTOR MUNOZ
                                      10201 S. MAIN STREET              527 PHINNEY AVE
                                      HOUSTON, TX 77025                 DALLAS, TX 75211




VICTOR PEREZ                          VICTOR RIOS                       VICTOR RODRIGUEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




VICTOR ROSALES                        VICTOR STEPHENS                   VICTOR URBAEZ
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




VICTOR VARUGHESE                      VICTOR VENEGAS                    VICTOR VILLASENOR
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025




VICTOR WILKINS                        VICTOR ZAPATA                     VICTORIA ALDEN
10201 S. MAIN STREET                  10201 S. MAIN STREET              5 BEACON PARK DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                 EAST PROVIDENCE, RI 02915




VICTORIA BENOIT                       VICTORIA BILLINGS                 VICTORIA BOWEN
4550 47TH ST W 1611                   563 HOWELL AVE APT B              8621 N MOUNT TABOR RD
BRADENTON, FL 34210                   MUSKEGON, MI 49444                ELLETTSVILLE, IN 47429




VICTORIA BREEN                        VICTORIA DARNELL                  VICTORIA DOHENEY
10201 S. MAIN STREET                  10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                 HOUSTON, TX 77025
VICTORIA EYOMA          Case 18-12241-CSS    Doc
                                       VICTORIA    26
                                                KRUSE     Filed 10/05/18   PageVICTORIA
                                                                                1652 ofLEE
                                                                                        1739
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




VICTORIA LUTT                           VICTORIA MARLIN                        VICTORIA MILLS
10201 S. MAIN STREET                    10201 S. MAIN STREET                   11303 MARBERN RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HAGERSTOWN, MD 21740




VICTORIA NUNNELLEY                      VICTORIA PALMER                        VICTORIA POLLENDINE
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




VICTORIA POPE                           VICTORIA RICHARD LLC                   VICTORIA SEYMOUR
10201 S. MAIN STREET                    ATTN: RICHARD HIMMELSTEIN              10201 S. MAIN STREET
HOUSTON, TX 77025                       PO BOX 8946                            HOUSTON, TX 77025
                                        BRECKENRIDGE, CO 80424




VICTORIA SEYMOUR                        VICTORIA SINGH                         VICTORIA STEWART
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




VICTORIA TRUSSELL                       VICTORIA WARNER                        VICTORIA WELER
3208 BRADFORD PEAR DR                   10201 S. MAIN STREET                   7709 W 36 AVE UNIT 41
BUFORD, GA 30519                        HOUSTON, TX 77025                      HIALEAH, FL 33018




VICTORY DESIGNS                         VICTORY LIGHTING SERVICES              VICTORY PACKAGING LP
4500 WILLIAMS DR                        PO BOX 542555                          3555 TIMMONS LN STE 1400
STE 212 PMB 421                         DALLAS, TX 75354                       HOUSTON, TX 77027
GEORGETOWN, TX 78633




VICTORY PACKAGING LP                    VICTORY TAILGATE                       VIDA BOATENG
FILE 50538                              2437 E LANDSTREET RD                   10201 S. MAIN STREET
LOS ANGELES, CA 90074-0538              ORLANDO, FL 32824                      HOUSTON, TX 77025




VIDAL HERNANDEZ                         VIENNA SHOPPING CENTER LP              VIGIL, LENING
10201 S. MAIN STREET                    C/O RAPPAPORT                          1300 GARVIN AVE APT A
HOUSTON, TX 77025                       8405 GREENSBORO DR 8TH FL              RICHMOND, CA 94801-2322
                                        MCLEAN, VA 22102




VIGO                                    VIJAYALAKSHMI NYAYAPATHI               VIKING LABS
ATTN: PROPERTY TAX DEPT.                10201 S. MAIN STREET                   5200 KELLER SPRINGS RD STE 1430
PO BOX 1466                             HOUSTON, TX 77025                      DALLAS, TX 75248
INDIANAPOLIS, IN 46206-1466
                     Case
VIKTOR GUERRERO OLIVARES       18-12241-CSS
                                         VILLAGEDoc  26 LAKE
                                                 AT TOTEM Filed 10/05/18
                                                              LLC              PageVILLAGE
                                                                                    1653 of  1739
                                                                                           COMMERCIAL, LLC
10201 S. MAIN STREET                      1600 E FRANKLIN AVE                       ATTN: ROBERT G. JOHNSON
HOUSTON, TX 77025                         EL SEGUNDO, CA 90245                      30050 SW TOWN CENTER LOOP WEST,
                                                                                    SUITE 200
                                                                                    WILSONVILLE, OR 97070



VILLAGE COMMERCIAL, LLC                   VILLAGE CROSSROADS 1665, LLC              VILLAGE CROSSROADS 1665, LLC
PO BOX 398422                             C/O KIMCO REALTY CORPORATION              DEPT. CODE SAZP 1665
SAN FRANCISCO, CA 94139-8422              3333 NEW HYDE PARK ROAD, SUITE 100        P.O. BOX 82565
                                          NEW HYDE PARK, NY 11042                   GOLETA, CA 93118-2565




VILLAGE OF ADDISON                        VILLAGE OF ADDISON                        VILLAGE OF ADDISON
1 FRIENDSHIP PLAZA                        1 FRIENDSHIP PLAZA                        P.O. BOX 4794
ADDISON, IL 60101                         ADDISON, IL 60101-2786                    CAROL STREAM, IL 60197




VILLAGE OF ADDISON                        VILLAGE OF ALGONQUIN                      VILLAGE OF ALGONQUIN
PUBLIC WORKS DEPT                         P.O. BOX 7369                             PUBLIC WORKS FACILITY
1491 JEFFREY DR                           ALGONQUIN, IL 60102-7369                  110 MEYER DR
ADDISON, IL 60101                                                                   ALGONQUIN, IL 60102




VILLAGE OF ARLINGTON HEIGHTS              VILLAGE OF BANNOCKBURN                    VILLAGE OF BARBOURSVILLE
33 S ARLINGTON HEIGHTS RD                 2275 TELEGRAPH RD                         PO BOX 266
ARLINGTON HEIGHTS, IL 60005               BANNOCKBURN, IL 60015                     BARBOURSVILLE, WV 25504




VILLAGE OF BLOOMINGDALE                   VILLAGE OF BOLINGBROOK                    VILLAGE OF BRADLEY LICENSE &
201 S BLOOMINGDALE RD                     375 W BRIARCLIFF RD                       REGISTRATION
BLOOMINGDALE, IL 60108                    BOLINGBROOK, IL 60440                     111 N MICHIGAN AVE
                                                                                    BRADLEY, IL 60915




VILLAGE OF BRADLEY SEWER DEPARTMENT       VILLAGE OF BRADLEY                        VILLAGE OF BRIDGEVIEW
147 S MICHIGAN                            147 S MICHIGAN AVE                        7500 S OKETO AVE
BRADLEY, IL 60915                         BRADLEY, IL 60915                         BRIDGEVIEW, IL 60455




VILLAGE OF BROADVIEW                      VILLAGE OF CAROL STREAM                   VILLAGE OF CHICAGO RIDGE
2350 S 25TH AVE                           500 N GARY AVE                            10455 S RIDGELAND AVE
BROADVIEW, IL 60155                       CAROL STREAM, IL 60188-1899               CHICAGO RIDGE, IL 60415




VILLAGE OF CRESTWOOD                      VILLAGE OF CRESTWOOD                      VILLAGE OF DEERFIELD
13840 S CICERO AVE                        13840 S CICERO AVE                        850 WAUKEGAN RD
CRESTWOOD, IL 60418                       MIDLOTHIAN, IL 60445                      DEERFIELD, IL 60015-3206




VILLAGE OF DEERFIELD                      VILLAGE OF DOWNERS GROVE                  VILLAGE OF DOWNERS GROVE
PUBLIC WORKS                              801 BURLINGTON AVE                        DOWNERS GROVE SANITARY DISTRICT
465 ELM ST                                DOWNERS GROVE, IL 60515                   2710 CURTISS ST, PO BOX 1412
DEERFIELD, IL 60015                                                                 DOWNERS GROVE, IL 60515-0703
                      Case
VILLAGE OF DOWNERS GROVE     18-12241-CSS
                                       VILLAGEDoc  26 FiledPARK
                                               OF EVERGREEN  10/05/18        PageVILLAGE
                                                                                  1654 ofOF 1739
                                                                                            EVERGREEN PARK
PUBLIC WORKS                            9418 S KEDZIE AVE                         VILLAGE CLERKS OFFICE
5101 WALNUT AVE                         EVERGREEN PARK, IL 30805-2324             9418 S KEDZIE AVE
DOWNERS GROVE, IL 60501-5                                                         EVERGREEN PARK, IL 60805




VILLAGE OF FISHKILL                     VILLAGE OF FOREST PARK                    VILLAGE OF FRANKFORT BUSINESS
1095 MAIN STREET                        517 DESPLAINES AVE                        LICENSING
FISHKILL, NY 12524                      FOREST PARK, IL 60130                     432 W NEBRASKA ST
                                                                                  FRANKFORT, IL 60423




VILLAGE OF GLEN CARBON                  VILLAGE OF GLEN CARBON                    VILLAGE OF GLEN ELLYN
P.O. BOX 757                            PUBLIC WORKS DEPT                         535 DUANE ST
GLEN CARBON, IL 62034                   151 N MAIN ST                             GLEN ELLYN, IL 60137
                                        GLEN CARBON, IL 62034




VILLAGE OF GLENVIEW                     VILLAGE OF GLENVIEW                       VILLAGE OF GURNEE
2500 EAST LAKE AVENUE                   PUBLIC WORKS DEPT                         325 N OPLAINE RD
GLENVIEW, IL 60026-2600                 2498 EAST LAKE AVE                        GURNEE, IL 60031
                                        GLENVIEW, IL 60026-2600




VILLAGE OF HANOVER PARK                 VILLAGE OF HANOVER PARK                   VILLAGE OF HARWOOD HEIGHTS
2121 W LAKE ST                          PO BOX 6218                               7300 W WILSON AVE
HANOVER PARK, IL 60133                  CAROL STREAM, IL 60197-6218               HARWOOD HEIGHTS, IL 60706




VILLAGE OF HILLSIDE                     VILLAGE OF HILLSIDE                       VILLAGE OF HODGKINS
425 HILLSIDE AVE                        PUBLIC WORKS DEPT                         8990 LYONS STREET
HILLSIDE, IL 60162                      4151 MAY ST                               HODGKINS, IL 60525
                                        HILLSIDE, IL 60162




VILLAGE OF HOFFMAN ESTATES              VILLAGE OF HOFFMAN ESTATES                VILLAGE OF HOFFMAN ESTATES
1900 HASSEL ROAD                        19900 HASSELL RD                          411 W HIGGINS RD
HOFFMAN ESTATES, IL 60169               HOFFMAN ESTATES, IL 60169                 HOFFMAN ESTATES, IL 60169




VILLAGE OF HOFFMAN ESTATES              VILLAGE OF HOLLAND INCOME TAX DEPT        VILLAGE OF HOMER GLEN
PUBLIC WORKS - WATER/SEWER              1245 CLARION AVE                          14933 S FOUNDERS CROSSING
ATTN HAILENG XIAO                       HOLLAND, OH 43528-8330                    HOMER GLEN, IL 60491
2305 PEMBROKE DR
HOFFMAN ESTATES, IL 60169



VILLAGE OF HOMEWOOD                     VILLAGE OF HOMEWOOD                       VILLAGE OF HUNTLEY
2020 CHESTNUT                           PUBLIC WORKS                              DEVELOPMENT SERVICES DEPT
HOMEWOOD, IL 60430                      17755 S ASHLAND AVE                       10987 MAIN ST
                                        HOMEWOOD, IL 60430                        HUNTLEY, IL 60142




VILLAGE OF HUNTLEY                      VILLAGE OF ITASCA                         VILLAGE OF KILDEER
PUBLIC WORKS & ENGINEERING              550 W IRVING PARK RD                      21911 QUENTIN ROAD
11000 BAKLEY ST                         ITASCA, IL 60143-2018                     KILDEER, IL 60047
HUNTLEY, IL 60142
                      Case 18-12241-CSS
VILLAGE OF KOHLER TREASURER          VILLAGEDoc   26
                                              OF LA    Filed
                                                    GRANGE     10/05/18   PageVILLAGE
                                                                               1655 ofOF 1739
                                                                                         LAKE BLUFF
319 HIGHLAND DR                      53 S LA GRANGE RD                         40 E. CENTER AVE.
KOHLER, WI 53044-1513                LA GRANGE, IL 60525                       LAKE BLUFF, IL 60044




VILLAGE OF LAKE BLUFF                 VILLAGE OF LAKE ZURICH                   VILLAGE OF LAKE ZURICH
PUBLIC WORKS DEPT                     70 EAST MAIN STREET                      PUBLIC WORKS
640 ROCKLAND RD                       LAKE ZURICH, IL 60047-4216               505 TELSER RD
LAKE BLUFF, IL 60044                                                           LAKE ZURICH, IL 60047




VILLAGE OF LAKEMOOR                   VILLAGE OF LOMBARD                       VILLAGE OF LOMBARD
PO BOX 66270                          P.O. BOX 5610                            PUBLIC WORKS ADMINISTATION
CHICAGO, IL 60666                     CAROL STREAM, IL 60197-5610              1051 S HAMMERSCHMIDT
                                                                               LOMBARD, IL 60148




VILLAGE OF MATTESON                   VILLAGE OF MELROSE PARK                  VILLAGE OF MELROSE PARK
4900 VILLAGE COMMONS                  1000 N 25TH AVE                          P.O. BOX 1506
MATTESON, IL 60443-2666               MELROSE PARK, IL 60160                   MELROSE PARK, IL 60161-1506




VILLAGE OF MONTGOMERY                 VILLAGE OF MONTGOMERY                    VILLAGE OF MORTON GROVE
200 N RIVER ST                        PUBLIC WORKS DEPT                        6101 CAPULINA AVE
MONTGOMERY, IL 60538-1317             891 KNELL RD                             MORTON GROVE, IL 60053
                                      MONTOGOMERY, IL 60538




VILLAGE OF MOUNT PROSPECT             VILLAGE OF MOUNT PROSPECT                VILLAGE OF MOUNT PROSPECT
50 S EMERSON ST                       P.O. BOX 4297                            PUBLIC WORKS DEPT
MOUNT PROSPECT, IL 60056              CAROL STREAM, IL 60197-4297              1700 W CENTRAL RD
                                                                               CAROL STREAM, IL 60197




VILLAGE OF MUNDELEIN                  VILLAGE OF MUNDELEIN                     VILLAGE OF NEW LENNOX
300 PLAZA CIRCLE                      PUBLIC WORKS/ENGINEERING                 1 VETERANS PARKWAY
MUNDELEIN, IL 60060                   440 E CRYSTAL ST                         NEW LENOX, IL 60451
                                      MUNDELEIN, IL 60060




VILLAGE OF NILES                      VILLAGE OF NILES                         VILLAGE OF NORRIDGE WATER DEPT
1000 CIVIC CENTER DRIVE               PUBLIC WORKS                             4000 N OLCOTT AVE
NILES, IL 60714                       6849 W TOUHY AVE                         NORRIDGE, IL 60706
                                      NILES, IL 60714




VILLAGE OF NORRIDGE                   VILLAGE OF NORTH AURORA                  VILLAGE OF NORTH FOND DU LAC
4000 N OLCOTT AVE                     25 E STATE ST                            16 GARFIELD ST.
NORRIDGE, IL 60706                    NORTH AURORA, IL 60542                   NORTH FOND DU LAC, WI 54937




VILLAGE OF NORTH PALM BEACH           VILLAGE OF NORTHBROOK                    VILLAGE OF OAK BROOK
ATTN: BUSINESS TAX RECEIPTS           1225 CEDAR LN                            26018 NETWORK PLACE
420 US HIGHWAY 1 STE 21               NORTHBROOK, IL 60062                     CHICAGO, IL 60673-1260
NORTH PALM BEACH, FL 33408
                       Case
VILLAGE OF OAK LAWN WATER    18-12241-CSS
                          DIVISION     VILLAGEDoc  26LAWN
                                               OF OAK     Filed   10/05/18   PageVILLAGE
                                                                                  1656 ofOF 1739
                                                                                            OAK LAWN
P.O. BOX 88014                         9446 S RAYMOND AVE                         PUBLIC WORKS DEPT
CHICAGO, IL 60680-1014                 OAK LAWN, IL 60453                         5532 W 98TH ST
                                                                                  OAK LAWN, IL 60453




VILLAGE OF OAK PARK                     VILLAGE OF ORLAND PARK                    VILLAGE OF ORLAND PARK
123 MADISON ST                          14700 RAVINIA AVE                         P.O.BOX 74713
OAK PARK, IL 60302-4272                 ORLAND PARK, IL 60462                     CHICAGO, IL 60694-4713




VILLAGE OF ORLAND PARK                  VILLAGE OF OSSINING WATER FUND            VILLAGE OF OSSINING WATER FUND
PUBLIC WORKS DEPT                       16 CROTON AVE, 2ND FL                     P.O. BOX 5084
15655 RAVINIA AVE                       OSSINING, NY 10562                        WHITE PLAINS, NY 10602-5084
ORLAND PAKR, IL 60462




VILLAGE OF OSWEGO                       VILLAGE OF OSWEGO                         VILLAGE OF PALATINE
100 PARKERS MILL                        PUBLIC WORKS DEPT                         200 E WOOD ST
OSWEGO, IL 60543                        100 THEODORE DR                           PALATINE, IL 60067
                                        OSWEGO, IL 60543




VILLAGE OF PALATINE                     VILLAGE OF PALMETTO BAY                   VILLAGE OF PINECREST
DEPT OF PUBLIC WORKS                    9705 E HIBISCUS ST                        12645 PINECREST PARKWAY
148 W ILLINOIS AVE                      PALMETTO BAY, FL 33157                    PINECREST, FL 33156
PALATINE, IL 60067




VILLAGE OF PINECREST                    VILLAGE OF PLAINFIELD                     VILLAGE OF PLEASANT PRAIRIE TREASURER
12645 PINECREST PKWY                    ATTN: BUILDING DEPT                       9915 39TH AVENUE
PINECREST, FL 33156                     14400 S COIL PLUS DR                      PLEASANT PRAIRIE, WI 53158
                                        PLAINFIELD, IL 60544




VILLAGE OF PLEASANT PRAIRIE             VILLAGE OF PLEASANT PRAIRIE               VILLAGE OF PLOVER
ATTN: PROPERTY TAX DEPT.                COMMUNITY DEVELOPMENT DEPT.               P.O. BOX 37
9915 39TH AVENUE                        9915 39TH AVE.                            PLOVER, WI 54467
PLEASANT PRAIRIE, WI 53158              PLEASANT PRAIRIE, WI 53158




VILLAGE OF PLOVER                       VILLAGE OF PLOVER                         VILLAGE OF RIDGEWOOD
WASTE WATER DEPT                        WATER SYSTEMS DEPT                        BUREAU OF FIRE PREVENTION
4496 COOLIDGE AVE                       300 WATER WAY                             201 EAST GLEN AVE
PLOVER, WI 54467                        PLOVER, WI 54467                          RIDGEWOOD, NJ 07450




VILLAGE OF ROCKVILLE CENTRE             VILLAGE OF ROCKVILLE CENTRE               VILLAGE OF ROMEOVILLE
P.O. BOX 950 1 COLLEGE PLACE            WATER DEPT                                ACCOUNTS RECEIVABLE
ROCKVILLE CENTRE, NY 11571-0950         142 MAPLE AVE                             1050 W ROMEO RD
                                        ROCKVILLE CENTRE, NY 11570                ROMEOVILLE, IL 60446




VILLAGE OF ROMEOVILLE                   VILLAGE OF ROMEOVILLE                     VILLAGE OF ROUND LAKE BEACH
COMMUNITY DEVELOPMENT                   PUBLIC WORKS DEPT                         1937 MUNICIPAL WAY
1050 W ROMEO RD                         615 ANDERSON DR                           ROUND LAKE BEACH, IL 60073
ROMEOVILLE, IL 60446                    ROMEOVILLE, IL 60446
                      Case
VILLAGE OF ROYAL PALM BEACH   18-12241-CSS
                                        VILLAGEDoc  26 Filed 10/05/18
                                                OF SCHAUMBURG                  PageVILLAGE
                                                                                    1657 ofOF 1739
                                                                                              SCHAUMBURG
1050 ROYAL PALM BEACH BLVD               101 SCHAUMBURG CT                          ENGINEERING & PUBLIC WORKS DEPT
ROYAL PALM BEACH, FL 33411               SCHAUMBURG, IL 60193                       714 S PLUM GROVE RD
                                                                                    SCHAUMBURG, IL 60193-1899




VILLAGE OF SCHAUMBURG                    VILLAGE OF SHOREWOOD                       VILLAGE OF SKOKIE
P.O. BOX 88092                           COMMUNITY DEVELOPMENT DEPT                 5127 OAKTON ST
CHICAGO, IL 60680-1092                   ONE TOWNE CENTER BLVD                      SKOKIE, IL 60077
                                         SHOREWOOD, IL 60404




VILLAGE OF SKOKIE                        VILLAGE OF SKOKIE                          VILLAGE OF SOUTH ELGIN
P.O. BOX 309                             PUBLIC WORKS DEPT                          10 N WATER ST
SKOKIE, IL 60076-0309                    9050 GROSS POINT RD                        SOUTH ELGIN, IL 60177
                                         SKOKIE, IL 60077




VILLAGE OF SOUTH ELGIN                   VILLAGE OF SOUTH ELGIN                     VILLAGE OF SOUTH ELGIN
10 N WATER ST                            10 N WATER ST                              DEPT OF PUBLIC WORKS
SOUTH ELGIN, IL 60177-1602               SOUTH ELGIN, IL 60177-1695                 1000 BOWES RD
                                                                                    SOUTH ELGIN, IL 60177




VILLAGE OF SOUTH LEBANON OH INCOME       VILLAGE OF THE BRANCH JUSTICE COURT        VILLAGE OF THE BRANCH
TAX DEPT                                 PO BOX 725                                 PO BOX 725
P.O. BOX 40                              SMITHTOWN, NY 11787                        SMITHTOWN, NY 11787
SOUTH LEBANON, OH 45065-0040




VILLAGE OF TINLEY PARK                   VILLAGE OF TINLEY PARK                     VILLAGE OF TINLEY PARK
16250 S OAK PARK AVE                     16250 S OAK PARK AVE                       PUBLIC WORKS DEPT
TINLEY PARK, IL 60477                    TINLEY PARK, IL 60477-1628                 7980 W 183RD ST
                                                                                    TINLEY PARK, IL 60477




VILLAGE OF VALLEY STREAM                 VILLAGE OF VERNON HILLS                    VILLAGE OF WELLINGTON
123 S CENTRAL AVE                        290 EVERGREEN DR                           P.O. BOX 31632
VALLEY STREAM, NY 11582                  VERNON HILLS, IL 60061                     TAMPA, FL 33631-3632




VILLAGE OF WEST CHESTER                  VILLAGE OF WEST HAVERSTRAW                 VILLAGE OF WEST MILWAUKEE
INCOME TAX DEPT                          130 SAMSONDALE AVE                         4755 W BELOIT RD
701 WESSEL DR                            WEST HAVERSTRAW, NY 10993                  WEST MILWAUKEE, WI 53214
FAIRFIELD, OH 45014-3611




VILLAGE OF WEST MILWAUKEE                VILLAGE OF WESTCHESTER                     VILLAGE OF WILLOWBROOK
INSPECTION SRVS DEPT                     10300 ROOSEVELT RD                         VILLAGE HALL
4755 W BELOIT RD                         WESTCHESTER, IL 60154                      835 MIDWAY DR
MILWAUKEE, WI 53214                                                                 WILLOWBROOK, IL 60527-5594




VILLAGE OF WILMETTE                      VILLAGE OF WILMETTE                        VILLAGE OF WILMETTE
1200 WILMETTE                            PO BOX 6176                                WATER MANAGEMENT DEPT
WILMETTE, IL 60091-0040                  CAROL STREAM, IL 60197-6176                200 LAKE AVE
                                                                                    WILMETTE, IL 60091
VILLAGE OF WOODRIDGE   Case 18-12241-CSS
                                      VILLAGEDoc
                                              PARK26
                                                   PLAZAFiled
                                                         LLC 10/05/18   PageVILLAGE
                                                                             1658 of  1739
                                                                                    PARK PLAZA LLC
5 PLAZA DRIVE                           1735 PAYSPHERE CIRCLE                ATTN: EXECUTIVE VICE PRESIDENT -
WOODRIDGE, IL 60517                     CHICAGO, IL 60674                    LEASING
                                                                             225 WEST WASHINGTON STREET
                                                                             INDIANAPOLIS, IN 46204



VILLAGE PARK PLAZA LLC                  VILLAGE POINTE INVESTORS LP          VILLAGE POINTE INVESTORS LP
ATTN: MANAGING ATTORNEY - LEGAL         1100 NW LOOP 410 STE 750             PO BOX 5908
LEASING                                 SAN ANTONIO, TX 78213                SAN ANTONIO, TX 78201
225 WEST WASHINGTON STREET
INDIANAPOLIS, IN 46204



VILLAGE SQUARE RETAIL CENTER LLC        VILLAGES OF AMELIA LLC               VILLAGES OF AMELIA, LLC
745 ELA RD                              1 SLEIMAN PKWY STE 250               ATTN: CHIEF OPERATING OFFICER
LAKE ZURICH, IL 60047                   JACKSONVILLE, FL 32216               1 SLEIMAN PARKWAY, SUITE 220
                                                                             JACKSONVILLE, FL 32216




VILLALBA DELIVERY                       VILLAR MARYJANE E                    VILLIAGE OF ASHWAUBENON
417 LUCILLE ST                          22420 OCEAN AVE APT 12               2155 HOLMGREN WAY
IRVING, TX 75060                        TORRANCE, CA 90505                   ASHWAUBENON, WI 54304




VINCE AMATANGELO                        VINCE BERARDI                        VINCE DINELLO III
10201 S. MAIN STREET                    10201 S. MAIN STREET                 833 SCHOOLHOUSE RD
HOUSTON, TX 77025                       HOUSTON, TX 77025                    NEW LENOX, IL 60455




VINCE GORDON                            VINCE GORE                           VINCE JOHNSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




VINCE MOHAWK                            VINCE RINCON                         VINCE ROJAS
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




VINCE SCOTT                             VINCE STEWART                        VINCE VEGA
10201 S. MAIN STREET                    1606 BEAU RIVAGE                     10201 S. MAIN STREET
HOUSTON, TX 77025                       CONROE, TX 77304                     HOUSTON, TX 77025




VINCE VERCILLO                          VINCE WALDO                          VINCENT BARNETT
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




VINCENT BLYDEN                          VINCENT CAMPBELL                     VINCENT CARTER
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025
VINCENT CAVALLARO      Case 18-12241-CSS    Doc
                                      VINCENT    26
                                              COSTA      Filed 10/05/18   PageVINCENT
                                                                               1659 of  1739
                                                                                      CURRAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




VINCENT DELANEY                        VINCENT DELGADO                        VINCENT DINELLO
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




VINCENT DORCH                          VINCENT DORCH                          VINCENT GATHERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   5309 KIRSHTEIN ST
HOUSTON, TX 77025                      HOUSTON, TX 77025                      N CHARLESTON, SC 29418




VINCENT GRASSANO                       VINCENT HART                           VINCENT HUSBAND
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




VINCENT KETHEN                         VINCENT LOMBARDI                       VINCENT LOPEZ SERAFINO JENEVEIN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   1601 ELM ST STE 4100
HOUSTON, TX 77025                      HOUSTON, TX 77025                      DALLAS, TX 75201




VINCENT NIBLACK                        VINCENT ORIARTE                        VINCENT RENTERIA
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




VINCENT SANCHEZ                        VINCENT SCALES                         VINCENT SCOTT
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




VINCENT TRAN                           VINCENT VALENTINE                      VINCENT VERSTRAETE
13022 MOSSY RIDGE COVE                 10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77041                      HOUSTON, TX 77025                      HOUSTON, TX 77025




VINCENT WHITAKER                       VINCENT YAZURLO                        VINCENZA, LLC
10201 S. MAIN STREET                   10201 S. MAIN STREET                   C/O INTERWEST DISTRIB CORP
HOUSTON, TX 77025                      HOUSTON, TX 77025                      15570 N. 83RD WAY
                                                                              SCOTTSDALE, AZ 85260




VINCENZA, LLC                          VINE GROUP INC                         VINEET DUBEY
MARK ZAVRAS                            1061 EASTSHORE HIGHWAY STE 204         C/O CD LAWYERS
15570 N. 83RD WAY                      BERKELEY, CA 94710                     448 S. HILL ST., SUITE 615
SCOTTSDALE, AZ 85260                                                          LOS ANGELES, CA 90013
VINELAND FIRE PREVENTIONCase 18-12241-CSS
                          BUREAU       VINEYARDDoc  26MARKETPLACE
                                                 VIEW    Filed 10/05/18
                                                                  LLC         PageVINEYARD
                                                                                   1660 ofVILLAGE
                                                                                           1739 MSV LLC
640 E WOOD ST                          52 E VINEYARD DR                           40 SKOKIE BLVD STE 610
PO BOX 1508                            PASCO, WA 99301                            NORTHBROOK, IL 60062
VINELAND, NJ 08362-1508




VINEYARD VILLAGE MSV LLC               VINEYARD VILLAGE MSV LLC                   VINNY LIOTTA
P.O. BOX 95724                         PO BOX 95724                               10201 S. MAIN STREET
LAS VEGAS, NV 89193-5724               LAS VEGAS, NV 89193-5724                   HOUSTON, TX 77025




VINOD KEWALRAMANI                      VINTAGE LAW LLC                            VINTAGE LAW LLC
10201 S. MAIN STREET                   1417 BEAUMONT DR                           6 COULTER AVE STE 1000
HOUSTON, TX 77025                      GLADWYNE, PA 19035                         ARDMORE, PA 19003




VINTAGE PAD DEVELOPMENT, LLC           VINTAGE PAD DEVELOPMENT, LLC               VINTRICE CARERO
5850 SAN FELIPE STE 490                5850 SAN FELIPE                            10201 S. MAIN STREET
HOUSTON, TX 77057                      HOUSTON, TX 77057                          HOUSTON, TX 77025




VIOLET LYNCH                           VIRBY LLC                                  VIRGIL LUCKETT
10201 S. MAIN STREET                   CO DRUCKER FALK LLC ATTN EMIL GODUTI       10201 S. MAIN STREET
HOUSTON, TX 77025                      11824 FISHING POINT DRIVE                  HOUSTON, TX 77025
                                       NEWPORT NEWS, VA 23606




VIRGIL SANDERS                         VIRGIL WALLACE                             VIRGIL WILLIAMSON
10201 S. MAIN STREET                   175001 WEST BYRON ROAD                     10201 S. MAIN STREET
HOUSTON, TX 77025                      PROSSER, WA 99350                          HOUSTON, TX 77025




VIRGINIA AGUILAR                       VIRGINIA AMERICAN WATER                    VIRGINIA AMERICAN WATER
10201 S. MAIN STREET                   2223 DUKE ST                               P.O. BOX 790247
HOUSTON, TX 77025                      ALEXANDRIA, VA 22314                       ST LOUIS, MO 63179-0247




VIRGINIA AVENUE LLC                    VIRGINIA BETHUNE                           VIRGINIA CITY OF WINCHESTER
C/O COLLETT & ASSOCIATES               10201 S. MAIN STREET                       ATTN: PROPERTY TAX DEPT.
PO BOX 36799                           HOUSTON, TX 77025                          PO BOX 546
CHARLOTTE, NC 28236-6799                                                          WINCHESTER, VA 22604




VIRGINIA CREDIT UNION INC              VIRGINIA CREDIT UNION INC                  VIRGINIA DEPARTMENT OF HEALTH
7500 BOULDERVIEW DR                    RICHMOND GENERAL DISTRICT COURT-CIVIL      109 GOVERNOR STREET ROOM 521
RICHMOND, VA 23225                     400 NORTH 9TH ST STE 2013                  RICHMOND, VA 23219
                                       RICHMOND, VA 23219-1546




VIRGINIA DEPARTMENT OF TAXATION        VIRGINIA DEPT OF MOTOR VEHICLES            VIRGINIA DEPT OF TAXATION
ATTN: SALES & USE TAX DEPT.            P.O. BOX 27412                             1957 WESTMORELAND STREET
PO BOX 1777                            RICHMOND, VA 23269-0001                    RICHMOND, VA 23230
RICHMOND, VA 23218-1777
                       Case
VIRGINIA DEPT OF TAXATION       18-12241-CSS     Doc
                                          VIRGINIA    26
                                                   DEPT     Filed 10/05/18
                                                        OF TAXATION             PageVIRGINIA
                                                                                     1661 of   1739
                                                                                             EMPLOYMENT COMMISSION
PO BOX 1115                                 PO BOX 1777                              PO BOX 1174
RICHMOND, VA 23218-1115                     RICHMOND, VA 23218-1777                  RICHMOND, VA 23218-1174




VIRGINIA GAZETTE COMPANIES, LLC             VIRGINIA GIFT BRANDS                     VIRGINIA HANGMAN
216 IRONBOUND ROAD                          PO BOX 934101                            10201 S. MAIN STREET
WILLIAMSBURG, VA 23188                      ATLANTA, GA 31193                        HOUSTON, TX 77025




VIRGINIA INDUSTRIES L.L.C.                  VIRGINIA LODHOLZ                         VIRGINIA MILLER
PO BOX 329                                  2200 OAKWOOD DR W                        10201 S. MAIN STREET
CHESTER, NJ 07930                           FRANKLIN, TN 37064                       HOUSTON, TX 77025




VIRGINIA NATURAL GAS                        VIRGINIA NATURAL GAS                     VIRTUALCLOUDWORKS LLC DBA
544 S INDEPENDENCE BLVD                     P.O. BOX 5409                            CLOUEEZ.NET
VIRGINIA BEACH, VA 23452                    CAROL STREAM, IL 60197-5409              100 BULL ST STE 200
                                                                                     SAVANNAH, GA 31401




VISA JP MORGAN                              VISA                                     VISA-AMEGY BANK OF TEXAS BANKCARD
ATTN: CHIEF FINANCIAL OFFICER               PO BOX 31279                             CTR.
2200 ROSS AVE.                              TAMPA, FL 33631-3279
DALLAS, TX 75201




VISHAL PATEL                                VISHAL VARMA                             VISHWANAUTH BEASMONEY
10201 S. MAIN STREET                        10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                           HOUSTON, TX 77025                        HOUSTON, TX 77025




VISION BROADWAY LLC                         VISION INVESTMENT PARTNERS, LLC          VISION POINT INC
ATTN: SCOTT SHWAYDER                        40700 WOODWARD AVENUE, SUITE 125         1961 S INGALIS CT
1873 S BELLAIRE ST STE 800                  BLOOMFIELD HILLS, MI 48304               LAKEWOOD, CO 80227
DENVER, CO 80222




VISION PRODUCTION GROUP                     VISION SERVICE PLAN-(CA)                 VISIONET SYSTEMS INC
1213 A NANTUCKET DR                         PO BOX 45210                             ATTN: CHIEF FINANCIAL OFFICER
HOUSTON, TX 77057                           SAN FRANCISCO, CA 94145-5210             4 CEDARBROOK DR
                                                                                     BUILDING B
                                                                                     CRANBURY, NJ 08512-3641



VISIONWERX INVESTMENT PORP INC              VISTA EQUITIES LLC                       VISTA PROPERTIES-SIERRA VISTA, LLC
SPABERRY                                    830 S BUFFALO GROVE RD STE 106           C/O PAUL ASH MANAGEMENT COMPANY LLC
4816 52 ST SE                               BUFFALO GROVE, IL 60089                  3499 N. CAMPBELL AVE, SUITE 907
CALGAR, AB T2B 3R2                                                                   TUCSON, AZ 85719
CANADA



VISTA PROPERTY COMPANY, LLC                 VISTA RIDGE 07 A, LLC                    VISTA RIDGE 07 A, LLC
JASON HOWARD, CPM                           C/O AFC PROPERTY MANAGEMENT, INC.        C/O AFC PROPERTY MANAGEMENT, INC.
8350 N. CENTRAL EXPRESSWAY, SUITE 1750      12411 VENTURA BLVD                       12411 VENTURA BOULEVARD
DALLAS, TX 75206                            STUDIO CITY, CA 91604                    STUDIO CITY, CA 91604
VISTARAY USA INC.      Case 18-12241-CSS     Doc 26
                                      VITO ALBANO         Filed 10/05/18    PageVITO
                                                                                 1662  of 1739
                                                                                     DEPALMA
P.O. BOX 3071                          10201 S. MAIN STREET                     10201 S. MAIN STREET
DULUTH, GA 30096                       HOUSTON, TX 77025                        HOUSTON, TX 77025




VITO FAVIA                             VIVIAN GEORGE-ODIONG                     VIVIAN GONZALEZ
1250 N DEARBORN STE 22A                10201 S. MAIN STREET                     1713 N AVE R
CHICAGO, IL 60610                      HOUSTON, TX 77025                        FREEPORT, TX 77541




VIVIAN TUSO                            VIVIANA RIVERA                           VIVON LIFE
3670 PARK AVE APT 2G                   10201 S. MAIN STREET                     1951 FAIRWAY DR A
WANTAGH, NY 11793                      HOUSTON, TX 77025                        SAN LEANDRO, CA 94577




VIWY, LP                               VIWY, LP                                 VIWY, LP
C/O KRAVCO COMPANY LLC                 C/O KRAVCO COMPANY LLC                   P.O. BOX 65043
375 E ELM ST STE 100                   375 E. ELM STREET, SUITE 100             BALTIMORE, MD 21264
CONSHOHOCKEN, PA 19428                 CONSHOHOCKEN, PA 19428




VIWY, LP                               VJHC HOLDINGS, LLC & CHJV                VLADIMIR ALOUIDOR
PO BOX 65043                           DEVELOPMENT, LLC                         10201 S. MAIN STREET
BALTIMORE, MD 21264-5043               C/O MOTT & PRINCE MANAGEMENT, INC.       HOUSTON, TX 77025
                                       6 BOWERY, 6TH FLOOR
                                       NEW YORK, NY 10013



VLADIMIR BULYCHEV                      VLADIMIR DAMAS                           VLP LAW GROUP LLP
10201 S. MAIN STREET                   10201 S. MAIN STREET                     ACCOUNTING DEPT
HOUSTON, TX 77025                      HOUSTON, TX 77025                        446 OLD COUNTY RD STE 100-114
                                                                                PACIFICA, CA 94044




VNO TRU SAM RITTENBURG BLVD LLC        VOA DEVELOPMENT COMPANY LLC              VOGEL DISPOSAL SERVICE INC.
PO BOX 416383                          C/O MIDLAND ALANTIC PROPERTIES           121 BRICKYARD RD
BOSTON, MA 02241-6383                  8044 MONTGOMERY RD STE 710               MARS, PA 16046
                                       CINCINNATI, OH 45236




VOGEL DISPOSAL SERVICE INC.            VOIS INC                                 VOIT REAL ESTATE SERVICES
P.O. BOX 847                           PO BOX 14600                             4747 EXECUTIVE DRIVE, SUITE 800
MARS, PA 16046                         HOUSTON, TX 77087                        SAN DIEGO, CA 92121




VOL CATS FINANCING PARTNERS            VOLANTE INVESTMENTS LLLP                 VOLANTE INVESTMENTS LLLP
AMERICAN CENTER                        3084 E LANARK STREET                     3084 E. LANARK STREET
3100 WEST END AVENUE, SUITE 930        MERIDIAN, ID 83642                       MERIDIAN, ID 83642
ATTN: BILL SEELEY
NASHVILLE, TN 37203



VOLK COMPANY                           VOLNEY GLENN                             VOLODYMYR NAUMOV
TERRY DAHLSTROM                        10201 S. MAIN STREET                     10201 S. MAIN STREET
2730 E. BROADWAY BLVD., 200            HOUSTON, TX 77025                        HOUSTON, TX 77025
TUCSON, AZ 85716
VOLUNTEER CATS         Case     18-12241-CSS   DocPAVING
                                          VOLUNTEER 26 Filed  10/05/18
                                                         & CONCRETE             PageVOLUNTEER
                                                                                     1663 of 1739
                                                                                              PAVING & CONSTRUCTION CO
ATTN: WILLIAM SEELEY                      PO BOX 1545                                INC
1720 WEST END AVE STE 530                 POWELL, TN 37849                           PO BOX 1545
NASHVILLE, TN 37203                                                                  POWELL, TN 37849




VON A BOYENGER                            VONAGE BUSINESS                            VONAGE
PO BOX 972                                DEPT. 3151                                 23 MAIN STREET
SAINT HELENA, CA 94574                    P.O. BOX 123151                            HOLMDEL, NJ 07733
                                          DALLAS, TX 75312-3151




VONAGE                                    VONDOHLEN ENTERPRISES INC                  VONDRELL HARRIS
P.O. BOX 9001013                          DBA FISH WINDOW CLEANING                   10201 S. MAIN STREET
LOUISVILLE, KY 40290-1013                 7349-E WEST FRIENDLY AVE                   HOUSTON, TX 77025
                                          GREENSBORO, NC 27410




VONKARIUS ROBINSON                        VONNITA SLANGSTROM                         VOORHEES FIRE DISTRICT
10201 S. MAIN STREET                      10201 S. MAIN STREET                       BUREAU OF FIRE PREVENTION
HOUSTON, TX 77025                         HOUSTON, TX 77025                          2002 S BURNT MILL RD
                                                                                     VOORHEES, NJ 08043-9520




VOORHEES TOWNSHIP                         VOP LP                                     VOP LP
C/O MUNICIPAL CLERK                       2000 MCKINNEY STE 1000                     C/O CONNECTED MGMT SERVICES
2400 VOORHEES TOWN CENTER                 DALLAS, TX 75201                           PO BOX 847630
VOORHEES, NJ 08043                                                                   DALLAS, TX 75284




VORNADO NORTH BERGEN TONELLE PLAZA        VORNADO REALTY LP                          VORNADO REALTY LP
LLC                                       150 EAST 58TH STREET LLC                   DBA VNO TRU SAM RITTENBURG BLVD LLC
PO BOX 416410                             ATTN: EDITH LUCIANO150 E 58TH ST 22ND FL   210 ROUTE 4 EAST
BOSTON, MA 02241-6410                     NEW YORK, NY 10155                         PARAMUS, NJ 07652




VORTEX COLORADO INC                       VORTEX COLORADO INC                        VORTEX INDUSTRIES INC.
3198 M AIRPORT LOOP                       FILE 1525                                  FILE 1095
COSTA MESA, CA 92626                      1801 W OLYMPIC BLVD                        1801 W OLYMPIC BLVD
                                          PASADENA, CA 91199-1525                    PASADENA, CA 91199-1095




VOX AM/FM                                 VOX MOBILE INC                             VOXPOPULI INC
265 HEGEMAN AVE                           PO BOX 674699                              2725 NORTHWOODS PKWY STE A1
COLCHESTER, VT 05446                      DETROIT, MI 48267-4699                     PEACHTREE CORNERS, GA 30071




VPBH ASSOCIATES, LP                       VPBH ASSOCIATES, LP                        VPCC PIONEER, LLC
19 BRIAR HOLLOW LN                        P.O. BOX 4346                              C/O COLLETT & ASSOCIATES, LLC
HOUSTON, TX 77027                         HOUSTON, TX 77210                          P.O. BOX 36799
                                                                                     ATTN: KIM FOX
                                                                                     CHARLOTTE, NC 28236



VPCC PIONEER, LLC                         VPCC PIONEER, LLC                          VPCC PIONEER, LLC
C/O COLLETT & ASSOCIATES, LLC             C/O COLLETT CAPITAL                        PO BOX 913176
P.O. BOX 36799                            1111 METROPOLITAN AVENUE, SUITE 700        DENVER, CO 80291-2653
ATTN: KIM FOX                             CHARLOTTE, NC 28204
CHARLOTTE, NC 28236-6799
VPQCM LLC             Case     18-12241-CSS     Doc 26
                                         VQ FITZHUGH          Filed 10/05/18   PageVR
                                                                                    1664  of HOLDINGS
                                                                                      POINTE 1739 LP
ATTN: ACCOUNTING                          10201 S. MAIN STREET                     DBA THE POINTE APARTMENTS
2425 E CAMELBACK RD STE 750               HOUSTON, TX 77025                        4165 OLD DOWLEN RD
PHOENIX, AZ 85016                                                                  BEAUMONT, TX 77706




VRAJ PROPERTIES LLC                       VSC FIRE AND SECURITY INC                VSC-EE LLC
ATTN: JAYNUL DEWANI                       10343-B KINGS ACRES RD                   BROOKLINE BANK
6618 WESTON CIR E                         ASHLAND, VA 23005                        448 WASHINGTON ST
DUBLIN, OH 43016                                                                   WELLESLEY, MA 02482




VSE SALES INC                             VSTC LLC                                 VU DO
9 SURREY LN                               DEPT 2053                                10201 S. MAIN STREET
GREAT NECK, NY 11023                      PO BOX 29661                             HOUSTON, TX 77025
                                          PHOENIX, AZ 85038




VV19165, LLC                              VYLLA I LLC                              VYLLA I LLC
P.O. BOX 555                              1395 BRICKELL AVE, STE 720               C/O OLE SERVICES
ATTN: LES BIRBAUM                         MIAMI, FL 33131                          1395 BRICKELL AVE, STE 720
DIANE BIRBAUM                                                                      ATTN: FRANCISCO RUIZ, JACKIE FERREIRA
FONTANA, WI 53125                                                                  MIAMI, FL 33131



VYMAC CORPORATION                         VYTHA NGUYEN                             W & F INVESTMENTS PLAZA INVESTMENTS,
201 N MAIN STREET SUITE 5                 10201 S. MAIN STREET                     LTD.
FORT ATKINSON, WI 53538                   HOUSTON, TX 77025                        C/O WALD & FISHER, INC.
                                                                                   3311 RICHMOND ROAD, SUITE 200
                                                                                   BEACHWOOD, OH 44122



W & F PLAZA INVESTMENTS LTD               W & L REALTY VENTURE LLC                 W B CROW INVESTMENT CO INC
WALD & FISHER INC                         ATTN: STEPHEN WOLFF                      2012 6TH AVE NORTH
3311 RICHMOND RD STE 200                  11456 OLIVE BLVD STE 210                 BIRMINGHAM, AL 35203
BEACHWOOD, OH 44122                       ST LOUIS, MO 63141-7101




W HIGMAN ENTERPRISES                      W KING SATTERWHITE                       W SILVER INC
4301-A 34TH STREET NORTH                  10201 S. MAIN STREET                     PO BOX 12904
ST PETERSBURG, FL 33714                   HOUSTON, TX 77025                        EL PASO, TX 79913-0904




W&L REALTY VENTURE, LLC                   W. J. VAKOS & COMPANY                    W. W. WILLINGHAM III
ATTN: STEPHEN WOLFF                       4830 SOUTHPOINT DR                       C/O WILLINGHAM PROPERTIES COMPANY
11456 OLIVE BOULEVARD, SUITE 210          FREDERICKSBURG, VA 22407                 8525 FERNDALE ROAD, SUITE 204
ST. LOUIS, MO 63141-7101                                                           ATTN: ROSALIE BOBOWSKI
                                                                                   DALLAS, TX 75238



W.BATON ROUGE-POINTE                      W.D. NORTON                              W.T. (MINOR) BY HIS PARENTS NABIL
ATTN: PROPERTY TAX DEPT.                  1000 W COTTON ST                         THABET
PO BOX 129                                LONGVIEW, TX 75604                       AND WAHBIAH ALSAIDI
PORT ALLEN, LA 70767-0129                                                          1934 YATES AVENUE
                                                                                   BRONX, NY 10469



W/S HADLEY PROPERTIES II LLC              W/S HADLEY PROPERTIES II, LLC            W/S HADLEY PROPERTIES II, LLC
PO BOX 845007                             33 BOYLSTON STREET, SUITE 3000           ATTN: LEASE COMPLIANCE
BOSTON, MA 02284-5007                     ATTN: LEASE COMPLIANCE                   33 BOYLSTON STREET, SUITE 3000
                                          CHESTNUT HILL, MA 02467                  CHESTNUT HILL, MA 02467
W/S HADLEY PROPERTIES Case
                        LLC   18-12241-CSS    Doc
                                        W/S WARE   26 Filed
                                                 PROPERTIES OP 10/05/18
                                                               LLC          PageW_PT
                                                                                1665PRAIRIE
                                                                                      of 1739
                                                                                            STONE VII LLC
33 BOYLSTON ST STE 3000                  33 BOYLSTON ST STE 3000                 C/O PINE TREE COMMERCIAL REALTY, LLC
CHESTNUT HILL, MA 02467                  CHESTNUT HILL, MA 02467                 40 SKOKIE BOULEVARD, SUITE 610
                                                                                 ATTN: PROPERTY MANAGEMENT
                                                                                 NORTHBROOK, IL 60062



WA COLLECTORS TRICITIES                  WA DEPT OF LICENSING                    WA SHOPPES LLC
ATTN: GARNISHMENT DEPT                   KING COUNTY RECORDS & LICENSING SRVS    C/O THE SHOPPING CENTER GROUP LLC
PO BOX 742                               500 FOURTH AVE STE 401                  300 GALLERIA PKWY 12FL
PASCO, WA 99301                          SEATTLE, WA 98104-2393                  ATLANTA, GA 30339




WA STATE EMPLOYMENT SECURITY DEPT        WA STATE SUPPORT REG                    WABC TV
PO BOX 24928                             PO BOX 45868                            ATTN: WABC-808
SEATTLE, WA 98124                        OLYMPIA, WA 98504-5868                  PO BOX 732384
                                                                                 DALLAS, TX 75373-2384




WACHTER INC                              WACHTER INC                             WACHTER TECHNOLOGY SOLUTIONS
16001 W 99TH ST                          PO BOX 801711                           16001 W 99TH ST
LENEXA, KS 66219                         KANSAS CITY, MO 64180                   LENEXA, KS 66219




WACO ADVERTISING                         WACO CTM 5 LP                           WACO TRIBUNE HERALD
WACO TRIBUNE-HERALD                      105 BENGE ST                            909 FRANKLIN
PO BOX 27182                             MC KINNEY, TX 75069                     WACO, TX 76702
RICHMOND, VA 23261-7182




WACO TRIBUNE-HERALD                      WACO-FM                                 WACV-FM
PO BOX 2588                              IHEARTMEDIA                             BLUEWATER BROADCASTING CO LLC
WACO, TX 76702-2588                      PO BOX 847572                           4101 WALL STREET
                                         DALLAS, TX 75284-7572                   MONTGOMERY, AL 36106




WADE BODIFORD                            WADE MARSIL                             WADE PERSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                       HOUSTON, TX 77025




WADE PERSON                              WADE PETERSON                           WADE S LUJAN
10201 S. MAIN STREET                     4690 STALLION DR
HOUSTON, TX 77025                        GILBERT, AZ 85297




WADSWORTH ACCELERATED VENTURES           WADSWORTH DEVELOPMENT GROUP LLC         WADSWORTH DEVELOPMENT GROUP LLC
LOGAN LLC                                COLE WADSWORTH                          FAE HOLDINGS 461354R LLC
ATTN: COLE WADSWORTH                     166 EAST 14000 SOUTH, SUITE 210         166 E 14000 S STE 210
166 E 14000 SOUTH STE 210                DRAPER, UT 84020                        DRAPER, UT 84020
DRAPER, UT 84020



WADSWORTH DEVELOPMENT GROUP LLC          WADSWORTH FLAGSTAFF LLC                 WADSWORTH JORDAN CROSSING LLC
SUSAN FORBUSH                            ATTN: COLE WADSWORTH                    WADSWORTH DEVELOPMENT GROUP
166 EAST 14000 SOUTH, SUITE 210          166 EAST 14000 SOUTH STE 210            166 E 14000 S STE 210
DRAPER, UT 84020                         DRAPER, UT 84020                        DRAPER, UT 84020
WADSWORTH UTILITIES Case   18-12241-CSS    Doc 26
                                     WAFX-FM           Filed 10/05/18   PageWAGE
                                                                            1666& of 1739
                                                                                  HOUR DIVISION
120 MAPLE ST                         870 GREENBRIER CIRCLE STE 399           US DEPARTMENT OF LABOR
WADSWORTH, OH 44281-1865             CHESAPEAKE, VA 23320                    8701 S GESSNER STE 1164
                                                                             HOUSTON, TX 77074




WAGEWORKS INC                        WAGG-AM                                 WAHBIAH ALSAIDI
PO BOX 660212                        SUMMITMEDIA LLC DEPT 24098              1934 YATES AVENUE
DALLAS, TX 75266-0212                PO BOX 11407                            BRONX, NY 10469
                                     BIRMINGHAM, AL 35246-2409




WAHBIAH ALSAIDI                      WAHU                                    WAKE COUNTY NEW VEHICLE DEALERS
C/O SESKIN & ASSOCIATES              4370 PEACHTREE RD STE 400               ASSOC INC
110 EAST 59TH STREET                 ATLANTA, GA 30319                       DIXON HUGHES GOODMAN LLP
NEW YORK, NY 10022                                                           ATTN LANE MAY
                                                                             2501 BLUE RIDGE RD STE 500
                                                                             RALEIGH, NC 27607


WAKE COUNTY REVENUE DEPT             WAKE FOREST CROSSING OWNER, LLC         WAKE FOREST CROSSING OWNER, LLC
PO BOX 580084                        0329-005547                             DOUGLAS AUSTIN, DIRECTOR
CHARLOTTE, NC 28258-0084             PO BOX 95000-1152                       411 THEODORE FREMD AVENUE, SUITE 300
                                     PHILADELPHIA, PA 19195-1152             RYE, NY 10580




WAKE                                 WALD & FISHER, INC                      WALDEN 08 A LLC
ATTN: PROPERTY TAX DEPT.             3311 RICHMOND ROAD, SUITE 200           C/O GDA REAL ESTATE SRVS LLC
301 S. BROOKS ST.                    BEACHWOOD, OH 44122                     8301 E PRENTICE AVE STE 210
WAKE FOREST, NC 27587                                                        GREENWOOD VILLAGE, CO 80111




WALEED HUSSEIN                       WALI NASSERY                            WALJ-FM
10201 S. MAIN STREET                 10201 S. MAIN STREET                    DEPT 2409
HOUSTON, TX 77025                    HOUSTON, TX 77025                       SUMMIT MEDIA LLCPO BOX 11407
                                                                             BIRMINGHAM, AL 35246-2409




WALK-AM                              WALKER CLOUD                            WALKER COUNTY - JUDGE OF PROBATE
234 AIRPORT PLAZA STE 5              10201 S. MAIN STREET                    PO BOX 891
FARMINGDALE, NY 11735                HOUSTON, TX 77025                       JASPER, AL 35502




WALKER COUNTY APPRAISAL DISTRICT     WALKER EDISON FURNITURE COMPANY         WALKER LAW OFFICES LLC DBA SCOTT
TAX ASSESSOR - COLLECTOR             PO BOX 74583                            WALKER
P.O. BOX 1798                        CLEVELAND, OH 44194-4583                60 HILL ROAD SOUTH
HUNTSVILLE, TX 77342-1798                                                    PICKERINGTON, OH 43147




WALKER NOVACK LEGAL GROUP LLC        WALKER REID STRATEGIES INC              WALKER REID STRATEGIES INC
5013 PINE CREEK DR                   8401 LAKE WORTH RD STE 102-103          8401 LAKE WORTH RD STE 103
WESTERVILLE, OH 43081                LAKE WORTH, FL 33467                    LAKE WORTH, FL 33467




WALKER                               WALKERS RUN TKT LLC                     WALK-FM
ATTN: PROPERTY TAX DEPT.             C/O NORTHSTAR REALTY                    234 AIRPORT PLAZA STE 5
4243 REMEMBRANCE RD NW               150 E BROAD STREET STE 100              FARMINGDALE, NY 11735
WALKER, MI 49534                     COLUMBUS, OH 43215
                      Case
WALL TWP FIRE PREVENTION    18-12241-CSS
                         BUREAU       WALLACEDoc  26 SHOP
                                               REPAIR   Filed
                                                            INC10/05/18      PageWALLACE,
                                                                                 1667 ofJORDAN,
                                                                                          1739 RATLIFF & BRANDT, LLC
FINANCE DEPT                          21004 CLEAR CREEK RD                        ATTN: STEPHEN P. LEARA, ESQ.
1612 ROUTE 71                         BRISTOL, VA 24202                           800 SHADES CREEK PARKWAY, SUITE 400
WALL, NJ 07719                                                                    BIRMINGHAM, AL 35209




WALLID BLAKE                           WALLINGFORD ELECTRIC DIVISION              WALLINGFORD ELECTRIC DIVISION
10201 S. MAIN STREET                   100 JOHN ST                                P.O. BOX 5003
HOUSTON, TX 77025                      WALLINGFORD, CT 06492                      WALLINGFORD, CT 06492




WALLISVILLE BELTWAY 8, LTD.            WALLISVILLE BELTWAY 8, LTD.                WALLOCK INVESTORS LP DBA STEVENSON
ATTN: FRANK LIU                        C/O BAKER KATZ MGMNT LLC                   INVES
1520 OLIVER STREET                     3700 BUFFALO SPEEDWAY STE 1020             2187 NEWCASTLE AVE STE 202
HOUSTON, TX 77007                      HOUSTON, TX 77098                          CARDIFF, CA 92007




WALLS, BRANDY                          WALLY HOLBROOK                             WALLY KASHAT
7755 SO. SANGAMON                      10201 S. MAIN STREET                       10201 S. MAIN STREET
CHICAGO, IL 60620                      HOUSTON, TX 77025                          HOUSTON, TX 77025




WALLY OBRIEN                           WAL-MART STORES INC                        WALNUT CAPITAL MANAGEMENT
11 HEATHER LANE                        PO BOX 500620                              ATTN: FRED IRITI
OAK BROOK, IL 60523                    SAINT LOUIS, MO 63150-0620                 5500 WALNUT STREET, SUITE 300
                                                                                  PITTSBURGH, PA 15232




WALNUT CREEK POLICE DEPT.              WALPOLE MALL ASSOCIATES LLC                WALPOLE MALL ASSOCIATES LLC
1666 NORTH MAIN ST.                    C/O RP REALTY PARTNERS                     PO BOX 842481
WALNUT CREEK, CA 94596                 1801 S. LA CIENAGA BOULEVARD, SUITE 301    BOSTON, MA 02284-2481
                                       LOS ANGELES, CA 90035




WALR-FM                                WALTER ALBANEZ                             WALTER ANDERSON
PO BOX 83191                           10201 S. MAIN STREET                       10201 S. MAIN STREET
CHICAGO, IL 60691-0191                 HOUSTON, TX 77025                          HOUSTON, TX 77025




WALTER BROWN                           WALTER BURPEE                              WALTER DALTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025




WALTER E RAYSICK                       WALTER EWING EWING                         WALTER FULKS
10226 SPANISH BREEZE CT                10201 S. MAIN STREET                       4050 MORGAN RD APT 121
RIVERVIEW, FL 33578                    HOUSTON, TX 77025                          UNION CITY, GA 30291




WALTER GODINES ESTRADA                 WALTER HAM                                 WALTER HARRIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                          HOUSTON, TX 77025
WALTER J O BRIEN II   Case    18-12241-CSS
                                        WALTERDoc   26 IIFiled 10/05/18
                                               J O BRIEN                  PageWALTER
                                                                              1668 of  1739
                                                                                     JOHN SCHNEIDER JR
1 PLANTERS PLACE                         11 HEATHER LN                         3160A SUNRIDGE DR
BRAYS ISLAND PLANTATION                  OAK BROOK, IL 60523                   SANTA ROSA, CA 95409
SHELDON, SC 29941




WALTER LA TORRE                          WALTER MAAS                           WALTER N CLAUS JR DBA LIMITLESS DEL
10201 S. MAIN STREET                     10201 S. MAIN STREET                  SERV LLC
HOUSTON, TX 77025                        HOUSTON, TX 77025                     7320 S 71 AVE
                                                                               LA VISTA, NE 68128




WALTER NORCROSS JR.                      WALTER NUU                            WALTER REID
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




WALTER SCHUPHER MANAGEMENT OF CA         WALTER SIBLEY III                     WALTER SPRIGGS
INC                                      10201 S. MAIN STREET                  10201 S. MAIN STREET
401 BROADWAY STE 1400                    HOUSTON, TX 77025                     HOUSTON, TX 77025
NEW YORK, NY 10013




WALTER STUART                            WALTHAM                               WALTON ACQUISITION HOLDINGS VIII LLC
10201 S. MAIN STREET                     ATTN: PROPERTY TAX DEPT.              900 N MICHIGAN AVE STE 1900
HOUSTON, TX 77025                        PO BOX 540190                         CHICAGO, IL 60611
                                         WALTHAM, MA 02454-0190




WALTON COUNTY TAX COLLECTOR              WALTON EMC                            WALTON EMC
ATTN: PROPERTY TAX DEPT.                 842 HWY 78 NW                         P.O. BOX 1347
PO BOX 510                               MONROE, GA 30655                      MONROE, GA 30655-1347
DEFUNIAK SPRINGS, FL 32435-0510




WALTON GAS                               WALTON GAS                            WALTON PUBLISHING LLC DBA THE
842 HWY 78 NW                            P.O. BOX 1347                         SHEBOYGAN SUN
MONROE, GA 30655                         MONROE, GA 30655-1347                 708 A ERIE AVENUE
                                                                               SHEBOYGAN, WI 53081




WAMESIT PLACE LLC                        WAMZ-FM                               WANAMAKER YUKON LC
171 GREAT RD                             3964 COLLECTION CENTER DR             C/O MRV COMPANIES
ACTON, MA 01720                          CHICAGO, IL 60693-0039                3501 SW FAIRLAWN STE 200
                                                                               TOPEKA, KS 66614




WANDA FISHER                             WANDA MAYBANKS                        WANDA ORVIS
10201 S. MAIN STREET                     2900 LANDRUM DR 145                   10201 S. MAIN STREET
HOUSTON, TX 77025                        ATLANTA, GA 30311                     HOUSTON, TX 77025




WANDA ROSS                               WANDA THOMPSON                        WAOW WYOW TV INC DBA WAOW TV WYOW
4029 GLENMERE                            10201 S. MAIN STREET                  TV EAOW TV GAOW TV IAOW
HARVEY, LA 70058                         HOUSTON, TX 77025                     DBA WAOW TV WYOW TV EAOW TV GAOW
                                                                               TV IAOW
                                                                               P.O. BOX 1001
                                                                               QUINCY, IL 62306
WAOW WYOW TV INC     Case 18-12241-CSS    Doc 26 Filed
                                    WAPK-TV                 10/05/18   PageWAPLES
                                                                           1669 of   1739
                                                                                  MILL LLC
DBA WAOW TV WYOW TV EAOW TV GAOW    222 COMMERCE ST                         P.O. BOX 60250
TV IAOW                             KINGSPORT, TN 37660                     POTOMAC, MD 20859-0250
1908 GRAND AVENUE
WAUSAU, WI 54403



WAPL-FM                            WAQAS RAJA                               WAQY
WOODWARD COMMUNICATIONS INC        10201 S. MAIN STREET                     45 FISHER AVE
PO BOX 1519                        HOUSTON, TX 77025                        EAST LONGMEADOW, MA 01028
APPLETON, WI 54912




W-ARC FOUR SIXES, LLC              WARD J DEEDEN                            WARD MATAL
8150 LEESBURG PIKE, SUITE 1100     1539 MAYLAND STREET                      10201 S. MAIN STREET
VIENNA, VA 22182                   PHILADELPHIA, PA 19138                   HOUSTON, TX 77025




WARD PLATO                         WARDELL DURRETTE                         WARE COUNTY TAX COMMISSIONER
1234 ANGELICA ST                   10201 S. MAIN STREET                     PO BOX 1825
BOWLING GREEN, KY 42104            HOUSTON, TX 77025                        WAYCROSS, GA 31502-1825




WARE                               WAREHAM                                  WARFEL SALES & SERVICES INC
ATTN: PROPERTY TAX DEPT.           ATTN: PROPERTY TAX DEPT.                 6701 POTTSBURG DR
126 MAIN ST.                       PO BOX 981055                            JACKSONVILLE, FL 32216
WARE, MA 01082                     BOSTON, MA 02298-1055




WARH-FM                            WARMINSTER MUNICIPAL AUTH                WARMINSTER MUNICIPAL AUTH
HUBBARD RADIO ST. LOUIS LLC        415 GIBSON AVE                           P.O. BOX 2279
PO BOX 959270                      WARMINSTER, PA 18974                     WARMINSTER, PA 18974
SAINT LOUIS, MO 63195




WARNER BROS DOMESTIC TELEVISION    WARNER BROS DOMESTIC TELEVISION          WARNER/CHAPPELL MUSIC INC.
DISTRIBUTION                       DISTRIBUTION                             ATTN: TIM MEADE
4000 WARNER BLVD                   PO BOX 100128                            10585 SANTA MONICA BLVD.
BURBANK, CA 91522                  PASADENA, CA 91189                       LOS ANGELES, CA 90025-4950




WARREN CNTY SCHOOLS NET PROFIT     WARREN COUNTY OCCUPATIONAL LICENSE       WARREN COUNTY SCHOOLS
RTN FINANCE OFFICER                429 E 10TH ST                            ATTN: PROPERTY TAX DEPT.
P.O. BOX 890944                    BOWLING GREEN, KY 42101                  PO BOX 890947
CHARLOTTE, NC 28289                                                         CHARLOTTE, NC 28289-0947




WARREN COUNTY SHERIFF              WARREN COUNTY                            WARREN ELEVATOR SERVICE CO INC
P.O. BOX 807                       OCCUPATIONAL TAX OFFICE                  227 EAGLE ST
BOWLING GREEN, KY 42102-0807       QUARTERLY TAX RETURNPO BOX 890947        BROOKLYN, NY 11222
                                   CHARLOTTE, NC 28289-0947




WARREN HENDRICKS                   WARREN JOHNSON                           WARREN SMITH
10201 S. MAIN STREET               10201 S. MAIN STREET                     100 CONCORD TER
HOUSTON, TX 77025                  HOUSTON, TX 77025                        MC DONOUGH, GA 30253
                   Case 18-12241-CSS
WARREN SOUTHWEST REFRIGERATION    WARREN Doc   26 Filed
                                            STEWART       10/05/18       PageWARREN
                                                                             1670 ofTATE
                                                                                      1739
6423 CUNNINGHAM                   10201 S. MAIN STREET                       10201 S. MAIN STREET
HOUSTON, TX 77041                 HOUSTON, TX 77025                          HOUSTON, TX 77025




WARRINGTON TWP WTR SEWER DEPT      WARWICK                                   WASCO COUNTY TAX COLLECTOR
852 EASTON ROAD                    ATTN: PROPERTY TAX DEPT.                  PO BOX 6785
WARRINGTON, PA 18976               3275 POST RD                              PORTLAND, OR 97228
                                   WARWICK, RI 02886




WASCO                              WASHINGTON AUTO CARRIAGE                  WASHINGTON CAPITAL MANAGEMENT, INC.
ATTN: PROPERTY TAX DEPT.           FABRICATION AND TRUCK EQUIPMENT INC       1200 SIXTH AVENUE, SUITE 700
PO BOX 6785                        5301 E BROADWAY AVE                       SEATTLE, WA 98101
PORTLAND, OR 97228                 SPOKANE, WA 99211




WASHINGTON COUNTY ASSESSOR         WASHINGTON COUNTY CLERK                   WASHINGTON COUNTY COLLECTOR
87 N 200 E STE 201                 PO BOX 218                                ATTN: BUSINESS LICENSE DEPT.
SAINT GEORGE, UT 84770             100 MAIN ST                               280 NORTH COLLEGE SUITE 202
                                   JONESBOROUGH, TN 37659                    FAYETTEVILLE, AR 72701-4279




WASHINGTON COUNTY COLLECTOR        WASHINGTON COUNTY COLLECTOR               WASHINGTON COUNTY SHERIEFFS AL
ATTN: PROPERTY TAX DEPT.           ATTN: TAX DEPT.                           215 SW ADAMS AVENUE
PO BOX 3587                        PO BOX 3587                               HILLSBORO, OR 97123-3874
PORTLAND, OR 97208                 PORTLAND, OR 97208




WASHINGTON COUNTY TAX COLLECTOR    WASHINGTON COUNTY TREASURER               WASHINGTON COUNTY
280 NORTH COLLEGE SUITE 202        WASHINGTON COUNTY TREASURERS              PO BOX 218
FAYETTEVILLE, AR 72701-4279        OFFICE                                    JONESBOROUGH, TN 37659
                                   35 WEST WASHINGTON ST STE 102
                                   HAGERSTOWN, MD 21740-4868



WASHINGTON COUNTY                  WASHINGTON CROSSING LLC                   WASHINGTON CROSSING LLC
PROPERTY TAX PMT CTR               CNL COMMERCIAL REAL ESTATE                PO BOX 214
PO BOX 3587                        PO BOX 6230                               FAIRBURN, GA 30213
PORTLAND, OR 97208                 ORLANDO, FL 32802-6230




WASHINGTON DC DEPT OF CONSUMER     WASHINGTON DEPT OF REVENUE                WASHINGTON GAS
& REGULATORY AFFAIRS               PO BOX 47477                              101 CONSTITUTION AVE NW
CORPORATIONS DIVISION              OLYMPIA, WA 98504                         WASHINGTON, DC 20080
PO BOX 92300
WASHINGTON, DC 20090



WASHINGTON PARK PLAZA LLC          WASHINGTON PARK PLAZA LLC                 WASHINGTON PRIME GROUP LP
1449 37TH ST STE 216               PO BOX 310599                             180 E BROAD ST
BROOKLYN, NY 11218                 DES MOINES, IA 50331-0599                 COLUMBUS, OH 43215




WASHINGTON PRIME MANAGEMENT        WASHINGTON REAL ESTATE INVESTMENT         WASHINGTON REGIONAL LEGAL
ASSOCIATES, LLC                    TRUST                                     COLLECTIONS
C/O WP GLIMCHER INC.               ATTN: LEGAL DEPARTMENT                    P.O. BOX 1887
180 BROAD STREET                   1775 EYE STREET, N.W., SUITE 1000         FAYETTEVILLE, AR 72702
ATTN: PROPERTY MANAGEMENT          WASHINGTON, DC 20006
COLUMBUS, OH 43215
WASHINGTON SECRETARYCase     18-12241-CSS
                       OF STATE               Doc 26
                                       WASHINGTON         Filed COMPANY
                                                    SECURITIES  10/05/18        PageWASHINGTON
                                                                                    1671 of 1739
                                                                                               STATE DEPARTMENT OF
CORPORATION DIVISION                   C/O CLISE AGENCY, INC.                        LABOR AND INDUSTRIES
PO BOX 40234                           1700 7TH AVENUE, SUITE 1800                   525 E. COLLEGE WAY
OLYMPIA, WA 98504-0234                 SEATTLE, WA 98101                             SUITE H
                                                                                     MOUNT VERNON, WA 98273



WASHINGTON STATE DEPARTMENT OF           WASHINGTON STATE DEPT OF LABOR &            WASHINGTON STATE DEPT OF REVENUE
REVENUE                                  INDUSTRIES                                  PO BOX 47476
ATTN: SALES & USE TAX DEPT.              PO BOX 34022                                OLYMPIA, WA 98504-7476
PO BOX 47477                             SEATTLE, WA 98124-1022
OLYMPIA, WA 98504



WASHINGTON STATE DEPT OF REVENUE         WASHINGTON STATE FAIR                       WASHINGTON STATE FERRIES
PO BOX 47478                             110 9TH AVE SW                              PO BOX 3985
OLYMPIA, WA 98504-7478                   PUYALLUP, WA 98371                          SEATTLE, WA 98124-3985




WASHINGTON SUBURBAN PRESS NETWORK        WASHINGTON SUBURBAN SANITARY C              WASHINGTON TOWNSHIP CLERKS OFFICE
20 PIDGEON HILL DR STE 201               14501 SWEITZER LANE                         ATTN: BUSINESS LICENSING
STERLING, VA 20165                       LAUREL, MD 20707-5901                       PO BOX 1106
                                                                                     TURNERSVILLE, NJ 08012




WASHOE COUNTY TREASURER                  WASHREIT SHOPPERS AT FOXCHASE LLC           WASHREIT SHOPPES AT FOXCHASE LLC
ATTN: PROPERTY TAX DEPT.                 C/O WASHINGTON REAL ESTATE                  WASHINGTON RE INV. TRUST
PO BOX 30039                             INVESTMENT TRUST                            PO BOX 79555
RENO, NV 89520-3039                      1775 EYE STREET, N.W., SUITE 1000           BALTIMORE, MD 21279
                                         ATTN: OFFICE ASSET MANAGEMENT
                                         WASHINGTON, DC 20006


WASHREIT SHOPPES AT FOXCHASE LLC         WASI                                        WASIM GUL
WASHINGTON RE INV. TRUST                 2923 SUTHERLAND AVE.                        10201 S. MAIN STREET
PO BOX 79555                             KNOXVILLE, TN 37919                         HOUSTON, TX 77025
BALTIMORE, MD 21279-0555




WASSIM SAYED                             WASTE BENEFICIAL REUSE SOLUTIONS            WASTE CONNECTIONS INC
10201 S. MAIN STREET                     PO BOX 2778                                 2745 N OHIO
HOUSTON, TX 77025                        BURLINGTON, NC 27216                        WICHITA, KS 67219-4399




WASTE CONNECTIONS INC. - DISTRICT 2010   WASTE CONNECTIONS INC. - DISTRICT 2010      WASTE CONNECTIONS INC. - DISTRICT 5025
3 WATERWAY SQ PL                         P.O. BOX 60248                              12150 GARLAND RD
THE WOODLANDS, TX 77380                  LOS ANGELES, CA 90060-0248                  DALLAS, TX 75218




WASTE CONNECTIONS INC. - DISTRICT 5025   WASTE CONNECTIONS OF COLO INC - 5311        WASTE CONNECTIONS OF COLO INC - 5311
P.O. BOX 660177                          5500 FRANKLIN ST                            P.O. BOX 660177
DALLAS, TX 75266-0177                    DENVER, CO 80216                            DALLAS, TX 75266-0177




WASTE CONNECTIONS OF FLORIDA - MIAMI     WASTE CONNECTIONS OF FLORIDA - MIAMI        WASTE CONNECTIONS OF FLORIDA - PASCO
3840 NW 37TH CT                          P.O. BOX 660389                             6800 OSTEEN RD
MIAMI, FL 33142                          DALLAS, TX 75266-0389                       NEW PORT RICHEY, FL 34653
WASTE CONNECTIONS OF Case   18-12241-CSS
                      FLORIDA - PASCO WASTE Doc   26 Filed
                                             CONNECTIONS     10/05/18
                                                         OF FLORIDA -         PageWASTE
                                                                                  1672 CONNECTIONS
                                                                                        of 1739    OF FLORIDA -
P.O. BOX 660389                       PINELLAS                                     PINELLAS
DALLAS, TX 75266-0389                 11500 43RD ST N                              P.O. BOX 660389
                                      CLEARWATER, FL 33762                         DALLAS, TX 75266-0389




WASTE CONNECTIONS OF FLORIDA -           WASTE CONNECTIONS OF FLORIDA -            WASTE CONNECTIONS OF FLORIDA - TAMPA
POMPANO                                  POMPANO                                   5135 MADISON AVE
3840 NW 37TH CT                          P.O. BOX 660389                           TAMPA, FL 33619
MIAMI, FL 33142                          DALLAS, TX 75266-0389




WASTE CONNECTIONS OF FLORIDA - TAMPA     WASTE CONNECTIONS OF KS INC - DIST 5025   WASTE CONNECTIONS OF KS INC - DIST 5025
P.O. BOX 660389                          2745 N OHIO ST                            P.O. BOX 660177
DALLAS, TX 75266-0389                    WICHITA, KS 67219                         DALLAS, TX 75266-0177




WASTE CONNECTIONS OF NC - DISTRICT       WASTE CONNECTIONS OF NC - DISTRICT        WASTE CONNECTIONS OF OK - DISTRICT
6111                                     6111                                      5013
5516 ROZZELLES FERRY RD                  P.O. BOX 660177                           4625 SOUTH ROCKWELL
CHARLOTTE, NC 28214-1871                 DALLAS, TX 75266-0177                     OKLAHOMA CITY, OK 73179-6415




WASTE CONNECTIONS OF TEXAS - DIST 5120   WASTE CONNECTIONS OF TEXAS - DIST 5120    WASTE CONNECTIONS OF TEXAS
2010 WILSON RD                           P.O. BOX 660177                           HOUSTON DISTRICT 5120
HUMBLE, TX 77396                         DALLAS, TX 75266-0177                     PO BOX 660177
                                                                                   DALLAS, TX 75266-0177




WASTE CONNECTIONS OF TN - DISTRICT       WASTE CONNECTIONS OF TN - DISTRICT        WASTE CONNECTIONS OF TN - DISTRICT
6010                                     6010                                      6061
2400 CHIPMAN ST                          P.O. BOX 660177                           2400 CHIPMAN ST
KNOXVILLE, TN 37917                      DALLAS, TX 75266-0177                     KNOXVILLE, TN 37917




WASTE CONNECTIONS OF TN - DISTRICT       WASTE CONNECTIONS OF TN INC - DIST 6032   WASTE CONNECTIONS OF TN INC - DIST 6032
6061                                     2400 CHIPMAN ST                           P.O. BOX 660177
P.O. BOX 660177                          KNOXVILLE, TN 37917                       DALLAS, TX 75266-0177
DALLAS, TX 75266-0177




WASTE DISPOSAL LLC                       WASTE INDUSTRIES - CHESAPEAKE VA          WASTE INDUSTRIES - CHESAPEAKE VA
14747 N NORTHSIGHT BLVD SUITE 111-344    3821 COOK BLVD                            P.O. BOX 791519
SCOTTSDALE, AZ 85260                     CHEASAPEAKE, VA 23323                     BALTIMORE, MD 21279-1519




WASTE INDUSTRIES - CLARKSVILLE TN        WASTE INDUSTRIES - CLARKSVILLE TN         WASTE INDUSTRIES - CONWAY SC
699 JACK MILLER BLVD                     P.O. BOX 791519                           3010 HWY 378
CLARKSVILLE, TN 37042                    BALTIMORE, MD 21279-1519                  CONWAY, SC 29527




WASTE INDUSTRIES - CONWAY SC             WASTE INDUSTRIES - DURHAM NC              WASTE INDUSTRIES - DURHAM NC
P.O. BOX 791519                          148 STONE PARK COURT                      P.O. BOX 791519
BALTIMORE, MD 21279-1519                 DURHAM, NC 27703                          BALTIMORE, MD 21279-1519
                      Case
WASTE INDUSTRIES - GARNER NC 18-12241-CSS
                                       WASTE Doc    26 Filed
                                              INDUSTRIES        10/05/18
                                                         - GARNER NC       PageWASTE
                                                                               1673 INDUSTRIES
                                                                                     of 1739 - GRAHAM NC
3741 CONQUEST DR                       P.O. BOX 791519                         703 E GILBREATH ST
GARNER, NC 27529                       BALTIMORE, MD 21279-1519                GRAHAM, NC 27253




WASTE INDUSTRIES - GRAHAM NC            WASTE INDUSTRIES - GREENSBORO NC       WASTE INDUSTRIES - GREENSBORO NC
P.O. BOX 791519                         302 GRUMMAN RD                         P.O. BOX 791519
BALTIMORE, MD 21279-1519                GREENSBORO, NC 27409                   BALTIMORE, MD 21279-1519




WASTE INDUSTRIES - HOPE MILLS NC        WASTE INDUSTRIES - HOPE MILLS NC       WASTE INDUSTRIES - MORRISTOWN TN
4621 MARRACCO DR                        P.O. BOX 791519                        415 RYDER LN
HOPE MILLS, NC 28348                    BALTIMORE, MD 21279-1519               MORRISTOWN, TN 37816




WASTE INDUSTRIES - MORRISTOWN TN        WASTE INDUSTRIES - NEW BERN            WASTE INDUSTRIES - NEW BERN
P.O. BOX 791519                         705 AIRPORT RD                         P.O. BOX 791519
BALTIMORE, MD 21279-1519                NEW BERN, NC 28560                     BALTIMORE, MD 21279-1519




WASTE INDUSTRIES - PIEDMONT SC          WASTE INDUSTRIES - PIEDMONT SC         WASTE INDUSTRIES - WILMINGTON NC
1635 ANTIOCH CHURCH RD                  P.O. BOX 791519                        3618 US HWY 421 N
PIEDMONT, SC 29673                      BALTIMORE, MD 21279-1519               WILMINGTON, NC 28401




WASTE INDUSTRIES - WILMINGTON NC        WASTE INDUSTRIES - WILSON NC           WASTE INDUSTRIES - WILSON NC
P.O. BOX 791519                         2810 CONTENTNEA RD                     P.O. BOX 791519
BALTIMORE, MD 21279-1519                WILSON, NC 27893                       BALTIMORE, MD 21279-1519




WASTE INDUSTRIES - WYTHEVILLE VA        WASTE INDUSTRIES - WYTHEVILLE VA       WASTE MANAGEMENT - 105430
1803 GRAYSON TPKE                       P.O. BOX 791519                        ATTN BANKRUPTCY DEPT
WYTHEVILLE, VA 24382                    BALTIMORE, MD 21279-1519               2625 W GRANDVIEW RD, STE 150
                                                                               PHOENIX, AZ 85023




WASTE MANAGEMENT - 105430               WASTE MANAGEMENT - 105453              WASTE MANAGEMENT - 105453
P.O. BOX 4648                           ATTN BANKRUPTCY DEPT                   P.O. BOX 4648
CAROL STREAM, IL 60197-4648             2625 W GRANDVIEW RD, STE 150           CAROL STREAM, IL 60197-4648
                                        PHOENIX, AZ 85023




WASTE MANAGEMENT - 13648                WASTE MANAGEMENT - 13648               WASTE MANAGEMENT - 4648
ATTN BANKRUPTCY DEPT                    P.O. BOX 13648                         ATTN BANKRUPTCY DEPT
2625 W GRANDVIEW RD, STE 150            PHILADELPHIA, PA 19101-3648            2625 W GRANDVIEW RD, STE 150
PHOENIX, AZ 85023                                                              PHOENIX, AZ 85023




WASTE MANAGEMENT - 4648                 WASTE MANAGEMENT - 541065              WASTE MANAGEMENT - 541065
P.O. BOX 4648                           ATTN BANKRUPTCY DEPT                   P.O. BOX 541065
CAROL STREAM, IL 60197-4648             2625 W GRANDVIEW RD, STE 150           LOS ANGELES, CA 90054-1065
                                        PHOENIX, AZ 85023
                      Case
WASTE MANAGEMENT - 660345      18-12241-CSS
                                         WASTE Doc 26 Filed
                                               MANAGEMENT      10/05/18
                                                          - 660345             PageWASTE
                                                                                   1674 MANAGEMENT
                                                                                         of 1739 - 9001054
ATTN BANKRUPTCY DEPT                      P.O. BOX 660345                          ATTN BANKRUPTCY DEPT
2625 W GRANDVIEW RD, STE 150              DALLAS, TX 75266-0345                    2625 W GRANDVIEW RD, STE 150
PHOENIX, AZ 85023                                                                  PHOENIX, AZ 85023




WASTE MANAGEMENT - 9001054                WASTE MANAGEMENT NATIONAL SERVICES       WASTE MANAGEMENT NATIONAL SERVICES
P.O. BOX 9001054                          INC.                                     INC.
LOUISVILLE, KY 40290-1054                 1001 FANNIN, STE 4000                    P.O. BOX 13648
                                          HOUSTON, TX 77002                        PHILADELPHIA, PA 19101-3648




WASTE MANAGEMENT OF OHIO                  WASTE MANAGEMENT OF VIRGINIA, INC.       WASTE MANAGEMENT
P.O. BOX 4648                             P.O. BOX 13648                           ATTN BANKRUPTCY DEPT
CAROL STREAM, IL 60197-4648               PHILADELPHIA, PA 19101-3648              2625 W GRANDVIEW RD, STE 150
                                                                                   PHOENIX, AZ 85023




WASTE MANAGEMENT                          WASTE MANAGEMENT                         WASTE MANAGEMENT
P.O. BOX 105453                           P.O. BOX 4648                            P.O. BOX 541065
ATLANTA, GA 30348                         CAROL STREAM, IL 60197-4648              LOS ANGELES, CA 90054-1065




WASTE MANAGEMENT                          WASTE MANAGEMENT                         WASTE MANAGEMENT
P.O. BOX 660345                           P.O. BOX 78251                           P.O. BOX 9001054
DALLAS, TX 75266-0345                     PHOENIX, AZ 85062-8251                   LOUISVILLE, KY 40290-1054




WASTE MGMT INC OF FLORIDA                 WASTE MGMT INC OF FLORIDA                WASTE PARTNERS ENVIRONMENTAL
2700 NORTH WEST 48TH ST                   P.O. BOX 42930                           SERVICES I
COCONUT CREEK, FL 33073                   PHOENIX, AZ 85080                        P.O. BOX 677
                                                                                   PINE RIVER, MN 56474




WASTE PROFESSIONALS LLC                   WASTE RECYCLING SERVICES                 WASTE SERVICES LLC
DBA TALISMARK                             7713 3RD TERRACE                         P.O. BOX 71574
1000 PRIMERA BLVD                         LAKE WORTH, FL 33463                     NORTH CHARLESTON, SC 29415
LAKE MARY, FL 32746




WASTE SERVICES OF GEORGIA                 WASTE SERVICES OF TENNESSEE              WASTE STAR SERVICES
P.O. BOX 180600                           P.O. BOX 180600                          1650 HOLIDAY DR
CHATTANOOGA, TN 37406-1749                CHATTANOOGA, TN 37406-7600               HOLIDAY, FL 34691




WASTEWATER MANAGEMENT DIVISION            WATAMULL APEX LLC                        WATAUGA COUNTY TAX ADMINISTRATOR
MANAGER OF FINANCE                        P.O. BOX 31000                           PO BOX 986
PO BOX 17827                              HONOLULU, HI 96849-5639                  MOUNT AIRY, NC 27030-0986
DENVER, CO 80217-0827




WATAUGA TOWNE CROSSING, LLC               WATAUGA                                  WATCHUNG SQUARE ASSOCIATES, LLC
301 SOUTH SHERMAN, SUITE 100              ATTN: PROPERTY TAX DEPT.                 C/O FIDELITY MANAGEMENT LLC
RICHARDSON, TX 75081                      PO BOX 986                               641 SHUNPIKE RD
                                          MOUNT AIRY, NC 27030-0986                ATTN: PROPERTY MANAGEMENT
                                                                                   CHATHAM, NJ 07928
                       Case 18-12241-CSS
WATCHUNG SQUARE ASSOCIATES,  LLC             DocSQUARE
                                      WATCHUNG     26 Filed    10/05/18
                                                         ASSOCIATES, LLC   PageWATER
                                                                               1675 DIST.
                                                                                     of 1739
                                                                                          1 JOHNSON COUNTY
C/O FIDELITY MANAGEMENT LLC           C/O FIDELITY MANAGEMENT LLC               P.O. BOX 808007
PO BOX 48                             PO BOX 48                                 KANSAS CITY, MO 64180-8007
GREEN VILLAGE, NJ 07935               GREEN VILLAGE, NJ 07935-0048




WATER ENVIRONMENT SERVICES              WATER ENVIRONMENT SERVICES              WATER EVENT PURE WATER SOLUTIONS
150 BEAVERCREEK RD                      P.O. BOX 6940                           2109 LUNA RD STE 100
OREGON CITY, OR 97045                   PORTLAND, OR 97228-6940                 CARROLLTON, TX 75006




WATER GAS & LIGHT COMMISSION            WATER SUPPLY DISTRICT OF ACTON          WATER SUPPLY DISTRICT OF ACTON
207 PINE AVE                            693 MASSACHUSETTS AVENUE                P.O. BOX 953
P.O. BOX 1788                           PO BOX 953                              ACTON, MA 01720-0953
ALBANY, GA 31702-1788                   ACTON, MA 01720




WATER WATCH CORP                        WATER WORKS & LIGHTING COMMISION        WATER WORKS & LIGHTING COMMISION
67 WAREHOUSE STREET                     221 16TH ST S                           P.O. BOX 399
ROCHESTER, NY 14608                     WISCONSIN RAPIDS, WI 54494              WISCONSIN RAPIDS, WI 54495-0399




WATERBURY MZL LLC                       WATERBURY MZL LLC                       WATERBURY MZL LLC
C/O KATZ PROPERTIES- A/R                C/O KATZ PROPERTIES- A/R                C/O KATZ PROPERTIES
254 W 31ST ST 4TH FLR                   254 W 31ST ST 4TH FLR                   254 WEST 31ST STREET, 4TH FLOOR
LEXINGTON, MA 02421                     NEW YORK, NY 10001                      NEW YORK, NY 10001




WATERBURY                               WATERFORD TAX COLLECTOR                 WATERFORD TAX COLLECTOR
ATTN: PROPERTY TAX DEPT.                15 ROPE FERRY RD                        ATTN: PROPERTY TAX DEPT.
235 GRAND ST. 1ST FLOOR                 WATERFORD, CT 06385-2886                15 ROPE FERRY RD
WATERBURY, CT 06702                                                             WATERFORD, CT 06385-2886




WATERFORD TERRACES AT SOUTH PARK        WATERFORD UTILITY COMMISSION            WATERFORD UTILITY COMMISSION
LLC                                     1000 HARTFORD TPKE                      P.O. BOX 310
C/O BELL PARTNERS INC                   WATERFORD, CT 06385                     WATERFORD, CT 06385
P O BOX 3288
GREENSBORO, NC 27402



WATERGLADES TOWER 100                   WATERLOGIC AMERICAS LLC                 WATERLOGIC WEST INC
5540 N OCEAN DR                         PO BOX 31001-2417                       185 MASON CIRCLE STE B
SINGER ISLAND, FL 33404                 PASADENA, CA 91110-2417                 CONCORD, CA 94520




WATERMARK RESTORATION LTD               WATERONE                                WATERONE
11020 KATY FREEWAY 215                  10747 RENNER BLVD                       P.O. BOX 808007
HOUSTON, TX 77043                       LENEXA, KS 66219                        KANSAS CITY, MO 64180-8007




WATERPRO INC                            WATERPRO INC                            WATERSTONE CAPITAL SPRINGTREE LLC
12421 SO 800 E                          P.O. BOX 25297                          1124 KANE CONCOURSE
DRAPER, UT 84020                        SALT LAKE CITY, UT 84125                BAY HARBOR IS, FL 33154
                     Case 18-12241-CSS
WATERSTONE CAPITAL SPRINGTREE LLC          Doc 26
                                    WATERSTONE  CHEVYFiled
                                                      CHASE10/05/18
                                                            ROAD LLC       PageWATERSTONE
                                                                               1676 of 1739
                                                                                          PROPERTIES GROUP, INC.
1124 KANE CONCOURSE                 322 RESERVOIR ST                            DAN RHAULT
MIAMI, FL 33154                     NEEDHAM, MA 02494                           322 RESERVOIR STREET
                                                                                NEEDHAM, MA 02494




WATERSTONE PROPERTIES GROUP, INC.    WATERSTONE RETAIL DEVELOPMENT, INC.        WATERSTONE RETAIL EPPING, LLC
KAYLA RAMSEY                         ATTN: TENANT COORDINATOR                   322 RESERVOIR STREET
322 RESERVOIR STREET                 322 RESERVOIR STREET                       NEEDHAM, MA 02494
NEEDHAM, MA 02494                    NEEDHAM, MA 02494




WATERSTONE RETAIL EPPING, LLC        WATERSTONE SCARBOROUGH GROUND              WATERSTONE SCARBOROUGH, LLC
PO BOX 392389                        TENANT, LLC                                (GROUND LESSOR)
PITTSBURGH, PA 15251-9389            ATTN: TENANT COORDINATOR                   C/O WATERSTONE PROPERTIES GROUP,
                                     322 RESERVOIR STREET                       INC.
                                     NEEDHAM, MA 02494                          322 RESERVOIR STREET
                                                                                NEEDHAM, MA 02494


WATERWATCH CORPORATION               WATKINS & SHEPARD TRUCKING INC             WATSON PROPERTY, LLC
67 WAREHOUSE ST.                     HOME OFFICE                                1ST COMMERCIAL REALTY GROUP
ROCHESTER, NY 14608                  PO BOX 5328                                2009 PORTFIELD WAY STE P
                                     MISSOULA, MT 59806-5328                    UPLAND, CA 91786




WATSON PROPERTY, LLC                 WATUMULL APEX, LLC                         WATUNGA TOWNE CROSSING LLC.
C/O 1ST COMMERCIAL PROPERTY          C/O COLLIERS INTERNATIONAL                 301 S SHERMAN STE 100
MANAGEMENT, LLC                      P.O. BOX 3138                              RICHARDSON, TX 75081
2009 PORTERFIELD WAY, SUITE P        WAILUKU, HI 96793
UPLAND, CA 91786



WATUNGA TOWNE CROSSING LLC.          WAUGH, DANTE                               WAUKESHA CITY
82 ARMSTRONG DR                      3724 BREAN DOWN                            ATTN: PROPERTY TAX DEPT.
MUSTANG, OK 73064                    PFLUGERVILLE, TX 78660-4091                201 DELAFIELD ST
                                                                                WAUKESHA, WI 53188-3693




WAUKESHA COUNTY TREASURER            WAUSAU CITY                                WAUSAU WATER WORKS
515 W MORELAND BLVD RM 148           ATTN: PROPERTY TAX DEPT.                   407 GRANT ST
WAUKESHA, WI 53188-2428              PO BOX 3051                                WAUSAU, WI 54403
                                     MILWAUKEE, WI 53201-3051




WAUSAU WATER WORKS                   WAUWATOSA WATER UTILITY                    WAV DRAPER LLC
P.O. BOX 3051                        7725 W NORTH AVE                           ATTN: KIP WADSWORTH
MILWAUKEE, WI 53201-3051             MILWAUKEE, WI 53213                        166 E 14000 S STE 210
                                                                                DRAPER, UT 84020




WAV PROVO LLC                        WAVEGUIDE CONSULTING INC                   WAVELAND PROPERTY GROUP, INC.
C/O WADSWORTH DEVELOPMENT GROUP      ONE WEST COURT SQUARE STE 300              117 W. WILLOW AVENUE
166 EAST 14000 SOUTH, SUITE 210      DECATUR, GA 30030                          WHEATON, IL 60187
ATTN: NATE BALLARD
DRAPER, UT 84020



WAVERLEE SMITH                       WAVERLY POMPANO CENTER, LLC                WAVERLY RETAIL LLC
10201 S. MAIN STREET                 C/O IMC EQUITY GROUP                       C/O CHILDRESS KLEIN PROPERTIES
HOUSTON, TX 77025                    696 NE 125TH STREET                        301 S. COLLEGE STREET, SUITE 2800
                                     NORTH MIAMI, FL 33161                      ATTN: BONNIE LITTLE
                                                                                CHARLOTTE, NC 28202
WAXAHACHIE RC LLC       Case   18-12241-CSS   Doc 26
                                         WAXAHACHIE      Filed 10/05/18
                                                    TC PARTNERS LTD          PageWAXAHACHIE
                                                                                 1677 of 1739
                                                                                            TC PARTNERS LTD
PO BOX 122294 DEPT 2294                   PO BOX 207031                           PO BOX 390
LOCKBOX 892294                            DALLAS, TX 75320-7031                   SANTA ROSA, CA 95402
DALLAS, TX 75312-2294




WAXAHACHIE TOWNE CENTER                   WAXN TV                                 WAYCROSS MEMORIAL PROPERTIES LLC
C/O PROVOST GROUP, INC.                   PO BOX 809229                           24925 VISTA VERENDA
P.O. BOX 390                              CHICAGO, IL 60680-9229                  ATTN: SETH DUDLEY
ATTN: JIM PROVOST                                                                 WOODLAND HILLS, CA 91367
SANTA ROSA, CA 95402



WAYCROSS MEMORIAL PROPERTIES LLC          WAYCROSS MEMORIAL PROPERTIES LLC        WAYLAND BERRY
ALTERMAN COMMERCIAL                       ATTN: SETH DUDLEY                       10201 S. MAIN STREET
PO BOX 191228                             24925 VISTA VERENDA                     HOUSTON, TX 77025
ATLANTA, GA 31119                         WOODLAND HILLS, CA 91367




WAYLAND BERRY                             WAYLAND COLEMAN                         WAYLAND
10201 S. MAIN STREET                      10201 S. MAIN STREET                    ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                         HOUSTON, TX 77025                       PO BOX 655
                                                                                  MEDFORD, MA 02155-0007




WAYNE AIMIS                               WAYNE AUTOMATIC SPRINKLER INC           WAYNE BERNKNOPF
10201 S. MAIN STREET                      222 CAPITOL COURT                       10201 S. MAIN STREET
HOUSTON, TX 77025                         OCOEE, FL 34761                         HOUSTON, TX 77025




WAYNE BROWN                               WAYNE BURGESS                           WAYNE BURROUGHS
10201 S. MAIN STREET                      10201 S. MAIN STREET                    PO BOX 384
HOUSTON, TX 77025                         HOUSTON, TX 77025                       TRENTON, TX 75490




WAYNE CHEN                                WAYNE COULTER                           WAYNE COUNTY TAX COLLECTOR
10201 S. MAIN STREET                      10201 S. MAIN STREET                    PO BOX 580478
HOUSTON, TX 77025                         HOUSTON, TX 77025                       CHARLOTTE, NC 28258




WAYNE COUNTY TREASURER                    WAYNE COY                               WAYNE DEAS
401 E MAIN ST                             PO BOX 1041                             10201 S. MAIN STREET
RICHMOND, IN 47374                        SAN RAMON, CA 94583                     HOUSTON, TX 77025




WAYNE EFFLER                              WAYNE ETTER                             WAYNE GOLDEN
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




WAYNE HOWARD JR                           WAYNE JACKSON                           WAYNE JIGGETTS
2403 SMITHWICK RD                         10201 S. MAIN STREET                    10201 S. MAIN STREET
KERNERSVILLE, NC 27284                    HOUSTON, TX 77025                       HOUSTON, TX 77025
WAYNE KEEHNER          Case 18-12241-CSS
                                      WAYNE Doc  26 Filed 10/05/18
                                            KELLOGG                      PageWAYNE
                                                                             1678 LARSON
                                                                                   of 1739
10201 S. MAIN STREET                   10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                     HOUSTON, TX 77025




WAYNE LAWSON                           WAYNE MARTIN FITNESS                  WAYNE MCLEOD
10201 S. MAIN STREET                   5927 ALMEDA RD 22402                  10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77004                     HOUSTON, TX 77025




WAYNE MOSLEY                           WAYNE P EMIGH DBA CHARTER             WAYNE P EMIGH
10201 S. MAIN STREET                   CONTRACTOR SERVICES                   8150 WATERLILY AVE
HOUSTON, TX 77025                      8150 WATERLILY AVE                    NAMPA, ID 83687
                                       NAMPA, ID 83687




WAYNE PRINTING CO INC DBA GOLDSBORO    WAYNE R. MILLER, P.C.                 WAYNE SMITH DBA WAYNE SMITH DELIVERY
NEW-ARGUS                              16000 DALLAS PARKWAY, SUITE 300       SVC
PO BOX 10629                           ATTN: WAYNE R. MILLER, ESQ            12402 BASIL BAY
GOLDSBORO, NC 27532                    DALLAS, TX 75248                      SAN ANTONIO, TX 78253




WAYNE SMITH                            WAYNE TAYLOR                          WAYNE WELLINGTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                  5472 N PARK D
HOUSTON, TX 77025                      HOUSTON, TX 77025                     INDIANAPOLIS, IN 46220




WAYNE WITHERS                          WAYNE WORKMAN                         WAYNE
10201 S. MAIN STREET                   10201 S. MAIN STREET                  ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                      HOUSTON, TX 77025                     401 E MAIN ST
                                                                             RICHMOND, IN 47374




WAYNE                                  WAYNESBORO TOWN CENTER LLC            WAYNESBORO
ATTN: PROPERTY TAX DEPT.               1111 METROPOLITAN AVE 700             ATTN: PROPERTY TAX DEPT.
PO BOX 580478                          CHARLOTTE, NC 28204                   503 WEST MAIN ST ROOM 107
CHARLOTTE, NC 28258                                                          WAYNESBORO, VA 22980




WB HOLDINGS DEERFIELD PLACE LLC        WBA 1200 LLC                          WBAB FM
C/O RETAIL PLANNING CORPORATION        ATTN: HECTOR R VINAS                  COX RADIO INC
35 JOHNSON FERRY ROAD                  2760 N UNIVERSITY DR                  PO BOX 83195
MARIETTA, GA 30068                     DAVIE, FL 33024                       CHICAGO, IL 60691-0195




WBAL-AM                                WBAL-TV11                             WBAP-AM
PO BOX 90025                           PO BOX 26872                          3670 MOMENTUM PLACE
PRESCOTT, AZ 86304-9025                LEHIGH VALLEY, PA 18002-6872          CHICAGO, IL 60689-5336




WBAV-FM                                WBBH                                  WBBH
BEASLEY MEDIA GROUP INC                3719 CENTRAL AVENUE                   PO BOX 7578
1520 SOUTH BLVD STE 300                FORT MYERS, FL 33901                  FORT MYERS, FL 33911-7578
CHARLOTTE, NC 28203
WBBM-AM                  Case 18-12241-CSS   Doc 26
                                        WBBM-FM           Filed 10/05/18   PageWBBM-TV
                                                                               1679 of 1739
22577 NETWORK PLACE                     CBS RADIO                              21247 NETWORK PLACE
CHICAGO, IL 60673-1225                  22577 NETWORK PLACE                    CHICAGO, IL 60673-1212
                                        CHICAGO, IL 60673-1225




WBBO-FM                                 WBBQ-FM                                WBCT-FM
1329 CAMPUS PARKWAY                     PO BOX 406372                          3964 COLLECTION CENTER DR
NEPTUNE, NJ 07753                       ATLANTA, GA 30384-6372                 CHICAGO, IL 60693-0039




WBEB-FM                                 WBEN-FM                                WBFF
225 E CITY AVE STE 200                  ONE BALA PLAZA STE 429                 C/O WLOS
BALA CYNWYD, PA 19004                   BALA CYNWYD, PA 19004-1428             110 TECHNOLOGY DR
                                                                               ASHEVILLE, NC 28803




WBHJ-FM                                 WBHK-FM                                WBIN INC
SUMMITMEDIA LLC DEPT 2409               SUMMITMEDIA LLC DEPT 2409              11 A STREET
PO BOX 11407                            PO BOX 11407                           DERRY, NH 03038
BIRMINGHAM, AL 35246-2409               BIRMINGHAM, AL 35246-2409




WBIN TV                                 WBLH MADISON LLC - 22002202 WEST       WBLH MADISON LLC - 22002202 WEST
ATTN: ACCOUNTS RECEIVABLE               BELTLINE HIGHWAY                       BELTLINE HIGHWAY
11 A STREET                             C/O IEQ MANAGEMENT, INC.               C/O MID-AMERICA REAL ESTATE -
DERRY, NH 03038                         1700 SHALLCROSS AVE, SUITE 1           WISCONSIN, LLC
                                        WILMINGTON, DE 19806                   600 N. PLANKINTON AVENUE, SUITE 301
                                                                               MILWAUKEE, WI 53203


WBLH MADISON LLC                        WBLM-FM                                WBO INVESTORS LLLP
C/O MID-AMERICA ASSET MGMT INC          TOWNSQUARE MEDIA PORTLAND              12650 CRABAPPLE RD STE 200
ONE PARKVIEW PLAZA 9TH FL               PO BOX 28613                           MILTON, GA 30004
OAKBROOK TERRACE, IL 60181              NEW YORK, NY 10087-8613




WBOC                                    WBOS 92.9 FM                           WBPT-FM
1729 N SALISBURY BLVD                   55 MORRISSEY BLVD                      SUMMITMEDIA LLC DEPT 24098
SALISBURY, MD 21801                     BOSTON, MA 02125                       PO BOX 11407
                                                                               BIRMINGHAM, AL 35246-2409




WBQB-FM & WFVA-AM                       WBQT 96.9 FM                           WBRE
PO BOX 269                              55 MORRISSEY BLVD                      201 HUMBLDT ST
FREDERICKSBURG, VA 22404                BOSTON, MA 02125                       ROCHESTER, NY 14610




WBTF-FM                                 WBTS                                   WBVX-FM
401 W MAIN ST STE 301                   CFS LOCKBOX                            401 W MAIN ST STE 301
LEXINGTON, KY 40507                     PO BOX 402971                          LEXINGTON, KY 40502
                                        ATLANTA, GA 30384-2971




WBZ TV                                  WBZ-FM                                 WBZ-FM
PO BOX 33091                            55 MORRISSEY BLVD                      PO BOX 33185
NEWARK, NJ 07188-0091                   BOSTON, MA 02125                       NEWARK, NJ 07188-0185
WBZO-FM                 Case   18-12241-CSS    Doc 26 - DIST
                                         WC OF LOUISIANA Filed  10/05/18
                                                             6170                  PageWC
                                                                                       1680   of 1739- DIST 6170
                                                                                          OF LOUISIANA
234 AIRPORT PLAZA STE 5                   1515 ENGLAND DR                               P.O. BOX 660389
FARMINGDALE, NY 11735                     ALEXANDRIA, LA 71301                          DALLAS, TX 75266-0389




WC OF LOUISIANA                           WC OF LOUISIANA                               WC OF TEXAS - AUSTIN - DISTRICT 5151
1515 ENGLAND DR                           P.O. BOX 660177                               9904 FM 812
ALEXANDRIA, LA 71301                      DALLAS, TX 72566-0177                         AUSTIN, TX 78719




WC OF TEXAS - AUSTIN - DISTRICT 5151      WC OF TEXAS - AUSTIN - DISTRICT 5155          WC OF TEXAS - AUSTIN - DISTRICT 5155
P.O. BOX 660389                           9904 FM 812                                   P.O. BOX 660177
DALLAS, TX 75266-0389                     AUSTIN, TX 78719                              DALLAS, TX 75266-0177




WC OF TEXAS - DALLAS - DIST 5180/5181     WC OF TEXAS - DALLAS - DIST 5180/5181         WC OF TEXAS - FORT WORTH - DISTRICT
12150 GARLAND RD                          P.O. BOX 660389                               5190
DALLAS, TX 75218                          DALLAS, TX 75266-0389                         4001 OLD DENTON RD
                                                                                        HALTOM CITY, TX 76117




WC OF TEXAS - FORT WORTH - DISTRICT       WC OF TEXAS - IOWA PARK - DIST 5186/5187      WC OF TEXAS - IOWA PARK - DIST 5186/5187
5190                                      1201 W SMITH AVE                              P.O. BOX 660389
P.O. BOX 162479                           IOWA PARK, TX 76367                           DALLAS, TX 75266-0389
DALLAS, TX 76161-2479




WC OF TEXAS - MCKINNEY - DISTRICT 5183    WC OF TEXAS - MCKINNEY - DISTRICT 5183        WCA WASTE CORP - HOUSTON EAST
2138 COUNTRY LN                           P.O. BOX 660389                               HAULING
MCKINNEY, TX 75069                        DALLAS, TX 75266-0389                         1330 POST OAK BLVD
                                                                                        7TH FLOOR
                                                                                        HOUSTON, TX 77056



WCA WASTE CORP - HOUSTON EAST             WCA WASTE CORP - SPRINGFIELD HAULING          WCA WASTE CORP - SPRINGFIELD HAULING
HAULING                                   2120 W BENNETT ST                             P.O. BOX 553166
P.O. BOX 553166                           SPRINGFIELD, MO 65807                         DETROIT, MI 48255-3166
DETROIT, MI 48255-3166




WCA WASTE CORP TX – HOUSTON EAST          WCA WASTE CORP TX – HOUSTON EAST              WCA WASTE CORPORATION - JOPLIN
HAULING                                   HAULING                                       HAULING
6730 JOHN RALSTON RD                      P.O. BOX 553166                               3700 W 7TH ST
HOUSTON, TX 77049                         DETROIT, MI 48255-3166                        JOPLIN, MO 64801




WCA WASTE CORPORATION - JOPLIN            WCAU                                          WCAV
HAULING                                   10 MONUMENT RD                                4370 PEACHTREE RD NE STE 400
P.O. BOX 553166                           BALA CYNWYD, PA 19004                         ATLANTA, GA 30319
DETROIT, MI 48255-3166




WCAX-TV                                   WCBS FM                                       WCBS-AM
PO BOX 4508                               345 HUDSON ST                                 PO BOX 33103
BURLINGTON, VT 05406-4508                 NEW YORK, NY 10014                            NEWARK, NJ 07188-0103
WCCB                     Case 18-12241-CSS
                                        WCCT Doc 26        Filed 10/05/18    PageWCCT-TV
                                                                                 1681 of 1739
1 TELEVISION PLACE                      3562 COLLECTIONS CENTER DR               3562 COLLECTIONS CTR DR
CHARLOTTE, NC 28205                     CHICAGO, IL 60693                        CHICAGO, IL 60693




WCDA-FM                                 WCGQ-FM                                  WCI OF COLORADO SPRINGS - DISTRICT
401 W MAIN ST STE 301                   PMB BROADCASTING LLC                     5315
LEXINGTON, KY 40502                     1820 WYNNTON RD                          7770 PALMER PARK DR
                                        COLUMBUS, GA 31906                       COLORADO SPRINGS, CO 80951




WCI OF COLORADO SPRINGS - DISTRICT      WCI TN - KNOXVILLE - DISTRICT 6032       WCI TN - KNOXVILLE - DISTRICT 6032
5315                                    2400 CHIPMAN ST                          P.O. BOX 660177
P.O. BOX 660177                         KNOXVILLE, TN 37917                      DALLAS, TX 75266-0177
DALLAS, TX 75266-0177




WCIU TV LIMITED PARTNERSHIP             WCKY-AM                                  WCMC-FM
26 N HALSTEAD ST                        IHEARTMEDIA                              PO BOX 601995
CHICAGO, IL 60661                       3964 COLLECTION CENTER DR                CHARLOTTE, NC 28260-1995
                                        CHICAGO, IL 60693




WCOL-FM                                 WCOO-FM                                  WCS PROPERTIES BUSINESS TRUST
IHEARTMEDIA                             LM COMMUNICATIONS II OF SC INC           GREENBERG GIBBONS COMMERCIAL
3964 COLLECTION CENTER DR               59 S WINDERMERE BLVD                     10096 RED RUN BLVD STE 100
CHICAGO, IL 60693                       CHARLESTON, SC 29407                     OWINGS MILLS, MD 21117




WCSH                                    WCSPROPERTIES BUSINESS TRUST             WCTX
PO BOX 637355                           10096 RED RUN BLVD STE 100               PO BOX 403911
CINCINNATI, OH 45263-7355               OWINGS MILLS, MD 21117                   ATLANTA, GA 30384




WCTY                                    WCVB TV                                  WD ELDORADO & TOLLWAY LP
40 CUPRAK ROAD                          PO BOX 26874                             5110 ELDORADO PKWY STE 100
NORWICH, CT 06360                       LEHIGH VALLEY, PA 18002-6874             FRISCO, TX 75034




WD ELDORADO PKWY                        WDAF-FM                                  WDAK-AM
7500 SAN JACINTO PLACE                  ENTERCOM KANSAS CITY                     IHEART MEDIA
PLANO, TX 75024                         7000 SQUIBB RD 2ND FLOOR                 PO BOX 406372
                                        MISSION, KS 66202                        ATLANTA, GA 30384-6372




WDCA TV                                 WDCW-TV                                  WDEF-FM
PO BOX 198085                           22264 COLLECTION CENTER DR               JACKSON TELECASTERS INC
ATLANTA, GA 30384-8085                  CHICAGO, IL 60693                        2615 BROAD ST
                                                                                 CHATTANOOGA, TN 37408




WDEN-FM                                 WDGL-FM                                  WDHA
CUMULUS MEDIA LLC                       GUARANTY BROADCASTING COMPANY            78 VERONICA AVE
3611 MOMENTUM PLACE                     PO BOX 2231                              SOMERSET, NJ 08873
CHICAGO, IL 60689-5336                  BATON ROUGE, LA 70821
WDJX-FM                 Case   18-12241-CSS   Doc
                                         WDOD OF   26 FiledINC
                                                 CHATTANOOGA 10/05/18         PageWDOD-FM
                                                                                  1682 of 1739
520 S FOURTH ST STE 200                  2615 BROAD ST                            2615 BROAD ST
LOUISVILLE, KY 40202                     CHATTANOOGA, TN 37408                    CHATTANOOGA, TN 37408




WDOK-FM                                  WDOP SUB I LP - DBA BRANDYWINE I         WDP TOWN CENTER LLC
CBS RADIO CLEVELAND                      5429 LBJ FWY SUITE 800                   4530 E SHEA BLVD STE 100
22286 NETWORK PLACE                      DALLAS, TX 75240                         PHOENIX, AZ 85028
CHICAGO, IL 60673-1222




WDRC-FM                                  WDRM-FM                                  WDRV-FM
869 BLUE HILLS AVE                       IHEART HUNTSVILLE/CAPSTAR                PO BOX 811100
BLOOMFIELD, CT 06002                     PO BOX 406033                            CHICAGO, IL 60681
                                         ATLANTA, GA 30384-6033




WDRV-FM                                  WDSY-FM                                  WDUZ-FM
PO BOX 83141                             CBS RADIO PITTSBURGH                     CUMULUS GREENBAY
CHICAGO, IL 60691-0141                   PO BOX 13404                             3606 MOMENTUM PLACE
                                         NEWARK, NJ 07188-0404                    CHICAGO, IL 60689-5336




WDXB-FM                                  WDZ ENTERPISES INC DBA FISH WINDOW       WE ENERGIES
IHEART MEDIA BIRMINGHAM                  CLEANING                                 ATTN BANKRUPTCY
PO BOX 406162                            2405A W ASH ST                           333 W EVERETT ST
ATLANTA, GA 30384                        COLUMBIA, MO 65203                       MILWAUKEE, WI 53203




WE ENERGIES                              WEATHER USA LLC                          WEATHERFORD CAPITAL LLC
P.O. BOX 90001                           1799 W 5TH AVE 181                       C/O SAFECO CAPITAL CORP
MILWAUKEE, WI 53290-0001                 COLUMBUS, OH 43212                       1850 S SEPULVEDA BLVD STE 200
                                                                                  LOS ANGELES, CA 90025




WEATHERFORD MARKETPLACE                  WEATHERFORD MARKETPLACE                  WEATHERSPOON & VOLTZ
C/O THE WOODMONT COMPANY                 C/O THE WOODMONT COMPANY                 ATTN: ELIZABETH VOLTZ, ESQ.
2100 W 7TH ST                            2100 W 7TH STREET                        3605 GLENWOOD AVENUE, SUITE 480
FORT WORTH, TX 76107                     FORT WORTH, TX 76107                     RALEIGH, NC 27612




WEB PROPERTIES, INC.                     WEBB CONTRACTING, INC                    WEBB CRAVEN
WILLIAM BUTLER                           CHERRY MEADOW LANE                       10201 S. MAIN STREET
2136 W RIVERSIDE AVE.                    ROCKHILL, SC 29732                       HOUSTON, TX 77025
SPOKANE, WA 99217




WEBER & COMPANY                          WEBER & OLCESE P.L.C.                    WEBER COUNTY ASSESSOR
16000 DALLAS PARKWAY, SUITE 300          3250 W BIG BEAVER RD STE 124             ATTN: PROPERTY TAX DEPT.
DALLAS, TX 75248                         TROY, MI 48084                           2380 WASHINGTON BLVD STE 380
                                                                                  OGDEN, UT 84401




WEBER FIRE & SAFETY EQUIPMENT            WEBG-FM                                  WEBN-FM
COMPANY                                  3964 COLLECTION CENTER DR                IHEARTMEDIA
10944 GRAVOIS INDUSTRIAL COURT STE. A    CHICAGO, IL 60693                        3964 COLLECTION CENTER DR
ST LOUIS, MO 63128-2022                                                           CHICAGO, IL 60693
                      Case 18-12241-CSS
WEBSTER SQUARE 1763, INC             WEBSTERDoc   26 1763,
                                              SQUARE   FiledINC10/05/18      PageWEBSTER
                                                                                 1683 ofSQUARE
                                                                                         1739 1763, INC
C/O KIMCO REALTY CORPORATION         DEPT. CODE: SNHN1763                         PO BOX 6203
3333 NEW HYDE PARK ROAD, SUITE 100   PO BOX 6203                                  HICKSVILLE, NY 11802
ATTN: LEGAL DEPARTMENT               HICKSVILLE, NY 11802-6203
NEW HYDE PARK, NY 11042



WEBSTER WILLIAMS                       WECT LLC                                   WEEKENSON LOUIMA
10201 S. MAIN STREET                   AM SOUTH BANK LOCKBOX 332                  10201 S. MAIN STREET
HOUSTON, TX 77025                      PO BOX 11407                               HOUSTON, TX 77025
                                       BIRMINGHAM, AL 35246-0332




WEEKS, STACEY                          WEICHERT WORKFORCE MOBILITY                WEIMS COURT ASSOCIATES
1246 SUNSET DRIVE                      HOLDINGS                                   137 MEMES WAY
SEBRING, FLORIDA 33870-1557            1625 STATE ROUTE 10                        C/O: THOMAS H. GAILLARD
                                       MORRIS PLAINS, NJ 07950                    CHARLESTON, SC 29492




WEIMS COURT ASSOCIATES                 WEIMS COURT ASSOCIATES                     WEINER DEVELOPMENT CORPORATION
C/O THOMAS H. GAILLARD                 C/O THOMAS H. GAILLARD                     520 POST OAK BOULEVARD, SUITE 850
137 MEMES WAY                          137 MEMES WAY                              HOUSTON, TX 77027
CHARLESTON, SC 29492                   CHARLESTON, SC 29492-2800




WEINGART FOUNDATION                    WEINGARTEN HERNDON PLAZA JV                WEINGARTEN I-4 CLERMONT LANDING LLC
PO BOX 660394                          2600 CITADEL PLAZA DR STE 300              2600 CITADEL PLAZA STE 125
DALLAS, TX 75266-0394                  HOUSTON, TX 77008-1315                     HOUSTON, TX 77008




WEINGARTEN I-4 CLERMONT LANDING LLC    WEINGARTEN I-4 CLERMONT LANDING LLC        WEINGARTEN MILLER THORNCREEK II LLC
2600 CITADEL PLAZA STE 125             P.O. BOX 924133                            0365580 LYOTEI001
HOUSTON, TX 77008-1351                 HOUSTON, TX 77292                          PO BOX 924133
                                                                                  HOUSTON, TX 77292




WEINGARTEN NOSTAT INC RENT02946        WEINGARTEN NOSTAT INC                      WEINGARTEN NOSTAT INC
ATTN: GENERAL COUNSEL                  2600 CITADEL PLAZA DR, STE 125             TENANT 125167/COMPANY 21510
2600 CITADEL PLAZA DRIVE, SUITE 125    HOUSTON, TX 77008                          PO BOX 301074
HOUSTON, TX 77008                                                                 DALLAS, TX 75303-1074




WEINGARTEN NOSTAT INC                  WEINGARTEN NOSTAT INC                      WEINGARTEN NOSTAT INC
TENANT 125167/COMPANY 21625            TENANT 125167/COMPANY 21665                TENANT 125167/COMPANY 21670
PO BOX 301074                          PO BOX 301074                              PO BOX 301074
DALLAS, TX 75303-1074                  DALLAS, TX 75303-1074                      DALLAS, TX 75303-1074




WEINGARTEN NOSTAT INC                  WEINGARTEN NOSTAT, INC                     WEINGARTEN NOSTAT, INC
TENANT 125167/COMPANY 21695            0216-120 LMETRMA01-RENT DYSART             WRI JT NORTHRIDGE LP
PO BOX 301074                          P.O. BOX 201692                            PO BOX 301607
DALLAS, TX 75303-1074                  HOUSTON, TX 77216-1692                     DALLAS, TX 75303-1607




WEINGARTEN NOSTAT, INC.                WEINGARTEN NOSTAT, INC.                    WEINGARTEN NOSTAT, INC.
0216-120 LMETRMA01-RENT DYSART         ATTN: GENERAL COUNSEL                      TENANT 125167/COMPANY 21510
P.O. BOX 201692                        2600 CITADEL PLAZA DRIVE, SUITE 125        PO BOX 301074
HOUSTON, TX 77216-1692                 HOUSTON, TX 77008                          DALLAS, TX 75303-1074
                      Case
WEINGARTEN NOSTAT, INC.        18-12241-CSS    Doc 26
                                         WEINGARTEN     Filed
                                                    NOSTAT, INC. 10/05/18     PageWEINGARTEN
                                                                                  1684 of 1739
                                                                                             NOSTAT, INC.
TENANT 125167/COMPANY 21625                TENANT 125167/COMPANY 21665             TENANT 125167/COMPANY 21670
PO BOX 301074                              PO BOX 301074                           PO BOX 301074
DALLAS, TX 75303-1074                      DALLAS, TX 75303-1074                   DALLAS, TX 75303-1074




WEINGARTEN NOSTAT, INC.                    WEINGARTEN NOSTAT, INC.                 WEINGARTEN REALTY INVESTORS LLC
TENANT 125167/COMPANY 21695                WRI JT NORTHRIDGE LP                    DBA WRI FALLS POINTE LLC
PO BOX 301074                              PO BOX 301607                           PO BOX 924133
DALLAS, TX 75303-1074                      DALLAS, TX 75303-1607                   HOUSTON, TX 77292




WEINGARTEN REALTY INVESTORS                WEINGARTEN REALTY INVESTORS             WEINGARTEN REALTY INVESTORS
2600 CITADEL PLAZA DRIVE, SUITE 125        P.O. BOX 200518                         P.O. BOX 301074
HOUSTON, TX 77008                          HOUSTON, TX 77216                       DALLAS, TX 75303-1074




WEINGARTEN REALTY INVESTORS                WEINGARTEN REALTY INVESTORS             WEINGARTEN REALTY INVESTORS
P.O. BOX 301074                            P.O. BOX 301074                         P.O. BOX 924133
HOUSTON, TX 75303-1074                     TENANT NO. 125167/COM NO. 20195         HOUSTON, TX 77282
                                           DALLAS, TX 75303-1074




WEINGARTEN REALTY INVESTORS                WEINGARTEN REALTY INVESTORS             WEINGARTEN REALTY INVESTORS
P.O. BOX 924133                            TENANT 125167/COMPANY 20195             TENANT 125167/COMPANY 20225
HOUSTON, TX 77292                          PO BOX 301074                           PO BOX 301074
                                           DALLAS, TX 75303-1074                   DALLAS, TX 75303-1074




WEINGARTEN REALTY INVESTORS                WEINGARTEN REALTY INVESTORS             WEINGARTEN/INVESTMENTS INC
TENANT NO. 125167/COM NO. 20195            WRI SOUTHERN INDUSTRIAL POOL LLC        TENANT 125167/COMPANY 22180
P.O. BOX 301074                            PO BOX 924133                           PO BOX 301074
DALLAS, TX 75303-1074                      HOUSTON, TX 77292                       DALLAS, TX 75303-1074




WEINSTEIN & ASSOCIATES INC - NANCY         WEINTRAUB/TOBIN                         WEISS LAW GROUP
WEINSTEIN & ASSOCIATES                     400 CAPITOL MALL 11TH FLOOR             5531 N UNIVERSITY DR 103
60 MULBERRY EAST RD                        SACRAMENTO, CA 95814                    CAROL SPRINGS, FL 33067
DEERFIELD, IL 60015




WEISS REALTY MANAGEMENT LLC                WELCH EQUIPMENT COMPANY INC             WELCH EQUIPMENT COMPANY
SID WEISS                                  PO BOX 912504                           5025 NOME ST
730 N. POST OAK ROAD, SUITE 350            DENVER, CO 80291-2504                   DENVER, CO 80239
HOUSTON, TX 77024




WELD COUNTY TREASURER                      WELD                                    WELLGOOD LLC
PO BOX 458                                 ATTN: PROPERTY TAX DEPT.                12 W 72ND ST 14AB
GREELEY, CO 80632-0458                     PO BOX 458                              NEW YORK, NY 10023
                                           GREELEY, CO 80632-0458




WELLINGTON GROUP MARKETING & PR            WELLINGTON UTILITIES                    WELLINGTON UTILITIES
4105 MEDICAL PKWY STE 206                  12300 FOREST HILL BLVD                  P.O. BOX 31632
AUSTIN, TX 78756                           WELLINGTON, FL 33414-5785               TAMPA, FL 33631-3632
                    Case 18-12241-CSS
WELLMONT MEDICAL ASSOCIATES INC           Doc 26 LLCFiled 10/05/18
                                   WELLS EQUITIES                         PageWELLS
                                                                              1685FARGO
                                                                                    of 1739
                                                                                         BANK N A
PO BOX 7107                        C/O TRIPLE NET EQUITIES LTD.                LOC X3723
KINGSPORT, TN 37664                10739 DEERWOOD PARK BLVD. STE 300           550 S 4TH ST MAC N9310-076
                                   JACKSONVILLE, FL 32256                      MINNEAPOLIS, MN 55415-1529




WELLS FARGO BANK N.A.                 WELLS FARGO BANK NA                      WELLS FARGO BANK, N.A.
PO BOX 51043                          ONE BOSTON PLACE                         301 SOUTH TYRON ST., 7TH FLOOR
LOS ANGELES, CA 90051-5343            18TH FLOOR                               ATTN: DACA TEAM
                                      BOSTON, MA 02108                         CHARLOTTE, NC 28282-1915




WELLS FARGO BANK, N.A.                WELLS FARGO BANK, N.A.                   WELLS FARGO BANK, N.A.
794 DAVIS STREET, 2ND FLOOR           ATTN: CHERRIEE DUGAN                     ATTN: KEN JUNI
MAC A0283-023                         1305 W 23RD ST                           1655 Grant Street
ATTN: US STANDBY TRADE SERVICES       FLOOR 1                                  3rd Floor
SAN LEANDRO, CA 94577-6922            TEMPE, AZ 85282                          Concord, CA 94520



WELLS FARGO BANK, N.A.                WELLS FARGO BANK, N.A.                   WELLS FARGO BANK, NA
ATTN: MIKE O'BRIEN                    ATTN: SUSAN SUTTON                       1512 EUREKA ROAD
333 S GRAND AVE                       920 N Lakeline                           SUITE 370
10TH FLOOR, SUITE 1000                Cedar Park, TX 78613                     ROSEVILLE, CA 95661
LOS ANGELES, CA 90071



WELLS FARGO BANK, NA                  WELLS FARGO BANK, NA                     WELLS FARGO BANKS
ONE BOSTON PLACE                      ONE BOSTON PLACE                         ACCOUNT ANALYSIS
18TH FLOOR                            19TH FLOOR                               NW 7091 PO BOX 1450
BOSTON, MA 02108                      BOSTON, MA 02108                         MINNEAPOLIS, MN 55485




WELLS FARGO CAPITAL FINANCE           WELLS FARGO EQUIPMENT FINANCE INC        WELLS FARGO EQUIPMENT FINANCE
C/O DELTA ENTERPRISE CORP             PO BOX 1450                              MANUFACTURER SERVICES GROUP
PO BOX 842683                         MINNEAPOLIS, MN 55485-8178               PO BOX 7777
BOSTON, MA 02284-2683                                                          SAN FRANCISCO, CA 94120-7777




WELLS FARGO FINANCIAL LEASING INC     WELLS FARGO FINANCIAL LEASING INC        WELLS FARGO FINANCIAL LEASING INC
1961 HIRST DR                         800 WALNUT STREET                        DBA WELLS FARGO VENDOR FIN SERVICES
MOBERLY, MO 65270                     MAC N0005-044                            PO BOX 105710
                                      DES MOINES, IA 50309                     ATLANTA, GA 30348-5710




WELLS FARGO FINANCIAL LEASING INC     WELLS FARGO FINANCIAL LEASING            WELLS FARGO FINANCIAL NATIONAL BANK
WELLS FARGO VENDOR FIN SERV           P.O. BOX 10306                           1 HOME CAMPUS
1961 HIRST DR                         DES MOINES, IA 50306-0306                X2401-049
MOBERLY, MO 65270                                                              DES MOINES, IA 50328-0001




WELLS FARGO FINANCIAL NATIONAL BANK   WELLS FARGO MERCHANT SERVICES            WELLS FARGO MERCHANT SERVICES
DBA WELLS FARGO RETAIL                ATTN: KENNETH JUNI                       ATTN: SUSAN SUTTON
800 WALNUT STREET                     1655 GRANT STREET, 3RD FLOOR             920 N LAKELINE
DES MOINES, IA 50309                  CONCORD, CA 94520                        CEDAR PARK, TX 78613




WELLS FARGO MERCHANT SERVICES         WELLS FARGO RETAIL FINANCE LLC           WELLS FARGO TRADE CAPITAL SRVS INC
PO BOX 17548                          ONE BOSTON PLACE                         PO BOX 911794
DENVER, CO 80217-7548                 19TH FLOOR                               DENVER, CO 80291-1794
                                      BOSTON, MA 02108
WELLS FARGO VENDOR FIN  Case
                          SERV 18-12241-CSS    Doc 26
                                         WELLS FARGO       Filed
                                                       VENDOR     10/05/18
                                                               FINANCIAL        PageWELLS
                                                                                    1686PROPERTY
                                                                                          of 1739 NUMBER FIVE, LLC
PO BOX 310594                            SERVICES LLC                                C/O FMW REAL ESTATE
DES MOINES, IA 50331-0594                PO BOX 650016                               132 BREVARD COURT
                                         DALLAS, TX 75265-0016                       ATTN: MARY BRAKE
                                                                                     CHARLOTTE, NC 28202



WELLS PROPERTY NUMBER FIVE, LLC          WELLS PROPERTY NUMBER SIX LLC               WELSH AND COLLIERS INTERNATIONAL
PO BOX 602871                            132 BREVARD COURT                           4350 BAKER ROAD, SUITE 400
CHARLOTTE, NC 28260-2871                 CHARLOTTE, NC 28202                         MINNETONKA, MN 55343




WELSPUN USA INC                          WELSPUN USA INC                             WEN FANG PAN
295 FIFTH AVE STE 1118                   MAIL CODE 11095                             10201 S. MAIN STREET
NEW YORK, NY 10016                       PO BOX 11839                                HOUSTON, TX 77025
                                         NEWARK, NJ 07101-8138




WENDEL FOX                               WENDEL MURRAY                               WENDELL BENNETT
10201 S. MAIN STREET                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                           HOUSTON, TX 77025




WENDI DELEON                             WENDI L MORRISON                            WENDI LITTLE
1237 BRIGHTON AVE                        3915 SOUTH 150TH PLAZA 262                  1711 SUNFLOWER DR
GROVER BEACH, CA 93433                   OMAHA, NE 68144                             CORINTH, TX 76210




WENDOVER VILLAGE GREENSBORO II LLC       WENDOVER VILLAGE GREENSBORO II LLC          WENDOVER VILLAGE GREENSBORO II LLC
222 CENTRAL PARK AVE STE 2100            222 CENTRAL PARK AVENUE, SUITE 2100         C/O DIVARIS PROPERTY MGMT CORP
VIRGINIA BEACH, VA 23462                 VIRGINIA BEACH, VA 23462                    4525 MAIN ST STE 900
                                                                                     VIRGINIA BEACH, VA 23462




WENDY CLARK                              WENDY CLEMENTS                              WENDY CROWELL
10201 S. MAIN STREET                     10201 S. MAIN STREET                        9364 LUBEC ST
HOUSTON, TX 77025                        HOUSTON, TX 77025                           DOWNEY, CA 90240




WENDY JENSEN                             WENDY KRUEGER EARL                          WENDY L CORRY
107 CAPRI COVE EAST                      10201 S. MAIN STREET                        2426 ALLSBOROUGH WAY
NICEVILLE, FL 32578                      HOUSTON, TX 77025                           DACULA, GA 30019




WENDY L JONES                            WENDY MCCARTHY                              WENDY MERCHANT
1364 W STILLWATER DR                     10201 S. MAIN STREET                        10201 S. MAIN STREET
HEBER, UT 84032                          HOUSTON, TX 77025                           HOUSTON, TX 77025




WENDY PAZ                                WENDY PHILLIPS DBA 2SCALE DESIGN INC        WENDY QUICK
10201 S. MAIN STREET                     8609 ROLLINS DR                             10201 S. MAIN STREET
HOUSTON, TX 77025                        AUSTIN, TX 78738                            HOUSTON, TX 77025
WENDY SALTS              Case 18-12241-CSS
                                        WENDYDoc 26
                                             TOOKER       Filed 10/05/18   PageWENDY
                                                                               1687 WAKEFIELD
                                                                                     of 1739
113 EAST 8TH AVE                        10201 S. MAIN STREET                   10201 S. MAIN STREET
JOHNSON CITY, TN 37601                  HOUSTON, TX 77025                      HOUSTON, TX 77025




WENDY WITTIG                            WENZEL FENTON CABASSA PA               WENZEL
10201 S. MAIN STREET                    1110 N FLORIDA AVE                     LOCK BOX 1992
HOUSTON, TX 77025                       TAMPA, FL 33602                        PO BOX 8500-1992
                                                                               PHILADELPHIA, PA 19178-1992




WEPN-FM RADIO INC                       WERC-FM                                WERNER ENTERPRISES INC
PO BOX 26846                            IHEART MEDIA BIRMINGHAM                14507 FRONTIER RD
NEW YORK, NY 10087-6846                 PO BOX 406162                          OMAHA, NE 68138-3808
                                        ATLANTA, GA 30384




WERNER ENTERPRISES INC                  WERNER MEDIA PARTNER LLC               WERQ-FM
A SERVICE OF WERNER ENTERPRISES         7143 W BROWARD BLVD                    PO BOX 603441
39365 TREASURY CENTER                   PLANTATION, FL 33317                   CHARLOTTE, NC 28260-3441
CHICAGO, IL 60694-9300




WERRES CORPORATION                      WES AYCOCK                             WES BRIDGES
PO BOX 759022                           10201 S. MAIN STREET                   10201 S. MAIN STREET
BALTIMORE, MD 21275-9022                HOUSTON, TX 77025                      HOUSTON, TX 77025




WES CHOATE                              WES ERETH                              WES KING
10201 S. MAIN STREET                    10201 S. MAIN STREET                   7617 NIGHTFALL DR
HOUSTON, TX 77025                       HOUSTON, TX 77025                      DENTON, TX 76210




WES STEVENS                             WESC-FM                                WESH
10201 S. MAIN STREET                    IHEARTMEDIA                            PO BOX 26876
HOUSTON, TX 77025                       PO BOX 402524                          LEHIGH VALLEY, PA 18002-6876
                                        ATLANTA, GA 30384-6404




WESLEY A BRIDGES                        WESLEY A COX                           WESLEY ALLEN
1421 NE WEDDLE LN                       5322 SADDLE RIDGE TR                   PO BOX 54478 TERMINAL ANNEX
LEES SUMMIT, MO 64086                   SAN ANGELO, TX 76904                   LOS ANGELES, CA 90054




WESLEY ANDERSON                         WESLEY BAILEY                          WESLEY BURDEN
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




WESLEY CHOATE                           WESLEY EL-AMIN                         WESLEY HARRISON
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025
WESLEY IRIZARRY        Case 18-12241-CSS
                                      WESLEYDoc 26 Filed 10/05/18
                                             MUELLER                       PageWESLEY
                                                                               1688 of  1739
                                                                                      PROPST
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




WESLEY SHERWOOD                       WESLEY SOWELL                            WESLEY WEBB
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




WESLEY WELMAN                         WESLEY WILLIAMS                          WESLEY WRIGHT
10201 S. MAIN STREET                  10201 S. MAIN STREET                     10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                        HOUSTON, TX 77025




WESLEY YOUNG                          WESSEX COMMERCIAL MANAGEMENT             WEST 130 APARTMENTS
10201 S. MAIN STREET                  3295 N. DRINKWATER BLVD., SUITE 11       BOZZUTO MGMT CO.
HOUSTON, TX 77025                     SCOTTSDALE, AZ 85251                     130 HEMPSTEAD AVE
                                                                               WEST HEMPSTEAD, NY 11552




WEST ALLIS                            WEST BABYLON CO                          WEST BABYLON COMPANY
ATTN: PROPERTY TAX DEPT.              1455 VETERANS MEMORIAL HWY STE 201       C/O STALLER ASSOCIATES, INC
7525 W. GREENFIELD AVE.               FARMINGVILLE, NY 11749                   1455 VETERANS HWY, SUITE 201
WEST ALLIS, WI 53214                                                           ISLANDIA, NY 11749




WEST BATON ROUGE TAX COLLECTOR DBA    WEST BEND CITY                           WEST BOISE SEWER DISTRICT
EX-OFFICIO TAX COLLECTOR              ATTN: PROPERTY TAX DEPT.                 150 N CAPITOL BLVD
PO BOX 129                            1115 S MAIN ST                           CITY HALL 1, 4TH FL
PORT ALLEN, LA 70767-0129             WEST BEND, WI 53095-4605                 BOISE, ID 83704




WEST BOISE SEWER DISTRICT             WEST CARMEL CSL LLC                      WEST CENTRAL SANITATION INC
7608 USTICK ROAD                      PO BOX 1450                              4089 ABBOTT DR
BOISE, ID 83704                       COLUMBUS, OH 43216                       WILMAR, MN 56201




WEST CENTRAL SANITATION INC           WEST COAST AWARDS &ATHLETICS             WEST END PROPERTIES, LLC
P.O. BOX 796                          515 EAST SMITH ST.                       4919 BETHESDA AVE
WILLMAR, MN 56201                     KENT, WA 98030                           BETHESDA, MD 20814




WEST END PROPERTIES, LLC              WEST END PROPERTIES, LLC                 WEST GATE EQUITY CAPITAL CORPORATION
C/O WOODMOND PROPERTIES INC           C/O WOODMONT PROPERTIES, INC.            C/O KURTELL GROWTH INDUSTRIES, LTD.
4919 BETHESDA AVENUE, SUITE 200       4919 BETHESDA AVENUE, SUITE 200          352 17TH STREET
BETHESDA, MD 20814                    BETHESDA, MD 20814                       VERO BEACH, FL 32960




WEST HARRIS COUNTY MUD 5              WEST HOMESTEAD BOROUGH                   WEST JACKSON MARKETPLACE PARTNERS II
11500 NW FREEWAY, STE 465             456 W EIGHTH AVE                         2002 RICHARD JONES ROAD, SUITE C-200
HOUSTON, TX 77092-6538                HOMESTEAD, PA 15120                      NASHVILLE, TN 37215
                       CasePARTNERS
WEST JACKSON MARKETPLACE      18-12241-CSS
                                    II         Doc 26BAYOU
                                        WEST KEEGANS      Filed
                                                             ID   10/05/18   PageWEST
                                                                                 1689MELBOURNE
                                                                                      of 1739 CENTER LLC
C/O WJ RETAIL PARTNERS                  11111 KATY FWY, 725                      ATTN: JEFF BAKER
2002 RICHARD JONES RD STE C-200         HOUSTON, TX 77079-2197                   141 W ALEXANDER PALM RD
NASHVILLE, TN 37215                                                              BOCA RATON, FL 33432




WEST MELBOURNE I LLC                    WEST MELBOURNE TOWN CENTER LLC           WEST MILWAUKEE
DBA WEST MELBOURNE TOWN CENTER LLC      PO BOX 531794                            ATTN: PROPERTY TAX DEPT.
2030 HAMILTON PLACE BLVD STE 500        ATLANTA, GA 30353-1794                   4755 WEST BELOIT ROAD
CHATTANOOGA, TN 37421-6000                                                       WEST MILWAUKEE, WI 53214




WEST PARK BUSINESS CENTER LLC           WEST PARK MUD                            WEST PENN POWER
4141 HIGHLINE BLVD STE 180              TAX ASSESSOR - COLLECTOR                 76 S MAIN ST
OKLAHOMA CITY, OK 73108                 PO BOX 1819                              AKRON, OH 44038
                                        HOUSTON, TX 77251-1819




WEST PENN POWER                         WEST SAC PALLETS INC                     WEST SAC PALLETS INC
PO BOX 3687                             4300 WEST CAPITOL AVE                    PO BOX 1106
AKRON, OH 44309-3687                    WEST SACRAMENTO, CA 95691                WEST SACRAMENTO, CA 95691




WEST SACRAMENTO FARP                    WEST SADSBURY ASSOCIATES, LP             WEST SPRINGFIELD
PO BOX 742405                           C/O WOLFSON GROUP, INC.                  ATTN: PROPERTY TAX DEPT.
LOS ANGELES, CA 90074                   120 W GERMANTOWN PIKE, SUITE 120         26 CENTRAL STREET STE. 9
                                        ATTN: STEVEN B. WOLFSON                  WEST SPRINGFIELD, MA 01089-2753
                                        PLYMOUTH MEETING, PA 19462



WEST TAGS                               WEST TEX DISPOSAL                        WEST TEX DISPOSAL
PO BOX 1117                             3045 N WINSTON AVE                       P.O. BOX 69161
EAGLE, ID 83616                         ODESSA, TX 79769                         ODESSA, TX 79769-0161




WEST TEXAS WINDOW CLEANING COMPANY      WEST THIRD STREET MANAGEMENT, LLC        WEST TOWN CORNERS, LLC
DBA ABRAHAM HERRERA                     8315 BEVERLY BOULEVARD, SUITE 100        1670 PAYSPHERE CIRCLE
602 E 24TH ST                           LOS ANGELES, CA 90048                    CHICAGO, IL 60674
SAN ANGELO, TX 76903




WEST TOWN CORNERS, LLC                  WEST VALLEY PAVILION LLC                 WEST VALLEY PAVILLION LLC
225 WEST WASHINGTON STREET              C/O FORZA MANAGEMENT LLC                 145 S FAIRFAX AVE 401
INDIANAPOLIS, IN 46204                  P.O. BOX 526412                          LOS ANGELES, CA 90036
                                        SALT LAKE CITY, UT 84152




WEST VALLEY PAVILLION LLC               WEST VALLEY PROPERTIES                   WEST VIEW WATER AUTHORITY
C/O FORZA MANAGEMENT LLC                2929 CAMELBACK ROAD, SUITE 124           210 PERRY HIGHWAY
P.O. BOX 526412                         ATTN: TAMMY PALMER                       PITTSBURGH, PA 15229-1895
SALT LAKE CITY, UT 84152                PHOENIX, AZ 85016




WEST VIEW WATER AUTHORITY               WEST VIRGINIA AMERICAN WATER             WEST VIRGINIA STATE TAX DEPT
PO BOX 747107                           P.O. BOX 371880                          1001 LEE ST
PITTSBURGH, PA 15274-7105               PITTSBURGH, PA 15250-7880                CHARLESTON, WV 25301
WEST VIRGINIA STATE TAXCase
                        DEPT    18-12241-CSS    Doc 26STATE
                                          WEST VIRGINIA   Filed 10/05/18
                                                            TAX DEPT           PageWEST
                                                                                   1690VIRGINIA
                                                                                         of 1739STATE TAX DEPT
ATTN: BUSINESS LICENSE DEPT.               ATTN: SALES & USE TAX DEPT.              ATTN: UNCLAIMED PROPERTY DEPT.
PO BOX 1826                                PO BOX 1826                              PO BOX 1826
CHARLESTON, WV 25327-1826                  CHARLESTON, WV 25327-1826                CHARLESTON, WV 25327-1826




WEST VIRGINIA STATE TAX DEPT               WEST VIRGINIA STATE TAX DEPT/TAX ACCT    WEST WATERS
P.O. BOX 11425                             DIV                                      10201 S. MAIN STREET
CHARLESTON, WV 25339                       P.O. BOX 1202                            HOUSTON, TX 77025
                                           CHARLESTON, WV 25324-1202




WEST WEATHERFORD, LTD.                     WEST WEATHERFORD, LTD.                   WEST WILSON UTILITY DISTRICT
C/O CLEMENTS-GEAR MANAGEMENT CO.           C/O CLEMENTS-GEAR MANAGEMENT CO.         10960 LEBANON RD
4833 BRYANT IRVIN CT STE 200               4833 BRYANT IRVIN CT., SUITE 200         MT JULIET, TN 37122
ATTN: WADE C. GEAR                         ATTN: WADE C. GEAR
FORT WORTH, TX 76107                       FORT WORTH, TX 76107



WEST WILSON UTILITY DISTRICT               WEST WINDSOR PLAZA ASSOCIATES LLC        WEST WINDSOR PLAZA ASSOCIATES LLC
P.O. BOX 97                                PO BOX 746                               820 MORRIS TURNPIKE
MOUNT JULIET, TN 37121-0097                SHORT HILLS, NJ 07078                    SHORT HILLS, NJ 07078




WEST WINDSOR TOWNSHIP OES                  WESTAR ENERGY                            WESTAR ENERGY
DIVISION OF FIRE AND EMERGENCY             818 S KANSAS AVE                         P.O. BOX 758500
SERVICES                                   TOPEKA, KS 66601-0889                    TOPEKA, KS 66675-8500
ATTN KELLY WHITE-SCOTTPO BOX 38
WEST WINDSOR, NJ 08550



WESTBROOK PLAZA LLC                        WESTCHESTER JOINT WATER WORKS            WESTCHESTER JOINT WATER WORKS
4001 S. DECATUR BLVD, SUITE 6              1625 MAMARONECK AVENUE                   P.O. BOX 5069
LAS VEGAS, NV 89103                        MAMARONECK, NY 10543                     WHITE PLAINS, NY 10602-5069




WESTCO PROPERTY MANAGEMENT                 WESTERLY FIRE DEPARTMENT                 WESTERLY TOWN HALL
COMPANY                                    7 UNION ST                               45 BROAD ST
AGENT FOR GOWLAND BROTHERS DVPLMT          WESTERLY, RI 02891                       WESTERLY, RI 02891
365 SAWDUST RD
SPRING, TX 77380



WESTERLY VENTURES, LLC                     WESTERLY VENTURES, LLC                   WESTERLY
1414 ATWOOD AVE                            1414 ATWOOD AVENUE                       ATTN: PROPERTY TAX DEPT.
JOHNSTON, RI 02919                         JOHNSTON, RI 02919                       PO BOX 9900 DEPT 101
                                                                                    PROVIDENCE, RI 02940-4000




WESTERMAN BALL EDERER MILLER ZUCKER        WESTERN ALARM SERVICES INC               WESTERN ALELGHENY COUNTY MUNICIPAL
& SHARFSTEIN                               2029 W ACOMA BLVD STE E                  AUTHORITY
ATTN: PHILIP L. SHARFSTEIN, ESQ.           LAKE HAVASU CITY, AZ 86403               403 VIRGINIA DR
1201 RXR PLAZA                                                                      OAKDALE, PA 15071
UNIONDALE, NY 11556



WESTERN ALLEGHENY CO MUNI AUTH             WESTERN CAROLINA UNIVERSITY              WESTERN COMMUNICATIONS INC
403 VIRGINIA DR                            C/O CAREER SERVICES & COOPERATIVE        PO BOX 6020
OAKDALE, PA 15071                          EDUCATION                                BEND, OR 97708-6020
                                           205 KILLIAN ANNEX
                                           CULLOWHEE, NC 28723
                     Case
WESTERN DISPOSAL SERVICES    18-12241-CSS   Doc
                                       WESTERN    26 Filed
                                               DISPOSAL      10/05/18
                                                        SERVICES             PageWESTERN
                                                                                 1691 ofFLYER
                                                                                         1739EXPRESS INC
5880 BUTTE MILL RD                      P.O. BOX 174466                          5204 W I-40 SERVICE RD
BOULDER, CO 80301                       DENVER, CO 80217-4466                    OKLAHOMA CITY, OK 73128




WESTERN FLYER EXPRESS INC               WESTERN IDAHO FAIR                       WESTERN SIGNATURE PROPERTIES, INC.
PO BOX 150290                           5610 GLENWOOD                            1915-A EAST KATELLA AVENUE
OGDEN, UT 84415-0290                    BOISE, ID 83714                          ORANGE, CA 92867




WESTERN VIRGINIA WATER AUTHORITY        WESTERN VIRGINIA WTR AUTH                WESTERN VIRGINIA WTR AUTH
P.O. BOX 17381                          601 S JEFFERSON ST                       P.O. BOX 17381
BALTIMORE, MD 21297-1381                ROANOKE, VA 24011                        BALTIMORE, MD 21297-1381




WESTERN WASHINGTON SERVICES LLC         WESTFIELD GAS & ELECTRIC                 WESTFIELD GAS & ELECTRIC
1911 SW CAMPUS DR                       C                                        WESTERN FLYER EXPRESS INC
FEDERAL WAY, WA 98023                   WESTFIELD, MA 01085                      WESTFIELD, MA 01085




WESTFORD MARKETPLACE, INC.              WESTFORD VALLEY MARKETPLACE INC          WESTFORD WATER DEPARTMENT
C/O THE WILDER COMPANIES, LTD.          C/O THE WILDER COMPANIES LTD             60 FORGE VILLAGE ROAD
800 BOYLSTON STREET, SUITE 1300         800 BOYLSTON ST STE 1300                 WESTFORD, MA 01886
BOSTON, MA 02199                        BOSTON, MA 02199




WESTFORD                                WESTFORK TOWER LLC                       WESTGATE EQUITY CAPITAL CORP
ATTN: PROPERTY TAX DEPT.                801 ARTHUR GODFREY RD STE 600            352 17TH STREET
55 MAIN STREET                          MIAMI BEACH, FL 33140                    VERO BEACH, FL 32960
WESTFORD, MA 01886




WESTGATE MARKETPLACE DEVELOPERS,        WESTGATE MARKETPLACE INVESTORS #1,       WESTGATE MARKETPLACE INVESTORS 1,
LLC                                     LLC                                      LLC
C/O ZERBY INTERESTS                     7725 W. RENO AVENUE, SUITE 398           7725 W. RENO AVENUE, SUITE 398
7725 W. RENO AVENUE, SUITE 398          OKLAHOMA CITY, OK 73127                  OKLAHOMA CITY, OK 73127
ATTN: W. SCOTT BENTLEY
OKLAHOMA CITY, OK 73127


WESTGATE MARKETPLACE INVESTORS          WESTHEIMER BLUE WILLOW LTD               WESTHEIMER TOWNE CENTER LTD LLC
WESTGATE INVESTORS 1 LLC                C/O HUNINGTON PROPERTIES INC             C/O PROPERTY COMMERCE MGMT CO
7725 W RENO AVE STE 398                 109 N POST OAK LN STE 550                PO BOX 771149
OKLAHOMA CITY, OK 73127                 HOUSTON, TX 77024                        HOUSTON, TX 77215-1149




WESTLAKE GRESHAM CENTER LLC             WESTLAKE RETAIL LP                       WESTLY HALL
520 S EL CAMINO REAL 9TH FL             DBA WLR LTD PARTNERSHIP                  10201 S. MAIN STREET
SAN MATEO, CA 94402                     3832 PAYSPHERE CIRCLE                    HOUSTON, TX 77025
                                        CHICAGO, IL 60674




WESTMINSTER CROSSING EAST, LLC          WESTMINSTER CROSSING EAST, LLC           WESTMINSTER N-EAST LLC
C/O GREENBERG GIBBONS COMMERCIAL        C/O GREENBERG GIBBONS COMMERCIAL         CO CITIMARK
CORPORATION                             10096 RED RUN BLVD, STE 100              8604 ALLISONVILLE RD STE 250
10096 RED RUN BOULEVARD, SUITE 100      ATTN: BRIAN GIBBONS                      INDIANAPOLIS, IN 46250
ATTN: BRIAN GIBBONS                     OWINGS MILLS, MD 21117
OWINGS MILLS, MD 21117
WESTMINSTER NORTHEAST  Case
                          LLC   18-12241-CSS   DocPROPERTIES,
                                          WESTMONT 26 FiledLC10/05/18         PageWESTMONT
                                                                                  1692 of 1739
                                                                                           PROPERTIES, LC
C/O CITIMARK MGMT CO INC                  C/O POLINGER/SHANNON & LUCHS             C/O POLINGER/SHANNON & LUCHS
8604 ALLISONVILLE RD STE 250              5530 WISCONSIN AVE STE 1000              5530 WISCONSIN AVENUE
INDIANAPOLIS, IN 46250                    CHEVY CHASE, MD 20815                    CHEVY CHASE, MD 20815




WESTON MUD                                WESTON RETAIL MGMT. CO. INC.             WESTPARK BUSINESS CENTER COMPANY
PO BOX 1368                               5100 POPLAR AVE STE 2602                 L.L.C.
FRIENDSWOOD, TX 77549-1368                MEMPHIS, TN 38137                        4141 HIGHLINE BLVD., SUITE 180
                                                                                   OKLAHOMA CITY, OK 73108




WESTPOINTE INVESTMENT MGMT LLC            WESTPORT INDUSTRIAL CENTER               WESTPORT INDUSTRIAL CENTER
VALCOR COMMERCIAL REAL ESTATE             7410 NEW LAGRANGE ROAD, SUITE 100        PO BOX 22249
5101 BROADWAY STE 200                     LOUISVILLE, KY 40222                     LOUISVILLE, KY 40252-2249
SAN ANTONIO, TX 78209




WESTPORT                                  WESTRIDGE PARK INVESTORS LP              WESTRIDGE PARK INVESTORS LP
ATTN: PROPERTY TAX DEPT.                  3131 E CAMELBACK RD STE 310              3131 E. CAMELBACK ROAD, SUITE 310
PO BOX 505                                PHOENIX, AZ 85016                        PHOENIX, AZ 85016
WESTPORT, WA 98595




WESTROCK - TAMPA                          WESTROCK CP LLC                          WESTROCK RKT COMPANY
5111 N. 26TH ST.                          PO BOX 409813                            504 THRASHER ST
TAMPA, FL 33610                           ATLANTA, GA 30384-9813                   NORCROSS, GA 30071




WESTVIEW CENTER ASSOCIATES, LLC           WESTVIEW VILLAGE CENTER, LLC             WESTVIEW VILLAGE CENTER, LLC
C/O WHARTON REALTY GROUP, INC.            C/O SAUL CENTERS INC                     C/O SAUL HOLDINGS LP
8 INDUSTRIAL WAY EAST, 2ND FLOOR          7501 WISCONSIN AVE, STE 1500E            PO BOX 64288
ATTN: ISAAC MASSRY                        BETHESDA, MD 20814                       BALTIMORE, MD 21264-4288
EATONTOWN, NJ 07724



WESTVIEW VILLAGE CENTER, LLC              WESTVIEW VILLAGE CENTER, LLC             WESTWARD EXPOS
C/O WINDHAM MANAGEMENT COMPANY            P.O. BOX 38042                           2120 JIMMY DURANTE BLV 106
7501 WISCONSIN AVE, SUITE 1500            BALTIMORE, MD 21297-8042                 DELMAR, CA 92014
ATTN: LEGAL DEPARTMENT
BETHESDA, MD 20814



WESTWIND FOND DU LAC LLC                  WESTWOOD FINANCIAL CORP                  WESTWOOD PLAZA, LLC
300 N MAIN ST STE 300                     ATTN: LAWRENCE STERN                     C/O BURTON PROPERTY GROUP
PO BOX 800                                11440 SAN VINCENTE BLVD STE 200          41 WEST I-65 SERVICE ROAD NORTH, SUITE
OSHKOSH, WI 54903-0800                    LOS ANGELES, CA 90049                    310
                                                                                   MOBILE, AL 36608



WESTWOOD PLAZA, LLC                       WESTWOOD PROPERTY FUND LLC               WESTWOOD PROPERTY FUND LLC
PO BOX 16167                              440 BARRETT PKWY STE 602                 9301 EAST SHEA BLVD STE 124
MOBILE, AL 36616                          KENNESAW, GA 30144                       SCOTTSDALE, AZ 85260




WETHERSFIELD SHOPPING CENTER, LLC         WETHERSFIELD SHOPPING CENTER, LLC        WETHERSFIELD SHOPPING CENTER, LLC
433 S MAIN ST 328                         433 S MAIN ST 328                        C/O M.J. NEIDITZ & COMPANY, INC.
W HARTFORD, CT 06110                      WEST HARTFORD, CT 06110                  125 LASALLE ROAD, #304
                                                                                   ATTN: STEVEN C NEIDITZ
                                                                                   WEST HARTFORD, CT 06107
WETHERSFIELD SHOPPINGCaseCENTER,18-12241-CSS
                                  LLC            Doc 26 Filed 10/05/18
                                          WETHERSFIELD                       PageWEUP-FM
                                                                                 1693 of 1739
C/O M.J. NEIDITZ & COMPANY, INC.          ATTN: PROPERTY TAX DEPT.               BROADCAST ONE LLC
125 LASALLE ROAD, 304                     PO BOX 150452                          PO BOX 11398
ATTN: STEVEN C NEIDITZ                    HARTFORD, CT 06115-0452                HUNTSVILLE, AL 35814
W HARTFORD, CT 06107



WEX BANK                               WEYCER, KAPLAN, PULASKI & ZUBER, PC       WEZB-FM
P.O. BOX 6293                          ATTN: JOSEPH R. PULASKI                   ENTERCOM NEW ORLEANS LLC
CAROL STREAM, IL 60197                 11 GREENWAY PLAZA, SUITE 1400             400 POYDRAS ST STE 800
                                       HOUSTON, TX 77056                         NEW ORLEANS, LA 70130




WEZN FM                                WFAA TV INC DBA WFAA TV, WFAA.COM,        WFAA
PO BOX 933048                          EFAA, HFAA                                PO BOX 660919
ATLANTA, GA 31193-3048                 606 YOUNG ST                              DALLAS, TX 75266-0919
                                       DALLAS, TX 75202-4810




WFAA-TV                                WFAN AM AND WFAN FM                       WFAN/YANKEES
DEPT 730045                            PO BOX 33071                              PO BOX 33071
PO BOX 660919                          NEWARK, NJ 07188-0049                     NEWARK, NJ 07188-0049
DALLAS, TX 75266




WFC FUND 1 LEGACY OPCO LLC             WFC FUND 1 LEGACY OPCO LLC                WFC FUND II PABLO LLC
C/O WESTWOOD FINANCIAL CORP.           C/O WESTWOOD FINANCIAL CORP.              11440 SAN VINCENT BOULEVARD, 2ND
11440 SAN VICENTE BLVD 200             11440 SAN VICENTE BOULEVARD, SUITE 200    FLOOR
ATTN: LEASE ADMINISTRATION             ATTN: LEASE ADMINISTRATION                LOS ANGELES, CA 90049
LOS ANGELES, CA 90049                  LOS ANGELES, CA 90049



WFC FUND II PABLO LLC                  WFDC TV                                   WFFN-FM
WESTWOOD FINANCIAL CORP.-ATTN:AR       PO BOX 759340                             TOWNSQUARE MEDIA TUSCALOOSA LLC
11440 SAN VICENTE BLVD STE 200         BALTIMORE, MD 21275-9340                  PO BOX 978599
LOS ANGELES, CA 90049                                                            DALLAS, TX 75397-8599




WFGR-FM                                WFLD                                      WFLI
TOWNSQUARE MEDIA                       91427 COLLECTIONS CENTER DR               1181 HWY 315
25221 NETWORK PLACE                    CHICAGO, IL 60693                         WILKES BARRE, PA 18702
CHICAGO, IL 60673-1252




WFLX                                   WFLX                                      WFMV-FM
1100 BANYAN BLVD                       PO BOX 11407                              PO BOX 951
WEST PALM BEACH, FL 33401              DRAWER 0372                               COLUMBIA, SC 29202
                                       BIRMINGHAM, AL 35246-0372




WFMY                                   WFNK-FM                                   WFOR-TV
1615 PHILLIPS AVE                      WBIN MEDIA CO INC                         8900 NW 18TH TERRACE
GREENSBORO, NC 27405                   PO BOX 417710                             MIAMI, FL 33172
                                       BOSTON, MA 02241




WFOR-TV                                WFOX FM                                   WFRE WFMD
PO BOX 905891                          PO BOX 933048                             600 FELDWOOD RD
CHARLOTTE, NC 28290-5891               ATLANTA, GA 31193-3048                    LOCK BOX 406062
                                                                                 ATLANTA, GA 30349
WFRV WJMN TV IFRV         Case 18-12241-CSS
                                         WFSB Doc 26          Filed 10/05/18   PageWFSH
                                                                                   1694SALEM
                                                                                        of 1739
                                                                                             ATLANTA
WEAREGREENBAY.COM                        PO BOX 13034                              2970 PEACHTREE RD NW 7TH FL
P.O. BOX 470                             NEWARK, NJ 07188-0034                     ATLANTA, GA 30305
ROCKFORD, IL 61105




WFUN-FM                                  WFXA-FM                                   WFXE-FM
LOCK BOX PAYMENTS                        PERRY BROADCASTING OF AUGUSTA             PO BOX 1998
PO BOX 603441                            6025 BROADCAST DR                         COLUMBUS, GA 31902
CHARLOTTE, NC 28260                      NORTH AUGUSTA, SC 29841




WFXT TV                                  WGAL                                      WGAN-AM
PO BOX 83143                             PO BOX 26878                              PORTLAND RADIO GROUP
CHICAGO, IL 60691-0143                   LEHIGH VALLEY, PA 18002-6878              420 WESTERN AVE
                                                                                   SOUTH PORTLAND, ME 04106




WGAR-FM                                  WGBO                                      WGCI-FM
IHEART CLEVELAND                         PO BOX 740719                             3964 COLLECTIN CENTER DR
98417 COLLECTIONS CENTER DR              LOS ANGELES, CA 90074-0719                CHICAGO, IL 60693
CHICAGO, IL 60693




WGEX-FM                                  WGFB-FM                                   WGGB
IHEART MEDIA                             MID-WEST MANAGEMENT INC                   PO BOX 28881
LOCKBOX 406372                           2830 SANDY HOLLOW RD                      NEW YORK, NY 10087-8881
ATLANTA, GA 30384-6372                   ROCKFORD, IL 61109




WGGY FM                                  WGHP TV                                   WGNAM
PO BOX 729                               PO BOX 417868                             PO BOX 98519
305 HWY 315                              BOSTON, MA 02241-7868                     CHICAGO, IL 60693
PITTSTON, PA 18640-3986




WGN-AM                                   WGNT TV                                   WGN-TJ
PO BOX 98519                             PO BOX 417872                             PO BOX 98519
CHICAGO, IL 60693                        BOSTON, MA 02241-7872                     CHICAGO, IL 60693




WGN-TV                                   WGRD-FM                                   WGRR-FM
PO BOX 98473                             TOWNSQUARE MEDIA                          CUMULUS
CHICAGO, IL 60693                        25221 NETWORK PLACE                       3669 MOMENTUM PLACE
                                         CHICAGO, IL 60673-1252                    CHICAGO, IL 60689-5336




WGST INC                                 WGTZ FM                                   WGTZ-FM
900 NORTH FEDERAL HWY STE 210            MLB-DAYTON III LLC                        ALPHA MEDIA DAYTON
BOCA RATON, FL 33432-2753                717 E. DAVID RD                           717 E DAVID RD
                                         DAYTON, OH 45429                          DAYTON, OH 45429




WH CORNER LTD                            WHAPPS LLC DBA ONLINE REWARDS             WHAPPS LLC DBA ONLINE REWARDS
CO TCII PROPERTY MANAGEMENT INC          3102 MAPLE AVE STE 450                    PO BOX 831965
2450 NE GARDENS DR STE 101               DALLAS, TX 75201                          RICHARDSON, TX 75083-1965
NORTH MIAMI BEACH, FL 33180
                     Case
WHARTON CO ELECTRIC COOP INC18-12241-CSS
                                      WHARTONDocCO26    Filed
                                                  ELECTRIC    10/05/18
                                                            COOP INC        PageWHARTON
                                                                                1695 ofCOUNTY
                                                                                        1739 ELECTRIC COOP. INC
1815 E JACKSON ST                     P.O. BOX 31                                P.O. BOX 31
EL CAMPO, TX 77437                    EL CAMPO, TX 77437-0031                    EL CAMPO, TX 77437-0031




WHARTON COUNTY                         WHARTON REALTY GROUP, INC.                WHARTON
PO BOX 189                             ATTN: MARK MASSRY                         ATTN: PROPERTY TAX DEPT.
WHARTON, TX 77488-0189                 8 INDUSTRIAL WAY EAST, 2ND FLOOR          PO BOX 189
                                       EATONTOWN, NJ 07724                       WHARTON, TX 77488-0189




WHATCOM COUNTY COLLECTOR               WHATCOM COUNTY TREASURER                  WHCEA
ATTN: PROPERTY TAX DEPT.               P.O. BOX 34873                            6800 ELECTRIC DR
P.O. BOX 34873                         SEATTLE, WA 98124-1873                    PO BOX 330
SEATTLE, WA 98124-1873                                                           ROCKFORD, MN 55373-0330




WHCEA                                  WHDH-TV                                   WHDQ-FM
P.O. BOX 77027                         7 BULFINCH PLACE                          106 NORTH MAIN ST
MINNEAPOLIS, MN 55480-7727             BOSTON, MA 02114-2977                     WEST LEBANON, NH 03784




WHEATON MOTEL ASSOCIATES LIMITED       WHEATON MOTEL ASSOCIATES LP               WHEELING NEWSPAPERS INC
PARTNERSHIP                            C/O WILLCO COMPANIES                      INTELLIGENCER/NEWS REGIST
C/O WILLCO COMPANIES                   7811 MONTROSE RD STE 500                  1500 MAIN ST
7811 MONTROSE ROAD, SUITE 500          POTOMAC, MD 20854                         WHEELING, WV 26003
POTOMAC, MD 20854



WHHD-FM                                WHHH-FM                                   WHHY-FM
BEASLEY MEDIA GROUP INC                RADIO ONE OF INDIANA LP                   CUMULUS MONTGOMERY
4051 JIMMIE DYESS PKWY                 PO BOX 92265                              3615 MOMENTUM PLACE
AUGUSTA, GA 30909                      CLEVELAND, OH 44193                       CHICAGO, IL 60689-5336




WHIPKEY, SCOTT                         WHISINVEST REALTY LLC                     WHITE GLOVE ENTERPRISE CORP
8009 RIVERWALK TRL                     1701 CENTERVIEW DR STE 102                129-13 134 ST
MCKINNEY, TX 75070-8559                LITTLE ROCK, AR 72211                     SOUTH OZONE PARK, NY 11420




WHITE KNIGHT SECURITY & AUDIO          WHITE KNIGHT SECURITY SYSTEMS INC         WHITE SECURITY SYSTEMS INC
5 COLONIAL DR                          5 COLONIAL DR                             12617-108TH AVE NE
SMITHTOWN, NY 11787                    SMITHTOWN, NY 11787                       ARLINGTON, WA 98223




WHITE, TERRELL                         WHITEHALL TOWNSHIP TAX OFFICE             WHITEHALL TOWNSHIP TAX OFFICE
207 PRIMROSE WALK                      3221 MACARTHUR RD                         BUSINESS PRIVILEGE TAX DEPT
FORT MILL, SC 29715-8768               WHITE HALL, PA 18052                      3221 MACARTHUR RD
                                                                                 WHITE HALL, PA 18052




WHITEHORSE TECHNOLOGIES INC            WHITEHOUSE INDUSTRIES INC                 WHITEHOUSE INDUSTRIES INC
2011 CRYSTAL DR STE 400                DBA LITTLE RCK SIGN CONWAY SIGN CO        DBA LITTLE ROCK SIGN CONWAY SIGN CO
ARLINGTON, VA 22202                    PO BOX 806                                440 GOODE LANE
                                       CONWAY, AR 72033                          CONWAY, AR 72034
                       CaseLLP
WHITEMAN OSTERMAN & HANNA     18-12241-CSS     Doc 26
                                        WHITESTONE       Filed
                                                    PARKSIDE     10/05/18
                                                              VILLAGE SOUTH,   PageWHITESTONE
                                                                                   1696 of 1739
                                                                                              PARKSIDE VILLAGE SOUTH,
ATTN: TIMOTHY P. MORRISON, ESQ.         LLC                                         LLC
ONE COMMERCE PLAZA                      C/O WHITESTONE REIT                         C/O WHITESTONE REIT
ALBANY, NY 12260                        2600 S GESSNER RD, 500                      2600 S GESSNER RD, # 500
                                        HOUSTON, TX 77063                           HOUSTON, TX 77063



WHITESTONE PARKSIDE VILLAGE SOUTH,       WHITESTONE REIT OPERATING CO IV LLC        WHITESTONE REIT OPERATING CO IV LLC
LLC                                      2600 S GESSNER RD, 500                     2600 S GESSNER RD, # 500
WHITESTONE REIT DEPT 234                 HOUSTON, TX 77063                          HOUSTON, TX 77063
PO BOX 4869
HOUSTON, TX 77210



WHITESTONE REIT OPERATING                WHITESTONE REIT OPERATING                  WHITESTONE REIT OPERATING
PARTNERSHIP LP                           2600 S GESSNER RD, 500                     2600 S GESSNER RD, # 500
DEPT 234                                 HOUSTON, TX 77063                          HOUSTON, TX 77063
PO BOX 4869
HOUSTON, TX 77210



WHITESTONE REIT                          WHITESTONE REIT                            WHITESTONE TERRAVITA MARKETPLACE,
20789 N PIMA RD STE 210                  2600 S GESSNER RD, 500                     LLC
SCOTTSDALE, AZ 85255                     HOUSTON, TX 77063                          C/O WHITESTONE REIT
                                                                                    20789 NORTH PIMA ROAD, SUITE 210
                                                                                    ATTN: PROPERTY MANAGER
                                                                                    SCOTTSDALE, AZ 85255


WHITESTONE TERRAVITA MARKETPLACE,        WHITFIELD COUNTY TAX COMMISIONER           WHITFIELD
LLC                                      205 N SELVIDGE ST - STE J                  ATTN: PROPERTY TAX DEPT.
C/O WHITESTONE REIT                      DALTON, GA 30720-4298                      205 N SELVIDGE ST - STE J
2600 S. GESSNER ROAD, SUITE 500                                                     DALTON, GA 30720-4298
ATTN: LEGAL DEPARTMENT
HOUSTON, TX 77063


WHITLEA JONES                            WHITLEA JONES                              WHITLEY PENN LLP
10201 S. MAIN STREET                     10201 S. MAIN STREET                       DBA OVERMONT
HOUSTON, TX 77025                        HOUSTON, TX 77025                          1400 WEST 7TH ST STE 400
                                                                                    FORT WORTH, TX 76102




WHITLEYS FURNITURE CLINIC                WHITMAN PLAZA ASSOCIATES, LLC              WHITMAN PLAZA ASSOCIATES, LLC
3192 VINEVILLE AVE                       591 STEWART AVE STE 100                    591 SUITEWART AVENUE, SUITE 100
MACON, GA 31204                          GARDEN CITY, NY 11530                      GARDEN CITY, NY 11530




WHITMAN PLAZA ASSOCIATES, LLC            WHITNEY BEALS                              WHITNEY BOWMAN
C/O BRESLIN REALTY DEVLOPMENT CORP       10201 S. MAIN STREET                       10201 S. MAIN STREET
500 OLD COUNTRY RD, STE 200              HOUSTON, TX 77025                          HOUSTON, TX 77025
GARDEN CITY, NY 11530




WHITNEY CALVERT                          WHITNEY CLARK                              WHITNEY MCPHAIL
7209 COQUINA WAY 1                       5006 N OAK TRFY APT 211                    10201 S. MAIN STREET
SAINT PETERSBURG, FL 33706               KANSAS CITY, MO 64118                      HOUSTON, TX 77025




WHITNEY QUIN                             WHITNEY RAY                                WHITNEY SIMMONS LLC
10201 S. MAIN STREET                     10201 S. MAIN STREET                       1983 E SYLVAN AVE
HOUSTON, TX 77025                        HOUSTON, TX 77025                          SALT LAKE CITY, UT 84108
WHITNEY SIMMONS LLC Case         18-12241-CSS    Doc
                                           WHITPAIN   26 ASSOCIATES,
                                                    REALTY Filed 10/05/18
                                                                     LP        PageWHITWORTH
                                                                                   1697 of 1739
                                                                                             WATER DISTRICT 2
PO BOX 520400                               C/O GOODMAN PROPERTIES, INC.            10828 N WAIKIKI RD
SALT LAKE CITY, UT 84152                    636 OLD YORK ROAD, 2ND FLOOR            SPOKANE, WA 99218
                                            ATTN: BRUCE A. GOODMAN
                                            JENKINTOWN, PA 19046



WHITWORTH WATER DISTRICT 2                  WHITWORTH WATER DISTRICT NO 2           WHKO-FM
P.O. BOX 28008                              P.O. BOX 28008                          COX RADIO DAYTON
10828 N. WAIKIKI                            10828 N. WAIKIKI                        PO BOX 83192
SPOKANE, WA 99228-8008                      SPOKANE, WA 99228-8008                  CHICAGO, IL 60691-0192




WHLI-AM                                     WHLW-FM                                 WHODA THUNK, L.L.C.
234 AIRPORT PLAZA STE 5                     IHEART MONTGOMERY                       4701 SE ADMIRAL WAY, SUITE 260
FARMINGDALE, NY 11735                       PO BOX 406159                           SEATTLE, WA 98116
                                            ATLANTA, GA 30384-6159




WHO'DA THUNK, L.L.C.                        WHOLESALE INTERIORS INC                 WHOLESALE RESTAURANT SUPPLY
4701 SE ADMIRAL WAY, SUITE 260              991 SUPREME DR                          6955 WEST 43RD ST
SEATTLE, WA 98116                           BENSENVILLE, IL 60106                   HOUSTON, TX 77092




WHOS CALLING INC.                           WHP                                     WHQG-FM
KEY CONTROL HOLDING INC                     C/O WPGH                                LAKEFRONT COMMUNICATIONS LLC
P.O. BOX 4825                               750 IVORY AVE                           5407 W MCKINLEY AVE
HOUSTON, TX 77210-4825                      PITTSBURGH, PA 15214                    MILWAUKEE, WI 53208




WHSV                                        WHTA-FM                                 WHTM
PO BOX 14200                                LOCKBOX PAYMENTS                        PO BOX 743299
TALLAHASSEE, FL 32317-4200                  PO BOX 603441                           ATLANTA, GA 30384
                                            CHARLOTTE, NC 28260




WHTS-FM                                     WHTX TV                                 WI DEPT OF REV
3639 MOMENTUM PLACE                         PO BOX 842986                           PO BOX 8902
CHICAGO, IL 60689                           BOSTON, MA 02284-2986                   MADISON, WI 53708-8902




WI SCTF                                     WIBA-AM                                 WIBA-FM
PO BOX 74400                                3964 COLLECTION CENTER DR               3964 COLLECTION CENTER DR
MILWAUKEE, WI 53274-0400                    CHICAGO, IL 60693-0039                  CHICAGO, IL 60693-0039




WIBB-FM                                     WICHITA ALARM PROGRAM                   WICHITA COUNTY
IHEART MEDIA                                PO BOX 1162                             ATTN: PROPERTY TAX DEPT.
PO BOX 406372                               WICHITA, KS 67201                       PO BOX 1471
ATLANTA, GA 30384-6372                                                              WICHITA FALLS, TX 76307-1471




WICHITA COUNTY                              WICHITA EAGLE & BEACON PUBLISHING CO    WICHITA FALLS TIMES RECORD NEWS
TAX COLLECTOR                               INC                                     PO BOX 650062
PO BOX 1471                                 PO BOX 510687                           DALLAS, TX 75265-0062
WICHITA FALLS, TX 76307-1471                LIVONIA, MI 48151
WICHITA SQUARE LLC    Case     18-12241-CSS    Doc 26 Filed
                                         WICKLANDER-ZULAWSKI    10/05/18
                                                             & ASSOC, INC        PageWICOMICO
                                                                                     1698 of COUNTY
                                                                                              1739 MD
C/O DALSAN PROPERTIES                      4932 MAIN STREET                          PO BOX 4036
2001 PRESTON ROAD                          DOWNERS GROVE, IL 60515                   SALISBURY, MD 21803-4036
ATTN: WAYNE L. NASH
PLANO, TX 75093



WICOMICO COUNTY                            WIECHERS FAMILY 1996 TRUST                WIG PROPERTIES, LLC - LKPV
ATTN: PROPERTY TAX DEPT.                   P.O. BOX 2633                             C/O WIG PROPERTIES, LLC
PO BOX 4036                                ATTN: MICHAEL WIECHERS                    4811-134TH PLACE SE
SALISBURY, MD 21803-4036                   GRANITE BAY, CA 95746                     BELLEVUE, WA 98006




WIG PROPERTIES, LLC                        WIG PROPERTIES, LLC                       WIGINTON FIRE SYSTEMS
BETSY WILSON                               BETSY WILSON, LEASE ADMINISTRATOR         699 AERO LN
4811 - 134TH PLACE SOUTHEAST               4811-134TH PLACE SE                       SANFORD, FL 32771
BELLEVUE, WA 98006                         BELLEVUE, WA 98006




WIGODA & WIGODA                            WIL DAVIS                                 WIL GLAFENHEIN
ATTN: ROBERT M. WIGODA, ESQ.               10201 S. MAIN STREET
150 NORTH WACKER DRIVER, SUITE 2525        HOUSTON, TX 77025
CHICAGO, IL 60606




WIL NANOFF                                 WILBANKS ASSOCIATES LLC                   WILBERT WORSHAM
10201 S. MAIN STREET                       1455 ENGLISH ST. NW                       10201 S. MAIN STREET
HOUSTON, TX 77025                          ATLANTA, GA 30318                         HOUSTON, TX 77025




WILBUR DAVIS                               WILD ISLAND INC                           WILD PLUM LLC
546 HEITAGE PALMS CT                       355 BOXINGTON WAY                         7880 GATE PARKWAY SUITE 300
TAMPA, FL 33617                            SPARKS, NV 89434                          JACKSONVILLE, FL 32256




WILDWOOD COVENANT GROUP LLC                WILEY HOLDINGS GROUP INC                  WILEY HOLDINGS GROUP INC
2460 PASEO VERDE PKWY                      DBA WILEY PRINTING & THINK WITH INK       DBA WILEY PRINTING &THINKWITHINK.COM
HENDERSON, NV 89074                        9843 CHARTWELL DR                         9843 CHARTWELL DR
                                           DALLAS, TX 75243                          DALLAS, TX 75243




WILEY W MANUEL COURT HOUSE                 WILF LAW FIRM, LLP                        WILFRED CLEMENTE
TRAFFIC DIVISION                           ATTN: LEGAL NOTICE                        10201 S. MAIN STREET
661 WASHINGTON ST                          820 MORRIS TURNPIKE, SUITE 201            HOUSTON, TX 77025
OAKLAND, CA 94607-3922                     SHORT HILLS, NJ 07078




WILFREDO SANTOS                            WILKERSON INVESTMENT CO.                  WILKERSON INVESTMENT CO.
10201 S. MAIN STREET                       P.O. BOX 2525                             P.O. BOX 2525
HOUSTON, TX 77025                          ATTN: GORDON WILKERSON                    LUBBOCK, TX 79408
                                           LUBBOCK, TX 79408




WILKERSON PROPERTIES INC.                  WILKES-BARRE TOWNSHIP VOLUNTEER           WILKS BROADCAST LLC DBA KIMN KWOF
P.O. BOX 2525                              FIRE DEPT                                 AND KXKL
ATTN: GORDON WILKERSON                     PO BOX 2128                               720 S COLORADO BLVD STE 1200N
LUBBOCK, TX 79408                          WILKES BARRE, PA 18702                    DENVER, CO 80246
WILL BIGGS             Case 18-12241-CSS     Doc 26
                                      WILL BOURLAND      Filed 10/05/18   PageWILL
                                                                              1699   of 1739
                                                                                   CARTER
10201 S. MAIN STREET                   3506 MANCHACA RD 236                   10201 S. MAIN STREET
HOUSTON, TX 77025                      AUSTIN, TX 78704                       HOUSTON, TX 77025




WILL CORNAY                            WILL CREEKMORE                         WILL CROSBY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILL ECHOLS                            WILL FISH                              WILL GONZALEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILL HARMAN                            WILL HENDRICKS                         WILL HOUGH
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILL HURLEY                            WILL J BURRIS                          WILL MERRITT
10201 S. MAIN STREET                   705 CROSSFIELD CIRCLE                  10201 S. MAIN STREET
HOUSTON, TX 77025                      NAPLES, FL 34104                       HOUSTON, TX 77025




WILL MORRISSEY                         WILL PORTER                            WILL RUIZ RUIZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILL RUIZ                              WILL SIMMONS                           WILL SNYDER
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILL STONE                             WILL ULCH                              WILL VINTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILL WAGONER                           WILL ZUNIGA                            WILLAMETTE VALLEY PRODUCTIONS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   1118 LANCASTER DR NE 319
HOUSTON, TX 77025                      HOUSTON, TX 77025                      SALEM, OR 97301




WILLARD ARMSTRONG                      WILLARD CURTIS                         WILLBORN, BARNEY
10201 S. MAIN STREET                   10201 S. MAIN STREET                   PO BOX 747
HOUSTON, TX 77025                      HOUSTON, TX 77025                      STRATFORD, TX 79084-0747
WILLCO COMPANIES     Case 18-12241-CSS
                                    WILLCOXDoc  26 Filed
                                            & SAVAGE, P.C. 10/05/18     PageWILLESTY
                                                                            1700 ofROSA
                                                                                     1739
7811 MONTROSE ROAD, SUITE 500       ATTN: ROBERT L. DEWEY                   202 SEA SCAPE LN
POTOMAC, MD 20854                   440 MONTICELLO AVENUE, SUITE 2200       DICKINSON, TX 77539
                                    NORFOLK, VA 23510




WILLETS MANAGEMENT SYSTEMS INC        WILLIAM (BILL) SNELLINGS              WILLIAM A. HERNANDEZ
62 B MAIN ST                          10201 S. MAIN STREET                  C/O HELEN F. DALTON & ASSOCIATES, P.C.
PORT WASHINGTON, NY 11050             HOUSTON, TX 77025                     ATTN: ROMAN AVSHALUMOV
                                                                            69-12 AUSTIN ST
                                                                            FOREST HILLS, NY 11375



WILLIAM ACKERMAN                      WILLIAM ALBERT PFAFFENBERGER          WILLIAM ALLEN
10201 S. MAIN STREET                  6585 GOLDEN OAK LN
HOUSTON, TX 77025                     AVON, IN 46123




WILLIAM ARNETT                        WILLIAM ASHER                         WILLIAM BAIRD
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIAM BALLARD                       WILLIAM BANAS                         WILLIAM BARBEE
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIAM BARCUS                        WILLIAM BARTA                         WILLIAM BASHAM
                                      10201 S. MAIN STREET                  10201 S. MAIN STREET
                                      HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIAM BELL                          WILLIAM BLANCK                        WILLIAM BOSWELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIAM BOYD                          WILLIAM BRADY                         WILLIAM BROWN
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIAM BRYANT                        WILLIAM BUTLER                        WILLIAM BYRNE
10201 S. MAIN STREET                  10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIAM C ROWLAND JR                  WILLIAM C. BOWLAND JR.                WILLIAM C. DETERING
C/O AMERICAN APPLIANCE                P.O. BOX 350                          P.O. BOX 7766
PO BOX 350                            RUNNEMEDE, NJ 08078                   HOUSTON, TX 77270
RUNNEMEDE, NJ 08078
WILLIAM CANTY          Case 18-12241-CSS
                                      WILLIAMDoc  26 Filed 10/05/18
                                              CARLSON                 PageWILLIAM
                                                                          1701 of   1739
                                                                                  CARROLL
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM CARVER                         WILLIAM CASH                        WILLIAM CHANDLER
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM CICCONE                        WILLIAM CLARK                       WILLIAM CONWELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM COOK                           WILLIAM COUCH                       WILLIAM CRAWFORD
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM CRUPE                          WILLIAM CULHANE                     WILLIAM CURRINGTON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM D MCKIBBIN                     WILLIAM D MICKHEY                   WILLIAM D WOLFE
745 ASHE ST                            DBA VSG SIGN & GRAPHICS
HENDERSONVILLE, NC 28792               2953 S MILITARY HWY
                                       CHESAPEAKE, VA 23323




WILLIAM DAVID JR FRIEDMAN & FRIEDMAN   WILLIAM DEAN                        WILLIAM DETERING PROPERTIES, LTD.
LLP                                    10201 S. MAIN STREET                6800 HELMERS ST
ATTN: WILLIAM DAVIS                    HOUSTON, TX 77025                   HOUSTON, TX 77022
409 WASHINGTON AVENUE, SUITE 900
TOWSON, MD 21204



WILLIAM DETERING PROPERTIES, LTD.      WILLIAM DIXON                       WILLIAM DOBROVITS
6800 HELMERS STREET                    10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77022                      HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM DOHM                           WILLIAM DOMSALLA                    WILLIAM DONG
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM DONOHUE                        WILLIAM DORING                      WILLIAM DRAKE
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025
                      Case
WILLIAM DURHAM COMPANY,  LLC   18-12241-CSS
                                         WILLIAMDoc 26 COMPANY,
                                                 DURHAM Filed 10/05/18
                                                                LLC      PageWILLIAM
                                                                             1702 of    1739JR
                                                                                     E BLAND
3135 MILLWOOD AVE STE A1                  P.O. BOX 5129                       DBA LAWN DOCTOR OF THE ALBEMARLE
COLUMBIA, SC 29205                        COLUMBIA, SC 29250-5129             PO BOX 391
                                                                              SOUTH MILLS, NC 27976-0391




WILLIAM E WORLEY                          WILLIAM EDWARDS                     WILLIAM EUBANKS
1310 WAVERLY DR                           10201 S. MAIN STREET
VOLO, IL 60020                            HOUSTON, TX 77025




WILLIAM EVANS                             WILLIAM FAY                         WILLIAM FITCH
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM FRAZIER                           WILLIAM FRYE                        WILLIAM FULTON
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM GALLAGHER                         WILLIAM GERON                       WILLIAM GIBLIN
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM GILES                             WILLIAM GILMORE                     WILLIAM GRANT
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM GREENMAN                          WILLIAM H HECHT                     WILLIAM HAIRELL
6039 WHITBY RD                            703 FILBERT STREET                  10201 S. MAIN STREET
SAN ANTONIO, TX 78240                     PALMYRA, NJ 08065                   HOUSTON, TX 77025




WILLIAM HALL                              WILLIAM HAMILTON                    WILLIAM HAMILTON
                                          10201 S. MAIN STREET                10201 S. MAIN STREET
                                          HOUSTON, TX 77025                   HOUSTON, TX 77025




WILLIAM HARRINGTON II                     WILLIAM HECK                        WILLIAM HECK
1208 PALMETTO DR                          372 BAYSIDE DR S                    372 BAYSIDE DRIVE SOUTH
VENICE, FL 34293                          LONG BEACH, CA 90803                LONG BEACH, CA 90803




WILLIAM HERNANDEZ                         WILLIAM HETZLER                     WILLIAM HEWIT
10201 S. MAIN STREET                      10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                   HOUSTON, TX 77025
WILLIAM HICKS           Case 18-12241-CSS
                                       WILLIAMDoc  26
                                               HINES      Filed 10/05/18   PageWILLIAM
                                                                               1703 of   1739II
                                                                                       HOGANS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    2440 S 74TH ST
HOUSTON, TX 77025                       HOUSTON, TX 77025                       WEST ALLIS, WI 53219




WILLIAM HOLIDAY                         WILLIAM HOLMAN                          WILLIAM HUDSON
                                        10201 S. MAIN STREET                    10201 S. MAIN STREET
                                        HOUSTON, TX 77025                       HOUSTON, TX 77025




WILLIAM J GALLANT                       WILLIAM J SCHULTZ                       WILLIAM J ZANNIE
1025 SE 3RD AVENUE APT 402              COURT OFFICER                           9920 PAPAYA TREE TRAIL APT B
DANIA BEACH, FL 33004                   PO BOX 606                              BOYNTON BEACH, FL 33436
                                        WHITEHOUSE STATION, NJ 08889




WILLIAM JASPER                          WILLIAM KILBURN                         WILLIAM KING SATTERWHITE
10201 S. MAIN STREET                    10201 S. MAIN STREET                    PO BOX 213
HOUSTON, TX 77025                       HOUSTON, TX 77025                       WHARTON, TX 77488




WILLIAM KING                            WILLIAM KLAPKA                          WILLIAM L PROTZEK
10201 S. MAIN STREET                    10201 S. MAIN STREET                    180 OFFORD CIRCLE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       JACKSONVILLE, OR 97530




WILLIAM LAMAR MCCRAG JR                 WILLIAM LAMAR                           WILLIAM LANDRUM
2788 DEFOORS FERRY RD NW                10201 S. MAIN STREET                    10201 S. MAIN STREET
ATLANTA, GA 30318                       HOUSTON, TX 77025                       HOUSTON, TX 77025




WILLIAM LEE                             WILLIAM LEPAPE                          WILLIAM LOWE
1700 DELANE AVE APT 8                   10201 S. MAIN STREET                    10201 S. MAIN STREET
CHARLOTTE, NC 28211                     HOUSTON, TX 77025                       HOUSTON, TX 77025




WILLIAM LYONS                           WILLIAM M SISK                          WILLIAM M SPINOLA
10201 S. MAIN STREET                    4506 INDIAN COURT                       DBA NEWARK MECHANICAL
HOUSTON, TX 77025                       GAINESVILLE, GA 30506                   PO BOX 820
                                                                                NEWARK, CA 94560




WILLIAM MATTHEWS                        WILLIAM MAURER                          WILLIAM MCGILL
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




WILLIAM MOSS                            WILLIAM MUNIZ                           WILLIAM NEWMAN III
10201 S. MAIN STREET                    10201 S. MAIN STREET                    13213 PARKER AVE
HOUSTON, TX 77025                       HOUSTON, TX 77025                       GRAND VIEW, MO 64030
WILLIAM NOBLE          Case 18-12241-CSS
                                      WILLIAMDoc 26
                                              NORTH      Filed 10/05/18   PageWILLIAM
                                                                              1704 of   1739
                                                                                      ORME
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILLIAM PACE                           WILLIAM PARKS                          WILLIAM PATE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILLIAM PERRY                          WILLIAM PHAN                           WILLIAM RANDELL
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILLIAM REYNOLDS                       WILLIAM ROBERTS                        WILLIAM ROJAS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILLIAM RUIZ                           WILLIAM SACCO                          WILLIAM SAUNDERS
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILLIAM SCANU                          WILLIAM SCHONEMAN                      WILLIAM SCHULZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   961 MATLEY LANE 120
HOUSTON, TX 77025                      HOUSTON, TX 77025                      RENO, NV 89502




WILLIAM SELLERS                        WILLIAM SHAFFNER                       WILLIAM SHAW
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILLIAM SHEVCHENKO                     WILLIAM SHOEMAKER                      WILLIAM SIFUENTES
10201 S. MAIN STREET                   10201 S. MAIN STREET                   1432 AUSTIN HWY STE 103
HOUSTON, TX 77025                      HOUSTON, TX 77025                      SAN ANTONIO, TX 78209




WILLIAM SIMMONS                        WILLIAM SMITH                          WILLIAM SULLIVAN
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




WILLIAM SYLVESTER                      WILLIAM TAYLOR                         WILLIAM TEELE
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025
WILLIAM THOMAS          Case 18-12241-CSS
                                       WILLIAMDoc 26 Filed 10/05/18
                                               THOMAS                   PageWILLIAM
                                                                            1705 of   1739
                                                                                    THOMPSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




WILLIAM THOMPSON                        WILLIAM TOLLINI                      WILLIAM TRODY
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




WILLIAM TRUITT                          WILLIAM UGWU                         WILLIAM UNDERWOOD
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




WILLIAM VAWTER                          WILLIAM VERN MCCANN, JR.             WILLIAM WAGNER
10201 S. MAIN STREET                    ATTORNEY AT LAW                      10201 S. MAIN STREET
HOUSTON, TX 77025                       1027 BRYDEN AVENUE                   HOUSTON, TX 77025
                                        LEWISTON, ID 83501




WILLIAM WALDEN                          WILLIAM WALKER                       WILLIAM WARNER
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




WILLIAM WATKINS                         WILLIAM WAYCASTER                    WILLIAM WEGELE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




WILLIAM WELLAUER                        WILLIAM WHITE                        WILLIAM WHITE
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




WILLIAM WHITE                           WILLIAM WHITT                        WILLIAM WILSON
10201 S. MAIN STREET                    10201 S. MAIN STREET                 10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                    HOUSTON, TX 77025




WILLIAMS BROADCASTING                   WILLIAMS KASTNER & GIBBS PLLC        WILLIAMS, HENRY
2351 SUNSET BLVD STE 170-557            PO BOX 21926                         604 DARTMOUTH ST
ROCKLIN, CA 95765                       SEATTLE, WA 98111-3926               WESTBURY, NY 11590-3421




WILLIAMSBURG DOVE LLC                   WILLIAMSON COUNTY CLERK              WILLIAMSON COUNTY FAIR
1 RIVERWAY STE 1870                     P.O. BOX 624                         ATTN: CHERYL BURNSIDE
HOUSTON, TX 77056                       FRANKLIN, TN 37065-0624              325 STILLCREEK DR
                                                                             FRANKLIN, TN 37064
WILLIAMSON COUNTY TAXCase
                      A/C     18-12241-CSS     Doc COUNTY
                                        WILLIAMSON 26 Filed    10/05/18
                                                          TAX ASSESSOR    PageWILLIAMSON
                                                                              1706 of 1739
                                                                                         COUNTY TRUSTEE
ATTN: PROPERTY TAX DEPT.                 COLLECTOR                             P.O. BOX 1365
904 S MAIN ST                            ID: R530440                           FRANKLIN, TN 37065-1365
GEORGETOWN, TX 78626-5852                904 S MAIN ST
                                         GEORGETOWN, TX 78626



WILLIAMSON COUNTY                        WILLIE BANKS                          WILLIE BARBER III
904 S MAIN ST                            10201 S. MAIN STREET                  10373 WOOD HEIGHTS DR
GEORGETOWN, TX 78626-5852                HOUSTON, TX 77025                     DALLAS, TX 75227




WILLIE BATTLE                            WILLIE GREEN                          WILLIE HORTON
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIE JACKSON                           WILLIE KINGORI                        WILLIE MELSON
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIE MIKEL                             WILLIE MILES                          WILLIE PRESCOTT
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIE ROGERS                            WILLIE SMITH                          WILLIE SYKES
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLIE TAYLOR                            WILLIE WILLIAMS                       WILLIE WILLIAMS
10201 S. MAIN STREET                     10201 S. MAIN STREET                  10201 S. MAIN STREET
HOUSTON, TX 77025                        HOUSTON, TX 77025                     HOUSTON, TX 77025




WILLINGHAM PROPERTIES COMPANY            WILLIS J. CHAULK                      WILLIS VENTURES INVESTMENT REAL
ATTN: ROSALIE BOBOWSKI                   C/O CHAULK REALTY TRUST               ESTATE
8525 FERNDALE RD STE 204                 P.O. BOX 33687                        ATTN: DAN WILLIS
DALLAS, TX 75238-4423                    FORT WORTH, TX 76162                  700 LARKSPUR LANDING CIRCLE, SUITE 150
                                                                               LARKSPUR, CA 94939



WILLMAR MUNICIPAL UTILITIES              WILLMAR MUNICIPAL UTILITIES           WILLMAR MUNICIPAL UTILITIES
700 SW LITCHFIELD AVENUE                 P.O. BOX 937                          P.O. BOX 937
WILLMAR, MN 56201                        WILLMAR, MN 56201-0937                WILMAR, MN 56201-0937




WILLOW CHASE ASSOCIATES LLC              WILLOW CREEK GOLF SHOP                WILLOW CREEK GOLF SHOP
2529 VIRGINAI BEACH BLVD STE 200         4545 FM 2920                          5728 ROOT ROAD
VIRGINIA BEACH, VA 23452                 SPRING, TX 77388                      SPRING, TX 77389
WILLOW HOLLIDAY          Case 18-12241-CSS    Doc 26PLAZA
                                        WILLOWBROOK    Filed   10/05/18
                                                          LIMITED            PageWILLOWBROOK
                                                                                 1707 of 1739PLAZA LIMITED
10201 S. MAIN STREET                      PARTNERSHIP                             PARTNERSHIP
HOUSTON, TX 77025                         2030 HAMILTON PLACE BLVD STE 500        PO BOX 952235
                                          CHATTANOOGA, TN 37421-6000              SAINT LOUIS, MO 63195




WILLOWBROOK RETAIL PLAZA LP               WILLOWBROOK RETAIL PLAZA LP             WILLOWCHASE RETAIL ASSOCIATES LP
C/O THE RETAIL CONNECTION LP              PO BOX 116035                           19 BRIAR HOLLOW LANE STE 100
2525 MCKINNON AVE STE700                  ATLANTA, GA 30368-6035                  HOUSTON, TX 77027
DALLAS, TX 75201




WILLOWCHASE RETAIL ASSOCIATES LP          WILLOWCHASE RETAIL ASSOCIATES LP        WILLOWDALE REALTY TRUST
ATTN: PROPERTY MANAGEMENT                 C/O DEPT 316                            35 COLLINS ST UNIT 96
4500 BISSONNET STREET, SUITE 300          PO BOX 4346                             DANVERS, MA 01923
BELLAIRE, TX 77401                        HOUSTON, TX 77210-4346




WILLOWDALE REALTY TRUST                   WILLOWRIDGE MIGHTY EAGLE BAND           WILLOWS POND RETAIL CENTER, LLC
ATTN: PAUL DECOULOS                       BOOSTER CLUB                            ATTN: CHRIS CLARK
39 CROSS STREET, SUITE 204                16301 CHIMNEY ROCK RD                   408 AURORA AVENUE NORTH
PEABODY, MA 01960                         HOUSTON, TX 77053                       SEATTLE, WA 98109




WILLOWS POND RETAIL CENTER, LLC           WILLS GUILLOUETTE                       WILMA LORBER
C/O PACIFIC ASSET ADVISORS INC            10201 S. MAIN STREET                    10201 S. MAIN STREET
14205 SE 36TH ST STE 215                  HOUSTON, TX 77025                       HOUSTON, TX 77025
BELLEVUE, WA 98004




WILMAN SANCHEZ                            WILMER GARCIA                           WILMER MARTINEZ
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




WILMIN RAMIREZ                            WILMINGTON BLUE ROCKS LP                WILMINGTON MAIN REALTY LP
17444 NW 76TH CT                          801 SHIPYARD DR                         C/O COFFMAN REALTY, INC.
MIAMI, FL 33015                           WILMINGTON, DE 19801                    632 WASHINGTON STREET
                                                                                  SOUTH EASTON, MA 02375




WILMINGTON MAIN REALTY LP.                WILMINGTON MAIN REALTY LP.              WILMINGTON
C/O COFFMAN REALTY, INC.                  C/O COFFMAN REALTY, INC.                ATTN: PROPERTY TAX DEPT.
632 WASHINGTON ST                         PO BOX 843466                           800 NORTH FRENCH STREET
SOUTH EASTON, MA 02375                    BOSTON, MA 02284-3466                   WILMINGTON, DE 19801




WILQ-FM                                   WILSHIRE ASPIRATIONS LLC                WILSON COUNTY PROMOTIONS INC
1685 FOUR MILE DR                         2515 N SCOTTSDALLE RD STE 1             945 E BADDOUR PKWY
WILLIAMSPORT, PA 17701                    SCOTTSDALE, AZ 85257                    LEBANON, TN 37087




WILSON COUNTY PROMOTIONS INC              WILSON COUNTY TAX COLLECTOR             WILSON COUNTY TRUSTEE
NELL STEPHENS                             PO BOX 1162                             TAX COLLECTOR
PO BOX 1203                               WILSON, NC 27894-1162                   P.O. BOX 865
LEBANON, TN 37088                                                                 LEBANON, TN 37088-0865
WILSON FIRE EQUIPMENT &Case  18-12241-CSS
                        SERVICE        WILSONDocMEJIA26   Filed   10/05/18    PageWILSON
                                                                                  1708 of   1739
                                                                                         MINCHALA
COMPANY INC                            10201 S. MAIN STREET                        10201 S. MAIN STREET
7303 EMPIRE CENTRAL DR                 HOUSTON, TX 77025                           HOUSTON, TX 77025
HOUSTON, TX 77040-3214




WILSON OLSRUD                           WILSON PENA                                WILSON PUBLICATIONS LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                       PO BOX 1364
HOUSTON, TX 77025                       HOUSTON, TX 77025                          CROSSVILLE, TN 38557




WILSON SCHOOL DISTRICT                  WILSON YARD RETAIL LLC                     WILSON
ATTN: TAX OFFICE                        1020 W MONTROSE AVE                        ATTN: PROPERTY TAX DEPT.
2601 GRANDVIEW BLVD                     CHICAGO, IL 60613                          PO BOX 10
WEST LAWN, PA 19609-1324                                                           WILSON, NC 27894




WILTON DURAN                            WILTON ERB                                 WILTON WATER & SEWER AUTHORITY
10201 S. MAIN STREET                    10201 S. MAIN STREET                       20 TRAVER RD.
HOUSTON, TX 77025                       HOUSTON, TX 77025                          GANSEVOORT, NY 12831




WILV-FM                                 WIMZ-FM                                    WIN DEVELOPMENT, LLC
PO BOX 811100                           MIDWEST COMMUNICATIONS-KNOXVILLE           SUMMER E. DANIELS, CCIM
CHICAGO, IL 60681-1100                  PO BOX 27100                               2226 STATE ROAD 580
                                        KNOXVILLE, TN 37927                        CLEARWATER, FL 33763




WIN EUSTIS LLC                          WIN PROPERTIES, INC.                       WIN SC, LLC
2165 LOUISA DR                          RICKY YARMY - DIRECTOR OF PM               2165 LOUISA DR
BELLEAIR BEACH, FL 33786                10 RYE RIDGE PLAZA, SUITE 200              BELLEAIR BEACH, FL 33786
                                        RYE BROOK, NY 10573




WIN SC, LLC                             WINCHENDON, LLC                            WINCHESTER MARKETPLACE, LP
ATTN: OWEN C. EWING                     C/O MOONEY STEET MANAGEMENT                C/O MEISSNER JACQUET COMMERCIAL RE
2226 STATE ROAD 580                     50 MOONEY STREET                           SRVCS
CLEARWATER, FL 33763                    CAMBRIDGE, MA 02138                        4995 MURPHY CANYON ROAD, SUITE 100
                                                                                   SAN DIEGO, CA 92123-4365



WINCHESTER MARKETPLACE, LP              WINCO BEDDING USA LLP DBA SLEEP INC        WIND WHITESELL
FILE 1941                               ATTN: FRANKIE ALONZA                       10201 S. MAIN STREET
PASADENA, CA 91199-1941                 P O BOX 2126                               HOUSTON, TX 77025
                                        CORSICANA, TX 75151




WINDALIER NORTH COUNTRY PLAZA LLC       WINDER RD TRUCKING LLC                     WIN-DEVELOPMENT LLC, OWEN C. EWING,
PO BOX 185                              7608 OAKBERRY DR                           ET AL.
WORCESTER, MA 01614                     RALEIGH, NC 27616                          C/O GERMER PLLC
                                                                                   ATTN: DAVID L. MERKLEY
                                                                                   2929 ALLEN PARKWAY, SUITE 2900
                                                                                   HOUSTON, TX 77019


WINDFALL PLAZA MANAGEMENT               WINDFALL PLAZA MANAGEMENT                  WINDMILL PLACE STATION, LLC
4360 EAST NEW YORK STREET               4360 EAST NEW YORK STREET                  33354 COLLECTION CTR DR
ATTN: AZMI WANDI                        ATTN: JUDY NI                              CHICAGO, IL 60693-0333
AURORA, IL 60504                        AURORA, IL 60504
WINDMILL PLACE STATION,Case
                        LLC 18-12241-CSS
                                      WINDOW Doc
                                              FILM26
                                                  DEPOT Filed
                                                         INC 10/05/18      PageWINDOW
                                                                               1709 of  1739
                                                                                      GANG
C/O PHILLIPS EDISON & COMPANY         4939 LOWER ROSWELL RD STE 100            1123 ROBLE AVE
11501 NORTHLAKE DRIVE                 MARIETTA, GA 30068                       MOUNT DORA, FL 32757
CINCINNATI, OH 45249




WINDOW GENIE OF GREATER LAFAYETTE     WINDOW GUY                               WINDSOR ASSOCIATES LLC
4684 E ARROW POINT CT                 3655 MORGAN DR                           314 EAGLE DRIVE
BATTLE GROUND, IN 47920               WEIRTON, WV 26062                        JUPITER, FL 33477




WINDSOR ASSOCIATES LLC                WINDSOR AT CENTURY CTR 1590 LLC          WINDSOR CENTURY CTR 1590 LLC
ATTN: SAM SHOCHAT                     WINDSOR AT CENTURY CTR HOLDING LLC       GID FLEXSPACE II
314 EAGLE DR                          P.O. BOX 504258                          125 HIGH ST 27H FL
JUPITER, FL 33477                     ST. LOUIS, MO 63150-4258                 BOSTON, MA 02110




WINDSOR DEVELOPMENT GROUP, INC.       WINDSOR                                  WINDSTAR LAND PARTNERS III, LTD.
P.O. BOX 1549                         ATTN: PROPERTY TAX DEPT.                 ROBERT HARRELL, PROPERTY MANAGER
CLIFTON PARK, NY 12065-0807           301 WALNUT ST                            511 E. JOHN CARPENTER FREEWAY, SUITE
                                      WINDSOR, CO 80550                        200
                                                                               IRVING, TX 75062



WINDSTREAM COMMUNICATIONS INC         WINDSTREAM                               WINDSTREAM
P.O. BOX 9001950                      4001 N RODNEY PARHAM RD                  929 MARTHAS WAY
LOUISVILLE, KY 40290-1950             LITTLE ROCK, AR 72212                    HIAWATHA, IA 52233




WINDSTREAM                            WINDSTREAM                               WINDSTREAM
P.O. BOX 580451                       P.O. BOX 9001013                         P.O. BOX 9001908
CHARLOTTE, NC 28258-0451              LOUISVILLE, KY 40290-1013                LOUISVILLE, KY 40290-1908




WINDSTREAM                            WINDY HUSTED                             WINGFOOT ENTERPRISES INC
PO BOX 9001013                        10201 S. MAIN STREET                     ALLEGIANCE STAFFING
LOUISVILLE, KY 40290-1013             HOUSTON, TX 77025                        5726 ROOT RD
                                                                               SPRING, TX 77389




WINGFOOT                              WINIG WINIG LEWIN TIC                    WINIG, WINIG, LEWIN
1295 WEST I65 SERVICE RD NORTH        C/O HW ASSOCIATES REALTY CORP            C/O HW ASSOCIATES REALTY CORP
MOBILE, AL 36618                      420 BAINBRIDGE ST                        420 BAINBRIDGE STREET
                                      PHILADELPHIA, PA 19147                   PHILADELPHIA, PA 19147




WINK TV                               WINKAI HOLDINGS LLC                      WINKAL HOLDINGS LLC
2824 PALM BEACH BLVD                  C/O WIN PROPERTIES, INC.                 C/O WIN PROPERTIES, INC.
FORT MYERS, FL 33916                  10 RYE RIDGE PLAZA, SUITE 200            10 RYE RIDGE PLAZA, SUITE 200
                                      RYE BROOK, NY 10573                      ATTN: ROBERT BUSBY, CONTROLLER
                                                                               RYE BROOK, NY 10573



WINKAL HOLDINGS, LLC                  WINKAL HOLDINGS, LLC                     WINKAL MANAGEMENT LLC
C/O WIN PROPERTIES, INC.              C/O WIN PROPERTIES, INC.                 10 RYE RIDGE PLAZA STE 200
10 RYE RIDGE PLAZA, SUITE 200         10 RYE RIDGE PLAZA, SUITE 200            PORT CHESTER, NY 10573
ATTN: ROBERT BUSBY, CONTROLLER        RYE BROOK, NY 10573
RYE BROOK, NY 10573
WINN GOODMAN            Case 18-12241-CSS
                                       WINNIE Doc
                                              CHIN 26     Filed 10/05/18     PageWINNING
                                                                                 1710 ofLINK
                                                                                          1739
                                                                                             PROPERTY RESOURCES, INC.
10201 S. MAIN STREET                    10201 S. MAIN STREET                      JACK SOMERS
HOUSTON, TX 77025                       HOUSTON, TX 77025                         1400 EASTCHESTER DRIVE, SUITE 104
                                                                                  PO BOX 6332
                                                                                  HIGH POINT, NC 27262



WINNING LINK PROPERTY RESOURCES, INC.   WINNING LINK PROPERTY RESOURCES, INC.     WINS-AM
JACK SOMERS                             PO BOX 6332                               PO BOX 33085
1400 EASTCHESTER DRIVE, SUITE 104       HIGH POINT, NC 27262                      NEWARK, NJ 07188-0085
PO BOX 6332
HIGH POINT, NC 27265



WINSTON CARTY                           WINSTON COLE                              WINSTON FAIRLEY
10201 S. MAIN STREET                    10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                         HOUSTON, TX 77025




WINSTON HENRY                           WINSTON MURPHY                            WINSTON PARTNERSHIP FUND, LTD.
10201 S. MAIN STREET                    10201 S. MAIN STREET                      701 N CENTRAL EXPRESSWAY BLD 3 STE 300
HOUSTON, TX 77025                       HOUSTON, TX 77025                         RICHARDSON, TX 75080




WINSTON PARTNERSHIP FUND, LTD.          WINSTON-SALEM (OAK SUMMIT) WMC LLC        WINSTON-SALEM JOURNAL
701 N CENTRAL EXPRESSWAY, BLDG 3,       8816 SIX FORKS RD STE 201                 PO BOX 26549
SUITE 300                               RALEIGH, NC 27615                         RICHMOND, VA 23261-6549
RICHARDSON, TX 75080




WINTER EQUIPMENT CORPORATION            WINVEN REALTY LLC                         WINWARD PRINT STAR INC
614 FLORENCE ST                         10 RYE RIDGE PLAZA, SUITE 200             DBA ADPLEX
COLUMBIA, PA 17512                      RYE BROOK, NY 10573                       650 CENTURY PLAZA DR 120
                                                                                  HOUSTON, TX 77073




WIP-FM                                  WIRELESS SERVICES CENTER LLC              WISCONSIN DEPARTMENT OF REVENUE
PO BOX 13044                            6170 INNOVATION WAY                       ATTN: BUSINESS LICENSE DEPT.
NEWARK, NJ 07188-0044                   CARLSBAD, CA 92009                        PO BOX 8960
                                                                                  MADISON, WI 53708




WISCONSIN DEPARTMENT OF REVENUE         WISCONSIN DEPARTMENT OF REVENUE           WISCONSIN DEPT OF REVENUE
ATTN: SALES & USE TAX DEPT.             ATTN: TAX DEPT.                           2135 RIMROCK RD
PO BOX 930208                           PO BOX 930208                             MADISON, WI 53713
MILWAUKEE, WI 53293-0208                MILWAUKEE, WI 53293-0208




WISCONSIN DEPT OF REVENUE               WISCONSIN DEPT OF REVENUE                 WISCONSIN LIFT TRUCK CORP
PO BOX 8960                             PO BOX 930208                             2588 SOLUTIONS CENTER
MADISON, WI 53708-8960                  MILWAUKEE, WI 53293-0208                  CHICAGO, IL 60677-2005




WISCONSIN MALL PROPERTIES, LLC          WISCONSIN MALL PROPERTIES, LLC            WISCONSIN MALL PROPERTIES, LLC
1004 COMMERCIAL AVE 1112                ATTN: RUSS JETER                          ATTN: RUSS JETER
ANACORTES, WA 98221                     4678 VIA ROBLADA                          4678 VIA ROBLADA
                                        LAKEPORT, CA 95453                        SANTA BARBARA, CA 93110
WISCONSIN MEDIA          Case 18-12241-CSS   DocPUBLIC
                                        WISCONSIN 26 SERVICE
                                                       Filed 10/05/18           PageWISCONSIN
                                                                                    1711 of 1739
                                                                                              PUBLIC SERVICE
PO BOX 677386                            1700 SHERMAN ST                             PO BOX 3140
DALLAS, TX 75267                         WAUSAU, WI 54401                            MILWAUKEE, WI 53201-3140




WISCONSIN RAPIDS                         WISCONSIN STATE FAIR PARK BOARD             WISCONSIN UNCLAIMED PROPERTY
ATTN: PROPERTY TAX DEPT.                 640 S 84TH ST                               DEPT OF REVENUE
CITY HALL 444 W GRAND AVE                WEST ALLIS, WI 53214                        PO BOX 8982
WISCONSIN RAPIDS, WI 54495-2780                                                      MADISON, WI 53708




WISSCO IRRIGATION INC                    WITHIT INC                                  WITHIT INC
1820 SOUTH BEND AVE                      PO BOX 16264                                WOMEN IN HOME INDUSTRIES TODAY INC
SOUTH BEND, IN 46637                     HIGH POINT, NC 27261                        2125 EASTCHESTER DR STE 103
                                                                                     HIGH POINT, NC 27265




WITHLACOOCHEE RIVER ELEC COOP            WITHLACOOCHEE RIVER ELEC COOP               WIVK-FM
14651 21ST ST                            P.O. BOX 278                                CITADEL BROADCASTING CORP-KNOXVILLE
DADE CITY, FL 33523                      DADE CITY, FL 33526-0278                    3640 MOMENTUM PLACE
                                                                                     CHICAGO, IL 60689-5336




WIXX-FM                                  WIYY-FM                                     WJAR
MIDWEST COM. APPLETON/OSN/GREENBAY       PO BOX 90025                                PO BOX 26466
1420 BELLEVUE ST                         PRESCOTT, AZ 86304-9025                     RICHMOND, VA 23261-6466
GREEN BAY, WI 54311




WJBQ-FM                                  WJC, LLC                                    WJC, LLC
TOWNSQUARE MEDIA PORTLAND                1120 MAIN ROAD                              ATTN: HAK SUNG CHUNG
PO BOX 28613                             NEWFIELD, NJ 08344                          2070 PLEASANT HILL ROAD, SUITE 100
NEW YORK, NY 10087-8613                                                              DULUTH, GA 30096




WJFK-FM                                  WJG REALTY COMPANY LLC                      WJG REALTY TRUST
POST OFFICE                              ATTN: SR. VICE PRESIDENT REAL ESTATE        PO BOX 3797
PO BOX 32095                             1385 HANCOCK STREET                         BOSTON, MA 02241-3797
NEW YORK, NY 10087-2095                  QUINCY, MA 02169




WJLK FM                                  WJLP                                        WJMK-FM
PO BOX 28054                             1329 CAMPUS PKWY                            22520 NETWORK PLACE
NEW YORK, NY 10087-8054                  NEPTUNE, NJ 07753                           CHICAGO, IL 60673-1225




WJOK-FM                                  WJQK-FM                                     WJS GLYNN LLC
CUMULUS BIRMINGHAM                       CUMULUS BIRMINGHAM                          C/O ALEX THOMPSON REALTY INC
3632 MOMENTUM PLACE                      3632 MOMENTUM PLACE                         PO BOX 24325
CHICAGO, IL 60689-5336                   CHICAGO, IL 60689-5336                      SAINT SIMONS ISLAND, GA 31522




WJXB-FM                                  WJZ TV                                      WJZ-FM
MIDWEST COMMUNICATIONS-KNOXVILLE         PO BOX 33091                                PO BOX 33171
PO BOX 27100                             NEWARK, NJ 07188-0091                       NEWARK, NJ 07188-0171
KNOXVILLE, TN 37927
WKBU-FM                Case    18-12241-CSS    Doc 26
                                         WKCN-FM           Filed 10/05/18     PageWKDD-FM
                                                                                  1712 of 1739
ENTERCOM NEW ORLEANS LLC                 PMB BROADCASTING LLC                     IHEART MEDIA-WKDD-FM
400 POYDRAS ST STE 800                   1820 WYNNTON RD                          3964 COLLECTION CENTER DR
NEW ORLEANS, LA 70130                    COLUMBUS, GA 31906                       CHICAGO, IL 60693-0039




WKGL-FM                                  WKHK-FM                                  WKIX-FM
27150 NETWORK PLACE                      DEPT 2409 PO BOX 11407                   3012 HIGHWOODS BLVD STE 200
CHICAGO, IL 60673-1271                   SUMMIT MEDIA LLC                         RALEIGH, NC 27604
                                         BIRMINGHAM, AL 35246-2409




WKKV-FM                                  WKLB 102.5 FM                            WKPT-TV
IHEART MILWAUKEE/CAPSTAR                 55 MORRISSEY BLVD                        222 COMMERCE ST
PO BOX 847304                            BOSTON, MA 02125                         KINGSPORT, TN 37660
DALLAS, TX 75284-7304




WKQC-FM                                  WKQX-FM                                  WKRK-FM
BEASLEY MEDIA GROUP INC                  CUMULUS CHICAGO                          CBS RADIO CLEVELAND
1520 SOUTH BLVD STE 300                  3578 MOMENTUM PLACE                      22291 NETWORK PLACE
CHARLOTTE, NC 28203                      CHICAGO, IL 60689-5335                   CHICAGO, IL 60673




WKRQ-FM                                  WKRZ FM                                  WKSC-FM
HUBBARD RADIO CINCINNATI LLC             PO BOX 729                               3964 COLLECTIN CENTER DR
PO BOX 645440                            305 HWY 315                              CHICAGO, IL 60693
CINCINNATI, OH 45264-5440                PITTSTON, PA 18640-3986




WKSP-FM                                  WKSZ-FM                                  WKXC-FM
PO BOX 406372                            WOODWARD COMMUNICATIONS INC              BEASLEY MEDIA GROUP INC
ATLANTA, GA 30384-6372                   PO BOX 1519                              4051 JIMMIE DYESS PKWY
                                         APPLETON, WI 54912                       AUGUSTA, GA 30909




WKXW FM                                  WLBK INDUSTRIAL PROPERTIES III LLC       WLFL TV
PO BOX 28052                             PO BOX 74984                             C/O WICS TV
NEW YORK, NY 10087-8052                  CLEVELAND, OH 44194-4984                 2680 E COOK ST
                                                                                  SPRINGFIELD, IL 62703




WLHT-FM                                  WLIF-FM                                  WLIT-FM
TOWNSQUARE MEDIA                         PO BOX 33171                             3964 COLLECTIN CENTER DR
25221 NETWORK PLACE                      NEWARK, NJ 07188-0171                    CHICAGO, IL 60693
CHICAGO, IL 60673-1252




WLLIAM CASTANO                           WLMG-FM                                  WLNE-TV
3738 W COQUINA WAY                       ENTERCOM NEW ORLEANS LLC                 10 ORMS ST STE 300
WESTON, FL 33332                         400 POYDRAS ST STE 800                   PROVIDENCE, RI 02904
                                         NEW ORLEANS, LA 70130




WLNG FM                                  WLNK-FM                                  WLS TV
PO BOX 2000                              GREATER MEDIA CLT                        PO BOX 732384
SAG HARBOR, NY 11963                     ONE JULIAN PRICE PLACE                   DALLAS, TX 75373-2384
                                         CHARLOTTE, NC 28208
WLS-FM                   Case 18-12241-CSS
                                        WLS-TVDoc 26      Filed 10/05/18   PageWLTC-FM
                                                                               1713 of 1739
CUMULUS CHICAGO                         ATTN: WLS-505                          PMB BROADCASTING LLC
3578 MOMENTUM PLACE                     PO BOX 732384                          1820 WYNNTON RD
CHICAGO, IL 60689-5335                  DALLAS, TX 75373-2384                  COLUMBUS, GA 31906




WLTO-FM                                 WLUM-FM                                WLUP-FM
3610 MOMENTUM PLACE                     MILWAUKEE RADIO ALLIANCE LLC           CUMULUS CHICAGO
CHICAGO, IL 60689-5336                  N72 W12922 GOOD HOPE RD                3578 MOMENTUM PLACE
                                        MENOMONEE FALLS, WI 53051              CHICAGO, IL 60689-5335




WLVI-TV                                 WLW-AM                                 WLWI-FM
7 BULFINCH PLACE                        IHEARTMEDIA                            CUMULUS MONTGOMERY
BOSTON, MA 02114-2977                   5851 COLLECTION CENTER DR              3615 MOMENTUM PLACE
                                        CHICAGO, IL 60693                      CHICAGO, IL 60689-5336




WLXX-FM                                 WLZN-FM                                WM ASSOCIATES LP
3610 MOMENTUM PLACE                     CUMULUS MEDIA LLC                      PO BOX 823695
CHICAGO, IL 60689-5336                  3611 MOMENTUM PLACE                    PHILADELPHIA, PA 19182-3695
                                        CHICAGO, IL 60689-5336




WM ASSOCIATES LIMITED PARTNERSHIP       WM GOLDSMITH INC.                      WM LAMPTRACKER INC
C/O GREENBERG GIBBONS                   451 HAYWOOD RD                         1700 BROADWAY ST NE
10096 RED RUN BOULEVARD, SUITE 100      P.O. BOX 1827                          MINNEAPOLIS, MN 55413
ATTN: BRIAN J. GIBBONS                  GREENVILLE, SC 29602
OWINGS MILLS, MD 21117



WM LAMPTRACKER INC                      WM RECYCLE AMERICA                     WM RECYCLE AMERICA
PO BOX 932962                           1001 FANNIN STREET                     P.O. BOX 73356
ATLANTA, GA 31193-2962                  STE 4000                               CHICAGO, IL 60673-7356
                                        HOUSTON, TX 77002-6711




WMA OCCUPATIONAL MEDICINE               WMAD-FM                                WMAQ
BILLING OFFICE                          3964 COLLECTION CENTER DR              LOCKBOX 005071
PO BOX 7107                             CHICAGO, IL 60693-0039                 COLLECTION CENTER DR
KINGSPORT, TN 37664                                                            CHICAGO, IL 60693




WMAR                                    WM-BBC LLC                             WM-BBC, LLC
PO BOX 79988                            DAVID W SCOTT CPA PC 4380 SW MACADAM   C/O DAVID W. SCOTT CPA PC
BALTIMORE, MD 21279-0988                AVE STE 575                            4380 SW MACADAM AVENUE
                                        PORTLAND, OR 97239                     PORTLAND, OR 97239




WMD MIRAMAR LLC                         WMD STUART NORTH LLC                   WMDO TV
CO WOOLBRIGHT DEVELOPMENT INC           ATTN: ACCOUNTS RECEIVABLE              PO BOX 759340
3200 N MILITARY TRAIL 4TH FL            PO BOX 535369                          BALTIMORE, MD 21275-9340
BOCA RATON, FL 33431                    CORAL GABLES, FL 33134




WMGB-FM                                 WMGK-FM                                WMGQ
CUMULUS MEDIA LLC                       ONE BALA PLAZA STE 429                 78 VERONICA AVE
3611 MOMENTUM PLACE                     BALA CYNWYD, PA 19004-1428             SOMERSET, NJ 08873
CHICAGO, IL 60689-5336
WMGX-FM              Case      18-12241-CSS   Doc 26
                                         WMHX-FM             Filed 10/05/18   PageWMIL-FM
                                                                                  1714 of 1739
PORTLAND RADIO GROUP                     7601 GANSER WAY                          IHEART MILWAUKEE/CAPSTAR
420 WESTERN AVE                          MADISON, WI 53719                        PO BOX 847304
SOUTH PORTLAND, ME 04106                                                          DALLAS, TX 75284-7304




WMJI-FM                                  WMJJ-FM                                  WMJM-FM
IHEART CLEVELAND                         IHEART BIRMINGHAM                        520 S FOURTH ST STE 200
98417 COLLECTIONS CENTER DR              PO BOX 406162                            LOUISVILLE, KY 40202
CHICAGO, IL 60693                        ATLANTA, GA 30364




WMMM-FM                                  WMMR-FM                                  WMMS-FM
7601 GANSER WAY                          ONE BALA PLAZA STE 429                   IHEART CLEVELAND
MADISON, WI 53719                        BALA CYNWYD, PA 19004-1428               98417 COLLECTIONS CENTER DR
                                                                                  CHICAGO, IL 60693




WMMX-FM                                  WMRZ-FM                                  WMSP-AM
IHEART DAYTON/CITICASTERS CO             IHEART MEDIA                             CUMULUS MONTGOMERY
3879 COLLECTIONS CENTER DR               LOCKBOX 406372                           3615 MOMENTUM PLACE
CHICAGO, IL 60693                        ATLANTA, GA 30384-6372                   CHICAGO, IL 60689-5336




WMTW-TV                                  WMUR                                     WMXB-AM
PO BOX 26883                             PO BOX 26884                             JIM LAWSON COMMUNICATIONS
LEHIGH VALLEY, PA 18002-6883             LEHIGH VALLEY, PA 18002-6884             PO BOX 70427
                                                                                  TUSCALOOSA, AL 35407




WMXL-FM                                  WMXS-FM                                  WMYI-FM
IHEART LEXINGTON                         CUMULUS MONTGOMERY                       IHEARTMEDIA
3964 COLLECTION CENTER DR                3615 MOMENTUM PLACE                      PO BOX 402524
CHICAGO, IL 60693-0039                   CHICAGO, IL 60689-5336                   ATLANTA, GA 30384-6404




WMYX-FM                                  WNAC                                     WNBC
ENTERCOM MILWAUKEE                       PO BOX 403911                            CFS LOCKBOX
11800 W GRANGE AVE                       ATLANTA, GA 30384                        PO BOX 402971
HALES CORNERS, WI 53130                                                           ATLANTA, GA 30384




WNCI-FM                                  WNCN                                     WNEP TV
IHEARTMEDIA                              33096 COLLECTION CENTER DR               PO BOX 417870
3964 COLLECTION CENTER DR                CHICAGO, IL 60693                        BOSTON, MA 02241-7870
CHICAGO, IL 60693




WNEU                                     WNEW FM                                  WNI/TENNESSEE LP
CFS LOCKBOX                              PO BOX 33086                             TENANT 125167/COMPANY 21915
PO BOX 402971                            NEWARK, NJ 07188-0086                    PO BOX 301074
ATLANTA, GA 30384                                                                 DALLAS, TX 75303-1074




WNIR-FM                                  WNJU                                     WNOX-FM
MEDIA-COM INC                            CFS LOCKBOX                              SCRIPPS MEDIA INC KNOXVILLE
PO BOX 2170                              PO BOX 402971                            PO BOX 203569
AKRON, OH 44309                          ATLANTA, GA 30384                        DALLAS, TX 75320-3569
WNPT-FM               Case 18-12241-CSS     Doc 26CENTER
                                     WNQE VILLAGE       Filed   10/05/18
                                                            VI LLC            PageWNRW-FM
                                                                                  1715 of 1739
TOWNSQUARE MEDIA TUSCALOOSA LLC      2624 SOLUTION CTR                            3964 COLLECTION CENTER DR
PO BOX 978599                        CHICAGO, IL 60677-2006                       CHICAGO, IL 60693-0039
DALLAS, TX 75397-8599




WNUV TV                                 WNVZ-FM                                   WNXX-FM
C/O WLOS                                236 CLEARFIELD AVE STE 206                GUARANTY BROADCASTING COMPANY
110 TECHNOLOGY DR                       VIRGINIA BEACH, VA 23462                  PO BOX 2231
ASHEVILLE, NC 28803                                                               BATON ROUGE, LA 70821




WNYT-TV LLC                             WNYW                                      WOBB-FM
715 N PEARL ST                          5561 COLLECTION CENTER DR                 IHEART MEDIA
ALBANY, NY 12204                        CHICAGO, IL 60693                         LOCKBOX 406372
                                                                                  ATLANTA, GA 30384-6372




WOBM FM                                 WOBURN                                    WODS-FM
PO BOX 28054                            ATTN: PROPERTY TAX DEPT.                  20 GUEST ST 3RD FLOOR
NEW YORK, NY 10087-8054                 PO BOX 227                                BOSTON, MA 02135
                                        WOBURN, MA 01801




WOELFL FAMILY TRUST                     WOELFL FAMILY TRUST                       WOELFL FAMILY TRUST
C/O PACIFIC ASSET ADVISORS INC.         C/O PACIFIC ASSET ADVISORS INC.           C/O PACIFIC ASSET ADVISORS INC.
14205 SE 36TH ST STE 215                14205 SE 36TH ST, STE 215                 14205 SE 36TH STREET, SUITE 215
BELLEVUE, WA 98006                      BELLEVUE, WA 98006                        BELLEVUE, WA 98006




WOFL                                    WOFSEY, ROSEN, KWESKIN & KURIANSKY,       WOGL-FM
12315 COLLECTION CENTER DR              LLP                                       PO BOX 13484
CHICAGO, IL 60693                       ATTN: MARSHALL GOLDBERG                   NEWARK, NJ 07188-0484
                                        600 SUMMER STREET
                                        STAMFORD, CT 06901



WOLCOTT, DEBRA                          WOLF CORPORATION                          WOLF TV
311 W 59TH ST APT 10                    PO BOX 11306                              C/O WPGH
HINSDALE, IL 60521-4935                 FORT WAYNE, IN 46857                      750 IVORY AVE
                                                                                  PITTSBURGH, PA 15214




WOLFORD REALTY CORP.                    WOLFORD REALTY CORP.                      WOLFSON GROUP, INC.
ATTN: CARMEN MASSA                      ATTN: GENE MASSA                          NICOLE SHEARER, LEASE ADMINISTRATION
353 CLIFTON AVENUE                      353 CLIFTON AVENUE                        120 WEST GERMANTOWN PIKE, SUITE 120
KINGSTON, NY 12401                      KINGSTON, NY 12401                        PLYMOUTH MEETING, PA 19462




WOMEN FOR HIRE LLC                      WONDER PARTNERS INC                       WONE-FM
155 W 72 STREET                         NATIONAL RECRUITING GROUP                 RUBBER CITY RADIO GROUP INC
NEW YORK, NY 10023                      48 SOUTH SERVICE RD                       1795 W MARKET ST
                                        MELVILLE, NY 11747                        AKRON, OH 44313




WOOD COUNTY SHERIFF                     WOOD VILLAGE RETAIL I, LLC                WOOD VILLAGE RETAIL I, LLC
ATTN: TREASURER OFFICE                  C/O NAI ELLIOT AS AGENT                   MECHANICS BANK
PO BOX 1985                             901 NE GLISAN STREET                      PO BOX 25086
PARKERSBURG, WV 26102-1985              PORTLAND, OR 97232                        SANTA ANA, CA 92799-5086
                      Case 18-12241-CSS
WOODARD PROPERTIES TENNESSEE LLC            DocREALTY
                                     WOODBRAN    26 Filed
                                                       CORP     10/05/18   PageWOODBRIDGE
                                                                               1716 of 1739
                                                                                          CROSSING L.P.
162 MAPLE STREET                     3439 W BRAINARD RD 260                     C/O INVENTRUST PROPERTY MANAGEMENT,
GORDONSVILLE, TN 38563               WOODMERE, OH 44122                         LLC
                                                                                3025 HIGHLAND PARKWAY, SUITE 350
                                                                                ATTN: PROPERTY MANAGER
                                                                                DOWNERS GROVE, IL 60515


WOODBRIDGE CROSSING LP                WOODBRIDGE CROSSING LP                    WOODBRIDGE CROSSING LP
2001 ROSS AVE STE 550                 C/O INVENTRUST PROPERTIES CORP            C/O INVENTRUST PROPERTY MANAGEMENT,
DALLAS, TX 75201                      3025 HIGHLAND PKWY, STE 350               LLC
                                      DOWNDERS GROVE, IL 60515                  3025 HIGHLAND PARKWAY, SUITE 350
                                                                                ATTN: PROPERTY MANAGER
                                                                                DOWNERS GROVE, IL 60515


WOODBRIDGE CROSSING LP                WOODBURN PLAZA, LLC                       WOODBURN PLAZA, LLC
DEPT 48802                            C/O G GROUP, LLC                          PO BOX 529
P.O. BOX 677813                       200 INTERNATIONAL WAY                     EUGENE, OR 97440
DALLAS, TX 75267-7813                 SPRINGFIELD, OR 97477




WOODBURY CORPORATION                  WOODCOCK REFRIGERATION CO INC             WOODCREEK SQUARE
DALLAS REID, MRED                     30 KENNEDY ROAD                           C/O QUEST COMPANY
2733 EAST PARLEYS WAY, SUITE 300      PO BOX 1133                               1180 SPRING CENTRE SOUTH BOULEVARD,
SALT LAKE CITY, UT 84109-1662         SOUTH WINDSOR, CT 06074                   SUITE 102
                                                                                ALTAMONTE SPRINGS, FL 32714



WOODEN IMPORTS FURNITURE LLC          WOOD-FM                                   WOODHAVEN RETAIL ASSOCIATES, LLC
635 NEW PARK AVE                      3964 COLLECTION CENTER DR                 250 PASSAIC ST
W HARTFORD, CT 06110                  CHICAGO, IL 60693-0039                    NEWARK, NJ 07014




WOODHAVEN RETAIL ASSOCIATES, LLC      WOODHAVEN RETAIL ASSOCIATES, LLC          WOODLAND DEVELOPMENT COMPANY, LLC
250 PASSAIC ST                        250 PASSAIC STREET                        C/O PETROVICH DEVELOPMENT COMPANY
NEWARK, NJ 07104                      NEWARK, NJ 07104                          825 K STREET, SUITE 300
                                                                                SACRAMENTO, CA 95814




WOODLAND DEVELOPMENT COMPANY, LLC     WOODLAND PLAZA LLC                        WOODLAND PLAZA LLC
FIRST BANK AND TRUST                  8585 LA JOLLA SHORES DR                   C/O LBM PROPERTY SERVICES
1625 DOUGLAS BLVD                     LA JOLLA, CA 93037                        8677 VILLA LA JOLLA DRIVE, #331
ROSEVILLE, CA 95661                                                             LA JOLLA, CA 92037




WOODLAND PLAZA LLC                    WOODLAND PLAZA LLC                        WOODLANDS FUND LP (82.27%) & KIRBY
C/O LBM PROPERTY SERVICES             C/O LBM PROPERTY SERVICES                 RETAIL FUND, LP (17.73%)
8677 VILLA LA JOLLA DRIVE, #331       8677 VILLA LA JOLLA DRIVE, 331            C/O ROBERT ORKIN INTEREST I, LTD.
LA JOLLA, CA 93037                    LA JOLLA, CA 93037                        8441 GULF FREEWAY, SUITE 212
                                                                                ATTN: ROBERT ORKIN
                                                                                HOUSTON, TX 77017


WOODLANDS FUND LP (82.27) & KIRBY     WOODLANDS FUND LP                         WOODLANDS METRO CENTER MUD
RETAIL FUND, LP (17.73)               8441 GULF FWY STE 212                     P.O. BOX 7829
C/O ROBERT ORKIN INTEREST I, LTD.     HOUSTON, TX 77017                         THE WOODLANDS, TX 77387-7829
8441 GULF FREEWAY, SUITE 212
ATTN: ROBERT ORKIN
HOUSTON, TX 77017


WOODLANDS PINECROFT CENTER            WOODLANDS PINECROFT CENTER                WOODMONT PROPERTIES, INC.
C/O HEITMAN CAPITAL MGMT LLC          C/O WULFE & CO.                           4919 BETHESDA AVENUE, SUITE 200
LOCKBOX 730137                        1800 POST OAK BOULEVARD                   BETHESDA, MD 20814
DALLAS, TX 75373                      6 BOULEVARD PLACE, SUITE 400
                                      HOUSTON, TX 77056
WOODMOORE TOWNE CENTRE,CaseLLC
                             18-12241-CSS     DocRETAIL
                                       WOODPARK    26 PLAZA
                                                        Filed LP
                                                               10/05/18      PageWOODPARK
                                                                                 1717 of 1739
                                                                                          RETAIL PLAZA LP
C/O PETRIE RICHARDSON VENTURES, LLC    C/O CONNECTED ACQUISITION SERVICES,        DEPT 3010
1919 WEST STREET, SUITE 100            LLC                                        PO BOX 674368
ATTN: TERRY L. RICHARDSON              2525 MCKINNON STREET, SUITE 700            DALLAS, TX 75201
ANNAPOLIS, MD 21401                    ATTN: STEVE HEFFNER
                                       DALLAS, TX 75201


WOODRIDGE SHOPS LLC                     WOODRIDGE, ANDREW                         WOODRUFF RD SC LLC
C/O0 MIDWAY PROPERTY MTG                1214 KOE ST                               CO KIMCO
8424 EVERGREEN LANE                     SAN DIEGO, CA 92114-3432                  6060 PIEDMONT ROW DR S. STE 200
ATTN: MIKE POKORNY                                                                CHARLOTTE, NC 28287
DARIEN, IL 60561



WOODRUFF ROAD SC, LLC                   WOODRUFF ROAD SC. LLC                     WOODWARD COMMUNICATIONS INC
C/O KIMCO REALTY CORPORATION            P.O. BOX 6203                             PO BOX 1519
3333 NEW HYDE PARK ROAD, SUITE 100      DPT CD. SSCG1654/LMATTFI00                APPLETON, WI 54912
NEW HYDE PARK, NY 11042                 HICKSVILLE, NY 11802-6203




WOOLBRIGHT WEKIVA, LLC                  WOOLBRIGHT WEKIVA, LLC                    WOOLBRIGHT WEKIVA, LLC
2129 EAST SEMORAN BLVD                  3200 N. MILITARY TRAIL, 4TH FLOOR         A DELAWARE CORPORATION
APOPKA, FL 32703                        BOCA RATON, FL 33431                      2240 NW 19TH STE 801
                                                                                  BOCA RATON, FL 33431




WOOLBRIGHT WEKIVA, LLC                  WOOLBRIGHT WEKIVA, LLC                    WOONSOCKET CALL INC
PO BOX 864861                           PO BOX 864861                             THE CALL
ORLANDO, FL 32886                       ORLANDO, FL 32886-4861                    75 MAIN ST
                                                                                  WOONSOCKET, RI 02895




WOONSOCKET                              WOOSTER BURBANK LLC                       WOOSTER CITY SERVICES
ATTN: PROPERTY TAX DEPT.                C/O CHASE PROPERTIES LTD                  538 N MARKET ST
169 MAIN ST PO BOX B                    3333 RICHMOND RD STE 320                  WOOSTER, OH 44691
WOONSOCKET, RI 02895                    BEACHWOOD, OH 44122




WOOSTER CITY SERVICES                   WORCESTER COUNTY                          WORCESTER TELEGRAM & GAZETTE
DEPT. 781300                            TAX COLLECTOR                             PO BOX 116653
P.O. BOX 78000                          PO BOX 248                                ATLANTA, GA 30368-6653
DETROIT, MI 48278-1300                  SNOW HILL, MD 21863-0248




WORCESTER TELEGRAM AND GAZETTE          WORCESTOR COUNTY                          WORDSWORTH COMMUNICATIONS
PO BOX 3363                             ATTN: PROPERTY TAX DEPT.                  BOX 54691
BOSTON, MA 02241-3363                   PO BOX 248                                CINCINNATI, OH 45254
                                        SNOW HILL, MD 21863-0248




WORK4 LABS INC                          WORKBOX STAFFING LLC                      WORKDAY INC
735 MARKET ST FL 4                      1350 SCRIBNER AVE NW                      PO BOX 396106
SAN FRANCISCO, CA 94103                 GRAND RAPIDS, MI 49504                    SAN FRANCISCO, CA 94139-6106




WORKERS COMPENSATION ADMIN TRUST        WORKFRONT INC                             WORLD 50 INC
FUND                                    DEPT CH 16712                             3525 PIEDMONT RD
PO BOX 6100                             PALATINE, IL 60055-6712                   BLDG 7 STE 600
TALLAHASSEE, FL 32399-4216                                                        ATLANTA, GA 30305
                     Case 18-12241-CSS
WORLD COMMERCE FORWARDING  INC      WORLDDoc     26 Filed
                                            CONTINENTS INC.       10/05/18   PageWORLD
                                                                                 1718 CONTINENTS,
                                                                                       of 1739 INC
16102 AIR CENTER BLV                4779 TIVOLI PLACE                            4779 TIVOLI PLACE
HOUSTON, TX 77032                   SARASOTA, FL 34235-3649                      SARASOTA, FL 34235-3649




WORLD MEDIA ENTERPRISES INC           WORLDWIDE EXPRESS                          WORLDWIDE SECURITY GROUP LLC
DBA DOTHAN EAGLE                      PO BOX 21272                               ONE COMMERCIAL AVE
PO BOX 280                            NEW YORK, NY 10087                         GARDEN CITY, NY 11530
DOTHAN, AL 36302




WORLEY & PELTZ, PLLC                  WORTHEY, CHARLEY                           WORXTIME LLC
ATTN: JASON M. PELTZ                  14970 W 123RD CIR APT 205                  360 B QUALITY CIRCLE STE 220
7 ORCHARD STREET, SUITE 100           OLATHE, KS 66062-6947                      HUNTSVILLE, AL 35806
ASHEVILLE, NC 28801




WOSF-FM                               WOV-AL LP                                  WOW DEVELOPMENT SRVS LLC
8809 LENOX POINTE DR STE A            1001 W LOOP SOUTH STE 600                  7280 W PALMETO PARK RD STE 302
CHARLOTTE, NC 28273                   HOUSTON, TX 77027                          BOCA RATON, FL 33433




WOW JAX BEACH LLC                     WOW                                        WOXL-FM
WOW DEVELOPMENT SRVS LLC              P.O. BOX 70999                             ASHEVILLE RADIO GROUP
7280 W PALMETO PARK RD STE 302        CHARLOTTE, NC 28272-0999                   1190 PATTON AVE
BOCA RATON, FL 33433                                                             ASHEVILLE, NC 28806




WP CASA GRANDE RETAIL LLC             WP COMPANY LLC                             WP PLAZA POINTE ASSOC
THE PROMENADE AT CASA GRANDE          THE WASHINGTON POST                        PO BOX 536144
PO BOX 29667                          PO BOX 17641                               PITTSBURGH, PA 15253-5903
PHOENIX, AZ 85038                     BALTIMORE, MD 21297-1641




WP REALTY-LAKE SHORE PLAZA LLC        WPBF-TV COMPANY                            WPBF-TV
PO BOX 782471                         3970 RCA BLVD SUITE 7007                   PO BOX 26885
PHILADELPHIA, PA 19178-2471           WEST PALM BEACH, FL 33410                  LEHIGH VALLEY, PA 18002-6885




WPEG-FM                               WPEN-FM                                    WPEZ-FM
BEASLEY MEDIA GROUP INC               ONE BALA PLAZA STE 429                     CUMULUS MEDIA LLC
1520 SOUTH BLVD STE 300               BALA CYNWYD, PA 19004-1428                 3611 MOMENTUM PLACE
CHARLOTTE, NC 28203                                                              CHICAGO, IL 60689-5336




WPHL TV                               WPIX TV                                    WPKR-FM
15190 COLLECTIONS CENTER DR           PO BOX 415945                              CUMULUS APPLETON/OSN
CHICAGO, IL 60693                     BOSTON, MA 02241-5945                      3590 MOMENTUM PLACE
                                                                                 CHICAGO, IL 60689-5335




WPLG                                  WPLR-FM                                    WPLW-FM
PO BOX 864162                         440 WHEELERS FARMS RD STE 302              3012 HIGHWOODS BLVD STE 200
ORLANDO, FL 32886-4162                MILFORD, CT 06461-9133                     RALEIGH, NC 27604
WPMT TV               Case    18-12241-CSS    Doc 26
                                        WPNT INC          Filed 10/05/18       PageWPRI
                                                                                   1719 of 1739
15247 COLLECTIONS CENTER DR             STEEL CITY MEDIA WLTJ-FM                   PO BOX 403911
CHICAGO, IL 60693                       650 SMITHFIELD ST STE 2200                 ATLANTA, GA 30384
                                        PITTSBURGH, PA 15222




WPROMOTE INC                            WPSG-TV                                    WPST-FM
2100 E GRAND AVE 1ST FLOOR              PO BOX 33091                               619 ALEXANDER RD 3RD FLOOR
EL SEGUNDO, CA 90245                    NEWARK, NJ 07188-0091                      PRINCETON, NJ 08540




W-PT METRO CENTER OWNER VIII, LLC       W-PT PRAIRIE STONE VII LLC                 WPTV
40 SKOKIE BOULEVARD, SUITE 610          C/O PINE TREE COMMERCIAL REALTY, LLC       312 WALNUT ST
NORTHBROOK, IL 60062                    40 SKOKIE BOULEVARD, SUITE 610             CINCINNATI, OH 45202
                                        ATTN: PROPERTY MANAGEMENT
                                        NORTHBROOK, IL 60062



WPTV                                    WPTZ-WNNE                                  WPUR FM
PO BOX 116871                           PO BOX 26886                               PO BOX 28055
ATLANTA, GA 30368-6871                  LEHIGH VALLEY, PA 18002-6886               NEW YORK, NY 10087-8055




WPVI                                    WPW MANAGEMENT CORPORATION                 WPXI
ATTN: WPVI-606                          510 BERING DRIVE, SUITE 530                PO BOX 809291
PO BOX 732384                           HOUSTON, TX 77057                          CHICAGO, IL 60680-9291
DALLAS, TX 75373-2384




WQAL-FM                                 WQBZ-FM                                    WQEN-F2
CBS RADIO CLEVELAND                     IHEART MEDIA                               IHEART MEDIA BIRMINGHAM
22286 NETWORK PLACE                     PO BOX 406372                              PO BOX 406162
CHICAGO, IL 60673                       ATLANTA, GA 30384-6372                     ATLANTA, GA 30364




WQMX-FM                                 WQNE JOHNSON CREEK VI, LLC                 WQNE JOHNSON CREEK VI, LLC
RUBBER CITY RADIO GROUP INC             C/O NEWQUEST PROPERTIES                    C/O WALTON STREET CAPITAL, L.L.C.
1795 W MARKET ST                        8827 W. SAM HOUSTON PARKWAY N., SUITE      900 NORTH MICHIGAN AVENUE, SUITE 1900
AKRON, OH 44313                         200                                        ATTN: ANGELA LANG, ESQ.
                                        ATTN: PROPERTY MANAGEMENT                  CHICAGO, IL 60611
                                        HOUSTON, TX 77040


WQNE JOHNSON CREEK VI, LLC              WQRV-FM                                    WQUE-FM
C/O WALTON STREET CAPITAL, L.L.C.       IHEART HUNTSVILLE                          IHEARTMEDIA
900 NORTH MICHIGAN AVENUE, SUITE 1900   PO BOX 406033                              PO BOX 847572
ATTN: ROBBY SCHWINDT                    ATLANTA, GA 30384-6033                     DALLAS, TX 75284
CHICAGO, IL 60611



WR BRISTOL LLC                          WR BRISTOL LLC                             WRAL TV
C/O WESTROCK DEVELOPMENT LLC            C/O WESTROCK DEVELOPMENT                   ACCOUNTING DEPT
440 MAMARONECK AVE STE N-503            440 MAMARONECK AVE, SUITE N-503            PO BOX 60904
ATTN: JASON FRIEDLAND                   ATTN: JASON FRIEDLAND                      CHARLOTTE, NC 28260
HARRISON, NY 10528                      HARRISON, NY 10528



WRAL-FM                                 WRAP-N-PACK INC                            WRAT
PO BOX 60424                            CL4625 PO BOX 95000                        78 VERONICA AVE
CHARLOTTE, NC 28260-0424                PHILADELPHIA, PA 19195-4625                SOMERSET, NJ 08873
WRAY SAULSBERRY           Case 18-12241-CSS    Doc 26
                                         WRBS-FM          Filed 10/05/18   PageWRC
                                                                               1720  of 1739 INC
                                                                                   PROPERTIES
10201 S. MAIN STREET                     3500 COMMERCE DR                       PO BOX 402049
HOUSTON, TX 77025                        HALETHORPE, MD 21227                   ATLANTA, GA 30384




WRC                                      WRCH-FM                                WRD SHIPPENSBURG LP
CFS LOCKBOX                              PO BOX 13086                           40 SHIPPENSBURG SHOPPING CTR
PO BOX 402971                            NEWARK, NJ 07188-0086                  SHIPPENSBURG, PA 17257-9054
ATLANTA, GA 30384




WRD SHIPPENSBURG LP                      WRD SHIPPENSBURG LP                    WRDC TV
C/O POMEGRANATE RE                       C/O POMEGRANATE REAL ESTATE            C/O WICS TV
33 ROCK HILL RD STE 350                  33 ROCK HILL ROAD, SUITE 350           2680 E COOK ST
BALA CYNWYD, PA 19004                    BALA CYNWYD, PA 19004                  SPRINGFIELD, IL 62703




WREW-FM                                  WRFQ-FM                                WRI BEST IN THE WEST LLC
HUBBARD RADIO CINCINNATI LLC             IHEARTMEDIA CHARLESTON                 TENANT 125167/COM 20520
PO BOX 645440                            PO BOX 406337                          PO BOX 301074
CINCINNATI, OH 45264-5440                ATLANTA, GA 30384-6337                 DALLAS, TX 75303-1074




WRI CAMP CREEK MARKETPLACE II            WRI CAMP CREEK MARKETPLACE II          WRI CAMP CREEK MARKETPLACE II
2600 CITADEL PLAZA DR                    2601 CITADEL PLAZA DR                  P.O. BOX 301074
STE 125                                  STE 126                                DALLAS, TX 75303-1074
HOUSTON, TX 77008                        HOUSTON, TX 77009




WRI CAMP CREEK MARKETPLACE II            WRI CAMP CREEK MARKETPLACE             WRI CAMP CREEK MARKETPLACE
TENANT 125167/COMPANY 21955              C/O WEINGARTEN REALTY INVESTORS        TENANT 125167/COMPANY 21955
PO BOX 301074                            P.O. BOX 924133                        PO BOX 301074
DALLAS, TX 75303-1074                    HOUSTON, TX 77292                      DALLAS, TX 75303-1074




WRI FALLS POINTE LLC                     WRI FLAMINGO PINES LLC                 WRI GOLDEN STATE LLC
PO BOX 924133                            ATTN: ACCOUNTING                       PO BOX 301312
HOUSTON, TX 77292-4133                   PO BOX 924133                          DALLAS, TX 75303-1312
                                         HOUSTON, TX 77292-4133




WRI RIDGEWAY, LLC                        WRI RIDGEWAY, LLC                      WRI SOUTHERN INDUSTRIAL POOL LLC
2600 CITADEL PLAZA DRIVE, SUITE 125      TENANT 125167/COMPANY 21290            ATTN: GENERAL COUNSEL
HOUSTON, TX 77008                        PO BOX 301074                          2600 CITADEL PLAZA DRIVE
                                         DALLAS, TX 75303-1074                  HOUSTON, TX 77008




WRIC                                     WRIGHT GLOBAL GRAPHIC SOLUTIONS        WRIGHT, MAUREEN, AS GUARDIAN FOR
PO BOX 743299                            5115 PROSPECT ST                       MOLEI WRIGHT
ATLANTA, GA 30384                        THOMASVILLE, NC 27360                  C/O WAHLBERG, WOODRUFF, NIMMO &
                                                                                SLOANE, LLP
                                                                                ATTN: MICHAEL KANE
                                                                                4601 DTC BLVD., SUITE 950
                                                                                DENVER, CO 80237

WRIGHT, MOLEI                            WRIGHT-HENNEPIN COOPERATIVE ELECTRIC   WRIKE INC
4648 NEEDLEAF LANE                       P.O. BOX 77027                         10 ALMADEN BLVD FL 10 STE 1000
PARKER, CO 80134                         MINNEAPOLIS, MN 55480-7727             SAN JOSE, CA 95113
WRIT LP                  Case 18-12241-CSS
                                        WRIT LPDoc 26      Filed 10/05/18    PageWRIT
                                                                                 1721 LP of 1739
6110 EXECUTIVE BLVD                      C/O WASHINGTON RE INV. TRUST             C/O WASHINGTON RE INV. TRUST
ROCKVILLE, MD 20852                      1775 EYE STREET, N.W., SUITE 1000        PO BOX 79555
                                         ATTN: OFFICE ASSET MANAGEMENT            BALTIMORE, MD 21279-0555
                                         WASHINGTON, DC 20006



WRIT-FM                                  WRKZ-FM                                  WRLH
IHEART MILWAUKEE/CAPSTAR                 99.7 THE BLITZ                           C/O WLOS
PO BOX 847304                            1458 DUBLIN RD                           110 TECHNOLOGY DR
DALLAS, TX 75284-7304                    COLUMBUS, OH 43215                       ASHEVILLE, NC 28803




WRM-MONROE LLC                           WRM-MONROE LLC                           WRM-MONROE LLC
ATTN: BILL MATTHEWS                      ATTN: BILL MATTHEWS                      C/O AZOSE COMMERCIAL PROPERTIES
8192 HIDDEN COVE ROAD                    8192 HIDDEN COVE ROAD                    8451 SE 68TH ST STE 200
ATTN: BILL MATTHEWS                      BAINBRIDGE ISLAND, WA 98110              MERCER ISLAND, WA 98040
BAINBRIDGE ISLAND, WA 98110



WROQ-FM                                  WROR 105.7 FM                            WROU-FM
25 GARLINGTON RD                         55 MORRISSEY BLVD                        ALPHA MEDIA DAYTON
GREENVILLE, SC 29615                     BOSTON, MA 02125                         717 E DAVID RD
                                                                                  DAYTON, OH 45429




WRQQ-FM                                  WRS CENTER I LLC                         WRS CENTER I LLC
CUMULUS-BATON ROUGE                      550 LONG POINT RD                        PO BOX 535659
3631 MOMENTUM PLACE                      MOUNT PLEASANT, SC 29464                 ATLANTA, GA 30353
CHICAGO, IL 60689-5336




WRS CENTERS I, LLC                       WRS CENTERS I, LLC                       WRSA-FM
ATTN: BETHANY HILL                       C/O WRS INC.                             NCA INC
550 LONG POINT ROAD                      550 LONG POINT ROAD                      8402 MEMORIAL PKWY SW
MT. PLEASANT, SC 29464                   MT. PLEASANT, SC 29464                   HUNTSVILLE, AL 35802




WRTB-FM                                  WRXR-FM                                  WS ASSET MANAGEMENT, INC.
MID-WEST MANAGEMENT INC                  IHEART CHATTANOOGA                       33 BOYLSTON STREET, SUITE 3000
2830 SANDY HOLLOW RD                     PO BOX 406372                            CHESTNUT HILL, MA 02467
ROCKFORD, IL 61109                       ATLANTA, GA 30384-6372




WS ATLANTIC WEST, LLC                    W-S NORTH HAMPTON PROPERTIES LLC         WSA SYSTEMS-BOCA INC
ATTN: GENERAL COUNSEL                    33 BOYLSTON ST STE 3000                  442 N W 35TH ST
P.O. BOX 924133                          CHESTNUT HILL, MA 02467                  BOCA RATON, FL 33431
HOUSTON, TX 77292-4133




WSB-AM                                   WSB-FM                                   WSBK TV / MYTV 38
PO BOX 83191                             PO BOX 83191                             PO BOX 33091
CHICAGO, IL 60691-0191                   CHICAGO, IL 60691-0191                   NEWARK, NJ 07188-0091




WSC ASSOCIATES LP C/O THE EQUINOX        WSCC-FM                                  WSCR-AM
GROUP INC                                IHEART MEDIA CHARLESTON                  CBS RADIO
3535 ROSWELL RD. NE STE. 52              PO BOX 406372                            22603 NETWORK PLACE
MARIETTA, GA 30062                       ATLANTA, GA 30384-6372                   CHICAGO, IL 60673-1226
WSFP PORTLAND          Case   18-12241-CSS    Doc 26
                                        WSFR-FM             Filed 10/05/18   PageWSG
                                                                                 1722  of 1739
                                                                                     KANSAS CITY, LLC
C/O CORNERSTONE BILLING                 SUMMIT MEDIA LLC                          C/O TOBIN LAW FIRM
PO BOX 189                              DEPT 2409 PO BOX 11407                    ATTN: KELLY TOBIN
ORLAND PARK, IL 60462-0189              BIRMINGHAM, AL 35246-2409                 1150 GRAND BLVD., SUITE 240
                                                                                  KANSAS CITY, MO 64106



WSG KANSAS CITY, LLC                    WSG WYNDHAM PLAZA LTD                     WSG WYNDHAM PLAZA LTD
C/O HM MGMT & DEVELOPMENT               14 WALL STREET 20TH FL                    C/O BELFORT ASSETS
P.O. BOX 546918                         NEW YORK, NY 10005                        8350 N. CENTRAL EXPRESSWAY, STE 1725
MIAMI BEACH, FL 33154                                                             DALLAS, TX 75206




WSG WYNDHAM PLAZA LTD                   WSHE-FM                                   WSHM-CBS3
PO BOX 205153                           PO BOX 83141                              BOX 13092
DALLAS, TX 75320                        CHICAGO, IL 60691-0141                    NEWARK, NJ 07188-0092




WSKQ                                    WSNX-FM                                   WSOC TV
SPANISH BROADCASTING SYSTEM INC         3964 COLLECTION CENTER DR                 6205 PEACHTREE DUNWOODY RD
7007 NW 77TH AVE                        CHICAGO, IL 60693-0039                    ATLANTA, GA 30328
MIAMI, FL 33166




WSOC-FM                                 WSS-4 SHOPS AT UPTOWN CROSSING LLC        WSSL-FM
BEASLEY MEDIA GROUP INC                 C/O CENCOR REALTY SRVCS INC               IHEARTMEDIA
1520 SOUTH BLVD STE 300                 PO BOX 660394                             PO BOX 402524
CHARLOTTE, NC 28203                     DALLAS, TX 75266-0394                     ATLANTA, GA 30384-6404




WSSP-FM                                 WSTL LLC                                  WSU CAREER SERVICES
ENTERCOM MILWAUKEE                      125 86TH ST                               3885 W CAMPUS DR
11800 W GRANGE AVE                      VIRGINIA BEACH, VA 23451                  OGDEN, UT 84408
HALES CORNERS, WI 53130




WTAQ-AM                                 WTCB-FM                                   WTCPUA BEE CAVE
MIDWEST COM. APPLETON/OSN/GREENBAY      CUMULUS-COLUMBIA SC                       11805 BEE CAVE RD STE 200
1420 BELLEVUE ST                        3663 MOMENTUM PLACE                       BEE CAVE, TX 78738-5561
GREEN BAY, WI 54311                     CHICAGO, IL 60689-5336




WTCPUA BEE CAVE                         WTEN                                      WTGE-FM
12117 BEE CAVE ROAD                     PO BOX 743299                             GUARANTY BROADCASTING CO
BLDG 3, STE 120                         ATLANTA, GA 30384                         PO BOX 2231
AUSTIN, TX 78738                                                                  BATON ROUGE, LA 70821




WTHT-FM                                 WTIC TV                                   WTIC-FM
WBIN MEDIA CO INC                       3562 COLLECTIONS CENTER DR                PO BOX 13086
PO BOX 417710                           CHICAGO, IL 60693                         NEWARK, NJ 07188-0086
BOSTON, MA 02241




WTKR TV                                 WTLC-FM                                   WTM SERVICES
PO BOX 417872                           PO BOX 603441                             PO BOX 5026
BOSTON, MA 02241-7872                   CHARLOTTE, NC 28260-3441                  PASADENA, TX 77508
WTMJ-AM               Case 18-12241-CSS
                                     WTMT-FMDoc 26 Filed      10/05/18   PageWTMUA
                                                                             1723 of 1739
E.W. SCRIPPS COMPANY MILWAUKEE       ASHEVILLE RADIO GROUP                   152 WHITMAN DR
PO BOX 203575                        1190 PATTON AVE                         TURNERSVILLE, NJ 08012
DALLAS, TX 75320-3575                ASHEVILLE, NC 28806




WTMUA                                WTMX-FM                                 WTMX-FM
P.O. BOX 127                         PO BOX 811100                           PO BOX 83141
GRENLOCH, NJ 08032                   CHICAGO, IL 60681-1100                  CHICAGO, IL 60691-0141




WTNH                                 WTPT-FM                                 WTSK-AM
PO BOX 403911                        25 GARLINGTON RD                        TOWNSQUARE MEDIA TUSCALOOSA LLC
ATLANTA, GA 30384                    GREENVILLE, SC 29615                    PO BOX 978599
                                                                             DALLAS, TX 75397-8599




WTSO-AM                              WTTG                                    WTUE-FM
3964 COLLECTION CENTER DR            PO BOX 198085                           IHEART DAYTON/CITICASTERS CO
CHICAGO, IL 60693-0039               ATLANTA, GA 30384-8085                  3879 COLLECTIONS CENTER DR
                                                                             CHICAGO, IL 60693




WTUG-FM                              WTVC                                    WTVD
TOWNSQUARE MEDIA TUSCALOOSA LLC      590 WEST MAPLE STREET                   ATTN: WTVD-707
PO BOX 978599                        KALAMAZOO, MI 49008                     PO BOX 732384
DALLAS, TX 75397-8599                                                        DALLAS, TX 75373-2384




WTVR-TV                              WTW PROPERTIES, LLC                     WTW PROPERTIES, LLC
PO BOX 417876                        ATTN: WAYNE JOHNSON                     ATTN: WAYNE JOHNSON
BOSTON, MA 02241-7876                1167 ROUTE 23 SOUTH                     1167 ROUTE 23 SOUTH
                                     KINNELON, NJ 07405                      KINNELON, NY 07405




WTXF                                 WUBE-FM                                 WUHT-FM
FOX TELEVISION STATIONS LLC          HUBBARD RADIO CINCINNATI LLC            CUMULUS BIRMINGHAM
5532 COLLECTIONS CENTER BLVD         PO BOX 645440                           3632 MOMENTUM PLACE
CHICAGO, IL 60693                    CINCINNATI, OH 45264-5440               CHICAGO, IL 60689-5336




WULFE & CO.                          WUNI TV                                 WURTSBORO ASSOCIATES, LLC
SUSAN MAZEWSKI                       PO BOX 842986                           1680 ROUTE 23 NORTH, SUITE 330
1800 POST OAK BOULEVARD              BOSTON, MA 02284-2986                   WAYNE, NJ 07470
6 BOULEVARD PLACE, SUITE 400
HOUSTON, TX 77056



WUSA                                 WUSA-TV INC                             WUSN-FM
PO BOX 637395                        4100 WISCONSIN AVE NW                   22521 NETWORK PLACE
CINCINNATI, OH 45263-7395            WASHINGTON, DC 20016                    CHICAGO, IL 60673-7225




WUSN-FM                              WUSY-FM                                 WUTB TV
CBS RADIO                            IHEART CHATTANOOGA/CAPSTAR              C/O WLOS
22521 NETWORK PLACE                  PO BOX 406372                           110 TECHNOLOGY DR
CHICAGO, IL 60673-7225               ATLANTA, GA 30384-6372                  ASHEVILLE, NC 28803
WUUQ-FM               Case   18-12241-CSS
                                       WVAW Doc 26       Filed 10/05/18   PageWVAZ-FM
                                                                              1724 of 1739
JACKSON TELECASTERS INC                4370 PEACHTREE RD NE STE 400           3964 COLLECTION CENTER DR
2615 BROAD ST                          ATLANTA, GA 30319                      CHICAGO, IL 60693
CHATTANOOGA, TN 37408




WVBO-FM                                WVEC-TV                                WVEZ-FM
CUMULUS APPLETON/OSN                   PO BOX 905313                          DEPT 2409
3590 MOMENTUM PLACE                    CHARLOTTE, NC 28290-5313               PO BOX 11407
CHICAGO, IL 60689-5335                                                        BIRMINGHAM, AL 35246-2409




WVIR                                   WVIT                                   WVKL-FM
PO BOX 769                             CFS LOCKBOX                            236 CLEARFIELD AVE STE 206
CHARLOTTESVILLE, VA 22902              PO BOX 402971                          VIRGINIA BEACH, VA 23462
                                       ATLANTA, GA 30384-2971




WVNN-AM                                WVNY-TV                                WVRK-FM
CUMULUS HUNTSVILLE                     201 HUMBOLDT ST                        IHEART MEDIA
3608 MOMENTUM PLACE                    ROCHESTER, NY 14610-1093               PO BOX 406372
CHICAGO, IL 60689-5336                                                        ATLANTA, GA 30384-6372




WWBT LLC                               WWDE-FM                                WWDM-FM ALPHA MEDIA LLC
PO BOX 11407                           236 CLEARFIELD AVE STE 206             PO BOX 9127
DRAWER 1498                            VIRGINIA BEACH, VA 23462               COLUMBIA, SC 29290-0127
BIRMINGHAM, AL 35246-1498




WWEX INVESTMENT HOLDINGS LLC           WWKX-FM CUMULUS-PROVIDENCE             WWLP
DBA WORLDWIDE EXPRESS                  3651 MOMENTUM PLACE                    PO BOX 403911
2323 VICTORY AVE STE 1600              CHICAGO, IL 60689-5336                 ATLANTA, GA 30384
DALLAS, TX 75219




WWLS-FM                                WWMG-FM                                WWMX FM
CUMULUS OKLAHOMA CITY                  IHEART MONTGOMERY                      PO BOX 33171
3649 MOMENTUM PLACE                    PO BOX 406159                          NEWARK, NJ 07188-0171
CHICAGO, IL 60689-5336                 ATLANTA, GA 30384-6159




WWOR                                   WWR PROPERTIES                         WWR PROPERTIES
5561 COLLECTION CENTER DR              3803 BRIDGEPORT WAY WEST               3803 BRIDGEPORT WAY WEST
CHICAGO, IL 60693                      ATTN: JANEL SALINE                     UNIVERSITY PLACE, WA 98466
                                       UNIVERSITY PLACE, WA 98466




WWR PROPERTIES                         WWRD LLC                               WWS
DBA OLYMPIC TOWNE CENTER               ATTN: PATRICIA KANIPE, MANAGER         P.O. BOX 669300
3803 BRIDGEPORT WAY WEST               1015 E HYMAN AVE 3                     POMPANO BEACH, FL 33066-9300
UNIVERSITY PLACE, WA 98466             ASPEN, CO 81611




WWSB                                   WWSK-FM                                WWWX-FM
PO BOX 62609                           234 AIRPORT PLAZA STE 5                CUMULUS APPLETON/OSN
BALTIMORE, MD 21264-2609               FARMINGDALE, NY 11735                  3590 MOMENTUM PLACE
                                                                              CHICAGO, IL 60689-5335
WWWZ-FM                Case   18-12241-CSS
                                        WXII   Doc 26     Filed 10/05/18    PageWXLY-FM
                                                                                1725 of 1739
CUMULUS APPLETON/OSN                    PO BOX 26888                            IHEARTMEDIA CHARLESTON
3635 MOMENTUM PLACE                     LEHIGH VALLEY, PA 18002-6888            PO BOX 406372
CHICAGO, IL 60689-5336                                                          ATLANTA, GA 30384-6372




WXMA-FM                                 WXRT-FM                                 WXST-FM
520 S FOURTH ST STE 200                 22603 NETWORK PLACE                     APEX BROADCASTING INC
LOUISVILLE, KY 40202                    CHICAGO, IL 60673-1226                  PO BOX 60819
                                                                                CHARLESTON, SC 29419




WXXA-TV LLC                             WXXQ-FM                                 WXZZ-FM
PO BOX 602817                           27150 NETWORK PLACE                     3610 MOMENTUM PLACE
CHARLOTTE, NC 28260-2817                CHICAGO, IL 60673-1271                  CHICAGO, IL 60689-5336




WYATT JOHNSON                           WYATT SMITH                             WYATT VANGUNDY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




WYBC-FM                                 WYGY-FM                                 WYLD-FM
440 WHEELERS FARMS RD STE 302           HUBBARD RADIO CINCINNATI LLC            IHEARTMEDIA-NEW ORLEANS
MILFORD, CT 06461-9133                  PO BOX 645440                           PO BOX 847572
                                        CINCINNATI, OH 45264-5440               DALLAS, TX 75284




WYNDHAM JADE LLC                        WYNDHAM JADE                            WYNDI KOLB
6100 W PLANO PKWY STE 3500              6100 W PLANO PKWY STE 3500              1206 W MISSISSIPPI
PLANO, TX 75093                         PLANO, TX 75093                         CHICKASHA, OK 73018




WYNG INC                                WYNN LAS VEGAS LLC                      WYNN NAILS
360 PARK AVE S 20TH FLOOR               3131 LAS VEGAS BLVD SOUTH               4439 VIRGINIA BEACH BLVD
NEW YORK, NY 10010                      LAS VEGAS, NV 89109                     VIRGINIA BEACH, VA 23462




WYNN RESORTS LTD                        WYNNE RASMUSSEN                         WYOMING VALLEY SANITARY AUTH
WYNN LAS VEGAS LLC                      10201 S. MAIN STREET                    179 S WYOMING AVE
3131 LAS VEGAS BLVD SOUTH               HOUSTON, TX 77025                       KINGSTON, PA 18704
LAS VEGAS, NV 89109




WYOMING VALLEY SANITARY AUTH            WYOMING VALLEY SANITARY AUTH            WYOU
P.O. BOX 33 A                           P.O. BOX 33A                            201 HUMBOLDT ST
WILKES BARRE, PA 18703-1333             WILKES BARRE, PA 18703-1333             ROCHESTER, NY 14610




WYRB-FM                                 WYSE INVESTMENTS SERVICES COMPANY       WYSE REAL ESTATE ADVISORS
6336 CALUMET AVE                        810 SE BELMONT ST STE 100               810 SE BELMONT ST STE 100
HAMMOND, IN 46324                       PORTLAND, OR 97214                      PORTLAND, OR 97214
WYTHE                  Case   18-12241-CSS    Doc 26
                                        WZCB-FM            Filed 10/05/18   PageWZEE-FM
                                                                                1726 of 1739
ATTN: PROPERTY TAX DEPT.                IHEARTMEDIA                             3964 COLLECTION CENTER DR
225 SOUTH 4TH ST ROOM 104               3964 COLLECTION CENTER DR               CHICAGO, IL 60693-0039
WYTHEVILLE, VA 24382-2547               CHICAGO, IL 60693




WZHT-FM                                 WZID-FM                                 WZMX-FM
IHEART MONTGOMERY                       500 COMMERCIAL ST                       PO BOX 13086
PO BOX 406159                           MANCHESTER, NH 03101                    NEWARK, NJ 07188-0086
ATLANTA, GA 30384-6159




WZYP-FM                                 XAIVER HOLLIS HOLLIS                    XAVIER ANDRADE
CUMULUS HUNTSVILLE                      10201 S. MAIN STREET                    10201 S. MAIN STREET
3608 MOMENTUM PLACE                     HOUSTON, TX 77025                       HOUSTON, TX 77025
CHICAGO, IL 60689-5336




XAVIER ARIAS                            XAVIER BERNARD                          XAVIER BOOKER
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




XAVIER BRIDGES                          XAVIER CHAVARRIA                        XAVIER HOPKINS
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




XAVIER LEIJA                            XAVIER MUNIZ                            XAVIER PRADO
10201 S. MAIN STREET                    2709 VIA CIPRIANI UNIT 514A             10201 S. MAIN STREET
HOUSTON, TX 77025                       CLEARWATER, FL 33764                    HOUSTON, TX 77025




XAVIER RAMOS                            XAVIER TREJO CARLOS                     XAVIER WASHINGTON
10201 S. MAIN STREET                    10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                       HOUSTON, TX 77025




XAVIER WHITE                            XAVIER ZAMBRANO                         XCEL ENERGY
10201 S. MAIN STREET                    10201 S. MAIN STREET                    414 NICOLLET MALL
HOUSTON, TX 77025                       HOUSTON, TX 77025                       MINNEAPOLIS, MN 55401




XCEL ENERGY                             X-CHAIR LLC                             X-CHAIR LLC
P.O. BOX 9477                           10300 SOUTHARD DR                       ATTN: ACCOUNTS RECEIVABLE
MINNEAPOLIS, MN 55484-9477              BELTSVILLE, MD 20705                    PO BOX 782
                                                                                BELTSVILLE, MD 20704




XENITH BANK                             XETV                                    XHRM-FM
ATTN: JAMIE COLLIE                      8253 RONSON ROAD                        6160 CORNERSTONE CT STE 150
1011 BOULDER SPRINGS DRIVE, SUITE 410   SAN DIEGO, CA 92111                     SAN DIEGO, CA 92121
RICHMOND, VA 23225
XHTZ-FM               Case 18-12241-CSS     DocIMAGING
                                     XL DIGITAL  26 Filed        10/05/18     PageXL
                                                                                   1727  of 1739
                                                                                     SPECIALITY INSURANCE CO.
LOCAL MEDIA SAN DIEGO LLC            9755 CLIFFORD DR STE 170                      70 SEAVIEW AVENUE
6160 CORNERSTONE CT E STE 150        DALLAS, TX 75220                              SEAVIEW HOUSE
SAN DIEGO, CA 92121                                                                STAMFORD, CT 06902




XO COMMUNICATIONS                      XO                                          XO
FILE 50550                             13865 SUNRISE VALLEY DR                     FILE 50550
LOS ANGELES, CA 90074-0550             HERNDON, VA 20171                           LOS ANGELES, CA 90074-0550




XPRS-AM                                XPRS-FM                                     X-SPAN RESULTS INC
PO BOX 928333                          PO BOX 928333                               C/O ANDY STRAKER
SAN DIEGO, CA 92192                    SAN DIEGO, CA 92192                         422 MEADOW WATCH LN
                                                                                   ATLANTA, GA 30350




XTRA LEASE                             XTRA LEASE                                  XTRA-FM
7911 FORSYTH BLVD STE 600              PO BOX 219562                               6160 CORNERSTONE CT STE 150
SAINT LOUIS, MO 63105-3860             KANSAS CITY, MO 64121-9562                  SAN DIEGO, CA 92121




XTREME INTEGRATION INC                 XUE GUAN                                    YAC INDUSTRIES
311 W RAILROAD ST                      8 THE RISE                                  2 RED OAK PLACE
NORWOOD YOUNG AMERICA, MN 55368        WOODBURY, NY 11797                          CHESHIRE, CT 06410




YACER RODRIGUEZ                        YACHEN WANG                                 YACY VELAZQUEZ
10201 S. MAIN STREET                   1217 LOMITA LN                              10201 S. MAIN STREET
HOUSTON, TX 77025                      CARPINTERIA, CA 93013                       HOUSTON, TX 77025




YADIRA RUIZ                            YAELA ARCEO                                 YAHAIRA KRDZALIC
10201 S. MAIN STREET                   10201 S. MAIN STREET                        10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                           HOUSTON, TX 77025




YAHIA SAYEED                           YAHOO INC                                   YAHYA HILAL
10201 S. MAIN STREET                   P.O. BOX 89-4147                            10201 S. MAIN STREET
HOUSTON, TX 77025                      LOS ANGELES, CA 90189-4147                  HOUSTON, TX 77025




YAKIMA COUNTY TREASURER                YAKIMA COUNTY                               YAKIMA HERALD
ATTN: PROPERTY TAX DEPT.               PO BOX 22530                                PO BOX 9668
PO BOX 22530                           YAKIMA, WA 98907-2530                       YAKIMA, WA 98909
YAKIMA, WA 98907-2530




YAKIMA MEDIA GROUP                     YAKIMA WASTE SYSTEMS INC - DIST 2195        YAKIMA WASTE SYSTEMS INC - DIST 2195
PO BOX 2890                            2812 1/2 TERRACE HEIGHTS DR                 P.O. BOX 60248
YAKIMA, WA 98907                       YAKIMA, WA 98901                            LOS ANGELES, CA 90060-0248
YALANDA KEENE          Case 18-12241-CSS    Doc 26
                                      YALE CENTER PROP Filed
                                                       MGMT 10/05/18   PageYALE
                                                                            1728  of 1739 LLC
                                                                                CLARKSVILLE,
10201 S. MAIN STREET                   MCKAY INV REALTY                    C/O YALE REALTY SERVICES CORP.
HOUSTON, TX 77025                      1000 JORIE BLVD STE 34              10 NEW KING STREET, SUITE 102
                                       OAK BROOK, IL 60523                 WHITE PLAINS, NY 10604




YALE REALTY SERVICES CORP.             YALE REALTY SERVICES CORP.          YAM PROPERTIES
ATTN: LUKE GORZ                        ATTN: PAUL MONACO                   15750 N. NORTHSIGHT BLVD.
10 NEW KING STREET, SUITE 102          10 NEW KING STREET, SUITE 102       SCOTTSDALE, AZ 85260
WHITE PLAINS, NY 10604                 WHITE PLAINS, NY 10604




YAM PROPERTIES                         YAMILETH GOMEZ-MORALES              YAMMA NAIM
DAVID DAHL                             1319 SECOND ST                      10201 S. MAIN STREET
15750 N. NORTHSIGHT BOULEVARD          WHITTIER, CA 90605                  HOUSTON, TX 77025
SCOTTSDALE, AZ 85260




YANDER VARGAS                          YANET GONZALEZ                      YANGZHOU BOTHWIN TOYS CO LTD
10201 S. MAIN STREET                   10201 S. MAIN STREET                CHINA
HOUSTON, TX 77025                      HOUSTON, TX 77025




YANIQUE SABINO                         YANKEE DOODLE COMMERCIAL LLC        YANKEE DOODLE COMMERCIAL LLC
10201 S. MAIN STREET                   C/O INTERSTATE PARTNERS             C/O INTERSTATE PARTNERS
HOUSTON, TX 77025                      6390 CARLSON DR                     6390 CARLSON DRIVE
                                       EDEN PRAIRIE, MN 55346              EDEN PRAIRIE, MN 55346




YANNICK MULHOLLAND                     YANNIS REMEDIAKIS                   YANNY HERNADES
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




YAQUELIN CORTINA                       YARA SUKI                           YARITZA ENCARNACION
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




YARITZA SANTANA COURET                 YAS SHARIF DOMINGUEZ                YASAMIN Y SAKHI
10201 S. MAIN STREET                   10201 S. MAIN STREET                8827 NORTHBROOK CIRCLE
HOUSTON, TX 77025                      HOUSTON, TX 77025                   BROOKLYN PARK, MN 55428




YASIN TAILOR                           YASIR RAPHAEL                       YASMANI ROMERO
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025




YASMEL CORTES                          YASMIN CREWS                        YASMINE JACKSON
10201 S. MAIN STREET                   10201 S. MAIN STREET                10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                   HOUSTON, TX 77025
YASNIEL ESPINOSA       Case 18-12241-CSS
                                      YASNIELDoc 26
                                              GARCIA     Filed 10/05/18   PageYATB
                                                                               1729 of 1739
10201 S. MAIN STREET                   3440 HOLLYWOOD BLVD 2ND FLOOR          YORK ADAMS TAX BUREAU
HOUSTON, TX 77025                      HOLLYWOOD, FL 33021                    1405 NORTH DUKE ST
                                                                              PO BOX 15627
                                                                              YORK, PA 17405



YATES-DAVIS, DEBRA                     YAVAPAI BROADCASTING CORP              YAVAPAI COUNTY TREASURER
6 GREENBRIAR RD                        PO BOX 187                             1015 FAIR STREET
MONTGOMERY, IL 60538                   COTTONWOOD, AZ 86326                   PRESCOTT, AZ 86305-1807




YAVAPAI                                YDT SINCLAIR ROAD, LLC                 YDT SINCLAIR ROAD, LLC
ATTN: PROPERTY TAX DEPT.               C/O MARK F. TAGGART COMPANY, AMO       PO BOX 932628
1015 FAIR STREET                       942 A FREEWAY DRIVE NORTH              CLEVELAND, OH 44193
PRESCOTT, AZ 86305-1807                COLUMBUS, OH 43229




YEEMENG THAO                           YEFIM BRITAN                           YEFRISON TAVAREZ
10201 S. MAIN STREET                   10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      HOUSTON, TX 77025




YELENA CARPENCO                        YELENA KOSILOVA                        YELLOW HOLDINGS LTD
10201 S. MAIN STREET                   10201 S. MAIN STREET                   250 MILL STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                      ROCHESTER, NY 14614




YELLOW PAGES DIRECTORIES               YELP INC.                              YELP INC.
DBA AD TELAMERICA INC                  140 NEW MONTGOMERY 9TH FLOOR           P.O. BOX 204393
PO BOX 111455                          SAN FRANCISCO, CA 94105                DALLAS, TX 75320-4393
CARROLLTON, TX 75011-1455




YEMISI OSOFERO                         YES ENERGY MANAGEMENT                  YES ENERGY MANAGEMENT
10201 S. MAIN STREET                   9910 FEDERAL DR                        P.O. BOX 660901
HOUSTON, TX 77025                      STE 100                                DALLAS, TX 75266-0901
                                       COLORADO SPRINGS, CO 80921-3616




YES NETWORK HOLDING COMPANY LLC        YES NETWORK LLC                        YESENI LOMELI
DBA YES NETWORK LLC                    32897 COLLECTIONS CTR DR               740 GALVIN LN
32897 COLLECTIONS CTR DR               CHICAGO, IL 60693                      FILLMORE, CA 93015
CHICAGO, IL 60693




YESENIA ORTIZ                          YESENIA VELAZQUEZ                      YESSENIA NAVARRETE
58 WARSAW ST                           10201 S. MAIN STREET                   736 W CEDAR ST
ROCHESTER, NY 14621                    HOUSTON, TX 77025                      OXNARD, CA 93033




YETI COOLERS LLC                       YETI COOLERS                           YEXT INC
5301 SOUTHWEST PKWY STE 200            PO BOX 843780                          PO BOX 9509
AUSTIN, TX 78735                       DALLAS, TX 75284-3780                  NEW YORK, NY 10087-9509
YF, LLC                Case 18-12241-CSS
                                      YF, LLC Doc 26     Filed 10/05/18   PageYIN
                                                                               1730
                                                                                  LINGof 1739
                                                                                      MATOS
8050 ARMOUR ST                         8050 ARMOUR STREET                      10201 S. MAIN STREET
SAN DIEGO, CA 92111                    SAN DIEGO, CA 92111                     HOUSTON, TX 77025




YK COMMERCIAL REALTY LLC               YODER LAWN CARE LLC                     YOEL CARRATALA
KITCHELL DEVELOPMENT                   14901 AUTUMN RD                         10201 S. MAIN STREET
1707 E HIGHLAND AVE STE 100            HEYWORTH, IL 61745                      HOUSTON, TX 77025
PHOENIX, AZ 85016




YOEL GONZALEZ                          YOELKIS RODRIGUEZ                       YOHANN KO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




YOHANNY STAPLETON                      YOLANDA A ECHEVERRY                     YOLANDA BRADSHAW
10201 S. MAIN STREET                   9737 NW 41ST ST                         10201 S. MAIN STREET
HOUSTON, TX 77025                      STE 388                                 HOUSTON, TX 77025
                                       DORAL, FL 33178




YOLANDA CALLE                          YOLANDA FAYE PERRY                      YOLANDA HAIRSTON
10201 S. MAIN STREET                   1734 ABRAM ROSS AVE                     10201 S. MAIN STREET
HOUSTON, TX 77025                      OKLAHOMA CITY, OK 73117                 HOUSTON, TX 77025




YOLETTE JOHN                           YOLO COUNTY TAX COLLECTOR               YOLO
10201 S. MAIN STREET                   PO BOX 1995                             ATTN: PROPERTY TAX DEPT.
HOUSTON, TX 77025                      WOODLAND, CA 95776                      PO BOX 1995
                                                                               WOODLAND, CA 95776




YOLONDA MERCADO                        YONAS TESFAI                            YONAS TESFAI
1112 W GLENFLORA AVE                   5514 GRIGGS DR 3031                     5514 GRIGGS DR 3031
WAUKEGAN, IL 60085                     HOUSTON, TX 77021                       HOUSTON, TX 77021




YONATON SOLOMON                        YONE DAVIS                              YONNER GONZALEZ MERECIO
10201 S. MAIN STREET                   10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                       HOUSTON, TX 77025




YORK AND PARKS ASSOCIATES LP           YORK AND PARKS ASSOCIATES LP            YORK COUNTY NATURAL GAS AUTHORITY
1258 HENRY ST                          1258 HENRY STREET                       979 W MAIN ST
BALTIMORE, MD 21230                    BALTIMORE, MD 21230                     ROCKHILL, SC 29730




YORK COUNTY NATURAL GAS AUTHORITY      YORK COUNTY TREASURER                   YORK COUNTY
P.O. BOX 11907                         P.O. BOX 116                            TREASURER
ROCK HILL, SC 29731-1907               YORK, SC 29745                          PO BOX 10
                                                                               YORKTOWN, VA 23690
                      Case
YORK INTERNATIONAL CORP         18-12241-CSS    Doc 26 INC.
                                          YORK PROPERTIES, Filed 10/05/18      PageYORK
                                                                                    1731ROAD
                                                                                         of 1739
                                                                                             INVESTORS LLC
UNITARY PRODUCTS GROUP                     ATTN: SHAWN SEUBERLING                   C/O CONNER COMMERCIAL PROP LLC
PO BOX 730747                              2108 CLARK AVENUE                        6401 CARMEL RD STE 203
DALLAS, TX 75373-0747                      RALEIGH, NC 27605                        CHARLOTTE, NC 28226




YORK ROAD INVESTORS LLC                    YORK TOWN CENTER HOLDING LP              YORK TOWN CENTER HOLDING LP
C/O CONNER COMMERCIAL PROP LLC             C/O CBL & ASSOCIATES MANAGEMENT, INC.    LEASE ID:LSLEEMA0
6401 CARMEL ROAD, SUITE 203                CBL CENTER, SUITE 500                    PO BOX 74044
CHARLOTTE, NC 28226                        2030 HAMILTON PLACE BOULEVARD            CLEVELAND, OH 44194-4044
                                           CHATTANOOGA, TN 37421-6000



YORK TOWN CENTER HOLDING LP                YORK                                     YORKSHIRE PLAZA PARTNERS LLC
PO BOX 74044                               ATTN: PROPERTY TAX DEPT.                 PO BOX 204
CLEVELAND, OH 44194                        PO BOX 10                                BEDFORD PARK, IL 60499-0204
                                           YORKTOWN, VA 23690




YOSEF REALTY (CAPITAL CENTER               YOSEF REALTY (CAPITAL CENTER             YOSEF REALTY (CAPITAL CENTER
CINCINNATI) ADA COMPLIANT ADA              CINCINNATI)                              CINCINNATI)
C/O DI MANAGEMENT                          4444 ST CATHERINE ST WEST STE 100        C/O BANK OF THE OZARKS
10182 INTERSTATE BLVD.                     WESTMOUNT, PQ H3Z 1R2                    8300 DOUGLAS RD STE 810
CINCINNATI, OH 45246                       CANADA                                   DALLAS, TX 75225-6214



YOSEF REALTY (CAPITAL CENTER               YOSEMITE                                 YOST ROBERTSON NOWAK PLLC
CINCINNATI)                                4250 W SHAW AVE                          133 HOLIDAY COURT, SUITE 208
C/O DI MANAGEMENT                          FRESNO, CA 93722                         FRANKLIN, TN 37067
10182 INTERSTATE BLVD.
CINCINNATI, OH 45246



YOSVANY OLAZABAL                           YOTES DENVER                             YOTTAA INC
10201 S. MAIN STREET                       13802 E 33RD PLACE STE A                 100 FIFTH AVE 4TH FLOOR
HOUSTON, TX 77025                          AURORA, CO 80011                         WALTHAM, MA 02451




YOTTAA INC                                 YOUDIT MUNSON                            YOUNG BROADCASTING OF GREEN BAY INC
PO BOX 675020                              10201 S. MAIN STREET                     DBA WBAY
DETROIT, MI 48267-5020                     HOUSTON, TX 77025                        PO BOX 60664
                                                                                    CHARLOTTE, NC 28260-0664




YOUNG CHANG                                YOUNGSTOWN WATER DEPT                    YOUNGSTOWN WATER DEPT
10201 S. MAIN STREET                       CITY HALL, 1ST FL                        P.O. BOX 6219
HOUSTON, TX 77025                          26 S PHELPS ST                           YOUNGSTOWN, OH 44501
                                           YOUNGSTOWN, OH 44503




YOUR CAREER RESOURCE, LLC                  YOURMEMBERSHIP.COM INC                   YOURMEMBERSHIP.COM INC
170 NE 2ND ST 312                          9620 EXECUTIVE CENTER DR N 200           DEPT 3461 PO BOX 123461
BOCA RATON, FL 33429                       SAINT PETERSBURG, FL 33702               DALLAS, TX 75312-3461




YP LLC DBA YELLOWPAGES COM LLC             YP LLC DBA YELLOWPAGES COM LLC           YRC INC DBA YRC FREIGHT
2247 NORTHLAKE PARKWAY                     P.O. BOX 601141                          PO BOX 730375
TUCKER, GA 30084                           PASADENA, CA 91189-1141                  DALLAS, TX 75373-0375
YSM PONDEROSA, LLC     Case 18-12241-CSS     Doc 26 LLC
                                      YSM PONDEROSA,    Filed 10/05/18       PageYUAN
                                                                                  1732TUof 1739
C/O PONDEROSA LAND DELVPMT CO         C/O PONDEROSA LAND DEVELOPMENT             10201 S. MAIN STREET
550 WESTCOTT ST STE 550               COMPANY                                    HOUSTON, TX 77025
ATTN: JAMES W. CHANG                  550 WESTCOTT STREET, SUITE 660
HOUSTON, TX 77007                     ATTN: JAMES W. CHANG
                                      HOUSTON, TX 77007


YUBA CITY MARKET PLACE                 YUBA CITY MARKET PLACE                    YUBA CITY POLICE DEPARTMENT
C/O CLOVER PROPERTY MANAGEMENT         C/O CLOVER PROPERTY MANAGEMENT            PO BOX 3477
PO BOX 1260                            PO BOX 1260                               YUBA CITY, CA 95992
SUMMERLAND, CA 93067                   SUMMERLAND, CA 93067




YUCHIN ROBB                            YUDERQUI CATRO                            YUK YU
10201 S. MAIN STREET                   7426 TART ST                              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOLLYWOOD, FL 33024                       HOUSTON, TX 77025




YUKI K.J. LYONS                        YUKON ROUTE 66 LLC                        YUKON ROUTE 66 LLC
73-1103 LOLOA DR                       C/O CHASE PROPERTIES LTD.                 LOCKBOX 205690
KAILUA KONA, HI 96740                  3333 RICHMOND ROAD, SUITE 320             PO BOX 205690
                                       ATTN: DAVID A. ELI, GENERAL COUNSEL       DALLAS, TX 75320-5690
                                       BEACHWOOD, OH 44122



YULIA BABUROVA                         YUME INC                                  YUNI MIN
10201 S. MAIN STREET                   DEPT CH 16422                             4435 SANDALWOOD WAY
HOUSTON, TX 77025                      PALATINE, IL 60055-6422                   CUMMING, GA 30041




YUNILSE FERMIN RODRIGUEZ               YUNNI CHEN                                YURI GALLEGOS
10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025




YURI MARTINEZ                          YURI POWE                                 YUSUF MUSTAFA
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




YUVRAJ CHHAGAN                         YVETTE JOHNSON                            YVETTE LINARAKIS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025




YVETTE LOPEZ                           YVETTE NAZARETH                           YVETTE PINON
10201 S. MAIN STREET                   10201 S. MAIN STREET                      1917 PRESTON AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                         LOS ANGELES, CA 90026




YVETTE WILLIAMS                        YVONNE NEWBERRY                           YVONNE WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET                      10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                         HOUSTON, TX 77025
Z SULEMAN                Case 18-12241-CSS    Doc 26
                                        Z&K HOLDING, LP     Filed 10/05/18   PageZ&K
                                                                                  1733  of 1739
                                                                                     HOLDING, LP
10201 S. MAIN STREET                      2205 ENTERPRISE DRIVE, SUITE 502        2205 W ENTERPRISE DR 502
HOUSTON, TX 77025                         WESTCHESTER, IL 60154                   WESTCHESTER, IL 60154




Z.A. SNEEDEN, LLC                         Z.A. SNEEDEN, LLC                       ZA SNEED
1015 ASHES DRIVE, #205                    1015 ASHES DRIVE, 205                   1015 ASHES DR STE 205
WILMINGTON, NC 28405                      WILMINGTON, NC 28405                    WILMINGTON, NC 28405




ZABRINA TIDBALL                           ZAC SPENCER                             ZAC WILSON
123 SUSAN DRIVE                           10201 S. MAIN STREET                    10201 S. MAIN STREET
HENDERSONVILLE, TN 37075                  HOUSTON, TX 77025                       HOUSTON, TX 77025




ZACCHAEUS COLLINS                         ZACH ANDERSON                           ZACH AUST
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




ZACH BROOKS                               ZACH DODD                               ZACH FARMER
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




ZACH GORMAN                               ZACH GORMAN                             ZACH HARTWELL
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




ZACH JAMES                                ZACH MANSFIELD                          ZACH MCCALLA
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




ZACH MCCRACKEN                            ZACH NOWELL                             ZACH ODOM
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




ZACH ONEIL                                ZACH PYMM                               ZACH RODRIGUES
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025




ZACH ROESCH                               ZACH RYAN                               ZACH SANFORD
10201 S. MAIN STREET                      10201 S. MAIN STREET                    10201 S. MAIN STREET
HOUSTON, TX 77025                         HOUSTON, TX 77025                       HOUSTON, TX 77025
ZACH STORM             Case 18-12241-CSS    Doc 26
                                      ZACH UNGER        Filed 10/05/18   PageZACH
                                                                              1734 of 1739
                                                                                  WARD
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ZACH WILLIAMS                         ZACH WINFREY                           ZACHARIAH DEAN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   2360 REDONA DR
HOUSTON, TX 77025                     HOUSTON, TX 77025                      ATLANTA, GA 30349




ZACHARIAH ERNST                       ZACHARIAH ODEHN                        ZACHARY ANDERSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ZACHARY AVANT                         ZACHARY BRYANT                         ZACHARY BUSSELL
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ZACHARY CHRISTENSEN                   ZACHARY CONKLIN                        ZACHARY CRITTENDON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ZACHARY DRAPER                        ZACHARY DUDEK                          ZACHARY DULAC
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ZACHARY EDWARDS                       ZACHARY ENRIQUEZ                       ZACHARY ERVIN
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025




ZACHARY FIEST                         ZACHARY FONTENOT                       ZACHARY GEDDINGS
1011 RUSHLEIGH RD                     10201 S. MAIN STREET                   10201 S. MAIN STREET
CLEVELAND HEIGHTS, OH 44121           HOUSTON, TX 77025                      HOUSTON, TX 77025




ZACHARY GRAHAM                        ZACHARY GREGORY                        ZACHARY HALL
22702 CHESTERVIEW LOOP ATP 101        10201 S. MAIN STREET                   10201 S. MAIN STREET
LAND OLAKES, FL 34639                 HOUSTON, TX 77025                      HOUSTON, TX 77025




ZACHARY HOWELL                        ZACHARY HUDECEK                        ZACHARY HUDSON
10201 S. MAIN STREET                  10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                     HOUSTON, TX 77025                      HOUSTON, TX 77025
ZACHARY JACKSON        Case 18-12241-CSS   Doc
                                      ZACHARY    26 Filed 10/05/18
                                              JACOBS                 PageZACHARY
                                                                          1735 ofJOHNSTON
                                                                                  1739
10201 S. MAIN STREET                   4008 NE SHELLROCK DR              18407 NEW LONDON AVE
HOUSTON, TX 77025                      KILLEEN, TX 76549                 LAND O LAKES, FL 34638




ZACHARY KASTEN                         ZACHARY LEVINE                    ZACHARY LOPEZ
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACHARY MARINE                         ZACHARY MARLOW                    ZACHARY MOLLMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACHARY Q ALLEN PEYTON                 ZACHARY R LEVINE                  ZACHARY REIFF
3742 CACTUS FIELD LANE                                                   1432 DOOLITTLE LN
KATY, TX 77449                                                           GRAYSLAKE, IL 60030




ZACHARY RUGEN                          ZACHARY SANDOVAL                  ZACHARY SELLMAN
10201 S. MAIN STREET                   8253 S MAIN ST                    10201 S. MAIN STREET
HOUSTON, TX 77025                      MIDVALE, UT 84047                 HOUSTON, TX 77025




ZACHARY SERNA                          ZACHARY SHOWALTER                 ZACHARY SMITH
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACHARY SMITH                          ZACHARY STARINCHUCK               ZACHARY SWAILS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACHARY SWAN                           ZACHARY TEUNIS                    ZACHARY THOMPSON
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACHARY TRUJILLO                       ZACHARY VERONESI                  ZACHARY WILLIAMS
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACHARY WOLARY                         ZACHARY WRENCH WRENCH             ZACHAY ROBERTS
10201 S. MAIN STREET                   10201 S. MAIN STREET              37 BUCO AVE
HOUSTON, TX 77025                      HOUSTON, TX 77025                 METHUEN, MA 01844
ZACHERY BROWN          Case 18-12241-CSS   Doc
                                      ZACHERY    26 Filed 10/05/18
                                              JOHNSON                PageZACHERY
                                                                          1736 ofROBEY
                                                                                  1739
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACHRY MILLER                          ZACK BUSBY                        ZACK BUSBY
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACK DUMOND                            ZACK FOSTER                       ZACK FREEMAN
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACK GORMAN                            ZACK HAYES                        ZACK HOAGLAND
                                       10201 S. MAIN STREET              10201 S. MAIN STREET
                                       HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACK PELUSO                            ZACK SANCHEZ                      ZACK WRUBLIK
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZACKERY ANESTOS                        ZACKERY LARUE                     ZACKERY WALDRUP
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZAHEER YASSIN                          ZAHIRA GONZALEZ                   ZAIRA BYRD
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZAIRA VALENCIA                         ZAJAC, STANLEY                    ZAK PARISH
10201 S. MAIN STREET                   4523 CLINTON AVE                  10201 S. MAIN STREET
HOUSTON, TX 77025                      BERWYN, IL 60402-4312             HOUSTON, TX 77025




ZAK SOBIERALSKI                        ZAKA MALIK                        ZAKARY BELL
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025




ZAKARY MARSHALL                        ZAKIA BLY                         ZAKIRAH WRIGHT
10201 S. MAIN STREET                   10201 S. MAIN STREET              10201 S. MAIN STREET
HOUSTON, TX 77025                      HOUSTON, TX 77025                 HOUSTON, TX 77025
ZAMI KHAMECI            Case 18-12241-CSS   Doc
                                       ZANEQUIA    26 Filed 10/05/18
                                                GILLIARD                   PageZANISHA
                                                                                1737 of  1739
                                                                                       BROWN
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ZANITA SPENCE                           ZANN DUDLEY                            ZAR LLC
10201 S. MAIN STREET                    10201 S. MAIN STREET                   ATTN: AREF TALANEHZAR
HOUSTON, TX 77025                       HOUSTON, TX 77025                      1325 BALTIMORE PIKE
                                                                               BEL AIR, MD 21014




ZAR LLC                                 ZARA EVANS                             ZAREMBA GROUP, LLC
C/O AREF’S ORIENTAL RUGS                10201 S. MAIN STREET                   ATTN: ANNE KENZIG
1325 BALTIMORE PIKE                     HOUSTON, TX 77025                      14600 DETROIT AVENUE 1500
BEL AIR, MD 21014                                                              LAKEWOOD, OH 44107




ZAREMBA GROUP, LLC                      ZAREMBA GROUP, LLC                     ZAREMBA METROPOLITAN MIDLOTHIAN, LLC
CHRIS HERZNER                           LOLA CORRIGAN                          15786 WC MAIN ST
14600 DETROIT AVENUE 1500               14600 DETROIT AVENUE 1500              MIDLOTHIAN, VA 23113
LAKEWOOD, OH 44107                      LAKEWOOD, OH 44107




ZAREMBA METROPOLITAN MIDLOTHIAN, LLC    ZAREMBA METROPOLITAN MIDLOTHIAN, LLC   ZAREMBA METROPOLITAN MIDLOTHIAN, LLC
C/O CALSTRS PROPERTY:621710             C/O GREENBERG GIBBONS COMMERCIAL       C/O PRINCIPAL REAL ESTATE INVESTORS,
PO BOX 310300                           10096 RED RUN BOULEVARD, SUITE 100     LLC
DES MOINES, IA 50331-0300               ATTN: MATT MITTENHAL                   801 GRAND AVE
                                        OWINGS MILLS, MD 21117                 ATTN: CALSTRS
                                                                               DES MOINES, IA 50392


ZAVION SHERMAN                          ZAVION WILSON                          ZAYO GOUP HOLDING INC
10201 S. MAIN STREET                    10201 S. MAIN STREET                   DBA ZAYO GROUP LLC
HOUSTON, TX 77025                       HOUSTON, TX 77025                      1805 29TH ST STE 2050
                                                                               BOULDER, CO 80301




ZAYO GROUP LLC                          ZEB KLOCKER                            ZECHARIAH KASKA
P.O. BOX 952136                         10201 S. MAIN STREET                   10201 S. MAIN STREET
DALLAS, TX 75395-2136                   HOUSTON, TX 77025                      HOUSTON, TX 77025




ZEDBED INTERNATIONAL INC                ZEDBED                                 ZEE MEDICAL COMPANY 72
5352 RUE BURRILL                        5352 RUE BURRILL                       PO BOX 22
SHAWINIGAN, PQ G9N676                   SHAWINIGAN, PQ G9N676                  FAIR OAKS, CA 95628
CANADA                                  CANADA




ZEJNEP AMZOSKI                          ZEKE ENSENIA                           ZEKE SUAREZ
10201 S. MAIN STREET                    10201 S. MAIN STREET                   10201 S. MAIN STREET
HOUSTON, TX 77025                       HOUSTON, TX 77025                      HOUSTON, TX 77025




ZELL COMMERCIAL REAL ESTATE             ZENEN NIEBLAS                          ZENIA CAVAZOS
SERVICES, INC.                          5337 GABLE LANE                        10201 S. MAIN STREET
5343 N. 16TH STREET, SUITE 290          JACKSONVILLE, FL 32211                 HOUSTON, TX 77025
PHOENIX, AZ 85016
                     CaseTRUST
ZENITH INVESTMENT GRANTOR  18-12241-CSS
                                     ZENITH Doc  26 Filed
                                            INVESTMENT       10/05/18
                                                       GRANTOR   TRUST    PageZENITH
                                                                               1738 INVESTMENT
                                                                                     of 1739 GRANTOR TRUST
360 COLLINS STREET                   C/O RREEF                                DBA STONECREST PIPER GLEN
LEVEL 34                             200 CRESCENT COURT, SUITE 560            PO BOX 209266
MELBOURNE, VIC 3000                  ATTN: LANCE TAYLOR                       AUSTIN, TX 78720-9266
AUSTRALIA                            DALLAS, TX 75201



ZEPHYRHILLS DIRECT                     ZERBY INTERESTS                        ZERBY INTERESTS
PO BOX 856680                          ATTN: MELISSA SOMMER                   ATTN: TERRYL ZERBY
LOUISVILLE, KY 40285-6680              7725 W. RENO AVENUE, SUITE 398         7725 W. RENO AVENUE, SUITE 398
                                       OKLAHOMA CITY, OK 73127                OKLAHOMA CITY, OK 73127




ZESCHKE DELIVERY SERVICE AND           ZHAMIR VANKIRK                         ZIAD DAWAS
WAREHOUSING INC                        10201 S. MAIN STREET                   10201 S. MAIN STREET
211 E HAMILTON RD                      HOUSTON, TX 77025                      HOUSTON, TX 77025
BLOOMINGTON, IL 61704




ZIGGY BATCHELLER                       ZIM CHEMICAL COMPANY INC               ZIM INTERNATIONAL INC
10201 S. MAIN STREET                   1828 S COBB INDUSTRIAL BLVD            1828 S COBB INDUSTRIAL BLVD
HOUSTON, TX 77025                      SMYRNA, GA 30082                       SMYRNA, GA 30082




ZIM INTERNATIONAL INC                  ZIMMER DEVELOPMENT COMPANY             ZIMMER DEVELOPMENT COMPANY
1828 SOUTH COBB INDUSTRIAL BLV         ARLENE Z. SCHREIBER                    DAVID BRANTON
SMYRNA, GA 30082                       111 PRINCESS STREET                    111 PRINCESS STREET
                                       WILMINGTON, NC 27410                   WILMINGTON, NC 27410




ZING PROPERTIES LLC                    ZINYS INC                              ZIPRECRUITER INC
2615 E SOUTHLAKE BLVD STE 180          DBA VIVON LIFE                         ATTN: A/R
SOUTHLAKE, TX 76092                    30799 WIEGMAN RD                       401 WILSHIRE BLVD 11TH FLOOR
                                       HAYWARD, CA 94544                      SANTA MONICA, CA 90401




ZITRANS INC                            ZIZZO GRP INC                          ZLZ COMPANY
DBA HOOVER THE MOVER                   DBA ZIZZO GRP MARKETING PR NEW MEDIA   C/O UPPER MIDWEST MNGT
4705 CLUBVIEW DR                       648 N PLANKINTON AVE STE 270           4900 HWY 169 STE 100
FORT WAYNE, IN 46804                   MILWAUKEE, WI 53203                    NEW HOPE, MN 55428




ZOE HARRISON                           ZOHO CORPORATION                       ZOIE GAINES
10201 S. MAIN STREET                   PO BOX 742760                          10201 S. MAIN STREET
HOUSTON, TX 77025                      LOS ANGELES, CA 90074-2760             HOUSTON, TX 77025




ZONES INC                              ZOUKA KHAWAM                           ZP NO. 171, LLC
P.O. BOX 34740                         10201 S. MAIN STREET                   C/O ZIMMER DEVELOPMENT COMPANY
SEATTLE, WA 98124-1740                 HOUSTON, TX 77025                      111 PRINCESS STREET
                                                                              WILMINGTON, NC 27410




ZP NO. 171, LLC                        ZSPACE LC                              ZUBER GARDNER CPAS
C/O ZIMMER DEVELOPMENT COMPANY         DBA HOUSTON SIGN CO                    4807 ROCKSIDE RD SUITE 460
111 PRINCESS STREET                    5801 CHIMNEY ROCK RD                   INDEPENDENCE, OH 44131
WILMINGTON, NC 28401                   HOUSTON, TX 77081
ZUCKERMAN SPAEDER LLPCase    18-12241-CSS
                                       ZUCORADoc 26      Filed 10/05/18    PageZUGRESS
                                                                                1739 ofSECURITY
                                                                                        1739 SERVICES INC
1800 M STREET, NW STE 1000             552 CLARKE RD                           DBA SEB SECURITY
WASHINGTON, DC 20036                   LONDON, ON N5V 3K5                      8 REVOLUTIONARY RD
                                       CANADA                                  OSSINING, NY 10562




ZULEYMA ROJAS AGUIRRE                  ZULFIQAR NAQVI                          ZULMA HIDALGO
166 PARADISE VALLEY                    10201 S. MAIN STREET                    10201 S. MAIN STREET
SAN ANTONIO, TX 78227                  HOUSTON, TX 77025                       HOUSTON, TX 77025




ZUNATECH CONSULTING INC                ZUO MODERN CONTEMPORARY INC             ZURI DOUGLAS
12522 HEALTH PARK TAIL                 80 SWAN WAY STE 300                     10201 S. MAIN STREET
HOUSTON, TX 77089                      OAKLAND, CA 94621                       HOUSTON, TX 77025




ZURICH ALTERNATIVE ASSET MANAGEMENT    ZURICH AMERICAN INSURANCE COMPANY       ZURICH NORTH AMERICA
ATTN: ASSET MANAGEMENT                 1299 ZURICH WAY                         8734 PAYSPHERE CIRCLE
150 GREENWICH STREET                   SCHAUMBURG, IL 60196-1056               CHICAGO, IL 60674
FOUR WORLD TRADE CENTER, 52ND FL
NEW YORK, NY 10007



ZYAD ELCHMAISSANI                      ZZZ SLEEP PRODUCTS LLC
10201 S. MAIN STREET                   1020 N GLOSTER ST STE 303
HOUSTON, TX 77025                      TUPELO, MS 38804




Total: 52094
